                           09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                 Part 37 of 40 Pg 1 of 901
Name                       Address1                        Address2                   Address3    Address4         City            State Zip
THOMPSON, HARRY F          21 WEST AVENUE                                                                          LIVONIA          NY 14487‐9611
THOMPSON, HARRY J          4660 LAKE RD                                                                            FARWELL          MI 48622‐9618
THOMPSON, HARRY R          479 N BALDWIN RD                                                                        CLARKSTON        MI 48348‐2263
THOMPSON, HARRY V          402 CHARVID AVE                 C/O MARJORIE J SLOAN                                    MANSFIELD        OH 44905‐2506
THOMPSON, HARTER H         1399 CRANBROOK DR                                                                       SAGINAW          MI 48638‐5470
THOMPSON, HARVEY G         279 TIMBER CREEK CIR NW                                                                 COMSTOCK PARK    MI 49321‐8569
THOMPSON, HARVEY R         6514 WESTGATE DR                                                                        LAINGSBURG       MI 48848‐9226
THOMPSON, HATTIE           1746 HOLYOKE AVE                                                                        E CLEVELAND      OH 44112‐2130
THOMPSON, HATTIE           1746 HOLYOKE                                                                            E CLEVELAND      OH 44112‐2130
THOMPSON, HAZEL            PO BOX 277                                                                              SELMA            IN 47383‐0277
THOMPSON, HAZEL L          3357 WINWOOD DR                                                                         FLINT            MI 48504‐1250
THOMPSON, HAZEL L          14 SHENANDOAH WAY                                                                       CABOT            AR 72023‐2697
THOMPSON, HAZEL M          1485 OLD FARMINGTON RD                                                                  LEWISBURG        TN 37091‐2201
THOMPSON, HAZEL M          31000 SCHOOLCRAFT RD                                                                    LIVONIA          MI 48150‐2025
THOMPSON, HEATHER          724 OAK ST                                                                              BICKNELL         IN 47512‐2412
THOMPSON, HEATHER A        331 FUNSTON AVE                                                                         NEW CARLISLE     OH 45344‐1334
THOMPSON, HEATHER C        1321 PARK AVE                                                                           EATON            OH 45320‐9602
THOMPSON, HELEN            60 W 142ND ST APT 12A                                                                   NEW YORK         NY 10037‐1112
THOMPSON, HELEN            60 WEST 142ND STREET APT 12A                                                            NEW YORK         NY 10037‐1112
THOMPSON, HELEN B          R R 1 BOX 41                                                                            BIRCH TREE       MO 65438‐9603
THOMPSON, HELEN B          RR 1 BOX 41                                                                             BIRCH TREE       MO 65438‐9603
THOMPSON, HELEN G          325 W CASTLE RD                                                                         FOSTORIA         MI 48435‐9668
THOMPSON, HELEN M          275 N SUMMERS RD                                                                        IMLAY CITY       MI 48444‐9704
THOMPSON, HELEN M          720 HILLSIDE CT                                                                         LOWELL           MI 49331‐9327
THOMPSON, HELEN M          3236 LYNNE AVE                                                                          FLINT            MI 48506‐2118
THOMPSON, HELEN R          2622 ALLISTER CIRCLE                                                                    MIAMISBURG       OH 45342
THOMPSON, HENRY            839 EAST ST N                                                                           SUFFIELD         CT 06078‐1364
THOMPSON, HENRY A          13024 E 58TH ST                                                                         KANSAS CITY      MO 64133‐3627
THOMPSON, HENRY C          2167 N FAIRVIEW LN                                                                      ROCHESTER HLS    MI 48306‐3929
THOMPSON, HENRY D          849 W JEFFERSON ST                                                                      FRANKLIN         IN 46131‐2119
THOMPSON, HENRY E          4702 GREENLAWN DR                                                                       FLINT            MI 48504‐5408
THOMPSON, HENRY EARL       4702 GREENLAWN DR                                                                       FLINT            MI 48504‐5408
THOMPSON, HENRY G          5968 STANTON ST                                                                         DETROIT          MI 48208‐3056
THOMPSON, HENRY T          214 W BELVIDERE AVE                                                                     FLINT            MI 48503‐5711
THOMPSON, HERBERT C        1039 E SAIKO RD                                                                         HOPE             MI 48628‐9710
THOMPSON, HERBERT W        409 HILLSIDE DR                                                                         GEORGETOWN        IL 61846‐1502
THOMPSON, HERMAN E         1485 OLD FARMINGTON RD                                                                  LEWISBURG        TN 37091‐2201
THOMPSON, HESTER M         1700 BRONSON WAY APT 179                                                                KALAMAZOO        MI 49009‐1089
THOMPSON, HETTIE           760 W HIGHWAY 70                                                                        EUBANK           KY 42567‐9502
THOMPSON, HETTIE           760 HWY 70 W                                                                            EUBANK           KY 42567‐9502
THOMPSON, HIND V           781 FURTH ROAD N.W.                                                                     PALM BAY         FL 32907‐7856
THOMPSON, HIND V           781 FURTH RD NW                                                                         PALM BAY         FL 32907‐7856
THOMPSON, HORACE           854 BAY ST                                                                              PONTIAC          MI 48342‐1902
THOMPSON, HORACE D         18847 ANGLIN ST                                                                         DETROIT          MI 48234‐1405
THOMPSON, HORACE V         PO BOX 255                                                                              FLINT            MI 48501‐0255
THOMPSON, HOWARD D         15275 UNIVERSITY ST                                                                     ALLEN PARK       MI 48101‐3022
THOMPSON, HOWARD D         8222 VENICE HEIGHTS DR NE                                                               WARREN           OH 44484‐1516
THOMPSON, HOWARD D         APT 116                         2510 ROSY BILLED DRIVE                                  CHARLOTTE        NC 28262‐1468
THOMPSON, HOWARD DEWIGHT   APT 116                         2510 ROSY BILLED DRIVE                                  CHARLOTTE        NC 28262‐1468
THOMPSON, HOWARD E         20461 CAROL ST                                                                          DETROIT          MI 48235‐1633
THOMPSON, HOWARD E         7061 WEST 130 STREET            FOXMOOR APARTMENTS 109 C                                PARMA HEIGHTS    OH 44130
THOMPSON, HOWARD F         517 BRIAR CT                                                                            KOKOMO           IN 46901‐5022
                           09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                 Part 37 of 40 Pg 2 of 901
Name                       Address1                        Address2                      Address3   Address4         City            State Zip
THOMPSON, HOWARD G         3220 GOLFVIEW RD                                                                          SEBRING          FL 33875‐5022
THOMPSON, HOWARD L         737 BARKWOOD CT                                                                           CARMEL           IN 46032‐3442
THOMPSON, HUGH A           3282 HEMMETER RD                                                                          SAGINAW          MI 48603‐2020
THOMPSON, HUGH A           8 FRIENDLY CV                                                                             GREENBRIER       AR 72058‐9278
THOMPSON, HUGH C           20678 MORNING GLORY                                                                       HARRAH           OK 73045‐9676
THOMPSON, IDA E            PO BOX 215                                                                                BELLAIRE         TX 77402‐0215
THOMPSON, IDELLA           79 HUNTER POINT RD                                                                        POMONA           CA 91766‐4959
THOMPSON, IMOGENE          2046 TIMBER RDG                                                                           YPSILANTI        MI 48198‐8110
THOMPSON, IMOGENE H        501 BOURLAND RD APT 4207                                                                  KELLER           TX 76248‐3586
THOMPSON, IMOGENE H        501 BORLAND RD                  APT 4207                                                  KELLER           TX 76248
THOMPSON, INA L            PO BOX 414                                                                                DADE CITY        FL 33526‐0414
THOMPSON, INEZ M           3645 JOHN F KENNEDY BLVD                                                                  JACKSON          MS 39213‐2918
THOMPSON, INEZ M           3645 JOHN F. KENNEDY BLVD                                                                 JACKSON          MS 39213‐2918
THOMPSON, IRA              594 DEL MONTE ST                                                                          PASADENA         CA 91103‐2035
THOMPSON, IRA              430 KIMMEL DR                                                                             CEDAR HILL       TX 75104‐5019
THOMPSON, IRENE M          3489 WARNER DR                                                                            GRAND ISLAND     NY 14072‐1043
THOMPSON, IRENE M          3489 WARNER DRIVE                                                                         GRAND ISLAND     NY 14072‐1043
THOMPSON, IRIS LORRAINE    10388 RENE DR                                                                             CLIO             MI 48420‐1982
THOMPSON, IRMA E           125A HUDSON PKWY                                                                          WHITING          NJ 08759
THOMPSON, IRVIN J          240 CHIPPEWA RD                                                                           PONTIAC          MI 48341‐2010
THOMPSON, ISAAC H          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                           STREET, SUITE 600
THOMPSON, ISAAC J          672 MARLBOROUGH ST                                                                        DETROIT         MI   48215‐3262
THOMPSON, ISAAC L          396 ARNETT BLVD                                                                           ROCHESTER       NY   14619‐1148
THOMPSON, IVA J            153 FAIR HAVEN WAY                                                                        CHAPIN          SC   29036‐9239
THOMPSON, IVAN W           6056 FOX CHASE TRL                                                                        SHREVEPORT      LA   71129‐3535
THOMPSON, IZEALIA M        520 COACHLIGHT COMMONS,                                                                   LANSING         MI   48911‐4403
THOMPSON, J                45 BRECKENRIDGE TER                                                                       IRVINGTON       NJ   07111
THOMPSON, J R              29564 ROSSLYN AVE                                                                         GARDEN CITY     MI   48135‐3604
THOMPSON, J R              3240 SOUTHSHORE DR APT 42C                                                                PUNTA GORDA     FL   33955‐1929
THOMPSON, JACK A           8315 SEVILLE AVE                                                                          SAINT LOUIS     MO   63132‐2623
THOMPSON, JACK B           6586 WALTERS RD                                                                           CLARKSTON       MI   48346‐2246
THOMPSON, JACK E           5338 LK PLEASANT RD ROUTE 3                                                               NORTH BRANCH    MI   48461
THOMPSON, JACK H           2430 CHINOOK DR                                                                           PLACENTIA       CA   92870‐1419
THOMPSON, JACK L           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                           STREET, SUITE 600
THOMPSON, JACK M           524 E NEWFIELD ST                                                                         GARDENA         CA   90248‐2545
THOMPSON, JACK R           2237 CANDLEWOOD CT                                                                        SANDY           UT   84092‐3229
THOMPSON, JACK W           415 MORLEY ST                                                                             GRAND LEDGE     MI   48837‐1231
THOMPSON, JACK W           5089 WHITEHALL RD                                                                         LULA            GA   30554‐2745
THOMPSON, JACK W           21275 KARR RD                                                                             BELLEVILLE      MI   48111‐8633
THOMPSON, JACKIE E         84 W HIGH ST                                                                              SALEM           WV   26426‐1020
THOMPSON, JACKIE E         9475 FM 855 W                                                                             BULLARD         TX   75757‐9109
THOMPSON, JACKIE O         306 BLUE WATER COURT #101                                                                 GLEN BURNIE     MD   21060
THOMPSON, JACOB P          627 SOPHIA LN                                                                             SHREVEPORT      LA   71115‐2405
THOMPSON, JACQUELINE D     4900 CHATHAM CT                                                                           ELLENWOOD       GA   30294‐6625
THOMPSON, JACQUELINE E     PO BOX 7678                                                                               FLINT           MI   48507‐0678
THOMPSON, JACQUELINE F     16 CENTENNIAL DR                                                                          POLAND          OH   44514‐1706
THOMPSON, JACQUELINE Y     325 CROSBY                                                                                FLINT           MI   48503‐1433
THOMPSON, JACQUELINE Y     325 CROSBY ST                                                                             FLINT           MI   48503‐1433
THOMPSON, JACQUELYN LETA   APT 833                         980 WALTHER BOULEVARD                                     LAWRENCEVILLE   GA   30043‐8438
THOMPSON, JAKE I           3843 WAKE FOREST RD                                                                       DECATUR         GA   30034‐5841
                       09-50026-mg             Doc 7123-39          Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                                   Part 37 of 40 Pg 3 of 901
Name                   Address1                              Address2                       Address3   Address4         City              State Zip
THOMPSON, JAMES        76 SILCHESTER DR                                                                                 ELKTON             MD 21921‐2614
THOMPSON, JAMES A      RR 1 BOX 248                                                                                     BARGERSVILLE       IN 46106
THOMPSON, JAMES A      1651 SW MONARCH CLUB DR                                                                          PALM CITY          FL 34990‐8404
THOMPSON, JAMES A      PO BOX 876                                                                                       ROSSCOMMOM         MI 48653‐0876
THOMPSON, JAMES A      163 9TH AVE                                                                                      NORTH TONAWANDA    NY 14120‐6702
THOMPSON, JAMES A      7026 WOODLEA RD W                                                                                OSCODA             MI 48750‐8763
THOMPSON, JAMES A      311 WOODBRIDGE CT                                                                                FOLEY              AL 36535‐2237
THOMPSON, JAMES A      3883 EAST F 30                                                                                   MIKADO             MI 48745‐9619
THOMPSON, JAMES C      379 N BIRCHWOOD DR                                                                               HENDERSONVILLE     TN 37075‐2567
THOMPSON, JAMES C      11711 LONGVIEW                                                                                   DETROIT            MI 48213‐1647
THOMPSON, JAMES D      PO BOX 80024                                                                                     SIMPSONVILLE       SC 29680‐0001
THOMPSON, JAMES D      SHANNON LAW FIRM                      100 W GALLATIN ST                                          HAZLEHURST         MS 39083‐3007
THOMPSON, JAMES D      4362 MILLIS RD                                                                                   NORTH BRANCH       MI 48461‐9788
THOMPSON, JAMES D      12845 SHERIDAN RD                                                                                BURT               MI 48417‐9773
THOMPSON, JAMES D      10027 BEERS RD                                                                                   SWARTZ CREEK       MI 48473‐9159
THOMPSON, JAMES D      3636 SEVILLE LN                                                                                  SAGINAW            MI 48604‐9580
THOMPSON, JAMES DEAN   10027 BEERS RD                                                                                   SWARTZ CREEK       MI 48473‐9159
THOMPSON, JAMES E      5221 FAWN VLY                                                                                    BATH               MI 48808‐9403
THOMPSON, JAMES E      12392 LAKE RD                                                                                    OTTER LAKE         MI 48464‐9106
THOMPSON, JAMES E      840 GERALD H. MILLER ROAD                                                                        WEST BRANCH        MI 48661
THOMPSON, JAMES E      1029 MEADOWLAWN DR                                                                               PONTIAC            MI 48340‐1731
THOMPSON, JAMES E      28532 FRANKLIN RIVER DR APT 206                                                                  SOUTHFIELD         MI 48034‐5425
THOMPSON, JAMES E      126 N 5TH AVE                                                                                    SAGINAW            MI 48607‐1409
THOMPSON, JAMES E      GUY WILLIAM S                         PO BOX 509                                                 MCCOMB             MS 39649‐0509
THOMPSON, JAMES E      402A UNION ST                                                                                    GRAND BLANC        MI 48439‐1235
THOMPSON, JAMES E      343 NORTHFIELD DR                                                                                MOORESVILLE        IN 46158‐1118
THOMPSON, JAMES EARL   402A UNION ST                                                                                    GRAND BLANC        MI 48439‐1235
THOMPSON, JAMES F      6768 SAN JUAN                                                                                    ALANSON            MI 49706‐8205
THOMPSON, JAMES F      114 N AUSTIN ST                                                                                  OAK GROVE          MO 64075‐9743
THOMPSON, JAMES F      166 DEPEW DR                                                                                     LOUDON             TN 37774‐2964
THOMPSON, JAMES F      1911 BORTON AVE                                                                                  ESSEXVILLE         MI 48732‐1504
THOMPSON, JAMES F      452 SLOCUM DR                                                                                    AUBURN HILLS       MI 48326‐3838
THOMPSON, JAMES F      118 RAINBOW DR # 1866                                                                            LIVINGSTON         TX 77399‐1018
THOMPSON, JAMES F      789 S FORDTOWN RD                                                                                LAKE VIEW          SC 29563‐5123
THOMPSON, JAMES G      505 OAKBROOK CIR                                                                                 FLUSHING           MI 48433‐1706
THOMPSON, JAMES H      486 BIRCHINGTON LN                                                                               MELBOURNE          FL 32940‐2114
THOMPSON, JAMES H      9 AQUAMARINE AVE                                                                                 NAPLES             FL 34114‐8255
THOMPSON, JAMES H      MCGEE WILLIAM R LAW OFFICES OF        16855 W BERNARDO DR STE 380                                SAN DIEGO          CA 92127‐1626
THOMPSON, JAMES H      612 TALUCAH RD                                                                                   VLHRMOSO SPGS      AL 35775‐7208
THOMPSON, JAMES I      3228 FIELD RD                                                                                    CLIO               MI 48420‐1154
THOMPSON, JAMES K      452 HUBERT WILLIAMS RD                                                                           JUDSONIA           AR 72081‐8828
THOMPSON, JAMES L      N6260 SCHNEEBERGER RD                                                                            ALBANY             WI 53502‐9734
THOMPSON, JAMES L      6555 S KIMBERLY DR                                                                               HOLLY              MI 48442‐8742
THOMPSON, JAMES L      120 SANBORN AVE                                                                                  BATTLE CREEK       MI 49037‐1043
THOMPSON, JAMES M      31 MILTON ST                                                                                     BEREA              OH 44017‐2820
THOMPSON, JAMES M      2316 HARTWICK HWY                                                                                LINCOLN PARK       MI 48146‐2580
THOMPSON, JAMES M      5120 GOLFVIEW DR                                                                                 FORT WAYNE         IN 46818‐9341
THOMPSON, JAMES M      PO BOX 8062                                                                                      FORT WAYNE         IN 46898
THOMPSON, JAMES M      C/O GOLDBERG, PERSKY & WHITE PC       1030 FIFTH AVENUE                                          PITTSBURGH         PA 15219
THOMPSON, JAMES M      GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH         PA 15219

THOMPSON, JAMES M      817 ARTDALE DR                                                                                   WHITE LAKE        MI 48383‐2804
                          09-50026-mg           Doc 7123-39           Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                     Part 37 of 40 Pg 4 of 901
Name                      Address1                            Address2                     Address3   Address4         City                State Zip
THOMPSON, JAMES M         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                     EDWARDSVILLE          IL 62025
                          ROWLAND P C
THOMPSON, JAMES MICHAEL   PO BOX 8062                                                                                  FORT WAYNE          IN   46898‐8062
THOMPSON, JAMES N         PO BOX 301303                                                                                ARLINGTON           TX   76007‐1303
THOMPSON, JAMES O         PO BOX 298208                                                                                COLUMBUS            OH   43229‐4808
THOMPSON, JAMES P         127 22ND AVE APT 3                                                                           SEATTLE             WA   98122‐6078
THOMPSON, JAMES R         PO BOX 113                                                                                   SHIRLEY             IN   47384‐0113
THOMPSON, JAMES R         8904 CO503CC RD                                                                              RAPID RIVER         MI   49878
THOMPSON, JAMES R         3879 SHADY DR NW                                                                             LILBURN             GA   30047‐2641
THOMPSON, JAMES R         1071 CAMBRIA DR                                                                              EAST LANSING        MI   48823‐2394
THOMPSON, JAMES R         137 SUNSHINE ACRES RD                                                                        BENTON              KY   42025‐7035
THOMPSON, JAMES R         2329 FAIR OAKS DR APT A                                                                      INDIANAPOLIS        IN   46224‐3923
THOMPSON, JAMES S         1491 FRANKLIN ST                                                                             CARLYLE             IL   62231‐1722
THOMPSON, JAMES S         116 LINDSEY LEE LN                                                                           SHELBY              NC   28152‐0509
THOMPSON, JAMES T         PO BOX 16                                                                                    BRIGHTON            MI   48116‐0016
THOMPSON, JAMES T         2653 SPIELMAN HEIGHTS DR                                                                     ADRIAN              MI   49221‐9277
THOMPSON, JAMES W         235 EVERGREEN DR SE                                                                          MARIETTA            GA   30060‐7027
THOMPSON, JAMES W         4551 SALEM RD                                                                                COVINGTON           GA   30016‐7905
THOMPSON, JAMES W         C/O COONEY & CONWAY                 120 N LASALLE ST, STE 3000                               CHICAGO             IL   60602‐2415
THOMPSON, JAMES W         7626 ASHCREST LN                                                                             DALLAS              TX   75249‐1059
THOMPSON, JAMES W         2213 NW COVE CT                                                                              BLUE SPRINGS        MO   64015‐7019
THOMPSON, JAMES W         91 JOANS CT                                                                                  LAWRENCEVILLE       GA   30045‐4519
THOMPSON, JAMES Y         1034 OUCHITA 2                                                                               STEPHENS            AR   71764
THOMPSON, JANA L          117 NIKITA DR                                                                                PORTLAND            TN   37148‐9723
THOMPSON, JANE M.         7310 MARINGO DR                                                                              HUBER HEIGHTS       OH   45424‐3151
THOMPSON, JANET A         99 UNIVERSITY AVENUE APT A                                                                   DEPEW               NY   14043‐2831
THOMPSON, JANET R         702 TIMBER ST                                                                                PONTIAC             IL   61764‐2227
THOMPSON, JANET R         702 E TIMBER ST                                                                              PONTIAC             IL   61764‐2227
THOMPSON, JANICE          P.O.BOX 54                                                                                   HOUTZDALE           PA   16651‐0054
THOMPSON, JANICE          PO BOX 95                                                                                    BENEDICT            NE   68316‐0095
THOMPSON, JANICE E        1014 LEE ST SW                                                                               WYOMING             MI   49509‐1360
THOMPSON, JANICE K        #4                                  1104 BRISTOL COURT DRIVE                                 MOUNT MORRIS        MI   48458‐2179
THOMPSON, JANICE M        457 FRANCONIAN DR E                 EAST                                                     FRANKENMUTH         MI   48734‐1001
THOMPSON, JANIE M         3748 LEESBURG RD                                                                             HOPKINS             SC   29061‐9060
THOMPSON, JANIE M         3748 LEESBURY RD                                                                             HOPKINS             SC   29061‐9060
THOMPSON, JANINE M        229 DOUBLETREE LN                                                                            CHEYENNE            WY   82009‐2655
THOMPSON, JAQUELYN        904 BRENTWOOD WAY                                                                            SIMPSONVILLE        SC   29680‐3119
THOMPSON, JASON D         10470 LINWOOD AVENUE                                                                         SHREVEPORT          LA   71106‐7965
THOMPSON, JASON G         4707 NE 103RD TER                                                                            KANSAS CITY         MO   64156‐3010
THOMPSON, JASON GIL       4707 NE 103RD TER                                                                            KANSAS CITY         MO   64156‐3010
THOMPSON, JAY R           2300 CHRISTOPHER ST                                                                          ADRIAN              MI   49221‐9475
THOMPSON, JEANETTE        1104 HOLMAN DRIVE                                                                            MARION              IN   46952
THOMPSON, JEANNINE A      7426 IVANREST AVE SW                                                                         BYRON CENTER        MI   49315‐8463
THOMPSON, JEFF L          8945 WILLITS RD                                                                              MAYVILLE            MI   48744‐9534
THOMPSON, JEFFREY B       2142 OLD LAKE RD                                                                             LEWISBURG           TN   37091‐5240
THOMPSON, JEFFREY B       3055 LINDA MARIE WAY                                                                         COMMERCE TOWNSHIP   MI   48390‐1149
THOMPSON, JEFFREY D       1298 HIDDEN VIEW DR                                                                          LAPEER              MI   48446‐9325
THOMPSON, JEFFREY E       8309 CHRISTOPHER ST                                                                          WASHINGTON          MI   48094‐3939
THOMPSON, JEFFREY E       20216 ALGER ST                                                                               ST CLR SHORES       MI   48080‐3707
THOMPSON, JEFFREY M       38180 SADDLE LN                                                                              CLINTON TWP         MI   48036‐1777
THOMPSON, JEFFREY P       9350 MACON HWY                                                                               TECUMSEH            MI   49286‐8531
THOMPSON, JEFFREY P       635 BRIGHTON LAKE RD                                                                         BRIGHTON            MI   48116‐1724
                          09-50026-mg           Doc 7123-39       Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                 Part 37 of 40 Pg 5 of 901
Name                      Address1                         Address2              Address3         Address4         City              State Zip
THOMPSON, JEFFREY PAUL    9350 MACON HWY                                                                           TECUMSEH           MI 49285‐8531
THOMPSON, JEFFRY A        310 BEECHWOOD DR                                                                         JANESVILLE         WI 53548‐3320
THOMPSON, JENNIE H        2836 BRENTWOOD DR                                                                        ANDERSON           IN 46011‐4045
THOMPSON, JENNIE L        1104 TYLER ST                                                                            JANESVILLE         WI 53545‐4933
THOMPSON, JENNIE L        APT 1                            517 PALM STREET                                         ROCKFORD            IL 61103‐5704
THOMPSON, JENNIFER        2414 N UNION ST                                                                          DES MOINES          IA 50316‐1740
THOMPSON, JERALD RAY      BOONE ALEXANDRA                  205 LINDA DR                                            DAINGERFIELD       TX 75638‐2107
THOMPSON, JEREMY C        4174 WHITE OAK DR                                                                        BEAVERCREEK        OH 45432‐1942
THOMPSON, JEREMY J        6216 MONTICELLO AVE                                                                      DALLAS             TX 75214‐3304
THOMPSON, JEREMY R        32 LARRY LN                                                                              CORTLAND           OH 44410‐9325
THOMPSON, JEREMY ROBERT   7039 E CARPENTER RD                                                                      DAVIDSON           MI 48423‐8957
THOMPSON, JERI A          1513 HATCHER LN APT D36                                                                  COLUMBIA           TN 38401‐4847
THOMPSON, JERMAINE        2027 HIGHWAY 849                                                                         COLUMBIA           LA 71418‐3422
THOMPSON, JEROME A        3940 ANVIL DR                                                                            TROY               MI 48083‐5691
THOMPSON, JERRY           901 JOE BOROVICH DR                                                                      HOLLISTER          CA 95023‐7211
THOMPSON, JERRY           14081 LAKESHORE DR                                                                       RUTLEDGE           TN 37861‐4969
THOMPSON, JERRY B         6915 SHERMAN ST                                                                          ANDERSON           IN 46013‐3615
THOMPSON, JERRY BRENT     6915 SHERMAN ST                                                                          ANDERSON           IN 46013‐3615
THOMPSON, JERRY D         2491 BRYONAIRE RD                                                                        MANSFIELD          OH 44903‐8714
THOMPSON, JERRY D         5733 W KESSLER COWLESVILLE RD                                                            WEST MILTON        OH 45383‐8737
THOMPSON, JERRY E         1057 SUMMERHILL DR                                                                       JANESVILLE         WI 53546‐3728
THOMPSON, JERRY E         5375 SNOW DEN TRL                                                                        COLUMBIAVILLE      MI 48421‐9173
THOMPSON, JERRY E         1557 WOLVERTON AVE                                                                       CAMARILLO          CA 93010‐3734
THOMPSON, JERRY G         5137 VIA BAJAMAR                                                                         HEMET              CA 92545‐5420
THOMPSON, JERRY L         1590 ELIZABETH LN                                                                        ESSEXVILLE         MI 48732‐9651
THOMPSON, JERRY O         WEITZ & LUXENBERG                180 MAIDEN LANE                                         NEW YORK           NY 10038
THOMPSON, JERRY P         306 SAINT REGIS RD                                                                       HOGANSBURG         NY 13655‐3176
THOMPSON, JERRY T         645 SEYE WAILO TRL                                                                       CLARKESVILLE       GA 30523‐2662
THOMPSON, JERRY U         3583 KELLY RD                                                                            LA SALLE           MI 48145‐9671
THOMPSON, JERRY W         4809 N MUELLER AVE                                                                       BETHANY            OK 73008‐2545
THOMPSON, JERRY W         7725 N FRONTAGE RD                                                                       FAIRLAND           IN 46126‐9721
THOMPSON, JERRY WILLIAM   7725 N FRONTAGE RD                                                                       FAIRLAND           IN 46126‐9721
THOMPSON, JESSE K         6625 MCNEIL RD                                                                           LACHINE            MI 49753‐9758
THOMPSON, JESSE L         3580 HOLMES AVE.                                                                         JACKSON            MS 39213‐9213
THOMPSON, JESSE L         1023 WEDGEWOOD RD                                                                        BALTIMORE          MD 21229‐1245
THOMPSON, JESSIE M        1908 101ST AVE                                                                           OAKLAND            CA 94603‐3352
THOMPSON, JEWEL           353 E JACKSON AVE                                                                        FLINT              MI 48505‐4963
THOMPSON, JEWEL C         2500 WOODROW WILSON BLVD APT 7                                                           WEST BLOOMFIELD    MI 48324‐1719
THOMPSON, JILL R          367 N ASHLEAF LN                                                                         DAYTON             OH 45440‐4514
THOMPSON, JILL R          367 NORTH ASHLEAF LANE                                                                   DAYTON             OH 45440‐4514
THOMPSON, JIM E           6662 GOODWIN RD                                                                          LYONS              MI 48851‐9716
THOMPSON, JIMMIE          104 WILLOWBROOK DR                                                                       PIKEVILLE          NC 27863
THOMPSON, JIMMIE O        506 FIREBIRD CT                                                                          ARLINGTON          TX 76002‐3386
THOMPSON, JIMMY B         7802 U.S. HWY. #160                                                                      WEST PLAINS        MO 65775
THOMPSON, JIMMY G         376 OLD WHITLEY XING                                                                     FITZGERALD         GA 31750‐6528
THOMPSON, JIMMY J         196 HUGHES AVE                                                                           PONTIAC            MI 48341‐2444
THOMPSON, JIMMY M         1174 OLD YORKVILLE RD                                                                    DALLAS             GA 30157‐4433
THOMPSON, JO ANN          143 EASTERN AVE                                                                          PLAINFIELD         IN 46168‐1301
THOMPSON, JOAN            189 COLLEGE ST                                                                           BUTLER             OH 44822
THOMPSON, JOAN            2217 FRANKLIN ST.                                                                        SOUTH BEND         IN 46613
THOMPSON, JOAN M          1047 FALLWAY DR                                                                          SHELBYVILLE        IN 46176‐3297
THOMPSON, JOANN           315 CHOCTAW TRL                                                                          WAXAHACHIE         TX 75165‐1569
                      09-50026-mg             Doc 7123-39             Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                     Part 37 of 40 Pg 6 of 901
Name                  Address1                              Address2                       Address3   Address4         City                State Zip
THOMPSON, JOANN M     1406 OLD FORGE                                                                                   NILES                OH 44446‐3242
THOMPSON, JOANN P     431 BRADLEY LN                                                                                   YOUNGSTOWN           OH 44504‐1445
THOMPSON, JOANNE A    2211 BOXWOOD LN                                                                                  LANSING              MI 48917‐1320
THOMPSON, JOANNE E    21825 WOODRUFF RD                     APT G3                                                     ROCKWOOD             MI 48173‐1049
THOMPSON, JODI
THOMPSON, JODIE L     3428 DANIEL DR                                                                                   ARLINGTON           TX   76014‐3333
THOMPSON, JODY K      2634 GRENDON DR                                                                                  WILMINGTON          DE   19808‐3831
THOMPSON, JOE A       531 N 26TH ST                                                                                    SAGINAW             MI   48601‐6210
THOMPSON, JOE A       428 OLD WHITFIELD RD                                                                             PEARL               MS   39208‐9188
THOMPSON, JOE L       605 S 29TH ST                                                                                    SAGINAW             MI   48601‐6549
THOMPSON, JOE N       714 BIRTHSTONE AVE                                                                               MEMPHIS             TN   38109‐6398
THOMPSON, JOEL B      311 SHILOH RD                                                                                    CRAWFORD            TN   38554‐3802
THOMPSON, JOEL J      2364 LEHMAN AVE                                                                                  TOLEDO              OH   43611‐2917
THOMPSON, JOETTE H    13024 E 58TH ST                                                                                  KANSAS CITY         MO   64133‐3627
THOMPSON, JOHN        13500 W RIDGE RD                                                                                 OAKLEY              MI   48649‐9711
THOMPSON, JOHN        129 PRESTON ST                                                                                   ELYRIA              OH   44035‐3929
THOMPSON, JOHN        2116 HAYNES AVE                                                                                  INDIANAPOLIS        IN   46240‐3239
THOMPSON, JOHN        13850 W TOWNLINE RD                                                                              SAINT CHARLES       MI   48655‐9772
THOMPSON, JOHN        1266 SHOECRAFT RD                                                                                WEBSTER             NY   14580‐8954
THOMPSON, JOHN        PORTER & MALOUF PA                    4670 MCWILLIE DR                                           JACKSON             MS   39206‐5621
THOMPSON, JOHN B      GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH          PA   15219

THOMPSON, JOHN C      8813 GRANDVIEW DR                                                                                DENTON              TX   76207‐8605
THOMPSON, JOHN C      3 MERION LN                                                                                      HOLIDAY ISLAND      AR   72631‐5333
THOMPSON, JOHN D      2507 E 35TH ST                                                                                   ANDERSON            IN   46013‐2206
THOMPSON, JOHN D      1022 WESTMINSTER LN                                                                              MANSFIELD           TX   76063‐2562
THOMPSON, JOHN D      9353 MENDOTA ST                                                                                  DETROIT             MI   48204‐2650
THOMPSON, JOHN D      732 BREEZEWAY LN                                                                                 GEORGETOWN          TX   78633‐5217
THOMPSON, JOHN E      855 N COMMERCE RD                                                                                COMMERCE TWP        MI   48382‐2601
THOMPSON, JOHN E      1200 N TIPPECANOE AVE                                                                            ALEXANDRIA          IN   46001‐1157
THOMPSON, JOHN E      2759 CHICOPEE DRIVE                                                                              ATLANTA             GA   30360‐2636
THOMPSON, JOHN F      1511 GALWAY CT                                                                                   KISSIMMEE           FL   34746‐6416
THOMPSON, JOHN G      3370 CADWALLADER‐SONK N.E.                                                                       CORTLAND            OH   44410‐8804
THOMPSON, JOHN G      141 S FINN RD                                                                                    MUNGER              MI   48747‐9720
THOMPSON, JOHN L      6361 E COUNTY ROAD 600 S                                                                         PLAINFIELD          IN   46168‐8644
THOMPSON, JOHN O      6833 LOCK HAVEN DR                                                                               LOCKPORT            NY   14094‐6183
THOMPSON, JOHN P      117 FAIRWAY LN                                                                                   WHEATON             IL   60189
THOMPSON, JOHN R      1496 GUILFORD RD                                                                                 COLUMBUS            OH   43221‐3851
THOMPSON, JOHN R      10911 NW 36TH PL                                                                                 GAINESVILLE         FL   32606‐4939
THOMPSON, JOHN R      2701 N CHRISTOPHER DR                                                                            NEW CASTLE          IN   47362‐5060
THOMPSON, JOHN R      400 N GRAND AVE                                                                                  EL DORADO SPRINGS   MO   64744‐1006
THOMPSON, JOHN S      5912 FALKENBURY RD                                                                               NORTH BRANCH        MI   48461‐9675
THOMPSON, JOHN S      99 W BROADWAY ST                                                                                 DANVILLE            IN   46122‐1717
THOMPSON, JOHN T      10056 N EDGEWOOD SHORES RD                                                                       EDGERTON            WI   53534‐8936
THOMPSON, JOHN T      580 TURTLE CREEK DR                                                                              CHOCTAW             OK   73020‐7412
THOMPSON, JOHN T      750 BREWER RD                                                                                    LEONARD             MI   48367‐4014
THOMPSON, JOHN T      374 E THOMPSON RD                                                                                HARTSELLE           AL   35640‐4830
THOMPSON, JOHN V      11833 WHEATON DR                                                                                 STERLING HTS        MI   48313‐1767
THOMPSON, JOHN W      7853 VASSAR RD                                                                                   MILLINGTON          MI   48746‐9513
THOMPSON, JOHNNIE     931 COLONIAL DR                                                                                  YOUNGSTOWN          OH   44505‐2215
THOMPSON, JOHNNIE C   11689 CAREYTOWN RD.                                                                              LEESBURG            OH   45135‐9749
THOMPSON, JOHNNY E    1634 MILL ST                                                                                     LINCOLN PARK        MI   48146‐2361
                        09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                              Part 37 of 40 Pg 7 of 901
Name                    Address1                        Address2                          Address3   Address4         City            State Zip
THOMPSON, JOHNNY R      3230 CYNTHIANA RD                                                                             GEORGETOWN       KY 40324‐9028
THOMPSON, JOHNNY R      14659 WORTHAM BEND RD                                                                         CHINA SPRING     TX 76633‐2812
THOMPSON, JON P         2151 W 500 N                                                                                  MARION           IN 46952‐9105
THOMPSON, JON P         19551 US 41S                                                                                  FORT MYERS       FL 33908
THOMPSON, JONATHAN      GUY WILLIAM S                   PO BOX 509                                                    MCCOMB           MS 39649‐0509
THOMPSON, JONATHAN W    4320 PAYNE RD                                                                                 ATTICA           MI 48412‐9645
THOMPSON, JONATHAN W.   4320 PAYNE RD                                                                                 ATTICA           MI 48412‐9645
THOMPSON, JOSEPH        2003 SENTINEL DR                                                                              INDIAN TRAIL     NC 28079‐3419
THOMPSON, JOSEPH        2413 LAWNDALE AVE                                                                             FLINT            MI 48504‐2883
THOMPSON, JOSEPH        2738 STEVENSON ST                                                                             FLINT            MI 48504‐3351
THOMPSON, JOSEPH A      500 PEPPERHILL CT                                                                             GLEN CARBON       IL 62034‐2794
THOMPSON, JOSEPH A      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510‐2212
                                                        STREET, SUITE 600
THOMPSON, JOSEPH D      2622 FALCON WOODS DR NW                                                                       GRAND RAPIDS    MI   49534‐7585
THOMPSON, JOSEPH D      9299 N SAGINAW RD                                                                             MOUNT MORRIS    MI   48458‐9110
THOMPSON, JOSEPH DALE   9299 N SAGINAW RD                                                                             MOUNT MORRIS    MI   48458‐9110
THOMPSON, JOSEPH E      510 DAHLIA STREET                                                                             MICHIGAN CITY   IN   46360‐2106
THOMPSON, JOSEPH F      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510‐2212
                                                        STREET, SUITE 600
THOMPSON, JOSEPH K      301 N BRIGHTON AVE                                                                            KANSAS CITY     MO   64123‐1327
THOMPSON, JOSEPH L      212 MCKOY AVE NW                                                                              CULLMAN         AL   35055‐2219
THOMPSON, JOSEPH N      1005 GERALD AVE                                                                               BELOIT          WI   53511‐4539
THOMPSON, JOSEPH R      PO BOX 656                                                                                    LITTLE RIVER    SC   29566‐0656
THOMPSON, JOSEPH T      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510‐2212
                                                        STREET, SUITE 600
THOMPSON, JOSHUA L      8281 PEMBROKE AVE                                                                             DETROIT         MI   48221‐1159
THOMPSON, JOSIE LEE     3310 TUXEDO ST                                                                                DETROIT         MI   48206‐1045
THOMPSON, JOY L         225 DEENS LN                                                                                  BAY CITY        MI   48706‐3538
THOMPSON, JOYCE A       1937 THETA PIKE                                                                               COLUMBIA        TN   38401‐1370
THOMPSON, JOYCE ANN     BROOKMAN ROSENBERG BROWN &      17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA    PA   19102
                        SANDLER                         30 SOUTH 15TH STREET
THOMPSON, JOYCE M       4011 LEDGESTONE DRIVE                                                                         WATERFORD       MI   48329‐1535
THOMPSON, JOYCE M       3294 BAYSPIRIT DR                                                                             REYNOLDSBURG    OH   43068‐7085
THOMPSON, JUANITA       3938 TIMBERIDGE DR                                                                            IRVING          TX   75038‐4802
THOMPSON, JUANITA       P.O. BOX 364                                                                                  SWAYZEE         IN   46986‐0364
THOMPSON, JUANITA       3521 DUPONT ST                                                                                FLINT           MI   48504‐3570
THOMPSON, JUANITA       2235 BERRY AVE                                                                                OTTAWA          IL   61350‐1101
THOMPSON, JUANITA       PO BOX 364                                                                                    SWAYZEE         IN   46986‐0364
THOMPSON, JUANITA M.    398 N BRINKER AVE                                                                             COLUMBUS        OH   43204‐2036
THOMPSON, JUDEA A       2505 E DODGE RD                                                                               CLIO            MI   48420‐9748
THOMPSON, JUDI A        2232 COUNTY FARM RD                                                                           WRIGHT CITY     MO   63390‐1512
THOMPSON, JUDITH A      PO BOX 307                                                                                    SAINT PARIS     OH   43072‐0307
THOMPSON, JUDITH A      145 E LAWN ST P.O.BOX307                                                                      ST PARIS        OH   43072‐9793
THOMPSON, JUDITH A      349 LAKE SIDE VIEW LN                                                                         COTTLEVILLE     MO   63376‐2293
THOMPSON, JUDITH K      30000 PRESCOTT ST                                                                             ROMULUS         MI   48174‐9709
THOMPSON, JUDITH L      DREYER BOYAJIAN LLP             75 COLUMBIA ST                                                ALBANY          NY   12210‐2708
THOMPSON, JUDY          20814 S DEAN RD                                                                               BELTON          MO   64012‐9132
THOMPSON, JUDY A        7597 WHISPERS LN                                                                              ONTARIO         NY   14519‐9389
THOMPSON, JUDY G        8428 NORTH IRISH ROAD                                                                         OTISVILLE       MI   48463‐9421
THOMPSON, JUDY G        8428 IRISH RD                                                                                 OTISVILLE       MI   48463‐9421
THOMPSON, JULIA A       410 W JACKSON ST                                                                              ALEXANDRIA      IN   46001‐1311
THOMPSON, JULIA G       1935 SKYLER DR                                                                                KALAMAZOO       MI   49008‐2823
                        09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                               Part 37 of 40 Pg 8 of 901
Name                    Address1                         Address2                   Address3    Address4         City                 State Zip
THOMPSON, JULIA GRAY    1935 SKYLER DR                                                                           KALAMAZOO             MI 49008‐2823
THOMPSON, JULIANN       95 RIVER RD                                                                              ELKTON                MD 21921‐7930
THOMPSON, JULIUS E      PO BOX 2709                      C/O OF EMMETT L THOMPSON                                ANDERSON              IN 46018‐2709
THOMPSON, JULIUS G      PO BOX 3305                                                                              NEWARK                NJ 07103‐0305
THOMPSON, JUNE E        25690 C FREDA DR                                                                         ELKHART               IN 46514‐5442
THOMPSON, JUNE E        280 W A ST SPC 24                                                                        HAYWARD               CA 94541‐4800
THOMPSON, JUNE E        25690 FREDA DR APT C                                                                     ELKHART               IN 46514‐5442
THOMPSON, JUSTIN W      3019 CROOKED STICK DR                                                                    KOKOMO                IN 46902‐5076
THOMPSON, KAREN L       9530 W HOWE RD                                                                           EAGLE                 MI 48822‐9501
THOMPSON, KARI G        2644 FLYING CLOUD COURT                                                                  ANDERSON              IN 46011‐4752
THOMPSON, KARL E        6752 HIGHWAY 309 S                                                                       HOLLY SPRINGS         MS 38635‐7333
THOMPSON, KATHLEEN A    1625 MARS HILL DR APT B                                                                  DAYTON                OH 45449
THOMPSON, KATHLEEN A    2421 LAKEVIEW STREET                                                                     WEST BRANCH           MI 48661‐9567
THOMPSON, KATHLEEN A    520 BEAGLE CIR                                                                           EDMOND                OK 73003‐6265
THOMPSON, KATHLEEN A    9 KLEIN DR                                                                               YARDVILLE             NJ 08620
THOMPSON, KATHLEEN L    2005 PYMATUNING LAKE ROAD                                                                ANDOVER               OH 44003‐9651
THOMPSON, KATHLEEN M    17101 CURTIS STREET                                                                      DETROIT               MI 48235‐3225
THOMPSON, KATHLEEN M    2209 S PATTERSON RD                                                                      MIDLAND               MI 48640‐8560
THOMPSON, KATHLEEN T    750 BREWER RD                                                                            LEONARD               MI 48367‐4014
THOMPSON, KATHRYN E     7803 TORY PL E                                                                           JACKSONVILLE          FL 32208‐3595
THOMPSON, KATHRYN E     7803 TORY PLACE EAST                                                                     JACKSONVILLE          FL 32208‐3595
THOMPSON, KATHY L       3475 MERTZ RD                                                                            CARO                  MI 48723‐8921
THOMPSON, KATIE         2198 PRICEDALE DR SE                                                                     BOGUE CHITTO          MS 39629‐9629
THOMPSON, KEITH         502 PRYOR ST SW UNIT 126                                                                 ATLANTA               GA 30312‐2762
THOMPSON, KEITH E       PO BOX 9022                                                                              WARREN                MI 48090‐9022
THOMPSON, KEITH G       125 CADILLAC AVE                                                                         ROCHESTER             NY 14606‐3703
THOMPSON, KEITH I       1310 GULF BLVD APT 7D                                                                    CLEARWATER            FL 33767‐2860
THOMPSON, KEITH J       2747 HUNTINGTON PARK DR                                                                  WATERFORD             MI 48329‐4524
THOMPSON, KEITH JAMES   2747 HUNTINGTON PARK DR                                                                  WATERFORD             MI 48329‐4524
THOMPSON, KELLI A       5105 W 11TH ST                                                                           SPEEDWAY              IN 46224‐6912
THOMPSON, KELLY
THOMPSON, KENDRICK M    3702 RIDGE AVE                                                                           DAYTON               OH   45414‐5324
THOMPSON, KENNETH       4954 MICHAEL JAY ST 14A                                                                  SNELLVILLE           GA   30039
THOMPSON, KENNETH       4302 WESLEY PROVIDENCE PARKWAY                                                           LITHONIA             GA   30038‐6949
THOMPSON, KENNETH A     5418 RUANDA CT                                                                           DAYTON               OH   45414‐3746
THOMPSON, KENNETH A     2231 PARK RD                                                                             ANDERSON             IN   46011‐3962
THOMPSON, KENNETH A
THOMPSON, KENNETH E     130 GROVE ST                                                                             ROSELLE              NJ   07203‐1023
THOMPSON, KENNETH E     5672 TROY VILLA BLVD                                                                     HUBER HEIGHTS        OH   45424‐2646
THOMPSON, KENNETH E     225 RICE BLVD                                                                            RIVERVIEW            FL   33569‐5994
THOMPSON, KENNETH E     PO BOX 432091                                                                            PONTIAC              MI   48343‐2091
THOMPSON, KENNETH E     72 NIAGARA MOBILE PARK                                                                   TONAWANDA            NY   14150‐6525
THOMPSON, KENNETH G     5425 RIVER RUN TRAIL                                                                     FORT WAYNE           IN   46825‐6039
THOMPSON, KENNETH H     189 COLLEGE ST                                                                           BUTLER               OH   44822‐9330
THOMPSON, KENNETH L     7313 OLD RIVER DR                                                                        SHREVEPORT           LA   71105‐5322
THOMPSON, KENNETH L     303 30TH ST W                                                                            TIFTON               GA   31794‐1342
THOMPSON, KENNETH L     21 SUN VALLEY DR                                                                         HARBOR SPRINGS       MI   49740‐9441
THOMPSON, KENNETH M     22510 CAROLINA ST                                                                        SAINT CLAIR SHORES   MI   48080‐3829
THOMPSON, KENNETH R     7506 EAGLE DR                                                                            MISSION              TX   78572‐8961
THOMPSON, KENNETH R     4921 HAUGHEY AVE SW                                                                      GRAND RAPIDS         MI   49548‐4269
THOMPSON, KENNETH T     PO BOX 9022                      C/O RAYONG                                              WARREN               MI   48090‐9022
THOMPSON, KENNETH W     23344 VALLEY VIEW CIR                                                                    WASHINGTON           OK   73093‐4741
                        09-50026-mg             Doc 7123-39     Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                               Part 37 of 40 Pg 9 of 901
Name                    Address1                         Address2              Address3         Address4         City            State Zip
THOMPSON, KENNY W       605 MAPLE LN                                                                             BROWNSBURG       IN 46112‐1443
THOMPSON, KERMIT J      18916 WALL ST                                                                            MELVINDALE       MI 48122‐1873
THOMPSON, KERMITT U     214 LYLBURN RD                                                                           MIDDLETOWN       OH 45044‐5045
THOMPSON, KEVIN H       363 HERITAGE AVE                                                                         BOWLING GREEN    KY 42104‐0329
THOMPSON, KEVIN HIGH    363 HERITAGE AVE                                                                         BOWLING GREEN    KY 42104‐0329
THOMPSON, KEVIN L       3817 STERLING ST                                                                         FLINT            MI 48504‐3546
THOMPSON, KEVIN R       3975 BLUE SPRUCE DR                                                                      DEWITT           MI 48820‐9259
THOMPSON, KIM A         1689 WOODSTOCK ST                                                                        CANTON           MI 48188‐1270
THOMPSON, KIM A         5665 ESHBAUGH RD                                                                         DAYTON           OH 45418‐1717
THOMPSON, KIMBERLY      1436 PALM MEADOW AVENUE                                                                  TOLEDO           OH 43606
THOMPSON, KIMBERLY A.   1713 SHERRYDEN DR                                                                        ROGERS           AR 72758‐4156
THOMPSON, KIMBERLY L    5515 FLORIA DR                                                                           SWARTZ CREEK     MI 48473‐8843
THOMPSON, KIRKLAND E    17326 BELAND                                                                             DETROIT          MI 48234
THOMPSON, KURT D        2234 MARTHA LN                                                                           GREENWOOD        MO 64034‐9462
THOMPSON, L H           2879 BRIARWOOD DR                                                                        SAGINAW          MI 48601‐5841
THOMPSON, LADDAWAN      1029 MEADOWLAWN DR                                                                       PONTIAC          MI 48340‐1731
THOMPSON, LAFAYETTE     7324 REGISTRY DR                                                                         INDIANAPOLIS     IN 46217‐7479
THOMPSON, LANCE A       2645 ASCOT WAY                                                                           UNION CITY       CA 94587‐1816
THOMPSON, LANNY C       821 SINCLAIR ST                                                                          FENTON           MI 48430‐2234
THOMPSON, LARRY         640 TATE RD                                                                              BEAN STATION     TN 37708‐6544
THOMPSON, LARRY         2615 EUGENE CT                                                                           YOUNGSTOWN       OH 44511‐2043
THOMPSON, LARRY         15900 W COUNTY ROAD 400 S                                                                DALEVILLE        IN 47334‐9393
THOMPSON, LARRY A       5816 JEFFERSON RD                                                                        NORTH BRANCH     MI 48461‐8552
THOMPSON, LARRY A       3205 BOND PL                                                                             JANESVILLE       WI 53548‐3221
THOMPSON, LARRY C       5371 STATE ROUTE 303                                                                     NEWTON FALLS     OH 44444‐9522
THOMPSON, LARRY C       225 GEORGE URBAN BLVD                                                                    BUFFALO          NY 14225
THOMPSON, LARRY D       PO BOX 1176                                                                              BEDFORD          IN 47421‐1176
THOMPSON, LARRY D       7476 VINTAGE LANE                                                                        W BLOOMFIELD     MI 48322‐2857
THOMPSON, LARRY D       7476 VINTAGE LN                                                                          W BLOOMFIELD     MI 48322‐2857
THOMPSON, LARRY D       17940 SE 125TH CIR                                                                       SUMMERFIELD      FL 34491‐8082
THOMPSON, LARRY D       1960 HUNTERS LN                                                                          LAKE ORION       MI 48360‐1862
THOMPSON, LARRY E       4609 N GLENWOOD AVE                                                                      MUNCIE           IN 47304‐1133
THOMPSON, LARRY E       1932 WEST 12TH ST                                                                        MUNCIE           IN 47302
THOMPSON, LARRY F       8370 LANGE RD                                                                            BRIDGEPORT       MI 48722‐9407
THOMPSON, LARRY G       511 GAYE CT                                                                              EULESS           TX 76040‐5322
THOMPSON, LARRY H       PO BOX 133                                                                               CHEROKEE         AL 35616‐0133
THOMPSON, LARRY J       PO BOX 4477                                                                              PAHRUMP          NV 89041‐4477
THOMPSON, LARRY L       2012 N BELL ST                                                                           KOKOMO           IN 46901‐2307
THOMPSON, LARRY L       5742 WATSON RD                                                                           GREENWOOD        IN 46143‐9731
THOMPSON, LARRY L       PO BOX 41                                                                                REYNOLDSVILLE    WV 26422‐0041
THOMPSON, LARRY L       126 W MAIN ST APT A                                                                      CORTLAND         OH 44410‐1484
THOMPSON, LARRY L.      15900 W 400 S                                                                            DALEVILLE        IN 47334
THOMPSON, LARRY M       227 JEFFERSON TER                                                                        ROCHESTER        NY 14611‐3311
THOMPSON, LARRY N       8218 S EVENING DR                                                                        PENDLETON        IN 46064
THOMPSON, LARRY N       921 CARSON SPRINGS RD                                                                    NEWPORT          TN 37821‐7361
THOMPSON, LARRY R       604 N PARKWAY DR                                                                         ANDERSON         IN 46013‐3243
THOMPSON, LARRY R       7569 BRASHEARS RD                                                                        ORRICK           MO 64077‐8184
THOMPSON, LARRY S       3086 EXETER DR                                                                           MILFORD          MI 48380‐3237
THOMPSON, LARRY T       2668 LIDO LN                                                                             SAINT LOUIS      MO 63129‐5422
THOMPSON, LARRY W       2211 LANGLEY AVE                                                                         INDIANAPOLIS     IN 46218‐4205
THOMPSON, LARRY W       3541 HAMILTON PL                                                                         ANDERSON         IN 46013‐5271
THOMPSON, LAURA         4575 W 80TH STREET CIR APT 230                                                           BLOOMINGTON      MN 55437‐1140
                         09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                               Part 37 of 40 Pg 10 of 901
Name                     Address1                         Address2                      Address3   Address4         City            State Zip
THOMPSON, LAVERN W       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                          STREET, SUITE 600
THOMPSON, LAVLET         17873 SPRUCE RIVER RD                                                                      JEFFREY         WV   25114‐9633
THOMPSON, LAWRENCE       5436 W WALTON ST                                                                           CHICAGO         IL   60651‐2855
THOMPSON, LAWRENCE H     6249 WATERFRONT LN                                                                         ZEPHYRHILLS     FL   33542‐6487
THOMPSON, LD             5738 LAWNDALE ST                                                                           NORTH BRANCH    MI   48461‐9757
THOMPSON, LEAH D         2043 LINDEN ST                                                                             OGDENSBURG      NY   13669‐4451
THOMPSON, LEE D          5701 SUSAN ST                                                                              FLINT           MI   48505‐2549
THOMPSON, LEE D          1204 GOLDEN VIEW CT                                                                        ARLINGTON       TX   76001‐7908
THOMPSON, LEE D.         1204 GOLDEN VIEW CT                                                                        ARLINGTON       TX   76001‐7908
THOMPSON, LEE H          2510 WEAVER RD                                                                             PORT AUSTIN     MI   48467‐9774
THOMPSON, LEE J          7416 18 MILE RD NE                                                                         CEDAR SPRINGS   MI   49319‐9773
THOMPSON, LEE O          20029 GRIDER OAKS CT                                                                       BOWLING GREEN   KY   42104‐4762
THOMPSON, LEE P          2015 FLAMINGO DR                                                                           MOUNT MORRIS    MI   48458‐2607
THOMPSON, LEE POLION     2015 FLAMINGO DR                                                                           MOUNT MORRIS    MI   48458‐2607
THOMPSON, LEILANA
THOMPSON, LELAND C       PO BOX 124                                                                                 WINTHROP        NY   13697‐0124
THOMPSON, LELAND O       2618 W K BAR L DR                                                                          MIDLAND         MI   48640‐9119
THOMPSON, LELIA M        1908 WILLIAM ST                                                                            LANSING         MI   48915‐1049
THOMPSON, LENA M         136 E MCCLELLAN ST                                                                         FLINT           MI   48505‐4224
THOMPSON, LENIEL         4129 RACE ST                                                                               FLINT           MI   48504‐3536
THOMPSON, LENON          11960 BELLEVILLE RD                                                                        BELLEVILLE      MI   48111‐3164
THOMPSON, LENORA         11988 STATE ROUTE 78‐E                                                                     GLOUSTER        OH   45732‐9793
THOMPSON, LENORE R       4727 N BAILEY AVE                                                                          AMHERST         NY   14226‐1347
THOMPSON, LEO G          15 N MAIN ST                                                                               HILTON HEAD     SC   29926‐6612
THOMPSON, LEO P          1272 GRAYLAND LN                                                                           LAWRENCEVILLE   GA   30045‐8376
THOMPSON, LEO PAUL       1272 GRAYLAND LN                                                                           LAWRENCEVILLE   GA   30045‐8376
THOMPSON, LEON W         301 AVANT DR APT F                                                                         HAZELWOOD       MO   63042‐3575
THOMPSON, LEONARD        7395 WOODROW WILSON STREET                                                                 DETROIT         MI   48206‐2637
THOMPSON, LEONARD        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE       MD   21202
                                                          CHARLES CENTER 22ND FLOOR
THOMPSON, LEONARD A      70 N GOOD ST                                                                               HOUTZDALE       PA 16651
THOMPSON, LEONARD W      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                          STREET, SUITE 600
THOMPSON, LEONIE         3377 HOMERA PL                                                                             DECATUR         GA   30032‐6002
THOMPSON, LEONORA D      164 BENEFIELD BLVD                                                                         PEEKSKILL       NY   10566‐6813
THOMPSON, LEORA F        PO BOX 348                                                                                 OTISVILLE       MI   48463
THOMPSON, LEROY          GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                EDWARDSVILLE    IL   62025‐0959
                         ANTOGNOLI
THOMPSON, LEROY          GORI JULIAN & ASSOCIATES P C     156 N MAIN ST                                             EDWARDSVILLE    IL   62025
THOMPSON, LEROY          1869 BURNING TREE DR                                                                       DECATUR         GA   30032‐3922
THOMPSON, LEROY E        2345 WHISPERING MDWS NE                                                                    WARREN          OH   44483‐3676
THOMPSON, LEROY S        1662 DERBYSHIRE ST SE                                                                      GRAND RAPIDS    MI   49508‐2523
THOMPSON, LESIA D        PO BOX 104                                                                                 SUMMIT          MS   39666‐0104
THOMPSON, LESLIE L       452 SLOCUM DR                                                                              AUBURN HILLS    MI   48326‐3838
THOMPSON, LESTER C       6470 NW 6TH PL                                                                             BELL            FL   32619‐2900
THOMPSON, LESTER R       540 MAYFIELD RD                                                                            AIKEN           SC   29801‐8655
THOMPSON, LETA B         13112 S KEEFER HWY                                                                         SUNFIELD        MI   48890‐9029
THOMPSON, LETA B         13112 KEEFER HWY                                                                           SUNFIELD        MI   48890‐9029
THOMPSON, LETHANIEL      3357 WINWOOD DR                                                                            FLINT           MI   48504‐1250
THOMPSON, LETIA N        2034 W PRINCETON AVE                                                                       FLINT           MI   48505‐1277
THOMPSON, LETIA NICOLE   2034 W PRINCETON AVE                                                                       FLINT           MI   48505‐1277
                        09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                              Part 37 of 40 Pg 11 of 901
Name                    Address1                        Address2                      Address3   Address4         City            State Zip
THOMPSON, LETORA        430 W FLINT PARK BLVD                                                                     FLINT            MI 48505‐6309
THOMPSON, LEVI G        22410 138TH AVE                                                                           LAURELTON        NY 11413‐2416
THOMPSON, LEWIS         1384 E. 33 ST.                                                                            CLEVELAND        OH 44114
THOMPSON, LEWIS         3808 ROSELAWN AVE                                                                         WOODMERE         OH 44122‐4538
THOMPSON, LEWIS A       7388 MIDDLE RD                                                                            HOPE             MI 48628‐9712
THOMPSON, LEWIS E       686 CREEK HAVEN RD                                                                        RAINBOW CITY     AL 35906‐7712
THOMPSON, LEZANDER N    1829 COLORADO AVE APT 2                                                                   FLINT            MI 48506‐4635
THOMPSON, LEZANDER N    250 E RUTH AVE                                                                            FLINT            MI 48505
THOMPSON, LILA          3025 S LAKE 16 DR R#1                                                                     ALLEGAN          MI 49010‐9761
THOMPSON, LILA          5 CHASE ST                                                                                MASSENA          NY 13662‐1320
THOMPSON, LILLIAN D     1514 WINONA ST                                                                            FLINT            MI 48504‐2958
THOMPSON, LILLIAN L     2866 HERMOSA DRIVE                                                                        DECATUR          GA 30034‐2622
THOMPSON, LILLIAN P     708 PRENTICE ST                                                                           CROSSVILLE       TN 38555‐5232
THOMPSON, LILLIE R      17520 CHERRYLAWN ST                                                                       DETROIT          MI 48221‐2508
THOMPSON, LILLIE RUTH   17520 CHERRYLAWN ST                                                                       DETROIT          MI 48221‐2508
THOMPSON, LINBERG       PAUL REICH & MYERS              1608 WALNUT ST STE 500                                    PHILADELPHIA     PA 19103‐5446
THOMPSON, LINDA         701 IRENE ST                                                                              LONGVIEW         TX 75605‐2607
THOMPSON, LINDA K       2401 TIVOLI TER                                                                           OKLAHOMA CITY    OK 73170‐3228
THOMPSON, LINDA L       516 W JEFFERSON ST                                                                        MONTPELIER       OH 43543‐1335
THOMPSON, LINDA M       176 SHADY LANE CIR NE                                                                     WARREN           OH 44483
THOMPSON, LINDA M       741 ESTATES BLVD APT 78                                                                   MERCERVILLE      NJ 08619‐2610
THOMPSON, LINDA M       524 W 550 N                                                                               KOKOMO           IN 46901
THOMPSON, LINDA S       2127 TARTAN RD                                                                            ANDERSON         IN 46012‐9650
THOMPSON, LISA A        1110 ELDON BAKER DR                                                                       FLINT            MI 48507‐1923
THOMPSON, LISA M        4766 WESTWICK DR                                                                          WAYNE            MI 48184
THOMPSON, LIZZIE E      19 WESTPORT DR                                                                            FAIRBORN         OH 45324‐4263
THOMPSON, LIZZIE E      19 WESTPORT DRIVE                                                                         FAIRBORN         OH 45324‐4263
THOMPSON, LLOYD G       4991 O NEALL RD                                                                           WAYNESVILLE      OH 45068‐9450
THOMPSON, LOIS C        2350 BLACKBURN RD SE APT 412                                                              CLEVELAND        TN 37311‐7776
THOMPSON, LOIS G        5233 US 98 N                    APT 25                                                    LAKELAND         FL 33809
THOMPSON, LOIS J        2965 LORRAINE ST.                                                                         MARLETTE         MI 48453‐1045
THOMPSON, LOIS J        5940 W M‐55                                                                               WHITTEMORE       MI 48770‐9467
THOMPSON, LOIS J        4895 WEST US ROUTE 36                                                                     PIQUA            OH 45356‐8304
THOMPSON, LON A         3328 BARTON ST                                                                            MIMS             FL 32754
THOMPSON, LON A         5780 E COONHUNTER RD                                                                      LOGANSPORT       IN 46947‐7870
THOMPSON, LON B         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                        STREET, SUITE 600
THOMPSON, LON C         221 MOORE RD                                                                              BURLESON        TX   76028‐1435
THOMPSON, LON C.        221 MOORE RD                                                                              BURLESON        TX   76028‐1435
THOMPSON, LONNA D       1022 W WILLIAMS ST                                                                        DANVILLE        IL   61832‐4469
THOMPSON, LONZO         2874 ALLVIEW CIR                                                                          CINCINNATI      OH   45238‐2015
THOMPSON, LORA A        301 E 39TH ST                                                                             ANDERSON        IN   46013‐4656
THOMPSON, LORAINE       4317 VIRGINIA PARK                                                                        DETROIT         MI   48204‐2432
THOMPSON, LORAN         DREYER BOYAJIAN LLP             75 COLUMBIA ST                                            ALBANY          NY   12210‐2708
THOMPSON, LOREN E       PO BOX 67                                                                                 SPRINGWATER     NY   14560‐0067
THOMPSON, LOREN F       454 S BALDWIN RD                                                                          OXFORD          MI   48371‐4108
THOMPSON, LORETTA B     8440 SALEM CEMETERY RD                                                                    DE GRAFF        OH   43318‐9531
THOMPSON, LORETTA J     GARDEN COURT APARTMENTS         462 STEWART RD APT. 3                                     MONROE          MI   48162
THOMPSON, LORETTA J     462 STEWART RD APT 3            GARDEN COURT APARTMENTS                                   MONROE          MI   48162‐4276
THOMPSON, LORRAINE D    3 DAVID CT                                                                                LYNWOOD         IL   60411‐4602
THOMPSON, LORRAINE E    310 E MAIN ST                                                                             FLUSHING        MI   48433‐2028
THOMPSON, LORRAINE E    310 EAST MAIN ST                                                                          FLUSHING        MI   48433‐2028
                          09-50026-mg            Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                               Part 37 of 40 Pg 12 of 901
Name                      Address1                        Address2             Address3         Address4         City              State Zip
THOMPSON, LORRAINE F      900B CRESCENT ST APT 8                                                                 WHEATON             IL 60187‐5672
THOMPSON, LOUIS A         414 W BUNDY AVE                                                                        FLINT              MI 48505‐2041
THOMPSON, LOUIS R         528 CRESTHAVEN DR                                                                      INDIANAPOLIS       IN 46217‐3280
THOMPSON, LOUISE          705 EVERGREEN AVE                                                                      FLINT              MI 48503‐4047
THOMPSON, LOUISE I        102 47TH AVE DR W BLDG 6 #342                                                          BRADENTON          FL 34207‐2184
THOMPSON, LOUIZA          14532 OLD JACKSON RD                                                                   DEKALB             MS 39328
THOMPSON, LOVELL          PO BOX 13402                                                                           FLINT              MI 48501‐3402
THOMPSON, LOWELL H        536 GOLDLEAF AVE                                                                       VANDALIA           OH 45377‐2532
THOMPSON, LOWELL T        157 MOUNT HOPE RD                                                                      LINCOLN UNIV       PA 19352‐9054
THOMPSON, LOWELL W        253 NEW ST                                                                             MT STERLING        OH 43143‐1027
THOMPSON, LOWVINE         1680 MTN CREEK CHURCH RD NW                                                            MONROE             GA 30656
THOMPSON, LUCEAL          3008 KAY DR SE                                                                         GRAND RAPIDS       MI 49508‐1597
THOMPSON, LUCILE C        7 OLD MAIN ST W # 2                                                                    MIAMISBURG         OH 45342
THOMPSON, LUEBIRDIA       G1369 E CARPENTER RD                                                                   FLINT              MI 48505‐2308
THOMPSON, LURA            4032 OLD 27 N                                                                          FREDERIC           MI 49733‐9555
THOMPSON, LURIA A         62 HILLCREST DRIVE                                                                     ZANESVILLE         OH 43701
THOMPSON, LUTHER L        11407 INGRAM ST                                                                        LIVONIA            MI 48150‐2871
THOMPSON, LUZINKA A       542 YORKSHIRE DR APT V                                                                 ROCHESTER HILLS    MI 48307‐4086
THOMPSON, LYDA S          PO BOX 292101                                                                          KETTERING          OH 45429‐0101
THOMPSON, LYDA S          P.O. BOX 292101                                                                        KETTERING          OH 45429‐0101
THOMPSON, LYLE A          841 TYRONE AVE                                                                         WATERFORD          MI 48328‐2666
THOMPSON, LYLE K          5102 W 8TH STREET RD                                                                   ANDERSON           IN 46011‐9101
THOMPSON, LYLE R          4235 MANKATO                                                                           ROYAL OAK          MI 48073‐1625
THOMPSON, LYLE R          4235 MANKATO AVE                                                                       ROYAL OAK          MI 48073‐1625
THOMPSON, LYNN            9108 OSCAR JOHNSON ROAD                                                                THEODORE           AL 36582
THOMPSON, LYNN A          83 WESTFIELD DR                                                                        HOLLISTON          MA 01746‐1726
THOMPSON, LYNN D          12633 PRESBYTERIAN RD                                                                  KNOWLESVILLE       NY 14479‐9194
THOMPSON, LYNN D          1494 HOLLYWOOD ST NE                                                                   WARREN             OH 44483‐4154
THOMPSON, LYNN E          10391 S LAKESIDE RIDGE RD                                                              BALDWIN            MI 49304‐8465
THOMPSON, LYNN G          22719 N BELLWOOD DR                                                                    SOUTHFIELD         MI 48034‐6226
THOMPSON, LYNN R          4712 CREEKSIDE DR                                                                      ARLINGTON          TX 76013‐5406
THOMPSON, LYNNE A         7999 GATOR PALM DR                                                                     FORT MYERS         FL 33966‐6994
THOMPSON, M E             RT 1 BOX 107‐A                                                                         PINEVILLE          KY 40977‐9801
THOMPSON, MABEL           644 OLD M 30                                                                           GLADWIN            MI 48624‐8399
THOMPSON, MAC DONALD      50 ARNETT BLVD                                                                         ROCHESTER          NY 14611‐3502
THOMPSON, MACK            SIMMONS FIRM                    PO BOX 521                                             EAST ALTON          IL 62024‐0519
THOMPSON, MACK H          1504 ASHWOOD CIR                                                                       WEST MEMPHIS       AR 72301‐3888
THOMPSON, MACK S          10745 JOHNSTON BLVD                                                                    SAINT HELEN        MI 48656‐9609
THOMPSON, MACK S          244 GRANADA AVE                                                                        YOUNGSTOWN         OH 44504‐1820
THOMPSON, MADALINE V      8096 E COUNTY ROAD 500 S                                                               COATESVILLE        IN 46121‐9643
THOMPSON, MADALYNNE M     52 GOODRICH RD                                                                         FOSTORIA           MI 48435‐9515
THOMPSON, MADALYNNE MAE   52 GOODRICH RD                                                                         FOSTORIA           MI 48435‐9515
THOMPSON, MADIE           1046 SUSSEX LN                                                                         FLINT              MI 48532
THOMPSON, MAGGIELENA G    131 BOWDEN RD                                                                          ELLENWOOD          GA 30294‐2673
THOMPSON, MAGNOLIA A      467 E FERRY                                                                            BUFFALO            NY 14208‐1602
THOMPSON, MALCOLM B       868 N RIDGE RD W                                                                       LORAIN             OH 44053‐3780
THOMPSON, MANSEL C        3317 MACKIN RD                                                                         FLINT              MI 48504‐3288
THOMPSON, MARCEL T        18100 PRATT RD                                                                         ARMADA             MI 48005‐1119
THOMPSON, MARCELLA        7206 ROBERT ULRICH AVE.                                                                CLAYTON            OH 45415‐5415
THOMPSON, MARCELLA E      3052 ANGELUS DR                                                                        WATERFORD          MI 48329‐2506
THOMPSON, MARCIA L        101 SARA CIR                                                                           POTTSBORO          TX 75076‐9569
THOMPSON, MARCIA L        25933 S LOHMAN RD                                                                      WRIGHT CITY        MO 63390‐5373
                         09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                               Part 37 of 40 Pg 13 of 901
Name                     Address1                        Address2                      Address3   Address4         City             State Zip
THOMPSON, MARCIA R       408 TAMARAC DR                                                                            DAVISON           MI 48423‐1940
THOMPSON, MARCIA R       408 TAMARAC DRIVE                                                                         DAVISON           MI 48423‐1940
THOMPSON, MARGARET A     608 ELLSWORTH WAY                                                                         VILLAGES          FL 32162‐7619
THOMPSON, MARGARET A     3414 RAMEY DR                                                                             ARLINGTON         TX 76014‐3446
THOMPSON, MARGARET A     7111 E RICHFIELD RD                                                                       DAVISON           MI 48423‐8976
THOMPSON, MARGARET ANN   3414 RAMEY DR                                                                             ARLINGTON         TX 76014‐3446
THOMPSON, MARGARET E     3054 COVERT RD                                                                            FLINT             MI 48506‐2032
THOMPSON, MARGARET J     12142 BENSON RD                                                                           MT MORRIS         MI 48458‐1463
THOMPSON, MARGARET J     903 MINERAL POINT AVE           ROOM #303                                                 JANESVILLE        WI 53548‐2970
THOMPSON, MARGARET J.    6243 DENTON RD                                                                            BELLEVILLE        MI 48111‐1012
THOMPSON, MARGARITA P    14227 HUBBELL ST                                                                          LIVONIA           MI 48154‐4327
THOMPSON, MARGIE A       15136 KELLY ST                                                                            SPRING LAKE       MI 49456‐1538
THOMPSON, MARGIE L       318 W CHEROKEE ST                                                                         SPERRY            OK 74073‐4252
THOMPSON, MARGUERITE G   114 STADIA DR                                                                             FRANKLIN          OH 45005‐1502
THOMPSON, MARIE          38 EGRET DR                                                                               WEST HENRIETTA    NY 14586‐9310
THOMPSON, MARIE          38 EGRET DRIVE                                                                            WEST HENRIETTA    NY 14586‐4586
THOMPSON, MARIE          23 MAXWELL AVE                                                                            ROCHESTER         NY 14619
THOMPSON, MARIE E        5000 ST. RT. #19                                                                          GALION            OH 44833‐9763
THOMPSON, MARILYN        12333 W WASHINGTON AVE                                                                    MOUNT MORRIS      MI 48458‐1501
THOMPSON, MARILYN A      645 BURTMAN DR                                                                            TROY              MI 48083‐1043
THOMPSON, MARILYN A      5840 GALLOWAYS MILL RD                                                                    ROCKFIELD         KY 42274‐9726
THOMPSON, MARILYN ANN    5840 GALLOWAYS MILL RD                                                                    ROCKFIELD         KY 42274‐9726
THOMPSON, MARILYN B      172 FLOSS AVE                                                                             BUFFALO           NY 14215‐3910
THOMPSON, MARILYN B      172 FLOSS STREET                                                                          BUFFALO           NY 14215‐3910
THOMPSON, MARILYN C      117 SPRING VALLEY DR                                                                      ANDERSON          IN 46011‐1926
THOMPSON, MARILYN E      800 INDIGO VLG                                                                            SOUTHPORT         NC 28461‐2958
THOMPSON, MARILYN J      1111 LAPHAM ST                                                                            JANESVILLE        WI 53546‐5506
THOMPSON, MARILYN L      6550 SOUTH 850 EAST                                                                       ZIONSVILLE        IN 46077‐8311
THOMPSON, MARILYN L      675 S FORD RD                                                                             ZIONSVILLE        IN 46077
THOMPSON, MARION         100 FRANCIS CT APT 104                                                                    UNION             NJ 07083‐8969
THOMPSON, MARION         23 WILSON BLVD                                                                            JACKSON           NJ 08527‐3432
THOMPSON, MARION F       PO BOX 3593                                                                               EATONTON          GA 31024‐3593
THOMPSON, MARION L       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                         STREET, SUITE 600
THOMPSON, MARJORIE       2473 NORTH RD ROOM 703 NE                                                                 WARREN           OH   44483
THOMPSON, MARJORIE       2683 GARY AVE                                                                             BRIGHTON         MI   48114
THOMPSON, MARJORIE J     3350 DARBYSHIRE DR.                                                                       BEAVERCREEK      OH   45440‐5440
THOMPSON, MARJORIE L     1277 BOWDION SE                                                                           KENTWOOD         MI   49508‐6108
THOMPSON, MARJORIE L     1277 BOWDOIN ST SE                                                                        KENTWOOD         MI   49508‐6108
THOMPSON, MARJORIE W     1055 EASTGATE RD                                                                          SALT LAKE CITY   UT   84117‐5778
THOMPSON, MARK A         405 FIELDCREST ST SW                                                                      HARTSELLE        AL   35640‐6032
THOMPSON, MARK A         1714 KELLOGG AVENUE                                                                       JANESVILLE       WI   53546‐6003
THOMPSON, MARK C         5609 WHITBY RD                                                                            BALTIMORE        MD   21206‐2920
THOMPSON, MARK D         1412 HATCH RD                                                                             OKEMOS           MI   48864‐3414
THOMPSON, MARK E         18685 NEGAUNEE                                                                            REDFORD          MI   48240‐2026
THOMPSON, MARK E         11385 WAYNE DR                                                                            HOLLYWOOD        FL   33026‐3738
THOMPSON, MARK E         3873 N FOXCLIFF DR W                                                                      MARTINSVILLE     IN   46151‐5956
THOMPSON, MARK EDWARD    11385 WAYNE DR                                                                            HOLLYWOOD        FL   33026‐3738
THOMPSON, MARK R         224 ROBERT QUIGLEY DR APT 2                                                               SCOTTSVILLE      NY   14546‐1012
THOMPSON, MARK R         9996 CEDAR POINT DR                                                                       CARMEL           IN   46032‐9581
THOMPSON, MARK R         9502 E STATE ROAD 32                                                                      ZIONSVILLE       IN   46077‐9752
THOMPSON, MARK S         618 N RITTER AVE                                                                          NIXA             MO   65714‐8966
                            09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                   Part 37 of 40 Pg 14 of 901
Name                       Address1                          Address2              Address3         Address4         City              State Zip
THOMPSON, MARK S           2981 COUNTY ROAD 167                                                                      MOULTON            AL 35650‐6625
THOMPSON, MARK STEVEN      618 NORTH RITTER AVENUE                                                                   NIXA               MO 65714‐8966
THOMPSON, MARQUETTA T      13859 LIPPAZAN CT                                                                         VICTORVILLE        CA 92394‐7366
THOMPSON, MARSHA E         1101 SUNNYVIEW STREET                                                                     DAYTON             OH 45406‐5406
THOMPSON, MARSHA L         2167 N FAIRVIEW LN                                                                        ROCHESTER HILLS    MI 48306‐3929
THOMPSON, MARSHA L.        2167 N FAIRVIEW LN                                                                        ROCHESTER HILLS    MI 48306‐3929
THOMPSON, MARTHA           1198 BISHOP AVE APT 8                                                                     HAMILTON           OH 45015‐2164
THOMPSON, MARTHA           1198 BISHOP AVE                   APT 8                                                   HAMILTON           OH 45015
THOMPSON, MARTHA           5545 WELLS                        APT 307                                                 ST LOUIS           MO 63112
THOMPSON, MARTHA           46651 HEATHER LN                                                                          CHESTERFIELD       MI 48051‐2887
THOMPSON, MARTHA A         121 PERSIMMON DR                                                                          OXFORD             MI 48371‐4058
THOMPSON, MARTHA C         2012 N BELL ST                                                                            KOKOMO             IN 46901‐2307
THOMPSON, MARTHA COLLEEN   2012 N BELL ST                                                                            KOKOMO             IN 46901‐2307
THOMPSON, MARTHA J         1695 LOWER BELLBROOK RD                                                                   XENIA              OH 45385‐9309
THOMPSON, MARTHA J         1117 WESTWOOD DR                                                                          MOORESVILLE        IN 46158‐1128
THOMPSON, MARTHA M         145 DAFFODIL DR                                                                           HEMPHILL           TX 75948‐9201
THOMPSON, MARTIN A         101 HIGHLAND RD                                                                           PORTLAND           TN 37148‐5070
THOMPSON, MARTIN A         2117 BAUMEY ST                                                                            WYANDOTTE          MI 48192‐3033
THOMPSON, MARTIN M         10 LOST MEADOW CT                                                                         SAINT CHARLES      MO 63303‐4427
THOMPSON, MARVIN           3960 LEXINGTON AVE                                                                        SAINT LOUIS        MO 63107‐2011
THOMPSON, MARVIN L         2907 LOOMIS RD                                                                            SAINT JOHNS        MI 48879‐9285
THOMPSON, MARY             35918 SOMERSET ST                                                                         WESTLAND           MI 48186‐4115
THOMPSON, MARY             250 BETTIS RD                                                                             DRAVOSBURG         PA 15034‐1021
THOMPSON, MARY A           1633 ROSEBUD LANE                                                                         GREENWOOD          IN 46143‐7848
THOMPSON, MARY A           613 RIDGE RD APT 306                                                                      NEWTON FALLS       OH 44444‐1086
THOMPSON, MARY E           10 WILMINGTON AVE                 APT 253W                                                DAYTON             OH 45420‐4813
THOMPSON, MARY E           3245 NE 8TH PL                                                                            CAPE CORAL         FL 33909‐3349
THOMPSON, MARY G           7332 REVERE ST                                                                            PHILADELPHIA       PA 19152‐4408
THOMPSON, MARY G           223 BURNS ST                                                                              FOREST HILLS       NY 11375‐6127
THOMPSON, MARY J           1808 COLONY PARK DR                                                                       PEARL              MS 39208‐6361
THOMPSON, MARY J           4421 W CARPENTER RD                                                                       FLINT              MI 48504‐1122
THOMPSON, MARY J           226 FLOYD AVE                     C/O SUE A. THOMPSON                                     MIAMISBURG         OH 45342‐3522
THOMPSON, MARY J           13470 FOWLER AVE                                                                          OMAHA              NE 68164‐1781
THOMPSON, MARY JEAN        4421 W CARPENTER RD                                                                       FLINT              MI 48504‐1122
THOMPSON, MARY K           3288 FULLERTON STREET                                                                     DETROIT            MI 48238‐3304
THOMPSON, MARY K           712 PAIGE CT                                                                              COLUMBIA           TN 38401‐7018
THOMPSON, MARY K           2221 NORWOOD DR                                                                           ANDERSON           IN 46012‐1836
THOMPSON, MARY L           2128 CADIE AVE                                                                            DAYTON             OH 45414‐3325
THOMPSON, MARY L           PO BOX 185                                                                                MONROEVILLE        AL 36461
THOMPSON, MARY L           2556 LOCH LOMOND                                                                          HIGHLAND           MI 48357‐3749
THOMPSON, MARY L           8310 N SOONER RD                                                                          OKLAHOMA CITY      OK 73151
THOMPSON, MARY L           PO BOX 234                        1 MUDDY RD                                              ANTELOPE           OR 97001‐0234
THOMPSON, MARY L.          3839 RUE FLAMBEAU                                                                         INDIANAPOLIS       IN 46220‐5613
THOMPSON, MARY M           PO BOX 1176                                                                               BEDFORD            IN 47421‐1176
THOMPSON, MARY O           15823 KINGS CYPRESS LN                                                                    CYPRESS            TX 77429‐1555
THOMPSON, MARY S           903 RON AVE                                                                               BOAZ               AL 35956‐5333
THOMPSON, MATTHEW A        1864 BARCLAY MESSERLY RD                                                                  LEAVITTSBURG       OH 44430‐9762
THOMPSON, MATTHEW J        6237 S. TRANSIT RD. LOT 1268                                                              LOCKPORT           NY 14094
THOMPSON, MATTHEW RYAN     3300 RIVER BLUFF RD                                                                       ANDERSON           IN 46012‐4632
THOMPSON, MATTIE           10 CORONADO DR                                                                            ENGLEWOOD          FL 34223‐2171
THOMPSON, MATTIE B         43 YORK ST                                                                                ROCHESTER          NY 14611‐2217
THOMPSON, MAXINE D         3991 SEVEN HILLS TRL                                                                      STONE MTN          GA 30083‐4634
                            09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                    Part 37 of 40 Pg 15 of 901
Name                        Address1                          Address2                      Address3   Address4         City            State Zip
THOMPSON, MAXINE L          683 BERRYS MILL RD                                                                          WEST BATH        ME 04530‐6605
THOMPSON, MAXINE L          683 BERRY'S MILL RD                                                                         WEST BATH        ME 04530
THOMPSON, MAXSELL           20267 ALDERTON ST                                                                           DETROIT          MI 48219‐1218
THOMPSON, MELVIN            C/O GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
THOMPSON, MELVIN D          3230 E MANNSIDING RD                                                                        HARRISON        MI   48625‐9428
THOMPSON, MELVIN H          3450 S AIRPORT RD                                                                           BRIDGEPORT      MI   48722‐9557
THOMPSON, MELVIN V          2495 STATE ROAD 142                                                                         MARTINSVILLE    IN   46151‐9587
THOMPSON, MERELENE          5242 WHITE DIAMOND ST                                                                       MEMPHIS         TN   38109‐6386
THOMPSON, MERLE L           996 CREEKSIDE CIR                                                                           NAPERVILLE      IL   60563‐2471
THOMPSON, MERLYN M          9537 N MCCLELLAND RD R 1                                                                    BRECKENRIDGE    MI   48615
THOMPSON, MERTON K          1930 S AURELIUS RD                                                                          MASON           MI   48854‐9763
THOMPSON, MICAH O           5107 N KENMORE RD                                                                           INDIANAPOLIS    IN   46226
THOMPSON, MICHAEL           3172 OLD FARM RD                                                                            FLINT           MI   48507‐1251
THOMPSON, MICHAEL           205 FUSSELL ST                                                                              GOLDSBORO       NC   27530‐2025
THOMPSON, MICHAEL           1431 COLUMBIA AVE                                                                           PLAINFIELD      NJ   07062‐1753
THOMPSON, MICHAEL A         11423 E RICHFIELD RD                                                                        DAVISON         MI   48423‐8517
THOMPSON, MICHAEL A         275 S. MAIN A 12                                                                            BRITTON         MI   49229
THOMPSON, MICHAEL A         2324 LAPEER RD APT 1301                                                                     FLINT           MI   40503
THOMPSON, MICHAEL A         17200 WISCONSIN ST FL 2ND                                                                   DETROIT         MI   48221
THOMPSON, MICHAEL ALLEN     11423 E RICHFIELD RD                                                                        DAVISON         MI   48423‐8517
THOMPSON, MICHAEL C         100 CANADIAN DR                                                                             SCOTTSBORO      AL   35769‐6041
THOMPSON, MICHAEL C         1046 E YORK AVE                                                                             FLINT           MI   48505‐2270
THOMPSON, MICHAEL C         289 GOLDENRIDGE DR                                                                          LEVITTOWN       PA   19057‐3427
THOMPSON, MICHAEL C         9096 N COUNTRY CLUB RD                                                                      MOORESVILLE     IN   46158‐7182
THOMPSON, MICHAEL D         511 E 38TH ST                                                                               ANDERSON        IN   46013‐4901
THOMPSON, MICHAEL D         55 DOVE TRACE CIR                                                                           THE WOODLANDS   TX   77382‐2584
THOMPSON, MICHAEL E         5227 IVYHURST DR                                                                            COLUMBUS        OH   43232‐2720
THOMPSON, MICHAEL E         512 GREENMAN STREET                                                                         MILTON          WI   53563‐1523
THOMPSON, MICHAEL E         50850 WILLIS RD                                                                             BELLEVILLE      MI   48111‐8615
THOMPSON, MICHAEL E         3268 S KEARSLEY BLVD                                                                        FLINT           MI   48506‐2043
THOMPSON, MICHAEL E         302 S HUNTSMAN BLVD                                                                         RAYMORE         MO   64083
THOMPSON, MICHAEL E         2746 N PETERSON DR                                                                          SANFORD         MI   48657‐9417
THOMPSON, MICHAEL ERNEST    3268 S KEARSLEY BLVD                                                                        FLINT           MI   48506‐2043
THOMPSON, MICHAEL F         164 STONERIDGE CT                                                                           EAST AURORA     NY   14052‐2039
THOMPSON, MICHAEL G         1 DOVER CT                                                                                  ORINDA          CA   94563‐3633
THOMPSON, MICHAEL G         2724 MILDA CT                                                                               BEAVERCREEK     OH   45430‐1910
THOMPSON, MICHAEL G         1776 ARROWHEAD CT                                                                           DEFIANCE        OH   43512‐3355
THOMPSON, MICHAEL GENE      1776 ARROWHEAD CT                                                                           DEFIANCE        OH   43512‐3355
THOMPSON, MICHAEL J         7426 IVANREST AVE SW                                                                        BYRON CENTER    MI   49315‐8463
THOMPSON, MICHAEL L         1733 HONEYSUCKLE DR                                                                         MANSFIELD       OH   44905‐2313
THOMPSON, MICHAEL L         2504 MAGELLAN TER                                                                           PUNTA GORDA     FL   33983‐3114
THOMPSON, MICHAEL R         4418 ALDER DR                                                                               FLINT           MI   48506‐1462
THOMPSON, MICHAEL R         5275 ROBERTS DR                                                                             FLINT           MI   48506‐1553
THOMPSON, MICHAEL RAY       5275 ROBERTS DR                                                                             FLINT           MI   48506‐1553
THOMPSON, MICHAEL S         5030 DOERR RD                                                                               MANCELONA       MI   49659‐9812
THOMPSON, MICHAEL S         15842 WILLOW POINT CT                                                                       CHESTERFIELD    MO   63017‐7228
THOMPSON, MICHAEL T         12493 WHITEHILL ST                                                                          DETROIT         MI   48224‐1097
THOMPSON, MICHAEL W         16238 SUNSET WAY                                                                            LINDEN          MI   48451‐9639
THOMPSON, MICHAEL W         9071 DODGE RD                                                                               OTISVILLE       MI   48463‐9449
THOMPSON, MICHAEL WILLIAM   9071 DODGE RD                                                                               OTISVILLE       MI   48463‐9449
THOMPSON, MIKE              4920 W HOYT PL                                                                              MILWAUKEE       WI   53216‐2331
                      09-50026-mg           Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                          Part 37 of 40 Pg 16 of 901
Name                  Address1                      Address2              Address3         Address4         City              State Zip
THOMPSON, MIKE        4920 W HOYT PLACE                                                                     MILWAUKEE          WI 53216‐2331
THOMPSON, MILDRED     4767 HESS ST                                                                          SAGINAW            MI 48601‐6924
THOMPSON, MILDRED A   474 BLOOMFIELD                                                                        PONTIAC            MI 48341
THOMPSON, MILDRED A   PO BOX 431606                                                                         PONTIAC            MI 48343‐1606
THOMPSON, MILDRED C   3016 EAST RAHN ROAD                                                                   KETTERING          OH 45440‐2137
THOMPSON, MILDRED C   3016 E RAHN RD                                                                        KETTERING          OH 45440‐2137
THOMPSON, MILDRED E   1463 WILTSE RD                                                                        LUPTON             MI 48635‐9783
THOMPSON, MILDRED M   8690 SCENIC BLUFF                                                                     WHITE LAKE         MI 48386
THOMPSON, MILDRED R   5112 COLUMBUS AVENUE                                                                  ANDERSON           IN 46013‐5136
THOMPSON, MILDRED S   13255 N HORRELL RD                                                                    FENTON             MI 48430‐1008
THOMPSON, MILDRED S   11451 VISTA DR                                                                        FENTON             MI 48430‐2412
THOMPSON, MILLARD H   8100 MAIN ST                  APT C                                                   GARRETTSVILLE      OH 44231
THOMPSON, MILLARD H   #C                            8100 MAIN STREET                                        GARRETTSVILLE      OH 44231‐1216
THOMPSON, MILTON      5630 DEERFIELD TRL                                                                    COLLEGE PARK       GA 30349‐3714
THOMPSON, MILTON G    G‐3270 WALTON                                                                         FLINT              MI 48504
THOMPSON, MINNIE B    2902 MEADOW FOREST DRIVE                                                              JACKSON            MS 39212‐9212
THOMPSON, MINNIE L    21 W PEASE AVE                                                                        WEST CARROLLTON    OH 45449‐1433
THOMPSON, MINNIE L    21 WEST PEASE AVENUE                                                                  WEST CARROLLTON    OH 45449‐1433
THOMPSON, MONICA A    33764 SEBASTIAN LANE DR                                                               STERLING HTS       MI 48312‐6034
THOMPSON, MONITA C    2935 SALEM DR                                                                         ANN ARBOR          MI 48103‐6811
THOMPSON, MORRIS E    50 W JUDSON AVE                                                                       YOUNGSTOWN         OH 44507‐2039
THOMPSON, MORRIS L    10747 GATEWAY DR                                                                      FISHERS            IN 46037‐9569
THOMPSON, MOZELL      1038 E AUSTIN AVE                                                                     FLINT              MI 48505‐2218
THOMPSON, MOZELL      1038 E AUSTIN                                                                         FLINT              MI 48505‐2218
THOMPSON, MYRL W      16505 175TH AVE                                                                       BIG RAPIDS         MI 49307‐9304
THOMPSON, MYRON A     6121 RIVERVIEW RD                                                                     VASSAR             MI 48768‐9611
THOMPSON, NAKITA S    5332 MANTZ AVE                                                                        TROTWOOD           OH 45417‐7933
THOMPSON, NANCY K     837 S. POWELL                                                                         ESSEXVILLE         MI 48732‐1855
THOMPSON, NANCY K     837 S POWELL RD                                                                       ESSEXVILLE         MI 48732‐1855
THOMPSON, NANCY L     APT 303                       1715 RICHARD DRIVE                                      ASHLAND            OH 44805‐4572
THOMPSON, NANCY L     13160 PINEWOOD RT #1                                                                  GOWEN              MI 49326‐9727
THOMPSON, NANCY L     1808 S 600 E                                                                          MARION             IN 46953‐9594
THOMPSON, NANCY L     553 CHERRY CREEK LN                                                                   CHINO VALLEY       AZ 86323‐7475
THOMPSON, NANCY L     25910 WRIGHT RD                                                                       STURGIS            MI 49091‐9679
THOMPSON, NANCY M     66 THE FARM RD                                                                        MCDONOUGH          GA 30252‐5618
THOMPSON, NANCY M     66 THE FARM ROAD                                                                      MCDONOUGH          GA 30252‐5618
THOMPSON, NAOMA       2496 BRAKEBILL RD                                                                     WARM SPRINGS       AR 72478‐9140
THOMPSON, NEAL A      PO BOX 657                                                                            GARRETT            KY 41630‐0657
THOMPSON, NED A       5303 N COUNTY ROAD 850 W                                                              MIDDLETOWN         IN 47356‐9757
THOMPSON, NEOMI F     4991 O NEALL RD                                                                       WAYNESVILLE        OH 45068‐9450
THOMPSON, NEOMI F     4991 O'NEALL RD                                                                       WAYNESVILLE        OH 45068‐5068
THOMPSON, NETTIE      97 LOUISVILLE LANE                                                                    WALLINS CREEK      KY 40873‐8940
THOMPSON, NINA J      300 GREEN PARK DR APT F                                                               MASON              MI 48854‐2563
THOMPSON, NONA M      122 SANDALWOOD CIR                                                                    LAWRENCEVILLE      GA 30045‐5838
THOMPSON, NORA B      103 LUCAS STREET                                                                      BROOKHAVEN         MS 39601‐2519
THOMPSON, NORA B      103 LUCAS ST                                                                          BROOKHAVEN         MS 39601‐2519
THOMPSON, NORA L      2420 W COLDWATER RD                                                                   FLINT              MI 48505‐4809
THOMPSON, NORMA       6440 HIGHLAND RIDGE DR                                                                EAST LANSING       MI 48823‐9313
THOMPSON, NORMA A     11721 DIAMOND POINTE CT                                                               INDIANAPOLIS       IN 46236‐9060
THOMPSON, NORMA J     PO BOX 310236                                                                         FLINT              MI 48531‐0236
THOMPSON, NORMA T     195 CAVE RUN DR APT 5                                                                 ERLANGER           KY 41018‐4011
THOMPSON, NORMA T     195‐5 CAVE RUN DR.                                                                    ERLANGER           KY 41018‐4011
                             09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                   Part 37 of 40 Pg 17 of 901
Name                        Address1                         Address2                      Address3   Address4         City            State Zip
THOMPSON, NORMADEEN S       4193 BROOKSTREAM                                                                           BURTON           MI 48519‐2809
THOMPSON, NORMAN D          2300 W WINEGAR RD                                                                          MORRICE          MI 48857‐9655
THOMPSON, NORMAN DALE       2300 W WINEGAR RD                                                                          MORRICE          MI 48857‐9655
THOMPSON, NORMAN E          360 MECCA DR                                                                               VANDALIA         OH 45377‐2627
THOMPSON, NORMAN H          PO BOX 5099                                                                                N MUSKEGON       MI 49445‐5099
THOMPSON, NORMAN H          8901 BUCHANAN HWY                                                                          DALLAS           GA 30157‐7800
THOMPSON, NORMAN J          682 STATE RD NW                                                                            WARREN           OH 44483‐1630
THOMPSON, NORMAN K          2007 VAN BIBBER LAKE EST # B10                                                             GREENCASTLE      IN 46135‐8903
THOMPSON, NORMAN RUFAS      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                             STREET, SUITE 600
THOMPSON, NORRIS P          PO BOX 605                                                                                 ROOSEVELTOWN    NY   13683‐0605
THOMPSON, ODESSA            10 W CLEVELAND DR                                                                          BUFFALO         NY   14215‐1817
THOMPSON, OLIVE             6070 NORTH RD                                                                              W JEFFERSON     OH   43162‐9724
THOMPSON, OLIVE             2507 E 35TH ST                                                                             ANDERSON        IN   46013‐2206
THOMPSON, OLIVE             6070 NORTH ROAD                                                                            W JEFFERSON     OH   43162‐9724
THOMPSON, OLIVER            PO BOX 3043                                                                                ANDERSON        IN   46018‐3043
THOMPSON, ONETIA JEAN       5701 SUSAN ST                                                                              FLINT           MI   48505‐2549
THOMPSON, ONETTA J          5701 SUSAN ST                                                                              FLINT           MI   48505‐2549
THOMPSON, OREN L            DREYER BOYAJIAN LLP              75 COLUMBIA ST                                            ALBANY          NY   12210‐2708
THOMPSON, ORLANDO W         133 EMERSON AVE                                                                            PLAINFIELD      NJ   07062‐1520
THOMPSON, ORVAL             PO BOX 233                       2013 SUNSET DRIVE                                         LUPTON          MI   48635‐0233
THOMPSON, ORVILLE D         4349 ST RT 772                                                                             PIKETON         OH   45661‐9610
THOMPSON, ORVILLE D         4349 STATE ROUTE 772                                                                       PIKETON         OH   45661‐9610
THOMPSON, OSCAR G           13859 LIPPAZAN CT                                                                          VICTORVILLE     CA   92394‐7366
THOMPSON, OTIS C            ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE       MD   21202
                                                             CHARLES CENTER 22ND FLOOR
THOMPSON, PAM               530 OLIVE ST                                                                               GLADE SPRINGS   VA   24340
THOMPSON, PAMELA B          3535 BANGOR CT W                                                                           IRVING          TX   75062‐7413
THOMPSON, PAMELA BELLE      509 E. MEMORIAL DRIVE                                                                      JANESVILLE      WI   53545‐1623
THOMPSON, PAMELA BELLE      509 E MEMORIAL DR                                                                          JANESVILLE      WI   53545‐1623
THOMPSON, PAMELA J          1924 AZURITE PL                                                                            FORT WAYNE      IN   46804‐5265
THOMPSON, PAMELA JEAN       1924 AZURITE PL                                                                            FORT WAYNE      IN   46804‐5265
THOMPSON, PAMELA S          6604 ALLWOOD DR                                                                            N LITTLE ROCK   AR   72118‐2616
THOMPSON, PATRICE           3378 DEERWOOD LN                                                                           REX             GA   30273‐2473
THOMPSON, PATRICIA          5530 WILSON AVENUE                                                                         SCIOTOVILLE     OH   45662‐5221
THOMPSON, PATRICIA          3013 FREEWAY                                                                               BALTIMORE       MD   21227‐3415
THOMPSON, PATRICIA A        406 W MARENGO AVE                                                                          FLINT           MI   48505‐3297
THOMPSON, PATRICIA A        40 MEADOW LN                                                                               NEWARK          DE   19713‐2545
THOMPSON, PATRICIA ANN      22350 HOWARD STREET                                                                        ATHENS          AL   35613‐3802
THOMPSON, PATRICIA E        7701 LINDBERGH BLVD APT 217                                                                PHILADELPHIA    PA   19153‐2107
THOMPSON, PATRICIA J        215 NW 18TH ST                                                                             OKLAHOMA CITY   OK   73103‐1901
THOMPSON, PATRICIA J        5105 MARK DAVID DR                                                                         SWARTZ CREEK    MI   48473‐8557
THOMPSON, PATRICIA K        8701 LAKEVIEW DR                                                                           BARKER          NY   14012
THOMPSON, PATRICIA L        32880 W 199TH ST                                                                           EDGERTON        KS   66021‐9409
THOMPSON, PATRICIA L        2668 LIDO LN                                                                               SAINT LOUIS     MO   63129‐5422
THOMPSON, PATRICIA LOUISE   2668 LIDO LN                                                                               SAINT LOUIS     MO   63129‐5422
THOMPSON, PATRICIA M        383 ATWOOD ST NW                                                                           WARREN          OH   44483‐2116
THOMPSON, PATRICIA M        383 ATWOOD ST.                                                                             WARREN          OH   44483‐2116
THOMPSON, PATRICIA S        150 RAYMOND AVE NW                                                                         WARREN          OH   44483‐1152
THOMPSON, PATRICK           173 POND LILY LANE                                                                         TERRA ALTA      WV   26764
THOMPSON, PATRICK D         8129 TOMA RD                                                                               PINCKNEY        MI   48169‐9403
                           09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                                 Part 37 of 40 Pg 18 of 901
Name                       Address1                        Address2                       Address3   Address4         City                 State Zip
THOMPSON, PATRICK EDNALL   FOSTER & SEAR                   360 PLACE OFFICE PARK, 1201                                ARLINGTON             TX 76006
                                                           NORTH WATSON, SUITE 145
THOMPSON, PATRICK H        247 E OYSTER RD                                                                            ROSE CITY            MI   48654‐9732
THOMPSON, PATRICK J        86 CAROLINA AVE                                                                            LOCKPORT             NY   14094‐5744
THOMPSON, PATRICK L        APT 120                         1804 FIJI DRIVE                                            ARLINGTON            TX   76015‐3905
THOMPSON, PATRICK LEROY    APT 120                         1804 FIJI DRIVE                                            ARLINGTON            TX   76015‐3905
THOMPSON, PATRICK N        7359 W SAN MIGUEL AVE                                                                      GLENDALE             AZ   85303‐5245
THOMPSON, PATTIE           473 DOWNING DRIVE                                                                          GREENWOOD            IN   46143‐8435
THOMPSON, PATTIE           473 DOWNING DR                                                                             GREENWOOD            IN   46143‐8435
THOMPSON, PATTY S          10505 E HAYES RD                                                                           ASHLEY               MI   48806‐9317
THOMPSON, PAUL             792 FAIRLANE RD                                                                            BUTLER               KY   41006‐8677
THOMPSON, PAUL             KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND            OH   44114
                                                           BOND COURT BUILDING
THOMPSON, PAUL             7700 MICAWBER RD NE                                                                        WARREN               OH   44484‐1424
THOMPSON, PAUL E           DUFFY & ASSOCS JOHN J           23823 LORAIN RD                                            NORTH OLMSTED        OH   44070
THOMPSON, PAUL E           528 SUNNYSLOPE DR                                                                          FLUSHING             MI   48433‐2177
THOMPSON, PAUL E           1312 BRAMBLE WAY                                                                           ANDERSON             IN   46011‐2830
THOMPSON, PAUL H           2487 DEMORY RD                                                                             LA FOLLETTE          TN   37766‐5734
THOMPSON, PAUL R           22670 MANOR ST                                                                             SAINT CLAIR SHORES   MI   48081‐2331
THOMPSON, PAUL R           17471 HILLTOP VIEW DR                                                                      NORTHVILLE           MI   48168‐1882
THOMPSON, PAUL S           6452 JOHNSON RD                                                                            FLUSHING             MI   48433‐1138
THOMPSON, PAUL W           20278 ROAD 146                                                                             PAULDING             OH   45879‐9352
THOMPSON, PAUL W           311 DOE CREEK DR                                                                           CLOVERDALE           IN   46120‐9156
THOMPSON, PAUL W           4012 YORBA LINDA BLVD                                                                      ROYAL OAK            MI   48073‐6458
THOMPSON, PAULA D          363 WARWICK AVE                                                                            BUFFALO              NY   14215‐3269
THOMPSON, PAULA L          182 HUNTER PARK DRIVE                                                                      YORK                 SC   29745‐2713
THOMPSON, PAULINE E        207 ROMADOOR AVE                                                                           EATON                OH   45320‐1043
THOMPSON, PAULINE J        22 BAYBERY AVE                                                                             BUFFALO              NY   14224‐2805
THOMPSON, PAULINE J        22 BAYBERRY AVE                                                                            BUFFALO              NY   14224‐2805
THOMPSON, PEARL T          103 CANTON AVE                                                                             HURON                OH   44839‐1306
THOMPSON, PEGGY J          539 S 29TH ST                                                                              SAGINAW              MI   48601‐6428
THOMPSON, PEGGY J.         27130 NEW YORK ST                                                                          INKSTER              MI   48141‐2526
THOMPSON, PETER G          11076 WEALTHY LN                                                                           BRUCE TWP            MI   48065‐5331
THOMPSON, PETER H          2248 BLACKMORE ST                                                                          MADISON              IN   47250‐2375
THOMPSON, PHILIP J         1738 BRIARMANOR DR                                                                         LAKE ST LOUIS        MO   63367‐6447
THOMPSON, PHILIP P         4119 TOWNSEND RD                                                                           LYNCHBURG            OH   45142‐9231
THOMPSON, PHILIP W         8710 WASHINGTON BLVD WEST DR                                                               INDIANAPOLIS         IN   46240‐1522
THOMPSON, PHILLIP          2126 MCGREGOR RD                                                                           YPSILANTI            MI   48198‐9100
THOMPSON, PHILLIP          171 GREEN VISTA DR                                                                         ENON                 OH   45323‐1660
THOMPSON, PHILLIP E        13160 PINEWOOD ST                                                                          GOWEN                MI   49326‐9413
THOMPSON, PHILOMENA V      65 WESTFIELD RD                 C/O WESTFIELD CARE AND REHAB                               MERIDEN              CT   06450‐2425
                                                           CEN
THOMPSON, PHYLLIS          PO BOX 273                                                                                 WILLIAMSVILLE        MO   63967‐0273
THOMPSON, PHYLLIS A        1366 AMY STREET                                                                            BURTON               MI   48509‐1802
THOMPSON, PHYLLIS A        1366 AMY ST                                                                                BURTON               MI   48509‐1802
THOMPSON, PHYLLIS C        105 PARK RIDGE DRIVE                                                                       DANVILLE             IN   46122‐1336
THOMPSON, PHYLLIS C        105 PARKRIDGE DR                                                                           DANVILLE             IN   46122‐1336
THOMPSON, PHYLLIS G        8884 WALNUT ST 41                                                                          RUSSELLS POINT       OH   43348
THOMPSON, PHYLLIS M        40 SUNNYSLOPE DR                                                                           MANSFIELD            OH   44907‐2518
THOMPSON, PRINCE LEE
THOMPSON, R T              1815 5TH ST NW                                                                             ATTALLA              AL 35954‐1322
THOMPSON, R.C.             SHANNON LAW FIRM                100 W GALLATIN ST                                          HAZLEHURST           MS 39083‐3007
                       09-50026-mg           Doc 7123-39     Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                            Part 37 of 40 Pg 19 of 901
Name                   Address1                        Address2                        Address3   Address4         City               State Zip
THOMPSON, RACHELLE     919 WESTON STREET                                                                           LANSING             MI 48917
THOMPSON, RALPH        163 N MCCAMPBELL ST                                                                         ARANSAS PASS        TX 78336‐2632
THOMPSON, RALPH C      8831 W DORSEY CT                                                                            KNIGHTSTOWN         IN 46148‐9500
THOMPSON, RALPH R      PO BOX 180                                                                                  HOLLY               MI 48442‐0180
THOMPSON, RALPH W      236 LONGSTREET DR                                                                           GETTYSBURG          PA 17325‐8919
THOMPSON, RANDALL      3840 MAPLE RD                                                                               BURTCHVILLE         MI 48059‐1639
THOMPSON, RANDALL J    3590 CAPALDI CIR                                                                            ORION               MI 48359‐1400
THOMPSON, RANDALL J    5273 SNYDER DR SW                                                                           WYOMING             MI 49418‐9514
THOMPSON, RANDALL J.   5273 SNYDER DR SW                                                                           WYOMING             MI 49418‐9514
THOMPSON, RANDALL L    919 WESTON STREET                                                                           LANSING             MI 48917‐4175
THOMPSON, RANDOL C     280 NIKKI CT                                                                                CARLISLE            OH 45005‐4248
THOMPSON, RANDY M      8831 BUCHANAN HWY                                                                           DALLAS              GA 30157‐7802
THOMPSON, RAS          531 54TH STREET                                                                             LUBBOCK             TX 79404‐4441
THOMPSON, RAY          2502 GALAXY LN                                                                              INDIANAPOLIS        IN 46229‐1124
THOMPSON, RAY E        12748 HORAN ST                                                                              CARLETON            MI 48117‐9186
THOMPSON, RAYMOND      203 YORK ST                                                                                 BURLINGTON          NJ 08016‐1502
THOMPSON, RAYMOND      8608 DOLLHOUSE DR                                                                           LAS VEGAS           NV 89145‐4838
THOMPSON, RAYMOND
THOMPSON, RAYMOND B    3234 BEAR CREEK LN                                                                          LAKELAND           FL   33810‐2730
THOMPSON, RAYMOND E    7441 RIVER RD                                                                               COTTRELLVILLE      MI   48039‐2822
THOMPSON, RAYMOND F    341 WINN WAY                    APT 123                                                     DECATUR            GA   30030
THOMPSON, RAYMOND F    C/O BRIGHTON GARDENS BUCKHEAD   3088 LENOX RD NE APT 2                                      ATLANTA            GA   30324
THOMPSON, RAYMOND G    4251 SKELTON RD                                                                             COLUMBIAVILLE      MI   48421‐9753
THOMPSON, RAYMOND L    2043 FONTAINBLEAU DR                                                                        CONYERS            GA   30094‐4804
THOMPSON, RAYMOND L    16868 MILL RD                                                                               GEORGETOWN         IL   61846‐6006
THOMPSON, RAYMOND L    15803 KILLDEER CT                                                                           HUMBLE             TX   77396‐3835
THOMPSON, RAYMOND L    4100 ALPHA ST                                                                               LANSING            MI   48910‐0710
THOMPSON, RAYMOND L    2303 LARCHMONT AVE NE                                                                       WARREN             OH   44483‐2836
THOMPSON, RAYMOND W    1239 N INDIES CIR                                                                           VENICE             FL   34285‐6317
THOMPSON, REBA J       PO BOX 855                                                                                  FARWELL            MI   48622
THOMPSON, REBECCA      4985 W 700 N                                                                                LARWILL            IN   46764‐9736
THOMPSON, REBECCA D    3901 GREENFIELD BEND RD                                                                     WILLIAMSPORT       TN   38487‐2009
THOMPSON, REBECCA M    7815 GRANT LN                                                                               OVERLAND PARK      KS   66204‐2434
THOMPSON, REBECCA M    4985 W 700 N                                                                                LARWILL            IN   46764‐9736
THOMPSON, REBECCA M    3909 N 400 W                                                                                SHARPSVILLE        IN   46068‐9163
THOMPSON, REBECCA M    9071 FARLEY ST APT 501                                                                      OVERLAND PARK      KS   66204‐1195
THOMPSON, REED T       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                       STREET, SUITE 600
THOMPSON, REGINA       201 SCHOOL ST                                                                               LEXINGTON          AL   35648‐3629
THOMPSON, REGINA K     506 N SAGINAW ST                                                                            DURAND             MI   48429‐1241
THOMPSON, REGINA KAY   506 N SAGINAW ST                                                                            DURAND             MI   48429‐1241
THOMPSON, REITH        6363 GERMANTOWN RD                                                                          MIDDLETOWN         OH   45042‐5042
THOMPSON, RENA         931 COLONIAL DR                                                                             LIBERTY TOWNSHIP   OH   44505
THOMPSON, RENE C       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                       STREET, SUITE 600
THOMPSON, RENEE L      6145 STODDARD HAYES RD                                                                      FARMDALE           OH   44417
THOMPSON, RETHA J      PO BOX 3436                                                                                 WARREN             OH   44485‐0436
THOMPSON, REX V        3416 HIALEAH DR                                                                             ARLINGTON          TX   76017‐3402
THOMPSON, RHONDA L     15504 OMEGA TRL SE                                                                          PRIOR LAKE         MN   55372
THOMPSON, RICHARD      BROWN TERRELL HOGAN ELLIS       804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE       FL   32202
                       MCCLAMMA & YEGELWEL P.A.        BAY STREET
                           09-50026-mg            Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                Part 37 of 40 Pg 20 of 901
Name                       Address1                       Address2                      Address3   Address4         City               State Zip
THOMPSON, RICHARD          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                          STREET, SUITE 600
THOMPSON, RICHARD A        38480 MONMOUTH ST                                                                        WESTLAND           MI   48186‐3844
THOMPSON, RICHARD A        HC 69 BOX 63                                                                             MIDDLEBOURNE       WV   26149‐8823
THOMPSON, RICHARD A        4240 CHADSWYCK DR                                                                        JANESVILLE         WI   53546‐2141
THOMPSON, RICHARD B        G5111 W COLDWATER RD                                                                     FLINT              MI   48504
THOMPSON, RICHARD D        21260 STATE HIGHWAY 27                                                                   EASTMAN            WI   54626‐8773
THOMPSON, RICHARD D        617 S OAK AVE                                                                            BARTLESVILLE       OK   74003‐4448
THOMPSON, RICHARD D        6275 CREE CT                                                                             FLINT              MI   48506‐1173
THOMPSON, RICHARD D        4049 MUSSER RD                                                                           MANCELONA          MI   49659‐8632
THOMPSON, RICHARD D        PO BOX 323                                                                               NEW LEBANON        OH   45345‐0323
THOMPSON, RICHARD DELOYD   PO BOX 17174                                                                             LANSING            MI   48901‐7174
THOMPSON, RICHARD G        227 S BRUNELL ST                                                                         WAUSEON            OH   43567‐1359
THOMPSON, RICHARD H        4284 VALLEY SIDE CT NE                                                                   GRAND RAPIDS       MI   49525‐9689
THOMPSON, RICHARD H        830 COLERIDGE AVE NW 800BLK                                                              WARREN             OH   44483
THOMPSON, RICHARD J        11745 MILFORD RD                                                                         HOLLY              MI   48442‐8902
THOMPSON, RICHARD J        12136 OAK BROOKE                                                                         SHELBY TWP         MI   48315‐1775
THOMPSON, RICHARD J        5700 W LAYTON AVE RM 348‐2                                                               MILWAUKEE          WI   53220
THOMPSON, RICHARD L        12280 HAWKINS RD                                                                         BURT               MI   48417‐9654
THOMPSON, RICHARD L        7059 RICHARDSON RD                                                                       W BLOOMFIELD       MI   48323‐1166
THOMPSON, RICHARD L        309 RAILROAD ST                                                                          MONTGOMERY         MI   49255‐9800
THOMPSON, RICHARD L        PO BOX 177                                                                               LA FONTAINE        IN   46940‐0177
THOMPSON, RICHARD L        9248 WALTHAM ST                                                                          WHITE LAKE         MI   48386‐1580
THOMPSON, RICHARD L        6293 CAMPBELLSVILLE PIKE                                                                 CULLEOKA           TN   38451‐2447
THOMPSON, RICHARD L        1520 VIA TULIPAN                                                                         SAN CLEMENTE       CA   92673‐3715
THOMPSON, RICHARD L        7646 LITHOPOLIS RD                                                                       CANAL WINCHESTER   OH   43110‐9441
THOMPSON, RICHARD L        5 SAINT CHARLES PL                                                                       FLAGLER BEACH      FL   32136‐4905
THOMPSON, RICHARD L        800 INDIGO VLG                                                                           SOUTHPORT          NC   28461‐2958
THOMPSON, RICHARD L        BOONE ALEXANDRA                205 LINDA DR                                              DAINGERFIELD       TX   75638‐2107
THOMPSON, RICHARD L        70 ADMIRAL RD                                                                            BUFFALO            NY   14216‐2510
THOMPSON, RICHARD L        20245 ROWE ST                                                                            DETROIT            MI   48205‐1053
THOMPSON, RICHARD LEE      7646 LITHOPOLIS RD                                                                       CANAL WINCHESTER   OH   43110‐9441
THOMPSON, RICHARD R        846 ROBINHOOD CT                                                                         BLOOMFIELD         MI   48304‐3762
THOMPSON, RICHARD R        51 BELMONT AVE                                                                           BUFFALO            NY   14223‐1926
THOMPSON, RICHARD S        2309 TURNBERRY CT                                                                        BELOIT             WI   53511‐7020
THOMPSON, RICHARD T        120 DEL REY DR                                                                           JACKSON            MS   39212‐2301
THOMPSON, RICHARD T        8324 VALLEY RD                                                                           LEVERING           MI   49755‐9728
THOMPSON, RICHARD V        12561 GARDNER HOLLOW RD                                                                  LESTER             AL   35647‐3321
THOMPSON, RICHARD W        2869 RIDGE ROAD                                                                          HARRISON           MI   48625‐9238
THOMPSON, RICHARD W        1937 THETA PIKE                                                                          COLUMBIA           TN   38401‐1370
THOMPSON, RICHARD W.       1937 THETA PIKE                                                                          COLUMBIA           TN   38401‐1370
THOMPSON, RICK             FRASIER FRASIER & HICKMAN      2038 WEST PARK AVENUE 1700                                TULSA              OK   74101‐0799
                                                          SOUTHWEST BOULEVARD
THOMPSON, RICKY G          PO BOX 2011                                                                              ANDERSON           IN   46018‐2011
THOMPSON, RICKY G          3474 LYNN DR                                                                             FRANKLIN           OH   45005‐4827
THOMPSON, RILEY            1711 W JOLLY RD                                                                          LANSING            MI   48910‐5173
THOMPSON, RISA G           363 HERITAGE AVE                                                                         BOWLING GREEN      KY   42104‐0329
THOMPSON, RISA GAYLE       363 HERITAGE AVE                                                                         BOWLING GREEN      KY   42104‐0329
THOMPSON, RITA G           368 COUNTY ROAD 4353                                                                     TENAHA             TX   75974‐6872
THOMPSON, RITA S           896 GREENWOOD LN                                                                         GAYLORD            MI   49735‐8988
THOMPSON, RITA V           1422 W COURT ST                FAMILY SERVICE AGENCY                                     FLINT              MI   48503‐5008
THOMPSON, ROANNA V         2607 CIRCLE DR                                                                           FLINT              MI   48507‐1807
                           09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                 Part 37 of 40 Pg 21 of 901
Name                       Address1                         Address2                         Address3   Address4         City                  State Zip
THOMPSON, ROBBIE G         665 HICKORY DRIVE                                                                             INDEPENDENCE           KY 41051
THOMPSON, ROBERT           1199 S ERIE ST                                                                                DE PERE                WI 54115‐3111
THOMPSON, ROBERT           6114 RAINTREE DR 106                                                                          ORLANDO                FL 32822
THOMPSON, ROBERT           PORTER & MALOUF PA               4670 MCWILLIE DR                                             JACKSON                MS 39206‐5621
THOMPSON, ROBERT           4212 WEST AVE                                                                                 ELBA                   NY 14058‐9769
THOMPSON, ROBERT           64 W WARREN ST                                                                                ISELIN                 NJ 08830‐1158
THOMPSON, ROBERT           6046 CREEKBEND BLVD                                                                           INDIANAPOLIS           IN 46217‐2721
THOMPSON, ROBERT A         76 DAPPLED DR                                                                                 EAST AMHERST           NY 14051‐1420
THOMPSON, ROBERT A         12211 STONEHENGE DR                                                                           FREDERICKSBURG         VA 22407‐7378
THOMPSON, ROBERT A         304 MOSS LN                                                                                   FRANKLIN               TN 37064‐5245
THOMPSON, ROBERT A         18000 STATION ROAD                                                                            COLUMBIA STA           OH 44028‐8726
THOMPSON, ROBERT A         6305 BOGART RD W                                                                              CASTALIA               OH 44824‐9713
THOMPSON, ROBERT A         5 WORDSWORTH DR                                                                               WILMINGTON             DE 19808‐2338
THOMPSON, ROBERT B         5521 DAYWALT AVE                                                                              BALTIMORE              MD 21206‐4406
THOMPSON, ROBERT B         51728 JULIES DR                                                                               CHESTERFIELD           MI 48047‐3036
THOMPSON, ROBERT B         506 N SAGINAW ST                                                                              DURAND                 MI 48429‐1241
THOMPSON, ROBERT BERNARD   506 N SAGINAW ST                                                                              DURAND                 MI 48429‐1241
THOMPSON, ROBERT C         1450 63RD ST                                                                                  LA GRANGE HIGHLANDS     IL 60525‐4525
THOMPSON, ROBERT C         49665 29 1/2 ST                                                                               PAW PAW                MI 49079‐8027
THOMPSON, ROBERT C         82 FURMAN BLVD                                                                                KEYPORT                NJ 07735‐6004
THOMPSON, ROBERT D         2967 TATHAM RD                                                                                SAGINAW                MI 48601‐7071
THOMPSON, ROBERT D         27320 PROVIDENT RD                                                                            AGOURA                 CA 91301‐3624
THOMPSON, ROBERT D         132 MASTERS RD                                                                                HIXSON                 TN 37343‐3014
THOMPSON, ROBERT D         327 W PARK AVE                                                                                HUBBARD                OH 44425‐1529
THOMPSON, ROBERT E         17604 E KIRKWOOD DR                                                                           CLINTON TWP            MI 48038‐1209
THOMPSON, ROBERT E         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK                VA 23510‐2212
                                                            STREET, SUITE 600
THOMPSON, ROBERT E         PO BOX 145                                                                                    WADDINGTON            NY    13694‐0145
THOMPSON, ROBERT E         8760 KIMBLEWICK LANE NORTHEAST                                                                WARREN                OH    44484‐2080
THOMPSON, ROBERT E         2622 AALLISTER CIRCLE                                                                         MIAMISBURG            OH    45342‐5856
THOMPSON, ROBERT E         504 N C ST                                                                                    LAKE WORTH            FL    33460‐2828
THOMPSON, ROBERT E         2139 CASHIN ST                                                                                BURTON                MI    48509‐1139
THOMPSON, ROBERT E         2622 ALLISTER CIR                                                                             MIAMISBURG            OH    45342‐5856
THOMPSON, ROBERT E         819 E MULBERRY ST                                                                             KOKOMO                IN    46901‐4720
THOMPSON, ROBERT EDWARD    PO BOX 145                                                                                    WADDINGTON            NY    13694‐0145
THOMPSON, ROBERT F         10265 ULMERTON RD LOT 88                                                                      LARGO                 FL    33771‐4112
THOMPSON, ROBERT F         2757 OWENS DR UNIT 3‐9                                                                        HOUGHTON LAKE         MI    48629‐9046
THOMPSON, ROBERT F         38139 SQUAW VALLEY RD                                                                         SQUAW VALLEY          CA    93675‐9346
THOMPSON, ROBERT F         211 S BROOME ST                                                                               WAXHAW                NC    28173
THOMPSON, ROBERT G         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK               VA    23510
                                                            STREET, SUITE 600
THOMPSON, ROBERT G         6511 CREST DR                                                                                 WATERFORD             MI    48329‐2904
THOMPSON, ROBERT G         4320 JENKS HWY                                                                                EATON RAPIDS          MI    48827‐9022
THOMPSON, ROBERT G         1317 MARC AVE                                                                                 CLAWSON               MI    48017‐1265
THOMPSON, ROBERT G         4091 E HILL RD                                                                                GRAND BLANC           MI    48439‐7943
THOMPSON, ROBERT G         5302 GRAND CYPRESS CIR APT 101                                                                NAPLES                FL    34109‐5920
THOMPSON, ROBERT GLENN     COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                               CHICAGO               IL    60602
                                                            FLOOR
THOMPSON, ROBERT H         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK               VA 23510
                                                            STREET, SUITE 600
THOMPSON, ROBERT H         347 SHADOW HILL DR                                                                            GREENWOOD              IN   46142‐8451
THOMPSON, ROBERT J         4313 N ROSEWOOD AVE                                                                           MUNCIE                 IN   47304‐1578
                         09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                               Part 37 of 40 Pg 22 of 901
Name                     Address1                        Address2                       Address3   Address4         City           State Zip
THOMPSON, ROBERT J       2050 PALISADES DR                                                                          ORTONVILLE      MI 48462‐8513
THOMPSON, ROBERT J       2415 OAK SHADOW CT                                                                         ARLINGTON       TX 76017‐1622
THOMPSON, ROBERT J       4080 W FORREST PARK DR                                                                     BLOOMINGTON     IN 47404‐9523
THOMPSON, ROBERT J       204 WILDEL AVE                                                                             NEW CASTLE      DE 19720‐1362
THOMPSON, ROBERT J       1376 LEISURE DR                                                                            FLINT           MI 48507‐4055
THOMPSON, ROBERT J       4111 S QUANICASSEE RD R#1                                                                  FAIRGROVE       MI 48733
THOMPSON, ROBERT J       5250 PARKS RD                                                                              CUMMING         GA 30041‐8873
THOMPSON, ROBERT JAMES   1376 LEISURE DR                                                                            FLINT           MI 48507‐4055
THOMPSON, ROBERT L       1416 E WAID AVE                                                                            MUNCIE          IN 47303‐2371
THOMPSON, ROBERT L       2852 WOLCOTT ST                                                                            FLINT           MI 48504‐7514
THOMPSON, ROBERT L       720 CANDLEWOOD DR                                                                          PENDLETON       IN 46064‐9373
THOMPSON, ROBERT L       4444 FORDSBROOK RD N. BR                                                                   WELLSVILLE      NY 14895
THOMPSON, ROBERT L       1796 WHITE OAK LN                                                                          MARTINSVILLE    IN 46151‐8706
THOMPSON, ROBERT L       4313 N ROSEWOOD AVE                                                                        MUNCIE          IN 47304‐1578
THOMPSON, ROBERT L       6788 E 800 S                                                                               LA FONTAINE     IN 46940‐9165
THOMPSON, ROBERT L       38 JAMES STREET                                                                            WESTMINSTER     MD 21157‐4808
THOMPSON, ROBERT L       1273 SHOREVIEW DR                                                                          LIMA            OH 45805‐3682
THOMPSON, ROBERT L       38158 COLLINS CT                                                                           OCEAN VIEW      DE 19970‐4151
THOMPSON, ROBERT LEE     38 JAMES STREET                                                                            WESTMINSTER     MD 21157‐4808
THOMPSON, ROBERT LOUIS   1416 E WAID AVE                                                                            MUNCIE          IN 47303‐2371
THOMPSON, ROBERT M       23758 N PARK DR                                                                            NEW BOSTON      MI 48164‐7814
THOMPSON, ROBERT O       709 SCOVIA AVE                                                                             ONTONAGON       MI 49953‐1245
THOMPSON, ROBERT P       207 ROMADOOR ST                                                                            EATON           OH 45320‐1043
THOMPSON, ROBERT P       207 ROMADOOR AVE                                                                           EATON           OH 45320‐1043
THOMPSON, ROBERT P       534 HARDING ST                                                                             JANESVILLE      WI 53545‐2428
THOMPSON, ROBERT R       195 JOEL CT                                                                                INKSTER         MI 48141‐1265
THOMPSON, ROBERT S       14977 TIARA AVE                                                                            MONROE          MI 48161‐8905
THOMPSON, ROBERT W       7227 MOELLER RD LOT 194                                                                    FORT WAYNE      IN 46806‐5701
THOMPSON, ROBERTA A      6028 LIBERTY FAIRFIELD RD                                                                  LIBERTY TWP     OH 45011‐7128
THOMPSON, ROBERTA C      28566 WOODLAND PL                                                                          PERRYSBURG      OH 43551‐3680
THOMPSON, ROBERTA M      N82W22634 SUSAN PLACE                                                                      SUSSEX          WI 53089‐1751
THOMPSON, ROBIN P        KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND       OH 44114
                                                         BOND COURT BUILDING
THOMPSON, RODGER D       4611 BLOOD RD                                                                              METAMORA       MI   48455‐9776
THOMPSON, RODGER E       PO BOX 74741                                                                               ROMULUS        MI   48174‐0741
THOMPSON, RODNEY A       25933 S LOHMAN RD                                                                          WRIGHT CITY    MO   63390‐5373
THOMPSON, RODNEY O       4071 OLD RIVERSIDE DR                                                                      DAYTON         OH   45405‐2329
THOMPSON, ROGER A        3847 BEDFORD POINTE DR                                                                     WENTZVILLE     MO   63385‐2962
THOMPSON, ROGER D        1051 S DAYTON ST                                                                           DAVISON        MI   48423‐1734
THOMPSON, ROGER F        12092 GREENVIEW CT                                                                         GRAND BLANC    MI   48439‐1705
THOMPSON, ROGER G        11965 DANFORTH DR                                                                          STERLING HTS   MI   48312‐2130
THOMPSON, ROGER L        233 VINEYARD DR                                                                            ROCHESTER      NY   14616‐2009
THOMPSON, ROGER L        10034 STATE ROUTE 82                                                                       WINDHAM        OH   44288‐9535
THOMPSON, RONALD         720 PARKER RD                                                                              AURORA         OH   44202‐7722
THOMPSON, RONALD         412 THOMPSON WEIMAN RD                                                                     SPARTA         TN   38583‐2118
THOMPSON, RONALD         5652 FOXCROSS CT                                                                           FORT WAYNE     IN   46835‐2802
THOMPSON, RONALD         22855 ESSEX WAY ST APT 521                                                                 SOUTHFIELD     MI   48033‐3342
THOMPSON, RONALD A       14256 BRAMELL ST                                                                           DETROIT        MI   48223‐2527
THOMPSON, RONALD C       423 LARCH ST                                                                               SAGINAW        MI   48602‐1858
THOMPSON, RONALD D       6196 COLD SPRING TRL                                                                       GRAND BLANC    MI   48439‐7918
THOMPSON, RONALD D       20 S LINDEN RD APT 112                                                                     MANSFIELD      OH   44906‐3055
THOMPSON, RONALD E       1619 W TEMPERANCE RD                                                                       TEMPERANCE     MI   48182‐9470
                          09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                Part 37 of 40 Pg 23 of 901
Name                      Address1                        Address2                   Address3    Address4         City               State Zip
THOMPSON, RONALD E        34 N ESPLANADE ST                                                                       ENGLEWOOD           FL 34223‐2166
THOMPSON, RONALD E        3015 SHANNON AVE                                                                        YOUNGSTOWN          OH 44505‐4573
THOMPSON, RONALD E        R1 BOX 1251                                                                             WHEATLAND           MO 65779
THOMPSON, RONALD EUGENE   1619 W TEMPERANCE RD                                                                    TEMPERANCE          MI 48182‐9470
THOMPSON, RONALD J        5756 FOXFIRE LN                                                                         BROWNSBURG          IN 46112‐8765
THOMPSON, RONALD L        795 ALBERTA ST                                                                          AUBURN HILLS        MI 48326‐1117
THOMPSON, RONALD L        4030 KINCAID RD. E.                                                                     WARREN              OH 44481
THOMPSON, RONALD L        608 S PARKRIDGE DR                                                                      MANSFIELD           TX 76063‐3217
THOMPSON, RONALD LEE      608 S PARKRIDGE DR                                                                      MANSFIELD           TX 76063‐3217
THOMPSON, RONALD M        48219 PHEASANT ST                                                                       CHESTERFIELD        MI 48047‐2245
THOMPSON, RONALD R        710 N BAZIL AVE                                                                         INDIANAPOLIS        IN 46219‐5514
THOMPSON, RONALD R        558 S SECOND ST                                                                         UPLAND              IN 46989‐9403
THOMPSON, RONALD R        2605 ROCKY CREEK DR                                                                     MANSFIELD           TX 76063‐4053
THOMPSON, RONALD W        PO BOX 406                                                                              MILLSTON            WI 54643‐0406
THOMPSON, RONALD W        12410 GREEN RD                                                                          GOODRICH            MI 48438‐9057
THOMPSON, RONNIE E        6776 GRENVILLE RD                                                                       TEMPERANCE          MI 48182‐1272
THOMPSON, RONNIE L        1040 PRIMROSE DR                                                                        W CARROLLTON        OH 45449‐2029
THOMPSON, ROOSEVELT       VARAS & MORGAN                  PO BOX 886                                              HAZLEHURST          MS 39083‐0886
THOMPSON, ROSA D          532 CANTERBURY LN                                                                       BOSSIER CITY        LA 71111‐8153
THOMPSON, ROSA DIANE      532 CANTERBURY LN                                                                       BOSSIER CITY        LA 71111‐8153
THOMPSON, ROSA E          2901 NEELEY ST                                                                          BATESVILLE          AR 72501
THOMPSON, ROSALIE         1775 WHITEHALL FOREST CT SE                                                             ATLANTA             GA 30316‐4843
THOMPSON, ROSALYN         9970 MONTROSE ST                                                                        DETROIT             MI 48227‐1630
THOMPSON, ROSE            5819 W HILLS RD                                                                         FORT WAYNE          IN 46804‐6357
THOMPSON, ROSE
THOMPSON, ROSE M          6117 MAUD HUGHES RD                                                                     LIBERTY TOWNSHIP   OH   45044‐9752
THOMPSON, ROSS E          4226 REITER RD                                                                          EAST AURORA        NY   14052‐9545
THOMPSON, ROY             GAVIN WILLIAM P                 23 PUBLIC SQ STE 415                                    BELLEVILLE         IL   62220‐1627
THOMPSON, ROY             14508 E BERKSHIRE DR                                                                    INDEPENDENCE       MO   64055‐4914
THOMPSON, ROY C           5073 W DODGE RD                                                                         CLIO               MI   48420‐8503
THOMPSON, ROY G           BOONE ALEXANDRA                 205 LINDA DR                                            DAINGERFIELD       TX   75638‐2107
THOMPSON, ROY J           22450 FONTANA ST                                                                        TEHACHAPI          CA   93561‐8248
THOMPSON, ROY L           8303 FOUR WORLDS DR APT 8                                                               CINCINNATI         OH   45231‐5628
THOMPSON, ROY L           3811 EAST ST                                                                            SAGINAW            MI   48601‐5125
THOMPSON, RUBEN           BOONE ALEXANDRA                 205 LINDA DR                                            DAINGERFIELD       TX   75638‐2107
THOMPSON, RUBY H          433 SPRINGVIEW ST SW                                                                    DECATUR            AL   35601‐7341
THOMPSON, RUDOLPH         2930 YULE TREE DR                                                                       EDGEWATER          FL   32141‐5524
THOMPSON, RUDOLPH F       638 W PALM DR                                                                           GLENWOOD           IL   60425‐1119
THOMPSON, RUSSELL         7006 S CHANDLER RD                                                                      SAINT JOHNS        MI   48879‐9132
THOMPSON, RUSSELL         GOLDENBERG, MILLER, HELLER &    PO BOX 959                                              EDWARDSVILLE       IL   62025‐0959
                          ANTOGNOLI
THOMPSON, RUSSELL         756 MASTERPIECE RD                                                                      LAKE WALES         FL   33898‐7645
THOMPSON, RUSSELL H       4747 S IVA RD                                                                           MERRILL            MI   48637‐9782
THOMPSON, RUSSELL M       PO BOX 166                                                                              GREEN CAMP         OH   43322‐0166
THOMPSON, RUTH            4390 COUNTY FARM RD                                                                     SAINT JOHNS        MI   48879
THOMPSON, RUTH C          7351 PENNY LN                                                                           SAINT HELEN        MI   48656‐9698
THOMPSON, RUTH C          7351 PENNY LANE                                                                         SAINT HELEN        MI   48656‐9698
THOMPSON, RUTH D          508 BELLERIVE BLVD                                                                      SAINT LOUIS        MO   63111‐2152
THOMPSON, RUTH D          508 BELLERIVE                                                                           ST LOUIS           MO   63111‐2152
THOMPSON, RUTH E          APT 3                           813 EAST MARLETTE AVENUE                                PHOENIX            AZ   85014‐1507
THOMPSON, RUTH G          4317 TUCKER RD                                                                          LUCAS              OH   44843‐9748
THOMPSON, RUTH M          12421 W 100 N                                                                           KOKOMO             IN   46901‐8667
                        09-50026-mg            Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                             Part 37 of 40 Pg 24 of 901
Name                    Address1                       Address2                Address3       Address4         City                 State Zip
THOMPSON, RUTH V        2685 PACES LANDING DR NW                                                               CONYERS               GA 30012‐2905
THOMPSON, RYAN J        966 CONTINENTAL CT APT 6                                                               VANDALIA              OH 45377‐1249
THOMPSON, SAMUEL A      8714 OTTER COVE CIR                                                                    INDIANAPOLIS          IN 46236‐9019
THOMPSON, SAMUEL L      17889 WOODS DR                                                                         BOONVILLE             MO 65233‐2714
THOMPSON, SANDRA        304 5TH AVE                                                                            COLUMBIA              TN 38401
THOMPSON, SANDRA
THOMPSON, SANDRA K.     3529 HELENE CT                                                                         TOLEDO               OH   43623‐1859
THOMPSON, SANDRA L      2013 FOXMEADOW DR                                                                      ROYERSFORD           PA   19468‐1568
THOMPSON, SANDRA L.     PO BOX 1026                                                                            GOLD HILL            OR   97525‐1026
THOMPSON, SANDRA M      6844 E FLOSSMOOR AVE                                                                   MESA                 AZ   85208‐2614
THOMPSON, SANDRA S      1145 PAIGE AVE NE                                                                      WARREN               OH   44483‐3837
THOMPSON, SANDRA S      3920 W STATE ROAD 128                                                                  FRANKTON             IN   46044
THOMPSON, SARAH E       1367 MAGNOLIA DR                                                                       INKSTER              MI   48141‐1735
THOMPSON, SCOTT         12400 SMITH GOSHEN RD                                                                  BELOIT               OH   44609‐9737
THOMPSON, SCOTT         908 GLENWOOD CT                                                                        CRANBERRY TOWNSHIP   PA   16066‐6728
THOMPSON, SCOTT A       2477 S STATE RD                                                                        DAVISON              MI   48423‐8610
THOMPSON, SCOTT A       924 MEYERS ST                                                                          FREELAND             MI   48623‐9070
THOMPSON, SCOTT J       704 S CASS LAKE RD                                                                     WATERFORD            MI   48328‐4117
THOMPSON, SCOTT M       21536 CHANCELLOR RD                                                                    ELKHORN              NE   68022‐4678
THOMPSON, SEDORA        21350 KENOSHA                                                                          OAK PARK             MI   48237‐2746
THOMPSON, SEDORA        21350 KENOSHA ST                                                                       OAK PARK             MI   48237‐2746
THOMPSON, SELMA M       236 CRYSTAL LAKE DR                                                                    PONTIAC              MI   48341‐2407
THOMPSON, SHANNON L     PO BOX 841                                                                             ROOSEVELTOWN         NY   13683‐0841
THOMPSON, SHANNON M     9321 HOWLAND SPRINGS RD SE R                                                           WARREN               OH   44484
THOMPSON, SHARON        2053 CEDAR CIRCLE                                                                      CLIO                 MI   48421
THOMPSON, SHARON D      3196 E CLEM RD                                                                         ANDERSON             IN   46017‐9771
THOMPSON, SHARON D      609 NORTH ST                                                                           ROCHESTER            NY   14605‐2229
THOMPSON, SHARON L      9430 CLIFFMONT DR                                                                      MANCELONA            MI   49659‐8401
THOMPSON, SHAWN K       17240 BENTLER ST                                                                       DETROIT              MI   48219‐4746
THOMPSON, SHAWN KEITH   17240 BENTLER ST                                                                       DETROIT              MI   48219‐4746
THOMPSON, SHAWNA        LEAVITT YAMANE & SOLDNER       735 BISHOP ST STE 433                                   HONOLULU             HI   96813‐4820
THOMPSON, SHEILA        4090 N CHAMBERS RD                                                                     OSCODA               MI   48750‐9029
THOMPSON, SHEILA        2355 CAMDEN TER                                                                        THE VILLAGES         FL   32162‐2036
THOMPSON, SHEILA        4090 CHAMBERS RD                                                                       OSCODA               MI   48750‐9029
THOMPSON, SHEILA R      1424 E VW AVE APT 7B                                                                   VICKSBURG            MI   49097‐9440
THOMPSON, SHEILA R      22460 KLINES RESORT RD #159                                                            THREE RIVERS         MI   49093‐8616
THOMPSON, SHEILA S      4030 KINCAID RD.                                                                       WARREN               OH   44481
THOMPSON, SHELDON
THOMPSON, SHELLY L      5703 FIVE LAKES RD                                                                     NORTH BRANCH         MI   48461‐9601
THOMPSON, SHERMAN       16375 WOODWARD AVE APT 37                                                              HIGHLAND PARK        MI   48203
THOMPSON, SHERMAN W     4976 WESCOTT BLVD APT 913                                                              SUMMERVILLE          SC   29485‐9027
THOMPSON, SHERONICA L   7475 VINTAGE LN                                                                        W BLOOMFIELD         MI   48322‐2857
THOMPSON, SHERONICA L   7476 VINTAGE LN                                                                        W BLOOMFIELD         MI   48322‐2857
THOMPSON, SHERRI L      12490 QUIVIRA RD APT 2227                                                              OVERLAND PARK        KS   66213‐2416
THOMPSON, SHERRI LYNN   12490 QUIVIRA RD APT 2227                                                              OVERLAND PARK        KS   66213‐2416
THOMPSON, SHERRIE       540 GRAND RIVER RD                                                                     BANCROFT             MI   48414‐9493
THOMPSON, SHIRLEY       38 PINDO PALM ST E                                                                     LARGO                FL   33770‐7415
THOMPSON, SHIRLEY       8401 E 18 MILE RD L‐232                                                                STERLING HEIGHTS     MI   48313
THOMPSON, SHIRLEY A     6361 E COUNTY ROAD 600 S                                                               PLAINFIELD           IN   46168‐8644
THOMPSON, SHIRLEY A     9110 ARBELA RD                                                                         MILLINGTON           MI   48746‐9576
THOMPSON, SHIRLEY A     624 SOUTH GRAND TRAVERSE                                                               FLINT                MI   48502‐1230
THOMPSON, SHIRLEY J     1098 LORENE ST                                                                         MT MORRIS            MI   48458‐2136
                           09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                   Part 37 of 40 Pg 25 of 901
Name                       Address1                          Address2                      Address3   Address4         City            State Zip
THOMPSON, SHIRLEY J        327 HARTWELL                                                                                ALBION           MI 49224‐1112
THOMPSON, SHIRLEY J        212 39TH CT                                                                                 MERIDIAN         MS 39301‐1331
THOMPSON, SHIRLEY J        1159 WOODLAND DR                                                                            INKSTER          MI 48141‐1739
THOMPSON, SHIRLEY J        327 HARTWELL ST                                                                             ALBION           MI 49224‐1112
THOMPSON, SHIRLEY J        1098 LORENE AVE                                                                             MOUNT MORRIS     MI 48458‐2136
THOMPSON, SHIRLEY L        2502 S LAKESHORE DR                                                                         BROWNS MILLS     NJ 08015‐4339
THOMPSON, SHIRLEY T        262 E SECOND STREET                                                                         GERARD           OH 44420‐2711
THOMPSON, SHIRLEY T        262 E 2ND ST                                                                                GIRARD           OH 44420‐2711
THOMPSON, SIBYL B          30 SUTTON PL                                                                                SOCIAL CIRCLE    GA 30025‐4936
THOMPSON, SIDNEY W         1523 ROSWELL RD APT 516                                                                     MARIETTA         GA 30062‐9000
THOMPSON, SIMONE A         1469 SAND PIPER DR                                                                          GRAND BLANC      MI 48439‐7247
THOMPSON, SR.,CLARENCE E   1029 SINCLAIR ST                                                                            HAZLEHURST       MS 39083‐8966
THOMPSON, STACY E          7777 SHERRY LN                                                                              BROWNSBURG       IN 46112‐8418
THOMPSON, STANLEY A        465 DOUGLAS ST                                                                              JANESVILLE       WI 53545‐4209
THOMPSON, STANLEY B        23352 LEXINGTON AVE                                                                         EAST DETROIT     MI 48021‐1968
THOMPSON, STANLEY B        516 WILSON ST NW                                                                            DECATUR          AL 35601‐1260
THOMPSON, STANLEY D        104 EASY LIVING LN                                                                          DOWNSVILLE       LA 71234‐3018
THOMPSON, STANLEY R        13202 WINDING VINE RUN                                                                      FORT WAYNE       IN 46845‐8711
THOMPSON, STANLEY W        1071 ROYALCREST DR                                                                          FLINT            MI 48532‐3244
THOMPSON, STEPHANIE        15700 SAN JOSE ST                                                                           GRANADA HILLS    CA 91344‐7237
THOMPSON, STEPHANIE D      55 1/2 BROADWAY STREET                                                                      SHELBY           OH 44875‐1230
THOMPSON, STEPHEN B        2818 RIVER BIRCH DR                                                                         SUGAR LAND       TX 77479‐1520
THOMPSON, STEPHEN C        1977 HIGHWAY 546                                                                            WEST MONROE      LA 71292‐0280
THOMPSON, STEPHEN E        22350 HOWARD STREET                                                                         ATHENS           AL 35613‐3802
THOMPSON, STEPHEN K        1711 E 900 S                                                                                FAIRMOUNT        IN 46928‐9200
THOMPSON, STEVE            2119 SHAWNEE DRIVE                                                                          DEFIANCE         OH 43512‐3332
THOMPSON, STEVE J          2602 LULLWATER RD                                                                           TIFTON           GA 31794‐1631
THOMPSON, STEVEN H         5675 CORWIN LN                                                                              RIVERSIDE        CA 92503‐2509
THOMPSON, STEVEN J         1402 RAYBELL DR                                                                             XENIA            OH 45385
THOMPSON, STEVEN J         130 GRANBERRY WAY                                                                           MADISON          MS 39110‐8534
THOMPSON, STEVEN R         1105 SE KINGSCROSS RD                                                                       BLUE SPRINGS     MO 64014‐3652
THOMPSON, STEVEN R         553 CHERRY CREEK LN                                                                         CHINO VALLEY     AZ 86323‐7475
THOMPSON, STEVEN W         45260 BYRNE DR                                                                              NORTHVILLE       MI 48167‐2800
THOMPSON, SUE L            1815 DOUGLAS RD                                                                             LANCASTER        SC 29720‐8423
THOMPSON, SUSAN C          682 STATE RD NW                                                                             WARREN           OH 44483‐1630
THOMPSON, SUSAN G          1323 W STATE ST                                                                             JANESVILLE       WI 53546‐5340
THOMPSON, SUSAN J          4980 ALHAMBRA CT                                                                            DAYTON           OH 45416‐1102
THOMPSON, SUSAN L          2643 COUNTY LINE RD                                                                         MEDINA           NY 14103‐9443
THOMPSON, SUSIE B          3866 GARLAND ST                                                                             DETROIT          MI 48214‐1593
THOMPSON, SUSIE B          3866 GARLAND                                                                                DETROIT          MI 48214‐1593
THOMPSON, SUZANNE M        4550 MAST RD                                                                                DEXTER           MI 48130‐9300
THOMPSON, SYLVIA O         3847 BEDFORD POINTE DR                                                                      WENTZVILLE       MO 63385‐2962
THOMPSON, SYLVIA R         3428 RIDGE AVE                                                                              MACON            GA 31204‐1861
THOMPSON, SYRENTHIA V      PO BOX 24222                                                                                JACKSON          MS 39225‐4222
THOMPSON, SYVILLA J        1605 KNAPP AVE                                                                              FLINT            MI 48503‐3424
THOMPSON, T J              PO BOX 1075                                                                                 FLINT            MI 48501‐1075
THOMPSON, TABETHA J        PO BOX 672                                                                                  MARTINSBURG      WV 25402
THOMPSON, TAE B            1038 S WABASH AVE                                                                           KOKOMO           IN 46902‐6249
THOMPSON, TALMADGE R       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                             STREET, SUITE 600
THOMPSON, TANIKA L         2467 THORNTON DR                                                                            DAYTON          OH 45406‐1242
THOMPSON, TANISHA R        507 RYDER RD APT 717                                                                        LANSING         MI 48917‐1059
                            09-50026-mg            Doc 7123-39       Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                    Part 37 of 40 Pg 26 of 901
Name                        Address1                         Address2                     Address3         Address4         City                State Zip
THOMPSON, TANYA D           8360 SHERWOOD DR                                                                                GRAND BLANC          MI 48439‐8391
THOMPSON, TAUSCA L          4127 COLBY AVE                                                                                  COLUMBUS             OH 43227‐2052
THOMPSON, TED S             10607 MEDINAH DRIVE                                                                             INDIANAPOLIS         IN 46234‐3228
THOMPSON, TED W             23701 KOTHS ST                                                                                  TAYLOR               MI 48180‐3454
THOMPSON, TEDDY             3291 COOKTON GRANGE RD                                                                          MANSFIELD            OH 44903‐8936
THOMPSON, TEDDYE L          200 E 14TH ST                                                                                   BENTON               KY 42025‐1538
THOMPSON, TERISA J          6995 LAKE BLUFF DR NE                                                                           COMSTOCK PARK        MI 49321‐8273
THOMPSON, TERRANCE C        4980 ALHAMBRA CT                                                                                DAYTON               OH 45416‐1102
THOMPSON, TERRESA J         115 WALNUT ST                                                                                   EDGERTON             WI 53534‐9398
THOMPSON, TERRY             HEARD ROBINS CLOUD LUBEL &       500 DALLAS ST STE 3100                                         HOUSTON              TX 77002‐4711
                            GREENWOOD LLP
THOMPSON, TERRY             OBRIEN LAW FIRM                  1 METROPOLITAN SQ STE 1500                                     SAINT LOUIS         MO   63102‐2799
THOMPSON, TERRY             JACOBS & CRUMPLAR P.A.           PO BOX 1271                  2 EAST 7TH ST,                    WILMINGTON          DE   19899‐1271
THOMPSON, TERRY A           PO BOX 9022                      C/O ADAM OPEL IPC R2‐08                                        WARREN              MI   48090‐9022
THOMPSON, TERRY K           434 BIGHORN CT                                                                                  HANCOCK             WI   54943‐9535
THOMPSON, TERRY L           1411 SHARON ST                                                                                  JANESVILLE          WI   53545‐4930
THOMPSON, THELMA            19300 CHAREST ST                                                                                DETROIT             MI   48234‐1646
THOMPSON, THELMA            19300 CHAREST                                                                                   DETROIT             MI   48234‐1646
THOMPSON, THELMA L          1352 BRIAR ROSE DR APT 5                                                                        MOUNT MORRIS        MI   48458
THOMPSON, THEODORE A        15 TOWNSHIP RD                   1483                                                           CHESAPEAKE          OH   45619
THOMPSON, THEODORE C        3590 HARTWOOD RD                                                                                CLEVELAND HEIGHTS   OH   44121‐1431
THOMPSON, THERESA           163 FALSTAFF RD                                                                                 ROCHESTER           NY   14609‐5538
THOMPSON, THERESA D         PO BOX 2291                                                                                     DANVILLE            VA   24541
THOMPSON, THERON L          3727 WENDY WAY                                                                                  SANTA MARIA         CA   93455‐3040
THOMPSON, THOMAS E          12384 SEYMOUR RD                                                                                MONTROSE            MI   48457‐9731
THOMPSON, THOMAS E          1249 E. CHOCTAW DR.                                                                             LONDON              OH   43140‐8726
THOMPSON, THOMAS E          5263 N KENMORE RD                                                                               INDIANAPOLIS        IN   46226‐1658
THOMPSON, THOMAS E.         18 BROOKWOOD LN                                                                                 PONTIAC             MI   48340‐1402
THOMPSON, THOMAS FRANKLIN   2345 WEST 157TH STREET                                                                          HARVEY              IL   60426‐4120
THOMPSON, THOMAS G          1031 SIESTA ST                                                                                  GLADWIN             MI   48624‐8374
THOMPSON, THOMAS H          10275 UPPER MOGRAIN RD                                                                          CHEBOYGAN           MI   49721‐9509
THOMPSON, THOMAS J          9 MEREDITH RD                                                                                   TRENTON             NJ   08610‐4121
THOMPSON, THOMAS J          4865 E LAKE RD                                                                                  BURT                NY   14028‐9760
THOMPSON, THOMAS JR         KELLER FISHBACK LLP              18425 BURBANK BLVD STE 610                                     TARZANA             CA   91356‐6918
THOMPSON, THOMAS K          447 SPRUCE ST                                                                                   MOUNT MORRIS        MI   48458‐1938
THOMPSON, THOMAS L          PO BOX 90716                                                                                    BURTON              MI   48509‐0716
THOMPSON, THOMAS L          10969 NORTH PUGH STREET                                                                         ALEXANDRIA          IN   46001‐9005
THOMPSON, THOMAS L          22396 PAUL DR                                                                                   BROOKSVILLE         FL   34601‐7082
THOMPSON, THOMAS L          686 CHICAGO DR                                                                                  HOWELL              MI   48843‐1728
THOMPSON, THOMAS M          2629 SOUTH ST SE APT D                                                                          WARREN              OH   44483‐6250
THOMPSON, THOMAS M          10278 WHITNALL EDGE CRL,UT.103                                                                  FRANKLIN            WI   53132
THOMPSON, THOMAS N          1711 S CHATHAM ST                                                                               JANESVILLE          WI   53546‐5823
THOMPSON, THOMAS P          787 S 10TH AVE                                                                                  BRIGHTON            CO   80601‐3236
THOMPSON, THOMAS S          135 SPICER CREEK RUN                                                                            GRAND ISLAND        NY   14072‐2188
THOMPSON, THOMAS T          4001 RADTKA DR SW                                                                               WARREN              OH   44481‐9207
THOMPSON, THOMAS W          PO BOX 432                       3784 S WILLSON RD                                              NACO                AZ   85620‐0432
THOMPSON, THOMAS W          PO BOX 9022                      GM KOREA                                                       WARREN              MI   48090‐9022
THOMPSON, THOMAS W          2541 56TH ST SW                                                                                 WYOMING             MI   49519‐9617
THOMPSON, THOMAS W          PO BOX 432                                                                                      NACO                AZ   85620‐0432
THOMPSON, THOMAS W          9373 RUTLAND ST                                                                                 DETROIT             MI   48228‐2019
THOMPSON, TIM               4925 138TH PL                                                                                   CRESTWOOD           IL   60445‐1822
THOMPSON, TIMOTHY A         3236 LYNNE AVE                                                                                  FLINT               MI   48506‐2118
                          09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                Part 37 of 40 Pg 27 of 901
Name                      Address1                        Address2                  Address3     Address4         City            State Zip
THOMPSON, TIMOTHY ALAN    3236 LYNNE AVE                                                                          FLINT            MI 48506‐2118
THOMPSON, TIMOTHY B       883 LEXDALE LN                                                                          MANSFIELD        OH 44907‐2609
THOMPSON, TIMOTHY C       8412 NE BOONE ST APT 101                                                                KANSAS CITY      MO 64155
THOMPSON, TIMOTHY D       4554 WILDWOOD LOOP                                                                      CLARKSTON        MI 48348‐1466
THOMPSON, TIMOTHY E       105B WOODS DRIVE                                                                        COLUMBIA         TN 38401‐4764
THOMPSON, TIMOTHY E.      105B WOODS DRIVE                                                                        COLUMBIA         TN 38401‐4764
THOMPSON, TIMOTHY J       3600 MIDDLEBURY CT                                                                      LAMBERTVILLE     MI 48144‐9513
THOMPSON, TIMOTHY JAMES   3600 MIDDLEBURY CT                                                                      LAMBERTVILLE     MI 48144‐9513
THOMPSON, TIMOTHY M       19255 AMMAN RD                                                                          CHESANING        MI 48616‐9714
THOMPSON, TIMOTHY P       2667 CULLEOKA HWY                                                                       CULLEOKA         TN 38451‐2115
THOMPSON, TIMOTHY R       12 BARRETT WALK                                                                         BRICK            NJ 08724‐2400
THOMPSON, TIMOTHY R       7163 N POPLAR RD                                                                        FREE SOIL        MI 49411‐9105
THOMPSON, TIMOTHY R       2163 MOUNT FOREST RD                                                                    BENTLEY          MI 48613‐9696
THOMPSON, TIMOTHY T       6312 SERENITY CT                                                                        LUDINGTON        MI 49431‐8530
THOMPSON, TINA            DREYER BOYAJIAN LLP             75 COLUMBIA ST                                          ALBANY           NY 12210‐2708
THOMPSON, TJ              1358 TILTON DR                                                                          FRANKLIN         TN 37067‐8574
THOMPSON, TOBY G          4313 ANTIETAM CREEK TRL                                                                 LEESBURG         FL 34748‐1201
THOMPSON, TODD A          3931 O POSSUM RUN RD.                                                                   MANSFIELD        OH 44813
THOMPSON, TODD V          478 N CALLAHAN RD                                                                       BAY CITY         MI 48708‐9196
THOMPSON, TOM C           4284 ATHA CIR                                                                           LOGANVILLE       GA 30052‐4443
THOMPSON, TOMMIE L        11908 PRINCETON AVE                                                                     CLEVELAND        OH 44105‐4569
THOMPSON, TOMMY           514 CANDACE DR                                                                          SPRINGFIELD      OH 45504‐3708
THOMPSON, TOMMY           3091 RANDOLPH GOOD LUCK RD                                                              EDMONTON         KY 42129‐9041
THOMPSON, TOMMY           GUY WILLIAM S                   PO BOX 509                                              MCCOMB           MS 39649‐0509
THOMPSON, TOMMY           514 CANDACE DR.                                                                         SPRINGFIELD      OH 45504‐3708
THOMPSON, TOMMY D         3102 HOAGLAND BLACKSTUB RD                                                              CORTLAND         OH 44410‐9228
THOMPSON, TOMMY L         120 SPANISH TRAILS WAY                                                                  DALLAS           GA 30157
THOMPSON, TOMMY L         14 SOUTH TRAIL                                                                          DALLAS           GA 30157‐3703
THOMPSON, TONY            THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD   SUITE 44                      CORAL GABLES     FL 33146
THOMPSON, TRACIE          132 E 5TH AVE                                                                           ROSELLE          NJ 07203‐2006
THOMPSON, TRACY L         7597 WHISPERS LN                                                                        ONTARIO          NY 14519‐9389
THOMPSON, TRACY M         3288 EAST LAKE LANSING ROAD                                                             EAST LANSING     MI 48823‐1571
THOMPSON, TRASEY L        7565 W STATE ROUTE 571 LOT 11                                                           WEST MILTON      OH 45383‐1746
THOMPSON, TRAVIS M        1453 HAWKEYE                                                                            ROCHESTER HLS    MI 48307‐2469
THOMPSON, TRAVIS M        809 PAULINE BLVD                                                                        ANN ARBOR        MI 48103‐5572
THOMPSON, TREVA M         PO BOX 55                                                                               MCCURTAIN        OK 74944‐0055
THOMPSON, TREVOR D        908 S DOYLE ST                                                                          LOUISBURG        KS 66053‐4027
THOMPSON, TROY            19095 MINNESOTA ST                                                                      ROSEVILLE        MI 48066
THOMPSON, TYJUANA         1020 E 5TH ST                                                                           MUNCIE           IN 47302‐3503
THOMPSON, TYJUANA S.      1020 E 5TH ST                                                                           MUNCIE           IN 47302‐3503
THOMPSON, TYRANE D        430 KIMMEL DR                                                                           CEDAR HILL       TX 75104‐5019
THOMPSON, TYREE           212 WAKELAND DR                                                                         RAYMOND          MS 39154‐8819
THOMPSON, TYRONE T        PO BOX 55                                                                               MCCURTAIN        OK 74944‐0055
THOMPSON, VALINDA D       13973 MARK TWAIN ST                                                                     DETROIT          MI 48227‐2834
THOMPSON, VASHTI          9310 GRACE ST                                                                           DETROIT          MI 48213‐1111
THOMPSON, VASHTI          9310 GRACE                                                                              DETROIT          MI 48213‐1111
THOMPSON, VELMA J         2307 MILTON ST SE                                                                       WARREN           OH 44484‐5248
THOMPSON, VENICE A        1 CREEKSIDE LN                                                                          ROCHESTER        NY 14624‐1059
THOMPSON, VERA K          20151 S.W. MARINE BLVD                                                                  DUNNELLON        FL 34431‐3527
THOMPSON, VERA K          20151 SW MARINE BLVD                                                                    DUNNELLON        FL 34431‐3527
THOMPSON, VERNA M         7838 8OTH ST                                                                            HOWARD CITY      MI 49329
THOMPSON, VERNICE         12231 S GREEN ST                                                                        CHICAGO           IL 60643‐5507
                           09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                 Part 37 of 40 Pg 28 of 901
Name                       Address1                        Address2                      Address3   Address4         City            State Zip
THOMPSON, VERNIS LORAIN    MOODY EDWARD O                  801 W 4TH ST                                              LITTLE ROCK      AR 72201‐2107
THOMPSON, VERNON D         8210 E 400 N                                                                              BROWNSBURG       IN 46112
THOMPSON, VERNON DALE      8210 E 400 N                                                                              BROWNSBURG       IN 46112
THOMPSON, VERNON E         1424 E VW AVE APT 7B                                                                      VICKSBURG        MI 49097‐9440
THOMPSON, VERNON G         1608 WOODBINE DR                                                                          ANDERSON         IN 46011‐2825
THOMPSON, VERNON L         3067 E GRAND LEDGE HWY                                                                    GRAND LEDGE      MI 48837‐9453
THOMPSON, VERONICA A       4310 CAMPUS HILLS CIR                                                                     JACKSONVILLE     FL 32218
THOMPSON, VICKI K          6900 GREGG RD                                                                             W JEFFERSON      OH 43162‐9755
THOMPSON, VICKIE           3291 COOKTON GRANGE RD                                                                    MANSFIELD        OH 44903‐8936
THOMPSON, VICTOR D         33037 AVONDALE ST                                                                         WESTLAND         MI 48186‐4848
THOMPSON, VICTOR U         1087 OLD PEACHTREE RD                                                                     LAWRENCEVILLE    GA 30043‐2531
THOMPSON, VICTORIA L       840 GERALD MILLER RD                                                                      WEST BRANCH      MI 48661‐8013
THOMPSON, VICTORIA L.      4140 AL BERT CT                                                                           OXFORD           MI 48371‐5402
THOMPSON, VINCENT          423 MONTANA TRL                                                                           BROWNS MILLS     NJ 08015‐5703
THOMPSON, VIOLA F          9 WYNDEMERE DR                                                                            FRANKLIN         OH 45005‐2433
THOMPSON, VIOLA J          6665 MARATHON RD                                                                          OTTER LAKE       MI 48464‐9720
THOMPSON, VIOLET           807 W 10TH ST                                                                             LORAIN           OH 44052‐1938
THOMPSON, VIOLET           807 10TH ST                                                                               LORAIN           OH 44052‐1938
THOMPSON, VIRGIL L         468 STARK ST                                                                              LAWRENCEVILLE    GA 30045‐4780
THOMPSON, VIRGIL W         1250 MURNAN RD                                                                            GALLOWAY         OH 43119‐8701
THOMPSON, VIRGINIA         6625 MCNEIL                                                                               LACHINE          MI 49753‐9758
THOMPSON, VIRGINIA A       1410 CONWAY                                                                               FLINT            MI 48532
THOMPSON, VIRGINIA E       PO BOX 265                                                                                ST HELEN         MI 48656‐0265
THOMPSON, VIRGINIA E       3336 GUNTHER AVE                                                                          BRONX            NY 10469‐2728
THOMPSON, VIRGINIA L       P O BOX 194                                                                               ROSS             OH 45061‐0194
THOMPSON, VIRGINIA L       PO BOX 194                                                                                ROSS             OH 45061‐0194
THOMPSON, VIRGINIA M       625 EAST WATERS ST. APT.#108                                                              PENDLETON        IN 46064
THOMPSON, VIRGINIA M       625 E WATER ST APT 108                                                                    PENDLETON        IN 46064‐8533
THOMPSON, VIRGINIA P       1193 OHIO AVE                                                                             LOGAN            OH 43138‐9372
THOMPSON, VIRGINIA R       699 DAVID BLVD                                                                            FRANKLIN         OH 45005‐2158
THOMPSON, VIVIAN           939 S 12TH ST                                                                             SAGINAW          MI 48601‐2204
THOMPSON, VONDA L          226 E BLOOMFIELD AVE                                                                      ROYAL OAK        MI 48073‐3460
THOMPSON, VONNIE D         PO BOX 5574                                                                               NEWARK           DE 19714‐5574
THOMPSON, VONNIE DARLENE   PO BOX 5574                                                                               NEWARK           DE 19714‐5574
THOMPSON, VONREESA D       2805 LERA JONES DR                                                                        ANTIOCH          TN 37013‐1316
THOMPSON, VYRIL G          6112 WEYER RD                                                                             IMLAY CITY       MI 48444‐8918
THOMPSON, W                642 LUTHER P O BOX 864                                                                    PONTIAC          MI 48341
THOMPSON, W B              PO BOX 65                                                                                 FLORA            MS 39071‐0065
THOMPSON, W B              3431 SHEPHERD HILLS DR                                                                    BLOOMINGTON      MN 55431‐1542
THOMPSON, W L              PO BOX 2016                     8166 HIGHWAY 98 EAST                                      MCCOMB           MS 39649‐2016
THOMPSON, WADDELL          4720 E 42ND ST                                                                            INDIANAPOLIS     IN 46226‐4552
THOMPSON, WALLACE E        4685 GRINDLEY PARK ST                                                                     DEARBORN HTS     MI 48125‐2225
THOMPSON, WALLACE J        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                           STREET, SUITE 600
THOMPSON, WALLACE T        6539 TOWNSEND RD LOT 144                                                                  JACKSONVILLE    FL   32244‐4371
THOMPSON, WALTER           25282 MAPLEBROOK                                                                          SOUTHFIELD      MI   48034‐5275
THOMPSON, WALTER C         5040 WAVERLY AVE                                                                          KANSAS CITY     KS   66104‐3154
THOMPSON, WALTER D         10510 LINWOOD AVE                                                                         SHREVEPORT      LA   71106‐7938
THOMPSON, WALTER DEAN      10510 LINWOOD AVE                                                                         SHREVEPORT      LA   71106‐7938
THOMPSON, WALTER J         2214 SPRING ST                                                                            NEW CASTLE      IN   47362‐3817
THOMPSON, WALTER L         1109 JAMISON RD                                                                           CLINTON         MS   39056‐9431
THOMPSON, WANAMAKER        1629 E 3RD ST APT 301B                                                                    WINSTON SALEM   NC   27101‐4560
                            09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                  Part 37 of 40 Pg 29 of 901
Name                        Address1                        Address2                      Address3   Address4         City                 State Zip
THOMPSON, WANDA J           662 E. BALTIMORE BLVD                                                                     FLINT                 MI 48505‐373
THOMPSON, WARD W            7251 E GLADWIN RD                                                                         HARRISON              MI 48625‐9315
THOMPSON, WARD W            3410 MACON AVE                                                                            LANSING               MI 48917‐2236
THOMPSON, WARREN W          1005 SOMERSET LN                                                                          FLINT                 MI 48503‐2982
THOMPSON, WAYNE             1101 DOWNS BLVD APT 79                                                                    FRANKLIN              TN 37064‐3855
THOMPSON, WAYNE A           1003 E MORGAN ST                                                                          KOKOMO                IN 46901‐2561
THOMPSON, WAYNE D           100 SPRING RD                                                                             NOBLE                 OK 73068‐8703
THOMPSON, WAYNE R           8701 LAKEVIEW DR                                                                          BARKER                NY 14012‐9645
THOMPSON, WAYNE R           3900 CARSON SALT SPRINGS RD                                                               NEWTON FALLS          OH 44444‐8711
THOMPSON, WENDELL           4709 CRESTBROOK LN                                                                        FLINT                 MI 48507‐2285
THOMPSON, WENDELL G         5626 MAPLE PARK DR                                                                        FLINT                 MI 48507
THOMPSON, WENDY B           18700 CARRIE ST                                                                           DETROIT               MI 48234‐3084
THOMPSON, WENDY J           201 RIDGEHAVEN ST                                                                         MONROE                LA 71202‐6241
THOMPSON, WESLEY            920 GARDEN AVE                                                                            NIAGARA FALLS         NY 14305‐2447
THOMPSON, WILBERT           3736 WHITEGATE DR                                                                         TOLEDO                OH 43607‐2568
THOMPSON, WILFRED O         2198 PRICEDALE DR SE                                                                      BOGUE CHITTO          MS 39629‐4160
THOMPSON, WILLARD R         49 W CABIN LAKE RD                                                                        WEST BRANCH           MI 48661‐9752
THOMPSON, WILLIAM           PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON               MS 39206‐5621
THOMPSON, WILLIAM           723 LOCHHEAD AVE                                                                          FLINT                 MI 48507‐2836
THOMPSON, WILLIAM A         32216 EXETER DR                                                                           WARREN                MI 48092‐4320
THOMPSON, WILLIAM A         2250 STONEBRIDGE LN                                                                       FORKS TOWNSHIP        PA 18040‐8771
THOMPSON, WILLIAM A         50250 MILE END DR                                                                         SHELBY TOWNSHIP       MI 48317‐1149
THOMPSON, WILLIAM A         616 S 29TH ST                                                                             SAGINAW               MI 48601‐6548
THOMPSON, WILLIAM A         3721 HANEY RD                                                                             DAYTON                OH 45416‐2031
THOMPSON, WILLIAM B         5800 HAVEN RD                                                                             LEONARD               MI 48367‐1116
THOMPSON, WILLIAM B         1079 FAIRWAY DR                                                                           PONTIAC               MI 48340‐1479
THOMPSON, WILLIAM B         PO BOX 117                                                                                EDENVILLE             MI 48620
THOMPSON, WILLIAM BRADLEY   1079 FAIRWAY DR                                                                           PONTIAC               MI 48340‐1479
THOMPSON, WILLIAM C         514 S MINCER DR                                                                           AU GRES               MI 48703‐9727
THOMPSON, WILLIAM C         7019 JACKSON ST                                                                           INDIANAPOLIS          IN 46241‐1412
THOMPSON, WILLIAM D         1361 HIGLEY RD                                                                            LAPEER                MI 48446‐9440
THOMPSON, WILLIAM D         8508 TUCKERMAN LN                                                                         POTOMAC               MD 20854‐3157
THOMPSON, WILLIAM D         1282 11TH AVE                                                                             MARTIN                MI 49070
THOMPSON, WILLIAM D         2416 MERCURY DR                                                                           LAKE ORION            MI 48360‐1960
THOMPSON, WILLIAM D         PO BOX 191                      1029 COLUMBUS STREET                                      ETNA                  OH 43018‐0191
THOMPSON, WILLIAM E         11085 SHARP RD                                                                            LINDEN                MI 48451‐9407
THOMPSON, WILLIAM E         3300 RIVER BLUFF RD                                                                       ANDERSON              IN 46012‐4632
THOMPSON, WILLIAM F         1285 GABEL RD                                                                             SAGINAW               MI 48601‐9309
THOMPSON, WILLIAM G         806 S GREEN ST                                                                            CRAWFORDSVILLE        IN 47933‐3542
THOMPSON, WILLIAM H         1825 S CHESTER AVE                                                                        INDIANAPOLIS          IN 46203‐3404
THOMPSON, WILLIAM H         23012 ROSEDALE ST                                                                         SAINT CLAIR SHORES    MI 48080‐3855
THOMPSON, WILLIAM H         18509 ROSELAWN ST                                                                         DETROIT               MI 48221‐2115
THOMPSON, WILLIAM H         PO BOX 130                                                                                ROCK HALL             MD 21661‐0130
THOMPSON, WILLIAM H         9401 JESSICA DR                                                                           SHREVEPORT            LA 71106‐7305
THOMPSON, WILLIAM HALE      9401 JESSICA DR                                                                           SHREVEPORT            LA 71106‐7305
THOMPSON, WILLIAM HUBERT    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                            STREET, SUITE 600
THOMPSON, WILLIAM J         345 FAIRFIELD DR                                                                          JACKSON              MS   39206‐2608
THOMPSON, WILLIAM J         2125 N MAIN ST                                                                            MOUNT AIRY           NC   27030
THOMPSON, WILLIAM J         1647 HARTS MILL RD NE                                                                     ATLANTA              GA   30319‐1817
THOMPSON, WILLIAM J         2028 OLD PLANKE RD                                                                        HOLLAND              OH   43528‐9566
THOMPSON, WILLIAM JUNIOR    2125 N MAIN ST                                                                            MOUNT AIRY           NC   27030
                              09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                      Part 37 of 40 Pg 30 of 901
Name                          Address1                          Address2                      Address3   Address4         City               State Zip
THOMPSON, WILLIAM L           27354 TYRRELL AVE APT 6                                                                     HAYWARD             CA 94544‐4500
THOMPSON, WILLIAM L           2105 OAK TRAIL DR                                                                           STILLWATER          OK 74074‐1325
THOMPSON, WILLIAM L           5818 HICKORY WOODS DR                                                                       PLAINFIELD          IN 46168‐8603
THOMPSON, WILLIAM N           24127 TANA CT                                                                               FARMINGTON HILLS    MI 48335‐3474
THOMPSON, WILLIAM O           4062 STATE HIGHWAY H                                                                        LAMPE               MO 65681‐8329
THOMPSON, WILLIAM P           6133 POST RD                                                                                DOUGLASVILLE        GA 30135‐5535
THOMPSON, WILLIAM R           16 CYPRESS POINT DR                                                                         LAGUNA VISTA        TX 78578‐2862
THOMPSON, WILLIAM R           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                STREET, SUITE 600
THOMPSON, WILLIAM R           1494 COUNTY ROAD 211                                                                        GAINESVILLE        TX   76240‐0885
THOMPSON, WILLIAM R           7 BRYAN VALLEY CT                                                                           O FALLON           MO   63366‐3465
THOMPSON, WILLIAM R           3210 MARYLAND AVE                                                                           FLINT              MI   48506‐3033
THOMPSON, WILLIAM R           633 S BURGESS AVE                                                                           COLUMBUS           OH   43204‐2932
THOMPSON, WILLIAM S           1674 LONGFELLOW ST                                                                          DETROIT            MI   48206‐2050
THOMPSON, WILLIAM S           1110 DANIEL ST                                                                              CLARKSVILLE        TN   37040‐4245
THOMPSON, WILLIAM S           4501 N PASADENA                                                                             INDIANAPOLIS       IN   46226‐3664
THOMPSON, WILLIAM S           71 BAY SHORE DR                                                                             BAY CITY           MI   48706‐1159
THOMPSON, WILLIAM T           25 MILL CREEK WAY                                                                           HENDERSONVILLE     NC   28739‐7816
THOMPSON, WILLIAM T           4070 FOXBORO DR                                                                             DAYTON             OH   45416‐1625
THOMPSON, WILLIAM V           PO BOX 11                                                                                   HUDSONVILLE        MI   49426‐0011
THOMPSON, WILLIAM W           26637 W CHICAGO                                                                             REDFORD            MI   48239‐2230
THOMPSON, WILLIE              PORTER & MALOUF PA                4670 MCWILLIE DR                                          JACKSON            MS   39206‐5621
THOMPSON, WILLIE A            819 E MULBERRY ST                                                                           KOKOMO             IN   46901‐4720
THOMPSON, WILLIE C            G5507 HARVARD ST                                                                            FLINT              MI   48505‐1201
THOMPSON, WILLIE CARTER       G5507 HARVARD ST                                                                            FLINT              MI   48505‐1201
THOMPSON, WILLIE D            LEE WILLIAM L JR                  PO BOX 14047                                              JACKSON            MS   39236‐4047
THOMPSON, WILLIE J            3516 CHRISTINE DR                                                                           LANSING            MI   48911‐1315
THOMPSON, WILLIE L            1229 N WASHINGTON AVE                                                                       LANSING            MI   48906‐4812
THOMPSON, WILLIE L            9867 ARBORWOOD DR                                                                           CINCINNATI         OH   45251‐1507
THOMPSON, WILLIE M            107 S WASHINGTON AVE.             APT #516                                                  SAGINAW            MI   48607
THOMPSON, WILLIS C            11207 LAUREL FALLS LN                                                                       FISHERS            IN   46037‐4318
THOMPSON, WILLIS E            4723 HARTEL RD LOT 70                                                                       POTTERVILLE        MI   48876‐9768
THOMPSON, WILMA               17886 FLEMING                                                                               DETROIT            MI   48212‐1054
THOMPSON, WILMA               17886 FLEMING ST                                                                            DETROIT            MI   48212‐1054
THOMPSON, WILMA F             200 ESSEX LN                                                                                CANTON             MI   48187‐5058
THOMPSON, WILMA M             51 PCR 844                                                                                  PERRYVILLE         MO   63775‐8488
THOMPSON, WILSON              215 MALTBY ST                                                                               ROCHESTER          NY   14606‐1411
THOMPSON, WINFRED H           42000 PLEASANT COVE PL LOT 16                                                               PERRY              MO   63462‐2015
THOMPSON, WINNIE F            225 RICE BLVD                                                                               RIVERVIEW          FL   33569‐5994
THOMPSON, WINNIE F            225 RICE BOULEVARD                                                                          RIVERVIEW          FL   33569‐5994
THOMPSON, WINSTON P           6332 BARTON CREEK CIR                                                                       LAKE WORTH         FL   33463‐6545
THOMPSON, WOODROW E           1714 KELLOGG AVE                                                                            JANESVILLE         WI   53546‐6003
THOMPSON, WYLODEAN            3701 PENBROOK LN APT 16                                                                     FLINT              MI   48507‐1491
THOMPSON, WYMAN L             226 W 19TH ST                                                                               WILMINGTON         DE   19802
THOMPSON, WYMAN R             PO BOX 1901                                                                                 EULESS             TX   76039‐1901
THOMPSON, YOLANDA A           2907 SUNCREST DR                                                                            FLINT              MI   48504‐8440
THOMPSON, YOLANDA L           18382 SHIAWASSEE DR                                                                         DETROIT            MI   48219‐2247
THOMPSON, YVONNE              185 VICTORY DR                                                                              PONTIAC            MI   48342‐2564
THOMPSON,CHRISTOPHER G        87 EDEN AVE                                                                                 SABINA             OH   45169‐1221
THOMPSON,MARK EDWARD          11385 WAYNE DR                                                                              HOLLYWOOD          FL   33026‐3738
THOMPSON‐BALANOWSKI, MARY F   2917 12 OAKS DR                                                                             CHARLOTTE          MI   48813‐8372
THOMPSON‐BATTLE, MATTIE E     217 ODETTE                                                                                  FLINT              MI   48503‐1074
                                 09-50026-mg           Doc 7123-39       Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                        Part 37 of 40 Pg 31 of 901
Name                             Address1                          Address2                    Address3      Address4             City              State Zip
THOMPSON‐BOEHM, MAXINE A         419 JEFFERSON AVE                                                                                MC ARTHUR          OH 45651
THOMPSON‐BRUNSON, GRACE D        1717 WINTHROP DR                                                                                 FLORENCE           SC 29501‐6543
THOMPSON‐GREENE, TAMARA S        5742 MICHAEL DR                                                                                  BROOK PARK         OH 44142‐2037
THOMPSON‐GREENE, TAMARA SUE      5742 MICHAEL DR                                                                                  BROOK PARK         OH 44142‐2037
THOMPSON‐MCCULLY CONST CO        16777 WOOD RD                                                                                    LANSING            MI 48906‐1047
THOMPSON‐MURPHY, BARBARA         4107 PINEHURST CIR                                                                               LITTLE RIVER       SC 29566
THOMPSON‐STOKES, LISA            5501 STOWEHILL DR SE                                                                             GRAND RAPIDS       MI 49508
THOMPSON‐WASIK, INC.             3960 M‐19                                                                                        UBLY               MI 48475
THOMPSON‐WASIK, INC.             RICHARD THOMPSON                  3960 M‐19                                                      UBLY               MI 48475
THOMPSON‐WILLIAMS, BRENDA        11224 E 71ST DR                                                                                  RAYTOWN            MO 64133‐6860
THOMPSON‐WILLIAMS, CHRISTINA L   PO BOX 67                                                                                        SAINT CHARLES      MO 63302‐0067
THOMPSONS TROPHY CENTER          318 MORGANTOWN RD                                                                                BOWLING GREEN      KY 42101‐3526
THOMPTO, HARRY W                 221 TAYLOR STREET                                                                                TWO RIVERS         WI 54241‐3904
THOMS GENE                       16113 MUNN RD                                                                                    CLEVELAND          OH 44111‐2009
THOMS KEVIN D (463707)           EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                        NEW YORK           NY 10017‐6530
THOMS, BRUCE H                   24 DUFFIELD DR                                                                                   EWING              NJ 08628‐2008
THOMS, BRUCE H                   18108 N LAUREN DR                                                                                CLINTON TWP        MI 48038‐5226
THOMS, CLIFFORD J                6688 MACKINAW RD                                                                                 SAGINAW            MI 48604‐9773
THOMS, GENE H                    16113 MUNN RD                                                                                    CLEVELAND          OH 44111‐2009
THOMS, KEVIN D                   EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                        NEW YORK           NY 10017‐6530
THOMS, KIMBERLY A                5722 CHERRY CREST DR                                                                             WEST BLOOMFIELD    MI 48322‐1714
THOMS, ROBERT C                  9903 E SIX CORNERS RD                                                                            WHITEWATER         WI 53190‐3513
THOMS, ROBERT F                  14342 SPYGLASS ST                                                                                ORLANDO            FL 32826‐5035
THOMS, THOMAS F                  5722 CHERRY CREST DR                                                                             WEST BLOOMFIELD    MI 48322‐1714
THOMSEN JASON                    THOMSEN, JASON                    AMERICAN FAMILY INSURANCE   PO BOX 2639                        APPLETON           WI 54912
THOMSEN MICHELLE & DAVID         3752 AZALEA LN                                                                                   SARASOTA           FL 34240‐9615
THOMSEN, DONALD E                3422 MARATHON RD                                                                                 COLUMBIAVILLE      MI 48421‐8975
THOMSEN, DONALD W                401 DEER PARK DR                                                                                 ABERDEEN           WA 98520‐7211
THOMSEN, DOUGLAS D               21349 US HIGHWAY 23 N                                                                            OCQUEOC            MI 49759‐9390
THOMSEN, DOUGLAS DARWIN          21349 US HIGHWAY 23 N                                                                            MILLERSBURG        MI 49759
THOMSEN, EDWARD C                PO BOX 6536                                                                                      KANSAS CITY        KS 66106‐0536
THOMSEN, EDWARD CHRIS            PO BOX 6536                                                                                      KANSAS CITY        KS 66106‐0536
THOMSEN, GEORGE F                42 OCEAN BLVD                                                                                    KEYPORT            NJ 07735‐6028
THOMSEN, JAMES H                 701 SALEM DR                                                                                     DAVISON            MI 48423‐1737
THOMSEN, JASON                   AMERICAN FAMILY INSURANCE         PO BOX 2369                                                    APPLETON           WI 54912
THOMSEN, KENNETH P               7061 SE 32ND RD                                                                                  SAINT JOSEPH       MO 64507‐7940
THOMSEN, RICHARD H               4060 TYRELL RD                                                                                   OWOSSO             MI 48867‐9253
THOMSEN, RICHARD W               7005 REITE AVE                                                                                   WINDSOR HEIGHTS     IA 50311‐1405
THOMSEN, ROBERT T                1A SE ALFALFA DR                                                                                 SAINT JOSEPH       MO 64507‐8485
THOMSEN, RONALD P                9 SE ALFALFA DR                                                                                  SAINT JOSEPH       MO 64507‐8485
THOMSEN, RONALD P                9 ALFALFA DR                                                                                     ST JOSEPH          MO 64507
THOMSEN, SANDRA L.               3912 E COUNTY RD N                                                                               MILTON             WI 53563‐9229
THOMSON & THOMSON                PO BOX 71892                                                                                     CHICAGO             IL 60694‐1892
THOMSON APRIL                    THOMSON, APRIL                    30 E BUTLER AVE                                                AMBLER             PA 19002‐4514
THOMSON AUTOMOTIVE               12001 TELEGRAPH RD                                                                               REDFORD            MI 48239
THOMSON AUTOMOTIVE               JANET THOMPSON                    47451 AVANTE DR                                                WIXOM              MI 48393
THOMSON AUTOMOTIVE INC           12001 TELEGRAPH RD                PO BOX 401379                                                  REDFORD            MI 48239‐1413
THOMSON AUTOMOTIVE INC           12001 TELEGRAPH RD                                                                               REDFORD            MI 48239‐1413
THOMSON CARSWELL                 ONE CORPORATE PLAZA               11‐2075 KENNEDY RD                        SCARBOROUGH ON M1T
                                                                                                             3V4 CANADA
THOMSON COMPUMARK                500 VICTORY RD                                                                                   NORTH QUINCY      MA 02171
THOMSON DELMAR LEARNING          5 MAXWELL DR                                                                                     CLIFTON PARK      NY 12065
                                    09-50026-mg               Doc 7123-39      Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                                              Part 37 of 40 Pg 32 of 901
Name                                Address1                             Address2                   Address3                  Address4             City                State Zip
THOMSON FASTENERS INC               290 FOURTH ST                                                                             GANANOQUE ON K7G 2W9
                                                                                                                              CANADA
THOMSON FASTENERS INC               CARL STEVENSON                       290 FOURTH ST.                                       TOTTENHAM ON CANADA
THOMSON FASTENERS INC               290 4TH ST                           ADD CHNG LTR MW 9/17/02                              GANANOQUE CANADA ON
                                                                                                                              K7G 2W9 CANADA
THOMSON FINANCIAL                   1333 BUTTERFIELD RD STE 130          UPTD CORRES 06/15/06 CS                                                   DOWNERS GROVE       IL    60515‐5641
THOMSON FINANCIAL                   IFR PUBLISHING                       395 HUDSON ST FL 3                                                        NEW YORK            NY    10014‐9511
THOMSON FINANCIAL INC               195 BROADWAY 11TH FL                                                                                           NEW YORK            NY    10007
THOMSON FINANCIAL\FIRST CALL        PO BOX 371638                                                                                                  PITTSBURGH          PA    15251‐7638
THOMSON GORDON LTD                                                       3225 MAINWAY                                                                                  ON    L7M 1
THOMSON HEALTHCARE                  PO BOX 30                                                                                                       WILLISTON          VT    05495‐0030
THOMSON HEALTHCARE INC              PO BOX 95334                                                                                                    CHICAGO            IL    60694‐5334
THOMSON HEALTHCARE INC              777 E EISENHOWER PARKWAY SUITE 500                                                                              ANN ARBOR          MI    48108

THOMSON HEALTHCARE INC. (FORMERLY   777 E. EISENHOWER PKWY.                                                                                         ANN ARBOR           MI 48108
MEDSTAT GROUP)
THOMSON HEALTHCARE PDR/RED BOOK     PO BOX 80                                                                                                       WILLISTON           VT   05495‐0080

THOMSON IND/PT WSHNG               2 CHANNEL DR                                                                                                     PORT WASHINGTON    NY    11050‐2214
THOMSON INDUSTRIES INC             2 CHANNEL DR                                                                                                     PORT WASHINGTON    NY    11050‐2214
THOMSON JAMES (187487)             WYSOKER GLASSNER & WEINGARTNER        340 GEORGE ST                                                              NEW BRUNSWICK      NJ    08901‐2011
THOMSON JOSEPH M                   WINBAK FARM                           KIMMEL & SILVERMAN         30 EAST BUTLER PIKE                             AMBLER             PA    19002
THOMSON JOSEPH M                   THOMSON, JOSEPH M                     30 E BUTLER AVE                                                            AMBLER             PA    19002‐4514
THOMSON JR, CHARLES C              3320 BURNING BUSH RD                                                                                             BLOOMFIELD HILLS   MI    48301‐2166
THOMSON JR, GARNET O               5096 COOK RD                                                                                                     SWARTZ CREEK       MI    48473‐9145
THOMSON JR, HENRY E                524 OAK RUN DR                                                                                                   LEWISTON           NY    14092‐2396
THOMSON LEARNING                   5191 NATORP BLVD                                                                                                 MASON              OH    45040
THOMSON MADELYN                    9 STRAWBERRY LN                                                                                                  LAKEWOOD           NJ    08701‐5722
THOMSON MARK                       119 CLUBHOUSE CIR                                                                                                W MIDDLESEX        PA    16159‐2201
THOMSON NETG                       1731 W DIEHL RD STE 200                                                                                          NAPERVILLE         IL    60563
THOMSON PROFESSIONAL & REGULATORY,
INC DBA FAST‐TAX
THOMSON PROFESSIONAL & REGULATORY, 2395 MIDWAY RD                        BLDG 1 M/S 320                                                             CARROLLTON          TX   75006‐2521
INC DBA FAST‐TAX
THOMSON PROFESSIONAL & REGULATORY, ATTN: CM CONTRACT ADMINISTRATION      2395 MIDWAY RD             BLDG 1 M/S 175                                  CARROLLTON          TX   75006‐2521
INC., DBA RIA
THOMSON PROFESSIONAL & REGULATORY, 5 PARAGON DR                          STE 200                                                                    MONTVALE            NJ   07645‐1791
INC., DBA RIA
THOMSON PROFESSIONAL & REGULATORY,
INC., DBA RIA
THOMSON PROFESSIONAL & REGULATORY, 333 SYLVAN AVE.                                                                                                  ENGLEWOOD CLIFFS    NJ   07632
INC., DBA RIA
THOMSON REUTERS                    TORONTO DOMINION BANK TOWER           TORONTO‐DOMINION CENTRE,                             TORONTO ON M5K 1A1
                                                                         SUITE 2706                                           CANADA
THOMSON REUTERS                     THOMSON REUTERS                      NEIL PENFOLD               3 TIMES SQUARE                                  NEW YORK            NY 10036
THOMSON REUTERS                     NEIL PENFOLD 646‐822‐3147 TF‐        3 TIMES SQUARE                                                             NEW YORK            NY 10036
                                    CONTRACTMANAGEMENT@THOMSON.CO
                                    M
THOMSON REUTERS (TTA‐RESEARCH &     C/O SARAH E DOERR ESQ         MOSS & BARNETT PA                 4900 WELLS FARGO CENTER   90 SOUTH SEVENTH ST   MINNEAPOLIS        MN 55402
GUIDANCE)
THOMSON REUTERS INC                 777 E EISENHOWER PKY STE 500                                                                                    ANN ARBOR           MI 48108
THOMSON REUTERS SCIENTIFIC INC      1500 SPRING GARDEN ST # 4                                                                                       PHILADELPHIA        PA 19130‐4067
                                    09-50026-mg           Doc 7123-39          Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                              Part 37 of 40 Pg 33 of 901
Name                                Address1                          Address2                Address3         Address4         City               State Zip
THOMSON REUTERS, THOMSON SCIENTIFIC 1500 SPRING GARDEN ST # 4                                                                   PHILADELPHIA        PA 19130‐4067
INC.
THOMSON REUTERS, THOMSON SCIENTIFIC 3501 MARKET ST                                                                              PHILADELPHIA       PA 19104‐3302
INC.
THOMSON SCIENTIFIC                  1800 DIAGONAL RD STE 250                                                                    ALEXANDRIA         VA    22314‐2860
THOMSON SCIENTIFIC INC              PO BOX 36472                                                                                CHICAGO            IL    60694‐0001
THOMSON SCIENTIFIC INC              1500 SPRING GARDEN ST # 400                                                                 PHILADELPHIA       PA    19130‐4067
THOMSON SCIENTIFIC INC.             2141 PALOMAR AIRPORT RD STE 350                                                             CARLSBAD           CA    92011‐1451
THOMSON SEARCH SERVICES             1800 DIAGONAL RD STE 250                                                                    ALEXANDRIA         VA    22314‐2860
THOMSON V, EDWARD B                 3371 DONLEY AVE                                                                             ROCHESTER HILLS    MI    48309‐4104
THOMSON WEST                        PO BOX 64833                                                                                SAINT PAUL         MN    55164‐1801
THOMSON WILLIAM (173105)            WYSOKER GLASSNER & WEINGARTNER    340 GEORGE ST                                             NEW BRUNSWICK      NJ    08901‐2011
THOMSON'S WHITLEY COUNTY MOTOR      3040 E BUSINESS 30                                                                          COLUMBIA CITY      IN    46725‐8788
SALE
THOMSON'S WHITLEY COUNTY MOTOR      3040 E BUSINESS 30                                                                          COLUMBIA CITY       IN   46725‐8788
SALES, INC.
THOMSON'S WHITLEY COUNTY MOTOR      TIMOTHY THOMSON                   3040 E BUSINESS 30                                        COLUMBIA CITY       IN   46725‐8788
SALES, INC.
THOMSON, ADAM L                     1703 S OAKHILL AVE                                                                          JANESVILLE         WI    53546‐5767
THOMSON, BARBARA                    2443 SPANISH TRL APT 1013                                                                   ARLINGTON          TX    76016‐5861
THOMSON, BOB JOHN                   3121 HATHAWAY DR SE                                                                         GRAND RAPIDS       MI    49506‐1910
THOMSON, BRUCE W                    5304 VALLEYVIEW DR                                                                          SWARTZ CREEK       MI    48473‐1038
THOMSON, CAROL F                    3300 E BROADWAY RD LOT 264                                                                  MESA               AZ    85204‐1834
THOMSON, CAROL F                    3300 E. BROADWAY ROAD #264                                                                  MESA               AZ    85204
THOMSON, DANIEL C                   40 HUBBARD RUN DR                                                                           GLASTONBURY        CT    06033‐2335
THOMSON, DAVID R                    16 OAK MNR                                                                                  LEICESTER          NY    14481‐9762
THOMSON, DEBRA S                    7620 MACEDAY LAKE RD                                                                        WATERFORD          MI    48329‐2628
THOMSON, DONALD J                   9531 ADAMS RD                                                                               SAINT HELEN        MI    48656‐9637
THOMSON, DONALD JAMES               9531 ADAMS RD                                                                               SAINT HELEN        MI    48656‐9637
THOMSON, ERIC                       1185 WESTSIDE DR                                                                            ROCHESTER          NY    14624‐3815
THOMSON, FAULKNER C                 13040 PRICES DISTILLERY RD                                                                  CLARKSBURG         MD    20871‐9401
THOMSON, GARY W                     5101 MEADOWLAKE RD                                                                          BRENTWOOD          TN    37027‐5140
THOMSON, GEORGE A                   2325 SANGRE DR                                                                              WESTCLIFFE         CO    81252‐9132
THOMSON, GEORGIA A                  14553 STERLING OAKS DR                                                                      NAPLES             FL    34110‐4148
THOMSON, GRETCHEN A                 895 S. GULFVIEW BLVD              I‐207                                                     CLEARWATER         FL    33767‐3031
THOMSON, HUGH S                     1100 OLDEN RD                                                                               ANN ARBOR          MI    48103‐3005
THOMSON, JACK R                     898 SODA PARK DR                                                                            TEMPERANCE         MI    48182‐9161
THOMSON, JAMES                      WYSOKER GLASSNER & WEINGARTNER    340 GEORGE ST                                             NEW BRUNSWICK      NJ    08901‐2011
THOMSON, JAMES A                    242 E PARKER AVE                                                                            MADISON HTS        MI    48071‐2842
THOMSON, JAMES H                    6176 WINDFALL RD                                                                            BELMONT            NY    14813
THOMSON, JAMES J                    1484 SEDGEFIELD DR.                                                                         MURRELLS INLET     SC    29576‐8653
THOMSON, JANICE L                   8450 ANGILA DR                                                                              SANTEE             CA    92071‐4101
THOMSON, JOHN D                     PO BOX 9022                       APHQ SHANGHAI                                             WARREN             MI    48090‐9022
THOMSON, JOLENE M                   4041 BENBROOK ST                                                                            ABILENE            TX    79605‐3817
THOMSON, JOSEPH D                   46711 LANDINGS DR                                                                           MACOMB             MI    48044‐4047
THOMSON, JOSEPH M                   KIMMEL & SILVERMAN                30 E BUTLER AVE                                           AMBLER             PA    19002‐4514
THOMSON, KAREN                      3371 DONLEY AVE                                                                             ROCHESTER HILLS    MI    48309‐4104
THOMSON, KAREN M                    3371 DONLEY AVE                                                                             ROCHESTER HILLS    MI    48309‐4104
THOMSON, KENNETH M                  4484 CARMANWOOD DR                                                                          FLINT              MI    48507‐5653
THOMSON, LAURA                      42121 HIDDEN BROOK DR                                                                       CLINTON TOWNSHIP   MI    48038‐2161
THOMSON, LAWRENCE M                 BOX 38 398 S MAIN STREET                                                                    VERMONTVILLE       MI    49096
THOMSON, LORRAINE                   82 TUNISON RD                                                                               NEW BRUNSWICK      NJ    08901‐1656
                                    09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                                           Part 37 of 40 Pg 34 of 901
Name                                Address1                         Address2                    Address3   Address4                City                State Zip
THOMSON, MARTIN J                   36389 JOANNE ST                                                                                 LIVONIA              MI 48150‐3403
THOMSON, MARVIN W                   1480 EPLEY RD                                                                                   WILLIAMSTON          MI 48895‐9473
THOMSON, MICHAEL H
THOMSON, MICHAEL L                  6003 MONTEVIDEO DR UNIT F                                                                       LANSING             MI   48917‐3952
THOMSON, MILDRED M.                 8 CHRIS CT                                                                                      BOZEMAN             MT   59718‐7211
THOMSON, R H                        1016 W EDGAR RD                  RESIDENT COMPTROLLER                                           LINDEN              NJ   07036‐6522
THOMSON, RAYMOND D                  978 ELLISON CT                                                                                  AUSTELL             GA   30168‐5402
THOMSON, RAYMOND J                  4325 E COOK RD                                                                                  GRAND BLANC         MI   48439‐8024
THOMSON, RICHARD A                  52 WHITE TAIL TRL                                                                               GLADWIN             MI   48624‐9732
THOMSON, RICHARD ALAN               52 WHITE TAIL TRL                                                                               GLADWIN             MI   48624‐9732
THOMSON, RICHARD C                  1901 W GLENMOOR LN                                                                              JANESVILLE          WI   53545‐9628
THOMSON, RICHARD C                  5869 NASH LN                                                                                    SPEEDWAY            IN   46224‐5308
THOMSON, RICHARD T                  41345 GLOCA MORA ST                                                                             HARRISON TOWNSHIP   MI   48045
THOMSON, ROGERS                     ATTN: DAVID MACDONALD            3100‐390 BAY STREET                    TORONTO, ONTARIO M5H
                                                                                                            1W2 CANADA
THOMSON, SCOTT K                    1326 FOREST COMMONS DR                                                                          AVON                IN   46123‐7753
THOMSON, STEPHEN B                  351 WILDFLOWER LN                                                                               LAPEER              MI   48446‐7655
THOMSON, STEVE E                    14652 CLINTONIA RD                                                                              GRAND LEDGE         MI   48837‐9505
THOMSON, THOMAS                     13108 STAMFORD AVE                                                                              WARREN              MI   48089‐4582
THOMSON, WILLIAM                    WYSOKER GLASSNER & WEINGARTNER   340 GEORGE ST                                                  NEW BRUNSWICK       NJ   08901‐2011
THOMSON, WILLIAM R                  333 MOUNTAIN VIEW DR UNIT 164                                                                   TALENT              OR   97540‐9304
THOMSON,JOHN D                      PO BOX 9022                      APHQ SHANGHAI                                                  WARREN              MI   48090‐9022
THOMSON‐GORDON/BURLI                3225 MAINWAY                                                            BURLINGTON ON L7M 1A6
                                                                                                            CANADA
THOMSON‐MACCONNELL CADILLAC, INC.   2820 GILBERT AVE                                                                                CINCINNATI          OH 45206‐1206

THOMSON‐MACCONNELL CADILLAC, INC.   CHRISTOPHER MACCONNELL           2820 GILBERT AVE                                               CINCINNATI          OH 45206‐1206

THOMURE JR, WILBURN                 5 ASHWOOD DR                                                                                    FENTON              MO   63026‐4402
THOMURE, HENRY A                    11160 VILLAGE N DR               OAKWOOD APT 209                                                SAINT LOUIS         MO   63136
THOMURE, RONALD L                   11881 ALDEN PINES DR                                                                            LOWELL              MI   49331‐9783
THOMURE, SHIRLEY K                  1474 BROAD RUN ROAD                                                                             LANDENBERG          PA   19350‐1327
THON GEORG                          GRAF V. GALENSTRA▀E 72           65197 WIESBADEN             GERMANY                            WIESBADEN           DE   Germa
THON GEORG                          GRAF V GALENSTRASSE 72                                                  65197 WIESBADEN
                                                                                                            GERMANY
THON, DAVID J                       2205 WEIGL RD                                                                                   SAGINAW             MI 48609‐7081
THON, EDWARD C                      5138 KENORA DR                                                                                  SAGINAW             MI 48604
THON, GEORG                         LIESELOTTE THON                  KLARENTHALER STR 43                    65197 WIESBADEN                                Germa
                                                                                                            GERMANY
THON, GLEN O                        7112 VALENTOWN RD                                                                               VICTOR              NY   14564‐9714
THON, HELEN M                       26170 RAMPART BLVD                                                                              PUNTA GORDA         FL   33983‐6207
THON, HOWARD M                      1414 3RD ST N                                                                                   FARGO               ND   58102‐2744
THON, LEE A                         4028 18TH ST                                                                                    WYANDOTTE           MI   48192‐6921
THON, MICHAEL M                     1853 ALPENGLOW LN                                                                               LINCOLN             CA   95648‐8475
THON, RICHARD W                     8555 HERBERT ST                                                                                 SAGINAW             MI   48609‐9433
THONDA WAGNER                       4400 PELTON RD                                                                                  CLARKSTON           MI   48346‐3829
THONEN CHARLES                      13778 RICKETTS RD                                                                               HAMPTON             GA   30228‐2206
THONG RATTANAMONGKHOUNE             5287 WESTPOINTE PLAZA DR                                                                        COLUMBUS            OH   43228
THONGSAVANH, BOUACHANH V            8970 W BURDICK AVE                                                                              MILWAUKEE           WI   53227‐4553
THONGSAVANH, SAYFA                  8970 W BURDICK AVE                                                                              WEST ALLIS          WI   53227‐4553
THONGSORY, TEERAPAT                 749 S ALMANSOR ST                                                                               ALHAMBRA            CA   91801
THONIA WIGFALL                      APT 3                            4312 WEST BANCROFT STREET                                      OTTAWA HILLS        OH   43615‐7843
                              09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                      Part 37 of 40 Pg 35 of 901
Name                         Address1                           Address2                      Address3   Address4                City               State Zip
THOPPIL,TIMOTHY G            1863 LAKE LILA LANE                APT 12A8                                                         ANN ARBOR           MI 48105
THOR KIEKBUSCH               26241 WAGNER AVE                                                                                    WARREN              MI 48089‐1253
THOR ROBERT G (467092)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510
                                                                STREET, SUITE 600
THOR TRUCKING                750 WALNUT AVE                                                                                      CRANFORD           NJ   07016‐3372
THOR, CAROLYN J              150 CAYUGA RD                                                                                       LAKE ORION         MI   48362‐1304
THOR, DAVID A                777 W LEONARD RD                                                                                    LEONARD            MI   48367
THOR, PETER A                35265 DUNSTON DR                                                                                    STERLING HEIGHTS   MI   48310‐4943
THOR, PHILLIP E              1850 LYSTER LANE CT.                                                                                TROY               MI   48085
THOR, ROBERT G               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
THOR, TODD                   15331 MURRAY RD                                                                                     BYRON              MI   48418‐9040
THORA KEENE                  401 W MICHIGAN AVE                                                                                  YPSILANTI          MI   48197‐5376
THORA WESSEL                 1376 VENETIA RD                                                                                     EIGHTY FOUR        PA   15330‐2683
THORACIC CARDIOVASCU         3500 S CEDAR STREET                                                                                 LANSING            MI   48910
THORALD GRAY                 589 S JEFFERSON ST                                                                                  MARTINSVILLE       IN   46151‐2237
THORBEN MENRAD               GABELSBERGER STR. 67                                                        94315 STRAUBING,
                                                                                                         GERMANY
THORBERG RONALD              162 DUNBERRY PASS                                                                                   HUDSON             WI 54016‐7744
THORBIN, JAMES               AMERICAN FAMILY INSURANCE GROUP    SCANNING CENTER ‐ 6000                                           MADISON            WI 53783‐0001
                                                                AMERICAN PKWY
THORBJORN MOBERG
THORBURN LOUIS               PO BOX 64                                                                                           FIFE LAKE          MI 49633‐0064
THORBURN, CAROL A            182 SYDENHAM ST                                                             GANANOQUE ON CAN K7G‐
                                                                                                         1C2
THORBURN, KENNETH E          2403 S WASHBURN RD                                                                                  DAVISON            MI 48423‐8013
THORBURN, LOIS               109 FRONT ST                       P.O. BOX 64                                                      FIFE LAKE          MI 49633‐9065
THORBURN, LOIS               109 FRONT ST                       P.O. BOX 64                                                      FIFE LAKE          MI 49633
THORDAHL EUGENE              THORDAHL, EUGENE
THORDSEN, CURTIS ALLEN       HESSLER, TIMOTHY WADE              225 30TH ST STE 312                                              SACRAMENTO         CA   95816‐3359
THORELL, ALICE M             9449 SEYMOUR RD                                                                                     MONTROSE           MI   48457
THORELL, DANIEL RAY          9449 SEYMOUR RD                                                                                     MONTROSE           MI   48457‐9122
THORELL, LEANORE A           17717 SE 84TH PEYTON CT                                                                             THE VILLAGES       FL   32162‐2889
THORESEN THOMAS A (494263)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510
                                                                STREET, SUITE 600
THORESEN, DYANA M            441 MONET AVE                                                                                       PONTE VEDRA        FL 32081‐5015
THORESEN, JOHN P             916 VILLAGE WAY                                                                                     SOUTH LYON         MI 48178‐2066
THORESEN, THOMAS A           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
THORESEN, THOMAS M           3638 ESTATES DR                                                                                     TROY               MI   48084‐1123
THORESON MARIAN              THORESON, MARIAN                   4827 CANNICHE CT.                                                GLADWIN            MI   48624‐8257
THORESON, JUDY L             12618 REED RD                                                                                       BYRON              MI   48418‐9708
THORESON, KENNETH K          2519 CLOUD NINE PKWY                                                                                SEBRING            FL   33872‐9247
THORESON, LAYNE E            2901 N RANGELINE RD                                                                                 HUNTINGTON         IN   46750‐9009
THORESON, LEIF S             1301 E DEBBIE LN STE 102                                                                            MANSFIELD          TX   76063‐3310
THORESON, MARIAN             6280 BEACONWOOD RD                                                                                  LAKE WORTH         FL   33467‐6806
THORESON, MARIAN             4827 CANNICHE CT                                                                                    GLADWIN            MI   48624‐8257
THORESON, MATTHEW L          621 E ADVENTURE CT                                                                                  BELOIT             WI   53511‐2162
THORESON, NORMA E            1301 E DEBBIE LN                   STE 102                                                          MANSFIELD          TX   76063‐3310
THORESON, PAUL DAVID         685 OAKRIDGE DR                                                                                     BOARDMAN           OH   44512‐3542
THORESON, PAULENE D          4319 RIVER BLUFF DR                                                                                 FORT WAYNE         IN   46835
THORESON, ROBERT E           12618 REED RD                                                                                       BYRON              MI   48418‐9708
                                 09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                        Part 37 of 40 Pg 36 of 901
Name                             Address1                         Address2                      Address3   Address4               City                  State Zip
THORESON, ROBERT E               27 WINDEMERE PL                                                                                  GROSSE POINTE FARMS    MI 48236‐3080
THORFINN OLSON                   2608 E RACINE ST APT 16                                                                          JANESVILLE             WI 53545‐5228
THORINGTON, ALLEN C              1325 W KITCHEN RD                                                                                LINWOOD                MI 48634‐9755
THORINGTON, FRANCES              11251 MOSHER RD                                                                                  OTISVILLE              MI 48463‐9729
THORINGTON, HAROLD E             5452 WINCHESTER WAY                                                                              GLADWIN                MI 48624‐8511
THORINGTON, JACQUELINE           2812 WENONAH DR SW                                                                               BIRMINGHAM             AL 35211‐5724
THORINGTON, JANICE M             3814 E ST ANDREWS                                                                                MIDLAND                MI 48642‐6157
THORINGTON, JOHN L               11201 MOSHER RD                                                                                  OTISVILLE              MI 48463‐9729
THORINGTON, JOHN LEWIS           11201 MOSHER RD                                                                                  OTISVILLE              MI 48463‐9729
THORINGTON, RONALD J             3388 E WILSON RD                                                                                 CLIO                   MI 48420‐9743
THORLAKSEN LILA                  THORLAKSEN, LILA                 PO BOX 102                                                      STANLEY                ND 58784‐0102
THORLAKSEN, LILA                 PO BOX 102                                                                                       STANLEY                ND 58784‐0102
THORLAKSON, DORIE R              4602 217TH ST SW                                                                                 MOUNTLAKE TERRACE      WA 98043‐3492
THORLAND, JAMES E                2332 SOLANO DR                                                                                   WOLVERINE LAKE         MI 48390‐2459
THORLEY JR, FRANK                12310 WINDSOR BEACH DR                                                                           FENTON                 MI 48430‐9765
THORLEY, BRUCE E                 8397 CARRIAGE LN                                                                                 PORTLAND               MI 48875‐9778
THORLEY, DOUGLAS R               1001 MAKARIOS DR                                                                                 SAINT AUGUSTINE        FL 32080‐8794
THORLEY, GARFIELD R              3882 OAK HILLS CIR                                                                               PORT HURON             MI 48060‐8623
THORLTON, AUDREY M               1129 INVERNESS ST                                                                                PORT CHARLOTTE         FL 33952‐1774
THORLTON, JERRY L                767 COLONIAL WAY                                                                                 GREENWOOD              IN 46142‐1814
THORLTON, MICHAEL                3115 GOLF CIR                                                                                    DANVILLE                IL 61832‐1226
THORMAN, JOHN E                  5845 34 MILE RD                                                                                  BRUCE TWP              MI 48065‐2906
THORMAN, SUSAN M                 4952 ROYALTON CENTER RD                                                                          GASPORT                NY 14067‐9345
THORMAN, THOMAS L                34585 ARMADA RIDGE RD                                                                            RICHMOND               MI 48062‐5326
THORMAN, TODD W                  4952 ROYALTON CENTER RD                                                                          GASPORT                NY 14067‐9345
THORMANN, CARL W                 1403 WASHINGTON BLVD NE                                                                          LAKE PLACID            FL 33852‐8856
THORMEIER, ROSS C                5670 TAMARIX LN                                                                                  SAGINAW                MI 48603‐2812
THORMEYER, GISELA                4323 MOFFETT RD                                                                                  PORT CHARLOTTE         FL 33948‐2459
THORN AUTO/NORHTBRK              3180 MACARTHUR BLVD                                                                              NORTHBROOK              IL 60062‐1904
THORN AUTOMATED/OH               835 SHARON DRIVE                                                                                 WESTLAKE               OH 44145
THORN ELBERT GUNTER (360939)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK                VA 23510
                                                                  STREET, SUITE 600
THORN GERSHON TYMANN & BONANNI   5 WEMBLEY CT NEW KARNER RD                                                                       ALBANY                NY 12212
LLP
THORN GREEN AUTOMOTIVE LTD       47 GUARDSMAN RD UNIT 1                                                    THORNHILL ON L3T 6L2
                                                                                                           CANADA
THORN JOHN E & JENNIFER L        4546 PRITCHARD OHLTOWN RD                                                                        NEWTON FALLS          OH 44444‐9711
THORN JOSEPH                     THORN, JOSEPH                    4740 E COOPER STREET                                            TUCSON                AZ 85711
THORN JR, NELSON O               12006 S GRANGE RD                                                                                EAGLE                 MI 48822‐9773
THORN PRESS LTD
THORN TENILLE                    THORN, TENILLE                   89 N HADDON AVE                                                 HADDONFIELD           NJ   08033‐2423
THORN WALTER (470288)            LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                         MIAMI                 FL   33143‐5163
THORN, ANNIE L                   1030 ALPINE DR                                                                                   SANDUSKY              OH   44870‐5017
THORN, BOBBY D                   298 COUNTY ROAD 428                                                                              HILLSBORO             AL   35643‐3637
THORN, CAROLYN M                 16860 ASBURY PARK                                                                                DETROIT               MI   48235‐3534
THORN, CHARLES D                 14001 SHAWHAN CT                                                                                 MIDLOTHIAN            VA   23114‐3305
THORN, CHERYL T                  6172 SW 51ST LN                                                                                  GAINESVILLE           FL   32608‐3939
THORN, CLAUDE R                  19640 SAINT AUBIN ST                                                                             DETROIT               MI   48234‐1250
THORN, CURTIS T                  1030 ALPINE DR                                                                                   SANDUSKY              OH   44870‐5017
THORN, DEBRA J                   1224 BURLINGTON DR                                                                               GRAND LEDGE           MI   48837‐2323
THORN, DONALD R                  2584 LA LIQUE CIR                                                                                WEST PALM BEACH       FL   33410‐1415
THORN, EDWARD C                  115 WALNUT LN                                                                                    YARDLEY               PA   19067‐2027
                                09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                        Part 37 of 40 Pg 37 of 901
Name                            Address1                          Address2                      Address3   Address4         City                 State Zip
THORN, ELBERT GUNTER            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                                  STREET, SUITE 600
THORN, ELOUISE P                302 10TH ST NE                                                                              RED BAY              AL   35582‐3610
THORN, ELOUISE P                302 10TH STREET N E                                                                         RED BAY              AL   35582‐3610
THORN, GENEVIEVE H              84 S RINGOLD ST                                                                             JANESVILLE           WI   53545‐2561
THORN, GERALD F                 1103 N PRICETOWN RD                                                                         DIAMOND              OH   44412‐9603
THORN, HAZEL J                  PO BOX 311                                                                                  SWARTZ               LA   71281‐0311
THORN, HAZEL JANE               PO BOX 311                                                                                  SWARTZ               LA   71281‐0311
THORN, HELEN M                  14001 SHAWHAN CT                                                                            MIDLOTHIAN           VA   23114‐3305
THORN, JAN                      1761 ARCH RD                                                                                EATON RAPIDS         MI   48827‐8224
THORN, JOSEPH                   4740 E COOPER ST                                                                            TUCSON               AZ   85711‐3616
THORN, JUNIOUS L                2201 W. CARPENTER RD                                                                        FLINT                MI   48505
THORN, KAY F                    4518 N 66TH ST                                                                              MILWAUKEE            WI   53218‐5511
THORN, KELLEY D                 102 LENTZ ST APT H                                                                          NASHVILLE            MI   49073
THORN, LOVENIA                  90 OVERLOOK DR                                                                              SEBASTIAN            FL   32976‐2681
THORN, MANUEL L                 43244 STATE ROUTE 18                                                                        WELLINGTON           OH   44090‐9680
THORN, NICHOLAS W               1224 BURLINGTON DR                                                                          GRAND LEDGE          MI   48837‐2323
THORN, PEGGY D                  298 COUNTY ROAD 428                                                                         HILLSBORO            AL   35643‐3637
THORN, RICHARD D                26650 PARKINGTON ST                                                                         ROSEVILLE            MI   48066
THORN, ROBERT G                 7372 BACON RD                                                                               PETERSBURG           MI   49270‐9323
THORN, ROBERT GORDON            7372 BACON RD                                                                               PETERSBURG           MI   49270‐9323
THORN, SUSAN K                  6323 OAKALLA DR                                                                             BRIGHTON             MI   48116‐9582
THORN, THOMAS L                 15010 S HINMAN RD                                                                           EAGLE                MI   48822‐9703
THORN, WALTER                   THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES         FL   33146
THORN, WALTER                   LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                   MIAMI                FL   33143‐5163
THORN, WILLIAM L                213 N OLIVE ST                                                                              FARMLAND             IN   47340‐9697
THORNAPPLE GRAND CONSERVATION   551 COURTHOUSE DR STE 3                                                                     CHARLOTTE            MI   48813‐1054
DISTRICT
THORNAPPLE TOWNSHIP             200 E MAIN ST                                                                               MIDDLEVILLE          MI 49333‐8458
THORNBERG, WILLIAM
THORNBERRY JAMES                THORNBERRY, CONNIE                333 E CITY AVE STE 716                                    BALA CYNWYD          PA   19004‐1514
THORNBERRY JAMES                THORNBERRY, JAMES                 333 E CITY AVE STE 716                                    BALA CYNWYD          PA   19004‐1514
THORNBERRY, BRIAN P             3786 WESTLYN DR                                                                             ORION                MI   48359‐1455
THORNBERRY, BURDINE             7368 BLANCHARD DR                                                                           N RIDGEVILLE         OH   44039‐4103
THORNBERRY, CARLA S             3786 WESTLYN DR                                                                             ORION                MI   48359‐1455
THORNBERRY, CHARLES H           9107 SPLIT RAIL DR                                                                          LOUISVILLE           KY   40272‐2322
THORNBERRY, CONNIE              COFFEY KAYE MYERS & OLLEY         333 E CITY AVE STE 716                                    BALA CYNWYD          PA   19004‐1514
THORNBERRY, DALLAS E            1608 EAST 44TH STREET                                                                       ANDERSON             IN   46013‐2555
THORNBERRY, DANNY B             6035 GROVE AVE                                                                              GRAND BLANC          MI   48439‐5045
THORNBERRY, DANNY BILL          6035 GROVE AVE                                                                              GRAND BLANC          MI   48439‐5045
THORNBERRY, FRANCES E           1020 INGLESIDE AVE                                                                          FLINT                MI   48507‐2330
THORNBERRY, JAMES               13380 NEAL RD                                                                               DAVISBURG            MI   48350‐3300
THORNBERRY, JAMES               COFFEY KAYE MYERS & OLLEY         333 E CITY AVE STE 716                                    BALA CYNWYD          PA   19004‐1514
THORNBERRY, JULIE               800 HOUSTON AV                                                                              BENTON               AR   72015‐3986
THORNBERRY, JULIE               800 HOUSTON DR                                                                              BENTON               AR   72015‐3986
THORNBERRY, MARJORIE            2004 ASHBOURNE RD                                                                           ANDERSON             IN   46011‐2700
THORNBERRY, MARJORIE S          2004 ASHBOURNE RD                                                                           ANDERSON             IN   46011‐2700
THORNBERRY, MARK A              789 MUIRFIELD CIR                                                                           BOWLING GREEN        KY   42104‐5548
THORNBERRY, MARK R              4967 OAK HILL DRIVE                                                                         WATERFORD            MI   48329‐1752
THORNBRO CHARLES                27419 URSULINE ST                                                                           SAINT CLAIR SHORES   MI   48081‐3468
THORNBRO, BILLYJOE              9821 S TWILIGHT RD                                                                          DALEVILLE            IN   47334‐9454
THORNBRO, CHARLES W             27419 URSULINE ST                                                                           ST CLAIR SHRS        MI   48081‐3468
                           09-50026-mg           Doc 7123-39         Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                    Part 37 of 40 Pg 38 of 901
Name                       Address1                            Address2                      Address3             Address4         City           State Zip
THORNBRO, CHRISTOPHER R    2517 TAFT AVE                                                                                           YOUNGSTOWN      OH 44502‐2658
THORNBURG BROTHERS INC     PO BOX 95                                                                                               MODOC           IN 47358‐0095
THORNBURG FAMILY TRUST     MONTE THORNBURG                     DIANE THORNBURG               3456 DONLORENZO DR                    CARLSBAD        CA 92010
THORNBURG TED (472180)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA 23510
                                                               STREET, SUITE 600
THORNBURG, ALICE I         2310 HIGHLAND RD                                                                                        ANDERSON       IN    46012‐1922
THORNBURG, AMBER MARIE     7720 E COUNTY ROAD 350 N                                                                                MUNCIE         IN    47303‐9139
THORNBURG, BERNICE R       # 134                               5801 WEST BETHEL AVENUE                                             MUNCIE         IN    47304‐9549
THORNBURG, CHARLES E       11253 SEYMOUR RD                                                                                        MONTROSE       MI    48457‐9066
THORNBURG, DONNA K         1424 S WALTON ST                                                                                        WESTLAND       MI    48186‐4141
THORNBURG, FRANK R         286 CLARK ST APT 5                                                                                      MONTROSE       MI    48457‐9451
THORNBURG, FRANK R         286 CLARK ST                        APT 5                                                               MONTROSE       MI    48457‐9461
THORNBURG, GARY L          APT 1136                            2150 NORTH TENAYA WAY                                               LAS VEGAS      NV    89128‐0407
THORNBURG, GARY L          2150 N TENAYA WAY APT 1136                                                                              LAS VEGAS      NV    89128‐0407
THORNBURG, HAROLD D        GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                          EDWARDSVILLE   IL    62025‐0959
                           ANTOGNOLI
THORNBURG, HAROLD D        C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                                EDWARDSVILLE    IL   62025
                           ROWLAND P C
THORNBURG, JACK M          140 RIDGEWOOD DR                                                                                        TROY           MO    63379‐5631
THORNBURG, JAMES D         7435 DODGE RD                                                                                           MONTROSE       MI    48457‐9193
THORNBURG, JEFFREY E       10222 WAYWARD WIND DR                                                                                   INDIANAPOLIS   IN    46239‐9101
THORNBURG, JERRY W         7720 E COUNTY ROAD 350 N                                                                                MUNCIE         IN    47303‐9139
THORNBURG, JOSEPH S.       43511 EAST STATE ROUTE NORTH                                                                            CREIGHTON      MO    64739‐9641
THORNBURG, KELCIE P        11253 SEYMOUR RD                                                                                        MONTROSE       MI    48457‐9066
THORNBURG, KENNETH H       1955 FELT ST                                                                                            HUNTINGTON     IN    46750‐4141
THORNBURG, LAURIE E        536 E 6 MILE CREEK RD                                                                                   HENDERSON      MI    48841‐9528
THORNBURG, LISA            12376 LAKE RD                                                                                           OTTER LAKE     MI    48464‐9106
THORNBURG, LYNN K          311 N VINE ST                                                                                           MUNCIE         IN    47305‐1940
THORNBURG, MELTON E        43511 E STATE RTE N                                                                                     CREIGHTON      MO    64739‐9641
THORNBURG, MELTON ESTEL    43511 E STATE RTE N                                                                                     CREIGHTON      MO    64739‐9641
THORNBURG, MICHAEL B       375 N SMITH RD                                                                                          OWOSSO         MI    48867‐8116
THORNBURG, MICHAEL BARRY   375 N SMITH RD                                                                                          OWOSSO         MI    48867‐8116
THORNBURG, MIKEL E         8310 W BUTTERNUT RD                                                                                     MUNCIE         IN    47304‐9794
THORNBURG, MIKEL EARL      8310 W BUTTERNUT RD                                                                                     MUNCIE         IN    47304‐9794
THORNBURG, PATRICIA G      5323 MICK AVE SE                                                                                        KENTWOOD       MI    49548‐5815
THORNBURG, PAUL E          11932 W WINDSOR RD                                                                                      PARKER CITY    IN    47368‐9341
THORNBURG, PAUL EDWARD     11932 W WINDSOR RD                                                                                      PARKER CITY    IN    47368‐9341
THORNBURG, PAUL K          6361 N DADEN DR                                                                                         ALEXANDRIA     IN    46001‐8642
THORNBURG, PEGGY SHAWN     11253 SEYMOUR RD                                                                                        MONTROSE       MI    48457‐9066
THORNBURG, RICHARD A       PO BOX 255                                                                                              OTTER LAKE     MI    48464‐0255
THORNBURG, RICHARD A       12376 LAKE RD                                                                                           OTTER LAKE     MI    48464‐9106
THORNBURG, RICHARD W       8909 E COUNTY ROAD 500 N                                                                                ALBANY         IN    47320‐9543
THORNBURG, RYAN B          2603 OAK FOREST DR                                                                                      TROY           MO    63379‐2338
THORNBURG, RYAN BRADLEY    2603 OAK FOREST DR                                                                                      TROY           MO    63379‐2338
THORNBURG, SHERRI          4125 FOREST BROOK DR                                                                                    EDGEMOOR       SC    29712‐8730
THORNBURG, TED             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK        VA    23510‐2212
                                                               STREET, SUITE 600
THORNBURGH, BOBBY G        1224 ELK LN                                                                                             ELWOOD         IN    46036‐3229
THORNBURGH, GLENN          6105 S CHARLTON PARK RD                                                                                 HASTINGS       MI    49058‐9337
THORNBURGH, HILDRED M      122 MAPLE ST APT 5                  STONE MANOR APARTMENTS                                              MIO            MI    48647‐9447
THORNBURGH, HILDRED M      STONE MANOR APARTMENTS              122 MAPLE ST., APT #5                                               MIO            MI    48647‐9447
THORNBURGH, TERRY L        7340 W DIVISION RD                                                                                      BARGERSVILLE   IN    46106‐8976
                         09-50026-mg             Doc 7123-39       Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                  Part 37 of 40 Pg 39 of 901
Name                     Address1                            Address2                      Address3   Address4               City               State Zip
THORNBURGH, WILLIAM K    951 S BULL RUN RD                                                                                   FOWLERVILLE         MI 48836‐9263
THORNBURY, ANNA L        3931 FLORAL AVENUE                                                                                  CINCINNATI          OH 45212‐3924
THORNBURY, DAVID R       5090 VAN NESS DR                                                                                    BLOOMFIELD HILLS    MI 48302‐2660
THORNBURY, LEWIS L       7231 MCKEAN RD                                                                                      YPSILANTI           MI 48197‐9413
THORNBURY, LINDA G       9158 VAN NUYS BLVD UNIT 3                                                                           PANORAMA CITY       CA 91402‐1476
THORNBURY, MARK A        1568 MISTY LAKE DR                                                                                  ORANGE PARK         FL 32003‐7279
THORNBURY, ROGER R       1000 WHALEY RD.                                                                                     NEW CARLISLE        OH 45344‐9700
THORNBURY, ROGER R       1000 WHALEY RD                                                                                      NEW CARLISLE        OH 45344‐9700
THORNBURY, RONALD W      51100 WARREN RD                                                                                     CANTON              MI 48187‐1104
THORNBURY, WILLIAM J     6466 OVERLAND DR                                                                                    NEW CARLISLE        OH 45344‐9008
THORNBY, DAVID           1439 S HIDDEN CREEK DR                                                                              SALINE              MI 48176‐9022
THORNDIKE STRONG         20470 SHEFFIELD RD                                                                                  DETROIT             MI 48221‐1316
THORNDYCRAFT, ERNEST A   346 HAUXWELL DR                                                                                     LAKE ORION          MI 48362‐3632
THORNDYCRAFT, ERNEST M   654 WOODLAND AVE                                                                                    LAKE ORION          MI 48362‐2672
THORNE ANGELINE          73 3RD ST                                                                                           DEARBORN HEIGHTS    MI 48127‐1932
THORNE JAMES (459399)    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                             STREET, SUITE 600
THORNE JR, HUGH M        4300 FARGO AVE                                                                                      LOUISVILLE         OH   44641‐9431
THORNE, ALPHA J          1170 RIVER VALLEY DR#1172                                                                           FLINT              MI   48532‐2931
THORNE, BRIAN C          3641 W 138TH ST                                                                                     CLEVELAND          OH   44111‐3333
THORNE, DANIEL H         RR 2                                                                                                PARISH             NY   13131
THORNE, DARRYL           29140 TRAILWOOD DR                                                                                  WARREN             MI   48092‐4695
THORNE, DELBERT L        3889 SKYVIEW DR                                                                                     BRUNSWICK          OH   44212‐1230
THORNE, DERRICK L        727 N FAYETTE ST                                                                                    SAGINAW            MI   48602‐4347
THORNE, DIANE M          13 MEADOW RD                                                                                        HINGHAM            MA   02043‐1425
THORNE, EARLENE E        2002 HONEY RUN RD                                                                                   AMBLER             PA   19002‐3746
THORNE, FRED C           1908 N. KESSLER BOULEVARD                                                                           INDIANAPOLIS       IN   46222
THORNE, GARY L           2451 FISHER RD                                                                                      HOWELL             MI   48855‐9711
THORNE, GENE W           7320 WINCHESTER RD                                                                                  CARROLL            OH   43112‐9547
THORNE, GERALD A         6977 WATERS AVE                                                              NIAGARA FALLS ONTARI
                                                                                                      CANADA L2G‐5X4
THORNE, HENRY F          145 HIDDEN VALLEY DR                                                                                PITTSBURGH         PA   15237
THORNE, HILARY I         8323 COLONIAL ST                                                                                    DEARBORN HTS       MI   48127‐1376
THORNE, JACK C           3833 KLEPINGER RD                                                                                   DAYTON             OH   45416‐1922
THORNE, JAMES            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
THORNE, JAMES D          9287 MONICA DR                                                                                      DAVISON            MI   48423‐2861
THORNE, JASON A          42 LAKEVIEW DRIVE                                                                                   COLUMBIANA         OH   44408‐1328
THORNE, JOHN E           2756 TAMARACK DR                                                                                    ARNOLD             MO   63010‐3715
THORNE, JUANITA F        HC 71 BOX 106                                                                                       CAPON BRIDGE       WV   26711
THORNE, LARRY E          514 EMERSON AVE                                                                                     PONTIAC            MI   48342‐1824
THORNE, LOUIS D          343 FRENCH STREET ROAD                                                                              PARISH             NY   13131
THORNE, LUTHER H         25390 HARCOURT ST                                                                                   FARMINGTON HILLS   MI   48336‐1224
THORNE, LYLE J           4689 FOREST AVE                                                                                     WATERFORD          MI   48328‐1117
THORNE, MARIAN R         11367 N JENNINGS RD                                                                                 CLIO               MI   48420‐1513
THORNE, MATTHEW J        1205 W HAMPTON RD                                                                                   ESSEXVILLE         MI   48732‐9703
THORNE, MATTHEW JAMES    1205 W HAMPTON RD                                                                                   ESSEXVILLE         MI   48732‐9703
THORNE, MICHAEL A        433 STONE CREST AVE                                                                                 BOWLING GREEN      KY   42101‐8868
THORNE, MINNIE L         PO BOX 517                                                                                          CHOWCHILLA         CA   93610‐0517
THORNE, PAULA A.         1966 TUDOR ST                       C/O JOAN KEARNS                                                 CUYAHOGA FALLS     OH   44221‐4158
THORNE, PHILLIP P        BEASLEY, ALLEN, CROW, METHVIN, R.   PO BOX 4160                                                     MONTGOMERY         AL   36103‐4160
                         GRAHAM ESDALE, JR, ATTY
                             09-50026-mg             Doc 7123-39       Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                      Part 37 of 40 Pg 40 of 901
Name                         Address1                            Address2                       Address3   Address4               City                 State Zip
THORNE, PHYLLIS              PO BOX 494                                                                                           SAGINAW               MI 48605
THORNE, REGINA               3322 HOPE LAKE DR                                                                                    BRIGHTON              MI 48114
THORNE, RICHARD G            167 BRANDI WAY                                                                                       WINCHESTER            TN 37398‐1466
THORNE, RICHARD L            84 BROOKWOOD WAY S                                                                                   MANSFIELD             OH 44906‐2702
THORNE, ROBERT A             6869 S COUNTY LINE RD                                                                                ALGER                 MI 48610‐9750
THORNE, ROBERT L             47044 DENTON RD                                                                                      BELLEVILLE            MI 48111‐2202
THORNE, RONALD J             306 W HART ST                                                                                        BAY CITY              MI 48706
THORNE, RONNIE               489 CAIN RD                                                                                          SOMERVILLE            AL 35670‐4713
THORNE, RUSSELL E            48882 8TH AVE                                                                                        GRAND JUNCTION        MI 49056‐9406
THORNE, SHARON               BENJAMIN BAKER @ BEASLEY ALLEN CROW PO BOX 4160                                                      MONTGOMERY            AL 36103‐4160
                             METHVIN PORTIS & MILES
THORNE, STEPHANIE L          10041 ALCOSTA BLVD                                                                                   SAN RAMON            CA   94583‐3001
THORNE, SUSAN J              7191 GREEN VALLEY DRIVE                                                                              MENTOR               OH   44060‐6562
THORNE, THOMAS A             1489 SALEM RD                                                                                        MINOR HILL           TN   38473‐5083
THORNE, TODD A               9860 CHESTERTON DR                                                                                   INDIANAPOLIS         IN   46280‐1846
THORNE, WALTRAUD O           6914 VELMA AVE                                                                                       PARMA                OH   44129‐1460
THORNE, WAYNE D              4745 WARWICK DR S                                                                                    CANFIELD             OH   44406‐9241
THORNE, WILLIAM              2701 8‐75 BUS SPUR                                                                                   SAULT SAINTE MARIE   MI   49783
THORNE, WILLIAM B            3970A JUNIATA                                                                                        SAINT LOUIS          MO   63116
THORNE, WILLIAM D            333 WADESBORO RD                                                                                     DEXTER               KY   42036‐9525
THORNE, WILLIAM J            6728 AIRPORT RD                                                                                      WEST JORDAN          UT   84084‐4624
THORNELL FUNCHES             4126 LAWNDALE AVE                                                                                    FLINT                MI   48504‐3554
THORNELL GEORGE C (358800)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK              VA   23510
                                                                 STREET, SUITE 600
THORNELL, ANITA M            49109 MAURICE DR                                                                                     CHESTERFIELD         MI 48047‐1732
THORNELL, ELIZABETH J        CROWN TOWERS                        403‐16 TOWERING HEIGHTS BLVD              ST CATHARINES ONTARI
                                                                                                           CANADA L2T‐3G9
THORNELL, GARETT L           16453 ROAD 63                                                                                        ANTWERP              OH 45813‐9227
THORNELL, GEORGE C           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK              VA 23510
                                                                 STREET, SUITE 600
THORNELL, JAMES              PO BOX 34                                                                                            COVINGTON            TX   76636‐0034
THORNELL, LEONARD L          10308 HOMESTEAD RD                  PO BOX 187                                                       BEULAH               MI   49617‐9390
THORNELL, MAUREEN E          1499 WILDWOOD CT                                                                                     FLINT                MI   48532‐2072
THORNHILL SR., DUANE         3295 ALTAMONT AVE                                                                                    CLEVELAND HTS        OH   44118‐1807
THORNHILL SUPERSTORE, INC.   US 119 AT TRACE FORK RD                                                                              CHAPMANVILLE         WV   25508
THORNHILL SUPERSTORE, INC.   WALLY THORNHILL                     US 119 AT TRACE FORK RD                                          CHAPMANVILLE         WV   25508
THORNHILL WILLIAMS           559 BEDLINGTON DR                                                                                    ROCHESTER HILLS      MI   48307‐3577
THORNHILL, ALVIE             SHANNON LAW FIRM                    100 W GALLATIN ST                                                HAZLEHURST           MS   39083‐3007
THORNHILL, ANITA L           77500 S 6TH ST SPC B16                                                                               COTTAGE GROVE        OR   97424‐2912
THORNHILL, DENNIS L          6843 PABLO DRIVE                                                                                     HUBER HEIGHTS        OH   45424‐5424
THORNHILL, DENNIS L          6843 PABLO DR                                                                                        HUBER HEIGHTS        OH   45424‐2222
THORNHILL, DIEDRE D          RT 3 BOX 145                                                                                         SPRINGVILLE          UT   84663
THORNHILL, DONNA             62 CYPRESS LN LOOP                                                                                   WARRENTON            MO   63383‐5262
THORNHILL, DONNA             27820 CYPRESS LANE LOOP E                                                                            WARRENTON            MO   63383‐5682
THORNHILL, ENID L            3978 SHAWNEE TRAIL                                                                                   JAMESTOWN            OH   45335‐1164
THORNHILL, FRANK J           5166 CHILSON RD                                                                                      HOWELL               MI   48843‐9452
THORNHILL, GARY W            3917 N PRESCOTT ST                                                                                   KINGMAN              AZ   86409‐3317
THORNHILL, GENEEN A          120 WEST APPLE STREET                                                                                DAYTON               OH   45402‐2617
THORNHILL, GLENNA L          520 BAILEY ST                                                                                        HAMILTON             OH   45011‐2626
THORNHILL, HAZEL L           4601 ASHBURTON PL                                                                                    STERLING HEIGHTS     MI   48310‐5044
THORNHILL, JAMES L           394 WALNUT HILL RD                                                                                   WOONSOCKET           RI   02895‐2727
THORNHILL, JAMES W           209 B ST                                                                                             FAYETTEVILLE         NC   28301‐5127
                               09-50026-mg            Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                    Part 37 of 40 Pg 41 of 901
Name                           Address1                       Address2                        Address3   Address4               City               State Zip
THORNHILL, JESSE J             PO BOX 150781                                                                                    ATLANTA             GA 30315‐0193
THORNHILL, LAUREEN             30111 MUIRLAND DRIVE                                                                             FARMINGTN HLS       MI 48334‐2054
THORNHILL, MARIE E             PO BOX 952                                                                                       BUFORD              GA 30515‐0952
THORNHILL, ROBERT L            111 SANDSTONE CIR              HOURGLASS LAKES                                                   VENICE              FL 34293‐6023
THORNHILL, ROSCOE F            5093 N VAN NESS BLVD                                                                             FRESNO              CA 93711‐2851
THORNHILL, ROSCOE FRANKLIN     5093 N VAN NESS BLVD                                                                             FRESNO              CA 93711
THORNHILL, TRACY               18312 THORNRIDGE DR                                                                              GRAND BLANC         MI 48439‐9234
THORNHILL, VERA M              771 PHILPOT RD                                                                                   WEST MONROE         LA 71292‐2653
THORNHILL, VERMEL              488 HOWLAND AVE                                                                                  PONTIAC             MI 48341‐2764
THORNIA REESE                  15880 PREVOST ST                                                                                 DETROIT             MI 48227‐1967
THORNLEY FALLIS                730 ‐ 55 METCALFE ST                                                      OTTAWA CANADA ON K1P
                                                                                                         6L5 CANADA
THORNLEY, DONALD M             123 MILL ST E                                                                                    BALDWIN            FL   32234‐1421
THORNLEY, RONALD V             32 BARRINGTON DR                                                                                 SAINT PETERS       MO   63376‐4512
THORNLEY, YVONNE S             32 BARRINGTON DR                                                                                 SAINT PETERS       MO   63376‐4512
THORNOCK LEROY (492191)        BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH   44067
                                                              PROFESSIONAL BLDG
THORNS, LORECE                 202 W. PASADENA AVE                                                                              FLINT              MI   48505‐4012
THORNS, LORECE                 202 W PASADENA AVE                                                                               FLINT              MI   48505‐4012
THORNSBERRY KENNETH (460240)   DUFFY & ASSOCS JOHN J          23823 LORAIN RD                                                   NORTH OLMSTED      OH   44070
THORNSBERRY, ANNA L            5925 TRAVELERS WAY                                                                               FORT PIERCE        FL   34982‐4061
THORNSBERRY, BEULAH F          6476 N BECK RD                                                                                   CANTON             MI   48187‐4712
THORNSBERRY, BRENDA S          9820 VAN BUREN ST                                                                                BELLEVILLE         MI   48111‐1444
THORNSBERRY, GEORGE E          5925 TRAVELERS WAY                                                                               FORT PIERCE        FL   34982‐4061
THORNSBERRY, JOHN              1167 CRANFORD HOLLOW RD                                                                          COLUMBIA           TN   38401‐7645
THORNSBERRY, JUANITA           7644 N CHARLESWORTH ST                                                                           DEARBORN HEIGHTS   MI   48127‐1614
THORNSBERRY, LINDA M           307 BERT LN                                                                                      INKSTER            MI   48141‐1079
THORNSBERRY, PHYLLIS JEAN      807 LAFAYETTE AVE                                                                                NILES              OH   44446‐3120
THORNSBERRY, RAY               54 N PLEASANT AVE                                                                                NILES              OH   44446‐1135
THORNSBERRY, WANDA L           88 PLYMOUTH ST                                                                                   PLYMOUTH           OH   44865‐1063
THORNSBERY, JOSHUA E           2157 GATES AVE                                                                                   STREETSBORO        OH   44241‐5815
THORNSBERY, SANDRA L           2157 GATES AVE                                                                                   STREETSBORO        OH   44241‐5815
THORNSBURG, ADA                49 GLADYS AVE                                                                                    OWINGSVILLE        KY   40360‐0360
THORNSBURG, JR.,CHARLES E      5609 SOMERS GRATIS RD                                                                            CAMDEN             OH   45311‐9717
THORNSBURY, ROBERT T           112 N GREENWAY DR                                                                                TRINITY            AL   35673‐6207
THORNTHWAITE, ARTHUR J         315 SEQUOIA LN                                                                                   LEONARD            MI   48367‐4281
THORNTHWAITE, GARY A           10373 TWIN LAKES DR                                                                              OTISVILLE          MI   48463‐9756
THORNTHWAITE, MARJORIE E       6947 JOHN R RD                                                                                   TROY               MI   48085‐1051
THORNTON & STEFANOVICH, INC.   STEFAN STEFANOVICH             1615 SUNSET AVE                                                   CLINTON            NC   28328‐3119
THORNTON ALEXANDER             102 LATHAM CIR                                                                                   SAUGERTIES         NY   12477
THORNTON ANDERSON              12089 GOODFIELD CT                                                                               CINCINNATI         OH   45240‐1111
THORNTON BILL A (626805)       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510
                                                              STREET, SUITE 600
THORNTON BILLY RAY (660957)    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                              STREET, SUITE 600
THORNTON CHARLIE (641995)      ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                          WILMINGTON         DE   19801‐1813
THORNTON CHEVROLET             PO BOX 456                                                                                       MANCHESTER         PA   17345‐0456
THORNTON CHEVROLET, INC.       JOHN THORNTON                  1971 THORNTON RD                                                  LITHIA SPRINGS     GA   30122‐2633
THORNTON CHEVROLET, INC.       WILLIAM THORNTON               PO BOX 456                                                        MANCHESTER         PA   17345‐0456
THORNTON DAVID                 THORNTON, DAVID                9910 WEST LANDMARK ST.                                            BOISE              ID   83704
THORNTON DONALD (464313)       KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                                     CLEVELAND          OH   44114
                                                              BOND COURT BUILDING
                                09-50026-mg              Doc 7123-39        Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                           Part 37 of 40 Pg 42 of 901
Name                            Address1                              Address2                           Address3     Address4            City               State Zip
THORNTON EARLY & NAUMES         RE: BROWN ANDREW J (ESTATE OF)        100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110‐2106
THORNTON EARLY & NAUMES         RE: WIRWICZ ROBERT                    100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110‐2106
THORNTON EARLY & NAUMES         RE: HAUN RICHARD E                    100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110
THORNTON EARLY & NAUMES         RE: DOWNS WILLIAM O                   100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110
THORNTON EARLY & NAUMES         RE: RUSSELL RONALD O (ESTATE OF)      100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110
THORNTON EARLY & NAUMES         RE: SMALL JOHN S                      100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110
THORNTON EARLY & NAUMES         RE: FENTON JAMES C (ESTATE OF)        100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110‐2106
THORNTON EARLY & NAUMES         RE: FUDALA FRANK J (ESTATE OF)        100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110
THORNTON EARLY & NAUMES         RE: LECK DONALD C                     100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110
THORNTON EARLY & NAUMES         RE: LINEHAN BERNARD M (ESTATE OF)     100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110‐2106
THORNTON EARLY & NAUMES         RE: MACINNIS ROBERT J (ESTATE OF)     100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110
THORNTON EARLY & NAUMES         RE: SOREY EDWARD C                    100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110
THORNTON EARLY & NAUMES         RE: POLCHLOPEK EDWARD A (ESTATE OF)   100 SUMMER ST                      3OTH FLOOR                       BOSTON              MA 02110‐2106

THORNTON EARLY & NAUMES         RE: NEHILEY JOHN (ESTATE OF)          100 SUMMER ST                      3OTH FLOOR                       BOSTON             MA   02110
THORNTON EARLY & NAUMES         RE: BROWN GEORGE (ESTATE OF)          100 SUMMER ST                      3OTH FLOOR                       BOSTON             MA   02110
THORNTON EARLY & NAUMES         RE: LANGIS RICHARD E                  100 SUMMER ST                      3OTH FLOOR                       BOSTON             MA   02110‐2106
THORNTON EARLY & NAUMES         RE: MOAN HAROLD E (ESTATE OF)         100 SUMMER ST                      3OTH FLOOR                       BOSTON             MA   02110
THORNTON EARLY & NAUMES         RE: RODGERSON WALLACE J               100 SUMMER ST                      3OTH FLOOR                       BOSTON             MA   02110‐2106
THORNTON EMMA                   2132 DENHAM AVE                                                                                           COLUMBIA           TN   38401‐4425
THORNTON EVERSOLE               12015 BLACK RD                                                                                            MARYSVILLE         OH   43040‐9419
THORNTON GRANT LLP              211 N ROBINSON STE 1200                                                                                   OKLAHOMA CITY      OK   73102
THORNTON GREGORY L.             THORNTON, GREGORY L.
THORNTON GROUT FINNIGAN LLP     STE 3200 CANADIAN PACIFIC TOWE        100 WELLLINGTON ST W                            TORONTO CANADA ON
                                                                                                                      M5K 1K7 CANADA
THORNTON I V, JOSEPH            7040 BRIDGEPORT CIR                                                                                       STOCKTON           CA   95207‐2359
THORNTON III, HOWARD            1439 VENICE DR                                                                                            COLUMBUS           OH   43207‐3351
THORNTON IRON & METAL           750 COUNTRY RD 76                                                                                         ROGERSVILLE        AL   35652
THORNTON JOHN                   4241 N JOHN YOUNG PKWY                                                                                    ORLANDO            FL   32804
THORNTON JR, JODIE A            14970 ORCHARD PLZ                                                                                         OMAHA              NE   68137‐1445
THORNTON JR, LOTT E             49 PIONEER ST                                                                                             DAYTON             OH   45405‐4636
THORNTON JR, ROBERT T           PO BOX 425                            50 DRACHENFELS RD.                                                  NORTH CONWAY       NH   03860‐0425
THORNTON JR, WILLIAM C          44 LAKE HILL TER                                                                                          BRANDON            MS   39042‐2606
THORNTON JR, WILLIAM CLIFTON    44 LAKE HILL TER                                                                                          BRANDON            MS   39042‐2606
THORNTON KLASK                  25200 TARA LN                                                                                             BROWNSTOWN TWP     MI   48134‐9077
THORNTON KRISTINA               312 FIELDCREST DR                                                                                         NASHVILLE          TN   37211‐4318
THORNTON LARRY (464314)         KELLEY & FERRARO LLP                  1300 EAST NINTH STREET , 1901                                       CLEVELAND          OH   44114
                                                                      BOND COURT BUILDING
THORNTON MAINES (439567)        GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510
                                                                      STREET, SUITE 600
THORNTON MARK THOMAS            COMPLETE ILLUSTRATIONS                22820 TEPPERT AVE                                                   EASTPOINTE         MI   48021‐4408
THORNTON OTIS J                 92 LAKE RD                                                                                                SALISBURY MILLS    NY   12577
THORNTON PATRICIA               25620 CHAPELWEIGH DR                                                                                      FARMINGTON HILLS   MI   48336‐1535
THORNTON PAYNE WATSON KLING &   3000 BRIARCREST DR STE 600            PO BOX E                                                            BRYAN              TX   77802‐3056
MILLER PC
THORNTON RAYMOND A (460241)     CLIMACO LEFKOWITZ PECA WILCOX &       1228 EUCLID AVE , HALLE BLDG 9TH                                    CLEVELAND          OH 44115
                                GAROFOLI                              FL
THORNTON REPRODUCTIONS, LLC     TROY THORNTON                         832 MINE RD                                                         QUAKERTOWN         PA   18951‐6816
THORNTON ROBERT                 5900 MEADDES DR                                                                                           CLARKSTON          MI   48348
THORNTON SARA                   2503 PANTHER VALLEY RD                                                                                    POTTSVILLE         PA   17901‐8206
THORNTON SEPTIC TANK SERVICE    777 N MILFORD RD                                                                                          HIGHLAND           MI   48357‐4547
                                 09-50026-mg            Doc 7123-39     Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                       Part 37 of 40 Pg 43 of 901
Name                             Address1                         Address2                      Address3                 Address4         City               State Zip
THORNTON TERESA                  THORNTON, TERESA                 WHITE, SCHUERMAN, RHODES &    BRENTWOOD COMMONS                         BRENTWOOD           TN 37007
                                                                  BURSON, PC                    TWO, SUITE 130 750 OLD
                                                                                                HICKORY BOULEVARD
THORNTON TERI & WILLIAM          13240 SUNDANCE CIRCLE                                                                                    VICTORVILLE        CA   92392‐6655
THORNTON WHITLEY                 1199 DUDLEY AVE                                                                                          PONTIAC            MI   48342‐1931
THORNTON WILLIAM                 44 LAKE HILL TER                                                                                         BRANDON            MS   39042‐2606
THORNTON WILLIAM MARION ‐ OH     THE JAQUES ADMIRALITY MARITIME   645 GRISWOLD ST STE 1570                                                DETROIT            MI   48226‐4108
(357844)                         ASBESTOSIS LEGAL CLINIC
THORNTON WILLIAM R SR            C/O GUY PORTER & MALOUF          4670 MCWILLIE DRIVE                                                     JACKSON            MS 39206
THORNTON WILLIAM R SR (504992)   (NO OPPOSING COUNSEL)
THORNTON WORKMAN                 1821 HOUSEMAN AVE NE                                                                                     GRAND RAPIDS       MI   49505‐4828
THORNTON WRIGHT                  15210 OAK PARK BLVD                                                                                      OAK PARK           MI   48237‐4203
THORNTON, AARON                  615 S 22ND ST                                                                                            COLUMBUS           OH   43205‐2706
THORNTON, AARON J                10207 BALTIMORE AVE APT 8406                                                                             COLLEGE PARK       MD   20740
THORNTON, AGATHA M               4878 BELLEMEADOW RD                                                                                      MENTOR HEADLANDS   OH   44060‐1235
THORNTON, ALBERT C               4123 WESTMINSTER PL                                                                                      SAINT LOUIS        MO   63108‐3130
THORNTON, ALFRED                 G‐1127 W HARVARD AVE                                                                                     FLINT              MI   48505
THORNTON, ALICE L                2301 E MARILYN RD                                                                                        PHOENIX            AZ   85022‐4138
THORNTON, ALPHONSO               465 W GRAND AVE APT 510                                                                                  DAYTON             OH   45405‐4726
THORNTON, ANNIE J                3210 BEECHER ROAD                                                                                        FLINT              MI   48503‐4968
THORNTON, ANNIE J                513 SHEFIELD AVE                                                                                         FLINT              MI   48503‐2311
THORNTON, ARETHA                 5064 MAPLEWOOD                                                                                           DETROIT            MI   48204‐3664
THORNTON, ARLY J                 130 CAMERO DR                                                                                            JACKSON            MS   39206‐3911
THORNTON, ASHLEY M.              2381 LAKE PARK DR.                                                                                       LAPEER             MI   48446
THORNTON, ATTIS E                5189 OLD SMITH VALLEY RD                                                                                 GREENWOOD          IN   46143‐8818
THORNTON, AUDREY E               5414 KERMIT ST                                                                                           FLINT              MI   48505‐2586
THORNTON, BARBARA A              3933 OAKVIEW CIR                                                                                         ALVARADO           TX   76009‐8526
THORNTON, BARBARA A              3933 OAK VIEW CIRCLE                                                                                     ALVARADO           TX   76009‐8526
THORNTON, BARBARA J              1439 VENICE DR                                                                                           COLUMBUS           OH   43207‐3351
THORNTON, BEATRICE               2057 BETHUNE CIR                                                                                         MORROW             GA   30260
THORNTON, BEATRICE               PO BOX 103                                                                                               FOREST PARK        GA   30298‐0103
THORNTON, BERTHA E               4247 SEEDEN ST                                                                                           WATERFORD          MI   48329‐4186
THORNTON, BESSIE S               323 FOREST AVE                                                                                           DAYTON             OH   45405‐4599
THORNTON, BETTY                  1317 LAKEMONT DR                                                                                         ARNOLD             MO   63010‐4623
THORNTON, BETTY                  1317 LAKE MONT DR                                                                                        ARNOLD             MO   63010‐4623
THORNTON, BETTY G                2504 OLD CREEK CT                                                                                        LEAVENWORTH        KS   66048‐4394
THORNTON, BETTY J                242 COMPTON CIR                                                                                          ROCKMART           GA   30153‐4927
THORNTON, BILL A                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA   23510
                                                                  STREET, SUITE 600
THORNTON, BILLIE J               125 BOOKER                                                                                               MADISON            IL   62060
THORNTON, BILLIE J               3024 WALLACE DRIVE                                                                                       SHREVEPORT         LA   71119‐3304
THORNTON, BILLIE JODENE          3024 WALLACE DRIVE                                                                                       SHREVEPORT         LA   71119‐3304
THORNTON, BILLIE RAY             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA   23510
                                                                  STREET, SUITE 600
THORNTON, BOBBY E                309 SHADY LN                                                                                             BIRMINGHAM         AL   35217‐1955
THORNTON, BONNIE L               9511 GENESEE RD                                                                                          MILLINGTON         MI   48746‐9731
THORNTON, CALVIN E               3733 SHOALS ST                                                                                           WATERFORD          MI   48329‐2265
THORNTON, CARLA D                5605 OAK VALLEY PL                                                                                       FORT WAYNE         IN   46845‐1834
THORNTON, CARLA D                5605 OAKVALLEY PLACE                                                                                     FORT WAYNE         IN   46825
THORNTON, CAROL                  221 SOUTH BEDFORD ST                                                                                     BEDFORD            PA   15522
THORNTON, CAROL                  221 S BEDFORD ST                                                                                         BEDFORD            PA   15522‐1414
THORNTON, CAROL                  208 BENTBOUGH DR                                                                                         LEESBURG           FL   34748‐9223
                       09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                               Part 37 of 40 Pg 44 of 901
Name                   Address1                          Address2                       Address3   Address4         City               State Zip
THORNTON, CAROL E      3107 CLEARWATER ST NW                                                                        WARREN              OH 44485‐2217
THORNTON, CAROLYN M    11633 9TH RD                                                                                 PLYMOUTH            IN 46563‐8348
THORNTON, CHARLES E    853 CLARK LN                                                                                 LINDEN              MI 48451‐8510
THORNTON, CHARLES E    2084 LAKELYN CT                                                                              CRESCENT SPRINGS    KY 41017‐4472
THORNTON, CHARLIE      ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                   WILMINGTON          DE 19801‐1813
THORNTON, CHARLIE      246 CHATORIDGE APTS                                                                          LINDENWOLD          NJ 08021
THORNTON, CHARLIE      826 NORTHROP LN                                                                              BALTIMORE           MD 21220‐1727
THORNTON, CINDY S      7145 ROUND LAKE RD                                                                           VERMONTVILLE        MI 49096‐9787
THORNTON, CLARENCE J   4835 LIBERTY RD                                                                              VILLA RICA          GA 30180‐3185
THORNTON, CLAUDE E     2504 OLD CREEK CT                                                                            LEAVENWORTH         KS 66048‐4394
THORNTON, CLETA I      5092 S AINGER RD                                                                             OLIVET              MI 49076‐9450
THORNTON, COACHMAN     4332 DELL RD APT N                                                                           LANSING             MI 48911‐8127
THORNTON, CONNIE       PO BOX 511211                                                                                LIVONIA             MI 48151‐7211
THORNTON, CONNIE       5158 WESTPOINT ST                                                                            DEARBORN HEIGHTS    MI 48125‐2157
THORNTON, CORBETT      534 YOSEMITE ST                                                                              FARMINGTON          MO 63640‐2113
THORNTON, CORINE       29531 AVONDALE ST                                                                            INKSTER             MI 48141‐1525
THORNTON, CYNTHIA J    165 D C CRAIN RD                                                                             WINNSBORO           LA 71295‐4815
THORNTON, DALE
THORNTON, DANEKA M     APT E                             530 FOREST PARK COURT                                      DAYTON             OH   45405‐1208
THORNTON, DANIEL I     1511 JUNE AVE                                                                                BROOKSVILLE        FL   34601‐3930
THORNTON, DARRELL G    3601 NE 82ND ST                                                                              KANSAS CITY        MO   64119‐4414
THORNTON, DAVE M       2109 BERKLEY ST                                                                              FLINT              MI   48504‐3419
THORNTON, DAVID        2217 W FAIRLANE AVE                                                                          GLENDALE           WI   53209‐2123
THORNTON, DAVID        9910 W LANDMARK ST                                                                           BOISE              ID   83704‐6511
THORNTON, DAVID C      822 LYNNDALE DR                                                                              ROCHESTER HLS      MI   48309‐2442
THORNTON, DAVID E      4127 E 143RD ST                                                                              CLEVELAND          OH   44128‐1817
THORNTON, DAVID J      9 SHELDON DR                                                                                 SPENCERPORT        NY   14559‐2036
THORNTON, DAVID L      2027 JEFFREY DR                                                                              TROY               MI   48085‐3816
THORNTON, DAVID L      5250 N M‐52                                                                                  OWOSSO             MI   48867
THORNTON, DAWN C       1332 ELLIOTT AVE                                                                             MADISON HTS        MI   48071‐4814
THORNTON, DEBON S      462 LOMA LINDA RD                                                                            PALMER             TX   75152‐8149
THORNTON, DEBORAH L    13102 HALLET CT                                                                              ROCKVILLE          MD   20853‐3242
THORNTON, DEBORAH P    PO BOX 554                                                                                   PATTERSON          GA   31557‐0554
THORNTON, DENNIE       304 E BROADWAY ST                                                                            GREENWOOD          IN   46143‐1310
THORNTON, DENNIS P     11070 BIRCH LAKE DRIVE                                                                       GRANGER            IN   46530‐6031
THORNTON, DONALD       KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND          OH   44114
                                                         BOND COURT BUILDING
THORNTON, DONALD B     9511 GENESEE RD                                                                              MILLINGTON         MI   48746‐9731
THORNTON, DONALD D     11501 SAINT CHARLES AVE                                                                      OKLAHOMA CITY      OK   73162‐3528
THORNTON, DONALD G     1014 BURNWYCK DR                                                                             JANESVILLE         WI   53546‐3705
THORNTON, DONNA J      5113 ROBERTS DRIVE                                                                           FLINT              MI   48506‐1592
THORNTON, DORIS E      201 MALL DRIVE S                  APT #44                                                    LANSING            MI   48917
THORNTON, DORIS E      201 MALL DR S APT 44                                                                         LANSING            MI   48917‐2558
THORNTON, DORIS M      6807 DUPONT ST                                                                               FLINT              MI   48505‐2071
THORNTON, DOVIS E      C/O MARY G FALCONE                992 LAKE JASON DRIVE                                       WHITE LAKE         MI   48386
THORNTON, DOVIS E      992 LAKE JASON DRIVE                                                                         WHITE LAKE         MI   48386‐3832
THORNTON, DUANE L      6165 WILLIAMS RD                                                                             KEITHVILLE         LA   71047‐5504
THORNTON, DWIGHT O     575 E 2ND ST                                                                                 XENIA              OH   45385‐3321
THORNTON, EARNEST L    707 GENTRY DR                                                                                ARLINGTON          TX   76018‐2347
THORNTON, EBONY        907 DANLEY LN                                                                                KNIGHTDALE         NC   27545‐8632
THORNTON, EDNA D       80 OPEY LN                                                                                   LONDON             KY   40744‐9715
THORNTON, EDWARD M     8380 KEN LOVE CT                                                                             BRIGHTON           MI   48116‐8540
                                 09-50026-mg             Doc 7123-39        Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                           Part 37 of 40 Pg 45 of 901
Name                             Address1                             Address2                       Address3                Address4                City              State Zip
THORNTON, ELVA L                 PO BOX 7344                                                                                                         COLUMBUS           OH 43207‐0344
THORNTON, ELWOOD                 1580 N GRANT AVE                                                                                                    HARRISON           MI 48625‐9253
THORNTON, ELZINA D               17551 SUNNYBROOK AVE                                                                                                LATHRUP VILLAGE    MI 48076‐3510
THORNTON, EMERY M                PO BOX 2942                                                                                                         SUN CITY           CA 92586‐8942
THORNTON, ERIKKA D               19830 W 12 MILE RD APT 28                                                                                           SOUTHFIELD         MI 48076‐2545
THORNTON, ERIKKA D               3304 DEERFIELD COMMONS                                                                                              SHIPPENSBURG       PA 17257‐8545
THORNTON, ERSKIN C               1405 HINE ST N                                                                                                      ATHENS             AL 35611‐4849
THORNTON, ERVIN J                G3350 WEST CARPENTER RD                                                                                             FLINT              MI 48504
THORNTON, ERVIN J                G3350 W CARPENTER RD                                                                                                FLINT              MI 48505
THORNTON, EVA M                  377 E DAYTON ST                                                                                                     FLINT              MI 48505‐4339
THORNTON, FLORINE S              391 PRINCETON WAY                                                                                                   LAWRENCEVILLE      GA 30044
THORNTON, FLOYD P                3271 DREXEL AVE                                                                                                     FLINT              MI 48506‐1934
THORNTON, FLOYD R                5129 HOWE RD                                                                                                        GRAND BLANC        MI 48439‐7909
THORNTON, FORESTINE A            PO BOX 26492                                                                                                        TROTWOOD           OH 45426‐0492
THORNTON, FRANCES M.             21361 ANDOVER RD                                                                                                    SOUTHFIELD         MI 48076‐3195
THORNTON, FRANKLIN D             377 E DAYTON ST                                                                                                     FLINT              MI 48505‐4339
THORNTON, GAIL B                 1203 MADALINE DR                                                                                                    AVENEL             NJ 07001‐1380
THORNTON, GARY E                 3092 DURANT HTS                                                                                                     FLINT              MI 48507‐4514
THORNTON, GARY L                 2684 WESTWIND CT                                                                                                    HILLIARD           OH 43026‐9004
THORNTON, GARY LEWIS             2684 WESTWIND CT                                                                                                    HILLIARD           OH 43026‐9004
THORNTON, GEORGE                 WATERS & KRAUS                       3219 MCKINNEY AVE ‐ STE 3000                                                   DALLAS             TX 75204
THORNTON, GEORGE                 5028 BELLCREEK LANE                                                                                                 TROTWOOD           OH 45426‐5426
THORNTON, GEORGE C               7195 ROUTE 305                                                                                                      BURGHILL           OH 44404
THORNTON, GEORGE K               36768 RUDDY DUCK LN                                                                                                 MILLSBORO          DE 19966‐5844
THORNTON, GEORGE KENNETH         36768 RUDDY DUCK LANE                                                                                               MILLSBORO          DE 19966‐5844
THORNTON, GERALD E               27165 MARSHALL ST                                                                                                   SOUTHFIELD         MI 48076‐5140
THORNTON, GLORIA H               1737 HAMILTON ST SW                                                                                                 WARREN             OH 44485‐3528
THORNTON, GLORIA H               1737 HAMELTON STREET SOUTHWEST                                                                                      WARREN             OH 44485‐4485
THORNTON, GROUT & FINNIGAN LLP   SUITE 3200, CANADIAN PACIFIC TOWER   100 WELLINGTON ST WEST, P.O. BOX TORONTO‐DOMINION CENTRE TORONTO, CANADA M5K
                                                                      329                                                      1K7
THORNTON, HAROLD                 THE LIPMAN LAW FIRM                  5915 PONCE DE LEON BLVD          SUITE 44                                      CORAL GABLES      FL   33146
THORNTON, HARVEY L               71 BENNINGTON DR                                                                                                    DAYTON            OH   45405‐1702
THORNTON, HAZEL                  537 E DEWEY ST                                                                                                      FLINT             MI   48505‐4210
THORNTON, J.C.                   8118 S EXCHANGE AVE                                                                                                 CHICAGO           IL   60617‐1513
THORNTON, JACK M                 6831 JOAL ST                                                                                                        ALLENDALE         MI   49401‐8754
THORNTON, JAMES D                534 69TH ST                                                                                                         HOLMES BEACH      FL   34217‐1204
THORNTON, JAMES E                2313 MASON STREET                                                                                                   FLINT             MI   48505‐4115
THORNTON, JAMES E                2313 MASON ST                                                                                                       FLINT             MI   48505‐4115
THORNTON, JAMES E                868 BRANSCOMB RD                                                                                                    GREEN CV SPGS     FL   32043‐9588
THORNTON, JAMES E                270 PEBBLEVIEW DR                                                                                                   ROCHESTER         NY   14612‐4143
THORNTON, JAMES F                5122 E ALLEN RD                                                                                                     HOWELL            MI   48855‐9248
THORNTON, JAMES H                3825 BEAL RD                                                                                                        FRANKLIN          OH   45005‐4621
THORNTON, JAMES L                5321 GREENVIEW DR                                                                                                   CLARKSTON         MI   48348‐3718
THORNTON, JAMES R                21016 DWYER RD                                                                                                      WARSAW            MO   65355‐4495
THORNTON, JAMES RUSSELL          7145 ROUND LAKE RD                                                                                                  VERMONTVILLE      MI   49096‐9787
THORNTON, JAMES W                236 STANLEY DR                                                                                                      CORUNNA           MI   48817‐1155
THORNTON, JANET D                13417 NW 42ND AVE                                                                                                   VANCOUVER         WA   98685‐1508
THORNTON, JARODE W               517 W HOME AVE                                                                                                      FLINT             MI   48505‐2669
THORNTON, JEAN A                 546 TURRILL AVE                                                                                                     LAPEER            MI   48446‐2545
THORNTON, JERI L                 3 COLUMBIA PL                                                                                                       PARLIN            NJ   08859‐1003
THORNTON, JERRY L                2200 E BLACKMORE RD                                                                                                 MAYVILLE          MI   48744‐9672
THORNTON, JERRY W                PO BOX 204                                                                                                          CLAWSON           MI   48017‐0204
                       09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                              Part 37 of 40 Pg 46 of 901
Name                   Address1                         Address2                       Address3   Address4         City               State Zip
THORNTON, JEWELRY R    356 BEN LUCKETT RD                                                                          CAMDEN              MS 39045‐9702
THORNTON, JILL R       2406 BEECH ST                                                                               GAFFNEY             SC 29340‐4607
THORNTON, JIMMY R      11850 AEBI AVE NE                                                                           ALLIANCE            OH 44601‐9696
THORNTON, JO A         13647 KENYON RD                                                                             GRAND LEDGE         MI 48837‐9733
THORNTON, JO ANN       13647 KENYON RD                                                                             GRAND LEDGE         MI 48837‐9733
THORNTON, JOE M        15342 WOODRING ST                                                                           LIVONIA             MI 48154‐3030
THORNTON, JOHN         4633 STONEHEDGE ST                                                                          TROTWOOD            OH 45426‐2103
THORNTON, JOHN A       2133 PURPLE ASTER LN                                                                        JANESVILLE          WI 53546‐4334
THORNTON, JOHN D       3776 SAPODILLA CT                                                                           PORT SAINT LUCIE    FL 34952‐3378
THORNTON, JOHN E       6192 OTOOLE LN                                                                              MOUNT MORRIS        MI 48458
THORNTON, JOHN E       1116 WHITINGHAM DR                                                                          FLINT               MI 48503‐2904
THORNTON, JOHN J       1497 DUELLO RD                                                                              LAKE ST LOUIS       MO 63367‐4205
THORNTON, JOHNNIE R    PO BOX 30368                                                                                MEMPHIS             TN 38130‐0368
THORNTON, JONATHAN     PO BOX 350061                                                                               TOLEDO              OH 43635‐0081
THORNTON, JOSEPH M     19399 COMPTON ST                                                                            ELKMONT             AL 35620‐5615
THORNTON, JOSEPHINE    407 N. MASON                                                                                SAGINAW             MI 48602‐4468
THORNTON, JUANITA      44441 SAVERY DRIVE                                                                          CANTON              MI 48187‐2929
THORNTON, JULIE E      9102 GRASSBUR RD                                                                            BRYAN               TX 77808‐8720
THORNTON, KAREL        1560 PLYMOUTH LN                                                                            SAN PEDRO           CA 90732‐4056
THORNTON, KAREN        8122 SAWGRASS TRAIL                                                                         GRAND BLANC         MI 48439
THORNTON, KARL J       1237 GRANT AVE                                                                              GADSDEN             AL 35903‐2519
THORNTON, KARL J       2219 W EULESS BLVD                                                                          EULESS              TX 76040‐6624
THORNTON, KAYE V       915 CHULEE RD                                                                               EDISON              GA 39846‐8326
THORNTON, KENNETH      2805 WILTON PL                                                                              FLINT               MI 48506‐1384
THORNTON, KENNETH C    600 SHAWNESEE                                                                               FLUSHING            MI 48433‐1327
THORNTON, KENNETH F    4920 PINE ST                                                                                NORWOOD             OH 45212‐2330
THORNTON, KRISTINA M   312 FIELDCREST DR                                                                           NASHVILLE           TN 37211‐4318
THORNTON, LARISSA P    5321 GREENVIEW DR                                                                           CLARKSTON           MI 48348‐3718
THORNTON, LARONDA M    4440 JOHNNY CT                                                                              HUBER HEIGHTS       OH 45424‐5533
THORNTON, LARRY        KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND           OH 44114
                                                        BOND COURT BUILDING
THORNTON, LARRY G      47 KENNETH LN                                                                               MURRAY             KY    42071
THORNTON, LAWANDA P    APT 11A                          8100 PINES ROAD                                            SHREVEPORT         LA    71129‐4449
THORNTON, LEANN H      16462 SEYMOUR RD                                                                            LINDEN             MI    48451‐9645
THORNTON, LEE M        120 COUNTY ROAD 672                                                                         ROGERSVILLE        AL    35652‐5810
THORNTON, LELENE S     7011 ANTIOCH RD                                                                             HAZLEHURST         MS    39083‐9311
THORNTON, LEONDRUS     1200 NW MARSHALL ST              STE 415                                                    PORTLAND           OR    97209‐3167
THORNTON, LESSIREE E   3443 OAKTREE WAY                                                                            LITHANIA           GA    30038‐2767
THORNTON, LESTER W     123 MOSES MORE RD                                                                           BASSETT            VA    24055
THORNTON, LEWIS L      1226 RUTLEDGE ST                                                                            GARY               IN    46404‐2243
THORNTON, LILLIE E     700 E COURT ST APT 109                                                                      FLINT              MI    48503‐6221
THORNTON, LILLIE E     854 SCHAFER ST                                                                              FLINT              MI    48503‐1697
THORNTON, LINDA        17021 HIGHWAY 18                                                                            RAYMOND            MS    39154‐9154
THORNTON, LINDA S      APT 4                            823 HARVEST LANE                                           LANSING            MI    48917‐4233
THORNTON, LINDA S      823 HARVEST LN APT 4                                                                        LANSING            MI    48917‐4233
THORNTON, LLOYD E      6117 E 42ND ST                                                                              INDIANAPOLIS       IN    46226‐4911
THORNTON, LORETTA
THORNTON, LOYD H       3311 ALIDA ST                                                                               ROCKFORD           IL 61101‐2710
THORNTON, M            PO BOX 210627                                                                               SAINT LOUIS        MO 63121‐8627
THORNTON, MACK
THORNTON, MAE B        120 COUNTY ROAD 672                                                                         ROGERSVILLE         AL   35652‐5826
                                 09-50026-mg            Doc 7123-39      Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                        Part 37 of 40 Pg 47 of 901
Name                             Address1                          Address2                          Address3   Address4         City                   State Zip
THORNTON, MAINES                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK                 VA 23510‐2212
                                                                   STREET, SUITE 600
THORNTON, MARCIA R               5186 FERNDALE                                                                                   HARRISON               MI   48625‐9627
THORNTON, MARCIA R               5186 FERNDALE ST                                                                                HARRISON               MI   48625‐9627
THORNTON, MARCUS A               3500 TIMBERWOOD CIR APT 1135                                                                    ARLINGTON              TX   76015‐3128
THORNTON, MARIAN F               12928 PARKWOOD ST                                                                               HUDSON                 FL   34669‐3844
THORNTON, MARK J                 1218 KENYON PL                                                                                  DAYTON                 OH   45406‐5012
THORNTON, MARSHANDRIUS CARLESE   5605 OAK VALLEY PL                                                                              FORT WAYNE             IN   46845‐1834
THORNTON, MARTHA                 301 5TH ST                                                                                      JELLICO                TN   37762‐2501
THORNTON, MARY B                 701 SHERRILL ST APT E4                                                                          UNION CITY             TN   38261‐5898
THORNTON, MARY H                 3653 N WABASH ST                                                                                JACKSON                MS   39213‐6022
THORNTON, MARY I                 600 TURNEY RD.                    APT 118                                                       BEDFORD                OH   44146
THORNTON, MARY L                 100 LAKE FOREST DR                                                                              PEACHTREE CITY         GA   30269‐2206
THORNTON, MARY P                 803 SHADY PINE DR                                                                               CLINTON                MS   39056‐3639
THORNTON, MARY S                 550 SHELDEN RD                                                                                  GROSSE POINTE SHORES   MI   48236‐2623
THORNTON, MATTIE B.              625 LISBON AVENUE                                                                               BUFFALO                NY   14215‐1213
THORNTON, MATTIE B.              625 LISBON AVE                                                                                  BUFFALO                NY   14215‐1213
THORNTON, MELANIE DAWN           111 CLIFTON RD                                                                                  LAWRENCEBURG           TN   38464‐5508
THORNTON, MELISSA F              JAMES TOTTA & PARRISH             218 NE TUDOR RD                                               LEES SUMMIT            MO   64086‐5696
THORNTON, MELISSA F              PERKINS LAW OFFICE                304 E WALNUT ST                                               THAYER                 MO   65791‐1518
THORNTON, MICHAEL F              152 JENNETTE DR                                                                                 YOUNGSTOWN             OH   44512‐1547
THORNTON, MICHAEL J              915 CHULEE RD                                                                                   EDISON                 GA   39846‐8326
THORNTON, MICHAEL L              353 FREEMANTLE CT                                                                               SALINE                 MI   48176‐9155
THORNTON, MICHAEL W              2140 FORD BLVD                                                                                  LINCOLN PARK           MI   48146‐3705
THORNTON, MICHAUD E              1218 KENYON PL                                                                                  DAYTON                 OH   45406‐5012
THORNTON, MICHELE H              PO BOX 1133                                                                                     GARY                   IN   46407
THORNTON, MIKE E                 15015 JOHNS RD                                                                                  KEATCHIE               LA   71046‐3901
THORNTON, MONIQUE T              1583 HONEYBEE DR                                                                                DAYTON                 OH   45427‐3226
THORNTON, NANCY C                5848 HORRELL RD                                                                                 DAYTON                 OH   45426‐2143
THORNTON, OLEN J                 7898 GARFIELD RD                                                                                MECOSTA                MI   49332‐9776
THORNTON, OPHA L                 198 COUNTRY ROAD 699                                                                            CULLMAN                AL   35055
THORNTON, OTIS J                 LAKE ROAD                                                                                       SALISBURY MLS          NY   12577
THORNTON, P F                    112 WHITE ROW AVE                                                                               GIDEON                 MO   63848‐9210
THORNTON, PATRICIA A             1991 STREAMWOOD LN                                                                              STERLING HTS           MI   48310‐7817
THORNTON, PATRICK A              3685 CARO RD                                                                                    CASS CITY              MI   48726‐9717
THORNTON, PAUL J                 800 HAWKSTONE DR UNIT 25                                                                        EATON                  CO   80615‐9036
THORNTON, PAUL W                 9684 N HAGGERTY RD                                                                              PLYMOUTH               MI   48170‐4450
THORNTON, PHILLIP E              3092 STRONG HTS                                                                                 FLINT                  MI   48507‐4544
THORNTON, PHYLLIS                651 HWY 468                                                                                     BRANDON                MS   39042‐9042
THORNTON, RALEIGH R              3100 VALERIE ARMS DR. #2                                                                        DAYTON                 OH   45405‐2057
THORNTON, RALPH J                16462 SEYMOUR RD                                                                                LINDEN                 MI   48451‐9645
THORNTON, RANDY M                PO BOX 498                                                                                      FLINT                  MI   48501‐0498
THORNTON, RANDY MONROE           PO BOX 498                                                                                      FLINT                  MI   48501‐0498
THORNTON, RASHARD J.             4150 CROOKED CREEK OVERLOOK ST                                                                  INDIANAPOLIS           IN   46228‐3224
THORNTON, RAYBON DEWAYNE         310 SILKWEED COURT                                                                              WILMINGTON             NC   28405‐2538
THORNTON, RAYMOND A              CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                               CLEVELAND              OH   44115
                                 GAROFOLI                          FL
THORNTON, REUBEN                 PO BOX 75                                                                                       MADISON                IL   62060‐0075
THORNTON, RICHARD C              885 SUNSET LN                                                                                   TELFORD                PA   18969‐2127
THORNTON, RICHARD L              10420 BALMORAL CIR                                                                              CHARLOTTE              NC   28210‐7839
THORNTON, RICHARD W              259 ZIMMERMAN BLVD                                                                              BUFFALO                NY   14223‐1021
THORNTON, RICHMOND               428 CHAMBERS CRK DR‐SO.                                                                         EVERMAN                TX   76140
                             09-50026-mg           Doc 7123-39        Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                     Part 37 of 40 Pg 48 of 901
Name                         Address1                           Address2                    Address3   Address4         City            State Zip
THORNTON, RICKEY J           2583 JACKSON RD                                                                            WENTZVILLE       MO 63385‐4202
THORNTON, ROBERT C           13357 TUTTLEHILL RD                                                                        MILAN            MI 48160‐9116
THORNTON, ROBERT L           1906 BIRCH ST                                                                              NEWPORT          MI 48166‐8805
THORNTON, ROBERT O           2270 E HUMES LN                                                                            FLORISSANT       MO 63033‐1719
THORNTON, ROBERT W           9374 E LIPPINCOTT BLVD                                                                     DAVISON          MI 48423‐8320
THORNTON, RODERICK B         2504 OLD CREEK CT                                                                          LEAVENWORTH      KS 66048‐4394
THORNTON, RODERICK E         225 ELLINGTON WAY                                                                          RIVERSIDE        AL 35135‐1061
THORNTON, ROGER E            2232 MINERVA ST                                                                            WESTLAND         MI 48186‐3907
THORNTON, ROGER W            48 RUTH AVE                                                                                PONTIAC          MI 48341‐1924
THORNTON, RONALD D           624 GAMEWELL DRIVE                                                                         MIAMISBURG       OH 45342‐5342
THORNTON, RONALD G           3077 PINNACLE PARK DR                                                                      MORAINE          OH 45418‐2962
THORNTON, RONALD J           9414 S FOREST AVE                                                                          CHICAGO           IL 60619‐7312
THORNTON, RONNIE             157 DADFORD DRIVE                                                                          LEESBURG         GA 31763‐5800
THORNTON, ROSELYN M          2526 MALVERN AVE                                                                           DAYTON           OH 45406‐1948
THORNTON, ROSEMARY           3793 FOX RUN DR APT 204                                                                    BLUE ASH         OH 45236‐1145
THORNTON, ROSEMARY           3793 FOX RUN DR.                   APT 204                                                 BLUE ASH         OH 45236
THORNTON, ROY I              PO BOX 1444                                                                                ARLINGTON        TX 76004‐1444
THORNTON, RUTH               259 ZIMMERMAN BLVD.                                                                        BUFFALO          NY 14223‐1021
THORNTON, RUTH K             PO BOX 2172                                                                                SYRACUSE         NY 13220‐2172
THORNTON, RUTH M             318 PARKWOOD AVE                                                                           COLUMBUS         OH 43203‐1725
THORNTON, SAMUEL E           19215 LUMPKIN ST                                                                           DETROIT          MI 48234‐4505
THORNTON, SAMUEL H           19516 SUMPTER RD                                                                           CLEVELAND        OH 44128‐4333
THORNTON, SHARON             PO BOX 720713                                                                              NORMAN           OK 73070‐4545
THORNTON, SHARON A           1227 HANOVER AVE                                                                           COLUMBUS         GA 31903‐2416
THORNTON, SHARON D           6233 W BEHREND DR APT 100                                                                  GLENDALE         AZ 85308
THORNTON, SHELTON E          793 MASSEY RD                                                                              NEWTON GROVE     NC 28366‐8051
THORNTON, SHERRI M           450 UNION HILL CIR APT D                                                                   W CARROLLTON     OH 45449‐3737
THORNTON, SHERRI MANCHELLE   450 UNION HILL CIR APT D                                                                   W CARROLLTON     OH 45449‐3737
THORNTON, SHIRLEY            1713 WISCONSIN AVE                                                                         FLINT            MI 48506‐4344
THORNTON, SHIRLEY B          2273 SOUTH M 65                                                                            WHITTEMORE       MI 48770‐9424
THORNTON, SUE A              109 N CARRIAGE MEADOWS TRL                                                                 PECULIAR         MO 64078‐7801
THORNTON, SYDNEY F           2220 BRIARCREST DR                                                                         FLORISSANT       MO 63033‐1704
THORNTON, SYLVIA             2232 MINERVA ST                                                                            WESTLAND         MI 48186‐3907
THORNTON, TAMBERLY
THORNTON, TERESA             WHITE, SCHUERMAN, RHODES & BURSON, BRENTWOOD COMMONS TWO,                                  BRENTWOOD       TN 37007
                             PC                                 SUITE 130 750 OLD HICKORY
                                                                BOULEVARD
THORNTON, TERESA             3925 NASH RD                                                                               BATESVILLE      MS   38606‐6331
THORNTON, TERESA A           11696 MENDOTA ST                                                                           DETROIT         MI   48204‐1963
THORNTON, TERREL E           1 CARDINAL DR                                                                              FREDERICKSBRG   VA   22406‐5014
THORNTON, TERRY D            820 QUAIL RUN                                                                              CLEBURNE        TX   76031‐7726
THORNTON, TERRY R            1141 ATHENS RD                                                                             SHERWOOD        MI   49089‐9721
THORNTON, TERRY R            PO BOX 469                                                                                 CHARLOTTE       MI   48813‐0469
THORNTON, THEODORE E         2939 GERMAN RD                                                                             COLUMBIAVILLE   MI   48421‐8903
THORNTON, THERESA            16159 OXLEY RD APT 202                                                                     SOUTHFIELD      MI   48075‐3509
THORNTON, THOMAS E           PO BOX 172                                                                                 MERRILL         MI   48637‐0172
THORNTON, THOMAS G           3603 COUNTY ROAD 92                                                                        ROGERSVILLE     AL   35652‐2733
THORNTON, THOMAS M           17267 GRATIOT RD                                                                           HEMLOCK         MI   48626‐8646
THORNTON, THOMAS P           319 PENDLETON DR APT A                                                                     MARTINSBURG     WV   25401‐2952
THORNTON, THOMAS U           5645 N UNIVERSITY DR               #207                                                    CORAL SPRINGS   FL   33067
THORNTON, THOMAS W           10918 OLIVER RD                                                                            CLEVELAND       OH   44111‐4818
THORNTON, TIFFANY GLENEA     1209 SENECA DR                                                                             DAYTON          OH   45402‐5618
                                   09-50026-mg             Doc 7123-39       Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                            Part 37 of 40 Pg 49 of 901
Name                               Address1                            Address2                      Address3              Address4         City            State Zip
THORNTON, TIMOTHY                  671 CRESCENT AVE                                                                                         BUFFALO          NY 14216‐3413
THORNTON, TIMOTHY M                399 CEDARWOOD CT                                                                                         MANSFIELD        OH 44906‐1713
THORNTON, TIMOTHY R                6600 PORTAGE LAKE RD LOT 238                                                                             MUNITH           MI 49259‐9626
THORNTON, VIRGINIA D               PO BOX 2627                                                                                              MANSFIELD        OH 44906‐0627
THORNTON, VIVIAN                   5711 SHADBURN FERRY RD NE                                                                                BUFORD           GA 30518
THORNTON, WALTER E                 716 WALNUT ST                                                                                            CHARLOTTE        MI 48813‐1738
THORNTON, WESLEY L                 303 KIRK ST                                                                                              BURKBURNETT      TX 76354‐2336
THORNTON, WILLETTE                 27727 MICHIGAN AVE                  APT 423                                                              INKSTER          MI 48141
THORNTON, WILLIAM                  545 HOPEWOOD CT                                                                                          FRANKLIN         TN 37064‐5529
THORNTON, WILLIAM                  GUY WILLIAM S                       PO BOX 509                                                           MCCOMB           MS 39649‐0509
THORNTON, WILLIAM A                10072 HEMLOCK DR                                                                                         OVERLAND PARK    KS 66212‐3426
THORNTON, WILLIAM B                13070 N LINDEN RD                                                                                        CLIO             MI 48420‐8206
THORNTON, WILLIAM C                2236 LYNN DR                                                                                             KOKOMO           IN 46902‐6509
THORNTON, WILLIAM D                526 SMITH CEMETERY RD                                                                                    WINDER           GA 30680‐4318
THORNTON, WILLIAM F                4571 SYLVAN OAK DR                                                                                       TROTWOOD         OH 45426‐2121
THORNTON, WILLIAM H                10034 S VERNON AVE                                                                                       CHICAGO           IL 60628
THORNTON, WILLIAM L                130 CAMERO DR                                                                                            JACKSON          MS 39206‐3911
THORNTON, WILLIAM M                15380 TRACEY ST                                                                                          DETROIT          MI 48227‐3260
THORNTON, WILLIAM M                THE JAQUES ADMIRALITY MARITIME      645 GRISWOLD ST STE 1570                                             DETROIT          MI 48226‐4108
                                   ASBESTOSIS LEGAL CLINIC
THORNTON, WILLIAM S                11352 PLEASANT VIEW DR                                                                                   PINCKNEY        MI   48169‐9527
THORNTON, WILLIE M                 29531 AVONDALE ST                                                                                        INKSTER         MI   48141‐1525
THORNTON, WINIFRED D               4725 SCHOTT RD                                                                                           MAYVILLE        MI   48744‐9628
THORNTON, YVETTE                   6 CAROLINA AVE                                                                                           LOCKPORT        NY   14094‐5706
THORNTON, ZELMA L                  6932 MARSHALL RD                                                                                         OLIVET          MI   49076
THORNTON‐MILLER, ELAINE THORNTON   3300 W OUTER DR                                                                                          DETROIT         MI   48221‐1630

THORNTON‐PICKENS, G                9768 LEWIS‐CLARK BLVD                                                                                    MOLINE ACRES    MO   63136
THORNWELL, MICHELLE D              2705 MAPLE ST                                                                                            PORT HURON      MI   48060‐2856
THORNWELL, MICHELLE D.             2705 MAPLE ST                                                                                            PORT HURON      MI   48060‐2856
THOROBRED CHEVROLET, INC           2121 N ARIZONA AVE                                                                                       CHANDLER        AZ   85225‐3414
THOROBRED CHEVROLET, INC.                                                                                                                   CHANDLER        AZ   85225‐3414
THOROBRED CHEVROLET, INC.          DONALD FEHRENBACH                   2121 N ARIZONA AVE                                                   CHANDLER        AZ   85225‐3414
THOROBRED CHEVROLET, INC.          2121 N ARIZONA AVE                                                                                       CHANDLER        AZ   85225‐3414
THOROLD JR, LIONEL G               42225 RIGGS RD                                                                                           BELLEVILLE      MI   48111‐3083
THOROMAN, TERRY D                  9055 RAY RD                                                                                              GAINES          MI   48436‐9717
THOROUGHBRED CHEVROLET INC         THOROUGHBRED CHEVROLET INC          PO BOX 55740                                                         LEXINGTON       KY   40555‐5740
THOROUGHBRED CHEVROLET INC         RE: THOROUGHBRED CHEVROLET INC      PO BOX 55740                                                         LEXINGTON       KY   40555‐5740
THOROUGHBRED CHEVROLET, INC.       CORNELIUS MARTIN*                   2800 RICHMOND RD                                                     LEXINGTON       KY   40509‐1505
THOROUGHBRED CHEVROLET, INC.       2800 RICHMOND RD                                                                                         LEXINGTON       KY   40509‐1505
THOROUGHBRED FUND LP               C/O CITIGROUP GLOBAL MARKETS INC.   390 GREENWICH ST.             ATTN: CHETAN BANSAL                    NEW YORK        NY   10013
THOROUGHBRED MASTER LTD            C/O CITIGROUP GLOBAL MARKETS INC.   390 GREENWICH ST.             ATTN: CHETAN BANSAL                    NEW YORK        NY   10013
THOROUGHBRED MOTORCARS INC         2350 FRANKLIN PIKE                                                                                       NASHVILLE       TN   37204‐2246
THORP JOHNNIE L                    C/O EDWARD O MOODY P A              801 W 4TH ST                                                         LITTLE ROCK     AR   72201
THORP RALPH THOMAS (429949)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA   23510
                                                                       STREET, SUITE 600
THORP TULLY                        25502 FRIAR LAKE LN                                                                                      SPRING          TX   77373‐3104
THORP, BESSIE C                    2476 NORTHVIEW DR                                                                                        CORTLAND        OH   44410‐1744
THORP, CHARLES M                   108 SILVIEW AVE                                                                                          WILMINGTON      DE   19804‐3320
THORP, DAULTON A                   3642 PARK RIDGE DR                                                                                       GRAND PRAIRIE   TX   75052‐6103
THORP, DERRICK D                   3642 PARK RIDGE DR                                                                                       GRAND PRAIRIE   TX   75052‐6103
THORP, DERRICK DAULTON             3642 PARK RIDGE DR                                                                                       GRAND PRAIRIE   TX   75052‐6103
                          09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                  Part 37 of 40 Pg 50 of 901
Name                      Address1                          Address2                             Address3              Address4            City             State Zip
THORP, DONALD K           1260 PRUDENCE DR                                                                                                 WATERFORD         MI 48327‐4145
THORP, GERALD L           1750 4 MILE RD                                                                                                   ATHENS            MI 49011‐9706
THORP, JACK W             5032 PETERSON ST                                                                                                 SAGINAW           MI 48601‐6839
THORP, JASON S            1858 FIELDSTONE DR                                                                                               DAYTON            OH 45414‐5304
THORP, JOHNNIE            PO BOX 17396                                                                                                     LITTLE ROCK       AR 72222‐7396
THORP, JOHNNIE L          MOODY EDWARD O                    801 W 4TH ST                                                                   LITTLE ROCK       AR 72201‐2107
THORP, MARGARET S         479 HELEN ST                                                                                                     GARDEN CITY       MI 48135‐3110
THORP, MICHAEL F          6370 OAKVILLE WALTZ RD                                                                                           CARLETON          MI 48117‐9534
THORP, MICHAEL FLOYD      6370 OAKVILLE WALTZ RD                                                                                           CARLETON          MI 48117‐9534
THORP, RALPH THOMAS       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA 23510
                                                            STREET, SUITE 600
THORP, ROBERT L           4231 EAGLE LAKE DR                                                                                               INDIANAPOLIS     IN   46254‐3653
THORP, ROCHELLE M         618 WOODLAND DR                                                                                                  CLIMAX SPRINGS   MO   65324
THORP, ROSE M             4231 EAGLE LAKE DRIVE                                                                                            INDIANAPOLIS     IN   46254‐3653
THORP, SEAN L             1079 E STATE RD                                                                                                  WEST BRANCH      MI   48661‐9261
THORP, TERRY A            2153 RIVER RD                                                                                                    NIAGARA FALLS    NY   14304‐3749
THORP, WILLIAM A          123 FIRESIDE LN                                                                                                  CAMILLUS         NY   13031‐1939
THORPE BARBARA            4730 S LAKE DR                                                                                                   BOYNTON BEACH    FL   33436‐5909
THORPE DIANA L            5824 BAKER RD                                                                                                    SOMERVILLE       OH   45064‐9715
THORPE JENNINE            THORPE, JENNINE                   SISKIND CROMARTY IVEY & DOWLER 680 WATERLOO STREET P. O.   LONDON ON N6A 3V8
                                                            LLP                            BOX 2520                    CANADA
THORPE JENNINE            THORPE, JENNINE                   680 WATERLOO STREET P. O. BOX                              LONDON ON N6A 3V8
                                                            2520                                                       CANADA
THORPE JR, JOSEPH C       9394 WORTH RD                                                                                                    DAVISON          MI   48423‐9326
THORPE JR, WILLIAM C      13820 EATON PIKE                                                                                                 NEW LEBANON      OH   45345‐9298
THORPE JR,WILLIAM C       13820 EATON PIKE                                                                                                 NEW LEBANON      OH   45345‐9298
THORPE KANSAS (440879)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                  NORTHFIELD       OH   44067
                                                            PROFESSIONAL BLDG
THORPE KEN                1006 LACLEDE ST                                                                                                  SHERIDAN         WY 82801‐3418
THORPE KIMBERLY           STATE FARM MUTUAL AUTOMOBILE      471 E BROAD ‐ 18TH FLOOR P O BOX ‐                                             COLUMBUS         OH 43215
                          INSURANCE COMPANY
THORPE NORMAN R ESQ       498 ABBEY ST                                                                                                     BIRMINGHAM       MI 48009‐5618
THORPE SAMUEL (464315)    KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                                  CLEVELAND        OH 44114
                                                            BOND COURT BUILDING
THORPE TECHNOLOGIES INC   449 W ALLEN AVE STE 119                                                                                          SAN DIMAS        CA   91773‐1453
THORPE TECHNOLOGIES INC   1007 ELM ST STE F                                                                                                BOULDER CITY     NV   89005‐2138
THORPE'S PONTIAC, INC.    PHILLIP THORPE                    5964 MAIN ST                                                                   TANNERSVILLE     NY   12485‐7719
THORPE'S PONTIAC, INC.    5964 MAIN ST                                                                                                     TANNERSVILLE     NY   12485‐7719
THORPE'S PONTIAC‐GMC      5964 MAIN ST                                                                                                     TANNERSVILLE     NY   12485‐7719
THORPE, BERNICE J         392 SHUMMARD BRANCH                                                                                              OXFORD           MI   48371‐6368
THORPE, BESSIE            PO BOX 532                                                                                                       KAMAS            UT   84036‐0532
THORPE, BETHANY J         4449 ISLAND VIEW DR                                                                                              FENTON           MI   48430‐9146
THORPE, CAROL A           4314 CLYDE CT                                                                                                    RENO             NV   89509‐5416
THORPE, CATHERINE A       227 CREST ST                                                                                                     ANN ARBOR        MI   48103‐4315
THORPE, CHARLES G         303 LEWISVILLE RD                                                                                                OXFORD           PA   19363‐2261
THORPE, CLARA M           5905 N E CUBITIS AVE              LOT 236                                                                        ARCADIA          FL   34266
THORPE, CLARENCE W        7086 BIRCHWOOD DR                                                                                                MOUNT MORRIS     MI   48458‐8807
THORPE, DAROL L           SHANNON LAW FIRM                  100 W GALLATIN ST                                                              HAZLEHURST       MS   39083‐3007
THORPE, DAVID L           3728 ROLLING RIDGE CT                                                                                            ORION            MI   48359‐1464
THORPE, DONALD H          14945 HOYLE RD                                                                                                   BERLIN CENTER    OH   44401‐9746
THORPE, DONALD K          2397 S BELSAY RD                                                                                                 BURTON           MI   48519‐1215
THORPE, DONALD KEITH      2397 S BELSAY RD                                                                                                 BURTON           MI   48519‐1215
                           09-50026-mg               Doc 7123-39      Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                     Part 37 of 40 Pg 51 of 901
Name                       Address1                             Address2                        Address3   Address4            City              State Zip
THORPE, DONALD W           163 E SILVERSTONE PL                                                                                ORO VALLEY         AZ 85737‐7971
THORPE, EDWARD R           7318 COPENHAGEN DR                                                                                  PANAMA CITY        FL 32404‐5361
THORPE, ELMA               13604 STAHELIN AVE                                                                                  DETROIT            MI 48223‐3526
THORPE, EVELYN K           1822 HOLDENS HOLW                                                                                   COLUMBIA           TN 38401‐6936
THORPE, GARY C             2475 ASHFORD                                                                                        ROCHESTER HILLS    MI 48306‐3150
THORPE, GARY L             748 FOX CHASE CIR                                                                                   BEAR               DE 19701‐2708
THORPE, GARY LEWIS         748 FOX CHASE CIR                                                                                   BEAR               DE 19701‐2708
THORPE, GAYLE L            1103 GING ST                                                                                        SANDUSKY           OH 44870‐3454
THORPE, GERALD E           1824 CULVER AVE                                                                                     DAYTON             OH 45420‐2102
THORPE, GLADYS             2231 N VASSAR RD                                                                                    BURTON             MI 48509‐1399
THORPE, GLADYS             615 JOHN R                                                                                          ROCHESTER HILLS    MI 48307‐2352
THORPE, GLADYS             615 JOHN R RD                                                                                       ROCHESTER HILLS    MI 48307‐2352
THORPE, GLORIA             2718 HAMPDEN AVE                                                                                    BALTIMORE          MD 21211
THORPE, GLORIA J           207 W TAWAS LAKE RD                                                                                 E TAWAS            MI 48730‐9780
THORPE, GREGORY A          1425 MILLER RD                                                                                      LAKE ORION         MI 48362‐3733
THORPE, GREGORY W          268 N CREEK XING                                                                                    ROCHESTER          NY 14612‐2742
THORPE, HERBERT J          12824 N CACTUS TERRACE PL                                                                           MARANA             AZ 85658‐4258
THORPE, HOWARD D           7770 N 45 1/2 RD                                                                                    MANTON             MI 49663‐8530
THORPE, JACK L             1614 TAMARA TRL                                                                                     XENIA              OH 45385‐9591
THORPE, JAMES A            790 BAVENO DR                                                                                       VENICE             FL 34285‐4401
THORPE, JAMES E            4449 ISLAND VIEW DR                                                                                 FENTON             MI 48430‐9146
THORPE, JAMES L            76 SYLVANIA DR                                                                                      DAYTON             OH 45440‐3238
THORPE, JAMES L            76 SYLVANIA RD                                                                                      DAYTON             OH 45440‐3238
THORPE, JAMES M            9215 W 3RD ST                                                                                       DAYTON             OH 45427‐1122
THORPE, JAMES P            5513 THRUSH DR                                                                                      GRAND BLANC        MI 48439‐7940
THORPE, JANE F             222 PENNSYLVANIA AVE.                                                                               MCDONALD           OH 44437‐1936
THORPE, JANICE E           6001 WESTERN DR                                                                                     GREAT FALLS        MT 59404‐4834
THORPE, JEANNE L           572 SNOWFALL CT                                                                                     HOWELL             MI 48843‐7378
THORPE, JEFF A             PO BOX 3951                                                                                         CENTER LINE        MI 48015‐0951
THORPE, JEFFREY C          5053 RAYMOND AVE                                                                                    BURTON             MI 48509‐1931
THORPE, JEFFREY CLARENCE   5053 RAYMOND AVE                                                                                    BURTON             MI 48509‐1931
THORPE, JENNINE            SISKIND CROMARTY IVEY & DOWLER LLP   680 WATERLOO STREET P. O. BOX              LONDON ON N6A 3V8
                                                                2520                                       CANADA
THORPE, JESSIE I           210 N MULBERRY ST                                                                                   MANSFIELD         OH 44902‐1055
THORPE, JOHN T             3184 WYNNS MILL CT                                                                                  METAMORA          MI 48455‐8956
THORPE, KANSAS             BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                   NORTHFIELD        OH 44067
                                                                PROFESSIONAL BLDG
THORPE, KENNETH
THORPE, KIMBERLY
THORPE, LENA R             5611 ROWAN RD                                                                                       NEW PORT RICHEY   FL   34653‐4576
THORPE, LESLIE J           2286 TIMBER RIDGE TRL                                                                               STREETSBORO       OH   44241
THORPE, LONIE              2277 E 74TH ST                                                                                      CLEVELAND         OH   44103‐4831
THORPE, LYLE M             17603 N COUNTRY CLUB DR                                                                             SUN CITY          AZ   85373‐2215
THORPE, MARGARET J         15488 BIRD RD                                                                                       LINDEN            MI   48451‐9722
THORPE, MARVON T           8373 E IMLAY CITY RD                                                                                IMLAY CITY        MI   48444‐9462
THORPE, MARY E             PO BOX 34                                                                                           ELBERTA           MI   49628
THORPE, MARY J             3744 S 450 E                                                                                        RUSHVILLE         IN   46173‐7871
THORPE, MATTHEW J          2181 HARDWOOD DR                                                                                    DAVISON           MI   48423‐9568
THORPE, MATTHEW JAMES      2181 HARDWOOD DR                                                                                    DAVISON           MI   48423‐9568
THORPE, MAXINE W           APT A102                             100 OXBOW DRIVE                                                LABELLE           FL   33935‐9705
THORPE, MICHAEL H          2440 DELWOOD DR                                                                                     CLIO              MI   48420‐9183
THORPE, NORMAN R           498 ABBEY ST                                                                                        BIRMINGHAM        MI   48009‐5618
                             09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                                     Part 37 of 40 Pg 52 of 901
Name                         Address1                          Address2                       Address3                   Address4         City              State Zip
THORPE, PAT A                PO BOX 320193                                                                                                FLINT              MI 48532‐0004
THORPE, PATRICIA C           4880 SASHABAW RD                                                                                             CLARKSTON          MI 48346‐3843
THORPE, RALPH W              926 E COUNTY ROAD 500 S                                                                                      MUNCIE             IN 47302‐8709
THORPE, RAMONA C             9394 WORTH RD                                                                                                DAVISON            MI 48423
THORPE, RANDY W              51 S 8TH AVE                                                                                                 BEECH GROVE        IN 46107‐1822
THORPE, REBECCA ROBLE        1051 WEST US HWY 83               LOT 730                                                                    DONNA              TX 78537
THORPE, RICHARD D            9038 STATE ROUTE 503 N                                                                                       LEWISBURG          OH 45338‐9715
THORPE, RICHARD P            1819 E WATERBERRY DR                                                                                         HURON              OH 44839‐2262
THORPE, ROBERT L             321 CREDITON ST                                                                                              LAKE ORION         MI 48362‐2025
THORPE, ROBERT LEE           321 CREDITON ST                                                                                              LAKE ORION         MI 48362‐2025
THORPE, ROBERT R             224 MOUND ST                                                                                                 BROOKVILLE         OH 45309‐1312
THORPE, ROBERT R             224 MOUND STREET                                                                                             BROOKVILLE         OH 45309‐1312
THORPE, ROXANN M             503 TIPTON ST                                                                                                SALIX               IA 51052
THORPE, ROXANN M             PO BOX 194                        503 TIPTON ST.                                                             SALIX               IA 51052‐0194
THORPE, ROXANNE L            60 LEXINGTON AVENUE                                                                                          TORRINGTON         CT 06790‐3430
THORPE, RUSSELL M            868 E HUNT HWY                                                                                               QUEEN CREEK        AZ 85243‐7400
THORPE, SAMUEL               KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                               CLEVELAND          OH 44114
                                                               BOND COURT BUILDING
THORPE, SCOTT W              1855 STONECREST                                                                                              MILFORD           MI   48381‐1132
THORPE, STEVEN L             1413 WATERVLIET AVE                                                                                          DAYTON            OH   45420‐3044
THORPE, THOMAS               5193 CHAMBERLAIN RD                                                                                          BATH              NY   14810‐7609
THORPE, THOMAS E             2791 GUELPH CT                                                                                               NORTH BRANCH      MI   48461‐7927
THORPE, THOMAS W             11722 TINKERS CREEK RD.                                                                                      VALLEYVIEW        OH   44215
THORPE, VITA                 1810 HERITAGE DR                                                                                             JAMISON           PA   18929‐1629
THORPE, WILEY N              450 ROCKY BRANCH RD                                                                                          SPRUCE PINE       AL   35585‐3016
THORPE, WILLIAM A            2124 WATER CREST LANE                                                                                        COLUMBUS          OH   43209‐3339
THORPE, WILLIAM C            13820 EATON PIKE                                                                                             NEW LEBANON       OH   45345‐9298
THORPE, WILLIAM H            7189 SHERWOOD LN                                                                                             DAVISON           MI   48423‐2369
THORPE, WILLIAM J            7481 SHEELIN CT                                                                                              DAYTON            OH   45415‐1147
THORPE, WILLIAM J            GENERAL DELIVERY                                                                                             INVERNESS         FL   34450‐9999
THORPE, WILLIAM J.R.         7481 SHEELIN CT                                                                                              DAYTON            OH   45415‐1147
THORPE,WILLIAM J.R.          7481 SHEELIN CT                                                                                              DAYTON            OH   45415‐1147
THORPS, WILLA M              PO BOX 179                                                                                                   INGLEWOOD         CA   90306‐0179
THORSBERG JEAN ‐ ORTIZ BEN   ORTIZ, BEN
THORSBERG JEAN ‐ ORTIZ BEN   THORSBERG, JEAN E
THORSBERG JEAN ‐ ORTIZ BEN   THORSBERG, JEAN E                 BENJAMIN MCCULLAR              316 NORTH BROADWAY SUITE                    SHAWNEE           OK 74801
                                                                                              G
THORSBERG, JEAN E            3 ROEPER DR                                                                                                  ST PETERS         MO   63375‐1416
THORSBERG, JEAN E            D ROEPER DR                                                                                                  SAINT PETERS      MO   63376‐1416
THORSBERG, JEFFREY S         9521 SHADY MEADOW WAY                                                                                        NEWALLA           OK   74857‐9067
THORSBY, BLAKE C             3395 N JENNINGS RD                                                                                           FLINT             MI   48504‐1768
THORSBY, CLAUDE A            6091 WESTERN DR UNIT 57                                                                                      SAGINAW           MI   48638‐5956
THORSBY, DONALD D            14103 N CLIO RD                                                                                              CLIO              MI   48420‐8804
THORSBY, DREW D              1324 N WASHINGTON ST                                                                                         OWOSSO            MI   48867‐1773
THORSBY, KEITH A             1188 E KALAMA AVE                                                                                            MADISON HEIGHTS   MI   48071‐4125
THORSBY, LUELLA A            69 OXBOW LAKE RD                                                                                             WHITE LAKE        MI   48386‐2622
THORSBY, LUELLA A.           69 OXBOW LAKE RD                                                                                             WHITE LAKE        MI   48386‐2622
THORSBY, PATRICIA A          14103 N CLIO RD                                                                                              CLIO              MI   48420‐8804
THORSBY, PATRICIA A          14103 CLIO RD                                                                                                CLIO              MI   48420‐8804
THORSBY, ROBERT L            11242 COLDWATER RD                                                                                           FLUSHING          MI   48433‐9748
THORSBY, WALKER G            565 WESTCHESTER WAY                                                                                          BIRMINGHAM        MI   48009‐4428
                                     09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                             Part 37 of 40 Pg 53 of 901
Name                                 Address1                          Address2                      Address3                 Address4         City            State Zip
THORSEN ALFREDO                      THORSEN, ALFREDO                  LIBERTY MUTUAL                5050 W TILGHMAN STREET                    ALLENTOWN        PA 18104‐9154
                                                                                                     SUITE 200
THORSEN FINN K (494264)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA 23510
                                                                       STREET, SUITE 600
THORSEN, ALFRED
THORSEN, ALFREDO                     LIBERTY MUTUAL                    5050 W TILGHMAN ST STE 200                                              ALLENTOWN       PA 18104‐9154
THORSEN, BENJAMIN J                  10488 ROALTHA DR                                                                                          WHITMORE LAKE   MI 48189‐9338
THORSEN, FINN K                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
THORSEN, JAMES A                  8325 FARGO RD                                                                                                YALE            MI   48097‐4726
THORSEN, JAMES E                  672 GOLD NUGGET PT                                                                                           PROSPERITY      SC   29127‐9430
THORSEN, JAMES S                  1456 S ARCH ST                                                                                               JANESVILLE      WI   53546‐5562
THORSEN, PAULA M                  4925 CURVE RD                                                                                                FREELAND        MI   48623‐9287
THORSEN, ROBERT J                 4925 CURVE RD                                                                                                FREELAND        MI   48623‐9287
THORSEN, WILLIAM C                317 TEXKNOLL DR                                                                                              BRIGHTON        MI   48116‐2449
THORSON BUICK,THORSON GMC,THORSON 3456 E COLORADO BLVD                                                                                         PASADENA        CA   91107‐3803
P
THORSON BUICK,THORSON GMC,THORSON 3456 E COLORADO BLVD                                                                                         PASADENA        CA 91107‐3803
PONTIAC,THORSON MOTOR CENTER

THORSON GMC TRUCK BUICK MOTOR CO     3456 E COLORADO BLVD                                                                                      PASADENA        CA 91107‐3803

THORSON GMC TRUCK‐BUICK MOTOR CO. THOMAS GEORGE                        3456 E COLORADO BLVD                                                    PASADENA        CA 91107‐3803

THORSON GMC TRUCK‐BUICK MOTOR CO., ATTENTION: MR. JOHN DE L'ORME,      3456 E COLORADO BLVD                                                    PASADENA        CA 91107‐3803
INC.                               PRESIDENT
THORSON JEAN                       816 W LAMME ST                                                                                              BOZEMAN         MT   59715‐3342
THORSON JR, KENNETH F              13934 BRIDGEWATER CT                                                                                        SOUTH LYON      MI   48178‐1913
THORSON JR, KENNETH FRIESTEAD      13934 BRIDGEWATER CT                                                                                        SOUTH LYON      MI   48178‐1913
THORSON PONTIAC (ALAMO)            3456 E COLORADO BLVD                                                                                        PASADENA        CA   91107‐3803
THORSON WALTER E (358160)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA   23510
                                                                       STREET, SUITE 600
THORSON, ALAN L                      4386 N ELMS RD                                                                                            FLUSHING        MI   48433‐1450
THORSON, BONITA K                    3102 EAGLE RIDGE DRIVE WEST                                                                               WILLMAR         MN   56201‐2700
THORSON, CLARENCE O                  3010 ANGELUS DR                                                                                           WATERFORD       MI   48329‐2506
THORSON, DAVID C                     14712 SUMMIT OAKS DRIVE                                                                                   BURNSVILLE      MN   55337‐4785
THORSON, DONALD K                    605 INDIAN LAKE RD                                                                                        OXFORD          MI   48371‐6219
THORSON, DONALD L                    2727 LONG WINTER LN                                                                                       OAKLAND         MI   48363‐2154
THORSON, JOHN C                      453 WHITE SWAN WAY                                                                                        LANGHORNE       PA   19047‐2371
THORSON, JOHN S                      9224 BURR OAK DR                                                                                          FORT WAYNE      IN   46819‐2310
THORSON, LLOYD E                     1702 17TH ST APT 305                                                                                      BRODHEAD        WI   53520
THORSON, MICHAEL S                   3948 E OLD PINE TRL                                                                                       MIDLAND         MI   48642‐8864
THORSON, RALPH A                     79595 BERMUDA DUNES DR                                                                                    BERMUDA DUNES   CA   92203‐8082
THORSON, RUTHANN M                   4162 151ST AVE NW                                                                                         ANDOVER         MN   55304‐2901
THORSON, SCOTT L                     402 N HIGH ST                                                                                             JANESVILLE      WI   53548
THORSON, SWITALA, MONDOCK & SNEAD,   GILBERT B. SWITALA JR.            130 W. SECOND STREET          SUITE 1508                                DAYTON          OH   45402
LLP
THORSON, VIRGIL C                    6125 WATERSIDE DR                                                                                         FORT WAYNE      IN 46814‐3267
THORSON, WALTER E                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
THORSON, WILLIAM H                   1423 BELSLY BLVD                                                                                          MOORHEAD        MN 56560‐5194
THORSPECKEN, JOANNE M                855 SANDPIPER BAY DR SW                                                                                   SUNSET BEACH    NC 28468‐5801
                                    09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                            Part 37 of 40 Pg 54 of 901
Name                               Address1                           Address2                       Address3   Address4               City             State Zip
THORSPORT RACING INC               PO BOX 2277                                                                                         SANDUSKY          OH 44871‐2277
THORSRUD, ROBERT L                 1257 MADISON 244                                                                                    FREDERICKTOWN     MO 63645‐7224
THORSTAD CHEVROLET, INC.           RONALD THORSTAD                    1702 S PARK ST                                                   MADISON           WI 53713‐1212
THORSTAD CHEVROLET, INC.           1702 S PARK ST                                                                                      MADISON           WI 53713‐1212
THORSTAD JOHN                      7318 LONGMEADOW RD                                                                                  MADISON           WI 53717‐1065
THORSTAD, BRETT
THORSTEINSON, ORVILLE A            1532 FAIRFIELD DR                                                                                   GREENFIELD        IN   46140‐7771
THORSTEN BEKKER                    UHLANDSTR 10A                      49078 OSNABRUCK                           GERMANY
THORSTEN BEY                       GAMBRINUSSTRASSE 30                                                          64319 PFUNGSTADT
                                                                                                                GERMANY
THORSTEN BEY                       GAMBRINUSSTRA▀E 30                 64319 PFUNGSTADT
THORSTEN BEY                       GAMBRINUSSTRA▀E 30                                                           64319 PFUNGSTADT
                                                                                                                GERMANY
THORSTEN CHRISTIAN                 GOEDDESTR. 36
THORSTEN CHRISTIAN                 GOEDDESTR. 36                      51067 K╓LN
THORSTEN CHRISTIAN                 GOEDDESTR. 36                      51067 KOELN
THORSTEN CHRISTIAN                 GOEDDESTR 36                                                                 51067 KOELN GERMANY
THORSTEN D. WIGGENHAGEN            STOCKGASSE 17A                                                               96155 BUTTENHEIM
                                                                                                                GERMANY
THORSTEN JUNG                      SEESTRASSE 4                                                                 56459 POTTUM GERMANY
THORSTEN LEICH                     SCHOENBORNSTR 43                                                             65439 FLOERSHEIM
                                                                                                                GERMANY
THORSTEN POHL                      ALBERT‐SCHWEITZER‐RING 61                                                    69226 NUSSLOCH
THORSTEN POHL                      ALBERT‐SCHWEITZER‐RING 61          69226 NUSSLOCH
THORSTEN SALMIKEIT                 ZUM KEHRNAGEL 12                                                                                    KASEL                  54317
THORSTEN SCHNITKER                 FRIEDHOFSTRASSE 39                                                           35633 LAHNAU GERMANY
THORSTEN SCHULZE                   WOLSTEINKAMP 43                    22607 HAMBURG                  GERMANY
THORSTEN SCHULZE                   WOLSTEINKAMP 43                                                              22607 HAMBURG
THORSTENSON, ROBERT                5849 BARBANNA LN                                                                                    DAYTON           OH    45415‐2416
THORTON GRANT                      STE 400                            2010 CORPORATE RIDGE                                             MC LEAN          VA    22102‐7838
THORTON JULIE                      THORTON, JULIE                     16133 VENTURA BLVD 7TH FLOOR                                     ENCINO           CA    91436
THORTON, JOHN                      PORTER & MALOUF PA                 4670 MCWILLIE DR                                                 JACKSON          MS    39206‐5621
THORTON, JULIE                     GREEN, JANNINE                     16133 VENTURA BLVD 7TH FLOOR                                     ENCINO           CA    91436
THORUP KURT                        2435 ZEDER AVE                                                                                      DELRAY BEACH     FL    33444‐8120
THOS J WACK CO                     10950 PIERSON DR                                                                                    FREDERICKSBURG   VA    22408‐8083
THOSTENSON, MATTHEW J              12323 W SPRING VALLEY CORS                                                                          JANESVILLE       WI    53548‐9269
THOUIN, LAWRENCE                   2777 HILLENDALE DR                                                                                  ROCHESTER HLS    MI    48309‐1924
THOUIN, PAUL J                     501 LAKE CIR                                                                                        PLANT CITY       FL    33565‐9288
THOUNE, DOROTHY D                  3259 N TERM ST                                                                                      FLINT            MI    48506‐1927
THOUNE, ELLEN C                    1405 W. CASS AVENUE                                                                                 FLINT            MI    48505‐1154
THOUNE, ELLEN C                    1405 W CASS AVE                                                                                     FLINT            MI    48505‐1154
THOUNE, GARY L                     7347 LAKE RD                                                                                        MILLINGTON       MI    48746‐9236
THOUNE, PANSY L                    5147 SAGAMORE DR                                                                                    SWARTZ CREEK     MI    48473‐8209
THOUSAND OAKS (CITY OF)            DEPARTMENT NUMBER # 7235                                                                            LOS ANGELES      CA    90088‐0001
THOUSAND OAKS AUTO                 25 TAYLOR CT                                                                                        THOUSAND OAKS    CA    91360‐6052
THOUSAND OAKS AUTOMOTIVE           2555 THOUSAND OAKS DR                                                                               SAN ANTONIO      TX    78232‐4101
THOUSAND OAKS PRECISION AUTOMOTIVE 50 N SKYLINE DR STE 6                                                                               THOUSAND OAKS    CA    91362‐5998

THOUVENOT, CHARLES C               5 SOUTH HIGH OAKS CIRCLE                                                                            SPRING            TX   77380‐2860
THOWE, H M                         1330 N FRONT ST                                                                                     RUSSELL           KS   67665‐1716
THQ INC.
THRAEN, PATRICIA A                 1044 BAY DR SE                                                                                      FOREST LAKE      MN 55025‐2033
                         09-50026-mg                Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                  Part 37 of 40 Pg 55 of 901
Name                     Address1                           Address2                         Address3   Address4         City                State Zip
THRAILKILL, PERCY F      2479 ATTALA ROAD 2111                                                                           MC COOL              MS 39108‐9089
THRAILKILL, ROBERT D     337 W 3RD ST                                                                                    BLOOMSBURG           PA 17815‐1640
THRAIN, MAUREEN E        40 ROATH ST                                                                                     WORCESTER            MA 01604‐3138
THRAIN, MICHAEL J        1000 WALDEN CREEK TRCE STE 31‐1B                                                                SPRING HILL          TN 37174‐6563
THRAIN, PATRICK          2621 THOMPSON STATION RD E                                                                      THOMPSONS STATION    TN 37179‐9250
THRALL, BILLIE M         6285 SANILAC RD                                                                                 KINGSTON             MI 48741‐9743
THRALL, CELIA P          4222 1/2 NICOLLET AVE                                                                           MINNEAPOLIS          MN 55409‐2015
THRALL, JOSEPH L         19244 OAK HOLLOW DR                                                                             LAKE ANN             MI 49650‐9733
THRALL, LAWRENCE A       6285 SANILAC RD                                                                                 KINGSTON             MI 48741‐9743
THRALL, MICHAEL D        114 DUNES CT # B                                                                                ATLANTIC BEACH       NC 28512‐7424
THRALL, RICHARD P        1072 HARWOOD DR                                                                                 COLUMBUS             OH 43228‐3513
THRALL, RUFUS S          NORTH BREWSTER ROAD                                                                             BREWSTER             NY 10509
THRALLS WILLIAM          38351 VIA MAJORCA                                                                               MURRIETA             CA 92562‐8527
THRAM SHIRLEY            1000 S ELM ST                                                                                   LAMBERTON            MN 56152‐1080
THRAMS JR, GUY E         121 OXFORD RD                                                                                   LEXINGTON            OH 44904‐1035
THRAMS, DONALD C         1906 W ALEXIS RD APT D202                                                                       TOLEDO               OH 43613‐5465
THRAMS, RAY A            531 N. BURROAK RD.                                                                              COLON                MI 49040
THRAN, LILLIAN           168 KEUKA RD                                                                                    INTERLACHEN          FL 32148‐5706
THRAPP BETTY             9500 HARRITT RD APT 119                                                                         LAKESIDE             CA 92040
THRAPP JOSEPH (450298)   WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                              NEW YORK             NY 10038
THRAPP, ERNEST F         5204 APPLEWOOD DR                                                                               FLUSHING             MI 48433‐1193
THRAPP, JOSEPH           WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                              NEW YORK             NY 10038
THRAPP, ROBERTA DAWN
THRAPP, TRINA D          1312 MILLER PLACE DR                                                                            BRYANT              AR    72022‐2389
THRAPPAS, ERIC B         8 TERESA DR                                                                                     MENDON              MA    01756‐1176
THRASH AUTOMOTIVE INC.   4834 WEST AVE                                                                                   SAN ANTONIO         TX    78213‐2704
THRASH MARIAN            THRASH, MARIAN                     120 WEST MADISON STREET , 10TH                               CHICAGO             IL    60602
                                                            FLOOR
THRASH MARIAN            THRASH, MICHAEL                    120 WEST MADISON STREET , 10TH                               CHICAGO              IL   60602
                                                            FLOOR
THRASH, AARON S          RR 1 BOX 395D                                                                                   TOOMSUBA            MS    39364
THRASH, ALBERT L         3400 PENROSE DR                                                                                 LANSING             MI    48911‐3331
THRASH, ARTHUR J         1220 SOMERSET LN                                                                                FLINT               MI    48503‐2947
THRASH, CARL W           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA    23510
                                                            STREET STE 600
THRASH, CAROLINE L       2173 S CENTER RD APT 213                                                                        BURTON              MI    48519
THRASH, CHARLES E        1923 ECKLEY AVE                                                                                 FLINT               MI    48503‐4527
THRASH, CLARENCE H       115 SOUTHWIND BAY DR                                                                            SENECA              SC    29672‐6878
THRASH, DAVID R          6083 TRENTON DR                                                                                 FLINT               MI    48532‐3227
THRASH, DAVID RONALD     6083 TRENTON DR                                                                                 FLINT               MI    48532‐3227
THRASH, DERRICK C        116 SHANNON ST                                                                                  DAYTON              OH    45402‐8332
THRASH, DWAYNE L         12761 STERLING CT                                                                               OAK PARK            MI    48237‐2140
THRASH, GERALD J         3055 KLEINPELL ST                                                                               BURTON              MI    48529
THRASH, LAMAR O          35 TWIN LAKE DR APT 5                                                                           LAKE ST LOUIS       MO    63367‐2732
THRASH, LOIS             901 E WELLINGTON AVE                                                                            FLINT               MI    48503‐2713
THRASH, LOIS             901 E. WELLINGTON AVE                                                                           FLINT               MI    48503‐2713
THRASH, NORA C           3309 MERIDALE RD                                                                                MERIDIAN            MS    39301‐1420
THRASH, REX              4409 MAXINE DR                                                                                  CHOCTAW             OK    73020‐5925
THRASH, SHELDON R        4343 GREENTREE DR                                                                               FLINT               MI    48507‐5659
THRASH, THOMAS M         5825 HILL RD                                                                                    POWDER SPRINGS      GA    30127‐4042
THRASH, WILLIE B         25900 EUCLID AVENUE                APT #229                                                     EUCLID              OH    44132‐4132
THRASH, WILLIE B         25900 EUCLID AVE APT 229                                                                        EUCLID              OH    44132‐2735
                              09-50026-mg               Doc 7123-39      Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                        Part 37 of 40 Pg 56 of 901
Name                          Address1                          Address2                Address3         Address4           City             State Zip
THRASHER JR, EDWIN C          861 TEGGERDINE RD                                                                             WHITE LAKE        MI 48386‐1732
THRASHER JR, GILBERT          445 WILLOW DELL DR                                                                            SENOIA            GA 30276‐1861
THRASHER JR, JAMES R          6245 MAHONING DR                                                                              HUBBARD           OH 44425‐2854
THRASHER NELLIE               THRASHER, NELLIE                  270 WHITE OAK RD                                            HAYDEN            AL 35079
THRASHER SAMUEL R & BETTY I   DBA BEST CAB CO                   1319 N SAGINAW ST                                           FLINT             MI 48503‐1739
THRASHER, ANGELA D            2316 S SACKS DR                                                                               YORKTOWN          IN 47396‐9551
THRASHER, ANGELA DAWN         2316 S SACKS DR                                                                               YORKTOWN          IN 47396‐9551
THRASHER, ANNE                10097 ROBLYN CIR 36                                                                           DIMONDALE         MI 48821
THRASHER, BRADLEY D           APT 3D                            6975 HERITAGE CIRCLE                                        ORLAND PARK        IL 60462‐5410
THRASHER, CHRISTOPHER P       4517 POLARIS DR                                                                               CHAPEL HILL       TN 37034‐2463
THRASHER, CLYDE C             12807 NW PORTER RD                                                                            PARKVILLE         MO 64152‐1329
THRASHER, DARRELL G           342 BLANCHARD DR                                                                              DEFIANCE          OH 43512‐3462
THRASHER, DAVID C             5378 N VASSAR RD                                                                              FLINT             MI 48506‐1230
THRASHER, DAVID G             2062 E GREENWAY DR                                                                            TEMPE             AZ 85282‐7432
THRASHER, DAVID M             11778 PEAKE RD                                                                                PORTLAND          MI 48875‐8431
THRASHER, EARL                8701 KINGSWOOD                                                                                DETROIT           MI 48221
THRASHER, ESTHER L            2712 N 500 W                                                                                  ANDERSON          IN 46011‐8786
THRASHER, ESTHER L            2712 N. 500 W                                                                                 ANDERSON          IN 46011‐8786
THRASHER, FRED                4317 ARROW TREE DR                APT D                                                       ST LOUIS          MO 63128‐4714
THRASHER, FRED                4317 ARROW TREE DR APT D                                                                      SAINT LOUIS       MO 63128‐4714
THRASHER, GENEVA R            2800 S DIXON RD APT 317                                                                       KOKOMO            IN 46902‐6417
THRASHER, J                   2888 N BOGAN RD                                                                               BUFORD            GA 30519‐3947
THRASHER, JANICE              31814 GABLE                                                                                   LIVONIA           MI 48152‐1556
THRASHER, JANICE              31814 GABLE ST                                                                                LIVONIA           MI 48152‐1556
THRASHER, JAY W               187 DOE DR                                                                                    BOONE             NC 28607‐9471
THRASHER, JERRY O             1007 DANBURY LN SE                                                                            DECATUR           AL 35601‐3480
THRASHER, JIMMY D             5235 E S AVE                                                                                  VICKSBURG         MI 49097‐8474
THRASHER, JOANN               4135 FRANK NEELY RD                                                                           NORCROSS          GA 30092‐1336
THRASHER, LINDA J             10754 E GREENWAY RD                                                                           SCOTTSDALE        AZ 85255‐1811
THRASHER, LINDA L             4261 GRANGE HALL RD LOT 173                                                                   HOLLY             MI 48442‐1192
THRASHER, LINDA LYNN          4261 GRANGE HALL RD LOT 173                                                                   HOLLY             MI 48442‐1192
THRASHER, LYNN E              4261 GRANGE HALL RD LOT 173                                                                   HOLLY             MI 48442‐1192
THRASHER, LYNN EDWARD         4261 GRANGE HALL RD LOT 173                                                                   HOLLY             MI 48442‐1192
THRASHER, MARY A              681‐102 FRONT RD S                                                         AMHERSTBURG ON
                                                                                                         N9VOB4 CANADA
THRASHER, MARY L              6340 NORTH SHORE COURT                                                                        W BLOOMFIELD     MI   48324‐2039
THRASHER, MARY LEE            114 KIMMER RD                                                                                 PEACHTREE CITY   GA   30269‐3633
THRASHER, MICHAEL             10702 MARKET ST                                                                               DEFIANCE         OH   43512‐1210
THRASHER, MICHAEL A           APT 124                           27054 OAKWOOD DRIVE                                         OLMSTED FALLS    OH   44138‐3514
THRASHER, MICHAEL A           51651 N RIDGE RD                                                                              VERMILION        OH   44089‐9408
THRASHER, NATALIE ANN         53 GARRISON AVENUE                                                                            JERSEY CITY      NJ   07306‐5617
THRASHER, NELLIE              270 WHITE OAK RD                                                                              HAYDEN           AL   35079‐7404
THRASHER, REFUGIA N           8600 FALCONET CIR                                                                             MCKINNEY         TX   75070‐5823
THRASHER, ROGER L             334 WESTSIDE DR                                                                               ROSWELL          GA   30075‐4834
THRASHER, RON B               8600 FALCONET CIR                                                                             MCKINNEY         TX   75070‐5823
THRASHER, RONALD D            2100 BRICKTON STA                                                                             BUFORD           GA   30518‐6024
THRASHER, RONALD DAVID        2100 BRICKTON STA                                                                             BUFORD           GA   30518‐6024
THRASHER, ROXIE F             2664 OLD STATE ROUTE 34                                                                       LIMESTONE        TN   37681‐3102
THRASHER, RUTH J              2229 GLENCOE RD                                                                               CULLEOKA         TN   38451‐2150
THRASHER, SAMUEL R            7700 TIMBER CLIFF LN                                                                          TRAFALGAR        IN   46181‐8835
THRASHER, SYLVIA M            1145 AYCOCK RD                                                                                MERIDIAN         MS   39301‐7419
THRASHER, THOMAS J            29038 COUNTY ROAD 354                                                                         LAWTON           MI   49065‐8696
                                   09-50026-mg             Doc 7123-39     Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                          Part 37 of 40 Pg 57 of 901
Name                               Address1                          Address2               Address3       Address4         City                   State Zip
THRASHER, TONY E                   1617 WHISPERING COVE TRL                                                                 FORT WORTH              TX 76134‐5800
THRASHER, TRACEY A                 6245 MAHONING DR                                                                         HUBBARD                 OH 44425‐2854
THRASHER, TRACEY A.                6245 MAHONING DR                                                                         HUBBARD                 OH 44425‐2854
THRASHER, WILLIAM D                1121 CIRCLE DR                                                                           MARTINSBURG             WV 25401‐1817
THRASHER, WILLIAM L                11262 S 200 W                                                                            BUNKER HILL             IN 46914‐9548
THRASHER, WILLIAM T                1214 FORREST CROSSING ROAD                                                               JOELTON                 TN 37080
THRASHER, WILLIAM T                1214 FOREST CROSSING                                                                     JOELTON                 TN 37080‐4857
THRASHER, WILLODEAN                7602 OAK GROVE LN                                                                        NORTHPORT               AL 35473‐8232
THRASHER, YVONNE                   30824 LA MIRANDA UNIT 337                                                                RANCHO SANTA MARGARITA CA 92688

THRASYBULE, FRITZLER A             7218 CLASSIC CIR                                                                         SHREVEPORT             LA   71108‐4712
THRAWL, GLENN D                    455 SUNNEHANNA DR UNIT 489                                                               MYRTLE BEACH           SC   29588‐5364
THRAWL, VERNA A                    823 NO 16TH ST                                                                           ELWOOD                 IN   46036‐1316
THRAWL, VERNA A                    823 N 16TH ST                                                                            ELWOOD                 IN   46036‐1316
THREAD CRAFT INC                   43643 UTICA RD                                                                           STERLING HEIGHTS       MI   48314‐2359
THREAD GRINDING SERVICE INC        32420 W 8 MILE RD                                                                        FARMINGTON HILLS       MI   48336‐5104
THREAD INFORMATION DESIGN          1700 WOODLANDS DRIVE                                                                     MAUMEE                 OH   43537
THREAD INFORMATION DESIGN          JOE SHARP                         1700 WOODLANDS DRIVE                                   MAUMEE                 OH   43537
THREAD INFORMATION DESIGN INC      1700 WOODLANDS DR                                                                        MAUMEE                 OH   43537
THREAD INFORMATION DESIGN, INC.    GERALD L MILLS
THREAD‐CRAFT INC                   43643 UTICA RD                    PO BOX 220                                             STERLING HEIGHTS       MI   48314‐2359
THREADCRAFT, LUCILLE E             9631 NORTH MARTINDALE                                                                    DETROIT                MI   48204
THREADGILL, JENNIE T               P.O. BOX 206                                                                             DAYTON                 OH   45417
THREADGILL, JOE F                  PO BOX 1402                                                                              ALMA                   AR   72921‐1402
THREADGILL, LAWRENCE               1207 MOCKINGBIRD LN                                                                      TEXARKANA              TX   75501‐3033
THREADGILL, TONY                   HARTKOP JEFFREY W                 93 S MAIN ST                                           MOUNT CLEMENS          MI   48043‐2379
THREASA ANDERSON                   11138 DODGE ROAD                                                                         OTISVILLE              MI   48463‐9739
THREAT, ALICE                      18357 W 13 MILE RD APT 22                                                                SOUTHFIELD             MI   48076‐8028
THREAT, MARY F                     2592 BROWN CITY RD                                                                       IMLAY CITY             MI   48444‐9417
THREAT, REGINALD                   2108 KENSINGTON ST                                                                       JANESVILLE             WI   53546‐5752
THREATHER JONES                    7123 THAMESFORD DR                                                                       FORT WAYNE             IN   46835‐1889
THREATT III, JAMES H               8786 TOWNSQUARE DR S                                                                     JACKSONVILLE           FL   32216‐0502
THREATT JR, PERRY C                1202 CROSSHILL LN                                                                        NEWBERRY               SC   29108‐4108
THREATT, CORTEZ                    220 CROSS PARK DR APT P189                                                               PEARL                  MS   39208‐9391
THREATT, JOYCE A                   517 THREATT RD                                                                           COLLINSVILLE           MS   39325
THREATT, MARTHA M                  1236 WRIGHTS MILL RD                                                                     COMMERCE               GA   30530‐7815
THREATT, MONTY R                   10280 COUNTY ROAD 711                                                                    COLLINSVILLE           MS   39325‐9443
THREATT, TYRONE                    14816 WASHINGTON AVE                                                                     HARVEY                 IL   60426‐1919
THREATT, WILLIE L                  9212 FOREST COVE CIR                                                                     MIDWEST CITY           OK   73130‐3400
THREE B PROMOTIONAL PRODUCTS INC   34 KENTON PL                                                                             HAMBURG                NY   14075‐4308

THREE B TRANSPORTATION BROKERA     PO BOX 1037                                                                              HAVERTOWN              PA   19083‐0037
THREE BOND CO LTD                  25913 MEADOWBROOK RD                                                                     NOVI                   MI   48375‐1853
THREE BOND CO LTD                  6184 SCHUMACHER PARK DR                                                                  WEST CHESTER           OH   45069‐4802
THREE BOND INTERNATIONAL INC       25913 MEADOWBROOK RD                                                                     NOVI                   MI   48375‐1853
THREE BOND INTERNATIONAL INC       6184 SCHUMACHER PARK DR                                                                  WEST CHESTER           OH   45069‐4802
THREE BOND INTERNATIONAL INC       PO BOX 537017                                                                            SACRAMENTO             CA   95853‐7017
THREE BOND USA INC                 41214 BRIDGE ST                                                                          NOVI                   MI   48375‐1301
THREE BOND USA INC                 6184 SCHUMACHER PARK DR                                                                  WEST CHESTER           OH   45069‐4802
THREE BOND/W CHESTER               6184 SCHUMACHER PARK DR                                                                  WEST CHESTER           OH   45069‐4802
THREE BOND/W CHESTER               300 GALLERIA OFFICENTRE STE 316                                                          SOUTHFIELD             MI   48034‐8429
                                  09-50026-mg                 Doc 7123-39      Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                              Part 37 of 40 Pg 58 of 901
Name                             Address1                             Address2                Address3         Address4                City              State Zip
THREE BRYDGES AUTOMOTIVE         R R #4, 5939 DUNDAS ST. E.                                                    THAMESFORD ON N0M
                                                                                                               2M0 CANADA
THREE DIMENSIONAL SERVICES INC   STEVE KELLY                          2547 PRODUCT DRIVE                       KYUNG SUN KOREA (REP)
THREE DIMENSIONAL SERVICES INC   2547 PRODUCT DR                                                                                       ROCHESTER HILLS   MI    48309‐3806
THREE GENERATIONS                ATTN: GARY WIEBE                     39293 PLYMOUTH RD                                                LIVONIA           MI    48150‐1060
THREE I ENGINEERING INC          2425 W INDIANA ST                    PO BOX 6562                                                      EVANSVILLE        IN    47712‐5570
THREE I ENGINEERING INC          2425 W INDIAN ST                                                                                      EVANSVILLE        IN    47715
THREE I ENGINEERING INC          ANN MERKEL                           PO 6562                                                          EVANSVILLE        IN    47719
THREE I TRUCK LINE INC           PO BOX 71573                                                                                          CHICAGO           IL    60694‐1573
THREE LAKES AUTO                 7003 US HIGHWAY 45                                                                                    THREE LAKES       WI    54562‐9737
THREE RIVERS DERMATO             7230 ENGLE RD STE 120                                                                                 FORT WAYNE        IN    46804‐2234
THREE S EXPRESS INC              11282 SOUTH AVE                                                                                       NORTH LIMA        OH    44452‐9731
THREE SEAS INC                   2901 CHESTNUT AVE                                                                                     BALTIMORE         MD    21211‐2749
THREE STAR AUTO SERVICE INC.     153 PROSPECT PLAINS RD                                                                                MONROE TOWNSHIP   NJ    08831‐3710
THREE STAR TRUCKING CO INC       36860 VAN BORN RD                                                                                     WAYNE             MI    48184‐1555
THREE STAR TRUCKING CO., INC.    TEDD ROWE                            36860 VAN BORN RD                                                WAYNE             MI    48184‐1555
THREE WAY INC.                   ALEX MANTEL                          790 FUSION LANE                                                  BUFFALO           WY
THREE WAY SAAB                   4501 WIBLE RD                                                                                         BAKERSFIELD       CA    93313‐2639
THREE‐WAY CHEVROLET              PO BOX 9609                                                                                           BAKERSFIELD       CA    93389‐9609
THREE‐WAY CHEVROLET AUTOMALL     4501 WIBLE RD                                                                                         BAKERSFIELD       CA    93313‐2639
THREE‐WAY CHEVROLET CO           PO BOX 9609                                                                                           BAKERSFIELD       CA    93389‐9609
THREE‐WAY CHEVROLET CO.          HAROLD MEEK                          4501 WIBLE RD                                                    BAKERSFIELD       CA    93313‐2639
THREE‐WAY SAAB                   MEEK, HAROLD W.                      PO BOX 9609                                                      BAKERSFIELD       CA    93389‐9609
THREE60 PRODUCTIONS INC          38 FULTON ST W STE 400                                                                                GRAND RAPIDS      MI    49503‐2618
THREE60 PRODUCTIONS INC          6812 OLD 28TH ST SE                  STE E                                                            GRAND RAPIDS      MI    49546‐6933
THREEBOND INTERNATIONAL, INC.    25913 MEADOWBROOK RD                                                                                  NOVI              MI    48375‐1853
THREEBOND/CINCINNAT              8790 GOVERNORS HILL DR STE 310                                                                        CINCINNATI        OH    45249‐1374
THREEHOUSE, DAVID                1417 SEXTON RIDGE DRIVE                                                                               FUQUAY VARINA     NC    27526‐5370
THREEPERSONS, SONDRA E           1101 WALSH LN                                                                                         ROUND ROCK        TX    78681‐5758
THREET JR, OTIS                  1100 HIGHWAY 145 S                                                                                    HARRISBURG        IL    62946‐5237
THREET, BARBARA                  1510 SYLVAN DR,                                                                                       MARION            IN    46953
THREET, BARBARA                  1510 SYLVAN DR                                                                                        MARION            IN    46953‐2512
THREET, BENTON M                 1398 SAWMILL RD                                                                                       CROSSVILLE        TN    38555‐1432
THREET, BILLIE M                 548 ALLEN ST                                                                                          CLIO              MI    48420‐1579
THREET, BILLY R                  1510 SYLVAN DR                                                                                        MARION            IN    46953‐2512
THREET, BING L                   4487 SHELDON LN                                                                                       FLINT             MI    48507‐3556
THREET, ERICA A                  3148 W GRACELAWN AVE                                                                                  FLINT             MI    48504‐1536
THREET, ERICA ANN                3148 W GRACELAWN AVE                                                                                  FLINT             MI    48504‐1536
THREET, ETTA                     1460 SAWMILL RD                                                                                       CROSSVILLE        TN    38555‐1477
THREET, JAMES E                  410 PLANTATION DR                                                                                     CROSSVILLE        TN    38572‐7077
THREET, JAMES T.                 429 42ND ST                                                                                           COPIAGUE          NY    11726‐1113
THREET, JOANN                    PO BOX 69                                                                                             SWEETSER          IN    46987‐0069
THREET, JUANITA                  429 42ND ST                                                                                           COPIAGUE          NY    11726‐1113
THREET, LARRY C                  1160 LAUREL CIR                                                                                       CROSSVILLE        TN    38555‐0111
THREET, OTIS D                   1314 ERIE CHURCH RD                                                                                   BEDFORD           IN    47421‐7599
THREET, PAMELA K                 5158 LIPPINCOTT BLVD                                                                                  BURTON            MI    48519‐1256
THREET, PAMELA KAYE              5158 LIPPINCOTT BLVD                                                                                  BURTON            MI    48519‐1256
THREET, PAT                      27139 CRESTWOOD DR                                                                                    WARREN            MI    48088‐6023
THREET, RAYMOND D                13805 LAWRENCE 1155 RD.                                                                               MT VERNON         MO    65712
THREET, SUE A                    410 AVON CT APT 2                                                                                     DAVISON           MI    48423‐1655
THREET, SUE ANN                  410 AVON CT APT 2                                                                                     DAVISON           MI    48423‐1655
THREETS, CONSTANCE L             68 E. BERKSHIRE                                                                                       BLOOMFIELD HL     MI    48302‐0612
                            09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                  Part 37 of 40 Pg 59 of 901
Name                       Address1                         Address2                      Address3   Address4         City                  State Zip
THREETS, CONSTANCE L       68 E BERKSHIRE RD                                                                          BLOOMFIELD HILLS       MI 48302‐0612
THREETS, EDGAR             545 WISDOM ST                                                                              JACKSON                TN 38301‐4331
THREETS, JUSTIN J          68 E BERKSHIRE RD                                                                          BLOOMFIELD HILLS       MI 48302‐0612
THREETS, ROBERT E          PO BOX 870861                                                                              NEW ORLEANS            LA 70187‐0861
THREETS, SAMUEL L          25049 LINDENWOOD LN                                                                        SOUTHFIELD             MI 48033‐6189
THREETS, STEVEN            545 WISDOM ST                                                                              JACKSON                TN 38301‐4331
THREETS‐BURKS, MELISSA D   17604 STANSBURY ST                                                                         DETROIT                MI 48235‐2615
THRELKELD JR, FREELON      214 E PULASKI AVE                                                                          FLINT                  MI 48505‐3314
THRELKELD JR, HAROLD J     2289 YEW STREET RD                                                                         BELLINGHAM             WA 98229‐6816
THRELKELD, ANTHONY         11399 E 10 MILE RD APT 217                                                                 WARREN                 MI 48089
THRELKELD, BILLIE E        3024 FALCON DR                                                                             INDIANAPOLIS           IN 46222‐1337
THRELKELD, HENRY L         1338 ROUTE 438                                                                             IRVING                 NY 14081‐9594
THRELKELD, JEROME          4020 WINONA ST                                                                             FLINT                  MI 48504‐2117
THRELKELD, KATHRYN E       450 GRACE LN                                                                               LAWRENCEBURG           TN 38464‐6795
THRELKELD, MAE J           303 MIDWAY AVE                                                                             PONTIAC                MI 48341‐3231
THRELKELD, MAE J           303 MIDWAY                                                                                 PONTIAC                MI 48341‐3231
THRELKELD, MARILYN         PO BOX 10372                                                                               MIDWEST CITY           OK 73140‐1372
THRELKELD, MILLIE V GILL   61 S. ASTOR ST.                                                                            PONTIAC                MI 48342‐2910
THRELKELD, PATRICIA A      11616 KINGS COLONY                                                                         GRAND BLANC            MI 48439
THRELKELD, ROBERT T        49710 LEHR DR                                                                              MACOMB                 MI 48044‐1752
THRELKELD, SHERMAN         311 S MARSHALL ST                                                                          PONTIAC                MI 48342‐3248
THREM, JOSHUA P            23318 RECREATION STREET                                                                    ST CLR SHORES          MI 48082‐1317
THRESA BRADY               9505 RAY RD                                                                                GAINES                 MI 48436‐9634
THRESA PANICHELLA          571 NEWPORT DR                                                                             PITTSBURGH             PA 15235‐3237
THRESEA HARRIS             142 N MERRIMAC ST                                                                          PONTIAC                MI 48340‐2532
THRESHER, MAE              1064 POINCIANA DR                                                                          CARLISLE               OH 45005
THRESHER, RUSSELL O        1827 FULTON ST                                                                             TELL CITY              IN 47586‐1029
THRESS, FLORABELL          264 FURNACE ST                                                                             LOGAN                  OH 43138‐1135
THRESS, LORENZO D          23819 ST RT 56                                                                             SO BLOOMINGVILLE       OH 43152‐9763
THRESS, LORENZO D          23819 STATE ROUTE 56                                                                       SOUTH BLOOMINGVILLE    OH 43152‐9763
THRESSA MAHONE             49 PUTNAM AVE                                                                              PONTIAC                MI 48342‐1265
THRESSA NORMAN             3214 SHAWNEE AVE                                                                           FLINT                  MI 48507‐1941
THRESSA YOUNG              24721 BEIERMAN AVE                                                                         WARREN                 MI 48091‐1793
THRIFT BOBBY W (402231)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510
                                                            STREET, SUITE 600
THRIFT, ALTON              13038 PARKRIDGE DR                                                                         SHELBY TWP            MI   48315‐4747
THRIFT, ANN M              730 N MAIN ST                                                                              EVART                 MI   49631‐9487
THRIFT, ANN M              730 NORTH MAIN STREET                                                                      EVART                 MI   49631
THRIFT, BETTY S            603B STONEY POINT RD                                                                       KINGS MOUNTAIN        NC   28086‐8566
THRIFT, BETTY S            603‐B STONEY POINT RD                                                                      KINGS MOUNTAIN        NC   28086‐8566
THRIFT, BOBBY W            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                            STREET, SUITE 600
THRIFT, DONALD G           5522 S 300 W                                                                               HUNTINGTON            IN   46750‐9170
THRIFT, GARY D             324 WINDY RIDGE DR                                                                         RUTHERFORDTON         NC   28139‐6604
THRIFT, J T                113 IDLEWOOD CT                                                                            KINGS MTN             NC   28086‐8541
THRIFT, JAMES H            31114 WHITE OAK DR                                                                         BANGOR                MI   49013‐9521
THRIFT, JAY W              5097 BISHOP RD                                                                             DRYDEN                MI   48428‐9225
THRIFT, KAREN L            5262 PARVIEW DR                                                                            CLARKSTON             MI   48346‐2808
THRIFT, KAREN L            10865 DUNN RD                                                                              RILEY                 MI   48041‐1510
THRIFT, LOIS               295 SAME PLACE RD                                                                          CLEVER                MO   65631‐6667
THRIFT, RICHARD W          C/O CYNTHIA V MCKENZIE           5258 ALFALFA LN                                           BOSSIER CITY          LA   71111
THRIFT, RICHARD W          PO BOX 264                                                                                 GREENWOOD             LA   71033‐0264
                            09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                  Part 37 of 40 Pg 60 of 901
Name                        Address1                        Address2               Address3        Address4         City                 State Zip
THRIFT, RICHARD WAYNE       PO BOX 264                                                                              GREENWOOD             LA 71033‐0264
THRIFT, SUNLEY J            295 SAME PLACE RD                                                                       CLEVER                MO 65631‐6667
THRIFT, THOMAS R            1035 OREGON BLVD                                                                        WATERFORD             MI 48327‐3251
THRIFTY AUTO CARE           ATTN: PAIGE FORTUNE             1100 N WASHINGTON ST                                    KOKOMO                IN 46901‐2804
THRIFTY CAR (LITENING)      RTE 191 ‐ BOX 196                                                                       NEWFOUNDLAND          PA 18445
THRIFTY CAR (MPT)           4025 GENESEE ST                                                                         BUFFALO               NY 14225‐1902
THRIFTY CAR (SUMMIT)        4400 SELMA HWY                                                                          MONTGOMERY            AL 36108
THRIFTY CAR (WIZER)         1620 E RENTAL CAR WAY                                                                   PHOENIX               AZ 85034‐4808
THRIFTY CAR (WIZER)         4114 E WASHINGTON ST                                                                    PHOENIX               AZ 85034‐1814
THRIFTY CAR ‐ LOS ANGELES   5440 W CENTURY BLVD                                                                     LOS ANGELES           CA 90045‐5912
THRIFTY CAR RENTAL          506 NEW FRANKLIN RD                                                                     LAGRANGE              GA 30240‐1934
THRIFTY CAR RENTAL          215 ROUTE 18 SOUTH                                                                      EAST BRUNSWICK        NJ 08816
THRIFTY CAR RENTAL          6501 GUY FULLER ROAD                                                                    OKLAHOMA CITY         OK 73159
THRIFTY CAR RENTAL          15 S 2400 W                                                                             SALT LAKE CITY        UT 84116‐2990
THRIFTY CAR RENTAL          5757 S SEMORAN BLVD                                                                     ORLANDO               FL 32822‐4813
THRIFTY CAR RENTAL          750 1/4 HORIZON DR                                                                      GRAND JUNCTION        CO 81506‐8709
THRIFTY CAR RENTAL          TERM ADDED IN ERROR                                                                     DETROIT               MI 48265‐0001
THRIFTY CAR RENTAL          3018 AVIATION WAY                                                                       WEST COLUMBIA         SC 29170‐2191
THRIFTY CAR RENTAL          2360 DISTRIBUTORS DR                                                                    INDIANAPOLIS          IN 46241‐5007
THRIFTY CAR RENTAL          720 SAINT MARKS AVE                                                                     WESTFIELD             NJ 07090‐2033
THRIFTY CAR RENTAL          1 CONVENT RD                                                                            MORRISTOWN            NJ 07960‐6922
THRIFTY CAR RENTAL          3709 W 37TH AVE                                                                         HOBART                IN 46342‐1669
THRIFTY CAR RENTAL          506 N FRANKLIN ROAD                                                                     LAGRANGE              GA 30240
THRIFTY CAR RENTAL          3114 LOOMIS ROAD                                                                        HEBRON                KY 41048
THRIFTY CAR RENTAL          250 RT 6A                                                                               ORLEANS               MA 02653‐3225
THRIFTY CAR RENTAL          10835 NE HOLMAN ST.                                                                     PORTLAND              OR 97220
THRIFTY CAR RENTAL          18820 INTERNATIONAL BLVD                                                                SEATAC                WA 98188‐5203
THRIFTY CAR RENTAL          PO BOX 19008                                                                            ALBUQUERQUE           NM 87119‐0008
THRIFTY CAR RENTAL          5912 LEWIS RD                                                                           SANDSTON              VA 23150‐2412
THRIFTY CAR RENTAL          814 HANGAR LN                                                                           NASHVILLE             TN 37217‐2533
THRIFTY CAR RENTAL          2610 E ROOSEVELT RD                                                                     LITTLE ROCK           AR 72206‐2522
THRIFTY CAR RENTAL          803 N REGIONAL RD                                                                       GREENSBORO            NC 27409‐9017
THRIFTY CAR RENTAL          59 ROUTE 35                                                                             EATONTOWN             NJ 07724
THRIFTY CAR RENTAL          PO BOX 1387                                                                             MOUNTAIN HOME         ID 83647
THRIFTY CAR RENTAL          3839 S.26TH ST. DFW AIRPORT                                                             DALLAS                TX 75261
THRIFTY CAR RENTAL          7222 E 41ST ST                                                                          TULSA                 OK 74145‐4504
THRIFTY CAR RENTAL          8022 E SPRAGUE AVE                                                                      SPOKANE VALLEY        WA 99212‐2910
THRIFTY CAR RENTAL          306 E FRONTAGE RD                                                                       GREER                 SC 29651‐6913
THRIFTY CAR RENTAL          2875 NW 42ND AVE                                                                        MIAMI                 FL 33142‐5624
THRIFTY CAR RENTAL          2982 VARSITY ST                                                                         BATON ROUGE           LA 70807‐4058
THRIFTY CAR RENTAL          117 BUTCHER ST                                                                          LAFAYETTE             LA 70503‐2203
THRIFTY CAR RENTAL          70 HEGENBERGER LOOP                                                                     OAKLAND               CA 94621‐1324
THRIFTY CAR RENTAL          3360 SELMA HWY                                                                          MONTGOMERY            AL 36108‐4920
THRIFTY CAR RENTAL          3039 UALENA ST                                                                          HONOLULU              HI 96819
THRIFTY CAR RENTAL          3825 ROOSEVELT RD                                                                       KENOSHA               WI 53142‐1903
THRIFTY CAR RENTAL          3700 CRITTENDEN DR                                                                      LOUISVILLE            KY 40209‐1122
THRIFTY CAR RENTAL          836 HILTON PKWY STE 110A                                                                HILTON HEAD ISLAND    SC 29928
THRIFTY CAR RENTAL          137 LARK ST                                                                             ALBANY                NY 12210‐1429
THRIFTY CAR RENTAL          4000 QUEBEC ST                                                                          DENVER                CO 80216‐6619
THRIFTY CAR RENTAL          507 NORTH AVE E                                                                         WESTFIELD             NJ 07090
THRIFTY CAR RENTAL          3839 S 26TH ST DFW AIRPORT                                                              DALLAS                TX 75261
THRIFTY CAR RENTAL          4175 CYPRESS RD                                                                         SAINT ANN             MO 63074
                                      09-50026-mg           Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                          Part 37 of 40 Pg 61 of 901
Name                                  Address1                       Address2             Address3         Address4         City               State Zip
THRIFTY CAR RENTAL                    4715 CYPRESS RD                                                                       SAINT ANN           MO 63074
THRIFTY CAR RENTAL                    1395 AIRMOTIVE WAY                                                                    RENO                NV 89502‐3297
THRIFTY CAR RENTAL                    14380 GAMMA DR                                                                        FORT MYERS          FL 33912‐1919
THRIFTY CAR RENTAL                    1600 KETTNER BLVD.                                                                    SAN DIEGO           CA 92101
THRIFTY CAR RENTAL                    1617 AIRPORT RD                                                                       JACKSONVILLE        FL 32218‐2409
THRIFTY CAR RENTAL                    1700 WILLISTON RD                                                                     SOUTH BURLINGTON    VT 05403‐6428
THRIFTY CAR RENTAL                    2225 N MARINE BLVD                                                                    JACKSONVILLE        NC 28546‐6916
THRIFTY CAR RENTAL                    2364 DE LA CRUZ BLVD                                                                  SANTA CLARA         CA 95050‐2921
THRIFTY CAR RENTAL                    1200 N HOLLYWOOD WAY                                                                  BURBANK             CA 91505‐2223
THRIFTY CAR RENTAL                    1090 BOSTON RD                                                                        SPRINGFIELD         MA 01119‐1340
THRIFTY CAR RENTAL                    1120 W LAUREL ST                                                                      SAN DIEGO           CA 92101‐1228
THRIFTY CAR RENTAL                    1223 FREMONT BLVD                                                                     SEASIDE             CA 93955
THRIFTY CAR RENTAL                    7705 CALAWBA CT                                                                       DENVER              CO 80249‐6393
THRIFTY CAR RENTAL                    7722 E 41ST ST                                                                        TULSA               OK 74145‐3226
THRIFTY CAR RENTAL                    847 N EL DORADO ST                                                                    STOCKTON            CA 95202‐1603
THRIFTY CAR RENTAL                    864 NORTH AVE E                                                                       ELIZABETH           NJ 07201‐2104
THRIFTY CAR RENTAL                    608 S UNION ST                                                                        LAWRENCE            MA 01843‐3742
THRIFTY CAR RENTAL                    2393 METROPOLITAN PKW/STE E1                                                          ATLANTA             GA 30315
THRIFTY CAR RENTAL                    1057 WHALLEY AVE                                                                      NEW HAVEN           CT 06515‐1703
THRIFTY CAR RENTAL                    2478 HIGHWAY 75                                                                       BLOUNTVILLE         TN 37617‐6343
THRIFTY CAR RENTAL                    259 MAIN ST                                                                           HAVERHILL           MA 01830‐5046
THRIFTY CAR RENTAL                    2750 BROAD ST                                                                         SAN LUIS OBISPO     CA 93401‐5709
THRIFTY CAR RENTAL                    2882 CYPRESS CIR                                                                      FAIRFIELD           CA 94533‐1438
THRIFTY CAR RENTAL                    666 PARK AVE                                                                          WORCESTER           MA 01603‐2035
THRIFTY CAR RENTAL                    3500 BREWERTON RD                                                                     SYRACUSE            NY 13212‐3827
THRIFTY CAR RENTAL                    6650 N ATLANTIC AVE                                                                   CAPE CANAVERAL      FL 32920‐3804
THRIFTY CAR RENTAL                    3839 S.26TH ST DFW AIRPORT                                                            DALLAS              TX 75261
THRIFTY CAR RENTAL                    40 LEE BURBANK HWY                                                                    REVERE              MA 02151‐4002
THRIFTY CAR RENTAL                    4025 GENESEE ST                                                                       BUFFALO             NY 14225‐1902
THRIFTY CAR RENTAL                    5107 W SPRUCE ST                                                                      TAMPA               FL 33607‐5945
THRIFTY CAR RENTAL                    5440 W CENTURY BLVD                                                                   LOS ANGELES         CA 90045‐5912
THRIFTY CAR RENTAL                    2510 JETPORT DR                                                                       ORLANDO             FL 32809‐8146
THRIFTY CAR RENTAL                    2409 ARDEN WAY                                                                        SACRAMENTO          CA 95825‐2411
THRIFTY CAR RENTAL                    3038 W BOUNDARY                                                                       BEAUFORT            SC 29902
THRIFTY CAR RENTAL (ALL THRIFTY CAR   BRAD MEYER                     3300 E 96TH ST                                         INDIANAPOLIS        IN 46240‐3720
RENTAL LICENSEES)
THRIFTY CAR RENTAL (HKC)              15 S 2400 W                                                                           SALT LAKE CITY     UT   84116‐2990
THRIFTY CAR RENTAL (KAM CARS)         77‐15 19 ROAD                                                                         JACKSON HEIGHTS    NY   11370
THRIFTY CAR RENTAL (KAMS CARS)        9300 MADISON BLVD                                                                     MADISON            AL   35758‐9151
THRIFTY CAR RENTAL OF DFW             PO BOX 612728                                                                         DALLAS             TX   75261‐2728
THRIFTY CAR RENTAL(NSN TRANS)         375 STATE STREET                                                                      BINGHAMTON         NY   13901
THRIFTY CAR RENTAL/SWAT               PO BOX 612728                                                                         DALLAS             TX   75261‐2728
THRIFTY CAR RENTAL/THRIFTY RAC        440 WASHINGTON AVE                                                                    NORTH HAVEN        CT   06473‐1311
THRIFTY CAR SALES                     PO BOX 1387                                                                           MOUNTAIN HOME      ID   83547‐1387
THRIFTY CR (DUDLEY)                   2750 BROAD ST                                                                         SAN LUIS OBISPO    CA   93401‐5709
THRIFTY CR (FUIMUS)                   1927 N P I D                                                                          CORPUS CHRISTI     TX   78401
THRIFTY CR (KAM CARS)                 204 PORTER STREET                                                                     EAST BOSTON        MA   02128
THRIFTY DELIVERY SERVICE              PO BOX 12250                                                                          FORT WAYNE         IN   46863‐2250
THRIFTY DRUG STORE                    140 N SAGINAW ST                                                                      PONTIAC            MI   48342‐2112
THRIFTY DRUG STORES                   140 N SAGINAW ST                                                                      PONTIAC            MI   48342‐2112
THRIFTY OF CENTRAL NE                 PO BOX 2022                                                                           KEARNEY            NE   68848‐2022
THRIFTY OF NASHVILLE                  798 HANGAR LN                                                                         NASHVILLE          TN   37217‐2504
                                   09-50026-mg           Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                       Part 37 of 40 Pg 62 of 901
Name                               Address1                      Address2              Address3         Address4         City               State Zip
THRIFTY RAC                        2600 6TH AVE N                                                                        BILLINGS            MT 59101‐1350
THRIFTY RAC (WHITEOAK TREE)        8050 N TAMIAMI TRL                                                                    SARASOTA            FL 34243‐2057
THRIFTY RAC LICENSEE               15 S 2400 W                                                                           SALT LAKE CITY      UT 84116‐2990
THRIFTY RAC SYSTEM                 DEPT 663                                                                              TULSA               OK 74182‐0001
THRIFTY RAC‐METRO BIRMINGHAM INC   5333 MESSER AIRPORT HWY                                                               BIRMINGHAM          AL 35212‐1527

THRIFTY RAC/DEL KARD INC.          608 S UNION ST                                                                        LAWRENCE           MA    01843‐3742
THRIFTY RAC/PENTASTAR              126 S VINEYARD AVE                                                                    ONTARIO            CA    91761
THRIFTY RAC/PENTASTAR              2329 POST RD                                                                          WARWICK            RI    02886‐2246
THRIFTY RAC/PENTASTAR              864 NORTH AVE E                                                                       ELIZABETH          NJ    07201‐2104
THRIFTY RAC/PENTASTAR              4025 GENESEE ST                                                                       BUFFALO            NY    14225‐1902
THRIFTY RAC/PENTASTAR              3422 1ST AVE E                                                                        MILAN               IL   61264‐5741
THRIFTY RAC/PENTASTAR              740 BARONNE ST                                                                        NEW ORLEANS        LA    70113‐1006
THRIFTY RAC/PENTASTAR              6650 N ATLANTIC AVE                                                                   CAPE CANAVERAL     FL    32920‐3804
THRIFTY RAC/PENTASTAR              1700 WILLISTON RD                                                                     SOUTH BURLINGTON   VT    05403‐6428
THRIFTY RAC/PENTASTAR              3901 MANNHEIM RD                                                                      SCHILLER PARK       IL   60176‐2013
THRIFTY RAC/PENTASTAR              9300 MADISON BLVD                                                                     MADISON            AL    35758‐9151
THRIFTY RAC/PENTASTAR              1090 BOSTON RD                                                                        SPRINGFIELD        MA    01119‐1340
THRIFTY RAC/PENTASTAR              275 BROAD STREET                                                                      SAN LUIS OBISPO    CA    93405
THRIFTY RAC/PENTASTAR              8050 N TAMIAMI TRL                                                                    SARASOTA           FL    34243‐2057
THRIFTY RAC/PENTASTAR              1200 N HOLLYWOOD WAY                                                                  BURBANK            CA    91505‐2223
THRIFTY RAC/PENTASTAR              3210 RHODE ISLAND AVE                                                                 MOUNT RAINIER      MD    20712‐2035
THRIFTY RAC/PENTASTAR              259 MAIN ST                                                                           HAVERHILL          MA    01830‐5046
THRIFTY RAC/PENTASTAR              137 LARK ST                                                                           ALBANY             NY    12210‐1429
THRIFTY RAC/PENTASTAR              2409 ARDEN WAY                                                                        SACRAMENTO         CA    95825‐2411
THRIFTY RAC/PENTASTAR              2478 HIGHWAY 75                                                                       BLOUNTVILLE        TN    37617‐6343
THRIFTY RAC/PENTASTAR              1223 FREMONT BLVD.                                                                    SEASIDE            CA    93955
THRIFTY RAC/PENTASTAR              1057 WHALLEY AVE                                                                      NEW HAVEN          CT    06515‐1703
THRIFTY RAC/PENTASTAR              1 AUTO ROW DRIVE                                                                      BLOOMINGTON        IL    61704
THRIFTY RAC/PENTASTAR              1447 SUMMER ST                                                                        STAMFORD           CT    06905‐5109
THRIFTY RAC/PENTASTAR              5116 MONKHOUSE DR                                                                     SHREVEPORT         LA    71109‐6510
THRIFTY RAC/PENTASTAR              7060 AVIATION BLVD                                                                    GLEN BURNIE        MD    21061‐2472
THRIFTY RAC/PENTASTAR              RENTAL CAR DRIVE                                                                      RALEIGH            NC    27623
THRIFTY RAC/PENTASTAR              538 PARKER RD                                                                         FAIRFIELD          CA    94533‐9000
THRIFTY RAC/PENTASTAR              2697 MILL ST                                                                          RENO               NV    89502‐2102
THRIFTY RAC/PENTASTAR              29111 WICK RD                                                                         ROMULUS            MI    48174‐2514
THRIFTY RAC/PENTASTAR              3238 MAPLEWOOD AVENUE                                                                 GLOUCESTER         MA    01930
THRIFTY RAC/PENTASTAR              375 STATE STREET                                                                      BINGHAMTON         NY    13901
THRIFTY RAC/PENTASTAR              3775 ALCOA HIGHWAY                                                                    ALCOA              TN    37701
THRIFTY RAC/PENTASTAR              4140 CYPRESS ROAD                                                                     SAINT ANN          MO    63074
THRIFTY RAC/PENTASTAR              1000 WESTBROOK ST                                                                     PORTLAND           ME    04102‐1915
THRIFTY RAC/PENTASTAR              125 NORTHERN BLVD                                                                     GREAT NECK         NY    11021‐4305
THRIFTY RAC/RACONE CORP            600 E LAYTON AVE                                                                      MILWAUKEE          WI    53207‐5208
THRIFTY RENT A CAR                 440 WASHINGTON AVE                                                                    NORTH HAVEN        CT    06473‐1311
THRIFTY RENT A CAR                 204 PORTER STREET                                                                     EAST BOSTON        MA    02128
THRIFTY RENT A CAR                 3500 BREWERTON RD                                                                     SYRACUSE           NY    13212‐3827
THRIFTY RENT A CAR                 501 ALAMO ST                                                                          LAKE CHARLES       LA    70601‐8532
THRIFTY RENT A CAR                 7705 CALAWBA CT                                                                       DENVER             CO    80249‐6393
THRIFTY RENT A CAR                 1862 W HARRISBURG PIKE                                                                MIDDLETOWN         PA    17057‐4914
THRIFTY RENT A CAR                 3901 MANNHEIM RD                                                                      SCHILLER PARK       IL   60176‐2013
THRIFTY RENT A CAR                 165 RENTAL CAR DRIVE                                                                  PITTSBURGH         PA    15231
THRIFTY RENT A CAR                 3422 1ST AVE E                                                                        MILAN               IL   61264‐5741
                                   09-50026-mg           Doc 7123-39          Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                             Part 37 of 40 Pg 63 of 901
Name                               Address1                             Address2                      Address3     Address4         City              State Zip
THRIFTY RENT A CAR                 355 ADRIAN RD                                                                                    MILLBRAE           CA 94030‐3104
THRIFTY RENT A CAR                 3730 SPENARD RD                                                                                  ANCHORAGE          AK 99517‐2676
THRIFTY RENT A CAR                 375 STATE STREET                                                                                 BINGHAMTON         NY 13901
THRIFTY RENT A CAR                 3825 ROOSEVELT RD                                                                                KENOSHA            WI 53142‐1903
THRIFTY RENT A CAR                 3210 RHODE ISLAND AVE                                                                            MOUNT RAINIER      MD 20712‐2035
THRIFTY RENT A CAR                 4140 CYPRESS ROAD                                                                                SAINT ANN          MO 63074
THRIFTY RENT A CAR                 3145 LITTLE ROCK ROAD                                                                            CHARLOTTE          NC 28214
THRIFTY RENT A CAR                 5552 S ARCHER AVE                                                                                CHICAGO             IL 60638‐3036
THRIFTY RENT A CAR                 15 S 2400 W                                                                                      SALT LAKE CTY      UT 84116‐2990
THRIFTY RENT A CAR                 481 HIGH ST                                                                                      SOMERSWORTH        NH 03878‐1010
THRIFTY RENT A CAR                 77‐15 19 ROAD                                                                                    JACKSON HEIGHTS    NY 11370
THRIFTY RENT A CAR                 330 HOOFFS RUN DR                                                                                ALEXANDRIA         VA 22314‐4646
THRIFTY RENT A CAR                 600 E LAYTON AVE                                                                                 MILWAUKEE          WI 53207‐5208
THRIFTY RENT A CAR                 7355 S PEORIA                                                                                    ENGLEWOOD          CO 80112
THRIFTY RENT A CAR                 740 BARONNE ST                                                                                   NEW ORLEANS        LA 70113‐1006
THRIFTY RENT A CAR                 PO BOX 612728                                                                                    DALLAS             TX 75261‐2728
THRIFTY RENT A CAR                 4114 E WASHINGTON ST                                                                             PHOENIX            AZ 85034‐1814
THRIFTY RENT A CAR                 864 NORTH AVE E                                                                                  ELIZABETH          NJ 07201‐2104
THRIFTY RENT A CAR                 126 S VINEYARD AVE                                                                               ONTARIO            CA 91761
THRIFTY RENT A CAR                 2329 POST RD                                                                                     WARWICK             RI 02886‐2246
THRIFTY RENT A CAR                 29111 WICK RD                                                                                    ROMULUS            MI 48174‐2514
THRIFTY RENT A CAR                 309 E MILLBRAE AVE                                                                               MILLBRAE           CA 94030‐3109
THRIFTY RENT A CAR                 847 N EL DORADO ST                                                                               STOCKTON           CA 95202‐1603
THRIFTY RENT‐A‐CAR                 2329 POST RD                                                                                     WARWICK             RI 02886‐2246
THRIFTY RENT‐A‐CAR                 481 HIGH ST                                                                                      SOMERSWORTH        NH 03878‐1010
THRIFY CAR RENTAL                  760 STELZER RD                                                                                   COLUMBUS           OH 43219‐3738
THRILLER INC                       12825 FORD RD                                                                                    DEARBORN           MI 48126‐3349
THRIST, EMMIETT R                  135 MERCER AVE                                                                                   BUFFALO            NY 14214‐1811
THRIVENT FINANCIAL FOR LUTHERANS   625 FOURTH AVENUE SOUTH                                                                          MINNEAPOLIS        MN 55415
THRIVENT FINANCIAL FOR LUTHERANS   ATTN: CORPORATE OFFICER/AUTHORIZED   625 4TH AVE S                                               MINNEAPOLIS        MN 55415‐1672
                                   AGENT
THRIVENT INVEST MGT INC            FOR DEPOSIT TO THE ACCOUNT OF        PO BOX 219348                 B KAUPPILA                    KANSAS CITY       MO   64121‐9348
THROCKMORTON INVESTMENT LLC        RAYMOND T THROCKMORTON               5315 MEADOW LAKE RD                                         BRENTWOOD         TN   37027
THROCKMORTON LEROY F (460242)      DUFFY & ASSOCS JOHN J                23823 LORAIN RD                                             NORTH OLMSTED     OH   44070
THROCKMORTON RONALD (460243)       DUFFY & ASSOCS JOHN J                23823 LORAIN RD                                             NORTH OLMSTED     OH   44070
THROCKMORTON, ELAINE E             4108 15TH ST                                                                                     ECORSE            MI   48229‐1200
THROCKMORTON, JAMES A              6214 MCCLEAN BLVD                                                                                BALTIMORE         MD   21214‐1539
THROCKMORTON, JEAN A               6989 E 100 NORTH                                                                                 DANVILLE          IN   46122
THROCKMORTON, LEROY F              100 SLATE RUN RD                                                                                 LUCASVILLE        OH   45648‐8579
THROCKMORTON, LINWOOD W            530 DISPATCH RD                                                                                  QUINTON           VA   23141‐1910
THROCKMORTON, MARJORIE A           2035 MAHAN DENMAN RD NW                                                                          BRISTOLVILLE      OH   44402‐9740
THROCKMORTON, MICHAEL              8307 PRAIRIE WIND LN                                                                             HOUSTON           TX   77040‐1407
THROCKMORTON, ROBERT L             9618 KING DAVID CT                                                                               FORT WAYNE        IN   46804‐4329
THROCKMORTON, ROGER C              4633 HENLEY DEEMER RD                                                                            MC DERMOTT        OH   45652‐9051
THROCKMORTON, TERRY G              925 29TH ST                                                                                      PORTSMOUTH        OH   45662‐2226
THROENLE DONALD T SR (629628)      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510
                                                                        STREET, SUITE 600
THROENLE, DAWN M                   7181 BRIDGES RD                                                                                  CINCINNATI        OH 45230‐2114
THROENLE, DAWN M                   7181 BRIDGES LANE                                                                                CINCINNATI        OH 45230‐2114
THROENLE, DONALD T                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510‐2212
                                                                        STREET, SUITE 600
THROESCH, CHRIS J                  4306 HAZEL ST                                                                                    CLARKSTON          MI 48348‐1433
                                09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                       Part 37 of 40 Pg 64 of 901
Name                            Address1                         Address2                        Address3          Address4         City               State Zip
THROESCH, HERBERT L             1213 SPRINGVIEW RD                                                                                  POCAHONTAS          AR 72455‐4915
THROESCH, MARY                  779 LAKE DR                                                                                         POCAHONTAS          AR 72455‐1414
THROGMARTIN JANELLA WAGNER      THROGMARTIN, JANELLE WAGNER
THROGMARTIN, BETTY A            223 N MAIN ST APT 219                                                                               EATON RAPIDS       MI   48827‐1281
THROGMARTIN, BETTY A            223 N. MAIN ST.                  APT. 219                                                           EATON RAPIDS       MI   48827
THROGMARTIN, JANELLE A          11441 LONGWATER CHASE CT                                                                            FORT MYERS         FL   33908‐4950
THROGMORTON, BILLIE F           420 E 55TH ST                                                                                       ANDERSON           IN   46013‐1746
THROGMORTON, DORIS O            216 FEDERAL DR                                                                                      ANDERSON           IN   46013‐4706
THRONDSET, FRANCES E.           103 INDIAN CREEK DRIVE                                                                              PARIS              TN   38242‐5920
THRONDSET, VALERIA              201 E ELIZABETH ST APT 102                                                                          FENTON             MI   48430‐2384
THRONEBERRY, CAROLYN F          104 WHITE PINE CT                                                                                   BOWLING GREEN      KY   42104‐5352
THRONEBERRY, CHARLES C          1442 PARK MEADOW WAY             C/O PATRICIA L YOUNG                                               BEECH GROVE        IN   46107‐1970
THRONEBERRY, CONNIE J           2149 MCGREGOR CIR                                                                                   O FALLON           MO   63368‐3782
THRONEBERRY, WILLIAM E          104 WHITE PINE CT                                                                                   BOWLING GREEN      KY   42104‐5352
THRONEBERRY, WILLIAM EDWIN      104 WHITE PINE CT                                                                                   BOWLING GREEN      KY   42104‐5352
THRONSON, DUWAYNE L             3961 OAKGROVE RD                                                                                    HARRISON           MI   48625‐8839
THRONSON, GARY B                PO BOX 594                                                                                          MOUNT MORRIS       MI   48458
THRONSON, MARLO B               2076 CHRISTNER ST                                                                                   BURTON             MI   48519‐1002
THRONSON, ROBERT H              7741 CEDAR RIDGE CT                                                                                 FRANKLIN           WI   53132
THROOP, ANN K                   6900 NORTHCREST WAY E                                                                               CLARKSTON          MI   48346‐2745
THROOP, GERALD S                4410 N CHAMPERRET DR                                                                                BOYNE CITY         MI   49712‐8831
THROOP, JAMES A                 428 S EXETER AVE                                                                                    INDIANAPOLIS       IN   46241‐1602
THROOP, MARK S                  6433 STONECREEK DR                                                                                  INDIANAPOLIS       IN   46268‐4066
THROOP, NATHAN A                7800 LUANN ST                                                                                       SAGINAW            MI   48609‐4907
THROOP, PATRICK A               1445 GRISSOM CT                                                                                     SAGINAW            MI   48609‐4216
THROUGH THE GREEN‐NEW HOPE LP   DBA THROUGH THE GREEN‐HIGHLAND   1725 NEW HOPE RD                RIM GOLF COURSE                    JOELTON            TN   37080‐9459
THROW, DANIELLE D               4618 WALLLINGTON CT                                                                                 SAINT LOUIS        MO   63121
THROWER RONALD (464316)         KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                      CLEVELAND          OH   44114
                                                                 BOND COURT BUILDING
THROWER, ANDRE G                1029 N BENTALOU ST                                                                                  BALTIMORE          MD   21216‐4502
THROWER, BILLY J                614 E GILLESPIE AVE                                                                                 FLINT              MI   48505‐3826
THROWER, BRADLEY A              165 RIVERVIEW DR                                                                                    LAPEER             MI   48446‐7632
THROWER, CAROL                  3718 FORESTHILL ST                                                                                  FLINT              MI   48504‐1919
THROWER, CAROLYN J              6054 COUSINS DR                                                                                     SWARTZ CREEK       MI   48473‐8297
THROWER, CLEMONTEE              2012 GAINES ST                                                                                      EL DORADO          AR   71730‐8106
THROWER, DAVID                  C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                                LITTLE ROCK        AR   72201
THROWER, DAVID                  MOODY EDWARD O                   801 W 4TH ST                                                       LITTLE ROCK        AR   72201‐2107
THROWER, DIXIE L                PO BOX 223                                                                                          BEARDEN            AR   71720‐0223
THROWER, DIXIE L                P.O. BOX 223                                                                                        BEARDEN            AR   71720‐0223
THROWER, EILEEN M               5821 LAKE RESORT DR                                                                                 HIXSON             TN   37343‐4617
THROWER, LANCILE                774 POST ROAD WAY                                                                                   STONE MTN          GA   30088‐2261
THROWER, MARLIN                 1601 WOODMONT AVE                                                                                   ARNOLD             PA   15068‐4138
THROWER, MARY A                 116 DEERFIELD PINES DR                                                                              NORTH BRANCH       MI   48461‐9614
THROWER, RONALD                 KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                       CLEVELAND          OH   44114
                                                                 BOND COURT BUILDING
THROWER, ROY L                  520 ELLIOTT ST SE                                                                                   GRAND RAPIDS       MI   49507‐2628
THROWER, SHAWN W                6054 COUSINS DR                                                                                     SWARTZ CREEK       MI   48473‐8297
THROWER, VILINIA                PO BOX 310484                                                                                       FLINT              MI   48531‐0484
THRUBIS, ANTHONY P              37700 RIVER BND                                                                                     FARMINGTON HILLS   MI   48335‐3638
THRUN MAATSCH & NORDBERG P C    501 S CAPITOL STE 500                                                                               LANSING            MI   48933
THRUN, ALICE L                  10115 W PALO VERDE DR #86        LAKE RIVERS ESTATES                                                FT WAYNE           IN   46825‐2676
THRUN, BEVERLY                  10369 TAMRYN BLVD                                                                                   HOLLY              MI   48442‐8615
                             09-50026-mg                Doc 7123-39     Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                       Part 37 of 40 Pg 65 of 901
Name                        Address1                            Address2                      Address3          Address4              City               State Zip
THRUN, JANET L              11810 INA DR APT Q69                                                                                      STERLING HTS        MI 48312‐5085
THRUN, RONALD R             201 W JOLLY RD APT426                                                                                     LANSING             MI 48911
THRUN, RONALD RAYMOND       201 W JOLLY RD APT 426                                                                                    LANSING             MI 48910‐6673
THRUN, TAB C                2215 VALLEY DR                                                                                            YPSILANTI           MI 48197‐4355
THRUN, TAB CHRISTOPHER      2215 VALLEY DR                                                                                            YPSILANTI           MI 48197‐4355
THRUPOINT INC               2 PENN PLZ RM 2610                                                                                        NEW YORK            NY 10121‐2605
THRUPOINT INC               PO BOX 7777                                                                                               PHILADELPHIA        PA 19175‐2051
THRUSH, BETTY M             222 STATE PARK DR                                                                                         BAY CITY            MI 48706‐1761
THRUSH, CAROLYN L           168 BELLEAIRE DR                                                                                          PALM COAST          FL 32137‐8617
THRUSH, CHAINIE L           406 HAWTHORNE ST                                                                                          ALMA                MI 48801‐2745
THRUSH, COLIN J             4964 MADISON RD                                                                                           ALMA                MI 48801‐9622
THRUSH, JUDITH M            2700 E ALLRED AVE, LOT 94                                                                                 MESA                AZ 85204‐1640
THRUSH, JULIE R             9707 CRAUN                                                                                                DEWITT              MI 48820
THRUSH, KATHLEEN D          3630 DONALD ST                                                                                            LANSING             MI 48910‐4683
THRUSH, LINDA J             1605 N FERRIS RD 16                                                                                       SUMNER              MI 48889
THRUSH, MARK S              11511 W HERBISON RD                                                                                       EAGLE               MI 48822‐9745
THRUSH, WENDY SUE           11999 UPTON RD                                                                                            BATH                MI 48808‐8426
THRUSTON BUCK               935 LUCAS CREED RD                                                                                        NEWPORT NEW         VA 23608‐2745
THRUTCHLEY ROY A (429950)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK             VA 23510
                                                                STREET, SUITE 600
THRUTCHLEY, ROY A           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
THRUWAY FASTENERS INC       PO BOX 766                                                                                                NORTH TONAWANDA    NY   14120‐0766
THRUWAY MOTOR INC           PO BOX 3081                                                                                               MELVINDALE         MI   48122‐0081
THS COMPANY                 ATTN JENNY PEREIRA                  111 MILL ST                                                           HACKETTSTOWN       NJ   07840‐2305
THT PRESSES INC             7475 WEBSTER ST                                                                                           DAYTON             OH   45414‐5817
THU C DANG                  5861 YORKTOWN                                                                                             DAYTON             OH   45431‐2948
THU NGUYEN                  217 S PATTERSON DR                                                                                        MOORE              OK   73160‐7161
THU NGUYEN                  14352 SUMMERWOOD DR                                                                                       WESTMINSTER        CA   92683‐1400
THUAN CAO                   39716 DORIAN DR                                                                                           STERLING HEIGHTS   MI   48310‐2312
THUAN D TRUONG              1924 COUNTRY ESTATES CT                                                                                   FORISTELL          MO   63348‐1065
THUAN NGHIEM                133 EAGLEVIEW WAY                                                                                         READING            OH   45215
THUAN TRAN                  PO BOX 9022                                                                                               WARREN             MI   48090‐9022
THUAN TRUONG                1924 COUNTRY ESTATES CT                                                                                   FORISTELL          MO   63348
THUBER L VINES              NIX PATTERSON & ROACH LLP           GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                         DAINGERFIELD       TX   75638
THUC DUONG                  5119 SOUTHWICK CIR                                                                                        LANSING            MI   48917‐4010
THUC TRAN                   9625 GREENTREE DR                                                                                         CARMEL             IN   46032‐9627
THUDIUM GENE E (626806)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA   23510
                                                                STREET, SUITE 600
THUDIUM, GENE E             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
THUEME, DENNIS J            3580 DEVONSHIRE ST                                                                                        STERLING HTS       MI   48310‐3720
THUEME, MICHAEL G           4230 BLOOMFIELD DR                                                                                        STERLING HEIGHTS   MI   48310‐3307
THUEME, TRACY A             2977 LANSDOWNE RD                                                                                         WATERFORD          MI   48329‐2953
THUER SR, WALTER C          925 E PLEASANT RUN PKWY S D                                                                               INDIANAPOLIS       IN   46203
THUER, VIOLET J             12401 N 22ND ST                     C411                                                                  TAMPA              FL   33612
THUERCK JR, JOHN W          99 PATSY LN                                                                                               DEPEW              NY   14043‐1015
THUERCK, JERROD W           99 PATSY LN                                                                                               DEPEW              NY   14043‐1015
THUERINGER AUTOZENTRALE     SCHLEIFHUETTENWEG 1                                                                 SONDERSHAUSEN 99706
                                                                                                                GERMANY
THUES, JEROME A             18004 WILDEMERE ST                                                                                        DETROIT            MI 48221‐2729
THUESON, CHRISTINE
                                 09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                                        Part 37 of 40 Pg 66 of 901
Name                             Address1                         Address2                       Address3                Address4              City              State Zip
THUET, HUBERT J                  3411 ROSELAWN AVE                                                                                             WILMINGTON         DE 19808‐6127
THUHUONG TONNU                   4780 TYNDALE CT                                                                                               WEST BLOOMFIELD    MI 48323‐3350
THUL, CARL J                     195 SPRING BEAUTY DR                                                                                          LAWRENCEVILLE      NJ 08648‐1513
THUL, CATHERINE E                970 STRATFORD RD                                                                                              SAINT PAUL         MN 55118
THULA FLEMING                    1102 TREMONT AVE                                                                                              FLINT              MI 48505‐1447
THULE GROUP AB                   1313 S STOCKTON ST                                                                                            LODI               CA 95240‐5942
THULE GROUP AB                   JAY MURDOCH                      1313 S STOCKTON ST             VALLEY INDUSTRIES DIV                         LODI               CA 95240‐5942
THULE GROUP AB                   JAY MURDOCH                      VALLEY INDUSTRIES DIV          1313 S. STOCKTON ST                           JACKSONVILLE       AL
THULE GROUP AB                   JAY MURDOCK                      AUTOMOTIVE PRODUCTS DIVISION   32501 DEQUINDRE                               CHESTERFIELD       MI 48051

THULE GROUP AB                   THOMAS A. CHIMENTI               3737 N. ACORN AVE.                                                           MINNEAPOLIS       MN
THULE GROUP AB                   THOMAS A. CHIMENTI               THULE                          42 SILVERMINE RD.       SCHWAEBISCH GERMANY
THULE INC                        42 SILVERMINE RD                                                                                              SEYMOUR           CT   06483‐3907
THULE TOWING SYSTEMS LLC         1313 S STOCKTON ST                                                                                            LODI              CA   95240‐5942
THULE TOWING SYSTEMS LLC         32501 DEQUINDRE RD                                                                                            MADISON HEIGHTS   MI   48071‐1520
THULE TOWING SYSTEMS LLC         JAY MURDOCH                      1313 S STOCKTON ST             VALLEY INDUSTRIES DIV                         LODI              CA   95240‐5942
THULE TOWING SYSTEMS LLC         JAY MURDOCH                      VALLEY INDUSTRIES DIV          1313 S. STOCKTON ST                           JACKSONVILLE      AL
THULE, INC.                      THOMAS A. CHIMENTI               3737 N. ACORN AVE.                                                           MINNEAPOLIS       MN
THULE/FRANKLIN PK                3737 ACORN LN                                                                                                 FRANKLIN PARK     IL   60131‐1101
THULE/SEYMOUR                    42 SILVERMINE RD                                                                                              SEYMOUR           CT   06483‐3907
THULL, ANDREW J                  1013 N SUMAC DR                                                                                               OLATHE            KS   66061‐9227
THULL, KENNETH A                 29667 STATE 27 27                                                                                             LONG PRAIRIE      MN   56347
THULL, NANCY                     31791 JOHN MICHAEL CIR                                                                                        WARREN            MI   48093‐7620
THUM, FREDERICK W                821 TAYLOR BLAIR RD                                                                                           WEST JEFFERSON    OH   43162‐9547
THUM, HEINZ G                    2711 S MAYBROOK AVE                                                                                           INDEPENDENCE      MO   64057‐1267
THUMA, ARTHUR D                  10802 PLAINS, RTE. NO. 1                                                                                      EATON RAPIDS      MI   48827
THUMA, DON F                     102 BUCKEYE BR                                                                                                ATHENS            GA   30605‐5709
THUMA, JEFFREY D                 428 CARRIE DR                                                                                                 FLUSHING          MI   48433‐1922
THUMA, RICHARD W                 7405 S ROYSTON RD                                                                                             EATON RAPIDS      MI   48827‐9564
THUMA, TERRY L                   1797 N ROYSTON RD                                                                                             CHARLOTTE         MI   48813‐9386
THUMA, WAYNE D                   4515 ORSHAL RD                                                                                                WHITEHALL         MI   49461
THUMAN, AUGUST F                 7382 HOFFMAN RD                                                                                               APPLETON          NY   14008‐9661
THUMAN, MADELINE M               16444 BOLSA CHICA ST SPC 85                                                                                   HUNTINGTN BCH     CA   92649‐2660
THUMAN, PAUL E                   83 THAMESFORD LN                                                                                              WILLIAMSVILLE     NY   14221‐5961
THUMAN, ROBERT G                 5309 SHUNPIKE RD                                                                                              LOCKPORT          NY   14094‐9716
THUMB MRI CENTER, LL             6320 VAN DYKE RD                                                                                              CASS CITY         MI   48726‐9603
THUMB NATIONAL BANK & TRUST CO   ATTN: CURT STRICKLAND            708 CENTER AVE # 1                                                           BAY CITY          MI   48708‐5975
THUME, JAMES A                   1203 N WENONA ST                                                                                              BAY CITY          MI   48706‐3571
THUME, RONALD J                  905 N LINN ST                                                                                                 BAY CITY          MI   48706‐3734
THUMM, GREGORY P                 1344 W WILLOW AVE                                                                                             LOMPOC            CA   93436‐7512
THUMME, MARY                     4159 BRADFORD DR                                                                                              SAGINAW           MI   48603‐3076
THUMME, WILLIAM H                4159 BRADFORD DR                                                                                              SAGINAW           MI   48603‐3076
THUN AUTO/EGERSTR 1              EGERSTR 1                                                                               ENNEPETAL GE 58256
                                                                                                                         GERMANY
THUN AUTO/ENNEPET                AM WUNDERBAU 30                                                                         ENNEPETAL GE 58256
                                                                                                                         GERMANY
THUN AUTOMOTIVE GMBH             EGERSTRASSE 1                                                                           ENNEPETAL 58256
                                                                                                                         GERMANY
THUN AUTOMOTIVE GMBH             HAGENER STR 420                                                                         GEVELSBERG NW 58285
                                                                                                                         GERMANY
THUNDER BAY COMMUNIT             610 CARING ST                                                                                                 HILLMAN           MI 49746‐8818
THUNDER BAY MANUFACTURING CORP   666 MCKINLEY AVE                                                                                              ALPENA            MI 49707‐2600
                                  09-50026-mg            Doc 7123-39     Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                        Part 37 of 40 Pg 67 of 901
Name                              Address1                         Address2                   Address3               Address4              City               State Zip
THUNDER CREEK
THUNDER MOUNTAIN MOTOR COMPANY,   TIMOTHY HELLMAN                  900 MAIN ST                                                             DELTA               CO 81416‐1830
INC.
THUNDERBIRD                       1 GLOBAL PL                                                                                              GLENDALE            AZ   85306‐3216
THUNDERBIRD LEADERSHIP            THUNDERBIRD EXECUTIVE EDUCATN    1 GLOBAL PL                AGSIM                                        GLENDALE            AZ   85306‐3216
THUNDERBIRD PACIFIC               6375 CLARK AVE #107                                                                                      DUBLIN              CA   94568
THUNDERBIRD PRODUCTS              2200 W MONROE ST                                                                                         DECATUR             IN   46733‐3028
THUNDERBIRD SCHOOL OF GLOBAL      1 GLOBAL PL                                                                                              GLENDALE            AZ   85306‐3216
MANAGEMENT
THUNDERBIRD/GLENDALE              AMERICAN GRADUATE SCHOOL OF      INTERNATIONAL MANAGEMENT   15349 N. 59TH AVENUE                         GLENDALE            AZ   85306
THUNDERBIRDS                      7226 N 16TH ST STE 100                                                                                   PHOENIX             AZ   85020‐5254
THUNDERBURK, DWIGHT
THUNDERDOME RACING                PO BOX 1415                                                                                              MOORESVILLE        NC    28115‐1415
THUNDERLINE/BELLEVLL              8707 SAMUEL BARTON DR            P.O. BOX 309                                                            BELLEVILLE         MI    48111‐1600
THUNE, ROBERT H                   PO BOX 364                                                                                               FAIRACRES          NM    88033‐0364
THUNEY, PATRICIA S                1321 HOLLOW RUN APT 3                                                                                    CENTERVILLE        OH    45459‐5885
THUR GUY                          1531 CANFIELD AVE                                                                                        DAYTON             OH    45406‐4208
THUR, FLORENCE E                  2555 CONGO ST                                                                                            AKRON              OH    44305‐3947
THURAU MARY LOU                   148 PINEWOOD COVE                                                                                        HOLLY LK RNCH      TX    75765‐7568
THURAU, GUY W                     1389 CUTLER ST                                                                                           BURTON             MI    48509‐2116
THURAU, LEAHBELLE                 2019 S BELSAY RD                                                                                         BURTON             MI    48519‐1209
THURAU, ROBERT C                  134 GRANDVIEW CIR                                                                                        ROGERSVILLE        TN    37857‐7024
THURAU, SANDRA                    11197 DAVISON RD                                                                                         DAVISON            MI    48423‐8102
THURBER JONATHAN                  THURBER, JONATHAN                429 W WESLEY ST                                                         WHEATON             IL   60187‐4925
THURBER, DANIEL CHARLES           8715 BASS RD                                                                                             FORT WAYNE         IN    46818‐9115
THURBER, GARY K                   6859 W COUNTY ROAD 675 N                                                                                 MIDDLETOWN         IN    47356‐9440
THURBER, GLADYS L                 2219 EDGEMONT WAY                                                                                        ANDERSON           IN    46011‐2629
THURBER, GLADYS L                 3102 W 53RD ST                                                                                           ANDERSON           IN    46011‐9459
THURBER, JONATHAN                 LEHRER FLAHERTY & CANAVAN P.C.   429 W WESLEY ST                                                         WHEATON             IL   60187‐4925
THURBER, JOSHUA L                 52391 COVINGTON LN                                                                                       NEW BALTIMORE      MI    48047‐4288
THURBER, MARILYN M                6161 BEACH‐SMITH RD                                                                                      KINSMAN            OH    44428‐9750
THURBER, MARILYN M                6161 BEACH SMITH RD                                                                                      KINSMAN            OH    44428‐9750
THURBER, MARK C                   2496 CANOE CIRCLE DR                                                                                     LAKE ORION         MI    48360‐1883
THURBER, PAULA                    3345 HAMILTON WAY                                                                                        LOS ANGELES        CA    90026‐2111
THURBER, RICHARD S                PO BOX 2051                                                                                              PALM DESERT        CA    92261‐2051
THURBER, RUBY M                   1125 SUNSET DR                                                                                           GREGORY            MI    48137‐9741
THURBER, STEPHEN F                1403 LYON ST                                                                                             COLUMBIA           TN    38401‐5256
THURBER, TIMOTHY L                432 HALLS MILL RD                                                                                        SHELBYVILLE        TN    37160‐6013
THURDELL DRAKE                    2652 YALE TER                                                                                            DECATUR            GA    30032‐6468
THURE THURICH                     MUELLERWEIDE 8 B                 22391 HAMBURG              GERMANY
THURE THURICH                     M▄LLERWEIDE 8 B                  22391 HAMBURG              GERMANY
THURE THURICH                     MUELLERWEIDE 8B                                                                    22391 HAMBURG
THURGATE, JAMES W                 37977 PARKMONT DR                                                                                        FREMONT            CA    94536‐5237
THURIK, MICHAEL N                 16589 SE 77TH NORTHRIDGE CT                                                                              THE VILLAGES       FL    32162‐8358
THURK BROS CHEVROLET CO           3932 MAIN ST                                                                                             SAINT BONIFACIUS   MN    55375
THURK BROS CHEVROLET CO           DONALD THURK                     3932 MAIN ST                                                            SAINT BONIFACIUS   MN    55375
THURKETTLE, BERTHA E              336 EMMONS ST SE                                                                                         CALEDONIA          MI    49316‐8318
THURKETTLE, DAVID A               10015 68TH AVE                                                                                           ALLENDALE          MI    49401‐7326
THURKETTLE, RICKIE R              5805 16TH AVE                                                                                            HUDSONVILLE        MI    49426‐8455
THURL CAIN                        5614 TARRYTOWN RD                                                                                        AUSTINTOWN         OH    44515‐1920
THURL COMBS                       430 SUTTON RD                                                                                            XENIA              OH    45385‐9673
THURL CRADDOCK                    2736 FRANKLIN DR RT                                                                                      MEDINA             OH    44256
                          09-50026-mg             Doc 7123-39          Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                      Part 37 of 40 Pg 68 of 901
Name                     Address1                              Address2                     Address3   Address4         City              State Zip
THURL HARRIS JR          BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
THURL WEESE              132 TRUMAN ST                                                                                  SANDUSKY           MI 48471‐1350
THURLAN SMITHERS         3241 WESTBROOK ST                                                                              SAGINAW            MI 48601‐6949
THURLAND BILLIAU         29311 MARK AVE                                                                                 MADISON HEIGHTS    MI 48071‐4412
THURLBY, BRENDA L        PO BOX 329                                                                                     MORRICE            MI 48857‐0329
THURLBY, FRANCES         14200 WEBSTER RD                                                                               BATH               MI 48808‐9747
THURLBY, RAYMOND L       3960 N GUNNELL RD                                                                              DIMONDALE          MI 48821‐8739
THURLER, JEAN E          1810 N PARKER DRIVE                                                                            JANESVILLE         WI 53545
THURLER, LILLIAN V       903 MINERAL POINT AVENUE ROOM         #324                                                     JANESVILLE         WI 53548
THURLEY LOVE JR          3186 GREENSPRING LN                                                                            ROCHESTER HLS      MI 48309‐2741
THURLEY, CLYDE H         6266 W. SWEDEN RD.                                                                             BERGEN             NY 14416‐9523
THURLEY, CLYDE H         6266 W SWEDEN RD                                                                               BERGEN             NY 14416‐9523
THURLO DONALD            32 PILLSBURY DR                                                                                SCARBOROUGH        ME 04074‐9219
THURLO SMITH             8170 NEFF RD                                                                                   MOUNT MORRIS       MI 48458‐1329
THURLO SMITH             7016 ESTRELLE AVE                                                                              MOUNT MORRIS       MI 48458‐2126
THURLOW PIERCE           485 S LAKE PLEASANT RD                                                                         ATTICA             MI 48412‐9675
THURLOW PIERCE L         485 S LAKE PLEASANT RD                                                                         ATTICA             MI 48412‐9675
THURLOW, DIANE I         PO BOX 163                                                                                     MERRILL            MI 48637‐0163
THURLOW, ELSIE F         4492 N IRISH RD                                                                                DAVISON            MI 48423‐8947
THURLOW, FOUNTAIN A      1940 SKY RIDGE DR                                                                              FALLON             NV 89406‐3385
THURLOW, GREGORY A       2754 DUNKIRK DR                                                                                SAGINAW            MI 48603‐3136
THURLOW, HELEN M         5442 E BAYWOOD AVE                                                                             MESA               AZ 85206‐1428
THURLOW, JOHN R          1717 MILLVILLE RD                                                                              LAPEER             MI 48446‐7709
THURLOW, KAY L           3311 WASHBURN RD                                                                               DAVISON            MI 48423
THURLOW, KAY L           3311 N WASHBURN RD                                                                             DAVISON            MI 48423‐8148
THURLOW, KELLY
THURLOW, LORETTA J       5298 CLEAR LAKE RD                                                                             NORTH BRANCH      MI   48461
THURLOW, MARK            BERMAN & SIMMONS P.A.                  PO BOX 961                                              LEWISTON          ME   04243‐0961
THURLOW, NAOMI E.        3701 HENSLER PLACE                                                                             SAGINAW           MI   48603‐7241
THURLOW, ROBERT D        2181 N BAXTER RD                                                                               DAVISON           MI   48423‐8152
THURLOW, ROBERT L        9142 FRANCES RD                                                                                OTISVILLE         MI   48463‐9411
THURLOW, WILLIAM D       12135 E RICHFIELD RD                                                                           DAVISON           MI   48423‐8406
THURLWELL, TODD J        1961 BUCKINGHAM CT                                                                             DEFIANCE          OH   43512‐8656
THURLWELL, TODD JOSEPH   1961 BUCKINGHAM CT                                                                             DEFIANCE          OH   43512‐8656
THURM, JUSTIN E          2970 ROLLING GREEN CT                                                                          MILFORD           MI   48380‐4467
THURMAN AMICK            2110 SUMMIT AVE                                                                                BALTIMORE         MD   21237‐1336
THURMAN BAILEY           19371 PACKARD ST                                                                               DETROIT           MI   48234‐3107
THURMAN BARKE            20209 WESTPHALIA ST                                                                            DETROIT           MI   48205‐1150
THURMAN BROOKS           C/O LAW OFFICES OF MICHAEL R BILBREY P 8724 PIN OAK RD                                         EDWARDSVILLE      IL   62025
                         C
THURMAN BUCHANAN
THURMAN C CHASTAIN       4133 ELLIOT AVENUE                                                                             DAYTON            OH   45410‐3420
THURMAN C PHILLIPS       1689 MAPLE LANE                                                                                DAYTON            OH   45432‐2415
THURMAN CAIN             BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
THURMAN CENTERS          132 MAPLE RIDGE DR                                                                             MOUNT STERLING    KY   40353‐8014
THURMAN CHASTAIN         4133 ELLIOT AVE                                                                                DAYTON            OH   45410‐3420
THURMAN CHILDS           3921 KIRKUP AVE                                                                                CINCINNATI        OH   45213‐1923
THURMAN CLINE            49 FOREST GLEN LN                                                                              NORTH EAST        MD   21901‐5500
THURMAN CONLEY           16802 LANGLY AVE                                                                               CLEVELAND         OH   44128‐3608
THURMAN COUGHLIN JR      4032 N BELSAY RD                                                                               FLINT             MI   48506
THURMAN COX              1131 HARVESTER DR                                                                              VILLA RIDGE       MO   63089‐2135
THURMAN COX JR           35 EMERSON DR                                                                                  JACKSON           TN   38305‐2127
                                  09-50026-mg             Doc 7123-39     Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                         Part 37 of 40 Pg 69 of 901
Name                              Address1                          Address2                         Address3   Address4         City             State Zip
THURMAN CRAWFORD JR               3999 TARSUS RD                                                                                 PALMYRA           TN 37142‐2108
THURMAN E MOORE                   777 ROUTE 28 EAST                                                                              GREENFIELD        OH 45123
THURMAN E STANLEY                 ONE COUNTRY LANE A103             BROOKHAVEN                                                   BROOKVILLE        OH 45309‐9284
THURMAN EASTRIDGE                 33570 W JEFFERSON AVE                                                                          ROCKWOOD          MI 48173‐9680
THURMAN ELSWICK                   113 CANEY DR                                                                                   PIKEVILLE         KY 41501‐4065
THURMAN FARLEY                    5894 MARVIN ST                                                                                 TAYLOR            MI 48180‐1138
THURMAN FLECK I I I               101 E SYCAMORE ST                                                                              LEBANON           IN 46052‐3218
THURMAN FORD                      2339 NW JOHN DEERE RD                                                                          KINGSTON          MO 64650‐9129
THURMAN G MCCOWAN                 1900 HIGH KNOLL DR                                                                             DAYTON            OH 45414‐3739
THURMAN GLADYS INEZ (ESTATE OF)   KEAHEY G PATTERSON JR             ONE INDEPENDENCE PLAZA SUITE                                 BIRMINGHAM        AL 35209
(653732)                                                            612
THURMAN GRAVES                    5 CUTLEAF CT                                                                                   NEWARK           DE   19702‐3957
THURMAN HARTBARGER                5231 W MIDLAND TRL                                                                             LEXINGTON        VA   24450‐6417
THURMAN HAYES                     2331 ELLSWORTH DR                                                                              CLARKSVILLE      TN   37043‐2037
THURMAN HEINTZELMAN               PO BOX 228                                                                                     SAINT HELEN      MI   48656‐0228
THURMAN HOWINGTON                 56 DEERFIELD DR                                                                                CLEVELAND        GA   30528‐1388
THURMAN II, JOHN F                490 E BRAGG AVE                                                                                UPLAND           IN   46989‐8100
THURMAN JENSEN                    3772 PERIMETER DR                                                                              TRAVERSE CITY    MI   49684‐9181
THURMAN JIMMY (343316)            GOLDMAN SKEEN & WADLER            301 N CHARLES ST STE 900                                     BALTIMORE        MD   21201‐4329
THURMAN JOINER                    5828 AUTUMN SHIRE DR                                                                           ZEPHYRHILLS      FL   33541‐0001
THURMAN JONES                     2424 S CAREY ST                                                                                MARION           IN   46953‐2937
THURMAN JR, GROVER C              619 N FAIRFIELD RD                                                                             DAYTON           OH   45430‐1733
THURMAN JUSTICE                   5046 SHANNON DR                                                                                ASHLAND          KY   41102‐5418
THURMAN KIMBROUGH                 1905 RED ROCK RD                                                                               TUSCUMBIA        AL   35674‐7025
THURMAN L CENTERS                 132 MAPLE RIDGE DR.                                                                            MOUNT STERLING   KY   40353‐8014
THURMAN LANDERS                   5442 WOODGATE DR                                                                               HUBER HEIGHTS    OH   45424
THURMAN LARGE                     11938 SUMMERHAVEN DR                                                                           HILLSBORO        OH   45133‐8193
THURMAN LATIMER                   9241 BRADY CT                                                                                  REDFORD          MI   48239‐1514
THURMAN LESTER                    3274 BOSTON RD                                                                                 BRUNSWICK        OH   44212‐1329
THURMAN LEWIS                     321 MAPLE AVE                                                                                  TRENTON          NJ   08618‐2505
THURMAN LEWIS                     22186 TERREL DR                                                                                RUTHER GLEN      VA   22546‐3339
THURMAN MASON                     11 LAKE ST                                                                                     PONTIAC          MI   48341‐2121
THURMAN MATHUS                    PO BOX 430541                                                                                  PONTIAC          MI   48343‐0541
THURMAN MCCOWAN                   1900 HIGH KNOLL DR                                                                             DAYTON           OH   45414‐3739
THURMAN MILLER                    3777 AVON LAKE RD                                                                              LITCHFIELD       OH   44253‐9522
THURMAN MOLLOHAN                  357 CAROL LN                                                                                   ELYRIA           OH   44035‐8837
THURMAN MOORE                     777 ROUTE 28 EAST                                                                              GREENFIELD       OH   45123
THURMAN MOORE N (ESTATE OF)       EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                               NEW HAVEN        CT   06510
                                                                    265 CHURCH ST
THURMAN MULLINAX                  6995 BANNISTER RD                                                                              CUMMING          GA   30028‐3237
THURMAN MULLINS                   189 JODY DR                                                                                    NANCY            KY   42544‐8664
THURMAN OPPER                     183 LAKE RIDGE RD                                                                              MONTICELLO       KY   42633‐8495
THURMAN PERKINS                   514 S 22ND ST                                                                                  SAGINAW          MI   48601‐1539
THURMAN PERRIGAN                  1483 MARIA ST                                                                                  FLINT            MI   48507‐5527
THURMAN PHILLIPS                  1689 MAPLE LN                                                                                  DAYTON           OH   45432‐2415
THURMAN POPPLEWELL                1254 STONEHEDGE EAST DR APT A                                                                  GREENWOOD        IN   46142‐5047
THURMAN POWELL                    20140 MCCRACKEN RD                                                                             MAPLE HEIGHTS    OH   44137‐1758
THURMAN QUEEN                     207 W CATOOSA CANYON DR                                                                        CROSSVILLE       TN   38571‐0349
THURMAN QUEEN JR                  PO BOX 455                                                                                     MARTINSBURG      WV   25402‐0455
THURMAN R CHILDS                  3921 KIRKUP AVE                                                                                CINCINNATI       OH   45213‐1923
THURMAN RANDOLPH                  338 MOIZE CUT OFF RD APT A                                                                     JACKSON          TN   38305‐8618
THURMAN RAY                       12805 WISNER HWY                                                                               CLINTON          MI   49236‐9731
                          09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                Part 37 of 40 Pg 70 of 901
Name                      Address1                        Address2                     Address3   Address4         City                State Zip
THURMAN RELERFORD         5104 EDEN DR                                                                             OKLAHOMA CITY        OK 73135‐4312
THURMAN ROSS JR           149 E FOSS AVE                                                                           FLINT                MI 48505‐2115
THURMAN SHELTON           PO BOX 51                                                                                FALMOUTH             KY 41040
THURMAN SMITH             4327 VIRGINIA PARK ST                                                                    DETROIT              MI 48204‐2432
THURMAN SR, PAUL L        443 GRAFTON AVE                                                                          DAYTON               OH 45406‐5202
THURMAN STACY             2037 E COOK RD                                                                           GRAND BLANC          MI 48439‐8330
THURMAN STANLEY           1 COUNTRY LN APT A103           BROOKHAVEN                                               BROOKVILLE           OH 45309‐9284
THURMAN STANTON           4320 KETCHAM ST                                                                          SAGINAW              MI 48601‐6769
THURMAN TUCKER            PO BOX 310422                                                                            FLINT                MI 48531‐0422
THURMAN WALTON JR         3025 QUAIL DR                                                                            JONESBORO            AR 72404‐8002
THURMAN WASHINGTON        10114 EVENTIDE CT                                                                        ORLANDO              FL 32821‐8216
THURMAN WEST              20 HOLLY HLS                                                                             BATESVILLE           AR 72501‐9619
THURMAN WHEELER           3192 PARKVIEW CIR                                                                        GROVE CITY           OH 43123‐1862
THURMAN WILLIS            PO BOX 1775                                                                              SAGINAW              MI 48605‐1775
THURMAN WRIGHT            10600 LEMARIE DR                                                                         SHARONVILLE          OH 45241‐3018
THURMAN YOUNG             115 OLD DIDSIB BRANCH RD                                                                 COOKEVILLE           TN 38501
THURMAN, ARLENE D         15132 SAWGRASS LN                                                                        MIDDLEFIELD          OH 44062‐9044
THURMAN, BARBARA L        826 S LYONS AVE                                                                          INDIANAPOLIS         IN 46241‐2517
THURMAN, BENNY C          134 BRYAN ST W                                                                           BREMEN               GA 30110‐1504
THURMAN, BERTHA E         207 OHIO AVENUE                                                                          WEST VILLE            IL 61883
THURMAN, BERTHA L         9554 PARKER PLACE DR                                                                     NAVARRE              FL 32566‐2873
THURMAN, BOBBIE D         15334 PRINCETON ST                                                                       DETROIT              MI 48238‐2804
THURMAN, BRIAN L          1736 MALVERN AVE                                                                         DAYTON               OH 45406‐4545
THURMAN, CALEB            630 WHITNEY AVE                                                                          AKRON                OH 44306‐2037
THURMAN, CHRISTY
THURMAN, CLYDE M          PO BOX 152                                                                               JACKSON             GA   30233‐0004
THURMAN, DAVID R          2209 HAYS SMITHS GROVE RD                                                                SMITHS GROVE        KY   42171‐9149
THURMAN, DELLA            1301 ENGLAND RD                                                                          JACKSON             MS   39209‐9199
THURMAN, DELORIS          9214 RUTHERFORD                                                                          DETROIT             MI   48228
THURMAN, DENNIS L         6956 SWEET CHERRY CT                                                                     ROANOKE             VA   24019‐2150
THURMAN, DONALD L         7521 LYNDALE AVE S APT 207                                                               RICHFIELD           MN   55423‐4027
THURMAN, EARL R           PO BOX 92                                                                                LOUANN              AR   71751‐0092
THURMAN, EDWARD C         2320 N BULLIS RD                                                                         COMPTON             CA   90221‐1240
THURMAN, EDWARD CHARLES   2320 N BULLIS RD                                                                         COMPTON             CA   90221‐1240
THURMAN, EDWARD J         9605 S EUCLID AVE               C/O EDWARD MOORE                                         CHICAGO             IL   60617‐4727
THURMAN, FLORENCE         219 HARTSHORN DR                                                                         VANDALIA            OH   45377
THURMAN, FREDDIE          1509 E 10TH ST                                                                           ANDERSON            IN   46012‐4138
THURMAN, GEORGE           GUY WILLIAM S                   PO BOX 509                                               MCCOMB              MS   39649‐0509
THURMAN, GERALD T         15132 SAWGRASS LN                                                                        MIDDLEFIELD         OH   44062‐9044
THURMAN, GLADYS INEZ      KEAHEY G PATTERSON JR           1 INDEPENDENCE PLZ STE 612                               BIRMINGHAM          AL   35209‐2637
THURMAN, GLORIA J         3010 W 69TH ST                                                                           INDIANAPOLIS        IN   46268‐2725
THURMAN, GRANVILLE        6300 RANGEVIEW DR                                                                        DAYTON              OH   45415‐1928
THURMAN, GRETTA
THURMAN, HENRY            3010 W 69TH ST                                                                           INDIANAPOLIS        IN   46268‐2725
THURMAN, JANET R          1328 BROOKLINE RD                                                                        CLEVELAND           OH   44121
THURMAN, JANET R          1328 BROOKLINE RD               APT E107                                                 CLEVELAND HEIGHTS   OH   44121‐3737
THURMAN, JEANETTE         2320 N BULLIS RD                                                                         COMPTON             CA   90221‐1240
THURMAN, JEANNETTE E      4221 S 6TH ST LOT D18                                                                    MILWAUKEE           WI   53221‐1770
THURMAN, JEFFREY E        6125 MAYFIELD DR                                                                         CUMMING             GA   30041‐4134
THURMAN, JEFFREY EUGENE   6125 MAYFIELD DR                                                                         CUMMING             GA   30041‐4134
THURMAN, JIM E            15959 BEAR CREEK RD                                                                      HAGERSTOWN          IN   47346‐9608
THURMAN, JIMMY            GOLDMAN SKEEN & WADLER          301 N CHARLES ST STE 900                                 BALTIMORE           MD   21201‐4329
                            09-50026-mg            Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                 Part 37 of 40 Pg 71 of 901
Name                        Address1                       Address2                        Address3   Address4         City            State Zip
THURMAN, JOHN W             249 BUCHANAN ST                                                                            JACKSON          GA 30233‐2305
THURMAN, JUDY A             505 W 11TH ST                                                                              OOLITIC          IN 47451‐9750
THURMAN, JUNIOR B           2024 S 18TH ST                                                                             NEW CASTLE       IN 47362‐2209
THURMAN, KALI L             5006 E 42ND ST                                                                             KANSAS CITY      MO 64130‐1650
THURMAN, KEITH              BARTON & WILLIAMS              3007 MAGNOLIA ST                                            PASCAGOULA       MS 39567‐4126
THURMAN, KELLI J            5980 E 1050 S                                                                              FAIRMOUNT        IN 46928‐9599
THURMAN, L. V               1301 ENGLAND RD                                                                            JACKSON          MS 39209‐9199
THURMAN, LAURA J            19007 STONEWOOD RD                                                                         RIVERVIEW        MI 48193‐7817
THURMAN, MARIE E            5405 GARFIELD AVE                                                                          KANSAS CITY      MO 64130‐3314
THURMAN, MARLA K            4703 GLEN MOOR WAY                                                                         KOKOMO           IN 46902‐9589
THURMAN, MARVIN W           13504 BRANGUS RD                                                                           SHAWNEE          OK 74804‐9380
THURMAN, MARY L             17585 SUSSEX ST                                                                            DETROIT          MI 48235‐2811
THURMAN, MARY S             5870 S EAST POE DR                                                                         JONESBORO        IN 46938‐1513
THURMAN, MARY S             5870 S E POE DRIVE                                                                         JONESBORO        IN 46938‐1513
THURMAN, MINEVIA R.         7859 E 400 N.                                                                              VAN BUREN        IN 46991‐9710
THURMAN, MINEVIA R.         7859 E 400 N                                                                               VAN BUREN        IN 46991‐9710
THURMAN, PEARLY M           455 W 65TH ST                                                                              INDIANAPOLIS     IN 46260‐4601
THURMAN, PECOLUA M          1330 FLINTSHIRE LN                                                                         LAKE ST LOUIS    MO 63367‐1949
THURMAN, PECOLUA MICHELLE   1330 FLINTSHIRE LN                                                                         LAKE ST LOUIS    MO 63367‐1949
THURMAN, RANDALL
THURMAN, ROY R              455 W 65TH ST                                                                              INDIANAPOLIS    IN    46260‐4601
THURMAN, RUSSELL R          441 W 65TH ST                                                                              INDIANAPOLIS    IN    46260‐4601
THURMAN, SANDRA M           10445 W LITKE LN                                                                           RADISSON        WI    54867‐7095
THURMAN, SANDRA M           10445 WEST LITKE ROAD                                                                      RADISON         WI    54867‐4867
THURMAN, SIMMIE             1273 HONODLE AVE                                                                           AKRON           OH    44305‐3305
THURMAN, STEPHANIE          402 GENERAL ROBERTS DR                                                                     COLUMBIA        TN    38401‐2238
THURMAN, STEVEN E           8558 MIMI                                                                                  NEWPORT         MI    48166
THURMAN, TERRY L            956 TEXARKANA DR                                                                           INDIANAPOLIS    IN    46231‐2532
THURMAN, THELMA             8050 S PHILLIPS AVE                                                                        CHICAGO         IL    60617‐1243
THURMAN, THOMAS D           113 HOLLYWOOD BLVD                                                                         XENIA           OH    45385‐1227
THURMAN, VICTORIA S         567 CHAMPS ELYSEES TERRE DU                                                                BONNE TERRE     MO    63628‐9281
THURMAN, VIOLA C.           4410 CLOVELLY COURT                                                                        INDIANAPOLIS    IN    46254
THURMAN, VIRGINIA L         11550 HOPEWELL RD                                                                          MINERAL POINT   MO    63660‐9369
THURMAN, WALTHENA C         7514 HAWTHORNE AVE                                                                         RAYTOWN         MO    64138
THURMAN, WANDA S            6112 HORSTMEYER                                                                            LANSING         MI    48911
THURMAN, WINFRED E          412 BRADSHAW ST                                                                            CEDAR HILL      TX    75104‐1981
THURMAN, WINIFRED           20078 WESTBROOK ST                                                                         DETROIT         MI    48219‐1320
THURMAND, SAMUEL            501 WASHINGTON ST                                                                          COLUMBIA        TN    38401‐4239
THURMAND, VINCENT           16181 WARD ST                                                                              DETROIT         MI    48235‐4232
THURMES, JONI L             949 TRILLIUM CT                                                                            EAGAN           MN    55123‐3990
THURMON DILLOW              25 LAKESIDE DR                                                                             ONA             WV    25545‐9617
THURMON SHEPPARD            2566 HIAWATHA ST                                                                           KANSAS CITY     KS    66104‐5421
THURMON TIPTON              2306 FOREST HILL AVE                                                                       FLINT           MI    48504‐7187
THURMON, JULIA MAE          115 E PHILADELPHIA                                                                         FLINT           MI    48505‐3327
THURMOND BELL               12208 KILMARTIN LN                                                                         MANOR           TX    78653‐4758
THURMOND BELL
THURMOND EARL (475846)      KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                               CLEVELAND       OH 44114
                                                           BOND COURT BUILDING
THURMOND F MOORE            C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                   HOUSTON          TX   77007
                            BOUNDAS LLP
THURMOND FUGATE             4007 SACKETT AVE                                                                           CLEVELAND       OH 44109‐1378
THURMOND JR, WILLIAM B      5311 ALGONQUIN TRL                                                                         KOKOMO          IN 46902‐5310
                                       09-50026-mg                Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                                Part 37 of 40 Pg 72 of 901
Name                                  Address1                            Address2                           Address3   Address4         City              State Zip
THURMOND LOUIS (ESTATE OF) (656232)   SAVILLE EVOLA & FLINT LLC           322 EAST BROADWAY P O BOX 602                                  ALTON               IL 62002

THURMOND, CARLESE                     7862 RAMBLEWOOD ST                                                                                 YPSILANTI         MI   48197‐7172
THURMOND, DAVID A                     39956 SCHROEDER DR                                                                                 CLINTON TWP       MI   48038‐2873
THURMOND, DONALD A                    5816 ENRIGHT AVE A                                                                                 SAINT LOUIS       MO   63112
THURMOND, DONALD G                    14764 SEVEN FALLS DRIVE                                                                            STE GENEVIEVE     MO   63670‐7192
THURMOND, DORIS E                     5773 SHARON DR                                                                                     NORCROSS          GA   30071‐3427
THURMOND, EARL                        KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                   CLEVELAND         OH   44114
                                                                          BOND COURT BUILDING
THURMOND, GERALD E                    3548 LOLLAR BRANCH RD                                                                              SULLIVAN          MO   63080‐4058
THURMOND, HARRY                       GUY WILLIAM S                       PO BOX 509                                                     MCCOMB            MS   39649‐0509
THURMOND, JAMES E                     PO BOX 103                                                                                         STANTON           MO   63079‐0103
THURMOND, JAMIE L.                    9204 E OUTER DR                                                                                    DETROIT           MI   48213‐4008
THURMOND, KEVIN E                     14543 S KIMBARK, HSE                                                                               DOLTON            IL   60419
THURMOND, LARRY
THURMOND, LASALLE                     19460 GAINSBOROUGH RD                                                                              DETROIT           MI   48223‐1275
THURMOND, LEO B                       PO BOX 103                                                                                         STANTON           MO   63079‐0103
THURMOND, LOUIS                       C/O SAVILLE EVOLA & FLINT LLC       PO BOX 602                                                     ALTON             IL   62002‐0602
THURMOND, MICHAEL K                   616 SPRITLAKE CT                                                                                   NORTH LAS VEGAS   NV   89032‐1174
THURMOND, ROBERT                      4060 W 13 MILE RD APT‐O                                                                            ROYAL OAK         MI   48073
THURMOND, WILADEAN M                  2001 TREVING DR                                                                                    CICERO            IN   46034‐9119
THURMOND, WILLIAM D                   16199 LANCASTER WAY                                                                                HOLLY             MI   48442‐9635
THURN, CONSTANCE                      3138 LAKE SHORE DR E                                                                               DUNKIRK           NY   14048‐9766
THURNEL OUTLAW                        540 CAIRO ST NW                                                                                    ATLANTA           GA   30314‐2733
THURNER MADISON                       BAKKESTUEN, ANNA                    2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN   55402
                                                                          AVENUE
THURNER MADISON                       BAKKESTUEN, CLAIRE                  2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN 55402
                                                                          AVENUE
THURNER MADISON                       BAKKESTUEN, DAVID                   2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN 55402
                                                                          AVENUE
THURNER MADISON                       BAKKESTUEN, KIMBERLY                2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN 55402
                                                                          AVENUE
THURNER MADISON                       SOUTHVIEW CHEVROLET CO              332 MINNESOTA ST ‐ 1ST NATIONAL                                SAINT PAUL        MN 55101
                                                                          BANK BLDG SUITE ‐975

THURNER MADISON                       THURNER, DEBRA                      2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN 55402
                                                                          AVENUE
THURNER MADISON                       THURNER, FRANK                      2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN 55402
                                                                          AVENUE
THURNER MADISON                       THURNER, MADISON                    2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN 55402
                                                                          AVENUE
THURNER MADISON                       THURNER, PARKER                     2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN 55402
                                                                          AVENUE
THURNER, DEBRA                        ROBINS KAPLAN MILLER & CIRESI       2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN 55402
                                                                          AVENUE
THURNER, DEBRA
THURNER, FRANK
THURNER, FRANK                        ROBINS KAPLAN MILLER & CIRESI       2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN 55402
                                                                          AVENUE
THURNER, MADISON                      ROBINS KAPLAN MILLER & CIRESI       2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS       MN 55402
                                                                          AVENUE
THURNER, MADISON
                                09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                       Part 37 of 40 Pg 73 of 901
Name                           Address1                          Address2                           Address3   Address4         City               State Zip
THURNER, MAX J                 1711 W FIESTA LANE 98 N                                                                          MEQUON              WI 53092
THURNER, PARKER
THURNER, PARKER                ROBINS KAPLAN MILLER & CIRESI     2800 LASALLE PLAZA ‐ 800 LASALLE                               MINNEAPOLIS        MN 55402
                                                                 AVENUE
THURNHERR JR, JOHN C           18058 LAKE WORTH BLVD                                                                            PORT CHARLOTTE     FL   33948‐9351
THUROW, AARON D                7162 MARFIELD ST                                                                                 PORTAGE            MI   49024
THUROW, JOHN D                 1077 15TH AVE                                                                                    ARKDALE            WI   54613‐9759
THURS, ELAINE L                1204 PIONEER RD                                                                                  JACKSON            WI   53037‐9725
THURS, KENNETH J               1406 S GRANT AVE                                                                                 JANESVILLE         WI   53546‐5409
THURSAM, BONITA O              6035 S TRANSIT RD LOT 225                                                                        LOCKPORT           NY   14094‐6325
THURSAM, BONITA O              6035 S. TRANSIT RD. #225                                                                         LOCKPORT           NY   14094‐6325
THURSAM, BRIAN S               51280 E VILLAGE RD APT 307                                                                       CHESTERFIELD       MI   48047‐3576
THURSAM, BRIAN SCOTT           51280 E VILLAGE RD APT 307                                                                       CHESTERFIELD       MI   48047‐3576
THURSAM, CHARLES E             PO BOX 467                                                                                       OLCOTT             NY   14126‐0467
THURSAM, WALTER C              34B LEXINGTON CT                                                                                 LOCKPORT           NY   14094‐5365
THURSBY, ARTHUR H              207 NONANTUM DR                                                                                  NEWARK             DE   19711‐3785
THURSBY, STEVEN N              7421 MONROVIA ST                                                                                 SHAWNEE MSN        KS   66216‐3611
THURSIE WOODFIN                G3064 MILLER RD APT 301                                                                          FLINT              MI   48507‐1339
THURSTON AUTO PLAZA            2800 N STATE ST                                                                                  UKIAH              CA   95482‐3028
THURSTON AUTO PLAZA, INC.      DENNIS THURSTON                   2800 N STATE ST                                                UKIAH              CA   95482‐3028
THURSTON CELIA S               32170 LAHSER RD                                                                                  BEVERLY HILLS      MI   48025‐2612
THURSTON COFFEY                602 CENTRAL AVE                                                                                  ANDERSON           IN   46012‐3318
THURSTON COUNTY SHOP           9605 TILLEY RD S                                                                                 OLYMPIA            WA   98512‐1009
THURSTON COUNTY TREASURER      PO BOX 625                                                                                       PENDER             NE   68047‐0625
THURSTON COUNTY TREASURER      2000 LAKERIDGE DR SW                                                                             OLYMPIA            WA   98502‐6001
THURSTON EARLY CHILDHOOD DEV   ATTN: KARYN GOVEN                 181 OREGON ST                                                  YPSILANTI          MI   48198‐6000
THURSTON FOWLKES               2148 S ANNABELLE ST                                                                              DETROIT            MI   48217‐1141
THURSTON HOGSTON               105 NORTH ST                                                                                     YALE               MI   48097‐2955
THURSTON JR, RICHARD A         136 BIRKHEAD                                                                                     FORT SAM HOUSTON   TX   78234
THURSTON KENNETH D (358185)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                                 STREET, SUITE 600
THURSTON LEWIS                 1185 E DOWNEY AVE                                                                                FLINT              MI 48505‐1626
THURSTON P MELSON              4154 KAMMER AVE                                                                                  DAYTON             OH 45417
THURSTON PERRY (459400)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                 STREET, SUITE 600
THURSTON SANDLIN               2534 E HILL RD                                                                                   BELOIT             WI   53511‐2150
THURSTON SIMS                  6299 ROHNS ST                                                                                    DETROIT            MI   48213‐2654
THURSTON SMITH                 7010 W EDGEWOOD DR                                                                               YORKTOWN           IN   47396‐9552
THURSTON, ANITA                809 EVERGREEN WAY                                                                                YORKTOWN           IN   47396‐9496
THURSTON, BLAINE
THURSTON, BONNIE J             3254 PATTERSON RD                                                                                WAYLAND            MI   49348‐9440
THURSTON, BONNIE J             3254 N PATTERSON RD                                                                              WAYLAND            MI   49348‐9415
THURSTON, BURTON N             17457 GARY RD                                                                                    CHESANING          MI   48616‐9581
THURSTON, CARL M               10775 E 630 S                                                                                    HUDSON             IN   46747‐9611
THURSTON, CAROL L              3391 E HUBBARD RD                                                                                MIDLAND            MI   48642‐7209
THURSTON, CATHERINE E          4721 20 MILE RD                                                                                  SAND LAKE          MI   49343‐8860
THURSTON, CLETIS M             11 REDBUD BLVD                                                                                   ANDERSON           IN   46013‐1048
THURSTON, CYNTHIA A            6441 PINE VALLEY RD                                                                              CLARKSTON          MI   48346‐2231
THURSTON, DANNY E              10117 MUSTANG CIR                                                                                KEITHVILLE         LA   71047‐8833
THURSTON, DAVID H              20640 LAKE MONTCALM RD                                                                           HOWARD CITY        MI   49329‐9027
THURSTON, DAVID L              232 N. MAPLE BOX 254                                                                             FOWLER             MI   48835
THURSTON, DAVID O              28121 PEPPERMILL RD                                                                              FARMINGTON HILLS   MI   48331‐3332
                                09-50026-mg            Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                     Part 37 of 40 Pg 74 of 901
Name                            Address1                       Address2                      Address3   Address4         City               State Zip
THURSTON, DENNIS L              17440 GARY RD                                                                            CHESANING           MI 48616‐9581
THURSTON, DENNIS R              5805 HEMINGWAY RUN                                                                       FORT WAYNE          IN 46814‐8230
THURSTON, DOUGLAS L             142 LINCOLN                                                                              HUBBARDSTON         MI 48845‐5116
THURSTON, EARL L                PO BOX 37                                                                                MERTENS             TX 76666‐0037
THURSTON, EDWARD G              509 LOCUST ST                                                                            EDGEWOOD            TX 75117‐2327
THURSTON, EVELYN W              2795 POPLAR LN                                                                           CUMMING             GA 30041‐4796
THURSTON, FRANKLIN S            PO BOX 824                                                                               HOUGHTON LAKE       MI 48629‐0824
THURSTON, GALE W                20 MILE RD                                                                               SAND LAKE           MI 49343
THURSTON, GREGORY S             5538 LOCH MOOR DR                                                                        CLARKSTON           MI 48346‐3071
THURSTON, HELENE J              15060 SW 133RD AVE                                                                       PORTLAND            OR 97224‐1602
THURSTON, JAMES E               2585 E BROCKER RD                                                                        METAMORA            MI 48455‐9360
THURSTON, JAMES M               2988 ASPEN LN                                                                            BLOOMFIELD HILLS    MI 48302‐1015
THURSTON, JEFFREY L             PO BOX 439                                                                               BATH                MI 48808‐0439
THURSTON, JOHN C                3400 RISHER RD SW                                                                        WARREN              OH 44481‐9175
THURSTON, JUDITH                6965 S 500 E                                                                             JONESBORO           IN 46938‐9713
THURSTON, KENNETH D             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
THURSTON, LEO D                 3580 COUNTY FARM RD                                                                      SAINT JOHNS        MI   48879‐9278
THURSTON, LOIS A                705 W WALNUT ST                                                                          SAINT CHARLES      MI   48655‐1257
THURSTON, LOIS M                830 PINE ST                                                                              HANCOCK            MI   49930‐1526
THURSTON, MARC L                1502 1ST PKWY                                                                            WASHINGTON         MO   63090‐3434
THURSTON, MARGARET E            20640 LAKE MONTCALM RD                                                                   HOWARD CITY        MI   49329‐9027
THURSTON, MARY L                9194 W 600 S                                                                             KEMPTON            IN   46049‐9399
THURSTON, MERVIN B              12450 S MORGAN ST                                                                        CALUMET PARK       IL   60827‐6225
THURSTON, MILAN R               3602 COUNTY FARM RD                                                                      SAINT JOHNS        MI   48879‐9295
THURSTON, ONA G                 419 S CLEARVIEW DR                                                                       NEW CASTLE         IN   47362‐8919
THURSTON, PATTY A               300 WESTERN AVE APT E424                                                                 LANSING            MI   48917
THURSTON, PATTY M               1801 TOWNE DR                                                                            COLUMBIA           MO   65202‐2337
THURSTON, PERRY                 GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                               STREET, SUITE 600
THURSTON, RICHARD L             3535 N LOWELL RD                                                                         SAINT JOHNS        MI   48879‐9717
THURSTON, ROBERT                828 CRANFORD HOLLOW RD                                                                   COLUMBIA           TN   38401‐0903
THURSTON, ROBERT A              17665 GARY RD                                                                            CHESANING          MI   48616‐9581
THURSTON, ROBERT E              633 N DUFFY WAY                                                                          GILBERT            AZ   85233‐3739
THURSTON, ROGER L               3750 COUNTY FARM RD                                                                      SAINT JOHNS        MI   48879‐9295
THURSTON, ROLAND E              10095 STATE ST                                                                           DALTON             NY   14836‐9602
THURSTON, RONALD G              652 OLD NIAGARA RD                                                                       LOCKPORT           NY   14094‐1419
THURSTON, SHANE                 7070 DUTCH RD                                                                            SAGINAW            MI   48609‐9501
THURSTON, STEVEN F              739 BENDING BRK                                                                          FLUSHING           MI   48433‐3018
THURSTON, STEVEN P              PO BOX 173                                                                               PEWAMO             MI   48873‐0173
THURSTON, TERRY L               1203 S LOWELL RD                                                                         SAINT JOHNS        MI   48879‐9507
THURSTON, THOMAS C              1189 LAUSE RD                                                                            BULLHEAD CITY      AZ   86442‐7861
THURSTON, VICKIE E              633 N DUFFY WAY                                                                          GILBERT            AZ   85233‐3739
THURSTON, VIRGINIA E            1847 LEWIS ROAD                                                                          SOUTH WALES        NY   14139
THURSTON, VIRGINIA E            1847 LEWIS RD                                                                            SOUTH WALES        NY   14139‐9709
THURSTON, WILLIAM D             5806 WALNUT CREEK BLVD                                                                   SAINT CHARLES      MO   63304‐4500
THURSTON, WILLIAM L             13080 DEMPSEY RD                                                                         SAINT CHARLES      MI   48655
THURSTON, WILLIAM R             148 SEAVER ST                                                                            HUBBARDSTON        MI   48845‐5131
THURSTON, WILMER C              1146 QUEENS DR                                                                           OXFORD             MI   48371‐5916
THURSTON, WOODROW M             214 SHEETS ST                                                                            UNION              OH   45322‐3118
THURSTON‐ENNEY, PATRICIA A      11717 PEBBLEPOINTE PASS                                                                  CARMEL             IN   46033‐9670
THURWAY MESSENGER SERVICE INC   PO BOX 11                                                                                PEARL RIVER        NY   10965‐0011
                                   09-50026-mg            Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                                        Part 37 of 40 Pg 75 of 901
Name                               Address1                       Address2                   Address3    Address4            City               State Zip
THUSA ALLEN                        125 LEAMINGTON CIR             C/O GLENN WESLEY ALLEN                                     ROCHESTER           NY 14626‐4478
THUSTER CANNON                     2222 SANTA BARBARA DR                                                                     FLINT               MI 48504‐2077
THUT, ALBERT M                     3738 24TH AVE N                                                                           ST PETERSBURG       FL 33713‐3402
THUT, JOHN H                       2946 MEADOW LANE                                                                          YOUNGSTOWN          OH 44511‐2056
THUT, JOHN H                       2946 MEADOW LN                                                                            YOUNGSTOWN          OH 44511‐2056
THUY B DANG                        4264 DYER DR                                                                              MORAINE             OH 45439
THUY CAO                           38125 MOUNT KISCO DR                                                                      STERLING HEIGHTS    MI 48310‐3422
THUY D VU                          1736 SOUTHLAWN DR.                                                                        FAIRBORN            OH 45324
THUY HO                            28445 ALGER                                                                               MADISON HEIGHTS     MI 48071
THUY HO                            28445 ALGER ST                                                                            MADISON HEIGHTS     MI 48071‐4560
THUY LAMBERT                       4867 SOMERTON DR                                                                          TROY                MI 48085‐4735
THUY LARSON                        2222 SUNRISE RD                                                                           RACINE              WI 53402
THUY LE                            3225 PRIMROSE LN                                                                          YORBA LINDA         CA 92886‐1899
THUY N MIRANDA                     2201 BELLESONTANE STREET                                                                  HOUSTON             TX 77030‐3201
THUY PHAM                          46 BLOSSOM ST                                                                             EDISON              NJ 08817‐4244
THUY TRAN‐KORNS                    4893 SPRING MEADOW DR                                                                     CLARKSTON           MI 48348‐5155
THUY VU                            1736 SOUTHLAWN DR                                                                         FAIRBORN            OH 45324‐3940
THWAITES, NATALIE S                4280 HILLSDALE AVE NE                                                                     GRAND RAPIDS        MI 49525‐6107
THWAITES, PATRICIA K               6518 HILLSIDE OAKS DR                                                                     FORT WAYNE          IN 46818‐2456
THWEATT, DORIS E                   2905 MATHIAS RACEWAY RD SW                                                                NEW PHILA           OH 44663‐6969
THWEATT, RAYMOND L                 2680 GREENFIELD RD                                                                        BERKLEY             MI 48072‐1053
THWEATT, SHERI C                   3802 VALLEYVIEW RD                                                                        CROSSVILLE          TN 38572
THWEATT, WILLIAM O                 5005 WYNFORD CT                                                                           HARRISBURG          NC 28075‐7426
THWING, ARDONNA M                  615 1/2 N WASHINGTON ST                                                                   OWOSSO              MI 48867‐2344
THWING, ELVA                       300 S MAIN ST                  APT 124                                                    DAVISON             MI 48423‐1639
THWING, ELVA                       APT 124                        300 SOUTH MAIN STREET                                      DAVISON             MI 48423‐1639
THWING, PHYLLIS G                  1033 FIFTH ST                                                                             TAWAS CITY          MI 48763‐9550
THWING, PHYLLIS G                  1033 5TH ST                                                                               TAWAS CITY          MI 48763‐9550
THWING‐ALBERT INSTRUMENT CO IN     14 W COLLINGS AVE                                                                         WEST BERLIN         NJ 08091‐9134
THWING‐ALBERT INSTRUMENT COMPANY   14 W COLLINGS AVE                                                                         WEST BERLIN         NJ 08091‐9134
INC
THYBAULT JR, RICHARD A             1467 N WAGNER RD                                                                          ESSEXVILLE         MI   48732‐9698
THYBAULT, BETTY                    4720 5TH ST                    PO BOX 435                                                 COLUMBIAVILLE      MI   48421‐7715
THYBAULT, BETTY                    4720 FIFTH ST                  PO BOX 435                                                 COLUMBIAVILLE      MI   48421‐9344
THYBAULT, EMMANUEL E               312 SAN GABRIEL DR                                                                        OLD HICKORY        TN   37138‐1525
THYBAULT, RICHARD A                1656 N KNIGHT RD                                                                          ESSEXVILLE         MI   48732‐9697
THYBERG, GEORGIANNA M              807 MOUNTVIEW RD                                                                          MIFFLINBURG        PA   17844‐9113
THYE MIZAR FUND                    TISSOR CAPITAL MANAGEMENT SA   VIA CANTONALE GALLERIA 2               6928 MANNO
                                                                                                         SWITZERLAND
THYEN, ARLEEN                      3081 STAHLHEBER RD                                                                        HAMILTON           OH   45013‐1947
THYEN, JOHN D                      1012 CLAREMONT DR                                                                         COLUMBIA           TN   38401‐6207
THYGESEN, HELEN L                  373 W. CLYDESDALE ST                                                                      MT. MORRIS         MI   48458
THYGESEN, HELEN L                  373 W CLYDESDALE ST                                                                       MOUNT MORRIS       MI   48458‐8997
THYGESEN, LEONARD T                1318 W MAPLE AVE                                                                          FLINT              MI   48507‐5612
THYKESON, GEORGE J                 1080 MACON RD                                                                             VENICE             FL   34293‐6743
THYMEN KRIKKE                      5001 NINEVEH RD                                                                           GREENWICH          OH   44837‐9354
THYMES GIVINGS                     205 SHADYBROOK COURT                                                                      OKLAHOMA CITY      OK   73110‐3457
THYNE, JEAN I                      706 RAMONA STREET                                                                         ROCHESTER          NY   14615
THYRA A SUMNER                     6573 SHOAL CREEK RD.                                                                      ASHVILLE           AL   35953‐5138
THYRA MASON                        516 SE 4TH ST LOT 35                                                                      OKEECHOBEE         FL   34974‐4454
THYSKRUPP 000523 1 19 07
THYSKRUPP 2893 01 18 08
                                 09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                        Part 37 of 40 Pg 76 of 901
Name                             Address1                         Address2                      Address3                 Address4                   City              State Zip
THYSKRUPP TKH6 12 17 07
THYSSEENKRUPP USA                31555 W BIG BEAVER RD                                                                                              TROY               MI 48084
THYSSEN INC                      1 THYSSEN PL                                                                                                       DETROIT            MI 48210‐1490
THYSSEN KRUPP BUD COMPANY
THYSSEN KRUPP BUDD SYSTEMS       2003 OAKLAND PKWY                                                                                                  COLUMBIA           TN 38401‐6530
THYSSEN KRUPP STAHL AG           KAISER WILHELM STR 100                                                                  DUISBURG 47166
THYSSEN KRUPP STAHL GMBH LAGER   KAISER‐WILHELM‐STR 100                                                                  DUISBURG NW 47166
                                                                                                                         GERMANY
THYSSEN KRUPP STEEL NA INC       1 THYSSEN PL                                                                                                       DETROIT            MI 48210‐1490
THYSSEN KRUPP STEEL NA., INC     HOMER PHILIPS                    1 THYSSEN PL                                                                      DETROIT            MI 48210‐9700
THYSSEN SPEC/CAROL S             365 VILLAGE DR                                                                                                     CAROL STREAM       IL 60188‐1828
THYSSEN STAHL SERVICE CENTER     HARPENER STRABE 3                                                                       BOCHUM 44791 GERMANY
THYSSEN STEE/DETROIT             5151 WESSON                                                                                                        DETROIT            MI   48210
THYSSEN/DETROIT                  400 RENAISSANCE CTR STE 1700                                                                                       DETROIT            MI   48243‐1677
THYSSENDRUPP AUTOMOTIVE SALES    3155 W BIG BEAVER RD                                                                                               TROY               MI   48084
THYSSENKRUP USA                  3155 W BIG BEAVER RD                                                                                               TROY               MI   48084
THYSSENKRUPP AG                  305 W DELAVAN DR                 4311 CAPITAL CIR              STE 110                                             JANESVILLE         WI   53546‐8316
THYSSENKRUPP AG                  AUGUST THYSSEN STR 1                                                                    DUESSELDORF NW 40211
                                                                                                                         GERMANY
THYSSENKRUPP AG                  HOMER PHILIPS                    1 THYSSEN PL                                                                      DETROIT            MI 48210‐9700
THYSSENKRUPP AG                  SVEN AREND                       OEGER STRASSE 85                                       HAGEN 58119 GERMANY
THYSSENKRUPP AG
THYSSENKRUPP AG                                                   AUGUST THYSSEN STR 1                                   DUESSELDORF,NW,40211,G
                                                                                                                         ERMANY
THYSSENKRUPP AG                  1 THYSSEN PL                                                                                                       DETROIT           MI 48210‐1490
THYSSENKRUPP AG                  100 S POE RD                                                                                                       NORTH BALTIMORE   OH 45872‐9551
THYSSENKRUPP AG                  1000 LYNCH RD                                                                                                      DANVILLE          IL 61834‐5811
THYSSENKRUPP AG                  1011 HOMER WATSON BLVD                                                                  KITCHENER ON N2G 4G8
                                                                                                                         CANADA
THYSSENKRUPP AG                  1600 NADEAU RD                                                                                                     MONROE            MI    48162‐9317
THYSSENKRUPP AG                  175 NATIONAL PARK DR                                                                                               FOWLERVILLE       MI    48836‐9677
THYSSENKRUPP AG                  2003 OAKLAND PKWY                                                                                                  COLUMBIA          TN    38401‐6530
THYSSENKRUPP AG                  21000 TROLLEY INDUSTRIAL DR                                                                                        TAYLOR            MI    48180‐1841
THYSSENKRUPP AG                  22355 W 11 MILE RD                                                                                                 SOUTHFIELD        MI    48033‐4735
THYSSENKRUPP AG                  2915 COUNTY RD 96                                                                                                  CAREY             OH    43316
THYSSENKRUPP AG                  305 W DELAVAN DR                 PO BOX 1367                                                                       JANESVILLE        WI    53546‐2547
THYSSENKRUPP AG                  3155 W BIG BEAVER RD                                                                                               TROY              MI    48084
THYSSENKRUPP AG                  4 RUE DE LA GARE                 BOITE POSTAL 67                                        ENSISHEIM FR 68190
                                                                                                                         FRANCE
THYSSENKRUPP AG                  5835 GREEN POINTE DR S STE C                                                                                       GROVEPORT         OH    43125‐2001
THYSSENKRUPP AG                  59 INTERSTATE DR                                                                                                   WENTZVILLE        MO    63385‐4599
THYSSENKRUPP AG                  8685 BERK BLVD                                                                                                     HAMILTON          OH    45015‐2205
THYSSENKRUPP AG                  901 DORIS RD                                                                                                       AUBURN HILLS      MI    48326‐2716
THYSSENKRUPP AG                  BAYERNSTR 17                                                                            LANGENHAGEN NS 30855
                                                                                                                         GERMANY
THYSSENKRUPP AG                  CANDACE MOORE                    C/O ARLINGTON RACK AND PCKG   6120 NORTH DETROIT AVE                              EAST SYRACUSE      NY 13057
THYSSENKRUPP AG                  CHUCK SEFCOVIC                   EJE 124 NO 125 ZI                                      SAN LUIS POTOSI NL 78395
                                                                                                                         MEXICO
THYSSENKRUPP AG                  DAVE MILLS                       1600 NADEAU RD                                                                    MONROE             MI 48162‐9317
THYSSENKRUPP AG                  EBERHARDSTR 12                                                                          DORTMUND NW 44145
                                                                                                                         GERMANY
                                       09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                               Part 37 of 40 Pg 77 of 901
Name                                  Address1                           Address2                         Address3   Address4                 City            State Zip
THYSSENKRUPP AG                       EJE 124 NO 125 ZI                                                              SAN LUIS POTOSI NL 78395
                                                                                                                     MEXICO
THYSSENKRUPP AG                       MARCO WITTING                      8695 BERK BLVD                                                       HAMILTON        OH 45015‐2205
THYSSENKRUPP AG                       MARCO WITTING                      8695 BERK BLVD.                                                      BURLINGTON      WI 53105
THYSSENKRUPP AG                       NEUE INDUSTRIESTR                                                              HOMBURG SL 66424
                                                                                                                     GERMANY
THYSSENKRUPP AG                       RICHARD‐TAYLOR‐STR 89              POSTFACH 710340                             BREMEN HB 28763
                                                                                                                     GERMANY
THYSSENKRUPP AG                       WEIPERTSTR 37                                                                  HEILBRONN BW 74076
                                                                                                                     GERMANY
THYSSENKRUPP AG                       4311 CAPITAL CIR STE 110                                                                                JANESVILLE       WI 53546‐8316
THYSSENKRUPP AUTOMOTIVE               3155 WEST BIG BEAVER                                                                                    TROY             MI 48084
THYSSENKRUPP AUTOMOTIVE SALES
THYSSENKRUPP AUTOMOTIVE SALES         3155 W BIG BEAVER RD                                                                                      TROY          MI    48084
THYSSENKRUPP BILSTEIN                 3155 BIG BEAVER                                                                                           TROY          MI    48084
THYSSENKRUPP BILSTEIN OF AMERI        MARCO WITTING                      8695 BERK BLVD                                                         HAMILTON      OH    45015‐2205
THYSSENKRUPP BILSTEIN OF AMERI        MARCO WITTING                      8695 BERK BLVD.                                                        BURLINGTON    WI    53105
THYSSENKRUPP BILSTEIN OF AMERICA      PO BOX 894456                                                                                             LOS ANGELES   CA    90189‐4456
THYSSENKRUPP BILSTEIN OF AMERICA      8685 BERK BLVD                     FMLY KRUPP BILSTEIN OF AMERICA                                         HAMILTON      OH    45015‐2205

THYSSENKRUPP BILSTEIN OF AMERICA      8685 BERK BLVD                                                                                            HAMILTON      OH 45015‐2205
THYSSENKRUPP BILSTEIN SASA SA         CHUCK SEFCOVIC                     EJE 124 NO 125 ZI                           SAN LUIS POTOSI NL 78395
                                                                                                                     MEXICO
THYSSENKRUPP BILSTEIN SASA SA         EJE 124 NO 125 ZI                                                              SAN LUIS POTOSI NL 78395
                                                                                                                     MEXICO
THYSSENKRUPP BILSTEIN SASA SA CV      FRMLY KRUPP HOESCH SASA SA DE      54030 SAN NICOLAS TLALNEPANTLA              SAN NICOLAS
                                                                                                                     TLALNEPANTLA 54030
                                                                                                                     MEXICO
THYSSENKRUPP BILSTEIN SASA SA DE CV   EJE 124 NO 125 ZI                                                              SAN LUIS POTOSI NL 78395
                                                                                                                     MEXICO
THYSSENKRUPP BODY STAMPINGS LTD       WOLVERHAMPTON ROAD                                                             CANNOCK, ST WS11 GREAT
                                                                                                                     BRITAIN
THYSSENKRUPP BUDD CO                  3155 W BIG BEAVER RD                                                                                      TROY           MI   48084
THYSSENKRUPP BUDD COMPANY             3155 W BIG BEAVER RD                                                                                      TROY           MI   48084
THYSSENKRUPP BUDD COMPANY             3155 W BIG BEAVER ROAD             PO BOX 5036                                                            TROY           MI   48084
THYSSENKRUPP BUDD SYSTEMS             2003 OAKLAND PKWY                                                                                         COLUMBIA       TN   38401‐6530
THYSSENKRUPP BUDD SYSTEMS CANADA

THYSSENKRUPP BUDD SYSTEMS LLC         175 NATIONAL PARK DR                                                                                      FOWLERVILLE    MI 48836‐9677
THYSSENKRUPP CRANKSHAFT CO            1000 LYNCH RD                                                                                             DANVILLE       IL 61834‐5811
THYSSENKRUPP CRANKSHAFT CO LLC        1000 LYNCH RD                                                                                             DANVILLE       IL 61834‐5811
THYSSENKRUPP DRAUZ NOTHELFER G        SCHLOSSSTR 22                                                                  WADERN BW 66687
                                                                                                                     GERMANY
THYSSENKRUPP DRAUZ NOTHELFER GMBH SCHLOBSTRABE 22                                                                    WADERN 66687 GERMANY

THYSSENKRUPP DRAUZ NOTHELFER GMBH LINDLICHSTRABE 15 74189                                                            WEINSBERG GERMANY

THYSSENKRUPP DRAUZ NOTHELFER GMBH WEIPERTSTR 37                                                                      HEILBRONN BW 74076
                                                                                                                     GERMANY
THYSSENKRUPP EGM GMBH                 BAYERNSTRABE 17                                                                LANGENHAGEN D‐30855
                                                                                                                     GERMANY
                                     09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                            Part 37 of 40 Pg 78 of 901
Name                                 Address1                         Address2                      Address3               Address4                 City              State Zip
THYSSENKRUPP EGM GMBH                BAYERNSTR 17                                                                          LANGENHAGEN NS 30855
                                                                                                                           GERMANY
THYSSENKRUPP ELEVATOR                PO BOX 933013                                                                                                  ATLANTA            GA 31193‐3013
THYSSENKRUPP ELEVATOR                35432 INDUSTRIAL RD                                                                                            LIVONIA            MI 48150‐1223
THYSSENKRUPP GERLACH GMBH            NEUE INDUSTRIESTR                                                                     HOMBURG SL 66424
                                                                                                                           GERMANY
THYSSENKRUPP HEARN                   DIV THYSSENKRUPP INDSTRL SVCS    21000 TROLLEY INDUSTRIAL DR                                                   TAYLOR            MI    48180‐1841
THYSSENKRUPP HEARN TRANSPORTAT       21000 TROLLEY INDUSTRIAL DR                                                                                    TAYLOR            MI    48180‐1841
THYSSENKRUPP HEARN TRANSPORTAT       59 INTERSTATE DR                                                                                               WENTZVILLE        MO    63385‐4599
THYSSENKRUPP HEARN TRANSPORTATION    DON HELFERSTAY                   59 INTERSTATE DR                                                              WENTZVILLE        MO    63385‐4599

THYSSENKRUPP INDUSTRIAL SERVICES     PO BOX 2736                                                                                                    CAROL STREAM       IL   60132‐2736
THYSSENKRUPP KRAUSE                  4 RUE DE LA GARE                 BOITE POSTAL 67                                      ENSISHEIM FR 68190
                                                                                                                           FRANCE
THYSSENKRUPP KRAUSE GMBH             RICHARD‐TAYLOR‐STR 89            POSTFACH 710340                                      BREMEN HB 28763
                                                                                                                           GERMANY
THYSSENKRUPP MATERIALS CA LTD        DBA COPPER & BRASS SALES         6350 VIPOND DR                                       MISSISSAUGA ON L5T 1G2
                                                                                                                           CANADA
THYSSENKRUPP MATERIALS NA            COPPER & BRASS SALES DIVISION    2923 TECHNOLOGY DR                                                            ROCHESTER HILLS    MI 48309‐3589
THYSSENKRUPP PRAEZISIONSSCHMIE       ROBERT SCHAESTER                 BLW PRAEZIONSSCHMIEDE GMBH    FRANKFURTER RING 227                            SAINT CLAIR        MI 48079

THYSSENKRUPP SASA                    2075 WEST BIG BEAVER ROAD                                                                                      TROY              MI 48084
THYSSENKRUPP SASA SA DE CV           5835 GREEN POINTE DR S STE C                                                                                   GROVEPORT         OH 43125‐2001
THYSSENKRUPP STAL SERWIS             POLSKA SP ZOO                    UL TORUNSKA 7                                        DABROWA GORNICZA 41‐
                                                                                                                           300 POLAND
THYSSENKRUPP STEEL NA INC            1 THYSSEN PL                                                                                                   DETROIT            MI 48210‐9700
THYSSENKRUPP SYSTEM ENGINEERIN       901 DORIS RD                                                                                                   AUBURN HILLS       MI 48326‐2716
THYSSENKRUPP SYSTEM ENGINEERININC    901 DORIS RD                                                                                                   AUBURN HILLS       MI 48326‐2716

THYSSENKRUPP SYSTEM ENGR INC      PO BOX 2440                                                                                                       CAROL STREAM       IL   60132‐0001
THYSSENKRUPP USA                  3155 W BIG BEAVER RD                                                                                              TROY               MI   48084
THYSSENKRUPP USA                  31555 W BIG BEAVER RD                                                                                             TROY               MI   48084
THYSSENKRUPP USA                  TOM ARMSTRONG                       5701 NW 88TH AVE STE 390                                                      TAMARAC            FL   33321‐4451
THYSSENKRUPP WAUPACA INC          PO BOX 249                          311 S WAUPACA FOUNDRY INC                                                     WAUPACA            WI   54981‐0249
THYSSENKRUPP/DAHUA MACHINE MFG CO 20 HEPING STREET                    130300 DEHUI CITY                                    CHANGCHUN CHINA
LTD                                                                                                                        (PEOPLE'S REP)
THYSSENKRUPP/ENGLAND              WOLVERHAMPTON ROAD                                                                       CANNOCK ST WS11 1LY
                                                                                                                           ENGLAND
THYSSENKRUPP/HAMILTO                 3155 BIG BEAVER                                                                                                TROY               MI 48084
THYSSENKRUPP/MEXICO                  2075 W BIG BEAVER RD STE 100                                                                                   TROY               MI 48084‐3437
TI ANN ENTERPRISES INC               1912 MILLER ST                                                                                                 DECATUR            AL 35601‐7600
TI AUTO CO LTD BRAKE & FUEL BRANCH   409 CHAAM‐DONG                                                                        CHEONAN‐SI
                                                                                                                           CHUNGCHEONGNAM‐DO
                                                                                                                           330‐200 KOREA (REP)
TI AUTO/BELGIUM                      SCHOEBROEKSTRAAT 20                                                                   LIMBURG BE B‐3583
                                                                                                                           BELGIUM
TI AUTO/CHESTERFIELD                 50695 CHESTERFIELD RD            BUNDY ENGINEERING                                                             CHESTERFIELD       MI 48051‐3182
TI AUTO/FULDABRUCK                   INDUSTRISTR. 3                                                                        FULDABRUCK HE 34277
                                                                                                                           GERMANY
TI AUTO/MERIDEN                      45 GRACEY AVE                                                                                                  MERIDEN            CT 06451‐2284
TI AUTO/STHFLD                       21725 MELROSE AVE                                                                                              SOUTHFIELD         MI 48075‐5628
TI AUTOMITIVE KOREA LTD              409 CHAAM‐DONG CHONAN CITY       CHUNGNAM 330‐200 16378347                            KOREA SOUTH KOREA
                                     09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                            Part 37 of 40 Pg 79 of 901
Name                                Address1                          Address2                        Address3                  Address4                  City            State Zip
TI AUTOMOTIVE                       SCHOEBROEKSTRACT 20                                                                         PAAL‐BENIMGEN B 3583
                                                                                                                                BELGIUM
TI AUTOMOTIVE                       12345 E 9 MILE RD                                                                                                     WARREN           MI 48089‐2614
TI AUTOMOTIVE (FULDABRUECK)         UDO NORDMEIER                     TI AUTOMOTIVE LTD               INDUSTRIESTRASSE 3                                  FREEPORT         IL 61032
TI AUTOMOTIVE (FULDABRUECK) GMBH    INDUSTRIESTRASSE 3                                                                          FULDABRUECK HE 34277
                                                                                                                                GERMANY
TI AUTOMOTIVE ENG CENTRE            HD GMBH                           DISCHINGER STR 11 D‐69123                                 HELDELBERG GERMANY
TI AUTOMOTIVE ENGINEERING CENTRE GM DISCHINGERSTR 11                                                                            HEIDELBERG BW 69123
                                                                                                                                GERMANY
TI AUTOMOTIVE FULDABRUCK GMBH       FRMLY TECHNOFLOW FUEL SYSTEM      INDSTRSTRSSE 3 34277 FULDABRU                             GERMANY DCN 16378351
                                                                                                                                GERMANY
TI AUTOMOTIVE LTD                   TIMOTHY KNUTSON                   12345 E 9 MILE RD                                                                   WARREN           MI 48089‐2614
TI AUTOMOTIVE LTD                   MARY ARMSTRONG                    12345 E 9 MILE RD                                                                   WARREN           MI 48089‐3746
TI AUTOMOTIVE LTD                                                     4650 KINGSGATE CASCADE WAY                                OXFORD
                                                                                                                                OXFORDSHIRE,GB,OX4
                                                                                                                                2SU,GREAT BRITAIN
TI AUTOMOTIVE LTD                   30600 COMMERCE BLVD                                                                                                   NEW HAVEN        MI 48048
TI AUTOMOTIVE LTD                   35 PROGRESS DR                                                                              ORILLIA ON L3V 6H1
                                                                                                                                CANADA
TI AUTOMOTIVE LTD                   200 ARCH AVE                                                                                                          HILLSDALE        MI   49242‐1079
TI AUTOMOTIVE LTD                   300 HL THOMPSON JR DR                                                                                                 ASHLEY           IN   46705
TI AUTOMOTIVE LTD                   1200 BAKER DR                                                                                                         OSSIAN           IN   46777‐9106
TI AUTOMOTIVE LTD                   12345 E 9 MILE RD                                                                                                     WARREN           MI   48089‐2614
TI AUTOMOTIVE LTD
TI AUTOMOTIVE LTD                   BJORN TAUCHMANN 4                 FCS                             UL.1AWP 130 A             WYSZKOW POLAND (REP)
TI AUTOMOTIVE LTD                   BLVD MORELOS 926                                                                            REYNOSA TM 88630
                                                                                                                                MEXICO
TI AUTOMOTIVE LTD                   BRECHA E 99 NORTE 15                                                                        REYNOSA TM 88780
                                                                                                                                MEXICO
TI AUTOMOTIVE LTD                   MARY ARMSTRONG                    495 OLD CHILLICOTHE RD.                                   COLMAR FRANCE
TI AUTOMOTIVE LTD                   MARY ARMSTRONG                    50695 CHESTERFIELD RD           TI AUTO CHESTERFIELD                                CHESTERFIELD     MI 48051‐3182
                                                                                                      SERVICE
TI AUTOMOTIVE LTD                   MARY ARMSTRONG                    ASHLEY PLANT                    300 HL THOMPSON JR. DR.                             OKLAHOMA CITY    OK 73129
TI AUTOMOTIVE LTD                   MARY ARMSTRONG                    C/O TI GROUP AUTOMOTIVE SYS     AV DE LOS NOGALES, LOTE 12 SANTA ROSA JAUREGUI QA
                                                                                                                                 76220 MEXICO
TI AUTOMOTIVE LTD                   MARY ARMSTRONG                    TI AUTO CHESTERFIELD SERVICE    50695 CHESTERFIELD ROAD                             ROCHESTER        NY 14624
TI AUTOMOTIVE LTD                   MARY ARMSTRONG X4519              BUNDY TUBING DIV                12345 E NINE MILE RD.                               EVANSVILLE       IN
TI AUTOMOTIVE LTD                   NO 589 TAIBO RD ANTING TOWN       JIADING DISTRICT                                           SHANGHAI 201814 CHINA
                                                                                                                                 (PEOPLE'S REP)
TI AUTOMOTIVE LTD                   TIM LUTTIG                        TUBING DIV                      200 ARCH AV                                         OXFORD           MI 48371
TI AUTOMOTIVE LTD                   BRECHA E 99 NORTE 15              COL PARQUE INDUSTRIAL                                      REYNOSA TM 88780
                                                                                                                                 MEXICO
TI AUTOMOTIVE LTD                   BRECHA E‐99 NORTE LTS 2 Y 3                                                                  REYNOSA TM 88780
                                                                                                                                 MEXICO
TI AUTOMOTIVE LTD                   CARRETERA RIBERENA KM 8 PLT 1     COL PARQUE INDUSTRIAL MAQUIL                               REYNOSA TM 88614
                                                                      PARK                                                       MEXICO
TI AUTOMOTIVE LTD                   CARRETERA RIBERENA KM 9           PARQUE INDUSTRIAL MAQUILPARK                               REYNOSA TM 88500
                                                                                                                                 MEXICO
TI AUTOMOTIVE LTD                   DAVE KINTZ                        630 COLUMBIA                                                                        TAWAS CITY       MI 48763
TI AUTOMOTIVE LTD                   DISCHINGERSTR 11                                                                            HEIDELBERG BW 69123
                                                                                                                                GERMANY
                                    09-50026-mg             Doc 7123-39     Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                           Part 37 of 40 Pg 80 of 901
Name                                Address1                         Address2                        Address3                  Address4                  City            State Zip
TI AUTOMOTIVE LTD                   INDUSTRIESTRASSE 3                                                                         FULDABRUECK HE 34277
                                                                                                                               GERMANY
TI AUTOMOTIVE LTD                   DAVE KINTZ                       TI AUTOMOTIVE‐GREENVILLE FUEL   455‐T ELMER COX DR                                  MELVINDALE       MI 48122

TI AUTOMOTIVE LTD                   JUAN NORIEGA 011                 VIA JOSE LOPEZ PORTILLO 8A                                TULTITLAN EM 54940
                                                                                                                               MEXICO
TI AUTOMOTIVE LTD                   MARY ARMSTRONG                   455‐T ELMER COX DR                                                                  EL PASO          TX
TI AUTOMOTIVE LTD                   4650 KINGSGATE CASCADE WAY       OXFORD OXFORDSHIRE GB OX4 2SU                             GREAT BRITAIN

TI AUTOMOTIVE LTD                   421 RACE ST                                                                                                          COLDWATER        MI 49036‐2119
TI AUTOMOTIVE LTD                   409 CHAAM‐DONG                                                                             CHEONAN‐SI
                                                                                                                               CHUNGCHEONGNAM‐DO
                                                                                                                               330‐200 KOREA (REP)
TI AUTOMOTIVE LTD                   455‐T ELMER COX DR                                                                                                   GREENEVILLE      TN 37743
TI AUTOMOTIVE LTD                   50695 CHESTERFIELD RD                                                                                                CHESTERFIELD     MI 48051‐3182
TI AUTOMOTIVE LTD                   689 3 GYEONGSEO‐DONG SEO‐GU                                                                INCHON 404 170 KOREA
                                                                                                                               (REP)
TI AUTOMOTIVE LTD                   AVENIDA DE LOS NEGALES LOTE 13                                                             REYNOSA TM 88730
                                                                                                                               MEXICO
TI AUTOMOTIVE LTD                   UDO NORDMEIER                    TI AUTOMOTIVE LTD               INDUSTRIESTRASSE 3        FULDABRUECK34277
                                                                                                                               GERMANY
TI AUTOMOTIVE LTD                   RACHEL MORALES                   S DE RL DE PLT 6                BRECHA E 99 NORTE         REYNOSA TM 87600
                                                                                                                               MEXICO
TI AUTOMOTIVE LTD                   RAVENHOUTZONE 7‐225              SCHOEBROEKSTRAAT 20                                       PAAL‐BERINGEN 3583
                                                                                                                               BELGIUM
TI AUTOMOTIVE LTD                   RICH GIBBS                       AUTOMOTIVE DIVISION             6242 GARFIELD                                       CARROLLTON       TX   75006
TI AUTOMOTIVE LTD                   RICK WALKER X183                 SAN JAUN DEL RIO 4BLVD HIDA                               ASTON BIRMINGHAM
                                                                                                                               GREAT BRITAIN
TI AUTOMOTIVE LTD                   SAN JUAN DEL RIO #200                                                                      REYNOSA TM 88730
                                                                                                                               MEXICO
TI AUTOMOTIVE LTD                   SAN JUAN DEL RIO #200            COL JARACHINA                                             REYNOSA TM 88730
                                                                                                                               MEXICO
TI AUTOMOTIVE LTD                   SHAWN BREWER X1465               1200 BAKER DR                   TI GROUP AUTOMOTIVE                                 OSSIAN           IN   46777‐9106
                                                                                                     SYSTEMS
TI AUTOMOTIVE LTD                   SHAWN BREWER X1465               TI GROUP AUTOMOTIVE SYSTEMS     1200 BAKER DRIVE                                    BOWLING GREEN    KY 42101
TI AUTOMOTIVE LTD                   TIM LUTTIG                       200 ARCH AVE                    TUBING DIV                                          HILLSDALE        MI 49242‐1079
TI AUTOMOTIVE LTD                   VIA JOSE LOPEZ PORTILLO 8A                                                                 MEXICO EM 54940 MEXICO
TI AUTOMOTIVE LTD                   VIA JOSE LOPEZ PORTILLO 8A       COLONIA TULTITLAN                                         MEXICO EM 54940 MEXICO
TI AUTOMOTIVE LTD                   4650 KINGSGATE CASCADE WAY                                                                 OXFORD OXFORDSHIRE
                                                                                                                               OX4 2SU GREAT BRITAIN
TI AUTOMOTIVE PLANTA 5              BLVD MORELOS 926                                                                           REYNOSA TM 88630
                                                                                                                               MEXICO
TI AUTOMOTIVE SYSTEM SHANGHAI CO    NO 589 TAIBO ROAD                                                                          ANTING, JIADING
LTD                                                                                                                            DISTRICT,SHANGHAI PR
                                                                                                                               201814 CHINA
TI AUTOMOTIVE SYSTEMS               MARY ARMSTRONG                   50695 CHESTERFIELD RD           TI AUTO CHESTERFIELD                                CHESTERFIELD     MI 48051‐3182
                                                                                                     SERVICE
TI AUTOMOTIVE SYSTEMS               MARY ARMSTRONG                   TI AUTO CHESTERFIELD SERVICE    50695 CHESTERFIELD ROAD                             ROCHESTER        NY 14624
TI AUTOMOTIVE SYSTEMS (SHANGHAI) CO NO 589 TAIBO RD ANTING TOWN      JIADING DISTRICT                                           SHANGHAI 201814 CHINA
                                                                                                                                (PEOPLE'S REP)
TI AUTOMOTIVE SYSTEMS MEXICO        MARY ARMSTRONG                   C/O TI GROUP AUTOMOTIVE SYS     AV DE LOS NOGALES, LOTE 12 SANTA ROSA JAUREGUI QA
                                                                                                                                76220 MEXICO
                                       09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                             Part 37 of 40 Pg 81 of 901
Name                                  Address1                         Address2                        Address3                 Address4                  City              State Zip
TI AUTOMOTIVE/ BUNDY ENGINEERING      50695 CHESTERFIELD RD                                                                                               CHESTERFIELD       MI 48051‐3182

TI COATING INC                        50500 CORPORATE DR                                                                                                  SHELBY TOWNSHIP   MI 48315‐3102
TI GROUP AUTO SYS                     RACHEL MORALES                   S DE RL DE PLT 6                BRECHA E 99 NORTE                                  GURGAON HARYANA   IN
TI GROUP AUTO SYSTEMS                 DAVE KINTZ                       TI AUTOMOTIVE‐GREENVILLE FUEL   455‐T ELMER COX DR                                 MELVINDALE        MI 48122

TI GROUP AUTO SYSTEMS                 12345 E NINE MILE RD                                                                                                WARREN            MI 48089
TI GROUP AUTO SYSTEMS LLC             455‐T ELMER COX DR                                                                                                  GREENEVILLE       TN 37743
TI GROUP AUTOMOTIVE SYSTEMS           BUNDY CORP                       12345 E 9 MILE RD                                                                  WARREN            MI 48089‐2614
TI GROUP AUTOMOTIVE SYSTEMS           S DE RL DE CV                    BRECHA E99 LTE 15 NORTE         PARQUE INDUSTRIAL REYNOSA CD REYNOSA TAMAULIPA
                                                                                                                                 MEXICO
TI GROUP AUTOMOTIVE SYSTEMS           DAVE KINTZ                       630 COLUMBIA                                                                       TAWAS CITY        MI 48763
TI GROUP AUTOMOTIVE SYSTEMS           JUAN NORIEGA 011                 VIA JOSE LOPEZ PORTILLO 8A                               SANTA CATARINA NL 66360
                                                                                                                                MEXICO
TI GROUP AUTOMOTIVE SYSTEMS         12345 E 9 MILE RD                  P.O. BOX 2001                                                                      WARREN            MI 48089‐2614
TI GROUP AUTOMOTIVE SYSTEMS         1200 BAKER DR                                                                                                         OSSIAN            IN 46777‐9106
TI GROUP AUTOMOTIVE SYSTEMS (BELGIU RAVENHOUTZONE 7‐225                SCHOEBROEKSTRAAT 20                                      PAAL‐BERINGEN 3583
                                                                                                                                BELGIUM
TI GROUP AUTOMOTIVE SYSTEMS CO        50695 CHESTERFIELD RD                                                                                               CHESTERFIELD      MI 48051‐3182
TI GROUP AUTOMOTIVE SYSTEMS CORP      200 ARCH AVE                                                                                                        HILLSDALE         MI 49242‐1079

TI GROUP AUTOMOTIVE SYSTEMS CORP      300 HL THOMPSON JR DR                                                                                               ASHLEY             IN   46705

TI GROUP AUTOMOTIVE SYSTEMS CORP      30600 COMMERCE BLVD                                                                                                 NEW HAVEN         MI 48048

TI GROUP AUTOMOTIVE SYSTEMS CORP      421 RACE ST                                                                                                         COLDWATER         MI 49036‐2119

TI GROUP AUTOMOTIVE SYSTEMS CORP      50695 CHESTERFIELD RD                                                                                               CHESTERFIELD      MI 48051‐3182

TI GROUP AUTOMOTIVE SYSTEMS CORP      BRECHA E 99 NORTE 15             COL PARQUE INDUSTRIAL                                    REYNOSA TM 88780
                                                                                                                                MEXICO
TI GROUP AUTOMOTIVE SYSTEMS CORP      BRECHA E 99 NORTE 15                                                                      REYNOSA , TM 88780
                                                                                                                                MEXICO
TI GROUP AUTOMOTIVE SYSTEMS DE RL C   BRECHA E 99 NORTE                                                                         REYNOSA , TM 88780
                                                                                                                                MEXICO
TI GROUP AUTOMOTIVE SYSTEMS INC       1200 BAKER DR                                                                                                       OSSIAN            IN    46777‐9106
TI GROUP AUTOMOTIVE SYSTEMS LL        455‐T ELMER COX DR                                                                                                  GREENEVILLE       TN    37743
TI GROUP AUTOMOTIVE SYSTEMS LLC       455‐T ELMER COX DR                                                                                                  GREENEVILLE       TN    37743
TI GROUP AUTOMOTIVE SYSTEMS LLC       12345 E 9 MILE RD                                                                                                   WARREN            MI    48089‐2614
TI GROUP AUTOMOTIVE SYSTEMS MEXICO    AVENIDA DE LOS NEGALES LOTE 13                                                            REYNOSA TM 88730
                                                                                                                                MEXICO
TI GROUP AUTOMOTIVE SYSTEMS S DE RL   VIA JOSE LOPEZ PORTILLO 8A       COLONIA TULTITLAN                                        MEXICO EM 54940 MEXICO

TI GROUP AUTOMOTIVE SYSTEMS S DE RL   CARRETERA RIBERENA KM 8 PLT 1    COL PARQUE INDUSTRIAL MAQUIL                             REYNOSA TM 88614
                                                                       PARK                                                     MEXICO
TI GROUP AUTOMOTIVE SYSTEMS S DE RL   SAN JUAN DEL RIO #200            COL JARACHINA                                            REYNOSA TM 88730
                                                                                                                                MEXICO
TI GROUP AUTOMOTIVE SYSTEMS S DE RL   VIA JOSE LOPEZ PORTILLO 8A                                                                MEXICO EM 54940 MEXICO

TI GROUP AUTOMOTIVE SYSTEMS S DE RL   BRECHA E‐99 NORTE LTS 2 Y 3                                                               REYNOSA , TM 88780
                                                                                                                                MEXICO
                                      09-50026-mg             Doc 7123-39         Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                                 Part 37 of 40 Pg 82 of 901
Name                                  Address1                             Address2                  Address3        Address4                   City              State Zip
TI GROUP AUTOMOTIVE SYSTEMS S DE RL   SAN JUAN DEL RIO #200                                                          REYNOSA , TM 88730
                                                                                                                     MEXICO
TI GROUP LTD                          ATTN: CORPORATE OFFICER/AUTHORIZED   12345 E 9 MILE RD                                                    WARREN             MI 48089‐2614
                                      AGENT
TI GROUP/HILLSDALE                    200 ARCH AVE                                                                                              HILLSDALE          MI   49242‐1079
TI GROUP/MCALLEN                      3900 W URSULA AVE                    MCALLEN FACILITY                                                     MCALLEN            TX   78503‐9006
TI GROUP/WARREN                       1200 BAKER DR                                                                                             OSSIAN             IN   46777‐9106
TI GROUP/WARREN                       12345 E 9 MILE RD                                                                                         WARREN             MI   48089‐2614
TI POLAND SP .ZO.O                    BJORN TAUCHMANN 4                    FCS                       UL.1AWP 130 A   WYSZKOW POLAND (REP)
TI POLAND/POLAND                      UL SARNI STOK 93                                                               BIELSKO‐BIALA PL 43‐301
                                                                                                                     POLAND
TIA BUCKLEY                           124 EDWIN AVE                                                                                             FLINT             MI    48505‐3742
TIA C RODGERS                         2146 #2 ELSMERE AVE.                                                                                      DAYTON            OH    45406
TIA C SMITH                           1460 OLT RD                                                                                               DAYTON            OH    45418‐1443
TIA C THOMAS                          3440 CARLEY DRIVE                                                                                         JACKSON           MS    39213
TIA FIELDS                            4816 SEELEY DR                                                                                            DAYTON            OH    45427‐3037
TIA GOMEZ                             865 O'CALLAGHAN                                                                                           SPARKS            NV    89434
TIA HARDEMAN                          30 HARVARD RD                                                                                             WATERVLIET        NY    12189‐1207
TIA HELITA'S                          ATTN: SONIA TATE                     G4070 S SAGINAW ST                                                   BURTON            MI    48529‐1653
TIA I FIELDS                          4816 SEELEY DR                                                                                            DAYTON            OH    45427‐3037
TIA MCGEE                             1453 BEAVER CREEK LN                                                                                      KETTERING         OH    45429‐3703
TIA MUSICK                            325 E SOUTH H ST                                                                                          GAS CITY          IN    46933‐1848
TIA P TAYLOR                          2894 RUNDOLPH N.W.                                                                                        WARREN            OH    44485
TIA ST. JOHN                          PO BOX 7424                                                                                               N KANSAS CITY     MO    64116‐0124
TIA TURK                              13223 ST ERVIN AVE                                                                                        DETROIT           MI    48215‐3353
TIAGE CAREY                           5048 LANGLEWOOD DR                                                                                        WEST BLOOMFIELD   MI    48322‐2015
TIAJUANA RASPBERRY                    1559 E 13 MILE RD                                                                                         MADISON HEIGHTS   MI    48071‐1524
TIAN, JACK                            15543 BLUE SKIES ST                                                                                       LIVONIA           MI    48154‐1517
TIAN, XIAOCHEN
TIAN, YUDONG
TIANA L HAYDEN                        4288 STEINWAY                                                                                             TROTWOOD          OH 45416
TIANI EAST, INC.                      PATSY TIANI                          681 ROUTE 22 HWY W                                                   BLAIRSVILLE       PA 15717‐7914
TIANJIN CMT INDUSTRY CO LTD           0‐10 TANGHAN RD                      TANGGU DEVELOPMENT AREA                   TIANJIN 300451 CHINA
                                                                                                                     (PEOPLE'S REP)
TIANJIN FUJITSU TEN ELECTRONICS CO    NO 5 THE HUANGHAI SECOND AVE                                                   TIANJING CN 300457 CHINA
                                                                                                                     (PEOPLE'S REP)
TIANJIN JINZHU WIRING SYSTEMS CO      XIQING RD XIQING DISTRICT                                                      TIANJIN 300112 CHINA
                                                                                                                     (PEOPLE'S REP)
TIANJIN MOTOR DIES CO LTD             # 77 HANGTIAN RD                     AIRPORT INDUSTRIAL PK                     TIANJIN 300308 CHINA
TIANJIN MOTOR DIES COMPANY LTD        NO 77 HANGTIAN RD AEROPORT LOG       PROCESSING ZONE                           TIANJIN CH 3003
                                                                                                                     SWITZERLAND
TIANJIN UNIVERSITY                    NO 92 WEIJIN ROAD                    NANKAI DISTRICT                           TIANJIN CN 300072 CHINA
                                                                                                                     (PEOPLE'S REP)
TIANJIN UNIVERSITY                    NO 92 WEIJIN ROAD                                                              NANKAI DISTRICT, TIANJIN
                                                                                                                     300072 CHINA
TIANO, JENNIE                         1735 HILTON PARMA RD.                                                                                     SPENCERPORT       NY    14559‐9505
TIANO, JOHN                           116 SURFWOOD CT                                                                                           PRUDENVILLE       MI    48651‐9406
TIANO, NORMAN D                       111 FREEMAN STREET                                                                                        BECKLEY           WV    25801‐5335
TIARA BETTIS                          PO BOX 91                                                                                                 FLINT             MI    48501‐0091
TIARA L CHURCH                        1027 TERRY AVE                                                                                            MOUNT MORRIS      MI    48458‐2539
TIARA M BETTIS                        PO BOX 91                                                                                                 FLINT             MI    48501‐0091
TIARA MOTOR COACH CORPORATION         2000 CHEYENNE ST                                                                                          NAPPANEE          IN    46550‐9464
                                       09-50026-mg             Doc 7123-39          Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                                   Part 37 of 40 Pg 83 of 901
Name                                   Address1                              Address2                        Address3   Address4         City              State Zip
TIARA N CHILDRESS                      1043 NORMANDY TERRACE DR                                                                          FLINT              MI 48532‐3547
TIARA S RAWLS                          PO BOX 320731                                                                                     FLINT              MI 48532‐0013
TIAWANNA HENRY                         40 BUNTING PLACE                                                                                  COVINGTON          GA 30014
TIAX LLC                               15 ACORN PARK                                                                                     CAMBRIDGE          MA 02140‐2301
TIB ‐ THE INDEPENDENT BANKERS BANK     350 PHELPS COURT                                                                                  IRVINE             TX 75038

TIB ‐ THE INDEPENDENT BANKERS BANK     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 350 PHELPS DR                                              IRVING             TX   75038‐6507

TIBBE, RICHARD A                       1495 64TH ST SW                                                                                   BYRON CENTER      MI    49315‐8688
TIBBELS, CHARLES W                     817 HIGHWAY 717                                                                                   RANGER            TX    76470‐5902
TIBBENHAM, JEFFREY A                   29782 BEACONTREE ST                                                                               FARMINGTN HLS     MI    48331‐2220
TIBBENHAM, SHIRLEY M                   49455 KIRKLAND CT                                                                                 SHELBY TOWNSHIP   MI    48315‐3828
TIBBENS, GLENN A                       9021 MASTIN ST                                                                                    OVERLAND PARK     KS    66212‐4765
TIBBETS, ERNEST E                      BOONE ALEXANDRA                       205 LINDA DR                                                DAINGERFIELD      TX    75638‐2107
TIBBETS, TIMOTHY W                     328 E CARLTON WAY                                                                                 TRACY             CA    95376‐3116
TIBBETT, JERRY D                       3519 FAYETTE ST                                                                                   KINGMAN           IN    47952‐8202
TIBBETT, NORMA                         5715 N 75TH                                                                                       MILWAUKEE         WI    53218
TIBBETT, TERRY L                       1602 PEARL ST                                                                                     COVINGTON         IN    47932‐9766
TIBBETTS JR, ROY E                     1902 COBBLESTONE                                                                                  WASHINGTON        IL    61571‐3429
TIBBETTS, CECIL                        22039 OLD HIGHWAY 99 SW                                                                           CENTRALIA         WA    98531
TIBBETTS, CHASITY
TIBBETTS, CONNIE J                     261 FAIRFAX LN                                                                                    GREENWOOD         IN    46142
TIBBETTS, DAVID M                      10442 W MOUNT MORRIS RD                                                                           FLUSHING          MI    48433‐9244
TIBBETTS, FREDERICK W                  7263 NICHOLS RD                                                                                   FLUSHING          MI    48433‐9261
TIBBETTS, GARY G                       1177 CHESTERFIELD AVE                                                                             BIRMINGHAM        MI    48009‐1011
TIBBETTS, GWENDOLYN MARIE              1543 DEAN DR NW                                                                                   KALKASKA          MI    49646‐8659
TIBBETTS, JOYCE V                      867 PLYMOUTH ST                                                                                   MIDDLEBORO        MA    02346
TIBBETTS, JUDITH                       5734 SADDLE CLUB RD                                                                               GAINESVILLE       GA    30506
TIBBETTS, MICHAEL S                    PO BOX 339                                                                                        DALLAS            GA    30132‐0006
TIBBETTS, PATRICK J                    1125 FROST ST                                                                                     FLINT             MI    48504‐4004
TIBBETTS, STEPHEN B                    3428 II RD                                                                                        GARDEN            MI    49835‐9434
TIBBITS HAROLD                         3431 S PACIFIC HWY SPC 88                                                                         MEDFORD           OR    97501‐8827
TIBBITS HOWARD M & MARJORIE            2669 N LIPKEY RD                                                                                  NORTH JACKSON     OH    44451‐9665
TIBBITS JAMES D (626807)               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA    23510
                                                                             STREET, SUITE 600
TIBBITS RICHARD (ESTATE OF) (487281)   BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                             PROFESSIONAL BLDG
TIBBITS, DANIEL R                      1280 JAMES AVE                                                                                    WILLIAMSTON       MI    48895‐9701
TIBBITS, DARLINE                       593 ROLLING HILLS LN                                                                              LAPEER            MI    48446‐2888
TIBBITS, DONALD E                      5365 GUYETTE ST                                                                                   CLARKSTON         MI    48346‐3522
TIBBITS, IVAN D                        2424 HIALEAH DR                                                                                   FLINT             MI    48507‐1062
TIBBITS, JAMES D                       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA    23510
                                                                             STREET, SUITE 600
TIBBITS, RICHARD                       BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH 44067
                                                                             PROFESSIONAL BLDG
TIBBITT DONALD L (456668)              ANGELOS PETER G LAW OFFICE            1300 N MARKET ST STE 212                                    WILMINGTON        DE    19801‐1813
TIBBITT, DONALD L                      ANGELOS PETER G LAW OFFICE            1300 N MARKET ST STE 212                                    WILMINGTON        DE    19801‐1813
TIBBITTS INC                           2981 ALAFAYA TRL                                                                                  OVIEDO            FL    32765‐9493
TIBBITTS INC                           6400 UNIVERSITY BLVD                                                                              WINTER PARK       FL    32792‐7403
TIBBITTS, DOUGLAS P                    19355 SW 65TH AVE APT 166                                                                         TUALATIN          OR    97062
TIBBITTS, JAMES E                      9827 VIA SONOMA                                                                                   CYPRESS           CA    90630‐3437
TIBBITTS, LOREN J                      219 CLOVERLY RD                                                                                   GROSSE POINTE     MI    48236‐3316
                          09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                Part 37 of 40 Pg 84 of 901
Name                      Address1                        Address2              Address3         Address4         City                        State Zip
TIBBITTS, MICHAEL D       1680 VALLEY RDG                                                                         ORTONVILLE                   MI 48462‐9019
TIBBITTS, MICHAEL DAVID   1680 VALLEY RDG                                                                         ORTONVILLE                   MI 48462‐9019
TIBBITTS, RANDY L         4736 VIRGIL ROAD                                                                        DALLAS                       GA 30132
TIBBITTS, WALLACE C       12743 DORIA CT                                                                          STRONGSVILLE                 OH 44149‐3222
TIBBITTS, ZELMA A         597 S BROADWAY ST                                                                       MEDINA                       OH 44256‐2607
TIBBITTS, ZELMA A         597 SOUTH BROADWAY                                                                      MEDINA                       OH 44256‐2607
TIBBLES JR, WILLIAM D     5411 RAINBOW DR                                                                         HOUSE SPRINGS                MO 63051‐2279
TIBBS JOHN A (506499)     DONALDSON & BLACK               208 W WENDOVER AVE                                      GREENSBORO                   NC 27401‐1307
TIBBS JR, NATHAN A        8102 WOODWAY OAK CIR APT 1535                                                           MATTHEWS                     NC 28105‐1605
TIBBS, ALFRED L           983 EASTLAKE DR                                                                         EASTLAKE                     OH 44095‐2329
TIBBS, BRENDA S           4405 DORSET DR                                                                          ADRIAN                       MI 49221‐9317
TIBBS, BRENDA SUE         4405 DORSET DR                                                                          ADRIAN                       MI 49221‐9317
TIBBS, CARL W             2857 HART RD                                                                            LEBANON                      OH 45036‐9204
TIBBS, CARL W             2857 HART RD.                                                                           LEBANON                      OH 45036‐9204
TIBBS, CECIL W            9402 CHEYENNE ST                                                                        DETROIT                      MI 48228‐2602
TIBBS, DOROTHY I          750 E. PEACH ORCHARD ROAD                                                               KETTERING                    OH 45419‐2756
TIBBS, ESTELLA E          1325 W SILVERLAKE RD UNIT 176                                                           TUCSON                       AZ 85713‐2744
TIBBS, ESTELLA E          1325 W. SILVERLAKE RD #176                                                              TUCSON                       AZ 85713‐2744
TIBBS, FRANKLIN W         PO BOX 145                                                                              CRYSTAL SPRINGS              FL 33524‐0145
TIBBS, GEORGIA S          53 DOROTHY CIR                  DENTON MANOR                                            MILLVILLE                    DE 19970‐9402
TIBBS, GEORGIA S          53 DOROTHY CIRCLE               DENTON MANOR                                            MILLVILLE                    DE 19970
TIBBS, JANE M             544 CLIPPER SHIP LN                                                                     ATLANTIC BEACH               FL 32233‐4113
TIBBS, JOHN A             DONALDSON & BLACK               208 W WENDOVER AVE                                      GREENSBORO                   NC 27401‐1307
TIBBS, JUANITA M          5803 BUICK DR                                                                           SPEEDWAY                     IN 46224‐5364
TIBBS, LARRY A            4405 DORSET DR                                                                          ADRIAN                       MI 49221‐9317
TIBBS, LARRY ANDREW       4405 DORSET DR                                                                          ADRIAN                       MI 49221‐9317
TIBBS, LINDA M            118 RACHELS CT                                                                          SMITHSBURG                   MD 21783‐2009
TIBBS, LOVENIA            1205 LINDENWOOD DR                                                                      PANAMA CITY                  FL 32405
TIBBS, MILDRED J          PO BOX 98                                                                               LEAVITTSBURG                 OH 44430‐0098
TIBBS, PAUL S             6393 NELWOOD RD                                                                         PARMA HEIGHTS                OH 44130‐3210
TIBBS, ROY H              750 PEACH ORCHARD RD                                                                    KETTERING                    OH 45419‐2756
TIBBS, SARLOWER O         PO BOX 531282                                                                           GRAND PRAIRIE                TX 75053‐1282
TIBBS, SARLOWER OLIVIER   PO BOX 531282                                                                           GRAND PRAIRIE                TX 75053‐1282
TIBBS, SHERI L            113 SKOKIAAN DR                                                                         FRANKLIN                     OH 45005‐1542
TIBBS, TANYA              333 BEECHWOOD AVE                                                                       EWING                        NJ 08618‐2521
TIBBS, VIRGIL L           1768 SUNFLOWER CT                                                                       HENDERSON                    NV 89074‐0983
TIBCO SOFT/PALO ALTO      3165 PORTER DR                                                                          PALO ALTO                    CA 94304‐1213
TIBERG, CHRISTY R         12406 RIDGECREST LN                                                                     MILFORD                      MI 48380‐2675
TIBERG, JERRY W           2055 ORMOND RD                                                                          WHITE LAKE                   MI 48383‐2243
TIBERG, RICHARD L         12406 RIDGECREST LN                                                                     MILFORD                      MI 48380‐2675
TIBERIA JAMES             2710 DIANE MARIE CT                                                                     WATERFORD                    MI 48329‐4834
TIBERIA, BRENDA C         13365 MANCHESTER ST                                                                     SOUTHGATE                    MI 48195‐3072
TIBERIA, JOSEPH           13365 MANCHESTER ST                                                                     SOUTHGATE                    MI 48195‐3072
TIBERIO CARLO             VIA MARCONI 46/3                                                                        CASALE SUL SILE (TREVISO)         31032

TIBERIO, DONALD M         3411 SE 143RD AVE                                                                       PORTLAND                    OR   97236
TIBERIO, GABRIEL          28153 QUAIL HOLLOW RD                                                                   FARMINGTON HILLS            MI   48331‐5653
TIBERIO, RICHARD P        1611 MANITOU RD                                                                         ROCHESTER                   NY   14626‐1011
TIBERIO, STEVEN J         997 MOUNTAINSIDE DR                                                                     LAKE ORION                  MI   48362‐3475
TIBI, LAURA A             311 N COLUMBUS ST                                                                       CRESTLINE                   OH   44827‐1409
TIBIATOWSKI, MARTHA       53622 BRENTWOOD DR                                                                      NEW BALTIMORE               MI   48047‐1030
TIBOLLA, GREGORY D        56 BENTON ST                                                                            AUSTINTOWN                  OH   44515‐1722
                                     09-50026-mg                Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                              Part 37 of 40 Pg 85 of 901
Name                                Address1                            Address2                        Address3   Address4         City              State Zip
TIBOLLA, JOHN                       1220 SUMAC ST                                                                                   WESTMRLND CTY      PA 15692‐1252
TIBOLLA, RICHARD A                  3157 SUSAN CIR                                                                                  YOUNGSTOWN         OH 44511‐2142
TIBONI, ROBERT D                    4530 N PLANTATION HBR DR            A3                                                          LITTLE RIVER       SC 29566
TIBOR A POLCZER                     5534 HOLLANSBURG ARCANUM RD                                                                     ARCANUM            OH 45304‐9267
TIBOR BANYACSKY                     110 PESKIN RD                                                                                   FARMINGDALE        NJ 07727‐3722
TIBOR DANIELLE                      3510 22ND ST                                                                                    KENOSHA            WI 53144
TIBOR KELLER                        3747 MILLER RD                                                                                  KALAMAZOO          MI 49001‐4638
TIBOR NAGY                          12392 GAGE RD                                                                                   HOLLY              MI 48442‐8310
TIBORTZ JULIUS                      14337 MORTENVIEW DR                                                                             TAYLOR             MI 48180‐6318
TIBORTZ, JULIUS                     14337 MORTENVIEW DR                                                                             TAYLOR             MI 48180‐6318
TIBURCIO AVALOS                     19 HAPSBURG CT                                                                                  PARKVILLE          MD 21234‐8030
TIBURCIO OLGINE JR                  9308 LEWIS RD                                                                                   PORTLAND           MI 48875‐1944
TIBURCIO ROSARIO                    155 SCARLET OAK CT                                                                              OXFORD             MI 48371‐6332
TIBURZI, KATHLEEN A                 5059 OAKWOOD DR                                                                                 N TONAWANDA        NY 14120‐9609
TIC MS INC                          11692 LILBURN PARK RD                                                                           SAINT LOUIS        MO 63146‐3535
TIC‐MS INC                          11692 LILBURN PARK RD                                                                           SAINT LOUIS        MO 63146‐3535
TICCONI JAMES J (455214)            WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                             NEW YORK           NY 10038
TICCONI, JAMES J                    WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                             NEW YORK           NY 10038
TICE DELORES (ESTATE OF) (492192)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                        PROFESSIONAL BLDG
TICE, AARON L                       6674 N CLUB DR                                                                                  SHREVEPORT        LA   71107‐9640
TICE, BARRY M                       4850 DIVISION AVE APT 202                                                                       WHITE BEAR LAKE   MN   55110‐5948
TICE, BOYD F                        PMB 159                             3520 OKEMOS RD                  STE 6                       OKEMOS            MI   48864
TICE, BRADLEY J                     9418 ENGLISH OAK DR                                                                             CLARKSTON         MI   48348‐3504
TICE, DANIEL L                      11390 N LOOMIS RD                                                                               CLARE             MI   48617‐9507
TICE, DAVID E                       92 UNION ST                                                                                     LOCKPORT          NY   14094‐2929
TICE, DAVID J                       5420 RAVENSWOOD RD                                                                              KIMBALL           MI   48074‐3211
TICE, DELORES                       BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH   44067
                                                                        PROFESSIONAL BLDG
TICE, DENNIS J                      63350 WALNUT RD                                                                                 VANDALIA          MI   49095
TICE, DENNIS R                      251 E SAINT JOE HWY                                                                             GRAND LEDGE       MI   48837‐9708
TICE, ESTHER A                      8943 36TH STREET                                                                                NEWAYGO           MI   49337‐8210
TICE, ESTHER A                      8943 E 36TH ST                                                                                  NEWAYGO           MI   49337‐8210
TICE, FLOYD J                       5194 W COLUMBIA RD                  C/O COREEN PARKS                                            MASON             MI   48854‐9512
TICE, GARY L                        5238 W COLUMBIA RD                                                                              MASON             MI   48854‐9512
TICE, GAYLORD V                     6674 N CLUB DR                                                                                  SHREVEPORT        LA   71107‐9640
TICE, GRACE                         5111 GREENVIEW DR                                                                               TUSCALOOSA        AL   35401‐7605
TICE, JACK G                        4924 NW 20TH ST                                                                                 OKLAHOMA CITY     OK   73127‐2308
TICE, JACKIE                        14717 STATE HIGHWAY Y                                                                           KENNETT           MO   63857‐8120
TICE, JANICE K                      4840 N KIMBERLY LN                                                                              WICHITA           KS   67204‐2830
TICE, JERRY K                       41 MIDFOREST LDG                                                                                PRUDENVILLE       MI   48651‐9501
TICE, LORNE P                       3825 N LICKERT HARDER RD                                                                        GRAYTOWN          OH   43432‐9721
TICE, MARY L                        5085 TOMLINSON RD                                                                               KINDE             MI   48445
TICE, MELVIN L                      112 BIRCHWOOD LN                                                                                CADILLAC          MI   49601‐9776
TICE, R W                           265 HIDDEN HIGHLANDS DR                                                                         LAS VEGAS         NV   89110‐5258
TICE, RICHARD C                     2 HOOKER AVE                                                                                    HOMER             NY   13077‐1110
TICE, RICHARD J                     13238 W SERENADE CIR                                                                            SUN CITY WEST     AZ   85375‐1721
TICE, RONALD L                      4651 SHEPPARD RD                                                                                LAKELAND          FL   33811
TICE, SUE                           9412 NEW YORK AVENUE                #13                                                         HUDSON            FL   34667
TICER, RONALD D                     420 BRENOT CT                                                                                   BLISSFIELD        MI   49228‐1009
TICER, RONALD DAVID                 420 BRENOT CT                                                                                   BLISSFIELD        MI   49228‐1009
TICEY, RUTHIE M                     7003 E 111TH ST                                                                                 KANSAS CITY       MO   64134‐3370
                             09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                   Part 37 of 40 Pg 86 of 901
Name                         Address1                        Address2                      Address3                   Address4         City                 State Zip
TICHACEK, CHARLES F          90 BLACKWELL LN                                                                                           HENRIETTA             NY 14467‐9752
TICHANSKI, DOROTHY S         8 N HIGGINS ST                                                                                            TERRYVILLE            CT 06786‐6101
TICHENOR DEAN H (429951)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK               VA 23510
                                                             STREET, SUITE 600
TICHENOR, DEAN H             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                               NORFOLK              VA 23510
                                                             STREET, SUITE 600
TICHENOR, GEROLD             27150 SILVER OAK LN APT 2012                                                                              CANYON COUNTRY       CA   91387
TICHENOR, JAMES E            10815 GLENWAY PL                                                                                          LOUISVILLE           KY   40291‐3686
TICHENOR, JAMES K            5463 LAKE BOGGS ST                                                                                        INDIANAPOLIS         IN   46254‐6907
TICHENOR, JANET M            8425 ARBOR MEADOW WAY                                                                                     LOUISVILLE           KY   40228‐4411
TICHENOR, KEELY              1612 BRENTWOOD DR                                                                                         WOOSTER              OH   44691‐5314
TICHENOR, VIRGINIA M         164 COLLEGE PKWY                                                                                          ANDERSON             IN   46012
TICHENOR‐MALANEY, CHARLA J   PO BOX 2181                                                                                               BRUNSWICK            GA   31521‐2181
TICHNELL, ARLENE             PO BOX 80685                                                                                              LANSING              MI   48908‐0685
TICHNELL, BETTY L            242 HILLTOP RD                                                                                            ELKTON               MD   21921‐2410
TICHNELL, BETTY L            242 HILL TOP ROAD                                                                                         ELKTON               MD   21921‐2410
TICHNELL, EDWARD A           156 FARAH DR                                                                                              ELKTON               MD   21921‐2228
TICHNELL, FREDERICK W        160 DARTMOUTH LN                                                                                          FALLING WATERS       WV   25419‐3969
TICHNELL, FREDERICK WELCH    160 DARTMOUTH LN                                                                                          FALLING WATERS       WV   25419‐3969
TICHNELL, GARY M             1249 S. PERKEY RD., RT 3                                                                                  CHARLOTTE            MI   48813
TICHNELL, JEANMARIE B        160 DARTMOUTH LN                                                                                          FALLING WATERS       WV   25419‐3969
TICHOMIROW, ANNA             18367 LINGERLON AVE                                                                                       PORT CHARLOTTE       FL   33948‐3317
TICHOMIROW, PETER E          2536 LITTLEHILL RD                                                                                        PT PLEASANT          NJ   08742‐4234
TICHVON, BARBARA A           165 EVANS LANE                                                                                            WAYLAND              MI   49348‐9337
TICHVON, BARBARA A           165 EVANS LN                                                                                              WAYLAND              MI   49348‐9337
TICHVON, PATRICIA            1147 W KALAMO HWY                                                                                         CHARLOTTE            MI   48813‐9535
TICHVON, RICHARD J           7795 KNOX RD                                                                                              PORTLAND             MI   48875‐9779
TICHVON, RONALD R            7699 DENMARK AVE                                                                                          GRAND LEDGE          MI   48837‐9134
TICHVON, THOMAS J            1147 W KALAMO HWY                                                                                         CHARLOTTE            MI   48813‐9535
TICHY TERRANCE J             C/O RICHARD L DEMSEY CO LPA     1350 EUCLID AVENUE STE 1550                                               CLEVELAND            OH   44115
TICHY TERRANCE J             TICHY, MARITA C                 C/O RICHARD L DEMSEY CO LPA   1350 EUCLID AVE STE 1550                    CLEVELAND            OH   44115
TICHY, EDWARD M              112 GLENALLEN DR                                                                                          SAINT PETERS         MO   63376‐1730
TICHY, FRANK J               12842 BROADWAY ST                                                                                         ALDEN                NY   14004‐1222
TICHY, HENRY F               8333 SEMINOLE BLVD APT 622C                                                                               SEMINOLE             FL   33772‐4363
TICHY, MARITA C              C/O RICHARD L DEMSEY CO LPA     1350 EUCLID AVE STE 1550                                                  CLEVELAND            OH   44115
TICHY, TERRANCE J            C/O RICHARD L DEMSEY CO LPA     1350 EUCLID AVE STE 1550                                                  CLEVELAND            OH   44115
TICHY, TERRANCE J            9500 SHARON LANE DR                                                                                       N ROYALTON           OH   44133‐2351
TICHY, WALDA                 22345 SOCIA ST                                                                                            SAINT CLAIR SHORES   MI   48082‐3101
TICHY, WALDA                 22345 SOCIA                                                                                               ST. CLAIR SHORES     MI   48082
TICICH, HEDWIG               18699 CLEAR VIEW TER                                                                                      MINNETONKA           MN   55345‐6084
TICICH, HEDWIG               18699 CLEARVIEW TERRACE                                                                                   MINNETONKA           MN   55345‐6084
TICINO JR, JOHN              25 COE ST                                                                                                 MERIDEN              CT   06451‐2032
TICINO, CARMELO J            720 SW RAVENSWOOD LN                                                                                      PORT ST LUCIE        FL   34983‐2042
TICK, MICHAEL O              PO BOX 596225                                                                                             FORT GRATIOT         MI   48059‐6225
TICK, MICHAEL O              4125 ATHENS AVENUE                                                                                        WATERFORD            MI   48329‐2005
TICK, NORMAN E               363 PARTRIDGE DR                                                                                          GRAND BLANC          MI   48439‐7072
TICKEL, CRAIG M              8500 MALTBIE RD                                                                                           CENTERVILLE          OH   45458‐2625
TICKEL, MARVIN E             1116 BIT PLACE                                                                                            DAYTON               OH   45449‐2116
TICKEL, MATTHEW R            510 MAPLE HILL DR                                                                                         WEST CARROLLTON      OH   45449‐1720
TICKEL, PATRICIA A           7929 LOCUST GROVE CT                                                                                      SPRINGBORO           OH   45066‐7120
TICKEL, ROBERT E             2351 EAGLE RIDGE DRIVE                                                                                    CENTERVILLE          OH   45459‐5459
TICKENOFF, SAMUEL
                                     09-50026-mg              Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                            Part 37 of 40 Pg 87 of 901
Name                                Address1                           Address2                        Address3               Address4               City             State Zip
TICKERHOOF, GLENDA J                17670 LUNDYS LN                                                                                                  LAKE MILTON       OH 44429‐9636
TICKERHOOF, LLOYD P                 17670 LUNDYS LN                                                                                                  LAKE MILTON       OH 44429‐9636
TICKETMASTER                        SCOTT LEIBOW                       8730 WEST SUNSET BLVD                                                         WEST HOLLYWOOD    CA 90069
TICKFER, KATHY M                    6720 BURLINGAME AVE SW                                                                                           BYRON CENTER      MI 49315‐8680
TICKFER, LARRY M                    PO BOX 134                                                                                                       BYRON CENTER      MI 49315‐0134
TICKFORD ENGELHARD LLC              30844 CENTURY DR                                                                                                 WIXOM             MI 48393‐2064
TICKLE, CLARENCE L                  2411 TANDY DR                                                                                                    FLINT             MI 48532‐4961
TICKLE, DOUGLAS T                   568 CHICKASAW LOOP                                                                                               WINTER HAVEN      FL 33881‐9451
TICKLE, ILA                         3747 VISTA CAMPANA S UNIT 6                                                                                      OCEANSIDE         CA 92057‐8222
TICKLE, J S                         705 NIX PASS                                                                                                     MADISON           TN 37115‐5419
TICKLE, JERRY L                     2211 CLOVER PARK DR                                                                                              ARLINGTON         TX 76013‐1435
TICKLE, RONALD E                    210 BITTERSWEET LN                                                                                               MYRTLE BEACH      SC 29579‐4130
TICKLES, REX A                      19162 CANTRELL RD                                                                                                LINWOOD           KS 66052‐4619
TICKLES, SHERI A                    17904 THOMAS DR                                                                                                  MACOMB            MI 48044‐2041
TICKNER, KAREN K                    1720 GODFREY AVE SW                                                                                              WYOMING           MI 49509‐1306
TICKNER, NORMA M                    11201 S MORRICE RD                                                                                               MORRICE           MI 48857‐9786
TICKNER, PAULA J                    2155 STONY POINT RD                                                                                              GRAND ISLAND      NY 14072‐2136
TICKNER, SCOTT B                    5765 WINDSOR HWY                                                                                                 POTTERVILLE       MI 48876‐8760
TICKNER, TERRY E                    2800 W MILLER RD                                                                                                 LANSING           MI 48911‐4529
TICKNER, THOMAS K                   22 PINE VIEW HTS                                                                                                 AVON              NY 14414‐1341
TICNOR, PATRICIA J                  40 BEE JAY DRIVE                                                                                                 LANSING           MI 48906‐2313
TICNOR, PATRICIA J                  40 BEE JAY DR                                                                                                    LANSING           MI 48906‐2313
TICON INC                           ATTN JACK MCGHEE                   3622 LYCKAN PKWY STE 1006                                                     DURHAM            NC 27707‐2565
TICORAS, JOHN C                     1085 PALETTE DR NE                                                                                               WARREN            OH 44484‐1727
TICORAS, JOHN C                     1085 PALLETTE DR NE                                                                                              WARREN            OH 44484‐1727
TIDBALL, DENNIS R                   704 W CHELSEA CIR                                                                                                DAVISON           MI 48423
TIDBALL, GARY D                     2101 GENEVA LN                                                                                                   MUSKEGON          MI 49441‐4592
TIDBALL, PATSY V                    9703 BRADFORD PL                                                                                                 MIDWEST CITY      OK 73130‐3543
TIDBALL, REGINALD S                 PO BOX 3                                                                                                         GENESEE           MI 48437‐0003
TIDBALL, ROBERT W                   324 BASS COVE DR                                                                                                 TAYLORS           SC 29687‐6959
TIDBALL, RONALD W                   2317 RIFLE RIVER TRL                                                                                             WEST BRANCH       MI 48661‐9049
TIDBALL, RONALD WAYNE               2317 RIFLE RIVER TRL                                                                                             WEST BRANCH       MI 48661‐9049
TIDBALL, TEDDY J                    9703 BRADFORD PL                                                                                                 MIDWEST CITY      OK 73130‐3543
TIDBURY, ALAN                       73 SANCTUARY LAKES SOUTH BOULEVA                                                          SANCTUARY LAKES 3030
                                                                                                                              AUSTRALIA
TIDD, ANN S                         75 MOTE DRIVE                                                                                                    COVINGTON        OH    45318‐1245
TIDD, ANN S                         75 MOTE DR                                                                                                       COVINGTON        OH    45318‐1245
TIDD, CHARLES R                     1071 BOUNTIFUL WAY                                                                                               BRENTWOOD        CA    94513‐6925
TIDD, DAVID L                       5845 SANDPIT RD                                                                                                  BEDFORD          IN    47421‐7562
TIDD, EDWARD                        5135 LOOMIS RD                                                                                                   RUSHVILLE        NY    14544‐9645
TIDD, ELMER R                       1802 PINECREST DR                                                                                                DAYTON           OH    45414‐5320
TIDD, JAMES A                       5861 ROGERS RD                                                                                                   JAMESTOWN        OH    45335‐8713
TIDD, JANET M                       5040 PIN OAK DRIVE S.E.                                                                                          VIENNA           OH    44473‐9629
TIDD, JOHN F                        3412 AVIARY LN NW                                                                                                ACWORTH          GA    30101‐5753
TIDD, PATRICIA J                    3002 S WAVERLY RD                                                                                                EATON RAPIDS     MI    48827‐9738
TIDD, THOMAS J                      4222 RUDY RD                                                                                                     TIPP CITY        OH    45371‐9752
TIDD, WILLIAM                       116 PETTIT LN                                                                                                    TROUTMAN         NC    28166‐8697
TIDEMAND ODIN & KAHN & ASSOCIATES   55 PUBLIC SQ STE 650                                                                                             CLEVELAND        OH    44113‐1909

TIDEMANN ROBERT O                   LYNNE KIZIS, ESQ                   WILENTZ, GOLDMAN, AND SPITZER   90 WOODBRIDGE CENTER                          WOODBRIDGE        NJ   07095
                                                                                                       DRIVE
TIDERINGTON, DONNA J                34604 JOHN HAUK                                                                                                  WESTLAND         MI 48185‐7721
                                09-50026-mg               Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                        Part 37 of 40 Pg 88 of 901
Name                            Address1                          Address2              Address3                Address4         City                  State Zip
TIDERINGTON, DOUGLAS L          5316 CHIN MAYA DR                                                                                SWARTZ CREEK           MI 48473‐8611
TIDERINGTON, DOUGLAS LOGAN      5316 CHIN MAYA DR                                                                                SWARTZ CREEK           MI 48473‐8611
TIDERINGTON, EVELYN L           22615 EAST 12 MILE ROAD                                                                          ST CLR SHORES          MI 48081‐2505
TIDERINGTON, MATTHEW D          5316 CHIN MAYA DR                                                                                SWARTZ CREEK           MI 48473‐8611
TIDERINGTON, MICHAEL D          7365 IRONWOOD DR                                                                                 SWARTZ CREEK           MI 48473‐9450
TIDERINGTON, MICHAEL DAVID      7365 IRONWOOD DR                                                                                 SWARTZ CREEK           MI 48473‐9450
TIDERINGTON, ROBERT E           171 BEAUPRE AVE                                                                                  GROSSE POINTE FARMS    MI 48236‐3448
TIDERINGTON, ROBERT ELLIOTT     171 BEAUPRE AVE                                                                                  GROSSE POINTE FARMS    MI 48236‐3448
TIDERINGTON, VALORIE J          5316 CHIN MAYA DR                                                                                SWARTZ CREEK           MI 48473‐8611
TIDESWELL, RICHARD C            47833 STEPHANIE DR                                                                               MACOMB                 MI 48044‐4839
TIDEWATCH PARTNERS LLC          24 FRONT ST                                                                                      EXETER                 NH 03833
TIDEWATCH PARTNERS LLC          655 PORTSMOUTH AVE                PO BOX 219                                                     GREENLAND              NH 03840
TIDEWATER COMMUNITY COLLEGE     ACCOUNTS RECEIVABLE               253 MONTICELLO AVE    FOURTH FLOOR ROOM 409                    NORFOLK                VA 23510
TIDEWATER COMMUNITY COLLEGE     7000 COLLEGE DR                                                                                  PORTSMOUTH             VA 23703‐6100
TIDEWATER COMMUNITY COLLEGE ‐   1700 COLLEGE CRES                                                                                VIRGINIA BEACH         VA 23453‐1918
TIDEWATER EXPRESS INC                                             1749 W PEMBROKE AVE                                                                   VA 23661
TIDEWATER LANDSCAPE
TIDEY JEFFREY                   2610 ROCKS RD                                                                                    FOREST HILL           MD   21050‐1502
TIDEY MOTOR SALES, INC.         TIMOTHY CARON                     1201 W MICHIGAN AVE                                            MARSHALL              MI   49068‐1465
TIDEY, JEFFREY D                2610 ROCKS RD                                                                                    FOREST HILL           MD   21050‐1502
TIDEY, JOHN                     6017 CRIDDLE DR                                                                                  COLUMBIA              TN   38401‐5066
TIDLER, BRIAN N                 6350 S COUNTY ROAD 275 E                                                                         CLAYTON               IN   46118‐9685
TIDLER, PHILLIP J               288 ANNAPOLIS LN                                                                                 ROTONDA WEST          FL   33947‐2248
TIDMORE DANNY                   PO BOX 309                                                                                       ATHENS                TX   75751‐0309
TIDMORE, THOMAS L               6105 WESTPORT DR 34668                                                                           PORT RICHEY           FL   34668
TIDRICK, CARL A                 213 VICTORIAN LN                                                                                 BELLEVILLE            MI   48111‐4936
TIDRICK, JOHN R                 1917 WOODLAWN AVE                                                                                LOGANSPORT            IN   46947‐4533
TIDRICK, KENNETH A              4087 W MAPLE AVE                                                                                 FLINT                 MI   48507‐3119
TIDRICK, ROBERT E               PO BOX 609                                                                                       LEONARD               MI   48367
TIDROW, ALICE                   1542 E COUNTY ROAD 600 N                                                                         NEW CASTLE            IN   47362‐9222
TIDROW, ALVIN W                 8333 SEMINOLE BLVD.               APT 155                                                        SEMINOLE              FL   33772
TIDROW, RAYMOND A               14618 IVANHOE DR                                                                                 WARREN                MI   48088‐7404
TIDSWELL, CAROL                 KIMMEL & SILVERMAN                30 E BUTLER AVE                                                AMBLER                PA   19002‐4514
TIDSWELL, MICHAEL G             13252 TWIN CREEK LN NE                                                                           GREENVILLE            MI   48838‐8332
TIDSWELL, WILLIAM J             5057 TAM O SHANTER DR                                                                            YOUNGSTOWN            OH   44514‐1252
TIDWELL JERAL                   1028 HIGHLAND AVE                                                                                LOUISVILLE            KY   40204‐1961
TIDWELL JR, JAMES D             134 WHISPERING PINES CIR                                                                         LOUISVILLE            KY   40245
TIDWELL MARTHA & PHILLIP        108 CHARLIE GASKIN DRIVE                                                                         WEWAHITCHKA           FL   32465‐8709
TIDWELL, ALVIN                  GUY WILLIAM S                     PO BOX 509                                                     MCCOMB                MS   39649‐0509
TIDWELL, ANGELA L               9311 PINEHURST STREET                                                                            DETROIT               MI   48204‐2657
TIDWELL, ANGELA L               179 NABB RD                                                                                      TALLAHASSEE           FL   32317‐0505
TIDWELL, ANGIE                  1567 COUNTY ROAD 644                                                                             HEFLIN                AL   36264‐4836
TIDWELL, BARBARA L              2111 DUNLAP RODDEY RD                                                                            ROCK HILL             SC   29730‐8643
TIDWELL, BILLY J                5197 DARBY ST                                                                                    FLINT                 MI   48532‐4150
TIDWELL, CALVIN C               1301 N PARK AVE                                                                                  DOTHAN                AL   36303‐3334
TIDWELL, CHARLENE F             6500 GERMANTOWN PIKE                                                                             MORAINE               OH   45418‐1640
TIDWELL, CHARLINE               367 E BISHOP                                                                                     FLINT                 MI   48505
TIDWELL, CLARA                  1253 HWY 48 S C/O W A CROW                                                                       DICKSON               TN   37055
TIDWELL, CLEVELAND              1610 KNOB CREEK RD                                                                               WESTPOINT             TN   38486‐5249
TIDWELL, CURTIS K               9109 WESTLAKE CIRCLE                                                                             BELLEVILLE            MI   48111‐6124
TIDWELL, DONALD R               1061 RIVER HILL DR                                                                               FLINT                 MI   48532‐2870
TIDWELL, DONALD RAY             1061 RIVER HILL DR                                                                               FLINT                 MI   48532‐2870
                        09-50026-mg             Doc 7123-39      Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                Part 37 of 40 Pg 89 of 901
Name                    Address1                        Address2                   Address3      Address4         City              State Zip
TIDWELL, DONNA J        204 SUMMERTREE CT                                                                         BOSSIER CITY       LA 71111‐5452
TIDWELL, DONNA JEAN     204 SUMMERTREE CT                                                                         BOSSIER CITY       LA 71111‐5452
TIDWELL, DONNA M        5637 CULVER ST                                                                            DEARBORN HTS       MI 48125‐3435
TIDWELL, DORA MAE       SLAUGHTER EDWARD M              1201 N WATSON RD STE 145                                  ARLINGTON          TX 76006‐6223
TIDWELL, EDITH          107 HAGGERTY RD APT 314                                                                   PLYMOUTH           MI 48170
TIDWELL, ELOISE M       256 NORTHAMPTON ST                                                                        BUFFALO            NY 14208‐2303
TIDWELL, EUGENE H       54 N 22ND ST                                                                              COLUMBUS           OH 43203
TIDWELL, FRANCES V      14 STAR DUST TRL SE                                                                       CARTERSVILLE       GA 30120‐6842
TIDWELL, FRANCES V      32 TIDWELL RD SE                                                                          CARTERSVILLE       GA 30120‐7100
TIDWELL, GORDON L       181 SUMMIT RIDGE CIR SE                                                                   CARTERSVILLE       GA 30120‐6848
TIDWELL, GRADY E        543 WALNUT ST                                                                             MOUNT MORRIS       MI 48458‐1952
TIDWELL, JAMES          115 TENNESSEE CIRCLE                                                                      WESTPOINT          TN 38486
TIDWELL, JAMES          PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON            MS 39206‐5621
TIDWELL, JAMES K        243 MILFORD DR                                                                            MIDDLETOWN         DE 19709‐9469
TIDWELL, JAMES L        2343 TALLAVANA TRL                                                                        HAVANA             FL 32333‐5648
TIDWELL, JAMES RAY      SLAUGHTER EDWARD M              1201 N WATSON RD STE 145                                  ARLINGTON          TX 76006‐6223
TIDWELL, JESSIE J       411 KIRK ST                                                                               LAWRENCEBURG       TN 38464‐2308
TIDWELL, JIMMIE D       8014 E NYE HWY                                                                            EATON RAPIDS       MI 48827‐9068
TIDWELL, JIMMY          PO BOX 371                                                                                LORETTO            TN 38469‐0371
TIDWELL, JIMMY T        4201 BRISTOW COVE RD                                                                      BOAZ               AL 35956‐7501
TIDWELL, KARL E         1502 WILMORE DR                                                                           COLUMBUS           OH 43209‐3153
TIDWELL, L T            6009 WESTKNOLL DR APT 623                                                                 GRAND BLANC        MI 48439‐4960
TIDWELL, LARRY R        200 CINDY ST S                                                                            KELLER             TX 76248‐2340
TIDWELL, LARRY W        5702 ANGOLA RD LOT 240                                                                    TOLEDO             OH 43615‐6364
TIDWELL, LARRY WILSON   5702 ANGOLA RD LOT 240                                                                    TOLEDO             OH 43615‐6364
TIDWELL, LEHMAN E       7740 W DOUGLAS CT                                                                         FRANKFORT           IL 60423‐6961
TIDWELL, LEONARD D      4316 PORT ROYAL RD                                                                        SPRING HILL        TN 37174‐5112
TIDWELL, LILLIAN        33 WASHINGTON AVE                                                                         LA GRANGE           IL 60525‐2545
TIDWELL, LINDA D        7469 DIAN DR                                                                              CARLISLE           OH 45005‐4150
TIDWELL, LINDA D        23 CANAL ST 1                                                                             ELLENVILLE         NY 12428‐1236
TIDWELL, MARCIA A.      7514 BISON ST                                                                             WESTLAND           MI 48185‐6935
TIDWELL, MARY M         9225 BELL RIDGE DR                                                                        PENSACOLA          FL 32526‐7819
TIDWELL, MAVIS N        16400 UPTON RD LOT 233                                                                    EAST LANSING       MI 48823‐9306
TIDWELL, MELBA          5637 CULVER STREET                                                                        DEARBORN HTS       MI 48125‐3435
TIDWELL, MISTY L        5407 MAPLEWOOD LANE                                                                       CHARLOTTE          NC 28227‐4067
TIDWELL, NORMA B        27434 RONEY AVE                                                                           BROWNSTOWN TWP     MI 48183‐4849
TIDWELL, NORMAN D       55677 NOCTURNE CT                                                                         SHELBY TOWNSHIP    MI 48316‐5223
TIDWELL, PAMELA G       1717 APPALACHIAN HWY                                                                      GADSDEN            AL 35903‐4566
TIDWELL, PATRICIA E     7019 DOVE VALLEY WAY                                                                      CORONA             CA 92880‐9290
TIDWELL, PATRICK A      341 KENLEE CIR APT A6                                                                     BOWLING GREEN      KY 42101‐7206
TIDWELL, PAUL           519 W MEMORIAL DR                                                                         DALLAS             GA 30132‐4115
TIDWELL, PAUL A         526 BAHIA DR                                                                              SAINT LOUIS        MO 63119‐1517
TIDWELL, PAUL C         27304 SARA ST 203                                                                         CANYON COUNTRY     CA 91387
TIDWELL, PAUL W         2881 FABIAN RD                                                                            TRACY              CA 95377
TIDWELL, PAULINE        300 E 5TH STREET                APT B                                                     TUSCUMBIA          AL 35674
TIDWELL, ROBERT W       4674 RAYMOND AVE                                                                          DEARBORN HTS       MI 48125‐3336
TIDWELL, ROGER M        1220 BERKELEY RD                                                                          COLUMBUS           OH 43206‐3218
TIDWELL, ROY E          3490 CHURCH ST                                                                            BURNS              TN 37029‐6295
TIDWELL, RUFUS A        3445 S RHODES AVE APT 1208                                                                CHICAGO             IL 60616‐4268
TIDWELL, RUIE H         5245 N SOCRUM LOOP RD                                                                     LAKELAND           FL 33809‐4253
TIDWELL, SAMUEL J       225 CATTAIL TRL                                                                           BENTON             LA 71006
TIDWELL, SUZANNE        2314 WARWICK AVE SW                                                                       DECATUR            AL 35603‐1800
                              09-50026-mg           Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                                  Part 37 of 40 Pg 90 of 901
Name                          Address1                      Address2                       Address3   Address4         City            State Zip
TIDWELL, THOMAS L             4029 SAPONAC DR                                                                          CROSSVILLE       TN 38572‐6118
TIDWELL, TIFFANY
TIDWELL, TIMOTHY L            1988 BAYOU BEND DR                                                                       BOSSIER CITY    LA   71111‐5155
TIDWELL, TIMOTHY LAMAR        1988 BAYOU BEND DR                                                                       BOSSIER CITY    LA   71111‐5155
TIDWELL, TOBY                 13520 S RAINBOW DR                                                                       GREGORY         MI   48137‐9680
TIDWELL, TOMMY R              1629 COUNTY ROAD 644                                                                     HEFLIN          AL   36264‐4837
TIDWELL, VICKI L              PO BOX 93                                                                                DANVILLE        AL   35619‐0093
TIDWELL, WALTER R             94 COUNTY ROAD 35                                                                        ROGERSVILLE     AL   35652‐2000
TIDWELL, WANDA E              170 APOLLO CIR                                                                           FLUSHING        MI   48433‐9321
TIDWELL, WAYNE A              33044 CHERRY HILL RD                                                                     GARDEN CITY     MI   48135‐1092
TIDWELL, WAYNE ANCEL          33044 CHERRY HILL ROAD                                                                   GARDEN CITY     MI   48135‐1092
TIDWELL, WELDON E             426 DETROIT AVE                                                                          MANSFIELD       OH   44905‐2603
TIDWELL, WINIFRED D           96 FISHER ST                                                                             BUFFALO         NY   14215‐3908
TIDWELL, YVONNE               PO BOX 447                                                                               FLUSHING        MI   48433
TIDWELL,SUZANNE               2314 WARWICK AVE SW                                                                      DECATUR         AL   35603‐1800
TIE FU ZHANG                  C/O BISNAR/CHASE LLP          1301 DOVE STREET, SUITE 120                                NEWPORT BEACH   CA   92660
TIE FU, ZHANG                 MUSGROVE DRUTZ & KACK PC      PO BOX 2720                                                PRESCOTT        AZ   86302‐2720
TIE YARD                      8202 F ST                                                                                OMAHA           NE   68127‐1740
TIEBER, SARAH J.              11846 KNOB HILL DR                                                                       BRIGHTON        MI   48114‐9220
TIEBERT, DANIEL C             1982 ALTON ST                                                                            BEECH GROVE     IN   46107‐1616
TIEBERT, NORMAN W             6814 CHAPEL HILL RD                                                                      INDIANAPOLIS    IN   46214‐3734
TIEBOUT, CHARMAIN L           7505 E 119TH TER                                                                         GRANDVIEW       MO   64030‐1316
TIECHE, JEFFREY J             620 COLUMBUS AVENUE                                                                      SANDUSKY        OH   44870‐2732
TIECHON INDUSTRIES INC        1712 THUNDERBIRD                                                                         TROY            MI   48084‐5461
TIEDE, BETTY J                62060 INDIAN TRL                                                                         RAY             MI   48096‐3212
TIEDE, DARRYL J               102 OAKWOOD DR                                                                           WILLIAMSVILLE   NY   14221‐7014
TIEDE, JAMES A                1209 GEORGETOWN PKWY                                                                     FENTON          MI   48430‐3271
TIEDE, KAREN M                6255 TELEGRAPH LOT 384                                                                   ERIE            MI   48133
TIEDE, LLOYD J                6840 E BAY RD                                                                            WOLCOTT         NY   14590‐9373
TIEDE, PAUL A                 102 OAKWOOD DR                                                                           WILLIAMSVILLE   NY   14221‐7014
TIEDE, PAUL ALBERT            102 OAKWOOD DR                                                                           WILLIAMSVILLE   NY   14221‐7014
TIEDE, ROBERT E               2481 E BALDWIN RD                                                                        GRAND BLANC     MI   48439‐8362
TIEDEMAN, ALLAN L             104 RUE CHARTRES                                                                         LAFAYETTE       LA   70508
TIEDEMAN, ALLAN L             7255 FLAMINGO STREET                                                                     CLAY            MI   48001‐4131
TIEDEMAN, CHARLES E           8822 OAK HILL RD                                                                         CLARKSTON       MI   48348‐1041
TIEDEMAN, DONALD F            10190 OAKHILL RD                                                                         HOLLY           MI   48442‐8846
TIEDEMAN, DONALD G            4545 HEARTHRIDGE DR                                                                      JANESVILLE      WI   53546‐2172
TIEDEMAN, GARY N              8695 HARRISON AVE                                                                        FARWELL         MI   48622‐9409
TIEDEMAN, JAYSON A            177 RAYMOND ST                                                                           PONTIAC         MI   48342‐2550
TIEDEMAN, JEAN                291 NORTH ST                  C/O LOUIS R TIEDEMAN                                       BUFFALO         NY   14201‐1306
TIEDEMAN, KEITH V             8631 HARRISON AVE                                                                        FARWELL         MI   48622‐9409
TIEDEMAN, RICHARD O           4497 LEIX RD                                                                             MAYVILLE        MI   48744‐9429
TIEDEMAN, RUSSELL G           11480 E DENVER RD                                                                        COLEMAN         MI   48618‐9631
TIEDEMAN, TAMYRA L            8695 HARRISON AVE                                                                        FARWELL         MI   48622‐9409
TIEDEMAN, TERRY N             5385 EAST VALLEY ROAD                                                                    MT PLEASANT     MI   48858‐9297
TIEDEMAN, WAYNE F             333 S LEXINGTON DR                                                                       JANESVILLE      WI   53545‐4323
TIEDEMANN ARTHUR F (467093)   GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510
                                                            STREET, SUITE 600
TIEDEMANN ROBERT (336242)     HERRERA FRANK JR              175 E HOUSTON , SUITE 250                                  SAN ANTONIO     TX 78205
TIEDEMANN ROBERT (336242)     WILENTZ GOLDMAN & SPITZER     88 PINE STREET , WALL STREET                               NEW YORK        NY 10005
                                                            PLAZA
                                      09-50026-mg           Doc 7123-39         Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                               Part 37 of 40 Pg 91 of 901
Name                                  Address1                            Address2                            Address3   Address4              City              State Zip
TIEDEMANN ROBERT (336242) ‐           HERRERA FRANK JR                    175 E HOUSTON , SUITE 250                                            SAN ANTONIO        TX 78205
LUBNIEWSKI WILLIAM
TIEDEMANN ROBERT (336242) ‐           WILENTZ GOLDMAN & SPITZER           88 PINE STREET , WALL STREET                                         NEW YORK          NY 10005
LUBNIEWSKI WILLIAM                                                        PLAZA
TIEDEMANN ROBERT (336242) ‐ MARINELLI HERRERA FRANK JR                    175 E HOUSTON , SUITE 250                                            SAN ANTONIO       TX   78205
JOHN
TIEDEMANN ROBERT (336242) ‐ MARINELLI WILENTZ GOLDMAN & SPITZER           88 PINE STREET , WALL STREET                                         NEW YORK          NY 10005
JOHN                                                                      PLAZA
TIEDEMANN ROBERT (336242) ‐ NEFF CARL HERRERA FRANK JR                    175 E HOUSTON , SUITE 250                                            SAN ANTONIO       TX   78205

TIEDEMANN ROBERT (336242) ‐ NEFF CARL WILENTZ GOLDMAN & SPITZER           88 PINE STREET , WALL STREET                                         NEW YORK          NY 10005
                                                                          PLAZA
TIEDEMANN, ARTHUR F                  GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA 23510
                                                                          STREET, SUITE 600
TIEDEMANN, ROBERT                    WILENTZ GOLDMAN & SPITZER            88 PINE STREET, WALL STREET PLAZA                                    NEW YORK          NY 10005

TIEDEMANN, ROBERT                    HERRERA FRANK JR                     175 E HOUSTON, SUITE 250                                             SAN ANTONIO       TX   78205
TIEDJE, KIM L                        4028 CANEY CREEK LN                                                                                       CHAPEL HILL       TN   37034‐2075
TIEDT, CLIFFORD M                    4117 BRUSH RD                                                                                             RICHFIELD         OH   44286‐9505
TIEDT, CLIFFORD S                    PO BOX 98                            4117 BRUSH RD                                                        RICHFIELD         OH   44286‐0098
TIEDT, MELVIN D                      7812 LAKE DR                                                                                              RODNEY            MI   49342‐9606
TIEFENBRUNN, JOHN D                  1253 LUPINE CT                                                                                            O FALLON          MO   63366‐3208
TIEFENTHALER, WINIFRED T             ALTA MIRA W129 N6889, APT 249        NORTHFIELD ROAD                                                      MENOMONEE FALLS   WI   53051
TIEGS, VIOLET A                      9440 W CONGRESS ST                                                                                        MILWAUKEE         WI   53225
TIEGS, WAYNE R                       14995 W KINGSWAY DR                                                                                       NEW BERLIN        WI   53151
TIEGS, WAYNE ROBERT                  14995 W KINGSWAY DR                                                                                       NEW BERLIN        WI   53151‐5840
TIEJEMA, DONALD W                    C/O LINDA SEAGRAVES                  645 S MAIN STREET                                                    CHELSEA           MI   48118
TIEJEMA, RUSSELL T                   867 LINCOLN RD                                                                                            GROSSE POINTE     MI   48230‐1289
TIEK, ELIZABETH D                    412 BRISCOE                                                                                               OFALLON           MO   63366‐1234
TIEK, ELIZABETH D                    412 BRISCOE AVE                                                                                           O FALLON          MO   63366‐1234
TIEKEN AUTO SERVICE                  119 S WW WHITE RD                                                                                         SAN ANTONIO       TX   78219‐4219
TIELBUR, DARWIN K                    301 N ELDER AVE                                                                                           GRAETTINGER       IA   51342‐1008
TIELBUR, DWAIN E                     2536 GREENS MILL RD                                                                                       COLUMBIA          TN   38401‐6177
TIELBUR, TAMMY                       1650 EAGLE TRACE DR S                                                                                     MOUNT JULIET      TN   37122
TIELLEMAN, MARY C                    15 CRESSON AVE                                                                                            NEW CASTLE        DE   19720‐1171
TIEMAN, JANET L                      2972 MISSION DR E                                                                                         CLEARWATER        FL   33759‐2582
TIEMAN, JOHN W                       2335 EDEN LN                                                                                              DAYTON            OH   45431‐1908
TIEMAN, KENNETH L                    24118 PRIMROSE CIR                                                                                        PLAINFIELD        IL   60585‐8720
TIEMANN INDUSTRIAL SUPPLY INC        2811 CLARK AVE                                                                                            SAINT LOUIS       MO   63103‐2505
TIEMANN INDUSTRIAL SUPPLY INC        2811 CLARK AVE                       PO BOX 14406                                                         SAINT LOUIS       MO   63103‐2505
TIEMANN INDUSTRIAL SUPPLY INC        ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 14406                                                         SAINT LOUIS       MO   63178‐0406
                                     AGENT
TIEMANN ROSS A (419512)              SIMMONS LAW FIRM
TIEMANN, ROSS A                      SIMMONS LAW FIRM                     PO BOX 521                                                           EAST ALTON        IL   62024‐0519
TIEMANN, TODD T                      5819 GRANITE DRIVE                                                                                        ANDERSON          IN   46013‐2032
TIEMEIER, THOMAS E                   1532 GUNTLE RD                                                                                            NEW LEBANON       OH   45345‐9393
TIEMEYER, FRED E                     7719 DELVIEW DR                                                                                           WEST CHESTER      OH   45069‐3323
TIEMEYER, KENNETH R                  100 GIBSON LN                                                                                             WILDER            KY   41076‐9703
TIEN & WANS                          PO BOX 108 054                                                                      TAIPEI 10648 TAIWAN
TIEN LUC                             7071 SYRACUSE AVE                                                                                         STANTON           CA 90680‐1904
TIEN P LUC                           7071 SYRACUSE AVE                                                                                         STANTON           CA 90680‐1904
TIEN YIN LIMITED                     P. O. BOX 35‐120                                                                                          TAI ‐CHUNG
                                   09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                         Part 37 of 40 Pg 92 of 901
Name                              Address1                         Address2                         Address3   Address4                 City                 State Zip
TIEN, JOHN L                      10248 LUMAN LN                                                                                        TWINSBURG             OH 44087‐1475
TIENDA‐RUMBAUT, IRENE             23 FUERTES                                                                                            IRVINE                CA 92617‐4095
TIENG, THOMAS V                   41527 THOREAU RDG                                                                                     NOVI                  MI 48377‐2854
TIENKEN, MICHAEL H                4885 WEST ST                                                                                          EATON RAPIDS          MI 48827‐8905
TIENVIERI, RAMONA J               PO BOX 2                                                                                              PETERSBURG            MI 49270‐0002
TIEPPO, DONALD L                  109 MISTY MEADOW COURT                                                                                ROSCOMMON             MI 48653‐7676
TIEPPO, NANCY A                   12967 BRANDON RD                                                                                      SOUTH ROCKWOOD        MI 48179‐9756
TIER 1 TRANSPORTATION INC         A DIV OF FREIGHT SERVICES PLUS   190 WILKINSON RD                            BRAMPTON CANADA ON
                                                                                                               L6T 4W3 CANADA
TIER ONE MARKETING                18641 AUDETTE ST                                                                                                           MI 48124‐4221
TIER TWO CHEMICAL REPORTING       BUDGET ZZ109 FUND 180            8407 WALL STREET EXCHANGE BLDG                                       AUSTIN               TX 78754

TIER, FREDRICK G                  9109 SEYMOUR RD                                                                                       SWARTZ CREEK         MI   48473‐9161
TIER3 ADVERTISING INC             ATTENTION KEVIN LASH             95 EDDY RD STE 101                                                   MANCHESTER           NH   03102‐3258
TIERA COCKERHAM C                 1900 FARMERSVILLE W ALEX RD                                                                           FARMERSVILLE         OH   45325‐7212
TIERCON COMPONENTS INC            555 E HURON AVE                                                                                       VASSAR               MI   48768‐1831
TIERCON PLASTICS INC              950 SOUTH SERVICE RD                                                         STONEY CREEK CANADA ON
                                                                                                               L8E 6A2 CANADA
TIERCON/VASSAR                    555 E HURON AVE                  P.O. BOX 128                                                         VASSAR               MI   48768‐1831
TIERI METALS INC                  2230 INDIANAPOLIS BLVD                                                                                WHITING              IN   46394
TIERNAN BRETT M                   3186 PIRRIN DR                                                                                        WATERFORD            MI   48329‐2740
TIERNAN, BRETT M                  3186 PIRRIN DR                                                                                        WATERFORD            MI   48329‐2740
TIERNAN, DENNIS J                 135 CHERRY HILL DR                                                                                    PONTIAC              MI   48340
TIERNAN, JANE L                   13050 PENNINGTON PL APT 102                                                                           FORT MYERS           FL   33913‐8527
TIERNAN, LAWRENCE C               608 WADSWORTH ST                                                                                      EAST TAWAS           MI   48730‐1441
TIERNAN, LISA K                   18680 ALDERBROOK DRIVE                                                                                RIVERSIDE            CA   92508‐9313
TIERNAN, MARGARET                 589 COUNTY RD 44                                                                                      CHASE MILLS          NY   13621‐3112
TIERNAN, MICHAEL D                PO BOX 27                                                                                             AU TRAIN             MI   49806‐0027
TIERNEY D JORDAN                  7974 HAWKS NEST TRL                                                                                   LITHIA SPRINGS       GA   30122
TIERNEY FARHAT                    PO BOX 399                                                                                            WOLVERINE            MI   49799‐0399
TIERNEY GRUTZA                    757 WHISPERING WAY                                                                                    OMRO                 WI   54963‐9211
TIERNEY LIABILITY INVESTIGATORS   5519 TALON CT                                                                                         FAIRFAX              VA   22032‐1737
TIERNEY PATRICIA D                11021 W 122ND TER                                                                                     OVERLAND PARK        KS   66213‐1950
TIERNEY, ALBERTA M                2645 RIVERSIDE DR APT 311                                                                             TRENTON              MI   48183‐2834
TIERNEY, ANGELINE B               21620 FRANCIS ST                                                                                      SAINT CLAIR SHORES   MI   48082‐1918
TIERNEY, BARBARA Z                4243 BAY VIEW DR                                                                                      STURGEON BAY         WI   54235‐9097
TIERNEY, CAROL S                  500 WOODLAND BLVD                                                                                     OWOSSO               MI   48867‐9083
TIERNEY, CAROL S                  500 WOODLAND DR                                                                                       OWOSSO               MI   48867‐9083
TIERNEY, DAVID L                  2116 MCKINLEY ST                                                                                      ANDERSON             IN   46016‐4567
TIERNEY, E H
TIERNEY, FRANCIS J                37820 WESTWOOD CIR APT 206                                                                            WESTLAND             MI   48185‐5735
TIERNEY, FRANCIS JOHN             37820 WESTWOOD CIR APT 206                                                                            WESTLAND             MI   48185‐5735
TIERNEY, GARNETT M                1225 HAVENDALE BLVD NW APT 273                                                                        WINTER HAVEN         FL   33881‐1392
TIERNEY, GARNETT M                1225 HAVENDALE BLVD NW           APT 273                                                              WINTER HAVEN         FL   33881‐1392
TIERNEY, GERALDINE E              366 ANDOVE PLACE FOXMORE                                                                              ROBBINSVILLE         NJ   08691
TIERNEY, GORDON L                 52258 FISH CREEK DR                                                                                   MACOMB               MI   48042‐5694
TIERNEY, JAMES                    1845 GROVE                                                                                            HIGHLAND             MI   48356‐2807
TIERNEY, JAMES J                  3426 E ALBRECHT RD                                                                                    ELIZABETH            IL   61028‐9529
TIERNEY, JOAN                     32814 MACKENZIE                                                                                       WESTLAND             MI   48185‐1552
TIERNEY, JOHN A                   2384 MORRISH RD                                                                                       FLUSHING             MI   48433‐9410
TIERNEY, JOHN A                   500 WOODLAND DR                                                                                       OWOSSO               MI   48867‐9083
TIERNEY, JOHN ALLEN               2384 MORRISH RD                                                                                       FLUSHING             MI   48433‐9410
                            09-50026-mg             Doc 7123-39       Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                                     Part 37 of 40 Pg 93 of 901
Name                       Address1                             Address2                     Address3                Address4             City                State Zip
TIERNEY, JOHN M            8300 KIER RD                                                                                                   CLARKSTON            MI 48348‐1122
TIERNEY, JOHN MICHAEL      8300 KIER RD                                                                                                   CLARKSTON            MI 48348‐1122
TIERNEY, JOHN P.
TIERNEY, KATHLEEN J        2525 S VERMONT AVE                                                                                             INDEPENDENCE        MO   64052‐3557
TIERNEY, KEVIN H           4191 HILLCREST CIR                                                                                             WEST BLOOMFIELD     MI   48323‐1251
TIERNEY, LAWRENCE P        13201 MOON DANCE PL NE                                                                                         ALBUQUERQUE         NM   87111‐8254
TIERNEY, MAURA K           12 WILLETTA DR                                                                                                 JACKSON             NJ   08527
TIERNEY, MICHAEL L         4247 WINDMILL CT                     REGAL BROOK FARM                                                          MEDINA              OH   44256‐6920
TIERNEY, MICHAEL V         5464 BRISTOL PARKE DR                                                                                          CLARKSTON           MI   48348‐4800
TIERNEY, MONICA M          880 POLO PARK BLVD                                                                                             DAVENPORT           FL   33837‐9679
TIERNEY, OWEN J            21 GREENLEAF DR                                                                                                HUNTINGTON          NY   11743‐4816
TIERNEY, PATRICIA A        419 W MAIN ST                                                                                                  EVANSVILLE          WI   53536‐1022
TIERNEY, PATRICIA D        11021 W 122ND TER                                                                                              OVERLAND PARK       KS   66213‐1950
TIERNEY, PAUL H            315 LUTZ DR                                                                                                    UNION               OH   45322‐3334
TIERNEY, PHYLLIS J.        25125 SHOOK RD                                                                                                 HARRISON TOWNSHIP   MI   48045‐3718
TIERNEY, RAYMOND J         607 MARION AVE                                                                                                 PLANTSVILLE         CT   06479‐1441
TIERNEY, ROBERT J          218 DOGWOOD DR                                                                                                 BILOXI              MS   39531‐3902
TIERNEY, ROBERT W          10381 STANLEY RD                                                                                               FLUSHING            MI   48433‐9247
TIERNEY, SHIELA ATTORNEY
TIERNEY, THERESA           114 HAWKS NEST LANE                                                                                            SUFFOLK             VA   23435‐3272
TIERNEY, THOMAS F          8220 N OAK RIDGE DR                                                                                            MILTON              WI   53563‐9354
TIERNEY, THOMAS F          4243 BAY VIEW DR                                                                                               STURGEON BAY        WI   54235‐9097
TIERNEY, TIM               402 LINCOLN AVE                                                                                                VALPARAISO          FL   32580‐1120
TIERNEY, VINCENT E         31329 PINTO DR                                                                                                 WARREN              MI   48093‐1706
TIERNEY, VIRGINIA M        412 MELROSE LN                                                                                                 MOUNT MORRIS        MI   48458‐8944
TIERNEY, VIRGINIA M        412 MELROSE                                                                                                    MT MORRIS           MI   48458‐8944
TIERNEY, WILLIAM A         6240 ROYAL LAKES ESTATES AVE                                                                                   GONZALES            LA   70737‐8579
TIERNEY, WINSTON           114 HAWKS NEST LANE                                                                                            SUFFOLK             VA   23435‐3272
TIERRA SOLUTIONS INC       C/O WILLIAM L WARREN                 DRINKER BIDDLE & REATH LLP   105 COLLEGE ROAD EAST   PO BOX 627           PRINCETON           NJ   08542
TIERRA SOLUTIONS INC       ATTN: CORPORATE OFFICER/AUTHORIZED   105 COLLEGE RD E STE 300                                                  PRINCETON           NJ   08540‐6622
                           AGENT
TIERRA SOLUTIONS, INC.     C/O WILLIAM L. WARREN                DRINKER BIDDLE & REATH LLP   105 COLLEGE ROAD EAST   P.O. BOX 627         PRINCETON           NJ   08542
TIERRA STAMPS              23363 PLUM HOLLOW ST                                                                                           SOUTHFIELD          MI   48033‐3235
TIERRA, ROSEMARY C         6229 COUNTRY RIDGE LN                                                                                          NEW PORT RICHEY     FL   34655‐1166
TIERRE J MOSLEY            4101 BARNETT                                                                                                   PHILADELPHIA        PA   19135
TIESHA MCNEAL              6700 JEFFERSON PAIGE RD #328                                                                                   SHREVEPORT          LA   71119
TIESLER, ROY F             5557 WHITFIELD DRIVE                                                                                           TROY                MI   48098
TIESMA, LINDA L            461 CIDER MILL DRIVE                                                                                           MIDDLEVILLE         MI   49333‐9425
TIESMA, RONALD D           1237 COOPERS PASS SOUTHWEST                                                                                    BYRON CENTER        MI   49315‐6927
TIESSEN, ISAAC             PO BOX 168                                                                                                     PANDORA             OH   45877‐0168
TIESWORTH, PATRICIA A      14143 JENKINS RD                                                                                               BELLEVUE            MI   49021‐9234
TIETEMA, SUSAN G           1926 COUNTRY BROOK DR SE D                                                                                     ADA                 MI   49301
TIETENBERG, ADELE          48628 ROMA VALLEY                                                                                              UTICA               MI   48317‐2075
TIETGE, HARTMUT M          PO BOX 5201                                                                                                    PALM SPRINGS        CA   92263‐5201
TIETHOFF, ARTHUR D         390 8TH ST                                                                                                     CEDAR SPRINGS       MI   49319‐8498
TIETMEYER, GORDON P        2967 BLOOMFIELD SHORE DR                                                                                       W BLOOMFIELD        MI   48323‐3501
TIETZ, ARDELL              903 E HIGH ST                                                                                                  HICKSVILLE          OH   43526‐1270
TIETZ, DOROTHY A           8627 W WELCH                                                                                                   EMPIRE              MI   49630‐9505
TIETZ, DOROTHY A           8627 W WELCH RD                                                                                                EMPIRE              MI   49630‐9505
TIETZ, JENNIFER M          703 ROYAL AVE                                                                                                  ROYAL OAK           MI   48073‐5704
TIETZ, MARILYN M           1034 TROTWOOD LN                                                                                               FLINT               MI   48507‐3709
TIETZ, RANDALL G           703 ROYAL AVE                                                                                                  ROYAL OAK           MI   48073‐5704
                                     09-50026-mg           Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                         Part 37 of 40 Pg 94 of 901
Name                                 Address1                      Address2              Address3         Address4         City               State Zip
TIETZ, SANDRA                        4122 EDWARDS RD                                                                       HARBOR BEACH        MI 48441‐8889
TIFANIE REEVES                       1030 OLD HIGHWAY 46 SOUTH                                                             DICKSON             TN 37055
TIFCO GAGE & GEAR INTERNATIONAL GEAR 33067 INDUSTRIAL RD                                                                   LIVONIA             MI 48150‐1619
INC
TIFCO/WIXOM                          29905 ANTHONY DR                                                                      WIXOM              MI   48393‐3610
TIFER, FREDERICK V                   2159 WILLOW CIR                                                                       SHELBY TWP         MI   48316‐1055
TIFER, STANLEY M                     11 CREEK DR                                                                           NEW CASTLE         DE   19720‐8721
TIFFANI C RICHARDSON                 1463 CHADWICK DR                                                                      DAYTON             OH   45406
TIFFANI GEORGE                       22277 W 12 MILE RD APT 23                                                             SOUTHFIELD         MI   48034‐4668
TIFFANIE COE                         44036 RUSHCLIFFE DR                                                                   STERLING HEIGHTS   MI   48313‐5900
TIFFANIE EVANS                       290 JOHNNYS LN                                                                        SCOTTSVILLE        KY   42164‐9636
TIFFANIE LEWIS                       3755 NW 91ST LN                                                                       SUNRISE            FL   33351‐6456
TIFFANIE N HARDING                   733 FOREST AVE APT31                                                                  DAYTON             OH   45405‐4115
TIFFANIE R RAIKE                     11017 HARRIS RD                                                                       DEFIANCE           OH   43512‐8906
TIFFANIE RAIKE                       11017 HARRIS RD                                                                       DEFIANCE           OH   43512‐8906
TIFFANIE SHOEMAKER                   1460 J C MARKWOOD RD                                                                  PURGITSVILLE       WV   26852‐8041
TIFFANY & CO                         PO BOX 27389                                                                          NEW YORK           NY   10087‐7389
TIFFANY A AGUILAR                    4078 DORAN ST                                                                         FLINT              MI   48504‐6855
TIFFANY A BLAIR                      640 DELAWARE ST               APT 202                                                 DETROIT            MI   48202‐4401
TIFFANY A GIBSON                     2918 WOODMAN DR                                                                       KETTERING          OH   45420
TIFFANY A WILSON                     4233 CHESTER DR.                                                                      BOARDMAN           OH   44512
TIFFANY AGUILAR                      4078 DORAN ST                                                                         FLINT              MI   48504‐6855
TIFFANY ANDREW                       9232 ROBEY MEADOWS LN                                                                 INDIANAPOLIS       IN   46234‐1673
TIFFANY ASHLEY                       2324 WYATT CT                                                                         FORT WORTH         TX   76119‐3104
TIFFANY BANAR                        15561 STATE ROUTE 164                                                                 SALINEVILLE        OH   43945‐9723
TIFFANY BENNETT                      4451 SAINT MARTINS DR                                                                 FLINT              MI   48507‐3726
TIFFANY BERGMAN‐PARTAKER             9004 HICKORY KNOLL BLVD                                                               FORT WAYNE         IN   46825‐2279
TIFFANY BERNDT                       6624 SHAFFER RD NW                                                                    WARREN             OH   44481‐9407
TIFFANY BROTHERTON                   19 COUNTRY LIFE DR                                                                    O FALLON           MO   63366‐2709
TIFFANY BURKE                        1644 HENN HYDE RD NE                                                                  WARREN             OH   44484‐1231
TIFFANY CARE CENTERS INC             1105 STATE ST                                                                         MOUND CITY         MO   64470‐7202
TIFFANY CHAPPELL                     68 W STRATHMORE AVE                                                                   PONTIAC            MI   48340‐2770
TIFFANY COACHWORKS                   ATTN MR BILL ALDEN            1771 N DELILAH ST                                       CORONA             CA   92879‐1865
TIFFANY COACHWORKS                   23529 CHRISTY WAY                                                                     MURRIETA           CA   92562‐6321
TIFFANY COLLINS                      1709 OBRIEN CT                                                                        SPRING HILL        TN   37174‐9507
TIFFANY D BAILEY                     4979 WEDGEWOOD WAY #H                                                                 WEST PALM BCH      FL   33417‐5329
TIFFANY D LAY                        310 WEST LAKE DRIVE                                                                   GADSDEN            AL   35901
TIFFANY D MILLER                     405 S WALNUT ST                                                                       ENGLEWOOD          OH   45322‐1627
TIFFANY D WENDLING                   4302 LUTHERAN CHURCH RD                                                               GERMANTOWN         OH   45327
TIFFANY DANFORTH                     9302 WEST 121ST TERRACE                                                               OVERLAND PARK      KS   66213‐1547
TIFFANY DEVITA                       3810 OAKHILL TRL                                                                      CLARKSTON          MI   48348‐1447
TIFFANY DOUGLAS                      4324 BRIGHTON DR                                                                      LANSING            MI   48911‐2133
TIFFANY E HELTON                     47021 ECORSE RD                                                                       BELLEVILLE         MI   48111‐5115
TIFFANY EDWARDS                      3525 CALKINS ROAD                                                                     FLINT              MI   48532‐3507
TIFFANY FORD                         467 NOAH AVENUE                                                                       AKRON              OH   44320
TIFFANY FUNERAL HOME                 ATTN: PAUL TATE               3232 W SAGINAW ST                                       LANSING            MI   48917‐2327
TIFFANY G WYLIE                      3788 S SCHENLEY AVE                                                                   YOUNGSTOWN         OH   44511‐2936
TIFFANY HAM                          277 OLYMPIC AVE                                                                       BUFFALO            NY   14215‐3259
TIFFANY HOGAN
TIFFANY J NEEDHAM                    1763 ARAPAHO DR                                                                       XENIA              OH 45385
TIFFANY JACKSON                      17184 MORAN ST                                                                        DETROIT            MI 48212‐1147
TIFFANY JEFFRIES                     8133 E BRISTOL RD                                                                     DAVISON            MI 48423‐8716
                            09-50026-mg            Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                 Part 37 of 40 Pg 95 of 901
Name                        Address1                       Address2              Address3         Address4         City               State Zip
TIFFANY JOHNSON             650 FOX AVE                                                                            YPSILANTI           MI 48198‐6148
TIFFANY JONE GRIFFIN        1921 SEYMOUR AVE                                                                       FLINT               MI 48503‐4340
TIFFANY KILGALLIN           36860 ALEXIS CT                                                                        STERLING HEIGHTS    MI 48312‐3100
TIFFANY KING                11520 SALEM WARREN RD                                                                  SALEM               OH 44460‐9667
TIFFANY L AKERS             1705 E 5TH ST                                                                          DAYTON              OH 45403‐2305
TIFFANY L FEDERSPIEL        714 5TH ST APT 6                                                                       BAY CITY            MI 48708‐5201
TIFFANY L ROBINSON          3138 CAMPUS DR                                                                         DAYTON              OH 45406‐4121
TIFFANY L RUSSELL           1225 MCDOWELL RD                                                                       JACKSON             MS 39204
TIFFANY L TERRY             3233 RIVIERA ST                                                                        SHREVEPORT          LA 71107‐7511
TIFFANY L WILEY             3220 MERRIWEATHER ST NW                                                                WARREN              OH 44485‐2515
TIFFANY LAYTON              227 JOTHAM AVE                                                                         AUBURN HILLS        MI 48326‐3042
TIFFANY LEWIS               6500 KRISTIN CT                                                                        ORLANDO             FL 32818‐5942
TIFFANY M JONES             108 E 4TH ST                                                                           TILTON               IL 61833‐7415
TIFFANY M ORICK             2628 BLANCHARD AVE                                                                     MORAINE             OH 45439‐2132
TIFFANY M TAYLOR‐ROBINSON   4341 SPRNGCRK DR APT #K                                                                DAYTON              OH 45405
TIFFANY M WOODS             1000 CENTER AVE APT 12                                                                 BAY CITY            MI 48708‐6191
TIFFANY MANCINO             302 SUNSET ST                                                                          PLYMOUTH            MI 48170‐1079
TIFFANY N BARRON            323 DAKOTA ST                                                                          YPSILANTI           MI 48198‐7814
TIFFANY N BRYANT            151 BLAIRWOOD DR                                                                       TROTWOOD            OH 45426‐‐ 28
TIFFANY N KAPPELER          9411 FOX BURROW WAY                                                                    SPRINGVALLEY        OH 45370‐9623
TIFFANY N LOYAL             2204 ELMWOOD DR APT 623                                                                ARLINGTON           TX 76010‐8758
TIFFANY P JORDAN            3463 DUNSTAN DR NW                                                                     WARREN              OH 44485‐1530
TIFFANY R CHAPPLE           2107A WHITE AVENUE                                                                     GADSDEN             AL 35904
TIFFANY R DANFORTH          9302 W 121ST TER                                                                       OVERLAND PARK       KS 66213‐1547
TIFFANY R THORNTON          800 BURLEIGH AVE                                                                       DAYTON              OH 45407‐1205
TIFFANY RICHARDSON          6217 WEISS STREET                                                                      SAGINAW             MI 48603‐2753
TIFFANY ROCKINGHAM          PO BOX 2899                                                                            DETROIT             MI 48202‐0899
TIFFANY S BROWN             1330 ALABAMA STREET                                                                    GADSDEN             AL 35901
TIFFANY S HARRIS            4330 RIVERSIDE DR APT A                                                                DAYTON              OH 45405
TIFFANY SMART               6419 WAKOPA CT                                                                         FORT WAYNE          IN 46815‐6379
TIFFANY SMITH‐ DAVIS        PO BOX 51318                                                                           FORT WORTH          TX 76105‐8318
TIFFANY THOMAS              2809 W. WALNUT HILL LN                                                                 IRVING              TX 75038
TIFFANY TINGLE              643 NOGALES TRL                                                                        MIAMISBURG          OH 45342‐2207
TIFFANY V JONES             614 WAYNE ST                                                                           SAGINAW             MI 48602‐1455
TIFFANY VICKS               42641 CAPITOL                                                                          NOVI                MI 48375‐1755
TIFFANY WANG                PO BOX 9022                    C/O SHANGHAI                                            WARREN              MI 48090‐9022
TIFFANY WHITE               141 W LEAVELL WOODS DR                                                                 JACKSON             MS 39212‐4822
TIFFANY WILLIAMS            1744 DEL ROSA WAY                                                                      SAINT LOUIS         MO 63138‐1258
TIFFANY WILLIAMS            3495 APT 1 CLOVERTREE LN                                                               FLINT               MI 48532
TIFFANY YORK                BOX 57                                                                                 HOLIDAY             TX 76366
TIFFANY, BERTHA M           C/O RANDY TIFFANY              24992 HAYUCO                                            MISSION VIEJO       CA 92692
TIFFANY, BERTHA M           24992 HAYUCO                   C/O RANDY TIFFANY                                       MISSION VIEJO       CA 92692‐2711
TIFFANY, CHARLES L          1075 INDIAN RD                                                                         LAPEER              MI 48446‐8050
TIFFANY, ELIZABETH M        6522 WHEELER RD                                                                        LOCKPORT            NY 14094‐9416
TIFFANY, GARY L             239 RAINBOW DR # 13921                                                                 LIVINGSTON          TX 77399‐2039
TIFFANY, INA M              1913 MILLBANK ST SE                                                                    GRAND RAPIDS        MI 49508‐2674
TIFFANY, JACK D             1326 SHARON ST                                                                         JANESVILLE          WI 53545‐4931
TIFFANY, JOAN G             904 MITCHELL ST                                                                        JANESVILLE          WI 53546‐2417
TIFFANY, JOANN              13887 KEIBER RD NE                                                                     GREENVILLE          MI 48838‐8322
TIFFANY, JOHN C             PO BOX 173                                                                             MOORELAND           IN 47360‐0173
TIFFANY, LOREN L            6522 WHEELER RD                                                                        LOCKPORT            NY 14094‐9416
TIFFANY, ROBERT E           58351 RYAN ST                                                                          MATTAWAN            MI 49071‐9500
                                  09-50026-mg             Doc 7123-39       Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                           Part 37 of 40 Pg 96 of 901
Name                             Address1                             Address2                    Address3                  Address4              City              State Zip
TIFFANY, SIGNE H                 1326 SHARON STREET                                                                                               JANESVILLE         WI 53545‐4931
TIFFANY, VIRGINIA                10432 MUD LAKE RD                                                                                                INTERLOCHEN        MI 49643‐9757
TIFFANYS ‐ GM                    PO BOX 5201                                                                                                      MASSENA            NY 13662‐5201
TIFFE, ROCCO D                   2236 W 124TH ST                                                                                                  LEAWOOD            KS 66209‐1306
TIFFEE, SAMUEL P                 SHANNON LAW FIRM                     100 W GALLATIN ST                                                           HAZLEHURST         MS 39083‐3007
TIFFENI ANDERSON                 1015 W HIGH ST                                                                                                   DEFIANCE           OH 43512‐1357
TIFFERT, THERESA A               110 SAYBROOK AVE                                                                                                 TRENTON            NJ 08619‐4204
TIFFIN JR, JAMES P               16670 THIBODAUX DR                                                                                               TYLER              TX 75703‐7795
TIFFIN THOMAS‐BEST               172 HOWLAND WILSON RD NE                                                                                         WARREN             OH 44484‐2075
TIFFIN UNIVERSITY                155 MIAMI ST                                                                                                     TIFFIN             OH 44883‐2109
TIFFIN, CHARLES E                PO BOX 234                                                                                                       FAIRMOUNT           IL 61841‐0234
TIFFIN, DONALD L                 9449 CROFOOT RD                                                                                                  FOWLERVILLE        MI 48836
TIFFIN‐SENECA UNITED WAY         PO BOX 368                                                                                                       TIFFIN             OH 44883‐0368
TIFFINAY J DAVIS                 207 HIGHLAND AVENUE                                                                                              PISCATAWAY         NJ 08854‐4817
TIFFINI PARKER                   5133 CHESTERSHIRE CT                                                                                             WEST BLOOMFIELD    MI 48322‐1552
TIFFINI S HOOKS                  52 OXFORD AVE                                                                                                    DAYTON             OH 45402‐6148
TIFFINNIE Y MCCARTY              285 VILLAGE DR                                                                                                   SPRINGBORO         OH 45066
TIFFNER, RICKY W                 508 BROOKSIDE DR                                                                                                 MT PLEASANT        TN 38474‐1711
TIFFY, LOUISE F                  7334 GOLF POINT CIRCLE                                                                                           SARASOTA           FL 34243‐4243
TIFT, HARRY J                    4080 CANEY CREEK LN                                                                                              CHAPEL HILL        TN 37034‐2075
TIFT, JOSENA                     10328 TURKEY OAK DR                                                                                              NEW PORT RICHEY    FL 34654‐5840
TIFT, LAWRENCE R                 405 E MAIN ST                                                                                                    FLUSHING           MI 48433‐2029
TIGE BOATS INC                   1801 STATE HIGHWAY 36                                                                                            ABILENE            TX 79602‐4284
TIGE, GENEVIEVE F                19644 KENOSHA ST                                                                                                 HARPER WOODS       MI 48225‐2242
TIGE, PAMELA J                   77 E FAIRMOUNT AVE 1                                                                                             PONTIAC            MI 48340
TIGE, PEARL                      2185 E SOUTH BLVD APT#321 MEAD                                                                                   AUBURN HILLS       MI 48326‐3475
TIGER DIRECT INC                 7795 W FLAGLER ST STE 35                                                                                         MIAMI              FL 33144‐2367
TIGER ERNEST                     BUTER, JESSICA                       KAHN & ASSOCIATES LLC       101 NE 3RD AVE STE 1500                         FT LAUDERDALE      FL 33301‐1181
TIGER ERNEST                     TIGER, ERNEST                        8270 WOODLAND CENTER BLVD                                                   TAMPA              FL 33614‐2401
TIGER GARAGE                     343 WITHERSPOON ST                                                                                               PRINCETON          NJ 08542‐3470
TIGER JR, WILLIAM B              716 QUEENSTON RD                                                                           NIAGARA ON THE LAKE
                                                                                                                            CANADA L0S‐1J0
TIGER MATERIAL HANDLING INC      520 MAIN STREET                                                                                                  CLAY CENTER       OH 43408
TIGER OAK PUBLICATIONS INC       ATTN: CORPORATE OFFICER/AUTHORIZED   900 S 3RD ST                                                                MINNEAPOLIS       MN 55415‐1209
                                 AGENT
TIGER OPTICS                     250 TITUS AVE                                                                                                    WARRINGTON        PA 18976‐2426
TIGER TRANSPORT INC              PO BOX 2431                                                                                                      GREENVILLE        SC 29602‐2431
TIGER TRANSPORT INC              762 W SMITH RD                                                                                                   MEDINA            OH 44256‐2423
TIGER WHEELS LTD                 CNR OLD PRETORIA RD & K 101                                                                MIDRAND 1682 SOUTH
                                                                                                                            AFRICA
TIGER WOODS CHARITY EVENT CORP   AT&T NATIONAL                        121 INNOVATION DR STE 150   ATTN KELLY CHENG                                IRVINE            CA   92617‐3093
TIGER WOODS LEARNING CENTER      TIGER WOODS FOUNDATION INC           121 INNOVATION DR STE 150   ATTN GREG MCLAUGHLIN                            IRVINE            CA   92617‐3093
TIGER WOODS LEARNING CENTER      121 INNOVATION DR STE 150                                                                                        IRVINE            CA   92617‐3093
TIGER'S AUTOMOTIVE               203 W JOHNSON ST                                                                                                 RALEIGH           NC   27603‐1329
TIGER, BARBARA J                 35867 HIGHWAY 9 E                                                                                                SEMINOLE          OK   74868‐7603
TIGER, CHARLES R                 1296 W I 240 SERVICE RD APT 209                                                                                  OKLAHOMA CITY     OK   73139‐2220
TIGER, GARY A                    1169 CRAWFORD AVE                                                                                                VANDERGRIFT       PA   15690‐6132
TIGER, HARRY T                   1169 CRAWFORD AVE                                                                                                VANDERGRIFT       PA   15690‐6132
TIGERT, ALAN F                   51 HONEYSUCKLE TRL                                                                                               LAUREL            MS   39443‐7600
TIGERT, DORIS G                  6109 SPRINGWOOD DR                                                                                               ARLINGTON         TX   76001‐5046
TIGERTEL COMMUNICATIONS INC
TIGG I I I, ROBERT A             35 MCCARTHY DR                                                                                                   BUFFALO           NY 14211‐2657
                               09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                     Part 37 of 40 Pg 97 of 901
Name                           Address1                        Address2                      Address3   Address4         City              State Zip
TIGG III, ROBERT A             35 MCCARTHY DR                                                                            BUFFALO            NY 14211‐2657
TIGGELOVEN, BERNARD G          5502 HIDDEN VALLEY CT                                                                     LINDEN             MI 48451‐8842
TIGGES, DANIEL J               26 WALTONSHIRE CT                                                                         ROCHESTER HILLS    MI 48309‐1100
TIGGES, DWIGHT B               1656 TARPON BAY DR S APT 101                                                              NAPLES             FL 34119‐8728
TIGGES, JOHN                   5528 MARQUETTE ST                                                                         DAVENPORT           IA 52806‐2419
TIGGETT SR, MARVIN L           2713 BEAL ST NW                                                                           WARREN             OH 44485‐1207
TIGGETT, CLATTIE M             2713 BEAL ST NW                                                                           WARREN             OH 44485‐1207
TIGGETT, HERMAN                2890 WEILACHER RD SW                                                                      WARREN             OH 44481‐9152
TIGGETT, HOPE C                144 TRUMBULL AVE SE                                                                       WARREN             OH 44483
TIGGETT, JAMES E               210 SOUTH ASPEN CT.                                                                       WARREN             OH 44484
TIGGETT, WYLESIA A             4101 APT.6                      WESTWOOD HARBOR COURT                                     RICHMOND           VA 23231
TIGGS BARTON, VALERIE L        18928 BURT RD                                                                             DETROIT            MI 48219‐2443
TIGGS BARTON, VALERIE LEEANN   18928 BURT RD                                                                             DETROIT            MI 48219‐2443
TIGGS, ADLINE Y                2153 MARY CATHERINE ST                                                                    YPSILANTI          MI 48198‐6295
TIGGS, ADLINE YVONNE           2153 MARY CATHERINE ST                                                                    YPSILANTI          MI 48198‐6295
TIGGS‐WATSON, VALENCIA R       12110 KINGSHEAD DR                                                                        FLORISSANT         MO 63033‐7826
TIGGS‐WATSON, VALENCIA RENEE   12110 KINGSHEAD DR                                                                        FLORISSANT         MO 63033‐7826
TIGH, FELICIA B                1211 JACOB DR                                                                             SEAFORD            NY 11783‐1724
TIGHE PAUL D (346539)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                               STREET, SUITE 600
TIGHE THOMAS                   2126 ELTON RD                                                                             BLOOMFIELD        NY   14469‐9514
TIGHE, ANNE                    972 CAMBRIDGE                                                                             BERKLEY           MI   48072‐1934
TIGHE, CLIFFORD V              329 BERRY ST                                                                              WOODBRIDGE        NJ   07095‐3345
TIGHE, GERI L                  12377 WEST DRIFTWOOD DRIVE                                                                BOISE             ID   83713
TIGHE, GERI L                  12377 W DRIFTWOOD DR                                                                      BOISE             ID   83713‐0025
TIGHE, JOE                     2279 SONORA DR                                                                            ARNOLD            MO   63010
TIGHE, JOHN E                  71 DALSTON RD                                                                             ROCHESTER         NY   14616‐4518
TIGHE, LILLIAN N               211 GRACE ST                                                                              DANVILLE          IL   61832‐6527
TIGHE, MELISSA R               325 ANTIOCH CHURCH RD                                                                     ALVATON           KY   42122‐9806
TIGHE, PAUL D                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                               STREET, SUITE 600
TIGHE, ROSEMARY T              APT 230                         1150 WASHINGTON BOULEVARD                                 TRENTON           NJ   08691‐3160
TIGHE, ROSEMARY T              230 WASHINGTON ST                                                                         TRENTON           NJ   08611
TIGHE, THOMAS                  2126 ELTON RD                                                                             BLOOMFIELD        NY   14469‐9514
TIGHE, THOMAS J                325 ANTIOCH CHURCH RD                                                                     ALVATON           KY   42122‐9806
TIGHT, ELAINE L                88A MAIN ST                                                                               UPTON             MA   01568‐1613
TIGNANELLI, EURA               936 E MOREHOUSE AVE                                                                       HAZEL PARK        MI   48030‐1246
TIGNANELLI, EURA J             936 E MOREHOUSE AVE                                                                       HAZEL PARK        MI   48030‐1246
TIGNANELLI, RAND J             936 EAST MOREHOUSE AVENUE                                                                 HAZEL PARK        MI   48030‐1246
TIGNER SR, HUTSON R            1428 HOCKWALT ST                                                                          DAYTON            OH   45408
TIGNER TODD CHRISTOPHER        TIGNER, TODD CHRISTOPHER        80 MONROE AVE STE G1                                      MEMPHIS           TN   38103‐2430
TIGNER TODD CHRISTOPHER        TIGNER, TODD MAX                80 MONROE AVE STE G1                                      MEMPHIS           TN   38103‐2430
TIGNER, ALVIN B                550 JODECO STATION ST                                                                     STOCKBRIDGE       GA   30281‐5871
TIGNER, BEVERLY A              317 GLEN GARY DR                                                                          MT MORRIS         MI   48458‐8912
TIGNER, BONNIE A               767 HAWICK CIRCLE                                                                         MOUNT MORRIS      MI   48458‐8718
TIGNER, BONNIE A               767 HAWICK CIR                                                                            MOUNT MORRIS      MI   48458‐8718
TIGNER, CHRIS E                4745 CRESTWICKE DR                                                                        LAKELAND          FL   33801‐9244
TIGNER, DANIEL L               5410 RIPPLEMEAD CT                                                                        GALLOWAY          OH   43119‐8387
TIGNER, DARRELL JAY            LYTAL REITER CLARK FOUNTAIN &   515 N. FLAGLER DRIVER,                                    WEST PALM BEACH   FL   33401
                               WILLIAMS                        NORTHBRIDGE CENTER ‐ 10TH
                                                               FLOOR
TIGNER, DARRELL JAY
                           09-50026-mg             Doc 7123-39    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
                                                                 Part 37 of 40 Pg 98 of 901
Name                       Address1                        Address2               Address3        Address4         City            State Zip
TIGNER, DENISE A           367 YARMOUTH LN                                                                         COLUMBUS         OH 43228
TIGNER, MARY A             PO BOX 178                                                                              FRANKENMUTH      MI 48734
TIGNER, MARYJANE E         8026 E CHAMPIONS CT             C/O PAT NEVILLE                                         WICHITA          KS 67226‐3321
TIGNER, PATRICIA           GORI JULIAN & ASSOCIATES PC     156 N MAIN ST                                           EDWARDSVILLE      IL 62025
TIGNER, RHONDA
TIGNER, RICHARD E          16300 SILVER PKWY APT 333                                                               FENTON          MI   48430‐4422
TIGNER, ROBERTA            35451 BEVERLY RD                                                                        ROMULUS         MI   48174‐1780
TIGNER, SHIRLEY G          PO BOX 16                       1836 S REESE RD                                         REESE           MI   48757‐0016
TIGNER, TIMOTHY N          4167 CHARTER OAK DR                                                                     FLINT           MI   48507‐5551
TIGNER, TODD CHRISTOPHER   BOROD & KRAMER PC               80 MONROE AVE STE G1                                    MEMPHIS         TN   38103‐2430
TIGNER, TODD MAX           BOROD & KRAMER PC               80 MONROE AVE STE G1                                    MEMPHIS         TN   38103‐2430
TIGNER, WESLIE D           5397 SHERIDAN RD                                                                        SAGINAW         MI   48601‐9357
TIGNER, WESLIE DEAN        5397 SHERIDAN RD                                                                        SAGINAW         MI   48601‐9357
TIGNONSINI, JOHN M         333 BRONX RIVER RD APT 322                                                              YONKERS         NY   10704‐3444
TIGNOR, WOODROW            1831 SOUTHERN PINE RD                                                                   SWEET WATER     AL   36782‐4054
TIHANYI, ISTVAN G          13658 BURNING TREE LN                                                                   PLYMOUTH        MI   48170‐2699
TIIA HUGHES                6618 DALE RD                                                                            NEWFANE         NY   14108‐9715
TIJERINA JR, DONATO        4155 E ROLSTON RD                                                                       LINDEN          MI   48451‐8437
TIJERINA JR, JOE P         1504 S CLINTON ST                                                                       DEFIANCE        OH   43512‐3216
TIJERINA JR, RAYMOND       1218 LAMSON ST                                                                          SAGINAW         MI   48601‐3452
TIJERINA JR., RAFAEL       8116 NW HARDEN DR                                                                       KANSAS CITY     MO   64151‐3736
TIJERINA, ALFRED           7409 ADAMS ST                                                                           DARIEN          IL   60561‐3746
TIJERINA, ALONZO           1224 E LOMA VISTA DR                                                                    TEMPE           AZ   85282‐2516
TIJERINA, DANIEL           1046 CRYSTAL WOOD DR                                                                    DAVISON         MI   48423‐3404
TIJERINA, DAVID            4741 ELDER LN                                                                           SAGINAW         MI   48604‐9536
TIJERINA, DAVID G          9 MONTEREY CT                                                                           ARCHBOLD        OH   43502‐1029
TIJERINA, DORA             2114 LINCOLN                                                                            SAGINAW         MI   48601‐3338
TIJERINA, FRED A           2895 ELMER DR                                                                           BRUNSWICK       OH   44212‐5630
TIJERINA, JIM
TIJERINA, JOSE A           2205 LINCOLN AVE                                                                        FORT WORTH      TX   76164‐8039
TIJERINA, JOSE G           198 N LINCOLN ST                                                                        ARCHBOLD        OH   43502‐1239
TIJERINA, JUAN V           6340 W 93RD PL                                                                          OAK LAWN        IL   60453‐2210
TIJERINA, MARIA E          5414 MIDCROWN DR APT 2226                                                               SAN ANTONIO     TX   78218‐6080
TIJERINA, RAFAEL           4612 W 99TH ST                                                                          OAK LAWN        IL   60453‐3134
TIJERINA, RAFAEL           4612 WEST 99TH STREET                                                                   OAK LAWN        IL   60453‐3134
TIJERINA, SIMON R          1672 MELLON WAY                                                                         SARASOTA        FL   34232‐2944
TIJERINA, SOCORRO O        602 CLEARWATER DRIVE                                                                    PERRY           MI   48872‐8764
TIJERINA, TOMASA P         910 RIVERSIDE AVE                                                                       DEFIANCE        OH   43512‐2812
TIJERINA, TOMASA P         910 RIVERSIDE                                                                           DEFIANCE        OH   43512‐2812
TIJERINO, MANUEL           16830 VENTURA BLVD STE 250                                                              ENCINO          CA   91436‐1715
TIJIDES CASTILLO           203 BALLYMORE LN                                                                        ACWORTH         GA   30102‐2486
TIKAL, VLADIMIR            12306 TIMBER MANOR DR D                                                                 CYPRESS         TX   77429
TIKEITHA C COLEMAN         5713 HORRELL RD                                                                         DAYTON          OH   45426‐‐ 21
TIKEY, BARRY D             38566 AVONDALE ST                                                                       WESTLAND        MI   48186‐3737
TIKEY, BERNICE J           38566 AVONDALE ST                                                                       WESTLAND        MI   48186‐3737
TIKEY, RICHARD H           3125 RIDGEVIEW DR                                                                       CONNELLSVILLE   PA   15425‐9727
TIKI BOBS CANTINA          ATTN: ROB WALLER                25 S SAGINAW ST                                         PONTIAC         MI   48342‐2227
TIKKANEN, DOROTHY M        32439 DOVER AVE                                                                         WARREN          MI   48088‐1319
TIKKANEN, KENNETH A        811 HAWTHORN AVE                                                                        ROYAL OAK       MI   48067‐4408
TIKKANEN, LON A            O‐6284 LAKE MICHIGAN DRIVE                                                              ALLENDALE       MI   49401
TIKKANEN, MARY A           407 ASPEN ST                                                                            ENGLEWOOD       FL   34223‐6112
TILAK GANDHI               1759 WYNGATE DR                                                                         TROY            MI   48098‐6545
                                   09-50026-mg            Doc 7123-39     Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                         Part 37 of 40 Pg 99 of 901
Name                               Address1                         Address2                     Address3   Address4              City                  State Zip
TILBE, ROBERT V                    2662 GAIL PL                                                                                   NEWFANE                NY 14108‐1134
TILBERT BICE                       PO BOX 637                                                                                     LEONARD                MI 48367‐0637
TILBERT, ARLEEN E                  15467 GALEMORE DR                                                                              MIDDLEBURG HTS         OH 44130‐3534
TILBURG, JEAN W                    3433 W 45TH ST DOWN                                                                            CLEVELAND              OH 44102‐5901
TILBURG, JEAN W                    6332 MIDLAND ST                                                                                ZEPHYRHILLS            FL 33542‐2739
TILBURY STEEL SERVICE CENTRE INC   159 QUEEN ST N                                                           TILBURY ON N0P 2L0
                                                                                                            CANADA
TILBURY, DALE A                    812 ARTHUR DR                                                                                  MIDWEST CITY          OK   73110‐2331
TILBURY, DALE ALLEN                812 ARTHUR DR                                                                                  MIDWEST CITY          OK   73110‐2331
TILBY, CLIFTON L                   6269 EAST PLACITA LOZANA                                                                       TUCSON                AZ   85750‐1218
TILCH, LYLA L                      C/O MARIE BOLDT                  P O BOX 130                                                   MARKESAN              WI   53946‐0130
TILCH, LYLA L                      PO BOX 130                       C/O MARIE BOLDT                                               MARKESAN              WI   53946‐0130
TILCHEN, MATTHEW                   123 S DORCHESTER AVE                                                                           ROYAL OAK             MI   48067‐3929
TILDA FRANCE                       310 DOROW AVE                                                                                  EDGERTON              WI   53534‐2139
TILDA LEE                          2200 SHEPARD PATRICK RD                                                                        SPENCER               IN   47460‐5692
TILDA PATRICK                      375 PLEASANTVIEW BLVD                                                                          GREENWOOD             IN   46142‐8573
TILDEN                             240 MAIN ST                                                                                    NASHUA                NH   03060‐2946
TILDEN BAUGHN                      PO BOX 224                                                                                     CAMDEN                OH   45311‐0224
TILDEN CAR CARE CTR                ATTN: DAN SVONAVEC               11701 SNOW RD                                                 CLEVELAND             OH   44130‐1019
TILDEN E BAUGHN                    P O BOX 224                                                                                    CAMDEN                OH   45311‐0224
TILDEN SANSON JR                   293 S INGLEWOOD AVE                                                                            AUSTINTOWN            OH   44515‐3933
TILDEN, ALAN D                     3219 DAKOTA AVE                                                                                FLINT                 MI   48506‐3040
TILDEN, ALICE                      74447 LARSON ROAD                                                                              RAINIER               OR   97048‐3007
TILDEN, ALICE                      74447 LARSON RD                                                                                RAINIER               OR   97048‐3007
TILDEN, DAVID M                    2307 TIMBERLEA DR                                                                              WOODBURY              MN   55125‐3004
TILDEN, DAVID MITCHELL             2307 TIMBERLEA DR                                                                              WOODBURY              MN   55125‐3004
TILDEN, EDWARD A                   PO BOX 172                                                                                     WINCHESTER            KS   66097‐0172
TILDEN, GENE A                     12380 BURT RD                                                                                  BIRCH RUN             MI   48415‐9320
TILDEN, HARLAN R                   101 KENLEY WAY                                                                                 SUN CITY CENTER       FL   33573‐5834
TILDEN, MICHAEL J                  13303 BELSAY RD                                                                                MILLINGTON            MI   48746‐9240
TILDON ALLISON                     21070 ANDOVER RD                                                                               SOUTHFIELD            MI   48076‐3189
TILES, RAFAEL                      4767 QUARTON RD                                                                                BLOOMFIELD TOWNSHIP   MI   48301‐1028
TILFORD E POWERS                   7772 US ROUTE 35 E                                                                             WEST ALEXANDRIA       OH   45381
TILFORD JOHNSON                    647 RALEIGH DR NE APT 14                                                                       MAGEE                 MS   39111‐3209
TILFORD MOORE                      4991 CECELIA ANN AVE                                                                           CLARKSTON             MI   48346‐3903
TILFORD P JOHNSON                  647 N. E. RALEIGH DR.            APT. 14                                                       MAGEE                 MS   39111
TILFORD, THOMAS J                  515 BAY DR                                                                                     LAKE ODESSA           MI   48849‐9405
TILFORD, TRACI A                   1808 RAIBLE AVE                                                                                ANDERSON              IN   46011‐4136
TILFORD, VESTA                     6305 EIDER ST                                                                                  SAN DIEGO             CA   92114
TILFORD, WALTER D                  1808 RAIBLE AVE                                                                                ANDERSON              IN   46011‐4136
TILGER, DONNA K                    1501 HIGHLAKE LN                                                                               WEATHERFORD           TX   76087
TILGER, JIMMY A                    1501 HIGHLAKE LN                                                                               WEATHERFORD           TX   76087‐8661
TILGER, VIRGINIA H                 326 ASHMORE AVE                                                                                TRENTON               NJ   08611‐3680
TILGHMAN CORNELL SR (509255)       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                    BALTIMORE             MD   21202
                                                                    CHARLES CENTER 22ND FLOOR
TILGHMAN, BEULAH FAY               2913 SIERRA DR                                                                                 FORT WORTH            TX 76116‐3915
TILGHMAN, CORNELL                  ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                     BALTIMORE             MD 21202
                                                                    CHARLES CENTER 22ND FLOOR
TILGHMAN, EUGENE C                 147 GLENWOOD AVE                                                                               YPSILANTI             MI   48198‐5928
TILGHMAN, LELAND M                 1128 TRILLIUM LN                                                                               BOWLING GREEN         KY   42104‐5560
TILGHMAN, RAMONA S                 1128 TRILLIUM LN                                                                               BOWLING GREEN         KY   42104‐5560
TILIA L KIRTLEY                    2408 ARMSTRONG DR                                                                              SIDNEY                OH   45365‐1520
                                     09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                      Part 37 of 40 Pg 100 of 901
Name                                 Address1                      Address2              Address3       Address4                City              State Zip
TILIBRA PRODUTOS DE PAPELARIA LTDA

TILIMON, JOSEPHINE                   145 OSBORNE ST                                                                             ROSSFORD          OH 43460‐1257
TILING, KOPPES
TILISHA KERSEY                       165 S OPDYKE RD LOT 116                                                                    AUBURN HILLS       MI   48326‐3163
TILISKI, DALE M                      1113 SE 4TH AVE                                                                            CAPE CORAL         FL   33990‐1523
TILISKI, GENE P                      615 BRANDT ST                                                                              GARDEN CITY        MI   48135‐2612
TILK, ELIZABETH A                    6960 W PEORIA AVE LOT 100                                                                  PEORIA             AZ   85345‐6094
TILK, MARY JEAN                      3543 SPRINGDALE DR                                                                         LAMBERTVILLE       MI   48144
TILKENS RAYMOND                      5809 LORTON AVE                                                                            DAVENPORT          IA   52807‐3528
TILL BACHLER                         DR STEINHUBEL & V BUTTLAR     LOEFFELSTRASSE 44                    70597 STUTTGART
                                     RECHTSANWALTE                                                      GERMANY
TILL BACHLER                         NASSAUISCHESTR. 23            10717 BERLIN
TILL'S GARAGE, INC.                  132 N 2ND ST                                                                               BELLEVUE          IA    52031‐1228
TILL'S GARAGE, INC.                  ARDELL TILL                   132 N 2ND ST                                                 BELLEVUE          IA    52031‐1228
TILL, BETTY C                        8 MELODY LN                                                                                CHEEKTOWAGA       NY    14225‐2460
TILL, CHARLES J                      7250 WHITE OAK CIR                                                                         PORTAGE           MI    49002
TILL, GLENN E                        1965 CHESTNUT ST                                                                           HOLT              MI    48842‐6605
TILL, HOWARD V                       4 DELMAR ST                                                                                NEW CASTLE        DE    19720‐6104
TILL, MARTHA J                       1104 BUCKSNORT RD                                                                          ASHLAND CITY      TN    37015‐5030
TILL, PAUL E                         6805 CURWOOD DR                                                                            FORT WAYNE        IN    46835‐4018
TILL, PAUL EDWARD                    6805 CURWOOD DR                                                                            FORT WAYNE        IN    46835‐4018
TILL, ROBERT W                       107 STANFILL DR                                                                            COLUMBIA          TN    38401‐6090
TILL, SARAH A                        41 CHESTNUT ST                                                                             PENNSVILLE        NJ    08070‐2055
TILL, SARAH A                        41 CHESTNUT STREET                                                                         PENNSVILLE        NJ    08070‐2055
TILL, WILLIAM C                      3250 S AVENIDA OCONOR                                                                      GREEN VALLEY      AZ    85622‐4673
TILLAGE, CARTER R                    2550 POWDERHORN RIDGE RD                                                                   ROCHESTER HILLS   MI    48309‐1335
TILLAGE, JOHN H                      1526 N MONROE ST                                                                           BALTIMORE         MD    21217‐1543
TILLAGE, KENNETH J                   2036 MCAVOY ST                                                                             FLINT             MI    48503‐4248
TILLAGE, WILLA B                     2113 KENT ST                                                                               FLINT             MI    48503‐4321
TILLARD, LEONARD G                   1467 W AVON RD                                                                             ROCHESTER HILLS   MI    48309‐3044
TILLE, LILLIAN                       7936 WASHINGTON PARK                                                                       DAYTON            OH    45459‐3651
TILLEMA SALES & SERVICE INC.         2667 84TH ST SW                                                                            BYRON CENTER      MI    49315‐5126
TILLEMA, BARBARA                     W8834 JASON DR                                                                             BEAVER DAM        WI    53916‐9787
TILLEMA, ROBERT A                    2654 PRONTO LANE                                                                           NORTH PORT        FL    34286‐2720
TILLEMAN MOTOR CO.                   4514 US HIGHWAY 2 W                                                                        HAVRE             MT    59501‐5900
TILLEMAN MOTOR CO.                   CRAIG TILLEMAN                4514 US HIGHWAY 2 W                                          HAVRE             MT    59501‐5900
TILLER CATHERS                       6689 CHAMPAGNE RD             PO BOX 351                                                   KINDE             MI    48445‐9605
TILLER JR, ALBERT W                  8540 SPENCER CT                                                                            N RIDGEVILLE      OH    44039‐4493
TILLER LARRY                         TILLER, LARRY                 PO BOX 2824                                                  SHOW LOW          AZ    85902‐2824
TILLER'S AUTOMOTIVE                  12192 BANDERA RD                                                                           HELOTES           TX    78023‐4112
TILLER, ALBERT W                     8166 OHARA DR                                                                              DAVISON           MI    48423
TILLER, ANNETTE                      17845 CHAREST ST                                                                           DETROIT           MI    48212‐1083
TILLER, BENJAMIN O                   356 REGAL DR                                                                               LAWRENCEVILLE     GA    30045‐4773
TILLER, CARL L                       14761 OLD MANSFIELD RD                                                                     MOUNT VERNON      OH    43050‐8766
TILLER, CHARLES L                    1111 WINNBROOK DR                                                                          DACULA            GA    30019‐2086
TILLER, CYNTHIA                      715 STONEWAY DRIVE                                                                         MORTON            IL    61550‐1190
TILLER, CYNTHIA D                    715 STONEWAY DRIVE                                                                         MORTON            IL    61550‐1190
TILLER, DELBERT T                    27201 6TH AVE                                                                              GOBLES            MI    49055‐9135
TILLER, DOROTHY A                    487 BAY ST                                                                                 PONTIAC           MI    48342‐1914
TILLER, GARY V                       487 BAY ST                                                                                 PONTIAC           MI    48342‐1914
TILLER, GENEVIEVE                    855 ADDISON DR NE                                                                          ST PETERSBURG     FL    33716‐3443
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                   Part 37 of 40 Pg 101 of 901
Name                             Address1                            Address2                     Address3   Address4         City               State Zip
TILLER, HORACE R                 700 SUNSET RD                                                                                ROSEDALE            VA 24280‐3569
TILLER, IDA M                    3841 GLOUCESTER ST                                                                           FLINT               MI 48503‐7001
TILLER, JENNIFER W               1778 STERLING RD                                                                             WACONIA             MN 55387‐1541
TILLER, JESSIE J                 751 EASLEY LN NW                                                                             BROOKHAVEN          MS 39601‐8321
TILLER, JOHN M                   356 REGAL DR                                                                                 LAWRENCEVILLE       GA 30045‐4773
TILLER, JUANITA                  344 TALL PINE RD                    C/O DAVID SCOTT TILLER                                   SHACKLEFORDS        VA 23156‐3069
TILLER, JUDY M                   1829 W 7TH ST                                                                                CHESTER             PA 19013‐2706
TILLER, KATIE                    479 GREENUP CT                                                                               FRANKLIN            OH 45005‐2145
TILLER, LARRY                    PO BOX 2824                                                                                  SHOW LOW            AZ 85902‐2824
TILLER, O B                      3841 GLOUCESTER ST                                                                           FLINT               MI 48503‐7001
TILLER, ROBERT F                 8817 CHEROKEE TRL                                                                            CROSSVILLE          TN 38572‐6217
TILLER, ROGER D                  6288 SPENCER CT                                                                              HUDSONVILLE         MI 49426‐8728
TILLER, RUBY M                   974 JEFFERSON CHASE WAY                                                                      BLACKLICK           OH 43004‐9160
TILLER, RUSS M                   10941 FERNHILL DR                                                                            CINCINNATI          OH 45241‐2722
TILLER, THEODORE F               50 GINGHAMSBURG RD                                                                           TIPP CITY           OH 45371‐9179
TILLER, THEODORE F               50 E GINGHAMBURG ROAD                                                                        TIPP CITY           OH 45371‐9179
TILLER, THOMAS N                 8175 GERMANTOWN PK RT #4                                                                     GERMANTOWN          OH 45327
TILLERAAS, CLARICE J             PO BOX 191                                                                                   MAHNOMEN            MN 56557
TILLERY CHEVROLET GMC, INC.      1300 CENTRAL SW                                                                              MORIARTY            NM 87035
TILLERY CHEVROLET GMC, INC.      GLEN TILLERY                        1300 CENTRAL SW                                          MORIARTY            NM 87035
TILLERY EARL (476955)            GEORGE LINDA                        151 N DELAWARE ST STE 1700                               INDIANAPOLIS        IN 46204‐2503
TILLERY JERRY                    1230 COATS BAN CERCUM                                                                        GADSDEN             AL 35901
TILLERY JR, DOUGLAS R            38 HICKORY RIDGE ST                                                                          DAVISON             MI 48423
TILLERY PONTIAC GMC BUICK, LLC   2221 AUTUMN BRUSH                                                                            LOS LUNAS           NM 87031‐9062
TILLERY PONTIAC GMC BUICK, LLC   GARY TILLERY                        2221 AUTUMN BRUSH                                        LOS LUNAS           NM 87031‐9062
TILLERY RODNEY                   TILLERY, RODNEY                     160 GAIL BV                                              MELVINDALE          MI 48122
TILLERY, ALENE                   327 N FREDERICK APT 203                                                                      CAPE GIRARDEAU      MO 63701‐5659
TILLERY, BLOSSOM V               340 ILLINOIS AVE                                                                             GIRARD              OH 44420‐3049
TILLERY, CARL A                  4513 LEMON TREE LN                                                                           GARLAND             TX 75043‐2114
TILLERY, CHARLES L               3330 E 48TH ST                                                                               INDIANAPOLIS        IN 46205‐1627
TILLERY, CHARLOTTE D             91 PALMER ST                                                                                 PONTIAC             MI 48341‐1740
TILLERY, DENNIS L                123 S MUNN AVE APT 2P                                                                        EAST ORANGE         NJ 07018‐3410
TILLERY, DOUGLAS R               1716 NORTHVIEW DR                                                                            LAPEER              MI 48446‐7634
TILLERY, EARL                    GEORGE LINDA                        151 N DELAWARE ST STE 1700                               INDIANAPOLIS        IN 46204‐2503
TILLERY, ELIZABETH D             250 OLD OAK DR                                                                               CORTLAND            OH 44410‐1122
TILLERY, FRANCES                 SHAFER DAVIS MCCOLLUM ASHLEY OLEARY PO BOX 1552                                              ODESSA              TX 79760‐1552
                                 & STOKER PC
TILLERY, GEORGE                  291 WHITTEMOIE ST                                                                            PONTIAC            MI 48340
TILLERY, GEORGE                  291 WHITTEMORE ST                                                                            PONTIAC            MI 48342‐3071
TILLERY, GLENDA LOUELLA
TILLERY, KENNETH A               2501 N 111TH TER                                                                             KANSAS CITY        KS   66109‐4479
TILLERY, LAWRENCE K              503 S MORSE ST                                                                               ROODHOUSE          IL   62082‐1520
TILLERY, LINDA C                 510 MADERA AVE                                                                               YOUNGSTOWN         OH   44504‐1335
TILLERY, LONNIE L                4935 SW 3RD AVE                                                                              CAPE CORAL         FL   33914‐7196
TILLERY, MICHAEL K               106 MEADOWBROOK ST                                                                           CARTHAGE           TX   75633‐2241
TILLERY, RODNEY                  160 GAIL BV                                                                                  MELVINDALE         MI   48122
TILLERY, ROMEY                   619 W EVERGREEN AVE                                                                          YOUNGSTOWN         OH   44511‐1540
TILLERY, SALLY L.                5927 INDIAN LANE                                                                             WEIDMAN            MI   48893‐8840
TILLERY, SIDNEY N                18970 BIG CIR DR                                                                             NOBLESVILLE        IN   46062
TILLERY, SIDNEY N                18970 BIG CIRCLE DR                                                                          NOBLESVILLE        IN   46062‐6719
TILLERY, THOMAS                  4008 12TH ST APT 3A                                                                          LONG ISLAND CITY   NY   11101‐6202
TILLERY, WINSTON L               1010 GRAND BOULEVARD                                                                         KANSAS CITY        MO   64106‐2202
                            09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                Part 37 of 40 Pg 102 of 901
Name                        Address1                         Address2                          Address3   Address4         City               State Zip
TILLERY, WOODROW W          144 COUNTRY GREEN DR                                                                           AUSTINTOWN          OH 44515‐2215
TILLETT THOMAS H (629629)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA 23510
                                                             STREET, SUITE 600
TILLETT, ROBERT L           1147 DEANWOOD RD                                                                               BALTIMORE          MD 21234‐6618
TILLETT, THOMAS H           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
TILLETT, TOM
TILLEY HORACE W (401275)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                             STREET, SUITE 600
TILLEY JAMES F (429952)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                             STREET, SUITE 600
TILLEY JAMES S (476956)     KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                 CLEVELAND          OH 44114
                                                             BOND COURT BUILDING
TILLEY JOHN E (360429)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                             STREET, SUITE 600
TILLEY JR, ROBERT F         828 94TH AVE N                                                                                 NAPLES             FL   34108‐2451
TILLEY'S CORP               TILLEY'S PIZZA HOUSE             PO BOX 374                                                    FONTANA            WI   53125‐0374
TILLEY, ANGELA L            697 MARCHAM RD                                                                                 BEL AIR            MD   21014‐6992
TILLEY, ANGELA L.M.         697 MARCHAM RD                                                                                 BEL AIR            MD   21014‐6992
TILLEY, ANSLIE W            825 BIRCHWOOD DR                                                                               FLUSHING           MI   48433‐1372
TILLEY, BRIAN M             1112 WOODLAWN AVE                                                                              ROYAL OAK          MI   48073‐5623
TILLEY, CALVIN              3155 STATE ROUTE 133                                                                           BETHEL             OH   45106‐9309
TILLEY, CANDY J             3490 E PIERSON RD                                                                              FLINT              MI   48506‐1471
TILLEY, CANDY JEAN          3490 E PIERSON RD                                                                              FLINT              MI   48506‐1471
TILLEY, DELBERT D           641 LONGFORD DR                                                                                ROCHESTER HILLS    MI   48309‐2418
TILLEY, DONALD A            2046 KENNETH DR                                                                                BAY CITY           MI   48706‐9735
TILLEY, DONNA L             8314 W SAINT LAWRENCE AVE                                                                      BELOIT             WI   53511‐9273
TILLEY, DONNA L             8314 W ST LAWRENCE RD                                                                          BELOIT             WI   53511
TILLEY, EARL T              1513 BULON DR                    C/O LUJANE TILLEY                                             CARY               NC   27518‐8836
TILLEY, EDGAR E             565 E MAIN ST                                                                                  WILLIAMSBURG       OH   45176‐1465
TILLEY, EDWARD R            697 MARCHAM RD                                                                                 BEL AIR            MD   21014‐6992
TILLEY, EFFIE I             245 JUBAKA DRIVE                                                                               FAIRVIEW HEIGHTS   IL   62208
TILLEY, EFFIE I             245 JUBAKA DR                                                                                  FAIRVIEW HEIGHTS   IL   62208‐3442
TILLEY, ERNEST N            2701 S IDAHO RD                  BOX 395 , COUNTRYSIDE RV RESORT                               APACHE JUNCTION    AZ   85219‐9271

TILLEY, GARY L              1549 W DIVISION RD                                                                             TIPTON             IN   46072‐8582
TILLEY, GEORGE E            5408 COUNCIL RING BLVD                                                                         KOKOMO             IN   46902‐5486
TILLEY, GLENN M             32805 HAWTHORNE DR                                                                             WARREN             MI   48092‐1017
TILLEY, HANLEY              1834 JERI KAY LN                                                                               SEBRING            FL   33870‐1906
TILLEY, HORACE W            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
TILLEY, JAMES E             4401 W MAPLE AVE                                                                               FLINT              MI 48507‐3127
TILLEY, JAMES E             4700 LANGE RD                                                                                  BIRCH RUN          MI 48415‐8137
TILLEY, JAMES F             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
TILLEY, JAMES S             KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                  CLEVELAND          OH 44114
                                                             BOND COURT BUILDING
TILLEY, JANET M             4420 SUNSET BLVD                                                                               GRAND BLANC        MI   48439‐9055
TILLEY, JERRY D             600 BROCKTON WAY                                                                               MELBOURNE          FL   32904‐7545
TILLEY, JERRY K             336 GROVE ST                                                                                   EVANSVILLE         WI   53536‐1016
TILLEY, JOHN E              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                           Part 37 of 40 Pg 103 of 901
Name                    Address1                        Address2                     Address3   Address4         City               State Zip
TILLEY, JOHN F          12091 DAVISON RD                                                                         DAVISON             MI 48423‐8103
TILLEY, JORETTA L       1137 WHISPER LAKE BLVD                                                                   SEBRING             FL 33870‐1247
TILLEY, JOSEPH T        186 N 600 W                                                                              ANDERSON            IN 46011‐8744
TILLEY, JOYCE S         32805 HAWTHORNE DR                                                                       WARREN              MI 48092‐1017
TILLEY, JUNIOR          1137 WHISPER LAKE BLVD                                                                   SEBRING             FL 33870‐1247
TILLEY, JUNIOR          1137 WHISPER LK BLVD N                                                                   SEBRING             FL 33870‐1247
TILLEY, KENNETH R       8314 W SAINT LAWRENCE AVE                                                                BELOIT              WI 53511‐9273
TILLEY, LAWRENCE D      4221 HOWE RD                                                                             GRAND BLANC         MI 48439‐7972
TILLEY, MARK A          223 N MAIN ST                                                                            LOUISIANA           MO 63353‐1746
TILLEY, MAVIS           3506 CATALINA LN                                                                         ARNOLD              MO 63010‐3501
TILLEY, MELVIN          5706 PRINCE GEORGE ST                                                                    BALTIMORE           MD 21207‐4778
TILLEY, PATRICK A       6630 TRANSPARENT AVE                                                                     CLARKSTON           MI 48346‐2166
TILLEY, R E             6705 TRANSPARENT AVE                                                                     CLARKSTON           MI 48346‐1653
TILLEY, RICKEY L        4500 BAYMEADOWS RD APT 135                                                               JACKSONVILLE        FL 32217‐5110
TILLEY, ROBERT D        29019 MAPLEWOOD ST                                                                       GARDEN CITY         MI 48135‐2186
TILLEY, ROBERT DANIEL   29019 MAPLEWOOD ST                                                                       GARDEN CITY         MI 48135‐2186
TILLEY, ROGER J         8078 EAST POTTER ROAD                                                                    DAVISON             MI 48423‐8112
TILLEY, RONALD R        4640 MEADOW CT                                                                           AUBURN              MI 48611‐9506
TILLEY, SALLIE L        4700 LANGE RD                                                                            BIRCH RUN           MI 48415‐8137
TILLEY, STEVEN L        913 W ELM ST                                                                             KOKOMO              IN 46901‐2643
TILLEY, SUSAN A         PO BOX 1076                                                                              BANNING             CA 92220‐0008
TILLEY, SUSIE C         186 N 600 W                                                                              ANDERSON            IN 46011‐8744
TILLEY, VERNETTA A      5706 PRINCE GEORGE ST.,                                                                  BALTIMORE           MD 21207
TILLEY, VERNETTA ANN    5706 PRINCE GEORGE ST                                                                    BALTIMORE           MD 21207‐4778
TILLEY, WAYNE R         8141 O HARA DR                                                                           DAVISON             MI 48423
TILLEY, WILLIAM B       RR 1 BOX 275                                                                             KERMIT              WV 25674‐9603
TILLEY, WILLIAM D       5402 WINSHALL DR                                                                         SWARTZ CREEK        MI 48473‐1110
TILLI ANDREW (655733)   ANGELOS PETER G                 100 N CHARLES STREET , ONE                               BALTIMORE           MD 21201
                                                        CHARLES CENTER
TILLI, ANDREW           ANGELOS PETER G                 100 N CHARLES STREET, ONE                                BALTIMORE          MD 21201‐3812
                                                        CHARLES CENTER
TILLIA, JAMES W         2563 COLUMBIA RD                                                                         WESTLAKE           OH   44145‐5505
TILLICH, FREDERICK N    PO BOX 91810                                                                             HENDERSON          NV   89009
TILLIE BARAN            5945 BERRY LN                                                                            INDIAN RIVER       MI   49749‐9487
TILLIE BAYUS            4117 SELKIRK BUSH RD                                                                     NEWTON FALLS       OH   44444‐8714
TILLIE BRAVIS           1269 CHERRY RIDGE DR SW                                                                  SUGARCREEK         OH   44681‐9333
TILLIE E WATKINS        4127 MIDDLEHURST LN                                                                      DAYTON             OH   45406‐3431
TILLIE GALANIS          2436 S BRADDOCK AVE                                                                      PITTSBURGH         PA   15218‐2268
TILLIE GALLONER         1921 E COGGINS RD                                                                        PINCONNING         MI   48650‐7491
TILLIE HARRIS           212 WESLEY DR                                                                            DESOTO             TX   75115‐6240
TILLIE JONES            354 IMAGINATION DR                                                                       ANDERSON           IN   46013‐1055
TILLIE MCPHEE           21380 PRATT ROAD                                                                         ARMADA             MI   48005‐1328
TILLIE MURAWSKI         7461 KINGSLEY DR                C/O ALBIN A MURAWSKI                                     ONSTED             MI   49265‐9582
TILLIE NOVAK            41868 KING EDWARD CT                                                                     CLINTON TOWNSHIP   MI   48038‐4530
TILLIE PIERCE           217 VILLAGE ST                                                                           MEDWAY             MA   02053‐1243
TILLIE PODULKA          7808 IRISH RD                                                                            MILLINGTON         MI   48746‐9509
TILLIE RODRIGUEZ        1406 CARRIAGE LN                                                                         SAVANNAH           TX   76227‐7698
TILLIE S GUTIERREZ      1138 NORTHVILLE DR                                                                       TOLEDO             OH   43612‐4234
TILLIE SANDEL           833 E GRAND RIVER AVE APT 28                                                             BRIGHTON           MI   48116‐2415
TILLIE SMITH            N 7698 MILLECOQUIN LAKE DR                                                               ENGADINE           MI   49827
TILLIE SMITH            12761 DOWNING ST                                                                         DETROIT            MI   48217
TILLIE STOCKWELL        303 BRAZIL CT                                                                            BRADENTON          FL   34207‐3456
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                    Part 37 of 40 Pg 104 of 901
Name                             Address1                         Address2                       Address3      Address4         City             State Zip
TILLIE STRIKA                    19669 LOCHMOOR ST                                                                              HARPER WOODS      MI 48225‐1743
TILLIE, ALICE                    PO BOX 741                                                                                     ONEONTA           AL 35121‐0009
TILLIE, WILLIAM L                607 SOUTH NEWMAN ROAD                                                                          LAKE ORION        MI 48362‐2136
TILLIMAN M BYRD                  WEITZ & LUXENBERG PC             700 BROADWAY                                                  NEW YORK CITY     NY 10003
TILLING, ALFRED J                3704 MAPLE AVE                                                                                 MCHENRY            IL 60050‐3827
TILLIS SPAULDING                 C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS        OH 44236
TILLIS, BILLY J                  PO BOX 1874                                                                                    CLEARLAKE OAKS    CA 95423‐1874
TILLIS, CARRIE M                 7709 WESTON PL                                                                                 RICHMOND HTS      MO 63117‐2018
TILLIS, CARRIE M                 7709 WESTON PLACE                                                                              RICHMOND HTS      MO 63117‐2018
TILLIS, CORA C                   4117 ASHGROVE DR                                                                               GROVE CITY        OH 43123‐3377
TILLIS, EDWARD                   7031 DARTMOUTH AVE                                                                             SAINT LOUIS       MO 63130‐2315
TILLIS, FREDRICKA R              204 S 9TH ST                                                                                   GADSDEN           AL 35903‐2411
TILLIS, OPHELIA T                4521 TRUMBULL                                                                                  FLINT             MI 48504‐3758
TILLIS, OPHELIA T                4521 TRUMBULL DR                                                                               FLINT             MI 48504‐3758
TILLIS, STEPHEN E                5621 E HASKELL LAKE RD                                                                         HARRISON          MI 48625‐8739
TILLIS, WILLIE W                 4521 TRUMBULL DR                                                                               FLINT             MI 48504‐3758
TILLISON CRAIG                   4310 MILDRED ST                                                                                BELLAIRE          TX 77401‐5206
TILLISON, JESSE                  PO BOX 57876                                                                                   NEW ORLEANS       LA 70157‐7876
TILLISON, JOHN M                 3920 N VERNON DR                                                                               MUNCIE            IN 47304‐1754
TILLISON, JOHN MAXWELL           3920 N VERNON DR                                                                               MUNCIE            IN 47304‐1754
TILLMAN ALEX RAY                 6008 MAPLEBROOK LANE                                                                           FLINT             MI 48507‐4137
TILLMAN ALICIA RAMIREZ           TILMAN, ALICIA RAMIREZ           16855 WEST BERNARDO DRIVE SUITE                               SAN DIEGO         CA 92127
                                                                  380
TILLMAN AUTOMOTIVE GROUP INC     DBA GREAT RIVER OLDS NISSAN      264 DEVEREAUX DR                GMC TRUCKS                    NATCHEZ          MS   39120‐3752
TILLMAN AUTOMOTIVE GROUP, INC.   ANN TILLMAN                      264 DEVEREAUX DR                                              NATCHEZ          MS   39120‐3752
TILLMAN B GRIFFITH               4141HAMILTON EATON HWY           LOT 91                                                        HAMILTON         OH   45011‐‐ 96
TILLMAN BRAGG JR                 4066 CANEY CREEK LN                                                                            CHAPEL HILL      TN   37034‐2075
TILLMAN CAPES                    2201 TRILLECK DR NW                                                                            KENNESAW         GA   30152‐5828
TILLMAN COUNTY TREASURER         PO BOX 986                                                                                     FREDERICK        OK   73542‐0986
TILLMAN GRIFFITH                 4141 HAMILTON EATON RD LOT 91                                                                  HAMILTON         OH   45011‐9648
TILLMAN HALE                     PO BOX 65                                                                                      COURTLAND        AL   35618‐0065
TILLMAN HARRIS                   1020 BRETTON RD                                                                                LANSING          MI   48917‐2017
TILLMAN HAY                      12561 TAYLOR RD                                                                                PLAIN CITY       OH   43064‐9052
TILLMAN III, JAMES T             3729 BOSK LANE                                                                                 COLLEGE GROVE    TN   37046‐9318
TILLMAN III, JAMES T             3729 BOSK LN                                                                                   COLLEGE GROVE    TN   37046‐9318
TILLMAN JR, CORNELIOUS           712 BISHOPSGATE RD                                                                             ANTIOCH          TN   37013‐1778
TILLMAN JR, ELISHA               PO BOX 1811                                                                                    SAGINAW          MI   48605‐1811
TILLMAN JR, LIONEL               PO BOX 141184                                                                                  DETROIT          MI   48214‐6084
TILLMAN JR, PHILLIP D            2190 N IRISH RD                                                                                DAVISON          MI   48423‐9573
TILLMAN LADDIE VON (636618)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA   23510
                                                                  STREET, SUITE 600
TILLMAN LIGGINS JR               4109 WEST WILCOX STREET APT. 1                                                                 CHICAGO          IL   60624
TILLMAN MCGUIRE                  5145 CRESCENT RIDGE DR                                                                         CLAYTON          OH   45315‐9679
TILLMAN MCKELLER JR              1101 W 5TH ST                                                                                  HATTIESBURG      MS   39401‐3331
TILLMAN MOSLEY                   322 ADELITE AVE                                                                                DAYTON           OH   45408‐1206
TILLMAN STEWART                  77 BRUCE PARK DR                                                                               TRENTON          NJ   08618‐5109
TILLMAN THOMAS M (346602)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA   23510
                                                                  STREET, SUITE 600
TILLMAN WHALEY                   516 HOPE DR                                                                                    SAINT PETERS     MO   63376‐4804
TILLMAN WILLIAMS                 23815 SUPERIOR RD                                                                              TAYLOR           MI   48180‐4664
TILLMAN, ADRIENNE D              7418 FLORISSANT RD                                                                             NORMANDY         MO   63121‐4839
TILLMAN, ALBERT W                3515 MICHAEL CLAY DR.                                                                          JACKSON          MS   39213‐5124
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                           Part 37 of 40 Pg 105 of 901
Name                   Address1                               Address2                      Address3   Address4         City               State Zip
TILLMAN, ALEX R        6008 MAPLEBROOK LN                                                                               FLINT               MI 48507‐4137
TILLMAN, ALEX RAY      6008 MAPLEBROOK LANE                                                                             FLINT               MI 48507‐4137
TILLMAN, ALFRED        5812 N ROCKINGHAM LN                                                                             MC CORDSVILLE       IN 46055‐6019
TILLMAN, ANN IRENE     PORTER & MALOUF PA                     4670 MCWILLIE DR                                          JACKSON             MS 39206‐5621
TILLMAN, BLANCHE E     PO BOX 521                                                                                       LINDEN              MI 48451‐0521
TILLMAN, CATHERINE     1458 NW 40TH ST                                                                                  LAWTON              OK 73505‐3601
TILLMAN, CATHERINE     1458 N W 40TH ST                                                                                 LAWTON              OK 73505‐3601
TILLMAN, CHARLES H     247 ORIOLE DR                                                                                    BATTLE CREEK        MI 49037‐1025
TILLMAN, CHARLES W     PO BOX 654                                                                                       PEARL RIVER         LA 70452‐0654
TILLMAN, CHARLEY R     PO BOX 270295                                                                                    KANSAS CITY         MO 64127‐0295
TILLMAN, CHERYL Y      5228 LEXINGTON AVE                                                                               SAINT LOUIS         MO 63115‐1131
TILLMAN, CLARA E       72 DASHER AVE                                                                                    BEAR                DE 19701
TILLMAN, CLIFFORD T    1822 SILVER AVE SE                                                                               GRAND RAPIDS        MI 49507‐2766
TILLMAN, DON E         3413 TULIP DR                                                                                    BRIDGEPORT          MI 48722‐9540
TILLMAN, DONALD E      4816 TAYLORSVILLE RD                                                                             DAYTON              OH 45424‐2445
TILLMAN, DWIGHT H      5581 WENDSBURY DR                                                                                TROTWOOD            OH 45426‐1115
TILLMAN, EMMA J        34275 PINEWOODS CIR APT 102                                                                      ROMULUS             MI 48174‐8206
TILLMAN, EMMA J        34275 PINEWOODS CIR                    APT 102                                                   ROMULUS             MI 48174‐8206
TILLMAN, ERNEST        8611 MAXWELL ST                                                                                  DETROIT             MI 48213‐2170
TILLMAN, EUGENIA H     702 DELAWARE AVE                                                                                 YOUNGSTOWN          OH 44510‐1247
TILLMAN, FRANK A       1715 W GENESEE AVE                                                                               SAGINAW             MI 48602‐4934
TILLMAN, FRED S        18249 LAUDER ST                                                                                  DETROIT             MI 48235‐2736
TILLMAN, FREDDIE M     6008 MAPLEBROOK LN                                                                               FLINT               MI 48507‐4137
TILLMAN, GEORGE P      APT 5602                               5001 SOUTHWEST 20TH STREET                                OCALA               FL 34474‐8702
TILLMAN, GERALD A      3729 N WEST BRANCH DR                                                                            GLADWIN             MI 48624‐7934
TILLMAN, GERALD D      5007 NE 42ND ST                                                                                  KANSAS CITY         MO 64117‐2011
TILLMAN, GLADYS J      49061 S INTERSTATE 94 SERVICE DR APT                                                             BELLEVILLE          MI 48111‐1835
                       205
TILLMAN, GLADYS J      49061 S I 94 SERVICE DR                APT 205                                                   BELLEVILLE         MI   48111‐1835
TILLMAN, GLORIA J      18220 MURRAY HILL ST                                                                             DETROIT            MI   48235‐3164
TILLMAN, HAROLD        PORTER & MALOUF PA                     4670 MCWILLIE DR                                          JACKSON            MS   39206‐5621
TILLMAN, HAROLD L      19580 STRASBURG ST                                                                               DETROIT            MI   48205‐1632
TILLMAN, HATTIE M      P.O. BOX 122 STATE                                                                               BRIDGEPORT         MI   48722
TILLMAN, HAZEL L       249 MCLEAN                                                                                       HIGHLAND PARK      MI   48203‐3311
TILLMAN, HAZEL L       249 MCLEAN ST                                                                                    HIGHLAND PARK      MI   48203‐3311
TILLMAN, HOLLY M       N1125 LAKE DR                                                                                    EDGERTON           WI   53534‐9135
TILLMAN, HOLLY MARIE   N1125 LAKE DR                                                                                    EDGERTON           WI   53534‐9135
TILLMAN, JOAN          1715 W GENESEE AVE                                                                               SAGINAW            MI   48602‐4934
TILLMAN, JOHN          34275 PINEWOODS CIR APT 102                                                                      ROMULUS            MI   48174‐8206
TILLMAN, JOHN          PO BOX 8235                                                                                      DETROIT            MI   48208‐0235
TILLMAN, JOHN W        4456 LAKESHORE DR                                                                                SHREVEPORT         LA   71109‐3033
TILLMAN, JOHNELL       PO BOX 6172                                                                                      EAST SAINT LOUIS   IL   62202‐6172
TILLMAN, JOSEPHINE M   30456 OLD HIGHWAY 41                                                                             OKOLONA            MS   38860‐9444
TILLMAN, JOSEPHINE M   30456 OLD HWY 41                                                                                 OKOLONA            MS   38860‐9444
TILLMAN, JULIUS        1681 MCALPINE DR                                                                                 MOUNT MORRIS       MI   48458‐2356
TILLMAN, JUNE R        261 BONDALE                                                                                      PONTIAC            MI   48341‐2721
TILLMAN, JUNE R        261 BONDALE AVE                                                                                  PONTIAC            MI   48341‐2721
TILLMAN, KENNETH D     4276 US HIGHWAY 441 S                                                                            OKEECHOBEE         FL   34974‐6255
TILLMAN, LADDIE VON    GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
TILLMAN, LAMAR         17524 HEYDEN ST                                                                                  DETROIT            MI 48219‐3457
TILLMAN, LAURA         PO BOX 2195                                                                                      FLORISSANT         MO 63032‐2195
                                   09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                         Part 37 of 40 Pg 106 of 901
Name                               Address1                           Address2                      Address3   Address4         City            State Zip
TILLMAN, LAVENDA                   125 BLUE RIDGE DR                                                                            STATESBORO       GA 30458‐7004
TILLMAN, LEVERT                    553 PAULA COURT                                                                              COLUMBUS         GA 31907‐5264
TILLMAN, LUCIOUS                   240 DICK AVENUE                                                                              PONTIAC          MI 48341‐1800
TILLMAN, LUCIOUS                   192 FERRY ST                                                                                 PONTIAC          MI 48341‐3211
TILLMAN, MARGARET R                5812 N ROCKINGHAM LN                                                                         MC CORDSVILLE    IN 46055‐6019
TILLMAN, MARY E                    502 WHITMORE AVE                                                                             DAYTON           OH 45417‐1250
TILLMAN, MARY E                    502 WHITEMORE AVE                                                                            DAYTON           OH 45417‐1250
TILLMAN, MICHEAL J                 2722 SIMMONS DR                                                                              SACHSE           TX 75048‐4349
TILLMAN, MILFORD H                 2152 SHADY POND DRIVE                                                                        CLOVER           SC 29710‐7027
TILLMAN, NATHANIEL                 1657 ROYCE AVE                                                                               BELOIT           WI 53511‐3611
TILLMAN, NOHR F                    173 CHOPIN ST                                                                                TROY             MI 48083‐1716
TILLMAN, OTIS C                    PO BOX 134                                                                                   BUFFALO          NY 14209‐0134
TILLMAN, RANDY                     4905 ARROWHEAD DR                                                                            KETTERING        OH 45440‐2119
TILLMAN, RAY                       8200 PINES RD APT 1202                                                                       SHREVEPORT       LA 71129‐4424
TILLMAN, REGINA                    1624 ELIZARDI BLVD                                                                           NEW ORLEANS      LA 70114‐3010
TILLMAN, RICHARD W                 19104 BOERGER RD                                                                             MARYSVILLE       OH 43040‐9050
TILLMAN, ROBERT                    PO BOX 645                                                                                   LILESVILLE       NC 28091‐0645
TILLMAN, RONNIE                    231 MILLICENT AVE                                                                            BUFFALO          NY 14215‐2984
TILLMAN, ROSALIND R                P O BOX 1811                                                                                 SAGINAW          MI 48605‐1811
TILLMAN, ROY                       3265 RAMOND ST APT 2                                                                         SAGINAW          MI 48601
TILLMAN, RUTH L                    PO BOX 49093                                                                                 DAYTON           OH 45449‐0093
TILLMAN, STELLA L                  2943 BARTH ST                                                                                FLINT            MI 48504‐3051
TILLMAN, THOMAS                    PO BOX 141184                                                                                DETROIT          MI 48214‐6084
TILLMAN, THOMAS C                  16416 E 49TH TER S                                                                           INDEPENDENCE     MO 64055‐6349
TILLMAN, THOMAS I                  1824 RUSSELL J TILLMAN RD                                                                    EDWARDS          MS 39066‐9104
TILLMAN, THOMAS I                  1824 RUSSELL J. TILLMAN                                                                      EDWARDS          MS 39066‐9104
TILLMAN, THOMAS M                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                                      STREET, SUITE 600
TILLMAN, TOMMY                     2403 9TH AVE S                                                                               BIRMINGHAM       AL   35205‐2323
TILLMAN, TONIK
TILLMAN, VERA I                    5001 SW 20TH ST APT 5602                                                                     OCALA           FL    34474
TILLMAN, VICTOR G                  3316 STONEGATE DR                                                                            FLINT           MI    48507‐2119
TILLMAN, VIOLET                    18495 MANOR                                                                                  DETROIT         MI    48221‐1942
TILLMAN, VIOLET                    18495 MANOR ST                                                                               DETROIT         MI    48221‐1942
TILLMAN, WILLARD                   BOONE ALEXANDRA                    205 LINDA DR                                              DAINGERFIELD    TX    75638‐2107
TILLMAN, WILMA E.                  17167 BONSTELLE AVENUE                                                                       SOUTHFIELD      MI    48075‐3470
TILLMAN,DAVID                      11603 FULLER AVE                                                                             KANSAS CITY     MO    64134‐3726
TILLMAN‐WILLIAMS, CLAUDIA A        11187 ROSSITER ST                                                                            DETROIT         MI    48224‐1627
TILLMANN, JOHN                     4047 HALFMOON BAY DR                                                                         LAS VEGAS       NV    89115‐1288
TILLMON JR, JIM A                  2943 BARTH ST                                                                                FLINT           MI    48504‐3051
TILLMON, BENNIE R                  370 EASTON CIR                                                                               BOWLING GREEN   KY    42101‐0753
TILLMON, BENNIE RUSSELL            370 EASTON CIR                                                                               BOWLING GREEN   KY    42101‐0753
TILLMON, HELEN                     607 COLORADO                                                                                 PONTIAC         MI    48341‐2524
TILLMON, PATRICIA A                370 EASTON CIR                                                                               BOWLING GREEN   KY    42101‐0753
TILLMON, PATRICIA ANN              370 EASTON CIR                                                                               BOWLING GREEN   KY    42101‐0753
TILLMON, ROBBIN D                  3429 OSAGE ST                                                                                SAINT LOUIS     MO    63118‐4211
TILLMON, TOMMY R                   1028 MEANDERING WAY                                                                          FRANKLIN        TN    37067‐4042
TILLMON‐CLAVON, FELICIA L          8757 ZIEGLER ST                                                                              TAYLOR          MI    48180‐2908
TILLMON‐JONES, DREAMALEE P         56 BRIGHTON ST                                                                               HIGHLAND PARK   MI    48203‐2537
TILLMON‐JONES, DREAMALEE PHYLLIS   56 BRIGHTON ST                                                                               HIGHLAND PARK   MI    48203‐2537
TILLOCK, PAULINE M                 3255 HOLIDAY VIEW DR                                                                         TRAVERSE CITY   MI    49686‐3935
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                   Part 37 of 40 Pg 107 of 901
Name                            Address1                        Address2                        Address3   Address4                 City                State Zip
TILLOTSON CLIFFORD E (448259)   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                       CLEVELAND            OH 44114
                                                                BOND COURT BUILDING
TILLOTSON ENVIRONMENTAL         101 W CASS ST STE C                                                                                 SAINT JOHNS         MI 48879‐0016
OCCUPATIONAL CONSULTING
TILLOTSON LLOYD (497952)        THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                                BOSTON              MA   02110‐2104
TILLOTSON LLOYD (666582)        THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                                BOSTON              MA   02110‐2104
TILLOTSON, BARBARA J            598 ROSA LINDA WAY                                                                                  SANTA BARBARA       CA   93111‐1523
TILLOTSON, CLIFFORD E           KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                        CLEVELAND           OH   44114
                                                                BOND COURT BUILDING
TILLOTSON, FRANCIS E            598 ROSA LINDA WAY                                                                                  SANTA BARBARA       CA   93111‐1523
TILLOTSON, HARRY T              3011 MAPLEWOOD DR                                                                                   FORT GRATIOT        MI   48059‐2834
TILLOTSON, IRIS L               16 FENWICK LN                                                                                       GREENVILLE          SC   29617‐1405
TILLOTSON, LLOYD                THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                                BOSTON              MA   02110‐2104
TILLOTSON, NETTIE E             484 LINDA VISTA DR                                                                                  PONTIAC             MI   48342‐1743
TILLOTSON, RICHARD              5338 STARWOOD DR                                                                                    COMMERCE TOWNSHIP   MI   48382‐1133
TILLOTSON, ROGER L              4025 W COURT ST                                                                                     FLINT               MI   48532‐5023
TILLOTSON, STEPHEN A            5S470 SCOTS DR APT G                                                                                NAPERVILLE          IL   60563
TILLOTTSON, VERLO A             1521 WOODHILL CT                SOUTH WEST                                                          WYOMING             MI   49509
TILLOTTSON, VERLO A             1521 WOODHILL CT SW                                                                                 WYOMING             MI   49509
TILLSON, CELESTINE L            850 A1A BEACH BLVD UNIT 78                                                                          ST AUGUSTINE        FL   32080‐6952
TILLSON, MATTHEW W              1018 LONG REACH DR                                                                                  TIKI ISLAND         TX   77554‐6162
TILLSON, NORMAN C               918 BRANCH RD                                                                                       THOMASTON           CT   06787‐1069
TILLSON, ROBERT D               503 N WICKSHIRE LN                                                                                  DURAND              MI   48429‐1429
TILLSON, ROSEMARY               5191 CRESCENT HILL                                                                                  CANANDAIGUA         NY   14424‐8241
TILLY BROMMER                   4512 NW 45TH CT                                                                                     TAMARAC             FL   33319‐3867
TILLY, DOUGLAS C                7886 INGLEWOOD DR                                                                                   CLAY                MI   48001‐3019
TILLY, GERALD N                 7533 COLONY DR                                                                                      CLAY                MI   48001‐4135
TILLY, NORMAN O                 1574 GOLDEN GATE CT                                                                                 SAINT CLAIR         MI   48079‐3506
TILLY, RONALD C                 7244 SAINT CLAIR AVE                                                                                FAIR HAVEN          MI   48023‐2529
TILLY, THELMA B                 81 PROSPECT AVE                                                                                     WHITE PLAINS        NY   10607‐1651
TILLY, THOMAS                   7906 ANCHOR BAY DR                                                                                  CLAY                MI   48001‐3002
TILLYER, SHIRLEY J              2108 JO DEAN CT NE                                                                                  GRAND RAPIDS        MI   49505‐7133
TILMA, NORMAN T                 3972 PIUTE DR SW                                                                                    GRANDVILLE          MI   49418‐2473
TILMAN BOLDEN                   10901 BURNT MILL RD 509                                                                             JACKSONVILLE        FL   32256‐2849
TILMAN CHAFFIN                  216 MINTON DR                                                                                       BAXTER              TN   38544‐3538
TILMAN DANTZLER JR              3724 WASHINGTON AVE                                                                                 KANSAS CITY         KS   66102‐2219
TILMAN GILPIN                   12981 JAMESTOWN AVE NW                                                                              UNIONTOWN           OH   44685‐8274
TILMAN GREENE                   4925 MAYFAIR ST                                                                                     DEARBORN HTS        MI   48125‐3021
TILMAN NICHOLS                  150 THURMAN ST                                                                                      SPRINGHILL          LA   71075‐4517
TILMAN SANWICK                  709 N MAIN ST                                                                                       VIROQUA             WI   54665‐1122
TILMAN SHANNON                  795 FORREST CIR SE                                                                                  ATLANTA             GA   30354‐2534
TILMAN, JAISON                  2616 OLD CHARLESTON RD                                                                              GEORGETOWN          SC   29440‐4312
TILMAN, MADGELINE               11375 CHEYENNE ST                                                                                   DETROIT             MI   48227‐3776
TILMAN, TYRE                    11375 CHEYENNE ST                                                                                   DETROIT             MI   48227‐3776
TILMANN CREMER                  OBERE KIRCHSTRA▀E 3             D‐ 99991 GROSSENGOTTERN                                                                 DE
TILMANN CREMER                  OBERE KIRCHSTRA▀E 3             D 99991 GROSSENGOTTERN
TILMANN HERBOLSHEIMER           HERMANN HESSE WEG 7                                                        75015 BRETTEN, GERMANY
TILMANT, FERNANDE               1426 KEPPEN BLVD                                                                                    LINCOLN PARK        MI   48146‐1619
TILMON BARGO                    828 SAM PARKER RD                                                                                   GRAY                KY   40734‐6780
TILMON BASSHAM                  1272 SUNRISE RD                                                                                     SALEM               AR   72576‐9395
TILMON HELTON                   1385 PINE AVENUE                                                                                    N FT MYERS          FL   33917‐3434
TILMON HELTON                   1370 PINE AVE                                                                                       N FT MYERS          FL   33917‐3435
                            09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                Part 37 of 40 Pg 108 of 901
Name                        Address1                         Address2                      Address3   Address4         City              State Zip
TILMON HICKS JR             1708 S INDIANA AVE                                                                         KOKOMO             IN 46902‐2062
TILMON SWINNEY              1363 BRADY AVE                                                                             BURTON             MI 48529‐2009
TILMON, CHARLIE             3436 CLARKE BLVD                                                                           SHREVEPORT         LA 71109‐7108
TILMON, DOROTHY J           10917 NOTTINGHAM RD                                                                        DETROIT            MI 48224‐1786
TILMON, DORRIS L            18487 ALBION ST                                                                            DETROIT            MI 48234‐3803
TILNEY, WILLIAM A           1403 HORSESHOE HIKE                                                                        DOWNINGTOWN        PA 19335
TILO SONDERGELD             SCHWERTSTRASSE 47                42651 SOLINGEN
TILOT, EVELYN LOUISE        11310 DAISY LN                                                                             SAGINAW           MI   48609‐9443
TILOT, JOSEPH A             15277 CAMPBELL RD                                                                          DEFIANCE          OH   43512‐8833
TILOVE, ROBERT B            769 SNOWMASS DR                                                                            ROCHESTER HILLS   MI   48309‐1326
TILOW, ELLEN C              3338 COBBS CIR                                                                             PALM HARBOR       FL   34684‐1745
TILSK, NORMA J              6724 LARCHMONT AVE                                                                         NEW PORT RICHEY   FL   34653‐5925
TILSON BUSTER L (342261)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                             STREET, SUITE 600
TILSON JR, ALBERT W         1703 ATLANTA RD                                                                            GRIFFIN           GA   30223
TILSON JR, THOMAS           1430 ISTED RD                                                                              GLEN BURNIE       MD   21060‐7407
TILSON, ARLENE M            3450 MILLER RD                                                                             PERRY             MI   48872‐8739
TILSON, ARLENE M            3450 W MILLER RD                                                                           PERRY             MI   48872‐8739
TILSON, BARBARA A           16203 PARK LAKE RD                                                                         EAST LANSING      MI   48823‐9480
TILSON, BARBARA L           8115 ERWIN HWY                                                                             CHUCKEY           TN   37641‐6405
TILSON, BUSTER L            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
TILSON, DUANE B             2185 BELLE MEADE DRIVE                                                                     DAVISON           MI   48423‐2059
TILSON, GARY A              PO BOX 9022                      SHANGHAI                                                  WARREN            MI   48090‐9022
TILSON, GARY H              16203 PARK LAKE RD                                                                         EAST LANSING      MI   48823
TILSON, GERALD R            138 ASHLEY CIR                                                                             SWARTZ CREEK      MI   48473‐1176
TILSON, JAMES B             4835 E EDGEWOOD AVE                                                                        INDIANAPOLIS      IN   46237‐2506
TILSON, LAURA L             138 ASHLEY CIR                                                                             SWARTZ CREEK      MI   48473‐1176
TILSON, MARGIE A            705 GREENFIELD DRIVE                                                                       LIVINGSTON        TN   38570‐1305
TILSON, THOMAS E            1430 ISTED RD                                                                              GLEN BURNIE       MD   21060‐7407
TILSON, VIRGINIA A          3085 N GENESEE RD #106                                                                     FLINT             MI   48506‐2190
TILT, FROST                 PO BOX 87                                                                                  MONROE            CT   06468‐0087
TILTMAN, JOSEPH K           304 CENTER ST                                                                              HOLLY             MI   48442‐1711
TILTON & ASSOCIATES INC     204 E WASHINGTON ST                                                                        ANN ARBOR         MI   48104‐2008
TILTON AUTOMOTIVE, L.L.C.   JUDITH TILTON                    566 US HIGHWAY 46                                         DENVILLE          NJ   07834
TILTON CHARLES (625223)     BRAYTON PURCELL                  PO BOX 6169                                               NOVATO            CA   94948‐6169
TILTON POLICE DEPT          ATTN: STEVEN CORNETT             1001 TILTON RD                                            TILTON            IL   61833‐7100
TILTON VILLAGE CLERK        ATTN: DAVID PHILLIP              1001 TILTON RD                                            TILTON            IL   61833‐7100
TILTON VILLAGE MAYOR        ATTN: DAVID PHILLIPS             1001 TILTON RD                                            TILTON            IL   61833‐7100
TILTON WEINSTEIN            12959 W RINCON DR                                                                          SUN CITY WEST     AZ   85375
TILTON, AMANDA D            303 E PEASE AVE                                                                            WEST CARROLLTON   OH   45449‐1355
TILTON, CARL F              6317 ASA EASTWOOD                                                                          CICERO            NY   13039‐7913
TILTON, CECELIA L           33 HYDE PARK                                                                               LOCKPORT          NY   14094‐4719
TILTON, CHARLES             BRAYTON PURCELL                  PO BOX 6169                                               NOVATO            CA   94948‐6169
TILTON, DALE E              18 EBB DR                                                                                  BURNSIDE          KY   42519‐9183
TILTON, DANIEL R            185 WEST AVE                                                                               LOCKPORT          NY   14094‐4240
TILTON, DAVID C             4454 SUTTON RD                                                                             BRITTON           MI   49229‐8716
TILTON, DEBORAH A           824 PLANK RD                                                                               AVERILL PARK      NY   12018‐5520
TILTON, DONALD R            7915 E PARKER RD                                                                           LAINGSBURG        MI   48848‐9657
TILTON, GILBERT J           711 ANDERSON ST                                                                            TRENTON           NJ   08611‐1135
TILTON, JEFFREY D           1898 LEXINGTON AVE                                                                         MANSFIELD         OH   44907‐2911
TILTON, JEFFREY D.          1898 LEXINGTON AVE                                                                         MANSFIELD         OH   44907‐2911
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                        Part 37 of 40 Pg 109 of 901
Name                                   Address1                        Address2                      Address3     Address4            City               State Zip
TILTON, JOHN A                         268 NONSUCH LN                                                                                 MERRITT             NC 28556‐9742
TILTON, JOHN J                         704 W BURBANK AVE                                                                              JANESVILLE          WI 53546‐3163
TILTON, JOHN L                         380 CORAL DR                                                                                   HIAWATHA             IA 52233‐1020
TILTON, JOSEPH E                       206 HEMLOCK DR                                                                                 NEPTUNE             NJ 07753‐3323
TILTON, MARCIA                         4454 SUTTON RD                                                                                 BRITTON             MI 49229‐8716
TILTON, MARTHA D                       5908 QUAIL RUN DR                                                                              INDIANAPOLIS        IN 46237‐2723
TILTON, MARY C                         50785 JEFFERSON APT #116                                                                       NEW BALTIMORE       MI 48047
TILTON, RAYMOND B                      1863 S SIXSHOOTER RD                                                                           APACHE JCT          AZ 85219‐9322
TILTON, RAYMOND C                      2300 SE 174TH CT                                                                               SILVER SPRINGS      FL 34488‐6050
TILTON, VIRGINIA                       3297 PEBBLE BEACH RD                                                                           GROVE CITY          OH 43123‐8924
TILTON, WILLIAM H                      33 HYDE PARK                                                                                   LOCKPORT            NY 14094‐4719
TIM
TIM                                    1885 N JEFFERSON ST                                                                            HUNTINGTON         IN    46750‐1344
TIM & JAY'S                            1320 E MAIN ST                                                                                 LITTLE CHUTE       WI    54140‐2339
TIM A BROCK                            4462 HURON ST                                                                                  DEARBORN HEIGHTS   MI    48125‐2924
TIM A HOOVER                           54 KNOLLBROOK ROAD #26                                                                         ROCHESTER          NY    14610‐2162
TIM A WYLIE                            2117 OKLAHOMA AVE                                                                              FLINT              MI    48506‐2888
TIM ADAMS                              3069 SW 92ND ST                                                                                OKLAHOMA CITY      OK    73159‐6561
TIM ADAMS
TIM ALLEN                              11152 PRESTWICK DR                                                                             LANSING            MI 48917‐8873
TIM ALLISON                            2201 TWIN PEAKS CT                                                                             SPRING HILL        TN 37174‐2338
TIM ALLOWAY
TIM ALLRED'S COLLISION CTR             ATTN: TIM ALLRED                1400 W 29TH ST                                                 ANDERSON           IN    46016‐6005
TIM AMATO                              605 ANGEL CT                                                                                   CHARLOTTE          MI    48813‐3111
TIM AMDAHL AUTOMOTIVE, INC.            TIMOTHY AMDAHL                  2500 HIGHWAY 61 W                                              RED WING           MN    55066‐1472
TIM AND MARGOT HILL                    TIM HILL                        12716 6TH AVE NW                                               SEATTLE            WA    98177
TIM ARTHUR                             2698 N SHULER RD                                                                               PARAGON            IN    46166‐9454
TIM ARVIN                              300 SHAWSWICK STATION RD                                                                       BEDFORD            IN    47421‐3464
TIM BAKER                              7613 NORTHVIEW LANE                                                                            LISBON             OH    44432‐8475
TIM BARRON                             10206 VAN VLEET RD                                                                             GAINES             MI    48436‐9780
TIM BAUER                              2616 ODETTE ST                                                                                 PITTSBURGH         PA    15227
TIM BENT, BRIDGESTONE/ FIRESTONE, INC. 50 CENTURY BLVD.                                                                               BRENTWOOD          TN    37027

TIM BLACK                            15007 RHODES CIR                                                                                 LENEXA              KS   66215‐6119
TIM BLUMER
TIM BOOSEY                           1040 ALPINE DR                                                                                   BRIGHTON           MI    48116‐1774
TIM BOVEE                            4527 W HIBBARD RD                                                                                OWOSSO             MI    48867‐9279
TIM BRADY                            998 N 4TH ST                                                                                     CHESANING          MI    48616‐1056
TIM BRITSCH                          706 S RIVER ST                                                                                   CLOVERDALE         OH    45827‐9575
TIM BROCK                            4462 HURON ST                                                                                    DEARBORN HEIGHTS   MI    48125‐2924
TIM BROSSMANN                        SCHUBERTSTR 3                                                                91126 SCHWABACH
                                                                                                                  GERMANY
TIM BROWN
TIM BUCKALEW                         3233 S COUNTY ROAD 350 E                                                                         KOKOMO             IN    46902
TIM BUCKLEY                          BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS.        OH    44236
TIM BURT                             138 EAST LYNN                                                                                    POMEROY            WA    99347
TIM CALL                             410 WILLIAMS ST                                                                                  DEFIANCE           OH    43512‐2839
TIM CARL BUCKINGHAM                  ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD           PO BOX 521                       EAST ALTON         IL    62024
                                     GIANARIS ANGELIDES & BARNERD LLC

TIM CARROLL
TIM CARROLL                          394 LEOTA BLVD                                                                                   WATERFORD          MI 48327‐3637
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                      Part 37 of 40 Pg 110 of 901
Name                            Address1                           Address2                   Address3          Address4         City            State Zip
TIM CARTER                      19357 E. BAGLEY RD. C302                                                                         CLEVELAND        OH 44130
TIM CARY                        377 HILLSIDE AVE                                                                                 ROANOKE          IN 46783‐8815
TIM CHOI
TIM CHUTE                       1091 SNEAD DR                                                                                    TROY            MI   48085‐3316
TIM CLARK                       1426 GREAT WARRIOR DR                                                                            O FALLON        MO   63366‐3751
TIM CLEMENS                     2051 FOREST DR                                                                                   LAPEER          MI   48446‐9426
TIM COUCH                       3 WILLIAM PENN SQ                                                                                NEW CASTLE      DE   19720‐3613
TIM CRAGO                       72 MYERS FARM CT                                                                                 SPRINGBORO      OH   45066‐2405
TIM CUTSHALL                    658 MANSION RD                                                                                   WINFIELD        MO   63389‐2027
TIM DENTON                      1820 CARLISLE HWY                                                                                CHARLOTTE       MI   48813‐8512
TIM DICKERHOFF                  955 DEWAYNE DR                                                                                   FLORISSANT      MO   63031‐4341
TIM DOTSON                      1610 CARTER DR                                                                                   MANSFIELD       OH   44906‐3602
TIM E LEWIS                     6648 CONWAY DR                                                                                   ENON            OH   45323
TIM EDGERTON                    828 LAKEVIEW DR                                                                                  LAKE ODESSA     MI   48849‐1293
TIM ERBER                       5278 DUFFIELD RD                                                                                 SWARTZ CREEK    MI   48473‐8602
TIM ERIN RESSLER                14724 CEARFOSS PIKE                                                                              HAGERSTOWN      MD   21740
TIM FARRAR                      6815 VILLAGE SQUARE DR                                                                           HAZELWOOD       MO   63042‐3317
TIM FERNHOLZ
TIM FINTON                      17 EASTWOOD DR                                                                                   MILAN           OH   44846‐9531
TIM FLEWELLING                  4174 CHARTER OAK DR                                                                              FLINT           MI   48507‐5550
TIM FREEMAN PERFORMANCE         964 RIVERSIDE RD                                                                                 MONTGOMERY      AL   36117‐6406
TIM FRENCH ACCT OF K MITCHELL   4045 POST ST                                                                                     JACKSONVILLE    FL   32205‐5388
TIM FRUCHEY
TIM GALVIN                      8255 MULLIKEN RD                                                                                 MULLIKEN        MI   48861‐8731
TIM GARDNER                     103 E 6TH ST                                                                                     ALEXANDRIA      IN   46001‐2606
TIM GERHARD                     416 E 7TH ST                                                                                     ROYAL OAK       MI   48067‐2763
TIM GLASSBURN                   220 CAMPBELL ST                                                                                  CLIO            MI   48420‐1126
TIM GRACE                       5912 HOWELL RD                                                                                   OTTER LAKE      MI   48464‐9767
TIM GRAHAM                      9132 W RIDGEWOOD DR                                                                              PARMA HEIGHTS   OH   44130‐4112
TIM GREINER                     NIX, PATTERSON & ROACH, LLP        GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD    TX   75638
TIM GREWE                       15843 CRYSTAL DOWNS E                                                                            NORTHVILLE      MI   48168‐9639
TIM GRIFFIN                     8120 EASTON RD                                                                                   NEW LOTHROP     MI   48460‐9720
TIM GUNNELL                     WACKER CHEMICAL CORPORATION        3301 SUTTON ROAD                                              ADRIAN          MI   49221
TIM H CRAGO                     72 MYERS FARM CT                                                                                 SPRINGBORO      OH   45066
TIM HARMON                      132 MORNINGVIEW CIR                                                                              CANFIELD        OH   44406‐8722
TIM HARRISON                    130 COURTNEY DR                                                                                  EVA             AL   35621‐8144
TIM HARWOOD                     15 MISSIONARY DR                                                                                 BRENTWOOD       TN   37027‐8942
TIM HEANEY                      4121 N 10TH ST                                                                                   MCALLEN         TX   78504‐3004
TIM HELGESON                    5350 E LITTLE TURTLE TRL                                                                         COLUMBIA CITY   IN   46725‐8833
TIM HENDERSON                   718 DIAMOND POINTE CT                                                                            O FALLON        MO   63366‐1896
TIM HENNAGIR                    6504 LAPEER RD                                                                                   BURTON          MI   48509‐2426
TIM HILVERS                     6040 LAKE DR                                                                                     YPSILANTI       MI   48197‐7013
TIM HOLCOMB                     851 VICTORY RD                                                                                   SPRINGFIELD     OH   45504‐3741
TIM HOLT                        15202 COUNTY ROAD K                                                                              NAPOLEON        OH   43545‐9525
TIM HORTON USA                  JEFF HURL                          4150 TULLER ROAD                                              DUBLIN          OH   43017
TIM HORTONS                     ATTN: ELIE DAMOUNI                 1490 S LINDEN RD                                              FLINT           MI   48532‐4178
TIM HORTONS                     ATTN: LANA MITREZSKI               1600 S OPDYKE RD                                              PONTIAC         MI   48341‐3152
TIM HOSKINS                     6096 S BRANCH RD                                                                                 LONG LAKE       MI   48743‐9500
TIM HOSKINS JR                  6096 S BRANCH RD                                                                                 LONG LAKE       MI   48743‐9500
TIM HOUTHOOFD                   9300 STRAKA RD                                                                                   OKLAHOMA CITY   OK   73165‐9630
TIM HUBER                       MARKTSTRA▀E4                       83317 TEISENDORF
TIM HUBER                       MARKTSTRASSE 4                     83317 TEISENDORF
                              09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                   Part 37 of 40 Pg 111 of 901
Name                          Address1                          Address2            Address3         Address4         City                State Zip
TIM J MCCURDY                 135 E JOHNSON ST                                                                        CLIO                 MI 48420‐1431
TIM J SEITZ                   4083 SAN MARINO ST                                                                      KETTERING            OH 45440
TIM JAMES                     2553 ECKERT RD                                                                          LEXINGTON            OH 44904‐8731
TIM JANKOWIAK                 3138 CANTERBURY DR                                                                      BAY CITY             MI 48706‐9250
TIM JEAN                      657 DAVEY COX RD                                                                        MITCHELL             IN 47446‐7408
TIM JERKE                     51296 RED RUN RD                                                                        MARCELLUS            MI 49067‐8731
TIM JONES                     1650 SUNNY ESTATES DR                                                                   NILES                OH 44446‐4104
TIM KILBURN                   3365 MILLS ACRES ST                                                                     FLINT                MI 48506‐2132
TIM KIPHART                   2784 IROQUOIS DR                                                                        THOMPSONS STATION    TN 37179‐5038
TIM L TURNER                  PO BOX 188                                                                              KAUFMAN              TX 75142‐0188
TIM LALLY CHEVROLET, INC.     MICHAEL LALLY                     19000 ROCKSIDE RD                                     BEDFORD              OH 44146‐2033
TIM LALLY CHEVROLET, INC.     19000 ROCKSIDE RD                                                                       BEDFORD              OH 44146‐2033
TIM LESLIE TIRE               296 N GRATIOT                                                                           MOUNT CLEMENS        MI 48043
TIM LEUNG                     515 SEMINARY ST                                                                         GRAND LEDGE          MI 48837‐1434
TIM LEWANDOWSKI               735 24TH SQ                                                                             VERO BEACH           FL 32962‐1336
TIM LEWIS                     2500 REVERE AVE                                                                         DAYTON               OH 45420‐1804
TIM LOGSDON                   9306 WOLLARD BLVD                                                                       RICHMOND             MO 64085‐8514
TIM MAGIN                     5842 112TH ST                                                                           HOWARD CITY          MI 49329‐9607
TIM MAHAR
TIM MAHNENSMITH               15335 FEIGHNER RD                                                                       ROANOKE             IN 46783‐9619
TIM MALMSBURY                 5133 MAYS AVE                                                                           MORAINE             OH 45439‐2932
TIM MAWBY
TIM MCCASLIN                  574 VALLEYBROOK DR                                                                      DANVILLE            KY    40422‐1060
TIM MCCURDY                   135 E JOHNSON ST                                                                        CLIO                MI    48420‐1431
TIM MCDEVITT                  410 W 107TH ST                                                                          BLOOMINGTON         MN    55420‐5510
TIM MCGARRY                   29557 DEERFIELD LN                                                                      WARRENTON           MO    63383‐4299
TIM MCGRATH
TIM MCNEESE                   6314 N CAMDEN AVE APT C                                                                 KANSAS CITY         MO 64151‐4318
TIM MCQUADE
TIM MERCHANT                  1594 HIGHWAY Y                                                                          FOLEY               MO 63347‐3111
TIM METCALF, HONEYWELL        COLUMBIA ROAD & PARK AVENUE                                                             MORRISTOWN          NJ 07960
INTERNATIONAL, INC.
TIM MILLER                    2970 DEARBORN AVE                                                                       ROCHESTER HILLS     MI 48309‐4303
TIM MOBLEY                    7021 MARINTHANA AVE                                                                     BOARDMAN            OH 44512‐4617
TIM MORONEY
TIM MULLEN                    5318 WINDOWMERE ST                                                                      FORT WORTH           TX   76112‐6853
TIM MURRY                     17906 SEYMOUR RD                                                                        LEAVENWORTH          KS   66048‐8341
TIM NEARY, PH.D.
TIM O'NEILL CHEVROLET, INC.   DAVID EDWARDS                     1010 34TH AVE                                         COUNCIL BLUFFS      IA    51501‐8076
TIM OCONNOR                   2530 BOTELLO AVE 24                                                                     THE VILLAGES        FL    32162
TIM ONEAL                     6280 MAPLE GROVE RD                                                                     MARTINSVILLE        IN    46151‐9038
TIM P KAPPEL                  1023 TIMBERWOOD DR                                                                      BEAVER FALLS        PA    15010
TIM PAGE
TIM PALMER                    5040 W CLARK RD                                                                         LANSING             MI    48906‐9367
TIM PALMER                    1508 W 250 N                                                                            ANDERSON            IN    46011‐9200
TIM PETER                     2706 STATE ROUTE 2                                                                      EDGERTON            OH    43517
TIM PETERSEN                  2602 BROWNING DR                                                                        LAKE ORION          MI    48360‐1816
TIM PFISTER
TIM PINEAU                    6887 DALY RD                                                                            DEXTER              MI 48130‐9640
TIM PRIEST
TIM R BARKEY                  33510 CADILLAC                                                                          FARMINGTON HILLS    MI 48335‐4732
TIM R LEMONS                  367 LAWVER LN                                                                           DAYTON              OH 45431
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                        Part 37 of 40 Pg 112 of 901
Name                                 Address1                          Address2                      Address3   Address4            City             State Zip
TIM R WHALEY                         4092 VOYLES RD                                                                                 MARTINSVILLE      IN 46151‐9373
TIM RAMUS                            31653 MARY ANN DR                                                                              WARREN            MI 48092‐5026
TIM RANDALL                          323 N ELIZABETH ST                                                                             LYONS             MI 48851‐9682
TIM RETTELBUSCH                      BIRKENWEG 9                                                                09648 MITTWEIDA
                                                                                                                GERMANY
TIM ROBINSON                         C/O BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS       OH 44236
TIM RODGERS
TIM ROSEN CONSTRUCTION, INC.         31805 U.S. HIGHWAY 79 SOUTH 145                                                                TEMECULA         CA    92592
TIM ROSENTHAL                        415 COUNTRY PKWY                                                                               WILLIAMSVILLE    NY    14221‐3841
TIM RYAN                             2900 WILKINS RD                                                                                SWANTON          OH    43558‐9366
TIM S SMITH                          113 SUSAN DRIVE                                                                                RAINBOW CITY     AL    35906
TIM SAVAGE                           11 DRAKE PL                                                                                    YONKERS          NY    10710‐5401
TIM SCALES                           3464 W 300 S                                                                                   MARION           IN    46953‐9727
TIM SCHEFFLER                        3569 BUSCH RD                                                                                  BIRCH RUN        MI    48415‐9017
TIM SCHERER                          10393 N CREEK SIDE CT                                                                          ROANOKE          IN    46783‐8887
TIM SCHROEDER                        3329 TITTABAWASSEE RD                                                                          HEMLOCK          MI    48626‐9660
TIM SCHULTZ                          12510 RATHBUN RD                                                                               BIRCH RUN        MI    48415‐9799
TIM SHARP                            3049 VIEWCREST PL                                                                              KETTERING        OH    45420‐1249
TIM SHARP PHOTOGRAPHIC SERVICE       9191 GARLAND RD APT 537                                                                        DALLAS           TX    75218‐3971
TIM SHUPPERT                         906 N WILLOW ST                                                                                RUSHVILLE        IN    46173‐1345
TIM SILURIK
TIM SIMONSON
TIM SIMPSON                          6088 JASON RD                                                                                  LAINGSBURG       MI 48848‐9430
TIM SLOAN
TIM SMITH                            1212 OAKWOOD AVE                                                                               NAPOLEON         OH 43545‐1013
TIM SNELL                            4435 ORMOND RD                                                                                 DAVISBURG        MI 48350‐3323
TIM SPOONER                          10835 WEST BEACH PARKWAY                                                                       LAKE WALES       FL 33898‐8335
TIM STADLER
TIM STANIFER                         225 PINEWOOD LN                                                                                SPRINGVILLE       IN   47462‐5011
TIM STEVENSON                        PO BOX 2586                       MELFORT, SK S0E 1A0, CANADA
TIM STRANAHAN
TIM SULLIVAN                         1045 ROSS ST                                                                                   PLYMOUTH         MI    48170‐2116
TIM SYSKO                            206 S DEMOCRATIC ST                                                                            TECUMSEH         MI    49286‐1802
TIM T MARTIN                         814 CENTRAL AVE                                                                                TILTON           IL    61833‐7912
TIM TELEHA                           BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                   BOSTON HEIGHTS   OH    44236
TIM THICK                            3118 ARIZONA AVE                                                                               FLINT            MI    48506‐2528
TIM THURICH                          MUELLERWEIDE 8 B                  22391 HAMBURG                 GERMANY
TIM TISON
TIM TORONY                           3300 E COUNTY LINE RD                                                                          HALE             MI    48739‐9116
TIM TRINKLE                          6787 N CLUB LOOP                                                                               SHREVEPORT       LA    71107‐9645
TIM TYLER MOTORS, INC.               SCOTT TYLER                       1810 S 11TH ST                                               NILES            MI    49120‐4206
TIM TYLER MOTORS/CITICAPITAL FLEET   1102 S 11TH ST                                                                                 NILES            MI    49120‐3407
TIM TYLER MOTORS/FLEET               1810 S 11TH ST                                                                                 NILES            MI    49120‐4206
TIM VANVOLKENBURG                    1472 MARIA ST                                                                                  FLINT            MI    48507‐5528
TIM VOELCK                           4426 E CARPENTER RD                                                                            FLINT            MI    48506‐1048
TIM VORES                            2345 OAKBROOK DR                                                                               KOKOMO           IN    46902‐7518
TIM W BROOM                          467 LONGVIEW DR                                                                                GADSDEN          AL    35901‐6694
TIM W GARRETT                        P.O. BOX 205                                                                                   GRATIS           OH    45330
TIM WALSH
TIM WATSON                           6655 TAMARACK TRL                                                                              LAKE             MI 48632‐9247
TIM WELLS                            BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                   BOSTON HEIGHTS   OH 44236
                                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                         Part 37 of 40 Pg 113 of 901
Name                                  Address1                         Address2                          Address3   Address4                City           State Zip
TIM WENZEL                            GAILBACHER STR 73                                                             63743 ASCHAFFENBURG
                                                                                                                    GERMANY
TIM WHALEY                            4092 VOYLES RD                                                                                        MARTINSVILLE    IN   46151‐9373
TIM WHITE
TIM WHITTECAR                         7451 E POTTER RD                                                                                      DAVISON        MI    48423‐9520
TIM WILCOX                            473 W GENESEE ST                                                                                      LAPEER         MI    48446‐2231
TIM WILLIAMS                          300 CALLAWAY CIRCLE                                                                                   BYRAM          MS    39272
TIM WILTSE                            3927 EDGAR RD                                                                                         LESLIE         MI    49251‐9585
TIM WITTENBERG
TIM WOLFORD                           C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS     OH    44236
TIM WOODS                             2501 N WEST ST                                                                                        WILMINGTON     DE    19802‐4155
TIM WYLIE                             2117 OKLAHOMA AVE                                                                                     FLINT          MI    48506‐2888
TIM'S AUTO ALIGNMENT CENTER                                            59 CENTER ST                                                                        PA    17866
TIM'S AUTO CARE                       504 W STEPHENSON ST                                                                                   FREEPORT       IL    61032‐5004
TIM'S AUTO REPAIR                     604 E. BELL ST.                                                                                       BARTLETT       TX    76511
TIM'S AUTO REPAIR                     3304 WILEY POST RD                                                                                    CARROLLTON     TX    75006‐5114
TIM'S AUTO REPAIR & SERVICE           408 N FRANKLIN BLVD                                                                                   NAMPA          ID    83687‐3360
TIM'S AUTOMOTIVE                      3015 E JOPPA RD                                                                                       BALTIMORE      MD    21234‐3218
TIM'S AUTOMOTIVE                      15688 SE 135TH AVE                                                                                    CLACKAMAS      OR    97015‐8943
TIM'S AUTOPRO                         2685 PEACH ORCHARD RD                                                                                 DALZELL        SC    29040‐9260
TIM'S BUICK, PONTIAC, GMC TRUCK AND   1006 COMMERCE DR                                                                                      PRESCOTT       AZ    86305‐3700

TIM'S BUICK, PONTIAC, GMC TRUCK AND   TIMOTHY COURY                    1006 COMMERCE DR                                                     PRESCOTT        AZ   86305‐3700
TOYOTA, INC.
TIM'S BUICK, PONTIAC, GMC TRUCK AND   1006 COMMERCE DR                                                                                      PRESCOTT        AZ   86305‐3700
TOYOTA, INC.
TIM'S BUICK‐PONTIAC‐GMC TRUCK &       1006 COMMERCE DR                                                                                      PRESCOTT        AZ   86305‐3700
TOYOTA
TIM'S GAS AND AUTO REPAIR             153 SALEM ST                                                                                          WOBURN         MA    01801‐3120
TIM'S GAS AND AUTO REPAIR             163 SALEM ST                                                                                          WOBURN         MA    01801‐3120
TIMA ARDELEAN                         54470 BURLINGTON DR                                                                                   SHELBY TWP     MI    48315‐1625
TIMA, ELEANOR                         3280 E CAMPBELL RD                                                                                    GILBERT        AZ    85234‐5259
TIMA, ELEANOR                         16836 E CAMPBELL RD                                                                                   GILBERT        AZ    85234‐9619
TIMAN BRUCE A                         TIMAN, BRUCE A                   10085 CARROLL CANYON RD STE 100                                      SAN DIEGO      CA    92131‐1100

TIMAN BRUCE A                         TIMAN, DEBORAH A                 10085 CARROLL CANYON RD STE 100                                      SAN DIEGO       CA 92131‐1100

TIMAN, BRUCE A                        LAW & KOLAKOWSKI                 10085 CARROLL CANYON RD STE 100                                      SAN DIEGO       CA 92131‐1100

TIMAN, DEBORAH A                      LAW & KOLAKOWSKI                 10085 CARROLL CANYON RD STE 100                                      SAN DIEGO       CA 92131‐1100

TIMARAC, NENAD                        11041 N RANGE LINE RD                                                                                 MEQUON          WI 53092‐4929
TIMATHY WELLS                         16563 FOWLER RD                                                                                       OAKLEY          MI 48649‐9751
TIMAX CONNECTION INC                  5570 MCADAM ROAD                                                              MISSISSAUGA CANADA ON
                                                                                                                    L4Z 1P1 CANADA
TIMAX CONNECTION INC                  TERRY HICKEN                     5570 MCADAM ROAD                             MISSISSAUGA ON L4Z1P1
                                                                                                                    CANADA
TIMBER HAWK SPORTS                    3931 S DIXIE DR                                                                                       MORAINE        OH 45439‐2313
TIMBER OCEAN INDUSTRIAL LIMITED
TIMBER RIDGE ASSEMBLY
TIMBER, JOSEPH W                      17892 EVANS RD                                                                                        TONGANOXIE      KS   66086‐5168
TIMBER, ROGER                         PO BOX 283                                                                                            RAYVILLE        LA   71269‐0283
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                        Part 37 of 40 Pg 114 of 901
Name                                 Address1                            Address2                        Address3   Address4               City               State Zip
TIMBER, ROGER W                      PO BOX 283                                                                                            RAYVILLE            LA 71269‐0283
TIMBERLAKE HERBERT A (492193)        BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH 44067
                                                                         PROFESSIONAL BLDG
TIMBERLAKE JAMES T                  4522 GUILFORD AVE                                                                                      INDIANAPOLIS       IN   46205‐1926
TIMBERLAKE JOHN III                 2425 MESA CREST GRV                                                                                    COLORADO SPRINGS   CO   80904‐1816
TIMBERLAKE, GERALD F                8021 WILLIAM ST                                                                                        TAYLOR             MI   48180‐7408
TIMBERLAKE, GERTRUDE                2210 LAFAYETTE ST                                                                                      FORT WAYNE         IN   46803‐3328
TIMBERLAKE, GERTRUDE                2210 S LAFAYETTE                                                                                       FT WAYNE           IN   46803‐3328
TIMBERLAKE, JAMES T                 4522 GUILFORD AVE                                                                                      INDIANAPOLIS       IN   46205‐1926
TIMBERLAKE, KERRY D                 8710 LOTTICKS CORNER RD SE R                                                                           ELIZABETH          IN   47117
TIMBERLAKE, MARGIE V                784 S OGDEN AVE                                                                                        COLUMBUS           OH   43204‐2823
TIMBERLAKE, MURIEL C                833 VIREO DR                                                                                           BAREFOOT BAY       FL   32976‐7351
TIMBERLAKE, RUTH                    8330 E JEFFERSON AVE APT 1116                                                                          DETROIT            MI   48214
TIMBERLAKE, THOMAS R                9704 SPRINGDALE DR                                                                                     FISHERS            IN   46037‐9621
TIMBERLAKE, WALTER L                29922 WESTBROOK PKWY                                                                                   SOUTHFIELD         MI   48076‐1727
TIMBERLAND BUICK PONTIAC GMC        10201 OLD MT SAVAGE RD NW                                                                              CUMBERLAND         MD   21502
CADILLAC
TIMBERLAND FOUR LP                  C\O ETKIN MGMT LLC                   PO BOX 77000                                                      DETROIT            MI   48277‐2000
TIMBERLAND H S                      559 E HIGHWAY N                                                                                        WENTZVILLE         MO   63385‐5906
TIMBERLINE TRANSPORT INC            300 THIRD AVE                                                                                          EASTMAN            GA   31023
TIMBERLY MEDLIN                     14089 GLENWOOD DR                                                                                      SHELBY TOWNSHIP    MI   48315‐5421
TIMBERLY TACKETT                    351 DARBYHURST RD                                                                                      COLUMBUS           OH   43228‐1322
TIMBERS‐KOVAR & CO INC              7653 SAINT CLAIR AVE                                                                                   MENTOR             OH   44060‐5235
TIMBLIN, GEORGE W                   1309 E ROAD 7                                                                                          EDGERTON           WI   53534‐8774
TIMBOL NICKY                        FLAT 1 64 UPPER BERKELEY ST                                                     LONDON GREAT BRITAIN
TIMBRELL JR, JOHN H                 560 WILDCAT HILL RD                                                                                    HARWINTON          CT   06791‐2613
TIMBROOK AUTOMOTIVE, INC.           FREDRICK TIMBROOK                    RTE 220 S                                                         KEYSER             WV   26726
TIMBROOK AUTOMOTIVE, INC.           FREDRICK TIMBROOK                    10201 OLD MT SAVAGE RD NW                                         CUMBERLAND         MD   21502
TIMBROOK BUICK PONTIAC GMC CADILLAC 10201 OLD MT SAVAGE RD NW                                                                              CUMBERLAND         MD   21502

TIMBROOK CHEVROLET                   RTE 220 S                                                                                             KEYSER             WV   26726
TIMBROOK JR, JAMES E                 ROUTE #1                                                                                              DEFIANCE           OH   43512
TIMBROOK PONTIAC CADILLAC GMC        FREDRICK TIMBROOK                   10201 OLD MT SAVAGE RD NW                                         CUMBERLAND         MD   21502
TIMBROOK, GLADYS C                   953 WOODLYNN RD                                                                                       BALTIMORE          MD   21221‐5239
TIMBROOK, GLADYS C                   953 WOODLYN RD                                                                                        BALTIMORE          MD   21221‐5239
TIMBROOKS, MICHAEL A                 47491 BEMIS RD                                                                                        BELLEVILLE         MI   48111‐9701
TIMBS, ASIE J                        1401 EARLMOOR BLVD                                                                                    FLINT              MI   48506‐3952
TIMBS, BOBBY R                       4301 CIRCLE DR                                                                                        FLINT              MI   48507
TIMBS, BONNIE L                      7090 MAIN EXTENDED LN                                                                                 HARRISBURG         AR   72432‐8554
TIMBS, BONNIE L                      7090 S MAIN EXTENDED LN                                                                               HARRISBURG         AR   72432‐8554
TIMBS, CHRISTOPHER D                 5230 BURNINGTREE DR                                                                                   BURTON             MI   48509‐2809
TIMBS, CHRISTOPHER D                 6230 BURNINGTREE DR                                                                                   BURTON             MI   48509‐2609
TIMBS, CYNTHIA L                     14370 MCKINLEY RD                                                                                     MONTROSE           MI   48457‐9713
TIMBS, DANNY L                       865 E 10 MILE RD                                                                                      DAFTER             MI   49724‐9400
TIMBS, JO E                          300 N BARCLAY ST APT 16                                                                               FAIRMOUNT          IN   46928
TIMBS, JOHNIE L                      3120 VINELAND AVE                                                                                     BURTON             MI   48519‐1667
TIMBS, LINDA S                       1401 EARLMOOR BLVD                                                                                    FLINT              MI   48506‐3952
TIMBS, VELMA L                       204 STACEY ST                                                                                         WISTER             OK   74966‐9595
TIMBS, VELMA L                       204 STACY ST                                                                                          WISTER             OK   74966‐9595
TIMCHAC JAMES J                      C/O GOLDBERG PERSKY & WHITE PC      1030 FIFTH AVENUE                                                 PITTSBURGH         PA   15219
TIMCHAC JAMES J (639978)             GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                      SAGINAW            MI   48604‐2602
                                                                         260
                                  09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                      Part 37 of 40 Pg 115 of 901
Name                              Address1                            Address2                          Address3       Address4             City               State Zip
TIMCHAC, JAMES J                  GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                          SAGINAW             MI 48604‐2602
                                                                      260
TIMCHAK, HELEN M                  5272 W 52ND ST                                                                                            PARMA              OH    44134‐1024
TIMCISKO, DONNA J.                66 OHLIN DR.                                                                                              NEW MIDDLETOWN     OH    44442
TIMCISKO, JON R                   PO BOX 274                                                                                                NEW MIDDLETWN      OH    44442‐0274
TIMCO INC                         2 GREENTOWN RD FL2                                                                                        BUCHANAN           NY    10511‐1007
TIMCO INC                         401 RUTHERFORD LN                                                                                         COLUMBIA           TN    38401‐5080
TIMCO INC.                        401 RUTHERFORD LN                                                                                         COLUMBIA           TN    38401‐5080
TIMCO INC.                        1 ONE TIMCO DR                                                                                            MT PLEASANT        TN    38474‐1088
TIMCO LLC                         18703 DIX TOLEDO HWY                                                                                      BROWNSTOWN         MI    48193‐8441
TIMCO LLC                         FAYE GREALY                         18703 DIX TOLEDO HWY                                                  BROWNSTOWN         MI    48193‐8441
TIMCO MANUFACTURING COMPANY INC   27544 GROESBECK HWY                                                                                       ROSEVILLE          MI    48066‐2759

TIMCO TRUCKING                    3753 TAFT AVE                                                                                             CHINO              CA    91710‐1553
TIMCO, MICHALENE A                2056 N PLAZA DR                                                                                           ROAMING SHORES     OH    44084‐9406
TIMCO/COLUMBIA                    1 ONE TIMCO DR                                                                                            MT PLEASANT        TN    38474‐1088
TIMCOR INC                        PO BOX 121                                                                                                DEFIANCE           OH    43512‐0121
TIMCOR INC                        2820 S STATE ROUTE 66               PO BOX 121                                                            DEFIANCE           OH    43512‐9088
TIME & MONEY CONSULTING INC       2526 MOUNT VERNON RD STE B          BIN 333                                                               DUNWOODY           GA    30338‐3049
TIME DEFINITE SERVICES INC        75 REMITTANCE DR DEPT 1535                                                                                CHICAGO            IL    60675‐1535
TIME ENG/1630 BIG BE              1630 E. BIG BEAVER                                                                                        TROY               MI    48083
TIME ENG/NASHVILLE                2712 LANDERS AVE                                                                                          NASHVILLE          TN    37211‐2205
TIME FACTORY, THE
TIME INC                          2109 PAYSPHERE CIR                                                                                        CHICAGO            IL 60674‐0021
TIME MAGAZINE                     PO BOX 60100                                                                                              TAMPA              FL 33660‐0100
TIME MFG/1522 BIG BE              1522 E BIG BEAVER RD                                                                                      TROY               MI 48083‐2008
TIME PASSAGES, LTD.
TIME PIECE PUBLIC RELATIONS INC   14180 NORTH DALLAS PARKWAY                                                                                DALLAS             TX    75254
TIME WARNER                       ONE TIME WARNER CENTER                                                                                    NEW YORK           NY    10019
TIME WARNER                       MARK D'ARCY                         ONE TIME WARNER CENTER                                                NEW YORK           NY    10019
TIME WARNER                                                           3545 E PLANK RD                                                                          WI    54915
TIME WARNER
TIME WARNER CABLE                 5450 FAR HILLS AVE STE 208                                                                                DAYTON             OH 45429
TIME WARNER CABLE                 7910 CRESCENT EXECUTIVE DRIVE                                                                             CHARLOTTE          NC 28217
TIME WARNER CABLE
TIME WARNER CABLE                 10130 W. APPLETON AVE.                                                                                    MILWAUKEE          WI 53225
TIME WARNER CABLE                                                     71 MOUNT HOPE AVE                                                                        NY 14620
TIME WARNER CABLE                                                     1320 N DR MARTIN LUTHER KING DR                                                          WI 53212

TIME WARNER CABLE                                                     6550 WINCHESTER AVE                                                                      MO    64133
TIME WARNER CABLE                 LORI GLOVER                         7910 CRESCENT EXECUTIVE DR.                                           CHARLOTTE          NC    28217
TIME WARNER CABLE                 GLENN BRITT                         1 TIME WARNER CENTER              NORTH TOWER                         NEW YORK           NY    10019
TIME WARNER CABLE MEDIA SALES     ATTN 704‐973‐7540                   PO BOX 409983                     BANK LOCKBOX                        ATLANTA            GA    30384‐9983
TIME WARNER COMMUNICATIONS        71 MOUNT HOPE AVE                                                                                         ROCHESTER          NY    14620‐1014
TIME WARNER INC                   3030 ROOSEVELT AVE                                                                                        INDIANAPOLIS       IN    46218‐3755
TIME WARNER TELECOM               PO BOX 172567                                                                                             DENVER             CO    80217‐2567
TIME WHEEL (CHINA) LTD            HUANSHI QUNXING HOUSHAN INDUST      PARK                                             JIANGMEN GUANGDONG
                                                                                                                       CN 529000 CHINA
                                                                                                                       (PEOPLE'S REP)
TIMERDING, LARRY M                6113 KATHY LN                                                                                             SHREVEPORT          LA   71105‐4403
TIMES MAIL                        SPECIAL PRODUCTS DIVISION           813 16TH ST                                                           BEDFORD             IN   47421‐3822
TIMES PUBLISHING COMPANY          490 1ST AVE S                                                                                             SAINT PETERSBURG    FL   33701‐4204
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                    Part 37 of 40 Pg 116 of 901
Name                            Address1                         Address2                    Address3                 Address4                City              State Zip
TIMES SHAMROCK COMMUNICATIONS   149 PENN AVE.                                                                                                 SCRANTON           PA 18503
TIMES, CLEVELAND                411 NORTH PADDOCK STREET                                                                                      PONTIAC            MI 48342‐2438
TIMES, DOROTHY J                8129 WESCOTT AVE                                                                                              FAIRBORN           OH 45324
TIMES3 AUTO TRANSPORT           TIMES3 AUTO TRANSPORT,           KAHN & ASSOCIATES LLC       102 WOODMONT BOULEVARD                           NASHVILLE          TN 37205
                                                                                             SUITE 200
TIMES3 AUTO TRANSPORT           TIMES3 AUTO TRANSPORT            102 WOODMONT BLVD STE 200                                                    NASHVILLE         TN   37205‐2216
TIMES3 AUTO TRANSPORT,          KAHN & ASSOCIATES LLC            55 PUBLIC SQ STE 650                                                         CLEVELAND         OH   44113‐1909
TIMESAVERS INC                  5270 HANSON CT N                                                                                              MINNEAPOLIS       MN   55429‐3111
TIMESAVERS/MINNAPOLS            5270 HANSON CT N                                                                                              MINNEAPOLIS       MN   55429‐3111
TIMI GROSSMANN                  920 KNOLL CREST CT                                                                                            ALPHARETTA        GA   30004
TIMIAN ELIZABETH                TIMIAN, ELIZABETH                53 SAUQUOIT ST                                                               WHITESBORO        NY   13492‐1015
TIMIAN, ELIZABETH               53 SAUQUOIT ST                                                                                                WHITESBORO        NY   13492‐1015
TIMIAN, GRACE P                 8824 HASELEY ROAD                                                                                             GASPORT           NY   14067‐9362
TIMICA HOPKINS                  101 W HOPKINS AVE                                                                                             PONTIAC           MI   48340‐1821
TIMIKA B EDGERSON               7507 ST ANTOINE ST               FL 2ND R                                                                     DETROIT           MI   48202
TIMIKA D KEATHLEY               28096 FORTSON LN                                                                                              INKSTER           MI   48141‐2591
TIMIKA KEATHLEY                 28096 FORTSON LN                                                                                              INKSTER           MI   48141‐2591
TIMINSKY PETER                  5700 WOODMIRE DR                                                                                              SHELBY TOWNSHIP   MI   48316‐1749
TIMINSKY, PETER J               5700 WOODMIRE DR                                                                                              SHELBY TWP        MI   48316‐1749
TIMINY R R CONSTRUCTION INC     28510 LEMOYNE RD                                                                                              MILLBURY          OH   43447‐9431
TIMINY R/R CONSTRUCTION INC     PO BOX 504                       7695 BOND ST                                                                 BATH              OH   44210‐0504
TIMKEN                          GARY BOURQUE                     28875 CABOT DRIVE                                                            NOVI              MI   48377
TIMKEN CANADA LP                TORRINGTON CANADA ULC            INGERSOLL‐RAND CO           4 VICTORIA AVE           BEDFORD CANADA HLD PQ
                                                                                                                      J0J 1A0 CANADA
TIMKEN CANADA LP                4 RUE VICTORIA SUD                                                                    BEDFORD CANADA PQ J0J
                                                                                                                      1A0 CANADA
TIMKEN CANADA LP                4 VICTORIA ST S                                                                       BEDFORD PQ J0J 1A0
                                                                                                                      CANADA
TIMKEN CANADA LP                1055 TALBOT ST                                                                        ST THOMAS ON N5P 1
                                                                                                                      CANADA
TIMKEN CO                       1835 DUEBER AVE SW                                                                                            CANTON            OH   44706‐2728
TIMKEN CO, THE                  401 INDUSTRIAL DR                                                                                             EATON             OH   45320‐2255
TIMKEN CO, THE                  100 TIMKEN RD                                                                                                 GAFFNEY           SC   29341‐2522
TIMKEN CO, THE                  1000 TIMKEN PL                                                                                                IRON STATION      NC   28080‐8771
TIMKEN CO, THE                  2325 E MANSFIELD ST                                                                                           BUCYRUS           OH   44820‐2051
TIMKEN CO, THE                  2525 TORRINGTON DR                                                                                            CAIRO             GA   39828‐3794
TIMKEN CO, THE INC                                               1835 DUEBER AVE SW                                                           CANTON            OH   44706‐2728
TIMKEN CO, THE INC              100 TIMKEN RD                                                                                                 GAFFNEY           SC   29341‐2522
TIMKEN CO, THE INC              1000 TIMKEN PL                                                                                                IRON STATION      NC   28080‐7788
TIMKEN CO, THE INC              1055 TALBOT ST                                                                        ST THOMAS ON N5P 1G5
                                                                                                                      CANADA
TIMKEN CO, THE INC              1775 TORRINGTON RD                                                                                            CLINTON           SC   29325
TIMKEN CO, THE INC              1835 DUEBER AVE SW               PO BOX 6928                                                                  CANTON            OH   44706‐2728
TIMKEN CO, THE INC              2325 E MANSFIELD ST                                                                                           BUCYRUS           OH   44820‐2051
TIMKEN CO, THE INC              2525 TORRINGTON DR                                                                                            CAIRO             GA   39828‐3794
TIMKEN CO, THE INC              28875 CABOT DR STE 100                                                                                        NOVI              MI   48377‐2992
TIMKEN CO, THE INC              4 VICTORIA ST S                                                                       BEDFORD PQ J0J 1A0
                                                                                                                      CANADA
TIMKEN CO, THE INC              400 FRIENDSHIP RD                                                                                             SYLVANIA          GA   30467‐2647
TIMKEN CO, THE INC              401 INDUSTRIAL DR                                                                                             EATON             OH   45320‐2255
TIMKEN CO, THE INC              430 TORRINGTON RD                                                                                             WALHALLA          SC   29691
TIMKEN CO, THE INC              615 TORRINGTON RD                                                                                             DAHLONEGA         GA   30533‐0939
                                  09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                      Part 37 of 40 Pg 117 of 901
Name                              Address1                         Address2                        Address3              Address4                 City               State Zip
TIMKEN CO, THE INC                JEAN THOMSON                     4 VICTORIA ST S                                                                SAN DIEGO           CA 92154
TIMKEN CO, THE INC                JEAN THOMSON                     TIMKEN COMPANY                  2 RUE TIMKEN                                   PORT HURON          MI 48060
TIMKEN CO, THE INC                MARC DICKISON                    191 RIDGEVIEW CENTER DRIVE                                                     ROCHESTER           MI 48307
TIMKEN CO, THE INC                MARC DICKISON                    2325 E MANSFIELD ST             AUTOMOTIVE DIVISION                            BUCYRUS             OH 44820‐2051
TIMKEN CO, THE INC                MARC DICKISON                    430 TORRINGTON ROAD                                                            FARMINGTON HILLS    MI 48331
TIMKEN CO, THE INC                MARC DICKISON                    AUTOMOTIVE DIVISION             2325 E MANSFIELD ST                            EDON                OH
TIMKEN CO, THE INC                MARC DICKISON                    BRICK MILL ROAD                                                                MASON               MI 48854
TIMKEN CO, THE INC                MARC DICKISON                    FRIENDSHIP ROAD                                                                STANFIELD           NC 28163
TIMKEN CO, THE INC                MARC DICKISON                    LINCOLNTON BEARING PLANT        1000 TIMKEN PLACE                              COZAD               NE 69130
TIMKEN CO, THE INC                MARC DICKISON                    PO BOX 507                      2525 TORRINGTON DR                             RAVENNA             OH 44266‐0507
TIMKEN CO, THE INC                MARC DICKISON                    WERKSTRASSE 5                                                                  FRANKFORT            IL 60423
TIMKEN CO, THE INC                MARK DICKISON                    BEARING DIVISION                PO BOX 667                                     GREENVILLE          AL 36037
TIMKEN CO, THE INC                R ENG MESQUITA SAMPAIO 714                                                             SAO PAULO SP 04711 901
                                                                                                                         BRAZIL
TIMKEN CO, THE INC                WERKSTRASSE 5                                                                          HALLE NW 33790
TIMKEN CO, THE INC                1835 DUEBER AVE SW                                                                                              CANTON             OH 44706‐2798
TIMKEN COMPANY                    1835 DUEBER AVE SW                                                                                              CANTON             OH 44706‐2728
TIMKEN CORP                       1835 DUEBER AVE SW                                                                                              CANTON             OH 44706‐2728
TIMKEN CORP                       4 VICTORIA ST                                                                          BEDFORD QC J0J 1A0
                                                                                                                         CANADA
TIMKEN CORP                       OFF HWY 28                                                                                                      WALHALLA           SC   29691
TIMKEN CORP                       300 TORRINGTON DR                                                                                               DAHLONEGA          GA   30533
TIMKEN CORP                       2525 TORRINGTON DR                                                                                              CAIRO              GA   39828‐3794
TIMKEN CORP                       415 BRICK MILL RD                                                                                               HONEA PATH         SC   29654‐8741
TIMKEN CORP, THE                  28875 CABOT DR STE 100                                                                                          NOVI               MI   48377‐2992
TIMKEN CORP, THE                  1835 DUEBER AVE SW               PO BOX 6928                                                                    CANTON             OH   44706‐2728
TIMKEN CORP.                      31100 TELEGRAPH                  SUITE 270                                                                      BIRMINGHAM         MI   48102
TIMKEN CORPORATION                75 REMITTANCE DR DEPT 1073                                                                                      CHICAGO            IL   60675‐1073
TIMKEN CORPORATION                4 VICTORIA STREET                                                                      BEDFORD QC J0J 1A1
                                                                                                                         CANADA
TIMKEN DO BRASIL COM E IND LTDA   R ENG MESQUITA SAMPAIO 714                                                             SAO PAULO, SP 04711
                                                                                                                         BRAZIL
TIMKEN ELIZABETH                  230 CONGRESS ST 12                                                                                              BOSTON             MA 02110
TIMKEN EUROPE                     JEAN THOMSON                     TIMKEN COMPANY                  2 RUE TIMKEN                                   PORT HURON         MI 48060
TIMKEN GMBH                       MARC DICKISON                    WERKSTRASSE 5                                                                  FRANKFORT          IL 60423
TIMKEN GMBH                       WERKSTRASSE 5                                                                          HALLE NW 33790
TIMKEN US CORP                    400 FRIENDSHIP RD                                                                                               SYLVANIA           GA   30467‐2647
TIMKEN US CORP                    MARC DICKISON                    191 RIDGEVIEW CENTER DRIVE                                                     ROCHESTER          MI   48307
TIMKEN US CORP                    28875 CABOT DR STE 100                                                                                          NOVI               MI   48377‐2992
TIMKEN US CORP                    615 TORRINGTON RD                                                                                               DAHLONEGA          GA   30533‐0939
TIMKEN US CORP                    1775 TORRINGTON RD                                                                                              CLINTON            SC   29325
TIMKEN US CORP                    430 TORRINGTON RD                                                                                               WALHALLA           SC   29691
TIMKEN/BIRMINGHAM                 31100 TELEGRAPH ROAD             P.O. BOX 3073                                                                  BIRMINGHAM         MI   48012
TIMKEN/MI                         28875 CABOT DR STE 100                                                                                          NOVI               MI   48377‐2992
TIMKEY, ISIDRA G                  501 DAVISON RD APT A23                                                                                          LOCKPORT           NY   14094‐4037
TIMKO III, KENNETH LEE            11368 S DEWITT RD                                                                                               DEWITT             MI   48820‐7600
TIMKO MICHAEL (448260)            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                  NORTHFIELD         OH   44067
                                                                   PROFESSIONAL BLDG
TIMKO, ADAM P                     4049 RICHFIELD DR                                                                                               STERLING HEIGHTS   MI   48314‐2078
TIMKO, BETTY D                    388 VENTURA DR                                                                                                  YOUNGSTOWN         OH   44505‐1146
TIMKO, DEBORAH A                  1055 LAKEWOOD SOUTH DR                                                                                          BROWNSBURG         IN   46112‐1743
TIMKO, DONALD J                   4714 VERONA ST NW                                                                                               WARREN             OH   44483‐1741
                                  09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                    Part 37 of 40 Pg 118 of 901
Name                              Address1                       Address2                   Address3   Address4         City              State Zip
TIMKO, ERNEST J                   407 W DILL DR                                                                         DEWITT             MI 48820‐7721
TIMKO, ERNEST JAMES               407 W DILL DR                                                                         DEWITT             MI 48820‐7721
TIMKO, GARY S                     2423 WESTWOOD DR                                                                      ROCHESTER HILLS    MI 48306‐3173
TIMKO, GLORIA D                   44705 RIDGEFIELD RD                                                                   CANTON             MI 48188‐1695
TIMKO, JEANNETTE                  4419 KINCAID EAST RD NW                                                               WARREN             OH 44481‐9126
TIMKO, JOANN                      27847 SHERIDAN ST                                                                     GARDEN CITY        MI 48135‐3178
TIMKO, JOHN G                     3650 NILES CARVER RD.                                                                 MINERAL RIDGE      OH 44440‐9522
TIMKO, JOSEPH A                   6260 DALLAS ST                                                                        MONROE             MI 48161‐3728
TIMKO, JOSEPH M                   48600 JUDD RD                                                                         BELLEVILLE         MI 48111‐8625
TIMKO, KENNETH L                  11368 S DEWITT RD                                                                     DEWITT             MI 48820‐7600
TIMKO, KENNETH LEE                11368 S DEWITT RD                                                                     DEWITT             MI 48820‐7600
TIMKO, LAWRENCE J                 1055 LAKEWOOD SOUTH DR                                                                BROWNSBURG         IN 46112‐1743
TIMKO, MARJORIE J                 1972 STILLWAGON RD SE                                                                 WARREN             OH 44484‐3165
TIMKO, MARY K                     2220 ELIZABETH WAY                                                                    DUNEDIN            FL 34698‐9441
TIMKO, PAUL M                     731 N VERLINDEN AVE                                                                   LANSING            MI 48915‐1375
TIMKO, RICHARD J                  3550 RADTKA DR SW                                                                     WARREN             OH 44481‐9207
TIMKO, ROBERT C                   5008 PIN OAK DR., S.E.                                                                VIENNA             OH 44473‐9629
TIMKO, THOMAS A                   4667 BAYBERRY LN                                                                      ZIONSVILLE         IN 46077‐9345
TIMKO, THOMAS J                   428 WINWARD LN                                                                        BRUNSWICK          OH 44212‐6248
TIMKO, THOMAS R                   4640 W 157TH ST                                                                       CLEVELAND          OH 44135‐2736
TIMLER, CLARA M                   22 HOOVER AVE                                                                         MIAMISBURG         OH 45342‐3119
TIMLICK, BERNARD G                5796 BURT RD                                                                          BIRCH RUN          MI 48415‐8717
TIMLICK, FRED                     BOONE ALEXANDRA                205 LINDA DR                                           DAINGERFIELD       TX 75638‐2107
TIMLICK, LUCY A                   21 HOMESTEAD DRIVE                                                                    YOUNGSVILLE        PA 16371‐9652
TIMLICK, RICHARD                  BOONE ALEXANDRA                205 LINDA DR                                           DAINGERFIELD       TX 75638‐2107
TIMLICK, RONALD B                 2384 N MANISTEE RIVER RD                                                              GRAYLING           MI 49738‐9133
TIMLIN, JOHN J                    7115 MARINTHANA AVE                                                                   BOARDMAN           OH 44512‐4619
TIMLIN, LU ANNE                   138 NORTHWOOD AVE                                                                     ROCHESTER          MI 48307‐1541
TIMM CAPPELL                      9882 SONORA DR                                                                        FREELAND           MI 48623‐7806
TIMM H CAPPELL                    9882 SONORA DR                                                                        FREELAND           MI 48623‐7806
TIMM JR, HARVEY D                 9828 VASSAR RD                                                                        MILLINGTON         MI 48746‐9719
TIMM LLOYD (ESTATE OF) (639979)   GOLDENBERG, MILLER, HELLER &   PO BOX 959                                             EDWARDSVILLE        IL 62025‐0959
                                  ANTOGNOLI
TIMM NOWAK                        4760 TAMARACK DR                                                                      MAY               TX   76857‐1640
TIMM RYE                          10277 E POTTER RD                                                                     DAVISON           MI   48423‐8110
TIMM STRIGGOW                     9400 ENGLISHMAN DR                                                                    FENTON            MI   48430‐8742
TIMM, BARBARA R                   7373 S COUNTY ROAD 900 W                                                              REELSVILLE        IN   46171‐8929
TIMM, BERNADETTE D                10335 W GOODRICH AVE                                                                  MILWAUKEE         WI   53224‐2652
TIMM, BERNARD R                   6740 SEVERANCE RD                                                                     CASS CITY         MI   48726‐9367
TIMM, BERNARD RAYMOND             6740 SEVERANCE RD                                                                     CASS CITY         MI   48726‐9367
TIMM, BRIAN L                     2697 127TH AVE                                                                        ALLEGAN           MI   49010‐9248
TIMM, DANIEL J                    2740 COLGATE CT SW                                                                    WYOMING           MI   49519‐3168
TIMM, DAVID S                     424 MORSE AVE                                                                         DAYTON            OH   45420‐2318
TIMM, DEAN A                      1524 ROOSEVELT AVE                                                                    JANESVILLE        WI   53546‐6038
TIMM, DIANE M                     4604 RUPPRECHT RD                                                                     VASSAR            MI   48768
TIMM, ELDON C                     208 BRIGADOON DR                                                                      RICHMOND          KY   40475‐1376
TIMM, ERNEST J                    N892 61ST ST                                                                          WISCONSIN DELLS   WI   53965‐9121
TIMM, ERNEST J                    11451 W FOREST HOME AVE                                                               FRANKLIN          WI   53132‐1701
TIMM, ERVIN A                     646 HALSTEAD RD                                                                       BAY CITY          MI   48708‐9147
TIMM, FRANZ J                     4604 RUPPRECHT RD                                                                     VASSAR            MI   48768‐9517
TIMM, GEORGE                      APT 104                        1907 COLFAX AVENUE SOUTH                               MINNEAPOLIS       MN   55403‐3005
TIMM, GERALD R                    162 N KNIGHT RD                                                                       BAY CITY          MI   48708‐9146
                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                           Part 37 of 40 Pg 119 of 901
Name                     Address1                        Address2           Address3         Address4         City                  State Zip
TIMM, GERTRUDE M         2699 WEHRLE DR                                                                       WILLIAMSVILLE          NY 14221‐7332
TIMM, HANNAH R           12 WARWICK LN                                                                        BASKING RIDGE          NJ 07920‐2243
TIMM, HERMAN R           208 COLUMBIA AVENUE                                                                  TIPTON                 IN 46072‐1625
TIMM, JAMES A            860 EDISON RD                                                                        SAGINAW                MI 48604‐1119
TIMM, JAMES E            10397 WASHBURN RD                                                                    COLUMBIAVILLE          MI 48421‐8816
TIMM, JEFFREY T          3463 EASTDALE DR                                                                     FLINT                  MI 48506‐2263
TIMM, JEFFREY THOMAS     3463 EASTDALE DR                                                                     FLINT                  MI 48506‐2263
TIMM, JENNIFER L         1409 SHANNON DR                                                                      JANESVILLE             WI 53546‐1463
TIMM, JOHN C             1515 TAYLOR RD                                                                       CLINTON                MI 49236‐9716
TIMM, JOHN CARL          1515 TAYLOR RD                                                                       CLINTON                MI 49236‐9716
TIMM, JOHN J             1238 HARDING RD                                                                      ESSEXVILLE             MI 48732‐1713
TIMM, JOHN R             8976 E 840 S                                                                         AMBOY                  IN 46911‐9381
TIMM, JOHN R             1511 MYRTLE DR                                                                       DANVILLE                IL 61832‐1625
TIMM, JOSEPH T           2000 S BRENTWOOD PL                                                                  ESSEXVILLE             MI 48732‐1408
TIMM, LARRY D            182 BAY SHORE DR                                                                     BAY CITY               MI 48706‐1171
TIMM, LLOYD              GOLDENBERG, MILLER, HELLER &    PO BOX 959                                           EDWARDSVILLE            IL 62025‐0959
                         ANTOGNOLI
TIMM, LOUIS C            2162A MOUNTAIN VISTA DR                                                              ENCINITAS             CA   92024‐3140
TIMM, MARCIA L           8976 E 840 S                                                                         AMBOY                 IN   46911‐9381
TIMM, MARK J             21867 SUNFLOWER RD                                                                   NOVI                  MI   48375‐5353
TIMM, MARVIN D           6033 SADDLE RDG                                                                      PORTAGE               WI   53901‐9102
TIMM, MARY A             5133 BROBECK ST                                                                      FLINT                 MI   48532‐4102
TIMM, MAYNARD L          783 WOODDALE RD                                                                      BLOOMFIELD VILLAGE    MI   48301‐2468
TIMM, MERLE L            2445 FEATHERSTONE DR                                                                 LANSING               MI   48911‐6496
TIMM, MICHAEL D          1220 MICHIGAN AVE                                                                    BAY CITY              MI   48708‐8781
TIMM, PAUL H             3510 LARCHMONT ST                                                                    FLINT                 MI   48503‐6613
TIMM, PAUL HARVEY        3510 LARCHMONT ST                                                                    FLINT                 MI   48503‐6613
TIMM, PHYLLIS J          3522 WATER WALK DR SW                                                                WYOMING               MI   49418‐9247
TIMM, REYNA M.           2777 SEMINOLE CT                                                                     BAY CITY              MI   48708‐8465
TIMM, RICHARD A          979 S KNIGHT RD                                                                      BAY CITY              MI   48708‐9659
TIMM, THOMAS H           910 TEGGERDINE RD                                                                    WHITE LAKE            MI   48386‐1729
TIMM, THOMAS P           18705 NELSON RD                                                                      SAINT CHARLES         MI   48655‐9799
TIMM, THOMAS R           418 OAKLAND AVE                                                                      SANDUSKY              OH   44870‐8010
TIMM, VIRGINIA S         2171 PARKWOOD ST.                                                                    BURTON                MI   48529‐1765
TIMM, VIRGINIA S         2171 E PARKWOOD AVE                                                                  BURTON                MI   48529‐1765
TIMM,MARK J              21867 SUNFLOWER RD                                                                   NOVI                  MI   48375‐5353
TIMMA, ROBERT J          26 CONQUEST CT                                                                       SANDIA PARK           NM   87047‐4600
TIMMA, ROBERT J          3439 COOLHEIGHTS DR                                                                  RANCHO PALOS VERDES   CA   90275
TIMME, GERALD W          1326 BLUE RIDGE DR                                                                   SAINT PETERS          MO   63376‐6506
TIMME, LARRY W           12948 S US 31 LOT 36                                                                 KOKOMO                IN   46901
TIMME, ROBERT J          2143 S 1000 E                                                                        GREENTOWN             IN   46936‐9632
TIMMER DARRELL & KAREN   671 H STREET RD                                                                      LYNDEN                WA   98264‐9721
TIMMER IVAN              3316 YELLOWSTONE DR SW                                                               GRANDVILLE            MI   49418‐1965
TIMMER, BETHANY L        86 PEMBROKE BOULEVARD                                                                MANSFIELD             OH   44904‐1118
TIMMER, BRIAN            8207 48TH AVE                                                                        HUDSONVILLE           MI   49426‐8623
TIMMER, CAROL M          1514 WOLF LAKE DR                                                                    BALDWIN               MI   49304‐8317
TIMMER, CINDY            59 MCCULLOUGH BLVD                                                                   MANSFIELD             OH   44907‐1784
TIMMER, DAVID J          3434 WAYSIDE TER                                                                     LANSING               MI   48917‐4384
TIMMER, GLENN A          293 WESTMONT AVE                                                                     HOLLAND               MI   49424‐2134
TIMMER, GREGORY C        171 N MAIN ST                                                                        RIDGEVILLE            SC   29472‐8034
TIMMER, HAROLD E         1808 PIERCE ROAD                                                                     LANSING               MI   48910‐6233
TIMMER, HOWARD R         2500 BRETON WOODS DR. SE‐3000                                                        GRAND RAPIDS          MI   49512
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                    Part 37 of 40 Pg 120 of 901
Name                             Address1                               Address2              Address3   Address4         City               State Zip
TIMMER, HUBERT M                 1619 BERKELEY DR                                                                         LANSING             MI 48910‐1124
TIMMER, JERRY L                  4048 CHESTER ST                                                                          HUDSONVILLE         MI 49426‐9354
TIMMER, JOHN T                   6088 HEDGE LN                                                                            HAMILTON            OH 45011‐5111
TIMMER, KENNETH G                8740 KARI LN SW                                                                          BYRON CENTER        MI 49315‐9249
TIMMER, LAWRENCE R               4720 6 MILE RD                                                                           MARNE               MI 49435‐8721
TIMMER, LOIS R                   2108 COLLINGWOOD AVE SW                                                                  WYOMING             MI 49519‐1646
TIMMER, MARK C                   4240 HOOK RD                                                                             CRESTLINE           OH 44827‐9664
TIMMER, MARLENE                  8539 CAMELLIA ST                                                                         LANSING             MI 48917
TIMMER, PAULINE                  1808 PIERCE RD                                                                           LANSING             MI 48910‐6233
TIMMER, WILLIAM A                3134 RIVERVALE DR SW                                                                     GRANDVILLE          MI 49418‐3106
TIMMERMAN JR, GEORGE A           5900 HALF MOON LAKE RD                                                                   JONESVILLE          MI 49250‐9400
TIMMERMAN MARGARET               17505 VAN DORN ST                                                                        WALTON              NE 68461‐9771
TIMMERMAN, DALE P                14591 VAUXHALL DR                                                                        STERLING HEIGHTS    MI 48313‐2740
TIMMERMAN, DAVID J               6992 SUNSET DR                                                                           ALLENDALE           MI 49401‐9770
TIMMERMAN, DAVID L               1806 GRANGE HALL RD                                                                      DAYTON              OH 45432‐2028
TIMMERMAN, DONNA                 1644 S MARION AVE                                                                        JANESVILLE          WI 53546
TIMMERMAN, DOUGLAS R             2275 WOOD FALLS DR                                                                       CUMMING             GA 30041‐6384
TIMMERMAN, ERIC C                PO BOX 4906                                                                              NEW YORK            NY 10163‐4906
TIMMERMAN, JUDY A                7905 PARKVIEW DR                                                                         PARKVILLE           MO 64152‐6055
TIMMERMAN, KEVIN F               3516 WILDERNESS LN                                                                       ZEELAND             MI 49464‐9236
TIMMERMAN, LILLIAN L             15008 CEDAR SPRINGS AVE                                                                  CEDAR SPRINGS       MI 49319‐8606
TIMMERMAN, LOUIS H               301 BEATTIE AVE APT 2                                                                    LOCKPORT            NY 14094‐5633
TIMMERMAN, LUVERNE C             15008 CEDAR SPRINGS AVE                                                                  CEDAR SPRINGS       MI 49319‐8606
TIMMERMAN, MARCIA J              15856 BIRWOOD AVE                                                                        BEVERLY HILLS       MI 48025‐3334
TIMMERMAN, MICHAEL C             14505 SPYGLASS CIRCLE                                                                    CHOWCHILLA          CA 93610‐7908
TIMMERMAN, TIMOTHY J             19393 BRANDT ST                                                                          ROSEVILLE           MI 48066‐1065
TIMMERMAN, TIMOTHY J.            19393 BRANDT ST                                                                          ROSEVILLE           MI 48066‐1065
TIMMERMAN, WARREN H              PO BOX 4276                                                                              KINGSHILL            VI 00851‐4276
TIMMERMAN, WILLIAM W             7561 LITTLE WALTERS CT                                                                   CLARKSTON           MI 48348‐4446
TIMMERMANN, BRIAN T              979 SUCHAVA DR                                                                           WHITE LAKE          MI 48386‐4558
TIMMERMANN, JERRY L              18 W PARK DR                                                                             O FALLON            MO 63366‐2974
TIMMERMANS, DEBRA L              7699 108TH ST SE                                                                         MIDDLEVILLE         MI 49333‐8950
TIMMERS CHEVROLET, INC.          WILLIAM SMITH                          3940 PASADENA FWY                                 PASADENA            TX 77503‐1110
TIMMERS CHEVROLET, INC./BRANCO   816 W PASADENA FWY                                                                       PASADENA            TX 77506‐1230
SERVICES, INC.
TIMMERS SERVICE                  ATTN: JERRY TIMMER                     3600 DIVISION AVE S                               GRAND RAPIDS       MI   49548‐3248
TIMMERS, LARRY D                 3717 KNAPP ST NE                                                                         GRAND RAPIDS       MI   49525‐9614
TIMMERS, LEON E                  PO BOX 43                                                                                CALEDONIA          MI   49316‐0043
TIMMI CUTHBERTSON                1521 S TUSCOLA RD                                                                        MUNGER             MI   48747‐9705
TIMMI K CUTHBERTSON              1521 S TUSCOLA RD                                                                        MUNGER             MI   48747‐9705
TIMMIE AVERY                     24514 MEKUS RD                                                                           DEFIANCE           OH   43512‐9138
TIMMIE BERRYMAN                  544 COUNTY ROAD 243                                                                      MOULTON            AL   35650‐9562
TIMMIE REDMOND                   790 S MAIN ST APT 424                  LIMA TOWERS                                       LIMA               OH   45804‐1560
TIMMIE REDMOND                   790 S MAIN ST APT 424                                                                    LIMA               OH   45804‐1560
TIMMIE RUSSELL                   124 LAKESIDE DR                                                                          QUINCY             MI   49082‐8519
TIMMIE SIMPSON                   1232 LIZA BLVD                                                                           PONTIAC            MI   48342‐1984
TIMMIE TURNER                    3535 N SHIMMONS CIR                                                                      AUBURN HILLS       MI   48326‐3911
TIMMIE WALKER                    900 MARTIN LUTHER KING JR BLVD S APT                                                     PONTIAC            MI   48341‐2908
                                 D214
TIMMING, BRIAN W                 937 SLEEPY HOLLOW DR                                                                     MONROE             OH 45050‐1759
TIMMING, TIMOTHY C               5504 RUTH AVE                                                                            TOLEDO             OH 43613‐1918
TIMMING, TIMOTHY COURTLAND       5504 RUTH AVE                                                                            TOLEDO             OH 43613‐1918
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                          Part 37 of 40 Pg 121 of 901
Name                                  Address1                         Address2                         Address3   Address4                City                 State Zip
TIMMINGTON, HELEN V                   14223 SAN JOSE                                                                                       REDFORD               MI 48239‐2961
TIMMINGTON, MARK S                    2008 SE 37TH COURT CIR                                                                               OCALA                 FL 34471
TIMMINS AUTOMOTIVE LTD
TIMMINS AUTOMOTIVE LTD.               340 SPRUCE ST S                                                              TIMMINS ON P4N 2M9
                                                                                                                   CANADA
TIMMINS JACK (667825)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK              VA 23510
                                                                       STREET, SUITE 600
TIMMINS, FLORENCE B                   40 OUTLOOK RD                                                                                        WAKEFIELD            MA   01880‐1453
TIMMINS, FLORENCE B                   40 OUTLOOK ROAD                                                                                      WAKEFIELD            MA   01880‐1453
TIMMINS, GRACE E                      9136 CHESTERFIELD DR                                                                                 SWARTZ CREEK         MI   48473‐1122
TIMMINS, HENRY J                      21010 E 12 MILE RD                                                                                   SAINT CLAIR SHORES   MI   48081‐1149
TIMMINS, JACK                         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK              VA   23510‐2212
                                                                       STREET, SUITE 600
TIMMINS, JEAN B                       5478 BENNA CV                                                                                        MEMPHIS              TN 38119‐6905
TIMMIS & INMAN LLP                    300 TALON CENTRE DR                                                                                  DETROIT              MI 48207‐5036
TIMMO TEUBNER                         Z H WOLFRAM TEUBNER              WEIERWEG 10 APP 3507                        D‐79111 FREIBURG
                                                                                                                   GERMANY
TIMMO TEUBNER                         Z H WOLFRAM TEUBNER              WEIERWEY 10 APP 3507                        D‐79111 FREIBURG
                                                                                                                   GERMANY
TIMMONS ADAM                          1094 WELLINGTON ST APT 404       IATVD WRNG DUNS USED FOR SETUP              HALIFAX CANADA NS B3H
                                                                                                                   2Z9 CANADA
TIMMONS ADAM                          1094 WELLINGTON ST APT 404                                                   HALIFAX CANADA NS B3H
                                                                                                                   2Z9 CANADA
TIMMONS GEORGE S                      TIMMONS, GEORGE S
TIMMONS JR, COMMODORE                 5427 CURZON AVE                                                                                      FORT WORTH           TX   76107‐5933
TIMMONS JR, IVAN L                    17688 E KIRKWOOD DR                                                                                  CLINTON TOWNSHIP     MI   48038‐1212
TIMMONS JR, PAUL E                    2057 FAIRFIELD PIKE                                                                                  SPRINGFIELD          OH   45502‐8768
TIMMONS KENNETH                       5218 W MAIN ST                                                                                       BARNESVILLE          OH   43713
TIMMONS MANAGEMENT CO                 2990 W GRAND BLVD # M18                                                                              DETROIT              MI   48202‐3041
TIMMONS ROB                           4483 SILENT RAIN DR                                                                                  SOUTH JORDAN         UT   84095‐5003
TIMMONS ROBERT (ESTATE OF) (629835)   MAZUR & KITTEL PLLC              1490 FIRST NATIONAL BUILDING                                        DETROIT              MI   48226

TIMMONS, A B                          4432 CRICKET RIDGE DR APT 203                                                                        HOLT                 MI   48842‐2954
TIMMONS, ADAM T                       4375 COOLIDGE HWY                                                                                    ROYAL OAK            MI   48073‐1679
TIMMONS, BARBARA E                    134 SOUTH FRANKLIN STREET                                                                            RICHWOOD             OH   43344‐1145
TIMMONS, BETTY J                      951 W BARNER ST                                                                                      FRANKFORT            IN   46041‐1376
TIMMONS, BRANDON M                    202 N MADISON RD                                                                                     LONDON               OH   43140‐1046
TIMMONS, CHARLES D                    16561 COOLIDGE AVE                                                                                   EAST LIVERPOOL       OH   43920‐9498
TIMMONS, CHARLES W                    5101 RAUBINGER RD                                                                                    SWARTZ CREEK         MI   48473‐1626
TIMMONS, CHARLIE F                    2581 HEMMETER RD                                                                                     SAGINAW              MI   48603
TIMMONS, CHLORIS K                    2534 DOE MEADOW DR                                                                                   ANDERSON             IN   46011‐9604
TIMMONS, DALE L                       PO BOX 556                                                                                           ANDERSON             IN   46015‐0556
TIMMONS, DAN                          5814 W LAKE ST                                                                                       ST LOUIS PARK        MN   55416‐2123
TIMMONS, DANIEL E                     986 HARWOOD DR                                                                                       COLUMBUS             OH   43228‐3553
TIMMONS, DENNIS M                     LEE WILLIAM L JR                 PO BOX 14047                                                        JACKSON              MS   39236‐4047
TIMMONS, DOCK F                       33 MAYFAIR LN                                                                                        AURORA               IL   60504‐4096
TIMMONS, DONALD G                     13 VICTORIA SQ                                                                                       SAINT PETERS         MO   63376‐2950
TIMMONS, ELIHUE P                     7262 MILBURY CT                                                                                      OAKWOOD VLG          OH   44146‐5954
TIMMONS, ELMER D                      8864 DORRINGTON AVE                                                                                  ARLETA               CA   91331‐6224
TIMMONS, FLORENCE                     BOX 262                                                                                              CLAYTON              DE   19938‐0262
TIMMONS, FLORENCE                     1020 MADISON ST                                                                                      BRIGHTON             MI   48116‐1350
TIMMONS, FRANK S                      113 POND VIEW LN                                                                                     SEAFORD              DE   19973‐7605
                             09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                Part 37 of 40 Pg 122 of 901
Name                         Address1                        Address2                      Address3   Address4         City               State Zip
TIMMONS, GAIL P              3230 HAZELWOOD ST                                                                         DETROIT             MI 48206‐2156
TIMMONS, GILBERT E           7023 LINCOLN HWY                                                                          CRESTLINE           OH 44827‐9780
TIMMONS, HAROLD R            PO BOX 236                                                                                HALE                MO 64643‐0236
TIMMONS, IRA GEORGE
TIMMONS, JAMES               1952 MOUNT FRIENDSHIP RD                                                                  SMYRNA             DE   19977‐3840
TIMMONS, JAMES E             281 RED POPPY TRL                                                                         GEORGETOWN         TX   78633‐4576
TIMMONS, JAMES E             2761 GOLDENSTRAND DRIVE                                                                   HILLIARD           OH   43026‐8079
TIMMONS, JAMES E             2761 GOLDEN STRAND DR                                                                     HILLIARD           OH   43026
TIMMONS, JANET S             1170 OTTER AVE                                                                            WATERFORD          MI   48328‐4755
TIMMONS, JERRY A             10001 S TWILIGHT RD                                                                       DALEVILLE          IN   47334‐9455
TIMMONS, JOHN A              15718 GUNDRY AVE                                                                          PARAMOUNT          CA   90723
TIMMONS, JOHN E              63 BROOK HILL RD                                                                          HAYNEVILLE         AL   36040
TIMMONS, KATHLEEN S          1975 BROOKVIEW DR                                                                         SALINE             MI   48176‐9267
TIMMONS, KENNETH E           3690 MOSSY CREEK LN                                                                       TALLAHASSEE        FL   32311‐3638
TIMMONS, KIMBERLY C          1701 DUBLIN CT                                                                            SPRING HILL        TN   37174‐9506
TIMMONS, KIMBERLY CHARISSE   1701 DUBLIN CT                                                                            SPRING HILL        TN   37174‐9506
TIMMONS, LARRY               9205 W DEPOT ST                                                                           YORKTOWN           IN   47396‐1520
TIMMONS, LOUISE              137 CARRINGTON DR                                                                         ROCHESTER          NY   14626‐4481
TIMMONS, MARIA               3282 ALLEN                                                                                INKSTER            MI   48141‐2210
TIMMONS, MARIA               3282 ALLEN ST                                                                             INKSTER            MI   48141‐2210
TIMMONS, MARIE J             17688 E KIRKWOOD DR                                                                       CLINTON TOWNSHIP   MI   48038‐1212
TIMMONS, MARY W              PO BOX 311112                                                                             ATLANTA            GA   31131‐1112
TIMMONS, MAX E               2534 DOE MEADOW DR                                                                        ANDERSON           IN   46011‐9604
TIMMONS, MICHAEL L           301 AVERY ST                                                                              ROCHESTER          NY   14606
TIMMONS, PATRICIA D          591 OLD RIVER RD                                                                          PELZER             SC   29669‐9184
TIMMONS, PATRICIA D          581 OLD RIVER RD                                                                          PELZER             SC   29669
TIMMONS, PHILLIP E           PO BOX 117                                                                                GAINES             MI   48436‐0117
TIMMONS, RUTH E              1520 NE 17TH AVENUE                                                                       OCALA              FL   34470‐4673
TIMMONS, SHELIA L            413A NORTH HORTON PARKWAY                                                                 CHAPEL HILL        TN   37034
TIMMONS, SINCLAIR S          APT. #2P.O. BOX 60564                                                                     ROCHESTER          NY   14606
TIMMONS, TABATHA S           6702 STRECKER RD                                                                          MONROEVILLE        OH   44847‐9657
TIMMONS, THOMAS V            1102 LONG LAKE DR                                                                         BRIGHTON           MI   48114‐9641
TIMMONS, TODD E              5987 MANITOBA LN                                                                          SHREVEPORT         LA   71107‐2011
TIMMONS, WALTER A            702 SHEPARD ST                                                                            INDIANAPOLIS       IN   46221‐1156
TIMMONS, WALTER J            2603 S TAYLOR ST                                                                          PITTSBURG          KS   66762‐6548
TIMMONS, WILLIAM B           3303 TAM O SHANTER LN                                                                     RICHARDSON         TX   75080‐1533
TIMMONS, WILLIAM H           5276 GREEN RD                                                                             FENTON             MI   48430‐9342
TIMMOTHY C MOTLEY            1531 LITTLE FALLS DR                                                                      DAYTON             OH   45458‐9706
TIMMRECK KEITH L (439568)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                             STREET, SUITE 600
TIMMRECK, DANIEL E           48612 LAKEVIEW CIR                                                                        SHELBY TOWNSHIP    MI   48317‐2745
TIMMRECK, GARY L             450 MAIN STREET                                                                           NEWFIELD           NY   14867‐9445
TIMMRECK, JAMES R            9118 PONTIAC LAKE RD                                                                      WHITE LAKE         MI   48386‐1630
TIMMRECK, KEITH L            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
TIMMRECK, ROBERTA E          48612 LAKEVIEW CIRCLE                                                                     SHELBY TOWNSHIP    MI   48317‐2745
TIMMRECK, THOMAS N           8520 RATHBUN RD                                                                           BIRCH RUN          MI   48415‐8420
TIMMRECK, THOMAS NELSON      8520 RATHBUN RD                                                                           BIRCH RUN          MI   48415‐8420
TIMMS SPRING/ELYRIA          811 TAYLOR ST                                                                             ELYRIA             OH   44035‐6231
TIMMS, APRIL L               2725 BRIDLE RD                                                                            BLOOMFIELD HILLS   MI   48304‐1609
TIMMS, BOBBIE J              843 BALLARD SE                                                                            GRAND RAPIDS       MI   49507‐2036
TIMMS, BOBBIE J              843 BALLARD ST SE                                                                         GRAND RAPIDS       MI   49507‐2036
                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                          Part 37 of 40 Pg 123 of 901
Name                    Address1                         Address2             Address3      Address4                City               State Zip
TIMMS, BRANDY           PO BOX 562                                                                                  CARAWAY             AK
TIMMS, CEDELL           3325 WOLCOTT ST                                                                             FLINT               MI 48504‐3294
TIMMS, CHRISTOPHER S    429 JARONTE DR                                                                              YOUNGSTOWN          OH 44512‐4431
TIMMS, CHRISTOPHER S    3877 INDIAN RUN DR APT 3                                                                    CANFIELD            OH 44406‐9571
TIMMS, CONNIE S         11708 E 76 TRR                                                                              RAYTOWN             MO 64138
TIMMS, JOHN R           191 TALSMAN DR # B                                                                          CANFIELD            OH 44406‐1238
TIMMS, LISA             191 B TALSMAN DR                                                                            CANFIELD            OH 44406
TIMMS, MARVIN W         91 LINDSEY RD                                                                               MUNROE FALLS        OH 44262‐1157
TIMMS, RONALD O         1929 CHATAM ST                                                                              CUYAHOGA FALLS      OH 44221‐4356
TIMMS, RUTH M           P.O. 17                                                                                     BRISTOLVILLE        OH 44402
TIMMS, WALTER A         659 N 825 W                                                                                 CLEARFIELD          UT 84015‐3833
TIMMY ADAMS             8100 E COUNTY ROAD 400 N                                                                    MUNCIE              IN 47303‐9205
TIMMY ADKISON           PO BOX 171                                                                                  MOUNT MORRIS        MI 48458‐0171
TIMMY BAUER             1708 HOLLYDALE DR                                                                           ATHENS              AL 35611‐4078
TIMMY BENNETT           428 SWISS COLONY RD                                                                         HOHENWALD           TN 38462‐2540
TIMMY BLEVINS           2921 SUBSTATION RD                                                                          MEDINA              OH 44256‐8313
TIMMY CARWILE           10264 N SAGINAW RD                                                                          CLIO                MI 48420‐1683
TIMMY CLARK             1141 WEAVER FARM LN                                                                         SPRING HILL         TN 37174‐2186
TIMMY DEAN              21382 HARRIS LOOP                                                                           ELKMONT             AL 35620‐7340
TIMMY FAIR              1232 VISTA HILLS DR                                                                         LAKELAND            FL 33813‐5641
TIMMY GAGER             4075 GREGOR ST                                                                              MOUNT MORRIS        MI 48458‐8808
TIMMY GRINER            164 W 800 N                                                                                 UNIONDALE           IN 46791‐9748
TIMMY HORN JR
TIMMY J NOVOTNY         3529 POTHOUR WHEELER RD                                                                     HUBBARD            OH   44425‐9781
TIMMY J WANNEMACHER     302 KLINE AVE                                                                               NORTH VERSAILLES   PA   15137
TIMMY JOHNSON           6826 ROSNER XING                                                                            FORT WAYNE         IN   46835‐4935
TIMMY L ADAMS           8100 E COUNTY ROAD 400 N                                                                    MUNCIE             IN   47303‐9205
TIMMY L PYLES           3346 BACHER RD.                                                                             LORDSTOWN          OH   44481
TIMMY LASHOMB           47 JOHNSON DR                                                                               MASSENA            NY   13662‐3140
TIMMY MCAFEE            930 N 10TH ST                                                                               GAS CITY           IN   46933‐1319
TIMMY MCCORD            3111 MEADOWCREST DR                                                                         ANDERSON           IN   46011‐2307
TIMMY N GAGER           4075 GREGOR ST                                                                              MOUNT MORRIS       MI   48458‐8808
TIMMY NOVOTNY           3529 POTHOUR WHEELER RD                                                                     HUBBARD            OH   44425‐9781
TIMMY ONGOY             4115 FARMSIDE RD                                                                            BALTIMORE          MD   21236‐1673
TIMMY ROSS              3399 CLARKSVILLE RD                                                                         WAYNESVILLE        OH   45068‐8046
TIMMY SAYLOR            3225 GOLFHILL DR                                                                            WATERFORD          MI   48329‐4520
TIMMY TRICE             5706 EDGAR HOLT DR                                                                          FLINT              MI   48505‐2981
TIMMY WILMOTH           14526 STATE ROUTE 534                                                                       SALEM              OH   44460‐9173
TIMMY WOOD              17250 ARMADA CENTER RD                                                                      ARMADA             MI   48005‐2311
TIMNER EDWARD JAMES     WALNUT WOODS CENTRE              5955 W MAIN ST                                             KALAMAZOO          MI   49009
TIMNEY, JOHN F          2795 N LAKE DR                                                                              WATERFORD          MI   48329‐2548
TIMNEY, STEVEN F        2490 FORDHAM ST                                                                             KEEGO HARBOR       MI   48320‐1412
TIMO BUDDEUS            ALBERT‐SCHWEITZER STRASSE 4                                         D‐59609 ANROCHTE
                                                                                            GERMANY
TIMO HOLLAENDER         LOCHSTRASSE 14                                                                              SCHAFFHAUSEN            8200
TIMO JEHNEN             PAUL‐KLEE‐STR. 39                D‐51375 LEVERKUSEN   ‐GERMANY‐
TIMO LEINGANG           ATTN ULNKE UND ULRICH LEINGANG   LANDWEHRSTR 14                     67346 SPEYER GERMANY
TIMO LEONHARD SATTLER   KINZIGSTR 1                                                         D 77709 WOLFACH
                                                                                            GERMANY
TIMO RAISER             GARTENSTR. 14‐1                  88212 RAVENSBURG
TIMO TIARKS             DR STEINHUBEL & V BUTTLAR        LOEFFELSTRASSE 44                  70597 STUTTGART
                        RECHTSANWALTE                                                       GERMANY
                              09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                   Part 37 of 40 Pg 124 of 901
Name                          Address1                          Address2            Address3         Address4             City               State Zip
TIMO ZURA                     ROGGENKAMP 47                                                          49393 LOHNE
TIMO ZURA                     ROGGENKAMP 47                     49393 LOHNE
TIMO, DONALD L                5782 BRADLEY RD                                                                             GREGORY            MI    48137‐9480
TIMOCK, BARBARA S             3950 SCENIC RDG APT 333                                                                     TRAVERSE CITY      MI    49684‐3907
TIMOCK, PAUL J                4535 S PINE VALLEY CT                                                                       SUTTONS BAY        MI    49682‐9149
TIMOCK, SUZANNE M             PO BOX 1358                                                                                 GWINN              MI    49841‐1358
TIMOCK, TERRI M               4535 S PINE VALLEY CT                                                                       SUTTONS BAY        MI    49682‐9149
TIMOCKO, MARK D               6045 SPRINGDALE BLVD                                                                        GRAND BLANC        MI    48439‐8521
TIMOFIUK, GEORGE H            26682 SIMONE ST                                                                             DEARBORN HTS       MI    48127‐3338
TIMOHTY AVER                  27 VALERIE LN                                                                               DANBURY            CT    06811
TIMON REINHART                257 HARDWOOD CT                                                                             TOLEDO             OH    43612‐4507
TIMON, KEVIN                  DEARIE & ASSOCS JOHN C            3265 JOHNSON AVE                                          RIVERDALE          NY    10463
TIMON, WANDA                  PO BOX 215                                                                                  LEXINGTON          MI    48450
TIMONEN, E M                  BOX 166                                                                                     TRENARY            MI    49891‐0166
TIMONEN, JUSSI                110 N KINGS RD                                                                              LOS ANGELES        CA    90048‐2618
TIMONEY CONAN                 1260 STEVENS AVE                                                                            ARBUTUS            MD    21227‐2644
TIMONEY GROUP SALES LIMITED   DUBLIN RD.                                                             TRIM IRELAND
TIMOSEN AUTO OY               WAHLFORSSINKATU 1                                                      JOENSUU 10 80100
                                                                                                     FINLAND
TIMOTEO BERNARDI              1 HEATHER DR                                                                                WAPPINGERS FALLS    NY 12590‐7036
TIMOTEO GUTIERREZ JR          1514 NEW YORK AVE                                                                           FLINT               MI 48506‐3329
TIMOTEO SERNA                 332 S ELM ST                                                                                LAPEER              MI 48446‐2527
TIMOTHY
TIMOTHY & KARA HARTEY &       KIMMEL & SILVERMAN                30 E BUTLER AVE                                           AMBLER             PA    19002‐4514
TIMOTHY A ANDERSON            339 LINCOLN AVE                                                                             TROY               OH    45373
TIMOTHY A BENNETT             3029 IDLEWILDE BLVD APT 2A                                                                  DAYTON             OH    45414‐5562
TIMOTHY A BEST                10200 YOUNG RD                                                                              UNION CITY         OH    45390‐8674
TIMOTHY A BODMER              424 N 4TH ST                                                                                TIPP CITY          OH    45371
TIMOTHY A BOLIN               PO BOX 1221                                                                                 MIDDLEBURG         FL    32050‐1221
TIMOTHY A BOOTH               1370 S AIRPORT RD                                                                           SAGINAW            MI    48601‐9483
TIMOTHY A CAMPBELL            1704 S SHERIDAN ST                                                                          BAY CITY           MI    48708‐8196
TIMOTHY A CLEARY              5711 SWAN DR                                                                                CLAYTON            OH    45315‐9615
TIMOTHY A CLEGG               107 IDAHO RD                                                                                AUSTINTOWN         OH    44515‐2620
TIMOTHY A COTE                184 W RUTGERS AVE                                                                           PONTIAC            MI    48340‐2760
TIMOTHY A CRUMLY              135 MILL ST.                                                                                SOMERVILLE         OH    45064
TIMOTHY A CUNNINGHAM          4876 NORTHGATE COURT                                                                        DAYTON             OH    45416‐1127
TIMOTHY A DELON               661 IOWA AVE G9                                                                             MC DONALD          OH    44437
TIMOTHY A DEVANNA             501 LOCKWOOD AVE                                                                            SANDUSKY           OH    44870‐3812
TIMOTHY A DUPLANTY            9341 NEFF RD                                                                                CLIO               MI    48420‐1660
TIMOTHY A EVANS               136 BELLINGHAM DR                                                                           MADISON            AL    35758‐6826
TIMOTHY A FAULKNER            334 E COTTAGE AVE                                                                           W CARROLLTON       OH    45449
TIMOTHY A FINAN               701 ALLEN AVE.                                                                              HAMILTON           OH    45015‐2008
TIMOTHY A FOREMAN             1013 ANDOVER ST                                                                             CLINTON            MS    39056‐3803
TIMOTHY A FOSBERG             1483 MEDWAY NEW CARLISLE RD                                                                 MEDWAY             OH    45341
TIMOTHY A GILBERT             1510 WESTONA DRIVEE                                                                         DAYTON             OH    45410
TIMOTHY A GREGORY             322 MONTANA DR                                                                              XENIA              OH    45385‐4418
TIMOTHY A GRIMMETT            PO BOX 211                                                                                  CORTLAND           OH    44410‐0211
TIMOTHY A GROOMS              3549 WOODALE RD                                                                             INDIANAPOLIS       IN    46234‐1452
TIMOTHY A HACHINSKI           5714 N 123RD ST                                                                             KANSAS CITY        KS    66109‐2701
TIMOTHY A HOFFER              411 GREENPORT DR                                                                            W CARROLLTON       OH    45449
TIMOTHY A HOLCOMB             851 VICTORY RD                                                                              SPRINGFIELD        OH    45504‐3741
TIMOTHY A HUBARTH             57 E RUTGERS AVE                                                                            PONTIAC            MI    48340‐2749
                         09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 125 of 901
Name                     Address1                      Address2             Address3        Address4         City            State Zip
TIMOTHY A KNAUER         249 FISHER DR                                                                       COUDERSPORT      PA 16915
TIMOTHY A KRULL          4763 NEW MARKET BANTA RD                                                            LEWISBURG        OH 45338‐‐ 67
TIMOTHY A MAYRER         1835 GUMMER AVE.                                                                    DAYTON           OH 45403
TIMOTHY A MILLER         200 PINEVIEW DR NE                                                                  WARREN           OH 44484‐6412
TIMOTHY A MOBLEY         1614 WESTONA DRIVE                                                                  DAYTON           OH 45410
TIMOTHY A NAGEL          9963 JULIE DR                                                                       YPSILANTI        MI 48197‐8285
TIMOTHY A OBERKROM       16720 STONE CREEK CT                                                                FLORISSANT       MO 63034‐1019
TIMOTHY A PEELE          536 W WALNUT ST                                                                     TIPP CITY        OH 45371
TIMOTHY A PHELPS         1737 OAKWAY CIR                                                                     COLUMBIA         TN 38401‐9078
TIMOTHY A PICKENS        61 EAST MAIN ST                                                                     NEWTON FALLS     OH 44444
TIMOTHY A QUINN          2109 HAZEL AVE                                                                      KETTERING        OH 45420‐2125
TIMOTHY A ROGERS         13840 90TH ST S                                                                     HASTINGS         MN 55033
TIMOTHY A SANFORD        5484 HYDE PARK DR                                                                   HILLIARD         OH 43026‐8581
TIMOTHY A SCORSE         1351 N ORANGE DR APT 111                                                            LOS ANGELES      CA 90028
TIMOTHY A SHOCK          7395 FARMINGTON RD                                                                  MIAMISBURG       OH 45342
TIMOTHY A SMITH          1902 EATON GETTYSBURG RD                                                            EATON            OH 45320
TIMOTHY A SOCIA          70049 WHITE TAIL LN                                                                 BRUCE TWP        MI 48065‐4449
TIMOTHY A SPEARS         4495 GRAPE VINE DR                                                                  HOWELL           MI 48843‐7296
TIMOTHY A THOMAS         2121 PARKPLACE ST SE                                                                DECATUR          AL 35601‐3459
TIMOTHY A TRELOAR        438 E SHERIDAN AVE                                                                  NEW CASTLE       PA 16105‐2627
TIMOTHY A VANCE          11705 SPENCER RD                                                                    SAGINAW          MI 48609‐9138
TIMOTHY A VERNON         34 ICELAND DR                                                                       EATON            OH 45320
TIMOTHY A WITTEN         1400 BEDDINGTON WAY                                                                 BOWLING GREEN    KY 42104‐4366
TIMOTHY A WOODS          6611 DEER KNOLLS DR                                                                 HUBER HEIGHTS    OH 45424
TIMOTHY ABOWD            10807 HILLCREST DRIVE                                                               PLYMOUTH         MI 48170‐3225
TIMOTHY ADAMS            2819 NW 29TH ST                                                                     NEWCASTLE        OK 73065‐6480
TIMOTHY ADAMS            165 HURST RD                                                                        HOHENWALD        TN 38462‐5265
TIMOTHY ADAMS            4856 NEBRASKA AVE                                                                   HUBER HEIGHTS    OH 45424‐6006
TIMOTHY ADAMS            2435 S PORT PLEASANT DR                                                             MARBLEHEAD       OH 43440‐9718
TIMOTHY ADAMSON          136 OPPRESSION LN                                                                   FLINT            MI 48507‐5927
TIMOTHY ADDINGTON        214 OAK DR                                                                          PASADENA         MD 21122‐4932
TIMOTHY ADDY             20403 SUNNINGDALE PARK                                                              GROSSE POINTE    MI 48236‐1635
TIMOTHY ADER             947 LUTZKE RD                                                                       SAGINAW          MI 48609‐6920
TIMOTHY ADLEMAN          4650 NIMS RD                                                                        LESLIE           MI 49251‐9759
TIMOTHY AGLE             PO BOX 90225                                                                        BURTON           MI 48509‐0225
TIMOTHY ALBERTS          1913 STANLEY ST                                                                     SAGINAW          MI 48602‐1085
TIMOTHY ALBONE           1020 W CENTER ST                                                                    MEDINA           NY 14103‐1054
TIMOTHY ALDER            391 NORTH RD                                                                        FENTON           MI 48430‐1892
TIMOTHY ALDRICH          5472 CHATHAM LN                                                                     GRAND BLANC      MI 48439‐9801
TIMOTHY ALEXANDER        3241 S 400 E                                                                        KOKOMO           IN 46902‐9359
TIMOTHY ALFERMANN        8630 CHELSEA DR                                                                     NOBLESVILLE      IN 46060‐4341
TIMOTHY ALGER            815 MARION DR                                                                       HOLLY            MI 48442‐1074
TIMOTHY ALLAMON          4837 STATE ROUTE 98                                                                 BUCYRUS          OH 44820‐9328
TIMOTHY ALLEN            PO BOX 726                                                                          STOCKBRIDGE      MI 49285‐0726
TIMOTHY ALLEN            4365 OLD COLUMBUS RD                                                                LONDON           OH 43140‐8814
TIMOTHY ALLEN            7621 OLDE STURBRIDGE TRL                                                            CLARKSTON        MI 48348‐4613
TIMOTHY ALLEN WITHROW    MOTLEY RICE LLC               28 BRIDGESIDE BLVD   PO BOX 1792                      MT PLEASANT      SC 29465
TIMOTHY ALSFELD
TIMOTHY ALTHERR          7406 CAPRI DR                                                                       FORT WAYNE      IN   46819‐1715
TIMOTHY ANAPLE           1965 THORNBROOK TRAIL         LOT 2                                                 TOLEDO          OH   43611
TIMOTHY AND TARA CLARK   4808 ROLLING GREEN PARKWAY                                                          EDINA           MN   55436
TIMOTHY ANDERSON         2096 HUMMER LAKE RD                                                                 OXFORD          MI   48371‐2920
                         09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                            Part 37 of 40 Pg 126 of 901
Name                    Address1                         Address2            Address3         Address4         City            State Zip
TIMOTHY ANDRZEJEWSKI    2003 S SHERIDAN ST                                                                     BAY CITY         MI 48708‐3815
TIMOTHY ANGUISH         11734 BITTERSWEET LN                                                                   WHITMORE LAKE    MI 48189‐9145
TIMOTHY ANKNEY          6624 ARROWSMITH RD                                                                     HICKSVILLE       OH 43526‐9759
TIMOTHY ANTHONY         2738 SWAYZE ST                                                                         FLINT            MI 48503‐3357
TIMOTHY ARDO            4202 COLUMBO LN                                                                        LORAIN           OH 44055‐3760
TIMOTHY ARKSEY          8303 TYRRELL RD                                                                        LAINGSBURG       MI 48848‐8721
TIMOTHY ARMSTRONG       12 PATRIOT CT                                                                          MARTINSBURG      WV 25405‐6851
TIMOTHY ARNOLD          8082 FOX HOLLOW RD                                                                     GOODRICH         MI 48438‐9233
TIMOTHY ARNST           7304 MERIDIAN RD                                                                       LAINGSBURG       MI 48848‐9471
TIMOTHY ARTHUR          7375 JEFFREY CT                                                                        LINDEN           MI 48451‐8612
TIMOTHY ASBURY          1391 JOLSON AVE                                                                        BURTON           MI 48529‐2025
TIMOTHY ASHLEY          W7234 MAPLE RD                                                                         NEILLSVILLE      WI 54456‐7107
TIMOTHY ASOKLIS         47351 BOBWHITE LN                                                                      SHELBY TWP       MI 48315‐4825
TIMOTHY ASTON           7162 MAHONING AVE NW                                                                   WARREN           OH 44481‐9469
TIMOTHY ATANASOFF       6149 COLUMBIA ST                                                                       HASLETT          MI 48840‐8267
TIMOTHY ATKINS          6102 SURREY LN                                                                         BURTON           MI 48519‐1316
TIMOTHY ATMAJIAN        2363 W MUSCAT AVE                                                                      FRESNO           CA 93706
TIMOTHY AUSTIN          4084 E 1000 N                                                                          ALEXANDRIA       IN 46001‐8280
TIMOTHY AUTAUBO         7352 ROYALTY WAY APT 206                                                               MERRIAM          KS 66203‐4669
TIMOTHY AVERY           3705 HEAVENLY LN                                                                       WARREN           MI 48092‐3700
TIMOTHY AYRES           728 W PARK ST                                                                          OLATHE           KS 66061‐3138
TIMOTHY B BALZ          9675 KELLER RD                                                                         CLARENCE CTR     NY 14032‐9742
TIMOTHY B BENDER        7373 BELL RD                                                                           BIRCH RUN        MI 48415‐9095
TIMOTHY B BERG
TIMOTHY B FOUST         11472 E LIPPINCOTT BLVD APT 1                                                          DAVISON         MI   48423‐9145
TIMOTHY B GENTRY        2373 S. ARAGON AVE.                                                                    KETTERING       OH   45420
TIMOTHY B HARKENRIDER   2435 CHILDS LAKE ROAD                                                                  MILFORD         MI   48381
TIMOTHY B HARRIS        3011 WYOMING DR                                                                        XENIA           OH   45385
TIMOTHY B HOLLAND       112 MEYER AVE                                                                          DAYTON          OH   45431
TIMOTHY B KIRBY         160 CARDIGAN RD                                                                        DAYTON          OH   45459
TIMOTHY B KITCHEN       16202 93RD DR                                                                          LIVE OAK        FL   32060‐6887
TIMOTHY B PELFREY       1000 LIVINGSTON DR.                                                                    XENIA           OH   45385
TIMOTHY B PIERCE        145 N QUENTIN AVE                                                                      DAYTON          OH   45403‐1748
TIMOTHY B SIKORA        107 MEDFORD RD                                                                         SYRACUSE        NY   13211‐1827
TIMOTHY B STEWART       4900 WARREN SHARON RD.                                                                 VIENNA          OH   44473
TIMOTHY B TYUS          314 MADISON AVE                                                                        TROTWOOD        OH   45426
TIMOTHY BAADE           14021 BRIARWOOD LN                                                                     ROSCOE          IL   61073‐8482
TIMOTHY BACKUS          5377 N WALDO RD                                                                        MIDLAND         MI   48642‐9713
TIMOTHY BADGLEY         7352 SILVER COVE CT                                                                    LINDEN          MI   48451‐8798
TIMOTHY BADGLEY         2160 HOGBACK RD                                                                        SUNBURY         OH   43074‐9560
TIMOTHY BADIA           7165 PINEMILL DR                                                                       WEST CHESTER    OH   45069‐4622
TIMOTHY BAHAN           1041 HADLEY RD                                                                         LAPEER          MI   48446‐9707
TIMOTHY BAILEY          PO BOX 224                                                                             BOYD            TX   76023‐0224
TIMOTHY BAILEY          15816 ELMIRA ST                                                                        LANSING         MI   48906‐1107
TIMOTHY BALDWIN         49783 SUSSEX                                                                           CHESTERFIELD    MI   48047‐3768
TIMOTHY BALL            5936 STUMPH RD APT 211                                                                 PARMA           OH   44130‐1759
TIMOTHY BALLEW          1217 MAGNOLIA ST                                                                       DEFIANCE        OH   43512‐3028
TIMOTHY BALZ            9675 KELLER RD                                                                         CLARENCE CTR    NY   14032‐9742
TIMOTHY BANDY           36911 WALKER N                                                                         WALKER          LA   70785
TIMOTHY BANK            PO BOX 835                                                                             ROSCOMMON       MI   48653‐0835
TIMOTHY BANTZ           28511 RAY DR                                                                           WATERFORD       WI   53185‐2658
TIMOTHY BANYAI          10953 GRAMLICH RD                                                                      MAYBEE          MI   48159‐9510
                                09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                  Part 37 of 40 Pg 127 of 901
Name                            Address1                       Address2                       Address3         Address4         City              State Zip
TIMOTHY BARANCIK                5300 W BURT RD                                                                                  MONTROSE           MI 48457‐9371
TIMOTHY BARDONI                 26569 PALOMINO AVE                                                                              WARREN             MI 48089‐1236
TIMOTHY BARKELL                 3288 CANTERBURY DR                                                                              BAY CITY           MI 48706‐2055
TIMOTHY BARKER                  1403 PURSELL AVE                                                                                DAYTON             OH 45420‐1948
TIMOTHY BARKSDALE               1872 CLARA MATHIS RD                                                                            SPRING HILL        TN 37174‐2546
TIMOTHY BARNES                  13089 26 MILE RD                                                                                WASHINGTON TWP     MI 48094‐3105
TIMOTHY BARNEY                  PO BOX 373                                                                                      WESTVILLE           IL 61883‐0373
TIMOTHY BARRON                  10180 68TH ST SE                                                                                ALTO               MI 49302‐9196
TIMOTHY BARROW                  4189 E FARRAND RD                                                                               CLIO               MI 48420‐9131
TIMOTHY BARTEL                  1901 GERSHWIN DR                                                                                JANESVILLE         WI 53545‐0816
TIMOTHY BATES                   5590 HAVERHILL                                                                                  WEST BLOOMFIELD    MI 48322‐4009
TIMOTHY BATES                   203 TAYLOR ST                                                                                   WELLINGTON         OH 44090‐1124
TIMOTHY BATTAGLIA               125 YOUNG ST                                                                                    TONAWANDA          NY 14150‐2319
TIMOTHY BATZER                  6295 KINYON DR                                                                                  BRIGHTON           MI 48116‐9581
TIMOTHY BAUER                   7100 CRAIG ST                                                                                   OVERLAND PARK      KS 66204‐1704
TIMOTHY BEALS                   3927 HART RD                                                                                    TWIN LAKE          MI 49457‐9374
TIMOTHY BEAN                    2796 S 800 E                                                                                    GREENTOWN          IN 46936‐9141
TIMOTHY BEAUCHAMP               2104 NEBRASKA AVE                                                                               FLINT              MI 48506‐3750
TIMOTHY BEAVERS                 1005 BOYD ST                                                                                    BELFAST            TN 37019‐2000
TIMOTHY BECKWITH                PO BOX 203                                                                                      WEST LAFAYETTE     OH 43845‐0203
TIMOTHY BEDELL                  7279 W ROLSTON RD                                                                               LINDEN             MI 48451‐9766
TIMOTHY BEDGOOD                 3351 SIMSBURY DR                                                                                PINCKNEY           MI 48169‐8411
TIMOTHY BEECH                   1568 HILLSIDE DR                                                                                OKEMOS             MI 48864‐2320
TIMOTHY BEECHLER                2904 W ROSE CITY RD                                                                             WEST BRANCH        MI 48661‐9557
TIMOTHY BEEMAN                  4166 PEGGY DR                                                                                   SAGINAW            MI 48601‐5012
TIMOTHY BEGLEY                  1875 DEER XING                                                                                  PENDLETON          IN 46064‐9057
TIMOTHY BEGLEY                  752 FALCON HILL TRL                                                                             O FALLON           MO 63368‐8192
TIMOTHY BEHRENS                 50 LINDHURST DR                                                                                 LOCKPORT           NY 14094‐5718
TIMOTHY BELEN                   PO BOX 303                                                                                      WESTPHALIA         MI 48894‐0303
TIMOTHY BELILL                  12338 MARSHALL RD                                                                               MONTROSE           MI 48457
TIMOTHY BELL                    1 BLACKWOOD LN                                                                                  SAINT PETERS       MO 63376‐2035
TIMOTHY BELL                    6248 S MOHAWK AVE                                                                               YPSILANTI          MI 48197‐9441
TIMOTHY BELL                    9799 BEECHER RD                                                                                 CLAYTON            MI 49235‐9646
TIMOTHY BELLOR                  5708 HURDS CORNER RD                                                                            MAYVILLE           MI 48744‐9567
TIMOTHY BELTON                  1802 LAWRENCE AVE                                                                               INDIANAPOLIS       IN 46227‐8626
TIMOTHY BENDER                  7373 BELL RD                                                                                    BIRCH RUN          MI 48415‐9095
TIMOTHY BENGAL                  12048 W PRICE RD                                                                                WESTPHALIA         MI 48894‐9201
TIMOTHY BENNETT                 PO BOX 645                     401 E CASS ST                                                    GREENVILLE         MI 48838‐0645
TIMOTHY BENSON                  2363 SOUTHAMPTON AVE                                                                            FLINT              MI 48507‐4451
TIMOTHY BENTLEY                 1773 E 34TH ST                                                                                  LORAIN             OH 44055‐1749
TIMOTHY BENTLEY                 7241 N ELMS RD                                                                                  FLUSHING           MI 48433‐8802
TIMOTHY BENTON, IOWA ATTORNEY   ENVIRONMENTAL DIV              LUCAS BUILDING, GROUND FLOOR   321 E. 12TH ST                    DES MOINES          IA 50319
GENERAL'S IOWA
TIMOTHY BERG                    4639 MEADOW CT                                                                                  AUBURN            MI   48611‐9506
TIMOTHY BERGER                  5135 PERRY RD                                                                                   MARTINSVILLE      IN   46151‐8261
TIMOTHY BERGSTROM               27561 RUBY LN                                                                                   CASTAIC           CA   91384‐3179
TIMOTHY BERNTH                  1003 LOWREY PL                                                                                  SPRING HILL       TN   37174‐6119
TIMOTHY BERRY                   26964 RIVERFORD DR                                                                              PERRYSBURG        OH   43551‐5456
TIMOTHY BERRY                   4075 HOLT RD LOT 56                                                                             HOLT              MI   48842‐6014
TIMOTHY BERRY                   556 E 800 S                                                                                     WATERLOO          IN   46793‐9604
TIMOTHY BESAW                   1901 LES ROBINSON RD                                                                            COLUMBIA          TN   38401‐1329
TIMOTHY BETTIS                  1173 SPRING CT                                                                                  AVON              IN   46123‐9452
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 128 of 901
Name                  Address1                       Address2            Address3         Address4         City              State Zip
TIMOTHY BETZ          N5150 BACHELORS AVE                                                                  NEILLSVILLE        WI 54456‐8834
TIMOTHY BEVIS         2277 W BREESE RD                                                                     LIMA               OH 45806‐1713
TIMOTHY BIEGAS        31724 FLORENCE ST                                                                    GARDEN CITY        MI 48135‐1332
TIMOTHY BIGNELL       3009 CANTERBURY PARK CT                                                              WINSTON SALEM      NC 27127‐7377
TIMOTHY BILLINGSLEY   17401 ROSELAWN ST                                                                    DETROIT            MI 48221‐2554
TIMOTHY BISHOP        2910 W RIVER DR                                                                      EVART              MI 49631‐8591
TIMOTHY BLACK         4122 ALPHA ST APT 14                                                                 LANSING            MI 48910‐4750
TIMOTHY BLACKER       14114 ORMAN RD                                                                       COAL CITY          IN 47427‐8064
TIMOTHY BLACKLIDGE    3718 CHULA VISTA DR SW                                                               DECATUR            AL 35603‐4023
TIMOTHY BLANCHARD     186 N BALDWIN RD                                                                     CLARKSTON          MI 48348‐2302
TIMOTHY BLAND         705 W DARRELL DR                                                                     MUNCIE             IN 47303‐9764
TIMOTHY BLANTON       632 BULL RD                                                                          NEW LEBANON        OH 45345‐9258
TIMOTHY BLUST         1347 CIRCLE DR E                                                                     MANSFIELD          OH 44905‐1813
TIMOTHY BODE          250 MILLS LN                                                                         BUCHANAN           TN 38222‐5035
TIMOTHY BOERNER       2608 W CROSS ST                                                                      ANDERSON           IN 46011‐9510
TIMOTHY BOESEL        7045 CASE RD                                                                         N RIDGEVILLE       OH 44039‐2733
TIMOTHY BOGGS         933 CLOVER PARK DR                                                                   CLOVER             SC 29710‐2018
TIMOTHY BOHLANDER     11242 W 50 N                                                                         KEMPTON            IN 46049‐9784
TIMOTHY BOHN          6474 DEXTER PINCKNEY RD                                                              DEXTER             MI 48130‐8541
TIMOTHY BOLIN         PO BOX 1221                                                                          MIDDLEBURG         FL 32050‐1221
TIMOTHY BOLTON        1445 E POND DR APT 13                                                                OKEMOS             MI 48864‐2390
TIMOTHY BONGE         12400 BUCKSKIN PASS                                                                  NORMAN             OK 73026‐8650
TIMOTHY BONNER        824 EDNA JANE LANE                                                                   WEST GROVE         PA 19390
TIMOTHY BONTRAGER     7480 E COUNTY ROAD 500 N                                                             KOKOMO             IN 46901
TIMOTHY BOOMS         9336 WARNER RD                                                                       HASLETT            MI 48840‐9236
TIMOTHY BOOTH         1370 S AIRPORT RD                                                                    SAGINAW            MI 48601‐9483
TIMOTHY BORNE         2262 SANTA FE PIKE                                                                   COLUMBIA           TN 38401‐2393
TIMOTHY BORTZ         201 APACHE TRL                                                                       COLUMBIA           TN 38401‐2100
TIMOTHY BORYS         13700 WESTCOTT DR                                                                    SOUTHGATE          MI 48195‐3080
TIMOTHY BOTKINS       4301 W CARO RD                                                                       CARO               MI 48723‐9644
TIMOTHY BOUNDY        3652 SUNNYSIDE CT                                                                    ROCHESTER HILLS    MI 48306‐4708
TIMOTHY BOWDEN        2678 GROVENBURG RD                                                                   LANSING            MI 48911‐6400
TIMOTHY BOYES         2996 EMMONS AVE                                                                      ROCHESTER HILLS    MI 48307‐5531
TIMOTHY BRADLEY       15075 BRIARWOOD DR                                                                   GRAND HAVEN        MI 49417‐9187
TIMOTHY BRADY         5795 SHOEMAN RD                                                                      HASLETT            MI 48840‐9791
TIMOTHY BRADY         4706 WILLOW PARK DR                                                                  ARLINGTON          TX 76017‐2265
TIMOTHY BRADY         100 BERKLEY ST                                                                       DEARBORN           MI 48124‐1302
TIMOTHY BRADY         23 BALSAM RD                   GORDY ESTATES                                         WILMINGTON         DE 19804‐2642
TIMOTHY BRALEY        9400 S HEMLOCK RD                                                                    SAINT CHARLES      MI 48655‐9780
TIMOTHY BRAMAN        1290 HASLETT RD                                                                      WILLIAMSTON        MI 48895‐9309
TIMOTHY BRAMBLE       220 COYOTE RUN                                                                       HOLLY              MI 48442‐8128
TIMOTHY BRANCH        245 OLD BALLWIN RD                                                                   BALLWIN            MO 63021‐4833
TIMOTHY BRANCH        PO BOX 343                                                                           INGALLS            IN 46048‐0343
TIMOTHY BRANDON JR    66 GLENWOOD DR                                                                       JACKSON            TN 38305‐1723
TIMOTHY BRANDT        205 HUMISTON CIR                                                                     THOMASTON          CT 06787‐1223
TIMOTHY BRANNAN       10366 VALLEY DR                                                                      GOODRICH           MI 48438‐8728
TIMOTHY BRANSCOMB     23242 ENNISHORE                                                                      NOVI               MI 48375‐4239
TIMOTHY BRANSON       4015 KITTYHAWK DRIVE                                                                 DAYTON             OH 45403‐2843
TIMOTHY BRAYMAN       3358 MARVIN DR                                                                       ADRIAN             MI 49221‐9290
TIMOTHY BREAULT       24700 DAYTON RD                                                                      ARMADA             MI 48005‐2717
TIMOTHY BRENNAN       8243 CARIBOU LAKE LN                                                                 CLARKSTON          MI 48346‐1984
TIMOTHY BRENNAN       2265 BAY ST                                                                          SAGINAW            MI 48602‐3823
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                          Part 37 of 40 Pg 129 of 901
Name                  Address1                         Address2                     Address3   Address4         City              State Zip
TIMOTHY BRENNAN       1149 W SELFRIDGE BLVD                                                                     CLAWSON            MI 48017‐1339
TIMOTHY BRENTON       107 MCADOO AVE                                                                            TRENTON            NJ 08619‐1753
TIMOTHY BREWER        7811 KAY ST                                                                               FRANKLIN           OH 45005‐4156
TIMOTHY BRICKEY       2026 HIGHLANDER DR N                                                                      XENIA              OH 45385‐6400
TIMOTHY BRIGHAM       2613 THORNY DR                                                                            CHURCHVILLE        MD 21028‐1512
TIMOTHY BRILEY        2716 WATER OAK DR                                                                         GRAND PRAIRIE      TX 75052‐4448
TIMOTHY BRILL         10315 SHERIDAN RD                                                                         BURT               MI 48417‐2173
TIMOTHY BRISSETTE     15895 HICKORY RIDGE DR                                                                    NORTHVILLE         MI 48168‐2012
TIMOTHY BRISTOL       8720 ALWARD RD                                                                            LAINGSBURG         MI 48848‐9244
TIMOTHY BROCK         5440 S GENESEE RD                                                                         GRAND BLANC        MI 48439‐7640
TIMOTHY BRODERS       4365 SHERWOOD RD                                                                          ORTONVILLE         MI 48462‐9273
TIMOTHY BROOKS        6084 BELLINGHAM COURT                                                                     BURTON             MI 48519‐1614
TIMOTHY BROOKS        4083 SAMANTHA DR                                                                          BRITTON            MI 49229‐8724
TIMOTHY BROOKS        159 LIDDY DR                                                                              BRIGHTON           MI 48114‐8748
TIMOTHY BROOKS        246 MEDIATE DR                                                                            RALEIGH            NC 27603‐1994
TIMOTHY BROOKS        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
TIMOTHY BROTHERS      PO BOX 186                                                                                ROSCOMMON          MI 48653‐0186
TIMOTHY BROWN         6579 PICKETT RD                                                                           ONAWAY             MI 49765‐8400
TIMOTHY BROWN         1880 S GERA RD                                                                            FRANKENMUTH        MI 48734‐9733
TIMOTHY BROWN         5565 E OUTER DR                                                                           DETROIT            MI 48234‐3717
TIMOTHY BROWN         3100 UNDERWOOD RD                                                                         CARO               MI 48723‐9446
TIMOTHY BROWN         PO BOX 1321                                                                               YOUNGSTOWN         OH 44501‐1321
TIMOTHY BROWN         335 ROGERS RD                                                                             VIENNA             OH 44473‐9638
TIMOTHY BROWN         PO BOX 1295                                                                               FLINT              MI 48501‐1295
TIMOTHY BROWN         3366 STRAWBERRY LN                                                                        PORT HURON         MI 48060‐2306
TIMOTHY BROWN         1700 10TH ST                                                                              DANVILLE           IN 46122‐9175
TIMOTHY BROWN         405 PARKERS DR                                                                            PORTLAND           MI 48875‐9538
TIMOTHY BROWN         149 POPLAR VIEW LN                                                                        BEDFORD            IN 47421‐6815
TIMOTHY BROWN         1512 DAYTON DR                                                                            JANESVILLE         WI 53546‐1451
TIMOTHY BROWN         2660 SANDHILL RD                                                                          MASON              MI 48854‐9420
TIMOTHY BROWN SR      3238 PINTO CIR                                                                            LANSING            MI 48906‐9080
TIMOTHY BROWNLIE      37 WILLOW POND DR E                                                                       SAGINAW            MI 48603‐9640
TIMOTHY BRUCE         1376 SUNVIEW DR                                                                           O FALLON           MO 63366‐6324
TIMOTHY BRUCE         16750 WANATAH TRL                                                                         WESTFIELD          IN 46074‐8015
TIMOTHY BRUCE         197 MCAULIFFE DR                                                                          FLUSHING           MI 48433‐9327
TIMOTHY BUCHANAN      6007 BROOKFALL DR                                                                         ARLINGTON          TX 76018‐5331
TIMOTHY BUCKENMEYER   PO BOX 332                                                                                NEAPOLIS           OH 43547‐0332
TIMOTHY BUCKEY        4348 CHIPPEWA DR                                                                          PIGEON             MI 48755‐9774
TIMOTHY BUCKLER       PO BOX 484                                                                                SWAYZEE            IN 46986‐0484
TIMOTHY BUDA          11353 COOK RD                                                                             GAINES             MI 48436‐9742
TIMOTHY BULLEN        11722 TOMPKINS RD                                                                         RIVES JCT          MI 49277‐9629
TIMOTHY BUNN          218 E STATE ST                                                                            MONTROSE           MI 48457‐9004
TIMOTHY BUNTING       1626 SILVER CREEK ST                                                                      ALGER              MI 48610‐9303
TIMOTHY BURCH         2438 POPLAR DR                                                                            KAWKAWLIN          MI 48631‐9143
TIMOTHY BURDEN        35639 S KELLEY DR                                                                         DRUMMOND ISLAND    MI 49726‐9440
TIMOTHY BURGE         1214 ALMOND DR                                                                            PLAINFIELD         IN 46168‐9354
TIMOTHY BURGESS       12220 DIXIE HWY                                                                           HOLLY              MI 48442‐9484
TIMOTHY BURKHARDT     12228 MAPLE RD                                                                            GOODRICH           MI 48438‐9771
TIMOTHY BURKS         11685 ROBSON ST                                                                           DETROIT            MI 48227‐2435
TIMOTHY BURLESON      2720 E PINCONNING RD                                                                      PINCONNING         MI 48650‐9341
TIMOTHY BURNETT       655 SCHOOL HOUSE HILL RD                                                                  UNION              MO 63084‐3879
TIMOTHY BURNS         2457 S FENTON RD                                                                          HOLLY              MI 48442‐8372
                      09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                       Part 37 of 40 Pg 130 of 901
Name                  Address1                        Address2                       Address3   Address4         City                 State Zip
TIMOTHY BURNS         5401 SQUIRE LN                                                                             FLINT                 MI 48506‐2275
TIMOTHY BURNS         707 LINN TYRO RD                                                                           GREENVILLE            PA 16125‐3723
TIMOTHY BURNS         512 STEVENS RD                                                                             MORRISVILLE           PA 19067‐3802
TIMOTHY BURRELL       6473 COLONIAL KNLS                                                                         GLEN BURNIE           MD 21061‐1640
TIMOTHY BURT          4366 IROQUOIS DR                                                                           PIGEON                MI 48755‐9775
TIMOTHY BURTON        10297 ATABERRY DR                                                                          CLIO                  MI 48420‐1974
TIMOTHY BUTLER        9408 DOVE FIELD CT                                                                         BRENTWOOD             TN 37027‐2200
TIMOTHY BUTLER JR     366 RUTLEDGE DR                                                                            YOUNGSTOWN            OH 44505‐4928
TIMOTHY BUTTERFIELD   1581 TOWERLINE RD                                                                          HALE                  MI 48739‐8547
TIMOTHY BUTTERWORTH   916 THOMAS J DR                                                                            FLINT                 MI 48506‐5244
TIMOTHY BUTZIN        7754 TEABERRY DR                                                                           FREELAND              MI 48623‐8422
TIMOTHY BUYSSE        3716 ESTATES DR                                                                            TROY                  MI 48084‐1150
TIMOTHY BYLER         9600 STRUTHERS RD                                                                          NEW MIDDLETWN         OH 44442‐9716
TIMOTHY BYRD          5775 RIVERTON RD                                                                           COLUMBUS              OH 43232‐1648
TIMOTHY BYRD          9432 FAIR OAKS DR                                                                          GOODRICH              MI 48438‐9474
TIMOTHY BYRNES        8909 DEERING ST                                                                            LIVONIA               MI 48150‐4108
TIMOTHY C BOPP        16774 FOURTH SEC RD                                                                        HOLLEY                NY 14470‐9507
TIMOTHY C DAVIS       4717 STILWELL DR                                                                           WARREN                MI 48092‐2306
TIMOTHY C DRISCOLL    1440 SNIDER ROAD                                                                           NEW CARLISLE          OH 45344
TIMOTHY C HAYES       1086 HUNTER'S RUN DR #B                                                                    LEBANON               OH 45036‐9454
TIMOTHY C HELTON      10481 DORVAL AVE                                                                           MIAMISBURG            OH 45342
TIMOTHY C HOWARD      748 ELBERON AVE                                                                            DAYTON                OH 45403‐3320
TIMOTHY C KLEPTZ      11700 HABER ROAD                                                                           UNION                 OH 45322‐9714
TIMOTHY C LUEHRS      4316 PARKLAWN DR                                                                           KETTERING             OH 45440
TIMOTHY C MAJOR       1213 BIRCHWOOD DR                                                                          FLUSHING              MI 48433‐1487
TIMOTHY C PETERS      838 JOHNSON AVE                                                                            MIAMISBURG            OH 45342
TIMOTHY C RUNYAN      31211 JEFFERSON AVE                                                                        SAINT CLAIR SHORES    MI 48082‐1301
TIMOTHY C RUNYAN      ACCT OF LARRY E WYNN            31211 JEFFERSON AVE                                        ST CLR SHORES         MI 48082‐1301
TIMOTHY C RUNYAN      ACCT OF LARRY E WYNN            27488 FIVE MILE RD BOX 51069
TIMOTHY C SABAU       345 CLEVELAND AVE E                                                                        WARREN               OH   44483
TIMOTHY C SCHUL       106 E 1ST ST                    COURTHOUSE                                                 MONROE               MI   48161‐2115
TIMOTHY C SOOTHERAN   111 DESMOND DR                                                                             TONAWANDA            NY   14150‐7724
TIMOTHY C SPIER       200 MC KENNEY AVE                                                                          SYRACUSE             NY   13211‐1734
TIMOTHY C TINKER      3510 BRUSHY WOOD DR                                                                        LOGANVILLE           GA   30052‐8983
TIMOTHY C TINKER      1249 NESTLE TRL                                                                            LAWRENCEVILLE        GA   30045‐2334
TIMOTHY C VASS        1774 MERCER WEST MIDDLESEX RD                                                              MERCER               PA   16137‐‐ 27
TIMOTHY C WIDDIG      910 KENT DR                                                                                CLINTON              MS   39056‐3720
TIMOTHY C WYNN        351 ARMSTRONG RD                                                                           ROCHESTER            NY   14612‐4201
TIMOTHY CAHILL        321 BOUTELL DR                                                                             GRAND BLANC          MI   48439‐1512
TIMOTHY CAIN          512 E LINCOLN ST                                                                           GREENTOWN            IN   46936‐1558
TIMOTHY CAIN          7655 WHITE BIRCH LN                                                                        HARRISON             MI   48625‐8853
TIMOTHY CALHOON       556 OLDE OAK DR                                                                            BOURBONNAIS          IL   60914‐1718
TIMOTHY CALHOUN       PO BOX 71672                                                                               TUSCALOOSA           AL   35407‐1672
TIMOTHY CALLEBS       307 BRIGHTON AVE                                                                           BOWLING GREEN        KY   42101‐9087
TIMOTHY CALLEBS       221 SHORT ST                                                                               GETTYSBURG           OH   45326
TIMOTHY CAMPBELL      1704 S SHERIDAN ST                                                                         BAY CITY             MI   48708‐8196
TIMOTHY CAMPBELL      PO BOX 106                                                                                 METAMORA             MI   48455‐0106
TIMOTHY CAMPBELL      2899 HAYS PONDSVILLE RD                                                                    SMITHS GROVE         KY   42171‐6214
TIMOTHY CAMPBELL      2200 S RACCOON RD APT 48                                                                   AUSTINTOWN           OH   44515‐5216
TIMOTHY CAMPBELL      4852 PARVIEW DR                                                                            CLARKSTON            MI   48346‐2790
TIMOTHY CAMPBELL      32037 VALLEY VIEW ST                                                                       FARMINGTON           MI   48336‐3258
TIMOTHY CANFIELD      2411 AMBER GLEN DR                                                                         MURFREESBORO         TN   37128‐8513
                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 131 of 901
Name                 Address1                        Address2            Address3         Address4         City               State Zip
TIMOTHY CANNING      12580 HORNING RD                                                                      BROOKLYN            MI 49230‐8410
TIMOTHY CANNON       65 RODNEY DR                                                                          HONEOYE FALLS       NY 14472‐1233
TIMOTHY CAREY        145 GOODRICH RD                                                                       FOSTORIA            MI 48435‐9514
TIMOTHY CARLETON     30850 BRUCE LN                                                                        FRANKLIN            MI 48025‐1550
TIMOTHY CARLSON      875 9 MILE RD NW                                                                      SPARTA              MI 49345‐9414
TIMOTHY CARLTON      12473 FROST RD                                                                        HEMLOCK             MI 48626‐8495
TIMOTHY CARNELL      1397 ALOHA ST                                                                         DAVISON             MI 48423‐1361
TIMOTHY CARPER       940 E POST RD                                                                         ANDERSON            IN 46012‐2704
TIMOTHY CARR         628 COUTNY RT 22                                                                      GOUVERNEUR          NY 13642
TIMOTHY CARR         6226 GOLFVIEW DR                                                                      BURTON              MI 48509‐1313
TIMOTHY CARRICO      1803 BLUE RIDGE DR                                                                    PLAINFIELD           IL 60586‐5598
TIMOTHY CARRICO      172 JONATHON DR                                                                       HOWARD              OH 43028‐9505
TIMOTHY CARRIER      3869 HAINES RD                                                                        WAYNESVILLE         OH 45068‐9610
TIMOTHY CARRIER      825 N LONG LAKE BLVD                                                                  LAKE ORION          MI 48362‐1867
TIMOTHY CARRITHERS   PO BOX 31                                                                             METAMORA            MI 48455‐0031
TIMOTHY CARROLL      1184 BISHOP RD                                                                        SALINE              MI 48176‐9402
TIMOTHY CARSTENS     21337 ORCHARD LAKE RD                                                                 FARMINGTON HILLS    MI 48336‐4730
TIMOTHY CARTER       4359 ROSE LN                                                                          GLADWIN             MI 48624‐9273
TIMOTHY CARTER       2400 W KINSEL HWY                                                                     CHARLOTTE           MI 48813‐8822
TIMOTHY CARVER       3828 LOCKPORT RD                                                                      SANBORN             NY 14132‐9106
TIMOTHY CASSADY      2074 HARDWOOD CIR                                                                     DAVISON             MI 48423‐9518
TIMOTHY CASTELLI     3020 LARKSPUR CT                                                                      CUMMING             GA 30041‐2426
TIMOTHY CAUDILL      7199 COUNTY ROAD 57                                                                   LEXINGTON           OH 44904‐9640
TIMOTHY CAVANAUGH    13768 EDENDERRY DR                                                                    SOUTH LYON          MI 48178‐9573
TIMOTHY CESSNA       RR 1 BOX 163                                                                          KEYSER              WV 26726‐9121
TIMOTHY CHAMBERLIN   18145 SE CC HIGHWAY                                                                   DEARBORN            MO 64439
TIMOTHY CHAMBERS     2238 MALIBU CT                                                                        ANDERSON            IN 46012‐4716
TIMOTHY CHAMBERS     10352 SHARP RD                                                                        SWARTZ CREEK        MI 48473‐9157
TIMOTHY CHAMPINE     1860 JASON CIR                                                                        ROCHESTER HILLS     MI 48306‐3640
TIMOTHY CHANEY       3507 WINTERFIELD RUN                                                                  FT WAYNE            IN 46804‐2658
TIMOTHY CHARTIER     1985 YORWAY DR                                                                        HOWELL              MI 48843‐8987
TIMOTHY CHERRY       770 CRIPPLE CREEK CT                                                                  NAPOLEON            OH 43545‐2250
TIMOTHY CHICK        589 N LAKE PLEASANT RD                                                                ATTICA              MI 48412‐9770
TIMOTHY CHIUDIONI    18832 RIVERSIDE GLEN DR                                                               MACOMB              MI 48044‐4216
TIMOTHY CHRIS        PO BOX 1165                                                                           INDIAN RIVER        MI 49749‐1165
TIMOTHY CHRISTIAN    2688 E BEAVER RD                                                                      KAWKAWLIN           MI 48631‐9402
TIMOTHY CHRISTMAN    6206 CARNATION RD                                                                     W CARROLLTON        OH 45449‐3060
TIMOTHY CHRYSLER     16703 WHITESIDE RD                                                                    MT STERLING         OH 43143‐9059
TIMOTHY CHUBB        381 SEQUOIA CT                                                                        BOWLING GREEN       KY 42104‐5319
TIMOTHY CIESINSKI    5440 RUDYARD RD                                                                       SYLVANIA            OH 43560‐2428
TIMOTHY CLAGHORN     1220 SYCAMORE LN                                                                      BLUFFTON            IN 46714‐2846
TIMOTHY CLARK        169 NE PINELAKE VILLAGE BLVD                                                          JENSEN BEACH        FL 34957‐5472
TIMOTHY CLARK        7889 GRATIOT RD APT B                                                                 SAGINAW             MI 48609‐5021
TIMOTHY CLARK        6313 HUNT RD                                                                          COCOA               FL 32927‐3328
TIMOTHY CLARK        5590 IDE RD                                                                           BURT                NY 14028‐9766
TIMOTHY CLAWSON      743 NORTHVIEW DR                                                                      KODAK               TN 37764‐1964
TIMOTHY CLEARY       5711 SWAN DR                                                                          CLAYTON             OH 45315‐9615
TIMOTHY CLEARY       6 BERKLEY DR                                                                          LOCKPORT            NY 14094‐5515
TIMOTHY CLEARY       11315 W 140TH TER                                                                     OVERLAND PARK       KS 66221‐8031
TIMOTHY CLEMENTS     2531 MISTY LN                                                                         DAVISON             MI 48423‐8368
TIMOTHY CLEVER       3151 ALCO DR                                                                          WATERFORD           MI 48329‐2203
TIMOTHY CLIFTON      PO BOX 190084                                                                         BURTON              MI 48519‐0084
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                           Part 37 of 40 Pg 132 of 901
Name                   Address1                         Address2            Address3         Address4         City               State Zip
TIMOTHY CLINE          7950 JACKSON ST                                                                        TAYLOR              MI 48180‐2648
TIMOTHY CLINE          2485 ROWLEY RD                                                                         WILLIAMSTON         MI 48895‐9134
TIMOTHY CLOUD          823 DWIGHT ST                                                                          YPSILANTI           MI 48198‐3073
TIMOTHY CLOUSE         2288 SPICE VALLEY RD                                                                   MITCHELL            IN 47446‐5366
TIMOTHY CLYNE          PO BOX 1214                                                                            TROY                MI 48099‐1214
TIMOTHY COBB           1403 SPRINGER ST                                                                       WESTLAND            MI 48186
TIMOTHY COCHRAN        1332 TULBERRY CIR                                                                      ROCHESTER           MI 48306‐4822
TIMOTHY COCHRAN        5354 SEQUOIA CT                                                                        GRAND BLANC         MI 48439‐3502
TIMOTHY COCKRUM        801 ARCOLA ST                                                                          GARDEN CITY         MI 48135‐3192
TIMOTHY COCO
TIMOTHY CODD           37 WESTBOURNE DR                                                                       TONAWANDA          NY   14150‐4237
TIMOTHY COE            7735 DUTCH RD                                                                          SAGINAW            MI   48609‐9584
TIMOTHY COLE           41563 WESSEL DR                                                                        STERLING HTS       MI   48313‐3468
TIMOTHY COLE           4341 MEADOWVIEW DR                                                                     CANFIELD           OH   44406‐9215
TIMOTHY COLE           515 W 35TH ST                                                                          WILMINGTON         DE   19802‐2642
TIMOTHY COLEBECK       11 HALLOCK RD                                                                          ROCHESTER          NY   14624‐4005
TIMOTHY COLER          5841 BEDELL RD                                                                         BERLIN CENTER      OH   44401‐9713
TIMOTHY COLLING        2984 TOMLINSON RD                                                                      CARO               MI   48723‐9115
TIMOTHY COLLINGE       553 ESSEX DR                                                                           ROCHESTER HILLS    MI   48307‐3512
TIMOTHY COLLINS        47777 RAMBLEWOOD DR                                                                    CHESTERFIELD       MI   48051‐3070
TIMOTHY COLMUS         305 S AIRPORT RD                                                                       SAGINAW            MI   48601‐9480
TIMOTHY COLTON         608 E MAIN ST                                                                          DURAND             MI   48429‐1757
TIMOTHY CONCANNON      5586 RAVEN RD                                                                          BLOOMFIELD HILLS   MI   48301‐1045
TIMOTHY CONDER         20455 WOODHILL DR                                                                      NORTHVILLE         MI   48167‐1745
TIMOTHY CONKLIN        1349 JUNIPER LN                                                                        BLOOMFIELD         MI   48302‐1960
TIMOTHY CONNEARNEY     332 DOBSON BRANCH TRL                                                                  NOLENSVILLE        TN   37135‐9511
TIMOTHY CONNER         7724 PARKCREST CIR                                                                     CLARKSTON          MI   48348‐2967
TIMOTHY CONNIN         24461 STATE ROUTE 613                                                                  CONTINENTAL        OH   45831‐8925
TIMOTHY CONNOLLY       2182 HAWTHORNE DR                                                                      DEFIANCE           OH   43512‐9670
TIMOTHY CONNORS        1220 CREEK VIEW DR                                                                     ROCHESTER          MI   48307‐1700
TIMOTHY COOK           115 DEER POINT CT                                                                      UNIONVILLE         TN   37180‐2005
TIMOTHY COOK           1415 SCOTT RD                                                                          MANSFIELD          OH   44903‐7552
TIMOTHY COOK           176 TUPELO DR                                                                          HEDGESVILLE        WV   25427‐5004
TIMOTHY COONEY         529 IRONWOOD DR                                                                        CARMEL             IN   46033‐1930
TIMOTHY COOPER         13993 TIMBERVIEW DR                                                                    SHELBY TOWNSHIP    MI   48315‐2065
TIMOTHY COOPER         46 DEVONSHIRE RD                                                                       PLEASANT RDG       MI   48069‐1211
TIMOTHY COPELAND       6431 LAVON CT                                                                          TROTWOOD           OH   45415‐1921
TIMOTHY COPLEY         8341 PHILADELPHIA DR                                                                   FAIRBORN           OH   45324‐1937
TIMOTHY CORE           22047 OLMSTEAD ST                                                                      DEARBORN           MI   48124‐2753
TIMOTHY COREY          3650 GREEN CORNERS RD                                                                  METAMORA           MI   48455‐9739
TIMOTHY CORLEY         3001 MOUNT VERNON AVE                                                                  FORT WORTH         TX   76103‐2932
TIMOTHY COSTELLO       122 22ND ST N                                                                          TUSCALOOSA         AL   35406‐1805
TIMOTHY COTTIER        613 KEVIN DR                                                                           SANDUSKY           OH   44870‐5758
TIMOTHY COURSER        3112 COLORADO AVE                                                                      FLINT              MI   48506‐2532
TIMOTHY COURTEMANCHE   3465 MORRISH RD                                                                        SWARTZ CREEK       MI   48473‐9756
TIMOTHY COVER          3607 HANNAN RD APT 305                                                                 WAYNE              MI   48184‐2828
TIMOTHY COWICK         7320 AMINDA DR                                                                         SHAWNEE            KS   66227‐2143
TIMOTHY COX            48806 THORNBURY DR                                                                     NOVI               MI   48374‐2748
TIMOTHY COYKENDALL     235 4TH ST                                                                             MOUNT MORRIS       MI   48458‐1146
TIMOTHY COYLE          1494 W REID RD                                                                         FLINT              MI   48507‐4641
TIMOTHY CRABLE         1140 S 78TH ST                                                                         KANSAS CITY        KS   66111‐3205
TIMOTHY CRAFT          2295 E FARRAND RD                                                                      CLIO               MI   48420‐9138
                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 133 of 901
Name                   Address1                       Address2             Address3        Address4         City             State Zip
TIMOTHY CRAIGER        525 RUSTIC LN E                                                                      BELLEVILLE        MI 48111‐9716
TIMOTHY CREMEANS       12214 KIMBALL RUN                                                                    FORT WAYNE        IN 46845‐9120
TIMOTHY CRENSHAW       PO BOX 108                                                                           NEW LOTHROP       MI 48460‐0108
TIMOTHY CRUM           5222 BITTER CREEK PL                                                                 FORT WAYNE        IN 46814‐9700
TIMOTHY CRUMLISH       1107 N VERMONT AVE                                                                   ROYAL OAK         MI 48067‐1454
TIMOTHY CSINTYAN       353 LAIRD ST                                                                         MOUNT MORRIS      MI 48458‐8871
TIMOTHY CUBELLIS       1 CHEYENNE DR                                                                        GIRARD            OH 44420‐3606
TIMOTHY CUDE           7 SE STATE ST                                                                        TONASKET          WA 98855‐9106
TIMOTHY CUMMINGS       1467 CLEVELAND AVE                                                                   LINCOLN PARK      MI 48146‐2385
TIMOTHY CUNNINGHAM     1700 OLDE HALEY DR                                                                   CENTERVILLE       OH 45458‐6052
TIMOTHY CURRY          3519 LIPPINCOTT BLVD                                                                 FLINT             MI 48507‐2028
TIMOTHY CURRY          4212 UNROE AVE                                                                       GROVE CITY        OH 43123‐1026
TIMOTHY CURTIS         25720 KINYON ST                                                                      TAYLOR            MI 48180‐3281
TIMOTHY CUSHING        4783 E CLYDE RD                                                                      HOWELL            MI 48855‐6749
TIMOTHY CUSHING        274 BERRY RD                                                                         MCDONOUGH         GA 30252‐4100
TIMOTHY CYRUS          9300 N LATSON RD                                                                     HOWELL            MI 48855‐8695
TIMOTHY D BERGSTROM    27561 RUBYLANE ST                                                                    CASTAIC           CA 91384
TIMOTHY D BRICKEY      2026 HIGHLANDER N DR                                                                 XENIA             OH 45385
TIMOTHY D BROWN        PO BOX 1321                                                                          YOUNGSTOWN        OH 44501
TIMOTHY D BURCH        189 CORAL DR SW                                                                      FT WALTON BCH     FL 32548‐6628
TIMOTHY D CAMPBELL     32037 VALLEY VIEW ST                                                                 FARMINGTON        MI 48336‐3258
TIMOTHY D CREECH       5741 O NEALL RD                                                                      WAYNESVILLE       OH 45068
TIMOTHY D EASTIN       PO BOX 109                                                                           VANDALIA          OH 45377‐0109
TIMOTHY D FISHER       216 N MAIN ST                                                                        MINSTER           OH 45865
TIMOTHY D FORHAN       NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPT   205 LINDA DR                     DAINGERFIELD      TX 75638
TIMOTHY D FREELS       9439 PORTSIDE TER                                                                    BRANDENTON        FL 34212‐5292
TIMOTHY D GARRETT      5109 LEYDEN LN                                                                       DAYTON            OH 45424
TIMOTHY D HOGUE        750 BEACHLER RD                                                                      CARLISLE          OH 45005‐3405
TIMOTHY D KEPLER       1670 OTTO RD                                                                         CHARLOTTE         MI 48813‐9713
TIMOTHY D KNOX         425 DEERFIELD RD.                                                                    LEBANON           OH 45036‐2335
TIMOTHY D LEAHEY       409 PLYMOUTH AVE                                                                     SYRACUSE          NY 13211‐1538
TIMOTHY D LUNSFORD     7618 W VERSAILLES RD                                                                 COVINGTON         OH 45318
TIMOTHY D MCARTHUR     4581 S HARRISON RD                                                                   HOUGHTON LAKE     MI 48629‐9250
TIMOTHY D MCDERMOTT    3312 COZY CAMP RD                                                                    MORAINE           OH 45439‐1124
TIMOTHY D MCNALLY      710 NOTTINGHAM PL                                                                    MIAMISBURG        OH 45342
TIMOTHY D MYERS        2641 SYMPHONY WAY                                                                    DAYTON            OH 45449
TIMOTHY D NELSON       8529 CAMELLIA ST                                                                     LANSING           MI 48917‐9635
TIMOTHY D OBERST       14251 HILLSIDE DR                                                                    NORTH ROYALTON    OH 44133‐4742
TIMOTHY D PATTERSON    9779 BUNCOMB RD                                                                      BETHANY           LA 71007‐9541
TIMOTHY D RIHM         1011 WHITE PINE ST.                                                                  NEW CARLISLE      OH 45344
TIMOTHY D SANFORD      11785 GERLAUGH RD                                                                    MEDWAY            OH 45434
TIMOTHY D SMITH        1642 MICHAEL ST                                                                      ORTONVILLE        MI 48462‐8827
TIMOTHY D STEBBINS     6077 HALDERMAN RD                                                                    W ALEXANDRIA      OH 45381
TIMOTHY D TALBOTT      3931 EAGLE POINT DR                                                                  BEAVERCREEK       OH 45430
TIMOTHY D THOMPSON     340 SAMPLE RD                                                                        W ALEXANDRIA      OH 45381‐8306
TIMOTHY D TREVITHICK   1029 SPICE VALLEY RD                                                                 MITCHELL          IN 47446
TIMOTHY D ULLMER       9088 FERRY CREEK DR                                                                  SHREVEPORT        LA 71106‐8404
TIMOTHY D VETOR        3215 E 53RD ST                                                                       ANDERSON          IN 46013‐3155
TIMOTHY D VOLLMAR      N477 BLACKHAWK BLUFF DR                                                              MILTON            WI 53563‐9509
TIMOTHY D WEAVER       408 GRANT ST SW                                                                      GRAND RAPIDS      MI 49503‐4964
TIMOTHY D WILLIAMS     866 GOLF DR APT 202                                                                  PONTIAC           MI 48341‐2391
TIMOTHY D WILLIAMS     APT 202                        866 GOLF DRIVE                                        PONTIAC           MI 48341‐2391
                                   09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                       Part 37 of 40 Pg 134 of 901
Name                               Address1                         Address2                       Address3         Address4         City              State Zip
TIMOTHY D. BENTON, IOWA ATTORNEY   ENVIRONMENTAL LAW DIVISION       LUCAS BUILDING, GROUND FLOOR   321 E. 12TH ST                    DES MOINES          IA 50319
GENERAL'S OFFICE
TIMOTHY DAGAN                      2481 GRIFFITH DR                                                                                  CORTLAND          OH   44410‐9656
TIMOTHY DAILY JR                   5585 MURLAND HOLW                                                                                 WHITE LAKE        MI   48383‐1348
TIMOTHY DANIEL                     2909 N PINGREE RD                                                                                 ALMA              MI   48801‐9589
TIMOTHY DANIEL                     11120 DARLING RD                                                                                  MILAN             MI   48160‐9115
TIMOTHY DANIEL                     43160 E HURON RIVER DR                                                                            BELLEVILLE        MI   48111‐2883
TIMOTHY DANIEL                     548 CLARION ST                                                                                    CLIO              MI   48420‐1260
TIMOTHY DANIELS                    32240 ROBINHOOD DR                                                                                BEVERLY HILLS     MI   48025‐3545
TIMOTHY DANIELS                    12332 PEARL ST                                                                                    SOUTHGATE         MI   48195‐1775
TIMOTHY DARDEN                     3684 BALFOUR RD                                                                                   DETROIT           MI   48224‐3436
TIMOTHY DARNELL                    17 PINE LAKE RD                                                                                   SUMMERTOWN        TN   38483‐7365
TIMOTHY DASH                       2975 N 043 W                                                                                      HUNTINGTON        IN   46750‐4086
TIMOTHY DAUGHERTY                  7701 BLUE LAGOON DR                                                                               LANSING           MI   48917‐9640
TIMOTHY DAVIS                      4717 STILWELL DR                                                                                  WARREN            MI   48092‐2306
TIMOTHY DAVIS                      51 SMALLWOOD DR                                                                                   MARTINSBURG       WV   25405‐1410
TIMOTHY DAVIS                      7602 MUSSON RD                                                                                    SHAWNEE           OK   74804‐9415
TIMOTHY DAVIS                      331 LAYTON RD                                                                                     ANDERSON          IN   46011‐1518
TIMOTHY DAVIS                      2729 ELTON CIR                                                                                    LAMBERTVILLE      MI   48144‐9451
TIMOTHY DAY                        8780 PARKVIEW DR                                                                                  GREGORY           MI   48137‐9628
TIMOTHY DAY                        5298 CALLA AVE NW                                                                                 WARREN            OH   44483‐1222
TIMOTHY DE CLUE                    LOT 372                          2500 MANN ROAD                                                   CLARKSTON         MI   48346‐4292
TIMOTHY DE VANEY                   14 TWO PENNY RUN W                                                                                PILESGROVE        NJ   08098‐2642
TIMOTHY DEACY                      6449 RAPIDS RD                                                                                    LOCKPORT          NY   14094‐9543
TIMOTHY DECARLO                    48610 AMERICAN ELM DR                                                                             MACOMB            MI   48044‐1431
TIMOTHY DECKER                     1213 E GENEVA DR                                                                                  DEWITT            MI   48820‐9575
TIMOTHY DEEL                       692 HARLAN RD                                                                                     LUCAS             OH   44843‐9769
TIMOTHY DEETER                     4688 W 8TH STREET RD                                                                              ANDERSON          IN   46011‐9189
TIMOTHY DEIDRICK                   18337 RT. 301                                                                                     LAGRANGE          OH   44050
TIMOTHY DEMYERS                    3945 SHEFFIELD BLVD                                                                               LANSING           MI   48911‐2041
TIMOTHY DENISON                    9968 FM 2796                                                                                      GILMER            TX   75644‐6135
TIMOTHY DENMAN                     5048 PALOMAR DR                                                                                   FLINT             MI   48507‐4534
TIMOTHY DENTER                     9863 SNYDER RD                                                                                    SHREVEPORT        LA   71129‐8741
TIMOTHY DENTON                     1378 WOODFIELD ST                                                                                 LAKE ORION        MI   48362‐1767
TIMOTHY DERINGER                   G‐3272 KEARSLEY LK CT                                                                             FLINT             MI   48506
TIMOTHY DERONNE                    21648 N RIVERVIEW CT                                                                              BEVERLY HILLS     MI   48025‐4864
TIMOTHY DETONE                     811 ISLAND LAKE DR                                                                                OXFORD            MI   48371‐3721
TIMOTHY DEVANNA                    501 LOCKWOOD AVE                                                                                  SANDUSKY          OH   44870‐3812
TIMOTHY DEVIEW                     3933 BOWERS RD                                                                                    ATTICA            MI   48412‐9234
TIMOTHY DEVLIN                     6394 N MAPLE RD                                                                                   ANN ARBOR         MI   48105‐9616
TIMOTHY DEWYSE                     716 UNION STATION DR                                                                              FORT WAYNE        IN   46814‐8968
TIMOTHY DEXTER                     2543 WOODBLUFF LN                                                                                 DAYTON            OH   45458‐9547
TIMOTHY DEY                        6028 THISTLE DR                                                                                   SAGINAW           MI   48638‐4368
TIMOTHY DIAMOND                    642 VAUGHN RD                                                                                     LESLIE            MI   49251‐9509
TIMOTHY DICKINSON                  5908 JORDAN RD                                                                                    WOODLAND          MI   48897‐9718
TIMOTHY DICKINSON                  3347 W FARRAND RD                                                                                 CLIO              MI   48420‐8827
TIMOTHY DICKSON                    1414 POPLAR ST                                                                                    HUNTINGTON        IN   46750‐1328
TIMOTHY DIDION                     7261 GREENTREE DR                                                                                 JENISON           MI   49428‐8711
TIMOTHY DILLEY                     6094 CLUBHURST CT                                                                                 GALLOWAY          OH   43119‐8519
TIMOTHY DITTMER                    2126 MELTON ST                                                                                    SHELBY TOWNSHIP   MI   48317‐4514
TIMOTHY DIVIS                      4321 HANNOVER CTS                                                                                 SAINT LOUIS       MO   63123‐6809
TIMOTHY DIX                        5614 STONINGTON AVE                                                                               GWYNN OAK         MD   21207‐6858
                          09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                           Part 37 of 40 Pg 135 of 901
Name                      Address1                         Address2                   Address3   Address4         City               State Zip
TIMOTHY DIXON             PO BOX 3163                                                                             DETROIT             MI 48203‐0163
TIMOTHY DOAN              815 E BROWN RD                                                                          MUNGER              MI 48747‐9758
TIMOTHY DOBBS             APT 2505                         8787 SOUTHSIDE BOULEVARD                               JACKSONVILLE        FL 32256‐3530
TIMOTHY DOBRINSKI         160 SALZBURG RD                                                                         BAY CITY            MI 48706‐3152
TIMOTHY DODAK             12800 S BEYER RD                                                                        BIRCH RUN           MI 48415‐9450
TIMOTHY DONALDSON         1237 MEADOWCREST DR                                                                     WATERFORD           MI 48327‐2941
TIMOTHY DONNELLY          401 N LINN ST                                                                           BAY CITY            MI 48706‐4831
TIMOTHY DONNELLY          8026 HALVERSON RD                                                                       WATERFORD           WI 53185‐1120
TIMOTHY DOOLEY            5822 WASHINGTON BLVD                                                                    INDIANAPOLIS        IN 46220‐2543
TIMOTHY DOONAN            3130 BURKLEY RD                                                                         WILLIAMSTON         MI 48895‐9765
TIMOTHY DORAN             15631 FEIGHNER RD                                                                       ROANOKE             IN 46783‐8701
TIMOTHY DORNER            1855 DALEY RD                                                                           LAPEER              MI 48446‐8311
TIMOTHY DOROW             9140 E POTTER RD                                                                        DAVISON             MI 48423‐8111
TIMOTHY DOUCETTE          6337 AUGUSTA ST                                                                         SWARTZ CREEK        MI 48473‐7947
TIMOTHY DOWD              4592 OAKHURST RIDGE RD                                                                  CLARKSTON           MI 48348‐5071
TIMOTHY DOWNEY            7100 NORTHWEST COUNTRY CLUB LN                                                          KANSAS CITY         MO 64152‐2957
TIMOTHY DOWNS             49618 OCTAVIA ST                                                                        NEW BALTIMORE       MI 48047‐3354
TIMOTHY DOWNS             6926 OAK HILL DR                                                                        W FARMINGTON        OH 44491‐9755
TIMOTHY DRAKE             1473 WATER ST                                                                           EATON RAPIDS        MI 48827‐1866
TIMOTHY DRAPER            15451 28 MILE RD                                                                        ALBION              MI 49224‐9230
TIMOTHY DREGNE            18760 13TH ST NE                                                                        NEW LONDON          MN 56273‐9514
TIMOTHY DRIER             4632 HARPER RD                                                                          HOLT                MI 48842‐9671
TIMOTHY DRIVER            4111 OAKRIDGE DR                                                                        HARRISON            MI 48625‐8949
TIMOTHY DRUMMOND          1227 HOLLYWOOD ST NE                                                                    WARREN              OH 44483‐4149
TIMOTHY DRWENCKE          18217 SABINE DR                                                                         MACOMB              MI 48042‐6136
TIMOTHY DRYSDALE          1261 CHRISTINE DR                                                                       LAPEER              MI 48446‐4205
TIMOTHY DUBAY             5963 DEWHIRST DR                                                                        SAGINAW             MI 48638‐7382
TIMOTHY DUDLEY            7202 ROXBURY DR                                                                         YPSILANTI           MI 48197‐3095
TIMOTHY DUFFY             5185 CRANDALL RD                                                                        HOWELL              MI 48855‐8623
TIMOTHY DUFORD            520 S VAN BUREN ST                                                                      BAY CITY            MI 48708‐7382
TIMOTHY DUKES             20162 BINDER ST                                                                         DETROIT             MI 48234‐1910
TIMOTHY DUNCAN            5314 SANDPIPER DR                                                                       ORIENT              OH 43146‐9202
TIMOTHY DUNCAN            205 LIVINGSTON AVE                                                                      DAYTON              OH 45403
TIMOTHY DUNN              10405 HALLMARK CIR                                                                      OKLAHOMA CITY       OK 73139‐9019
TIMOTHY DUNNING           2727 KNIGHT DR                                                                          TROY                MI 48085‐4067
TIMOTHY DUPLANTY          9341 NEFF RD                                                                            CLIO                MI 48420‐1660
TIMOTHY DURBIN            10456 GREGG RD                                                                          FREDERICKTOWN       OH 43019‐9388
TIMOTHY DURKIN            3571 ALVIN RD                                                                           SHELBY              OH 44875‐9459
TIMOTHY DURPHEY           277 BRIAN CT                                                                            ORTONVILLE          MI 48462‐8890
TIMOTHY DUSH              3609 ARTESIAN WAY                                                                       SPRING HILL         TN 37174‐2192
TIMOTHY DYE               5521 BELSAY RD                                                                          GRAND BLANC         MI 48439‐9129
TIMOTHY E BATES           5590 HAVERHILL                                                                          WEST BLOOMFIELD     MI 48322‐4009
TIMOTHY E BAXTER & ASSC   PO BOX 2669                                                                             FARMINGTON HILLS    MI 48333‐2669
TIMOTHY E BELLER          459 LINN LN                                                                             LAS VEGAS           NV 89110
TIMOTHY E BLAKE           7601 ASPEN PLACE                                                                        NEWARK              CA 94560‐2217
TIMOTHY E CARPENTER       115 TWO MILE CREEK RD                                                                   TONAWANDA           NY 14150‐7734
TIMOTHY E CARRIER         3869 HAINES RD                                                                          WAYNESVILLE         OH 45068
TIMOTHY E DOWNS           11247 PUTNAM                                                                            UNUION              OH 45322
TIMOTHY E ELTON           3300 HEMLOCK LANE APT. 601                                                              MIAMISBURG          OH 45342
TIMOTHY E EXUM            5668 BROAD BLVD                                                                         N RIDGEVILLE        OH 44039‐2210
TIMOTHY E GRAVES          RR 2 BOX 166                                                                            OKEMAH              OK 74859‐9528
TIMOTHY E HULL            3301 PALM DRIVE                                                                         DAYTON              OH 45449
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                          Part 37 of 40 Pg 136 of 901
Name                   Address1                         Address2                    Address3   Address4         City            State Zip
TIMOTHY E KERN         1707 S JOHNSON ST                                                                        BAY CITY         MI 48708‐4204
TIMOTHY E LENZ         360 BEECHCROFT ROAD #1                                                                   SPRING HILL      TN 37174
TIMOTHY E LISTENBEE    1532 S RIDGE RD                                                                          BELOIT           WI 53511‐3958
TIMOTHY E MONCRIEF     4170 COLEMERE CIR                                                                        DAYTON           OH 45415
TIMOTHY E OSMAN        18 S SUNSET DR 2FL                                                                       SHREWSBURY       PA 17361
TIMOTHY E PARLETTE     1450 GAGE RD                                                                             TOLEDO           OH 43612‐4022
TIMOTHY E POWELL       5560 WIDGEON CT                                                                          DAYTON           OH 45424‐4555
TIMOTHY E ROBERTS      9831 PUDDENBAG RD                                                                        GERMANTOWN       OH 45327
TIMOTHY E RUTH         5953 BROCKWAY ROAD                                                                       PECK             MI 48466‐9751
TIMOTHY E SAPP         749 MATTERHORN CT                                                                        JACKSONVILLE     FL 32259‐9075
TIMOTHY E SHELTON II   320 WELCOME WAY                                                                          CARLISLE         OH 45005
TIMOTHY E TONEY        1305 BIG CREEK RD                                                                        RAYMOND          MS 39154‐9609
TIMOTHY E WAMPLER      6375 OAK GROVE RD                                                                        HOWELL           MI 48855‐8247
TIMOTHY E WARNICK      1026 MACKOW                                                                              TOLEDO           OH 43607‐‐ 30
TIMOTHY E WILKINS      10902 W CAMELOT CIR                                                                      SUN CITY         AZ 85351‐2118
TIMOTHY E WILLIAMS     5512 KEITH DR                                                                            DAYTON           OH 45449
TIMOTHY E ZEZULA       1125 SOUTH WEST SILVER LAKE RD                                                           TRAVERSE CITY    MI 49684
TIMOTHY EARL           5864 CLUB VIEW LN                                                                        OGDEN            UT 84405‐4906
TIMOTHY EARLEY         8353 QUILL DR                                                                            FENTON           MI 48430‐8368
TIMOTHY EARLY          631 FRANCONIAN DR E                                                                      FRANKENMUTH      MI 48734‐1005
TIMOTHY EASTMAN        10738 LAINGSBURG RD                                                                      LAINGSBURG       MI 48848‐9323
TIMOTHY EBENHOEH       5072 FERDEN RD                                                                           CHESANING        MI 48616‐9719
TIMOTHY EBENHOEH JR.   5072 FERDEN RD                                                                           CHESANING        MI 48616‐9719
TIMOTHY EDINGER        1054 POINT HILL CT                                                                       WENTZVILLE       MO 63385‐6703
TIMOTHY EDWARDS        104 GREEN ST                                                                             TONGANOXIE       KS 66086‐5063
TIMOTHY EDWARDS        8918 E CARDINAL DR                                                                       FAIRMOUNT        IN 46928‐9168
TIMOTHY EGRES          36 PEARL ST                                                                              OXFORD           MI 48371‐4963
TIMOTHY EIGHMEY        3626 SUSSEX DR                                                                           LAMBERTVILLE     MI 48144‐9512
TIMOTHY ELDER          2224 NE COACHMAN RD                                                                      CLEARWATER       FL 33765‐2213
TIMOTHY ELLIOTT        8248 BURR HILL RD                                                                        RHOADESVILLE     VA 22542‐8952
TIMOTHY ELLIS          1220 SCHULTZ ST                                                                          DEFIANCE         OH 43512‐2916
TIMOTHY ELLIS          426 COUNTRY CLUB LN                                                                      ANDERSON         IN 46011‐3402
TIMOTHY ELLIS          4990 GLENWOOD DR                                                                         BUFFALO          NY 14221‐4111
TIMOTHY ELWART         2105 KILE D DR                                                                           ORTONVILLE       MI 48462‐9206
TIMOTHY EMALA          PO BOX 128                                                                               PINSON           AL 35126‐0128
TIMOTHY EMERY          25837 ETON AVE                                                                           DEARBORN HTS     MI 48125‐1436
TIMOTHY EMMITT         4430 GREENSBORO DR                                                                       TROY             MI 48085‐3618
TIMOTHY ENDERS
TIMOTHY ENGLAND        PO BOX 251                                                                               WENTZVILLE      MO   63385‐0251
TIMOTHY ERICSON        48097 BEN FRANKLIN DR                                                                    SHELBY TWP      MI   48315‐4125
TIMOTHY EUSTACHE       15125 CHICKENBRISTLE RD                                                                  FARMERSVILLE    OH   45325‐9297
TIMOTHY EVANS          2745 CROSSCREEK CT                                                                       AURORA          IL   60502‐6307
TIMOTHY EVANS          136 BELLINGHAM DR                                                                        MADISON         AL   35758‐6826
TIMOTHY EVANS          18558 BEECH DALY RD                                                                      REDFORD         MI   48240‐2401
TIMOTHY EVERETT        2730 ALGER RD                                                                            PORT HURON      MI   48060‐7731
TIMOTHY EVITTS         10024 MEADOW LN                                                                          PINCKNEY        MI   48169‐8103
TIMOTHY EWING          704 MUSKHOGEAN CT                                                                        ANTIOCH         TN   37013‐3610
TIMOTHY EXUM           5668 BROAD BLVD                                                                          N RIDGEVILLE    OH   44039‐2210
TIMOTHY F BEECHLER     2904 W ROSE CITY RD                                                                      WEST BRANCH     MI   48661‐9557
TIMOTHY F BRUNNER      5613 HUBERVILLE AVE                                                                      DAYTON          OH   45431
TIMOTHY F CARTER       C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                               HOUSTON         TX   77007
                       BOUNDAS LLP
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                          Part 37 of 40 Pg 137 of 901
Name                   Address1                             Address2                   Address3     Address4         City            State Zip
TIMOTHY F KACZMAREK    242 N TUSCOLA RD                                                                              BAY CITY         MI 48708‐9232
TIMOTHY F KLIPFEL SR   45 PICKFORD AVE                                                                               BUFFALO          NY 14223‐3107
TIMOTHY F MARTENS      5324 ROBERTS DR                                                                               FLINT            MI 48506‐1590
TIMOTHY F MCWAIN       152 EVERGREEN CT.                                                                             FRANKLIN         OH 45005
TIMOTHY F SCHAEFFER    5214 W COURT ST                                                                               FLINT            MI 48532‐4115
TIMOTHY F STAY         263 CHARLOTTE ST                                                                              MULLIKEN         MI 48861‐9739
TIMOTHY F WILSON       2642 FERNCLIFF AVE                                                                            DAYTON           OH 45420‐3362
TIMOTHY FAIRMAN        313 RED EAGLE PASS                                                                            FORT WAYNE       IN 46845‐1178
TIMOTHY FARMER         480 REMINGTON AVE                                                                             GALLATIN         TN 37066‐7537
TIMOTHY FEENEY         108 COUNTRY GREEN DR                                                                          AUSTINTOWN       OH 44515‐2215
TIMOTHY FEIKE          10098 WALNUT HILL DR                                                                          DAVISBURG        MI 48350‐1161
TIMOTHY FEILER SR      28520 BROADMOOR ST                                                                            LIVONIA          MI 48154‐3308
TIMOTHY FELLOWS        1871 WOODLAND TRCE                                                                            YOUNGSTOWN       OH 44515‐4821
TIMOTHY FELTNER        5571 FOREST BEND DR                                                                           KETTERING        OH 45429‐6102
TIMOTHY FENNER         13491 SUMMER LN                                                                               GRAND LEDGE      MI 48837‐9281
TIMOTHY FERASIN        PO BOX 9022                          GM KOREA                                                 WARREN           MI 48090‐9022
TIMOTHY FERGERSON      18776 GREENWALD DR                                                                            SOUTHFIELD       MI 48075‐5867
TIMOTHY FERRIGAN       6252 ALWARD RD                                                                                LAINGSBURG       MI 48848‐8209
TIMOTHY FERRIS         326 W CHERRY ST                                                                               POTTERVILLE      MI 48876‐9737
TIMOTHY FIELDS         APT 36                               520 FINKS HIDEAWAY ROAD                                  MONROE           LA 71203‐2404
TIMOTHY FIFE           21338 STATE ROUTE 694                                                                         CLOVERDALE       OH 45827‐9644
TIMOTHY FILIPPI        20936 ADRIENNE DR                                                                             MACOMB           MI 48044‐4401
TIMOTHY FINK           4301 S WILLIAMS RD                                                                            SAINT JOHNS      MI 48879‐8149
TIMOTHY FINK           612 DURANGO DR                                                                                TOLEDO           OH 43609‐1706
TIMOTHY FINLEY         600 PLANTATION LN                                                                             MARSHALL         TX 75672‐2655
TIMOTHY FISCHER        5625 WEMBLEY CT                                                                               CLARKSTON        MI 48346‐3062
TIMOTHY FISELE         31 FRANJOE CT                                                                                 SAINT CHARLES    MO 63304‐3429
TIMOTHY FITZPATRICK    3774 NEELEY HOLLOW RD                                                                         COLUMBIA         TN 38401‐8434
TIMOTHY FITZPATRICK    117 S WILSON BLVD                                                                             MOUNT CLEMENS    MI 48043‐2138
TIMOTHY FLAHERTY       1321 PATTENGILL AVE                                                                           LANSING          MI 48910‐1108
TIMOTHY FLANNIGAN      6250 WALKER RD                                                                                MARLETTE         MI 48453‐9744
TIMOTHY FLINT          1060 PEARCE DR                                                                                MANSFIELD        OH 44906‐2959
TIMOTHY FLOWERS        1180 HARRISON ST NE                                                                           WARREN           OH 44483‐5148
TIMOTHY FLOYD          1569 FLUSHING RD                                                                              FLUSHING         MI 48433‐2246
TIMOTHY FLOYD          1316 IVYWOOD DR                                                                               OKEMOS           MI 48864‐3084
TIMOTHY FLUES          141 BOWKER RD                                                                                 MUNGER           MI 48747‐9727
TIMOTHY FLYNN          1015 YOUNG AVE                                                                                BEL AIR          MD 21014‐1870
TIMOTHY FLYNN          9828 EAST PUBELO ‐ 92                                                                         MESA             AZ 85208
TIMOTHY FLYNN          3280 OAKPARK CT                                                                               MILFORD          MI 48380‐3558
TIMOTHY FOLEY          110 NORTHWOODS BLVD                                                                           NORTH EAST       MD 21901‐2658
TIMOTHY FOLEY          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                    BALTIMORE        MD 21201

TIMOTHY FOLKEMA        230 MOON CT                                                                                   CASNOVIA        MI   49318‐9647
TIMOTHY FONDERLIN      5313 CITRUS BLVD APT C221                                                                     RIVER RIDGE     LA   70123‐6185
TIMOTHY FORMAN         21 BELLEWOOD CIR                                                                              SYRACUSE        NY   13212‐3201
TIMOTHY FORSYTHE       196 CORTLAND ST                                                                               HIGHLAND PARK   MI   48203‐3433
TIMOTHY FORTMAN        6437 DIVERSEY ST                                                                              DETROIT         MI   48210‐1151
TIMOTHY FORTUNE SR     826 MOUNT OLIVET RD                                                                           COLUMBIA        TN   38401‐8031
TIMOTHY FOSTER         5426 CRESTHAVEN LN                                                                            TOLEDO          OH   43614‐1218
TIMOTHY FOUST          3801 GERMANTOWN LIBERTY RD                                                                    DAYTON          OH   45418‐1217
TIMOTHY FOUST          11472 E LIPPINCOTT BLVD APT 1                                                                 DAVISON         MI   48423‐9145
TIMOTHY FOX            2107 LORI DR ALBERTSON PK                                                                     WILMINGTON      DE   19808
                        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                            Part 37 of 40 Pg 138 of 901
Name                    Address1                         Address2            Address3         Address4         City               State Zip
TIMOTHY FOYE            2255 S MERIDIAN RD                                                                     MERRILL             MI 48637‐9763
TIMOTHY FRANCIS         12224 GRINDLEY DR                                                                      STERLING HTS        MI 48312‐3141
TIMOTHY FRANTZ          670 PINCH HWY                                                                          CHARLOTTE           MI 48813‐9718
TIMOTHY FREDERICK       2228 HARRISON ST SE                                                                    DECATUR             AL 35601‐4581
TIMOTHY FREEMAN         51050 GOLD RIDGE LN                                                                    CANTON              MI 48188‐3402
TIMOTHY FREEMAN         6815 CLIFFSIDE PASS                                                                    FORT WAYNE          IN 46845‐8964
TIMOTHY FRIDMANSKI      202 CHERRY BARK DR                                                                     BRANDON             MS 39047‐9552
TIMOTHY FROMWILLER      7377 E COURT ST                                                                        DAVISON             MI 48423‐2546
TIMOTHY FROST           2184 E FRANCES RD                                                                      CLIO                MI 48420‐9767
TIMOTHY FUGATE          49 DEXTER ST                                                                           MILAN               MI 48160‐1522
TIMOTHY FULLER          67 RAILROAD MILLS RD                                                                   PITTSFORD           NY 14534‐4023
TIMOTHY FULTZ           3740 QUAIL RUN                                                                         DRYDEN              MI 48428‐9376
TIMOTHY G CALHOON       556 OLDE OAK DR                                                                        BOURBONNAIS          IL 60914‐1718
TIMOTHY G EVERIDGE      1445 IRONWOOD DR                                                                       FAIRBORN            OH 45324‐3505
TIMOTHY G FISELE        31 FRANJOE CT                                                                          SAINT CHARLES       MO 63304‐3429
TIMOTHY G GATES         614 BROOMSAGE RD                                                                       BEDFORD             IN 47421
TIMOTHY G HUNGLING      6588 HALDERMAN RD                                                                      WEST ALEXANDRIA     OH 45381
TIMOTHY G KOERNER       3853 S. ST.RT. 721                                                                     LAURA               OH 45337‐8786
TIMOTHY G SWEDENHJELM   12969 VAN SLYKE RD                                                                     EAST CONCORD        NY 14055‐9796
TIMOTHY GAINEY          7282 PORTER RD                                                                         GRAND BLANC         MI 48439‐8562
TIMOTHY GAJEWSKI        223 N GENESEE ST                                                                       MONTROSE            MI 48457‐9751
TIMOTHY GALLAGHER       6780 TAMCYN DR                                                                         DAVISBURG           MI 48350‐2522
TIMOTHY GALLOWAY        208 HAWTHORNE DR                                                                       BEDFORD             IN 47421‐3431
TIMOTHY GAMMONS         11196 W JEFFERSON AVE                                                                  RIVER ROUGE         MI 48218‐1269
TIMOTHY GANDY           1308 E MONROE RD                                                                       MIDLAND             MI 48642‐9465
TIMOTHY GARDNER         2830 CRESCENT AVE                                                                      FORT WAYNE          IN 46805‐2604
TIMOTHY GARINGER        4240 W MICHIGAN AVE                                                                    SAGINAW             MI 48638‐6631
TIMOTHY GARRETT         15284 HICKORY ST                                                                       SPRING LAKE         MI 49456‐1183
TIMOTHY GARRISON        2925 LEGACY DR SW                                                                      DECATUR             AL 35603‐4489
TIMOTHY GARROW          9123 CHATWELL LANE               APT 5                                                 DAVISON             MI 48423
TIMOTHY GARTLAND        1190 STONEHENGE RD                                                                     FLINT               MI 48532‐3223
TIMOTHY GASSER          7722 KINGS RUN RD                                                                      SYLVANIA            OH 43560‐1867
TIMOTHY GATES           3580 BISSONETTE RD                                                                     GLENNIE             MI 48737‐9589
TIMOTHY GATES           614 BROOMSAGE RD                                                                       BEDFORD             IN 47421‐7589
TIMOTHY GAY             705 DICKINSON ST                                                                       FLINT               MI 48504‐4841
TIMOTHY GEARY           1897 TROLLEY DR                                                                        MANSFIELD           OH 44905‐1742
TIMOTHY GEETING         210 S MAPLE ST                                                                         EATON               OH 45320‐2340
TIMOTHY GEIST           20846 LOCHMOOR ST                                                                      HARPER WOODS        MI 48225‐1725
TIMOTHY GELLINGS        9090 FARRAND RD                                                                        OTISVILLE           MI 48463‐9638
TIMOTHY GENADOR         4008 MARANA DR                                                                         GRANBURY            TX 76048‐6374
TIMOTHY GENSLER         10053 COUNTY ROAD A                                                                    LA FARGE            WI 54639‐8698
TIMOTHY GENSTERBLUM     4310 HIGH VISTA DR                                                                     HOWELL              MI 48843‐7492
TIMOTHY GENTRY          16102 BROOKHOLLOW DR                                                                   NOBLESVILLE         IN 46062‐7134
TIMOTHY GEORGE          9960 RIDGE RD                                                                          FARMDALE            OH 44417‐9760
TIMOTHY GERBER          2075 MILLSBORO RD                                                                      MANSFIELD           OH 44906‐3328
TIMOTHY GERHARD         6001 ROMAIN CT                                                                         SPRING HILL         TN 37174‐6238
TIMOTHY GERLICH         6520 HAMMOND RD                                                                        FREEPORT            MI 49325‐9709
TIMOTHY GERRITY         2250 MARSHFIELD BLVD                                                                   WESTLAKE            OH 44145‐1765
TIMOTHY GHOLSTON        2648 RAINBOW CREEK DR                                                                  DECATUR             GA 30034‐2155
TIMOTHY GIBBONS         3432 SHELBY RD                                                                         YOUNGSTOWN          OH 44511‐3065
TIMOTHY GIBBS           5199 WINDINGWOOD DR                                                                    BLOOMFIELD HILLS    MI 48302‐2863
TIMOTHY GIBSON          4895 MCCONNELL EAST RD                                                                 SOUTHINGTON         OH 44470‐9584
                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                         Part 37 of 40 Pg 139 of 901
Name                 Address1                         Address2                     Address3   Address4         City               State Zip
TIMOTHY GIDDINGS     3758 CAPITOL WAY                                                                          HIGHLAND            MI 48356‐1610
TIMOTHY GIESIGE      1981 CLIFFWOOD DR                                                                         MANSFIELD           OH 44904‐1631
TIMOTHY GILBERT      6337 BRIAN CIRCLE LN                                                                      BURTON              MI 48509‐1374
TIMOTHY GILES        8094 STANLEY RD                                                                           FLUSHING            MI 48433‐1110
TIMOTHY GILLE        5468 N RIVER RD                                                                           JANESVILLE          WI 53545‐8923
TIMOTHY GILLEY       703 S RIVER ST                                                                            FRANKLIN            OH 45005‐2742
TIMOTHY GILLEY       1739 WILKES LN                                                                            SPRING HILL         TN 37174‐9533
TIMOTHY GLASCO       1817 FITZGERALD DR SW                                                                     DECATUR             AL 35603‐4540
TIMOTHY GLASS        5601 N NORTHWOOD TRCE                                                                     JANESVILLE          WI 53545‐8333
TIMOTHY GLASS        1215 DAWNAN DR                                                                            FORT WAYNE          IN 46816‐1938
TIMOTHY GLAZIER      5238 WEBSTER RD                                                                           FLINT               MI 48504‐1046
TIMOTHY GLENN JR     4166 HICKORY PL                                                                           LIMA                OH 45807‐2285
TIMOTHY GLOSE        90 JEN CT                                                                                 GRAND ISLAND        NY 14072‐1393
TIMOTHY GLOVER       26801 HUCKLEBERRY DR                                                                      RICHMOND HTS        OH 44143‐1046
TIMOTHY GODIN        3552 ROSS DR                                                                              COLUMBIAVILLE       MI 48421‐8712
TIMOTHY GOEBEL       4598 ISLAND PARK DR                                                                       WATERFORD           MI 48329‐1922
TIMOTHY GOLDEN       2688 BULLARD RD                                                                           HARTLAND            MI 48353‐3004
TIMOTHY GOODALL      211 SOUTH MAIN STREET                                                                     DAVISON             MI 48423‐1603
TIMOTHY GOODE        4494 N PINE ST                                                                            MEARS               MI 49436‐9361
TIMOTHY GOODHUE      4451 E LAKE RD                                                                            CLIO                MI 48420‐9176
TIMOTHY GOODPASTER   35473 WESTMINISTER AVE                                                                    N RIDGEVILLE        OH 44039‐1300
TIMOTHY GOODRICH     110 RANSOM OAKS DR                                                                        EAST AMHERST        NY 14051‐1266
TIMOTHY GOODRIGE     12651 HUNTS CORNERS RD                                                                    AKRON               NY 14001‐9665
TIMOTHY GOODWIN      917 BUCKINGHAM AVE                                                                        FLINT               MI 48507‐2844
TIMOTHY GORBATOFF    32432 HEARTHSTONE RD                                                                      FARMINGTON HILLS    MI 48334‐3439
TIMOTHY GORDON       932 BRAD ST                                                                               LANSING             MI 48911‐4827
TIMOTHY GORNALL      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
TIMOTHY GORSUCH      7500 NORDIC WAY CT                                                                        MAUMEE              OH 43537‐9485
TIMOTHY GOSSETT      1416 W WASHINGTON ST                                                                      ATHENS              AL 35611‐2942
TIMOTHY GOUCHER      1325 TURNER ST                                                                            LANSING             MI 48906‐4343
TIMOTHY GOUGE        1333 HARMONY CIR                                                                          WEATHERFORD         TX 76087‐8969
TIMOTHY GOULD        6932 MCDONALD RD                                                                          OLIVET              MI 49076‐9673
TIMOTHY GRAHAM       25917 MIDWAY ST                                                                           DEARBORN HTS        MI 48127‐2959
TIMOTHY GRAMBUSH     3519 HICKORY AVE SE                                                                       GRAND RAPIDS        MI 49508‐2502
TIMOTHY GRANT        1816 E 2ND ST                                                                             FLINT               MI 48503‐5322
TIMOTHY GRAU         36777 MORAVIAN DR                                                                         CLINTON TOWNSHIP    MI 48035‐1207
TIMOTHY GRAVES       PO BOX 386                                                                                HEMLOCK             MI 48626‐0386
TIMOTHY GRAVES       22434 LAKECREST ST                                                                        ST CLR SHORES       MI 48081‐2430
TIMOTHY GRAVES       RR 2 BOX 166                                                                              OKEMAH              OK 74859‐9528
TIMOTHY GRAY         22076 GOODIN RD                                                                           ELKMONT             AL 35620‐6208
TIMOTHY GRAY         PO BOX 9022                                                                               WARREN              MI 48090‐9022
TIMOTHY GRAY         3630 TURF LN                                                                              FORT WAYNE          IN 46804‐3962
TIMOTHY GREEN        2275 SUNRISE DR                                                                           WILLIAMSTON         MI 48895‐9573
TIMOTHY GREEN        2020 MAGNOLIA ST SE                                                                       DECATUR             AL 35601‐5230
TIMOTHY GREENWALD
TIMOTHY GREGORIO     2543 HEMPSTEAD RD                                                                         AUBURN HILLS       MI   48326‐3413
TIMOTHY GREGORY      14164 N CLIO RD                                                                           CLIO               MI   48420‐8804
TIMOTHY GREGORY      2680 MILLER RD                                                                            METAMORA           MI   48455‐9363
TIMOTHY GREIG        1590 COVINGTON WOODS LAN                                                                  LAKE ORION         MI   48360
TIMOTHY GRESSER      8108 S FOREST HILLS CIR                                                                   FRANKLIN           WI   53132‐9605
TIMOTHY GREZLIK      10463 OTTER DR                                                                            SOUTH LYON         MI   48178‐8868
TIMOTHY GRIMMETT     PO BOX 211                                                                                CORTLAND           OH   44410‐0211
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                        Part 37 of 40 Pg 140 of 901
Name                  Address1                       Address2                    Address3   Address4         City                State Zip
TIMOTHY GROH          2656 MAIN STREET RD                                                                    STANDISH             MI 48658‐9603
TIMOTHY GROST         529 SUNRISE DR                                                                         CLARKSTON            MI 48348‐1492
TIMOTHY GROTH         19103 MARYLAND ST                                                                      ROSEVILLE            MI 48066‐1333
TIMOTHY GROVES        1968 MITCHELL LAKE RD                                                                  ATTICA               MI 48412‐9260
TIMOTHY GROVES        401 JAMES DOAK PKWY                                                                    GREENSBORO           NC 27455‐8308
TIMOTHY GRUENWALD     3839 W CEMETERY RD                                                                     JANESVILLE           WI 53548‐9702
TIMOTHY GRZADZINSKI   4172 E MI 36                                                                           PINCKNEY             MI 48169‐8230
TIMOTHY GUDORF        4033 RUNDELL DR                                                                        DAYTON               OH 45415‐1416
TIMOTHY GUILES        2061 COIT AVE NE                                                                       GRAND RAPIDS         MI 49505‐6217
TIMOTHY GULICK        10855 OKEMOS RD                                                                        PORTLAND             MI 48875‐8802
TIMOTHY GUTTMANN      2805 SAINT MICHAEL DR                                                                  MANSFIELD            TX 76063‐2871
TIMOTHY H BARNES      1300 CENTER AVE APT 104                                                                BAY CITY             MI 48708‐6177
TIMOTHY H BOWMAN      217 ALLEN ROAD                                                                         ALBION               NY 14411‐9346
TIMOTHY H HENSLEY     2369 EDENHILL AVE                                                                      KETTERING            OH 45420
TIMOTHY H HUDSON      4502 HOOVER AVE                                                                        DAYTON               OH 45417‐1120
TIMOTHY H KNECHT      ACCT OF TIMOYHY C LIVESAY      1000 MOTT FOUNDATION BLDG                               FLINT                MI 48502‐1861
TIMOTHY H RANNEY      501 PROSPECT AVE APT 10                                                                LOCK HAVEN           PA 17745
TIMOTHY H ROBINSON    5763 ERICSON WAY                                                                       TROTWOOD             OH 45426
TIMOTHY HABERMEHL     12480 OLD MILLER RD                                                                    LENNON               MI 48449‐9410
TIMOTHY HACHINSKI     5714 N 123RD ST                                                                        KANSAS CITY          KS 66109‐2701
TIMOTHY HADLEY        1738 DUMONT DR                                                                         MINERAL RIDGE        OH 44440‐9508
TIMOTHY HAFFNER       PO BOX 3123                                                                            WEST MONROE          LA 71294‐3123
TIMOTHY HAFNER        7459 JUNIPER LN                                                                        PORTLAND             MI 48875‐8656
TIMOTHY HAGEMEISTER   3118 BOWERS RD                                                                         ATTICA               MI 48412‐9347
TIMOTHY HAGGERTY      153 CRYSTAL CT                                                                         BOWLING GREEN        KY 42104‐7566
TIMOTHY HALCOMB       104 VIKING DR                                                                          EATON                OH 45320‐2638
TIMOTHY HALE          454 HIGHLAND AVE                                                                       BUFFALO              NY 14223‐1510
TIMOTHY HALL          68 PARK DR                                                                             GLEN CARBON           IL 62034‐1021
TIMOTHY HALL          1168 MERRY RD                                                                          WATERFORD            MI 48328‐1235
TIMOTHY HALL          16 BERRY CT                                                                            GERMANTOWN           OH 45327‐1483
TIMOTHY HALL          2013 E CHEYANNE LN                                                                     BLOOMINGTON          IN 47401‐4138
TIMOTHY HALL          3101 S AIRPORT RD                                                                      BRIDGEPORT           MI 48722‐9528
TIMOTHY HALLAM        9037 WEST 575 NORTH                                                                    MIDDLETOWN           IN 47356
TIMOTHY HALLEAD       5307 S AIRPORT RD                                                                      SAINT JOHNS          MI 48879‐9266
TIMOTHY HAMILTON      121 DANIELLE CT                                                                        TROY                 MO 63379‐4190
TIMOTHY HAMILTON      126 DEBBIE LN                                                                          MOUNT MORRIS         MI 48458‐1250
TIMOTHY HAMILTON      2917 STEWART CAMPBELL PT                                                               THOMPSONS STATION    TN 37179‐5268
TIMOTHY HAMMON        4110 N MICHIGAN AVE                                                                    SAGINAW              MI 48604‐1643
TIMOTHY HAMMONDS      3030 EMERALD DR                                                                        KALAMAZOO            MI 49001‐4549
TIMOTHY HAMON         22333 HARTLEY RD                                                                       ALLIANCE             OH 44601‐6905
TIMOTHY HANAWALT      276 MAPLE AVE                                                                          CORTLAND             OH 44410‐1271
TIMOTHY HANCOCK       2825 BARKMAN DR                                                                        WATERFORD            MI 48329‐2523
TIMOTHY HANLEY        10125 TABBERT RD                                                                       RIGA                 MI 49276‐9643
TIMOTHY HANNEKEN      5304 MARINER DR                                                                        HUBER HEIGHTS        OH 45424‐5914
TIMOTHY HANSHAW       2509 HAVILAND CT                                                                       MANSFIELD            OH 44903‐6926
TIMOTHY HARDIN        7236 JEWELL AVE                                                                        FORT WORTH           TX 76112‐5824
TIMOTHY HARE          59 S VERNON ST                                                                         MIDDLEPORT           NY 14105‐1325
TIMOTHY HARFOOT       2044 WALDOR DR                                                                         COMMERCE TOWNSHIP    MI 48390‐3255
TIMOTHY HARMEL        1264 S WALNUT ST                                                                       JANESVILLE           WI 53546‐5545
TIMOTHY HARMER        5365 LAMP LIGHTER LN                                                                   FLUSHING             MI 48433‐2457
TIMOTHY HARMON        7373 N 350 E                                                                           ALEXANDRIA           IN 46001‐8867
                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                         Part 37 of 40 Pg 141 of 901
Name                 Address1                         Address2                     Address3   Address4              City                State Zip
TIMOTHY HARPER       492 MCLEOD AVE                                                           AMHERSTBURG ON N9V2Y8
                                                                                              CANADA
TIMOTHY HARRINGTON   4314 HUNTERS HILL RD                                                                           NORMAN              OK    73072‐3924
TIMOTHY HARRIS       7669 EAGLET CT                                                                                 FORT MYERS          FL    33912‐1829
TIMOTHY HARRIS       8702 N LYDIA AVE                                                                               KANSAS CITY         MO    64155‐3021
TIMOTHY HARRIS       43 MUHAMMAD ALI AVE APT 3B                                                                     NEWARK              NJ    07108‐3045
TIMOTHY HARRIS       PO BOX 513                                                                                     SWARTZ CREEK        MI    48473‐0513
TIMOTHY HARRISON     204 GEORGE LN                                                                                  TULLAHOMA           TN    37388‐4132
TIMOTHY HARRISON     PO BOX 207                                                                                     THOMPSONS STATION   TN    37179‐0207
TIMOTHY HARROLD      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS.         OH    44236
TIMOTHY HART         210 GOLF DR                                                                                    CORTLAND            OH    44410‐1179
TIMOTHY HART         150 EUSTACE RD                                                                                 STAFFORD            VA    22554‐3718
TIMOTHY HARTMAN      N4317 PANDOW DR                                                                                BRODHEAD            WI    53520‐9690
TIMOTHY HARTMAN      PO BOX 152                                                                                     CLARKSTON           MI    48347‐0152
TIMOTHY HARTREY      6277 SUNDANCE TRL                                                                              BRIGHTON            MI    48116‐7751
TIMOTHY HARVEY       2701 N MILL AVE APT 24                                                                         BOWLING GREEN       KY    42104‐4472
TIMOTHY HATFIELD     3346 N ELMS RD                                                                                 FLUSHING            MI    48433‐1859
TIMOTHY HATFIELD     32330 PARKWOOD ST                                                                              WESTLAND            MI    48186‐8945
TIMOTHY HATTER       5209 RIDGEBEND DR                                                                              FLINT               MI    48507‐6336
TIMOTHY HATTER       3013 SENECA ST                                                                                 FLINT               MI    48504‐2553
TIMOTHY HAUGAN       27823 IVY CT                                                                                   HARRISON TWP        MI    48045‐6804
TIMOTHY HAVAICH      86 E WOODLAND AVE                                                                              NILES               OH    44446‐1941
TIMOTHY HAVILAND     6912 WINEGAR RD                                                                                PERRY               MI    48872‐9746
TIMOTHY HAWES        7300 COUNTY ROAD 40                                                                            MOUNT GILEAD        OH    43338‐9723
TIMOTHY HAWKS        1050 MYSTIC CT                                                                                 CANTON              MI    48187‐4833
TIMOTHY HAWORTH      1205 THORN RIDGE DR                                                                            HOWELL              MI    48843‐6127
TIMOTHY HAYDEN       413 W GENESEE ST                                                                               FLINT               MI    48505‐6611
TIMOTHY HAYES        3731 BERRYWOOD DR                                                                              DAYTON              OH    45424‐4865
TIMOTHY HAZEL        5105 LIPPINCOTT BLVD                                                                           BURTON              MI    48519‐1255
TIMOTHY HAZELY       27436 PIERCE ST                                                                                SOUTHFIELD          MI    48076‐7409
TIMOTHY HEAGY        1613 HILL ST                                                                                   ANDERSON            IN    46012‐2425
TIMOTHY HEINZELMAN   PO BOX 373                       405 MARY LOU DRIVE                                            SWEETSER            IN    46987‐0373
TIMOTHY HELGEMO      9821 AVONLEA ST                                                                                WHITE LAKE          MI    48386‐2803
TIMOTHY HELTON       2423 W STANLEY RD                                                                              MOUNT MORRIS        MI    48458‐8258
TIMOTHY HENDERSHOT   5014 FREIERMUTH RD                                                                             STOCKBRIDGE         MI    49285‐9507
TIMOTHY HENDERSON    1130 WILLIAMS                                                                                  HERCULES            CA    94547‐3732
TIMOTHY HENIGE       6423 PEET RD                                                                                   CHESANING           MI    48616‐9752
TIMOTHY HENLEY       231 COUNTY ROAD 6                                                                              BELMONT             MS    38827‐9747
TIMOTHY HENNING      860 NORMAN DR                                                                                  STOUGHTON           WI    53589‐3054
TIMOTHY HENSLER      800 WILLIAMSBURY CT APT 287                                                                    WATERFORD           MI    48328‐2213
TIMOTHY HERBER       518 EASTLAND CT                                                                                BAY CITY            MI    48708‐6946
TIMOTHY HERBER       608 E MIDLAND ST APT A                                                                         BAY CITY            MI    48706
TIMOTHY HERMILLER    RR 1 BOX 7242                                                                                  OTTAWA              OH    45875
TIMOTHY HERR         1191 BEST RD                                                                                   METAMORA            MI    48455‐8939
TIMOTHY HERRICK      4511 BOXWOOD CT                                                                                OAKLAND TOWNSHIP    MI    48306‐4717
TIMOTHY HESSLER      6897 MILLER RD                                                                                 BANCROFT            MI    48414‐9712
TIMOTHY HEXAMER      4074 PRIMROSE PATH                                                                             GREENWOOD           IN    46142‐8342
TIMOTHY HIATT        2330 E 1475 N                                                                                  SUMMITVILLE         IN    46070‐9050
TIMOTHY HICKMAN      140 SUGAR HILL DR                                                                              EATON               OH    45320‐9686
TIMOTHY HICKOX       7310 JEFFREY CT                                                                                LINDEN              MI    48451‐8612
TIMOTHY HICKS        6362 KINGS POINTE RD                                                                           GRAND BLANC         MI    48439‐8638
TIMOTHY HICKS        8969 OLD ROUTE 36                                                                              BRADFORD            OH    45308‐9655
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                          Part 37 of 40 Pg 142 of 901
Name                   Address1                        Address2                     Address3   Address4         City               State Zip
TIMOTHY HICKS          3277 BLUE ROCK ROAD                                                                      CINCINNATTI         OH 45239
TIMOTHY HIDLEY         48340 WALDEN RD                                                                          MACOMB              MI 48044‐4914
TIMOTHY HIGDON         22860 W BURT RD                                                                          BRANT               MI 48614‐8792
TIMOTHY HIGGINBOTHAM   18777 OAKDALE RD                                                                         ATHENS              AL 35613‐5753
TIMOTHY HILL           3295 N VAN DYKE RD                                                                       IMLAY CITY          MI 48444‐8939
TIMOTHY HILL           42407 JO ED DR                                                                           STERLING HEIGHTS    MI 48314‐3038
TIMOTHY HILL           28250 SANTA BARBARA DR                                                                   LATHRUP VILLAGE     MI 48076‐2535
TIMOTHY HILL           4451 BUCKINGHAM CIR                                                                      DECATUR             GA 30035‐2109
TIMOTHY HILL           17955 HIGHVIEW RD                                                                        TONGANOXIE          KS 66086‐5170
TIMOTHY HINCHMAN       10709 NORTH WESTLAKES DRIVE                                                              FORT WAYNE          IN 46804‐8601
TIMOTHY HINES          8829 BREAKWATER DR                                                                       FORT WAYNE          IN 46804‐4805
TIMOTHY HIRABAYASHI    3940 S CUSTER RD                                                                         MONROE              MI 48161‐9055
TIMOTHY HOBLET         11003 YALUMBA PASS                                                                       ROANOKE             IN 46783‐8931
TIMOTHY HODGE          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
TIMOTHY HOEKSEMA       1252 E HORSESHOE CT                                                                      ROCHESTER HILLS     MI 48306‐4148
TIMOTHY HOFFMAN        3055 WEIGL RD                                                                            SAGINAW             MI 48609‐9744
TIMOTHY HOFHERR        11501 W RIVER RD                                                                         YORKTOWN            IN 47396‐9525
TIMOTHY HOFMEISTER     14615 ELLEN DR                                                                           LIVONIA             MI 48154‐5197
TIMOTHY HOGAN          5263 CENTER ST                                                                           FAIRGROVE           MI 48733‐9703
TIMOTHY HOGUE          253 OAK KNOLL AVE                                                                        NEWTON FALLS        OH 44444‐1734
TIMOTHY HOLBERT        9881 DIXIE HWY                                                                           CLARKSTON           MI 48348‐2418
TIMOTHY HOLDER         1207 BALDWIN CIR                                                                         HOLLY               MI 48442‐9369
TIMOTHY HOLLAND        PO BOX 226                                                                               NORTH SALEM         IN 46165‐0226
TIMOTHY HOLLEY         3048 KINDLEWOOD LN                                                                       BAY CITY            MI 48706‐1270
TIMOTHY HOLMES         4170 LA VALSE ST APT 2302                                                                GRAND PRAIRIE       TX 75052‐0252
TIMOTHY HOLMES         11792 DAVISBURG RD                                                                       DAVISBURG           MI 48350‐2627
TIMOTHY HOLSAPPLE      5116 2 MILE RD                                                                           BAY CITY            MI 48706‐3063
TIMOTHY HOLSER         1250 E COOK RD                                                                           GRAND BLANC         MI 48439‐8020
TIMOTHY HOLT           11480 E POTTER RD                                                                        DAVISON             MI 48423‐8158
TIMOTHY HOOKS          3240 WASHINGTON SOUTH RD                                                                 MANSFIELD           OH 44903‐7337
TIMOTHY HOOPER         2583 BARTLETT RD                                                                         PLEASANT LAKE       MI 49272‐9647
TIMOTHY HOOPER         520 N MAIN ST                                                                            FORT ATKINSON       WI 53538‐1423
TIMOTHY HOPKINS        130 E FITZSIMMONS RD                                                                     OAK CREEK           WI 53154‐5128
TIMOTHY HOPKINS        99 E SUFFOLK CT                                                                          FLINT               MI 48507‐4253
TIMOTHY HOPPER         9612 LOG CABIN TRL                                                                       WHITE LAKE          MI 48386‐3024
TIMOTHY HOPPER II      6655 JACKSON RD UNIT 175                                                                 ANN ARBOR           MI 48103‐9582
TIMOTHY HORGAN         PO BOX 58                                                                                CAVALIER            ND 58220‐0058
TIMOTHY HORMEL         PO BOX 293                                                                               MAYVILLE            MI 48744‐0293
TIMOTHY HORNING        6585 FAIROAKS DR SE                                                                      ALTO                MI 49302‐9521
TIMOTHY HORRIGAN       109 PINE LAKE DR                                                                         BRUNSWICK           GA 31525‐8328
TIMOTHY HORTON         191 W 8 MILE RD                                                                          WHITE CLOUD         MI 49349‐9417
TIMOTHY HOSKINS        324 CORRAL PATH                                                                          LANSING             MI 48917‐2724
TIMOTHY HOTCHKISS      1478 VINEWOOD STREET                                                                     AUBURN HILLS        MI 48326‐1653
TIMOTHY HOUGHTELING    PO BOX 2068                     500 ABSAROKA                                             GLENROCK            WY 82637‐2068
TIMOTHY HOULE          1205 S BARCLAY ST                                                                        BAY CITY            MI 48706‐5187
TIMOTHY HOULIHAN       530 HAMDEN RD                                                                            ANNANDALE           NJ 08801‐3459
TIMOTHY HOUSE          24 W RUTGERS AVE                                                                         PONTIAC             MI 48340‐2754
TIMOTHY HOUSTON        6156 LOLLIS CREEK RD                                                                     FLOWERY BR          GA 30542‐5510
TIMOTHY HOVIS          10400 WILLIAMS RD                                                                        DIAMOND             OH 44412‐9768
TIMOTHY HOWARD         3333 HEWITT GIFFORD RD SW                                                                WARREN              OH 44481‐9706
TIMOTHY HOWARD         748 ELBERON AVE                                                                          DAYTON              OH 45403‐3320
TIMOTHY HOWARD         1121 W SCOTTWOOD AVE                                                                     FLINT               MI 48507‐3615
                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                         Part 37 of 40 Pg 143 of 901
Name                   Address1                       Address2                 Address3            Address4         City              State Zip
TIMOTHY HOWELL         5400 CRRD.N; 775 WEST                                                                        MUNCIE             IN 47304
TIMOTHY HOXIE          2776 PINCH HWY                                                                               CHARLOTTE          MI 48813‐9726
TIMOTHY HUBBARD        5054 CARRIAGE LN                                                                             LOCKPORT           NY 14094‐9747
TIMOTHY HUBBELL        1444 KINO‐EIGHTY EIGHT RD                                                                    EIGHTY EIGHT       KY 42130
TIMOTHY HUDGENS        13000 HARRINGTON DR                                                                          ALPHARETTA         GA 30009‐7126
TIMOTHY HUDKINS        4907 ALPHA WAY                                                                               FLINT              MI 48506‐1882
TIMOTHY HUDSON         4502 HOOVER AVE                                                                              DAYTON             OH 45417‐1120
TIMOTHY HUDSON         10162 WALNUT SHORES DR                                                                       FENTON             MI 48430‐2466
TIMOTHY HUDSON         36 CHURCH STREET                                                                             BUFFALO            NY 14202
TIMOTHY HUFFMAN        909 HICKORY ST                                                                               ANDERSON           IN 46012‐2309
TIMOTHY HUGH BRADLEY   BARON & BUDD PC                THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                    DALLAS             TX 75219‐4281
TIMOTHY HUGHES         PO BOX 9022                    C/O ADAM OPEL R2‐08                                           WARREN             MI 48090‐9022
TIMOTHY HUGHES         82 KALHAVEN RD                                                                               ROCHESTER HILLS    MI 48307‐3838
TIMOTHY HUGHES         3913 BEACON ST                                                                               FLOWER MOUND       TX 75028‐1687
TIMOTHY HUMMEL         RR 4 BOX 530                                                                                 BUTLER             MO 64730‐9457
TIMOTHY HUNKE          7800 LANTERN DR                                                                              ALMONT             MI 48003‐8649
TIMOTHY HUNT           6305 PELHAM DR                                                                               PARMA              OH 44129‐4643
TIMOTHY HUNT           2218 S 380 E                                                                                 ANDERSON           IN 46017‐9727
TIMOTHY HUNT           229 APOLLO AVE                                                                               FLUSHING           MI 48433‐9301
TIMOTHY HUNT           309 NORTH ST APT 24                                                                          BUFFALO            NY 14201‐1341
TIMOTHY HUNTER         5263 TORREY RD                                                                               FLINT              MI 48507‐3807
TIMOTHY HUNTER         3659 NATIONAL RD                                                                             CLAYTON            OH 45315‐9730
TIMOTHY HUNTER         17814 CRYSTAL RIVER DR                                                                       MACOMB             MI 48042‐2383
TIMOTHY HUSKA          503 N CHIPMAN ST                                                                             OWOSSO             MI 48867‐2141
TIMOTHY HUSTED         39844 FOX VALLEY DR                                                                          CANTON             MI 48188‐1533
TIMOTHY HUTSON         2532 OLD FARMINGTON RD                                                                       LEWISBURG          TN 37091‐2240
TIMOTHY HUTT           7 BASSWOOD DR                                                                                CHEEKTOWAGA        NY 14227‐2608
TIMOTHY HUTTO          30 SHARON AVE                                                                                COURTLAND          AL 35618‐3952
TIMOTHY HYDE           PO BOX 375                                                                                   ORTONVILLE         MI 48462‐0375
TIMOTHY HYSELL         7155 SARATOGA DR                                                                             FLINT              MI 48532‐3014
TIMOTHY I MORRIS       4730 MALUS BLVD                                                                              ANDERSON           IN 46011‐9418
TIMOTHY INGRAHAM       5123 SANGRIA DR                                                                              WEST SALEM         OH 44287‐9142
TIMOTHY INGRAM         12186 DUFFIELD RD                                                                            MONTROSE           MI 48457‐9703
TIMOTHY IWANSKI        4121 BAY ARENAC LINE RD                                                                      PINCONNING         MI 48650‐8419
TIMOTHY J ALLEN        40275 PLYMOUTH RD APT 201                                                                    PLYMOUTH           MI 48170‐4215
TIMOTHY J BADIA        7165 PINEMILL DRIVE                                                                          WESTCHESTER        OH 45069
TIMOTHY J BARTKOWIAK   907 N SANDALWOOD CIR                                                                         MUSKEGON           MI 49441‐5994
TIMOTHY J BARTON       72 WEAVER ST                                                                                 ROCHESTER          NY 14621‐3421
TIMOTHY J BERG         4639 MEADOW CT                                                                               AUBURN             MI 48611‐9506
TIMOTHY J BOSS         5137 POLEN DRIVE                                                                             KETTERING          OH 45440
TIMOTHY J BRENNAN      16741 RIDGE ROAD                                                                             HOLLEY             NY 14470‐9343
TIMOTHY J BRENTON      107 MCADOO AVE                                                                               TRENTON            NJ 08619‐1753
TIMOTHY J BROOKS       PO BOX 542347                                                                                MERRITT ISLAND     FL 32954
TIMOTHY J BROOKS IRA   TIMOTHY J BROOKS               1086 ASHLEY DR                                                TROY               MI 48085
TIMOTHY J BUSEFINK     256 ROSEGARDEN DR NE                                                                         WARREN             OH 44484
TIMOTHY J CAIN         432 STATE ST APT 1                                                                           CHARLOTTE          MI 48813‐1743
TIMOTHY J CASTLE       211 A BROOKSIDE DRIVE                                                                        DUNCAN             SC 29334
TIMOTHY J COLLINS      8620 N DIXIE DRIVE                                                                           DAYTON             OH 45414‐2404
TIMOTHY J CORLEY       3001 MOUNT VERNON AVE                                                                        FORT WORTH         TX 76103‐2932
TIMOTHY J CREMEANS     12214 KIMBALL RUN                                                                            FORT WAYNE         IN 46845‐9120
TIMOTHY J CREMEANS
TIMOTHY J DANIELS      2   WANAKENA TRAIL                                                                           SPENCERPORT       NY 14559‐2035
                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                         Part 37 of 40 Pg 144 of 901
Name                   Address1                             Address2                   Address3          Address4         City              State Zip
TIMOTHY J DAVIS        51 SMALLWOOD DR                                                                                    MARTINSBURG        WV 25405‐1410
TIMOTHY J DOBRINSKI    160 SALZBURG RD                                                                                    BAY CITY           MI 48706‐3152
TIMOTHY J EBENHOEH     5072 FERDEN RD                                                                                     CHESANING          MI 48616‐9719
TIMOTHY J FARRIER      84 CHASE DRIVE                                                                                     CENTERVILLE        OH 45458‐2528
TIMOTHY J FITZGERALD   5011 BIRCHWOOD FARMS DR                                                                            MASON              OH 45040
TIMOTHY J GALBARTH     1177 E JULIAH AVE                                                                                  FLINT              MI 48505‐1630
TIMOTHY J GARBER       302 LAKENGREN DRIVE                                                                                EATON              OH 45320
TIMOTHY J GOOLE        201 BURRITT ROAD                                                                                   HILTON             NY 14468‐9769
TIMOTHY J GULICK       10855 OKEMOS RD                                                                                    PORTLAND           MI 48875‐8802
TIMOTHY J HALL         3101 S AIRPORT RD                                                                                  BRIDGEPORT         MI 48722‐9528
TIMOTHY J HALL         24 CLOVER ST                                                                                       DAYTON             OH 45410
TIMOTHY J HANSBERRY    252 DELAWARE AVE                                                                                   JACKSON            MS 39209‐5421
TIMOTHY J HOOVER       714 CREIGHTON AVE                                                                                  DAYTON             OH 45410
TIMOTHY J KINNEY       619 TALOWOOD DR                                                                                    DAYTON             OH 45430
TIMOTHY J KNIGHT       1601 PARTRIDGEWAY                                                                                  CHESTERTON         IN 46304
TIMOTHY J KOTHMAN      1829 ELAINA DR                                                                                     SPRINGFIELD        OH 45503
TIMOTHY J KRACHT       11859 FRAZHO                                                                                       WARREN             MI 48089‐1275
TIMOTHY J LARICCIA     3250 HOAGLAND BLACKSTUB RD                                                                         CORTLAND           OH 44410‐9171
TIMOTHY J LEWIS        398 CHAMPLAIN STREET                                                                               ROCHESTER          NY 14611‐3415
TIMOTHY J LOGAN        120 OLD NIAGARA RD APT 11                                                                          LOCKPORT           NY 14094‐1521
TIMOTHY J MAGEE        233 MOSLEY RD                                                                                      ROCHESTER          NY 14616‐2943
TIMOTHY J MC CULLOCH   1816 COLONIAL VILLAGE WAY                                                                          WATERFORD          MI 48328
TIMOTHY J MCLEOD       6009 FOUNTAIN POINTE                 APT 7                                                         GRAND BLANC        MI 48439‐7640
TIMOTHY J METKO        NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD       TX 75638
TIMOTHY J MEYER        1223 HINCHEY RD                                                                                    ROCHESTER          NY 14624‐2736
TIMOTHY J MORIN        3793 E COON LAKE RD                                                                                HOWELL             MI 48843‐9431
TIMOTHY J MROFCHAK         P.O. BOX 144                                                                                   BROOKFIELD         OH 44403
TIMOTHY J MRUS         PO BOX 351731                                                                                      PALM COAST         FL 32135‐1731
TIMOTHY J MULLINS      714 CALHOUN DRIVE                                                                                  ABBEVILLE          AL 36310‐6610
TIMOTHY J OROLIN       2511 BENTLEY DR                                                                                    SALEM              OH 44460‐2503
TIMOTHY J PELTON       8665 WARNER ST                                                                                     WEST OLIVE         MI 49460‐9639
TIMOTHY J REED         1065 OLD PINEYWOODS RD LOT 8                                                                       JASPER             AL 35504‐5981
TIMOTHY J REYNOLDS     2902 SHERBORNE BLVD                                                                                FORT WAYNE         IN 46805
TIMOTHY J RIZER        405 FAIRVIEW AVE                                                                                   CANFIELD           OH 44406
TIMOTHY J ROSS         7091 VIENNA RD                                                                                     OTISVILLE          MI 48463‐9429
TIMOTHY J RUFFIN       1493 BARNHART RD                                                                                   TROY               OH 45373‐8707
TIMOTHY J RYAN         6633 STRANWOOD DR                                                                                  ENGLEWOOD          OH 45322
TIMOTHY J SCOTT        731 BEACHLER DR.                                                                                   CARLISLE           OH 45005
TIMOTHY J SMITH        13875 COUNTY ROAD R                                                                                NAPOLEON           OH 43545‐9676
TIMOTHY J SULKOWSKI    3504 SMITH ST                                                                                      DEARBORN           MI 48124‐4282
TIMOTHY J THOMAS       6520 HOOVER AVE                                                                                    DAYTON             OH 45427‐1501
TIMOTHY J VOI          12405 CALLIE DR                                                                                    MOORESVILLE        IN 46158‐8452
TIMOTHY J WAKAR        4470 SINGLE TREE DRIVE #101                                                                        HOWELL             MI 48843
TIMOTHY J WAWRZYNIAK   144 WOODMILL DR                                                                                    ROCHESTER          NY 14626‐1167
TIMOTHY J. KRAMER      ATTY FOR RAM CONSTRUCTION SERVICES   300 RIVER PLACE, #3000                                        DETROIT            MI 48207
                       COMPANY
TIMOTHY JACKOVICH      2939 DIEKAMP FARM TRL                                                                              SAINT CHARLES     MO   63303‐5422
TIMOTHY JACKSON        6272 LAPEER RD                                                                                     BURTON            MI   48509‐2422
TIMOTHY JACKSON        9963 COYLE ST                                                                                      DETROIT           MI   48227‐2410
TIMOTHY JACOBI         6674 TAMERLANE DR                                                                                  WEST BLOOMFIELD   MI   48322‐3757
TIMOTHY JANCZAK        913 BEADLE RD                                                                                      BROCKPORT         NY   14420‐9770
TIMOTHY JANKE          PO BOX 490                                                                                         BRIDGEPORT        MI   48722‐0490
                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                          Part 37 of 40 Pg 145 of 901
Name                    Address1                       Address2                    Address3   Address4         City               State Zip
TIMOTHY JANN            28427 FOREST DALE ST                                                                   ROMULUS             MI 48174‐3047
TIMOTHY JARRELL         651 N SLEIGHT ST                                                                       NAPERVILLE           IL 60563‐3239
TIMOTHY JEFFRIES        43184 LEEDS CT                                                                         CANTON              MI 48188‐1920
TIMOTHY JENKINS         42130 COLT WAY                                                                         COARSEGOLD          CA 93614‐9610
TIMOTHY JENNEX          705 GASPER ST                                                                          CHESANING           MI 48616
TIMOTHY JEREMIAH        1304 GLENN AVE                                                                         LEWISBURG           TN 37091‐2038
TIMOTHY JOGAN           12410 WEDD ST                                                                          OVERLAND PARK       KS 66213‐1841
TIMOTHY JOHN POWELL     5400 MALL DR W APT 3155                                                                LANSING             MI 48917‐1941
TIMOTHY JOHNSON         4531 WINTERFIELD RUN                                                                   FORT WAYNE          IN 46804‐4846
TIMOTHY JOHNSON         4707 GREEN MEADOW LN                                                                   ROCHESTER           MI 48306‐1763
TIMOTHY JOHNSON         20745 TRUAX LN                                                                         CLINTON TOWNSHIP    MI 48038‐5604
TIMOTHY JOHNSON         517 ELLERDALE RD                                                                       CHESTERFIELD        IN 46017‐1423
TIMOTHY JOHNSON         171 SPRING HOUSE LN                                                                    TROY                MO 63379‐5791
TIMOTHY JOHNSON         2439 THOMAS ST                                                                         FLINT               MI 48504‐4686
TIMOTHY JOHNSON         419 NOTTINGHAM RD                                                                      ELKTON              MD 21921‐4441
TIMOTHY JOHNSON         1195 KRISWOOD LN                                                                       COLUMBUS            OH 43228‐3462
TIMOTHY JOHNSON         3889 STANLEY RD                                                                        LAPEER              MI 48446‐9043
TIMOTHY JOHNSON         4112 SPRING HUE LN                                                                     DAVISON             MI 48423‐8900
TIMOTHY JOHNSON         3711 E 36TH ST                                                                         KANSAS CITY         MO 64128‐2628
TIMOTHY JOHNSON         3826 N BENNINGTON AVE                                                                  KANSAS CITY         MO 64117‐7800
TIMOTHY JOLLEY          113 MINNIE BROWN RD                                                                    ARDMORE             TN 38449‐3043
TIMOTHY JONES           47231 SUNNYBROOK LN                                                                    NOVI                MI 48374‐3644
TIMOTHY JONES           232 N WESTVIEW AVE                                                                     DAYTON              OH 45403‐1626
TIMOTHY JONES           190 DENA CT                                                                            TROY                MO 63379‐2320
TIMOTHY JONES           1152 RIDGE RD                                                                          VIENNA              OH 44473‐9793
TIMOTHY JONES           1439 WHITE OAK DR NE                                                                   WARREN              OH 44484‐1651
TIMOTHY JONES           3739 SUNBURST LN                                                                       NAPERVILLE           IL 60564‐8251
TIMOTHY JONES           6753 WEATHERFIELD WAY                                                                  CANTON              MI 48187‐1681
TIMOTHY JONES           155 HUMPHREY ST                                                                        ENGLEWOOD           NJ 07631‐3413
TIMOTHY JONES           N4125 GOLF COURSE RD                                                                   BRODHEAD            WI 53520‐9624
TIMOTHY JONES           719 COUNTY ROAD 311                                                                    MOULTON             AL 35650‐8567
TIMOTHY JONES           41254 SOUTHWIND DR                                                                     CANTON              MI 48188‐3122
TIMOTHY JONES           11373 AMBER CT                                                                         FREELAND            MI 48623‐8441
TIMOTHY JONES           6280 SEYMOUR RD                                                                        SWARTZ CREEK        MI 48473‐7642
TIMOTHY JONES           635 STREAMSIDE DR                                                                      GALESBURG           MI 49053‐9649
TIMOTHY JONES           5084 NORTH E 00 W                                                                      MARION              IN 46952
TIMOTHY JONES           PO BOX 53                                                                              FLINT               MI 48501‐0053
TIMOTHY JONES SR        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                               HOUSTON             TX 77007
                        BOUNDAS LLP
TIMOTHY JUBENVILLE      4382 GERARD CT                                                                         FLINT              MI   48507‐3510
TIMOTHY JULSON          823 SPARTAN DR                                                                         ROCHESTER HILLS    MI   48309‐2530
TIMOTHY JUNOD           176 W BARNES LAKE RD                                                                   COLUMBIAVILLE      MI   48421‐9720
TIMOTHY JUSTICE         3602 FOREST TER                                                                        ANDERSON           IN   46013‐5260
TIMOTHY K BURNS         5090 N HARBOR CITY BLVD                                                                MELBOURNE          FL   32940‐7201
TIMOTHY K HICKMAN       140 SUGARHILL                                                                          EATON              OH   45320‐9686
TIMOTHY K HOLBERT       1736 ARLIN PL APT D                                                                    FAIRBORN           OH   45324‐1970
TIMOTHY K MANGOLD       6055 CLEMATIS DR                                                                       DAYTON             OH   45449
TIMOTHY K ODETTE        14717 NELSON DR                                                                        LAKE ODESSA        MI   48849‐9465
TIMOTHY K PAYNE         8131 FAIRHILL DR NE                                                                    WARREN             OH   44484
TIMOTHY K VANDERHORST   6418 CARUSO CT.                                                                        DAYTON             OH   45449‐3329
TIMOTHY KACZMAREK       242 N TUSCOLA RD                                                                       BAY CITY           MI   48708‐9232
TIMOTHY KALMAR          14560 EASTPORT DR                                                                      STERLING HTS       MI   48313‐5323
                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 146 of 901
Name                 Address1                        Address2            Address3         Address4         City              State Zip
TIMOTHY KANE         5026 BARRIER ISLAND CT                                                                MT PLEASANT        SC 29466‐6933
TIMOTHY KARNJATE     792 LAYMAN CREEK CIR                                                                  GRAND BLANC        MI 48439‐1398
TIMOTHY KARSNICK     35645 HAZELWOOD STREET                                                                WESTLAND           MI 48186‐4174
TIMOTHY KAVANAUGH    8451 ROYAL MEADOW DR                                                                  INDIANAPOLIS       IN 46217‐4864
TIMOTHY KAZI         265 WINDRIFT LN                                                                       ROCHESTER HILLS    MI 48307‐3562
TIMOTHY KEELER       5934 E LAKE RD                                                                        CONESUS            NY 14435‐9738
TIMOTHY KEELER       1440 SUNNINGDALE LN                                                                   ORMOND BEACH       FL 32174‐2494
TIMOTHY KEEN         5646 PINEWOOD RD                                                                      FRANKLIN           TN 37064‐9369
TIMOTHY KEENAN       6086 VILLAGE CT                                                                       CLARKSTON          MI 48346‐1998
TIMOTHY KEEVER       6103 U S RT 42                                                                        MOUNT GILEAD       OH 43338
TIMOTHY KEINATH      8815 FULMER RD                                                                        MILLINGTON         MI 48746‐8708
TIMOTHY KELLER       900 LEGACY PARK DR APT 2512                                                           LAWRENCEVILLE      GA 30043‐8734
TIMOTHY KELLER       108 N COLLEGE ST                                                                      MT PLEASANT        TN 38474‐1135
TIMOTHY KELLEY       3209 W WOODBRIDGE DR                                                                  MUNCIE             IN 47304‐1078
TIMOTHY KELLEY       2219 HAMPDEN DR                                                                       LANSING            MI 48911‐1636
TIMOTHY KELLEY       134 ANDRESEN CT                                                                       HAZEL PARK         MI 48030‐1162
TIMOTHY KELLY        1268 ORLANDO DR                                                                       HASLETT            MI 48840‐9733
TIMOTHY KELLY        15752 CURTIS LN                                                                       ATHENS             AL 35611‐7617
TIMOTHY KELSO        5662 SPEEDWAY DRIVE                                                                   INDIANAPOLIS       IN 46224‐5317
TIMOTHY KEMP         28536 HEATHERBROOK CT                                                                 FARMINGTN HLS      MI 48331‐2920
TIMOTHY KENYON       1404 BOWMAN LN                                                                        BRENTWOOD          TN 37027‐6917
TIMOTHY KEPLER       1670 OTTO RD                                                                          CHARLOTTE          MI 48813‐9713
TIMOTHY KERBRAT      402 BROWN ST                                                                          SAINT CLAIR        MI 48079‐4887
TIMOTHY KERN         1707 S JOHNSON ST                                                                     BAY CITY           MI 48708‐4204
TIMOTHY KERR         2335 N CHARLES ST                                                                     SAGINAW            MI 48602‐5068
TIMOTHY KERR         5627 LEETE RD                                                                         LOCKPORT           NY 14094‐1207
TIMOTHY KERTON       6074 S MAIN ST                                                                        CLARKSTON          MI 48346‐2359
TIMOTHY KETNER       3181 DILLON RD                                                                        FLUSHING           MI 48433‐9762
TIMOTHY KETTLER      106 EVA LN                                                                            ROSCOMMON          MI 48653‐8237
TIMOTHY KICKHAM      1241 BEAVER TRAIL DR                                                                  SAINT LOUIS        MO 63135‐1249
TIMOTHY KIESTER      207 W PARENT AVE                                                                      ROYAL OAK          MI 48067‐3258
TIMOTHY KILDOW       N527 BLACKHAWK BLUFF DR                                                               MILTON             WI 53563‐9503
TIMOTHY KILMARTIN    517 N MAIN ST                                                                         WAYLAND            MI 49348‐1042
TIMOTHY KILROY       965 INDEPENDENCE AVE                                                                  SAINT CHARLES       IL 60174‐4477
TIMOTHY KINCAID      806 OLD ORCHARD RD                                                                    ANDERSON           IN 46011‐2415
TIMOTHY KIND         1243 PLEASANT VALLEY RD                                                               NILES              OH 44446‐4408
TIMOTHY KING         2232 ISAAC LN                                                                         FRANKLIN           TN 37064‐4923
TIMOTHY KING         6666 KING GRAVES RD                                                                   FOWLER             OH 44418‐9769
TIMOTHY KING         1115 FLAT SHOALS RD                                                                   CONCORD            GA 30206‐3026
TIMOTHY KING         15430 LAKEVIEW PARK DR                                                                LINDEN             MI 48451‐8923
TIMOTHY KINJORSKI    1462 HOLLY GROVE RD                                                                   LEWISBURG          TN 37091‐7118
TIMOTHY KIRCHER JR   523 JAMES NACEY LN                                                                    BEAVER DAM         KY 42320‐8606
TIMOTHY KIRK         7296 GREENWOOD ROAD #240                                                              SHREVEPORT         LA 71119
TIMOTHY KIRKLIN      10850 MORTON TAYLOR RD                                                                BELLEVILLE         MI 48111‐5308
TIMOTHY KITCHEN      16202 93RD DR                                                                         LIVE OAK           FL 32060‐6887
TIMOTHY KLINE        1588 E 600 S                                                                          ANDERSON           IN 46013‐9552
TIMOTHY KLINE        61 W SEMINARY ST                                                                      NORWALK            OH 44857‐2016
TIMOTHY KLINE        1110 BONE RD                                                                          FENTON             MI 48430‐8507
TIMOTHY KLIPFEL SR   45 PICKFORD AVE                                                                       BUFFALO            NY 14223‐3107
TIMOTHY KNIGHT       6404 BRUSH ST                                                                         DETROIT            MI 48202‐3210
TIMOTHY KNIGHT SR.   289 E MAIN ST                                                                         NEW LEBANON        OH 45345‐1226
TIMOTHY KOCH         3803 CHERRYSTONE CT                                                                   FORT WAYNE         IN 46815‐4764
                         09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 147 of 901
Name                     Address1                      Address2            Address3         Address4         City               State Zip
TIMOTHY KOCHER           1151 HANNHAH                                                                        LANSING             MI 48906
TIMOTHY KOERBER          130 BEVINS ST                                                                       HOLLY               MI 48442‐1249
TIMOTHY KOERNER          3853 S STATE ROUTE 721                                                              LAURA               OH 45337‐8786
TIMOTHY KOLANOWSKI       8606 ELKRUN DR                                                                      CLARKSTON           MI 48348‐2859
TIMOTHY KOMPANIK         3340 WATSON MARSHALL RD                                                             MC DONALD           OH 44437‐1215
TIMOTHY KONTNY           8965 BUGGY WHIP                                                                     DAVISBURG           MI 48350‐1664
TIMOTHY KONWINSKI        10890 PROV‐NEO‐SWAN ROAD                                                            GRAND RAPIDS        OH 43522
TIMOTHY KORPI            542 FAIRVIEW AVE                                                                    RUSSELLS POINT      OH 43348‐9617
TIMOTHY KOSS             328 AMBERWOOD ST                                                                    AUBURN HILLS        MI 48326‐1124
TIMOTHY KOTLAREK         PO BOX 9022                   C/O HOLDEN                                            WARREN              MI 48090‐9022
TIMOTHY KOVALCSIK        1049 N COLLING RD                                                                   CARO                MI 48723‐1001
TIMOTHY KOWALCZYK        913 LAFAYETTE CT                                                                    ROCHESTER HILLS     MI 48307‐2920
TIMOTHY KOWALSKI         860323 S 3460 RD                                                                    CHANDLER            OK 74834‐5227
TIMOTHY KOZAK            922 N JOHN WAY                                                                      CHANDLER            AZ 85225‐9026
TIMOTHY KOZAK            4680 KINCARDINE                                                                     MILFORD             MI 48381‐3939
TIMOTHY KOZUB            29407 GLEN OAKS BLVD E                                                              FARMINGTON HILLS    MI 48334‐2930
TIMOTHY KRAWCZYK         84 MEADOWBROOK PKWY                                                                 CHEEKTOWAGA         NY 14206‐3414
TIMOTHY KRESMER          12644 PEARL ST                                                                      SOUTHGATE           MI 48195‐1777
TIMOTHY KRICKL           2821 DOOR CREEK RD                                                                  STOUGHTON           WI 53589‐2711
TIMOTHY KRUPA            5566 CHRISTYWAY CT                                                                  BAY CITY            MI 48706‐3104
TIMOTHY KRZESZEWSKI      3785 TRIMM RD                                                                       SAGINAW             MI 48609‐9769
TIMOTHY KUBALA           37 MIDWOOD CIR                                                                      BOARDMAN            OH 44512‐3114
TIMOTHY KUECHENMEISTER   17550 SE 81ST PARNASSUS CT                                                          THE VILLAGES        FL 32162
TIMOTHY KWILINSKI        13971 W EATON HWY                                                                   GRAND LEDGE         MI 48837‐9498
TIMOTHY L ADAMS          4856 NEBRASKA AVE                                                                   HUBER HEIGHTS       OH 45424‐6006
TIMOTHY L ALGER          815 MARION DR                                                                       HOLLY               MI 48442‐1074
TIMOTHY L BRIGHT         110 EMERSON ST                                                                      TILTON               IL 61833‐7920
TIMOTHY L BRIXEY         2114 MATTIS DRIVE                                                                   DAYTON              OH 45439‐2616
TIMOTHY L CAHALL         521 LORELLA AVENUE                                                                  DAYTON              OH 45404‐2417
TIMOTHY L CLARK          6261 PHEASANT HILL RD                                                               DAYTON              OH 45424
TIMOTHY L DENISON        9968 FM 2796                                                                        GILMER              TX 75644‐6135
TIMOTHY L FLEMING        4137 LYNDELL DR                                                                     BEAVERCREEK         OH 45432
TIMOTHY L FONDERLIN      5313 CITRIS BLVD              APT C221                                              RIVER RIDGE         LA 70123
TIMOTHY L FOUST          3801 GERMANTOWN LIBERTY RD                                                          DAYTON              OH 45418‐1217
TIMOTHY L GILLEY         703 S RIVER ST                                                                      FRANKLIN            OH 45005‐2742
TIMOTHY L HALL           438 WALNUT ST                                                                       MEADVILLE           PA 16335‐4414
TIMOTHY L HARTKE         25 INDIANA AVE                                                                      DAYTON              OH 45410‐2307
TIMOTHY L HEFFNER        1816 HEARTHSTONE DR                                                                 DAYTON              OH 45410
TIMOTHY L HENRY          4918 PRESCOTT AVE                                                                   DAYTON              OH 45406
TIMOTHY L HICKS          8969 OLD ROUTE 36                                                                   BRADFORD            OH 45308
TIMOTHY L HICKS          883 HOMESTEAD RD                                                                    SAINT MARYS         WV 26170
TIMOTHY L HOLT           1480 PARKWOOD AVE APT 8                                                             YPSILANTI           MI 48198‐5974
TIMOTHY L HOPKINS        99 E SUFFOLK CT                                                                     FLINT               MI 48507‐4253
TIMOTHY L HOWARD         3333 HEWITT GIFFORD RD SW                                                           WARREN              OH 44481
TIMOTHY L HOWARD         123 8TH AVE CHATUQUA                                                                MIAMSBURG           OH 45342‐2418
TIMOTHY L HUTTO          30 SHARON AVE                                                                       COURTLAND           AL 35618‐3952
TIMOTHY L JACKSON        4365 WITHROW RD                                                                     HAMILTON            OH 45011
TIMOTHY L JENNEX         1022 S CHIPMAN ST                                                                   OWOSSO              MI 48867‐4158
TIMOTHY L JOHNSON        3889 STANLEY RD                                                                     LAPEER              MI 48446‐9043
TIMOTHY L JOHNSON        4112 SPRING HUE LN                                                                  DAVISON             MI 48423‐8900
TIMOTHY L JOHNSON        3711 E 36TH ST                                                                      KANSAS CITY         MO 64128‐2628
TIMOTHY L JONES          232 N WESTVIEW DR                                                                   DAYTON              OH 45403
                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                         Part 37 of 40 Pg 148 of 901
Name                   Address1                          Address2                         Address3   Address4         City            State Zip
TIMOTHY L JONES        4355 FAIROAKS ROAD APT #6                                                                      DAYTON           OH 45405‐1535
TIMOTHY L JUSTICE      3502 FOREST TER                                                                                ANDERSON         IN 46013‐5260
TIMOTHY L KEITH        509 WAWANAH ST                                                                                 GADSDEN          AL 35901‐2238
TIMOTHY L LEONARD      2060 E. DAVID RD                                                                               KETTERING        OH 45440‐1617
TIMOTHY L LONGHWAY     2117 ARTHUR AVE                                                                                DAYTON           OH 45414‐3103
TIMOTHY L MANN         2460 HANCOCK AVE                                                                               DAYTON           OH 45406
TIMOTHY L MARTIN       1915 COLON ST                                                                                  FLINT            MI 48506‐2345
TIMOTHY L MONTIS       C/O ATTORNEY JOHN P EDMONDS LTD   1100 SW JEFFERSON AVENUE SUITE                               PEORIA            IL 61602
                                                         410
TIMOTHY L MOSHER       1032 RUSH RD.                                                                                  NEW MADISON     OH   45346
TIMOTHY L NASH         40 ALDER BUSH LANE                                                                             HAMLIN          NY   14464‐9326
TIMOTHY L O'ROARK      24823 ROCKWELL AVE                                                                             BLANCHARD       OK   73010‐3453
TIMOTHY L OSBORNE      1843 SANDY RIDGE CT                                                                            CARROLLTON      TX   75007‐3008
TIMOTHY L PETERSON     5402 PHELPS RD                                                                                 KANSAS CITY     MO   64136‐1225
TIMOTHY L RADER        515 KOCH AVE.                                                                                  VANDALIA        OH   45377‐1924
TIMOTHY L RILEY        C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                    HOUSTON         TX   77007
                       BOUNDAS LLP
TIMOTHY L RUDICEL      PO BOX 902098                                                                                  KANSAS CITY     MO   64190‐2098
TIMOTHY L SELBIG       638 N LAKE ST                                                                                  HARRISON        MI   48625‐8484
TIMOTHY L SMITH        820 SHAKER RD                                                                                  FRANKLIN        OH   45005‐2672
TIMOTHY L STUART       6025 GENTRY WOODS DR                                                                           DAYTON          OH   45459‐1154
TIMOTHY L TEMPLIN      2361 WYMORE                                                                                    DAYTON          OH   45459‐3658
TIMOTHY L VOILES       2539 OME AVE                                                                                   DAYTON          OH   45414‐5112
TIMOTHY L WARD         9847 STATE ST                                                                                  KINSMAN         OH   44428‐9708
TIMOTHY L WICK         1309 BALTIMORE ST.                                                                             MIDDLETOWN      OH   45044
TIMOTHY L WILDENHAUS   92 PATTERSON VLG APT 3                                                                         DAYTON          OH   45419‐4234
TIMOTHY LAB            637 ADA ST                                                                                     OWOSSO          MI   48867‐2203
TIMOTHY LACROIX        31514 ALLEGAN CT                                                                               WESTLAND        MI   48186‐4702
TIMOTHY LADUKE         6 URBAN DR                                                                                     MASSENA         NY   13662‐2702
TIMOTHY LAMBERT        4063 RICH DR                                                                                   WATERFORD       MI   48329‐1131
TIMOTHY LAMREAUX       6014 BALDWIN RD                                                                                SWARTZ CREEK    MI   48473‐9118
TIMOTHY LANDFAIR       4662 TOLLAND AVE                                                                               HOLT            MI   48842‐1128
TIMOTHY LANE           7400 GARY RD                                                                                   CHESANING       MI   48616‐9461
TIMOTHY LANGE          5450 DIEHL RD                                                                                  METAMORA        MI   48455‐9753
TIMOTHY LANIGAN        22 AUTUMN WOOD CT                                                                              SAINT CHARLES   MO   63303‐4482
TIMOTHY LARONDE        2185 CLARA MATHIS RD                                                                           SPRING HILL     TN   37174‐2544
TIMOTHY LASALLE        7852 CRYSTAL DR                   P.O. BOX 795                                                 BEULAH          MI   49617
TIMOTHY LATOSZEWSKI    8448 KEENAN ST                                                                                 KALAMAZOO       MI   49009‐5975
TIMOTHY LAUFFER        3034 IDAS LN                                                                                   CALEDONIA       NY   14423‐9507
TIMOTHY LAUSENG        22620 MIDDLEBELT RD                                                                            NEW BOSTON      MI   48164‐9480
TIMOTHY LAVOY          425 SALINE ST                                                                                  PETERSBURG      MI   49270‐9764
TIMOTHY LAWHEAD        7514 SADDLEBACK CT APT 3D                                                                      FORT WAYNE      IN   46804‐2374
TIMOTHY LAWRENCE       5445 E FARRAND RD                                                                              CLIO            MI   48420‐9167
TIMOTHY LAZARZ         8012 HARBOUR DR                                                                                IRA             MI   48023‐1844
TIMOTHY LEADER         2035 PANDORA DR                                                                                STERLING HTS    MI   48310‐2867
TIMOTHY LEDGER         49 PEACEFUL DR                                                                                 MORRISVILLE     PA   19067‐5931
TIMOTHY LEE            332 KIRKSWAY LN                                                                                LAKE ORION      MI   48362‐2279
TIMOTHY LEE            PO BOX 9022                       C/O GM KOREA                                                 WARREN          MI   48090‐9022
TIMOTHY LEE            599 1ST ST                                                                                     INWOOD          WV   25428‐4315
TIMOTHY LEE
TIMOTHY LEEDER         3920 BRYN MAWR DR                                                                              JANESVILLE      WI 53546‐2043
TIMOTHY LEGENDRE       3483 FLINT RIVER RD                                                                            COLUMBIAVILLE   MI 48421‐9107
                     09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                           Part 37 of 40 Pg 149 of 901
Name                Address1                            Address2            Address3         Address4         City                State Zip
TIMOTHY LENIX       3475 SECTION RD                                                                           LAMBERTVILLE         MI 48144‐9732
TIMOTHY LENNON      2617 MILTON LN                                                                            THOMPSONS STATION    TN 37179‐5037
TIMOTHY LENZ        360 BEECHCROFT ROAD #1                                                                    SPRING HILL          TN 37174
TIMOTHY LENZI       9036 GRAYTRAX RD                                                                          GRAND BLANC          MI 48439‐8328
TIMOTHY LEONARD     1081 CEDAR CREEK CIR                                                                      DAYTON               OH 45459‐3219
TIMOTHY LEONARD     2060 E DAVID RD                                                                           KETTERING            OH 45440‐1617
TIMOTHY LEONARD     15022 ARTESIAN ST                                                                         DETROIT              MI 48223‐2265
TIMOTHY LETSCH      1045 FOX RUN TER                                                                          LIBERTY              MO 64068‐3464
TIMOTHY LEVY        6587 OLD COACH TRL                                                                        WASHINGTON           MI 48094‐2154
TIMOTHY LEWIS       1435A SHAW RD                                                                             NILES                OH 44446‐3544
TIMOTHY LEWIS       514 JADE DR                                                                               LANSING              MI 48917‐3446
TIMOTHY LIGHTLE     31555 TAYLOR ST                                                                           WAYNE                MI 48184‐2274
TIMOTHY LIKENS      1859 E 500 S                                                                              ANDERSON             IN 46013‐9602
TIMOTHY LINDSEY     23103 BENTON RD                                                                           LAWSON               MO 64062‐8153
TIMOTHY LING        2070 TULIPWOOD DR                                                                         MANSFIELD            OH 44906‐3335
TIMOTHY LINTZ       3543 MERWIN RD                                                                            LAPEER               MI 48446‐7804
TIMOTHY LIPKA       2209 DALEY RD                                                                             LAPEER               MI 48446
TIMOTHY LISTENBEE   1532 S RIDGE RD                                                                           BELOIT               WI 53511‐3958
TIMOTHY LITTLE      240 N GRATIOT CO. LINE RD                                                                 WHEELER              MI 48662
TIMOTHY LIVERNCE
TIMOTHY LLOYD       7660 STATE ROAD 39                                                                        MARTINSVILLE        IN   46151‐9188
TIMOTHY LOB         N72W15982 GOOD HOPE RD                                                                    MENOMONEE FLS       WI   53051‐4550
TIMOTHY LOCKWOOD    27334 PERRY ST                                                                            ROSEVILLE           MI   48066‐2743
TIMOTHY LOGAN       2396 PORTER RD                                                                            ATWATER             OH   44201‐9566
TIMOTHY LOGAN       120 OLD NIAGARA RD APT 11                                                                 LOCKPORT            NY   14094‐1521
TIMOTHY LOHR        1955 JUSTICE DR                                                                           ORTONVILLE          MI   48462‐9504
TIMOTHY LONG        8071 CLOVER RIDGE CT                                                                      GRAND BLANC         MI   48439‐2455
TIMOTHY LONG        5521 POWELL RD                                                                            INDIANAPOLIS        IN   46221‐3830
TIMOTHY LONG        2681 LAKESHORE DR                                                                         GLADWIN             MI   48624‐7827
TIMOTHY LONG        7374 REID RD                                                                              SWARTZ CREEK        MI   48473‐9465
TIMOTHY LONGHWAY    2117 ARTHUR AVE                                                                           DAYTON              OH   45414‐3103
TIMOTHY LOUCH       819 GLENWOOD AVE                                                                          OWOSSO              MI   48867‐4600
TIMOTHY LOUNDS      5330 HARPER RD                                                                            HOLT                MI   48842‐8622
TIMOTHY LOVELAND    6460 S 36TH ST                                                                            CLIMAX              MI   49034‐9677
TIMOTHY LOWMAN      7425 PLEASANT VALLEY RD                                                                   CAMDEN              OH   45311‐7928
TIMOTHY LOZNER      202 AUSTELL DR                                                                            COLUMBIA            TN   38401‐5530
TIMOTHY LUCAS       2560 N FOREST RD                                                                          GETZVILLE           NY   14068‐1227
TIMOTHY LUCAS       2105 SIR LOCKESLEY DR                                                                     MIAMISBURG          OH   45342‐2047
TIMOTHY LUCAS       1359 CIRCLE DR W                                                                          MANSFIELD           OH   44905‐1814
TIMOTHY LUDLUM      4620 KOCHVILLE RD                                                                         SAGINAW             MI   48604‐9764
TIMOTHY LUDWIG      390 HAUXWELL DR                                                                           LAKE ORION          MI   48362‐3632
TIMOTHY LUEHRS      4316 PARKLAWN DR                                                                          KETTERING           OH   45440‐1543
TIMOTHY LUND        6732 AARWOOD RD NW                                                                        RAPID CITY          MI   49676‐9722
TIMOTHY LUTES       1082 E REID RD                                                                            GRAND BLANC         MI   48439‐8905
TIMOTHY LUTZ        5616 BERGAMOT CT                                                                          NAPERVILLE          IL   60564‐4989
TIMOTHY LYKE        7616 ROEPER RD                                                                            PARMA               OH   44134‐6110
TIMOTHY LYNCH       2129 S 31ST ST                                                                            MILWAUKEE           WI   53215‐2433
TIMOTHY M BAKER     6048 LAKE DR                                                                              YPSILANTI           MI   48197‐7046
TIMOTHY M BANK      PO BOX 835                                                                                ROSCOMMON           MI   48653‐0835
TIMOTHY M BARROW    4189 E FARRAND RD                                                                         CLIO                MI   48420‐9131
TIMOTHY M BRANDT    205 HUMISTON CIR                                                                          THOMASTON           CT   06787‐1223
TIMOTHY M BUTTREY   319 GARFIELD ST NE #206                                                                   MINNEAPOLIS         MN   55413‐2626
                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                            Part 37 of 40 Pg 150 of 901
Name                   Address1                          Address2            Address3         Address4         City             State Zip
TIMOTHY M COOK         115 DEER POINT CT                                                                       UNIONVILLE        TN 37180‐2005
TIMOTHY M CORAN        350 SWEENEY STREET                                                                      N TONAWANDA       NY 14120‐6007
TIMOTHY M CREWE        16 RAMBLING DR                                                                          HENDERSONVILL     NC 28739‐9320
TIMOTHY M DIASPRO      505 OHIO ST                                                                             FAIRBORN          OH 45324‐4514
TIMOTHY M FLOYD        1569 FLUSHING RD                                                                        FLUSHING          MI 48433‐2246
TIMOTHY M GORDON       234 WHITE BIRCH ROAD                                                                    EDISON            NJ 08837
TIMOTHY M HADLEY       1738 DUMONT DR                                                                          MINERAL RIDGE     OH 44440‐9508
TIMOTHY M HOUSE        24 W RUTGERS AVE                                                                        PONTIAC           MI 48340‐2754
TIMOTHY M JACKSON      2933 MELBOURNE ST                                                                       DAYTON            OH 45417‐1615
TIMOTHY M JOHNSON      4203 GRAND AVENUE                                                                       MIDDLETOWN        OH 45044
TIMOTHY M KLINE        7164 COUNTRY CLUB RD                                                                    BUTLER            PA 16001
TIMOTHY M MADIGAN      PO BOX 506                                                                              CHURCHVILLE       NY 14428‐0506
TIMOTHY M MEEKS        4016 NELSON RD                                                                          MIDDLETOWN        OH 45042‐2803
TIMOTHY M MENNITT JR   1530 BISCAYNE DR                                                                        TOLEDO            OH 43612‐4003
TIMOTHY M MONTGOMERY   2840 ELLZEY DR NW                                                                       WESSON            MS 39191‐9800
TIMOTHY M SMITH        4044 SOUTH UNION RD.                                                                    MIAMISBURG        OH 45342‐1134
TIMOTHY M SMITH        131 E THIRD APT 401                                                                     DAYTON            OH 45402‐2138
TIMOTHY M SNYDER       441 N SANDS AVE                                                                         MONROE            OH 45050
TIMOTHY M STACEY       2371 BROOKVIEW LN                                                                       DEWITT            MI 48820‐7115
TIMOTHY M SULLIVAN     9242 SHERBOURNE LN 1L                                                                   SHERRILLS FORD    NC 28673
TIMOTHY M THOMPSON     19255 AMMAN RD                                                                          CHESANING         MI 48616‐9714
TIMOTHY M. BURKE       27420 YNEZ RD                     P.O. BOX 892830                                       TEMECULA          CA 92591‐4638
TIMOTHY MACDONALD      PO BOX 318                                                                              REMUS             MI 49340‐0318
TIMOTHY MACH           6021 RIVER ROCK DR                                                                      FOWLERVILLE       MI 48836‐8714
TIMOTHY MACHOWICZ      505 S SILVERY LN                                                                        DEARBORN          MI 48124‐1229
TIMOTHY MACK           5559 NW BARRY RD. #170                                                                  KANSAS CITY       MO 64154
TIMOTHY MACK           2020 E 4TH ST                                                                           ROYAL OAK         MI 48067‐3920
TIMOTHY MADDEN         4940 11 MILE RD NE                                                                      ROCKFORD          MI 49341‐8477
TIMOTHY MADDEN         148 WATERMILL TRCE                                                                      FRANKLIN          TN 37069‐1840
TIMOTHY MADIGAN        PO BOX 215                                                                              CHAMBERLAIN       SD 57325‐0215
TIMOTHY MADIGAN        PO BOX 506                                                                              CHURCHVILLE       NY 14428‐0506
TIMOTHY MADREN         PO BOX 43                                                                               PENDLETON         IN 46064‐0043
TIMOTHY MADSEN         13349 W NORTHFIELD XING                                                                 EVANSVILLE        WI 53536‐8214
TIMOTHY MAGGARD        202 S WEST ST                                                                           FENTON            MI 48430‐2834
TIMOTHY MAGYAR         12066 CENTRALIA                                                                         REDFORD           MI 48239‐2406
TIMOTHY MAGYAR         6411 TYRRELL RD                                                                         LAINGSBURG        MI 48848‐8774
TIMOTHY MAHONEY        1285 HOLLAND ST                                                                         BIRMINGHAM        MI 48009‐6899
TIMOTHY MAHONEY        508 N HENRY ST                                                                          BAY CITY          MI 48706‐4746
TIMOTHY MAHONEY        4011 WASHINGTON ST                                                                      NIAGARA FALLS     NY 14305‐1513
TIMOTHY MAIDEN         3960 WILLOWCREST RD                                                                     BEAVERCREEK       OH 45430‐1138
TIMOTHY MAIKE          11500 BALDWIN RD                                                                        CHESANING         MI 48616‐8404
TIMOTHY MAJOR          1213 BIRCHWOOD DR                                                                       FLUSHING          MI 48433‐1487
TIMOTHY MAJOR
TIMOTHY MALLETT        4753 NE WINN RD                                                                         KANSAS CITY      MO   64117‐1232
TIMOTHY MALONEY        1974 CHAMPIONS CIR                                                                      CASTLE ROCK      CO   80104‐2733
TIMOTHY MALTERER       6519 W GRAND VIDERE DR                                                                  JANESVILLE       WI   53548‐8329
TIMOTHY MANGOLD        6055 CLEMATIS DR                                                                        DAYTON           OH   45449‐3003
TIMOTHY MANIEZ         8480 RIK MAR DR                                                                         DE SOTO          KS   66018‐9629
TIMOTHY MANN           28947 THOUSAND OAKS BLVD #125                                                           AGOURA HILLS     CA   91301
TIMOTHY MANSON         1426 GLENDALE AVE                                                                       DAYTON           OH   45406‐5923
TIMOTHY MANUELLA       2709 W BOGART RD                                                                        SANDUSKY         OH   44870‐7202
TIMOTHY MAPES          4313 CLINGMAN DR                                                                        SHREVEPORT       LA   71105‐3207
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 151 of 901
Name                  Address1                       Address2            Address3         Address4         City                State Zip
TIMOTHY MARCH         7084 JORDAN RD                                                                       GRAND BLANC          MI 48439‐9729
TIMOTHY MARCHLEWICZ   303 SHERIDAN CT                                                                      BAY CITY             MI 48708‐8466
TIMOTHY MARINO        2860 RIDGE RD                                                                        CORTLAND             OH 44410‐9454
TIMOTHY MARKEL        2385 GEORGETOWN BLVD                                                                 ANN ARBOR            MI 48105‐2942
TIMOTHY MARKS         310 1ST AVE                                                                          YPSILANTI            MI 48197‐5226
TIMOTHY MARKS         311 EMILY ST                                                                         FLUSHING             MI 48433‐2625
TIMOTHY MARKSTROM     221 LAKE ST                                                                          NORTHVILLE           MI 48167‐1213
TIMOTHY MARKWARDT     477 ALLISON DR                                                                       ALMONT               MI 48003‐8744
TIMOTHY MARSH         21210 REDCREST MANOR DR.                                                             RICHMOND             TX 77406‐3775
TIMOTHY MARSH         PO BOX 50241                                                                         MIDWEST CITY         OK 73140‐5241
TIMOTHY MARSHALL      725 NICHOLAS RD                                                                      IONIA                MI 48846‐9419
TIMOTHY MARTEK        2346 BULLOCK RD                                                                      BAY CITY             MI 48708‐9666
TIMOTHY MARTENS       5324 ROBERTS DR                                                                      FLINT                MI 48506‐1590
TIMOTHY MARTIN        2721 PRESTONWOOD DR                                                                  GRIMESLAND           NC 27837‐8880
TIMOTHY MARTIN        418 E RIVERSIDE ST                                                                   WILLIAMSTON          MI 48895‐1147
TIMOTHY MARTIN        5600 BRASSIE CT                                                                      GLADWIN              MI 48624‐8119
TIMOTHY MARTIN        3241 BROWN RD                                                                        SPRING HILL          TN 37174‐2100
TIMOTHY MARTIN        1924 SHEPARD DR SW                                                                   DECATUR              AL 35603‐2642
TIMOTHY MARTIN        2305 E RENEE AVE                                                                     MUNCIE               IN 47303‐6305
TIMOTHY MARTIN        1915 COLON ST                                                                        FLINT                MI 48506‐2345
TIMOTHY MARTYNOWICZ   6817 COLONY CT                                                                       DERBY                NY 14047‐9557
TIMOTHY MARUSZCZAK    101 MILLTOWN RD                                                                      WILMINGTON           DE 19808‐3109
TIMOTHY MARVIN        35029 WOOD ST                                                                        LIVONIA              MI 48154‐2436
TIMOTHY MASLOW        8504 S ELIZABETH DR                                                                  MAPLE CITY           MI 49664‐9800
TIMOTHY MASTERS       PO BOX 514                                                                           HOBBS                IN 46047‐0514
TIMOTHY MASTIN        10701 OLDE TUSCANY RD                                                                OKLAHOMA CITY        OK 73173‐7327
TIMOTHY MATECKI       12280 PENNINGTON AVE                                                                 SPARTA               MI 49345‐9518
TIMOTHY MATHIS        4909 MIAMI LN                                                                        FLINT                MI 48504‐2075
TIMOTHY MATTHEWS      44259 HIGHGATE DR                                                                    CLINTON TOWNSHIP     MI 48038‐1488
TIMOTHY MATTHEWS      3420 S EMERY ST                                                                      INDEPENDENCE         MO 64055‐2563
TIMOTHY MATTHEWS JR   APT 108                        715 WALNUT DRIVE                                      DARIEN                IL 60561‐4749
TIMOTHY MATTUS        17048 ANTHONY CT                                                                     MACOMB               MI 48044‐5584
TIMOTHY MATUSZEWSKI   1795 SUTTON RD                                                                       ADRIAN               MI 49221‐9506
TIMOTHY MAUK          490 WEST ST                                                                          MINFORD              OH 45653‐8526
TIMOTHY MAULDIN       554 SHANNON WAY                                                                      LAWRENCEVILLE        GA 30044‐6304
TIMOTHY MAURER        741 BENDING BRK                                                                      FLUSHING             MI 48433‐3018
TIMOTHY MAXWELL       844 YELL RD                                                                          LEWISBURG            TN 37091‐4135
TIMOTHY MAXWELL       6278 N 400 W                                                                         ANDERSON             IN 46011‐9237
TIMOTHY MAY           3680 MARTIN RD                                                                       SMITHVILLE           MO 64089‐8532
TIMOTHY MAYO          4109 JEANOLA ST NW                                                                   GRAND RAPIDS         MI 49544‐9713
TIMOTHY MC CANN       5627 VIKING DR                                                                       JACKSON              MI 49201‐8815
TIMOTHY MC CART       9063 WATER RIDGE DR                                                                  NEWPORT              MI 48166‐9581
TIMOTHY MC COY        54 COLETTE AVE                                                                       CHEEKTOWAGA          NY 14227‐3402
TIMOTHY MC CULLOCH    1816 COLONIAL VILLAGE WAY                                                            WATERFORD            MI 48328
TIMOTHY MC GINNIS     1315 SAINT LOUIS AVE                                                                 EXCELSIOR SPRINGS    MO 64024‐2933
TIMOTHY MC GINTY      139 FAIRWAY DR                                                                       LANGHORNE            PA 19047‐2168
TIMOTHY MC GRATH      210 JUNIPER DR                                                                       DAVISON              MI 48423‐1810
TIMOTHY MC GREGOR     4167 CROSBY RD                                                                       FLINT                MI 48506‐1412
TIMOTHY MC INNIS      4530 BAER RD                                                                         RANSOMVILLE          NY 14131‐9304
TIMOTHY MC KAY        5805 IVAN RD                                                                         SARANAC              MI 48881‐8504
TIMOTHY MC LAUGHLIN   10000 EAGLE RD                                                                       DAVISBURG            MI 48350‐2119
TIMOTHY MC LEAN       5612 MOTTLAND CT                                                                     OXFORD               MI 48371‐1082
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                          Part 37 of 40 Pg 152 of 901
Name                  Address1                           Address2                        Address3   Address4         City              State Zip
TIMOTHY MC NABB       3269 CONTINENTAL DR                                                                            KENNER             LA 70065‐2611
TIMOTHY MC NAMARA     1381 SANDY RIDGE DR                                                                            ROCHESTER HILLS    MI 48306‐4064
TIMOTHY MCALILY       1207 KEITHMONT RD                                                                              BALTIMORE          MD 21228‐2726
TIMOTHY MCARTHUR      4581 SOUTH HARRISON ROAD                                                                       HOUGHTON LAKE      MI 48629‐9250
TIMOTHY MCAULIFFE     3524 LOWER BETHANY ROAD                                                                        BALL GROUND        GA 30107‐3646
TIMOTHY MCCANN        5303 HALE DR                                                                                   TROY               MI 48085‐3479
TIMOTHY MCCARLEY      29655 PICKFORD ST                                                                              LIVONIA            MI 48152‐3463
TIMOTHY MCCARTHY      7250 YOUNESS DR                                                                                GRAND BLANC        MI 48439‐9657
TIMOTHY MCCARTHY      3503 S MORRICE RD                                                                              OWOSSO             MI 48867‐9749
TIMOTHY MCCLINCY      214 HUBBARD RD                                                                                 GALLOWAY           OH 43119‐9457
TIMOTHY MCCLOSKEY     1086 SHOMAN ST                                                                                 WATERFORD          MI 48327‐1855
TIMOTHY MCCLURE       1863 GREENWOODS DR                                                                             JENISON            MI 49428‐9480
TIMOTHY MCCONNELL     1320 MARR RD                                                                                   PULASKI            PA 16143‐3024
TIMOTHY MCCORMACK     208 ELLIOTT CT                                                                                 COLUMBIA           TN 38401‐5533
TIMOTHY MCCRACKEN
TIMOTHY MCCURDY       2031 S GILMAN AVE                                                                              MUNCIE            IN   47302‐2063
TIMOTHY MCDONAGH      18451 CORUNNA RD                                                                               CHESANING         MI   48616‐9630
TIMOTHY MCDOWELL      5192 N OAK RD                                                                                  DAVISON           MI   48423‐9305
TIMOTHY MCFADDEN      LOCKE LORD BISSELL & LIDDELL LLP   111 SOUTH WACKER DRIVE, SUITE                               CHICAGO           IL   60606
                                                         4400
TIMOTHY MCFALL        6950 WINTERPARK AVE                                                                            YOUNGSTOWN        OH   44515‐5606
TIMOTHY MCGILLEN      8293 ELMHURST CT APT 6                                                                         BIRCH RUN         MI   48415‐9269
TIMOTHY MCGINNIS      238 ORVILLE DR                                                                                 TOLEDO            OH   43612‐3531
TIMOTHY MCGINNIS      5717 WATERVILLE MONCLOVA RD                                                                    WATERVILLE        OH   43566‐9543
TIMOTHY MCGOWAN       16480 COUNTY ROAD F                                                                            WAUSEON           OH   43567‐9705
TIMOTHY MCINTOSH      1180 E SPENCER RD                                                                              CAMPTON           KY   41301‐8520
TIMOTHY MCINTOSH      1180 EAST SPENCER RD                                                                           CAMPTON           KY   41301
TIMOTHY MCINTOSH JR   819 S 7TH ST                                                                                   ANN ARBOR         MI   48103‐4766
TIMOTHY MCINTYRE      19124 CHELTON DR                                                                               BEVERLY HILLS     MI   48025‐5212
TIMOTHY MCKAY         27622 N HENRY GUNN RD                                                                          ATLANTA           IN   46031‐9729
TIMOTHY MCKEE         805 N WESTERN AVE                                                                              KOKOMO            IN   46901‐3201
TIMOTHY MCKENNA       505 DONAIR DR                                                                                  SANDUSKY          OH   44870‐5735
TIMOTHY MCKINNEY      PO BOX 174                                                                                     HADLEY            MI   48440‐0174
TIMOTHY MCMAHON       112 AUSTELL DR                                                                                 COLUMBIA          TN   38401‐5528
TIMOTHY MCMAHON       5361 S CHAPIN RD                                                                               MERRILL           MI   48637‐9788
TIMOTHY MCMILLAN      4706 2 MILE RD                                                                                 BAY CITY          MI   48706‐2732
TIMOTHY MCMILLIN      2497 BEECH ST                                                                                  GIRARD            OH   44420‐3102
TIMOTHY MCNAMARA      972 JACINTO E                                                                                  VENICE            FL   34285‐6921
TIMOTHY MCQUEEN       701 SPRING HAVEN DR                                                                            SPRING HILL       TN   37174‐7500
TIMOTHY MCQUILLAN     4354 FOWLER DR                                                                                 WATERFORD         MI   48329‐1904
TIMOTHY MCROBERTS     1913 N HAWTHORNE PARK DR                                                                       JANESVILLE        WI   53545‐2029
TIMOTHY MEEKS         4016 NELSON RD                                                                                 MIDDLETOWN        OH   45042‐2803
TIMOTHY MEHARG        46259 LOOKOUT DR. COURT                                                                        MACOMB            MI   48044
TIMOTHY MEIXNER       5111 PRAIRIE VW                                                                                BRIGHTON          MI   48116‐9752
TIMOTHY MELTON        12174 GREEN RD                                                                                 GOODRICH          MI   48438‐9740
TIMOTHY MENARD        2553 BULLARD RD                                                                                HARTLAND          MI   48353‐3003
TIMOTHY MENARD        43631 FLEETWOOD DR                                                                             CANTON            MI   48187‐4913
TIMOTHY MENTON        6871 AMES ROAD APT.703T                                                                        PARMA             OH   44129
TIMOTHY MERCERUIO     79 PRAYER LN                                                                                   MARTINSBURG       WV   25405‐3001
TIMOTHY MEREDITH      2580 DODDS RD                                                                                  NORTH BRANCH      MI   48461‐9314
TIMOTHY MERGLER       4205 W KESSLER COWLESVILLE RD                                                                  WEST MILTON       OH   45383‐8730
TIMOTHY MERRILL       211 S FRANKLIN                                                                                 FOWLERTON         IN   46930
                      09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                       Part 37 of 40 Pg 153 of 901
Name                  Address1                         Address2           Address3       Address4         City               State Zip
TIMOTHY MERRILL       208 MATTY AVE                                                                       SYRACUSE            NY 13211‐1633
TIMOTHY MERVO         6409 TITAN CT                                                                       LAS VEGAS           NV 89108‐1836
TIMOTHY MEYER         4211 FIRETHORN DR                                                                   SAGINAW             MI 48603‐1117
TIMOTHY MICALLEF      101 ANDOVER LN                                                                      BROOKLYN            MI 49230‐8929
TIMOTHY MICHAEL       1232 GLENWICK DR                                                                    LOGANSPORT          IN 46947‐4001
TIMOTHY MICHAEL       1332 TIMBERLINE DR                                                                  FLINT               MI 48507‐0507
TIMOTHY MICHEL        3935 IRIS DR                                                                        WATERFORD           MI 48329‐1118
TIMOTHY MICKLER       3952 HAIGH RD                                                                       BEAVERTON           MI 48612‐8301
TIMOTHY MIKESELL      2520 N ROYSTON RD                                                                   CHARLOTTE           MI 48813‐9323
TIMOTHY MIKOLAJCZYK   2913 WYNDALE RD                                                                     TOLEDO              OH 43613‐3264
TIMOTHY MILES         7296 TARA DR                                                                        VILLA RICA          GA 30180‐3922
TIMOTHY MILES         3000 LUJER CIR                                                                      LANSING             MI 48906‐2619
TIMOTHY MILES         23232 FLORY RD                                                                      DEFIANCE            OH 43512‐9626
TIMOTHY MILLER        43 WEDGEWOODE LN                                                                    PONTIAC             MI 48340‐2271
TIMOTHY MILLER        5051 GLENMORE RD                                                                    ANDERSON            IN 46012‐9734
TIMOTHY MILLER        54355 ROYAL TROON DR                                                                SOUTH LYON          MI 48178‐9414
TIMOTHY MILLER        15493 GRANDVILLE AVE                                                                DETROIT             MI 48223‐1710
TIMOTHY MILLER        1725 CLIFF VIEW DR.              APT R1034                                          ROCHESTER HILLS     MI 48306
TIMOTHY MILLER        5336 TIMBERWOOD POINT DR                                                            FLINT               MI 48532‐2266
TIMOTHY MILLER        213 GROVE ST                                                                        MANITOU BEACH       MI 49253‐9009
TIMOTHY MILLER        5127 PINEBROOK CT                                                                   FLUSHING            MI 48433‐1389
TIMOTHY MILLER        1132 UNION ST SW                                                                    WARREN              OH 44485‐3677
TIMOTHY MILLIGAN      1550 FURNACE ST                                                                     MINERAL RIDGE       OH 44440‐9729
TIMOTHY MINICH        7810 TURNBERRY DR                                                                   WHITMORE LAKE       MI 48189‐9484
TIMOTHY MININGER      1251 BORG AVE                                                                       TEMPERANCE          MI 48182‐2606
TIMOTHY MINNIS        PO BOX 9022                      C/O BUENOS AIRES                                   WARREN              MI 48090‐9022
TIMOTHY MITCHELL      1039 1/2 NORTH WASHINGTON AVE.                                                      CRESTLINE           OH 44827
TIMOTHY MOBLEY        15824 DIXIE HWY                                                                     HOLLY               MI 48442‐9624
TIMOTHY MOELLER       846 FAIRMONT AVE                                                                    N TONAWANDA         NY 14120‐1971
TIMOTHY MOELLER       5935 S 455 E                                                                        WOLCOTTVILLE        IN 46795‐8801
TIMOTHY MOERY         6014 BARKER DR                                                                      WATERFORD           MI 48329‐3100
TIMOTHY MOHNEY        1628 CUSTER ORANGEVILLE RD                                                          MASURY              OH 44438‐9756
TIMOTHY MOLL          1716 RALVAN DR                                                                      DEFIANCE            OH 43512‐3237
TIMOTHY MONNIER       6245 N NEVADA AVE                                                                   PARKVILLE           MO 64152‐3872
TIMOTHY MONROE        306 N UNION ST                                                                      SPARTA              MI 49345‐1145
TIMOTHY MONROE        8081 JENNINGS RD                                                                    SWARTZ CREEK        MI 48473‐9147
TIMOTHY MONTLE        1394 SQUIRREL RUN                                                                   SAINT JOHNS         MI 48879‐8243
TIMOTHY MOORE         845 ALLSTON DR                                                                      ROCHESTER HLS       MI 48309‐1659
TIMOTHY MOORE         4308 N JENNINGS RD                                                                  FLINT               MI 48504‐1306
TIMOTHY MOORE         1008 FOREST POINTE CT SE                                                            WARREN              OH 44484‐5622
TIMOTHY MOORE         PO BOX 791                                                                          ATHENS              AL 35612‐0791
TIMOTHY MORELLI       33522 ALTA ST                                                                       GARDEN CITY         MI 48135‐1081
TIMOTHY MORESCHI      5004 RED PEPPER CV                                                                  SPRING HILL         TN 37174‐7430
TIMOTHY MORGAN        1364 99TH ST                                                                        NIAGARA FALLS       NY 14304‐2724
TIMOTHY MORGAN        9055 HENSLEY DR                                                                     STERLING HEIGHTS    MI 48314‐2668
TIMOTHY MORIN         3793 E COON LAKE RD                                                                 HOWELL              MI 48843‐9431
TIMOTHY MORR          11160 ROLSTON RD                                                                    BYRON               MI 48418‐9018
TIMOTHY MORRIS        4730 MALUS BLVD                                                                     ANDERSON            IN 46011‐9418
TIMOTHY MORRIS        18349 US HIGHWAY 24                                                                 DEFIANCE            OH 43512‐8600
TIMOTHY MORRISSEY     98 MISTY MESA TRL                                                                   MANSFIELD           TX 76063‐4854
TIMOTHY MORSE         6120 VAN SYCKLE AVE                                                                 WATERFORD           MI 48329‐1442
TIMOTHY MORSE         412 E ROLSTON RD                                                                    LINDEN              MI 48451‐9457
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 154 of 901
Name                   Address1                        Address2            Address3         Address4         City                State Zip
TIMOTHY MORTSON        3781 BIRCH DR                                                                         LUPTON               MI 48635‐9736
TIMOTHY MOSHER         1032 RUSH RD                                                                          NEW MADISON          OH 45346‐9704
TIMOTHY MOTTER         123 AUTUMN HORSESHOE BND                                                              NEWARK               DE 19702‐2354
TIMOTHY MOTTIN         127 S MORRICE RD                                                                      MORRICE              MI 48857‐9729
TIMOTHY MOUNCE         2380 INNWOOD DR                                                                       YOUNGSTOWN           OH 44515‐5152
TIMOTHY MOUSEL         31529 DONNELLY ST                                                                     GARDEN CITY          MI 48135‐1442
TIMOTHY MOWERS         2113 THORBURN ST                                                                      HOLT                 MI 48842‐1829
TIMOTHY MRUS           PO BOX 351731                                                                         PALM COAST           FL 32135‐1731
TIMOTHY MUER           296 CRESTVIEW BLVD                                                                    COMMERCE TOWNSHIP    MI 48390‐3933
TIMOTHY MUIRHEAD       1212 WHISPERING KNOLL LN                                                              ROCHESTER HILLS      MI 48306‐4178
TIMOTHY MULLINS        5243 HOLT RD                                                                          HOLT                 MI 48842‐9601
TIMOTHY MULLINS        714 CALHOUN DR                                                                        ABBEVILLE            AL 36310‐6610
TIMOTHY MURPHY         G9200 W CARPENTER RD                                                                  FLUSHING             MI 48433
TIMOTHY MURPHY         119 LIBERTY ST                                                                        FORDS                NJ 08863‐2045
TIMOTHY MURPHY         21173 FOREST VILLA DR                                                                 MACOMB               MI 48044‐2236
TIMOTHY MURPHY         4671 FOREST AVE                                                                       WATERFORD            MI 48328‐1117
TIMOTHY MURRAY         2618 DEVONWOOD DR                                                                     TROY                 MI 48098‐2327
TIMOTHY MURRAY         17 BLACKSTONE ST                                                                      SUTTON               MA 01590‐3824
TIMOTHY MURRAY         7420 VICTORIA DRIVE                                                                   LAINGSBURG           MI 48848‐9275
TIMOTHY MURRAY         7483 ELMCREST AVE                                                                     MOUNT MORRIS         MI 48458‐1808
TIMOTHY MUTTER         PO BOX 885                                                                            PRUDENVILLE          MI 48651‐0885
TIMOTHY MYERS          413 E MARSHALL RD                                                                     MC DONALD            OH 44437‐1763
TIMOTHY MYERS          14132 WEBSTER DR                                                                      UTICA                MI 48315‐6091
TIMOTHY MYRICK         127 LOGAN SCHOOL RD                                                                   NEW FLORENCE         MO 63363‐3411
TIMOTHY MYRTO          202 WESTFIELD DR                                                                      COLUMBIA             TN 38401‐6514
TIMOTHY N WARREN       21 HOLLIER AVE                                                                        DAYTON               OH 45403‐2917
TIMOTHY NABOZNY        44118 HARMONY LN                                                                      BELLEVILLE           MI 48111‐2451
TIMOTHY NADEAU         3362 LOON LAKE CT                                                                     WATERFORD            MI 48329‐4282
TIMOTHY NAGY           100 HIGH VIEW CT                                                                      BROOKLYN             MI 49230‐9772
TIMOTHY NAIL           PO BOX 232                                                                            ASHER                OK 74826‐0232
TIMOTHY NASH           307 BONNIE BRAE AVE SE APT A                                                          WARREN               OH 44484‐4272
TIMOTHY NATALINO       340 BUCYRUS DR                                                                        AMHERST              NY 14228‐1953
TIMOTHY NEAL           589 LAURA LN                                                                          ORTONVILLE           MI 48462‐8517
TIMOTHY NEAL GEETING   210 S MAPLE ST                                                                        EATON                OH 45320‐2340
TIMOTHY NEFFKE         66 OVERBROOK AVE                                                                      TONAWANDA            NY 14150‐8349
TIMOTHY NELLETT        4950 PELTON RD                                                                        CLARKSTON            MI 48346‐3662
TIMOTHY NELMS          2808 BRONX PARK E APT X8                                                              BRONX                NY 10467
TIMOTHY NELSON         4302 ESTA DR                                                                          FLINT                MI 48506‐1473
TIMOTHY NELSON         8529 CAMELLIA ST                                                                      LANSING              MI 48917‐9635
TIMOTHY NELSON         9767 DEER TRL                                                                         HASLETT              MI 48840‐9200
TIMOTHY NELSON, JR.    8453 NORTHVIEW DR                                                                     PLEASANT PR          WI 53158‐2047
TIMOTHY NETHERY        20999 RIVERWOOD AVE                                                                   NOBLESVILLE          IN 46062‐9550
TIMOTHY NEWHOUSE       531 TENNYSON                                                                          ROCHESTER HILLS      MI 48307‐4247
TIMOTHY NEWKIRK        21865 AVON RD                                                                         OAK PARK             MI 48237‐2518
TIMOTHY NEWSOM         5261 E BRISTOL RD                                                                     BURTON               MI 48519‐1505
TIMOTHY NICHOLS        7518 WILLARD RD                                                                       MONTROSE             MI 48457‐9609
TIMOTHY NICHOLS        364 C W JONES RD                                                                      SCOTTSVILLE          KY 42164‐9525
TIMOTHY NIEBEL         7023 PIEGAN PL                                                                        FORT WAYNE           IN 46815‐6479
TIMOTHY NIGHTINGALE    152 37TH DR SW                                                                        VERO BEACH           FL 32968‐3166
TIMOTHY NILES          4074 SAINT ANDREWS CT UNIT 5                                                          CANFIELD             OH 44406‐8080
TIMOTHY NIXON          21112 CENTERFARM LN                                                                   NORTHVILLE           MI 48167‐9086
                     09-50026-mg          Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                     Part 37 of 40 Pg 155 of 901
Name                 Address1                     Address2            Address3         Address4            City                  State Zip
TIMOTHY NOBLE        5874 BISHOP ST                                                    WINDSOR ON N9H2K5
                                                                                       CANADA
TIMOTHY NOLAN        4604 HADDINGTON DR                                                                    TOLEDO                OH    43623‐3944
TIMOTHY NOLAN        4245 E ELM GROVE RD                                                                   BLUFFTON              IN    46714‐9312
TIMOTHY NOLEN        3280 ROSEDALE DRIVE                                                                   ARNOLD                MO    63010‐4862
TIMOTHY NOONAN       2334 DAVID ST                                                                         SAGINAW               MI    48603‐4112
TIMOTHY NORLING      1837 INDIAN LAKE RD                                                                   NATIONAL CITY         MI    48748‐9554
TIMOTHY NORTHRUP     6026 JAMES HEAD CT                                                                    WEST BLOOMFIELD       MI    48324‐3109
TIMOTHY NOUFER       28 MORRIS AVE                                                                         GIRARD                OH    44420‐2934
TIMOTHY NOVAK        4416 S MARCUS DR                                                                      SAGINAW               MI    48603‐2031
TIMOTHY NURENBERG    525 N STATE ST                                                                        PEWAMO                MI    48873‐9750
TIMOTHY NYHUS        8459 BIG CYPRESS CT                                                                   FORT WORTH            TX    75137‐5900
TIMOTHY O BRIEN      32535 NEWCASTLE DR                                                                    WARREN                MI    48093‐1275
TIMOTHY O BRIEN      8196 FAULKNER DR                                                                      DAVISON               MI    48423‐9535
TIMOTHY O KANE       2025 CLERMONT                                                                         WARREN                OH    44483
TIMOTHY O'BRIEN      319 WHIPPLE ST                                                                        SOUTH LYON            MI    48178‐1115
TIMOTHY O'BRYANT     14765 S BRIDGER RD                                                                    PERRY                 MI    48872‐9554
TIMOTHY O'CONNOR     8590 THORNBROOK DR                                                                    JENISON               MI    49428‐9555
TIMOTHY O'HARA       6884 BERRY BLOSSOM DR                                                                 CANFIELD              OH    44406‐9635
TIMOTHY O'KEEFE      9398 WHARF DR                                                                         IRA                   MI    48023‐2835
TIMOTHY O'LAUGHLIN   10036 ALONDRA ST                                                                      SHREVEPORT            LA    71115‐3403
TIMOTHY O'LEARY      8384 N BRAY RD                                                                        MOUNT MORRIS          MI    48458‐8929
TIMOTHY O'NEIL       38467 PALMER RD                                                                       WESTLAND              MI    48186‐3959
TIMOTHY O'NEIL       3223 SHERMAN ST                                                                       EAU CLAIRE            WI    54701‐6665
TIMOTHY O'NEILL      17555 DOLORES ST                                                                      LIVONIA               MI    48152‐3809
TIMOTHY O'NEILL      534 ROSLYN RD                                                                         GROSSE POINTE WOODS   MI    48236‐1346
TIMOTHY O'ROARK      24823 ROCKWELL AVE                                                                    BLANCHARD             OK    73010‐3453
TIMOTHY OAKS         85 FISHER ST                                                                          BUFFALO               NY    14215‐3907
TIMOTHY OARD         3675 CLARKSTON RD                                                                     CLARKSTON             MI    48348‐4069
TIMOTHY OBERRY       3442 ROLFE RD                                                                         MASON                 MI    48854‐9749
TIMOTHY OBERST       14251 HILLSIDE DR                                                                     NORTH ROYALTON        OH    44133‐4742
TIMOTHY OBRIAN       2154 MORROW BRANCH RD                                                                 LYNNVILLE             TN    38472‐8138
TIMOTHY OBRIEN       52689 WESTCREEK DR 111                                                                MACOMB                MI    48042
TIMOTHY OBRIEN       1966 MEECH RD                                                                         WILLIAMSTON           MI    48895‐9742
TIMOTHY OCONNOR      2364 JOHNSON CREEK RD                                                                 BARKER                NY    14012‐9626
TIMOTHY OCONNOR      PO BOX 268                                                                            LOCKPORT              NY    14095‐0268
TIMOTHY ODEGARD      11380 FAWN VALLEY TRL                                                                 FENTON                MI    48430‐4017
TIMOTHY ODELL        2811 WINDY WAY                                                                        THOMPSONS STATION     TN    37179‐9264
TIMOTHY ODETTE       14717 NELSON DR                                                                       LAKE ODESSA           MI    48849‐9465
TIMOTHY ODONNELL     16732 LUDLOW ST                                                                       GRANADA HILLS         CA    91344‐5135
TIMOTHY OGRAYENSEK   8729 MORTENVIEW DR                                                                    TAYLOR                MI    48180‐2801
TIMOTHY OKENKA       47157 WILLINGHAM WAY                                                                  SHELBY TOWNSHIP       MI    48315‐4842
TIMOTHY OLEARY       68 SUNFLOWER LN                                                                       TOMS RIVER            NJ    08755‐4020
TIMOTHY OLEXSEY      1300 W FILION RD                                                                      FILION                MI    48432‐9784
TIMOTHY OLIVER       4041 N SPRUCE AVE                                                                     KANSAS CITY           MO    64117‐1845
TIMOTHY OLIVER       1100 N JOSSMAN RD                                                                     ORTONVILLE            MI    48462‐9014
TIMOTHY OLNEY        216 S SHERMAN ST                                                                      LESLIE                MI    49251‐9340
TIMOTHY OLSON        1453 HAWTHORNE RD                                                                     GROSSE POINTE WOODS   MI    48236‐1472
TIMOTHY ONEIL        33321 GROTH DR                                                                        STERLING HTS          MI    48312‐6711
TIMOTHY ONORE        741 VICTORIA AVE                                                                      FLINT                 MI    48507‐1732
TIMOTHY OPDYKE       230 W LEDGE DR                                                                        LANSING               MI    48917‐9220
TIMOTHY OPHEIM       1515 EMERSON ST                                                                       BELOIT                WI    53511‐5603
                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                            Part 37 of 40 Pg 156 of 901
Name                   Address1                          Address2            Address3         Address4         City             State Zip
TIMOTHY OPRISU         1413 LONGFELLOW COURT                                                                   NEW CUMBERLAND    PA 17070‐2234
TIMOTHY ORCUTT         2130 DILL AVE                                                                           LINDEN            NJ 07036‐1012
TIMOTHY OROLIN         2511 BENTLEY DR                                                                         SALEM             OH 44460‐2503
TIMOTHY ORTON          244 N JANESVILLE ST                                                                     MILTON            WI 53563‐1307
TIMOTHY OSBORNE        PO BOX 109                                                                              AFTON             WI 53501‐0109
TIMOTHY OSBORNE        3130 MILLER MCL                                                                         LANSING           MI 48910
TIMOTHY OSBURN         PO BOX 42                                                                               FRANKTON          IN 46044‐0042
TIMOTHY OSHEA          2529 TAFT AVE                                                                           OREGON            OH 43616‐3829
TIMOTHY OSSMAN         3805 KENSINGTON AVE                                                                     DETROIT           MI 48224‐2725
TIMOTHY OSWALD         11023 W BRANDHERM RD                                                                    BELOIT            WI 53511‐8270
TIMOTHY OTOOLE         626 ENSENADA CT                                                                         BEREA             OH 44017‐2633
TIMOTHY OTT            332 W CALLE DEL ESTRIBO                                                                 SAHUARITA         AZ 85629‐8531
TIMOTHY OTTINGER       22524 PORT ST                                                                           ST CLR SHORES     MI 48082‐1411
TIMOTHY OVERBECK       12811 BULLOCK GREENWAY BLVD                                                             CHARLOTTE         NC 28277
TIMOTHY OVERDORF       1041 N MAIN ST                                                                          TIPTON            IN 46072‐1050
TIMOTHY OXLEY          9221 S 300 E                                                                            MUNCIE            IN 47302
TIMOTHY P BISHOP       3730 SARAH                                                                              FRANKLIN          OH 45005
TIMOTHY P CLEMENTS     2531 MISTY LN                                                                           DAVISON           MI 48423‐8368
TIMOTHY P DAHLMAN      48669 E HILLCREST CT                                                                    PLYMOUTH          MI 48170‐3238
TIMOTHY P DONNELLY     401 N LINN ST                                                                           BAY CITY          MI 48706‐4831
TIMOTHY P EVANS        1510 LAKE POINTE WAY APT 3                                                              DAYTON            OH 45459‐5843
TIMOTHY P GATZY        5705 BREEZEWOOD DR SE                                                                   BROOKFIELD        OH 44403‐8711
TIMOTHY P HUDSON       C/O SYRACUSE FEDERAL CU           728 E GENESEE ST                                      SYRACUSE          NY 13210‐1506
TIMOTHY P JOHNSON      16 GATES MANOR DRIVE                                                                    ROCHESTER         NY 14606
TIMOTHY P LITTLETON    418 N 4TH ST                                                                            TIPP CITY         OH 45371
TIMOTHY P MARUSZCZAK   101 MILLTOWN RD                                                                         WILMINGTON        DE 19808‐3109
TIMOTHY P MATTHEWS     875 WILLIAM BLVD #214                                                                   JACKSON           MS 39211
TIMOTHY P MYERS        3787 NILES CARVER RD                                                                    MINERAL RIDGE     OH 44440‐9592
TIMOTHY P O'HARE       449 HAYES ST                                                                            YPSILANTI         MI 48198‐6093
TIMOTHY P PRICE        708 S. CRAWFORD ST.                                                                     TROY              OH 45373
TIMOTHY P STARKEY      9 KARABAIR RD                                                                           SAINT PETERS      MO 63376‐2305
TIMOTHY P STILL        1775 HAZEL RD                                                                           HARRISON          MI 48625‐8989
TIMOTHY P WILLIAMS     5224 HAHN AVE                                                                           FAIRBORN          OH 45324‐1809
TIMOTHY PAGEL
TIMOTHY PAKE           6355 VILLAGE DR                                                                         ZEELAND          MI   49464‐8374
TIMOTHY PALM           12225 HOGAN RD                                                                          GAINES           MI   48436‐9745
TIMOTHY PANGLE         9193 MCKINLEY RD                                                                        MONTROSE         MI   48457‐9185
TIMOTHY PAPPAS         21450 MERRIMAN RD                                                                       NEW BOSTON       MI   48164‐9703
TIMOTHY PARADISE       1570 N KNIGHT RD                                                                        ESSEXVILLE       MI   48732‐9648
TIMOTHY PARKE          202 HARLAN AVENUE                                                                       COVINGTON        IN   47932‐1707
TIMOTHY PARKER         8051 WINDBREAK RD APT 4                                                                 CORDOVA          TN   38016‐3735
TIMOTHY PARKHAM        6000 SHORT CUT RD                                                                       COTTRELLVILLE    MI   48039‐2017
TIMOTHY PARROTT        8007 KOVACS DR                                                                          LINDEN           MI   48451‐8760
TIMOTHY PARRY          1634 STILLWAGON RD                                                                      NILES            OH   44446‐4435
TIMOTHY PARSONS        365 AVALON DRIVE                                                                        MANSFIELD        OH   44906‐2727
TIMOTHY PASCHAL        4072 W 300 N                                                                            PERU             IN   46970‐7504
TIMOTHY PATRICK        530 WEST MAIN STREET                                                                    IONIA            MI   48846‐1536
TIMOTHY PATRICK        17205 E WESLEY AVE                                                                      AURORA           CO   80013‐1568
TIMOTHY PATTERSON      9779 BUNCOMB RD                                                                         BETHANY          LA   71007‐9541
TIMOTHY PAUL           823 E MOUNTAIN VIEW RD                                                                  QUEEN CREEK      AZ   85243‐5328
TIMOTHY PAUL           618 SUMMERLIN DR                                                                        BOWLING GREEN    KY   42104‐5543
TIMOTHY PAWLIK         1649 FLEETWOOD DR                                                                       TROY             MI   48098‐2512
                      09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                       Part 37 of 40 Pg 157 of 901
Name                  Address1                      Address2            Address3         Address4         City                State Zip
TIMOTHY PAYNE         6464 DIVINE HWY                                                                     PORTLAND             MI 48875‐1287
TIMOTHY PEAPHON       3722 SHERIDAN RD                                                                    SAGINAW              MI 48601‐5019
TIMOTHY PEAT          PO BOX 9022                                                                         WARREN               MI 48090‐9022
TIMOTHY PEDROLINI     1734 BARNEY RD                                                                      KALAMAZOO            MI 49004‐3369
TIMOTHY PEEVY         4251 CLACK RDAD                                                                     AUBURN               GA 30011
TIMOTHY PELLETIER     30 URBAN DR                                                                         MASSENA              NY 13662‐2702
TIMOTHY PELTON        8665 WARNER ST                                                                      WEST OLIVE           MI 49460‐9639
TIMOTHY PENDELL       11226 CROSSTREE CT                                                                  FORT WAYNE           IN 46814‐9044
TIMOTHY PENICK        223 PATRIOT CIR                                                                     SCOTTSVILLE          KY 42164‐6371
TIMOTHY PENLEY        10842 CENTRAL AVE                                                                   INDIANAPOLIS         IN 46280‐1010
TIMOTHY PENNELL       5113 WILLOW CREST AVE                                                               AUSTINTOWN           OH 44515‐3955
TIMOTHY PENNINGTON    14240 N CENTER RD                                                                   CLIO                 MI 48420‐7908
TIMOTHY PERDUE        PO BOX 431012                                                                       PONTIAC              MI 48343‐1012
TIMOTHY PERKEY        3354 HARVARD RD                                                                     ROYAL OAK            MI 48073‐6609
TIMOTHY PERRY         2663 MEADOW ST                                                                      NORTHPORT            AL 35475‐4844
TIMOTHY PERRY         5119 CLARA DR                                                                       SAGINAW              MI 48638‐6149
TIMOTHY PERRY         7076 EMERY RD                                                                       PORTLAND             MI 48875‐8733
TIMOTHY PERRY         1036 EMERALD VALLEY DR                                                              CASTALIAN SPRINGS    TN 37031‐4769
TIMOTHY PERZANOWSKI   15071 HANOVER LN                                                                    HUNTINGTON BEACH     CA 92647‐2625
TIMOTHY PETERS        20380 CANAL DR                                                                      GROSSE ILE           MI 48138‐1172
TIMOTHY PETERS        11681 ORCHARDVIEW DR                                                                FENTON               MI 48430‐3508
TIMOTHY PETERS        1027 RED PEPPER RDG                                                                 SPRING HILL          TN 37174‐7426
TIMOTHY PETERSON      5402 PHELPS RD                                                                      KANSAS CITY          MO 64136‐1225
TIMOTHY PETTINGILL    2597 CAROL ANN DR                                                                   LAPEER               MI 48446‐9018
TIMOTHY PETTY         1352 E MCCLARNON DR                                                                 GREENFIELD           IN 46140‐7805
TIMOTHY PHELPS        1720 S. PREBLE COUNTY RD.                                                           FARMERSVILLE         OH 45325
TIMOTHY PHELPS        1737 OAKWAY CIR                                                                     COLUMBIA             TN 38401‐9078
TIMOTHY PHILIPP       3801 MCKELVEY RD STE 200                                                            BRIDGETON            MO 63044‐4082
TIMOTHY PHILIPPART    2880 RIVERSIDE DR                                                                   ORION                MI 48359‐1581
TIMOTHY PICKETT       118 GRANDVIEW DR                                                                    FLORENCE             MS 39073‐9268
TIMOTHY PICKETT       14536 WHISPERING WIND WAY                                                           SOUTH BELOIT          IL 61080‐2810
TIMOTHY PIERCE        4 DIXIE DR                                                                          ANDERSON             IN 46016‐2102
TIMOTHY PIERCE        32250 RUEHLE AVE                                                                    WARREN               MI 48093‐8112
TIMOTHY PIERSON       8325 E POTTER RD                                                                    DAVISON              MI 48423‐8178
TIMOTHY PIFHER        8176 BARDEN RD                                                                      DAVISON              MI 48423‐2416
TIMOTHY PIKE          4535 RUGER AVE                                                                      JANESVILLE           WI 53546‐8679
TIMOTHY PINKARD       412 SPRINGBROOK CT                                                                  JOELTON              TN 37080‐9445
TIMOTHY PINKSTON      2401 WESTMINISTER DR                                                                SAINT CHARLES        MO 63301‐4763
TIMOTHY PINTER        2011 WOODLAND AVE                                                                   SYLVAN LAKE          MI 48320‐1569
TIMOTHY PIOSZAK       640 E MAIN ST                                                                       DEWITT               MI 48820‐9406
TIMOTHY PIPPIN        1156 EAGLE NEST DR                                                                  ROCHESTER            MI 48306‐1214
TIMOTHY PLATTE        825 N WRIGHT RD                                                                     FOWLER               MI 48835
TIMOTHY PLUMMER       4343 PHEASANT DR                                                                    FLINT                MI 48506‐1771
TIMOTHY POLLOCK       609 SHADY MEADOWS DR                                                                BALLWIN              MO 63011‐3468
TIMOTHY PONELEIT      25463 CHAMPAIGN ST                                                                  TAYLOR               MI 48180‐2052
TIMOTHY PORTELLI      15777 ASTER AVE                                                                     ALLEN PARK           MI 48101‐1723
TIMOTHY POTTER        9739 BLISS RD                                                                       MIDDLETON            MI 48856‐9715
TIMOTHY POWELL        5400 MALL DR W APT 3155                                                             LANSING              MI 48917‐1941
TIMOTHY POWERS        14734 FAIRVIEW CHURCH RD                                                            CLEAR SPRING         MD 21722‐1216
TIMOTHY POWERS        5336 W 126TH ST                                                                     HAWTHORNE            CA 90250‐4129
TIMOTHY PREMO         5844 WILLOWBROOK DR                                                                 SAGINAW              MI 48638‐5485
TIMOTHY PRESSLER      2805 SECURITY LN                                                                    BAY CITY             MI 48706‐3033
                        09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                         Part 37 of 40 Pg 158 of 901
Name                    Address1                      Address2                   Address3          Address4         City            State Zip
TIMOTHY PRESTON         9643 NOGGLES RD                                                                             MANCHESTER       MI 48158‐9666
TIMOTHY PRICE           7775 FARNSWORTH DR                                                                          CLAY             MI 48001‐3017
TIMOTHY PRIDEMORE       770 SHELBY ONTARIO RD                                                                       MANSFIELD        OH 44906‐1036
TIMOTHY PRINCE          5642 KAYNORTH RD                                                                            LANSING          MI 48911‐3853
TIMOTHY PRINCE          9583 MANDON ST                                                                              WHITE LAKE       MI 48386‐2946
TIMOTHY PRINGLE         1211 W COMMERCE ST                                                                          LEWISBURG        TN 37091‐3125
TIMOTHY PROCTOR         4743 SHERWOOD CIR                                                                           CANTON           MI 48188‐2243
TIMOTHY PROHOWNIK       22313 BENJAMIN ST                                                                           ST CLR SHORES    MI 48081‐2283
TIMOTHY PROVENCHER      2523 RAINTREE LN                                                                            TOLEDO           OH 43611‐1131
TIMOTHY PRUYT           2195 TAYLOR LAKE CT                                                                         HOLLY            MI 48442‐9113
TIMOTHY PRZYDZIAL       5816 HARTWELL ST                                                                            DEARBORN         MI 48126‐2242
TIMOTHY PUCHALSKI       1354 BIELBY ST                                                                              WATERFORD        MI 48328‐1306
TIMOTHY PUGH            517 GREGGS PLACE                                                                            MCDONOUGH        GA 30253‐2368
TIMOTHY PUZA            PO BOX 334                                                                                  STONE LAKE       WI 54876‐0334
TIMOTHY PYARD           15005 DIVISION AVE NE                                                                       CEDAR SPRINGS    MI 49319‐8875
TIMOTHY PYEATT          13286 OLD OAKS DR                                                                           FENTON           MI 48430‐9497
TIMOTHY Q WILSON        891 PLAINS RD                                                                               MASON            MI 48854‐9676
TIMOTHY QUACKENBUSH     3696 EMBARCADERO ST                                                                         WATERFORD        MI 48329‐2239
TIMOTHY QUINN           13598 NORTHRIDGE DR                                                                         HOLLY            MI 48442‐8222
TIMOTHY QUINN           4042 BROOKSTONE CT                                                                          HOWELL           MI 48843‐7509
TIMOTHY QUINN           201 LAGOON BEACH DR                                                                         BAY CITY         MI 48706‐1436
TIMOTHY R ALLEN         4365 OLD COLUMBUS RD                                                                        LONDON           OH 43140‐8814
TIMOTHY R BEEGHLY       2704 HAZEL AVE                                                                              DAYTON           OH 45420
TIMOTHY R BEVERLY       49 LAWNDALE AVE                                                                             FAIRBORN         OH 45324‐2819
TIMOTHY R BLACK         4122 ALPHA ST APT 14                                                                        LANSING          MI 48910‐4750
TIMOTHY R BOTTLES       416 KUNTZ DR                                                                                LEBANON          OH 45036
TIMOTHY R CIAROLLA      810 GRIFFIN ST.                                                                             NILES            OH 44446
TIMOTHY R DAVIS         1887 STEWART RD                                                                             XENIA            OH 45385
TIMOTHY R DIMPERIO      53 AVERY STREET                                                                             ROCHESTER        NY 14606‐1901
TIMOTHY R DUPREE        425 HUNTER AVE                                                                              DAYTON           OH 45404
TIMOTHY R GARROW        9123 CHATWELL DR APT 5                                                                      DAVISON          MI 48423
TIMOTHY R GAUTHIER      502 BOSTON RD                                                                               SYRACUSE         NY 13211‐1213
TIMOTHY R HAYES         2100 SOUTH 11TH ST.                                                                         GADSDEN          AL 35904
TIMOTHY R JOHNSON       2099 OLD STATE RD                                                                           NEW CASTLE       PA 16101
TIMOTHY R MC LAUGHLIN   10000 EAGLE RD                                                                              DAVISBURG        MI 48350‐2119
TIMOTHY R MEENACH       989 SOMERSET DR APT 1                                                                       MIAMISBURG       OH 45342
TIMOTHY R MILLS         NIX PATTERSON & ROACH LLP     GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD     TX 75638
TIMOTHY R MORI          542 NORTH STANFORD                                                                          FULLERTON        CA 92831‐3336
TIMOTHY R RICHARDS      6897 GROVE ST                                                                               BROOKFIELD       OH 44403
TIMOTHY R ROGERS        4520 GARDNER BARCLAY RD                                                                     FARMDALE         OH 44417
TIMOTHY R SCHMITT       6399 MILL POND RD.                                                                          BYRON            NY 14422‐9609
TIMOTHY R SCHMITT       1896 N CENTRAL DR                                                                           BEAVERCREEK      OH 45432‐2054
TIMOTHY R SHEPARD       96 E 3RD ST                                                                                 W ALEXANDRIA     OH 45381‐1232
TIMOTHY R STUCK         2201 VALE DR.                                                                               KETTERING        OH 45420
TIMOTHY R THOMPSON      RR2 BOX 138 C‐REDBUD LANE                                                                   NINETYSIX        SC 29666‐9802
TIMOTHY R TRIETLEY      770 WEST FAIRY STREET                                                                       BUFFALO          NY 14222
TIMOTHY R WALTON        3022 S W 27TH PLACE                                                                         CAPE CORAL       FL 33914
TIMOTHY R WOLBERT       PO BOX 515                                                                                  LEAVITTSBURG     OH 44430‐0515
TIMOTHY R ZWICK         2780 STATE ROUTE 40                                                                         TIP CITY         OH 45371
TIMOTHY RABIDEAU        3465 KATHLEEN LAKE DR.                                                                      ORTONVILLE       MI 48462
TIMOTHY RABIDEAU        373 BLOCK ST                                                                                FRANKENMUTH      MI 48734‐1155
TIMOTHY RADER           1723 MARYLAND BLVD                                                                          BIRMINGHAM       MI 48009‐1929
                    09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                     Part 37 of 40 Pg 159 of 901
Name                Address1                      Address2              Address3       Address4         City            State Zip
TIMOTHY RADTKE      5347 ENGLISH DR                                                                     TROY             MI 48085‐4005
TIMOTHY RAGAN       APT 77                        6340 FOX GLEN DRIVE                                   SAGINAW          MI 48638‐7327
TIMOTHY RAGLAND     3631 FLORIAN DR                                                                     COLUMBUS         OH 43219‐3003
TIMOTHY RAHL        2261 E VERMONTVILLE HWY                                                             CHARLOTTE        MI 48813‐8705
TIMOTHY RAJT        6260 MEYER AVE                                                                      BRIGHTON         MI 48116‐2024
TIMOTHY RANCK       6290 WILLARD RD                                                                     BIRCH RUN        MI 48415‐8771
TIMOTHY RANDALL     4485 CARMANWOOD DR                                                                  FLINT            MI 48507‐5652
TIMOTHY RANDALL     20635 EMMETT ST                                                                     TAYLOR           MI 48180‐4310
TIMOTHY RANNEY      501 PROSPECT AVE APT 10                                                             LOCK HAVEN       PA 17745‐8335
TIMOTHY RANSOM      6879 DIXIE HWY                                                                      BRIDGEPORT       MI 48722‐9759
TIMOTHY RANVILLE    3401 W WILSON RD                                                                    CLIO             MI 48420‐1955
TIMOTHY RANVILLE    3323 PENCOMBE PL                                                                    FLINT            MI 48503‐2337
TIMOTHY RAPSON      2206 CANDLEWICK DR                                                                  FORT WAYNE       IN 46804‐1384
TIMOTHY RASHID      449 N MAIN ST                                                                       ROMEO            MI 48065‐4626
TIMOTHY RAYMOND     PO BOX 202                                                                          COLUMBIAVILLE    MI 48421‐0202
TIMOTHY RAYMOND     4434 MAPLE POINTE TRL                                                               GRAND BLANC      MI 48439‐9798
TIMOTHY REAY        313 E HIGH ST                                                                       LONDON           OH 43140‐9727
TIMOTHY REED        PO BOX 46                                                                           OAKWOOD          GA 30566‐0001
TIMOTHY REED        258 APPLEWOOD LN                                                                    PENNS GROVE      NJ 08069
TIMOTHY REED        4889 S US HIGHWAY 23                                                                GREENBUSH        MI 48738‐9751
TIMOTHY REED JR     62 PERKINTOWN RD                                                                    PEDRICKTOWN      NJ 08067‐3201
TIMOTHY REED JR     539 SHERIDAN DRIVE                                                                  GIBBSTOWN        NJ 08027‐1643
TIMOTHY REEVES      4208 GRINDLEY PARK ST                                                               DEARBORN HTS     MI 48125‐2228
TIMOTHY REGIS       3646 W DRAHNER RD                                                                   OXFORD           MI 48371‐5714
TIMOTHY REILLY      12875 WOODBINE                                                                      REDFORD          MI 48239‐2615
TIMOTHY REILLY      911 DURANT ST                                                                       LANSING          MI 48915‐1330
TIMOTHY REILLY      17107 MAPLE HILL DR                                                                 NORTHVILLE       MI 48168‐3213
TIMOTHY REINHART    919 NATURE LAKE CIR                                                                 BROWNSBURG       IN 46112‐8180
TIMOTHY REIP        2278 THISTLEWOOD DR                                                                 BURTON           MI 48509‐1253
TIMOTHY REMIAS      512 IMPALA DR                                                                       YOUNGSTOWN       OH 44515‐3330
TIMOTHY RESIDE      1644 REED RD                                                                        PENNINGTON       NJ 08534‐5005
TIMOTHY RESOVSKY    23330 LAWRENCE AVE                                                                  DEARBORN         MI 48128‐1232
TIMOTHY RETTGER     1720 LOCHINVAR BLVD                                                                 OAKLAND          MI 48363‐1819
TIMOTHY RETTIG      526 SAWMILLRUN RD                                                                   BUTLER           PA 16001
TIMOTHY REYBURN     3240 W 500 S                                                                        PERU             IN 46970‐7467
TIMOTHY REYNOLDS    3390 LUDWIG RD                                                                      OXFORD           MI 48371‐1413
TIMOTHY REYNOLDS    3058 SCOTT DR                                                                       BAY CITY         MI 48706‐1119
TIMOTHY REYNOLDS    1976 CANYON RIDGE DR                                                                SPARKS           NV 89436‐3685
TIMOTHY REYNOLDS    2601 BALCKMORE ST                                                                   SAGINAW          MI 48602‐3579
TIMOTHY REYNOLDS    6364 W VIENNA RD                                                                    CLIO             MI 48420‐9456
TIMOTHY REYNOLDS    830 GREENHILL WAY                                                                   ANDERSON         IN 46012‐9264
TIMOTHY RHINEHART   754 SALT SPRINGS RD                                                                 MINERAL RIDGE    OH 44440
TIMOTHY RHOADES     1430 HILLTOP DR                                                                     GRAND BLANC      MI 48439‐1710
TIMOTHY RHODES      1000 NE 23RD ST                                                                     MOORE            OK 73160‐8938
TIMOTHY RICE        1201 NOTTINGHAM DR                                                                  NORTHVILLE       MI 48167‐8712
TIMOTHY RICHARDS    1318 MORGAN AVE                                                                     MUSKEGON         MI 49442‐1338
TIMOTHY RICKETTS    884 EUGENE DR                                                                       OXFORD           MI 48371‐4730
TIMOTHY RIDLEY      8163 ROCKWOOD AVE                                                                   MOUNT MORRIS     MI 48458‐1311
TIMOTHY RIEGER      2286 KENTWOOD DR                                                                    MANSFIELD        OH 44903‐9650
TIMOTHY RIENKS      724 W GLEN ARBOR WAY                                                                BLOOMINGTON      IN 47403‐4539
TIMOTHY RIFE        10845 KNOCKADERRY DR                                                                GRAND LEDGE      MI 48837‐8170
TIMOTHY RIFFEL      425 OAK ST                                                                          SEBASTIAN        FL 32958‐4351
                          09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                              Part 37 of 40 Pg 160 of 901
Name                      Address1                         Address2                 Address3            Address4         City              State Zip
TIMOTHY RIHACEK           9061 APPLE ORCHARD DR                                                                          FENTON             MI 48430‐8907
TIMOTHY RILEY             3651 CHURCH ST                                                                                 SAGINAW            MI 48604‐2144
TIMOTHY RILEY             138 ALASKA ST                                                                                  CHEEKTOWAGA        NY 14206‐2531
TIMOTHY RINKE             20 OAKWOOD DR                                                                                  WESTON             CT 06883‐1819
TIMOTHY RISCH             23 S CHATHAM ST                                                                                JANESVILLE         WI 53548‐3711
TIMOTHY RITTER            1931 S SHAYTOWN RD                                                                             VERMONTVILLE       MI 49096‐9528
TIMOTHY RITTER            9900 JOAN CIR                                                                                  YPSILANTI          MI 48197‐6912
TIMOTHY RIVAS             9270 S 600 E‐92                                                                                ROANOKE            IN 46783‐9214
TIMOTHY ROACH             2211 N SHANNON WAY                                                                             MESA               AZ 85215‐2731
TIMOTHY ROBBINS           6419 KELLY ROAD                                                                                FLUSHING           MI 48433‐9056
TIMOTHY ROBERT WOODHALL   BARON & BUDD P C                 THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                    DALLAS             TX 75219‐4281
TIMOTHY ROBERTS           9831 PUDDENBAG RD                                                                              GERMANTOWN         OH 45327‐7715
TIMOTHY ROBERTS           1021 MICHIGAN AVE                                                                              BAY CITY           MI 48708‐8764
TIMOTHY ROBERTS           2309 PARK RIDGE CT                                                                             GROVE CITY         OH 43123‐1818
TIMOTHY ROBERTS           4484 N GALE RD                                                                                 DAVISON            MI 48423‐8953
TIMOTHY ROBERTS           11182 FOLEY RD                                                                                 FENTON             MI 48430‐9472
TIMOTHY ROBERTS           62 MASSACHUSETTS AVE                                                                           JOHNSON CITY       NY 13790
TIMOTHY ROBINSON          1742D‐CAVE MILL RD.                                                                            BOWLING GREEN      KY 42104
TIMOTHY ROBINSON          4080 COVERT RD                                                                                 PERRYSVILLE        OH 44864‐9620
TIMOTHY ROBINSON          14451 N 500 W                                                                                  ELWOOD             IN 46036‐9261
TIMOTHY ROBINSON          5763 ERICSSON WAY                                                                              TROTWOOD           OH 45426‐1480
TIMOTHY ROCHE             4330 E HURON RD                                                                                AU GRES            MI 48703‐9453
TIMOTHY RODGERS           9633 CEMETERY RD                                                                               BOWLING GREEN      KY 42103‐9842
TIMOTHY RODGERS
TIMOTHY ROEDER            31417 MARQUETTE ST                                                                             GARDEN CITY       MI   48135‐1361
TIMOTHY ROGERS            5900 W 200 N                                                                                   ANDERSON          IN   46011‐9146
TIMOTHY ROGERS            6901 SHOAL CREEK RD                                                                            CLERMONT          GA   30527‐1524
TIMOTHY ROGGENKAMP        6837 ALTA DR                                                                                   BRIGHTON          MI   48116‐6220
TIMOTHY ROGGOW            5160 S FORDNEY RD                                                                              HEMLOCK           MI   48626‐9784
TIMOTHY ROMZEK            3360 GLACIER DR                                                                                LAKE ORION        MI   48360‐1039
TIMOTHY ROOT              5511 ALLEGAN RD                                                                                VERMONTVILLE      MI   49096‐8727
TIMOTHY ROOT              8776 IRONWOOD DRIVE                                                                            BELLEVILLE        MI   48111‐7419
TIMOTHY ROSE              7031 PINEVIEW DR                                                                               HUBER HEIGHTS     OH   45424‐2553
TIMOTHY ROSENBAUM         936 GUNSMITH SCHOOL RD                                                                         BEDFORD           IN   47421‐8727
TIMOTHY ROSS              7091 VIENNA RD                                                                                 OTISVILLE         MI   48463‐9429
TIMOTHY ROSS              4366 CHICORY LN                                                                                BURTON            MI   48519‐1221
TIMOTHY ROSSER            14798 BRANT RD                                                                                 SAINT CHARLES     MI   48655‐9520
TIMOTHY ROSSITER          5424 TEQUESTA DR                                                                               WEST BLOOMFIELD   MI   48323‐2353
TIMOTHY ROTH              3455 TOWNLINE RD                                                                               OMER              MI   48749‐9741
TIMOTHY ROTTIERS          9145 DOWNING RD                                                                                BIRCH RUN         MI   48415‐9287
TIMOTHY ROURKE            315 E PETERSON DR                                                                              BRIGHTON          MI   48114‐9647
TIMOTHY ROUSSEAU          1411 9TH ST SE                                                                                 NEW PRAGUE        MN   56071‐5402
TIMOTHY ROWLEY            1415 E SECURITY RD                                                                             BELOIT            WI   53511‐8854
TIMOTHY ROWLEY            19796 N 76TH AVE                                                                               GLENDALE          AZ   85308‐6001
TIMOTHY ROY JONES         970 BROOKSIDE DR                                                                               CEDAR HILL        TX   75104
TIMOTHY RUDICEL           PO BOX 902098                                                                                  KANSAS CITY       MO   64190‐2098
TIMOTHY RUFFIN            1493 BARNHART RD                                                                               TROY              OH   45373‐8707
TIMOTHY RUMFIELD          6887 W GRAND LEDGE HWY                                                                         SUNFIELD          MI   48890‐9736
TIMOTHY RUMLER            3826 MCNEIL DR                                                                                 PETERSBURG        MI   49270‐9759
TIMOTHY RUPRIGHT          13620 ROMFORD AVE                                                                              PORT CHARLOTTE    FL   33981‐6150
TIMOTHY RUSHTON           10347 FRANCES RD                                                                               FLUSHING          MI   48433‐9221
TIMOTHY RUTH              5953 BROCKWAY RD                                                                               PECK              MI   48466‐9751
                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                       Part 37 of 40 Pg 161 of 901
Name                 Address1                           Address2                   Address3               Address4           City               State Zip
TIMOTHY RUTHERFORD   2916 BROOKLINE DR                                                                                       SHREVEPORT          LA 71119‐2604
TIMOTHY RUTHRUFF     1442 S GREENVILLE RD                                                                                    GREENVILLE          MI 48838‐9293
TIMOTHY RUTTER       326 N TERRACE ST                                                                                        JANESVILLE          WI 53548‐3627
TIMOTHY RYAN         1331 PECAN RIDGE DR                                                                                     MIDLOTHIAN          TX 76065‐3136
TIMOTHY RYAN         6633 STRANWOOD DR                                                                                       ENGLEWOOD           OH 45322‐3772
TIMOTHY RYAN         3851 LINCOLN ST                                                                                         DEARBORN            MI 48124‐3563
TIMOTHY RYAN         LAW OFFICES OF RYAN & ASSOCIATES   8072 WARNER AVENUE                                                   HUNTINGTON BEACH    CA 92647
TIMOTHY RYAN DOAK    1018 W 12 ST                                                                                            PANAMA CITY         FL 32401
TIMOTHY RYNEARSON    47268 24TH AVE                                                                                          GRAND JUNCTION      MI 49056‐9428
TIMOTHY S ANGUS      215 E BOITNOTT DR                                                                                       ENGLEWOOD           OH 45322
TIMOTHY S ARCHER     11 ANDONY LANE                                                                                          ROCHESTER           NY 14624‐4309
TIMOTHY S ASHLEY     W7234 MAPLE RD                                                                                          MEILLSVILLE         WI 54456‐7107
TIMOTHY S BARKER     1403 PURSELL AVENUE                                                                                     DAYTON              OH 45420‐1948
TIMOTHY S BERZENY    2099 LEHIGH PL                                                                                          DAYTON              OH 45439‐3011
TIMOTHY S BUXTON     250 MILLS                                                                                               NEW LEBANON         OH 45345‐1518
TIMOTHY S COPELAND   6431 LAVON CT.                                                                                          CLAYTON             OH 45415
TIMOTHY S CURTIS     54 QUAIL LN                                                                                             ROCHESTER           NY 14624
TIMOTHY S DOBBINS    4461 STATE ROUTE 82                                                                                     NEWTON FALLS        OH 44444‐9579
TIMOTHY S FARRIS     109 E 7TH ST                                                                                            TILTON               IL 61833‐7803
TIMOTHY S FLEMING    2158 MICHIGAN AVE APT A203                                                                              ASHTABULA           OH 44004
TIMOTHY S FORRY      NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT   205 LINDA DEPARTMENT                      DAINGERFIELD        TX 75638
TIMOTHY S GELOSO     680 HIGHTOWER WAY                                                                                       WEBSTER             NY 14580‐2512
TIMOTHY S GRAU       36777 MORAVIAN DR                                                                                       CLINTON TOWNSHIP    MI 48035‐1207
TIMOTHY S HALE       5787 MANCHESTER RD,                                                                                     FRANKLIN            OH 45005
TIMOTHY S HARRIS     22 BRECKENRIDGE CT                                                                                      GREENVILLE          SC 29615
TIMOTHY S HOFFMAN    PO BOX 72                                                                                               GRATIS              OH 45330
TIMOTHY S HOGAN      ROBERT W PHILLIPS                  SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD     PO BOX 521         EAST ALTON           IL 62024
                                                        ANGELIDES & BARNERD LLC
TIMOTHY S HUNTER     3659 W NATIONAL RD.                                                                                     CLAYTON            OH   45315
TIMOTHY S JONES      3301 MAIN ST                                                                                            MORAINE            OH   45439‐1300
TIMOTHY S KELLY      1268 ORLANDO DR                                                                                         HASLETT            MI   48840‐9733
TIMOTHY S KRAUSER    SAME AS ABOVE                      239 S EDGEWOOD AVE         NA                                        HAMILTON           OH   45013‐2509
TIMOTHY S LABA       PO BOX 09709                                                                                            DETROIT            MI   48209‐0709
TIMOTHY S LEASURE    2540 OAK PARK AVE.                                                                                      KETTERING          OH   45419‐2751
TIMOTHY S LIVESAY    4453 ARDONNA LN                                                                                         DAYTON             OH   45432‐1809
TIMOTHY S MCLEMORE   901 NORDALE AVE                                                                                         DAYTON             OH   45420
TIMOTHY S STCLAIR    27400 CHARDON RD APT 412                                                                                WICKLIFFE          OH   44092‐2768
TIMOTHY S TAYLOR     7076 TWINVIEW DRIVE                                                                                     FRANKLIN           OH   45005‐3962
TIMOTHY S WESTCOTT   3400 RIDGE ROAD WEST NO 322                                                                             ROCHESTER          NY   14626‐3458
TIMOTHY S WILLIAMS   3820 NORLEDGE DR.                                                                                       DAYTON             OH   45414
TIMOTHY SABOURIN     4110 LAKEWOOD DR                                                                                        WATERFORD          MI   48329‐3845
TIMOTHY SAGER        301 E HAZEL ST                                                                                          ALBION             IN   46701‐1215
TIMOTHY SALASKE      44370 SATURN DR                                                                                         STERLING HTS       MI   48314‐3173
TIMOTHY SANBORN      PO BOX 410                                                                                              WINFIELD           MO   63389‐0410
TIMOTHY SANDERS      PO BOX 313                                                                                              CLIO               MI   48420‐0313
TIMOTHY SAPP         749 MATTERHORN CT                                                                                       JACKSONVILLE       FL   32259‐9075
TIMOTHY SARKESIAN    39658 ROCKCREST LN                                                                                      NORTHVILLE         MI   48168‐3965
TIMOTHY SAUL         719 LOOKOUT DR                                                                                          COLUMBIA           TN   38401‐6189
TIMOTHY SAUTER       7420 LOCKLIN                                                                                            WEST BLOOMFIELD    MI   48324‐3831
TIMOTHY SCANLON      11 CARTY DRIVE RD#1                                                                                     BORDENTOWN         NJ   08505
TIMOTHY SCHABEL      1103 CHRISTINE DR                                                                                       LAPEER             MI   48446‐4203
TIMOTHY SCHADE       PO BOX 523                                                                                              HASLETT            MI   48840‐0523
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                        Part 37 of 40 Pg 162 of 901
Name                  Address1                       Address2            Address3         Address4             City              State Zip
TIMOTHY SCHADEL       41 BAYBERRY AVE                                                                          WEST SENECA        NY 14224‐2804
TIMOTHY SCHAEFER      7660 W CHADWICK RD                                                                       DEWITT             MI 48820‐9118
TIMOTHY SCHAFER       5741 FOLKSTONE DR                                                                        TROY               MI 48085‐3154
TIMOTHY SCHAG         34104 CORKTREE RD                                                                        LAKE ELSINORE      CA 92532‐2945
TIMOTHY SCHAMANTE     71695 MCFADDEN RD                                                                        ARMADA             MI 48005‐3428
TIMOTHY SCHANUTH
TIMOTHY SCHARICH      1765 SALAMONIE AVE                                                                       HUNTINGTON        IN   46750‐3986
TIMOTHY SCHILL        853 WOODVILLE RD                                                                         MANSFIELD         OH   44907‐2107
TIMOTHY SCHMELZLE     7000 LAUR RD                                                                             NIAGARA FALLS     NY   14304‐1355
TIMOTHY SCHMIDTCHEN   9223 W TAFT RD                                                                           SAINT JOHNS       MI   48879‐9566
TIMOTHY SCHNEIDER     52671 ROYAL FOREST DR                                                                    SHELBY TOWNSHIP   MI   48315‐2430
TIMOTHY SCHOELLER     3234 BRIAR CREST DR                                                                      JANESVILLE        WI   53546‐9603
TIMOTHY SCHROEDER     5204 N OLD ORCHARD DR                                                                    JANESVILLE        WI   53545‐9618
TIMOTHY SCHROEDER     16861 US ROUTE 224             R.R. #1                                                   COLUMBUS GROVE    OH   45830‐9619
TIMOTHY SCHROEDER     4636 PALMER ST                                                                           LANSING           MI   48910‐5226
TIMOTHY SCHULERT      3133 E COUNTY ROAD 700 S                                                                 MUNCIE            IN   47302‐8519
TIMOTHY SCHULTZ       9414 NEWCASTLE BLVD                                                                      SHREVEPORT        LA   71129‐4840
TIMOTHY SCHUTT        890 7 MILE RD                                                                            WHITMORE LAKE     MI   48189‐9534
TIMOTHY SCHWARTZ      2993 GREENS MILL RD                                                                      SPRING HILL       TN   37174‐2120
TIMOTHY SCHWARTZ      969 YARGERVILLE RD                                                                       IDA               MI   48140‐9749
TIMOTHY SCHWARTZ      56 HOWARD AVE                                                                            COLUMBUS          OH   43085‐3651
TIMOTHY SCHWARZ       93 GARDEN DRIVE                                                                          FAIRPORT          NY   14450‐2342
TIMOTHY SCHWEIGEL     11056 KAREN ST                                                                           LIVONIA           MI   48150‐3145
TIMOTHY SCOBEY        5214 BLOSS DR                                                                            SWARTZ CREEK      MI   48473‐8875
TIMOTHY SEAL          8992 POSEY DR                                                                            WHITMORE LAKE     MI   48189‐9479
TIMOTHY SEELIG        2 GROSBEAK LN                                                                            NEWARK            DE   19711‐8324
TIMOTHY SEIFFERLY     1902 34TH ST                                                                             BAY CITY          MI   48708‐8152
TIMOTHY SELBIG        PO BOX 241                                                                               OWOSSO            MI   48867‐0241
TIMOTHY SENIOR        8773 COOLEY BEACH DR                                                                     WHITE LAKE        MI   48386‐4323
TIMOTHY SETTLEMOIR    23449 MELVILLE AVE                                                                       HAZEL PARK        MI   48030‐2806
TIMOTHY SEXTON        3829 BARLEYTON CIR                                                                       SYLVANIA          OH   43560‐3502
TIMOTHY SHACKELFORD   460 LEWIS RD                                                                             MANSFIELD         OH   44903‐8606
TIMOTHY SHAFFER       212 CRANMER                                                                              CHARLOTTE         MI   48813‐8427
TIMOTHY SHAMPINE      171 CHESTNUT CIR W                                                                       DAVISON           MI   48423‐9188
TIMOTHY SHANNON       2312 FAIR DR                                                                             KNOXVILLE         TN   37918‐2321
TIMOTHY SHANNON       7824 ELIZABETH AVE                                                                       KANSAS CITY       KS   66112‐2617
TIMOTHY SHARP         12127 EVERGREEN AVE                                                                      DETROIT           MI   48228‐1080
TIMOTHY SHARP         1736 MCKINLEY ST                                                                         KALAMAZOO         MI   49004‐1531
TIMOTHY SHATTER       2736 MAPLE HOLLOW LANE                                                                   TRAVERSE CITY     MI   49684‐7869
TIMOTHY SHAW          1350 FOREST BAY DR                                                                       WATERFORD         MI   48328‐4294
TIMOTHY SHEEHAN       9361 FARMINGTON RD                                                                       LIVONIA           MI   48150‐3737
TIMOTHY SHEEHAN       3125 N COCHRAN RD                                                                        CHARLOTTE         MI   48813‐9704
TIMOTHY SHEENA        AV DOS JAMARIS , 64            APTO 116                             SAO PAULO FINLAND
TIMOTHY SHEETS        822 LEWIS ST                                                                             KOKOMO            IN   46901‐6612
TIMOTHY SHELTON       117 CLIFFORD ST                                                                          ANDERSON          IN   46012‐2927
TIMOTHY SHELTON       615 E WEBSTER ST                                                                         FERNDALE          MI   48220‐3540
TIMOTHY SHEMBER       11098 MERRILL RD                                                                         WHITMORE LAKE     MI   48189‐9754
TIMOTHY SHEPHERD      1591 FREE RD                                                                             SHILOH            OH   44878‐8805
TIMOTHY SHEPHERD      1295 HONEYBEE DR.                                                                        DAYTON            OH   45427‐3117
TIMOTHY SHERROW       5525 NORTHCREST VILLAGE DR                                                               CLARKSTON         MI   48346‐2795
TIMOTHY SHETENHELM    602 W LAWRENCE AVE                                                                       CHARLOTTE         MI   48813‐1475
TIMOTHY SHEWARD       11601 W STATE ROAD 32                                                                    YORKTOWN          IN   47396‐9433
                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 163 of 901
Name                 Address1                         Address2            Address3         Address4         City                  State Zip
TIMOTHY SHILEY       PO BOX 851                                                                             INWOOD                 WV 25428‐0851
TIMOTHY SHOENS       11618 CHURCH ST                                                                        MOUNT MORRIS           MI 48458‐2017
TIMOTHY SHOOK        3441 W SPICERVILLE HWY                                                                 OLIVET                 MI 49076‐9658
TIMOTHY SHORE        392 MEADOWVIEW DR                                                                      ATTICA                 MI 48412‐9688
TIMOTHY SHORT        402 ELDER DR                                                                           TOLEDO                 OH 43608‐1021
TIMOTHY SHOUP        615 ALVORD AVE                                                                         FLINT                  MI 48507‐2519
TIMOTHY SHRAWDER     560 WILLOW STREET                APT L                                                 HIGHSPIRE              PA 17034
TIMOTHY SHROYER      44539 WILLIAMS DR                                                                      NOVI                   MI 48375‐1445
TIMOTHY SIEREVELD    505 SLIGH BLVD NE                                                                      GRAND RAPIDS           MI 49505‐3653
TIMOTHY SIGGERS      20 N ELLAMONT ST                                                                       BALTIMORE              MD 21229‐3717
TIMOTHY SIGLER       12977 N EASTSHORE DR                                                                   SYRACUSE               IN 46567‐8464
TIMOTHY SILHA        3708 W ROCKPORT RD                                                                     JANESVILLE             WI 53548‐9104
TIMOTHY SILVERS      701 BLOSSOMWOOD DR                                                                     ARLINGTON              TX 76017‐6250
TIMOTHY SIMMON       314 HANOVER ST                                                                         HUBBARDSTON            MI 48845‐9310
TIMOTHY SIMMONS      TIMOTHY                          51 ACKERSON PL                                        PASSAIC                NJ 07055
TIMOTHY SIMON        5177 S AINGER RD                                                                       OLIVET                 MI 49076‐8621
TIMOTHY SIMS         2817 WALKER ST                                                                         FORT WORTH             TX 76105‐4414
TIMOTHY SINCLAIR     4430 WOOD THRUSH DR                                                                    PARMA                  OH 44134‐4600
TIMOTHY SKALECKI     3514 SLEEPY HOLLOW LN                                                                  PUNTA GORDA            FL 33950‐2345
TIMOTHY SKELLY       PO BOX 1513                                                                            OGDENSBURG             NY 13669‐6513
TIMOTHY SKINNER      3075 W HUMPHREY RD                                                                     ITHACA                 MI 48847‐9610
TIMOTHY SKOWRONSKI   2087 STANHOPE ST                                                                       GROSSE POINTE WOODS    MI 48236‐1907
TIMOTHY SKULSKI      7817 EBY AVE                                                                           OVERLAND PARK          KS 66204‐2551
TIMOTHY SKUTA        4404 SAINT MARTINS DR                                                                  FLINT                  MI 48507‐3727
TIMOTHY SLACK        17541 HILLTOP VIEW DR                                                                  NORTHVILLE             MI 48168‐1894
TIMOTHY SLANCIK      4520 ALURA PL                                                                          SAGINAW                MI 48604‐1032
TIMOTHY SLATTERY     12704 BERESFORD DR                                                                     STERLING HTS           MI 48313‐4110
TIMOTHY SLOME        8931 SANDRA LN                                                                         HICKORY HILLS           IL 60457‐1658
TIMOTHY SLONE        212 BLUEGRASS DR                                                                       COLUMBIA               TN 38401‐6128
TIMOTHY SLOT         2519 WOODWARD AVE SW                                                                   WYOMING                MI 49509‐2076
TIMOTHY SMALL        3914 ELLA WEST CIR                                                                     LYNNVILLE              TN 38472‐5222
TIMOTHY SMITH        18800 GREELEY ST                                                                       DETROIT                MI 48203‐2124
TIMOTHY SMITH        APT 9102                         3350 ASH DRIVE                                        LAKE ORION             MI 48359‐1078
TIMOTHY SMITH        9005 N BALES AVE                                                                       KANSAS CITY            MO 64156‐8926
TIMOTHY SMITH        13875 COUNTY ROAD R                                                                    NAPOLEON               OH 43545‐9676
TIMOTHY SMITH        3184 BROADWAY BOX 351                                                                  ZANESVILLE             IN 46799
TIMOTHY SMITH        18313 FAUST AVE                                                                        DETROIT                MI 48219‐2968
TIMOTHY SMITH        64 SHORT HILLS DR                                                                      HILTON                 NY 14468‐1131
TIMOTHY SMITH        2810 N STINE RD                                                                        CHARLOTTE              MI 48813‐8832
TIMOTHY SMITH        1822 MARCY AVE                                                                         LANSING                MI 48917‐9594
TIMOTHY SMITH        PO BOX 5354                                                                            SAINT LOUIS            MO 63115‐0354
TIMOTHY SMITH        5433 LILLYVIEW ST SW                                                                   WYOMING                MI 49509‐9203
TIMOTHY SMITH        1642 MICHAEL ST                                                                        ORTONVILLE             MI 48462‐8827
TIMOTHY SMITH        3619 KINGSLEY DR                                                                       MYRTLE BEACH           SC 29588‐7713
TIMOTHY SMOCK        1105 N SHERWOOD DR                                                                     MARION                 IN 46952‐1502
TIMOTHY SMOCK        1105 SHERWOOD DR.                                                                      MARION                 IN 46952
TIMOTHY SMOLA        17850 LINCOLN DR                                                                       ROSEVILLE              MI 48066‐2500
TIMOTHY SNACK        530 SOUTHRIDGE DR                                                                      BEDFORD                IN 47421‐9262
TIMOTHY SNYDER       6425 HOLT RD                                                                           HOLT                   MI 48842‐9509
TIMOTHY SNYDER       5833 CAMPBELL BLVD                                                                     LOCKPORT               NY 14094‐9205
TIMOTHY SOCIA        70049 WHITE TAIL LN                                                                    BRUCE TWP              MI 48065‐4449
TIMOTHY SOLLES       3628 BRAEMORE DR                                                                       JANESVILLE             WI 53548‐9153
                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 164 of 901
Name                 Address1                        Address2            Address3         Address4         City              State Zip
TIMOTHY SOMMER       8 WEST MAIN ST                                                                        SEARSPORT          ME 04974
TIMOTHY SOMMERS      2554 S MORRISTOWN PIKE                                                                GREENFIELD         IN 46140‐9706
TIMOTHY SOMMERS      9200 S NICHOLSON RD                                                                   OAK CREEK          WI 53154‐4652
TIMOTHY SOUTHWELL    PO BOX 767                                                                            PERRY              MI 48872‐0767
TIMOTHY SOVA         4414 E HILL RD                                                                        GRAND BLANC        MI 48439‐7629
TIMOTHY SOYCK        1106 SAINT PAUL ST                                                                    EXCELSIOR SPG      MO 64024‐1450
TIMOTHY SPANGLER     5461 NARDELLO AVE                                                                     SPRING HILL        FL 34608‐1252
TIMOTHY SPANGLER     8081 W 200 S                                                                          YORKTOWN           IN 47396
TIMOTHY SPEARS       4495 GRAPE VINE DR                                                                    HOWELL             MI 48843‐7296
TIMOTHY SPENCER      PO BOX 186                                                                            SARANAC            MI 48881‐0186
TIMOTHY SPOHN        525 E CHURCH ST APT A                                                                 DELAND             FL 32724‐4469
TIMOTHY SPOHN        6410 SPRINGDALE BLVD                                                                  GRAND BLANC        MI 48439‐8551
TIMOTHY SPOHRER      4608 FRANCES ST                                                                       SHREVEPORT         LA 71129‐2620
TIMOTHY SPOTH        2615 HOSMER RD                                                                        APPLETON           NY 14008‐9624
TIMOTHY SPRINGER     17222 LEATHERWOOD DR                                                                  ATHENS             AL 35611‐0601
TIMOTHY SPROW        14453 SAUSMAN RD                                                                      SHERWOOD           OH 43556‐9744
TIMOTHY SPRY         1139 SEVILLE RD                                                                       ROCHESTER HILLS    MI 48309‐3028
TIMOTHY ST JOHN      22 W WOODWARD ST                                                                      ECORSE             MI 48229‐1539
TIMOTHY STACEY       802 THOMAS ST                                                                         FLUSHING           MI 48433‐1762
TIMOTHY STACEY       2371 BROOKVIEW LN                                                                     DEWITT             MI 48820‐7115
TIMOTHY STACK        17346 TIMBER CRK                                                                      HOLLY              MI 48442‐7901
TIMOTHY STAJKOWSKI   1411 MIDLAND RD                                                                       BAY CITY           MI 48706‐9474
TIMOTHY STAMPER      1810 PALO VERDE DR                                                                    YOUNGSTOWN         OH 44514‐1227
TIMOTHY STANKE       2390 HOWALD AVE                                                                       FLINT              MI 48504‐2318
TIMOTHY STANNARD     1437 RIDLEY DR                                                                        FRANKLIN           TN 37064‐9616
TIMOTHY STANSBURY    463 OLD ORCHARD CIR                                                                   MILLERSVILLE       MD 21108‐2013
TIMOTHY STARR        1191 W 5 POINT HWY                                                                    CHARLOTTE          MI 48813‐8744
TIMOTHY STAWARA      4226 COLUMBIA PIKE                                                                    FRANKLIN           TN 37064‐9680
TIMOTHY STAY         263 CHARLOTTE ST                                                                      MULLIKEN           MI 48861‐9739
TIMOTHY STEELE       7449 BARRETT RD.                                                                      CINCINNATI         OH 45069
TIMOTHY STEELE       2685 LUELLA AVE                                                                       SAGINAW            MI 48603‐3041
TIMOTHY STEIN        9391 SHEEHAN RD                                                                       CENTERVILLE        OH 45458‐4103
TIMOTHY STEIN        11511 MAGNOLIA DR                                                                     FORT WAYNE         IN 46814‐4549
TIMOTHY STEIN        5355 ROYALE CT NE                                                                     ROCKFORD           MI 49341‐8646
TIMOTHY STEPHENS     16160 BEECHWOOD AVE                                                                   BEVERLY HILLS      MI 48025‐4200
TIMOTHY STERNER      916 E WOODRUFF AVE                                                                    HAZEL PARK         MI 48030‐1825
TIMOTHY STEVENS      3521 OLD MILL DR                                                                      SPRING HILL        TN 37174‐2190
TIMOTHY STEVENS      27658 DRAPE RD                                                                        LAWTON             MI 49065‐9610
TIMOTHY STEVENSON    8214 MORRISH RD                                                                       SWARTZ CREEK       MI 48473‐9163
TIMOTHY STEWART      4851 OLD HYDES FERRY PIKE                                                             NASHVILLE          TN 37218‐3908
TIMOTHY STEWART      895 N CONKLIN RD                                                                      LAKE ORION         MI 48362‐1711
TIMOTHY STEWART      413 JUDAH LOGAN RD                                                                    BEDFORD            IN 47421‐6962
TIMOTHY STEYER       1304 CRISTINA DR                                                                      FENTON             MI 48430‐9637
TIMOTHY STILL        1775 HAZEL RD                                                                         HARRISON           MI 48625‐8989
TIMOTHY STOCKDALE    302 BECKET DR APT 5                                                                   BRIGHTON           MI 48116‐1126
TIMOTHY STOCKINGER   3204 MONA LN                                                                          TOLEDO             OH 43613‐1047
TIMOTHY STOFFEL      9384 N 100 E                                                                          ROANOKE            IN 46783‐9479
TIMOTHY STOFFERAHN   2018 S 900 E                                                                          PLAINFIELD         IN 46168
TIMOTHY STOHLMAN     3105 E WILLARD RD                                                                     CLIO               MI 48420‐7703
TIMOTHY STOINSKI     6034 N VASSAR RD                                                                      FLINT              MI 48506‐1236
TIMOTHY STOL         22366 MARY ST                                                                         TAYLOR             MI 48180‐2752
TIMOTHY STONE        6408 SAMSON DR                                                                        GRAND BLANC        MI 48439‐9745
                       09-50026-mg          Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                       Part 37 of 40 Pg 165 of 901
Name                   Address1                     Address2            Address3         Address4         City            State Zip
TIMOTHY STONE          1003 COLUMBIA AVE                                                                  ALEXANDRIA       IN 46001‐8028
TIMOTHY STONE          1231 CATALINA DR                                                                   FLINT            MI 48507‐3313
TIMOTHY STORK          34214 SHERIDAN ST                                                                  WESTLAND         MI 48185‐8510
TIMOTHY STORMS         126 ROBERTS MEADOW LOOP                                                            SPARTANBURG      SC 29307‐3166
TIMOTHY STORMS         58 S HIGHLAND AVE                                                                  OSSINING         NY 10562‐5224
TIMOTHY STOVER         1282 WESTBROOKE DR                                                                 LAPEER           MI 48446‐1258
TIMOTHY STRAUBEL       13810 HUNTERS HAWK ST                                                              SAN ANTONIO      TX 78230‐5408
TIMOTHY STRAUSS        504 SCONE DR                                                                       TROY             MI 48098‐1736
TIMOTHY STRICKLAND     823 MORRIS RD                                                                      LAPEER           MI 48446‐9439
TIMOTHY STRINGER       1605 N BUCKEYE RD                                                                  MUNCIE           IN 47304‐9681
TIMOTHY STRINGER       601 S WENONA ST                                                                    BAY CITY         MI 48706‐4558
TIMOTHY STRNAD         36746 CHENE DR                                                                     STERLING HTS     MI 48310‐4529
TIMOTHY STRONG         1618 W SIOUX LN                                                                    MIDLAND          MI 48640‐9017
TIMOTHY STRUNK         919 VINEGAR HILL RD                                                                BEDFORD          IN 47421‐7908
TIMOTHY STUART         6025 GENTRY WOODS DR                                                               DAYTON           OH 45459‐1154
TIMOTHY STUCK          2201 VALE DR                                                                       KETTERING        OH 45420‐3554
TIMOTHY STYES          14372 FARMINGTON R.D                                                               LIVONIA          MI 48154
TIMOTHY SUCHODOLSKI    2524 MASON ST                                                                      BAY CITY         MI 48708‐9183
TIMOTHY SULCER         2802 BRISTOL DR SW                                                                 DECATUR          AL 35603‐1190
TIMOTHY SULKOWSKI      3504 SMITH ST                                                                      DEARBORN         MI 48124‐4282
TIMOTHY SULLIVAN       3233 BEAVER RD                                                                     BAY CITY         MI 48706‐8116
TIMOTHY SULLIVAN       1432 WILDERNESS CT                                                                 ROANOKE          TX 76262‐9052
TIMOTHY SUMMEROUR JR   152 HONEYSUCKLE AVE                                                                LAWRENCEVILLE    GA 30045‐4885
TIMOTHY SUPERCZYNSKI   4135 MARLAINE DR                                                                   TOLEDO           OH 43606‐1037
TIMOTHY SUTHERBY       2428 YORKSHIRE DR                                                                  LAPEER           MI 48446‐9011
TIMOTHY SUTHERBY       7563 TYLERS VALLEY DR                                                              WEST CHESTER     OH 45069‐8660
TIMOTHY SUTTON         306 W 3RD ST                                                                       SHERIDAN         IN 46069‐1052
TIMOTHY SUTTON         2325 OAKWOOD RD                                                                    ORTONVILLE       MI 48462‐9410
TIMOTHY SWAIM          2508 EDGEFIELD TRL                                                                 MANSFIELD        TX 76063‐3740
TIMOTHY SWAN           5905 KINNEVILLE RD                                                                 EATON RAPIDS     MI 48827‐9631
TIMOTHY SWEDENHJELM    12969 VAN SLYKE RD                                                                 EAST CONCORD     NY 14055‐9796
TIMOTHY SWEENEY        7434 CAROLL LN                                                                     SWARTZ CREEK     MI 48473
TIMOTHY SWENSEN        15737 JENNIFER DR                                                                  MACOMB           MI 48044‐2431
TIMOTHY SWINFORD       1628 E 47TH ST                                                                     ANDERSON         IN 46013‐2710
TIMOTHY SZALAY         24404 PARKLANE                                                                     FLAT ROCK        MI 48134
TIMOTHY T MILLER       54 FOREST HILL DR.                                                                 HUBBARD          OH 44425
TIMOTHY T SCOTT        7072 LARKSPUR LANE                                                                 LIBERTY TWP      OH 45044‐8341
TIMOTHY T WASSON       482 GARVER DR                                                                      YOUNGSTOWN       OH 44512‐6512
TIMOTHY T WEBB         171 S SHIRLEY ST                                                                   PONTIAC          MI 48342‐3261
TIMOTHY TACEY          2068 RIEDMILLER AVE                                                                FORT WAYNE       IN 46802‐3742
TIMOTHY TACK           1619 WILD CHERRY LN                                                                LAPEER           MI 48446‐8714
TIMOTHY TALTY          31255 W CHELTON DR                                                                 BEVERLY HILLS    MI 48025‐5148
TIMOTHY TAPLEY         1427 PLEASANT DR                                                                   FSTRVL TRVOSE    PA 19053‐4308
TIMOTHY TATUM          3267 YELTES                                                                        GRAND PRAIRIE    TX 75054‐6712
TIMOTHY TAVALIRE       1014 EDGEWOOD DR                                                                   ROYAL OAK        MI 48067‐1212
TIMOTHY TAYLOR         115 WINDING CEDAR DR                                                               STATESVILLE      NC 28677‐8411
TIMOTHY TEALL          6224 S MOHAWK AVE                                                                  YPSILANTI        MI 48197‐9441
TIMOTHY TECHLIN        21516 MCCLUNG AVE                                                                  SOUTHFIELD       MI 48075‐3220
TIMOTHY TEMPLE         6955 RUSHLEIGH RD                                                                  ENGLEWOOD        OH 45322‐3727
TIMOTHY TERRELL        4106 BROOKE RD                                                                     KOKOMO           IN 46902‐7510
TIMOTHY TERRELL        4245 MOHAVE CT SW                                                                  GRANDVILLE       MI 49418‐1739
TIMOTHY TERRILLION     1604 ALSDALE RD                                                                    MOUNT JULIET     TN 37122‐3629
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 166 of 901
Name                   Address1                        Address2            Address3         Address4         City            State Zip
TIMOTHY TERRIO         950 WINTHER WAY                                                                       SANTA BARBARA    CA 93110‐1216
TIMOTHY TERRY          927 SORRELLS RD                                                                       WILLIAMS         IN 47470‐8949
TIMOTHY TERRY          5250 MARTUS RD                                                                        NORTH BRANCH     MI 48461‐8939
TIMOTHY THELEN         11776 E DAVID HWY                                                                     WESTPHALIA       MI 48894‐9654
TIMOTHY THIBODEAU      1356 FENTONWOOD                                                                       FENTON           MI 48430‐9617
TIMOTHY THOFTNE        1218 NICOLET ST 53546                                                                 JANESVILLE       WI 53546
TIMOTHY THOMAS         12385 E RICHFIELD RD                                                                  DAVISON          MI 48423‐8518
TIMOTHY THOMAS         732 SUNSET LN                                                                         FORTVILLE        IN 46040‐1158
TIMOTHY THOMAS         6520 HOOVER AVE                                                                       DAYTON           OH 45427‐1501
TIMOTHY THOMAS         4623 DUGGER RD                                                                        CULLEOKA         TN 38451‐3127
TIMOTHY THOMAS         17902 W 66TH TER                                                                      SHAWNEE MSN      KS 66217‐9733
TIMOTHY THOMAS         1229 NE 96TH TER                                                                      KANSAS CITY      MO 64155‐2147
TIMOTHY THOMPSON       19255 AMMAN RD                                                                        CHESANING        MI 48616‐9714
TIMOTHY THOMPSON       2667 CULLEOKA HWY                                                                     CULLEOKA         TN 38451‐2115
TIMOTHY THOMPSON       3600 MIDDLEBURY CT                                                                    LAMBERTVILLE     MI 48144‐9513
TIMOTHY THOMPSON       4554 WILDWOOD LOOP                                                                    CLARKSTON        MI 48348‐1466
TIMOTHY THOMPSON       3236 LYNNE AVE                                                                        FLINT            MI 48506‐2118
TIMOTHY THOMPSON       6312 SERENITY CT                                                                      LUDINGTON        MI 49431‐8530
TIMOTHY THOMPSON       12 BARRETT WALK                                                                       BRICK            NJ 08724‐2400
TIMOTHY THOMPSON       105B WOODS DRIVE                                                                      COLUMBIA         TN 38401‐4764
TIMOTHY THORNTON       671 CRESCENT AVE                                                                      BUFFALO          NY 14216‐3413
TIMOTHY THORNTON       6600 PORTAGE LAKE RD LOT 238                                                          MUNITH           MI 49259‐9626
TIMOTHY THURBER        432 HALLS MILL RD                                                                     SHELBYVILLE      TN 37160‐6013
TIMOTHY TIDWELL        1988 BAYOU BEND DR                                                                    BOSSIER CITY     LA 71111‐5155
TIMOTHY TIMMERMAN      19393 BRANDT ST                                                                       ROSEVILLE        MI 48066‐1065
TIMOTHY TIMMING        5504 RUTH AVE                                                                         TOLEDO           OH 43613‐1918
TIMOTHY TINKER         1249 NESTLE TRL                                                                       LAWRENCEVILLE    GA 30045‐2334
TIMOTHY TINKER         3713 AUGUSTA ST                                                                       FLINT            MI 48532‐5272
TIMOTHY TODD           6089 TODD RD                                                                          CROSWELL         MI 48422‐8795
TIMOTHY TOMAINO        1653 GRANDVIEW RD                                                                     LAKE MILTON      OH 44429‐9657
TIMOTHY TOMAN          1188 W GRAND RIVER RD                                                                 OWOSSO           MI 48867‐8718
TIMOTHY TOOLEY         3262 W 950 S                                                                          PENDLETON        IN 46064‐8912
TIMOTHY TRACY          4660 LARBEE RD                                                                        VASSAR           MI 48768‐9732
TIMOTHY TRANSISKUS     3541 HIDDEN FOREST CT                                                                 LAKE ORION       MI 48359‐1477
TIMOTHY TREGO          44 HOLLY LN                                                                           NEWARK           DE 19711‐3903
TIMOTHY TREPPA         7230 AUDUBON ST                                                                       ALGONAC          MI 48001‐4100
TIMOTHY TREVITHICK     1029 SPICE VALLEY RD                                                                  MITCHELL         IN 47446‐5354
TIMOTHY TRIETLEY       770 WEST FAIRY STREET                                                                 BUFFALO          NY 14222
TIMOTHY TROJANOWSKY    34 IMPALA PKWY                                                                        LANCASTER        NY 14086‐1308
TIMOTHY TROMBLEY       1748 E MUNGER RD                                                                      MUNGER           MI 48747‐9798
TIMOTHY TRUDEAU        18900 STONEWOOD WAY                                                                   LAKE ELSINORE    CA 92530‐8339
TIMOTHY TRULSON        6126 BLUE SPRUCE CT                                                                   FORT WAYNE       IN 46809‐2203
TIMOTHY TUBBS          2285 DONOVAN ST                                                                       BURTON           MI 48529‐1380
TIMOTHY TUCKER         4422 RICHARDS RD                                                                      DAVISON          MI 48423‐8725
TIMOTHY TUNKS          2191 COLLEGE RD                                                                       HOLT             MI 48842‐9706
TIMOTHY TURNER         5612 STATE ROUTE 13                                                                   BELLVILLE        OH 44813‐9055
TIMOTHY TURNER         1092 HOLLY SPRING LN                                                                  GRAND BLANC      MI 48439‐8923
TIMOTHY TYLER          2399 HAYS SMITHS GROVE RD                                                             SMITHS GROVE     KY 42171‐9131
TIMOTHY UDELL          541 NIAGARA ST                                                                        LOCKPORT         NY 14094‐1905
TIMOTHY ULLMER         9088 FERRY CREEK DR                                                                   SHREVEPORT       LA 71106‐8404
TIMOTHY V LIEBAL       3886 RAVENWOOD DR SE                                                                  WARREN           OH 44484
TIMOTHY VAILLANCOURT   34 LAKE TAHOE CIR                                                                     BEAR             DE 19701‐3814
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 167 of 901
Name                   Address1                        Address2            Address3         Address4         City            State Zip
TIMOTHY VAJDA          54 WILSON AVE                                                                         NILES            OH 44446‐1929
TIMOTHY VAN WORMER     33900 ELMIRA CT                                                                       LIVONIA          MI 48150‐5632
TIMOTHY VANBUREN       6658 RIDDLE RD                                                                        LOCKPORT         NY 14094‐9333
TIMOTHY VANCE          11705 SPENCER RD                                                                      SAGINAW          MI 48609‐9138
TIMOTHY VANCIL         24330 PARKLAWN ST                                                                     OAK PARK         MI 48237‐1597
TIMOTHY VANDLEN        8908 VANDLEN DR                                                                       DIMONDALE        MI 48821‐8788
TIMOTHY VANDOREN       506 S RIDGE CIR                                                                       BAYFIELD         CO 81122‐9351
TIMOTHY VANDRUSKA      3138 RAY RD                                                                           HOLLY            MI 48442‐9417
TIMOTHY VANITVELT      4500 TOWN CENTER PKWY                                                                 FLINT            MI 48532‐3435
TIMOTHY VANKIRK        7050 SPRUCEWOOD DR                                                                    DAVISON          MI 48423‐9547
TIMOTHY VANNATTER      RR #1                                                                                 SELMA            IN 47383‐9801
TIMOTHY VARNER         6316 BALDWIN RD                                                                       SWARTZ CREEK     MI 48473‐9118
TIMOTHY VERHEYN        1562 FRANKLIN ST                                                                      OLCOTT           NY 14126
TIMOTHY VERHOFF        10839 ROAD 16                                                                         OTTAWA           OH 45875‐9479
TIMOTHY VERTREES       13 700 CENTER ROAD                                                                    BATH             MI 48808
TIMOTHY VERTREES II    1625 W KALAMO HWY                                                                     CHARLOTTE        MI 48813‐9595
TIMOTHY VETOR          3215 E 53RD ST                                                                        ANDERSON         IN 46013‐3155
TIMOTHY VINSON JR      503 E 18TH ST                                                                         SHEFFIELD        AL 35660‐6529
TIMOTHY VOI            12405 CALLIE DR                                                                       MOORESVILLE      IN 46158‐8452
TIMOTHY VOIGHT         5688 W WAUTOMA BEACH RD                                                               HILTON           NY 14468‐9126
TIMOTHY VOLLMAR        N477 BLACKHAWK BLUFF DR                                                               MILTON           WI 53563‐9509
TIMOTHY VOORHEIS       19 OSAGE TRL                                                                          SPENCERPORT      NY 14559‐9727
TIMOTHY VORAC          1267 BROOKRIDGE ST SE                                                                 KENTWOOD         MI 49508‐6224
TIMOTHY VORNDRAN       84 W TIDEWATER TRL                                                                    COLUMBIA CITY    IN 46725‐7773
TIMOTHY W ALBER        9220 ACCESS RD.                                                                       BROOKVILLE       OH 45309‐7604
TIMOTHY W BAKER        843 E. PEARL ST.                                                                      MIAMISBURG       OH 45342
TIMOTHY W BATEY        178 OREGON ST                                                                         YPSILANTI        MI 48198‐7822
TIMOTHY W BENTLEY      7241 N ELMS RD                                                                        FLUSHING         MI 48433‐8802
TIMOTHY W BOTHWELL     PO BOX 476                                                                            ASHVILLE         AL 35953
TIMOTHY W BRANSON      4015 KITTYHAWK DR                                                                     DAYTON           OH 45403
TIMOTHY W BROWN        3060 PILON DR                                                                         ATLANTA          MI 49709
TIMOTHY W BURKE        2468 WESTSIDE DR                                                                      N CHILI          NY 14514‐1041
TIMOTHY W BURNSIDE     3139 DURST CLAGG RD NE                                                                WARREN           OH 44481
TIMOTHY W COPLEY       8341 PHILADELPHIA DR                                                                  FAIRBORN         OH 45324
TIMOTHY W CROWE        707 ST NICHOLAS AVE                                                                   DAYTON           OH 45410‐2519
TIMOTHY W DANIELS      12332 PEARL ST                                                                        SOUTHGATE        MI 48195‐1775
TIMOTHY W DICKERSON    2955 MILLICENT AVE                                                                    DAYTON           OH 45408
TIMOTHY W DIXON        7746 HYTHE CIRCLE                                                                     CENTERVILLE      OH 45459
TIMOTHY W GAUDIO       WEITZ & LUXENBERG PC            700 BROADWAY                                          NEW YORK CITY    NY 10003
TIMOTHY W GREEN        501 S. COMMERCE ST.                                                                   LEWISBURG        OH 45338
TIMOTHY W GRIGSBY      491 PREBLE COUNTY LINE RD N                                                           W ALEXANDRIA     OH 45381‐9715
TIMOTHY W HUSBANDS     P O BOX 3461                                                                          JACKSON          MS 39207
TIMOTHY W KNIGHT SR.   289 E. MAIN ST.                                                                       NEW LEBANON      OH 45345
TIMOTHY W KNIGHT SR.   289 E MAIN ST                                                                         NEW LEBANON      OH 45345‐1226
TIMOTHY W KOCHER       1151 HANNAH AVE                                                                       LANSING          MI 48906‐6818
TIMOTHY W KOWALSKI     860323 S 3460 RD                                                                      CHANDLER         OK 74834‐5227
TIMOTHY W LACAZE       10316 STATIONVIEW CT                                                                  CENTERVILLE      OH 45458
TIMOTHY W MACK         5509 W MARKET ST                                                                      INDIANAPOLIS     IN 46224‐8703
TIMOTHY W PATRICK      211 TUCKER DR                                                                         BRANDON          MS 39042
TIMOTHY W PRESLEY      2989 CARMODY BLVD APT B                                                               MIDDLETOWN       OH 45042‐1766
TIMOTHY W RIGG         913 N SHERIDAN ST                                                                     BAY CITY         MI 48708‐6055
TIMOTHY W RILEY        1062 SEIBERT AVE                                                                      MIAMISBURG       OH 45342
                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                        Part 37 of 40 Pg 168 of 901
Name                 Address1                        Address2                     Address3   Address4         City               State Zip
TIMOTHY W ROBBINS    535 W PARKWOOD ST                                                                        SIDNEY              OH 45365
TIMOTHY W ROSE       7031 PINEVIEW DR                                                                         HUBER HEIGHTS       OH 45424
TIMOTHY W SHAFFER    RR 4 BOX 198                                                                             NEW CASTLE          PA 16101‐9615
TIMOTHY W SPRAGUE    5944 CALM LAKE DRIVE                                                                     FARMINGTON          NY 14425
TIMOTHY W STULTS     5127 CHAPIN STREET                                                                       DAYTON              OH 45429
TIMOTHY W VAJDA      54 WILSON AVE                                                                            NILES               OH 44446‐1929
TIMOTHY W WELLS      709 ROBERT PL                                                                            CARLISLE            OH 45005‐3724
TIMOTHY WAGNER       10902 BRADSHAW ST                                                                        OVERLAND PARK       KS 66210‐1122
TIMOTHY WAGNER       14712 DRAYTON DRIVE                                                                      NOBLESVILLE         IN 46062‐8231
TIMOTHY WAGNITZ      PO BOX 211024                                                                            AUBURN HILLS        MI 48321‐1024
TIMOTHY WAHL         777 E KINNEY RD                                                                          MUNGER              MI 48747‐9790
TIMOTHY WAKAR        18993 MILBURN ST                                                                         LIVONIA             MI 48152‐4327
TIMOTHY WAKELAND     268 TRUXTON RD                                                                           TRUXTON             MO 63381‐2301
TIMOTHY WAKELAND     1395 BECK RD                                                                             SILEX               MO 63377‐3101
TIMOTHY WALL         3961 E SUNWIND DR                                                                        OKEMOS              MI 48864‐5234
TIMOTHY WALLACE      15739 W HAFEMAN RD                                                                       BRODHEAD            WI 53520‐9251
TIMOTHY WALSH        428 BRADFORD CIR                                                                         COLUMBIA            TN 38401‐5092
TIMOTHY WALTER       13475 MAHONING AVE                                                                       NORTH JACKSON       OH 44451‐9683
TIMOTHY WALTMAN      9313 MORRISH RD                                                                          SWARTZ CREEK        MI 48473‐9126
TIMOTHY WALTON       3022 SW 27TH PL                                                                          CAPE CORAL          FL 33914
TIMOTHY WAMPLER      6375 OAK GROVE RD                                                                        HOWELL              MI 48855‐8247
TIMOTHY WANGLER      4228 REID RD                                                                             SWARTZ CREEK        MI 48473‐8879
TIMOTHY WARD         9847 STATE ST                                                                            KINSMAN             OH 44428‐9708
TIMOTHY WARD         116 EAST ST                                                                              DEFIANCE            OH 43512‐2207
TIMOTHY WARD         3995 TRIMM RD                                                                            SAGINAW             MI 48609‐9770
TIMOTHY WARD         426 S STATE RD                                                                           DAVISON             MI 48423‐1512
TIMOTHY WARD         2507 W MICHIGAN AVE                                                                      LANSING             MI 48917‐2967
TIMOTHY WARNER       BEVAN & ASSOCIATES, LPA, INC    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
TIMOTHY WARRUM       6278 S CABRIOLET WAY                                                                     PENDLETON           IN 46064‐8611
TIMOTHY WASCHA       7448 VAN VLEET RD                                                                        SWARTZ CREEK        MI 48473‐8605
TIMOTHY WASHINGTON   2369 GLENWOOD AVE                                                                        TOLEDO              OH 43620‐1006
TIMOTHY WASSON       482 GARVER DR                                                                            YOUNGSTOWN          OH 44512‐6512
TIMOTHY WATSON       6057 REID RD                                                                             SWARTZ CREEK        MI 48473‐9459
TIMOTHY WATTERSON    43662 BOCKLEY DR                                                                         STERLING HTS        MI 48313‐1712
TIMOTHY WATTS        743 COWEETA CHURCH RD                                                                    OTTO                NC 28763‐9282
TIMOTHY WAYMIRE      1230 STATE ROUTE 503 N                                                                   W ALEXANDRIA        OH 45381‐9733
TIMOTHY WEAVER       408 GRANT ST SW                                                                          GRAND RAPIDS        MI 49503‐4964
TIMOTHY WEBB         5182 WINSHALL DR                                                                         SWARTZ CREEK        MI 48473‐1223
TIMOTHY WEBB         PO BOX 420611                   171 S SHIRLEY                                            PONTIAC             MI 48342‐0611
TIMOTHY WEBBER       7757 N 600 W                                                                             MIDDLETOWN          IN 47356
TIMOTHY WEBSTER      3200 JERREE ST                                                                           LANSING             MI 48911‐2625
TIMOTHY WEDDINGTON   23186 RANCH HILL DR E                                                                    SOUTHFIELD          MI 48033‐3195
TIMOTHY WEEKS        10144 VERNON AVE                                                                         HUNTINGTON WOODS    MI 48070‐1562
TIMOTHY WEINKAUF     20011 SYCAMORE DR                                                                        MACOMB              MI 48044‐5725
TIMOTHY WEITZEL      102 HUNTER XING                                                                          BOSSIER CITY        LA 71111‐8125
TIMOTHY WELCH        1329 CLANCY AVE                                                                          FLINT               MI 48503‐3342
TIMOTHY WELCH        171 SAINT ANDREWS                                                                        CORTLAND            OH 44410‐8721
TIMOTHY WELLS        709 ROBERT PL                                                                            CARLISLE            OH 45005‐3724
TIMOTHY WELLS        8361 NAVISOTA DR                                                                         LANTANA             TX 76226‐7344
TIMOTHY WELSH        1809 SAINT GEORGE LANE                                                                   JANESVILLE          WI 53545‐0689
TIMOTHY WENDLING     1830 STATE ROUTE 725 LOT 127                                                             SPRING VALLEY       OH 45370‐9750
TIMOTHY WENGER       841 WESTGATE DR                                                                          ANDERSON            IN 46012‐9246
                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 169 of 901
Name                  Address1                        Address2            Address3         Address4         City                 State Zip
TIMOTHY WENZLICK      39611 US HIGHWAY 24                                                                   LAKE GEORGE           CO 80827‐9706
TIMOTHY WESTWOOD      8616 N FLORA AVE                                                                      KANSAS CITY           MO 64155‐3028
TIMOTHY WHALEN        3433 SCOTTWOOD DR                                                                     FENTON                MI 48430‐2462
TIMOTHY WHALEN        15654 STAMFORD ST                                                                     LIVONIA               MI 48154‐2835
TIMOTHY WHALEN        1481 FARMINGTON AVE                                                                   POTTSTOWN             PA 19464
TIMOTHY WHALER        3640 BOY SCOUT RD                                                                     BAY CITY              MI 48706‐1300
TIMOTHY WHALEY        12275 S BRENNAN RD                                                                    BRANT                 MI 48614‐9741
TIMOTHY WHEELER       12142 BRISTOL RD                                                                      LENNON                MI 48449‐9445
TIMOTHY WHETSTONE     4634 WELDWOOD LN                                                                      SYLVANIA              OH 43560‐2937
TIMOTHY WHINNERY      217 QUAIL RIDGE RD                                                                    SMYRNA                TN 37167‐5118
TIMOTHY WHITE         937 E ELM ST                                                                          KOKOMO                IN 46901‐3130
TIMOTHY WHITE         900 N RICHMOND LN                                                                     PALMER                AK 99645‐8472
TIMOTHY WHITED        856 AUTUMN GROVE DR                                                                   O FALLON              MO 63366‐2184
TIMOTHY WHITSON       2128 MILES RD                                                                         LAPEER                MI 48446‐8058
TIMOTHY WICHLINSKI    861 KAYPAT DR                                                                         HOPE                  MI 48628‐9615
TIMOTHY WICKERSHAM    4963 PINE HILL DR                                                                     POTTERVILLE           MI 48876‐8617
TIMOTHY WIEBER        930 PENDLETON DR                                                                      LANSING               MI 48917‐2256
TIMOTHY WIKTOROWSKI   7430 TOWNLINE RD                                                                      NORTH TONAWANDA       NY 14120‐1343
TIMOTHY WILBER        741 HARRISON ST                                                                       CHESTER                IL 62233‐1940
TIMOTHY WILCOX        423 HUTCHINSON RD                                                                     BATTLE CREEK          MI 49017‐8813
TIMOTHY WILCOX        7406 CARROLL RD                                                                       CHURUBUSCO            IN 46723‐9479
TIMOTHY WILD          1208 SALEM AVE                                                                        EDMOND                OK 73003‐6115
TIMOTHY WILDE         21908 FRAZHO ST                                                                       SAINT CLAIR SHORES    MI 48081‐2854
TIMOTHY WILDFONG      12642 GERA RD                                                                         BIRCH RUN             MI 48415‐9475
TIMOTHY WILHELM       PO BOX 294                                                                            NEW BAVARIA           OH 43548‐0294
TIMOTHY WILKINS       45672 PEBBLE CRK W APT 12                                                             SHELBY TOWNSHIP       MI 48317‐4879
TIMOTHY WILKINS       10902 W CAMELOT CIR                                                                   SUN CITY              AZ 85351‐2118
TIMOTHY WILLETT       1450 VAN BUREN AVE                                                                    HOLT                  MI 48842‐9537
TIMOTHY WILLIAMS      9649 RIGGS ST                                                                         OVERLAND PARK         KS 66212‐1541
TIMOTHY WILLIAMS      PO BOX 472696                                                                         BROOKLYN              NY 11247‐2696
TIMOTHY WILLIAMS      254 DITTO LN                                                                          ROGERSVILLE           AL 35652‐3646
TIMOTHY WILLIAMS      18623 CONLEY ST                                                                       DETROIT               MI 48234‐2213
TIMOTHY WILLIAMS      PO BOX 68                                                                             ELEPHANT BUTTE        NM 87935‐0068
TIMOTHY WILLIAMS      866 GOLF DR APT 202                                                                   PONTIAC               MI 48341‐2391
TIMOTHY WILLIAMS      1213 PAWNEE ST                                                                        LEAVENWORTH           KS 66048‐1257
TIMOTHY WILLIAMS      3029 MEADOWBROOK DR                                                                   GRAND PRAIRIE         TX 75052‐7548
TIMOTHY WILLIAMS      400 OVERLOOK RD                                                                       MANSFIELD             OH 44907‐1536
TIMOTHY WILLIAMSON    104 JACKSON ST                                                                        SPRING HILL           TN 37174‐2646
TIMOTHY WILLMANN      597 S 1000 E                                                                          MARION                IN 46953‐9612
TIMOTHY WILLS         561 SHADY OAKS ST                                                                     LAKE ORION            MI 48362‐2571
TIMOTHY WILSON        112 CRANBROOK DR                                                                      HOWELL                MI 48843‐7828
TIMOTHY WILSON        4802 JOSEPH CT                                                                        N RIDGEVILLE          OH 44039‐1743
TIMOTHY WILSON        2166 BRUCE AVE                                                                        LANSING               MI 48915‐1167
TIMOTHY WILSON        891 PLAINS RD                                                                         MASON                 MI 48854‐9676
TIMOTHY WILSON        5262 BERNEDA DR                                                                       FLINT                 MI 48506‐1584
TIMOTHY WILSON        1872 COOMER RD                                                                        BURT                  NY 14028‐9735
TIMOTHY WILSON        141 ASHLEY CIR                                                                        SWARTZ CREEK          MI 48473‐1176
TIMOTHY WINDY         3400 PINE DR                                                                          CARO                  MI 48723‐9624
TIMOTHY WINEGARDNER   2100 SPIELHAGEN RD                                                                    TROY                  MO 63379‐3508
TIMOTHY WING          8950 HENRY RD                                                                         PINCKNEY              MI 48169‐9159
TIMOTHY WINGER        9679 FOUNTAIN STREET RD                                                               MARK CENTER           OH 43536‐9730
TIMOTHY WINKELMAN     PO BOX 8565                                                                           TOLEDO                OH 43623‐0565
                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 170 of 901
Name                    Address1                           Address2        Address3         Address4         City                  State Zip
TIMOTHY WINNETT         820 CRESTMONT DR                                                                     DAYTON                 OH 45431
TIMOTHY WINTER          4475 MORGAN RD                                                                       ORION                  MI 48359‐1921
TIMOTHY WINTERS         726 E MAIN ST APT 204                                                                FLUSHING               MI 48433‐2041
TIMOTHY WIRSING         3415 AQUARIOUS CIR                                                                   OAKLAND                MI 48363‐2715
TIMOTHY WISDOM          737 PINE RIDGE AVE                                                                   OXFORD                 MI 48371‐3596
TIMOTHY WISE            231 REEDY CT                                                                         DIMONDALE              MI 48821‐9639
TIMOTHY WITHERSPOON     7539 WADDING DR                                                                      ONSTED                 MI 49265‐9418
TIMOTHY WITTEN          1400 BEDDINGTON WAY                                                                  BOWLING GREEN          KY 42104‐4366
TIMOTHY WOJCIK          S‐4860 MORGAN PARKWAY                                                                HAMBURG                NY 14075
TIMOTHY WOJDYNSKI       20459 FOSTER DR                                                                      CLINTON TWP            MI 48036‐2221
TIMOTHY WOLAK           8870 SLEE RD                                                                         ONSTED                 MI 49265
TIMOTHY WOLF            207 N CHERRY ST                                                                      FLUSHING               MI 48433‐1603
TIMOTHY WOLTER          1120 S JACKSON ST                                                                    BAY CITY               MI 48708‐8020
TIMOTHY WOMBLES         108 S 3RD AVE                                                                        BEECH GROVE            IN 46107‐1909
TIMOTHY WOOD            718 N FAIRVIEW AVE                                                                   LANSING                MI 48912‐3128
TIMOTHY WOODCUM         3057 FARMERS CREEK RD                                                                METAMORA               MI 48455‐9679
TIMOTHY WOODS           6611 DEER KNOLLS DR                                                                  HUBER HEIGHTS          OH 45424‐6454
TIMOTHY WOOLARD         4150 ATHENS AVE                                                                      WATERFORD              MI 48329‐2004
TIMOTHY WORLEY          568 20 MILE RD NE                                                                    CEDAR SPRINGS          MI 49319‐9629
TIMOTHY WORLINE         24972 ROAD H24                                                                       CONTINENTAL            OH 45831‐8940
TIMOTHY WORTHLEY        68547 DEQUINDRE RD                                                                   OAKLAND                MI 48363‐1751
TIMOTHY WRANOSKY        21410 BROOKLYN BRIDGE DR                                                             MACOMB                 MI 48044‐6402
TIMOTHY WURTZEL         34 EMS T7B LN                                                                        LEESBURG               IN 46538‐9420
TIMOTHY WYANT           543 W 1150 S                                                                         BUNKER HILL            IN 46914‐9557
TIMOTHY YAKLIN          5865 BURDICK RD                                                                      LAPEER                 MI 48446‐2709
TIMOTHY YANG            643 WHITNEY DR                                                                       ROCHESTER HILLS        MI 48307‐2864
TIMOTHY YATES           3932 N KENSINGTON AVE                                                                KANSAS CITY            MO 64117‐2312
TIMOTHY YEAGER          6183 STATE ROUTE 305                                                                 FOWLER                 OH 44418‐9716
TIMOTHY YEE             4180 CARBARY CT.                                                                     ROCHESTER              MI 48306
TIMOTHY YERRICK         2780 ELMWOOD DR                                                                      ADRIAN                 MI 49221‐4129
TIMOTHY YOAKAM          1134 CAMELOT DR                                                                      PINCKNEY               MI 48169‐9034
TIMOTHY YU              PO BOX 9022                                                                          WARREN                 MI 48090‐9022
TIMOTHY ZAFRANO         509 LAKEVIEW PKWY                                                                    LOCUST GROVE           VA 22508‐5138
TIMOTHY ZAJECHOWSKI     7201 CARDINAL ST                                                                     CLAY                   MI 48001‐4107
TIMOTHY ZAMORA          7090 HICKORY ST                                                                      FLUSHING               MI 48433‐9064
TIMOTHY ZARLINGA        7547 ZONA LN                                                                         PARMA                  OH 44130‐5808
TIMOTHY ZARLINGA JR     7666 MILLERWOOD LN                                                                   PARMA                  OH 44130‐5801
TIMOTHY ZASKIEWICZ      1810 BAYSHORE WAY                                                                    CLEARWATER             FL 33760‐1452
TIMOTHY ZECHES          30717 JOY RD                                                                         WESTLAND               MI 48185‐7145
TIMOTHY ZEIEN           12500 BROADRIVER ROAD                                                                LITTLE MOUNTAIN        SC 29075
TIMOTHY ZEZULA          1125 SOUTH WEST SILVER LAKE ROAD                                                     TRAVERSE CITY          MI 49684
TIMOTHY ZIEGLER         6140 LAWNDALE RD                                                                     SAGINAW                MI 48604‐9488
TIMOTHY ZIEK            BEVAN & ASSOCIATES LPA INC                                                           BOSTON HTS             OH 44236
TIMOTHY ZINGSHIEM       301 PEASE CT                                                                         JANESVILLE             WI 53545‐3025
TIMOTHY ZINK            5711 HURSH RD                                                                        FORT WAYNE             IN 46845‐9650
TIMOTHY ZIVISKI         1538 REDWOOD CT                                                                      ADRIAN                 MI 49221‐8451
TIMOTHY ZURVITZ         15 LAKE SHORE DR                                                                     YOUNGSTOWN             OH 44511‐3551
TIMOTHY ZWICK           2780 US ROUTE 40                                                                     TIPP CITY              OH 45371‐9230
TIMOTHY, ERVIN G        975 MAIN ST                                                                          HUNT                   NY 14846
TIMOTIJEVIC, VELISLAV   1032 W 58TH ST                                                                       LA GRANGE HIGHLANDS     IL 60525‐7105
TIMPANARO, JOSEPH C     8400 49TH ST APT 310                                                                 PINELLAS PARK          FL 33781‐1542
TIMPE, GERTRUDE A       2109 S BARD RD                                                                       GLADWIN                MI 48624‐9471
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                        Part 37 of 40 Pg 171 of 901
Name                                  Address1                       Address2                        Address3   Address4         City              State Zip
TIMPE, RONALD D                       16291 CATALPA WAY                                                                          HOLLY              MI 48442‐8325
TIMPERIO, LUCY C                      8944 ALTURA DR NE                                                                          WARREN             OH 44484‐1730
TIMPERIO, RONALD F                    765 MOUNT AUBURN ST                                                                        WATERTOWN          MA 02472‐1526
TIMPERIO, RONALD J                    26D GOVERNORS WAY                                                                          MILFORD            MA 01757‐5113
TIMPERMAN ROBERT (ESTATE OF) (448262) BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                     PROFESSIONAL BLDG
TIMPERMAN, ROBERT                   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH 44067
                                                                     PROFESSIONAL BLDG
TIMPF JR, GEORGE H                  9800 CEDAR ISLAND RD                                                                         WHITE LAKE        MI   48386‐3801
TIMPF, THOMAS                       2023 CLAWSON AVE                                                                             ROYAL OAK         MI   48073‐3746
TIMPNER, ANDREW S                   1989 FAIR OAK DR                                                                             ROCHESTER HILLS   MI   48309‐2505
TIMPNER, PAMELA A                   1347 THRASHER DR                                                                             PUNTA GORDA       FL   33950‐7696
TIMPONE, MIKE J                     827 PRINCETON RD                                                                             JANESVILLE        WI   53546‐1713
TIMPSON, JEROLD B                   4165 HEYWARD LN                                                                              INDIANAPOLIS      IN   46250‐4228
TIMS ANNA J                         13065 SILICA RD                                                                              NORTH JACKSON     OH   44451‐9606
TIMS I I I, ROBERT D                6700 CAPITOL HILL DR                                                                         ARLINGTON         TX   76017‐4904
TIMS III, ROBERT DEE                6700 CAPITOL HILL DR                                                                         ARLINGTON         TX   76017‐4904
TIMS MELVIN                         C/O GUY PORTER & MALOUF          4670 MCWILLIE DRIVE                                         JACKSON           MS   39206
TIMS MELVIN (504993)                (NO OPPOSING COUNSEL)
TIMS, CHARLES D                     1710 HEATHROW DR                                                                             COOKEVILLE        TN   38506‐5552
TIMS, ELMO                          G3186 W COURT ST                                                                             FLINT             MI   48532‐5024
TIMS, FLORENCE D                    1585 NORTH RD SE                                                                             WARREN            OH   44484‐2904
TIMS, GLORIA J                      UNIT 1302                        149 GREENFIELD ROAD                                         HIRAM             GA   30141‐2370
TIMS, GLORIA J                      149 GREENFIELD RD                APT 1302                                                    HIRAM             GA   30141‐0141
TIMS, JOE D                         825 BURLEIGH AVE                                                                             DAYTON            OH   45407‐1206
TIMS, JOE D                         141 NIAGARA AVENUE                                                                           DAYTON            OH   45405‐3722
TIMS, JULIAN T                      BOONE ALEXANDRA                  205 LINDA DR                                                DAINGERFIELD      TX   75638‐2107
TIMS, LILLIE M                      1675 TENNYSON AVENUE                                                                         DAYTON            OH   45406‐4145
TIMS, MARY                          PO BOX 27213                                                                                 DETROIT           MI   48227‐0213
TIMS, MELVIN                        GUY WILLIAM S                    PO BOX 509                                                  MCCOMB            MS   39649‐0509
TIMS, STELLA                        1432 TAMPA AVE                                                                               DAYTON            OH   45408‐1850
TIMS, STELLA                        1432 TAMPA AVENUE                                                                            DAYTON            OH   45408‐5408
TIMS, VALERIE                       4369 KESTREL LN                                                                              BURTON            MI   48519‐1907
TIMSON, SHERYL L                    1532 GLENBECK AVE APT 4                                                                      DAYTON            OH   45409
TIMSON, SHERYL L                    241 N 12TH ST APT 5                                                                          MIAMISBURG        OH   45342‐2567
TIMULAK, PATRICK J                  8810 SASHABAW RD                                                                             CLARKSTON         MI   48348‐2922
TIN ESTATE OF JENNY AUS             6045 WESTKNOLL DR APT 476                                                                    GRAND BLANC       MI   48439‐4929
TINA
TINA A CAMPBELL                     300 VAN BUREN CIR                                                                            DAVISON           MI   48423‐8528
TINA A ROSS                         136 E PARKWOOD DR                                                                            DAYTON            OH   45405‐3425
TINA ABATE‐MILKO                    1200 HIDDEN CREEK DR                                                                         MANSFIELD         TX   76063‐6210
TINA ADAIR                          4400 NW 78TH CT APT 40                                                                       KANSAS CITY       MO   64151‐1332
TINA ALDERMAN                       104 BEACH AVE#2                                                                              EDGERTON          WI   53534
TINA ALLI                           1685 LANCASTER DRIVE                                                                         YOUNGSTOWN        OH   44511‐1071
TINA ANDERSON                       1921 PLEASANT VIEW AVE                                                                       LANSING           MI   48910‐0347
TINA ANDRES                         8276 GRAND BLANC RD                                                                          SWARTZ CREEK      MI   48473‐7609
TINA ANDRIOT                        183 KASSIK CIR                                                                               ORLANDO           FL   32824‐5831
TINA ATKINSON, PERSONAL             C/O BRAYTON PURCELL              222 RUSH LANDING RD                                         NOVATO            CA   94948‐6169
REPRESENTATIVE FOR OBIE ATKINSON
TINA AUDIA                          8720 VESTAL DR                                                                               SARANAC           MI 48881‐9766
TINA AUSTIN                         PO BOX 621                                                                                   BAXTER            TN 38544‐0621
TINA BAILEY                         2378 STATE ROAD 60 E                                                                         MITCHELL          IN 47446‐6121
                                      09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                       Part 37 of 40 Pg 172 of 901
Name                                 Address1                       Address2                      Address3                   Address4         City              State Zip
TINA BAUER                           PO BOX 80331                                                                                             ROCHESTER          MI 48308‐0331
TINA BEAT                            2124 VALENTINE ST                                                                                        TOLEDO             OH 43605‐1253
TINA BERG                            300 TREALOUT DR APT 24                                                                                   FENTON             MI 48430‐3288
TINA BERRA                           W1756 HEIN RD                                                                                            BRODHEAD           WI 53520‐9510
TINA BISHOP                          6973 WOODLYN CT                                                                                          CLARKSTON          MI 48348‐4479
TINA BLACK                           23255 BOHN RD                                                                                            BELLEVILLE         MI 48111‐9097
TINA BODNER                          1617 DIANE DR                                                                                            OSSIAN             IN 46777‐9065
TINA BOIANO                          489 GLIDE STREET                                                                                         ROCHESTER          NY 14606‐1341
TINA BOOZE                           3460 SAINT HELENS DR                                                                                     SHREVEPORT         LA 71108‐5351
TINA BOREK
TINA BOWMAN                          7915 WILLIAMSPORT PIKE                                                                                   FALLING WATERS    WV 25419‐7606
TINA BRANTLEY AS GUARDIAN OF CRYSTAL LAMAR B BROWN                  ROBINSON CALCAGNIE & ROBINSON 620 NEWPORT CENTER DRIVE                    NEWPORT BEACH     CA 92660
BANKS                                                                                             SUITE 700
TINA BRATTON                         2050 UPLAND DR                                                                                           FRANKLIN          TN   37067‐5037
TINA BREWER                          3290 E BURT RD                                                                                           BURT              MI   48417‐9703
TINA BRIGGS                          2270 MILLSBORO RD                                                                                        MANSFIELD         OH   44906‐1339
TINA BROWN                           10286 N MEADOW WOOD LN                                                                                   ELWOOD            IN   46036‐8865
TINA BROWN                           321 KAREN LN                                                                                             WEST MONROE       LA   71292‐1900
TINA BUELL                           7339 SHELL FLOWER APT 3                                                                                  LANSING           MI   48917‐7625
TINA BURDEN                          60 LINCOLN AVE                                                                                           BEDFORD           IN   47421‐1611
TINA C WEBSTER                       4413 LIBERTY HILL ROAD                                                                                   JACKSON           MS   39206‐4432
TINA CAMPBELL                        300 VAN BUREN CIR                                                                                        DAVISON           MI   48423‐8528
TINA CARTER                          90 LEGACY BARN DR APT 202                                                                                COLLIERVILLE      TN   38017‐8724
TINA CLARK                           5300 N COUNTY ROAD 925 W                                                                                 YORKTOWN          IN   47396‐9755
TINA CLEMENT                         2994 KENDALL RD                                                                                          COPLEY            OH   44321‐2529
TINA COLLINS                         735 BURLEIGH AVE                                                                                         DAYTON            OH   45402‐5204
TINA COOPER                          116 HEBERLING ST                                                                                         BEAVER FALLS      PA   15010‐1272
TINA COUCH                           2312 CRANE ST                                                                                            WATERFORD         MI   48329‐3725
TINA CRAWFORD                        424 S WALNUT ST                                                                                          FAIRMOUNT         IN   46928‐2047
TINA D SPEAR                         4936 BECKER                                                                                              DAYTON            OH   45427
TINA DANGERFIELD                     5472 HOOVER AVE                                                                                          DAYTON            OH   45427
TINA DAVIS                           1625 INNER DR                                                                                            ORTONVILLE        MI   48462‐9220
TINA DEAK                            5141 FENN RD                                                                                             MEDINA            OH   44256‐7047
TINA DIMOSKI                         2606 W WEBSTER RD                                                                                        ROYAL OAK         MI   48073‐3743
TINA DINNAN                          2022 INDIAN RD                                                                                           LAPEER            MI   48446‐8048
TINA DLUGE                           70550 ELDRED RD                                                                                          BRUCE TWP         MI   48065‐4230
TINA DOUGHTY                         23252 KISSINGER RD                                                                                       LEAVENWORTH       KS   66048‐6118
TINA E WILLIAMSON                    3182 RANDOLPH ST NW                                                                                      WARREN            OH   44485‐2525
TINA EDWARDS                         PO BOX 322                                                                                               WINONA            MO   65588‐0322
TINA ELAM                            6511 AZURE WAY                                                                                           WEST CARROLLTON   OH   45449‐3501
TINA ELLIOTT                         3356 WINWOOD DR                                                                                          FLINT             MI   48504‐1251
TINA ELLIOTT                         2665 ALFORD BEND RD.                                                                                     GADSDEN           AL   35903
TINA ESTEP                           5316 RADCLIFFE RD                                                                                        SYLVANIA          OH   43560‐1838
TINA FAWKES                          1601 OTTO RD                                                                                             CHARLOTTE         MI   48813‐9713
TINA FEEMSTER                        1430 NICHOL AVE                                                                                          ANDERSON          IN   46016
TINA FLORES                          1802 S HAMILTON ST                                                                                       SAGINAW           MI   48602‐1205
TINA FOSTER                          3721 MARLYN AVE                                                                                          SAGINAW           MI   48602‐3323
TINA G WILLIAMS                      9245 LITTLE RICHMOND RD                                                                                  BROOKVILLE        OH   45309
TINA GOOSEY                          225 SNOWDEN LN                                                                                           WACO              KY   40385‐9603
TINA GRISHABER                       9629 BAYVIEW DR APT 106                                                                                  YPSILANTI         MI   48197‐7031
TINA GROVE                           8674 KATELIN DR                                                                                          EATON RAPIDS      MI   48827‐8938
TINA HALL                            102 HILLSIDE DR W                                                                                        BURLESON          TX   76028‐2358
                    09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                     Part 37 of 40 Pg 173 of 901
Name                Address1                      Address2            Address3         Address4         City               State Zip
TINA HALL           5725 THOMPSON RD                                                                    FORT WAYNE          IN 46816‐9596
TINA HARRINGTON     3435 CADWALLADER SONK RD                                                            CORTLAND            OH 44410‐9442
TINA HEAVNER        12078 MARSH HEN LN                                                                  TEGA CAY            SC 29708‐7224
TINA HELTON         4419 TARRAGON DR                                                                    INDIANAPOLIS        IN 46237‐3669
TINA HERZOG         223 E NORTH ST                                                                      CRESTLINE           OH 44827‐1161
TINA HOSCHAK        925 SUMMIT ST                                                                       DEFIANCE            OH 43512‐3068
TINA HOWARD         1610 LINCOLNSHIRE DR                                                                DETROIT             MI 48203‐1411
TINA HOWARD         1502 W PATERSON ST                                                                  FLINT               MI 48504‐7177
TINA HOWELL         726 WINDWARD CIR                                                                    SANDUSKY            OH 44870‐6524
TINA HULL           3664 MCKITRICK ST                                                                   MELVINDALE          MI 48122‐1158
TINA IORDANOU       4520 WOOD DUCK CT                                                                   LINDEN              MI 48451‐8411
TINA J SAUNTO       5531 W MOUNT HOPE HWY                                                               LANSING             MI 48917‐9559
TINA J SMITH        4706 BLOOMFIELD DR                                                                  TROTWOOD            OH 45426
TINA J WHALEY       1330 W ALEXIS RD LOT 121                                                            TOLEDO              OH 43612‐4282
TINA J WYATT        1205 S HAMILTON ST                                                                  SAGINAW             MI 48602‐1424
TINA JACKSON        424 4TH AVE                                                                         PONTIAC             MI 48340‐2855
TINA JAMES          1601 MANDARIN DR                                                                    CINCINNATI          OH 45240‐2125
TINA JONES          1017 S MORGAN DR                                                                    MOORE               OK 73160‐7038
TINA K MILLER       3557 LYNWOOD DR NW                                                                  WARREN              OH 44485
TINA K VIGORITO     7781 RAGLAN DR NE                                                                   WARREN              OH 44484
TINA KALIC          2950 ERICH DR                                                                       WILLOUGHBY HILLS    OH 44092‐1418
TINA KOLLEK         1387 S OVERLAND DR                                                                  LENNON              MI 48449‐9673
TINA KUCINIC        1861 EMPIRE RD                                                                      WICKLIFFE           OH 44092‐1136
TINA L CARPINO      16 CHISWICK                                                                         CHURCHVILLE         NY 14428‐9407
TINA L CORNETT      432 CHESTNUT ST                                                                     XENIA               OH 45385
TINA L ELAM         6511 AZURE WAY                                                                      WEST CARROLLTON     OH 45449‐3501
TINA L GARRISON     98 SUTTON CIRCLE                                                                    RAINBOW CITY        AL 35906
TINA L GREY         4179 JASPER RD                                                                      JAMESTOWN           OH 45335
TINA L HALL         317 PARK MEADOW DR                                                                  BATAVIA             OH 45103
TINA L JONES        105 HIGH STREET                                                                     GRATIS              OH 45330
TINA L LIGHTFOOT    301 WILLASTON DR.                                                                   RIVERSIDE           OH 45431
TINA L MARTIN       3695 JUDY LANE                                                                      DAYTON              OH 45405
TINA L RICHARDSON   3491 S. UNION ROAD                                                                  DAYTON              OH 45418‐1334
TINA L RYAN         2985 WEILACHER RD SW                                                                WARREN              OH 44481
TINA L THOMAS       3262 MCCALL ST APT B                                                                DAYTON              OH 45417‐‐ 19
TINA L TRAVIS       1638 DARST AVE                                                                      DAYTON              OH 45403
TINA L WEYBRIGHT    1958 E GREENFIELD DR                                                                MIDDLETOWN          OH 45044
TINA LAMBERT        23365 ROAD 104                                                                      OAKWOOD             OH 45873‐9644
TINA LARKIN         2869 VOORHEIS ROOAD                                                                 WATERFORD           MI 48328
TINA LAUX           711 WEST MAIN STREET                                                                GRAND LEDGE         MI 48837‐1001
TINA LAVIGNE        12015 WALTER ST                                                                     MOUNT MORRIS        MI 48458‐1748
TINA LAW            3621 CARDINAL DR                                                                    SHARPSVILLE         PA 16150‐9241
TINA LAZZARI        48055 TILCH RD                                                                      MACOMB              MI 48044‐1992
TINA LEVI           2162 PEPPERMILL RD                                                                  LAPEER              MI 48446‐9436
TINA LEWIS          816 CENTER ST                                                                       OWOSSO              MI 48867‐1416
TINA LEYMAN         11866 STRATTON RD                                                                   SALEM               OH 44460‐9642
TINA LIGHTFOOT      301 WILLASTON DR                                                                    DAYTON              OH 45431‐2252
TINA LIGNITZ        PO BOX 368                    912 ODA ST                                            DAVISON             MI 48423‐0368
TINA LOBB           5077 N BELSAY RD                                                                    FLINT               MI 48506‐1669
TINA LOCKE          1520 COVERT RD                                                                      LESLIE              MI 49251‐9394
TINA LOVE           101 ST GEORGE BLVD #9Q                                                              SAVANNAH            GA 31419
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                       Part 37 of 40 Pg 174 of 901
Name                                Address1                               Address2                        Address3                   Address4         City           State Zip
TINA LOVEJOY AND BARRY LOVEJOY AS   NEXT BEST FRIEND OF BRITTNEY LOVEJOY   C/O ALVIS & WILLINGHAM LLP‐ATTN 1400 URBAN CENTER DR STE                    BIRMINGHAM      AL 35242
PARENTS AND                                                                THOMAS P WILLINGHAM             475
TINA LUDWIG                         3045 BEAVER AVE                                                                                                    KATTERING      OH   45429
TINA M ADAIR                        4400 NW 78TH CT APT 40                                                                                             KANSAS CITY    MO   64151‐1332
TINA M ALLI                         1685 LANCASTER DR                                                                                                  YOUNGSTOWN     OH   44511‐1071
TINA M ARTZ                         P.O. BOX 31301                                                                                                     DAYTON         OH   45437‐0301
TINA M BAKER                        928 TRADEWIND DRIVE                                                                                                MASON          OH   45040
TINA M BRAUCKMILLER‐SALAMINO        30134 HAYES RD                                                                                                     ROSEVILLE      MI   48066‐4033
TINA M BROWN                        433 WOODSIDE DR                                                                                                    W ALEXANDRIA   OH   45381
TINA M BROWN                        3408 FM 1840                                                                                                       NEW BOSTON     TX   75570
TINA M BUELL                        7339 SHELL FLOWER APT 3                                                                                            LANSING        MI   48917‐7625
TINA M BYNUM                        307 8TH AVE. S.W.                                                                                                  ATTALLA        AL   35954
TINA M COLLINS                      735 BURLEIGH AVE                                                                                                   DAYTON         OH   45402
TINA M CRAMER                       105 W 4TH ST                                                                                                       TILTON         IL   61833‐7418
TINA M CRAW                         501 FLORIDA RD                                                                                                     SYRACUSE       NY   13211‐1220
TINA M DUNGEY                       9673 HARBOUR COVE CT                                                                                               YPSILANTI      MI   48197‐6901
TINA M FORD‐HALL                    5724 LILY LN                                                                                                       DAYTON         OH   45414‐3001
TINA M FOSTER                       3721 MARLYN AVE                                                                                                    SAGINAW        MI   48602‐3323
TINA M GRIFFITH                     326 WINDSOR PARK DR                                                                                                DAYTON         OH   45459‐‐ 41
TINA M HAMMERSCHMIDT                3794 GATWICK DR                                                                                                    TROY           MI   48083
TINA M HAMMOND                      330 BLUMEN LN                                                                                                      MORAINE        OH   45418
TINA M HELLARD                      1 OAK AVE                                                                                                          TRENTON        OH   45067‐1828
TINA M HOWARD                       1610 LINCOLNSHIRE DR                                                                                               DETROIT        MI   48203‐1411
TINA M HULL                         3664 MCKITRICK ST                                                                                                  MELVINDALE     MI   48122‐1158
TINA M JOYCE                        286 BEECHWOOD RD                                                                                                   WILMINGTON     OH   45177
TINA M KELHOFFER                    2501 LEHIGH PL                                                                                                     MORAINE        OH   45439‐2809
TINA M LEVALLEY                     106 SHORT ST                                                                                                       NEW LEBANON    OH   45345
TINA M LOGAN                        2906 GRETCHEN DR NE                                                                                                WARREN         OH   44483
TINA M LONDERVILLE                  376 LONG POND ROAD                                                                                                 ROCHESTER      NY   14612‐1602
TINA M MAHONEY                      5865 JACKMAN RD                                                                                                    TOLEDO         OH   43613‐1705
TINA M MCCOMB                       1258 CONTINENTAL DR                                                                                                WENTZVILLE     MO   63385‐1945
TINA M MILLIGAN                     2277 S GROVE ST APT 714W                                                                                           YPSILANTI      MI   48198‐9304
TINA M MONTEIL                      3501 GIBBS RD                                                                                                      KANSAS CITY    KS   66106‐3809
TINA M MORETTO                      4994 BROUGHTON PLACE                                                                                               DAYTON         OH   45431‐1110
TINA M MOSES                        2326 BONNIEVIEW AVE.                                                                                               DAYTON         OH   45431
TINA M NEGRI                        7803 NW ROANRIDGE RD APT J                                                                                         KANSAS CITY    MO   64151‐1389
TINA M OTTO                         5656 MARKEY RD                                                                                                     DAYTON         OH   45415
TINA M PACE                         6401 ST ALBAN CT                                                                                                   ARLINGTON      TX   76001‐7895
TINA M PATRIDGE                     827 FARMINGTON RD                                                                                                  MACEDON        NY   14502‐9721
TINA M PINNEY                       350 WALLACE DR DR                                                                                                  FAIRBORN       OH   45324
TINA M PRICE                        2808 NORTHWEST BLVD NW                                                                                             WARREN         OH   44485‐2232
TINA M RAMIREZ                      3070 TWINLEAF ST                                                                                                   COMMERCE TWP   MI   48382‐4260
TINA M REIKOWSKY                    816 3RD ST APT 2                                                                                                   BAY CITY       MI   48708‐5961
TINA M RIDDLE                       531 SUMMIT AVE                                                                                                     TROY           OH   45373
TINA M ROULLEY                      129 DUNLOP AVE                                                                                                     TONAWANDA      NY   14150‐7843
TINA M SMITH                        10755 HAVERMALE RD                                                                                                 FARMERSVILLE   OH   45325
TINA M TOWNSEND                     158 LEXINGTON FARM RD                                                                                              ENGLEWOOD      OH   45322
TINA M WAGES                        808 E MAPLE AVE                                                                                                    MIAMISBURG     OH   45342‐2424
TINA M WALKER                       1006 STEWART AVE                                                                                                   XENIA          OH   45385
TINA M WARNER                       27 N HARBINE AVE                                                                                                   DAYTON         OH   45403
TINA M WATSON                       2620 REXFORD RD                                                                                                    YOUNGSTOWN     OH   44511‐2130
TINA M WEBB                         118 COLONIAL CIR                                                                                                   GERMANTOWN     OH   45327‐7301
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                           Part 37 of 40 Pg 175 of 901
Name                    Address1                         Address2           Address3         Address4             City               State Zip
TINA M WHITE            5201 BROOKMILL CT                                                                         DAYTON              OH 45414
TINA M YEAGER           6697 STATE ROUTE 305                                                                      FOWLER              OH 44418‐9717
TINA M YENGER           28 CAMEO CIR                                                                              TROY                OH 45373
TINA MALLOY             9398 S STATE RD                                                                           MORRICE             MI 48857‐9751
TINA MARIE GROSS        6818 ALDERLEY WAY                                                                         WEST BLOOMFIELD     MI 48322‐3853
TINA MATTHEWS           18475 WINSTON ST                                                                          DETROIT             MI 48219‐3022
TINA MCBRIDE            2555 HAWTHORNE DR S                                                                       SHELBY TOWNSHIP     MI 48316‐6100
TINA MCCOMB             61 BEACH CIR                                                                              MOSCOW MILLS        MO 63362‐3015
TINA MCGEE              PO BOX 7133                                                                               ARLINGTON           TX 76005‐7133
TINA MCMILLON           3945 N MICHIGAN AVE APT 11                                                                SAGINAW             MI 48604‐1874
TINA MCPHERSON          2471 MORRISH RD                                                                           FLUSHING            MI 48433‐9411
TINA MERRILL            9294 VAUGHN RD                                                                            MIAMISBURG          OH 45342‐4159
TINA MILLIGAN           2277 S GROVE ST APT 714W                                                                  YPSILANTI           MI 48198‐9304
TINA MOCERI‐KALEUGHER   24190 28 MILE RD                                                                          RAY TWP             MI 48096‐3349
TINA MONTEIL            3501 GIBBS RD                                                                             KANSAS CITY         KS 66106‐3809
TINA MUELLER            SOPHIENSTRASSE 8                                                                          D▄SSELDORF               40597
TINA MUELLER            SOPHIENSTR 8                                                         40597 DUESSELDORF
                                                                                             GERMANY
TINA MURPHY             4004 SMITHS GROVE SCOTTSVIL RD                                                            SMITHS GROVE       KY   42171‐9342
TINA MURPHY             THE VILLAGES‐200 KEDRON          APARTMENT#235E                                           SPRING HILL        TN   37174
TINA MURPHY             1030 E MARENGO AVE                                                                        FLINT              MI   48505‐3637
TINA NEGRI              7803 NW ROANRIDGE RD APT J                                                                KANSAS CITY        MO   64151‐1389
TINA OPAUSKI            2632 SHADYCREST DR                                                                        BEAVERCREEK        OH   45431‐1632
TINA ORR                2833B CHAMBERLIN RD                                                                       RICE               WA   99167‐9704
TINA PACE               6401 ST ALBAN CT                                                                          ARLINGTON          TX   76001‐7895
TINA POQUETTE           36321 DOMINION CIR                                                                        STERLING HEIGHTS   MI   48310‐7458
TINA PRESLEY            315 E WALNUT ST                                                                           INDEPENDENCE       MO   64050‐3935
TINA PRICE              1128 LAKE DOCKERY ROAD                                                                    BYRAM              MS   39272‐9487
TINA R ADKINS           6731 SMITH RD                                                                             BRADFORD           OH   45308
TINA R BLEVINS          1709 NORTH BLVD                                                                           FAIRBORN           OH   45324
TINA R BOGGS            65 GLORIA AVE                                                                             NEW LEBANON        OH   45345‐1123
TINA R CASEY            101 LOGANWOOD DR                                                                          CENTERVILLE        OH   45458‐2539
TINA R CONNER           3743 BRIAR PL                                                                             DAYTON             OH   45405‐1803
TINA R DIGGS            1121 N 44TH ST UNIT 1048                                                                  PHOENIX            AZ   85008
TINA R ELDRIDGE         1317 HAWTHORNE AVE                                                                        YPSILANTI          MI   48198‐5943
TINA R GABBARD          9563 PLEASANT PLAIN RD                                                                    BROOKVILLE         OH   45309
TINA R HALL             102 HILLSIDE DR W                                                                         BURLESON           TX   76028‐2358
TINA R HONEYMAN         6026 CHANNINGWAY CT                                                                       DAYTON             OH   45424‐4024
TINA R PATTERSON        118 MERIT CIRCLE                                                                          GADSDEN            AL   35901
TINA R PRICE            1128 LAKE DOCKERY RD                                                                      BYRAM              MS   39272‐9487
TINA R RADER            211 BRONWOOD ST                                                                           NEW LEBANON        OH   45345‐1303
TINA R WILLS            872 SCOTTSWOOD                                                                            DAYTON             OH   45427‐2238
TINA R WORKS            11700 FORD VALLEY RD                                                                      GADSDEN            AL   35905‐6959
TINA RAINEY             1216 WALNUT ST                                                                            OWOSSO             MI   48867‐4329
TINA RAMIREZ            3070 TWINLEAF ST                                                                          COMMERCE TWP       MI   48382‐4260
TINA REYNOLDS           2405 SPICE VALLEY RD                                                                      MITCHELL           IN   47446‐5368
TINA ROBINETTE          25415 KELLI CT                                                                            TAYLOR             MI   48180‐5001
TINA RODGERS            1936 CELESTIAL DR NE                                                                      WARREN             OH   44484‐3981
TINA ROGERS             3611 BRANCH RD                                                                            FLINT              MI   48506‐2411
TINA ROSS               136 E PARKWOOD DR                                                                         DAYTON             OH   45405‐3425
TINA S DOUGHTY          23262 KISSINGER RD                                                                        LEAVENWORTH        KS   66048‐6118
TINA S SMAZENKA         1767 SOUTH EIGHT MILE                                                                     BRECKENRIDGE       MI   48615
                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                           Part 37 of 40 Pg 176 of 901
Name                  Address1                          Address2                     Address3   Address4              City             State Zip
TINA S. LOBB          5077 N BELSAY RD                                                                                FLINT             MI 48506‐1669
TINA SAGER            504 FOXVILLE RD                                                                                 KELL               IL 65853
TINA SANFORD          1472 SILVER POND                                                                                DAVISON           MI 48423‐8399
TINA SAUNTO           5531 W MOUNT HOPE HWY                                                                           LANSING           MI 48917‐9559
TINA SAWINSKI         19776 ROWE ST                                                                                   DETROIT           MI 48205‐1646
TINA SAWYER           275 CROSBY LANE                                                                                 ROCHESTER         NY 14612‐3336
TINA SCHENAVAR        3250 JOHN R ST                                                                                  TRENTON           MI 48183‐3628
TINA SEITZ            32845 REDBUD PKWY                                                                               CHESTERFIELD      MI 48047‐1490
TINA SENFF            GOTTFRIED‐KINKEL‐STR. 13
TINA SENFF            GOTTFRIED‐KINKEL‐STR. 13          53123 BONN
TINA SETLA            4987 SE MARINER VILLAGE LN                                                                      STUART           FL   34997‐2153
TINA SHOALS           8135 BLANCHARD DR                                                                               BERKELEY         MO   63134‐2203
TINA SMAZENKA         1767 S 8 MILE RD                                                                                BRECKENRIDGE     MI   48615‐9619
TINA SMITH            89 FREDERICK PL                                                                                 MOUNT VERNON     NY   10552‐2333
TINA SMITH            4706 BLOOMFIELD DR                                                                              TROTWOOD         OH   45426‐1808
TINA SPANGLER         4348 LOUELLA DR                                                                                 WATERFORD        MI   48329‐4023
TINA SPEAR            4936 BECKER DR                                                                                  DAYTON           OH   45427‐3020
TINA TABY             301 ROXBURY CT                                                                                  JOPPA            MD   21085‐4744
TINA THOFTNE          1917 N SUMAC DR                                                                                 JANESVILLE       WI   53545‐0965
TINA THOMAS           14206 BLANCHARD RD                                                                              GREENWOOD        DE   19950‐4340
TINA TRAN             2668 MORENO DR                                                                                  LANSING          MI   48911‐6460
TINA TREMBLAY
TINA TREVORROW        9346 FARLEY RD                                                                                  PINCKNEY         MI   48169‐9148
TINA VANHORN          7212 N WYOMING AVE                                                                              KANSAS CITY      MO   64118‐8344
TINA VIGORITO         BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                    BOSTON HEIGTHS   OH   44236
TINA W GARRETT        39 CITY LINE RD                                                                                 PONTIAC          MI   48342‐1108
TINA WALLACE          3818 INVERARY DR                                                                                LANSING          MI   48911‐1358
TINA WALLACE          608 MAPLE VISTA ST                                                                              IMLAY CITY       MI   48444‐1400
TINA WATSON           2620 REXFORD RD                                                                                 YOUNGSTOWN       OH   44511‐2130
TINA WHITE            5201 BROOKMILL CT                                                                               DAYTON           OH   45414‐6708
TINA WHITE            331 E STATE ST                                                                                  MONTROSE         MI   48457‐9005
TINA WIEGEL           AM MUEHLACKER 40                                                                                KULMBACH         DE   95326
TINA WILD             3415 KILMER DR                                                                                  TROY             MI   48083‐5027
TINA WING             32264 BROWN ST                                                                                  GARDEN CITY      MI   48135‐1499
TINA WISE             6022 BUNKER HILL ST                                                                             FLINT            MI   48506‐1641
TINAJERO, JOSE        6736 W 63RD PL                                                                                  CHICAGO          IL   60638‐4830
TINAJERO, PATRICK E   515 JENSEN AVE                                                                                  RAHWAY           NJ   07065‐2313
TINAL, GERALD E       4086 BAYMAR DR                                                                                  YOUNGSTOWN       OH   44511‐3439
TINARI, FILOMENA B    529 ACHILLE RD                                                                                  HAVERTOWN        PA   19083‐2103
TINARI, FRANK D
TINAY, JOHN           1295 CIRCLE DR APT 112                                                                          PONTIAC          MI 48340‐1546
TINAY, OBERINE N      10772 MEADOW TRL                                                                                STRONGSVILLE     OH 44149‐2162
TINAY, TOMAS D        2 PEPPERIDGE CT                                                                                 JACKSON          NJ 08527‐1167
TINCA VUCITECH        VODNIKOVA 4 1000                                                          LJUBLJANA SLOVENIA
TINCANI FRANCO        VIA PIO DONATI 39/1                                                       CASTELNVOVO RANGONE
                                                                                                (MO) 41051 ITALY
TINCH, APRIL D        4677 BYRELEY RD                                                                                 ARCANUM          OH   45304‐9709
TINCH, ELEANOR J      2 LAKE KISSIMMEE M.H.P.                                                                         LAKE WALES       FL   33853
TINCH, ERMA E         160 N BELMAR DR                                                                                 REYNOLDSBURG     OH   43068‐9620
TINCH, HARLAN M       408 E FORK LN                                                                                   CRAWFORD         TN   38554
TINCH, JAMES A        318 CHOATE LN                                                                                   MONROE           TN   38573‐5401
TINCH, JAMES A        318 CHOATE LANE                                                                                 MONROE           TN   38573‐5401
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                         Part 37 of 40 Pg 177 of 901
Name                                 Address1                         Address2                      Address3   Address4         City           State Zip
TINCH, JAMES R                       630 EVERGREEN DRIVE                                                                        SPRINGBORO      OH 45066‐9405
TINCH, JERRY W                       713 W. MARKET ST.                                                                          GERMANTOWN      OH 45327‐1230
TINCH, JERRY W                       713 W MARKET ST                                                                            GERMANTOWN      OH 45327‐1230
TINCH, JOSIE M                       107 ROBERTS LANE                                                                           CRAWFORD        TN 38554‐3416
TINCH, JOSIE M                       107 ROBERTS LN                                                                             CRAWFORD        TN 38554‐3416
TINCH, JUDY                          2203 ANGIE LN                                                                              ANDERSON        IN 46017
TINCH, PEARLY I                      5843 HOMEDALE ST                                                                           DAYTON          OH 45449‐2919
TINCH, RONALD L                      4560 WHITE CITY RD                                                                         COLLEGE PARK    GA 30337‐5215
TINCH, SHANNON D                     7743 MIDDLETOWN GERMANTOWN RD                                                              MIDDLETOWN      OH 45042‐1013
TINCHER CHEVROLET‐OLDSMOBILE, INC.   302 FULTON AVE                                                                             PLATTSMOUTH     NE 68048‐7259

TINCHER CHEVROLET‐OLDSMOBILE, INC.   MARK TINCHER                     302 FULTON AVE                                            PLATTSMOUTH    NE 68048‐7259

TINCHER IRA T (429953)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA 23510
                                                                      STREET, SUITE 600
TINCHER JR, JAMES A                  685 STATE ROUTE 725 E                                                                      CAMDEN         OH 45311‐8902
TINCHER KENNETH R (348571)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA 23510
                                                                      STREET, SUITE 600
TINCHER, BERT E                      14351 NORTH RD                                                                             FENTON         MI   48430‐1336
TINCHER, COLLEEN J                   14989 S SHORE DR                                                                           ADDISON        MI   49220
TINCHER, DANIEL E                    3019 DILLMAN DRIVE                                                                         SAINT CLOUD    FL   34769‐5511
TINCHER, DAVID A                     261 BROWN STATION RD                                                                       BEDFORD        IN   47421‐8921
TINCHER, DENNIS                      5812 N 200 E                                                                               ORLEANS        IN   47452
TINCHER, DENVIL J                    33809 HARDESTY RD                                                                          SHAWNEE        OK   74801‐3200
TINCHER, DENVIL L                    19409 ROBERT CLARK CIR                                                                     HARRAH         OK   73045‐6341
TINCHER, DONALD G                    686 DAVEY COX RD                                                                           MITCHELL       IN   47446‐7408
TINCHER, GARY L                      14989 S SHORE DR                                                                           ADDISON        MI   49220‐9200
TINCHER, GEORGE R                    220 PARK LN                                                                                SPRINGBORO     OH   45066‐1033
TINCHER, HENRY F                     17305 ELWELL RD                                                                            BELLEVILLE     MI   48111‐4449
TINCHER, HERMON L                    504 BRYAN DR                                                                               WINCHESTER     TN   37398‐5421
TINCHER, IRA T                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                                      STREET, SUITE 600
TINCHER, JACK L                      606 WAMPLER RD                                                                             BALTIMORE      MD   21220‐3923
TINCHER, JACQUELYN M                 9465 DENVER DR                                                                             SAINT CLOUD    FL   34773‐9131
TINCHER, JAY M                       6291 BROWNS RUN RD                                                                         MIDDLETOWN     OH   45042‐7201
TINCHER, JOANN R                     4316 WILDWOOD LOOP                                                                         CLARKSTON      MI   48348‐1458
TINCHER, JOHN                        1475 E COUNTY ROAD 550 N                                                                   ORLEANS        IN   47452‐9113
TINCHER, JON D                       16241 ROYAL RD                                                                             RAMSEY         MN   55303‐8013
TINCHER, JOYCE K                     442 KINGS RIDGE RD                                                                         MITCHELL       IN   47446‐5268
TINCHER, KENNETH R                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                                      STREET, SUITE 600
TINCHER, KIMBERLY A                  33809 HARDESTY RD                                                                          SHAWNEE        OK   74801‐3200
TINCHER, KIMBERLY ANN                33809 HARDESTY RD                                                                          SHAWNEE        OK   74801‐3200
TINCHER, MARGARET M                  2548 ERTER DR                                                                              SPRINGFIELD    OH   45503‐2121
TINCHER, MARGARET M                  2548 ERTER DRIVE                                                                           SPRINGFIELD    OH   45503‐5503
TINCHER, MARION                      PO BOX 56                                                                                  AVOCA          IN   47420‐0056
TINCHER, MELISSA A                   615 BRIARWOOD LN                                                                           BEDFORD        IN   47421‐7247
TINCHER, PATRICIA S                  19356 HUDSON LAKE RD                                                                       GALIEN         MI   49113‐9737
TINCHER, PAUL D                      53212 BAJER LANE                                                                           SOUTH BEND     IN   46635
TINCHER, PHYLLIS J                   90 STARR AVENUE                                                                            WATERFORD      MI   48328‐3850
TINCHER, ROSETTA                     PO BOX 1355                                                                                CROSSVILLE     TN   38557‐1355
TINCHER, ROSETTA                     P.O.BOX 1355                                                                               CROSSVILLE     TN   38557
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                          Part 37 of 40 Pg 178 of 901
Name                                  Address1                          Address2                        Address3   Address4         City               State Zip
TINCHER, ROY H                        1413 BEAR CREEK RD                                                                            LEICESTER           NC 28748‐6315
TINCHER, WILLIAM E                    133 ANKARA AVE                                                                                BROOKVILLE          OH 45309‐1353
TINCHER, WILLIAM E                    133 ANKARA AVENUE                                                                             BROOKVILLE          OH 45309‐1353
TINCHER, WILLIAM S                    2709 WEHRLY AVE                                                                               KETTERING           OH 45419‐2330
TINCHER‐WILLIAMS CHEVROLET BUICK PO   698 S LAUREL RD                                                                               LONDON              KY 40744‐8302

TINCHER‐WILLIAMS CHEVROLET BUICK      698 S LAUREL RD                                                                               LONDON              KY   40744‐8302
PONTIAC GMC
TINCHER‐WILLIAMS CHEVROLET, INC.      EDWARD TINCHER                    698 S LAUREL RD                                             LONDON             KY    40744‐8302
TINCKNELL, EDWARD T                   76820 MCFADDEN RD                                                                             ARMADA             MI    48005‐2225
TINCKNELL, KEITH W                    PO BOX 4233                                                                                   PRESCOTT           MI    48756‐4233
TINCU, JOHN A                         67 LARCHMERE DR                                                                               DAYTON             OH    45440‐3557
TINDALE PORTER (626808)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA    23510
                                                                        STREET, SUITE 600
TINDALE, DARYL A                      17303 RUNYON ST                                                                               DETROIT            MI 48234‐3820
TINDALE, PORTER                       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                                        STREET, SUITE 600
TINDALL CHARLES D                     9005 GREEN HICKORY LN                                                                         FENTON             MI    48430
TINDALL CHEVROLET‐PONTIAC, INC.       HENRY TINDALL                     16919 S INTERSTATE HIGHWAY 35                               DILLEY             TX    78017‐4654
TINDALL CHEVROLET‐PONTIAC, INC.       16919 S INTERSTATE HIGHWAY 35                                                                 DILLEY             TX    78017‐4654
TINDALL JR, JAMES R                   316 CLARK ST                                                                                  CLINTON            MI    49236‐9562
TINDALL VERN D JR (494267)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA    23510
                                                                        STREET, SUITE 600
TINDALL WADE                          TINDALL, WADE                     5210 NE 6TH AVE SUITE 4G                                    FT LAUDERDALE      FL    33334
TINDALL, CAROL L                      CARR MORRIS & GRAEFF              83000 BOONE BLVD                STE 250                     VIENNNA            VA    22182‐2681
TINDALL, CAROL L                      CARR JAMES P                      11755 WILSHIRE BLVD STE 1170                                LOS ANGELES        CA    90025‐1539
TINDALL, CAROL L                      HOLZBERG GLENN J LAW OFFICES OF   7685 SW 104TH ST STE 220                                    MIAMI              FL    33156‐3161
TINDALL, CAROL L
TINDALL, CHARLES D                    1421 COLT LN                                                                                  LAKELAND           FL    33815‐4184
TINDALL, CHARLES D                    9005 GREEN HICKORY LN                                                                         FENTON             MI    48430
TINDALL, CONSTANCE A                  188 DIVISION ST                                                                               SARANAC            MI    48881‐9502
TINDALL, DAVID L                      10975 RATTALEE LAKE RD                                                                        DAVISBURG          MI    48350‐1327
TINDALL, EVELYN J                     303 LOMBARDI ST                                                                               PORTERVILLE        CA    93257
TINDALL, JACQUELINE G                 974 OLD CUTLER RD                                                                             LAKE WALES         FL    33898‐8478
TINDALL, JAY K                        2297 ACADEMY RD                                                                               HOLLY              MI    48442‐8385
TINDALL, JIM
TINDALL, JIM B                        11395 N PREBLE COUNTY LINE RD                                                                 BROOKVILLE         OH    45309‐9614
TINDALL, JIM B                        11395 PREBLE COUNTY LINE RD                                                                   BROOKVILLE         OH    45309‐9614
TINDALL, JOE W                        2129 FIREBIRD DR                                                                              BELLBROOK          OH    45305‐1810
TINDALL, JOE W                        2129 FIREBIRD                                                                                 BELLBROOK          OH    45305‐1810
TINDALL, JOHN R                       1342 ALAMEDA BLVD                                                                             TROY               MI    48085‐6739
TINDALL, JUDITH A                     1028 CARLSON DR                                                                               BURTON             MI    48509‐2328
TINDALL, MARION P                     12366 VOLPE DRIVE                                                                             STERLING HGTS      MI    48312‐5328
TINDALL, MARION P                     12366 VOLPE DR                                                                                STERLING HTS       MI    48312‐5328
TINDALL, PATRICIA A                   31185 WESTHILL ST                                                                             FARMINGTON HILLS   MI    48336‐2670
TINDALL, RAY E                        221 HEMLOCK                                                                                   FRANKLIN           OH    45005‐1583
TINDALL, RAY E                        221 HEMLOCK ST                                                                                FRANKLIN           OH    45005‐1583
TINDALL, ROBERT L                     8027 N WEBSTER RD                                                                             MOUNT MORRIS       MI    48458‐9432
TINDALL, ROBERT W                     6432 SAINT MARYS ST                                                                           DETROIT            MI    48228‐5225
TINDALL, RODNEY J                     11155 SUMMER DR                                                                               ZEELAND            MI    49464‐9166
TINDALL, ROLAND L                     615 NW JACOB DR APT 207                                                                       LEES SUMMIT        MO    64081‐1215
TINDALL, TIMOTHY S                    10931 FELLOWS HILL DR                                                                         PLYMOUTH           MI    48170‐6350
                           09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                              Part 37 of 40 Pg 179 of 901
Name                       Address1                         Address2                      Address3   Address4         City                  State Zip
TINDALL, TOWANNA DAWN      788 FAIRFORD RD                                                                            GROSSE POINTE WOODS    MI 48236
TINDALL, VERN D            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                            STREET, SUITE 600
TINDALL, WILLIAM E         237 ELLIS AVE                                                                              TRENTON               NJ   08638‐3817
TINDALL, WILLIAM I         1028 CARLSON DR                                                                            BURTON                MI   48509‐2328
TINDARO PARATORE           15021 FLORENCE ST                                                                          MAPLE HTS.            OH   44137‐4707
TINDEL, JEFFREY A          228 LINCOLN LN                                                                             CROWLEY               TX   76036‐4016
TINDELL, JOHNNIE L         9300 ALTOONA ST                                                                            CRESSON               TX   76035‐4427
TINDELL, JOSEPH E          309 THEMISTOCLES PL                                                                        DE SOTO               MO   63020‐4613
TINDELL, SALINA
TINDER JR, JAMES R         5 COUNTRYWOOD DR                                                                           SAINT PETERS          MO   63376‐1232
TINDER JR, JAMES RUSSELL   5 COUNTRYWOOD DR                                                                           SAINT PETERS          MO   63376‐1232
TINDER SR, JOEL B          708 N BELL                                                                                 KOKOMO                IN   46901‐3021
TINDER'S MINI STORAGE      ATTN: BARBARA TINDER             2159 N MARKET ST                                          KOKOMO                IN   46901‐1450
TINDER, CAROLINE J         P O BOX 285                                                                                CATLIN                IL   61817‐0285
TINDER, CAROLINE J         PO BOX 285                                                                                 CATLIN                IL   61817‐0285
TINDER, HATTIE R           423 W MADISON ST                                                                           TIPTON                IN   46072‐1839
TINDER, JACK D             222 OLD BUCK CREEK RD                                                                      ADOLPHUS              KY   42120‐6123
TINDER, PAULETTE M         APT B                            720 EAST CULTON STREET                                    WARRENSBURG           MO   64093‐3099
TINDER, PEGGY J            3826 SONNY LANE                                                                            DANVILLE              IL   61832
TINDER, PEGGY J            3722 PERSHING ST                                                                           DANVILLE              IL   61832‐1032
TINDER, THOMAS E           4407 E PALAKWIA DR                                                                         JANESVILLE            WI   53546‐8872
TINDER, WILLIAM L          5632 STATELINE ROAD                                                                        SOUTH BELOIT          IL   61080‐9512
TINDERA, JAMES J           PO BOX 33243                                                                               INDIANAPOLIS          IN   46203‐0243
TINDLE, BETTY L            106 CUTTER CIR                                                                             GUN BARREL CITY       TX   75156‐5645
TINDLE, FATE               PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON               MS   39206‐5621
TINDLE, JERRY L            PO BOX 94                                                                                  ROCKFIELD             KY   42274‐0094
TINDLE, JERRY LEE          PO BOX 94                                                                                  ROCKFIELD             KY   42274‐0094
TINDLE, JUDITH A.          485 ARBOR POINTE TRL                                                                       DAYTON                TN   37321‐4447
TINDLE, ROBERT             PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON               MS   39206‐5621
TINDLE, THOMAS             PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON               MS   39206‐5621
TINDLE, WARREN D           128 LILAC DR                                                                               FESTUS                MO   63028‐2044
TINDOL, DORIS B            3642 OXBOW WAY                                                                             EUGENE                OR   97401‐5852
TINDORO FUDA               37 LAWNVIEW AVE                                                                            NILES                 OH   44446‐2043
TINDORO M FUDA             37 LAWNVIEW AVE                                                                            NILES                 OH   44446‐2043
TINELL, FRANKIE N          1017 N BARRON ST                                                                           EATON                 OH   45320‐1003
TINER, BARBARA J           18101 PARADISE DR BX 33.                                                                   VALYERMO              CA   93563
TINER, JOE R               6836 FORTUNE RD                                                                            FORT WORTH            TX   76116‐9409
TINER, KIRK A              5104 RIDGE POINTE DR                                                                       ARLINGTON             TX   76017‐1958
TINER, LOETA F             10045 TESLA RD                                                                             LIVERMORE             CA   94550‐9725
TINER, MARY P              1941 SAUL KLEINFELD DR APT 104                                                             EL PASO               TX   79936
TINERVIN, ROBERT           16 MASTERS CT                                                                              LITTLE EGG HARBOR     NJ   08087‐2943
TINES, JAMES F             53442 BRYCE CT                                                                             NEW BALTIMORE         MI   48047‐1086
TINETTI, ARTHUR R          316 OAKWOOD DR                                                                             FLUSHING              MI   48433‐1881
TINETTI, GEORGE R          PO BOX 56                                                                                  FLINT                 MI   48501
TINETTI, MARIAN            2155 UNION DR                                                                              LAKEWOOD              CO   80215‐1168
TINETTI, ROBERT J          501 WALNUT PORT PL                                                                         HENDERSON             NV   89052‐2815
TING LIANG                 2445 PLACID WAY                                                                            ANN ARBOR             MI   48105‐1272
TING, GRACE
TING, KENT                 13749 CANTABERRY CT                                                                        SOUTH LYON            MI 48178‐9561
TING, SUE                  6345 BROOKINGS DR                                                                          TROY                  MI 48098‐1863
TING, THOMAS L             2845 TRAPPERS TRAIL                                                                        LONG LAKE             MN 55356‐8901
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                  Part 37 of 40 Pg 180 of 901
Name                          Address1                         Address2                         Address3   Address4         City              State Zip
TINGEY‐JONES, ANNETTE         6460 N JENNINGS RD                                                                            MOUNT MORRIS       MI 48458‐9317
TINGHUI SHI                   25720 ABBEY DR                                                                                NOVI               MI 48374‐2373
TINGLAN, DAVID A              100 S JEFFERSON AVE STE 102                                                                   SAGINAW            MI 48607‐1274
TINGLAN, DONALD L             2126 BROCKWAY ST                                                                              SAGINAW            MI 48602‐2718
TINGLE, DAVID L               2219 SHILOH CHURCH RD                                                                         NEWTON             MS 39345‐9027
TINGLE, DORISTINE             PO BOX 05805                                                                                  DETROIT            MI 48205‐0805
TINGLE, FREDERICK E           502 MONTROSE CT                                                                               INDIANAPOLIS       IN 46234‐2249
TINGLE, JAMES                 PORTER & MALOUF PA               4670 MCWILLIE DR                                             JACKSON            MS 39206‐5621
TINGLE, JAMES E               1526 TERRAWENDA DR                                                                            DEFIANCE           OH 43512‐3725
TINGLE, JEAN L                3124 ENCLAVE CT                                                                               KOKOMO             IN 46902‐8129
TINGLE, KATHERINE H           5979 LAGRANGE RD                                                                              SHELBYVILLE        KY 40065‐8018
TINGLE, LARRY                 DALEY ROBERT                     707 GRANT ST STE 2500                                        PITTSBURGH         PA 15219‐1945
TINGLE, PATRICIA A            3631 RIDGECLIFFE DR                                                                           FLINT              MI 48532‐3765
TINGLE, PATRICIA ANN          3631 RIDGECLIFFE DR                                                                           FLINT              MI 48532‐3765
TINGLE, PHYLLIS J             117 RAIMUND AVE                                                                               BESSEMER           AL 35020‐8015
TINGLE, RICHARD A             2027 GERRARD AVE                                                                              SPEEDWAY           IN 46224‐5621
TINGLE, RICHARD J             3124 ENCLAVE CT                                                                               KOKOMO             IN 46902‐8129
TINGLE, RICHARD L             803 HIGHFIELD DR                                                                              NEWARK             DE 19713‐1103
TINGLE, TIFFANY N             643 NOGALES TRL                                                                               MIAMISBURG         OH 45342‐2207
TINGLE, WILBUR E              1444 N MILL CREEK RD                                                                          NOBLESVILLE        IN 46062‐9758
TINGLER CLARENCE E (460244)   DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                              NORTH OLMSTED      OH 44070
TINGLER DIANNE                15414 WINDY COVE DR                                                                           HOUSTON            TX 77095
TINGLER ROBERT L (487282)     BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                               DALLAS             TX 75219
TINGLER, BERNICE E            431 BIRCH HILL DR                                                                             MEDINA             OH 44256‐1410
TINGLER, BURL E               900 CRESTWOOD DR NE                                                                           BROOKFIELD         OH 44403‐9608
TINGLER, CLARENCE E           DUFFY & ASSOCS JOHN J            23823 LORAIN RD                                              NORTH OLMSTED      OH 44070
TINGLER, GLENN G              5041 LINDEN AVE                                                                               DAYTON             OH 45432‐1867
TINGLER, MARIA L              5087 CRANBERRY DR                                                                             MINERAL RIDGE      OH 44440‐9441
TINGLER, ROBERT L             5940 GREENVILLE NE RT 88                                                                      KINSMAN            OH 44428
TINGLER, ROBERT L             BARON & BUDD                     3102 OAK LANE AVE, SUITE 1100                                DALLAS             TX 75219
TINGLER, RONALD L             PO BOX 74                                                                                     KINSMAN            OH 44428‐0074
TINGLER, THOMAS R             4231 NOTTINGHAM AVE                                                                           YOUNGSTOWN         OH 44511‐1019
TINGLEY DOROTHY               2319 CRABILL ROAD                                                                             SPRINGFIELD        OH 45502‐6342
TINGLEY, ALAN W               432 S SQUIRREL RD                                                                             AUBURN HILLS       MI 48326‐3858
TINGLEY, CHARLES F            15505 E CLARKSVILLE RD                                                                        MARSHALL            IL 62441‐3800
TINGLEY, DARRYL W             1270 FOREST AVE                                                                               BURTON             MI 48509‐1906
TINGLEY, DARRYL WAYNE         1270 FOREST AVE                                                                               BURTON             MI 48509‐1906
TINGLEY, DENNIS R             R#1 BOX 758D                                                                                  SKANEE             MI 49962
TINGLEY, EDWARD               707 AZALEA DR                                                                                 MT PLEASANT        TN 38474‐1001
TINGLEY, HARLEY R             12163 N SAGINAW RD                                                                            CLIO               MI 48420‐1036
TINGLEY, IRENE S              HC 32 BOX 468                                                                                 PETERSBURG         WV 26847‐9612
TINGLEY, KENNETH R            4472 BURGUNDY DR                                                                              FLINT              MI 48506‐1018
TINGLEY, LORI A               4727 WILLOWBROOK DR                                                                           SPRINGFIELD        OH 45503‐5839
TINGLEY, MICHAEL R            2541 W AUBURN RD                                                                              ROCHESTER HILLS    MI 48309‐4000
TINGLEY, RICHARD D            3426 WILLARD RD                                                                               BIRCH RUN          MI 48415‐8309
TINGLEY, RUTH                 148 MABLE RD                                                                                  ALPENA             MI 49707‐9767
TINGLEY, RUTH I               148 MABLE AVENUE                                                                              ALPENA             MI 49707‐9767
TINGO REGALADO                PO BOX 300                                                                                    ARTESIA            CA 90702‐0300
TINGSON, AVELINO J            2727 PETERBORO RD                                                                             W BLOOMFIELD       MI 48323‐3248
TINGSON, PETE D               13979 SUNSET ST                                                                               LIVONIA            MI 48154‐4337
TINGSTAD, CAROLYN J           2910 GOLDFINCH ST                                                                             ROCHESTER HILLS    MI 48309‐3435
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                                          Part 37 of 40 Pg 181 of 901
Name                                  Address1                         Address2                        Address3          Address4                 City            State Zip
TINGUE DELPHIN J (484895)             KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                              CLEVELAND        OH 44114
                                                                       BOND COURT BUILDING
TINGUE, BROWN AND COMPANY             535 N MIDLAND AVE                                                                                           SADDLE BROOK    NJ 07663‐5505
TINGUE, DELPHIN J                     KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                               CLEVELAND       OH 44114
                                                                       BOND COURT BUILDING
TINGUE, DOUGLAS                       11819 SPARKS RD                                                                                             FREEDOM         NY    14065‐9721
TINH DINH                             11805 COPPER TRAILS LN                                                                                      OKLAHOMA CITY   OK    73170‐4465
TINH T DINH                           11805 COPPER TRAILS LN                                                                                      OKLAHOMA CITY   OK    73170‐4465
TINI, SCARLETT M                      6213 PIGEON COVE RD                                                                                         NEEDMORE        PA    17238‐8750
TINIA CLARK                           711 COUNTY HIGHWAY 437                                                                                      SIKESTON        MO    63801‐8104
TINICH, ROBERT A                      469 CIRCLEWOOD DR                                                                                           VENICE          FL    34293‐7008
TINICUM CAPITAL PARTNERS II LP        5190 OLD EASTON HWY                                                                                         DANBORO         PA    18916
TINICUM CAPITAL PARTNERS II LP        NO 426‐1 KUNJIA RD                                                                 KUNSHAN JIANGSU CN
                                                                                                                         215300 CHINA (PEOPLE'S
                                                                                                                         REP)
TINICUM CAPITAL PARTNERS II LP        800 3RD AVE FL 40                                                                                           NEW YORK        NY    10022‐7603
TINIUS OLSE/OLSEN RD                  PO BOX 429                       OLSEN ROAD                                                                 WILLOW GROVE    PA    19090‐0429
TINIUS OLSEN TESTING MACHINE C        1065 EASTON RD                   PO BOX 1009                                                                HORSHAM         PA    19044‐3300
TINIUS OLSEN TESTING MACHINE CO INC   PO BOX 1009                                                                                                 HORSHAM         PA    19044‐8009

TINKA, GEORGE R                       1041 TIMBERLANE ST                                                                                          LAKE ORION      MI    48360‐1105
TINKA, MELVA                          1110 VINEWOOD                                                                                               AUBURN HILLS    MI    48326‐1645
TINKA, MELVA                          1110 VINEWOOD ST                                                                                            AUBURN HILLS    MI    48326‐1645
TINKA, SUZANNE L                      PO BOX 186                                                                                                  CLARKSTON       MI    48347‐0186
TINKEL, GLEN O                        713 N 700 W                                                                                                 SWAYZEE         IN    46986‐9763
TINKEL, MELVIN G                      416 HAY DR SW APT D1                                                                                        DECATUR         AL    35603‐1380
TINKELENBERG, GERHARD                 1704 MAXINE ST NE                                                                                           ALBUQUERQUE     NM    87112‐4437
TINKER CREDIT UNION                   ATTN: SUPPORT OPERATIONS         PO BOX 45750                                                               TINKER AFB      OK    73145‐0750
TINKER DONALD                         827 S GAY ST                                                                                                LONGMONT        CO    80501‐6312
TINKER FEDERAL CREDIT UNION           FOR DEPOSIT IN THE A/C OF        PO BOX 45750                    SANDRA D MCNEIL                            OKLAHOMA CITY   OK    73145‐0750
TINKER, CHARLES                       379 MT. PISGAH RD                                                                                           ROCK SPRING     GA    30796
TINKER, CHARLOTTE M                   362 APRICOTT ST.                                                                                            SHELBY          MI    49455
TINKER, CURT L                        12258 ARCHDALE ST                                                                                           DETROIT         MI    48227‐1124
TINKER, DENNIS F                      69645 52ND ST                                                                                               LAWRENCE        MI    49064‐8748
TINKER, DONALD L                      3000 SURREY RIDGE RD                                                                                        CLARKSVILLE     TN    37043‐7878
TINKER, DUANE I                       5951 LEISURE SOUTH DR SE                                                                                    GRAND RAPIDS    MI    49548‐6857
TINKER, EDWARD E                      1310 CUMBERLAND RD                                                                                          JEWETT           IL   62436‐1024
TINKER, EILEEN W                      974 PEAR TREE LN                                                                                            WEBSTER         NY    14580‐8918
TINKER, FELECIA C                     1008 PEMBROOK RD                                                                                            CLEVELAND       OH    44121‐1404
TINKER, JAMES W                       5037 KELLY RD                                                                                               FLINT           MI    48504
TINKER, JEANETTE I                    10576 GLENN AVE.                                                                                            ST. HELEN       MI    48656‐9608
TINKER, KEVIN L                       1117 RINN ST                                                                                                BURTON          MI    48509‐2335
TINKER, KEVIN LEE                     1117 RINN ST                                                                                                BURTON          MI    48509‐2335
TINKER, LARRY M                       21545 HIGHVIEW ST                                                                                           CLINTON TWP     MI    48036‐2554
TINKER, LASHAWN D                     14445 BRAMELL ST                                                                                            DETROIT         MI    48223‐2581
TINKER, LOUIS R                       1008 PEMBROOK RD                                                                                            CLEVELAND HTS   OH    44121‐1404
TINKER, MARY                          1009 AVERY CREEK DR                                                                                         WOODSTOCK       GA    30188
TINKER, MARY E                        8307 CAMELOT BLVD                                                                                           MT MORRIS       MI    48458
TINKER, MILDRED L                     5891 W ELLISON RD                                                                                           STERLING        MI    48659‐9634
TINKER, MILDRED L                     5891 ELLISON RD                                                                                             STERLING        MI    48659‐9634
TINKER, RENNIE L                      3000 SURREY RIDGE RD                                                                                        CLARKSVILLE     TN    37043‐7878
TINKER, RICHARD A                     10314 BEARD RD 474                                                                                          BYRON           MI    48418
                                      09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                       Part 37 of 40 Pg 182 of 901
Name                                    Address1                         Address2                      Address3   Address4              City                State Zip
TINKER, RITA M                          2971 MALIBU DR RD #5                                                                            WARREN               OH 44481
TINKER, ROBERT KEITH                    10576 GLENN AVE                                                                                 SAINT HELEN          MI 48656
TINKER, RYAN T                          3141 LYNWOOD DR NW                                                                              WARREN               OH 44485‐1308
TINKER, STELLA R                        121 BILL MARTIN RD                                                                              CHUCKEY              TN 37641‐2049
TINKER, THELMA                          258 LINVILLE RD                                                                                 ERWIN                TN 37650‐4223
TINKER, TIMOTHY C                       1249 NESTLE TRL                                                                                 LAWRENCEVILLE        GA 30045‐2334
TINKER, TIMOTHY CARTER                  1249 NESTLE TRL                                                                                 LAWRENCEVILLE        GA 30045‐2334
TINKER, TIMOTHY W                       3713 AUGUSTA ST                                                                                 FLINT                MI 48532‐5272
TINKER, TIMOTHY WILLIAM                 3713 AUGUSTA ST                                                                                 FLINT                MI 48532‐5272
TINKEY, DONALD J                        4420 ASPEN DR                                                                                   YOUNGSTOWN           OH 44515‐5324
TINKEY, DWAYNE K                        1505 W 5 POINT HWY                                                                              CHARLOTTE            MI 48813‐9530
TINKEY, GARY W                          1625 WEST VIEW AVE               APT #13                                                        SALEM                OH 44460
TINKEY, KAREN R                         322 TAYLOR AVE                                                                                  GIRARD               OH 44420‐3262
TINKEY, MERRIE J                        208 LANSING RD APT 12                                                                           POTTERVILLE          MI 48876‐9746
TINKEY, PAMELA K                        9599 CHAUMONT DR                                                                                COMMERCE TOWNSHIP    MI 48382‐3628
TINKEY, ROGER L                         237 S NELSON ST APT 11                                                                          POTTERVILLE          MI 48876‐9749
TINKHAM JR, CARL E                      900 S LEXINGTON SPRINGMILL RD                                                                   MANSFIELD            OH 44903‐8651
TINKHAM, DAVID H                        7335 HICKORY DR                                                                                 HAMBURG              NY 14075‐6913
TINKHAM, ELEANORE M                     36 ISABELLE RD                                                                                  CHEEKTOWAGA          NY 14225‐1329
TINKHAM, TROY S.                        202 S LEXINGTON SPRINGMILL RD                                                                   MANSFIELD            OH 44906‐1330
TINKIS, GRACIE R                        13333 N COTTONWOOD AVE                                                                          REED CITY            MI 49677‐9405
TINKIS, JAMES F                         13333 N COTTONWOOD AVE                                                                          REED CITY            MI 49677‐9405
TINKLE, CAROL J                         6364 LODIMEADOW DR                                                                              SALINE               MI 48176‐9761
TINKLE, JAMES D                         906 N OXFORD DR                                                                                 MARION               IN 46952‐2519
TINKLE, JAMES M                         24411 MARIE DR                                                                                  HAYWARD              CA 94542‐1019
TINKLE, LARRY G                         6412 W 350 S                                                                                    KNIGHTSTOWN          IN 46148
TINKLE, WILLARD F                       11000 SE 95TH ST                                                                                OKLAHOMA CITY        OK 73165‐9200
TINKLENBERG, MARGARET E                 8125 CONTINGO TER                                                                               KALAMAZOO            MI 49009‐9654
TINKLENBERG, MARVIN E                   4771 BARNETT AVE R.R. 2                                                                         SHARPSVILLE          IN 46068
TINKLENBERG, RANDY S                    669 LAKE ST                                                                                     KALAMAZOO            MI 49001‐2943
TINKLENBERG, WILLIA S                   4771 BARNETT AVE R.2                                                                            SHARPSVILLE          IN 46068
TINKLEPAUGH CAROLE N                    610 HIGHLAND TER                                                                                SHEBOVGAN            WI 53083‐4205
TINKLEPAUGH, CAROLE
TINKLEPAUGH, CAROLE N MD                610 HIGHLAND TER                                                                                SHEBOYGAN           WI   53083‐4205
TINKLEPAUGH, JOHN L                     14435 MONTLE RD                                                                                 CLIO                MI   48420‐7928
TINKLEPAUGH, JOSEPH J                   7394 STATE ROUTE 97 LOT 52                                                                      MANSFIELD           OH   44903‐8564
TINKLEPAUGH, KAYLEEN J                  14435 MONTLE RD                                                                                 CLIO                MI   48420‐7928
TINKLEPAUGH, PATRICIA L                 3946 REID AVE LOT D11                                                                           LORAIN              OH   44052‐5472
TINKLER, ADAM H                         399 WEST STREET                                                                                 GROVEPORT           OH   43125‐1347
TINKLER, JOSEPH W                       9811 DAVISON RD                                                                                 MIDDLE RIVER        MD   21220‐3892
TINKLER, MARTHA A                       15308 PRICHARD ST                                                                               LA PUENTE           CA   91744‐3838
TINLI, ROBERT                           250 MARLBORO RD POB243                                                                          OLD BRIDGE          NJ   08857
TINMAN, STEPHEN A                       5424 EMMONS ST                                                                                  FAIRBORN            OH   45324‐1916
TINNEL, RUTH E.                         144 MARNEY COVE RD                                                                              KINGSTON            TN   37763‐6213
TINNELL THOMAS                          6400 CLIFFSIDE DR                                                                               FORT WORTH          TX   76134‐2720
TINNELLY TERANCE A (ESTATE OF) (660527) HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST , 17TH FLOOR                                    PHILADELPHIA        PA   19103

TINNELLY, JOSEPHINE N                31831 GRAND RIVER, D‐16                                                                            FARMINGTON          MI 48336‐4137
TINNELLY, TERANCE A                  HOWARD BRENNER & GARRIGAN‐NASS      1608 WALNUT ST, 17TH FLOOR                                     PHILADELPHIA        PA 19103

TINNER BEAT                          STREHLGASSE 18                                                               8547 GACHNANG
                                                                                                                  SWITZERLAND
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                      Part 37 of 40 Pg 183 of 901
Name                             Address1                          Address2                     Address3                     Address4              City             State Zip
TINNERMAN PAL/HAMILT             686 PARKDALE AVE N                                                                          HAMILTON ON L8N 5Z4
                                                                                                                             CANADA
TINNERMAN PAL/HAMILT             1060 W 130TH ST                                                                                                   BRUNSWICK        OH 44212‐2316
TINNERMAN PALNUT                 ENGINEERED PROD CANADA CORP       FMLY EATON YALE LTD          686 PARKDALE AVE N           HAMILTON CANADA ON
                                                                                                                             L8N 3K1 CANADA
TINNERMAN PALNUT COMPONENT       PO BOX 10                                                                                                         BRUNSWICK        OH 44212‐0010
ENGINEER
TINNERMAN PALNUT COMPONENT       GENE SURNIAK                      PO BOX 10                                                                       BRUNSWICK        OH 44212‐0010
ENGINEER
TINNERMAN PALNUT COMPONENT       152 GLEN RD                                                                                                       MOUNTAINSIDE      NJ   07092
ENGINEER
TINNERMAN PALNUT COMPONENT       525 MOUNT CARMEL AVE                                                                                              FLEMINGSBURG      KY   41041‐1356
ENGINEER
TINNERMAN PALNUT COMPONENT       6317 EUCLID ST                                                                                                    MARLETTE          MI 48453‐1426
ENGINEER
TINNERMAN PALNUT COMPONENT       686 PARKDALE AVE N                                                                          HAMILTON ON L8H 5Z4
ENGINEER                                                                                                                     CANADA
TINNERMAN PALNUT COMPONENT       800 W COUNTY ROAD 250 S                                                                                           LOGANSPORT        IN   46947‐8269
ENGINEER
TINNERMAN PALNUT COMPONENT       GENE SURNIAK                      1060 WEST 130 STREET                                                            BRIGHTON          MI 48116
ENGINEER
TINNERMAN PALNUT COMPONENT       GENE SURNIAK                      152 GLEN ROAD                                                                   MOUNTAINSIDE      NJ   07092
ENGINEER
TINNERMAN PALNUT COMPONENT       MARTY LITTLETON                   525 MOUNT CARMEL AVE         SUBSIDIARY OF TEXTRON INC.                         FLEMINGSBURG      KY   41041‐1356
ENGINEER
TINNERMAN PALNUT COMPONENT       MARTY LITTLETON                   SUBSIDIARY OF TEXTRON INC.   525 MT CARMEL AVE                                  PEORIA HEIGHTS    IL   61614
ENGINEER
TINNERMAN PALNUT COMPONENT       MIKE SPACCAROTELLA                1060 WEST 130TH STREET                                 ST. CATHERINES ON
ENGINEER                                                                                                                  CANADA
TINNERMAN PALNUT COMPONENT       STEPHANIE FARMER                  686 PARKDALE AVENUE, NORTH                             HAMILTON ON L8H 5Z4
ENGINEER                                                                                                                  CANADA
TINNERMAN PALNUT COMPONENT       STEPHANIE FARMER                  PRECISION STAMPING           800 W COUNTY RD 250 S POB TIMISOARA 300522
ENGINEER                                                                                        660                       ROMANIA
TINNERMAN PALNUT COMPONENT       1060 W 130TH ST                                                                                                   BRUNSWICK        OH 44212‐2316
ENGINEER
TINNERMAN PALNUT ENGINEERED      MIKE SPACCAROTELLA                1060 WEST 130TH STREET                                    ST. CATHERINES ON
                                                                                                                             CANADA
TINNERMAN PALNUT ENGINEERED PR   GENE SURNIAK                      POP BOX 10                                                                      BRUNSWICK        OH 44212‐0010
TINNERMAN PALNUT ENGINEERED PR   GENE SURNIAK                      152 GLEN ROAD                                                                   MORRISTOWN       IN 46161
TINNERMAN PALNUT ENGINEERED PR   GENE SURNIAK                      1060 WEST 130 STREET                                                            BRIGHTON         MI 48116
TINNERMAN PALNUT ENGINEERED PR   STEPHANIE FARMER                  686 PARKDALE AVENUE, NORTH                                HAMILTON ON L8H 5Z4
                                                                                                                             CANADA
TINNERMAN PALNUT ENGINEERED      6317 EUCLID ST                                                                                                    MARLETTE          MI 48453‐1426
PRODUCT
TINNERMAN PALNUT ENGINEERED      1060 W 130TH ST                                                                                                   BRUNSWICK        OH 44212‐2316
PRODUCT
TINNERMAN PALNUT ENGINEERED      525 MOUNT CARMEL AVE                                                                                              FLEMINGSBURG      KY   41041‐1356
PRODUCT
TINNERMAN PALNUT ENGINEERED      686 PARKDALE AVE N                                                                          HAMILTON ON L8H 5Z4
PRODUCT                                                                                                                      CANADA
TINNERMAN PALNUT ENGINEERED      800 W COUNTY ROAD 250 S                                                                                           LOGANSPORT        IN   46947‐8269
PRODUCT
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                 Part 37 of 40 Pg 184 of 901
Name                          Address1                        Address2                        Address3   Address4         City            State Zip
TINNERMAN PALNUT ENGINEERED   PO BOX 10                                                                                   BRUNSWICK        OH 44212‐0010
PRODUCTS
TINNERMAN PALNUT ENGINEERED   PO BOX 92368                                                                                CLEVELAND       OH 44193‐0003
PRODUCTS INC
TINNERMAN/ BRUNSWICK          1060 W 130TH ST                                                                             BRUNSWICK       OH 44212‐2316
TINNERMAN/MASSILLON           240 6TH ST NW                   ENGINEERED FASTENERS DIVISION                               MASSILLON       OH 44647‐5413

TINNES, JOHN F                531 LAKE PARK DR                                                                            MYRTLE BEACH    SC   29588‐6817
TINNEY AUTOMOTIVE CORP.       11249 W CARSON CITY RD (M57)                                                                GREENVILLE      MI   48838
TINNEY AUTOMOTIVE CORP.       GILBERT TINNEY                  11249 W CARSON CITY RD (M57)                                GREENVILLE      MI   48838
TINNEY LAW FIRM PLLC          222 CAPITOL ST                  STE 500                                                     CHARLESTON      WV   25301‐2233
TINNEY, BEVERLY J             1234 JANICE LN                                                                              BEAVERTON       MI   48612‐8844
TINNEY, JOHN E                8147 MORRISH RD                                                                             FLUSHING        MI   48433‐8862
TINNEY, MARGUERITE            208 MCGARRY DR                                                                              LANSING         MI   48911‐5049
TINNEY, ROBIN C               2418 DIAMOND OAKS DR                                                                        GARLAND         TX   75044‐7316
TINNEY, WILLIAM E             8400 MANSION BLVD                                                                           MENTOR          OH   44060‐4142
TINNIE BURCHAM                737 N MOUNTAIN GROVE RD                                                                     ALMA            AR   72921‐7775
TINNIE HULSEY                 2792 BLACKSHEAR TRAIL                                                                       HAWKINSVILLE    GA   31036
TINNIE POPP                   10593 LYNN LN UNIT 6                                                                        ALEXANDRIA      KY   41001‐7585
TINNIE SMITH                  2101 HOWARD AVE                                                                             FLINT           MI   48503‐5808
TINNIN J M                    8435 E HAZELWOOD ST                                                                         SCOTTSDALE      AZ   85251‐1866
TINNIN JR, FRANKLIN D         4405 ESTA DR                                                                                FLINT           MI   48506‐1453
TINNIN JR, FRANKLIN DELANO    4405 ESTA DR                                                                                FLINT           MI   48506‐1453
TINNIN, BRETT R               1190 ALTON AVE                                                                              FLINT           MI   48507‐4797
TINNIN, BRETT RYAN            1190 ALTON AVE                                                                              FLINT           MI   48507‐4797
TINNIN, CHARLES J             262 BROWNSTONE DR                                                                           FARMINGTON      MO   63640‐7672
TINNIN, CHARLES J             1324 BEECH SPG RD                                                                           CADIZ           KY   42211‐8380
TINNIN, DALE E                11330 OAK RD                                                                                OTISVILLE       MI   48463‐9724
TINNIN, DALE R                102 RENFREW AVE                                                                             MOUNT MORRIS    MI   48458‐8893
TINNIN, DALE RICHARD          102 RENFREW AVENUE                                                                          MOUNT MORRIS    MI   48458‐8893
TINNIN, DAVID H               711 E RIVER RD                                                                              FLUSHING        MI   48433‐2142
TINNIN, EDNA J                18001 WILSON ST 103                                                                         GRAND BLANC     MI   48439
TINNIN, FRANK D               3085 N GENESEE RD APT 225                                                                   FLINT           MI   48506‐2192
TINNIN, HUGH E                7288 CHAIN LAKE DR                                                                          SOUTH BRANCH    MI   48761‐9607
TINNIN, IRENE M               11330 OAK RD                                                                                OTISVILLE       MI   48463‐9724
TINNIN, KAY                   2183 MORRISH                                                                                BURTON          MI   48519‐1057
TINNIN, KAY                   2183 MORRISH ST                                                                             BURTON          MI   48519‐1057
TINNIN, KENNETH L             2340 HARMONY DR                                                                             BURTON          MI   48509‐1164
TINNIN, LANNY L               2183 MORRISH ST                                                                             BURTON          MI   48519
TINNIN, LOIS J                10357 ATABERRY DR                                                                           CLIO            MI   48420‐1904
TINNIN, MADALYN C             3016 LAKE SHORE DR UNIT B                                                                   INDIANAPOLIS    IN   46205
TINNIN, MELVIN L              10357 ATABERRY DR                                                                           CLIO            MI   48420‐1904
TINNIN, MICHAEL D             6099 LAKE RD                                                                                MILLINGTON      MI   48746‐9209
TINNIN, NANCY R               6339 SQUIRE LAKE DR                                                                         FLUSHING        MI   48433‐2382
TINNIN, RICHARD D             125 HIGHWAY 164                                                                             ARBYRD          MO   63821‐9109
TINNIN, RUTH                  3085 N GENESEE RD 235                                                                       FLINT           MI   48506‐2192
TINNIN, STEVEN A              8055 BEECHER RD                                                                             FLUSHING        MI   48433‐9424
TINNIN, STEVEN ALVA           8055 BEECHER RD                                                                             FLUSHING        MI   48433‐9424
TINNIRELLO PAUL               4 CORYELL COURT                                                                             FLEMINGTON      NJ   08822‐1997
TINNIRELLO, ALICE F           11 POMFRET WALK                                                                             PLEASANT HILL   CA   94523‐2075
TINNIRELLO, GAETANO           4527 MADISON AVE                                                                            BROOKFIELD      IL   60513‐2361
TINNON JR, CLEO               3780 LOTHROP ST                                                                             DETROIT         MI   48206
                                  09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                    Part 37 of 40 Pg 185 of 901
Name                              Address1                          Address2                      Address3   Address4         City            State Zip
TINNON, GARY B                    1535 TERRELL RD                                                                             BARLOW           KY 42024‐9647
TINNON, GARY BRUCE                1535 TERRELL ROAD                                                                           BARLOW           KY 42024‐9647
TINNON, KAREN A                   217 CAMP NIX RD                                                                             LOBELVILLE       TN 37097‐4223
TINO BENITEZ JR                   4380 HURDS CORNER RD                                                                        CASS CITY        MI 48726‐9495
TINO BUCCHARE                     1211 E EVELYN AVE                                                                           HAZEL PARK       MI 48030‐2367
TINO IMBESI                       305 HANOVER AVE                                                                             LIVERPOOL        NY 13088‐6317
TINO J PATTI                      602 STEINHAGEN RD                                                                           WARRENTON        MO 63383‐1113
TINO PATTI                        602 STEINHAGEN RD                                                                           WARRENTON        MO 63383‐1113
TINO R DOMINGUEZ                  7770RED MAPLE COURT                                                                         DAYTON           OH 45424‐1920
TINO'S AUTO CENTER                315R W RAILROAD AVE                                                                         ORANGE COVE      CA 93646
TINO, LILIA                       1930 LAWRENCE RD APT B‐45                                                                   HAVERTOWN        PA 19083‐1741
TINO, MARY                        212 ELM ST                                                                                  NORTH EASTON     MA 02356‐1115
TINO, MARY A                      420 PRESCOTT RD                                                                             VALPARAISO       IN 46385‐8211
TINOCO JR, ALBERT R               19120 E 14TH TERRACE DR                                                                     INDEPENDENCE     MO 64056‐1216
TINOCO, CESARIO                   AULL SHERMAN WORTHINGTON GIORZA & PO BOX 280                                                LEXINGTON        MO 64067‐0280
                                  HAMILTON
TINOR, JUDITH M                   1007 S WILSON AVE                                                                           ROYAL OAK       MI   48067‐5015
TINORA ATHLETIC BOOSTERS          5921 DOMERSVILLE RD                                                                         DEFIANCE        OH   43512‐9121
TINORA HIGH SCHOOL                TINORIAN JUDY BROWN               5921 DOMERSVILLE RD                                       DEFIANCE        OH   43512‐9121
TINORA HIGH SCHOOL AFTER PROM     5921 DOMERSVILLE RD                                                                         DEFIANCE        OH   43512‐9121
TINOZZI MASSIMO                   VIA DOMENICO PURIFICATO, 42 00126                                                           ROME
TINS` METAL MANUFACTORY LIMITED
TINSEY MOSLEY                     433 DEARBORN AVE                                                                            DAYTON          OH   45417‐2001
TINSKY, WILLIAM J                 5506 REDWOOD RD                                                                             COLUMBUS        OH   43229‐4410
TINSLEY BOGGS                     1234 HIGHWAY 139                                                                            DANDRIDGE       TN   37725‐5926
TINSLEY DAVID A                   8601 W MCCLURE RD                                                                           MONROVIA        IN   46157‐9225
TINSLEY JAMES JACKSON (357001)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                    STREET, SUITE 600
TINSLEY JR, ARTHUR L              PO BOX 7563                                                                                 DETROIT         MI   48207‐0563
TINSLEY JR, JOHN H                3104 CHAUCER DR                                                                             OKLAHOMA CITY   OK   73120‐2228
TINSLEY JR, MARION A              1580 KESSLER BOULEVARD WEST                                                                 INDIANAPOLIS    IN   46228
TINSLEY JR, THOMAS                124 LINDEN AVE                                                                              ROYAL OAK       MI   48073‐3428
TINSLEY JR, THOMAS R              103 COLLINDALE AVE NW                                                                       GRAND RAPIDS    MI   49504‐5808
TINSLEY JR., JAMES A              3361 DALE RD                                                                                SAGINAW         MI   48603‐3284
TINSLEY JR., JAMES ALBERT         3361 DALE RD                                                                                SAGINAW         MI   48603‐3284
TINSLEY KELLY                     1142 W 900 S                                                                                FAIRMOUNT       IN   46928‐9375
TINSLEY, ARTHUR                   8134 EDGEWOOD ST                                                                            DETROIT         MI   48213‐2104
TINSLEY, AUBREY L                 2897 EMMONS RIDGE RD                                                                        FRENCH LICK     IN   47432‐7104
TINSLEY, BOBBY                    2992 WOODROW AVE APT 5                                                                      CINCINNATI      OH   45211‐7843
TINSLEY, BOBBY D                  ERNSTER CLETUS P III              2700 POST OAK BLVD STE 1350                               HOUSTON         TX   77056‐5785
TINSLEY, BRIAN K                  401 PHEASANT CIR                                                                            BEAR            DE   19701‐2723
TINSLEY, CHARLES L                1192 S STATE ROAD 67                                                                        MARTINSVILLE    IN   46151‐6234
TINSLEY, CYNTHIA A                3361 DALE RD                                                                                SAGINAW         MI   48603‐3284
TINSLEY, DAVID E                  8601 W MCCLURE RD                                                                           MONROVIA        IN   46157‐9225
TINSLEY, DEBORAH J                4045 SUSY CT                                                                                INDIANAPOLIS    IN   46221‐3446
TINSLEY, DONALD P                 6260 HIGHLAND GREEN DR                                                                      MEDINA          OH   44256‐7899
TINSLEY, EARLEAN                  19020 BURT ROAD                                                                             DETROIT         MI   48219‐5301
TINSLEY, EARLEAN                  19020 BURT RD                                                                               DETROIT         MI   48219‐5301
TINSLEY, EDWIN J                  1110 CASTLE HARBOUR WAY UNIT 2A                                                             GLEN BURNIE     MD   21060‐0920
TINSLEY, EDWINA P                 15055 COYLE ST                                                                              DETROIT         MI   48227‐2601
TINSLEY, FAY                      GUY WILLIAM S                     PO BOX 509                                                MCCOMB          MS   39649‐0509
TINSLEY, FRANCIS                  SIMMONS FIRM                      PO BOX 521                                                EAST ALTON      IL   62024‐0519
                          09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                             Part 37 of 40 Pg 186 of 901
Name                      Address1                        Address2                          Address3   Address4         City            State Zip
TINSLEY, FREDDIE          8181 JUNIPER AVE                                                                              NEWARK           CA 94560‐2705
TINSLEY, GERTRUDE         2512 W BOSTON BLVD                                                                            DETROIT          MI 48206‐3018
TINSLEY, GUY P            121 LOG YARD LN                                                                               TOWNSEND         DE 19734‐9404
TINSLEY, HARRY E          2666 WELLS HOLLOW RD                                                                          TROY             MO 63379‐4912
TINSLEY, HAYWOOD          1532 OWEN ST                                                                                  SAGINAW          MI 48601‐2850
TINSLEY, HERBERT          6991 TANYA TER                                                                                REYNOLDSBURG     OH 43068‐1758
TINSLEY, HERMAN J         1320 CAMERON DR                                                                               MOBILE           AL 36695‐4474
TINSLEY, JACQUELINE J     9525 S TRAFALGAR DR                                                                           OKLAHOMA CITY    OK 73139‐5304
TINSLEY, JAMES A          4606 E 104TH ST                                                                               KANSAS CITY      MO 64137‐1546
TINSLEY, JAMES A          27 LONG DR                                                                                    EATON            OH 45320
TINSLEY, JAMES A          4955 CENTURY DR APT 3                                                                         SAGINAW          MI 48603‐5614
TINSLEY, JAMES JACKSON    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510‐2212
                                                          STREET, SUITE 600
TINSLEY, JAMES M          908 W CORA LN                                                                                 FREMONT         IN   46737‐7616
TINSLEY, JERLINE D        527 BARREN TRACE RD                                                                           GLASGOW         KY   42141‐7096
TINSLEY, JOSEPHINE        2441 STARLITE DR                                                                              SAGINAW         MI   48603‐2543
TINSLEY, KATHRYN M        6779 LOPER DR                                                                                 PLYMOUTH        MI   48170‐5802
TINSLEY, KEVIN D          3421 BRISBANE DRIVE                                                                           LANSING         MI   48911‐1310
TINSLEY, LEON C           11117 BEECH ST                                                                                BROOKVILLE      IN   47012‐5154
TINSLEY, LINUEL G         1561 COUNTY ROAD 481                                                                          RECTOR          AR   72461‐8552
TINSLEY, LOLA C           4910 BERTHA ST                                                                                INDIANAPOLIS    IN   46241‐0726
TINSLEY, MADELEINE C.     385 WHITTEMORE ST                                                                             PONTIAC         MI   48342‐3169
TINSLEY, MARGARET         112 LENOX DR                                                                                  COLUMBIA        TN   38401‐7273
TINSLEY, MARVIN J         16070 FREEMANVILLE RD                                                                         ALPHARETTA      GA   30004‐2764
TINSLEY, MARY M           5950 LIVINGSTON DR                                                                            TOLEDO          OH   43613‐1710
TINSLEY, MAURICE L        2401 BIRKDALE LN                                                                              KERRVILLE       TX   78028‐6448
TINSLEY, MICKI J          18325 SUMPTER RD                                                                              BELLEVILLE      MI   48111‐8723
TINSLEY, MICKI JO         18325 SUMPTER RD                                                                              BELLEVILLE      MI   48111‐8723
TINSLEY, NINA J           2559 CHASEWAY CT                                                                              INDIANAPOLIS    IN   46268‐1285
TINSLEY, NORMAN R         5287 N BURKHART RD                                                                            HOWELL          MI   48855‐7703
TINSLEY, OPHELIA          125 ROXBOROUGH RD                                                                             ROCHESTER       NY   14619‐1417
TINSLEY, PATRICIA         4258 W 500 N                                                                                  ANDERSON        IN   46011
TINSLEY, PATRICIA M       123 BULLOCK ST                                                                                SAGINAW         MI   48602‐1625
TINSLEY, RICHARD R        3512 E 400 S                                                                                  ANDERSON        IN   46017‐9708
TINSLEY, ROBERT A         514 BEASTON RD                                                                                MIDDLETOWN      DE   19709
TINSLEY, SARAH K          5614 BAILEY RD                                                                                PLANT CITY      FL   33565‐2440
TINSLEY, STEVE C          3810 W CHAPEL RD                                                                              ABERDEEN        MD   21001‐1117
TINSLEY, THOMAS D         5950 LIVINGSTON DR                                                                            TOLEDO          OH   43613‐1710
TINSLEY, THOMAS I         600 BELLEVUE AVE                                                                              SYRACUSE        NY   13204‐4008
TINSLEY, TILLMAN T        4258 W 500 N                                                                                  ANDERSON        IN   46011‐9248
TINSLEY, VINICE F         88 S BILTMORE AVE                                                                             INDIANAPOLIS    IN   46241‐1216
TINSLEY, WALTER J         457 MOREHOUSE DR                                                                              WILMINGTON      DE   19801‐5740
TINSLEY, WILLIAM E        88 S BILTMORE AVE                                                                             INDIANAPOLIS    IN   46241‐1216
TINSLEY, WILLIAM G        2750 SUNDAY RD                                                                                STOCKBRIDGE     GA   30281‐5323
TINSLEY, YVONNE A         824 HURON AVE                                                                                 DAYTON          OH   45402
TINSLY SMITH              5087 PALOMAR DR                                                                               FLINT           MI   48507‐4526
TINSMAN EDWARD (644279)   BROOKMAN ROSENBERG BROWN &      17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA    PA   19102
                          SANDLER                         30 SOUTH 15TH STREET
TINSMAN, EDWARD           BROOKMAN ROSENBERG BROWN &      17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA    PA 19102
                          SANDLER                         30 SOUTH 15TH STREET
TINSMAN, KENNETH R        1640 N EDON RD                                                                                ALLEN           MI 49227‐9766
TINSMAN, PHILIP L         1103 ORCHARD DR                                                                               HOLLY           MI 48442‐1057
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                  Part 37 of 40 Pg 187 of 901
Name                           Address1                            Address2                     Address3            Address4                City               State Zip
TINSON I I, DONALD E           6435 SPAULDING RD                                                                                            HOWELL              MI 48855‐8277
TINSON JR, RALPH J             486 SOUTH ALGER R 2                                                                                          ITHACA              MI 48847
TINSON, CALVIN                 15570 SILVER SPUR RD                                                                                         RIVERSIDE           CA 92504‐5781
TINSON, DONALD E               19614 SW 88TH LOOP                                                                                           DUNNELLON           FL 34432‐2318
TINSON, EMERY M                4310 OLD GROVE DR                                                                                            MANSFIELD           TX 76063‐8631
TINSON, EMERY M                14201 HOBBY LN APT 15301                                                                                     FORT WORTH          TX 76155‐3577
TINSON, GLEN A                 7853 ELMWOOD RD # F18                                                                                        PORTLAND            MI 48875
TINSON, HARRY K                11581 E PRIOR RD                                                                                             GAINES              MI 48436‐8810
TINSON, JOYCE D                14201 HOBBY LN APT 16301                                                                                     FORT WORTH          TX 76155‐3577
TINSON, JOYCE DOZIER           14201 HOBBY LN APT 16301                                                                                     FORT WORTH          TX 76155‐3577
TINTA, ALVIN L                 203 BLUE JACKET RD                                                                                           PERRYSBURG          OH 43551‐6362
TINTERN AUTOMOTIVE             R R 1 VINELAND                                                                       TINTERN / VINELAND ON
                                                                                                                    L0B 2C0 CANADA
TINTI GABRIEL                  5671 CORYDALIS DR                                                                                            SAGINAW            MI   48603‐1685
TINTI JAN                      N2415 VALLEY VIEW RD                                                                                         NORWAY             MI   49870‐2267
TINTI, JACKI ANN               5671 CORYDALIS DR                                                                                            SAGINAW            MI   48603‐1685
TINTI, MARK E                  8537 SADDLEWOOD DR                                                                                           BRIGHTON           MI   48116‐5206
TINTI, MICHAEL J               1633 WENWOOD PKWY                                                                                            FENTON             MI   48430‐1149
TINTI, SUSAN B                 5113 SANDALWOOD CIR                                                                                          GRAND BLANC        MI   48439‐4267
TINTLAND ALAN                  4341 BIRCH ST STE 101                                                                                        NEWPORT BEACH      CA   92660‐1916
TINTORRI, NELLIE R             300 WHITTIER ST                                                                                              GEORGETOWN         IL   61846‐1654
TINY BOUTIQUE BEAUTY SHOP      ATTN: TINA VALAZ                    11415 N SAGINAW ST                                                       MT MORRIS          MI   48458‐2010
TINY FAIR                      11133 SANFORD ST                                                                                             DETROIT            MI   48205‐3793
TINY LASTER                    1717 RUSSETT PL                                                                                              FLINT              MI   48504‐1601
TINY MCGEATHY                  216 CEDAR ST                                                                                                 HEMLOCK            MI   48626‐9352
TINY MCINTOSH                  610 GRANADA AVE                                                                                              MIDDLETOWN         OH   45044‐7328
TINY PAYNE                     2518 SLATON DR                                                                                               GRAND PRAIRIE      TX   75052‐3910
TINY TOT'S PALACE DAY CARE     51 UNIVERSITY DR                                                                                             PONTIAC            MI   48342‐2357
TINZY, CORNELIUS               PORTER & MALOUF PA                  4670 MCWILLIE DR                                                         JACKSON            MS   39206‐5621
TIOGA IND.OF INDIANA 21        PO BOX 111                                                                                                   DECATUR            IN   46733‐0111
TION CTR/NSHVL                 933 VISCO DR                                                                                                 NASHVILLE          TN   37210‐2205
TIONGCO, ANGELINA              310 DALTON BLVD                                                                                              PT CHARLOTT        FL   33952
TIP                            DENNIS LONDECK                      40950 WOODWARD AVE STE 201                                               BLOOMFIELD HILLS   MI   48304‐5127
TIP BROUGHTON                  39332 ZOFIA AVE                                                                                              STERLING HTS       MI   48313‐5803
TIP SHAW                       PO BOX 320249                                                                                                FLINT              MI   48532‐0005
TIP TOP LIQUOR & WINE SHOPPE   4107 W 13 MILE RD                                                                                            ROYAL OAK          MI   48073‐6655
TIP TOP ROOFERS INC            2345 ADAMS DR NW                                                                                             ATLANTA            GA   30318‐1919
TIPALOY INC                    1435 E MILWAUKEE ST                                                                                          DETROIT            MI   48211‐2079
TIPALOY/DETROIT                1435 E MILWAUKEE ST                                                                                          DETROIT            MI   48211‐2009
TIPCO INC                      1 COVENTRY RD                                                                        BRAMPTON ON L6T 4B1
                                                                                                                    CANADA
TIPCO PUNCH INC                6 ROWE CT                                                                                                    HAMILTON           OH   45015‐2211
TIPEI, LETITIA I               105 FLORA DR                                                                                                 CHAMPAIGN          IL   61821‐3214
TIPI, ELLA M                   4405 OAKWOOD AVE                    C/O LAURA L HOIS                                                         DOWNERS GROVE      IL   60515‐2712
TIPLER DENISE                  34372 NEW YORK STREET                                                                                        CLINTON TWP        MI   48035‐3863
TIPLER PATRICIA                TIPLER, PATRICIA                    A. RUSSELL JANKLOW           1700 W RUSSELL ST                           SIOUX FALLS        SD   57104
TIPLER, BRENDA L               PO BOX 1994                                                                                                  MARION             IN   46952‐8394
TIPLER, BRENDA LEE             PO BOX 1994                                                                                                  MARION             IN   46952‐8394
TIPLER, DENISE                 34372 NEW YORK STREET                                                                                        CLINTON TWP        MI   48035‐3863
TIPLER, GERALD L               16800 MURRAY HILL ST                                                                                         DETROIT            MI   48235‐3516
TIPLER, PATRICIA               209 W SPY GLASS DR                                                                                           SIOUX FALLS        SD   57108‐6410
TIPLER, PATRICIA               C/O JANKLOW LAW FIRM PROF. L.L.C.   1700 W. RUSSELL STREET                                                   SIOUX FALLS        SD   57104‐1331
                                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                             Part 37 of 40 Pg 188 of 901
Name                                   Address1                           Address2                   Address3   Address4         City            State Zip
TIPLER, PATRICIA                       A. RUSSELL JANKLOW                 1700 W RUSSELL ST                                      SIOUX FALLS      SD 57104‐1331
TIPMORE, JERROLD L                     4195 MAPLE HILL DR                                                                        GREENWOOD        IN 46143‐9301
TIPMORE, MARY L                        5914 BRADSTON WAY                                                                         INDIANAPOLIS     IN 46237‐2719
TIPOLT, DORIS E                        3259 SEEBALDT                                                                             WATERFORD        MI 48329‐4155
TIPOLT, DORIS E                        3259 SEEBALDT AVE                                                                         WATERFORD        MI 48329‐4155
TIPOLT, HAROLD H                       2838 ORANGE GROVE RD                                                                      WATERFORD        MI 48329‐2965
TIPOLT, JOYCE
TIPOTEX CHEVROLET, INC.                FRANCIS KNAPP                      1600 N EXPY 77‐83                                      BROWNSVILLE     TX   78521
TIPOTEX CHEVROLET, INC.                1600 N EXPY 77‐83                                                                         BROWNSVILLE     TX   78521
TIPOTEX CHEVROLET, INC.                1600 N. EXPRESSWAY 77/83                                                                  BROWNSVILLE     TX   78521
TIPP CITY AREA UNITED FUND             PO BOX 95                                                                                 TIPP CITY       OH   45371‐0095
TIPPAH COUNTY TAX COLLECTOR            102 N MAIN ST RM C                                                                        RIPLEY          MS   38663‐2064
TIPPCANOE COUNTY SHERIFFS                                                 2640 DUNCAN RD                                                         IN   47904
DEPARTMENT
TIPPEL, JOHN M                         1660 OLD ROUTE 8                                                                          POLK            PA   16342‐2206
TIPPELT, DUANE C                       W6093 CAMDEN DR                                                                           NECEDAH         WI   54646‐7818
TIPPEN, THOMAS F                       6561 PHELAN CT                                                                            CLARKSTON       MI   48346‐1251
TIPPENS ELLA (348355) ‐ PRAUSE DANNY   SIMON JEFFREY B                    1201 N WATSON RD STE 145                               ARLINGTON       TX   76006‐6223
DOUGLAS
TIPPETT ADDIS                          3200 KINGS BROOK DR                                                                       FLUSHING        MI   48433‐2484
TIPPETT SR, THOMAS J                   271 DIANE DR                                                                              FLUSHING        MI   48433‐1824
TIPPETT, ADDIS L                       3200 KINGS BROOK DR                                                                       FLUSHING        MI   48433‐2484
TIPPETT, CAROL B                       61284 SPENCER RD                                                                          CASSOPOLIS      MI   49031‐9739
TIPPETT, CHARLES L                     8242 WEATHERFORD AVE                                                                      BROOKSVILLE     FL   34613‐5830
TIPPETT, DONNIE L                      144 W SNOVER RD                                                                           MAYVILLE        MI   48744
TIPPETT, DONNIE L                      8591 MULBERRY RD                                                                          BAXTER          TN   38544
TIPPETT, DOUGLAS A                     2348 MOSLEY ST                                                                            WAYNESBORO      VA   22980‐2382
TIPPETT, ERNEST B                      PO BOX 376                                                                                BROWN CITY      MI   48416‐0376
TIPPETT, ERNEST B                      6921 JOHN ST                                                                              BROWN CITY      MI   48416‐8775
TIPPETT, ERNEST P                      7331 CRYSTAL LAKE DR APT 9                                                                SWARTZ CREEK    MI   48473‐8935
TIPPETT, FRANK K                       5101 SCHLAUD RD                                                                           NORTH BRANCH    MI   48461‐8402
TIPPETT, JAMES E                       4305 MORGAN RD                                                                            MARLETTE        MI   48453‐8917
TIPPETT, JAMES E                       1701 BUNCH DR                                                                             FORT WORTH      TX   76112‐7744
TIPPETT, JERRY W                       15688 MILLIMAN RD                                                                         ROCKWOOD        MI   48173‐9614
TIPPETT, JOHN L                        8591 MULBERRY RD                                                                          BAXTER          TN   38544‐4826
TIPPETT, JOHN P                        36205 62ND AVE S                                                                          ROY             WA   98580‐9244
TIPPETT, KELLI LYN                     144 W SNOVER RD                                                                           MAYVILLE        MI   48744‐9428
TIPPETT, RICHARD E                     2429 GIBLEY PARK RD                                                                       TOLEDO          OH   43617‐2254
TIPPETT, RONALD G                      23261 EAGLE RDG                                                                           MISSION VIEJO   CA   92692‐1697
TIPPETT, STEPHEN
TIPPETT, TERRY A                       10031 WILLOW RD                                                                           WILLIS          MI   48191‐9786
TIPPETT, THOMAS J                      3324 DUFFIELD RD                                                                          FLUSHING        MI   48433‐9709
TIPPETT, WILLIAM F                     2740 MAPLE GROVE SCHOOL RD                                                                OCONTO          WI   54153‐9391
TIPPETT, WILLIAM FRANCIS               2740 MAPLE GROVE SCHOOL RD                                                                OCONTO          WI   54153‐9391
TIPPETT, WILMA J                       15688 MILLIMAN RD                                                                         ROCKWOOD        MI   48173‐9614
TIPPETT‐MACPHEE, MARIE A               9070 DUFFIELD RD                                                                          MONTROSE        MI   48457‐9116
TIPPETT‐RHODES, LATANYA                760 CHERRY GROVE RD                                                                       CANTON          MI   48188
TIPPIE, CAROLE                         258 CENTER ST APT 2                                                                       MASSENA         NY   13662‐1504
TIPPIE, CECELIA                        2314 56TH STREET SOUTH                                                                    GULFPORT        FL   33707
TIPPIE, LOUANNA M                      233 HIGHLAND AVE                                                                          BELLEVUE        OH   44811‐1938
TIPPIE, MARGARET L.                    1525 LINDSLEY STREET                                                                      SANDUSKY        OH   44870‐3421
TIPPIN, BILLY C                        5334 AUSABLE DR                                                                           HALE            MI   48739‐8727
                            09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                             Part 37 of 40 Pg 189 of 901
Name                        Address1                      Address2                      Address3   Address4         City             State Zip
TIPPIN, LOMA V              5891 DIXIE HWY/BLDG E134                                                                CLARKSTON         MI 48346‐3314
TIPPIN, LYNN B              445 SAINT JOHNS RD                                                                      TAVARES           FL 32778‐5119
TIPPIN, MICHAEL R           3505 HERRICK ST                                                                         FLINT             MI 48503‐6616
TIPPIN, SHIRLEY A           5334 N AUSABLE DR                                                                       HALE              MI 48739‐8727
TIPPIN, WAYNE L             445 SAINT JOHNS RD                                                                      TAVARES           FL 32778‐5119
TIPPING POINT THEATRE CO    361 E CADY ST                                                                           NORTHVILLE        MI 48167‐1663
TIPPING, RODERICK G         78234 BROOKHAVEN LN                                                                     PALM DESERT       CA 92211‐2734
TIPPINS JAMES               380 S COURTENAY PKWY                                                                    MERRITT ISLAND    FL 32952‐4847
TIPPINS JR, ANDREW          PO BOX 432202                                                                           PONTIAC           MI 48343‐2202
TIPPINS, ANDREW             PO BOX 432202                                                                           PONTIAC           MI 48343‐2202
TIPPINS, LIZ C              1066 W 41ST ST                                                                          HIALEAH           FL 33012‐7250
TIPPINS, OTIS               133 ODETTE ST                                                                           FLINT             MI 48503‐1063
TIPPINS, PATRICIA Y         PHILLIPS RICHARD D            PO BOX 69                                                 LUDOWICI          GA 31316‐0069
TIPPINS, SHEILA M           W8609 WHITE CROW RD                                                                     FT ATKINSON       WI 53538
TIPPIT JR, LOUIS            7041 LAUPHER LN                                                                         HAZELWOOD         MO 63042‐3000
TIPPIT KELVIN               7303 WINDSOR LAKES PLACE                                                                INDIANAPOLIS      IN 46237‐8317
TIPPIT, KELVIN D            8448 DEER FIELD DR 18                                                                   DAVISON           MI 48423
TIPPITT JR, MASON           1001 WILTON DR                                                                          MONROE            LA 71202
TIPPITT, EDWARD             3133 WYOMING AVE                                                                        FLINT             MI 48506‐2559
TIPPITT, RICHARD K          PO BOX 945                                                                              TRUMANN           AR 72472‐0945
TIPPITT, WINFORD            12060 WILSON RD                                                                         OTISVILLE         MI 48463‐9700
TIPPLE EARL W               3531 HAYES RD                                                                           DORSET            OH 44032‐9755
TIPPMANN, KATRINA MAE       335 FIELD ST                                                                            FORT WAYNE        IN 46805‐1931
TIPPMANN, LAURENCE FAMILY   FMLY TIPPMANN PROPERTIES      9009 COLDWATER RD                                         FORT WAYNE        IN 46825
PARTNERSHIP
TIPPS, JERRY A              318 SHEFFIELD PL                                                                        FRANKLIN         TN   37067‐4452
TIPPY BURKE                 454 MONTROSE DR                                                                         ROMEOVILLE       IL   60446‐1542
TIPPY, ANNIE G              19709 HOLKE RD                                                                          INDEPENDENCE     MO   64057‐1465
TIPPY, SUSAN M              47045 STONECREST DRIVE                                                                  PLYMOUTH         MI   48170‐3432
TIPS & CLIPS                G4381 S SAGINAW ST                                                                      BURTON           MI   48529‐2068
TIPS CADILLAC               1115 VAN NESS AVE                                                                       TORRANCE         CA   90501‐2236
TIPTON BILL                 PO BOX 1315                                                                             MARSHALL         TX   75671‐1315
TIPTON COUNTY TRUSTEE       PO BOX 487                                                                              COVINGTON        TN   38019‐0487
TIPTON EDWARD (507613)      COON BRENT W                  PO BOX 4905                                               BEAUMONT         TX   77704‐4905
TIPTON I I, LISA A          9340 CREEKWOOD LAKE TRL                                                                 GRAND BLANC      MI   48439‐9374
TIPTON II, LESLIE H         9340 CREEKWOOD LAKE TRL                                                                 GRAND BLANC      MI   48439‐9374
TIPTON JR, CARL             4418 SKYLARK DRIVE                                                                      ENGLEWOOD        OH   45322‐3740
TIPTON JR, DANIEL P         1651 N GRAND TRAVERSE ST                                                                FLINT            MI   48503‐1158
TIPTON JR, DANIEL PERRY     1651 N GRAND TRAVERSE ST                                                                FLINT            MI   48503‐1158
TIPTON JR, EARL W           4236 MAGAZINE AVE                                                                       HUNTINGTON       WV   25704‐1118
TIPTON JR, FRED L           8105 MEYERS ROAD                                                                        MIDDLETOWN       OH   45042‐1133
TIPTON JR, FRED L           8105 MYERS RD                                                                           MIDDLETOWN       OH   45042‐1133
TIPTON JR, HUGH G           111 JUSTIN DR                                                                           MOORESVILLE      IN   46158‐7644
TIPTON JR, JOHN R           12116 BUTTONWOOD LN                                                                     BALTIMORE        MD   21220‐1539
TIPTON JR, JOHN REYNOLDS    12116 BUTTONWOOD LN                                                                     BALTIMORE        MD   21220‐1539
TIPTON JR, JOSEPH E         3610 W 8TH STREET RD                                                                    ANDERSON         IN   46011‐9171
TIPTON JR, OMER             145 FURNACE JCT                                                                         RAVENNA          KY   40472‐8811
TIPTON JR, OTIS W           9850 WASHINGTON CHURCH RD                                                               MIAMISBURG       OH   45342‐4512
TIPTON JR, ROBERT L         1335 ROLLINS ST                                                                         TOLEDO           OH   43612
TIPTON LOY E JR (400326)    GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                          STREET, SUITE 600
                            09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                              Part 37 of 40 Pg 190 of 901
Name                        Address1                       Address2                      Address3   Address4         City            State Zip
TIPTON MELVIN SR (356893)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                           STREET, SUITE 600
TIPTON, ALAN                12127 N EVERETT DR                                                                       ALEXANDRIA      IN   46001‐9082
TIPTON, ALAN D.             12127 N EVERETT DR                                                                       ALEXANDRIA      IN   46001‐9082
TIPTON, ALVIN J             59 TURTLE HILL TRAIL                                                                     MANSFIELD       TX   76063‐1549
TIPTON, BARBARA             59 TURTLE HILL TRAIL                                                                     MANSFIELD       TX   76063
TIPTON, BARRY A             4350 MEDIA LN                                                                            HARTLAND        MI   48353‐1336
TIPTON, BETSY R             7384 ELMCREST AVE                                                                        MOUNT MORRIS    MI   48458‐1807
TIPTON, BETTY J             1304 ASH ST                                                                              HUNTINGTON      IN   46750‐4111
TIPTON, BETTY L             4236 MAGAZINE AVE                                                                        HUNTINGTON      WV   25704‐1118
TIPTON, BILL L              7500 S STIVERS RD                                                                        GERMANTOWN      OH   45327‐8556
TIPTON, BILLY J             718 E JACOB ST                                                                           PILOT POINT     TX   76258‐4444
TIPTON, BILLY R             419 BOLTIN ST                                                                            DAYTON          OH   45410‐2207
TIPTON, BILLY RAY           419 BOLTIN ST                                                                            DAYTON          OH   45410‐2207
TIPTON, BOBBY L             11994 WISCONSIN ST                                                                       DETROIT         MI   48204‐5430
TIPTON, BRENDA G            3 VINE ST                                                                                SPRING VALLEY   OH   45370
TIPTON, BRIAN M             APT 3                          1212 4 SEASONS DRIVE                                      TOLEDO          OH   43615‐7691
TIPTON, BRIAN M             1212 4 SEASONS DR APT 3                                                                  TOLEDO          OH   43615‐7691
TIPTON, BRIAN S             PO BOX 9022                    C/O OPEL, GERMANY                                         WARREN          MI   48090‐9022
TIPTON, CALVIN G            1501 S CLINTON ST                                                                        DEFIANCE        OH   43512‐3215
TIPTON, CALVIN GEORGE       1501 S CLINTON ST                                                                        DEFIANCE        OH   43512‐3215
TIPTON, CARLTON R           531 HCR 1159                                                                             BLUM            TX   76627‐3037
TIPTON, CHARLES W           204 WESTWOOD RD                                                                          FILLMORE        IN   46128‐9621
TIPTON, CHARLOTTE A         1134 ROSELAWN WAY                                                                        BOWLING GREEN   KY   42104‐3161
TIPTON, CHESTER             5215 LIMEROCK ST                                                                         MIAMISBURG      OH   45342‐1407
TIPTON, CHESTER             5215 LIMEROCK DRIVE                                                                      MIAMISBURG      OH   45342‐1407
TIPTON, CHRISTOPHER L       17555 PARKSIDE ST                                                                        DETROIT         MI   48221‐2716
TIPTON, CLARENCE            466 S EIGHTH ST                                                                          MIAMISBURG      OH   45342‐3306
TIPTON, CLARENCE            466 S 8TH ST                                                                             MIAMISBURG      OH   45342‐3306
TIPTON, CLARENCE E          4954 PYRMONT RD                                                                          LEWISBURG       OH   45338‐9761
TIPTON, CLARENCE E          4954 PYRMONT ROAD                                                                        LEWISBURG       OH   45338‐5338
TIPTON, CLARENCE W          1338 KING RICHARD PKWY                                                                   DAYTON          OH   45449‐2302
TIPTON, DANIEL              517 E MARENGO AVE                                                                        FLINT           MI   48505‐3305
TIPTON, DANNY G             5066 E ATHERTON RD                                                                       BURTON          MI   48519‐1526
TIPTON, DAVID               1235 ROB WATSON RD                                                                       ONEIDA          TN   37841‐3777
TIPTON, DAVID R             385 BROWN DRIVE                                                                          LAFOLLETTE      TN   37766‐5008
TIPTON, DAVID R             385 BROWN DR                                                                             LA FOLLETTE     TN   37766‐5008
TIPTON, DIANE               524 N LINDSEY AVE                                                                        MIAMISBURG      OH   45342‐2602
TIPTON, DIXIE L             1059 MOORE RD                                                                            ADRIAN          MI   49221‐1016
TIPTON, DONALD G            131 MOONBOW DR                                                                           LA FOLLETTE     TN   37766‐5607
TIPTON, DONALD L            2334 WINTON AVE                                                                          SPEEDWAY        IN   46224‐5090
TIPTON, DONNIE G            18818 E 5TH ST N                                                                         INDEPENDENCE    MO   64056‐2210
TIPTON, DORIS F             1510 OCALA RD                                                                            LOUISVILLE      KY   40222‐6661
TIPTON, DOROTHY P           79 CHEROKEE RD                                                                           PONTIAC         MI   48341‐1502
TIPTON, DOUGLAS L           201 CHEROKEE CIR                                                                         ERWIN           TN   37650‐7939
TIPTON, DRUCILLA            3319 VAGABOND LN                                                                         DAYTON          OH   45424‐6227
TIPTON, EDDIE JUNE          12 STARWOOD CT APT E                                                                     BALTIMORE       MD   21220‐3209
TIPTON, EDWARD              COON BRENT W                   PO BOX 4905                                               BEAUMONT        TX   77704‐4905
TIPTON, EDWARD C            8608 S ABERDEEN ST                                                                       CHICAGO         IL   60620‐3307
TIPTON, ELLIS E             12983 HIDDEN VALLEY RANCH RD                                                             DE SOTO         MO   63020‐4829
TIPTON, ELVIA J             404 S FULS RD                                                                            NEW LEBANON     OH   45345‐9739
TIPTON, EMMANUEL R          505 LAUREL ST                                                                            IRVINE          KY   40336‐1021
                           09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                            Part 37 of 40 Pg 191 of 901
Name                       Address1                      Address2                      Address3   Address4         City            State Zip
TIPTON, F L                1101 SETTLEMIRE RD                                                                      LEBANON          OH 45036‐8777
TIPTON, FRED               7165 BROWNS RUN ROAD                                                                    MIDDLETOWN       OH 45042‐9296
TIPTON, FRED R             601 N LIVINGSTON AVE                                                                    INDIANAPOLIS     IN 46222‐3305
TIPTON, GAIL D             4784 BURKHARDT AVE                                                                      DAYTON           OH 45403‐3204
TIPTON, GARY L             4265 HOWE RD                                                                            GRAND BLANC      MI 48439‐7972
TIPTON, GARY W             353 S BICKETT RD                                                                        XENIA            OH 45385‐9608
TIPTON, GARY W             353 S. BICKETT                                                                          XENIA            OH 45385‐9608
TIPTON, GENE A             1587 CONGRESS HILL LN                                                                   FAIRFIELD        OH 45014‐4603
TIPTON, GERALD L           6400 N WACOUSTA RD                                                                      FOWLER           MI 48835‐9741
TIPTON, GLENDON            PO BOX 06309                                                                            MILWAUKEE        WI 53206‐0309
TIPTON, GLENORA F          1785 SUNSET DR                                                                          HAMILTON         OH 45013‐2234
TIPTON, HERBERT C          4018 MONTGOMERY RD APT 10                                                               CINCINNATI       OH 45212‐3630
TIPTON, IDA J              2823 PAM PL                                                                             REX              GA 30273‐2336
TIPTON, JAMES              7384 ELMCREST AVE                                                                       MOUNT MORRIS     MI 48458‐1807
TIPTON, JAMES L            679 E PEKIN RD                                                                          LEBANON          OH 45036‐9406
TIPTON, JANET L            769 SPARTAN AVE                                                                         VANDALIA         OH 45377‐2832
TIPTON, JANICE F           1304 ASH ST                                                                             HUNTINGTON       IN 46750
TIPTON, JERRY L            314 GABRIEL ST                                                                          VANDALIA         OH 45377‐1833
TIPTON, JESSIE J           9201 W CR RD 400N                                                                       GASTON           IN 47342‐9796
TIPTON, JOANNA L.          519 N LINDSEY AVE                                                                       MIAMISBURG       OH 45342‐2646
TIPTON, JOE W              406 SANDALWOOD DR                                                                       DAYTON           OH 45405‐2925
TIPTON, JOHN W             647 RASKOB ST                                                                           PONTIAC          MI 48340‐3040
TIPTON, JOHNNY             4821 AGENT RD                                                                           CHAPEL HILL      TN 37034‐2655
TIPTON, JOHNNY H           581 OAK KNOLL RD                                                                        LINN CREEK       MO 65052‐2085
TIPTON, JUDY I             5066 E ATHERTON RD                                                                      BURTON           MI 48519‐1526
TIPTON, JUNIOR             1102 FOXHOUND HILLS CIR                                                                 UNICOI           TN 37692‐4728
TIPTON, KAREN S            1911 VAN WYE ST SE                                                                      WARREN           OH 44484‐5347
TIPTON, KEITH M            15561 SYLVIA DR                                                                         BROOK PARK       OH 44142‐2949
TIPTON, KIMBERLY A         PO BOX 410                                                                              DAYTON           OH 45404
TIPTON, LARRY D            769 SPARTAN AVE                                                                         VANDALIA         OH 45377‐2832
TIPTON, LEE R              291 DOGWOOD DR                                                                          MANCHESTER       TN 37355‐7331
TIPTON, LEON               3407 BLOCKER DRIVE                                                                      KETTERING        OH 45420‐1015
TIPTON, LESLIE H           PO BOX 441                                                                              OWOSSO           MI 48867‐0441
TIPTON, LIESELOTTE         16 MEADOWDALE ST                                                                        BEVERLY HILLS    FL 34465‐4153
TIPTON, LIESELOTTE         16 MEADOWDALE                                                                           BEVERLY HILLS    FL 34465‐4153
TIPTON, LINDA J            PO BOX 3330                                                                             HIGHLAND PARK    MI 48203‐0330
TIPTON, LINDA M            1501 S CLINTON ST                                                                       DEFIANCE         OH 43512‐3215
TIPTON, LINDA S            11120 SUNSET DR                                                                         PERRINTON        MI 48871‐9743
TIPTON, LORENE E           3314 ELLEMAN RD                                                                         LUDLOW FALLS     OH 45339‐9708
TIPTON, LORRAINE           2262 DOUGLAS JOEL DR                                                                    FLINT            MI 48505‐1045
TIPTON, LOY E              GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                         STREET, SUITE 600
TIPTON, LUCY A             1402 BANBURY PL                                                                         FLINT           MI   48505‐1927
TIPTON, MARY ANN           787 ENOLA DR                                                                            VANDALIA        OH   45377‐2819
TIPTON, MCKINLEY E         4338 N JENNINGS RD                                                                      FLINT           MI   48504‐1306
TIPTON, MCKINLEY EARL      4338 N JENNINGS RD                                                                      FLINT           MI   48504‐1306
TIPTON, MELVIN             GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                         STREET, SUITE 600
TIPTON, MELVIN J           4849 W 850 N                                                                            FRANKTON        IN   46044‐9407
TIPTON, MICHAEL C          238 S CHURCH ST                                                                         NEW LEBANON     OH   45345‐1330
TIPTON, MICHAEL CLARENCE   238 S CHURCH ST                                                                         NEW LEBANON     OH   45345‐1330
TIPTON, MICHAEL E          4884 SEDGEWICK DR                                                                       DAYTON          OH   45424‐4635
                           09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                 Part 37 of 40 Pg 192 of 901
Name                       Address1                           Address2                        Address3   Address4         City            State Zip
TIPTON, MICHAEL R          774 MILLVILLE OXFORD RD                                                                        HAMILTON         OH 45013‐4306
TIPTON, MICHELLE M         1430 SLEEPY HOLLOW DR                                                                          TROY             MO 63379‐2355
TIPTON, NANCY J            4954 PYRMONT RD                                                                                LEWISBURG        OH 45338‐9761
TIPTON, NEVEDA L           108 ROMADOOR AVE                                                                               EATON            OH 45320‐1042
TIPTON, NEVEDA L           108 ROMADOOR DR                                                                                EATON            OH 45320‐1042
TIPTON, NEWT               2105 CONCORD ST                                                                                FLINT            MI 48504‐3179
TIPTON, NOEL H             PO BOX 193                                                                                     ALLARDT          TN 38504‐0193
TIPTON, OMER G             25 SUNBURST DR                                                                                 FAIRBORN         OH 45324‐2530
TIPTON, ORVILLE L          100 RENWOOD PL                                                                                 SPRINGBORO       OH 45066‐1072
TIPTON, OSCAR A            951 REMINGTON AVE                                                                              FLINT            MI 48507‐1625
TIPTON, OVIE               1590 OTTAWA DR                                                                                 XENIA            OH 45385‐4365
TIPTON, OVIE               1590 OTTAWA DRIVE                                                                              XENIA            OH 45385‐4365
TIPTON, PATRICIA A         5547 PONDEROSA DR                                                                              FAIRFIELD        OH 45014‐2421
TIPTON, PEGGY F            1487 MARTHA AVE                                                                                BURTON           MI 48509‐2138
TIPTON, REBECCA J          330 BROWNSTONE DR                                                                              ENGLEWOOD        OH 45322‐5322
TIPTON, RICHARD E          5089 MILLWOOD DR                                                                               BROADVIEW HTS    OH 44147‐2235
TIPTON, RICHARD T          PO BOX 10592                                                                                   MIDWEST CITY     OK 73140‐1592
TIPTON, ROBERT G           235 EAST MAIN BOX 43                                                                           MAPLE RAPIDS     MI 48853
TIPTON, ROBERT H           18001 PROMISE RD                                                                               NOBLESVILLE      IN 46060‐5700
TIPTON, ROBERT L           861 SPRING ST                                                                                  ERWIN            TN 37650‐2040
TIPTON, RODERIC L          1003 LOCKWOOD ST                                                                               ALPENA           MI 49707
TIPTON, ROGER D            11404 MCKINLEY RD                                                                              MONTROSE         MI 48457‐9008
TIPTON, ROGER DALE         11404 MCKINLEY RD                                                                              MONTROSE         MI 48457‐9008
TIPTON, RONALD D           1116 S GENEVA DR                                                                               DEWITT           MI 48820‐9537
TIPTON, RONNIE L           1519 PATTERSON RD                                                                              DAYTON           OH 45420‐2631
TIPTON, RUSSELL G          25 SUNBURST DR                                                                                 FAIRBORN         OH 45324‐2530
TIPTON, RUSSELL GLENN      25 SUNBURST DR                                                                                 FAIRBORN         OH 45324‐2530
TIPTON, SANDRA KAY         3553 BELGIAN CT SW                                                                             WYOMING          MI 49418‐8314
TIPTON, SHARRON RAYE       370 SPLATTER CREEK RD                                                                          LIMESTONE        TN 37681‐5203
TIPTON, STEVEN E           1037 HICKORY LN                                                                                OKLAHOMA CITY    OK 73110
TIPTON, STEVEN M           1609 N RILEY RD                                                                                MUNCIE           IN 47304
TIPTON, TERRY M            636 LORELLA AVE                                                                                DAYTON           OH 45404‐2420
TIPTON, THELMA             43244 RT 18 EAST                                                                               WELLINGTON       OH 44090
TIPTON, THERESA C          1848 CAROL DR                                                                                  PIQUA            OH 45356‐4410
TIPTON, THOMAS E           3521 E 2ND ST                                                                                  DAYTON           OH 45403‐1719
TIPTON, THURMON            2306 FOREST HILL AVE                                                                           FLINT            MI 48504‐7187
TIPTON, VALERIE            1713 WOLCOTT ST                                                                                FLINT            MI 48504‐3455
TIPTON, VICKI L            651 E 44TH ST                                                                                  INDIANAPOLIS     IN 46205‐1864
TIPTON, VIRGIL J           4501 SCHWINN DR.                                                                               RIVERSIDE        OH 45404‐1344
TIPTON, VIRGINIA H         4839 RAINIER DR.                                                                               DAYTON           OH 45432‐3319
TIPTON, VIRGINIA M.        20804 NE 10TH ST APT A                                                                         HARRAH           OK 73045‐9230
TIPTON, WALTER J           1402 BANBURY PL                                                                                FLINT            MI 48505‐1927
TIPTON, WILLIAM A          9177 DUFFIELD RD                                                                               MONTROSE         MI 48457‐9116
TIPTON, ZELMA R            2287 S CENTER RD APT 511                                                                       BURTON           MI 48519‐1139
TIPTON,GAIL D              4784 BURKHARDT AVE                                                                             DAYTON           OH 45403‐3204
TIPTON,MICHAEL E           4884 SEDGEWICK DR                                                                              DAYTON           OH 45424‐4635
TIPTON,RUSSELL GLENN       25 SUNBURST DR                                                                                 FAIRBORN         OH 45324‐2530
TIPTONS SERVICE CENTER     2630 MILITARY RD                                                                               RINGGOLD         LA 71068‐8232
TIRABASSI GUIDO (448266)   KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                               CLEVELAND        OH 44114
                                                              BOND COURT BUILDING
TIRABASSI, GEORGE R        30 ABBY LN                                                                                     ROCHESTER       NY 14606‐4900
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                          Part 37 of 40 Pg 193 of 901
Name                                Address1                           Address2                       Address3   Address4                City                   State Zip
TIRABASSI, GUIDO                    KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                      CLEVELAND               OH 44114
                                                                       BOND COURT BUILDING
TIRABASSO, DANIEL A                 37638 EUCLID AVE.                                                                                    WILLOUGHBY             OH   44094
TIRADO, AGUSTIN                     13 KIMBERLY LN                                                                                       POMONA                 NY   10970‐3100
TIRADO, CARMEN                      1043 SHADOW LAKE DR                                                                                  LITHONIA               GA   30058‐3215
TIRADO, JOSUE                       3144 SW ANN ARBOR RD                                                                                 PORT ST LUCIE          FL   34953‐6917
TIRADO, YECIMAR                     11252 SW 242ND ST                                                                                    HOMESTEAD              FL   33032‐7113
TIRAK II, MICHAEL A                 7015 SAINT URSULA DR                                                                                 CANFIELD               OH   44406‐8046
TIRAK, MICHAEL A                    2596 LYDIA ST SW                                                                                     WARREN                 OH   44481‐8618
TIRAS GREEN                         105 HEMBREE DR                                                                                       CANTON                 GA   30115‐9059
TIRCUIT, KHIARA                     1344 ASTER STREET                                                                                    BATON ROUGE            LA   70802‐8522
TIRDIL, ELIZABETH T                 PO BOX 97                                                                                            NORVELT                PA   15674‐0097
TIRDIL, ELIZABETH T                 BOX 97                                                                                               NORVELT                PA   15674‐0097
TIRDIL, PAUL M                      306 IOWA ST                                                                                          GREENSBURG             PA   15601‐3908
TIRE BARGAIN'S                      2100 N TRUMAN BLVD                                                                                   CRYSTAL CITY           MO   63019‐1077
TIRE BARN                           2171 US HIGHWAY 130                                                                                  NORTH BRUNSWICK        NJ   08902‐4811
TIRE CONNECTION                     277 HESPELER RD.                                                             CAMBRIDGE ON N1R 3H8
                                                                                                                 CANADA
TIRE CRAFT AUTO SERVICE             1450 RICHMOND AVE                                                                                    POINT PLEASANT BEACH   NJ   08742‐3064
TIRE GIANT NORTH, INC.              44460 N GRATIOT AVE                                                                                  CLINTON TOWNSHIP       MI   48036‐1333
TIRE GUIDES INC                     1101 S ROGERS CIR STE 6                                                                              BOCA RATON             FL   33487‐2748
TIRE KING                           1309 E GEER ST                                                                                       DURHAM                 NC   27704‐5028
TIRE PIRATES INC                    BAY # 2 ‐ 6112 30 STREET S E                                                 CALGARY AB T2C 2A6
                                                                                                                 CANADA
TIRE PROS PERFORMANCE CENTER        PO BOX 12055                                                                                         EL PASO                TX   79913‐0055
TIRE RACK                           7101 VORDEN PKWY                                                                                     SOUTH BEND             IN   46628‐8422
TIRE RACK INC, THE                  7101 VORDEN PKWY                                                                                     SOUTH BEND             IN   46628‐8422
TIRE RECYCLING MGMT. ASSOC. OF      P.O. BOX 189                       1310‐10060 JASPER AVE.                    EDMONTON AB T5J 9Z9
ALBERTA                                                                                                          CANADA
TIRE SOURCE MEDINA                  760 N COURT ST                                                                                       MEDINA                 OH 44256‐1748
TIRE STEWARDSHIP B.C. ASSOCIATION   P.O. BOX 5366                                                                VICTORIA BC V8R 6S4
                                                                                                                 CANADA
TIRE STEWARDSHIP MANITOBA           202‐1100 CONCORDIA AVE.                                                      WINNIPEG MB R2K 4B8
                                                                                                                 CANADA
TIRE SUPPLY SERVICE CENTER          2627 N 35TH AVE                                                                                      PHOENIX                AZ   85009‐1301
TIRE TOWN AUTO SERVICE              444 DANIEL WEBSTER HWY                                                                               MERRIMACK              NH   03054
TIRE TOWN REPAIR CENTER             189 UNION ST                                                                                         VERNON ROCKVILLE       CT   06066‐2430
TIRE WAREHOUSE, INC                 236 ANDREW DR # B                                                                                    WASHINGTON             GA   30673
TIRE WORLD #1                       4420 CENTENNIAL BLVD                                                                                 COLORADO SPRINGS       CO   80907‐3703
TIRE WORLD #2                       6555 N ACADEMY BLVD                                                                                  COLORADO SPRINGS       CO   80918‐8342
TIRE WORLD #3                       805 CHEYENNE MEADOWS RD                                                                              COLORADO SPRINGS       CO   80906‐4929
TIRE WORLD #4                       5690 PALMER PARK BLVD                                                                                COLORADO SPRINGS       CO   80915‐1509
TIRE WORLD #5                       509 S NEVADA AVE                                                                                     COLORADO SPRINGS       CO   80903‐3922
TIRE WORLD & AUTO SERVICE           245 SIGNAL MOUNTAIN RD                                                                               CHATTANOOGA            TN   37405‐1913
TIRE WORLD INC                      5044 MURFREESBORO RD                                                                                 LA VERGNE              TN   37086‐2705
TIRECO CANADA AUTO SERVICE          569 FAIRWAY RD S                                                             KITCHENER ON N2C 1X4
                                                                                                                 CANADA
TIRECRAFT                           110‐12 INGLEWOOD DR                                                          ST. ALBERT AB T8N 5E2
                                                                                                                 CANADA
TIRELLA CARL JR                     21 MCKINLEY PL                                                                                       ARDSLEY                NY 10502‐2403
TIRELLA JONATHAN                    291 WASHINGTON AVE                                                                                   CARTERET               NJ 07008‐2727
TIRELLA, CARL S.                    21 MCKINLEY PL                                                                                       ARDSLEY                NY 10502‐2403
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                       Part 37 of 40 Pg 194 of 901
Name                                Address1                        Address2                         Address3   Address4                 City              State Zip
TIRES                               1700 CANTON AVE                                                                                      TOLEDO             OH 43604
TIRES IMPORT                        1335 ROLLINS RD                                                                                      BURLINGAME         CA 94010‐2409
TIRES PLUS                          1643 WINCHESTER RD NE                                                                                HUNTSVILLE         AL 35811‐9188
TIRES PLUS                          930 E BISMARCK EXPY                                                                                  BISMARCK           ND 58504‐6627
TIRES PLUS ‐ BLAINE                 12751 CENTRAL AVE NE                                                                                 BLAINE             MN 55434‐4865
TIRES PLUS ‐ BRAINERD               14370 DELLWOOD DR STE 100                                                                            BAXTER             MN 56425‐9742
TIRES PLUS ‐ CHASKA                 1305 CRYSTAL LN                                                                                      CHASKA             MN 55318‐2232
TIRES PLUS ‐ COTTAGE GROVE          7199 E POINT DOUGLAS RD S                                                                            COTTAGE GROVE      MN 55016‐3026
TIRES PLUS ‐ EAGAN SOUTH            2270 CLIFF RD                                                                                        EAGAN              MN 55122‐2316
TIRES PLUS ‐ ELK RIVER              285 CARSON AVE                                                                                       ELK RIVER          MN 55330‐2670
TIRES PLUS ‐ HUDSON                 1201 GATEWAY BLVD                                                                                    HUDSON             WI 54016‐9705
TIRES PLUS ‐ LAKEVILLE              17900 KENWOOD TRL                                                                                    LAKEVILLE          MN 55044‐9814
TIRES PLUS ‐ NORTHFIELD             1470 CLINTON LN                                                                                      NORTHFIELD         MN 55057‐3293
TIRES PLUS ‐ OAKDALE                1007 GENEVA AVE N                                                                                    OAKDALE            MN 55128‐5704
TIRES PLUS ‐ SAVAGE                 8500 EGAN DR                                                                                         SAVAGE             MN 55378‐2143
TIRES PLUS ‐ SHAKOPEE               1271 TASHA DR                                                                                        SHAKOPEE           MN 55379‐4425
TIRES PLUS ‐ WEST ST. PAUL          1973 ROBERT ST S                                                                                     WEST SAINT PAUL    MN 55118‐3942
TIRES UNLIMITED AUTOMOTIVE          1557 N WISCONSIN ST                                                                                  PORT WASHINGTON    WI 53074‐1040
TIRES, MATTHEW                      14336 LINCOLN AVE                                                                                    DIXMOOR             IL 60426‐1126
TIREY JR, LESTER                    83 BEGLEY ROAD                                                                                       CRAB ORCHARD       KY 40419‐9710
TIREY, ANDREA A                     5965 HRRSBRG GVL RD LOT 236                                                                          GROVE CITY         OH 43123‐9164
TIREY, ANDREA A                     LOT 236                         5965 HARRISBURG GEORGESVILL RD                                       GROVE CITY         OH 43123‐9164

TIREY, BETTY A                      5110 FAIRFIELD AVE                                                                                   FAIRFIELD         OH    45014‐2706
TIREY, CLIFFORD F                   16 DOOLITTLER                                                                                        DAYTON            OH    45431‐1345
TIREY, CLIFFORD F                   16 DOOLITTLE DR                                                                                      DAYTON            OH    45431‐1345
TIREY, HELEN L                      4167 HELEN AVENUE                                                                                    LINCOLN PARK      MI    48146‐3717
TIREY, JACK                         6830 FAIRWOOD DR                                                                                     DEARBORN HTS      MI    48127‐1806
TIREY, JANE A                       45850 W ANN ARBOR TRL                                                                                PLYMOUTH          MI    48170‐3532
TIREY, LARRY W                      25 REMINGTON CT                                                                                      FAIRFIELD         OH    45011‐8644
TIREY, MARY KATH                    PO BOX 546                                                                                           MOREHEAD          KY    40351‐0546
TIREY, MARY KATH                    P.O BOX 546                                                                                          MOREHEAD          KY    40351
TIREY, PAUL R                       2211 OAKBRANCH CIR                                                                                   FRANKLIN          TN    37064‐7434
TIREY, RUTH                         83 BEGLEY ROAD                                                                                       CRAB ORCHARD      KY    40419‐9710
TIREY, TYRONE W                     4915 VIRGINIA COURT                                                                                  TAYLOR MILL       KY    41015‐1947
TIRIMBO, JOE                        404 WALNUT ST                                                                                        LOCKPORT          NY    14094‐3820
TIRINA HALL                         2946 HUTCHINGS ST                                                                                    KANSAS CITY       KS    66104‐4944
TIRINATO, ROBERT J                  1411 PLANTATION HILLS DR                                                                             ROCK HILL         SC    29732‐7805
TIRLEA, JOHN J                      1405 NILES‐CORTLAND ROAD                                                                             NILES             OH    44446‐3504
TIRLEA, JOHN J                      1405 NILES CORTLAND RD                                                                               NILES             OH    44446‐3504
TIRMKO, DOROTHY M                   3045 GASLIGHT DR.                                                                                    BAY CITY          MI    48706‐9604
TIROL MARIA M                       TIROL, MARIA M                  1930 E MARLTON PIKE SUITE Q29                                        CHERRY HILL       NJ    08003
TIROL, MARIA M                      KIMMEL & SILVERMAN PC           1930 E MARLTON PIKE SUITE Q29                                        CHERRY HILL       NJ    08003
TIROLINVEST KAG / SPARDA VORSORGE   MR STALLBAUMER                  SPARKASSENPLATZ 1                           6020 INNSBRUCK AUSTRIA
PLUS
TIRONE CARMINE                      TIRONE, CARMINE                 120 WEST MADISON STREET , 10TH                                       CHICAGO            IL   60602
                                                                    FLOOR
TIRONE, CARMINE                     KROHN & MOSS ‐ IL               120 WEST MADISON STREET, 10TH                                        CHICAGO            IL   60602
                                                                    FLOOR
TIRONE, GLAUCO                      720 2ND AVE                                                                                          LYNDHURST         NJ 07071‐1221
TIRONE, JANET M                     32 MUSKINGUM ST                                                                                      DEPEW             NY 14043
TIRONE, NANCY J                     900 VALLEY RD APT F4                                                                                 CLIFTON           NJ 07013‐4045
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                           Part 37 of 40 Pg 195 of 901
Name                                   Address1                              Address2                        Address3   Address4         City               State Zip
TIRONI, GENE                           43013 TOMLINSON DR                                                                                CLINTON TOWNSHIP    MI 48038
TIRPACK, EDWARD A                      771 DEVITT AVE                                                                                    CAMPBELL            OH 44405‐1525
TIRPACK, EDWARD A                      771 DEVITT AVENUE                                                                                 CAMPBELL            OH 44405‐1525
TIRPAK, BERNARD F                      606 SAINT AGNES LN                                                                                WEST MIFFLIN        PA 15122‐2925
TIRPAK, JOHN G                         PO BOX 158                                                                                        FISHERTOWN          PA 15539‐0158
TIRPAK, KATHLEEN M                     15 VINEYARD AVE                                                                                   SOUTH AMBOY         NJ 08879‐2229
TIRPAK, KENNETH W                      15 VINEYARD AVE                                                                                   SOUTH AMBOY         NJ 08879‐2229
TIRPAK, WILLIAM J                      PO BOX 158                                                                                        FISHERTOWN          PA 15539‐0158
TIRRELL RICHARD (ESTATE OF) (643110)   BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                             PROFESSIONAL BLDG
TIRRELL, CAROL M                       6 WICKLOW CT                                                                                      CHERRY HILL        NJ 08003‐2116
TIRRELL, RICHARD                       BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD         OH 44067
                                                                             PROFESSIONAL BLDG
TIRRELL, THOMAS J                      3915 S CREEK DR                                                                                   ROCHESTER HILLS    MI   48306‐1479
TIRRELL, WILLIAM D                     3754 SHERMAN RD                                                                                   CHARLOTTE          MI   48813‐9149
TIRSO ALVAREZ JR                       2599 WALNUT AVE UNIT 229                                                                          SIGNAL HILL        CA   90755‐3672
TIRSO SACERIO                          555 MAPLE AVE                                                                                     ELIZABETH          NJ   07202‐3513
TIRZA FREEMAN                          35 A FOREST DR                                                                                    SPRINGFIELD        NJ   07081
TIRZAH J SCHINDLER                     12633 STONE VALLEY LOOP                                                                           FORT MYERS         FL   33913‐6776
TIRZAH SCHINDLER                       12633 STONE VALLEY LOOP                                                                           FORT MYERS         FL   33913‐6776
TIRZO L RODRIGUEZ                      5694 BAKER RD                                                                                     BRIDGEPORT         MI   48722‐9594
TIRZO RODRIGUEZ                        5694 BAKER RD                                                                                     BRIDGEPORT         MI   48722‐9594
TIS INDUSTRIES LLC                     16815 E JOHNSON DR                                                                                CITY OF INDUSTRY   CA   91745‐2417
TIS INDUSTRIES LLC                     ATTN: CORPORATE OFFICER/AUTHORIZED    16815 E JOHNSON DR                                          CITY OF INDUSTRY   CA   91745‐2417
                                       AGENT
TIS INDUSTRIES, INC.                   16815 JOHNSON DR., CITY OF INDUSTRY                                                               CITY OF INDUSTRY   CA 91745

TIS INDUSTRIES, INC.                   16815 E JOHNSON DR                                                                                CITY OF INDUSTRY   CA   91745‐2417
TISA DEE                               707 ELMWOOD CT                                                                                    ROCHESTER HILLS    MI   48307‐5916
TISA, NANCY                            106 SUELLEN DRIVE                                                                                 ROCHESTER          NY   14609
TISACK, FRANCIS D                      5549 MAPLETON RD                                                                                  LOCKPORT           NY   14094‐9296
TISACK, YVONNE M                       7166 CHESTNUT RIDGE RD                                                                            LOCKPORT           NY   14094‐3519
TISBY GOOLSBY, DIANE Y                 19059 NADOL DR                                                                                    SOUTHFIELD         MI   48075‐5818
TISBY, DELPHINE                        19454 FORRER ST                                                                                   DETROIT            MI   48235‐2305
TISBY, EDWARD N                        PO BOX 1111                                                                                       AMHERST            NY   14226‐7111
TISBY, LARRY                           29818 RAMBLING RD                                                                                 SOUTHFIELD         MI   48076‐5727
TISBY, SHERLY A                        29818 RAMBLING RD                                                                                 SOUTHFIELD         MI   48076‐5727
TISCH'S AUTOMOTIVE                     5066 COMMERCE DR                                                                                  MURRAY             UT   84107‐4708
TISCH, ALVIN E                         501 W 107TH ST APT 353                                                                            KANSAS CITY        MO   64114‐5916
TISCH, JOHN D                          9029 CLAM LAKE RD                                                                                 BELLAIRE           MI   49615‐9367
TISCH, NANCY                           2321 SPARTANS TRL                                                                                 PINCKNEY           MI   48169‐9294
TISCH, R P                             378 HYATT ST                                                                                      AVENEL             NJ   07001‐1139
TISCH, RICHARD F                       9545 SAYERS RD                                                                                    MUNITH             MI   49259‐9756
TISCH, THOMAS R                        1325 ETOWAH AVE                                                                                   ROYAL OAK          MI   48067‐3474
TISCHA, JOSEPH F                       508 ELMWOOD RD                                                                                    BALTIMORE          MD   21206‐2127
TISCHER, DANNY L                       5975 HARPER RD                                                                                    HOLT               MI   48842‐8618
TISCHER, DONNA N                       1109 COUNTRY GLEN LN                                                                              CAROL STREAM       IL   60188‐2931
TISCHER, RICHARD T                     18 BELCREST                                                                                       LAGUNA NIGUEL      CA   92677‐2939
TISCHLER, ALBIN J                      462 STATE HIGHWAY 11B                                                                             POTSDAM            NY   13676‐3308
TISCHLER, DAVID G                      22712 BECKENHAM CT                                                                                NOVI               MI   48374‐3526
TISCHLER, ROBERT J                     20548 HOLLY CIR                                                                                   STRONGSVILLE       OH   44149‐5609
TISCHLER, THOMAS J                     3162 BOOKHAM CIR                                                                                  AUBURN HILLS       MI   48326‐2300
                              09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                   Part 37 of 40 Pg 196 of 901
Name                          Address1                            Address2                     Address3   Address4         City                 State Zip
TISCHLER, TODD J              43737 FREDERICKSBURG ST                                                                      CANTON                MI 48188‐1765
TISCHLER,DAVID G              22712 BECKENHAM CT                                                                           NOVI                  MI 48374‐3526
TISCIONE, PAULINE M           265 LAKESIDE BLVD                                                                            TRENTON               NJ 08610‐1638
TISCIONE, PAULINE M           265 LAKESIDE BOULEVARD                                                                       TRENTON               NJ 08610‐1638
TISCOR                        STE 205                             10815 RANCHO BERNARDO ROAD                               SAN DIEGO             CA 92127‐2188
TISCOR                        10815 RANCHO BERNARDO RD STE 2                                                               SAN DIEGO             CA 92127
TISCOR                        10815 RANCHO BERNARDO ROAD          SUITE 205                                                SAN DIEGO             CA 92127
TISCOR/POWAY                  STE 205                             10815 RANCHO BERNARDO ROAD                               SAN DIEGO             CA 92127‐2188
TISCOR/SAN DIEGO              10815 RANCHO BERNARDO RD STE 205                                                             SAN DIEGO             CA 92127‐2188
TISDALE LAKISHA               TISDALE, LAKISHA                    2093 FWANCOTT ROAD                                       MADISON               AL 35756
TISDALE PERRY H JR (667192)   GOLDENBERG, MILLER, HELLER &        PO BOX 959                                               EDWARDSVILLE           IL 62025‐0959
                              ANTOGNOLI
TISDALE, AL M                 105 E HAMILTON ST                                                                            OBERLIN              OH    44074‐1703
TISDALE, ANTHONY L            12026 GREINER ST                                                                             DETROIT              MI    48205‐2619
TISDALE, ARTHUR L             1206 E 32ND ST                                                                               MARION               IN    46953‐4142
TISDALE, BRENT E              8120 PURPLE SAGE CV                                                                          FORT WAYNE           IN    46804‐3570
TISDALE, CLARENCE H           5271 MARTIN RD                                                                               CORUNNA              MI    48817‐9557
TISDALE, DONNELL E            4335 RIVERSIDE DR APT G2                                                                     DAYTON               OH    45405
TISDALE, DOUGLAS              SHANNON LAW FIRM                    100 W GALLATIN ST                                        HAZLEHURST           MS    39083‐3007
TISDALE, EDWARD               PO BOX 13252                                                                                 LANSING              MI    48901‐3252
TISDALE, ENOLIA               105 E HAMILTON                                                                               OBERLIN              OH    44074‐1703
TISDALE, GARFIELD W           9107 RIVERSHORE DR                  C/O LAURINA TISDALE                                      NIAGARA FALLS        NY    14304‐4446
TISDALE, HARRY A              3918 RED ARROW ROAD                                                                          FLINT                MI    48507‐5437
TISDALE, HERMAN               PO BOX 6026                                                                                  PINE BLUFF           AR    71611‐6026
TISDALE, JAMES H              21978 FRAZER AVENUE                                                                          SOUTHFIELD           MI    48075‐3853
TISDALE, JIMMIE L             420 SENECA AVE                                                                               MOUNT VERNON         NY    10553‐1702
TISDALE, LAKISHA              2093 SWANCOTT RD                                                                             MADISON              AL    35756‐5017
TISDALE, MAREIKA LATRIEC      1015 BEAUTY AVE                                                                              BOWLING GREEN        KY    42101‐5103
TISDALE, MARIAN B             3301 LUDGATE RD                                                                              BALTIMORE            MD    21215‐3741
TISDALE, PERRY H              GOLDENBERG, MILLER, HELLER &        PO BOX 959                                               EDWARDSVILLE         IL    62025‐0959
                              ANTOGNOLI
TISDALE, PERRY H, JR,         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                   EDWARDSVILLE          IL   62025
                              ROWLAND PC
TISDALE, VERNON R             798 STABLEWATCH DRIVE                                                                        INDEPENDENCE         KY    41051‐8337
TISDALE, WILLIAM E            1239 GREEN OAK TRL                                                                           PORT CHARLOTTE       FL    33948‐3137
TISDALL, IDALIA               95 FOUR CORNERS RD                                                                           WARWICK              NY    10990‐3019
TISDALLE, ESTHER S            1516 CANYON LK                                                                               SANTA ANA            CA    92705‐6910
TISDEL, EDITH E               10881 WALANDER N E                                                                           CEDAR SPRINGS        MI    49319‐9202
TISDEL, PHYLLIS J             10234 ANGEL LAKE RD                                                                          ROCKFORD             MI    49341
TISDELL, ETHEL B              27460 MARSHALL                                                                               SOUTHFIELD           MI    48076
TISDELL, PAMELA J             4894 BERMUDA WAY N                                                                           MYRTLE BEACH         SC    29577‐5431
TISEO, GIOVANNI               29625 GLORIA ST                                                                              ST CLAIR SHRS        MI    48082‐1807
TISEO, KATHLEEN M             734 N ELIZABETH ST                                                                           DEARBORN             MI    48128‐1711
TISEO, LORETTA K              29625 GLORIA ST                                                                              SAINT CLAIR SHORES   MI    48082‐1807
TISH RAIFORD AKA DAMAMA T
TISH, MELVIN P                516 N BALL ST                                                                                OWOSSO               MI    48867‐2308
TISH, SUSAN M                 346 SOUTH ROGERS STREET                                                                      NORTHVILLE           MI    48167‐1533
TISHA A ELAM                  4510 ROSS RD                                                                                 TIPP CITY            OH    45371‐9068
TISHA EBERLE                  1014 HIGHLANDER ST                                                                           LAKE ORION           MI    48362‐1929
TISHA L ADAMS                 1349 MAROT DR                                                                                DAYTON               OH    45427‐2114
TISHA L MOFFATT               175 TEAKWOOD LN                                                                              SPRINGBORO           OH    45066
TISHA WILSON                  116 N SANFORD ST                                                                             PONTIAC              MI    48342‐2756
                                  09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                    Part 37 of 40 Pg 197 of 901
Name                              Address1                            Address2                       Address3   Address4         City              State Zip
TISHA, THOMAS                     KROHN & MOSS ‐ GA                   44 BROAD ST NW STE 400                                     ATLANTA            GA 30303‐2328
TISHER, TAMMY J                   2239 ZION RD                                                                                   COLUMBIA           TN 38401‐6041
TISHER, VERNON                    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW            MI 48604‐2602
                                                                      260
TISHKOFF, JULIAN M                1104 PROSPECT HILL PL                                                                          ROCKVILLE         MD   20850‐2868
TISHKOWSKI, LUCIENNE              1420 EAST VENICE AVE APT C311                                                                  VENICE            FL   34292
TISHMA, LYNDA C                   2339 GEORGE AVE                                                                                YPSILANTI         MI   48198‐6676
TISHNER, LARRY A                  890 MAIN ST                                                                                    CICERO            IN   46034‐9431
TISHNER, MARY L                   3919 LAUREL LN                                                                                 ANDERSON          IN   46011‐3037
TISHNER, MICHAEL E                PO BOX 1063                                                                                    CARMEL            IN   46082‐1063
TISHNER, MICHAEL EDWARD           PO BOX 1063                                                                                    CARMEL            IN   46082‐1063
TISHNER, VELMA L                  990 S MAIN ST                                                                                  CICERO            IN   46034‐9660
TISHOMINGO CHEVROLET, INC.        1120 W MAIN ST                                                                                 TISHOMINGO        OK   73460‐4879
TISHOMINGO CHEVROLET, INC.        SANDY NORTHCUTT                     1120 W MAIN ST                                             TISHOMINGO        OK   73460‐4879
TISHOMINGO COUNTY TAX COLLECTOR   1008 BATTLEGROUND DRIVE                                                                        IUKA              MS   38852
TISHUE, CHARLES E                 1486 WINTER CAMP TRL                                                                           HEDGESVILLE       WV   25427‐5309
TISHUE, CHARLES E.                1486 WINTER CAMP TRL                                                                           HEDGESVILLE       WV   25427‐5309
TISINGER, WILLIAM H               980 HYDE PARK DR                                                                               DAYTON            OH   45429‐5808
TISLAND, CHRISTI R                14170 N CLIO RD                                                                                CLIO              MI   48420‐8804
TISLAND, PATRICIA A               2611 SPRINGFIELD AVE                                                                           FORT WAYNE        IN   46805‐1549
TISLER, WILLIAM A                 W10223 CHERRI LN                                                                               CRIVITZ           WI   54114‐8599
TISO, DENISE M                    24955 DELMONT DR                                                                               NOVI              MI   48374‐2738
TISON, ALFRED                     5353 HIGHLAND RD # C123                                                                        WATERFORD         MI   48327
TISON, ARTHUR D                   52 FINCH CT                                                                                    ORANGE PARK       FL   32073‐2366
TISON, BARBARA S                  1655 NANCY G LN                                                                                ORION             MI   48359‐1648
TISON, CARL P                     3040 STARRATT RD                                                                               JACKSONVILLE      FL   32226‐1313
TISON, CORA L                     5519 BACON AVE                                                                                 EASTMAN           GA   31023‐6909
TISON, DARRYL K                   8834 ORRICK ST                                                                                 COMMERCE TWP      MI   48382‐3775
TISON, ELVIS L                    HC 1 BOX 1168                                                                                  WAPPAPELLO        MO   63966‐9750
TISON, LARRY E                    10035 ARBOR LN                                                                                 GOODRICH          MI   48438‐9463
TISON, MILDRED J                  8508 W JENNINGS RD                                                                             LAKE CITY         MI   49651‐8904
TISON, RICHARD P                  1655 NANCY G LN                                                                                ORION             MI   48359‐1648
TISON, TOMMY S                    2309 NE 8TH ST                                                                                 MOORE             OK   73160‐8543
TISONE, JOSEPH P                  140 DARWISH DR                                                                                 MCDONOUGH         GA   30252‐3636
TISOT, CARROLL J                  113 MARWYCK PLACE LN                                                                           NORTHFIELD        OH   44067‐2789
TISOTO, SAVINA A.                 7434 LOHMEYER AVE                                                                              SAINT LOUIS       MO   63143‐2108
TISOTO, VALERIE L                 7434 LOHMEYER AVE                                                                              SAINT LOUIS       MO   63143‐2108
TISSOT, BARBARA                   12720 SHAFTSBURG ROAD                                                                          PERRY             MI   48872
TISSOT, ROBERT P                  56215 BUFFALO DR                                                                               THREE RIVERS      MI   49093‐9133
TISSUE, AUDLEY L                  420 JULIAN AVE                                                                                 LANSING           MI   48917‐2745
TISSUE, GREGORY                   4907 SUMMERHILL DR                                                                             CLARKSTON         MI   48346‐3687
TISSUE, JEFFERY L                 505 S LANSING ST                                                                               SAINT JOHNS       MI   48879‐2117
TISSUE, JENIFER R                 6303 BISHOP RD                                                                                 LANSING           MI   48911‐6212
TISSUE, JENNIFER R                6303 BISHOP RD                                                                                 LANSING           MI   48911‐6212
TISSUE, JULIE                     307 HIGHLAND AVE                                                                               FRANKLIN          TN   37064‐3240
TISSUE, LARRY A                   851 N WHEATON RD                                                                               CHARLOTTE         MI   48813‐8826
TISSUE, ROBIN L                   3654 N CRYSTAL RD                                                                              YESTBURG          MI   48891‐9710
TISSUE, ROBIN L                   2255 E JOHNSON RD                                                                              ITHACA            MI   48847‐9506
TISSUE, RUSSELL E                 9636 VANBUREN RD                                                                               PORTLAND          MI   48875‐9419
TISSUE, SEAN D                    12477 EVERGREEN DR                                                                             SHELBY TOWNSHIP   MI   48315
TISSUE, SEAN P                    12477 EVERGREEN DR                                                                             SHELBY TOWNSHIP   MI   48315
TISSURENE CASEY                   214 S 15TH ST                                                                                  SAGINAW           MI   48601‐1867
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                       Part 37 of 40 Pg 198 of 901
Name                               Address1                             Address2                        Address3               Address4                 City             State Zip
TISZA, MICHAEL W                   10900 S DRAKE AVE                                                                                                    CHICAGO            IL 60655‐3309
TITA A COWART                      927 DEWEY ST                                                                                                         PONTIAC           MI 48340‐2512
TITAK, BARBARA P                   2644 VESTAL RD.                                                                                                      YOUNGSTOWN        OH 44509‐1461
TITAK, BARBARA P                   2644 VESTAL RD                                                                                                       YOUNGSTOWN        OH 44509‐1461
TITAN AMERICA                      1151 AZALEA GARDEN RD                                                                                                NORFOLK           VA 23502‐5601
TITAN AMERICA INC                  1151 AZALEA GARDEN RD                                                                                                NORFOLK           VA 23502‐5601
TITAN AMERICA, INC.                BARBARA KEREKESH                     1151 AZALEA GARDEN RD                                                           NORFOLK           VA 23502‐5601
TITAN AUTOMOTIVE                   939 W CHAPMAN AVE                                                                                                    ORANGE            CA 92868‐2824
TITAN CARTAGE LTD                  2375 LUCKNOW DR                                                                             MISSISSAUGA ON L5S 1H9
                                                                                                                               CANADA
TITAN DIV OF UACL                  UNIVERSAL AM‐CAN LTD                 PO BOX 80                       CENTRA INC SCAC UACL                           WARREN            MI   48090‐0080
TITAN ELECTRIC                     137 RIMROCK RD                                                                                                      THOUSAND OAKS     CA   91361‐5223
TITAN EQUIPMENT                    6190 CLYDE PARK AVE SW                                                                                              BYRON CENTER      MI   49315‐7927
TITAN EXPRESS INC                  230 RTE 17 N                                                                                                        HILLBURN          NY   10931
TITAN FASTENER CO INC              10031 N HOLLY RD                                                                                                    HOLLY             MI   48442‐9302
TITAN INSURANCE COMPANY            RANDALL W MAY, MANAGING COMPANY      CRAIG MABBETT, SUBROGATION      NATIONWIDE INSURANCE   ONE NATIONWIDE PLAZA 2‐ COLUMBUS          OH   43215
                                                                        MANAGER                                                5‐15
TITAN LOGISTICS INC                PO BOX 108809                                                                                                       OKLAHOMA CITY     OK   73101‐8809
TITAN PHARMACY                     PO BOX 6246                                                                                                         ASTORIA           NY   11106‐0246
TITAN PUBLISHING CORP              PO BOX 47                                                                                                           HANOVER           MD   21076‐0047
TITAN SIGN & AWNING CORP           ATTN: CHARLES LANCTO                 11001 PIERSON DR # H                                                           FREDERICKSBURG    VA   22408‐2079
TITAN TOOL & DIE                   RICK SNIDER                          2801 HOWARD AVE.                                       WINDSOR ON N8Y 3Y1
                                                                                                                               CANADA
TITAN TOOL & DIE LTD               GORD METCALFE                        450 CHARLES STREET                                     WINDSOR ON CANADA
TITAN TOOL & DIE LTD               450 CHARLES ST                                                                              WINDSOR ONT CANADA ON
                                                                                                                               N8X 3Z1 CANADA
TITAN TOOL & DIE LTD               2801 HOWARD AVE                                                                             WINDSOR ON N8Y 3Y1
                                                                                                                               CANADA
TITAN TOOL & DIE LTD.              GORD METCALFE                        450 CHARLES STREET                                     WINDSOR ON N8X 3Z1
                                                                                                                               CANADA
TITAN TRANSFER INC                 LORRIE GUNN                          PO BOX 590                                                                     SHELBYVILLE       TN   37162‐0590
TITAN X ENGINE COOLING INC         C/O PHILLIPS LYTLE LLP               ATTN ANGELA Z MILLER ESQ        3400 HSBC CENTER                               BUFFALO           NY   14203
TITANIUM FINISHING CO              248 MAIN ST                                                                                                         EAST GREENVILLE   PA   18041‐1405
TITANIUM GROUP LLC                 50 OLIVER STREET                                                                                                    NORTH EASTON      MA   02356
TITANIUM METALS CORP               5430 LYNDON B JOHNSON FWY STE 1700                                                                                  DALLAS            TX   75240‐2620

TITANIUM METALS CORPORATION        109 INTERSTATE DR                    SAINT LOUIS MILL SALES                                                          WENTZVILLE       MO   63385‐4556
TITANX ENGINE COOLING INC          2258 ALLEN STREET EXT                                                                                                JAMESTOWN        NY   14701‐2330
TITANX ENGINE COOLING INC          C/O PHILLIPS LYTLE LLP               ATTN ANGELA Z MILLER ESQ        3400 HSBC CENTER                                BUFFALO          NY   14203
TITCH, JOHN J                      5515 KANLOW DR                                                                                                       NAPERVILLE       IL   60564‐4963
TITCHENAL, GEORGE P                506 5TH ST                                                                                                           WENTZVILLE       MO   63385‐1802
TITCHNELL, RICHARD A               4919 TOWNSHIP ROAD 191                                                                                               MARENGO          OH   43334‐9754
TITCOMBE, WILLIAM H                3789 SAGINAW ST                                                                                                      NATIONAL CITY    MI   48748‐9533
TITE GARY (491339) ‐ TITE GARY     BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                   NORTHFIELD       OH   44067
                                                                        PROFESSIONAL BLDG
TITE, GARY D                       1353 BISCAY DR                                                                                                       EDWARDSVILLE     IL 62025‐5102
TITE‐SPOT WELDERS INC              2209 S 109TH ST                                                                                                      MILWAUKEE        WI 53227‐1111
TITEAN, DORINA
TITEAN, MIHAI                      YOUNG KEITH L                        333 W WACKER DR STE 500                                                         CHICAGO          IL 60606‐1225
TITER JAMES (ESTATE OF) (489271)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                                   NORTHFIELD       OH 44067
                                                                        PROFESSIONAL BLDG
TITHERAGE, DAVID E                 2581 CAMPBELLGATE CIR                                                                                                WATERFORD        MI 48329‐3117
                          09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                           Part 37 of 40 Pg 199 of 901
Name                      Address1                             Address2                      Address3   Address4            City                  State Zip
TITHERAGE, KAREN A        5704 WARBLER DR                                                                                   CLARKSTON              MI 48346‐2967
TITHERAGE, STEVE C        57429 RIDGEWOOD DR                                                                                WASHINGTON TOWNSHIP    MI 48094‐3161
TITHOF, ALICE             317 ELM ST. LOT# 515                                                                              OWOSSO                 MI 48867
TITHOF, DENNIS R          16325 OAKLEY RD                                                                                   CHESANING              MI 48616‐9506
TITHOF, DOROTHY           202 HALL ST                                                                                       ESSEXVILLE             MI 48732‐1150
TITHOF, DOUGLAS P         19690 S FORDNEY RD                                                                                OAKLEY                 MI 48649‐9727
TITHOF, DOUGLAS PAUL      19690 S FORDNEY RD                                                                                OAKLEY                 MI 48649‐9727
TITHOF, FRANK M           3489 SHANE CT                                                                                     FREELAND               MI 48623‐8822
TITHOF, GLEN R            4019 PLEASANTVIEW DR                                                                              SAGINAW                MI 48603‐9658
TITHOF, JOSEPH A          202 HALL ST                                                                                       ESSEXVILLE             MI 48732‐1150
TITHOF, JUDITH A          16895 STUART RD                                                                                   CHESANING              MI 48616‐9744
TITHOF, LELA J            300 S MAIN ST APT 238                                                                             DAVISON                MI 48423‐1641
TITHOF, MILDRED A         19654 FORDNEY RD                                                                                  OAKLEY                 MI 48649‐9727
TITHOF, MILDRED A         19654 S FORDNEY RD                                                                                OAKLEY                 MI 48649‐9727
TITHOF, PATRICK A         1606 MASON RD                                                                                     OWOSSO                 MI 48867‐1332
TITHOF, RICHARD G         14200 OAKLEY RD                                                                                   CHESANING              MI 48616‐9430
TITHOF, RICHARD J         16895 STUART RD                                                                                   CHESANING              MI 48616‐9744
TITHOF, RICHARD JAMES     16895 STUART RD                                                                                   CHESANING              MI 48616‐9744
TITHOF, RITA C            302 FULTON ST                        ROOM 110                                                     SAINT CHARLES          MI 48655
TITHOF, THELMA C          8125 DONNA ST                                                                                     WESTLAND               MI 48185‐1774
TITHOF, THOMAS A          11285 PEET RD                                                                                     CHESANING              MI 48616‐9503
TITHOF, THOMAS E          12440 OAKLEY RD                                                                                   CHESANING              MI 48616‐8455
TITHOF, WILLIAM L         4416 FAIRWOOD DR                                                                                  BURTON                 MI 48529‐1914
TITKA, CONSTANCE I        21 SOUTH TER                                                                                      FISHKILL               NY 12524‐2412
TITKA, CONSTANCE I        21 SOUTH TERRACE                                                                                  FISHKILL               NY 12524‐2412
TITKO ROBERT E (514068)   COON & ASSOCS BRENT                  917 FRANKLIN ST STE 210                                      HOUSTON                TX 77002‐1751
TITLE SOURCE INC          ATTN: CORPORATE OFFICER/AUTHORIZED   1450 W LONG LAKE RD STE 400                                  TROY                   MI 48098‐6330
                          AGENT
TITLER, ALFRED W          8622 E MICHIGAN AVE                                                                               JACKSON               MI   49201‐9177
TITLER, DOROTHY M         10 N DUNLAP AVE                                                                                   YOUNGSTOWN            OH   44509‐2021
TITLER, GARY W            11950 MORRISSEY RD                                                                                GRASS LAKE            MI   49240‐9261
TITLER, GARY WAYNE        11950 MORRISSEY RD                                                                                GRASS LAKE            MI   49240‐9261
TITLER, SHIRLEY A         4328 DOVER DR                                                                                     MORRISVILLE           PA   19067‐6112
TITLEY, ERIC J            123 LAKEVIEW DR                                                                                   BUTLER                PA   16001‐1325
TITLOW JR, BILLY          1108 FRAYNE DR                                                                                    NEW CARLISLE          OH   45344‐2814
TITLOW, DAVID M           7096 E CANDICE DR                                                                                 CAMBY                 IN   46113‐8652
TITLOW, ROBERT A          1428 N NEW JERSEY ST                                                                              INDIANAPOLIS          IN   46202‐2624
TITMAN, JOHN A            47277 COUNTY ROAD 653                                                                             PAW PAW               MI   49079‐9448
TITMAN, JOYCE A           47277 COUNTY ROAD 653                                                                             PAW PAW               MI   49079‐9448
TITMUS OPTICAL INC        690 HP WAY                                                                                        CHESTER               VA   23836‐2742
TITMUS, DONALD E          2261 BRADFORD DR                                                                                  FLINT                 MI   48507‐4401
TITMUS, GARY J            2099 MACKINAW DR                                                                                  DAVISON               MI   48423‐2357
TITMUS, THOMAS B          9576 S STATE RD                                                                                   MORRICE               MI   48857‐9624
TITMUSS, DAVID F          3626 GLEN ELGIN                                                               JORDAN STATION ON
                                                                                                        CANADA L0R‐1S0
TITO CARRASQUILLO         1400 POWELL VIEW DR                                                                               DEFIANCE              OH   43512‐3038
TITO GARCIA               5205 RAVENSWOOD RD                                                                                KIMBALL               MI   48074‐3216
TITO GONZALEZ             10859 ILEX AVE                                                                                    PACOIMA               CA   91331‐2923
TITO HUFFMAN              23333 WILMOT AVE                                                                                  EASTPOINTE            MI   48021‐1859
TITO LAURINI              28 BAMBI LN                                                                                       ROCHESTER             NY   14624‐1334
TITO LAURINI              28 BAMBI LANE                                                                                     ROCHESTER             NY   14624‐1334
TITO MALASPINA            VIA BARONI 4
                                   09-50026-mg                 Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                          Part 37 of 40 Pg 200 of 901
Name                               Address1                            Address2                     Address3   Address4         City                  State Zip
TITO SLAYTON                       APT 626                             7403 NORTHWEST DONOVAN DRIVE                             KANSAS CITY            MO 64153‐3109

TITO, DAVID J                      676 PEACHTREE LN                                                                             GROSSE POINTE WOODS   MI   48236‐2719
TITONE, NEIL                       PORTER & MALOUF PA                  4670 MCWILLIE DR                                         JACKSON               MS   39206‐5621
TITONE, VINCENT                    98 CAMBRIDGE AVE                                                                             HOLBROOK              NY   11741‐3104
TITORENKO, STEPHEN J               5274 GREENHURST RD                                                                           WILLIAMSVILLE         NY   14221‐2810
TITRAN, ELEANOR M                  3767 LEDGE CT                                                                                TROY                  MI   48084‐1142
TITRAN, PIERRE J                   45204 FRYER DR                                                                               MACOMB                MI   48044‐3815
TITSHAW, ANNELLE                   158 CRUMBLEY RD                                                                              MCDONOUGH             GA   30252‐4403
TITSHAW, DORIS A                   3292 N DRUID HILLS RD                                                                        DECATUR               GA   30033‐2745
TITSHAW, DORIS A                   3292 NORTH DRUID HILLS ROAD                                                                  DECATUR               GA   30033‐2745
TITSHAW, HOWELL B                  3375 FLORAL CT                                                                               SUWANEE               GA   30024‐2833
TITSHAW, LARRY C                   4727 STEEPLECHASE LN                                                                         FLOWERY BRANCH        GA   30542‐3648
TITSHAW, SHERIDAN K                3530 RIDGE VIEW CT NE                                                                        MARIETTA              GA   30068‐3959
TITSWORTH GERALD                   3852 ISLAND PARK DR                                                                          WATERFORD             MI   48329‐1906
TITSWORTH, CAROLINE A              WINDSOR PLACE APARTMENTS            8190 KENSINGTON BLVD                                     DAVISON               MI   48423
TITSWORTH, CAROLINE A              3902 DOUGLAS AVE                                                                             FLINT                 MI   48506‐2420
TITSWORTH, CINDY M                 49 CANTERBURY TRAIL DR                                                                       ROCHESTER HILLS       MI   48309‐2002
TITSWORTH, CINDY MCCALLUM          49 CANTERBURY TRAIL DR                                                                       ROCHESTER HILLS       MI   48309‐2002
TITSWORTH, DARRELL E               PO BOX 511                                                                                   MARSHFIELD            MO   65706‐0511
TITSWORTH, GERALD L                3852 ISLAND PARK DR                                                                          WATERFORD             MI   48329‐1906
TITSWORTH, JAMES E                 21924 ARBOR LN                                                                               FARMINGTON HILLS      MI   48336‐5118
TITSWORTH, KARL L                  3425 MILLINGTON RD                                                                           MILLINGTON            MI   48746‐9608
TITSWORTH, LAURENCE D              4482 W M‐65                                                                                  OSCODA                MI   48750
TITSWORTH, LEE T                   5263 IROQUOIS CT                                                                             CLARKSTON             MI   48348‐3013
TITSWORTH, LEE THOMAS              5263 IROQUOIS CT                                                                             CLARKSTON             MI   48348‐3013
TITSWORTH, MICHAEL H               3261 MILLINGTON RD                                                                           MILLINGTON            MI   48746‐9047
TITSWORTH, RICHARD E               1106 CONNIE DR                                                                               SAGINAW               MI   48601‐9305
TITSWORTH, STEVEN D                5890 MURPHY LAKE RD                                                                          MILLINGTON            MI   48746‐8715
TITTABAWASSEE TOWNSHIP TREASURER   145 S 2ND ST                        P O BOX 158                                              FREELAND              MI   48623‐2507

TITTERINGTON DICK                  820 CONESTOGA TRL                                                                            RHOME                 TX   76078‐4215
TITTERINGTON JR, ROBERT            770 RUIE RD                                                                                  N TONAWANDA           NY   14120‐1745
TITTERINGTON, HENRY                21719 E 12 MILE RD                                                                           SAINT CLAIR SHORES    MI   48081‐1235
TITTERINGTON, JEAN                 21719 E 12 MILE RD                                                                           SAINT CLAIR SHORES    MI   48081‐1235
TITTERINGTON, LORI L               820 CONESTOGA TRL                                                                            RHOME                 TX   76078‐4215
TITTERINGTON, NORMAN D             350 MORGAN ST                                                                                TONAWANDA             NY   14150‐2027
TITTJUNG, PETER P                  22910 LINCOLN ST                                                                             SAINT CLAIR SHORES    MI   48082‐1709
TITTLE JR, JOHN R                  7357 DAVIS DR                                                                                N RIDGEVILLE          OH   44039‐4118
TITTLE, DAVID T                    1278 N HAMPTON RD                                                                            NEW CARLISLE          OH   45344‐9166
TITTLE, JACK H                     18021 E 31ST TERRACE DR S                                                                    INDEPENDENCE          MO   64057‐1867
TITTLE, JEFFREY W                  3760 FAIRWOOD DR                                                                             SYLVANIA              OH   43560‐3910
TITTLE, KENNETH W                  361 CARDIGAN RD                                                                              DAYTON                OH   45459‐1713
TITTLE, MARIE C                    2401 S L ST                                                                                  RICHMOND              IN   47374‐7439
TITTLE, MARTIN D                   2347 WINDMIRE WAY                                                                            ANDERSON              IN   46012‐9463
TITTLE, SANDRA K                   3237 MCKINLEY AVE LOT 29                                                                     COLUMBUS              OH   43204‐3699
TITTLE, WILLIAM C                  148 PINE DR                                                                                  LEWISVILLE            TX   75057‐4810
TITTLE, WILLIAM G                  6260 W 800 S                                                                                 FAIRMOUNT             IN   46928‐9357
TITTLE‐BARNETT, JOY BERRY          406 ORCHARD DR                                                                               JOHNSON CITY          TN   37604‐5326
TITTMANN THOMAS                    TITTMANN, THOMAS                    TECHNICAL SUPPORT MANAGER AVIS                           PARSIPPANY            NJ   07054
                                                                       BUDGET GROUP
TITTMANN, THOMAS                   50 NEW YORK AVE                                                                              WEST HEMPSTEAD        NY 11552
                                  09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                    Part 37 of 40 Pg 201 of 901
Name                              Address1                          Address2            Address3       Address4         City              State Zip
TITTMANN, THOMAS                  TECHNICAL SUPPORT MANAGER         AVIS BUDGET GROUP   6 SYLVAN WAY                    PARSIPPANY         NJ 07054
TITUS BROWN                       PO BOX 87                                                                             METAMORA           MI 48455‐0087
TITUS COUNTY APPRAISAL DISTRICT   PO BOX 528                                                                            MT PLEASANT        TX 75456‐0528
TITUS COUNTY COLLECTOR            105 W 1ST ST STE 101                                                                  MT PLEASANT        TX 75455‐4454
TITUS GRAY, BILLIE J              609 SOMMERS AVE                                                                       WABASH             IN 46992‐2021
TITUS HAGY                        1108 OLD RIDER RD                                                                     HARPERS FERRY      WV 25425‐3133
TITUS III, NORMAN E               15816 W 150TH TER                                                                     OLATHE             KS 66062‐4661
TITUS J PATRICK JR                3888 DORSET DR                                                                        HARRISON TWP       OH 45405‐1939
TITUS JR, LEROY A                 55 LN 131A TURKEY LAKE                                                                LA GRANGE          IN 46761
TITUS JR, LEROY A                 55 LANE 131A TURKEY LAKE                                                              LAGRANGE           IN 46761‐9269
TITUS KEITH CORP                  PO BOX 920                                                                            WEEDSPORT          NY 13166‐0920
TITUS LAWRENCE                    994 PRINCETON DR                                                                      CLERMONT           FL 34711‐6760
TITUS MOUNTAIN SKI AREA INC       215 JOHNSON RD                                                                        MALONE             NY 12953‐5927
TITUS PATRICK JR                  3888 DORSET DR                                                                        DAYTON             OH 45405‐1939
TITUS REDDELL                     508 DOLINGER CT                                                                       TRIMBLE            MO 64492‐8835
TITUS RUTH A                      TITUS, GRAYDON W                  16 FRONT ST                                         NORWICH            NY 13815‐1807
TITUS RUTH A                      TITUS, RUTH A                     16 FRONT ST                                         NORWICH            NY 13815‐1807
TITUS TUBB                        337 SAVANNAH GARDEN DRIVE                                                             O FALLON           MO 63366‐3221
TITUS, BARBARA A                  4600 ONONDAGA BLVD APT 24                                                             SYRACUSE           NY 13219‐3313
TITUS, BERDEENE E                 9633 VALLEY VIEW RD UNIT 2408                                                         MACEDONIA          OH 44056‐3008
TITUS, BETTY A                    654A ROSE HOLLOW DR                                                                   YARDLEY            PA 19067‐6304
TITUS, BRUCE F                    1521 ARROW LN                                                                         FLINT              MI 48507‐1882
TITUS, DENNIS                     PAUL REICH & MYERS PC             1608 WALNUT ST      STE 500                         PHILADELPHIA       PA 19103‐5446
TITUS, DONALD A                   24452 HANOVER ST                                                                      DEARBORN HTS       MI 48125‐2044
TITUS, DOUGLAS F                  205 MAIN ST                                                                           PARKVILLE          MO 64152‐3733
TITUS, EDWARD L                   222 E BEECH ST                                                                        JEFFERSON          OH 44047‐9490
TITUS, GEORGE T                   104 PATRICIA LN                                                                       LEVITTOWN          PA 19057‐3830
TITUS, GERALD E                   7840 N TROY RD                                                                        GREENFIELD         IN 46140‐9028
TITUS, GLEN A                     4349 HIGHWAY HH                                                                       ODESSA             MO 64076‐6373
TITUS, GRACE                      4910 S TANAGER AVE                                                                    BATTLEFIELD        MO 65619‐8302
TITUS, GRACE F                    7503 WALNUT ST                                                                        KANSAS CITY        MO 64114‐1950
TITUS, GRAYDON W                  MCBRIDE, PETER J                  16 FRONT ST                                         NORWICH            NY 13815‐1807
TITUS, GREGORY D                  67 BRADFORD ST                                                                        WOONSOCKET          RI 02895‐5717
TITUS, H L                        2961 25TH ST                                                                          DETROIT            MI 48216‐1001
TITUS, H L                        2961 25TH STREET                                                                      DETROIT            MI 48216‐1001
TITUS, JAMES                      PO BOX 92                                                                             ASH FLAT           AR 72513‐0092
TITUS, JAMES A                    5841 SHAUN RD                                                                         WEST BLOOMFIELD    MI 48322‐1626
TITUS, JAMES T                    839 SHAWHAN RD                                                                        MORROW             OH 45152‐9625
TITUS, JOHN                       684 CHALFONTE PL NE                                                                   WARREN             OH 44484‐2114
TITUS, JOHN M                     6370 HARRIET DR                                                                       WATERFORD          MI 48327‐1214
TITUS, JON R                      208 WASHINGTON WAY                                                                    MASON              OH 45040‐2142
TITUS, JOSEPH C                   5660 CINCINNATI COLUMBUS RD S B                                                       WAYNESVILLE        OH 45068
TITUS, LAWRENCE                   SCHULTE J BRYAN                   PO BOX 517                                          BURLINGTON          IA 52601‐0517
TITUS, LESTER L                   2102 ARLEIGH RD                                                                       CINNAMINSON        NJ 08077‐3604
TITUS, MARCUS S                   9317 MCWAIN RD                                                                        GRAND BLANC        MI 48439‐8363
TITUS, MARCUS SHANE               9317 MCWAIN RD                                                                        GRAND BLANC        MI 48439‐8363
TITUS, MARK W                     9317 MCWAIN RD                                                                        GRAND BLANC        MI 48439‐8363
TITUS, MICHELE L                  203 NE 55TH ST                                                                        OAK ISLAND         NC 28465
TITUS, MICHELLE N                 814 ILLINOIS AVE                                                                      MC DONALD          OH 44437‐1616
TITUS, MILDRED L                  3044 COLUMBUS ST                                                                      GROVE CITY         OH 43123‐2754
TITUS, MORRIS D                   9705 N 500 E                                                                          PENDLETON          IN 46064‐9414
TITUS, PAMELA K                   PO BOX 623                                                                            COLUMBIA           TN 38402‐0623
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                         Part 37 of 40 Pg 202 of 901
Name                                  Address1                        Address2                            Address3     Address4           City               State Zip
TITUS, PHILLIP F                      275 E RIDGE RD                                                                                      SEDONA              AZ 86336‐4029
TITUS, PHYLLIS R                      7024 BELLCREEK LN                                                                                   TROTWOOD            OH 45426‐4728
TITUS, RICKEY                         1003 SABRE LN                                                                                       HERNDON             VA 22070
TITUS, ROBERT G                       3919 EDINBURG DRIVE                                                                                 AUSTINTOWN          OH 44511
TITUS, RUTH A
TITUS, RUTH A                         MCBRIDE, PETER J                16 FRONT ST                                                         NORWICH            NY   13815‐1807
TITUS, RUTH E                         3041 WILLOW ROAD                                                                                    HENDERSONVLLE      NC   28739‐7792
TITUS, SHARON M                       9317 MCWAIN ROAD                                                                                    GRAND BLANC        MI   48439‐8363
TITUS, SUSAN A                        112 W VICKSBURG ST                                                                                  BROKEN ARROW       OK   74011‐3612
TITUS, THOMAS R                       2411 PULASKI HWY                APT P133                                                            COLUMBIA           TN   38401‐4587
TITUS, THOMAS R                       2070 GARNER RD                                                                                      MOUNT PLEASANT     TN   38474‐2824
TITUS, VERNON J                       1095 HEMINGWAY RD                                                                                   LAKE ORION         MI   48360‐1227
TITUS, VICKY L                        4710 GLEN MOOR WAY                                                                                  KOKOMO             IN   46902‐9588
TITUS‐WILL CHEVROLET SALES, INC.      JAMES WILL                      2425 CARRIAGE LOOP SW                                               OLYMPIA            WA   98502‐1101
TITUS‐WILL CHEVROLET, BUICK, PONTIA   2425 CARRIAGE LOOP SW                                                                               OLYMPIA            WA   98502‐1101

TITUS‐WILL CHEVROLET, CADILLAC        JAMES WILL                      2425 CARRIAGE LOOP SW                                               OLYMPIA            WA   98502‐1101
TITUS‐WILL CHEVROLET, CADILLAC        2425 CARRIAGE LOOP SW                                                                               OLYMPIA            WA   98502‐1101
TITUS‐WILL OF LEWIS COUNTY, INC.      JAMES WILL                      2580 N NATIONAL AVE                                                 CHEHALIS           WA   98532‐2413
TITZ, GEORGE J                        220 DEMOREST AVE                                                                                    AVENEL             NJ   07001‐1240
TITZE DC                              3700 S WAVERLY RD                                                                                   LANSING            MI   48911
TITZE, WILLIAM E                      5664 CHESTNUT HILL DR                                                                               CLARKSTON          MI   48346‐3003
TIUFEKCHIEV, MICHAEL J                5377 W LEITNER DR                                                                                   CORAL SPRINGS      FL   33067
TIVIOUS SNIPES                        902 MARK DR                                                                                         AKRON              OH   44313‐5844
TIVIS DAVIS                           130 WOOD RD                                                                                         EAST TAWAS         MI   48730‐9756
TIVIS NEWSOME                         9701 FOX AVE                                                                                        ALLEN PARK         MI   48101‐1392
TIVO                                  JEFF D. STETTIN                 150 EAST 52ND STREET                15TH FLOOR                      NEW YORK           NY   10022
TIWAN OUTLAW                          1024 BENTWATER PKWY                                                                                 CEDAR HILL         TX   75104‐6908
TIWARI, MAMTA                         3464 DOBBIN DR                                                                                      STERLING HEIGHTS   MI   48310‐3075
TIWARY, PARAMANAND                    41147 SCARBOROUGH LN                                                                                NOVI               MI   48375‐2890
TIYAMIEACHO T FOX                     PO BOX 320676                                                                                       FLINT              MI   48532‐0012
TIZANA JOHNSON                        1658 LAVENDER AVE                                                                                   FLINT              MI   48504‐3012
TIZANA L JOHNSON                      1658 LAVENDER AVE                                                                                   FLINT              MI   48504‐3012
TIZCARENO, SR., JOSEPH                PAUL HANLEY & HARLEY            1608 4TH ST STE 300                                                 BERKELEY           CA   94710‐1749
TIZEDES, JILL S                       29460 WALNUT ST                                                                                     FLAT ROCK          MI   48134‐1363
TIZEDES, JOHN M                       9220 MANOR AVE                                                                                      ALLEN PARK         MI   48101‐1424
TIZIANI JOHN R JR                     TIZIANI, JOHN R                 55 PUBLIC SQ STE 650                                                CLEVELAND          OH   44113‐1909
TIZIANI, JOHN R                       KAHN & ASSOCIATES               55 PUBLIC SQ STE 650                                                CLEVELAND          OH   44113‐1909
TIZIKER, MAFALDA                      143 W FRANKLIN AVE APT 218                                                                          PENNINGTON         NJ   08534‐1440
TIZIO CAIO                            E╥FMN                           KJ╥JLK                            KKJN╥LJN       ╥KJLKJLJJN         └L
TIZONO JOHN                           TIZONO, JOHN                    2825 3RD AVE NORTH, SUITE 100, PO                                   BILLINGS           MT 59101
                                                                      BOX 339
TIZONO JOHN                           TIZONO, SHERRY                  P.O. BOX 339 SUITE 100                                              BILLINGS           MT 59103
TIZONO, JOHN                          1405 CLARHILL RD                                                                                    LAUREL             MT 59044‐8354
TIZONO, JOHN                          RAGAIN, JAMES                   2825 3RD AVE NORTH, SUITE 100, PO                                   BILLINGS           MT 59101
                                                                      BOX 339
TIZONO, SHERRY                        JAMES RAGAIN                    P.O. BOX 339 SUITE 100                                              BILLINGS           MT   59103
TIZONO, SHERRY                        1405 CLARHILL RD                                                                                    LAUREL             MT   59044‐8354
TIZZARD, SANDRA J                     9 ROYAL PALM WAY UNIT 301                                                                           BOCA RATON         FL   33432‐7832
TJ & SUSAN KUWITZKY                   11382 MOUNT CURVE RD                                                                                EDEN PRAIRIE       MN   55347
TJ BEACH                              1475 SCOUT RD                                                                                       EATON RAPIDS       MI   48827‐9345
TJ BELL INC                           1340 HOME AVE                                                                                       AKRON              OH   44310
                                  09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                    Part 37 of 40 Pg 203 of 901
Name                              Address1                       Address2                       Address3            Address4                City              State Zip
TJ MARQUART & SONS INC            5195 RR 19                                                                                                GAINESVILLE        NY 14066
TJ MARQUART & SONS INC            5195 ROUTE 19                                                                                             GAINESVILLE        NY 14066‐9701
TJ S TRUCKING INC                 10709 45 MILE RD                                                                                          CADILLAC           MI 49601
TJ SAMSON COMMUNITY               1301 N RACE ST                                                                                            GLASGOW            KY 42141‐3454
TJ SMITH
TJ SNOW CO INC                    6207 JIM SNOW WAY                                                                                         CHATTANOOGA       TN   37421‐3512
TJ SNOW/BOX 22847                 PO BOX 22847                                                                                              CHATTANOOGA       TN   37422‐2847
TJ TRANSPORT INC                  PO BOX 3992                                                                                               BAY ST LOUIS      MS   39521‐3992
TJ WILLIAMS                       19509 MURRAY HILL ST                                                                                      DETROIT           MI   48235‐2467
TJADEN, KENNETH R                 911 BRADLEY DR                                                                                            WILMINGTON        DE   19808‐4204
TJARKS, FRITZ E                   6351 PINETREE DR                                                                                          SHELBY TOWNSHIP   MI   48316‐3278
TJERNLUND, RODNEY E               1315 NURSERY HILL LANE                                                                                    SAINT PAUL        MN   55112‐5754
TJH AUTOMOTIVE COMPANY LLC/AVIS   6 SYLVAN WAY                                                                                              PARSIPPANY        NJ   07054
TJH CHEVROLET CO.,LLC             THOMAS HESSERT                 RTE 38 & LENOLA RD                                                         MOORESTOWN        NJ   08057
TJIN GENE                         24411 OPAL HILL CT                                                                                        LAGUNA NIGUEL     CA   92677‐4045
TJIN NEIL                         DBA TJIN EDITION LLC           24411 OPAL HILL CT                                                         LAGUNA NIGUEL     CA   92677‐4045
TK BILSTIEN                       MARCO WITTING                  8685 BERK BLVD                                                             HAMILTON          OH   45015‐2205
TK GROUP/ROCKFORD                 STEWART SQUARE SUITE 250       1781 S BELL SCHOOL RD                                                      CHERRY VALLEY     IL   61016‐9338
TK HOLDINGS INC                   ATTN: KEVIN KENNEDY            2500 TAKATA DR                                                             AUBURN HILLS      MI   48236
TK HOLDINGS INC                   DON A SCHIEMANN ESQ            TK HOLDINGS INC                2500 TAKATA DRIVE                           AUBURN HILLS      MI   48326
TK HOLDINGS INC                   3528 US HIGHWAY 57             EPDC TAKATA DISTRIBUTION CTR                                               EAGLE PASS        TX   78852‐5749
TK HOLDINGS INC                   FRMLY GATEWAY SAFETY SYSTEMS   2444 KOPPY DR                                                              AUBURN HILLS      MI   48326
TK HOLDINGS INC                   2500 TAKATA DRIVE 2/15/07                                                                                 AUBURN HILLS      MI   48326
TK HOLDINGS INC                   PO BOX 420459                  715 FRONTERA ST                                                            DEL RIO           TX   78842‐0459
TK HOLDINGS INC                   2500 TAKATA DR                                                                                            AUBURN HILLS      MI   48326‐2634
TK HOLDINGS INC                   629 GREEN VALLEY RD STE 300                                                                               GREENSBORO        NC   27408‐7726
TK HOLDINGS INC                   LAURA L. ERWIN‐HALL            3524 HIGHWAY 57 NORTH                                                      CIRCLEVILLE       OH   43113
TK TECHNOLOGIES                   735 NOTTINGHAM FOREST CIR                                                                                 JACKSONVILLE      FL   32259‐8306
TK TECHNOLOGY                     735 NOTTINGHAM FOREST CIR                                                                                 JACKSONVILLE      FL   32259‐8306
TKA CORP                          740 BAXTER LN                                                                                             WINCHESTER        TN   37398‐1254
TKA CORPORATION                   740 BAXTER LN                                                                                             WINCHESTER        TN   37398‐1254
TKA FABCO CORP                    850 DIVISION RD                                                                   WINDSOR CANADA ON N9A
                                                                                                                    6P7 CANADA
TKA FABCO CORP.                   RICH CARPENE X244              1130 WELLINGTON ST.                                AHERBROOKE 51H 5E7
                                                                                                                    CANADA
TKA FABCO/ONTARIO                 99 GOLF COURSE DRIVE                                                              RIDGETOWN ON N0P2C0
                                                                                                                    CANADA
TKA FABCO/SPRINGFLD               1 FABCO DR                                                                                                SPRINGFIELD       TN   37172‐6843
TKA/BACC                          PO BOX 307                     740 BAXTER LANE                                                            WINCHESTER        TN   37398‐0307
TKAC, CAROLYNNE                   GUTMAN HOWARD A                352 CONCORD ST                                                             RAHWAY            NJ   07065
TKAC, RONALD M                    11644 SPENCER RD                                                                                          BRIGHTON          MI   48114‐7518
TKAC, RONALD M                    236 HILLCREST AVE                                                                                         HUBBARD           OH   44425‐1615
TKACH, ARLENE R                   1964 WESTON AVE                                                                                           YOUNGSTOWN        OH   44514‐1042
TKACH, DENNIS M                   P.0. BOX 198                                                                                              COLUMBIANA        OH   44408
TKACH, JOHN                       8612 CATARINA PL                                                                                          POLAND            OH   44514‐2994
TKACH, LEONARD M                  216 S LAKESHORE DR                                                                                        MANAHAWKIN        NJ   08050‐2920
TKACHUK, LEON                     22300 N FAIRWAY DR                                                                                        WOODHAVEN         MI   48183‐3107
TKACIK, THOMAS E                  3611 E NAMBE CT                                                                                           PHOENIX           AZ   85044‐3872
TKACZYK, GARY P                   1225 LEGION RD                                                                                            CORUNNA           MI   48817‐1235
TKACZYK, HELEN                    RTE 1 15985 RIDGE                                                                                         OAKLEY            MI   48649
TKACZYK, HELEN A                  8974 CHESANING RD                                                                                         CHESANING         MI   48616‐8432
TKACZYK, LARRY P                  2812 E CLINTON TRL                                                                                        CHARLOTTE         MI   48813‐9301
                        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                            Part 37 of 40 Pg 204 of 901
Name                   Address1                          Address2                         Address3                 Address4                  City             State Zip
TKACZYK, LEONARD       914 S SAGINAW ST                                                                                                      OWOSSO            MI 48867‐4560
TKACZYK, RICHARD J     17357 CAMERON DR                                                                                                      NORTHVILLE        MI 48168‐3221
TKACZYK, ROBERT        2627 W M‐21 LOT 60                                                                                                    OWOSSO            MI 48867
TKACZYK, RONALD A      PO BOX 35                                                                                                             COLUMBIA          TN 38402‐0035
TKALENKO, CHERYL A     PO BOX 458                                                                                                            GREEN VALLEY      AZ 85622‐0458
TKATCHUK, ANDREW G     3 RUTHERFIELD LN                                                                                                      ROCHESTER         NY 14625‐2911
TKF INC                726 MEHRING WAY                                                                                                       CINCINNATI        OH 45203‐1809
TKINS
TKJ KK                 2500 TAKATA DRIVE                                                                                                     AUBURN HILLS     MI 48326
TKJ KK
TKJ KK                                                   KM 7 CARR PRESA LA AMISTAD COL                            ACUNA,CZ,26238,MEXICO

TKJ KK                                                   NO 8 TOYO KAIJI BLDG 4F 1‐5‐13                            TOKYO,JP,106‐0003,JAPAN
TKJ KK                 20 PLANT ARAD III ST NO 9                                                                   ARAD RO 310375 ROMANIA
TKJ KK                 2223 DOVE ST                                                                                                          PORT HURON       MI    48060‐6738
TKJ KK                 2500 TAKATA DR                                                                                                        AUBURN HILLS     MI    48326‐2634
TKJ KK                 2A FAWCETT DR                                                                                                         DEL RIO          TX    78842
TKJ KK                 33415 GROESBECK HWY                                                                                                   FRASER           MI    48026‐4203
TKJ KK                 629 GREEN VALLEY RD STE 300                                                                                           GREENSBORO       NC    27408‐7726
TKJ KK                 AVENIDA INDUSTRIAL REYNOSA        LOT 11                                                    REYNOSA TM 88780
                                                                                                                   MEXICO
TKJ KK                 BAHNWEG 1                                                                                   ASCHAFFENBURG BY 63743
                                                                                                                   GERMANY
TKJ KK                 BERND DIDEY                       PETRI                            BAHNWEG 1 POSTFACH 241                             HENDERSONVILLE   TN 37075
TKJ KK                 CRAIG FRITTS                      OF TAKATA (PAST MODEL SERVICE)   2 FAWCETT DRIVE                                    DEL RIO          TX 78840

TKJ KK                 JIM PEARSALL                      2 FAWCETT DR.                                                                       DEL RIO           TX   78840
TKJ KK                 KM 7 CARR PRESA LA AMISTAD COL                                                              ACUNA CZ 26238 MEXICO
TKJ KK                 KM 7 CARR PRESA LA AMISTAD COL    PARQUE INDUSTRIAL LA AMISTAD                              ACUNA CZ 26238 MEXICO

TKJ KK                 LARS SCH╒RMANN                    SCHEIBENBERGER STRAÄE 88                                  PROSTEJOV GERMANY
TKJ KK                 LARS SCHURMANN                    20 PLANT ARAD III ST NO 9                                 DANYANG JIANGSU CHINA
                                                                                                                   (PEOPLE'S REP)
TKJ KK                 LAURA L. ERWIN‐HALL               3524 HIGHWAY 57 NORTH                                                               CIRCLEVILLE      OH 43113
TKJ KK                 LIBRAMIENTO CARLOS SALINAS DE                                                               FRONTERA CZ 25610
                                                                                                                   MEXICO
TKJ KK                 LIBRAMIENTO CARLOS SALINAS DE     GORTARI 105 NORTE COL AVIACION                            FRONTERA CZ 25610
                                                                                                                   MEXICO
TKJ KK                 MEXICO 1405                                                                                 ED ACUNA CZ 26220
                                                                                                                   MEXICO
TKJ KK                 MEXICO 1405                       COL PARQUE INDUSTRIAL AMISTAD                             ED ACUNA CZ 26220
                                                                                                                   MEXICO
TKJ KK                 PO BOX 420459                     715 FRONTERA ST                                                                     DEL RIO           TX   78842‐0459
TKJ KK                 PO BOX 421117                     2A FAWCETT DR                                                                       DEL RIO           TX   78842‐1117
TKJ KK                 NO 8 TOYO KAIJI BLDG 4F 1‐5‐13
TKOWSKI, COLLEEN       PO BOX 536                                                                                                            MONUMENT BCH     MA    02553‐0536
TKS INDUSTRIAL/STHFL   26100 AMERICAN DR STE 400                                                                                             SOUTHFIELD       MI    48034‐6183
TKX LOGISTICS          8001 THYSSENKRUPP PKWY                                                                                                NORTHWOOD        OH    43619‐2082
TL INTERNATION/TROY    PO BOX 83127                                                                                                          TROY             MI    48083
TLC                    TANNER, RICHARD                   100 N CENTRAL EXPY STE 500                                                          RICHARDSON       TX    75080‐5322
TLC AUTOMOTIVE         4320 1ST AVENUE S                                                                           LETHBRIDGE AB T1J 4B3
                                                                                                                   CANADA
                                  09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                      Part 37 of 40 Pg 205 of 901
Name                             Address1                             Address2                      Address3                   Address4                City                  State Zip
TLC AUTOMOTIVE                   172 120TH AVE                                                                                                         HOLLAND                MI 49424‐2165
TLC COMMUNITY CREDIT UNION       PO BOX 927                                                                                                            ADRIAN                 MI 49221‐0927
TLC EYE CARE AND LAS             2723 SOUTH STATE STREET                                                                                               ANN ARBOR              MI 48104
TLC HEALTH NETWORK               12644 SENECA RD                                                                                                       IRVING                 NY 14081‐9714
TLC PAYROLL PLUS CORP            811 WASHINGTON AVE                                                                                                    DETROIT LAKES          MN 56501‐3013
TLC PLUMBING & UTILITY                                                5000 EDITH BLVD NE                                                                                      NM 87107
TLC REALTY LLC                   PO BOX 53627                                                       ATTN MR TERRY LEE                                  CINCINNATI             OH 45253‐0627
TLC RELOCATION INC               1112 BIRCHWOOD RD                                                                                                     WESTON                 FL 33327‐1817
TLC RELOCATION INC
TLCONCEPTS LLC                   STE 280                              13200 METCALF AVENUE                                                             OVERLAND PARK         KS   66213‐2823
TLG RESEARCH INC                 1011 N MAYFAIR RD STE 201            PO BOX 26936                                                                     MILWAUKEE             WI   53226‐3431
TLH STAFFING SERVICES INC        543 COUNTRY CLUB DR PMB 118                                                                                           SIMI VALLEY           CA   93065
TLI SOLUTIONS INC                C/O FRONTIER CHEMICAL SITE PRP       14500 AVION PKWY STE 301                                                         CHANTILLY             VA   20151‐1108
TLT TRANSPORT INC                PO BOX 164                                                                                                            BUTLER                OH   44822‐0164
TLV AMERICAN/CHARLOT             6701 NORTHPARK BLVD STE K                                                                                             CHARLOTTE             NC   28216‐0081
TM JACKSON                       139 SUMMIT ST                                                                                                         PONTIAC               MI   48342‐1167
TM MACHINE PRODUCTS, INC.        JOHN W. BUTLER                       24773 AVENUE ROCKEFELLER                                                         VALENCIA              CA   91355‐3466
TM MACHINE TOOL INC              521 MEL SIMON DR                                                                                                      TOLEDO                OH   43612‐4726
TM MORRIS MANUFACTURING          SHEILA HOST                          707 BURLINGTON AVENUE                                                            SEDALIA               MO   65301
TM MORRIS/LOGANSPORT             830 STATE ROAD 25 S                  P.O. BOX 658                                                                     LOGANSPORT            IN   46947‐4682
TMA TECHNOLOGIE DU MAGNESIUM E   1000 RUE ALBERT‐DURAND                                                                        TROIS‐RIVIERES QC G8Z
                                                                                                                               2M7 CANADA
TMA, INC.                        RUEL TEAGUE                          82 S HARNEY AVE                                                                  BURNS                 OR   97720‐1912
TMA‐MITCHELL                     806 N MAIN ST                                                                                                         MITCHELL              SD   57301‐2052
TMB COMPANY                      2326 N WESTWOOD AVE                                                                                                   SANTA ANA             CA   92706‐1945
TMB COMPANY                      4917 SILVER SPUR LN                                                                                                   YORBA LINDA           CA   92886‐2653
TMB CONTROLS/SMYRNA              PO BOX 184                           1136 S. LOWRY, UNIT D                                                            SMYRNA                TN   37167‐0184
TMC AIRLINES INC                 KELSEY LAW GROUP PC                  2395 S HURON PKWY STE 200                                                        ANN ARBOR             MI   48104‐5170
TMC SERVICES INC                 PO BOX 157                                                                                                            ELK RIVER             MN   55330‐0157
TMC SERVICES INC                 950 HWY 10 STE 3                     PO BOX 157                                                                       ELK RIVER             MN   55330
TMC TRANSPORTATION INC           PO BOX 903                                                                                                            MILWAUKEE             WI   53278‐0903
TMD FRICTION CAYMAN LTD          RODGER DABISH X203                   TMD FRICTION HOLDING GMBH     3994 PEPPERELL WAY                                 FLINT                 MI   48507
TMD FRICTION CAYMAN LTD          1035 CROOKS ROAD                                                                                                      TROY                  MI   48084
TMD FRICTION INC                 RODGER DABISH X203                   TMD FRICTION HOLDING GMBH     3994 PEPPERELL WAY                                 FLINT                 MI   48507
TMD FRICTION INC                 3994 PEPPERELL WAY                                                                                                    DUBLIN                VA   24084‐3837
TMF SERVICES MIAMI INC.          701 BRICKWELL AVENUE                 SUITE 1550                                                                       MIAMI                 FL
TMG SPORTS MARKETING             1092 CENTER RD 9/24/7 AM                                                                                              AUBURN HILLS          MI   48326
TMG STRATEGIES
TMG STRATEGIES LLC               2300 CLARENDON BLVD STE 901                                                                                           ARLINGTON             VA 22201‐3348
TMI CUSTOM AIR SYSTEMS INC       200 QUALITY WAY                                                                                                       HOLLY                 MI 48442‐9480
TMI EP LLC                       PAUL DIAZ                            C/O EXPORT CORP               6060 WHITMORE LAKE RD      EL MARQUEZ QA 76240
                                                                                                                               MEXICO
TMI EP LLC                       3190 PINE CONE COURT                                                                                                  MILFORD               MI 48381
TMI EP, LLC                      PAUL DIAZ                            C/O NINGBO TUOPU AUTOMOBILE   LONGTANSHAN ROAD, BEILUN                           SAN DIEGO             CA 92154

TMI INDUSTRIAL AIR SYSTEMS
TMI PATHOLOGY ASSOCI             PO BOX 10076                                                                                                          VAN NUYS              CA   91410‐0076
TMI PRODUCTS INC                 1493 E BENTLEY DR                                                                                                     CORONA                CA   92879‐1742
TMI PRODUCTS INC                 JEFF HUMPHREY                        1493 BENTLEY DRIVE                                                               BANGALORE KARNATAKA   IN
TMK AUTO REPAIR                  170 S WILLIAM DILLARD DR STE 5‐113                                                                                    GILBERT               AZ   85233‐5511
TMM LINES LIMITED LLC            215 E BAY ST STE 302                                                                                                  CHARLESTON            SC   29401‐2636
TMMAA LINE USA INC               1490 BEACHEY PL                                                                                                       CARSON                CA   90746‐4002
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
                                                                    Part 37 of 40 Pg 206 of 901
Name                             Address1                              Address2                      Address3                  Address4                 City           State Zip
TMO RENEWQABLES LTD              40 ALAN TURING ROAD                                                                           GUILDFORD GU2 7YF
                                                                                                                               GREAT BRITAIN
TMS CARRIERS INC                 800 N PROGRESS DR                                                                                                      SAUKVILLE      WI 53080‐1616
TMS DELIVERY                     3437 KRATHER RD                                                                                                        CLEVELAND      OH 44109‐3125
TMT SERVICES INC                 8165 ANCHOR DRIVE                                                                             WINDSOR CANADA ON N8N
                                                                                                                               5B7 CANADA
TN DEPARTMENT OF REVENUE         MATTHEW BARNES‐REVENUE OFFICER         PO BOX 739                                                                      COLUMBIA        TN 38402‐0739
TN DEPT OF LABOR & WORKFORCE     BOILER & ELEVATOR DIVISION             220 FRENCH LANDING                                                              NASHVILLE       TN 37243‐1002
TN DEPT OF REVENUE               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 500 DEADERICK ST                                                                NASHVILLE       TN 37242‐0700

TN DEPT OF REVENUE               500 DEADERICK ST                                                                                                       NASHVILLE       TN 37242‐0700
TN DEPT/ENVIRONMENT              401 CHURCH ST                         14TH FLOOR L & C TOWER                                                           NASHVILLE       TN 37243‐0001
TNB HOLDINGS PTY LTD             407/521 TOORAK RD                                                                             TOORAK VIC 3142
                                                                                                                               AUSTRALIA
TNEMEC COMPANY INC               6800 CORPORATE DR                                                                                                      KANSAS CITY    MO    64120‐1323
TNLA                             7730 S INTERSTATE 35                  NAME CHNG LTR MW 3/02                                                            AUSTIN         TX    78745‐6621
TNO MADYMO NORTH AMERICA         38701 7 MILE RD STE 260                                                                                                LIVONIA        MI    48152‐3965
TNO‐MADYMO                       38701 7 MILE RD STE 260                                                                                                LIVONIA        MI    48152‐3965
TNS CUSTOM RESEARCH INC          PO BOX 2218                                                                                                            CAROL STREAM   IL    60132‐0001
TNS CUSTOM RESEARCH INC          410 HORSHAM RD                                                                                                         HORSHAM        PA    19044
TNS CUSTOM RESEARCH INC          2700 OREGON RD                                                                                                         NORTHWOOD      OH    43619‐1057
TNS INDIA PVT LTD                30 HAUZ KHAS VILLAGE                                                                          NEW DELHI 110016 INDIA
TNS INDIA PVT LTD                CICD TOWER                                                                                    NEW DELHI IN 110016
TNS NORTH AMERICA INC            100 PARK AVE FL 4                                                                                                      NEW YORK        NY   10017‐5576
TNT AUTO SERVICE                 3215 S POPLAR ST                                                                                                       MARION          IN   46953‐3906
TNT AUTOMOTIVE, INC.             3619 N DIVISION ST                                                                                                     DAVENPORT       IA   52806‐5404
TNT BESTWAY                      2355 STEMMONS FRWY STE 700                                                                                             DALLAS          TX   75207
TNT BESTWAY TRANSPORTATION       PO BOX 29152                                                                                                           PHOENIX         AZ   85038‐9152
TNT CANADA INC                   555 BECK CRES                                                                                 AJAX CANADA ON L1Z 1C9
                                                                                                                               CANADA
TNT CARTAGE CO                   PO BOX 90112                                                                                                           DAYTON         OH 45490‐0112
TNT DEDICATED SERVICES           800 N PROGRESS DR                                                                                                      SAUKVILLE      WI 53080‐1616
TNT DISTRIBUTION SERVICES INC    PO BOX 66454                                                                                                           CHICAGO        IL 60666‐0454
TNT EXPRESS WORLDWIDE            6655 AIRPORT RD                                                                               MISSISSAUGA ON L4V 1V8
                                                                                                                               CANADA
TNT FREIGHT MANAGEMENT USA INC   5422 W ROSECRANS AVE                                                                                                   HAWTHORNE       CA 90250‐6609
TNT GARAGE                       711 DARNELL ST                                                                                                         BOAZ            AL 35957‐1413
TNT LOGISTICS NORTH              AMERICA DIV OF TNT CANADA INC         2600 NORTH PARK DRIVE         FRMLY DEDICATED SYSTEMS   BRAMPTON CANADA ON
                                                                                                     LTD                       L6S 6E2 CANADA
TNT RED STAR EXPRESS INC         34 WRIGHT AVE                         SCAC RSEL ADD CHNG 10/14/04                                                      AUBURN          NY 13021‐3118
TNT ROADFAST                     11 BLAIR DR                                                                                   BRAMPTON ON L6T 2H4
                                                                                                                               CANADA
TNT SCHEDULED SERVICES           5280 MAINGATE DR                                                                              MISSISSAUGA CANADA ON
                                                                                                                               L4W 1G5 CANADA
TNT SCHEDULED SERVICES INC       32432 DEQUINDRE RD                                                                                                     WARREN         MI    48092‐1005
TNT SKYPAK                       PO BOX 1009                                                                                                            WESTBURY       NY    11590
TNT SKYPAK INTL EXPRESS          PO BOX 1009                                                                                                            WESTBURY       NY    11590
TNT TRANSMISSIONS                2248 MAIN AVE E                                                                                                        WEST FARGO     ND    58078
TNT UNILINE                      955 INDUSTRIAL RD                     PO BOX 1374                                             CAMBRIDGE ON N1R 7G6
                                                                                                                               CANADA
TNT USA INC                      CS 9002                                                                                                                MELVILLE       NY 11747
TNT USA INC                      PO BOX 710746                                                                                                          COLUMBUS       OH 43271‐0746
                               09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                Part 37 of 40 Pg 207 of 901
Name                           Address1                      Address2                      Address3   Address4         City            State Zip
TO BE DELTED
TO BE RE ISSUED
TO BE RE USED
TO BE RE‐USED
TO BE REUSED
TO MANUALLY VOID T1 ESCHEATS
TO RUN BARS CORRECTIONS IN     DACOR
TOADVINE, TODD C               818 SIR GUY CT                                                                          MIAMISBURG      OH    45342‐2036
TOAL, AMY L                    PO BOX 118                                                                              BUNOLA          PA    15020‐0118
TOAL, EILEEN S                 21 VIRGINIA RD                                                                          PLEASANTVILLE   NY    10570‐1825
TOAL, MARION R                 29627 BOEWE DR                                                                          WARREN          MI    48092‐2220
TOAL, RAYMOND W                PO BOX 305                    ELIZABETH ROAD                                            BUNOLA          PA    15020‐0305
TOAL, THOMAS S                 1232 PADDY LN                                                                           ONTARIO         NY    14519‐9580
TOANA, MIKE WILLIAM            5414 MAPLEWOOD DR                                                                       SPEEDWAY        IN    46224‐3330
TOASTER, JOHNNY L              16150 MONICA ST                                                                         DETROIT         MI    48221‐2966
TOBABEN, CHARLES L             1702 CARDINAL LN                                                                        BROWNSBURG      IN    46112‐8863
TOBABEN, DAVID D               2346 KRONNER RD                                                                         COLUMBUS        MI    48063‐3404
TOBACCO, JOSEPHINE T           3914 PINE NEEDLE DRIVE                                                                  DULUTH          GA    30096‐2536
TOBACK, ARLENE S               69 SCHLEMMER ROAD                                                                       LANCASTER       NY    14086‐9726
TOBACK, ARLENE S               69 SCHLEMMER RD                                                                         LANCASTER       NY    14086‐9726
TOBAKOS, PAUL W                8275 W HURON CT                                                                         WHITE LAKE      MI    48386‐2513
TOBAL IVONNE                   APT 513                       10700 NORTHWEST 66TH STREET                               DORAL           FL    33178‐5508
TOBAN, MOATAZ/TN               1222 TROTWOOD AVE STE 305                                                               COLUMBIA        TN    38401‐6405
TOBAR, ARMANDO                 1119 RUTLEDGE DR                                                                        ROCKVALE        TN    37153‐4027
TOBAR, ENEDINA C               1117 AUGUSTA RD                                                                         BENBROOK        TX    76126‐3723
TOBAR, FELIPE                  2430 HIGHRIDGE LN SE                                                                    GRAND RAPIDS    MI    49546‐7536
TOBAR, OSCAR                   1532 PECAN AVE                                                                          NORMAN          OK    73072‐5747
TOBAR, RODRIGO N               5611 ST APT 94                                                                          ELMHURST        NY    11373
TOBASCO, JEFFERY V             3406 MANORWOOD DR                                                                       W HOMESTEAD     PA    15120‐1386
TOBASH, JOSEPH R               6403 EASTBOURNE AVE                                                                     BALTIMORE       MD    21224‐6202
TOBASH, SHELVIA J              6403 EASTBOURNE AVE                                                                     BALTIMORE       MD    21224‐6202
TOBB, RONALD E                 8138 SCOTTS LEVEL RD                                                                    BALTIMORE       MD    21208‐2226
TOBBE, GERALD E                18987 PIERPORT CT                                                                       CLINTON TWP     MI    48038‐5521
TOBBE, JAMES H                 1232 BRIGHTON LAKE RD                                                                   BRIGHTON        MI    48116‐1733
TOBBE, JAMES HILARY            1232 BRIGHTON LAKE RD                                                                   BRIGHTON        MI    48116‐1733
TOBBE, MELINDA M               3454 WARREN RD                                                                          CLEVELAND       OH    44111‐2015
TOBBY MILLER                   849 HENDERSON RD                                                                        HOWELL          MI    48855‐8762
TOBE ALLEN JR                  PO BOX 154                                                                              LINCOLNTON      GA    30817‐0154
TOBE LAWSON                    5543 GATEWATER BLVD                                                                     NEW ALBANY      OH    43054
TOBE, ALFRED J                 5019 WEDDINGTON DR                                                                      DAYTON          OH    45426‐1964
TOBE, BRENDA E                 141 MOHAWK RD                                                                           PONTIAC         MI    48341‐1125
TOBE, CHARLES F                110 TRACEY LN                                                                           GRAND ISLAND    NY    14072‐1920
TOBE, CHARLES H                3907 BARRYMORE LN                                                                       DAYTON          OH    45440‐3427
TOBE, DOUGLAS M                6710 DEER MEADOWS DR                                                                    HUBER HEIGHTS   OH    45424‐7050
TOBE, ELMER E                  11336 ROAD 10K                                                                          OTTAWA          OH    45875‐9512
TOBE, ELMER EUGENE             11336 ROAD 10K                                                                          OTTAWA          OH    45875‐9512
TOBE, ELMER J                  10516 MONROEVILLE RD                                                                    FORT WAYNE      IN    46816‐9578
TOBE, ROGER M                  346 BIG STONE DR                                                                        BEAVERCREEK     OH    45434‐5703
TOBE, RONALD J                 845 SUNSET DRIVE                                                                        ENGLEWOOD       OH    45322‐2227
TOBE, RONALD J                 845 SUNSET DR                                                                           ENGLEWOOD       OH    45322‐2227
TOBE, SHARON M                 3531 ETTER DR                                                                           DAYTON          OH    45416‐1941
TOBE,SHARON M                  3531 ETTER DR                                                                           DAYTON          OH    45416‐1941
                              09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                  Part 37 of 40 Pg 208 of 901
Name                          Address1                         Address2               Address3      Address4                  City              State Zip
TOBELER, FREDERICK C          5151 MURPHY LAKE RD                                                                             MILLINGTON         MI 48746‐8720
TOBELER, PATRICIA M           5151 MURPHY LAKE RD                                                                             MILLINGTON         MI 48746‐8720
TOBEN, REGINA M               461 SUN BONNET ST                                                                               SIMI VALLEY        CA 93065‐0616
TOBEN, ROBERT A               9445 VALOR DR                                                                                   FAIRHOPE           AL 36532‐4662
TOBER, ALVIN E                235 AVON BELDEN RD               C/O CHERYL L NIEDING                                           AVON LAKE          OH 44012‐1607
TOBER, BARBARA M              4620 LEAFDALE                    APT C3                                                         ROYAL OAK          MI 48073
TOBER, DONALD R               623 FRANKLIN ST                                                                                 SPRINGVILLE        NY 14141‐1149
TOBER, GRANT F                11030 S EVERGREEN DR                                                                            BIRCH RUN          MI 48415‐9758
TOBER, JENNIFER               1760 CRANSTON RD                                                                                BELOIT             WI 53511‐2542
TOBER, JOHN P                 14526 KERNER DR                                                                                 STERLING HTS       MI 48313‐2374
TOBER, KAREN A                P.O BOX 32                                                                                      ESSEXVILLE         MI 48732
TOBER, KAREN A                PO BOX 32                                                                                       ESSEXVILLE         MI 48732‐0032
TOBER, MARK T                 PO BOX 9022                      C/O SHANGHAI                                                   WARREN             MI 48090‐9022
TOBER, MARK T.                PO BOX 9022                      C/O SHANGHAI                                                   WARREN             MI 48090‐9022
TOBER, ROBERT A               7900 HEATHERDALE CT                                                                             CHARLOTTE          NC 28212‐6584
TOBER, ROBERT O               2152 PRINCETON LN                                                                               TEMPERANCE         MI 48182‐1380
TOBER, THEODORE W             3448 BRENTWAY APT 5B                                                                            BAY CITY           MI 48706
TOBER, WILLIAM R              512 THURSTON ST                                                                                 TOLEDO             OH 43605‐2526
TOBER, WILLIAM ROBERT         512 THURSTON ST                                                                                 TOLEDO             OH 43605‐2526
TOBERGTA, EVA R               4393 STATE ROUTE 46                                                                             WEST HARRISON      IN 47060‐8767
TOBERGTE, RICHARD L           126 PALM SPRINGS DR                                                                             FAIRFIELD          OH 45014‐8633
TOBERMAN, DONALD L            241 N ROHERTY RD                                                                                JANESVILLE         WI 53548‐9399
TOBERMAN, KURT D              13343 W COUNTY ROAD B                                                                           BRODHEAD           WI 53520‐9002
TOBERMAN, MARK D              818 S COUNTY ROAD H                                                                             JANESVILLE         WI 53548‐8528
TOBEY CHARLES (635939)        BRAYTON PURCELL                  PO BOX 6169                                                    NOVATO             CA 94948‐6169
TOBEY YOUNG                   19W551 COUNTRY LN                                                                               LOMBARD             IL 60148‐4552
TOBEY, BERNICE M              307 BUCKINGHAM PLACE                                                                            SHOREWOOD           IL 60404‐0512
TOBEY, BRIAN T                827 BRITTANY TRL                                                                                FLORENCE           KY 41042‐3191
TOBEY, BURTON H               136 CENTRAL ST                                                                                  BERLIN             MA 01503‐1214
TOBEY, CHARLES                BRAYTON PURCELL                  PO BOX 6169                                                    NOVATO             CA 94948‐6169
TOBEY, DARREL A               14908 KELLY DR                                                                                  SMITHVILLE         MO 64089‐8405
TOBEY, DAVID M                53440 ODILON AVE                                                                                SHELBY TOWNSHIP    MI 48316‐2555
TOBEY, JAMES R                12749 N 500 E                                                                                   ALEXANDRIA         IN 46001‐8986
TOBEY, JUNE E                 1614 DEWITT TRL                                                                                 ROSCOMMON          MI 48653‐9131
TOBEY, KATHRYN E              1901 WEST VAILE AVENUE                                                                          KOKOMO             IN 46901‐5010
TOBEY, LINDA A                12 WALLOP SCHOOL RD                                                                             ENFIELD            CT 06082‐5726
TOBEY, MAXINE F               338 COLGAN AVE                                                                                  PORT CHARLOTTE     FL 33952‐9711
TOBEY, MICHAEL C              3654 LOCKPORT RD                                                                                SANBORN            NY 14132‐9404
TOBEY, PAUL A                 2257 HAZELNUT LN                                                                                KOKOMO             IN 46902‐4497
TOBEY, REX C                  3654 LOCKPORT RD                                                                                SANBORN            NY 14132‐9404
TOBI E WHITE                  5292 GREENCROFT DR                                                                              TROTWOOD           OH 45426‐1958
TOBI KIPLING                  PO BOX 9022                      C/O GM KOREA                                                   WARREN             MI 48090‐9022
TOBIA, MARGUERITE             209 ARLINGTON AVENUE                                                                            UNION BEACH        NJ 07735‐2729
TOBIA, RICKY G                3219 E HOWELL RD                                                                                WEBBERVILLE        MI 48892‐9215
TOBIA, ROMIE F                3207 UNITY TREE DR                                                                              EDGEWATER          FL 32141‐6413
TOBIA, WILLIAM J              235 N DIETZ RD                                                                                  WEBBERVILLE        MI 48892‐9216
TOBIAL JOSEPH C (442358)      WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                NEW YORK           NY 10038
TOBIAL, JOSEPH C              WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                NEW YORK           NY 10038
TOBIAN, ARTHUR L              16125 CURTIS ST                                                                                 ROSEVILLE          MI 48066‐3764
TOBIANSKI, DENNIS J           1441 PEARL                                                                                      TEMPERANCE         MI 48182‐3311
TOBIAS AND CATHERINA DANIEL   BRAHMSSTRASSE 9                                                       LAUF A.D. PEGNITZ 91207
                                                                                                    GERMANY
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                      Part 37 of 40 Pg 209 of 901
Name                             Address1                          Address2                          Address3             Address4                City             State Zip
TOBIAS ANN                       767 FIFTH AVENUE 15TH FLOOR                                                                                      NEW YORK          NY 10153
TOBIAS CAROLYN QUINN             CHAPMAN LEWIS & SWAN              P O BOX 428                                                                    CLARKSDALE        MS 38614‐0428
TOBIAS DANIEL                    BRAHMSSTR. 9
TOBIAS DETTMAR                   KREUZWEG 21                                                                                                      NIENBURG/WESER         31582
TOBIAS DETTMAR                   C/O ADELHEID GUNDLACH                                                                                            NIENBURG               31582
TOBIAS DETTMAR                   C/O ADELHEID GUNDLACH             KREUZWEG 21                                            31582 NIENBURG/WESER
                                                                                                                          AR GERMANY
TOBIAS EFFLER                    G PATTERSON KEAHEY PC             ONE INDEPENDENCE PLAZA SUITE                                                   BIRMINGHAM        AL   35209
                                                                   612
TOBIAS EISSLER                   BAHNHOFSTR 57/1                                                                          72138
                                                                                                                          KIRCHENTELLINSFURT
                                                                                                                          GERMANY
TOBIAS EISSLER                   BAHNHOFSTR. 57/1
TOBIAS EISSLER                   BAHNHOFSTR. 57/1                  72138                             KIRCHENTELLINSFURT
TOBIAS ENGSTLER                  GOHLIEB‐DAIMLE‐STR 3                                                                     D‐78048 VILLNIGEN‐
                                                                                                                          SCHWERMINGER
                                                                                                                          GERMANY
TOBIAS ESTATE OF, JUAN ANTONIO   SICO WHITE & BRAUGH LLP           900 FROST BANK PLAZA 802 NORTH                                                 CORPUS CHRIST     TX   78370
                                                                   CARANCAHUA
TOBIAS HEER                      LINDELSTR 29                                                                             71720 OBERSTENFELD
                                                                                                                          GERMANY
TOBIAS HENRICH                   IM WEDEN 1
TOBIAS HOLEKAMP                  GROSSER BOECKEL 18                D‐31188 HOLLE
TOBIAS HOLEKAMP                  GROSSER BOECKEL 18                                                                       D‐31188 HOLLE GERMANY
TOBIAS JENNIFER                  TOBIAS, JENNIFER                  676 MARSH ROAD                                                                 PLAINWELL        MI 49080‐9541
TOBIAS JEROME (640601)           COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                                                CHICAGO          IL 60602
                                                                   FLOOR
TOBIAS JR, KENNETH               22636 WYNSMYTHE DR                                                                                               MATTAWAN         MI 49071‐8526
TOBIAS JR, MICHAEL W             PO BOX 50392                                                                                                     MIDWEST CITY     OK 73140‐5392
TOBIAS JUAN ANTONIO              FLORES TOBIAS, MIRNA              900 FROST BANK PLAZA 802 NORTH                                                 CORPUS CHRISTI   TX 78370
                                                                   CARANCAHUA
TOBIAS JUAN ANTONIO              TOBIAS, ERIBERTO                  900 FROST BANK PLAZA 802 NORTH                                                 CORPUS CHRISTI    TX   78370
                                                                   CARANCAHUA
TOBIAS JUAN ANTONIO              TOBIAS ESTATE OF, JUAN ANTONIO    900 FROST BANK PLAZA 802 NORTH                                                 CORPUS CHRISTI    TX   78370
                                                                   CARANCAHUA
TOBIAS JUAN ANTONIO              TOBIAS, JUAN ANTONIO              900 FROST BANK PLZ 802                                                         CORPUS CHRISTI    TX   78470
                                                                   N.CARANCAHUA
TOBIAS JUAN ANTONIO              TOBIAS, MARILY                    900 FROST BANK PLAZA 802 NORTH                                                 CORPUS CHRISTI    TX   78370
                                                                   CARANCAHUA
TOBIAS KIEDERICH                 SCHEUREN 53                                                                              53937 SCHLEIDEN
                                                                                                                          GERMANY
TOBIAS KUNZE                     DORNBLUETHSTR 11B                                                                        D‐01277 DRESDEN
                                                                                                                          GERMANY
TOBIAS LAXY                      FURTWAENGLERSTR. 45                                                                      BAYREUTH DEUTSCHLAND
                                                                                                                          95445
TOBIAS LORENZ                    GLOGAUER WEG 28                                                                          SCHWIEBERDINGEN 71701
                                                                                                                          GERMANY
TOBIAS MILLS                     2613 DAKOTA AVE                                                                                                  FLINT            MI 48506‐2807
TOBIAS MILNE, NANCY              3106 AVENIDA SIMI                                                                                                SIMI VALLEY      CA 93063‐1504
TOBIAS MILNE, NANCY A            3106 AVENIDA SIMI                                                                                                SIMI VALLEY      CA 93063‐1504
TOBIAS SCHEWE                    AM SCHEIDGENSBACH 6                                                                      46240 BOTTROP GERMANY
TOBIAS SCHNEIDER                 AM ALBERTSBERG 13                 D‐75031 EPPINGEN                                                               EPPINGEN         DE 75031
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                                           Part 37 of 40 Pg 210 of 901
Name                    Address1                        Address2                        Address3                    Address4                City                State Zip
TOBIAS SIMMONDS         10275 NEWLAND DR                                                                                                    OTISVILLE            MI 48463‐9748
TOBIAS SOLBRIG          PFARRSTR. 4                     08223 WERDA
TOBIAS SR, JOHN E       49 HAGER ST                                                                                                         BUFFALO             NY 14208‐1328
TOBIAS SR., ROBERT J    224 STATE STREET                                                                                                    MENDON              MI 49072
TOBIAS STUMBER          AM HEUWEG 4 1                                                                               71277 RUTESHEIM
                                                                                                                    GERMANY
TOBIAS YOUNG            1419 LAUREL ST                                                                                                      SAGINAW             MI   48602‐2829
TOBIAS, A PAULINE       530 S 1ST ST                                                                                                        HAMLER              OH   43524‐9745
TOBIAS, A PAULINE       530 SOUTH FIRST                                                                                                     HAMLER              OH   43524‐9745
TOBIAS, ANN M           150 CEDAR ST                                                                                                        EAST HANOVER        NJ   07936‐3037
TOBIAS, ARNOLD L        5721 N HARRISON AVE                                                                                                 HARRISON            MI   48625‐7617
TOBIAS, BARBARA L       5721 N HARRISON AVE                                                                                                 HARRISON            MI   48625‐7617
TOBIAS, BEATRICE C      520 MAIN ST                     ROOM NE 124A                                                                        MANISTIQUE          MI   49854
TOBIAS, BRUCE D         PO BOX 11703                                                                                                        SAINT PAUL          MN   55111‐0703
TOBIAS, BRUCE DEAN      PO BOX 11703                                                                                                        SAINT PAUL          MN   55111‐0703
TOBIAS, CAROLYN QUINN   GRENFELL SLEDGE & STEVENS       PO BOX 16570                                                                        JACKSON             MS   39236‐6570
TOBIAS, CAROLYN QUINN   CHAPMAN LEWIS & SWAN            PO BOX 428                                                                          CLARKSDALE          MS   38614‐0428
TOBIAS, CHARLENE        905 W MITCHELL DR                                                                                                   MIDWEST CITY        OK   73110‐2347
TOBIAS, CHARLES A       4775 OTTER LAKE RD                                                                                                  OTTER LAKE          MI   48464‐9746
TOBIAS, CHARLES J       25 LANYARD AVE                                                                                                      TROTWOOD            OH   45426‐3044
TOBIAS, CHESTER E       PO BOX 955                                                                                                          NORTH OLMSTED       OH   44070‐0955
TOBIAS, CLARA B         1238 NOUVELLE DR                                                                                                    MIAMISBURG          OH   45342‐6304
TOBIAS, DALLAS          2450 S STATE RD                                                                                                     DAVISON             MI   48423‐8601
TOBIAS, DARWIN A        PO BOX 942                                                                                                          LA LUZ              NM   88337‐0942
TOBIAS, DEAN A          2505 WOODCOCK LANE                                                                                                  TRAVERSE CITY       MI   49684‐7361
TOBIAS, DENISE L        6401 N WEBSTER RD                                                                                                   MOUNT MORRIS        MI   48458
TOBIAS, DENNIS E        3178 FERNWOOD RD                                                                                                    MCCOMB              MS   39648‐9660
TOBIAS, DUANE D         9263 OAK RD                                                                                                         OTISVILLE           MI   48463‐9745
TOBIAS, DUANE DOUGLAS   9263 OAK RD                                                                                                         OTISVILLE           MI   48463‐9745
TOBIAS, ERIBERTO        10481 COUNTY ROAD 48                                                                                                TYLER               TX   75706
TOBIAS, ERIBERTO        MIRNA FLORES TOBIAS AS          OF THE ESTATE OF ERIBERTO TOBIAS SICO, WHITE, HOELSCHER &   802 N CARANCAHUA STE    CORPUS CHRISTI      TX   78470
                        REPRESENTATIVE                                                   BRAUGH                     900
TOBIAS, ERNEST P        PO BOX 210532                                                                                                       SAINT LOUIS         MO   63121‐8532
TOBIAS, F B             418 MALPELO AVE                                                                                                     PUNTA GORDA         FL   33983‐5554
TOBIAS, FRED M          83 BLUE SURF CRT # 20079                                                                                            JASPER              GA   30143
TOBIAS, GARY L          1001 ANTHONY WAYNE BLVD                                                                                             DEFIANCE            OH   43512‐1364
TOBIAS, GERALDINE K     260 FULLER ST RT 1                                                                                                  NASHVILLE           MI   49073‐9769
TOBIAS, GREGORY L       10973 DEVILS LAKE HWY                                                                                               ADDISON             MI   49220‐9539
TOBIAS, GREGORY P       3132 MATHIS DR                                                                                                      CHARLOTTE           NC   28208‐3927
TOBIAS, GUY E           PO BOX 674                                                                                                          HAZEL PARK          MI   48030‐0674
TOBIAS, GUY EDWIN       PO BOX 674                                                                                                          HAZEL PARK          MI   48030‐0674
TOBIAS, ISABELLE T      G‐3064 MILLER ROAD APT 205                                                                                          FLINT               MI   48507‐1339
TOBIAS, ISABELLE T      G3064 MILLER RD APT 205                                                                                             FLINT               MI   48507‐1339
TOBIAS, JACKIE L        304 N COUNTY ROAD 500 E                                                                                             MUNCIE              IN   47302‐9037
TOBIAS, JAMES D         835 N MAIN ST APT 1                                                                                                 LAPEER              MI   48446‐1930
TOBIAS, JAMES E         2446 INGLEHILL PT                                                                                                   BLOOMFIELD HILLS    MI   48304‐1462
TOBIAS, JAMES H         210 RANDOLPH ST                                                                                                     HOLGATE             OH   43527‐9580
TOBIAS, JANET A         1333 BRENNER PASS                                                                                                   CLIO                MI   48420‐2149
TOBIAS, JANICE N        3243 CHENOA STREET                                                                                                  COMMERCE TWP        MI   48382‐4108
TOBIAS, JANICE N        3243 CHENOA ST.                                                                                                     COMMERCE TOWNSHIP   MI   48382
TOBIAS, JEFF A          572 TULANE ST                                                                                                       SAGINAW             MI   48604‐2249
TOBIAS, JENNIFER        676 MARSH RD                                                                                                        PLAINWELL           MI   49080‐9541
                               09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                 Part 37 of 40 Pg 211 of 901
Name                           Address1                       Address2                         Address3   Address4         City                  State Zip
TOBIAS, JOHN                   10‐011 R Y                                                                                  HAMLER                 OH 43524
TOBIAS, JOHN H                 1445 N WAGNER RD                                                                            ESSEXVILLE             MI 48732‐9698
TOBIAS, JOHN O                 18120 99TH AVE SE                                                                           SNOHOMISH              WA 98296‐8093
TOBIAS, JOSE PABLO TORRES
TOBIAS, JOSHUA A               6304 CLIFTON CT                                                                             PLAINFIELD            IL   60586‐1754
TOBIAS, JOYCE A                411 LINCOLN AVE                                                                             MCCOMB                MS   39648‐5605
TOBIAS, JUAN                   10481 COUNTY ROAD 48                                                                        TYLER                 TX   75706
TOBIAS, JUAN ANTONIO           SICO WHITE & BRAUGH            900 FROST BANK PLZ 802                                       CORPUS CHRISTI        TX   78470
                                                              N.CARANCAHUA
TOBIAS, JUDITH M               PO BOX 303                                                                                  GASSVILLE             AR   72635‐0303
TOBIAS, KAREN L                2881 DIAMOND MILL RD                                                                        FARMERSVILLE          OH   45325‐9226
TOBIAS, KAREN L                2881 SOUTH DIAMOND MILL RD                                                                  FARMERSVILLE          OH   45325‐5325
TOBIAS, KENNETH G              4124 MOUNT OLIVET RD                                                                        KALAMAZOO             MI   49004‐2063
TOBIAS, KEVIN D                3800 E COUNTY ROAD 1200 N                                                                   EATON                 IN   47338‐9581
TOBIAS, LEON                   4808 HIGHWAY 24                                                                             LIBERTY               MS   39645‐7257
TOBIAS, LOUIS S                1613 N JONES RD                                                                             ESSEXVILLE            MI   48732‐1548
TOBIAS, MARCIA E               9445 LINDA DR                                                                               DAVISON               MI   48423‐1798
TOBIAS, MARIA                  10481 COUNTY ROAD 48                                                                        TYLER                 TX   75706
TOBIAS, MARILY                 SICO WHITE & BRAUGH LLP        900 FROST BANK PLAZA 802 NORTH                               CORPUS CHRIST         TX   78370
                                                              CARANCAHUA
TOBIAS, MARILYN L              418 MALPELO AVE                                                                             PUNTA GORDA           FL   33983‐5554
TOBIAS, MARION J               5391 SANDY LN                  C/O RAMONA ANDREWS                                           COLUMBIAVILLE         MI   48421‐8703
TOBIAS, MARY E                 4625 SANTA ANITA PLACE                                                                      DAYTON                OH   45424‐3697
TOBIAS, MARY E                 4525 SANTA ANITA PL                                                                         DAYTON                OH   45424‐3697
TOBIAS, MARY M                 300 KENNELY RD APT 215                                                                      SAGINAW               MI   48609
TOBIAS, MAURICE A              628 STILLWATER PLACE                                                                        BOWIE                 MD   20721‐1814
TOBIAS, MELVIN L               1541 BRUMFIELD RD. SW                                                                       BOGUE CHITTO          MS   39629‐9629
TOBIAS, MICHAEL W              12 SANDY DR                                                                                 NEW MIDDLETOWN        OH   44442‐8734
TOBIAS, NELLIE R               6105 BLOSS DR                                                                               SWARTZ CREEK          MI   48473‐8816
TOBIAS, PHILIP J               1303 STARBOARD DR                                                                           OKEMOS                MI   48864‐3487
TOBIAS, RAYMOND J              3850 JIM DR                                                                                 BRIDGEPORT            MI   48722‐9617
TOBIAS, RICHARD A              501 EAST KENTUCKY AVENUE                                                                    EFFINGHAM             IL   62401‐3315
TOBIAS, RICHARD L              11744 KENTON DR                                                                             WHITMORE LAKE         MI   48189‐9342
TOBIAS, RICHARD M              328 BIEDE AVE                                                                               DEFIANCE              OH   43512‐2410
TOBIAS, RITA M.                2170 CLARK RUN RD                                                                           XENIA                 OH   45385‐9447
TOBIAS, ROBERT G               612 E CLINTON ST                                                                            HASTINGS              MI   49058‐2412
TOBIAS, ROBERT S               5467 E COLDWATER RD                                                                         FLINT                 MI   48506‐4509
TOBIAS, RONALD D               300 MCDONALD DR                                                                             HOUGHTON LAKE         MI   48629‐8311
TOBIAS, RONALD D               APT 323                        292 SMITH STREET                                             CLIO                  MI   48420‐1399
TOBIAS, ROSALEE A              17620 COUNTY ROAD 19                                                                        NEW BAVARIA           OH   43548
TOBIAS, SUSAN P                1175 MCMYLER ST NW                                                                          WARREN                OH   44485‐2860
TOBIAS, SYLVESTER              15775 APPOLINE ST                                                                           DETROIT               MI   48227‐4009
TOBIAS, TERRY R                959 HAMMOND AVE                                                                             FLINT                 MI   48503‐3165
TOBIAS, TRAVIS R               25 LANYARD AVE                                                                              TROTWOOD              OH   45426‐3044
TOBIAS, WILLIAM K              5099 NORTH GEORGETOWN ROAD                                                                  GRAND BLANC           MI   48439‐8771
TOBIASON, RICHARD L            1231 KIRTS BLVD UNIT D                                                                      TROY                  MI   48084‐4864
TOBIASSEN, MICHAEL E           4355 PHILLIPS RD                                                                            KINGSTON              MI   48741‐9763
TOBIASZ, MARILYN J             1410 W 54TH PL                                                                              LA GRANGE HIGHLANDS   IL   60525‐6520
TOBICZYK, JOHN L               11042 WINE PALM RD                                                                          FORT MYERS            FL   33966‐5729
TOBIE ROANE                    3736 S NEBRASKA ST                                                                          MARION                IN   46953‐4846
TOBIE ROBINETTE JR             1256 LESTER AVE                                                                             YPSILANTI             MI   48198‐6478
TOBIN & ANNE ARMSTRONG TEXAS   RANGER RESEARCH CENTER         PO BOX 2570                                                  WACO                  TX   76702‐2570
                         09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                             Part 37 of 40 Pg 212 of 901
Name                    Address1                          Address2                         Address3   Address4         City                 State Zip
TOBIN BRAUN             10040 OLD FARM TRL                                                                             DAVISBURG             MI 48350‐2250
TOBIN DAVIS             1907 WILTSHIRE RD                                                                              BERKLEY               MI 48072‐3315
TOBIN HISSONG           7954 GRAND ST                                                                                  DEXTER                MI 48130‐1314
TOBIN HUBBARD           3355 E HEMPHILL RD                                                                             BURTON                MI 48529‐1403
TOBIN JOHN T (626809)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK               VA 23510
                                                          STREET, SUITE 600
TOBIN JR, JOSEPH J      FISH HILL RD RD 1 4000                                                                         FRANKLINVILLE        NY   14737
TOBIN JR, WILLIAM J     1875 CURTIS CT                                                                                 FLORISSANT           MO   63031‐3101
TOBIN MICHAEL           11345 CHARLOTTE VIEW DRIVE                                                                     CHARLOTTE            NC   28277‐3743
TOBIN SHARON            13700 COUNTY ROAD 224                                                                          BROOKESMITH          TX   76827‐4602
TOBIN SR, CLARENCE R    PAUL REICH & MYERS PC             1608 WALNUT ST                   STE 500                     PHILADELPHIA         PA   19103‐5446
TOBIN TRUEX             1621 BROADMOOR CT                                                                              GRIMESLAND           NC   27837
TOBIN WALTER MD         490 ADCOCK RANCH RD                                                                            VICTORIA             TX   77904‐4709
TOBIN WILLIAMS          PO BOX 9022                       GM RAYONG                                                    WARREN               MI   48090‐9022
TOBIN WILLIAMS          8021 FRONTIER AVE                                                                              NIAGARA FALLS        NY   14304‐3315
TOBIN, ARTHUR J         7 TOMPKINS AVE                                                                                 OSSINING             NY   10562‐5005
TOBIN, CARRIE E         10915 STONEY CREEK CT             C/O JAN WESLEY TOBIN                                         INDIANAPOLIS         IN   46239‐9481
TOBIN, CHARLES S        21548 SUNSET DR                                                                                MACOMB               MI   48044‐5427
TOBIN, CHESTER E        420 IRON BRIDGE RD                                                                             CICERO               IN   46034‐9436
TOBIN, CHRISTINE J      306 ORCHARD DR                                                                                 CRANBERRY TOWNSHIP   PA   16066‐6826
TOBIN, CHRISTINE P      1610 HUFFMAN DR SW                                                                             WARREN               OH   44481‐9780
TOBIN, DANIEL J         5492 RESEARCH DR                  CHEF SOURCE C/O DANIEL J TOBIN                               CANTON               MI   48188‐2261

TOBIN, DANIEL J         PO BOX 192                                                                                     MOSCOW MILLS         MO   63362‐0192
TOBIN, DANIEL J         65 CADILLAC SQ STE 3801                                                                        DETROIT              MI   48226‐2894
TOBIN, DAVID L          416 MOUNT VERNON DR                                                                            XENIA                OH   45385‐5207
TOBIN, DAVID L          416 MT VERNON DR                                                                               XENIA                OH   45385‐5207
TOBIN, DENNIS L         5335 ACORN LN                                                                                  PRESCOTT             MI   48756
TOBIN, EDWARD D         108 FITZGERALD LN                                                                              WAYNESVILLE          NC   28786‐2568
TOBIN, ERIC G           2643 HOYTE DR                                                                                  SHREVEPORT           LA   71118‐2619
TOBIN, ERIC GRAHAM      2643 HOYTE DR                                                                                  SHREVEPORT           LA   71118‐2619
TOBIN, FRANCIS S        4625 SAWMILL RD                                                                                CLARENCE             NY   14031‐2228
TOBIN, GARLAND J        5840 HIGHWAY 2                                                                                 BASCOM               FL   32423‐9034
TOBIN, GERALD F         7674 S MISSION CT                                                                              FRANKLIN             WI   53132‐1842
TOBIN, GREGORY J        2127 SANDLEWOOD DR                                                                             BURTON               MI   48519‐1135
TOBIN, ISABELLE         2188 HIGHLANDER S E                                                                            KENTWOOD             MI   49508‐5031
TOBIN, JAMES            244 COACHLIGHT SQ                                                                              MONTROSE             NY   10548‐1255
TOBIN, JAMES J          12621 DIAGONAL RD                                                                              LAGRANGE             OH   44050‐9520
TOBIN, JAMES M          31 S MAIN ST                                                                                   MIDDLETOWN           DE   19709‐9443
TOBIN, JAMES M          6915 HUBBARD                                                                                   CLARKSTON            MI   48348
TOBIN, JASON P          471 N BON AIR AVE                                                                              YOUNGSTOWN           OH   44509‐1808
TOBIN, JESSIE M         2124 E STATE ST EXT                                                                            HUNTINGTON           IN   46750
TOBIN, JOHN J           11680 GRAYFIELD                                                                                REDFORD              MI   48239‐1454
TOBIN, JOHN R           1466 SODON CT                                                                                  BLOOMFIELD HILLS     MI   48302‐2353
TOBIN, JOHN T           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA   23510
                                                          STREET, SUITE 600
TOBIN, JONATHAN R       29307 W JEFFERSON AVE APT 8                                                                    GIBRALTAR            MI   48173‐9573
TOBIN, JOSEPH D         217 HENRY ST # PD                                                                              BUCHANAN             NY   10511
TOBIN, JOSEPH P         1229 CAMBRIDGE RD                                                                              BERKLEY              MI   48072‐1937
TOBIN, JUNE             605 LASALLE ST                                                                                 BAY CITY             MI   48706‐3949
TOBIN, KAREN E          1380 WINDEL WAY                                                                                BOARDMAN             OH   44512‐3754
TOBIN, KENT F           1100 AUGUSTA DR UNIT 303                                                                       OXFORD               MS   38655‐8941
                        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                            Part 37 of 40 Pg 213 of 901
Name                   Address1                          Address2                           Address3   Address4               City               State Zip
TOBIN, KEVIN A         4452 DYE RD                                                                                            SWARTZ CREEK        MI 48473‐8257
TOBIN, KEVIN ARTHUR    4452 DYE RD                                                                                            SWARTZ CREEK        MI 48473‐8257
TOBIN, LOIS J          1875 CURTIS CT                                                                                         FLORISSANT          MO 63031‐3101
TOBIN, MARIE T         8988 ST CLAIR RD                                                                POINTE AUX ROCHES ON
                                                                                                       CANADA N0R‐1N0
TOBIN, MARTHA          420 IRON BRIDGE RD                                                                                     CICERO             IN   46034‐9436
TOBIN, MARTINA         99 ERIE AVE                                                                                            FAIRBORN           OH   45324‐4409
TOBIN, MARY E          10338 W KINGSWOOD CIR                                                                                  SUN CITY           AZ   85351‐1941
TOBIN, MICHAEL G       PO BOX 126                        1852 BUNGO TRAIL                                                     LAKE GEORGE        MI   48633‐0126
TOBIN, MICHAEL S       28889 E KING WILLIAM DR                                                                                FARMINGTON HILLS   MI   48331‐2540
TOBIN, NAOMI W         1108 N RURALS ST                                                                                       INDIANAPOLIS       IN   46201‐1329
TOBIN, NAOMI W         1108 N RURAL ST                                                                                        INDIANAPOLIS       IN   46201‐1329
TOBIN, NATALIE A       APT 1114                          11701 METRIC BOULEVARD                                               AUSTIN             TX   78758‐3209
TOBIN, PATRICK R       608 FROST DR                                                                                           BAY CITY           MI   48706‐3505
TOBIN, PAUL
TOBIN, PHILIP D        1610 HUFFMAN DRIVE SOUTHWEST                                                                           WARREN             OH   44481‐9780
TOBIN, PHILIP J        2188 HIGHLANDER DR SE                                                                                  KENTWOOD           MI   49508‐5031
TOBIN, R J             17513 MAUMEE AVE                                                                                       GROSSE POINTE      MI   48230‐1622
TOBIN, RICHARD A       710 JUSTIN CT                                                                                          MIAMISBURG         OH   45342‐6445
TOBIN, RICHARD C       81 SATINWOOD DR                                                                                        CHEEKTOWAGA        NY   14225‐3715
TOBIN, RICKIE G        416 TEAL RD N                                                                                          MARTINSBURG        WV   25405‐8214
TOBIN, RICKIE GLENN    415 TEAL RD N                                                                                          MARTINSBURG        WV   25405‐8214
TOBIN, ROBERT J        1633 CAPTIVA DR                                                                                        AURORA             IL   60504‐3718
TOBIN, ROSALIND R      647 STONE DR                                                                                           GREENTOWN          IN   46936
TOBIN, SALLY A         7 TOMPKINS AVE                                                                                         OSSINING           NY   10562‐5005
TOBIN, SEAN J          11643 UNITY STREET NORTHWEST                                                                           MINNEAPOLIS        MN   55448‐2285
TOBIN, STEVEN L        49669 GLOUCESTER CT # 211B                                                                             SHELBY TWP         MI   48315
TOBIN, THOMAS J        314 SOUTH LN                                                                                           GRAND ISLAND       NY   14072‐1391
TOBIN, WILLIAM R       6219 S US HIGHWAY 51 LOT 149                                                                           JANESVILLE         WI   53546‐9516
TOBITS, AGNES M        2635 2ND AVE APT 525                                                                                   SAN DIEGO          CA   92103‐6563
TOBITS, AGNES M        2635 2ND AVE                      APT 525                                                              SAN DIEGO          CA   92103‐6563
TOBLER, BRADLEY E      6583 VALLEY OAK DR                                                                                     WEST JORDAN        UT   84081‐1876
TOBLER, GERALD A       2407 E PHILHOWER RD                                                                                    BELOIT             WI   53511‐7949
TOBO, CARLOS A         4606 BELLCREST DR                                                                                      MCKINNEY           TX   75070‐7750
TOBO, CARLOS ALBERTO   6403 AVANTI DR                                                                                         ARLINGTON          TX   76001‐7426
TOBO, JORGE A          3305 MARIAS DR                                                                                         FORT WAYNE         IN   46815‐6325
TOBO, JORGE ANTONIO    3305 MARIAS DR                                                                                         FORT WAYNE         IN   46815‐6325
TOBOC, EVA I           472 BANK NE                                                                                            WARREN             OH   44483‐3815
TOBOC, EVA I           472 BANK ST NE                                                                                         WARREN             OH   44483‐3815
TOBOLA, CAROL          51577 SHADYWOOD DR                                                                                     MACOMB             MI   48042‐4297
TOBOLA, FRANK W        4418 TEMPLE HL                                                                                         SAN ANTONIO        TX   78217‐1320
TOBOLA, RAYMOND L      4900 QUEENS CIR                                                                                        GLADWIN            MI   48624‐8225
TOBOLSKI, KIRK J       14475 JEFFERSON AVE.              1 NORTH                                                              ORLAND PARK        IL   60462
TOBOLT MARY & JOHN     1334 50TH ST S                                                                                         MOORHEAD           MN   56560‐7904
TOBONI MARY            TOBONI, MARY                      555 CALIFORNIA STREET 31ST FLOOR                                     SAN FRANCISCO      CA   94104

TOBONI, MARY           ALIOTO LAW FIRM                   555 CALIFORNIA ST FL 31                                              SAN FRANCISCO      CA   94104‐1534
TOBOY, BARBARA A       1093 POPLAR CT                                                                                         WYANDOTTE          MI   48192‐4407
TOBSING, CHRISTEL J    C/O DONALD C TOBSING              3937 W DAKIN ST                                                      CHICAGO            IL   60618
TOBSING, CHRISTEL J    3937 WEST DAKIN STREET                                                                                 CHICAGO            IL   60618‐3101
TOBY
TOBY A GREER           821 MURIEL NE                                                                                          ALBUQUERQUE        NM 87123
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                  Part 37 of 40 Pg 214 of 901
Name                           Address1                              Address2                 Address3   Address4         City            State Zip
TOBY A UNDERDOWN               2144 COURTLAND AVE                                                                         KETTERING        OH 45420‐2151
TOBY BENSON                    5698 N 50 E                                                                                NEW CASTLE       IN 47362
TOBY BERGER TRADITIONAL IRA    9792 LEMONWOOD CT                                                                          BOYNTON BEACH    FL 33437
TOBY CASTILLO                  1950 N MISTYWOOD CT                                                                        DEFIANCE         OH 43512‐3482
TOBY CHAPLIN                   2118 CHEVY CT                                                                              KOKOMO           IN 46902‐2530
TOBY D JOHNSON                 3553 BARCLEY MESSERLY RD.                                                                  SOUTHINGTON      OH 44470‐9782
TOBY DANFORD                   4845 COVENTRY PKWY                                                                         FORT WAYNE       IN 46804‐7132
TOBY DAY                       216 SHADE TREE CT                                                                          LAKE ST LOUIS    MO 63367‐1941
TOBY DORSETT
TOBY E WATTS                   143 W. WOODURY DR.                                                                         DAYTON          OH   45415
TOBY G COOK                    782 RICE ST                                                                                WOOD RIVER      IL   62095
TOBY GORSLINE                  3189 PONTIAC LAKE RD                                                                       WATERFORD       MI   48328‐2535
TOBY GREEN                     905 BURMAN AVE                                                                             TROTWOOD        OH   45426‐2724
TOBY HOUSE                     588 BELL RD                                                                                LULA            GA   30554‐4002
TOBY HOWELL                    5316 LEWISBURG HWY                                                                         PULASKI         TN   38478‐6899
TOBY J MIELE                   RR1 BOX 97F                                                                                STEVENSVILLE    PA   18845‐9740
TOBY J SILLS                   2476 ST RD #26                                                                             HARTFORD CITY   IN   47348
TOBY JAMES                     617 LONSVALE DR                                                                            ANDERSON        IN   46013‐3216
TOBY JARRETT                   3854 E 54TH ST                                                                             CLEVELAND       OH   44105‐3350
TOBY JEFFERSON BLOCK TRUST     C/O WILLIAM JEFFERSON BLOCK JR TTEE   3606 PRUETTS CHAPEL RD                               PARAGOULD       AR   72450

TOBY JOHNSON                   3553 BARCLAY MESSERLY RD                                                                   SOUTHINGTON     OH   44470‐9782
TOBY K JOHNSON                 4619 LEE ST                                                                                LEWISBURG       OH   45338
TOBY KENNEDY                   1408 N WABASH AVE                                                                          MARION          IN   46952‐1804
TOBY L ROSEN CHAPTER 13        PO BOX 616                                                                                 MEMPHIS         TN   38101‐0616
TOBY L ROSEN CHPT 13 TRUSTEE   ACCT OF JOHN E AVERY                  PO BOX 931238                                        CLEVELAND       OH   44193‐1469
TOBY L ROSEN TRUSTEE           ACCOUNT OF SANDRA L BUGGS             PO BOX 931238                                        CLEVELAND       OH   44193‐1469
TOBY MIELE                     RR 1 BOX 97F                                                                               STEVENSVILLE    PA   18845‐9740
TOBY PARKS                     31 RAY ST                                                                                  SOMERSET        NJ   08873‐3240
TOBY PEREZ                     108 PONDER DR                                                                              FRANKLIN        TN   37069‐1811
TOBY PULLIAM                   6028 HEDGEROW CIR                                                                          GRAND BLANC     MI   48439‐9788
TOBY RADEE                     3610 CARLISLE HWY                                                                          CHARLOTTE       MI   48813‐9560
TOBY RICHEY                    905 N CLARK ST                                                                             MARKLE          IN   46770‐9402
TOBY RICKETTS                  PO BOX 53                                                                                  BAINBRIDGE      IN   46105‐0053
TOBY SILLS                     2476 W STATE ROAD 26                                                                       HARTFORD CITY   IN   47348‐9532
TOBY STOUT                     5 ROYAL LN                                                                                 LOCKPORT        NY   14094‐5318
TOBY SULLIVAN                  201 W PARK ST                                                                              CONTINENTAL     OH   45831‐9134
TOBY THOMPSON                  4313 ANTIETAM CREEK TRL                                                                    LEESBURG        FL   34748‐1201
TOBY TIDWELL                   13520 S RAINBOW DR                                                                         GREGORY         MI   48137‐9680
TOBY WATTS                     143 W WOODBURY DR                                                                          DAYTON          OH   45415‐2845
TOBY WELLS PONTIAC‐BUICK‐GMC   PO BOX 4720                                                                                PINEHURST       NC   28374‐4720
TOBY WORKMAN                   1511 W 27TH TER                                                                            LAWRENCE        KS   66046‐4303
TOBY, CONNIE M                 4488 HILL RD                                                                               SWARTZ CREEK    MI   48473‐8846
TOBY, LOUIS J                  430 FLAMINGO STREET                                                                        ROCHESTER HLS   MI   48309‐3403
TOBY, SHARON A                 1521 WILLIAMSBURG RD                                                                       FLINT           MI   48507‐5639
TOBY, VIOLET J                 7661 ANTHONY STREET                                                                        FIFE LAKE       MI   49633‐9303
TOBY, WILLIAM P                20474 WOODBINE ST                                                                          DETROIT         MI   48219‐1030
TOCA JAIME                     951 TUNXIS HILL RD                                                                         FAIRFIELD       CT   06825‐4223
TOCA, JAIME                    108 PINE BANK ROAD                                                                         FLEMINGTON      NJ   08822‐7165
TOCARCHICK, DIANNE L           65 PERIWINKLE DR                                                                           OLMSTED FALLS   OH   44138‐3044
TOCARCHICK, DONNA M            9605 DEER TRL                                                                              HASLETT         MI   48840‐9200
TOCARCHICK, METRO J            248 BELMONT CT W                      C/O MELVIN FARLEY                                    N TONAWANDA     NY   14120‐4862
                           09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                               Part 37 of 40 Pg 215 of 901
Name                       Address1                         Address2              Address3       Address4                   City              State Zip
TOCCACELI, ALBERT          7566 CORAL DR                                                                                    GRAND BLANC        MI 48439‐8590
TOCCACELI, PASQUINA        1709 LAKE FOREST DRIVE           LOT 40                                                          HURON              OH 44839
TOCCACELI, THERESA         7566 CORAL DR                                                                                    GRAND BLANC        MI 48439‐8590
TOCCHINI JOSEPH (635149)   BRAYTON PURCELL                  PO BOX 6169                                                     NOVATO             CA 94948‐6169
TOCCHINI, JOSEPH           BRAYTON PURCELL                  PO BOX 6169                                                     NOVATO             CA 94948‐6169
TOCCI, DANIELA M           118 E MINGLEWOOD DR                                                                              MIDDLETOWN         DE 19709‐2412
TOCCI, DONATO              118 E MINGLEWOOD DR                                                                              MIDDLETOWN         DE 19709‐2412
TOCCI, JOYCE L             25 JAMES ST                                                                                      BRUNSWICK          ME 04011‐9473
TOCCO ANTHONY              44410 WINDMILL DR                                                                                CANTON             MI 48187‐1852
TOCCO INC                  1506 INDUSTRIAL BLVD                                                                             BOAZ               AL 35957‐1044
TOCCO SANDRO               9386543                          VIA CAPUT ACQUAS 28                  9013 CARBONIA (CI) ITALY
TOCCO'S AUTO               4030 DIVISION AVE S                                                                              GRAND RAPIDS      MI   49548‐3368
TOCCO, ALICE M             1320 SMITH ST.                   APT. 216                                                        LOGANSPORT        IN   46947
TOCCO, ANTHONY             34 BEVERLY AVE                                                                                   LOCKPORT          NY   14094‐2502
TOCCO, BETTY J             34418 MANOR RUN CIRCLE                                                                           STERLING HTS      MI   48312
TOCCO, CARL A              5075 WOODMIRE DR                                                                                 SHELBY TOWNSHIP   MI   48316‐2363
TOCCO, CHARLES W           7836 WEDDEL ST                                                                                   TAYLOR            MI   48180‐2662
TOCCO, CHRIS A             2215 CLEOPHUS PKWY                                                                               LINCOLN PARK      MI   48146‐2210
TOCCO, CLEONICIA M         360 OHIO ST                                                                                      LOCKPORT          NY   14094‐4218
TOCCO, DOMINIC J           28514 CLOVER CT                                                                                  CHESTERFIELD      MI   48047‐5412
TOCCO, FRANK J             11 GRAY BROOKE LN                                                                                FLORISSANT        MO   63031‐8016
TOCCO, GEORGE A            1 HOOVER PKWY                                                                                    LOCKPORT          NY   14094‐5713
TOCCO, GREGORY             18159 TOEPFER DR                                                                                 EASTPOINTE        MI   48021‐2767
TOCCO, JAMES D             35059 NANCY ST                                                                                   WESTLAND          MI   48186‐4326
TOCCO, JOHN W              1347 E LAKE BLVD                                                                                 ROBINSONVILLE     MS   38664‐8128
TOCCO, JOSEPH              53280 HILLSIDE DR                                                                                SHELBY TWP        MI   48316‐2734
TOCCO, JOSEPH P            17022 HEATHER LN                                                                                 CLINTON TWP       MI   48038‐2823
TOCCO, MARK G              54067 MYRICA DR                                                                                  MACOMB            MI   48042‐2223
TOCCO, MARY                9138 RIDGEFIELD DR                                                                               BRIGHTON          MI   48114‐4982
TOCCO, MONA R              15993 HOCKING BLVD                                                                               BROOK PARK        OH   44142‐2730
TOCCO, NADIR E             397 OHIO ST                                                                                      LOCKPORT          NY   14094‐4219
TOCCO, PHILIP              55623 NILE WAY                                                                                   MACOMB            MI   48042‐6188
TOCCO, PHILIP L            14720 PALMETTO CT                                                                                SHELBY TWP        MI   48315‐4314
TOCCO, PHILIP LOUIS        14720 PALMETTO CT                                                                                SHELBY TWP        MI   48315‐4314
TOCCO, PHYLLIS J           3456 DAWN DR                                                                                     WARREN            MI   48092‐1936
TOCCO, ROBERT J            52569 WOODMILL DR                                                                                MACOMB            MI   48042‐5665
TOCCO, SHELLI A            7109 ANNA DR                                                                                     BELLEVILLE        MI   48111‐5175
TOCCO, WANDA M             4333 BENNET                                                                                      DEARBORN          MI   48124
TOCCO, WILLIAM H           1471 CENTER STAR RD                                                                              COLUMBIA          TN   38401‐7750
TOCHA, CECELIA             6964 TOAD HOLLOW RD                                                                              LITTLE VALLEY     NY   14755
TOCHE PERRY                1916 SOUTHERN AVE                                                                                BILOXI            MS   39531‐5227
TOCHEFF, MARIE H           5888 BARBANNA LN                                                                                 DAYTON            OH   45415‐2415
TOCHMAN, DENISE R          20023 CHAMPAIGN ST                                                                               TAYLOR            MI   48180‐2972
TOCHMAN, WILLIAM J         31628 ALABAMA ST                                                                                 LIVONIA           MI   48150‐3933
TOCICKI WALTER             3235 ELDORA DR                                                                                   YOUNGSTOWN        OH   44511‐1251
TOCICKI, JEAN F            73 STANTON                                                                                       YOUNGSTOWN        OH   44512‐2216
TOCICKI, JEAN F            73 STANTON AVE                                                                                   YOUNGSTOWN        OH   44512‐2216
TOCK, BEVERLEY D           PO BOX 221                                                                                       SAINT HELEN       MI   48656‐0221
TOCK, RUDOLPH J            25 E UNION ST                                                                                    GREENWICH         OH   44837‐1116
TOCKSTEIN, BONNIE L        PO BOX 104                                                                                       MUNGER            MI   48747‐0104
TOCKSTEIN, FREDERICK W     1913 N JONES RD                                                                                  ESSEXVILLE        MI   48732‐8701
TOCOLLA DOUGHERTY          3395 ZUDELL CT                                                                                   EAST TAWAS        MI   48730‐9450
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                        Part 37 of 40 Pg 216 of 901
Name                                Address1                                Address2                Address3    Address4         City             State Zip
TOCUPS, MIRDZA                      2747 S SUPERIOR ST                                                                           MILWAUKEE         WI 53207‐2327
TOCZEK, FERDINAND W                 74 SUNNYSIDE PL                                                                              BUFFALO           NY 14207‐2237
TOCZEK, FRANK J                     4913 OVERTON AVE                                                                             KANSAS CITY       MO 64133‐1822
TOCZEK, JOYCE K                     18 MAUREEN AVE                                                                               CLARENCE          NY 14031‐2015
TOCZYNSKI, EDWARD G                 1234 MCKINLEY PKWY                                                                           LACKAWANNA        NY 14218‐1635
TOCZYNSKI, JAMES                    440 CREEKSIDE CT                                                                             ROSWELL           GA 30076‐2512
TOCZYNSKI, JANE A                   165 TUSCARORA RD                                                                             BUFFALO           NY 14220‐2429
TOD BAKER                           3725 S 600 W                                                                                 ANDERSON          IN 46011‐9436
TOD C HEATON                        6365 TIMBERMILL WAY                                                                          REYNOLDSBURG      OH 43068
TOD COTTER                          4230 WESTMONT DR                                                                             AUSTINTOWN        OH 44515‐3512
TOD D SUNDERLAND                    PO BOX 74                                                                                    MCVEYTOWN         PA 17051
TOD DAVID AND\OR FRED JR            201 E COMMERCE ST STE 310                                                                    YOUNGSTOWN        OH 44503‐1637
TOD GRABBE                          6007 EAGLE CREEK DRIVE                                                                       FORT WAYNE        IN 46814‐3211
TOD I YORK                          2296 PATRICIA DRIVE                                                                          KETTERING         OH 45420‐1038
TOD MCKAY                           6044 FOOTHILLS DR                                                                            MURFREESBORO      TN 37129‐2647
TOD MULLON                          1270 LIMESTONE AVE                                                                           THE VILLAGES      FL 32162‐3767
TOD SAPELAK                         3002 W JONES LAKE RD                                                                         GRAYLING          MI 49738‐8703
TOD SIMMONS                         2421 EDGEWATER DR                                                                            CORTLAND          OH 44410‐9642
TOD STOESSNER                       89 W PARK ST                                                                                 WESTERVILLE       OH 43081‐2014
TOD STUMP                           7783 FOSTER RD                                                                               CLARKSTON         MI 48346‐1942
TOD T SAPELAK                       3002 W JONES LAKE RD                                                                         GRAYLING          MI 49738‐8703
TOD TOWNE                           999 S MARINE CORPS DRIVE #501                                                                TAMUNING          GU 95913‐3415
TOD W EVANS                         430 WEXFORD WAY                                                                              ROSWELL           GA 30075
TODA, ANNA R                        1723 NILES‐CORTLAND RD.                                                                      WARREN            OH 44484‐4484
TODA, ANNA R                        1723 NILES CORTLAND RD SE                                                                    WARREN            OH 44484‐3034
TODA, MARY J                        3627 LIBERTY AVE., S.E.                                                                      HUBBARD           OH 44425‐2537
TODACHEENE, JAMES                   GORI JULIAN & ASSOCIATES PC             156 N MAIN ST                                        EDWARDSVILLE       IL 62025
TODAR KUZMANOV                      3304 WITHERBEE DR                                                                            TROY              MI 48084‐2714
TODARO, CHARLES                     2560 JOANN CT                                                                                NIAGARA FALLS     NY 14304‐4600
TODARO, DIANE L                     2902 NANCY CIR                                                                               BRUNSWICK         OH 44212‐1455
TODARO, FRANK R                     13031 EAGLE CHASE                                                                            NORTH ROYALTON    OH 44133‐4152
TODARO, JEROME M                    1522 OAK ST                                                                                  GREENSBURG        PA 15601‐5440
TODARO, JOSEPH P                    8 WINDSOR FALLS DR                                                                           ORMOND BEACH      FL 32174‐8291
TODARO, PATRICIA                    8 WINDSOR FALLS DR.,                                                                         ORMOND BEACH      FL 32174
TODARO, PETER                       8147 GOLDEN OAK CIR                                                                          BUFFALO           NY 14221‐8503
TODARO, URSULA                      3067 PAXON RD                           C/O ANNETTE DISTEFANO                                EDEN              NY 14057‐9407
TODASH, FRANK E                     1300 SCHOOL LN                                                                               ROEBLING          NJ 08554‐1615
TODASH, TREVOR A                    1419 SAUNTON CT                                                                              FORT WAYNE        IN 46814‐9333
TODAY CHEVROLET CO                  DBA TODAY CHEVROLET OLDSMOBILE          900 W HILLS BLVD        CADILLAC                     BREMERTON         WA 98312‐6300
TODAY CHEVROLET CO                  SHIERS CHREY COX DIGIOVANNI & ZAK LLP   600 KITSAP ST STE 202                                PORT ORCHARD      WA 98366

TODAY CHEVROLET CO.                 ERIC WILER                              900 W HILLS BLVD                                     BREMERTON        WA 98312‐6300
TODAY CHEVROLET OLDSMOBILE CADILLAC ERIC WILER                              900 W HILLS BLVD                                     BREMERTON        WA 98312‐6300

TODAY CHEVROLET OLDSMOBILE CADILLAC 900 W HILLS BLVD                                                                             BREMERTON        WA 98312‐6300

TODD
TODD & JOY CARINI                   1900 WASHINGTON AVE                                                                          ALTOONA          PA   16601
TODD A BAKER                        864 STOVER ROAD                                                                              W ALEXANDRIA     OH   45381
TODD A BARTEL                       449 8TH ST                                                                                   PLAINWELL        MI   49080‐9599
TODD A BOWDEN                       534 ELMGROVE                                                                                 HARRISON TW      OH   45415
TODD A BURGESS                      GREENBERG TRAURIG, LLP                  2375 CAMELBACK RD       SUITE 700                    PHEONIX          AZ   85016
                        09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 217 of 901
Name                    Address1                      Address2            Address3         Address4         City            State Zip
TODD A BURKHALTER       5113 COPPER RIVER AVE                                                               LAS VEGAS        NV 89130
TODD A COLEMAN          4626 RATHBURN DR                                                                    ENGLEWOOD        OH 45322
TODD A COTTENMYRE       235 SUNNYBROOK TRL                                                                  ENON             OH 45323‐1840
TODD A CROSS            4480 BERKSHIRE DR SE APT 8                                                          WARREN           OH 44484‐‐ 48
TODD A ELLIOTT          5221 SNYDER DOMER ROAD                                                              SPRINGFIELD      OH 45502‐9801
TODD A GALLAGHER        311 DELLWOOD ST                                                                     TILTON            IL 61833‐7530
TODD A GLUNT            P.O. BOX 1149                                                                       MIDDLETOWN       OH 45042
TODD A HARE             8150 FERDEN RD                                                                      CHESANING        MI 48615‐9740
TODD A HAWLEY SR        3921 SADDLE RIDGE CIR                                                               DAYTON           OH 45424
TODD A JONES            96 TIMBERHILL DR                                                                    FRANKLIN PARK    NJ 08823
TODD A KOZAREC          6810 LITTLE TWIN                                                                    GERMANTOWN       OH 45327‐8536
TODD A LITTLE           6820 WALNUT MILL LNDG                                                               CUMMING          GA 30040‐4213
TODD A MCGLAUN          886 CHESTNUT ST.                                                                    XENIA            OH 45385‐5162
TODD A MILLION          14784 BROOKVILLE PYRMONT RD                                                         BROOKVILLE       OH 45309‐9704
TODD A MOBLEY           965 NANCY AVE                                                                       NILES            OH 44446‐2731
TODD A MOORE            1210 HUNTCLIFF WAY                                                                  CLINTON          MS 39056‐3468
TODD A MYERS            13646 EDWIN CT                                                                      WARREN           MI 48088‐3703
TODD A NORRIS           7400 W 110TH ST STE 600       COMMERCE PLAZA II                                     OVERLAND PARK    KS 66210‐2360
TODD A PTACEK           4296 STAUNTON DR                                                                    SWARTZ CREEK     MI 48473‐8215
TODD A RICHTER          1703 TEXAS AVE                                                                      MIDDLETOWN       OH 45042
TODD A RIDER            1346 REID AVE                                                                       XENIA            OH 45385‐2746
TODD A RUMBARGER        2908 O'NEALL RD                                                                     WAYNESVILLE      OH 45068
TODD A SIMPSON          208 SOUTHVIEW LN                                                                    WEST MILTON      OH 45383
TODD A SMITH            2329 FRANKLIN                                                                       BERKLEY          MI 48072
TODD A STAFFORD         220 JENNY LN                                                                        CENTERVILLE      OH 45459‐1735
TODD A TROZZO           431 1ST ST                                                                          UNIONTOWN        PA 15401‐5031
TODD A TROZZO           267 CHESS RD                                                                        SMITHFIELD       PA 15478‐1421
TODD A TUITE            5534 BRANDT PK                                                                      HUBER HEIGHTS    OH 45424‐6118
TODD A WALTON           39 FIORD DRIVE                                                                      EATON            OH 45320
TODD A WUJICK           5153 W WOODLAND AVE                                                                 NEWTON FALLS     OH 44444
TODD ALBERTSON          49437 PARKSIDE CT                                                                   MACOMB           MI 48044‐1817
TODD ALDOUS             901 COUNTY ROUTE 39 39                                                              CHASE MILLS      NY 13621
TODD ALEXANDER          47274 WHIPPOORWILL DR                                                               MACOMB           MI 48044‐2827
TODD ALLEN              3359 GLACIER DR                                                                     LAKE ORION       MI 48360‐1042
TODD ALLEN              1597 WHITNAUER DR                                                                   LEXINGTON        OH 44904
TODD ALLEN              135 CANTER LN                                                                       HOLLY            MI 48442‐9158
TODD ALLEN MILLS        212 KALONE DR                                                                       RICHMOND         KY 40475‐8788
TODD ANCIL              4710 E FROST RD                                                                     WEBBERVILLE      MI 48892‐8201
TODD AND LINDA ARENDS
TODD ANDERSON           2727 S A ST                                                                         ELWOOD          IN   46036‐2220
TODD ANDREWS            940 HACKETT ST                                                                      BELOIT          WI   53511‐5230
TODD ANTRICAN           721 SOUTHLINE DR                                                                    LEBANON         OH   45036‐3201
TODD ARTHUR             9300 OAKDALE DR                                                                     LAINGSBURG      MI   48848‐9410
TODD ASH                5858 W MAPLE DR                                                                     FRANKTON        IN   46044‐9491
TODD ASHER              1412 E CHESTNUT ST                                                                  DESLOGE         MO   63601‐3108
TODD AVERY              14329 TUSCOLA RD                                                                    CLIO            MI   48420‐8849
TODD B BRINKMAN         3321 TRAIL ON RD                                                                    MORAINE         OH   45439‐1145
TODD B CHAVIS           700 S. 11TH ST                                                                      RICHMOND        IN   47374‐6333
TODD B SQUIRES          P O BOX 458                                                                         WHITTAKER       MI   48190‐0458
TODD B TURNER           P. O. BOX 96                                                                        VERSAILLES      OH   45380
TODD BAILEY             2552 87TH ST SW                                                                     BYRON CENTER    MI   49315‐9236
TODD BAIRD              8120 ROLLER RD                                                                      SALEM           OH   44460‐9241
                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 218 of 901
Name                  Address1                        Address2            Address3         Address4         City               State Zip
TODD BANDEMER         31710 JOSEPH DR                                                                       CHESTERFIELD        MI 48047‐3040
TODD BARNHOUSE        101 EAST CANAL                                                                        ANTWERP             OH 45813
TODD BARTEL           449 8TH ST                                                                            PLAINWELL           MI 49080‐9599
TODD BARTLETT         759 N SHAWSWICK ST RD                                                                 HELTONVILLE         IN 47436
TODD BASSETT          7773 96TH ST                                                                          HOWARD CITY         MI 49329‐9629
TODD BAZZETT          224 WORDSWORTH ST                                                                     FERNDALE            MI 48220‐2529
TODD BEARANCE         29144 FOREST HILL DR                                                                  FARMINGTON HILLS    MI 48331‐2446
TODD BEARMAN          10335 WAYNE TRCE                                                                      FORT WAYNE          IN 46816‐9545
TODD BEHNFELDT        0579 COUNTY ROAD 17                                                                   NAPOLEON            OH 43545
TODD BELL             11321 W 64TH TER                APT 1004                                              SHAWNEE             KS 66203‐3389
TODD BENNETT          19170 LINCOLN RD                                                                      NEW LOTHROP         MI 48460‐9647
TODD BERGER           2610 SIGNATURE CIR                                                                    PINCKNEY            MI 48169‐8165
TODD BERKLEY          74 GROSSE PINES DR                                                                    ROCHESTER HILLS     MI 48309‐1828
TODD BERRY            380 ELKLORE AVE                                                                       ESTILL SPRINGS      TN 37330‐3678
TODD BERTAPELLE       4948 LORE DR                                                                          WATERFORD           MI 48329‐1643
TODD BINKLEY          PO BOX 224                      115 E 3RD ST                                          MORRICE             MI 48857‐0224
TODD BIRON            15044 CUTLER DR                                                                       LINDEN              MI 48451‐9064
TODD BLANKS
TODD BLOCK            30115 S STOCKTON DR                                                                   FARMINGTON HILLS   MI   48336‐3456
TODD BLUM             476 WASHINGTON ST                                                                     MONTICELLO         WI   53570‐9500
TODD BODINE           3580 W SAMARIA RD                                                                     TEMPERANCE         MI   48182‐9788
TODD BODOH            314 CAPRI DR                                                                          O FALLON           MO   63366‐1630
TODD BOGUMIL          1145 WINTON RD S                                                                      ROCHESTER          NY   14618‐2240
TODD BONNEY           4530 KENICOTT TRL                                                                     BRIGHTON           MI   48114‐9038
TODD BOWDEN           534 ELMGROVE                                                                          HARRISON           OH   45415
TODD BOYER
TODD BRAITHWAITE      5316 THAMES DR                                                                        HASLETT            MI   48840‐8490
TODD BRECHTELSBAUER   3604 REIMER RD                                                                        BRIDGEPORT         MI   48722‐9745
TODD BRIEN            241 OVERLEAF DR                                                                       KELLER             TX   76248‐3632
TODD BRISSETTE        2635 SILVERDOWN CT                                                                    WATERFORD          MI   48328‐1758
TODD BRONSON          324 E MAIN ST APT 4                                                                   FLUSHING           MI   48433‐2044
TODD BROWN            54568 ISLE ROYALE AVE                                                                 MACOMB             MI   48042‐2380
TODD BRUNDIGE         1719 COUNTY ROAD 1095                                                                 ASHLAND            OH   44805‐9599
TODD BRYANT           320 WHITLEY RD                                                                        SMITHS GROVE       KY   42171‐9215
TODD BUGGS            2337 E PINE TREE CT                                                                   MILTON             WI   53563‐9473
TODD BURKHEIMER       854 BENTON AVE                                                                        JANESVILLE         WI   53545‐1732
TODD BURNS            PO BOX 31                                                                             DIMONDALE          MI   48821‐0031
TODD BURNS            124 W 9TH AVE                                                                         HOMESTEAD          PA   15120‐1058
TODD C BAKER          146 MONTGOMERY AVE                                                                    FRANKLIN           OH   45005‐1334
TODD C CARTER         61 PERRY STREET                                                                       NEW LEBANON        OH   45345‐1127
TODD C ELLISON        429 VICTORY DR                                                                        SHARPSVILLE        PA   16150
TODD C HAMILTON       30 RON PLACE                                                                          GERMANTOWN         OH   45327‐1617
TODD C HARRIS         513 HOLDERMAN PL.                                                                     NEW LEBANON        OH   45345‐1515
TODD C STEVENSON      1103 CENTER AVE                                                                       BAY CITY           MI   48708‐6103
TODD C TOADVINE       818 SIR GUY CT.                                                                       MIAMISBURG         OH   45342
TODD C WILLIAMS       RT 2 BOX 225CB                                                                        RAYMOND            MS   39154‐9802
TODD CANTERBURY       1209 WHITTIER DR                                                                      WATERFORD          MI   48327‐1639
TODD CARR             1724 E ROBERT ST                                                                      MIDLAND            MI   48640‐8944
TODD CARSTENSEN       23716 POND VIEW DR                                                                    PLAINFIELD         IL   60585‐9833
TODD CASTAGNIER       50 HOWARD ST                                                                          MASSENA            NY   13662‐2232
TODD CAYA             530 E ELLENDALE RD APT 401                                                            EDGERTON           WI   53534
TODD CHAPMAN          103 HIGH LINE DR                                                                      WAXAHACHIE         TX   75167‐9272
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 219 of 901
Name                  Address1                       Address2            Address3         Address4         City                  State Zip
TODD CHARLESON        812 NW SUMMERCREST BLVD        APT B                                                 BURLESON               TX 76028
TODD CHRISTENSEN      1273 AVON CIR W                                                                      ROCHESTER HILLS        MI 48309‐3006
TODD CLARK            14034 BELSAY RD                                                                      MILLINGTON             MI 48746‐9215
TODD CLARK            4220 BREEZEWOOD AVE                                                                  DAYTON                 OH 45406‐1312
TODD CLIPPARD         14235 NW 68TH ST                                                                     PARKVILLE              MO 64152‐5903
TODD COCHRAN          2135 SATINWOOD DR                                                                    MANSFIELD              OH 44903‐8676
TODD COLLICK          11155 E BRISTOL RD                                                                   DAVISON                MI 48423‐8733
TODD COLLINS          55423 LORDONA LN                                                                     SHELBY TWP             MI 48315‐1075
TODD COLLINS          116 INGLEWOOD DR                                                                     ALEDO                  TX 76008‐4163
TODD CONDON           6801 N COUNTY ROAD H                                                                 JANESVILLE             WI 53548
TODD COOK             727 PRINCETON AVE                                                                    LANSING                MI 48915‐2052
TODD COOPER           149 ARBOLADO DR                                                                      WALNUT CREEK           CA 94598‐3754
TODD CORNETT          32545 BONDIE DR                                                                      BROWNSTOWN TOWNSHIP    MI 48173‐1095

TODD COUGHENNOWER     227 SW MARSH WREN ST                                                                 LEES SUMMIT           MO   64082‐4510
TODD CRABTREE         3307 S WILLOUGHBY RD                                                                 MUNCIE                IN   47302‐4910
TODD CRANNIE          10340 FRANCES RD                                                                     FLUSHING              MI   48433‐9221
TODD CRAWFORD         2205 JOANN DR                                                                        SPRING HILL           TN   37174‐9275
TODD CUMMINGS         N3173 BUENA VISTA RD                                                                 FORT ATKINSON         WI   53538‐9606
TODD CUSSANS          513 HICKORY ST                                                                       LINDEN                MI   48451‐8922
TODD D BORNEMANN      3912 FULTON AVE                                                                      KETTERING             OH   45439
TODD D BOYD           5302 HAVERFIELD RD                                                                   DAYTON                OH   45432‐‐ 35
TODD D COOK           727 PRINCETON AVE                                                                    LANSING               MI   48915‐2052
TODD D FADOIR         707 PALLISTER ST                                                                     DETROIT               MI   48202‐2418
TODD D MITCHELL       4905 GOODYEAR DR.                                                                    DAYTON                OH   45406
TODD D SCHAFER        1906 FARMSIDE DR.                                                                    KETTERING             OH   45420‐3622
TODD D VARVEL         640 W MAIN ST                                                                        TIPP CITY             OH   45371
TODD DAILEY           5919 S BRYAN                                                                         WHITE LAKE            MI   48383‐4006
TODD DAMON            16018 S 7TH DR                                                                       PHOENIX               AZ   85045‐0640
TODD DASHNER          9999 SYLVANIA PETERSBURG RD    RD.                                                   OTTAWA LAKE           MI   49267‐8724
TODD DAVIDSON         229 E LORAIN ST                                                                      MONROE                MI   48162‐2924
TODD DAVIS            6014 LAPORTE DR                                                                      LANSING               MI   48911‐5071
TODD DAVIS            601 REAGAN LN                                                                        MILAN                 MI   48160‐1174
TODD DAWN             1098 HIDDEN VALLEY WAY                                                               WESTON                FL   33327‐1814
TODD DAWSON           5201 CANTERBURY LN                                                                   WARREN                MI   48092‐1712
TODD DAWSON           4061 TWIN LAKES CT                                                                   SHELBY TOWNSHIP       MI   48316‐1461
TODD DEARDORFF        12410 PEABODY DR                                                                     FENTON                MI   48430‐8444
TODD DEBRA            321 GLEN AVE                                                                         ELMIRA                NY   14905‐1227
TODD DEDOLPH          4440 WEST ROTAMER ROAD                                                               JANESVILLE            WI   53546‐1030
TODD DEGAZIO          6412 WOODBROOK COURT                                                                 LINDEN                MI   48451‐9677
TODD DELANEY          179 DONALD DR                                                                        BOWLING GREEN         KY   42103‐9584
TODD DERR             2399 APRIL DR                                                                        MOUNT MORRIS          MI   48458‐8205
TODD DEVITO           12055 BOLDREY DR                                                                     FENTON                MI   48430‐9653
TODD DIERKS           1025 WESTFIELD AVE                                                                   BRYAN                 OH   43506‐2530
TODD DIX              4443 W MILES RD                                                                      JANESVILLE            WI   53545‐8311
TODD DIXON            15436 S AIRPORT RD                                                                   LANSING               MI   48906‐9160
TODD DOLLARHITE       3540 W JASON RD                                                                      DEWITT                MI   48820‐9146
TODD DOLLARHITE I I   6481 BAILEY ST                                                                       TAYLOR                MI   48180‐1659
TODD DONALD           TODD, DONALD                   3396 AUNTIE JO LN                                     KENT CITY             MI   49330‐8913
TODD DRAKE            1325 KITTRELL RD                                                                     FRANKLIN              TN   37064‐7433
TODD DRASS            10204 ABERDEEN DR                                                                    GRAND BLANC           MI   48439‐9574
TODD DROSTE           14023 CUTLER RD                                                                      PORTLAND              MI   48875‐9354
                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                        Part 37 of 40 Pg 220 of 901
Name                 Address1                        Address2                   Address3                     Address4         City               State Zip
TODD DUNN            9601 BRIDGEWOOD PL                                                                                       FORT WAYNE          IN 46835‐9411
TODD DUNSMORE        1401 S COUNTY ROAD 900 W                                                                                 DALEVILLE           IN 47334‐9381
TODD DUROCHER        30635 SAINT ONGE CIR                                                                                     WARREN              MI 48088‐5957
TODD E BRIGGS        ACCT OF CYNTHIA DERDEN          333 W FORT ST STE 1600                                                   DETROIT             MI 48226‐3148
TODD E COOK          1618 E DOROTHY LN                                                                                        DAYTON              OH 45429
TODD E CURRIE        1057 ORLO DR NW                                                                                          WARREN              OH 44485‐2427
TODD E ERMAN         403 S PORTLAND ST APT 1                                                                                  BRYAN               OH 43506‐2003
TODD E GRIEWAHN      5763 N ADRIAN HWY                                                                                        ADRIAN              MI 49221‐9305
TODD E LUNDY         1420 KEARNEY ST                                                                                          NILES               OH 44446
TODD E PEACOCK       7342 CHERRY AVE                                                                                          JENISON             MI 49428‐7750
TODD E SCHARBA       PO BOX 28                                                                                                ORANGEVILLE         OH 44453‐0028
TODD E STUDEBAKER    1709 REDBUSH AVE                                                                                         DAYTON              OH 45420
TODD E STULTZ        1614 CANTEBURY LN                                                                                        LEBANON             OH 45036‐8678
TODD E WURSTER       5932 CURSON DR                                                                                           TOLEDO              OH 43612‐4011
TODD E. LEATHERMAN   ATTY FOR STATE OF KENTUCKY      ATTN: ASSISTANT ATTORNEY   1024 CAPITAL CENTER DRIVE                     FRANFORT            KY 40601
                                                     GENERAL
TODD EDDIE           17030 HILTON ST                                                                                          SOUTHFIELD         MI   48075‐7013
TODD EDWARDS         2200 RIDGE RD                                                                                            FINLEYVILLE        PA   15332‐1506
TODD EHMAN           1391 BROWN HOLLOW DR                                                                                     SAINT JOHNS        MI   48879‐8728
TODD EICHAS          1138 TRAVIS RD                                                                                           PENN YAN           NY   14527‐9660
TODD ENTERPRISES     ATTN: LEE TODD                  PO BOX 430420                                                            PONTIAC            MI   48343‐0420
TODD ERICKSON        420 AUGUSTA ST                                                                                           JANESVILLE         WI   53545‐3138
TODD ERMAN           403 S PORTLAND ST APT 1         C/O LEE ANN ERMAN                                                        BRYAN              OH   43506‐2003
TODD EVANS           365 UTAH AVE                                                                                             MC DONALD          OH   44437‐1521
TODD F FISHER        PO BOX 214236                                                                                            AUBURN HILLS       MI   48321‐4236
TODD F PERSELLS      44500 WHITE PINE CIRCLE E                                                                                NORTHVILLE         MI   48168
TODD FANSLER         48353 DECLARATION DR                                                                                     MACOMB             MI   48044‐1919
TODD FARMER          259 N 2ND ST APT 4                                                                                       MIDDLETOWN         IN   47356‐1443
TODD FAST            10464 KINGSTON AVE                                                                                       HUNTINGTON WOODS   MI   48070‐1114
TODD FENSKE          637 CASTLEBROOK DR                                                                                       SAINT PETERS       MO   63376‐7727
TODD FIGY            823 CHERRY LN                                                                                            WATERVILLE         OH   43566‐1109
TODD FINKBEINER      4639 SHERIDAN RD                                                                                         VASSAR             MI   48768‐8931
TODD FISHER          5 BAUER LN                                                                                               WILMINGTON         DE   19810‐3721
TODD FISHER          4385 SHUBERT AVE                                                                                         BURTON             MI   48529‐2138
TODD FISHER          PO BOX 214236                                                                                            AUBURN HILLS       MI   48321‐4236
TODD FORBES          17840 DOYLE RD                                                                                           HEMLOCK            MI   48626‐8761
TODD FOSTER          3724 SUMMERSWORTH RUN                                                                                    FORT WAYNE         IN   46804‐6010
TODD FRANK H         C/O GLASSER AND GLASSER         CROWN CENTER               580 EAST MAIN STREET SUITE                    NORFOLK            VA   23510
                                                                                600
TODD FRAZIER         3912 CLARIDGE DR                                                                                         YOUNGSTOWN         OH   44511‐1166
TODD FREEMAN         823 MAYBANK LOOP                                                                                         THE VILLAGES       FL   32162‐8783
TODD FRERICHS        503 RIVER RIDGE DR                                                                                       WATERFORD          MI   48327‐2887
TODD FRERICHS        1485 BIGGERS RD                                                                                          ROCHESTER HILLS    MI   48309‐1611
TODD G LAMIRANDE     202 PLYMOUTH AVE                                                                                         SYRACUSE           NY   13211‐1609
TODD G MORGAN        117 CUSHWA DR                                                                                            DAYTON             OH   45459
TODD GALLOPO         TODD GALLOPO                    1311 S FLOWER ST                                                         BURBANK            CA   91502‐2026
TODD GARZA           5111 REYMONT RD                                                                                          WATERFORD          MI   48327‐2866
TODD GATZKE          1925 MIDVALE ST                                                                                          YPSILANTI          MI   48197‐4423
TODD GAVIN           4806 LYNCOTT DR                                                                                          LANSING            MI   48910‐5657
TODD GIBBON          7205 CALKINS RD                                                                                          FLINT              MI   48532‐3011
TODD GIBSON          576 BROOKS AVE                                                                                           PONTIAC            MI   48340‐1305
TODD GILLERT         213 STATE ST                                                                                             OXFORD             MI   48371‐6320
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                          Part 37 of 40 Pg 221 of 901
Name                                  Address1                         Address2                    Address3     Address4         City                   State Zip
TODD GODFREY                          1134 RED OAK DR                                                                            AVON                    IN 46123‐8048
TODD GOLDSTEIN                        50 MILAGRO                                                                                 RANCHO SANTA MARGARITA CA 92688‐2882

TODD GOOD                             1164 ANTIOCH CHURCH RD                                                                     ALVATON                KY    42122‐9502
TODD GOODRICH                         9875 MASON RD                                                                              OVID                   MI    48866‐9590
TODD GOOLSBY                          2497 MURRAY HILL RD                                                                        HARTLAND               MI    48353‐3221
TODD GORDON                           2214 MAPLEWOOD AVE                                                                         ROYAL OAK              MI    48073‐3831
TODD GORDON                           5248 PHEASANT RUN DR             APT 4                                                     SAGINAW                MI    48638‐6354
TODD GOULDING                         271 COVENTRY LN                                                                            MASON                  MI    48854‐1164
TODD GRAHAM                           1265 NORTHCREST RD                                                                         LANSING                MI    48906‐1260
TODD GRANGER                          803 HAMPTON CIR                                                                            ROCHESTER HILLS        MI    48307‐4210
TODD GRANT                            8184 S M‐66                                                                                NASHVILLE              MI    49073
TODD GRAVES                           1718 RAVINE ST                                                                             JANESVILLE             WI    53548‐3524
TODD GREENLEAF                        5701 HIDDEN PINES CT                                                                       WHITE LAKE             MI    48383‐1180
TODD GRIEWAHN                         5763 N ADRIAN HWY                                                                          ADRIAN                 MI    49221‐9305
TODD GRINDING CO                      5585 NORTH ST                                                                              DRYDEN                 MI    48428‐7723
TODD GRINDING CO                      STEPHANIE TODD                   5585 NORTH ST               PO BOX 580                    DRYDEN                 MI    48428
TODD GROGHAN                          APT 116                          2228 VALLEYVIEW BOULEVARD                                 SAN ANGELO             TX    76904‐8075
TODD GULICK                           14810 IDYLCREST DR                                                                         LANSING                MI    48906‐9265
TODD H SOLLAR                         9226 GREAT LAKES CIR.                                                                      CENTERVILLE            OH    45458
TODD H WILLIAMS                       5011 DAYTON LIBERTY                                                                        DAYTON                 OH    45418‐1947
TODD H. KNIGHT
TODD HAMILTON                         1107 S CLINTON ST                                                                          CHARLOTTE              MI    48813‐2121
TODD HARDGRAVE                        41 DRUCKER LN                                                                              OLD MONROE             MO    63369‐2309
TODD HARE                             8150 FERDEN RD                                                                             CHESANING              MI    48616‐9740
TODD HARHAY                           55235 RIFLE CT                                                                             MACOMB                 MI    48042‐6187
TODD HASTY                            2360 E 900 S                                                                               MARKLEVILLE            IN    46056‐9720
TODD HATFIELD                         5500 W COUNTY ROAD 900 N                                                                   GASTON                 IN    47342‐9030
TODD HAYLETT                          4137 FAIRVIEW RD                                                                           COLUMBIA               TN    38401‐1357
TODD HIGGINS                          4857 LORE DR                                                                               WATERFORD              MI    48329‐1642
TODD HILEMAN                          1380 FENTONWOOD                                                                            FENTON                 MI    48430‐9617
TODD HILL                             PO BOX 363                                                                                 SPRING HILL            TN    37174‐0363
TODD HOLLOWAY                         4100 S NATIVE CT                                                                           YORKTOWN               IN    47396‐9124
TODD HORIGAN                          3129 E PLEASANT RUN DR                                                                     SHELBYVILLE            IN    46176‐9267
TODD HOUSEWORTH                       42371 PARK RIDGE RD                                                                        NOVI                   MI    48375‐2654
TODD HOWARD                           224 WATTS ST                                                                               JACKSON                MI    49203‐2143
TODD HUBBARD                          802 GRANGER AVE                                                                            ANN ARBOR              MI    48104‐3828
TODD HUNZEKER CHEVROLET, OLDS., BUI   166 W 2ND S                                                                                SODA SPRINGS           ID    83276‐1512

TODD HUNZEKER CHEVROLET, OLDS.,       TODD HUNZEKER                    166 W 2ND S                                               SODA SPRINGS            ID   83276‐1512
BUICK, INC.
TODD HUNZEKER CHEVROLET, OLDS.,       166 W 2ND S                                                                                SODA SPRINGS            ID   83276‐1512
BUICK, INC.
TODD HUSTAD                           34869 WINSLOW ST                                                                           WAYNE                   MI   48184‐2336
TODD HUSTON                           21 GOLFSIDE CIR                                                                            CANANDAIGUA             NY   14424‐8970
TODD HUTCHINS                         3350 NIXON RD                                                                              HOWELL                  MI   48843‐8815
TODD I BAILEY                         426 E BROADWAY AVE                                                                         LONG BEACH              CA   90802‐4912
TODD I I I, JAMES E                   6368 N DORT HWY                                                                            MOUNT MORRIS            MI   48458‐2561
TODD I I I, JOHN W                    6037 CADILLAC DR                                                                           SPEEDWAY                IN   46224‐5328
TODD III, JAMES E                     6368 N DORT HWY                                                                            MOUNT MORRIS            MI   48458‐2561
TODD III, JOHN W                      6037 CADILLAC DR                                                                           SPEEDWAY                IN   46224‐5328
TODD IRWIN                            3745 E BIRCH RUN RD                                                                        BURT                    MI   48417‐9787
                                   09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                      Part 37 of 40 Pg 222 of 901
Name                               Address1                          Address2                        Address3   Address4         City              State Zip
TODD IV, JAMES E                   6368 NORTH DORT HIGHWAY                                                                       MOUNT MORRIS       MI 48458‐2561
TODD J CALABRESE                   169 DOHRCREST DR                                                                              ROCHESTER          NY 14612‐4133
TODD J DUBASIK                     7415 W GLASS LN                                                                               LAVEEN             AZ 85339
TODD J HENRY                       5202 OAKCREST AVE                                                                             AUSTINTOWN         OH 44515‐3944
TODD J JACKSON                     1630 VICTORIA CT                                                                              MANSFIELD          OH 44906‐5000
TODD J MERRITT                     6092 CURSON DR                                                                                TOLEDO             OH 43612‐4013
TODD J MICHEL                      1336 CRESCENT CT                                                                              XENIA              OH 45385
TODD J MITZELMAN                   4 BAY HILL COURT                                                                              WESTAMPTON         NJ 08060
TODD J MORAWA                      42495 HEYDENREICH RD.                                                                         CLINTON TWP        MI 48038
TODD J PHILLIPS                    5400 MONTGOMERY SQUARE DR APT A                                                               DAYTON             OH 45440
TODD J RICE                        272 JOHNSON AVE                                                                               SPRINGFIELD        OH 45505‐4040
TODD JACKSON                       7513 E VERMONTVILLE HWY                                                                       DIMONDALE          MI 48821‐8745
TODD JACKSON                       503 RAPIDAN DR                                                                                LANSING            MI 48917‐9613
TODD JACKSON                       1630 VICTORIA CT                                                                              MANSFIELD          OH 44906‐5000
TODD JAREMA                        4484 STANLEY RD                                                                               COLUMBIAVILLE      MI 48421‐9366
TODD JENSON                        9002 N BRITT AVE                                                                              KANSAS CITY        MO 64154‐2024
TODD JEREMIAH                      TODD, JEREMIAH                    1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL        NJ 08003
TODD JOHANSON                      7091 BROOKVIEW DR                                                                             SHELBY TOWNSHIP    MI 48316‐6025
TODD JOHN N (481309)               KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                               CLEVELAND          OH 44114
                                                                     BOND COURT BUILDING
TODD JOHNSON                       2170 KILDARE DR                                                                               DAVISON           MI   48423‐8450
TODD JOHNSON                       19190 SANTA ROSA DR                                                                           DETROIT           MI   48221‐1732
TODD JONES                         709 SHENANDOAH DR                                                                             COLUMBIA          TN   38401‐6120
TODD JOSEPH (435172)               ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                    WILMINGTON        DE   19801‐1813
TODD JR, CHARLES P                 649 S GRANT ST                                                                                MARTINSVILLE      IN   46151‐2334
TODD JR, DAVID W                   1119 BERKSHIRE ST                                                                             WESTLAND          MI   48186‐5368
TODD JR, EDGAR C                   2306 EAGLES NEST                                                                              BURTON            MI   48519‐1375
TODD JR, EDGAR CHARLES             2306 EAGLES NEST                                                                              BURTON            MI   48519‐1375
TODD JR, JAMES E                   2158 WALDORF RD                                                                               COLUMBUS          OH   43229‐5340
TODD JR, JAMES L                   37083 VARGO ST                                                                                LIVONIA           MI   48152‐2717
TODD JR, JOHN B                    PO BOX 522                                                                                    LAINGSBURG        MI   48848‐0522
TODD JR, RANDALL L                 PO BOX 46                                                                                     SEBRING           OH   44672‐0046
TODD JR, ROBERT G                  611 CAMPBELL ST                                                                               FLINT             MI   48507‐2420
TODD JR, WILLIAM H                 16140 W MONTEREY WAY                                                                          GOODYEAR          AZ   85395‐8038
TODD JUSTICE                       7269 GUILFORD RD                                                                              SEVILLE           OH   44273‐9314
TODD KEARNEY                       5265 JAIME LN                                                                                 FLUSHING          MI   48433‐2907
TODD KEELIN                        11436 N DONDOR AVE                                                                            EDGERTON          WI   53534‐9072
TODD KEITCHEN                      6198 E MOUNT HOPE HWY                                                                         GRAND LEDGE       MI   48837‐9411
TODD KIENZLE                       101 DALEVIEW CIR                                                                              RUSSELLVILLE      KY   42276‐2119
TODD KINDERDINE                    868 EWING RD                                                                                  YOUNGSTOWN        OH   44512‐3219
TODD KINDINGER                     548 QUAIL RUN                                                                                 ARCHBOLD          OH   43502‐9127
TODD KING
TODD KOHNERT                       7224 SETZLER PKWY                                                                             BROOKLYN PARK     MN   55445
TODD KOVACIC                       PO BOX 9022                       GM HOLDEN                                                   WARREN            MI   48090‐9022
TODD KRAEMER                       6501 MEADOWWOOD LN                                                                            GRAND BLANC       MI   48439‐9704
TODD KRAFT                         11041 SCOTTSMEADOW DR                                                                         DALLAS            TX   75218
TODD KRAFT                         11041 SOTTSMEADOW DR.                                                                         DALLAS            TX   75218
TODD KURSZEWSKI                    26573 MARION CT                                                                               WIND LAKE         WI   53185‐2152
TODD L AND CONSTANCE S LIGHTBODY   4509 103RD LN NE                                                                              KIRKLAND          WA   98033‐7639
JTWROS
TODD L BAKER                       624 MAPLESIDE DR                                                                              TROTWOOD          OH 45426‐2538
TODD L CASTAGNIER                  50 HOWARD ST                                                                                  MASSENA           NY 13662‐2232
                    09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 223 of 901
Name                Address1                         Address2            Address3         Address4         City                 State Zip
TODD L CORWIN       4379 NEW CARLISLE PIKE                                                                 SPRINGFIELD           OH 45504‐3538
TODD L NUZUM        701 CENTER AVE APT 10                                                                  BAY CITY              MI 48708‐5992
TODD LAKE           2852 12 OAKS DR                                                                        CHARLOTTE             MI 48813‐8320
TODD LATTEN
TODD LAWRENCE       459 WINDY BLF                                                                          FLUSHING             MI   48433‐2613
TODD LEATHEROW      801 LEXINGTON ONTARIO RD                                                               MANSFIELD            OH   44903‐8794
TODD LEDINGHAM      22623 EDGEWOOD ST                                                                      SAINT CLAIR SHORES   MI   48080‐2191
TODD LEWINSKI       43720 WELLAND DR                                                                       CLINTON TOWNSHIP     MI   48038‐5504
TODD LINDEMANN      1088 THORN RIDGE DR                                                                    HOWELL               MI   48843‐6147
TODD LIST           15231 W WESTERN RESERVE RD                                                             BERLIN CENTER        OH   44401‐8717
TODD LUNDY          1420 KEARNEY ST                                                                        NILES                OH   44446‐3842
TODD M COMBS        4535 IRELAN ST                                                                         KETTERING            OH   45440‐1534
TODD M DANVIR       148 B WEST MAIN ST.                                                                    CORTLAND             OH   44410
TODD M FINLEY       1920 W SUNNY RIDGE RD                                                                  DAYTON               OH   45414
TODD M HAACKE       601 W WENGER RD APT 118                                                                ENGLEWOOD            OH   45322
TODD M HARTMAN      124 N BLUEBONNET DR                                                                    UVALDE               TX   78801‐6306
TODD M HENSLEY      1 S MAPLE ST APT D                                                                     JAMESTOWN            OH   45335‐2503
TODD M HODERLEIN    32 FILON AVE                                                                           ROCHESTER            NY   14622‐1965
TODD M JENKINS      4908 WARBLER WAY                                                                       DAYTON               OH   45449
TODD M JOHNSON      9218 BALTIMORE PHILLIPSBURG RD                                                         BROOKVILLE           OH   45309‐9680
TODD M LANE         9192 KINGSTON HEATH                                                                    PEYTON               CO   80831
TODD M LEE          5177 W COURT ST                                                                        FLINT                MI   48532‐4114
TODD M OWENS        321 COOK AVE.                                                                          MIDDLESEX            NJ   08846‐2002
TODD M RAMIN        816 HILLARY COURT                                                                      LONGWOOD             FL   32750‐7143
TODD M REEVES       7028 STATE ROUTE 45                                                                    BRISTOLVILLE         OH   44402‐9756
TODD M SCHULLER     4324 FRAZER AVE NW                                                                     NORTH CANTON         OH   44709
TODD M STEPHANY     219 CAVE HOLLOW                                                                        W HENRIETTA          NY   14586‐9569
TODD M VIARS        113 WALNUT GLEN DR                                                                     WILMINGTON           OH   45177
TODD M WASHINGTON   135 PARKVIEW DR                                                                        NEW LEBANON          OH   45345
TODD M WEISS        4489 W WALTON BLVD                                                                     WATERFORD            MI   48329‐4076
TODD MACKINTOSH     48673 HARVEST LN                                                                       MACOMB               MI   48044‐5637
TODD MANNINEN       38 LAKE CAROLINE DR                                                                    RUTHER GLEN          VA   22546‐5213
TODD MARHENKE       3810 TIENKEN RD                                                                        AUBURN HILLS         MI   48326‐3906
TODD MATHISON       2290 HIGH RIDGE TRL                                                                    MADISON              WI   53713‐3626
TODD MC CLOUD       PO BOX 464                                                                             DE TOUR VLLE         MI   49725‐0464
TODD MCDANIEL       3799 KIRK RD                                                                           VASSAR               MI   48768‐9771
TODD MCFARLAND      350 W 38TH ST                                                                          ANDERSON             IN   46013‐4016
TODD MCLAIN         10450 W COUNTY ROAD K                                                                  BELOIT               WI   53511‐8232
TODD MCLAUCHLIN     1055 OAKBROOK DR                                                                       ORTONVILLE           MI   48462‐9060
TODD MCLEAN         1186 E WILLARD RD                                                                      CLIO                 MI   48420‐8812
TODD MCMILLIN       1411 HAWTHORNE AVE                                                                     JANESVILLE           WI   53545‐1942
TODD MEDER          707 N HAYFORD AVE                                                                      LANSING              MI   48912‐4319
TODD MEERS          1213 CHARWOOD ST                                                                       SAINT CHARLES        MO   63301‐2515
TODD MENSAH         888 PALLISTER ST APT 701                                                               DETROIT              MI   48202‐2672
TODD MESSMAN        503 BRUNSWICK GDNS                                                                     HAUGHTON             LA   71037‐8780
TODD MEYER          707 W HIGH ST                                                                          DEFIANCE             OH   43512‐1407
TODD MICHAEL        7731 OFFICE PARK BLVD                                                                  BATON ROUGE          LA   70809‐7602
TODD MILLER         535 ROHM DR                                                                            NAPOLEON             OH   43545‐2318
TODD MILLER         S76W39985 COUNTY ROAD ZZ                                                               EAGLE                WI   53119‐1143
TODD MILLER         500 W SABINE ST                                                                        CARTHAGE             TX   75633‐2424
TODD MILLION        14784 BROOKVILLE PYRMONT RD                                                            BROOKVILLE           OH   45309‐9704
TODD MITCHELL       4905 GOODYEAR DR                                                                       DAYTON               OH   45406‐1131
                          09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                              Part 37 of 40 Pg 224 of 901
Name                      Address1                         Address2                        Address3   Address4         City              State Zip
TODD MOCHMAR              3085 N 3 1/4 RD                                                                              MESICK             MI 49668‐9771
TODD MONSEY               2160 PRAIRIE VW                                                                              GRAND BLANC        MI 48439‐8097
TODD MOONEY               1411 N LAKESHORE DR                                                                          MARION             IN 46952‐1400
TODD MOONEY               1191 BARBER CREEK RD                                                                         STATHAM            GA 30666‐3108
TODD MOORE                PO BOX 212                                                                                   CLAYTON            OH 45315‐0212
TODD MOORE                9309 SAIL WIND DR                                                                            FORT WAYNE         IN 46804‐5950
TODD MORAWA               42495 HEYDENREICH RD                                                                         CLINTON TWP        MI 48038‐2321
TODD MORITA               2881 PORTAGE TRAIL DR                                                                        ROCHESTER HILLS    MI 48309‐3212
TODD MORTON
TODD MUELLER              14521 DERBY RD                                                                               SMITHVILLE        MO 54089‐9029
TODD MYERS                13646 EDWIN CT                                                                               WARREN            MI 48088‐3703
TODD NATHANIEL (448270)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                           PROFESSIONAL BLDG
TODD NELSON               7373 FM 933                                                                                  BLUM              TX   76627‐3210
TODD NEW                  812 MARION AVE                                                                               INDIANAPOLIS      IN   46221‐1353
TODD NEWCOMB              5050 BARNES RD                                                                               MILLINGTON        MI   48746‐9443
TODD NIEDECKEN            8375 ELMHURST CT APT 4                                                                       BIRCH RUN         MI   48415‐9270
TODD NIESE                503 N MAIN ST                                                                                CONTINENTAL       OH   45831‐9146
TODD NIKAZY               1922 WINCHESTER RD                                                                           TOLEDO            OH   43613‐2209
TODD NORMAN               304 SOUTH NINE DRIVE                                                                         PONTE VEDRA       FL   32082‐3728
TODD NOYES
TODD O CONNOR             10007 STONEHAVEN DR                                                                          SHREVEPORT        LA   71118‐4533
TODD OSBORNE              APT 13210                        2770 BARDIN ROAD                                            GRAND PRAIRIE     TX   75052‐7323
TODD OSEI                 2402 OVERBROOK DR                                                                            ARLINGTON         TX   76014‐2732
TODD OVERSTREET           1349 SCHLUERSBURG ROAD                                                                       AUGUSTA           MO   63332‐1215
TODD P MCCART             438 WESTGATE DR NE                                                                           WARREN            OH   44484‐2314
TODD P MCLEAN             1186 E WILLARD RD                                                                            CLIO              MI   48420‐8812
TODD P MROFCHAK           4054 SODOM HUTCHINGS RD                                                                      CORTLAND          OH   44410‐9725
TODD P SHERIDAN           1739 RUNNING BROOK TRL APT E                                                                 DAYTON            OH   45449
TODD P WILLIAMS           5781 PREBLE COUNTY LINE RD                                                                   LEWISBURG         OH   45338
TODD PALGUT               44809 GOVERNOR BRADFORD RD                                                                   PLYMOUTH          MI   48170‐3711
TODD PALMATIER            6126 FOSTORIA RD                                                                             OTTER LAKE        MI   48464‐9783
TODD PARKER               2279 TYLER AVE                                                                               BERKLEY           MI   48072‐4027
TODD PARKINSON            6598 WEALTHY ST                                                                              CLARKSTON         MI   48346‐2175
TODD PATTERSON
TODD PAWLIK               30306 GEORGETOWN DR                                                                          BEVERLY HILLS     MI   48025‐4727
TODD PEACOCK              7342 CHERRY AVE                                                                              JENISON           MI   49428‐7750
TODD PECK                 519 HORATIO ST                                                                               CHARLOTTE         MI   48813‐1917
TODD PERSINGER            5455 CHATHAM RD                                                                              GRANVILLE         OH   43023‐9736
TODD PETERSON             36853 BRITTANY HILL DR                                                                       FARMINGTON        MI   48335‐2909
TODD PHALIN               1426 N AUSTIN RD                                                                             JANESVILLE        WI   53548‐9002
TODD PHIPPS               102 NIWODIHI TRL                                                                             VONORE            TN   37885‐2699
TODD PIROCH               3935 KIRK RD                                                                                 YOUNGSTOWN        OH   44511‐1941
TODD POLLAK
TODD POPANZ               3817 N OLD 92                                                                                EVANSVILLE        WI   53536‐8535
TODD POWERS               507 BLUEBIRD TRL                                                                             ORTONVILLE        MI   48462‐8481
TODD PRESTON              56 LEERIE DR                                                                                 ROCHESTER         NY   14612‐2918
TODD PRESTON              2611 BROWNLEE RD                                                                             BOSSIER CITY      LA   71111‐2013
TODD PRIMOVIC             53 SAVOY DR                                                                                  LAKE ST LOUIS     MO   63367‐1105
TODD PRISBY               803 N. RIVER RD.                                                                             WARREN            OH   44483
TODD R ANTRICAN           721 SOUTHLINE DR.                                                                            LEBANON           OH   45036
TODD R JONES              8413 AMBROSSE LN UNIT 208                                                                    LOUISVILLE        KY   40299
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                       Part 37 of 40 Pg 225 of 901
Name                                Address1                            Address2                        Address3   Address4            City              State Zip
TODD R SCHMACKPFEFFER               8591 CRESCENT AVE.                                                                                 BUENA PARK         CA 90620
TODD R. SHUPE AND ANGELA M. SHUPE   4186 GRONDINWOOD LN                                                                                MILFORD            MI 48380‐4223

TODD RADLOFF                        3405 HAMPSHIRE RD                                                                                  JANESVILLE        WI   53546‐2221
TODD RAMIN                          816 HILLARY COURT                                                                                  LONGWOOD          FL   32750‐7143
TODD RANDOLPH                       121 CLARENDON AVE                                                                                  COLUMBUS          OH   43223‐1004
TODD RATH                           30 MILLFORD XING                                                                                   PENFIELD          NY   14526‐1173
TODD RAYMOND                        6724 NW EVANS AVE                                                                                  KANSAS CITY       MO   64151‐2114
TODD REMINGA                        5542 BALDWIN ST                                                                                    HUDSONVILLE       MI   49426‐8939
TODD REYNOLDS                       1150 HENNEPIN AVE APT 2407                                                                         MINNEAPOLIS       MN   55403‐1779
TODD RHONE                          3252 MICHAEL DR                                                                                    SAINT CHARLES     MO   63301‐0169
TODD RICE                           2370 OLD HICKORY BLVD                                                                              DAVISON           MI   48423‐2062
TODD RICHARD                        6196 DORWOOD RD                                                                                    SAGINAW           MI   48501‐9322
TODD RICHARDSON                     9280 VARODELL DR                                                                                   DAVISON           MI   48423‐8712
TODD RICHARDSON                     291 WESLEY WAY                                                                                     BOWLING GREEN     KY   42104‐0395
TODD RIDLEY                         1449 LOMAS VERDES                                                                                  ROCHESTER HILLS   MI   48306‐3956
TODD RILEY                          4791 GROVE POINTE DR                                                                               GROVEPORT         OH   43125‐9381
TODD RINGLER                        12915 104TH AVE                                                                                    GRAND HAVEN       MI   49417‐8755
TODD ROBERT L (481310)              KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                  CLEVELAND         OH   44114
                                                                        BOND COURT BUILDING
TODD ROBINSON                       32 BRAMBLEWOOD LN                                                                                  EAST AMHERST      NY   14051‐1413
TODD ROBINSON                       413 GOLDENROD CT                                                                                   BLUFFTON          IN   46714‐8817
TODD RODDIE                         10059 W PIERSON RD                                                                                 FLUSHING          MI   48433‐9718
TODD RONEY                          11946 CHANDLER DR                                                                                  PLYMOUTH          MI   48170‐3192
TODD ROONEY                         1883 CLOVER RIDGE DR                                                                               HOWELL            MI   48843‐8013
TODD ROSS M (ESTATE OF) (664778)    GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                     EDWARDSVILLE      IL   62025‐0959
                                    ANTOGNOLI
TODD ROUSE                          5728 CLIMBING WAY CT                                                                               SYLVANIA          OH   43560‐6103
TODD RUMBARGER                      2908 O NEALL RD                                                                                    WAYNESVILLE       OH   45068‐8676
TODD RUMBLES                        11321 OLDE WOOD TRL                                                                                FENTON            MI   48430‐4012
TODD S FEIGENBAUM                   77 LOG HILL LN                                                                                     BALLWIN           MO   63011‐3234
TODD S SENDRAL                      14941 STATE ROUTE 725                                                                              GERMANTOWN        OH   45327
TODD SACHSE                         9579 LAKESIDE DR                                                                                   YPSILANTI         MI   48197‐3032
TODD SACHSE                         9567 LAKESIDE DR                                                                                   YPSILANTI         MI   48197‐3032
TODD SALTER                         2300 JETPORT DR., ORLAND                                                                           ORLANDO           FL   32809
TODD SALTER                         P.O. BOX 6161                                                                  SYDNEY NSW 2060
                                                                                                                   AUSTRALIA
TODD SANDERSON                      78 DENNISON ST                                                                                     OXFORD            MI   48371‐4815
TODD SAYERS                         21 DAUBER CT SW                                                                                    PATASKALA         OH   43062‐9164
TODD SCHANZ                         10211 LISS RD                                                                                      WILLIS            MI   48191‐9722
TODD SCHEIBER                       32 WELLSLEY DR                                                                                     LEXINGTON         OH   44904‐9565
TODD SCHLIFSTEIN DO                 #2                                  201 EAST 69TH STREET                                           NEW YORK          NY   10021‐5471
TODD SCHLOSSER                      27434 AYERSVILLE PLEASANT BEND RD                                                                  DEFIANCE          OH   43512‐8748
TODD SCHNEIDER                      918 FARNSWORTH ST                                                                                  WHITE LAKE        MI   48386‐3225
TODD SCHOMBURG                      9593 KLAIS RD                                                                                      CLARKSTON         MI   48348‐2332
TODD SCHUETTE                       9729 N ROCK RIVER DR                                                                               EDGERTON          WI   53534‐8432
TODD SCHWALBACH                     411 COUTANT ST                                                                                     FLUSHING          MI   48433‐1672
TODD SCOTT                          49476 WATERSTONE ESTATES CIR                                                                       NORTHVILLE        MI   48168‐4900
TODD SCRASE                         5449 MEADOWCREST DR                                                                                FLINT             MI   48532‐4042
TODD SEGUIN                         11860 S WEST BAY SHORE DR                                                                          TRAVERSE CITY     MI   49684‐5257
TODD SEIFFERTH                      506 MAPLEGROVE DR                                                                                  FRANKLIN          TN   37064‐5124
TODD SENSENY                        4320 W 800 S                                                                                       SOUTH WHITLEY     IN   46787‐9786
                   09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                    Part 37 of 40 Pg 226 of 901
Name               Address1                      Address2                  Address3   Address4         City              State Zip
TODD SHAFFER       755 LAURELWOOD CIR                                                                  BOWLING GREEN      KY 42103‐6008
TODD SHAVER        1305 CLIFFWOOD RD                                                                   EULESS             TX 76040‐6401
TODD SHELLBERG     1800 W CHADWICK RD                                                                  DEWITT             MI 48820‐9768
TODD SHELTON       4462 KY HIGHWAY 159 N                                                               FALMOUTH           KY 41040‐7605
TODD SHUPE         4186 GRONDINWOOD LN                                                                 MILFORD            MI 48380‐4223
TODD SHUPPERD      108 W OHIO ST                                                                       FORTVILLE          IN 46040‐1213
TODD SIEMON        984 KENSINGTON CT                                                                   VICTOR             NY 14564‐9367
TODD SIGLOW        14 PLEASANT ST                                                                      OXFORD             MI 48371‐4645
TODD SLOAN         235 STATE HIGHWAY 72                                                                POTSDAM            NY 13676‐3476
TODD SLOAN         679 N BRIGGS RD                                                                     MIDDLEVILLE        MI 49333‐9762
TODD SMITH         15060 PAINTER RD                                                                    DEFIANCE           OH 43512‐8813
TODD SMITH         101 EASTWIND DR NE                                                                  WARREN             OH 44484‐6018
TODD SMITH         3102 N ALEXANDER AVE                                                                ROYAL OAK          MI 48073‐3513
TODD SMITH         267 ROME CT                                                                         ALMONT             MI 48003‐8748
TODD SMITH         9088 SASHABAW RD                                                                    CLARKSTON          MI 48348‐2018
TODD SMITH         8814 WEDGEFIELD LN                                                                  CICERO             NY 13039‐9775
TODD SMITH         9331 SILVERFOX DR                                                                   FORT WAYNE         IN 46804‐7712
TODD SPAVALE       1579 WINDSOR WAY                                                                    BOWLING GREEN      KY 42103‐4724
TODD ST ONGE       6699 OLD BEATTIE RD                                                                 LOCKPORT           NY 14094‐9506
TODD ST. PIERRE    1509 AQUARIUS WAY                                                                   BOWLING GREEN      KY 42104‐0211
TODD STANTIFORD    416 GREENFIELD AVE                                                                  FLINT              MI 48503‐2165
TODD STEELE        112 FLORAL AVE                                                                      PLAINWELL          MI 49080‐1419
TODD STELTENKAMP   5657 WHETSEL AVE                                                                    CINCINNATI         OH 45227
TODD STEVEN        40921 CHEYENNE TRL                                                                  CHERRY VALLEY      CA 92223‐5407
TODD STEVENSON     621 N PEARL ST                                                                      JANESVILLE         WI 53548‐2849
TODD STONE         11033 PEMBROOKE CIR                                                                 SOUTH LYON         MI 48178‐8525
TODD STONE         3285 MANN RD                                                                        CLARKSTON          MI 48346‐4030
TODD STORRS        23054 WILSON AVE                                                                    DEARBORN           MI 48128‐1853
TODD STOVALL       23775 PHILIP DR                                                                     SOUTHFIELD         MI 48075‐3348
TODD STREET        2206 SPRING GARDEN ST                                                               WILLIAMSPORT       PA 17701‐1231
TODD SUER          2827 S STATE ROAD 213                                                               ORFORDVILLE        WI 53576‐9783
TODD SUTTON        PO BOX 225                    115 LN 207A HAMILTON LK                               HAMILTON           IN 46742‐0225
TODD SWAFFAR       6885 OAK HILL DR                                                                    W FARMINGTON       OH 44491‐9755
TODD T JOHNSON     11121 STATE ROUTE 122                                                               CAMDEN             OH 45311
TODD T WHARTON     2115 CRANBRIDGE                                                                     LAKE FOREST        CA 92630
TODD TERRY         1627 SALEM RD                                                                       HELTONVILLE        IN 47436‐8759
TODD THELEN        46703 FIELDS DR                                                                     SHELBY TOWNSHIP    MI 48315‐5167
TODD THOMPSON      478 N CALLAHAN RD                                                                   BAY CITY           MI 48708‐9196
TODD THOMPSON      3931 O POSSUM RUN RD.                                                               MANSFIELD          OH 44813
TODD THOR          15331 MURRAY RD                                                                     BYRON              MI 48418‐9040
TODD THORMAN       4952 ROYALTON CENTER RD                                                             GASPORT            NY 14067‐9345
TODD THURLWELL     1961 BUCKINGHAM CT                                                                  DEFIANCE           OH 43512‐8656
TODD TIEMANN       5819 GRANITE DRIVE                                                                  ANDERSON           IN 46013‐2032
TODD TIMMONS       5987 MANITOBA LN                                                                    SHREVEPORT         LA 71107‐2011
TODD TRANSIT       1355 CAPITAL DR                                                                     ROCKFORD            IL 61109‐3067
TODD TRAVER        2953 GOLFHILL DR                                                                    WATERFORD          MI 48329‐4514
TODD TROUT         1589 GRAYFRIARS AVE                                                                 HOLT               MI 48842‐2062
TODD TROZZO        267 CHESS RD                                                                        SMITHFIELD         PA 15478‐1421
TODD TUMAS         22448 MEADOW WOODS CIR                                                              TAYLOR             MI 48180‐3599
TODD TURBIN        PO BOX 391                                                                          PELLSTON           MI 49769‐0391
TODD TUREK         3138 S DAVIS DR                                                                     BELOIT             WI 53511‐1418
TODD TURNER        252 CRYSTAL LAKE DR                                                                 PONTIAC            MI 48342‐2409
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                     Part 37 of 40 Pg 227 of 901
Name                              Address1                         Address2                     Address3   Address4         City               State Zip
TODD TWICHEL                      PO BOX 422                                                                                PETOSKEY            MI 49770‐0422
TODD V THOMPSON                   478 N CALLAHAN RD                                                                         BAY CITY            MI 48708‐9196
TODD VAN DELLEN                   8717 GRAND RIVER AVE                                                                      SARANAC             MI 48881‐9821
TODD VANDUINE                     10445 BAKER AVE SE                                                                        ALTO                MI 49302‐9178
TODD VESPIE                       3616 LOTUS DR                                                                             WATERFORD           MI 48329‐1349
TODD VEST                         1600 EAST AVE APT 1004                                                                    ROCHESTER           NY 14610‐1632
TODD VICTOR A (658210)            BELLUCK & FOX LLP                546 5TH AVE # 4                                          NEW YORK            NY 10036‐5000
TODD W EWERT                      306 ARBORWOOD LANE                                                                        ROCHESTER           NY 14615‐3856
TODD W PERKINS                    750 COITSVILLE HUBBARD RD                                                                 YOUNGSTOWN          OH 44505‐4633
TODD W SHROPSHIRE                 219 W. SOUTHERN AVE                                                                       SPRINGFIELD         OH 45506
TODD W ZEDDELL                    1352 DAVIS ST                                                                             YPSILANTI           MI 48198‐5911
TODD WAGNER                       11‐305 ROAD Y                                                                             HAMLER              OH 43524
TODD WAKA                         1141 BROOKE PARK DR                                                                       TOLEDO              OH 43612‐4217
TODD WALLACE                      240 MOUNT HOREB RD                                                                        JEFFERSON CITY      TN 37760‐3925
TODD WARDRIP
TODD WARE                         1614 COOPER AVE                                                                           SAGINAW            MI 48602‐5103
TODD WARRINER                     PO BOX 332                                                                                LAMBERTVILLE       MI 48144‐0332
TODD WAYNE D (476188)             ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                               BALTIMORE          MD 21202
                                                                   CHARLES CENTER 22ND FLOOR
TODD WELLS                        1600 N DORR RD                                                                            MERRITT            MI   49667‐9726
TODD WENZEL CHEVROLET             3156 HIGHLAND BLVD                                                                        HUDSONVILLE        MI   49426‐9455
TODD WENZEL CHEVROLET, INC.       TODD R. WENZEL                   3156 HIGHLAND BLVD                                       HUDSONVILLE        MI   49426‐9455
TODD WENZEL CHEVROLET, INC.       TODD WENZEL                      3156 HIGHLAND BLVD                                       HUDSONVILLE        MI   49426‐9455
TODD WENZEL CHEVROLET, INC.       TODD R WENZEL                    3156 HIGHLAND BLVD                                       HUDSONVILLE        MI   49426‐9455
TODD WENZEL PONTIAC BUICK GMC     2727 28TH ST SE                                                                           GRAND RAPIDS       MI   49512‐1610
TODD WENZEL PONTIAC GMC, INC.     TODD WENZEL                      2727 28TH ST SE                                          GRAND RAPIDS       MI   49512‐1610
TODD WHALEY                       9076 GRAYTRAX RD                                                                          GRAND BLANC        MI   48439‐8328
TODD WHITCOMB                     10150 NICHOLS RD                                                                          GAINES             MI   48436‐8907
TODD WHITE                        3113 E KENDALL LN                                                                         MUNCIE             IN   47303‐9290
TODD WIDNER                       3616 BIRDSONG LN                                                                          JANESVILLE         WI   53548‐8503
TODD WILCOX                       2192 E WILSON RD                                                                          CLIO               MI   48420‐7916
TODD WILEY                        8710 N 200 W                                                                              HUNTINGTON         IN   46750‐9724
TODD WILLIAMS                     54851 GEMINI DR                                                                           SHELBY TOWNSHIP    MI   48316‐1630
TODD WINTERS & STATE FARM         C/O ZEEHANDELAR SABATINO AND     471 E BROAD ST STE 1200                                  COLUMBUS           OH   43215
AUTOMOBILE INSURANCE COMPANY      ASSOCIATES LLC
TODD WITHERS                      26340 HICKLER LN                                                                          HARRISON TWP       MI   48045‐2540
TODD WITKOWSKI                    35387 HATHAWAY ST                                                                         LIVONIA            MI   48150‐2513
TODD WOLFINGER                    80 HUTCHINS ST                                                                            PORT CHARLOTTE     FL   33953‐1313
TODD WOOD JR                      2968 COLUMBIA DR                                                                          BENSALEM           PA   19020‐2108
TODD WOODS                        8059 E MOUNT MORRIS RD                                                                    OTISVILLE          MI   48463‐9416
TODD WUOPIO                       3387 REESE RD                                                                             ORTONVILLE         MI   48462‐8463
TODD YANCEY
TODD YORK                         1290 PLOVER DR                                                                            HIGHLAND           MI   48357‐3947
TODD YORLANO                      2 BEL AIR DR                                                                              SPARTA             NJ   07871‐3729
TODD'S ALIGNMENT & REPAIR, INC.   2911 16TH ST S                                                                            MOORHEAD           MN   56560‐5145
TODD, ALICE C                     14416 SILVERSMITH CIR                                                                     BROOKSVILLE        FL   34609‐0383
TODD, ALONZO                      PO BOX 2463                                                                               SELMA              AL   36702
TODD, ALVIN K                     22099 230TH AVE                                                                           PARIS              MI   49338‐9747
TODD, AMY L                       110 COUNTY ROAD 405                                                                       LEESBURG           AL   35983‐4839
TODD, ANDRE R                     5423 JEROME LN                                                                            GRAND BLANC        MI   48439‐4323
TODD, ANDREW D                    109 S STILES ST                                                                           LINDEN             NJ   07036‐4341
TODD, ANGELA P                    5660 PAGLIA CT                                                                            STERLING HEIGHTS   MI   48310‐4084
                       09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 228 of 901
Name                   Address1                      Address2            Address3         Address4         City             State Zip
TODD, ANNIE B          20544 ALAMEDA PKWY                                                                  HIGHLAND HILLS    OH 44128‐2804
TODD, BARBARA L        1215 KINGSLAND RD                                                                   RICHMOND          VA 23231‐8351
TODD, BENJAMIN F       5255 WORCHESTER DR                                                                  SWARTZ CREEK      MI 48473‐1159
TODD, BETTY            112 E HARMON                                                                        OAKWOOD           OH 45873
TODD, BETTY            1877 GAYNELL DRIVE                                                                  SEYMORE           IN 47274
TODD, BETTY J          1319 ROOSEVELT AVE                                                                  LANSING           MI 48915‐2235
TODD, BEVERLY I        5353 MAPLESIDE LN SW                                                                WYOMING           MI 49418‐9284
TODD, BRIAN E          7511 WELLE RD                                                                       BRIGHTON          MI 48116‐8241
TODD, BRUCE E          14 FERNWOOD DR # G                                                                  BOLINGBROOK        IL 60440
TODD, CANDY J          934 EAST DR                                                                         OKLAHOMA CITY     OK 73105‐8419
TODD, CARLENE P        2436 VEAN ST                                                                        SAGINAW           MI 48603‐4138
TODD, CARLOS I         623 BOWMAN ST                                                                       MANSFIELD         OH 44903‐1238
TODD, CAROL            222 S MAIN ST                 BOX 67                                                SPENCER           OH 44275‐9745
TODD, CHANDRA T        1008 LOGAN STREET SOUTHEAST                                                         GRAND RAPIDS      MI 49506‐2533
TODD, CHARLENE         325 AVON CT APT 1                                                                   DAVISON           MI 48423‐1626
TODD, CHARLENE         407 EVERGREEN FOREST BLVD                                                           AVENEL            NJ 07001‐2052
TODD, CHARLES          11005 E STATE ROAD 54                                                               BLOOMFIELD        IN 47424‐6113
TODD, CHARLES E        715 DETOUR RD                                                                       BOWLING GREEN     KY 42101‐6506
TODD, CHARLES EDGAR    715 DETOUR RD                                                                       BOWLING GREEN     KY 42101‐6506
TODD, CHARLES H        232 BUTTERCUP RD                                                                    MOUNT VERNON      KY 40456‐7479
TODD, CHARLOTTE M      4902 NOTTINGHAM RD                                                                  VASSAR            MI 48768
TODD, CINDA E          1627 SALEM RD                                                                       HELTONVILLE       IN 47436‐8759
TODD, CLEO             723 PARALLEL AVE                                                                    KANSAS CITY       KS 66101‐1538
TODD, CONNIE J         17910 BRISTOL WAY                                                                   INDEPENDENCE      MO 64057‐1101
TODD, CYNTHIA F        1021 RIDGEWOOD DR                                                                   SUMMIT            MS 39666‐5671
TODD, DALE E           320 TIMBER LN                                                                       ANDERSON          IN 46017‐9693
TODD, DALE EUGENE      320 TIMBER LN                                                                       ANDERSON          IN 46017
TODD, DANIEL A         4167 SETTLEMENT EAST RD                                                             SHELBY            OH 44875‐8917
TODD, DARLA            3215 N LAKESHORE DR                                                                 LUDINGTON         MI 49431‐9414
TODD, DARRELL C        4211 TARENTUM DR                                                                    FLORISSANT        MO 63033‐6830
TODD, DAVID B          12380 BENT PINE POCKET                                                              ATHENS            AL 35611‐6895
TODD, DAVID B          6609 CRANWOOD DR                                                                    FLINT             MI 48505
TODD, DAVID L          1719 VINEWOOD AVE                                                                   THE VILLAGES      FL 32152‐3232
TODD, DAVID L          11629 LAUREL LN                                                                     PARKER            CO 80138‐7175
TODD, DAVID L          24232 E OTTAWA                                                                      AURORA            CO 80015
TODD, DAVID L          7071 S RANGELINE RD                                                                 UNION             OH 45322‐9626
TODD, DAVID S          35440 BROOKSTONE DR                                                                 NEW BOSTON        MI 48164‐9125
TODD, DAVID W          380 VILLAGE WEST DR S                                                               LAPEER            MI 48446‐1628
TODD, DELORES D        31 YARROW HILL, BOX 00209                                                           W HENRIETTA       NY 14586
TODD, DELORES O        210 ACADEMY AVENUE                                                                  ALEXANDRIA        TN 37012‐2030
TODD, DENISE           14332 BALSAM ST                                                                     SOUTHGATE         MI 48195‐2008
TODD, DENNIS C         12243 18 MILE RD                                                                    LEROY             MI 49655‐8266
TODD, DONALD           3396 AUNTIE JO LN                                                                   KENT CITY         MI 49330‐8913
TODD, DONALD E         11469 DUFFIELD RD                                                                   MONTROSE          MI 48457‐9430
TODD, DONALD E         420 BRIDGEPORT RD                                                                   INDIANAPOLIS      IN 46231‐1112
TODD, DONALD F         805 HERITAGE RD                                                                     SEWELL            NJ 08080‐4343
TODD, DONALD FRANCIS   805 HERITAGE RD                                                                     SEWELL            NJ 08080‐4343
TODD, DONALD R         1477 E CLINTON LN                                                                   WHITE CLOUD       MI 49349‐8802
TODD, DONNA C          1537 COVENT RD                                                                      TROY              OH 45373‐2473
TODD, DONNA L          1020 ROBIN DR                                                                       ANDERSON          IN 46013‐1334
TODD, DOROTHY E        3348 GLENBROOK DR                                                                   LANSING           MI 48911‐2222
TODD, DOYLE F          38651 MEADOWLAWN ST                                                                 WAYNE             MI 48184‐1034
                      09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                       Part 37 of 40 Pg 229 of 901
Name                  Address1                        Address2           Address3        Address4         City               State Zip
TODD, EDDIE M         17030 HILTON ST                                                                     SOUTHFIELD          MI 48075‐7013
TODD, EDITH H         1003 BURBANK RD                                                                     MCKEESPORT          PA 15133‐3703
TODD, EDWARD          1517 KENSINGTON AVE                                                                 FLINT               MI 48503‐2728
TODD, ELLA F          1237 STATON DR                                                                      OKLAHOMA CITY       OK 73111‐5045
TODD, EMILIE          38651 MEADOWLAWN ST                                                                 WAYNE               MI 48184‐1034
TODD, ERIC W          39352 HEATHERHEATH DR                                                               CLINTON TWP         MI 48038‐2640
TODD, ERNEST L        3001 E 6TH ST                                                                       ANDERSON            IN 46012‐3823
TODD, ERNESTINE       6363 SANTA FE TRL                                                                   FLINT               MI 48532‐2059
TODD, ESTHER D        9373 W ESCUDA DR                                                                    PEORIA              AZ 85382‐0979
TODD, ETHEL L         PO BOX 2627                                                                         MANSFIELD           OH 44906‐0627
TODD, EULA M          1228 WOODWARD                                                                       NEW CASTLE          IN 47362‐4444
TODD, EULA M          1228 WOODWARD AVE                                                                   NEW CASTLE          IN 47362‐4444
TODD, EVELYN          5820 W MICHAUD RD                                                                   SOUTH BRANCH        MI 48761‐9406
TODD, EVELYN J        1241 E WESTCHESTER DR                                                               CHANDLER            AZ 85349‐4440
TODD, EVELYN J.       716 FLAGSHIP TERRANC                                                                TINTON FALLS        NJ 07753
TODD, FOREST B        4408 BRENDA DR                                                                      ANDERSON            IN 46013‐1404
TODD, FRANCES         3450 W COUNTY ROAD 100 N                                                            NEW CASTLE          IN 47362‐8944
TODD, FRANCES         3450 WEST COUNTY RD 100 NORTH                                                       NEWCASTLE           IN 47362
TODD, FRANCIS M       1005 HIGHLAND AVE                                                                   WILMINGTON          DE 19808‐5811
TODD, FRANK A         22833 GRACE HILL LN                                                                 ATHENS              AL 35614‐3539
TODD, FRED            4713 US HIGHWAY 50 E                                                                BEDFORD             IN 47421‐8680
TODD, FRED H          2302 AUBURN DR SW                                                                   DECATUR             AL 35603‐1005
TODD, FREDDIE         PORTER & MALOUF PA              4670 MCWILLIE DR                                    JACKSON             MS 39206‐5621
TODD, FREDERICK D     6526 CRAB APPLE DR                                                                  CANAL WINCHESTER    OH 43110
TODD, FREDERICK J     955 NANETTE ST                                                                      TAWAS CITY          MI 48763‐9310
TODD, GARY D          315 CASTLE HILL DR                                                                  BURLESON            TX 76028
TODD, GAYLORD H       5042 DANIELS DR                                                                     TROY                MI 48098‐3002
TODD, GAYLORD H       3103 W THOMPSON RD SUITE 157                                                        FENTON              MI 48430
TODD, GENE H          119 MILL CREEK DR                                                                   ARLINGTON           TX 76010‐5614
TODD, GEORGE B        14416 SILVERSMITH CIR                                                               BROOKSVILLE         FL 34609‐0383
TODD, GEORGE E        1101 WEAVER FARM LN                                                                 SPRING HILL         TN 37174‐2186
TODD, GEORGE E        5353 MAPLESIDE LN SW                                                                GRANDVILLE          MI 49418‐9284
TODD, GEORGE S        1500 OLD BEAN SHED RD                                                               CLARKRANGE          TN 38553‐5422
TODD, GERALD H        102 ELM ST                                                                          SARATOGA SPRINGS    NY 12866‐3908
TODD, GERALDINE T     PO BOX 132486                                                                       COLUMBUS            OH 43213‐9486
TODD, GILBERT A       13180 N COTTONWOOD AVE                                                              REED CITY           MI 49677‐9405
TODD, GLENN L         215 HATCHER RD                                                                      WARNER ROBINS       GA 31088‐2822
TODD, GLENN L         215 HATSHER RD                                                                      WARNER ROBINS       GA 31088
TODD, GREGORY         24345 S TIMBERLINE TRL                                                              CRETE                IL 60417
TODD, GREGORY C       PO BOX 9022                     GM/SHI‐W                                            WARREN              MI 48090‐9022
TODD, GREGORY C       3226 SITIO OCEANO                                                                   CARLSBAD            CA 92009‐2001
TODD, GRETA F         36115 SUMMERS ST                                                                    LIVONIA             MI 48154‐5209
TODD, H E             PO BOX 477                                                                          PIGGOTT             AR 72454‐0477
TODD, HARLEY A        13955 WATERLOO RD                                                                   WELLINGTON          MO 64097‐8199
TODD, HARLEY ANDREW   13955 WATERLOO RD                                                                   WELLINGTON          MO 64097‐8199
TODD, HAROLD E        5201 6TH A ST E                                                                     BRADENTON           FL 34203‐4744
TODD, HAZEL           2021 BLAINE APT. 325                                                                DETROIT             MI 48206‐2256
TODD, HAZEL           2021 BLAINE ST APT 325                                                              DETROIT             MI 48206‐2256
TODD, HECTOR L        129 WOODWARD AVE                                                                    BUFFALO             NY 14214‐2311
TODD, HELEN           18240 MARLOWE ST                                                                    DETROIT             MI 48235‐2762
TODD, HELEN           18240 MARLOWE                                                                       DETROIT             MI 48235‐2762
TODD, HENRY P         1905 WINDWOOD DR                                                                    BEDFORD             IN 47421‐3945
                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                          Part 37 of 40 Pg 230 of 901
Name                 Address1                              Address2                       Address3   Address4         City            State Zip
TODD, HOWARD B       1449 LINCOLN AVE                                                                                 MINERAL RIDGE    OH 44440‐9704
TODD, IRENE          843 BANKS RD                                                                                     ROANOKE          AL 36274‐4035
TODD, IRENE          75 TODD LANE                                                                                     IRVINE           KY 40336‐0336
TODD, IRENE          75 TODDS LN                                                                                      IRVINE           KY 40336‐7705
TODD, JAMES A        5550 GEORGETOWN VERONA RD.                                                                       LEWISBURG        OH 45338‐8985
TODD, JAMES L        46041 ROAD 415 SPC 45                                                                            COARSEGOLD       CA 93614‐8975
TODD, JAMES L        4485 LOTZ RD                                                                                     KETTERING        OH 45429‐1827
TODD, JAMES M        6008 STRASBOURG                                                                                  LANSING          MI 48917‐3090
TODD, JAMES W        402 E COURT ST                                                                                   LUDINGTON        MI 49431‐1827
TODD, JANET L        6037 CADILLAC DRIVE                                                                              SPEEDWAY         IN 46224
TODD, JANET L.       6037 CADILLAC DR                                                                                 SPEEDWAY         IN 46224‐5328
TODD, JANIS L        10070 CREEK BLUFF DR                                                                             RIVERVIEW        FL 33578
TODD, JEAN M         3188 HERMITAGE ROAD                                                                              WARSHA           NY 14569
TODD, JEFFREY A      1420 HUMMER LAKE RD                                                                              ORTONVILLE       MI 48462‐9441
TODD, JEFFREY L      PO BOX 132486                                                                                    COLUMBUS         OH 43213‐9486
TODD, JERRY A        474 S CO RD 1280 W                                                                               RUSSIAVILLE      IN 46979
TODD, JERRY C        4310 MCKINLEY AVE                                                                                ANDERSON         IN 46013‐5057
TODD, JERRY E        2411 TWIN OAKS DR                                                                                HARRISONVILLE    MO 64701‐2900
TODD, JERRY W        507 OAK ST                                                                                       CLIO             MI 48420‐1255
TODD, JERRY WALTER   507 OAK ST                                                                                       CLIO             MI 48420‐1255
TODD, JESSIE J       6205 MAPLERIDGE DR                                                                               FLINT            MI 48532‐2166
TODD, JESSIE JAMES   6205 MAPLERIDGE DR                                                                               FLINT            MI 48532‐2166
TODD, JOEL           614 W 4TH ST                                                                                     MANSFIELD        OH 44906‐2502
TODD, JOHN H         201 TOQUA GREENS LN                                                                              LOUDON           TN 37774‐2596
TODD, JOHN N         KELLEY & FERRARO LLP                  1300 EAST NINTH STREET, 1901                               CLEVELAND        OH 44114
                                                           BOND COURT BUILDING
TODD, JOSEPH         ANGELOS PETER G LAW OFFICE            1300 N MARKET ST STE 212                                   WILMINGTON      DE   19801‐1813
TODD, JOSEPH A       31866 AL HIGHWAY 99                                                                              ANDERSON        AL   35610‐3051
TODD, KATHLEEN A.    3816 RAINIER DR                                                                                  HOWELL          MI   48843‐9212
TODD, KENNETH E      6706 W COUNTY LINE RD                                                                            KNIGHTSTOWN     IN   46148‐9306
TODD, KENNETH L      2849 STEVENSON ST                                                                                FLINT           MI   48504‐7538
TODD, LABARON        5828 SKYLINE DR                                                                                  CINCINNATI      OH   45213‐2227
TODD, LARRY E        5255 HUNT RD                                                                                     ONONDAGA        MI   49264‐9712
TODD, LARRY G        1063 WENTLAND DR                                                                                 MASON           MI   48854‐9323
TODD, LARRY L        218 CAIN ST                                                                                      NEW LEBANON     OH   45345‐1212
TODD, LAURA A        1711 MORELAND AVE                                                                                BALTIMORE       MD   21216‐3708
TODD, LAWRENCE D     6264 AMANDA DR                                                                                   SAGINAW         MI   48638‐4361
TODD, LAZARUS        GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH      PA   15219

TODD, LEEFORD W      237 DRIFTWOOD CIR                                                                                PRUDENVILLE     MI   48651‐9405
TODD, LELA I         1176 E 650 S                                                                                     MARKLEVILLE     IN   46056‐9709
TODD, LESTER         4602 ALVIN ST                                                                                    HOUSTON         TX   77051‐2802
TODD, LINDA K        315 CASTLE HILL DR                                                                               BURLESON        TX   76028
TODD, LISA L         6491 N WEBSTER RD                                                                                MOUNT MORRIS    MI   48458‐9339
TODD, LISA LYNNE     6491 N WEBSTER RD                                                                                MOUNT MORRIS    MI   48458‐9339
TODD, LOIS E         PO BOX 424                                                                                       RAPID RIVER     MI   49878‐0424
TODD, LOIS M         2849 SHACKTOWN RD                                                                                YADKINVILLE     NC   27055‐5704
TODD, LONNIE J       619 DEPTFORD AVE                                                                                 KETTERING       OH   45429‐5940
TODD, LUELLA V       936 HURON ST                                                                                     FLINT           MI   48507‐2555
TODD, LUEVELL J      3348 GLENBROOK DR                                                                                LANSING         MI   48911‐2222
TODD, MARCIA A       2495 S TIMBERCREEK AVE.                                                                          SPRINGFIELD     MO   65807‐8128
TODD, MARJORY L      2704 HICKORYWOOD DR                                                                              GAYLORD         MI   49735‐6403
                       09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                        Part 37 of 40 Pg 231 of 901
Name                   Address1                      Address2                       Address3   Address4         City           State Zip
TODD, MARVIN A         16614 OAKDALE RD                                                                         ATHENS          AL 35613‐7058
TODD, MARY A           1238 EARLVILLE RD                                                                        EARLVILLE       NY 13332‐3600
TODD, MICHAEL          12401 STATE ROAD 58 E                                                                    NORMAN          IN 47264‐8614
TODD, MICHAEL A        14093 BARRETT MILL RD                                                                    BAINBRIDGE      OH 45612‐9540
TODD, MICHAEL J        232 E 300 N                                                                              ANDERSON        IN 46012‐1206
TODD, MICHAEL L        PO BOX 28                                                                                SPENCER         OH 44275‐0028
TODD, MICHAEL P        425 LAUREL LEAH                                                                          OXFORD          MI 48371‐6369
TODD, MICHAEL R        4454 BUTTERNUT ST                                                                        CLARKSTON       MI 48348
TODD, MICHELLE R       484 CLINE AVE                                                                            MANSFIELD       OH 44907‐1024
TODD, MILDRED O        1865 COURTYARD WAY F‐106                                                                 NAPLES          FL 34112
TODD, MILDRED W        1808 N NORFOLK ST                                                                        SPEEDWAY        IN 46224‐5529
TODD, MILFORD P        75 TODDS LN                                                                              IRVINE          KY 40336‐7705
TODD, MILFORD P        75 TODD LANE                                                                             IRVINE          KY 40336‐7705
TODD, MIYOKO S         11 JESTER LN                                                                             LEVITTOWN       NY 11756‐5217
TODD, MONTY C          1454 SALEM RD                                                                            HELTONVILLE     IN 47436‐8757
TODD, MORRIS L         PO BOX 707                                                                               EMINENCE        IN 46125
TODD, NANCY A          1900 ALEX WAY                                                                            TURLOCK         CA 95382‐9207
TODD, NORMA L          210 CALIFORNIA ST                                                                        KEMP            TX 75143‐7836
TODD, NORMAN E         1116 FERNWOOD AVE                                                                        TOLEDO          OH 43607‐1903
TODD, NORMAN L         6400 W STATE ROAD 64                                                                     ECKERTY         IN 47116‐9228
TODD, OLEN L           717 ISABELLE DR                                                                          ANDERSON        IN 46013‐1637
TODD, P D              549 W COLLEGE                                                                            STANTON         KY 40380‐2229
TODD, P D              549 W COLLEGE AVE                                                                        STANTON         KY 40380‐2229
TODD, PATRICIA A       50459 BAY RUN N                                                                          CHESTERFIELD    MI 48047‐4684
TODD, PATRICIA L       22501 TODD RD                                                                            TONGANOXIE      KS 66086‐4356
TODD, PATRICIA L       22501 TODD ROAD                                                                          TONGANOXIE      KS 66086‐4356
TODD, PAUL E           3230 TENNY ST                                                                            LANSING         MI 48910‐2936
TODD, PAUL EDWARD      3230 TENNY ST                                                                            LANSING         MI 48910‐2936
TODD, PAULINE          2109 WINANS AVE                                                                          FLINT           MI 48503‐5857
TODD, PEGGY J          7048 WOODS WEST DR                                                                       FLUSHING        MI 48433‐9463
TODD, PEGGY JANE       7048 WOODS WEST DR                                                                       FLUSHING        MI 48433‐9463
TODD, PHILLIP K        PO BOX 243                                                                               IONIA           MI 48846‐0243
TODD, PHYLLIS K        178 COUNTY ROAD 549                                                                      TRINITY         AL 35673‐4903
TODD, RALPH            1109 SUNSET DR                                                                           ANDERSON        IN 46011‐1622
TODD, REX W            301 PRAIRIE ST                                                                           CHARLOTTE       MI 48813‐1639
TODD, RHIANA L         575 TOLHAM DR                                                                            BEAR            DE 19701‐1430
TODD, RICHARD A        108 MANGRUM DR                                                                           COLUMBIA        TN 38401‐6159
TODD, RICHARD D        2258 W CURTIS RD                                                                         SAGINAW         MI 48601‐9775
TODD, RICHARD DANIEL   2258 W CURTIS RD                                                                         SAGINAW         MI 48601‐9775
TODD, RICHARD T        4274 WOODVIEW DR E                                                                       SAGINAW         MI 48603‐8608
TODD, RICHARD W        418 N CHICAGO ST                                                                         LITCHFIELD      MI 49252‐9792
TODD, RICHARD W        303 S DIBBLE AVE                                                                         LANSING         MI 48917‐4227
TODD, RICHARD WAYNE    418 N CHICAGO ST                                                                         LITCHFIELD      MI 49252
TODD, ROBERT B         83 W CASTLE VIEW DR                                                                      BRASELTON       GA 30517‐2390
TODD, ROBERT D         11416 AUDUBON ST                                                                         FENTON          MI 48430‐8891
TODD, ROBERT E         916 N COUNTY ROAD 500 E                                                                  AVON            IN 46123‐8026
TODD, ROBERT G         8513 BEERS RD                                                                            SWARTZ CREEK    MI 48473‐9142
TODD, ROBERT J         2472 CROYDON CT                                                                          BENSALEM        PA 19020‐2204
TODD, ROBERT L         KELLEY & FERRARO LLP          1300 EAST NINTH STREET, 1901                               CLEVELAND       OH 44114
                                                     BOND COURT BUILDING
TODD, ROGER L          3336 NORTH PINEGROVE ROAD                                                                EDMORE         MI 48829‐8311
TODD, RONALD D         10611 E 32ND ST S                                                                        INDEPENDENCE   MO 64052‐2607
                            09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                               Part 37 of 40 Pg 232 of 901
Name                       Address1                                Address2                    Address3   Address4         City           State Zip
TODD, RONALD E             907 MONTEVIDEO DR                                                                               LANSING         MI 48917‐3942
TODD, ROSE M               30018 DAWSON ST                                                                                 GARDEN CITY     MI 48135‐2341
TODD, ROSS M               GOLDENBERG, MILLER, HELLER &            PO BOX 959                                              EDWARDSVILLE     IL 62025‐0959
                           ANTOGNOLI
TODD, ROSS M               C/O GOLDENBERG HELLER ANTOGNOLI &       2227 S STATE ROUTE 157                                  EDWARDSVILLE    IL   62025
                           ROWLAND PC
TODD, ROY E                1319 ROOSEVELT AVE                                                                              LANSING        MI    48915‐2235
TODD, ROY H                1315 CAMBRIDGE LN                                                                               CARO           MI    48723‐1255
TODD, ROY L                9090 MICHIGAN AVE                                                                               WEEKI WACHEE   FL    34613‐4431
TODD, RUBY H               5230 SIERRA CIRCLE WEST                 SUNNY ACRES MOBILE PARK                                 DAYTON         OH    45414‐3692
TODD, SAMUEL L             4351 N COUNTY ROAD 575 W                                                                        MIDDLETOWN     IN    47356‐9436
TODD, SHANE A              215 SW SEASIDE SPARROW ST                                                                       LEES SUMMIT    MO    64082‐4518
TODD, SHANE ALAN           215 SW SEASIDE SPARROW ST                                                                       LEES SUMMIT    MO    64082‐4518
TODD, SHERMAN L            158 WESTHAFER RD                                                                                VANDALIA       OH    45377‐2837
TODD, STEVEN E             270 ABBEY RD                                                                                    NOBLESVILLE    IN    46060‐5456
TODD, STEVEN L             3510 E LAKEWOOD PKWY W UNIT 103                                                                 PHOENIX        AZ    85048‐7500
TODD, STEVEN M             3577 DAVID K DR                                                                                 WATERFORD      MI    48329‐1316
TODD, SUSAN M              105 FAWN RDG                                                                                    NEWNAN         GA    30265‐2000
TODD, TAMARA L             6017 N EUSTACE AVE                                                                              TAMPA          FL    33604‐6529
TODD, TERRI L              ROUTE 6 BOX 988                                                                                 BLOOMFIELD     IN    47424‐8613
TODD, THEODORE D           2018 SW KEYSTONE DR                                                                             BLUE SPRINGS   MO    64014‐4021
TODD, THOMAS               3710 WALKER RD                                                                                  PERRY          NY    14530‐9700
TODD, TIMMIE K             931 S JOHNSON RD                                                                                MOORESVILLE    IN    46158‐1749
TODD, TIMOTHY W            6089 TODD RD                                                                                    CROSWELL       MI    48422‐8795
TODD, TONY J               2845 GIL GAL RD                                                                                 HELTONVILLE    IN    47436‐8592
TODD, VEDIA P              5930 W CINNAMON RIDGE DR                                                                        HOMOSASSA      FL    34448‐1326
TODD, VEQUITA              LAW OFFICES OF PAUL J. SPRINGER (901)   605 POPLAR AVE                                          MEMPHIS        TN    38105‐4509
                           528‐8391
TODD, VICKI JO IRENE       16172 COLUMBIA HWY                                                                              LYNNVILLE      TN    38472‐5231
TODD, VICTOR A             BELLUCK & FOX LLP                       546 5TH AVE #4                                          NEW YORK       NY    10036‐5000
TODD, WALTER R             3369 WINDLAND DR                                                                                FLINT          MI    48504‐1764
TODD, WAYNE D              ANGELOS PETER G LAW OFFICES OF          100 N CHARLES STREET, ONE                               BALTIMORE      MD    21202
                                                                   CHARLES CENTER 22ND FLOOR
TODD, WILLARD              75 TODDS LN                                                                                     IRVINE         KY    40336‐7705
TODD, WILLIAM A            2076 N LAKE PLEASANT RD                                                                         ATTICA         MI    48412‐9368
TODD, WILLIAM E            29724 TRANCREST ST                                                                              LIVONIA        MI    48152‐4531
TODD, WILLIAM F            4089 W 100 S                                                                                    ANDERSON       IN    46011‐8752
TODD, WILLIAM M            9928 "G" BUNKER HILL                                                                            SAINT LOUIS    MO    63123
TODD, WILLIAM M            580 ARISTOCRAT DR                                                                               LOGANVILLE     GA    30052‐8734
TODD, WILLIAM N            1646 N PROSPECT AVE APT 803                                                                     MILWAUKEE      WI    53202
TODD, WILLIAM W            1739 SALEM RD                                                                                   HELTONVILLE    IN    47436‐8760
TODD, WILMA H              26241 LAKESHORE BLVD APT 2151                                                                   EUCLID         OH    44132
TODD,LONNIE J              619 DEPTFORD AVE                                                                                KETTERING      OH    45429‐5940
TODD‐MCRAE, TRACEY A       2 JASMINE CT                                                                                    BOLINGBROOK    IL    60490‐6610
TODD‐MCRAE, TRACEY ANN     1134 HUNTER ST                                                                                  LOMBARD        IL    60148‐4822
TODDISH I I I, CASIMER A   111 EAGERTON TRL                                                                                PALATKA        FL    32177‐9154
TODDISHSH, H               8823 PETTIT RD                                                                                  BIRCH RUN      MI    48415‐8734
TODDY, CHARLOTTE F         PO BOX 4614                                                                                     BATESVILLE     AR    72501
TODDY, FRANKLIN J          157 LEE ROAD 2082                                                                               PHENIX CITY    AL    36870‐6540
TODDY, MYRTLE FLORENCE     157 LEE ROAD 2082                                                                               PHENIX CITY    AL    36870‐6540
TODER, JAMES V             12720 PECAN TREE DR                                                                             HUDSON         FL    34669‐2807
TODER, RICK ARTHUR         103 S GARRISON RD                                                                               VANCOUVER      WA    98664‐1418
                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 233 of 901
Name                    Address1                       Address2             Address3        Address4         City                  State Zip
TODERAN                 638 LINDERO CYN RD             STE 291                                               AGOURA                 CA 91301
TODEY CHEVROLET         1345 N OXNARD BLVD                                                                   OXNARD                 CA 93030‐3522
TODEY MOTOR CO., INC.   KEVIN TODEY                    1345 N OXNARD BLVD                                    OXNARD                 CA 93030‐3522
TODIA, VIOLET G         5 PINEWOOD DR                                                                        MEDINA                 OH 44256‐2891
TODISCO III, FRANK A    405 WILLOW AVE                                                                       GARWOOD                NJ 07027‐1225
TODOR, JOSEPH J         8495 S SHARON DR                                                                     OAK CREEK              WI 53154‐3477
TODORICH JR, STEPHEN    26220 PARKLANE DR                                                                    EUCLID                 OH 44132‐2338
TODOROFF, DAVID J       6386 HAZEL ST                                                                        TAYLOR                 MI 48180‐1014
TODOROFF, GEORGE G      85 ELMWOOD RD                                                                        FOSTORIA               MI 48435‐9627
TODOROFF, JOHN L        30641 HENNEPIN ST                                                                    GARDEN CITY            MI 48135‐1473
TODOROFF, NICK          5177 BELLE ISLE DR                                                                   DAYTON                 OH 45439‐3230
TODOROFF, RAYMOND L     32627 LEONA ST                                                                       GARDEN CITY            MI 48135‐3229
TODOROVIC, MOMCILO S    11152 S EWING AVE                                                                    CHICAGO                 IL 60617‐6921
TODOROVICH, BOSKO       10206 SHIRLEY MEADOW CT                                                              ELLICOTT CITY          MD 21042‐4833
TODOROVICH, DIANA M     294 DOCKWAY LANE                                                                     NEW CONCORD            KY 42076‐9341
TODOROVICH, MICHAEL C   13030 PARK COURT                                                                     MIDLOTHIAN              IL 60445‐1214
TODOROVICH, MILE        294 DOCKWAY LANE                                                                     NEW CONCORD            KY 42076‐9341
TODOROVICH, MILE        294 DOCKWAY LN                                                                       NEW CONCORD            KY 42076‐9341
TODOROVSKI, RISTO K     55079 BELLE ROSE DR                                                                  SHELBY TOWNSHIP        MI 48316‐5203
TODOROW, DEBORAH J      509 OAKBROOK CIR 5                                                                   FLUSHING               MI 48433
TODOROW, LINDA L        11343 MARKLEY RD                                                                     GAINES                 MI 48436‐8903
TODOROW, NICHOLAS M     7246 RATHBUN RD                                                                      BIRCH RUN              MI 48415‐8443
TODOROW, VICTOR         11343 MARKLEY RD                                                                     GAINES                 MI 48436‐8903
TODOROWSKI, BETTY J     1445 CHESTNUT RD                                                                     CORBIN                 KY 40701‐9529
TODOROWSKI, WILLIAM D   2736 131ST ST                                                                        TOLEDO                 OH 43611‐2250
TODOSCIUK, GLADYS       5611 PRESTON RD RT 4                                                                 HOWELL                 MI 48855
TODOSCIUK, JOHN G       8864 THREE CHIMNEYS DR E                                                             GERMANTOWN             TN 38138‐8206
TODOSCIUK, JOHN G       PO BOX 685                                                                           FOWLERVILLE            MI 48836‐0685
TODRYK, MAGGIE L        136 N FREMONT ST                                                                     WHITEWATER             WI 53190‐1337
TODT JR, ROBERT E       41 FREEMAN STREET                                                                    WOODBRIDGE             NJ 07095‐3435
TODT, SUZANNE H         1408 E GATE DR                                                                       VENICE                 FL 34285‐7911
TODTENHAGEN, ROBERT H   131 SANTIN DR                                                                        CHEEKTOWAGA            NY 14225‐3825
TODY JR, FRANK H        2772 S STEPHAN BRIDGE RD                                                             GRAYLING               MI 49738‐9414
TODY, DOROTHY J         560 HOWLAND AVE                                                                      PONTIAC                MI 48341‐2766
TODY, GARRY V           115 FALLING LEAF DR                                                                  LAPEER                 MI 48446‐3140
TODY, GERTRUDE A        115 FALLING LEAF DR                                                                  LAPEER                 MI 48446‐3140
TODY, JEFFREY K         1339 S WASHBURN RD                                                                   DAVISON                MI 48423‐8008
TODY, RONALD J          5297 WASHBURN RD                                                                     GOODRICH               MI 48438‐9630
TOEDTE, ANNETTA         416 NORTH HOFFMAN              APT#9                                                 NASHVILLE               IL 62263
TOEI ENG/HOUSTON        6310 WINFREE DR                                                                      HOUSTON                TX 77087‐2150
TOELLER, SHIRLEY M      1556 FAYETTEVILLE DR                                                                 SPRING HILL            FL 34609‐4926
TOELLNER, ARTHUR W      1616 CONNIE AVE                                                                      MADISON HTS            MI 48071‐3052
TOELLNER, CHARLES       PO BOX 2873                                                                          MISSION                TX 78573‐0049
TOELLNER, VELMA M       1705 MILDRED ST                                                                      BAINBRIDGE             GA 39817‐8314
TOENIES, JOHN D         14439 PINEVIEW CT                                                                    ORLAND PARK             IL 60467‐7131
TOENJES, GERARD F       1510 OXFORD RD                                                                       GROSSE POINTE WOODS    MI 48236
TOENJES, JANET K        279 KENWOOD CT                                                                       GROSSE PTE FM          MI 48236‐3452
TOENNIESSEN, ANGELA R   8325 CLARNEW DR                                                                      EAST AMHERST           NY 14051‐1910
TOENNIESSEN, NANCY M    7786 CHESTNUT RIDGE RD                                                               GASPORT                NY 14067‐9502
TOENNIESSEN, PHILIP M   3330 LOCKPORT OLCOTT RD                                                              NEWFANE                NY 14108‐9604
TOENNIGES, LISA A       4470 DOW RIDGE RD                                                                    ORCHARD LAKE           MI 48324‐2321
TOENSING, ELIZABETH L   1755 OVERLOOK LN                                                                     SANTA BARBARA          CA 93103‐2823
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                          Part 37 of 40 Pg 234 of 901
Name                                   Address1                          Address2                       Address3   Address4         City               State Zip
TOEPEL FAYE                            TOEPEL, FAYE                      500 S WASHINGTON AVE STE 5                                 ROYAL OAK           MI 48067‐3846
TOEPEL, FAYE                           ALEXANDER LAW FIRM                321 S WILLIAMS ST                                          ROYAL OAK           MI 48067‐2504
TOEPEL, RICHARD R                      6460 E TRAILRIDGE CIR UNIT 11                                                                MESA                AZ 85215‐7789
TOEPFER, ROBERT S                      1003 LINDSAY CT                                                                              FREDERICKSBRG       VA 22401‐4459
TOEPFER, WILLIAM E                     520 W 11TH ST                                                                                PERU                IN 46970‐1540
TOEPLER, SHIRLEY A                     411 S OLD WOODWARD AVE UNIT 922                                                              BIRMINGHAM          MI 48009‐6650
TOEPLER, WILLIAM E                     20497 VILLA GRANDE CIR                                                                       CLINTON TWP         MI 48038‐5314
TOEPPE WILLIAM J (429954)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510
                                                                         STREET, SUITE 600
TOEPPE, WILLIAM J                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                                         STREET, SUITE 600
TOEPPNER, RICHARD P                    402 VIRGINIA DR                                                                              ESSEXVILLE         MI   48732‐1635
TOEPPNER, THOMAS G                     4 WESSONVILLE VILLAGE WAY                                                                    WESTBOROUGH        MA   01581‐1162
TOERING ELECTRIC CO                    5940 TAHOE DR SE STE 100                                                                     GRAND RAPIDS       MI   49546‐7121
TOERING, DOUGLAS L                     360 FISHER RD                                                                                GROSSE POINTE      MI   48230‐1202
TOETEUSZ PRUSINOWSKI                   206 WHARF ST                                                                                 HERMANN            MO   65041‐1160
TOEWS NICOLE                           5005 SHADOW BROOK ST                                                                         BAKERSFIELD        CA   93313‐4365
TOFANELLI, KELLIE L                    10405 NW 57TH TER                                                                            PARKVILLE          MO   64152‐3398
TOFAUTE WILLIAM (ESTATE OF) (513425)   BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                WILMINGTON         DE   19899‐2165

TOFAUTE, WILLIAM                       BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                WILMINGTON         DE   19899‐2165
TOFEEK YAFAI                           3300 SALINA ST                                                                               DEARBORN           MI   48120‐1459
TOFEL, THOMAS L                        618 HARLAN AVE NE                                                                            GRAND RAPIDS       MI   49503‐1722
TOFFEY, HELEN L                        196 CHIMNEY RD                                                                               WATERTOWN          CT   06795‐1622
TOFFEY, HELEN L                        196 CHIMNEY ROAD                                                                             WATERTOWN          CT   06795‐1622
TOFFIE ABBASSE                         2157 STANFORD DR SE                                                                          KENTWOOD           MI   49508‐6538
TOFFOLO, MICHAEL                       562 E DAWSON RD                                                                              MILFORD            MI   48381‐3216
TOFFOLO, WALTER U                      324 ROBERTS ST                                                                               AUBURN             MI   48611‐9469
TOFFOLONI JOSEPH (658211)              LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                               HOUSTON            TX   77069
TOFFOLONI, JOSEPH                      LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                               HOUSTON            TX   77069
TOFFOLONI, JOSEPH                      THORNTON EARLY & NAUMES           100 SUMMER ST LBBY 3                                       BOSTON             MA   02110‐2104
TOFFOLONI, JOSEPH                      ICO THE LANIER LAW FIRM PC        6810 FM 1960 WEST                                          HOUSTON            TX   77069
TOFIAS ALLAN (ESTATE OF) (655734)      THORNTON EARLY & NAUMES           100 SUMMER ST LBBY 3                                       BOSTON             MA   02110‐2104
TOFIAS, ALLAN                          THORNTON EARLY & NAUMES           100 SUMMER ST LBBY 3                                       BOSTON             MA   02110‐2104
TOFIL, JEANETTE                        208 STRUTHERS LIBERTY RD                                                                     CAMPBELL           OH   44405‐1967
TOFT, BRUCE A                          20 COUNTY ROAD 1459 1459 145                                                                 VINEMONT           AL   35179
TOFT, HELEN Y                          APT 1                             727 EAST SIBLEY STREET                                     HOWELL             MI   48843‐2468
TOFT, LUANA                            384 PETERS RD                                                                                SUMMERTOWN         TN   38483‐5122
TOFT, REX A                            384 PETERS RD                                                                                SUMMERTOWN         TN   38483‐5122
TOFT, THOMAS J                         4270 ALLEGHENY DR                                                                            STERLING HEIGHTS   MI   48314‐3755
TOFTE, OSCAR L                         706 DICKINSON ST                                                                             EDGERTON           WI   53534‐1513
TOFTOY JEAN                            17748 STATE ROUTE 71                                                                         NEWARK             IL   60541‐9599
TOGETHERSOFT CORPORATION
TOGETHERSOFT CORPORATION               2100 NORCROSS PKWY STE 150                                                                   NORCROSS           GA   30071‐4903
TOGGER, JUNE                           43653 VIA BADALONA                                                                           PALM DESERT        CA   92211‐8203
TOGGLE, JODY                           2206 WILSON ST                                                                               VICKSBURG          MS   39180
TOGLIATTI, ALBERT                      310 SUGAR MAPLE LN                                                                           MANSFIELD          OH   44903‐8576
TOGNETTI, CAROL A                      2324 CASTLEWOOD DR                                                                           GAYLORD            MI   49735‐9136
TOGNETTI, GIOACCHINO                   14349 CRANBROOK ST                                                                           RIVERVIEW          MI   48193‐7531
TOGNETTI, LOUIS A                      2324 CASTLEWOOD DR                                                                           GAYLORD            MI   49735‐9136
TOGNETTI, LOUIS J                      25200 UNIT 3                      JEFFERSON COURT                                            SOUTH LYON         MI   48178
TOGNETTI,RICHARD P                     52 FITZGERALD CT                                                                             MONROE             NY   10950
                               09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                    Part 37 of 40 Pg 235 of 901
Name                          Address1                            Address2                        Address3            Address4                  City              State Zip
TOGNUM AG                     9770 PATRIOT BLVD STE 100                                                                                         LADSON             SC 29456‐6703
TOGNUM AG                     MAYBACHSTR 1                                                                            FRIEDRICHSHAFEN BW
                                                                                                                      88045 GERMANY
TOGNUM AG                     STEVEN PAGE                         9770 PATRIOT BLVD, SUITE 100                        SHANGHAI CHINA
                                                                                                                      (PEOPLE'S REP)
TOGNUM AG                     MAYBACHPLATZ 1                                                                          FRIEDRICHSHAFEN BW        FRIEDRICHSHAFEN   BW 88045
                                                                                                                      88045 GERMANY
TOGUT SEGAL & SEGAL LLP       ATTN: SCOTT E. RATNER, ESQ          ONE PENN PLAZA, SUITE 3335                                                    NEW YORK          NY 10119
TOGUT, SEGAL & SEGAL LLP      CONFLICTS COUNSEL FOR THE DEBTORS   ATTN: ALBERT TOGUT AND FRANK A. ONE PENN PLAZA                                NEW YORK          NY 10011
                              AND DEBTORS IN POSSESSION           OSWALD

TOHFA R KHABIR                9575 LAKESIDE DR                                                                                                  YPSILANTI         MI 48197‐3032
TOHM, RAYMOND C               38031 MATTIX RD                                                                                                   LISBON            OH 44432‐9731
TOHMS, GARY R                 5601 DENISON AVE                                                                                                  CLEVELAND         OH 44102‐5854
TOHO MOTORS CO., LTD.         23‐22, SHIMOMEGURO 2‐CHOME                                                              TOKYO JAPAN
TOHOKU UNIVERSITY, JAPAN
TOHONO O'ODHAM NATION                                             BIA BUSINESS LOOP                                                                               AZ    85634
TOHT, MARK R                  7315 CENTER RD                                                                                                    WILMINGTON        OH    45177‐9465
TOI D COUSINS                 888 PALLISTER ST APT 502                                                                                          DETROIT           MI    48202‐2671
TOI LOWE                      9470 HILL RD                                                                                                      SWARTZ CREEK      MI    48473‐1067
TOIA GREGORY A                TOIA, GREGORY A                     2325 GRANT BUILDING 330 GRANT                                                 PITTSBURGH        PA    15219
                                                                  STREET
TOIA, FRANK S                 832 CURIE RD                                                                                                      NORTH BRUNSWICK   NJ    08902‐2240
TOIFEL, ROBERT A              3906 HILTON DR                                                                                                    MOBILE            AL    36693‐3929
TOIFL, CHARLES H              156 PRESTON AVE                                                                                                   MIDDLETOWN        CT    06457‐2314
TOIFL, EDMUND                 229 GWEN RD                                                                                                       MERIDEN           CT    06451‐2781
TOIFL, ESTELLA C              54 MERIDEN AVE                                                                                                    MERIDEN           CT    06451‐5329
TOINETTE E GRIGGS             997 CARLISLE ST                                                                                                   PONTIAC           MI    48340‐2626
TOINS, JEAN                   2008 DARON PL                                                                                                     FLINT             MI    48505‐1002
TOINS, JOSHUA                 1374 COUNTRY VIEW LN                                                                                              FLINT             MI    48532‐2208
TOIVO HACKMAN JR              PO BOX 451                                                                                                        BARAGA            MI    49908‐0451
TOIVO MALENIUS                4325 GOLF COURSE RD                                                                                               EVELETH           MN    55734‐4053
TOJEK, THOMAS R               240 FURMAN DR                                                                                                     HENDERSONVILLE    NC    28739‐6439
TOKAI RIKA CO LTD             100 HILL BRADY RD                                                                                                 BATTLE CREEK      MI    49037‐7301
TOKAI RIKA CO LTD             255 PATILLO RD RR 1                                                                     TECUMSEH ON N8N 2L9
                                                                                                                      CANADA
TOKAI RIKA CO LTD             4111 COUNTY FARM RD                                                                                               JACKSON           MI 49201‐4100
TOKAI RIKA CO LTD             47200 PORT ST                                                                                                     PLYMOUTH          MI 48170‐6082
TOKAI RIKA CO LTD             500 HLTHOMPSON JR DR                                                                                              ASHLEY            IN 46705
TOKAI RIKA CO LTD             CHRIS FUERTH X337                   255 PATILLO RURAL RTE 1                             TECEMSEH ON CANADA
TOKAI RIKA CO LTD             JASON NOWACKI                       100 HILL BRADY RD               TOKAI RIKA CO LTD                             BATTLE CREEK      MI 49037‐7301
TOKAI RIKA CO LTD             JASON NOWACKI                       TOKAI RIKA CO LTD               100 HILL BRADY RD   ASCHAFFENBURG 08750
                                                                                                                      GERMANY
TOKAI RIKA CO LTD             LYNN RYDZIK                         4111 COUNTY FARM ROAD                                                         HIALEAH            FL   33010
TOKAI RIKA CO LTD             3‐260 TOYODA OGUCHICHO                                                                  NIWA‐GUN AICHI 480‐0195
                                                                                                                      JAPAN
TOKAI RUBBER INDUSTRIES LTD   JEFF CAMPBELL X1168                 320 SNIDER RD                                                                 ENTERPRISE        AL    36330
TOKAR, BEVERLY K              8074 E CARPENTER RD                                                                                               DAVISON           MI    48423
TOKAR, HILLARY A              6028 STOCKBRIDGE COMMONS TRL                                                                                      GRAND BLANC       MI    48439‐9135
TOKAR, HILLARY ANN            6028 STOCKBRIDGE COMMONS TRL                                                                                      GRAND BLANC       MI    48439‐9135
TOKAR, JOHN G                 8074 E CARPENTER RD                                                                                               DAVISON           MI    48423
TOKAR, LEONARD                PO BOX 94063                                                                                                      WASHINGTON        MI    48094‐4063
                                09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                  Part 37 of 40 Pg 236 of 901
Name                            Address1                            Address2                        Address3                 Address4               City                State Zip
TOKAR, MARILYN J                1582 ROUTE 2023                                                                                                     MONONGAHELA          PA 15063‐3433
TOKAR, RICHARD D                5025 MOBILE DR                                                                                                      FLINT                MI 48507‐3839
TOKAR, RICHARD DENNIS           5025 MOBILE DR                                                                                                      FLINT                MI 48507‐3839
TOKAR, RUTH M                   104 RENFREW AVE                                                                                                     MOUNT MORRIS         MI 48458‐8893
TOKAR, THEODORE A               885 SANDVIEW DR                                                                                                     CHARLOTTE            MI 48813
TOKARCHUK, MARION D             4211 SHERIDAN DR                                                                                                    ROYAL OAK            MI 48073‐6231
TOKARCZYK, CATHERINE            7475 ROCKDALE                                                                                                       DETROIT              MI 48239‐1018
TOKARCZYK, JAMES R              927 RIVERVIEW BLVD                                                                                                  TONAWANDA            NY 14150‐7865
TOKARCZYK, JEANNE C             927 RIVERVIEW BLVD                                                                                                  TONAWANDA            NY 14150‐7865
TOKARCZYK, LORETTA              3981 MAPLEFIELD CT APT G                                                                                            CINCINNATI           OH 45255‐4984
TOKARCZYK, RICHARD J            910 RIVERVIEW BLVD                                                                                                  TONAWANDA            NY 14150‐7867
TOKARSKI ALBERT (637965)        ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                                        WILMINGTON           DE 19801‐1813
TOKARSKI GERALD (448272)        KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                                   CLEVELAND            OH 44114
                                                                    BOND COURT BUILDING
TOKARSKI, ALBERT                ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                                        WILMINGTON          DE   19801‐1813
TOKARSKI, ALICE                 154B ROSEWOOD DR                                                                                                    WHITING             NJ   08759
TOKARSKI, BERNICE W             2430 BRAZILIA #14                                                                                                   CLEARWATER          FL   33763‐3703
TOKARSKI, BERNICE W             2430 BRAZILIA DR APT 14                                                                                             CLEARWATER          FL   33763‐3703
TOKARSKI, GERALD                KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                                    CLEVELAND           OH   44114
                                                                    BOND COURT BUILDING
TOKARSKI, JASON S               18 E ORCHARD ST                                                                                                     WOONSOCKET          RI   02895‐5240
TOKARSKI, RICHARD T             3 FENWOOD AVE                                                                                                       SMITHFIELD          RI   02917‐3907
TOKARSKI, TADEUSZ J             3761 E RIVER RD                                                                                                     GRAND ISLAND        NY   14072‐1450
TOKARSKY ALBERT T               DBA MASTERS SPOTLIGHT               1162 ROGER SCOTT DR             ENTERTAINMENT SERVICES                          BELLBROOK           OH   45305‐8942
TOKARSKY JR., WILLIAM           210 LAKESIDE DR                                                                                                     NEWNAN              GA   30263‐4567
TOKARSKY, JUDITH A              210 LAKESIDE DR                                                                                                     NEWNAN              GA   30253‐4567
TOKARSKY, LOUIS                 7397 HAWKINS HOLLOW RD SW                                                                                           STONE CREEK         OH   43840‐9452
TOKARSKY, MARY                  34 RIDGE LN                                                                                                         MURPHY              NC   28906
TOKARSKY, THOMAS M              4541 WOODBINE AVE                                                                                                   DAYTON              OH   45420‐3154
TOKARSKY, WANDA A               1030 S EAST ST                                                                                                      FENTON              MI   48430‐2931
TOKARSKY, WANDA A               1030 S.E. STREET                                                                                                    FENTON              MI   48430‐2931
TOKARZ, FREDERICK F             10355 DEER RIDGE TRL                                                                                                HOLLY               MI   48442‐8044
TOKARZ, JAMES N                 39218 RIVERCREST AVE                                                                                                HARRISON TOWNSHIP   MI   48045‐1785
TOKARZ, JOHN J                  GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                                    SAGINAW             MI   48604‐2602
                                                                    260
TOKARZEWSKI, EVA R              1469 CRYSTAL LN                                                                                                     WATERFORD           MI   48327‐2973
TOKASH, WILLIAM J               74 RAINTREE IS APT 7                                                                                                TONAWANDA           NY   14150‐2751
TOKAZ RANDALL                   308 OVERLOOK DR                                                                                                     KERRVILLE           TX   78028‐6028
TOKE III, ANDREW G              1158 WILL O WOOD DR                                                                                                 HUBBARD             OH   44425‐3336
TOKES, DOUGLAS E                1705 TREMBATH LN                                                                                                    ANTIOCH             CA   94509‐7227
TOKH, FARID A                   208 HALBERTON DR                                                                                                    FRANKLIN            TN   37069‐4338
TOKICO INC                      301 MAYDE RD                                                                                                        BEREA               KY   40403‐9777
TOKICO, INC.                    TOM HEALY                           301 MAYDE RD                                                                    BEREA               KY   40403‐9777
TOKICO, INC.                    TOM HEALY                           301 MAYDE DR.                                                                   CHICAGO             IL
TOKINA S HARRIS                 211 W KENNETT RD                                                                                                    PONTIAC             MI   48340‐2653
TOKISH, STEPHEN R               7940 CLAIBORNE DR                                                                                                   BRIGHTON            MI   48114‐7352
TOKITA LAWRENCE K (624635)      (NO OPPOSING COUNSEL)
TOKIWA CHEM/NEW YORK            C/O NICHIMEN AMERICA, INC           1185 AVENUE OF THE AMERICAS                                                     NEW YORK            NY   10036
TOKMAN, GEORGE T                17423 CICOTTE AVE                                                                                                   ALLEN PARK          MI   48101‐3120
TOKMAN, GEORGE TERRY            17423 CICOTTE AVE                                                                                                   ALLEN PARK          MI   48101‐3120
TOKYO BOEKI NORTH AMERICA INC   39205 COUNTRY CLUB DR STE CB                                                                                        FARMINGTON HILLS    MI   48331
TOKYO ELECTRON LIMITED          5‐3‐6 AKASAKA                                                                                TOKYO 107‐8481 JAPAN
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                                       Part 37 of 40 Pg 237 of 901
Name                                Address1                        Address2                       Address3                   Address4               City            State Zip
TOKYO ELECTRON U.S. HOLDINGS        DIANNE BRADLEY                  2400 GROVE BLVD                                                                  AUSTIN           TX 78741‐6500
TOKYO NEWS SERVICE LTD              HAMARIKYU PK SIDE PL 13TH FL    6‐10 TSUKIJI 5‐CHOME CHUO‐KU                              TOKYO 104‐8415 JAPAN
                                                                                                                              JAPAN
TOKYO RADIATOR MFG CO LTD           2002‐1 ENDO FUJISAWA                                                                      KANAGAWA 252‐0816
                                                                                                                              JAPAN
TOKYO RADIATOR MFG. CO., LTD        C/O KEITH C OWENS               FOLEY & LARDNER LLP            555 S. FLOWER STREET       35TH FLOOR             LOS ANGELES     CA   90071
TOKYO RADIATOR MFG. CO., LTD.       C/O KEITH C OWENS               FOLEY & LARDNER LLP            555 S FLOWER ST, 35TH FL                          LOS ANGELES     CA   90071
TOL‐O‐MATIC INC                     3800 COUNTY ROAD 116                                                                                             HAMEL           MN   55340‐9342
TOL‐O‐MATIC INC.                    3800 COUNTY RD.                 SUITE 116                                                                        HAMEL           MN   55340
TOLA TRAVENIA III                   12475 PINE ST #7                                                                                                 TAYLOR          MI   48180
TOLA TRAVENIA JR                    2209 NORTHWEST AVE                                                                                               LANSING         MI   48906‐3655
TOLAN, ARTHUR M                     8043 GUTCHESS ROAD                                                                                               ALPENA          MI   49707‐8827
TOLAN, BRIAN R                      760 TOLAN CT                                                                                                     ORTONVILLE      MI   48462‐9405
TOLAN, DANIEL G                     1875 N HADLEY RD                                                                                                 ORTONVILLE      MI   48462‐9795
TOLAN, MYRA E                       760 TOLAN CT                                                                                                     ORTONVILLE      MI   48462‐9405
TOLAND, CHARLES E                   8354 E LANTZ ST                                                                                                  DETROIT         MI   48234‐3305
TOLAND, FORREST P                   1942 CARDINAL COURT                                                                                              MIDDLETOWN      OH   45044‐2917
TOLAND, JAMES F                     218 HOMBERG AVE                                                                                                  BALTIMORE       MD   21221‐3738
TOLAND, KENDALL L                   1507 W YOUNGS DITCH RD                                                                                           BAY CITY        MI   48708‐9173
TOLAND, WILLIAM                     3436 W COUNTY RD 300 N                                                                                           WINCHESTER      IN   47394
TOLAR, KENNETH D                    3401 COIT AVE NE                                                                                                 GRAND RAPIDS    MI   49525‐2665
TOLAR, MELBA M                      451 HEMLOCK CIR S E                                                                                              ATLANTA         GA   30316‐1837
TOLAR, SANDRA R                     297 BLUE OAK DR 228                                                                                              COOPERSVILLE    MI   49404
TOLARO, C P                         2511 W PLEASANT VALLEY RD                                                                                        PARMA           OH   44134‐6520
TOLAS JOHN                          9460 STANGE AVE                                                                                                  LAS VEGAS       NV   89129‐2616
TOLASCH, JOSEPH P                   4940 N PORTSMOUTH RD                                                                                             SAGINAW         MI   48601‐9631
TOLBERT CHEVROLET‐OLDSMOBILE‐BUICK‐ 1040 W BEACON ST                                                                                                 PHILADELPHIA    MS   39350‐3204

TOLBERT CHEVROLET‐OLDSMOBILE‐BUICK‐ 1040 W BEACON ST                                                                                                 PHILADELPHIA    MS 39350‐3204
PONTIAC, INC.
TOLBERT CHEVROLET‐OLDSMOBILE‐BUICK‐ BILLIE TOLBERT                  1040 W BEACON ST                                                                 PHILADELPHIA    MS 39350‐3204
PONTIAC, INC.
TOLBERT CHRISTOPER                  TOLBERT, CHRISTOPER             420 E 2ND STREET                                                                 LIMA            OH 45804‐2008
TOLBERT HEATING & AC
TOLBERT I I, OKPARA E               PO BOX 98                                                                                                        WHITEVILLE      TN   38075‐0098
TOLBERT JR, ALFRED W                4117 TRUMBULL AVE                                                                                                FLINT           MI   48504‐2193
TOLBERT JR, DAN                     9256 JEROME                                                                                                      REDFORD         MI   48239
TOLBERT JR, THOMAS                  42707 MAUDE CT                                                                                                   BELLEVILLE      MI   48111‐5130
TOLBERT RICHARDSON                  43229 CAMBRIDGE DR                                                                                               STERLING HTS    MI   48313‐1812
TOLBERT ROY J (472181)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                      NORFOLK         VA   23510
                                                                    STREET, SUITE 600
TOLBERT SHELY                       300 BEDFORD HILLS DR                                                                                             BEDFORD         IN   47421
TOLBERT SR, JOSEPH                  9154 INKSTER RD                                                                                                  REDFORD         MI   48239‐2381
TOLBERT SR, ROY L                   14504 LEXINGTON AVE                                                                                              HARVEY          IL   60426‐1229
TOLBERT TWANNA                      TOLBERT, TWANNA                 8606 E WOODVIEW DR APT B                                                         SHERWOOD        AR   72120
TOLBERT, ANNETTE                    1046 E 11TH CT                                                                                                   GARY            IN   46403‐3545
TOLBERT, ANTHONY W                  PO BOX 310356                                                                                                    FLINT           MI   48531‐0356
TOLBERT, ARDELIA R                  520 BOND ST                                                                                                      ELYRIA          OH   44035‐3313
TOLBERT, ARDELLA                    5035 FOREST SIDE DR                                                                                              FLINT           MI   48532‐2327
TOLBERT, ARRIE                      655 41ST AVENUE NORTHEAST                                                                                        ST PETERSBURG   FL   33703‐5007
TOLBERT, ARRIE                      655 41ST AVE NE                                                                                                  ST PETERSBURG   FL   33703‐5007
TOLBERT, BARBARA O                  536 SCHORES LN                                                                                                   BEDFORD         IN   47421‐6733
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 238 of 901
Name                  Address1                       Address2            Address3         Address4         City               State Zip
TOLBERT, BERNICE      2205 CRESTWOOD DR                                                                    ANDERSON            IN 46016
TOLBERT, BEVERLY I    16752 FIELDSTONE RDG                                                                 MACOMB              MI 48042‐1114
TOLBERT, BILLY R      1111 BETTY ST SW                                                                     DECATUR             AL 35601‐5437
TOLBERT, BRENDA L     1520 PARKHILL LN SE                                                                  BOGUE CHITTO        MS 39629
TOLBERT, BRENDA L     27674 MORNINGSIDE PLZ                                                                LATHRUP VLG         MI 48076‐3265
TOLBERT, BRUCE        3111 FLEMING RD                                                                      FLINT               MI 48504‐2579
TOLBERT, CAROL L      447 GLIDE ST                                                                         ROCHESTER           NY 14606‐1339
TOLBERT, CHARLES L    5739 FLEMING AVE                                                                     OAKLAND             CA 94605‐1129
TOLBERT, CHARLES W    7634 AUTUMNAL LN                                                                     LIVERPOOL           NY 13088‐3646
TOLBERT, CHARLIE L    PO BOX 3503                                                                          CENTER LINE         MI 48015‐0503
TOLBERT, CHRISTOPER   420 E 2ND ST                                                                         LIMA                OH 45804‐2008
TOLBERT, CLARA R      28 ELSIN LANE                                                                        WILLINGBORO         NJ 08046‐2254
TOLBERT, CLARA R      28 ELSIN LN                                                                          WILLINGBORO         NJ 08046‐2254
TOLBERT, CONNIE C     52072 JOHNSON RD                                                                     THREE RIVERS        MI 49093‐9755
TOLBERT, DARA         PO BOX 380136                                                                        CLINTON TOWNSHIP    MI 48038‐0060
TOLBERT, DARRYL W     52072 JOHNSON RD                                                                     THREE RIVERS        MI 49093‐9755
TOLBERT, DAVID        2205 CRESTWOOD DR                                                                    ANDERSON            IN 46016‐2751
TOLBERT, DAVID J      2205 CRESTWOOD DR                                                                    ANDERSON            IN 46016
TOLBERT, DAVID L      4303 AUGUSTA MANOR CT                                                                FLORISSANT          MO 63034‐3475
TOLBERT, DON R        5522 NW VERLIN DR                                                                    PARKVILLE           MO 64152‐3233
TOLBERT, DORRIS D     2706 REVERE AVE SW                                                                   DECATUR             AL 35603‐1174
TOLBERT, EARLINE      20290 BURGESS                                                                        DETROIT             MI 48219‐1365
TOLBERT, EDDIE L      1060 S DEACON ST                                                                     DETROIT             MI 48217‐1611
TOLBERT, EILEEN       2395 HARBOR BLVD APT 203A                                                            PORT CHARLOTTE      FL 33952‐5031
TOLBERT, ERNEST       3900 N JEFFERSON ST APT 2                                                            WILMINGTON          DE 19802‐2165
TOLBERT, ERNESTINE    16 LESTER CT                                                                         PONTIAC             MI 48341‐3022
TOLBERT, FORREST W    4501 N. WHEELING AVE.          BLD 2‐201                                             MUNCIE              IN 47304
TOLBERT, FORREST W    4501 N WHEELING AVE            BLD 2‐209                                             MUNCIE              IN 47304
TOLBERT, GERALD W     1438 SILVERTHORN DRIVE                                                               ORLANDO             FL 32825‐5883
TOLBERT, GOLDEN       10638 PINE ST                                                                        TAYLOR              MI 48180
TOLBERT, GOLDEN       17231 ROWE ST                                                                        DETROIT             MI 48205‐3196
TOLBERT, HERMAN       4977 MOSES DR                                                                        LIVERPOOL           NY 13090‐2570
TOLBERT, HUBERT D     2389 US HIGHWAY 278 W                                                                CULLMAN             AL 35057‐1215
TOLBERT, J L          1755 AYSHIRE DR                                                                      TITUSVILLE          FL 32796‐1450
TOLBERT, JANICE K     2837 W 18TH ST                                                                       ANDERSON            IN 46011‐4069
TOLBERT, JANICE KAY   2837 W 18TH ST                                                                       ANDERSON            IN 46011‐4069
TOLBERT, JERRY G      51158 AMERICA                                                                        BELLEVILLE          MI 48111‐4456
TOLBERT, JERRY J      7787 RUTLAND ST                                                                      DETROIT             MI 48228‐3546
TOLBERT, JIMMIE L     2087 SEVENHILLS DR                                                                   CINCINNATI          OH 45240‐2705
TOLBERT, JOANN        2745 BROOKLYN AVE SE                                                                 GRAND RAPIDS        MI 49507‐3938
TOLBERT, JOE A        PO BOX 733                                                                           MOUNT MORRIS        MI 48458‐0733
TOLBERT, JOHN J       24 PARKWOOD CIR                                                                      TUSCALOOSA          AL 35401‐6649
TOLBERT, JOHNNIE M    PO BOX 4115                                                                          SAGINAW             MI 48606‐4115
TOLBERT, JOSEPH       3806 JENNINGS STATION RD                                                             SAINT LOUIS         MO 63121‐3508
TOLBERT, JOSEPH R     715 COUNTRY CLUB LN                                                                  FLINT               MI 48507‐1874
TOLBERT, JUANITA L    23191 COVENTRY WOODS LN                                                              SOUTHFIELD          MI 48034‐5165
TOLBERT, LILA M       4977 MOSES DR                                                                        LIVERPOOL           NY 13090
TOLBERT, LILLIE R     1940 W COIL ST                                                                       INDIANAPOLIS        IN 46260‐4322
TOLBERT, LILLIE V     9944 SCHAEFER HWY                                                                    DETROIT             MI 48227‐3464
TOLBERT, MARK         25 ORVILLE DR                                                                        TOLEDO              OH 43612‐3526
TOLBERT, MARSHALL     16752 FIELDSTONE RDG                                                                 MACOMB              MI 48042‐1114
TOLBERT, MELBA J      107 AMBASSADOR AVE                                                                   ROMEOVILLE           IL 60446‐1113
                                  09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                      Part 37 of 40 Pg 239 of 901
Name                              Address1                            Address2                      Address3   Address4         City             State Zip
TOLBERT, MICHAEL L                16 LESTER CT                                                                                  PONTIAC           MI 48341‐3022
TOLBERT, MICHAEL W                1817 HAMLET DR                                                                                YPSILANTI         MI 48198‐3610
TOLBERT, MINNIE L                 4606 BEECHER RD APT D1              HUNTINGTON CIRCLE                                         FLINT             MI 48532‐2623
TOLBERT, PATRICIA                 PORTER & MALOUF PA                  4670 MCWILLIE DR                                          JACKSON           MS 39206‐5621
TOLBERT, PAUL J                   702 MARQUETTE ST                                                                              FLINT             MI 48504‐7700
TOLBERT, PHYLIS H                 1115 W OAK ST                                                                                 MITCHELL          IN 47446‐1069
TOLBERT, PHYLISS                  509 MAIN STREET                                                                               ELWOOD            IN 46036‐1827
TOLBERT, PHYLISS                  5319 W BETHEL AVE                                                                             MUNCIE            IN 47304‐9598
TOLBERT, RAYMOND L                5338 SAINT LOUIS AVE                                                                          SAINT LOUIS       MO 63120‐2016
TOLBERT, RICHARD                  383 E 328TH ST                                                                                WILLOWICK         OH 44095‐3309
TOLBERT, ROBERT A                 5324 SITKA ST                                                                                 BURTON            MI 48519‐1522
TOLBERT, ROBERT L                 714 FONTAINE RD                                                                               PHENIX CITY       AL 36869‐7511
TOLBERT, ROY J                    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                      STREET, SUITE 600
TOLBERT, SARA J                   6945 CHIMNEY HILL DR APT 1607                                                                 W BLOOMFIELD     MI   48322‐4542
TOLBERT, SHALONDA M               5015 PEBBLE CRK E APT 8                                                                       SHELBY TWP       MI   48317‐4897
TOLBERT, SHIRLEY A                1462 PROPER AVE                                                                               BURTON           MI   48529‐2046
TOLBERT, SHIRLEY M                4036 KIMBERLY WOODS DR                                                                        FLINT            MI   48504‐1141
TOLBERT, SONIA R                  1024 GEORGETOWN PARKWAY                                                                       FENTON           MI   48430‐3248
TOLBERT, STEPHANIE K              PO BOX 320004                                                                                 FLINT            MI   48532‐0001
TOLBERT, STEPHANIE KIM            PO BOX 320004                                                                                 FLINT            MI   48532‐0001
TOLBERT, TERRENCE L               1401 SW 41ST CIR                                                                              LEES SUMMIT      MO   64082‐3813
TOLBERT, TERRENCE LE‐ROY          1401 SW 41ST CIR                                                                              LEES SUMMIT      MO   64082‐3813
TOLBERT, TWANNA                   8606 E WOODVIEW DR APT B                                                                      SHERWOOD         AR   72120
TOLBERT, VENOLA                   913 WAGER AVE                                                                                 FLINT            MI   48505‐3585
TOLBERT, VERDELLA J               1007 BATTLECREEK VILLAGE DR                                                                   JONESBORO        GA   30236‐8523
TOLBERT, VIVIAN                   267 ETHAN MOOR                                                                                JONESBORO        GA   30238‐5881
TOLBERT, WALTER                   6066 SNOW HILL DR                                                                             LIBERTY TWP      OH   45011‐5216
TOLBERT, WALTER L                 2913 LAGUNA DR                                                                                DECATUR          GA   30032‐3527
TOLBERT, WENDELL G                1101 PAUL ST                                                                                  MOUNT MORRIS     MI   48458‐1104
TOLBERT, WILLIAM J                3608 DORIS WALKER TRL                                                                         BURLESON         TX   76028‐3280
TOLBERT, WINDELL L                9532 FM 2578                                                                                  TERRELL          TX   75160‐6622
TOLBIE S WOODS JR                 C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                 HOUSTON          TX   77007
                                  BOUNDAS LLP
TOLBIRT, MARION                   280 E 42ND ST                                                                                 SAN BERNARDINO   CA   92404‐1319
TOLBY KISER                       2601 N JOHN B DENNIS HWY APT 1006                                                             KINGSPORT        TN   37660‐4791
TOLCHER, CHERYL L                 531 SUN MANOR ST                                                                              FLUSHING         MI   48433
TOLDEN, CHARLIE                   541 S 22ND ST                                                                                 SAGINAW          MI   48601‐1540
TOLDEN, EFFIE J                   208 S 15TH ST                                                                                 SAGINAW          MI   48601‐1867
TOLDEN, ELAINE                    141 PAULETTE DRIVE                                                                            BELLEVILLE       IL   62226
TOLDNESS, WALTER S                6015 WESTERN AVE                                                                              WILLOWBROOK      IL   60527‐1866
TOLDO III, FREDERICK H            5483 LIBERTY BELL RD                                                                          GRAND BLANC      MI   48439‐7700
TOLDO JR, FREDERICK H             15380 JENNINGS RD                                                                             FENTON           MI   48430‐1735
TOLDY, MARIA                      27917 ABERDEEN RD                                                                             BAY VILLAGE      OH   44140‐2125
TOLEDO                            4255 BRYANT IRVIN RD STE 105                                                                  FORT WORTH       TX   76109‐4224
TOLEDO (CITY OF)                  420 MADISON AVE STE 100                                                                       TOLEDO           OH   43667‐0001
TOLEDO AREA CHAMBER OF COMMERCE   300 MADISON AVE STE 200                                                                       TOLEDO           OH   43604‐1568

TOLEDO AUTOMOBILE DEALERS         655 METRO PL S STE 270                                                                        DUBLIN           OH 43017‐3393
ASSOCIATION
TOLEDO BLADE THE                  PO BOX 984                                                                                    TOLEDO           OH 43697‐0984
TOLEDO BOTANICAL GARDEN           5403 ELMER DR                                                                                 TOLEDO           OH 43615‐2803
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                       Part 37 of 40 Pg 240 of 901
Name                                Address1                           Address2                    Address3           Address4                 City            State Zip
TOLEDO BRANCH NAACP                 PO BOX 9388                                                                                                TOLEDO           OH 43697‐9388
TOLEDO CHEROKEE JUNIOR HOCKEY       1258 W ALEXIS RD                                                                                           TOLEDO           OH 43612‐4206
TOLEDO CLASSIC INC                  ATTN JUDD SILVERMAN                4405 DORR ST                                                            TOLEDO           OH 43607‐2139
TOLEDO CLINIC INCORP                4235 SECOR RD                                                                                              TOLEDO           OH 43623‐4231
TOLEDO CLUB OF THE NATIONAL         245 N SUPERIOR ST                  PROFESSIONAL WOMENS CLUBS                                               TOLEDO           OH 43604‐1201
ASSOCIATION NEGRO BUSINESS &
TOLEDO COMMUNITY FOUNDATION         TOLEDO TECH ACADEMY FUND           3301 UPTON AVE                                                          TOLEDO          OH   43613‐5110
TOLEDO DISCOUNT BRAKE & MFFLR       ATTN: TOM ADAMS                    1438 W ALEXIS RD                                                        TOLEDO          OH   43612‐4045
TOLEDO DISCOUNT TRANSMISSION        ATTN: JOHN CORBIN                  1438 W ALEXIS RD                                                        TOLEDO          OH   43612‐4045
TOLEDO EDISON CO                    300 MADISON AVE T 1813                                                                                     AKRON           OH   44320
TOLEDO EDISON COMPANY               PO BOX 3638                                                                                                AKRON           OH   44309‐3638
TOLEDO EDISON COMPANY               PO BOX 3612                                                                                                AKRON           OH   44309‐3612
TOLEDO EDISON COMPANY               76 MAIN STREET                                                                                             AKRON           OH   44308
TOLEDO FENCE & SUPPLY CO THE        2525 HILL AVE                                                                                              TOLEDO          OH   43607‐3612
TOLEDO FLOOR                        RESURFACING INC                    5221 TRACTOR RD 513                                                     TOLEDO          OH   43612
TOLEDO HEARING & SPEECH CENTER      ATTN DHHC                          3148 W CENTRAL AVE                                                      TOLEDO          OH   43606‐2920
TOLEDO HOSPITAL                     CPR RESCUE TRAINING CENTER         2142 N COVE BLVD                                                        TOLEDO          OH   43606‐3895
TOLEDO MECHANICAL INSULATION I      5650 W CENTRAL AVE STE C2                                                                                  TOLEDO          OH   43615‐1510
TOLEDO MECHANICAL INSULATION INC    5650 WEST CENTRAL AVENUE SUITE C                                                                           TOLEDO          OH   43615

TOLEDO METROPOLITAN AREA COUNCIL    300 MARTIN LUTHER KING JR DR                                                                               TOLEDO          OH 43604
OF GOVERNMENTS
TOLEDO MIRROR & GLASS               103 AVONDALE AVE                                                                                           TOLEDO          OH   43604‐8207
TOLEDO MOLDING & DIE INC            24086 STATE ROUTE 697              PO BOX 393                                                              DELPHOS         OH   45833‐9203
TOLEDO MOLDING & DIE INC            PO BOX 6760                                                                                                TOLEDO          OH   43612‐0760
TOLEDO MOLDING & DIE INC            LORIE JOHNSON                      1429 COINING                                                            TOLEDO          OH   43612
TOLEDO MOLDING & DIE INC                                               1429 COINING DR                                                         TOLEDO          OH   43612
TOLEDO MOLDING & DIE INC            100 WISCONSIN ST                                                                                           WALWORTH        WI   53184‐9545
TOLEDO MOLDING & DIE INC            1429 COINING DR                                                                                            TOLEDO          OH   43612‐2932
TOLEDO MOLDING & DIE INC            1440 N MAULE RD                                                                                            TIFFIN          OH   44883
TOLEDO MOLDING & DIE INC            24086 STATE ROUTE 697                                                                                      DELPHOS         OH   45833‐9203
TOLEDO MOLDING & DIE INC            515 E GYPSY LANE RD                                                                                        BOWLING GREEN   OH   43402‐8739
TOLEDO MOLDING & DIE INC            616 W MCKINLEY AVE                                                                                         MISHAWAKA       IN   46545‐5518
TOLEDO MOLDING & DIE INC            JOHNATHAN STEFFES                  DELPHOS PLT 2               24086 ST RTE 697   CUAUTLANCINGO PU 72710
                                                                                                                      MEXICO
TOLEDO MOLDING & DIE INC            MARK MIGNIN X230                   515 E GYPSY LANE RD                                                     BOWLING GREEN   OH   43402‐8739
TOLEDO MOLDING & DIE INC            MARK MIGNIN X230                   515 E. GYPSY LANE                                                       NORTHWOOD       OH   43619
TOLEDO MOLDING & DIE INC            MARK MIGNIN X7064                  1440 N MAULE RD                                                         TIFFIN          OH   44883
TOLEDO MUD HENS BASEBALL CLUB INC   406 WASHINGTON ST                  FIFTH THIRD FIELD                                                       TOLEDO          OH   43604‐1046

TOLEDO MUNICIPAL COURT           ACCT OF SHEILA D MC MICHAEL           555 N ERIE                                                              TOLEDO          OH 43604
TOLEDO MUNICIPAL COURT           ACCT OF TERESA M MOORE                555 N ERIE ST RM 14                                                     TOLEDO          OH 43604
TOLEDO MUNICIPAL COURT           FOR ACCT OF WILLIE E JOHNSON
TOLEDO MUNICIPAL COURT           ACCT OF JOHN A TATE JR                555 N ERIE                                                              TOLEDO          OH   43604
TOLEDO MUNICIPAL COURT           ACCT OF JEREME WILLIAMSON             555 N ERIE ST                                                           TOLEDO          OH   43604
TOLEDO MUNICIPAL COURT CLERK     555 N ERIE ST                                                                                                 TOLEDO          OH   43604
TOLEDO MUSEUM OF ART             ATTN SPECIAL EVENTS                   PO BOX 1013                                                             TOLEDO          OH   43697‐1013
TOLEDO OH TAX COMMISSIONER
TOLEDO PAIN SERVICES             7053 W CENTRAL AVE                                                                                            TOLEDO          OH 43617‐1114
TOLEDO PHOTO ENFORCEMENT PROGRAM PO BOX 76699                                                                                                  CLEVELAND       OH 44101‐6500

TOLEDO PRESS COMPANY LLC            4510 LINT AVE                                                                                              TOLEDO          OH 43612
                                      09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                           Part 37 of 40 Pg 241 of 901
Name                                 Address1                             Address2                  Address3              Address4         City              State Zip
TOLEDO PRIDE                         1 GOVERNMENT CTR STE 2200                                                                             TOLEDO             OH 43604‐2295
TOLEDO RED LIGHT ENFORCEMENT         TOLEDO CITATION SYSTEMS              PO BOX 76699                                                     CLEVELAND          OH 44101‐6500
TOLEDO REGIONAL CHAMBER OF           300 MADISON AVENUE                   ENTERPRISE SUITE 200                                             TOLEDO             OH 43604
COMMERCE
TOLEDO SC/PLYMOUTH                   9282 GENERAL DR STE 100                                                                               PLYMOUTH          MI   48170‐4607
TOLEDO SC/TROY                       1021 NAUGHTON                                                                                         TROY              MI   48083
TOLEDO SECURITY PACKAGE              2005 CENTENNIAL RD                                                                                    TOLEDO            OH   43617‐1715
TOLEDO SYMPHONY                      MUSIC UNDER THE STARS                PO BOX 407                                                       TOLEDO            OH   43697‐0407
TOLEDO TECHNOLOGIES                  GENTEK HOLDING LLC                   23357 NETWORK PL                                                 CHICAGO           IL   60673‐1233
TOLEDO TECHNOLOGIES EFT GENTEK       ATTN: CORPORATE OFFICER/AUTHORIZED   23357 NETWORK PL                                                 CHICAGO           IL   60673‐1233
HOLDING LLC                          AGENT
TOLEDO TECHNOLOGIES INC              DAVE TABBERT X273                    99 N FEARING BLVD         TOLEDO STAMPING DIV                    TOLEDO            OH   43607‐3602
TOLEDO TECHNOLOGIES INC              DAVE TABBERT X273                    TOLEDO STAMPING DIV       99 FEARING BLVD.                       KETTERING         OH   45432
TOLEDO TECHNOLOGY ACADEMY            3301 UPTON AVE                                                                                        TOLEDO            OH   43613‐5110
TOLEDO TENT & PARTY RENTALS          ATTN CHERYL                          1810 OAKDALE                                                     OREGON            OH   43616
TOLEDO TRANE PARTS                   1135 CORPORATE DR                                                                                     HOLLAND           OH   43528‐8457
TOLEDO TRANE SERVICE INC             1135 CORPORATE DR                                                                                     HOLLAND           OH   43528‐8457
TOLEDO TRANSDUCERS INC               6834 SPRING VALLEY DR                PO BOX 10                                                        HOLLAND           OH   43528
TOLEDO TRANSMISSION D/B/A BEELINE
PROPERTIES, LLC
TOLEDO ZOO                           PO BOX 140130                                                                                         TOLEDO            OH 43614‐0130
TOLEDO, EDUARDO
TOLEDO, JOSE                         ONEILL DANIEL J LAW OFFICES OF       1264 HIGUERA ST STE 205                                          SAN LUIS OBISPO   CA 93401‐3129
TOLEDO, JOSE LUIS
TOLEDO, MARIANO                      15110 EASTWOOD TRL                                                                                    SPRING HILL       FL 34604‐8181
TOLEDO, NELLY                        2215 CALLE MCLEARY                   URB. SANTA TERESITA                                              SAN JUAN          PR 00913‐4525
TOLEDO‐LUCAS COUNTY PORT AUTHORITY   11013 AIRPORT HWY STE 11             TOLEDO EXPRESS AIRPORT                                           SWANTON           OH 43558‐9403

TOLEDO‐LUCAS COUNTY PORT AUTHORITY 21090 FERN ST                                                                                           OAK PARK          MI 48237‐3229

TOLEDO‐LUCAS COUNTY PORT AUTHORITY ONE MARITIME PLAZA                                                                                      TOLEDO            OH 43604

TOLEFREE, ALONZO                     3239 MONTGOMERY ST                                                                                    DETROIT           MI   48206‐2313
TOLEFREE, JARIS L.                   5 S. 18TH AVE.                                                                                        MAYWOOD           IL   60153
TOLEMAN, ROBERT L                    421 E BLOSSOM HILL RD                                                                                 W CARROLLTON      OH   45449‐2059
TOLEN, GARY W                        1401 RIDGEDALE ST                                                                                     ATHENS            AL   35613‐8507
TOLEN, JACQUELINE S                  912 NOB HILL DRIVE UNIT NO. 2                                                                         NILES             OH   44446
TOLEN, JAMES T                       17333 TOLEN DR                                                                                        MANCHESTER        MI   48158‐9740
TOLEN, ROBERT J                      93 WHITE RD                                                                                           COLUMBIAVILLE     MI   48421‐9746
TOLEN, WILLIAM E                     85 WHITE RD                                                                                           COLUMBIAVILLE     MI   48421‐9746
TOLEN, WILLIAM V                     8271 CARTER ST                                                                                        LANTANA           TX   76226‐7332
TOLENADA, ANDRES                     16647 SUSSEX ST                                                                                       DETROIT           MI   48235‐3877
TOLENE, DOLORES M                    761 WEBBER CT                                                                                         LINDEN            MI   48451‐8761
TOLENE, MERRILL K                    761 WEBBER CT                                                                                         LINDEN            MI   48451‐8761
TOLENO SUSAN                         TOLENO, SUSAN                        30 E BUTLER AVE                                                  AMBLER            PA   19002‐4514
TOLENTINO DE FERRERA, MAGDALENA J    91 WILDEY ST                                                                                          TARRYTOWN         NY   10591‐3114

TOLENTINO, BONIFACIO                 2514 MICHAEL DR                                                                                       STERLING HTS      MI   48310‐3577
TOLENTINO, CESARE A                  2 FRIENDLY COURT                                                                                      REDWOOD CITY      CA   94063‐4433
TOLENTINO, CESARE A                  2 FRIENDLY CT                                                                                         REDWOOD CITY      CA   94063‐4433
TOLENTINO, HENRY A                   28906 SHADOW VALLEY LN                                                                                SANTA CLARITA     CA   91390
TOLENTINO, MARCIO
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                         Part 37 of 40 Pg 242 of 901
Name                                Address1                          Address2                           Address3   Address4         City             State Zip
TOLER CARTAGE INC                   520 LINCOLN BLVD                                                                                 MARION            IN 46952
TOLER CLINTON H (437369)            SUTTER & ENSLEIN                  1598 KANAWHA BLVD EAST , SUITE                                 CHARLESTON        WV 25311
                                                                      200
TOLER CLINTON H (437369) ‐ TOLER    SUTTER & ENSLEIN                  1598 KANAWHA BLVD EAST , SUITE                                 CHARLESTON       WV 25311
SHARON                                                                200
TOLER, ANTHONY
TOLER, CAROLINE                     8102 WOODCREEK DRIVE                                                                             INDIANAPOLIS     IN 46256‐2184
TOLER, CLINTON H                    SUTTER & ENSLEIN                  1598 KANAWHA BLVD EAST, SUITE                                  CHARLESTON       WV 25311
                                                                      200
TOLER, DEBORAH                      1222 FLUSHING RD                                                                                 FLINT            MI   48504‐4755
TOLER, DOUGLAS G                    PO BOX 28152                                                                                     DAYTON           OH   45428‐0152
TOLER, EDWARD L                     4132 KIMBERWICK PL                                                                               FORT WAYNE       IN   46818‐9360
TOLER, EDWARD L.                    4132 KIMBERWICK PL                                                                               FORT WAYNE       IN   46818‐9360
TOLER, ELLA                         3437 W 56TH ST                                                                                   CLEVELAND        OH   44102‐5719
TOLER, ELLA                         3437 W 56TH STREET                                                                               CLEVELAND        OH   44102‐5719
TOLER, HANNAH D                     10641 TOSTON LN                   C/O STEPHEN E. TOLER                                           GLEN ALLEN       VA   23060‐6499
TOLER, HELEN V                      944 CHERRY LN                     C/O MARCELLA SCHULTZ                                           SEVEN HILLS      OH   44131‐4216
TOLER, HELEN V                      C/O MARCELLA SCHULTZ              944 CHERRY LANE                                                SEVEN HILLS      OH   44131
TOLER, HENRY F                      8399 N WEBSTER RD                                                                                CLIO             MI   48420‐8520
TOLER, JANICE                       1072 ALYDAR CIR                                                                                  INDIANAPOLIS     IN   46217‐3996
TOLER, JOSEPH J                     508 PARK AVE                                                                                     PISCATAWAY       NJ   08854‐4933
TOLER, KAREN E                      G 8399 WEBSTER RD                                                                                CLIO             MI   48420
TOLER, KAREN E                      8399 N WEBSTER RD                                                                                CLIO             MI   48420‐8520
TOLER, KENZIE                       102 REDBUD CT                                                                                    BECKLEY          WV   25801‐9560
TOLER, LARRY A                      2137 TIMBER LN                                                                                   SEBRING          FL   33872‐4066
TOLER, LILLIAN B                    2701 CECELIA ST                                                                                  SAGINAW          MI   48602‐5743
TOLER, RICHARD L                    3900 LUCIAN AVE                                                                                  DAYTON           OH   45416‐1500
TOLER, RICHARD LEE                  3900 LUCIAN AVE                                                                                  DAYTON           OH   45416‐1500
TOLER, RICHARD R                    3329 OLD KAWKAWLIN RD                                                                            BAY CITY         MI   48706‐1679
TOLER, ROBERT A                     2039 WESTBURY DR                                                                                 MIDWEST CITY     OK   73130‐8209
TOLER, ROBERT CLINTON
TOLER, ROBERT J
TOLER, SHARON                       SUTTER & ENSLEIN                  1598 KANAWHA BLVD EAST, SUITE                                  CHARLESTON       WV 25311
                                                                      200
TOLER, TERESA
TOLER, TERRI L                      400 GIES ST APT 22                                                                               BAY CITY         MI 48706
TOLER, TERRY T                      120 MAXWELL RD                                                                                   INDIANAPOLIS     IN 46217‐3434
TOLER, TINA                         PUTNEY RAY LAW OFFICE OF          10000 MEMORIAL DRIVE , SUITE 640                               HOUSTON          TX 77024

TOLER, TINA                         EDWARDS LAW FIRM                  2100 FROST BANK PLAZA                                          CORPUS CHRISTI   TX   78470
TOLER, ULYSIS                       24285 BERG RD                                                                                    SOUTHFIELD       MI   48033‐3049
TOLER, WALTER                       P O BOX 162                                                                                      CANDLER          FL   32111‐0162
TOLER, WILLADEAN                    3860 WEST 1 60TH DOWNSTAIRS                                                                      CLEVELAND        OH   44111
TOLER,RICHARD LEE                   3900 LUCIAN AVE                                                                                  DAYTON           OH   45416‐1500
TOLERANCE GROUP, DOUGLAS A. FYMER   205 N. JACKSON ST., SUITE 100     13010 S. BROADWAY, LA, CA 90061;                               GLENDALE         CA   91206

TOLERANCE GROUP, DOUGLAS A. FYMER   205 N. JACKSON ST., SUITE 100                                                                    GLENDALE         CA 91206

TOLERSON III, JESSE E               PO BOX 6699                                                                                      KOKOMO           IN   46904‐6699
TOLERSON JERRY                      3704 OAKHURST DR                                                                                 KOKOMO           IN   46902‐3615
TOLERSON, BABBIE A                  15103 APPLEROCK DR                                                                               O FALLON         MO   63368‐3894
TOLERSON, JEANETTE                  701 E NORTH ST                                                                                   KOKOMO           IN   46901‐3052
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                      Part 37 of 40 Pg 243 of 901
Name                                Address1                       Address2                         Address3   Address4         City            State Zip
TOLERSON, SHELBY R                  8321 W SAHARA AVE APT 1058                                                                  LAS VEGAS        NV 89117‐1877
TOLERSON, TERRI A                   18235 CENTENNIAL RD                                                                         WESTFIELD        IN 46074
TOLES I I, ROSS L                   1442 BOWERS RD                                                                              LAPEER           MI 48446‐3123
TOLES JR, JOHN                      16814 LANGLY AVE                                                                            CLEVELAND        OH 44128‐3608
TOLES WILLIAM                       6545 HORNCLIFFE DR                                                                          CLARKSTON        MI 48346‐3081
TOLES, ANGELA C                     2813 WILMINGTON WAY                                                                         LAS VEGAS        NV 89102
TOLES, ANGELA CAMILLE               2813 WILMINGTON WAY                                                                         LAS VEGAS        NV 89102
TOLES, ANGELA R                     9545 E 1125 N                                                                               KENDALLVILLE     IN 46755‐9749
TOLES, ASHLEY C                     2813 WILMINGTON WAY                                                                         LAS VEGAS        NV 89102‐5989
TOLES, CONSTANCE                    205 MIDLAND AVE                                                                             COLUMBUS         OH 43223‐1022
TOLES, CONSTANCE                    205 MIDLAND                                                                                 COLUMBUS         OH 43223‐1022
TOLES, EDNA G                       6206 EASTKNOLL DR                                                                           GRAND BLANC      MI 48439‐5403
TOLES, EDNA GRACE                   3608 SUNCREST DR                                                                            FLINT            MI 48504
TOLES, EDWARD A                     109 MEADOWBROOK AVE                                                                         WILMINGTON       DE 19804‐2827
TOLES, EUGENE                       150 E FOSS AVE                                                                              FLINT            MI 48505‐2116
TOLES, GWENDOLYN                    6545 HORNCLIFFE DR                                                                          CLARKSTON        MI 48346‐3081
TOLES, JAMES R                      510 LELAND ST                                                                               KERRVILLE        TX 78028‐3046
TOLES, JOHN K                       1820 GREEN VALLEY DRIVE                                                                     JANESVILLE       WI 53546‐1223
TOLES, JOHNNY C                     2735 ROLLING HILL AVE                                                                       PORTAGE          MI 49024‐6644
TOLES, LUCILLE W                    5159 SOUTHGLOW CT S E                                                                       KENTWOOD         MI 49508‐4715
TOLES, MARY V                       2625 ARLINE ST                                                                              MUSKOGEE         OK 74401‐5318
TOLES, MICHELLE R                   7519 GATHINGS DR                                                                            FORT WAYNE       IN 46816‐2755
TOLES, ROBERT J                     5641 WRIGHT DR                                                                              TROY             MI 48098‐2918
TOLES, ROSA L                       2668 BRIER ST SE                                                                            WARREN           OH 44484‐5205
TOLES, VICKIE L                     200 HOUSTON AVE                                                                             JACKSON          MS 39209‐5203
TOLES, WALTER H                     2725 W BOSTON BLVD APT 10                                                                   DETROIT          MI 48206
TOLES, WILLIAM L                    6545 HORNCLIFFE DR                                                                          CLARKSTON        MI 48346‐3081
TOLEVSKI, JOVAN V                   213 STONY POINT RD                                                                          ROCHESTER        NY 14624‐1945
TOLFO KIM                           TOLFO, KIM                     3 SUMMIT PARK DR STE 100                                     INDEPENDENCE     OH 44131‐2598
TOLFREE, CHRISTOPHER M              3351 KNIGHT RD                                                                              SAGINAW          MI 48601‐9651
TOLFREE, CHRISTOPHER MICHAEL        3351 KNIGHT RD                                                                              SAGINAW          MI 48601‐9651
TOLFREE, DAVID F                    3351 KNIGHT RD                                                                              SAGINAW          MI 48601‐9651
TOLFREE, EDNA M                     3751 CHINA GROVE MEWS                                                                       DUMFRIES         VA 22025‐1034
TOLFREE, EDNA M                     14158 CUDDY LOOP               UNIT #202                                                    WOODBRIDGE       VA 22193‐5973
TOLFREE, EUGENE P                   1931 S OGEMAW TRL                                                                           WEST BRANCH      MI 48661‐9728
TOLFREE, GEORGE W                   1498 W SCHAEFER RD                                                                          SANFORD          MI 48657
TOLFREE, IRENE C                    9233 W CARO RD                                                                              REESE            MI 48757‐9227
TOLFREE, JAMES H                    1879 CIRCLE DR                                                                              FAIRGROVE        MI 48733‐9702
TOLFREE, ROBERT P                   1378 S BRADFORD RD                                                                          REESE            MI 48757‐9541
TOLFREE, THOMAS J                   1508 BROCKWAY ST                                                                            SAGINAW          MI 48602
TOLHURST, CATHERINE A               53 GARLAND AVE                                                                              ROCHESTER        NY 14611
TOLIA                               3868 VISTA LN                                                                               ORCHARD LAKE     MI 48323‐1678
TOLIN II, ERNEST                    564 BESSINGER DR                                                                            CINCINNATI       OH 45240
TOLIN JAMES HARVEY SR (ESTATE OF)   BARON & BUDD                   3102 OAK LANE AVE , SUITE 1100                               DALLAS           TX 75219
(473140)
TOLIN JR, LINDSEY L                 6164 FIELD ST                                                                               DETROIT         MI   48213‐2457
TOLIN, JAMES HARVEY                 BARON & BUDD                   3102 OAK LANE AVE, SUITE 1100                                DALLAS          TX   75219
TOLIN, PATRICIA A                   614 GEORGIA DR                                                                              BETHEL          OH   45106‐1036
TOLISE A DIERSEN                    42W580 EMPIRE RD 2                                                                          SAINT CHARLES   IL   60175
TOLIVER BROTHERS, LLP               PO BOX 557                                                                                  BALLINGER       TX   76821
TOLIVER BROTHERS, LLP               JOSEPH TOLIVER                 PO BOX 557                                                   BALLINGER       TX   76821
TOLIVER COLBERT                     315 PEACOCK DR                                                                              LOUISIANA       MO   63353‐2719
                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                           Part 37 of 40 Pg 244 of 901
Name                     Address1                        Address2                          Address3   Address4         City           State Zip
TOLIVER JOE              TOLIVER, JOE                    15414 STABLE STAR CIR                                         CYPRESS         TX 77429
TOLIVER LARRY            8700 PLAYERS CT                                                                               ELK GROVE       CA 95624‐3100
TOLIVER, ALBERTEEN       4456 S HILLCREST CIR                                                                          FLINT           MI 48506‐1452
TOLIVER, BETTY N         22178 JEFFERSON RD                                                                            MORLEY          MI 49336‐9555
TOLIVER, BILLIE          1506 PINGREE ST                                                                               DETROIT         MI 48206‐2434
TOLIVER, BOBBY C         6634 EASTMONT DR                                                                              FLINT           MI 48505‐2431
TOLIVER, CARL B          1989 STATE ROAD 37                                                                            MITCHELL        IN 47446‐6012
TOLIVER, CARRIE          2458 COLVIN BLVD                                                                              TONAWANDA       NY 14150‐4417
TOLIVER, DEBRA           811 S 6TH ST                                                                                  MONROE          LA 71202‐2227
TOLIVER, DEBRA A         727 MINOR STREET APT #1                                                                       KALAMAZOO       MI 49008
TOLIVER, DONNEL          7909 S SAM HOUSTON PKWY E APT                                                                 HOUSTON         TX 77075‐4783
TOLIVER, JAMES W         2702 WHEELER ST                                                                               INDIANAPOLIS    IN 46218
TOLIVER, JOE             15414 STABLE STAR CIR                                                                         CYPRESS         TX 77429‐7093
TOLIVER, JULIA M         2114 JUSTICE LN                                                                               KOKOMO          IN 46902‐3840
TOLIVER, LARRY D         4574 STONINGTON RD                                                                            ORLEANS         IN 47452‐7246
TOLIVER, LEROY           317 SUE CT                                                                                    TEMPLE          GA 30179‐3888
TOLIVER, LILLIAN         1222 ANGIERS DR                                                                               DAYTON          OH 45408‐2411
TOLIVER, LOUIS           20108 GILCHRIST ST                                                                            DETROIT         MI 48235‐2437
TOLIVER, MARY E          5753 EDEN VILLAGE WAY                                                                         INDIANAPOLIS    IN 46254‐5196
TOLIVER, MARY N          105 MAHAN LN                                                                                  MONROE          LA 71203‐8567
TOLIVER, ODESSA          2004 S 5TH ST                                                                                 MONROE          LA 71202‐4342
TOLIVER, ODESSA          2004 SO 5TH ST                                                                                MONROE          LA 71202‐4342
TOLIVER, RAIONDE L       PO BOX 553                                                                                    BALDWIN         MI 49304‐0553
TOLIVER, ROGER D         6670 SW ROOD BRIDGE RD                                                                        HILLSBORO       OR 97123‐9146
TOLIVER, ROGER DEAN      6670 SW ROOD BRIDGE RD                                                                        HILLSBORO       OR 97123‐9146
TOLIVER, RONALD A        3753 DUBARRY RD                                                                               INDIANAPOLIS    IN 46226‐6031
TOLIVER, TIFFANY         238 WHITNEY WOODS ROAD                                                                        CAVE CITY       KY 42127‐9334
TOLIVER, VERA L          3244 N GARRISON AVE                                                                           TULSA           OK 74106‐1808
TOLIVER, WILLIAM J       2516 TOWNHOUSE LN                                                                             KALAMAZOO       MI 49001‐4522
TOLIVER, WILLIAM JAMES   2516 TOWNHOUSE LN                                                                             KALAMAZOO       MI 49001‐4522
TOLIVER, WILLIE J        543 ROSE HILL AVENUE                                                                          CINCINNATI      OH 45217‐1421
TOLJAGA, RADE            18035 OAK WAY DR                                                                              HUDSON          FL 34667‐6396
TOLKACZ, JOSEPH M        24241 KINGS POINTE                                                                            NOVI            MI 48375‐2709
TOLKACZ, WALTER J        2125 JOANNE DR                                                                                TROY            MI 48084‐1130
TOLKKINEN, PAMELA S      1724 HILLROSE PL                                                                              FAIRBORN        OH 45324‐4019
TOLL DUKE                5794 PRIVATE ROAD 9140                                                                        WEST PLAINS     MO 65775‐5603
TOLL, DARLENE G          837 W MORGAN AVE                                                                              MILWAUKEE       WI 53221‐1737
TOLL, MICHAEL W          233 N WHITE PINE DR                                                                           LUDINGTON       MI 49431
TOLL, TERRY T            PO BOX 74                                                                                     TROY            MI 48099‐0074
TOLL, TERRY TAYLOR       PO BOX 74                                                                                     TROY            MI 48099‐0074
TOLL, THEODORE J         PO BOX 74                                                                                     TROY            MI 48099‐0074
TOLL, THEODORE JOHN      PO BOX 74                                                                                     TROY            MI 48099‐0074
TOLL, VIKI S             43 MECHANIC ST                                                                                OXFORD          MI 48371‐4952
TOLL, VIKI S             43 MECHANIC STREET                                                                            OXFORD          MI 48371
TOLL, WALTER R           19480 EDGEWATER RD                                                                            HILLMAN         MI 49746‐8019
TOLLAFIELD, PAMELA K     5125 JULIAN DR                                                                                TROY            MI 48085‐6725
TOLLANDER, BETTY M       9411 BRENTWOOD DR APT 18                                                                      LAVISTA         NE 68128‐8217
TOLLARI, PHILLIP         TERSHEL & ASSOCIATES            HELENA PROFESSIONAL BLDG , 55                                 WASHINGTON      PA 15301
                                                         SOUTH MAIN ST
TOLLAS GEORGE (665275)   COONEY & CONWAY                 120 NORTH LASALLE STREET , 30TH                               CHICAGO         IL   60602
                                                         FLOOR
                           09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                               Part 37 of 40 Pg 245 of 901
Name                       Address1                         Address2                         Address3   Address4         City            State Zip
TOLLAS, GEORGE             COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                               CHICAGO           IL 60602
                                                            FLOOR
TOLLAS, GEORGE R           6944 BREMENTOWNE RD                                                                           TINLEY PARK     IL   60477‐1641
TOLLAS, ILSE               6944 BREMENTOWNE RD.                                                                          TINLEY PARK     IL   60477‐1641
TOLLAS, LARRY P            914 KELLEY ROAD                                                                               MONTGOMERY      MI   49255‐9787
TOLLE EARL                 12439 BAKER AVE                                                                               CHINO           CA   91710‐2304
TOLLE, DIANE M             5605 MADRID DR                                                                                AUSTINTOWN      OH   44515‐4136
TOLLE, GARELL W            RR 2 BOX 163                                                                                  ADRIAN          MO   64720
TOLLE, GERALDINE R         PO BOX 275                                                                                    OREGONIA        OH   45054‐0275
TOLLE, GERALDINE R         P.O. BOX 275                                                                                  OREGONIA        OH   45054‐0275
TOLLE, JAMES L             1150 STAVE OAK DR                                                                             BEECH GROVE     IN   46107‐1974
TOLLE, MARY P              3117 E 5TH ST                                                                                 ANDERSON        IN   46012‐3813
TOLLE, MICHAEL G           312 WESTERLY HILLS DR                                                                         ENGLEWOOD       OH   45322‐2341
TOLLE, MICHAEL J           3739 N 600 E                                                                                  WINDFALL        IN   46076‐9301
TOLLE, NANCY A             10 SKYLINE DR                                                                                 LAKE PLACID     FL   33852‐7141
TOLLE, PAUL E              737 LAKERIDGE DR.                                                                             LIMA            OH   45804‐5804
TOLLE, PAUL E              737 LAKE RIDGE DR                                                                             LIMA            OH   45804‐3674
TOLLE, PHILLIP E           5818 E 300 N                                                                                  WINDFALL        IN   46076‐9443
TOLLE, RICHARD J           803 TREHERNE LN                                                                               ENGLEWOOD       OH   45322‐2340
TOLLE, RITA                402 NITA DR                                                                                   WILLARD         OH   44890‐9041
TOLLE, RITA                402 NITA DRIVE                                                                                WILLARD         OH   44890
TOLLE, ROBERT M            450 OAK RIDGE BLVD                                                                            MIAMISBURG      OH   45342‐3673
TOLLE, STEVEN L            1939 E MOHR LN                                                                                MUSTANG         OK   73064‐6531
TOLLE, TOMMY L             2917 COLONIAL AVE                                                                             KETTERING       OH   45419‐2033
TOLLE, VERNON C            RR 3                                                                                          MANSFIELD       OH   44903
TOLLE, VICKIE L            6417 VILAS ROAD                                                                               SPENCER         IN   47460‐5176
TOLLE, WANDA D             12125 E KY 8                                                                                  QUINCY          KY   41166‐9086
TOLLE, WILLIAM H           832 W MARTINDALE RD                                                                           UNION           OH   45322‐2926
TOLLE, WILLIAM HERBERT     832 W MARTINDALE RD                                                                           UNION           OH   45322‐2926
TOLLE‐HEMMELGARN, MARY A   4074 ROMAN DR                                                                                 DAYTON          OH   45415‐2420
TOLLEFSON, ALBERTA M       4147 E DOLPHIN AVE                                                                            MESA            AZ   85206‐1925
TOLLEFSON, CLAYTON O       PO BOX 142                       535 TERRITORIAL ROAD                                         CLYMAN          WI   53016‐0142
TOLLEFSON, GREGORY N       6516 E. ROCK COUNTY LINE RD.                                                                  FORT ATKINSON   WI   53538
TOLLEFSON, IMOGENE         33432 ALVIN ST                                                                                GARDEN CITY     MI   48135‐1007
TOLLEFSON, JAMES O         1215 BINGHAM AVE                                                                              JANESVILLE      WI   53546‐2642
TOLLEFSON, JEANETTE A      600 W WALTON BLVD APT 353                                                                     PONTIAC         MI   48340‐3502
TOLLEFSON, JEANETTE A      600 W WALTON BLVD                #353                                                         PONTIAC         MI   48340
TOLLEFSON, JOHN T          805 MILLER AVE                                                                                JANESVILLE      WI   53548‐2338
TOLLEFSON, LAVERNE N       PO BOX 103                                                                                    SUN PRAIRIE     WI   53590‐0103
TOLLEFSON, NEIL J          6516 ROCK CO LINE RD                                                                          FORT ATKINSON   WI   53538
TOLLEFSON, RAYMOND E       600 W WALTON BLVD APT 353                                                                     PONTIAC         MI   48340‐3502
TOLLENAAR, LEONA D         27833 W PELICAN ISLE DR                                                                       LEESBURG        FL   34748‐9304
TOLLER, KATHY L            3654 PARIS DR                                                                                 MORAINE         OH   45439‐1226
TOLLER, KATHY L            3654 PARIS DRIVE                                                                              DAYTON          OH   45439‐1226
TOLLERSTAD, MURIEL M       338 A COUNTRY CLUB DR.                                                                        SIMI VALLEY     CA   93065‐7647
TOLLERSTAD, MURIEL M       338 COUNTRY CLUB DR APT A                                                                     SIMI VALLEY     CA   93065‐7647
TOLLES, GERALD W           2930 GULFSTREAM DR                                                                            SAGINAW         MI   48603‐6144
TOLLES, JAMES C            13059 GOLFSIDE CT                                                                             CLIO            MI   48420‐8281
TOLLES, JANET A            13059 GOLFSIDE CT                                                                             CLIO            MI   48420‐8281
TOLLES, JENNIFER M         5783 AMBASSADOR DR APT 3                                                                      SAGINAW         MI   48603‐3515
TOLLES, LELAND C           22601 POE RD                                                                                  GRAND RAPIDS    OH   43522‐9760
TOLLES, LUELLA J           1619 MARLEY DR                                                                                COLUMBIA        SC   29210‐6717
                                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                           Part 37 of 40 Pg 246 of 901
Name                                     Address1                        Address2                      Address3   Address4               City               State Zip
TOLLES, MARY J                           305 PARKVIEW DR                                                                                 WALBRIDGE           OH 43465‐1213
TOLLES, NORMAN K                         14550 WESTON RD                                                                                 WESTON              OH 43569‐9532
TOLLES, PAUL R                           PO BOX 5711                                                                                     TOLEDO              OH 43613‐0711
TOLLES, RICHARD G                        1016 JEFFERSON AVE                                                                              DEFIANCE            OH 43512‐2806
TOLLES, ROBERT E                         331 BRUCE RD                                                                                    BEAVERTON           MI 48612‐8529
TOLLES, VERNARD W                        9276 EAST RD                                                                                    BURT                MI 48417‐9782
TOLLES, WILLIAM H                        4270 SUDER AVE                                                                                  TOLEDO              OH 43611‐2937
TOLLES, WILLIAM HARVEY                   4270 SUDER AVE                                                                                  TOLEDO              OH 43611‐2937
TOLLESON, ALSEY L                        1700 RAINTREE ST                                                                                BAYTOWN             TX 77520‐3664
TOLLESON, ANTHONY W                      1676 ROCK CUT RD                                                                                CONLEY              GA 30288‐2045
TOLLETT, ANTHONY W                       531 E MAPLE AVE                                                                                 MIAMISBURG          OH 45342‐2345
TOLLETT, BILL E                          1146 DAYTON AVE.                                                                                CROSSVILE           TN 38555‐5961
TOLLEY JR, EDWARD D                      4065 BROOKFIELD BLVD                                                                            STERLING HEIGHTS    MI 48310‐5536
TOLLEY JR, WALTER E                      3405 SUSANNAH AVE                                                                               DAYTON              OH 45414‐5154
TOLLEY, BETTY SUE                        PO BOX 424                                                                                      CARDWELL            MO 63829‐0424
TOLLEY, CAROLYN L                        PO BOX 734                                                                                      RIVESVILLE          WV 26588‐0734
TOLLEY, CHARLES E                        1325 LIBERTY ST                                                                                 COVINGTON           IN 47932‐1632
TOLLEY, CHERYL                           950 EAST STATE ROAD 32                                                                          PERRYSVILLE         IN 47974
TOLLEY, CURTIS V                         287 WARDEN AVE                                                                                  ELYRIA              OH 44035‐2649
TOLLEY, GREGORY L                        15781 N SIESTA DR                                                                               COVINGTON           IN 47932‐7026
TOLLEY, GREGORY LEE                      15781 N SIESTA DR                                                                               COVINGTON           IN 47932‐7026
TOLLEY, JAMES L                          8300 JESOLO LN                                                                                  SARASOTA            FL 34238‐4738
TOLLEY, JAMES S                          5986 AVON LAKE RD                                                                               SPENCER             OH 44275‐9718
TOLLEY, JOHN E                           40 WESTCHESTER RD                                                                               WILLIAMSVILLE       NY 14221‐5021
TOLLEY, MELVIN R                         6975 LOVE WARNER RD                                                                             CORTLAND            OH 44410‐8617
TOLLEY, NORMAN L                         LOT 1                           10220 NORTH COUNTY ROAD 25A                                     PIQUA               OH 45356‐8564
TOLLEY, NORMAN LEE                       LOT 1                           10220 NORTH COUNTY ROAD 25A                                     PIQUA               OH 45356‐8564
TOLLEY, VIRGIL J                         845 SEVEN HILLS DR              APT 2101                                                        HENDERSON           NV 89052‐4407
TOLLEY, VIRGIL J                         845 SEVEN HILLS DR APT 2101                                                                     HENDERSON           NV 89052‐4407
TOLLEY, WANDA S                          6975 LOVE WARNER RD                                                                             CORTLAND            OH 44410‐8617
TOLLEY,NORMAN LEE                        10220 N COUNTY ROAD 25A LOT 1                                                                   PIQUA               OH 45356‐8564
TOLLI GIUSEPPE (433310) ‐ TOLLI GUISEPPE ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                             NEW YORK            NY 10006‐1638

TOLLI, DOLORES                         115 INDEPENDENCE WAY                                                                              SPRINGFIELD        NJ   07081‐2629
TOLLI, GUISEPPE                        ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                             NEW YORK           NY   10006‐1638
TOLLI, JOHN J                          6627 ROYAL PKWY S                                                                                 LOCKPORT           NY   14094‐6704
TOLLI, TERESA C                        40 WILLOW POND WAY APT 218                                                                        PENFIELD           NY   14526‐2683
TOLLIE FREIGHTWAYS INC                 1020 SUNSHINE RD                                                                                  KANSAS CITY        KS   66115‐1125
TOLLIE JORDAN                          20501 ROSEMONT AVE                                                                                DETROIT            MI   48219‐1508
TOLLIE SMITH                           17160 GLASTONBURY RD                                                                              DETROIT            MI   48219‐4130
TOLLIE VEAL                            5046 N JENNINGS RD                                                                                FLINT              MI   48504‐1139
TOLLINGER, JOHN F                      5106 JACKSON ST                                                                                   OMAHA              NE   68106‐1330
TOLLIS, CHRISTINA M.                   28675 LONGVIEW DR.                                                                                WARREN             MI   48093‐2729
TOLLIS, ENRICO M                       VICO COLLE SAN MARCO 18                                                    PACENTRO AQ FA 00000
                                                                                                                  ITALY
TOLLISON, ARAH F                       32625 ANNAPOLIS                                                                                   WAYNE              MI   48184‐2524
TOLLISON, BETTIE M                     PO BOX 466                                                                                        CEDARTOWN          GA   30125‐0466
TOLLISON, DONALD E                     231 HURON ST                                                                                      BELLVILLE          OH   44813‐1210
TOLLISON, JESSIE C                     1181 DARTMORE CRT                                                                                 EVANS              GA   30809
TOLLISON, SHARON A                     310 VICKIE DR                                                                                     DEL CITY           OK   73115‐3850
TOLLIVER JOSEPH A (356489)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                                         STREET, SUITE 600
                              09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                   Part 37 of 40 Pg 247 of 901
Name                         Address1                           Address2                      Address3   Address4         City           State Zip
TOLLIVER JR, DELBERT W       7511 W HERBISON RD                                                                           BATH            MI 48808‐9434
TOLLIVER WALKER JR           3112 E 7TH ST                                                                                ANDERSON        IN 46012‐3832
TOLLIVER WILLIE L (439569)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                STREET, SUITE 600
TOLLIVER, ALDINE V           3446 KENSINGTON AVE                                                                          KANSAS CITY    MO   64128‐2130
TOLLIVER, ALEXANDER          1314 E 143RD ST                                                                              E CLEVELAND    OH   44112‐2542
TOLLIVER, ANGELA S           982 NORTHGARDEN AVE                                                                          DAYTON         OH   45431‐1024
TOLLIVER, ANGELA SUE         982 NORTHGARDEN AVE                                                                          DAYTON         OH   45431‐1024
TOLLIVER, BILL               1505 AQUINO LN                                                                               LADY LAKE      FL   32159‐9537
TOLLIVER, CECIL              837 TRAILWOOD DR                                                                             APOPKA         FL   32712‐3232
TOLLIVER, CHARLES            1726 ROSELAWN DR                                                                             FLINT          MI   48504‐2052
TOLLIVER, CHARLES D          2965 N LAST BEACH DR                                                                         BAY CITY       MI   48706‐1910
TOLLIVER, CHRISTINE          3025 W 39TH ST APT 1009                                                                      INDIANAPOLIS   IN   46228‐3159
TOLLIVER, CLYDE W            2707 GORHAM PL                                                                               SAGINAW        MI   48601‐1337
TOLLIVER, CURTIES L          PO BOX 806                                                                                   SAINT PETERS   MO   63376‐0015
TOLLIVER, CURTIS H           4757 GRAFTON RD                                                                              BRUNSWICK      OH   44212‐2027
TOLLIVER, DAVID L            8081 E LANTZ ST                                                                              DETROIT        MI   48234‐3301
TOLLIVER, DOLORES J          1464 S MICHIGAN AVE UNIT 1603                                                                CHICAGO        IL   60605‐2811
TOLLIVER, DONALD C           9424 JACKSON ST                                                                              BELLEVILLE     MI   48111‐1425
TOLLIVER, DONALD CHARLES     9424 JACKSON ST                                                                              BELLEVILLE     MI   48111‐1425
TOLLIVER, DOROTHY A          20 COLONY OAKS DRIVE                                                                         BUCKHANNON     WV   26201‐6201
TOLLIVER, DOUGLAS M          1979 DONICA CHURCH RD                                                                        BEDFORD        IN   47421‐7289
TOLLIVER, DUSTIN             1175 VINEGAR HILL ROAD                                                                       BEDFORD        IN   47421‐7910
TOLLIVER, EARLENE            9500 STOUT ST                                                                                DETROIT        MI   48228‐1524
TOLLIVER, EMMETT L           1855 VILLA RD                                                                                BIRMINGHAM     MI   48009‐6562
TOLLIVER, ESTHER L           4724 SAN FRANCISCO AVE                                                                       SAINT LOUIS    MO   63115‐2029
TOLLIVER, EUGENE             18422 FAIRFIELD ST                                                                           DETROIT        MI   48221‐2229
TOLLIVER, FLOYD              6314 HAZELWOOD AVE                                                                           INDIANAPOLIS   IN   46260‐4714
TOLLIVER, JAMES M            PO BOX 406                                                                                   STONEWALL      LA   71078‐0406
TOLLIVER, JANET K            7644 W HERBISON RD                                                                           BATH           MI   48808‐8425
TOLLIVER, JEFFREY A          8256 WINEGAR RD                                                                              PERRY          MI   48872‐9744
TOLLIVER, JIMMY E            170 GLENDALE DR                                                                              TONAWANDA      NY   14150‐4634
TOLLIVER, JOSEPH A           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510
                                                                STREET, SUITE 600
TOLLIVER, JOYCE              596 SITTON SHOALS RD                                                                         SENECA         SC   29678‐5129
TOLLIVER, JUDITH R           10360 N 76TH DR                                                                              PEORIA         AZ   85345‐0732
TOLLIVER, JUDY D             12930 UPTON RD                                                                               BATH           MI   48808‐8450
TOLLIVER, KAREN E            34 HENRY CLAY AVE                                                                            PONTIAC        MI   48341‐1718
TOLLIVER, KAREN E.           34 HENRY CLAY AVE                                                                            PONTIAC        MI   48341‐1718
TOLLIVER, KAREN G            1700 E 56TH ST APT 2409                                                                      CHICAGO        IL   60637‐5089
TOLLIVER, KENZIE             7016 HIGHWAY 160 S                                                                           LITTCARR       KY   41834‐9027
TOLLIVER, KEVIN              1279 E 137TH ST                                                                              CLEVELAND      OH   44112‐2417
TOLLIVER, KYLE A             8601 N UNION CITY RD                                                                         DENVER         IN   46926‐9040
TOLLIVER, LATASHA D          3636 LYNN ST                                                                                 FLINT          MI   48503‐7004
TOLLIVER, LEONARD J          12930 UPTON RD                                                                               BATH           MI   48808‐8450
TOLLIVER, LOIS A             6249 E 21ST ST N STE 120                                                                     WICHITA        KS   67208‐1861
TOLLIVER, LUMBIA L           588 WALL ST                                                                                  WENTZVILLE     MO   63385‐1200
TOLLIVER, LYNDA D            4925 GLENCROSS DR                                                                            DAYTON         OH   45406‐1127
TOLLIVER, MARIE              3260 MURRAY HILL DRIVE                                                                       SAGINAW        MI   48601‐5635
TOLLIVER, MELISSA A          APT B5                             2751 HAMMONDTON ROAD                                      MARIETTA       GA   30060‐5341
                                                                SOUTHEAST
TOLLIVER, PATRICIA A         PO BOX 17696                                                                                 DAYTON         OH 45417
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                    Part 37 of 40 Pg 248 of 901
Name                             Address1                              Address2                       Address3   Address4         City                    State Zip
TOLLIVER, RALPH E                4229 COLUMBIA RD                                                                                 MEDINA                   OH 44256‐7707
TOLLIVER, ROBERT A               3104 N 84TH PL                                                                                   KANSAS CITY              KS 66109‐1008
TOLLIVER, ROBERT JAMES           GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH               PA 15219

TOLLIVER, ROLAND A               16193 EVERGREEN AVE                                                                              EASTPOINTE              MI 48021‐1743
TOLLIVER, SHAWNA L
TOLLIVER, SHIRLEY C              318 MCARTHUR CT                                                                                  ANDERSON                IN   46012‐1831
TOLLIVER, SOPHIA L               241 COLLINSWOOD DR.                                                                              STONEWALL               LA   71078
TOLLIVER, TOMMY L                5569 STATE ROUTE 288                                                                             GALION                  OH   44833‐9044
TOLLIVER, VICKIE L               2647 MYRTLE AVENUE                                                                               KANSAS CITY             MO   64127‐4455
TOLLIVER, VICTORIA A             PO BOX 823                                                                                       ROANOKE                 TX   76262‐0823
TOLLIVER, VICTORIA ANN           PO BOX 823                                                                                       ROANOKE                 TX   76262‐0823
TOLLIVER, WAYNE F                820 25TH STREET                                                                                  BEDFORD                 IN   47421‐5110
TOLLIVER, WILLIAM                1459 W PRINCETON AVE                                                                             FLINT                   MI   48505‐1086
TOLLIVER, WILLIAM L              1847 CARLTON AVE NE                                                                              GRAND RAPIDS            MI   49505‐5462
TOLLIVER, WILLIE L               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK                 VA   23510‐2212
                                                                       STREET, SUITE 600
TOLLOFF, JOHN R                  1825 DALEY DR                                                                                    REESE                   MI   48757‐9231
TOLLSTAM, THOMAS C               342 STRATFORD CT                                                                                 DIMONDALE               MI   48821‐9779
TOLLUS, JAMES A                  4910 KING SOLOMON DR                                                                             ANNANDALE               VA   22003‐4044
TOLLUS, STEVEN J                 13876 HOEFT RD                                                                                   BELLEVILLE              MI   48111‐4273
TOLLY, WILLIAM H                 1308 WALWOOD DR NE                                                                               GRAND RAPIDS            MI   49505‐5749
TOLMACS, JOSEPH L                8002 W O AVE                                                                                     KALAMAZOO               MI   49009‐9641
TOLMAN HACKER                    P O BOX 71 ESSIE                                                                                 ESSIE                   KY   40827
TOLMAN J HACKER                  P O BOX 71 ESSIE                                                                                 ESSIE                   KY   40827‐0071
TOLMAN'S AUTO‐TECH GROUP, INC.   5455 AUTO CT                                                                                     ALLENDALE               MI   49401
TOLMAN, ALMO J                   3126 E GLADE AVE                                                                                 MESA                    AZ   85204‐6328
TOLMOCHOW, VLADIMIR S            5243 ACACIA ST                                                                                   SAN GABRIEL             CA   91776‐2106
TOLNAR, PETER F                  6540 MOUNT EVERETT RD                                                                            HUBBARD                 OH   44425‐3167
TOLNAR, STEVE
TOLNAR, STEVEN P                 16388 WILLOWCREST WAY                                                                            FORT MYERS              FL   33908‐6225
TOLOCHKO, MICHAEL                41 CAROLINA SHORES PKWY                                                                          CAROLINA SHORES         NC   28467‐2403
TOLOMEO JACK (404331)            ANGELOS PETER G LAW OFFICE            115 BROADWAY FRNT 3                                        NEW YORK                NY   10006‐1638
TOLOMEO, JACK                    ANGELOS PETER G LAW OFFICE            115 BROADWAY FRNT 3                                        NEW YORK                NY   10006‐1638
TOLON, MICHAL D                  4060 GARFIELD ST                                                                                 WAYNE                   MI   48184‐1978
TOLONE, JUNE E                   1171 COLLAR PRICE                                                                                HUBBARD                 OH   44425‐2912
TOLONEN, CLARE L                 8726 RIVERSIDE DR                                                                                BRIGHTON                MI   48116‐8236
TOLONEN, JOHN E                  8726 RIVERSIDE DR                                                                                BRIGHTON                MI   48116‐8236
TOLONEN, KENNETH F               PO BOX 203                                                                                       HOUGHTON LAKE HEIGHTS   MI   48630‐0203

TOLOSA, RAYMOND C                820 CLEVELAND RD E APT 242                                                                       GRANGER                 IN   46530‐5656
TOLOSO, MARJORIE J               6896 HIGHWAY T                                                                                   RICHMOND                MO   64085‐8535
TOLOSO, MARJORIE J               6896 HWY T                                                                                       RICHMOND                MO   64085‐8535
TOLOSSA, RENE A                  1019 W CITRON ST                                                                                 CORONA                  CA   92882‐4052
TOLOT, JOHN D                    239 CARIBOU RUN                                                                                  DUNDEE                  MI   48131‐9568
TOLSCH, DIANE M                  APT 1423                              7213 NORTHWEST DONOVAN DRIVE                               KANSAS CITY             MO   64153‐2412

TOLSCH, DIANE MARIE              APT 1423                              7213 NORTHWEST DONOVAN DRIVE                               KANSAS CITY             MO 64153‐2412

TOLSDORF, FREDERICK C            7605 PARK PLACE CIR                                                                              CRESTWOOD               KY 40014‐7541
TOLSDORF, GERALD A               261 PAULINE PASS                                                                                 LINDEN                  MI 48451‐9674
TOLSDORF, GERALD ANTHONY         261 PAULINE PASS                                                                                 LINDEN                  MI 48451‐9674
                          09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                            Part 37 of 40 Pg 249 of 901
Name                      Address1                           Address2                        Address3   Address4                 City           State Zip
TOLSDORF, ROBERT L        PO BOX 744                                                                                             ALPENA          MI 49707‐0744
TOLSMA, JAY               6645 WILLOW HWY                                                                                        GRAND LEDGE     MI 48837‐8973
TOLSMA, MARY H            4002 SHELDON RD                                                                                        ORCHARD PARK    NY 14127‐2121
TOLSMA, NORMAN R          803 THOMAS LN                                                                                          ANGOLA          NY 14006‐9569
TOLSON JAMES (491341)     BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH 44067
                                                             PROFESSIONAL BLDG
TOLSON JR, JOHN A         6561 E COAL BLUFF CT                                                                                   CAMBY          IN 46113‐9689
TOLSON LEROY (659864)     ANGELOS PETER G                    100 N CHARLES STREET , ONE                                          BALTIMORE      MD 21201
                                                             CHARLES CENTER
TOLSON, BILLIE            1903 W 21ST ST                                                                                         LORAIN         OH   44052‐4238
TOLSON, BONNIE L          4582 BATTERY ST                                                                                        BROOKVILLE     OH   45309‐9711
TOLSON, CHARLES R         3610 HELMSLEY AVE                                                                                      N LAS VEGAS    NV   89031‐0352
TOLSON, ELIZABETH         3509 SPRINGDALE AVE                                                                                    BALTIMORE      MD   21216
TOLSON, GEORGE E          6350 JACKSON ST                                                                                        INDIANAPOLIS   IN   46241‐1027
TOLSON, HERBERT B         405 RANSDALL CT                                                                                        INDIANAPOLIS   IN   46227‐2657
TOLSON, JAMES RAY         COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                                             HOUSTON        TX   77002‐1751
TOLSON, JESSE
TOLSON, LEROY             ANGELOS PETER G                    100 N CHARLES STREET, ONE                                           BALTIMORE      MD 21201
                                                             CHARLES CENTER
TOLSON, LEWIS H           3509 SPRINGDALE AVE                                                                                    BALTIMORE      MD   21216
TOLSON, LINDA M           PO BOX 1963                                                                                            WILMINGTON     DE   19899‐1963
TOLSON, LINDA M           10 TAKACH CT                                                                                           NEWARK         DE   19702‐1543
TOLSON, LOIS              20051 SANTA ROSA                                                                                       DETROIT        MI   48221‐1289
TOLSON, MARY E            8634 DORR ST                                                                                           TOLEDO         OH   43617‐1920
TOLSON, MARY E            8634 DORR                                                                                              TOLEDO         OH   43617
TOLSON, PAMELA            109 W SEXTON RD                                                                                        COLUMBIA       MO   65203‐3226
TOLSON, RUTH H            8614 WEST 10TH ST                  APT 103                                                             INDIANAPOLIS   IN   46234
TOLSON, RUTH H            433 OBETZ RD APT 242                                                                                   COLUMBUS       OH   43207‐6049
TOLSON, STERLING C        PO BOX 12                                                                                              MONROE         OH   45050‐0012
TOLSON, THEODORE L        3136 AMSTERDAM DR                                                                                      CLIO           MI   48420‐1495
TOLSON, WILLIE M          110 W UNION PIKE                                                                                       HILLSBORO      OH   45133‐7367
TOLSON, WILLIE M          110 WEST UNION PIKE                                                                                    HILLSBORO      OH   45133‐5133
TOLSON‐ALI, SONDRA        3353 CASA LINDA DR                                                                                     DECATUR        GA   30032‐7152
TOLSTICK STEVE (448275)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD     OH   44067
                                                             PROFESSIONAL BLDG
TOLUCA ASSEMBLY PLANT     AV. INDUSTRIA AUTOMOTRIZ ZONA                                                 TOLUCA EM 50071 MEXICO
                          INDUSTRIAL
TOLUSCIAK, CHRISTINA M    2688 JORDAN AVE                                                                                        PITTSBURGH     PA 15235‐3625
TOLZIEN'S AUTO SERVICE    7877 LINCOLN AVE                                                                                       SKOKIE         IL 60077‐3641
TOM
TOM & DEBBIE WEISS        65 HIDDEN WOODS LANE                                                                                   WARMINSTER     PA 18974
TOM & GERRY'S SERVICE     3617 9 AVE N                                                                  LETHBRIDGE AB T1H 6G8
                                                                                                        CANADA
TOM & SID MCBRIDE         2641 PINECREST RD                                                                                      OROVILLE       CA   95966
TOM A BISHOP              3152 LYNWOOD                                                                                           WARREN         OH   44485‐1307
TOM A BROWN               1632 N CHARLES                                                                                         SAGINAW        MI   48602‐4846
TOM A JOHNSON             502 OAKBROOK DR                                                                                        LEWISVILLE     TX   75057
TOM A JOHNSON             502 OAK BROOK DR                                                                                       LEWISVILLE     TX   75057
TOM A ROGERS JR           3131 SIMPSON STUART RD APT 11104                                                                       DALLAS         TX   75241‐5072
TOM ADAMS                 950 E MOUNT ZION RD                                                                                    INDEPENDENCE   KY   41051‐9532
TOM ADAMS JR              12378 GRAND BLANC RD W                                                                                 DURAND         MI   48429
TOM AEGERTER              521 ROCKPORT RD                                                                                        JANESVILLE     WI   53548‐5159
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                          Part 37 of 40 Pg 250 of 901
Name                                 Address1                          Address2                       Address3                Address4           City                State Zip
TOM AGORGIANITIS                     2264 PAULINE DR                                                                                             WATERFORD            MI 48329‐3758
TOM AHL BUICK INC                    2525 ALLENTOWN RD                                                                                           LIMA                 OH 45805‐1713
TOM AHL BUICK, INC.                  THOMAS AHL                        2525 ALLENTOWN RD                                                         LIMA                 OH 45805‐1713
TOM AHL BUICK‐GMC                    2525 ALLENTOWN RD                                                                                           LIMA                 OH 45805‐1713
TOM ALFRED                           946 STOCKTON ST                   APT 12F                                                                   SAN FRANCISCO        CA 94108
TOM ALLEN                            405 W WATER ST APT 102                                                                                      FLINT                MI 48503‐5636
TOM AND LYNN NOYES                   8963 SE 232 ST                                                                                              LATHROP              MO 64465‐8564
TOM ANDERSON I I I                   16772 BILTMORE ST                                                                                           DETROIT              MI 48235‐3437
TOM ANDREWS                          5450 VINCENT TRL                                                                                            SHELBY TWP           MI 48316‐5254
TOM ANTHONIE                         VAN WOUSTRAAT 9 ‐ 2HG                                            TANTHONIE@YAHOO.COM                        AMSTERDAM
TOM B COTHRAN                        8318 S OUTER BELT RD                                                                                        OAK GROVE           MO 64075‐9078
TOM BACK                             H.S. DIE & ENGINEERING, INC.      ATTN: BARNES & THORNBURG LLP   171 MONROE AVENUE, NW   SUITE 1000         GRAND RAPIDS        MI 49503

TOM BANNEN CHEVROLET, INC.           2340 GALLATIN PIKE N                                                                                        MADISON             TN    37115‐2008
TOM BANNEN CHEVROLET, INC.           THOMAS BANNEN                     2340 GALLATIN PIKE N                                                      MADISON             TN    37115‐2008
TOM BARTLETT                         14136 FAIRGATE BLVD                                                                                         NEWBURY             OH    44065‐9570
TOM BATZOS                           315 PLYMOUTH DR                                                                                             DAVISON             MI    48423‐1725
TOM BELL                             4844 LORE DR                                                                                                WATERFORD           MI    48329‐1641
TOM BELL                             6689 STATESBORO RD                                                                                          CENTERVILLE         OH    45459‐3311
TOM BELL CHEVROLET                   800 ALABAMA ST                                                                                              REDLANDS            CA    92374‐2806
TOM BENSON CHEVROLET COMPANY                                                                                                                     SAN ANTONIO         TX    78216‐4497
TOM BENSON CHEVROLET COMPANY, INC.   THOMAS BENSON                     9400 SAN PEDRO AVE                                                        SAN ANTONIO         TX    78216‐4426

TOM BENSON CHEVROLET COMPANY, INC. 9400 SAN PEDRO AVE                                                                                            SAN ANTONIO          TX   78216‐4426

TOM BERTLEFF                         BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS.         OH    44236
TOM BLACK                            8501 CLARRIDGE RD                                                                                           CLARKSTON           MI    48348‐2517
TOM BLACKBURN                        BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS.         OH    44236
TOM BLACKMAN                         613 INDIAN HILLS DR                                                                                         SAINT CHARLES       MO    63301‐0560
TOM BLACKWOOD                        1239 CLEVELAND AVE                                                                                          HAMILTON            OH    45013‐1726
TOM BLAIR                            2660 DEB CT SW                                                                                              MARIETTA            GA    30064‐1877
TOM BLANCHARD
TOM BORIS
TOM BOUGHTON                         505 W HARRISON ST                                                                                           KOKOMO              IN    46901‐5341
TOM BOUMAN                           2988 152ND AVE                                                                                              HOLLAND             MI    49424‐6160
TOM BOWLING                          BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS.         OH    44236
TOM BOX                              2450 DRAIN DR                                                                                               WYLIE               TX    75098‐7868
TOM BOYARKO                          1553 ROSEHEDGE DR                                                                                           POLAND              OH    44514‐3611
TOM BOYD                             P.O. BOX 171                                                                                                REPUBLIC            PA    15475
TOM BREWER                           2529 S WASHINGTON AVE                                                                                       LANSING             MI    48910‐2881
TOM BROWN                            1632 N CHARLES ST                                                                                           SAGINAW             MI    48602‐4846
TOM BUCHANAN                         4024 W PHILADELPHIA ST                                                                                      DETROIT             MI    48204‐2447
TOM BUFORD                           1612 HOMEDALE DR APT 1401                                                                                   FORT WORTH          TX    76112‐3658
TOM BULTER SERVICE & SALES           7636 N TEUTONIA AVE                                                                                         BROWN DEER          WI    53209‐1736
TOM BURGETT                          BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS.         OH    44236
TOM BURGGRAAFF                       10396 LOVERLANE NW                                                                                          GRAND RAPIDS        MI    49534
TOM BURNS                            9221 ASHTON AVE                                                                                             DETROIT             MI    48228‐1805
TOM BYRD                             2049 MEADOW RIDGE DR                                                                                        COMMERCE TOWNSHIP   MI    48390‐2658
TOM C
TOM C KLEIN                          205 HAVER RD                                                                                                DAYTON              OH 45419‐3303
TOM C TYLER                          1204 WILLOW DR.                                                                                             TROTWOOD            OH 45426
TOM CAMPBELL                         3904 MILAN AVE SW                                                                                           WYOMING             MI 49509‐3940
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                        Part 37 of 40 Pg 251 of 901
Name                                 Address1                        Address2                     Address3   Address4         City             State Zip
TOM CAMPBELL                         971 LOCKHART TOWN RD                                                                     TRACY CITY        TN 37387‐5916
TOM CHAMBERS                         4200 OVERLAND CIR                                                                        NOBLE             OK 73068‐8118
TOM CHEVROLET, INC./ALAMO RENT‐A‐    391 PROVIDENCE HWY RTE 1                                                                 NORWOOD           MA 02062
CAR
TOM CHEVROLET, INC./ENTERPRISE RENT‐ 391 BOSTON PROVIDENCE TPKE                                                               NORWOOD          MA 02062‐3932
A‐CAR
TOM CHRISTOPHER                      5210 LONG PRAIRIE RD APT 1225                                                            FLOWER MOUND     TX    75028‐2278
TOM CHURCH                           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS   OH    44236
TOM CINDRIC                          9850 FIRESTONE LN                                                                        MACEDONIA        OH    44056‐1546
TOM CLARK CHEVROLET, INC.            1063 LONG RUN RD                                                                         MCKEESPORT       PA    15132‐7445
TOM CLARK CHEVROLET, INC.            THOMAS CLARK                    1063 LONG RUN RD                                         MCKEESPORT       PA    15132‐7445
TOM CLAY                             129 JACKS DR                                                                             WELLINGTON       KY    40387‐8512
TOM COFFIELD AUTOMOTIVE              2217 CRAFT CREEK RD                                                                      PROSPERITY       PA    15329‐1311
TOM CONNOR                           3511 JERREE ST                                                                           LANSING          MI    48911‐2633
TOM CORBETT                          3697 BARBER DR                                                                           CANFIELD         OH    44406‐9536
TOM CORNELL                          2961 MAIN ST                                                                             CALEDONIA        NY    14423‐1215
TOM CORR                             2683 RENFREW WAY                                                                         LANSING          MI    48911‐6466
TOM COUNTS
TOM CRAIG RADIATOR WAREHOUSE         705 ROUTE 73 S                                                                           PALMYRA           NJ   08065‐1755
TOM CRANDALL
TOM CRAWFORD                         9823 E MONROE RD                                                                         DURAND           MI 48429‐1317
TOM CRNKO                            BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS   OH 44236
TOM CROWE                            1983 NEW COLUMBIA HWY                                                                    LEWISBURG        TN 37091‐6948
TOM CUNDILL
TOM D BELL                           6689 STATESBORO ROAD                                                                     CENTERVILLE      OH    45459
TOM D SUPINGER                       3 LAWNDALE AVE                                                                           LEBANON          OH    45036‐1327
TOM D UNTERBORN                      3672 CHARLENE DR                                                                         BEAVERCREEK      OH    45432
TOM D WAUGH                          1005 LAFAYETTE AVE                                                                       SPRINGFIELD      OH    45505‐3238
TOM D WELLER                         1187 S DYE RD                                                                            FLINT            MI    48532‐3341
TOM DAVIS                            16468 EDMORE DR                                                                          DETROIT          MI    48205‐1535
TOM DE FONSO                         19578 MIDWAY BLVD.                                                                       PORT CHARLOTTE   FL    33948
TOM DEMPSEY
TOM DENNARD JR                       478 WYOMING AVE                                                                          PONTIAC          MI 48341‐2561
TOM DESSAURE                         71 TARRYMORE LN SW                                                                       CONCORD          NC 28027‐7000
TOM DI STEFANO                       27 AVENUE MONTEREY
TOM DI STEFANO                       65, BOULEVARD G‐D CHARLOTTE     L‐ 1331 LUXEMBOURG
TOM DI STEFANO                       ZE╔"╔R╔"R╔"R╔"
TOM DICKSON                          7274 WINDSOR HWY                                                                         DIMONDALE        MI    48821‐9719
TOM DILLENBECK                       4620 COUNTRYSIDE DR NE                                                                   GRAND RAPIDS     MI    49525‐1214
TOM DILLING                          8925E STATE ROAD #14                                                                     SOUTH WHITLEY    IN    46787
TOM DINSDALE AUTOMOTIVE, INC.        THOMAS DINSDALE                 3312 W STOLLEY PARK RD                                   GRAND ISLAND     NE    68803‐5601
TOM DINSDALE CHEVROLET CADILLAC GMC 3312 W STOLLEY PARK RD                                                                    GRAND ISLAND     NE    68803‐5601

TOM DOLAN                            200 TOUCAN ST                                                                            RAYMORE          MO 64083‐9021
TOM DOSCH
TOM DOWLING                          1281 E CUTLER RD                                                                         DEWITT           MI 48820‐9701
TOM DROUGEL                          2128 FLOYD ST SW                                                                         WYOMING          MI 49519‐3620
TOM DROUILLARD                       1569 JACK DROU LN                                                                        TECUMSEH         MI 49286‐9759
TOM DUGGINS
TOM DUNAWAY                          4511 PARK AVE                                                                            NASHVILLE        TN 37209‐3654
TOM DWYER AUTOMOTIVE                 530 SE TENINO ST                                                                         PORTLAND         OR 97202‐6433
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                          Part 37 of 40 Pg 252 of 901
Name                                  Address1                         Address2                       Address3                  Address4               City            State Zip
TOM E JACKSON                         C/O WILLIAMDS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                                      HOUSTON          TX 77007
                                      BOUNDAS, LLP
TOM E NEANDER                         1710 FORESTGREEN CIRCLE                                                                                          SOUTHSIDE       AL 35907‐5748
TOM E WALKER                          3416 GERMANTOWN ST                                                                                               DAYTON          OH 45408‐2126
TOM EASTMAN                           177 ENSENADA ST                                                                                                  MERCEDES        TX 78570‐9605
TOM ENSLEY
TOM EVANS                             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS.     OH 44236
TOM EVERNHAM                          TOM EVERNHAM                     1813 WRIGHT DR                                                                  PORT ORANGE     FL 32128‐6765
TOM F SCHMIT                          5065 LAUDERDALE DR                                                                                               MORAINE         OH 45439‐2926
TOM FARBER
TOM FEARS                             8017 OAKBRIAR CT                                                                                                 O FALLON        MO 63368‐6546
TOM FERONY
TOM FERRELL                           MCKENNA & ASSOCIATES PC          436 BLVD OF THE ALLIES         SUITE 500                                        PITTSBURGH      PA 15219‐1331
TOM FERRELL                           MCKENNA & ASSOCIATES PC          436 BOULEVARD OF THE ALLIES                                                     PITTSBURGH      PA 15219‐1331
                                                                       SUITE 500
TOM FITCH JR                          1662 GENESSEE AVE                                                                                                COLUMBUS        OH 43211‐1548
TOM FITZSIMMONS                       13964 AVALON BLVD                                                                                                FISHERS         IN 46037‐7284
TOM FLAHERTY                          33223 N SYMER DR                                                                                                 CAVE CREEK      AZ 85331‐5034
TOM FLANAGAN
TOM FONG                              4427 W ROTAMER RD                                                                                                JANESVILLE      WI 53546‐1023
TOM FOOD SARL                         94                                                                                        GUSTAVIA 97133
                                                                                                                                GUADELOUPE
TOM FRICANO SCHOLARSHIP FUND          REGION 9 UNITED AUTO WORKERS     ATTN KATHY BATTAGLIA CHG PER   35 GEORGE KARL BLVD AFC                          WILLIAMSVILLE   NY 14221
                                                                                                      9/03
TOM FUQUA JR                          1126 CREEKSIDE CT                                                                                                BURTON          MI   48509‐1460
TOM FURMAN, WFG                       489070035 MC                     920 TOWNSEND                                                                    LANSING         MI   48921‐0001
TOM GABBARD                           960 LAKEHILL DR                                                                                                  LEWISBURG       TN   37091‐4026
TOM GAGE                              3437 RANDOLPH RD                                                                                                 JANESVILLE      WI   53546‐1378
TOM GAINER                            5120 CLUB RD                                                                                                     INDIAN RIVER    MI   49749‐9419
TOM GALLANIS                          2392 KENWOOD DR                                                                                                  ADRIAN          MI   49221‐3629
TOM GARCIA                            PO BOX 3495                                                                                                      YPG             AZ   85365‐0910
TOM GEORGE                            528 N SANDSTONE RD                                                                                               WILLIAMS        IN   47470‐8780
TOM GEORGOPOULOS                      221 W DEMPSTER ST                                                                                                DES PLAINES     IL   60016‐2647
TOM GERTCHER                          8911 ARTESIA BEACH RD                                                                                            SAINT HELEN     MI   48656‐9587
TOM GIBBS CHEVROLET, INC.             THOMAS GIBBS                     5850 E HIGHWAY 100                                                              PALM COAST      FL   32164‐2446
TOM GIBBS CHEVROLET, INC.             5850 E HIGHWAY 100                                                                                               PALM COAST      FL   32164‐2446
TOM GILBERTSON
TOM GILL CHEVROLET                    THOMAS GILL                      7830 COMMERCE DR                                                                FLORENCE        KY 41042‐1568
TOM GILL CHEVROLET                    7830 COMMERCE DR                                                                                                 FLORENCE        KY 41042‐1568
TOM GILL LLC                          9465 WHITEGATE LN                                                                                                CINCINNATI      OH 45243‐1647
TOM GORE
TOM GRADDY ENTERPRISES, INC.          THOMAS GRADDY                    700 RUSKIN DR                                                                   FOREST PARK     GA 30297‐1061
TOM GREEN COUNTY                                                       400 E AVENUE A                                                                                  TX 76903
TOM GREEN COUNTY APPRAISAL DISTRICT   PO BOX 3307                                                                                                      SAN ANGELO      TX 76902‐3307

TOM GREENWELL                         1406 22ND ST                                                                                                     BEDFORD         IN 47421‐4510
TOM GRIFFIN                           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                      BOSTON HTS.     OH 44236
TOM GRIFFIN
TOM GUILLIAT                          12400 FAIRBANKS RD                                                                                               LINDEN          MI   48451‐9414
TOM H GILL                            WEITZ & LUXENBERG PC             700 BROADWAY                                                                    NEW YORK CITY   NY   10003
TOM H GILL                            C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                                    NEW YORK CITY   NY   10003
TOM HALEY JR                          46030 MCBRIDE AVE                                                                                                BELLEVILLE      MI   48111‐1228
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                         Part 37 of 40 Pg 253 of 901
Name                                 Address1                          Address2                     Address3               Address4               City             State Zip
TOM HARDMAN                          5516 BOOMER RD                                                                                               CINCINNATI        OH 45247‐7923
TOM HARDY                            BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS.       OH 44236
TOM HARTNETT
TOM HASIJA                           7167 N PARK EXT                                                                                              CORTLAND         OH 44410‐9557
TOM HASIJA                           7167 N PARK AVE                                                                                              CORTLAND         OH 44410‐9557
TOM HAVENS                           109 NEW YORK BLVD                                                                                            ROSCOMMON        MI 48653
TOM HAYES
TOM HEIGHT                           2102 MOOREVILLE RD                                                                                           MILAN            MI   48160‐9519
TOM HENRY CHEVROLET, INC.            THOMAS HENRY                      5886 ROUTE 8                                                               BAKERSTOWN       PA   15007
TOM HENRY CHEVROLET, INC.            5886 ROUTE 8                                                                                                 BAKERSTOWN       PA   15007
TOM HERB'S GARAGE                                                      16 S 5TH ST                                                                                 PA   17872
TOM HESSER CHEVROLET, INC.           1001 N WASHINGTON AVE                                                                                        SCRANTON         PA   18509‐2917
TOM HESSER CHEVROLET, INC.           DEAN HESSER                       1001 N WASHINGTON AVE                                                      SCRANTON         PA   18509‐2917
TOM HEYDMAN PONTIAC, INC.            LOWELL ANDERSON, BRANCH MANAGER   10800 FARLEY ST STE 370      MOTORS HOLDING DIV.,                          OVERLAND PARK    KS   66210‐1693
                                                                                                    GENERAL MOTORS
TOM HIGDON                           34061 RICHARD ST                                                                                             WAYNE            MI 48184‐2426
TOM HO LEE
TOM HO LEE                           TOM HO LEE                        2544 CAMPBELL RD                                    KELOWNA BC V1Z 1T2
                                                                                                                           CANADA
TOM HO LEE                           2544 CAMPBELL ROAD                                                                    KELOWNA (WEST
                                                                                                                           KELOWNA), BC V1Z 1T2
TOM HOLMQUIST                        7595 BOUMAN DR                                                                                               MIDDLEVILLE      MI   49333‐8672
TOM HOROSZ                           BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS.      OH   44236
TOM HOY AUTOMOTIVE & REPAIR          123 SOUTH AVE                                                                                                GARWOOD          NJ   07027‐1339
TOM HSU                              12092 TOWNLINE RD                                                                                            GRAND BLANC      MI   48439‐1632
TOM HUDAK                            6488 OAK HILL DR                                                                                             W FARMINGTON     OH   44491‐9752
TOM HULSEY                           THOMAS SMITH‐BRIDGE WEALTH MGT    3304 S BROADWAY STE 202                                                    TYLER            TX   75701
TOM HUNT                             6207 GREENHAVEN AVE                                                                                          GALLOWAY         OH   43119‐9142
TOM HUTCHINS                         1730 WHITEHALL DR                                                                                            LIMA             OH   45805‐1330
TOM J THOMAS JR                      579 ONANDAGO ST                                                                                              YPSILANTI        MI   48198‐6112
TOM JACKSON                          211 FRANKLIN RD                                                                                              FRANKLIN         TN   37064‐2217
TOM JENNINGS                         22505 W 53RD ST                                                                                              SHAWNEE          KS   66226‐2608
TOM JOHNSON                          11890 W SHORE DR                                                                                             HOUGHTON LAKE    MI   48629‐8644
TOM JONES SALES & SERVICE                                              3627 WASHINGTON ST                                                                          IL   60085
TOM JOURAS
TOM JOYCE AUTOMOTIVE INC             18260 PAULSON DR UNIT D3                                                                                     PORT CHARLOTTE   FL 33954‐1040
TOM JOYCE AUTOMOTIVE INC             18260 PAULSON DR UNIT D3                                                                                     PORT CHARLOTTE   FL 33954‐1040
TOM JUMPER CHEVROLET, INC.           200 BROOKSTONE CENTRE PKWY        STE 205                                                                    COLUMBS          GA 31904‐4563
TOM KAKKAVAS                         775 MASSIMO CRES                                                                      WINDSOR ON N9G‐3C7
                                                                                                                           CANADA
TOM KALOGERAS                        1545 HOLLYWOOD ST NE                                                                                         WARREN           OH   44483‐4155
TOM KELLEY BUICK PONTIAC/GMC, INC    633 AVENUE OF AUTOS                                                                                          FORT WAYNE       IN   46804‐1184
TOM KELLEY CADILLAC SAAB             811 AVENUE OF AUTOS                                                                                          FORT WAYNE       IN   46804‐1182
TOM KELLEY CADILLAC, INC.            THOMAS KELLEY                     811 AVENUE OF AUTOS                                                        FORT WAYNE       IN   46804‐1182
TOM KELLEY HUMMER                    811 AVENUE OF AUTOS                                                                                          FORT WAYNE       IN   46804‐1182
TOM KELLEY PONTIAC, INC.             THOMAS KELLEY                     633 AVENUE OF AUTOS                                                        FORT WAYNE       IN   46804‐1184
TOM KELLEY SAAB                      KELLEY, THOMAS W                  811 AVENUE OF AUTOS                                                        FORT WAYNE       IN   46804‐1182
TOM KELLEY SAAB                      811 AVENUE OF AUTOS                                                                                          FORT WAYNE       IN   46804‐1182
TOM KENT JR                          18430 WESTOVER AVE                                                                                           SOUTHFIELD       MI   48075‐4125
TOM KERR CHEVROLET‐OLDSMOBILE, INC   76 GROW AVE                                                                                                  MONTROSE         PA   18801‐1133

TOM KETELHUT                         44046 YORKSHIRE DR                                                                                           CANTON           MI 48187‐2860
                                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                           Part 37 of 40 Pg 254 of 901
Name                                   Address1                          Address2                       Address3                    Address4         City              State Zip
TOM KEYES
TOM KIESSLING                          160 WILSON ST                                                                                                 DEFIANCE          OH    43512‐1440
TOM KING                               BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.       OH    44236
TOM KIRK CHEVROLET‐OLDS., INC.         THOMAS KIRK                       1704 US HWY 412 E                                                           PARAGOULD         AR    72450
TOM KIRK CHEVROLET‐OLDS., INC.         1704 US HWY 412 E                                                                                             PARAGOULD         AR    72450
TOM KLUCK                              1400 VAN WORMER                                                                                               SAGINAW           MI    48609
TOM KNECHTGES                          2654 RENFREW WAY                                                                                              LANSING           MI    48911‐6465
TOM KNIGHT                             BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.       OH    44236
TOM KOUTSAKES                          984 E DECKER DR                                                                                               SEVEN HILLS       OH    44131‐2616
TOM L BLACK                            8501 CLARRIDGE RD                                                                                             CLARKSTON         MI    48348‐2517
TOM L HUTCHINS                         1730 WHITEHALL DR                                                                                             LIMA              OH    45805‐1330
TOM L LEWIS                            1612 TAMWORTH CIR                                                                                             MIAMISBURG        OH    45342‐6315
TOM L. VANHEYNINGEN                    3791 CANAL AVE SW                                                                                             GRANDVILLE        MI    49418‐2243
TOM LAHMAN
TOM LALONDE
TOM LARSON                             200 E 5TH AVE APT 330                                                                                         NAPERVILLE         IL 60563‐3175
TOM LAU                                1951 SUNRISE DR                                                                                               MONTEREY PARK      CA 91754
TOM LEASE
TOM LEE SCOTT                          NIX, PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                              DAINGERFIELD      TX    75638
TOM LEECH                              1058 CURTIS DR                                                                                                MANSFIELD         OH    44907‐2622
TOM LEFLER                             2452 E MEANDERING WAY                                                                                         FAYETTEVILLE      AR    72701‐2769
TOM LEWIS                              1612 TAMWORTH CIR                                                                                             MIAMISBURG        OH    45342‐6315
TOM LIGHT CHEVROLET COMPANY            WAYNE LIGHT                       738 N EARL RUDDER FWY                                                       BRYAN             TX    77802‐2914
TOM LIGHT CHEVROLET COMPANY            738 N EARL RUDDER FWY                                                                                         BRYAN             TX    77802‐2914
TOM LUECHTEFELD                        14 PROVENCE DR                                                                                                LAKE ST LOUIS     MO    63367‐1732
TOM LUTZ
TOM LYONS TIRE & AUTO SERVICE CENTER   210 LEXINGTON ST                                                                                              WALTHAM           MA 02452‐4612

TOM M CLARK                            3327 SANDY SHORE DRIVE                                                                                        METAMORA           MI   48455‐8973
TOM M MILLER                           3717 FRANCIS AVE SE                                                                                           WYOMING            MI   49548‐3257
TOM MACE                               PO BOX 93                                                                                                     WEST NEWTON        IN   46183‐0093
TOM MALL                               0423 COUNTY ROAD #8                                                                                           CORUNNA            IN   46730
TOM MALLEN
TOM MARKS                              12400 WINDSOR BEACH DR                                                                                        FENTON            MI    48430‐9765
TOM MARSHALL                           112 WHITE BLUFF RD                                                                                            SOPCHOPPY         FL    32358‐6201
TOM MARSHALL                           2337 SAPPHIRE LN                                                                                              EAST LANSING      MI    48823‐7263
TOM MARTEMUCCI                         12866 W MELODY RD                                                                                             GRAND LEDGE       MI    48837‐8976
TOM MC CASKILL                         28516 SOMES RD BOX 17                                                                                         DRUMMOND ISLAND   MI    49726
TOM MC CONNELL JR                      310 W PINE ST                                                                                                 ORRICK            MO    64077‐9136
TOM MC NURE                            2504 COPAS RD                                                                                                 OWOSSO            MI    48867‐9608
TOM MCCAY                              STEPHENS INC                      CUSTODIAN FOR TOM MCCAY        795 CRAIGHEAD 683                            LAKE CITY         AR    72437
TOM MCCOOL                             307 E SUMMITT ST                                                                                              BAINBRIDGE        IN    46105‐9473
TOM MCCRAY                             3512 HICKORY ST                                                                                               INKSTER           MI    48141‐2912
TOM MCDONALD                           950 S PINECROFT LN                                                                                            MIDLAND           MI    48640‐8374
TOM MCDONALD                           RICHARDS MERRILL & PETERSON INC   US BANK BUILDING ONE SKYWALK   422 WEST RIVERSIDE AVENUE                    SPOKANE           WA    99201

TOM MCHALE                             4560 N LAKE SHORE DR                                                                                          HARBOR SPRINGS     MI 49740‐9123
TOM MCKNIGHT                           414 LAKE SHORE CT                                                                                             FRANKLIN           IN 46131‐7409
TOM MCLAUGHLIN
TOM MCQUISTON                          273 SUMMERSET DR                                                                                              PUNTA GORDA       FL 33982‐8318
TOM MENNING                            1296 FAIRVIEW AVE                                                                                             SALEM             OH 44460‐4011
TOM MENZIES                            3700 BARBERRY CIRCLE                                                                                          WIXOM             MI 48393
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                       Part 37 of 40 Pg 255 of 901
Name                                Address1                         Address2                     Address3   Address4            City              State Zip
TOM MERCHANT                        193 N 200 E                                                                                  HARTFORD CITY      IN 47348‐9061
TOM MICALE                          42114 WOODCREEK LN                                                                           CANTON             MI 48188‐2615
TOM MILBRANDT                       4760 ASHWOOD DR W                                                                            SAGINAW            MI 48603‐4210
TOM MILLER                          5021 STATE ROAD 37                                                                           MITCHELL           IN 47446‐5373
TOM MILLER                          1200 NW TRENTON PL                                                                           BLUE SPRINGS       MO 64015‐2335
TOM MILLER                          3717 FRANCIS AVE SE                                                                          WYOMING            MI 49548‐3257
TOM MILLER INVESTMENTS LLC          200 QUALITY WAY                                                                              HOLLY              MI 48442‐9480
TOM MITCHELL                        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS         OH 44236
TOM MOELLER
TOM MOORE                           181 AIRPORT RD                                                                               WATERFORD         MI 48327‐1703
TOM MOORE CHEVROLET                 11300 N FLORIDA AVE                                                                          TAMPA             FL 33612‐5666
TOM MOORE JR.                       1924 CHESTNUT HILL RD                                                                        DANDRIDGE         TN 37725‐6652
TOM MORGAN
TOM MORRISON
TOM MOTRY                           2801 S STATE ST                                                                              LOCKPORT          IL    60441‐4930
TOM MULKEY JR                       3244 JOE FRANK HARRIS PKWY NW                                                                CARTERSVILLE      GA    30120‐4302
TOM MURPHY                          1533 CHATTANOOGA AVE                                                                         YOUNGSTOWN        OH    44514‐1154
TOM NAQUIN CHEVROLET, INC.          J.THADDEUS NAQUIN                2500 W LEXINGTON AVE                                        ELKHART           IN    46514‐1414
TOM NAQUIN CHEVROLET‐NISSAN         2500 W LEXINGTON AVE                                                                         ELKHART           IN    46514‐1414
TOM NAQUIN CHEVROLET‐NISSAN, INC.   2500 W LEXINGTON AVE                                                                         ELKHART           IN    46514‐1414

TOM NAQUIN CHEVROLET‐NISSAN‐        2500 W LEXINGTON AVE                                                                         ELKHART            IN   46514‐1414
OLDSMOB
TOM NAQUIN CHEVROLET‐NISSAN‐        J.THADDEUS NAQUIN                2500 W LEXINGTON AVE                                        ELKHART            IN   46514‐1414
OLDSMOBI
TOM NAQUIN CHEVROLET‐NISSAN‐        2500 W LEXINGTON AVE                                                                         ELKHART            IN   46514‐1414
OLDSMOBILE‐CADILLAC
TOM NAQUIN/FOUR WINDS               2500 W LEXINGTON AVE                                                                         ELKHART           IN    46514‐1414
TOM NARCISSUS                       GOLDSTEIN PETER LAW OFFICES OF   330 S 3RD ST STE 1070                                       LAS VEGAS         NV    89101
TOM NARCISSUS                       CHIANG, PHILIP                   312 W 5TH ST APT 1002                                       LOS ANGELES       CA    90013‐1756
TOM NARCISSUS                       TOM, NARCISSUS                   330 S 3RD ST STE 1070                                       LAS VEGAS         NV    89101‐6006
TOM NEAL                            235 S WEST ST                                                                                TIPTON            IN    46072‐1849
TOM NEHL GMC TRUCK CO.              STEVEN BACALIS                   351 S EDGEWOOD                                              JACKSONVILLE      FL    32254
TOM NEHL TRUCK CO.                  351 S EDGEWOOD                                                                               JACKSONVILLE      FL    32254
TOM NEILIPOVITZ                     TOM NEILIPOVITZ                  2845 COUNTY ROAD 20, RR#2               HARROW ON N0R 1G0
                                                                                                             CANADA
TOM NEMECEK                         6460 E EXCHANGE RD                                                                           DURAND            MI    48429‐9110
TOM NIKIRK                          PO BOX 9                                                                                     OOLITIC           IN    47451‐0009
TOM NORMAN                          1178 W KURTZ AVE                                                                             FLINT             MI    48505‐1206
TOM NORWOOD                         7326 STATE ROUTE 19 UNIT 1602                                                                MOUNT GILEAD      OH    43338‐9494
TOM NOTHACKER                       1247 MIDDLE BELLVILLE RD                                                                     MANSFIELD         OH    44904‐1914
TOM O'BRIEN
TOM OATES CHEVROLET, INC.           THOMAS OATES                     1001 KIMBERTON RD                                           CHESTER SPRINGS   PA 19425‐1802
TOM OATES CHEVROLET, INC.           1001 KIMBERTON RD                                                                            CHESTER SPRINGS   PA 19425‐1802
TOM ONAN
TOM OSSTYN                          8025 ELDORA BLVD                                                                             COMMERCE TWP      MI 48382‐4617
TOM OSSTYN                          2707 ORCHARD ST                                                                              HALE              MI 48739‐9278
TOM P DEVENYNS, JR                  C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY, STE 600                                  HOUSTON           TX 77007
                                    BOUNDAS, LLP
TOM P RYAN                          9014 ADAM LN                                                                                 WAYNESVILLE       OH 45068
TOM PEACOCK CADILLAC, INC.          DAVID PEACOCK                    15480 NORTH FWY                                             HOUSTON           TX 77090‐6004
TOM PEACOCK CADILLAC, INC.          15480 NORTH FWY                                                                              HOUSTON           TX 77090‐6004
                                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                         Part 37 of 40 Pg 256 of 901
Name                                   Address1                           Address2                     Address3   Address4         City           State Zip
TOM PEACOCK NISSAN/CADILLAC, INC.      DAVID PEACOCK                      15480 NORTH FWY                                          HOUSTON         TX 77090‐6004

TOM PEDEN CHEVROLET‐OLDS‐PONTIAC‐      475 CHURCH ST S                                                                             RIPLEY         WV 25271‐1613
BU
TOM PEDEN CHEVROLET‐OLDS‐PONTIAC‐      475 CHURCH ST S                                                                             RIPLEY         WV 25271‐1613
BUICK, INC.
TOM PEET                               211 E SEAVER ST                                                                             ITHACA         MI 48847‐1156
TOM PERKINS                            1972 KIRK RD                                                                                VASSAR         MI 48768‐9756
TOM PETRUS                             19239 DURANGO DR                                                                            WARRENTON      MO 63383‐7061
TOM PETUSKEY, COURT CLERK              ACCT OF JOSEPH P BOUDREAU
TOM PIERCY                             6194 SOUTH POND POINTE                                                                      GRAND BLANC    MI 48439
TOM POLLARD
TOM POWERS CHAPTER 13 TRUSTEE          PO BOX 1958                                                                                 MEMPHIS        TN    38101‐1958
TOM PRENTICE                           PO BOX 1406                                                                                 E LIVERPOOL    OH    43920‐6706
TOM PRITCHARD                          125 IROQUOIS DR                                                                             SENECA         PA    16346
TOM PSALMS                             554 E WITHERBEE ST                                                                          FLINT          MI    48505‐4703
TOM R MC CONNELL JR                    310 W PINE ST                                                                               ORRICK         MO    64077‐9136
TOM RATAY                              442 WINTER PARK DR                                                                          O FALLON       MO    63366‐5531
TOM RAYLS                              1952 S STATE ROAD 29                                                                        FLORA          IN    46929‐9296
TOM RAZZOOG                            6004 GLEN EAGLE DR                                                                          HUDSONVILLE    MI    49426‐8749
TOM RECK                               6916 N STATE ROUTE 721                                                                      BRADFORD       OH    45308‐9660
TOM REED                               510 MAGNOLIA ST                                                                             RAYMORE        MO    64083‐9696
TOM RENNIE                             7037 SCHOOLCRAFT DR                                                                         DAVISON        MI    48423‐2363
TOM RICH                               2111 ELM TRACE ST                                                                           AUSTINTOWN     OH    44515‐4811
TOM RICKNER                            7700 STARDUST LN                                                                            NORMAN         OK    73026‐3176
TOM RIECKHOFF                          1524 WILLIAM ST                                                                             RACINE         WI    53402‐4164
TOM ROACH                              C/O BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS     OH    44236
TOM ROBINSON                           2928 PEARL ST                                                                               ANDERSON       IN    46016‐5360
TOM ROBINSON                           20152 OSBORN ST                                                                             CASSOPOLIS     MI    49031‐9352
TOM ROBINSON                           1718 W PIERSON RD APT 14                                                                    FLINT          MI    48504
TOM ROGAN                              19691 LAMONT ST                                                                             DETROIT        MI    48234‐2266
TOM ROGERS                             3131 SIMPSON STUART RD APT 11104                                                            DALLAS         TX    75241‐5072
TOM ROGERS JR                          3131 SIMPSON STUART RD             APT 11104                                                DALAS          TX    75241‐5072
TOM ROMEIN                             4555 INDEPENDENCE DR                                                                        CLARKSTON      MI    48346‐3729
TOM RUDOLPH                            146 BOUTWELL ST                                                                             GREENVILLE     AL    36037‐1331
TOM SCHMUELLING                        2718 S 59TH ST                                                                              SAINT LOUIS    MO    63139‐1667
TOM SCHULTE                            REIDERWEG 14                       58285 GEVELSBERG
TOM SCHUTZ
TOM SHERWOOD                           832 PINE TREE RD W                                                                          LAKE ORION     MI 48362‐2558
TOM SHORTLAND
TOM SIBBITT CHEVROLET‐CADILLAC, INC    950 N MICHIGAN AVE                                                                          GREENSBURG      IN   47240‐1486

TOM SIBBITT CHEVROLET‐CADILLAC, INC.   PAULA SIBBITT                      950 N MICHIGAN AVE                                       GREENSBURG      IN   47240‐1486

TOM SIBBITT CHEVROLET‐CADILLAC, INC.   950 N MICHIGAN AVE                                                                          GREENSBURG      IN   47240‐1486

TOM SIZEMORE                           1700 HURLEY DR                                                                              NORTH VERNON    IN   47265‐4810
TOM SMALLEY                            705 EAST ST                                                                                 LYNNVILLE       IA   50153‐7722
TOM SMALLEY                            POB 93                             LYNNVILLE                                                LYNNVILLE       IA   50153
TOM SMALLWOOD
TOM SMITH
TOM SMITH                              534 HARTFORD DR                                                                             ELYRIA         OH 44035‐2906
                                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                           Part 37 of 40 Pg 257 of 901
Name                                   Address1                         Address2                       Address3                    Address4         City              State Zip
TOM SMITH INCORPORATED                 KIM BOLES                        500 SMITH DR                   P.O. BOX 128                                 BENSENVILLE         IL 60106
TOM SMITH INDUSTRIES                   500 SMITH DR                                                                                                 CLAYTON            OH 45315‐8788
TOM SMITH JR                           5440 MAPLE DR                                                                                                FARWELL            MI 48622‐9619
TOM SMOTHERS                           ATTN ROBERT W PHILLIPS           C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                    EAST ALTON          IL 62024
                                                                        ANGELIDES & BARNERD LLC      521

TOM SOLAK                              BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS        OH    44236
TOM SPALLA                             565 CLARION ST                                                                                               CLIO              MI    48420‐1259
TOM SPARKS BUICK, INC.                 216 S 1ST ST                                                                                                 DEKALB            IL    60115‐3618
TOM SPARKS BUICK, INC.                 THOMAS SPARKS                    216 S 1ST ST                                                                DEKALB            IL    60115‐3618
TOM SPARKS CHEVROLET‐OLDSMOBILE, IN    190 E LINCOLN AVE                                                                                            HINCKLEY          IL    60520‐9211

TOM SPARKS CHEVROLET‐OLDSMOBILE,       JOHN WEISSCHNER                  190 E LINCOLN AVE                                                           HINCKLEY           IL   60520‐9211
INC.
TOM SPARKS CHEVROLET‐OLDSMOBILE,       190 E LINCOLN AVE                                                                                            HINCKLEY           IL   60520‐9211
INC.
TOM SPATH
TOM SPIRES                             11629 STATE ROUTE 281                                                                                        HOLGATE           OH 43527‐9798
TOM SRBINOVSKI                         54110 ALGONQUIN DR                                                                                           SHELBY TOWNSHIP   MI 48315‐1100
TOM STINNETT HOLIDAY RV CENTER, INC.   520 MARRIOTT DR                                                                                              CLARKSVILLE       IN 47129‐3054

TOM STUART                             2298 WAHL ST                                                                                                 PACIFIC           MO 63069
TOM SUMMERS
TOM SUPINGER                           3 LAWNDALE AVE                                                                                               LEBANON           OH 45036‐1327
TOM SUTPHEN                            TOM SUTPHEN / RAVONDA TAYLOR     7000 COLUMBUS‐MARYSVILLE RD.                                                AMLIN             OH 43002

TOM SWINFORD                           1327 FAIR DRIVE                                                                                              KNOXVILLE         TN    37918‐2256
TOM SWINT                              4405 CELEBRATION DR SW                                                                                       ATLANTA           GA    30331‐6374
TOM SWITLIK                            PO BOX 233                                                                                                   CAMERON           MO    64429‐0233
TOM TABER                              3949 W ALEXANDER RD UNIT 1268                                                                                NORTH LAS VEGAS   NV    89032‐2922
TOM TARDIFF                            5472 AMENO LN                                                                                                SWARTZ CREEK      MI    48473‐8884
TOM TAYLOR CHEVROLET‐PONTIAC‐          11989 HIGHWAY 22                                                                                             MARTIN            TN    38237‐5690
OLDSMO
TOM TAYLOR CHEVROLET‐PONTIAC‐          THOMAS TAYLOR                    11989 HIGHWAY 22                                                            MARTIN            TN 38237‐5690
OLDSMOBILE‐GMC TRUCK, INC.
TOM TAYLOR CHEVROLET‐PONTIAC‐          11989 HIGHWAY 22                                                                                             MARTIN            TN 38237‐5690
OLDSMOBILE‐GMC TRUCK, INC.
TOM TENNEY                             777 HOMEWORTH RD                                                                                             ALLIANCE          OH    44601‐9073
TOM TEPE AUTOCENTER INC                THOMAS TEPE                      426 E INDIAN TRL                                                            MILAN             IN    47031‐8800
TOM TEPE AUTOCENTER, INC.              THOMAS TEPE                      426 E INDIAN TRL                                                            MILAN             IN    47031‐8800
TOM TEPE AUTOCENTER, INC.              426 E INDIAN TRL                                                                                             MILAN             IN    47031‐8800
TOM TERRANOVA                          93 MARINA POINT DR                                                                                           SANDUSKY          OH    44870‐6533
TOM THOMAS                             215 PURITAN ST                                                                                               HIGHLAND PARK     MI    48203‐2729
TOM THOMAS & CO/TROY                   1460 ROCHESTER RD                                                                                            TROY              MI    48083‐6014
TOM THOMAS JR                          4640 CHERRY BLOSSOM LN                                                                                       YPSILANTI         MI    48197‐6126
TOM THOMPSON                           4284 ATHA CIR                                                                                                LOGANVILLE        GA    30052‐4443
TOM THOMPSON                           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS        OH    44236
TOM TOMPKINS                           5895 CALETA DR                                                                                               LANSING           MI    48911‐6471
TOM TORREZ                             315 ELLSWORTH ST                                                                                             SAGINAW           MI    48604‐2413
TOM TROTT
TOM TURNER
TOM TYLER                              1204 WILLOW DR                                                                                               TROTWOOD          OH 45426‐2091
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                          Part 37 of 40 Pg 258 of 901
Name                                 Address1                          Address2                         Address3   Address4         City              State Zip
TOM VIERS                            1809 KNOXVILLE HWY                                                                             WARTBURG           TN 37887‐4120
TOM W TORREZ                         315 ELLSWORTH ST                                                                               SAGINAW            MI 48604‐2413
TOM W. DREHER                        PO BOX 41757                                                                                   LONG BEACH         CA 90853
TOM WAHL                             13 WESTWIND DR                                                                                 NORWALK            OH 44857‐9033
TOM WALDEN                           530 W SMOKEY ROW RD                                                                            CARMEL             IN 46032‐1308
TOM WALKER                           1827 BROADWELL ST SW                                                                           ATLANTA            GA 30310‐4955
TOM WALLACE                          8030 MCDERMITT DR APT 16                                                                       DAVISON            MI 48423‐2258
TOM WALLER                           265 WORTHINGTON PKWY                                                                           SAINT JOHNS        FL 32259‐6919
TOM WARNER                           166 N BYRON RD                                                                                 LENNON             MI 48449‐9614
TOM WAUGH                            1005 LAFAYETTE AVE                                                                             SPRINGFIELD        OH 45505‐3238
TOM WEBB                             BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS         OH 44236
TOM WEBER                            921 KOCH DR                                                                                    TOLEDO             OH 43615‐4430
TOM WHITE                            9171 NOBLET RD                                                                                 DAVISON            MI 48423‐8714
TOM WICKHAM                          1330 BRIARCLIFFE DR                                                                            FLINT              MI 48532‐2181
TOM WIEDERHOLD                       3545 WEISS ST                                                                                  SAGINAW            MI 48602‐3326
TOM WIENCEK                          1021 CUMBERLAND PARK DR                                                                        FRANKLIN           TN 37069‐5104
TOM WIGHTMAN                         5384 MANCELONA DR                                                                              GRAND BLANC        MI 48439‐9154
TOM WILKENS                          31662 SCHWARTZ RD                                                                              AVON               OH 44011‐2560
TOM WILKIE
TOM WILKINSON, PARISH ATTORNEY       JOSEPH S. YENNI BLDG.             1221 ELMWOOD PARK BLVD., SUITE                               RIVER RIDGE        LA   70123
                                                                       701
TOM WILLIAMS                         4017 FLEMING RD                                                                                FLINT             MI 48504‐2184
TOM WILLIAMS                         20217 WYOMING ST                                                                               DETROIT           MI 48221‐1070
TOM WILLIAMS CADILLAC                2001 TOM WILLIAMS WAY                                                                          IRONDALE          AL 35210‐3448
TOM WINDIBANK
TOM WOOD PONTIAC‐GMC INC             3003 E 98TH ST STE 201                                                                         INDIANAPOLIS      IN    46280‐1973
TOM WOOD PONTIAC‐GMC TRUCK           3003 E 98TH ST STE 201                                                                         INDIANAPOLIS      IN    46280‐1973
TOM WOODWARD                         506 EASTVIEW DR                                                                                BEDFORD           IN    47421‐4631
TOM YATES                            4122 NE 82ND ST                                                                                KANSAS CITY       MO    64119‐7600
TOM ZOPPA                            12355 WATKINS DR                                                                               SHELBY TOWNSHIP   MI    48315‐5773
TOM ZS CONEY ISLAND                  401 W COURT ST                                                                                 FLINT             MI    48503‐5021
TOM'S AUTO BODY                      605 MAIN ST                                                                                    WRIGHTSTOWN       WI    54180‐1061
TOM'S AUTOMOTIVE                     3616 SW OREGON ST                                                                              SEATTLE           WA    98126‐2741
TOM'S AUTOMOTIVE REPAIR              4815 W RENO AVE                                                                                LAS VEGAS         NV    89118‐1525
TOM'S CHEVROLET, INC.                301 BRIDGE ST                                                                                  CORNELL           WI    54732‐8398
TOM'S CHEVROLET, INC.                NELSON SIME                       301 BRIDGE ST                                                CORNELL           WI    54732‐8398
TOM'S CORNER REPAIR SHOP             8683 18TH AVE                                                                                  BROOKLYN          NY    11214‐3701
TOM'S DEVONSHIRE AUTOMOTIVE          5858 E 71ST ST                                                                                 INDIANAPOLIS      IN    46220‐4002
TOM'S PERFORMANCE AUTOMOTIVE         ATTN: TOM SIMONE                  305 CAMBRIDGE AVE                                            SYRACUSE          NY    13208‐1446
TOM'S SERVICE CENTER                 122 N 7TH AVE                                                                                  ROYERSFORD        PA    19468‐2112
TOM'S SERVICE CENTER                 1608 WALKER AVE NW                                                                             GRAND RAPIDS      MI    49504‐2600
TOM'S SEWER & DRAIN SERVICE          POBOX 388                                                                                      GIRARD            OH    44420‐0388
TOM'S TIRE                           12645 ECKEL JUNCTION RD                                                                        PERRYSBURG        OH    43551‐1304
TOM'S TIRE & AUTO                    2220 S REYNOLDS RD                                                                             TOLEDO            OH    43614‐1413
TOM'S TIRE & AUTO                    ATTN: ED MEGGOT                   1630 W ALEXIS RD                                             TOLEDO            OH    43612‐4049
TOM'S TIRE ‐ ALEXIS                  1630 W ALEXIS RD                                                                               TOLEDO            OH    43612‐4049
TOM'S TIRE AND AUTO HOLLAND SYLVANIA                                   3310 N HOLLAND SYLVANIA RD                                                     OH    43615

TOM'S TRUCK CENTER, INC,             GEORGE HEIDLER                    1008 E 4TH ST                                                SANTA ANA         CA    92701‐4751
TOM'S TRUCK CENTER, INC,             1008 E 4TH ST                                                                                  SANTA ANA         CA    92701‐4751
TOM'S TRUCK REPAIR CO.               8616 E 500 N                                                                                   NORTH WEBSTER     IN    46555‐9577
TOM, ALFRED C                        946 STOCKTON ST APT 12F                                                                        SAN FRANCISCO     CA    94108‐1687
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                           Part 37 of 40 Pg 259 of 901
Name                    Address1                        Address2                       Address3   Address4         City               State Zip
TOM, CINDY L            5910 MILHOUSE CT                                                                           INDIANAPOLIS        IN 46221‐4136
TOM, CLARA N            5 ROSETREE LN                                                                              LAWRENCEVILLE       NJ 08648‐3232
TOM, DAVID              7 DILTS LN                                                                                 HILLSBOROUGH        NJ 08844‐2224
TOM, ERROL R            3414 RIVER LANDINGS BLVD                                                                   HILLIARD            OH 43026‐7853
TOM, FOW G              5994 AIMLESS ST                                                                            HENDERSON           NV 89011‐1639
TOM, HENRY C            11168 MANDALE DR                                                                           STERLING HEIGHTS    MI 48312‐4970
TOMA LIGHTFOOT          5185 SANDALWOOD CIRCLE                                                                     GRAND BLANC         MI 48439‐4267
TOMA, BASSEM            47553 KATHY CT                                                                             SHELBY TOWNSHIP     MI 48315‐4655
TOMA, LOUIS F           3428 E BENNINGTON RD                                                                       DURAND              MI 48429‐9151
TOMA, MARIANNE          12301 STUART RD                                                                            SAINT CHARLES       MI 48655‐9643
TOMA, RONALD J          7465 TOMA RD                                                                               DEXTER              MI 48130‐9583
TOMA, RUSSELL J         6400 CHESANING RD                                                                          CHESANING           MI 48616‐8416
TOMA, RUTH A            14618 GASPER RD                                                                            CHESTANING          MI 48616
TOMA, STEVE J           5348 S SCRIBNER RD                                                                         DURAND              MI 48429‐9125
TOMA, TOMA              6151 N ARTESIAN AVE                                                                        CHICAGO              IL 60659‐2830
TOMAC JR, IVAN          726 COMMUNITY DR APT 2          OUR LADY OF SNOWS APARTMENTS                               BELLEVILLE           IL 62223‐1013

TOMAC, ANTHONY J        5347 5TH ST                     C/O LOUISE RAUTON                                          FALLBROOK          CA   92028‐9797
TOMAC, DANNY L          1528 E 350 N                                                                               BLUFFTON           IN   46714
TOMAC, JOHN L           426 REID ACRES LN                                                                          HUBERT             NC   28539‐4337
TOMAC, JOSEPH F         3830 N DENVER CT                                                                           KANSAS CITY        MO   64117‐2884
TOMAC, SHARI            1737 SUTTON CIRCLE DR S                                                                    BLUFFTON           IN   46714‐1140
TOMAC, ZARA             3830 NO DENVER COURT                                                                       KANSAS CITY        MO   64117‐2884
TOMACK, MARLYNE K       1515 CHARLES ST                                                                            HERMITAGE          PA   16148‐2052
TOMAINO, AMELIA E       6378 LOCUST STREET EXT                                                                     LOCKPORT           NY   14094‐6512
TOMAINO, FRANK A        18237 LILLIAN DR                                                                           LAKE MILTON        OH   44429‐9506
TOMAINO, GREGORY L      807 SIR GALAHAD LN                                                                         LEWISVILLE         TX   75056‐5716
TOMAINO, PATRICIA A     413 N ADAM ST                                                                              LOCKPORT           NY   14094‐1455
TOMAINO, TIMOTHY L      1653 GRANDVIEW RD                                                                          LAKE MILTON        OH   44429‐9657
TOMAINO, ZACHARY J      1653 GRANDVIEW RD                                                                          LAKE MILTON        OH   44429‐9657
TOMAJKO, ABIGAIL L      512 W STATE ST                                                                             SHARON             PA   16146‐1252
TOMAJKO, NORMAN A       25275 COLLINGWOOD ST                                                                       ROSEVILLE          MI   48066‐3936
TOMAK, EVA              620 CHATMAN CT                                                                             MURRELLS INLET     SC   29576‐9274
TOMAK, EVA              620 CHATMAN COURT                                                                          MURRELLS INLET     SC   29576
TOMAK, JAMES L          2619 HUNTERS WOOD                                                                          COMSTOCK           MI   49048
TOMAK, KENNETH L        1091 PINE RIDGE RD                                                                         MARTIN             MI   49070‐8713
TOMAK, MARGIE G         350 MARKS ROAD                                                                             BRUNSWICK          OH   44212‐1040
TOMAK, RONALD C         77498 38TH ST                                                                              DECATUR            MI   49045‐9188
TOMAKA, DAVID E         520 BOULDER LAKE DR                                                                        OXFORD             MI   48371‐3652
TOMAKIES N MURRY        1309 E DOWNEY AVE                                                                          FLINT              MI   48505‐1709
TOMAKOWSKI, KATHRYN A   9782 PONDEROSA DR                                                                          SOUTH LYON         MI   48178‐9105
TOMAL, ERSELL G         355 DIVERSATECH DR APT 161                                                                 MANTENO            IL   60950‐9276
TOMALA, DARYL A         11657 SORRENTO BLVD                                                                        STERLING HEIGHTS   MI   48312‐1355
TOMALAK, JEROME J       11050 IRENE AVE                                                                            WARREN             MI   48093‐2512
TOMALAK, VIRGINIA       11050 IRENE AVE                                                                            WARREN             MI   48093‐2512
TOMALCZYK, JOSEPH T     171 LAUREL ST APT 416                                                                      BRISTOL            CT   06010‐5752
TOMALIA, DENNIS D       19700 COUNTY ROAD 459                                                                      HILLMAN            MI   49746‐9593
TOMALIA, ROBERT L       514 AUTUMN DR                                                                              FLUSHING           MI   48433‐1921
TOMALIN, MICHAEL A      1919 CHESTNUT ST APT 1510                                                                  PHILADELPHIA       PA   19103‐3424
TOMALINA WAGNER         PO BOX 4819                                                                                CLEARLAKE          CA   95422‐4819
TOMALSKI, JOSEPHINE C   8116 N CREEK RUN                                                                           RALEIGH            NC   27613‐4327
TOMAMICHEL, CARL T      222 S 11TH AVE                                                                             BEECH GROVE        IN   46107‐1704
                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                         Part 37 of 40 Pg 260 of 901
Name                   Address1                            Address2                         Address3   Address4               City               State Zip
TOMAN BROWN, MARY A    26 DALLAS SMITH RD                                                                                     CROSSVILLE          TN 38555‐1554
TOMAN JR, JACK R       726 SANDLYN DR                                                                                         LANSING             MI 48910‐5660
TOMAN, FRANK           GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                       SAGINAW             MI 48604‐2602
                                                           260
TOMAN, GEORGE          THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD          SUITE 44                          CORAL GABLES       FL    33146
TOMAN, JOSEPH R        2601 FROSTWOOD DR                                                                                      YOUNGSTOWN         OH    44515‐5147
TOMAN, MARTHA E        417 CRESTWOOD DRIVE                                                                                    DIMONDALE          MI    48821‐9770
TOMAN, ROBERT J        15158 PINEHURST DR                                                                                     LANSING            MI    48906‐1325
TOMAN, SHIRLEY M       30 ROCKHOUND RD SW                                                                                     DEMING             NM    88030‐7901
TOMAN, TERRENCE L      8207 WILLOW WAY                                                                                        RAYTOWN            MO    64138‐2269
TOMAN, TIMOTHY L       1188 W GRAND RIVER RD                                                                                  OWOSSO             MI    48867‐8718
TOMANDL, TERRY E       2172 CLOVER LN                                                                                         SAGINAW            MI    48602‐2918
TOMANEK, LOUIS E       238 KALMIA DR                                                                                          ARLINGTON          TX    76018‐1633
TOMANEK, PEGGY         58 E SHEFFIELD AVE                                                                                     PONTIAC            MI    48340‐1963
TOMANEK, ROBERT S      9112 TIMBER OAKS DR                                                                                    FORT WORTH         TX    76179‐3246
TOMANI, JOSEPH D       649 MARILLA ST                                                                                         BUFFALO            NY    14220‐2260
TOMANI, ROBERT W       4393 RICHWOOD DRIVE                                                                                    HAMBURG            NY    14075‐3939
TOMANICA JR, JOSEPH    12587 CHERRY LN                                                                                        GRAND LEDGE        MI    48837‐8979
TOMANICA, DEBORAH S    4342 WANSTEAD DR                                                                                       HOLT               MI    48842‐2042
TOMANY JR, LLOYD E     700 E ILLINOIS HWY                                                                                     NEW LENOX           IL   60451‐2686
TOMANY, NANCY A        1341 LONDON RD                                                                                         NEW LENOX           IL   60451‐9739
TOMANY, STEPHEN L      353 W FRANCIS RD                                                                                       NEW LENOX           IL   60451‐1060
TOMAR SIMPSON          1064 E CASS AVE                                                                                        FLINT              MI    48505‐1607
TOMARA DOSS            5718 KENILWORTH ST                                                                                     DEARBORN           MI    48126‐2151
TOMARAS, ANASTASIOS    3171 COUNTRY CREEK DR                                                                                  OAKLAND TOWNSHIP   MI    48306‐4724
TOMARIC, FRANK J       3860 KINTOR DR                      LAKE CARDINAL                                                      ROME               OH    44085‐9645
TOMARO, DANIELLE C     19870 LAKESHORE BLVD #DOWN                                                                             EUCLID             OH    44119
TOMAS AGUINAGA         3811 DELINA RD                                                                                         CORNERSVILLE       TN    37047‐5234
TOMAS ALICEA           PO BOX 4774                                                                                            AGUADILLA          PR    00605‐4774
TOMAS ARANA            456 ZIMMERMAN BLVD                                                                                     TN OF TONA         NY    14223‐1116
TOMAS ARENAS           767 SAINT CLAIR ST                                                                                     PONTIAC            MI    48340‐2685
TOMAS ARMANDO          THOMAS, ARMANDO                     120 WEST MADISON STREET , 10TH                                     CHICAGO             IL   60602
                                                           FLOOR
TOMAS ARMENDARIZ       15316 SYLVANWOOD AVE                C/O TOMAS ARMENDARIZ JR                                            NORWALK            CA    90650‐6355
TOMAS BENTLEY          116 N EAST ST                                                                                          SAINT LOUIS        MI    48880‐1721
TOMAS BETANCOURT       1737 JORDAN ST                                                                                         SAGINAW            MI    48602‐1118
TOMAS DELGADO          17217 SW 144TH CT                                                                                      MIAMI              FL    33177‐6647
TOMAS DIAZDEVILLEGAS   21 HOWARD ST                                                                                           SLEEPY HOLLOW      NY    10591‐2301
TOMAS DOMANSKI         810 HAMILTON AVE                                                                                       LANSING            MI    48910‐3421
TOMAS GARCIA           6776 OVERHILL DR                                                                                       ROSCOMMON          MI    48653‐9666
TOMAS GARCIA           TOMAS GARCIA                        1‐373 BOUL SAINT‐JOSEPH O                   MONTREAL QC H2V 2P1
                                                                                                       CANADA
TOMAS GOMEZ            703 DOWNS ST                                                                                           DEFIANCE           OH    43512‐2930
TOMAS GOMEZ JR         708 HARRISON AVE                                                                                       DEFIANCE           OH    43512‐2024
TOMAS GONZALEZ         222 W RANDOLPH ST                                                                                      LANSING            MI    48906‐2949
TOMAS HANEL            1618 PRATT LAKE RD                                                                                     GLADWIN            MI    48624‐9623
TOMAS HANSON           4382 E WILSON RD                                                                                       CLIO               MI    48420‐9711
TOMAS HERNANDEZ        215 S VISTA DR                                                                                         SANDIA             TX    78383‐4072
TOMAS HERNANDEZ        1600 LILLIAN CIR                                                                                       COLUMBIA           TN    38401‐5418
TOMAS INGUANZO         13390 SW 32ND ST                                                                                       MIAMI              FL    33175‐7145
TOMAS J RIAPOS         POVAZSKA 36‐8 SLOVAKIA 91101                                                    SLOVAKIA 91101
TOMAS KISSLINGER       MELLER BERG 39                      49324 MELLE
                        09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                             Part 37 of 40 Pg 261 of 901
Name                    Address1                          Address2                       Address3                  Address4               City            State Zip
TOMAS KISSLINGER        MELLER BERG 39                                                                                                    MELLE                 49324
TOMAS LAJAS             2305 W PIONEER PKWY APT 299                                                                                       GRAND PRAIRIE    TX 75051‐3553
TOMAS LARSSON           50321 DRAKES BAY DR                                                                                               NOVI             MI 48374‐2549
TOMAS LOPEZ             1347 W GRANADA ST                                                                                                 MILWAUKEE        WI 53221‐5108
TOMAS LOPEZ             419 DOVER PL                                                                                                      TOLEDO           OH 43605‐2558
TOMAS MARTINEZ          G PATTERSON KEAHEY P C            ONE INDEPENDENCE PLAZA SUITE                                                    BIRMINGHAM       AL 35209
                                                          612
TOMAS MORENO            9042 N CLIO RD                                                                                                    CLIO            MI   48420‐8561
TOMAS QUINTANILLA       1075 E PRINCETON AVE                                                                                              FLINT           MI   48505‐1513
TOMAS QUINTANILLA JR    1075 E PRINCETON AVE                                                                                              FLINT           MI   48505‐1513
TOMAS RAMIREZ           4399 7TH ST                                                                                                       ECORSE          MI   48229‐1115
TOMAS RAMIREZ JR        4360 7TH ST                                                                                                       ECORSE          MI   48229‐1155
TOMAS RIAPOS            POVAZSKA 36‐8                     SLOVAKIA                                                 TRENCIN 91101 SLOVAK
                                                                                                                   REPUBLIC
TOMAS ROBERTO           TOMAS, ROBERTO                    3301 SOUTH GALLOWAY STREET                                                      PHILADELPHIA    PA 19148
                                                          SUITE 250
TOMAS ROQUE             97 E RUTGERS AVE                                                                                                  PONTIAC         MI   48340‐2751
TOMAS SANDERS           630 EDISON AVE                                                                                                    LANSING         MI   48910‐3325
TOMAS TINAY             2 PEPPERIDGE CT                                                                                                   JACKSON         NJ   08527‐1167
TOMAS TORRES            4105 HAZEL ST                                                                                                     BURTON          MI   48519‐1758
TOMAS TOURIKIS          120 LEEDS ST                                                                                                      WALLED LAKE     MI   48390‐3639
TOMAS VASQUEZ           5641 SOUTH GULLEY ROAD                                                                                            DEARBORN HTS    MI   48125‐1726
TOMAS VEGA              1350 FLOWERS POINTE LN                                                                                            ORLANDO         FL   32825‐5522
TOMAS VILLARREAL        945 PENNY LN                                                                                                      OXFORD          MI   48371‐4479
TOMAS, JOSEPH D         42324 BLACOW RD                                                                                                   FREMONT         CA   94538‐5567
TOMAS, LAVIN            1165 ATWOOD RD                                                                                                    PHILADELPHIA    PA   19151‐3108
TOMAS, LINDA S          8000 ASHARE CT                                                                                                    CLARKSTON       MI   48346‐1153
TOMAS, TERRY A          8000 ASHARE CT                                                                                                    CLARKSTON       MI   48346‐1153
TOMASA BARBER           920 LORING ST                                                                                                     SAN DIEGO       CA   92109
TOMASA GOMEZ            12454 S LAFLIN ST                                                                                                 CALUMET PARK    IL   60827‐5713
TOMASA KELSO            28 E 29TH ST                                                                                                      HIGGINSVILLE    MO   64037‐2007
TOMASA MORALEZ          519 BUFFALO RIDGE CIR                                                                                             INDIANAPOLIS    IN   46227‐2886
TOMASA PENA             634 S SAN AUGUSTINE AVE                                                                                           SAN ANTONIO     TX   78237‐2903
TOMASA SALDANA          4915 S AIRPORT RD                                                                                                 BRIDGEPORT      MI   48722‐9516
TOMASA TIJERINA         910 RIVERSIDE AVE                                                                                                 DEFIANCE        OH   43512‐2812
TOMASAK JR, WILLIAM     2608 GALPIN AVE APT 206                                                                                           ROYAL OAK       MI   48073‐3143
TOMASAK PETER           TOMASAK, PETER                    30 E BUTLER AVE                                                                 AMBLER          PA   19002‐4514
TOMASCHKO, MICHAEL      46239 HULING ST                                                                                                   SHELBY TWP      MI   48317‐3913
TOMASCIA L WATSON       4744 LUMLEY ST                                                                                                    DETROIT         MI   48210‐2119
TOMASCIK, JOSEPH J      8940 SARAH LN                                                                                                     GROSSE ILE      MI   48138‐1584
TOMASCZAK, JAMES R      5519 HIGHWAY G                                                                                                    CALEDONIA       WI   53108
TOMASEK JEFFREY         TOMASEK, JEFFREY                  CAMERON HODGES COLEMAN         15 WEST CHURCH ST. #301                          ORLANDO         FL   32801‐3351
                                                          LAPOINT WRIGHT
TOMASEK, DAN E          6679 W MAPLE GROVE RD                                                                                             HUNTINGTON      IN   46750‐8926
TOMASEK, DORIS M        4721 KRUEGER AVE                                                                                                  PARMA           OH   44134‐2417
TOMASEK, ELLEN          3200 MCBRIDE RD                                                                                                   OWOSSO          MI   48867‐9378
TOMASEK, GERALD F       764 GEORGETOWN AVE                                                                                                ELYRIA          OH   44035‐1852
TOMASEK, GREG S         9871 MASON RD                                                                                                     OVID            MI   48866‐9590
TOMASEK, GREG STEPHON   9871 MASON RD                                                                                                     OVID            MI   48866‐9590
TOMASEK, JAMES M        8620 S STONEFIELD DR                                                                                              OAK CREEK       WI   53154‐3547
TOMASEK, JEFFREY
TOMASEK, JOHN P         11749 LOVEJOY RD                                                                                                  BYRON           MI 48418‐9609
                              09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                Part 37 of 40 Pg 262 of 901
Name                          Address1                       Address2                      Address3   Address4         City                  State Zip
TOMASEK, JOHN PAUL            11749 LOVEJOY RD                                                                         BYRON                  MI 48418‐9609
TOMASEK, JOSEPH W             PO BOX 184                                                                               HEMLOCK                MI 48626‐0184
TOMASEK, KENNETH G            15114 MEADOW LN                                                                          LINDEN                 MI 48451‐9685
TOMASEK, KENNETH GEORGE       15114 MEADOW LN                                                                          LINDEN                 MI 48451‐9685
TOMASEK, KYLE                 5330 W MICHIGAN AVE.                                                                     LANSING                MI 48917
TOMASEK, KYLE M               5330 W MICHIGAN AVE.                                                                     LANSING                MI 48917
TOMASEK, MICHAEL G            4949 STARVILLE RD                                                                        CHINA                  MI 48054‐3019
TOMASEK, MICHELINE S          711 W STEWART ST                                                                         OWOSSO                 MI 48867‐4331
TOMASEK, RALPH G              29225 SCARBOROUGH DR                                                                     WARREN                 MI 48088‐5102
TOMASEK, THOMAS J             7625 DEWEY RD                                                                            OVID                   MI 48866‐9539
TOMASEK, WILLIAM J            7368 MYHOPE CIRCLE                                                                       SPRING HILL            FL 34606‐2768
TOMASELLI JR, THOMAS M        20 EISENHOWER DR                                                                         LOCKPORT               NY 14094‐5759
TOMASELLI, AMELIA D           20 EISENHOWER DR                                                                         LOCKPORT               NY 14094‐5759
TOMASELLI, IRENE A            1200 CHRIS DR                                                                            BENTON                 AR 72015
TOMASELLI, PHYLLIS D          3196 HETZEL DR                                                                           PARMA                  OH 44134‐5116
TOMASELLI, SAMUEL P           158 JACKSON ST                                                                           BATAVIA                NY 14020‐3547
TOMASELLI, VANCE R            PO BOX 1017                                                                              BISHOP                 CA 93515‐1017
TOMASELLO JOSEPH V (410365)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510
                                                             STREET, SUITE 600
TOMASELLO PETER               1724 E HALLANDALE BEACH BLVD                                                             HALLANDALE BEACH      FL   33009‐4611
TOMASELLO, ANGELO D           158 HUNTINGTON AVE                                                                       BUFFALO               NY   14214‐1630
TOMASELLO, BARBARA A          158 HUNTINGTON AVE                                                                       BUFFALO               NY   14214‐1630
TOMASELLO, HUMBERT J          1127 N.W. 192ND AVE.                                                                     JANESVILLE            FL   32609‐6208
TOMASELLO, HUMBERT J          1127 NW 192ND AVE                                                                        GAINESVILLE           FL   32609‐6208
TOMASELLO, JOSEPH V           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                             STREET, SUITE 600
TOMASELLO, LAURA S            41778 PON MEADOW CT                                                                      NORTHVILLE            MI   48168
TOMASELLO, PETER J            235 GOLDEN PHEASANT DR                                                                   GETZVILLE             NY   14068‐1487
TOMASELLO, RICHARD            41778 PON MEADOW CT                                                                      NORTHVILLE            MI   48168‐2240
TOMASELLO, SALVATORE D        159 MOUNT AIRY HARBOURTON RD                                                             LAMBERTVILLE          NJ   08530‐2805
TOMASELLO, STEPHEN J          259 MCKINLEY AVE                                                                         BUFFALO               NY   14217
TOMASENA B LIGGINS            2574 CARNEGIE ST                                                                         DAYTON                OH   45406‐1415
TOMASENA LIGGINS              2574 CARNEGIE ST                                                                         DAYTON                OH   45406‐1415
TOMASETTI, DONALD A           8 RAGGED HILL RD                                                                         MILFORD               MA   01757‐1045
TOMASETTI, LAURA E            50 VOSE ST                                                                               FRAMINGHAM            MA   01702‐8421
TOMASETTI, MICHAEL J          45 CHESTNUT LN                                                                           LEVITTOWN             PA   19055‐1627
TOMASETTI, RITA M             17 PRAIRIE ST.                                                                           MILFORD               MA   01757‐1732
TOMASETTI, RITA M             17 PRAIRIE ST                                                                            MILFORD               MA   01757‐1732
TOMASETTI, RUSSELL R          6 FAIRVIEW RD                                                                            FRAMINGHAM            MA   01702‐8402
TOMASETTI, VINCENT M          3038 FISHER RD                                                                           STRATTANVILLE         PA   16258‐3820
TOMASHEK, DANIEL J            7414 LESWOOD CT                                                                          FORT WAYNE            IN   46816‐2658
TOMASHEK, ROBERT D            2735 KETTLE MORAINE RD                                                                   HARTFORD              WI   53027‐8515
TOMASHEWSKY, ALEXANDER A      6940 BERWYN ST                                                                           DEARBORN HEIGHTS      MI   48127‐2081
TOMASHEWSKY, DENNIS A         39 ROAD 5415                                                                             BLOOMFIELD            NM   87413‐9727
TOMASHOT, HERBERT G           3660 BLYTHEWOOD DR                                                                       DAYTON                OH   45430‐1604
TOMASHOT, RONALD D            9484 COUNTRY PATH TRL                                                                    MIAMISBURG            OH   45342‐7404
TOMASHOT,RONALD D             9484 COUNTRY PATH TRL                                                                    MIAMISBURG            OH   45342‐7404
TOMASI, ANDREW J              802 ANITA AVE                                                                            GROSSE POINTE WOODS   MI   48236‐1415
TOMASI, ANTON J               32273 JAMES ST                                                                           GARDEN CITY           MI   48135‐1777
TOMASI, DOMINICK F            1059 LAUREL WOOD ST                                                                      KALAMAZOO             MI   49009‐6513
TOMASI, JUDY K                6841 WIREVINE DR                                                                         BROOKSVILLE           FL   34602‐7553
TOMASI, PATRICIA              7810 SWAMP RD                                                                            BERGEN                NY   14416‐9353
                                   09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                       Part 37 of 40 Pg 263 of 901
Name                               Address1                         Address2                      Address3   Address4         City               State Zip
TOMASIAK, JOHN R                   8640 WARWICK RD SE                                                                         WARREN              OH 44484‐3059
TOMASIAK, SANDRA                   6363 SHAFFER RD                                                                            WARREN              OH 44481‐9379
TOMASIC, JAY S                     5260 WEAVER RD                                                                             BERLIN CENTER       OH 44401‐9797
TOMASIK, ANNA K                    9493 KINLEY RD                   C/O SUE TOMASIK                                           OVID                MI 48866‐8663
TOMASIK, DONNA G                   2651 E BURT RD                                                                             BURT                MI 48417‐9701
TOMASIK, DONNA G                   2651 EAST BURT RD.                                                                         BURT                MI 48417‐9701
TOMASIK, ELEFTERIA                 1024 TEAL RD                                                                               PEOTONE              IL 60468‐8984
TOMASIK, IRENE M                   15174 OCONNOR AVE                                                                          ALLEN PARK          MI 48101‐2938
TOMASIK, JOSEPH F                  415 STONEGATE WAY                                                                          MANTENO              IL 60950‐3717
TOMASIK, KENNETH A                 31819 CLARITA ST                                                                           LIVONIA             MI 48152‐3389
TOMASIK, THOMAS N                  13501 NATCHEZ TRL                                                                          ORLAND PARK          IL 60467‐1218
TOMASINE, JOHN S                   6214 AUTUMNVILLE STATION                                                                   NEWFANE             NY 14108
TOMASINO, LAWRENCE                 18213 SAXON DR                                                                             BEVERLY HILLS       MI 48025‐3115
TOMASITA CASTILLO                  95 ALBERT RD                                                                               PEMBROKE            NC 28372‐9176
TOMASITA MARTINEZ                  18960 HAMBURG ST                                                                           DETROIT             MI 48205‐2147
TOMASITA ORTEGA                    PO BOX 624                                                                                 CHAMISAL            NM 87521
TOMASKO, WALTER R                  12223 BETHANY AVE                                                                          CLEVELAND           OH 44111‐4677
TOMASKOVIC, ROBERT R               11056 SILICA RD                                                                            NORTH JACKSON       OH 44451‐9605
TOMASO JR, CHARLES A               7 FRANK DR                                                                                 MILFORD             MA 01757‐3468
TOMASOV, RALPH R                   1893 CARMEN RD                                                                             BARKER              NY 14012‐9666
TOMASOVIC JOANNE                   3040 E ROTAMER RD                                                                          JANESVILLE          WI 53546‐9338
TOMASOVIC, MARYBELLE               10862 ALBION RD                                                                            N ROYALTON          OH 44133‐2553
TOMASOVICH, MARY F                 1011 BERKSHIRE AVE                                                                         PITTSBURGH          PA 15226‐2218
TOMASSETTI, CHERYL                 190 GRAND ST APT 2                                                                         CROTON ON HUDSON    NY 10520
TOMASSI ACHILLE                    VIA ARGELATO,27                                                                            ROMA
TOMASSI ALFRONSO ERNEST (353917)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                    STREET, SUITE 600
TOMASSI, ALFONSO ERNEST            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
TOMASSI, GLORIA                    147 PILOT ST                                                                               ROCHESTER          NY   14606‐4131
TOMASSINI, RONALD G                62874 WALKER CT                                                                            WASHINGTON         MI   48094‐1554
TOMASSION, MAVIS J                 7508 DEERING ST                                                                            WESTLAND           MI   48185‐2614
TOMASSO JR, PHILLIP                9 CHARLENE DR                                                                              ROCHESTER          NY   14606‐3532
TOMASSO LUDOVICO                   PO BOX 403                                                                                 ALBION             RI   02802‐0403
TOMASSO, PETER                     131 WINDMILL TRL                                                                           ROCHESTER          NY   14624‐2457
TOMASSO, PHILIP                    11 DAISY LN                                                                                NORTH CHILI        NY   14514‐1404
TOMASSO, PHILLIP                   11 DAISEY LANE                                                                             NORTH CHILI        NY   14514‐1404
TOMASULA, JOHN D                   3040 N RIVER RD NE APT H24                                                                 WARREN             OH   44483‐3069
TOMASULA, THOMAS G                 3302 STONEWOOD DR                                                                          SANDUSKY           OH   44870‐6919
TOMASULO RICHARD                   25 AUGUST CRES                                                                             COMMACK            NY   11725‐5310
TOMASULO, BETTY                    212 NORMAL AVE                                                                             BUFFALO            NY   14213‐2519
TOMASULO, JOSEPH M                 2620 BEEBE RD                                                                              NEWFANE            NY   14108‐9641
TOMASULO, JOSEPH P                 225 KOENIG RD                                                                              TONAWANDA          NY   14150‐7503
TOMASULO, MARGARET B               ROYAL CREST APTS                 1806 KUSER RD                 APT 7                       HAMILTON           NJ   08690
TOMASULO, MARYANN                  212 NORMAL AVE                                                                             BUFFALO            NY   14213‐2519
TOMASUNAS, MARK                    4256 E 48TH ST                                                                             NEWAYGO            MI   49337‐9749
TOMASZ WARZECHA                    39938 WILMETTE DR                                                                          STERLING HTS       MI   48313‐5661
TOMASZ ZALEWSKI                    22064 GLENWOOD #5                                                                          CLINTON TOWNSHIP   MI   48035
TOMASZ, OLGA P                     72 ELIOT ST                                                                                ASHLAND            MA   01721‐2208
TOMASZCZYK, TED                    1080 VAN ESS AVE NW                                                                        GRAND RAPIDS       MI   49504‐3792
TOMASZEWICZ, DOROTHY               1702 ANDROS ISLE                                                                           COCONUT CREEK      FL   33066‐2825
TOMASZEWSKI LAWERENCE              1700 W PREDMORE RD                                                                         OAKLAND            MI   48363‐1235
                             09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                  Part 37 of 40 Pg 264 of 901
Name                         Address1                          Address2                        Address3   Address4         City               State Zip
TOMASZEWSKI, ANTHONY D       3511 JOSHUA DR                                                                                MILTON              WI 53563‐8542
TOMASZEWSKI, CARL J          6171 PARK BLVD                                                                                SOUTH ROCKWOOD      MI 48179‐9724
TOMASZEWSKI, CARL JAY        6171 PARK BLVD                                                                                SOUTH ROCKWOOD      MI 48179‐9724
TOMASZEWSKI, DANIEL C        3320 CORVAIR LN                                                                               SAGINAW             MI 48602‐3409
TOMASZEWSKI, DOLORES         7961 HIPP ST                                                                                  TAYLOR              MI 48180‐2641
TOMASZEWSKI, DONALD E        1904 W HAVENS ST                                                                              KOKOMO              IN 46901‐1857
TOMASZEWSKI, EDMUND L        6280 BOULDER DR                                                                               FLUSHING            MI 48433‐3538
TOMASZEWSKI, EDWARD R        23274 PATTERSON ST                                                                            CLINTON TWP         MI 48036‐1234
TOMASZEWSKI, FRANCES M       1404 FREMONT ST                                                                               BAY CITY            MI 48708‐8051
TOMASZEWSKI, FRANCES M       1404 FREMONT                                                                                  BAY CITY            MI 48708‐8051
TOMASZEWSKI, GORDON J        PO BOX 270                                                                                    HARTLAND            MI 48353‐0270
TOMASZEWSKI, HARRY E         983 CHERRY RIDGE DR                                                                           TRAVERSE CITY       MI 49686‐8392
TOMASZEWSKI, JENNIFER L      1306 GRAND AVE                                                                                JANESVILLE          WI 53546‐5393
TOMASZEWSKI, JENNIFER L      PO BOX 270                                                                                    HARTLAND            MI 48353‐0270
TOMASZEWSKI, JENNIFER LYNN   PO BOX 270                                                                                    HARTLAND            MI 48353‐0270
TOMASZEWSKI, JOANNE L        11514 LUMPKIN ST                                                                              HAMTRAMCK           MI 48212‐2908
TOMASZEWSKI, JOHN A          452 SPRUCE ST                                                                                 WYANDOTTE           MI 48192‐4040
TOMASZEWSKI, JOHN J          5160 PINE SHADOW LN                                                                           NORTH PORT          FL 34287‐2344
TOMASZEWSKI, LAWRENCE M      1700 W PREDMORE RD                                                                            OAKLAND             MI 48363‐1235
TOMASZEWSKI, LORRAINE V      30482 DOVER ST                                                                                FLAT ROCK           MI 48134‐1473
TOMASZEWSKI, MARK A          1306 GRAND AVE                                                                                JANESVILLE          WI 53546‐5393
TOMASZEWSKI, MARTHA I        6894 WELLER AVE NE                                                                            ROCKFORD            MI 49341‐9411
TOMASZEWSKI, MARTHA I        6894 WELLER                                                                                   ROCKFORD            MI 49341‐9411
TOMASZEWSKI, MARY L          7099 SPRUCEWOOD DR                                                                            DAVISON             MI 48423
TOMASZEWSKI, PATRICIA        2017 EAST DAYTON RD                                                                           CARO                MI 48723‐9476
TOMASZEWSKI, PATRICIA        2017 E DAYTON RD                                                                              CARO                MI 48723‐9476
TOMASZEWSKI, PAUL            6585 CROWNPOINTE DR SW                                                                        BYRON CENTER        MI 49315‐8211
TOMASZEWSKI, ROBERT V        223 AMHERST LN                                                                                CROSSVILLE          TN 38558‐8103
TOMASZEWSKI, RONALD J        196 TANASI LAGOON DR 6850                                                                     LOUDON              TN 37774
TOMASZEWSKI, STANLEY F       702 HOMEDALE ST                                                                               SAGINAW             MI 48604‐2348
TOMASZEWSKI, STEVEN M        9239 ROTONDO DR                                                                               HOWELL              MI 48855‐7134
TOMASZEWSKI, VALENTINE V     49089 WHITE MILL DR                                                                           SHELBY TOWNSHIP     MI 48317‐1679
TOMASZEWSKI, VICKI L         14241 BROOKINGS DR                                                                            STERLING HEIGHTS    MI 48313‐5413
TOMASZEWSKI, VIOLET K        306 KNIGHT STREET                 APT #12                                                     GRAYLING            MI 49738
TOMASZEWSKI, VIOLET K        306 KNIGHT ST APT 12                                                                          GRAYLING            MI 49738‐1983
TOMASZFSKI AMANDA            TOMASZFSKI, AMANDA                30 E BUTLER AVE                                             AMBLER              PA 19002‐4514
TOMASZFSKI, AMANDA           KIMMEL & SILVERMAN                30 E BUTLER AVE                                             AMBLER              PA 19002‐4514
TOMASZYCKI, JEROME S         1845 EDGEWOOD BLVD                                                                            BERKLEY             MI 48072‐1839
TOMASZYCKI, JOSEPH           36970 GORDON LN APT 152                                                                       HARRISON TWP        MI 48045‐2382
TOMASZYCKI, LARRY H          696 JEWELL ST                                                                                 FERNDALE            MI 48220‐2564
TOMASZYCKI, STELLA R         2359 PRAIRIE STREET                                                                           ANN ARBOR           MI 48105‐1475
TOMATORE, ANDREW G           10 LENAPE COURT                                                                               PINE GROVE          PA 17963‐9504
TOMATORE, ANDREW G           10 LENAPE CT                                                                                  PINE GROVE          PA 17963‐9504
TOMAW, PAUL J                3220 INDEPENDENCE DR APT 317                                                                  DANVILLE             IL 61832‐7924
TOMAYKO JR, KENNETH P        21344 PATTERSON DR                                                                            MACOMB              MI 48044‐1331
TOMAZIC FRANK (492194)       BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                               PROFESSIONAL BLDG
TOMAZIN, FRANCES             1762 STONE CREEK LANE                                                                         TWINSBURG          OH   44087‐2700
TOMAZIN, JAMES               8363 ABBEY RD                                                                                 N ROYALTON         OH   44133‐1109
TOMBALL COLLEGE              30555 STATE HIGHWAY 249                                                                       TOMBALL            TX   77375‐4096
TOMBALL ISD TAX OFFICE       PO BOX 4248                       DEPARTMENT 100                                              HOUSTON            TX   77210‐4248
TOMBARELLI, JOHN PHILIP      BOONE ALEXANDRA                   205 LINDA DR                                                DAINGERFIELD       TX   75638‐2107
                                09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                  Part 37 of 40 Pg 265 of 901
Name                            Address1                          Address2                           Address3   Address4         City               State Zip
TOMBARI, DONALD                 12277 RUTHERFORD RD                                                                              LYNDONVILLE         NY 14098‐9710
TOMBARI, MICHELE L              12295 RUTHERFORD RD                                                                              LYNDONVILLE         NY 14098‐9710
TOMBAUGH, LOUISE                PO BOX 334                        1215 N STINE RD                                                CHARLOTTE           MI 48813‐0334
TOMBAUGH, RAYMOND L             623 N COLLEGE RD                                                                                 MASON               MI 48854‐9544
TOMBERGS, INARA                 524 70TH ST                       C/O INGRID LANGELAND                                           DARIEN               IL 60561‐4052
TOMBERS, MICHAEL D              12709 W BEAVER DEN TRL                                                                           LOCKPORT             IL 60491‐9025
TOMBIGBEE EQUIPMENT LLC         PO BOX 1025                                                                                      DEMOPOLIS           AL 36732‐1025
TOMBLER, EUGENE A               24512 GREENHILL RD                                                                               WARREN              MI 48091‐1671
TOMBLIN, CLYDE D                506 W MAPLE ST                                                                                   HOOPESTON            IL 60942‐1752
TOMBLIN, EDWARD E               35993 WILLOW RD                                                                                  NEW BOSTON          MI 48164‐9201
TOMBLIN, ELIZABETH A            8113 S HURON RIVER DR                                                                            YPSILANTI           MI 48197‐8266
TOMBLIN, FRANKIE M              11 CLOVER LEAF CIR                                                                               CULLODEN            WV 25510‐9753
TOMBLIN, FRANKIE M              11 CLOVERLEA CIRCLE                                                                              CULLODEN            WV 25510‐9753
TOMBLIN, JUNIOR                 PO BOX 2127                                                                                      FAIRBORN            OH 45324‐8127
TOMBLIN, LEO W                  14795 LEFFINGWELL RD                                                                             BERLIN CENTER       OH 44401‐9621
TOMBLIN, MARY J                 2352 PENNY LANE                                                                                  YOUNGSTOWN          OH 44515‐4939
TOMBLIN, MARY J                 2352 PENNY LN                                                                                    YOUNGSTOWN          OH 44515‐4939
TOMBLIN, MELVIN J               2511 E. 1000 N ROAD                                                                              KANKAKEE             IL 60901
TOMBLIN, ROBERT E               2467 S WASHINGTON AVE APT 401B                                                                   TITUSVILLE          FL 32780
TOMBLIN, SHIRLEY                2467 S. WASHINGTON AVE.           B 401                                                          TITUSVILLE          FL 32780‐5070
TOMBLIN, STEVE L                14795 LEFFINGWELL RD                                                                             BERLIN CENTER       OH 44401‐9621
TOMBLIN, STEVE LEONARD          14795 LEFFINGWELL RD                                                                             BERLIN CENTER       OH 44401‐9621
TOMBOR, ANGELA M                5095 ALVA AVE NW                                                                                 WARREN              OH 44483‐1207
TOMBOR, ANGELA M                5095 ALVA N. W.                                                                                  WARREN              OH 44483‐1207
TOMBOR, STEVE P                 145 GLENDOLA AVE NW                                                                              WARREN              OH 44483‐1244
TOMBRAGEL GUENTHER              4441 TAMARISK DR                                                                                 OKLAHOMA CITY       OK 73120‐8112
TOMBRAGEL, GUENTHER             4441 TAMARISK DR                                                                                 OKLAHOMA CITY       OK 73120‐8112
TOMBRAGEL, KIM G                20 GREENWOOD DR                                                                                  BLUFFTON            SC 29910
TOMBSTONE/EASTPOINT             22418 BEECHWOOD AVE                                                                              EASTPOINTE          MI 48021‐3818
TOMCALA JR, FRANK D             1321 E HIBBARD RD                                                                                OWOSSO              MI 48867‐9708
TOMCALA JR, FRANK DOUGLAS       1321 E HIBBARD RD                                                                                OWOSSO              MI 48867‐9708
TOMCALA, AGNES A                1971 SEARL CT                                                                                    EAST LANSING        MI 48823‐3897
TOMCAVAGE, ALBERT L             1939 OLD READING RD LOT 159                                                                      CATAWISSA           PA 17820‐8082
TOMCHAK FRANK A                 1127 SOUTH LAKE DRIVE             UNIT 217                                                       NOVI                MI 48377‐1817
TOMCHAK, FRANK A                1127 S LAKE DR UNIT 217                                                                          NOVI                MI 48377‐1817
TOMCHANYI, STEVE R              3596 PINE CREEK RD                                                                               METAMORA            MI 48455‐9602
TOMCHEK, STANLEY J              650 FOREST ST                                                                                    COALPORT            PA 16627
TOMCHESON, JAMES M              2193 LEBLANC ST                                                                                  LINCOLN PARK        MI 48146
TOMCHICK, GARY P                PO BOX 164                                                                                       HARTLAND            MI 48353‐0164
TOMCHICK, JOSEPH E              1009 E WILLOW RUN DR                                                                             WILMINGTON          DE 19805‐1217
TOMCHIK MICHAEL R SR (448276)   CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND           OH 44115
                                GAROFOLI                          FL
TOMCHIK, JOHN                   14 HILLSIDE DR                                                                                   JACOBUS            PA 17407‐1207
TOMCHIK, MICHAEL R              CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                CLEVELAND          OH 44115
                                GAROFOLI                          FL
TOMCO PLASTIC INC               730 E SOUTH ST                                                                                   BRYAN              OH   43506‐2433
TOMCO, KENNETH A                APT 109                           6134 STUMPH ROAD                                               CLEVELAND          OH   44130‐1852
TOMCO, KENNETH ARTHUR           APT 109                           6134 STUMPH ROAD                                               CLEVELAND          OH   44130‐1852
TOMCO2 FIRE SYSTEMS             3340 ROSEBUD RD                                                                                  LOGANVILLE         GA   30052‐7328
TOMCZAK, BARBARA                4830 MELLOWSUN DR                                                                                BISMARCK           ND   58503
TOMCZAK, BETTY L                42134 TODDMARK LN                                                                                CLINTON TOWNSHIP   MI   48038‐5402
TOMCZAK, BRIAN C                5719 SUSIE LN                                                                                    PARADISE           CA   95969
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                               Part 37 of 40 Pg 266 of 901
Name                         Address1                       Address2                      Address3   Address4         City              State Zip
TOMCZAK, DANIEL              523 FRUITWOOD TER                                                                        WILLIAMSVILLE      NY 14221‐1905
TOMCZAK, DANIEL A            1607 S KIESEL ST                                                                         BAY CITY           MI 48706‐5296
TOMCZAK, DARRELL E           5382 SITKA ST                                                                            BURTON             MI 48519‐1522
TOMCZAK, ERNEST F            1410 FOXBORO LN                                                                          FLINT              MI 48532‐3701
TOMCZAK, GILBERT W           4546 BRADINGTON ST                                                                       SAGINAW            MI 48604‐1528
TOMCZAK, JACK R              152 ARDMORE WAY                                                                          BENICIA            CA 94510‐2051
TOMCZAK, JOHN L              1 ASHWOOD CIR                                                                            ROCHESTER          NY 14624‐4764
TOMCZAK, JOSEPH              25717 MARILYN AVE                                                                        WARREN             MI 48089‐4545
TOMCZAK, JOSEPH J            4394 CURTISVILLE RD                                                                      SOUTH BRANCH       MI 48761‐9705
TOMCZAK, JOYCE B             5191 HAMPTON PL                                                                          SAGINAW            MI 48604
TOMCZAK, KENNETH P           5352 WAKEFIELD RD                                                                        GRAND BLANC        MI 48439‐9020
TOMCZAK, KENNETH PAUL        5352 WAKEFIELD RD                                                                        GRAND BLANC        MI 48439‐9020
TOMCZAK, LARRY G             528 VERANO STREET                                                                        MEDINA             TN 38355‐6921
TOMCZAK, MARIE               407 WILSON ST                                                                            BAY CITY           MI 48708‐7759
TOMCZAK, MICHAEL E           48564 ROMA VALLEY APT 31‐P                                                               SHELBY TOWNSHIP    MI 48317
TOMCZAK, NICHOLAS L          910 S GARFIELD RD                                                                        LINWOOD            MI 48634‐9716
TOMCZAK, ROBERT P            3170 LANSDOWNE RD                                                                        WATERFORD          MI 48329‐2959
TOMCZAK, TERRI Z             340 LAUREL GREEN WAY                                                                     ALPHARETTA         GA 30022‐6648
TOMCZAK, THOMAS E            PO BOX 616                                                                               KAWKAWLIN          MI 48631
TOMCZAK, VINCENT R           7358 PORTER RD                                                                           GRAND BLANC        MI 48439‐8566
TOMCZAK, VIRGINIA ANN        4821 CARDINAL DR                                                                         BAY CITY           MI 48706‐9753
TOMCZAK‐CASTILLO, IRAIDA     383 DE SOTO DR                                                                           MIAMI SPRINGS      FL 33166‐6006
TOMCZIK KENNETH (429955)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                            STREET, SUITE 600
TOMCZIK, KENNETH             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                            STREET, SUITE 600
TOMCZYK JR, BRONISLAUS B     2942 WALCK DR                                                                            N TONAWANDA       NY   14120‐1128
TOMCZYK JR, BRONISLAUS BEN   2942 WALCK DR                                                                            N TONAWANDA       NY   14120‐1128
TOMCZYK, ANDREW J            2566 N JEBAVY DR                                                                         LUDINGTON         MI   49431‐8633
TOMCZYK, ANTHONY J           16566 DIXIE HWY                                                                          DAVISBURG         MI   48350‐1045
TOMCZYK, EDWARD A            28382 TIMOTHY RD                                                                         CHESTERFIELD      MI   48047‐4864
TOMCZYK, HENRY B             27602 LORRAINE AVE                                                                       WARREN            MI   48093‐4990
TOMCZYK, KIM F               606 ASHLUND AVE                                                                          WAKEFIELD         MI   49968‐1406
TOMCZYK, LAWRENCE            UL ZAKOW KRAKOWSKICH 20        KRAKOW POLAND 30441           POLAND
TOMCZYK, ROBERT F            266 MILFORD MEADOWS DR                                                                   MILFORD           MI   48381‐2911
TOMCZYK, STEPHANIE A         27602 LORRAINE AVE                                                                       WARREN            MI   48093‐4990
TOME, REBECCA                3 CORNELL RD                                                                             WILMINGTON        DE   19808‐3101
TOMECAL, MARY J              701 GRANDVIEW                                                                            NOEL              MO   64854‐9753
TOMECEK, ELEANOR C           1371 S OCEAN BLVD APT 111                                                                POMPANO BEACH     FL   33062‐7132
TOMECEK, GREGORY J           6503 CRANE RD                                                                            YPSILANTI         MI   48197‐8851
TOMECHKO, ALBERT J           34516 SUMMERHILL DR                                                                      AVON              OH   44011‐3200
TOMEI, ANDREW                325 LEERIE DR                                                                            ROCHESTER         NY   14612‐2993
TOMEI, VINCENT               131 HEBERLE RD                                                                           ROCHESTER         NY   14609‐1703
TOMEIKA ATWATER              2052 CAP ROCK LANE                                                                       GRAND PRAIRIE     TX   75052‐8871
TOMEK, FRANK J               1454 LEISURE DR                                                                          FLINT             MI   48507‐4057
TOMEK, GREGORY M             PO BOX 416                                                                               FLUSHING          MI   48433‐0416
TOMEK, JOHN                  1717 N. BRIDGEVIEW APT 20                                                                OLATHE            KS   66061
TOMEK, LAWRENCE C            250 POTOMAC RIVER RD                                                                     MONTEREY          VA   24465‐2229
TOMEK, PHILIP J              600 MORRISH RD                                                                           FLUSHING          MI   48433‐2247
TOMEKA BRENT                 PO BOX 7086                                                                              WHITE LAKE        MI   48386
TOMEKA E FRANK               5368 OAKTREE                                                                             FLINT             MI   48532
TOMEKA E FRANK               5366 OAKTREE                                                                             FLINT             MI   48532
                                  09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                        Part 37 of 40 Pg 267 of 901
Name                              Address1                           Address2                          Address3             Address4             City            State Zip
TOMEKA ORR                        5366 OAKTREE                                                                                                   FLINT            MI 48532
TOMEL FRED (ESTATE OF) (637469)   COONEY & CONWAY                    120 NORTH LASALLE STREET , 30TH                                             CHICAGO           IL 60602
                                                                     FLOOR
TOMEL, FRED                       COONEY & CONWAY                    120 NORTH LASALLE STREET, 30TH                                              CHICAGO          IL   60602
                                                                     FLOOR
TOMER ROBERT WAYNE SR (429956)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA 23510
                                                                     STREET, SUITE 600
TOMER, ALAN R                     42‐A DIX AVE                                                                                                   NEWBURGH        NY 12550
TOMER, ROBERT WAYNE               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA 23510‐2212
                                                                     STREET, SUITE 600
TOMER, SHIRLEY A                  1564 DIANA DR                                                                                                  BRUNSWICK       OH    44212‐3921
TOMER, SUZANNE                    247 SW 8TH ST 341                                                                                              MIAMI           FL    33130
TOMERINE, LARRY P                 13168 STATE ROUTE 534                                                                                          SALEM           OH    44460‐9132
TOMERLIN, SARAH J                 439 N CLEVELAND AVE                                                                                            NILES           OH    44446‐3813
TOMES, ELIZABETH                  9528 MURIEL AVE                                                                                                SAINT LOUIS     MO    63114‐2612
TOMES, SHIRLEY FAYE               PO BOX 10341                                                                                                   BOWLING GREEN   KY    42102‐7341
TOMEWO, SCOTT M                   1511 1ST ST APT 902                                                                                            DETROIT         MI    48226‐1359
TOMEY, DON W                      11669 W 700 N                                                                                                  FARMLAND        IN    47340‐9353
TOMEY, DOROTHY B                  3913 COLONIAL DR                                                                                               ANDERSON        IN    46012‐9444
TOMEY, GERALD D                   61644 WINDRIDGE CT                                                                                             CENTREVILLE     MI    49032‐9560
TOMEY, WILLIAM E                  14760 CAVELL ST                                                                                                LIVONIA         MI    48154‐3933
TOMHON, PETER M                   PO BOX 9022                                                                                                    WARREN          MI    48090‐9022
TOMI G HATFIELD                   3301 COTTAGE RD                                                                                                MORAINE         OH    45439‐1303
TOMI K CARDINALE                  3415 EAGLE CREEK RD.                                                                                           LEAVITTSBURG    OH    44430
TOMI WYCOFF                       1127 JOHN DALY ST                                                                                              INKSTER         MI    48141‐1991
TOMI, BARBARA BRAND               294 BURNETT RD                                                                                                 WEBSTER         NY    14580‐9159
TOMIAZZO PAOLO                    LA SCALA                           STUDIO LEGALE E TRIBUTARIO        CORSO MAGENTA N 42   20123 MILANO ITALY
TOMICA CULAFIC                    526 S 6TH AVE                                                                                                  LA GRANGE       IL    60525‐6715
TOMICH, ALAN D                    2947 CARLETON WEST RD                                                                                          CARLETON        MI    48117‐9237
TOMICH, ALAN DAVID                2947 CARLETON WEST RD                                                                                          CARLETON        MI    48117‐9237
TOMICH, CINDY L                   12240 W SHARON RD                                                                                              OAKLEY          MI    48469
TOMICH, JUDY V                    9285 S BYRON RD                                                                                                DURAND          MI    48429‐9416
TOMICH, LAWRENCE J                5817 S HARLEM AVE APT 3B                                                                                       CHICAGO         IL    60638‐3197
TOMICH, ROBERT C                  12240 W SHARON RD                                                                                              OAKLEY          MI    48649‐9718
TOMICH, ROBERT CARL               12240 W SHARON RD                                                                                              OAKLEY          MI    48649‐9718
TOMICH, STEVEN A                  9285 S BYRON RD                                                                                                DURAND          MI    48429‐9416
TOMICH, STEVEN ALAN               9285 S BYRON RD                                                                                                DURAND          MI    48429‐9416
TOMICH, VIOLA M                   11668 DORWOOD RD                                                                                               BURT            MI    48417‐2360
TOMICKI, MONICA V                 1529 IVY LN                                                                                                    MANISTEE        MI    49660‐1028
TOMIDY, GEORGE J                  APT 130                            1700 WATERFORD DRIVE                                                        VERO BEACH      FL    32966‐8062
TOMIE SHINLEVER                   1229 FOREST WALK DR                                                                                            CENTERVILLE     OH    45459‐4913
TOMIE SPENCER                     406 E PIPER AVE                                                                                                FLINT           MI    48505‐2874
TOMIKA L JEFFERSON                219 W KENNETT RD                                                                                               PONTIAC         MI    48340‐2653
TOMIKO JOHNSON                    PO BOX 290516                                                                                                  DAVIE           FL    33329‐0516
TOMIKO LOGAN                      318 INGLEWOOD DR                                                                                               ENTERPRISE      AL    36330‐4160
TOMILU NIELSON                    450 SANDEHURST DR                                                                                              GRAND BLANC     MI    48439‐1556
TOMILU T NIELSON                  450 SANDEHURST DR                                                                                              GRAND BLANC     MI    48439‐1556
TOMINA, GEORGE                    615 BEECH ST                                                                                                   WEST MIFFLIN    PA    15122‐1802
TOMINELLO, ROBERT D               1633 INDIAN CREEK DR                                                                                           TEMPERANCE      MI    48182‐9277
TOMINEY, PATRICK J                530 BONNIE BRAE AVE                                                                                            NILES           OH    44446‐3804
TOMINSKY JR, STANLEY J            7050 ELIZABETH LAKE RD                                                                                         WATERFORD       MI    48327‐3723
TOMINSKY, JAMES A                 431 MARION AVE                                                                                                 WATERFORD       MI    48328‐3233
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                  Part 37 of 40 Pg 268 of 901
Name                           Address1                              Address2                      Address3             Address4                City              State Zip
TOMINUS, ROBERT B              4305 REDWOOD DR                                                                                                  FORT PIERCE        FL 34951‐3327
TOMISLAV BUSKULIC              9200 WESTCHESTER DR                                                                                              LAINGSBURG         MI 48848‐9206
TOMISLAV GOREVSKI              80 ELDORA DR                                                                                                     ROCHESTER          NY 14624‐2515
TOMISLAV KUTLESA               951 W LATIMER AVE                                                                                                CAMPBELL           CA 95008‐0909
TOMISLAV STEFANOVIC            12 BERNA LANE                                                                                                    ROCHESTER          NY 14624‐4014
TOMISLAV SUSNJARA              1125 E 341ST ST                                                                                                  EASTLAKE           OH 44095‐2938
TOMIUK, WALTER A               25105 JEFFERSON CT                                                                                               SOUTH LYON         MI 48178‐1169
TOMJACK LAWRENCE (459401)      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK            VA 23510
                                                                     STREET, SUITE 600
TOMJACK, LAWRENCE              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA 23510‐2212
                                                                     STREET, SUITE 600
TOMKA MILENKOVSKA              5341 JOS CAMPAU                                                                                                  DETROIT           MI   48211
TOMKEWICZ CHARLES J (655735)   THORNTON EARLY & NAUMES             100 SUMMER ST LBBY 3                                                         BOSTON            MA   02110‐2104
TOMKEWICZ, CHARLES J           THORNTON EARLY & NAUMES             100 SUMMER ST LBBY 3                                                         BOSTON            MA   02110‐2104
TOMKIEWICZ JUDY                30637 APPLE GROVE WAY                                                                                            FLAT ROCK         MI   48134‐2741
TOMKIEWICZ, CRAIG M            10100 WARNER RD                                                                                                  MILAN             MI   48160‐9533
TOMKIEWICZ, CRAIG MICHAEL      10100 WARNER RD                                                                                                  MILAN             MI   48160‐9533
TOMKIEWICZ, DANIEL A           15226 LEGEND OAKS CT                                                                                             FORT MILL         SC   29707‐5873
TOMKIEWICZ, DARYL W            24381 PARKLANE DR                                                                                                FLAT ROCK         MI   48134
TOMKIEWICZ, DENISE L           10100 WARNER RD                                                                                                  MILAN             MI   48160‐9533
TOMKIEWICZ, DENISE LORAIN      10100 WARNER RD                                                                                                  MILAN             MI   48160‐9533
TOMKIEWICZ, ERIC               5 OAKLAND RD                                                                                                     OLD BRIDGE        NJ   08857
TOMKIEWICZ, GREGORY J          2845 KATIE LN                                                                                                    MILFORD           MI   48380‐2023
TOMKIEWICZ, JUDY A             30637 APPLE GROVE WAY                                                                                            FLAT ROCK         MI   48134‐2741
TOMKIEWICZ, KEVIN V            9050 SASHABAW RD                                                                                                 CLARKSTON         MI   48348‐2018
TOMKIEWICZ, LUCILLE R          701 ELM ST                          SP 53                                                                        BOULDER CITY      NV   89005‐2116
TOMKIEWICZ, MICHAEL E          30637 APPLE GROVE WAY                                                                                            FLAT ROCK         MI   48134‐2741
TOMKIEWICZ, NORMAN J           3740 HI DALE DR                                                                                                  LAKE ORION        MI   48360‐2421
TOMKIEWICZ, RENEE C            15226 LEGEND OAKS CT                                                                                             FORT MILL         SC   29707‐5873
TOMKIEWICZ, SCOTT J            3740 HI DALE DR                                                                                                  LAKE ORION        MI   48360‐2421
TOMKIEWICZ, THOMAS             14461 STONEHOUSE AVE                                                                                             LIVONIA           MI   48154‐4944
TOMKINS INDUSTRIES INC         PO BOX 129                          3900 DR GREAVES RD                                                           GRANDVIEW         MO   64030‐0129
TOMKINS PLC                    PO BOX 899                                                                                                       CONNERSVILLE      IN   47331‐0899
TOMKINS PLC                    JOHN VANEK                          2975 WATERVIEW DR                                                            ROCHESTER HILLS   MI   43809
TOMKINS PLC                    E PUTNEY HOUSE 84 UPPER RICHMOND RD                                                      LONDON SW15 2ST GREAT
                                                                                                                        BRITAIN
TOMKINS PLC                    ATTN: JAMES NICOL, JOHN ZIMMERMAN     E PUTNEY HOUSE 84 UPPER                            LONDON,GB,SW15
                                                                     RICHMOND RD                                        2ST,GREAT BRITAIN
TOMKINS PLC                    550 EVANS AVE                                                                            TORONTO ON M8W 2V6
                                                                                                                        CANADA
TOMKINS PLC                    8100 TRIDON DR                                                                                                   SMYRNA            TN 37167‐6603
TOMKINS PLC                    AV MALIK ASSAD 1600                                                                      JACAREI SP 12300‐071
                                                                                                                        BRAZIL
TOMKINS PLC                    CALLE 17 S/N 2A SECCION PARK INDUST                                                      ATLACOMULCO EM 50450
                                                                                                                        MEXICO
TOMKINS PLC                    DARREN GREENE                         1800 GATES BLVD./BOX 888                                                   ISLANDIA          NY   11749
TOMKINS PLC                    DAVID RUTKOWSKI                                                                                                  GALESBURG         IL   61401
TOMKINS PLC                    DYAN COCKELS                                                                                                     ELIZABETHTOWN     KY   42701
TOMKINS PLC                    FIELD JONES                           PO BOX 668                    PIEDMONT MFG                                 MANTECA           CA   95336‐1131
TOMKINS PLC                    CERRADA DE GALEANA #5                 COL FRACC IND LA LOMA                              TLALNEPANTLA EM 54060
                                                                                                                        MEXICO
TOMKINS PLC                    DYAN COCKELS                          101 GATES LN                  JEFFERSON DIVISION                           JEFFERSON         NC 28640‐9704
              09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                    Part 37 of 40 Pg 269 of 901
Name          Address1                            Address2                       Address3                   Address4                 City             State Zip
TOMKINS PLC   DYAN COCKELS                        C/O CABALLERO BROKERS INC      4605 MODERN INDUSTRIAL     SILAO GTO MEXICO
                                                                                 PARK
TOMKINS PLC   DYAN COCKELS                        DYNEER CORP                    3303 ETIENNE               WINDSOR, ONTARIO ON
                                                                                                            CANADA
TOMKINS PLC   DYAN COCKELS                        JEFFERSON DIVISION             101 GATES LANE                                      POPLAR BLUFF     MO 63901
TOMKINS PLC   DYAN E. COCKELS                     GATES CANADA                   1005 WILTON GROVE          LONDON ON CANADA
TOMKINS PLC   KANTI PATEL                         ENGINEERED PRODUCTS DIV.       2400 ROYAL WINDSOR DRIVE                            KINGS MOUNTAIN    NC 28086

TOMKINS PLC   ROB ALLEY                           ENGINEERED PRODUCTS DIV        1310 CORMORANT ROAD                                 TUCKER            GA 30085
TOMKINS PLC   KANTI PATEL                         PRECISION METAL COMPONENTS     1325 CORMORANT ROAD        ANCASTER ON CANADA
                                                  DIV
TOMKINS PLC   JOHN VANEK                          1300 S. PLAND RD/PO BOX 345                                                        JEFFERSON        NC 28640
TOMKINS PLC   JOHN VANEK                          PO BOX 345                     1300 S PLAND RD/                                    CHARLESTON       MO 63834‐0345
TOMKINS PLC   E PUTNEY HOUSE 84 UPPER RICHMOND RD LONDON GB SW15 2ST                                        GREAT BRITAIN

TOMKINS PLC   1005 WILTON GROVE RD                                                                          LONDON ON N5Y 5T5
                                                                                                            CANADA
TOMKINS PLC   101 EVERGREEN DR                                                                                                       SPRINGFIELD       TN 37172‐5862
TOMKINS PLC   2 MEADOWBANK RD                                                                               CARRICKFERGUS CO
                                                                                                            ANTRIM GB BT38 8YS
                                                                                                            GREAT BRITAIN
TOMKINS PLC   205 FRAZIER RD                                                                                                         ALTAVISTA         VA 24517‐1020
TOMKINS PLC   2400 ROYAL WINDSOR DR                                                                         MISSISSAUGA ON L5J 1K7
                                                                                                            CANADA
TOMKINS PLC   2430 ROYAL WINDSOR DR                                                                         MISSISSAUGA ON L5J 1K7
                                                                                                            CANADA
TOMKINS PLC   312 GUODAO SOUTH SIDE SHIN PING                                                               KUNSHAN KIANGHSI CN
                                                                                                            215332 CHINA (PEOPLE'S
                                                                                                            REP)
TOMKINS PLC   3303 ETIENNE ST BLVD                                                                          WINDSOR ON N8W 5B1
                                                                                                            CANADA
TOMKINS PLC   5300 JEFFERSON PKWY.                                                                                                   HILLIARD         OH 43026
TOMKINS PLC   PGO IND LES MALLOLES S/N                                                                      BALSARENY BARCELONA ES
                                                                                                            08660 SPAIN
TOMKINS PLC   RANDY CHUPKA EXT2228                300 HENRY ST                                              BRANTFORD ON N3T 5W1
                                                                                                            CANADA
TOMKINS PLC   MARIO VISCOSI                       RVANSOLINGEN@SCHRADER.CO.UK 11 TECHNOLOGY PK BELFAST                               BRIMFIELD         IN   46755
                                                                              RD
TOMKINS PLC   KANTI PATEL X4590                   2430 ROYAL WINDSOR DR.                                    RODNEY ON CANADA
TOMKINS PLC   KEN BRIDGES                         6500 MARBUT RD                                                                     LITHONIA         GA 30058‐5342
TOMKINS PLC   LARRY WYATT                         1650 ROWE PKWY              POPLAR BLUFF DIVISION                                  POPLAR BLUFF     MO 63901‐7014
TOMKINS PLC   LARRY WYATT                         POPLAR BLUFF DIVISION       1650 ROWE PKY                                          BARABOO          WI 53913
TOMKINS PLC   LIC ALBINO HERNANDEZ NO 7 PT                                                                  MATAMOROS TAMAULIPAS
                                                                                                            MX 87340 MEXICO
TOMKINS PLC   LINDA SCHIEN                        8100 TRIDON DR                                                                     SMYRNA            TN 37167‐6603
TOMKINS PLC   LINDA SCHIEN                        IDEAL DIVISION                 3200 PARKER DRIVE                                   AUBURN HILLS      MI 48326
TOMKINS PLC   MARIO VICOSI                        C/O SCHRADER ELECTRONICS       101 EVERGREEN DRIVE        REYNOSA TM 88570
                                                                                                            MEXICO
TOMKINS PLC   MARIO VISCOSI                       101 EVERGREEN DRIVE                                                                CONCORDVILLE      PA
TOMKINS PLC   MARIO VISCOSI                       C/O SCHRADER ELECTRONICS LTD   11 TECHNOLOGY PK‐BELFAST                            BELLEVILLE        MI 48111
                                                                                 RD
TOMKINS PLC
                          09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                            Part 37 of 40 Pg 270 of 901
Name                      Address1                       Address2                        Address3   Address4                 City               State Zip
TOMKINS PLC               1325 CORMORANT RD SS 76                                                   ANCASTER ON L9G 4V5
                                                                                                    CANADA
TOMKINS PLC               128 MONTEITH AVE                                                          STRATFORD ON N5A 2P5
                                                                                                    CANADA
TOMKINS PLC               1310 CORMORANT RD SS 76                                                   ANCASTER ON L9G 4V5
                                                                                                    CANADA
TOMKINS PLC               101 GATES LN                                                                                       JEFFERSON           NC 28640‐9704
TOMKINS PLC               11 TECHNOLOGY PK BELFAST RD                                               ANTRIM CO ANTRIM BT41
                                                                                                    1QS IRELAND
TOMKINS PLC               152 GROVE ST                                                                                       WALTHAM            MA 02453‐8325
TOMKINS PLC               1609 AIRPORT RD                                                                                    MONROE             NC 28110‐7393
TOMKINS PLC               1RO DE MAYO ESQ MARIE CURIE                                               TOLUCA MX 50070 MEXICO
TOMKINS PLC               JOHN VANEK                     42100 BRIANNA                                                       CLINTON TWP         MI   48038
TOMKINS, GARY A           574 COUNTY ROAD 7                                                                                  CLIFTON SPGS        NY   14432‐9729
TOMKINS, ROBERT G         PO BOX 523                                                                                         CLARKSTON           MI   48347‐0523
TOMKINSON, DONALD W       890 TUPPER CT                                                                                      LINDEN              MI   48451‐8509
TOMKINSON, DOROTHY        5417 HOWE RD                                                                                       GRAND BLANC         MI   48439‐7910
TOMKINSON, ELWYN L        9503 NEFF RD                                                                                       CLIO                MI   48420‐1628
TOMKINSON, GEORGE E       6562 HEATHER DR                                                                                    LOCKPORT            NY   14094‐1153
TOMKINSON, GERALD         1507 WILSON AVE                                                                                    MOUNT MORRIS        MI   48458‐1347
TOMKINSON, MILTON J       4437 THRUSHFIELD CT                                                                                FLINT               MI   48507‐5644
TOMKINSON, ROBERT D       11207 N WEBSTER RD                                                                                 CLIO                MI   48420‐8235
TOMKINSON, WAYNE F        245 ELMWOOD AVE APT 315                                                                            BUFFALO             NY   14222‐2223
TOMKO DANIEL T (472182)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA   23510
                                                         STREET, SUITE 600
TOMKO JOSEPH B            TOMKO, JOSEPH B                2325 GRANT BUILDING 330 GRANT                                       PITTSBURGH          PA 15219
                                                         STREET
TOMKO STEFANIE L          1232 172ND AVENUE NORTHEAST                                                                        BELLEVUE           WA    98008‐3014
TOMKO, ALICE D            305 KENMORE S.E.                                                                                   WARREN             OH    44483‐6148
TOMKO, ALICE D            305 KENMORE AVE SE                                                                                 WARREN             OH    44483‐6148
TOMKO, DANIEL T           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA    23510‐2212
                                                         STREET, SUITE 600
TOMKO, DEAN E             2709 SKYLINE DR                                                                                    WEST MIFFLIN       PA    15122‐3554
TOMKO, EDWARD A           850 HARMONY LN                                                                                     IRWIN              PA    15642‐2425
TOMKO, EDWARD J           11333 FLAGPOLE RD                                                                                  TOMAH              WI    54660‐8110
TOMKO, GEORGE P           5130 SARAH CIR                                                                                     WOOSTER            OH    44691‐5508
TOMKO, HARRY              8206 NEWPORT AVE                                                                                   PARMA              OH    44129‐1339
TOMKO, JOEY A             2165 CELESTIAL DR NE                                                                               WARREN             OH    44484
TOMKO, JOHN L             49278 SILVER BIRCH CIR                                                                             SHELBY TOWNSHIP    MI    48315‐3865
TOMKO, MARIE A            1436 WESTHAMPTON DRIVE                                                                             PLAINFIELD         IL    60544‐5863
TOMKO, MARY               289 IDYLWILD N.E.                                                                                  WARREN             OH    44483‐3431
TOMKO, MARY               289 IDYLWILD ST NE                                                                                 WARREN             OH    44483‐3431
TOMKO, MARY ANN           13443 LILLIAN LN                                                                                   STERLING HEIGHTS   MI    48313‐2643
TOMKO, THOMAS A           1810 FAR NIENTE                                                                                    SAN ANTONIO        TX    78258‐4515
TOMKO, THOMAS A           9395 DORAL DR SE                                                                                   WARREN             OH    44484‐2152
TOMKOSKI, RUSSELL A       93 PRENTICE AVE                                                                                    SOUTH RIVER        NJ    08882‐2207
TOMKOSKI, WALTER J        1079 RIDGE RD                                                                                      PINE HALL          NC    27042
TOMKOVICH, MARY           5 OMAHA DR                                                                                         CRANFORD           NJ    07016‐3317
TOMKOVICH, MARY           5 OMAHA DRIVE                                                                                      CRANFORD           NJ    07016‐3317
TOMKOWSKI, FLORENCE T     3871 SHELDON ROAD                                                                                  ORCHARD PARK       NY    14127‐2105
TOMKOWSKI, FLORENCE T     3871 SHELDON RD                                                                                    ORCHARD PARK       NY    14127‐2105
TOMLEIWICZ GREG           2845 KATIE LN                                                                                      MILFORD            MI    48380‐2023
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                        Part 37 of 40 Pg 271 of 901
Name                                  Address1                            Address2                        Address3   Address4            City               State Zip
TOMLIAN, JEROME A                     320 STATE ST                                                                                       WEST BRANCH         MI 48661‐1138
TOMLIN AUTO SERVICE                   96 RUSSETT AVE.                                                                OSHAWA ON L1G 3R5
                                                                                                                     CANADA
TOMLIN CHARLES (ESTATE OF) (633909)   BARON & BUDD                        8501 WILSHIRE BOULEVARD SUITE                                  BEVERLY HILLS      CA 90211
                                                                          305
TOMLIN EXCAVAT INC                    625 SPRINGDALE RD                                                                                  BIRMINGHAM         AL 35217‐2067
TOMLIN LEONARD (665276)               ZAMLER, MELLEN & SHIFFMAN           23077 GREENFIELD RD STE 557                                    SOUTHFIELD         MI 48075‐3727
TOMLIN RAYBURN H JR (494269)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                          STREET, SUITE 600
TOMLIN TOLEDO CO INC                  242 POPLAR ST                                                                                      TOLEDO             OH 43605‐1949
TOMLIN WILLIAM                        TOMLIN, WILLIAM                     4201 W PARMER LN STE A250                                      AUSTIN             TX 78727‐4115
TOMLIN WILLIAM O SR (626810)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                          STREET, SUITE 600
TOMLIN, ADRIANA G                     421 LAFAYETTE                                                                                      NILES              OH   44446‐3112
TOMLIN, ADRIANA G                     421 LAFAYETTE AVE                                                                                  NILES              OH   44446‐3112
TOMLIN, AMY L                         1990 BEAVER CREEK DR                                                                               ROCHESTER          MI   48307‐6020
TOMLIN, AVANELL H                     897 WILLARD AVE SE                                                                                 WARREN             OH   44484‐4433
TOMLIN, AVANELL H                     897 WILLARD SE                                                                                     WARREN             OH   44484‐4433
TOMLIN, BILLY R                       1633 ONEIDA TRL                                                                                    LAKE ORION         MI   48362‐1245
TOMLIN, CARMEN                        1500 NW 179TH TER                                                                                  EDMOND             OK   73012‐4008
TOMLIN, CAROLYN                       7011 WOODROW AVE                                                                                   SAINT LOUIS        MO   63121‐5119
TOMLIN, CHARLES                       BARON & BUDD                        8501 WILSHIRE BLVD STE 305                                     BEVERLY HILLS      CA   90211‐3117
TOMLIN, CHARLES                       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                   SAGINAW            MI   48604‐2602
                                                                          260
TOMLIN, DONNIE                        5232 ALABAMA AVE                                                                                   SAINT LOUIS        MO   63111‐1630
TOMLIN, GALE L                        456 SPRINGSIDE DR                                                                                  KETTERING          OH   45440‐4457
TOMLIN, GARY L                        414 HARDEN ST                                                                                      HOLLY              MI   48442‐1746
TOMLIN, GEORGE W                      1961 W 700 S                                                                                       JONESBORO          IN   46938‐9767
TOMLIN, HUGH G                        604 LAWNVIEW AVE                                                                                   SPRINGFIELD        OH   45505‐5505
TOMLIN, J L                           1641 ROCK SPRINGS LN                                                                               WOODSTOCK          GA   30188
TOMLIN, J L                           968 ARNOLD MILL RD                                                                                 WOODSTOCK          GA   30188‐3100
TOMLIN, JACK L                        41 WESTBEND CT                                                                                     O FALLON           MO   63368‐8823
TOMLIN, JAMES C                       4162 S HARVARD BLVD                                                                                LOS ANGELES        CA   90062‐1734
TOMLIN, JANICE A                      674 POMEROY ROAD                                                                                   NIPOMO             CA   93444‐8508
TOMLIN, JEFFREY N                     305 SCARLET PEAK CT                                                                                CRANBERRY TWP      PA   16066‐4845
TOMLIN, LEONARD                       ZAMLER, MELLEN & SHIFFMAN           23077 GREENFIELD RD STE 557                                    SOUTHFIELD         MI   48075‐3727
TOMLIN, LIONEL                        2003 POCO DR                                                                                       MISSOURI CITY      TX   77489‐5938
TOMLIN, MAYBELLE R                    41150 BERMUDA DR                                                                                   STERLING HEIGHTS   MI   48314‐2073
TOMLIN, MINDY E                       8425 N BIRDIE LN                                                                                   EVANSVILLE         WI   53536‐9300
TOMLIN, NORETHA ANN                   35540 MARGARET ST APT 106                                                                          ROMULUS            MI   48174
TOMLIN, NORMAN E                      219 N 3RD ST                                                                                       EVANSVILLE         WI   53536‐1034
TOMLIN, PAUL P                        6376 S XANADU WAY                                                                                  CENTENNIAL         CO   80111‐2468
TOMLIN, PAUL P                        2 E BRIARWOOD ST                                                                                   SHAWNEE            OK   74804‐2354
TOMLIN, RAMONA S                      4071 ADRIAN DR SE                                                                                  WARREN             OH   44484‐2751
TOMLIN, RAMONA S                      4071 ADRAIN DR. S.E.                                                                               WARREN             OH   44484‐2751
TOMLIN, RAYBURN H                     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510‐2212
                                                                          STREET, SUITE 600
TOMLIN, ROSALIND L                    24414 SCHOOLCRAFT                                                                                  REDFORD            MI   48239‐2633
TOMLIN, ROSALIND L.                   24414 SCHOOLCRAFT                                                                                  REDFORD            MI   48239‐2633
TOMLIN, ROSEMARY                      12670 HOLLYGLEN CIR                                                                                RIVERSIDE          CA   92503‐4616
TOMLIN, ROY C                         6620 SUBTLE RD                                                                                     EDMONTON           KY   42129‐9112
TOMLIN, SILBURN G                     3470 PASADENA DR                                                                                   TROY               MI   48083‐5947
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                 Part 37 of 40 Pg 272 of 901
Name                          Address1                              Address2                         Address3                Address4         City               State Zip
TOMLIN, STEFANIE
TOMLIN, SUSAN C               41 WESTBEND CT                                                                                                  O FALLON           MO    63368‐8823
TOMLIN, THOMAS A              2800 W PRESERVE LN                                                                                              MUNCIE             IN    47304‐5893
TOMLIN, VERNON A              15 ORCHID RD                                                                                                    PENNSVILLE         NJ    08070‐3218
TOMLIN, WILLIAM J             GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                              PITTSBURGH         PA    15219

TOMLIN, WILLIAM O             GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA 23510‐2212
                                                                    STREET, SUITE 600
TOMLINSON DEBORAH             TOPLINSON, DEBORAH                    STATE FARM INSURANCE             PO BOX 953                               FREDERICK          MD 21705
TOMLINSON DOUGLAS N           TOMLINSON, ROSEMARY                   MCCOY TURNAGE & ROBERTSON        16496 BERNARDO CENTER                    SAN DIEGO          CA 92128
                                                                                                     DRIVE SUITE 101
TOMLINSON DOUGLAS N           TOMLINSON, DOUGLAS N                  16496 BERNARDO CENTER DRIVE                                               SAN DIEGO           CA 92128
                                                                    SUITE 101
TOMLINSON ELOISA              PO BOX 15865                                                                                                    FERNANDINA BEACH    FL 32035‐3115
TOMLINSON JOHNNY L (429957)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA 23510
                                                                    STREET, SUITE 600
TOMLINSON JR, NICHOLAS L      496 S MAPLELEAF RD                                                                                              LAPEER              MI   48446
TOMLINSON JR, NICHOLAS L      3318 CLAIRMONT ST                                                                                               FLINT               MI   48503‐6610
TOMLINSON JR, WESLEY D        1828 NORTHUMBERLAND DR                                                                                          ROCHESTER HILLS     MI   48309‐3047
TOMLINSON LEON H (626811)     GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA   23510
                                                                    STREET, SUITE 600
TOMLINSON MARK                TOMLINSON, MARK                       120 WEST MADISON STREET , 10TH                                            CHICAGO             IL   60602
                                                                    FLOOR
TOMLINSON MOTOR SERVICE       213 S ELIZABETH ST                                                                                              LIMA               OH    45801‐4803
TOMLINSON PAMELA              8725 CROSS CHASE CIR                                                                                            FAIRFAX STATION    VA    22039‐3357
TOMLINSON, ALAN               4006 TAMARIND DR                                                                                                BETHLEHEM          PA    18020‐7652
TOMLINSON, BETTY R            2227 NOMAD AVE                                                                                                  DAYTON             OH    45414‐3360
TOMLINSON, BLAKNEY E          7283 N JENNINGS RD                                                                                              MOUNT MORRIS       MI    48458‐9305
TOMLINSON, CARL L             PO BOX 9022                           C/O ADAM OPEL 42‐61                                                       WARREN             MI    48090‐9022
TOMLINSON, CAROL A            916 WINTERGREEN DR                                                                                              HASTINGS           MI    49058‐9024
TOMLINSON, CHARLENE M         2632 SE 19TH PL                                                                                                 CAPE CORAL         FL    33904‐3225
TOMLINSON, CHARLES G          347 WEST WOODS MHP                                                                                              AMHERST            OH    44001
TOMLINSON, CHARLES M          29475 BRIARBANK CT                                                                                              SOUTHFIELD         MI    48034‐4626
TOMLINSON, DALE H             1801 SUNSET DR                                                                                                  CARO               MI    48723‐9140
TOMLINSON, DAVID W            341 S ELLINGTON PKWY APT 129                                                                                    LEWISBURG          TN    37091‐3467
TOMLINSON, DONALD E           5233 US HIGHWAY 17 S                                                                                            NEW BERN           NC    28562‐9681
TOMLINSON, DONALD R           7283 N JENNINGS RD                                                                                              MOUNT MORRIS       MI    48458‐9305
TOMLINSON, DOROTHY S          953 N. ROCKWELL DR.                                                                                             MIDLAND            MI    48642‐9309
TOMLINSON, DOROTHY S          953 ROCKWELL DR                                                                                                 MIDLAND            MI    48642‐9309
TOMLINSON, DOUGLAS N          MCCOY TURNAGE & ROBERTSON             16496 BERNARDO CENTER DRIVE                                               SAN DIEGO          CA    92128
                                                                    SUITE 101
TOMLINSON, ELEANOR M          39 PRINCETON CT                                                                                                 LANGHORNE           PA   19047‐1644
TOMLINSON, ELEANOR M          39 PRINCETON CRT                                                                                                LANGHORNE           PA   19047
TOMLINSON, ELIZABETH L        562 JOHNNY RICHARDSON RD                                                                                        ERIN                TN   37061‐5311
TOMLINSON, ELIZABETH V        3794 LONG GROVE LN                                                                                              PORT ORANGE         FL   32129‐8617
TOMLINSON, EMILY A            5207 BERNEDA DR                                                                                                 FLINT               MI   48506‐1583
TOMLINSON, ERNA C             868 S WASHINGTON ST                   C/O MORRISTOWN MANOR                                                      MORRISTOWN          IN   46161‐9633
TOMLINSON, ESTER S            1422 E 600 N                                                                                                    ALEXANDRIA          IN   46001‐8787
TOMLINSON, FLORENCE L         3083 ISLAND HWY                                                                                                 CHARLOTTE           MI   48813‐9317
TOMLINSON, GARY J             11240 S AVON AVE                                                                                                MERRIONETTE PARK    IL   60803‐6800
TOMLINSON, GEHRIG N           1780 KIRBY RD                                                                                                   LESLIE              MI   49251‐9436
TOMLINSON, GERALD A           624 N SHORT 12TH ST                                                                                             ELWOOD              IN   46036‐1252
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                               Part 37 of 40 Pg 273 of 901
Name                        Address1                             Address2                      Address3   Address4         City               State Zip
TOMLINSON, GERALD ANTHONY   624 N SHORT 12TH ST                                                                            ELWOOD              IN 46036
TOMLINSON, GLEN L           10 MANOR DR APT 9                                                                              GREENFIELD          IN 46140‐8174
TOMLINSON, GUYLA F          9231 CALOOSA DR                                                                                NORTH FORT MYERS    FL 33903‐2163
TOMLINSON, GUYLA F          9231 COLOOSA DR.                                                                               N. FT. MYERS        FL 33903‐2163
TOMLINSON, HUBERT R         PO BOX 5286                                                                                    KINGSPORT           TN 37663‐0286
TOMLINSON, IRENE M          PO BOX 09114                                                                                   DETROIT             MI 48209‐0114
TOMLINSON, JACK L           3611 MARRIOT DR                                                                                ANDERSON            IN 46013‐2227
TOMLINSON, JAMES K          134 DIABLO WAY                                                                                 OXNARD              CA 93033‐6945
TOMLINSON, JAMES L          PO BOX 25                                                                                      EASTPORT            MI 49627‐0025
TOMLINSON, JAMES P          425 SUMMIT BLVD                                                                                LAKE ORION          MI 48362‐2668
TOMLINSON, JAMES PRICE      425 SUMMIT BLVD                                                                                LAKE ORION          MI 48362‐2668
TOMLINSON, JEFFREY A        6306 N BELSAY RD                                                                               FLINT               MI 48506‐1202
TOMLINSON, JEFFREY ALLAN    6306 N BELSAY RD                                                                               FLINT               MI 48506‐1202
TOMLINSON, JERRY G          5623 W 29TH PL                                                                                 SPEEDWAY            IN 46224‐3312
TOMLINSON, JERRY R          102 MCLAUGHLIN DR                                                                              UNION               OH 45322‐2930
TOMLINSON, JOAN M           7229 EDWARD                                                                                    CENTER LINE         MI 48015‐1008
TOMLINSON, JOANNE E         2601 S 550 RD                                                                                  MIAMI               OK 74354
TOMLINSON, JOHN M           266 E COGGINS RD                                                                               PINCONNING          MI 48650‐7478
TOMLINSON, JOHN R           1521 WYOMING AVE                                                                               FLINT               MI 48506‐2711
TOMLINSON, JOHN RUSSELL     1521 WYOMING AVE                                                                               FLINT               MI 48506‐2711
TOMLINSON, JOHNNY L         GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                 STREET, SUITE 600
TOMLINSON, JOSEPH R         243 LITTLE BRITAIN RD                                                                          NOTTINGHAM         PA   19362‐9015
TOMLINSON, JOSEPH S         6772 BRIDGE WAY                                                                                COLUMBUS           GA   31904‐1371
TOMLINSON, JUNE L           1605 NORTH K ST                                                                                ELWOOD             IN   46036‐1142
TOMLINSON, JUNE L           1605 N K ST                                                                                    ELWOOD             IN   46036‐1142
TOMLINSON, JUNE L.          4624 WILD TURKEY TRL                                                                           ARLINGTON          TX   76016‐1954
TOMLINSON, KEVIN H          8 JOHNSON PL                                                                                   EDGEWATER PARK     NJ   08010‐2010
TOMLINSON, LARRY E          5546 ISLAND VIEW DR.                                                                           CELINA             OH   45822‐8197
TOMLINSON, LEON H           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                 STREET, SUITE 600
TOMLINSON, LINDA L          605 S HOLLAND ST                                                                               EDINBURGH          IN   46124‐1619
TOMLINSON, LISA F           6092 CEZANNE CT                                                                                ROANOKE            VA   24018‐5316
TOMLINSON, LLOYD D          6049 HILLGLEN DR                                                                               WATAUGA            TX   76148‐1355
TOMLINSON, LOU A            1305 BROWNSWOOD DR                                                                             BROWNSBURG         IN   46112
TOMLINSON, MARGARET A       3611 MARRIOT DR                                                                                ANDERSON           IN   46013‐2227
TOMLINSON, MARGARET C       202 HUNTERS RIDGE DR.                                                                          JONESBORO          AR   72404‐0583
TOMLINSON, MARILYN I        2038 ALBANY AVE                                                                                WEST HARTFORD      CT   06117‐2702
TOMLINSON, MARK             INDIANA INSURACE CLAIMS DEPARTMENT ‐ 350 E 96TH ST                                             INDIANAPOLIS       IN   46240‐3702
                            01G
TOMLINSON, MARK S           2506 HOLLY BROOK LN APT 1106                                                                   ARLINGTON          TX   76006‐5185
TOMLINSON, MARSHA K         1166 W 700 N                                                                                   ALEXANDRIA         IN   46001‐8225
TOMLINSON, MARTHA D         1601 N MORRISON RD                                                                             MUNCIE             IN   47304‐5329
TOMLINSON, MARTHA D         1601 NORTH MORRISON ROAD                                                                       MUNCIE             IN   47304‐5329
TOMLINSON, MARTHA J         1242 ROOSEVELT AVE                                                                             FLINT              MI   48503‐4813
TOMLINSON, MARVIN E         1504 VANCE AVE                                                                                 FORT WAYNE         IN   46805‐2246
TOMLINSON, MAUREEN E        8 ROBIN CIR APT 6                                                                              NORTON             MA   02766‐2240
TOMLINSON, MERLE C          7493 MT ZION BLVD APT 74             CARESTONE ASSISTED LIVING                                 JONESBORO          GA   30236
TOMLINSON, NICHOLAS V       11487 HAVEN ST                                                                                 CLIO               MI   48420‐1512
TOMLINSON, NORMA J          2744 CARLISLE HWY                                                                              CHARLOTTE          MI   48813‐8504
TOMLINSON, PAUL W           1166 W 700 N                                                                                   ALEXANDRIA         IN   46001‐8225
TOMLINSON, RENEE            417 BIRDS NEST LN                                                                              MASON              MI   48854‐1151
                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                           Part 37 of 40 Pg 274 of 901
Name                     Address1                       Address2                      Address3   Address4                   City            State Zip
TOMLINSON, RENEE K       417 BIRDS NEST LN                                                                                  MASON            MI 48854‐1151
TOMLINSON, ROBERT        228 BURTON CEMETERY RD                                                                             MITCHELL         IN 47446‐7624
TOMLINSON, ROBERT A      7043 REID RD                                                                                       SWARTZ CREEK     MI 48473‐9422
TOMLINSON, ROBERT C      44585 FOREST TRAIL DR                                                                              CANTON           MI 48187‐1702
TOMLINSON, ROBERT CARL   44585 FOREST TRAIL DR                                                                              CANTON           MI 48187‐1702
TOMLINSON, ROBERT D      7621 MARSHALL RD                                                                                   MILTON           FL 32583‐8695
TOMLINSON, ROBERT H      1601 NORTH MORRISON ROAD                                                                           MUNCIE           IN 47304‐5329
TOMLINSON, ROSEMARY      MCCOY TURNAGE & ROBERTSON      16496 BERNARDO CENTER DRIVE                                         SAN DIEGO        CA 92128
                                                        SUITE 101
TOMLINSON, RUSSELL L     STATE ROUTE 41 SOUTH 3381                                                                          BAINBRIDGE      OH   45612
TOMLINSON, SARAH A       335 NUTMEG CT                                                                                      CIRCLEVILLE     OH   43113‐1194
TOMLINSON, SHEILA M      983 MIRROR LAKE LN                                                                                 CORDOVA         TN   38018‐2839
TOMLINSON, SHELLY C      PO BOX 9022                                                                                        WARREN          MI   48090‐9022
TOMLINSON, STEPHEN D     102 MCLAUGHLIN DR                                                                                  UNION           OH   45322‐2930
TOMLINSON, STEVEN W      1305 BROWNSWOOD DR                                                                                 BROWNSBURG      IN   46112‐1909
TOMLINSON, SUSAN A       1341 TRANSUE AVE                                                                                   BURTON          MI   48509‐2413
TOMLINSON, SUSAN M       28371 COUNTRY ROAD 388                                                                             GOBLES          MI   49055
TOMLINSON, TERESA A      6306 N BELSAY RD                                                                                   FLINT           MI   48506‐1202
TOMLINSON, TERESA ANN    6306 N BELSAY RD                                                                                   FLINT           MI   48506‐1202
TOMLINSON, THOMAS J      27778 IRWIN RD                                                                                     RICHMOND        MI   48062‐2629
TOMLINSON, THOMAS M      478 MONACO DR                                                                                      PUNTA GORDA     FL   33950‐7842
TOMLINSON, THOMAS M      478 MONACO DRIVE                                                                                   PUNTA GORDA     FL   33950‐7842
TOMLINSON, VERA H        7853 46TH ST                                                                                       LYONS           IL   60534‐1850
TOMLINSON, VIRGINIA      2443 W STATE ROAD 38                                                                               PENDLETON       IN   46064
TOMLINSON, WALLACE A     18509 GRIGGS ST                                                                                    DETROIT         MI   48221‐1935
TOMLINSON, WAYNE R       3116 SNOWY CT                                                                                      ANDERSON        IN   46012‐9561
TOMLINSON, WILLIAM J     1895 E 700 N                                                                                       ALEXANDRIA      IN   46001‐8735
TOMM MCLEAN              5455 W MOUNT MORRIS RD                                                                             MOUNT MORRIS    MI   48458‐9483
TOMMA COLSTON            1724 MIDDLE POINT DR                                                                               ALGER           MI   48610‐8532
TOMMASELLA ROBERTO       TOMMASELLA ROBERTO             VIA N TOMMASEO 46                        30027 SAN DONA' DI PIAVE
                                                                                                 (VE)
TOMMASELLA ROBERTO       VIA N TOMMASEO 46                                                       30027 SAN DONA' DI PIAVE
                                                                                                 (VE) ITALY
TOMMASO CHIARELLA        2202 JURON DR                                                                                      NIAGARA FALLS   NY 14304‐1835
TOMMASO CITO             AM UANINSBERG 46                                                        50226 FRECHEN GERMANY
TOMMASO CITO             AM KANINSBERG 46               50226 FRECHEN                 GERMANY                               FRECHEN         DE   50226
TOMMASO MENDICINO        8431 STANSBURY AVE                                                                                 PANORAMA CITY   CA   91402‐3740
TOMMASO PERNA            21154 PRESTWICK                                                                                    FARMINGTN HLS   MI   48335‐4807
TOMMASONE, LINDA         167 HICKORY VIEW DRIVE                                                                             NEW CASTLE      PA   16102‐2805
TOMMET, THOMAS C         11271 E GOULD DR                                                                                   WHITEWATER      WI   53190‐3302
TOMMI L BRANSTETTER      1102 SE 13TH ST                                                                                    WAGONER         OK   74467‐8140
TOMMIE A JAMES           7278 NICHOLS RD                                                                                    FLUSHING        MI   48433‐9273
TOMMIE A SMITH           2677 NORTH EMERALD DRIVE                                                                           FAIRBORN        OH   45431‐8727
TOMMIE ACOFF             84 MONTANA AVE                                                                                     BUFFALO         NY   14211‐1639
TOMMIE ADAMS             269 BONDALE AVE                                                                                    PONTIAC         MI   48341‐2721
TOMMIE ALEXANDER JR      1000 LEDGE RD                                                                                      MACEDONIA       OH   44056‐1116
TOMMIE ALLEN             512 S 23RD ST                                                                                      SAGINAW         MI   48601‐1544
TOMMIE AMERSON JR        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                           HOUSTON         TX   77007
                         BOUNDAS LLP
TOMMIE ANDERSON          6133 W 100 N                                                                                       TIPTON          IN 46072‐8672
TOMMIE B WILLIAMS        920 SCIOTO AVE.                                                                                    YOUNGSTOWN      OH 44505‐3754
TOMMIE BAILEY            2223 SKYLARK DR                                                                                    ARLINGTON       TX 76010‐8111
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                          Part 37 of 40 Pg 275 of 901
Name                  Address1                         Address2                     Address3   Address4         City            State Zip
TOMMIE BARNES         21021 DELAWARE ST                                                                         SOUTHFIELD       MI 48033‐3621
TOMMIE BEARD          155 FRIENDSHIP RD                                                                         CONWAY           AR 72032‐9505
TOMMIE BECK           11530 WEDD ST APT 8                                                                       OVERLAND PARK    KS 66210‐3235
TOMMIE BENNETT        3416 DORIS WALKER TRL                                                                     BURLESON         TX 76028‐3276
TOMMIE BERRY          15501 HARVARD AVE                                                                         CLEVELAND        OH 44128‐2041
TOMMIE BLAIR          9487 N VASSAR RD                                                                          MOUNT MORRIS     MI 48458‐9768
TOMMIE BLAKELY        1944 HIGH LOG RD                                                                          FITZPATRICK      AL 36029‐5126
TOMMIE BLANCHARD JR   14039 WISCONSIN ST                                                                        DETROIT          MI 48238‐2373
TOMMIE BRADLEY        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
TOMMIE BRANDON        116 MUNSON DR                                                                             SYRACUSE         NY 13205‐2811
TOMMIE BRASWELL       1485 COUNTY ROAD 327                                                                      DANVILLE         AL 35619‐8541
TOMMIE BRENT          259 COLEBROOK AVE                                                                         JACKSON          MS 39209‐2413
TOMMIE BREWER         13377 NC210 HWY E                                                                         IVANHOE          NC 28447
TOMMIE BRIDGES        471 COUNTY ROAD 521                                                                       RIPLEY           MS 38663‐8448
TOMMIE BRIDGES JR     3349 W CREEDY RD                                                                          BELOIT           WI 53511‐8710
TOMMIE BROOKS         1236 DUENKE DR                                                                            SAINT LOUIS      MO 63137‐1103
TOMMIE BROWN          PO BOX 73                                                                                 SENECA           SC 29679‐0073
TOMMIE BROWN          821 E BUNDY AVE                                                                           FLINT            MI 48505‐2203
TOMMIE BROWN          7070 BELLE POINTE DR                                                                      BELLEVILLE       MI 48111‐5355
TOMMIE BRUTTON        PO BOX 420339                                                                             PONTIAC          MI 48342‐0339
TOMMIE BRYSON         374 W TYRRELL RD                                                                          MORRICE          MI 48857‐9678
TOMMIE BUCHANON       3111 MANN RD                                                                              WATERFORD        MI 48329‐2259
TOMMIE BURNEY         3870 CHARLES ST                                                                           DETROIT          MI 48212‐2332
TOMMIE BYRD           1915 34TH AVE                                                                             MERIDIAN         MS 39301‐2818
TOMMIE CALDWELL       1101 ARAPAHO DR                                                                           BURTON           MI 48509‐1417
TOMMIE CALDWELL       11014 CLEVELAND AVE                                                                       KANSAS CITY      KS 66109‐3608
TOMMIE CANNADY JR     28363 LADY K CT                                                                           SOUTHFIELD       MI 48034‐5620
TOMMIE CANNON JR      551 SUNSHINE AVE                                                                          YOUNGSTOWN       OH 44505‐3542
TOMMIE CARR           14504 SANGAMON ST                                                                         HARVEY            IL 60426‐1824
TOMMIE CARTER         921 BARNES RD                                                                             CARTHAGE         MS 39051‐8617
TOMMIE CATCHINGS      80 BESSFORD STREET                                                                        HIGHLAND PARK    MI 48203
TOMMIE CHAMBERLAIN    1504 ARROW AVE                                                                            ANDERSON         IN 46016‐3232
TOMMIE CHARLES        2997 W BUENA VISTA ST # 2                                                                 DETROIT          MI 48238
TOMMIE COLEMAN        28510 SELKIRK ST                                                                          SOUTHFIELD       MI 48076‐7134
TOMMIE COLEMAN JR     9560 WHITCOMB ST                                                                          DETROIT          MI 48227‐2042
TOMMIE COLLINS        5511 TURTLE COVE PKWY                                                                     FLINT            MI 48506‐5360
TOMMIE COOKS          PO BOX 20145                                                                              LANSING          MI 48901‐0745
TOMMIE CORHN          1241 W MARQUETTE RD                                                                       CHICAGO           IL 60636‐2963
TOMMIE CULPEPPER      535 ELMSHAVEN DR                                                                          LANSING          MI 48917‐3514
TOMMIE CZERWINSKI     13380 POMONA DR                                                                           FENTON           MI 48430‐1224
TOMMIE D SPIGHT       1324 E JULIAH AVE                                                                         FLINT            MI 48505‐1715
TOMMIE DARBY          814 LOCHHEAD AVE                                                                          FLINT            MI 48507‐2859
TOMMIE DAVIS          14649 GRANDMONT AVE                                                                       DETROIT          MI 48227‐1428
TOMMIE DAVIS HUNTER   5995 US 80 E                                                                              KNOXVILLE        GA 31050
TOMMIE DAVIS JR       6145 LAURA AVE                                                                            SAINT LOUIS      MO 63136‐4730
TOMMIE DOBBIN         PO BOX 222                                                                                SAINT GEORGE     SC 29477‐0222
TOMMIE DOUGLAS        20230 VERNIER RD                                                                          HARPER WOODS     MI 48225‐1407
TOMMIE DOUGLAS JR.    18294 LINDSAY ST                                                                          DETROIT          MI 48235‐3242
TOMMIE DOWELL         3129 KINGS CORNERS RD W                                                                   LEXINGTON        OH 44904‐9506
TOMMIE DUPREE         5105 E LOS ANGELES P M B 183                                                              SIMI VALLEY      CA 93063
TOMMIE E ALLEN        6003 E 40TH TER                                                                           KANSAS CITY      MO 64129‐1717
TOMMIE EASLEY         THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                HOUSTON          TX 77017
                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                       Part 37 of 40 Pg 276 of 901
Name                 Address1                       Address2                      Address3   Address4         City             State Zip
TOMMIE EDWARDS       1437 BETTY DR                                                                            BEAVERCREEK       OH 45434‐6813
TOMMIE ELLISON       3326 ELMERS DR                                                                           SAGINAW           MI 48601‐6983
TOMMIE ESSEX         3300 CHERRY ST                                                                           SAGINAW           MI 48601‐6355
TOMMIE F SEALEY      62 RAMSEY CIR                                                                            GRIFFIN           GA 30223‐5651
TOMMIE FARNELL       17042 W CHICAGO ST                                                                       DETROIT           MI 48228‐2031
TOMMIE FELTON        513 SPRINGWOOD DR                                                                        VERONA            PA 15147‐2625
TOMMIE FLOYD         310 N FELLOWS AVE                                                                        OTTUMWA            IA 52501‐3225
TOMMIE FRANKS        11515 KOTH DR                                                                            LINDEN            MI 48451‐9634
TOMMIE FRANKS        4175 N LINDEN RD                                                                         FLINT             MI 48504‐1351
TOMMIE FRAZIER       4409 N TERRACE VIEW ST                                                                   TOLEDO            OH 43607‐1051
TOMMIE FULKERSON     3357 PATRICIA ELLEN DR                                                                   MEMPHIS           TN 38133‐3820
TOMMIE GATES         114 FOUGERON ST                                                                          BUFFALO           NY 14211‐1318
TOMMIE GEE           311 PARK MEADOWS DR                                                                      EULESS            TX 76039‐4337
TOMMIE GHOLSTON      1271 ELMHURST CIR SE                                                                     ATLANTA           GA 30316‐2725
TOMMIE GILMORE       11724 LUANDA ST                                                                          LAKE VIEW TER     CA 91342‐6123
TOMMIE GLINSEY       3004 REEVES AVE                                                                          LORAIN            OH 44052‐4233
TOMMIE GOLDMON       12719 PROMENADE ST                                                                       DETROIT           MI 48213‐1417
TOMMIE GRANT         4673 WOODSCLIFF CIR                                                                      ANDERSON          IN 46012‐9723
TOMMIE GRAY          666 ROSEWOOD PL                                                                          PONTIAC           MI 48342‐2983
TOMMIE GREEN         4880 W OUTER DR                                                                          DETROIT           MI 48235‐1269
TOMMIE GUYTON        27464 PORTSMOUTH AVE                                                                     HAYWARD           CA 94545‐4008
TOMMIE H REMBERT     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                 HOUSTON           TX 77007
                     BOUNDAS LLP
TOMMIE HAIRSTON      720 W MCCLELLAN ST                                                                       FLINT            MI   48504‐2630
TOMMIE HARDEN        6633 EASTMONT DR                                                                         FLINT            MI   48505‐2430
TOMMIE HARRIS        22651 FOX AVE APT H                                                                      EUCLID           OH   44123‐2047
TOMMIE HARRIS        2176 E 89TH ST                                                                           CLEVELAND        OH   44106‐3473
TOMMIE HAYES         1815 LAWN AVE                                                                            CINCINNATI       OH   45237‐6123
TOMMIE HEATHMAN      THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                               HOUSTON          TX   77017
TOMMIE HENNINGER     1027 EBONY CIR                                                                           FRANKLIN         IN   46131‐5010
TOMMIE HIBBLER       18497 HARLOW ST                                                                          DETROIT          MI   48235‐3274
TOMMIE HOGAN         PO BOX 2711                                                                              MUNCIE           IN   47307‐0711
TOMMIE HOOD          39 COVINGTON RD                                                                          BUFFALO          NY   14216‐2101
TOMMIE HOOKER        382 PARKVIEW DR                                                                          DYER             TN   38330‐1202
TOMMIE HOOKS         2916 WIMBERLY DR SW APT C                                                                DECATUR          AL   35603‐4553
TOMMIE HUMPHRIES     17421 ANNCHESTER RD                                                                      DETROIT          MI   48219‐4212
TOMMIE J DARBY       814 LOCHHEAD AVE                                                                         FLINT            MI   48507‐2859
TOMMIE J VENABLE     6717 CHERI LYNNE DR                                                                      DAYTON           OH   45415‐2118
TOMMIE JACKSON       2018 GALLAGHER ST                                                                        SAGINAW          MI   48601‐3906
TOMMIE JAMES         7278 NICHOLS RD                                                                          FLUSHING         MI   48433‐9273
TOMMIE JETER         PO BOX 2409                                                                              MOUNT VERNON     NY   10551‐2409
TOMMIE JOE COCHRAN   MOTLEY RICE LLC                PO BOX 1792                                               MOUNT PLEASANT   SC   29465
TOMMIE JOHNSON       2756 FREEMANTLE DR                                                                       FLORISSANT       MO   63031‐2035
TOMMIE JOHNSON       APT 1129                       801 NORTH 59TH AVENUE                                     PHOENIX          AZ   85043‐2589
TOMMIE JOHNSON       857 SMITH ST                                                                             COURTLAND        AL   35618‐3047
TOMMIE JONES         1715 TIMOTHY DR SW                                                                       ATLANTA          GA   30311‐5107
TOMMIE JONES         171 SA GRAHAM BLVD                                                                       BRUNDIDGE        AL   36010‐1828
TOMMIE JORDAN        2044 FOX HILL DR                                                                         GRAND BLANC      MI   48439‐5219
TOMMIE JUSTICE       C/O THE MADEKSHO LAW FIRM      8866 GULF FREEWAY SUITE 440                               HOUSTON          TX   77017
TOMMIE K EDWARDS     1437 BETTY DR                                                                            BEAVERCREEK      OH   45434‐6813
TOMMIE L BARNES      C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                 HOUSTON          TX   77007
                     BOUNDAS LLP
                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                        Part 37 of 40 Pg 277 of 901
Name                 Address1                        Address2                      Address3          Address4         City            State Zip
TOMMIE L BRENT       259 COLEBROOK AVE                                                                                JACKSON          MS 39209‐2413
TOMMIE L CALDWELL    1101 ARAPAHO DR                                                                                  BURTON           MI 48509‐1417
TOMMIE L HARDIN      4431 BLUEBERRY AVE                                                                               DAYTON           OH 45406‐3320
TOMMIE L SEWELL      7239 PIEDMONT ST                                                                                 DETROIT          MI 48228‐3372
TOMMIE L SHINN       3077 COURTZ ISLE APT 6                                                                           FLINT            MI 48532‐4211
TOMMIE L WILLIAMS    WEITZ & LUXENBERG P C           700 BROADWAY                                                     NEW YORK CITY    NY 10003
TOMMIE LAMPKIN       13131 SORRENTO ST                                                                                DETROIT          MI 48227‐3829
TOMMIE LANKFORD      10610 S UNION AVE                                                                                CHICAGO           IL 60628‐2317
TOMMIE LOCKHART      THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                      HOUSTON          TX 77017
TOMMIE LOPEZ         2835 W 1350 S                                                                                    KOKOMO           IN 46901‐7759
TOMMIE M CAMPBELL    P O BOX 31864                                                                                    JACKSON          MS 39286‐1864
TOMMIE MARTIN        3057 INTREPID CLOSE                                                                              MARIETTA         GA 30062‐6603
TOMMIE MATHIS        3540 ESPACE CT                                                                                   FLORISSANT       MO 63034‐2230
TOMMIE MATTHEWS      5706 MIMIKA AVE                                                                                  SAINT LOUIS      MO 63136‐4912
TOMMIE MAYSE         19 PARKSIDE DR                                                                                   BETHALTO          IL 62010‐1569
TOMMIE MC CAMPBELL   608 WILSON ST                                                                                    ELM CITY         NC 27822‐9750
TOMMIE MC CURDY      3740 STONY HOLLOW RD                                                                             DAYTON           OH 45418‐2836
TOMMIE MC MATH       3924 19TH ST                                                                                     ECORSE           MI 48229‐1386
TOMMIE MCALLISTER    1492 W HUNTSVILLE RD                                                                             PENDLETON        IN 46064‐9170
TOMMIE MCCANN        3818 S SHELDON RD                                                                                CANTON           MI 48188‐2511
TOMMIE MCDANIEL      4107 CHRISTIANSEN RD                                                                             LANSING          MI 48910‐4309
TOMMIE MCGLOTHEN     2927 E 8TH ST                                                                                    ANDERSON         IN 46012‐4551
TOMMIE MCIVER        20 HAWTHORNE RD                                                                                  PICAYUNE         MS 39466‐9285
TOMMIE MCPHERSON     2469 RILEY CENTER RD                                                                             MEMPHIS          MI 40041‐1713
TOMMIE MIKEL         37 HONEYSUCKLE LN                                                                                ANDREWS          SC 29510‐5116
TOMMIE MIKELL        5631 SPRING VALLEY RD APT 298                                                                    DALLAS           TX 75254‐3153
TOMMIE MILLER        2908 GLENBROOK DR                                                                                LANSING          MI 48911‐2339
TOMMIE MOORE         APT 1120                        25225 GREENFIELD ROAD                                            SOUTHFIELD       MI 48075‐2163
TOMMIE MYLES         1105 N WABASH AVE                                                                                MARION           IN 46952‐2509
TOMMIE NELSON        6910 BASILWOOD ST                                                                                SHREVEPORT       LA 71129‐9474
TOMMIE OLIVER JR     PO BOX 70621                                                                                     TOLEDO           OH 43607‐0621
TOMMIE OWENS         NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                    DAINGERFIELD     TX 75638
TOMMIE PARRISH       106 BELAIRE CT                                                                                   MATAWAN          NJ 07747‐1130
TOMMIE PERCY         13560 DIXIE HWY                                                                                  BIRCH RUN        MI 48415‐9328
TOMMIE PETERSON      1836 OLD OAKLAND AVE                                                                             LANSING          MI 48915‐1379
TOMMIE POGUE         2669 CAMINO PL E                                                                                 DAYTON           OH 45420‐3903
TOMMIE PRIMROSE      THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                      HOUSTON          TX 77017
TOMMIE PUGH JR       2313 W MCCLELLAN ST                                                                              FLINT            MI 48504‐2552
TOMMIE PURDUE        PO BOX 242                                                                                       PARADISE         MI 49768‐0242
TOMMIE QUEEN         3448 MAPLE DR                                                                                    SNELLVILLE       GA 30078‐2826
TOMMIE RAMBO         430 LORENZ AVE                                                                                   DAYTON           OH 45417‐2340
TOMMIE RAMBO         430 LORENZ AVE                                                                                   DAYTON           OH 45417‐2340
TOMMIE RAMSEY        17208 SUNDERLAND RD                                                                              DETROIT          MI 48219‐4201
TOMMIE REED          2810 QUINBERY DR                                                                                 SNELLVILLE       GA 30039‐8041
TOMMIE REED          1016 CHANDLER ST                                                                                 DANVILLE          IL 61832‐3725
TOMMIE RIVERS        20800 WYOMING ST APT 1010                                                                        FERNDALE         MI 48220‐2150
TOMMIE ROBINSON      2006 DWIGHT AVE                                                                                  FLINT            MI 48503‐4012
TOMMIE RUCKER        1129 HARRISON AVE                                                                                BELOIT           WI 53511‐5443
TOMMIE RUFF          8072 MOLENA ST                                                                                   DETROIT          MI 48234‐4013
TOMMIE SALYER        10619 JAMAICA RD                                                                                 CARLISLE         OH 45005‐5914
TOMMIE SALYER        10619 JAMAICA RD                                                                                 CARLISLE         OH 45005‐5914
TOMMIE SANDERS       1201 S WARREN AVE                                                                                SAGINAW          MI 48601‐2750
                         09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                            Part 37 of 40 Pg 278 of 901
Name                    Address1                         Address2                   Address3          Address4         City               State Zip
TOMMIE SANDERSON        1603 BROOKHAVEN ST                                                                             CLEBURNE            TX 76033‐7902
TOMMIE SEALEY           62 RAMSEY CIR                                                                                  GRIFFIN             GA 30223‐5651
TOMMIE SEWELL           7239 PIEDMONT ST                                                                               DETROIT             MI 48228‐3372
TOMMIE SHINN            3077 COURTZ ISLES                                                                              FLINT               MI 48532
TOMMIE SIMMONS          PO BOX 2755                                                                                    ANDERSON            IN 46018‐2755
TOMMIE SIMMONS          602 E PHILADELPHIA BLVD                                                                        FLINT               MI 48505‐3385
TOMMIE SMITH            16245 HARDEN CIR                                                                               SOUTHFIELD          MI 48075‐6923
TOMMIE SMITH            6605 BARR ST                                                                                   SAINT LOUIS         MO 63121‐3222
TOMMIE SMITH            7181 WILLIAMS RD                                                                               LANSING             MI 48911‐3034
TOMMIE SMITH            633 PINEWOOD AVE                                                                               TOLEDO              OH 43604‐8011
TOMMIE SPIGHT           1324 E JULIAH AVE                                                                              FLINT               MI 48505‐1715
TOMMIE SPRATT JR        7434 BOERNE CREEK DR                                                                           RICHMOND            TX 77407‐5043
TOMMIE SPRINGFIELD      3858 E 186TH ST                                                                                CLEVELAND           OH 44122‐6559
TOMMIE STAFFORD         NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD        TX 75638
TOMMIE STALEY           112 N WILSON BOX 484                                                                           POTOMAC              IL 61865
TOMMIE STANLEY          906 E 152ND PL                                                                                 PHOENIX              IL 60426‐2502
TOMMIE STEVERSON        1977 E HAMMOND LAKE DR                                                                         BLOOMFIELD          MI 48302‐0126
TOMMIE STRAHAM          927 BURLINGTON DR                                                                              FLINT               MI 48503‐2922
TOMMIE STRAIN           971 E SANFORD ST APT 2114                                                                      ARLINGTON           TX 76011‐7370
TOMMIE SULLIVAN         4429 WISNER ST                                                                                 SAGINAW             MI 48601‐6790
TOMMIE TARTT JR         3014 BERKLEY AVE                                                                               BESSEMER            AL 35020‐3761
TOMMIE TAYLOR           102 W OAKCREST RD                                                                              EPWORTH             GA 30541‐2245
TOMMIE THOMAS           220 ELM ST                                                                                     PONTIAC             MI 48341‐3009
TOMMIE THOMPSON         11908 PRINCETON AVE                                                                            CLEVELAND           OH 44105‐4569
TOMMIE TRAYLOR          5049 EMERSON AVE                                                                               SAINT LOUIS         MO 63120‐2320
TOMMIE TRIPLETT         6194 15TH ST                                                                                   DETROIT             MI 48208‐1314
TOMMIE TUCKER           1824 BARTH ST                                                                                  FLINT               MI 48504‐3102
TOMMIE TUFTS            26340 CAMBRIDGE DR                                                                             OAKWOOD VLG         OH 44146‐3144
TOMMIE TURPENING        958 DIVISION ST                                                                                ADRIAN              MI 49221‐4024
TOMMIE V FRANKS         PO BOX 3686                                                                                    NORTH FORT MYERS    FL 33918‐3686
TOMMIE VENABLE          6717 CHERI LYNNE DR                                                                            DAYTON              OH 45415‐2118
TOMMIE WARREN           1524 LOCUST ST                                                                                 ANDERSON            IN 46016‐3441
TOMMIE WASHINGTON       9341 SHOEMAKER ST                                                                              DETROIT             MI 48213‐3151
TOMMIE WATKINS          8033 HIGHWAY 30 E                                                                              JACKSON             KY 41339‐7914
TOMMIE WAUGH            2081 TEGGERDINE RD                                                                             WHITE LAKE          MI 48386‐1753
TOMMIE WELCH            APT 336                          450 NORTH ELM STREET                                          DAYTON              OH 45449‐1263
TOMMIE WHITE            1504 TIFFANY CT                                                                                NEWCASTLE           OK 73065‐5361
TOMMIE WHITE            14600 INDIANA AVE APT 302                                                                      DOLTON               IL 60419‐1659
TOMMIE WILEY            7028 S GREEN HILLS DR                                                                          SALINE              MI 48176‐9547
TOMMIE WILLIAMS         920 SCIOTO ST                                                                                  YOUNGSTOWN          OH 44505‐3754
TOMMIE WILLIAMS         2536 N CLINTON ST                                                                              SAGINAW             MI 48602‐5016
TOMMIE WILLIAMS         1206 MULBERRY LN                                                                               BURTON              MI 48529‐2251
TOMMIE WILLIAMS         2011 IRONGATE DR                                                                               ARLINGTON           TX 76012‐2236
TOMMIE WILLIAMS         BRENT COON & ASSOCIATES          215 ORLEANS                                                   BEAUMONT            TX 77701
TOMMIE WILSON           626 HOLLY HILL LAKE ESTATES                                                                    CASSELBERRY         FL 32707
TOMMIE WILSON           2928 DODIER ST                                                                                 SAINT LOUIS         MO 63107‐2601
TOMMIE WYSOCKI          2517 MARLBORO ST                                                                               TOLEDO              OH 43609‐3135
TOMMIE YOUNG            507 RUSSELL DR                                                                                 GALLION             AL 36742‐2682
TOMMIE YOUNGBLOOD       1135 FAIRWAY DR                                                                                PONTIAC             MI 48340‐1480
TOMMIE, SHAMAY          3413 SALLY TOMMIE WAY                                                                          FORT PIERCE         FL 34945
TOMMY & JULIE KOOPMAN   314 4TH ST NW                                                                                  ORANGE CITY          IA 51041‐1325
TOMMY ( MOORE           416 HOLLENCAMP                                                                                 DAYTON              OH 45427‐3007
                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                      Part 37 of 40 Pg 279 of 901
Name                Address1                       Address2                     Address3   Address4              City               State Zip
TOMMY ABSHER        4419 TINCHER RD                                                                              INDIANAPOLIS        IN 46221‐3130
TOMMY ADAMS         5831 S 200 E                                                                                 ANDERSON            IN 46017‐9536
TOMMY ADAMS         206 N RACEWAY RD                                                                             INDIANAPOLIS        IN 46234‐9244
TOMMY ALEXANDER     1817 AUTUMN RIDGE LN                                                                         GRAPEVINE           TX 76051‐7920
TOMMY ALLDREDGE     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                    HOUSTON             TX 77007
                    BOUNDAS, LLP
TOMMY ANDERSON      319 WEAVER DR                                                                                HOUGHTON LAKE      MI   48629‐9550
TOMMY ANDERSON      312 N FOURTH                                                                                 WEST HELENA        AR   72390‐2434
TOMMY ANDERSON      6636 BETTY DR                                                                                WATAUGA            TX   76148‐2301
TOMMY ANTIE         501 ORLEANS ST                                                                               MONROE             LA   71201‐2709
TOMMY ANTWINE       1582 VALLEYWOOD TRL                                                                          HOLLY LAKE RANCH   TX   75765‐6370
TOMMY ARRAIGA       14673 STARPATH DR                                                                            LA MIRADA          CA   90638‐1045
TOMMY ARTIS         141 BREWER DR                                                                                BATTLE CREEK       MI   49015‐3701
TOMMY AYRES         55371 E 298 RD                                                                               MONKEY ISLAND      OK   74331‐2883
TOMMY BAILEY        120 KANE DR                                                                                  NEWARK             DE   19702‐2801
TOMMY BALLARD       9527 PEET RD                                                                                 CHESANING          MI   48616‐1713
TOMMY BANE          PO BOX 241                                                                                   FRUITVALE          TX   75127‐0241
TOMMY BARKER        PO BOX 165                                                                                   WEATHERFORD        TX   76086‐0165
TOMMY BARNES        PO BOX 9828                                                                                  NEWARK             DE   19714‐4928
TOMMY BARTLEY       407 1/2 DELPHI AVE                                                                           FRANKFORT          IN   46041‐1337
TOMMY BEATY         2025 NORWOOD DR                                                                              ANDERSON           IN   46012‐1832
TOMMY BEAVERS JR    3308 DOUGLASS ST                                                                             SAGINAW            MI   48601‐4718
TOMMY BELL          PO BOX 38315                                                                                 SHREVEPORT         LA   71133‐8315
TOMMY BELL          4009 BERKSHIRE ST                                                                            DETROIT            MI   48224‐3547
TOMMY BENNETT       PO BOX 726                                                                                   NEWARK             TX   76071‐0726
TOMMY BENSON        7340 GINGER SNAP CV                                                                          MEMPHIS            TN   38125‐4732
TOMMY BERRY         PO BOX 109                                                                                   FLINT              MI   48501‐0109
TOMMY BERRY         3819 PALMER AVE                                                                              FLINT              MI   48506‐4236
TOMMY BIGBEE        3220 GINGERSNAP LN                                                                           LANSING            MI   48911‐1510
TOMMY BINDLEY       2583 LATIMER AVE                                                       COQUITLAM BC CANADA
                                                                                           V3K‐5X1
TOMMY BISHOP        824 ROBERT JESSE DR                                                                          DACULA             GA   30019‐5088
TOMMY BLOOMER       PO BOX 85174                                                                                 WESTLAND           MI   48185‐0174
TOMMY BOBBITT       519 RIVERVIEW DR                                                                             FRANKLIN           TN   37064‐5535
TOMMY BOGGS         1325 ADAMSMOOR DR                                                                            WAYNESVILLE        OH   45068‐9672
TOMMY BOTTOMS       1940 FRIENDSHIP CIR                                                                          CUMMING            GA   30028‐8110
TOMMY BOUCHARD      5064 SPRING WELL LN                                                                          GRAND BLANC        MI   48439‐4236
TOMMY BOYD          PO BOX 14261                                                                                 LANSING            MI   48901‐4261
TOMMY BRADSHAW      4103 HAROLD ST                                                                               SAGINAW            MI   48601‐4130
TOMMY BREWSTER      2161 COUNTY ROAD 61                                                                          PISGAH             AL   35765‐6423
TOMMY BROADNAX JR   3315 GUS ROBINSON RD                                                                         POWDER SPGS        GA   30127‐1308
TOMMY BROWN         5827 ROUTE 35 EAST                                                                           JAMESTOWN          OH   45335
TOMMY BROWN         2967 CHERRY CREEK LN                                                                         STERLING HEIGHTS   MI   48314‐1021
TOMMY BRYANT        224 BISHOP DR                                                                                CANTON             GA   30114‐5949
TOMMY BUMPUS        1402 DUNDEE DR                                                                               ARLINGTON          TX   76002‐3748
TOMMY BUTLER        40 SOMERSET ST                                                                               SWARTZ CREEK       MI   48473‐1149
TOMMY C DAUGHERTY   153 HARTSHORN DR                                                                             VANDALIA           OH   45377‐2928
TOMMY CANNON        11510 TOWNSEND RD                                                                            MILAN              MI   48160‐9136
TOMMY CARR          5043 MOUNT MORRIS RD                                                                         COLUMBIAVILLE      MI   48421‐8998
TOMMY CARR          739 OXFORD AVE                                                                               MATTESON           IL   60443‐1659
TOMMY CARTER        122 CALIFORNIA ST                                                                            HIGHLAND PARK      MI   48203‐3518
TOMMY CARTER        526 CLARK CIR                                                                                BOWLING GREEN      KY   42103‐8502
                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                       Part 37 of 40 Pg 280 of 901
Name                 Address1                       Address2                      Address3   Address4         City            State Zip
TOMMY CARWILE JR     13172 N SAGINAW RD                                                                       CLIO             MI 48420‐1060
TOMMY CASS           16802 ANCHOR PARK                                                                        FRIENDSWOOD      TX 77546‐4991
TOMMY CHAPPELL       9691 WHITEFORD RD                                                                        OTTAWA LAKE      MI 49267‐9739
TOMMY CHEEK          5178 NICKLESVILLE RD NE                                                                  RESACA           GA 30735‐6515
TOMMY CHILDRES       5331 RIDGEBEND DR                                                                        FLINT            MI 48507‐6346
TOMMY CLARK          3806 LIAISON DR                                                                          SHREVEPORT       LA 71108‐4724
TOMMY CLARK          THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                               HOUSTON          TX 77017
TOMMY CLARY          1085 PUNCHEON CREEK RD                                                                   EUBANK           KY 42567‐8668
TOMMY CLAY           1000 JURY LN                                                                             MOORE            OK 73160‐6052
TOMMY CLINE          1712 CHANNING ST                                                                         FERNDALE         MI 48220‐2672
TOMMY COLES          5237 FISHBURG RD                                                                         HUBER HEIGHTS    OH 45424‐4347
TOMMY COLLINS        14791 MORAN RD                                                                           ALLEN PARK       MI 48101‐1022
TOMMY COMBS          7894 SHARON DR                                                                           AVON             IN 46123‐8414
TOMMY COMBS          2800 BRIMSTONE RD                                                                        WILMINGTON       OH 45177‐8547
TOMMY COMBS          PO BOX 201                                                                               FRANKLIN         OH 45005‐0201
TOMMY COOLEY         603 4TH ST                                                                               BRODHEAD         WI 53520‐1135
TOMMY COURTNEY       8523 ROOSEVELT ST                                                                        TAYLOR           MI 48180‐2739
TOMMY COUTCHER       1148 DAY RD                                                                              VASSAR           MI 48768‐1143
TOMMY COWELL         9490 REID RD                                                                             SWARTZ CREEK     MI 48473
TOMMY CRAFT SR       4087 DEACON LN                                                                           CHAMBLEE         GA 30341‐1609
TOMMY CRANE          4140 TIMBERLANE DR                                                                       DEFIANCE         OH 43512‐9606
TOMMY CREECH         164 HALE DR                                                                              WABASH           IN 46992‐3801
TOMMY CREWS          2001 S HUMMEL DR                                                                         INDEPENDENCE     MO 64055‐1758
TOMMY CRIDER         2057 NARROW LAKE RD                                                                      CHARLOTTE        MI 48813‐9159
TOMMY CUPP           177 RED CEDAR RD                                                                         LA FOLLETTE      TN 37766‐8046
TOMMY CVETANOVSKI    870 VIRGINIA ST BLDG 1         APT 209                                                   DUNEDIN          FL 34698
TOMMY D BLOOMER      PO BOX 85174                                                                             WESTLAND         MI 48185‐0174
TOMMY D CLAY         1000 JURY LN                                                                             MOORE            OK 73160‐6052
TOMMY D COUTCHER     1148 DAY RD                                                                              VASSAR           MI 48768‐1143
TOMMY D CUPP         177 RED CEDAR RD.                                                                        LAFOLLETTE       TN 37766‐8046
TOMMY D LEWIS        2884 MARIGOLD DRIVE                                                                      W CARROLLTON     OH 45449‐3236
TOMMY D NELMAN       6764 STEWART SHARON RD                                                                   BROOKFIELD       OH 44403‐9788
TOMMY D RAMPEY       4383 GROSSPOINT ST                                                                       SPRINGFIELD      OH 45502‐9712
TOMMY D SMITH        PO BOX 3521                                                                              WARREN           OH 44485‐0521
TOMMY DAUGHERTY      153 HARTSHORN DR                                                                         VANDALIA         OH 45377‐2928
TOMMY DAVIS          3780 W FAIRVIEW RD                                                                       GREENWOOD        IN 46142‐8519
TOMMY DAVISON        14129 WINSTON                                                                            REDFORD          MI 48239‐2813
TOMMY DEARMOND       7702 BRIARSTONE LN                                                                       INDIANAPOLIS     IN 46227‐5428
TOMMY DENNIS         2700 N 300 E                                                                             ANDERSON         IN 46012‐9411
TOMMY DICKEY         PO BOX 512                                                                               BOYD             TX 76023‐0512
TOMMY DOLAN          THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                               HOUSTON          TX 77017
TOMMY DOMINGUEZ      650 JACKMAN ST                                                                           SAN FERNANDO     CA 91340
TOMMY DONERSON       6011 DEER PARK PASS                                                                      GRAND BLANC      MI 48439‐9609
TOMMY DONLEY         PO BOX 386                                                                               NAPOLEON         OH 43545‐0386
TOMMY DORRIS ELDER   115 E 16TH ST                                                                            HOUSTON          TX 77009
TOMMY DORSEY         5607 N OXFORD ST                                                                         INDIANAPOLIS     IN 46220‐2904
TOMMY DOTSON         1775 COUNTY ROAD 54                                                                      MOULTON          AL 35650‐5905
TOMMY DUKE           0549 E 700 N                                                                             MONTPELIER       IN 47359
TOMMY E ANDERSON     6636 BETTY DR                                                                            WATAUGA          TX 76148‐2301
TOMMY E SPRADLEY     C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                 HOUSTON          TX 77007
                     BOUNDAS L L P
TOMMY EARLEY         9233 CHESTERFIELD DR                                                                     SWARTZ CREEK    MI 48473‐1007
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                  Part 37 of 40 Pg 281 of 901
Name                           Address1                           Address2                Address3   Address4         City              State Zip
TOMMY EASON                    284 SOUTH BLVD W                                                                       PONTIAC            MI 48341‐2460
TOMMY ELKINS                   1420 HILL AVE                                                                          COVINGTON          TN 38019‐2337
TOMMY ELLIOTT                  6200 S DEWITT RD                                                                       SAINT JOHNS        MI 48879‐9310
TOMMY ELLIOTT                  12101 N ELMS RD                                                                        CLIO               MI 48420‐9426
TOMMY ELLIOTT                  119 BUTTERFLY CT                                                                       LIMESTONE          TN 37681‐2339
TOMMY ELLIS                    12100 CONGRESS DR                                                                      SHELBY TWP         MI 48315‐4570
TOMMY EVANS                    BRENT COON & ASSOCIATES            215 ORLEANS                                         BEAUMONT           TX 77701
TOMMY EVERETT                  515 PARKWAY DR                                                                         HAPEVILLE          GA 30354‐4103
TOMMY F LAWSON                 358 STATE ROUTE 127                                                                    WEST MANCHESTER    OH 45382
TOMMY FACTOR                   2708 OLD MILL RD                                                                       MOORE              OK 73160‐9531
TOMMY FARLEY                   16481 STATE ROUTE 111                                                                  CECIL              OH 45821‐8701
TOMMY FARRAR                   5339 BANGOR AVE                                                                        FLUSHING           MI 48433‐9005
TOMMY FAULKNER                 810 ELM FOREST DR                                                                      MINNEOLA           FL 34715‐7731
TOMMY FAULKNER                 2636 WINDWARD DR                                                                       GRAND PRAIRIE      TX 75054‐7224
TOMMY FERGUSON SR              4446 SCOTT HOLLOW RD                                                                   CULLEOKA           TN 38451‐3105
TOMMY FIFER                    PO BOX 970957                                                                          YPSILANTI          MI 48197‐0816
TOMMY FISHER                   2014 S BRANDON ST                                                                      WESTLAND           MI 48186‐3977
TOMMY FLANAGAN                 3205 RODDY DR                                                                          FORT WORTH         TX 76123‐2027
TOMMY FLIPPO
TOMMY FLORES                   509 HORSESHOE LOOP                                                                     DOYLINE           LA   71023‐4059
TOMMY FLOYD                    389 CANAAN RD                                                                          COLUMBIA          TN   38401‐6079
TOMMY FLOYD SR                 5460 BROMWICK DR                                                                       TROTWOOD          OH   45426‐1914
TOMMY FOREMAN                  10053 GARDEN LAKE CT                                                                   JACKSONVILLE      FL   32219‐4380
TOMMY FRADY                    2838 DODSON GAP RD                                                                     CULLEOKA          TN   38451‐2330
TOMMY FRANK                    2775 N STATE HIGHWAY 360 APT 917                                                       GRAND PRAIRIE     TX   75050‐7831
TOMMY FRYE                     2437 N VERNON AVE                                                                      FLINT             MI   48506‐3429
TOMMY FULGHAM                  1146 GLENDALE ST                                                                       BURTON            MI   48509‐1938
TOMMY FULK                     320 HOPKINS ST                                                                         DEFIANCE          OH   43512‐2225
TOMMY G ANTIE                  501 ORLEANS ST                                                                         MONROE            LA   71201‐2709
TOMMY G. KELLY                 C/O THE SUTTER LAW FIRM, PLLC      1598 KANAWHA BLVD E                                 CHARLESTON        WV   25311
TOMMY GALE                     19420 KOSHAL RD                                                                        LICKING           MO   65542
TOMMY GANN                     6360 PLEASANT RIVER DR                                                                 DIMONDALE         MI   48821‐9739
TOMMY GARNER                   28723 WOODCHESTER WAY                                                                  MENIFEE           CA   92584‐7772
TOMMY GIBBS & ASSOCIATES INC   12055 3RD ST E APT 103                                                                 TREASURE ISLAND   FL   33706‐4556
TOMMY GIGGER SR                18435 DWYER ST                                                                         DETROIT           MI   48234‐2603
TOMMY GIST                     1925 OWEN ST                                                                           FLINT             MI   48503‐4361
TOMMY GLENN                    1932 CENTRAL AVE                                                                       INDIANAPOLIS      IN   46202‐1611
TOMMY GLOSTER                  1583 76TH AVE                                                                          OAKLAND           CA   94621‐2737
TOMMY GOAD                     1209 NE 20TH ST                                                                        GRAND PRAIRIE     TX   75050‐3952
TOMMY GOLDMAN                  230 NORTHGATE BLVD                                                                     JACKSON           MS   39206‐2617
TOMMY GOODLOE                  2533 DUNDEE RD                                                                         LEXINGTON         MO   64067‐1968
TOMMY GORDON                   PO BOX 2212                                                                            PINE BLUFF        AR   71613‐2212
TOMMY GRAVENMIER               39215 CRANMORE ST                                                                      WAYNE             MI   48184‐1539
TOMMY GRAVES                   175 HIGHWAY 533                                                                        LAUREL            MS   39443‐5726
TOMMY GREEN                    605 SOUTHWEST BURRY STREET                                                             LEES SUMMIT       MO   64081‐2667
TOMMY GREEN                    PO BOX 297                                                                             SAGINAW           MI   48606‐0297
TOMMY GREENE                   722 WAMPLER RD                                                                         BALTIMORE         MD   21220‐1811
TOMMY GRISHAM                  APT 52                             25920 BRIDGEWOOD LANE                               FLAT ROCK         MI   48134‐1056
TOMMY GULLEDGE                 18014 E 26TH TERRACE CT S                                                              INDEPENDENCE      MO   64057‐2407
TOMMY GWALTNEY                 41443 FIVE MILE RD                                                                     PLYMOUTH          MI   48170‐2666
TOMMY H BALLARD                8997 FERRY RD                                                                          WAYNESVILLE       OH   45068
TOMMY H PARKER                 1308 HIGHLAND AVENUE                                                                   DAYTON            OH   45410‐2326
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                               Part 37 of 40 Pg 282 of 901
Name                         Address1                       Address2                    Address3   Address4         City            State Zip
TOMMY H PARKER               1308 HIGHLAND AVE.                                                                     DAYTON           OH 45420
TOMMY HALL                   712 COUNTY ROUTE 19                                                                    HERMON           NY 13652‐3209
TOMMY HALL                   920 MAPLE AVE                                                                          DAYTON           KY 41074‐1418
TOMMY HAMMITTE               370 LOVERS LN                                                                          HAMILTON         AL 35570‐4713
TOMMY HAMMITTE               370 LOVERS LANE                                                                        HAMILTON         AL 35570‐4713
TOMMY HARDESTY               PO BOX 100                                                                             SKIATOOK         OK 74070‐0100
TOMMY HARDIN                 2829 GLADSTONE ST                                                                      MORAINE          OH 45439‐1627
TOMMY HARKER                 905 CRESTMOOR DR                                                                       SHELBYVILLE      IN 46176‐2254
TOMMY HARMON                 1300 CONCHO TRL                                                                        MANSFIELD        TX 76063‐5749
TOMMY HARPOOTLIAN            494 RISSMAN LN                                                                         ORTONVILLE       MI 48462‐8455
TOMMY HARRIS                 RR 2 BOX 129                                                                           MEEKER           OK 74855‐9629
TOMMY HARVEY                 1409 E 7TH ST                                                                          ANDERSON         IN 46012‐3420
TOMMY HAYES                  408 BIRCHWOOD DR                                                                       SANDUSKY         OH 44870‐7320
TOMMY HEAD                   2156 N BOSART AVE                                                                      INDIANAPOLIS     IN 46218‐3836
TOMMY HEAFNER MOTORS, INC.   PO BOX 740                                                                             SENATOBIA        MS 38668‐0740
TOMMY HEAFNER MOTORS, INC.   DAVID HEAFNER                  PO BOX 740                                              SENATOBIA        MS 38668‐0740
TOMMY HEISLER                117 FURBEE DR S                                                                        MASON            OH 45040‐2148
TOMMY HESS                   3145 NORTHWEST BLVD NW                                                                 WARREN           OH 44485‐2237
TOMMY HESTER                 3270 POPLAR RIDGE DR                                                                   REX              GA 30273‐2459
TOMMY HICKS                  1929 FIRLAWN DR                                                                        TOLEDO           OH 43614‐3519
TOMMY HIGGINBOTHAM           42 LAVEIANAN CT                                                                        MARTINSVILLE     IN 46151‐6753
TOMMY HILLIARD               17441 E LIMESTONE RD                                                                   ATHENS           AL 35613‐6440
TOMMY HILLIKER               1324 ELIZABETH ST                                                                      MOUNT MORRIS     MI 48458‐1770
TOMMY HINKLEY                5068 WYNDEMERE SQ                                                                      SWARTZ CREEK     MI 48473‐8893
TOMMY HOLLAND                3075 SIERRA HWY APT 20                                                                 ROSAMOND         CA 93560‐7351
TOMMY HOOD                   4451 CATALINA CIR                                                                      EAST POINT       GA 30344‐6510
TOMMY HOSKINS                4832 W MARKWOOD AVE                                                                    INDIANAPOLIS     IN 46221‐2946
TOMMY HUDSON                 PO BOX 865                                                                             ATHENS           AL 35612‐0865
TOMMY HUFF                   1343 AIRLINE DR                                                                        GRAPEVINE        TX 76051‐5533
TOMMY HURST                  85 SCOTT LAKE RD                                                                       WATERFORD        MI 48328‐3145
TOMMY HYLTON                 640 NOTTINGHAM RD                                                                      ELKTON           MD 21921‐4728
TOMMY ICE                    502 W PIERCE ST                                                                        ALEXANDRIA       IN 46001‐1141
TOMMY J ANDERSON             319 WEAVER DR                                                                          HOUGHTON LAKE    MI 48629‐9550
TOMMY J COLES                5237 FISHBURG RD.                                                                      HUBER HEIGHTS    OH 45424
TOMMY J COMBS                260 MASON AVE.                                                                         MONROE           OH 45050
TOMMY J FLOYD SR             5460 BROMWICK DR                                                                       TROTWOOD         OH 45426‐1914
TOMMY J GAINES               120 N SUNRISE AVE                                                                      TROTWOOD         OH 45426
TOMMY J MUIRHEAD             516 WILDER DR                                                                          FLORA            MS 39071‐9763
TOMMY J RHOADES              220 SUNNYBROOK TRAIL                                                                   ENON             OH 45323‐1840
TOMMY J RHOADES              220 SUNNYBROOK TRL                                                                     ENON             OH 45323‐1840
TOMMY J SANFORD              C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                               HOUSTON          TX 77007
                             BOUNDAS LLP
TOMMY J WRIGHT               1334 E KURTZ AVE                                                                       FLINT           MI   48505‐1767
TOMMY JACKSON                1 RT 1 BOX 83A                                                                         PANOLA          AL   35477
TOMMY JACKSON                111 KEYES STREET                                                                       LAGRANGE        GA   30241‐4646
TOMMY JACKSON                1043 ALAMEDA AVE                                                                       YOUNGSTOWN      OH   44510‐1205
TOMMY JAMES                  1736 E FRANKFORT ST                                                                    COLUMBUS        OH   43206‐1826
TOMMY JEFFERSON              G4079 W COURT ST                                                                       FLINT           MI   48532‐3519
TOMMY JENKINS                BOX 12900 S RAGSDALE RD                                                                LONE JACK       MO   64070
TOMMY JENNINGS               3837 PROVIDENCE ST                                                                     FLINT           MI   48503‐4503
TOMMY JONES                  819 CHESTER AVE                                                                        AKRON           OH   44314‐2801
TOMMY JONES                  116 BARBARA LN                                                                         SHERWOOD        OH   43556‐9795
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                               Part 37 of 40 Pg 283 of 901
Name                         Address1                         Address2                        Address3             Address4         City              State Zip
TOMMY JONES                  20408 SAINT FRANCIS ST                                                                                 LIVONIA            MI 48152‐2345
TOMMY JORDAN                 PO BOX 1010                                                                                            WASKOM             TX 75692‐1010
TOMMY K BOGGS                1325 ADAMSMOOR DR.                                                                                     WAYNESVILLE        OH 45068‐9672
TOMMY K BROWN                5827 ROUTE 35 EAST                                                                                     JAMESTOWN          OH 45335‐9571
TOMMY K RICHARDS             2233 HOLLANSBURG‐RICHMOND ROAD                                                                         HOLLANSBURG        OH 45332‐9721
TOMMY KAWALEC                248 HILLPINE RD                                                                                        CHEEKTOWAGA        NY 14227‐2273
TOMMY KEIDEL                 11337 BEHLKE RD SE                                                                                     FIFE LAKE          MI 49633‐9495
TOMMY KEY                    C/O THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                                           HOUSTON            TX 77017
TOMMY KING                   770 PARKWOOD AVE                                                                                       PONTIAC            MI 48340‐3026
TOMMY KING                   611 S 24TH ST                                                                                          SAGINAW            MI 48601‐6509
TOMMY KOTTALIS               432 LOCKMOOR CT                  C/O MARY KOTTALIS                                                     GRAND BLANC        MI 48439‐1550
TOMMY KUKIN                  1118 GENELLA ST                                                                                        WATERFORD          MI 48328‐1335
TOMMY L CARTER               2104D WHITE AVE                                                                                        GADSDEN            AL 35904‐2019
TOMMY L COMBS                2800 BRIMSTONE RD                                                                                      WILMINGTON         OH 45177‐8547
TOMMY L CRITES               WEITZ & LUXENBERG PC             700 BROADWAY                                                          NEW YORK CITY      NY 10003
TOMMY L FACTOR               2708 OLD MILL RD                                                                                       MOORE              OK 73160‐9531
TOMMY L GEE COUNTY MARSHAL   ACCT OF TRACY BRUMFIELD          PO BOX 656                                                            SANTA BARBARA      CA 93102‐0656
TOMMY L GEE MARSHAL          ACCT OF CHRISTINA RODRIGUEZ      PO BOX 656                                                            SANTA BARBARA      CA 93102‐0656
TOMMY L GEE MARSHAL          ACCT OF BRUCE YOUNG              PO BOX 656                                                            SANTA BARBARA      CA 93102‐0656
TOMMY L GEE MARSHAL          ACCT OF JOSEPH RODRIGUEZ         PO BOX 656                                                            SANTA BARBARA      CA 93102‐0656
TOMMY L GEE, MARSHALL        ACCT OF WILLIAM R MARTIN         1122 SANTA BARBARA ST BOX 656                                         SANTA BARBARA      CA 93101

TOMMY L GEE, MARSHALL        ACCT OF DARLENE G CARROLL        PO BOX 656                      1122 SANTA BARBARA                    SANTA BARBARA     CA 93102‐0656
TOMMY L GEE, MARSHALL        ACCT PF WILLIAM R MARTIN         1122 SANTA BARBARA ST BOX 656                                         SANTA BARBARA     CA 93101

TOMMY L MILTON               2439 OVERBROOK DR                                                                                      JACKSON           MS    39213‐4733
TOMMY L MOSLEY               3518 HERRICK ST                                                                                        FLINT             MI    48503‐6618
TOMMY L POOLE                PO BOX 1092                                                                                            O FALLON          MO    63366‐8792
TOMMY L SIMS                 PO BOX 26112                                                                                           TROTWOOD          OH    45426‐0112
TOMMY L SPRAGGINS            10740 LANDSEER DR                                                                                      SAINT LOUIS       MO    63136‐4550
TOMMY L SUTHERBY             3849 SCHOLTZ RD                                                                                        LAPEER            MI    48446‐8792
TOMMY L SWEENEY              507 MILLER AVE                                                                                         TROTWOOD          OH    45427
TOMMY L WALKER               C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                             HOUSTON           TX    77007
                             BOUNDAS LLP
TOMMY L WEST                 11018 S LOWE AVE                                                                                       CHICAGO            IL   60628‐4026
TOMMY L WILLIAMS             C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY, STE 600                                            HOUSTON            TX   77007
                             BOUNDAS, LLP
TOMMY L WILLIAMS SR          C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                             HOUSTON            TX   77007
                             BOUNDAS LLP
TOMMY L WORTHAM              P O BOX 2233                                                                                           DAYTON            OH    45401
TOMMY LAUBENSTEIN            4033 W WILSON RD                                                                                       CLIO              MI    48420‐9481
TOMMY LAW                    3119 W 300 S                                                                                           TRAFALGAR         IN    46181‐9118
TOMMY LAWRENCE               2223 E BERGIN AVE                                                                                      BURTON            MI    48529‐1780
TOMMY LAWRENCE               2279 E WILLIAMSON ST                                                                                   BURTON            MI    48529‐2448
TOMMY LAWSON                 358 US ROUTE 127                                                                                       WEST MANCHESTER   OH    45382‐9601
TOMMY LEE BROWN              BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.       OH    44236
TOMMY LEMONS                 2405 LARMAN DR                                                                                         INDIANAPOLIS      IN    46227‐8824
TOMMY LEWIS                  2057 E BERGIN AVE                                                                                      BURTON            MI    48529‐1701
TOMMY LIGHTFOOT              7913 BREEZEWOOD DR                                                                                     OKLAHOMA CITY     OK    73135‐6341
TOMMY LOCKE                  6557 BRINT RD APT 2                                                                                    SYLVANIA          OH    43560‐3373
TOMMY LONG                   23781 LEE BAKER DR                                                                                     SOUTHFIELD        MI    48075‐3344
TOMMY LUKER                  204 BATEMAN AVE                                                                                        FRANKLIN          TN    37067‐2648
                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                      Part 37 of 40 Pg 284 of 901
Name                Address1                       Address2                     Address3   Address4         City            State Zip
TOMMY LYONS         1705 MULBERRY LN                                                                        LAPEER           MI 48446‐8656
TOMMY M HOLLOWAY    C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                               HOUSTON          TX 77007
                    BOUNDAS, LLP
TOMMY M PERKINS     3613 RANDOLPH RD                                                                        JANESVILLE      WI   53546‐1404
TOMMY MARBLE        3010 S GALLATIN ST                                                                      MARION          IN   46953‐4011
TOMMY MARSHALL      57 SUNNY LN                                                                             SOUTH LEBANON   OH   45065
TOMMY MARTIN        1172 LOVING RD                                                                          BOWLING GREEN   KY   42101‐9526
TOMMY MATHENY       4018 W 26TH ST                                                                          MUNCIE          IN   47302‐4984
TOMMY MC NURE       3415 OAKWOOD BLVD S                                                                     SARASOTA        FL   34237‐7415
TOMMY MCCALL        1034 LAPORT AVE                                                                         MOUNT MORRIS    MI   48458‐2522
TOMMY MCCOIN        2524 SW 58TH ST                                                                         OKLAHOMA CITY   OK   73119‐5829
TOMMY MCCORD        1716 E 44TH ST                                                                          ANDERSON        IN   46013‐2557
TOMMY MCDONALD      1120 FOREST DR                                                                          ANDERSON        IN   46011‐1240
TOMMY MCGAHEE       9025 GREEN VALLEY CT                                                                    DOUGLASVILLE    GA   30134‐1729
TOMMY MCINTYRE      1822 S WASHINGTON ST                                                                    TILTON          IL   61833‐8230
TOMMY MCLERRAN JR   PO BOX 532                                                                              WASKOM          TX   75692‐0532
TOMMY MCMANUS       3548 SWEETGRASS AVE                                                                     SIMI VALLEY     CA   93065‐0563
TOMMY MCNETT        6599 ORMADA DR                                                                          KALAMAZOO       MI   49048‐9474
TOMMY MCWHERTER     265 W STATE ST                 PO BOX 315                                               MONTROSE        MI   48457‐9748
TOMMY MEDINA        1536 GRANT AVE                                                                          LINCOLN PARK    MI   48146‐2137
TOMMY MELVILLE      3231 REISER AVE SW                                                                      GRAND RAPIDS    MI   49548‐2152
TOMMY MENDENHALL    32 MEADOW LN                                                                            MOORESVILLE     IN   46158‐1750
TOMMY METHENEY      1325 ROCK RD                                                                            MANSFIELD       OH   44903‐7342
TOMMY MEYERS        2819 MONTICELLO LN                                                                      SANDUSKY        OH   44870‐5919
TOMMY MIDDAUGH      16701 E 123RD ST N                                                                      COLLINSVILLE    OK   74021‐5875
TOMMY MILLSAPS      680 CITICO RD                                                                           VONORE          TN   37885‐3119
TOMMY MOON          5426 WINDFERN CT                                                                        STONE MTN       GA   30088‐3330
TOMMY MOORE         480 HEREFORD LN                                                                         MILLSAP         TX   76066‐2657
TOMMY MORRIS        4844 PACIFIC CT                                                                         DAYTON          OH   45424‐5427
TOMMY MOSLEY        3518 HERRICK ST                                                                         FLINT           MI   48503‐6618
TOMMY MOSS          7412 RORY ST                                                                            GRAND BLANC     MI   48439‐9349
TOMMY MOTTWEILER    1305 W 4TH ST                                                                           ALEXANDRIA      IN   46001‐2131
TOMMY MULANAX       904 S BOYNTON AVE                                                                       EL RENO         OK   73036‐4925
TOMMY MULLEN        PO BOX 336                                                                              FAUNSDALE       AL   36738‐0336
TOMMY MULLINS       127 REUNION LN                                                                          HAYSI           VA   24256‐6345
TOMMY MURPHY        298 STRONG RD                                                                           NEWNAN          GA   30263‐7221
TOMMY MUSICK        1504 N WEDGWOOD DR                                                                      ALEXANDRIA      IN   46001‐2824
TOMMY MYERS         6112 MAPLE AVE                                                                          CASTALIA        OH   44824‐9497
TOMMY MYLES         6655 BOULDER HWY               APT 1115                                                 LAS VEGAS       NV   89122‐7730
TOMMY NAPIER        2925 MIRAMAR DR                                                                         DAYTON          OH   45431‐8748
TOMMY NEELY         80520 MAIN ST                                                                           MEMPHIS         MI   48041‐4651
TOMMY NELMAN        6764 STEWART SHARON RD                                                                  BROOKFIELD      OH   44403‐9788
TOMMY NOLAN         PO BOX 2113                                                                             DETROIT         MI   48202‐0113
TOMMY O HOLLOWAY    3415 CASA GRANDA CR.                                                                    JACKSON         MS   39209‐6104
TOMMY OBLETON       5802 GENE AVE                                                                           COLUMBUS        GA   31909‐3865
TOMMY OLDHAM        10257 NORRELL RD                                                                        VENUS           TX   76084‐4818
TOMMY OOTEN         5247 OLD HAVERHILL CT                                                                   GRAND BLANC     MI   48439‐8736
TOMMY OPP           8063 SAWGRASS TRL                                                                       GRAND BLANC     MI   48439‐1844
TOMMY OSBORNE       39 CHESTNUT DR                                                                          ELKTON          MD   21921‐4017
TOMMY PAGE          102 N WALNUT ST                                                                         RIDGEVILLE      IN   47380‐1214
TOMMY PAGE          206 S MANNING AVE                                                                       MUNCIE          IN   47303‐4650
TOMMY PARKER        1308 HIGHLAND AVE                                                                       DAYTON          OH   45410‐2326
                              09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                  Part 37 of 40 Pg 285 of 901
Name                          Address1                         Address2                     Address3           Address4         City               State Zip
TOMMY PEMBERTON               42645 POND VIEW DR                                                                                STERLING HEIGHTS    MI 48314‐3859
TOMMY PENNINGTON              528 3RD ST SW                                                                                     WARREN              OH 44483‐6420
TOMMY PERKINS                 3613 RANDOLPH RD                                                                                  JANESVILLE          WI 53546‐1404
TOMMY PERKINS                 PO BOS 186378                                                                                     IRVING              TX 75016‐5378
TOMMY PERSINGER               1253 WARNER ST                                                                                    YPSILANTI           MI 48197‐4657
TOMMY PHILLIPS                491 CINNAMON RDG                                                                                  LAKE ORION          MI 48362‐3365
TOMMY PIERCE                  7321 WINDY WAY                                                                                    BROOKSVILLE         FL 34601‐3854
TOMMY PODSEDNIK               2411 N PLEASANT CIR                                                                               ARLINGTON           TX 76015‐4023
TOMMY POLK                    1463 FLEETWOOD DR                                                                                 GRIFFIN             GA 30223‐1007
TOMMY POOLE                   PO BOX 1092                                                                                       O FALLON            MO 63366‐8792
TOMMY PORTER                  20 MEADOW MOOR WAY                                                                                MITCHELL            IN 47446‐1057
TOMMY PRICE                   200 COUNTY RD #155                                                                                CENTRE              AL 35960
TOMMY PRICE                   2334 OLD HICKORY BLVD                                                                             DAVISON             MI 48423‐2062
TOMMY PRUITT                  425 DIRTYANKLE ROAD                                                                               KAISER              NC 28020
TOMMY PRYOR                   9776 W RATLIFF RD                                                                                 SPENCER             IN 47460‐9202
TOMMY PUGH                    5365 CAVE SPRING RD                                                                               AUBURN              KY 42206‐9786
TOMMY R BATES                 C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY, STE 600                                       HOUSTON             TX 77007
                              BOUNDAS, LLP
TOMMY R CAVEY                 423 W WARREN ST.                                                                                  CELINA             OH    45822
TOMMY R CLINE                 1712 CHANNING ST                                                                                  FERNDALE           MI    48220‐2672
TOMMY R CRANE                 4140 TIMBERLANE DR                                                                                DEFIANCE           OH    43512‐9606
TOMMY R HANDLEY               922 WINDSOR STREET                                                                                GADSDEN            AL    35903
TOMMY R HARDIN                2829 GLADSTONE ST                                                                                 DAYTON             OH    45439
TOMMY R MCDONALD AND JEAN C   TOMMY R MCDONALD AND JEAN C      TOMMY R MCDONALD & JEAN C    1745 HOLY COW RD                    POLK CITY          FL    33868‐9021
MCDONALD TR                   MCDONALD TTEES                   MCDONALD JT LV TR
TOMMY R MCDONALD IRA, PTC     TOMMY R MCDONALD                 1745 HOLY COW RD                                                 POLK CITY           FL   33858‐9021
CUSTODIAN
TOMMY R PODSEDNIK             2411 N PLEASANT CIR                                                                               ARLINGTON          TX    76015‐4023
TOMMY R SULLIVAN              108 SEMINOLE CV                                                                                   TERRY              MS    39170
TOMMY R TERRY                 4864 BARCLAY SQUARE DR                                                                            ANTIOCH            TN    37013‐2825
TOMMY R TURNER                700 FORREST AVE                  APT 403                                                          GADSDEN            AL    35901‐3659
TOMMY R. MARTIN
TOMMY RAMIREZ                 PO BOX 997                                                                                        FILLMORE           CA    93016‐0997
TOMMY RAPER                   1256 OLD TELLICO HIGHWAY                                                                          MADISONVILLE       TN    37354
TOMMY REEVES                  215 MADONNA DR                   `                                                                BENTON             LA    71006‐4218
TOMMY REUM JR                 12423 W STATE ROAD 28                                                                             ALBANY             IN    47320‐9306
TOMMY REYNOLDS                19350 DERBY ST                                                                                    DETROIT            MI    48203‐1650
TOMMY RHOADES                 220 SUNNYBROOK TRL                                                                                ENON               OH    45323‐1840
TOMMY RICHARDS                2233 HOLLANSBURG RICHMOND RD                                                                      HOLLANSBURG        OH    45332‐9721
TOMMY RICHARDSON              409 LEGENDS DR                                                                                    SPRINGVILLE        TN    38256‐4496
TOMMY RICHEY                  5031 NE 37TH ST                                                                                   KANSAS CITY        MO    64117‐2726
TOMMY RIDDLE                  295 MILKY WAY DR                                                                                  PULASKI            TN    38478‐7560
TOMMY RILEY                   425 GAYWOOD DR                                                                                    CHESTERFIELD       IN    46017‐1327
TOMMY RISINGER                3205 COLSTREAM DR                                                                                 METAMORA           MI    48455‐9301
TOMMY ROBERTS                 14125 BENWOOD AVE                                                                                 CLEVELAND          OH    44128‐1843
TOMMY ROBINSON                1906 KINGSLEY DR                                                                                  ANDERSON           IN    46011‐1018
TOMMY ROBINSON                544 HIETT AVE                                                                                     TOLEDO             OH    43609‐2238
TOMMY ROGERS                  20876 PRAIRIE BAPTIST RD                                                                          NOBLESVILLE        IN    46060‐9267
TOMMY ROLLINS                 15775 S KENWOOD ST                                                                                OLATHE             KS    66062‐6352
TOMMY ROLLYSON                2 DUANE ST                                                                                        PONTIAC            MI    48340‐1229
TOMMY ROSENCRANTS             6212 WILLIAMS ST                                                                                  GLADWIN            MI    48624‐9796
TOMMY ROSTYKUS                19940 LINDA LN                                                                                    HARRAH             OK    73045‐9351
                                09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                   Part 37 of 40 Pg 286 of 901
Name                            Address1                         Address2                      Address3   Address4         City            State Zip
TOMMY ROZIE                     14917 JAMES AVE                                                                            MAPLE HEIGHTS    OH 44137‐4121
TOMMY RUGENSTEIN                1077 MEADOWCREST DR                                                                        WATERFORD        MI 48327‐2937
TOMMY SANDERS                   1204 W CARTERS VALLEY RD                                                                   KINGSPORT        TN 37660‐6836
TOMMY SARGENT                   9978 CARR RD                                                                               SAINT CHARLES    MI 48655‐9671
TOMMY SCOTT                     1284 EASTLAND RD SE                                                                        ATLANTA          GA 30316‐3218
TOMMY SCOTT                     3234 FULTON ST                                                                             SAGINAW          MI 48601‐3114
TOMMY SCOTT                     PO BOX 32                                                                                  DEVINE           TX 78016
TOMMY SHEETS                    4936 ARBELA RD                                                                             MILLINGTON       MI 48746‐9320
TOMMY SHIELDS                   2975 HENRY ST                                                                              FLINT            MI 48506‐2431
TOMMY SHIRES                    5635 OSCONA TRL                                                                            CURRAN           MI 48728‐9788
TOMMY SIEVER                    211 E 12TH ST                                                                              LAWSON           MO 64062‐9365
TOMMY SIMMONS                   642 W WILSON ST                                                                            SALEM            OH 44460‐2671
TOMMY SIMS                      162 SPH CEMETARY LANE                                                                      PRENTISS         MS 39474
TOMMY SKINNER                   1705 PLAYERS MILL RD                                                                       FRANKLIN         TN 37067‐8582
TOMMY SMALLWOOD                 20485 NETHERLAND ST                                                                        ORLANDO          FL 32833‐4035
TOMMY SMITH                     PO BOX 351                                                                                 ELLISVILLE       MS 39437‐0351
TOMMY SMITH                     1726 NORTHWOOD CIR                                                                         JACKSON          MS 39213‐7817
TOMMY SMITH                     PO BOX 3521                                                                                WARREN           OH 44485‐0521
TOMMY SMITH                     6662 MCGUIRE ST                                                                            TAYLOR           MI 48180‐1514
TOMMY SMITH                     C/O THE MADEKSHO LAW FIRM        8866 GULF FREEWAY SUITE 440                               HOUSTON          TX 77017
TOMMY SORROW                    715 WEBB GIN HOUSE RD                                                                      LAWRENCEVILLE    GA 30045‐5428
TOMMY SOWERS                    1503 KANSAS AVE                                                                            ATCHISON         KS 66002‐2228
TOMMY SPANOS                    41942 ETHEL DR                                                                             ELYRIA           OH 44035‐7570
TOMMY SPANOS                    BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS       OH 44236
TOMMY SPICER                    1132 FULLER AVE SE                                                                         GRAND RAPIDS     MI 49506‐3247
TOMMY SPRAGGINS                 10740 LANDSEER DR                                                                          SAINT LOUIS      MO 63136‐4550
TOMMY STALLINGS                 667 HILLWOOD CT                                                                            DACULA           GA 30019‐1215
TOMMY STANFILL                  30 COUNTY ROAD 238                                                                         CORINTH          MS 38834‐7603
TOMMY STANFILL                  30 CR 238                                                                                  CORINTH          MS 38834‐7603
TOMMY STATEN                    5250 GREENCROFT DR                                                                         DAYTON           OH 45426‐‐ 19
TOMMY STEFFES                   10808 DEERWOOD DR SE                                                                       LOWELL           MI 49331‐9630
TOMMY STEWART CHEVROLET, INC.   THOMAS STEWART                   214 TEXAS ST                                              NATCHITOCHES     LA 71457‐4726
TOMMY STEWART OF NATCHITOCHES   THOMAS STEWART                   214 TEXAS ST                                              NATCHITOCHES     LA 71457‐4726
TOMMY STEWART OF NATCHITOCHES   214 TEXAS ST                                                                               NATCHITOCHES     LA 71457‐4726
TOMMY STRICKBINE                802 S D ST                                                                                 HERINGTON        KS 67449‐3018
TOMMY STRONG                    C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS       OH 44236
TOMMY STURGIS                   19909 STATE ROUTE 115                                                                      COLUMBUS GRV     OH 45830‐9276
TOMMY SULFRIDGE                 314 E PERRY ST                                                                             PAULDING         OH 45879‐1415
TOMMY SUTHERBY                  3849 SCHOLTZ RD                                                                            LAPEER           MI 48446‐8792
TOMMY SYKES                     909 3RD ST NW                                                                              DECATUR          AL 35601‐1527
TOMMY TAPIA                     11445 AMBOY AVE                                                                            SAN FERNANDO     CA 91340‐4160
TOMMY TAYLOR                    12030 ROSEMOUNT ST                                                                         DETROIT          MI 48227
TOMMY TERRAZAS                  2220 LYSANDER AVE                                                                          SIMI VALLEY      CA 93065‐1757
TOMMY TERRY                     4864 BARCLAY SQUARE DR                                                                     ANTIOCH          TN 37013‐2825
TOMMY THOMAS                    PO BOX 5568                                                                                SAGINAW          MI 48603‐0568
TOMMY THOMAS                    18271 STAHELIN AVE                                                                         DETROIT          MI 48219‐2802
TOMMY THOMAS                    510 W 1400 N W                                                                             ALEXANDRIA       IN 46001
TOMMY THOMAS CHEVROLET, INC.    2251 W 23RD ST                                                                             PANAMA CITY      FL 32405‐2344
TOMMY THOMAS CHEVROLET, INC.    WILLIAM CRAMER                   2251 W 23RD ST                                            PANAMA CITY      FL 32405‐2344
TOMMY THOMPSON                  514 CANDACE DR.                                                                            SPRINGFIELD      OH 45504‐3708
TOMMY THOMPSON                  3102 HOAGLAND BLACKSTUB RD                                                                 CORTLAND         OH 44410‐9228
TOMMY THOMPSON                  14 SOUTH TRAIL                                                                             DALLAS           GA 30157‐3703
                                    09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                     Part 37 of 40 Pg 287 of 901
Name                               Address1                       Address2                      Address3    Address4         City               State Zip
TOMMY THOMPSON                     3091 RANDOLPH GOOD LUCK RD                                                                EDMONTON            KY 42129‐9041
TOMMY THOMPSON                     514 CANDACE DR                                                                            SPRINGFIELD         OH 45504‐3708
TOMMY TIDWELL                      1629 COUNTY ROAD 644                                                                      HEFLIN              AL 36264‐4837
TOMMY TILLMON                      1028 MEANDERING WAY                                                                       FRANKLIN            TN 37067‐4042
TOMMY TOLLE                        2917 COLONIAL AVE                                                                         KETTERING           OH 45419‐2033
TOMMY TOLLIVER                     5569 STATE ROUTE 288                                                                      GALION              OH 44833‐9044
TOMMY TROUT                        35252 SHEFFIELD ST                                                                        WESTLAND            MI 48186‐4456
TOMMY TUCK                         1800 E HILLS DR                                                                           MOORE               OK 73160‐6639
TOMMY TUCKER                       150 MEADOW LN                                                                             FITZGERALD          GA 31750‐8654
TOMMY TUCKER                       230 DONEGAL DR                                                                            ROCHESTER HILLS     MI 48309‐1223
TOMMY TUCKER                       3270 KNOX RD                                                                              TOOMSUBA            MS 39364‐9513
TOMMY TURNER                       1235 CLOVERLEAF LN                                                                        MIAMISBURG          OH 45342‐6204
TOMMY V MORGAN                     2601 ROCKLEDGE TRL                                                                        BEAVERCREEK         OH 45430‐1806
TOMMY VO                           9400 SAWGRASS DR                                                                          MIAMISBURG          OH 45342
TOMMY W CARTER                     SPOUSE/BARBARA ANN CARTER      HC 31 BOX 320                                              WELCH               WV 24801
                                   (DECEASED)
TOMMY W CARTER ‐ BARBAR ANN CARTER C/O MCKENNA & ASSOCIATES PC    436 BOULEVARD OF THE ALLIES   SUITE 500                    PITTSBURGH         PA 15219‐1331
SPOUSE DECEASED
TOMMY W KIDD                       12406 HOOVER RD                                                                           HILLSBORO          OH   45133‐6022
TOMMY W LAMBDIN                    1472 STRETCH DR                                                                           DAYTON             OH   45434
TOMMY WALDRON                      8971 E BOYER RD                                                                           CARSON CITY        MI   48811‐9555
TOMMY WALL                         PO BOX 2206                                                                               OVERGAARD          AZ   85933‐2206
TOMMY WALLACE                      920 W 15TH ST                                                                             MUNCIE             IN   47302‐3064
TOMMY WALLS                        764 HAMPTON RD                                                                            ARLINGTON          TX   76017‐5437
TOMMY WARK                         5320 ELMWOOD RD                                                                           AKRON              MI   48701‐9613
TOMMY WARLEN                       55 RUE GRAND DR                                                                           LAKE ST LOUIS      MO   63367‐1721
TOMMY WARREN                       1245 PAREE STREET                                                                         NEWPORT            MI   48166‐9468
TOMMY WASHINGTON                   483 KUHN ST                                                                               PONTIAC            MI   48342‐1943
TOMMY WATERS                       7700 W STATE ROAD 28                                                                      MUNCIE             IN   47304‐8847
TOMMY WATKINS                      211 SYCAMORE DR                                                                           DECATUR            GA   30030‐2739
TOMMY WATKINS                      5705 HARPER RD                                                                            KEITHVILLE         LA   71047‐7930
TOMMY WATSON                       100 COLLINWOOD DR                                                                         MONROE             LA   71203‐8803
TOMMY WATTS                        4507 N OAKLEY AVE                                                                         KANSAS CITY        MO   64117‐1445
TOMMY WAYNE STEPHENS               WEITZ & LUXENBERG P C          700 BROADWAY                                               NEW YORK           NY   10003
TOMMY WEATHERFORD                  713 ROUNDTREE DR                                                                          MESQUITE           TX   75150‐4715
TOMMY WEIKART                      617 E LINCOLN WAY                                                                         LISBON             OH   44432‐1438
TOMMY WEST                         11018 S LOWE AVE                                                                          CHICAGO            IL   60628‐4026
TOMMY WHEATLEY                     9124 TANSEL PARK CT                                                                       INDIANAPOLIS       IN   46234‐9686
TOMMY WHETSEL                      442 E STATE ST                                                                            PENDLETON          IN   46064‐1033
TOMMY WHITE                        10616 SHORESIDE DR                                                                        OKLAHOMA CITY      OK   73170‐2534
TOMMY WHITE                        1737 PARISH RD                                                                            KAWKAWLIN          MI   48631‐9460
TOMMY WILKINSON                    805 RAIBLE AVE                                                                            ANDERSON           IN   46011‐2534
TOMMY WILLIAMS                     PO BOX 2334                                                                               POQUOSON           VA   23662‐0334
TOMMY WILLIAMS                     PO BOX 1214                                                                               SAGINAW            MI   48606‐1214
TOMMY WYATT I I                    239 W FAIRMOUNT AVE                                                                       PONTIAC            MI   48340‐2741
TOMMY WYNN                         313 CUMBERLAND VIEW RD                                                                    CLINTON            TN   37716‐5451
TOMMY YOUNG                        4105 TOLEDO AVE                                                                           FORT WORTH         TX   76133‐5435
TOMMY YOUNG                        11149 US HIGHWAY 50                                                                       SHOALS             IN   47581‐7257
TOMMY YOUNG                        301 COUNTRY ACRES UNIT 4                                                                  LOUISVILLE         KY   40218‐4039
TOMMY ZELLERS SR                   22364 RIVER CHASE LN                                                                      DEFIANCE           OH   43512‐6867
TOMMY ZIDZIK                       48639 PIN OAK DR                                                                          MACOMB             MI   48044‐1425
TOMMY'S AUTO RADIATOR              2643 22ND AVE N                                                                           SAINT PETERSBURG   FL   33713‐4319
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                          Part 37 of 40 Pg 288 of 901
Name                                Address1                           Address2                        Address3             Address4             City            State Zip
TOMMY'S HI TECH AUTO                620 FORT WORTH DR                                                                                            DENTON           TX 76201‐7135
TOMMYE ALTOM                        165 DEERHUNTER LN                                                                                            POWDER SPGS      GA 30127‐6594
TOMMYE WHITE                        27243 HOOVER RD                    APT. 34                                                                   WARREN           MI 48093
TOMMYE WILLIAMS                     320 CRESTWOOD RD                                                                                             TYRONE           GA 30290‐2303
TOMMYS MOTORS                       2268 WHARNCLIFFE RD S                                                                   LONDON ON N6P 1L1
                                                                                                                            CANADA
TOMNITZ, KEITH A                    9712 MIRIAM AVE                                                                                              OVERLAND        MO   63114‐3812
TOMO ZARKOV                         19847 GILL RD                                                                                                LIVONIA         MI   48152‐1118
TOMO ZOKVIC                         7777 W EATON HWY                                                                                             GRAND LEDGE     MI   48837‐9311
TOMO, JOSEPH G                      2221 ROBINSON RD                                                                                             LANSING         MI   48910‐4839
TOMODA, JAMES S                     7 PEBBLE BEACH LN                                                                                            WESTPORT        CT   06880
TOMOKI PIEKENBROCK                  THOMAS PIEKENBROCK                 FELDSTR 54                                           40479 DUSSELDORF
                                                                                                                            GERMANY
TOMOLLAN, ROBERT                    7607 BAYSIDE AVE                                                                                             FORT HOWARD     MD   21052
TOMON, DEBERA A                     132 HILLTOP ROAD                                                                                             GREENVILLE      PA   16125‐9220
TOMON, DEBERA A                     132 HILLTOP RD                                                                                               GREENVILLE      PA   16125‐9220
TOMORROWS AMERICA ENTERPRISES       MICHAEL BROOME                     1450 S BEERSHEBA RD                                                       CLOVER          SC   29710‐7754
TOMORROWS CHILD MICHIGAN SIDS INC   112 E ALLEGAN ST STE 500                                                                                     LANSING         MI   48933‐1830

TOMORY, JAMES A                     6980 TAMARACK DR                                                                                             HUBBARD         OH   44425‐3050
TOMOSKY, MILDRED R                  1179 WOLFE AVE                                                                                               BRADDOCK        PA   15104‐2714
TOMOTHY BRADY                       23 BALSAM RD                                                                                                 WILMINGTON      DE   19804‐2642
TOMPA, EVELYN D                     2825 WIENEKE RD.                   APT 60                                                                    SAGINAW         MI   48603
TOMPA, EVELYN D                     2825 WIENEKE RD APT 60                                                                                       SAGINAW         MI   48603‐2605
TOMPA, FRANK J                      15665 CYNTHIA ST                                                                                             SOUTHGATE       MI   48195‐2012
TOMPA, FRANK M                      9467 BURNING TREE DR                                                                                         SAGINAW         MI   48609‐9521
TOMPA, GARY J                       6080 SHATTUCK RD                                                                                             SAGINAW         MI   48603‐2614
TOMPA, MARGIT                       8900 PERRIN ST                                                                                               LIVONIA         MI   48150‐3960
TOMPA, MARGIT                       8900 PERRIN DR                                                                                               LIVONIA         MI   48150‐3960
TOMPACH, FAYE M (DECEASED)          5837 MITCHELL CANYON CT                                                                                      CLAYTON         CA   94517‐1334
TOMPKIN, ELLIE O                    18258 MENDOTA ST                                                                                             DETROIT         MI   48221‐1945
TOMPKINS ALLEN                      150 S EAST AVE                                                                                               JACKSON         MI   49201‐2412
TOMPKINS JASON                      15 SCRIBO LANE                                                                                               WAPPINGERS FL   NY   12590‐3611
TOMPKINS JIMMIE L (640602)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA   23510
                                                                       STREET, SUITE 600
TOMPKINS JR, CORDELL                227 W HOUSER AVE                                                                                             GASSVILLE       AR 72635‐8511
TOMPKINS JR, FRANK                  4982 1 MILE RD                                                                                               SEARS           MI 49679‐8090
TOMPKINS MIKE (448278)              BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                             NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
TOMPKINS MOTORSPORTS                1180 UTOY SPRINGS RD SW                                                                                      ATLANTA         GA   30331‐2114
TOMPKINS PAULA                      7 LADERA DR                                                                                                  TEXARKANA       TX   75503‐1805
TOMPKINS PRINTING EQUIPMENT CO      ATTN: JOHN TOMPKINS                1040 W GRAND BLVD                                                         DETROIT         MI   48208‐2337
TOMPKINS PRODUCTS                   CHARLIE TOMPKINS 101               1040 W GRAND BLVD               C/O FREDERICK COOK                        DETROIT         MI   48208‐2337
TOMPKINS PRODUCTS                   CHARLIE TOMPKINS 101               C/O FREDERICK COOK              1040 W GRAND BLVD                         CLINTON TWP     MI   48036
TOMPKINS PRODUCTS                   1040 W GRAND BLVD                                                                                            DETROIT         MI   48208‐2337
TOMPKINS PRODUCTS INC                                                  1040 W GRAND BLVD                                                         DETROIT         MI   48208‐2337
TOMPKINS PRODUCTS INC               1040 W GRAND BLVD                                                                                            DETROIT         MI   48208‐2337
TOMPKINS PRODUCTS INC               CHARLIE TOMPKINS 101               1040 W GRAND BLVD               C/O FREDERICK COOK                        DETROIT         MI   48208‐2337
TOMPKINS PRODUCTS INC               CHARLIE TOMPKINS 101               C/O FREDERICK COOK              1040 W GRAND BLVD                         CLINTON TWP     MI   48036
TOMPKINS ROGER                      1096 GAULT DR                                                                                                YPSILANTI       MI   48198‐6424
TOMPKINS VIRGINIA                   120 SKYLINE DR                                                                                               TRUSSVILLE      AL   35173‐1033
TOMPKINS, ALICE A                   1573 N HICKORY RD APT 5                                                                                      OWOSSO          MI   48867‐9490
                          09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                              Part 37 of 40 Pg 289 of 901
Name                      Address1                            Address2                      Address3   Address4         City             State Zip
TOMPKINS, AMANDA P        6717 HARTFORD                                                                                 DETROIT           MI 48210‐1309
TOMPKINS, AMANDA P        6717 HARTFORD ST                                                                              DETROIT           MI 48210‐1309
TOMPKINS, ARTHUR L        PO BOX 181                                                                                    WOODBURY          TN 37190‐0181
TOMPKINS, BERNARD L       1965 WALDENWOOD TRAIL                                                                         HARBOR SPGS       MI 49740‐9358
TOMPKINS, BETTY J         55 CHANNING CIRCLE                  HIDDEN LAKE ESTATE                                        LEONIARD          MI 48367
TOMPKINS, BILL            307 E STATE ST                                                                                CLARE             MI 48617‐1319
TOMPKINS, BRENDA A        1424 W STEWART ST                                                                             DAYTON            OH 45408‐1818
TOMPKINS, CHARLES E       4 HARRINGTON DR S                   HOLIDAY CITY BERKELEY                                     TOMS RIVER        NJ 08757‐4046
TOMPKINS, CHRISTINA M     2133 BURDIC DR                                                                                TROY              MI 48085‐1025
TOMPKINS, DALE R          15244 BRAINBRIDGE CIRCLE                                                                      PORT CHARLOTTE    FL 33981‐5134
TOMPKINS, DANNY L         1803 CHARLES ST                                                                               ANDERSON          IN 46013‐2723
TOMPKINS, DAVID C         1202 W KINLEY RD                                                                              SAINT JOHNS       MI 48879‐9085
TOMPKINS, DENETTA F       5626 PINTO CT                                                                                 INDIANAPOLIS      IN 46228‐1671
TOMPKINS, DIANE           3328 LUPINE DR                                                                                INDIANAPOLIS      IN 46224‐2035
TOMPKINS, DOLLIE W        PO BOX 174                          311 HINSHAW                                               KENNARD           IN 47351‐0174
TOMPKINS, DOLLIE W        311 HINSHAW                         PO BOX 174                                                KENNARD           IN 47351‐9999
TOMPKINS, DONNA           661 N LORENZ RD                                                                               TAWAS             MI 48763‐9750
TOMPKINS, DOUGLASS L      9745 STONEROCK CT                                                                             CENTERVILLE       OH 45458‐4036
TOMPKINS, EVA B           31 GRIDER ST                                                                                  BUFFALO           NY 14215‐4029
TOMPKINS, FREDA M         9710 36TH ST SE                                                                               LOWELL            MI 49331‐8944
TOMPKINS, FREDA M         9710 36TH SE                                                                                  LOWELL            MI 49331‐8944
TOMPKINS, FRIEDA M        8382 WILLITS RD                                                                               FOSTORIA          MI 48435‐9425
TOMPKINS, GABRIEL         5596 ALMAVILLE RD                                                                             SMYRNA            TN 37167‐5884
TOMPKINS, GARY L          2051 STONEYBROOK LN                                                                           TEMPERANCE        MI 48182‐9466
TOMPKINS, GARY R          169 N MILL ST APT 2                                                                           PONTIAC           MI 48342‐2370
TOMPKINS, GLENN T         1020 VERLENE DR                                                                               FLORISSANT        MO 63031‐3351
TOMPKINS, HOLLI N         943 INDIANWOOD RD                                                                             LAKE ORION        MI 48362‐1324
TOMPKINS, HOWARD D        6200 SE 9TH ST                                                                                MIDWEST CITY      OK 73110‐2442
TOMPKINS, JACK C          872 GOODRICH RD                                                                               FOSTORIA          MI 48435‐9518
TOMPKINS, JAMES H         BOX 397 52 A ST                                                                               WILKINSON         IN 46186
TOMPKINS, JAMES L         33340 BOULDER DR                                                                              N RIDGEVILLE      OH 44039‐2614
TOMPKINS, JAMES M         PO BOX 234                                                                                    FORTVILLE         IN 46040‐0234
TOMPKINS, JAMES R         11051 F.M. HIGHWAY753                                                                         ATHENS            TX 75751
TOMPKINS, JENNA H         5919 S CHARLIE AVE                                                                            BLOOMINGTON       IN 47403
TOMPKINS, JERMEL S        400 N STATE HIGHWAY 360 APT 1126                                                              MANSFIELD         TX 76063‐3590
TOMPKINS, JERMEL S        1701 TOWNE CROSSING BLVD APT 1038                                                             MANSFIELD         TX 76063‐8959
TOMPKINS, JIMMIE L        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                              STREET, SUITE 600
TOMPKINS, JOANNA L        227 W HOUSER AVE                                                                              GASSVILLE        AR   72635‐8511
TOMPKINS, JOHN D          2133 BURDIC DR                                                                                TROY             MI   48085‐1025
TOMPKINS, JOHN L          3431 E 100 N                                                                                  HUNTINGTON       IN   46750‐9312
TOMPKINS, JOHN L.         3431 E 100 N                                                                                  HUNTINGTON       IN   46750‐9312
TOMPKINS, JOHN W          2239 E MOUNT MORRIS RD                                                                        MOUNT MORRIS     MI   48458‐8801
TOMPKINS, JOHNNY E        1404 DURAND ST                                                                                FLINT            MI   48503‐3518
TOMPKINS, JOHNNY EDWARD   1404 DURAND ST                                                                                FLINT            MI   48503‐3518
TOMPKINS, JOSEPH N        1228 VALLEY DR                                                                                TRAVERSE CITY    MI   49684‐8289
TOMPKINS, JOSEPH W        38 E MORGAN ST                                                                                KNIGHTSTOWN      IN   46148‐1032
TOMPKINS, JUDY A          146 QUERECHO LN                                                                               ALBANY           GA   31707‐1260
TOMPKINS, JUNIOR J        137 E MILLINGTON RD                                                                           MAYVILLE         MI   48744‐9393
TOMPKINS, KARYN L         4039 LOTUS DR                                                                                 WATERFORD        MI   48329‐1231
TOMPKINS, LINDA J         103 E SUFFOLK CT                                                                              FLINT            MI   48507‐4253
TOMPKINS, LINDA L         3431 E 100 N                                                                                  HUNTINGTON       IN   46750‐9312
                             09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                              Part 37 of 40 Pg 290 of 901
Name                         Address1                          Address2                      Address3   Address4         City               State Zip
TOMPKINS, MARIA C            517 ELM ST                                                                                  WINDSOR             CO 80550‐5249
TOMPKINS, MARY L             1020 VERLENE DR                                                                             FLORISSANT          MO 63031‐3351
TOMPKINS, MARY LOUI          108 BROOK VALLEY ST                                                                         GUN BARREL CITY     TX 75156
TOMPKINS, MICHAEL C          8208 WILLITS RD                                                                             FOSTORIA            MI 48435‐9426
TOMPKINS, MICHAEL N
TOMPKINS, MILDRED E          5895 CALETA DRIVE                                                                           LANSING            MI   48911‐6471
TOMPKINS, NANCY L            50 SPARKSVILLE RD                                                                           COLUMBIA           KY   42728
TOMPKINS, PATRICIA K         11647 19 MILE RD                                                                            TUSTIN             MI   49688
TOMPKINS, PATRICIA K         5364 HUBBARD DR                                                                             FLINT              MI   48506‐1169
TOMPKINS, PATRICIA R         2190 CLEARVIEW AVE NW                                                                       WARREN             OH   44483‐1334
TOMPKINS, PAULA S            18 HOPSON AVE                                                                               LITTLE FALLS       NJ   07424‐1707
TOMPKINS, RALPH A            PO BOX 177                                                                                  FOSTORIA           MI   48435‐0177
TOMPKINS, RANDON B           1404 N GLEN ELLYN ST                                                                        INDEPENDENCE       MO   64056
TOMPKINS, RANDY              153 BRANDUS DRIVE                                                                           HAYESVILLE         NC   28904‐4645
TOMPKINS, RANDY L            10211 W HAZELWOOD AVE                                                                       PHOENIX            AZ   85037‐5219
TOMPKINS, RANDY LEE          10211 W HAZELWOOD AVE                                                                       PHOENIX            AZ   85037‐5219
TOMPKINS, RAYMOND H          345 GAELIC WAY                                                                              TYRONE             GA   30290‐1866
TOMPKINS, ROBERTA            324 DORAL PARK DR                                                                           KOKOMO             IN   46901‐7018
TOMPKINS, ROGER G            1096 GAULT DR                                                                               YPSILANTI          MI   48198‐6424
TOMPKINS, ROSE MARY D        2415 LIBRA DR                                                                               GARLAND            TX   75044‐6661
TOMPKINS, RUTH H             5058 BACK SQUARE DR APT 213                                                                 OWENSBORO          KY   42301‐7469
TOMPKINS, SUSAN M            1725 BANMOOR DR                                                                             TROY               MI   48084‐1534
TOMPKINS, TAMMY              2453 WHEELER AVENUE                                                                         DAYTON             OH   45406‐1734
TOMPKINS, TERRY L            2946 SHADY HOLLOW DR                                                                        WHITE LAKE         MI   48383
TOMPKINS, THELMA L           2239 E. MOUNT MORRIS RD                                                                     MOUNT MORRIS       MI   48458‐8801
TOMPKINS, THELMA L           2239 E MOUNT MORRIS RD                                                                      MOUNT MORRIS       MI   48458‐8801
TOMPKINS, THERIA G.          PO BOX 368                                                                                  SHIRLEY            IN   47384‐0368
TOMPKINS, THERON J           RR 1 BOX 180                                                                                PATTERSON          MO   63956‐9744
TOMPKINS, THOMAS             2537 FULLER RD                                                                              BURT               NY   14028‐9790
TOMPKINS, THOMAS E           50 SPARKSVILLE RD                                                                           COLUMBIA           KY   42728‐8581
TOMPKINS, THOMAS J           806 ROWLEY ST                                                                               OWOSSO             MI   48867‐3849
TOMPKINS, THOMAS R           349 KINROSS AVE                   C/O JEANINE HENSON                                        CLAWSON            MI   48017‐1490
TOMPKINS, TOM R              5895 CALETA DR                                                                              LANSING            MI   48911‐6471
TOMPKINS, TONYA E            1924 MEADOW SPRINGS DR                                                                      HASLET             TX   76052‐2871
TOMPKINS, VICKI JO           C\O S. SHANAMAN, 1740 BRIARWOOD                                                             MADISON HEIGHTS    MI   48071
TOMPKINS, VIRGINIA M         PO BOX 781                                                                                  UNION LAKE         MI   48387‐0781
TOMPKINS, VIRGINIA M         BOX 781                                                                                     UNION LAKE         MI   48387‐0781
TOMPKINS, WALLACE A          1455 GLENDALE AVE                                                                           DAYTON             OH   45406‐5924
TOMPKINS, WAYNE D            661 N LORENZ RD                                                                             TAWAS CITY         MI   48763‐9750
TOMPKINS/DETROIT             1040 W GRAND BLVD                                                                           DETROIT            MI   48208‐2337
TOMPOR SUZANNE               TOMPOR, SUZANNE
TOMPOR, ADELLA               34115 CALENDAR CT                                                                           STERLING HEIGHTS   MI   48310‐6675
TOMPOR, JENNY L              7320 SPARLING DR                                                                            SHELBY TWP         MI   48316‐5340
TOMPOR, SUZANNE J            8401 18 MILE RD APT 68                                                                      STERLING HEIGHTS   MI   48313‐3046
TOMPRAS, JEANNE              7 FOXBORO RD                                                                                SAINT LOUIS        MO   63124‐1268
TOMPSEN, RITA M              199 N SHORE RD # 605                                                                        CAROGA LAKE        NY   12032
TOMPSETT LELAND J (405612)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                               STREET, SUITE 600
TOMPSETT, LELAND J           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                               STREET, SUITE 600
TOMPSON, LINDA               5823 CONWAY RD                                                                              BETHESDA           MD 20817‐3413
TOMRA EAST                   1 CORPORATE DR                    STE 710                                                   SHELTON            CT 06484‐6243
                                   09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                    Part 37 of 40 Pg 291 of 901
Name                               Address1                      Address2            Address3         Address4         City              State Zip
TOMRA EAST                         DAVID MICHAUD                 TOMRA EAST                                            WORCESTER          MA
TOMRELL, MARLENE SUE               2230 MONTROYAL AVE                                                                  WATERFORD          MI 48328‐1726
TOMRELL, RONALD E                  1431 BOGIE LAKE RD                                                                  WHITE LAKE         MI 48383‐2774
TOMRELL, THOMAS F                  310 EAST SHEFFIELD AVENUE                                                           PONTIAC            MI 48340‐1969
TOMRELL, THOMAS F                  310 E SHEFFIELD AVE                                                                 PONTIAC            MI 48340‐1969
TOMS DAVID                         6606 GILBERT DR                                                                     SHREVEPORT         LA 71106‐2300
TOMS JR, GORDON C                  21 COLBY STREET                                                                     SPENCERPORT        NY 14559‐2206
TOMS JR, GORDON C                  21 COLBY ST                                                                         SPENCERPORT        NY 14559‐2206
TOMS JR, HARRY L                   977 MONUMENT RD                                                                     TAWAS CITY         MI 48763‐9366
TOMS RIVER CHEVROLET               386 ROUTE 37 E                                                                      TOMS RIVER         NJ 08753‐5538
TOMS SEWER AND DRAIN SERVICE INC   PO BOX 388                                                                          GIRARD             OH 44420‐0388
TOMS TRUCK CENTER                  909 N GRAND AVE                                                                     SANTA ANA          CA 92701‐4224
TOMS, ANDRE B                      779 S CHESTERFIELD RD                                                               COLUMBUS           OH 43209‐2630
TOMS, AVIS D                       1561 MYRTLE ST                                                                      ARCADIA            LA 71001‐3039
TOMS, CELIA F                      637 ESME DR                                                                         GIRARD             OH 44420‐2447
TOMS, CHRISTINE                    415 W MADISON ST                                                                    LANSING            MI 48906‐5026
TOMS, DELIGHT                      PO BOX 431                                                                          TUSTIN             CA 92781‐0431
TOMS, DONALD S                     3040 AMHERST ST                                                                     INDIANAPOLIS       IN 46268‐3254
TOMS, DOROTHY L                    977 MONUMENT RD                                                                     TAWAS CITY         MI 48763
TOMS, GINA G                       2748 W 23RD ST                                                                      GREELEY            CO 80634‐7652
TOMS, GORDON L                     7008 MACKEY ST                                                                      OVERLAND PARK      KS 66204‐1242
TOMS, HAROLD W                     7386 VIENNA ROAD                                                                    OTISVILLE          MI 48463‐9475
TOMS, HELEN H                      2520 WILSON BLVD APT 104                                                            WINCHESTER         VA 22601‐3516
TOMS, JAMES T                      3680 N SYCAMORE DR                                                                  MARION             IN 46952‐9707
TOMS, JOE M                        2716 25TH ST                                                                        MERIDIAN           MS 39301‐2057
TOMS, JOHN P                       9184 E KINNEY RD                                                                    BRANCH             MI 49402‐9616
TOMS, JOHN S                       113 RODNEY LN                                                                       ROCHESTER          NY 14625
TOMS, JOSEPH E                     32352 DONNELLY ST                                                                   GARDEN CITY        MI 48135‐3207
TOMS, JUNE                         103 N CENTER ST                                                                     WINDER             GA 30680‐2518
TOMS, MAXINE R                     779 S CHESTERFIELD RD                                                               COLUMBUS           OH 43209‐2630
TOMS, MURIEL K                     1100 JACKSON BLVD APT D302                                                          LEBANON            PA 17042‐7057
TOMS, ROSALIE S                    5079 W 16TH ST                                                                      SPEEDWAY           IN 46224‐6509
TOMS, THOMAS L                     1524 BOSTON BLVD                                                                    LANSING            MI 48910‐1134
TOMS, VIRGINIA F                   871 HEINCKE RD                                                                      WEST CARROLLTON    OH 45449‐1534
TOMSA, DARYL                       47159 SUNNYBROOK LN                                                                 NOVI               MI 48374‐3643
TOMSETT, ROBERT W                  3633 ROSE CANYON DR                                                                 NORTH LAS VEGAS    NV 89032‐7659
TOMSHA, MICHAEL L                  20358 GLORIA DR                                                                     MACOMB             MI 48044‐6343
TOMSIC, FRANCES J                  512 N LEWIS RUN RD APT 234                                                          PITTSBURGH         PA 15122‐3063
TOMSIC, JOHN T                     20151 LINDBERGH AVE                                                                 EUCLID             OH 44119‐2332
TOMSIC, JOSEPH                     70 FRANDEE LN                                                                       ROCHESTER          NY 14626‐2540
TOMSIC, JOSEPH                     70 FRANDEE LANE                                                                     ROCHESTER          NY 14626‐2540
TOMSIC, STEPHEN J                  292 LONG ACRE RD                                                                    ROCHESTER          NY 14621
TOMSICH, JOHN W                    11819 WILLIAM PENN AVE NE                                                           HARTVILLE          OH 44632‐9116
TOMSICH, PAUL                      3031 HOAGLAND BLACKSTUB RD                                                          CORTLAND           OH 44410‐9211
TOMSICH, PAUL                      3031 HOGLAND BLACKSTUB RD.                                                          CORTLAND           OH 44410‐9211
TOMSICH, VICKIE G                  647 KENMORE AVE NE                                                                  WARREN             OH 44483‐5523
TOMSICK, STEPHEN E                 3417 KEVIN CIR                                                                      WARREN             MI 48092‐2282
TOMSIK, ANDREW G                   6220 TRAYMORE AVE                                                                   BROOKLYN           OH 44144‐3743
TOMSIK, JOHN                       5043 E MOUNT MORRIS RD                                                              MOUNT MORRIS       MI 48458‐9713
TOMSIK, JOLAN                      5043 E MOUNT MORRIS RD                                                              MOUNT MORRIS       MI 48458‐9713
TOMSIK, JOLAN                      5043 E MT MORRIS RD                                                                 MT MORRIS          MI 48458‐9713
TOMSKI, PAUL L                     3009 PEARL STREET RD                                                                BATAVIA            NY 14020‐9575
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                                                    Part 37 of 40 Pg 292 of 901
Name                            Address1                                 Address2                   Address3                    Address4                City               State Zip
TOMSON STEEL COMPANY            1400 MADE DR                                                                                                            MIDDLETOWN          OH 45044‐8936
TOMSON, DAVID F                 1730 E 500 N                                                                                                            URBANA              IN 46990‐9319
TOMSON, STELLA P                1410 WINDYBUSH RD                        C/O KATHLEEN E. TAYLOR                                                         WILMINGTON          DE 19810‐4420
TOMSONS INC
TOMSONS INC                     44650 HELM CT                                                                                                           PLYMOUTH           MI   48170‐6061
TOMTEN, STEVEN A                PO BOX 274                                                                                                              OSSIAN             IN   46777‐0274
TOMTEN, STEVEN A                1436 LA SALLE ST                                                                                                        JANESVILLE         WI   53546‐2421
TOMTISHEN, JACK W               5678 LIBERTY PASS DR                                                                                                    LIBERTY TOWNSHIP   OH   45044‐8789
TOMURA J SNIDER                 888 PALLISTER ST APT 911                                                                                                DETROIT            MI   48202‐2673
TOMUSKO, DENNIS M               66 YORK IMPERIAL DR                                                                                                     AMHERST            OH   44001‐1368
TOMUSKO, JOHN E                 1409 MEISTER RD                                                                                                         LORAIN             OH   44053‐2405
TOMY COMPANY, LTD               MASARU NAKAJIMA, GENERAL MANAGER         GLOBAL SALES & MARKETING   4‐19‐16 AOTO, KATSUSHIKA‐   TOKYO 02861 JAPAN
                                                                         GROUP                      KU
TOMY COMPANY, LTD.              7‐9‐10, TATEISHI, KATSUSHIKA‐KU          TOKYO 124‐8511, JAPAN                                  JAPAN
TOMY COMPANY, LTD.
TOMY COMPANY, LTD.              7‐9‐10, TATEISHI, KATSUSHIKA‐KU, TOKYO                                                          JAPAN
                                124‐8511, JAPAN
TOMYA E HOWELL                  7715 HESSEN CASSEL RD                                                                                                   FORT WAYNE         IN 46816‐2627
TOMYL, BENJAMIN S               1264 NANTUCKET RD                                                                                                       VENICE             FL 34293‐5360
TON, QUY T                      1309 HARDING ST NW                                                                                                      GRAND RAPIDS       MI 49544
TON‐TEH HUANG & MING‐HUI TSAI   11F‐2 92 JING CHENG ROAD                                                                        40759 TAICHUNG TAIWAN
TONA GIPSON                     13511 TURNER ST                                                                                                         DETROIT            MI   48238‐2542
TONA L MOORE                    1196 N FOUR MILE RUN RD                                                                                                 YOUNGSTOWN         OH   44515
TONA L WARD                     2772 BOMARC ST.                                                                                                         DAYTON             OH   45404‐2621
TONACK LORNA                    PO BOX 582                                                                                                              BAKER CITY         OR   97814‐0582
TONACK, FRED W                  8909 N 117TH ST                                                                                                         OMAHA              NE   68142‐4264
TONAK, PATRICK J                36810 ENGLESIDE DR                                                                                                      STERLING HEIGHTS   MI   48310‐4550
TONAPI, SUHAS G                 48233 LAMPLIGHTER TRL                                                                                                   MACOMB             MI   48044‐1432
TONAWANDA (TOWN OF)             ROOM 14 MUNICIPAL BLDG                   2919 DELAWARE AVE                                                              KENMORE            NY   14217
TONAWANDA (TOWN OF)             PRETREATMENT DIVISION                    779 TWO MILE CREEK ROAD                                                        TONAWANDA          NY   14217
TONAWANDA (TOWN OF) PRTRT       PRETREATMENT DIVISION                    779 TWO MILE CREEK ROAD                                                        TONAWANDA          NY   14150
TONAWANDA TOWN CLERK            RM 14 MUNICIPAL BLDG                     2919 DELAWARE AVE                                                              KENMORE            NY   14217
TONAWANDA VALVE INC             369 RIVER RD                                                                                                            NORTH TONAWANDA    NY   14120‐7108
TONAWANDA, NY                   2919 DELAWARE AVE                                                                                                       KENMORE            NY   14217
TONAWANDS SPORTSMENS CLUB INC   5657 KILLIAN RD                                                                                                         NORTH TONAWANDA    NY   14120‐9598
TONCH BYNUM JR                  327 COUNCIL RD                                                                                                          FRANKLIN           VA   23851‐1535
TONCHE, CRUZ                    4805 HUGHES RD                                                                                                          LANSING            MI   48910‐5126
TONCRE, NORMAN L                28 LAKE PARK DR                                                                                                         CONNEAUT           OH   44030‐1192
TONDA ROBERSON
TONDA ROHERSON                  G3100 VAN SLYKE                                                                                                         FLINT              MI   48551‐0002
TONDA WOLF                      10122 BANCROFT RD                                                                                                       BANCROFT           MI   48414‐9774
TONDA, FLOSSIE B                15 RED MAPLE TER                                                                                                        SARASOTA           FL   34237‐6421
TONDA, TANICE K                 11323 CARPENTER                                                                                                         WHITMORE LAKE      MI   48189‐9325
TONDA, VICTORIA
TONDALAYO HARDEN‐GULLATTE       10 HILLPOINT ST                                                                                                         TROTWOOD           OH   45426‐3606
TONDALIA BALDWIN                2406 ROANOKE AVE                                                                                                        CLEVELAND          OH   44109‐4129
TONDERA, JOSEPH A               PO BOX 8                                                                                                                OLCOTT             NY   14126‐0008
TONDEREAU, JEAN M               25150 MCBRYDE TER 52B                                                                                                   CHANTILLY          VA   20152
TONDI MOATS                     6299 MARSHALL RD                                                                                                        DAYTON             OH   45459‐2234
TONDIA C HOOD                   124 WOODSONG WAY                                                                                                        TERRY              MS   39170‐8148
TONDINI, K J
TONDREAU, JAMES J               2053 KNOLLWOOD DR                                                                                                       CANTON             MI 48188‐2250
                            09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                              Part 37 of 40 Pg 293 of 901
Name                        Address1                       Address2                        Address3                     Address4         City               State Zip
TONDREAU, JAMES JOHN        2053 KNOLLWOOD DR                                                                                            CANTON              MI 48188‐2250
TONDRYK, BREDA A            14 NEVILLE LN                                                                                                ROCHESTER           NY 14618‐5610
TONDU, ROBERT W             2456 SAVAGE DR                                                                                               LAPEER              MI 48446‐8022
TONE, HELEN S               1221 LEINSTER DRIVE                                                                                          LEMONT               IL 60439‐4457
TONEA GLASS                 729 MALZAHN ST                                                                                               SAGINAW             MI 48602‐2936
TONELLATO, STEPHANIE A      3808 N MULLEN ST                                                                                             TACOMA              WA 98407‐4232
TONELLI, GIANNINO D         1261 ASHOVER DR                                                                                              BLOOMFIELD          MI 48304‐1212
TONELLI, JOHN               511 S CENTER AVE                                                                                             NEW STANTON         PA 15672‐9714
TONELLI, MARY V             10 FARRINGTON AVE                                                                                            SLEEPY HOLLOW       NY 10591‐1303
TONELLI, STEPHEN G          6337 ASHDALE CT                                                                                              LIBERTY TOWNSHIP    OH 45044‐8609
TONER ASSOCIATES            5446 OTTAWATTAMIE DR                                                                                         PENTWATER           MI 49449‐8506
TONER JR., KENNETH D        2500 MANN RD LOT 41                                                                                          CLARKSTON           MI 48346‐4243
TONER, BENJAMIN G           1485 CARRIAGE LN                                                                                             ROCHESTER HLS       MI 48306‐4212
TONER, DALLAS E             440 PATRICK AVE                                                                                              MERRITT ISLAND      FL 32953‐6147
TONER, DANIEL J             4117 DOERR RD                                                                                                CASS CITY           MI 48726‐8914
TONER, DENNIS L             1222 CHALET AVE.                                                                                             NEW CARLISLE        OH 45344‐5344
TONER, DENNIS L             1222 CHALET DR                                                                                               NEW CARLISLE        OH 45344‐2609
TONER, ERNESTINE H          13 WILSON AVE                                                                                                FAIRBORN            OH 45324‐2827
TONER, FREDERICK L          1431 97TH ST                                                                                                 NIAGARA FALLS       NY 14304‐2650
TONER, FREDERICK LEROY      1431 97TH ST                                                                                                 NIAGARA FALLS       NY 14304‐2650
TONER, GEORGE W             PO BOX 311                                                                                                   TOBACCOVILLE        NC 27050‐0311
TONER, HILDA R              76 GLADSTONE ST                                                                                              BUFFALO             NY 14207
TONER, JOEL G               8302 LAMPLIGHTER DR                                                                                          STERLING HEIGHTS    MI 48312‐4845
TONER, KENT J               804 W SAND BEACH DR                                                                                          SANFORD             MI 48657‐9328
TONER, MARK T               1104 S MAIN ST                                                                                               EATON RAPIDS        MI 48827‐1736
TONER, SHERRIE OLLIE M      175 OAK ST                                                                                                   FAIRBORN            OH 45324‐3341
TONER, TERRY L              1330 RAYBELL DR                                                                                              XENIA               OH 45385‐3747
TONER, TERRY L              1330 RAY BELL AVENUE                                                                                         XENIA               OH 45385‐3747
TONER, TONY R               2723 MORTON DRIVE                                                                                            SPRINGFIELD         OH 45505‐2740
TONETTA BAILEY              1011 E MICHIGAN AVE                                                                                          ALBION              MI 49224‐1932
TONETTE H DODSON            1172 SIGNATURE DR                                                                                            AUSTINTOWN          OH 44515‐3847
TONEX INC                   4540 BRIAR OAKS CIR                                                                                          DALLAS              TX 75287‐7500
TONEY 314380‐E‐2, PAUL E    PAUL TONEY B‐40‐L              OJIBWAY CORRECTIONAL FACILITY   N 5705 OJIBWAY RD.                            MARENISCO           MI 49947

TONEY CLAYTON (499395)      LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                                       MIAMI              FL 33143‐5163
TONEY GLASPER               830 MEREDITH ST                                                                                              DAYTON             OH 45402‐6365
TONEY J CHARLEY             C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                     HOUSTON            TX 77007
                            BOUNDAS LLP
TONEY JAMES                 7855 S STATE ROAD 267                                                                                        BROWNSBURG         IN 46112
TONEY JAMES E               C/O GLASSER AND GLASSER        CROWN CENTER                    580 EAST MAIN STREET SUITE                    NORFOLK            VA 23510
                                                                                           600
TONEY JOHN L III (663737)   HARVIT & SCHWARTZ LC           2018 KANAWHA BLVD E                                                           CHARLESTON         WV 25311‐2204
TONEY L GLASPER             830 MEREDITH ST                                                                                              DAYTON             OH 45407‐2365
TONEY L MATLOCK             5505 MOOREFIELD DRIVE                                                                                        HUBER HEIGHTS      OH 45424
TONEY LEVI (468413)         (NO OPPOSING COUNSEL)
TONEY NASSER                3162 CORNERSTONE DR                                                                                          FLUSHING           MI   48433‐3706
TONEY VINING                15711 EASTEP RD                                                                                              ATHENS             AL   35611‐7340
TONEY W DALTON              2408 EDEN LANE                                                                                               DAYTON             OH   45431
TONEY WADE                  PO BOX 999                                                                                                   PINCKNEY           MI   48169‐0999
TONEY, ALBERTA              PO BOX 2601                                                                                                  YOUNGSTOWN         OH   44507‐0601
TONEY, ALVERA H             322 FARMER DR                                                                                                MEDWAY             OH   45341‐9511
TONEY, ANGIE M              5885 BEECHCROFT RD APT 207                                                                                   COLUMBUS           OH   43229‐9146
                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                          Part 37 of 40 Pg 294 of 901
Name                    Address1                           Address2                  Address3   Address4         City              State Zip
TONEY, ANTHONY D        5994 SLATE DR                                                                            TROY               MI 48085‐3883
TONEY, ANTHONY DAVID    5994 SLATE DR                                                                            TROY               MI 48085‐3883
TONEY, ANTHONY L        3562 DEER PARK CT                                                                        HAYWARD            CA 94542‐2506
TONEY, BOOKER T         702 FATHER DUKETTE BLVD APT 1005                                                         FLINT              MI 48503‐1658
TONEY, BRENT N          117 STOCKARD LOOP                                                                        DELAWARE           OH 43015‐8457
TONEY, CAROLYN J        392 PINES CHURCH RD                                                                      SOMERVILLE         AL 35670‐6219
TONEY, CHARLES L        164 EDNA RD                                                                              COLUMBIA           MS 39429
TONEY, CHARLES R        1250 HOMESTEAD                                                                           MILFORD            MI 48381‐3310
TONEY, CHEVENE L        2644 KESSLER BLVD NORTH DR                                                               INDIANAPOLIS       IN 46222‐2217
TONEY, CLAYTON          THE LIPMAN LAW FIRM                5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES       FL 33146
TONEY, CLAYTON          LIPMAN DAVID M                     5901 SW 74TH ST STE 304                               MIAMI              FL 33143‐5163
TONEY, DALE E           5557 DEBRA RD                                                                            SHELBY TWP         MI 48316‐2467
TONEY, DORIS P          5994 SLATE DR                                                                            TROY               MI 48085‐3883
TONEY, EDITH P          1720 WALTON AVE                                                                          FLINT              MI 48532‐5251
TONEY, ELAINE           338 GARDNER AVE                                                                          TRENTON            NJ 08618‐2516
TONEY, ESSIE B          1015 DEKAWARE AVE AOT 503                                                                BUFFALO            NY 14208‐1624
TONEY, EVERET           430 S 22ND ST                                                                            SAGINAW            MI 48601‐1537
TONEY, FRANCES D        3910 SOUTHERN CROSS DRIVE                                                                BALTIMORE          MD 21207‐6427
TONEY, G M              2938 BURLINGTON DR                                                                       SAGINAW            MI 48601‐6977
TONEY, GERALENE O       7022 BENTON DR                                                                           PANAMA CITY        FL 32404‐4912
TONEY, GUINEVERE A      6 SILVER WAY CT                                                                          OCALA              FL 34472‐2655
TONEY, IVALEE           2201 W E ROBERTS                                                                         GRAND PRAIRIE      TX 75051‐1206
TONEY, JACKIE D         1013 NICENE CT                                                                           SUN CITY CENTER    FL 33573‐7151
TONEY, JAMES            12364 MARSHALL RD                                                                        MONTROSE           MI 48457‐8803
TONEY, JAMES CARL       BOONE ALEXANDRA                    205 LINDA DR                                          DAINGERFIELD       TX 75638‐2107
TONEY, JAMES W          1113 WILLOW TRCE                                                                         GRAYSON            GA 30017‐1109
TONEY, JOHN B           392 PINES CHURCH RD                                                                      SOMERVILLE         AL 35670‐6219
TONEY, JOHN L           HARVIT & SCHWARTZ LC               2018 KANAWHA BLVD E                                   CHARLESTON         WV 25311‐2204
TONEY, JOHN W           27006 KITCH ST                                                                           INKSTER            MI 48141‐2518
TONEY, JUNIOR P         1650 H D ATHA ROAD                                                                       MONROE             GA 30655‐5633
TONEY, KEITH W          8108 GRAHAMSON LN                                                                        CHARLOTTE          NC 28269
TONEY, KENNETH E        4120 OLD TROY PIKE                                                                       DAYTON             OH 45404‐1326
TONEY, LARRY A          10035 GULF BLVD                                                                          TREASURE ISLAND    FL 33706‐4806
TONEY, LATORIA YVETTE   214 5TH AVE NW                                                                           DECATUR            AL 35601‐2250
TONEY, LEVI             8025 TEMPLE RD                                                                           PHILADELPHIA       PA 19150‐1224
TONEY, LUE SHARON       9937 SUSSEX ST                                                                           DETROIT            MI 48227‐2009
TONEY, MARY D           1805 FAUVER AVE                                                                          DAYTON             OH 45420‐2504
TONEY, MARY DELL        1805 FAUVER AVENUE                                                                       DAYTON             OH 45420‐2504
TONEY, MICHAEL L        PO BOX 1192                                                                              COLUMBIA           TN 38402
TONEY, MICHAEL L        1844 HICKORY HILL DR                                                                     COLUMBUS           OH 43228
TONEY, MITCHELL M       3913 FLAT CREEK RD                                                                       OAKWOOD            GA 30566‐2738
TONEY, NATALIE S        130 MEADOW CREEK LANE                                                                    ATHENS             GA 30605
TONEY, PERRY ALAN       BOONE ALEXANDRA                    205 LINDA DR                                          DAINGERFIELD       TX 75638‐2107
TONEY, RETHA E          5406 DELLWOOD DR                                                                         INDIANAPOLIS       IN 46235‐4132
TONEY, RICHARD E        4718 WHITACRE DR                                                                         MORROW             OH 45152‐9778
TONEY, ROBERT D         8742 TOWNSHIP ROAD 34                                                                    GALION             OH 44833‐9072
TONEY, ROBERT L         493 IDORA AVE                                                                            YOUNGSTOWN         OH 44511‐4511
TONEY, RONALD E         19 MISSION HILLS ST                                                                      OAKLAND            CA 94605‐4612
TONEY, ROY E            PO BOX 337                                                                               FRANKLIN           GA 30217‐0337
TONEY, SARAH A          2131 FLAMINGO DRIVE                                                                      MOUNT MORRIS       MI 48458‐2633
TONEY, SHARON K         3301 ORRIN AVE                                                                           YOUNGSTOWN         OH 44505‐4505
TONEY, SHARON K         1032 STATE ST                                                                            YOUNGSTOWN         OH 44506‐1039
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                     Exhibit B
                                                                        Part 37 of 40 Pg 295 of 901
Name                                 Address1                             Address2                          Address3                  Address4               City              State Zip
TONEY, SHIRLEY I                     1013 NICENE CT                                                                                                          SUN CITY CENTER    FL 33573‐7151
TONEY, TERRY A                       143 N GENESEE AVE                                                                                                       PONTIAC            MI 48341‐1108
TONEY, TERRY N                       996 E COUNTY ROAD 800 N                                                                                                 LIZTON             IN 46149‐9334
TONEY, THOMAS J                      501 S LAFAYETTE ST                                                                                                      FRANKTON           IN 46044‐9364
TONEY, TIMOTHY E                     1305 BIG CREEK RD                                                                                                       RAYMOND            MS 39154‐9609
TONEY, WENDELL L                     5957 WINTERBERRY DR                                                                                                     GALLOWAY           OH 43119‐9289
TONEY‐CREAZZO, MELISSA               100 MORNING IVY RD                                                                                                      GREENVILLE         SC 29607
TONG LIN                             2703 NIXON RD                                                                                                           ANN ARBOR          MI 48105‐1474
TONG P LEE                           116 W BEVERLY AVE                                                                                                       PONTIAC            MI 48340‐2620
TONG YANG ‐ GRILLE, GMC, CHEVROLET   KEYSTONE AUTOMOTIVE INDUSTRIES INC   YOUNG & BASILE P.C.               SUITE 624 3001 WEST BIG                          TROY               MI 48084‐3109
BOW TIE ‐ SETTLEMENT AGREEMENT                                                                              BEAVER ROAD

TONG YANG ‐ GRILLE, GMC, CHEVROLET   KEYSTONE AUTOMOTIVE INDUSTRIES INC   SUITE 624 3001 WEST BIG BEAVER                                                     TROY              MI 48084
BOW TIE ‐ SETTLEMENT AGREEMENT                                            ROAD

TONG YANG ‐ GRILLE, GMC, CHEVROLET   TONG YANG INDUSTRY CO LTD            801 W BIG BEAVER RD FIFTH FLOOR                                                    TROY              MI 48084
BOW TIE ‐ SETTLEMENT AGREEMENT

TONG, ANDREW K                       1571 PEBBLE CREEK DR                                                                                                    ROCHESTER         MI   48307‐1766
TONG, BIN                            10837 SARAH CT                                                                                                          FISHERS           IN   46037‐9055
TONG, FRANK A                        13134 CABIN CT                                                                                                          HUDSON            FL   34667‐1712
TONG, FU‐JIAO P                      3729 COOLIDGE HWY                                                                                                       TROY              MI   48084‐1418
TONG, FU‐JIAO PETER                  3729 COOLIDGE HWY                                                                                                       TROY              MI   48084‐1418
TONG, GARY H                         3420 S STATE RD                                                                                                         DAVISON           MI   48423‐8755
TONG, JERRY R                        400 HUNTERS GLEN CT                                                                                                     MOORE             OK   73160‐6739
TONG, JIE                            20751 GREENSIDE DRIVE                                                                                                   WALNUT            CA   91789‐3819
TONG, LARRY F                        389 PORTSIDE DR                                                                                                         NORTH PORT        FL   34287‐6511
TONG, RANDY L                        6021 SE 85TH ST                                                                                                         OKLAHOMA CITY     OK   73135‐6012
TONG, ROBERT T                       11 LA VILLA CT                                                                                                          FORT PIERCE       FL   34951‐2834
TONG, SANDRA J                       PO BOX 13                                                                                                               MC MILLAN         MI   49853‐0013
TONG, WILLIAM R                      16140 S DELGADO RD B                                                                                                    SAHUARITA         AZ   85629
TONGA BUSINESS                       ROAD TOWN                            TORTOLA
TONGA, HEATHER
TONGATE, JENNIFER L                  1018 ARROW CT                                                                                                           BOWLING GREEN     KY   42104‐4664
TONGAY, ETHEL L                      525 JOHN ST                                                                                                             COLLINSVILLE      IL   62234‐1023
TONGAY, ETHEL L                      525 JOHN                                                                                                                COLLINSVILLE      IL   62234‐1023
TONGE, JACOB                         203 RIVERSIDE TRL                                                                                                       ROANOKE RAPIDS    NC   27870‐9574
TONGEN DOLORES                       5817 HUNTER TRL                                                                                                         COLLEYVILLE       TX   76034
TONGJI UNIVERSITY                    ATTN JIANPING LIN                    1239 SIPING RD                                              SHANGHAI CHINA
TONGJI UNIVERSITY                    NO 1239 SIPING RD                                                                                SHANGHAI CN 200092
                                                                                                                                      CHINA (PEOPLE'S REP)
TONGUE CHARLES                       TONGUE, CHARLES H.
TONGUE, CLIFTON S                    200 N CULVER ST                                                                                                         BALTIMORE         MD   21229‐3009
TONGUE‐GEARING, FRANCES V            1471 LONG POND RD                    APT 213                                                                            ROCHESTER         NY   14626‐4130
TONGUETTE DEL R                      4101 HAMMERSMITH CIR                                                                                                    NEW ALBANY        OH   43054‐8417
TONGUETTE, DEL R                     4101 HAMMERSMITH CIR                                                                                                    NEW ALBANY        OH   43054‐8417
TONI & UTE WELTER                    BLOCKSBERGSTR 84                                                                                 D‐66955 PIRMASENS,
                                                                                                                                      GERMANY
TONI A LEFORGE                       165 JODIE LN                                                                                                            WILMINGTON        OH   45177
TONI A TAYLOR                        208 RUBICON ST APT 7                                                                                                    DAYTON            OH   45409
TONI ABNER                           6523 ANVIL DR                                                                                                           WAYNESVILLE       OH   45068‐8337
TONI ADAMS                           12459 W WASHINGTON AVE                                                                                                  MOUNT MORRIS      MI   48458‐1528
                                   09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                      Part 37 of 40 Pg 296 of 901
Name                               Address1                        Address2                   Address3                     Address4         City                State Zip
TONI ALBERTIE                      1635 CLIFF LANDING DR 202D                                                                               YPSILANTI            MI 48198
TONI BANKS                         PO BOX 28743                                                                                             COLUMBUS             OH 43228‐0743
TONI BENNETT                       4983 SPEAKER TRL                                                                                         MURRAY               KY 42071‐5534
TONI BENTLEY                       10412 CASA LINDA                                                                                         OKLAHOMA CITY        OK 73139‐5511
TONI BERRY                         10049 STANLEY RD                                                                                         FLUSHING             MI 48433‐9204
TONI BLACK                         3330 TUXEDO ST                                                                                           DETROIT              MI 48206‐1045
TONI BLEDSOE                       616 VAUGHANS GAP RD                                                                                      SPRING HILL          TN 37174‐2582
TONI BRADFORD                      PO BOX 99387                                                                                             TROY                 MI 48099‐9387
TONI BREMER                        616 E WHITEFEATHER RD                                                                                    PINCONNING           MI 48650‐8918
TONI CANTRELL                      740 GREENVILLE NASHVILLE RD                                                                              GREENVILLE           OH 45331‐9530
TONI CARTER                        4010 FOREST HILL AVE                                                                                     FLINT                MI 48504‐2247
TONI CORBAT                        4197 LARK LN                                                                                             FLINT                MI 48506‐1708
TONI CURTIS                        1110 CLARION CT                                                                                          AUSTELL              GA 30106‐8129
TONI D ALBERTIE                    1635 CLIFFS LANDING 202D                                                                                 YPSILANTI            MI 48198
TONI D BANKS                       PO BOX 28743                                                                                             COLUMBUS             OH 43228‐0743
TONI D GOSS                        265 S ALPHA‐BELLBROOK RD                                                                                 BELLBROOK            OH 45305
TONI D LENZI                       2788 TIDIOUTE ENTERPRISE RD                                                                              TIDIOUTE             PA 16351
TONI D MILLER                      2602 ELLIOTT AVE                                                                                         MANSFIELD            TX 76063‐3700
TONI D SLAUGHTER                   2602 ELLIOTT AVE                                                                                         MANSFIELD            TX 76063‐3700
TONI DISTEFANO                     132 WORRAL DR                                                                                            NEWARK               DE 19711‐4819
TONI E JACKSON                     5470 GERMANTOWN PIKE                                                                                     DAYTON               OH 45418‐1800
TONI E LEMONS                      1941 MARY CATHERINE ST                                                                                   YPSILANTI            MI 48198‐6246
TONI E NACKINO                     864 TRUESDALE RD                                                                                         YOUNGSTOWN           OH 44511
TONI ECKLES                        9008 NEFF RD                                                                                             MOUNT MORRIS         MI 48458‐1036
TONI ENGLE                         1549 REBERT PIKE                                                                                         SPRINGFIELD          OH 45506‐2344
TONI FOREMSKI                      418 N CAMPBELL RD                                                                                        ROYAL OAK            MI 48067‐2350
TONI G CORBAT                      4197 LARK LN                                                                                             FLINT                MI 48506‐1708
TONI GIAMBRONE                     4129 CHANCELLOR DR                                                                                       THOMPSONS STATION    TN 37179‐5311
TONI GILBERT                       9165 MAYFIELD RD                                                                                         CHESTERLAND          OH 44026‐2637
TONI GILL
TONI GLENN                         336 BROOKLYN AVE                                                                                         DAYTON              OH   45417‐2354
TONI GOODMAN                       302 HOLLY RIDGE DR                                                                                       MONROE              LA   71203‐2313
TONI GUZZI                         1625 TAYLOR AVENUE                                                                                       ARNOLD              PA   15068
TONI HAMILTON                      2826 HOYTE DR                                                                                            SHREVEPORT          LA   71118‐2504
TONI HEPFER                        1971 W 250 N                                                                                             ANDERSON            IN   46011‐9200
TONI J BLEDSOE                     616 VAUGHANS GAP RD                                                                                      SPRING HILL         TN   37174‐2582
TONI J CANTRELL                    740 GREENVILLE NASHVILLE ROAD                                                                            GREENVILLE          OH   45331
TONI J GIBSON WILLIAMS             ATTN: ROBERT W PHILLIPS         SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                    EAST ALTON          IL   62024
                                                                   ANGELIDES & BARNERD LLC    521
TONI J JOHNSON                     536 MONTANA AVE                                                                                          PONTIAC             MI 48341‐2538
TONI KEMP                          3794 BAXLEY POINT DR                                                                                     SUWANEE             GA 30024‐1827
TONI L BARAGAR PERSONAL            TONI L BARAGAR                  C/O BRAYTON PURCELL        222 RUSH LANDING RD                           NOVATO              CA 94948‐6169
REPRESENTATIVE FOR JAMES BARAGAR

TONI L BLACK                       3330 TUXEDO ST                                                                                           DETROIT             MI   48206‐1045
TONI L GIAMBRONE                   4129 CHANCELLOR DR                                                                                       THOMPSONS STATION   TN   37179‐5311
TONI L MAIORANO                    MOTLEY RICE LLC                 28 BRIDGESIDE BLVD         PO BOX 1792                                   MT PLEASANT         SC   29465
TONI L MANEY                       10715 W VAN BUREN RD                                                                                     RIVERDALE           MI   48877‐9708
TONI L OLINGER                     2358 ALPINE WAY                                                                                          DAYTON              OH   45406‐2101
TONI L OTTAWAY                     1123 JUNGLE CT                                                                                           LAKELAND            FL   33801‐2598
TONI L SHAW                        PO BOX 2603                                                                                              DAYTON              OH   45401‐2603
TONI L SHAW                        P0 BOX 2603                                                                                              DAYTON              OH   45401
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 297 of 901
Name                   Address1                        Address2            Address3         Address4         City               State Zip
TONI LAWSON            132 HOUNDS RUN DR                                                                     BOWLING GREEN       KY 42104‐7503
TONI LEE OTTAWAY       1123 JUNGLE CT                                                                        LAKELAND            FL 33801‐2598
TONI LEWIS             30016 PARKWOOD ST                                                                     INKSTER             MI 48141‐3805
TONI LOCKETT           2415 AURELIUS RD APT 52                                                               HOLT                MI 48842‐4704
TONI LOGAN             14535 CORAM ST                                                                        DETROIT             MI 48205‐1963
TONI M COLLINS         139 W CRAIG HILL DR 9G                                                                ROCHESTER           NY 14626
TONI M LUTE            3031 MESMER AVE                                                                       DAYTON              OH 45410
TONI M WILBANKS        2224 DEE NIX RD.                                                                      ALTOONA             AL 35952
TONI MAGNOSKI          PO BOX 167                                                                            NEW SPRINGFLD       OH 44443‐0167
TONI MANIEZ            35040 HARROUN ST                                                                      WAYNE               MI 48184‐2323
TONI MANN              7252 W SAGINAW HWY                                                                    SUNFIELD            MI 48890‐9741
TONI MARTINEZ          218 SOUTH AVENUE                                                                      TOLEDO              OH 43609‐3406
TONI MC CORD           2408 E HILLS DR                                                                       MOORE               OK 73160‐8944
TONI MILES             462 KUHN ST                                                                           PONTIAC             MI 48342‐1942
TONI MILLER            2602 ELLIOTT AVE                                                                      MANSFIELD           TX 76063‐3700
TONI NORRIS            6443 E COUNTY ROAD 600 S                                                              PLAINFIELD          IN 46168‐8646
TONI R ABNER           6523 ANVIL DRIVE                                                                      WAYNESVILLE         OH 45068
TONI R COLEMAN         58 LASER ST                                                                           ROCHESTER           NY 14621
TONI R HAMILTON        2826 HOYTE DR                                                                         SHREVEPORT          LA 71118‐2504
TONI R JOHNSTON        491 REAVES ROAD                                                                       ANNISTON            AL 36201
TONI R PRINGLE         1511 S HARRISON ST                                                                    SAGINAW             MI 48602‐1366
TONI RAE BRANDENBURG   12599 455TH ST                                                                        PLANO                IA 52581
TONI ROSA              5401 GREENVIEW DR                                                                     CLARKSTON           MI 48348‐3753
TONI RUNCI             35 FOXWOOD LN                                                                         UXBRIDGE            MA 01569‐2063
TONI RUSCH             510 BUTTERCUP DR                                                                      ROCHESTER HILLS     MI 48307‐5215
TONI S COLEMAN         4324 DROWFIELD DR                                                                     TROTWOOD            OH 45426
TONI S LAWSON          2220 FORREST AVE                                                                      GADSDEN             AL 35904
TONI SAMUEL            2728 DELLVIEW DR                                                                      FORT WAYNE          IN 46816‐4049
TONI SELF              5707 SE 48TH ST APT 205                                                               OKLAHOMA CITY       OK 73135‐4154
TONI SHEPHERD          16436 SIENNA CIR                                                                      CLINTON TOWNSHIP    MI 48038‐7312
TONI SHOBEY            9064 PIN OAK DRIVE                                                                    OLMSTED FALLS       OH 44138
TONI SIMS              3714 SHERRY DR                                                                        FLINT               MI 48506‐2684
TONI STEINER           1801 INDUSTRIAL ST APT 4                                                              HUDSON              WI 54016‐9150
TONI STREIT            400 GOLF VILLA DR                                                                     OXFORD              MI 48371‐3693
TONI STRUTZ
TONI SUTHERLAND        6650 HYDE PARK DR                                                                     FLORISSANT         MO   63033‐7909
TONI TURNER            2411 N 43RD ST                                                                        KANSAS CITY        KS   66104‐3413
TONI WARE              514 W EARLE AVE                                                                       YOUNGSTOWN         OH   44511‐1722
TONI WHEELER           4319 TOWNE CT                                                                         INDIANAPOLIS       IN   46254‐3410
TONI WHITE             1110 CLARION CT                                                                       AUSTELL            GA   30106‐8129
TONI WILLIAMS          4322 GREENLAWN DR                                                                     FLINT              MI   48504‐5412
TONI WILSON            796 SEBEK ST                                                                          OXFORD             MI   48371‐4453
TONI WOLFGANG          6592 W 200 N                                                                          PORTLAND           IN   47371‐8585
TONI WREN‐TUNSTALL     3902 BROWN STREET                                                                     FLINT              MI   48532‐5254
TONIA A WATKINS        4833 FAR HILLS AVE              # 1A                                                  DAYTON             OH   45429‐2303
TONIA ANDERSON         4902 E TILLMAN RD                                                                     FORT WAYNE         IN   46816‐4234
TONIA BANKS            PO BOX 33                                                                             WAYNE              MI   48184‐0033
TONIA BEARSS           900 LONG BLVD APT 716                                                                 LANSING            MI   48911‐6827
TONIA BOHNE            32321 NORWICH CT                                                                      FRASER             MI   48026‐2344
TONIA C JONES          4300 MIDWAY                                                                           DAYTON             OH   45417‐1316
TONIA COOK             4391 WHITE ACRES RD                                                                   CLARENCE           NY   14031‐1824
TONIA CRANFORD         2703 DELLA DR                                                                         DAYTON             OH   45408‐2431
                           09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                            Part 37 of 40 Pg 298 of 901
Name                       Address1                       Address2           Address3         Address4         City              State Zip
TONIA E CRANFORD           2703 DELLA DR                                                                       DAYTON             OH 45408‐2431
TONIA GUERIN               1516 WARD DR                                                                        FLINT              MI 48532‐4350
TONIA L BAKER              8690 LYTLE FERRY RD                                                                 WAYNESVILLE        OH 45068
TONIA L BEARSS             900 LONG BLVD APT 716                                                               LANSING            MI 48911
TONIA L LAWSON             PO BOX 1225                                                                         STOCKBRIDGE        GA 30281‐8225
TONIA LORENTZ              5418 PRIMROSE DR                                                                    FORT WAYNE         IN 46804‐3711
TONIA M PATTERSON          422 S ADAMS ST                                                                      YPSILANTI          MI 48197‐5462
TONIA MCDANIEL             2201 RENSHAW AVE                                                                    DAYTON             OH 45439‐3033
TONIA NAPPA                147 NORTHCREST AVE                                                                  CHEEKTOWAGA        NY 14225‐3433
TONIA O'BERRY              712 LENORE AVENUE                                                                   LANSING            MI 48910‐2765
TONIA PATTERSON            422 S ADAMS ST                                                                      YPSILANTI          MI 48197‐5462
TONIA R BURNS              1532 EARLHAM DR.                                                                    DAYTON             OH 45406
TONIA S BANKS              5455 N DAYTON LAKEVIEW RD                                                           NEW CARLISLE       OH 45344‐9592
TONIA S LEONARD            2504 LEHIGH PL                                                                      MORAINE            OH 45439‐2810
TONIA S NELSON             240 ETHAL JOHNSON RD                                                                SONTAG             MS 39665
TONIA STANLEY              PO BOX 471                                                                          FLINT              MI 48501‐0471
TONIA Y JOSHUA             1107 MT. BROOK DRIVE                                                                GADSDEN            AL 35901
TONIC NIGHT CLUB           ATTN: MARTIN COATS             29 S SAGINAW ST                                      PONTIAC            MI 48342‐2227
TONIE JOHNSON              PO BOX 145                                                                          CARDWELL           MO 63829‐0145
TONIE JOHNSON              536 MONTANA AVE                                                                     PONTIAC            MI 48341‐2538
TONIE JONES                8434 OXFORD LN                                                                      GRAND BLANC        MI 48439‐7452
TONIE PERRY                1856 N 27TH ST                                                                      KANSAS CITY        KS 66104‐4840
TONIES, PATRICK            S31W24833 GREEN VALLEY DR                                                           WAUKESHA           WI 53185‐7311
TONIETTE CROWELL           5011 N WILLIAMS RD                                                                  SAINT JOHNS        MI 48879‐8033
TONIETTE M CROWELL         5011 N WILLIAMS RD                                                                  SAINT JOHNS        MI 48879‐8033
TONIETTO, JULIE A          6760 AURORA DR                                                                      TROY               MI 48098‐2080
TONIKA FATHEREE            6389 CRYSTAL LAKE DR                                                                ROMULUS            MI 48174‐6394
TONILYNN SCHARF            221 GLEN EAGLES DR                                                                  OCEAN SPRINGS      MS 39564‐0712
TONINA M HARRIS            1649 DEWITT DR                                                                      DAYTON             OH 45406
TONINECZ, PAUL P           1275 MARELDA AVE                                                                    DONORA             PA 15033‐2243
TONIO JR, WILLIAM J        12918 BAIRD AVE                                                                     WARREN             MI 48088‐4735
TONIO, MARCIA A            12918 BAIRD AVE                                                                     WARREN             MI 48088‐4735
TONISHA FORTUNE
TONISSEN, JOHN C           60588 SPRINGTREE CT                                                                 BEND              OR   97702‐9444
TONITA BRANTLEY            617 S 800 E                                                                         GREENTOWN         IN   46936‐8784
TONITA DAVIDSON            1625 S MARKET ST                                                                    KOKOMO            IN   46902‐2236
TONITA KOON                1722 S BUCKEYE ST                                                                   KOKOMO            IN   46902‐2145
TONITA LAWSON              6327 LAURENTIAN CT                                                                  FLINT             MI   48532‐2039
TONJA BILLINGSLEY          1708 BLUE DANUBE ST APT 2080                                                        ARLINGTON         TX   76015‐3159
TONJA CAMPBELL             804 W COUNTY ROAD 600 S                                                             MUNCIE            IN   47302‐9132
TONJA L WEISSMAN           9811 JOAN CIR                                                                       YPSILANTI         MI   48197‐8296
TONJA T BUNTON             4655 LOCKSLEY DR                                                                    JACKSON           MS   39206
TONJES, DAVID W            3920 CHRISTY RD                                                                     DEFIANCE          OH   43512‐9604
TONJES, PAUL E             1025 LYNNE AVE                                                                      NAPOLEON          OH   43545‐1219
TONJIA URQUHART STOCKTON   PO BOX 273                                                                          SOMERSET CENTER   MI   49282‐0273
TONK, SUSAN E              2549 N LAKESHORE DRIVE                                                              CROWN POINT       IN   46307
TONKA ANIC                 6990 STURBRIDGE DR                                                                  PAINESVILLE       OH   44077‐2354
TONKIN, ERNEST B           3828 MARLA CIR                                                                      CLARKSVILLE       TN   37042‐7236
TONKIN, GERALD J           1836 BATON ROUGE ST                                                                 HENDERSON         NV   89052‐6834
TONKIN, GLENNA D           1646 GREENWOOD ST.                                                                  GIRARD            OH   44420‐1007
TONKINSON, EDWARD D        290 N LUNDY AVE                                                                     SALEM             OH   44460‐2928
TONKINSON, EILEEN A.       124 LAKEWOOD RD                                                                     NEW CASTLE        PA   16101‐2732
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                   Part 37 of 40 Pg 299 of 901
Name                             Address1                         Address2                     Address3        Address4                  City              State Zip
TONKOVICH, ANN M                 28578 IMPERIAL DRIVE                                                                                    WARREN             MI 48093‐4203
TONKOVICH, JOHN                  9063 DIVISION RD                                                                                        CASCO              MI 48064‐1210
TONKOVICH, PAUL J                8925 W 367TH ST                                                                                         LOUISBURG          KS 66053‐5933
TONKOVICH, PAUL JAMES            8925 W 367TH ST                                                                                         LOUISBURG          KS 66053‐5933
TONKOVICH, STEPHEN E             7335 E 32ND ST                                                                                          CHASE              MI 49623‐9702
TONKOVICH, THOMAS E              777 5TH ST APT 2                                                                                        BEAVER             PA 15009‐1947
TONKS, DARRYL F                  5313 PINEWOOD DR                                                                                        FLUSHING           MI 48433‐2439
TONKS, DONALD                    243 HUNTER LN                                                                                           WAVERLY            TN 37185‐2926
TONKS, LAURA S                   PO BOX 9022                      C/O GM DO BRAZIL                                                       WARREN             MI 48090‐9022
TONKS, SCOTT D                   AV WASHINGTON LUIZ 1576          APT 61                                       SAO PAULO BRAZIL 04662‐
                                                                                                               902
TONKS, SCOTT DAVID               AV WASHINGTON LUIZ, 1576         APTO 61                                      SAO PAULO SP 04662‐002
                                                                                                               BRAZIL
TONN JR, RICHARD V               2009 HEADWATER LN                                                                                       AUSTIN            TX   78746‐7840
TONN, KAREN M                    5713 MARBLE DR                                                                                          TROY              MI   48085‐3918
TONN, LOUISA                     265 CLUBHOUSE DR                                                                                        SATSBURG          PA   15681‐2405
TONN, MARK A                     13744 GRAHAM DR                                                                                         SHELBY TWP        MI   48315‐3821
TONN, WILLIAM A                  265 CLUBHOUSE DR                                                                                        SALTSBURG         PA   15681‐2405
TONNA M PINTO‐GROSS              6590 APPLETON CT                                                                                        MIDDLETOWN        OH   45044‐8841
TONNA PINTO‐GROSS                6590 APPLETON CT                                                                                        MIDDLETOWN        OH   45044‐8841
TONNA POSTON                     1115 ROSEBERRY LN                                                                                       CLIO              MI   48420‐1726
TONNA, CARMELO S                 14150 HIX ST                                                                                            LIVONIA           MI   48154‐4903
TONNE, CYNTHIA A                 57394 BROOKFIELD WAY                                                                                    WASHINGTON        MI   48094‐3181
TONNE, CYNTHIA AT                57394 BROOKFIELD WAY                                                                                    WASHINGTON        MI   48094‐3181
TONNE, MARY E                    7128 CROSSCUT CT                                                                                        FORT WAYNE        IN   46804‐8301
TONNE, WILLIAM R                 626 EDEN ROC DR                                                                                         XENIA             OH   45385‐1711
TONNEBERGER, JAMES A             6203 10TH AVENUE WEST                                                                                   BRADENTON         FL   34209‐4112
TONNEBERGER, MARY T              2911 PEERLESS AVE                                                                                       WATERFORD         MI   48328‐2649
TONNESSEN, CARL                  353 MADISON HILL RD                                                                                     CLARK             NJ   07066‐2226
TONNIE JOHNS                     18674 FORRER ST                                                                                         DETROIT           MI   48235‐2911
TONNIES, PAUL E                  823 HERON WOODS DR                                                                                      MANCHESTER        MO   63021‐6693
TONNIES, ROBERT R                707 W PEACH HOLLOW CIR                                                                                  PEARLAND          TX   77584‐4013
TONNIES,DAVID                    1005 CAMPUS CIR                                                                                         HERMITAGE         PA   16148‐7901
TONNIGES CHEVROLET, INC.         414 NEBRASKA ST                                                                                         OSCEOLA           NE   68651‐4465
TONNIGES CHEVROLET, INC.         STEVEN TONNIGES                  414 NEBRASKA ST                                                        OSCEOLA           NE   68651‐4465
TONNO SHARK                      VIA DELL'ILLUSIONE                                                                                      FOL
TONNU, THUHUONG                  4780 TYNDALE CT                                                                                         WEST BLOOMFIELD   MI   48323‐3350
TONNY COX JR                     PO BOX 36                                                                                               FILLMORE          IN   46128‐0036
TONNYA BALAGNA                   12086 GRANITE WOODS LOOP                                                                                VENICE            FL   34292‐4140
TONOLI, DARREN A                 505 SPRING LN                                                                                           COLUMBIA          TN   38401‐2251
TONOLI, PATRICIA L               PO BOX 6669                                                                                             INCLINE VLG       NV   89450‐6669
TONOLI, RONALD S                 2104 RIDGEDALE DR                                                                                       ARLINGTON         TX   76013‐5421
TONOLLI CORP.
TONOLLI MARIA                    VIA EDOARDO MARAGLIANO 20                                                     00151 ROMA, ITALY
TONOLLI SITE ESCROW ACCOUNT      C/O K JOHNSON/FIFTH THIRD BANK   1404 E 9TH ST                                                          CLEVELAND         OH   44114
TONOLLI SITE RD/RA SUPERFUND     SITE C/O KEN JOHNSTON            TRUST DEPARTMENT 2ND FLOOR   1404 E 9TH ST                             CLEVELAND         OH   44114
TONOLLI SITE RD\RA ESCROW ACCT   FIFTH THIRD BNK ATTN P HAHN      1404 E 9TH ST                                                          CLEVELAND         OH   44114
TONON, JEAN R                    1389 STAFFORD AVE #112                                                                                  BRISTOL           CT   06010‐2886
TONONI, ARLEEN                   14420 LAKESHORE DR                                                                                      STERLING HTS      MI   48313‐2380
TONS OF FUN PARTY RENTALS LLC    5465 TAYLOR LN                                                                                          CLARKSTON         MI   48346‐1748
TONSA AUTOMOTIVE INC             30 SEAVIEW BLVD                                                                                         PORT WASHINGTON   NY   11050‐4618
TONSETIC, PAULINE M              2004 COUNTRY CLUB DR                                                                                    MC KEESPORT       PA   15135‐3002
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                        Part 37 of 40 Pg 300 of 901
Name                                 Address1                        Address2                        Address3   Address4         City            State Zip
TONSOR, BERNARD F                    109 W MULBERRY ST                                                                           JERSEYVILLE       IL 62052‐1621
TONTALA, JOHN F                      7286 BRUMAGIN RD                                                                            SHERMAN          NY 14781‐9625
TONTE, ROBERT J                      1905 CRESCENT ST                                                                            FRANKLIN         IN 46131‐1047
TONTE, VICTORIA M                    1905 CRESCENT ST                                                                            FRANKLIN         IN 46131‐1047
TONTI ANTHONY (ESTATE OF) (492702)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                     PROFESSIONAL BLDG
TONY
TONY & DAN'S ACCURATE AUTO           7 SOUTH AVE W                                                                               CRANFORD        NJ   07016‐2649
TONY A BRANSCOMB                     105 S. PLEASANT VALLEY AVE                                                                  DAYTON          OH   45404
TONY A CURTIS                        1170 S ELM ST                                                                               W CARROLLTON    OH   45449
TONY A FOSTER                        PO BOX 203                                                                                  BELLEVILLE      MI   48112‐0203
TONY A MIDDLESTETTER                 10 S WILLIAMS DR                                                                            WEST MILTON     OH   45383
TONY A SCOTT                         1827 TERRACE CT                                                                             FLINT           MI   48507‐4330
TONY A SHOCKEY                       442 HAZELHURST STREET                                                                       NEW LEBANON     OH   45345‐1510
TONY ADDISON                         341 SOUTH LN                                                                                GRAND ISLAND    NY   14072‐1392
TONY AGLE                            558 N SUPERIOR ST                                                                           FARWELL         MI   48622‐9703
TONY AKINS                           4478 N OAK RD                                                                               DAVISON         MI   48423‐9301
TONY ALEMAN                          8614 CAMELLIA ST                                                                            LANSING         MI   48917‐8803
TONY ALFORD                          3701 15TH ST APT 409                                                                        DETROIT         MI   48208‐2588
TONY ALTOBELLO JR                    32663 PALMER RD                                                                             WESTLAND        MI   48186‐4700
TONY ANGELONA                        1557 BEECHWOOD ST NE                                                                        WARREN          OH   44483‐4131
TONY AQUILA                          29389 PARKWOOD DR                                                                           WICKLIFFE       OH   44092‐2148
TONY ARCIDIACONO                     550 MIAMI ST                                                                                TROY            OH   45373‐2137
TONY ARMADO                          QWEQEQWE
TONY ARREDONDO                       46232 ROYAL DR                                                                              CHESTERFIELD    MI   48051‐3203
TONY B CLAY                          4722 RITTENHOUSE                                                                            DAYTON          OH   45424‐5343
TONY B CLAY                          1169 REED AVE                                                                               AKRON           OH   44306
TONY B FERRELL                       1900 DEERFIELD AVE SW                                                                       WARREN          OH   44485
TONY B HOLLIE                        APT 1                           19170 GRANDVIEW STREET                                      DETROIT         MI   48219‐1672
TONY B MALONE                        29050 ALVIN ST                                                                              GARDEN CITY     MI   48135‐2733
TONY B ROGERS                        3434 U S HWY 50 W                                                                           MITCHELL        IN   47446
TONY B WATKINS                       675 SEWARD ST APT 115                                                                       DETROIT         MI   48202‐4442
TONY BAEZ                            1011 PAUL RIDGE RD                                                                          WATKINSVILLE    GA   30677‐5501
TONY BAINTER                         2307 E WILLARD ST                                                                           MUNCIE          IN   47302‐3709
TONY BALDWIN                         20298 TAMARACK DR.              LOT #68                                                     HOWARD CITY     MI   49329
TONY BALL                            908 LILY LN                                                                                 COLUMBIA        TN   38401‐7277
TONY BALLARD                         253 LOOKOUT MOUNTAIN LN                                                                     MENA            AR   71953‐2892
TONY BASSHAM                         688 CORAL TRACE BLVD                                                                        EDGEWATER       FL   32132‐6942
TONY BASSO CHEVROLET BUICK PONTIAC   1355 S CARBON AVE                                                                           PRICE           UT   84501‐9603

TONY BASSO CHEVROLET BUICK PONTIAC   1355 S CARBON AVE                                                                           PRICE           UT 84501‐9603
GMC CADILLAC, LLC
TONY BATIANIS                        521 71ST AVE APT 6                                                                          ST PETE BEACH   FL   33706‐3670
TONY BATORA                          1209 N GOULD ST                                                                             OWOSSO          MI   48867‐1962
TONY BEARD                           7627 BAY TREE DR                                                                            YPSILANTI       MI   48197‐9571
TONY BEARDSLEY                       10182 SHARP RD                                                                              SWARTZ CREEK    MI   48473‐9155
TONY BETTISON                        2229 DEERING AVE                                                                            DAYTON          OH   45406‐2508
TONY BETTISON                        2229 DEERING                                                                                DAYTON          OH   45406
TONY BIGELOW                         100001 GOODALL RD               BOX D14                                                     DURAND          MI   48429
TONY BLACKMON                        11490 FOX HALL LN                                                                           FLORISSANT      MO   63033‐8128
TONY BOLF                            1861 W SLOAN RD                                                                             BURT            MI   48417‐9628
TONY BOLICK                          5403 LOOPER RD                                                                              GRANITE FALLS   NC   28630‐8347
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                    Part 37 of 40 Pg 301 of 901
Name                            Address1                         Address2                     Address3   Address4              City            State Zip
TONY BOMMEL & SONS GARAGE       13255 ILDERTON RD. BOX 25                                                ILDERTON ON N0M 2A0
                                                                                                         CANADA
TONY BOOKER                     5153 HEREFORD ST                                                                               DETROIT          MI 48224‐2128
TONY BOONE                      619 KATHERINE ST                                                                               SOUTH DAYTONA    FL 32119‐2050
TONY BOONE                      6124 MAPLEBROOK LN                                                                             FLINT            MI 48507‐4148
TONY BOURNE
TONY BRAGG                      2860 N 600 E                                                                                   MARION          IN    46952‐9145
TONY BROOKS                     558 MARVIS DR                                                                                  BAY VILLAGE     OH    44140‐1574
TONY BROOKS                     558 MARVIS DRIVE                                                                               BAY VILLAGE     OH    44140
TONY BROWN                      44 S WILLIAMS DR                                                                               WEST MILTON     OH    45383‐1231
TONY BROWN                      10279 SHEELER RD                                                                               ONSTED          MI    49265‐9504
TONY BROWN                      18420 ONYX ST                                                                                  SOUTHFIELD      MI    48075‐1813
TONY BROWN                      2500 MANN RD LOT 178                                                                           CLARKSTON       MI    48346‐4275
TONY BROWN CHEVROLET, INC       JAMES BROWN                      2935 BRANDENBURG RD                                           BRANDENBURG     KY    40108‐9355
TONY BROWN CHEVROLET, INC       2935 BRANDENBURG RD                                                                            BRANDENBURG     KY    40108‐9355
TONY BURKE                      PO BOX 320273                                                                                  FLINT           MI    48532‐0005
TONY BURNETTE                   4787 ROCK ISLAND LN NW                                                                         ACWORTH         GA    30102‐3455
TONY BUSH                       4232 TARENTUM DR                                                                               FLORISSANT      MO    63033‐6831
TONY BUTTS                      20220 PATTON ST                                                                                DETROIT         MI    48219‐1445
TONY C BREWER                   504 N MAIN ST                                                                                  W MANCHESTER    OH    45382‐9733
TONY C CARTER                   810 SW 13TH AVE A                                                                              OKEECHOBEE      FL    34974
TONY C DURHAM                   1415 MCCONKEY RD                                                                               SOUTH VIENNA    OH    45369
TONY C HAMBLIN                  2030 KOEHLER AVE                                                                               DAYTON          OH    45414
TONY C MCKINNEY                 4649 CAUDILL ST                                                                                LEWISBURG       OH    45338‐9739
TONY C MORGAN                   323 FACULTY DR                                                                                 FAIRBORN        OH    45324‐3931
TONY C MORGAN                   323 FACULTY                                                                                    FAIRBORN        OH    45324‐3931
TONY C ONDO                     503 MISTY LN                                                                                   RAINBOW CITY    AL    35906
TONY C WILKERSON                5249 OSCEOLA DR                                                                                TROTWOOD        OH    45427
TONY CAPLEN JR                  BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS.     OH    44236
TONY CARDEN                     44589 LUDLOW DR                                                                                NOVI            MI    48377‐1389
TONY CARREIRO                   711 OLD CANYON RD SPC 84                                                                       FREMONT         CA    94536‐1766
TONY CARTER                     201 E WOODS ST                                                                                 SMITHVILLE      MO    64089‐9004
TONY CASEY                      371 FIRWOOD ST                                                                                 YPSILANTI       MI    48197‐5161
TONY CASTELLANOS                13641 DAVENTRY ST                                                                              PACOIMA         CA    91331‐2804
TONY CASTILLO                   1125 REO RD                                                                                    LANSING         MI    48910‐5136
TONY CERVANTES                  137 MILBANK AVE                                                                                GREENWICH       CT    06830‐6616
TONY CHAPMAN                    2327 LOCUST LN                                                                                 AUSTELL         GA    30168‐4233
TONY CHEVROLET BUICK INC
TONY CHEVROLET OF WASILLA INC
TONY CHILDS                     6197 N RIVER HWY                                                                               GRAND LEDGE      MI 48837‐9308
TONY CHRISTIAN                  332 NW 144TH ST                                                                                EDMOND           OK 73013‐2410
TONY CHRISTOPHER                8801 W TULIP TREE DR                                                                           MUNCIE           IN 47304‐8934
TONY CLARK CAR CARE             420 SPRINGBANK DR                                                        LONDON ON N6J 1G8
                                                                                                         CANADA
TONY CLEMONS                    2292 MCCOMB DR                                                                                 CLIO            MI    48420‐1055
TONY CLEVENGER                  11221 W JACKSON ST                                                                             MUNCIE          IN    47304‐9743
TONY COFFEY                     1728 W PARK AVE                                                                                NILES           OH    44446‐1131
TONY COFFMAN                    PO BOX 45                                                                                      BLUE EYE        MO    65611‐0045
TONY COLGAN                     5968 N HUNTINGTON RD                                                                           MARION          IN    46952‐9647
TONY COLLIER                    6605 APPLEWOOD DR                                                                              EDMOND          OK    73034‐9459
TONY COOPER                     104 DEER CREEK DR                                                                              MCLOUD          OK    74851‐8064
TONY COPPOLINO JR               229 SANDY BROOK CIR                                                                            THOMASTON       GA    30286‐2771
                                      09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                            Part 37 of 40 Pg 302 of 901
Name                                  Address1                           Address2                    Address3    Address4         City                   State Zip
TONY COSTANGO                         122 W STATE ST                     P O BOX 1334                                             MILLSBORO               DE 19966‐1509
TONY COTHRON                          1301 ORLEANS ST APT 1506                                                                    DETROIT                 MI 48207‐2949
TONY COURTNEY                         1850 PERRY LAKE RD                                                                          ORTONVILLE              MI 48462‐9102
TONY COX                              4023 SPRUCE DRIVE                                                                           BALTIMORE               MD 21215‐7047
TONY CRAFT                            9035 N GENESEE RD                                                                           MOUNT MORRIS            MI 48458‐9729
TONY CRAWFORD                         1506 HUGHES AVE                                                                             FLINT                   MI 48503‐3270
TONY CRAWFORD                         3323 HAINES RD                                                                              ATTICA                  MI 48412‐9207
TONY CUNNINGHAM                       6155 PLUMAS ST APT 223                                                                      RENO                    NV 89519‐6054
TONY CURTIS                           19763 CO RD 1038                                                                            OAKWOOD                 OH 45873
TONY CURTIS                           1170 S ELM ST                                                                               W CARROLLTON            OH 45449‐2214
TONY CUSCHIERI
TONY D DAMRON                         5445 KNOLLWOOD DRIVE                                                                        LEWISBURG              OH    45338
TONY D MANN                           112 E HAZELWOOD                                                                             WATERVILLE             KS    66548
TONY D PRESSEL                        22 PATRICK STREET                                                                           TROTWOOD               OH    45426‐3449
TONY D WATKINS                        70 PEARL ST                                                                                 OXFORD                 MI    48371‐4963
TONY DAVENPORT                        301 LEE ST                                                                                  LAWRENCEBURG           TN    38464‐4017
TONY DAVIDSON                         11541 STATE ROUTE 774                                                                       BETHEL                 OH    45106‐8633
TONY DAVIS                            3967 HUNT RD                                                                                LAPEER                 MI    48446‐2950
TONY DEJESUS                          14820 OLIVE AVE                                                                             MORGAN HILL            CA    95037‐5918
TONY DEPEW                            4921 COVENTRY PKWY                                                                          FORT WAYNE             IN    46804‐7133
TONY DEROSE                           4605 MIAMI SHORES DR                                                                        MORAINE                OH    45439‐1311
TONY DI CESARE                        900 ORION RD                                                                                LAKE ORION             MI    48362‐3557
TONY DICESARES AUTO SERVICE           309 HADDON AVE                                                                              WESTMONT               NJ    08108‐1202
TONY DINUNZIO                         1155 DENNIS CIR                                                                             SOUTH EUCLID           OH    44121‐3533
TONY DOMIANO AUTO DEALERSHIPS         RTE 6 SCRANTON‐CARBONDALE HWY                                                               EYNON                  PA    18403
TONY DOMIANO AUTO DEALERSHIPS, INC.   RT 6 SCRANTON‐CARBONDALE HWY                                                                EYNON                  PA    18403

TONY DRAPER                           131 CABRILL DR                                                                              CHARLESTON             SC    29414‐9035
TONY DURDEN                           2024 MOUNT OLIVE CHURCH RD                                                                  LUMBERTON              NC    28360‐2562
TONY E OWENS                          1970 VICTORIA                                                                               DAYTON                 OH    45406‐2740
TONY E TRUESDALE                      2911 VALLEYVIEW DR                                                                          FAIRBORN               OH    45324
TONY E UNDERWOOD                      5905 BALDWIN BLVD                                                                           FLINT                  MI    48505‐5166
TONY ERNEST                           721 GLEN OAKS DR                                                                            FRANKLIN               TN    37067‐1317
TONY ESTRADA                          14215 CARL ST                                                                               ARLETA                 CA    91331‐5214
TONY EVENICH                          PO BOX 1777                                                                                 WOODBRIDGE             CA    95258‐1777
TONY F DI PONIO                       CALHOUN & DI PONIO, PLC            31000 TELEGRAPH RD          SUITE 280                    BINGHAM FARMS          MI    48025
TONY F FLORES                         36837 CHESAPEAKE RD                                                                         FARMINGTON HILLS       MI    48335‐1133
TONY F JACOBSON                       1237 WEST 32ND PL RBD                                                                       CHICAGO                IL    60609
TONY FALCIONE
TONY FELIPE                           7000 PARK GREEN DR                                                                          ARLINGTON               TX   76001‐6790
TONY FIGUEROA                         C/O WILLIAMS KHERKHER HART AND     8441 GULF FREEWAY STE 600                                HOUSTON                 TX   77007
                                      BOUNDAS LLP
TONY FISHER                           7910 N GRANBY AVE APT 3                                                                     KANSAS CITY            MO    64151‐4236
TONY FLORES                           36837 CHESAPEAKE RD                                                                         FARMINGTON HILLS       MI    48335‐1133
TONY FLORES                           6877 MEADOW CREST DR APT 1011                                                               NORTH RICHLAND HILLS   TX    76180‐6677
TONY FORD                             1690 E SHORE DR                                                                             ALGER                  MI    48610
TONY FOSTER                           PO BOX 203                                                                                  BELLEVILLE             MI    48112‐0203
TONY FRAGASSI                         7 CHEVIOT LN                                                                                BELLA VISTA            AR    72715‐5400
TONY FRANKLIN                         1472 CIRCLE DR                     APT 110                                                  PONTIAC                MI    48340‐1508
TONY FRANKLIN                         17205 FORRER ST                                                                             DETROIT                MI    48235‐3537
TONY FRANKLIN                         1040 WILLIAMSON CIR 65                                                                      PONTIAC                MI    48340
TONY FULLER                           111 DORMAN DR                                                                               COLUMBIA               TN    38401‐5542
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                  Part 37 of 40 Pg 303 of 901
Name                           Address1                        Address2            Address3         Address4         City            State Zip
TONY G ALLEN                   197B MCLURE ROAD                                                                      JACKSON          MS 39212‐5408
TONY G SAYGER                  1695 N BELLEVIEW DR                                                                   BELLBROOK        OH 45305‐1302
TONY GALLARDO                  2500 MANN RD LOT 359                                                                  CLARKSTON        MI 48346‐4291
TONY GALOVIC                   1235 S HIGHLAND AVE APT 103                                                           CLEARWATER       FL 33756
TONY GARRETT                   PO BOX 562                                                                            CLERMONT         GA 30527‐0562
TONY GENOVESI                  10036 DUFFIELD RD                                                                     GAINES           MI 48436‐9785
TONY GIESIGE                   1959 REDWOOD DR                                                                       DEFIANCE         OH 43512‐3475
TONY GILBERT                   232 W THORNRIDGE LN                                                                   MOUNT MORRIS     MI 48458‐9111
TONY GIMENO                    4380 DELAWARE DR                                                                      FREMONT          CA 94538‐5907
TONY GLADYSZ                   4935 ROSEMONT AVE                                                                     LA CRESCENTA     CA 91214‐3049
TONY GOLDEN                    824 SOUTHEAST 31ST STREET                                                             OKLAHOMA CITY    OK 73129‐5008
TONY GONZALEZ
TONY GORYL                     3118 BROOKSIDE DR                                                                     WATERFORD       MI   48328‐2596
TONY GRAHAM                    29533 HENNEPIN ST                                                                     GARDEN CITY     MI   48135‐2311
TONY GRAVES                    4483 OLD COLONY DR                                                                    FLINT           MI   48507‐3526
TONY GRAY                      PO BOX 2293                                                                           ANDERSON        IN   46018‐2293
TONY GREEN                     1375 PICKLE RD                                                                        CULLEOKA        TN   38451‐8069
TONY GRENCI                    6251 HIGHVIEW DR                                                                      BELLE VERNON    PA   15012‐3894
TONY GULLEY                    8567 CARRINGTON LAKE CRST                                                             TRUSSVILLE      AL   35173‐3802
TONY H LAUDERMILK              47 S HEDGES ST                                                                        DAYTON          OH   45403‐2133
TONY H LEE                     3880 MOCKINGBIRD LN                                                                   ROCK HILL       SC   29730‐7218
TONY H MARCUM                  P. O. BOX 174                                                                         JACKSBORO       TN   37757‐0174
TONY HALL                      10320 MICHAEL BLVD                                                                    PINCKNEY        MI   48169‐9389
TONY HAMBLIN                   2030 KOEHLER AVE                                                                      DAYTON          OH   45414‐4618
TONY HAMPTON                   1300 REDLEAF LN                                                                       YPSILANTI       MI   48198‐3167
TONY HANDLIN                   4476 TOMMY ARMOUR DR                                                                  FLINT           MI   48506‐1429
TONY HARDY                     15 BIRWOODE DR                                                                        PONTIAC         MI   48340‐2245
TONY HARRIS                    244 CARDWELL ST                                                                       INKSTER         MI   48141‐1278
TONY HARRIS                    11573 BLOCK RD                                                                        BIRCH RUN       MI   48415‐9479
TONY HARRIS                    2406 BENSON DR                                                                        DAYTON          OH   45406‐‐ 57
TONY HAYSE                     2592 S BO MAR LN                                                                      GREENFIELD      IN   46140‐2577
TONY HENDERSON                 3114 KEEMONT DR                                                                       TOLEDO          OH   43613‐1071
TONY HENDERSON                 4328 LINDENWOOD DR                                                                    SWARTZ CREEK    MI   48473‐8236
TONY HERMOSO                   1201 AUTUMN GROVE CT                                                                  FUQUAY VARINA   NC   27526‐5423
TONY HERNANDEZ                 315 DICK AVE                                                                          PONTIAC         MI   48341‐1805
TONY HERNANDEZ                 9029 NEWCASTLE DR                                                                     SHREVEPORT      LA   71129‐5123
TONY HERRON                    17673 ROBERT ST                                                                       MELVINDALE      MI   48122‐1055
TONY HICKMON                   809 E WELLINGTON AVE                                                                  FLINT           MI   48503‐2714
TONY HICKS                     7914 GETTYSBURG WEBSTER RD                                                            BRADFORD        OH   45308‐9649
TONY HICKS                     PO BOX 175                                                                            SOMERSET        IN   46984‐0175
TONY HINKLE                    5338 S US HIGHWAY 35                                                                  WALTON          IN   46994‐8936
TONY HOANG                     27868 THOMAS AVE                                                                      WARREN          MI   48092‐3591
TONY HOLCOMB                   1168 SE CHILDERS RD                                                                   EVA             AL   35621‐7613
TONY HOLLIE                    19170 GRANVIEW APT 1                                                                  DETROIT         MI   48219
TONY HOLLIE                    19170 GRANVIEW, APT 1                                                                 DETROIT         MI   48219
TONY HOLT                      1423 ELROD RD                                                                         BOWLING GREEN   KY   42104‐8513
TONY HORNAK                    13433 S SEYMOUR RD                                                                    MONTROSE        MI   48457‐9613
TONY HUGGINS COURT CONSTABLE   PO BOX 419                                                                            CARTERET        NJ   07008‐0419
TONY HUIZINGA                  3325 TAFT AVE SW                                                                      GRAND RAPIDS    MI   49519‐3357
TONY HUSAK                     PO BOX 683                                                                            BREWERTON       NY   13029‐0683
TONY HUSTON                    1290 STANDISH WAY                                                                     LEXINGTON       KY   40504
TONY HYDE                      13325 N LEWIS RD                                                                      CLIO            MI   48420‐9148
                   09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                     Part 37 of 40 Pg 304 of 901
Name               Address1                       Address2                     Address3   Address4         City             State Zip
TONY IANNETTA      4065 NO CEDAR PINE                                                                      MOORPARK          CA 93021
TONY IAQUINTO      11941 MARATHON DR                                                                       BONITA SPRINGS    FL 34135‐7116
TONY IVEZAJ        7210 KATRIN DR                                                                          W BLOOMFIELD      MI 48322‐3558
TONY IZOR          1680 PREBLE COUNTY LINE RD                                                              FARMERSVILLE      OH 45325‐8298
TONY J CALDWELL    1028 SKYVIEW DR                                                                         W CARROLLTON      OH 45449
TONY J GRAY        3333 ENOCHS ST                                                                          JACKSON           MS 39213‐6761
TONY J SPEELMAN    2310 DUNCAN DRIVE APT 6                                                                 FAIRBORN          OH 45324‐2051
TONY J WARD        5925 FLOY AVE                                                                           SAINT LOUIS       MO 63147‐1105
TONY JAMISON       4255 S. BUCKLEY RD #168                                                                 AURORA            CO 80013
TONY JENKINS       8218 ATHERTON ST                                                                        ARLINGTON         TX 76002‐3031
TONY JOHNSON       6500 SPENCER DR                                                                         ARLINGTON         TX 76002‐5541
TONY JOHNSON       539 HOKE OKELLY MIL RD.                                                                 LOGANVILLE        GA 30052
TONY JOHNSON       601 MAPLE HILL DRIVE                                                                    DAYTON            OH 45449‐1601
TONY JOHNSON       1S293 MICHIGAN AVE                                                                      VILLA PARK         IL 60181‐3848
TONY JOHNSON       10700 S COUNTY ROAD 300 W                                                               MUNCIE            IN 47302‐8835
TONY JONES         14851 CHERRY DR                                                                         CHINO HILLS       CA 91709‐1920
TONY JONES         1076 PARK AVE E                                                                         MANSFIELD         OH 44905‐2630
TONY JUERSIVICH    BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS    OH 44236
TONY KEAN          757 AUBREY MILLS RD                                                                     BOWLING GREEN     KY 42101‐8718
TONY KEEN          327 PARK LN                                                                             SPRINGBORO        OH 45066‐1083
TONY KING          3003 S NEBRASKA ST                                                                      MARION            IN 46953‐4006
TONY KLUMPSTRA     923 11TH ST NW                                                                          GRAND RAPIDS      MI 49504‐4363
TONY KNIGHT        162 WHARTON RD                                                                          GREENWICH         OH 44837‐9623
TONY KOGER         2616 HURLBUT ST                                                                         DETROIT           MI 48214‐4049
TONY KORKOSKIE     6050 SOUTHBROOK AVE                                                                     LANSING           MI 48911‐4844
TONY KOUHANOS      BRENT COON & ASSOCIATES        215 ORLEANS                                              BEAUMONT          TX 77701
TONY L BALDWIN     20298 TAMIRACK DRVIE LOT 68                                                             HOWARD CITY       MI 49329
TONY L HARNESS     738 HEDWICK STREET                                                                      NEW CARLISLE      OH 45344‐2617
TONY L HICKS       7914 GETTYSBURG WEBSTER RD                                                              BRADFORD          OH 45308‐9649
TONY L HILL        C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                HOUSTON           TX 77007
                   BOUNDAS LLP
TONY L HOWARD      125 S IRWIN ST                                                                          DAYTON           OH   45403
TONY L KEAN        757 AUBREY MILLS RD                                                                     BOWLING GREEN    KY   42101‐8718
TONY L KILGORE     3408 CAHABA COURT                                                                       RAINBOW CITY     AL   35906‐3223
TONY L KILGORE     7201 P.O. BOX                                                                           RAINBOW CITY     AL   35906
TONY L LANDERS     614 EDGEWOOD ST SW                                                                      DECATUR          AL   35601‐5646
TONY L LEACH       1808 GLOUCESTER PL                                                                      CLINTON          MS   39056‐3909
TONY L MOSLEY      1101 W CHICKASHA AVE                                                                    CHICKASHA        OK   73018‐2211
TONY L MULLINIX    728 MORSE AVENUE                                                                        DAYTON           OH   45420
TONY L PAGE        PO BOX 320201                                                                           FLINT            MI   48532‐0004
TONY L RHEUBERT    4361 MOOREFIELD RD.                                                                     SPRINGFIELD      OH   45502
TONY L ROBERTS     1253 SOUTH STATE ROUTE 721                                                              LAURA            OH   45337
TONY L STACY       3515 PINEGREEN DRIVE                                                                    DAYTON           OH   45414
TONY L YOUNG       1955 SHAFTSBURY                                                                         DAYTON           OH   45406‐3817
TONY LA STAZIONE   15 S CENTRAL AVE                                                                        ELMSFORD         NY   10523‐3502
TONY LA VALLEY     106 CRESTVIEW DR                                                                        LAPEER           MI   48446‐1465
TONY LANDERS       614 EDGEWOOD ST SW                                                                      DECATUR          AL   35601‐5646
TONY LAUDERMILK    47 S HEDGES ST                                                                          DAYTON           OH   45403‐2133
TONY LAWSON        1810 BARB DR                                                                            NORMAN           OK   73071‐3026
TONY LEE           17065 KROPF AVE                                                                         DAVISBURG        MI   48350‐1142
TONY LEE           10 S COVENTRY DR                                                                        ANDERSON         IN   46012‐3213
TONY LEEK          705 N CATALPA ST                                                                        DEXTER           MO   63841‐1103
                              09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                  Part 37 of 40 Pg 305 of 901
Name                          Address1                         Address2                     Address3   Address4         City            State Zip
TONY LEWIS                    PO BOX 30761                                                                              EDMOND           OK 73003‐0013
TONY LINCH                    908 LYNDA LN                                                                              ARLINGTON        TX 76013‐3922
TONY LO PRESTO                1020 HIDDEN PONDS DR                                                                      MARTIN           MI 49070‐8717
TONY LOGAN                    PO BOX 96                        6619 BARNES                                              WOLVERINE        MI 49799‐0096
TONY LOHMUS                   2516 BOTTOMRIDGE DR                                                                       ORANGE PARK      FL 32065‐5793
TONY LONG                     534 BAYSHORE DR                                                                           KOKOMO           IN 46901‐8138
TONY LUCIO                    211 TOLL ST                                                                               MONROE           MI 48162‐2844
TONY LUJAN                    128 SW 69TH CT                                                                            OKLAHOMA CITY    OK 73139‐7412
TONY M BRANSCOMB              4414 KENNETH AVE                                                                          DAYTON           OH 45414‐4613
TONY M DRAPER                 131 CABRILL DR                                                                            CHARLESTON       SC 29414‐9035
TONY M MOSSBARGER             510 W MARKET ST                                                                           SPRINGBORO       OH 45066
TONY MACKIE                   297 OBED RIVER RD                                                                         CROSSVILLE       TN 38555‐6813
TONY MADDOX                   29901 WOODHAVEN LN                                                                        SOUTHFIELD       MI 48076‐5285
TONY MAGESKI                  7511 W 6 MILE RD                                                                          BRIMLEY          MI 49715‐9281
TONY MALDONADO                719 TURNSTONE DR                                                                          ARLINGTON        TX 76018‐2340
TONY MALONE                   29050 ALVIN ST                                                                            GARDEN CITY      MI 48135‐2733
TONY MANO                     32531 MACKENZIE DR                                                                        WESTLAND         MI 48185‐9208
TONY MANSFIELD                4309 N BALL AVE                                                                           MUNCIE           IN 47304‐1115
TONY MARCH BUICK GMC TRUCK    ANTHONY MARCH                    519 E BROAD AVE                                          ROCKINGHAM       NC 28379‐3756
TONY MARCH BUICK‐GMC TRUCK    519 EAST BROAD AVENUE                                                                     ROCKINGHAM       NC 28379‐3756
TONY MARCONATO
TONY MARCUM                   PO BOX 174                                                                                JACKSBORO       TN   37757‐0174
TONY MARIANI                  2228 CAMELOT DR                                                                           TROY            MI   48083‐2554
TONY MARINELLI                469 S HAYDEN AVE                                                                          DAYTON          OH   45431‐1940
TONY MARTIN                   1785 HI ROC RD NE                                                                         CONYERS         GA   30012‐2337
TONY MARTIN                   1450 S JEFFERSON ST                                                                       HUNTINGTON      IN   46750‐4019
TONY MARTIN                   BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS      OH   44236
TONY MARTIN AWARDS INC        3637 HARLEM RD                                                                            BUFFALO         NY   14215‐2011
TONY MARTINEZ                 18932 FELBRIDGE ST                                                                        CANYON CNTRY    CA   91351‐2839
TONY MARVE                    1301 CARRIAGE CREEK DR                                                                    DESOTO          TX   75115‐3638
TONY MASTERS                  2338 NORTH RD                                                                             MURFREESBORO    TN   37128‐6332
TONY MASTROIANNI
TONY MATTHEWS                 112 W BOGART RO                                                                           SANDUSKY        OH   44870‐5894
TONY MAYSE                    HC 70 BOX 775                                                                             SANDY HOOK      KY   41171‐9521
TONY MC CRANEY                9655 LAS VEGAS BLVD S APT 271                                                             LAS VEGAS       NV   89123‐3316
TONY MCDANIEL                 911 MONTGOMERY ST                                                                         EATON RAPIDS    MI   48827‐1751
TONY MCDONALD
TONY MCKIDDY JR               5731 FAIRVIEW DR                                                                          CARLISLE        OH   45005
TONY MCKINNEY                 4649 CAUDILL ST                                                                           LEWISBURG       OH   45338‐9739
TONY MCNEELY                  7120 HASKELL AVE                                                                          KANSAS CITY     KS   66109‐2521
TONY MEDINA                   4555 SARGENT AVE                                                                          CASTRO VALLEY   CA   94546‐3651
TONY MESQUITA                 1783 PACIFIC AVE                                                                          SAN LEANDRO     CA   94577‐2603
TONY MILLS                    3505 WHITNEY AVENUE                                                                       FLINT           MI   48503‐3297
TONY MITLEFF JR               20277 FARM HILL RD                                                                        HARRISBURG      AR   72432‐8487
TONY MOORE                    8805 CRESTLINE LOT 10                                                                     OVID            MI   48866
TONY MOORE BUICK‐GMC TRUCKS   PO BOX 2837                                                                               DECATUR         AL   35602‐2837
TONY MORELAND                 4964 MAPLECREEK DRIVE            APT# P                                                   TROTWOOD        OH   45426
TONY MORELAND                 4964 MAPLECREEK DR APT P                                                                  TROTWOOD        OH   45426‐1661
TONY MORELLI                  3318 WASHINGTON SOUTH RD                                                                  MANSFIELD       OH   44903‐7338
TONY MORENO                   5748 CO ROAD 16                                                                           MC COMB         OH   45858
TONY MORGAN                   907 TINDALAYA DR                                                                          LANSING         MI   48917‐4128
TONY MORGAN                   323 FACULTY DR                                                                            FAIRBORN        OH   45324‐3931
                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                         Part 37 of 40 Pg 306 of 901
Name                 Address1                          Address2                     Address3                    Address4         City               State Zip
TONY MORGAN          3325 COLBY LN                                                                                               JANESVILLE          WI 53546‐1953
TONY MOSLEY          1101 W CHICKASHA AVE                                                                                        CHICKASHA           OK 73018‐2211
TONY MOSLEY          5550 CARY DR                                                                                                YPSILANTI           MI 48197‐8155
TONY MOUER
TONY MYERS           13523 COURT ST                                                                                              MOULTON            AL    35650‐1820
TONY NAVARRETTE      2800 GLEN RIDGE CT                                                                                          ARLINGTON          TX    76016‐4916
TONY NAVARRETTE      4205 MOUNTAIN ROSE AVE                                                                                      NORTH LAS VEGAS    NV    89031‐3651
TONY NEAL            601 N COUNTY ROAD 1226                                                                                      GODLEY             TX    76044‐4320
TONY NELSON          7660 SHERRY LN                                                                                              BROWNSBURG         IN    46112‐8417
TONY NEUMANN         3700 DAWN DR                                                                                                N RICHLND HLS      TX    76180‐1542
TONY NEWTON          8100 BOULDER DR                                                                                             DAVISON            MI    48423‐8628
TONY NGUYEN          13874 S KAW ST                                                                                              OLATHE             KS    66062‐4569
TONY NICHOLS
TONY NICOLAS         535 MANVILLE RD                                                                                             WOONSOCKET         RI 02895‐5553
TONY NORRIS          24267 EL MARCO DR                                                                                           FARMINGTON HILLS   MI 48336‐2034
TONY OBRIST
TONY ONEIDA          ATTN ROBERT W PHILLIPS            SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD PO BOX                    EAST ALTON          IL   62024
                                                       ANGELIDES & BARNERD LLC      521
TONY OSBORNE         7307 E STATE ROAD 42                                                                                        CLOVERDALE         IN    46120‐8746
TONY OWENS           401 W HOME AVE                                                                                              FLINT              MI    48505‐2633
TONY P DEATON        3912 NORWICH CIRCLE                                                                                         LAS VEGAS          NV    89103‐2369
TONY PARKHURST       1914 LINDEN AVE                                                                                             JANESVILLE         WI    53548‐2329
TONY PARRA           4929 ADAGIO CT                                                                                              FREMONT            CA    94538‐3201
TONY PEREZ           4212 NE SUNNYBROOK LN                                                                                       KANSAS CITY        MO    64117‐1854
TONY PERRY           5167 CENTREVILLE                                                                                            GRAND BLANC        MI    48439‐8747
TONY PETERS          APT H                             12 CEDAR RUN                                                              ATLANTA            GA    30350‐2463
TONY PIGNATARO JR    103 DEERFIELD CIR APT C                                                                                     BRYAN              OH    43506
TONY PINION          2663 BEECHER DR                                                                                             AUSTELL            GA    30106‐1742
TONY POINDEXTER      32620 WOODBROOK DR                                                                                          WAYNE              MI    48184‐1453
TONY POOLE           8745 HIGHWAY 19 N                                                                                           COLLINSVILLE       MS    39325‐9397
TONY POPOVSKI        16116 DARLENE DR                                                                                            MACOMB             MI    48042‐1627
TONY POUCH           14778 SYRACUSE ST                                                                                           TAYLOR             MI    48180‐8202
TONY PRUITT          1120 ANNFIELD DR                                                                                            MANSFIELD          OH    44903‐7819
TONY QUINTIERI       2516 MEADOWLANE DR                                                                                          LANSING            MI    48906‐3433
TONY QUINTIERI I I   9739 W CHADWICK RD                                                                                          DEWITT             MI    48820‐9120
TONY R FORD          15472 LOBDELL RD                                                                                            LINDEN             MI    48451‐8720
TONY R HADLOCK       10706 E 240TH ST                                                                                            PECULIAR           MO    64078‐8473
TONY R LANEY         C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                                 HOUSTON            TX    77007
                     BOUNDAS LLP
TONY R PAJNIC        8359 UNION ROAD                                                                                             MIAMISBURG         OH    45342‐4045
TONY R TROTTER       2463 FERNWOOD AVE                                                                                           SAN JOSE           CA    95128
TONY R YOUNG         800 DOVER AVE                                                                                               MIDDLETOWN         OH    45044‐5403
TONY R ZIRKELBACH    RR 1 BOX 3D                                                                                                 KAMPSVILLE         IL    62053‐9704
TONY RACKAUCKAS      OFFICE OF THE DISTRICT ATTORNEY   401 CIVIC CENTER DRIVE                                                    SANTA ANA          CA    92701
TONY RAINEY          1841 S WALNUT ST                                                                                            JANESVILLE         WI    53546‐6050
TONY RANALLI         6875 NASH RD                                                                                                NORTH TONAWANDA    NY    14120‐1251
TONY RATCLIFFE       12276 E SHORE                                                                                               ATLANTA            MI    49709‐9078
TONY RAYBURN         11984 CHRISTOPHER RD                                                                                        ELKMONT            AL    35620‐7746
TONY REED            2824 PINCH HWY                                                                                              CHARLOTTE          MI    48813‐8703
TONY REES            17210 N WILLMAN RD                                                                                          EATON              IN    47338‐8976
TONY REESE           3582 STARRS BRIDGE RD                                                                                       CANON              GA    30520‐1939
TONY RIBARIC         BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                                BOSTON HEIGHTS     OH    44236
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 307 of 901
Name                  Address1                             Address2         Address3      Address4         City           State Zip
TONY RIGGINS          1902 SUMTER CT                                                                       COLUMBIA        TN 38401‐6811
TONY RIOS             200 WEBSTER ST                                                                       DEFIANCE        OH 43512‐1855
TONY ROBINSON         4125 INDIAN RUNN DR APT B                                                            DAYTON          OH 45415‐3338
TONY RODRIGUEZ        2471 MICHAEL DR                                                                      NEWBURY PARK    CA 91320‐3234
TONY ROGERS           3434 US HIGHWAY 50 W                                                                 MITCHELL        IN 47446‐5412
TONY ROSE             1044 MEADOWRUN RD                                                                    ENGLEWOOD       OH 45322‐2233
TONY ROSS             8716 VASSAR RD                                                                       MILLINGTON      MI 48746‐8501
TONY RUMMAGE          1163 CRANFORD HOLLOW RD                                                              COLUMBIA        TN 38401‐7645
TONY RUNYON           4775 SANDPIT RD                                                                      BEDFORD         IN 47421‐5544
TONY S BLANKENSHIP    632 MONTICELLO                                                                       RIVERSIDE       OH 45404
TONY S SEVIER         6975 CAINE RD                                                                        VASSAR          MI 48768
TONY SAHWANY          PO BOX 90241                                                                         BURTON          MI 48509‐0241
TONY SALBATO
TONY SANCHEZ          9412 CLAYMORE ST                                                                     PICO RIVERA    CA   90660‐5502
TONY SANCHEZ          5313 ELIZABETH ST APT 7                                                              CUDAHY         CA   90201‐5376
TONY SANDONA          10205 E MOUNT MORRIS RD                                                              DAVISON        MI   48423‐9349
TONY SANGSTER         1890 FISCHER DRIVE                                                                   SAGINAW        MI   48601‐5763
TONY SANTANA
TONY SATEJ            734 CORALBERRY LN                                                                    MADISON        OH   44057‐3173
TONY SAUNDERS         2509 SHERIDAN AVE                                                                    SAGINAW        MI   48601‐3951
TONY SAYGER           1695 N BELLEVIEW DR                                                                  BELLBROOK      OH   45305‐1302
TONY SCHLEGELMILCH    1790 HEATHERLAN LN                                                                   NORTH VERNON   IN   47265‐9043
TONY SCOTT            1827 TERRACE CT                                                                      FLINT          MI   48507‐4330
TONY SEGURA           4528 N 93RD ST                                                                       KANSAS CITY    KS   66109‐3203
TONY SEVERS           10450 RATHBUN WAY                                                                    BIRCH RUN      MI   48415‐8467
TONY SEVIER           6975 CAINE RD                                                                        VASSAR         MI   48768‐9221
TONY SHAW             PO BOX 9022                          SHANGHAI                                        WARREN         MI   48090‐9022
TONY SILCOX           1689 LONG HORN RD                                                                    MIDDLEBURG     FL   32068‐3035
TONY SLATER           1124 3RD CIRCLE PROSPECT                                                             ASHLAND        KY   41101‐3714
TONY SMITH            9141 N PRAIRIE RD                                                                    SPRINGPORT     IN   47386‐9500
TONY SMITH            1125 GLENWOOD DR                                                                     COLUMBIA       TN   38401‐6705
TONY SMITH            305 GARFIELD ST 5                                                                    PORT HURON     MI   48060
TONY SNIDER           5874 BAYOU DR                                                                        BOSSIER CITY   LA   71112‐4986
TONY SNUFFER          3006 PRISCILLA AVE                                                                   PARMA          OH   44134‐4231
TONY SOUTHWARD        6788 S COCHRAN RD                                                                    CHARLOTTE      MI   48813‐9112
TONY SPALSBURY        2140 E MOUNT HOPE HWY                                                                GRAND LEDGE    MI   48837‐9726
TONY SPARKS           PO BOX 193                                                                           MOULTON        AL   35650‐0193
TONY SPINDLER         4351 N THOMAS RD                                                                     FREELAND       MI   48623‐8887
TONY SPINO            3208 24TH AVE                                                                        KENOSHA        WI   53140‐2110
TONY STACY            3515 PINE GREEN DR                                                                   DAYTON         OH   45414‐2424
TONY STANDOKES        1187 RIVER VALLEY DR APT 5                                                           FLINT          MI   48532‐2951
TONY STANTON          788 SPRING CREEK RD                                                                  WARWICK        GA   31796‐5317
TONY STEWART RACING   5644 W 74TH ST                                                                       INDIANAPOLIS   IN   46278‐1752
TONY STEWART RACING   ATTN: CORPORATE OFFICER/AUTHORIZED   5644 W 74TH ST                                  INDIANAPOLIS   IN   46278‐1752
                      AGENT
TONY T REED           1691 DODGE DR NW                                                                     WARREN         OH 44485‐1822
TONY TABLIS           15554 NEW ENGLAND AVE                                                                OAK FOREST     IL 60452
TONY TAGLIAFIERRO
TONY TAYLOR           6035 PENWOOD RD                                                                      MOUNT MORRIS   MI   48458‐2729
TONY TAYLOR           51 NIAGARA AVE                                                                       PONTIAC        MI   48341‐1917
TONY TAZZI            40643 REHSE DR                                                                       CLINTON TWP    MI   48038‐4137
TONY THIBODEAUX       PO BOX 202744                                                                        ARLINGTON      TX   76006‐8744
                   09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                    Part 37 of 40 Pg 308 of 901
Name               Address1                      Address2            Address3         Address4         City               State Zip
TONY THRASHER      1617 WHISPERING COVE TRL                                                            FORT WORTH          TX 76134‐5800
TONY TODD          2845 GIL GAL RD                                                                     HELTONVILLE         IN 47436‐8592
TONY TORRES        2824 PORTMAN AVE                                                                    CLEVELAND           OH 44109‐4947
TONY TOWNSEND      514 COLORADO AVE                                                                    PONTIAC             MI 48341‐2519
TONY TREMBLAY      6206 THORNRIDGE DR                                                                  GRAND BLANC         MI 48439‐8816
TONY TROUSDALE     10971 HIGHWAY 72                                                                    ROGERSVILLE         AL 35652‐5911
TONY TROUTMAN      200 WYNNWOOD AVE                                                                    TONAWANDA           NY 14150‐8430
TONY TRUJILLO      1804 GRACE ST                                                                       ARLINGTON           TX 76010‐7637
TONY TRUMBO        518 ILLINOIS ST                                                                     PARKER CITY         IN 47368‐9508
TONY TUCCI         10 SHORT HILL RD                                                                    CROTON ON HUDSON    NY 10520‐3710
TONY TUCKER        174 THISTLE LN                                                                      FITZGERALD          GA 31750‐7337
TONY TURRENTINE    8987 SPRINGWOOD BOULEVARD                                                           BELLEVILLE          MI 48111‐7400
TONY TYKE, INC..   4020 WILLIAM PENN HWY                                                               MONROEVILLE         PA 15146‐2503
TONY UNDERWOOD     5905 BALDWIN BLVD                                                                   FLINT               MI 48505‐5166
TONY VALIK         9606 CREEK VIEW CT                                                                  DAVISON             MI 48423‐3501
TONY VANDENBERG    5294 CRESTWAY DR                                                                    BAY CITY            MI 48706‐3328
TONY VANDRUTEN     5605 ELMER DR                                                                       TOLEDO              OH 43615‐2774
TONY VASQUEZ       24455 TIERRA DE ORO STREET                                                          MORENO VALLEY       CA 92553‐3345
TONY VASQUEZ JR    8712 ARCADIA PARK DR                                                                KELLER              TX 76248‐7946
TONY VELASCO       2090 PRIMROSE CT                                                                    FREMONT             CA 94539‐6541
TONY VELAZQUEZ     73428 GOULD RD                                                                      BRUCE TWP           MI 48065‐3147
TONY W COSTANGO    PO BOX 1334                                                                         MILLSBORO           DE 19966‐5334
TONY W IZOR        1680 PREBLE COUNTY LINE RD                                                          FARMERSVILLE        OH 45325‐8298
TONY W KIM         4248 GREGORY ST                                                                     OAKLAND             CA 94619
TONY W MANTLE      7 CAISSON AVENUE                                                                    TROTWOOD            OH 45426‐3038
TONY W MCINNIS     PO BOX 498                                                                          WESSON              MS 39191
TONY W MIRACLE     802 MALVERN                                                                         MIDDLETOWN          OH 45042
TONY WALDEN        PO BOX 25                                                                           JELLICO             TN 37762‐0025
TONY WALKER        731 STRONG ST                                                                       NAPOLEON            OH 43545‐1460
TONY WALKER        11428 DODGE RD                                                                      OTISVILLE           MI 48463‐9739
TONY WALL          PO BOX 33                     12420 NICHOLS RD                                      MONTROSE            MI 48457‐0033
TONY WALL          505 TIGER LILY CT                                                                   FRANKLIN            TN 37064‐6187
TONY WARD          5925 FLOY AVE                                                                       SAINT LOUIS         MO 63147‐1105
TONY WARTIAN       28340 HOLLYWOOD ST                                                                  ROSEVILLE           MI 48066‐2423
TONY WATKINS       70 PEARL ST                                                                         OXFORD              MI 48371‐4963
TONY WATTS         1301 ASPEN DR                                                                       MOORE               OK 73160‐8002
TONY WELLS         926 SOUTHERN BLVD NW                                                                WARREN              OH 44485‐2265
TONY WHITE         6610 CROOKED CREEK DR                                                               MARTINSVILLE        IN 46151‐8180
TONY WHITE         165 BILL ANDERSON RD                                                                MINDEN              LA 71055‐7123
TONY WHITE         95 DUNLOP AVE                                                                       BUFFALO             NY 14215‐1509
TONY WILLIAMS      1923 JACK PINE CT                                                                   DORR                MI 49323‐9330
TONY WILLIAMS      17167 EDINBOROUGH RD                                                                DETROIT             MI 48219‐3528
TONY WINGETT       1090 THAYER RD                                                                      ORTONVILLE          MI 48462‐8932
TONY WIREMAN JR    2310 EVONSHIRE WAY                                                                  DACULA              GA 30019‐2936
TONY WOLFORD       PO BOX 58                                                                           HARMAN              WV 26270‐0058
TONY WONG          1601 ARBOR CREEK DR                                                                 ROCHESTER HILLS     MI 48306‐3609
TONY WOODRUFF      4208 SNAPDRAGON DR                                                                  KELLER              TX 76248‐7759
TONY WORDEN        703 ARROWHEAD                                                                       CHARLOTTE           MI 48813‐8436
TONY WYODA         3511 MONROE RD, BOX 415                                                             LAKE GEORGE         MI 48633
TONY YATES         962 PIPER RD                                                                        MANSFIELD           OH 44905‐1354
TONY YEE           4416 CHABLIS DR                                                                     STERLING HEIGHTS    MI 48314‐1848
TONY YOUNG         5502 DENNISON DR                                                                    FORT WAYNE          IN 46835‐4911
                             09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                Part 37 of 40 Pg 309 of 901
Name                         Address1                         Address2                     Address3   Address4               City               State Zip
TONY ZAMPIERI                BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH 44236
TONY ZARGER                  6300 BLUE BEECH RD                                                                              ROCHESTER HILLS     MI 48306‐3506
TONY ZIOLEK                  C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH 44236
TONY ZIRKELBACH              RR 1 BOX 3D                                                                                     KAMPSVILLE           IL 62053‐9704
TONY'S AUTO SERVICE          1112 FIRST ST                                                                                   ALEXANDRIA          VA 22314‐1616
TONY'S AUTO SERVICE          4710 N CRESCENT BLVD                                                                            PENNSAUKEN          NJ 08109‐2117
TONY'S AUTOMOTIVE            130 S OLSEN AVE                                                                                 TUCSON              AZ 85719‐6331
TONY'S BRAKE AND ALIGNMENT   4800 POPLAR LEVEL RD                                                                            LOUISVILLE          KY 40213‐2904
TONY'S GARAGE                100 RAILROAD ST.                                                         BRAMPTON ON L6X 1G8
                                                                                                      CANADA
TONY'S GARAGE INC            15549 OLD COLUMBIA PIKE                                                                         BURTONSVILLE       MD   20866‐1633
TONY'S GENERAL MECHANICS     601 SUMMIT AVE                                                                                  UNION CITY         NJ   07087‐3422
TONY'S MOBIL SERVICE         52072 INDIANA STATE ROUTE 933                                                                   SOUTH BEND         IN   46637‐3844
TONY'S PARKING               638 LOTHROP RD                                                                                  DETROIT            MI   48202‐2715
TONY, DANIEL C               4348 N VASSAR RD                                                                                FLINT              MI   48506‐1741
TONY, DANIEL CARL            4348 N VASSAR RD                                                                                FLINT              MI   48506‐1741
TONY, MARGUERITE A           7821 S DURAND RD                                                                                DURAND             MI   48429‐9456
TONY, ROXANNE F              4348 N VASSAR RD                                                                                FLINT              MI   48506‐1741
TONY‐UZOEBO EMERABA          54 TOWER BRIDGE WHARF 07ST KA                                            WAY LONDON E1W1UR UK
TONYA A CANTRELL             3108 ACKERMAN BLVD                                                                              KETTERING          OH   45429
TONYA A JOHNSON              1603 PRINCETON DR                                                                               DAYTON             OH   45406‐4738
TONYA A RUTLIN               333 STUDDS                                                                                      TROTWOOD           OH   45426
TONYA ADAMS                  1707 5TH AVE APT 7                                                                              YOUNGSTOWN         OH   44504‐1863
TONYA ALEXANDER              805 ALEXANDRINE AVE                                                                             MOUNT MORRIS       MI   48458‐1791
TONYA B HARTZOG              347 WOODBINE AVENUE                                                                             ROCHESTER          NY   14619‐1346
TONYA BAKKE                  497 WOODLAND PONDS DRIVE                                                                        FLUSHING           MI   48433‐3612
TONYA BANISTER               8261 E COURT ST                                                                                 DAVISON            MI   48423‐3412
TONYA BENTLEY                13402 SADDLEBROOK TRAIL                                                                         AUSTIN             TX   78729
TONYA BILLINGSLEY            0405 SWEETWATER RD APT 112                                                                      LAWRENCEVILLE      GA   30044‐2448
TONYA BLOXOM                 2340 W LIVINGSTON ST                                                                            ALLENTOWN          PA   18104‐3648
TONYA BRANNON                146 BLANTON RD                                                                                  EAGLEVILLE         TN   37060‐5011
TONYA BRITTON                421 TOD AVE SW                                                                                  WARREN             OH   44485‐3665
TONYA CHEFFER                108 MAPLE GARDENS DR                                                                            UNION              OH   45322‐3235
TONYA CLARK                  1033 E GENESEE AVE                                                                              FLINT              MI   48505‐1612
TONYA COLEMAN                1150 WORDEN ST SE                                                                               GRAND RAPIDS       MI   49507‐1473
TONYA COMPTON                5555 OSBORNE AVE SE                                                                             KENTWOOD           MI   49548‐5878
TONYA COOK                   241 TROY ST NW APT 9                                                                            ATLANTA            GA   30314‐2362
TONYA CUNNINGHAM             1207 N JACKSON ST                                                                               BAY CITY           MI   48708‐5919
TONYA CUSHINGBERRY           228 DICKENSON ST                                                                                ROMEO              MI   48065‐4724
TONYA D HARRIS               9801 N COUNTY ROAD 300 E                                                                        MUNCIE             IN   47303‐9288
TONYA D JOHNS                2917 RED FOX RUN DR NW                                                                          WARREN             OH   44485‐1575
TONYA D KNUUTTILA            1480 PARKWOOD AVE APT 5                                                                         YPSILANTI          MI   48198‐5974
TONYA D SANDERS              1250 STUBEN DR.                                                                                 DAYTON             OH   45427‐2150
TONYA D SANDERS              600 LITTLE MEADOW DR.                                                                           DAYTON             OH   45404
TONYA DAY                    6473 ZOELLNERS PL                                                                               HAMILTON           OH   45011‐1005
TONYA E WILLIAMS             678 BEAHAN ROAD                                                                                 ROCHESTER          NY   14624‐3525
TONYA ECHOLS                 7331 SHELBY PL APT 120                                                                          RANCHO CUCAMONGA   CA   91739‐5912
TONYA F NEWBOURN             2405 LEHIGH PL                                                                                  DAYTON             OH   45439
TONYA FANCHER                PO BOX 26103                                                                                    TROTWOOD           OH   45426‐0103
TONYA FEIMSTER               10196 DUFFIELD RD                                                                               GAINES             MI   48436‐9701
TONYA FISHER                 23171 ROAD 104                                                                                  OAKWOOD            OH   45873‐9642
TONYA FOREZ                  307 ATWOOD ST                                                                                   TILTON             IL   61833‐7514
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 310 of 901
Name                  Address1                       Address2               Address3      Address4         City               State Zip
TONYA FRAZIER         PO BOX 6516                                                                          KOKOMO              IN 46904‐6516
TONYA FULFORD         15048 BRIDGE VIEW DR                                                                 STERLING HEIGHTS    MI 48313‐1239
TONYA G BENNETT       7142 CASTLECREST DR                                                                  HUBER HEIGHTS       OH 45424
TONYA G POSADNY       1515 WIKEL RD                                                                        ELDORADO            OH 45321
TONYA GOENS           3768 N LAKESIDE DR                                                                   MUNCIE              IN 47304‐5276
TONYA GOOCH
TONYA GRAF            3000 CLASSIC DR                                                                      PENSACOLA          FL   32507‐9094
TONYA GRIFFIN         3720 LYNN ST                                                                         FLINT              MI   48503‐4542
TONYA HALLETT         PO BOX 9022                                                                          WARREN             MI   48090‐9022
TONYA HARRIS          9801 N COUNTY ROAD 300 E                                                             MUNCIE             IN   47303‐9288
TONYA HAZEL           1697 N 500 E                                                                         ANDERSON           IN   46012‐9435
TONYA J ALEXANDER     805 ALEXANDRINE AVE                                                                  MOUNT MORRIS       MI   48458‐1791
TONYA J COOK          241 TROY ST NW APT 9                                                                 ATLANTA            GA   30314‐2362
TONYA J WYANT         4501 MIAMI SHORES DR                                                                 MORAINE            OH   45439‐1309
TONYA JOHNSON         123 WALDORF DR                                                                       DAYTON             OH   45415‐2815
TONYA JOHNSON         2936 RISINGER DR                                                                     SHREVEPORT         LA   71119‐2712
TONYA JONES           PO BOX 474                                                                           FLINT              MI   48501‐0474
TONYA L ADAMS         1397 ROBINHOOD DR                                                                    WEST CARROLLTON    OH   45449
TONYA L BACK          101 S ELM ST                                                                         FARMERSVILLE       OH   45325
TONYA L CANADA        106 OAK STREET                                                                       TROTWOOD           OH   45426‐3520
TONYA L CHEFFER       108 MAPLE GARDEN DRIVE                                                               UNION              OH   45322
TONYA L DUMONT        1823 LORD FITZWALTER                                                                 MIAMISBURG         OH   45342
TONYA L DUNWOODIE     18 E THIRD ST                                                                        W ALEXANDRIA       OH   45381‐1232
TONYA L FANCHER       1410 MICHAEL DR                APT C                                                 TROY               OH   45373
TONYA L GIBSON        647 ORVILLE ST                                                                       FAIRBORN           OH   45324
TONYA L MCMORRIS      526 CARLTON ST                                                                       TOLEDO             OH   43609‐2902
TONYA L MURRAY        8437 DUFFIELD RD                                                                     FLUSHING           MI   48433‐9228
TONYA L MURRAY        520 IDA LN                                                                           BRADLEY            IL   60915‐1938
TONYA L OVERHOLTS     2316 WIENBERG DR                                                                     DAYTON             OH   45418‐2945
TONYA L SMIDDY        1126 RICHARD ST                                                                      MIAMISBURG         OH   45342‐1948
TONYA L SOLOMON       3715 GREENFIELD RD                                                                   DEARBORN           MI   48120‐1204
TONYA L SPENCE        8829 NATHAN DR                                                                       SHREVEPORT         LA   71108‐5345
TONYA L WEAVER        202 S CHERRY ST                                                                      GERMANTOWN         OH   45327
TONYA L WILLIAMS      1637 ORCHID AVE                                                                      SAINT LOUIS        MO   63147‐1414
TONYA M BELL          4445 WAYMIRE AVE                                                                     DAYTON             OH   45406‐2416
TONYA M BILLINGSLEY   3405 SWEETWATER RD             APT 112                                               LAWRENCEVILLE      GA   30044‐2448
TONYA M BONNER        6234 SAYLER PARK                                                                     LITHONIA           GA   30058
TONYA M BRAZAK        50 RIDGEWOOD ROAD                                                                    ROCHESTER          NY   14626
TONYA M EDMONDS       APT 4                          6065 FOUNTAIN POINTE                                  GRAND BLANC        MI   48439‐7605
TONYA M GLACKIN       2812 GHENT AVE                                                                       KETTERING          OH   45420
TONYA M LOCKHART      5030 ORMAND RD                                                                       W CARROLLTON       OH   45449‐2749
TONYA M O'CONNER      860 EDDY RD                                                                          BEAVERTON          MI   48612
TONYA M ROSS          4614 NOWAK AVE                                                                       DAYTON             OH   45424
TONYA M TEAGLE        34535 MALCOLM ST                                                                     ROMULUS            MI   48174‐1513
TONYA MASON           5812 WALTERS WAY                                                                     LANSING            MI   48917‐5139
TONYA MCCURDY         2193 NORMANDY DR                                                                     TROY               MI   48085‐1075
TONYA MCMORRIS        526 CARLTON ST                                                                       TOLEDO             OH   43609‐2902
TONYA MURRAY          520 IDA LN                                                                           BRADLEY            IL   60915‐1938
TONYA N MCCRACKEN     811 SYCAMORE ST                                                                      MIAMISBURG         OH   45342‐2443
TONYA NELSON          5314 EDWARDS AVE                                                                     FLINT              MI   48505‐5129
TONYA POWERS          2857 SHAR PEI LN SW                                                                  BOGUE CHITTO       MS   39629‐5147
TONYA R DEVILLE       1471 FRIEL ST                                                                        BURTON             MI   48529‐2017
                           09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                 Part 37 of 40 Pg 311 of 901
Name                      Address1                            Address2                       Address3   Address4         City              State Zip
TONYA R RIDLEY            4335 RIVERSIDE DR APT C‐Z                                                                      DAYTON             OH 45405‐1363
TONYA R WHALEY            5 MARCHMONT DR                                                                                 FAIRBORN           OH 45324
TONYA REAGAN              3595 W EDGAR RD                                                                                SIX LAKES          MI 48886‐9764
TONYA RILEY               9931 JULIE DR                                                                                  YPSILANTI          MI 48197‐7095
TONYA S BONE              12095 SCENIC HWY.                                                                              ATTALLA            AL 35954
TONYA S CURRY             4093 WHITESTONE CT                                                                             DAYTON             OH 45416
TONYA S DAY               6473 ZOELLNERS PLACE                                                                           HAMILTON           OH 45011
TONYA S DECKER            6187 ROBERT CIR                                                                                YPSILANTI          MI 48197‐8282
TONYA S KINNER            303 LEBANON ST                                                                                 MONROE             OH 45050
TONYA S NELSON            355 CROCKETT DR                                                                                SPRINGBORO         OH 45066
TONYA S SPENCER           5042 PENSACOLA BLVD                                                                            MORAINE            OH 45439‐2941
TONYA SOLOMON             3715 GREENFIELD ROAD                                                                           DEARBORN           MI 48120‐1204
TONYA SPENCE              8829 NATHAN DR                                                                                 SHREVEPORT         LA 71108‐5345
TONYA STAMP               4230 W CROSS ST                                                                                ANDERSON           IN 46011‐9028
TONYA STROCHINE           30426 WEST RD                                                                                  NEW BOSTON         MI 48164‐9472
TONYA T ALEXANDER         922 WILBERFORCE PL                                                                             DAYTON             OH 45408
TONYA TAYLOR              19930 DORSET ST                                                                                SOUTHFIELD         MI 48075‐3977
TONYA TEAGLE              34535 MALCOLM ST                                                                               ROMULUS            MI 48174‐1513
TONYA THOMAS              2202 LAKELAND DR                                                                               JOHNSON CITY       TN 37601‐2019
TONYA THOMPSON            318 DEBUS STREET                                                                               LAWRENCEBURG       TN 38464‐2507
TONYA TOWNSEND            6152 EAVENSON RD                                                                               BROOK PARK         OH 44142‐1436
TONYA TRUSTY              6946 SWAMP ST NE                                                                               HARTVILLE          OH 44632‐9323
TONYA TURNER              14021 MINOCK DR                                                                                REDFORD            MI 48239‐2933
TONYA WASHINGTON          43547 N TIMBERVIEW DR                                                                          BELLEVILLE         MI 48111‐3336
TONYA WATTERS             660 CARROLL DR                                                                                 BELOIT             WI 53511‐2062
TONYA WELLS               4309 BROOKSIDE DR                                                                              KOKOMO             IN 46902‐4708
TONYA WICKER              3036 RASKOB ST                                                                                 FLINT              MI 48504‐3227
TONYA WILLIAMS            1637 ORCHID AVE                                                                                SAINT LOUIS        MO 63147‐1414
TONYA WILSON              287 CRANDALL AVE                                                                               YOUNGSTOWN         OH 44504‐1710
TONYA WILSON
TONYA Y WILKINSON         3692 HERMOSA DR                                                                                DAYTON            OH   45416
TONYA ZUCH                39275 RANDOLPH CT                                                                              WESTLAND          MI   48186‐8635
TONYIA CAMPBELL           4520 SEYMOUR LAKE RD                                                                           OXFORD            MI   48371‐4025
TONYIA GLOYD              2912 DUNHURST CT                                                                               GROVE CITY        OH   43123‐9378
TONYLEE WILSON            509 EASTLAND CT                                                                                BAY CITY          MI   48708‐6986
TONZ, ANTHONY S           15596 RUSTON CIR                                                                               PORT CHARLOTTE    FL   33981‐3212
TONZOLA, CHERYL
TOOCHECK, DAVID
TOOCHECK, MARY ALICE      RITZLER COUGHLIN & SWANSINGER LTD   1001 LAKESIDE AVE E STE 1550                               CLEVELAND         OH 44114‐1161

TOOCHECK, MARY ALICE                                                                                                     KELLER & CURTIN   CO
TOODLE, BENJAMIN F        12706 GRIGGS ST                                                                                DETROIT           MI   48238‐3074
TOODLE, CYNTHIA D         2218 BANTRY LN                                                                                 ARLINGTON         TX   76002‐3868
TOODLE, CYNTHIA DELORES   2218 BANTRY LN                                                                                 ARLINGTON         TX   76002‐3868
TOOF, JOEL L              11217 GREEN ST                                                                                 CARMEL            IN   46033‐3736
TOOGOOD, BESSIE R         88 SAINT GEORGE PL                                                                             GOLETA            CA   93117‐1908
TOOGOOD, G D              432 TALL OAKS LN                                                                               RICHARDSON        TX   75081‐5542
TOOHEY RICHARD            614 N LAFAYETTE CT                                                                             MOUNT PULASKI     IL   62548‐1072
TOOHEY, DIANA L           501 DRAKE DR                                                                                   SANTA ROSA        CA   95409‐3211
TOOHEY, PATRICK T         4540 LOWER MOUNTAIN RD                                                                         LOCKPORT          NY   14094‐9736
TOOHEY, PATRICK THOMAS    4540 LOWER MOUNTAIN RD                                                                         LOCKPORT          NY   14094‐9736
TOOHEY, W D               400 HAWTHORNE DR                                                                               WILMINGTON        DE   19802‐1242
                                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                         Part 37 of 40 Pg 312 of 901
Name                                   Address1                       Address2                        Address3   Address4                   City              State Zip
TOOHEY, WILLIAM F                      9949 AZUAGA ST UNIT G106                                                                             SAN DIEGO          CA 92129
TOOHIG DENNIS (460905)                 KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                                         CLEVELAND          OH 44114
                                                                      BOND COURT BUILDING
TOOHIG, DENNIS                         KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                                          CLEVELAND         OH 44114
                                                                      BOND COURT BUILDING
TOOHY, MARJORIE A                      5516 OAKRIDGE DR                                                                                     MIDLAND           MI   48640‐8105
TOOKER JR, EVERETT C                   1022 S STATE ST                                                                                      WESTVILLE         IL   61883‐1748
TOOKER ROBERT                          425 CANDLESTONE CT                                                                                   SPRING HILL       FL   34609‐9647
TOOKER STEPHEN                         6551 NORTH LONGFELLOW DRIVE                                                                          TUCSON            AZ   85718‐2440
TOOKER, BETTY L                        425 CANDLESTONE CT                                                                                   SPRING HILL       FL   34609‐9647
TOOKER, BETTY R                        2283 LEISURE WORLD                                                                                   MESA              AZ   85206‐5402
TOOKER, JEANETTE B                     1200 S MISSOURI AVE APT 223                                                                          CLEARWATER        FL   33756‐9191
TOOKES ISREAL                          1090 REUNION PL SW                                                                                   ATLANTA           GA   30331‐6349
TOOKES JR, EDDIE L                     2356 CLOVERDALE DR SE                                                                                ATLANTA           GA   30316‐2746
TOOKES, EDDIE                          1001 NE 211TH TER                                                                                    MIAMI             FL   33179‐1304
TOOKES, FRANCES L                      2356 CLOVERDALE DR SE                                                                                ATLANTA           GA   30316‐2746
TOOKES, LEO T                          2481 WINKLEMAN DR                                                                                    WATERFORD         MI   48329‐4451
TOOKES, MELVIN T                       PO BOX 6509                                                                                          ATLANTA           GA   30315‐0509
TOOKES, OCTAVIA D                      2481 WINKLEMAN DR                                                                                    WATERFORD         MI   48329‐4451
TOOKES, PENNY R                        11650 LONGACRE ST                                                                                    DETROIT           MI   48227‐1131
TOOKES, THELMA LEE                     153 CHARLES LN                                                                                       PONTIAC           MI   48341‐2928
TOOL & ABRASIVE SALES CO               2830 S 26TH ST                                                                                       KALAMAZOO         MI   49048‐9610
TOOL & ACCESSORY CO INC                1140 CENTRE RD                                                                                       AUBURN HILLS      MI   48326‐2602
TOOL & ASSEMBLY SYS INC                28 FULTON WAY UNIT 5                                                      RICHMOND HILL ON L4B 1J5
                                                                                                                 CANADA
TOOL & ASSEMBLY SYSTEMS                1163 CENTRE RD                                                                                       AUBURN HILLS      MI 48326‐2603
TOOL & ASSEMBLY SYSTEMS                1074 CENTRE RD STE D                                                                                 AUBURN HILLS      MI 48326‐2682
TOOL & ASSEMBLY SYSTEMS CO LLC         1163 CENTRE RD                                                                                       AUBURN HILLS      MI 48326‐2603
TOOL & CUTTER SUPPLY CO                430 NEWBOLD ST                                                            LONDON CANADA ON N6E
                                                                                                                 1K1 CANADA
TOOL & CUTTER SUPPLY CO                PARKINSON RD 1057‐6                                                       WOODSTOCK ON N4S 7W3
                                                                                                                 CANADA
TOOL & ENG/CHICGO                      900 W 18TH ST                                                                                        CHICAGO           IL   60608‐2305
TOOL & GAGE/4719 HEB                   PO BOX 241067                                                                                        CHARLOTTE         NC   28224‐1067
TOOL & HOIST SPECIALTIES CO IN         814 MCKESSON DR                PO BOX 150069                                                         LONGVIEW          TX   75604‐5613
TOOL & HOIST SPECIALTIES COMPANY INC   350 JORDAN VALLEY RD                                                                                 LONGVIEW          TX   75604‐5256

TOOL & MOLD/OXFORD                     2260 METAMORA RD                                                                                     OXFORD            MI   48371‐2347
TOOL CHEMIC/FERNDALE                   PO BOX 71970                                                                                         MADISON HEIGHTS   MI   48071‐0970
TOOL CRAFT CORP                        16733 INDUSTRIAL PKWY                                                                                LANSING           MI   48906‐9136
TOOL CRAFT/LANSING                     2324 7TH AVE                                                                                         LANSING           MI   48906‐4258
TOOL CRIB/BOX 947                      PO BOX 947                                                                                           NASHVILLE         TN   37202
TOOL CRIB/NASHVILLE                    3002 INDUSTRIAL PKWY                                                                                 KNOXVILLE         TN   37921‐1712
TOOL DESIGN DEPARTMENT #3583           STEVE ROHL                     4700 W 10TH ST                                                        INDIANAPOLIS      IN   46222‐3277
TOOL DESIGN SERVICE CO                 CAD DESIGN & MANUFACTURING     5541 POINTE DR                                                        EAST CHINA        MI   48054‐4163
TOOL DEX INC                           22778 GLOBE AVE                                                                                      WARREN            MI   48089‐2551
TOOL HOUSE INC                         5205 S EMMER DR                                                                                      NEW BERLIN        WI   53151‐7363
TOOL JR, LEWIS W                       4314 RIDGEPATH DR                                                                                    DAYTON            OH   45424‐4746
TOOL RITE/WARREN                       14219 E 10 MILE RD                                                                                   WARREN            MI   48089‐2162
TOOL SERVICE CORPORATION               6010 FOREST HILLS RD                                                                                 LOVES PARK        IL   61111‐4740
TOOL SMITH CO INC                      1300 4TH AVE S                 PO BOX 2384                                                           BIRMINGHAM        AL   35233‐1409
TOOL SYSTEMS INC                       2220 CENTRE PARK CT                                                                                  STONE MOUNTAIN    GA   30087‐3544
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                 Part 37 of 40 Pg 313 of 901
Name                         Address1                               Address2                         Address3   Address4              City            State Zip
TOOL TECH INC                4901 URBANA RD                                                                                           SPRINGFIELD      OH 45502‐9069
TOOL TIME AUTO SERVICE LLC   2109 WHITESVILLE RD                                                                                      TOMS RIVER       NJ 08755‐1175
TOOL VENTURES, INC.          3695 44TH ST SE                                                                                          KENTWOOD         MI 49512‐3946
TOOL VENTURES, INC.          ATTN: CORPORATE OFFICER/AUTHORIZED     3695 44TH ST SE                                                   KENTWOOD         MI 49512‐3946
                             AGENT
TOOL, GAREY W                1437 BALSAM DR                                                                                           DAYTON          OH 45432‐3231
TOOL,GAREY W                 1437 BALSAM DR                                                                                           DAYTON          OH 45432‐3231
TOOL‐PLUS SYSTEMS INC        1905 BLACKACRE DR                      OLDCASTLE, ONTARIO N0R1L0
                                                                    CANADA
TOOL‐PLUS SYSTEMS INC        ATTN: CORPORATE OFFICER/AUTHORIZED     1905 BLACKACRE DR                           OLDCASTLE ON N0R1L0
                             AGENT                                                                              CANADA
TOOL‐SMITH COMPANY INC       1300 4TH AVE S                                                                                           BIRMINGHAM      AL   35233‐1409
TOOL/TOLEDO                  5717 TELEGRAPH RD                                                                                        TOLEDO          OH   43612‐3634
TOOLAN, GREGORY W            2747 CARDINAL DR                                                                                         PITTSBORO       IN   46167‐9314
TOOLBOLD CORP                5330 COMMERCE PKWY W                                                                                     PARMA           OH   44130‐1273
TOOLCO/PLYMOUTH              47709 GALLEON DR                                                                                         PLYMOUTH        MI   48170‐2466
TOOLCRAFT MACHINE CO INC     5390 WELLER RD                                                                                           GREGORY         MI   48137‐9524
TOOLE COUNTY TREASURER       226 FIRST STREET SOUTH                                                                                   SHELBY          MT   59474
TOOLE, ARDIS M               411 LEISURE DR                                                                                           HURON           OH   44839‐2675
TOOLE, BETTY L               PO BOX 641                                                                                               PINE            CO   80470‐0641
TOOLE, BILLY D               2620 DEER CREEK DR                                                                                       ANDERSON        IN   46011‐9603
TOOLE, BOBBY L               2 BRIARWOOD PLACE                                                                                        VICKSBURG       MS   39180
TOOLE, CONEY D               13330 PEACEFUL WAY                     PO BOX 641                                                        PINE            CO   80470‐9572
TOOLE, CONSTANCE M           177 LEWIS ST                                                                                             PITTSTON        PA   18640‐3453
TOOLE, DEVON                 216 N MAPLE AVE                                                                                          JOPLIN          MO   64801‐3489
TOOLE, EDWARD T              2027 GOLFVIEW DR                                                                                         LA PLACE        LA   70068‐2019
TOOLE, FRANCES K             723 MAPLE ST                                                                                             AIKEN           SC   29803‐5441
TOOLE, GERALD C              16 ROBINWOOD VLG                                                                                         SAYLORSBURG     PA   18353
TOOLE, HAROLD M              2100 N HINTZ RD LOT 52                 NORTHWOOD ESTATES                                                 OWOSSO          MI   48867‐9498
TOOLE, JAMES F               414 70TH ST                                                                                              NIAGARA FALLS   NY   14304‐3228
TOOLE, JIMMY                 BUCK LAW FIRM                          1050 CROWN POINTE PKWY STE 940                                    ATLANTA         GA   30338‐7711

TOOLE, JOHN G                4150 COBBLESTONE WAY                                                                                     GREENWOOD       IN   46143‐8767
TOOLE, L. T                  PO BOX 981055                                                                                            YPSILANTI       MI   48198‐1055
TOOLE, LAURA L               100 W BAYRIDGE DR                                                                                        WESTON          FL   33326‐3528
TOOLE, MANN                  GUY WILLIAM S                          PO BOX 509                                                        MCCOMB          MS   39649‐0509
TOOLE, MARY B                9667 BAYVIEW DR APT 214                                                                                  YPSILANTI       MI   48197‐7027
TOOLE, MICHAEL R             5047 KINGSBURY DR                                                                                        PITTSBORO       IN   46167‐9024
TOOLE, PATRICK A             117 BARRANCA AVE                                                                                         SANTA BARBARA   CA   93109‐2204
TOOLE, RICKY L               733 N BENSON RD                                                                                          FOUNTAIN        MI   49410‐9794
TOOLE, THOMAS L              1401 N COUNTRY CLUB RD                                                                                   MUNCIE          IN   47303‐2659
TOOLE, TIMOTHY R             4734 BRIGHTON AVE                                                                                        SAN DIEGO       CA   92107‐2222
TOOLE, WESLEY A              STE E                                  160 ROCK POINT DRIVE                                              DURANGO         CO   81301‐7721
TOOLE, WILLIS L              PO BOX 403                                                                                               PUT IN BAY      OH   43456‐0403
TOOLES JR, JOHN C            3618 FOREST GARDEN AVE                                                                                   BALTIMORE       MD   21207‐6307
TOOLES, GARY D               49051 S INTERSTATE 94 SERVICE DR APT                                                                     BELLEVILLE      MI   48111‐1834
                             304
TOOLES, MAUDINE M            HIGHWAY 496                            LOT#19                                                            MERIDIAN        MS   39301
TOOLEY GORDON                214 S MAIN ST                                                                                            SANDWICH        IL   60548‐2124
TOOLEY HAROLD                550 ADRIENNE LN                                                                                          ANN ARBOR       MI   48103‐1505
TOOLEY, ARTHUR A             63 HENRIETTA AVE                                                                                         BUFFALO         NY   14207‐1623
TOOLEY, ARTHUR K             5177 E R AVE                                                                                             PORTAGE         MI   49002‐7492
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                       Part 37 of 40 Pg 314 of 901
Name                                Address1                             Address2             Address3          Address4               City            State Zip
TOOLEY, CHARLES E                   319 JONES AVE                                                                                      DRAKESBORO       KY 42337‐2011
TOOLEY, DANNY G                     5629 IVY KNOLL CT APT A                                                                            INDIANAPOLIS     IN 46250‐3716
TOOLEY, GERTIE                      8559 N LINE CREEK PKWY APT 118                                                                     KANSAS CITY      MO 64154‐2119
TOOLEY, GERTIE                      8559 N LINE CREEK PARKWAY            APT 118                                                       KANSAS CITY      MO 64154
TOOLEY, GORDON A                    214 S MAIN ST                                                                                      SANDWICH          IL 60548‐2124
TOOLEY, GORDON A                    1712 GLENDALE AVE                                                                                  SAGINAW          MI 48638‐4767
TOOLEY, HAROLD P                    550 ADRIENNE LN                                                                                    ANN ARBOR        MI 48103‐1505
TOOLEY, KIRK M                      17473 HERRICK ST                                                                                   ALLEN PARK       MI 48101‐1412
TOOLEY, LARRY D                     15875 PORTAGE RD                                                                                   VICKSBURG        MI 49097‐8755
TOOLEY, MABEL L                     PINEHURST                            APT 106              1000 PINE TRAIL                          HONEOYE FALLS    NY 14472‐1161
TOOLEY, MABEL L                     1000 PINE TRL APT 106                                                                              HONEOYE FALLS    NY 14472‐1161
TOOLEY, MICHAEL D                   731 JEANNIE LN                                                                                     BELOIT           WI 53511‐2059
TOOLEY, MICHAEL D                   731 JEANNIE LANE                                                                                   BELOIT           WI 53511‐2059
TOOLEY, MICHAEL J                   7788 CLIFFVIEW CT                                                                                  DAYTON           OH 45459‐5415
TOOLEY, PIPPA Y                     13304 SALVO DR                                                                                     MATTHEWS         NC 28105‐6451
TOOLEY, TIMOTHY W                   3262 W 950 S                                                                                       PENDLETON        IN 46064‐8912
TOOLFETCH                           PO BOX 2332                                                                                        NEW YORK         NY 10021‐0056
TOOLING & COMPONENTS CORP           5261 TRACTOR RD                                                                                    TOLEDO           OH 43612‐3439
TOOLING & COMPONENTS CORP TOOL      5261 TRACTOR RD                                                                                    TOLEDO           OH 43612‐3439
COMP
TOOLING & EQ/LIVONIA                34018 BEACON ST                                                                                    LIVONIA          MI 48150‐1533
TOOLING & EQUIPMENT INTERNATIO      12550 TECH CENTER DR                                                                               LIVONIA          MI 48150‐2192
TOOLING & EQUIPMENT INTERNATIONAL   12550 TECH CENTER DR                                                                               LIVONIA          MI 48150‐2192

TOOLING RESOURC/TROY                1119 ROCHESTER RD                                                                                  TROY            MI    48083‐6013
TOOLING SOFTWARE TECHNOLOGY LLC     8313 N HOLLY RD STE A‐1                                                                            GRAND BLANC     MI    48439
TOOLING SOLUTIONS PLUS INC          35101 HARPER AVE                                                                                   CLINTON TWP     MI    48035‐3201
TOOLING SOLUTIONS/PLUS              35101 HARPER AVE STE 206                                                                           CLINTON TWP     MI    48035
TOOLING SYSTEMS GROUP, INC          8075 GRAPHIC DRIVE NE                                                                              BELMONT         MI    49306
TOOLING SYSTEMS GROUP, INC          ATTN: CORPORATE OFFICER/AUTHORIZED   8075 GRAPHIC DR NE                                            BELMONT         MI    49306‐9448
                                    AGENT
TOOLING SYSTEMS SALES INC           PO BOX 462                                                                                         ROCHESTER       MI    48308
TOOLING TECHNOLOGIES LLC            11680 BRITTMOORE PARK DR                                                                           HOUSTON         TX    77041‐6917
TOOLING TECHNOLOGIES LLC            2345 W WARRIOR TRL                                                                                 GRAND PRAIRIE   TX    75052‐7255
TOOLINK ENGINEERING INC             1921 MILLER DR                                                                                     LONGMONT        CO    80501‐6736
TOOLINK ENGINEERING INC
TOOLIS CORMA                        PO BOX 7371                                                                                        BISMARCK        ND 50507‐7371
TOOLMASTER TOOL & MACHINE CO INC    RICH SABO                            INC.                 8128 RIVER RD.                           FRANKLIN PARK   IL 60131

TOOLMASTER TOOL & MACHINE CO.,      RICH SABO                            INC.                 8128 RIVER RD.                           FRANKLIN PARK    IL   60131
TOOLNEEDS INC                       227 BUNTING RD UNIT L                                                       ST CATHARINES ON L2M
                                                                                                                3Y2 CANADA
TOOLS FOR BENDING INC               194 W DAKOTA AVE                                                                                   DENVER          CO    80223‐2117
TOOLWORX                            7994 GRAND RIVER RD                                                                                BRIGHTON        MI    48114‐9304
TOOMA, GEORGE J                     11 PARKER RD                                                                                       GARNERVILLE     NY    10923‐1909
TOOMAN, BRIAN E                     2439 MAYFAIR DRIVE                                                                                 WHITE LAKE      MI    48383‐3941
TOOMBS, ANN C                       7055 BREWER RD                                                                                     FLINT           MI    48507
TOOMBS, DANIEL W                    11097 PRESERVATION PT                                                                              FISHERS         IN    46037
TOOMBS, DAVID J                     341 HARMONY CT                                                                                     ANDERSON        IN    46013‐1052
TOOMBS, DAVID L                     411 N 6TH ST                         # 2984                                                        EMERY           SD    57332
TOOMBS, DORIS J                     26412 W 6 MILE RD                                                                                  REDFORD         MI    48240‐2207
TOOMBS, DORIS J                     26412 SIX MILE RD                                                                                  REDFORD         MI    48240‐2207
                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                        Part 37 of 40 Pg 315 of 901
Name                 Address1                        Address2                        Address3   Address4         City                State Zip
TOOMBS, EARL W       3414 CHEROKEE AVE                                                                           FLINT                MI 48507‐1936
TOOMBS, ELOISE T     122 HOLLYWOOD BLVD                                                                          ANDERSON             IN 46016‐5819
TOOMBS, GEORGE       1197 W COUNTY LINE RD                                                                       LAKEWOOD             NJ 08701‐1226
TOOMBS, IRENE K      4923 JAYSUE ST                                                                              ANDERSON             IN 46013‐2837
TOOMBS, JAMES D      1442 LABROT CT                                                                              AVON                 IN 46123‐7659
TOOMBS, JAMES L      7515 QUAIL CREEK TRCE                                                                       PITTSBORO            IN 46167‐9034
TOOMBS, JAMES R      125 HESKELL ONEY RD                                                                         HARLETON             TX 75651‐4027
TOOMBS, JAMES RAY    125 HESKELL ONEY RD                                                                         HARLETON             TX 75651‐4027
TOOMBS, JANET R      911 NORTH 900 WEST,                                                                         ANDERSON             IN 46011
TOOMBS, JENNIFER R   1104 ALEXANDRIA PIKE                                                                        ANDERSON             IN 46012‐2610
TOOMBS, JERRY E      8562 W 775 S                                                                                PENDLETON            IN 46064‐8948
TOOMBS, JIMMY L      283 JENKINS VLG                                                                             RED BLNG SPGS        TN 37150‐6071
TOOMBS, JOHN M       10525 EBY RD                                                                                FORT WAYNE           IN 46835‐9702
TOOMBS, MARSHA S     283 JENKINS VLG                                                                             RED BLING SPRINGS    TN 37150‐6071
TOOMBS, MICHAEL X    7441 FISHER RD                                                                              ONTARIO              NY 14519‐9745
TOOMBS, PHILLIP      1005 WHITMORE ST                                                                            ANDERSON             IN 46012‐9216
TOOMBS, PHILLIP M    1005 WHITMORE ST                                                                            ANDERSON             IN 46012‐9216
TOOMBS, PHYLLIS R    5262 GLENROY DR                                                                             HUNTINGTON BEACH     CA 92649‐4515
TOOMBS, RANDY H      26412 W 6 MILE RD                                                                           REDFORD              MI 48240‐2207
TOOMBS, RICHARD A    291 N 500 W                                                                                 ANDERSON             IN 46011‐1431
TOOMBS, ROY L        911 NORTH 900 WEST                                                                          ANDERSON             IN 46011‐9773
TOOMBS, SARAH J      767 MORAN AVE                                                                               LINCOLN PARK         MI 48146‐4338
TOOMBS, WAYNE D      29 HARBOUR LN                                                                               BUFFALO              NY 14225‐3707
TOOMER, AARON
TOOMER, ASHLEY
TOOMER, BRANDON
TOOMER, COLLIN
TOOMER, DAISY L      1413 E WAID AVE                                                                             MUNCIE              IN    47303‐2372
TOOMER, JAMES V      5305 LARITA LN                                                                              ANDERSON            IN    46017‐9523
TOOMER, JAMES V      3608 W RIVERSIDE AVE                                                                        MUNCIE              IN    47304
TOOMER, JOY          32152 CANYON RIDGE DR                                                                       WESTLAKE VLG        CA    91361‐4829
TOOMER, KEVIN
TOOMER, LIZZIE       5305 LARITA LN                                                                              ANDERSON             IN   46017‐9523
TOOMER, RHONDA       BROWN SAWICKI & MITCHELL        4040 N CENTRAL EXPY             STE 850                     DALLAS               TX   75204‐3227
TOOMER, RHONDA       ROTH LAW FIRM                   P O BOX 876 ‐ 115 NORTH                                     MARSHALL             TX   75671
                                                     WELLINGTON ‐ SUITE 200 STE 200
TOOMEY JOSEPH        TOOMEY, JOSEPH                  510 PARK PLACE TOWER 2001 PARK                              BIRMINGHAM           AL   35203
                                                     PLACE NORTH
TOOMEY JOSEPH        TOOMEY, JOSEPH                  51 ST JOSEPH STREET P O BOX 894                             MOBILE               AL   36602
TOOMEY JOSEPH        TOOMEY, REGINA                  510 PARK PLACE TOWER 2001 PARK                              BIRMINGHAM           AL   35203
                                                     PLACE NORTH
TOOMEY MIKE          1513 ANDREA DR                                                                              NEW LENOX           IL    60451‐2301
TOOMEY, ALAN K       2717 REGENCY DR                                                                             ORION               MI    48359‐1156
TOOMEY, ANGELA M.    5707 PENWICK CT                                                                             DAYTON              OH    45431‐2942
TOOMEY, ARNOLD R     1143 SCHMIDT WAY                                                                            TRAVERSE CITY       MI    49686‐9336
TOOMEY, BRIAN D      11240 RICHFIELD                                                                             DAVISON             MI    48423
TOOMEY, CHARLES K    115 COCHISE ST SE                                                                           CLEVELAND           TN    37323‐8129
TOOMEY, CLARA J      8728 GREENVILLE SAINT MARYS                                                                 GREENVILLE          OH    45331‐9337
TOOMEY, DAVID B      6860 ISLAND CT                                                                              COLOMA              MI    49038‐9522
TOOMEY, DONALD C     3040 FLEMING RD                                                                             FOWLERVILLE         MI    48836‐9552
TOOMEY, EULALIA      3755 LAKE WOOD DR                                                                           YORBA LINDA         CA    92886‐1552
TOOMEY, HAROLD D     4310 HUCKLEBERRY LN                                                                         FLINT               MI    48507‐2358
                           09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                             Part 37 of 40 Pg 316 of 901
Name                       Address1                       Address2                         Address3                     Address4         City                 State Zip
TOOMEY, JACK L             4213 MARYS WAY                                                                                                LANSING               MI 48917‐4202
TOOMEY, JAMES L            PO BOX 1266                                                                                                   DESERT HOT SPRINGS    CA 92240‐0937
TOOMEY, JOSEPH             APT 811                        5700 GRELOT ROAD                                                               MOBILE                AL 36609‐3623
TOOMEY, JOSEPH             PETWAY & TUCKER LLC            510 PARK PLACE TOWER 2001 PARK                                                 BIRMINGHAM            AL 35203
                                                          PLACE NORTH
TOOMEY, JOSEPH             TAYLOR MARTINO PC              PO BOX 894                                                                     MOBILE               AL   36601‐0894
TOOMEY, MILDRED V          639 E COTTAGE AVE                                                                                             W CARROLLTON         OH   45449‐1353
TOOMEY, MILDRED V          639 E. COTTAGE AVE.                                                                                           W CARROLLTON         OH   45449‐1353
TOOMEY, NANCY K            11240 E RICHFIELD RD                                                                                          DAVISON              MI   48423‐8517
TOOMEY, PATRICK R          2198 W M‐59                                                                                                   HOWELL               MI   48843
TOOMEY, REGINA             PETWAY & TUCKER LLC            510 PARK PLACE TOWER 2001 PARK                                                 BIRMINGHAM           AL   35203
                                                          PLACE NORTH
TOOMEY, RENEE              2245 VICTOR AVE                                                                                               LANSING              MI   48911‐1731
TOOMEY, SANDRA L           3298 DEVAUGHN DR NE                                                                                           MARIETTA             GA   30066‐2380
TOOMEY, WILLIAM D          639 E COTTAGE AVE                                                                                             W CARROLLTON         OH   45449‐1353
TOOMEY, WILLIAM J          2616 DANZ AVE                                                                                                 KETTERING            OH   45420‐3463
TOOMY HALL                 19410 WYOMING ST                                                                                              DETROIT              MI   48221‐1517
TOON RICHARD               14800 E 45TH ST N                                                                                             WICHITA              KS   67228‐9400
TOON, GEORGE A             1684 SQUIRE RUN                                                                                               ATHENS               AL   35613‐2031
TOON, HAROLD L             110 WHITELAND RD                                                                                              NEW WHITELAND        IN   46184‐1422
TOON, HARRY L              4117 S EATON AVE                                                                                              INDIANAPOLIS         IN   46239‐1576
TOON, LORENE G             257 E JINGLE BELL LN                                                                                          SANTA CLAUS          IN   47579‐6084
TOON, LOUIS N              811 MACEDONIA ST                                                                                              MAYFIELD             KY   42066‐3713
TOON, TERRY M              4911 E 793 S                                                                                                  JONESBORO            IN   46938‐9711
TOONE HERBERT A (401573)   ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                                            NEW YORK             NY   10006‐1638
TOONE, CANDACE WILTSHIRE   PO BOX 241                                                                                                    ROCKVILLE            VA   23146‐0241
TOONE, DANNY W             4204 CALKINS RD                                                                                               FLINT                MI   48532‐3512
TOONE, HERBERT A           ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                                            NEW YORK             NY   10006‐1638
TOONE, REX A               23886 TOONE RD                                                                                                ELKMONT              AL   35620‐4936
TOOPS, GARY B              216 STARR AVENUE                                                                                              HAMILTON             OH   45013‐2828
TOOPS, JAMES E             519 LAKENGREN DR                                                                                              EATON                OH   45320‐2673
TOOPS, KATHY L             4333 WILLOW RUN DR                                                                                            BEAVERCREEK          OH   45430‐1548
TOOPS,KATHY L              4333 WILLOW RUN DR                                                                                            BEAVERCREEK          OH   45430‐1548
TOOR BHAGWAN               SINGH, CHAND                   ROYA MOHAMMADI                   9420 RESEDA BLVD, STE. 414                    NORTHRIDGE           CA   91324
TOOR BHAGWAN               TOOR, BHAGWAN                  21018 GRESHAM ST APT 214                                                       CANOGA PARK          CA   91304
TOOR, BHAGWAN              21018 GRESHAM ST APT 214                                                                                      CANOGA PARK          CA   91304
TOOR, BHAGWAN
TOOR, DONALD R             39362 WORCHESTER ST                                                                                           WESTLAND             MI   48186‐8640
TOOR, JAMES R              29224 ALVIN ST                                                                                                GARDEN CITY          MI   48135‐2780
TOOR, JESSE J              29224 ALVIN ST                                                                                                GARDEN CITY          MI   48135‐2780
TOOR, JOSEPH K             4756 SHERSTONE CT                                                                                             CANTON               MI   48188‐2396
TOOR, KAREN K              PO BOX 9022                    C/O DUBAI                                                                      WARREN               MI   48090‐9022
TOOROIAN, HARRY            28850 PANAMA ST                                                                                               WARREN               MI   48092‐2362
TOOSON, JENNIFER L         305 MANSFIELD PL                                                                                              DAYTON               OH   45404‐1072
TOOSON, MEISHA DANIELLE    29451 STEINHAUER ST                                                                                           INKSTER              MI   48141‐1042
TOOTHACKER, MARGARET J     80000 MCFADDEN ROAD                                                                                           ARMADA               MI   48005‐1020
TOOTHAKER ALAN             9 TOOTHAKER LN                                                                                                ELLSWORTH            ME   04605‐1700
TOOTHMAN, DANIEL V         38090 MEGAN PL                                                                                                LISBON               OH   44432‐9476
TOOTHMAN, EDWARD R         2630 N 156TH TER                                                                                              BASEHOR              KS   66007‐9224
TOOTHMAN, JAMES R          2602 S ARAGON AVE                                                                                             KETTERING            OH   45420‐3510
TOOTHMAN, ROBERT L         6567 LAKEVIEW DR                                                                                              HANOVERTON           OH   44423‐9641
TOOTHMAN, RONALD E         17823 EISENHOWER RD                                                                                           LEAVENWORTH          KS   66048‐7378
                                    09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                        Part 37 of 40 Pg 317 of 901
Name                               Address1                            Address2                        Address3   Address4                City                State Zip
TOOTHMAN, RONALD EDWARD            17823 EISENHOWER RD                                                                                    LEAVENWORTH          KS 66048‐7378
TOOTHMAN, VERA L                   2550 N RITTER AVE                                                                                      INDIANAPOLIS         IN 46218‐3202
TOOTHMAN, VERA L                   2550 N. RITTER                                                                                         INDIANAPOLIS         IN 46218‐3202
TOOTIKIAN, AVEDIS H                400 STREETS RUN RD                                                                                     PITTSBURGH           PA 15236‐2009
TOOTIKIAN, AVEDIS H                PO BOX 18034                                                                                           PITTSBURGH           PA 15236‐0034
TOOTIKIAN, DANA L                  1902 ALFRED LN                                                                                         BOSSIER CITY         LA 71112‐4647
TOOTIKIAN, JACK A                  650 E VISTA RIDGE MALL DR APT 631                                                                      LEWISVILLE           TX 75067‐4061
TOOTLE ABEL T SR (130601)          MARSHALL DONALD                     ONE EAST PENN SQUARE BLDG ,                                        PHILADELPHIA         PA 19107
                                                                       SUITE 1600
TOOTLE, ABEL T                     MARSHALL DONALD                     ONE EAST PENN SQUARE BLDG,                                         PHILADELPHIA        PA 19107
                                                                       SUITE 1600
TOOTLE, JAMES N                    4555 SOUTH MISSION RD LOT 317                                                                          TUCSON              AZ   85746
TOOTLE, RONALD                     188 POCAHONTAS ST                                                                                      XENIA               OH   45385‐5453
TOOTLE, THOMAS                     PORTER & MALOUF PA                  4670 MCWILLIE DR                                                   JACKSON             MS   39206‐5621
TOOTSIE GILBERT                    1309 RILEY HILL RD                                                                                     PULASKI             TN   38478‐5004
TOOVEY, MICHAEL J                  3761 ASHWOOD DR                                                                                        PLEASANTON          CA   94588‐4809
TOOVEY, THOMAS L                   11613 N GALAHAD DR                                                                                     SPOKANE             WA   99218‐1731
TOP AUTO                           1828 S DIVISION AVE                                                                                    ORLANDO             FL   32805‐4730
TOP DECK SYSTEMS INC               44753 CENTRE CT                                                                                        CLINTON TOWNSHIP    MI   48038‐1317
TOP DRIVER                         1141 S ARLINGTON HEIGHTS RD # R                                                                        ARLINGTON HEIGHTS   IL   60005
TOP ECHELON CONTRACTING INC        800 MARKET AVE N                                                                                       CANTON              OH   44702
TOP ECHELON CONTRACTING INC        800 MARKET AVE N                    PO BOX 20990                                                       CANTON              OH   44702
TOP FLITE EXPRESS                  14320 JOY ROAD                                                                                         DETROIT             MI   48228
TOP GUN MECHANICAL & AUTO PARTS    PO BOX 1649 11961‐ 20TH AVENUE                                                 BLAIRMORE AB T0K 0E0
                                                                                                                  CANADA
TOP HAT JOHN                       PO BOX 46024                                                                                           MOUNT CLEMENS       MI 48046‐6024
TOP HEAVY CLOTHING COMPANY, INC.
TOP LINE EXPRESS INC               PO BOX 5277                                                                                            LIMA                OH 45802‐5277
TOP LINE PERFORMANCE               7312 AUTOPARK DR                                                                                       HUNTINGTON BEACH    CA 92648‐1200
TOP MARKET GROUP                   202 ARTERIAL RD                                                                                        SYRACUSE            NY 13206‐1589
TOP MARKETING                      5716 COOPERS AVE UNIT 7                                                        MISSISSAUGA CANADA ON
                                                                                                                  L4Z 2E8 CANADA
TOP NOTCH CUSTOM FLOORS            ATTN: ERIC HAYES                    327 PENFIELD AVE                                                   ELYRIA              OH 44035‐3236
TOP SPIN MARKETING CC
TOP SPIN MARKETING PTY. LTD.
TOP TAPE & LABEL LTD               1259 SANDHILL DR SS 76                                                         ANCASTER ON L9G 4V5
                                                                                                                  CANADA
TOP TECH AUTO                      4717 BOONE RD                                                                                          HOUSTON             TX   77072‐1970
TOP TECH AUTOMOTIVE SPECIALISTS    7234 HEIL AVE                                                                                          HUNTINGTON BEACH    CA   92647‐4466
TOP VALUE SERVICE CENTER           21990 W 8 MILE RD                                                                                      SOUTHFIELD          MI   48075‐5623
TOP WRENCH AUTOMOTIVE              7 HENRY FORD CIR                                                                                       WALDORF             MD   20602‐2771
TOPA FRANK (448282)                KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                      CLEVELAND           OH   44114
                                                                       BOND COURT BUILDING
TOPA, FRANK                        KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                       CLEVELAND           OH 44114
                                                                       BOND COURT BUILDING
TOPASH, CYNTHIA D                  818 COUNTY ROAD 296                                                                                    HILLSBORO           AL   35643‐3467
TOPASH, CYNTHIA DENISE             818 COUNTY ROAD 296                                                                                    HILLSBORO           AL   35643
TOPCON/PARAMUS                     65 W CENTURY RD                                                                                        PARAMUS             NJ   07652‐1408
TOPCRAFT PRECISION MOLDERS         KAREN GLEDHILL X128                 301 IVYLAND ROAD                                                   LIVONIA             MI
TOPCRAFT PRECISION MOLDERS INC     KAREN GLEDHILL X128                 301 IVYLAND ROAD                                                   LIVONIA             MI
TOPCRAFT PRECISION MOLDERS INC     301 IVYLAND RD                                                                                         WARMINSTER          PA   18974‐2205
TOPE RICK                          825 GLASPIE RD                                                                                         OXFORD              MI   48371‐5024
                                  09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                      Part 37 of 40 Pg 318 of 901
Name                              Address1                          Address2               Address3         Address4                City               State Zip
TOPE, CARL J                      PO BOX 6                          780 THIRD ST                                                    LATTY               OH 45855‐0006
TOPE, DONA                        2585 OZORA CHURCH RD                                                                              LAWRENCEVILLE       GA 30045‐8631
TOPE, EUGENE A                    3250 AIRPORT RD                                                                                   WATERFORD           MI 48329‐3010
TOPE, JONATHON L                  3273 GRAFTON ST                                                                                   ORION               MI 48359‐1123
TOPE, RICKEY D                    825 GLASPIE RD                                                                                    OXFORD              MI 48371‐5024
TOPE, RITA L                      11949 HUNTINGTON HILLS DR. N.W.                                                                   PICKERINGTON        OH 43147‐9157
TOPEKA, EMERY A                   623 SAXON HILL RD                                                                                 REYNOLDSVILLE       PA 15851‐4853
TOPEKA, MARGARET                  4347 W 197TH ST                                                                                   CLEVELAND           OH 44135‐1075
TOPEL SR, RICHARD W               949 BENNINGTON DR                                                                                 ROCHESTER           NY 14616‐3317
TOPEL, CHARLOTTE M                6317 NW 82ND CT                                                                                   KANSAS CITY         MO 64151‐1069
TOPEL, DUANE D                    110 PEACHTREE LN                                                                                  SWANTON             OH 43558‐8003
TOPEL, DUANE DAVID                110 PEACHTREE LN                                                                                  SWANTON             OH 43558‐8003
TOPEL, EDWARD A                   332 N PALM ST                                                                                     JANESVILLE          WI 53548‐3596
TOPEL, MICHAEL E                  6691 W WOOD RIDGE DR                                                                              JANESVILLE          WI 53548‐8659
TOPEL‐WILLIAMS ANNA               1312 NORTHVALE CT                                                                                 SAINT LOUIS         MO 63137‐1414
TOPELIAN, ERIC P                  2125 STONEBRIDGE WAY                                                                              CANTON              MI 48188‐3278
TOPELIAN, MICHAEL C               10699 DOUGLAS RD                                                                                  TEMPERANCE          MI 48182‐2705
TOPETE‐RUBIO, ABRAHAM             13331 TERRA BELLA ST                                                                              PACOIMA             CA 91331‐3836
TOPEW INTERNATIONAL INC           2100 BLOOR ST W STE 6283                                                  TORONTO ON M6S 5A5
                                                                                                            CANADA
TOPEX/GERMANY                     DAIMLERSTR 2                                                              ERKENBRECHTSWEI GE D‐
                                                                                                            73268 GERMANY
TOPHAM, BARRY L                   6397 2ND ST                                                                                       MAYVILLE           MI   48744‐5141
TOPHAM, HARLEY A                  3044 PINEGATE DR                                                                                  FLUSHING           MI   48433‐2471
TOPHAM, LAWRENCE J                5300 S ATLANTIC AVE APT 5507      APT 5507                                                        NEW SMYRNA BEACH   FL   32169‐4593
TOPHAM, LYNN B                    2509 E BLACKMORE RD                                                                               MAYVILLE           MI   48744‐9729
TOPHAM, NANCY A.                  3325 DIXIE CT                                                                                     SAGINAW            MI   48601‐5907
TOPHAM, RICHARD C                 832 BURRITT RD                                                                                    HILTON             NY   14468‐9725
TOPHAM, WILLIAM F                 3492 MCKEEN LAKE RD                                                                               COLUMBIAVILLE      MI   48421‐9114
TOPIE, JAMES L                    3574 FARLEY RD                                                                                    ALMONT             MI   48003‐8025
TOPIJ, MARGARET A                 APT 842                           1795 CLIFFVIEW DRIVE                                            ROCHESTER HLS      MI   48306‐4278
TOPINKA, RONALD                   2520 WINDER DR                                                                                    FRANKLIN           TN   37064‐4985
TOPJET SALES                      80 STUART AVE                                                                                     AMITYVILLE         NY   11701‐4226
TOPLIKAR, ROBERT M                17411 S INGRID ST                                                                                 GARDNER            KS   66030‐9710
TOPLIN, JAMES R                   24506 US 23 N                                                                                     MILLERSBURG        MI   49759
TOPLINE PRINTING & GRAPHICS LTD
TOPLINSON, DEBORAH                STATE FARM INSURANCE              PO BOX 953                                                      FREDERICK          MD 21705‐0953
TOPO GIGIO                        VIA ASIAGO
TOPO RANCH/ PEACHTREE RANCH       SINGLETON GROUP                   ATT: BILL WHITNEY      1 PEACHTREE RD                           KING CITY          CA   93930‐9430
TOPOL, DOLORES                    10015 MINI‐RANCH ROAD                                                                             WAXHAW             NC   28173
TOPOL, DOLORES                    10015 MINI RANCH RD                                                                               WAXHAW             NC   28173‐8630
TOPOL, EDWARD S                   10015 MINI RANCH ROAD                                                                             WAXHAW             NC   28173‐8630
TOPOLA JR, RICHARD F              6191 STRATFORD DR                                                                                 PARMA HEIGHTS      OH   44130‐2362
TOPOLEWSKI                        22757 WOODWARD AVE STE 250                                                                        FERNDALE           MI   48220‐1765
TOPOLEWSKI, EUGENE A              702 E 4TH ST                                                                                      ATLANTIC           IA   50022‐1332
TOPOLEWSKI, GLADYS                9241 LATHERS ST                                                                                   LIVONIA            MI   48150‐4127
TOPOLEWSKI, HELEN E               7 SULLIMAN RD                                                                                     EDISON             NJ   08817‐4138
TOPOLEWSKI, KATHRYN P             49820 COOKE AVE                                                                                   PLYMOUTH           MI   48170‐2885
TOPOLEWSKI, KENNETH               7 SULLIMAN RD                                                                                     EDISON             NJ   08817‐4138
TOPOLEWSKI, MICHAEL P             6943 ELM PARK DR                                                                                  TROY               MI   48098‐1944
TOPOLEWSKI, VIRGINIA              4357 FERNBROOK XING                                                                               EVANS              GA   30809‐4601
TOPOLINSKI, DOROTHY L             217 OAK ST                                                                                        FLUSHING           MI   48433‐2635
                             09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                              Part 37 of 40 Pg 319 of 901
Name                         Address1                      Address2                     Address3   Address4              City             State Zip
TOPOLINSKI, NANCY M          3830 CRAIG DR                                                                               FLINT             MI 48506‐2685
TOPOLNICKI, DANIEL R         309 ELIZABETH LAKE RD                                                                       PONTIAC           MI 48341‐1014
TOPOLNICKI, DANIEL R         153 S TILDEN AVE                                                                            WATERFORD         MI 48328‐3871
TOPOLNICKI, THOMAS M.        PO BOX 300481                                                                               DRAYTON PLAINS    MI 48330‐0481
TOPOLNICKI, THOMAS M.        PO BOX 718                                                                                  GOODRICH          MI 48438
TOPOLOVICH, ANN L            294 GREENBRIAR DR                                                                           AURORA            OH 44202‐9208
TOPOLSKI, JODY A             4136 TAMARACK TURN ST NE                                                                    GRAND RAPIDS      MI 49525
TOPOLSKI, JOSEPH A           3093 S TNT TRL                                                                              WHITE CLOUD       MI 49349‐8645
TOPOLSKI, RICHARD D          128 JUNE RD                                                                                 KENMORE           NY 14217‐1453
TOPOR, LEOCADIA K            12 HOURIGAN DR                                                                              MERIDEN           CT 06451‐3640
TOPORCER JOSEPH & DEBORAH    11398 ELLSWORTH RD                                                                          NORTH JACKSON     OH 44451‐9737
TOPOREK JR, PETER P          6111 SANDY LN                                                                               BURTON            MI 48519‐1309
TOPOREK, DOROTHY J           1377 PARKSHORE DR                                                                           CHARLESTON        SC 29407‐3123
TOPOREK, FRANK               8019 POTTER RD                                                                              FLUSHING          MI 48433‐9444
TOPOREK, IDA M               8019 POTTER RD                                                                              FLUSHING          MI 48433‐9444
TOPOREK, KAREN A             10069 HAYES ST                                                                              SPRING HILL       FL 34608
TOPOREK, VICKYLYNN T         PO BOX 66                                                                                   HOMER             GA 30547‐0066
TOPORSKI JR, DANIEL J        106 OLD KAWKAWLIN RD                                                                        BAY CITY          MI 48706‐2117
TOPORSKI, JANET A            5606 W SPRING KNOLL DR                                                                      BAY CITY          MI 48706‐5614
TOPORSKI, JOHN G             466 W BORTON RD                                                                             ESSEXVILLE        MI 48732‐8706
TOPORSKI, JOHN GERALD        466 W BORTON RD                                                                             ESSEXVILLE        MI 48732‐8706
TOPORSKI, MICHAEL J          1704 S WENONA ST                                                                            BAY CITY          MI 48706‐5273
TOPORSKI, PATRICIA A         2309 S FARRAGUT ST                                                                          BAY CITY          MI 48708‐8160
TOPORSKI, THOMAS P           2125 CASS AVENUE RD                                                                         BAY CITY          MI 48708‐9121
TOPORSKI, WILLIAM L          5606 W SPRING KNOLL DR                                                                      BAY CITY          MI 48706‐5614
TOPORZYCKI, BERNARD E        2903 LEMAR RD                                                                               MERCERSBURG       PA 17236‐8619
TOPORZYCKI, BERNARD EUGENE   2903 LEMAR RD                                                                               MERCERSBURG       PA 17236‐8619
TOPORZYCKI, EDWARD J         3846 ARBOR DR                                                                               AUBURN HILLS      MI 48326‐3971
TOPP AUTO AS                 STRANDGT. 16                                                          GJOVIK N‐28‐ NORWAY
TOPP GRACE                   1809 PLYMOUTH ROAD                                                                          HOPKINS          MN   55305
TOPP LAW PLC                 SUSAN HLYWA TOPP              213 E. MAIN, P.O. BOX 1977                                    GAYLORD          MI   49734
TOPP, BERTHA T               7080 SE LILLIAN CT                                                                          STUART           FL   34997‐2223
TOPP, BRENDA G               21149 DUNDEE DR                                                                             NOVI             MI   48375‐4743
TOPP, CHARLES P              530 WILBY DR                                                                                CHARLOTTE        NC   28270
TOPP, DAVID A                10288 AMBERWOOD CT                                                                          CINCINNATI       OH   45241
TOPP, DONALD C               5521 BETH VIEW DR                                                                           EL PASO          TX   79932‐1418
TOPP, JODI L                 5407 BERNADETTE ST                                                                          LAS VEGAS        NV   89122
TOPP, JOHN R                 1208 BENTON AVE                                                                             JANESVILLE       WI   53545‐1881
TOPP, JR, WILLIAM J          8411 STONEGATE RD                                                                           WIND LAKE        WI   53185‐1485
TOPP, KENNETH J              4321 RURIK DR 3                                                                             HOWELL           MI   48843
TOPP, LAMONT A               5560 W M 179 HWY                                                                            HASTINGS         MI   49058‐7630
TOPP, LAMONT A.              5560 W M 179 HWY                                                                            HASTINGS         MI   49058‐7630
TOPP, MARY L                 26601 COOLIDGE HWY            C/O GUARDIAN CARE INC                                         OAK PARK         MI   48237‐1135
TOPP, MICHAEL J              6455 LITTLE JOHN CIR                                                                        CENTERVILLE      OH   45459‐2547
TOPP, NANCY DIANE            5560 W M 179 HWY                                                                            HASTINGS         MI   49058
TOPP, RICHARD H              6808 LORIEN WOODS DR                                                                        DAYTON           OH   45459‐2871
TOPP, ROBERT D               2219 MINERAL POINT AVE                                                                      JANESVILLE       WI   53548‐2735
TOPP, ROGER R                194 DOROTHY ST                                                                              ENDICOTT         NY   13760‐1304
TOPP, ROGER R                194 DOROTHY STREET                                                                          ENDICOTT         NY   13760‐1304
TOPP, WILLIAM A              960 PATRIOT SQUARE DR                                                                       DAYTON           OH   45459
TOPPA JR, ARTHUR J           4813 NORWAY ST                                                                              OSCODA           MI   48750‐8727
TOPPA, ARTHUR J              4830 SAINT CLAIR RD                                                                         OSCODA           MI   48750‐9714
                               09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                    Part 37 of 40 Pg 320 of 901
Name                           Address1                          Address2                        Address3                     Address4                  City                  State Zip
TOPPE, JAMES A                 1808 OAKWOOD DR                                                                                                          ANDERSON               IN 46011‐1033
TOPPEN, TERESA D               8555 XENIUM LN N                                                                                                         MAPLE GROVE            MN 55369
TOPPER INDUSTRIAL INC          1729 NE FRONTAGE RD                                                                                                      STURTEVANT             WI 53177‐1007
TOPPER JR, GEORGE W            1041 S OXFORD RD                                                                                                         GROSSE POINTE WOODS    MI 48236‐1815
TOPPER, PATRICK N              304 GROVETHORN RD                                                                                                        MIDDLE RIVER           MD 21220‐4827
TOPPER, PHILIP E               2307 EDINBURG DR                                                                                                         FALLSTON               MD 21047‐2908
TOPPER, SUZANNE D              1041 S OXFORD RD                                                                                                         GROSSE POINTE WOODS    MI 48236‐1815
TOPPERZ PIZZA                  1497 ECORSE RD                                                                                                           YPSILANTI              MI 48198‐5983
TOPPI, CONNIE L                7023 WINDRIDGE LN                                                                                                        FLINT                  MI 48507‐4693
TOPPI, CONNIE LYNN             7023 WINDRIDGE LN                                                                                                        FLINT                  MI 48507‐4693
TOPPIN LARRY                   TOPPIN, LARRY                     8725 WABASH AVE TRLR 136                                                               TERRE HAUTE            IN 47803‐5104
TOPPIN, CHARLES R              2613 CHIPPEWA DR                                                                                                         ANDERSON               IN 46012‐1301
TOPPIN, GERALDINE              10 BELL PL                                                                                                               YONKERS                NY 10701‐3007
TOPPIN, LARRY                  8725 WABASH AVE TRLR 136                                                                                                 TERRE HAUTE            IN 46803‐5104
TOPPIN, LARRY J                8725 WABASH AVE TRLR 136                                                                                                 TERRE HAUTE            IN 47803‐5104
TOPPIN, RICHARD G              11486 CANTERBURY DR                                                                                                      WARREN                 MI 48093‐1768
TOPPIN, THOMAS F               11 LASALLE AVE                                                                                                           NEW CASTLE             DE 19720‐4309
TOPPIN, WILLIAM J              20411 WILLIAMSBURG RD                                                                                                    DEARBORN HTS           MI 48127‐2771
TOPPING ERNEST M (453172)      PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                                                 PHILADELPHIA           PA 19103‐5446
TOPPING HARRY E                C/O GLASSER AND GLASSER           CROWN CENTER                    580 EAST MAIN STREET SUITE                             NORFOLK                VA 23510
                                                                                                 600
TOPPING, ALENE M               PO BOX 672                                                                                                               TECUMSEH              OK    74873‐0672
TOPPING, DAVID A               4333 SE SEATTLE SLEW DR                                                                                                  LEES SUMMIT           MO    64082‐4938
TOPPING, ERNEST                PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                                                 PHILADELPHIA          PA    19103‐5446
TOPPING, GERALDINE             6165 CARSTEN RD                                                                                                          MEDINA                OH    44256‐9197
TOPPING, HOWARD P              3775 NE 27TH CT                                                                                                          OCALA                 FL    34479‐2139
TOPPING, HUGH M                1404 COBBLECREEK ST                                                                                                      MANTECA               CA    95336‐5115
TOPPING, MELVIN                PO BOX 236                                                                                                               MIDDLEBURG            NC    27556‐0236
TOPPING, RICHARD W             1053 SCIO HILLS CT                                                                                                       ANN ARBOR             MI    48103‐6305
TOPPING, STEVEN M              7274 HAWTHORNE CIR                                                                                                       GOODRICH              MI    48438‐9239
TOPPING, THOMAS E              701 E SOUTH H ST                                                                                                         GAS CITY              IN    46933‐2048
TOPPINO PIERO TOPPINO FABIO    FRAZIONE MADONNA LORETO 17                                                                     12043 CANALE ‐CN‐ ITALY
TOPPINS MICHAEL                C/O MCKENNA & CHIODO              436 BOULEVARD OF THE ALLIES ‐                                                          PITTSBURGH            PA 15219
                                                                 SUITE 500
TOPPINS MICHAEL (507071)       (NO OPPOSING COUNSEL)
TOPPINS, MAUREEN H             7130 FLEMING RD                                                                                                          NEW CHURCH            VA 23415‐2443
TOPPINS, MICHAEL               MCKENNA & CHIDO                   436 BOULEVARD OF THE ALLIES ‐                                                          PITTSBURGH            PA 15219
                                                                 SUITE 500
TOPPINS, MICHAEL               C/O THE LIPMAN LAW FIRM           5915 PONCE DE LEON BLVD         SUITE 44                                               CORAL GABLES          FL    33146
TOPPINS, SHIRLEY               5299 HIGHWAY F                                                                                                           ANNAPOLIS             MO    63620‐8626
TOPPMEYER, LEROY B             9317 TUTWILER AVE                                                                                                        SAINT LOUIS           MO    63134‐3527
TOPPS, ANDERSON T              334 ROBBIE LN                                                                                                            FLINT                 MI    48505‐2100
TOPPS, PATRICIA A              211 HAYES AVE                                                                                                            LA GRANGE             IL    60525‐2531
TOPPS, SUSIE M                 PO BOX 19134                                                                                                             DETROIT               MI    48219‐0134
TOPRE AMERICA CORPORATION      1580 COUNTY RD #222                                                                                                      CULLMAN               AL    35057
TOPRE AMERICA INC              MICHAEL JACKSON                   1580 COUNTY ROAD #222                                                                  NICHOLASVILLE         KY    40356
TOPRE CORP                     MICHAEL JACKSON                   1580 COUNTY ROAD #222                                                                  NICHOLASVILLE         KY    40356
TOPS                           5827 S TRANSIT RD                                                                                                        LOCKPORT              NY    14094‐6317
TOPS AUTO REPAIR               2494 ENTERPRISE WAY                                                                            KELOWNA BC V1X 6X6
                                                                                                                              CANADA
TOPS ENGINEERING CORPORATION   275 W CAMPBELL RD STE 600                                                                                                RICHARDSON             TX   75080‐3596
TOPS GLOBAL SERVICES INC       2901 SW 149 AVE                                                                                                          MIRAMAR                FL   33027
                                    09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                        Part 37 of 40 Pg 321 of 901
Name                                Address1                         Address2                        Address3   Address4                 City               State Zip
TOPSEAL SHANGHAI AUTOPARTS CO LTD   NO 116 MAOSHENG RD               ECONOMIC DEVELOPMENT ZONE                  DONJING SHANGHAI
                                                                                                                201619 CHINA (PEOPLE'S
                                                                                                                REP)
TOPSEAL SHANGHAI AUTOPARTS CO LTD   NO 116 MAOSHENG RD                                                          DONJING, S 20161 CHINA

TOPSIDE TENT & PARTY RENTALS CO     1605 E WASHINGTON ST                                                                                 PETERSBURG         VA    23803‐3630
TOPSOGLOU, JOHN H                   9808 RAINER PASS                                                                                     FORT WAYNE         IN    46804‐3979
TOPSOGLOU, JOHN HARVEY              9808 RAINER PASS                                                                                     FORT WAYNE         IN    46804‐3979
TOPSOGLOU, JOHN T                   9808 RAINER PASS                                                                                     FORT WAYNE         IN    46804‐3979
TOPSOGLOU, MAMIE M                  5540 MARKEY RD                                                                                       DAYTON             OH    45415‐3444
TOPSOURCE LLC                       SUSAN MCNAMARA                   350 GRANITE STREET                                                  BRAINTREE          MA    02184
TOPY AMERICA                        980 CHENAULT RD                                                                                      FRANKFORT          KY    40601‐8835
TOPY AMERICA INC                    980 CHENAULT RD                                                                                      FRANKFORT          KY    40601‐8835
TOPY CORPORATION                    LISA SMITH                       980 CHENAULT RD P.O. BOX 1010              TILBURY ON CANADA
TOPY CORPORATION                    NO ADVERSE PARTY
TOPY INDUSTRIES LTD                 TOA BLDG 5‐9 YONBANCHO                                                      CHIYODA‐KU TOKYO 102‐
                                                                                                                8448 JAPAN
TOPY INDUSTRIES LTD                 980 CHENAULT RD                                                                                      FRANKFORT           KY   40601‐8835
TOPY INDUSTRIES LTD                 LISA SMITH                       980 CHENAULT RD P.O. BOX 1010              TILBURY ON CANADA
TOPY, BRUCE A                       30280 ROCK CREEK DR                                                                                  SOUTHFIELD          MI 48076‐5357
TOPY/FRANKFORT                      980 CHENAULT RD                                                                                      FRANKFORT           KY 40601‐8835
TORA INC                            120 WELLINGTON ST                                                           THOROLD CANADA ON L2V
                                                                                                                5E7 CANADA
TORA INVESTMENTS INC
TORA INVESTMENTS INC                120 WELLINGTON ST N                                                         THOROLD ON L2V 5E7
                                                                                                                CANADA
TORABI, ALAN                        24831 ALICIA PKWY                APT C216                                                            LAGUNA HILLS       CA    92653
TORABIAN AL ABBAS                   5465 COPELAND LN                                                                                     SAN JOSE           CA    95124‐6104
TORAIN JR, EARL                     3594 BAINBRIDGE RD                                                                                   CLEVELAND          OH    44118‐2255
TORAIN, CHARLES I                   517 E 21ST ST                                                                                        BALTIMORE          MD    21218‐6124
TORAIN, CHARLES I                   1644 PENTWOOD RD                                                                                     BALTIMORE          MD    21239
TORAIN, EARL                        13 BRUNE DR                                                                                          BEDFORD            OH    44146‐3429
TORAIN, ERNEST W                    412 6TH AVE NW                                                                                       DECATUR            AL    35601‐1534
TORAIN, JOHN T                      2189 N TAYLOR RD                                                                                     CLEVELAND HTS      OH    44112‐3051
TORAIN, MARY                        6156 STUMPH RD APT 111           WOODBURY COMMONS                                                    PARMA              OH    44130‐1883
TORAKIS, ROBERT T                   26103 HOLLY HILL DR                                                                                  FARMINGTON HILLS   MI    48334‐4500
TORAL CAST                          40 CITRON CT                                                                CONCORD CANADA ON L4K
                                                                                                                2P5 CANADA
TORAL CAST                          40 CITRON COURT                                                             CONCORD ON L4K 2
                                                                                                                CANADA
TORAL CAST PRECISION TECH           DIV OF MAGNA POWERTRAIN          1755 ARGENTIA RD                           MISSISSAUGA CANADA ON
                                                                                                                L5N 1V2 CANADA
TORAL CAST/ONTARIO                  40 CITRON COURT                                                             CONCORD ON L4K 2P5
                                                                                                                CANADA
TORAL N DESAI                       423 MIDDLE ST.                                                                                       FAIRBORN           OH    45324‐4824
TORAL, AGUSTIN S                    13665 LEXICON PL                                                                                     SYLMAR             CA    91342‐1817
TORAL, ERNESTO                      4630 EL CAPITAN DR                                                                                   WICHITA FALLS      TX    76310‐2515
TORAL, MIGUEL A                     13665 LEXICON PL                                                                                     SYLMAR             CA    91342‐1817
TORAN J MEADOWS                     306 SHANDELL DR                                                                                      BEDFORD            IN    47421‐9653
TORAN, DERRICK L                    8421 SAWGRASS DR                                                                                     INDIANAPOLIS       IN    46234‐1764
TORAN, MARVIN                       927 YELLOW LAKE DR                                                                                   FORT WAYNE         IN    46804‐5941
TORANGO, PAUL T                     1607 LILLIAN CIR                                                                                     COLUMBIA           TN    38401‐5437
                                 09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                     Part 37 of 40 Pg 322 of 901
Name                             Address1                           Address2                Address3   Address4                  City               State Zip
TORAU, RUTH C                    41 SANDY LANE                                                                                   JEANNETTE           PA 15644‐3036
TORAY COMPOSITES AMERICA INC     ATTN ACCOUNTING DEPT               19002 50TH AVE E                                             TACOMA              WA 98446‐3752
TORAY INDUSTRIES INC             2‐1, NIHONBASHI‐MUROMACHI, 2‐CHOME                                    CHUO‐KU TOKYO 103‐8666
                                                                                                       JAPAN
TORAY INDUSTRIES INC             340 E BIG BEAVER RD STE 120                                                                     TROY               MI 48083‐1223
TORAY INDUSTRIES INC             O‐AZA TSUTSUI 1515                 MATSUMAE CHO IYO GUN               EHIME JP 791 3193 JAPAN
TORAY INDUSTRIES, INC.           2‐1, NIHONBASHI‐MUROMACHI, 2‐CHOME                                    CHUO‐KU TOKYO 103‐8666
                                                                                                       JAPAN
TORAY RESIN CO                   340 E BIG BEAVER RD STE 120                                                                     TROY               MI   48083‐1223
TORAY RESIN COMPANY              340 E BIG BEAVER RD STE 120                                                                     TROY               MI   48083‐1236
TORAY ULTRASUEDE (AMERICA) INC   205 LEXINGTON AVE                   RM 1602                                                     NEW YORK           NY   10016‐6022
TORAY ULTRASUEDE (AMERICA) INC   205 LEXINGTONG AVE RM 1602                                                                      NEW YORK           NY   10016‐6022
TORAY ULTRASUEDE (AMERICA) INC   201 W BIG BEAVER RD STE 1120                                                                    TROY               MI   48084‐4126
TORAY ULTRASUEDE AMERICA INC     460 GREENWAY INDUSTRIAL DR STE J                                                                FORT MILL          SC   29708‐8117
TORAY ULTRASUEDE AMERICA INC     460 GREENWAY INDUSTRIAL DR          STE J                                                       FORT MILL          SC   29708‐8117
TORAYA NICOLE                    503 SAINT MARLO DRIVE                                                                           CENTERVILLE        GA   31028‐8005
TORBA, JOSEPH L                  8891 STODDARD HAYES RD                                                                          KINSMAN            OH   44428‐9602
TORBEN EDELHOFF                  PLUTOSTR 12                                                           D 23562 LUEBECK
                                                                                                       GERMANY
TORBERT JR, JAMES H              471 PARKCLIFFE AVE                                                                              YOUNGSTOWN         OH   44511‐3145
TORBERT, ANNIE L                 2230 LEE ROAD 44                                                                                OPELIKA            AL   36804
TORBERT, DARLEAN                 PO BOX 232                                                                                      MOUNT MORRIS       MI   48458‐0232
TORBERT, GRACE L                 1240 RIEGELWOOD LN                                                                              COLUMBUS           OH   43204‐1789
TORBERT, JANICE                  397 W PRINCETON AVE                                                                             YOUNGSTOWN         OH   44511
TORBERT, LEE R                   4574 MARY E LN                                                                                  MARIANNA           FL   32446‐7949
TORBERT, RALPH E                 397 W PRINCETON AVE                                                                             YOUNGSTOWN         OH   44511‐2414
TORBERT, RICHARD C               917 SE FRONT ST                                                                                 MILFORD            DE   19963‐1555
TORBERT, WILLIE                  19435 MONTE VISTA ST                                                                            DETROIT            MI   48221‐1411
TORBET, WILLIAM M                144 SIEBERT DR                                                                                  HOUGHTON LAKE      MI   48629‐9751
TORBETT, RALPH E                 137 CHESTNUT CV                                                                                 HEMPHILL           TX   75948‐6486
TORBIT SR, WILLIAM H             1014 WILDWOOD PKWY                                                                              BALTIMORE          MD   21229‐1851
TORBIT, DONALD R                 226 E LAKESHORE DR                                                                              CHEROKEE VILLAGE   AR   72529‐5447
TORBIT, JOHN D                   169 MORRIS CT                                                                                   GLEN BURNIE        MD   21060‐6371
TORBIT, WILLIE M                 3402 WOODRIDGE CT                                                                               MITCHELLVILLE      MD   20721‐2800
TORBRAM PLUMBING LTD.            18 PANDA LANE                                                         BRAMPTON ON L6S 5B8
                                                                                                       CANADA
TORCA PRODUCTS INC               2430 E WALTON BLVD                                                                              AUBURN HILLS       MI   48326‐1956
TORCA PRODUCTS INC               KURT D. CASSEL                      2430 E WALTON BLVD                                          AUBURN HILLS       MI   48326‐1956
TORCA PRODUCTS INC               KURT D. CASSEL                      2430 E. WALTON BLVD.                                        CLEVELAND          OH   44144
TORCA, INC                       KURT D. CASSEL                      2430 E WALTON BLVD                                          AUBURN HILLS       MI   48326‐1956
TORCA, INC                       KURT D. CASSEL                      2430 E. WALTON BLVD.                                        CLEVELAND          OH   44144
TORCA/AUBURN HILLS               2430 E WALTON BLVD                                                                              AUBURN HILLS       MI   48326‐1956
TORCASSO, LOUIS T                211 HILL ST                                                                                     DUNMORE            PA   18512‐3133
TORCASSO, MARY A                 211 HILL ST                                                                                     DUNMIRE            PA   18512‐3133
TORCELLO II, JOHN F              407 ELLICOTT ST                                                                                 BATAVIA            NY   14020‐3644
TORCELLO, MARY C                 324 BROMLEY RD                                                                                  CHURCHVILLE        NY   14428‐9700
TORCELLO, RALPH F                5381 CLINTON STREET RD                                                                          BATAVIA            NY   14020‐9724
TORCELLO, RONALD R               324 BROMLEY RD                                                                                  CHURCHVILLE        NY   14428‐9700
TORCH                            6075 LAKE FORREST DE                STE 210                                                     ATLANTA            GA   30328
TORCH ASSOCIATES LLC             212 SHAGBARK DR                                                                                 ROCHESTER HILLS    MI   48309‐1817
TORCHALA, LAWRENCE S             2484 CITRUS GARDEN CIR                                                                          HENDERSON          NV   89052‐2386
TORCHALA, NORBERT J              30111 VALENTI DR                                                                                WARREN             MI   48088‐3380
                              09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                    Part 37 of 40 Pg 323 of 901
Name                          Address1                           Address2                         Address3   Address4                 City             State Zip
TORCHIA, JAMES P              4052 E CALLE CHICA                                                                                      TUCSON            AZ 85711‐4128
TORCHIANI PAOLO               VIA DEL CICLAMINO 19/C                                                         00060 RIANO ROMA ITALY
TORDAY, LEONARD J             6125 DUCK CREEK RD                                                                                      BERLIN CENTER    OH 44401‐9751
TORDJMAN                      164 LA ROQUE TRAOUCADE                                                         13122 VENTABREN FRANCE
TORDOFF, EDWARD R             5452 E HARBOR DR                                                                                        FRUITLAND PARK   FL 34731‐6007
TOREA K GALLOWAY              2988 SPRING FALLS DR                                                                                    DAYTON           OH 45449‐3464
TOREK THOMPKINS
TOREK, LAWRENCE M             319 GOLF DR                                                                                             CORTLAND         OH    44410‐1182
TOREK, WILLIAM A              5114 BIRCHCREST DR                                                                                      YOUNGSTOWN       OH    44515‐3921
TOREK, WILLIAM E              126 GLENCOE DR                                                                                          WEST MIFFLIN     PA    15122‐2622
TORELLA, JOHN                 42365 APPLES WAY CT                                                                                     LEETONIA         OH    44431‐8637
TORELLI, ALEXANDRIA
TORELLI, ANN M                5549 QUEEN VICTORIA DR                                                                                  LEESBURG         FL    34748‐7951
TORELLI, FRANK                4 CENTER ST                                                                                             SPENCER          NY    14883‐9218
TORELLO, EDWARD E             5 BUELL ST                                                                                              NORTH HAVEN      CT    06473‐4310
TORELLO, M J                  PO BOX 117                                                                                              BASEHOR          KS    66007‐0117
TORELLO, MICHAEL A            308 PEACH TREE AVE                                                                                      LONE JACK        MO    64070‐8154
TOREM, MD INC.,ISAAC          2932 YOUNGSTOWN RD SE                                                                                   WARREN           OH    44484
TOREN, LUPPO                  6651 MILL CREEK DR APT A                                                                                KALAMAZOO        MI    49009‐5350
TORES GLADYS                  TORES, GLADYS                      120 WEST MADISON STREET , 10TH                                       CHICAGO          IL    60602
                                                                 FLOOR
TORES, GLADYS                 KROHN & MOSS ‐ IL                  120 WEST MADISON STREET, 10TH                                        CHICAGO           IL   60602
                                                                 FLOOR
TORES, MARIA                  PO BOX 13175                       1709 OHIO AVENUE                                                     FLINT            MI    48501‐3175
TORETTA, CHARLES              CONSUMER LEGAL SERVICES            30928 FORD RD                                                        GARDEN CITY      MI    48135‐1803
TORETTA, PHILIP N             PO BOX 821                                                                                              NEWAYGO          MI    49337‐0821
TOREY HOWARD                  1524 JOHN GLENN RD                                                                                      DAYTON           OH    45410‐3219
TOREY N MCCRAY                1113 W STEWART                                                                                          DAYTON           OH    45408
TORGALSKI, PHILIP C           37 BANKO DR                                                                                             DEPEW            NY    14043‐1203
TORGE MIDDENDORF              AUF'M HENNEKAMP 12
TORGERSEN, ALEXANDRA N        20509 NORTHVILLE PLACE DR APT 20                                                                        NORTHVILLE       MI 48167
TORGERSON GARY W (626812)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA 23510
                                                                 STREET, SUITE 600
TORGERSON RAY (459402)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA 23510
                                                                 STREET, SUITE 600
TORGERSON, GARY W             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA 23510‐2212
                                                                 STREET, SUITE 600
TORGERSON, RAY                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA 23510‐2212
                                                                 STREET, SUITE 600
TORGERSON, RICHARD R          219 JULIAN AVE                                                                                          LANSING          MI 48917‐3431
TORGESON RUSSELL E (660958)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA 23510
                                                                 STREET, SUITE 600
TORGESON, ANNITA L            1015 ARBOR AVE                                                                                          DAYTON           OH 45420‐1902
TORGESON, RUSSELL E           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK          VA 23510‐2212
                                                                 STREET, SUITE 600
TORGLER, TINA L               6620 E PERRYTON ST                                                                                      BEL AIRE         KS    67226‐1420
TORGNY F FREDRICKSON          10168 MADISON AVE                                                                                       GRAYLING         MI    49738
TORGNY FREDRICKSON            10168 MADISON AVE                                                                                       GRAYLING         MI    49738‐7475
TORGOVE, JOYCE                40 CLIFTON HEIGHTS LN                                                                                   MARBLEHEAD       MA    01945‐2750
TORGOVE, LLOYD
TORHAN, BERNICE J             32 EDGEWORTH CIRCLE                                                                                     MANCHESTER       NJ 08759
TORI D MACK                   515 WAYNE ST APT 3                                                                                      SAGINAW          MI 48602‐1459
                                       09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                        Part 37 of 40 Pg 324 of 901
Name                                   Address1                         Address2                      Address3   Address4         City              State Zip
TORI L ADAMSON                         1079 E HUMPHREY AVE                                                                        FLINT              MI 48505‐1509
TORI, GERTRUD                          1304 GRACE AVE                                                                             ROCHESTER HILLS    MI 48309‐4357
TORI, JOSEPH N                         1304 GRACE AVE                                                                             ROCHESTER HILLS    MI 48309‐4357
TORIA FLOYD                            1705 HENDERSON AVE                                                                         BELOIT             WI 53511‐3157
TORIA G BROWN                          47 MOUND ST                                                                                DAYTON             OH 45406
TORIAN RANDEL                          16483 N WILLIAMS DRIVE                                                                     SUNRISE            AZ 85374‐3722
TORIAN, ANDREW W                       1708 S TUCKER BLVD               APT A                                                     ST LOUIS           MO 63104‐3448
TORIAN, ANDREW W                       1708 S TUCKER BLVD APT A                                                                   SAINT LOUIS        MO 63104‐3448
TORIAN, BEN A                          2560 TOWNSEND ST                                                                           DETROIT            MI 48214‐5202
TORIANO L BAGLEY                       6250 PHILADELPHIA DR                                                                       HARRISON TWP       OH 45415
TORIBIA E ROLLINS                      90 W KENNETT RD                                                                            PONTIAC            MI 48340‐2650
TORIBIA ROLLINS                        90 W KENNETT RD                                                                            PONTIAC            MI 48340‐2650
TORIBIO CASTRO                         33 WOODLAND ROAD                                                                           ROSLYN             NY 11576
TORIBIO CHAVEZ                         309 E MILLS AVE                  TESOTO HOTEL                                              EL PASO            TX 79901‐1309
TORIBIO RANGEL                         THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                               HOUSTON            TX 77017
TORIBIO SALINAS                        THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                               HOUSTON            TX 77017
TORIBIO, GERALDO                       913 SW 56TH ST                                                                             CAPE CORAL         FL 33914‐7265
TORIBIO, MIGUEL A                      3219 97TH ST                                                                               EAST ELMHURST      NY 11369‐1809
TORIE CARLSON                          8123 BIRCHWOOD AVE                                                                         JENISON            MI 49428‐8520
TORIE SEDLARIK                         8067 NANTUCKET DR                                                                          MOUNT MORRIS       MI 48458‐9346
TORIELLO MARK                          203 QUEENS DR S                                                                            LITTLE SILVER      NJ 07739‐1630
TORIELLO, LUCY C                       11 BOGLE AVE                                                                               NORTH ARLINGTON    NJ 07031‐4725
TORIKIAN, GREG A                       10417 MICHAEL BLVD                                                                         PINCKNEY           MI 48169‐9222
TORIKIAN, GREG ARTHUR                  10417 MICHAEL BLVD                                                                         PINCKNEY           MI 48169‐9222
TORIN                                  2859 GODDARD STE 100‐103                                                                   ROMULUS            MI 48174
TORIN                                  HELEN ZHANG                      28529 GODDARD ROAD, STE 100                               FAYETTEVILLE       NC 28306
TORIN GLADNEY                          223 DOGWOOD SOUTH LN                                                                       HAUGHTON           LA 71037‐8507
TORIN INC                              28529 GODDARD RD STE 100                                                                   ROMULUS            MI 48174‐2779
TORIN O MOORE                          30766 DORSET ST                                                                            ROMULUS            MI 48174‐3223
TORIN, INC.                            HELEN ZHANG                      28529 GODDARD ROAD, STE 100                               FAYETTEVILLE       NC 28306
TORIN/ROMULUS                          28529 GODDARD ROAD               SUITES 100‐103                                            ROMULUS            MI 48174
TORINA A BENTON                        1212 W HAMILTON AVE                                                                        FLINT              MI 48504‐7246
TORINA BENTON                          1212 WEST HAMILTON AVENUE                                                                  FLINT              MI 48504‐7246
TORINE CAPITAL PARTNERS LP             177 BROAD ST STE 110                                                                       STAMFORD           CT 06901‐2064
TORINE CAPITAL PARTNERS LP             55 RAILROAD AVE 3RD FL                                                                     GREENWICH          CT 06830
TORINESE, STANLEY                      3312 RICHMOND ST                                                                           MONROE             LA 71202‐5272
TORINO, POLITECNICO DI TORINO, ITALY

TORIO, DANIEL E                        215 JOHNSON RD                                                                             BERNHARDS BAY     NY   13028‐3113
TORISSA MURPHY                         3715 S GENUINE RD                                                                          MT PLEASANT       MI   48858‐7951
TORIVO, CONNIE S                       6089 E 50 N                                                                                GREENTOWN         IN   46936‐9415
TORJAK III, GEORGE                     34 MATTHEWS ST                                                                             TERRYVILLE        CT   06786‐5006
TORKA, AGNES T                         3585 HANCHETT ST                                                                           SAGINAW           MI   48604‐2116
TORKA, BOB H                           3311 N CEDAR ST                                                                            LANSING           MI   48906‐3213
TORKA, JOHN A                          1202 HINE ST                                                                               BAY CITY          MI   48708‐8437
TORKELSON, ERIC                        2962 E BATH RD                                                                             MORRICE           MI   48857‐9716
TORKELSON, ERIC K                      10809 157TH AVE NE                                                                         REDMOND           WA   98052‐2663
TORKELSON, JOHN A                      522 CERVINA DR S                                                                           VENICE            FL   34285‐4423
TORKEY GRAHAM                          13501 WOODHAVEN CT                                                                         WRIGHT CITY       MO   63390‐3061
TORKILDSEN, JOHN                       5 ROSS LN                                                                                  NEW CITY          NY   10956‐6003
TORKILDSON KATZ FONSECA JAFFE          MOORE & HETHERINGTON ATTORNEYS   700 BISHOP ST FL 15                                       HONOLULU          HI   96813‐4116
TORKILDSON KATZ JOSSEM FONSECA         JAFFE MOORE & HETHERINGTON       700 BISHOP ST FL 15                                       HONOLULU          HI   96813‐4116
                            09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                 Part 37 of 40 Pg 325 of 901
Name                        Address1                              Address2                        Address3   Address4         City                  State Zip
TORLAY, ELVIRA G            806 DATE PALM DR                                                                                  EDGEWATER              FL 32132
TORLEY, GERALDINE W         3532 GRAFTON STREET                                                                               LAKE ORION             MI 48359‐1533
TORMA, ANNEMARIE M          12700 LAKE AVE #2106                                                                              LAKEWOOD               OH 44107‐1506
TORMA, JANE T               3861 HUMPHREY ROAD                                                                                RICHFIELD              OH 44286‐9507
TORMALA, JOAN               W128S6402 BERGER LN                                                                               MUSKEGO                WI 53150‐2925
TORMALA, KENNETH J          13798 HARVEST LN                                                                                  BATH                   MI 48808‐8491
TORMALA, PAUL H             3873 RIVERVIEW TER S 27                                                                           EAST CHINA             MI 48054
TORMES FELIX                1065 HARBOR LN                                                                                    GULF BREEZE            FL 32563‐3315
TORMEY, MARY E              459 BANCROFT GLN                                                                                  ESCONDIDO              CA 92027‐2986
TORMONDSEN ROALD (459403)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK                VA 23510
                                                                  STREET, SUITE 600
TORMONDSEN, ROALD           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510‐2212
                                                                  STREET, SUITE 600
TORN ORR                    BEVAN & ASSOCIATES, LPA, INC          6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS            OH 44236
TORNABENE ANDY (448283)     BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD            OH 44067
                                                                  PROFESSIONAL BLDG
TORNABENE'S INC.            JOSEPH TORNABENE                      7275 ROUTE 7                                                POWNAL                VT 05261‐9494
TORNABENE, ANDY             BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD            OH 44067
                                                                  PROFESSIONAL BLDG
TORNABENE, RITA A           17309 FAA RD                                                                                      ALVIN                 TX   77511
TORNABENE, RITA ANN         17309 FAA RD                                                                                      ALVIN                 TX   77511
TORNAMBE IGNACIO (433757)   ANGELOS PETER G LAW OFFICE            115 BROADWAY FRNT 3                                         NEW YORK              NY   10006‐1638
TORNAMBE, IGNACIO           ANGELOS PETER G LAW OFFICE            115 BROADWAY FRNT 3                                         NEW YORK              NY   10006‐1638
TORNBA JENNIFER             3095 SUNCHASE AVE                                                                                 HUDSONVILLE           MI   49426‐8471
TORNBERG, SANDRA            53794 WHITBY WAY                                                                                  SHELBY TOWNSHIP       MI   48316‐1220
TORNBERG, WAYNE W           1467 PIUS ST                                                                                      SAGINAW               MI   48638‐6502
TORNELLO RICHARD            6604 S UTICA PL                                                                                   TULSA                 OK   74136
TORNER, CHARLES H           455 HARMON ST                                                                                     BIRMINGHAM            MI   48009‐1348
TORNER, MARYANNE            455 HARMON ST                                                                                     BIRMINGHAM            MI   48009‐1348
TORNER, PATRICIA A          3922 NW 85TH TER APT C                                                                            KANSAS CITY           MO   64154‐5805
TORNERO RONALD (478174)     PAUL REICH & MYERS P.C.               1608 WALNUT ST STE 500                                      PHILADELPHIA          PA   19103‐5446
TORNERO, ALFRED J           GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                PITTSBURGH            PA   15219

TORNERO, RONALD             C/O PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                      PHILADELPHIA          PA   19103‐5446
TORNES, MAXINE              4129 DUPONT ST                                                                                    FLINT                 MI   48504‐3565
TORNESELLO, MICHAEL P       11 OVERLOOK RIDGE DR APT 231                                                                      REVERE                MA   02151‐1158
TORNEY ALBERT A (406038)    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA   23510
                                                                  STREET, SUITE 600
TORNEY WILLIAM M (404131)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510
                                                                  STREET, SUITE 600
TORNEY, ALBERT A            GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510‐2212
                                                                  STREET, SUITE 600
TORNEY, MYRNA M             303 CHERRY LN                                                                                     MOUNTAIN HOME         AR 72653‐4209
TORNEY, WILLIAM M           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510‐2212
                                                                  STREET, SUITE 600
TORNGA, JEFFREY A           3095 SUNCHASE AVE                                                                                 HUDSONVILLE           MI   49426‐8471
TORNICHIO, NICK C           315 W BOGART RD                                                                                   SANDUSKY              OH   44870‐7119
TORNIL, FREDERICK           5801 LAUREL AVE                                                                                   LA GRANGE HIGHLANDS   IL   60525‐7031
TORNIN, REINOLD             2 HAVEN PLZ APT 10F                                                                               NEW YORK              NY   10009‐3929
TORNINCASA, JAMES A         1630 SHANNON RD                                                                                   GIRARD                OH   44420‐1121
TORNINCASA, JAMES F         8 WILLOW BEND DR                                                                                  CANFIELD              OH   44406‐8752
TORNINCASA, JOHN P          11127 NORTHWEST 26DR                                                                              CORAL SPRINGS         FL   33065
                                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                         Part 37 of 40 Pg 326 of 901
Name                                  Address1                            Address2                            Address3               Address4         City            State Zip
TORNINCASA, MICHAEL                   BOWMAN & ASSOCIATES LAW OFFICE OF   2151 RIVER PLAZA DR STE 105                                                 SACRAMENTO       CA 95833‐4130

TORNINCASO JOSEPH                     LYNNE KIZIS, ESQ                    WILENTZ, GOLDMAN, AND SPITZER       90 WOODBRIDGE CENTER                    WOODBRIDGE       NJ   07095
                                                                                                              DRIVE
TORNINCASO, JOSEPH                    WILENTZ GOLDMAN & SPITZER           88 PINE STREET, WALL STREET PLAZA                                           NEW YORK        NY 10005

TORNO, DANIAL A                       914 NORTHWOOD DR                                                                                                EFFINGHAM       IL    62401
TORNO, DELBERT E                      4050 PALOS VERDES ST APT 35                                                                                     LAS VEGAS       NV    89119‐6959
TORNO, DONALD P                       1824 LANCASTER DR                                                                                               YOUNGSTOWN      OH    44511‐1041
TORNO, ROLF M                         4787 JOHN MICHAEL WAY                                                                                           HAMBURG         NY    14075‐1133
TORNO, ROLF MAX                       4787 JOHN MICHAEL WAY                                                                                           HAMBURG         NY    14075‐1133
TORNO, SUSAN M                        1824 LANCASTER DR                                                                                               YOUNGSTOWN      OH    44511‐1041
TORNO, THOMAS R                       3451 ORCHARD HILL DR                                                                                            CANFIELD        OH    44406‐9251
TORNOW, DANA D                        3524 GROVE PARK DR                                                                                              COLLEGE GROVE   TN    37046‐9195
TORNOW, MARK R                        3524 GROVE PARK DR                                                                                              COLLEGE GROVE   TN    37046‐9195
TORNOW, ROBERT E                      19803 N 147TH DR                                                                                                SUN CITY WEST   AZ    85375‐5737
TORNOW, WAYNE D                       319 CHANDLER ST                                                                                                 ROMEO           MI    48065‐4603
TORNQUIST, GARY B                     117 GREENFIELD DR                                                                                               TONAWANDA       NY    14150‐4332
TORNQUIST, GARY B.                    117 GREENFIELD DR                                                                                               TONAWANDA       NY    14150‐4332
TORNQUIST, LUCILLE                    1 STRECKER RD #C‐309                                                                                            ELLISVILLE      MO    63011
TORNQUIST, LUCILLE                    358 GREENBRIAR LANE                                                                                             BALLWIN         MO    63011
TORNQUIST, PETER A                    530 LIRA PL                                                                                                     SANTA BARBARA   CA    93111‐1605
TORNUFF, IDA M                        6703 CAMPBELL                                                                                                   TAYLOR          MI    48180‐1801
TORNUFF, IDA M                        6703 CAMPBELL ST                                                                                                TAYLOR          MI    48180‐1801
TORNUFF, ROBERT L                     11046 MAYFLOWER RD                                                                                              SPRING HILL     FL    34608‐2817
TORO ENERGY                           PAUL KADEN                          5390 LYNDON B JOHNSON FWY STE                                               DALLAS          TX    75240‐6434
                                                                          294
TORO ENERGY                           PAUL KADEN                          6380 LYNDON B JOHNSON FWY STE                                               DALLAS           TX   75240‐6434
                                                                          294
TORO ENERGY OF INDIANA, LLC           1801 CALIFORNIA ST STE 3700                                                                                     DENVER          CO 80202‐2642
TORO ENERGY OF INDIANA, LLC           6380 LYNDON B JOHNSON FWY           STE 294                                                                     DALLAS          TX 75240‐6434
TORO ENERGY OF MISSOURI, LLC          C/O ALICE CURTISS, ESQ.             NATIONAL FUEL GAS SUPPLY            6363 MAIN STREET                        WILLIAMSVILLE   NY 14221
                                                                          CORPORATION
TORO ENERGY, INC.                     MR. PAUL KADEN                      6380 LYNDON B JOHNSON FWY STE                                               DALLAS           TX   75240‐6434
                                                                          294
TORO ENERGY, INC.                     PAUL KADEN                          5090 LYNDON B JOHNSON FWY STE                                               DALLAS           TX   75240‐6434
                                                                          294
TORO ENERGY, INC.                     MR. PAUL KADEN                      5390 LYNDON B JOHNSON FWY STE                                               DALLAS           TX   75240‐6434
                                                                          294
TORO ENERGY, INC.                     PAUL KADEN                          6380 L B J FWY STE 294                                                      DALLAS           TX   75240‐6434
TORO ENERGY, INC.                     MR. PAUL KADEN                      5090 LYNDON B JOHNSON FWY STE                                               DALLAS           TX   75240‐6434
                                                                          294
TORO GROUP                            ROAD TOWN                           TORTOLA
TORO LTD                              C/O NEW YORK COMMERCIAL BANK        265 N BROADWAY                                                              HICKSVILLE      NY    11801
TORO LTD.                             75 FARMERS AVE                                                                                                  PLAINVIEW       NY    11803‐5441
TORO, ARQUELIO V                      BOX 156                                                                                                         HORMIQUEROS     PR    00660‐0156
TORO, ARQUELIO V                      PO BOX 156                                                                                                      HORMIGUEROS     PR    00660‐0156
TORO, DORIS                           616 DEKLYN AVE                                                                                                  TRENTON         NJ    08610‐6423
TORO, LUIS A                          PO BOX 293                                                                                                      ISABELA         PR    00662‐0293
TORO, TORO DISTRIBUTORS, & EXMARK &   GERALD KIMMEL                       8111 LYNDALE AVE S                                                          BLOOMINGTON     MN    55420‐1136
EXMARK DISTRIBUTORS
TORO, VINCENT J                       425 CROSSFIELD WAY                                                                                              BOWLING GREEN    KY   42104‐7735
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                        Part 37 of 40 Pg 327 of 901
Name                                Address1                          Address2                   Address3              Address4                 City              State Zip
TORO, WILLY                         16934 MILLSTONE DR                                                                                          LA PLUENTE         CA 91744‐4223
TORODE JR, THOMAS D                 1750 OLTESVIG LN                                                                                            HIGHLAND           MI 48357‐3312
TOROK JR, FRANK C                   PO BOX 446                                                                                                  WALLOON LAKE       MI 49796‐0446
TOROK, AGNES T                      5105 WOODSTOCK RD                                                                                           SWARTZ CREEK       MI 48473
TOROK, ALBERT A                     5870 STANBY RD                                                                                              COLUMBIAVILLE      MI 48421
TOROK, CHARLES                      PO BOX 602                                                                                                  BYRON              CA 94514‐0602
TOROK, CHARLES L                    1432 W JAMES LN APT 1F2                                                                                     KENT               WA 98032
TOROK, DAVID V                      1452 KEMPER AVE                                                                                             HOLT               MI 48842‐9511
TOROK, DUSTIN                       3309 ‐ ID TRAPPERS COVE TRAIL                                                                               LANSING            MI 48910
TOROK, GEORGE E                     3473 HURON VIEW COURT                                                                                       DEXTER             MI 48130‐9385
TOROK, HELEN T                      15178 KEPPEN AVE                                                                                            ALLEN PARK         MI 48101‐2912
TOROK, KAY J                        13308 KEMPPAINEN STREET                                                                                     COVINGTON          MI 49919‐9004
TOROK, MARTIN J                     11207 W PIERSON RD                                                                                          FLUSHING           MI 48433
TOROK, PHILIP M                     1364 SCHAFER DR                                                                                             BURTON             MI 48509‐1549
TOROK, RAYMOND P                    4489 EASTWOOD DR                                                                                            SWARTZ CREEK       MI 48473‐8802
TOROK, RAYMOND PAUL                 4489 EASTWOOD DR                                                                                            SWARTZ CREEK       MI 48473‐8802
TOROK, SYLVIA M                     8924 W LONG LAKE RD LOT 58                                                                                  ALPENA             MI 49707‐9354
TOROK, THELMA G                     3949 W ALEXANDER RD UNIT 1041                                                                               NORTH LAS VEGAS    NV 89032‐2909
TOROK, VILMA                        426 HAMPTON DR                                                                                              ELYRIA             OH 44035‐8803
TOROMANIDES, SAVAS                  61 KEATS DR                                                                                                 NEW WINDSOR        NY 12553‐6414
TOROMONT INDUSTRIES LTD
TORONI, EUNICE M                    10872 LIGHTSHIP CT                                                                                          FISHERS           IN    46038‐2674
TORONJO, THOMAS D                   PO BOX 192                                                                                                  GRAND BLANC       MI    48480‐0192
TORONJO, WILLIAM R                  3955 STUDOR RD                                                                                              SAGINAW           MI    48601‐5746
TORONTALI, KARL L                   12399 STAFFORD RD                                                                                           CHAGRIN FALLS     OH    44023‐9043
TORONTO & HAMILTON AUTO ELECTRIC    4116 SOUTH SERVICE RD.                                                             BURLINGTON ON L7L 4X5
LTD.                                                                                                                   CANADA
TORONTO AUTO AUCTION                TERMINATE NO ADDRESS                                                                                        DETROIT           MI 48265‐0001
TORONTO AUTO AUCTIONS
TORONTO BRAKE                       188 HYMUS R.D                                                                      SCARBOROUGH ON M1L
                                                                                                                       2E1 CANADA
TORONTO CHINESE BUSINESS          1220 ELLESMERE ROAD                 STE 13                                           TORONTO ON CANADA
ASSOCIATION
TORONTO COMMODITY TAX STUDY GROUP C/O MR PIERRE BOCTI HEWLETT PACKARD 101‐5150 SPECTRUM WAY                            MISSISSAUGA ON L4W 5G1
                                  CANADA CO                                                                            CANADA
TORONTO DOMINION (TEXAS), INC     AS ADMINISTRATIVE AGENT
TORONTO DOMINION (TEXAS), INC     AS ADMINISTRATIVE AGENT             ATTN: CORPORATE
                                                                      OFFICER/AUTHORIZED AGENT
TORONTO DOMINION BANK             ATTN: DEBBIE MCCARROL               100 WELLINGTON ST W        CP TOWER 28TH FLOOR   TORONTO ON M5K 1A2
                                                                                                                       CANADA
TORONTO FIESTA PRODUCTIONS INC.     1798 QUEEN ST E                                                                    TORONTO ON M4L 1G8
                                                                                                                       CANADA
TORONTO HYDRO CORP                  500 COMMISSIONERS ST BLDG D                                                        TORONTO CANADA ON
                                                                                                                       M4M 3N7 CANADA
TORONTO HYDRO ENERGY SERVICES       10 BELFIELD RD                    2ND FLOOR                                        ETOBICOKE ON M9W 1G1
                                                                                                                       CANADA
TORONTO INTERNATIONAL FILM FESTIVAL 2 CARLTON ST                      SUITE 1600                                       TORONTO ON M5B 1J3
INC.                                                                                                                   CANADA
TORONTO ODC                         FREIGHT CONSOLIDATION SERVICES    8939 S RIDGELAND AVE                                                      OAK LAWN           IL   60453
TORONTO REVENUE SERVICES WATER &    UTILITY BILL BOX 6000                                                              TORONTO CANADA ON
SOLID WASTE MANAGEMENT                                                                                                 M2N 5V3 CANADA
                                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                            Part 37 of 40 Pg 328 of 901
Name                                  Address1                             Address2                     Address3    Address4              City                       State Zip
TORONTO SMALL CLAIMS CRT.             301‐47 SHEPPARD AVE E                3RD FLOOR                                NORTH YORK ON M2N 5N1
                                                                                                                    CANADA
TORONTO STAMP INC                     120 MIDWEST RD                                                                TORONTO ON M1P 3B2
                                                                                                                    CANADA
TORONTO STOCK EXCHANGE                THE EXCHANGE TOWER                   PO BOX 421                               TORONTO ON M5X 1J2
                                                                                                                    CANADA
TORONTO STOCK EXCHANGE THE            ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 421                               TORONTO ON M5X 1J2
EXCHANGE TOWER                        AGENT                                                                         CANADA
TORONTO, SADIE M                      662 GRANDVILLE AVE SW                                                                               GRAND RAPIDS                MI 49503‐4952
TORONTO, THE GOVERNING COUNCIL OF
THE UNIV. OF
TORONTO‐DOMINION BANK                 MANAGER, GMCL‐TD VISA CENTRE         85 RICHMOND STREET           9TH FLOOR   TORONTO ON M5H 4A3
                                                                                                                    CANADA
TORONY, MARGARET J                    707 RAINBOW DR                                                                                           EAST TAWAS             MI 48730‐9650
TORONY, TIM                           3300 E COUNTY LINE RD                                                                                    HALE                   MI 48739‐9116
TOROSIAN, ASHOD                       522 N JACKSON ST APT 303                                                                                 GLENDALE               CA 91206‐5125
TOROSIAN, PETER
TOROSIAN, TARA E                      39764 VILLAGE WOOD CIR                                                                                   NOVI                   MI   48375‐4553
TOROSIAN, VIRGINIA                    33447 VARGO DR                                                                                           LIVONIA                MI   48152‐3125
TOROSS CHAPARIAN                      1560 GOLF CLUB DR                                                                                        GLENDALE               CA   91206‐1323
TORPEDO TAXI INC                      CHARLES E DORKEY III ESQ ET AL       230 PARK AVENUE SUITE 1700                                          NEW YORK               NY   10169
TORPEDO TAXI INC                      HERRICK FEINSTEIN LLP                2 PARK AVENUE                                                       NEW YORK               NY   10016
TORPEN, BETTY J                       944 WILLIAMS ST                                                                                          BELOIT                 WI   53511‐4847
TORPEN, BETTY J                       944 WILLIAM ST                                                                                           BELOIT                 WI   53511‐4847
TORPEY JR, LEO                        PO BOX 201                                                                                               SWARTZ CREEK           MI   48473‐0201
TORPEY, CHARLES A                     7290 IDA EAST RD                                                                                         IDA                    MI   48140‐9760
TORPEY, CHARLES T                     9150 BALDWIN RD                                                                                          GAINES                 MI   48436‐9764
TORPEY, ESTHER I                      5486 SHERIDAN RD                                                                                         FLUSHING               MI   48433‐9713
TORPEY, MICHAEL C                     22081 COSALA                                                                                             MISSION VIEJO          CA   92691
TORPEY, NELLIE M                      505 E OAK ST                                                                                             ST JOHNS               MI   48879‐2419
TORPHY, VALERIE R                     2 BASKING RIDGE RD                                                                                       SHELTON                CT   06484‐3894
TORPILA, FRANK G                      75 OLD YORK RD                                                                                           CHESTERFIELD           NJ   08515‐2906
TORPPA, HILDA R                       ASEMATIE 24 AS 4                                                              LAPINLAHTI 73100 FINLAND
TORPY, JEREMY J                       960 BENTON AVE                                                                                           JANESVILLE            WI    53545‐1728
TORQUE INC                            11260 CORNELL PARK DR                                                                                    CINCINNATI            OH    45242
TORQUE INC                            1145 W LONG LAKE RD STE 110                                                                              BLOOMFIELD TOWNSHIP   MI    48302‐1362
TORQUE INC                            201 CASTLEBERRY CT                                                                                       MILFORD               OH    45150‐1193
TORQUE‐TRACTION INTERGRATION          3200 GREEN FOREST AVE                                                                                    BUENA VISTA           VA    24416‐3907
TECNOL
TORR, JEAN                            908 TERREBONNE TER                                                                                       THE VILLAGES           FL   32162‐3395
TORR, LURA H                          2257 OAKRIDGE DR                                                                                         FARWELL                MI   48622‐9751
TORR, MARJORIE                        6831 SAGINAW ST                                                                                          NORTH BRANCH           MI   48461‐9300
TORR, PERCIE A                        12177 CREEKVIEW AVE                                                                                      BRUCE TWP              MI   48065‐3829
TORRADO, PEDRO                        120 E 89TH ST APT 5B                                                                                     NEW YORK               NY   10128‐1519
TORRALVA‐BEAK, ESTHER T               319 E SYRINGA DR                                                                                         LANSING                MI   48910‐7447
TORRANCE (CITY                        PO BOX 9005                                                                                              SAN DIMAS              CA   91773
TORRANCE (CITY OF)                    PO BOX 9005                                                                                              SAN DIMAS              CA   91773‐9005
TORRANCE BUICK GMC TRUCK, INC. (DBA   INTERCOMPANY
BAY BUICK GMC)
TORRANCE COUNTY TREASURER             PO BOX 318                                                                                               ESTANCIA              NM 87016‐0318
TORRANCE JONES                        PO BOX 170372                                                                                            ARLINGTON             TX 76003‐0372
TORRANCE JR, RAYMOND L                PO BOX 902087                                                                                            KANSAS CITY           MO 64190‐2087
                                   09-50026-mg                 Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                          Part 37 of 40 Pg 329 of 901
Name                               Address1                            Address2                        Address3                  Address4         City              State Zip
TORRANCE JR, RAYMOND LAVERL        PO BOX 902087                                                                                                  KANSAS CITY        MO 64190‐2087
TORRANCE L FLOWERS                 1147 BROOKE PARK DR                                                                                            TOLEDO             OH 43612‐4217
TORRANCE LOCK AND KEY              2421 TORRANCE BLVD                                                                                             TORRANCE           CA 90501‐2402
TORRANCE MEMORIAL ME               3330 LOMITA BLVD                                                                                               TORRANCE           CA 90505‐5002
TORRANCE UNIFIED SCHOOL DISTRICT                                       2335 PLAZA DEL AMO                                                                            CA 90501
TORRANCE, EVE M                    PO BOX 8007                                                                                                    MERIDIAN           MS 39303‐8007
TORRANCE, JOHN A                   35 N CHAPEL ST                                                                                                 GOWANDA            NY 14070‐1112
TORRANCE, JOSEPH S                 8420 ELKRUN DR                                                                                                 CLARKSTON          MI 48348‐2855
TORRANCE, PEGGY S                  21508 HIGHWAY 18                                                                                               RAYMOND            MS 39154‐9103
TORRANCE, PERRY                    410 BURNSIDE BLVD                                                                                              WILMINGTON         DE 19804‐3003
TORRANCE, ROSALIE B                101 E DALE ST                                                                                                  SYRACUSE           NY 13206‐2017
TORRANCE, WILLIAM C                2455 W SNOVER RD                                                                                               MAYVILLE           MI 48744‐9773
TORRAS, CAROLYN M                  6575 ASHFORD CT                                                                                                EAST AMHERST       NY 14051‐2811
TORRAVILLE, MARIE E                5 ASHLON LN                                                                                                    COMMACK            NY 11725‐1606
TORRE SIMMS                        5856 EDGEWATER CV APT 7                                                                                        MEMPHIS            TN 38134‐9158
TORRE, JANINE R                    3245 BARHITE ST                                                                                                PASADENA           CA 91107‐1254
TORRE, JOSEPH A                    2953 BRITTANY BLUFF DR                                                                                         ORANGE PARK        FL 32073‐1630
TORRE, JOSEPH B                    3582 N MILL RD                                                                                                 DRYDEN             MI 48428‐9229
TORRE, JOSEPH BEN                  3582 N MILL RD                                                                                                 DRYDEN             MI 48428‐9229
TORRE, JOSEPHINE                   258 MERIDEN RD                                                                                                 PAINESVILLE        OH 44077‐3734
TORRE, LENTZ, GAMELL, GARY &       ATT: MARK S. GAMELL, ESQ.           ATTY FOR SAFECO INSURANCE       100 JERICHO QUADRANGLE,                    JERICHO            NY 11753
RITTMASTER, LLP                                                        COMPANY OF AMERICA & LIBERTY    SUITE 309
                                                                       MUTUAL COMPANY
TORRE, LENTZ, GAMELL, GARY &       ATT: STEVEN H. RITTMASTER           ATTY FOR SAFECO INSURANCE       100 JERICHO QUADRANGLE,                    JERICHO           NY 11753
RITTMASTER, LLP                                                        COMPANY OF AMERICA & LIBERTY    SUITE 309
                                                                       MUTUAL CO
TORRE, MARIA                       13898 TREELAND                      FRANKLIN WOOD CONDOMINIUM                                                  SHELBY TOWNSHIP   MI 48315‐6056

TORRE, MICHAEL A                   56 RIO GRANDE DR                                                                                               NORTH CHILI       NY   14514‐9760
TORRE, SERAFINA                    1862 W 12TH ST                                                                                                 BROOKLYN          NY   11223‐2430
TORRE, SERAFINA                    1862 WEST 12TH STREET                                                                                          BROOKLYN          NY   11223‐2430
TORREALBA, THELMO                  1200 ROYAL CRESCENT ST                                                                                         ROCHESTER HILLS   MI   48306‐4047
TORREANO, ALISON R                 3005 OAKWOOD ST                                                                                                ANN ARBOR         MI   48104‐6601
TORREANO, MAUREEN A                3317 BEECHER RD                                                                                                FLINT             MI   48503‐4903
TORREANO, PHYLLIS E                733 FITZNER DR                                                                                                 DAVISON           MI   48423‐1953
TORREGIANO JR, LEO J               4970 LAKEVILLE RD                                                                                              GENESEO           NY   14454‐9709
TORREGIANO, DOROTHY M              3421 OVERLAND DR                                                                                               HOLIDAY           FL   34691‐4691
TORREGROSSA, JOSEPH M              2570 LOVE RD                                                                                                   GRAND ISLAND      NY   14072‐2457
TORRENCE BUTTERMORE                7462 WESTVIEW DR                                                                                               YOUNGSTOWN        OH   44512‐5549
TORRENCE DAVID (448285)            BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD        OH   44067
                                                                       PROFESSIONAL BLDG
TORRENCE JR, RAY N                 105 SYCAMORE ST                                                                                                BAY ST LOUIS      MS   39520‐4220
TORRENCE JR., JOHN                 1614 ESSLING ST                                                                                                SAGINAW           MI   48601‐1385
TORRENCE K PATTON                  5020 ROCKLAND DR                                                                                               DAYTON            OH   45406
TORRENCE R GREENE                  9641 LAKESIDE DR                                                                                               YPSILANTI         MI   48197‐3031
TORRENCE S ADAMS                   4800 BELLCOURT                                                                                                 DAYTON            OH   45418‐2108
TORRENCE WILSON                    15834 SAINT MARYS ST                                                                                           DETROIT           MI   48227‐1932
TORRENCE, ALICIA                   PO BOX 264                                                                                                     MORTON            MS   39117‐0264
TORRENCE, CAROLYN G                COON & ASSOCS BRENT                 917 FRANKLIN ST STE 210                                                    HOUSTON           TX   77002‐1751
TORRENCE, DAWN R                   403 MONROE AVE                                                                                                 PERU              IN   46970‐1256
TORRENCE, FRANK A                  13165 GRAND HAVEN DR                                                                                           STERLING HTS      MI   48312‐3229
TORRENCE, FRANK M                  42054 MONTROY DR                                                                                               STERLING HTS      MI   48313‐2593
                           09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                              Part 37 of 40 Pg 330 of 901
Name                       Address1                        Address2                         Address3                    Address4         City               State Zip
TORRENCE, GREGORY          7020 SETTERS WAY                                                                                              LITHONIA            GA 30038‐7504
TORRENCE, HUBERT E         2235 CUSTER DR                                                                                                TROY                MI 48085‐6728
TORRENCE, JOHNNY L         14441 LUCAS FERRY RD                                                                                          ATHENS              AL 35611‐6125
TORRENCE, KATHLEEN F       747 WALNUT ST                                                                                                 LOCKPORT            NY 14094‐3306
TORRENCE, KEVIN M          205 VALLEY RIDGE DR                                                                                           SUN PRAIRIE         WI 53590‐3428
TORRENCE, LARRY            17396 HUBBELL                                                                                                 DETROIT             MI 48235
TORRENCE, LARRY            1150 NORTHVIEW LN                                                                                             ROCHESTER HILLS     MI 48307
TORRENCE, LEON             308 JEWETT AVE                                                                                                BUFFALO             NY 14214‐2528
TORRENCE, OLIVER           4273 SHERIDAN RD                                                                                              SAGINAW             MI 48601‐5026
TORRENCE, PATSY W          6610 LEAR NAGLE RD LOT 208                                                                                    NORTH RIDGEVILLE    OH 44039‐3280
TORRENCE, RAY N            604 WILDBERRY DR                                                                                              PEARL               MS 39208‐9230
TORRENCE, SAMUEL L         5475 NORTHWOOD DR                                                                                             CENTER VALLEY       PA 18034‐8813
TORRENCE, SARAH            88 MONTANA AVE                                                                                                BUFFALO             NY 14211‐1639
TORRENS JUAN (491342)      BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD          OH 44067
                                                           PROFESSIONAL BLDG
TORRENS, CARMEN            185 CALLE CRISTY                                                                                              MAYAGUEZ           PR   00682‐2914
TORRENS, LUIS R            67 SHERMAN ST                                                                                                 SEWAREN            NJ   07077‐1213
TORRENT, MARY E            63 OCEAN DR                                                                                                   ST AUGUSTINE       FL   32080‐7451
TORRENTI, RICHARD R        1755 MEAD LN                                                                                                  WHITE LAKE         MI   48386‐1840
TORRENTO, KATHRYN T        32840 EIFFEL AVE                                                                                              WARREN             MI   48088‐1323
TORRES & LEONARD PC        299 BROADWAY SUITE 1203A                                                                                      NEW YORK           NY   10007
TORRES ALEJANDRO           DOE, A                          RASNER, BRUCE                    WATERFIELD TOWER,18881                       IRVINE             CA   92612
                                                                                            VON KARMAN AVE, SUITE 920

TORRES ALEJANDRO           DOE, B                          RASNER, BRUCE                    WATERFIELD TOWER,18881                       IRVINE             CA 92612
                                                                                            VON KARMAN AVE, SUITE 920

TORRES ALEJANDRO           DOE, C                          RASNER, BRUCE                    WATERFIELD TOWER,18881                       IRVINE             CA 92612
                                                                                            VON KARMAN AVE, SUITE 920

TORRES ALEJANDRO           DOE, D                          RASNER, BRUCE                    WATERFIELD TOWER,18881                       IRVINE             CA 92612
                                                                                            VON KARMAN AVE, SUITE 920

TORRES ALEJANDRO           TORRES, ALEJANDRO               BRUCE ELLIOTT RASNER             WATER FIELD TOWER 18881                      IRVINE             CA 92612
                                                                                            VON KARMAN AVE, STE 920
TORRES ANTHONY             TORRES, KATHY                   ROMANO STANCROFF MIKHOV PC       640 SOUTH SAN VICENTE                        LOS ANGELES        CA 90048
                                                                                            BLVD. SUITE 230
TORRES ANTHONY             TORRES, ANTHONY                 640 S SAN VICENTE BLVD STE 230                                                LOS ANGELES        CA 90048‐4654
TORRES BALDEMAR (498345)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA 23510
                                                           STREET, SUITE 600
TORRES BETTY               2759 MERCURY DR                                                                                               LAKE ORION         MI   48360‐1730
TORRES DANIEL              TORRES, DANIEL                  23 E BLACK HORSE PIKE                                                         PLEASANTVILLE      NJ   08232‐2759
TORRES DANIEL              TORRES, LAURA                   23 E BLACK HORSE PIKE                                                         PLEASANTVILLE      NJ   08232‐2759
TORRES DAVID W (472183)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA   23510
                                                           STREET, SUITE 600
TORRES EDWARD ZUNIGA       BERMUDEZ, GENOVEVA              LANGERMAN RICHARD                4506 NORTH 12TH STREET                       PHOENIX            AZ   85014
TORRES EDWARD ZUNIGA       BERMUDEZ, GENOVEVA              C/O COHEN & ASSOCIATES           8710 E VISTA BONITA DR                       SCOTTSDALE         AZ   85255
TORRES EDWARD ZUNIGA       TORRES, ARIANNA                 4506 N 12TH ST                                                                PHOENIX            AZ   85014‐4201
TORRES EDWARD ZUNIGA       TORRES, CLAIRE                  4506 N 12TH ST                                                                PHOENIX            AZ   85014‐4201
TORRES EDWARD ZUNIGA       TORRES, EDWARD ZUNIGA           4506 N 12TH ST                                                                PHOENIX            AZ   85014‐4201
TORRES EDWARD ZUNIGA       TORRES, GABRIELLA               4506 N 12TH ST                                                                PHOENIX            AZ   85014‐4201
TORRES EDWARD ZUNIGA       TORRES, ISABELLA                4506 N 12TH ST                                                                PHOENIX            AZ   85014‐4201
                                09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                   Part 37 of 40 Pg 331 of 901
Name                           Address1                          Address2                        Address3     Address4         City            State Zip
TORRES EDWARD ZUNIGA           TORRES, NATALIA                   4506 N 12TH ST                                                PHOENIX          AZ 85014‐4201
TORRES FELIX                   1215 COLLEGE AVE N                                                                              TIFTON           GA 31794‐3943
TORRES FELIX (448286)          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD       OH 44067
                                                                 PROFESSIONAL BLDG
TORRES FRANK A (494270)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                 STREET, SUITE 600
TORRES GLENN                   824 N PASADENA AVE APT 23                                                                       AZUSA           CA    91702‐2574
TORRES III, REYES M            930 PORTER ST                                                                                   LANSING         MI    48906‐5332
TORRES III, REYES MANUEL       930 PORTER ST                                                                                   LANSING         MI    48906‐5332
TORRES IRIS                    TORRES, IRIS                      GEICO                           POBOX 9091                    MACON           GA    31208
TORRES ISMAEL                  TORRES, ISMAEL                    30 E BUTLER AVE                                               AMBLER          PA    19002‐4514
TORRES JANETT                  14637 CALIFORNIA AVE                                                                            BALDWIN PARK    CA    91706‐1745
TORRES JESUS                   529 N WORKMAN ST                                                                                SAN FERNANDO    CA    91340‐2347
TORRES JESUS                   CRUZ, AMANDA                      1950 SAWTELLE BLVD STE 245                                    LOS ANGELES     CA    90025‐7017
TORRES JESUS                   TORRES, JESUS                     1950 SAWTELLE BLVD STE 245                                    LOS ANGELES     CA    90025‐7017
TORRES JOSE (448287)           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD      OH    44067
                                                                 PROFESSIONAL BLDG
TORRES JR, ALBERT              217 BERKSHIRE DR                                                                                YOUNGSTOWN      OH    44512‐1251
TORRES JR, EDWIN J             553 NEOKA DR                                                                                    CAMPBELL        OH    44405‐1263
TORRES JR, ENRIQUE             1320 GALLOWAY CIR                                                                               PONTIAC         MI    48340‐2186
TORRES JR, FLORENCIO H         1138 MAYNARD RD                                                                                 PORTLAND        MI    48875‐1226
TORRES JR, FRANKIE L           7606 NORTON RD                                                                                  GARRETTSVILLE   OH    44231‐9606
TORRES JR, JOHN                149 W 19TH ST                                                                                   BAYONNE         NJ    07002‐1536
TORRES JR, MARIO               38098 N HOLDRIDGE AVE                                                                           BEACH PARK      IL    60087‐5416
TORRES JR, RAYMONDO            PO BOX 174                                                                                      AMITY           AR    71921‐0174
TORRES JR, SALVADOR            5111 PINEBROOK DR                                                                               FORT WAYNE      IN    46804‐1778
TORRES JR, VENANCIO            8447 FRANCES RD                                                                                 FLUSHING        MI    48433‐8810
TORRES JR, VICENTE R           1325 N OUTER DR                                                                                 SAGINAW         MI    48601‐6150
TORRES JR., JOSE L             520 FALCONRIDGE WAY                                                                             BOLINGBROOK     IL    60440‐2245
TORRES JR., JOSE LUIS          520 FALCONRIDGE WAY                                                                             BOLINGBROOK     IL    60440‐2245
TORRES JUAN M (470157)         MCPHERSON MONK HUGHES BRADLEY &   7791 9TH AVE                                                  PORT ARTHUR     TX    77642‐6908
                               WIMBERLEY LLP
TORRES MANUEL                  TORRES, MANUEL                    4200 MONTROSE BLVD STE 570                                    HOUSTON         TX    77006‐5443
TORRES MANUEL                  VILLARREAL, MARIA                 4200 MONTROSE BLVD STE 570                                    HOUSTON         TX    77006‐5443
TORRES MARIO                   TORRES, MARIO                     411 N CENTRAL AVE STE 230                                     GLENDALE        CA    91203‐2020
TORRES MIGUEL (492703)         BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD      OH    44067
                                                                 PROFESSIONAL BLDG
TORRES PADRON AMADO (661941)   C/O SAVILLE EVOLA & FLINT LLC     322 EAST BROADWAY P O BOX 602                                 ALTON            IL   62002‐0602

TORRES PADRON, AMADO           SAVILLE EVOLA & FLINT LLC         PO BOX 602                                                    ALTON           IL    62002‐0602
TORRES PATRICIA                7971 NW 56TH ST                                                                                 DORAL           FL    33166‐4012
TORRES REYES ANGELINA          STATE FARM INSURANCE COMPANY      77 W WASHINGTON ST STE 1313                                   CHICAGO         IL    60602‐3236
TORRES REYES ANGELINA          TORRES REYES, ANGELINA            77 W WASHINGTON ST STE 1313                                   CHICAGO         IL    60602‐3236
TORRES RODRIGUEZ VALERIA       TORRES, JOSE                      625 E COLONIAL DR                                             ORLANDO         FL    32803‐4602
TORRES RODRIGUEZ VALERIA       TORRES RODRIGUEZ, VALERIA         625 E COLONIAL DR                                             ORLANDO         FL    32803‐4602
TORRES RODRIGUEZ, VALERIA      PENDAS LAW FIRM                   625 E COLONIAL DR                                             ORLANDO         FL    32803‐4602
TORRES SALVADOR                3514 IVANDELL AVE                                                                               DALLAS          TX    75211‐5036
TORRES SR, MACARIO C           39 E PEARL ST                                                                                   TOLEDO          OH    43608‐1114
TORRES TORRES, ERIKA JUDITH    YOUNG CONAWAY STARGATT & TAYLOR   1000 WEST STREET,17TH FLOOR                                   WILMINGTON      DE    19899
                               LLP
TORRES TORRES, ERIKA JUDITH    YOUNG CONAWAY STARGATT & TAYLOR   1000 N WEST ST FL 17                                          WILMINGTON      DE 19801‐1053
                               LLP
                          09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                               Part 37 of 40 Pg 332 of 901
Name                      Address1                           Address2                       Address3                  Address4         City            State Zip
TORRES VANESSA AND        KIMMEL & SILVERMAN                 30 E BUTLER AVE                                                           AMBLER           PA 19002‐4514
TORRES, ABEL              346 E 205TH ST APT 2B                                                                                        BRONX            NY 10467‐4420
TORRES, ABELARDO          135 STODDARD DR APT 230                                                                                      MERIDEN          CT 06451‐3752
TORRES, ADA I             16888 DRAKE RD                                                                                               STRONGSVILLE     OH 44136
TORRES, ADALID            4416 S EVERGREEN AVE                                                                                         HOMOSASSA        FL 34446‐1842
TORRES, ADELFA            5140 MORRISON ROAD                                                                                           BROWNSVILLE      TX 78526‐9487
TORRES, ADRIAN E          1120 CERRITOS DR                                                                                             FULLERTON        CA 92835‐4020
TORRES, ALBERTO E         4505 2 MILE RD                                                                                               BAY CITY         MI 48706‐2760
TORRES, ALEJANDRO
TORRES, ALEJANDRO         C/O BRUCE ELLIOTT RASNER           WATERFIELD TOWER               18881 VON KARMAN AVENUE                    IRVINE          CA 92612
                                                                                            STE 920
TORRES, ALEJANDRO         BRUCE ELLIOTT RASNER               WATER FIELD TOWER 18881 VON                                               IRVINE          CA 92612
                                                             KARMAN AVE, STE 920
TORRES, ALEJO O           2638 LOMBARD AVE                                                                                             SAN JOSE        CA   95116‐2610
TORRES, ALFONSO           1725 E BENWICK RD                                                                                            TOLEDO          OH   43613‐2304
TORRES, ALFRED A          9 COUNTRYGATE LN                                                                                             TONAWANDA       NY   14150‐6200
TORRES, ALFREDO J         48 ATLANTIC ST APT 1                                                                                         ELIZABETH       NJ   07206
TORRES, ANA M             HC 1 BOX 13035                                                                                               RIO GRANDE      PR   00745‐9618
TORRES, ANASTACIO A       606 WILLIAMS ST APT 810                                                                                      ROYAL OAK       MI   49067
TORRES, ANASTACIO A       606 S WILLIAMS ST APT 810                                                                                    ROYAL OAK       MI   48067‐2649
TORRES, ANDREA E          PO BOX 1720                                                                                                  PFLUGERVILLE    TX   78691‐1720
TORRES, ANDREA E          1101 W NOTON                                                                                                 PFLUGERVILLE    TX   78660
TORRES, ANDRES            3610 SANTA ROSA WAY                                                                                          DOUGLASVILLE    GA   30135‐9220
TORRES, ANDRES            516 SYCAMORE DR                                                                                              CAMPBELL        OH   44405‐1235
TORRES, ANGELA C          19 SUMMERBERRY RD                                                                                            BRISTOL         CT   06010‐2957
TORRES, ANGELA C          418 WILDWOOD DR                                                                                              EDGEWATER       FL   32132
TORRES, ANNIE             43067 EVERGLADES PARK DRIVE                                                                                  FREMONT         CA   94538‐3978
TORRES, ANTONIO           1216 BURKE AVE APT 6A                                                                                        BRONX           NY   10469‐5042
TORRES, ANTONIO           PO BOX 177                                                                                                   ARROYO          PR   00714‐0177
TORRES, ARACELIO          293 RIDGEWOOD AVE                                                                                            NEWARK          NJ   07112‐2736
TORRES, ARIANNA           LANGERMAN RICHARD                  4506 N 12TH ST                                                            PHOENIX         AZ   85014‐4201
TORRES, ARTHUR Z          23600 SYCAMORE CIR                                                                                           KEARNEY         MO   64060‐9329
TORRES, ARTURO            8006 NICKLAUS DR                                                                                             ORLANDO         FL   32825‐8241
TORRES, AUDREY C          8074 STONEBROOK DR                                                                                           PENSACOLA       FL   32514‐3940
TORRES, AUREA E           HC‐15 BOX 16183                                                                                              HUMACAO         PR   00791‐9706
TORRES, AUREA E           HC 15 BOX 16183                                                                                              HUMACAO         PR   00791‐9705
TORRES, BALDEMAR          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA   23510‐2212
                                                             STREET, SUITE 600
TORRES, BALENTINE         3222 OAKWOOD AVE                                                                                             SAGINAW         MI   48601
TORRES, BENJAMIN          HC 57 15583 PIEDRAS BLANCA                                                                                   AGUADA          PR   00602
TORRES, BETTY             SHAPIRO RICHARD W LAW OFFICES OF   2398 E CAMELBACK RD STE 1010                                              PHOENIX         AZ   85016‐9022
TORRES, BIENVENIDA        PO BOX 604                                                                                                   AGUADA          PR   00602‐0604
TORRES, BRENDA JO
TORRES, CALIXTRO M        8421 IRISH MIST                                                                                              ONSTED          MI   49265‐9303
TORRES, CALIXTRO MANUEL   8421 IRISH MIST                                                                                              ONSTED          MI   49265‐9303
TORRES, CAMELIA           135 SW 48TH CT                                                                                               CORAL GABLES    FL   33134‐1262
TORRES, CARLOS A          5942 163RD ST                                                                                                FRESH MEADOWS   NY   11365‐1441
TORRES, CARLOS W          12994 CORAL LN                                                                                               RAPID CITY      MI   49676‐9806
TORRES, CARMEN J          11971 PALOMINO LN                                                                                            FORT MYERS      FL   33912
TORRES, CASIMIRO          154 FAIRMEADOW DR                                                                                            YOUNGSTOWN      OH   44515‐2217
TORRES, CECELIA           107‐02 MERRICK BLVD.               APT. 7 R                                                                  JAMAICA         NY   11433‐2449
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                           Part 37 of 40 Pg 333 of 901
Name                                   Address1                           Address2                      Address3      Address4         City             State Zip
TORRES, CECILIA                        C/O STATE‐WIDE INSURANCE COMPANY   20 MAIN ST                    PO BOX 9001                    HEMPSTEAD         NY 11551‐9001

TORRES, CECILIA                        236 HOSMER AVE                                                                                  BRONX            NY   10465‐3135
TORRES, CELIA G                        5801 ORANGE AVE                                                                                 CYPRESS          CA   90630
TORRES, CHRISTINE B                    8456 BARBARA LEE DR                                                                             LAMBERTVILLE     MI   48144‐9633
TORRES, CHRISTOPHER                    9132 W 100 S                                                                                    ANDREWS          IN   46702‐9739
TORRES, CIPRIANO F                     18359 E IOWA DR                                                                                 AURORA           CO   80017‐5301
TORRES, CLAIRE                         LANGERMAN RICHARD                  4506 N 12TH ST                                               PHOENIX          AZ   85014‐4201
TORRES, CUAUHTEMOC G                   14844 ALEXANDER ST                                                                              MISSION HILLS    CA   91345‐1236
TORRES, CYNTHIA L.                     8227 DARTMOUTH DR                                                                               WARREN           MI   48093‐2814
TORRES, DAN
TORRES, DANIEL B                       626 14TH ST                                                                                     BAY CITY         MI   48708‐7200
TORRES, DANIEL O                       906 HUNTER CHAISE DR                                                                            WENTZVILLE       MO   63385‐2748
TORRES, DAVID                          PO BOX 5783                                                                                     CAGUAS           PR   00726‐5783
TORRES, DAVID                          4389 SUNNYMEAD AVE                                                                              BURTON           MI   48519‐1243
TORRES, DAVID G                        2210 KRONNER RD                                                                                 COLUMBUS         MI   48063‐3402
TORRES, DAVID G                        4942 BLUNDELL DR                                                                                CORPUS CHRISTI   TX   78415‐1514
TORRES, DAVID NMI                      4389 SUNNYMEAD AVE                                                                              BURTON           MI   48519‐1243
TORRES, DAVID W                        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA   23510‐2212
                                                                          STREET, SUITE 600
TORRES, DEBORAH A                      1494 W CLARKSTON RD                                                                             LAKE ORION       MI   48362‐2206
TORRES, DEBORAH A                      255 S COATS RD                                                                                  OXFORD           MI   48371‐4210
TORRES, DEBORAH C                      8421 IRISH MIST                                                                                 ONSTED           MI   49265‐9303
TORRES, DEBORAH CANIDA                 8421 IRISH MIST                                                                                 ONSTED           MI   49265‐9303
TORRES, DEBRA                          1730 EASTLAND RD                                                                                SPARTA           TN   38583‐3825
TORRES, DEREK                          1395 JAMES STREET                                                                               BURTON           MI   48529‐1231
TORRES, DIEGO                          PORTER & MALOUF PA                 4670 MCWILLIE DR                                             JACKSON          MS   39206‐5621
TORRES, DIONISIO G                     5427 S NEENAH AVE                                                                               CHICAGO          IL   60638‐2403
TORRES, DOLORES                        11803 GRAYSTONE                                                                                 NORWALK          CA   90650‐7807
TORRES, DOROTHY A                      61 PERRY RD                                                                                     WOODBINE         NJ   08270‐3105
TORRES, DR (DECEASED), JUAN J ZAMORA

TORRES, EDWARD ZUNIGA                  LANGERMAN RICHARD                  4506 N 12TH ST                                               PHOENIX          AZ   85014‐4201
TORRES, EDWIN J                        150 N HUBBARD RD                                                                                LOWELLVILLE      OH   44436‐8715
TORRES, ELIA E                         16404 NW 77TH PATH                                                                              MIAMI LAKES      FL   33016‐8414
TORRES, ELIZABETH G                    2759 MERCURY DR                                                                                 LAKE ORION       MI   48360‐1730
TORRES, ELIZABETH GARZA                2759 MERCURY DR                                                                                 LAKE ORION       MI   48360‐1730
TORRES, ELOY V                         27701 GREEN WILLOW RUN                                                                          WESLEY CHAPEL    FL   33544‐2656
TORRES, ELVA J                         2631 NORTH BLVD                                                                                 PORT HURON       MI   48060‐6976
TORRES, ELVIRA                         3171 SHABAY DR.                                                                                 FLUSHING         MI   48433
TORRES, ELVIRA B                       5505 BENNER HWY                                                                                 CLAYTON          MI   49235‐9749
TORRES, EMIL L                         317 SE 21ST AVE                                                                                 CAPE CORAL       FL   33990‐1429
TORRES, ENRIQUE T                      126 AVENIDA TRIESTE                                                                             SAN CLEMENTE     CA   92672‐3238
TORRES, EPIGMENIO H                    3439 DANBURY CROSS                                                                              LANSING          MI   48911
TORRES, ERASMO                         29129 SUNNYDALE ST                                                                              LIVONIA          MI   48154‐3349
TORRES, ESTEBAN                        PO BOX 469                                                                                      AGUADA           PR   00602‐0469
TORRES, ESTRELLITA                     1441 W CULLERTON                                                                                CHICAGO          IL   60608
TORRES, ESTRELLITA                     1441 W. CULLERTON                                                                               CHICAGO          IL   60608
TORRES, F                              2301 W MILLER CIR                                                                               WESTLAND         MI   48186‐9374
TORRES, FELIX                          1215 COLLEGE AVE N                                                                              TIFTON           GA   31794‐3943
TORRES, FLORENCIO L                    615 BROOK ST                                                                                    LANSING          MI   48906‐5008
TORRES, FRANCES A                      4140 LAKEWOOD DR                                                                                FT WORTH         TX   76135‐2721
                              09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                Part 37 of 40 Pg 334 of 901
Name                          Address1                       Address2                      Address3   Address4         City            State Zip
TORRES, FRANCISCO             52E CEDARWOOD DR                                                                         SANDUSKY         OH 44870‐4401
TORRES, FRANCISCO             605 S PARK ST                                                                            TERRELL          TX 75180‐4619
TORRES, FRANCISCO             52 EAST CEDARWOOD DRIVE                                                                  SANDUSKY         OH 44870‐4401
TORRES, FRANK                 8118 CROCKETT BLVD                                                                       LOS ANGELES      CA 90001‐3525
TORRES, FRANK A               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                             STREET, SUITE 600
TORRES, FRANK H               19096 N COMET TRL                                                                        MARICOPA        AZ   85138‐5810
TORRES, FRANK J               13417 ALDERGROVE ST                                                                      SYLMAR          CA   91342‐1831
TORRES, FRANKIE L             7606 NORTON RD                                                                           GARRETTSVILLE   OH   44231‐9606
TORRES, GABRIELLA             LANGERMAN RICHARD              4506 N 12TH ST                                            PHOENIX         AZ   85014‐4201
TORRES, GAMALIEL D            22194 BOULDER AVE                                                                        EASTPOINTE      MI   48021‐2361
TORRES, GEORGE G              1320 FRASER, APT. B                                                                      BAY CITY        MI   48708
TORRES, GEORGE R              3558 SUTTON RD                                                                           TECUMSEH        MI   49286‐9552
TORRES, GERALD C              2919 E LATHROP RD                                                                        MANTECA         CA   95336‐8110
TORRES, GILBERT G             314 HURT LN. RT.01                                                                       LAS CRUCES      NM   88007
TORRES, GLADYS M              1927 S 7TH ST                                                                            MILWAUKEE       WI   53204‐3919
TORRES, GLORIA                6917 BURWELL STREET                                                                      DETROIT         MI   48210‐1532
TORRES, GUADALUPE             705 GREENBRIAR LANE                                                                      ALMONT          MI   48003‐8417
TORRES, GUADALUPE H           1621 ROSELAWN AVE                                                                        LANSING         MI   48915‐1558
TORRES, GUADALUPE HERNANDEZ   1621 ROSELAWN AVE                                                                        LANSING         MI   48915‐1558
TORRES, GUADALUPE R           5528 AMBER WAY                                                                           MCKINNEY        TX   75070‐9341
TORRES, HARRY                 2032 HARTMAN RD                                                                          AVON PARK       FL   33825‐9396
TORRES, HECTOR                2482 SHETLAND LN                                                                         POLAND          OH   44514‐1555
TORRES, HECTOR L              208 MISTY WOODS CT                                                                       STRUTHERS       OH   44471‐2188
TORRES, HENRY G               19317 ANZA AVE                                                                           TORRANCE        CA   90503‐1404
TORRES, IMELDA E              3307 RALEIGH PL                                                                          BOSSIER CITY    LA   71112‐3155
TORRES, IRENE                 154 FAIRMEADOW DR                                                                        AUSTINTOWN      OH   44515‐2217
TORRES, IRIS                  GEICO                          POBOX 9091                                                MACON           GA   31208
TORRES, ISABEL                5140 MORRISON RD                                                                         BROWNSVILLE     TX   78526‐9487
TORRES, ISABEL C              335 S 9TH ST                                                                             SAGINAW         MI   48601‐1827
TORRES, ISABEL C              335 S 9TH                                                                                SAGINAW         MI   48601‐1827
TORRES, ISABELLA              LANGERMAN RICHARD              4506 N 12TH ST                                            PHOENIX         AZ   85014‐4201
TORRES, JAIME                 PO BOX 261581                                                                            TAMPA           FL   33685‐1581
TORRES, JAIME A               9341 CHESTNUT TREE LOOP                                                                  FORT MYERS      FL   33967‐5134
TORRES, JAIME A.              9341 CHESTNUT TREE LOOP                                                                  FORT MYERS      FL   33967‐5134
TORRES, JAIME B               3201 KAREN ST                                                                            LANSING         MI   48911‐2809
TORRES, JESUS                 2200 MONTROSE PL APT 1015                                                                BELTON          TX   76513‐1824
TORRES, JESUS                 CONSUMER LEGAL SERVICES        1950 SAWTELLE BLVD STE 245                                LOS ANGELES     CA   90025‐7017
TORRES, JESUS D               529 N WORKMAN ST                                                                         SAN FERNANDO    CA   91340‐2347
TORRES, JOANN M               510 EUCLID AVE APT 6                                                                     NAPOLEON        OH   43545‐2074
TORRES, JOANN M               510 EUCLID AVE                 APT #6                                                    NAPOLEON        OH   43545‐2074
TORRES, JOE L                 28 COURTLAND CIRCLE BUCKLEY                                                              BEAR            DE   19701
TORRES, JOE L                 28 COURTLAND CRL BUCKLEY                                                                 BEAR            DE   19701
TORRES, JOEL                  604 S OAK ST                                                                             DURAND          MI   48429‐1629
TORRES, JOHN N                19 SUMMERBERRY RD                                                                        BRISTOL         CT   06010‐2957
TORRES, JOHN P                12426 N 23RD ST                                                                          PHOENIX         AZ   85022‐5816
TORRES, JOHN T                2553 DAVID LN                                                                            LAPEER          MI   48446‐8330
TORRES, JOHN V                PO BOX 5716                                                                              SAGINAW         MI   48603‐0716
TORRES, JOHNNIE W             3140 W MOTT AVE                                                                          FLINT           MI   48504‐6841
TORRES, JOHNNY L              17405 WESTDALE AVE                                                                       CLEVELAND       OH   44135‐4269
TORRES, JORGE L               PO BOX 8341                                                                              KENTWOOD        MI   49518‐8341
TORRES, JORGE L               5920 TARNOW ST                                                                           DETROIT         MI   48210‐1983
                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                          Part 37 of 40 Pg 335 of 901
Name                    Address1                          Address2                     Address3   Address4         City               State Zip
TORRES, JOSE            56 SHOREHAVEN TRAILER PARK                                                                 HAZLET              NJ 07730‐2422
TORRES, JOSE            7 W. FARMS SQ. PLAZA A‐3D                                                                  BRONX               NY 10460
TORRES, JOSE            PENDAS LAW FIRM                   625 E COLONIAL DR                                        ORLANDO             FL 32803‐4602
TORRES, JOSE C          1743 W AVENUE H8                                                                           LANCASTER           CA 93534‐1338
TORRES, JOSE C          403 SMALLEY AVE                                                                            HAYWARD             CA 94541‐4917
TORRES, JOSE E          158 DAYTON STREET                                                                          NEWARK              NJ 07114‐1184
TORRES, JOSE E          6200 KARLSRIDGE DR                                                                         DAYTON              OH 45459‐8402
TORRES, JOSE E          6330 E COURT ST S                                                                          FLINT               MI 48509‐2303
TORRES, JOSE ELIAS      6330 E COURT ST S                                                                          FLINT               MI 48509‐2303
TORRES, JOSE G          10416 S AVENUE F                                                                           CHICAGO              IL 60617‐6349
TORRES, JOSE I          1351 BRADY BLVD                                                                            SAN ANTONIO         TX 78237‐4306
TORRES, JOSE L          520 FALCONRIDGE WAY                                                                        BOLINGBROOK          IL 60440‐2245
TORRES, JOSE R          6522 S KEATING AVE                                                                         CHICAGO              IL 60629‐5632
TORRES, JOSE S          1936 WHITBY CT                                                                             HOLLAND             OH 43528‐8242
TORRES, JOSE S          1729 RUSHING WAY                                                                           WYLIE               TX 75098‐8141
TORRES, JOSE VLADIMIR   5642 HARBINS RIDGE WAY                                                                     NORCROSS            GA 30093
TORRES, JOSE Z          8461 CASTNER DR TRLR 58                                                                    EL PASO             TX 79907‐1614
TORRES, JOSEPH          2264 ELLIS AVE                                                                             BRONX               NY 10462‐5106
TORRES, JOSEPH A        7720 CHAMBRAY PL UNIT 2                                                                    RANCHO CUCAMONGA    CA 91739‐8516
TORRES, JUAN            1651 SAINT JOHNS BLVD                                                                      LINCOLN PARK        MI 48146‐3932
TORRES, JUAN
TORRES, JUAN            6320 14TH ST W LOT 15                                                                      BRADENTON          FL   34207‐4810
TORRES, JUAN C          5700 BAYSHORE RD LOT 901                                                                   PALMETTO           FL   34221‐9359
TORRES, JUAN J          11930 W GRAND RIVER HWY                                                                    EAGLE              MI   48822‐9705
TORRES, JUAN M          11192 NICHOLS RD                                                                           MONTROSE           MI   48457‐9113
TORRES, JUAN M          MCPHERSON MONK HUGHES BRADLEY &   7791 9TH AVE                                             PORT ARTHUR        TX   77642‐6908
                        WIMBERLEY LLP
TORRES, JUAN P          6725 BUNCOMBE RD                  APT 220                                                  SHREVEPORT         LA   71129‐9457
TORRES, JUAN P          6725 BUNCOMBE RD APT 214                                                                   SHREVEPORT         LA   71129‐9457
TORRES, JUAN V          5603 N RICHMOND AVE                                                                        KANSAS CITY        MO   64119‐4173
TORRES, JUANITA         1320 LABROSSE ST                                                                           DETROIT            MI   48226‐1014
TORRES, JUANITA         1320 LA BROSSE                                                                             DETROIT            MI   48226‐1014
TORRES, KARIE A         400 W 11TH ST APT 201                                                                      KANSAS CITY        MO   64105‐2252
TORRES, KARIE ANN       400 W 11TH ST APT 201                                                                      KANSAS CITY        MO   64105‐2252
TORRES, LAWRENCE        330 CIRCLEWOOD DR                                                                          PARADISE           CA   95969‐5709
TORRES, LEOCADIO        717 SAMUEL CHASE LN                                                                        W MELBOURNE        FL   32904‐7536
TORRES, LEONOR          1221 E GOLDEN ST                                                                           COMPTON            CA   90221‐1226
TORRES, LETICIA         3545 W 58TH ST                                                                             CHICAGO            IL   60629‐3807
TORRES, LINDA           5064 EL LARGO BEND                                                                         FORTH WORTH        TX   76119‐5430
TORRES, LIONISIO        1099 CODLING RD                                                                            ADRIAN             MI   49221‐8511
TORRES, LORETTA H       365 N DIBBLE AVE                                                                           LANSING            MI   48917‐2825
TORRES, LUCERO          FROM VENTURA CA
TORRES, LUIS A          1138 MARY ST                                                                               ELIZABETH          NJ   07201
TORRES, LYDIA           2200 BRYAN ST. APT. 2 B                                                                    KISSIMMEE          FL   34741
TORRES, MANUEL          25 E BROADWAY ST                                                                           LEIPSIC            OH   45856‐1210
TORRES, MANUEL          BRADSHAW HULL CHRISTOPHER         4200 MONTROSE BLVD STE 570                               HOUSTON            TX   77006‐5443
TORRES, MANUEL A        1026 MAY ST                                                                                LANSING            MI   48906‐5505
TORRES, MANUEL M        10113 W 59TH TER                                                                           MERRIAM            KS   66203‐3041
TORRES, MARCOS          1037 JENNE ST                                                                              GRAND LEDGE        MI   48837‐1806
TORRES, MARCOS G        205 HAWK LN                                                                                PALMDALE           CA   93551‐3618
TORRES, MARIA E         4987 POCKLINGTON RD                                                                        TECUMSEH           MI   49286‐9501
TORRES, MARIA ORDAZ     HARMON FIRM THE                   2107 N BROADWAY STE 102                                  SANTA ANA          CA   92706‐2633
                          09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                             Part 37 of 40 Pg 336 of 901
Name                      Address1                          Address2                       Address3   Address4         City            State Zip
TORRES, MARINA
TORRES, MARIO             MCGEE LAW OFFICES OF WILLIAM R    411 N CENTRAL AVE STE 230                                  GLENDALE        CA    91203‐2020
TORRES, MARIO G.          4218 W 55TH ST APT 2                                                                         CHICAGO         IL    60632‐4626
TORRES, MARK J            7653 FOSTER RD                                                                               CLARKSTON       MI    48346‐1940
TORRES, MARLINA J         230 ELRUTH CT APT 96                                                                         GIRARD          OH    44420‐3024
TORRES, MARTIN J          280 SHIRLEY STREET                                                                           VASSAR          MI    48768‐1538
TORRES, MARTIN J          5339 MOREVILLE FARM                                                                          SAN ANTONIO     TX    78228‐6623
TORRES, MARTINEZ TAMERA   1822 N SILVER MOUNTAIN PL         PLACE                                                      TUCSON          AZ    85745‐1967
TORRES, MARY              2610 CARLTON AVE NE                                                                          GRAND RAPIDS    MI    49505‐3850
TORRES, MARY L            627 FRANK ST                                                                                 ADRIAN          MI    49221
TORRES, MAURO F           1218 DIAM0ND VALLEY                                                                          HENDERSON       NV    89052
TORRES, MAY R             17576 VIA SEGUNDO                                                                            SAN LORENZO     CA    94580‐3242
TORRES, MERCEDES          CALLE LOS PINOS #HC55 BOX 22463   CEIBA                                                      CEIBA           PR    00735
TORRES, MICHAEL           1540 CORONEL ST                                                                              SAN FERNANDO    CA    91340‐3126
TORRES, MICHAEL J         2993 MELVIN AVE                                                                              ROCHESTER HLS   MI    48307‐4867
TORRES, MICHAEL S         3985 BRANDYCHASE WAY APT 33                                                                  CINCINNATI      OH    45245‐2181
TORRES, MIGUEL            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH    44067
                                                            PROFESSIONAL BLDG
TORRES, MIGUEL G          3940 SCHOONER LOOP                                                                           LAS CRUCES      NM    88012‐6067
TORRES, MIRIAM Z          324 W 12TH ST                                                                                HIALEAH         FL    33010‐3815
TORRES, MISTY J           30905 BARTON ST                                                                              GARDEN CITY     MI    48135‐1382
TORRES, NADINE A          9507 WAMPLER ST                                                                              PICO RIVERA     CA    90660‐3658
TORRES, NATALIA           LANGERMAN RICHARD                 4506 N 12TH ST                                             PHOENIX         AZ    85014‐4201
TORRES, NEMECIO R         7555 DORWOOD RD                                                                              BIRCH RUN       MI    48415‐8901
TORRES, NICOLAS M         761 GRISWOLD AVE                                                                             SAN FERNANDO    CA    91340‐2140
TORRES, NINSA R           4505 TWO MILE RD                                                                             BAY CITY        MI    48706‐2760
TORRES, OCTAVIO F         1229 KRISTA DRIVE                                                                            BURLESON        TX    76028‐8611
TORRES, OCTAVIO F.        1229 KRISTA DRIVE                                                                            BURLESON        TX    76028‐8611
TORRES, OLIVIA T          APT 2                             118 IVY DRIVE                                              CHARLOTTESVLE   VA    22903‐5019
TORRES, OMAIRA            21361 STATE ROUTE 18                                                                         DEFIANCE        OH    43512‐8215
TORRES, OSVALDO           809 TIMBERLINE LN                                                                            CALERA          AL    35040‐4690
TORRES, PAMELA A          604 S OAK ST                                                                                 DURAND          MI    48429‐1629
TORRES, PATRICK D         50152 BRONTE DR W                                                                            UTICA           MI    48315‐3219
TORRES, PETER             7440 W 57TH PL                                                                               SUMMIT           IL   60501‐1313
TORRES, RAFEAL            PO BOX 6385                                                                                  FORT WORTH      TX    76115‐0385
TORRES, RAFEAL            306 RIGSBY AVE                                                                               SAN ANTONIO     TX    78210‐3054
TORRES, RALPH N           617 BELLA LOOP                                                                               DUNEDIN         FL    34698
TORRES, RAMON             2305 CARLYSLE COVE DR                                                                        LAWRENCEVILLE   GA    30044‐2277
TORRES, RAMON             9257 ESSEX ST                                                                                ROMULUS         MI    48174‐1579
TORRES, RAMON             1706 VAN WAGONER DR                                                                          SAGINAW         MI    48638‐4415
TORRES, RAMON JAVIER
TORRES, RAUL              PO BOX 44453                                                                                 SHREVEPORT      LA    71134‐4453
TORRES, RAY E             3606 VAGO LN                                                                                 FLORISSANT      MO    63034‐2342
TORRES, RAYMOND           8211 NOBLE AVE                                                                               PANORAMA CITY   CA    91402‐4509
TORRES, RAYMOND           616 S CHARLES ST                                                                             SAGINAW         MI    48602‐2414
TORRES, RAYMOND           2 KAREN CT                                                                                   BAYVILLE        NY    11709‐1505
TORRES, RAYMOND           111 ANELVE AVE                                                                               NEPTUNE         NJ    07753
TORRES, RAYMOND J         3940 FERDINAND DR                                                                            PORT HOPE       MI    48468‐9381
TORRES, RAYMUNDO N        203 E HARRISON ST                                                                            GILBERT         AZ    85295‐4893
TORRES, REINALDO R        12169 YOUNGDALE AVE                                                                          SYLMAR          CA    91342‐5260
TORRES, RENATO G          29737 MALVINA DR                                                                             WARREN          MI    48088‐3764
TORRES, RENE              687 ELMGROVE RD                                                                              ROCHESTER       NY    14606‐4327
                            09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                Part 37 of 40 Pg 337 of 901
Name                       Address1                          Address2            Address3         Address4         City               State Zip
TORRES, RICARDO            9 GRACE CT                                                                              MERIDEN             CT 06450‐6610
TORRES, RICHARD            623 1/2JACKSON                                                                          DEFIANCE            OH 43512
TORRES, RICHARD B          303A SIOUX TRL                                                                          COLUMBIA            TN 38401‐2147
TORRES, RICHARD E          PO BOX 982                                                                              GARDEN CITY         MI 48136‐0982
TORRES, RICKY O            1975 SEDGWICK AVE APT 4D                                                                BRONX               NY 10453
TORRES, ROBERT C           13350 DYER STREET                                                                       SYLMAR              CA 91342‐2409
TORRES, ROBERT M           18617 GILLMAN STREET                                                                    LIVONIA             MI 48152‐3778
TORRES, ROBERT W           3071 E STOLL RD                                                                         LANSING             MI 48906‐1779
TORRES, ROBERTO            119 EAGLE CREEK RANCH BLVD                                                              FLORESVILLE         TX 78114‐9237
TORRES, ROBERTO            1001 E CAMERON AVE                                                                      ROCKDALE            TX 76567‐3001
TORRES, ROBERTO            4438 LILY DR                                                                            HOWELL              MI 48843‐8120
TORRES, ROBERTO            1920 W GOLDCREST AVE                                                                    MILWAUKEE           WI 53221
TORRES, ROEL R             4433 HILLSIDE RD                                                                        WATERFORD           WI 53185‐3912
TORRES, ROSA               3545 W 58TH STREET                                                                      CHICAGO              IL 60629‐3807
TORRES, ROSA G             3545 W 58TH ST                                                                          CHICAGO              IL 60629‐3807
TORRES, ROSA M             2804 S KOSTNER AVE                                                                      CHICAGO              IL 60623‐4220
TORRES, ROSARIO D          806 E BEECHER ST                                                                        ADRIAN              MI 49221‐3911
TORRES, RUFINA L           1644 S CARMELINA AVE                                                                    WEST LOS ANGELES    CA 90025‐3624
TORRES, RUFINA L           1644 CARMELINA AVE                                                                      WEST LOS ANGELES    CA 90025‐3624
TORRES, SALVADOR B         10323 E AVENUE R6                                                                       LITTLEROCK          CA 93543‐1320
TORRES, SALVADOR M         13585 WINGO ST                                                                          ARLETA              CA 91331‐5643
TORRES, SALVADOR P         747 DESTY ST                                                                            SAN DIEGO           CA 92154‐1407
TORRES, SALVADOR Z         2515 N BRITT RD                                                                         JANESVILLE          WI 53548‐9337
TORRES, SAM                4225 OAKCREST RD                                                                        TOLEDO              OH 43623‐2109
TORRES, SARA G             14844 ALEXANDER ST                                                                      MISSION HILLS       CA 91345‐1236
TORRES, SELENNA RENEE
TORRES, SHIRLEY P          208 MISTY WOODS COURT                                                                   STRUTHERS          OH 44471‐2188
TORRES, SILVERIO
TORRES, SIPRIANO V         4315 GLADYS DR                                                                          LANSING            MI   48917‐3516
TORRES, STEVEN             809 SE 5TH CT                                                                           DEERFIELD BEACH    FL   33441
TORRES, STEVEN             428 SE 11TH ST APT 107                                                                  DEERFIELD BEACH    FL   33441‐6956
TORRES, SUSAN C            532 SMITH ST                                                                            PEEKSKILL          NY   10566
TORRES, TERCY P            7 LINCOLN WAY                                                                           SPARKS             NV   89431‐5174
TORRES, TERESA
TORRES, THOMAS R           1622 S 26TH ST                                                                          MILWAUKEE          WI   53204‐2555
TORRES, TIMOTHY J          6 FORGE RD                                                                              ASSONET            MA   02702‐1426
TORRES, TOMAS P            4105 HAZEL ST                                                                           BURTON             MI   48519‐1758
TORRES, TONY N             2824 PORTMAN AVE                                                                        CLEVELAND          OH   44109‐4947
TORRES, VALENTIN           37562 N LAUREL PARK DR                                                                  LIVONIA            MI   48152‐3950
TORRES, VICENTE G          2381 MILFORD DR                                                                         SAGINAW            MI   48603‐3457
TORRES, VICTOR             RUTA RURAL A1 BOX 474                                                                   CAROLINA           PR   00986
TORRES, VIRGINIA           PO BOX 5923                                                                             AUBURN             CA   95604‐5923
TORRES, WILLIAM            PO BOX 1244                                                                             PONCE              PR   00733
TORRES, WILLIAM            31 CARROLL ST APT 3D                                                                    YONKERS            NY   10705‐4242
TORRES, WILLIAM            31‐35 CARROLL ST APT 3D                                                                 YONKERS            NY   10705‐4242
TORRES, WILLIAM            5064 EL LAGO BND                                                                        FORT WORTH         TX   76119‐5430
TORRES, WILSON             4608 FERNVALLEY CT                                                                      ORLANDO            FL   32818‐8219
TORRES, YAMALETTE T        1932 E MIDLOTHIAN BLVD                                                                  YOUNGSTOWN         OH   44502‐2910
TORRES, ZEFERINO M         2159 BEND AVE                                                                           LANCASTER          CA   93535‐5506
TORRES, ZILINA M           158 DAYTON ST                                                                           NEWARK             NJ   07114
TORRES,DAVID G             136 CHAPARRAL DR                                                                        BURLESON           TX   76028‐6152
TORRES‐DUNDON, JUANITA P   244 CARDWELL STREET                                                                     GARDEN CITY        MI   48135
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                          Part 37 of 40 Pg 338 of 901
Name                                   Address1                        Address2                  Address3                    Address4         City              State Zip
TORRES‐MONROE, MICHELLE M              170 S PORTLAND AVE APT 7F                                                                              BROOKLYN           NY 11217‐1526
TORRES‐OLIVENCIA, NOEL R               PO BOX 622708                                                                                          OVIEDO             FL 32762
TORRES‐PERREAULT, DIANE P              24379 BRAMBLEWOOD DR                                                                                   NOVI               MI 48374‐4017
TORRES‐WIRTH, WILMA F                  6139 KINGS SCEPTER RD                                                                                  GRAND BLANC        MI 48439‐8601
TORRES‐WIRTH, WILMA F.                 6139 KINGS SCEPTER RD                                                                                  GRAND BLANC        MI 48439‐8601
TORRESO JR, SALVATORE S                RR BOX 11                                                                                              MANSFIELD          OH 44903
TORRESO, LYNN S                        1907 QUARTZ LANDING AVE APT A                                                                          LAS VEGAS          NV 89183
TORRETTA CHARLES                       TORRETTA, ADRIAN                CONSUMER LEGAL SERVICES   39028 FORD RD                                GARDEN CITY        MI 48135‐1803
TORRETTA CHARLES                       TORETTA, CHARLES                30928 FORD RD                                                          GARDEN CITY        MI 48135‐1803
TORRETTA DANIEL (ESTATE OF) (450241)   WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                        NEW YORK           NY 10038

TORRETTA JR, PAUL E                    1287 RIDGEVIEW CIR                                                                                     LAKE ORION        MI   48362‐3455
TORRETTA, ADRIAN                       CONSUMER LEGAL SERVICES         30928 FORD RD                                                          GARDEN CITY       MI   48135‐1803
TORRETTA, DANIEL                       WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                        NEW YORK          NY   10038
TORRETTA, LYLE J                       3370 GREENWOOD DR                                                                                      ROCHESTER HILLS   MI   48309‐3927
TORRETTA, MICHAEL C                    12112 W LAYTON AVE                                                                                     GREENFIELD        WI   53228‐3028
TORRETTA, SHARON                       36338 PARK PLACE                                                                                       STERLING HTS      MI   48310‐4217
TORREY II, ALVIN W                     112 EAGLE HAVEN DR                                                                                     SUMMERTOWN        TN   38483‐3805
TORREY JR, ROBERT A                    4412 SULGRAVE DR                                                                                       SWARTZ CREEK      MI   48473‐8268
TORREY LINDEMANN
TORREY PINES CLUB CORPORATION
TORREY PINES RESEARCH INC              5973 AVENIDA ENCINAS STE 140                                                                           CARLSBAD          CA   92008‐4477
TORREY, BERTHA I                       14144 EASTVIEW DR                                                                                      FENTON            MI   48430‐1304
TORREY, DERRICK                        9652 SHELBY DR                                                                                         WHITE LAKE        MI   48386‐1860
TORREY, FRANCIS O                      7934 ARBELA RD                                                                                         MILLINGTON        MI   48746‐9540
TORREY, FRED W                         24232 ROANOKE AVE                                                                                      OAK PARK          MI   48237‐1837
TORREY, GARRY W                        10128 Q AVE                                                                                            MATTAWAN          MI   49071‐9408
TORREY, GARY W                         11073 AVIS ST                                                                                          SPRING HILL       FL   34608‐1906
TORREY, J M                            681 QUILLETTE DR                                                                                       BEAVERTON         MI   48612
TORREY, JEROME                         6159 CYPRESS DR                                                                                        MOUNT MORRIS      MI   48458‐2807
TORREY, JOAN L                         5303 VICTORIA BLVD              E3                                                                     WATERFORD         MI   48327‐3175
TORREY, KENNETH R                      6269 N MCKINLEY RD                                                                                     FLUSHING          MI   48433‐1166
TORREY, KENNETH ROBERT                 6269 N MCKINLEY RD                                                                                     FLUSHING          MI   48433‐1166
TORREY, KEVIN K                        7815 OAK RD                                                                                            MILLINGTON        MI   48746‐9046
TORREY, L L                            24 BROUGHTON STREET                                                                                    TONAWANDA         NY   14150
TORREY, LILLY B                        60 LOEFFLER ROAD                PROSPECT 201                                                           BLOOMFIELD        CT   06002
TORREY, MADGE M                        837 APPLE BLOSSOM LN                                                                                   HOLLAND           MI   49423‐7347
TORREY, NORMAN F                       133 STONEWOOD DR                                                                                       CROSSVILLE        TN   38558‐6568
TORREY, ROBERT D                       69 FOX RUN WAY                                                                                         BOWLING GREEN     KY   42104‐7501
TORREY, ROBERT G                       681 QUILLETT DR                                                                                        BEAVERTON         MI   48612‐8625
TORREY, RODNEY J                       4400 RUPPRECHT RD                                                                                      VASSAR            MI   48768‐9108
TORREY, VIRGIE E                       1642 WARREN DR                                                                                         FAIRVIEW          MI   48621
TORREY, WILLIAM C                      2515 N VASSAR RD                                                                                       BURTON            MI   48509‐1383
TORREY, WILLIAM CLARK                  2515 N VASSAR RD                                                                                       BURTON            MI   48509‐1383
TORREZ AURTHUR                         TORREZ, AURTHUR                 2578 11TH ST                                                           RIVERSIDE         CA   92507‐5026
TORREZ I I, DANIEL G                   1052 S REESE RD                                                                                        REESE             MI   48757‐9716
TORREZ II, DANIEL GONZALES             1052 S REESE RD                                                                                        REESE             MI   48757‐9716
TORREZ JAMES                           TORREZ, JAMES                   CULP & LITTLE             12345 JONES RD, SUITE 190                    HOUSTON           TX   77070
TORREZ JR, CARLOS                      3430 MEYER PL                                                                                          SAGINAW           MI   48603‐2303
TORREZ JR, JESSE C                     120 PROSPECT ST                                                                                        CROSWELL          MI   48422‐1342
TORREZ JR, MANUEL                      920 S HARRISON ST                                                                                      SAGINAW           MI   48602‐1608
TORREZ JR, SACARIAS                    3009 W VISTA CIRCLE             APT 3009                                                               FORT WORTH        TX   76133
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                          Part 37 of 40 Pg 339 of 901
Name                   Address1                          Address2                       Address3     Address4                City            State Zip
TORREZ JR, SACARIAS    3009 WESTVISTA CIRCLE                                                                                 FORT WORTH       TX 76133‐5737
TORREZ JR., ARTURO     3195 S AIRPORT RD                                                                                     BRIDGEPORT       MI 48722‐9528
TORREZ JUDY            7390 S WEBSTER ST                                                                                     LITTLETON        CO 80128‐4838
TORREZ THOMAS          COVENANT HEALTHCARE               3000 TOWN CENTER SUITE 2390                                         SOUTHFIELD       MI 48075
TORREZ THOMAS          TORREZ, THOMAS                    1121 N MICHIGAN AVE                                                 SAGINAW          MI 48602‐4762
TORREZ, ALBERT         1504 BASSETT ST                                                                                       LANSING          MI 48915‐1504
TORREZ, AMELIA         842 W PECK LAKE RD                                                                                    IONIA            MI 48846‐8429
TORREZ, ARTURO         7226 JUNCTION RD                                                                                      BRIDGEPORT       MI 48722‐9729
TORREZ, AURTHUR        2578 11TH ST                                                                                          RIVERSIDE        CA 92507‐5026
TORREZ, DANIEL         152 NORTHVIEW DR                                                                                      CARO             MI 48723‐1129
TORREZ, DANIEL G       1441 ALBION RD                                                                                        SAGINAW          MI 48604‐9717
TORREZ, EPIFANIO       PO BOX 330146                                                                                         PACOIMA          CA 91333‐0146
TORREZ, EULALIO D      1214 DAVID ST                                                                                         LANSING          MI 48906‐4203
TORREZ, FRANCISCO G    9245 CHRISTY RD                                                                                       DEFIANCE         OH 43512‐9615
TORREZ, JAMES          CULP & LITTLE                     12345 JONES RD STE 190                                              HOUSTON          TX 77070‐4959
TORREZ, JESUS G        3020 LAPORTE RD                                                                                       HEMLOCK          MI 48626‐9504
TORREZ, JIMMIE         12752 BRADLEY AVE                                                                                     SYLMAR           CA 91342‐4611
TORREZ, JOE B          3235 BIRCH ROW DR                                                                                     EAST LANSING     MI 48823‐1574
TORREZ, JOSE           7335 HAROLD DR                                                                                        FORT WAYNE       IN 46835‐1419
TORREZ, LOUIS B        13940 PLUME DR                                                                                        LA MIRADA        CA 90638‐3534
TORREZ, MICHELLE       PO BOX 5                                                                                              MESQUITE         NV 89024‐0005
TORREZ, RAMIRO H       718 DURANT ST                                                                                         LANSING          MI 48915‐1327
TORREZ, RAMIRO P       PO BOX 872                                                                                            TALLEVAST        FL 34270‐0872
TORREZ, RAMONDO        2915 GREENBELT DR                                                                                     LANSING          MI 48911‐2366
TORREZ, RAPHAEL        7050 S MADISON ST                 CHATEAU VILLAGE NURSING HOME                                        WILLOWBROOK       IL 60527‐5548

TORREZ, RICHARD G      2650 OUTER DR CT                                                                                      SAGINAW         MI    48601
TORREZ, ROBERT P       6621 W CUTLER RD                                                                                      DEWITT          MI    48820‐9126
TORREZ, RODOLFO G      5947 TITTABAWASSEE RD                                                                                 SAGINAW         MI    48604‐9455
TORREZ, SIMON          1405 SASSAFRAS DR                                                                                     PLANO           TX    75023‐1952
TORREZ, SUSAN          1029 E MOORE RD                                                                                       SAGINAW         MI    48601‐9323
TORREZ, TOM W          315 ELLSWORTH ST                                                                                      SAGINAW         MI    48604‐2413
TORRI TULLOS           49367 CLINTON TERRACE DR                                                                              MACOMB          MI    48044‐9704
TORRICE, JOSEPH        C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                       EDWARDVILLE     IL    62025
TORRICO CONRRADO       TORRICO, CONRRADO                 5055 WILSHIRE BLVD STE 300                                          LOS ANGELES     CA    90036‐6101
TORRICO, CONRRADO      KROHN & MOSS ‐ CA,                5055 WILSHIRE BLVD STE 300                                          LOS ANGELES     CA    90036‐6101
TORRICO, ENRIQUE       1799 COUNTY ROAD 4559                                                                                 BIVINS          TX    75553‐3201
TORRICO, TIMOTHY L     1631 HAWTHORNE ST                                                                                     TRENTON         MI    48183‐1819
TORRIE, ELIZABETH F    393 GLENGROVE RD                                                                                      YOUNGSTOWN      NY    14174‐1361
TORRIE, ELIZABETH F    393 GLENGROVE DRIVE                                                                                   YOUNGSTOWN      NY    14174‐1361
TORRIE, RAYMOND C      2447 LINWOOD AVE                                                                                      NIAGARA FALLS   NY    14305‐3103
TORRIERE, GARRY W      7547 FAIRVIEW DR                                                                                      LOCKPORT        NY    14094‐1609
TORRIERI ALICE         3235 ELIZABETH DR UNIT 2                                                                              PERRY           OH    44081‐9102
TORRIERI, JEFFREY      10145 REGENT ROW ST                                                                                   BENBROOK        TX    76126‐3009
TORRINGTON CO          4 VICTORIA AVE                                                                BEDFORD CANADA PQ JOJ
                                                                                                     1A0 CANADA
TORRINGTON CO          38701 7 MILE RD STE 200                                                                               LIVONIA          MI   48152‐3966
TORRINGTON CO          MARK DICKISON                     BEARING DIVISION               PO BOX 667                           GREENVILLE       AL   36037
TORRINGTON COMPANY     10585 NORTH MERIDIAN STREET                                                                           INDIANAPOLIS     IN   46290
TORRINGTON/INDIANAPL   10585 N MERIDIAN ST STE 300                                                                           INDIANAPOLIS     IN   46290‐1068
TORRINGTON/LIVONIA     38701 7 MILE RD STE 200                                                                               LIVONIA          MI   48152‐3966
TORRIS GHOLSTON        1509 DOUTHIT ST SW                                                                                    DECATUR          AL   35601‐2719
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                         Part 37 of 40 Pg 340 of 901
Name                               Address1                           Address2                   Address3   Address4                City               State Zip
TORRISI, KAREN                     267 W H ST                                                                                       BENICIA             CA 94510
TORRISI, SAMMY                     5221 MANSFIELD AVE                                                                               STERLING HEIGHTS    MI 48310‐5741
TORRISSI MELISSA                   13659 PHILMONT AVE APT 9                                                                         PHILADELPHIA        PA 19116‐1158
TORRY, SANDRA A                    1005 GRENOBLE DR UNIT G                                                                          LANSING             MI 48917‐3934
TORRY, TERRELL C                   1084 S LIEBOLD ST                                                                                DETROIT             MI 48217‐1222
TORRY, TERRELL C.                  1084 S LIEBOLD ST                                                                                DETROIT             MI 48217‐1222
TORSIELLO, MICHAEL A               64B HUDSON PKWY                                                                                  WHITING             NJ 08759‐6304
TORSKY, LEONARD J                  18050 LAKEVIEW DR                                                                                HILLMAN             MI 49746‐7910
TORSKY, NORMA                      1305 CEDARWOOD DR                                                                                MINERAL RIDGE       OH 44440
TORSKY, NORMA S                    1305 CEDARWOOD DR                                                                                MINERAL RIDGE       OH 44440‐9425
TORSKY, STEPHEN                    1305 CEDARWOOD DR                                                                                MINERAL RIDGE       OH 44440‐9425
TORSTEN BERWALD                    GRIEGSTR. 9                                                              18435 STRALSUND
                                                                                                            GERMANY
TORSTEN BERWALD                    GRIEGSTR. 9                        18435 STRALSUND
TORSTEN FINKE                      ELSAESSER STR. 38                  46045 OBERHAUSEN
TORSTEN FINKE                      ELSAESSER STR 38                                                         46045 OBERHAUSEN
                                                                                                            GERMANY
TORSTEN GIESSELBACH                ILTISWEG 4/1                                                             71083 HERRENBERG
                                                                                                            GERMANY
TORSTEN HOMBURG                    LUDWIGSTR. 10                                                                                    PADERBORN          DE 33098
TORSTEN HOOGE                      GARTENSTRA▀E 2/1                                                                                 OBERBOIHINGEN      DE 72644
TORSTEN HOOGE                      GARTENSTRASSE 2/1                                                        72644 OBERBOIHINGEN
                                                                                                            GERMANY
TORSTEN JACOB                      HAYDNST. 14                        09119 CHEMNITZ
TORSTEN KUSTER                     FRANKENBERGER STR 19                                                     35114 LOHLBACH
                                                                                                            GERMANY
TORSTEN LAUBE                      DISTERWEG 5                                                                                      BERLIN             DE 10023
TORSTEN NAGEL EDV‐SERVICE &        SERTORIUSRING 255                                                        MAINZ‐FINTHEN 55126
CONSULTING                                                                                                  GERMANY
TORSTEN POTT                       AUGUSTASTRASSE 7                                                         52070 AACHEN GERMANY
TORSTEN RUETER                     33A WOTTON ROAD                    LONDON                     NW2 6PU
TORSTEN SPINNLER/BRITTA SPINNLER   ASTHEIMER STR 12                                                         65468 TREBUR GERMANY
TORSTEN TEWES                      BAHNHOFSGANG 8                     25746 HEIDE
TORSTEN TEWES                      BAHNHOFSGANG 8                                                           25746 HEIDE GERMANY
TORTI, JOSEPH T                    6831 PINE CREEK DR                                                                               TOLEDO             OH   43617‐1275
TORTOMASI, ANTHONY A               1364 MAXFIELD RD                                                                                 HARTLAND           MI   48353‐3628
TORTOMASI, HELEN L                 8497 MASSEY RD                     C/O DEBORA KAY MCCROSKEY                                      PILOT POINT        TX   76258‐6661
TORTORA, ANNA                      8 MILLO PL                                                                                       LITTLE FERRY       NJ   07643‐1013
TORTORA, JANE                      8 MILLO PL                                                                                       LITTLE FERRY       NJ   07643‐1013
TORTORA, PAMELA J                  3572 LEROY STEVENS ROAD                                                                          MOBILE             AL   36619‐4405
TORTORELLA, DONNA M                8406 W CRAIN ST                                                                                  NILES              IL   60714‐1845
TORTORELLI, DANIEL A               2721 LAKEVIEW DR                                                                                 CHAMPAIGN          IL   61822
TORTORELLO, JOSEPH                 14 SOLOMANS DR                                                                                   BARNEGAT           NJ   08005‐3382
TORTORICE JR, EUGENE A             1517 LA SALLE AVE                                                                                NIAGARA FALLS      NY   14301‐1227
TORTORICE, BRENDA L                PO BOX 70331                                                                                     ROCHESTER HLS      MI   48307‐0007
TORTORICE, ERIN R                  2022 CYPRESS DRIVE                                                                               WHITE OAK          PA   15131‐1808
TORTORICE, JAMES W                 G3064 MILLER RD APT 502                                                                          FLINT              MI   48507‐1341
TORTORICE, PETER A                 5744 LINCOLN AVE                                                                                 MORTON GROVE       IL   60053‐3469
TORTORICH JOE                      1201 LAKESHORE DR APT 21                                                                         HOT SPRINGS        AR   71913‐6650
TORTORICI PETER (460733)           WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                               NEW YORK           NY   10038
TORTORICI, JOHN                    210 WEBB DR                                                                                      TROY               MI   48098‐4688
TORTORICI, JOSEPH F                965 BRIDGESTONE DR                                                                               ROCHESTER HLS      MI   48309‐1621
                               09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                     Part 37 of 40 Pg 341 of 901
Name                           Address1                            Address2                         Address3           Address4               City              State Zip
TORTORICI, MARIE               60 HORSENDEN RD                                                                                                NEW PALTZ          NY 12561‐3106
TORTORICI, MICHELE R           965 BRIDGESTONE DR                                                                                             ROCHESTER HLS      MI 48309‐1621
TORTORICI, PAT J               20107 HEYDEN ST                                                                                                DETROIT            MI 48219‐2012
TORTORICI, PETER               WEITZ & LUXENBERG P.C.              180 MAIDEN LANE                                                            NEW YORK           NY 10038
TORTOSA‐BOONACKER, NINA        2910 LANERGAN DR                                                                                               TROY               MI 48084‐1073
TORUK, NICHOLAS                3566 E. HWY. M‐134                                                                                             CEDARVILLE         MI 49719
TORUS TRAFFIC SYSTEMS LTD      45 A W WILMOT ST STE 213                                                                RICHMOND HILL ON L4B
                                                                                                                       1K1 CANADA
TORUTA, ROBERT W               10120 BUNTON RD                                                                                                WILLIS            MI   48191‐9738
TORVIC CARADINE                2618 CITATION DR                                                                                               JANESVILLE        WI   53546‐6188
TORVIK GARY                    TORVIK, GARY                        5901 CEDAR LAKE RD S                                                       MINNEAPOLIS       MN   55416‐1488
TORVIK, GARY                   HAUER FARGIONE LOVE LANDY &         5901 CEDAR LAKE RD S                                                       MINNEAPOLIS       MN   55416‐1488
                               MCELLISTREM PA
TORWELLE LOIS                  1413 10TH STREET UNIT 4                                                                                        HAWARDEN          IA   51023
TORY GOULD                     1310 PONDVIEW LN                                                                                               OXFORD            MI   48371‐3680
TORY JR., JOE                  3331 RUST AVE                                                                                                  SAGINAW           MI   48601‐3173
TORYS LLP                      ATT: WILLIAM F. GRAY, JR.           ATTY FOR HYDROGENICS              237 PARK AVENUE                          NEW YORK          NY   10017
                                                                   CORPORATION AND JOSEPH
                                                                   CARGNELLI
TORYS LLP                      ATTY FOR HYDROGENICS CORPORATION;   ATT: ALISON D. BAUER & TIMOTHY B. 237 PARK AVENUE                          NEW YORK          NY 10017
                               AND JOSEPH CARGNELLI                MARTIN, ESQS

TORZ, ROBERT R                 113 S 7TH ST                                                                                                   NOBLE             OK   73068‐9510
TORZEWSKI, JAMES K             12550 SALTFORD CIR                                                                                             FISHERS           IN   46037
TORZY, REGIS K                 PO BOX 343                                                                                                     ALMONT            MI   48003‐0343
TOSCANO CAROL                  300 PENN OAK RD                                                                                                FLOURTOWN         PA   19031‐2227
TOSCANO JR, JAMES S            PO BOX 2754                                                                                                    BRISTOL           CT   06011‐2754
TOSCANO, ANGELO M              6122 NORTHSHORE DR                                                                                             WILMINGTON        NC   28411‐7234
TOSCANO, CARMELO               2891 ATLANTIC AVE                                                                                              PENFIELD          NY   14526‐1001
TOSCANO, GLORIA                247 S TARRYBROOK CIR                                                                                           CORNELIUS         OR   97113‐7129
TOSCANO, GLORIA                247 S. TARRYBROOK CIR.                                                                                         CORNELIUS         OR   97113‐7129
TOSCANO, RANDOLPH D            18757 STAFFORD DR                                                                                              STRONGSVILLE      OH   44149‐1533
TOSCANO, SARA R                9811 DUSTY CEDAR CT                                                                                            CHARLOTTE         NC   28269‐8328
TOSCAS, PATRICIA A             19146 HUNTINGTON AVE                                                                                           HARPER WOODS      MI   48225‐2088
TOSCH JOHN A                   TOSCH, JOHN A                       425 W BROADWAY STE 220                                                     GLENDALE          CA   91204‐1269
TOSCH, DEBORAH A               2088 TUCKER DR                                                                                                 TROY              MI   48085‐4021
TOSCH, GAY G                   55 KINGSBROOK LN                                                                                               BLOOMFIELD        MI   48304‐2743
TOSCH, GAY G                   55 KINGBROOK LN                                                                                                BLOOMFIELD        MI   48304‐2743
TOSCH, HATTIE                  2285 DEER CREEK ALBA WAY                                                                                       DEERFIELD BEACH   FL   33442‐7990
TOSCH, JAMES C                 8675 N RIVER RD                                                                                                FREELAND          MI   48623‐8716
TOSCH, JOHN A                  TAYLOR & ASSOCIATES NORMAN          425 W BROADWAY STE 220                                                     GLENDALE          CA   91204‐1269
TOSCH, ROBERT                  2906 VINEYARDS DR                                                                                              TROY              MI   48098‐6206
TOSH JOHN WESLEY JR (429958)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA   23510
                                                                   STREET, SUITE 600
TOSH, ASHLEY                   65 BOULDER DR                                                                                                  BATESVILLE        AR   72501‐9492
TOSH, CHARLES R                1405 KAY DR                                                                                                    COOKEVILLE        TN   38501‐9338
TOSH, JASPER G                 804 GRAPEVINE DR                                                                                               PRINCETON         KY   42445‐2295
TOSH, JOHN WESLEY              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA   23510‐2212
                                                                   STREET, SUITE 600
TOSH, JONATHAN C               69 MOUNT VERNON RD                                                                                             COLUMBIA          NJ 07832‐2728
TOSHA GROOMS                   102 ELMWOOD AVE E                                                                                              DAYTON            OH 45405‐3533
TOSHA K MILLS                  PO BOX 49061                                                                                                   DAYTON            OH 45449
                                   09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                         Part 37 of 40 Pg 342 of 901
Name                               Address1                              Address2                          Address3              Address4                City                State Zip
TOSHA LILAC‐MCINTYRE               4220 BREST RD                                                                                                         NEWPORT              MI 48166‐9040
TOSHAN L MOSTELLA                  1306 RALEY ST                                                                                                         E. GADSDEN           AL 35903
TOSHIBA BUSINESS SOLUTION ‐ NY     150 METRO PARK                                                                                                        ROCHESTER            NY 14623‐2610
TOSHIBA BUSINESS SOLUTION ‐ NY     ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 414079                                                                   BOSTON               MA 02241‐4079
                                   AGENT
TOSHIBA BUSINESS SOLUTIONS NY      150 METRO PARK                                                                                                        ROCHESTER           NY 14623‐2610
TOSHIBA CLASSIC                    ATTN LISA MELLO                       3195‐C AIRPORT LOOP DRIVE STE A                                                 COSTA MESA          CA 92626

TOSHIBA CORP                       31555 W 14 MILE RD STE 201                                                                                            FARMINGTN ILS       MI 48334‐1287
TOSHIBA CORP                       1‐1‐1 SHIBAURA TOSHIBA BLDG                                                                   MINATO‐KU, TO 105‐0
                                                                                                                                 JAPAN
TOSHIBA CORP                       24922 ANZA DR STE F                                                                                                   VALENCIA            CA 91355‐1220
TOSHIBA CORP                       5‐2‐1 ASAHIMACHI                                                                              IMABARI EHIME JP 794‐
                                                                                                                                 0042 JAPAN
TOSHIBA CORP                       TODD BOWEN X22                        C/O KINTETSU WORLD EXPRESS USA 18450 S WILMINGTON AVE                           FOWLERVILLE         MI

TOSHIBA CORP IND POWER SYSTEMS&    1‐1 SHIBAURA 1‐CHOME MINATO‐KU        TOKYO 105‐8001                                          JAPAN
SERVICE COMPANY
TOSHIBA FINANCIAL SERVICES         TOSHIBA EASY LEASE                    PO BOX 3083                                                                     CEDAR RAPIDS        IA   52406‐3083
TOSHIBA MACHINE CO AMERICA         755 GREENLEAF AVE                                                                                                     ELK GROVE VILLAGE   IL   60007‐5031
TOSHIBA MACHINE MACHINERY CO L     755 GREENLEAF AVE                                                                                                     ELK GROVE VILLAGE   IL   60007‐5031
TOSHIBA MEDICAL SYSTEMS            2441 MICHELLE DR                                                                                                      TUSTIN              CA   92780‐7047
TOSHIBA SENIOR CLASSIC             ATTN BRIAN HART                       1400 QUAIL ST STE 140                                                           NEWPORT BEACH       CA   92660‐2713
TOSHIBA TEC CORP                   150 METRO PARK                                                                                                        ROCHESTER           NY   14623‐2610
TOSHIBA/ELK GRV VILL               755 GREENLEAF AVE                                                                                                     ELK GROVE VILLAGE   IL   60007‐5031
TOSHIHIDE NAGATA                   202 CHRISTINA MARIE DR                                                                                                O FALLON            MO   63368‐7877
TOSHIKO HARTLEY                    1019 N PARK FOREST DR APT D                                                                                           MARION              IN   46952‐1751
TOSHIKO PAGE                       8540 GOLD PEAK LN UNIT E                                                                                              HIGHLANDS RANCH     CO   80130‐7122
TOSHIRYO M HARRIS PERSNL REP FOR   C/O BRAYTON PURCELL                   222 RUSH LANDING RD                                                             NOVATO              CA   94948‐6169
CHESTER F HARRIS
TOSHNORI OGASHIWA                  1‐16‐2‐819 SUGAMO                     TOSHIMA‐KU                        TOKYO
TOSHNORI OGASHIWAGUO               1‐16‐2‐819 SUGAMO                     TOSHIMA‐KU                        TOKYO
TOSI, VICTOR B                     3309 HONE AVE                                                                                                         BRONX               NY   10469‐3709
TOSKEY JR, GEORGE B                11109 PRIOR RD                                                                                                        SAINT CHARLES       MI   48655‐8534
TOSKEY, COLLEEN M                  11109 PRIOR RD                                                                                                        SAINT CHARLES       MI   48655‐8534
TOSKIN FRANK (495087)              GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                    PITTSBURGH          PA   15219

TOSKIN, FRANK                      GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                    PITTSBURGH          PA 15219

TOSKOV, BERTHA K                   3137 N GRANITE REEF RD                                                                                                SCOTTSDALE          AZ   85251‐7309
TOSO COMPTON                       808 CORK GASCON RD                                                                                                    EDMONTON            KY   42129‐6636
TOSO DAVIDE                        VIA CAMILLA RAVERA, 2/1                                                                                               FERRARA
TOSORATTO EZIO                     VIA PIETRO BERNARDINI 22                                                                      00136 ROMA ITALY
TOSSEY, PHILIP                     PO BOX 430683                                                                                                         PONTIAC             MI 48343‐0683
TOSTADO GLORIA                     6411 COVECREEK PL                                                                                                     DALLAS              TX 75240‐5451
TOSTADO, JAMES
TOSTE, ARTHUR G                    6657 CHARING ST                                                                                                       SANTA SUSANA        CA   93063‐3924
TOSTEVIN, JAMES A                  3525 CAMINO RD                                                                                                        HARRISON            MI   48625‐8000
TOSTI, ANTHONY                     1560 CHURCH CAMP RD                                                                                                   BEDFORD             IN   47421‐7483
TOSTI, AUGUSTINO                   PO BOX 274                                                                                                            SOUTH YARMOUTH      MA   02664‐0274
TOSTI, DOMINIC A                   #6 KUEBLER DRIVE                                                                                                      ROCHESTER           NY   14624‐4624
TOSTI, DOMINIC A                   6 KUEBLER DR                                                                                                          ROCHESTER           NY   14624‐3912
                                         09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                              Part 37 of 40 Pg 343 of 901
Name                                    Address1                           Address2                         Address3   Address4                 City            State Zip
TOSTO, ALBERT C                         815 CYPRESS DR                                                                                          DAVISON          MI 48423‐1917
TOSTO, JACK A                           624 N HURON RD                                                                                          AU GRES          MI 48703‐9749
TOSTON SR, PHILLIP E                    6301 BOCAGE DR                                                                                          SHREVEPORT       LA 71119
TOSTON, YVETTE T                        6301 BOCAGE DR                                                                                          SHREVEPORT       LA 71119‐6220
TOSTON, YVETTE TARVER                   6301 BOCAGE DR                                                                                          SHREVEPORT       LA 71119‐6220
TOSUNYAN, ARISTAKIS                     3400 FERNWOOD AVE                                                                                       ANN ARBOR        MI 48108‐2906
TOSUNYAN, VARTKES                       3400 FERNWOOD AVE                                                                                       ANN ARBOR        MI 48108‐2906
TOTA, MICHAEL G                         117 CENTRAL AVE                                                                                         RIDGEFIELD PK    NJ 07660‐1041
TOTA, NORMA J                           PO BOX 3113                                                                                             N FT MYERS       FL 33918‐3113
TOTAL AMERICAN                          1201 LOUISIANA ST                                                                                       HOUSTON          TX 77002
TOTAL AMERICAN SERVICE                  1201 LOUISANA ST                                                                                        HOUSTON          TX 77267
TOTAL AMERICAN SERVICE                  1201 LOUISIANA ST                                                                                       HOUSTON          TX 77002
TOTAL AMERICAN SERVICE                  2302 LOUISIANA ST                                                                                       HOUSTON          TX 77006
TOTAL AMERICAN SERVICE INC.
TOTAL APPEARANCE EXHIBIT SERVICES       3700 W BLACKJACK RIDGE RD                                                                               PRESCOTT        AZ    86305‐8852
TOTAL AUTO                              98 ISLAND RD                                                                   SCARBOROUGH ON M1C
                                                                                                                       2P5 CANADA
TOTAL AUTO SERVICE                      4973 BOUL DES SOURCES                                                          PIERREFONDS QC H8Y 3E3
                                                                                                                       CANADA
TOTAL AUTO SERVICE                      502 WINTER SHOW RD SW                                                                                   VALLEY CITY     ND 58072‐3937
TOTAL AUTO SERVICE 06                   610 COLBY DR                                                                   WATERLOO ON N2V 1A2
                                                                                                                       CANADA
TOTAL AUTO SERVICE COMPANY              415 N MAIN ST                                                                                           SOUTHINGTON     CT 06489‐2519
TOTAL AUTO SERVICE, INC.                5268 MCEVER RD                                                                                          OAKWOOD         GA 30566‐3112
TOTAL AUTOMOTIVE LTD                    5580 VEDDER RD                                                                 SARDIS BC V2R 5P4
                                                                                                                       CANADA
TOTAL AUTOMOTIVE MAINTENANCE            5416 QUESADA RD                                                                                         RIVERDALE       MD    20737‐1218
TOTAL AUTOMOTIVE SOLUTIONS              712 S GARFIELD AVE                                                                                      TRAVERSE CITY   MI    49686
TOTAL BUILD/DETROIT                     9101 FREELAND ST                                                                                        DETROIT         MI    48228‐2308
TOTAL BUSINESS SERVICE CENTER           PO BOX 20884                                                                                            ROCHESTER       NY    14602‐0884
TOTAL CAPITAL LP                        7880 BIRD LAKE RD S                                                                                     OSSEO           MI    49266‐9808
TOTAL CAR CARE                          1752 CARLING AVE                                                               OTTAWA ON K2A 1E1
                                                                                                                       CANADA
TOTAL COMPONENT SOLUTIONS               KEL MCMILLAN                       PO BOX 178                                                           ROCK VALLEY      IA   51247‐0178
TOTAL COMPONENT SOLUTIONS               KEL MCMILLAN                       2080 10TH STREET, P.O. BOX 178                                       TINLEY PARK      IL   60477
TOTAL COMPONENTS SOLUTIONS CORP         KEL MCMILLAN                       2080 10TH STREET, P.O. BOX 178                                       TINLEY PARK      IL   60477

TOTAL COMPONENTS SOLUTIONS CORP         KEL MCMILLAN                       PO BOX 178                                                           ROCK VALLEY      IA   51247‐0178

TOTAL CONCEPT/CNTRLN                    24280 SHERWOOD                                                                                          CENTER LINE     MI 48015‐2026
TOTAL CONCEPTS OF DESIGN INC            1054 S TAYLOR MILL RD                                                                                   SCOTTSBURG      IN 47170‐6908
TOTAL CONSTRUCTION SERVICES             3206 ORLANDO DR                                                                MISSISSAUGA ON L4V 1R5
                                                                                                                       CANADA
TOTAL CONTROL SOLUTIONS INC
TOTAL DELIVERY                          4856 S 13TH ST                                                                                          MILWAUKEE       WI    53221
TOTAL DISTRIBUTION SERVICE INC          3004 WATERWAY BLVD                                                                                      ISLE OF PALMS   SC    29451‐2427
TOTAL DISTRIBUTION SERVICES             DENNIS REINER                      500 WATER ST. J855                                                   JACKSONVILLE    FL    32202
TOTAL DISTRIBUTION SERVICES EFINC       301 N CHARLES ST STE 500                                                                                BALTIMORE       MD    21201‐4328
TOTAL DISTRIBUTION SERVICES, INC.       8459 DORSEY RUN RD                                                                                      JESSUP          MD    20794‐9304
TOTAL DISTRIBUTION SERVICES, INC./CSX   1245 E COLDWATER RD                                                                                     FLINT           MI    48505‐1701
CORPORATION
                                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                           Part 37 of 40 Pg 344 of 901
Name                                    Address1                             Address2                       Address3   Address4                  City                State Zip
TOTAL DISTRIBUTION SERVICES, INC./CSX   550 WATER STREET                                                                                         JACKSONVILLE         FL 32202
CORPORATION
TOTAL EVENT SOLUTIONS                   270 BELLEVUE AVENUE # 357                                                                                NEWPORT             RI   02840
TOTAL FILTRATION SERVICES               2911 RESEARCH DR                                                                                         ROCHESTER HILLS     MI   48309‐3579
TOTAL FILTRATION SERVICES INC           PO BOX 850                                                                                               GOODLETTSVILLE      TN   37070‐0850
TOTAL FILTRATION SERVICES INC           1941 WARREN ST                                                                                           NORTH KANSAS CITY   MO   64116‐4435
TOTAL FILTRATION SERVICES INC           2725 COMMERCE PKWY                                                                                       AUBURN HILLS        MI   48326‐1789
TOTAL FLOW PRODUCTS INC                 1197 ROCHESTER RD STE N                                                                                  TROY                MI   48083‐6031
TOTAL HEALTH CARE                       ATTN: LYLE ALGATE                    3011 W GRAND BLVD # 1600                                            DETROIT             MI   48202‐3000
TOTAL HEALTH CARE OF                    2900 HANNAH BLVD STE 200                                                                                 EAST LANSING        MI   48823‐5382
TOTAL INFORMATION INC                   844 DEWEY AVE                                                                                            ROCHESTER           NY   14613‐1902
TOTAL PACKAGE EXPRESS INC               5871 CHEVIOT RD STE 1                                                                                    CINCINNATI          OH   45247‐6200
TOTAL PACKAGING CONCEPTS                ATTN: JOHN DAHMER                    35 W HURON ST                                                       PONTIAC             MI   48342‐2120
TOTAL PLASTIC/AUBURN                    4260 GIDDINGS RD                                                                                         AUBURN HILLS        MI   48326‐1529
TOTAL PLASTICS INC                      2810 N BURDICK                                                                                           KALAMAZOO           MI   49004
TOTAL PLASTICS INC                      1661 NORTHFIELD DR                                                                                       ROCHESTER HILLS     MI   48309‐3825
TOTAL POWER INTERNATIONAL INC           418 BRIDGE ST                                                                                            LOWELL              MA   01850
TOTAL POWER LTD
TOTAL QUAL/COOKEVILL                    980 WALTON TRL                                                                                           COOKEVILLE          TN   38501‐4023
TOTAL QUALITY ASSURANCE LLC             3055 E BRISTOL RD                                                                                        BURTON              MI   48529‐1411
TOTAL QUALITY ASSURANCE LLC             PO BOX 67                                                                                                OWOSSO              MI   48867‐0067
TOTAL QUALITY INSTRUMENTATION           125 SECURITY PL                                                                                          COOKEVILLE          TN   38506‐4944
TOTAL QUALITY INSTRUMENTATION INC       FMLY TOTAL QUALITY INC 2/19/04       125 SECURITY PLACE NM/ADD AH                                        COOKEVILLE          TN   38506

TOTAL QUALITY LOGISTICS INC             ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 634558                                                       CINCINNATI          OH 45263‐4558
                                        AGENT
TOTAL SA                                ED GRANT                             315 AIRPORT RD                                                      LIVINGSTON          TN   38570‐1267
TOTAL SA                                BOB HANSON                           1060 CENTER ROAD                                                    AUBURN HILLS        MI   48326
TOTAL SA                                2870 FORBS AVE                                                                                           HOFFMAN ESTATE      IL   60192
TOTAL SA                                460 FULLER AVE NE                                                                                        GRAND RAPIDS        MI   49503‐1912
TOTAL SA                                460 FULLER AVE NE                    PO BOX 1886                                                         GRAND RAPIDS        MI   49503‐1912
TOTAL SA                                20303 1ST AVE                                                                                            CLEVELAND           OH   44130‐2433
TOTAL SA                                211 BOSTON ST                                                                                            MIDDLETON           MA   01949‐2128
TOTAL SA                                40 GUEST ST                                                                                              BRIGHTON            MA   02135‐2028
TOTAL SA                                2547 3 MILE RD NW STE B                                                                                  GRAND RAPIDS        MI   49534‐1358
TOTAL SA                                309 PRESS RD                                                                                             CHURCH HILL         TN   37642‐4602
TOTAL SA                                311 E ELM ST                                                                                             READING             MI   49274‐9581
TOTAL SA                                315 TUBULAR DR                                                                                           LIVINGSTON          TN   38570‐2203
TOTAL SA
TOTAL SA                                LA DEFENSE 6                         COURBEVOIE FR 92400                       FRANCE
TOTAL SA                                11320 W WATERTOWN PLANK RD                                                                               WAUWATOSA           WI   53226‐3413
TOTAL SA                                1150 S 3RD ST                                                                                            WYTHEVILLE          VA   24382‐3925
TOTAL SA                                1300 S COUNTY FARM RD                                                                                    ITHACA              MI   48847‐9480
TOTAL SA                                171 RTE 85                                                                                               NEWFIELDS           NH   03856
TOTAL SA                                1835 TECHNOLOGY DR                                                                                       TROY                MI   48083‐4244
TOTAL SA                                20 RUE DES MARTYRS                                                             JOUE LES TOURS FR 37300
                                                                                                                       FRANCE
TOTAL SA                                600 7TH ST                                                                                               CADILLAC            MI   49601‐1345
TOTAL SA                                KAREN BECK                           2547 3 MILE RD NW STE B                                             GRAND RAPIDS        MI   49534‐1358
TOTAL SA                                KAREN BECK                           2547 3 MILE RD. STE B                                               NEW HAVEN           CT
TOTAL SA                                LISA MAUSOLF                         315 TUBULAR                                                         READING             MI   49274
TOTAL SA                                LISA MAUSOLF                         315 TUBULAR DR                                                      LIVINGSTON          TN   38570‐2203
           09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                     Exhibit B
                                              Part 37 of 40 Pg 345 of 901
Name       Address1                              Address2                       Address3                   Address4                   City                  State Zip
TOTAL SA   LISA MAUSOLF                          C/O PROTRANS INTERNATIONAL INC 3101 W MILITARY HWY BLDG 2 WHITBY ON CANADA

TOTAL SA   LISA MAUSOLF                          CARRETERA PANAMERICAN KM                                                             TRAVERSE CITY          MI 49686
                                                 288.5
TOTAL SA   PELICANOS NO 313 COL SAN FERNANDO                                                                ENSENADA 22785 MEXICO

TOTAL SA   RICK NIE                              82 SOUTH ST                     BARRY CONTROLS                                       HOPKINTON             MA 01748‐2205
TOTAL SA   RICK NIE                              BARRY CONTROLS                  82 SOUTH STREET                                      HEBRON                KY 41048
TOTAL SA   ROUTE DE CRAON ZI DE BAZOUGES                                                                    CHATEAU GONTIER FR
                                                                                                            53200 FRANCE
TOTAL SA   TONY L. MOORE                         105 INDUSTRIAL PARK CR                                                               TELL CITY              IN   47586
TOTAL SA   RUA DAS PALMAS 84 JARDIM CALIFORNIA                                                              MONTE ALTO SP 15910‐000
                                                                                                            BRAZIL
TOTAL SA   RUE GUSTAVE NOURRY POINT 9                                                                       CHALETTE SUR LOING
                                                                                                            45120 FRANCE
TOTAL SA   ANTOINE CERISIER                      HUTCHINSON                      ZI ETRICHE ‐ ROUTE AVIRE                             PARMA                 OH 44130
TOTAL SA   AV INDUSTRIAL RIO BRAVO S/N                                                                      REYNOSA TM 88736
                                                                                                            MEXICO
TOTAL SA   711 E PORTER RD                                                                                                            MUSKEGON               MI 49441‐5978
TOTAL SA   721 FENGTING ROAD                                                                                SUZHOU JIANGSU CN
                                                                                                            215122 CHINA (PEOPLE'S
                                                                                                            REP)
TOTAL SA   721 FENGTING ROAD                     WEITING SUB DISTRICT                                       SUZHOU JIANGSU 215122
                                                                                                            CHINA (PEOPLE'S REP)
TOTAL SA   82 SOUTH ST                                                                                                                HOPKINTON             MA    01748‐2205
TOTAL SA   835 TERRE COUPE ST                                                                                                         BUCHANAN              MI    49107‐1034
TOTAL SA   8500 HAGGERTY STE 100                                                                                                      BELLEVILLE            MI    48111
TOTAL SA   AMY NASTASY                           1150 S 3RD ST                                                                        WYTHEVILLE            VA    24382‐3925
TOTAL SA   AMY NASTASY                           1150 S. 3RD STREET                                                                   MOERFELDEN‐WALLDORF   DE
TOTAL SA   AMY NASTASY                           171 RT E #85                                                                         NEWFIELDS             NH    03856
TOTAL SA   AMY NASTASY                           RR 650                                                                               HOWELL                MI    48843
TOTAL SA   AV INDUSTRIAL RIO BRAVO S/N           COLONIA PARQUE INDUSTRIAL DEL                              REYNOSA TM 88736
                                                 NORTE                                                      MEXICO
TOTAL SA   CARL GUENDELSBERGER                   250 EWING STREET                                                                     HUNTSVILLE             AL   35824
TOTAL SA   CUYO 3422                                                                                        MARTINEZ BUENOS AIRES B
                                                                                                            1640 ARGENTINA
TOTAL SA   ED GRANT                              1225 LIVINGSTON HWY             PLANT #2                                             BYRDSTOWN              TN 38549‐4497
TOTAL SA   ED GRANT                              449 READING AVENUE                                                                   JACKSON                MI
TOTAL SA   ERIC TRIMBLE                          460 FULLER AVE NE                                                                    GRAND RAPIDS           MI 49503‐1912
TOTAL SA   CARRETERA PANAMERICANA KM 288.5                                                                  CORTAZAR VILLAGRAN
                                                                                                            GUANAJUATO GJ 38300
                                                                                                            MEXICO
TOTAL SA   CHRIS LALLA                           CARRETERA PANAMERICANA KM                                  CORTAZAR VILLAGRAN GJ
                                                 288.                                                       38300 MEXICO
TOTAL SA   CHUCK VANHOVE                         C/O CASAS INTERNATIONAL BROKER 9355 AIRWAY RD STE 4                                  SANTA TERESA          NM 88008

TOTAL SA   ED GRANT                              PLANT #2                        1225 LIVINGSTON HWY        TLALNEPANTLA EM 54150
                                                                                                            MEXICO
TOTAL SA   ESTR DO BARREIRO S/N DISTRITO IND                                                                EXTREMA MG 37640 000
                                                                                                            BRAZIL
TOTAL SA   HANSASTR 66                                                                                      MANNHEIM BW 68169
                                                                                                            GERMANY
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                           Part 37 of 40 Pg 346 of 901
Name                                  Address1                          Address2                        Address3              Address4                  City              State Zip
TOTAL SA                              JOACHIM GLOKLER                   HANSASTR 66                                                                     LOS ANGELES        CA
TOTAL SA                              JOACHIM GLOKLER                   MIRU 29                                                                         CUNEWALDE 02733    DE
TOTAL SA                              JOHN ROZYCKI                      PO BOX 555/311                                                                  SPRINGDALE         AR 72764
TOTAL SA                              JULIEN ETIENNE                    HUTCHSINON                      721, FENGTING ROAD,   LIANYUNGANG CHINA
                                                                                                        WEITING SU            (PEOPLE'S REP)
TOTAL SA                              ZI ETRICHE E                                                                            SEGRE 49500 FRANCE
TOTAL SA                                                                LA DEFENSE 6                                          COURBEVOIE,FR,92400,FRA
                                                                                                                              NCE
TOTAL SA                              LA DEFENSE 6                                                                            COURBEVOIE FR 92400
                                                                                                                              FRANCE
TOTAL SERVICES INC                    PO BOX 1057                                                                                                       JEFFERSONVILLE    IN   47131‐1057
TOTAL SKIN FITNESS                    ATTN: SCOTT B KARLENE             1352 S LINDEN RD                                                                FLINT             MI   48532‐4185
TOTAL STRUCTURES                      1696 WALTER ST                                                                                                    VENTURA           CA   93003‐5619
TOTAL TEC/NASHVILLE                   26 CENTURY BLVD.                  COLONNADE LEVEL                                                                 NASHVILLE         TN   37214
TOTAL TECHNICAL SERVICES INC          PO BOX 279                                                                                                        HINCKLEY          OH   44233‐0279
TOTAL TEMPERATURE INSTRUMENTAT        8 LEROY RD                        PO BOX 1073                                                                     WILLISTON         VT   05495‐8965
TOTAL TEMPERATURE INSTRUMENTATION     8 LEROY RD                                                                                                        WILLISTON         VT   05495‐8965
INC
TOTAL TOOLING                         10‐12 RESEARCH DR                                                                       CROYDON SOUTH VI 3136
                                                                                                                              AUSTRALIA
TOTAL TRANSPORTATION & LOGISTICS INC PO BOX 1015                                                                                                        LAPEER            MI 48446‐5015

TOTAL TRANSPORTATION CORP             91 SPRING RUN ROAD EXT                                                                                            CORAOPOLIS        PA 15108‐9043
TOTAL TRANSPORTATION INC OF           PO BOX 2060                                                                                                       JACKSON           MS 39225‐2060
MISSISSIPPI
TOTAL TRANSPORTATION LOGISTICSINC     934 OLDHAM DR STE 102                                                                                             NOLENSVILLE       TN 37135‐8472

TOTAL TRANSPORTATION TRUCKING INC     5755 GRANGER RD                   STE 400                                                                         INDEPENDENCE      OH 44131‐1456

TOTAL TRANSPORTATION TRUCKING INC     MARK WENGLIKOWSKI                 5755 GRANFER RD STE 400                                                         INDEPENDENCE      OH 44131‐1456

TOTAL TRANSPORTATION TRUCKING, INC    GARY NEES                         5755 GRANGER RD                 STE 400                                         INDEPENDENCE      OH 44131‐1456

TOTAL TRAVEL MAN/TRO                  1441 E. MAPLE RD                                                                                                  TROY              MI 48083
TOTAL TRAVEL MANAGEMENT TRAVEL        1441 E MAPLE RD STE 100                                                                                           TROY              MI 48083‐4025
SERVICES INC
TOTAL TRAVEL/TROY                     1441 E. MAPLE RD.                                                                                                 TROY              MI 48083
TOTARELLA JOHN (448288)               KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                                   CLEVELAND         OH 44114
                                                                        BOND COURT BUILDING
TOTARELLA, JOHN                       KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                                    CLEVELAND         OH 44114
                                                                        BOND COURT BUILDING
TOTARO JAMES N (ESTATE OF) (451124)   WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                                 NEW YORK          NY 10038

TOTARO JASON & ALEX                   SIMANOVSKY                        2300 HENDERSON MILL RD NE STE                                                   ATLANTA           GA 30345‐2704
                                                                        300
TOTARO, JAMES                         WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                                 NEW YORK          NY   10038
TOTARO, NICHOLAS J                    6150 BERKLEY DR                                                                                                   ORCHARD PARK      NY   14127‐2332
TOTARO, NICHOLAS JAMES                6150 BERKLEY DR                                                                                                   ORCHARD PARK      NY   14127‐2332
TOTCH, MARK A                         11189 CROOKED LAKE RD NE                                                                                          ROCKFORD          MI   49341‐9018
TOTE & GO EXPRESS INC                 7523 MORTENVIEW DR                                                                                                TAYLOR            MI   48180‐2583
TOTE, HELEN R                         1094 RIDGE RD NE PO BOX 263                                                                                       VIENNA            OH   44473‐0263
TOTE, HELEN R                         PO BOX 263                        1094 RIDGE RD NE                                                                VIENNA            OH   44473‐0263
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                          Part 37 of 40 Pg 347 of 901
Name                                 Address1                            Address2                        Address3   Address4                   City          State Zip
TOTEDA, DONALD P                     102 MICHAELS AVE                                                                                          SYRACUSE       NY 13208‐1718
TOTEM OCEAN TRAILER EXPRESS EFINC    1100 OLIVE WAY STE 1100                                                                                   SEATTLE        WA 98101‐1870
TOTEM OCEAN TRAILER EXPRESS INC      PO BOX 24457                                                                                              SEATTLE        WA 98124‐0457
TOTEM OCEAN TRAILER EXPRESS, INC     JOEL HOUSTON                        500 E ALEXANDER AVE                                                   TACOMA         WA 98421‐4217
TOTEM TAXI                                                               105 W 3RD ST                                                                         NY 14901
TOTER INC                            841 MEACHAM RD                      PO BOX 5338                                                           STATESVILLE    NC 28677‐2983
TOTH                                 4252 POINTE AUX PEAUX                                                                                     NEWPORT        MI 48166‐9506
TOTH ALEX (448289) ‐ TOTH ALEX       BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD     OH 44067
                                                                         PROFESSIONAL BLDG
TOTH AUTO ELECTRIC                   36 SCOTT ST W UNIT 1                                                           ST CATHARINES ON L2R 1C9
                                                                                                                    CANADA
TOTH BUICK‐PONTIAC‐GMC TRUCK, INC.   EDWARD TOTH                         3300 S ARLINGTON RD                                                   AKRON         OH 44312‐5257

TOTH BUICK‐PONTIAC‐GMC TRUCK, INC.   3300 S ARLINGTON RD                                                                                       AKRON         OH 44312‐5257

TOTH III, FRANK S                    4292 E CANNONSVILLE RD                                                                                    STANTON       MI 48888‐9416
TOTH JAMES N (636619)                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK       VA 23510
                                                                         STREET, SUITE 600
TOTH JOSEPH                          104 AVENUE DE MONTE CARLO                                                      1190 BRUXELLES BELGIUM
TOTH JR, ALBERT                      2567 NILES VIENNA RD                APT 117                                                               NILES         OH   44446‐5403
TOTH JR, DAVID A                     1420 N SHEPARDSVILLE RD                                                                                   OVID          MI   48866‐9629
TOTH JR, DIMITRIE                    4750 SEYMOUR LAKE RD                                                                                      OXFORD        MI   48371‐4027
TOTH JR, JOHN L                      190 HOLLIDAY TRCE                                                                                         RAYMOND       MS   39154‐9569
TOTH JR, STEPHEN G                   3281 SHAWNEE COURT                                                                                        WATERFORD     MI   48329
TOTH KENNETH                         C/O GOLDBERG, PERSKY & WHITE, PC    1030 FIFTH AVENUE                                                     PITTSBURGH    PA   15219
TOTH LISA                            6535 SETTLEMENT SQ                                                                                        CLARKSTON     MI   48348‐4633
TOTH MICHAEL ALVIN (640603)          LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                            BIRMINGHAM    MI   48009‐5394
                                                                         406
TOTH MOTOR SALES INC
TOTH RICHARD (448290)                BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD    OH 44067
                                                                         PROFESSIONAL BLDG
TOTH STEVE A                         TOTH, STEVE A                       845 SOUTH CRAWFORD                                                    DETROIT       MI   48209
TOTH, ALBERT B                       1955 RANDI DR APT 335                                                                                     AURORA        IL   60504‐4853
TOTH, ALBERT L                       129 EADY CT                                                                                               ELYRIA        OH   44035‐4123
TOTH, ALEX                           1831 DETROIT ST                                                                                           DEARBORN      MI   48124‐4149
TOTH, ALICE                          9897 G‐SW‐88TH COURT RD                                                                                   OCALA         FL   34481
TOTH, ANDREW C                       1598 NW 143RD AVE                                                                                         PORTLAND      OR   97229‐4384
TOTH, ANN M                          PO BOX 11862                                                                                              TUCSON        AZ   85734‐1862
TOTH, ANTHONY M                      10460 LAKE RD                                                                                             MONTROSE      MI   48457‐9709
TOTH, ANTHONY MICHAEL                10460 LAKE RD                                                                                             MONTROSE      MI   48457‐9709
TOTH, CAROL L                        111 S MARTHA ST                                                                                           DEARBORN      MI   48124‐1402
TOTH, CATHERINE M                    1105 ROPER MOUNTAIN ROAD                                                                                  GREENVILLE    SC   29615‐4724
TOTH, CONRAD M                       25514 FARRO CT                                                                                            WARREN        MI   48089‐1011
TOTH, CRAIG A                        14166 WINDING POND LANE                                                                                   BELLEVILLE    MI   48111‐7105
TOTH, DAVE F                         PO BOX 981043                                                                                             YPSILANTI     MI   48198‐1043
TOTH, DEANNA L                       2321 NORTHAMPTON WAY                                                                                      LANSING       MI   48912‐3533
TOTH, DELMAR L                       4155 WYMAN RD                                                                                             TIPTON        MI   49287‐9751
TOTH, DOLORES M                      645 S CRAWFORD ST                                                                                         DETROIT       MI   48209‐3011
TOTH, DOLORES M                      645 SO CRAWFORD                                                                                           DETROIT       MI   48209‐3011
TOTH, DONALD J                       15850 33 MILE RD                                                                                          ARMADA        MI   48005‐3421
TOTH, DONALD L                       39603 BAROQUE BLVD                                                                                        CLINTON TWP   MI   48038‐2613
TOTH, DRISCILLA L                    5350 REVERE RUN                                                                                           CANFIELD      OH   44406‐8688
                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                        Part 37 of 40 Pg 348 of 901
Name                 Address1                        Address2                      Address3   Address4             City            State Zip
TOTH, ELIZABETH A    6535 SETTLEMENT SQ                                                                            CLARKSTON        MI 48348‐4633
TOTH, ERIC M         802 ANTIETAM DR                                                                               DOUGLASSVILLE    PA 19518‐8766
TOTH, FLORENCE       362 ORCHARD STREET                                                                            DELMAR           NY 12054‐9706
TOTH, FLORENCE K     233 W 7TH AVE                                                                                 ROSELLE          NJ 07203‐1961
TOTH, FLORENCE K     233 WEST 7TH AVE                                                                              ROSELLE          NJ 07203‐1961
TOTH, FRANCES S      2870 BEAL ST. N.W.                                                                            WARREN           OH 44485‐1208
TOTH, FRANCES S      2870 BEAL ST NW                                                                               WARREN           OH 44485‐1208
TOTH, FRANK S        5350 REVERE RUN                                                                               CANFIELD         OH 44406‐8688
TOTH, FREDA J        4810 BOND AVE NW                                                                              WARREN           OH 44483‐1726
TOTH, G J            7707 SORBETE DR                                                                               HOUSTON          TX 77083‐3683
TOTH, GARY D         PO BOX 8505                                                                                   WARREN           OH 44484‐0505
TOTH, GARY P         1631 GREENWICH DR                                                                             TROY             MI 48098‐4391
TOTH, GEORGE D       3617 SILVER SANDS DR                                                                          WATERFORD        MI 48329‐4259
TOTH, GEORGE J       13335 FIRESTONE CT                                                                            FENTON           MI 48430‐1217
TOTH, GEORGE L       5814 HOLLYWOOD DR                                                                             PARMA            OH 44129‐5221
TOTH, GERALD A       11337 S FOREST DR                                                                             PAINESVILLE      OH 44077‐8958
TOTH, HAZEL          9755 CHERRY HILL RD                                                                           YPSILANTI        MI 48198‐9421
TOTH, HELEN          148 MINNA AVE                                                                                 AVENEL           NJ 07001‐1208
TOTH, HELEN          2848 SILVERSTONE LN                                                                           WATERFORD        MI 48329‐4535
TOTH, HELEN M        368 KOERBER DR                                                                                DEFIANCE         OH 43512‐3318
TOTH, JAMES A        1468 KRA NUR DR                                                                               BURTON           MI 48509‐1635
TOTH, JAMES D        4920 PINE KNOB LN                                                                             CLARKSTON        MI 48346‐4059
TOTH, JAMES M        3431 HERITAGE BLVD              31 E. HATFIELD STREET                                         SWARTZ CREEK     MI 48473‐7941
TOTH, JAMES M        3431 HERITAGE BLVD                                                                            SWARTZ CREEK     MI 48473‐7941
TOTH, JAMES N        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510‐2212
                                                     STREET, SUITE 600
TOTH, JAMES W        2519 PIERCE ST                                                                                FLINT           MI   48503‐2834
TOTH, JANOS K        31201 OLMSTEAD RD                                                                             ROCKWOOD        MI   48173‐9774
TOTH, JIMMY R        3932 STARR RD                                                                                 HARRISON        MI   48625‐9231
TOTH, JOHN           202 STATE PARK DR                                                                             BAY CITY        MI   48706‐1763
TOTH, JOHN           371 PINEWOOD LN                                                                               RIDGELAND       MS   39157‐4150
TOTH, JOHN           32225 WARREN RD                                                                               GARDEN CITY     MI   48135‐1725
TOTH, JOHN           41 W SAXONY DR                                                                                NEW CASTLE      DE   19720‐8808
TOTH, JOHN           371 PINEWOOD LANE                                                                             RIDGELAND       MS   39157‐9157
TOTH, JOHN A         22812 N 20TH PL                                                                               PHOENIX         AZ   85024‐7533
TOTH, JOHN C         20496 ASHFORD CT                                                                              STRONGSVILLE    OH   44149‐6798
TOTH, JOHN F         39 STONEHILL DR                                                                               ROCHESTER       NY   14615‐1435
TOTH, JOHN S         11129 RIVERBEND CT W                                                                          PERRYSBURG      OH   43551‐3678
TOTH, JOSEPH A       7297 110TH ST                                                                                 FLUSHING        MI   48433‐8744
TOTH, JOSEPH A       11403 TRAILS NORTH DR                                                                         FORT WAYNE      IN   46845‐1314
TOTH, JOSEPH ALLEN   7297 110TH ST                                                                                 FLUSHING        MI   48433‐8744
TOTH, JOSEPH F       1091 CRESTWOOD DR                                                                             MANSFIELD       OH   44905‐1625
TOTH, JOSEPH S       277 HARLAN DR                                                                                 FRANKENMUTH     MI   48734‐1461
TOTH, JUDIT R        44 SUNSET STRIP                                                          ATHELSTONE SA 5076
                                                                                              AUSTRALIA
TOTH, JUDITH         88 CARMEN ROAD                                                                                EGGARTSVILLE    NY   14226
TOTH, JUDITH         88 CARMEN RD                                                                                  EGGERTSVILLE    NY   14226‐2115
TOTH, JUNE           939 S 95TH WAY                                                                                MESA            AZ   85208‐3008
TOTH, JUNE           205 FLORAL AVE                                                                                SAINT JOHNS     MI   48879‐1047
TOTH, KALMAN         745 LORAN TER                                                                                 MANSFIELD       OH   44903‐8799
TOTH, KENNETH D      8817 KINGSMILL DR                                                                             LAS VEGAS       NV   89134‐8619
TOTH, KRISTIN M      223 RIVER OAKS DR                                                                             MILFORD         MI   48381‐1036
                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                         Part 37 of 40 Pg 349 of 901
Name                  Address1                            Address2                     Address3   Address4         City               State Zip
TOTH, KRISTIN MARIE   223 RIVER OAKS DR                                                                            MILFORD             MI 48381‐1036
TOTH, LINDA L         3358 OAKMONT DR.                                                                             HUBBARD             OH 44425‐1301
TOTH, LOIS A.         5915 SWAN CREEK RD                                                                           SAGINAW             MI 48609‐7073
TOTH, LOUIS E         5203 NASHUA DRIVE                                                                            YOUNGSTOWN          OH 44515‐5141
TOTH, LOUIS E         5203 NASHUA DR                                                                               AUSTINTOWN          OH 44515‐5141
TOTH, LOUIS G         1906 LARCHWOOD CIR                                                                           PRESCOTT            AZ 86301‐1264
TOTH, MARCELLE L      22049 CANDACE DR                                                                             ROCKWOOD            MI 48173‐1079
TOTH, MARGARET        53165 FRANKLIN DR                                                                            UTICA               MI 48316‐2415
TOTH, MARGARET A      52106 PEBBLE CREEK DR                                                                        CHESTERFIELD        MI 48047
TOTH, MARGARET E      117 6TH AVE                                                                                  LA GRANGE            IL 60525‐2433
TOTH, MARGARET H      3425 TALLYWOOD LANE                                                                          SARASOTA            FL 34237‐3230
TOTH, MARIE C         26295 WEST ROSS AVENUE                                                                       BUCKEYE             AZ 85396
TOTH, MARIE C         26295 W ROSS AVE                                                                             BUCKEYE             AZ 85396‐9202
TOTH, MARY            15245 COLLEGE AVE                                                                            ALLEN PARK          MI 48101‐3042
TOTH, MARY L          14067 SWANEE BEACH RD                                                                        FENTON              MI 48430‐1468
TOTH, MICHAEL         10200 TORREY RD                                                                              WILLIS              MI 48191‐9777
TOTH, MICHAEL A       1212 OWANA AVE                                                                               ROYAL OAK           MI 48067‐5006
TOTH, MICHAEL ALVIN   LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                               BIRMINGHAM          MI 48009‐5394
                                                          406
TOTH, MICHAEL D       4252 POINTE AUX PEAUX                                                                        NEWPORT            MI   48166‐9506
TOTH, MICHAEL J       7110 DUTCH RD                                                                                SAGINAW            MI   48609‐9579
TOTH, MICHAEL P       15 RUSSELL CT                                                                                E FALLOWFIELD      PA   19320‐4252
TOTH, MICHAEL PAUL    15 RUSSELL CT                                                                                E FALLOWFIELD      PA   19320‐4252
TOTH, PAMELA W        1827 HENN HYDE RD NE                                                                         WARREN             OH   44484‐1236
TOTH, PATRICK M       17116 EDDON ST                                                                               MELVINDALE         MI   48122‐1222
TOTH, PETER J         669 BROOK HOLLOW RD                                                                          NASHVILLE          TN   37205‐3170
TOTH, PETER J         27 HALSTEAD RD                                                                               NEW BRUNSWICK      NJ   08901‐1618
TOTH, PHILLIP A       11820 COOLEY AVE                                                                             CLEVELAND          OH   44111‐4624
TOTH, RAYMOND P       250 SHERMAN CT                                                                               ORTONVILLE         MI   48462‐8501
TOTH, REBA D.         3333 OAK GROVE ROAD                                                                          HOWELL             MI   48855‐9300
TOTH, RICHARD S       8485 CRAIGLEIGH DR                                                                           PARMA              OH   44129‐6624
TOTH, RICHARD S       4270 TEMPLETON RD NW                                                                         WARREN             OH   44481‐9180
TOTH, ROBERT          4217 OAK ST                                                                                  GRAND BLANC        MI   48439‐3448
TOTH, ROBERT          6771 BEAR RIDGE RD                                                                           LOCKPORT           NY   14094‐9288
TOTH, ROBERT E        8123 S TROY ST                                                                               CHICAGO            IL   60652‐2616
TOTH, ROBERT J        1800 N FRANKLIN RD                                                                           GREENWOOD          IN   46143‐8860
TOTH, ROGER A         18248 BEAVER DAM RD                                                                          BEAVERDAM          VA   23015‐1403
TOTH, RONALD A        5760 E GRANT RD                                                                              TUCSON             AZ   85712
TOTH, RONALD J        5211 ERWIN ST                                                                                MAPLE HEIGHTS      OH   44137‐1527
TOTH, ROSE            10773 MELBOURNE                                                                              ALLEN PARK         MI   48101‐1185
TOTH, ROSE CAROL      507 LANCASTER COURT                                                                          SALINE             MI   48176‐1188
TOTH, RUBY MARY       1426 GREENCROFT                                                                              GOSHEN             IN   46526‐5138
TOTH, SADIE           9111 SHEPARD RD                                                                              MACEDONIA          OH   44056‐1451
TOTH, SADIE           9111 SHEPARD ROAD                                                                            MACEDONIA          OH   44056‐1451
TOTH, SANDRA B        1904 FARMDALE                                                                                MINERAL RIDGE      OH   44440‐9506
TOTH, SANDRA B        1904 FARMDALE AVE                                                                            MINERAL RIDGE      OH   44440‐9506
TOTH, SANDRA L        332 WESTGATE RD                                                                              KENMORE            NY   14217‐2212
TOTH, SARAH E         2210 OLD LEWIS RD                                                                            JOHNSON CITY       TN   37601‐9282
TOTH, SCOTT W         34243 WHITTAKER ST                                                                           CLINTON TOWNSHIP   MI   48035‐3379
TOTH, STEPHAN D       59 APPLEGATE RD                                                                              JOBSTOWN           NJ   08041‐2202
TOTH, STEPHEN J       4608 E PEACHTON DR                                                                           PORT CLINTON       OH   43452‐2954
TOTH, STEVE A         8262 ROSELAWN ST                                                                             WESTLAND           MI   48185‐1674
                                   09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                      Part 37 of 40 Pg 350 of 901
Name                               Address1                        Address2                     Address3   Address4              City               State Zip
TOTH, STEVEN W                     7862 WESTWIND LN                                                                              CINCINNATI          OH 45242‐5009
TOTH, SUSAN A                      44181 CROFTON CT                                                                              CANTON              MI 48187‐1909
TOTH, SUSAN M                      745 LORAN TER                                                                                 MANSFIELD           OH 44903‐8799
TOTH, SUSAN V                      30136 FERNHILL DR                                                                             FARMINGTON HILLS    MI 48334‐2034
TOTH, TONI                         27 HALSTEAD RD                                                                                NEW BRUNSWICK       NJ 08901‐8901
TOTH, VIOLET                       44181 CROFTON CT                                                                              CANTON              MI 48187‐1909
TOTH, VIRGINIA E                   36260 LAKE SHORE BLVD APT 303                                                                 EASTLAKE            OH 44095‐1447
TOTH, WALTER B                     3610 GROVELAND RD                                                                             ORTONVILLE          MI 48462‐8471
TOTH, WILLIAM A                    5013 CHICKASAW TRL                                                                            FLUSHING            MI 48433‐1097
TOTH, WILLIAM B                    10550 EDGERTON RD                                                                             NORTH ROYALTON      OH 44133‐5560
TOTH, WILLIAM F                    28 NIGHTENGALE AVE                                                                            MASSENA             NY 13662‐1715
TOTH, WILLIAM F.                   28 NIGHTENGALE AVE                                                                            MASSENA             NY 13662‐1715
TOTH, WILLIAM J                    39720 SYLVIA ST                                                                               HARRISON TWP        MI 48045‐1538
TOTH, WILLIAM L                    87 GRACE ST                                                                                   BUFFALO             NY 14207‐2007
TOTH,STEVEN W                      7862 WESTWIND LN                                                                              CINCINNATI          OH 45242‐5009
TOTH‐ BROWN, VIRGINIA M            3492 WILD LILAC RD APT 308                                                                    THOUSAND OAKS       CA 91360‐8489
TOTH‐CEKUTA, BONITA G              2193 BURBANK AVE                                                                              YOUNGSTOWN          OH 44509‐1525
TOTH‐MACLAREN MARY ANN             44471 MARC TRL                                                                                PLYMOUTH            MI 48170‐3948
TOTH‐MARR, DOLORES J               3474 AMBER OAKS DR                                                                            HOWELL              MI 48055‐7100
TOTHEROW, LAWRENCE                 1457 EAGLE BEND RD                                                                            BLAIRSVILLE         GA 30512‐1816
TOTHILL, TIMOTHY E                 5978 PARK LN                                                                                  OLCOTT              NY 14126
TOTHILL, TIMOTHY E                 PO BOX 236                                                                                    OLCOTT              NY 14126‐0236
TOTIN, JULIE I                     327 CANTERBURY COURT                                                                          SHARPSVILLE         PA 16150‐1432
TOTMAN, HILDA M                    2373 HARRISON AVENUE            APT. # 163                                                    CINCINNATI          OH 45211
TOTMAN, RONALD L                   1223 HIRAM ST                                                                                 OWOSSO              MI 48867‐4135
TOTO EOVENO                        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS.         OH 44236
TOTO, ANDREA M                     2088 CRYSTAL MARIE DR                                                                         BEAVERCREEK         OH 45431‐3338
TOTO, JAMES F                      4545 STONECROFT CT                                                                            MURRYSVILLE         PA 15668‐1444
TOTO, NINO                         57 POPLAR AVE.                                                                                NILES               OH 44446‐3929
TOTO, NINO                         57 POPLAR AVE                                                                                 NILES               OH 44446‐3929
TOTO, SCARLETT K                   4160 LAKE PASS LN                                                                             SUWANEE             GA 30024‐8495
TOTO, VINCENT J                    414 KENMORE AVE SE                                                                            WARREN              OH 44483‐6151
TOTOK STEVEN                       1411 NORFOLK AVE                                                                              GRAND BLANC         MI 48439‐5173
TOTOK, STEVEN                      1411 NORFOLK AVE                                                                              GRAND BLANC         MI 48439‐5173
TOTON, BERNARD                     2455 E RATTALEE LAKE RD                                                                       HOLLY               MI 48442‐8653
TOTON, EDWARD J                    2898 QUAIL RUN DR                                                                             TROY                MI 48098‐4125
TOTON, ERICA L                     4265 MAPLE BOULEVARD                                                                          W BLOOMFIELD        MI 48323‐1270
TOTORO, JAMES L                    1445 MAYBERRY LN                                                                              FRANKLIN            TN 37064‐9613
TOTSIE LAGADINOS                   540 NW HILLERY ST                                                                             BURLESON            TX 76028‐3537
TOTT, JEAN M                       663 NIAGARA BLVD                                                        FORT ERIE ON L2A3H9
                                                                                                           CANADA
TOTTA, MARGARET S                  222 ARLINGTON BLVD                                                                            NEWTON FALLS       OH 44444‐1703
TOTTEN JR, ALBERT S                1110 BERNARDO BLVD                                                                            LADY LAKE          FL 32159‐5798
TOTTEN SIMS HUBICKI ASSOC (1997)
TOTTEN SIMS HUBICKI ASSOCIATES     300 WATER STREET                                                        WHITBY ON L1N 9J2
                                                                                                           CANADA
TOTTEN, BRADLEY J                  5850 PENNEKAMP DR                                                                             PLAINFIELD         IN   46168‐7506
TOTTEN, CHRISTINE LOUISE           12252 NEFF ROAD                                                                               CLIO               MI   48420‐1807
TOTTEN, DIRK A                     5239 MULHOLLAND DRIVE                                                                         SUMMERVILLE        SC   29485‐8077
TOTTEN, DONNIE A                   LOT 203                         707 STATE ROUTE 28                                            MILFORD            OH   45150‐5010
TOTTEN, GERALD C                   5346 W FRANCES RD                                                                             CLIO               MI   48420‐8550
TOTTEN, GORDON N                   476 ROSWAE DR.                                                                                CORTLAND           OH   44410
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                 Part 37 of 40 Pg 351 of 901
Name                          Address1                         Address2             Address3       Address4         City             State Zip
TOTTEN, JAMES C               2829 COUNTY LINE RD                                                                   BATES CITY        MO 64011‐8218
TOTTEN, JOHN L                405 REID DR                                                                           DOTHAN            AL 36301‐5267
TOTTEN, JOHN LEONARD          405 REID DRIVE                                                                        DOTHAN            AL 36301‐5267
TOTTEN, KATHLEEN M            9515 198TH AVE E UNIT 151                                                             BONNEY LAKE       WA 98391‐6395
TOTTEN, KATHLEEN M            9515 198 AVE EAST                APT #151                                             BONNEY LAKE       WA 98391
TOTTEN, KEITH E               5017 S WASHINGTON AVE                                                                 LANSING           MI 48910‐5372
TOTTEN, LAURA M               9736 ROSE ARBOR DR                                                                    DAYTON            OH 45458‐4000
TOTTEN, LEO O                 403 SW 4TH ST                                                                         FAIRFIELD          IL 62837‐1750
TOTTEN, LYNN A                9500 WARNER RD                                                                        HASLETT           MI 48840‐9237
TOTTEN, MAMIE MAXINE          10133 LAPEER RD #114                                                                  DAVISON           MI 48423‐8196
TOTTEN, MARK A                7086 E COUNTY ROAD 100 S                                                              AVON              IN 46123‐7546
TOTTEN, MARK ALAN             7086 E COUNTY ROAD 100 S                                                              AVON              IN 46123‐7546
TOTTEN, MARY K                2337 WILSON SHARPSVILLE RD                                                            CORTLAND          OH 44410‐9304
TOTTEN, MARY K                2337 WILSON‐SHARPSVILLE RD                                                            CORTLAND          OH 44410‐9304
TOTTEN, PATRICK A             425 HEMPHILL RD                  APT B                                                FLINT             MI 48507
TOTTEN, PATRICK A             425 E HEMPHILL RD APT B                                                               FLINT             MI 48507‐2628
TOTTEN, PATRICK ALBERT        425 E HEMPHILL RD APT B                                                               FLINT             MI 48507‐2628
TOTTEN, PAUL D                317 W MADISON ST APT D                                                                GARDNER           KS 66030‐1849
TOTTEN, PHILLIP F             10531 SARASOTA RD                                                                     PORT CHARLOTTE    FL 33981‐5168
TOTTEN, ROBERT L              2424 CANOE CIRCLE DR                                                                  LAKE ORION        MI 48360‐1883
TOTTEN, ROBERT W              297 FAIRGROVE ST                                                                      ROMEO             MI 48065‐4741
TOTTEN, RONALD E              11250 S POST RD                                                                       GUTHRIE           OK 73044‐8563
TOTTEN, RYLAND W              103 W SOUTH B ST                                                                      GAS CITY          IN 46933‐1718
TOTTEN, THEODORE B            137 VILLAGE TRCE                                                                      FRANKLIN          NC 28734‐6245
TOTTEN, W E                   904 UPTON RD                                                                          YOUNGSTOWN        OH 44509‐3040
TOTTEN, WILLIAM A             8351 DRAKE STATELINE RD NE                                                            BURGHILL          OH 44404‐9768
TOTTEN, WILLIAM E             8603 WINTERGREEN CT UNIT 401                                                          ODENTON           MD 21113‐3766
TOTTEN, WILLIAM R             30 CONCORD AVE                                                                        TRENTON           NJ 08619‐2402
TOTTERDALE, THOMAS C          13880 LAZY LN                                                                         FORT MYERS        FL 33905‐1817
TOTTINGHAM, B W               3192 VAN DYKE RD                                                                      ALMONT            MI 48003‐8031
TOTTINGHAM, DANIEL L          2429 CHESANING RD                                                                     MONTROSE          MI 48457‐9322
TOTTINGHAM, MARY J            1284 FLORENCE AVE                                                                     WATERFORD         MI 48328
TOTTSER TOOL & DIE            KEN MCINTOSH                     935 JAYMOR RD                                        SOUTHAMPTON       PA 18966‐3819
TOTTSER TOOL & DIE            KEN MCINTOSH                     935 JAYMORE                                          BATTLE CREEK      MI 49015
TOTTSER TOOL & DIE SHOP INC   KEN MCINTOSH                     935 JAYMOR RD                                        SOUTHAMPTON       PA 18966‐3819
TOTTSER TOOL & DIE SHOP INC   KEN MCINTOSH                     935 JAYMORE                                          BATTLE CREEK      MI 49015
TOTTY, DONALD L               433 GRANDVIEW OAKS DR                                                                 UNION             MO 63084‐4486
TOTTY, DOUGLAS W              3774 AVONDALE AVE                                                                     SNYDER            TX 79549‐5314
TOTTY, EVERETT A              386 VILLAGE GREEN BLVD APT 102                                                        ANN ARBOR         MI 48105‐3623
TOTTY, GARY L                 488 VAN CAMP SQ                                                                       GREENWOOD         IN 46143‐1615
TOTZKE, JONATHAN H            329 CHESTNUT AVE                                                                      HAZEL PARK        MI 48030‐1325
TOUBEAU, ANITA E              3490 SEMINOLE CR                                                                      PORT CHARLOTTE    FL 33953‐5738
TOUBEAU, ROBERT C             PO BOX 238                                                                            MEDFIELD          MA 02052‐0238
TOUCH BOARDS/LONG BR          205 WESTWOOD AVE                                                                      LONG BRANCH       NJ 07740‐6564
TOUCH BY AN ANGEL             ATTN: CASSANDRA COLE             1269 KYLEDAVID WAY                                   KOKOMO            IN 46901‐1895
TOUCH OF GRACE MINISTRIES     5111 HARRY S TRUMAN DR                                                                GRANDVIEW         MO 64030‐6704
TOUCH TRANSPORTATION          476 THOMAS DR                                                                         BENSENVILLE        IL 60106‐1619
TOUCH/CHATTANOOGA             PO BOX 23344                                                                          CHATTANOOGA       TN 37422‐3344
TOUCHECK, DOROTHY E           PO BOX 12382                                                                          JACKSON           TN 38308‐0140
TOUCHETTE JR, DOUGLAS L       7893 CIRCLE BLVD                                                                      W BLOOMFIELD      MI 48323‐1207
TOUCHETTE, EDNA               2713 109TH ST                                                                         LUBBOCK           TX 79423‐6042
TOUCHETTE, JAMES C            5209 BOHLEYSVILLE RD                                                                  MILLSTADT          IL 62260‐2311
                                    09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                        Part 37 of 40 Pg 352 of 901
Name                               Address1                          Address2                      Address3              Address4         City              State Zip
TOUCHETTE, JOANNE B                10207 N BRAY RD                                                                                        CLIO               MI 48420‐9774
TOUCHETTE, JOSEPH                  14 FELLSVIEW AVE                                                                                       MEDFORD            MA 02155‐1807
TOUCHETTE, LARRY E                 PO BOX 352                        4451 BUTLER RD                                                       MARLETTE           MI 48453‐0352
TOUCHETTE, STEVEN P                20219 PIKE 306                                                                                         BOWLING GREEN      MO 63334‐4413
TOUCHIE, IRVINE F                  7471 GREEN MEADOW LN                                                                                   CANTON             MI 48187‐3680
TOUCHON, JOSEPH E                  PO BOX 1281                                                                                            GOLDTHWAITE        TX 76844‐1281
TOUCHSTONE PHYILLIS                976 SWANSON RD                                                                                         RINGGOLD           GA 30736‐4130
TOUCHSTONE RESEARCH LABORATORY LTD THE MILLENNIUM CENTRE             RR1                           BOX 100B                               TRIADELPHIA        WV 26059

TOUCHSTONE SERVICES INC            ATTN: KAREN AMON                  1301 N MADISON AVE                                                   BAY CITY          MI   48708‐5929
TOUCHSTONE, CARL E                 PO BOX 962                                                                                             SALEM             NJ   08079‐0962
TOUCHSTONE, CHARLES P              5224 BEECHWOOD FOREST CT                                                                               LITHONIA          GA   30038‐3901
TOUCHSTONE, RANDALL G              PO BOX 524                                                                                             MIDDLETOWN        DE   19709‐0524
TOUCHSTONE, RANDALL G              120 GREEN MEADOW CIR                                                                                   TOWNSEND          DE   19734‐9038
TOUCHTON JOHN H (660959)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA   23510
                                                                     STREET, SUITE 600
TOUCHTON, JOHN H                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK           VA 23510‐2212
                                                                     STREET, SUITE 600
TOUDLE RONALD L                    7048 HYDE ST                                                                                           DETROIT           MI   48211‐2418
TOUDLE, RONALD L                   7048 HYDE ST                                                                                           DETROIT           MI   48211‐2418
TOUGALOO COLLEGE                   500 W COUNTY LINE RD                                                                                   TOUGALOO          MS   39174‐9700
TOUGAS, BRUCE W                    732 BROOKS RD                                                                                          W HENRIETTA       NY   14586‐9641
TOUGAS, DENIS R                    6115 BRADFORD DR                                                                                       SHREVEPORT        LA   71119‐3603
TOUGAS, DENIS RAYMOND              6115 BRADFORD DR                                                                                       SHREVEPORT        LA   71119‐3603
TOUGAS, DOUGLAS F                  84 DAFFODIL TRL                                                                                        ROCHESTER         NY   14626‐4712
TOUGAS, PHILIP E                   9328 S 44TH CT                                                                                         FRANKLIN          WI   53132‐8838
TOUGAS, PHILIP EDDY                9328 S 44TH CT                                                                                         FRANKLIN          WI   53132
TOUGH, CAROL L                     2644 MUNSTER RD                                                                                        ROCHESTER HILLS   MI   48309‐2324
TOUGH, KENDALL J                   10817 NESTLENOOK CIR                                                                                   MATHER            CA   95655‐3079
TOULA KARANICOLAS                  7243 39TH LN E                                                                                         SARASOTA          FL   34243‐5134
TOULIS, EARL E                     8320 W DELPHI PIKE                                                                                     CONVERSE          IN   46919‐9318
TOULON, PATRICK P                  24 TYLER CT                                                                                            WENTZVILLE        MO   63385‐4665
TOULOUSE TIRE AND AUTO             5376 US HIGHWAY 231                                                                                    WETUMPKA          AL   36092‐3167
TOULOUSE, EDWARD J                 10165 S BRAY RD                                                                                        CLIO              MI   48420‐7712
TOUMAZOS, ANNA M                   2729 ERBACON RD                                                                                        COWEN             WV   26206‐8557
TOUMAZOS, GEORGE                   8966 ALTURA DR NE                                                                                      WARREN            OH   44484‐1730
TOUMAZOS, GEORGE                   PO BOX 773                                                                                             WARREN            OH   44482‐0773
TOUNDAS MOTOR SPORTS GROUP INC     1092 CENTRE RD                                                                                         AUBURN HILLS      MI   48326
TOUNDAS MOTORSPORTS GROUP INC      TMG SPORTS MARKETING INC          1092 CENTRE RD                ADD CHNG PER GOI AM                    AUBURN HILLS      MI   48326
                                                                                                   05/16/03
TOUNDAS, PETER A INC               1092 CENTRE RD                                                                                         AUBURN HILLS      MI   48326
TOUNE, NICOLE K                    3849 MESA VERDE BLVD                                                                                   DEWITT            MI   48820‐7882
TOUNG, GORDON A                    247 MEADOW LN                                                                                          WEBSTER           NY   14580‐1413
TOUNG, LILLIAN A                   54 RANSFORD AVE                                                                                        ROCHESTER         NY   14622‐3134
TOUNGETT JR, HENRY J               187 CAMPBELLSVILLE PIKE                                                                                ETHRIDGE          TN   38456‐5011
TOUNSAND, WELDON E                 2476 COUNTY ROAD 766                                                                                   JONESBORO         AR   72401‐6983
TOUNSEL JR, DANIEL J               4436 PINEHURST DR                                                                                      W BLOOMFIELD      MI   48322‐4476
TOUNSEL JR, DANIEL JAMES           4436 PINEHURST DR                                                                                      W BLOOMFIELD      MI   48322‐4476
TOUNSEL, VERNON R                  23631 HAZEN ST                                                                                         SOUTHFIELD        MI   48033‐2506
TOUNSEY BOWSER                     PO BOX 42                                                                                              NEW LEBANON       OH   45345‐0042
TOUNSEY M BOWSER                   PO BOX 42                                                                                              NEW LEBANON       OH   45345‐0042
TOUNTAS, ANTHONY                   PO BOX 4683                                                                                            YOUNGSTOWN        OH   44515‐0683
                                 09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                     Part 37 of 40 Pg 353 of 901
Name                             Address1                               Address2                        Address3   Address4         City                 State Zip
TOUNTAS, JOHN G                  3189 HIDDEN BROOK DR                                                                               RAVENNA               OH 44266‐9058
TOUPIN, ANGELINE M               1361 S GREENFIELD RD APT 1099                                                                      MESA                  AZ 85206‐3392
TOUPIN, BRIAN D                  42401 EHRKE DR                                                                                     CLINTON TOWNSHIP      MI 48038‐3612
TOUPIN, DANIEL E                 21805 VAN DYKE AVE                                                                                 WARREN                MI 48089‐2361
TOUPIN, JOANNE D                 20009 S GREAT OAKS CIR                                                                             CLINTON TWP           MI 48036‐2441
TOUPIN, JOANNE D                 20009 GREAT OAKS CIRCLE "S"                                                                        CLINTON TWP           MI 48036‐2441
TOUPIN, JOHN P                   3651 LEXINGTON DR                                                                                  AUBURN HILLS          MI 48326‐3976
TOUPIN, JOSEPH W                 1513 WOODLAWN AVE                                                                                  ROYAL OAK             MI 48073‐2851
TOUPIN, LINDA J                  14120 NESTING WAY APT D                                                                            DELRAY BEACH          FL 33484‐8610
TOUPS BRIAN M                    TOUPS, BRIAN M                         201 SANSOME STREET SUITE 1000                               SAN FRANCISCO         CA 94104
TOUPS, ARNOLD                    PORTER & MALOUF PA                     4670 MCWILLIE DR                                            JACKSON               MS 39206‐5621
TOUPS, BRIAN M                   FURTH FIRM LLP                         201 SANSOME STREET SUITE 1000                               SAN FRANCISCO         CA 94104
TOUPS, DALTON R                  834 VERNAL LN                                                                                      SHREVEPORT            LA 71118‐4126
TOUPS, EUGENE J                  COON BRENT & ASSOCIATES                215 ORLEANS ST                                              BEAUMONT              TX 77701‐2221
TOUPS, NANETTE M                 5013 HIGH RIDGE ET                                                                                 MIDLAND               MI 48640
TOUPS, NANETTE MARIE             2425 MACKIN RD                                                                                     FLINT                 MI 48504‐3369
TOUQUET, DENNIS L                8441 5 POINT HWY                                                                                   EATON RAPIDS          MI 48827‐8032
TOURANGEAU, BARBARA J            33755 PINE RIDGE DR W                                                                              FRASER                MI 48026‐5020
TOURDOT, KATHRYN A               LOT 109                                6219 SOUTH US HIGHWAY 51                                    JANESVILLE            WI 53546‐9512
TOURDOT, KATHRYN A               6219 S US HIGHWAY 51 LOT 109                                                                       JANESVILLE            WI 53546‐9429
TOURDOT, MICHAEL T               511 LAKE STREET                                                                                    PARDEEVILLE           WI 53954
TOURDOT, SHARON A                1036 SENTINEL DR                                                                                   JANESVILLE            WI 53546
TOURE LEE                        2231 W LINCOLN ST                                                                                  BIRMINGHAM            MI 48009‐1838
TOURE LYLE                       5535 WINDERMERE DR                                                                                 GRAND BLANC           MI 48439‐9632
TOUREAU, MAUREEN M               2139 AVALON CIR                                                                                    BAY CITY              MI 48708‐7621
TOUREAU, MITCHELL R              1105 DESANDER RD                                                                                   MONTROSE              MI 48457‐9310
TOUREAU, RICHARD R               2139 AVALON CIR                                                                                    BAY CITY              MI 48708‐7621
TOURGEE & ASSOCIATES INC         11155 DOLFIELD BLVD                    STE 210                                                     OWINGS MILLS          MD 21117‐3288
TOURGEE, WILLIAM J               RR 3                                                                                               BERKLEY               MA 02779
TOURIKIS, TOMAS J                120 LEEDS ST                                                                                       WALLED LAKE           MI 48390‐3639
TOURIST TRANSMISSION             1016 S STATE ST                                                                                    SALT LAKE CITY        UT 84111‐4513
TOURLE, GORDON G                 412 GLADSTONE PL 106                                                                               SUN CITY CENTER       FL 33573
TOURNAMENT OF CHAMPIONS          2330 GOODWOOD BLVD SE                                                                              SMYRNA                GA 30080‐8207
TOURNAMENT PLAYERS CLUB          11444 TOURNAMENT PLAYERS PKWY          PARKWAY                                                     BLAINE                MN 55449‐5665
TOURNAMENTS FOR CHARITY          DBA WENDYS CHAMPIONSHIP FOR            6189 MEMORIAL DR                                            DUBLIN                OH 43017‐9000
TOURNAUD, ROBERT                 8973 GLASGOW DR                                                                                    WHITE LAKE            MI 48386‐3316
TOURNEY, PATRICIA A              37650 JUMIPER DR                                                                                   STERLING HTS          MI 48310‐3948
TOURNEY, PATRICIA A              1071 COUNTRY CLUB DR                                                                               SAINT CLAIR SHORES    MI 48082‐2944
TOURO COLLEGE                    EMPIRE STATE BLDG STE 1700 350 FIFTH                                                               NEW YORK              NY 10118
                                 AVE
TOURO UNIVERSITY INTERNATIONAL   5665 PLAZA DR FL 3                                                                                 CYPRESS              CA 90630‐5041
TOUROO, CARRIE L                 1190 S DAWN DR                                                                                     FREELAND             MI 48623‐9066
TOUROO, PATRICIA                 1347B CHIPPENDALE CIR                                                                              COLUMBIA             TN 38401‐7206
TOURTOISE, TERRY
TOURVILLE DUANE (400985)         GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510
                                                                        STREET, SUITE 600
TOURVILLE JOHN R (410844)        GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510
                                                                        STREET, SUITE 600
TOURVILLE, DUANE                 GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510‐2212
                                                                        STREET, SUITE 600
TOURVILLE, JAMES P               562 12TH TRAIL                                                                                     COTOPAXI             CO 81223‐9726
TOURVILLE, JAMES P               562 12TH TRL                                                                                       COTOPAXI             CO 81223‐9726
                              09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                   Part 37 of 40 Pg 354 of 901
Name                          Address1                          Address2                         Address3   Address4         City               State Zip
TOURVILLE, JANET              3662 ST. MARY                                                                                  AUBURN HILLS        MI 48326‐1442
TOURVILLE, JANET              3662 SAINT MARYS ST                                                                            AUBURN HILLS        MI 48326‐1442
TOURVILLE, JOHN R             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA 23510‐2212
                                                                STREET, SUITE 600
TOURVILLE, LOUIS V            5194 LIVE OAK DR                                                                               SMITHTON           IL   62285‐3748
TOURVILLE, MICHAEL E          415 ROWLETTS ST                                                                                MUNFORDVILLE       KY   42765‐7614
TOURVILLE, ROBERT K           52 LAUREL ST                                                                                   CLINTON            MA   01510‐1622
TOURVILLE, RONALD A           64 CROMP RD                                                                                    CHATEAUGAY         NY   12920‐5311
TOURVILLE, WILLIAM J          61020 EVERGREEN CT 15                                                                          SOUTH LYON         MI   48178
TOUS JR, JAMES                14781 CALUSA PALMS DR APT 101                                                                  FORT MYERS         FL   33919‐7785
TOUSA, LISA J                 8901 VANTAGE POINT DR APT 1421                                                                 DALLAS             TX   75243‐3583
TOUSAINT, MACK                8946 BRANDON DR                                                                                SHREVEPORT         LA   71118‐2327
TOUSE, BRUCE A                15421 DURANT ST                                                                                SILVER SPRING      MD   20905‐4212
TOUSE, JOHN R                 66636 KLETT RD                                                                                 CONSTANTINE        MI   49042‐9620
TOUSIGNANT, RICHARD G         11954 SWAN VIEW DR                                                                             BROOKLYN           MI   49230‐8527
TOUSIGNANT, RICHARD GERALD    11954 SWAN VIEW DR                                                                             BROOKLYN           MI   49230‐8527
TOUSLEY BRAIN STEPHENS PLLC   IOLTA TRUST ACCOUNT               2831 COLBY AVE                                               EVERETT            WA   98201‐3512
TOUSLEY, MICHAEL A            919 WAXEN WAY                                                                                  GRAND LEDGE        MI   48837‐2247
TOUSLEY, MITCHELL C           11401 PODUNK AVE NE                                                                            GREENVILLE         MI   48838‐8300
TOUSSAINT ROBERT P            MARVIN K BROWN SAAB               1441 CAMINO DEL RIO S                                        SAN DIEGO          CA   92108‐3521
TOUSSAINT, GUY                2430 NW 137TH TER                                                                              SUNRISE            FL   33323‐5338
TOUSSAINT, KEN                203 QUINCY STREET                                                                              BROOKLYN           NY   11216‐1398
TOUSSAINT, ROBIN A            45 RENTON CT                                                                                   BLOOMFIELD HILLS   MI   48304‐2152
TOUT, HERNLEY R               14250 W MOUNT HEALTHY RD          C/O PATRICK W. HARRISON                                      COLUMBUS           IN   47201‐2797
TOUT, JAMES E                 4712 N TEMPLIN RD                                                                              MARTINSVILLE       IN   46151‐6323
TOUT, MARGARET J              153 LANDING LN                                                                                 BLUFFTON           SC   29909‐6062
TOUTANT MILDRED ESTATE OF     904 SCHAFFERNOTH PL                                                                            SPRINGFIELD        NJ   07081‐3502
TOUVELLE, C W                 PO BOX 224                                                                                     NEW CUMBERLAND     WV   26047‐0224
TOUZEAU, MARVIN R             11784 STONERIDGE CT                                                                            SOUTH LYON         MI   48178‐6662
TOVA DODGSON                  417 WARREN AVE                                                                                 NILES              OH   44446‐1610
TOVAH M MYLES                 4492 RIVERSIDE DR. 1‐C                                                                         DAYTON             OH   45405‐1236
TOVAL, ALMA                   8200 E JEFFERSON AVE APT 101                                                                   DETROIT            MI   48214
TOVAR JR., RAMON              2305 PARK RIDGE DR                                                                             PLAINFIELD         IL   60586‐5239
TOVAR, ANGEL M                8933 SW 123RD CT APT 304                                                                       MIAMI              FL   33186
TOVAR, CONSUELO S             30169 ST. MARTIN'S STREET         APT.518                                                      LOVONIA            MI   48152
TOVAR, CONSUELO S             627 FLEMING ST                                                                                 HOWELL             MI   48843‐2612
TOVAR, ESTELLA S              600 W WALTON BLVD APT 237                                                                      PONTIAC            MI   48340‐1098
TOVAR, GUILLERMO              21247 REDMOND AVE                                                                              EASTPOINTE         MI   48021‐2984
TOVAR, HUMBERTO B             PO BOX 737                                                                                     TECUMSEH           OK   74873‐0737
TOVAR, HUMBERTO B             C/O LINDA HIGHTOWER               PO BOX 543, 417 E BEECH STREET                               TECUMSEH           OK   74873
TOVAR, JORGE
TOVAR, MARIO                  332 N TOWNLINE RD                                                                              SANDUSKY           MI   48471‐9722
TOVAR, MARTHA M               1210 SHELBY ST                                                                                 SANDUSKY           OH   44870
TOVAR, NICK                   213 W NEW YORK AVE                                                                             PONTIAC            MI   48340‐1154
TOVAR, PHILLIP V              PO BOX 51822                                                                                   SPARKS             NV   89435‐1822
TOVAR, RAYMOND                2238 LIPSCOMB ST                                                                               FORT WORTH         TX   76110‐2049
TOVAR, ROBERTO D              2709 MOSSWOOD DR                                                                               SAN JOSE           CA   95132‐2256
TOVAR, THOMAS M               130 NORTHCREST CIR                                                                             NAPOLEON           OH   43545‐9689
TOVAR, VICTOR M               8749 LEE RD                                                                                    BRIGHTON           MI   48116‐2201
TOVES, JOSEPH R               39678 WILD FLOWER DRIVE                                                                        MURRIETA           CA   92563‐5542
TOVEY, ELAINE D               4701 NORTH HURON ROAD                                                                          PINCONNING         MI   48650‐8405
TOVEY, GERALD E               PO BOX 266                                                                                     AU GRES            MI   48703‐0266
                                 09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                  Part 37 of 40 Pg 355 of 901
Name                             Address1                      Address2                      Address3   Address4         City                  State Zip
TOVEY, NANCY L                   10247 HALSEY RD                                                                         GRAND BLANC            MI 48439‐8209
TOVEY, ROBERT J                  2480 ORCHARD CREST ST                                                                   UTICA                  MI 48317‐4550
TOVEY, RONNIE L                  613 34TH ST                                                                             BAY CITY               MI 48708‐8506
TOVIN T DOUGLAS                  6305 GERMANTOWN PK                                                                      DAYTON                 OH 45418‐1635
TOVSEN, JULIE A                  3510 65TH ST NE                                                                         ROCHESTER              MN 55906‐2017
TOVTIN, JAMES F                  8386 HILLTOP DR                                                                         POLAND                 OH 44514‐2985
TOVTIN, JAMES F                  3044 DENVER DR                                                                          POLAND                 OH 44514‐2435
TOW, FRED E                      834 E DESERT PARK LN                                                                    PHOENIX                AZ 85020‐4147
TOW, PATRICK J                   1315 GETTYSBURG CT                                                                      ROCHESTER HILLS        MI 48306‐3821
TOW, ROGER H                     210 FARMBROOK RD                                                                        PORT ORANGE            FL 32127‐6206
TOWALSKI, CRAIG R                33722 GLEN ST                                                                           WESTLAND               MI 48186‐4594
TOWANA KOGER                     303 LAUREL CV                                                                           LA VERGNE              TN 37086‐2083
TOWANA L JONES                   141 W BEVERLY AVE                                                                       PONTIAC                MI 48340‐2621
TOWANNA TINDALL                  788 FAIRFORD RD                                                                         GROSSE POINTE WOODS    MI 48236
TOWAR, LLOYD F                   POX 150037                                                                              GRAND RAPIDS           MI 49515
TOWAR, RUTH M                    121 CRANE                                                                               ALMA                   MI 48801‐2319
TOWAR, RUTH M                    121 CRANE ST                                                                            ALMA                   MI 48801‐2319
TOWARD, NEAL J                   1837 OAKWOOD RD                                                                         ORTONVILLE             MI 48462‐8536
TOWARD, NEAL JON                 1837 OAKWOOD RD                                                                         ORTONVILLE             MI 48462‐8536
TOWARNICKE, CHARLOTTE A          6010 EMERALD ST                                                                         NORTH RIDGEVILLE       OH 44039‐2046
TOWARNICKE, MICHAEL M            PO BOX 42053                                                                            BROOK PARK             OH 44142‐0053
TOWARNICKY, EDWARD M             18 KETCHUM ST                                                                           VICTOR                 NY 14564‐1345
TOWAS, ELAINE F                  9920 FARMINGTON RD                                                                      LIVONIA                MI 48150
TOWBIN HUMMER LLC                5550 W SAHARA AVE                                                                       LAS VEGAS              NV 89146‐3329
TOWE & ASSOCIATES INC            415 S MIAMI ST                                                                          WEST MILTON            OH 45383‐1558
TOWE PAUL (645120) ‐ TOWE PAUL   ZAMLER, MELLEN & SHIFFMAN     23077 GREENFIELD RD STE 557                               SOUTHFIELD             MI 48075‐3727
TOWE ROBERT                      557 CARO CT                                                                             NEW SMYRNA             FL 32168‐5353
TOWE, CYNTHIA M                  2310 ASHBY ST                                                                           TRENTON                MI 48183‐2408
TOWE, DEBORAH L                  1415 SUMTER LN                                                                          WEST MELBOURNE         FL 32904‐8744
TOWE, ERNEST W                   4400 SINTZ RD                                                                           SPRINGFIELD            OH 45504‐3818
TOWE, ERNEST W                   4400 SINTZ ROAD                                                                         SPRINGFIELD            OH 45504‐5504
TOWE, JEFFERY L                  7272 MOYER RD                                                                           CHARLOTTE              MI 48813‐7809
TOWE, JEFFERY L.                 7272 MOYER RD                                                                           CHARLOTTE              MI 48813‐7809
TOWE, KAREN H                    616 CHIPPENDALE CT                                                                      BOWLING GREEN          KY 42103‐0905
TOWE, KEVIN A                    819 WEST MAIN STREET                                                                    EATON                  OH 45320‐9523
TOWE, LANNIE H                   1975 KILCREASE RD                                                                       BETHLEHEM              GA 30620‐4506
TOWE, PATSY S                    2024 SANTEE HWY                                                                         CHARLOTTE              MI 48813‐8652
TOWE, PATSY S                    2024 W SANTEE HWY                                                                       CHARLOTTE              MI 48813‐8652
TOWE, PAUL                       ZAMLER, MELLEN & SHIFFMAN     23077 GREENFIELD RD STE 557                               SOUTHFIELD             MI 48075‐3727
TOWE, RUBY                       173 ELIZABETH LANE                                                                      BARBOURVILLE           KY 40906‐7217
TOWE, SAMUEL A                   12000 OLD DAYTON RD                                                                     BROOKVILLE             OH 45309‐8359
TOWE, ULYSSES A                  51 LUKE DR                                                                              HOSCHTON               GA 30548‐5521
TOWELL ANN                       111 W MARKET ST                                                                         AKRON                  OH 44303‐2330
TOWELL DAVID J                   111 W MARKET ST                                                                         AKRON                  OH 44303‐2330
TOWELL, CHARLES E                10175 ELKTON RD                                                                         NASHVILLE               IL 62263‐4526
TOWELL, HILMA M                  6422 LOGAN RD                                                                           WATERFORD              MI 48329‐2963
TOWELL, HOWARD O                 22425 PRESTIGE DR N                                                                     HOLT                   MO 64048‐9020
TOWELL, JOHN L                   2630 SCHAFSTAL DR                                                                       LAMBERTVILLE           MI 48144‐9603
TOWELL, THOMAS                   780 SPUR RD SE                                                                          RIO RANCHO             NM 87124‐3100
TOWELS TRANSPORT INC             54600 PONTIAC TRL                                                                       MILFORD                MI 48381‐4346
TOWER                            1701 SOUTH BLVD E STE 140                                                               ROCHESTER HILLS        MI 48307‐6118
TOWER 23 LP                      1253 GARNET AVE STE A                                                                   SAN DIEGO              CA 92109‐2973
                                    09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                          Part 37 of 40 Pg 356 of 901
Name                                Address1                           Address2                         Address3                 Address4         City               State Zip
TOWER AUTO/ELKTON                   81 DRETTMANN DR                                                                                               ELKTON              MI 48731
TOWER AUTO/FARMINGTO                38900 HILLS TECH DR                                                                                           FARMINGTON HILLS    MI 48331‐3430
TOWER AUTO/ROSEVILL                 17672 N LAUREL PARK DR # 400E                                                                                 LIVONIA             MI 48152‐3984
TOWER AUTO/ST HTS                   35843 MOUND RD                                                                                                STERLING HEIGHTS    MI 48310‐4777
TOWER AUTOMOTIVE                    SEBEWAING BUSINESS UNIT A P        PO BOX 81340                                                               ROCHESTER           MI 48308‐1340
TOWER AUTOMOTIVE                    38900 HILLS TECH DR                                                                                           FARMINGTON HILLS    MI 48331‐3430
TOWER AUTOMOTIVE                    PO BOX 77000                                                                                                  DETROIT             MI 48277‐0816
TOWER AUTOMOTIVE                    ATTN ACCTS RECEIVABLE              17672 N LAUREL PARK DR                                                     LIVONIA             MI 48152‐3984
TOWER AUTOMOTIVE                    4811 MILL STREET                                                                                              ELKTON              MI 48731
TOWER AUTOMOTIVE                    17672 N LAUREL PARK DR                                                                                        LIVONIA             MI 48152‐3984
TOWER AUTOMOTIVE                    DEPT 77816                         TOWER AUTOMOTIVE ‐ ELKTON                                                  DETROIT             MI 48277‐0816
TOWER AUTOMOTIVE INC                17672 N LAUREL PARK DR             #400E                                                                      LIVONIA             MI 48152‐3984
TOWER AUTOMOTIVE INC                17672 N LAUREL PARK DR # 400E                                                                                 LIVONIA             MI 48152‐3984
TOWER AUTOMOTIVE INC                27175 HAGGERTY RD                                                                                             NOVI                MI 48377‐3626
TOWER AUTOMOTIVE INC.               17572 N LAUREL PARK DR                                                                                        LIVONIA             MI 48152‐3984
TOWER AUTOMOTIVE INC.               ART TINGEY                         280 HUGHES DRIVE                                                           CLINTON TWP         MI 48036
TOWER AUTOMOTIVE LLC                17672 N LAUREL PARK DR             #400E                                                                      LIVONIA             MI 48152‐3984
TOWER AUTOMOTIVE LLC                ART TINGEY                         17572 N LAUREL PARK DR                                                     LIVONIA             MI 48152‐3984
TOWER AUTOMOTIVE LLC                17672 N LAUREL PARK DR # 400E                                                                                 LIVONIA             MI 48152‐3984
TOWER AUTOMOTIVE LLC                ART TINGEY                         280 HUGHES DR                                                              TRAVERSE CITY       MI 49686‐8255
TOWER AUTOMOTIVE LLC                ART TINGEY                         280 HUGHES DRIVE                                                           CLINTON TWP         MI 48036
TOWER AUTOMOTIVE LLC                ART TINGEY                         850 WITHROW COURT                                                          CAROL STREAM         IL 60188
TOWER AUTOMOTIVE LLC                ART TINGEY                         850 WITHROW CT                                                             BARDSTOWN           KY 40004‐2649
TOWER AUTOMOTIVE OPERATIONS         ART TINGEY                         850 WITHROW CT                                                             BARDSTOWN           KY 40004‐2649
TOWER AUTOMOTIVE OPERATIONS         ART TINGEY                         850 WITHROW COURT                                                          CAROL STREAM         IL 60188
TOWER BUS                           PO BOX 708                         363 N GRATIOT                                                              MOUNT CLEMENS       MI 48046‐0708
TOWER CLINTON TWP AUTOMOTIVE        17672 N LAUREL PARK DR # 400E                                                                                 LIVONIA             MI 48152‐3984
TOWER COMPUTER SERVICE INC          24450 EVERGREEN RD STE 100                                                                                    SOUTHFIELD          MI 48075‐5585
TOWER CONSTRUCTION SVC INC          ATTN: DONALD TORRES                277 CENTRAL AVE                                                            CLARK               NJ 07066‐1107
TOWER GROUP COMPANIES               C/O TRANSPAC SOLUTIONS             ATTN SHARI BALDWIN               PO BOX 36220                              LOUISVILLE          KY 40233
TOWER III, FRED E                   5662 RUTHERFORD CT                                                                                            NORTH PORT          FL 34287‐3162
TOWER INSURANCE CO OF NY AS         JOSEPH J COOKE ESQ                 MILBER MAKNS PLOUSADIS &         1000 WOODBURY RD SUITE                    WOODBURY            NY 11797
SUBROGEE OF TRISHA BROWN‐JANVIER                                       SEIDEN LLP                       402

TOWER JOSEPH P (666583)             THORNTON EARLY & NAUMES            100 SUMMER ST LBBY 3                                                       BOSTON             MA 02110‐2104
TOWER JR, WILLIAM J                 6710 LOUD DR                                                                                                  OSCODA             MI 48750‐9676
TOWER JR, WILLIAM JACK              6710 LOUD DR                                                                                                  OSCODA             MI 48750‐9676
TOWER LASER & MANUFACTURING
TOWER TOOL & MFG CO                 15747 LEONE DR                                                                                                MACOMB             MI 48042‐4006
TOWER WENDELL HENRY SR (418172)     BARON & BUDD                       3102 OAK LANE AVE , SUITE 1100                                             DALLAS             TX 75219
TOWER WENDELL HENRY SR (418172) ‐   BARON & BUDD                       3102 OAK LANE AVE , SUITE 1100                                             DALLAS             TX 75219
COMEAUX
TOWER, AMANDA J                     20 MAPLE STREET LOWER                                                                                         TONAWANDA          NY   14150
TOWER, BERNARD E                    1304 VIA HIELO                                                                                                SANTA MARIA        CA   93454‐2606
TOWER, CARLOS C                     255 MAYER RD APT 181                                                                                          FRANKENMUTH        MI   48734‐1343
TOWER, CHARLENE D                   7144 KINGS WAY                                                                                                FLUSHING           MI   48433‐2287
TOWER, CHARMAGNE                    683 VICKERY ST EXTENTION                                                                                      HARTWELL           GA   30643
TOWER, DANIEL G                     1910 BRIARWOOD DR                                                                                             FLINT              MI   48507
TOWER, DONALD L                     1430 LINDEN DR                                                                                                NEW CASTLE         IN   47362‐1728
TOWER, EDWIN P                      10320 W CONCHO CIR                                                                                            SUN CITY           AZ   85373‐1317
TOWER, GILDA G                      310 W BANK ST                                                                                                 ALBION             NY   14411‐1222
TOWER, GLADWIN D                    103 WOODCREST DR                                                                                              SWARTZ CREEK       MI   48473‐8280
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                         Part 37 of 40 Pg 357 of 901
Name                                 Address1                         Address2                        Address3   Address4         City              State Zip
TOWER, JACK L                        8340 RAMSGATE DR BOX 163                                                                     MOUNT MORRIS       MI 48458
TOWER, JAMES B                       44293 CRANBERRY DR                                                                           CANTON             MI 48187‐1947
TOWER, JAMES D                       819 LEDGE MOOR BLVD                                                                          GRAND LEDGE        MI 48837‐2037
TOWER, JAMES M                       7 MALQUINN DR                                                                                HOPEDALE           MA 01747‐1307
TOWER, JAMES R                       159 SILVER CREEK DR                                                                          SUFFIELD           CT 06078‐1233
TOWER, JOSEPH P                      THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                        BOSTON             MA 02110‐2104
TOWER, JOYCE M                       819 LEDGE MOOR BLVD                                                                          GRAND LEDGE        MI 48837‐2037
TOWER, KIM M                         3414 CHURCHILL AVE                                                                           FLINT              MI 48506‐4730
TOWER, KIM MARIE                     3414 CHURCHILL AVE                                                                           FLINT              MI 48506‐4730
TOWER, LARRY E                       1525 HENDERSON RD                                                                            PORTLAND           MI 48875‐9747
TOWER, LILA J                        7120 W STANLEY RD                                                                            FLUSHING           MI 48433‐9001
TOWER, LILA J                        7120 STANLEY RD                                                                              FLUSHING           MI 48433‐9070
TOWER, LILAH A                       11269 S NEW LOTHROP RD                                                                       DURAND             MI 48429‐9476
TOWER, MYRON D                       206 LAURELWOOD DR                                                                            HOPEDALE           MA 01747‐1955
TOWER, RAYMOND L                     11269 S NEW LOTHROP RD                                                                       DURAND             MI 48429
TOWER, ROBERT W                      120 LA FORTUNA                                                                               NEWBURY PARK       CA 91320‐1012
TOWER, SCOTT E                       13537 ALBION EAGLE HARBOR RD                                                                 ALBION             NY 14411‐9125
TOWER, WENDELL HENRY                 BARON & BUDD                     3102 OAK LANE AVE, SUITE 1100                               DALLAS             TX 75219
TOWER, WILLIAM J                     7120 STANLEY RD                                                                              FLUSHING           MI 48433‐9070
TOWER, WILLIAM W                     3197 MEADOW RD                                                                               TAWAS CITY         MI 48763‐9734
TOWERS ALFRED L (499915)             ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                    WILMINGTON         DE 19801‐1813
TOWERS HARRY (468211)                ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                  BALTIMORE          MD 21202
                                                                      CHARLES CENTER 22ND FLOOR
TOWERS PERRIN                        ATTN OFFICE ADMINSTRATOR         1500 MARKET ST 25TH FL E                                    PHILADELPHIA      PA 19102
TOWERS PERRIN                        HOWARD BERLINSKI                 100 SUMMIT LAKE DRIVE                                       VALHALLA          NY 10595
TOWERS PERRIN FORSTER & CROSBY INC   HOWARD BERLINSKI                 100 SUMMIT LAKE DRIVE                                       VALHALLA          NY 10595

TOWERS PERRIN/SFIELD                 1000 TOWN CTR STE 950                                                                        SOUTHFIELD        MI   48075‐1261
TOWERS, ALFRED L                     ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                    WILMINGTON        DE   19801‐1813
TOWERS, ELLEN M                      11615 COHANSEY RD                                                                            SAN DIEGO         CA   92131‐3617
TOWERS, GEORGE J                     5826 BIRCH BARK CT                                                                           GROVE CITY        OH   43123‐8794
TOWERS, HARRY                        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                   BALTIMORE         MD   21202
                                                                      CHARLES CENTER 22ND FLOOR
TOWERS, HERBERT H                    121 BUTTONWOOD LOOP                                                                          ATHENS            GA   30605‐4947
TOWERS, JACQUELINE K                 7683 S COCHRAN RD                                                                            OLIVET            MI   49076‐9443
TOWERS, LANE H                       1722 STONE RD APT 2                                                                          ROCHESTER         NY   14615‐1627
TOWERS, RUTH                         145 MORNINGSIDE LN                                                                           COLUMBIA          TN   38401‐2317
TOWERS, SABRE M                      329 STRATFORD CT                                                                             AURORA            OH   44202‐8562
TOWERS, SHERWOOD R                   100 HILL RD                                                                                  HILTON            NY   14468‐9176
TOWERS, THELMA M                     1141 ALGER ST S W #6                                                                         WYOMING           MI   49509‐1863
TOWERS, THOMAS E                     280 MORGAN AVE                                                                               OLD BRIDGE        NJ   08857‐1125
TOWERS, WILLARD J                    969 GREENVIEW CT APT 43                                                                      ROCHESTER HILLS   MI   48307‐1075
TOWERTECH CORP                       1 DESIGN CENTER PL STE 715                                                                   BOSTON            MA   02210‐2335
TOWERY BOYD T JR (628272)            DONALDSON & BLACK                208 W WENDOVER AVE                                          GREENSBORO        NC   27401‐1307
TOWERY COITE                         29500 SW 182ND AVE                                                                           HOMESTEAD         FL   33030‐3044
TOWERY JR, LLOYD                     PO BOX 277                                                                                   VAN BUREN         IN   46991‐0277
TOWERY, BOYD T                       DONALDSON & BLACK                208 W WENDOVER AVE                                          GREENSBORO        NC   27401‐1307
TOWERY, CECIL A                      8831 TWINCREEK DR                                                                            FRANKLIN          OH   45005‐4043
TOWERY, CLIFFORD M                   373 BROWN BRIDGE RD                                                                          AUBURN            GA   30011‐3331
TOWERY, JAMES N                      2895 W 18 RD                                                                                 MESICK            MI   49668‐9505
TOWERY, JAMES R                      7424 DEER TRAIL                                                                              SHREVEPORT        LA   71107‐5627
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                       Part 37 of 40 Pg 358 of 901
Name                                 Address1                              Address2                         Address3   Address4         City               State Zip
TOWERY, JIMMY W                      3126 BERT KOUNS INDUSTRIAL LOOP APT                                                                SHREVEPORT          LA 71118‐2901
                                     115
TOWERY, JIMMY WAYNE                  APT 115                               3126 BERT KOUNS INDUSTRIL LOOP                               SHREVEPORT          LA   71118‐2901

TOWERY, LARRY E                      8811 ORIOLE DR                                                                                     CARLISLE           OH    45005‐4252
TOWERY, MARY F                       373 BROWN BRIDGE ROAD                                                                              AUBURN             GA    30011
TOWERY, OLLIE W                      3 DOOLITTLE DR                                                                                     DAYTON             OH    45431‐1305
TOWERY, OLLIE W                      3 DOOLITTLE DRIVE                                                                                  DAYTON             OH    45431‐1305
TOWERY, SHIRLEY A                    7154 SOUTH HEMLOCK LANE                                                                            MT MORRIS          MI    48458
TOWERY, SHIRLEY A                    7154 S HEMLOCK LN                                                                                  MOUNT MORRIS       MI    48458‐9486
TOWERY, SILKE                        1552 LINDBERGH ST                                                                                  WYANDOTTE          MI    48192‐3728
TOWEY, EVAN                          2051 N LINE ST                                                                                     LANSDALE           PA    19446‐1528
TOWEY, JEFFREY B                     9832 AQUILA RD                                                                                     BLOOMINGTON        MN    55438‐1905
TOWING ACC GROUP                     260 N FENWAY DR                                                                                    FENTON             MI    49430‐2699
TOWLE                                4444 N BELLEVIEW AVE STE 204                                                                       KANSAS CITY        MO    64116‐1507
TOWLE, BARBARA J                     621 W GORDON PIKE                                                                                  BLOOMINGTON        IN    47403‐4577
TOWLE, EDGER J                       1556 ORCHID ST                                                                                     WATERFORD          MI    48328‐1405
TOWLE, ELIZABETH F                   55 DOWNEY STREET                                                                                   HOPKINTON          MA    01748
TOWLE, ELIZABETH F                   55 DOWNEY ST                                                                                       HOPKINTON          MA    01748‐2702
TOWLE, FREDERICK P                   169 MORNINGSIDE DR E                                                                               BRISTOL            CT    06010‐4547
TOWLE, HESTER B                      9107 S STATE ROAD 15                                                                               SILVER LAKE        IN    46982‐9124
TOWLE, JAMES E                       6021 GLENDALE CHASE CT APT 304                                                                     CHARLOTTE          NC    28217‐0083
TOWLE, JOHN R                        1915 NEWMAN ST                                                                                     TRENTON            MI    48183‐1732
TOWLE, MARK S                        23C GROVE ST.                                                                                      DOUGLAS            MA    01516
TOWLE, MARTHA B                      97 FLAGGY MEADOW RD                                                                                GORHAM             ME    04038‐1205
TOWLE, ROY D                         PO BOX 43                                                                                          SUBLETTE           IL    61367
TOWLE, THOMAS G                      55 DOWNEY ST                                                                                       HOPKINTON          MA    01748‐2702
TOWLER, BILLY D                      10815 210TH ST                                                                                     BLANCHARD          OK    73010‐4651
TOWLER, JAMES W                      6573 DELCROSS CT                                                                                   BRIGHTON           MI    48114‐7418
TOWLER, JEFFREY V                    3724 PINCKNEY RD                                                                                   HOWELL             MI    48843‐7803
TOWLER, JERRY D                      5370 HIGHWAY 20 LOT 67                                                                             LOGANVILLE         GA    30052‐2872
TOWLER, ROBERT K                     650 COUNTY ROAD 90                                                                                 WATERLOO           AL    35677‐3133
TOWLER, ROBERT L                     2391 STATE RD                                                                                      GLENNIE            MI    48737‐9796
TOWLER, STEVEN E                     33230 JOHN HAUK ST                                                                                 GARDEN CITY        MI    48135‐1158
TOWLER, TIMOTHY D                    7532 CANTERBURY CT APT B                                                                           FLORENCE           KY    41042‐2362
TOWLES, DORIS G                      1474 ANDREA ST                                                                                     YPSILANTI          MI    48198‐8116
TOWLES, EUGENE P                     46125 BOARDMAN DR APT 104                                                                          SHELBY TOWNSHIP    MI    48315‐5533
TOWLES, JUDITH F                     938 NORTH FORT THOMAS AVENUE                                                                       FORT THOMAS        KY    41075‐1107
TOWLES, LILLIAN                      714 ALMOND AVE                                                                                     DAYTON             OH    45417‐1207
TOWLES, MARVA G                      705 CENTRAL AVE                                                                                    BELOIT             WI    53511‐5513
TOWLES, MILDRED S                    3614 EASTERN DRIVE                                                                                 DAYTON             OH    45432‐2208
TOWLES, SHELIA R                     128 SHOOP AVE                                                                                      DAYTON             OH    45417‐2246
TOWLES, TERRY L                      3709 HERMOSA DR                                                                                    DAYTON             OH    45416
TOWLIFT                              1395 VALLEY BELT RD                                                                                BROOKLYN HEIGHTS   OH    44131‐1438
TOWN & COUNTRY AUTO                  6227 W MOUNT HOPE HWY                                                                              LANSING            MI    48917‐8518
TOWN & COUNTRY CAR & TRUCK CENTER,   10 CRAFT ST                                                                                        ALAMOSA            CO    81101‐2952

TOWN & COUNTRY CAR & TRUCK CENTER, I J. GOODART                            10 CRAFT ST                                                  ALAMOSA            CO 81101‐2952

TOWN & COUNTRY CAR & TRUCK CENTER, J. GOODART                              10 CRAFT ST                                                  ALAMOSA            CO 81101‐2952
INC.
                                    09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                        Part 37 of 40 Pg 359 of 901
Name                               Address1                          Address2                   Address3               Address4          City               State Zip
TOWN & COUNTRY CAR & TRUCK CENTER, 10 CRAFT ST                                                                                           ALAMOSA             CO 81101‐2952
INC.
TOWN & COUNTRY CAR & TRUCK CTR INC J. GOODART                        10 CRAFT ST                                                         ALAMOSA            CO 81101‐2952

TOWN & COUNTRY CHEVROLET ‐ ASHLAND 2045 HIGHWAY 99 N                                                                                     ASHLAND            OR 97520‐9653

TOWN & COUNTRY CHEVROLET            ALAN DEBOER                      2045 HIGHWAY 99 N                                                   ASHLAND            OR 97520‐9653
OLDSMOBILE, INC.
TOWN & COUNTRY CHEVROLET, INC.      RAFAEL MARTINEZ                  16700 SE MCLOUGHLIN BLVD                                            MILWAUKIE          OR   97267‐4812
TOWN & COUNTRY CHEVROLET, INC.      16700 SE MCLOUGHLIN BLVD                                                                             MILWAUKIE          OR   97267‐4812
TOWN & COUNTRY CLEANERS             ATTN: JAE JEON                   1607 S OPDYKE RD                                                    BLOOMFIELD HILLS   MI   48304‐1043
TOWN & COUNTRY LEASING              1097 COMMERCIAL AVE                                                                                  EAST PETERSBURG    PA   17520‐1648
TOWN & COUNTRY LEASING LLC          1097 COMMERCIAL AVE                                                                                  EAST PETERSBURG    PA   17520‐1648
TOWN & COUNTRY MOTORS               913 SE 14TH ST                                                                                       DES MOINES         IA   50317‐1005
TOWN & COUNTRY MOTORS INC
TOWN & COUNTRY RADIATOR             2605 E 5TH ST                                                                                        LUMBERTON          NC   28358‐8619
TOWN & COUNTRY SALIDA, INC.         1520 E RAINBOW BLVD                                                                                  SALIDA             CO   81201‐3206
TOWN & COUNTRY SALIDA, INC.         J. GOODART                       1520 E RAINBOW BLVD                                                 SALIDA             CO   81201‐3206
TOWN & COUNTRY SALIDA, INC.         1520 E HWY 50                                                                                        SALIDA             CO
TOWN & COUNTRY TIRE                 21068 BEAR VALLEY RD                                                                                 APPLE VALLEY       CA   92308‐4210
TOWN AND COUNTRY TIRE & AUTO        1033 W MCKINLEY AVE                                                                                  MISHAWAKA          IN   46545‐5509
TOWN CENTER AT BOCA RATON TRUST     6000 GLADES RD                                                                                       BOCA RATON         FL   33431
TOWN CENTER AT COBB, LLC            C/O GEORGE DUNCAN                DUNCAN & ADAIR, P.C.       7000 CENTRAL PARKWAY   SUITE 220         ATLANTA            GA   30328‐4553
TOWN CENTER DELAWARE, INC.
TOWN CENTER FAMILY DENTAL           ATTN: JENNIFER MC CARTY          4500 TOWN CENTER PKWY                                               FLINT              MI   48532‐3435
TOWN CENTER/MI                      PO BOX 2273                                                                                          BRIGHTON           MI   48116‐6073
TOWN CENTRE EXECUTIVE PLAZA II      C/O CAPITAL REALTY SERV INC      1450 MADRUGA AVE STE 203                                            CORAL GABLES       FL   33146‐3163
TOWN CENTRETIRE & AUTO SERVICE      1340 DUCKWOOD DR                                                                                     EAGAN              MN   55123
TOWN HILL AUTO                      857 BANK ST                                                                                          NEW LONDON         CT   06320‐3549
TOWN OF ABINGDON TREASURER          TOWN MANAGERS OFFICE             PO BOX 789                                                          ABINGDON           VA   24212‐0789
TOWN OF ADDISON                     16801 WESTGROVE DR                                                                                   ADDISON            TX   75001‐5190
TOWN OF ALTAVISTA                   PO BOX 420                                                                                           ALTAVISTA          VA   24517‐0420
TOWN OF AMHERST TREASURER           PO BOX 280                                                                                           AMHERST            VA   24521‐0280
TOWN OF AMITE CITY                  PROPERTY TAX DIVISION            212 E OAK ST                                                        AMITE              LA   70422‐2818
TOWN OF APPOMATTOX                  PO BOX 705                                                                                           APPOMATTOX         VA   24522‐0705
TOWN OF ARLINGTON                                                    51 GROVE ST                                                                            MA   02476
TOWN OF ARUNDEL                     468 LIMERICK RD                                                                                      ARUNDEL            ME   04046‐8314
TOWN OF ASHLAND                     PO BOX 1600                      TREASURERS OFFICE                                                   ASHLAND            VA   23005‐4600
TOWN OF AVON                        500 SWIFT GULTCH ROAD                                                                                AVON               CO   81620
TOWN OF AVON COLLECTOR OF REVENUE   60 W MAIN ST                                                                                         AVON               CT   06001‐3719

TOWN OF BAILEY                      PO BOX 40                                                                                            BAILEY             NC   27807‐0040
TOWN OF BARNSTABLE                  TAX COLLECTOR                    PO BOX 1360TC                                                       HYANNIS            MA   02601
TOWN OF BARRE DPW                                                    441 WHEELWRIGHT RD                                                                     MA   01005
TOWN OF BAY SPRINGS                 PO BOX 307                                                                                           BAY SPRINGS        MS   39422‐0307
TOWN OF BEL AIR                     39 HICKORY AVE                                                                                       BEL AIR            MD   21014
TOWN OF BERLIN                      108 SHED RD                                                                                          BERLIN             VT   05602‐9049
TOWN OF BERLIN                      240 KENSINGTON RD                                                                                    BERLIN             CT   06037
TOWN OF BETHANY BEACH               PARKING DEPT                     PO BOX 109                                                          BETHANY BEACH      DE   19930‐0109
TOWN OF BIG STONE GAP               505 E 5TH ST S                                                                                       BIG STONE GAP      VA   24219‐3050
TOWN OF BLACKSTONE TREASURER        100 W ELM ST                                                                                         BLACKSTONE         VA   23824‐1732
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                        Part 37 of 40 Pg 360 of 901
Name                                 Address1                               Address2                   Address3                   Address4         City              State Zip
TOWN OF BRAINTREE                    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 859209              TAX COLLECTOR'S OFFICE                      BRAINTREE          MA 02185‐9209

TOWN OF BRAINTREE                    PO BOX 859209                          TAX COLLECTOR'S OFFICE                                                 BRAINTREE         MA   02185‐9209
TOWN OF BRISTOL                      PO BOX 187                                                                                                    BRISTOL           WI   53104‐0187
TOWN OF BROOKFIELD                   PO BOX 508                                                                                                    BROOKFIELD        CT   06804‐0508
TOWN OF BROOKFIELD                                                          100 POCONO RD                                                                            CT   06804
TOWN OF BRUNSWICK                    28 FEDERAL STTEET                                                                                             BRUNSWICK         ME   04011
TOWN OF BURNSVILLE                   PO BOX 97                                                                                                     BURNSVILLE        NC   28714‐0097
TOWN OF CANTON                       PO BOX 168                                                                                                    COLLINSVILLE      CT   06022‐0168
TOWN OF CANTON                       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 168                                                             COLLINSVILLE      CT   06022‐0168

TOWN OF CANTON                       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 529                 TAX COLLECTOR                               MEDFORD           MA 02155‐0006

TOWN OF CANTON                       PO BOX 529                             TAX COLLECTOR                                                          MEDFORD           MA   02155‐0006
TOWN OF CANTON TAX COLLECTOR         58 PARK ST                                                                                                    CANTON            NC   28716‐4324
TOWN OF CANTON TAX COLLECTOR         PO BOX 378                                                                                                    CANTON            MA   02021‐0378
TOWN OF CARY                         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 8049                                                            CARY              NC   27512‐8049

TOWN OF CARY                         PO BOX 8049                                                                                                   CARY              NC 27512‐8049
TOWN OF CASTLE ROCK                  PO BOX 5332                            SALES TAX DIVISION                                                     DENVER            CO 80217‐5332
TOWN OF CASTLE ROCK                  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 5332                SALES TAX DIVISION                          DENVER            CO 80217‐5332

TOWN OF CASTLE ROCK                  PO BOX 1180                                                                                                   CASTLE ROCK       CO   80104‐1180
TOWN OF CASTLE ROCK                  PO BOX 5332                                                                                                   DENVER            CO   80217‐5332
TOWN OF CASTLE ROCK                                                         4175 CASTLETON CT                                                                        CO   80109
TOWN OF CEDARBURG                    1293 WASHINGTON AVE                                                                                           CEDARBURG         WI   53012‐9304
TOWN OF CHEEKTOWAGA                  3301 BROADWAY ST                       RECEIVER OF TEXAS                                                      CHEEKTOWAGA       NY   14227‐1130
TOWN OF CHRISTIANBURG                100 E MAIN ST                                                                                                 CHRISTIANSBURG    VA   24073‐3029
TOWN OF CLARENDON                    PO BOX 30                                                                                                     NORTH CLARENDON   VT   05759‐0030
TOWN OF CLAYTON                      1 CHESTNUT ST                                                                                                 CLAYTON           NM   88415‐3523
TOWN OF CLINTON                      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 54 E MAIN ST                                                           CLINTON           CT   06413‐2035

TOWN OF CLINTON                      54 E MAIN ST                                                                                                  CLINTON           CT   06413‐2035
TOWN OF COLCHESTER                   127 NORWICH AVE                                                                                               COLCHESTER        CT   06415‐1230
TOWN OF COLFAX                       PO BOX 310                                                                                                    COLFAX            LA   71417‐0310
TOWN OF COLLIERVILLE                 101 WALNUT ST                                                                                                 COLLIERVILLE      TN   38017‐2671
TOWN OF COLLIERVILLE                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 500 POPLAR VIEW PKWY       BUSINESS LICENSE                            COLLIERVILLE      TN   38017‐3440

TOWN OF COLLIERVILLE                 500 POPLAR VIEW PKWY                   BUSINESS LICENSE                                                       COLLIERVILLE      TN 38017‐3440
TOWN OF CORTE MADERA                 PO BOX 159                             BUSINESS LICENSE SECTION                                               CORTE MADERA      CA 94976‐0159
TOWN OF CORTE MADERA                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 159                 BUSINESS LICENSE SECTION                    CORTE MADERA      CA 94976‐0159

TOWN OF CRESTED BUTTE                PO BOX 39                                                                                                     CRESTED BUTTE     CO 81224‐0039
TOWN OF CULPEPER                                                            15048 SERVICE LANE                                                                       VA 22701
TOWN OF CULPEPER TREASURERS OFFICE   118 WEST DAVIS STREET                                                                                         CULPEPER          VA 22701

TOWN OF DAMARISCOTTA TAX COLLECTOR PO BOX 218                                                                                                      DAMARISCOTTA      ME 04543‐0218

TOWN OF DANVERS                      1 SYLVAN STREET                                                                                               DANVERS           MA 01923
TOWN OF DANVERS                                                             95 HOBART ST                                                                             MA 01923
TOWN OF DEDHAM COLLECTOR OF TAXES    PO BOX 1                                                                                                      DEDHAM            MA 02027‐0001
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                        Part 37 of 40 Pg 361 of 901
Name                                 Address1                              Address2                  Address3   Address4         City                 State Zip
TOWN OF DEKALB TAX COLLECTOR                                                                                                     DE KALB               MS 39328
TOWN OF DENTON                       13 N 3RD ST                                                                                 DENTON                MD 21629‐1000
TOWN OF DOVER‐FOXCROFT               48 MORTON AVE                         STE A                                                 DOVER FOXCROFT        ME 04426‐1181
TOWN OF EAST GREENWICH TAX           PO BOX 967                                                                                  PROVIDENCE             RI 02901‐0967
COLLECTOR
TOWN OF EASTON                       PO BOX 96                                                                                   EASTON               CT    06612‐0096
TOWN OF ELKIN TAX COLLECTOR          PO BOX 857                            226 NORTH BRIDGE STREET                               ELKIN                NC    28621‐0857
TOWN OF ELKTON TREASURER             PO BOX 157                                                                                  ELKTON               MD    21922‐0157
TOWN OF ENFIELD                                                            40 MOODY RD                                                                CT    06082
TOWN OF EXETER TAX COLLECTORS OFFICE 10 FRONT STREET                                                                             EXETER               NH    03833

TOWN OF FAIRFIELD DEPARTMENT OF                                            211 ONE ROD HWY                                                             CT   06824
PUBLIC WORKS GARAGE
TOWN OF FAIRFIELD TAX COLLECTOR      PO BOX 638                                                                                  FAIRFIELD            CT    06824‐0638
TOWN OF FALMOUTH                     271 FALMOUTH RD                                                                             FALMOUTH             ME    04105‐2005
TOWN OF FARMERVILLE                  PO BOX 427                                                                                  FARMERVILLE          LA    71241‐0427
TOWN OF FARMILLE                     PO BOX 368                                                                                  FARMVILLE            VA    23901‐0368
TOWN OF FARMINGTON                   153 FARMINGTON FALLS RD                                                                     FARMINGTON           ME    04938‐6403
TOWN OF FARMVILLE                    3671 N. MAIN ST.                      P O BOX 86                                            FARMVILLE            NC    27828
TOWN OF FIFIELD                      WEST 7123 TROUT POND ROAD                                                                   FIFIELD              WI    54524
TOWN OF FLETCHER                     4005 HENDERSONVILLE RD                                                                      FLETCHER             NC    28732‐8240
TOWN OF FORT KENT                    111 WEST MAIN STREET                                                                        FORT KENT            ME    04743
TOWN OF FOXBOROUGH                   40 SOUTH ST                                                                                 FOXBORO              MA    02035‐2397
TOWN OF FRAMINGHAM                   PO BOX 9183                                                                                 FRAMINGHAM           MA    01701‐9183
TOWN OF FRAMINGHAM                   TAX COLLECTOR'S OFFICE                150 CONCORD ST                                        FRAMINGHAM           MA    01702
TOWN OF FRANKLIN                     PO BOX 1479                                                                                 FRANKLIN             NC    28744‐1479
TOWN OF FRANKLINTON                  301 11TH AVE                                                                                FRANKLINTON          LA    70438‐1146
TOWN OF FRONT ROYAL TREASURER        PO BOX 1560                                                                                 FRONT ROYAL          VA    22630‐0033
TOWN OF GLASTONBURY                                                        2155 MAIN ST                                                               CT    06033
TOWN OF GLOSTER                      PO BOX 1019                                                                                 GLOSTER              MS    39638‐1019
TOWN OF GOLDEN MEADOW                313 N BAYOU DR                        P O BOX 307                                           GOLDEN MEADOW        LA    70357‐2715
TOWN OF GRAND CHUTE                  502 W NORTHLAND AVE                                                                         APPLETON             WI    54911‐1928
TOWN OF GRAND CHUTE                  1900 GRAND CHUTE BLVD                                                                       GRAND CHUTE          WI    54913‐9613
TOWN OF GREENBURGH                                                         100 OLD SPRAIN RD                                                          NY    10502
TOWN OF GREENWICH                    101 FIELD POINT RD                                                                          GREENWICH            CT    06830‐6463
TOWN OF GREENWOOD                    9381 GREENWOOD RD.                    PO BOX 195                                            GREENWOOD            LA    71033‐0195
TOWN OF GUILFORD                     31 PARK ST                                                                                  GUILFORD             CT    06437
TOWN OF HALIFAX                      PO BOX 627                                                                                  HALIFAX              VA    24558‐0627
TOWN OF HAMDEN                                                             1255 SHEPARD AVE                                                           CT    06518
TOWN OF HAMPSTEAD                    1034 S CARROLL ST                                                                           HAMPSTEAD            MD    21074‐1816
TOWN OF HAMPTON                      608 1ST ST W                                                                                HAMPTON              SC    29924‐3504
TOWN OF HANOVER                      PO BOX 483                                                                                  HANOVER              NH    03755‐0483
TOWN OF HARRISBURG TAX COLLECTOR     PO BOX 100                                                                                  HARRISBURG           NC    28075‐0100

TOWN OF HEMINGWAY                    PO BOX 968                                                                                  HEMINGWAY            SC    29554‐0968
TOWN OF HENRIETTA                                                          475 CALKINS ROAD                                                           NY    14467
TOWN OF HILLSVILLE                   PO BOX 545                                                                                  HILLSVILLE           VA    24343‐0545
TOWN OF HILTON HEAD ISLAND           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1 TOWN CENTER CT                                     HILTON HEAD ISLAND   SC    29928‐2701

TOWN OF HILTON HEAD ISLAND           1 TOWN CENTER CT                                                                            HILTON HEAD ISLAND   SC 29928‐2701
TOWN OF HOULTON                      21 WATER ST                                                                                 HOULTON              ME 04730‐2104
TOWN OF INDEPENDENCE                 PO BOX 99                                                                                   INDEPENDENCE         VA 24348‐0099
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                     Part 37 of 40 Pg 362 of 901
Name                              Address1                               Address2             Address3         Address4                 City               State Zip
TOWN OF INDIAN TRAIL              PO BOX 2430                                                                                           INDIAN TRAIL        NC 28079‐2430
TOWN OF IRON GATE                 PO BOX 199                                                                                            IRON GATE           VA 24448‐0199
TOWN OF JEFFERSON TAX COLLECTOR   PO BOX 67                                                                                             JEFFERSON           NC 28640‐0067
TOWN OF JENA                      PO BOX 26                                                                                             JENA                LA 71342‐0026
TOWN OF JOHNSTON                  1385 HARTFORD AVE                                                                                     JOHNSTON             RI 02919‐7134
TOWN OF JOHNSTON                  PO BOX 607                                                                                            PROVIDENCE           RI 02901‐0607
TOWN OF JONESBOROUGH                                                     123 BOONE ST                                                                       TN 37659
TOWN OF JUPITER                                                          3131 WASHINGTON ST                                                                 FL 33458
TOWN OF KAPUSKASING               KAPUSKASING AIRPORT                    88 RIVERSIDE DR                       KAPUSKASING ON P5N 1B3
                                                                                                               CANADA
TOWN OF KAPUSKASING               88 RIVERSIDE DR                                                              KAPUSKASING ON P5N 1B3
                                                                                                               CANADA
TOWN OF KENTWOOD                  PROPERTY TAX DIVISION                  308 AVENUE G                                                   KENTWOOD           LA    70444‐2722
TOWN OF KERNERSVILLE                                                     720 MCKAUGHAN ST                                                                  NC    27284
TOWN OF KERSEY                    PO BOX 657                                                                                            KERSEY             CO    80644‐0657
TOWN OF KILMARNOCK                PO BOX 1357                                                                                           KILMARNOCK         VA    22482‐1357
TOWN OF KIMBALL                   675 MAIN ST                                                                                           KIMBALL            TN    37347‐5222
TOWN OF LEBANON                   PO BOX 309                                                                                            LEBANON            VA    24266‐0309
TOWN OF LECOMPTE                  PO BOX 649                                                                                            LECOMPTE           LA    71346‐0649
TOWN OF LEE                       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 32 MAIN ST           TOWN COLLECTOR                            LEE                MA    01238‐1612

TOWN OF LEE                       32 MAIN ST                             TOWN COLLECTOR                                                 LEE                MA 01238‐1612
TOWN OF LEEDS                     N1947 STATE ROAD 22                                                                                   ARLINGTON          WI 53911‐9775
TOWN OF LEESBURG                  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 88                                                      LEESBURG           VA 20178‐0088

TOWN OF LEESBURG                  PO BOX 88                                                                                             LEESBURG           VA    20178‐0088
TOWN OF LILLINGTON                PO BOX 296                                                                                            LILLINGTON         NC    27546‐0296
TOWN OF LINCOLN                   75 MAIN STREET                                                                                        LINCOLN            ME    04457
TOWN OF LOUISA                    PO BOX 531                                                                                            LOUISA             VA    23093‐0531
TOWN OF MACHIAS                   PO BOX 718                             27 EAST MAIN ST.                                               MACHIAS            ME    04654‐0718
TOWN OF MADISON TREASURER         2120 FISH HATCHERY RD                                                                                 MADISON            WI    53713‐1253
TOWN OF MANCHESTER                41 CENTER ST                           PO BOX 191                                                     MANCHESTER         CT    06040‐5067
TOWN OF MANCHESTER                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 191           TAX COLLECTOR                             MANCHESTER         CT    06045‐0191

TOWN OF MANCHESTER                PO BOX 191                             TAX COLLECTOR                                                  MANCHESTER          CT   06045‐0191
TOWN OF MANCHESTER/FLEET          41 CENTER ST                                                                                          MANCHESTER          CT   06040‐5067
MAINTENANCE DIVISION
TOWN OF MANCHESTER/FLEET          263 OLCOTT STREET                                                                                     MANCHESTER          CT   06040
MAINTENANCE DIVISION
TOWN OF MANSFIELD                 4 S EAGLEVILLE RD                                                                                     STORRS MANSFIELD   CT    06268‐2574
TOWN OF MANY                      PO BOX 1330                                                                                           MANY               LA    71449‐1330
TOWN OF MARION                    PO BOX 1005                                                                                           MARION             VA    24354‐1005
TOWN OF MARSHVILLE                201 W MAIN ST                                                                                         MARSHVILLE         NC    28103‐1105
TOWN OF MASSENA MUSEUM            200 E ORVIS ST                                                                                        MASSENA            NY    13662‐2245
TOWN OF MEXICO                    32 MAIN STREET                         P O BOX 251                                                    MEXICO             ME    04257
TOWN OF MIDDLEBURY                94 MAIN ST                                                                                            MIDDLEBURY         VT    05753‐1334
TOWN OF MIDDLETON TAX COLLECTOR   350 E MAIN RD                                                                                         MIDDLETOWN         RI    02842‐5267
TOWN OF MILLBURY                  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 166           TAX COLLECTOR                             MILLBURY           MA    01527‐0166

TOWN OF MILLBURY                  PO BOX 166                             TAX COLLECTOR                                                  MILLBURY           MA 01527‐0166
TOWN OF MILLINOCKET               197 PENOBSCOT AVE                                                                                     MILLINOCKET        ME 04462‐1430
TOWN OF MINOCQUA TREASURER        PO BOX 168                                                                                            MINOCQUA           WI 54548‐0168
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                       Part 37 of 40 Pg 363 of 901
Name                                Address1                              Address2            Address3                   Address4                   City               State Zip
TOWN OF MORRISTOWN                  PO BOX 748                                                                                                      MORRISVILLE         VT 05661‐0748
TOWN OF MOUNT PLEASANT              INDUSTRIAL DEVELOPMENT AGENCY         1 TOWN HALL PLZ                                                           VALHALLA            NY 10595‐1319
TOWN OF MOUNT PLEASANT INDUSTRIAL   1 TOWN HALL PLZ                                                                                                 VALHALLA            NY 10595‐1319
DEVELOPMENT AGENCY
TOWN OF MOUNT PLEASANT, NY,         1 TOWN HALL PLZ                                                                                                 VALHALLA           NY 10595‐1319
INDUSTRIAL DEVELOPMENT AUTHORITY

TOWN OF MOUNT PLEASANT, NY,        1 TOWN HALL PLZ                                                                                                  VALHALLA           NY 10595‐1319
INDUSTRIAL DEVELOPMENT AUTHORITY &

TOWN OF MT. PLEASANT                                                                                                                                115 CRM FIRMS      NY
TOWN OF MT. PLEASANT INDUSTRIAL     1 TOWN HALL PLZ                                                                                                 VALHALLA           NY 10595‐1319
DEVELOPMENT AGENCY
TOWN OF NASHVILLE TAX COLLECTOR     PO BOX 987                                                                                                      NASHVILLE          NC 27856‐0987
TOWN OF NEW CANAAN TAX COLLECTOR    PO BOX 505                                                                                                      NEW CANAAN         CT 06840‐0505

TOWN OF NEW LLANO                   PO BOX 306                                                                                                      NEWLLANO           LA    71461‐0306
TOWN OF NEW MILFORD                 10 MAIN ST                                                                                                      NEW MILFORD        CT    06776‐2843
TOWN OF NEWBURY                     PO BOX 126                                                                                                      NEWBURY            VT    05051‐0126
TOWN OF NEWPORT                     31 WATER STREET                                                                                                 NEWPORT            ME    04953
TOWN OF NIAGARA‐ON‐THE‐LAKE         P.O. BOX 100                           1593 CREEK RD                                 VIRGIL ON L0S 1T0 CANADA
TOWN OF NORTH ATTLEBOROUGH          PO BOX 871                                                                                                      NORTH ATTLEBORO    MA 02761‐0871
TOWN OF NORTH ATTLEBOROUGH          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 315         TAX COLLECTER                                         MEDFORD            MA 02155‐0004

TOWN OF NORTH ATTLEBOROUGH          PO BOX 315                             TAX COLLECTER                                                            MEDFORD            MA 02155‐0004
TOWN OF NORTH HAVEN                 18 CHURCH ST                           TAX COLLECTOR                                                            NORTH HAVEN        CT 06473‐2503
TOWN OF NORTH HAVEN                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 18 CHURCH ST       TAX COLLECTOR                                         NORTH HAVEN        CT 06473‐2503

TOWN OF NORTH KINGSTOWN             COLLECTORS OFFICE                     80 BOSTON NECK RD                                                         NORTH KINGSTOWN     RI   02852‐5767
TOWN OF NORTH PROVIDENCE TAX        2000 SMITH ST                                                                                                   NORTH PROVIDENCE    RI   02911‐1740
COLLECTOR'S OFFICE
TOWN OF NORTH WILKESBORO            PO BOX 218                                                                                                      NORTH WILKESBORO   NC 28659‐0218
TOWN OF NORTON                      PO BOX 55796                                                                                                    BOSTON             MA 02205‐5796
TOWN OF NORTON                      FIRE/POLICE/DETAIL ACCOUNT            70 E MAIN ST        TREASURER/TAX COLLECTORS                              NORTON             MA 02766‐2310
                                                                                              OF
TOWN OF NORTON, MA.                 70 E MAIN ST                                                                                                    NORTON             MA    02766‐2310
TOWN OF OCEAN CITY                                                        204 65TH ST                                                                                  MD    21842
TOWN OF OCONOMOWOC                  W359N6812 BROWN ST                                                                                              OCONOMOWOC         WI    53066‐1108
TOWN OF OLD FORT                    38 S CATAWBA AVE                                                                                                OLD FORT           NC    28762‐8920
TOWN OF OLD SAYBROOK                302 MAIN ST                                                                                                     OLD SAYBROOK       CT    06475‐2384
TOWN OF ORANGE                      119 BELLEVIEW AVE                                                                                               ORANGE             VA    22960‐1401
TOWN OF ORANGE                                                            308 LAMBERT RD                                                                               CT    06477
TOWN OF OXFORD                      PO BOX 153                                                                                                      OXFORD             ME    04270‐0153
TOWN OF PALM BEACH FIRE RESCUE                                            2185 S OCEAN BLVD                                                                            FL    33480
TOWN OF PARKER                      PO BOX 5602                                                                                                     DENVER             CO    80217‐5602
TOWN OF PARKER                      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 5602                                                              DENVER             CO    80217‐5602

TOWN OF PARSONSFIELD                P.O. BOX 30                           62 FEDERAL ROAD                                                           PARSONSFIELD       ME    04047
TOWN OF PENFIELD, HIGHWAY DEPT.                                           1607 JACKSON RD                                                                              NY    14526
TOWN OF PENNINGTON GAP              131 CONSTITUTION AVE                                                                                            PENNINGTON GAP     VA    24277‐2633
TOWN OF PERRYVILLE                  PO BOX 773                            515 BROAD ST.                                                             PERRYVILLE         MD    21903‐0773
                                      09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                           Part 37 of 40 Pg 364 of 901
Name                                  Address1                              Address2                 Address3                 Address4         City                 State Zip
TOWN OF PINEBLUFF TAX DEPARTMENT      325 E BALTIMORE AVE                                                                                      PINEBLUFF             NC 28373‐8903

TOWN OF PINEVILLE                     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 249              BUSINESS LICENSE DEPT.                    PINEVILLE            NC 28134‐0249

TOWN OF PINEVILLE                     PO BOX 249                            BUSINESS LICENSE DEPT.                                             PINEVILLE            NC 28134‐0249
TOWN OF PITTSFIELD                    16 PARK STREET                                                                                           PITTSFIELD           ME 04967
TOWN OF PLAINVILLE REVENUE            1 CENTRAL SQ                                                                                             PLAINVILLE           CT 06062‐1900
COLLECTOR
TOWN OF PLYMOUTH TREASURER            WEST 5977 COUNTY ROAD J                                                                                  PLYMOUTH             WI    53073
TOWN OF PRESCOTT VALLEY               7601 E CIVIC CIR                                                                                         PRESCOTT VALLEY      AZ    86314‐2200
TOWN OF RAMAPO                        PIONEER AVENUE                                                                                           TALLMAN              NY    10982
TOWN OF RAYVILLE                      PO BOX 878                                                                                               RAYVILLE             LA    71269‐0878
TOWN OF RED SPRINGS                   217 S MAIN ST                                                                                            RED SPRINGS          NC    28377‐1621
TOWN OF RIB MOUNTAIN TREASURER        3700 N MOUNTAIN RD                                                                                       WAUSAU               WI    54401‐9274
TOWN OF RIDGEFIELD TAX COLLECTORS     PO BOX 299                                                                                               RIDGEFIELD           CT    06877‐0299
OFFICE
TOWN OF ROCKPORT                      PO BOX 10                                                                                                ROCKPORT             ME    04856‐0010
TOWN OF ROCKY HILL                    PO BOX 629                                                                                               ROCKY HILL           CT    06067‐0629
TOWN OF ROWLAND                       PO BOX 127                                                                                               ROWLAND              NC    28383‐0127
TOWN OF RUTLAND                       PO BOX 225                                                                                               CENTER RUTLAND       VT    05736‐0225
TOWN OF SALEM TREASURER               PO BOX 443                                                                                               SALEM                WI    53168‐0443
TOWN OF SALINA                        FRANK C. PAVIA                        HARRIS BEACH, PLLC       99 GARNSEY ROAD                           PITTSFORD            NY    14534‐4565
TOWN OF SALINA                        ATTN: FRANK C PAVIA                   HARRIS BEACH PLLC        99 GARNSEY RD                             PITTSFORD            NY    14534
TOWN OF SANFORD TAX COLLECTOR         919 MAIN ST                                                                                              SANFORD              ME    04073‐3545
TOWN OF SHERBORN                      PO BOX 186                                                                                               SHERBORN             MA    01770‐0186
TOWN OF SHREWSBURY                                                           100 MAPLE AVE                                                                          MA    01545
TOWN OF SILVERTHORNE                  PO BOX 1309                            REVENUE ADMINISTRATOR                                             SILVERTHORNE         CO    80498‐1309
TOWN OF SILVERTHORNE                  REVENUE ADMIN.                         P.O. BOX 1309                                                     SILVERTHORNE         CO    80498
TOWN OF SKOWHEGEN                     90 WATER ST                                                                                              SKOWHEGAN            ME    04976‐1716
TOWN OF SMITHFIELD                    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 761                                                        SMITHFIELD           NC    27577‐0761

TOWN OF SMITHFIELD                    PO BOX 761                                                                                               SMITHFIELD           NC    27577‐0761
TOWN OF SOUTH BOSTON                  FINANCE OFFICE                        455 FERRY ST                                                       SOUTH BOSTON         VA    24592‐3237
TOWN OF SOUTH HILL                    211 S MECKLENBURG AVE                                                                                    SOUTH HILL           VA    23970‐2619
TOWN OF SOUTH KINGSTOWN               PO BOX 31                                                                                                WAKEFIELD            RI    02880‐0031
TOWN OF SOUTH WINDSOR                 COLLECTOR OF REVENUE                  P.O. BOX 30002                                                     HARTFORD             CT    06150‐0001
TOWN OF SOUTHBURY OFFICE OF THE TAX   PO BOX 467                                                                                               SOUTHBURY            CT    06488‐0467
COLLECTOR
TOWN OF SOUTHINGTON                   PO BOX 579                                                                                               SOUTHINGTON           CT   06489‐0579
TOWN OF SPEEDWAY                      ATTN SHARON ZISHKA                    1450 N LYNHURST DR                                                 SPEEDWAY              IN   46224‐6407
TOWN OF SPRING HILL
TOWN OF SPRING HILL, TN. &            199 TOWN CENTER PKWY                                                                                     SPRING HILL          TN    37174‐2460
TOWN OF SPRINGFIELD                   96 MAIN ST                                                                                               SPRINGFIELD          VT    05156‐3510
TOWN OF ST FRANCISVILLE               PO BOX 400                                                                                               SAINT FRANCISVILLE   LA    70775‐0400
TOWN OF ST JOHNSBURY                  1187 MAIN ST STE 2                                                                                       ST JOHNSBURY         VT    05819‐2369
TOWN OF ST. ALBANS                    579 LAKE ROAD                         PO BOX 37                                                          SAINT ALBANS BAY     VT    05481‐0037
TOWN OF STANDISH                      PO BOX 597                                                                                               STANDISH             ME    04084‐0597
TOWN OF STRATFORD TAX COLLECTOR       PO BOX 9722                                                                                              STRATFORD            CT    06615‐9122
TOWN OF SUMMERVILLE                                                         1105 YANCEY STREET                                                                      SC    29483
TOWN OF SUNNYVALE TAX COLLECT         537 LONG CREEK RD                                                                                        SUNNYVALE            TX    75182‐9702
TOWN OF SYLVA                         83 ALLEN ST                                                                                              SYLVA                NC    28779‐2629
TOWN OF TAPPAHANNOCK                  PO BOX 266                                                                                               TAPPAHANNOCK         VA    22560‐0266
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                        Part 37 of 40 Pg 365 of 901
Name                                 Address1                              Address2                   Address3            Address4         City              State Zip
TOWN OF TARBORO TAX COLLECTOR        PO BOX 220                                                                                            TARBORO            NC 27886‐0220
TOWN OF TAYLORSVILLE TAX COLLECTOR   67 MAIN AVENUE DR                                                                                     TAYLORSVILLE       NC 28681‐2382

TOWN OF THERESA TAX COLLECTOR        213 PINE ST                                                                                           THERESA           NY 13691‐2103
TOWN OF THOMASTON TAX COLLECTOR      PO BOX 136                                                                                            THOMASTON         CT 06787‐0136

TOWN OF THOMASTON TAX COLLECTOR      PO BOX 299                                                                                            THOMASTON         ME 04861‐0299

TOWN OF TONAWANDA                    WASTEWATER TREATMENT FACILITY         779 TWO MILE CREEK RD      PRETREATMENT DEPT                    TONAWANDA         NY 14150‐5801
TOWN OF TONAWANDA                    2919 DELAWARE AVENUE                  ROOM 3                                                          KENMORE           NY 14217
TOWN OF TONAWANDA POLICE             1835 SHERIDAN DRIVE                                                                                   BUFFALO           NY 14223
DEPARTMENT K‐9 UNIT
TOWN OF TROY                         315 N MAIN ST                                                                                         TROY              NC 27371‐3017
TOWN OF TRUMBULL                     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 110326             TAX COLLECTOR                        TRUMBULL          CT 06611‐0326

TOWN OF TRUMBULL                     PO BOX 110326                         TAX COLLECTOR                                                   TRUMBULL          CT   06611‐0326
TOWN OF TRUMBULL TAX COLLECTOR       PO BOX 326                                                                                            TRUMBULL          CT   06611‐0326
TOWN OF UNION                        13847 W. ST. HWY 59                                                                                   EVANSVILLE        WI   53536
TOWN OF UNION                        8444 W CAMERON ST                                                                                     EAU CLAIRE        WI   54703‐9653
TOWN OF VAIL                         75 FRONTAGE RD                                                                                        VAIL              CO   81657
TOWN OF VERNON                       TOWN HALL ANNEX                       PO BOX 387                                                      VERNON            CT   06066‐0387
TOWN OF WAKE FOREST                                                        234 FRIENDSHIP CHAPEL RD                                                          NC   27587
TOWN OF WALLACE                      PO BOX 849                                                                                            WALLACE           NC   28466‐0849
TOWN OF WALLINGFORD                  PO BOX 5003                                                                                           WALLINGFORD       CT   06492‐7503
TOWN OF WALLINGFORD POLICE                                                 29 TOWN FARM RD                                                                   CT   06492
TOWN OF WALLINGFORD PUBLIC WORKS                                           29 TOWN FARM RD                                                                   CT   06492

TOWN OF WARREN                       167 WESTERN RD                                                                                        WARREN            ME   04864‐4279
TOWN OF WARRENTON                    PO BOX 341                                                                                            WARRENTON         VA   20188‐0341
TOWN OF WARSAW                       PO BOX 464                                                                                            WARSAW            NC   28398‐0464
TOWN OF WATERFORD                    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 15 ROPE FERRY RD          TAX COLLECTOR                        WATERFORD         CT   06385‐2806

TOWN OF WATERFORD                    15 ROPE FERRY RD                      TAX COLLECTOR                                                   WATERFORD         CT   06385‐2806
TOWN OF WATERTOWN                    ATTN LOCKBOX                          PO BOX 447                                                      MARLBOROUGH       MA   01752‐0447
TOWN OF WAUBEEK                      W7093 US HIGHWAY 10                                                                                   ARKANSAW          WI   54721‐9211
TOWN OF WAYNESVILLE                  PO BOX 100                                                                                            WAYNESVILLE       NC   28786‐0100
TOWN OF WELLESLEY TAX COLLECTOR      PO BOX 9187                                                                                           WELLESLEY HILLS   MA   02481‐9187
TOWN OF WESCOTT                      561 RIVER HTS                                                                                         SHAWANO           WI   54166‐1240
TOWN OF WEST HARTFORD                50 SOUTH MAIN STREET                                                                                  WEST HARTFORD     CT   06107
TOWN OF WEST JEFFERSON               PO BOX 490                                                                                            WEST JEFFERSON    NC   28694‐0490
TOWN OF WEST WARWICK                 PO BOX 1341                                                                                           WEST WARWICK      RI   02893‐0701
TOWN OF WESTBOROUGH                  34 W MAIN ST                                                                                          WESTBOROUGH       MA   01581‐1902
TOWN OF WESTBOROUGH TREASURER        34 W MAIN ST                                                                                          WESTBOROUGH       MA   01581‐1902
COLLECTOR
TOWN OF WESTPORT TAX COLLECTOR       PO BOX 350                                                                                            WESTPORT          CT 06881‐0350
TOWN OF WESTWOOD                     PO BOX 2524                                                                                           WESTWOOD          MA 02090‐7524
TOWN OF WETHERSFIELD                                                       100 MARSH ST                                                                      CT 06109
TOWN OF WETHERSFIELD
TOWN OF WICKENBURG                   PO BOX 1269                                                                                           WICKENBURG        AZ   85358‐1269
TOWN OF WILLIAMSTON TAX OFFICE       PO BOX 506                                                                                            WILLIAMSTON       NC   27892‐0506
TOWN OF WILTON                       238 DANBURY RD                        TOWN HALL                                                       WILTON            CT   06897‐4008
TOWN OF WINCHESTER                                                         15 LAKE ST                                                                        MA   01890
                                   09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                      Part 37 of 40 Pg 366 of 901
Name                              Address1                               Address2              Address3   Address4                 City            State Zip
TOWN OF WINDHAM                   PO BOX 195                                                                                       WILLIMANTIC      CT 06226‐0195
TOWN OF WINDHAM                   8 SCHOOL RD                                                                                      WINDHAM          ME 04062‐4807
TOWN OF WINDSOR                   TOWN HALL                              275 BROAD STREET                                          WINDSOR          CT 06095
TOWN OF WINDSOR                   301 WALNUT ST                                                                                    WINDSOR          CO 80550‐5141
TOWN OF WINDSOR                   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 301 WALNUT ST                                             WINDSOR          CO 80550‐5141

TOWN OF WINTHROP                  15 TOWN HALL LN                                                                                  WINTHROP        ME   04364‐1422
TOWN OF WOOLWICH                  13 NEQUASSET RD                                                                                  WOOLWICH        ME   04579‐4465
TOWN OF WORCESTER                 MARY LOU KOLNIK, CLERK                W 6895 SPRINGS DRIVE                                       PHILLIPS        WI   54555‐7628
TOWN OF YORKVILLE                 720 MAIN ST                           P.O. BOX 15                                                UNION GROVE     WI   53182‐1048
TOWN RICHARD LELAND               3035 W BURT RD                                                                                   BURT            MI   48417‐9747
TOWN SUITES                       200 LAKE VILLAGE TRL APT 101                                                                     AUBURN HILLS    MI   48326‐1181
TOWN'S EDGE AUTO, INC.            1801 3RD AVE                                                                                     MOUNTAIN LAKE   MN   56159‐1465
TOWN, CATHERINE                   PO BOX 133                                                                                       NEW LOTHROP     MI   48460‐0133
TOWN, EDITH D.                    2825 WIENEKE RD APT 119                                                                          SAGINAW         MI   48603‐2686
TOWN, EDITH D.                    2825 WIENEKE RD                       APT 119                                                    SAGINAW         MI   48603
TOWN, JON A                       3941 S AIRPORT RD                                                                                BRIDGEPORT      MI   48722‐9560
TOWN, MICHAEL J                   6991 LARSON RD                                                                                   HUBBARD LAKE    MI   49747‐9619
TOWN, PAMELA A                    8631 ACREDALE DR                                                                                 WEST CHESTER    OH   45069
TOWN, RICHARD L                   3035 W BURT RD                                                                                   BURT            MI   48417‐9747
TOWN, RICHARD LELAND              3035 W BURT RD                                                                                   BURT            MI   48417‐9747
TOWN, ROBERT O                    107 DEER RUN TRL                                                                                 GLADWIN         MI   48624‐9776
TOWN, RODNEY T                    11481 MARKLEY RD                                                                                 GAINES          MI   48436‐8903
TOWN, RONDA L                     1309 SCHAFER DR                                                                                  BURTON          MI   48509‐1548
TOWN, THERESA L                   7120 HARBOUR LNDG                                                                                ALPHARETTA      GA   30005‐6990
TOWN, YVONNE M                    8318 SMITH RD                                                                                    GAINES          MI   48436‐9732
TOWNE AIR FREIGHT                 24805 US 20 WEST                                                                                 SOUTH BEND      IN   46628
TOWNE BUICK INC                   5411 TRANSIT RD                                                                                  WILLIAMSVILLE   NY   14221‐2883
TOWNE BUICK, INC.                 STEVEN CAPPELLINO                     5411 TRANSIT RD                                            WILLIAMSVILLE   NY   14221‐2883
TOWNE CADILLAC, INC.              CRAIG PLOETNER                        2214 KENNEDY BLVD                                          UNION CITY      NJ   07087‐2121
TOWNE CADILLAC, INC.              2214 KENNEDY BLVD                                                                                UNION CITY      NJ   07087‐2121
TOWNE CENTRE EXECUTIVE PLAZA      7975 NW 154TH ST STE 400                                                                         MIAMI LAKES     FL   33016‐5849
TOWNE CENTRE EXECUTIVE PLAZA II   7975 NW 154TH ST STE 400                                                                         MIAMI LAKES     FL   33016‐5849
TOWNE CHEVROLET                   547 TRAFALGAR RD                                                        OAKVILLE CANADA ON L6J
                                                                                                          2J1 CANADA
TOWNE JR, GEORGE F                14 PLEASANT CT                                                                                   NORWOOD         MA   02062‐3816
TOWNE LAW OFFICES PC              PO BOX 15072                                                                                     ALBANY          NY   12212‐5072
TOWNE ROBINSON/DRBRN              4401 WYOMING ST                       P.O. BOX 188                                               DEARBORN        MI   48126‐3724
TOWNE SERVICE CENTER              8801 KENNEDY BLVD                                                                                NORTH BERGEN    NJ   07047‐5317
TOWNE, ANN C                      1183 MAIN STREET                      APT # 3A                                                   CLINTON         MA   01510
TOWNE, CHRIS A                    7917 N. ROYERTON PRK. DR.                                                                        MUNCIE          IN   47303‐9379
TOWNE, CHRIS A                    7917 N ROYERTON PARK DR                                                                          MUNCIE          IN   47303‐9379
TOWNE, GLADYS O                   1267 E 16TH ST                                                                                   WHITE CLOUD     MI   49349‐9748
TOWNE, H B
TOWNE, JEFFREY
TOWNE, JESSICA
TOWNE, JOHN G                     4704 DRIFTWOOD CT # 668                                                                          ANDERSON        IN   46013
TOWNE, JOYCE A                    1329 MARINA POINTE BLVD APT B                                                                    LAKE ORION      MI   48362
TOWNE, JUDITH A.                  36965 SYCAMORE DR                                                                                MENTONE         CA   92359
TOWNE, JUDITH A.                  329 SOUTH STREET                      #418                                                       CADILLAC        MI   49601
TOWNE, KENNETH A                  804 CHURCH ST                                                                                    FOWLERVILLE     MI   48836‐7919
TOWNE, LARRY J                    2829 ROSEWOOD ST                                                                                 HUDSONVILLE     MI   49426‐9702
                            09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                               Part 37 of 40 Pg 367 of 901
Name                        Address1                        Address2                        Address3   Address4         City            State Zip
TOWNE, LARRY J.             2829 ROSEWOOD STREET                                                                        HUDSONVILLE      MI 49426‐9702
TOWNE, MARK D               9000 SCIPIO RD                                                                              NUNDA            NY 14517‐9638
TOWNE, MARY H               411 ROOSEVELT DRIVE                                                                         GREENFIELD       IN 46140‐1872
TOWNE, PHILIP S             2580 N 200 W                                                                                MARKLE           IN 46770
TOWNE, RAYMOND A            7306 JORDAN ROAD                                                                            GRAND BLANC      MI 48439‐9638
TOWNE, RICHARD              BISNAR & CHASE                  1301 DOVE ST STE 760                                        NEWPORT BEACH    CA 92660‐2476
TOWNE, RICHARD              4407 PENN LN                                                                                RICHMOND         TX 77406
TOWNE, RICHARD F            3310 MEYER PL                                                                               SAGINAW          MI 48603‐2303
TOWNE, ROBERTA R            725 BOWES RD APT F8                                                                         LOWELL           MI 49331‐1652
TOWNE, ROBERTA R            725 BOWES ROAD F‐8                                                                          LOWELL           MI 49331
TOWNE, RUTH M               4025 NEW HAVEN RD                                                                           HAMILTON         OH 45013‐8667
TOWNE, S                    2505 CRYSTAL DR                                                                             MOORE            OK 73160‐5535
TOWNE, SHARA LYNN
TOWNE, SHIRLEY M            809 W. MCCONNELL                                                                            ST JOHNS        MI 48879‐1745
TOWNE, SHIRLEY M            809 W MCCONNELL ST                                                                          SAINT JOHNS     MI 48879‐1745
TOWNE, STEVE
TOWNE, TOD A                999 S MARINE CORPS DR # 501                                                                 TAMUNING        GU   96913‐3415
TOWNE, TOD A                931 SAINT JAMES PARK AVE                                                                    MONROE          MI   48161‐9060
TOWNE, VICKI L              208 N MAUMEE ST                                                                             TECUMSEH        MI   49286‐1531
TOWNEND, JOSEPH C           3150 S ALDEBARAN PL                                                                         TUCSON          AZ   85730
TOWNER CHAUNCEY (448295)    BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH   44067
                                                            PROFESSIONAL BLDG
TOWNER FERDY T (400701)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                            STREET, SUITE 600
TOWNER PHILLIP L (401960)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                            STREET, SUITE 600
TOWNER, BOBBY               2706 HIGHLAND DR                                                                            SANDUSKY        OH 44870‐1204
TOWNER, CHAUNCEY            BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD      OH 44067
                                                            PROFESSIONAL BLDG
TOWNER, CLAVER L            3375 N LINDEN RD                APT 134                                                     FLINT           MI   48504‐5721
TOWNER, DONALD D            RR 1 BOX 253A                                                                               WEST UNION      WV   26456‐9733
TOWNER, DONALD D            RT 1 BOX 253A                                                                               WEST UNION      WV   26456‐9733
TOWNER, FERDY T             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
TOWNER, GRACE L             2541 RUSTON RD                                                                              CENTRAL LAKE    MI   49622
TOWNER, GRACE L             2541 RUSHTON RD                                                                             CENTRAL LAKE    MI   49622‐9687
TOWNER, HARRIET L           LINCOLN SQUARE                  2210 SKYLINE DRIVE NORTHWEST                                GRAND RAPIDS    MI   49504‐5916
TOWNER, IONA                20700 ORANGELAWN                                                                            DETROIT         MI   48228‐1574
TOWNER, JOHN M              1032 CARSON CT                                                                              FLINT           MI   48503‐6308
TOWNER, JOYCE               1032 CARSON COURT                                                                           FLINT           MI   48503
TOWNER, KELVIN O            522 W MCCLELLAN ST                                                                          FLINT           MI   48505‐4077
TOWNER, LEVIE D             6509 DARYLL DRIVE                                                                           FLINT           MI   48505‐1961
TOWNER, LEVIE D             6509 DARYLL DR                                                                              FLINT           MI   48505‐1961
TOWNER, NANCY A             2056 MCKINLEY AVE                                                                           LORAIN          OH   44055‐3416
TOWNER, NATHANIEL           20700 ORANGELAWN ST                                                                         DETROIT         MI   48228‐1574
TOWNER, PHILIP L            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
TOWNER, ROBERTA S           19605 COTTAGEWOOD RD            C/O CAROL GARNER                                            EXCELSIOR       MN   55331‐9317
TOWNER, RUSS                204 S CREEDMOOR WAY                                                                         ANDERSON        IN   46011‐9018
TOWNER, RUSSELL L           204 S CREEDMOOR WAY                                                                         ANDERSON        IN   46011‐9018
TOWNER, SHARRON L           204 S CREEDMOOR WAY                                                                         ANDERSON        IN   46011‐9018
TOWNER, SWEARL J            PO BOX 310523                                                                               FLINT           MI   48531‐0523
                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                           Part 37 of 40 Pg 368 of 901
Name                     Address1                        Address2                        Address3   Address4         City              State Zip
TOWNES CHARLOTTE         TOWNES, CHAROLTTE               4510 BULL CREEK RD                                          AUSTIN             TX 78731‐5502
TOWNES JR, LEWIS         97 FIREBUSH LN                                                                              NORTHFIELD         OH 44067‐2879
TOWNES JR, WALTER        5916 NORTHWOOD DR                                                                           BALTIMORE          MD 21212‐3243
TOWNES, BARBARA J        1029 SAINT DUNSTANS RD                                                                      BALTIMORE          MD 21212‐4034
TOWNES, CHARLES H        366 LECONTE HALL                                                                            BERKELEY           CA 94720‐0001
TOWNES, CHESTER          18108 INDIANA ST                                                                            DETROIT            MI 48221‐2464
TOWNES, CHRISTINE C      3823 GRANADA AVE                                                                            BALTIMORE          MD 21207‐7618
TOWNES, DENNIS G         3019 IROQUOIS AVE                                                                           FLINT              MI 48505‐4045
TOWNES, JEMMA            PO BOX 310382                                                                               JAMAICA            NY 11431‐0382
TOWNES, JEMMA            P.O. BOX 310382                                                                             JAMAICA            NY 11431
TOWNES, LEONARD          41 VILLA DR                                                                                 PEEKSKILL          NY 10566‐4937
TOWNES, MARIETTA         4606 E 40TH ST                                                                              KANSAS CITY        MO 64130‐1608
TOWNES, MARIETTA         4606 E 40 ST                                                                                KANSAS CITY        MO 64130‐1608
TOWNES, ROBERT S         1028 E MOUNT PLEASANT AVE                                                                   PHILADELPHIA       PA 19150‐3421
TOWNES, WILLIMAE         8625 GILBERT ST                                                                             PHILADELPHIA       PA 19150‐2703
TOWNES‐BROWN, MAXINE     9321 CARBON PLANT RD                                                                        BASTROP            LA 71220‐8222
TOWNES‐BROWN, MAXINE A   9321 CARBON PLANT RD                                                                        BASTROP            LA 71220‐8222
TOWNEY, WILLIAM A        201 BROOKSIDE AVE                                                                           LAURENCE HBR       NJ 08879‐2827
TOWNLEY JR, CLARENCE     23726 ADA ST                                                                                BROWNSTOWN TWP     MI 48183‐1302
TOWNLEY WILLIAM          PO BOX 843                                                                                  FAYETTE            AL 35555‐0843
TOWNLEY, BARBARA A       607 WHISPERING WOODS RD                                                                     GLASGOW            KY 42141‐7052
TOWNLEY, CALEB G         30 MATAWAN RD                                                                               LAURENCE HARBOR    NJ 08879‐2695
TOWNLEY, CLAUDE D        348 LAURELTON RD                                                                            ROCHESTER          NY 14609‐4321
TOWNLEY, DEBORAH L       11550 HERON BAY DR                                                                          FENTON             MI 48430‐8611
TOWNLEY, IDA             5140 TURNER LANDING RD                                                                      LA CENTER          KY 42056‐9608
TOWNLEY, JENNIFER M      1427 LEROY ST                                                                               FERNDALE           MI 48220‐3143
TOWNLEY, JOSEPHINE K     950 CENTER PLACE DR APT H       COBBLESTONE COURT                                           ROCHESTER          NY 14615‐4028
TOWNLEY, LASHEMA         4053 OXFORD GLEN DR                                                                         FRANKLIN           TN 37067‐5829
TOWNLEY, LAVELLE J       7064 ROSEMARY ST                                                                            DEARBORN HTS       MI 48127‐4606
TOWNLEY, LORRAINE K      11550 HERON BAY DR.                                                                         FENTON             MI 48430‐8611
TOWNLEY, MARSHA R        3711 JEFFERSON RD                                                                           NORTH BRANCH       MI 48461‐8982
TOWNLEY, PAUL V          1133 OCEAN SHORE BLVD APT 101                                                               ORMOND BEACH       FL 32176‐3723
TOWNLEY, ROBERT          1202 MERTON DRIVE                                                                           MURFREESBORO       TN 37128‐8599
TOWNLEY, ROBERT          1202 MERTON DR                                                                              MURFREESBORO       TN 37128‐8599
TOWNLEY, ROBERT A        1100 E GRAND BLANC RD                                                                       GRAND BLANC        MI 48439‐8845
TOWNLEY, ROY L           3351 HIGHWAY 81                                                                             OXFORD             GA 30054‐3764
TOWNLEY, SIDNEY R        8696 EVANS TRL                                                                              ATLANTA            MI 49709‐9221
TOWNLEY, TERRY M         607 WHISPERING WOODS RD                                                                     GLASGOW            KY 42141‐7052
TOWNLEY, THERESA D       4034 DEWEY AVE                                                                              ROCHESTER          NY 14616‐1441
TOWNLEY, WILLIAM H       5140 TURNER LANDING RD                                                                      LA CENTER          KY 42056‐9608
TOWNLINE POWERSPORTS     424 W MAIN ST                                                                               FLUSHING           MI 48433‐2035
TOWNPLACE SUITES         1709 E LAMAR BLVD                                                                           ARLINGTON          TX 76006‐7303
TOWNS FRANK (490929)     BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                         PROFESSIONAL BLDG
TOWNS JAMES (492195)     BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                         PROFESSIONAL BLDG
TOWNS RUDOLPH V          TOWNS, RUDOLPH V                6028 ETZEL AVE                                              SAINT LOUIS       MO   63112‐2122
TOWNS, ADRIAN E          4140 ATLAS RD                                                                               DAVISON           MI   48423‐8635
TOWNS, ANDREW J          15030 WARWICK ST                                                                            DETROIT           MI   48223‐2272
TOWNS, AUDREY M          20017 BURT RD                                                                               DETROIT           MI   48219‐1363
TOWNS, BEVERLY A         PO BOX 310614                                                                               FLINT             MI   48531‐0614
TOWNS, BEVERLY ANN       PO BOX 310614                                                                               FLINT             MI   48531‐0614
                           09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                               Part 37 of 40 Pg 369 of 901
Name                       Address1                         Address2            Address3         Address4         City             State Zip
TOWNS, CAROL L             606 W MCCLELLAN ST                                                                     FLINT             MI 48505‐4077
TOWNS, CAROL LAURENE       606 W MCCLELLAN ST                                                                     FLINT             MI 48505‐4077
TOWNS, CHARLES M           5125 GUNSTON DR                                                                        COLUMBUS          OH 43232‐9503
TOWNS, CILVESTER           15761 STEEL ST                                                                         DETROIT           MI 48227‐4035
TOWNS, CLARENCE L          4569 CREEK FORD DR                                                                     DULUTH            GA 30096‐7204
TOWNS, CLARENCE LEE        4569 CREEK FORD DR                                                                     DULUTH            GA 30096‐7204
TOWNS, DEAN H              5810 COBB CREEK RD                                                                     ROCHESTER         MI 48306‐2421
TOWNS, DENNIS G            3019 IROQUOIS AVE                                                                      FLINT             MI 48505‐4045
TOWNS, DERRICK             29553 WOODPARK CIR                                                                     WARREN            MI 48092‐6307
TOWNS, DERRICK M           125 W DEWEY ST                                                                         FLINT             MI 48505‐4033
TOWNS, DONALD L            6900 W 96TH ST                                                                         ZIONSVILLE        IN 46077‐8412
TOWNS, DWAYNE E            2246 BARGE RD SW                                                                       ATLANTA           GA 30331‐2534
TOWNS, DWAYNE EUGENE       2246 BARGE RD SW                                                                       ATLANTA           GA 30331‐2534
TOWNS, EARNESTINE          766 E LYNDON AVE                                                                       FLINT             MI 48505‐2954
TOWNS, EDWARD L            1912 RED SUNSET DR                                                                     DECATUR           AL 35603‐4480
TOWNS, EULA M              3311 LUCIE ST                                                                          LANSING           MI 48911‐2821
TOWNS, FRANKLIN E          532 STILL WATER BLVD                                                                   ELYRIA            OH 44035‐8680
TOWNS, FREDA E             532 STILL WATER BLVD                                                                   ELYRIA            OH 44035‐8680
TOWNS, FREDDIE             110 EIGER PL                                                                           COLUMBIA          TN 38401‐5913
TOWNS, FREDDIE M           8431 S THROOP ST                                                                       CHICAGO            IL 60620‐4032
TOWNS, FREDDIE M           8431 S. THROOP ST.                                                                     CHICAGO            IL 60620‐4032
TOWNS, GLORIA K            855 OAKHURST RD                                                                        FOWLERVILLE       MI 48836‐9299
TOWNS, INEZ I              3550 INDIAN LAKES RD                                                                   CEDAR SPRINGS     MI 49319‐9197
TOWNS, JAMES A             532 STANFORD AVE                                                                       ELYRIA            OH 44035‐6639
TOWNS, JAMES E             780 CAYO GRANDE CT                                                                     NEWBURY PARK      CA 91320‐1942
TOWNS, JUDITH H            918 PLYMOUTH RD                                                                        SAGINAW           MI 48638‐7143
TOWNS, KENISHA A           PO BOX 190444                                                                          BURTON            MI 48519‐0444
TOWNS, KENISHA ANDRIETTA   1420 PERRY RD APT B1‐9                                                                 GRAND BLANC       MI 48439
TOWNS, LEWIS H             17140 ROBERT ST                                                                        SOUTHFIELD        MI 48075‐2916
TOWNS, LEWIS HILTON        17140 ROBERT ST                                                                        SOUTHFIELD        MI 48075‐2916
TOWNS, LYNN R              4471 CRICKET RIDGE DR APT 103                                                          HOLT              MI 48842‐2930
TOWNS, MARVIN W            918 PLYMOUTH RD                                                                        SAGINAW           MI 48638‐7143
TOWNS, NATHANIEL           766 E LYNDON AVE                                                                       FLINT             MI 48505‐2954
TOWNS, PALMER R            720 CHANDLER DR                                                                        TROTWOOD          OH 45426‐2510
TOWNS, PRINCESS            2059 HIGHLAND AVE                                                                      W COLLEGE HILL    OH 45224
TOWNS, ROBERT L            110 RILEY PL                                                                           FORT WAYNE        IN 46825‐8409
TOWNS, RUDOLPH V           5733 SW 18TH ST                                                                        WEST PARK         FL 33023‐3060
TOWNS, SABERIAL E          2563 M L KING AVE                                                                      FLINT             MI 48505‐4946
TOWNS, SABERIAL EVETT      2563 M L KING AVE                                                                      FLINT             MI 48505‐4946
TOWNS, SHARON              6601 RUSHTON RIDGE                                                                     MONTGOMERY        AL 36117
TOWNS, SHARON D            6601 RUSHTON RDG                                                                       MONTGOMERY        AL 36117‐4641
TOWNS, SHIRLEY E           9232 LAWNCREST RD                                                                      CLIO              MI 48420‐9763
TOWNS, THOMAS J            918 PLYMOUTH RD                                                                        SAGINAW           MI 48638‐7143
TOWNS, TIERRE              125 W DEWEY ST                                                                         FLINT             MI 48505‐4033
TOWNS, WILEY K             1252 FLAMINGO DR                                                                       MOUNT MORRIS      MI 48458‐2842
TOWNS, WILLIAM
TOWNS, WILLIAM O           20017 BURT RD                                                                          DETROIT          MI   48219‐1363
TOWNS‐HARRIS, FLORA B      5605 RIVIERA DR                                                                        FORT WAYNE       IN   46825‐5713
TOWNSAND, LARRY W          1602 CARMICKLE RD                                                                      MAYNARD          AR   72444‐9665
TOWNSEL COMBS              7493 NEW YORK WAY                                                                      DAYTON           OH   45414‐2489
TOWNSEL MCINTYRE           4620 OZARK AVE                                                                         DAYTON           OH   45432‐3204
TOWNSEL, A Z               33006 7 MILE RD                                                                        LIVONIA          MI   48152‐1358
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                      Part 37 of 40 Pg 370 of 901
Name                                Address1                              Address2                      Address3   Address4         City           State Zip
TOWNSEL, ANTHONY J                  PO BOX 310283                                                                                   FLINT           MI 48531‐0283
TOWNSEL, ANTHONY L                  10517 W OUTER DR                                                                                DETROIT         MI 48223‐2116
TOWNSEL, CAROLYN A                  3203 WEBBER ST                                                                                  SAGINAW         MI 48601‐4025
TOWNSEL, CHARLES W                  1480 SMITH RD                                                                                   YAZOO CITY      MS 39194‐9794
TOWNSEL, FRANCES R                  3433 N 10TH ST                                                                                  MILWAUKEE       WI 53206‐2820
TOWNSEL, FRANCES R                  3433 NORTH 10TH                                                                                 MILWAUKEE       WI 53206
TOWNSEL, FRANKIE                    28215 SOMERSET                                                                                  INKSTER         MI 48141‐1166
TOWNSEL, FRANKIE                    26430 WESTPHAL ST                     APT 208                                                   DEARBORN HTS    MI 48127‐3729
TOWNSEL, GEORGE D                   1032 TOWNSEL RD                                                                                 YAZOO CITY      MS 39194‐9137
TOWNSEL, HELEN                      33006 7 MILE RD                                                                                 LIVONIA         MI 48152
TOWNSEL, JIMMY RAY                  BEASLEY ALLEN CROW METHVIN PORTIS &   PO BOX 4160                                               MONTGOMERY      AL 36103‐4160
                                    MILES
TOWNSEL, LILLIAN                    3118 THELMA AVENUE                                                                              SAINT LOUIS    MO    63121
TOWNSEL, MARCELLUS L                205 S GULLEY RD                                                                                 DEARBORN       MI    48124‐1246
TOWNSEL, MARCELLUS LAMAR            205 S GULLEY RD                                                                                 DEARBORN       MI    48124‐1246
TOWNSEL, ROBERT                     1024 RIVER VALLEY DR APT 1030                                                                   FLINT          MI    48532‐2920
TOWNSEL, ROBERT L                   C/O CAROL SUE CLARK                   710‐E‐A‐STREET                BOX 4                       FOWLERTON      IN    46930
TOWNSEL, RODNEY J                   16190 WARWICK ST                                                                                DETROIT        MI    48219‐4045
TOWNSEL, ROSIE L                    9222 KENSINGTON                                                                                 DETROIT        MI    48224‐1925
TOWNSEL, WILLIE                     3168 S DARTMOUTH ST                                                                             DETROIT        MI    48217‐1021
TOWNSELL, APRIL D                   7150 NW 177TH ST APT 205                                                                        HIALEAH        FL    33015
TOWNSELL, EUGENE                    12008 LEEILA AVE                                                                                CLEVELAND      OH    44135‐4718
TOWNSEND AUTOMOTIVE & TIRE          9250 BLOOMINGTON FERRY RD                                                                       BLOOMINGTON    MN    55438‐1429
TOWNSEND BILLY D (429959)           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA    23510
                                                                          STREET, SUITE 600
TOWNSEND BROS., INC.                JEFFREY TOWNSEND                      1450 S DUPONT HWY                                         DOVER          DE 19901‐4904
TOWNSEND BROS., INC.                1450 S DUPONT HWY                                                                               DOVER          DE 19901‐4904
TOWNSEND CHEVROLET‐BUICK‐PONTIAC, I 125 W MAIN ST                                                                                   PARSONS        TN 38363‐2019

TOWNSEND CHEVROLET‐BUICK‐PONTIAC,   125 W MAIN ST                                                                                   PARSONS        TN 38363‐2019
INC.
TOWNSEND CHEVROLET‐BUICK‐PONTIAC,   THOMAS LEITCH                         125 W MAIN ST                                             PARSONS        TN 38363‐2019
INC.
TOWNSEND DANIEL S JR (415025)       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA 23510
                                                                          STREET, SUITE 600
TOWNSEND DAVID EARL (ESTATE OF)     COON & ASSOCS BRENT                   917 FRANKLIN ST STE 210                                   HOUSTON         TX   77002‐1751
(631533)
TOWNSEND EL JR, WILLIAM             819 W 9TH ST `                                                                                  ANDERSON        IN   45016‐1252
TOWNSEND ESTATE OF, SUZANNA LYNNE

TOWNSEND HELEN DAVIS                C/O EDWARD O MOODY P A                801 WEST 4TH STREET                                       LITTLE ROCK    AR    72201
TOWNSEND HOTEL                      100 TOWNSEND ST                                                                                 BIRMINGHAM     MI    48009‐6068
TOWNSEND III, JAMES C               28361 SHERIDAN ST                                                                               GARDEN CITY    MI    48135‐3122
TOWNSEND III, JOHN C                10082 CENTER RD                                                                                 FENTON         MI    48430‐9245
TOWNSEND JR, BOBBY                  835 PRINCETOWN RD                                                                               AUBURN HILLS   MI    48326
TOWNSEND JR, FLOYD                  200 RACE ST                                                                                     SMITHS GROVE   KY    42171‐8255
TOWNSEND JR, FRANK                  4948 DETROIT ST                                                                                 DEARBORN HTS   MI    48125‐3220
TOWNSEND JR, FRAZIER                3618 SOUDERTON DR                                                                               SAGINAW        MI    48601‐5171
TOWNSEND JR, HOWARD                 3009 MERRY OAKS DR NW                                                                           HUNTSVILLE     AL    35811‐1369
TOWNSEND JR, JOHNNIE R              3718 CASSIUS ST                                                                                 FLINT          MI    48505‐4098
TOWNSEND JR, KELSIE E               59 OAK HILL RD                                                                                  FAYVILLE       MA    01745‐1012
TOWNSEND JR, MICHAEL K              11825 LOVE RD                                                                                   ROSCOE         IL    61073‐9283
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                       Part 37 of 40 Pg 371 of 901
Name                                 Address1                       Address2                      Address3   Address4         City            State Zip
TOWNSEND LEATHER CO INC              45 49 TOWNSEND AVE                                                                       JOHNSTOWN        NY 12095
TOWNSEND LEE FLOYD                   C/O EDWARD O MOODY P A         801 WEST 4TH STREET                                       LITTLE ROCK      AR 72201
TOWNSEND MARY C                      DBA MC TOWNSEND ASSOCIATES     289 PARK ENTRANCE DR                                      PITTSBURGH       PA 15228‐1824
TOWNSEND NEON INC                    31550 GOSSETT DR                                                                         ROCKWOOD         MI 48173
TOWNSEND OIL CORP                    64 MAIN ST                                                                               LE ROY           NY 14482‐1443
TOWNSEND OREN DAVID (ESTATE OF)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
(459405)                                                            STREET, SUITE 600
TOWNSEND ORVIE                       TOWNSEND, ORVIE                2607 JOHN AVE                                             SUPERIOR        WI 54880
TOWNSEND PAUL (ESTATE OF) (501738)   LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                   MIAMI           FL 33143‐5163

TOWNSEND PROPERTY TRUST LP           KERR MCGEE CTR                 11490 WESTHEIMER STE 550                                  HOUSTON         TX 77077
TOWNSEND RAIMUNDO BESLER & USHER     1717 I ST                                                                                SACRAMENTO      CA 95811‐3001

TOWNSEND ROBERT E                    TOWNSEND, KARI L               1324 VIRGINIA ST E                                        CHARLESTON      WV   25301‐3012
TOWNSEND ROBERT E                    TOWNSEND, ROBERT E             1324 VIRGINIA ST E                                        CHARLESTON      WV   25301‐3012
TOWNSEND ROBERT E                    TOWNSEND, ROBERT E             PO BOX 1266                                               CHARLESTON      WV   25325‐1266
TOWNSEND ROBYNE                      8 QUAIL RUN RD                                                                           HENDERSON       NV   89014‐2146
TOWNSEND SEARCH GROUP                390 PARK ST STE 100                                                                      BIRMINGHAM      MI   48009‐3400
TOWNSEND SEARCH GROUP LLC            390 PARK ST STE 100                                                                      BIRMINGHAM      MI   48009‐3400
TOWNSEND SHARON                      TOWNSEND, SHARON               125 BOWLES VALLEY RD                                      ROCKY MOUNT     VA   24151‐4509
TOWNSEND SR, GARY M                  1069 E SADDLEBACK PL                                                                     QUEEN CREEK     AZ   85243‐6790
TOWNSEND SR., RICHARD A              2908 ALGONQUIN PKWY                                                                      TOLEDO          OH   43606‐3747
TOWNSEND SR., RICHARD ALAN           2908 ALGONQUIN PKWY                                                                      TOLEDO          OH   43606‐3747
TOWNSEND TREES, INC.                 JASON SWOVLAND                 101 S MAIN ST                                             PARKER CITY     IN   47368‐9547
TOWNSEND VERNON (ESTATE OF) (501739) LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                   MIAMI           FL   33143‐5163

TOWNSEND'S TIRE SERVICE INC.         104 BELLMONT RD                                                                          DECATUR         IN   46733‐2704
TOWNSEND, ALBERT F                   3123 RASKOB ST                                                                           FLINT           MI   48504‐3228
TOWNSEND, ALBERT W                   PO BOX 672                                                                               CLAYMONT        DE   19703‐0672
TOWNSEND, ALICE E                    128 W BIRCHWOOD CT             BAYSHORE ESTATES                                          SANDUSKY        OH   44870‐4402
TOWNSEND, ALVIN                      SHANNON LAW FIRM               100 W GALLATIN ST                                         HAZLEHURST      MS   39083‐3007
TOWNSEND, ANNIE J                    2908 ALGONQUIN PKWY                                                                      TOLEDO          OH   43606‐3747
TOWNSEND, ANNIE JEAN                 2908 ALGONQUIN PKWY                                                                      TOLEDO          OH   43606‐3747
TOWNSEND, ARCHIE L                   4360 IVY RUN                                                                             ELLENWOOD       GA   30294‐6500
TOWNSEND, BARBARA D                  4473 CEDARDALE LN                                                                        FLUSHING        MI   48433‐1013
TOWNSEND, BARBARA E                  27586 PARKVIEW BLVD APT 13                                                               WARREN          MI   48092‐2941
TOWNSEND, BARBARA J                  2137 OBRIEN RD                                                                           MOUNT MORRIS    MI   48458‐2639
TOWNSEND, BARCLAY A                  242 SYKESVILLE RD                                                                        CHESTERFIELD    NJ   08515‐2407
TOWNSEND, BEDELIA                    4144 SHENANDOAH DR                                                                       DAYTON          OH   45417‐1155
TOWNSEND, BENTON L                   5147 SCARSDALE DR APT B                                                                  KETTERING       OH   45440‐2456
TOWNSEND, BERNADINE R                916 GERALD ST                                                                            FLUSHING        MI   48433‐1742
TOWNSEND, BERNICE                    312 SETTLECROFT LN                                                                       HOLLY SPRINGS   NC   27540
TOWNSEND, BERNICE                    29 TOWNSEND STREET                                                                       ROCHESTER       NY   14621‐3531
TOWNSEND, BETTIE P                   1008 MALIBU DR                                                                           ANDERSON        IN   46016‐2770
TOWNSEND, BETTY J                    8537 MAGNOLIA AVE APT. 137                                                               RIVERSIDE       CA   92504‐2504
TOWNSEND, BETTY J                    PO BOX 483                                                                               ADRIAN          MI   49221‐0483
TOWNSEND, BETTY J.                   1809 SW G ST                                                                             RICHMOND        IN   47374‐5027
TOWNSEND, BETTY J.                   1809 S.W. G STREET                                                                       RICHMOND        IN   47374‐5027
TOWNSEND, BEVERLY B                  304 RIDGE RD NW                                                                          WILSON          NC   27896‐1203
TOWNSEND, BILL M                     307 INDIAN CREEK RD                                                                      BROWNSVILLE     KY   42210‐9269
TOWNSEND, BILLY D                    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                    STREET, SUITE 600
                        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                            Part 37 of 40 Pg 372 of 901
Name                    Address1                         Address2                      Address3   Address4         City             State Zip
TOWNSEND, BILLY J       5121 EAGLE NEST DR                                                                         ARLINGTON         TX 76017‐2004
TOWNSEND, BILLY J       10652 OLD ABBOTT PL                                                                        WOODSTOCK         AL 35188‐9639
TOWNSEND, BOBBY         PO BOX 420302                                                                              PONTIAC           MI 48342‐0302
TOWNSEND, BOBBY G       3506 CRYSTAL LAWN CT                                                                       SAINT LOUIS       MO 63129‐5906
TOWNSEND, BRENT J       31955 30 MILE RD                                                                           LENOX             MI 48050‐1720
TOWNSEND, CAROLYN G     PO BOX 1118                                                                                CUMMING           GA 30028‐1118
TOWNSEND, CAROLYN S     PO BOX 231                                                                                 ELWOOD            IN 46036‐0231
TOWNSEND, CATHY G       1193 E CASS AVE                                                                            FLINT             MI 48505‐1640
TOWNSEND, CHARLES E     712 ARBOR DR                                                                               YPSILANTI         MI 48197‐5173
TOWNSEND, CHARLES L     5420 GEORGIA AVE                                                                           KANSAS CITY       KS 66104‐3059
TOWNSEND, CHARLES R     3293 W FARRAND RD                                                                          CLIO              MI 48420‐8827
TOWNSEND, CHARLES W     105 GREELEY LN                                                                             YOUNGSTOWN        OH 44505‐4821
TOWNSEND, CHARLIE R     PO BOX 461                                                                                 OXFORD            GA 30054‐0461
TOWNSEND, CHRISTANIA    700 E COURT ST APT. #103                                                                   FLINT             MI 48503‐6221
TOWNSEND, CLARENCE      417 S 20TH ST                                                                              SAGINAW           MI 48601‐1528
TOWNSEND, CLARENCE W    58 HUBBARDSTON PL                                                                          AMHERST           NY 14228‐2833
TOWNSEND, CLAUDETTE M   6654 KIMBALL AVE                                                                           KANSAS CITY       KS 66104‐1853
TOWNSEND, CLAYTON       5748 S SHEPARDSVILLE RD                                                                    SAINT JOHNS       MI 48879‐9141
TOWNSEND, CLEO F        1351 W STOLL RD                                                                            DEWITT            MI 48820‐8645
TOWNSEND, CLEO F.       1351 W STOLL RD                                                                            DEWITT            MI 48820‐8645
TOWNSEND, CLINTON A     44 SANTA ROSA CIR                                                                          WYLIE             TX 75098‐8240
TOWNSEND, CLYDE A       500 APT 6 KISSIMMEE OAKS CT                                                                KISSIMMEE         FL 34741
TOWNSEND, CONNIE J      932 WINDY HILL CT                                                                          RUSSIAVILLE       IN 46979‐9300
TOWNSEND, CORINE        582 NEVADA AVE                                                                             PONTIAC           MI 48341‐2553
TOWNSEND, CYNTHIA D     2245 MERRITT WAY                                                                           ARLINGTON         TX 76018‐3130
TOWNSEND, DALLAS        427 25TH ST                                                                                DUNBAR            WV 25064‐1613
TOWNSEND, DANIEL P      9119 S STATE ROAD 3                                                                        MUNCIE            IN 47302‐8790
TOWNSEND, DANIEL S      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                         STREET, SUITE 600
TOWNSEND, DANIKA N
TOWNSEND, DANN R        7348 HOFFMAN RD                                                                            APPLETON         NY   14008‐9661
TOWNSEND, DAVID         1260 JOOSTEN ST SW                                                                         WYOMING          MI   49509‐1485
TOWNSEND, DAVID EARL    COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                   HOUSTON          TX   77002‐1751
TOWNSEND, DAVID W       234 LANCELOT LN                                                                            FRANKLIN         TN   37064‐0718
TOWNSEND, DEBRA E       6467 BATTERY PT                                                                            STONE MTN        GA   30087‐4689
TOWNSEND, DELBERT       214 ELIZABETH ST                                                                           S DOWN BROOK     NJ
TOWNSEND, DELLA
TOWNSEND, DIAMOND S     1956 W HAVENS ST                                                                           KOKOMO           IN   46901‐1877
TOWNSEND, DIANA N       369 SUNSHINE HILL RD W                                                                     LONDON           KY   40744‐8963
TOWNSEND, DONALD        17539 24TH ST                                                                              LIVE OAK         FL   32060‐1218
TOWNSEND, DONALD G      PO BOX 74                                                                                  MARMADUKE        AR   72443‐0074
TOWNSEND, DONALD G      580 MILKY WAY DR                                                                           PULASKI          TN   38478‐7557
TOWNSEND, DONALD L      1379 NORTON ST                                                                             BURTON           MI   48529‐1258
TOWNSEND, DONALD L      2647 16TH DR                                                                               FRIENDSHIP       WI   53934‐9619
TOWNSEND, DONALD L      PAJCIC & PAJCIC                  1 INDEPENDENT DR STE 3100                                 JACKSONVILLE     FL   32202‐5025
TOWNSEND, DONNA L       29 PRAVER LN                                                                               PALM COAST       FL   32164‐4765
TOWNSEND, DOROTHY C     613 KING ST                                                                                BAY CITY         MI   48706‐3726
TOWNSEND, DOROTHY L     1901 TAYLOR RD                                                                             COLUMBUS         IN   47203‐3908
TOWNSEND, DOROTHY L     813 CRANDALL AVE                                                                           YOUNGSTOWN       OH   44510‐1216
TOWNSEND, DOUGLAS R     4986 SHUNPIKE RD                                                                           LOCKPORT         NY   14094‐9715
TOWNSEND, DOUGLAS W
TOWNSEND, EDWARD L      6467 BATTERY PT                                                                            STONE MOUNTAIN   GA 30087‐4689
                          09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                            Part 37 of 40 Pg 373 of 901
Name                      Address1                       Address2                         Address3   Address4         City            State Zip
TOWNSEND, EDWARD W        3039 BERKLEY ST                                                                             FLINT            MI 48504‐3203
TOWNSEND, EDWIN A         68 RICHARDSON RD                                                                            LYNN             MA 01904‐2502
TOWNSEND, EILEEN S        W26W22350 BIRCHWOOD CT.                                                                     WAUKESHA         WI 53186
TOWNSEND, EMILY NICOLE
TOWNSEND, EMMA J          5307 POCASSETT DR                                                                           ARLINGTON       TX   76018
TOWNSEND, EMMAGEAN        7248 ANNA ST                                                                                GRAND BLANC     MI   48439‐8547
TOWNSEND, ERMA            3959 WILMA COURT                                                                            CINCINNATI      OH   45245‐2214
TOWNSEND, ESSIE B         123 W BAKER ST                                                                              FLINT           MI   48505‐4137
TOWNSEND, ETTA            289 HEATHERSTONE ST                                                                         HENDERSON       NV   89052‐2651
TOWNSEND, ETTA            289 HEATHER STONE STREET                                                                    HENDERSON       NV   89052
TOWNSEND, EVERSON L       2975 REIMER ROAD EXT                                                                        NORTON          OH   44203‐5338
TOWNSEND, EVONE           2158 FLAMINGO DR                                                                            MOUNT MORRIS    MI   48458‐2610
TOWNSEND, FOREST          STE 805                        40 PEARL STREET NORTHWEST                                    GRAND RAPIDS    MI   49503‐3031
TOWNSEND, FREDERIC D      877 HICKORY CREEK DR                                                                        TEMPERANCE      MI   48182‐2327
TOWNSEND, FREDNA M        1901 HAZEL AVE APT 4                                                                        DAYTON          OH   45420
TOWNSEND, FREDRICK E      804 N 600 W                                                                                 KOKOMO          IN   46901‐3764
TOWNSEND, GARY            448 TOWNSEND RD                                                                             SPRING CHURCH   PA   15686‐1006
TOWNSEND, GARY D          756 VIRGINIA                                                                                BELLEVILLE      MI   48111‐9084
TOWNSEND, GARY E          1182 SAINT VINCENT DR                                                                       MONROEVILLE     PA   15146‐4318
TOWNSEND, GARY W          912 EVERYMAN CT                                                                             COLUMBIA        TN   38401‐5596
TOWNSEND, GARY W          PO BOX 208                                                                                  SANBORN         NY   14132‐0208
TOWNSEND, GENEVA A        400 N SWAMP RD                 P O BOX 50                                                   HARRISVILLE     MI   48740‐9787
TOWNSEND, GEORGE E        506 S BROAD ST                                                                              HOLLY           MI   48442‐1603
TOWNSEND, GEORGE E        1755 PLEASANT VALLEY RD.                                                                    GIRARD          OH   44420‐1262
TOWNSEND, GEORGE EDMUND   506 S BROAD ST                                                                              HOLLY           MI   48442‐1603
TOWNSEND, GEORGIA W       3320 BAINBRIDGE DR                                                                          JACKSON         MS   39213‐6524
TOWNSEND, GEORGINA        8710 28TH AVE E                                                                             PALMETTO        FL   34221‐8587
TOWNSEND, GEORGINA        8710 28TH AVENUE EAST                                                                       PALMETTO        FL   34221‐4221
TOWNSEND, GERALD D        387 BRENTWOOD DR                                                                            YOUNGSTOWN      NY   14174‐1403
TOWNSEND, GERALD O        109 W LARCH ST                                                                              STRATFORD       WI   54484‐9473
TOWNSEND, GERALDINE       5254 HILLSBORO RD                                                                           DAVISBURG       MI   48350‐3825
TOWNSEND, GERALDINE B     2013 STAYMAN DR                                                                             DAYTON          OH   45440‐1632
TOWNSEND, GLADYS L        310 ELRUTH CT APT 114                                                                       GIRARD          OH   44420‐3027
TOWNSEND, GRACE E         6643 BURNHAM DR                C/O SALLY OLSZEWSKI                                          CANTON          MI   48187‐3014
TOWNSEND, GRACE L         PO BOX 2285                                                                                 CALHOUN         GA   30703
TOWNSEND, GRADY           19267 RUSSELL ST                                                                            DETROIT         MI   48203‐1378
TOWNSEND, GREGORY A       1021 N MORRISON ST                                                                          KOKOMO          IN   46901
TOWNSEND, HAROLD L        12536 POINTER PL                                                                            FISHERS         IN   46038‐1214
TOWNSEND, HAROLD R        369 SUNSHINE HILL RD W                                                                      LONDON          KY   40744‐8963
TOWNSEND, HAROLD R        2728 BROWN ST                                                                               FLINT           MI   48503‐3339
TOWNSEND, HELEN DAVIS     MOODY EDWARD O                 801 W 4TH ST                                                 LITTLE ROCK     AR   72201‐2107
TOWNSEND, HELEN M         940 E DIXON ST                                                                              KOKOMO          IN   46901‐3137
TOWNSEND, HENRY W         450 WALNUT ST APT 308                                                                       YONKERS         NY   10701‐6534
TOWNSEND, HERBERT G       5198 RHINE DR                                                                               FLINT           MI   48507‐2915
TOWNSEND, J C             123 W BAKER ST                                                                              FLINT           MI   48505‐4137
TOWNSEND, JAMES           COONEY & CONWAY                120 NORTH LASALLE STREET, 30TH                               CHICAGO         IL   60602
                                                         FLOOR
TOWNSEND, JAMES           223 ELMHURST ROAD                                                                           DAYTON          OH   45417‐1420
TOWNSEND, JAMES           223 ELMHURST RD                                                                             DAYTON          OH   45417‐1420
TOWNSEND, JAMES D         PO BOX 128                                                                                  ATLAS           MI   48411‐0128
TOWNSEND, JAMES W         915 E COURT ST APT 301                                                                      FLINT           MI   48503‐2083
TOWNSEND, JAMIE E         3621 BROWNELL BOULEVARD                                                                     FLINT           MI   48504
                          09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                             Part 37 of 40 Pg 374 of 901
Name                      Address1                        Address2            Address3         Address4         City            State Zip
TOWNSEND, JANE C          500 APT 6 KISSIMMEE OAKS CT                                                           KISSIMMEE        FL 34741
TOWNSEND, JANICE S        912 PRICEWOOD CT                                                                      ANDERSON         IN 46013‐5147
TOWNSEND, JAY D           35711 CLARKSTON LN                                                                    RICHMOND         MI 48062‐8910
TOWNSEND, JEFFERY D       2245 MERRITT WAY                                                                      ARLINGTON        TX 76018‐3130
TOWNSEND, JEFFREY L       2245 MERRITT WAY                                                                      ARLINGTON        TX 76018‐3130
TOWNSEND, JERELYN W       3602 W PETTY RD                                                                       MUNCIE           IN 47304‐3276
TOWNSEND, JERRY A         2013 STAYMAN DR                                                                       DAYTON           OH 45440‐1632
TOWNSEND, JERRY L         1405 12TH ST                                                                          ATHENS           AL 35611‐4105
TOWNSEND, JERRY N         1918 ARDMORE AVE APT 47                                                               FORT WAYNE       IN 46802‐4823
TOWNSEND, JIMMIE L        20 MARTHA AVE                                                                         BUFFALO          NY 14215‐2843
TOWNSEND, JIMMIE L        20 MARTHA AVE.                                                                        BUFFALO          NY 14215‐2843
TOWNSEND, JOANNE M        4349 S MEADOW DR                                                                      WATERFORD        MI 48329‐4641
TOWNSEND, JOE P           17314 MARTIN DR                                                                       ATHENS           AL 35611‐5676
TOWNSEND, JOE R           412 PLEASANT VALLEY LN                                                                RICHARDSON       TX 75080‐1838
TOWNSEND, JOHN D          1121 SW 46TH ST                                                                       CAPE CORAL       FL 33914‐6346
TOWNSEND, JOHN W          PO BOX 50                       400 SWAMP RD                                          HARRISVILLE      MI 48740‐0050
TOWNSEND, JOHN W          212 E TAYLOR ST                                                                       FLINT            MI 48505‐4984
TOWNSEND, JOHNIE R        533 DAVE MURRELL RD                                                                   FOREST           MS 39074‐9352
TOWNSEND, JOHNNY L        4540 CARTER AVE                                                                       SAINT LOUIS      MO 63115‐2517
TOWNSEND, JON P           10110 IRISH RD                                                                        OTISVILLE        MI 48463‐9454
TOWNSEND, JON PAUL        10110 IRISH RD                                                                        OTISVILLE        MI 48463‐9454
TOWNSEND, JOSEPH D        11701 E COUNTY ROAD 125 S                                                             SELMA            IN 47383‐9324
TOWNSEND, JOSEPH D        LEE WILLIAM L JR                PO BOX 14047                                          JACKSON          MS 39236‐4047
TOWNSEND, JOSEPH G        10157 N CLIO RD                                                                       CLIO             MI 48420‐1987
TOWNSEND, JOSEPH GEORGE   10157 N CLIO RD                                                                       CLIO             MI 48420‐1987
TOWNSEND, JUDITH A        10915 E GOODALL RD UNIT 371                                                           DURAND           MI 48429
TOWNSEND, JUDITH A        8226 COUNTRY CLUB DR                                                                  BROOKSVILLE      FL 34613‐2706
TOWNSEND, JUDY K          1481 E STATE ROAD 18                                                                  KOKOMO           IN 46901‐7611
TOWNSEND, KANESHA T       452 MOORE ST                                                                          PONTIAC          MI 48342‐1961
TOWNSEND, KANISHA R       914 EVERETT DR APT C                                                                  DAYTON           OH 45402‐5628
TOWNSEND, KAREN S         808 RIVER HAMMOCK BLVD                                                                BRANDON          FL 33511‐8411
TOWNSEND, KATIE R         3618 SOUDERTON DR                                                                     SAGINAW          MI 48601
TOWNSEND, KAY F           8484 SHIELDS DRIVE              APT 204                                               SAGINAW          MI 48609
TOWNSEND, KAY F           8484 SHIELDS DR UNIT 204                                                              SAGINAW          MI 48609‐8517
TOWNSEND, KEITH V         PO BOX 245                                                                            LAINGSBURG       MI 48848‐0245
TOWNSEND, KEITH W         5 WENTWORTH CT                                                                        ETOWAH           NC 28729‐9751
TOWNSEND, KENNETH D       1308 E VAILE AVE                                                                      KOKOMO           IN 46901‐5621
TOWNSEND, KEVIN W         1013 E FIFTH ST                                                                       GREENFIELD       IN 46140‐1515
TOWNSEND, KEVIN W         2001 BAILEY CIR                                                                       GREENFIELD       IN 46140‐7175
TOWNSEND, KURT R          77 DETROIT BLVD N                                                                     LAKE ORION       MI 48362‐3622
TOWNSEND, L C             3260 DREXEL DR                                                                        SAGINAW          MI 48601‐4510
TOWNSEND, LARRY D         PO BOX 305                                                                            PACIFIC          MO 63069‐0305
TOWNSEND, LARRY E         1370 GOLF DR                                                                          GILBERTSVILLE    PA 19525‐8814
TOWNSEND, LARRY W         1514 HUNTINGTON LN                                                                    DAVISON          MI 48423‐8307
TOWNSEND, LAURA M         154 CLARMARC DR                                                                       FRANKENMUTH      MI 48734
TOWNSEND, LAWRENCE        60 FIFE LICK RD                                                                       CLAY CITY        KY 40312‐8015
TOWNSEND, LAWRENCE        3364 RIDGECLIFFE DR                                                                   FLINT            MI 48532‐3737
TOWNSEND, LAWRENCE A      1522 STANLEY ST                                                                       SAGINAW          MI 48602‐1059
TOWNSEND, LAWRENCE D      PO BOX 1118                                                                           CUMMING          GA 30028‐1118
TOWNSEND, LAWRENCE E      1030 UNIONVILLE PEACE RD                                                              RISON            AR 71665‐9390
TOWNSEND, LAWRENCE F      5190 ALTA CT                                                                          CLARKSTON        MI 48348‐4900
TOWNSEND, LAWRENCE R      7627 SEA MIST DR                                                                      PT CHARLOTTE     FL 33981
                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                             Part 37 of 40 Pg 375 of 901
Name                   Address1                           Address2                      Address3   Address4         City              State Zip
TOWNSEND, LEE D        29656 SPOON AVE                                                                              MADISON HTS        MI 48071‐4437
TOWNSEND, LEE FLOYD    MOODY EDWARD O                     801 W 4TH ST                                              LITTLE ROCK        AR 72201‐2107
TOWNSEND, LEKIA P      823 BRANDYWINE DRIVE                                                                         BEAR               DE 19701‐1275
TOWNSEND, LENIAL D     1990 N COUNTRY CLUB RD                                                                       PERU               IN 46970‐8387
TOWNSEND, LENORA L     631 LEO DR                                                                                   HAMILTON           OH 45013‐1482
TOWNSEND, LERA         799 S E 43RD AVENUE                                                                          TRENTON            FL 32693‐5010
TOWNSEND, LERA         799 SE 43RD AVE                                                                              TRENTON            FL 32693‐5010
TOWNSEND, LEXIE        8054 CLARKLAKE RD                                                                            CLARKLAKE          MI 49234‐9765
TOWNSEND, LILLIE I     12858 MAYFIELD RD                                                                            ATHENS             AL 35611‐7660
TOWNSEND, LISLE G      817 DEER RUN BLVD                                                                            PRUDENVILLE        MI 48651‐9201
TOWNSEND, LORETTA M    2850 S LIVERNOIS RD                                                                          ROCHESTER HILLS    MI 48307‐4422
TOWNSEND, LORRAINE     1451 WASHINGTON AVE APT 2C                                                                   BRONX              NY 10456
TOWNSEND, LOUIDA       2090 HIGHWAY 14 N                                                                            COVINGTON          TN 38019‐7956
TOWNSEND, LOUIDA       2090 HIGHWAY #14 NORTH                                                                       COVINGTON          TN 38019‐7956
TOWNSEND, MABLE        9526 ARBORIDGE LANE                                                                          MIAMISBURG         OH 45342‐4582
TOWNSEND, MARCELLA I   365 IVERSON WAY                                                                              GALLOWAY           OH 43119‐8351
TOWNSEND, MARGARET J   3293 W FARRAND RD                                                                            CLIO               MI 48420‐8827
TOWNSEND, MARGARET S   1321 LAKESIDE WAY                                                                            SEBRING            FL 33876‐7419
TOWNSEND, MARIE E      5536 TOWNLINE RD                                                                             SANBORN            NY 14132‐9372
TOWNSEND, MARIE E      7158 SARONI DRIVE                                                                            OAKLAND            CA 94611‐1421
TOWNSEND, MARK E       629 BRAHIER LN                                                                               MAUMEE             OH 43537‐2440
TOWNSEND, MARTHA M     4986 SHUNPIKE ROAD                                                                           LOCKPORT           NY 14094‐9715
TOWNSEND, MARTIN       170 NORTH GREECE ROAD                                                                        HILTON             NY 14468‐8902
TOWNSEND, MARVIN       7405 DODGE RD                                                                                MONTROSE           MI 48457‐9193
TOWNSEND, MARVIN H     5017 N FREMONT AVE                                                                           KANSAS CITY        MO 64119‐3872
TOWNSEND, MARVIN L     7405 DODGE RD                                                                                MONTROSE           MI 48457‐9193
TOWNSEND, MARY         4035 MYRON                                                                                   DAYTON             OH 45416‐5416
TOWNSEND, MARY A       47835 OXFORD CT                                                                              NORTHVILLE         MI 48168‐8515
TOWNSEND, MARY A       29511 THOMAS CT                                                                              INKSTER            MI 48141‐2812
TOWNSEND, MEAPHIE I    3019 PANGBORN ROAD                                                                           DECATUR            GA 30033‐1813
TOWNSEND, MELVIN       PO BOX 195822                                                                                LITTLE ROCK        AR 72219‐5822
TOWNSEND, MELVIN F     5298 KIMBERLY DR                                                                             GRAND BLANC        MI 48439‐5158
TOWNSEND, MICHAEL      6463 FISCHER ST                                                                              DETROIT            MI 48213‐2646
TOWNSEND, MICHAEL      KINNER & PATTON                    328 E COURT ST                                            PRESTONSBURG       KY 41653‐7935
TOWNSEND, MICHAEL F    2232 N OAK RD                                                                                DAVISON            MI 48423‐8170
TOWNSEND, MICHAEL G    2270 CRABAPPLE LN                                                                            LAPEER             MI 48446‐9328
TOWNSEND, MICHAEL K    1338 E MADISON DR                                                                            CASA GRANDE        AZ 85222‐3289
TOWNSEND, MICHAEL L    3317 RENAULT DR                                                                              FLINT              MI 48507‐3363
TOWNSEND, MICHEL S     619 BOUNTY DR                                                                                BAY POINT          CA 94565‐2953
TOWNSEND, MILTON       3219 FLAMINGO DR                                                                             SAGINAW            MI 48601‐5758
TOWNSEND, MONROE       216 GRACE ST                                                                                 DANVILLE            IL 61832‐6528
TOWNSEND, NILA F       726 DRESSER DR                                                                               ANDERSON           IN 46011‐1110
TOWNSEND, NORMA        4892 HOLMES DR                                                                               GOODRICH           MI 48438‐9615
TOWNSEND, OLIVER W     3933 HILAND ST                                                                               SAGINAW            MI 48601‐4160
TOWNSEND, OREN DAVID   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
TOWNSEND, ORVIE        2607 JOHN AVE                                                                                SUPERIOR          WI   54880‐4949
TOWNSEND, OTTO         PO BOX 911                                                                                   DECATUR           MS   39327‐0911
TOWNSEND, PAT A        15850 WHITTEMORE DR                                                                          EAST LANSING      MI   48823‐9411
TOWNSEND, PATRICIA A   1755 PLEASANT VALLEY RD.                                                                     GIRARD            OH   44420‐1262
TOWNSEND, PATRICIA E   708 W CASS ST                                                                                SAINT JOHNS       MI   48879‐1719
TOWNSEND, PAUL         C/O THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD       SUITE 44                    CORAL GABLES      FL   33146
                            09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                Part 37 of 40 Pg 376 of 901
Name                        Address1                         Address2                  Address3   Address4         City              State Zip
TOWNSEND, PAUL              LIPMAN DAVID M                   5901 SW 74TH ST STE 304                               MIAMI              FL 33143‐5163
TOWNSEND, PAULA J           255 MEMORIAL DR APT D‐3                                                                STURGIS            MI 49091‐8861
TOWNSEND, PAULA M           7154 DUR MOLL AVE                                                                      SHELBY TWP         MI 48317‐3120
TOWNSEND, PEARL             485 SANDERS RD                                                                         OXFORD             MI 48371‐4327
TOWNSEND, PEARL M           2328 ACORN DR                                                                          DAYTON             OH 45419‐2720
TOWNSEND, PETER             10819 OAK LN BLDG 19U19204                                                             BELLEVILLE         MI 48111
TOWNSEND, PETER G           665 LYNNDALE CT                                                                        ROCHESTER HILLS    MI 48309‐2436
TOWNSEND, PHILIP C          8184 E ARNOLD LAKE RD                                                                  HARRISON           MI 48625‐7311
TOWNSEND, PHILLIP L         2302 LONE PINE RD                                                                      GAYLORD            MI 49735
TOWNSEND, PHYLLIS J         298 GOODING ST                                                                         LOCKPORT           NY 14094‐2332
TOWNSEND, PHYLLIS M         2713 E LYNN ST                                                                         ANDERSON           IN 46016‐5546
TOWNSEND, RAMONA            1469 SPRING FALLS CIR                                                                  DAYTON             OH 45440‐5007
TOWNSEND, RANDALL L         5321 BLUE STEM DR                                                                      WICHITA FALLS      TX 76310
TOWNSEND, REBECCA           1640 W 9TH ST                                                                          ANDERSON           IN 46016‐2804
TOWNSEND, REGINALD          29100 BEECHNUT ST                                                                      INKSTER            MI 48141‐1157
TOWNSEND, REGINALD B        1545 TAGALAK TRL                                                                       HOLT               MI 48842‐9575
TOWNSEND, RENNA B           914 PROVIDENCE RD APT 4                                                                CHESAPEAKE         VA 23325
TOWNSEND, RICHARD A         5430 BLUFF VIEW DR                                                                     INDIANAPOLIS       IN 46217‐2742
TOWNSEND, RICHARD ALBERT    5430 BLUFF VIEW DRIVE                                                                  INDIANAPOLIS       IN 46217‐2742
TOWNSEND, RICHARD D         142 KRISTI RD                                                                          ELM GROVE          LA 71051‐8447
TOWNSEND, RICHARD DOUGLAS   142 KRISTI RD                                                                          ELM GROVE          LA 71051‐8447
TOWNSEND, RICHARD L         851 MATTHEWS STREET                                                                    BRISTOL            CT 06010‐8527
TOWNSEND, RICHARD M         877 S 520 W                                                                            RUSSIAVILLE        IN 46979
TOWNSEND, ROBERT
TOWNSEND, ROBERT G          2922 VIRGINIA AVE                                                                      KALAMAZOO         MI   49004‐1642
TOWNSEND, ROBERT G          4424 DECOURSEY AVE                                                                     COVINGTON         KY   41015‐1856
TOWNSEND, ROBERT J          12335 BALDWIN RD                                                                       GAINES            MI   48436‐9702
TOWNSEND, ROBERT L          3461 SQUIRREL CT                                                                       AUBURN HILLS      MI   48326‐4007
TOWNSEND, ROBERT M          6525 CLARK RD                                                                          BATH              MI   48808‐8718
TOWNSEND, ROGER             123 W BAKER ST                                                                         FLINT             MI   48505‐4137
TOWNSEND, ROGER F           1543 APACHE CIR                                                                        TAVARES           FL   32778‐2547
TOWNSEND, RONALD H          498 WIMBLEDON DRIVE                                                                    BRANDON           MS   39047‐9047
TOWNSEND, ROOSEVELT         578 E DELAVAN AVE                                                                      BUFFALO           NY   14211‐1008
TOWNSEND, ROSE              6340 GREENWYCKE LN 169                                                                 MONROE            MI   48161
TOWNSEND, ROSEANNA A        465 CRAIGIE ST                                                                         SYRACUSE          NY   13206‐1013
TOWNSEND, ROSEANNA A.       465 CRAIGIE ST                                                                         SYRACUSE          NY   13206‐1013
TOWNSEND, ROSIE             216 GRACE ST                                                                           DANVILLE          IL   61832‐6528
TOWNSEND, ROSIE             216 GRACE                                                                              DANVILLE          IL   61832‐6528
TOWNSEND, ROY B             334 W FLEMING AVE                                                                      FORT WAYNE        IN   46807‐2826
TOWNSEND, ROY E             2850 S LIVERNOIS RD                                                                    ROCHESTER HILLS   MI   48307‐4422
TOWNSEND, ROY L             1145 E HARVARD AVE                                                                     FLINT             MI   48505‐1523
TOWNSEND, ROYCE E           6126 WILDERNESS RD                                                                     TYLER             TX   75703‐4549
TOWNSEND, RUBY              2321 NE 68TH ST                                                                        GLADSTONE         MO   64118‐3688
TOWNSEND, RUSSELL E         RT 6 BOX 258‐T                                                                         ATHENS            AL   35614
TOWNSEND, RUSSELL W         4064 TOTEM LN                                                                          WATERFORD         MI   48328‐4270
TOWNSEND, RUTH A            2841 WYNNETREE CT                                                                      HILLIARD          OH   43026‐8948
TOWNSEND, SANDRA G          2334 EPHRIHAM CT 2334                                                                  FORT WORTH        TX   76164
TOWNSEND, SARAH R           PO BOX 3606                                                                            SAN DIMAS         CA   91773‐7606
TOWNSEND, SCOTTY P          6711 GORSUCH RD                                                                        FRANKLIN          OH   45005‐4544
TOWNSEND, SHANNON O         2232 N OAK RD                                                                          DAVISON           MI   48423‐8170
TOWNSEND, SHANNON OPHELIA   2232 N OAK RD                                                                          DAVISON           MI   48423‐8170
TOWNSEND, SHARON            125 BOWLES VALLEY RD                                                                   ROCKY MOUNT       VA   24151‐4509
                                    09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                          Part 37 of 40 Pg 377 of 901
Name                                Address1                           Address2                  Address3   Address4                 City                State Zip
TOWNSEND, SHARON A                  19201 N 32ND DR                                                                                  PHOENIX              AZ 85027‐4857
TOWNSEND, SHAWNA MARIE
TOWNSEND, SHIRLEY A                 1422 LYNNWOOD DRIVE                                                                              ANDERSON            IN   46012
TOWNSEND, SHIRLEY A                 1543 APACHE CIR                                                                                  TAVARES             FL   32778‐2547
TOWNSEND, SHIRLEY Y                 PO BOX 116                                                                                       YOUNG AMERICA       IN   46998‐0116
TOWNSEND, STEVEN E                  10152 MONROE BLVD                                                                                TAYLOR              MI   48180‐3620
TOWNSEND, STEVEN R                  47835 OXFORD CT                                                                                  NORTHVILLE          MI   48168‐8515
TOWNSEND, SYLVESTER J               1469 SPRING FALLS CIR                                                                            DAYTON              OH   45440‐5007
TOWNSEND, TED W                     10120 NCR 675 W.                                                                                 GASTON              IN   47342
TOWNSEND, TED WAYNE                 10120 NCR 675 W.                                                                                 GASTON              IN   47342
TOWNSEND, TERRI R                   4592 HANNAFORD ST                                                                                DAYTON              OH   45439‐2764
TOWNSEND, TERRY R                   5767 S 100 W                                                                                     PENDLETON           IN   46064‐9389
TOWNSEND, TERRY T                   6227 WOODRIDGE LN                                                                                GRAND BLANC         MI   48439‐9051
TOWNSEND, TERRY TYRONE              6227 WOODRIDGE LN                                                                                GRAND BLANC         MI   48439‐9051
TOWNSEND, THOMAS A                  3080 THRASHER CT NW                                                                              KENNESAW            GA   30144‐2908
TOWNSEND, THOMAS E                  5320 MALL DR W APT 4B2                                                                           LANSING             MI   48917‐1927
TOWNSEND, THOMAS E                  615 GRISWOLD ST STE 1800           C/O JOYA GARLAND                                              DETROIT             MI   48226‐3989
TOWNSEND, THOMAS F                  4905 MAIN ST                                                                                     ANDERSON            IN   46013‐4741
TOWNSEND, THOMAS H                  913 N BRIDGE ST                                                                                  LINDEN              MI   48451‐9646
TOWNSEND, THOMAS J                  417 W F AVE                                                                                      NORTH LITTLE ROCK   AR   72116‐8721
TOWNSEND, THOMAS N                  631 LEO DR                                                                                       HAMILTON            OH   45013‐1482
TOWNSEND, THOMAS W                  111 DAISEY LN                                                                                    JUSTIN              TX   76247‐5808
TOWNSEND, TINA M                    158 LEXINGTON FARM RD                                                                            ENGLEWOOD           OH   45322
TOWNSEND, TONI L                    9112 LAURIE LN                                                                                   SHREVEPORT          LA   71118‐3028
TOWNSEND, TONY                      514 COLORADO AVE                                                                                 PONTIAC             MI   48341‐2519
TOWNSEND, TONYA L                   6152 EAVENSON RD                                                                                 BROOK PARK          OH   44142‐1436
TOWNSEND, TYRONE P                  PO BOX 16282                                                                                     LANSING             MI   48901‐6282
TOWNSEND, VENUS M                   2021 ADAMS AVE                                                                                   FLINT               MI   48505‐5033
TOWNSEND, VENUS M                   2021 ADAMS ST                                                                                    FLINT               MI   48505‐5033
TOWNSEND, VERA                      328‐43 THE QUEENSWAY N                                                  KESWICK ON CANADA L4P‐
                                                                                                            3T8
TOWNSEND, VERAGENE                  3998 DEER SPRINGS DR                                                                             BETTENDORF          IA   52722‐7141
TOWNSEND, VERNON                    LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                       MIAMI               FL   33143‐5163
TOWNSEND, VERNON C                  C/O THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD   SUITE 44                            CORAL GABLES        FL   33146
TOWNSEND, VINCENT O                 29 PRAVER LANE                                                                                   PALM COAST          FL   32164‐4765
TOWNSEND, W B                       5777 S 100 W                                                                                     PENDLETON           IN   46064‐9389
TOWNSEND, WANDA S                   31 FAYE DR APT 4                                                                                 TAYLOR MILL         KY   41015‐1771
TOWNSEND, WANDA S                   31 FAYE DR                         APT 4                                                         COVINGTON           KY   41015‐1771
TOWNSEND, WAYNE                     PO BOX 239                                                                                       FAIRMOUNT           GA   30139‐0239
TOWNSEND, WAYNE C                   12290 MANIER RD                                                                                  ATLANTA             MI   49709‐9114
TOWNSEND, WAYNE E                   4 LOCUST LN                                                                                      LANSING             MI   48911‐1152
TOWNSEND, WILLIAM E                 513 W BROADWAY ST                                                                                ALEXANDRIA          IN   46001‐1718
TOWNSEND, WILLIE D                  PO BOX 6323                                                                                      SPARTA              TN   38583‐6323
TOWNSEND, WILLIE J                  3910 AL HIGHWAY 87                                                                               TROY                AL   36079‐3252
TOWNSEND, WILLIE J                  2227 N MASON ST                                                                                  SAGINAW             MI   48602‐5209
TOWNSEND, WILLIE L                  4045 CRANBERRY LN                                                                                SAINT LOUIS         MO   63121‐3711
TOWNSEND,TERRI R                    4592 HANNAFORD ST                                                                                DAYTON              OH   45439‐2764
TOWNSEND/SPENCER                    PO BOX 856                         DUNN STEEL DRIVE                                              SPENCER             TN   38585‐0856
TOWNSHIP HIGH SCHOOL DISTRICT 211                                      1111 N ROHLWING RD                                                                IL   60074
TOWNSHIP OF BALDWIN                 1119 MONUMENT RD                                                                                 TAWAS CITY          MI   48763‐9266
TOWNSHIP OF BANGOR                  180 STATE PARK DR                                                                                BAY CITY            MI   48706‐1763
TOWNSHIP OF CHINA                   4560 INDIAN TRL                                                                                  CHINA               MI   48054‐3200
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                         Part 37 of 40 Pg 378 of 901
Name                               Address1                               Address2                     Address3   Address4              City             State Zip
TOWNSHIP OF CLAM LAKE              8809 E. M‐1152 RD.                                                                                   CADILLAC          MI 49601
TOWNSHIP OF CLARK TAX COLLECTOR    430 WESTFIELD AVE                                                                                    CLARK             NJ 07066‐1732
TOWNSHIP OF CRANFORD TAX COLLECTOR PO BOX 340                                                                                           CRANFORD          NJ 07016‐0340

TOWNSHIP OF DELTA, MI AND CITY OF   124 W. MICHIGAN (CITY PORTION)                                                                      LANSING          MI 48933
LANSING, MI
TOWNSHIP OF DELTA, MI AND CITY OF   7710 W SAGINAW HWY                                                                                  LANSING          MI 48917‐8974
LANSING, MI
TOWNSHIP OF EAST BRUNSWICK          MIDDLESEX COUNTY                      PO BOX 1084                                                   EAST BRUNSWICK    NJ   08816‐1084
TOWNSHIP OF EAST BRUNSWICK WATER    PO BOX 1081                                                                                         EAST BRUNSWICK    NJ   08816‐1081
UTILITY
TOWNSHIP OF FALLS
TOWNSHIP OF FALLS BUCKS COUNTYPA    188 LINCOLN HWY STE 100               FALLS TOWNSHIP                                                FAIRLESS HILLS   PA 19030‐1017

TOWNSHIP OF FERGUSON                                                      3147 RESEARCH DR.                                                              PA 16801
TOWNSHIP OF FLINT, MICHIGAN         1480 SOUTH DYE ROAD                                                                                 FLINT            MI 48532
TOWNSHIP OF FRASER                  1474 N MACKINAW RD                                                                                  LINWOOD          MI 48634‐9457
TOWNSHIP OF GRAND BLANK
TOWNSHIP OF GUSTIN                  2676 E PROCUNIER RD                                                                                 HARRISVILLE      MI    48740‐9537
TOWNSHIP OF HARING                  515 BELL AVE                                                                                        CADILLAC         MI    49601‐1109
TOWNSHIP OF HILLSIDE                                                      LIBERTY & HILLSIDE AVENUES                                                     NJ    07205
TOWNSHIP OF IRVINGTON                                                     334 16TH AVE                                                                   NJ    07111
TOWNSHIP OF MACOMB                  54111 BROUGHTON RD                                                                                  MACOMB           MI    48042‐1831
TOWNSHIP OF ORION, MI               2525 JOSLYN RD                                                                                      LAKE ORION       MI    48360‐1951
TOWNSHIP OF PENNSAUKEN              5605 N CRESCENT BLVD                                                                                PENNSAUKEN       NJ    08110‐1834
TOWNSHIP OF PORTLAND                10376 E DAVID HWY                                                                                   PEWAMO           MI    48873‐9714
TOWNSHIP OF ROMULUS
TOWNSHIP OF SPRINGFIELD                                                    1510 PAPER MILL RD                                                            PA 19038
TOWNSHIP OF TEANECK                                                        1600 RIVER RD                                                                 NJ 07666
TOWNSHIP OF UPPER ST CLAIRE         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1820 MCLAUGHLIN RUN RD                                       UPPER ST CLAIR   PA 15241

TOWNSHIP OF UPPER ST CLAIRE         1820 MCLAUGHLIN RUN RD                                                                              UPPER ST CLAIR   PA 15241
TOWNSHIP OF VOORHEES                620 HADDONFIELD BERLIN RD                                                                           VOORHEES         NJ 08043‐1493
TOWNSHIP OF VOORHEES                ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 620 HADDONFIELD BERLIN RD                                    VOORHEES         NJ 08043‐1493

TOWNSHIP OF YPSILANTI               11650 ECORSE RD                                                                                     YPSILANTI        MI    48197
TOWNSHIP OF YPSILANTI               ECORSE AND WIARD ROAD                                                                               YPSILANTI        MI    48196
TOWNSHIP OF YPSILANTI               1165 ECORSE RD                                                                                      YPSILANTI        MI    48198‐5822
TOWNSHIP OF YPSILANTI               WILLOW RUN                                                                                          YPSILANTI        MI    48197
TOWNSHIP SCHOOL DISTRICT 113                                              1040 PARK AVE W                                                                IL    60035
TOWNSIDE AUTOMOTIVE                 640 HILLSIDE AVE                                                              VICTORIA BC V8T 1Z2
                                                                                                                  CANADA
TOWNSLEY WILLIAM JR (463553)        ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET , ONE                                    BALTIMORE        MD 21202
                                                                          CHARLES CENTER 22ND FLOOR
TOWNSLEY, CLARENCE                  5318 KY 1304                                                                                        HINKLE           KY    40953‐5879
TOWNSLEY, HAROLD W                  7599 TIMBER SPRINGS DR S                                                                            FISHERS          IN    46038‐2208
TOWNSLEY, JAMES T                   1788 LORAN DR                                                                                       GENEVA           IL    60134‐2953
TOWNSLEY, JERRY N                   9611 WOODLAND CT                                                                                    YPSILANTI        MI    48197‐9740
TOWNSLEY, KAREN S                   2174 HIGHWAY 30 W                                                                                   TYNER            KY    40486‐9406
TOWNSLEY, KATHERINE                 9717 LOWER VALLEY RD                                                                                MIDWAY           OH    45341‐9749
TOWNSLEY, WILLIAM                   ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET, ONE                                     BALTIMORE        MD    21202
                                                                          CHARLES CENTER 22ND FLOOR
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                       Part 37 of 40 Pg 379 of 901
Name                                Address1                          Address2                 Address3   Address4         City             State Zip
TOWNSON, ARTHUR                     2100 KINGS HWY LOT 519                                                                 PORT CHARLOTTE    FL 33980‐4266
TOWNSON, DANIEL L                   1275 W KINDE RD                                                                        KINDE             MI 48445‐9792
TOWNSON, JAMES M                    6540 NADETTE                                                                           CLARKSTON         MI 48346‐1119
TOWNSON, KENNETH G                  1563 LIMERICK RD                                                                       KINDE             MI 48445‐9730
TOWNSON, OPAL L                     48 REMINGTON PKWY                                                                      ROCHESTER         NY 14623‐1038
TOWRY, CUBA D                       6315 FELLRATH ST                                                                       TAYLOR            MI 48180‐1124
TOWSEY, JOHN A                      1650 SPRINGHILL DR                                                                     LIMA              OH 45805‐3821
TOWSLEE, JACQUELYN J                6105 E CLINTON TRL                                                                     EATON RAPIDS      MI 48827‐9004
TOWSLEY, MARY C                     MT. TABOR ROAD                                                                         DANBY             VT 05739
TOWSLEY, ROBERT E                   5 COUNTY ROUTE 86                                                                      ADDISON           NY 14801‐9175
TOWSLEY, ROGER M                    64 W. LAKE STREET BOX 96                                                               SAND LAKE         MI 49343
TOWSON DONALD R                     3500 TRILLIUM CROSSING APT 2007                                                        COLUMBUS          OH 43235‐7995
TOWSON STATE UNIVERSITY             BURSARS OFFICE                    8000 YORK RD                                         TOWSON            MD 21252‐0001
TOWSON, ARTHUR R                    3214 JOWIN LANE                                                                        RICHMOND          VA 23223‐1918
TOWSON, BEAULAH M                   206 TREEHILLS PARKWAY                                                                  STONE MTN         GA 30088‐3019
TOWSON, CHARLES D                   16001 LONG AVE                                                                         OAK FOREST         IL 60452‐3826
TOWSON, CHARLES D                   16001 S LONG                                                                           OAK FOREST         IL 60452‐3826
TOWSON, DONALD R                    3500 TRILLIUM CROSSING            APT 2007                                             COLUMBUS          OH 43235‐3235
TOWSON, DONALD R                    APT 2007                          3500 TRILLIUM CROSSING                               COLUMBUS          OH 43235‐7995
TOX CORP/ADDISON                    730 W RACQUET CLUB DR                                                                  ADDISON            IL 60101‐4318
TOX PRESSOTECHNIK INC               4250 WEAVER PKWY                                                                       WARRENVILLE        IL 60555‐3924
TOX‐PRESSOTECHNIK LLC               4250 WEAVER PKWY                                                                       WARRENVILLE        IL 60555‐3924
TOY CENTURY INDUSTRIAL CO., LTD.
TOY PATTON                          5550 BEDFORD ST                                                                        DETROIT          MI 48224‐2657
TOY R PATTON                        5550 BEDFORD ST                                                                        DETROIT          MI 48224‐2657
TOY STATE INDUSTRIAL, LTD.
TOY VILLAGE                         3105 W SAGINAW ST                                                                      LANSING           MI 48917‐2393
TOY WORLD GROUP COMPANIES LIMITED

TOY, ANDREW                         104 LYNAM ST                                                                           NEWPORT          DE   19804‐3137
TOY, CHARLES                        BYRD & ASSOCIATES                 PO BOX 19                                            JACKSON          MS   39205‐0019
TOY, EARLLETTA                      7437 JELLICO                                                                           VAN NUYS         CA   91406‐2327
TOY, EARLLETTA                      7437 JELLICO AVE                                                                       VAN NUYS         CA   91406‐2327
TOY, EUGENE I                       4 RIDON DR                                                                             HOCKESSIN        DE   19707‐1003
TOY, FAYE B                         70 WEBB LN                                                                             SCARBRO          WV   25917
TOY, GAYLE S                        15248 CLARK ST UNIT 106                                                                SHERMAN OAKS     CA   91411‐3576
TOY, JACQUELINE                     5055 A W. GLADYS                                                                       CHICAGO          IL   60644‐4975
TOY, JACQUELINE                     5055 W GLADYS AVE APT A                                                                CHICAGO          IL   60644‐4975
TOY, JAMES E                        11315 INKSTER RD                                                                       LIVONIA          MI   48150‐3232
TOY, JOHN H                         260 DAVE WILLIAMS ROAD                                                                 EUBANK           KY   42567‐9647
TOY, PATRICIA                       16132 WELLINGTON STREET                                                                TAYLOR           MI   48180‐4808
TOY, ROBERT M                       6535 BUCKSHORE DR.                                                                     HAMBURG          MI   48139
TOY, ROBERT MARTIN                  6535 BUCKSHORE DR.                                                                     HAMBURG          MI   48139
TOY, THOMAS                         13022 IVY AVE                                                                          ETIWANDA         CA   91739‐9613
TOYA BERRY                          4200 BRIDGEVIEW DR                APT 124                                              FORT WORTH       TX   76109‐5565
TOYA D HAWKINS                      739 CLARKSON AVE                                                                       DAYTON           OH   45407‐1210
TOYA HIGHTOWER                      83 ELIOT LN                                                                            YOUNGSTOWN       OH   44505‐4817
TOYA JACKSON                        3570 NEEDHAM RD                                                                        LEXINGTON        OH   44904‐9213
TOYANIKA ARRINGTON                  1704 LANETTE LN                                                                        ARLINGTON        TX   76010‐8419
TOYBINA, MARY                       NELKIN & NELKIN PC                5417 CHAUCER DR                                      HOUSTON          TX   77005‐2629
TOYCEN MOTORS, INC.                 1115 MARTIN RD                                                                         BLOOMER          WI   54724‐1453
TOYCEN MOTORS, INC.                 DANIEL TOYCEN                     1115 MARTIN RD                                       BLOOMER          WI   54724‐1453
                                  09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                       Part 37 of 40 Pg 380 of 901
Name                              Address1                          Address2                         Address3                 Address4                   City              State Zip
TOYCEN OF LADYSMITH, INC.         DANIEL TOYCEN                     710 W 9TH ST N                                                                       LADYSMITH          WI 54848‐1253
TOYCEN OF LADYSMITH, INC.         710 W 9TH ST N                                                                                                         LADYSMITH          WI 54848‐1253
TOYE, JASON A                     12444 E LIPPINCOTT BLVD                                                                                                DAVISON            MI 48423‐9143
TOYE, JOHN F                      32 BURNS RD                                                                                                            NORTH BRUNSWICK    NJ 08902
TOYE, KENNISON J                  1063 S COLCHESTER CT                                                                                                   BLOOMINGTON        IN 47401
TOYE, NORMA L                     94 HUNTERS LANE                                                                                                        ANDERSON           SC 29625‐2032
TOYER, CLINT                      49169 DUNHILL DR                                                                                                       MACOMB             MI 48044‐1738
TOYER, JOE D                      226 INDEPENDENCE RD                                                                                                    TOLEDO             OH 43607‐2319
TOYGENEA CANTY                    2301 BARRETT AVENUE                                                                                                    ROYAL OAK          MI 48067‐3507
TOYIA WILLS                       1513 BENT DR                                                                                                           FLINT              MI 48504‐1986
TOYLYN JONES                      266 ROESCH AVE UPPER                                                                                                   BUFFALO            NY 14207
TOYO AUTOMOTIVE PARTS             ALAN RUANTO                       521 PAGE DR                      TOYO TIRE & RUBBER                                  FRANKLIN           KY 42134‐6243
TOYO AUTOMOTIVE PARTS             ALAN RUANTO                       TOYO TIRE & RUBBER               521 PAGE DRIVE           SALTILLO CZ 25900 MEXICO
TOYO AUTOMOTIVE PARTS USA INC     521 PAGE DR                                                                                                            FRANKLIN          KY 42134‐6243
TOYO DENSO CO LTD                 2556 MOORES RD                                                                                                         SEAMAN            OH 45679
TOYO DENSO CO LTD                 2‐10‐4 SHINBASHI                                                                            MINATO‐KU 105‐0004
                                                                                                                              JAPAN
TOYO LEX INDUSTRY CORP            2284 DANFORTH DR STE 600                                                                                               LEXINGTON         KY 40511‐2505
TOYO LEX INDUSTRY CORP.           GEORGE RAMAGEX26                  2284 DANFORTH DRIVE                                                                  SHELBYVILLE       IN
TOYO ROKI MFG CO LTD              2001 PRODUCTION DR                                                                                                     FINDLAY           OH 45840‐5450
TOYO ROKI MFG CO LTD              7800 NAKAZE                                                                                 HAMAKITA 434‐0012 JAPAN
TOYO ROKI MFG CO LTD              JODY GUCKES                       2001 PRODUCTION DRIVE                                                                DETROIT           MI    48234
TOYO SEAT USA CORP                CHUCK QUEENER                     2155 S ALMONT AVE                                                                    ROCHESTER HILLS   MI    48309
TOYO SEAT USA CORP                2155 S ALMONT AVE                                                                                                      IMLAY CITY        MI    48444‐9732
TOYO TIRE & RUBBER CO LTD         ALAN RUANTO                       521 PAGE DR                      TOYO TIRE & RUBBER                                  FRANKLIN          KY    42134‐6243
TOYO TIRE & RUBBER CO LTD         ALAN RUANTO                       TOYO TIRE & RUBBER               521 PAGE DRIVE           SALTILLO CZ 25900 MEXICO
TOYO TIRE/NOVI                    26200 TOWN CENTER DR STE 135                                                                                           NOVI              MI 48375‐1219
TOYO TIRES                        6261 KATELLA AVE STE 2B                                                                                                CYPRESS           CA 90630‐5249
TOYODA AUTOMATIC LOOM WORK LTD    2‐1, TOYODA‐CHO                   KARIYA CITY                                               AICHI 448 JAPAN

TOYODA BOSHOKU DENSO              DAVE WILSON                       1410 US HIGHWAY 70 BYP           DENSO CORPORATION                                   JACKSON           TN 38301‐5074
TOYODA BOSHOKU DENSO              DAVE WILSON                       DENSO CORPORATION                1410 US HIGHWAY 70 BYP                              JACKSON           TN 38301‐5074
TOYODA CENTER‐AIKIDO ASSN         ATTN: BLAINE FEYEN                3808 DIVISION AVE S                                                                  WYOMING           MI 49548‐3275
TOYODA GOSEI CO LTD               1 NAGAHATA OCHIAI HARUHI MACHI                                                              AICHI‐KEN, 452‐8 JAPAN
TOYODA GOSEI CO LTD                                                 1 NAGAHATA OCHIAI HARUHI MACHI                            AICHI‐KEN,JP,452‐
                                                                                                                              8564,JAPAN
TOYODA GOSEI CO LTD               2200 PLATTIN RD                                                                                                        PERRYVILLE        MO    63775‐3300
TOYODA GOSEI CO LTD               633 E MAIN ST                                                                                                          LEBANON           KY    40033‐1703
TOYODA GOSEI CO LTD               740 ADVANCE ST                                                                                                         BRIGHTON          MI    48116‐1238
TOYODA GOSEI CO LTD               CARI CRANE                        2200 PLATTIN RD                                                                      PERRYVILLE        MO    63775‐3300
TOYODA GOSEI CO LTD               CARI CRANE                        2200 PLATTIN ROAD                                                                    FENTON            MO
TOYODA GOSEI CO LTD               CARI CRANE                        633 E MAIN ST                                                                        LEBANON           KY    40033‐1703
TOYODA GOSEI CO LTD               CARI CRANE                        633 MAIN ST E                                             STARA ZAGORA, 6000
                                                                                                                              BULGARIA (REP)
TOYODA GOSEI CO LTD               CARI CRANE                        740 ADVANCE STREET                                                                   WESTFIELD          IN   46074
TOYODA GOSEI CO LTD               KEN SNYDER                        4491 DISCOVERY                                            PETROLIA ON CANADA
TOYODA GOSEI CO LTD               MONIKA TILES                      300 TORONTO ST                                            PALMERSTON ON CANADA
TOYODA GOSEI NORTH AMERICA COR    1400 STEPHENSON HWY                                                                                                    TROY              MI    48083‐1189
TOYODA GOSEI NORTH AMERICA CORP   740 ADVANCE ST                                                                                                         BRIGHTON          MI    48116‐1238
TOYODA IRON WORKS CO LTD          88 PARK ROAD                                                                                                           FINDLAY           OH    45840
TOYODA MACHINE WORKS              51300 PONTIAC TRL                 PO BOX 1003                                                                          WIXOM             MI    48393‐2045
                                   09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                     Exhibit B
                                                                     Part 37 of 40 Pg 381 of 901
Name                              Address1                            Address2                       Address3                    Address4                  City                State Zip
TOYODA MACHINE WORKS (9D)         YASUYUKI SATO                       TECHNICAL CENTER HANAZONO 1‐18 MIYAMA,SHINPUKUJI‐CHO,      AICHI 444‐2106, JAPAN
                                                                                                     OKAZAKI
TOYODA MACHINERY USA              51300 PONTIAC TRL                   ADDR 1\97                                                                            WIXOM                MI 48393‐2045
TOYODA MACHINERY USA CORP         51300 PONTIAC TRL                   PO BOX 1003                                                                          WIXOM                MI 48393‐2045
TOYODA MACHINERY USA INC          316 W UNIVERSITY DR                                                                                                      ARLINGTON HEIGHTS    IL 60004‐1812
TOYODA‐KOKI AUTOMOTIVE TORSEN     O.P.GUPTA                           TWO JET VIEW DRIVE                                         RAMOS ARIZPE CZ 25947
                                                                                                                                 MEXICO
TOYODA‐KOKI AUTOMOTIVE TORSEN     2 JET VIEW DR                                                                                                            ROCHESTER            NY 14624‐4904
NORTH AMERICA INC
TOYOKO THAXTON                    21555 GREEN HILL RD APT 142                                                                                              FARMINGTON HILLS     MI 48335‐4475
TOYONG KANG                       13519 FELSON ST                                                                                                          CERRITOS             CA 90703‐8912
TOYOTA BOSHOKU AMERICA            BARBARA NASH                        C/O AXXIS CORPORATION           7375 COMMERCE BLVD         RICHMOND HILL ON
                                                                                                                                 CANADA
TOYOTA BOSHOKU AMERICA            BARBARA NASH                        C/O TB DE MEXICO SA DE CV       JAMIE BENAVIDES 850 BLVD   CAMBRIDGE ON CANADA
TOYOTA BOSHOKU AMERICA INC        BLVD JAMIE BENEVIDES #850 COL       LOS RODRIGUEZ RAMOS ARIZPE CH                              CP 25900 MEXICO MEXICO

TOYOTA BOSHOKU AMERICA INC        1360 DOLWICK RD                                                                                                          ERLANGER             KY 41018
TOYOTA BOSHOKU AMERICA, INC.      28000 WEST PARK DRIVE                                                                                                    NOVI                 MI 48377
TOYOTA BOSHOKU CORP               1‐1 TOYODAACHO                                                                                 KARIYA AICHI 448‐0848
                                                                                                                                 JAPAN
TOYOTA BOSHOKU CORP               1360 DOLWICK RD                                                                                                          ERLANGER             KY   41018
TOYOTA BOSHOKU CORP               BARBARA NASH                        C/O AXXIS CORPORATION           7375 COMMERCE BLVD         RICHMOND HILL ON
                                                                                                                                 CANADA
TOYOTA BOSHOKU CORP               BARBARA NASH                        C/O TB DE MEXICO SA DE CV       JAMIE BENAVIDES 850 BLVD   CAMBRIDGE ON CANADA
TOYOTA BOSHOKU CORP               BARBARA NASH                        JAIME BENAVIDES 850                                                                  TROY                 MI 48084
TOYOTA BOSHOKU CORP               BLVD JAIME BENAVIDES 850 COLONIA                                                               RAMOS ARIZPE CZ 25900
                                                                                                                                 MEXICO
TOYOTA BOSHOKU CORP               JAMIE BENAVIDES 850                 COL LOS RDZ                                                RAMOS ARIZPE CZ 25900
                                                                                                                                 MEXICO
TOYOTA BOSHOKU CORP               28000 W PARK DR                                                                                                          NOVI                 MI   48377
TOYOTA BOSHOKU CORP               TODD SOUSA                          1360 DOLWICK ROAD, SUITE 125                                                         ERLANGER             KY   41018
TOYOTA IND EQUIP (PROD)           5560 SOUTH 175 WEST                                                                                                      COLUMBUS             IN   47201
TOYOTA IND EQUIP (PROD)           5560 S 175 W                                                                                                             COLUMBUS             IN   47201‐9366
TOYOTA INDUSTRIAL EQUIP MFG       PO BOX 2487                                                                                                              COLUMBUS             IN   47202‐2487
TOYOTA INDUSTRIAL EQUIP MFG INC   5555 INWOOD DR                                                                                                           COLUMBUS             IN   47201‐9755
TOYOTA INDUSTRIES CORP            2‐1 TOYODACHO                                                                                  KARIYO, AI 448‐0 JAPAN
TOYOTA INDUSTRIES CORP            2400 N DEARING RD                                                                                                        PARMA                MI 49269‐9415
TOYOTA INDUSTRIES CORP            DAVE WILSON                         DENSO CORPORATION               2400 N. DEERING ROAD                                 STERLING HEIGHTS     MI 48078
TOYOTA JIDOSHA KABUSHIKI KAISHA   1, TOYOTA‐CHO, TOYOTA‐SHI           AICHI‐KEN, JAPAN 10423                                     JAPAN
TOYOTA JIDOSHA KABUSHIKI KAISHA   1, TOYOTA‐CHO, TOYOTA‐SHI                                                                      AICHI‐KEN, JAPAN 10423
TOYOTA JIDOSHA KABUSIKI KAISHA    12, COURS SABLON                    63040 CLERMONT‐FERRAND CEDEX,                              FRANCE
                                                                      FRANCE
TOYOTA JIDOSHA KABUSIKI KAISHA    1 TOYOTA‐CHO, TOYOTA‐SHI                                                                       AICHI‐KEN JAPAN
TOYOTA MIDWEST PR                 1155 BREWERY PARK STE 260                                                                                                DETROIT              MI 48207
TOYOTA MOTOR CORP                 19001 SOUTHWESTERN AVE, MAIL STOP                                                                                        TORRANCE             CA 90509
                                  HQ12
TOYOTA MOTOR CORP                 20 OKASAKI                                                                                     KOSAI SHIZUOKA 431 0422
                                                                                                                                 JAPAN
TOYOTA MOTOR CORP                 7800 CHIHAMA DAITOCHO               OGASA‐GUN                                                  SHIZUOKA JP 437‐1412
                                                                                                                                 JAPAN
TOYOTA MOTOR CORP                 COLETTE ENCINAS                     NORTH AMERICAN PARTS LOGISTICS 1425 SOUTH ROCKEFELLAR                                PORT HURON           MI 48060
                                                                                                     AVENUE
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                        Exhibit B
                                                                      Part 37 of 40 Pg 382 of 901
Name                               Address1                              Address2                      Address3                       Address4                   City             State Zip
TOYOTA MOTOR CORP                  GARY BOLER                            TOYOTA RACING DEVELOPMENT USA 1382 VALENCIA AVE                                         MOUNT STERLING    KY 40353

TOYOTA MOTOR CORP                  GARY NELSON                           555 SAKAIJUKU                                                                           INDIANAPOLIS     IN 46204
TOYOTA MOTOR CORP                  MARTY SEITHERS X127                   PO BOX G                                                                                MILFORD          MI 48381
TOYOTA MOTOR CORP                  ROBERT MCKENZIE                       7233 PROGRESS WAY                                            RICHMOND HILL ON
                                                                                                                                      CANADA
TOYOTA MOTOR CORP                  TODD TILK                             PO BOX 2140                      6375 PARAMOUNT BLV/                                    VERONA           MS 38879‐2140
TOYOTA MOTOR CORP                  1 TOYOTACHO                                                                                        TOYOTA AICHI JP 471‐0826
                                                                                                                                      JAPAN
TOYOTA MOTOR CORP                  45500 FREMONT BLVD                                                                                                            FREMONT          CA 94538‐6326
TOYOTA MOTOR CORP                  ATTN: CORPORATE OFFICER/AUTHORIZED    7233 PROGRESS WAY                                            DELTA BC V4G 1E7 CANADA
                                   AGENT
TOYOTA MOTOR CORP                  ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 96207                                                                            CHICAGO           IL   60693‐0001
                                   AGENT
TOYOTA MOTOR CORP.ACCT. DIV.       NBD FOR CABLE TRANSFER TO:            BANK OF TOKYO LTD,HEAD OFFICE    TOKYO,HEAD OFFICE #017817 N KATO, TOKYO JAPAN

TOYOTA MOTOR CORPORATE SERVICE     25 ATLANTIC AVE                                                                                                               ERLANGER         KY    41018‐3188
TOYOTA MOTOR CORPORATE SERVICES    25 ATLANTIC AVE                                                                                                               ERLANGER         KY    41018‐3151

TOYOTA MOTOR CORPORATION           C/O GM CHINA INVESTMENTS CO., LTD     22ND/23RD FLOOR AURORA PLAZA     NO. 99 FUCHENG RD.          PUDONG SHANGHAI
                                                                                                                                      200120 CHINA (PEOPLE'S
TOYOTA MOTOR CORPORATION           1 TOYOTA CHO TOYOTA                                                                                AICHI JAPAN JAPAN
TOYOTA MOTOR CORPORATION           1 TOYOTA‐CHO                           TOYOTA‐CHI                                                  AICHI 471‐8571 JAPAN
TOYOTA MOTOR CORPORATION           1, TOYOTA‐CHO, TOYOTA‐SHI                                                                          AICHI‐KEN, 471, JAPAN
TOYOTA MOTOR CORPORATION           1. TOYOTA‐CHO, TOYOTA, AICHI 471‐8571,                                                             JAPAN
                                   JAPAN
TOYOTA MOTOR CORPORATION           4309642 CANADA INC.                    C/O GM CHINA INVESTMENTS CO.,   22ND/23RD FLOOR AURORA      NO. 99 FUCHENG RD.
                                                                          LTD                             PLAZA                       CHINA
TOYOTA MOTOR CORPORATION           ATTN: PRESIDENT                        1, TOYOTA‐CHO, TOYOTA                                       AICHI 471 JAPAN
TOYOTA MOTOR CORPORATION           NEW UNITED MOTOR MANUFACTURING, PRESIDENT                              45500 FREMONT BLVD                                     FREMONT          CA 94538‐6326
                                   INC.
TOYOTA MOTOR CORPORATION           ATTN: CORPORATE OFFICER/AUTHORIZED 1 TOYOTA CHO
                                   AGENT
TOYOTA MOTOR CORPORATION           TAKAYUKI NOGAMI CUW RELEASE            NISSHIN EDUCATION & TRAINING                                AICHI, 470‐0113 JAPAN
                                                                          CENTER 5‐210,
TOYOTA MOTOR CORPORATION           C/O FOLEY & LARDNER LLP                ATTN MATTHEW J RIOPELLE         402 W BROADWAY SUITE 2100                              SAN DIEGO        CA 92101

TOYOTA MOTOR CORPORATION           ATTN: MR. KATSUMI IKEDA, GEN. MGR.    1 TOYOTO‐CHO, TOYOTA‐SHU                                     AICHI 471‐8571 JAPAN
                                   INT'L LEGAL AFFAIRS
TOYOTA MOTOR CORPORATION / NEW     45500 FREMONT BLVD                                                                                                            FREMONT          CA 94538‐6368
UNITED MOTOR MANUFACTURING, INC.

TOYOTA MOTOR CREDIT CORP           13810 SE EASTGATE WAY STE 300                                                                                                 BELLEVUE         WA    98005‐4400
TOYOTA MOTOR SALES                 1425 S ROCKEFELLER WAY                                                                                                        ONTARIO          CA    91716
TOYOTA MOTOR SALES                 MS. KEIKO MIZUNO                      19001 S WESTERN AVE              MAIL DROP #NC32                                        TORRANCE         CA    90501‐1196
TOYOTA MOTOR SALES                 MS. KEIKO MIZUNO                      19001 S. WESTERN AVE             MAIL DROP #NC32                                        TORRANCE         CA    90504
TOYOTA MOTOR SALES U S A INC       ATTN TOBIN LIPPERT ESQ                19001 SOUTH WESTERN AVE HQ12                                                            TORRANCE         CA    90509

TOYOTA MOTOR SALES U.S.A, INC.     ATT: TOBIN LIPPERT                    19001 SOUTH WESTERN AVE, HQ12                                                           TORRANCE         CA 90509

TOYOTA MOTOR SALES USA             MORGAN LEWIS & BOCKIUS LLP            ATTN WENDY S. WALKER             101 PARK AVENUE                                        NEW YORK         NY 10178
TOYOTA MOTOR SALES USA             MORGAN LEWIS & BOCKIUS LLP            ATTN WENDY S WALKER              101 PARK AVENUE                                        NEW YORK         NY 10178
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                         Part 37 of 40 Pg 383 of 901
Name                                 Address1                             Address2                       Address3                 Address4                City             State Zip
TOYOTA MOTOR SALES USA INC           19001 S WESTERN AVE                  LEXUS TECH PROJ MGR M/S 202                                                     TORRANCE          CA 90501‐1106
TOYOTA MOTOR SALES USA INC           19001 S WESTERN AVE                  PO BOX 2991                                                                     TORRANCE          CA 90501‐1106
TOYOTA MOTOR SALES, USA INC          COLETTE ENCINAS                      NORTH AMERICAN PARTS LOGISTICS 1425 SOUTH ROCKEFELLAR                           PORT HURON        MI 48060
                                                                                                         AVENUE
TOYOTA MOTOR SALES, USA, INC.        ATTN: MANAGER, REAL ESTATE AND       19001 SOUTH WESTERN AVE. G201                                                   TORRANCE         CA 90501
                                     PROPERTY MANAGEMENT
TOYOTA PATENTS                       TOYOTA MOTOR CORPORATION             1 TOYOTA CHO
TOYOTA TSUSHO AMERICA INC            41320 BOYCE RD                                                                                                       FREMONT          CA 94530‐3102
TOYOTA TSUSHO CANADA INC             1080 FOUNTAIN ST                                                                             CAMBRIDGE CANADA ON
                                                                                                                                  N3E 1A3 CANADA
TOYOTA TSUSHO CANADA INC             160 BLOOR STREET EAST SUITE 1135                                                             TORONTO CANADA ON
                                                                                                                                  M4W 1B9 CANADA
TOYOTA TSUSHO CANADA INC             1070 FOUNTAIN ST N UNIT 12                                                                   CAMBRIDGE ON N3E 1A3
                                                                                                                                  CANADA
TOYOTA TSUSHO CANADA INC             RICARDO CUMMINGS 240                 C/O LACKS WHEEL TRIM SYSTEMS   4080 BARDEN DR SE                                STERLING HTS     MI
TOYOTA TSUSHO CANADA, INC            C/O ZEICHNER ELLMAN & KRAUSE LLP     575 LEXINGTON AVE                                                               NEW YORK         NY 10022
TOYOTA TSUSHO CANADA, INC.           1070 FOUNTAIN ST                                                                             CAMBRIDGE ON N3E 1
                                                                                                                                  CANADA
TOYOTA TSUSHO CORP                   4‐9‐8 MEIEKI NAKAMURA‐KU                                                                     NAGOYA AICHI 450‐8575
                                                                                                                                  JAPAN
TOYOTA TSUSHO CORP                   ATTN: CORPORATE OFFICER/AUTHORIZED   1080 FOUNTAIN ST                                        CAMBRIDGE ON N3E 1A3
                                     AGENT                                                                                        CANADA
TOYOTA TSUSHO CORP                   RICARDO CUMMINGS 240                 C/O LACKS WHEEL TRIM SYSTEMS   4080 BARDEN DR SE                                STERLING HTS     MI
TOYOTA TSUSHO/CANADA                 1070 FOUNTAIN ST                     UNIT 12                                                 CAMBRIDGE ON N3E 1A3
                                                                                                                                  CANADA
TOYOTA TSUSHO/GRGTWN                 1125 CHERRY BLOSSOM WAY                                                                                              GEORGETOWN       KY    40324
TOYOTETSU AMERICA INC                100 PIN OAK DR                                                                                                       SOMERSET         KY    42503‐7600
TOYOTETSU AMERICA INC                DONNIE SLAGLE                        100 PIN OAK DR                                                                  SOMERSET         KY    42503‐7600
TOYOTETSU AMERICA INC                DONNIE SLAGLE                        100 PIN OAK DR.                                                                 FRASER           MI    48026
TOYOTETSU AMERICA INC                NATHAN MADDOX                        3100 AIRPARK DRIVE                                                              LANSDALE         PA
TOYOTETSU AMERICA, INC.              DONNIE SLAGLE                        100 PIN OAK DR                                                                  SOMERSET         KY    42503‐7600
TOYOTETSU AMERICA, INC.              DONNIE SLAGLE                        100 PIN OAK DR.                                                                 FRASER           MI    48026
TOYOTETSU CANADA INC                 88 PARK ROAD                                                                                 SIMCOE CANADA ON N3Y
                                                                                                                                  4J9 CANADA
TOYOTETSU CANADA, INC                88 PARK ROAD                                                                                                         FINDLAY          OH    45840
TOYOTETSU MID AMERICA LLC            NATHAN MADDOX                        3100 AIRPARK DRIVE                                                              LANSDALE         PA
TOYOTETSU MID AMERICA LLC            3100 AIRPARK DR                                                                                                      OWENSBORO        KY    42301‐7706
TOYOTETSU/SOMERSET                   100 PIN OAK DR                                                                                                       SOMERSET         KY    42503‐7600
TOYOTOMI AMERICA CORP.(TOYOTA        JOE CAMMISO                          19001 S WESTERN AVE                                                             TORRANCE         CA    90501‐1106
MOTOR SALES USA ) TMS
TOYZAN, LAWRENCE F                   1019 FITZHUGH ST                                                                                                     BAY CITY         MI    48708‐7170
TOYZAN, STEVE J                      418 CORK PINE LN                                                                                                     VASSAR           MI    48768‐1537
TOYZAN, TERRY L                      3808 HIDEAWAY CICLE                                                                                                  SHREVEPORT       LA    71119
TOYZAN, TERRY LEE                    3808 HIDEAWAY CICLE                                                                                                  SHREVEPORT       LA    71119
TOZAI SOGO LAW OFFICE                ADMIRAL KIOICHO BLDG 3‐28                                                                    TOKYO 102‐0094 JAPAN
TOZAI SOGO LAW OFFICE                ADMIRAL KIOICHO BUILDING             3‐28, KIOICHO, CHIYODA‐KU      TOKYO, JAPAN 102‐0094
TOZAMILE BOTHA WILLIAM DANIEL PETERS SAMUEL ZOYIZILE MALI ET AL           ATTN DIANE E SAMMONS ESQ       NAGER RICE LLP           103 EISENHOWER PKWY     ROSELAND          NJ   07068

TOZAMILE BOTHA, WILLIAM DANIEL       SAMUEL ZOYISILE MALI, ET AL          ATTN DIANE E SAMMONS ESQ       NAGEL RICE LLP           103 EISENHOWER PKWY     ROSELAND          NJ   07068
PETERS,
TOZER, DEBORAH S                     37059 NEPTUNE CT                                                                                                     GREENBACKVILLE   VA 23356
TOZER, ERNEST J                      9200 HANNAN RD                                                                                                       WAYNE            MI 48184‐3101
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                      Part 37 of 40 Pg 384 of 901
Name                                Address1                         Address2                         Address3   Address4             City                  State Zip
TOZER, LAWRENCE E                   11080 SANDY OAK TRL                                                                               CEDAR SPRINGS          MI 49319‐9238
TOZER, MYRTLE                       17105 FAULMAN                                                                                     CLINTON TWP            MI 48035‐2349
TOZER, MYRTLE                       17105 FAULMAN RD                                                                                  CLINTON TWP            MI 48035‐2349
TOZER, VIRGINIA E                   2375 RANGE AVE APT 61                                                                             SANTA ROSA             CA 95403‐9421
TOZOUR, IRENE E                     9 GREGG AVE                                                                                       WILMINGTON             DE 19804‐3203
TOZOUR‐TRANE                        741 1ST AVE                      PO BOX 1549                                                      KING OF PRUSSIA        PA 19406‐1401
TOZZI                               34600 CHARDON RD                                                                                  WILLOUGHBY HILLS       OH 44094
TOZZI, DIANE L                      17 WINDEMERE PL                                                                                   GROSSE POINTE FARMS    MI 48236‐3080
TOZZI, GIUSEPPE N                   419 TRIMMER RD                                                                                    SPENCERPORT            NY 14559‐1015
TOZZI, JOSEPH P                     425 ROCK AVE                                                                                      PISCATAWAY             NJ 08854
TOZZI, LEONARD F                    23 N LEXOW AVE                                                                                    NANUET                 NY 10954‐2611
TPC II LLC                          2481 SUNRISE BLVD STE 200                                                                         GOLD RIVER             CA 95670‐4344
TPC II, LLC                         MR. KRISTEN E. PIGMAN            2481 SUNRISE BLVD STE 200                                        GOLD RIVER             CA 95670‐4344
TPC WIRE & CABLE                    7061 E PLEASANT VALLEY RD                                                                         INDEPENDENCE           OH 44131
TPC WIRE & CABLE                    7061 E PLAESANT VALLEY ROAD                                                                       INDEPENDENCE           OH 44131
TPC WIRE/CLEVELAND                  4500 EUCLID AVE                                                                                   CLEVELAND              OH 44103‐3736
TPF & C/DETROIT                     200 RENAISSANCE CENTER           SUITE 2700                                                       DETROIT                MI 48243
TPG CAPITAL LP, ATT: CLIVE D BODE   301 COMMERCE ST STE 3300                                                                          FORT WORTH             TX 76102‐4133
TPG CAPITAL, L.P.                   301 COMMERCE ST STE 3300                                                                          FORT WORTH             TX 76102‐4133
TPH GRAPHICS/DETROIT                1177 W BALTIMORE ST                                                                               DETROIT                MI 48202‐2905
TPI                                 A WILBERT COMPANY                4221 OTTER LAKE RD                                               WHITE BEAR LAKE        MN 55110‐3750
TPI                                 10055 GROGAN'S MILL ROAD         SUITE 200                                                        THE WOODLANDS          TX
TPI
TPI                                 10055 GROGAN'S MILL ROAD                                                                          SPRING                TX   77380
TPI GOLF                            2051 HIDDEN VALLEY RD                                                                             HOWELL                MI   48843‐8926
TPI TECHNOLOGIES                    1521 E AVIS DR                                                                                    MADISON HEIGHTS       MI   48071‐1547
TPI TECHNOLOGIES                    ATTN ACCTS REC                   1521 E AVIS DR                                                   MADISON HEIGHTS       MI   48071‐1547
TPI TECHNOLOGIES INC                1521 E AVIS DR                                                                                    MADISON HEIGHTS       MI   48071‐1547
TPI TECHNOLOGIES INC                1521 E AVIS DR                   STEPHEN G. LAKOTISH                                              MADISON HEIGHTS       MI   48071‐1547
TPM INC                             2040 OLD LOUISVILLE RD                                                                            BOWLING GREEN         KY   42101‐9144
TPM PRESS/ALLISON PK                4018 LETORT LN                                                                                    ALLISON PARK          PA   15101‐3131
TPS PHARMACY                        PO BOX 1829                                                                                       GARDENDALE            AL   35071‐1909
TPS TOOLING & PRODUCTION SYSTE      PO BOX 143                                                                                        SUSSEX                WI   53089‐0143
TPU/FLEET SERVICES                  3628 S 35TH ST                                                                                    TACOMA                WA   98409‐3115
TQ'S UNION 76                       5424 MARTIN LUTHER KING JR WAY                                                                    OAKLAND               CA   94609‐1614
TR CONTROLS INC                     955 GREEN VALLEY RD              PO BOX 2543 STN B GREEN VALLEY              LONDON ON N6A 4G9
                                                                     RD                                          CANADA
TR CONTROLS INC                     200 W BIG BEAVER RD              PO BOX 4448                                                      TROY                  MI 48084‐5219
TR ELECTRONIC                       PO BOX 4448                                                                                       TROY                  MI 48099‐4448
TR FASTENINGS AB                    BOX 32                                                                       BAMDHAGEN S 124 21
                                                                                                                 SWEDEN
TR FASTENINGS AB                    HANS KRIISA                      HARPSUNDSVAGEN 185                                               WYANDOTTE             MI
TR INTERNATIONAL INC                464 RICHMOND RD STE 204A         PO BOX 43357                                                     CLEVELAND             OH 44143‐2704
TR INTERNATIONAL INC                PO BOX 43357                                                                                      CLEVELAND             OH 44143‐0357
TR TRANSPORTATION CONSULTANTS INC   13881 PLANTATION RD              STE 11                                                           FORT MYERS            FL 33912‐4339

TRA BAR INC                         4723 6 MILE RD                                                                                    MARNE                 MI   49435‐9503
TRA TECH MIDWEST CORP. 21           10100 DIXIE HWY                                                                                   CLARKSTON             MI   48348‐2414
TRABALKA, MARGUERITE                308 EAST GARY STREET                                                                              BAY CITY              MI   48706‐3558
TRABALKA, MICHAEL L                 308 E GARY ST                                                                                     BAY CITY              MI   48706‐3558
TRABBIC, MICHAEL J                  PO BOX 482                                                                                        FREMONT               OH   43420‐0482
TRABBIC, RAYMOND J                  4649 RYAN RD                                                                                      TOLEDO                OH   43614‐3123
                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                             Part 37 of 40 Pg 385 of 901
Name                   Address1                           Address2                        Address3                      Address4         City               State Zip
TRABBIC, RICHARD J     5631 KROUSE RD                                                                                                    CHEBOYGAN           MI 49721‐9554
TRABBIC, THOMAS A      825 E DEAN RD                                                                                                     TEMPERANCE          MI 48182‐9515
TRABBOLD, BARBARA R    1629 E SUNSET DR APT 201                                                                                          WAUKESHA            WI 53189‐8218
TRABEL, DANIEL N       8714 GREENMEADOW DR                                                                                               NEW HAVEN           IN 46774‐1825
TRABEL, MARCELLA       6849 DRY FORK RD                                                                                                  CLEVES              OH 45002‐9732
TRABEL, PAUL E         6404 HARTZELL RD                                                                                                  FORT WAYNE          IN 46816‐1885
TRABEL, PAUL EDWARD    6404 HARTZELL RD                                                                                                  FORT WAYNE          IN 46816‐1885
TRABER, BETTY L        1901 PARKER RD                                                                                                    GOSHEN              OH 45122‐9221
TRABERT, MARY L        2870 LOWELL DR                                                                                                    COLUMBUS            OH 43204‐2138
TRABERT, WAYNE D       4987 LAKESIDE DR                                                                                                  HONEOYE             NY 14471‐9563
TRABOLD, THOMAS A      36 PARKRIDGE DR                                                                                                   PITTSFORD           NY 14534‐4117
TRABOLD, VIRGINIA      480 FARMRIDGE CT                                                                                                  ROCHESTER HILLS     MI 48307‐3420
TRABON, WILLIAM S      1302 SW 5TH TER                                                                                                   OAK GROVE           MO 64075‐9517
TRABUCCO, ALVIN F      742 PRINCE ST                                                                                                     NORTH VERSAILLES    PA 15137‐1138
TRABUCCO, ANTHONY J    PO BOX 236                                                                                                        JORDAN              NY 13080‐0236
TRABUCCO, DAVID R      3232 QUINLAN ST                                                                                                   YORKTOWN HTS        NY 10598‐2517
TRABUCCO, J W          8321 BARONS CT                                                                                                    WILLIAMSBURG        VA 23188
TRABUE SR, GEORGE R    5109 THORNLEIGH DR                                                                                                INDIANAPOLIS        IN 46226‐2257
TRABUE, JOHN V         PO BOX 1438                                                                                                       SUMMERTON           SC 29148
TRABUE, WADE M         2708 SW 51ST ST                                                                                                   CAPE CORAL          FL 33914‐6648
TRABULSY, BRENDA S     1322 PEMBROKE LN                                                                                                  OXFORD              MI 48371‐5924
TRABULSY, BRENDA SUE   1322 PEMBROKE LN                                                                                                  OXFORD              MI 48371‐5924
TRABULSY, DON          1322 PEMBROKE LN                                                                                                  OXFORD              MI 48371‐5924
TRABUR PAINTING LTD
TRAC                   5538 HAWTHORNE PL NW                                                                                              WASHINGTON         DC   20016‐2669
TRAC RAC, INC.         AMANDA MAGEE 128                   994 JEFFERSON ST                                                               MADISON HEIGHTS    MI   48071
TRAC‐WORK INC          505 NW MAIN ST                     PO BOX 550                                                                     ENNIS              TX   75119‐4049
TRACE AMBULANCE        8400 183RD PL                      STE 1                                                                          TINLEY PARK        IL   60487‐6222
TRACE DIE CAST         140 GRAHAM AVE                                                                                                    BOWLING GREEN      KY   42101‐9175
TRACE DIE CAST INC     140 N GRAHAM AVE                                                                                                  BOWLING GREEN      KY   42101
TRACE DIE CAST INC     140 GRAHAM AVE                                                                                                    BOWLING GREEN      KY   42101‐9175
TRACE DIE CAST INC     CHRIS GUTHRIE                      140 GRAHAM AVE                                                                 BOWLING GREEN      KY   42101‐9175
TRACE DIE CAST INC     CHRIS GUTHRIE                      140 N GRAHAM                                                                   MORGANTOWN         KY
TRACE DIE/BOWLNG GRN   140 GRAHAM AVE                                                                                                    BOWLING GREEN      KY   42101‐9175
TRACE TRUCKING INC     140 GRAHAM AVE                                                                                                    BOWLING GREEN      KY   42101‐9175
TRACE, ANDREW M        11235 W HAFEMAN RD                                                                                                ORFORDVILLE        WI   53576‐9676
TRACE, CAROL L         11319 FEIGHNER RD                                                                                                 ROANOKE            IN   46783‐8712
TRACE, HOWARD F        4802 HERITAGE WOODS CT                                                                                            GREENSBORO         NC   27407‐6123
TRACE, JAMES E         11319 FEIGHNER RD                                                                                                 ROANOKE            IN   46783‐8712
TRACE, MIKE J          11235 W HAFEMAN RD                                                                                                ORFORDVILLE        WI   53576‐9676
TRACEE L POWELL        5560 WIDGEON CT                                                                                                   DAYTON             OH   45424‐4555
TRACEE M JACKSON       865 REIST AVE.                                                                                                    DAYTON             OH   45408‐1328
TRACEE N WILLIS        3117 CORNELL DRIVE                                                                                                DAYTON             OH   45406
TRACEE R WILKINS       4314 SYLVAN DR.                                                                                                   DAYTON             OH   45417
TRACEE THOMAS          NL INDUSTRIES, INC.                5430 LBJ FREEWAY, SUITE 1700                                                   DALLAS             TX   75240
TRACEE WHITE           APT A                              916 NORTH VINSON DRIVE                                                         MARION             IN   46952‐2351
TRACEL L VIEIRA        ATTN CYRUS S NIAKAN                LYTAL REITER CLARK FOUNTAIN &   515 N FLAGLER DR SUITE 1000                    WEST PALM BEACH    FL   33401
                                                          WILLIAMS
TRACER TOOL & DIE CO   ATTN: ROD MC GRAIN                 3800 BUCHANAN AVE SW                                                           GRAND RAPIDS       MI   49548‐3111
TRACEY A CLEVELAND     4814 COULSON DR                                                                                                   DAYTON             OH   45418
TRACEY A JOHNSON       5348 GARDENDALE AVE.                                                                                              TROTWOOD           OH   45427
TRACEY A LAMONT        210 STRAUSS ST                                                                                                    BUFFALO            NY   14211‐3263
                        09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                         Part 37 of 40 Pg 386 of 901
Name                    Address1                             Address2                  Address3                   Address4                 City              State Zip
TRACEY ALLEN            421 S MEADE ST                                                                                                     FLINT              MI 48503‐2273
TRACEY ALLISON          714 VERONA RD                                                                                                      DAYTON             OH 45417‐1235
TRACEY BAGLEY‐REED      1465 DELANCY CIR                                                                                                   CANTON             MI 48188‐8501
TRACEY BAILEY           2342 VIVIAN RD                                                                                                     MONROE             MI 48162‐4134
TRACEY BARKER           328 PENNSYLVANIA AVE                                                                                               MC DONALD          OH 44437‐1938
TRACEY BOGGIO           2060 S PRICETOWN RD                                                                                                DIAMOND            OH 44412‐9626
TRACEY BOGGS            5117 MILL WHEEL DR                                                                                                 GRAND BLANC        MI 48439‐4254
TRACEY BROCK            5050 S NOCTURNE LN                                                                                                 SHELBY TOWNSHIP    MI 48316‐5232
TRACEY BROWN            21625 29TH AVE S APT D                                                                                             DES MOINES         WA 98198‐7739
TRACEY BROWN            7313 GLEN HAVEN DR                                                                                                 FORT WORTH         TX 76133‐7703
TRACEY CLARK (476492)   OSHEA ROBERT LAW OFFICES OF          1818 MARKET ST STE 3520                                                       PHILADELPHIA       PA 19103‐3636
TRACEY CLEVELAND        4814 COULSON DR                                                                                                    DAYTON             OH 45418‐1958
TRACEY COOK             500 N TARRANT PKWY                   APT 714                                                                       KELLER             TX 76240‐5684
TRACEY CULVER           3645 THYME DR                                                                                                      SAINT CHARLES      MO 63303‐6330
TRACEY D GRAYSON        1003 METAIRIE ROAD                                                                                                 JACKSON            MS 39209‐6912
TRACEY DAVIS            3929 BRYN MAWR DR                                                                                                  JANESVILLE         WI 53546‐2044
TRACEY E PURVIS         3892 CHURCH ST                                                                                                     SAGINAW            MI 48604‐1735
TRACEY G FLEMING        1602 SE BRONZEWOOD AVE                                                                                             BEND               OR 97702
TRACEY GIBBS            SG HAMBROS BANK & TRUST (GUERNSEY)   PO BOX 6, HAMBRO HOUSE,   ST JULIENS AVE, ST PETER   GUERNSEY, CHANNEL
                        LTD                                                            PORT,                      ISLANDS, GREAT BRITAIN
TRACEY HALL             38547 RADDE ST                                                                                                     CLINTON TWP       MI   48036‐2953
TRACEY HECTOR           5536 ARBOR BAY CT                                                                                                  BRIGHTON          MI   48116‐7781
TRACEY HENRY            3906 CAMBRIDGE CT                                                                                                  CULLEOKA          TN   38451‐2081
TRACEY HUFFMAN          1028 E SCHUMACHER ST                                                                                               BURTON            MI   48529‐1529
TRACEY HUPPER           101 NE RIVERHILL LN                                                                                                BELFAIR           WA   98528
TRACEY J MCGILL         14960 FAIRMOUNT DR                                                                                                 DETROIT           MI   48205
TRACEY JR, EDWIN J      23‐20 123RD ST                                                                                                     COLLEGE POINT     NY   11356
TRACEY JR, TIMOTHY F    115 GRASMERE RD                                                                                                    LOCKPORT          NY   14094‐3442
TRACEY K BAKER          9436 NATURE VIEW LN                                                                                                YPSILANTI         MI   48197‐8740
TRACEY KNIGHTEN         19132 MANSFIELD ST                                                                                                 DETROIT           MI   48235‐2315
TRACEY L BOYD           6000 JOHN R ST APT 10                                                                                              DETROIT           MI   48202‐3561
TRACEY L DUNN           1411 N SHERIDAN ST                                                                                                 BAY CITY          MI   48708‐5465
TRACEY L HANLEY         402 BOULEVARD ST                                                                                                   SYRACUSE          NY   13211‐1708
TRACEY L HECTOR         5536 ARBOR BAY CT                                                                                                  BRIGHTON          MI   48116‐7781
TRACEY L JOHNSON        1900 SOUTHWEST BLVD SW                                                                                             WARREN            OH   44485‐3972
TRACEY L KELSH          2883 REEVES RD NE                                                                                                  WARREN            OH   44483‐3611
TRACEY L LONG           3916 CLAYBORN RD                                                                                                   LANSING           MI   48911‐2603
TRACEY L MARTIN         5266 PIERCE RD. NW                                                                                                 WARREN            OH   44481
TRACEY L MAZEY          10624 GRAYHAWK LN                                                                                                  KELLER            TX   76248‐6342
TRACEY L NANSTAD        2222 COMMONS AVE                                                                                                   JANESVILLE        WI   53546‐5966
TRACEY L THOMAS         P O BOX 60851                                                                                                      DAYTON            OH   45406‐‐ 08
TRACEY L WAREHAM        1708 DURANGO DR                                                                                                    DEFIANCE          OH   43512‐3651
TRACEY L WILSON         5412 HAMES TRCE                                                                                                    LOUISVILLE        KY   40291
TRACEY L YOUNG          5918 CULZEAN APT 515                                                                                               TROTWOOD          OH   45426‐1248
TRACEY L YOUNG          4336 OWENS DR.                                                                                                     DAYTON            OH   45406‐‐ 14
TRACEY LEE              1949 CEDARWOOD PL                                                                                                  JACKSON           MS   39213‐7835
TRACEY LONG             3916 CLAYBORN RD                                                                                                   LANSING           MI   48911‐2603
TRACEY LOUISE TINDALL   641 QUAIL HOLLOW DR                                                                                                TRENTON           OH   45067
TRACEY M BISHOP         1445 OLD HARRISBURG RD                                                                                             GETTYSBURG        PA   17325
TRACEY M JOHNSON        18981 GREENLAWN                                                                                                    DETROIT           MI   48221‐2112
TRACEY M MOTLEY         1213 FUDGE DR                                                                                                      DAYTON            OH   45434‐6720
TRACEY MAE MCMULLEN     11642 CIRCLE ST                      PO BOX 186                                                                    SHADE GAP         PA   17255
                         09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                            Part 37 of 40 Pg 387 of 901
Name                     Address1                            Address2                      Address3   Address4         City                  State Zip
TRACEY MATHIS            825 TINTERN ABBOTT CT                                                                         NASHVILLE              TN 37211‐7146
TRACEY MAYS              917 SAINT JOHN AVE                                                                            TOLEDO                 OH 43608‐2052
TRACEY MAZEY             10624 GRAYHAWK LN                                                                             KELLER                 TX 76244‐6342
TRACEY MCGILL            14960 FAIRMOUNT DR                                                                            DETROIT                MI 48205
TRACEY NANSTAD           2222 COMMONS AVE                                                                              JANESVILLE             WI 53546‐5966
TRACEY PARKER            TIM MURPHY, OF LYTAL REITER CLARK   515 NO FLAGLER DR, STE 1000                               WEST PALM BEACH        FL 33401
                         FOUNTAIN & WILLIAMS
TRACEY PRATOR            220 W BIRCH AVE                                                                               SHREVEPORT            LA   71107
TRACEY PURVIS            3892 CHURCH ST                                                                                SAGINAW               MI   48604‐1735
TRACEY R ALLISON         714 VERONA RD                                                                                 DAYTON                OH   45417
TRACEY R BOGGIO          2060 PRICETOWN RD.                                                                            DIAMOND               OH   44412
TRACEY S HENRY           3906 CAMBRIDGE CT                                                                             CULLEOKA              TN   38451‐2081
TRACEY SANKEY            18285 STATE HIGHWAY CC                                                                        WARRENTON             MO   63383‐6728
TRACEY SEAN              901 LANTANA AVE                                                                               BREA                  CA   92821‐6449
TRACEY SHEA              5445 QUAIL WAY                                                                                CARMEL                CA   93923‐7964
TRACEY SHEPHERD          8484 HEYWOOD CIR                                                                              STERLING HEIGHTS      MI   48312‐3505
TRACEY SKALESKI          3133 PEACHTREE ST                                                                             JANESVILLE            WI   53548‐3279
TRACEY THRASHER          6245 MAHONING DR                                                                              HUBBARD               OH   44425‐2854
TRACEY TURNER            5555 HILLSBORO RD                                                                             DAVISBURG             MI   48350‐3636
TRACEY WILT              60133 JEWELL RD                                                                               WASHINGTON TOWNSHIP   MI   48094‐2310
TRACEY WOODRUFF          4100 E CLINTON TRL                                                                            CHARLOTTE             MI   48813‐9316
TRACEY, ANDREW           1104 MORSE AVE                                                                                SACRAMENTO            CA   95864‐3833
TRACEY, BEVERLY H        932 PINE CREST                                                                                GIRARD                OH   44420‐2153
TRACEY, BEVERLY H        932 PINECREST RD                                                                              GIRARD                OH   44420‐2153
TRACEY, CAROL J          8409 VILLA MANOR DR                                                                           GREENTOWN             IN   46936‐1448
TRACEY, CLARK            OSHEA ROBERT LAW OFFICES OF         1818 MARKET ST STE 3520                                   PHILADELPHIA          PA   19103‐3636
TRACEY, DOROTHY A        2240 WHITEHORSE MERCERVILLE RD      MERCERVILLE CENTER                                        MERCERVILLE           NJ   08619‐2640
TRACEY, ERIC S           725 CENTRAL PARKWAY AVE SE                                                                    WARREN                OH   44484‐4541
TRACEY, EVAN C           5126 WOODCREEK TRL                                                                            CLARKSTON             MI   48346‐3968
TRACEY, EVERETT L        314 BEECHCROFT RD                                                                             SPRING HILL           TN   37174‐2400
TRACEY, GREGORY W        8230 INDIAN SHORES DR                                                                         HOWARD CITY           MI   49329‐9582
TRACEY, HAROLD D         17 FALCON CREST DR UNIT B                                                                     NORWALK               OH   44857‐2861
TRACEY, JOHN P           5126 WOODCREEK TRL                                                                            CLARKSTON             MI   48346‐3968
TRACEY, JOSEPH L         7748 TIMBERCREST DR                                                                           HUBER HEIGHTS         OH   45424‐1936
TRACEY, MARIE            104 BROOKS BLVD
TRACEY, MARY W           331 ROANOKE DRIVE                                                                             BLOOMFIELD            MI   48301‐3334
TRACEY, MICHAEL E.       903 FOXCROFT LN                                                                               BALTIMORE             MD   21221‐5925
TRACEY, NELLIE M         22316 DEVONSHIRE ST                                                                           WOODHAVEN             MI   48183‐1404
TRACEY, RICHARD D        16 MURRAY HILL DR                                                                             BLUFFTON              SC   29909‐6136
TRACEY, RICHARD J        7303 SE CONCORD PL 402                                                                        HOBE SOUND            FL   33455
TRACEY, ROBERT G         11 ISLAND HEIGHTS CIR                                                                         STAMFORD              CT   06902‐5427
TRACEY, ROGER W          3316 CALVIN CT SW                                                                             GRANDVILLE            MI   49418‐2468
TRACEY, SHIRLEY A        6376 RUSTIC RIDGE TRL                                                                         GRAND BLANC           MI   48439‐4957
TRACEY, TERENCE C        30841 MACKENZIE DR                                                                            WESTLAND              MI   48185‐7077
TRACEY, TERENCE CLARKE   30841 MACKENZIE DR                                                                            WESTLAND              MI   48185‐7077
TRACEY, THOMAS E         2070 GRAY PARK DR                                                                             LAPEER                MI   48446‐9010
TRACEY, WARREN H         11019 WASHINGTON AVENUE                                                                       MOUNT MORRIS          MI   48458‐1956
TRACHEK JR, ANTHONY J    515 N HUBBARD RD                                                                              LOWELLVILLE           OH   44436‐9778
TRACHSEL DENTAL STUDIO   1834 15TH ST NW                                                                               ROCHESTER             MN   55901
TRACHSEL DENTAL STUDIO   1834 15TH ST. NW                                                                              ROCHESTER             MN   55901
TRACHSEL, STEPHEN C      975 SLOCUM DR                                                                                 AUBURN HILLS          MI   48326‐3849
TRACHT, HERBERT C        1088 IBERIA RD                                                                                GALION                OH   44833‐9766
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 388 of 901
Name                  Address1                        Address2           Address3         Address4         City            State Zip
TRACHT, SHARON K.     7769 TIMBERS EDGE                                                                    WATERVILLE       OH 43566‐9411
TRACI A BUNKER        530 ILLINOIS AVE                                                                     MC DONALD        OH 44437‐1701
TRACI A ORTON         233 E HOME AVE                                                                       W CARROLLTON     OH 45449
TRACI A SPANGLER      900 GEORGE ST                                                                        SHARON           PA 16146
TRACI BULLARD         11500 ELMDALE ST                                                                     CLIO             MI 48420‐1721
TRACI BUTLER          NO ADDRESS ON FILE
TRACI CLARK‐WHEATON   1338 MERLE AVE                                                                       BURTON          MI   48509‐2131
TRACI COREY           4894 N BROOKE DR                                                                     MARION          IN   46952‐8567
TRACI CURTIS          661 CLIFFSIDE DR                                                                     LEXINGTON       OH   44904‐1503
TRACI E BROWN‐WARD    122 CRYSTAL ST                                                                       GOOSE CREEK     SC   29445‐3168
TRACI FELTZ           1051 OLD LEAKE CT                                                                    HOLLY           MI   48442‐1384
TRACI FIORINI         245 N FRANKLIN ST                                                                    DEARBORN        MI   48128‐1576
TRACI J DALTON        456 S 9TH ST                                                                         MIAMISBURG      OH   45342‐3341
TRACI L BRANT         4171 BENWOOD DR                                                                      STOW            OH   44224
TRACI L DRAKE         74 W BETHUNE ST                                                                      DETROIT         MI   48202‐2707
TRACI L LING          606 BEERY BLVD                                                                       ENGLEWOOD       OH   45322
TRACI L NORTON        378 CRESTWOOD DR                                                                     OXFORD          MI   48371‐6138
TRACI L WILHELM       1534 BAUER AVE                                                                       KETTERING       OH   45420
TRACI M BROOKS        807 LAWNDALE AVE                                                                     TILTON          IL   61833‐7965
TRACI M COTTERMAN     7494 CEDAR KNOLLS                                                                    HUBER HEIGHTS   OH   45424
TRACI M DENESKI       244 MILLS PLACE                                                                      NEW LEBANON     OH   45345
TRACI M DILLHOFF      10322 BROOKVILLE‐PHILLIPSBURG                                                        BROOKVILLE      OH   45309‐7611
TRACI MCCANTS         3815 EAMES CIR                                                                       SHREVEPORT      LA   71119‐6912
TRACI MILLER          PO BOX 23018                                                                         GRELTON         OH   43523‐0018
TRACI NORTON          378 CRESTWOOD DR                                                                     OXFORD          MI   48371‐6138
TRACI R POLLARD       5136 INLAND ST                                                                       FLINT           MI   48505‐1713
TRACI SIMMS           15307 MEADOW LN                                                                      DOLTON          IL   60419‐3106
TRACI STREIT          1520 S 104TH TER                                                                     EDWARDSVILLE    KS   66111‐1101
TRACI YOUNG           6475 RUIDOSO DR                                                                      SAGINAW         MI   48603‐4803
TRACIA, FRED G        85 EVERIT AVE                                                                        FRAMINGHAM      MA   01702‐8137
TRACIA, FREDERICK J   640 HANCOCK STREET                                                                   ABINGTON        MA   02351‐1032
TRACIE A MCSPARRAN    1609 LAMBERS DR                                                                      NEW CARLISLE    OH   45344
TRACIE BEASLEY        871 W MAPLEHURST ST                                                                  FERNDALE        MI   48220‐1294
TRACIE CHANDLER       21423 STATE ROUTE 694                                                                CLOVERDALE      OH   45827‐9647
TRACIE CHOVAN         6108 DURBIN RD                                                                       SYLVANIA        OH   43560‐6105
TRACIE D BRADY        PO BOX 321203                                                                        FLINT           MI   48532‐0021
TRACIE D SEALS        2225 KING ST                                                                         SAGINAW         MI   48602‐1218
TRACIE DANIELS        617 N SHERRY DR                                                                      DAYTON          OH   45426‐3647
TRACIE DELOSH         PO BOX 285                                                                           MASSENA         NY   13662‐0285
TRACIE E EISMANN      1421 SHERWOOD FOREST DR                                                              W CARROLLTON    OH   45449
TRACIE FYNES          10257 STATE ROUTE 305                                                                GARRETTSVILLE   OH   44231‐9100
TRACIE ISKI           13086 MARSHALL RD                                                                    MONTROSE        MI   48457‐8809
TRACIE JAFOLLA        30859 STEPHEN CT                                                                     WESTLAND        MI   48185‐1739
TRACIE L ALLEN        521 ATTICA ST                                                                        VANDALIA        OH   45377
TRACIE L DANIELS      1337 SHAFTSBURY                                                                      DAYTON          OH   45406‐4323
TRACIE L ISKI         13086 MARSHALL RD                                                                    MONTROSE        MI   48457‐8809
TRACIE L JAMES        PO BOX 2593                                                                          DETROIT         MI   48202‐0593
TRACIE L LOKER        PO BOX 133                                                                           FULTON          MI   49052‐0133
TRACIE LEWIS          35601 STEPHANIE ST APT 108                                                           ROMULUS         MI   48174‐3387
TRACIE LOKER          PO BOX 133                                                                           FULTON          MI   49052‐0133
TRACIE M BEARSE       320 SAINT ANDREWS DR APT D                                                           CINCINNATI      OH   45245
TRACIE M CARSON       5900 BRIDGE RD APT 408                                                               YPSILANTI       MI   48197‐7011
                                        09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                                                             Part 37 of 40 Pg 389 of 901
Name                                   Address1                           Address2                        Address3                      Address4                   City                State Zip
TRACIE M ETHERIDGE                     888 PALLISTER ST APT 910                                                                                                    DETROIT              MI 48202‐2673
TRACIE M GULLETTE                      15 W PEASE AVENUE                                                                                                           WEST CARROLLTON      OH 45449
TRACIE M MALSEGNA                      71 HILLSIDE RD                                                                                                              PENFIELD             NY 14526
TRACIE MASTORIO                        1822 BASIL AVE                                                                                                              POLAND               OH 44514‐1314
TRACIE MCKAY
TRACIE MCQUEARY                        6482 E 1100 S                                                                                                               KEYSTONE            IN   46759‐9747
TRACIE MOONEN                          5383 WILD DAISY CT                                                                                                          CLARKSTON           MI   48346‐4984
TRACIE MOORE                           1385 HOMESTEAD CT                                                                                                           FLINT               MI   48507‐0501
TRACIE R BRIGGS                        462 ROCKCLIFF CR                                                                                                            DAYTON              OH   45406‐2124
TRACIE SANDERS                         5404 DELAND ROAD                                                                                                            FLUSHING            MI   48433‐2902
TRACIE STANSELL                        201 SUSSEX DR                                                                                                               MONROE              LA   71203‐3322
TRACIE WHITAKER‐GARRETT                19785 WEST 12 MILE                 #413                                                                                     SOUTHFIELD          MI   48076
TRACIE WILLIAMS                        111 ANDERSON CV                                                                                                             LODI                OH   44254‐1350
TRACIE ZETTLER                         6676 WEDDEL ST                                                                                                              TAYLOR              MI   48180‐1923
TRACINA BELL                           130 WINDHAVEN CT                                                                                                            STOCKBRIDGE         GA   30281‐7100
TRACING CONTROLS & VALVE CO            24232 2ND ST                                                                                                                GRAND RAPIDS        OH   43522‐9782
TRACING CONTROLS AND VALVES CO         24232 2ND ST                                                                                                                GRAND RAPIDS        OH   43522‐9782
TRACINSKI, JOHN R                      165 MARINA DEL REY CT                                                                                                       CLEARWATER          FL   33767‐2948
TRACK CORP                             ERIK DENSLOW                       1810 INDUSTRIAL PK. DR. STE D                                                            CRAWFORDSVILLE      IN   47933
TRACK CORP                             17024 TAFT RD                                                                                                               SPRING LAKE         MI   49456
TRACK CORPORATION                      17024 TAFT RD                                                                                                               SPRING LAKE         MI   49456‐9705
TRACK EXPRESS SERVICES INC             PO BOX 866                                                                                                                  GREER               SC   29652‐0866
TRACK N FAST DELIVERY INC              PO BOX 7554                                                                                                                 GRAND RAPIDS        MI   49510‐7554
TRACK SYSTEMS INC                      20 S MAIN ST                                                                                                                JANESVILLE          WI   53545
TRACK SYSTEMS INC                      174 BOULEVARD STE 6                                                                                                         HASBROUCK HEIGHTS   NJ   07604‐1844
TRACK TIME INC                         ATTN TRENDA                        131 ADRIAN ST                                                                            MANCHESTER          MI   48158‐9316
TRACKER MARINE L.P.                    VIA PUGLIA 35, TORINO, ITALY                                                                     ITALY
TRACKER MARINE L.P.                    1915‐C S. CAMPBELL ST                                                                                                       SPRINGFIELD         MO 65807
TRACKER MARINE, LLC                    2500 E. KEARNEY ST., SPRINGFIELD                                                                                            SPRINGFIELD         MO 65803
TRACKER MARINE, LLC                    2500 E KEARNEY ST                                                                                                           SPRINGFIELD         MO 65803‐5048
TRACKER SOFTWARE
TRACKER SOFTWARE PRODUCTS LTD.         JOHN VERBEETEN                     UNITS 1‐3 BURLEIGH OAKS         EAST STREET                   TURNERS HILL SUSSEX RH10
                                                                                                                                        4PZ GREAT BRITAIN
TRACKSIDE AUTO SERVICE LTD. (375509)   784 FAIRVIEW RD                                                                                  VICTORIA BC V9A 5V1
                                                                                                                                        CANADA
TRACKSPEED LLC 231747                  1747 MOMENTUM PL                                                                                                            CHICAGO             IL   60689‐5317
TRACKWELL JR, JAMES E                  6433 BOWER DR                                                                                                               INDIANAPOLIS        IN   46241‐1858
TRACOINSA USA LLC                      108 S CENTER ST                                                                                                             GRIDLEY             IL   61744‐4111
TRACRAC INC                            AMANDA MAGEE 128                   994 JEFFERSON ST                                                                         MADISON HEIGHTS     MI   48071
TRACRAC INC                            BRIDGET TURGEON                    C/O DAWS BETTERBUILT            2800 AIRPORT ROAD ‐ SUITE L                              MT PLEASANT         TN   38474

TRACRAC INC                            994 JEFFERSON ST                                                                                                            FALL RIVER          MA 02721
TRACTECH HOLDINGS INC                  KEN GROVE                          11445 STEPHENS RD                                                                        WARREN              MI 48089‐3800
TRACTECH, INC.                         KEN GROVE                          11445 STEPHENS DRIVE                                                                     LANSING             MI 48917
TRACTENBERG, ANNA
TRACTOMOTRIZ, S.A.                     CARRETERA LA URUCA                                                                               SAN JOSE COSTA RICA
TRACTON RICHARD                        PO BOX 3765                                                                                                                 SANTA MONICA        CA   90408‐3765
TRACY                                  PO BOX 5719                                                                                                                 SPRING HILL         FL   34611‐5719
TRACY A ADAMSON                        1849 POWERSVILLE HARRISON CO RD                                                                                             BROOKSVILLE         KY   41004
TRACY A BAILEY                         4705 PENNSWOOD DR                                                                                                           DAYTON              OH   45424
TRACY A BUNN                           7320 CHATLAKE DR                                                                                                            DAYTON              OH   45424
TRACY A BYRD                           7818 HARRINGTON AVE                                                                                                         DAYTON              OH   45415
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                        Part 37 of 40 Pg 390 of 901
Name                  Address1                       Address2            Address3         Address4               City             State Zip
TRACY A COOK          44 HIGHRIDGE CT                                                                            FRANKLIN          OH 45005
TRACY A DANIELS       6484 SALES ROAD                                                                            WAYNESVILLE       OH 45068‐9449
TRACY A DEBORD        8005 PLEASANT VALLEY RD                                                                    CAMDEN            OH 45311
TRACY A DOWNING       1545 W GRAND AVE                                                                           DAYTON            OH 45407
TRACY A EDWARDS       PO BOX 320351                                                                              FLINT             MI 48532‐0007
TRACY A LA FOLLETTE   1972 VERMONT DRIVE                                                                         XENIA             OH 45385‐4544
TRACY A LUCAS         6401 ARAGON WAY APT 102                                                                    FORT MYERS        FL 33966
TRACY A MILTON        929 PALM ST                                                                                JACKSON           MS 39212‐3928
TRACY A ORFIELD       7114 LOBDELL RD                                                                            LINDEN            MI 48451‐8779
TRACY A SMILEY        1 HALSEY DR                                                                                DAYTON            OH 45431
TRACY A SYMONDS       615 S BOSTWICK ST                                                                          CHARLOTTE         MI 48813‐1802
TRACY A WEIER         1418 BOWEN RD                                                                              MANSFIELD         OH 44903‐8707
TRACY ALLARD          PO BOX 268869                                                                              OKLAHOMA CITY     OK 73126‐8869
TRACY AMMERMAN        175 CITY VIEW DR                                                                           ROCHESTER         NY 14625‐1344
TRACY ANNA            1845 TWIN OAKS AVE                                                                         LAS VEGAS         NV 89156‐6961
TRACY ARNOLD          5275 MILLINGTON RD                                                                         MILLINGTON        MI 48746‐9537
TRACY ASHLEY          2324 WYATT CT                                                                              FORT WORTH        TX 76119‐3104
TRACY B FINNEY        153 MILES AVE. NW                                                                          WARREN            OH 44483
TRACY BACK            591 UPLAND AVE                                                                             PONTIAC           MI 48340‐1349
TRACY BAKER           5992 SUMMERFIELD CT                                                                        HASLETT           MI 48840‐8998
TRACY BALKAN          60 PARKGATE AVE                                                                            AUSTINTOWN        OH 44515‐3236
TRACY BALOGH          811 N SCHEURMANN RD APT 305                                                                ESSEXVILLE        MI 48732
TRACY BANKS SAAB      54 MANCHESTER ST                                                                           CONCORD           NH 03301‐5108
TRACY BANKS SAAB      BANKS, TRACY                   54 MANCHESTER ST                                            CONCORD           NH 03301‐5108
TRACY BARTOLOMEO      45485 AUGUSTA DR                                                                           CANTON            MI 48188‐1090
TRACY BATES           2075 S TERM ST                                                                             BURTON            MI 48519‐1026
TRACY BECKWITH        601 W BAY SHORE DR                                                                         OXFORD            MI 48371‐3587
TRACY BELL            1508 N LUNA AVE                                                                            CHICAGO            IL 60651‐1264
TRACY BELOSKUR        368 AMBERWOOD ST                                                                           AUBURN HILLS      MI 48326‐1124
TRACY BETZ            8444 TOWSON BLVD                                                                           MIAMISBURG        OH 45342‐6133
TRACY BILL            127 PRESS LN                                                                               CHULA VISTA       CA 91910‐1011
TRACY BOBO            6126 KIMBALL AVE                                                                           KANSAS CITY       KS 66104‐1936
TRACY BROWN           340 MONROE ST                                                                              NARROWS           VA 24124‐2139
TRACY BROWN           24302 THORNRIDGE DR                                                                        GRAND BLANC       MI 48439‐9276
TRACY BROWN           2306 CROSSINGS CIR                                                                         DAVISON           MI 48423‐8659
TRACY BRYANT          5364 DOWLEN                                                                                CEDAR HILL        TN 37032
TRACY BURNETTE        PO BOX 155                                                                                 YOUNGSTOWN        OH 44501‐0155
TRACY BURNS           9177 KIPLING WAY                                                                           MACHESNEY PARK     IL 61115‐7640
TRACY BUVALIC         46855 LYNDON AVE                                                                           CANTON            MI 48187‐1428
TRACY C BACK          591 UPLAND AVE                                                                             PONTIAC           MI 48340‐1349
TRACY C SMITH         1147 DEMPHLE AVE                                                                           DAYTON            OH 45410
TRACY CHAVIRA         148 RUSS ST # A                                                                            SAN FRANCISCO     CA 94103‐4010
TRACY CHEVROLET       3400 AUTO PLAZA WAY                                                                        TRACY             CA 95304‐7326
TRACY CLARK           48 DARLING STREET                                                   HUGHESDALE AUSTRALIA
                                                                                          3166
TRACY CLARK           5303 OAKRIDGE DRIVE                                                                        MIDLAND          MI   48640‐8122
TRACY CLINE           2720 COPPER CREEK DR APT 117                                                               ARLINGTON        TX   76006‐3542
TRACY CONGDON         2054 FOXRUN LN                                                                             LAKE WALES       FL   33898‐8859
TRACY COOK            400 MOUNT CARMEL CHURCH RD                                                                 SCOTTSVILLE      KY   42164‐6730
TRACY COOPER          1010 HARRIS ST                                                                             MARYSVILLE       CA   95901‐3911
TRACY CROSSNO         22117 PAUL RD                                                                              MARTHASVILLE     MO   63357‐2560
TRACY D CLARK         5303 OAKRIDGE DR                                                                           MIDLAND          MI   48640‐8122
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                           Part 37 of 40 Pg 391 of 901
Name                    Address1                        Address2            Address3         Address4         City               State Zip
TRACY D CUNNINGHAM      4222 STONE CREEK DR.                                                                  LIBERTY TWNSP       OH 45011
TRACY D HOLLINGSWORTH   3726 N STATE ROUTE 48                                                                 LEBANON             OH 45036‐1041
TRACY D PHILLIPS        3680 TEAKWOOD RD                                                                      TIPP CITY           OH 45371‐9322
TRACY D PORTER          739 HODAPP AVE                                                                        DAYTON              OH 45410‐2712
TRACY D SEAGRAVES       4019 CAPRICE RD                                                                       ENGLEWOOD           OH 45322‐2648
TRACY DANIELS           618 MITCHELL CV                                                                       BRANDON             MS 39047‐5500
TRACY DARCY             260 LACOMB RD                                                                         NORFOLK             NY 13667‐3254
TRACY DELVECCHIO        567 JOHNSON PLANK RD NE                                                               WARREN              OH 44481‐8805
TRACY DIES              5667 PARKDALE ST                                                                      SHELBY TWP          MI 48317‐4231
TRACY DUNCAN            1613 CAROL OAKS TRL APT 1904                                                          FORT WORTH          TX 76112‐3612
TRACY E CROSSNO         22117 PAUL RD                                                                         MARTHASVILLE        MO 63357‐2560
TRACY E CRUMP           1174 LOGAN WOODS DR                                                                   HUBBARD             OH 44425‐3323
TRACY E LAUFFER         148 DUNLOP AVE                                                                        TONAWANDA           NY 14150‐7811
TRACY EAGER             929 HARMONY WAY                                                                       COLUMBIA            TN 38401‐2476
TRACY EDGE              PO BOX 827                                                                            TALBOTTON           GA 31827‐0827
TRACY ESSAD             11921 QUAKER CT                                                                       STERLING HEIGHTS    MI 48313‐1621
TRACY EVANS             2185 BECKEWITH TRL                                                                    O FALLON            MO 63368‐8581
TRACY EVERHART          12177 LINDEN RD                                                                       LINDEN              MI 48451‐9482
TRACY F MATTISON        1327 COOKS CT                                                                         BRENTWOOD           TN 37027‐2937
TRACY FARELL            6164 EMERALD DR                                                                       GRAND BLANC         MI 48439‐7809
TRACY FARMER            3350 E LAKE RD                                                                        CLIO                MI 48420‐7931
TRACY FLOOD             10470 COUNTRY JCT                                                                     CLARKSTON           MI 48348‐1976
TRACY FRISBIE           46150 CUSTER AVE                                                                      UTICA               MI 48317‐5802
TRACY FRYE              1546 MILLICENT AVE                                                                    HUBBARD             OH 44425‐3346
TRACY FULCHER           800 PACKARD DRIVE                                                                     ARLINGTON           TX 76001‐7552
TRACY FULMER            183 COUNTY ROAD 1313                                                                  MORGAN              TX 76671‐3015
TRACY GASTON            231 N CENTER ST                                                                       NEWTON FALLS        OH 44444‐1324
TRACY GILBERT           PO BOX 436                                                                            REDKEY              IN 47373‐0436
TRACY GONZALEZ          1890 ROBINA AVE                                                                       BERKLEY             MI 48072‐4001
TRACY GOSCHINSKI        PO BOX 5014                                                                           MANSFIELD           OH 44901‐5014
TRACY GRAY              2642 FLETCHER ST                                                                      ANDERSON            IN 46016‐5337
TRACY GREATHOUSE        3136 ETHAN ALLEN RD                                                                   BARBERTON           OH 44203‐3803
TRACY GREEN             1604 SAVANNA DR                                                                       PONTIAC             MI 48340‐1086
TRACY GROVES            29009 YORKSHIRE LN                                                                    WARREN              MI 48088‐3741
TRACY HARRIS            1153 PEACHTREE DR                                                                     MOUNT MORRIS        MI 48458‐2833
TRACY HENDRICKS         11517 US 35 S                                                                         MUNCIE              IN 47302
TRACY HENDRIX           4825 APACHE TRL                                                                       COLUMBIAVILLE       MI 48421‐8946
TRACY HICKS             2764 BALSAM CT                                                                        ROCKFORD             IL 61109‐6086
TRACY HILL              717 WOODCHESTER DR                                                                    BLOOMFIELD HILLS    MI 48304‐1969
TRACY HOGAN             4328 SWEETGUM WAY                                                                     FORT WORTH          TX 76133‐7527
TRACY HOLLIS            313 WOOD STREET                                                                       GAFFNEY             SC 29341
TRACY HUBBARD           4536 WARWICK DR N                                                                     CANFIELD            OH 44406‐9236
TRACY HUFF              1908 VICKSBURG CIR                                                                    COLUMBIA            TN 38401‐6808
TRACY HUSTON            13421 WINCHESTER AVE                                                                  GRANDVIEW           MO 64030‐3263
TRACY HUTTON            36 MEADOW VUE CT                                                                      INDIANAPOLIS        IN 46227
TRACY INSLEY            2128 BARR RD                                                                          WILMINGTON          DE 19808‐5327
TRACY J BRADLEY         1144 MAPLE AVE                                                                        MIAMISBURG          OH 45342
TRACY J DELPHIA         2270 PARKWAY DR                                                                       DEERFIELD           OH 44411‐8716
TRACY J GASTON          231 N CENTER ST                                                                       NEWTON FALLS        OH 44444‐1324
TRACY J PORTER          210 OAK HAMMOCK CT SW                                                                 VERO BEACH          FL 32962
TRACY J STRINGER        124 CHESTNUT ST.                                                                      ENGLEWOOD           OH 45322‐1434
TRACY J THORNTON        824 SEVILLE ROW                                                                       DETROIT             MI 48202‐2602
                           09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                               Part 37 of 40 Pg 392 of 901
Name                       Address1                         Address2                    Address3                   Address4         City             State Zip
TRACY J VANDEGRIFT         2867 HILDA DR SE                                                                                         WARREN            OH 44484‐3336
TRACY JAMES                1019 SCHONBACK CT                                                                                        BATAVIA            IL 60510‐2878
TRACY JOHNSTON             6914 TAPPON CT                                                                                           CLARKSTON         MI 48346‐2628
TRACY JOHNSTON             22208 220TH AVE                                                                                          PARIS             MI 49338‐9455
TRACY JONES                112 MARSH DR                                                                                             GRAND LEDGE       MI 48837‐2115
TRACY JONES                8167 SANDS POINT DR                                                                                      HOUSTON           TX 77036
TRACY JONES                2130 9TH STREET WEST             #190                                                                    COLUMBIA FALLS    MT 59912
TRACY JR, CHARLES A        18 CEDARBROOK DR                                                                                         LANCASTER         NY 14086‐1436
TRACY JR, KENNETH R        17127 DIANE DR                                                                                           DAVISBURG         MI 48350‐3934
TRACY JR, KENNETH ROBERT   17127 DIANE DR                                                                                           DAVISBURG         MI 48350‐3934
TRACY JR, WILLIAM G        9018 GREENLEAF DR                                                                                        FORT WAYNE        IN 46819‐2314
TRACY JR, WILLIAM M        15 MOUNTAIN VIEW LN                                                                                      STANDISH          ME 04084‐6020
TRACY KINSLEY
TRACY KOSHA                APT 16                           423 AVON COURT                                                          DAVISON          MI   48423‐1688
TRACY KURZ                 8675 FAIRWEATHER TRL                                                                                     POLAND           OH   44514‐5840
TRACY L ARNOLD             5275 MILLINGTON RD                                                                                       MILLINGTON       MI   48746‐9537
TRACY L BARKER             105 BENSON ST                                                                                            TILTON           IL   61833‐7901
TRACY L BARLOW             C/O GREGORY P CAFOUROS           KROGER GARDIS & REGAS LLP   111 MONUMENT CIR STE 900                    INDIANAPOLIS     IN   46204‐5125

TRACY L BEMBRY             3733 BECKLEY AVE.                                                                                        DAYTON           OH   45416
TRACY L BETZ               8444 TOWSON BLVD                                                                                         MIAMISBURG       OH   45342
TRACY L BURK               4399 LESTON AVE                                                                                          HUBER HEIGHTS    OH   45424
TRACY L BURKE              541 ROCKVIEW DRIVE                                                                                       HOLLEY           NY   14470‐9401
TRACY L BUSH               5823 MAHONING AVE NW                                                                                     WARREN           OH   44483
TRACY L CAYLOR             603 A DODGE CT                                                                                           RIVERSIDE        OH   45431
TRACY L COULS              1782 SIMINOLE                                                                                            DETROIT          MI   48214‐2726
TRACY L CRAWFORD           815 FLORIDA AVE                                                                                          MC DONALD        OH   44437‐1609
TRACY L CRUM               84 SUE DR                                                                                                GERMANTOWN       OH   45327
TRACY L DEAN               292 N BANK ST                                                                                            CORTLAND         OH   44410‐1003
TRACY L ENRIGHT            4 NORRIS AVE                                                                                             BATAVIA          NY   14020
TRACY L EVANS              43 HILLVIEW DR APT 2                                                                                     HUBBARD          OH   44425‐1238
TRACY L GODOY              1004 STANS WAY SE                                                                                        WARREN           OH   44484
TRACY L HOWARD             59 SEWARD ST APT 217                                                                                     DETROIT          MI   48202‐2430
TRACY L HUGHES             276 KANSAS AVE                                                                                           YPSILANTI        MI   48198‐6027
TRACY L INSLEY             258 APPLEBY RD                                                                                           NEW CASTLE       DE   19720‐5404
TRACY L JONES              112 MARSH DR                                                                                             GRAND LEDGE      MI   48837‐2115
TRACY L KELLY              9212 HERITAGE GLEN DR.                                                                                   MIAMISBURG       OH   45342
TRACY L LARSEN             109 S H ST                                                                                               TILTON           IL   61833‐7822
TRACY L LEVANGIE           241 ALLEN ST                                                                                             FRANKLIN         OH   45005‐2105
TRACY L MURRAY             7840 CRESTLINE CT                                                                                        HUBER HEIGHTS    OH   45424
TRACY L OWENS              3544 VIEWEL AVE.                                                                                         DAYTON           OH   45414‐5336
TRACY L PERKINS            3126 AERIAL AVE                                                                                          KETTERING        OH   45429‐3420
TRACY L PERRY              20036 NORTHROP ST                                                                                        DETROIT          MI   48219‐1256
TRACY L PITTS              7471 FRANKLIN‐MADISON RD.                                                                                MIDDLETOWN       OH   45042‐1109
TRACY L PRICHARD           309 BELLE RIDGE COURT                                                                                    CHESAPEAK        VA   23322
TRACY L REDMOND            1647 ROBERTS LN NE                                                                                       WARREN           OH   44483‐‐ 36
TRACY L RENKO              5224 LAREKIT LN                                                                                          FORT WAYNE       IN   46804‐4334
TRACY L RYDER              30 DEVIN DR                                                                                              TROY             MO   63379‐5793
TRACY L SALYERS            1194 MAUE RD                                                                                             MIAMISBURG       OH   45342
TRACY L SHAW               4897 WESTCHESTER DR UNIT 3                                                                               YOUNGSTOWN       OH   44515‐2575
TRACY L SIMKO              10 E. CHURCH ST.                                                                                         NEWTON FALLS     OH   44444
TRACY L SIMON              3625 HEATHWOOD DRIVE                                                                                     TROY             OH   45373‐9315
                                   09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                     Part 37 of 40 Pg 393 of 901
Name                               Address1                       Address2            Address3         Address4         City               State Zip
TRACY L SMITH                      9183 RT 725 EAST                                                                     GERMANTOWN          OH 45327‐9401
TRACY L SPENCER                    417 GREENLAWN ST                                                                     YPSILANTI           MI 48198‐5994
TRACY L STERNTHAL                  6901 BELT LINK LOOP                                                                  WESLEY CHAPEL       FL 33545
TRACY L STREETER                   11430 ARCHES DR                                                                      INDIANAPOLIS        IN 46235‐8216
TRACY L SUTHERLAND                 1548 SARASOTA DR                                                                     TOLEDO              OH 43612‐4033
TRACY L THAMES                     1145 TERRY AVE                                                                       MOUNT MORRIS        MI 48458‐2540
TRACY L THOMPSON                   7597 WHISPERS LN                                                                     ONTARIO             NY 14519‐9389
TRACY L VANN                       313 PICKENS ST SE                                                                    ATTALLA             AL 35954‐3533
TRACY L WARD                       8052 ACHTERMAN RD.                                                                   PLEASANT PL         OH 45162‐9264
TRACY L WEIR                       7205 GRATIS‐JACKSONBURG RD                                                           CAMDEN              OH 45311
TRACY L WEIZMAN                    3495 S TIPP COWLESVILLE RD                                                           TIPP CITY           OH 45371
TRACY LAZAR                        180 LARIAT DR                                                                        LAPEER              MI 48446‐8755
TRACY LEE                          9190 S BEYER RD                                                                      BIRCH RUN           MI 48415‐8495
TRACY LEWIS                        628 VIA TUNIS                                                                        PUNTA GORDA         FL 33950‐6621
TRACY LINDSAY
TRACY LOGISTICS INC                28 PRIVILEGE ST                                                                      WOONSOCKET         RI   02895‐1239
TRACY LOWTHER                      402 CORNWALL AVE.              APT. #1                                               BUFFALO            NY   14215
TRACY LUCAS                        28811 KENDALLWOOD DR                                                                 FARMINGTON HILLS   MI   48334‐2639
TRACY LUKINS JR                    509 SANTO DOMINGO LN                                                                 INDIALANTIC        FL   32903‐2367
TRACY M BREZEE                     207 MC KENNEY AVE                                                                    SYRACUSE           NY   13211‐1733
TRACY M CARRIER                    1012 N JACKSON ST                                                                    BAY CITY           MI   48708‐5918
TRACY M CHATMAN                    830 ROSEDALE DR                                                                      DAYTON             OH   45407‐1737
TRACY M FOSTER                     3696 MANDALAY DR                                                                     TROTWOOD           OH   45416
TRACY M HILL                       1509 S NIAGARA ST                                                                    SAGINAW            MI   48602‐1339
TRACY M KRIMM                      322 SCENIC CT                                                                        VANDALIA           OH   45377
TRACY M LEE                        4002 PROCTOR AVE                                                                     FLINT              MI   48504‐2265
TRACY M MCCURN                     187 HILLARY DR                                                                       ROCHESTER          NY   14624‐5221
TRACY M MOORE                      5942 MINDY DR                                                                        HAMILTON           OH   45011
TRACY M TORRES                     145 DELAVAN STREET                                                                   NEW BRUNSWICK      NJ   08901‐2617
TRACY MACK                         20254 RODEO CT                                                                       SOUTHFIELD         MI   48075‐1285
TRACY MARKS                        16007 HAZEL RD                                                                       E CLEVELAND        OH   44112‐2912
TRACY MATTISON                     1327 COOKS CT                                                                        BRENTWOOD          TN   37027‐2937
TRACY MC BRIDE                     9025 TARTAN DR                                                                       CLARKSTON          MI   48348‐2455
TRACY MCCALL                       1433 REMSING ST                                                                      HARTLAND           MI   48353‐3457
TRACY MERRITT                      43124 MIRABILE TRL                                                                   CLINTON TOWNSHIP   MI   48038‐2448
TRACY MICHAELIS
TRACY MOON                         2511 N AVERILL AVE                                                                   FLINT              MI   48506‐3009
TRACY MORGAN                       17000 WALNUT DR                                                                      NEWALLA            OK   74857‐1321
TRACY MOTORS, INC.                 JEFFREY TRACY                  137 SAMOSET ST                                        PLYMOUTH           MA   02360‐4801
TRACY MOTORS, INC.                 137 SAMOSET ST                                                                       PLYMOUTH           MA   02360‐4801
TRACY N STEVENS                    765 TOWNSHIP ROAD                                                                    RAINBOW CITY       AL   35906‐3622
TRACY N THOMAS                     8005 WOODBURY RD                                                                     LAINGSBURG         MI   48848‐8811
TRACY NEMETH                       7160 COLONY DR                                                                       W BLOOMFIELD       MI   48323‐1123
TRACY NOLFF                        9100 OLD OAK DR                                                                      GRAND BLANC        MI   48439‐8093
TRACY NORRIS                       2124 MAIN ST                                                                         SPEEDWAY           IN   46224‐5140
TRACY ORFIELD                      7114 LOBDELL RD                                                                      LINDEN             MI   48451‐8779
TRACY OSBORNE                      1341 LOHR RD                                                                         GALION             OH   44833‐9557
TRACY PALMER                       225 CHICAGO ST                                                                       LAKE ORION         MI   48362‐2833
TRACY PERRY                        20036 NORTHROP ST                                                                    DETROIT            MI   48219‐1256
TRACY PHILLIPS
TRACY PONTIAC GMC CADILLAC INC     2628 ROBERTSON DR                                                                    TRACY              CA 95304‐8425
TRACY PONTIAC GMC CADILLAC, INC.   2628 ROBERTSON DR                                                                    TRACY              CA 95304‐8425
                                   09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                      Part 37 of 40 Pg 394 of 901
Name                               Address1                        Address2                      Address3   Address4         City            State Zip
TRACY PONTIAC GMC CADILLAC, INC.   YOSHIKAZU MATAGA                2628 ROBERTSON DR                                         TRACY            CA 95304‐8425
TRACY PRUITT                       8219 MIDLAND RD                                                                           FREELAND         MI 48623‐9002
TRACY PUTMAN                       201 N CHESTER RD                                                                          CHARLOTTE        MI 48813‐9547
TRACY R HALL                       509 HAMILTON AVE                                                                          NEW CARLISLE     OH 45344
TRACY R KURZ                       8675 FAIRWEATHER TRL                                                                      YOUNGSTOWN       OH 44514‐5840
TRACY R RICHTER                    1361 KERN DR                                                                              GERMANTOWN       OH 45327
TRACY R ROGERS                     7306 BEATY AVE                                                                            FORT WAYNE       IN 46809‐2726
TRACY R STEELE JR                  1137 FRANCIS AVE SE                                                                       WARREN           OH 44484‐4335
TRACY R WILLIAMS                   3187 KINGS BROOK DR                                                                       FLUSHING         MI 48433‐2419
TRACY R WOODEN                     5487 KETTERING SQ DR N                                                                    KETTERING        OH 45440
TRACY RENKO                        5224 LAREKIT LN                                                                           FORT WAYNE       IN 46804‐4334
TRACY RICHARD                      8455 PEBBLE CREEK WAY APT 103                                                             LITTLETON        CO 80126
TRACY RICHARDS                     1841 ATMORE DR                                                                            SAINT LOUIS      MO 63136‐3301
TRACY RICHARDSON
TRACY RICHTER                      1361 KERN DR                                                                              GERMANTOWN      OH   45327‐8357
TRACY RIVERA                       152 NOTRE DAME AVE                                                                        DAYTON          OH   45404‐1926
TRACY ROBERTS                      BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS      OH   44236
TRACY ROBERTSON‐BUNGY              101 SIXTH AVE MIDVALE                                                                     NEW CASTLE      DE   19720
TRACY ROBINSON                     5741 N CROWN ST                                                                           WESTLAND        MI   48185‐2244
TRACY ROGERS                       7306 BEATY AVE                                                                            FORT WAYNE      IN   46809‐2726
TRACY ROMPREY                      403 W MAIN ST                                                                             FLUSHING        MI   48433‐2035
TRACY S GRAY                       2642 FLETCHER ST                                                                          ANDERSON        IN   46016‐5337
TRACY S HOGAN                      4328 SWEETGUM WAY                                                                         FORT WORTH      TX   76133‐7527
TRACY S KILBY                      332 ADAMSMOOR DR                                                                          WAYNESVILLE     OH   45068
TRACY SANDERS                      5133 MAIN ST                                                                              ANDERSON        IN   46013‐4824
TRACY SAXTON                       3250 LAHRING RD                                                                           LINDEN          MI   48451‐9434
TRACY SCHROEDER                    5603 W FENRICK RD                                                                         JANESVILLE      WI   53548‐9464
TRACY SCOTT                        1133 2ND ST                                                                               SANDUSKY        OH   44870‐3833
TRACY SHAW                         4897 WESTCHESTER DR UNIT 3                                                                AUSTINTOWN      OH   44515‐2575
TRACY SHINABARGAR                  3522 W CLEVELAND RD                                                                       PERRINTON       MI   48871‐9722
TRACY SIMPSON                      795 AVONDALE DR                                                                           SAINT PETERS    MO   63376‐7833
TRACY SINTON                       5116 PAGE BLVD                                                                            SAINT LOUIS     MO   63113‐1604
TRACY SMITH                        4855 AIRLINE DR APT 14F                                                                   BOSSIER CITY    LA   71111‐6625
TRACY SMITH                        14 S 27TH ST                                                                              KANSAS CITY     KS   66102‐4634
TRACY SMITH                        2115 CYPRESS ST SW                                                                        WYOMING         MI   49519‐3614
TRACY SMITH                        5406 LITCHFIELD DR                                                                        FLINT           MI   48532‐4039
TRACY SMITH                        258 LYSANDER DR                                                                           ROCHESTER       NY   14623‐4153
TRACY SNOW                         6433 MICHEAL ROAD                                                                         MIDDLETOWN      OH   45042‐1421
TRACY SPEARS JR                    24645 KENSINGTON ST                                                                       TAYLOR          MI   48180‐3367
TRACY SPENCER                      8908 W 95TH TER                                                                           OVERLAND PARK   KS   66212‐4003
TRACY SR, KENNETH R                6170 CRAMLANE DR                                                                          CLARKSTON       MI   48346‐2404
TRACY STANLEY                      3006 CRESWELL RD                                                                          ABERDEEN        MD   21001‐1518
TRACY STEELE JR                    1137 FRANCIS AVE SE                                                                       WARREN          OH   44484‐4335
TRACY STEFANSKI                    546 N MCKINLEY RD                                                                         FLUSHING        MI   48433‐1365
TRACY STEFEN (636959)              ZAMLER, MELLEN & SHIFFMAN       23077 GREENFIELD RD STE 557                               SOUTHFIELD      MI   48075‐3727
TRACY STREETER                     11430 ARCHES DR                                                                           INDIANAPOLIS    IN   46235‐8216
TRACY SYMONDS                      615 S BOSTWICK ST                                                                         CHARLOTTE       MI   48813‐1802
TRACY T. NEAL                      709 CALLOWAY CT                                                                           FRANKLIN        TN   37067‐5642
TRACY TARBELL                      18 E MADISON AVE                                                                          NILES           OH   44446‐5127
TRACY TEER                         4125 RACE ST                                                                              FLINT           MI   48504‐3536
TRACY THAMES                       1145 TERRY AVE                                                                            MOUNT MORRIS    MI   48458‐2540
TRACY THATCHER                     9818 NORTHWEST 86TH TERRACE                                                               KANSAS CITY     MO   64153‐1400
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 395 of 901
Name                   Address1                         Address2           Address3         Address4         City             State Zip
TRACY THOMAS           8005 WOODBURY RD                                                                      LAINGSBURG        MI 48848‐8811
TRACY THOMAS           6447 UPTON RD                                                                         LAINGSBURG        MI 48848‐9437
TRACY THOMAS
TRACY THORNHILL        18312 THORNRIDGE DR                                                                   GRAND BLANC      MI   48439‐9234
TRACY THUEME           2977 LANSDOWNE RD                                                                     WATERFORD        MI   48329‐2953
TRACY TILL             385 CHURCH LANE                                                                       NORTH BRUNSWI    NJ   08902‐9660
TRACY TODD             29616 ROYAL BURGH DR                                                                  MURRIETA         CA   92563‐5848
TRACY VANCE            PO BOX 112                                                                            FRIARS POINT     MS   38631
TRACY VINCENT          953 W ROACHE ST                                                                       INDIANAPOLIS     IN   46208‐5440
TRACY W BELL           3719 HONEYBROOK AVE                                                                   DAYTON           OH   45415‐1550
TRACY W CONGDON        2054 FOXRUN LN                                                                        LAKE WALES       FL   33898‐8859
TRACY W MERRITT        35 LEELAND RD                                                                         FREDERICKSBURG   VA   22405
TRACY W RUTLEDGE       4340 HELENA AVE                                                                       YOUNGSTOWN       OH   44512
TRACY WALKER           9208 NEFF RD                                                                          CLIO             MI   48420‐1661
TRACY WALTON           23450 E 5TH DR                   APT203                                               AURORA           CO   80018‐1606
TRACY WAREHAM          1708 DURANGO DR                                                                       DEFIANCE         OH   43512‐3651
TRACY WEAVER           7451 CEMENT CITY RD                                                                   BROOKLYN         MI   49230‐9115
TRACY WEBB             10335 LAFAYETTE LN                                                                    DIMONDALE        MI   48821‐9426
TRACY WEIER            1418 BOWEN RD                                                                         MANSFIELD        OH   44903‐8707
TRACY WHITE            2439 FRONTIER DR                                                                      GRAND PRAIRIE    TX   75052‐7888
TRACY WILLIAMS         3187 KINGS BROOK DR                                                                   FLUSHING         MI   48433‐2419
TRACY WILLIAMS         4709 N CANYON TRL APT 3104                                                            EULESS           TX   76040‐8770
TRACY WILLIS           PO BOX 19465                                                                          OKLAHOMA CITY    OK   73144‐0465
TRACY WILSON           475 COUNTY ROAD 2930                                                                  ALBA             TX   75410‐5588
TRACY WOODY            4908 VALLEY PLACE                                                                     RALEIGH          NC   27608
TRACY Y BRECKENRIDGE   124 S 9TH ST                                                                          SAGINAW          MI   48601‐1801
TRACY Y RHODES         1938 AKRON DR SE                                                                      ATLANTA          GA   30315‐7002
TRACY YOLTON           232 HIGHLAND RD                                                                       MASSENA          NY   13662‐3209
TRACY YOUNG            7134 N WYOMING AVE                                                                    KANSAS CITY      MO   64118‐8351
TRACY ZUHLKE           443 W CASTLE RD                                                                       FOSTORIA         MI   48435‐9669
TRACY'S AUTOMOTIVE     525 E 1ST ST N                                                                        WICHITA          KS   67202‐2601
TRACY'S AUTOMOTIVE     3804 W MAPLE ST                                                                       WICHITA          KS   67213‐2457
TRACY, ALYNN B         9193 BRIARSTONE DR                                                                    STANWOOD         MI   49346‐9393
TRACY, AMANDA L        1029 9TH ST                                                                           BELOIT           WI   53511‐5158
TRACY, ANTONIA         8671 SUGAR TREE DR                                                                    NOVELTY          OH   44072‐9615
TRACY, AUDREY F.       4 PRISCILLA LN                                                                        LOCKPORT         NY   14094‐3313
TRACY, AUDREY F.       4 PRISCILLA LANE                                                                      LOCKPORT         NY   14094
TRACY, BARBARA J       320 MADISON AVE SE                                                                    GRAND RAPIDS     MI   49503‐4618
TRACY, BILL A          708 WESTBROOK DR                                                                      LIMA             OH   45801‐2663
TRACY, CAROL A         660 CRESCENT AVE                                                                      BUFFALO          NY   14216‐3403
TRACY, CHESTER         320 THOMAS HTS                                                                        MARION           VA   24354‐6939
TRACY, CHRISTOPHER J   1460 LA CIMA RD                                                                       SANTA BARBARA    CA   93101‐4934
TRACY, CLEO A          PO BOX 78                                                                             CALVIN           WV   26660‐0078
TRACY, CLIFFORD A      1905 W HART RD                                                                        BELOIT           WI   53511‐2230
TRACY, DARCY L         260 LACOMB RD                                                                         NORFOLK          NY   13667‐3254
TRACY, DAVID A         5522 BURGESS DR                                                                       SYLVANIA         OH   43560‐2409
TRACY, DAVID AL        5522 BURGESS DR                                                                       SYLVANIA         OH   43560‐2409
TRACY, DEBORAH S       9245 S ORCHARD PARK CIR APT 2B                                                        OAK CREEK        WI   53154‐8222
TRACY, DEBRA R         3206 VAN HORN ROAD                                                                    IOWA PARK        TX   76367‐6222
TRACY, DOLORES S       7 WOODLAND CHASE BLVD.                                                                NILES            OH   44446‐5350
TRACY, DONALD F        71 OAK VALLEY DR                                                                      SAINT PETERS     MO   63376‐3746
TRACY, DONALD R        5354 RENSSELEAR DR                                                                    LAPEER           MI   48446‐9725
                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                           Part 37 of 40 Pg 396 of 901
Name                  Address1                          Address2            Address3         Address4         City             State Zip
TRACY, DONALD R       3102 91ST ST S                                                                          TACOMA            WA 98499‐9116
TRACY, EARL R         2169 MAIN STREET EXT SW                                                                 WARREN            OH 44481‐9602
TRACY, EDWIN L        2365 FLAG RD                                                                            ABILENE           KS 67410‐6949
TRACY, ELEANOR J      7298 NORTHPOINT SHRS                                                                    ALPENA            MI 49707
TRACY, ELEANOR J      1612 DAVID                                                                              LANSING           MI 48912‐3717
TRACY, ELSIE A        18 CEDARBROOK DR                                                                        LANCASTER         NY 14086‐1436
TRACY, FRANK H        721 N MAIN ST                                                                           PAULDING          OH 45879‐1015
TRACY, FREDRICK H     5250 NE MAYBROOK RD                                                                     LEES SUMMIT       MO 64064‐1121
TRACY, GEORGE J       26 1/2 W GREAT LAKES                                                                    RIVER ROUGE       MI 48218
TRACY, GEORGE S       1912 CONDE ST                                                                           JANESVILLE        WI 53546‐5738
TRACY, HELEN M        1118 W CROSS ST APT 114                                                                 ANDERSON          IN 46011‐9532
TRACY, HELEN M        1118 W. CROSS ST                  APT #211                                              ANDERSON          IN 46011
TRACY, IRENE          807 COUNCIL ST                    APT A                                                 BUCKNER           MO 64016‐7251
TRACY, IRENE          807 COUNCIL ST APT A                                                                    BUCKNER           MO 64016‐7251
TRACY, JAMES A        5880 BUTLER GRANGE RD                                                                   SALEM             OH 44460‐8922
TRACY, JAMES M        24 PASSAIC AVE                                                                          LOCKPORT          NY 14094‐2016
TRACY, JAMES R        740 E SHOCKLEY RD                                                                       MUNCIE            IN 47302‐9517
TRACY, JAMES ROBERT   740 E SHOCKLEY RD                                                                       MUNCIE            IN 47302‐9517
TRACY, JANE
TRACY, JEFFREY R      8366 JORDAN RD                                                                          GRAND BLANC      MI   48439‐9623
TRACY, JENNIFER S     1001 W HIGHWAY N                                                                        WENTZVILLE       MO   63385‐5312
TRACY, JOHN C         206 E LINCOLN AVE                                                                       OWENSVILLE       MO   65066
TRACY, JOHN E         314 COUNTY ROAD 620                                                                     WEST SALEM       OH   44287‐9169
TRACY, JOHN J         1042 MAPLE ST                                                                           ALBION           MI   49224
TRACY, JOHN R         13142 BRIDGEFORD AVE                                                                    BONITA SPRINGS   FL   34135‐3447
TRACY, JOHN W         1001 W HIGHWAY N                                                                        WENTZVILLE       MO   63385‐5312
TRACY, JOSEPH         12612 MAJESTIC WAY                                                                      FISHERS          IN   46037
TRACY, KEITH P        2045 W HIDDEN RESERVE CIR                                                               MEQUON           WI   53092‐5575
TRACY, KEVIN J        7498 INDIAN RD                                                                          TEMPERANCE       MI   48182‐1513
TRACY, KEVIN JOHN     7498 INDIAN RD                                                                          TEMPERANCE       MI   48182‐1513
TRACY, KRISTIN        419 MCKENZIE DR                                                                         HENDERSON        NV   89015‐6006
TRACY, LAURA          5747 LOCUS STREET EXT. APT. 1                                                           LOCKPORT         NY   14094
TRACY, LEO B          5852 CLEVELAND RD LOT 53                                                                WOOSTER          OH   44691‐1183
TRACY, LISTON H       12416 KNOLLCREST RD                                                                     REISTERSTOWN     MD   21136‐5629
TRACY, LORNA M        7421 LYNDALE AVE S                                                                      RICHFIELD        MN   55423
TRACY, MARGARET M     PO BOX 780                                                                              OSAGE BEACH      MO   65065‐0780
TRACY, MARY D         1401 S 24TH ST                                                                          ELWOOD           IN   46036‐3018
TRACY, MARY L         POST OFFICE BOX 192               9031 HADLEY ST                                        ATLAS            MI   48411‐0192
TRACY, MARY L         PO BOX 193                                                                              ATLAS            MI   48411‐0193
TRACY, MICHAEL L      845 EAGLE PKWY                                                                          BROWNSBURG       IN   46112‐9782
TRACY, MICHAEL R      RR E 24465                                                                              CONTINENTAL      OH   45831
TRACY, MICHAEL RAY    RR E 24465                                                                              CONTINENTAL      OH   45831
TRACY, PATRICK J      4699 CURTIS CT N                                                                        LEWISTON         NY   14092‐1154
TRACY, PAUL T         4575 DAISY DR                                                                           KISSIMMEE        FL   34746‐6386
TRACY, PEGGY A        11425 E WHISPERING WIND DR                                                              SCOTTSDALE       AZ   85255‐5705
TRACY, RICHARD C      21901 EDGEWOOD ST                                                                       ST CLAIR SHRS    MI   48080‐2001
TRACY, RICHARD W      2180 E PARKWOOD AVE                                                                     BURTON           MI   48529‐1768
TRACY, RUTH L         6271 SANTEE CT                                                                          FLINT            MI   48506‐1175
TRACY, SAMUEL R       210 BURNSIDE DR                                                                         TONAWANDA        NY   14150‐4424
TRACY, SANDRA         PO BOX 851                                                                              MOORE HAVEN      FL   33471‐0851
TRACY, SEAN M         375 HARTFORD AVE                                                                        BUFFALO          NY   14223‐2314
TRACY, SHIRLEY        205 OAK ST                                                                              FLUSHING         MI   48433‐2635
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                         Part 37 of 40 Pg 397 of 901
Name                                 Address1                           Address2                      Address3                 Address4             City           State Zip
TRACY, STEFEN                        ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                                                 SOUTHFIELD      MI 48075‐3727
TRACY, SUE A                         513 JANA RD                                                                                                    EDGERTON        WI 53534‐9500
TRACY, TANA                          302N RIVER STREET                                                                                              CONTINENTAL     OH 45831
TRACY, TERRY A                       273 ROUSE RD                                                                                                   DICKSON         TN 37055‐3383
TRACY, THOMAS E                      4276 HIGHWAY 441 S K.O.A           BOX 200                                                                     OKEECHOBEE      FL 34974
TRACY, TIMOTHY J                     4660 LARBEE RD                                                                                                 VASSAR          MI 48768‐9732
TRACY, VERRILL D                     139 SOUTH MAIN ST                                                                                              TERRYVILLE      CT 06786
TRACY, VIDA E                        18901 GAINESWAY CT                                                                                             DAVIDSON        NC 28036‐8820
TRACY, VIDA E                        18901 GAINES WAY COURT                                                                                         DAVIDSON        NC 28036‐8036
TRACY, VIRGIL                        4909 E LAKE POINT CIR                                                                                          PHOENIX         AZ 85044‐2222
TRACY, WALTER R                      1545 AQUA LOOP                                                                                                 GREENUP         KY 41144‐8253
TRACY, WANDA                         7760 STATE ROUTE 66                                                                                            OAKWOOD         OH 45873‐9527
TRACY, WILLIAM                       BRAYTON PURCELL                    PO BOX 6169                                                                 NOVATO          CA 94948‐6169
TRACY‐GARNER, THERESE A              1006 GRACE DR                                                                                                  JOHNSON CITY    TN 37604‐2904
TRACZ, EDWARD A                      41877 SUTTERS LN                                                                                               NORTHVILLE      MI 48168‐3604
TRACZYK, GARY O                      313 KRAUSS ST                                                                                                  SAINT LOUIS     MO 63111‐2828
TRACZYK, HELEN C                     8807 DIXIE                                                                                                     DETROIT         MI 48239‐1537
TRADE CENTER AUTOMOTIVE              6220 S 57TH ST                                                                                                 LINCOLN         NE 68516‐5212
TRADE ELECTRIC SUPPLY LTD            99 SANTE DR                                                                               CONCORD ONT CANADA
                                                                                                                               ON L4K 3C4 CANADA
TRADE EVENT RESOURCE MANAGEMEN       222 WILLIAM ST                                                                                                 BENSENVILLE     IL   60106‐3325

TRADE EVENT RESOURCE MANAGEMENT      222 WILLIAM ST                                                                                                 BENSENVILLE     IL   60106‐3325
GRP
TRADE EVENT RESOURCE MGMT            DBA THE TERM GROUP LLC             3001 N KNOX AVE               FRMLY METRO EXHIBITORS                        CHICAGO         IL   60641‐5252
                                                                                                      SERV
TRADE ONE                            TRADE PROMOTION MANAGEMENT         PO BOX 16006                  C/O FIRST COMMUNITY                           PHOENIX        AZ    85011‐6006
                                                                                                      FINANCIAL
TRADE SHOW ELECTRICAL                7050 LINDELL RD                                                                                                LAS VEGAS      NV    89118‐4702
TRADE WEB LLC                        HARBORSIDE FINANCIAL CENTER/       2200 PLAZA FIVE               ACCTS PAYABLE                                 JERSEY CITY    NJ    07311‐4006
TRADE WINDS TRANSIT INC              1000 W JOHN ROWAN BLVD                                                                                         BARDSTOWN      KY    40004‐2603
TRADEMARK & LICENSING ASSOCIATES INC 7342 GIRARD AVE                                                                                                LA JOLLA       CA    92037

TRADEMARK HOIST & CRANE              QUALITY YOU CAN LIFT WITH          1369 RIDGEWAY ST                                                            POMONA         CA 91768‐2701
TRADEONE MARKETING INC               11149 RESEARCH BLVD STE 400                                                                                    AUSTIN         TX 78759‐5227
TRADER CONSTRUCTION COMPANY                                             2500 HIGHWAY 70 E                                                                          NC 28560
TRADER MEDIA GROUP
TRADER NATIONAL PUBLICATIONS         PO BOX 1039                                                                                                    NORFOLK        VA    23501‐1039
TRADER PUBLISHING                    1610 CENTURY CENTER PKWY STE 104                                                                               MEMPHIS        TN    38134‐8957
TRADER, ANDREW L                     113 BEECH AVE                                                                                                  PHILIPPI       WV    26416‐1003
TRADER, BETTIE M                     PO BOX 916                                                                                                     HIRAM          GA    30141‐0916
TRADER, BETTIE M                     P.O. BOX 916                                                                                                   HIRAM          GA    30141‐0916
TRADER, GERALD E                     2293 S 1050 E                                                                                                  GREENTOWN      IN    46936
TRADER, GERALD E                     2293 S CR 1050 E                                                                                               GREENTOWN      IN    46936
TRADER, MARY E                       56 S QUENTIN AVE                                                                                               DAYTON         OH    45403‐2261
TRADER, MAURICE E                    10315 CORTEZ RD W LOT 10D                                                                                      BRADENTON      FL    34210‐1631
TRADER, PAMELA A                     4256 SOUTH 50 WEST                                                                                             ALBION         IN    46701
TRADER, SHERRY L                     2293 S CR 1050 E                                                                                               GREENTOWN      IN    46936
TRADER, STEVE B                      318 S CARROLL RD                                                                                               VILLA RICA     GA    30180‐2510
TRADER, THURMAN J                    4256 S 50 W                                                                                                    ALBION         IN    46701‐9631
TRADERS CHEVROLET, LLC               JOSEPH HENDRICK                    1401 BRIDFORD PKWY                                                          GREENSBORO     NC    27407‐2657
TRADES PUBLISHING INC                24 ARNETT AVE STE 200                                                                                          LAMBERTVILLE   NJ    08530‐1500
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                         Part 37 of 40 Pg 398 of 901
Name                               Address1                           Address2                         Address3    Address4               City            State Zip
TRADEWEB LLC                       2200 PLAZA FIVE                    HARBORSIDE FINANCIAL CENTER                                         JERSEY CITY      NJ 07311‐4006
TRADEWIND INSURANCE COMPANY        KIUCHI & NAKAMOTO                  PAUAHI TOWER ‐ SUITE 2525 ‐ 1001                                    HONOLULU         HI 96813
LIMITED                                                               BISHOP STREET
TRADEWINDS PRINTWEAR               PO BOX 78                                                                                              CROOKSVILLE     OH   43731‐0078
TRADEWINDS PW                      5820 NW 84TH AVE                                                                                       MIAMI           FL   33166
TRADII, JESSICA M                  35430 MARROCCO ST                                                                                      CLINTON TWP     MI   48035‐2653
TRADII, JESSICA M.                 35430 MARROCCO ST                                                                                      CLINTON TWP     MI   48035‐2653
TRADIS HAMMOND                     2000 WOODS DR                                                                                          ARLINGTON       TX   76010‐5656
TRADOR, JANICE D                   1380 BALDWIN AVE                                                                                       PONTIAC         MI   48340‐1918
TRAE CHEVROLET                     109 W MARION ST                                                                                        REYNOLDS        GA   31076‐2810
TRAE CHEVROLET LLC                 109 W MARION ST                                                                                        REYNOLDS        GA   31076‐2810
TRAEDER, HOWARD F                  12455 JANESVILLE RD #327                                                                               MUSKEGO         WI   53150
TRAEDER, KURT A                    2512 S SEYMOUR PL                                                                                      MILWAUKEE       WI   53227‐1852
TRAEGER, DALE R                    2782 FERN AVENUE                                                                                       COLUMBUS        OH   43211‐3712
TRAEGER, THOMAS W                  1111 SWALLOW AVE APT 302                                                                               MARCO ISLAND    FL   34145‐8427
TRAENKLE, DEBRA A                  92 HILL LN                                                                                             LEVITTOWN       NY   11756‐2747
TRAER MFG.                         PO BOX 338                                                                                             VICTOR          IA   52347‐0338
TRAER/IOWA                         PO BOX 338                                                                                             VICTOR          IA   52347‐0338
TRAEYE, ELLIOTT L                  5051 WOODCLIFF DR                                                                                      FLINT           MI   48504‐1254
TRAEYE, JOSEPH L                   13326 BRIDGEWALK LN                                                                                    HOUSTON         TX   77041‐5889
TRAEYE, MARY B                     13326 BRIDGEWALK LN                                                                                    HOUSTON         TX   77041‐5889
TRAFALGAR CASTLE SCHOOL            401 REYNOLDS ST                                                                 WHITBY CANADA ON L1N
                                                                                                                   3W9 CANADA
TRAFALSKI, ALFRED A                151B BENNETT ROAD                                                                                      BUFFALO         NY   14227‐1460
TRAFALSKI, JOHN                    1280 W DIAMOND SHORE LOOP                                                                              HERNANDO        FL   34442‐6291
TRAFALSKI, MARTHA                  151 BENNETT ROAD                                                                                       CHEEKTOWAGA     NY   14227
TRAFAS, JOHN F                     505 FRENCHMEN ST APT 1                                                                                 NEW ORLEANS     LA   70116
TRAFAS, RONALD J                   2179 FRANCISCO ST                                                                                      FLUSHING        MI   48433‐2574
TRAFELET, NORMA A                  35361 EDYTHE DRIVE                                                                                     FARMINGTN HLS   MI   48331‐2024
TRAFFANSTEDT, JOHN L               14184 COUNTY ROAD 1573                                                                                 ADA             OK   74820‐1552
TRAFFANSTEDT, JOHN L               1816 E LONGVIEW LN                                                                                     MUSTANG         OK   73064‐6507
TRAFFENSTEDT, BOBBY D              2500 MANN RD LOT 79                                                                                    CLARKSTON       MI   48346‐4245
TRAFFIC & PARKING CONTROL CO INC   5100 W BROWN DEER RD                                                                                   BROWN DEER      WI   53223‐2322
TRAFFIC DOT COM                    851 DUPORTAIL RD STE 220                                                                               CHESTERBROOK    PA   19087‐5577
TRAFFIC ENTERPRISES CO             6620 LONYO ST                                                                                          DEARBORN        MI   48126‐2368
TRAFFIC LOGISTICS INC              209 N BECKLEY                                                                                          DESOTO          TX   75123
TRAFFIC LOGISTICS INC              PO BOX 865                         233 MCCOMB HWY 77 & HWY 34                                          DESOTO          TX   75123‐0865
TRAFFIC MANAGEMENT CORPORATION     KELSEY LAW GROUP PC                2395 S HURON PKWY STE 200                                           ANN ARBOR       MI   48104‐5170

TRAFFIC MARKETPLACE                LYNN DÆALESSANDRO                  335 MADISON AVE RM 840                                              NEW YORK        NY 10017‐4620
TRAFFIC MARKETPLACE                LYNN DÆALESSANDRO                  335 MADISON AVENUE               SUITE 840                          NEW YORK        NY 10017‐4620
TRAFFIC SAFETY ASSOCIATION OF      602 MICHIGAN NATIONAL TOWER                                                                            LANSING         MI 48933
MICHIGAN
TRAFFIC SAFETY CORPORATION         10 TINDER LANE                                                                  ANCASTER ON L9G 4A6
                                                                                                                   CANADA
TRAFFIC SAFETY INC.                ROBERT GUADAGNINO                  PO BOX 234                                                          WRITSVLLE BCH   NC 28480‐0234
TRAFFIC SERVICES                   405 E TERRACE DR                                                                                       PLANT CITY      FL 33563‐9020
TRAFFIC TECH                       6665 COTE DE LIESSE STE 200                                                     ST LAURENT CANADA PQ
                                                                                                                   H4T1Z5 CANADA
TRAFFIC.COM                        GENERAL COUNSEL                    851 DUPORTAIL RD STE 220                                            CHESTERBROOK    PA 19087‐5577
TRAFFIC.COM INC                    851 DUPORTAIL RD STE 220                                                                               CHESTERBROOK    PA 19087‐5577
TRAFFIC.COM RADIO
                            09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                 Part 37 of 40 Pg 399 of 901
Name                        Address1                          Address2                        Address3   Address4              City              State Zip
TRAFFICANTE JR, PAUL T      10917 FENWAY GLEN CT                                                                               RIVERVIEW          FL 33578‐3930
TRAFFICCAST
TRAFFIS, MARCELLA M         11820 BRIARWOOD DR                                                                                 CHESTERLAND       OH 44026‐1818
TRAFFIX                     80 SHORNCLIFFE RD                                                            ETOBICOKE CANADA ON
                                                                                                         M8Z 5K5 CANADA
TRAFFIX DEVICES INC         160 AVENIDA LA PATA                                                                                SAN CLEMENTE      CA    92573‐6304
TRAFFORD, REBECCA A         30100 HATHAWAY ST                                                                                  LIVONIA           MI    48150‐3091
TRAFIDLO, RONALD W          1220 STELLMA LN                                                                                    ROCHESTER HILLS   MI    48309‐2575
TRAFT, CATHERINE R          1311 RIDGEWOOD WAY NE                                                                              LANCASTER         OH    43130‐1156
TRAFTON, ALLEN M            BOONE ALEXANDRA                   205 LINDA DR                                                     DAINGERFIELD      TX    75638‐2107
TRAFTON, ERIC S             4165 CENTER RD                                                                                     LINDEN            MI    48451‐9611
TRAFTON, FLORENCE IRENE     727 ROLLING HILLS DR                                                                               PORT ORANGE       FL    32129‐3660
TRAFTON, HERMAN D           1820 N WOLFE ST                                                                                    BALTIMORE         MD    21213‐2455
TRAFTON, MARY S             2866 DECATUR CT                                                                                    UNION             KY    41091‐8741
TRAFTON, ROBERT K           4496 MAHONING AVENUE #206                                                                          AUSTINTOWN        OH    44515
TRAFTON, WILFORD O          3726 SPRINGDALE AVE                                                                                RANDALLSTOWN      MD    21133
TRAFTON, WOODY R            1211 RAMBLEWOOD RD                                                                                 BALTIMORE         MD    21239‐2638
TRAFZER I I, BRIAN E        5162 SHORELINE BLVD                                                                                WATERFORD         MI    48329‐1668
TRAFZER II, BRIAN EDWARD    5162 SHORELINE BLVD                                                                                WATERFORD         MI    48329‐1668
TRAFZER, BRIAN E            5162 SHORELINE BLVD                                                                                WATERFORD         MI    48329‐1668
TRAFZER, KIMBERLY R         2079 MAPLE NORTH TRL                                                                               WIXOM             MI    48393‐1873
TRAFZER, KIMBERLY RUTH      2079 MAPLE NORTH TRL                                                                               WIXOM             MI    48393‐1873
TRAGEMANN JR, FREDERICK W   691 WEATHERBY DR                                                                                   TUSCALOOSA        AL    35405‐6489
TRAGER, RANDY I             1820 RUBY AVE                                                                                      ROCHESTER HLS     MI    48309‐4228
TRAGESER, ANNA J            35 CENTENNIAL                                                                                      FROSTBURG         MD    21532‐1205
TRAGESSER, GREGORY E        3625 S 500 W                                                                                       TIPTON            IN    46072‐8993
TRAGESSER, JANE E           1700 ZARTMAN RD                                                                                    KOKOMO            IN    46902‐3259
TRAGESSER, JANE E           1700 ZARTMAN ROAD                                                                                  KOKOMO            IN    46902‐3259
TRAGESSER, LAWANNA          467 JOHN ST                                                                                        CARLISLE          OH    45005‐3306
TRAGESSER, MARY K           169 W 100 S                                                                                        TIPTON            IN    46072‐8758
TRAGESSER, MICHAEL E        201 PRAETORIAN CT                                                                                  WILMINGTON        OH    45177‐9010
TRAGESSER, MICHAEL EUGENE   201 PRAETORIAN CT                                                                                  WILMINGTON        OH    45177‐9010
TRAGESSER,MICHAEL EUGENE    201 PRAETORIAN CT                                                                                  WILMINGTON        OH    45177‐9010
TRAGNI MARTIN               24 SHAW ST                                                                                         WEST ROXBURY      MA    02132‐3507
TRAGNO, CHRISTOPHER
TRAGNO, CHRISTY
TRAGO JR, THOMAS B          783 NORWICH RD                                                                                     VANDALIA          OH    45377‐1630
TRAGO, JOAN                 783 NORWICH RD                                                                                     VANDALIA          OH    45377‐1630
TRAHAN CHRIS M              TRAHAN, ANGELA                    111 PARK WEST DR                                                 SCOTT             LA    70583‐8902
TRAHAN CHRIS M              TRAHAN, CHRIS M                   111 PARK WEST DR                                                 SCOTT             LA    70583‐8902
TRAHAN COREY AND ALEX       SIMANOVSKY & ASSOCIATES LLC       2300 HENDERSON MILL RD NE STE                                    ATLANTA           GA    30345‐2704
                                                              300
TRAHAN I I, ALCIDE G        1021 4TH ST                                                                                        COVINGTON          IN   47932‐1023
TRAHAN JONI                 TRAHAN, JACE                      8702 JEFFERSON HWY STE A                                         BATON ROUGE        LA   70809‐2409
TRAHAN JONI                 TRAHAN, JONI                      8702 JEFFERSON HWY STE A                                         BATON ROUGE        LA   70809‐2409
TRAHAN JONI                 TRAHAN, JONI                      FIELDSTONE HOUSE 405 ST.                                         BATON ROUGE        LA   70802
                                                              FERDINAND
TRAHAN SARAH G              TRAHAN, MARK D                    111 PARK WEST DR                                                 SCOTT             LA 70583‐8902
TRAHAN SARAH G              TRAHAN, SARAH G                   111 PARK WEST DR                                                 SCOTT             LA 70583‐8902
TRAHAN TODD                 TRAHAN, TODD                      2050 US BANK PLAZA SOUTH 220                                     MINNEAPOLIS       MN 55402
                                                              SOUTH SIXTH STREET
TRAHAN, ANGELA              DALTON & ASSOCIATES LLC           111 PARK WEST DR                                                 SCOTT              LA   70583‐8902
                                09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                     Part 37 of 40 Pg 400 of 901
Name                            Address1                          Address2                   Address3                   Address4         City              State Zip
TRAHAN, CHRIS M                 DALTON & ASSOCIATES LLC           111 PARK WEST DR                                                       SCOTT              LA 70583‐8902
TRAHAN, CONSTANCE V             3508 MELODY LN                                                                                           SAGINAW            MI 48601‐5631
TRAHAN, ELDRIDGE                PORTER & MALOUF PA                4670 MCWILLIE DR                                                       JACKSON            MS 39206‐5621
TRAHAN, FREDA L                 27 EARLY AVE                                                                                             PETERSBURG         WV 26847‐9403
TRAHAN, JACE                    KOEDERITZ LAW FIRM                8702 JEFFERSON HWY STE A                                               BATON ROUGE        LA 70809‐2409
TRAHAN, JONI                    KOEDERITZ LAW FIRM                8702 JEFFERSON HWY STE A                                               BATON ROUGE        LA 70809‐2409
TRAHAN, JONI                    RYLAND, RHETT                     FIELDSTONE HOUSE 405 ST.                                               BATON ROUGE        LA 70802
                                                                  FERDINAND
TRAHAN, JONI                    935 LILS CT                                                                                              BATON ROUGE       LA   70806‐7633
TRAHAN, LAWRENCE A              1385 SHANKIN DRIVE                                                                                       WOLVERINE LK      MI   48390‐2438
TRAHAN, LOUDRIDE                PORTER & MALOUF PA                4670 MCWILLIE DR                                                       JACKSON           MS   39206‐5621
TRAHAN, MARK D                  DALTON & ASSOCIATES LLC           111 PARK WEST DR                                                       SCOTT             LA   70583‐8902
TRAHAN, MARTHA J                1524 MYRON AVE                                                                                           LINCOLN PARK      MI   48146‐3828
TRAHAN, MICHAEL J               9062 RAY RD                                                                                              GAINES            MI   48436‐9717
TRAHAN, MICHAEL JAMES           9062 RAY RD                                                                                              GAINES            MI   48436‐9717
TRAHAN, MICHAEL T               8345 SHERWOOD DR                                                                                         GRAND BLANC       MI   48439‐8391
TRAHAN, NORBERT L               8467 PINEVIEW LAKE DR                                                                                    LINDEN            MI   48451‐9765
TRAHAN, RONALD J                12352 CAMBRIDGE BLVD                                                                                     SOUTH LYON        MI   48178‐8513
TRAHAN, SARAH G                 DALTON & ASSOCIATES LLC           111 PARK WEST DR                                                       SCOTT             LA   70583‐8902
TRAHAN, THERESA A               8467 PINEVIEW LAKE DR                                                                                    LINDEN            MI   48451‐9765
TRAHAN, TODD
TRAHAN, TODD                    C/O LAWRENCE M. BAILL             YOST & BAILL               2050 US BANK PLAZA SOUTH                    MINNEAPOLIS       MN 55402
                                                                                             220 SOUTH SIXTH STREET

TRAHER, WILLIAM G               37569 HURON PTE DR                                                                                       MOUNT CLEMENS     MI   48045
TRAHERN, JOSEPH                 425 N PATRICK ST                                                                                         ALEXANDRIA        VA   22314‐2240
TRAHEY, GEORGIA B               57 ROSSITER ROAD                                                                                         ROCHESTER         NY   14620‐4125
TRAHEY‐RAMIREZ, LINDA A         15836 HORGER AVE                                                                                         ALLEN PARK        MI   48101‐2742
TRAHIM, KATHRYN A               3 MERCY MOUNT WAY                                                                                        CLARKSBURG        NJ   08510‐1536
TRAIAN LUPU                     4285 SPRINGFIELD ST                                                                                      BURTON            MI   48509‐2508
TRAIAN VANCE                    866 W LOCUST ST                                                                                          NEWARK            OH   43055‐2725
TRAIANOU, ELEFTHERIA            8547 SALEM LN                                                                                            DEARBORN HTS      MI   48127‐1392
TRAICA THOMAS                   423 COVINGTON AVE                 APT 16                                                                 THOMASVILLE       GA   31792
TRAICHAL COMPANY/ WARREN DOOR   332 PLANT ST                                                                                             NILES             OH   44446‐1844
TRAICOFF, SOPHIE                1010 NEW TARLETON WAY                                                                                    GREER             SC   29650‐3228
TRAID TRANSPORTATION INC        18111 TELEGRAPH RD                                                                                       BROWNSTOWN        MI   48174
TRAIL AUTO ELECTRIC             365 N MILITARY TRL                                                                                       WEST PALM BEACH   FL   33415‐2120
TRAIL CHEVROLET                 1320 N BROADWAY                                                                                          GROTON            SD   57445‐2303
TRAIL CREEK REPAIR              295 STH AGATE                                                                                            VICTOR            ID   83455
TRAIL CREEK REPAIR              295 STH AGATE                                                                                            VICTOR            ID   83455
TRAIL, ALFONSO                  4198 FEINER DR                                                                                           CLEVELAND         OH   44122‐6869
TRAIL, CYNTHIA                  103 WESTLAND DR                                                                                          COLUMBIA          TN   38401‐6523
TRAIL, ERIC                     103 WESTLAND DR                                                                                          COLUMBIA          TN   38401‐6523
TRAIL, ESTHER J                 303 RAIN WATER WAY #104                                                                                  GLEN BURNIE       MD   21060‐3236
TRAIL, FRED N                   162 NORRIS PERRY RD                                                                                      MANCHESTER        TN   37355‐7022
TRAIL, GARY P                   23 CHARLES ST #                                                                                          BRISTOL           CT   06010
TRAIL, JACK A                   11807 STILES RD                                                                                          WHITEHOUSE        OH   43571‐9147
TRAIL, JERRY W                  9214 AVONDALE RD                                                                                         BALTIMORE         MD   21234‐3226
TRAIL, JOHN
TRAIL, JOSEPHINE                23 E LEMON ST                                                                                            BEVERLY HILLS     FL 34455‐3253
TRAIL, MICHAEL D                2348 PIONEER DR                                                                                          BELOIT            WI 53511‐2549
TRAIL, PATRICIA A               8622 N BELTON AVE                                                                                        KANSAS CITY       MO 64154‐3905
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                     Part 37 of 40 Pg 401 of 901
Name                              Address1                               Address2                Address3   Address4                 City                  State Zip
TRAIL, SHANE S                    606 COLBY ST                                                                                       ORFORDVILLE            WI 53576‐9589
TRAILBLAZER HEALTH ENTERPRISES    MSP UNIT                               PO BOX 9010                                                 DENISON                TX 75021‐9010
TRAILBLAZER TRANSPORTATION INC    1000 COLFAX ST                                                                                     GARY                   IN 46406‐1904
TRAILER BRIDGE INC                10405 NEW BERLIN RD E                                                                              JACKSONVILLE           FL 32226‐2291
TRAILER BRIDGE, INC               RALPH HEIM                             10405 NEW BERLIN RD E                                       JACKSONVILLE           FL 32226‐2291
TRAILER DEPOT LLC                 1037 MIDDLETOWN AVE                                                                                NORTHFORD              CT 06472‐1338
TRAILER TECH REPAIR               13101 ECKLES RD                                                                                    PLYMOUTH               MI 48170‐4245
TRAILER, JAMES                    16222 MIDDLEBELT RD                                                                                ROMULUS                MI 48174‐3166
TRAILER, MIEKO                    15807 TAFT ST                                                                                      ROMULUS                MI 48174‐3235
TRAILERGRUPPEN I JONKOPING AB     2500 SHINGAI, IWATA‐SHI, SHIZUOKA‐KEN,                                    JAPAN
                                  JAPAN
TRAILERGRUPPEN I JONKOPING AB     INDUSTRIGATAN 16                                                          JONKOPING 553 02
                                                                                                            SWEDEN
TRAILES, PETER                    KRAUS STEVEN G LAW OFFICES OF         122 MOUNT BETHEL RD                                          WARREN                NJ 07059‐5127
TRAILL, RONALD G                  12575 ONEIDA WOODS TRL                                                                             GRAND LEDGE           MI 48837‐8995
TRAILLIS MCWHORTER                6511 MARSOL RD APT 706                                                                             CLEVELAND             OH 44124‐3559
TRAILWOOD TRANSPORT LTD           4925 C W LEACH ROAD                                                       ALLISTON CANADA ON L9R
                                                                                                            2B1 CANADA
TRAILWOOD TRANSPORT LTD           MARK BECKSTEAD                        4925 CW LEACH ROAD                  ALLISTON ON L9R2B1
                                                                                                            CANADA
TRAILWOOD TRANSPORTATION          PO BOX 64019                                                                                       SAINT PAUL            MN   55164‐0019
TRAIN, BARBARA J                  8000 W FLORISSANT AVE                                                                              SAINT LOUIS           MO   63136
TRAIN, DENNIS J                   11320 DOGLEG RD                                                                                    TIPP CITY             OH   45371‐9503
TRAIN, KATHLEEN A                 227 CHALFONTE AVE                                                                                  GROSSE POINTE FARMS   MI   48236‐3427
TRAIN, MICHAEL H                  8000 W FLORISSANT AVE                                                                              SAINT LOUIS           MO   63136
TRAINA, PINO                      85 BROADWAY                                                                                        BAYONNE               NJ   07002‐2428
TRAINER, CLYDE E                  9199 S 12TH ST                                                                                     SCHOOLCRAFT           MI   49087‐8403
TRAINER, JEANNE S                 2788 CEDAR KEY DR                                                                                  LAKE ORION            MI   48360‐1828
TRAINER, JOHN C                   2 ADWALTON CLOSE NEWARK                                                   NOTTINGHAMSHIRE GREAT
                                                                                                            BRITAIN NG242GT
TRAINHAM, JACK W                  333 SCOTT ST                                                                                       MT HOLLY              NC   28120‐1656
TRAINING 2007                     14685 AVION PKWY STE 400                                                                           CHANTILLY             VA   20151‐1121
TRAINING 2008 REGISTRATION        C/O CONVENTION DATA SERVICES          107 WATERHOUSE RD                                            BOURNE                MA   02532‐3890
TRAINING CENTER                   PO BOX 966                                                                                         WRIGHTSTOWN           NJ   08562‐0966
TRAINING CENTERS INC              C/O JPMORGAN ASSET MANAGEMENT         245 PARK AVENUE                                              NEW YORK              NY   10167
TRAINING CENTERS INC              PO BOX 1389                           CHURCH STREET STATION                                        NEW YORK              NY   10008
TRAINING CENTERS, INC.            23 WALL ST                                                                                         NEW YORK              NY   10260‐0001
TRAINING JONES INCORPORATED       22700 MADISON ST                                                                                   DEARBORN              MI   48124‐3548
TRAINING SERVICES INTERNATIONAL   33150 LAKELAND BLVD                   CORPORATE OFFICE                                             WILLOWICK             OH   44095‐5204
TRAINING SUPPO/FENTN              121 N RIVER ST                        RIVERPARK CENTER                                             FENTON                MI   48430‐2697
TRAINING TECH SOLUTIONS REG       C/O CONVENTION DATA SERVICES          107 WATERHOUSE RD                                            BOURNE                MA   02532‐3890
TRAINO, ANTHONY R                 1215 LAWRENCE RD                                                                                   HILTON                NY   14468‐9190
TRAINOR ASSOCIATES INC            135 OXFORD RD                                                                                      NEW HARTFORD          NY   13413‐2832
TRAINOR DONALD (639112)           GOLDENBERG, MILLER, HELLER &          PO BOX 959                                                   EDWARDSVILLE          IL   62025‐0959
                                  ANTOGNOLI
TRAINOR JR, EARL                  1316 ROOSEVELT AVE                                                                                 LANSING               MI   48915‐2236
TRAINOR, DANIEL S                 744 N CLARK ST APT 605                                                                             CHICAGO               IL   60654
TRAINOR, DAVID M                  BOX 34557 ROUTE D                                                                                  SANTA FE              MO   65282
TRAINOR, DONALD                   GOLDENBERG, MILLER, HELLER &          PO BOX 959                                                   EDWARDSVILLE          IL   62025‐0959
                                  ANTOGNOLI
TRAINOR, DONALD B                 456 W SQUARE LAKE RD                                                                               TROY                  MI 48098‐2914
TRAINOR, FLETCHER B               314 HURON ST                                                                                       LANSING               MI 48915‐1612
                               09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                 Part 37 of 40 Pg 402 of 901
Name                           Address1                            Address2                        Address3                Address4                City              State Zip
TRAINOR, JAMES F               27‐29 BAY AVENUE                                                                                                    ATLANTIC HLDS      NJ 07716
TRAINOR, JAMES G               24 PARKLAND CT                                                                                                      CLIFTON PARK       NY 12065‐5923
TRAINOR, JAMES H               20 BAYBERRY CIR                                                                                                     ROCKPORT           TX 78382‐7808
TRAINOR, JANET E               34557 ROUTE D                                                                                                       SANTA FE           MO 65282‐2034
TRAINOR, JOHN A                1991 N MISSION RD                                                                                                   MT PLEASANT        MI 48858‐5600
TRAINOR, LELAND E              2350 SHELDON RD                                                                                                     SANDUSKY           MI 48471‐9752
TRAINOR, MICHAEL               66 ATWOOD ST                                                                                                        WEST WARWICK        RI 02893‐4306
TRAINOR, PATRICIA E            10 DICKSON RD                                                                                                       MARLBORO           NJ 07746‐1579
TRAINOR, PAUL P                12148 TOWNLINE RD                                                                                                   GRAND BLANC        MI 48439‐1602
TRAINOR, RONALD L              3351 SHELDON RD                                                                                                     SNOVER             MI 48472‐9736
TRAINOR, TERRY A               136 CHIPPEWA RD                                                                                                     PONTIAC            MI 48341‐2007
TRAINOR, TREVOR                10128 SANDALWOOD CRESCENT                                                                   GRAND BEND ONTARIO
                                                                                                                           CANADA N0M1T0
TRAINOR, TREVOR MICHAEL        10128 SANDALWOOD CR.                                                                        GRAND BEND ON N0M 1T0
                                                                                                                           CANADA
TRAINOR, WILLIAM L             3658 LAKESHORE DR                   3658 LAKESHORE DRIVE                                                            NEWPORT           MI 48166‐9696
TRAISTER, GLENN L              4747 BEUREN ST                                                                                                      SHELBY TOWNSHIP   MI 48316‐4031
TRAITEUR CHEZ LUBIE
TRAITEUR, ANDREW R             C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                          EDWARDSVILLE       IL   62025
                               ROWLAND PC
TRAITEUR, JOSEPH E             C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                                          EDWARDSVILLE       IL   62025
                               ROWLAND PC
TRAJAN LAZAROFF                3463 JESSUP RD                                                                                                      CINCINNATI        OH    45239‐6251
TRAJAN MIOSKU                  1012 CONGRESS DR                                                                                                    TROY              MI    48085‐1383
TRAJANKA DIMOVSKI              18811 SOUTH HAMPTON                                                                                                 LIVONIA           MI    48152
TRAJANO, DAVID D               4495 CALKINS RD APT 118                                                                                             FLINT             MI    48532‐3574
TRAJCEVSKI ZLATKO & RONALD     S WEISS                             7035 ORCHARD LAKE RD STE 600                                                    WEST BLOOMFIELD   MI    48322‐3677
TRAJCEVSKI, DUSAN              42204 HANFORD RD                                                                                                    CANTON            MI    48187‐3522
TRAJKOVSKI KRUNE               5280 CRYSTAL CREEK LN                                                                                               WASHINGTON        MI    48094‐2671
TRAJKOVSKI, BORIS              127 LOYALIST AVENUE                                                                                                 ROCHESTER         NY    14624‐4966
TRAJKOVSKI, KRUNE              5280 CRYSTAL CREEK LN                                                                                               WASHINGTON        MI    48094‐2671
TRAJKOVSKI, VELJANKA           7775 MACEDONIA LN                                                                                                   NORTHVILLE        MI    48168‐8856
TRAJKOVSKI, VERA               5046 HOMESTEAD DR                                                                                                   STERLING HTS      MI    48314‐1949
TRAKAR PRODUCTS INC            225 BOIDA AVE                                                                               AYR CANADA ON N0B 1E0
                                                                                                                           CANADA
TRAKAS, ROBERT A               8412 TOWNLINE RD                                                                                                    GASPORT           NY    14067‐9440
TRAKEL JR, DONALD C            1950 GEORGE AVE                                                                                                     PERU              IN    46970‐8716
TRAKON SHOW & DISPLAY INC      763 LEINSTER RD                                                                                                     ROCHESTER         MI    48309‐2424
TRAKON SHOW & DISPLAY INC      763 LEINSTER ROAD                                                                                                   ROCHESTER         MI    48309‐2424
TRAKON SHOW AND DISPLAY INC.   763 LEINSTER RD                                                                                                     ROCHESTER HLS     MI    48309‐2424
TRAKON SHOW/STERLING           42250 YEAREGO DR                                                                                                    STERLING HTS      MI    48314‐3260
TRAKS, PETER                   3619 LAKESHORE DR                                                                                                   WATERFORD         MI    48329‐2283
TRAKUL, ELIZABETH C            27610 MARILYN DR                                                                                                    WARREN            MI    48093‐4606
TRAKUL, ELIZABETH C            27610 MARILYN ST.                                                                                                   WARREN            MI    48093
TRALIES PETER                  AMERICAN INTERNATIONAL INSURANCE    KRAUS STEVEN G LAW OFFICES OF   122 MOUNT BETHEL ROAD                           WARREN            NJ    07059
                               COMPANY OF DELAWARE
TRALIES PETER                  TRALIES, PETER                      KRAUS STEVEN G LAW OFFICES OF   122 MOUNT BETHEL ROAD                           WARREN             NJ   07059

TRALIES, PETER                 7 HALTER CT                                                                                                         MOUNT LAUREL      NJ    08054‐4826
TRALMER, CORWIN S              N5372 HAMM CIR                                                                                                      NEW LISBON        WI    53950‐9442
TRALMER, GREGORY C             2119 LOMBARD AVE                                                                                                    JANESVILLE        WI    53545‐2187
TRAM                           2274 MOMENTUM PL                                                                                                    CHICAGO           IL    60689‐0001
                                09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                   Part 37 of 40 Pg 403 of 901
Name                           Address1                         Address2                      Address3            Address4              City                   State Zip
TRAM INC                       2274 MOMENTUM PL                                                                                         CHICAGO                  IL 60689‐0001
TRAM INC                       47200 PORT ST                                                                                            PLYMOUTH                MI 48170‐6082
TRAM, INC.                     JASON NOWACKI                    TOKAI RIKA CO LTD             100 HILL BRADY RD   ASCHAFFENBURG 08750
                                                                                                                  GERMANY
TRAM, INC.                     JASON NOWACKI                    100 HILL BRADY RD             TOKAI RIKA CO LTD                         BATTLE CREEK           MI   49037‐7301
TRAM‐RITE                      11417 TIDEWATER TRL                                                                                      FREDERICKSBURG         VA   22408‐2036
TRAMA, JACQUE A                69 TORRINGTON DR                                                                                         ROCHESTER              NY   14618‐2009
TRAMAINE E MORRIS              223 WESTDALE CT                                                                                          DAYTON                 OH   45402
TRAMAR D CLAY                  77 HARPER AVE APT 2                                                                                      DETROIT                MI   48202‐3505
TRAMBAUGH TERA                 TRAMBAUGH, TERA                  426 FAIRVIEW STREET                                                     LOOGOOTEE              IN   47553‐8525
TRAMBAUGH, TERA                426 FAIRVIEW ST                                                                                          LOOGOOTEE              IN   47553‐8525
TRAMBLE MARIA                  NO ADVERSE PARTY
TRAMBLE, HORACE L              12793 LIMBERLOST DR                                                                                      CARMEL                 IN   46033‐9790
TRAMBLE, LOUISE E              4186 EASTWOOD LN                                                                                         WARRENSVILLE HEIGHTS   OH   44122‐7049
TRAMBLE, MARIA                 24715 GREENHILL RD                                                                                       WARREN                 MI   48091‐3301
TRAMBLE, SHARON                5314 CEDARSHORE BLVD 102         PO BOX 13279                                                            FLINT                  MI   48501‐3279
TRAMBLE, SHARON                PO BOX 13279                     5314 CEDARSHORE BLVD 102                                                FLINT                  MI   48501‐3279
TRAME, HELEN                   7467 E STATE ROUTE 571           C/O ROBERT J TRAME                                                      TIPP CITY              OH   45371‐8553
TRAMEC CORP                    NORMA DAVIS                      29 DAVIS ST                                                             MARYSVILLE             MI   48040
TRAMEL JR, JAMES E             1546 ZARIEDA ST                                                                                          ORTONVILLE             MI   48462‐8817
TRAMEL, CHARLES D              30238 WOODHOUSE DR                                                                                       WARREN                 MI   48092‐4873
TRAMEL, RHONDA E               2709 CROSS CREEK CT                                                                                      JOLIET                 IL   60435
TRAMEL/CHAGRIN FALLS           8682 CHASE DR                                                                                            CHAGRIN FALLS          OH   44023‐1802
TRAMELL, ROBERT J              111 CLEVELAND AVE                                                                                        NEWPORT                DE   19804
TRAMER, LEOPOLD                456 LITTLE VALLEY CT                                                                                     FORT WORTH             TX   76108‐4614
TRAMILL, DORLEEN J             4371 N OLNEY ST                                                                                          INDIANAPOLIS           IN   46205‐2565
TRAMM, PETER C                 251 S SEA PINES DR APT 1922                                                                              HILTON HEAD ISLAND     SC   29928‐4073
TRAMMEALL, RANDY               9600 LELAND WAY                                                                                          STOCKTON               CA   95212‐2416
TRAMMEALL, SANDRA              9600 LELAND WAY                                                                                          STOCKTON               CA   95212‐2416
TRAMMEL HARRY L (439570)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK                VA   23510
                                                                STREET, SUITE 600
TRAMMEL JR, DONALD L           2475 LITCHFIELD DR                                                                                       WATERFORD              MI   48329‐3956
TRAMMEL JR, HARROLL C          5667 FOSTORIA RD                                                                                         COLUMBIAVILLE          MI   48421‐9395
TRAMMEL, DEBORAH K             1976 GRAY RD                                                                                             LAPEER                 MI   48446‐9090
TRAMMEL, DONALD L              3985 WILLIAMS RD R2                                                                                      COLUMBIAVILLE          MI   48421
TRAMMEL, ESKEW                 1164 LIBERTY BELLE CT                                                                                    ROCHESTER HILLS        MI   48307‐3023
TRAMMEL, GABE L                127 S RIVER DR                                                                                           CLARKSTON              MI   48346‐4151
TRAMMEL, GARY E                5544 W EMERY RD                                                                                          PRUDENVILLE            MI   48651‐9792
TRAMMEL, HARROLL C             9732 ANTELOPE RD                                                                                         SENECA                 MO   64865‐8397
TRAMMEL, HARRY L               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK                VA   23510‐2212
                                                                STREET, SUITE 600
TRAMMEL, HEATHER LYNN          3254 COOLIDGE HWY                                                                                        ROCHESTER HILLS        MI   48309‐3532
TRAMMEL, JERRY C               1976 GRAY RD                                                                                             LAPEER                 MI   48446‐9090
TRAMMEL, KEITH E               1817 DARST AVENUE                                                                                        DAYTON                 OH   45403‐3105
TRAMMEL, MARY L                RR 1 BOX 225B                                                                                            GOLCONDA               IL   62938‐9743
TRAMMEL, MELISSA G             4919 BECKER DR                                                                                           DAYTON                 OH   45427‐3021
TRAMMEL, STEVEN B              3254 COOLIDGE HWY                                                                                        ROCHESTER HLS          MI   48309‐3532
TRAMMEL, THOMAS L              2912 S LIVERNOIS RD                                                                                      ROCHESTER HLS          MI   48307‐4423
TRAMMEL, WANDA C               670 E 625 S APT 55                                                                                       OGDEN                  UT   84404‐2404
TRAMMELL CROW CORPORATE SVCS   C\O JOEL STEMPIEN                3800 HAMLIN RD STE 100        ATTN NAME CHG EDS                         AUBURN HILLS           MI   48326
                                                                                              10/29/01 BT
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                       Part 37 of 40 Pg 404 of 901
Name                                Address1                            Address2                         Address3   Address4         City               State Zip
TRAMMELL DOROTHY IMAGENE (348356)   DENNY DAVID                         360 PLACE OFFICE PARK , 1201 N                               ARLINGTON           TX 76006
                                                                        WATSON ‐ STE 145
TRAMMELL JR, JOSEPH E               PO BOX 773                                                                                       PINE KNOT          KY   42635‐0773
TRAMMELL JR, REALIUS                18816 HULL ST                                                                                    DETROIT            MI   48203‐2112
TRAMMELL VICKI                      45 OZARK                                                                                         DAMASCUS           AR   72039‐9254
TRAMMELL, ALFRED J                  4648 HEGEL RD                                                                                    GOODRICH           MI   48438‐9605
TRAMMELL, ALICE C                   507 W LEE ST                                                                                     BUTLER             MO   64730‐1029
TRAMMELL, ALICE C                   507 W. LEE ST                                                                                    BUTLER             MO   64730‐1029
TRAMMELL, ANTHONY D                 3473 OAK LEAF CT                                                                                 REX                GA   30273‐2196
TRAMMELL, ATHENA R                  PO BOX 1725                                                                                      STOCKBRIDGE        GA   30281‐8725
TRAMMELL, BENJAMIN B                1538 ELM ST                                                                                      YOUNGSTOWN         OH   44505‐2605
TRAMMELL, BENJAMIN C                183 CLATE FAIN RD                                                                                MURPHY             NC   28906‐4549
TRAMMELL, BERTHA                    16255 INVERNESS ST                                                                               DETROIT            MI   48221‐3106
TRAMMELL, BETTY JEAN                1402 HORN RD                                                                                     MILAN              OH   44846‐9724
TRAMMELL, CARL E                    4814 OZARK AVENUE                                                                                DAYTON             OH   45432‐3208
TRAMMELL, CHARLES E                 9116 MEYERS RD                                                                                   DETROIT            MI   48228‐2669
TRAMMELL, CHARLES E                 4661 SE BARNSVILLE RD                                                                            LAWSON             MO   64062‐7282
TRAMMELL, CHARLES E                 SE 4661BARNSVILLE RD                                                                             LAWSON             MO   64062
TRAMMELL, CHARLES T                 690 E ENCINAS AVE                                                                                GILBERT            AZ   85234‐3461
TRAMMELL, CLARA J                   7366 MILAN OAKVILLE                                                                              MILAN              MI   48160‐9105
TRAMMELL, DANIEL G                  10327 TALLADAY RD                                                                                WILLIS             MI   48191‐9774
TRAMMELL, DANIEL GLENN              10327 TALLADAY RD                                                                                WILLIS             MI   48191‐9774
TRAMMELL, DANIEL W                  PO BOX 36351                                                                                     INDIANAPOLIS       IN   46236‐0351
TRAMMELL, DANIEL WENDELL            PO BOX 36351                                                                                     INDIANAPOLIS       IN   46236‐0351
TRAMMELL, DEBORAH S                 5542 VALLEY RD                                                                                   RAGLAND            AL   35131‐4013
TRAMMELL, DERRICK K                 23181 CLOVERLAWN ST                                                                              OAK PARK           MI   48237‐2402
TRAMMELL, DOROTHIE L                16592 LA SALLE AVE                                                                               DETROIT            MI   48221‐3115
TRAMMELL, DOROTHIE L                16592 LASALLE                                                                                    DETROIT            MI   48221‐3115
TRAMMELL, DOROTHY IMAGENE           DENNY DAVID                         360 PLACE OFFICE PARK, 1201 N                                ARLINGTON          TX   76006
                                                                        WATSON ‐ STE 145
TRAMMELL, DUSTIN C                  713 BRINGHURST DR                                                                                SHREVEPORT         LA   71106‐4011
TRAMMELL, GLENNIS E                 7837 MIDA DR                                                                                     BELLEVILLE         MI   48111‐1318
TRAMMELL, JESSIE                    3812 BROCKTON ROAD                                                                               JEFFERSON          GA   30549‐3717
TRAMMELL, JOHNNY H                  7009 E MAHALASVILLE RD                                                                           MORGANTOWN         IN   46160‐9343
TRAMMELL, JOSEPH R                  4733 OLIVE RD                                                                                    TROTWOOD           OH   45426‐2205
TRAMMELL, JUANITA F                 1025 MCCLURE RD                                                                                  CLARKSVILLE        TN   37040‐8318
TRAMMELL, LATONIA L                 1538 ELM ST                                                                                      YOUNGSTOWN         OH   44505‐2605
TRAMMELL, LEROY                     8917 FLINT HILL ST                                                                               SHREVEPORT         LA   71129‐9760
TRAMMELL, LILLIE L                  34424 SANDPEBBLE DR                                                                              STERLING HEIGHTS   MI   48310‐5558
TRAMMELL, LILLIE LUE                34424 SANDPEBBLE DR                                                                              STERLING HEIGHTS   MI   48310‐5558
TRAMMELL, LUTHER H                  C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                       EDWARDSVILLE       IL   62025
                                    ROWLAND PC
TRAMMELL, MARY A                    3 WESTBRIDGE CT                                                                                  SAGINAW            MI   48601
TRAMMELL, MARY LOU                  1160 S MCCORD RD APT L5                                                                          HOLLAND            OH   43528‐9110
TRAMMELL, MELVEN                    2203 CUMBERLAND ST                                                                               SAGINAW            MI   48601‐4155
TRAMMELL, MICHAEL T                 4240 MIDWAY AVE                                                                                  DAYTON             OH   45417‐1314
TRAMMELL, RATHA O                   2413 FAITH RD                                                                                    HARTSVILLE         SC   29550‐6272
TRAMMELL, RATHA OPHELIA             2413 FAITH RD                                                                                    HARTSVILLE         SC   29550‐6272
TRAMMELL, RAYMOND G                 20051 REVERE ST                                                                                  DETROIT            MI   48234‐1774
TRAMMELL, RICHARD                   4436 BLUEHAVEN DR                                                                                DAYTON             OH   45406‐3333
TRAMMELL, RICK J                    3919 NE HILL HAVEN RD                                                                            KANSAS CITY        MO   64117‐2847
TRAMMELL, RICKY L                   520 S SPRUCE ST                                                                                  BAINBRIDGE         GA   39819‐4166
                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                           Part 37 of 40 Pg 405 of 901
Name                     Address1                       Address2                     Address3   Address4         City               State Zip
TRAMMELL, ROGER          128 ROCK SPRINGS RD                                                                     BLACKSBURG          SC 29702‐8703
TRAMMELL, RONNIE R       945 BELLEFONTAINE RD                                                                    NEW CARLISLE        OH 45344‐2150
TRAMMELL, RONNIE R       945 BELLE FONTAINE RD.                                                                  NEW CARLISLE        OH 45344‐2150
TRAMMELL, RYAN L         20541 BROADACRES ST                                                                     CLINTON TOWNSHIP    MI 48035‐4015
TRAMMELL, SANDRA         652 ZION CT                                                                             HOWELL              MI 48843‐9206
TRAMMELL, SANDRA         652 ZION CT.                                                                            HOWELL              MI 48843
TRAMMELL, STEVEN B       3028 STILLRIVER DR                                                                      HOWELL              MI 48843‐7384
TRAMMELL, VERA L         8917 FLINT HILL STREET                                                                  SHREVEPORT          LA 71129‐9760
TRAMMELL, WARREN V       522 BAYLOR DR                                                                           GREENVILLE          TX 75402‐8005
TRAMMELL, WENDELL S      2100 FOREST VIEW ROAD                                                                   AIKEN               SC 29803‐8177
TRAMMELL, WILLIAM K      14388 ABINGTON AVE                                                                      DETROIT             MI 48227‐1306
TRAMMELL, WILLIS R       3 WESTBRIDGE CT                                                                         SAGINAW             MI 48601‐7228
TRAMMELL, WILMA A        620 S GLASSELL ST APT 309                                                               ORANGE              CA 92866
TRAMONTANA, AMELIA       20 W CHURCH RD                                                                          LAWRENCEVILLE       NJ 08648‐2708
TRAMONTANA, EMANUEL J    24 JERICHO DR                                                                           TRENTON             NJ 08690‐2002
TRAMONTANA, GERTRUDE A   66 HANCOCK ST                                                                           TRENTON             NJ 08611‐2436
TRAMONTANA, LOUISE R     10 HANSOM DR                                                                            COLUMBUS            NJ 08022‐2241
TRAMONTANA, MICHAEL A    20 W CHURCH RD                                                                          LAWRENCEVILLE       NJ 08648
TRAMONTANA, THOMAS A     6 GARTON CT                                                                             TRENTON             NJ 08691‐3352
TRAMONTANA, VICKI L      8919 BEATRICE ST                                                                        LIVONIA             MI 48150‐4047
TRAMONTANA, VICKI L      8919 BEATRICE AVENUE                                                                    LIVONIA             MI 48150
TRAMPERT, GLADYS         315 TRAVERSE BLVD                                                                       KENMORE             NY 14223‐1003
TRAMPIS NEW              405 CUNNINGHAM RD                                                                       SALEM               OH 44460‐9477
TRAMPUS, CHARLES L       5035 FAIRLAWN RD                                                                        LYNDHURST           OH 44124‐1124
TRAMPUS, ETHEL E         750 CHERITON DR                                                                         HIGHLAND HGTS       OH 44143‐3013
TRAMPUS, STANLEY J       750 CHERITON DR                                                                         HIGHLAND HTS        OH 44143‐3013
TRAMUTA, RITA A          8609 OLENBROOK DR                                                                       LEWIS CENTER        OH 43035‐8702
TRAMUTA, S S             PO BOX 32                                                                               ROTTERDAM JCT       NY 12150‐0032
TRAN                     4704 HOEN AVE                                                                           SANTA ROSA          CA 95405‐7824
TRAN GAM                 1404 SAYLES AVE                                                                         ARLINGTON           TX 76018‐2005
TRAN HANLEY              1504 SW 137TH ST                                                                        OKLAHOMA CITY       OK 73170‐5123
TRAN KAREN               STE C                          11839 SORRENTO VALLEY ROAD                               SAN DIEGO           CA 92121‐1027
TRAN SOURCE INC          PO BOX 669                                                                              GLEN BURNIE         MD 21060‐0669
TRAN TECH CARRIERS       BOB PORTER                     888 WILL CARLETON RD                                     CARLETON            MI 48117‐9704
TRAN TECH INC            888 WILL CARLETON RD                                                                    CARLETON            MI 48117‐9704
TRAN TECH INC            KENYON CALENDER                888 WILL CARLETON RD                                     CARLETON            MI 48117‐9704
TRAN, AM T               2822 ARROWWOOD CT                                                                       STERLING HTS        MI 48314‐1828
TRAN, AM TRONG           2822 ARROWWOOD CT                                                                       STERLING HTS        MI 48314‐1828
TRAN, AN T               1510 WOODCREEK BLVD                                                                     ANN ARBOR           MI 48104‐4269
TRAN, AN TINH            1510 WOODCREEK BLVD                                                                     ANN ARBOR           MI 48104‐4269
TRAN, ANH N              2205 SW 76TH ST                                                                         OKLAHOMA CITY       OK 73159‐5109
TRAN, ANH T              11122 HOLWORTH DRIVE                                                                    HOUSTON             TX 77072‐1926
TRAN, ANH T              PO BOX 25763                                                                            SANTA ANA           CA 92799‐5763
TRAN, ANTHONY            5076 CALWA CT                                                                           SAN JOSE            CA 95111‐3909
TRAN, BACH               3017 DOUGLAS BLVD STE 200                                                               ROSEVILLE           CA 95661‐3837
TRAN, BAN                PO BOX 1005                                                                             WARREN              MI 48090‐1005
TRAN, CAN D              7001 OVERHILL RD                                                                        FORT WORTH          TX 76116‐8722
TRAN, CHAU M             3063 NADAR                                                                              GRAND PRAIRIE       TX 75054‐6791
TRAN, CHAU N             3914 102ND PL N                                                                         CLEARWATER          FL 33762‐5404
TRAN, DAVID              4332 BLACKBERRY LN                                                                      LANSING             MI 48917‐1633
TRAN, DAVID A            2232 NW 48TH ST                                                                         OKLAHOMA CITY       OK 73112‐8850
TRAN, DAVID ALEXANDER    2232 NW 48TH ST                                                                         OKLAHOMA CITY       OK 73112‐8850
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 406 of 901
Name                  Address1                       Address2            Address3         Address4         City               State Zip
TRAN, DIEP DAO        708 KINGSTON CIR                                                                     BROWNSBURG          IN 46112‐8337
TRAN, DUC M           6320 TIMBERLAND DR                                                                   DIMONDALE           MI 48821‐9755
TRAN, DUC MINH        6320 TIMBERLAND DR                                                                   DIMONDALE           MI 48821‐9755
TRAN, DUNG M          3027 RICHMOND DR                                                                     ROCHESTER HILLS     MI 48309‐4086
TRAN, EDWARD T        601 PORDRAS ST # 12                                                                  NEW ORLEANS         LA 70130‐6029
TRAN, GAM V           1404 SAYLES AVE                                                                      ARLINGTON           TX 76018‐2005
TRAN, HAI M           5823 CORTINA TRL                                                                     LANSING             MI 48917‐3097
TRAN, HANG L          9526 PAINTBRUSH LEDGE LN                                                             HOUSTON             TX 77089‐2704
TRAN, HIEN V          1480 AUDUBON DR                                                                      BROWNSBURG          IN 46112‐8321
TRAN, HONG X          3886 SUGARBUSH DR                                                                    HOWELL              MI 48843‐8648
TRAN, HOP             48741 STONERIDGE DR                                                                  NORTHVILLE          MI 48168‐8597
TRAN, HUNG L          4955 VIA LOS SANTOS                                                                  SANTA BARBARA       CA 93111‐1331
TRAN, HUONG T         30544 BERGHWAY TRL                                                                   WARREN              MI 48092‐6333
TRAN, HUONG T         5661 TIVERTON CIR                                                                    WESTMINSTER         CA 92683‐4134
TRAN, HUONG T         PO BOX 6065                                                                          SANTA BARBARA       CA 93160‐6065
TRAN, HUONG T         6797 ORCHARD AVE                                                                     WARREN              MI 48091‐3031
TRAN, JAMES V         3030 BELGIAN DR                                                                      LANSING             MI 48906‐9085
TRAN, JAMES VAN       3030 BELGIAN DR                                                                      LANSING             MI 48906‐9085
TRAN, JAMES W         PO BOX 204                                                                           PEWAMO              MI 48873‐0204
TRAN, JOSHUA J        8236 TUCKER RD                                                                       CLARKSVILLE         MI 48815‐9699
TRAN, JOSHUA JAMES    8236 TUCKER RD                                                                       CLARKSVILLE         MI 48815‐9699
TRAN, KHAI C          16685 SARNO DR                                                                       MACOMB              MI 48044‐4819
TRAN, LAN N           6560 N ALBERTA CT                                                                    GLENDALE            WI 53217‐4021
TRAN, LAN T           5400 HURON ST                                                                        DEARBORN HEIGHTS    MI 48125
TRAN, LAN THI         5400 HURON ST                                                                        DEARBORN HEIGHTS    MI 48125
TRAN, LE‐THANH        825 ALSTON RD                                                                        SANTA BARBARA       CA 93108‐2309
TRAN, LONG V          PO BOX 182800                                                                        ARLINGTON           TX 76096‐2800
TRAN, MAI N           183 MOUNT RIDGE CIR                                                                  ROCHESTER           NY 14616‐4846
TRAN, MARY C          835 BUCKWOOD DR                                                                      CHOCTAW             OK 73020‐7550
TRAN, MICHAEL         PO BOX 4275                                                                          OLATHE              KS 66063‐4275
TRAN, MYHANH T        1522 TURNING LEAF LN                                                                 GARLAND             TX 75040‐8925
TRAN, NATALIE T       6667 W PORT AU PRINCE LN                                                             GLENDALE            AZ 85306‐3165
TRAN, NGOC            17519 DRIFTWOOD PRAIRIE LANE                                                         HOUSTON             TX 77095‐5122
TRAN, NHAT V          1822 E SHERWOOD TER                                                                  MUSTANG             OK 73064‐6016
TRAN, NHI T           37829 CARPATHIA BLVD                                                                 STERLING HEIGHTS    MI 48310‐3860
TRAN, NHI THANH       37829 CARPATHIA BLVD                                                                 STERLING HEIGHTS    MI 48310‐3860
TRAN, PAUL H          20303 FOREST DRIVE                                                                   SPRING              TX 77388‐4535
TRAN, PETER T         1434 PARK ENTRANCE DR                                                                SAN JOSE            CA 95131‐3016
TRAN, PETER V         2418 N WADSWORTH DR                                                                  LANSING             MI 48911‐2448
TRAN, PHUOC D         12405 LORIEN WAY                                                                     OKLAHOMA CITY       OK 73170‐4726
TRAN, PHUOC DANG      12405 LORIEN WAY                                                                     OKLAHOMA CITY       OK 73170‐4726
TRAN, PHUOC H         2119 HEARTH STONE DR                                                                 GRAND LEDGE         MI 48837‐7901
TRAN, PHUOC HUU       2119 HEARTH STONE DR                                                                 GRAND LEDGE         MI 48837‐7901
TRAN, QUANG N         7642 MILANO DR                                                                       ORLANDO             FL 32835‐8161
TRAN, QUYEN N         3637 SW 133RD LOOP                                                                   OCALA               FL 34473
TRAN, SANDY T         3030 BELGIAN DR                                                                      LANSING             MI 48906‐9085
TRAN, SAU V           8881 NIXON RD                                                                        GRAND LEDGE         MI 48837‐9406
TRAN, SON X           8299 KARAM BLVD UNIT 3                                                               WARREN              MI 48093‐2129
TRAN, STEVE HAI‐SON   8881 NIXON RD                                                                        GRAND LEDGE         MI 48837‐9406
TRAN, TAI A           8458 SMITHFIELD LN                                                                   INDIANAPOLIS        IN 46237‐9159
TRAN, TAN             PO BOX 2134                                                                          BAY CITY            MI 48707‐2134
TRAN, TAN D           10322 ORREY PLACE                                                                    GARDEN GROVE        CA 92843‐5022
                            09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                Part 37 of 40 Pg 407 of 901
Name                        Address1                         Address2                         Address3   Address4            City               State Zip
TRAN, TAN DUY               10322 ORREY PLACE                                                                                GARDEN GROVE        CA 92843‐5022
TRAN, THANH                 2031 PALMER DR                                                                                   WIXOM               MI 48393‐1247
TRAN, THANH H               31101 BANCROFT DR                                                                                NOVI                MI 48377‐1392
TRAN, THANH N               4620 FRIARS LN                                                                                   GRAND PRAIRIE       TX 75052‐3609
TRAN, THANH NGOC            4620 FRIARS LN                                                                                   GRAND PRAIRIE       TX 75052‐3609
TRAN, THANH T               2229 SYCAMORE HILLS DR                                                                           DAYTON              OH 45459‐1288
TRAN, THANH TAN             2229 SYCAMORE HILLS DR                                                                           DAYTON              OH 45459‐1288
TRAN, THANH V               3913 TEAKWOOD                                                                                    SANTA ANA           CA 92707‐4944
TRAN, THO X                 8450 CYPRESS TRAIL                                                                               WAYNESVILLE         OH 45068‐5068
TRAN, THOA T                8578 S MAPLEBROOK CIR                                                                            BROOKLYN PARK       MN 55445‐1937
TRAN, THOM D                3520 FAIRHILLS DR                                                                                OKEMOS              MI 48864‐5961
TRAN, THOM DIEM             3520 FAIRHILLS DR                                                                                OKEMOS              MI 48864‐5961
TRAN, THOMAS
TRAN, THOMAS I              5160 BURLINGAME AVE SW                                                                           WYOMING            MI    49509‐4906
TRAN, THU T                 1882 HILO CT N                                                                                   OAKDALE            MN    55128‐5315
TRAN, THUAN T               PO BOX 9022                                                                                      WARREN             MI    48090‐9022
TRAN, THUAN THANH           PO BOX 9022                                                                                      WARREN             MI    48090‐9022
TRAN, THUC N                9625 GREENTREE DR                                                                                CARMEL             IN    46032‐9627
TRAN, TINA M                2668 MORENO DR                                                                                   LANSING            MI    48911‐6460
TRAN, TOAN Q                2941 SOUTH 296TH PLACE                                                                           FEDERAL WAY        WA    98003‐8036
TRAN, TRUNG D               14307 MANORBIER LN                                                                               SUGAR LAND         TX    77498‐9764
TRAN, TUAN M                43121 LONDONDERRY CT                                                                             CANTON             MI    48188‐1921
TRAN, TUAN N                4307 MANTELL CT                                                                                  DAYTON             OH    45440‐3869
TRAN, VAN V                 2828 RISLEY DRIVE                                                                                LANSING            MI    48917‐2364
TRAN, VAN VAN               2828 RISLEY DR                                                                                   LANSING            MI    48917‐2364
TRAN, XUAN                  APT 1C                           3109 TRAPPERS COVE TRAIL                                        LANSING            MI    48910‐8267
TRAN, XUAN Q                PO BOX 9022                                                                                      WARREN             MI    48090
TRAN,THANH TAN              2229 SYCAMORE HILLS DR                                                                           DAYTON             OH    45459‐1288
TRAN,TUAN N                 4307 MANTELL CT                                                                                  DAYTON             OH    45440‐3869
TRAN‐KORNS, THUY            4893 SPRING MEADOW DR                                                                            CLARKSTON          MI    48348‐5155
TRANA S.A.                  GUTIERREZ 453                                                                MENDOZA ARGENTINA
TRANA, SHIRLEY A            6404 E CARPENTER                                                                                 FLINT              MI    48506‐1261
TRANBARGER, GLEN E          3674 S 200 E                                                                                     ANDERSON           IN    46017‐9764
TRANBARGER, JOHN E          463 CT RD 3450                                                                                   MOUNTAIN VIEW      MO    65548
TRANBARGER, LILBURN R       9400 COUNTY ROAD 3040                                                                            MOUNTAIN VIEW      MO    65548‐7293
TRANBARGER, SHIRLEY A       6256 W FALL CREEK DR                                                                             PENDLETON          IN    46064‐9768
TRANBARGER, THOMAS P        6256 W FALL CREEK DR                                                                             PENDLETON          IN    46064‐9768
TRANBARGER, WILLIAM E       526 ELLENHURST DR                                                                                ANDERSON           IN    46012‐3747
TRANBOI, LILY               4890 GLEN LEVEL DR                                                                               SUGAR HILL         GA    30518‐6297
TRANCE, PILARICA M          98 WINDING WAY                                                                                   SAN FRANCISCO      CA    94112‐4527
TRANCE, ROBIN A             205 AUTUMN CT APT A                                                                              BLUFFTON           IN    46714‐1397
TRANCENTRAL FINANCIAL INC   ASSIGNEE GILBERT ENTERPRISE      5770 AVENUE G                                                   OTTER LAKE         MI    48464‐9541
TRANCENTRAL INC             8000 KENNEDY AVE                 PO BOX 1948                                                     HIGHLAND           IN    46322‐1125
TRANCENTRAL INC             ASSIGNEE CRWX INC                23023 ORCHARD LAKE RD STE G                                     FARMINGTON HILLS   MI    48336‐3267
TRANCHELL, RUSSELL A        308 OAKWOOD DR                                                                                   FLUSHING           MI    48433‐1881
TRANCHIDA, NANCY L          1941 MUSKEGON RD                                                                                 SAINT HELEN        MI    48656‐9728
TRANCHIDA, ROBERT           4705 ROWAN RD APT 511                                                                            NEW PORT RICHEY    FL    34653
TRANCHITA ANDREW            TRANCHITA, ANDREW                120 WEST MADISON STREET , 10TH                                  CHICAGO            IL    60602
                                                             FLOOR
TRANCHITA, ANDREW           KROHN & MOSS ‐ IL                120 WEST MADISON STREET, 10TH                                   CHICAGO             IL   60602
                                                             FLOOR
TRANCHITELLA KEVIN J        TRANCHITELLA, KEVIN J            649 N YORK ST                                                   ELMHURST            IL   60126‐1604
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                   Part 37 of 40 Pg 408 of 901
Name                             Address1                       Address2                         Address3            Address4         City               State Zip
TRANCHITO CARMEN T (626813)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                           NORFOLK             VA 23510
                                                                STREET, SUITE 600
TRANCHITO, CARMEN T              GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
TRANCIK, VALERIE H               1023 E 4TH ST                                                                                        ROYAL OAK          MI   48067‐2872
TRANDAFIR NEICONI                3943 MAYFAIR ST                                                                                      DEARBORN HTS       MI   48125‐3039
TRANDALL, DOUGLAS                4299 REDDING CIR                                                                                     GRAND BLANC        MI   48439‐8091
TRANDELL, LARRY J                39443 EARLY DR                                                                                       STERLING HTS       MI   48313‐5555
TRANE                            PO BOX 98167                                                                                         CHICAGO            IL   60693‐0001
TRANE                            6200 TROUP HWY                                                                                       TYLER              TX   75707‐1948
TRANE                            2677 BUFORD HWY NE                                                                                   ATLANTA            GA   30324‐3239
TRANE                            33725 SCHOOLCRAFT RD                                                                                 LIVONIA            MI   48150‐1505
TRANE                            5355 N POST RD                                                                                       INDIANAPOLIS       IN   46216‐1114
TRANE                            6320 AIRPORT FRWY                                                                                    FORT WORTH         TX   76117
TRANE CO                         5335 HILL 23 DR                                                                                      FLINT              MI   48507‐3906
TRANE CO                         3600 PAMMEL CREEK RD                                                                                 LA CROSSE          WI   54601‐7511
TRANE CO INC                     5335 HILL 23 DR                                                                                      FLINT              MI   48507‐3906
TRANE CO, THE                    27475 MEADOWBROOK RD                                                                                 NOVI               MI   48377‐3532
TRANE CO, THE                    6602 INNOVATION BLVD                                                                                 FORT WAYNE         IN   46818‐1389
TRANE COMPANY                    C/O BANK OF AMERICA            5355 N POST RD                                                        INDIANAPOLIS       IN   46216‐1114
TRANE COMPANY                    MULLER MULLER RICHMOND HARMS   33233 WOODWARD AVE                                                    BIRMINGHAM         MI   48009
                                 MYERS & SGROI PC
TRANE COMPANY                    33233 WOODWARD AVE                                                                                   BIRMINGHAM         MI 48009‐0903
TRANE DISTRICT OFFICE DIVISION
TRANE INC                        2677 BUFORD HWY NE                                                                                   ATLANTA            GA   30324‐3239
TRANE INC                        27475 MEADOWBROOK RD                                                                                 NOVI               MI   48377‐3532
TRANE INC                        33725 SCHOOLCRAFT RD                                                                                 LIVONIA            MI   48150‐1505
TRANE INC                        4500 LEEDS AVE                                                                                       CHARLESTON         SC   29405
TRANE INC                        6320 AIRPORT FRWY                                                                                    FORT WORTH         TX   76117
TRANE INC                        6602 INNOVATION BLVD                                                                                 FORT WAYNE         IN   46818‐1389
TRANE INC                        BRENT FITCH                    A BUSINESS UNIT OF AM STAND CO   4500 LEEDS AVENUE                    EAST SYRACUSE      NY   13057

TRANE RESIDENTIAL SYSTEMS        CHRIS ANGLIN                   6200 TROUP HWY                                                        TYLER              TX   75707‐1948
TRANE SERV/FRM HILLS             37525 INTERCHANGE DR                                                                                 FARMINGTON HILLS   MI   48335‐1027
TRANE US INC                     3600 PAMMEL CREEK RD                                                                                 LA CROSSE          WI   54601‐7511
TRANE US, INC                    3600 PAMMEL CREEK RD #17‐1                                                                           LA CROSSE          WI   54601‐7511
TRANE, DAVID M                   2 HEATHER DR                                                                                         WILMINGTON         MA   01887‐1506
TRANELLI JR, LUIGINO A           8626 GREIG ST                                                                                        SODUS POINT        NY   14555‐9712
TRANELLI, EUGENE A               240 JOHN ST                                                                                          NORTH SYRACUSE     NY   13212‐3715
TRANELLO, DOUGLAS W              105 MENDOTA DR                                                                                       ROCHESTER          NY   14626‐3850
TRANG D HODAC                    6160 CHARLESGATE                                                                                     HUBER HEIGHTS      OH   45424
TRANG HODAC                      6160 CHARLESGATE RD                                                                                  HUBER HEIGHTS      OH   45424‐1138
TRANG K NGUYEN                   5730 BURKHARDT RD                                                                                    DAYTON             OH   45431‐2930
TRANG KHUONG                     1973 OREGONIA RD                                                                                     LEBANON            OH   45036‐9362
TRANG T LU                       27 1/2 STRAUB RD                                                                                     ROCHESTER          NY   14626‐4207
TRANGENSTEIN, RAYMOND J          5012 CROFTSHIRE DR                                                                                   DAYTON             OH   45440‐2402
TRANGENSTEIN, ROBERT C           2825 WHITE OAK DR                                                                                    DAYTON             OH   45420‐2249
TRANGENSTEIN, WALTER J           4210 WILSON ROAD                                                                                     JAMESTOWN          OH   45335‐8581
TRANGLE KEVIN MD                 DBA IMEX ASSOCIATES INC        32049 PINETREE RD                                                     PEPPER PIKE        OH   44124‐5943
TRANI JOSEPH A JR                5 DORAN FARM LN                                                                                      LEXINGTON          MA   02420‐2128
TRANI LOUIS (353674)             ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                                   NEW YORK           NY   10006‐1638
TRANI, LOUIS                     ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                                   NEW YORK           NY   10006‐1638
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                          Part 37 of 40 Pg 409 of 901
Name                               Address1                            Address2                     Address3     Address4                 City              State Zip
TRANK, YVONNE L                    4137 S 41ST WEST AVE                                                                                   TULSA              OK 74107
TRANNIE BASKIN                     26955 FLORENCE ST                                                                                      INKSTER            MI 48141‐2507
TRANNIE EVANS                      107 PLEASANT DR                                                                                        COLUMBIA           TN 38401‐4736
TRANNIE GLASSCOX                   22036 GRANDY ST                                                                                        CLINTON TWP        MI 48035‐3134
TRANNON, BEVERLY A                 801 W DARTMOUTH ST                                                                                     FLINT              MI 48504‐5301
TRANNON, MATTHEW H                 2430 FOX LN                                                                                            FLINT              MI 48507‐2017
TRANQUI HERNANDEZ                  14014 FILMORE ST                                                                                       ARLETA             CA 91331‐4425
TRANQUILINO HERNANDEZ              14014 FILMORE ST                                                                                       ARLETA             CA 91331‐4425
TRANS AMERICA LUBRICANTS INC       11395 JAMES WATT DR STE A10                                                                            EL PASO            TX 79936‐5941
TRANS BORDER TRANSPORT CONSULTANTS 2450 STANFIELD RD                                                             MISSISSAUGA ON L4Y 1S2
LTD                                                                                                              CANADA
TRANS CANADA PIPELINES LTD         450 1 STREET SW                                                               CALGARY AB T2P5H1
                                                                                                                 CANADA
TRANS CARGO SERVICES INC               1430 HUDSON LNDG                                                                                   SAINT CHARLES     MO   63303‐6174
TRANS CONTINENTAL DISTRIBUTORS         PO BOX 5767                                                                                        BUFFALO GROVE     IL   60089‐5767
TRANS ELECTRONICS                      9225 ALABAMA AVE STE C                                                                             CHATSWORTH        CA   91311‐5840
TRANS ELECTRONICS                      WON CHANG                       9225 ALABAMA AVE, UNIT C                                           ROMULUS           MI   48174
TRANS FX INC                           8300 WATERS RD                                                                                     MOORPARK          CA   93021‐9743
TRANS FX INC                           FRIEDEMANN OBRIEN GOLDBERG &    445 S FIGUEROA ST STE 3750                                         LOS ANGELES       CA   90071
                                       ZARIAN LLP
TRANS INTERNATIONAL SYSTEM             PO BOX 109                                                                                         WORTHINGTON       OH   43085‐0109
TRANS INVEST CO INC                    9601 WILSHIRE BLVD STE 200                                                                         BEVERLY HILLS     CA   90210‐5205
TRANS JONES INC                        300 JONES AVE                                                                                      MONROE            MI   48161‐1351
TRANS LINK MOTOR EXPRESS INC           952 N MAPLE ST                                                                                     ALBANY            GA   31705‐1440
TRANS MARINE MA E NT CORP              1 STEINBRENNER DR                                                                                  TAMPA             FL   33614‐7064
TRANS MARKETING GROUP INC              1900 N AUSTIN AVE               STE 2                                                              CHICAGO           IL   60639‐5077
TRANS MART INC                         4000 BORDENTOWN AVENUE          STE 34                                                             SAYERSVILLE       NJ   08872‐2760
TRANS MATIC MFG CO                     300 E 48TH ST                                                                                      HOLLAND           MI   49423‐5301
TRANS MOTOR                            1225 CARPENTER RD                                                                                  DEFIANCE          OH   43512‐8505
TRANS MOTOR LTD                        818 18TH STREET NW SUITE 730                                                                       WASHINGTON        DC   20006
TRANS NATIONAL FREIGHT SYSTEMS INC     N48W14336 HAMPTON AVE           LOWER LEVEL                                                        MENOMONEE FALLS   WI   53051‐6909

TRANS OVERSEAS CORPORATION             PO BOX 847                                                                                         TAYLOR            MI 48180‐0847
TRANS PRO OVERNIGHT COMPANY            6219 DEANS WAY                                                                                     MORROW            GA 30260‐1218
TRANS PROVINCIAL FREIGHT CARRIER LTD   600 SHANNON ROAD                                                          SAULT STE MARIE ON P6B
                                                                                                                 3M1 CANADA
TRANS STATES EXPRESS                   7750 REINHOLD DR                                                                                   CINCINNATI        OH   45237
TRANS TECH                                                             7 LAKE STATION RD                                                                    NY   10990
TRANS TECH BUS                         7 LAKE STATION RD                                                                                  WARWICK           NY   10990‐3426
TRANS TECH BUS                         5216 ROUTE 17M                                                                                     MIDDLETOWN        NY   10940
TRANS TECH BUS                         JOHN MANZI                      5216 ROUTE 12M                                                     MIDDLETOWN        NY   10940
TRANS TECH BUS
TRANS TECH INTERNATIONAL               417 SHAWNEE PL                                                                                     LOUDON            TN   37774‐3164
TRANS TECH/CAROL STR                   473 NORTH GARY AVENUE                                                                              CAROL STREAM      IL   60188
TRANS TEK INC                          PO BOX 338 RT 83                                                                                   ELLINGTON         CT   06029
TRANS UNITED INC                       6401 MELTON RD                                                                                     GARY              IN   46403‐3010
TRANS WESTERN EXPRESS                  1401 PARKINSON RD                                                         WOODSTOCK CANADA ON
                                                                                                                 N4S 8K8 CANADA
TRANS WORLD AIR LINES INC              PO BOX 18021                                                                                       NEWARK            NJ   07191‐8021
TRANS WORLD INTERNATIONAL              TWI INC                         1360 E 9TH ST                IMG CENTER                            CLEVELAND         OH   44114
TRANS WORLD MARKETING                  360 MURRAY HILL PKWY                                                                               EAST RUTHERFORD   NJ   07073‐2109
TRANS WORLD MARKETING CORP             360 MURRAY HILL PKWY                                                                               EAST RUTHERFORD   NJ   07073‐2109
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                         Part 37 of 40 Pg 410 of 901
Name                                Address1                          Address2                      Address3                   Address4                City            State Zip
TRANS WORLD SERVICES                4130 WEAVER CT S                                                                                                   HILLIARD         OH 43026‐1119
TRANS WORLD TRANSPORTATION SVC      ATTN: ANTHONY NICHOLS             400 KINDLEBERGER RD                                                              KANSAS CITY      KS 66115‐1225
TRANS‐KING INC.                     509 E GRAND AVE                                                                                                    ARROYO GRANDE    CA 93420‐2621
TRANS‐MATIC MFG CO INC              300 E 48TH ST                                                                                                      HOLLAND          MI 49423‐5301
TRANS‐MOTIVE FLEET SERVICE          1227 W 18TH ST                                                                                                     HOUSTON          TX 77008‐3342
TRANS‐OHIO HAULERS INC              PO BOX 7959                                                                                                        COLUMBUS         OH 43207‐0959
TRANS‐STATES LINES INC              PO BOX 17013                                                                                                       FORT SMITH       AR 72917‐7013
TRANS‐WAY                           LARRY VANORDER                    931 INTERCHANGE DR                                                               HOLLAND          MI 49423‐8516
TRANSACTION WORLDWIDE LOGISTICS INC 15935 MORALES RD BLDG B                                                                                            HOUSTON          TX 77032

TRANSAM PROPERTIES INC              30 MCNAB DR                                                                                GRIMSBY ON L3M 2Y6
                                                                                                                               CANADA
TRANSAMER 038011 4 15 08
TRANSAMERICA CORP                   650 E HIGGINS RD                                                                                                   SCHAUMBURG      IL 60173
TRANSAMERICA CORPORATION            600 MONTGOMERY ST                                                                                                  SAN FRANCISCO   CA 94111‐2799
TRANSAMERICA PIMCO TOTAL RETURN     C/O PIMCO                         SANDY BENSON VICE PRESIDENT   840 NEWPORT CENTER DRIVE                           NEWPORT BEACH   CA 92660
                                                                      LEGAL & COMPLIANCE
TRANSAMERICA PIMCO TOTAL RETURN VP C/O PIMCO                          SANDY BENSON VICE PRESIDENT   840 NEWPORT CENTER DRIVE                           NEWPORT BEACH   CA 92660
                                                                      LEGAL & COMPLIANCE
TRANSAMERICA TRANSPORTATION         175 MONTROSE WEST AVE STE 400                                                                                      COPLEY          OH 44321‐2792
SERVICES INC
TRANSAREA INC                       3359 BRINKERHOFF RD                                                                                                KANSAS CITY     KS   66115‐1248
TRANSATLANTIC CONNECTION            1438 COLLINGSWOOD DR                                                                                               ROCKFORD        IL   61103‐8912
TRANSATLANTIC CONNECTION INC        109 N MAIN ST                                                                                                      ROCKFORD        IL   61101‐1101
TRANSBAY FIRE PROTECTION INC        CARR MCCLELLAN INGERSOLL THOMPSON 216 PARK RD                                                                      BURLINGAME      CA   94010
                                    & HORN
TRANSBOTICS CORP                    3400 LATROBE DR                                                                                                    CHARLOTTE       NC 28211‐4847
TRANSCANADA PIPELINES LIMITED       TAMMY WIEBE, FLEET COORDINATOR    450 1 ST SW                   22ND FLOOR                 CALGARY AB T2P 5H1
                                                                                                                               CANADA
TRANSCANADA PIPELINES LIMITED       PIALEE GANGULI                    450 1 ST. SW                                             CALGARY AB CANADA
TRANSCANADA PIPELINES LTD           450 ‐ 1ST STREET SW                                                                        CALGARY CANADA AB T2P
                                                                                                                               5H1 CANADA
TRANSCAR GMBH                       LANGER KORNWEG 16                                                                          KELSTERBACH D‐609
                                                                                                                               GERMANY
TRANSCAT                            10 VANTAGE POINT DR                                                                                                ROCHESTER       NY 14624
TRANSCAT                            COMMERCIAL COLLECTION CORP        PO BOX 288                                                                       TONAWANDA       NY 14150
TRANSCAT KUNSTSOFFTECHNIK GMBH      AM SANDFELD 11A                                                                            KARLSRUHE 76149
                                                                                                                               GERMANY
TRANSCAT KUNSTSTOFFTECHNIK GMB      AM SANDFELD 11 A                                                                           KARLSRUHE BW 76149
                                                                                                                               GERMANY
TRANSCEDAR INDUSTRIES LTD           ROBERT ROSHEK                     6292 WALMORE RD               MOTORAD OF AMERICA                                 NIAGARA FALLS   NY 14304‐5703
TRANSCEDAR INDUSTRIES LTD           ROBERT ROSHEK                     MOTORAD OF AMERICA            6292 WALMORE RD                                    SOUTHFIELD      MI 48075
TRANSCEDAR INDUSTRIES LTD                                             120 A SILVER STAR BLVD                                                                           ON M1V 4
TRANSCEDAR/SCARBOROU                120 A SILVER STAR BLVD                                                                     SCARBOROUGH ON M1V
                                                                                                                               4V8 CANADA
TRANSCENTRAL INC                    3267 NORTH PARK BLVD #10 STE A    501 ADD CHG 4/19/06 CM                                                           ALCOA           TN   37701
TRANSCENTRAL INC                    5905 BELLEVILLE RD                                                                                                 BELLEVILLE      MI   48111
TRANSCHEM SERVICES INC              PO BOX 148                                                                                                         MILLERSBURG     OH   44654‐0148
TRANSCO LEASING CO INC              9414 NE VANCOUVER WAY                                                                                              PORTLAND        OR   97211‐1242
TRANSCOM EXPRESS                    2501 SAINT CLAIR AVE NE                                                                                            CLEVELAND       OH   44114‐4012
TRANSCON EXPRESS                    PO BOX 1263                                                                                                        DAYTON          OH   45401‐1263
TRANSCON/MENTOR                     8824 TWINBROOK RD                                                                                                  MENTOR          OH   44060‐4335
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                          Part 37 of 40 Pg 411 of 901
Name                                  Address1                         Address2                       Address3         Address4                  City               State Zip
TRANSCONTINENT RECORD SALES           6477 RIDINGS RD                                                                                            SYRACUSE            NY 13206‐1110
TRANSCONTINENTAL REFRIGERATED LINES   130 ARMSTRONG RD                 O HARA IND PARK                                                           PITTSTON            PA 18640‐9628
INC
TRANSCORE                             RUSSELL REESER                   8158 ADAMS DR                                                             HUMMELSTOWN        PA   17036‐8624
TRANSCORR INC                         PO BOX 68 548                                                                                              INDIANAPOLIS       IN   46206
TRANSDUCER/TEMEULA                    43178 BUSINESS PARK DRIVE        BUILDING 101                                                              TEMEULA            CA   92390
TRANSDUCERS DIRECT LLC                264 CENTER STREET                                                                                          MIAMIVILLE         OH   45147
TRANSDUCERS DIRECT LLC                PO BOX 162                       264 CENTER ST                                                             MIAMIVILLE         OH   45147‐0162
TRANSENSE TECHNOLOGIES PLC            66 HEYFORD PARK UPPER HEYFORD                                                    BICESTER OXFORDSHIRE GB
                                                                                                                       GB OX25 5HD GREAT
                                                                                                                       BRITAIN
TRANSENTRIC INC                       12567 COLLECTION CENTER DR                                                                                 CHICAGO            IL   60693‐0125
TRANSENTRIC LLC                       EDISSON RUSSELL                  7930 CLAYTON ROAD                                                         SAINT LOUIS        MO   63117
TRANSERA/PROVO                        3707 N CANYON RD STE 4                                                                                     PROVO              UT   84604‐4587
TRANSERVICE LOGISTICS                 CLAUDE RICCIARDI                 5 DAKOTA DRIVE                                                            NEW HYDE PARK      NY   11042
TRANSERVICE SNACK LEASING             3420 JEFFERSON AVE SE                                                                                      GRAND RAPIDS       MI   49548‐2244
TRANSFAC                              PO BOX 3262                      ASSIGNEE LEGEND EXPRESS INC                                               PORTLAND           OR   97208‐3262
TRANSFAC CAPITAL LLC                  4113 MURRAY AVE                                                                                            HALTOM CITY        TX   76117‐1714
TRANSFAC FUNDING                      29 LISTER AVE BLDG 20                                                                                      NEWARK             NJ   07105
TRANSFAC FUNDING CORP                 631 BUCKNER RD                   WAITING FOR UCCA                                                          COLUMBIA           SC   29203‐3612
TRANSFIELD SERVICES C/O VMS, INC.     THOMAS GLASHEEN                  203 EAST CARY STREET                                                      RICHMOND           VA   23219
TRANSFORM AUTOMOTIVE CANADA LT        PAUL BARGHAHN                    3745 COMMERCE RD                                                          NORTH CANTON       OH   44720

TRANSFORM AUTOMOTIVE CANADA LTD       3745 COMMERCE RD                                                                 LONDON ON N6N 1R1
                                                                                                                       CANADA
TRANSFORM AUTOMOTIVE LLC              3745 COMMERCE RD                                                                 LONDON ON N6N 1R1
                                                                                                                       CANADA
TRANSFORM AUTOMOTIVE LLC              AMY VAN ALST‐MOORE               7026 STERLING PONDS CT                                                    STERLING HEIGHTS   MI   48312‐5809
TRANSFORM AUTOMOTIVE LLC              PAUL BARGHAHN                    33596 STERLING PONDS BLVD                                                 STERLING HTS       MI   48312‐5808
TRANSFORM AUTOMOTIVE LLC              PAUL BARGHAHN                    3745 COMMERCE RD                                                          NORTH CANTON       OH   44720
TRANSFORM AUTOMOTIVE LLC              7026 STERLING PONDS CT                                                                                     STERLING HEIGHTS   MI   48312‐5809
TRANSFORMIT DESIGN                    33 SANFORD DR                                                                                              GORHAM             ME   04038‐2647
TRANSFREIGHT INC                      125 MAPLE GROVE RD                                                               CAMBRIDGE CANADA ON
                                                                                                                       N3H 4R7 CANADA
TRANSFRT MCNAMARA                     DUMFRIES INDUSTRIAL PARK RR 1                                                    AYR ON N0B 1E0 CANADA
TRANSGEAR MANUFACTURING               400 MASSEY RD                                                                    GUELPH CANADA ON N1K
                                                                                                                       1C4 CANADA
TRANSGEAR MANUFACTURING               400 MASSEY ROAD                                                                  GUELPH CANADA ON N1K
                                                                                                                       1C4 CANADA
TRANSGEAR MANUFACTURING INC.          SANJIV MALHOTRA X603             LINAMAR CORPORATION            400 MASSEY RD.   CONCORD ON CANADA
TRANSGLOBAL DESIGN & MFG LLC          1020 DORIS RD                                                                                              AUBURN HILLS       MI   48326‐2613
TRANSGLOBAL DESIGN & MFG LLC          PO BOX 180190                                                                                              UTICA              MI   48318‐0190
TRANSGLOBAL DESIGN & MFG LLC          DENNIS STALEY                    1020 DORIS RD                                                             AUBURN HILLS       MI   48326‐2613
TRANSGLOBAL DESIGN & MFG LLC          DENNIS STALEY                    1020 DORIS ROAD                                                           BLACKSBURG         VA   24060
TRANSGLOBAL DESIGN & MFG LLC          12675 BERWYN                     TRANSGLOBAL DESIGN & MFG EFT                                              REDFORD            MI   48239‐2748

TRANSGLOBAL DESIGN & MFG LLC          PO BOX 3010                      FIDELITY BANK                                                             BIRMINGHAM         MI   48012‐3010
TRANSGLOBAL DESIGN & MFG LLC          TRANSPORTATION DESIGN & MFG CO   PO BOX 180190                                                             UTICA              MI   48318‐0190
TRANSGROUP                            1150 N SWIFT RD                                                                                            ADDISON            IL   60101‐1001
TRANSGROUP EXPRESS INC                PO BOX 69207                                                                                               SEATTLE            WA   98168‐9207
TRANSGROUP/ADDISON                    1150 N SWIFT RD                                                                                            ADDISON            IL   60101‐1001
TRANSIER, RANDALL W                   PO BOX 254                                                                                                 CONVERSE           IN   46919‐0254
                                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                             Part 37 of 40 Pg 412 of 901
Name                                  Address1                             Address2                         Address3                  Address4                 City                State Zip
TRANSISKUS, TIMOTHY N                 3541 HIDDEN FOREST CT                                                                                                    LAKE ORION           MI 48359‐1477
TRANSISTOR DEVICES INC                36 NEWBURGH RD                                                                                                           HACKETTSTOWN         NJ 07840‐3904
TRANSIT CENTER INC                    PO BOX 27457                                                                                                             NEW YORK             NY 10087‐7457
TRANSIT EXPRESS OF CHARLOTTE INC      PO BOX 30186                                                                                                             CHARLOTTE            NC 28230‐0186
TRANSIT FREIGHT SYSTEM INC            PO BOX 187                                                                                                               PARDEEVILLE          WI 53954‐0187
TRANSIT IMAGING ASSO                  207 COMMERCE DR                                                                                                          AMHERST              NY 14228‐2302
TRANSIT JR, KENNETH J                 16263 SASSAFRAS LN                                                                                                       MACOMB               MI 48044‐3930
TRANSIT JR, KENNETH JOSEPH            16263 SASSAFRAS LN                                                                                                       MACOMB               MI 48044‐3930
TRANSIT LOGISTICS LLC                 PO BOX 80578                         5003 US 30 WEST                                                                     FORT WAYNE           IN 46898‐0578
TRANSIT PLANNERS INC                  PO BOX 23504                                                                                                             MILWAUKEE            WI 53223
TRANSIT, KENNETH J                    938 OTTAWA DR                                                                                                            ROYAL OAK            MI 48073‐2050
TRANSIT, LARYSA E                     16263 SASSAFRAS LN.                                                                                                      MACOMB               MI 48044
TRANSITION MANAGEMENT GROUP           6749 SCOTT LAKE RD NE                                                                                                    COMSTOCK PARK        MI 49321‐9559
TRANSLATION LLC                       TRANSLATION CONSULTATION &           494 EIGHT AVE STE 1005                                                              NEW YORK             NY 10001
TRANSLATIONS DOT COM                  3 PARK AVENUE 39TH FLOOR                                                                                                 NEW YORK             NY 10016
TRANSLATIONS DOT COM INC              ATTN ACCOUNTS RECEIVABLE             3 PARK AVENUE 39TH FLOOR                                                            NEW YORK             NY 10016
TRANSLATIONS.COM INC                  THREE PARK AVE 39TH FLR                                                                                                  NEW YORK             NY 10016
TRANSLATIONS.COM INC                  400 MONROE AVE. SUITE 350                                                                                                DETROIT              MI 48226
TRANSLETT CARRIERS INC                9580 BRYDEN ST                                                                                                           DETROIT              MI 48204‐2034
TRANSLINK PROJECTS LIMITED B.V.I.     TRANSLINK PROJECTS LIMITED           P.O. BOX 21855                                             1733 HELDERKRUIN
                                                                                                                                      GAUTENG SOUTH AFRICA
TRANSLINK PROJECTS LIMITED BVI        TRANSLINK PROJECTS LIMITED           P.O. BOX 21855                   HELDERKRUIN               1733
TRANSLINK PROJECTS LIMITED POUNCETT   TRANSLINK PROJECTS LIMITED           P.O. BOX 21855                   HELDERKRUIN               1733

TRANSLOADING SERVICES INC             8713 JACKSONVILLE HWY                                                                                                    NORTH LITTLE ROCK   AR 72117
TRANSLOGEX DISTRIBUTION INC           PO BOX 117                                                                                      PIERREFONDS PQ H9H 4K8
                                                                                                                                      CANADA
TRANSLOGIC                            LYN J. TETREAU, PRESIDENT            210 PIGEON RD                                                                       BAD AXE             MI 48413‐9106
TRANSLOGIC AUTO CARRIERS LLC          210 PIGEON RD                        LOGISTICS                                                                           BAD AXE             MI 48413‐9106
TRANSLOGISTICS INC                    290 MAIN ST                                                                                                              ROYERSFORD          PA 19468‐2217
TRANSLUCENT TECHNOLOGIES INC          ATTN PAUL MILGRAM                    5 KINGS COLLEGE ROAD                                       TORONTO CANADA ON
                                                                                                                                      M5S 3G8 CANADA
TRANSMASTERS                          102 MORGAN ST                                                                                                            DWIGHT              IL 60420‐1030
TRANSMATION INC                       35 VANTAGE POINT DR                                                                                                      ROCHESTER           NY 14624‐1142
TRANSMISIONES TSP SA DE CV            KM 181 5 AUTOPISTA PEDRO             ESCOBEDO QRO                                               MEXICO 76700 MEXICO
TRANSMISIONES Y EQUIPOS               MECANICOS S A DE C V                 AV 5 DE FEVRERO NO 2115 COL      FRACC IND BENITO JUAREZ   QUERETARO MEXICO
                                                                                                            76130                     MEXICO
TRANSMISIONES Y EQUIPOS MECANICOS     AV 5 DE FEBRERO NO 2115                                                                         QUERETARO QA 76120
                                                                                                                                      MEXICO
TRANSMISIONES Y EQUIPOS MECANICOS     AV 5 DE FEBRERO NO 2115              ANTES CARR CONSTITUCION KM 228                             QUERETARO QA 76120
                                                                                                                                      MEXICO
TRANSMISSION ENGINEERING CO IN        1851 N PENN RD                                                                                                           HATFIELD            PA 19440‐1951
TRANSMISSION ENGINEERING CO INC       1851 N PENN RD                                                                                                           HATFIELD            PA 19440‐1951
TRANSMISSION ENGINEERING CO INC       ATTN: CORPORATE OFFICER/AUTHORIZED   1851 N PENN RD                                                                      HATFIELD            PA 19440‐1951
                                      AGENT
TRANSMISSION PHYSICIANS, INC.         2100 PLANK RD                                                                                                            COTTRELLVILLE       MI   48039‐3809
TRANSMISSION TECHNOLOGIES CORP        14700 HELM CT                                                                                                            PLYMOUTH            MI   48170‐6062
TRANSMISSION TECHNOLOGIES CORP        RAMONA MCDONALD                      5428 N NATIONAL DR                                                                  KNOXVILLE           TN   37914‐6623
TRANSMISSION TECHNOLOGIES CORP        RAMONA MCDONALD                      5428 N. NATIONAL DR                                                                 LITCHFIELD          MI   49252
TRANSMISSION/MURFREE                  1351 OLD SALEM ROAD                  P.O. BOX 11944                                                                      MURFREESBORO        TN   37129
TRANSMOBILE                           360 W SEYMOUR AVE                                                                                                        CINCINNATI          OH   45216
TRANSNAV INC                          52054 SIERRA DR                                                                                                          CHESTERFIELD        MI   48047‐1307
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                      Part 37 of 40 Pg 413 of 901
Name                             Address1                           Address2                         Address3                  Address4                   City               State Zip
TRANSNAV INC                     35105 CRICKLEWOOD BLVD                                                                                                   NEW BALTIMORE       MI 48047‐1530
TRANSNAV SA DE CV                RIO PAPALOAPAN NO 27 CORREDOR      EMPRESARIAL CUAUTLANCINGO                                  PUEBLA MEXICO
TRANSNAV SA DE CV                PERCY VREEKEN                      TRANSNAV TECHNOLOGIES            AUTOPISTA MEXICO‐PUEBLA   BRUCK AN DER MUR
                                                                                                     117                       AUSTRIA
TRANSNAV SA DE CV                RIO PAPALOAPAN NO 27                                                                          CUAUTLANCINGO PU 72730
                                                                                                                               MEXICO
TRANSNAV SA DE CV                RIO PAPALOAPAN NO 27               CORREDOR EMPRESARIAL                                       CUAUTLANCINGO PU 72730
                                                                                                                               MEXICO
TRANSNAV TECH,IN/MI              35105 CRICKLEWOOD BLVD                                                                                                   NEW BALTIMORE      MI   48047‐1530
TRANSNAV TECHNOLOGIES INC        PERCY VREEKEN X110                 35105 CRICKLEWOOD AVE                                                                 WABASH             IN   46992
TRANSNAV TECHNOLOGIES INC        35105 CRICKLEWOOD BLVD                                                                                                   NEW BALTIMOE       MI   48047‐1530
TRANSNAV, INC                    PERCY VREEKEN                      35105 CRICKLEWOOD BLVD                                                                NEW BALTIMORE      MI   48047‐1530
TRANSNAV, INC                    PERCY VREEKEN                      TRANSNAV TECH                    30860 SIERRA DRIVE                                   FORT SMITH         AR   72901
TRANSNET INC                     PO BOX 352737                                                                                                            TOLEDO             OH   43635‐2737
TRANSOU SYVOID                   77 VICTORY DR                                                                                                            PONTIAC            MI   48342‐2562
TRANSOU, EARNEST J               PO BOX 3920                                                                                                              PONTIAC            MI   48059
TRANSOU, GENTRY P                186 MARTIN LUTHER KING JR BLVD N                                                                                         PONTIAC            MI   48342‐2585
TRANSOU, ROBERT S                1628 BURD AVE                                                                                                            SAINT LOUIS        MO   63112‐4338
TRANSOU, SYVOID                  77 VICTORY DR                                                                                                            PONTIAC            MI   48342‐2562
TRANSOU, WARREN C                29 SILVERCREST COVE                                                                                                      JACKSON            TN   38305‐7862
TRANSOURCE, INC.                 8700 TRIAD DRIVE                                                                                                         GREENSBORO         NC   27409
TRANSOURCE, INC.                 JAMES BLAND                        8700 TRIAD DRIVE                                                                      GREENSBORO         NC   27409
TRANSPAC SOLUTIONS               PO BOX 36220                                                                                                             LOUISVILLE         KY   40233
TRANSPAC SOLUTIONS               PO BOX 26220                                                                                                             LOUISVILLE         KY   40233
TRANSPAC SOLUTIONS AS AGENT OF   C/O TRANSPAC SOLUTIONS             PO BOX 36220                     874384‐1317213                                       LOUISVILLE         KY   40233
INSUREMAX INS CO
TRANSPAK INC                     6515 COBB DR                                                                                                             STERLING HEIGHTS   MI   48312‐2623
TRANSPAK/SPR/B                   KUHLMAN CORPORATION                10524 EAST GRAND RIVER                                                                BRIGHTON           MI   48116
TRANSPAK/ST HEIGHTS              6515 COBB DR                                                                                                             STERLING HEIGHTS   MI   48312‐2623
TRANSPARENCY INTERNATIONAL‐USA   1023 15TH ST NW STE 300                                                                                                  WASHINGTON         DC   20005‐2618
TRANSPEC INC.                    MACARTHUR HWY BALIBAGO,ANC                                                                    PROV PAMPANGA
                                                                                                                               PHILIPPINES
TRANSPLASTICS INC                4910 PAYSPHERE CIR                                                                                                       CHICAGO            IL 60674‐0049
TRANSPLASTICS, INC.              C/O RUSSELL S. WARNER, ESQ.        MACDONALD, ILLIG, JONES &        100 STATE STREET          SUITE 700                  ERIE               PA 16507
                                                                    BRITTON LLP
TRANSPORT AMERICAN COMMODITIES   151 REVERCHON SUITE 275                                                                       POINTE‐CLAIRE PQ H9P 1K1
                                                                                                                               CANADA
TRANSPORT CABANO KINGSWAY INC    6600 CHEMIN ST‐FRANCOIS                                                                       ST‐LAURENT PQ H4S 1B7
                                                                                                                               CANADA
TRANSPORT CARRIERS INC           3458 EDGEWOOD PARK DR                                                                                                    COMMERCE TWP       MI 48382‐4434
TRANSPORT CLEARING TWIN CITIES   PO BOX 64220                       ASSIGNEE S E T TRANSPORTATION                                                         SAINT PAUL         MN 55164‐0220

TRANSPORT CLEARINGS              ASSIGNEE LOAD TO RIDE INC          160 SOUTH RTE 17 NW 5                                                                 PARAMUS            NJ   07652
TRANSPORT CLEARINGS EAST INC     6544 KECK RD                       PO BOX 1093                                                                           KNOXVILLE          TN   37912
TRANSPORT CLEARINGS EAST INC     PO BOX 280335                      WAITING FOR VCCS                                                                      COLUMBIA           SC   29228‐0335
TRANSPORT CLEARINGS EAST INC     PO BOX 529                         ASSIGNEE TRANSPORT CLEARINGS                                                          MONROE             NC   28111‐0529

TRANSPORT CLEARINGS EAST INC     PO BOX 456                                                                                                               KINGS MOUNTAIN     NC   28086‐0456
TRANSPORT CLEARINGS EAST INC     ASSIGNEE ROAD INC                  21‐16 ROSALIS ST                                                                      FAIR LAWN          NJ   07410
TRANSPORT CLEARINGS EAST INC     100 WEST LN                                                                                                              BARBOURSVILLE      WV   25504‐1311
TRANSPORT CLEARINGS EAST INC     PO BOX 1093                        ASSIGNEE BULLDOG HIWAY EXPRESS                                                        CHARLOTTE          NC   28201‐1093
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                   Exhibit B
                                                                          Part 37 of 40 Pg 414 of 901
Name                                Address1                           Address2                           Address3                    Address4                   City           State Zip
TRANSPORT CLEARINGS EAST INC        4000 HARRIS LN                     P O BOX 10309                                                                             LYNCHBURG       VA 24501‐5002
TRANSPORT CLEARINGS EAST INC        ASSIGNEE J MILLER EXPRESS INC      P O BOX 529                                                                               MERCER          PA 16137
TRANSPORT CLEARINGS EAST INC        HWY 41 N                                                                                                                     MADISONVILLE    KY 42431
TRANSPORT CLEARINGS EAST INC        PO BOX 34303                                                                                                                 CHARLOTTE       NC 28234‐4303
TRANSPORT CLEARINGS TWIN CITIE      PO BOX 64220                       ASSIGNEE CHURCHILL TRRANSPORTA                                                            SAINT PAUL      MN 55164‐0220

TRANSPORT CONCEPTS INTERNATIONAL    PO BOX 336                                                                                                                   PORT CLINTON   OH 43452‐0336
INC
TRANSPORT CONTINENTAL INC           1\4 MILE E FM 495                                                                                                            PHARR          TX 78577
TRANSPORT CORP OF AMERICA INC       1769 YANKEE DOODLE RD                                                                                                        EAGAN          MN 55121‐3017
TRANSPORT DISTRIBUTION CO           PO BOX 306                                                                                                                   JOPLIN         MO 64802‐0306
TRANSPORT ECOLE BEC MONTREAL INC.   8835 HENRI BOURASSA OUEST                                                                         SAINT LAURENT QC H4S 1P7
                                                                                                                                      CANADA
TRANSPORT EXPRESS MINIMAX           PO BOX 92                          605 EDUCATION RD                                               CORNWALL ON K6H 5R9
TRANSPORTATION INC                                                                                                                    CANADA
TRANSPORT FACTORING INC             PO BOX 32                                                                                                                    ARP             TX   75750‐0032
TRANSPORT GEORGES BOURDEAU INC      1600 BLUE INDUSTRIES                                                                              MAGOG PQ J1X 4VP
                                                                                                                                      CANADA
TRANSPORT INTERNATIONAL POOL        10000 SOUTHERN ST                                                                                                            DEARBORN       MI    48126‐3720
TRANSPORT LEASING/CONTRACT INC      6160 SUMMIT DR N STE 500                                                                                                     MINNEAPOLIS    MN    55430‐2252
TRANSPORT LINK CORP                 PO BOX 23341                                                                                                                 CHICAGO        IL    60623‐0341
TRANSPORT LOGISTICS INC             CARPENTER LAW FIRM PC              PARKWAY CENTRE IV SUITE 570 2701                                                          PLANO          TX    75093
                                                                       NORTH DALLAS PARKWAY
TRANSPORT LOGISTICS INC             STATE FARM MUTUAL AUTOMOBILE       PARKWAY CENTRE IV SUITE 570 2701                                                          PLANO           TX   75093
                                    INSURANCE COMPANY                  NORTH DALLAS PARKWAY
TRANSPORT LOGISTICS INC             PARKWAY CENTRE IV SUITE 570 2701                                                                                             PLANO           TX   75093
                                    NORTH DALLAS PARKWAY
TRANSPORT LOGISTICS INC             C/O CARPENTER LAW FIRM PC          2701 N DALLAS PKWY                 PARKWAY CENTRE IV STE 570                              PLANO           TX   75093

TRANSPORT MANAGEMENT GROUP INC      4731 W ATLANTIC AVE STE 8                                                                                                    DELRAY BEACH    FL   33445‐3866

TRANSPORT MARCAN INC                128 RTE 138                                                                                       PORTNEUF PQ GOA 2YO
                                                                                                                                      CANADA
TRANSPORT MORNEAU INC               40 PRINCIPALE                                                                                     ST ARSENE CANADA PQ G0L
                                                                                                                                      2K0 CANADA
TRANSPORT NATIONAL DEVELOPMENT      5720 ELLIS RD                                                                                                                ORCHARD PARK   NY 14127‐2223
TRANSPORT NORTH AMERICAN EXPRESS    2150 WINSTON PARK DR UNIT 7                                                                       OAKVILLE ON L6H 5V1
INC                                                                                                                                   CANADA
TRANSPORT OVERLOAD                  RR 1                                                                                              CAVAN ON L0A 1C0
                                                                                                                                      CANADA
TRANSPORT PAPINEAU INC              851 BOUL DANIEL‐JOHNSON                                                                           ST JEROME PQ J7Z 5T7
                                                                                                                                      CANADA
TRANSPORT PAPINEAU INTL INC         851 BOUL DANIEL‐JOHNSON                                                                           ST JEROME, PQ PQ J7Z 5T7
                                                                                                                                      CANADA
TRANSPORT PROVOST INC               7887 GRENACHE                                                                                     VILLE D ANJOU PQ H1J 1C4
                                                                                                                                      CANADA
TRANSPORT REFRIGERATION             1180 JOHN A PAPALAS DR                                                                                                       LINCOLN PARK   MI 48146‐1268
TRANSPORT REFRIGERATION & DIESEL    1565 E BETTERAVIA RD                                                                                                         SANTA MARIA    CA 93454‐9647
TRANSPORT SAFE TRAINING CENTERINC   PO BOX 29703                                                                                                                 NEW ORLEANS    LA 70189‐0703

TRANSPORT SALES & SERVICE           21 INDUSTRIAL DR                   GST EXEMPT NO GST                                              CALEDONIA CANADA ON
                                                                                                                                      N3W 1H8 CANADA
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                          Part 37 of 40 Pg 415 of 901
Name                                 Address1                          Address2                       Address3       Address4                 City               State Zip
TRANSPORT SERVICE CO                 PO BOX 88997                                                                                             CHICAGO              IL 60680‐1997
TRANSPORT SUPPORT SERVICE            ALLIED AUTOMOTIVE GROUP INC       2302 PARKLAKE DR NE STE 600                                            ATLANTA             GA 30345‐2918
TRANSPORT SUPPORT, INC.              1450 WEST LONG LAKE ROAD                                                                                 TROY                MI 48098
TRANSPORT TFI‐KINGSWAY               BRIAN KOHUT                       1100 HAULTAIN CRT                             MISSISSAUGA ON L4W 2T1
                                                                                                                     CANADA
TRANSPORT THIBODEAU INC              128 2IEME AVENUE                                                                PORTNEUF CANADA PQ
                                                                                                                     G0A 2Y0 CANADA
TRANSPORT UNLIMITED INC              1029 LEBANON RD                                                                                          WEST MIFFLIN        PA 15122‐1035
TRANSPORT URGEL CHARETTE LTEE        555 BOUL ST JEAN‐BAPTISTE                                                       STE‐MARTINE PQ J0S 1V0
                                                                                                                     CANADA
TRANSPORTACION MARITIMA MEXICANA AV DE LA CUSPIDE NO 4755              COL PARQUE DE PEDREGAL                        CIUDAD DE MEXICO 14010
SA DE CV                                                                                                             MEXICO
TRANSPORTACIONES INDUSTRIALES GUME SIMON BOLIVAR 315 SUR ZONA          CENTRO TAMPICO TAMAULIPAS                     TAMPICO TAMAULIPAS
                                                                                                                     MEXICO
TRANSPORTATION & MATERIAL HANDLING US HWY 12                                                                                                  PORTAGE             IN   46368
DIV OF NATIONAL STEEL
TRANSPORTATION & WAREHOUSE         4000 BETHEL AVE                                                                                            INDIANAPOLIS        IN   46203
SERVICES INC
TRANSPORTATION ALLIANCE BANK INC   PO BOX 150290                                                                                              OGDEN              UT 84415‐0290

TRANSPORTATION ALLIANCE BANK INC     10203 S 152ND ST                  PO BOX 27249                                                           OMAHA              NE 68138‐3865

TRANSPORTATION ALLIANCES INC         8805 CASTNER DR                                                                                          EL PASO             TX   79907‐1847
TRANSPORTATION AND DEVELOPMENT
DEPARMENT
TRANSPORTATION CLEARING HOUSE        PO BOX 26243                                                                                             SALT LAKE CITY     UT 84126‐0243
TRANSPORTATION CONSULTANT INC        PO BOX 482                                                                                               HOLLAND            OH 43528‐0482
TRANSPORTATION CONSULTANTS &         ONE PARK RIDGE CENTER STE 350                                                                            PITTSBURGH         PA 15275
SERVICES INC
TRANSPORTATION DESIGN & MFG CO       DENNIS STALEY                     1020 DORIS ROAD                                                        BLACKSBURG         VA    24060
TRANSPORTATION DESIGN & MFG CO       DENNIS STALEY                     1020 DORIS RD                                                          AUBURN HILLS       MI    48326‐2613
TRANSPORTATION DESIGNERS INC         620 E SMITH RD STE E4A                                                                                   MEDINA             OH    44256‐3650
TRANSPORTATION EQUIPMENT             6401 SEAMAN RD                                                                                           OREGON             OH    43616‐4223
SALESCOMPANY
TRANSPORTATION FUNDING GROUP INC     PO BOX 6269                                                                                              CHAMPAIGN           IL   61826‐6269

TRANSPORTATION FUNDING GRP INC       35235 ROCKINGHAM DR                                                                                      STERLING HEIGHTS   MI 48310‐4917
TRANSPORTATION LOGISTICS &           EXPORT SERVICES INC               PO BOX 14443                                                           CINCINNATI         OH 45250‐0443
TRANSPORTATION MANAGEMENT            5000 STATE HIGHWAY 31 W           INACTIVATE PER LEGAL 3/29/04                                           TYLER              TX 75709‐9752
SERVICES
TRANSPORTATION MARKETING INC         PO BOX 22067                                                                                             SAINT LOUIS        MO 63126‐0067
TRANSPORTATION MARKETING SERVICES    PO BOX 615                                                                                               BUFFALO            NY 14240‐0615
INTL INC
TRANSPORTATION NETWORK & LOGISTICS   1741 CHERRINGTON ST                                                                                      EL PASO             TX   79928
INC
TRANSPORTATION OUR PRIMARY SERVICE   3865 W WELLS ST                                                                                          MILWAUKEE          WI 53208
SPECIALTY
TRANSPORTATION POOLS                 426 W LANCASTER AVE                                                                                      DEVON              PA    19333‐1510
TRANSPORTATION RELEASING INC         35005 W MICHIGAN AVE                                                                                     WAYNE              MI    48184‐1702
TRANSPORTATION RENTALS/AVIS          16030 CHAMBERLIN PKWY                                                                                    FORT MYERS         FL    33913‐8871
TRANSPORTATION REPAIR INC.           924 W 400 N                                                                                              LOGAN              UT    84321‐3777
TRANSPORTATION RESEA                 CENTER OF OHIO                    P.O. BOX B67 ‐ US ROUTE 33     LOGAN COUNTY                            EAST LIBERTY       OH    43319
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                         Part 37 of 40 Pg 416 of 901
Name                               Address1                              Address2                      Address3                     Address4                 City            State Zip
TRANSPORTATION RESEARCH BOARD      500 FIFTH ST NW                                                                                                           WASHINGTON       DC 20001
TRANSPORTATION RESEARCH CENTER     10820 STATE ROUTE 347                 PO BOX B‐67                                                                         EAST LIBERTY     OH 43319‐9473
TRANSPORTATION RESOURCES           27‐31 KELLY DRIVE                                                                                                         BUFFALO          NY 14227
TRANSPORTATION RESOURCES &         2840 E BUSINESS 30                                                                                                        COLUMBIA CITY    IN 46725
MANAGEMENT INC
TRANSPORTATION SERVICE INC         RR 2 BOX 125                                                                                                              MORRIS          OK    74445
TRANSPORTATION SOLUTIONS                                                 1920 FORBES AVE                                                                                     PA    15219
TRANSPORTATION SPECIALTIES INC     11910 HARVARD AVE                                                                                                         CLEVELAND       OH    44105‐5442
TRANSPORTATION SVCS INC            JOHN LAWRENCE                         18165 TELEGRAPH RD                                                                  ROMULUS         MI    48174‐9620
TRANSPORTATION TECHNOLOGIES        THOMAS A PARSONS                      TRANSPORTATION TECH INC.      302 PEOPLES AVENUE                                    MADISONVILLE    KY
INDSTRS
TRANSPORTATION TECHNOLOGY GROU     3020 AIRPARK DR S                                                                                                         FLINT           MI 48507‐3477

TRANSPORTATION TECHNOLOGY GROUP    3020 AIRPARK DR S                                                                                                         FLINT           MI 48507‐3477
INC
TRANSPORTE Y EQUIPO, S.A.          VIA SIMON BOLIVAR, URB. IND. LOS AN                                                              EL DORADO PANAMA

TRANSPORTES CUAUHTEMOC             JAIME LEAL ELIZONDO                   AVENIDA TRATADO DE LIBRE      PARQUE INDUSTRIAL STIVA      APODACA NUEVO LE╙N
                                                                         COMERCIO # 600                AEROPUERTO                   66600 MEXICO
TRANSPOWER/GRND RPD                861 47TH STREET S.W. UNIT F                                                                                               GRAND RAPIDS    MI 49509
TRANSPRO FREIGHT SYSTEMS LTD       8600 ESCARPMENT WAY                                                                              MILTON CANADA ON L9T
                                                                                                                                    0M1 CANADA
TRANSPRO FREIGHT SYSTEMS LTD       BRIAN CLOSE                           8600 ESCARPMENT WAY                                        MILTON ON L9T 0M1
                                                                                                                                    CANADA
TRANSPRO INC                       BEV MC CLURE X3680                    TRANSPRO, INC.                5300 HICKORY HILL ROAD STE                            LAWRENCEBURG    TN 38464
                                                                                                       101
TRANSQUIP RESOURCES                C\O CONAGRA FERTILIZER CO             PO BOX 977                                                                          PEKIN            IL61555‐0977
TRANSSHOPINVEST NV                 HOOGSTRAAT 139                                                                                   1000 BRUSSEL BELGIUM                        N/A
TRANSSHOPINVEST NV NV              HOOGSTRAAT 139                        1080 BRUSSELS                 BELGIUM                                               N/A                N/A
TRANSTAR INDUSTRIES                7350 YOUNG DR                                                                                                             WALTON HILLS    OH 44146‐5357
TRANSTEEL CARRIERS INC             135 HWY 20 SOUTH                                                                                 STONEY CREEK CANADA ON
                                                                                                                                    L8J 2T7 CANADA
TRANSTEWART TRUCKING               SARAH STEWART                         7880 BIRD LAKE RD S                                                                 OSSEO           MI 49266‐9808
TRANSTEXAS GAS CORPORATION         HWY 359 5 1/2 MILES EAST                                                                                                  LAREDO          TX 78044
TRANSTRUM MERRILL G (482046)       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                         NORFOLK         VA 23510
                                                                         STREET, SUITE 600
TRANSTRUM, MERRILL G               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                         NORFOLK         VA 23510‐2212
                                                                         STREET, SUITE 600
TRANSUE JR, FRED A                 2662 PARIS AMOUR ST                                                                                                       HENDERSON       NV    89044‐0333
TRANSUS INC                        2090 JONESBORO RD                                                                                                         ATLANTA         GA    30315
TRANSVISION TECHNOLOGIES HOLDI     801 BERRYMAN PIKE                     PO BOX 700                                                                          TIPTON          IN    46072‐8492
TRANSVISION TECHNOLOGIES HOLDING   801 BERRYMAN PIKE                     PO BOX 700                                                                          TIPTON          IN    46072‐8492

TRANSWAY INC                       GB MANAGEMENT SYSTEMS MASTER          PO BOX 3234                                                                         HOLLAND         MI 49422‐3234
TRANSWEST GMC
TRANSWEST GMC LLC                  GEORGE EIDSNESS                       7911 E 96TH AVE                                                                     HENDERSON       CO 80640‐8529
TRANSWEST GMC LLC
TRANSWEST GMC TRUCKS               7911 E 96TH AVE                                                                                                           HENDERSON       CO    80640‐8529
TRANSWESTERN                       8055 E TUFTS AVE STE 1310                                                                                                 DENVER          CO    80237‐2837
TRANSWESTERN                       8310 S VALLEY HWY STE 125                                                                                                 ENGLEWOOD       CO    80112‐5815
TRANSWESTERN                       1900 WEST LOOP                        SUITE 1300                                                                          HOUSTON         TX    77027
TRANSWESTERN 387 SHUMAN            PO BOX 6134                                                                                                               HICKSVILLE      NY    11802‐6134
                                   09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                      Part 37 of 40 Pg 417 of 901
Name                               Address1                          Address2                         Address3                  Address4              City            State Zip
TRANSWESTERN CG11 LLC              26200 TOWN CENTER DR STE 125                                                                                       NOVI             MI 48375‐1239
TRANSWESTERN COMMERCIAL SERVIC     10040 N 25TH AVE STE 125                                                                                           PHOENIX          AZ 85021‐1694
TRANSWESTERN COMMERCIAL SVCS       C/O GREAT LAKES REIT LP           387 SHUMAN BLVD STE 200W                                                         NAPERVILLE        IL 60563‐8306
TRANSWESTERN COMMERCIAL SVCS I     387 SHUMAN BLVD                                                                                                    NAPERVILLE        IL 60563
TRANSWESTERN GREAT LAKES L P       387 SHUMAN BLVD SUITE 200 W                                                                                        NAPERVILLE        IL 60563
TRANSWESTERN GREAT LAKES L.P.      TRANSWESTERN INVESTMENT COMPANY   ATTN: OWNER'S REPRESENTATIVE     150 N WACKER DR STE 800                         CHICAGO           IL 60606

TRANSWESTERN INVESTMENT COMPANY    ATTN: OWNER'S REPRESENTATIVE      150 N WACKER DR STE 800                                                          CHICAGO          IL   60606‐4102

TRANSWESTERN INVESTMENT COMPANY    ATTN: OWNER'S REPRESENTATIVE      150 S WACKER DR STE 800                                                          CHICAGO          IL   60606‐4102

TRANSWOOD INC                      PO BOX 189                                                                                                         OMAHA           NE 68101‐0189
TRANSWORLD LEASING                 21403 W INTERSTATE 10                                                                                              SAN ANTONIO     TX 78257‐1610
TRANSWORLD PRINTING CO             1179 SYLVERTIS DR                 MAIL CONTRACT 3/31/96 SEE FILE                                                   WATERFORD       MI 48328‐2042
TRANSX                             ART SLADEK                        2595 INKSTER BLVD                                          WINNIPEG MB R3C 2E6
                                                                                                                                CANADA
TRANSX LTD                         GROUP 200 RR 2                    2595 INKSTER BLVD                                          WINNIPEG MB R3C 2E6
                                                                                                                                CANADA
TRANSYLVANIA UNIVERSITY            ACCOUNTING OFFICE                 300 N BROADWAY                                                                   LEXINGTON       KY    40508
TRANT, ANTOINETTE                  44 EDGEWATER DR                                                                                                    BLACKSTONE      MA    01504‐1913
TRANT, DONALD R                    7911 W TRIPOLI AVE                                                                                                 MILWAUKEE       WI    53220‐1645
TRANTANELLA, AMANDA L              1106 ARBOR AVE                                                                                                     DAYTON          OH    45420‐1905
TRANTEK INC                        2470 N AERO PARK CT                                                                                                TRAVERSE CITY   MI    49686‐9262
TRANTER INC                        TEXAS DIV                         PO BOX 2289                                                                      WICHITA FALLS   TX    76307‐2289
TRANTER INC                        C\O GREAT LAKES PUMP & SUPPLY     1075 NAUGHTON                                                                    TROY            MI    48083
TRANTER INC                        1213 CONRAD SAUER DR                                                                                               HOUSTON         TX    77043‐4306
TRANTER INC                        1075 NAUGHTON DR                                                                                                   TROY            MI    48083‐1911
TRANTER INC TEXAS DIV              C/O C25014                        PO BOX 2289                                                                      WICHITA FALLS   TX    76307‐2289
TRANTER, JAMES E                   12244 COUNTRY MILL LN                                                                                              SODDY DAISY     TN    37379‐5931
TRANTHAM'S SERVICE CENTER          6733A RINGGOLD RD                                                                                                  EAST RIDGE      TN    37412‐4229
TRANTHAM, ARLAN W                  3173 N MCKINLEY RD                                                                                                 FLUSHING        MI    48433‐1909
TRANTHAM, CHARLES L                118 FRED NORTON RD                                                                                                 HAWK POINT      MO    63349‐2304
TRANTHAM, CONNIE J                 216 VILLAGE CT                                                                                                     COLUMBIANA      OH    44408‐9309
TRANTHAM, DAVID A                  1535 W BURT RD                                                                                                     MONTROSE        MI    48457‐9354
TRANTHAM, DAVID ARTHUR             1535 W BURT RD                                                                                                     MONTROSE        MI    48457‐9354
TRANTHAM, DENNIS W                 10255 WESCH RD                                                                                                     BROOKLYN        MI    49230‐9716
TRANTHAM, DOUGLAS W                841 CROSSHILL RD                                                                                                   DANVILLE        KY    40422‐1134
TRANTHAM, FRANCES E                157 BLUFFVIEW DR                                                                                                   TROY            MO    63379‐2010
TRANTHAM, JAMES E                  85 JF MORRIS DR                                                                                                    WAYNESVILLE     NC    28786‐4665
TRANTHAM, JESSICA                  5007 CHRISTIANSEN RD                                                                                               LANSING         MI    48910‐5180
TRANTHAM, MILDRED F                104 LORI CIR                                                                                                       SEARCY          AR    72143‐4938
TRANTHAM, MITCHELL T               1061 OLIVERDA RD                                                                                                   SHERWOOD        MI    49089
TRANTHAM, PEGGY L                  10255 WESCH RD                                                                                                     BROOKLYN        MI    49230‐9716
TRANTHAM, SCOTT O                  5077 DUFFIELD RD                                                                                                   FLUSHING        MI    48433‐9711
TRANTHAM, SHIRLEY F                3102 SUNDANCE CIR                                                                                                  VALDOSTA        GA    31602‐1539
TRANTHAM, STEVEN R                 9034 CREEKVIEW CT                                                                                                  GRAND BLANC     MI    48439‐8389
TRANTHAM, THOMAS                   160 BASS ST                                                                                                        VANCEBORO       NC    28586‐7600
TRANTHAM, THOMAS E                 201 RYSBERG DR                                                                                                     CRYSTAL FALLS   MI    49920‐9547
TRANUM AUTO GROUP                  P.O. BOX 1028                                                                                                      TEMPLE          TX    76503
TRANUM BUICK, PONTIAC, GMC TRUCK   5620 S GENERAL BRUCE DR                                                                                            TEMPLE          TX    76502‐5822
TRANUM BUICK, PONTIAC, GMC TRUCK   ANNA TRANUM‐KESSLER               5620 S GENERAL BRUCE DR                                                          TEMPLE          TX    76502‐5822
TRANUM, JAMES E                    PO BOX 1150                                                                                                        TEMPLE          TX    76503‐1150
                                 09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                     Part 37 of 40 Pg 418 of 901
Name                             Address1                         Address2                       Address3         Address4         City            State Zip
TRANZ CONNECTION                 1169 WASHINGTON ST                                                                                TOMS RIVER       NJ 08753‐6833
TRANZOW JR, JERALD K             19755 CHESTERBROOK DR                                                                             MACOMB           MI 48044‐5929
TRAP ROCK IND                                                     LAUREL AVE                                                                        NJ 08528
TRAPAGA, CARLOS H                8937 GOLD COAST DR                                                                                SAN DIEGO        CA 92126‐3743
TRAPAGA, MARIA                   8937 GOLD COAST DR.                                                                               SAN DIEGO        CA 92126‐3743
TRAPANI TONYA                    504 AMALFI CT                                                                                     SANTA MONICA     CA 90402‐1355
TRAPANI, ANGELO J                9 OLDE NOAH HUNT RD                                                                               CLARKSBURG       NJ 08510‐2117
TRAPANI, ANNA                    11 MORNINGSTAR DR                                                                                 ROCHESTER        NY 14606‐3910
TRAPANI, ANTHONY                 11 MORNINGSTAR DR                                                                                 ROCHESTER        NY 14606‐3910
TRAPANI, FRANK P                 41 GOEKE DR                                                                                       TRENTON          NJ 08610‐1123
TRAPANI, HELEN                   1834A 21ST DR                                                                                     ASTORIA          NY 11105‐3936
TRAPANI, HELEN                   1834A 21ST DRIVE                                                                                  LONG ISLAND      NY 11105
TRAPANI, MARKO
TRAPANI, SALVATORE               1255 EAST, TARO LANE                                                                              PHOENIX         AZ   85024‐2399
TRAPANI, SALVATORE               1255 E TARO LN                                                                                    PHOENIX         AZ   85024‐2399
TRAPANI, VINCENZO                4 WYNCREST DR                                                                                     ROCHESTER       NY   14624‐4111
TRAPANOTTO ANGELO (ESTATE OF)    JACOBS & CRUMPLAR P.A.           PO BOX 1271                    2 EAST 7TH ST                     WILMINGTON      DE   19899‐1271
(503757)
TRAPANOTTO, ANGELO               JACOBS & CRUMPLAR P.A.           PO BOX 1271                    2 EAST 7TH ST,                    WILMINGTON      DE   19899‐1271
TRAPASSO PHILLIP (510608)        LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                          MIAMI           FL   33143‐5163
TRAPASSO, ANGELO E               20 PINE AVE                                                                                       OSSINING        NY   10562‐3504
TRAPASSO, PHILLIP                THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD        SUITE 44                          CORAL GABLES    FL   33146
TRAPASSO, PHILLIP                LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                          MIAMI           FL   33143‐5163
TRAPCO/MIDLAND                   1814 AUSTIN ST                                                                                    MIDLAND         MI   48642‐5905
TRAPISS, JEFFREY A               46700 PARTRIDGE CREEK DR                                                                          MACOMB          MI   48044‐3256
TRAPISS, KIMBERLY S              35851 JOLAINE CT                                                                                  RICHMOND        MI   48062‐5630
TRAPISS, THOMAS                  35851 JOLAINE CT                                                                                  RICHMOND        MI   48062‐5630
TRAPOLSI, PEGGIE C               1776 N CHILDS RD                                                                                  KEARNEYSVILLE   WV   25430‐5535
TRAPP CADILLAC CHEVROLET INC     HEINKE TRAPP                     200 S HOLLYWOOD RD                                               HOUMA           LA   70360‐2717
TRAPP CADILLAC CHEVROLET, INC.   HEINKE TRAPP                     200 S HOLLYWOOD RD                                               HOUMA           LA   70360‐2717
TRAPP CADILLAC CHEVROLET, INC.   200 S HOLLYWOOD RD                                                                                HOUMA           LA   70360‐2717
TRAPP JR, PHILLIP J              11225 ALWARDT DR                                                                                  STERLING HTS    MI   48313‐4909
TRAPP SONDRA                     601 IBERIA RD                                                                                     GALION          OH   44833‐9745
TRAPP, A P                       6986 121ST AVE                                                                                    FENNVILLE       MI   49408‐9738
TRAPP, ALLAN R                   ALLAN TRAP C/O                   ALPENA COUNTY PUBLIC GUARDIAN P.O. BOX 86                        ALPENA          MI   49707

TRAPP, CARL W                    38238 ROCK CAMP RD                                                                                NEW MATAMORAS   OH   45767‐9346
TRAPP, CAROL L                   P.O. BOX 442                                                                                      MOUND           MN   55364‐0442
TRAPP, CAROL L                   PO BOX 442                                                                                        MOUND           MN   55364‐0442
TRAPP, CHARLES J                 320 BRIERCLIFF DR                                                                                 COLUMBIA        SC   29203‐9532
TRAPP, DAVID G                   352 N HURON RD                                                                                    AU GRES         MI   48703‐9617
TRAPP, DAVID P                   30 PERCY RD                                                                                       CHURCHVILLE     NY   14428‐9715
TRAPP, ELIJAH J                  5817 AMBASSADOR DR APT 3                                                                          SAGINAW         MI   48603‐3536
TRAPP, GEORGE L                  23609 W 51ST PL                                                                                   SHAWNEE         KS   66226‐7808
TRAPP, GRACE D                   5574 OSTER DR                                                                                     WATERFORD       MI   48327‐2759
TRAPP, JERRY L                   601 IBERIA RD                                                                                     GALION          OH   44833‐9745
TRAPP, JOHN R                    9415 MEMORY LN                                                                                    BROOKVILLE      IN   47012
TRAPP, KENRICK H                 11984 BEAVERTON DR                                                                                BRIDGETON       MO   63044‐2856
TRAPP, LESLIE A                  23609 WEST 51ST PLACE                                                                             SHAWNEE         KS   66226‐7808
TRAPP, LESLIE L                  4156 N MAIN ST                                                                                    LESLIE          MI   49251‐9425
TRAPP, LORENA                    5280 W OUTER DRIVE                                                                                DETROIT         MI   48235‐1355
TRAPP, LOUIS E                   525 RIVER ST APT 222                                                                              ALPENA          MI   49707‐2449
                           09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                             Part 37 of 40 Pg 419 of 901
Name                       Address1                         Address2                 Address3   Address4         City                 State Zip
TRAPP, MARY L              320 N 13TH ST                                                                         SAGINAW               MI 48601‐1607
TRAPP, NINA M              2433 S 750 W                                                                          RUSSIAVILLE           IN 46979‐9417
TRAPP, PAGE                4022 MORRIS ST                                                                        SAGINAW               MI 48601‐4238
TRAPP, RICHARD N           9707 EARHART RD                                                                       SOUTH LYON            MI 48178‐7029
TRAPP, ROBERT E            18426 MAIN ST                                                                         CLEVELAND             OH 44130‐6266
TRAPP, ROBERT L            30505 BIRCHWAY DR                                                                     FRANKLIN              MI 48025‐1522
TRAPP, ROBERT M            405 W LINCOLN WAY                                                                     LISBON                OH 44432‐1107
TRAPP, ROBERT W            15246 HIGHWAY 503                                                                     DECATUR               MS 39327‐9606
TRAPP, SANDRA W            16W668 MARYBETH CT                                                                    WILLOWBROOK            IL 60527‐7022
TRAPP, SONDRA R            601 IBERIA ROAD                                                                       GALION                OH 44833‐9745
TRAPP, SONDRA R            601 IBERIA RD                                                                         GALION                OH 44833‐9745
TRAPP, THERESA A           1829 KEYSTONE ROAD                                                                    PARMA                 OH 44134‐3012
TRAPP, TIMOTHY J           8313 QUAIL CT                                                                         INDIANAPOLIS          IN 46256‐1713
TRAPP, WALTER G            405 SUNSET ST                                                                         PLYMOUTH              MI 48170‐1010
TRAPPE, DENNIS H           4402 WINDING WAY DR                                                                   FORT WAYNE            IN 46835‐1471
TRAPPE, GENEVA J           13 N WALNUT ST                                                                        JANESVILLE            WI 53548‐3525
TRAPPE, MICHELLE A         3237 ROYAL RD                                                                         JANESVILLE            WI 53546‐2217
TRAPPMAN WILLIAM & CAROL   125 34TH AVE N                                                                        SAINT PETERSBURG      FL 33704‐2239
TRAPUZZANO ANTHONY         12 STERLING DR                                                                        CORAOPOLIS            PA 15108‐3512
TRAQ WIRELESS INC          8300 N MO PAC EXPY STE 310                                                            AUSTIN                TX 78759‐8389
TRAQ‐WIRELESS INC          8300 N MO PAC EXPY STE 310                                                            AUSTIN                TX 78759‐8389
TRAROP, SANDRA L           5782 ANDREWS RD                  APT E107                                             MENTOR                OH 44060‐2675
TRAROP, WILLIAM F          8439 N DORT HWY                                                                       MOUNT MORRIS          MI 48458‐1212
TRAROP, WILLIAM FRED       8439 N DORT HWY                                                                       MOUNT MORRIS          MI 48458‐1212
TRASATTI, TERRENCE S       3500 COLLINS RD                                                                       OAKLAND               MI 48363‐3004
TRASEY L THOMPSON          7565 WEST ST.RT. 571 LOT 11                                                           WEST MILTON           OH 45383‐1746
TRASK DONALD R (504049)    PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                               PHILADELPHIA          PA 19103‐5446
TRASK LAWRENCE             3846 STANHOPE KELLOGGSVILLE RD                                                        DORSET                OH 44032‐9613
TRASK MEAGAN               TRASK, MEAGAN                    726 N 5TH STREET                                     FESTUS                MO 63028
TRASK, ANN C               94 WHITE SANDS PL                                                                     KAILUA                HI 96734‐1966
TRASK, BEVERLY R           G 3270 HOGARTH                                                                        FLINT                 MI 48532‐5130
TRASK, BEVERLY R           G3270 HOGARTH AVE                                                                     FLINT                 MI 48532‐5130
TRASK, DALE R              3827 EUNICE AVE                                                                       WILMINGTON            DE 19808‐4614
TRASK, DON R               126 BROOKLEIGH PL                                                                     JACKSON               MS 39212‐9212
TRASK, DONALD L            7805 STANDISH RD                                                                      BENTLEY               MI 48613‐9609
TRASK, DONALD R            C/O PAUL REICH & MYERS P.C.      1608 WALNUT ST STE 500                               PHILADELPHIA          PA 19103‐5446
TRASK, DOUGLASS A          14455 N CHOCTAW DR                                                                    ORO VALLEY            AZ 85755‐9149
TRASK, EDWARD M            2910 CLINTON RD                                                                       LANSING               MI 48906‐9031
TRASK, FLORABELL           3914 W SOFT WIND DR              C/O ZAINAB DEFLORIAS                                 GLENDALE              AZ 85310‐4036
TRASK, FLORABELL           C/O ZAINAB DEFLORIAS             3914 W SOFT WIND DR                                  GLENDALE              AZ 85310‐036
TRASK, JACK L              800 W MEADOWBROOK DR                                                                  MIDLAND               MI 48640‐6010
TRASK, JACQUELINE          18941 MARGARETA ST                                                                    DETROIT               MI 48219‐2807
TRASK, JAMES H             7430 OLD MILL RD                                                                      BLOOMFIELD HILLS      MI 48301‐3938
TRASK, LARRY T             10167 NASHVILLE HWY                                                                   VERMONTVILLE          MI 49096‐8502
TRASK, MEAGAN              726 N 5TH STREET                                                                      FESTUS                MO 63028
TRASK, RICHARD A           26033 GARY ST.                   LOT #101                                             TAYLOR                MI 48180
TRASK, RICHARD L           5212 EAST M55                                                                         CADILLAC              MI 49601
TRASK, RICHARD LEE         5212 EAST M55                                                                         CADILLAC              MI 49601
TRASK, TERRY D             1610 26TH AVE                                                                         MOLINE                 IL 61265
TRASKAL, ELIZABETH K       3541 TYLER AVE                                                                        BERKLEY               MI 48072‐3443
TRASKIE, JILL E            21612 YALE ST                                                                         SAINT CLAIR SHORES    MI 48081‐1988
TRASKO, JANINA             9370 BAYSIDE CT                                                                       SPRING HILL           FL 34608‐4013
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                        Part 37 of 40 Pg 420 of 901
Name                                 Address1                          Address2                           Address3   Address4         City               State Zip
TRASKOS, HARRY B                     44077 WILLIS RD                                                                                  BELLEVILLE          MI 48111‐8941
TRASKOS, LARRY L                     42884 BEMIS RD                                                                                   BELLEVILLE          MI 48111‐8828
TRASKY, JON T                        6040 ROOSEVELT ST                                                                                COOPERSVILLE        MI 49404‐9409
TRASKY, JOSEPHINE L                  860 DIAMOND AVE NE                                                                               GRAND RAPIDS        MI 49503‐1863
TRASP, WILLIAM E                     1660 LANCASTER DR                                                                                YOUNGSTOWN          OH 44511‐1037
TRASP, WILLIAM J                     9526 GEORGE ST                                                                                   ESPYVILLE           PA 16424‐3636
TRASTER, EDWARD L                    708 N MURRAY RD                                                                                  CARO                MI 48723‐9363
TRASTER‐FESTIAN, ALICE E             2918 E BEVENS RD                                                                                 CARO                MI 48723‐9452
TRATE, KENNETH R                     4323 E STUDIO LN                                                                                 OAK CREEK           WI 53154‐6714
TRATHEN, LINDA L                     1376 READY AVE                                                                                   BURTON              MI 48529‐2052
TRATHEN, LINDA L                     1376 READY AVENUE                                                                                BURTON              MI 48529
TRATHEN, THEODORE M                  1376 READY AVE                                                                                   BURT                MI 48529‐2052
TRATNIK, ANNA T                      8104 STICKNEY AVE                                                                                MILWAUKEE           WI 53213‐1636
TRATNIK, FRANK                       3450 S OCEAN BLVD APT 320                                                                        PALM BEACH          FL 33480‐5936
TRATTNER, JOZSEF I                   170 CRESENT ST                    APT ‐ B                                                        FORT MYERS          FL 33931
TRATTNER, JOZSEF I                   5313 KIMBERLY DR                                                                                 GRAND BLANC         MI 48439
TRATTNER, JOZSEF I                   15646 WENDY                                                                                      TAYLOR              MI 48180
TRAU & LOEVNER OPERATING CO., INC.

TRAUB PATRICIA                       TRAUB, PATRICIA                   1234 MARKET STREET SUITE 2040                                  PHILADELPHIA       PA   19107
TRAUB TERRY                          TRAUB, TERRY                      210 LIL JODIE DR                                               LEBANON            KY   40033‐2900
TRAUB, ALANA M                       1040 OAK FOREST DR                                                                               MORROW             OH   45152‐7928
TRAUB, DAVID A                       1860 MAITLAND DR                                                                                 SAGINAW            MI   48609‐9544
TRAUB, DAVID W                       1312 N SAYBROOK LN                                                                               MUNCIE             IN   47304‐5062
TRAUB, DONALD V                      7729 WIND RUN CIRCLE                                                                             INDIANAPOLIS       IN   46256‐4614
TRAUB, DORIS M                       3580 WATMAR DR                                                                                   BRIDGEPORT         MX   48722‐9602
TRAUB, FRANCES C                     3900 W RIVERSIDE AVE                                                                             MUNCIE             IN   47304‐3155
TRAUB, GREGORY                       PO BOX 38664                                                                                     CHARLOTTE          NC   28278‐1011
TRAUB, HAZEL M                       10421 N MERIDIAN RD               C/O ROSE MARIE DAVID                                           MERRILL            MI   48637‐9637
TRAUB, HAZEL M                       C/O ROSE MARIE DAVID              10421 E COUNTY LINE RD                                         MERRILL            MI   48637
TRAUB, JACK L                        4431 BADOUR RD                                                                                   HEMLOCK            MI   48626‐9516
TRAUB, JASON R                       14534 MORAVIAN MANOR CIR                                                                         STERLING HEIGHTS   MI   48312‐5799
TRAUB, JASON R.                      14534 MORAVIAN MANOR CIR                                                                         STERLING HEIGHTS   MI   48312‐5799
TRAUB, LAWRENCE J                    303 N MAIN ST                                                                                    CAPAC              MI   48014‐3147
TRAUB, MARIANNE                      32409 GAINSBOROUGH DR                                                                            WARREN             MI   48088‐6918
TRAUB, MONICA                        54503 BERRYFIELD                                                                                 MACOMB             MI   48042‐2243
TRAUB, RANDY J                       2966 W HOUGHTON LAKE RD                                                                          LAKE CITY          MI   49651‐8413
TRAUB, TERRY                         174 CHESTNUT RIDGE DR APT A                                                                      HARRISONBURG       VA   22801‐3466
TRAUBENKRAUT, ELLA M                 2025 MURPHY LAKE RD                                                                              SILVERWOOD         MI   48760‐9528
TRAUBENKRAUT, GLEN D                 12915 HOLLAND RD                                                                                 FRANKENMUTH        MI   48734‐9162
TRAUDE HILLENBRAND                   STAUDENSTRASSE 36                 63075 OFFENBACH                    GERMANY
TRAUERNICHT, SCOTT A                 21111 W 56TH ST                                                                                  SHAWNEE            KS   66218‐9191
TRAUGH, ALAN P                       208 ALLATOONA HIGHLAND DR                                                                        WOODSTOCK          GA   30189‐5189
TRAUGH, DONNA L                      PO BOX 22001                                                                                     OKLAHOMA CITY      OK   73123‐0001
TRAUGH, JOHN E                       7341 PARROT DR                                                                                   PORT RICHEY        FL   34668‐3962
TRAUGH, ROBERT E                     946 CAPE CHARLES DR                                                                              COLUMBUS           OH   43228‐9254
TRAUGHBER RONALD                     TRAUGHBER, RONALD                 102 WOODMONT BLVD STE 200                                      NASHVILLE          TN   37205‐2216
TRAUGHBER, CONRAD W                  2400 WORTHINGTON DR.                                                                             TROY               OH   45373‐5373
TRAUGHBER, GLEN T                    539 J FOSTER RD                                                                                  SCOTTSVILLE        KY   42164‐6213
TRAUGHBER, MARION D                  PO BOX 681744                                                                                    MARIETTA           GA   30068‐0030
TRAUGOTT EDWARD (448301)             CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH   44115
                                     GAROFOLI                          FL
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                 Part 37 of 40 Pg 421 of 901
Name                          Address1                          Address2                          Address3   Address4                   City                 State Zip
TRAUGOTT, EDWARD              CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                         CLEVELAND             OH 44115
                              GAROFOLI                          FL
TRAUL PUGH                    10046 GATE DR                                                                                             INDIANAPOLIS          IN   46239‐8807
TRAUM, CONNIE
TRAUM, WILLIAM E              220 PINE VIEW LN                                                                                          YORK                 PA    17403‐9562
TRAUMA REHABILITATIO          PO BOX 373                                                                                                FOLSOM               PA    19033‐0373
TRAUMA REHABILITATION PA      11B TROLLEY SQ                                                                                            WILMINGTON           DE    19806‐3342
TRAUNER, CLARA C              5610 W 16TH ST                                                                                            INDIANAPOLIS         IN    46224‐6302
TRAUNM▄LLER KLAUS             HERMANN SCHMID STR.17             STEYR
TRAUS, MD,JEFF                2801 N DECATUR RD STE 200                                                                                 DECATUR              GA    30033‐5936
TRAUSCH, LAWRENCE E           866 NATIONAL AVE                                                                                          TOLEDO               OH    43609‐3014
TRAUSCH, LOWELL R             15304 ROAD 138                                                                                            PAULDING             OH    45879‐9323
TRAUT, BONNIE L               101 PEAVEY LN APT 103                                                                                     WAYZATA              MN    55391‐1535
TRAUTE POLZIN                 155 CATHANCE ROAD                                                                                         TOPSHAM              ME    04086‐5513
TRAUTHWEIN, DANIEL A          2877 LADERA DR                                                                                            BULLHEAD CITY        AZ    86429‐5853
TRAUTHWEIN, DONALD P          1 SILENT BROOK PL                                                                                         THE WOODLANDS        TX    77381‐3167
TRAUTHWEIN, JAMES E           5010 WINTON RD                                                                                            FAIRFIELD            OH    45014‐2941
TRAUTHWEIN, MARILYN           1 SILENT BROOK PL                                                                                         THE WOODLANDS        TX    77381‐3167
TRAUTHWEIN, RICHARD L         940 DORIS JANE AVE                                                                                        FAIRFIELD            OH    45014‐2814
TRAUTLOFF LOREN               PO BOX 1596                                                                                               BIG BEAR LAKE        CA    92315‐1596
TRAUTMAN, AGNES M             4606 MILLER RD                                                                                            SANDUSKY             OH    44870‐9756
TRAUTMAN, AUDREY M            614 STUART WAY                                                                                            RIO VISTA            CA    94571
TRAUTMAN, DALE J              44 CENTRAL BLVD                                                                                           NORWALK              OH    44857‐1632
TRAUTMAN, JAMES G             PO BOX 594                                                                                                PARKER CITY          IN    47368‐0594
TRAUTMAN, JAMES R             578 HAMILTON ST                                                                                           SOMERSET             NJ    08873‐2641
TRAUTMAN, JOHN                4120 MARSEILLES AVENUE                                                                                    SARASOTA             FL    34233‐1659
TRAUTMAN, KEITH               7696 COUNTY ROAD 3141                                                                                     BUFFALO              TX    75831‐4217
TRAUTMAN, MILO G              950 BRANDON ST                                                                                            CENTRAL POINT        OR    97502‐3728
TRAUTMAN, ROBERT W            259 S ROYCROFT BLVD                                                                                       CHEEKTOWAGA          NY    14225‐1559
TRAUTMAN, ROBERT WILLIAM      259 S ROYCROFT BLVD                                                                                       CHEEKTOWAGA          NY    14225‐1559
TRAUTMAN, THOMAS E            203 FOX RUN LN                                                                                            LINCOLN UNIVERSITY   PA    19352‐1220
TRAUTMAN, VINCENT J           4212 VENICE RD                                                                                            SANDUSKY             OH    44870‐1666
TRAUTMANN, DOROTHY A          224 HALSEY DR                                                                                             MCKEESPORT           PA    15132‐7510
TRAUTMANN, DOROTHY A          224 HALSEY DRIVE                                                                                          MCKEESPORT           PA    15132‐7510
TRAUTMANN, WILLIAM W          311 LIGHTNING WOOD CT                                                                                     FORT WAYNE           IN    46804‐6726
TRAUTNER, LISA A              1204 KENDALE PLACE                                                                                        SAGINAW              MI    48609‐6885
TRAUTSCH, ANITA               9321 WHEELER DR                                                                                           ORLAND PARK          IL    60462‐4737
TRAUTWEIN WINFRIED            KARLSTRASSE 84                                                                 SAARBRUECKEN DE
                                                                                                             GERMANY 66127
TRAUTWEIN, KAREN              2065 CANDLEWOOD DRIVE                                                                                     AVON                 OH 44011
TRAUTWEIN, RICHARD L          1637 WILLIAMS AVE                                                                                         BALTIMORE            MD 21221‐2922
TRAV A DIAL/STHFLD            25140 LASHER                      SUITE 131                                                               SOUTHFIELD           MI 48034
TRAVAGLI IVETTA               VIA GIACORO MATTEOTTI 76                                                       44029 PORTO GARIBALDI FE
                                                                                                             ITALY
TRAVAGLINE, JOSEPH E          1962 CHURCH RD                                                                                            BALTIMORE            MD 21222‐3205
TRAVAGLINI, ANTHONY M         151 CONGRESS ST                                                                                           MILFORD              MA 01757
TRAVAGLINI, BERNADETTE
TRAVALENT JAMES               PO BOX 6                                                                                                  CONCEPTION           MO    64433‐0006
TRAVEL AND BUSINESS ACADEMY   SHOPS AT RED LION                 9965 BUSTLETON AVE                                                      PHILADELPHIA         PA    19115‐1557
TRAVEL EDUCATION INSTITUTE    24901 NORTHWESTERN HWY STE 110                                                                            SOUTHFIELD           MI    48075‐2200
TRAVEL INCORPORATED           4355 RIVER GREEN PKWY                                                                                     DULUTH               GA    30096‐2572
TRAVEL PLANNERS               381 PARK AVE S                                                                                            NEW YORK             NY    10016
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                           Part 37 of 40 Pg 422 of 901
Name                                  Address1                              Address2                        Address3                   Address4         City              State Zip
TRAVEL SAFER, INC.                    21912 PROTECTA DR                                                                                                 ELKHART            IN 46516‐9529
TRAVELBEE, ALAN D                     5044 CHERRY BLOSSOM CIR                                                                                           WEST BLOOMFIELD    MI 48324‐4009
TRAVELBEE, GORDON R                   6291 CHURCH ST                                                                                                    CLARKSTON          MI 48346‐2113
TRAVELER CASUALTY AND SURETY          H.O. BOND & FINANCIAL PRODUCTS, 2SHS2 ATTN: CORPORATE                 1 TOWER SQ                                  HARTFORD           CT 06183‐0001
COMPANY OF AMERICA                                                          OFFICER/AUTHORIZED AGENT
TRAVELERS
TRAVELERS                             NEUENS & ASSOCIATES                   PO BOX 17409                                                                DENVER            CO
TRAVELERS ADEMNITY CO. OF AMERICA     TRAVELERS INSURANCE                   ATT: DENISE M JENKS             100 BAYLIS ROAD                             MELVILLE          NY 11747
BVU0805
TRAVELERS CASUALTY AND SURETY CO OF   PREDECESSORS‐IN‐INTEREST PARENTS       ATTN ROBERT L SCANLON ESQ      ONE TOWER SQUARE ‐ S102A                    HARTFORD           CT   06183
AMERICA FOR ITSELF AND ITS            SUBSIDIARIES & AFFILIATES
TRAVELERS CASUALTY AND SURETY         ITS PREDECESSORS‐IN‐INTEREST, PARENTS, ATTN ROBERT L SCANLON ESQ      ONE TOWER SQUARE ‐ S102A                    HARTFORD           CT   06183
COMPANY OF AMERICA FOR ITSELF &       SUBSIDIARIES & AFFILIATES
TRAVELERS CASUALTY AND SURETY         PREDECESSORS‐IN‐INTEREST PARENTS       ATTN ROBERT L SCANLON ESQ      ONE TOWER SQUARE ‐ S102A                    HARTFORD           CT   06183
COMPANY OF AMERICA FOR ITSELF AND     SUBSIDIARIES AND AFFILIATES
ITS
TRAVELERS CHAMPIONSHIP                ATTN CORPORATE OFFICER/AUTHORIZED     90 STATE HOUSE SQ                                                           HARTFORD           CT   06103‐3708
                                      AGENT
TRAVELERS CHAMPIONSHIP                90 STATE HOUSE SQ                                                                                                 HARTFORD          CT 06103‐3701
TRAVELERS HOME & MARINE INS CO        TRAVELERS INSURANCE                   ATTN DENISE M JENKS             100 BAYLIS ROAD                             MELVILLE          NY 11747
L355688
TRAVELERS HOME AND MARINE             TRAVELERS INSURANCE                   ATT DENISE M JENKS              100 BAYLIS ROAD                             MELVILLE          NY 11747
INSURANCE COMPANY UFS3259
TRAVELERS INDEMNITY CO                1 TOWER SQ # 1                                                                                                    HARTFORD          CT 06183‐0001
TRAVELERS INDEMNITY CO. OF AMERICA    TRAVELERS INSURANCE                   ATT: DENISE M JENKS             100 BAYLIS ROAD                             MELVILLE          NY 11747
BVU0806
TRAVELERS INDEMNITY COMPANY           1 TOWER SQ # 1‐MSA                                                                                                HARTFORD           CT   06183‐0001
TRAVELERS INDEMNITY COMPANY OF
ILLINOIS
TRAVELERS INDEMNITY COMPANY OF        CREEDON & ASSOCIATES PETER J          PO BOX 9028                                                                 MELVILLE          NY 11747‐9028
ILLINOIS
TRAVELERS INSURANCE                   ATTN: STEPHANIE WOELFEL               20800 SWENSON DR. STE 300                                                   WAUKESHA          WI 53186
TRAVELERS INSURANCE CO                REAL ESTATE DEPT                      PO BOX 70242                                                                CHICAGO           IL 60673‐0001
TRAVELERS INSURANCE CO CB             144 MERCHANT ST STE 195                                                                                           CINCINNATI        OH 45246
COMMERCIAL R\E GROUP INC
TRAVELERS INSURANCE COMPANY           C/O PRENTISS PROPERTIES               5177 RICHMOND STE 1235                                                      HOUSTON            TX   77056
TRAVELERS INSURANCE COMPANY
TRAVELERS INSURANCE COMPANY           C/O CRAIG/IS LTD.                     PO BOX 40569                                                                JACKSONVILLE      FL 32203‐0569
TRAVELERS INSURANCE COMPANY OF        SEIBERT JAY L LAW OFFICE OF           10 MAPLE STREET SUITE 201‐203                                               MIDDLETON         MA 01949
MASSACHUSETTS
TRAVELERS PROPERTY CASUALTY
TRAVELERS PROPERTY CASUALTY CO OF     TRAVELERS INSURANCE                   ATTN DENISE M JENKS             100 BAYLIS ROAD                             MELVILLE          NY 11747
AMERICA A7V3689
TRAVELERS PROPERTY CASUALTY CO OF     TRAVELERS INSURANCE                   ATTN DENISE M JENKS             100 BAYLIS RD                               MELVILLE          NY 11747
AMERICA CBS4148
TRAVELERS PROPERTY CASUALTY CO OF     TRAVELERS INSURANCE                   ATTN DENISE M JENKS             100 BAYLIS RD                               MELVILLE          NY 11747
AMERICA CCI 9644
TRAVELERS PROPERTY CASUALTY           SHIVERS & ASSOCIATES                  CALLER SERVICE NO 1808                                                      ALPHARETTA        GA 30023
COMPANY OF AMERICA
TRAVELERS RENTAL CO DBA DOLLAR RAC    230 PORTER ST                                                                                                     BOSTON            MA 02128‐2278
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                         Part 37 of 40 Pg 423 of 901
Name                                Address1                          Address2            Address3                Address4              City            State Zip
TRAVELERS TRANSPORTATION SERVICES   195 HEART LAKE RD SOUTH                                                       BRAMPTON ON L6W 3N6
                                                                                                                  CANADA
TRAVELING CHEF CATERING             ATTN: GREG KOSCH                  1 LAFAYETTE ST                                                    PONTIAC         MI    48342‐2032
TRAVELL M HARVEY                    209 IDLEBROOK DR                                                                                    JACKSON         MS    39212
TRAVELLE KELLEY‐WILSON              PO BOX 972952                                                                                       YPSILANTI       MI    48197‐0850
TRAVELLE L KELLEY WILSON            PO BOX 972952                                                                                       YPSILANTI       MI    48197‐0850
TRAVELS, LOUIS E                    620 E 101ST ST                                                                                      CLEVELAND       OH    44108‐1323
TRAVENIA III, TOLA                  12475 PINE ST #7                                                                                    TAYLOR          MI    48180
TRAVENIA JR, TOLA                   2209 NORTHWEST AVE                                                                                  LANSING         MI    48906‐3655
TRAVENIA, BETTY J                   2209 NORTHWEST AVE                                                                                  LANSING         MI    48906‐3655
TRAVENIA, PAULA J                   5638 NE COUNTY ROAD 1040                                                                            RICE            TX    75155‐4718
TRAVENIA, ROGER E                   5638 NE COUNTY ROAD 1040                                                                            RICE            TX    75155‐4718
TRAVENY, CLAIRE R                   1732 BEAVER VALLEY RD                                                                               FLINTON         PA    16640‐8904
TRAVENY, LOIS                       440 PEERLESS RD                                                                                     BEDFORD         IN    47421‐1544
TRAVER II, WAYNE H                  1015 PARK CT                                                                                        SAINT CHARLES   MI    48655
TRAVER TECHNOLOGIES, AN ADP         2550 GRAY FALLS DRIVE                                                                               HOUSTON         TX    77077
COMPANY
TRAVER TECHNOLOGIES, AN ADP         TRAVER TECHNOLOGIES, AN ADP                           2550 GRAY FALLS DRIVE                         HOUSTON          TX   77077
COMPANY                             COMPANY
TRAVER, CHARLES E                   11067 E. MT MORRIS                LOT 54                                                            DAVIDSON        MI    48423‐9357
TRAVER, CHARLES E                   11067 E MOUNT MORRIS RD LOT 54                                                                      DAVISON         MI    48423‐9357
TRAVER, CLAUDIA J                   1004 MARE BELLO DR                                                                                  WINTER PARK     FL    32792‐3022
TRAVER, DAVID E                     3847 W BARNES LAKE RD                                                                               COLUMBIAVILLE   MI    48421‐9117
TRAVER, DEREK                       19160 MERRIMAN RD                                                                                   LIVONIA         MI    48152‐1755
TRAVER, DOUGLAS P                   3712 DOUGLAS AVE                                                                                    FLINT           MI    48506‐2424
TRAVER, DOUGLAS PAUL                3712 DOUGLAS AVE                                                                                    FLINT           MI    48506‐2424
TRAVER, EDWARD P                    44200 ARLINGTON RD                                                                                  CANTON          MI    48187‐2144
TRAVER, EDWARD PAUL                 44200 ARLINGTON RD                                                                                  CANTON          MI    48187‐2144
TRAVER, GEORGE T                    506 E KENDALL ST                                                                                    LA FONTAINE     IN    46940‐9257
TRAVER, HERMAN E                    2774 CAMPBELLGATE DR                                                                                WATERFORD       MI    48329‐3126
TRAVER, JAMES D                     12 BUNKER LN                                                                                        ROTONDA WEST    FL    33947‐2112
TRAVER, KEITH G                     3316 ALENA CT                                                                                       WINTER PARK     FL    32792‐2001
TRAVER, RONALD G                    110 WASHINGTON ST                                                                                   GENOA           OH    43430‐1615
TRAVER, RONALD M                    4103 PETERS RD                                                                                      COLUMBIAVILLE   MI    48421‐9304
TRAVER, TERRY L                     9455 WORTH RD                                                                                       DAVISON         MI    48423‐9326
TRAVER, TODD                        2953 GOLFHILL DR                                                                                    WATERFORD       MI    48329‐4514
TRAVERS JR, JAMES J                 178 HIGHLAND AVE                                                                                    WESTPORT        MA    02790‐2207
TRAVERS, BARBARA E                  10 MACCONNACHY SQ                                                                                   BALTIMORE       MD    21207‐3979
TRAVERS, BARBARA ELAINE             10 MACCONNACHY SQ                                                                                   BALTIMORE       MD    21207‐3979
TRAVERS, CANDACE M                  47610 LORIE LN                                                                                      CHESTERFIELD    MI    48047‐3492
TRAVERS, DANIEL P                   112 DORNOCH DR                                                                                      SAINT CHARLES   MO    63301‐4495
TRAVERS, DEBORAH A                  613 MILLVILLE RD                                                                                    UXBRIDGE        MA    01569‐1902
TRAVERS, DONNA                      3040 STATE ROUTE 88 N #B                                                                            NEWARK          NY    14513‐9316
TRAVERS, EVELYN                     35 FORGE DRIVE                                                                                      TAUNTON         MA    02780‐1213
TRAVERS, EVELYN                     35 FORGE DR                                                                                         TAUNTON         MA    02780‐1213
TRAVERS, EVELYN R                   1010 NE 3RD ST                                                                                      CAPE CORAL      FL    33909‐2166
TRAVERS, JAMES F                    988 BOULEVARDS OF THE ARTS #409                                                                     SARASOTA        FL    34236
TRAVERS, MELVIN J                   10200 W RIDGEWOOD DR APT 312                                                                        PARMA HEIGHTS   OH    44130‐4090
TRAVERS, PAULINE E                  3189 ARCADIA ZURICH NORRIS RD                                                                       LYONS           NY    14489‐9022
TRAVERS, RUSSELL L                  1731 COUNTY ROAD 37                                                                                 FLORENCE        AL    35634‐3714
TRAVERS, SUSANNA                    W9869 COUNTY ROAD C                                                                                 WAUTOMA         WI    54982‐7071
TRAVERS, VIRGINIA P                 7701 W SAINT JOHN RD APT 1166                                                                       GLENDALE        AZ    85308‐0841
                                    09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                          Part 37 of 40 Pg 424 of 901
Name                                Address1                           Address2                      Address3                     Address4         City            State Zip
TRAVERS, VIRGINIA P                 7701 WEST ST JOHN ROAD             APT 1166                                                                    GLENDALE         AZ 85308‐5308
TRAVERSA, FRANCIS F                 20 HIDDEN HILL RD                                                                                              NEW HARTFORD     CT 06057‐3535
TRAVERSA, HELGA E                   B 11 SURREY LANE                                                                                               TORRINGTON       CT 06790‐2823
TRAVERSE BAY AREA I S D             ACCOUNTS RECEIVABLE                1101 RED DR                   PO BOX 6020 RMV TAX ID N/R                    TRAVERSE CITY    MI 49684‐4465
                                                                                                     CP
TRAVERSE CITY AREA PUBLIC SCHOOLS                                      1180 CASS RD                                                                                MI   49684
TRAVERSE CITY LEASING, INC.         CHERRY CAPITAL AIRPORT                                                                                         TRAVERSE CITY   MI   49684
TRAVERSE CITY LEASING. INC.         TRI CITY AIRPORT                                                                                               FREELAND        MI   48623
TRAVERSE CITY PRODUCTS INC          501 HUGHES DR                                                                                                  TRAVERSE CITY   MI   49686‐8255
TRAVERSE CITY PRODUCTS INC          TERRY WALTERS                      501 HUGHES DR                                                               TRAVERSE CITY   MI   49686‐8255
TRAVERSE CITY PRODUCTS INC          TERRY WALTERS                      501 HUGHES DRIVE                                                            BATAVIA         NY   14020
TRAVERSE CITY PRODUCTS, INC.        TERRY WALTERS                      501 HUGHES DR                                                               TRAVERSE CITY   MI   49686‐8255
TRAVERSE CITY PRODUCTS, INC.        TERRY WALTERS                      501 HUGHES DRIVE                                                            BATAVIA         NY   14020
TRAVERSE CITY/MI                    501 HUGHES DR                                                                                                  TRAVERSE CITY   MI   49686‐8255
TRAVERSE CNTY FRIEND OF COURT       ACCT OF JERRY D SKINNER            328 WASHINGTON ST                                                           TRAVERSE CITY   MI   49684‐2548
TRAVERSE GRO/ANN ARB                3772 PLAZA DRIVE                                                                                               ANN ARBOR       MI   48108
TRAVERSE GROUP                      3772 PLAZA DR                                                                                                  ANN ARBOR       MI   48108
TRAVERSE GROUP INC                  3772 PLAZA DR STE 5                                                                                            ANN ARBOR       MI   48108‐3628
TRAVERSO, ARTHUR J                  10 BAKER ST                                                                                                    BEREA           OH   44017‐1512
TRAVERSO, PIERGIORGIO               PO BOX 9022                                                                                                    WARREN          MI   48090‐9022
TRAVERSO, RAFAEL                    1251 OLD COLONY RD                                                                                             WALLINGFORD     CT   06492
TRAVIER, LULA M                     1717 GLENROSE AVE                                                                                              LANSING         MI   48915‐1520
TRAVIESO THOMAS L (626814)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA   23510
                                                                       STREET, SUITE 600
TRAVIESO, THOMAS L                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
TRAVILLA, CYNTHIA L                 1075 N MILLER RD APT 211                                                                                       SCOTTSDALE      AZ   85257‐4614
TRAVILLIAN, ELIZABETH               9305 SUE LN                                                                                                    SWARTZ CREEK    MI   48473‐8548
TRAVILLIAN, ELIZABETH               9305 SUE LANE                                                                                                  SWARTZ CREEK    MI   48473‐8548
TRAVILLIAN, ROBERT M                1601 NORMAN DR APT DD7                                                                                         VALDOSTA        GA   31601‐3244
TRAVILLIAN, THOMAS W                253 HARLESS RD                                                                                                 CORRYTON        TN   37721
TRAVIOLI, MARK E                    529 MCKITTRICK COURT                                                                                           GODLEY          TX   76044‐3749
TRAVIS
TRAVIS A BENNETT                    3414 NOLA RD NE                                                                                                BROOKHAVEN      MS   39601‐9332
TRAVIS A GOLDWIRE                   41 BURROUGHS ST APT 407                                                                                        DETROIT         MI   48202‐3462
TRAVIS A HOTT                       8479 KINGSTON DR.                                                                                              FRANKLIN        OH   45005
TRAVIS A MILLER                     5900 BRIDGE RD APT 309                                                                                         YPSILANTI       MI   48197‐7009
TRAVIS A WALLACE                    1543 DAYTONA DR                                                                                                TOLEDO          OH   43612‐4015
TRAVIS B FLOURNOY                   PO BOX 21692                                                                                                   DETROIT         MI   48221‐0692
TRAVIS BACKMAN                      22246 143RD AVE                                                                                                RAPID CITY      SD   57701‐8412
TRAVIS BARLOW                       4988 CROWDER ST                                                                                                MILTON          FL   32571‐1420
TRAVIS BILLINGSLEY                  2064 CANAAN DR SE                                                                                              ATLANTA         GA   30316‐4930
TRAVIS BOLES                        8202 S 300 E                                                                                                   MARKLEVILLE     IN   46056‐9792
TRAVIS BOLINGER                     3404 W ETHEL AVE                                                                                               MUNCIE          IN   47304‐4412
TRAVIS BOWEN                        2386 CLARK RD                                                                                                  SALEM           OH   44460‐9701
TRAVIS BRADBURN                     5970 OAK HILL RD                                                                                               ORTONVILLE      MI   48462‐8913
TRAVIS BRADFORD                     501 SOUTH LINE STREET                                                                                          SOUTH WHITLEY   IN   46787‐1436
TRAVIS BREVELL                      5220 LINTON CUTOFF RD                                                                                          BENTON          LA   71006‐8772
TRAVIS BRIDGEMAN                    2495 WANDA WOODS RD                                                                                            CUMMING         GA   30041‐7797
TRAVIS BRYANT                       3500 TRAIL ON ROAD                                                                                             MORAINE         OH   45439‐1150
TRAVIS BURGETT                      6517 BERNADINE DR                                                                                              WATAUGA         TX   76148‐2802
TRAVIS CALICOTT                     PO BOX 133                                                                                                     BLUFFTON        TX   78607‐0133
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                        Part 37 of 40 Pg 425 of 901
Name                                 Address1                              Address2                      Address3     Address4         City                State Zip
TRAVIS CAMPBELL                      3760 VANPORT AVE                                                                                  COMMERCE TOWNSHIP    MI 48382‐1941
TRAVIS CANADY                        4212 N 172ND AVE                                                                                  OMAHA                NE 68116‐3059
TRAVIS CAUDILL                       PO BOX 1541                                                                                       RUSKIN               FL 33575‐1541
TRAVIS CLIFTON D (352664)            GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510
                                                                           STREET, SUITE 600
TRAVIS COOPER                        2816 W BOGART RD                                                                                  SANDUSKY            OH    44870‐7200
TRAVIS COUNTY AUDITOR                                                      9301 JOHNNY MORRIS RD                                                           TX    78724
TRAVIS COUNTY DOMESTIC REL           ACCT OF DAVID P FROST                 PO BOX 1748                                                 AUSTIN              TX    78767‐1748
TRAVIS COUNTY TAX COLLECTOR          PO BOX 149328                                                                                     AUSTIN              TX    78714‐9328
TRAVIS COUNTY TAX COLLECTOR          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 149328                TAX OFFICE                    AUSTIN              TX    78714‐9328

TRAVIS COUNTY TAX COLLECTOR          PO BOX 149328                         TAX OFFICE                                                  AUSTIN               TX   78714‐9328
TRAVIS CRAWFORD BUICK ‐ GMC TRUCK,   TRAVIS CRAWFORD                       6800 MONTANA AVE                                            EL PASO              TX   79925‐2212
L.P.
TRAVIS D BREVELL                     5220 LINTON CUTOFF RD                                                                             BENTON              LA    71006‐8772
TRAVIS D JOHNSON                     3555 MORNING DOVE WOODS                                                                           FRANKLIN            OH    45005‐1680
TRAVIS D TUDOR                       2623 CADILLAC                                                                                     MORAINE             OH    45439
TRAVIS DEAN SR                       C/O WILLIAMS KHERKHER HART &          8441 GULF FREEWAY STE 600                                   HOUSTON             TX    77007
                                     BOUNDAS LLP
TRAVIS DEVORE                        5448 LORI VALLEY LN                                                                               KELLER              TX    76244‐5034
TRAVIS DOVE                          15112 HIX ST                                                                                      LIVONIA             MI    48154‐4873
TRAVIS DUNSON                        5640 HOOVER AVE.                                                                                  DAYTON              OH    45427‐2278
TRAVIS E COLLUM                      1635 PRIMROSE AVE                                                                                 TOLEDO              OH    43612‐4061
TRAVIS E HOSTETLER                   6241 RAMBLEWOOD DR                                                                                DAYTON              OH    45424‐6601
TRAVIS E RETHERFORD                  P.O. BOX 834                                                                                      FRANKLIN            OH    45005
TRAVIS E WHITAKER                    C/O WILLIAMS KHERKHER HART &          8441 GULF FREEWAY, STE 600                                  HOUSTON             TX    77007
                                     BOUNDAS, LLP
TRAVIS EASTHAM                       3540 AUSTINTOWN WARREN RD                                                                         MINERAL RIDGE       OH    44440‐9752
TRAVIS FARRIS                        PO BOX 492                            3200 ELSWORTH RD                                            PERRY               MI    48872‐0492
TRAVIS FLIPPO                        1804 NE 116TH CT                                                                                  SILVER SPRINGS      FL    34488‐2532
TRAVIS FLOURNOY                      PO BOX 21692                                                                                      DETROIT             MI    48221‐0692
TRAVIS FRANCIS BRUCE (661942)        C/O LEVY PHILLIPS & KONIGSBERG        800 3RD AVE ‐ 13TH FL                                       NEW YORK            NY    10022‐4213
TRAVIS FREEMAN                       4120 VANCE AVE                                                                                    FORT WAYNE          IN    46815‐6745
TRAVIS G MITCHELL                    5145 MARINER DR                                                                                   HUBER HEIGHTS       OH    45424
TRAVIS GRAY                          12326 FM 2709                                                                                     EUSTACE             TX    75124‐4518
TRAVIS H SMITH                       623 EAST PEASE AVE                                                                                WEST CARROLLTON     OH    45449
TRAVIS HALL JR                       18720 COUNTY ROAD 1000                                                                            SAINT JAMES         MO    65559‐8930
TRAVIS HARBIN                        288 W MAIN ST                                                                                     MAYVILLE            MI    48744‐9643
TRAVIS HATTE                         886 GREENGATE DR                                                                                  LEBANON             OH    45036‐7925
TRAVIS HOKANSON                      336 WINDING ACRES LN                                                                              EATON RAPIDS        MI    48827‐8256
TRAVIS HOLDER                        3726 DENTON HWY                                                                                   FORT WORTH          TX    76117‐2501
TRAVIS HOLTZCLAW                     1825 SPARROW RDG                                                                                  HAUGHTON            LA    71037‐7498
TRAVIS HORNSBY                       431 S. BROAD ST                                                                                   SAMSON              AL    36477‐1505
TRAVIS HUGHES                        11205 W JOLLY RD                                                                                  LANSING             MI    48911‐3014
TRAVIS II, GEORGE R                  12535 SEYMOUR RD                                                                                  BURT                MI    48417‐2159
TRAVIS J HODGE                       5354 OTTAWA                                                                                       FAIRBORN            OH    45324‐1928
TRAVIS J WILLIAMS                    1203 S MICHIGAN AVE APT 10                                                                        SAGINAW             MI    48602‐1408
TRAVIS JEFFCOAT                      2409 WESTCHESTER DR                                                                               MOORE               OK    73160‐6255
TRAVIS JONES                         1418 LEO ST                                                                                       SAGINAW             MI    48638‐6539
TRAVIS JONES                         5045 BEECHWOOD HILLS DR                                                                           SHREVEPORT          LA    71107‐9175
TRAVIS JONES                         9 COUNTY RD 4057                                                                                  OXFORD              MS    38655
TRAVIS JR, ARTHUR R                  561 ORCHARD PL                                                                                    N TONAWANDA         NY    14120‐6214
                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                           Part 37 of 40 Pg 426 of 901
Name                     Address1                              Address2             Address3   Address4         City              State Zip
TRAVIS JR, HOWARD E      5345 E DENNIS RD                                                                       WEBBERVILLE        MI 48892‐9716
TRAVIS JR, JOE B         11220 W ISLAND RD                                                                      FOWLER             MI 48835‐9726
TRAVIS JR, ROY C         6396 BROOKVIEW DR                                                                      GRAND BLANC        MI 48439‐9740
TRAVIS JR., CHARLES      876 SPENCE ST                                                                          PONTIAC            MI 48340‐3057
TRAVIS K JEFFERY         6276 SHAKER RD                                                                         FRANKLIN           OH 45005
TRAVIS K LEWIS           70 RIDGEBURY DRIVE                                                                     XENIA              OH 45385‐3832
TRAVIS KEITH             TRAVIS, KEITH                         125 12TH STREET N                                GUIN               AL 35563‐2223
TRAVIS KELLY             13327 N ELMS RD                                                                        CLIO               MI 48420‐8230
TRAVIS KILBURN           6011 E WACO RD                                                                         SAINT HELEN        MI 48656‐8563
TRAVIS KROUT             1136 W BROOK ST                                                                        MITCHELL           IN 47446‐1224
TRAVIS L BRUNSON         15150 HARDIN WAPAKONETA RD                                                             ANNA               OH 45302‐9737
TRAVIS L HOLLINGSWORTH   1119 S BEECHGROVE RD                                                                   WILMINGTON         OH 45177
TRAVIS L JONES           1418 LEO ST                                                                            SAGINAW            MI 48638‐6539
TRAVIS L MCCOLL          3270 ALPENA ST                                                                         BURTON             MI 48529‐1448
TRAVIS L MCDANIEL        5575 BROOKBANK PL                                                                      KETTERING          OH 45440‐2603
TRAVIS LANEY             4936 LAKEWOOD RD                                                                       RAVENNA            OH 44266‐8246
TRAVIS LEATHERWOOD       981 NEW HOPE DR                                                                        HAMPTON            GA 30228‐1551
TRAVIS LUTHER            3105 RED MAPLE DRIVE                                                                   FRIENDSWOOD        TX 77546‐7913
TRAVIS LUTMAN            2178 UTHE RD                                                                           BATES CITY         MO 64011‐8145
TRAVIS M LANE            2141 BEAVER VALLEY RD APT #1                                                           FAIRBORN           OH 45324‐‐ 88
TRAVIS M PAGE            40285 PLYMOUTH RD APT 103                                                              PLYMOUTH           MI 48170‐4216
TRAVIS MCCOLL            3270 ALPENA ST                                                                         BURTON             MI 48529‐1448
TRAVIS MCDOWELL
TRAVIS MEHAY             655 BIRD AVE                                                                           BIRMINGHAM        MI   48009‐2011
TRAVIS MELINDA           TRAVIS, MELINDA                       33970 COUNTY RD 25                               AKRON             OH   80720‐9059
TRAVIS MITCHELL          5145 MARINER DR                                                                        HUBER HEIGHTS     OH   45424‐5904
TRAVIS MORHARDT          9621 BECKER RD                                                                         SAVANNA           IL   61074‐8594
TRAVIS NEAL              6201 BERT KOUNS INDUSTRIAL LOOP LOT                                                    SHREVEPORT        LA   71129‐5016
                         52
TRAVIS NELSON            2244 LUXMORE DR                                                                        SAINT LOUIS       MO   63136‐4522
TRAVIS NICHOLSON         90 HILLSIDE TRAIL                                                                      MAHOPAC           NY   10541‐4416
TRAVIS PARMAN            419 N WASHINGTON AVE                                                                   ROYAL OAK         MI   48067‐1754
TRAVIS PARNELL           134 LYNN DRIVE 3                                                                       MONROE            LA   71203‐9221
TRAVIS PARSLEY           576 PRATER RD                                                                          SMITHVILLE        TN   37166‐5162
TRAVIS PHILLIPS          16313 NUCLEAR PLANT RD                                                                 ATHENS            AL   35611‐5911
TRAVIS PHILLIPS          660 STATE ROUTE 756                                                                    FELICITY          OH   45120‐8924
TRAVIS PICKERING         1404 MOCKINGBIRD LN                                                                    DESOTO            TX   75115‐7617
TRAVIS POORE             3456 N ADRIAN HWY                                                                      ADRIAN            MI   49221‐1140
TRAVIS R BARLOW          4898 CROWDER ST                                                                        MILTON            FL   32571‐1420
TRAVIS R TOBIAS          25 LANYARD AVE                                                                         TROTWOOD          OH   45426
TRAVIS R WEST            8263 E STATE ROUTE 40 40                                                               NEW CARLISLE      OH   45344
TRAVIS REEDER            6083 MAPLE LN                                                                          EAST LANSING      MI   48823‐9404
TRAVIS REESE             RR 3 BOX 670                                                                           MADILL            OK   73446‐9156
TRAVIS ROBINSON          709 3RD ST                                                                             BAY CITY          MI   48708‐5907
TRAVIS SHANK             149 CONCORD DR # A                                                                     BOWLING GREEN     KY   42103‐8528
TRAVIS SHARON            6600 SANDGATE DR                                                                       ARLINGTON         TX   76002‐5549
TRAVIS SHARP             PO BOX 161                                                                             PERRY             MO   63462‐0161
TRAVIS SIMONS
TRAVIS SMITH             623 E PEASE AVE                                                                        WEST CARROLLTON   OH   45449‐1360
TRAVIS SPARKS            168 SAND LICK RD                                                                       MC KEE            KY   40447‐9742
TRAVIS SPENCER           1774 SOUTH M13                                                                         LENNON            MI   48449
TRAVIS SPENCER           245 ALHAMBRA ST                                                                        PONTIAC           MI   48341‐1070
                                09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                  Part 37 of 40 Pg 427 of 901
Name                            Address1                       Address2                      Address3   Address4         City            State Zip
TRAVIS STEINHAUER               3529 FISHER RD                                                                           INDIANAPOLIS     IN 46239‐1304
TRAVIS STENDER
TRAVIS STEWART                  2118 27TH ST                                                                             BEDFORD         IN   47421‐4944
TRAVIS SULLIVAN                 128 COVINGTON BND                                                                        WHITE HOUSE     TN   37188‐8024
TRAVIS T CONLEY                 2864 STRATFORD ST                                                                        MUSKEGON        MI   49444
TRAVIS T GRAY                   12326 FM 2709                                                                            EUSTACE         TX   75124‐4518
TRAVIS TANNER                   1317 WESTBROOKE TERRACE DR                                                               BALLWIN         MO   63021‐7536
TRAVIS THOMPSON                 1453 HAWKEYE                                                                             ROCHESTER HLS   MI   48307‐2469
TRAVIS TRUCK & AUTO COLLISION   ATTN: SCOTT TRAVIS             148 39TH ST SW                                            GRAND RAPIDS    MI   49548‐3104
TRAVIS TUCKER                   405 DAISY DR                                                                             SAINT JOHNS     MI   48879‐8249
TRAVIS W HILBURN                C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                 HOUSTON         TX   77007
                                BOUNDAS LLP
TRAVIS WARD                     5043 N 93RD ST                                                                           KANSAS CITY     KS   66109‐3006
TRAVIS WEAVER                   161 RAINBOW DR APT 6153                                                                  LIVINGSTON      TX   77399‐1061
TRAVIS WELCH                    213 RAINBOW CIR                                                                          LA FOLLETTE     TN   37766‐5959
TRAVIS WEND                     22 HAMILTON DR                                                                           BELLVILLE       OH   44813‐1286
TRAVIS WHITE                    PO BOX 128                                                                               DUBBERLY        LA   71024‐0128
TRAVIS WILSON                   726 CHEROKEE AVE                                                                         MONROE          GA   30655‐2412
TRAVIS WILSON                   3401 N LANEWOOD DR                                                                       MUNCIE          IN   47304‐1842
TRAVIS WOODWARD                 207 ORCHARD VALLEY DRIVE                                                                 SMYRNA          TN   37167
TRAVIS, ALBERT V                21470 ASTOR COURT                                                                        GROSSE ILE      MI   48138‐1201
TRAVIS, ALVERA                  17205 GODDARD ST                                                                         DETROIT         MI   48212‐1539
TRAVIS, ANGIE                   815 WILLOW ST W                                                                          DETROIT LAKES   MN   56501‐3808
TRAVIS, ANITA K                 1500 E BOGART RD APT 4B                                                                  SANDUSKY        OH   44870‐7153
TRAVIS, ANN M                   462 ASH RIDGE                                                                            MASON           MI   48854
TRAVIS, ANN M                   462 ASH RDG                                                                              MASON           MI   48854‐2540
TRAVIS, ARLENE A                5001 FIVE LAKES RD                                                                       NORTH BRANCH    MI   48461‐8915
TRAVIS, ARTHUR R                328 CHRISTINA CT                                                                         PLEASANTON      CA   94566‐7122
TRAVIS, BARBARA A               5420 FREDERICK LAKE DR                                                                   PORT ORANGE     FL   32128‐7478
TRAVIS, BERNIS N                547 THORNHILL CT                                                                         BELLEVILLE      MI   48111‐4929
TRAVIS, BEVERLY                 28555 PIERCE ST                                                                          SOUTHFIELD      MI   48076‐7315
TRAVIS, BRUCE E                 14 JOANNE DR APT 2                                                                       ASHLAND         MA   01721‐2222
TRAVIS, CAROLE                  272 CROYDEN DR                                                                           PLEASANT HILL   CA   94523‐3549
TRAVIS, CHARLES I               27629 WAGNER DR                                                                          WARREN          MI   48093‐4647
TRAVIS, CHARLES L               24 N ANDERSON AVE                                                                        PONTIAC         MI   48342‐2900
TRAVIS, CHARLES P               1465 50TH ST SW                                                                          WYOMING         MI   49509‐5001
TRAVIS, CHRISTOPHER             G‐5454 WEBSTER ROAD                                                                      FLINT           MI   48504
TRAVIS, CLIFTON D               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                               STREET, SUITE 600
TRAVIS, COURTNEY J              727 N FLORISSANT RD                                                                      FERGUSON        MO   63135‐1646
TRAVIS, CRAIG N                 274 MICHIGAN AVE                                                                         ELYRIA          OH   44035‐7162
TRAVIS, CURTIS L                640 COMMONWEALTH BLVD                                                                    TOMS RIVER      NJ   08757‐1729
TRAVIS, DANNY B                 11501 N MILLER AVE                                                                       OKLAHOMA CITY   OK   73120‐6618
TRAVIS, DARYL L                 3054 E 250 N                                                                             ANDERSON        IN   46012‐9433
TRAVIS, DAVID A                 4239 LAPEER RD                                                                           BURTON          MI   48509‐1711
TRAVIS, DAVID W                 1068 LIPTON LN                                                                           DAYTON          OH   45430‐1314
TRAVIS, DENISE L                1821 ROCKCREEK LN                                                                        FLINT           MI   48507‐2233
TRAVIS, DENNIS F                606 S COLUMBIAN ST                                                                       BAY CITY        MI   48706‐3204
TRAVIS, DONALD G                1355 1ST ST                                                                              LAPEER          MI   48446‐1200
TRAVIS, DOROTHY A               8631 CIRCLE DR                                                                           LONDON          OH   43140‐9668
TRAVIS, DOROTHY E               538 WEST KENTUCKY 10                                                                     TOLLESBORO      KY   41189‐1189
TRAVIS, DOROTHY J               33 N ANDERSON AVE                                                                        PONTIAC         MI   48342‐2901
                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                          Part 37 of 40 Pg 428 of 901
Name                    Address1                       Address2                       Address3   Address4         City           State Zip
TRAVIS, DOROTHY M       37462 GIAVON ST                                                                           PALMDALE        CA 93552‐4701
TRAVIS, DOUGLAS C       7966 REEDS CORNERS RD                                                                     DANSVILLE       NY 14437‐8906
TRAVIS, EARNEST C       4151 HEATHERSTONE DR                                                                      WATERFORD       MI 48329‐2317
TRAVIS, EARNEST C.      4151 HEATHERSTONE DR                                                                      WATERFORD       MI 48329‐2317
TRAVIS, EFFIE L         198 VERNON DR                                                                             PONTIAC         MI 48342‐1673
TRAVIS, ETHEL           3880 CEDAR LOOP                C/O RELLA MARION BYRD                                      CLARKSTON       MI 48348‐1412
TRAVIS, ETHEL L         61398 M 40                                                                                JONES           MI 49061
TRAVIS, ETHEL L         208 E MICHIGAN AVE                                                                        THREE RIVERS    MI 49093
TRAVIS, FRANCIS BRUCE   LEVY PHILLIPS & KONIGSBERG     520 MADISON AVE, 31ST FLOOR                                NEW YORK        NY 10022
TRAVIS, FRANK E         613 WHITE ST                                                                              FLINT           MI 48505‐4152
TRAVIS, GALE O          206 MAIN ST                                                                               CLAY CITY       IN 47841‐1013
TRAVIS, GARY W          5125 N WILLIAMS RD                                                                        SAINT JOHNS     MI 48879‐8033
TRAVIS, GEORGE R        8 KING GEORGE III DR                                                                      FLINT           MI 48507‐5933
TRAVIS, GLENDYL R       2508 CHICAGO RD                                                                           WARREN          MI 48092‐1041
TRAVIS, HENRY J         11511 KENNEBEC ST                                                                         DETROIT         MI 48205‐5200
TRAVIS, HEWITT M        13201 FOREST DR                                                                           BOWIE           MD 20715‐4395
TRAVIS, JAMES A         67 LINDA ST                                                                               INGLIS          FL 34449‐9765
TRAVIS, JAMES O         1061 ARAPAHO DR                                                                           FLINT           MI 48509‐1415
TRAVIS, JAMES OTIS      1061 ARAPAHO DR                                                                           FLINT           MI 48509‐1415
TRAVIS, JAMES R         1417 COMO PARK BLVD SIDE A                                                                DEPEW           NY 14043‐4406
TRAVIS, JANE            CROMPTOND RD                   STONEGATE APTS 6‐B4                                        PEEKSKILL       NY 10566‐4181
TRAVIS, JANE            1840 CROMPOND RD APT 6B4       CROMPTOND RD.                                              PEEKSKILL       NY 10566‐4151
TRAVIS, JANET L         141 N MUSTIN DR                                                                           ANDERSON        IN 46012‐3151
TRAVIS, JANICE M        7966 REEDS CORNERS RD                                                                     DANSVILLE       NY 14437‐8906
TRAVIS, JEFFERY W       5447 E HILL RD                                                                            GRAND BLANC     MI 48439‐9100
TRAVIS, JOHN W          2912 SCENIC HILL DRIVE                                                                    HARRISON        MI 48625‐8910
TRAVIS, JOHN WESLEY     6675 SAWMILL RD                                                                           HARRISON        MI 48625‐9071
TRAVIS, JOSEPH W        6802 SALLY CT                                                                             FLINT           MI 48505‐1936
TRAVIS, JOSEPH WALTER   6802 SALLY CT                                                                             FLINT           MI 48505‐1936
TRAVIS, JOSH            16 PAUL LN                                                                                ALEXANDRIA      KY 41001‐1124
TRAVIS, KEITH           125 12TH STREET N                                                                         GUIN            AL 35563‐2223
TRAVIS, KEITH           125 12TH ST N                                                                             GUIN            AL 35563‐2223
TRAVIS, KEITH           87 ARCADIA CIRCLE NORTHWEST                                                               ATLANTA         GA 30314‐2409
TRAVIS, KEITH           87 ARCADIA CIR NW                                                                         ATLANTA         GA 30314‐2409
TRAVIS, KEITH L         2041 LAFAYETTE ST                                                                         ANDERSON        IN 46012‐1635
TRAVIS, KEVIN D         2501 S ORTONVILLE RD                                                                      ORTONVILLE      MI 48462‐8643
TRAVIS, LAWRENCE F      5100 N GALE RD                                                                            DAVISON         MI 48423‐8955
TRAVIS, LEATHERWOOD
TRAVIS, LEITHA H        701 MARKET ST APT 13                                                                      OXFORD         MI   48371‐3570
TRAVIS, LEITHA H        APT 13                         701 MARKET STREET                                          OXFORD         MI   48371‐3570
TRAVIS, LINDA J         11002 LOUSON PL                                                                           RALEIGH        NC   27614‐6728
TRAVIS, LINDA M         431 CLUNNY DRIVE                                                                          MT MORRIS      MI   48458
TRAVIS, LINDA M         431 CLUNNY DR                                                                             MOUNT MORRIS   MI   48458‐8873
TRAVIS, LULA B          8672 TUTTLE HILL RD                                                                       YPSILANTI      MI   48197‐9443
TRAVIS, MARGARET G      2265 DENNIS RD. R#1                                                                       WILLIAMSTON    MI   48895
TRAVIS, MARILYN M       42767 CRESTVIEW RD                                                                        LEETONIA       OH   44431‐9671
TRAVIS, MARJORIE A      APT 103                        1511 SOUTH HUNTINGTON STREET                               SULPHUR        LA   70663‐5839

TRAVIS, MARK J          11 FOX HOUND CT                                                                           GRAND BLANC    MI   48439‐8172
TRAVIS, MARK J.         11 FOX HOUND CT                                                                           GRAND BLANC    MI   48439‐8172
TRAVIS, MARK S          2785 N ROYSTON RD                                                                         CHARLOTTE      MI   48813‐9323
TRAVIS, MARY            7276 FORD ST                                                                              WARREN         MI   48091‐3086
                           09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                            Part 37 of 40 Pg 429 of 901
Name                       Address1                      Address2                    Address3   Address4                City              State Zip
TRAVIS, MARY G             2800 WOODLAND DR                                                                             NEW CASTLE         IN 47362‐8715
TRAVIS, MELINDA            33970 COUNTY ROAD 25                                                                         AKRON              CO 80720‐9059
TRAVIS, MICHAEL D          13732 TRIUMPH CT                                                                             HUDSON             FL 34667‐6564
TRAVIS, MICHAEL L          2916 EGGERT RD                                                                               TONAWANDA          NY 14150‐8140
TRAVIS, MICHAEL LEO        2916 EGGERT RD                                                                               TONAWANDA          NY 14150‐8140
TRAVIS, MONTE E            3025 STOCKBRIDGE ST                                                                          FLINT              MI 48506‐2164
TRAVIS, MONTE EUGENE       3025 STOCKBRIDGE ST                                                                          FLINT              MI 48506‐2164
TRAVIS, MYRA K             1161 NORMANDY TERRACE DR                                                                     FLINT              MI 48532‐3550
TRAVIS, N LOIS             2280 C C C RD                                                                                DICKSON            TN 37055‐4293
TRAVIS, NORENE D           2123 WHITTIER ST                                                                             SAGINAW            MI 48601‐2265
TRAVIS, PASCAL             GUY WILLIAM S                 PO BOX 509                                                     MCCOMB             MS 39649‐0509
TRAVIS, PAULINE S          224 ELMA ST                                                                                  ANDERSON           IN 46012‐3144
TRAVIS, PAULINE S          224 S ELMA ST                                                                                ANDERSON           IN 46012‐3144
TRAVIS, PRINCESS A         PO BOX 214216                                                                                AUBURN HILLS       MI 48321‐4216
TRAVIS, RICHARD B          4119 DRYDEN DR                                                                               NORTH OLMSTED      OH 44070‐1931
TRAVIS, ROBERT P           208 BASIN DR                                                                                 INWOOD             WV 25428‐3209
TRAVIS, ROBERT W           2069 GRAVEL HILL RD                                                                          COLUMBIA           TN 38401‐1349
TRAVIS, RONAL B            430 WYNGATE DR                                                                               ROCHESTER          MI 48307‐6033
TRAVIS, ROSALIE            860 CAIN RD                                                                                  MT AIRY            NC 27030‐7451
TRAVIS, ROY C              1296 IVES AVE                                                                                BURTON             MI 48509‐1551
TRAVIS, SONYA Y            APT 1102                      1235 SOUTH PRAIRIE AVENUE                                      CHICAGO             IL 60605‐3601
TRAVIS, SONYA Y            1235 S PRAIRIE AVE APT 1102                                                                  CHICAGO             IL 60605‐3601
TRAVIS, STEPHEN L          3020 W DAVISON LAKE RD                                                                       OXFORD             MI 48371‐1060
TRAVIS, TERRANCE D         4231 LAPEER RD                                                                               BURTON             MI 48509‐1711
TRAVIS, TERRANCE DOUGLAS   4231 LAPEER RD                                                                               BURTON             MI 48509‐1711
TRAVIS, TERRY L            2219 GLADE ST                                                                                BURTON             MI 48509‐1026
TRAVIS, THOMAS J           16916 ELDAMERE AVE                                                                           CLEVELAND          OH 44128‐1518
TRAVIS, THOMAS J           4359 WHEATLAND DR                                                                            SWARTZ CREEK       MI 48473‐8255
TRAVIS, THOMAS JEROME      4359 WHEATLAND DR                                                                            SWARTZ CREEK       MI 48473‐8255
TRAVIS, TINA L             1638 DARST AVE                                                                               DAYTON             OH 45403
TRAVIS, TRACY A            PO BOX 532                                                                                   VERPLANCK          NY 10596
TRAVIS, W                  GUY WILLIAM S                 PO BOX 509                                                     MCCOMB             MS 39649‐0509
TRAVIS, WALTER C           33 N ANDERSON AVE                                                                            PONTIAC            MI 48342‐2901
TRAVIS, WANDA Y            29729 MATTHEW ST                                                                             WESTLAND           MI 48186‐5134
TRAVIS, WARREN A           4237 NAVAJO TRL                                                                              JAMESTOWN          OH 45335‐1331
TRAVIS, WILLIAM H          3016 W LOBO RDG                                                                              NEW ALBANY         IN 47150‐8502
TRAVIS, YVONNE A           G‐5454 WEBSTER RD                                                                            FLINT              MI 48504
TRAVIS‐TAYLOR, TAMMY J     1, ROUNDWOOD GROVE HUTTON                                            MOUNT BRENTWOOD ES
                                                                                                GREAT BRITAIN CM132NE
TRAVISANO, FRANK           15878 W SUMMERWALK DR                                                                        SURPRISE          AZ   85374‐6144
TRAVISE, ELEANOR I         5305 GARY C DR                APT 34                                                         PRESCOTT          MI   48756
TRAVISE, ELEANOR I         5305 GARY C DR APT 34                                                                        PRESCOTT          MI   48756‐9524
TRAVISON, ALEXANDER        5416 W 138TH PL                                                                              HAWTHORNE         CA   90250
TRAVISON, GEORGE F         3808 SANDLACE CT                                                                             PORT ST LUCIE     FL   34952‐3147
TRAVISTINE MARION          PO BOX 172                                                                                   ROMULUS           MI   48174
TRAVITZ ROBERT             908 POPLAR LN                                                                                LEBANON           PA   17046‐2044
TRAVLEE VANBUREN           433 E JAMIESON ST                                                                            FLINT             MI   48505‐4202
TRAVNIKAR, JOSEPH M        55761 NICKELBY S                                                                             SHELBY TOWNSHIP   MI   48316‐1007
TRAVNIKAR, THERESA D       7257 SILVERWOOD ROAD                                                                         NORTH BRANCH      MI   48461‐9307
TRAVO MATIK/WARREN         30730 RYAN RD                                                                                WARREN            MI   48092‐4954
TRAVONNA R TURNER          1228 N JACKSON ST                                                                            BAY CITY          MI   48708‐5922
TRAVSKY, ALBERT S          2011 BELLE VERNON DR                                                                         ROCHESTER HLS     MI   48309‐2126
                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                           Part 37 of 40 Pg 430 of 901
Name                   Address1                         Address2                          Address3   Address4                City               State Zip
TRAVTZ, WILLIAM        BOONE ALEXANDRA                  205 LINDA DR                                                         DAINGERFIELD        TX 75638‐2107
TRAW, M O              2708 ARROW HGTS DR                                                                                    MARYLAND HGTS       MO 63043‐1725
TRAW, M O              2708 ARROW HEIGHTS DR                                                                                 MARYLAND HTS        MO 63043‐1725
TRAWATHA, DONNA E      6 MOONLIGHT LN                                                                                        WINTER HAVEN        FL 33884‐3209
TRAWEEK JR, ROY J      805 PRINCETON AVE                                                                                     BOSSIER CITY        LA 71112‐2029
TRAWEEK SCOTT J        TRAWEEK, SCOTT J                 16855 WEST BERNARDO DRIVE SUITE                                      SAN DIEGO           CA 92127
                                                        380
TRAWEEK, ALBERT J      14960 HARLESS RD                                                                                      NORTHPORT           AL   35475‐4127
TRAWEEK, DALE A        14960 HARLESS RD                                                                                      NORTHPORT           AL   35475‐4127
TRAWEEK, DESTINY
TRAWEEK, FRANCES C     DONALD RANDALL DONALD & HAMNER   PO BOX 2155                                                          TUSCALOOSA          AL   35403‐2155

TRAWEEK, MICHAEL
TRAWEEK, RANDALL E     LEE WILLIAM L JR                 PO BOX 14047                                                         JACKSON            MS    39236‐4047
TRAWEEK, SCOTT J       MCGEE WILLIAM R LAW OFFICES OF   16855 W BERNARDO DR STE 380                                          SAN DIEGO          CA    92127‐1626
TRAWICK, JAMES L       32980 HARGROVE CT                                                                                     FARMINGTON HILLS   MI    48334‐1961
TRAWICK, JOHN D        PO BOX 231                                                                                            PERDIDO            AL    36562‐0231
TRAWICK, LILLIAN D     14 HAUSMANN COURT                                                                                     MAPLEWOOD          NJ    07040
TRAWICK, NORMA L       509 E WILLIAMSBURG                                                                                    ARLINGTON          TX    76014‐1143
TRAWICK, RODERICK D    1832 CARSON RD                                                                                        BIRMINGHAM         AL    35215
TRAWICK, WILLIAM L     8559 W ELLIS RD                                                                                       DAVISBURG          MI    48350‐2015
TRAWICK, WILLIAM L     9821 THERMAL ST                                                                                       OAKLAND            CA    94605‐4805
TRAWICKI, ALVIN R      5030 N COON ISLAND RD                                                                                 EVANSVILLE         WI    53536‐8603
TRAWICKI, KARL L       7307 N WILDER RD                                                                                      EVANSVILLE         WI    53536‐8347
TRAWINSKI, ROBERT A    7254 SE 173RD ARLINGTON LOOP                                                                          THE VILLAGES       FL    32162‐5333
TRAWLICK RONNIE L      TRAWLICK, RONNIE L               2987 CLAIRMONT RD NE STE 130                                         ATLANTA            GA    30329‐1687
TRAWLICK, RONNIE L     SIMANOVSKY & ASSOCIATES          2987 CLAIRMONT RD NE STE 130                                         ATLANTA            GA    30329‐1687
TRAX, RICHARD V        4642 ST AUGUSTINE RD                                                                                  MONTICELLO         FL    32344‐6837
TRAXEL, ERNEST D       15746 VISCOUNT CIR                                                                                    PORT CHARLOTTE     FL    33981‐3339
TRAXEL, JANET M        8849 S 76TH ST                                                                                        FRANKLIN           WI    53132‐9761
TRAXEL, MARY ANN E     2810 W UPHAM                                                                                          GREENFIELD         WI    53221‐3748
TRAXINGER, SCHERRIL    115 TYLER                                                                                             GRANDVILLE         MI    49418‐2168
TRAXINGER, SCHERRIL    115 TYLER ST SW                                                                                       GRANDVILLE         MI    49418‐2168
TRAXLE MFG             DIV OF LINAMAR CORPORATION       280 SPEEDLINE AVE W                          GUELPH CANADA ON N1H
                                                                                                     1C4 CANADA
TRAXLER FRIEDRICH      SKRAUPSTRASSE 24/29/23                                                        A 1210 VIENNA AUSTRIA
TRAXLER MAX (448303)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD         OH 44067
                                                        PROFESSIONAL BLDG
TRAXLER, ALLEN E       14639 S ISLAND RD                                                                                     COLUMBIA STA       OH    44028‐9712
TRAXLER, GERTRUDE A    159 BROOKWOOD WAY N.                                                                                  MANSFIELD          OH    44906‐2407
TRAXLER, JACK H        5900 COMMERCE RD                                                                                      ORCHARD LAKE       MI    48324‐3202
TRAXLER, JANET E       4650 E CAREY AVE SPACE 58                                                                             LAS VEGAS          NV    89115‐4415
TRAXLER, LUCILLE E     206 S DEAN ST                                                                                         BAY CITY           MI    48706‐4646
TRAXLER, MACON D       322 MAPLE CT                                                                                          KOKOMO             IN    46902‐3633
TRAXLER, MARK T        1505 KINNARD DR                                                                                       FRANKLIN           TN    37064‐3265
TRAXLER, RICHARD L     4353 PARKWOOD DR                                                                                      JANESVILLE         WI    53545‐7821
TRAXLER, SHIRLEY       637 MARKS RD                                                                                          BRUNSWICK          OH    44212
TRAXLER, WILLIAM L     4833 BAXMAN RD                                                                                        BAY CITY           MI    48706‐2656
TRAYCE UTT             3333 BOOKER FARM RD                                                                                   MT PLEASANT        TN    38474‐3024
TRAYCOFF, CHRISTINA    PO BOX 205                                                                                            DESOTO             TX    75123‐0205
TRAYE, RONALD          12324 WILD OAKS CIR                                                                                   SOUTH LYON         MI    48178‐9303
TRAYER PRODUCTS INC    541 E CLINTON ST                                                                                      ELMIRA             NY    14901‐2553
                          09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                Part 37 of 40 Pg 431 of 901
Name                      Address1                           Address2                   Address3   Address4         City               State Zip
TRAYER PRODUCTS INC       MARY BECKER X363                   541 EAST CLINTON ST.                                   SHELBYVILLE         IN 46176
TRAYER PRODUCTS INC       P.O. BOX 88                                                                               ELMIRA              NY 14902‐0088
TRAYER PRODUCTS, INC      MARY BECKER X363                   541 EAST CLINTON ST.                                   SHELBYVILLE         IN 46176
TRAYER, CHARLES A         8672 E BUTTERFLY LN                                                                       WHITE CLOUD         MI 49349‐9575
TRAYER, CURTIS W          11255 TAMIAMI TRL LOT 26                                                                  PUNTA GORDA         FL 33955‐9226
TRAYER, CYNTHIA L         8768 N COUNTY LINE RD                                                                     VESTABURG           MI 48891
TRAYER, FRANKLIN D        742 93RD ST                                                                               NIAGARA FALLS       NY 14304‐3508
TRAYER, RANDY M           3663 W PRATT RD                                                                           DEWITT              MI 48820‐8029
TRAYER, RONALD D          10555 ALYSWORTH RD                                                                        BEULAH              MI 49617‐8704
TRAYERS EDWARD            117 DELAINE WOODS DRIVE                                                                   IRMO                SC 29063‐8098
TRAYERS, WALTER A         2151 MICKANIN RD                                                                          N HUNTINGDON        PA 15642‐8711
TRAYKOVICH, CHRISTOPHER   12135 MARLA DR                                                                            WARREN              MI 48093‐1703
TRAYLOR JR, R B           418 DAMON ST                                                                              FLINT               MI 48505‐3732
TRAYLOR JR, VERNON L      10 WALKERN RD                                                                             BALTIMORE           MD 21221‐2212
TRAYLOR, ASHLEY           5627 LEMAY ST                                                                             DETROIT             MI 48213‐3424
TRAYLOR, BEATRICE         5202 HIGHWOOD DR                                                                          FLINT               MI 48504‐1220
TRAYLOR, BENNIE C         1038 COACH RD                                                                             HOMEWOOD             IL 60430‐4145
TRAYLOR, BONITA           2638 RAPTOR DRIVE                                                                         ODENTON             MD 21113‐3846
TRAYLOR, BONITA           2638 RAPTOR DR                                                                            ODENTON             MD 21113‐3846
TRAYLOR, BRENDA S         13 RIGHT ELEVATOR DR                                                                      MIDDLE RIVER        MD 21220‐4537
TRAYLOR, CAROLYNN N       4013 PROCTOR WOODS LN                                                                     CARY                NC 27518
TRAYLOR, CHARLES M        454 DAVIS MILL RD S                                                                       DALLAS              GA 30157‐5962
TRAYLOR, CHRISTINE M      933 LINCOLN RD                                                                            GROSSE POINTE       MI 48230‐1207
TRAYLOR, DANNY E          705 JEFF DR                                                                               KOKOMO              IN 46901
TRAYLOR, DONALD           1212 BARBARA DR                                                                           FLINT               MI 48505‐2548
TRAYLOR, DONALD J         3018 VAN AKEN BLVD                                                                        SHAKER HTS          OH 44120‐2817
TRAYLOR, EARL T           11725 W 99TH TER                                                                          OVERLAND PARK       KS 66214‐2436
TRAYLOR, ELEANOR          2201 PAIUTE MEADOWS DR                                                                    LAS VEGAS           NV 89134
TRAYLOR, HENRY B          P.O. BOX 310 584                                                                          FLINT               MI 48501
TRAYLOR, JAMES            2638 RAPTOR DR                                                                            ODENTON             MD 21113‐3846
TRAYLOR, JAMES R          805 W ROSELAWN ST                                                                         DANVILLE             IL 61832‐1608
TRAYLOR, JEROME           PO BOX 91                                                                                 SYCAMORE            GA 31790‐0091
TRAYLOR, JUSTIN
TRAYLOR, KYLEESHIA M      4682 WALFORD RD APT 1                                                                     CLEVELAND          OH   44128‐5108
TRAYLOR, LAURANCE D       3421 CARRIAGE HILL DR                                                                     FOREST HILL        TX   76140‐1237
TRAYLOR, LAVERN           5221 TOKAY DR                                                                             FLINT              MI   48507‐2916
TRAYLOR, LAVERN           5221 TOKAY                                                                                FLINT              MI   48507‐2916
TRAYLOR, MARVIN           500 W KUMP ST                                                                             BONNER SPRINGS     KS   66012‐1440
TRAYLOR, MARY L           705 JEFF DR                                                                               KOKOMO             IN   46901
TRAYLOR, MATTIE           207 BROWN ST                                                                              LAGRANGE           GA   30240
TRAYLOR, OCIE L           APT 1701                           2600 WHISPER MEADOW LANE                               ARLINGTON          TX   76006‐3328
TRAYLOR, OLLIE M.         24566 WESTMORELAND                                                                        FARMINGTON HILLS   MI   48336‐1958
TRAYLOR, PATRICIA T       4903 WESTCHESTER DR UNIT 2                                                                YOUNGSTOWN         OH   44515‐6523
TRAYLOR, PATRICIA T       4903 WESTCHESTER DR.               SUITE 2                                                YOUNGSTOWN         OH   44515‐6523
TRAYLOR, PAUL K           8921 S 42ND ST                                                                            FRANKLIN           WI   53132‐9367
TRAYLOR, ROBERT           PO BOX 526                         286 ORCHARD ISLAND RD                                  RUSSELLS POINT     OH   43348‐0526
TRAYLOR, RONALD E         2509 TOBY RD                                                                              ORION              MI   48359‐1574
TRAYLOR, RUBY E           9626 YEAKEL AVE                                                                           CLEVELAND          OH   44104‐3434
TRAYLOR, SAMUEL           4429 OAK ST                                                                               LOWELLVILLE        OH   44436‐9745
TRAYLOR, SAMUEL A         140 BYRAM BLVD                                                                            MARTINSVILLE       IN   46151‐1317
TRAYLOR, SHANE J          9580 COTTAGE GROVE AVE                                                                    LAKEVIEW           OH   43331‐9424
TRAYLOR, SONJA B          885 FAIRFAX ST                                                                            YOUNGSTOWN         OH   44505‐3911
                           09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                             Part 37 of 40 Pg 432 of 901
Name                       Address1                             Address2                        Address3          Address4              City              State Zip
TRAYLOR, SONYA C           2260 HIDDEN FOREST DR                                                                                        GRAND BLANC        MI 48439‐7368
TRAYLOR, SUE C             1426 S 50TH ST                                                                                               KANSAS CITY        KS 66106‐1726
TRAYLOR, SYLVIA            9531 S EMERALD AVE                                                                                           CHICAGO             IL 60628‐1025
TRAYLOR, SYLVIA            9531 S. EMERALD                                                                                              CHICAGO             IL 60628‐1025
TRAYLOR, SYLVIA S          127 SHEPHERD DR                                                                                              CHESTERFIELD       IN 46017‐1545
TRAYLOR, TEAYA S           329 EDGEWATER PINES DR SW                                                                                    WARREN             OH 44481‐9677
TRAYLOR, TEAYA S           4603 RHODE ISLAND DR                                                                                         AUSTINTOWN         OH 44515‐4417
TRAYLOR, TOMMIE L          5049 EMERSON AVE                                                                                             SAINT LOUIS        MO 63120‐2320
TRAYLOR, VERA M            13601 GARDEN RD                                                                                              EAST CLEVELAND     OH 44112‐3125
TRAYLOR, WILLIAM C         2811 STRICKLAND SPRINGS RD                                                                                   WASKOM             TX 75692‐5409
TRAYLOR, WILLIAM CRAIG     2811 STRICKLAND SPRINGS RD                                                                                   WASKOM             TX 75692‐5409
TRAYLOR, WILLIAM E         6350 92ND PL APT 2204                                                                                        PINELLAS PARK      FL 33782‐4624
TRAYLOR, WILLIE G          11400 S MAY ST                                                                                               CHICAGO             IL 60643‐4532
TRAYLOR, ZINNIE M          927 SOUTH 13TH STREET                                                                                        SAGINAW            MI 48601‐2208
TRAYNOR MICHAEL            TRAYNOR, MICHAEL                     2325 GRANT BUILDING 310 GRANT                                           PITTSBURGH         PA 15219
                                                                STREET
TRAYNOR, CARL J            PO BOX 222                           7653 BEVERLY LN                                                         MARION            MI   49665‐0222
TRAYNOR, GERALD A          9761 SW 101ST PL                                                                                             OCALA             FL   34481‐9582
TRAYNOR, MARGARET S        817 HILLERMAN LN                                                                                             KETTERING         OH   45429‐5430
TRAYNOR, MARGERY M         2736 SHARE ST.                                                                                               SPRINGFIELD       OH   45505‐5505
TRAYNOR, MARGERY M         2736 SHARE ST                                                                                                SPRINGFIELD       OH   45505‐2743
TRAYNOR, NORENE C          2617 OLD HICKORY CT                                                                                          HERMITAGE         PA   16148‐7325
TRAYNOR, RUTH E            3214 N ALTADENA AVE                                                                                          ROYAL OAK         MI   48073‐3556
TRAYTE, RONALD W           6208 NELWOOD RD                                                                                              PARMA HEIGHTS     OH   44130‐2333
TRAYTON GOLDEN
TRAYVICK JR, EDDIE L       710 OSMOND AVE                                                                                               DAYTON            OH   45417‐1560
TRAYVICK, CHARMAINE R      3234 LAKEVIEW AVE                                                                                            DAYTON            OH   45408‐1555
TRAYVICK, JUDY V           8723 MARDI GRAS DR                                                                                           DAYTON            OH   45424‐1039
TRAYVICK, KAREN D          1509 FLOWERS CREEK DR                                                                                        MCDONOUGH         GA   30253‐3975
TRAYVICK, KAREN D          2111 FLOWERS CREEK DR                                                                                        MCDONOUGH         GA   30253‐3998
TRAYWICK, DANIEL E         3271 ROLSTON RD                                                                                              FENTON            MI   48430‐1031
TRBOVIC, SAMUEL            28606 DENISE ST                                                                                              MADISON HEIGHTS   MI   48071‐2985
TRC                        21 GRIFFIN RD N                                                                                              WINDSOR           CT   06095‐1512
TRC CO INC                 ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX                                                                  PHILADELPHIA      PA   19178‐3878
                           AGENT
TRC COMPANIES, INC.        GREG HOBBS                           21 GRIFFIN RD N                                                         WINDSOR           CT 06095‐1512
TRC ENVIRON/LOWELL         BOTT MILLS SOUTH                     FOOT OF JOHN ST.                                                        LOWELL            MA 01852
TRC PERFORMANCE LTD        1020 TOY AVE                                                                           PICKERING CANADA ON
                                                                                                                  L1W 3P1 CANADA
TRC RACING LLC             5600 MAYFAIR RD                                                                                              NORTH CANTON      OH   44720‐1539
TRC RAVIV ASSOCIATES INC   57 E WILLOW ST                                                                                               MILLBURN          NJ   07041‐1416
TRC TOOL INDUSTRIES INC    800 BEECHMONT ST                                                                                             DEARBORN          MI   48124‐1569
TRC‐ENVIRONMENTAL CORP     5 WATERSIDE CROSSING                                                                                         WINDSOR           CT   06095
TRCKA, BARBARA L           203 BROOKSIDE BLVD                                                                                           HINCKLEY          OH   44233‐9644
TRD USA INC                GARY BOLER                           TOYOTA RACING DEVELOPMENT USA 1382 VALENCIA AVE                         MOUNT STERLING    KY   40353

TRE VAIL EVANS             16005 BRYCE AVE                                                                                              CLEVELAND         OH   44128‐3239
TREACHER, HARRY C          2479 BLENHEIM AVE                                                                                            ALLIANCE          OH   44601‐4552
TREACY GREG                1555 GRANGER RD                                                                                              ORTONVILLE        MI   48462‐9150
TREACY, GREGORY J          1555 GRANGER RD                                                                                              ORTONVILLE        MI   48462‐9150
TREACY, PHILIP E           22300 PETERSBURG AVE                                                                                         EASTPOINTE        MI   48021‐2682
TREAD LIGHTLY              298 24TH ST STE 325                                                                                          OGDEN             UT   84401
                                09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                    Part 37 of 40 Pg 433 of 901
Name                            Address1                             Address2                    Address3   Address4         City              State Zip
TREADAWAY, JAMES R              23704 LUMBERJACK TRL                                                                         ATLANTA            MI 49709‐9786
TREADAWAY, NEVIN B              3812 STOCK RD SW                                                                             MONROE             GA 30656‐8602
TREADEAU, DELBERT D             2418 KINGSTON ST                                                                             ARLINGTON          TX 76015‐1410
TREADS & CARE TIRE CO.          1312 W HIGHWAY 30                                                                            GONZALES           LA 70737‐5007
TREADSTONE TECHNOLOGIES, INC.   201 WASHINGTON RD.                                                                           PRINCETON          NJ 08540
TREADWAY TINA                   TREADWAY, TINA                       23103 ALABAMA HWY 24                                    TRINITY            AL 35673
TREADWAY, ANNABELLE L           304 GRAY LN                                                                                  MOUNT PLEASANT     TN 38474‐1077
TREADWAY, BARBARA M             13645 IRENE ST                                                                               SOUTHGATE          MI 48195‐1835
TREADWAY, BRUCE A               7396 MORRISH RD                                                                              SWARTZ CREEK       MI 48473‐7624
TREADWAY, CARL S                236 KINTYRE DR                                                                               OXFORD             MI 48371‐6024
TREADWAY, CLYDE E               7457 POE ST                                                                                  DETROIT            MI 48206‐2632
TREADWAY, DALE O                2870 PINE KNOLL DR APT 300A                                                                  AUBURN HILLS       MI 48326‐3783
TREADWAY, DEBORAH               109 BLACKWOOD DRIVE                                                                          SUMMERTOWN         TN 38483
TREADWAY, DONALD L              1201 PERRYSVILLE AVE                                                                         GEORGETOWN          IL 61846‐6067
TREADWAY, HAROLD E              7352 COUNTY ROAD 287A                                                                        PUXICO             MO 63960‐7336
TREADWAY, HERBERT               101 CHELSEA DR                                                                               ERWIN              TN 37650‐8908
TREADWAY, IDA M                 20299 GLASTONBURY RD                                                                         DETROIT            MI 48219‐1518
TREADWAY, JAMES L               2369 RILEY CENTER RD                                                                         RILEY              MI 48041‐1708
TREADWAY, JAMES O               1623 W 1650 N                                                                                SUMMITVILLE        IN 46070‐9678
TREADWAY, JOE T                 4086 NICHOLS RD                                                                              SWARTZ CREEK       MI 48473‐8511
TREADWAY, JOHN C                3258 TRINITY MILL CIR                                                                        DACULA             GA 30019‐1038
TREADWAY, JUDITH A              1005 S BASSWOOD CIR #1005                                                                    BLOOMINGTON        IN 47403‐5843
TREADWAY, JUDITH A              1005 SOUTH BASSWOOD CIRCLE                                                                   BLOOMIONGTON       IN 47403
TREADWAY, MARCELLA L            7396 S MORRISH RD                                                                            SWARTZ CREEK       MI 48473‐7624
TREADWAY, MICHAEL C             2552 DAVID ST                                                                                MELVINDALE         MI 48122‐1922
TREADWAY, MICHAEL CASEY         2552 DAVID ST                                                                                MELVINDALE         MI 48122‐1922
TREADWAY, MICHAEL E             129 WARD DR                                                                                  WINTERSVILLE       OH 43953‐4213
TREADWAY, PATRICIA A            8008 NW 19TH ST                                                                              OKLAHOMA CITY      OK 73127‐1128
TREADWAY, PAUL                  906 HIGHWAY 11 S.                                                                            BEATTYVILLE        KY 41311‐7532
TREADWAY, RONALD R              304 GRAY LN                                                                                  MT PLEASANT        TN 38474‐1077
TREADWAY, SEAB                  2616 E FIFTH                                                                                 DAYTON             OH 45403‐2636
TREADWAY, SEAB                  2616 E 5TH ST                                                                                DAYTON             OH 45403‐2636
TREADWAY, STEVEN A              2507 MISTY ROSE LN                                                                           LOGANVILLE         GA 30052‐5014
TREADWAY, TINA                  23103 AL HIGHWAY 24                                                                          TRINITY            AL 35673‐4348
TREADWELL DONALD                PO BOX 1108                                                                                  PEARLAND           TX 77588‐1108
TREADWELL JOHN III              TREADWELL, BEVERLY                   370 MAIN STREET SUITE 700                               WORCESTER          MA 01608
TREADWELL JOHN III              TREADWELL, JOHN                      370 MAIN ST STE 700                                     WORCESTER          MA 01608‐1750
TREADWELL JR, ALBERT            706 BELLVIEW CT NE                                                                           LEESBURG           VA 20176‐4932
TREADWELL JR, HENRY L           24301 SIMMONS AVE                                                                            SOUTHFIELD         MI 48033‐2425
TREADWELL YORK                  PO BOX 753                                                                                   WILMINGTON         NC 28402‐0753
TREADWELL, BEVERLY              CHRISTOPHER HAYS WOJCIK & MAVRICOS   370 MAIN ST STE 700                                     WORCESTER          MA 01608‐1750

TREADWELL, BILL                 98 TEXAS ST                                                                                  BUFFALO           NY   14215‐3820
TREADWELL, BOBBY E              1720 WESTHAVEN DR SW                                                                         ATLANTA           GA   30311‐2645
TREADWELL, BRENDA M             1712 ESTATES DR                                                                              DETROIT           MI   48206‐2825
TREADWELL, HIRAM E              6220 SHADBURN FERRY RD                                                                       BUFORD            GA   30518‐1318
TREADWELL, JOANNE               3852 W ARTHINGTON ST 1                                                                       CHICAGO           IL   60624
TREADWELL, JOHN                 DAVID WOJCIK                         370 MAIN ST STE 700                                     WORCESTER         MA   01608‐1750
TREADWELL, JOHN                 550 HOWE ST                                                                                  EAST BROOKFIELD   MA   01515‐1913
TREADWELL, LARRY F              23510 MARLOW ST                                                                              OAK PARK          MI   48237‐2492
TREADWELL, MARY                 706 BELLVIEW CRT NE                                                                          LEESBURG          VA   20176
TREADWELL, MARY                 706 BELLVIEW CT NE                                                                           LEESBURG          VA   20176‐4932
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                        Part 37 of 40 Pg 434 of 901
Name                                 Address1                              Address2                    Address3                    Address4                City               State Zip
TREADWELL, MAURICE R                 6336 FOREST AVENUE                                                                                                    HAMMOND             IN 46324‐1013
TREADWELL, OTHEA                     3800 SUMMIT GLEN RD                   C/O WOODGLEN NURSING HOME                                                       DAYTON              OH 45449‐3647
TREADWELL, OTHEA                     C/O WOODGLEN NURSING HOME             3800 SUMMIT GLEN DR                                                             DAYTON              OH 45449‐5449
TREADWELL, PHILIP C                  12393 W MOUNT MORRIS RD                                                                                               FLUSHING            MI 48433‐9253
TREADWELL, ROBERT D                  2255 FULLERTON CIR                                                                                                    INDIANAPOLIS        IN 46214‐2032
TREADWELL, ROBERT DANIEL             2255 FULLERTON CIR                                                                                                    INDIANAPOLIS        IN 46214‐2032
TREADWELL, ROBERT L                  19917 EVERGREEN RD                                                                                                    DETROIT             MI 48219‐2004
TREADWELL, ROBERT R                  10433 MOSHIE LN                                                                                                       SAN ANTONIO         FL 33576‐7984
TREADWELL, RONALD L                  71 CENTRAL ST                                                                                                         BATTLE CREEK        MI 49017‐3703
TREADWELL, RUSSELL T                 5112 FINLAY DR                                                                                                        FLINT               MI 48506‐1571
TREADWELL, RUSSELL THOMAS            5112 FINLAY DR                                                                                                        FLINT               MI 48506‐1571
TREADWELL, VERNITA M                 165 EAST PIKE APT D                                                                                                   PONTIAC             MI 48342
TREAGUE, ARTHUR W                    4740 24TH ST SW                                                                                                       PINE RIVER          MN 56474‐4449
TREAIS, VICTORIA M                   575 WOODWAY CT                                                                                                        BLOOMFIELD          MI 48302‐1574
TREAMON HICKS                        13100 SYRACUSE ST                                                                                                     DETROIT             MI 48212‐2418
TREAMON JACKSON                      PO BOX 299                                                                                                            DAVENPORT           VA 24239‐0299
TREANCA JETT                         3205 SALTER RD                                                                                                        MEMPHIS             TN 38109‐3221
TREANOR, CLARENCE R                  20 FANWOOD DR                                                                                                         NEW CASTLE          DE 19720‐3742
TREANOR, THOMAS S                    5030 SOUTHWICK CIR                                                                                                    LANSING             MI 48917‐4007
TREANOR/PONTIAC                      25 W WALTON BLVD                      P.O. BOX 430796                                                                 PONTIAC             MI 48340‐1157
TREAS ALAMEDA CTY FAM SUPT DIV       FOR ACCT OF S C PEREZ                 PO BOX 2072                                                                     OAKLAND             CA 94604
TREAS KNOTT JR                       8948 WORMER                                                                                                           REDFORD             MI 48239‐1230
TREAS OF VA‐DIV CHILD SUPPORT        FOR ACCOUNT OF BEN E WALKER           PO BOX K199                                                                     RICHMOND            VA 00000
TREAS RANDY (636190) ‐ RANDY TREAS   BRAYTON PURCELL                       PO BOX 6169                                                                     NOVATO              CA 94948‐6169
TREASA BURKE                         8 CABOT PL                                                                                                            ISELIN              NJ 08830‐1311
TREASA GREEN                         PO BOX 681796                                                                                                         CHARLOTTE           NC 28216‐0033
TREASA M FENNIE                      P.O. BOX 1699                                                                                                         NEW BRUNSWICK       NJ 08901
TREASA PLUMB                         7122 WHITE TAIL DR                                                                                                    GRAND BLANC         MI 48439‐9641
TREASE PIONK                         32329 SUSILANE ST                                                                                                     ROSEVILLE           MI 48066‐6911
TREASE, TONY J                       30200 STEPHENSON HWY                                                                                                  MADISON HEIGHTS     MI 48071‐1612
TREASURE BAY, INC.
TREASURE COAST AUTO REPAIR           1815 SW SOUTH MACEDO BLVD                                                                                             PORT SAINT LUCIE   FL   34984‐3427
TREASURE GAINES                      G 5158 CAPRI LANE                                                                                                     FLINT              MI   48507
TREASURE ISLAND INC                  ATTN: DUANE ISAACS                     4250 CHIEF WOODS LN                                                            MORAINE            OH   45439‐2025
TREASURE STATE OF NEW JERSEY         401 E STATE ST                                                                                                        TRENTON            NJ   08608‐1501
TREASURER                            LAKOTA SCHOOL DISTRICT                 5030 TYLERSVILLE RD                                                            WEST CHESTER       OH   45069‐1012
TREASURER                            ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 26585               CHESTERFIELD COUNTY                                 RICHMOND           VA   23261‐6585

TREASURER                            PO BOX 26585                          CHESTERFIELD COUNTY                                                             RICHMOND           VA 23261‐6585
TREASURER ‐ CITY OF TORONTO          PO BOX 5000 STN A                                                                             NORTH YORK ON M2N 5V1
                                                                                                                                   CANADA
TREASURER ‐ STATE OF NEW             JERSEY NJDEP                          DIVIDE OF REVENUE           PO BOX 638                                          TRENTON            NJ 08646‐0638
TREASURER ‐ STATE OF OHIO            OHIO EPA ‐ DIV OF SURFACE WTR         347 N DUNBRIDGE RD          NORTHWEST DISTRICT OFFICE                           BOWLING GREEN      OH 43402‐9398

TREASURER AND TAX COLLECTOR          SAN JOAQUIN COUNTY                    PO BOX 2169                                                                     STOCKTON           CA 95201‐2169
TREASURER BOWLING GREEN KY
TREASURER CITY OF CENTER LINE        7070 E 10 MILE RD                                                                                                     CENTER LINE        MI   48015‐1101
TREASURER CITY OF DETROIT            PO BOX 55000                                                                                                          DETROIT            MI   48255‐0240
TREASURER CITY OF DETROIT            BUSINESS LICENSE CENTER               105 CITY COUNTY BUILDING                                                        DETROIT            MI   48226
TREASURER CITY OF DETROIT            DEPT OF BLDG & SAFETY ENGINEER        402 COLEMAN A YOUNG                                                             DETROIT            MI   48226
TREASURER CITY OF DETROIT            COLEMAN A YOUNG CENTER                2 WOODWARD AVE RM 408                                                           DETROIT            MI   48226
TREASURER CITY OF DETROIT
                                   09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                      Part 37 of 40 Pg 435 of 901
Name                               Address1                              Address2                        Address3   Address4            City               State Zip
TREASURER CITY OF DETROIT          DETROIT FIRE DEPT FIRE MARSHAL        250 W LARNED ST                                                DETROIT             MI 48226
TREASURER CITY OF DETROIT          INCOME TAX                            PO BOX 67000                                                   DETROIT             MI 48267‐1319
TREASURER CITY OF DETROIT          C/O CITY OF DETROIT LAW DEPARTMENT    660 WOODWARD AVE STE 1650                                      DETROIT             MI 48226

TREASURER CITY OF FLINT            PO BOX 2056                                                                                          FLINT              MI 48501‐2056
TREASURER CITY OF FLINT            PO BOX 99                                                                                            FLINT              MI 48501‐0099
TREASURER CITY OF FLINT
TREASURER CITY OF MEMPHIS          125 N MAIN ST STE 375                                                                                MEMPHIS            TN 38103‐2030
TREASURER CITY OF PARMA            6901 W RIDGEWOOD DR                                                                                  PARMA              OH 44129‐6913
TREASURER CITY OF PONTIAC          ACCOUNTS RECEIVABLE                   47450 WOODWARD AVE                                             PONTIAC            MI 48342‐5009
TREASURER CITY OF TORONTO          BOX 6000                                                                         TORONTO CANADA ON
                                                                                                                    M2N 5V3 CANADA
TREASURER CITY OF VIRGINIA BEACH   2401 COURTHOUSE DRIVE                 MUNICIPAL CENTER ‐ BUILDING 1                                  VIRGINIA BCH       VA 23456
TREASURER CRAWFORD COUNTY          PO BOX 96                                                                                            GIRARD             KS 66743‐0096
TREASURER GRAND BLANC CHARTER      5371 S SAGINAW ST                                                                                    GRAND BLANC        MI 48439
TOWNSHIP
TREASURER KANSAS CITY MO
TREASURER LAKE COUNTY              2293 N MAIN ST                                                                                       CROWN POINT        IN   46307‐1854
TREASURER MOUNT PLEASANT           PO BOX 1126                                                                                          KENOSHA            WI   53141‐1126
TREASURER NJDEP                    DIVISION OF REVENUE                    PO BOX 638                                                    TRENTON            NJ   08646‐0638
TREASURER OF ABERDEEN              60 N. PARKE ST.                                                                                      ABERDEEN           MD   21001
TREASURER OF ABERDEEN              PO BOX 576                                                                                           ABERDEEN           MD   21001‐0576
TREASURER OF BENTON COUNTY         706 EAST FIFTH ST.                     SUITE 22                                                      FOWLER             IN   47944
TREASURER OF BLACKFORD COUNTY      PO BOX 453                                                                                           HARTFORD CITY      IN   47348‐0453
TREASURER OF BOONE COUNTY          209 COURTHOUSE SQ                                                                                    LEBANON            IN   46052‐2126
TREASURER OF CASS COUNTY           200 COURT PARK                                                                                       LOGANSPORT         IN   46947
TREASURER OF CLARK COUNTY          501 W. COURT AVE.                      ROOM 125                                                      JEFFERSONVILLE     IN   47130
TREASURER OF CLAY COUNTY           609 E. NATIONAL                        ROOM 101                                                      BRAZIL             IN   47834
TREASURER OF CLINTON COUNTY        220 COURTHOUSE SQ                                                                                    FRANKFORT          IN   46041‐1957
TREASURER OF DAVIESS COUNTY        200 EAST WALNUT S.                     ROOM 103                                                      WASHINGTON         IN   47501
TREASURER OF DEARBORN COUNTY       COUNTY ADMINISTRATION BUILDING                                                                       LAWRENCEBURG       IN   47025
TREASURER OF DUBOIS COUNTY         COURT HOUSE                                                                                          JASPER             IN   47546
TREASURER OF EL PASO COUNTY        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 2018                                                   COLORADO SPRINGS   CO   80901‐2018

TREASURER OF EL PASO COUNTY        PO BOX 2018                                                                                          COLORADO SPRINGS   CO   80901‐2018
TREASURER OF FAYETTE COUNTY        COURTHOUSE                                                                                           CONNERSVILLE       IN   47331
TREASURER OF FLOYD COUNTY          311 W 1ST ST                           113 CITY‐COUNTY BLDG.                                         NEW ALBANY         IN   47150‐3581
TREASURER OF FOUNTAIN COUNTY       301 FOURTH STREET                                                                                    COVINGTON          IN   47932
TREASURER OF FREDERICK COUNTY      PO BOX 220                                                                                           WINCHESTER         VA   22604‐0220
TREASURER OF GIBSON COUNTY         COURT HOUSE                                                                                          PRINCETON          IN   47670
TREASURER OF GLOUCESTER COUNTY     6489 MAIN ST                                                                                         GLOUCESTER         VA   23061‐6102
TREASURER OF HOWARD COUNTY         104 N BUCKEYE ST                                                                                     KOKOMO             IN   46901
TREASURER OF HUNTINGTON COUNTY     COURT HOUSE                                                                                          HUNTINGTON         IN   46750
TREASURER OF JACKSON COUNTY        COURTHOUSE                                                                                           BROWNSTOWN         IN   47220
TREASURER OF JAY COUNTY            COURTHOUSE                                                                                           PORTLAND           IN   47371
TREASURER OF KOSCIUSKO COUNTY      100 W. CENTER ST.                                                                                    WARSAW             IN   46580
TREASURER OF LICKING COUNTY        PO BOX 830                                                                                           NEWARK             OH   43058‐0830
TREASURER OF LOUDOUN COUNTY        PO BOX 347                                                                                           LEESBURG           VA   20178‐0347
TREASURER OF LOUDOUN COUNTY        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1000                                                   LEESBURG           VA   20177‐1000

TREASURER OF LOUDOUN COUNTY        PO BOX 1000                                                                                          LEESBURG           VA 20177‐1000
TREASURER OF MIAMI COUNTY          COURTHOUSE                                                                                           PERU               IN 46970
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                                                        Part 37 of 40 Pg 436 of 901
Name                                 Address1                              Address2                        Address3                  Address4            City             State Zip
TREASURER OF MONTGOMERY              COUNTY COURTHOUSE                     100 E. MAIN ST. ROOM 101                                                      CRAWFORDSVILLE    IN 47933
TREASURER OF NOBLE COUNTY            101 N ORANGE ST                                                                                                     ALBION            IN 46701
TREASURER OF ONTARIO                 33 KING ST., W                                                                                  OSHAWA ON L1H 8E9
                                                                                                                                     CANADA
TREASURER OF ORANGE COUNTY           PO BOX 469                                                                                                          ORANGE           VA    22960‐0276
TREASURER OF PERRY COUNTY            COURTHOUSE SQUARE                     2219 PAYNE STREET                                                             TELL CITY        IN    47586
TREASURER OF POSEY COUNTY            126 E. 3RD ST., COLISEUM                                                                                            MOUNT VERNON     IN    47620
TREASURER OF PULASKI COUNTY          112 E MAIN ST STE 240                                                                                               WINAMAC          IN    46996‐1344
TREASURER OF RANDOLPH COUNTY         100 S MAIN ST                                                                                                       WINCHESTER       IN    47394
TREASURER OF RUSH COUNTY             101 E. 2ND ST.                        COURTHOUSE                                                                    RUSHVILLE        IN    46173
TREASURER OF RUSSELL COUNTY          PO BOX 121                                                                                                          LEBANON          VA    24266‐0121
TREASURER OF SHELBY COUNTY           407 S. HARRISON ST.                   ROOM 100                                                                      SHELBYVILLE      IN    46176
TREASURER OF STATE OF OHIO           PO BOX 27                                                                                                           COLUMBUS         OH    43266‐0001
TREASURER OF STATE OF OHIO           OHIO DEPT OF TAXATION                 PO BOX 2678                                                                   COLUMBUS         OH    43216‐2678
TREASURER OF STATE OF OHIO           C\O DEPT OF TRANSPORTATION            OFFICE OF PAYROLL & FED ACCTG   1980 W BROAD ST 4TH FLR                       COLUMBUS         OH    43223
TREASURER OF STATE OF OHIO           OHIO DEPT OF TAXATION                 PO BOX 182131                                                                 COLUMBUS         OH    43218‐2131
TREASURER OF SULLIVAN COUNTY         COURTHOUSE                                                                                                          SULLIVAN         IN    47882
TREASURER OF THE COMMONWEALTH OF     DEPT OF INDUSTRIAL ACCIDENTS          PO BOX 3732                                                                   BOSTON           MA    02241‐0001
MASSACHUSETTS
TREASURER OF THE COMMONWEALTH OF     ATTN ASSESSMENT PROCESSING            P O BOX 3732                                                                  BOSTON           MA 02241‐0001
MASSACHUSETTS
TREASURER OF THE STATE OF IL         UNCLAIMED PROPERTY DIVISION            PO BOX 19496                                                                 SPRINGFIELD       IL   62794‐9496
TREASURER OF THE STATE OF ILLINOIS   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 19496                                                                 SPRINGFIELD       IL   62794‐9496

TREASURER OF THE STATE OF ILLINOIS   PO BOX 19496                                                                                                        SPRINGFIELD       IL   62794‐9496
TREASURER OF THE STATE OF ILLINOIS   ATTN LEGAL OFFICER/BANKRUPTCY DEPT    PO BOX 19496                                                                  SPRINGFIELD       IL   62794‐9496

TREASURER OF THE STATE OF OHIO       122 S FRONT ST                                                                                                      COLUMBUS         OH    43215‐3425
TREASURER OF THE STATE OF OHIO       347 N DUNBRIDGE RD                                                                                                  BOWLING GREEN    OH    43402‐9398
TREASURER OF THE STATE OF OHIO       DEPT L‐2711                                                                                                         COLUMBUS         OH    43260‐2711
TREASURER OF TIPPECANOE COUNTY       20 N 3RD ST                                                                                                         LAFAYETTE        IN    47901‐1205
TREASURER OF TIPTON COUNTY           PAYEE 208525                                                                                                        TIPTON           IN    46072
COURTHOUSE
TREASURER OF VA DIV C S E            ACCT OF MERVIN A PLEASANT III         PO BOX 570                                                                    RICHMOND         VA    23218‐0570
TREASURER OF VIGO COUNTY             191 OAK ST                                                                                                          TERRE HAUTE      IN    47807‐3438
TREASURER OF VIRGINIA                DIVISION OF CS ENFORCEMENT            PO BOX 570                                                                    RICHMOND         VA    23218‐0570
TREASURER OF VIRGINIA                STATE CORPORATION COMMISSION          PO BOX 85022                   CLARK'S OFFICE                                 RICHMOND         VA    23285‐5022
TREASURER OF VIRGINIA                DIVISION OF UNCLAIMED PROPERTY        PO BOX 2478                                                                   RICHMOND         VA    23218‐2478
TREASURER OF VIRGINIA                COMMONWEALTH OF VIRGINIA              DIVISION OF UNCLAIMED PROPERTY PO BOX 2478                                    RICHMOND         VA    23218
                                     DEPARTMENT OF THE TREASURY
TREASURER OF VIRGINIA                COMMONWEALTH OF VIRGINIA              DEPARTMENT OF THE TREASURY     PO BOX 2478                                    RICHMOND         VA 23218‐2478
                                                                           DIVISION OF UNCLAIMED PROPERTY

TREASURER OF VIRGINIA, CSEA          ACCT OF JOHN T HILL                   PO BOX 570                                                                    RICHMOND         VA    23218‐0570
TREASURER OF WARREN COUNTY           COURTHOUSE                                                                                                          WILLIAMSPORT     IN    47993
TREASURER OF WAYNE COUNTY            401 E MAIN ST                                                                                                       RICHMOND         IN    47374
TREASURER OF WELLS COUNTY            COURTHOUSE                                                                                                          BLUFFTON         IN    46714
TREASURER PUTNAM COUNTY              COURTHOUSE SQUARE                     ROOM 22                                                                       GREENCASTLE      IN    46135
TREASURER SAN JOAQUIN COUNTY         PO BOX 2169                                                                                                         STOCKTON         CA    95201‐2169
TREASURER STATE OF CONNECTICUT       WORKERS COMP COMMISSION               55 ELM ST STE 5                                                               HARTFORD         CT    06106‐1752
TREASURER STATE OF ILLINOIS,         HAZARDOUS WASTE FUND, LENZ OIL        PO BOX 19276                                                                  SPRINGFIELD      IL    62794‐9276
TREASURER STATE OF IOWA
                                      09-50026-mg                 Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                             Part 37 of 40 Pg 437 of 901
Name                                  Address1                              Address2                        Address3                     Address4            City           State Zip
TREASURER STATE OF IOWA               UNCLAIMED PROPERTY DIVISION           666 WALNUT ST STE 700                                                            DES MOINES       IA 50309‐3950
TREASURER STATE OF NEW HAMPSHIRE      25 CAPITOL ST RM 205                  ABANDONED PROPERTY DIVISION                                                      CONCORD         NH 03301‐6312

TREASURER STATE OF NEW JERSEY         UNCLAIMED PROPERTY DIVISION           PO BOX 214                                                                       TRENTON         NJ   08646‐0214
TREASURER STATE OF NEW JERSEY         NJ DEP OF TREASURY                    DIVIDE OF REVENUE               PO BOX 417                                       TRENTON         NJ   08646‐0417
TREASURER STATE OF NEW JERSEY         DEPT OF ENVIR PROTECT & ENERGY        BUR STORMWATER PERMIT CN 423                                                     TRENTON         NJ   08625

TREASURER STATE OF NEW JERSEY         DIV FIRE SAFETY                       PO BOX 809                                                                       TRENTON         NJ   08625‐0809
TREASURER STATE OF NEW JERSEY         AIR QUALITY PERMITTING PROGRAM        PO BOX 27                                                                        TRENTON         NJ   08625‐0027
TREASURER STATE OF NEW JERSEY         380 SCOTCH RD                                                                                                          TRENTON         NJ   08646‐0001
TREASURER STATE OF NEW JERSEY         DEPT OF ENV PROTECTION                501 E STATE ST                                                                   TRENTON         NJ   08609‐1101
TREASURER STATE OF NEW JERSEY NJDEP   PO BOX 27                                                                                                              TRENTON         NJ   08625‐0027

TREASURER STATE OF NEW JERSEY NJDEP   CN417 HAZARD WASTE REG PROG                                                                                            TRENTON         NJ   08625
BUREAU OF REVENUE
TREASURER STATE OF NEW JERSEY NJDEP   PO BOX 638                                                                                                             TRENTON         NJ   08646‐0638
DIVISION OF REVENUE
TREASURER STATE OF OHIO               OHIO DEPT OF HEALTH REVENUE           PO BOX 15278                    PROC RADIOLOGIC TECH 2526                        COLUMBUS       OH 43215‐0278

TREASURER STATE OF OHIO               C/O OHIO EPA                          DEPT L‐2711                                                                      COLUMBUS       OH 43260‐2711
TREASURER STATE OF OHIO               OHIO DEPT OF COMMERCE                 6606 TUSSING RD                 DIV OF STATE FIRE MARSHALL                       REYNOLDSBURG   OH 43068‐4004

TREASURER STATE OF OHIO               DEPT OF CONSTRC COMPLIANCE            6606 TUSSING RD                 PRESSURE PIPING                                  REYNOLDSBURG   OH    43068‐4004
TREASURER STATE OF OHIO               OHIO DEPT OF PUBLIC SAFETY            PO BOX 16521                                                                     COLUMBUS       OH    43216‐6521
TREASURER STATE OF OHIO               BOILER SECTION                        6606 TUSSING RD                                                                  REYNOLDSBURG   OH    43068‐4004
TREASURER STATE OF OHIO               OHIO STATE BOARD OF PHARMACY          77 S HIGH ST RM 1702                                                             COLUMBUS       OH    43215‐6108
TREASURER STATE OF OHIO               OHIO DEPARTMENT OF HEALTH             PO BOX 15278                    REVENUE PROCESSING                               COLUMBUS       OH    43215‐0278
TREASURER STATE OF OHIO
TREASURER STATE OF OHIO               DEPT OF COMMERCE                      6606 TUSSING RD                                                                  REYNOLDSBURG   OH    43068‐4004
TREASURER STATE OF OHIO               OHIO EPA                              ADF‐REV ID677320                DEPT L‐2711                                      COLUMBUS       OH    43260‐2711
TREASURER STATE OF OHIO               DEPT OF TRANSPORTATION                25 S FRONT ST                                                                    COLUMBUS       OH    43215‐4176
TREASURER STATE OF OHIO               PO BOX 1049                                                                                                            COLUMBUS       OH    43216‐1049
TREASURER STATE OF OHIO               OHIO EPA OFFICE OF FISCAL             PO BOX 1049                     ADMINISTRATION GEN                               COLUMBUS       OH    43216‐1049
                                                                                                            ACCOUNT SEC
TREASURER STATE OF OHIO FUND 615      ODNR DIV OF WATER DAM SAFETY          2045 MORSE RDUPDATE 6/7/05 AM                                                    COLUMBUS       OH 43229

TREASURER STATE OF TENNESSEE          PO BOX 198649                                                                                                          NASHVILLE      TN 37219‐8649
TREASURER TOWN OF BRATTLEBORO         230 MAIN ST STE 111                                                                                                    BRATTLEBORO    VT 05301‐2872
TREASURER, CITY OF BLAIR              122 URBERG ST                         P.O. BOX 147                                                                     BLAIR          WI 54616‐6300
TREASURER, CITY OF FLINT
TREASURER, CITY OF OWENSBORO, KY
TREASURER, CITY OF PONTIAC
TREASURER, STATE OF OHIO              6606 TUSSING RD                        DIVISION OF INDUSTRIAL         P.O. BOX 4009                                    REYNOLDSBURG   OH 43068‐4004
                                                                             COMPLIANCE, FISCAL BEDDING
TREASURER, STATE OF OHIO              ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 6606 TUSSING RD                DIVISION OF INDUSTRIAL     P.O. BOX 4009         REYNOLDSBURG   OH 43068‐4004
                                                                                                            COMPLIANCE, FISCAL BEDDING

TREASURER, STATE OF VERMONT           PO BOX 20                                                                                                              MONTPELIER      VT   05620‐2601
DEPARTMENT OF PUBLIC SERVICE
TREASURER/NASHVILL                    TN DEPT OF HEALTH & ENVIRONMENT       6TH FLOOR CORDELL HULL BLDG.                                                     NASHVILLE      TN 37219
TREASURERS OFFICE                     241 W SOUTH ST                                                                                                         KALAMAZOO      MI 49007‐4707
TREASURERS OFFICE                     DELTA CHARTER TOWNSHIP                7710 W SAGINAW HWY                                                               LANSING        MI 48917‐8974
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                         Part 37 of 40 Pg 438 of 901
Name                                 Address1                         Address2                        Address3   Address4               City              State Zip
TREASURY DEPT                        100 N SAGINAW ST                                                                                   PONTIAC            MI 48342‐2178
TREAT KENNY                          PO BOX 702                                                                                         DURANT             OK 74702‐0702
TREAT WILLIAM J JR (481311)          KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                     CLEVELAND          OH 44114
                                                                      BOND COURT BUILDING
TREAT, DANIEL Y                      3317 HAYNES DR                                                                                     SPRING HILL       TN   37174‐2840
TREAT, DONALD L                      4440 DIEBOLD RANCH RD                                                                              WEST BRANCH       MI   48661‐9657
TREAT, JON W                         1195 ESSEX DR                                                                                      ROCHESTER HILLS   MI   48307‐3137
TREAT, KAREN M                       2785 W SYCAMORE DR                                                                                 COLUMBIA CITY     IN   46725‐9539
TREAT, MARTIN L                      120 POPLAR DR                                                                                      INTERLACHEN       FL   32148‐4106
TREAT, MARTIN L                      319 WHISPER LN                                                                                     XENIA             OH   45385‐5385
TREAT, PAMELA D                      1195 ESSEX DR                                                                                      ROCHESTER HILLS   MI   48307‐3137
TREAT, PATRICIA S                    319 WHISPER LN                                                                                     XENIA             OH   45385‐4872
TREAT, RICHARD E JR.                 29 BEAVER HEAD RD                                                                                  GUILFORD          CT   06437‐1017
TREAT, RICHARD L                     809 CLARICE LN                                                                                     BOULDER CITY      NV   89005
TREAT, STEVEN M                      607 CHESTNUT ST                                                                                    JANESVILLE        WI   53548‐4701
TREAT, STEVEN M                      607 CHESTNUT                                                                                       JANESVILLE        WI   53546
TREAT, TERRY A                       2826 SANDHURST                                                                                     ROCHESTER HILLS   MI   48307‐4553
TREAT, WILLIAM J                     KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                      CLEVELAND         OH   44114
                                                                      BOND COURT BUILDING
TREATA WHALEN                        10300 GLENDALE AVE                                                                                 CLIO              MI   48420‐1610
TREATER, DOLORES D                   1384 BINGHAM AVE NW                                                                                WARREN            OH   44485‐2420
TREATER, DOLORES D                   1384 BINGHAM N.W.                                                                                  WARREN            OH   44485‐2420
TREBA E LANDIS                       5212 SABRA AVENUE                                                                                  DAYTON            OH   45424‐4363
TREBATOSKI, MYRON R                  7470 S SHEPARD AVE                                                                                 OAK CREEK         WI   53154‐2215
TREBBY, MARY                         539 GREENWICH LANE                                                                                 GRAND BLANC       MI   48439‐1024
TREBEC, FRANK S                      349 CR 4557                                                                                        WINNSBORO         TX   75494
TREBEC, FRANK S                      349 COUNTY ROAD 4557                                                                               WINNSBORO         TX   75494‐6755
TREBEL, SHIRLEY J                    PO BOX 1561                                                                                        CLEARLAKE OAKS    CA   95423‐1561
TREBER TERRY (650553)                LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                      HOUSTON           TX   77069
TREBER, JOHN V                       1808 HWY 1383                                                                                      RUSSELL SPRINGS   KY   42642‐8751
TREBER, JOHN V                       1808 HIGHWAY 1383                                                                                  RUSSELL SPRINGS   KY   42642‐8751
TREBES, ALFRED J                     PO BOX 958                                                                                         SUTTER CREEK      CA   95685‐0958
TREBESH, DENNIS S                    PO BOX 9022                      C/O ADAM OPEL PKZ:R2‐08                                           WARREN            MI   48090‐9022
TREBESH, GERALDINE D                 1101 E BALDWIN LAKE DR                                                                             GREENVILLE        MI   48838‐8113
TREBICH VENICE M                     15045 PINE VALLEY TRL                                                                              CLEVELAND         OH   44130‐5526
TREBILCOCK, RICHARD G                1645 W 5TH ST                                                                                      ASHTABULA         OH   44004‐2833
TREBOL MOTORS INC                    P.O. BOX 29241                                                              SAN JUAN PUERTO RICO
TREBONI, WANDA G                     1414 FIRWOOD DR                                                                                    COLUMBUS          OH   43229‐3435
TREBOR INDUSTRIES INC                PO BOX 513                                                                                         OWOSSO            MI   48867‐0513
TREBOTICH RITA E                     3900 PECAN CT                                                                                      CIBOLO            TX   78108
TREBUS, ROGER                        1514 GYPSY LN                                                                                      NILES             OH   44446‐3202
TRECAPELLI, ANTHONY A                4393 SOUTHACRE LN                                                                                  ROCHESTER         MI   48306‐4641
TRECATE, ISOLINA                     33 HILLWOOD DR                                                                                     S CHEEKTOWAGA     NY   14227‐3217
TRECEK AUTOMOTIVE OF PORTAGE, INC.   DENNIS TRECEK                    1350 E WISCONSIN ST                                               PORTAGE           WI   53901‐2502

TRECEK AUTOMOTIVE OF PORTAGE, INC.   1350 E WISCONSIN ST                                                                                PORTAGE           WI 53901‐2502

TRECHA, COLLEEN G                    312 GREEN AVE                                                                                      BAY CITY          MI   48708‐6887
TRECHA, MARGARET T                   1115 DOWLING PL                                                                                    OWOSSO            MI   48867‐9022
TRECHA, MICHAEL J                    312 GREEN AVE                                                                                      BAY CITY          MI   48708‐6887
TRECHA, RUDOLPH J                    5134 ELM ST                                                                                        GLENNIE           MI   48737‐9788
TRECHTER, CAROLYN G                  14790 LOCHINVAR CT                                                                                 DALLAS            TX   75254‐7526
                                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                           Part 37 of 40 Pg 439 of 901
Name                                    Address1                          Address2                       Address3                     Address4           City                  State Zip
TRECIA PIERCE                           17611 DESHANE AVE                                                                                                NOBLESVILLE            IN 46060‐8800
TREDEAU, MARGARET                       9995 W NORTH AVE APT 258                                                                                         WAUWATOSA              WI 53226‐2512
TREDENNICK, JAMES E                     162 CROSS HIGHWAY                                                                                                REDDING                CT 06896‐2101
TREDER, DONALD D                        6591 NW 150TH ST                                                                                                 CHIEFLAND              FL 32626‐5633
TREDER, MICHAEL J                       8050 PLEASANTVIEW DR                                                                                             CLARKSTON              MI 48348‐3970
TREDGEOU, MARIA                         111 E 21ST AVE                                                                                                   PINE BLUFF             AR 71601‐6601
TREDGEOU, MARIA                         111 EAST 21ST AVE                                                                                                PINE BLUFF             AR 71601‐6601
TREDINNICK EARL III (661272)            LIPSITZ & PONTERIO                135 DELAWARE AVE , SUITE 506                                                   BUFFALO                NY 14202‐2416
TREDINNICK, EARL                        LIPSITZ & PONTERIO                135 DELAWARE AVE, SUITE 506                                                    BUFFALO                NY 14202‐2410
TREDWAY FREDRICK (ESTATE OF) (662176)   BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                                    WILMINGTON             DE 19899‐2165

TREDWAY SYLVESTER EDWARD (468175)       BELLUCK & FOX LLP                 63 PERRY ST APT 15                                                             NEW YORK              NY 10014‐3241

TREDWAY, AUDRA
TREDWAY, DAYNA
TREDWAY, DONALD C                       14392 SZYMONIAK HWY                                                                                              MILLERSBURG           MI 49759
TREDWAY, FERN
TREDWAY, JAMES P                        50030 HELFER BLVD                                                                                                WIXOM                 MI 48393‐3228
TREDWAY, JOHNNY                         ARRAZOLO LAW PC                   715 TIJERAS AVE NW                                                             ALBUQUERQUE           NM 87102‐3076
TREDWAY, JOHNNY                         RAGAN JAMES B PC                  723 COLEMAN AVE                                                                CORPUS CHRISTI        TX 78401‐3414
TREDWAY, JOSHUA C
TREDWAY, LARAMI
TREDWAY, RALPH R                        7570 WOODWIND CT                                                                                                 BRIGHTON              MI 48116‐4727
TREDWAY, SYLVESTER EDWARD               BELLUCK & FOX LLP                 63 PERRY ST APT 15                                                             NEW YORK              NY 10014‐3241
TREDWELL, RONNELL M                     10004 KIRK DR                                                                                                    YUKON                 OK 73099‐8327
TREDYFFRIN TOWNSHIP                     C/O KEYSTONE TAX BUREAU
TREDYFFRIN TOWNSHIP POLICE              DEP                               1100 DUPORTAIL RD                                                              BERWYN                PA 19312‐1079
TREE EXPERTS TREE SVC                   61 CALHOUN ST SW                                                                                                 GRAND RAPIDS          MI 49548‐3113
TREE HOUSE KIDS, INC.
TREE, NONNABELLE J                      PO BOX 111                                                                                                       ELWELL                MI 48832
TREECA J DYER, GUARDIAN OF THE ESTATE   HALEY CHRISTY, AN INCAPACITATED   BOSWELL TUCKER & BREWSTER      ATTN: DENNIS K DAVIS, ATTY   PO BOX 798         BRYANT                AR 72089‐0798
OF                                      PERSON
TREECE, BOBBY G                         6631 FLOYD ST                                                                                                    DETROIT               MI   48210‐1160
TREECE, BONNIE G                        5788 STRATHDON WAY                                                                                               WATERFORD             MI   48327‐2051
TREECE, CHARLES D                       136 N WASHINGTON ST                                                                                              LAPEER                MI   48446‐1807
TREECE, DEBORAH L                       4047 KENDALL                                                                                                     DETROIT               MI   48238
TREECE, DENISE M                        15853 HANOVER AVE                                                                                                ALLEN PARK            MI   48101‐2737
TREECE, FRED J                          3264 W FARRAND RD                                                                                                CLIO                  MI   48420‐8883
TREECE, HAL D                           PO BOX 1295                                                                                                      ETOWAH                NC   28729‐1295
TREECE, HAROLD L                        1363 W KNOX RD                                                                                                   BEAVERTON             MI   48612‐8601
TREECE, ISABELLA C                      1903 BIRKDALE DR                                                                                                 COLUMBUS              OH   43232‐3023
TREECE, JASON C                         57037 STONEBRIAR DR                                                                                              WASHINGTON TOWNSHIP   MI   48094‐3167
TREECE, JERALD W                        4623 BOB DAVIS MOUNTAIN RD                                                                                       PLEASANT GROVE        AR   72567‐9100
TREECE, KENNETH D                       223 BENJAMIN ST                                                                                                  ROMEO                 MI   48065‐5103
TREECE, LARRY E                         3002 ANTELOPE DR                                                                                                 WESTON                WI   54476‐6678
TREECE, LOUISE L                        1705 SUNSET DR                                                                                                   KEARNEY               MO   64060
TREECE, MARGARET FAY                    604 S LINDEN AVE                                                                                                 WAYNESBORO            VA   22980‐3539
TREECE, MARVIN L                        930 BALD EAGLE LAKE RD                                                                                           ORTONVILLE            MI   48462‐8435
TREECE, MARY                            1306 JOHN L DR                                                                                                   MONROE                MI   48162‐2815
TREECE, MARY                            5418 FERN AVE                                                                                                    GRAND BLANC           MI   48439‐4320
TREECE, MERLE A                         7649 W ASTER DR                                                                                                  PEORIA                AZ   85381‐9070
TREECE, NORMAN E                        70400 DEQUINDRE RD                                                                                               BRUCE TWP             MI   48065‐4011
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                         Part 37 of 40 Pg 440 of 901
Name                                Address1                          Address2                        Address3        Address4            City               State Zip
TREECE, ROLAND F                    15401 HUBBELL ST                                                                                      DETROIT             MI 48227‐2947
TREECE, WENDY L                     324 N. DILLWYN RD.                                                                                    NEWARK              DE 19711‐5505
TREECE, WILLIAM J                   324 N DILLWYN RD                                                                                      NEWARK              DE 19711‐5505
TREECE‐BACON KEMLIN                 12386 CARRIAGE TRAIL DR                                                                               DAVISBURG           MI 48350‐1604
TREECE‐BACON, KEMLIN                PO BOX 218                                                                                            DAVISBURG           MI 48350‐0218
TREEF                               TENNESSEE ASSOCIATION REALTORS    PO BOX 121149                   TAR EDUC DEPT                       NASHVILLE           TN 37212‐1149
TREEHOUSE MEDIA SERVICES INC        1501 BROADWAY STE 900                                                                                 NEW YORK            NY 10036‐5501
TREEND, EDWARD E                    3960 S. STATELINE RD.                                                                                 POST FALLS          ID 83854
TREER, STEVEN A                     9376 SAW MILL DR                                                                                      NORTH RIDGEVILLE    OH 44039‐9753
TREERS, RITA J                      39 CLARKSON AVE                                                                                       MASSENA             NY 13662‐1758
TREES, FLOYD F                      7937 E LANDERSDALE RD                                                                                 CAMBY               IN 46113
TREES, KATHLEEN H                   8813 MADISON AVE APT 310D                                                                             INDIANAPOLIS        IN 46227‐6481
TREESE, HARRY A                     85 HARNAGY ST                                                                                         BEREA               OH 44017‐2452
TREESE, JACK E                      118W CHESTNUT STREET                                                                                  EAST ROCHESTER      NY 14445
TREESH, DOYLE T                     355 CHADWICK PL                                                                                       JASPER              GA 30143‐7032
TREESH, RONALD W                    461 E 300 N                                                                                           ANDERSON            IN 46012‐1211
TREFETHREN, CAROL A                 1820 JAMBOREE DR                                                                                      RENO                NV 89521‐4058
TREFF TIRE CENTRE                   2293 CARLING AVE.                                                                 OTTAWA ON K2B 7G3
                                                                                                                      CANADA
TREFF, ALBERT                       21026 155TH ST                                                                                        BASHOR             KS   66007‐3050
TREFFERT, BONNIE W                  2475 HENN HYDE RD.                                                                                    CORTLAND           OH   44410‐9448
TREFFERT, JANET                     3917 MERIWETHER RD                                                                                    SHREVEPORT         LA   71109‐8615
TREFFERT, JIMMIE L                  2475 HENN HYDE RD                                                                                     CORTLAND           OH   44410‐9448
TREFFLEY BOURCIER                   7823 GATHINGS DR                                                                                      FORT WAYNE         IN   46816‐2760
TREFFLEY BOURCIER                   1026 S HURON RD                                                                                       KAWKAWLIN          MI   48631‐9461
TREFIL JR, THOMAS                   107 W TOWNSEND RD                                                                                     SAINT JOHNS        MI   48879‐9200
TREFIL, JOYCE                       521 W ALLOR ST                                                                                        PERRINTON          MI   48871‐9507
TREFIL, JOYCE                       521 WEST ALLOR STREET                                                                                 PERRINTON          MI   48871
TREFIL, ROBERT K                    11859 SPENCER RD                                                                                      SUMNER             MI   48889‐9602
TREFRY, LOUIS M                     8663 TRAILS RUN RD                                                                                    INDIANAPOLIS       IN   46217‐4671
TREFRY, MARILYN A                   PO BOX 1725                                                                                           VERADALE           WA   99037‐1725
TREFSGER, RONALD E                  1200 POPLAR ST                                                                                        KULPMONT           PA   17834‐1614
TREFT, JUSTIN ALLEN                 8907 TIMBERMILL RUN                                                                                   FORT WAYNE         IN   46804
TREFZ, DAVID L                      3136 DORF DR                                                                                          MORAINE            OH   45418‐2905
TREFZGER III, EDWIN W               42 MARGARET ST                                                                                        ROCHESTER          NY   14619‐2113
TREGASKISS                          PO BOX 33167                                                                                          DETROIT            MI   48232‐5167
TREGEA, GERALD E                    120 WESTMAR DR                                                                                        ROCHESTER          NY   14624‐2542
TREGEMBO, JOHN D                    11333 ASPEN DR                                                                                        PLYMOUTH           MI   48170‐4526
TREGENA HARRIS                      150 RICE AVE                                                                                          BELLWOOD           IL   60104‐1239
TREGENZA JR, W K                    155 CEDARWALD DR                                                                                      ROCHESTER          MI   48306‐2823
TREGENZA JR, W KENNETH              155 CEDARWALD DR                                                                                      ROCHESTER          MI   48306‐2823
TREGENZA, ARTHUR R                  10081 E TAOS DR                                                                                       SCOTTSDALE         AZ   85262‐5184
TREGLER, WILLIAM D                  7109 RICHMOND AVE                                                                                     DARIEN             IL   60561‐4114
TREGLOWN, BLAIR L                   330 VINEWOOD CT                                                                                       YPSILANTI          MI   48198‐4019
TREGLOWN, MERYL E                   1050 WEST CENTER STREET                                                                               ALMA               MI   48801‐2144
TREGLOWNE, RICHARD L                8164 WHITEFIELD ST                                                                                    DEARBORN HTS       MI   48127‐1121
TREGNAGO JIMMIE A (467095)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510
                                                                      STREET, SUITE 600
TREGNAGO, JIMMIE A                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510‐2212
                                                                      STREET, SUITE 600
TREGO DANIEL (ESTATE OF) (489272)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH 44067
                                                                      PROFESSIONAL BLDG
                               09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                   Part 37 of 40 Pg 441 of 901
Name                           Address1                         Address2            Address3         Address4         City            State Zip
TREGO JR., JAMES W             40 GRANITE DR                                                                          PORT DEPOSIT     MD 21904‐1272
TREGO TOLEDO SERVICES LLC      PO BOX 546                                                                             WALBRIDGE        OH 43465‐0546
TREGO, DON L                   338 N DILLWYN RD                                                                       NEWARK           DE 19711‐5505
TREGO, GREGG A                 403 SUWANNEE CT                                                                        BEAR             DE 19701‐4806
TREGO, GREGG ALLEN             403 SUWANNEE CT                                                                        BEAR             DE 19701‐4806
TREGO, JOSEPH H                7905 E PICCADILLY RD                                                                   MUNCIE           IN 47302‐8646
TREGO, JOSEPH HOWARD           7905 E PICCADILLY RD                                                                   MUNCIE           IN 47302‐8646
TREGO, MARCELLA M              328 N DILLWYN RD                                                                       NEWARK           DE 19711‐5505
TREGO, MARCELLA M              328 NORTH DILLWYN ROAD                                                                 NEWARK           DE 19711‐5505
TREGO, RUTH J                  4715 KISSIMMEE PARK ROAD                                                               SAINT CLOUD      FL 34772
TREGO, TIMOTHY E               44 HOLLY LN                                                                            NEWARK           DE 19711‐3903
TREGRE, ANTOINETTE M           3753 SCOFIELD ST                                                                       METAIRIE         LA 70002‐1508
TREHAN, MARY M                 393 PARISH AVE                                                                         HUBBARD          OH 44425‐1958
TREHARN, JAMES                 983 BENTON RD                                                                          SALEM            OH 44460‐1405
TREHARN, KAREN S               1851 CELESTE CIR                                                                       YOUNGSTOWN       OH 44511‐1007
TREHARN, ROBERT L              2960 COLLINGWOOD PL                                                                    YOUNGSTOWN       OH 44515‐5369
TREHARNE ENGINEERED SALES CO   425 OLEAN RD                                                                           EAST AURORA      NY 14052‐9744
TREHARNE, ANGELINE P           739 GARY DR                                                                            HUBBARD          OH 44425‐1232
TREHARNE, LYNNE R              1922 FRENCH CREEK DR                                                                   TROY             MI 48098‐6613
TREHARNE, RICHARD T            6300 SUNSET CT                                                                         STANWOOD         MI 49346‐9332
TREHEARNE, EARL E              100 N GRANDE AVE                                                                       MUNCIE           IN 47303‐4342
TREHEARNE, KENT                1532 W 5TH ST                                                                          ANDERSON         IN 46016‐1024
TREIB INC                      850 S OUTER DR                                                                         SAGINAW          MI 48601‐6504
TREIB, DONALD F                3590 RUE FORET APT 105                                                                 FLINT            MI 48532‐2843
TREIB, DONALD FREDERICK        3590 RUE FORET APT 105                                                                 FLINT            MI 48532‐2843
TREIB, RACHELLE M              G1368 N. MORRISH ROAD                                                                  FLINT            MI 48532
TREIBER, ALBERT H              79 SCARBOROUGH PL                                                                      TOMS RIVER       NJ 08757‐4616
TREIBER, BART J                16988 BRADNER RD                                                                       NORTHVILLE       MI 48168‐3601
TREIBER, BRETT A               2208 BOLDT ST                                                                          DEARBORN         MI 48124‐2431
TREIBER, CHARLES R             6635 S TIPP COWLESVILLE RD                                                             TIPP CITY        OH 45371‐8996
TREIBER, GREGG A               7553 ABRAHAM CT                                                                        DAYTON           OH 45414‐1719
TREIBER, JOSEPH A              1482 TWINRIDGE RD                                                                      SANTA BARBARA    CA 93111‐1223
TREIBER, MARION A              C/O JILL A HOPPE                 4030 ALLEN COURT                                      BAY CITY         MI 48706
TREIBER, MARION A              4030 ALLEN COURT                                                                       BAY CITY         MI 48706‐2464
TREIBER, NANCY                 48 NAUTILUS DR                                                                         BRICK            NJ 08723‐7236
TREIBER, ROBERT B              2366 GEORGELAND TRL                                                                    DAYTON           OH 45459
TREIBER, ROBERT C              1037 BRISTOL DR                                                                        VANDALIA         OH 45377‐2951
TREIBER, RUTH C                1037 BRISTOL DR                                                                        VANDALIA         OH 45377‐5377
TREIBER, VIRGINIA M            2250 IVY CREST DR                                                                      BELLBROOK        OH 45305‐1856
TREIBLEY, JOAN M               2701 PALMER AVE                                                                        BRISTOL          PA 19007‐5804
TREIBLY, EDWIN R               1303 SWING GATE RD                                                                     WESTFIELD        PA 16950‐8861
TREIBLY, EVELYN L              1303 SWING GATE RD                                                                     WESTFIELD        PA 16950‐8861
TREICHEL, GARY L               10909 HART HWY                                                                         DIMONDALE        MI 48821‐9560
TREICHEL, GERHARDT G           5169 N OAK RD                                                                          DAVISON          MI 48423‐9305
TREICHEL, ROBERT D             4341 DUPRIE RD                                                                         STANDISH         MI 48658‐9404
TREICHLER, JAMES D             8344 COUNTY RT 16                                                                      ANGELICA         NY 14709
TREICHLER, KAREN               304 S CHURCH ST                                                                        ADAMS            TN 37010‐4775
TREIDE, CLEMENCIA B            900 DAWSON AVE                                                                         LONG BEACH       CA 90804‐4539
TREIGER, GERALDINE M           532 BURROUGHS                                                                          FLINT            MI 48507‐2713
TREIGER, GERALDINE M           532 BURROUGHS AVE                                                                      FLINT            MI 48507‐2713
TREIGER, PAUL W                7205 NICOLE DR                                                                         SOUTH BRANCH     MI 48761‐9654
TREINA FORD                    PO BOX 336                                                                             WELLSTON         OK 74881‐0336
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                   Part 37 of 40 Pg 442 of 901
Name                             Address1                       Address2                          Address3   Address4         City               State Zip
TREINEN, HAROLD W                705 S COOPER ST                                                                              NEW SMYRNA BEACH    FL 32169‐2940
TREINEN, MATTHEW C               220 N MARION AVE                                                                             JANESVILLE          WI 53548‐3350
TREINEN, TED A                   2027 N POLZIN RD                                                                             JANESVILLE          WI 53548‐9389
TREINEN, VINCENT E               320 S PEARL ST                                                                               JANESVILLE          WI 53548‐4524
TREINEN, VINCENT M               9204 W SEEMAN RD                                                                             EVANSVILLE          WI 53536‐8730
TREISCH, GEORGE J                366 WILLARD AVE SE                                                                           WARREN              OH 44483‐6238
TREISCH, GEORGE J                366 WILLARD S.E.                                                                             WARREN              OH 44483‐6238
TREITERER, YVONNE                N6814 AVATAIA TRL                                                                            ELKHORN             WI 53121‐3500
TREITLINE SHERYL                 1404 EMPIRE RD # C                                                                           DICKINSON           ND 58601‐3617
TREJL LEONEL                     823 S WHEATLEY ST                                                                            RIDGELAND           MS 39157‐5002
TREJO IRMA (660528)              COONEY & CONWAY                120 NORTH LASALLE STREET , 30TH                               CHICAGO              IL 60602
                                                                FLOOR
TREJO OIL COMPANY INC            PO BOX 6118                                                                                  MESA               AZ   85216‐6118
TREJO, ANTHONY R                 2538 CARSON ST                                                                               DETROIT            MI   48209‐1071
TREJO, ARMANDO                   124 N TELEGRAPH RD                                                                           PONTIAC            MI   48341‐1168
TREJO, CHRISTOP S                3893 IRIS DR                                                                                 WATERFORD          MI   48329‐1116
TREJO, DAVID                     5026 NW WOODSIDE DR                                                                          RIVERSIDE          MO   64150‐3641
TREJO, EDDIE                     1828 W HARVARD AVE                                                                           FRESNO             CA   93705‐4341
TREJO, EDWARD                    43555 HIGHWAY 41 UNIT A16                                                                    OAKHURST           CA   93644‐8566
TREJO, ELIAS                     2332 CENTER PL S                                                                             BIRMINGHAM         AL   35205‐6724
TREJO, GUADALUPE                 316 HICKORY AVENUE                                                                           ROMEOVILLE         IL   60446‐1630
TREJO, GUADALUPE                 GARCIA RAMON LAW OFFICES       222 W UNIVERSITY DR                                           EDINBURG           TX   78539‐3301
TREJO, GUADALUPE                 KIMBALL WILLIAM                312 E VAN BUREN AVE                                           HARLINGEN          TX   78550‐6832
TREJO, HECTOR                    13947 VAN NUYS BLVD                                                                          ARLETA             CA   91331‐4543
TREJO, IRMA                      COONEY & CONWAY                120 NORTH LASALLE STREET, 30TH                                CHICAGO            IL   60602
                                                                FLOOR
TREJO, JANIE S                   1076 RIVER VALLEY DRIVE                                                                      LAKE ORION         MI   48362‐3485
TREJO, JOEL                      9209 DOROTHY AVE                                                                             SOUTH GATE         CA   90280‐5101
TREJO, JOHN M                    1814 EVERGLADES DR                                                                           MILPITAS           CA   95035‐6610
TREJO, JOSE ANTONIO              3418 WEST 64TH STREET                                                                        CHICAGO            IL   60629‐3728
TREJO, JULIE                     299 LAKE MEADOW DR                                                                           WATERFORD          MI   48327‐1785
TREJO, MARTHA A                  10007 LAUREL CANYON BLVD                                                                     PACOIMA            CA   91331‐3948
TREJO, MICHAEL J                 693 N HAY LAKE RD                                                                            EAGAN              MN   55123‐3021
TREJO, RAMIRO R                  1400 SW 131ST WAY APT 408                                                                    PEMBROKE PINES     FL   33027‐2472
TREJO, ROBERT                    310 BROOK DR APT 2                                                                           CASTROVILLE        TX   78009
TREJO, SILVIA                    7623 CANTERCHASE CT APT 1B                                                                   FORT WAYNE         IN   46804‐2316
TREJO, SILVIA                    3418 W 54TH ST                                                                               CHICAGO            IL   60629‐3728
TREJO, WILLIAM C                 PO BOX 214792                                                                                AUBURN HILLS       MI   48321‐4792
TREK TRANSPORTATION SYSTEM INC   PO BOX 29                                                                                    JACKSON            MI   49204‐0029
TREKAS, LEE F                    3118 E PUEBLO AVE                                                                            MESA               AZ   85204‐3908
TRELA SMITH                      9999 SILBERHORN HWY                                                                          RIGA               MI   49276‐9779
TRELA, CASIMIR H                 6872 NIGHTINGALE ST                                                                          DEARBORN HTS       MI   48127‐2133
TRELA, JOAN                      6872 NIGHTINGALE                                                                             DEARBORN HEIGHTS   MI   48127‐2133
TRELA, JOHN A                    868 JAMESPORT DR                                                                             TOMS RIVER         NJ   08753‐3645
TRELENA CARMACK                  406 INDIANA AVE                                                                              MANSFIELD          OH   44905‐2518
TRELEVEN, DORA LEE               980 JONES DR                                                                                 SALEM              OH   44460‐3508
TRELLA, KENNETH S                152 CHARLOTTE TER                                                                            ROSELLE PARK       NJ   07204‐2441
TRELLEBORG AB                    BECKY JOHNSON                  2991 GILBERT LN                                               CENTRAL LAKE       MI   49622
TRELLEBORG AB                    JON HARST                      2991 GILBERT LN                                               CENTRAL LAKE       MI   49622
TRELLEBORG AB                    MIKE GAIRDNER                  2991 GILBERT LN                                               CENTRAL LAKE       MI   49622
TRELLEBORG AB
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                      Part 37 of 40 Pg 443 of 901
Name                             Address1                          Address2                       Address3                     Address4                 City              State Zip
TRELLEBORG AB                    1 RUE DU TERTRE                   ZI DE NANTES                                                CARQUEFOU FR 44470
                                                                                                                               FRANCE
TRELLEBORG AB                    102 INDUSTRIAL AVE                                                                                                     CARMI              IL   62821‐2261
TRELLEBORG AB                    180 DAWSON ST                                                                                                          SANDUSKY           MI   48471‐1034
TRELLEBORG AB                    3408 US HIGHWAY 60 E                                                                                                   MORGANFIELD        KY   42437‐6622
TRELLEBORG AB                    400 AYLWORTH AVE                                                                                                       SOUTH HAVEN        MI   49090‐1707
TRELLEBORG AB                    BECKY JOHNSON                     4275 ARCO LANE                                                                       INKSTER            MI
TRELLEBORG AB                    BERGSTR 63 A                                                                                  HOEHR‐GRENZHAUSEN RP
                                                                                                                               56203 GERMANY
TRELLEBORG AB                    CARRETERA DE CAN BROS 4                                                                       MARTORELL BARCELONA
                                                                                                                               8760 SPAIN
TRELLEBORG AB                    ERBACHER STR 50                                                                               BREUBERG HE 64747
                                                                                                                               GERMANY
TRELLEBORG AB                    FRANSKA VAGEN 18B                                                                             KALMAR 39354 SWEDEN
TRELLEBORG AB                    GORDON MICALLESX208               JOHN CRANE ELAST SEALS N.A.    2498 ROLL DRIVE STE 908                               MADISON HEIGHTS    MI 48071
TRELLEBORG AB                    HOLBROOK LN                                                                                   CONVENTRY WEST
                                                                                                                               MIDLANDS CV6 4QX GREAT
                                                                                                                               BRITAIN
TRELLEBORG AB                    JON HARST                         102 INDUSTRIAL AVE             CARMI DIVISION                                        CARMI              IL 62821‐2261
TRELLEBORG AB                    JON HARST                         180 DAWSON ST                  SANDUSKY DIVISION                                     SANDUSKY           MI 48471‐1034
TRELLEBORG AB                    JON HARST                         3408 US HIGHWAY 60 E           WESTERN KENTUCKY DIVISION                             MORGANFIELD        KY 42437‐6622

TRELLEBORG AB                    JON HARST                         CARMI DIVISION                 102 INDUSTRIAL AVE           NOGENT‐LE‐ROTROU
                                                                                                                               FRANCE
TRELLEBORG AB                    JON HARST                         CARRETERA TOLUCA‐NAUCALPAN     CALLE 3‐108 PARQUE IND KM    TOLUCA EM 52060 MEXICO
                                                                                                  52.8
TRELLEBORG AB                    JON HARST                         SANDUSKY DIVISION              180 N. DAWSON ST.                                     AUBURN HILLS       MI 48326
TRELLEBORG AB                    JON HARST                         TRELLEBORG AUTOMOTIVE UK LTD   HOLBROOK LANE                RAMOS ARIZPE CZ 25900
                                                                                                                               MEXICO
TRELLEBORG AB                    JON HARST                         WESTERN KENTUCKY DIVISION      3408 HWY 60 E., INDUSTRIAL                            TORRANCE           CA 90503
                                                                                                  PAR
TRELLEBORG AB                    MIKE GAIRDNER                     1856 CORPORATE DR, STE 135                                                           LIVONIA            MI 48150
TRELLEBORG AB                    NO 36 XINMEI ROAD NEW ZONE        WUXI JIANGSU PRC                                            WUXI 214112 CHINA
                                                                                                                               (PEOPLE'S REP)
TRELLEBORG AB                    HENRY DUNKERS GATA 2                                                                          TRELLEBORG, 23122
                                                                                                                               SWEDEN
TRELLEBORG AUTOMOTIVE            JON HARST                         TRELLEBORG AUTOMOTIVE UK LTD   HOLBROOK LANE                RAMOS ARIZPE CZ 25900
                                                                                                                               MEXICO
TRELLEBORG AUTOMOTIVE            ERBACHER STRABE 50                                                                            BREUBERG D‐64747
                                                                                                                               GERMANY
TRELLEBORG AUTOMOTIVE            400 AYLWORTH AVE                                                                                                       SOUTH HAVEN        MI 49090‐1707
TRELLEBORG AUTOMOTIVE (UK) LTD   HOLBROOK LN                                                                                   CONVENTRY WEST
                                                                                                                               MIDLANDS CV6 4QX GREAT
                                                                                                                               BRITAIN
TRELLEBORG AUTOMOTIVE FRANCE     1 RUE DU TERTRE                                                                               CARQUEFOU F‐44470
                                                                                                                               FRANCE
TRELLEBORG AUTOMOTIVE GERMANY    BERGSTR 63 A                                                                                  HOEHR‐GRENZHAUSEN RP
GMBH                                                                                                                           56203 GERMANY
TRELLEBORG AUTOMOTIVE GERMANY    ERBACHER STR 50                                                                               BREUBERG HE 64747
GMBH                                                                                                                           GERMANY
TRELLEBORG AUTOMOTIVE SPAIN SA   CARRETERA DE CAN BROS 4                                                                       MARTORELL BARCELONA
                                                                                                                               8760 SPAIN
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                         Part 37 of 40 Pg 444 of 901
Name                                Address1                          Address2                        Address3                     Address4               City                   State Zip
TRELLEBORG AUTOMOTIVE UK LTD        HOLBROOK LANE                     CV6 4QX COVENTRY                                             COVENTRY CV6 4QX GREAT
                                                                                                                                   BRITAIN
TRELLEBORG HORDA AB                 KASTANJEVAGEN 6                                                                                RYDAHOLM S 330 17
                                                                                                                                   SWEDEN
TRELLEBORG MONARCH INC              61 STATE ROUTE 43                                                                                                     HARTVILLE              OH 44632‐9511
TRELLEBORG POLYSPACE SA             1 RUE DU TERTRE                   ZI DE NANTES                                                 CARQUEFOU FR 44470
                                                                                                                                   FRANCE
TRELLEBORG RUBORE AB                FRANSKA VAGEN 18B                                                                              KALMAR 39354 SWEDEN
TRELLEBORG RUBORE INC               400 AYLWORTH AVE                                                                                                      SOUTH HAVEN             MI 49090‐1707
TRELLEBORG SEALING SOLUTIONS        BECKY JOHNSON                     4275 ARCO LANE                                                                      INKSTER                 MI
TRELLEBORG SEALING SOLUTIONS INC    AKA DOWTY POLYMERS INC            4275 ARCO LN                                                                        NORTH CHARLESTON        SC 29418
TRELLEBORG SILCOFAB                 335 WOODLAWN RD WEST                                                                           GUELPH CANADA ON N1H
                                                                                                                                   7K9 CANADA
TRELLEBORG WHEEL SYSTEMS AMERICAS   61 STATE ROUTE 43                                                                                                     HARTVILLE              OH 44632‐9511
INC
TRELLEBORG YSH INC                  3408 US HIGHWAY 60 E                                                                                                      MORGANFIELD         KY   42437‐6622
TRELLEBORG YSH INC                  400 AYLWORTH AVE                                                                                                          SOUTH HAVEN         MI   49090‐1707
TRELLEBORG YSH INC                  102 INDUSTRIAL AVE                                                                                                        CARMI               IL   62821‐2261
TRELLEBORG YSH INC                  180 DAWSON ST                                                                                                             SANDUSKY            MI   48471‐1034
TRELLEBORG YSH INC.                 JON HARST                         3408 US HIGHWAY 60 E            WESTERN KENTUCKY DIVISION                               MORGANFIELD         KY   42437‐6622

TRELLEBORG YSH INC.                 JON HARST                         WESTERN KENTUCKY DIVISION       3408 HWY 60 E., INDUSTRIAL                              TORRANCE            CA 90503
                                                                                                      PAR
TRELLEBORG YSH INC.                 JON HARST                         CARMI DIVISION                  102 INDUSTRIAL AVE           NOGENT‐LE‐ROTROU
                                                                                                                                   FRANCE
TRELLEBORG YSH INC.                 JON HARST                         102 INDUSTRIAL AVE              CARMI DIVISION                                          CARMI               IL   62821‐2261
TRELLEBORG YSH SA DE CV             JON HARST                         CARRETERA TOLUCA‐NAUCALPAN      CALLE 3‐108 PARQUE IND KM                               BARTLETT            IL   60103
                                                                                                      52.8
TRELLEBORG YSH SA DE CV             KM 52 8 CARRETERA TOLUCA‐         NAUCALPAN CALLE 3# 108 PARQUE   INDUSTRIAL TOLUCA 2000       ESTADO DE MEXICO
                                                                                                      TOLUCA                       MEXICO
TRELLEBORG YSH, INC.                JON HARST                         SANDUSKY DIVISION               180 N. DAWSON ST.                                       AUBURN HILLS        MI   48326
TRELLEBORG YSH, INC.                JON HARST                         TRELLEBORG AUTOMOTIVE           US HWY 31 & 100 NORTH                                   PERU                IN   46970
TRELLEBORG YSH, INC.                JON HARST                         180 DAWSON ST                   SANDUSKY DIVISION                                       SANDUSKY            MI   48471‐1034
TRELLEBORG‐RUBORE INC               MIKE GAIRDNER                     1856 CORPORATE DR, STE 135                                                              LIVONIA             MI   48150
TRELLEBORG/ N CHARLE                4275 ARCO LANE                                                                                                            N CHARLESTON        SC   29418
TRELLEBORG/BLOOMFIEL                445 ENTERPRISE CT.                                                                                                        BLOOMFIELD HILLS    MI   48302
TRELLEBORG/FRANCE                   17 RUE DU MOULIN FLORENT          B.P. 11                                                      WITRY‐LES‐REIMS FR S1420
                                                                                                                                   FRANCE
TRELLEBORG/GUELPH                   335 WOODLAWN RD. WEST                                                                          GUELPH ON N1H 7K9
                                                                                                                                   CANADA
TRELLEBORG/SOUTH HAV                3324 COBBLE ST                    ATTN: MIKE GARBER                                                                       NASHVILLE          TN    37211‐7912
TRELLEBORG/STH HAVEN                445 ENTERPRISE COURT                                                                                                      BLOOMFIELD HILLS   MI    48302
TRELLESS CHAPPELL                   201 E OLLIE ST                                                                                                            MALDEN             MO    63863‐2342
TRELLI, ANN J                       102 SE 39TH ST                                                                                                            CAPE CORAL         FL    33904
TRELLI, CAROL M                     PO BOX 187                                                                                                                PORT CLINTON       OH    43452‐0187
TRELLI, LUCILLE F                   143 HULL ST                                                                                                               BRISTOL            CT    06010‐6878
TRELLI, PAUL                        3905 SE 1ST PL                                                                                                            CAPE CORAL         FL    33904‐4858
TRELLI, VERA R                      121 DOWD AVE APT 20                                                                                                       CANTON             CT    06019‐2461
TRELLIS SOFTWARE & CONTROLS INC     2619 PRODUCT DR STE 106                                                                                                   ROCHESTER HILLS    MI    48309‐3807
TRELLUE, HILDA V                    PO BOX 10982                      C/O EDWIN D TRELLUE III                                                                 MARINA DEL REY     CA    90295‐6982
TRELLY, DAVID G                     1148 YORK ST                                                                                                              HONEOYE FALLS      NY    14472‐9418
TRELOAR JAY (652488)                BRAYTON PURCELL                   PO BOX 6169                                                                             NOVATO             CA    94948‐6169
                             09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                              Part 37 of 40 Pg 445 of 901
Name                         Address1                           Address2                  Address3   Address4              City                  State Zip
TRELOAR, JAMES L             WEST 324 NORTH 8243 NORTHCREST D                                                              HARTLAND               WI 53029
TRELOAR, JAY                 BRAYTON PURCELL                    PO BOX 6169                                                NOVATO                 CA 94948‐6169
TRELOAR, NYLE L              PO BOX 775                                                                                    NASHVILLE              MI 49073‐0775
TRELOAR, PAULINE B           115 PERSIMMON DR                                                                              YORKTOWN               VA 23693‐5569
TRELOAR, TIMOTHY A           109 W WALLACE AVE                                                                             NEW CASTLE             PA 16101‐2248
TRELON CORLEW                8802 S COUNTY ROAD 500 W                                                                      REELSVILLE             IN 46171‐9680
TREMAGNA LLC                 7202A 35TH STREET WEST                                                                        UNIVERSITY PL          WA 98466‐4421
TREMAIN LYN                  443 N REINWAY AVE                                                                             WATERFORD              CA 95386‐9618
TREMAIN, BARBARA J           31490 CORTE RIMOLA                                                                            TEMECULA               CA 92592‐3607
TREMAIN, CHRISTOPHER F       143 BAY CIRCLE DR                                                                             HOLLAND                MI 49424‐6607
TREMAIN, JAMES R             1252 EDDY RD                                                                                  BEAVERTON              MI 48612‐8574
TREMAIN, LARRY R             7000 N FISK CT                                                                                KANSAS CITY            MO 64151‐1643
TREMAIN, MARION L            2487 FOURMILE ROAD N                                                                          TRAVERSE CITY          MI 49686
TREMAIN, MICHAEL O           5712 WILLOW HWY                                                                               GRAND LEDGE            MI 48837‐8970
TREMAIN, ROBERT L            10730 EMPEROR COURT                                                                           SODDY DAISY            TN 37379‐3885
TREMAIN, TERESA L            2429 E DODGE RD                                                                               CLIO                   MI 48420‐9748
TREMAIN, THOMAS M            11332 WINDING WOOD CT                                                                         INDIANAPOLIS           IN 46235‐9751
TREMAINE STEPHENS            10359 N CHERRY DR                                                                             KANSAS CITY            MO 64155‐1973
TREMAINE, CHARLES L          115 E ANDOVER AVE                                                                             MUNCIE                 IN 47303‐1202
TREMAINE, MICHELE M          5000 TOWN CTR APT 2706                                                                        SOUTHFIELD             MI 48075‐1117
TREMARI, A                   364 MAIN ST                                                                                   PORT MONMOUTH          NJ 07758‐1044
TREMATERRA ROBERT            6366 SMOKE TREE AVE                                                                           OAK PARK               CA 91377‐1233
TREMATORE, JOSEPH M          1229 GRAHAM ST                                                                                SIMI VALLEY            CA 93065‐1942
TREMAYNE FAGAN               48550 FREESTONE DR                                                                            NORTHVILLE             MI 48168‐8007
TREMAYNE L FLOWERS           1143 BROOKE PARK DR                                                                           TOLEDO                 OH 43612‐4217
TREMAYNE TUCKER
TREMBA, LESLIE A             7501 JAGUAR DR                                                                                YOUNGSTOWN            OH   44512‐5307
TREMBA, ZELMIRA              2446 BREAKWATER CIR                                                                           SARASOTA              FL   34231‐5510
TREMBATH, WILLIAM R          14268 EASTVIEW DR                                                                             FENTON                MI   48430‐1306
TREMBLAY DON & ASSOCIATES    603 WATERS BLDG                    161 OTTAWA NW                                              GRAND RAPIDS          MI   49503
TREMBLAY MOTORS LTD.(6734)   1505 WEST 3RD AVE.                                                      VANCOVER BC V6J 3J8
                                                                                                     CANADA
TREMBLAY TOOL STEELS INC     8111 ROLL AND HOLD PKWY                                                                       MACEDONIA             OH   44056‐2146
TREMBLAY TOOL STEELS INC     TRIMET ENGINEERING DIV             8111 ROLL AND HOLD PKWY                                    MACEDONIA             OH   44056‐2146
TREMBLAY, ALBERT E           5432 MAPLE PARK DRIVE              APT 2                                                      FLINT                 MI   48507
TREMBLAY, CHRISTOPHER R      7499 PARADISE DR                                                                              GRAND BLANC           MI   48439‐7100
TREMBLAY, DANIEL P           4368 QUEENS WAY                                                                               BLOOMFIELD TOWNSHIP   MI   48304‐3049
TREMBLAY, DAVID C            10219 MILL POINTE DR                                                                          GOODRICH              MI   48438‐9314
TREMBLAY, DAVID J            3063 VOORHEIS LAKE CT                                                                         LAKE ORION            MI   48360‐1868
TREMBLAY, DENNIS R           36 BAKER ST                                                                                   SALAMANCA             NY   14779‐1502
TREMBLAY, DENNIS RICHARD     36 BAKER ST                                                                                   SALAMANCA             NY   14779‐1502
TREMBLAY, DIANA D            4368 QUEENS WAY                                                                               BLOOMFIELD HILLS      MI   48304‐3049
TREMBLAY, ELAINE F           1B MELLEN ST.                                                                                 HOPEDALE              MA   01747‐1508
TREMBLAY, ELAINE F           1B MELLEN ST                                                                                  HOPEDALE              MA   01747‐1508
TREMBLAY, FERNAND A          15016 E STREET RD                                                                             MONTROSE              MI   48457‐9328
TREMBLAY, JEAN               5900 MAPLE RDG                                                                                PINCKNEY              MI   48159‐9548
TREMBLAY, JENNINGS           319 FOSTER RD                                                                                 FORT COVINGTON        NY   12937‐2417
TREMBLAY, LEO D              7253 GREEN VALLEY DR                                                                          GRAND BLANC           MI   48439‐8142
TREMBLAY, LOUIS D            6063 WILD TURKEY RD                                                                           GRAND BLANC           MI   48439‐7917
TREMBLAY, MARY LOU           11154 SCOTT                                                                                   WASHINGTON            MI   48094‐3637
TREMBLAY, NOVA M             9360 MEADOWVIEW PASS                                                                          DAVISON               MI   48423‐7802
TREMBLAY, NYDIA              1155 LOCKWOOD DR                                                                              LOCKPORT              NY   14094‐7127
                          09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                             Part 37 of 40 Pg 446 of 901
Name                      Address1                        Address2                       Address3   Address4         City               State Zip
TREMBLAY, PAMELA A        3063 VOORHEIS LAKE CT                                                                      LAKE ORION          MI 48360‐1868
TREMBLAY, PAUL L          4558 ISLAND PARK DR                                                                        WATERFORD           MI 48329‐1922
TREMBLAY, R J             2491 VALLEY LN                                                                             GRAND BLANC         MI 48439‐8149
TREMBLAY, ROBERT D        7293 GREEN VALLEY DR                                                                       GRAND BLANC         MI 48439‐8142
TREMBLAY, STEPHEN O       6213 SOUTHWIND CT                                                                          MEBANE              NC 27302‐8629
TREMBLAY, TERRY           3709 DELAWARE AVE                                                                          FLINT               MI 48506‐3170
TREMBLAY, TONY J          6206 THORNRIDGE DR                                                                         GRAND BLANC         MI 48439‐8816
TREMBLAY, TONY JOSEPH     6206 THORNRIDGE DR                                                                         GRAND BLANC         MI 48439‐8816
TREMBLAY, WILFRED A       11154 SCOTT                                                                                WASHINGTON          MI 48094‐3637
TREMBLAY, WILMA A         7126 LINDEN RD                                                                             SWARTZ CREEK        MI 48473‐9417
TREMBLAY,DIANA D          4368 QUEENS WAY                                                                            BLOOMFIELD HILLS    MI 48304‐3049
TREMBLE, ALEXANDER        PO BOX 423                      YOUNGSTOWN MAIN POST OFFICE                                YOUNGSTOWN          OH 44501‐0423

TREMBLE, CAROLYN          220 MULBERRY RD                                                                            CHESTERFIELD       IN   46017‐1721
TREMBLE, LAWRENCE J       6309 VANVLEEET RD.                                                                         SWARTZ CREEK       MI   48473
TREMBLE, PEGGY B          2933 OAK STREET EXT                                                                        YOUNGSTOWN         OH   44505‐4919
TREMBLE, PHILLIP G        9058 NORTH VASSAR ROAD                                                                     MOUNT MORRIS       MI   48458‐9726
TREMBLE, PHILLIP G        9058 N VASSAR RD                                                                           MOUNT MORRIS       MI   48458‐9726
TREMBLE, WILBERT          4042 MENLO WAY                                                                             DORAVILLE          GA   30340‐4708
TREMBLE, WILLIE E         19286 REDFERN ST                                                                           DETROIT            MI   48219‐1855
TREMBLETT, ROBERT W       6146 N WHITHAM DR                                                                          NIAGARA FALLS      NY   14304‐1203
TREMBLETT, ROBERT WAYNE   6146 N WHITHAM DR                                                                          NIAGARA FALLS      NY   14304‐1203
TREMBLEY, DIANNE M        32085 FAIRCHILD ST                                                                         WESTLAND           MI   48186‐4909
TREMBLEY, ELEANOR L       609 PERRY CREEK DR                                                                         GRAND BLANC        MI   48439‐1476
TREMBLEY, HAL A           7927 SCHROEDER ST                                                                          ONEKAMA            MI   49675‐9704
TREMBLEY, MICHAEL A       8485 DEVIN DR                                                                              DAVISON            MI   48423‐2147
TREMBLEY, NED R           10840 W CAMDEN AVE                                                                         SUN CITY           AZ   85351‐4329
TREMBLEY, PAMELA A        521 WESTOVER PASS                                                                          GRAND BLANC        MI   48439‐1016
TREMBLY & ASSOCIATES      2922 FULLER AVE NE              STE 103A                                                   GRAND RAPIDS       MI   49505‐3459
TREMBULA, ALFREDA E       937 ATTERBURY DR                                                                           PRESCOTT           AZ   86305
TREMBULA, EDWARD N        5 ORCHARD LN                                                                               BURLINGTON         NJ   08016‐4213
TREMBULA, KAREN L         6128 W BURRWOOD DR                                                                         JANESVILLE         WI   53548‐8681
TREMBULA, KEITH E         6128 W BURRWOOD DR                                                                         JANESVILLE         WI   53548‐8681
TREMBULA, PAMELA J        545 WISTAR RD AP D‐1                                                                       FAIRLESS HILLS     PA   19030
TREMBULAK KENNETH         TREMBULAK, KENNETH              1751 LINCOLN HIGHWAY                                       NORTH VERSAILLES   PA   15137
TREME, DIANNE E           615 WEEPING WILLOW WAY                                                                     MAGNOLIA           TX   77354‐1522
TREME, ROBERT P           PO BOX 9022                     C/O GM KOREA                                               WARREN             MI   48090‐9022
TREMEEAR, BETTY L         1300 OLD MISSION RD                                                                        NEW SMYRNA BEACH   FL   32168‐8642
TREMEEAR, WILLIAM P       1300 OLD MISSION RD LOT 401                                                                NEW SMYRNA BEACH   FL   32168
TREMELL JEFFERSON         2825 DENVER AVE                                                                            KANSAS CITY        MO   64128‐1433
TREML, CELIA C            3801 AVON LN                                                                               ANN ARBOR          MI   48105‐9367
TREML, CELIA COLLEEN      3801 AVON LN                                                                               ANN ARBOR          MI   48105‐9367
TREML, DALE J             704 E 37TH ST                                                                              CHARLOTTE          NC   28205‐1115
TREML, DALE JOHN          704 EAST 37TH STREET                                                                       CHARLOTTE          NC   28205‐1115
TREML, PATRICK W          3801 AVON LN                                                                               ANN ARBOR          MI   48105‐9367
TREML, PATRICK WILLIAM    3801 AVON LN                                                                               ANN ARBOR          MI   48105‐9367
TREMLETT CAROL            6419 162ND STREET CT E                                                                     PUYALLUP           WA   98375‐7587
TREMMEL, EDGAR H          5311 UPPER MOUNTAIN RD                                                                     LOCKPORT           NY   14094‐1809
TREMONT FINANCIAL LLC     PO BOX 608                                                                                 SIOUX FALLS        SD   57101‐0608
TREMONT LLC               MICHAEL DARRAUGH                775 BEREA INDUSTRIAL PARKWAY                               ORION TOWNSHIP     MI   48360

TREMONT MFG LLC           775 BEREA INDUSTRIAL PKWY                                                                  BEREA              OH 44017‐2948
                                    09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                     Part 37 of 40 Pg 447 of 901
Name                               Address1                        Address2                       Address3   Address4             City             State Zip
TREMONT MFG LLC                    MICHAEL DARRAUGH                775 BEREA INDUSTRIAL PARKWAY                                   ORION TOWNSHIP    MI 48360

TREMONT MFG LLC                    PO BOX 464                                                                                     ROCKFORD         MN 55373‐0464
TREMONT STREET GARAGE              194 TREMONT ST                                                                                 MELROSE          MA 02176‐2204
TREMONT, RICHARD                   KROHN & MOSS ‐ IN               120 WEST MADISON STREET 10TH                                   CHICAGO          IL 60602
                                                                   FLOOR
TREMONT/CLEVELAND                  PO BOX 454                                                                                     ROCKFORD         MN   55373‐0454
TREMONTE AUTO GROUP INC            ANTHONY TREMONTE                490 E MAIN ST                                                  BRANFORD         CT   06405‐2919
TREMONTE AUTO GROUP INC            490 E MAIN ST                                                                                  BRANFORD         CT   06405‐2919
TREMONTE, NATHAN                   WILLIAMSON CHE D                16903 RED OAK DR STE 220                                       HOUSTON          TX   77090‐3916
TREMONTI, CELSO L                  2728 CHURCHILL LN APT 6                                                                        SAGINAW          MI   48603‐2682
TREMONTI, HUGO F                   7035 HELENA RD                                                                                 ALDEN            MI   49612‐9756
TREMONTI, MATTHEW                  14929 COUNTRY CLUB DR                                                                          LIVONIA          MI   48154‐5144
TREMONTI, MICHAEL J                378 QUEENS WAY                                                                                 CANTON           MI   48188‐1153
TREMONTI, PHILIP F                 7887 HELENA RD                                                                                 ALDEN            MI   49612‐9722
TREMONTI, RINO R                   8295 STANLEY DR                                                                                WARREN           MI   48093‐2763
TREMOR                             JASON GLICKMAN                  122 W 26TH STREET                                              NEW YORK         NY   10001
TREMOR, JENNY P                    3149 CLOISTER CT                                                                               SPRING HILL      FL   34606‐3315
TREMOR, NORMA J                    3503 E KENWOOD ST                                                                              MESA             AZ   85213‐1771
TREMPALA, PATRICIA A               3230 PARKSIDE DR                                                                               BROOKFIELD       WI   53005‐3006
TREMPALA, RAYMOND B                1958 S 28TH ST # A                                                                             MILWAUKEE        WI   53215
TREMPALA, STEVEN M                 4110 DAPHNE DR                                                                                 ANDERSON         IN   46013‐2592
TREMPE, BRIAN R                    2249 TERRYLYNN AVE                                                                             DAYTON           OH   45439‐2741
TREMPER, CAROL D                   623 KEITH CT                                                                                   SAINT CLOUD      FL   34769‐2093
TREMPER, CAROL J                   828 HILLDALE CIR                                                                               MILFORD          MI   48381‐2345
TREMPER, GERALD T                  828 HILLDALE CIR                                                                               MILFORD          MI   48381‐2345
TREMPER, MATILDA                   PO BOX 614                                                                                     PASADENA         MD   21123‐0614
TREMPER, MATILDA                   P.O BOX 614                                                                                    PASADENA         MD   21123
TREMPER, MICHAEL W                 PO BOX 793                                                                                     PARISHVILLE      NY   13672‐0793
TREMPER, WILLIAM E                 30634 WARREN RD 132                                                                            WESTLAND         MI   48185
TREMPER, WILLIAM E                 8365 WOODCREST DR APT 1                                                                        WESTLAND         MI   48185‐1222
TREMPS, IRIS L                     4716 GLENEAGLE DR                                                                              ANDERSON         IN   46013‐4767
TRENA CAMERON BURGAN               2363 OLD SALEM RD                                                                              AUBURN HILLS     MI   48326‐3431
TRENA D SPEARS                     5125 B PRESCOTT AVENUE                                                                         DAYTON           OH   45406‐2214
TRENA J BURRIS                     PO BOX 320245                                                                                  FLINT            MI   48532‐0005
TRENA KING                         224 MOTON DR                                                                                   SAGINAW          MI   48601‐1464
TRENA L PETERMAN                   1227 PATTERSON RD                                                                              DAYTON           OH   45420‐1525
TRENA VANDER ROEST                 7190 OAK BROOK CIR                                                                             PORTAGE          MI   49002‐4482
TRENACE GILSTRAP                   6097 E COUNTY ROAD 550 N                                                                       ORLEANS          IN   47452‐9683
TRENARY, PAMELA S                  1400 SCOTT ST                                                                                  WINCHESTER       VA   22601‐3026
TRENARY, PAMELA SUE                1400 SCOTT ST                                                                                  WINCHESTER       VA   22601‐3026
TRENCH LIMITED                     71 MAYBROOK DR                                                            SCARBOROUGH CANADA
                                                                                                             ON M1V 4B6 CANADA
TRENCH ROSSI E WATANABE ADVOGADOS AV DR CHUCRI ZAIDAN 920 8ANDAR   04583 904 SAO PAULO SP                    SAN PAULO BRAZIL

TRENCH, JAMES B                    25 PEACEDALE ST                                                                                BRISTOL          CT   06010‐2388
TRENCHARD, BYRON F                 13447 POMONA DR                                                                                FENTON           MI   48430‐1204
TRENCHARD, DOLORES M               1013 WILLOW STREET                                                                             GRAFTON          OH   44044‐1442
TRENCHARD, DOLORES M               1013 N WILLOW ST                                                                               GRAFTON          OH   44044‐1442
TREND PERFORMANCE PRODUCTS INC     23444 SCHOENHERR RD                                                                            WARREN           MI   48089‐2624
TREND PRODUCTS INC                 23444 SCHOENHERR RD                                                                            WARREN           MI   48089‐2624
TRENDA MATHIAS                     PO BOX 239                                                                                     BONNER SPRINGS   KS   66012‐0239
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                          Part 37 of 40 Pg 448 of 901
Name                                  Address1                         Address2                         Address3                   Address4             City            State Zip
TRENDA, KATHLEEN T                    50068 W LAKESHORE DR                                                                                              DOWAGIAC         MI 49047‐8976
TRENDA, THOMAS K                      50068 WEST LAKESHORE DRIVE                                                                                        DOWAGIAC         MI 49047‐8976
TRENDEL, JAMES M                      15850 FLORENCE ST                                                                                                 LANSING          MI 48906‐1144
TRENDELL, DOUGLAS H                   9 EDWARDS DR                                                                                                      WRIGHTSTOWN      NJ 08562
TRENDELMAN, VIRGINIA                  5820 W ROAD 100 N                                                                                                 BARGERSVILLE     IN 46106‐9405
TRENDELMAN, ZELLA R                   125 N DARLINGTON                                                                                                  JAMESTOWN        IN 46147‐9062
TRENDIEZ                              BAUMAN LOEWE & WITT PLLC         8765 EAST BELL ROAD SUITE 204                                                    SCOTTSDALE       AZ 85260
TRENDLE, WALTER O                     PO BOX 182                                                                                                        EASTPORT         MI 49627‐0182
TRENDLER, GAIL A                      313 LOVELL                                                                                                        TROY             MI 48098
TRENDS INTERNATIONAL, LLC
TRENDSET                              ASSIGNEE HUNTER EXPRESS LTD      1940 STEELS AVE EAST                                        BRAMPTON CANADA ON
                                                                                                                                   L6T 1A7 CANADA
TRENDSET INC                          PO BOX 65082                     903 CRABAPPLE DRIVE                                                              SHREVEPORT       LA   71136‐5082
TRENDSET INC                          4 INTERCHANGE BLVD                                                                                                GREENVILLE       SC   29607‐5700
TRENDWAY TRANSPORTATION SERVICES      141 HEALEY RD                                                                                BOLTON ON L7E 1K4
INC                                                                                                                                CANADA
TRENELL JR, ROBERT                    33 LABELLE ST APT 1021                                                                                            HIGHLAND PARK   MI 48203
TRENESS HIGH                          628 MARKLE AVE                                                                                                    PONTIAC         MI 48340‐3023
TRENHOLM CLINTON (459406)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK         VA 23510
                                                                       STREET, SUITE 600
TRENHOLM, CLINTON                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                      NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
TRENHOLM, JOSH                        17 MATHEWS AVE                                                                                                    WATERVILLE      ME 04901‐5230
TRENICKA S WILLIAMS                   7629 CASTLETON PL                                                                                                 CINCINNATI      OH 45237
TRENK DIPASQUALE WEBSTER DELLA FERA   ATTY FOR SIKA CORPORATION        ATT: SAM DELLA FERA, JR., ESQ.   347 MT. PLEASANT AVENUE,                        WEST ORANGE     NJ 07052
& SODONA, P.C.                                                                                          SUITE 300
TRENKA, JOHN J                        PO BOX 666                                                                                                        KENDALLVILLE    IN    46755‐0666
TRENKA, JOHN J                        2606N600E                                                                                                         KENDALLVILLE    IN    46755
TRENKAMP JR, WALTER                   139 E LAURA LN                                                                                                    OTTAWA          OH    45875‐1764
TRENKAMP, DAVID A                     PO BOX 247                                                                                                        HOLGATE         OH    43527‐0247
TRENKAMP, RICHARD H                   10984 OAK CIR                    LOT 16                                                                           LAKEVIEW        OH    43331
TRENKAMP, RICHARD H                   # 16                             10984 OAK CIRCLE                                                                 LAKEVIEW        OH    43331‐9273
TRENKLE, JOHN J                       27 ONTARIO AVE                                                                                                    PLAINVIEW       NY    11803‐3444
TRENKLER, ROBERT M                    14259 MARINO DR                                                                                                   WARREN          MI    48088‐4359
TRENNEPOHL, GREGG L                   815 BREMERTON DR                                                                                                  INDIANAPOLIS    IN    46229‐2789
TRENNIE WALLER                        2171 GINGERWOOD CT                                                                                                GROVE CITY      OH    43123‐3688
TRENOR MOTORS, INC.                   1100 SCIOTO ST                                                                                                    URBANA          OH    43078‐2230
TRENOR MOTORS, INC.                   JOHN TEHAN                       1100 SCIOTO ST                                                                   URBANA          OH    43078‐2230
TRENOUTH JR, WILLIAM A                146 FEATHERSTONE DR                                                                                               FRANKLIN        TN    37069‐6432
TRENOUTH, ANGELINA                    194 GLEN MEADOW RD                                                                                                FRANKLIN        MA    02038‐1340
TRENSHAW, WILLIAM R                   PO BOX 244                                                                                                        LINN            MO    65051‐0244
TRENT JR, EDDIE S                     39827 CATHER ST                                                                                                   CANTON          MI    48187‐4271
TRENT A CONLEY                        1525 SPRINGHILL AVE                                                                                               KETTERING       OH    45409‐1847
TRENT A TURNER                        4534 LAURA MARIE DR                                                                                               WAYNESVILLE     OH    45068‐9621
TRENT AHART                           14440 LEFFINGWELL RD                                                                                              BERLIN CENTER   OH    44401‐9643
TRENT BAKEWELL                        560 RIVERSIDE AVE                                                                                                 ADRIAN          MI    49221‐1543
TRENT BOGLE                           316 W HOLMES RD                                                                                                   LANSING         MI    48910‐4450
TRENT BONNELL                         184 PRITCHARD RD                                                                                                  MIRAMAR BEACH   FL    32550‐3947
TRENT CADILLAC‐BUICK‐PONTIAC‐GMC      1707 US HIGHWAY 70 E                                                                                              NEW BERN        NC    28560‐6815

TRENT CARR                            3423 S EDSEL ST                                                                                                   DETROIT         MI 48217‐2406
TRENT CHILDERS                        10141 MCENRUE RD                                                                                                  SWARTZ CREEK    MI 48473‐8573
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                     Part 37 of 40 Pg 449 of 901
Name                              Address1                              Address2                      Address3   Address4         City            State Zip
TRENT D TUCK                      2743 MOLLYS CT                                                                                  SPRING HILL      TN 37174‐7126
TRENT DANIEL                      900 N WALNUT CREEK DR STE 100 # 238                                                             MANSFIELD        TX 76063‐1502
TRENT DEARING                     HC 84 BOX 57A                                                                                   BURLINGTON       WV 25710‐9501
TRENT DENNIS                      PO BOX 24                                                                                       TROY             MO 63379‐0024
TRENT DIEBEL                      255 W BURNS LINE RD                                                                             MELVIN           MI 48454‐9751
TRENT DOCKTER                     2505 E COURT ST                                                                                 FLINT            MI 48503‐2814
TRENT EDGERTON                    612 CLIFFSIDE DR                                                                                MANSFIELD        OH 44904‐1502
TRENT G SKAGGS                    4707 FAIRPARK AVE                                                                               RIVERSIDE        OH 45431
TRENT H WOODZELL                  2324 RANDY DR.                                                                                  KETTERING        OH 45440
TRENT J EDGERTON                  612 CLIFFSIDE DR                                                                                MANSFIELD        OH 44904‐1502
TRENT J LAUDERDALE                13 ARKLOW STREET                                                                                ROCHESTER        NY 14611‐2301
TRENT JERE                        PO BOX 857                                                                                      ATHENS           AL 35612‐0857
TRENT JONES                       1212 N MONTGOMERY ST                                                                            OJAI             CA 93023
TRENT JR, EDDIE S                 39827 CATHER ST                                                                                 CANTON           MI 48187‐4271
TRENT JR, JOHN T                  7 LINCOLN CIR                                                                                   ELWOOD           IN 46036‐8340
TRENT JR., STOKLEY D              128 HOWES CHAPEL RD                                                                             ROGERSVILLE      TN 37857‐6000
TRENT MILUM (505789)              DONALDSON & BLACK                     208 W WENDOVER AVE                                        GREENSBORO       NC 27401‐1307
TRENT N BAKEWELL                  560 RIVERSIDE AVE                                                                               ADRIAN           MI 49221‐1543
TRENT NELSON                      2707 AMERICA AVE                                                                                JACKSONVILLE     FL 32250‐2505
TRENT OLDS‐CADILLAC‐BUICK, INC.   G DEICHMANN                           1707 US HIGHWAY 70 E                                      NEW BERN         NC 28560‐6815
TRENT PATTERSON                   PO BOX 29237                                                                                    SHREVEPORT       LA 71149‐9237
TRENT PITTMAN                     7156 OAK STREAM DR                                                                              O FALLON         MO 63368‐8125
TRENT RICE                        3576 CHRISTY WAY N                                                                              SAGINAW          MI 48603‐7221
TRENT RITTER                      504 S KIBBEE ST                                                                                 SAINT JOHNS      MI 48879‐2030
TRENT ROBINSON                    13003 N SURREY CIR                                                                              PHOENIX          AZ 85029‐1829
TRENT STROHM                      PO BOX 9022                           C/O SHANGHAI                                              WARREN           MI 48090‐9022
TRENT TUCK                        2743 MOLLYS CT                                                                                  SPRING HILL      TN 37174‐7126
TRENT WALTER V (439571)           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                        STREET, SUITE 600
TRENT WARNKE                      24792 KINGS POINTE                                                                              NOVI            MI   48375‐2718
TRENT WEBER                       1556 SAINT DENIS ST                                                                             NEW ORLEANS     LA   70122‐1573
TRENT WONG                        1925 COLLEGE VIEW DRIVE                                                                         MONTEREY PARK   CA   91754‐4437
TRENT WORTHMAN                    9135 E 256TH ST                                                                                 ARCADIA         IN   46030‐9686
TRENT, AARON P                    6866 GILLEN LN                                                                                  MIAMISBURG      OH   45342‐1508
TRENT, ALICE                      PO BOX 3193                                                                                     MARION          IN   46953‐0193
TRENT, ALICE                      275 HARRISON STT APT 9                                                                          ELYRIA          OH   44035‐5100
TRENT, ANTHONY R                  8950 NORMAN AVE                                                                                 LIVONIA         MI   48150‐3300
TRENT, ANTHONY RAY                8950 NORMAN AVE                                                                                 LIVONIA         MI   48150‐3300
TRENT, ARVELL H                   14152 NW 50TH AVE                                                                               CHIEFLAND       FL   32626‐8619
TRENT, BARBARA J                  701 LOMA‐LINDA CT                                                                               BRANDON         FL   33511
TRENT, BETTY A                    5034 SHEPHARD RD                                                                                MIAMISBURG      OH   45342‐4722
TRENT, BETTY A                    5034 SHEPARD RD                                                                                 MIAMISBURG      OH   45342‐4722
TRENT, BETTY I                    1712 N MORRISON ST                                                                              KOKOMO          IN   46901‐2151
TRENT, BURGESS D                  415 OLD HOME RD                                                                                 BALTIMORE       MD   21206
TRENT, CATINA R                   4220 WENZ CT APT C                                                                              DAYTON          OH   45405‐1448
TRENT, CECIL W                    512 N VALENCIA CIR SOUTHWEST                                                                    VERO BEACH      FL   32968‐6009
TRENT, CHARLES R                  7481 UPPER MIAMISBURG ROAD                                                                      MIAMISBURG      OH   45342‐2125
TRENT, CYRUS ERVIN                4426 EASTWOOD DR                                                                                SWARTZ CREEK    MI   48473‐8802
TRENT, DANA T                     472 MAPLE SPRINGS DR                                                                            DAYTON          OH   45458‐9231
TRENT, DANNY E                    9200 W. 6OO SOUTH                                                                               JAMESTOWN       IN   46147
TRENT, DAVID A                    8448 STONEGATE DR                                                                               NORTHVILLE      MI   48168‐9621
TRENT, DELORES G                  6866 GILLEN LN                                                                                  MIAMISBURG      OH   45342‐1508
                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                            Part 37 of 40 Pg 450 of 901
Name                  Address1                           Address2                      Address3   Address4         City               State Zip
TRENT, DENNIS M       1204 E M61                                                                                   GLADWIN             MI 48624
TRENT, DIANA          7514 WILLIAM ST                                                                              TAYLOR              MI 48180‐7401
TRENT, DONALD         PO BOX 7                                                                                     MINNEAPOLIS         NC 28652‐0007
TRENT, DONALD J       1614 MISSOURI AVE                                                                            PACIFIC             MO 63069‐3454
TRENT, DONALD J       199 CHURCH ST                                                                                ROMEO               MI 48065‐4608
TRENT, DONNIE L       PO BOX 2238                                                                                  CORBIN              KY 40702‐2238
TRENT, DOROTHY        560 N CARBON                                                                                 GIRARD              KS 66743
TRENT, DOUGLAS D      3425 POBST DR                                                                                KETTERING           OH 45420‐1041
TRENT, DOUGLAS K      5230 WORLEY RD                                                                               TIPP CITY           OH 45371‐9604
TRENT, EDDIE A        14262 SARASOTA                                                                               REDFORD             MI 48239‐2889
TRENT, EDDIE ANDREW   14262 SARASOTA                                                                               REDFORD             MI 48239
TRENT, EDDIE S        9135 MANTON AVE                                                                              PLYMOUTH            MI 48170‐4120
TRENT, EDITH P        121‐15 196TH ST                                                                              JAMAICA             NY 11413
TRENT, ELIZABETH K    199 CHURCH ST                                                                                ROMEO               MI 48065‐4608
TRENT, FRANCES M      239 EAST RAILROAD AVE                                                                        HUNTINGDON          TN 38344‐2920
TRENT, FRANCES M      239 E RAILROAD AVE                                                                           HUNTINGDON          TN 38344‐2920
TRENT, GARY M         12620 GORDA CIR E                                                                            LARGO               FL 33773
TRENT, GARY S         8801 E 700 S                                                                                 LADOGA              IN 47954‐8111
TRENT, GAYL           2003 LOS AMIGOS ST                                                                           LA CANADA           CA 91011‐1345
TRENT, GAYL A         2003 LOS AMIGOS ST                                                                           LA CANADA           CA 91011‐1345
TRENT, GLORIA N       3225 SHADY BEND DRIVE                                                                        INDEPENDENCE        MO 64052‐2820
TRENT, GORDON E       288 HASTY TRL                                                                                CANTON              GA 30115‐5827
TRENT, HAROLD J       306 MYERWOOD DR                                                                              DANVILLE            IN 46122
TRENT, HERBERT L      362 N DIBBLE AVE APT 431                                                                     LANSING             MI 48917‐2854
TRENT, JAMES A        411 TAMARA CIR                                                                               NEWARK              DE 19711‐6930
TRENT, JAMES E        17714 ST RT 24 RT 5                                                                          DEFIANCE            OH 43512
TRENT, JAMES H        213 BURGANDY HILL RD                                                                         NASHVILLE           TN 37211‐6834
TRENT, JERRY          258 GROGAN ST                                                                                BOWLING GREEN       KY 42101‐0732
TRENT, JERRY W        35425 PHYLLIS ST                                                                             WAYNE               MI 48184‐2909
TRENT, JERRY WAYNE    35425 PHYLLIS ST                                                                             WAYNE               MI 48184‐2909
TRENT, JOANNA L       3425 POBST DR                                                                                KETTERING           OH 45420‐1041
TRENT, JOE C          3370 W 300 S                                                                                 KOKOMO              IN 46902‐4762
TRENT, JOHNNY         1250 MCKINLEY CT                                                                             MIAMISBURG          OH 45342‐4064
TRENT, JON L          3527 S HOME AVE                                                                              MARION              IN 46953‐4449
TRENT, KAREN S.       27711 TRAILBROOKE CIR                                                                        WESTLAND            MI 48185‐1866
TRENT, LARRY D        152 WINDING RIDGE RD                                                                         DOVER               DE 19904‐9457
TRENT, LEE
TRENT, LEILA E        3788 WILSON FARMS BLVD                                                                       FRANKLIN           OH   45005
TRENT, LISA D         5998 WERK RD                                                                                 CINCINNATI         OH   45248
TRENT, LOWELL T       4740 W SHEARER RD                                                                            WEST MILTON        OH   45383‐9717
TRENT, LYNN E         21294 PARKLANE ST                                                                            FARMINGTON HILLS   MI   48335‐4420
TRENT, MARY A         200 WALKER RD                                                                                MC MINNVILLE       TN   37110‐5354
TRENT, MARY A         1430 NORTH ROCHESTER AVENUE                                                                  INDIANAPOLIS       IN   46222‐2949
TRENT, MARY A         200 WALKER ROAD                                                                              MCMINNVILLE        TN   37110
TRENT, MARY A         1430 N. ROCHESTER AVE                                                                        INDIANAPOLIS       IN   46222
TRENT, MARY E         REGENCY PLACE OF GREENFIELD        200 GREEN MEADOWS DRIVE                                   GREENFIELD         IN   46140
TRENT, MARY E         200 W GREEN MEADOWS DR             REGENCY PLACE OF GREENFIELD                               GREENFIELD         IN   46140‐1014
TRENT, MELVIN D       3995 MONTEREALE DR                                                                           CANFIELD           OH   44406‐8085
TRENT, MICHAEL D      1481 WESTERN ROW RD                                                                          MASON              OH   45040
TRENT, MILUM          DONALDSON & BLACK                  208 W WENDOVER AVE                                        GREENSBORO         NC   27401‐1307
TRENT, MONTE G        360 SULPHUR SPRINGS RD                                                                       ROGERSVILLE        TN   37857‐4078
TRENT, MYRA L         4426 EASTWOOD DR                                                                             SWARTZ CREEK       MI   48473‐8802
                                  09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                       Part 37 of 40 Pg 451 of 901
Name                              Address1                          Address2                      Address3   Address4         City               State Zip
TRENT, NELLIE                     P.O. BOX 24                                                                                 JUSTICE             WV 24851‐0024
TRENT, NELLIE                     PO BOX 24                                                                                   JUSTICE             WV 24851‐0024
TRENT, NORMA                      421 KATY LN                                                                                 SAINT CHARLES       MO 63303‐6277
TRENT, NORMA L                    911 EVELYN WAY                                                                              LEBANON             IN 46052‐3340
TRENT, O D                        556 S GEBHART CHURCH RD                                                                     MIAMISBURG          OH 45342‐3924
TRENT, PASCAL LEE III ESTATE OF
TRENT, PATSY L                    3345 QUAKER RD                                                                              COLUMBUS           OH   43207‐3337
TRENT, PAUL A                     3595 MCINTOSH RD                                                                            GLADWIN            MI   48624‐8833
TRENT, RALPH L                    8511 UPPER MIAMISBURG RD                                                                    MIAMISBURG         OH   45342‐1544
TRENT, RAYMOND E                  3801 BRENTWOOD DR                                                                           FLINT              MI   48503‐2349
TRENT, REGGIE L                   167 CLAYPOOL ALVATON RD                                                                     BOWLING GREEN      KY   42103‐9855
TRENT, RHONDA E                   206 CALLAWAY FARMS DR                                                                       SMYRNA             TN   37167‐6297
TRENT, ROBERT                     8001 MIDDLETOWN RD                                                                          CRESTLINE          OH   44827‐9796
TRENT, ROBERT B                   1690 PALO DURO BLVD                                                                         NORTH FORT MYERS   FL   33917‐6758
TRENT, RONALD                     1836 PINE CONE DR                                                                           BROWNSBURG         IN   46112‐7705
TRENT, ROSE M                     1520 HENRI                                                                                  NEWPORT            MI   48166‐9239
TRENT, RUBY M                     816 BIRCHWOOD DR                                                                            SANDUSKY           OH   44870‐6305
TRENT, RUTH A                     8585 LA MESA BLVD                                                                           LA MESA            CA   91941‐3901
TRENT, SHARON A                   1261 N LYNHURST DR                                                                          SPEEDWAY           IN   46224‐6812
TRENT, STEPHEN E                  300 JOHNSON TRL                                                                             MORAINE            OH   45418‐2995
TRENT, STEPHEN E                  300 JOHNSON TRAIL                                                                           MORAINE            OH   45418‐2995
TRENT, TERRY L                    9135 MANTON AVE                                                                             PLYMOUTH           MI   48170‐4120
TRENT, THERESA                    3435 PALM AIRE DR                                                                           ROCHESTER HLS      MI   48309‐1052
TRENT, THOMAS E                   5474 COUNTRY ROSE CIR                                                                       GRAND BLANC        MI   48439‐9182
TRENT, THOMAS E                   288 COURTNEYS PL                                                                            LAPEER             MI   48446‐7624
TRENT, VERONICA M                 PO BOX 2953                                                                                 LOVELAND           CO   80539‐2953
TRENT, VICTORIA J                 140 SOUTHWICK DR                                                                            ORCHARD PARK       NY   14127‐1665
TRENT, WALTER V                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                    STREET, SUITE 600
TRENT, WAYNE L                    14357 HIX ST                                                                                LIVONIA            MI   48154‐4906
TRENT, WILLIAM C                  3897 CHRISTY DR                                                                             SHREVEPORT         LA   71129‐9740
TRENT, WILLIAM H                  5569 WINDHAM RD                                                                             MILTON             FL   32570‐8366
TRENT, WILLIAM M                  1667 MALL RD APT 29                                                                         MONROE             MI   48162‐9655
TRENT,JOHNNY                      1250 MCKINLEY CT                                                                            MIAMISBURG         OH   45342‐4064
TRENTA, LOU                       WYSOKER GLASSNER & WEINGARTNER    340 GEORGE ST                                             NEW BRUNSWICK      NJ   08901‐2011
TRENTACOST, ALISON M              9715 N ESTON RD                                                                             CLARKSTON          MI   48348‐2227
TRENTACOSTE, MARY ETTA            PO BOX 205                                                                                  LOCKPORT           NY   14095‐0205
TRENTALANGE LISA                  PO BOX 752                                                                                  VENICE             FL   34284‐0752
TRENTHAM, BURL                    PO BOX 317                                                                                  LUNA PIER          MI   48157‐0317
TRENTHAM, CAROLYN                 RR 1 BOX 1045                                                                               PATTON             MO   63662‐9700
TRENTHAM, CAROLYN                 RT 1 BOX 1045                                                                               PATTON             MO   63662‐9700
TRENTHAM, DALE E                  98 BISHOP DR NW                                                                             CARTERSVILLE       GA   30121‐7334
TRENTHAM, ERIE A                  1833 E CONCORD RD                                                                           AMELIA             OH   45102‐2206
TRENTHAM, ERIE A                  1833 E. CONCORD ROAD                                                                        AMELIA             OH   45102‐2206
TRENTHAM, JAMES L                 1833 E CONCORD RD                                                                           AMELIA             OH   45102‐2206
TRENTMANN, BEN G                  4961 BIEKER RD                                                                              WASHINGTON         MO   63090
TRENTO, ILEANA S                  APT 29B                           31 NATHAN HALE DRIVE                                      HUNTINGTON         NY   11743‐7013
TRENTON CHEVROLET, INC.           JAMES R. DALTON                   1100 SPRUCE ST                                            LAWRENCEVILLE      NJ   08648‐4536
TRENTON CHEVROLET, INC. (DBA      INTERCOMPANY
PRINCETON CHEVROLET)
TRENTON CORPORATION               2175 W STADIUM BLVD                                                                         ANN ARBOR          MI 48103‐4543
TRENTON HAINES                    26199 FIELDSTONE DR                                                                         NOVI               MI 48374‐2149
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                    Part 37 of 40 Pg 452 of 901
Name                             Address1                              Address2                  Address3                     Address4         City                 State Zip
TRENTON ORR JR                   3259 GLADSTONE ST                                                                                             DETROIT               MI 48206‐2151
TRENTON RYAN                     4615 YUMA DR                                                                                                  INDIANAPOLIS          IN 46241‐6536
TRENTON SIMS                     PO BOX 1713                                                                                                   LOGANVILLE            GA 30052‐1713
TRENTON WATER WORKS              CITY OF TRENTON                       ACCOUNTS & CONTROL        319 EAST STATE ST ROOM 113                    TRENTON               NJ 08608

TRENTON WATERWRKS (CITY OF)      1375 PARKWAY AVENUE                                                                                           TRENTON               NJ   08628
TRENTON WATERWRKS (CITY OF) NJ   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 333 CORTLAND ST          PO BOX 528                                    TRENTON               NJ   08638‐3415

TRENTS TRICK UPHOLSTERY          6886 THOREAU LN                                                                                               BALTIMORE            OH    43105‐9732
TRENUM, FITZHUGH L               8908 BOBBY DR                                                                                                 MIDDLETOWN           OH    45042‐1302
TRENZ, NANCY V                   54737 CHICKASAW DR                                                                                            MACOMB               MI    48042‐2216
TRENZ, PAUL D                    5410 INDEPENDENCE COLONY RD                                                                                   GRAND BLANC          MI    48439‐9113
TREON, GEORGE F                  4965 LONG RAPIDS RD 1                                                                                         ALPENA               MI    49707
TREON, RICHARD G                 2004 CRAIG DR                                                                                                 DAYTON               OH    45420‐3618
TREONIS, JAMES L                 561 NORTON ST                                                                                                 LONGBOAT KEY         FL    34228‐1432
TREPACZ, EDMUND J                209 PALMER DR                                                                                                 FAYETTEVILLE         NY    13066‐1244
TREPANEY, SHERRY K               5695 MCCARTHY CT                                                                                              WEST CHESTER         OH    45069‐1060
TREPANIER, CINDY J               4012 COUNTY ROAD 489                                                                                          ONAWAY               MI    49765‐9583
TREPANIER, JENAE                 5793 COLUMBIAVILLE RD                                                                                         COLUMBIAVILLE        MI    48421‐8939
TREPANIER, JOANNE L              12515 EVERGREEN DR                                                                                            SHELBY TOWNSHIP      MI    48315‐5817
TREPANIER, MARY A                3085 N GENESEE RD APT 210                                                                                     FLINT                MI    48506‐2191
TREPANIER, MARY A                3085 NORTH GENESEE ROAD               APT #210                                                                FLINT                MI    48506
TREPANIER, ROBERT J              5793 COLUMBIAVILLE RD                                                                                         COLUMBIAVILLE        MI    48421‐8939
TREPANIER, RONALD B              320 STONEGATE DR                                                                                              FRANKLIN             TN    37064‐5539
TREPANIER, RONALD L              4012 COUNTY ROAD 489                                                                                          ONAWAY               MI    49765‐9583
TREPANIER, ROY E                 1676 SE BOUTELL RD                                                                                            ESSEXVILLE           MI    48732‐1562
TREPANIER, SANDRA K              5982 HASSLICK RD                                                                                              NORTH BRANCH         MI    48461‐8531
TREPANIER, SANDRA KAY            5982 HASSLICK ROAD                                                                                            NORTH BRANCH         MI    48461‐8531
TREPANIER, THERESA A             227 DARROW ST                                                                                                 CLIO                 MI    48420‐1139
TREPCZYNSKI, RICHARD J           1448 MINNESOTA DR                                                                                             TROY                 MI    48083‐4444
TREPEL SEYMOUR                   100 FULTON ST                                                                                                 LAWRENCE             NY    11559‐1419
TREPICCIONE RALPH (505093)       DEARIE & ASSOCIATES JOHN C            515 MADISON AVE RM 1118                                                 NEW YORK             NY    10022‐5456
TREPICCIONE, RALPH               DEARIE & ASSOCIATES JOHN C            515 MADISON AVE RM 1118                                                 NEW YORK             NY    10022‐5456
TREPKO, STELLA                   11 MEADOW ST                                                                                                  BAYONNE              NJ    07002‐4511
TREPKO, STELLA                   11 MEADOW STREET                                                                                              BAYONNE              NJ    07002‐4511
TREPKOWSKI PAULINE (505290)      (NO OPPOSING COUNSEL)
TREPKOWSKI, ARVIN L              2857 BADGER PL                                                                                                SAGINAW              MI    48603‐2810
TREPKOWSKI, KENNETH J            6091 DEWHIRST DR                                                                                              SAGINAW              MI    48638‐4382
TREPKOWSKI, MICHAEL R            3058 SHILLAIR DR                                                                                              BAY CITY             MI    48706‐1324
TREPKOWSKI, PAULINE A            6323 AMANDA DR                                                                                                SAGINAW              MI    48638‐4362
TREPPA, JOSEPH P                 6348 MARINA DR                                                                                                CLAY                 MI    48001‐4212
TREPPA, JOSEPH PATRICK           6348 MARINA DR                                                                                                CLAY                 MI    48001‐4212
TREPPA, MARION C                 22507 AVALON ST                                                                                               SAINT CLAIR SHORES   MI    48080‐3812
TREPPA, ROBERT J                 3397 ROCKY CREST DR                                                                                           ROCHESTER HILLS      MI    48306‐3750
TREPPA, TIMOTHY A                7230 AUDUBON ST                                                                                               ALGONAC              MI    48001‐4100
TREPPA, TIMOTHY A                7230 AUDUBON SST                                                                                              ALGONAC              MI    48001‐4100
TREPTE TAMI & CONSUMER LEGAL     1950 SAWTELLE BLVD STE 245                                                                                    LOS ANGELES          CA    90025‐7017
SERVICES
TREPTON JR, LEONARD C            22570 CUNNINGHAM AVE                                                                                          WARREN               MI    48091‐2518
TREPTON, JOSEPH M                1960 HARDWICK DR                                                                                              LAPEER               MI    48446‐9719
TREPTON, LEONARD C               7294 ROACH RD                                                                                                 LEXINGTON            MI    48450‐9358
TREPTON, RAYMOND J               8492 LAKE NETTIE RD                                                                                           HAWKS                MI    49743‐9766
                           09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                              Part 37 of 40 Pg 453 of 901
Name                       Address1                        Address2            Address3         Address4         City               State Zip
TREPTOW, JOHN E            PO BOX 15                                                                             HOGANSBURG          NY 13655‐0015
TRERICE, JOHN H            614 COLLINS ST                                                                        SEBASTIAN           FL 32958‐8104
TRESA CHERRY               810 S JAY ST                                                                          KOKOMO              IN 46901‐5534
TRESA DIXON                5385 WILLOW CREST AVE                                                                 AUSTINTOWN          OH 44515‐4049
TRESA JOHNSON              315 BRONCO WAY                                                                        LANSING             MI 48917‐2729
TRESA SOUKUP               15240 JOHNSTONE RD                                                                    OAKLEY              MI 48649‐9729
TRESCHER, MARIAN A         9209 N TRESCHER RD                                                                    MILTON              WI 53563‐9162
TRESCHER, MARIAN A         9209 TRESCHER RD                                                                      MILTON              WI 53563‐9162
TRESCHER, NORBERT D        1310 MONTEREY LN                                                                      JANESVILLE          WI 53546‐5567
TRESCO, AGATHA A           421 W SAYLOR STREET                                                                   ATLAS               PA 17851‐1045
TRESCOTT, DARLENE J        12520 ROBINWOOD ST                                                                    BROOKFIELD          WI 53005‐6500
TRESCOTT, DAVID R          12520 ROBINWOOD ST                                                                    BROOKFIELD          WI 53005‐6500
TRESCOTT, JOHN W           2 KEY LARGO CT                                                                        BAYVILLE            NJ 08721‐3576
TRESCOTT, JOHN W           2 KEY LARGO COURT                                                                     BAYVILLE            NJ 08721‐3576
TRESE, PATRICK J           861 S LANYARD DR                                                                      CICERO              IN 46034‐9368
TRESE, PHILIP J            3975 S LAKESHORE RD                                                                   HARBOR BEACH        MI 48441
TRESH, PHYLLIS M           40244 WALTER DR                                                                       STERLING HEIGHTS    MI 48310‐1953
TRESIDDER SUSAN L          MAITLAND INC                    2000 10TH ST NE                                       CANTON              OH 44705‐1414
TRESINO, FRANCIS P         9539 GENEVA DR                                                                        WINDHAM             OH 44288‐9512
TRESLER WILLIAM            5601 CLAYPOINT RD                                                                     CHESTERFIELD        VA 23832‐4014
TRESNAK, MICHAEL W         6776 ISLES RD                                                                         BROWN CITY          MI 48416‐8649
TRESNAK, MICHAEL WILLIAM   6776 ISLES RD                                                                         BROWN CITY          MI 48416‐8649
TRESNOWSKY, JOHN B         4588 WASHINGTON SQUARE DR                                                             AUSTINTOWN          OH 44515‐5416
TRESP, GUNTER H            308 SURF DR                                                                           CAPE CANAVERAL      FL 32920‐2027
TRESP, ROBERT              139 EMERSON DR                                                                        AMHERST             NY 14226‐2123
TRESP, ROBERT
TRESSA A ROMANOWSKI        8865 CLARENCE CENTER RD                                                               CLARENCE CENTER    NY   14032‐9719
TRESSA M MABERRY           3386 BAINBRIDGE DR                                                                    JACKSON            MS   39213‐6524
TRESSA PATTERSON           1000 BOYNTON DR                                                                       LANSING            MI   48917‐1760
TRESSA PEPPER              1641 ROYAL OAK ST SW                                                                  WYOMING            MI   49519‐3347
TRESSA ROMANOWSKI          8865 CLARENCE CENTER RD                                                               CLARENCE CENTER    NY   14032‐9719
TRESSA SEALS               5480 MISSISSIPPI DR                                                                   FAIRFIELD          OH   45014‐2470
TRESSA SHEPHERD            909 RED OAK LN                                                                        PENDLETON          IN   46064‐9380
TRESSA, BARBARA M          9 GRAND BLVD                                                                          OLMSTED FALLS      OH   44138‐2930
TRESSA, JOHN G             24 PALM LN                                                                            LEVITTOWN          PA   19054‐3602
TRESSA, MARJORIE D         18800 WESTWOOD DR APT 614                                                             STRONGSVILLE       OH   44136
TRESSARI, CHERRY           107 HAMSTER DRIVE                                                                     SALIX              PA   15952‐9213
TRESSARI, CHERRY           107 HAMSTER DR                                                                        SALIX              PA   15952‐9213
TRESSAS BRADFORD           3501 PIMLICO DR                                                                       ARLINGTON          TX   76017‐2415
TRESSEL, DONNA K           1161 BUNKER CT                                                                        SPRING HILL        FL   34608‐8430
TRESSEL, LLOYD
TRESSEL, LONDELL C         406 RUDDELL DR                                                                        KOKOMO             IN   46901
TRESSEL, LONDELL C         1212 W BLVD                                                                           KOKOMO             IN   46902
TRESSEL, MARK L            15146 LINDEN RD                                                                       LINDEN             MI   48451‐9038
TRESSEL, MARK L.           15146 LINDEN RD                                                                       LINDEN             MI   48451‐9038
TRESSEL, RICHARD L         1161 BUNKER CT                                                                        SPRING HILL        FL   34608‐8430
TRESSIA ASHLEY             PO BOX 430875                                                                         PONTIAC            MI   48343‐0875
TRESSIA MILLS              16757 LINDSAY ST                                                                      DETROIT            MI   48235‐3406
TRESSIC, DENNIS P          3441 GOLFVIEW DR                                                                      BAY CITY           MI   48706‐2413
TRESSICA MCDOWELL          11210 TIPSICO LAKE RD                                                                 FENTON             MI   48430‐8411
TRESSIE ANTHONY            1700 DELANE AVE APT 6                                                                 CHARLOTTE          NC   28211‐2593
TRESSIE BOEHM              1865 ARLINGTON AVE                                                                    LINCOLN PARK       MI   48146‐1409
                                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                         Part 37 of 40 Pg 454 of 901
Name                                   Address1                       Address2                        Address3   Address4         City                State Zip
TRESSIE BRAMMER                        112 FERNWOOD DR                                                                            COAL GROVE           OH 45638‐3111
TRESSIE HOTCHKISS                      2481 PRAY RD                                                                               CHARLOTTE            MI 48813‐8308
TRESSIE HUMBERSTON                     17566 KENMORE RD                                                                           LAKE MILTON          OH 44429‐9704
TRESSIE JAHNKE                         6371 HIGHWAY 131                                                                           WASHBURN             TN 37888‐4045
TRESSIE KEYS                           1030 E RAHN RD                                                                             DAYTON               OH 45429‐6108
TRESSIE NOTHACKER                      3572 ALVIN RD                                                                              SHELBY               OH 44875‐9458
TRESSIE PORTER                         4718 VANGUARD AVE                                                                          DAYTON               OH 45418‐1938
TRESSIE WARE                           1756 OLD JACKSON RD                                                                        FOREST               MS 39074‐9668
TRESSIE WASHAM                         1119 N 1094 E                                                                              GREENTOWN            IN 46936‐8717
TRESSLAR, LYNDA L                      1142 BLUEBIRD DR                                                                           ROCHESTER HILLS      MI 48307‐4693
TRESSLAR, ROBERT E                     4191 RIDGETOP DR                                                                           BELLBROOK            OH 45305‐1639
TRESSLER GEORGE (ESTATE OF) (641098)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH 44067
                                                                      PROFESSIONAL BLDG
TRESSLER VERA                          1405 CEPHEUS COURT                                                                         MERRITT IS          FL   32953‐2560
TRESSLER, BRIAN D                      28647 MANSFIELD RD                                                                         DEFIANCE            OH   43512‐8917
TRESSLER, DALE E                       RR 6                                                                                       DEFIANCE            OH   43512
TRESSLER, ESTHER M                     3450 W 250 S                                                                               KOKOMO              IN   46902‐4663
TRESSLER, FRANK E                      12918 DOHONEY RD                                                                           DEFIANCE            OH   43512‐8711
TRESSLER, GEORGE                       BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD          OH   44067
                                                                      PROFESSIONAL BLDG
TRESSLER, MICHAEL A                    1245 CLARK ST                                                                              HOLLAND             OH   43528
TRESSLER, TRUDY M                      2502 LAKEWOOD DR                                                                           ADRIAN              MI   49221‐4635
TRESSMER, LORA I                       10249 HYACINTH DR                                                                          ORLAND PARK         IL   60462‐3047
TREST, ROBERT K                        PO BOX 113                                                                                 HOLLY               MI   48442‐0113
TRESTAIN, GARY A                       2710 DOUGLAS LN                                                                            THOMPSONS STATION   TN   37179‐5001
TRESTE SFFDS                           DFSD                                                                                       SDFS                NC   31000
TRESTER DENNIS L (419513)              SIMMONS LAW FIRM
TRESTER, BRIAN A                       568 HEARTHSTONE CT                                                                         LEBANON             OH   45036‐8063
TRESTER, DENNIS L                      SIMMONS LAW FIRM               PO BOX 521                                                  EAST ALTON          IL   62024‐0519
TRESTLE/HAMILTON                       3393 M‐40                                                                                  HAMILTON            MI   49419
TRESTRAIL, MARY JANE                   PO BOX 125                                                                                 FRANKLIN            MI   48025
TRET, JAMES A                          6362 SUPREME CT                                                                            PENDLETON           IN   46064‐8527
TRET, JOAN K                           6362 SUPREME CT                                                                            PENDLETON           IN   46064‐8527
TRET, JOAN K                           16656 BLACKBIRD CT                                                                         NOBLESVILLE         IN   46060‐4237
TRETER, ANTHONY                        7143 W 48 RD                                                                               CADILLAC            MI   49601‐9356
TRETHA THOMAS                          1585 PRAIRIE AVE                                                                           BELOIT              WI   53511‐3862
TRETHEWAY, BRIAN L                     12120 CLOVER KNOLL RD                                                                      FENTON              MI   48430‐8874
TRETHEWEY, CAROL J                     34342 IVY CT                                                                               CHESTERFIELD        MI   48047‐3170
TRETHEWEY, JOHN A                      1489 E SCHUMACHER ST                                                                       BURTON              MI   48529‐1621
TRETHEWEY, JOHN A E                    1489 E SCHUMACHER ST                                                                       BURTON              MI   48529‐1621
TRETHEWEY, LESLIE M                    11553 PROVO 19 LN                                                                          RAPID RIVER         MI   49878‐9215
TRETHEWEY, WALTER M                    13550 FOOTHILL BLVD UNIT 3                                                                 SYLMAR              CA   91342‐4462
TRETIAK, KATHLEEN V.                   301 MERRITT AVE                                                                            SYRACUSE            NY   13207‐2714
TRETTA FRED                            5700 TERI LN                                                                               FLAGSTAFF           AZ   86004‐8607
TRETTEL, FRANK J                       1101 ELLERMAN OAKS DR                                                                      FORISTELL           MO   63348‐1657
TRETTENERO, ROMILDA M                  1129 OXFORD ST                                                                             DOWNERS GROVE       IL   60516
TRETTER, CATHERINE G                   1509 GARFIELD AVE                                                                          GRANITE CITY        IL   62040‐3825
TRETTER, JACOB S                       5105 ADDINGTON DR                                                                          COMMERCE TOWNSHIP   MI   48390‐4008
TRETTER, SARAH                         1665 SUSAN AVE                                                                             LANCASTER           PA   17602‐3943
TRETTER, TED J                         27276 E BEACH BLVD                                                                         ORANGE BEACH        AL   36561‐3943
TRETTNER ALFRED (663303)               WILENTZ GOLDMAN & SPITZER PC   110 WILLIAM STREET 26TH FLOOR                               NEW YORK            NY   10038
TRETTNER, ALFRED                       WILENTZ GOLDMAN & SPITZER PC   110 WILLIAM ST FL 26                                        NEW YORK            NY   10038‐3927
                               09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                 Part 37 of 40 Pg 455 of 901
Name                           Address1                          Address2                      Address3   Address4         City              State Zip
TRETYAK, LAURENCE J            4100 LOCH DR                                                                                HIGHLAND           MI 48357‐2236
TREUE, HANNELORE               5559 S PICCADILLY                                                                           W BLOOMFIELD       MI 48322‐1449
TREUMUTH, PAUL E               720 SHELLEY DR                                                                              ROCHESTER HILLS    MI 48307‐4241
TREUMUTH, SHIRLEY A            720 SHELLEY DR                                                                              ROCHESTER HILLS    MI 48307‐4241
TREUSCH, MIMI C                11403 BALFOUR DR                                                                            FENTON             MI 48430‐9061
TREUTER, NANCY A               4044 WOODSTOCK RD                                                                           WATERFORD          MI 48328‐2153
TREUTER, PAUL                  14034 GLENWOOD DR                                                                           SHELBY TWP         MI 48315‐5420
TREUTHARDT, AARON M            W564 GOLF COURSE RD                                                                         BRODHEAD           WI 53520‐9612
TREUTHART MARY                 43 ILLINI DR                                                                                LINCOLN             IL 62656‐9110
TREVA BAIN                     PO BOX 93                                                                                   GREENVILLE         OH 45331‐0093
TREVA BLACKMORE                10585 W FREDERICK GARLAND RD                                                                WEST MILTON        OH 45383‐9608
TREVA BLAIR                    11810 DIAMOND MILL RD                                                                       ENGLEWOOD          OH 45322‐9713
TREVA BRITTON                  RT 1 16635 BOSTATER RD                                                                      NEY                OH 43549
TREVA BURTON                   WILMINGTON PLACE                  963 N MILLER DR                                           TUCSON             AZ 85710
TREVA C MARK                   RR 4 BOX 76A                                                                                GRAND SALINE       TX 75140‐9604
TREVA CARTER                   1684 KARON DR                                                                               COLUMBUS           OH 43219‐1251
TREVA COX                      711 N BAYBERRY DR                                                                           MIAMISBURG         OH 45342‐2762
TREVA DOWNS                    19704 E 14TH TER N                                                                          INDEPENDENCE       MO 64056‐1308
TREVA EDENS                    216 ANN AVE                                                                                 PENDLETON          IN 46064‐9110
TREVA GOTTS                    120 CAMBRIDGE DR                  APT 131                                                   DAVISON            MI 48423‐1793
TREVA HOCKETT                  3796 S MIDDLE DR                                                                            GREENVILLE         OH 45331‐3013
TREVA HUMMONS                  3449 KENWICK TRL                                                                            ROANOKE            VA 24018‐4908
TREVA J BLACKMORE              10585 W FREDERICK GARLAND RD                                                                WEST MILTON        OH 45383‐9608
TREVA K BURCHETT               418 N 4TH ST                                                                                TIPP CITY          OH 45371
TREVA KENNEDY                  61431 E 278 RD                                                                              GROVE              OK 74344‐7519
TREVA L LITTLE                 560 E BROWN BEAR ST                                                                         MERIDIAN           ID 83646
TREVA LAWSON                   2804 E CENTENNIAL AVE                                                                       MUNCIE             IN 47303‐2513
TREVA LINDSEY                  201 RUMSON ST                                                                               ENGLEWOOD          OH 45322‐1225
TREVA M HOCKETT                3796 SOUTH MIDDLE LANE                                                                      GREENVILLE         OH 45331‐3013
TREVA M THOMPSON               PO BOX 55                                                                                   MCCURTAIN          OK 74944‐0055
TREVA MASON BELL               APT 3                             19 WILLIAMSTOWNE COURT                                    BUFFALO            NY 14227‐3958
TREVA MC ADAMS                 1991 BROOKS RD                                                                              DACULA             GA 30019‐2543
TREVA PRICE                    867 DOROTHY LN                                                                              BROOKVILLE         OH 45309‐8689
TREVA SHAFER                   805 WAYNE ST                                                                                GREENVILLE         OH 45331‐2264
TREVA SILVERMAN                8 ROUNDTOP RD                                                                               YONKERS            NY 10710
TREVA SMITH                    117 S CLAY ST                                                                               BROOKVILLE         OH 45309‐1601
TREVA THOMPSON                 PO BOX 55                                                                                   MCCURTAIN          OK 74944‐0055
TREVA WOODYARD                 PO BOX 246                                                                                  NEW HAVEN          KY 40051‐0246
TREVA WRIGHT                   420 S OPDYKE RD APT 21B                                                                     PONTIAC            MI 48341‐3104
TREVA ZENTZ                    2240 SAINT PAUL ST                                                                          INDIANAPOLIS       IN 46203‐4559
TREVARROW, MAXINE              APT B                             3249 HUNTINGTON WOODS DR SE                               GRAND RAPIDS       MI 49512‐8128

TREVARROW, MAXINE              3249 HUNTINGTON WOODS DR S.E. B                                                             KENTWOOD          MI   49512‐8127
TREVARROW, SHIRLEY F           150 OLD MILL RD UNIT 313                                                                    CARTERSVILLE      GA   30120‐4143
TREVATHAN, ARNOLD D            1311 OLD UNION RD                                                                           HILHAM            TN   38568‐5827
TREVATHAN, DEBORAH L           1194 IDAHO RD                                                                               YOUNGSTOWN        OH   44515‐3706
TREVECCA NAZARENE COLLEGE      333 MURFREESBORO PIKE                                                                       NASHVILLE         TN   37210‐2834
TREVECCA NAZARENE UNIVERSITY   333 MURFREESBORO PIKE                                                                       NASHVILLE         TN   37210‐2834
TREVELIN DELONE                59233 N BRADFORD ST                                                                         NEW HAVEN         MI   48048‐1946
TREVENA, DIANNE G              2252 GREENVILLE RD                                                                          CORTLAND          OH   44410
TREVER L JEFFERY               32 ASHGROVE CT.                                                                             FRANKLIN          OH   45005‐‐ 19
TREVETHAN PAMELA               TREVETHAN, LARRY                  3297 W. SHIAWASSEE                                        FENTON            MI   48430
                                 09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                     Part 37 of 40 Pg 456 of 901
Name                             Address1                         Address2                Address3     Address4         City              State Zip
TREVETHAN, LARRY E               3297 W SHIAWASSEE AVE                                                                  FENTON             MI 48430‐1746
TREVETT, NANCIE E                12 VALLEY DR                     C/O FRANCES BESHEAR                                   MADISONVILLE       KY 42431‐2241
TREVILLIAN JR, DONALD C          4308 COOK RD                                                                           SWARTZ CREEK       MI 48473‐9105
TREVILLIAN KIMBERLLI             3447 DUFFIELD RD                                                                       FLUSHING           MI 48433‐9709
TREVILLIAN, CHERIE S             5331 SEYMOUR RD                                                                        SWARTZ CREEK       MI 48473
TREVILLIAN, DARLENE L            5247 OAKVIEW DR                                                                        SWARTZ CREEK       MI 48473‐1168
TREVILLIAN, DOUGLAS M            4771 SYLVAN GROVE DR                                                                   GLADWIN            MI 48624‐9611
TREVILLIAN, EVELYN I             8186 SEYMOUR RD                                                                        GAINES             MI 48436‐9798
TREVILLIAN, JERRY L              6185 NORTH POND POINTE                                                                 GRAND BLANC        MI 48439
TREVILLIAN, KIMBERLLI C          3447 DUFFIELD RD                                                                       FLUSHING           MI 48433‐9709
TREVILLIAN, KIMBERLLI CHERIE     3447 DUFFIELD RD                                                                       FLUSHING           MI 48433‐9709
TREVILLIAN, TED O                11101 FERNITZ RD                                                                       BYRON              MI 48418‐9505
TREVILLIAN, THOMAS E             7752 NORTH US HIGHWAY 23                                                               OSCODA             MI 48750‐9744
TREVILLION VIRGINIA              3235 MCKITRICK ST                                                                      MELVINDALE         MI 48122‐1112
TREVILLION, NORA L               PO BOX 592                                                                             KOKOMO             IN 46903‐0592
TREVILLION, VIRGINIA             3235 MCKITRICK ST                                                                      MELVINDALE         MI 48122‐1112
TREVIN A HAYES                   7105 FRANKLIN MADISON RD                                                               MIDDLETOWN         OH 45042
TREVINO DOLORES WRONGFUL DEATH   C/O HAROWITZ & TIGERMAN LLP      450 SANSOME ST 3RD FL                                 SAN FRANCISCO      CA 94111‐3311
HEIR
TREVINO AUTO WORKS               COUNTY ROAD 202                                                                        FALFURRIAS        TX   78355
TREVINO DE GUZMAN VANESSA        TREVINO DE GUZMAN, VANESSA       3700 MONTROSE BLVD                                    HOUSTON           TX   77006‐4624
TREVINO DE GUZMAN, VANESSA       AMMONS & AMMONS LAW FIRM LLP     3700 MONTROSE BLVD                                    HOUSTON           TX   77006‐4624
TREVINO GREGORIO                 TREVINO, ANGELINA KRISTIN        6600 SEARS TOWER                                      CHICAGO           IL   60606
TREVINO GREGORIO                 TREVINO, GREGORIO                6600 SEARS TOWER                                      CHICAGO           IL   60606
TREVINO GREGORIO                 TREVINO, IDA                     6600 SEARS TOWER                                      CHICAGO           IL   60606
TREVINO GREGORIO                 TREVINO, SARAH RENE              6600 SEARS TOWER                                      CHICAGO           IL   60606
TREVINO GUADALIPE                8630 COUNTY ROAD 614                                                                   SKIDMORE          TX   78389‐3667
TREVINO IRMA & FRANK             6701 FLO CT                                                                            RICHLAND HILLS    TX   76118‐6530
TREVINO JR, ARNULFO              PO BOX 430                                                                             KALKASKA          MI   49646
TREVINO JR, CARLOS               6430 STROEBEL RD                                                                       SAGINAW           MI   48609‐5215
TREVINO JR, CLEMENTE R           7793 JAY PL                                                                            COLUMBUS          OH   43235‐4623
TREVINO JR, DANIEL               340 COTTONWOOD LN                                                                      HURST             TX   76054‐2202
TREVINO JR, GILBERT              5848 HOLLY GLENN DR                                                                    TOLEDO            OH   43612‐4530
TREVINO JR, JOSE                 12100 CRABAPPLE LN                                                                     GRAND LEDGE       MI   48837‐8952
TREVINO JR, JUAN                 300 WESTERN AVE                                                                        LANSING           MI   48917
TREVINO JR, ROY D                1200 SW 126TH ST                                                                       OKLAHOMA CITY     OK   73170‐6946
TREVINO JR., RAMON               994 CHELSEA BLVD                                                                       OXFORD            MI   48371‐3599
TREVINO LUCAS ALEXANDER          3877 YORKLAND DR NW              APT 1                                                 COMSTOCK PARK     MI   49321‐8822
TREVINO MONTOYA, JESSICA         GARCIA RAMON LAW OFFICES         222 W UNIVERSITY DR                                   EDINBURG          TX   78539
TREVINO VICTOR                   14 W GOODELL ST                                                                        ECORSE            MI   48229‐1511
TREVINO, ALBERTO                 15754 OAK LANE DR                                                                      LANSING           MI   48906‐1470
TREVINO, ALDA F                  3201 KENRICK ST                                                                        KEEGO HARBOR      MI   48320‐1232
TREVINO, ALEX R                  1406 BLUEWATER DR                                                                      SUN CITY CENTER   FL   33573‐6276
TREVINO, ALFONSO                 4426 FERN AVE                                                                          BURTON            MI   48529‐2124
TREVINO, ANDREW
TREVINO, ANGELINA KRISTIN        SCHIFF HARDIN & WAITE            6600 SEARS TOWER                                      CHICAGO           IL   60606‐6473
TREVINO, ARMANDO V               2717 MARTIN LYDON AVE                                                                  FORT WORTH        TX   76133‐1607
TREVINO, CARLOS                  1045 W ROSE CENTER RD                                                                  HOLLY             MI   48442‐8680
TREVINO, CARLOS                  4191 MCCARTY RD APT 17                                                                 SAGINAW           MI   48603‐9314
TREVINO, CECILIA D               PO BOX 632744                                                                          NACOGDOCHES       TX   75963‐2744
TREVINO, CONSUELO ROMERO         COWEN MICHAEL R                  520 E LEVEE ST                                        BROWNSVILLE       TX   78520‐5343
TREVINO, CRISTINA                2109 NORMA LN                                                                          EDINBURG          TX   78539‐6910
                            09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                 Part 37 of 40 Pg 457 of 901
Name                        Address1                          Address2                   Address3   Address4         City             State Zip
TREVINO, DAVID              UNIT 77                           1200 SOUTH EUCLID STREET                               GRANDVIEW         WA 98930‐9352
TREVINO, DIANA              1990 LASEA CT                                                                            SPRING HILL       TN 37174‐7535
TREVINO, DIANA T            1990 LASEA CT                                                                            SPRING HILL       TN 37174‐7535
TREVINO, EDGAR              ALBERT GARCIA                     10125 N 10TH ST STE E                                  MCALLEN           TX 78504‐3285
TREVINO, EDGAR              1209 CAROLINA AVE                                                                        EDINBURG          TX 78541‐8579
TREVINO, EDGAR JR           1209 CAROLINA AVE                                                                        EDINBURG          TX 78541‐8579
TREVINO, EDGAR JR           ALBERT GARCIA                     10125 N 10TH ST STE E                                  MCALLEN           TX 78504‐3285
TREVINO, EDWARD             24757 MEADOW CREEK DR                                                                    HARRISON TWP      MI 48045‐3139
TREVINO, EDWARD L           6492 S MOUNT HOPE RD                                                                     CARSON CITY       MI 48811‐8513
TREVINO, EPIMENIA S         13090 SHERIDAN                                                                           MONTROSE          MI 48457‐9407
TREVINO, ERASMO             PO BOX 745                                                                               BELLAIRE          MI 49615‐0745
TREVINO, ERMINIO            256 LAS PALMAS DR                                                                        MERCEDES          TX 78570‐4301
TREVINO, ERNESTO            6290 BLYTHEFIELD AVE NE                                                                  ROCKFORD          MI 49341‐8565
TREVINO, ESTEPHEN           3356 SLATE CT                                                                            MILFORD           MI 48380‐4607
TREVINO, ESTHER             2777 SUTTON RD                                                                           ADRIAN            MI 49221‐8300
TREVINO, EVELYN S           6248 ROWLEY BLVD                                                                         WATERFORD         MI 48329‐3041
TREVINO, FELICITA H         2067 ROYAL PALM                                                                          DEFIANCE          OH 43512‐3531
TREVINO, FELIX N            2811 ELMWOOD AVE                                                                         SAGINAW           MI 48601‐7408
TREVINO, FRANCISCO M        6701 FLO CT                                                                              RICHLAND HILLS    TX 76118‐6530
TREVINO, FRANK H            428 SUMMIT ST                                                                            DEFIANCE          OH 43512‐2239
TREVINO, FREDDIE C          404 S ENGLISH ST                                                                         MOORE             OK 73160‐7110
TREVINO, GENE
TREVINO, GEORGE A           1520 HALEY RD                                                                            DUCK RIVER       TN   38454‐3509
TREVINO, GERALD             423 LELAND PL                                                                            LANSING          MI   48917‐3526
TREVINO, GERARDO            5300 MALL DR W APT 1034                                                                  LANSING          MI   48917‐1903
TREVINO, GERONIMO M         APT 1A                            3308 TRAPPERS COVE TRAIL                               LANSING          MI   48910‐8238
TREVINO, GILBERT            PO BOX 30                                                                                SOUTH BRANCH     MI   48761‐0030
TREVINO, GRACIELA           6333 WALKER AVE                                                                          BELL             CA   90201‐1526
TREVINO, GREGORIO
TREVINO, GREGORIO           SCHIFF HARDIN LLP                 6600 SEARS TOWER                                       CHICAGO          IL   60606
TREVINO, GUADALUPE          1209 CAROLINA AVE                                                                        EDINBURG         TX   78541‐8579
TREVINO, GUADALUPE          2891 N MICHIGAN AVE                                                                      SAGINAW          MI   48604‐2424
TREVINO, GUADALUPE SELENE   GARCIA & MARTINEZ LLP             10125 N 10TH ST STE E                                  MCALLEN          TX   78504‐3285
TREVINO, GUSTAVO            4147 GUERNSEY STREET                                                                     ADRIAN           MI   49221‐1012
TREVINO, HOMERO H           2151 IOWA AVE                                                                            SAGINAW          MI   48601‐5522
TREVINO, IDA                SCHIFF HARDIN & WAITE             6600 SEARS TOWER                                       CHICAGO          IL   60606‐6473
TREVINO, JAVIER L           1614 LEITH ST                                                                            FLINT            MI   48506
TREVINO, JESUS              1611 NORA DR                                                                             EDINBURG         TX   78539‐6613
TREVINO, JOE                2326 N KEARNEY DR                                                                        SAGINAW          MI   48603‐3415
TREVINO, JOE                2169 N DITTMAR RD                                                                        MILLERSBURG      MI   49759‐9730
TREVINO, JOE R              120 W CHICAGO AVE                                                                        PONTIAC          MI   48340‐1133
TREVINO, JOHN G             310 N COLONY DR APT 1A                                                                   SAGINAW          MI   48638‐7110
TREVINO, JOSE               4583 WINTERGREEN DR S                                                                    SAGINAW          MI   48603‐1947
TREVINO, JOSE I             626 COLUMBUS AVE                                                                         DEFIANCE         OH   43512‐3162
TREVINO, JOSE L             1190 ALLENDALE DR                                                                        SAGINAW          MI   48638‐5405
TREVINO, JOSE P             1726 GINTER RD                                                                           DEFIANCE         OH   43512‐9077
TREVINO, JOSE PEDRO         1726 GINTER RD                                                                           DEFIANCE         OH   43512‐9077
TREVINO, JOSEPH G           1320 WHYTE ST                                                                            LANSING          MI   48906‐4650
TREVINO, JUAN               12571 SAINT MICHEL DR                                                                    HOUSTON          TX   77015‐3352
TREVINO, JUAN               304 WINDSOR FARMS DR                                                                     LAWRENCEVILLE    GA   30045‐6068
TREVINO, JUAN A             25259 STANFORD ST                                                                        DEARBORN HTS     MI   48125‐1625
TREVINO, JUAN M             223 VILLAGE DR                                                                           LANSING          MI   48911‐3758
                           09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                             Part 37 of 40 Pg 458 of 901
Name                       Address1                       Address2                        Address3   Address4         City              State Zip
TREVINO, JUAN M            223 VILLAGE ST                                                                             LANSING            MI 48910
TREVINO, JULIA A           3996 EAST ST                                                                               SAGINAW            MI 48601‐5126
TREVINO, JULIA C           26593 MOCINE AVE                                                                           HAYWARD            CA 94544‐3437
TREVINO, JULIA C           11327 WOOLLCOTT ST                                                                         SAN ANTONIO        TX 78251
TREVINO, JULIO             720 ALBERTA ST                                                                             AUBURN HILLS       MI 48326‐1116
TREVINO, JULIO             14828 BULLOCK RD                                                                           THREE RIVERS       MI 49093‐9714
TREVINO, LAURA             4358 DELL RD APT H                                                                         LANSING            MI 48911‐8143
TREVINO, LEONARDO O        1107 W YALE AVE                                                                            FLINT              MI 48505‐1317
TREVINO, LEORA M           1501 BENTWOOD DR                                                                           SUN CITY CENTER    FL 33573‐5056
TREVINO, LUCAS ALEXANDER   3877 YORKLAND DR NW            APT 1                                                       COMSTOCK PARK      MI 49321‐8822
TREVINO, LUIS              2151 IOWA AVE                                                                              SAGINAW            MI 48601‐5522
TREVINO, LUSIA G           7107 LAKE HAWKINS DR.                                                                      ARLINGTON          TX 76002‐4068
TREVINO, MANUEL G          4913 VAN NESS ST                                                                           GARLAND            TX 75043‐7512
TREVINO, MARGARET M        PO BOX 430                                                                                 KALKASKA           MI 49646‐0430
TREVINO, MARIA ELENA       1209 CAROLINA AVE                                                                          EDINBURG           TX 78541‐8579
TREVINO, MARIA ELENA       ALBERT GARCIA                  10125 N 10TH ST STE E                                       MCALLEN            TX 78504‐3285
TREVINO, MARIA J           2506 KUERBITZ                                                                              LANSING            MI 48906‐3429
TREVINO, MARIA J           2506 KUERBITZ DR                                                                           LANSING            MI 48906‐3429
TREVINO, MICHAEL R         3069 BEACHAM DR                                                                            WATERFORD          MI 48329‐4503
TREVINO, NELCY GUADALUPE   GARCIA & MARTINEZ LLP          10125 N 10TH ST STE E                                       MCALLEN            TX 78504‐3285
TREVINO, NELSY             1209 CAROLINA AVE                                                                          EDINBURG           TX 78541‐8579
TREVINO, OLGA B            2315 SOWELL MILL PIKE                                                                      COLUMBIA           TN 38401‐8044
TREVINO, PATRICIA L        8605 NW 81ST TER                                                                           KANSAS CITY        MO 64152‐4128
TREVINO, RACHEL A          9001 WHISPERING WOODS DR                                                                   FORT WAYNE         IN 46804‐6718
TREVINO, RAFAEL            3916 BURLESON RETTA RD                                                                     BURLESON           TX 76028‐3609
TREVINO, RAMON G           111 PARKHURST ST                                                                           PONTIAC            MI 48342‐2642
TREVINO, RAUL              1935 BIRCHWOOD CT                                                                          TRACY              CA 95376‐5206
TREVINO, RAUL S            6372 AQUEDUCT LN                                                                           SAGINAW            MI 48603‐1669
TREVINO, REGINA M          6445 WALDON RD                                                                             CLARKSTON          MI 48346‐2468
TREVINO, REYNALDO          9427 PERRY RD                                                                              GOODRICH           MI 48438‐9745
TREVINO, REYNALDO R        236 ACAPULCO                                                                               LOS FRESNOS        TX 78566‐4196
TREVINO, RICARDO           2150 N MCCORD RD APT A‐11                                                                  TOLEDO             OH 43615‐3055
TREVINO, ROBERTO           2915 BAILEY AVE                                                                            LINCOLN PARK       MI 48146‐2533
TREVINO, ROBERTO           2915 BAILEY                                                                                LINCOLN PARK       MI 48146
TREVINO, ROGELIO           3211 HOMBLY RD                                                                             HOUSTON            TX 77066‐4914
TREVINO, ROLAND            PO BOX 210485                                                                              AUBURN HILLS       MI 48321‐0485
TREVINO, ROY               105 ALLEN LAKE DR                                                                          WHITE LAKE         MI 48386‐2405
TREVINO, RUBEN             1614 ERIE ST                                                                               SAGINAW            MI 48601‐4402
TREVINO, SARAH RENE        SCHIFF HARDIN & WAITE          6600 SEARS TOWER                                            CHICAGO             IL 60606‐6473
TREVINO, STEVEN C          1818 WYOMING AVE                                                                           FLINT              MI 48506‐4637
TREVINO, STEVEN CRUZ       1818 WYOMING AVE                                                                           FLINT              MI 48506‐4637
TREVINO, SYLVIA S          2705 TRAPPERS COVE TRAIL       APARTMENT #2C                                               LANSING            MI 48910
TREVINO, THELMA            2809 BENITEZ ST                                                                            DONNA              TX 78537‐3922
TREVINO, TRISTAN           1700 E 2ND ST                                                                              DEFIANCE           OH 43512‐2446
TREVINO, VELDA M           6888 SNOW APPLE DR                                                                         CLARKSTON          MI 48346
TREVINO, VICTOR A          5933 TEN MILE BRIDGE RD                                                                    FORT WORTH         TX 76135‐1402
TREVINO, VICTOR A.         5933 TEN MILE BRIDGE RD                                                                    FORT WORTH         TX 76135‐1402
TREVINO, VICTOR T          14 W GOODELL ST                                                                            ECORSE             MI 48229‐1511
TREVINO, VIKKI E           7793 JAY PL                                                                                COLUMBUS           OH 43235
TREVINO, YOLANDA           GARCIA RAUL                    5800 MANOR ROAD ‐ SUITE G‐100                               AUSTIN             TX 78723
TREVINO, YOLANDA R         2828 HAMPSHIRE ST                                                                          SAGINAW            MI 48601‐4563
TREVINO‐INGMAN, IMELDA     7680 ALLEN RD                                                                              CLARKSTON          MI 48348‐4444
                          09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                               Part 37 of 40 Pg 459 of 901
Name                      Address1                          Address2            Address3         Address4                 City               State Zip
TREVIS JR, JOSEPH J       104 LAKESHORE DR                                                                                STRUTHERS           OH 44471‐1454
TREVIS M RUFFIN           901 S AIRPORT RD                                                                                SAGINAW             MI 48601‐9481
TREVIS RUFFIN             901 S AIRPORT RD                                                                                SAGINAW             MI 48601‐9481
TREVIS, ERNEST            1133 N GARSDEN AVE                                                                              COVINA              CA 91724‐1644
TREVIS, MARIE E           180 EARL DR NW                                                                                  WARREN              OH 44483‐1110
TREVIS, MARIE E           180 EARL DRIVE NORTHWEST                                                                        WARREN              OH 44483‐1110
TREVIS, THOMAS J          180 EARL DR NW                                                                                  WARREN              OH 44483‐1110
TREVISI, LUIGIA R         VIA P VERONESE 19                                                      TREVISO TV ITALY 31100
TREVISO, MARGARET         105 GLENVIEW DR                                                                                 CHERRYVILLE        NC 28021‐9305
TREVITHICK, RICHARD       6075 LANCASTER DR                                                                               FLINT              MI 48532‐3214
TREVITHICK, TIMOTHY D     1029 SPICE VALLEY RD                                                                            MITCHELL           IN 47446‐5354
TREVOR CASH
TREVOR ADCOCK             690 W SALZBURG RD                                                                               AUBURN             MI 48611‐9554
TREVOR BERWICK
TREVOR BROWNE             44496 BAYVIEW AVE APT 15215                                                                     CLINTON TOWNSHIP   MI   48038‐7043
TREVOR BUTT               1314 RIDGE PL                                                                                   BLUFFTON           IN   46714‐1137
TREVOR CHIPMAN            2935 S RANDOLPH ST                                                                              INDIANAPOLIS       IN   46203
TREVOR CLARKE             5559 PLEASANT DR                                                                                WATERFORD          MI   48329‐3335
TREVOR CONAWAY            15097 HOGAN RD                                                                                  LINDEN             MI   48451‐8732
TREVOR D JENKINS          5529 WARREN SHARON RD                                                                           VIENNA             OH   44473‐9721
TREVOR FLETCHER
TREVOR GARLOCK            P.O. BOX 234                                                                                    ALEXANDRIA BAY     NY   13607
TREVOR GATEWOOD           474 BIRR STREET                                                                                 ROCHESTER          NY   14613‐1304
TREVOR JENKINS            5529 WARREN SHARON RD                                                                           VIENNA             OH   44473‐9721
TREVOR JENKINS            40850 SAAL RD                                                                                   STERLING HTS       MI   48313‐4370
TREVOR KOCH               215 ROBIN RUN CT                                                                                MARTINSVILLE       IN   46151‐7055
TREVOR KORNS              52302 FOX POINTE DR                                                                             NEW BALTIMORE      MI   48047‐6365
TREVOR MARTIN             4292 SPRINGWOOD CT                                                                              FENTON             MI   48430‐9177
TREVOR MTENJE             36802 THEODORE ST                                                                               CLINTON TWP        MI   48035‐1959
TREVOR OWEN LTD           80 BARBADOS BLVD UNIT 5                                                SCARBOROUGH CANADA
                                                                                                 ON M1J 1K9 CANADA
TREVOR P COULTER          5030 COPELAND AVE NW                                                                            WARREN             OH   44483‐‐ 12
TREVOR POWELL             3200 ALLEN RD                                                                                   ORTONVILLE         MI   48462‐8434
TREVOR S RICHMAN          863 STATE ROUTE 88 NW                                                                           BRISTOLVILLE       OH   44402‐8715
TREVOR SABO               1051 RALSTON AVE APT A12                                                                        DEFIANCE           OH   43512‐1374
TREVOR SCALA
TREVOR SMITH              16 BLOOMFIELD CT                                                                                DAYTON             NJ   08810‐1621
TREVOR SMITH              16384 CHATHAM DR                                                                                MACOMB             MI   48044‐4070
TREVOR SMITH              5601 ABBYSHIRE DR                                                                               HUDSON             OH   44236‐2683
TREVOR STEER              1605 SHEFFIELD DR                                                                               YPSILANTI          MI   48198‐3670
TREVOR TERRY              930 N CONGRESS ST                                                                               YPSILANTI          MI   48197‐2745
TREVOR THOMPSON           908 S DOYLE ST                                                                                  LOUISBURG          KS   66053‐4027
TREVOR TILLET             20 N CHARLAME CT                                                                                ROCKSBURRY         MA   02119‐1812
TREVOR TODASH             1419 SAUNTON CT                                                                                 FORT WAYNE         IN   46814‐9333
TREVOR WIFFEN             2148 SOMERSET RD                                                                                BLOOMFIELD HILLS   MI   48302‐0665
TREVOR WINCH              4928 HIDDEN HILLS CIR                                                                           HOWELL             MI   48855‐7254
TREVOR WYRO               4411 TANGLEWOOD DR                                                                              JANESVILLE         WI   53546‐3511
TREVORROW, ALICE R        7012 RIVER RD                                                                                   FLUSHING           MI   48433‐2252
TREVORROW, DAVID E        3441 N OAK RD                                                                                   DAVISON            MI   48423‐8157
TREVORROW, DAVID EUGENE   3441 N OAK RD                                                                                   DAVISON            MI   48423‐8157
TREVORROW, JEFFREY M      11419 DELMAR DR                                                                                 FENTON             MI   48430‐9018
TREVORROW, KEVIN A        296 NORTH DR                                                                                    DAVISON            MI   48423‐1610
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                      Part 37 of 40 Pg 460 of 901
Name                                Address1                         Address2              Address3     Address4               City                 State Zip
TREVORROW, LAWRENCE J               2021 ARLINGTON AVE                                                                         FLINT                 MI 48506‐3609
TREVORROW, LEONARD                  1305 MAPLEWOOD AVE                                                                         FLINT                 MI 48506‐3761
TREVORROW, LEONARD R                2202 STARKWEATHER ST                                                                       FLINT                 MI 48506‐4720
TREVORROW, LLOYD F                  1046 BLUEBELL LN                                                                           DAVISON               MI 48423‐7906
TREVORROW, MICHAEL J                1335 FOREST RIDGE DR                                                                       MILFORD               MI 48381‐4715
TREVORROW, TINA M                   9346 FARLEY RD                                                                             PINCKNEY              MI 48169‐9148
TREVORROW, WILLIAM J                3063 CURTIS DR                                                                             FLINT                 MI 48507‐1217
TREVOSE FAMILY SHOE STORE INC       1738 BROWNSVILLE RD                                                                        TREVOSE               PA 19053‐3321
TREVY SERVICE CENTRE                68B CHAUNCEY AVE                                                    ETOBICOKE ON M8Z 2Z4
                                                                                                        CANADA
TREW CRAFT/MT CLEMEN                24877 21 MILE ROAD                                                                         HARRISON TOWNSHIP    MI   48045
TREW INDUSTRIAL WHEELS INC          310 WILHAGAN RD                                                                            NASHVILLE            TN   37217‐1146
TREW, DALE E                        13645 MAIN ST                                                                              BATH                 MI   48808‐9465
TREW, DAWN M                        2208 MARION AVE                                                                            LANSING              MI   48910‐2619
TREW, MICHAEL J                     3500 N ORR RD                                                                              HEMLOCK              MI   48626‐9440
TREW, ROGER E                       1729 JUSTIN AVE NW                                                                         GRAND RAPIDS         MI   49534‐2218
TREW, THOMAS J                      418 N WEST ST                                                                              CARSON CITY          MI   48811‐8546
TREW, WILLIAM W                     2208 MARION AVE                                                                            LANSING              MI   48910‐2619
TREWHELLA, MARY                     1602 MILLARD AVE                                                                           ROYAL OAK            MI   48073‐2775
TREWHELLA, THOMAS B                 17178 SE 95TH CT                                                                           SUMMERFIELD          FL   34491‐6822
TREWHITT, BETTY J                   3003 HUNTINGTON PARK DR                                                                    WATERFORD            MI   48329‐4530
TREWYN, JAMES D                     1623 E INMAN PKWY APT 6                                                                    BELOIT               WI   53511‐6542
TREWYN, LAURENCE E                  37663 JOANNE DR                                                                            CLINTON TWP          MI   48036‐2183
TREXLER, CLIFFORD J                 246 FINCH DR                                                                               ELYRIA               OH   44035‐7992
TREXLER, JESSIE                     23200 GREENCREST ST                                                                        SAINT CLAIR SHORES   MI   48080‐2574
TREXLER, KAREN S                    3155 W RIVER RD                                                                            PERU                 IN   46970‐7976
TREXLER, SHEILA S                   202 N HILL ST                                                                              MARION               IN   46952‐3710
TREXLER, WILLIAM                    871 COUNTY ROUTE 8                                                                         FULTON               NY   13069‐4775
TREY CHAMPIE
TREY WIGGERS
TREYNOR, THOMAS R                   6673 CANFIELD RD                                                                           BELDING              MI   48809‐9565
TREYNOR, THOMAS ROBERT              6673 CANFIELD RD                                                                           BELDING              MI   48809‐9565
TREZEK, THOMAS J                    9020 SUMMERFELDT RD                                                                        SAGINAW              MI   48609‐9317
TREZEVANT JOHN                      9063 CORPORATE GARDENS DR                                                                  GERMANTOWN           TN   38138‐7823
TREZIL JR, JAMES J                  9895 PARDEE RD                                                                             TAYLOR               MI   48180‐3557
TREZIL, EARL V                      32761 HIVELEY ST                                                                           WESTLAND             MI   48186‐5269
TREZIL, MARY ANNE                   4171 SYRACUSE ST                                                                           DEARBORN HEIGHTS     MI   48125‐2118
TREZIL, MARY ANNE                   4171 SYRACUSE                                                                              DEARBORN HEIGHTS     MI   48125
TREZISE, MARIE B                    4954 LONGFORD ROAD                                                                         DAYTON               OH   45424‐2569
TREZZA, JOHN C                      7719 ALLOTT AVE                                                                            PANORAMA CITY        CA   91402
TRGINA, RICHARD P                   807 N PINE RIVER ST                                                                        ITHACA               MI   48847‐1117
TRI
TRI BUICK OPEL PONITAC, INC.        DONALD MCCREDIE                  101 W FLORIDA AVE                                         HEMET                CA   92543‐4107
TRI BUICK PONTIAC GMC               101 W FLORIDA AVE                                                                          HEMET                CA   92543‐4107
TRI CITIES BARREL PRP TRUST         L STRAUB/PRINCETON BANK &TRUST   PO BOX 1969                                               MORRISTOWN           NJ   07962‐1969
TRI CITIES BARREL SUPERFUND         C\O NIXON PEABODY LLP            PO BOX 1051                                               ROCHESTER            NY   14603
TRI CITY AUTO REPAIR                                                 837 CAMPBELL AVE SE                                                            VA   24013
TRI CITY AUTOMOTIVE WAREHOUSE       3411 CONESTOGA DR                                                                          FORT WAYNE           IN   46808‐4411
TRI CITY COURT REPORTERS INC        5226 STATE                                                                                 SAGINAW              MI   48603
TRI CITY ELECRICAL CONTRACTORS      430 WEST DR                                                                                ALTAMONTE SPRINGS    FL   32714‐2539
TRI CITY ELECTRIC COMPANY OF IOWA                                    415 N PERRY ST                                                                 IA   52801
TRI CITY ELECTRICAL                 430 WEST DR                                                                                ALTAMONTE SPRINGS    FL   32714‐2539
                                        09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                             Part 37 of 40 Pg 461 of 901
Name                                    Address1                          Address2                Address3     Address4                City                State Zip
TRI CITY ELECTRICAL CONTRACTORS, INC.   BRUCE BEANE                       430 WEST DR                                                  ALTAMONTE SPRINGS    FL 32714‐2539

TRI CITY EQUIPMENT RENTAL INC           7166 HOSPITAL RD                  PO BOX Z                                                     FREELAND            MI   48623‐8648
TRI CITY INDUSTRIAL POWER INC           PO BOX 576                                                                                     W CARROLLTON        OH   45449‐0576
TRI CITY TAX & INVESTMENTS              ATTN: BRIAN ROBEJSCK              5761 CHEVROLET BLVD                                          CLEVELAND           OH   44130‐1414
TRI CO ENGINEERING INC                  616 AJAX DR                                                                                    MADISON HTS         MI   48071‐2414
TRI COLOR/ROYAL OAK                     4850 FERNLEE AVE                                                                               ROYAL OAK           MI   48073‐1007
TRI COUNTY AMBULANCE
TRI COUNTY AUTO REPAIR                                                    157 HIGHWAY 178 W                                                                MS 38804
TRI COUNTY BUILDERS CO INC              3307 MITCHELL RD                  PO BOX 967                                                   BEDFORD             IN 47421‐5557
TRI COUNTY CHEVROLET & OLDSMOBILE       795 FRANKLIN SPRINGS ST                                                                        ROYSTON             GA 30662‐3930
INC
TRI COUNTY ELECTRIC                     JEFF HUNT                         600 NORTHWEST PKWY                                           AZLE                TX   76020‐2916
TRI COUNTY EQUIPMENT                    ATTN: TERRY ATHERTON              4135 DAVISON RD                                              BURTON              MI   48509‐1403
TRI COUNTY GM                           22 E 1ST ST                                                                                    LA JUNTA            CO   81050‐1501
TRI COUNTY GM, INC.                     ANTHONY CUOMO                     22 E 1ST ST                                                  LA JUNTA            CO   81050‐1501
TRI COUNTY LABOR COUNCIL GOLF           TOURNAMENT                        7540 LEAVENWORTH ROAD                                        KANSAS CITY         KS   66109
TRI COUNTY OFFICE EQUIPMENT             23830 JOHN R RD                                                                                HAZEL PARK          MI   48030‐1415
TRI COUNTY OFFICE ON AGING              ATTN CENTRAL KITCHEN CATERING     5303 S CEDAR ST                                              LANSING             MI   48911
TRI COUNTY ORTHOPAED                    28100 GRAND RIVER AVE STE 209                                                                  FARMINGTON HILLS    MI   48336‐5969
TRI COUNTY PAIN CONS                    61 COMMERCE AVE SW                                                                             GRAND RAPIDS        MI   49503‐4124
TRI COUNTY REGIONAL PLANNING            913 W HOLMES RD STE 201                                                                        LANSING             MI   48910‐0411
COMMISSION
TRI COUNTY RENTAL & SALES               1730 WINCHESTER AVE                                                                            MARTINSBURG         WV   25405‐3899
TRI COUNTY SCHOLARSHIP FUND             4 CENTURY DR                                                                                   PARSIPPANY          NJ   07054
TRI COUNTY TUBE INC                     130 EAGLE WAY                                                                                  CLINTON             TN   37716‐4027
TRI COUNTY/HAZEL PRK                    23830 JOHN R RD                                                                                HAZEL PARK          MI   48030‐1415
TRI DAL LTD.                                                              540 COMMERCE ST                                                                  TX   76092
TRI FAST LIMITED                        590 BASALTIC RD                                                        VAUGHAN CANADA ON L4K
                                                                                                               5A2 CANADA
TRI LINE CORPORATION                    250 SUMMIT POINT DR                                                                            HENRIETTA           NY 14467‐9607
TRI M MOLD INC                          3390 W LINCO RD                                                                                STEVENSVILLE        MI 49127‐9725
TRI MOTION/DEARBORN                     PO BOX 216                                                                                     DEARBORN            MI 48121‐0216
TRI MOUNTAIN EQUIPMENT                  2024 MCPHEE RD.                                                        CRANBROOK BC V1C 3J5
                                                                                                               CANADA
TRI PLEX INC
TRI RIVERS CONSULTING, INC.             9104 BABCOCK BLVD STE 2120                                                                     PITTSBURGH          PA 15237‐5818
TRI SON TENTS                           ANDY GRAHM TRI SON TENTS          655 SHADOWOOD LN SE                                          WARREN              OH 44484‐2440
TRI STAR 293772 GRIT 990                30 02/03/09
TRI STAR ENGINEERING INC                3000 16TH ST                                                                                   BEDFORD             IN   47421‐3512
TRI STAR INDUSTRIES INC                 101 MASSIRIO DR                                                                                BERLIN              CT   06037‐2311
TRI STAR LOGISTICS INC                  28950 GODDARD RD                                                                               ROMULUS             MI   48174‐2700
TRI STAR MOTOR TRANSPORT                167 N 3RD AVE STE Q                                                                            UPLAND              CA   91786‐6052
TRI STAR MOTORS                         930 ROUTE 22 HWY W                                                                             BLAIRSVILLE         PA   15717‐7903
TRI STAR PLASTICS                       399 KENNEDY RD                                                         TORONTO CANADA ON
                                                                                                               M1K 2A1 CANADA
TRI STAR TRANSPORTATION INC             4909 BALL RD                                                                                   KNOXVILLE           TN 37931‐3606
TRI STAR TRANSPORTATION INC             PO BOX 2600                                                                                    KENNESAW            GA 30156‐9154
TRI STAR TRUCKING                       4309 E 900 S92                                                                                 ROANOKE             IN 46783
TRI STAR/TORONTO                        399 KENNEDY ROAD                                                       TORONTO ON M1K2A1
                                                                                                               CANADA
TRI STATE AUTO CARE                     113 S GRAND AVE                                                                                POUGHKEEPSIE        NY 12603
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                          Part 37 of 40 Pg 462 of 901
Name                                   Address1                        Address2               Address3                  Address4              City               State Zip
TRI STATE AUTO RENTALS, INC.           PO BOX 60377                                                                                           MIDLAND             TX 79711‐0377
TRI STATE COMPRESSED AIR SYSTE         1608 EISENHOWER DR S                                                                                   GOSHEN              IN 46526‐6131
TRI STATE COMPRESSED AIR SYSTEMS INC   1608 EISENHOWER DR S                                                                                   GOSHEN              IN 46526‐6131

TRI STATE COURIER                      PO BOX 276                                                                                             JACKSON            OH   45640‐0276
TRI STATE DELIVERY INC                 3411 SUMMERHILL RD                                                                                     TEXARKANA          TX   75503‐3559
TRI STATE DISTRIBUTORS INC             42140 VAN DYKE AVE STE 209                                                                             STERLING HEIGHTS   MI   48314‐3676
TRI STATE EXPEDITED SERVICE INC        PO BOX 307                                                                                             PERRYSBURG         OH   43552‐0307
TRI STATE EXPEDITED SERVICE INC
TRI STATE INDUSTRIAL FLOORS INC        1302 S EXPRESSWAY DR                                                                                   TOLEDO             OH 43608‐1517
TRI STATE PHYSICAL T                   2820 HEARNE AVE                                                                                        SHREVEPORT         LA 71103‐3934
TRI STATE QUALITY MANUFACTURING        PO BOX 148                                                                                             FREMONT            IN 46737‐0148
NETWORK
TRI STATE SEMI DRIVER TRAINING         6690 GERMANTOWN RD                                                                                     MIDDLETOWN         OH   45042‐1208
TRI STATE SURVEYING LTD                1925 E PRATER WAY                                                                                      SPARKS             NV   89434‐8938
TRI STATE TOWING CORP                  610 W 45TH ST                                                                                          NEW YORK           NY   10036‐1903
TRI STATE TRANSPORTATION SERVICES      PO BOX 113                                                                                             JOPLIN             MO   64802‐0113
TRI STATE UNIVERSITY                   1 UNIVERSITY AVE                                                                                       ANGOLA             IN   46703‐1764
TRI STATE UNIVERSITY FORT WAYNE        328 LEY RD STE 200                                                                                     FORT WAYNE         IN   46825‐5265
TRI STATE/PERRYSBRG                    PO BOX 307                                                                                             PERRYSBURG         OH   43552‐0307
TRI TEC CONTROLS                       13480 SYLVESTRE DR                                                               TECUMSEH CANADA ON
                                                                                                                        N8N 2L9 CANADA
TRI TEC/TECUMSEH                       13480 SYLVESTRE DRIVE                                                            TECUMSEH ON N8N 2L9
                                                                                                                        CANADA
TRI TECH ASSOCIATES INC                4076 E PATTERSON RD                                                                                    DAYTON             OH   45430‐1026
TRI TECH CNC SERVICE CORP              1861 HIDDEN MEADOW DR                                                                                  HOWELL             MI   48855‐9251
TRI TECHNICAL CENTER USA, INC          25825 MEADOWBROOK RD                                                                                   NOVI               MI   48375‐1851
TRI TEK/NORTHVILLE                     526 MORGAN CIR                                                                                         NORTHVILLE         MI   48167‐2719
TRI UNION EXPRESS INC                  1939 N LAFAYETTE CT                                                                                    GRIFFITH           IN   46319‐1037
TRI V HUYNH                            5233 POWELL RD                                                                                         DAYTON             OH   45424‐4233
TRI WAY MANUFACTURING TECHNOLO         1401 W FORT ST                                                                                         DETROIT            MI   48233‐1002
TRI WAY/DETROIT                        1401 W FORT ST                  P.O. BOX 44377                                                         DETROIT            MI   48233‐1002
TRI X/OXFORD                           544 E LAKEVILLE RD                                                                                     OXFORD             MI   48371‐5144
TRI‐ANGLE GLOBAL ENTERPRISES           PO BOX 86                                                                                              DORSET             OH   44032‐0086
TRI‐ARC MANUFACTURING CO               DIV OF MELFRED MFG CO INC       390 FOUNTAIN ST                                                        PITTSBURGH         PA   15238‐3419
TRI‐C UNIFIDE TECHNOLOGIES CEN         2415 WOODLAND AVE                                                                                      CLEVELAND          OH   44115‐3239
TRI‐CAM INC                            2730 EASTROCK DR                                                                                       ROCKFORD           IL   61109‐1734
TRI‐CHEM CORP                          PO BOX 71550                                                                                           MADISON HEIGHTS    MI   48071‐0550
TRI‐CITIES BARREL PRP GROUP            ATTN: DAVID L COOK ESQ          NIXON PEABODY LLP      1100 CLINTON SQUARE                             ROCHESTER          NY   14604
TRI‐CITIES BARREL SUPERFUND            SITE TRUST                      PO BOX 31051           C/O NIXON PEABODY LLP D                         ROCHESTER          NY   14603‐1051
                                                                                              COOK
TRI‐CITY AUTO CARE                     1921 GARLAND ST                                                                                        DURHAM             NC   27705‐3302
TRI‐CITY AUTO SERVICE                  1305 PLEASANT AVE                                                                                      HAMILTON           OH   45015‐1069
TRI‐CITY BLACKTOP                                                      425 DEVILS GLEN RD S                                                                      IA   52722
TRI‐CITY CHEVROLET BUICK PONTIAC GM    PO BOX 588                                                                                             EDEN               NC   27289‐0588

TRI‐CITY CHEVROLET BUICK PONTIAC GMC PO BOX 588                                                                                               EDEN               NC 27289‐0588
TRUCK
TRI‐CITY CHEVROLET, INC.             SAMUEL COATES                     PO BOX 588                                                             EDEN               NC 27289‐0588
TRI‐CITY COURT REPORTERS,INC         5226 STATE ST.                                                                                           SAGINAW            MI 48603
TRI‐CITY ELECTRICAL                                                    430 WEST DR                                                                               FL 32714
                                         09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                             Part 37 of 40 Pg 463 of 901
Name                                    Address1                           Address2                         Address3           Address4               City                State Zip
TRI‐CITY ELECTRICAL CONTRACTORS, IN     430 WEST DR                                                                                                   ALTAMONTE SPRINGS    FL 32714‐2539

TRI‐CITY ELECTRICAL CONTRACTORS, INC.   430 WEST DR                                                                                                   ALTAMONTE SPRINGS    FL   32714‐2539

TRI‐CITY LINE‐X‐ BAY CITY               3737 E WILDER ROAD                                                                                            BAY CITY            MI 48706
TRI‐CITY LINEN SUPPLY                                                      6391 JURUPA AVE                                                                                CA 92504
TRI‐CITY PLASTICS‐INC ‐ LEVY            NO ADVERSE PARTY
TRI‐CITY TIRE AND AUTO                  1502 VICTORIA STREET NORTH                                                             KITCHENER ON N2B 3E4
                                                                                                                               CANADA
TRI‐CITY TOOL & DIE CO                  3515 N EUCLID AVE                                                                                             BAY CITY            MI    48706‐2042
TRI‐CITY TOOL & DIE INC                 3515 N EUCLID AVE                                                                                             BAY CITY            MI    48706‐2042
TRI‐CITY VALLEYCATS                     PO BOX 694                                                                                                    TROY                NY    12181‐0694
TRI‐CO ENG/MAD HGTS                     616 AJAX DR                                                                                                   MADISON HEIGHTS     MI    48071‐2414
TRI‐CO ENGINEERING INC                  616 AJAX DR                                                                                                   MADISON HEIGHTS     MI    48071‐2414
TRI‐COLOR PHOTOGRAPHIC                  2605 W 14 MILE RD                                                                                             ROYAL OAK           MI    48073‐1710
TRI‐COUNTY ASSOC. OF MEDICINE           32410 5 MILE RD STE 103                                                                                       LIVONIA             MI    48154‐3080
TRI‐COUNTY ASSOCIATES OF                32410 5 MILE RD STE 103                                                                                       LIVONIA             MI    48154‐3080
TRI‐COUNTY ASSOCIATES OF MEDICIN CO     32410 5 MILE RD STE 103                                                                                       LIVONIA             MI    48154‐3080

TRI‐COUNTY AUTOPLEX                     1700 E JACKSON ST                                                                                             HUGO                OK 74743‐4239
TRI‐COUNTY AUTOPLEX                     JERRY NORFIELD                     1700 E JACKSON ST                                                          HUGO                OK 74743‐4239
TRI‐COUNTY CHEVROLET & OLDSMOBILE,      795 FRANKLIN SPRINGS ST                                                                                       ROYSTON             GA 30662‐3930

TRI‐COUNTY CHEVROLET & OLDSMOBILE,      GARY PHILLIPS                      795 FRANKLIN SPRINGS ST                                                    ROYSTON             GA 30662‐3930
INC.
TRI‐COUNTY CHEVROLET & OLDSMOBILE,      795 FRANKLIN SPRINGS ST                                                                                       ROYSTON             GA 30662‐3930
INC.
TRI‐COUNTY PHYSICAL                     PO BOX 33396                                                                                                  NORTH ROYALTON      OH    44133‐0396
TRI‐COUNTY PONTIAC BUICK GMC INC        169 NORTHLAND BLVD                                                                                            CINCINNATI          OH    45246
TRI‐COUNTY POWER RODDING INC            5820 DWIGHT AVE                                                                                               WATERFORD           MI    48327‐1327
TRI‐DIM FILTER CORP                     2388 COLE ST GST ADD 4/28/6 AH                                                                                BIRMINGHAM          MI    48009
TRI‐DIM FILTER CORP                     93 INDUSTRIAL DR                   PO BOX 466                                                                 LOUISA              VA    23093‐4126
TRI‐FAB INC                             PO BOX 310                                                                                                    SALEM               OH    44460‐0310
TRI‐FAST LIMITED                        MICHELLE MONIZ                     WHITESELL                        1240 REID STREET   ANCASTER ON CANADA
TRI‐FAST/WHITESELL CANADA LTD           MICHELLE MONIZ                     WHITESELL                        1240 REID STREET   RICHMOND HILL ON
                                                                                                                               CANADA
TRI‐FAST/WHITESELL CANADA LTD           590 BASALTIC RD                                                                        CONCORD ON L4K 5A2
                                                                                                                               CANADA
TRI‐GRAPHIC INVESTMENTS LTD
TRI‐LINE AUTOMATION CORP                250 SUMMIT POINT DR                                                                                           HENRIETTA           NY    14467‐9607
TRI‐MER CORPORATION                     1400 E MONROE ST                                                                                              OWOSSO              MI    48867‐3868
TRI‐PAR OIL COMPANY                     100 E. GREEN BAY AVE., SAUKVILLE                                                                              SAUKVILLE           WI    53080
TRI‐PAR OIL COMPANY                     100 E GREEN BAY AVE                                                                                           SAUKVILLE           WI    53080‐1920
TRI‐PHASE AUTOMATION INC                604 W NORTH SHORE DR                                                                                          HARTLAND            WI    53029‐8308
TRI‐POINTE COMMUNITY CREDIT             FOR DEPOSIT IN THE ACCOUNT OF      2343 E HILL RD                   C ABYAD                                   GRAND BLANC         MI    48439‐5059
TRI‐POINTE COMMUNITY CU                 2343 E HILL RD                                                                                                GRAND BLANC         MI    48439‐5059
TRI‐POINTE COMMUNITY CU                 1314 E COLDWATER RD                                                                                           FLINT               MI    48505‐1702
TRI‐POINTE CREDIT UNION                 FOR DEPOSIT TO THE ACCOUNT OF      2343 E HILL RD                   C TOMLINSON                               GRAND BLANC         MI    48439‐5059
TRI‐RIVER EMPLOYERS                     2 RIVER PL STE 400                 FRMLY TRI RIVER HEALTHCARE INI                                             DAYTON              OH    45405‐4936
HEALTHCARECOALITION
TRI‐RIVER MARINE TRADE ASSOCIATION      PO BOX 27295                                                                                                  PITTSBURGH          PA 15235‐7295
INC
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                         Part 37 of 40 Pg 464 of 901
Name                               Address1                           Address2              Address3       Address4                  City                   State Zip
TRI‐SERVICE & SALES                1173 N MAIN ST                                                                                    MANTECA                 CA 95336‐3207
TRI‐SON TENTS                      ATTN ANDY GRAHAM                   655 SHADOWOOD LN SE                                            WARREN                  OH 44484‐2440
TRI‐STAR MEDICAL GRO               999 N TUSTIN AVE STE 201                                                                          SANTA ANA               CA 92705‐6506
TRI‐STAR SERVICE CENTRE            933 WARDEN AVE                                                          SCARBOROUGH ON M1L
                                                                                                           4C5 CANADA
TRI‐STAR TRANSPORT INC             3681 OKEMOS RD STE 500                                                                            OKEMOS                 MI   48864‐6923
TRI‐STATE                          8009 CORPORATE DR                                                                                 NOTTINGHAM             MD   21236‐4977
TRI‐STATE AUTO AUCTION, INC.       5930 ROUTE 31                                                                                     CICERO                 NY   13039
TRI‐STATE COCA‐COLA BOTTLING                                          2275 LEESTOWN RD                                                                      KY   40511
COMPANY
TRI‐STATE CONSTRUCTION, INC                                           8615 S 192ND ST                                                                       WA 98031
TRI‐STATE EXPRESS INC              2425 US ROUTE 60                                                                                  HURRICANE              WV 25526‐9537
TRI‐STATE GENERATION & MEMBER      RICK DELL                          1100 W 116TH AVE                                               WESTMINSTER            CO 80234‐2814
SYSTEMS
TRI‐STATE INDUSTRIAL FLOORS IN     1302 S EXPRESSWAY DR                                                                              TOLEDO                 OH   43608‐1517
TRI‐STATE LAND CO                  39TH ST                                                                                           PITTSBURGH             PA   15201‐3215
TRI‐STATE MOTORS                   298 S MAIN ST                                                                                     CEDAR CITY             UT   84720‐3445
TRI‐STATE MOTORS                   HAYMER MORRIS                      298 S MAIN ST                                                  CEDAR CITY             UT   84720‐3445
TRI‐STATE SEMI DRIVER TRAINING     6690 GERMANTOWN RD                                                                                MIDDLETOWN             OH   45042‐1208
TRI‐STATE UNIVERSITY‐FEF           C/O WALT CHAPUT                    1060 LAKE DR                                                   FREMONT                IN   46737
TRI‐TEC CONTROLS                   20179 NORTHLINE RD                                                                                TAYLOR                 MI   48180‐4726
TRI‐TEC LLC                        31455 SOUTHFIELD RD # A                                                                           BEVERLY HILLS          MI   48025‐5470
TRI‐TOOL BORING MACHINE CO         46440 CONTINENTAL DR                                                                              CHESTERFIELD           MI   48047‐5206
TRI‐TOOL BORING MACHINE CO INC     46440 CONTINENTAL DR                                                                              CHESTERFIELD           MI   48047‐5206
TRI‐VALLEY BUICK, PONTIAC, GMC     KEN OKENQUIST                      4400 JOHN MONEGO CT                                            DUBLIN                 CA   94568‐3165
TRI‐WAY MANUFACTURING              EFT TECHNOLOGIES CORP              1401 W FORT ST        PO BOX 44377                             DETROIT                MI   48233
TRI‐WAY MANUFACTURING INC          300 E LONG LAKE RD STE 200                                                                        BLOOMFIELD HILLS       MI   48304‐2376
TRI‐WAY MANUFACTURING TECHNOLO     3265 JEFFERSON BLVD                                                     WINDSOR ON N8T 2W7
                                                                                                           CANADA
TRI‐WAY MANUFACTURING              3265 JEFFERSON BLVD                                                     WINDSOR ON N8T 2W7
TECHNOLOGIES                                                                                               CANADA
TRIA, DOLORES                      6 DANBY PLACE                                                                                     POINT PLEASANT BEACH   NJ   08742
TRIA, DOLORES                      6 DANBY PL                                                                                        POINT PLEASANT BEACH   NJ   08742
TRIACA, GARY A                     9377 BALDWIN RD                                                                                   GAINES                 MI   48436‐9719
TRIACA, GARY ALFRED                9377 BALDWIN RD                                                                                   GAINES                 MI   48436‐9719
TRIAD DIAGNOSTIC TEC               39625 LEWIS DRIVE                                                                                 NOVI                   MI   48377
TRIAD FINANCIAL INC                21556 TELEGRAPH RD                 REMOVE 8/3/95                                                  SOUTHFIELD             MI   48033‐4247
TRIAD FLUID POWER INC              985 FALLS CREEK DR                                                                                VANDALIA               OH   45377‐9686
TRIAD METAL                        STEVE DERZKO X126                  12990 SNOW RD                                                  MENDON                 MI   49072
TRIAD METAL PRODUCTS CO            12990 SNOW RD                                                                                     PARMA                  OH   44130‐1003
TRIAD METAL PRODUCTS CO            STEVE DERZKO X126                  12990 SNOW RD                                                  PARMA                  OH   44130‐1003
TRIAD METAL/PARMA                  12990 SNOW RD                                                                                     PARMA                  OH   44130‐1003
TRIAD PLAST/DETROIT                1560 E GRAND BLVD                                                                                 DETROIT                MI   48211‐3249
TRIAD PLASTICS INC                 19930 CONNER ST                                                                                   DETROIT                MI   48234‐3227
TRIAD SERVICE CENTER OF MICHIG     2139 KALAMAZOO AVE SE              PO BOX 1803                                                    GRAND RAPIDS           MI   49507‐3723
TRIAD SERVICE CENTER OF MICHIGAN   2139 KALAMAZOO AVE SE              PO BOX 1803                                                    GRAND RAPIDS           MI   49507‐3723
TRIAD SERVICE LTD                  5528‐48 AVE                                                             TABER AB T1G 1J7 CANADA
TRIAD SERVICES GROUP INC           1750 E LINCOLN AVE                                                                                MADISON HEIGHTS        MI   48071‐4174
TRIAD SERVICES GROUP INC           DAVE CHERRY                        750 E. MANDOLINE                                               MELVINDALE             MI   48122
TRIAD SERVICES GROUP INC           750 E MANDOLINE AVE                                                                               MADISON HEIGHTS        MI   48071‐1434
TRIAD SERVICES GROUP INC.          DAVE CHERRY                        750 E. MANDOLINE                                               MELVINDALE             MI   48122
TRIAD TECHNOLOGIES LLC             1275 WATERVILLE MONCLOVA RD                                                                       WATERVILLE             OH   43566‐1067
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                         Part 37 of 40 Pg 465 of 901
Name                                  Address1                        Address2                 Address3             Address4                  City               State Zip
TRIAD TECHNOLOGIES LLC                985 FALLS CREEK DR                                                                                      VANDALIA            OH 45377‐9686
TRIAD TOOL COMPANY LTD                535 TAUNTON RD E                                                              WHITBY ON L1R 2X4
                                                                                                                    CANADA
TRIALON CORP                          1477 WALLI STRASSE DR                                                                                   BURTON             MI    48509‐1798
TRIALON CORP                          7413 FENTON RD                                                                                          GRAND BLANC        MI    48439‐8893
TRIALON CORPORATION                   1477 WALLI STRASSE DR                                                                                   BURTON             MI    48509‐1798
TRIAM AUTO/TECUMSEH                   ATTN: DAVE CUMMING              CORPORATE SALES          2120 AUSTIN AVENUE                             ROCHESTER HILLS    MI    48309
TRIAM AUTO/TECUMSEH                   538 BLANCHARD PARK                                                            TECUMSEH ON N8N 2L9
                                                                                                                    CANADA
TRIAM TOOLING/EDC                     C/O NANCY LARABIE, LOAN DEPT.   151 O'CONNOR ST.                              OTTAWA ON K1A 1K3
                                                                                                                    CANADA
TRIAM/TESMA STERLING HEIGHTS          FRANK KUTNEY                    6363 E 14 MILE RD        STAMPING DIVISION                              STERLING HEIGHTS   MI    48312‐5804
TRIAM/TESMA STERLING HEIGHTS          FRANK KUTNEY                    STAMPING DIVISION        6363 E 14 MILE RD                              STERLING HEIGHTS   MI    48312‐5804
TRIANA, DANIEL                        13245 FENTON AVE                                                                                        SYLMAR             CA    91342‐4412
TRIANA, LUCILLE                       11594 WENDELL LN                                                                                        HAMMOND            LA    70401‐4622
TRIANCE, JANET A                      3331 GALL BLVD.                 LOT 10                                                                  ZEPHYR HILLS       FL    33541‐6800
TRIANCE, JANET A                      36609 LAKEWOOD DR                                                                                       ZEPHYRHILLS        FL    33542
TRIANGLE CAR CARE, INC.               6425 GLENWOOD AVE                                                                                       RALEIGH            NC    27612‐2619
TRIANGLE CHEVROLET‐BUICK‐OLDS, INC.   ROBERT LATHINGHOUSE             475 US HIGHWAY 90 W                                                     DEFUNIAK SPRINGS   FL    32433‐1460

TRIANGLE CHEVROLET‐BUICK‐OLDS, INC.   475 US HIGHWAY 90 W                                                                                     DEFUNIAK SPRINGS    FL   32433‐1460

TRIANGLE ECONOMIC RESEARCH            1055 ANDREW DR STE A                                                                                    WEST CHESTER       PA    19380‐4293
TRIANGLE ECONOMIC RESEARCH            6723 TOWPATH ROAD BOX 66                                                                                SYRACUSE           NY    13214
TRIANGLE ELECTRIC CO                  29787 STEPHENSON HWY                                                                                    MADISON HEIGHTS    MI    48071‐2334
TRIANGLE ENGINEERING OF AR INC        1101 N REDMOND RD                                                                                       JACKSONVILLE       AR    72076‐3624
TRIANGLE EXPRESS INC                  1015 SW 2ND ST                                                                                          OKLAHOMA CITY      OK    73109‐1006
TRIANGLE LAND CO                      SOUTH TRUST BANK                4471 E EVANS AVE                                                        DENVER             CO    80222‐5022
TRIANGLE MOTORS LTD.                  10TH FLOOR, UNION PARK CEN                                                    KOWLOON HONG KONG
TRIANGLE RENT A CAR                   2607 HIGHWAY 78                                                                                         SNELLVILLE         GA 30078
TRIANGLE RENT A CAR                   4404 WILKINSON BLVD                                                                                     GASTONIA           NC 28056‐8271
TRIANGLE RENT A CAR
TRIANGLE RENT A CAR                   FRANK COLONNA                   4817 HARGROVE ROAD                                                      RALEIGH            NC    27616
TRIANGLE SERVICES INC                 630 THIRD AVENUE                                                                                        NEW YORK           NY    10017
TRIANGLE TOOL CO INC                  2001 BUCK LANE                                                                                          ERIE               PA    16509
TRIANGLE TOOL CO INC                  2001 BUCK LN                                                                                            LEXINGTON          KY    40511‐1074
TRIANGLE UNITED WAY                   PO BOX 110387                                                                                           RTP                NC    27709‐5387
TRIANO, GENE R                        195 MCWHARTON WAY                                                                                       BUNKER HILL        WV    25413‐3632
TRIANO, JOHN J                        5325 N MICHIGAN AVE                                                                                     KANSAS CITY        MO    64118‐5876
TRIANO, KAREN G                       5016 GAGE CT. L2E7B5                                                          N FALLS, ONTARIO CANADA
                                                                                                                    L2E7B5
TRIANO, TRACEY A                      PO BOX 33                                                                                               ARLINGTON          TX    76004‐0033
TRIANO, TRACEY ANN                    PO BOX 33                                                                                               ARLINGTON          TX    76004‐0033
TRIANO, VIRGINIA                      10 DUXBURY LN                                                                                           BARNEGAT           NJ    08005‐3320
TRIANO, VIRGINIA                      10 DUXBURY LANE                                                                                         BARNEGAT           NJ    08005‐3320
TRIANTAFILLOU, NICK C                 4827 MILLIGAN RD                                                                                        LOWELLVILLE        OH    44436‐9729
TRIANTOS, KONSTANTINOS                15911 BELFAST LN                                                                                        HUNTINGTON BEACH   CA    92647‐3105
TRIAX CORP/OXFORD                     544 E LAKEVILLE RD                                                                                      OXFORD             MI    48371‐5144
TRIB GROUP                            DENNIS SHIELDS                  2775 CRUISE RD                                                          LAWRENCEVILLE      GA    30044
TRIBAR MANUFACTURING LLC              2211 GRAND COMMERCE DR                                                                                  HOWELL             MI    48855‐7320
TRIBAR MANUFACTURING LLC              TERRY KAZAKOS                   10125 INDUSTRIAL DRIVE                                                  WALLED LAKE        MI    48390
TRIBBETT JR, WILLIAM H                182 DEERWOOD TRL                                                                                        DUBLIN             GA    31021‐1156
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                      Part 37 of 40 Pg 466 of 901
Name                                Address1                          Address2                   Address3   Address4             City               State Zip
TRIBBETT, CHARLES E                 401 SEENEYTOWN RD                                                                            CLAYTON             DE 19938‐3256
TRIBBEY, ARTHUR S                   1650 JOHNSON MILL RD                                                                         NORTH BRANCH        MI 48461‐9538
TRIBBEY, WANDA J                    1199 DAFLER RD                                                                               WEST ALEXANDRIA     OH 45381‐9349
TRIBBEY, WANDA J                    1199 DAFLER ROAD                                                                             WEST ALEXANDRIA     OH 45381‐9349
TRIBBLE & SANDERS LLP               STE 1200                          3355 WEST ALABAMA STREET                                   HOUSTON             TX 77098‐1796
TRIBBLE DAVID                       10491 LAKERIDGE PKWY                                                                         ASHLAND             VA 23005‐8124
TRIBBLE JR, GEORGE W                3835 JERICHO RD                                                                              POINT PLEASANT      WV 25550‐9683
TRIBBLE, ANDERSON                   1086 PENNINGTON CT APT 10                                                                    CINCINNATI          OH 45240
TRIBBLE, B J                        121 PAVILION DR                                                                              BRANDON             MS 39042‐2330
TRIBBLE, BARRY W                    3833 NW 85TH TER APT A                                                                       KANSAS CITY         MO 64154‐3795
TRIBBLE, BARRY WAYNE                3833 NW 85TH TER APT A                                                                       KANSAS CITY         MO 64154‐3795
TRIBBLE, BRENT P                    4489 DYE RD                                                                                  SWARTZ CREEK        MI 48473‐8258
TRIBBLE, CATHERINE M                129 ROSEBLOOM RD                                                                             GRENADA             MS 38901‐9452
TRIBBLE, DEWEY A                    5418 CUMMING HWY                                                                             SUGAR HILL          GA 30518‐6906
TRIBBLE, DORIS                      312 CHARLES PL                                                                               ROSWELL             GA 30075‐3717
TRIBBLE, DORIS                      312 CHARLES PLACE                                                                            ROSWELL             GA 30075‐3717
TRIBBLE, ELIZABETH A                42760 PHEASANT RUN DR                                                                        STERLING HEIGHTS    MI 48313‐2664
TRIBBLE, GARRY L                    166 WARREN AVE                                                                               ELYRIA              OH 44035‐6236
TRIBBLE, GREGORY K                  2377 SECLUDED LN                                                                             FLINT               MI 48507‐3831
TRIBBLE, HUERTA L                   5302 THORNLEIGH DR                                                                           INDIANAPOLIS        IN 46226‐2262
TRIBBLE, JOSIE B                    2482 UTLEY RD                                                                                FLINT               MI 48532‐4964
TRIBBLE, KENNETH L                  3131 BLAINE                                                                                  SAGINAW             MI 48603‐2515
TRIBBLE, KENNETH L                  3131 BLAINE RD                                                                               SAGINAW             MI 48603‐2515
TRIBBLE, MILLARD W                  150 ISLAND DR                                                                                ELYRIA              OH 44035‐4777
TRIBBLE, PHYLLIS J                  3340 ZONE AVE                                                                                TOLEDO              OH 43617‐1071
TRIBBLE, PHYLLIS J                  3340 ZONE                                                                                    TOLEDO              OH 43617‐1071
TRIBBLE, RICHARD L                  14292 HIGHWAY KK                                                                             LEBANON             MO 65536
TRIBBLE, ROBERT W                   1863 KILBIRNIE DR                                                                            GERMANTOWN          TN 38139‐3419
TRIBBLE, RONALD G                   4489 DYE RD                                                                                  SWARTZ CREEK        MI 48473‐8258
TRIBBLE, RONALD W                   407 BRYCE LN                                                                                 ARLINGTON           TX 76013‐7506
TRIBBLE, RUBIN E                    12645 LENTZVILLE RD                                                                          ATHENS              AL 35614‐4204
TRIBBY, CAROL R                     3150 ARVILLE ST TRLR 54                                                                      LAS VEGAS           NV 89102‐7640
TRIBE, LAWRENCE R                   13278 WEBSTER RD                                                                             BATH                MI 48808‐9454
TRIBECA FILM FESTIVAL NYC LLC       ATTN SANDY OHEAREN                375 GREENWICH ST                                           NEW YORK            NY 10013
TRIBELHORN, BETTY M                 591 HONEY LOCUST LN                                                                          FLINT               MI 48506
TRIBELL, KEVIN E                    12813 LARENE DR                                                                              BLACK HAWK          SD 57718
TRIBFELNER, DALE L                  124 E WALNUT ST                                                                              SAINT CHARLES       MI 48655‐1312
TRIBFELNER, JOHN P                  1100 S WARREN RD                                                                             OVID                MI 48866‐9525
TRIBLE, BETTY A                     1457 3RD AVE                                                                                 LONGVIEW            WA 98632‐3226
TRIBLETT, SAM
TRIBLEY, C I                        400 S. MIGNER ST                                                                             CORUNNA            MI   48817
TRIBLEY, C I                        400 S MIZNER ST                                                                              CORUNNA            MI   48817‐1630
TRIBLEY, DALE M                     9400 E MILLER RD                                                                             DURAND             MI   48429‐9453
TRIBOLOGY TESTING LABS              7030 EAST RD                                                                                 SAGINAW            MI   48601‐9724
TRIBONA, JERRY                      408 JOSHUA LN                                                                                MIDDLETOWN         DE   19709‐8006
TRIBORO BRIDGE & TUNNEL AUTHORITY   ROBERT MOSES BUILDING RANDALL'S                                                              NEW YORK           NY   10035
                                    ISLAND
TRIBSYS INC                         31 SECOND AVE                                                           CONISTON CANADA ON
                                                                                                            P0M 1M0 CANADA
TRIBUE, LATONIA J                   12520 S CONSTANCE ST                                                                         OLATHE             KS 66062‐1498
TRIBUE, LUCY N                      2550 CUMBERLAND BLVD SE APT 801                                                              SMYRNA             GA 30080‐2849
TRIBUE, ROY T                       1431 E MADISON ST                                                                            KOKOMO             IN 46901‐3108
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                                      Part 37 of 40 Pg 467 of 901
Name                                Address1                          Address2                 Address3   Address4         City                 State Zip
TRIBUE, ROYCE                       2550 CUMBERLAND BLVD SE APT 801                                                        SMYRNA                GA 30080‐2849
TRIBULAK, MARGARET L                274 HUDSON RD                                                                          POULAN                GA 31781‐3523
TRIBUNE                             GERRY SPECTOR                     435 NORTH MICHIGAN AVE                               CHICAGO                IL 60611
TRIBUNE CO                          333 GLEN ST STE 600                                                                    GLENS FALLS           NY 12801‐3578
TRIBUNE CO                          GENERAL COUNSEL                   40 MEDIA DR                                          QUEENSBURY            NY 12804
TRIBUNE COMPANY                     GERRY SPECTOR                     435 NORTH MICHIGAN AVE                               CHICAGO                IL 60611
TRIBUNE DIRECT                      PO BOX 5943                                                                            CAROL STREAM           IL 60197‐5943
TRIBUNE MEDIA SERVICES INC          PO BOX 10026                                                                           ALBANY                NY 12201‐5026
TRIBUNE MEDIA SERVICES INC          333 GLEN ST STE 600                                                                    GLENS FALLS           NY 12801‐3578
TRIBUNE MEDIA SERVICES, INC         GENERAL COUNSEL                   40 MEDIA DR                                          QUEENSBURY            NY 12804
TRIBUNE REVIEW PUBLISHING COMPANY   622 CABIN HILL DR                                                                      GREENSBURG            PA 15601‐1692

TRIBUNELLA, CHARLES L               2393 LOCKPORT OLCOTT RD                                                                NEWFANE              NY   14108‐9510
TRIBUTSCH, JOSEPH C                 2504 S WABASH AVE                                                                      KOKOMO               IN   46902‐3315
TRICARICO, PAUL R                   4 S PERKINS AVE                                                                        ELMSFORD             NY   10523‐3710
TRICARICO, RONALD J                 97 HALL AVE                                                                            MERIDEN              CT   06450‐7714
TRICASE, ALBERT R                   47 ROOSEVELT ST                                                                        MASSENA              NY   13662‐1216
TRICE BRYAN                         25817 SPRING BRANCH DRIVE                                                              GREENSBORO           MD   21639‐1185
TRICE HUGHES, INC.                  111 HWY 91 N                                                                           PRINCETON            KY   42445
TRICE HUGHES, INC.                  LUCINDA GRAY                      5525 HOPKINSVILLE RD                                 CADIZ                KY   42211
TRICE HUGHES, INC.                  DANN HUGHES                       111 HWY 91 N                                         PRINCETON            KY   42445
TRICE JR, DOUGLAS                   PO BOX 38003                                                                           SAINT LOUIS          MO   63138‐0003
TRICE JR, LUCAS J                   758 LONGVIEW DR                                                                        GREENBACK            TN   37742‐4485
TRICE JR, WILLIE B                  3301 FLEMING RD                                                                        FLINT                MI   48504‐3823
TRICE JR, WILLIE BELL               3301 FLEMING ROAD                                                                      FLINT                MI   48504‐3823
TRICE, AARON D                      2688 COBBLE CIR 2                                                                      MORAINE              OH   45439
TRICE, ADA D                        PO BOX 404                                                                             WARREN               OH   44482‐0404
TRICE, ALLEN N                      309 N LAWRENCE ST                                                                      MOUNT UNION          PA   17066‐1142
TRICE, BARBARA L                    1320 S WAUGH ST                                                                        KOKOMO               IN   46902
TRICE, BENNY G                      19130 TRINITY ST                                                                       DETROIT              MI   48219‐1910
TRICE, C'ANGELO M                   224 SUMMERIDGE LANE                                                                    LAWRENCEVILLE        GA   30044
TRICE, CAROLYN K                    2722 MARION ST                                                                         SAGINAW              MI   48601
TRICE, CHARLES Q                    536 NW 172ND PL                                                                        EDMOND               OK   73012‐6778
TRICE, CORA S                       4248 SUNSET AVE                                                                        INDIANAPOLIS         IN   46208‐3766
TRICE, DONALD W                     120 N EDITH ST APT 224                                                                 PONTIAC              MI   48342‐2574
TRICE, DORETHA                      1084 S LIEBOLD ST                                                                      DETROIT              MI   48217‐1222
TRICE, EVELYN                       4686 RIDGEMOOR DR                                                                      BELDEN               MS   38826
TRICE, EZELL                        116 N. 3RD ST                                                                          LOVEJOY              IL   62059
TRICE, FORREST D                    7717 S RIDGELAND AVE                                                                   CHICAGO              IL   60649‐4505
TRICE, JAMES                        PO BOX 333                                                                             SAINT CLAIR SHORES   MI   48080‐0333
TRICE, JAMES E                      12011 TRALEE RD UNIT 503                                                               TIMONIUM             MD   21093‐3847
TRICE, JAMES W                      4993 CRABAPPLE CT                                                                      W BLOOMFIELD         MI   48324‐1291
TRICE, JANICE F                     7717 S RIDGELAND AVE                                                                   CHICAGO              IL   60649‐4505
TRICE, JAYE M                       1921 STONEY CHASE DRIVE                                                                LAWRENCEVILLE        GA   30044‐2893
TRICE, JERRY                        13934 CROSLEY                                                                          REDFORD              MI   48239‐2825
TRICE, JESSICA U                    4993 CRABAPPLE CT                                                                      WEST BLOOMFIELD      MI   48324‐1291
TRICE, JOE R                        349 VICTORY AVE                                                                        GREENWOOD            IN   46142‐1436
TRICE, JOHN                         3523 BAGSHAW DR                                                                        SAGINAW              MI   48601‐5208
TRICE, JOHN W                       1007 BRYAN PL NW                                                                       WARREN               OH   44485‐2209
TRICE, LEATHA A                     16500 N PARK DR APT 608                                                                SOUTHFIELD           MI   48075‐4762
TRICE, LUCILLE                      20457 STRATFORD RD                                                                     DETROIT              MI   48221‐1319
TRICE, LULA M                       163 S MARSHALL ST                                                                      PONTIAC              MI   48342‐3245
                      09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                           Part 37 of 40 Pg 468 of 901
Name                  Address1                          Address2            Address3         Address4         City                 State Zip
TRICE, MANVEL         3575 SOUTHFIELD DR                                                                      SAGINAW               MI 48601‐5652
TRICE, MARTHA W       1354 FRANCIS SE                                                                         WARREN                OH 44484‐4941
TRICE, MARTHA W       PO BOX 8902                                                                             WARREN                OH 44484‐0902
TRICE, MARVIN         BOX 131                                                                                 ORESTES               IN 46063‐0131
TRICE, MARY B         452 LYNCH AVE                                                                           PONTIAC               MI 48342‐1955
TRICE, MARY E         3575 SOUTHFIELD DR                                                                      SAGINAW               MI 48601‐5652
TRICE, MICHELLE L     11084 PRESTWICK DR                                                                      LANSING               MI 48917‐8884
TRICE, NATHANIEL      4714 E OUTER DR                                                                         DETROIT               MI 48234‐3252
TRICE, NINA B         315 E PAYTON ST                                                                         GREENTOWN             IN 46936‐1252
TRICE, OBIE           20301 REGENT DR                                                                         DETROIT               MI 48205‐1226
TRICE, PATZETTA M     12628 TREATY LINE ST                                                                    CARMEL                IN 46032‐7231
TRICE, PATZETTA M     1513 N ALABAMA ST                                                                       INDIANAPOLIS          IN 46202‐2534
TRICE, RAYMOND        13101 TULLER ST                                                                         DETROIT               MI 48238‐3127
TRICE, ROBERT         19503 HAMPTON DR                                                                        MACOMB                MI 48044‐1271
TRICE, ROSE M         5130 OLD COLONY RD                                                                      PORTAGE               MI 49024‐5750
TRICE, ROSS A         3109 E 10TH ST                                                                          ANDERSON              IN 46012‐4508
TRICE, THOMAS P       3042 N MAIN ST # 1108                                                                   DAYTON                OH 45405‐2811
TRICE, THOMAS PETER   4032 N MAIN ST APT 1108                                                                 DAYTON                OH 45405
TRICE, TIMMY          5706 EDGAR HOLT DR                                                                      FLINT                 MI 48505‐2981
TRICHE, OWEN A        17734 PRESTON AVE                                                                       BATON ROUGE           LA 70817‐7016
TRICHEL, HERMAN J     109 LACY DR                                                                             WEST MONROE           LA 71292‐6353
TRICHEL, MICHAEL J    109 LACY DR                                                                             WEST MONROE           LA 71292‐6353
TRICHEL, TOBY W       122 SAWYER RD                                                                           MONROE                LA 71203‐7309
TRICHIA A THIESSEN    1915 W BATAAN DR                                                                        KETTERING             OH 45420
TRICHTER, TRUDY       38 W RIVER ST APT 305                                                                   MILFORD               CT 06460‐3386
TRICIA BOMAN          8830 MICHIGAMME RD                                                                      CLARKSTON             MI 48348‐3436
TRICIA CONTRERAS      PO BOX 211071                                                                           AUBURN HILLS          MI 48321‐1071
TRICIA ELSTON         4997 SPRING MEADOW DR                                                                   CLARKSTON             MI 48348‐5160
TRICIA GLIME          1116 KNOB CREEK DR                                                                      ROCHESTER             MI 48306‐1941
TRICIA J REIGLE       550 ALMA AVE                                                                            MIAMISBURG            OH 45342‐3002
TRICIA L BUTLER       1473 ST. RT. 42 E.                                                                      XENIA                 OH 45385
TRICIA L WHITACRE     614 STANTON AVE                                                                         SPRINGFIELD           OH 45503
TRICIA M DOVER        1004 TIBBETTS AVE                                                                       SPRINGFIELD           OH 45505‐3034
TRICIA MORROW         7 LAKESIDE CT                                                                           GROSSE POINTE         MI 48230‐1906
TRICIA MURRAY         101 SHARON CIR                                                                          DENISON               TX 75020‐8025
TRICIA N KYLE         2620 SUTTON RD                                                                          JAMESTOWN             OH 45335
TRICIA NEIIENDAM      905 ALBANY ST                                                                           FERNDALE              MI 48220‐1667
TRICIA POWERS         4135 S MOUNT JULIET RD                                                                  HERMITAGE             TN 37076‐3892
TRICIA PRUITT         3200 WEBBER ST                                                                          SAGINAW               MI 48601‐4024
TRICIA R PRUITT       3200 WEBBER ST                                                                          SAGINAW               MI 48601‐4024
TRICIA SABO           7018 DAVISON RD                                                                         DAVISON               MI 48423‐2006
TRICIA SEMAK          9915 KINGS VLY                                                                          CLARKSTON             MI 48348‐4192
TRICIA SMITH          4646 HIALEAH PARK                                                                       HUBER HEIGHTS         OH 45424‐3687
TRICK, DAVID F        3836 WOODHURST CT                                                                       BEAVERCREEK           OH 45430‐1658
TRICK, DIETER E       14 DAVEY CRES                                                                           ROCHESTER             NY 14624‐1034
TRICK, FRANCES K      208 E OXFORD ST                                                                         CHULA VISTA           CA 91911‐3606
TRICK, FRITZ          22210 LAKELAND ST                                                                       SAINT CLAIR SHORES    MI 48081‐3710
TRICK, GLADYS A       744 WAGON TRAIN DR SE                                                                   RIO RANCHO            NM 87124‐2357
TRICK, JACQUELINE F   1970 NASH CT                                                                            DAYTON                OH 45439‐2622
TRICK, JEFFREY R      11943 DOGLEG RD                                                                         TIPP CITY             OH 45371‐9500
TRICK, JEROME W       8536 COOVERS MILL CT                                                                    DAYTON                OH 45414‐1267
TRICK, JEROME W       8536 COOVER MILL CT                                                                     DAYTON                OH 45414‐1267
                              09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                   Part 37 of 40 Pg 469 of 901
Name                         Address1                           Address2                        Address3                   Address4                City              State Zip
TRICK, KIMBERLY A            6591 GRANTS WALK LN                                                                                                   DAYTON             OH 45459‐3261
TRICK, LLOYD E               4051 TWIN LAKES CIRCLE                                                                                                CLAYTON            OH 45315‐8759
TRICK, LOUIS J               5525 MARKEY RD                                                                                                        DAYTON             OH 45415‐3443
TRICK, MARK W                10224 BROOKVILLE PHILLIPSBG RD                                                                                        BROOKVILLE         OH 45309‐9222
TRICK, MARVIN M              11745 W VERSAILLES RD                                                                                                 COVINGTON          OH 45318‐8823
TRICK, PAUL T                6762 S SHILOH RD                                                                                                      WEST MILTON        OH 45383‐9607
TRICK, THERESA I             102 ABERDEEN VILLAGE DR                                                                                               BEAVERCREEK        OH 45430‐2117
TRICK, VIRGINIA A            516 E 23RD ST                                                                                                         ANDERSON           IN 46016‐4423
TRICK, WILLIAM A             3612 TWINBROOK LN                                                                                                     KETTERING          OH 45429‐4415
TRICK,MARK W                 10224 BROOKVILLE PHILLIPSBG RD                                                                                        BROOKVILLE         OH 45309‐9222
TRICK,MARVIN M               11745 W VERSAILLES RD                                                                                                 COVINGTON          OH 45318‐8823
TRICKEL JR, WILLIAM B        11530 W GNATCATCHER LN                                                                                                SURPRISE           AZ 85374‐2540
TRICKEL, RHONDA S            612 CENTER AVE                                                                                                        JANESVILLE         WI 53548‐5049
TRICKER, CRAIG J             7124 KINSMAN NICKERSON RD                                                                                             KINSMAN            OH 44428‐9512
TRICKER, DON R               9817 E CHICKADEE DR                                                                                                   CROMWELL           IN 46732
TRICKER, LONI C              8520 AMBERJACK CIR UNIT 202                                                                                           ENGLEWOOD          FL 34224‐9513
TRICKER, RICHARD A           3544 WINDSOR WAY                                                                                                      ANDERSON           IN 46011‐3053
TRICKER, ROSE‐MARY           1407 SKIPPER DR APT 112                                                                                               WATERFORD          MI 48327
TRICKETT, FRED J             5915 DOXMERE DR                                                                                                       CLEVELAND          OH 44130‐1709
TRICKETT, LALOIFE M          44 N SPRING ST APT 2                                                                                                  EVERETT            PA 15537‐1160
TRICKETT, LALOIFE M          916 PLANK RD                                                                                                          EVERETT            PA 15537
TRICKETT, PHILIP E           11923 WAYCROSS ST                                                                                                     BRIGHTON           MI 48114‐9257
TRICKETT, PHILLIP E          11923 WAYCROSS ST                                                                                                     BRIGHTON           MI 48114‐9257
TRICKEY CARL SCOTT           C/O EDWARD O MOODY P A             801 WEST 4TH STREET                                                                LITTLE ROCK        AR 72201
TRICKEY DAVID                TCO SRL                            VIA IV NOVEMBRE 37CTCO SRL      CASTELLO DI SERRAVALLE     BOLOGNA ITALY ITALY
                                                                                                40500
TRICKEY, CARL                MOODY EDWARD O                     801 W 4TH ST                                                                       LITTLE ROCK       AR 72201‐2107
TRICKEY, JOHN R              8393 PEACH BLOSSOM DR                                                                                                 CENTERVILLE       OH 45458‐3243
TRICKLE, ALAN E              314 BELSTONE ST                                                                                                       PICKERINGTON      OH 43147‐8070
TRICKLEBANK, SIDNEY B        26 NIHILL CRESCENT 5               MISSION BAY AUCKLAND 5                                     MISSION BAY AUCKLAND
                                                                                                                           00000 NEW ZEALAND
TRICKLER, FRANCES M          1770 PIPER LANE                    UNIT 104                                                                           CENTERVILLE       OH   45440‐5073
TRICKLER, FRANCES M          1770 PIPER LN APT 104                                                                                                 CENTERVILLE       OH   45440‐5073
TRICKLER, RAYMOND E          1770 PIPER LN APT 104                                                                                                 CENTERVILLE       OH   45440‐5073
TRICKLER, STEVEN C           4400 DALEVIEW AVE TRLR 14                                                                                             DAYTON            OH   45405‐1514
TRICO CREDIT UNION           ATTN: BEVERLY J CRANS              PO BOX 1383                                                                        JANESVILLE        WI   53547‐1383
TRICO LIMITED                PONTYPOOL                          SOUTH WALES NP4 0XZ                                        UNITED KINGDOM GREAT
                                                                                                                           BRITAIN
TRICO PROD/1900 BILL         1900 BILLY MITCHELL BLVD STE D                                                                                        BROWNSVILLE       TX   78521‐5610
TRICO PROD/BROWNSVIL         3255 W HAMLIN RD                                                                                                      ROCHESTER HILLS   MI   48309‐3231
TRICO PROD/BROWNSVIL         1995 BILLY MITCHELL BLVD                                                                                              BROWNSVILLE       TX   78521‐5625
TRICO PROD/BROWNSVIL         605 NAFTA BLVD                     C/O FICOSA N‐AMER/L & M FRWD'G MILO DIST. CTR.                                     LAREDO            TX   78045‐9456

TRICO PRODUCTS               BUFFALO PLT                        3255 W HAMLIN RD                                                                   ROCHESTER HILLS   MI 48309‐3231
TRICO PRODUCTS               HILLARY BRADY                      11182 HIGHWAY 17                C/O TEXTRON AUTOMOTIVE                             LAVONIA           GA 30553‐4417

TRICO PRODUCTS               1900 BILLY MITCHELL BLVD                                                                                              BROWNSVILLE       TX 78521
TRICO PRODUCTS               3255 W HAMLIN RD                                                                                                      ROCHESTER HILLS   MI 48309‐3231
TRICO PRODUCTS               DAN EHDE                           C/O FICOSA N‐AMER/L&M           605 NAFTA BLVD‐MILO DIST   RAMOS ARIZPE CH 25903
                                                                FORWARD                         CTR                        MEXICO
TRICO PRODUCTS               HILLARY BRADY                      C/O TEXTRON AUTOMOTIVE          11182 HIGHWAY 17                                   LAVONIA           GA 30553‐4417
TRICO PRODUCTS AFTERMARKET   5635 S ARCHER AVE                                                                                                     CHICAGO           IL 60638‐1673
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                         Part 37 of 40 Pg 470 of 901
Name                               Address1                           Address2                      Address3                 Address4                   City               State Zip
TRICO PRODUCTS AFTERMARKET         PO BOX 102128                                                                                                        ATLANTA             GA 30368‐2128
TRICO PRODUCTS CORP                3255 W HAMLIN RD                                                                                                     ROCHESTER HILLS     MI 48309‐3231
TRICO PRODUCTS CORP.               DAN EHDE                           600 ELCA LN STE B & C                                                             GLENDALE HEIGHTS     IL 60139
TRICO PRODUCTS CORPORATION         3255 W HAMLIN RD                                                                                                     ROCHESTER HILLS     MI 48309
TRICO PRODUCTS CORPORATION         DAN EHDE                           1995 BILLY MITCHELL BLVD.                                                         HARTSVILLE          SC 29550
TRICO PRODUCTS CORPORATION         ATTN RICK ONISKO                   3255 W HAMILIN ROAD                                                               ROCHESTER HILLS     MI 48309‐3231
TRICO PRODUCTS(DUNSTABLE)LTD.      STEVE CAREY                        TRICO                         HIGH ST. NORTH                                      HOLLAND             MI 49424
TRICO STEEL COMPANY LLC
TRICO TECHNOLOGIES CORP            1995 BILLY MITCHELL BLVD                                                                                             BROWNSVILLE        TX   78521‐5697
TRICOFF, JOSEPH                    45105 DUNBARTON DR                                                                                                   NOVI               MI   48375‐3810
TRICOMP INC                        230 W PARKWAY STE 14                                                                                                 POMPTON PLAINS     NJ   07444‐1060
TRICON ELECTRO                     PO BOX 630                                                                                                           GLEN ELLYN         IL   60138‐0630
TRICON INDUSTRIES INC              JAN MARSHMANX1242                  1600 EISENHOWER LN STE 200                                                        LISLE              IL   60532‐4007
TRICON INDUSTRIES, INC             JAN MARSHMANX1242                  1600 EISENHOWER LN STE 200                                                        GREENSBURG         IN   47240
TRICON/DOWNERS GROVE               PO B OX 630                                                                                                          GLEN ELLYN         IL   60138‐0530
TRICOR DIRECT INC                  20 THOMPSON RD                     PO BOX 819                                                                        BRANFORD           CT   06405‐2842
TRICY LYBRAND                      65 JADE DR                                                                                                           BREMEN             GA   30110‐3473
TRIDENT AUTO/WIXOM                 47000 LIBERTY DR                                                                                                     WIXOM              MI   48393‐3696
TRIDENT AUTOMOTIVE SYSTEMS         DANIEL GEORGE                      PO BOX 821                    DIV OF DURA AUTOMOTIVE                              SANTA ANA          CA   92702‐0821
TRIDENT COMPONENTS GROUP LTD
TRIDENT COMPONENTS GROUP LTD       SUSANNE RIES                       STEIERMAERKER STRASSE 49      KIRCHDORF ANDRE KREMS    OBEROESTERREICH
                                                                                                                             AUSTRIA
TRIDENT LIGHTING LLC                DANIEL GEORGE                     PO BOX 821                    DIV OF DURA AUTOMOTIVE                              SANTA ANA          CA 92702‐0821
TRIDENT PRECISION MANUFACTURING INC 734 SALT RD                                                                                                         WEBSTER            NY 14580‐9718

TRIDENT PRECISION MFG INC          734 SALT RD                                                                                                          WEBSTER            NY 14580‐9718
TRIDENT PRINTING CORP              ATTN: EDWARD WORLOCK               PO BOX 918                                                                        SYRACUSE           NY 13206‐0918
TRIDENT TECHNICAL COLLEGE          P O BOX 118067 FR C                                                                                                  CHARLESTON         SC 29423
TRIDENT TOOLING PTY LTD            8 TRANSPORT AVE                    NETLEY SOUTH AUSTRALIA 5037                            NETLEY SA 5037 AUSTRALIA
TRIDENT TOOLING PTY LTD            8 TRANSPORT AVE                                                                           NETLEY SA 5037 AUSTRALIA
TRIDENT UNITED WAY                 PO BOX 63305                                                                                                         CHARLESTON         SC   29419‐3305
TRIDICO, HELEN M                   1378 WALKER AVENUE EAST                                                                                              MANSFIELD          OH   44905‐3029
TRIDICO, SHELVA J                  2085 MCCLELLAN ROAD                                                                                                  PERRY              FL   32347
TRIDLE KELLY                       TRIDLE, KELLY                      29 HILLCREST CT                                                                   OGALLALA           NE   69153‐3233
TRIDLE, ETHEL M                    4807 PALOMINO DR                                                                                                     DUBOIS             IN   47527‐9590
TRIDLE, KEITH A                    341 SOUTHMORE ST                                                                                                     PLAINFIELD         IN   46168‐1756
TRIDLE, KELLY                      29 HILLCREST CT                                                                                                      OGALLALA           NE   69153‐3233
TRIDON / TRICO PRODUCTS            3200 PARKER DR                                                                                                       SAINT AUGUSTINE    FL   32084‐0891
TRIDON, INC                        8100 TRIDON DR                                                                                                       SMYRNA             TN   37167‐6603
TRIDON/LAWRENCEBERG                101 MOTIVATION DR                  P.O. BOX 966                                                                      LAWRENCEBURG       TN   38464‐7371
TRIDON/SMYRNA                      8100 TRIDON DR                                                                                                       SMYRNA             TN   37167‐6603
TRIEFF, THEODORE                   545 W OXFORD ST                                                                                                      ALLIANCE           OH   44601‐2243
TRIEFLER MILTON (466098)           LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                                           MIAMI              FL   33143‐5163
TRIEFLER, CAROLYN                  98 ORTON RD                                                                                                          WEST CALDWELL      NJ   07006‐8018
TRIEFLER, MILTON                   LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                                           MIAMI              FL   33143‐5163
TRIEFLER, MILTON                   THE LIPMAN LAW FIRM                5915 PONCE DE LEON BLVD       SUITE 44                                            CORAL GABLES       FL   33146
TRIEM, AMBER S                     615 ROCKPORT ROAD                                                                                                    JANESVILLE         WI   53548‐5161
TRIEMSTRA, RICHARD H               6238 COLLEGE DR                                                                                                      DEARBORN HTS       MI   48127‐2554
TRIEN D LE                         5861 YORKTOWN                                                                                                        DAYTON             OH   45431‐2948
TRIENDA                            N7660 INDUSTRIAL RD                                                                                                  PORTAGE            WI   53901‐9451
TRIENDA CORP/PLYMOUT               186 N MAIN ST                                                                                                        PLYMOUTH           MI   48170‐1236
TRIENDA CORPORATION                12312 COLLECTION CENTER                                                                                              CHICAGO            IL   60693‐0123
                            09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                             Part 37 of 40 Pg 471 of 901
Name                        Address1                             Address2                  Address3   Address4           City               State Zip
TRIENDA CORPORATION         186 N MAIN ST                                                                                PLYMOUTH            MI 48170‐1236
TRIENDA EFT                 ATTN: CORPORATE OFFICER/AUTHORIZED   12312 COLLECTION CENTER                                 CHICAGO              IL 60693‐0123
                            AGENT
TRIENDA LLC                 186 N MAIN ST                                                                                PLYMOUTH           MI   48170‐1236
TRIENDA LLC                 1181 S MAIN ST                                                                               PLYMOUTH           MI   48170‐2213
TRIENDA LLC                 N7660 INDUSTRIAL RD                                                                          PORTAGE            WI   53901‐9451
TRIENDS LLC                 231 S LASALLE ST                     ADD CHNG MW 10/15/02                                    CHICAGO            IL   60697‐0001
TRIENDS LLC                 231 S LASALLE ST                                                                             CHICAGO            IL   60697‐0001
TRIER, GENEIEVE H           2579 KODIAK DR                                                                               EAST LANSING       MI   48823‐7209
TRIER, MARY                 8274 SUNNYSIDE CIRCLE                                                                        FREELAND           MI   48623‐659
TRIER, REBECCA J            2351 CHENEAUX LN                                                                             O FALLON           MO   63368‐8229
TRIER, RONALD J             PO BOX 6072                                                                                  SAGINAW            MI   48608‐6072
TRIERWEILE, MYRTLE          12436 GRAND RIVER AVE                                                                        EAGLE              MI   48822
TRIERWEILER, BARBARA A      1414 SHANNON LN                                                                              LANSING            MI   48917‐2058
TRIERWEILER, CHARLES M      7448 CHELLMAR DR                                                                             LANSING            MI   48917‐9103
TRIERWEILER, DALE F         9251 S HINMAN RD                                                                             EAGLE              MI   48822‐9757
TRIERWEILER, DALE G         PO BOX 368                                                                                   ELSIE              MI   48831‐0368
TRIERWEILER, GARY R         12550 W PRATT RD                                                                             WESTPHALIA         MI   48894‐9754
TRIERWEILER, JOSEPH M       10567 MARSALLE RD                                                                            PORTLAND           MI   48875‐9623
TRIERWEILER, KENNETH F      11133 S WRIGHT RD                                                                            EAGLE              MI   48822‐9738
TRIERWEILER, MICHAEL S      510 LOOKING GLASS AVE                                                                        PORTLAND           MI   48875‐1243
TRIERWEILER, MONICA S       12550 W PRATT RD                                                                             WESTPHALIA         MI   48894‐9754
TRIERWEILER, PATRICK A      510 LOOKINGLASS                                                                              PORTLAND           MI   48875
TRIERWEILER, REBECCA M      4775 FOX CHASE DR                                                                            WHITE LAKE         MI   48383‐1683
TRIERWEILER, RICHARD C      6925 JENNIFER LN                                                                             PORTLAND           MI   48875‐8787
TRIERWEILER, ROBERT E       5560 SHERIDAN RD                                                                             SAGINAW            MI   48601‐9306
TRIERWEILER, ROGER J        10834 WILLARD RDT                                                                            TRUFANT            MI   49347
TRIESCHMAN, SYLVIA S        2124 WALNUT ST                                                                               ANDERSON           IN   46016‐4460
TRIESCHMANN, ROBERT H       160 JOCKEY HOLLOW WAY                                                                        UNION              NJ   07083‐4157
TRIEST, A M                 379 GARDEN CIR                                                                               YORKVILLE          IL   60560‐9193
TRIEST, A MICHAEL           379 GARDEN CIR                                                                               YORKVILLE          IL   60560‐9193
TRIESTRAM, LARRY R          4066 FIELD RD                                                                                CLIO               MI   48420‐8221
TRIET CAM                   43150 GINA DR                                                                                STERLING HEIGHTS   MI   48314‐6301
TRIETCH, DAVID A            R914 COUNTY ROAD 3                                                                           LIBERTY CTR        OH   43532‐9578
TRIETLEY, JAMES A           1042 PARKER BLVD                                                                             TONAWANDA          NY   14223‐2547
TRIETLEY, JOHN J            132 E FOREST AVE                                                                             OLEAN              NY   14760‐1409
TRIETLEY, TIMOTHY R         770 WEST FAIRY STREET                                                                        BUFFALO            NY   14222
TRIETLEY, TIMOTHY R.        APT 11A                              770 WEST FERRY STREET                                   BUFFALO            NY   14222‐2400
TRIETSCH, ALISSA            2034 MILAM ROAD EAST                                                                         SANGER             TX   76266‐7431
TRIETSCH, BOBBIE JEAN       617 GRIBBLE SPRINGS RD                                                                       SANGER             TX   76266
TRIETSCH, JERRY E           813 HATTIE DR                                                                                ANDERSON           IN   46013‐1633
TRIETSCH, JO ANN            211 RAMBLING LN                                                                              EULESS             TX   76039‐3815
TRIETSCH, SANDRA J          813 HATTIE DR                                                                                ANDERSON           IN   46013‐1633
TRIEU                       PO BOX 457                                                                                   SAN DIMAS          CA   91773‐0457
TRIEU, LAC V                2367 UTE CT                                                                                  BELOIT             WI   53511‐2789
TRIEU‐KY HO                 3514 PAISLEY CT                                                                              ANN ARBOR          MI   48105‐2837
TRIF, VIOREL V              6593 CRABAPPLE                                                                               TROY               MI   48098‐1978
TRIFARI WALTER J (402402)   ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                     NEW YORK           NY   10006‐1638
TRIFARI, WALTER J           ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                     NEW YORK           NY   10006‐1638
TRIFAST PLC                 HANS KRIISA                          HARPSUNDSVAGEN 185                   BANDHAGEN SWEDEN
TRIFFIN, ROBERT J
TRIFFLER OLDSMOBILE
                                        09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                             Part 37 of 40 Pg 472 of 901
Name                                    Address1                              Address2                       Address3                  Address4         City            State Zip
TRIFILETTI, JOSEPH T                    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                              PITTSBURGH       PA 15219

TRIFILO JOHN S (626815)                 GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510
                                                                              STREET, SUITE 600
TRIFILO, JOHN S                         GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510‐2212
                                                                              STREET, SUITE 600
TRIGALET JR, ROGER C                    4696 LINDERO DR                                                                                                 FORT MOHAVE     AZ   86426‐6468
TRIGEN ENERGY CORPORATION               ATTN: GENERAL COUNSEL                 ONE WATER STREET                                                          WHITE PLAINS    NY   10601
TRIGEN‐CINERGY SOLUTIONS LLC            DEBORAH M. NEWELL                     181 THORN HILL RD                                                         WARRENDALE      PA   15086‐7527
TRIGEN‐CINERGY SOLUTIONS, LLC           CHARLES O'DONNELL, PE                 105 E 4TH ST STE 1850                                                     CINCINNATI      OH   45202‐4087
TRIGEN‐CINERGY SOLUTIONS, LLC           ATTN: DEBORAH M. NEWELL, ESQ.         181 THORN HILL RD                                                         WARRENDALE      PA   15086‐7527
TRIGEN‐CINERGY SOLUTIONS, LLC           ATTN: CHARLES M. O'DONNELL, PE        105 E 4TH ST STE 1850                                                     CINCINNATI      OH   45202‐4087
TRIGEN/CINERGY ‐ USFOS OF LANSING LLC   C/O CHESTER ENGINNERS/U.S. FILTER     CRAIG YENDELL                  3830 PACKARD ST STE 120                    ANN ARBOR       MI   48108‐2051

TRIGEN/CINERGY ‐ USFOS OF LANSING LLC C/O CHESTER ENGINNERS/U.S. FILTER       JACK HILL                      PO BOX 13007                               LANSING         MI 48901‐3007

TRIGEN/CINERGY‐USFOS OF LANSING LLC     ATTN: CORPORATE SECRETARY             1232 HACO DR                                                              LANSING         MI 48912‐1610

TRIGEN/CINERGY‐USFOS OF LANSING LLC     3830 PACKARD ST STE 120                                                                                         ANN ARBOR       MI 48108‐2051

TRIGEN/CINERGY‐USFOS OF LANSING LLC     CRAIG YENDELL                         3830 PACKARD ST STE 120                                                   ANN ARBOR       MI 48108‐2051

TRIGEN/CINERGY‐USFOS OF LANSING LLC     CRAIG YENDELL                         3830 PACKARD ST STE 120                                                   ANN ARBOR       MI 48108‐2051
C/O CHESTER ENGINEERS/U.S. FILTER

TRIGEN/CINERGY‐USFOS OF LANSING LLC     CORPORATE SECRETARY                   PO BOX 13007                                                              LANSING         MI 48901‐3007
C/O CHESTER ENGINEERS/U.S. FILTER

TRIGENT/CINERGY ‐ USFOS OF LANSING LLC 1232 HACO DR                                                                                                     LANSING         MI 48912‐1610

TRIGG BETTY                             1805 E RILEY RD                                                                                                 OWOSSO          MI   48867‐9681
TRIGG COUNTY SHERIFF                    PO BOX 1690                                                                                                     CADIZ           KY   42211‐1690
TRIGG JR, HAROLD F                      2716 GHENT AVE                                                                                                  DAYTON          OH   45420‐3870
TRIGG, BETTY K                          1805 E RILEY RD                                                                                                 OWOSSO          MI   48867‐9681
TRIGG, BRUCE E                          12174 ODELL RD                                                                                                  LINDEN          MI   48451‐9485
TRIGG, BRUCE EDWARD                     12174 ODELL RD                                                                                                  LINDEN          MI   48451‐9485
TRIGG, COMER H                          485 BRANNON RD                                                                                                  CUMMING         GA   30041‐6440
TRIGG, D L                              636 MAJESTIC DR                                                                                                 DAYTON          OH   45427‐2826
TRIGG, DAVID B                          1677 ELK FOREST RD                                                                                              ELKTON          MD   21921‐8144
TRIGG, DEBRA L                          154 DURST DR NW                                                                                                 WARREN          OH   44483‐1102
TRIGG, DOUGLAS L                        636 MAJESTIC DRIVE                                                                                              DAYTON          OH   45427‐2826
TRIGG, HUBBARD                          3640 N 6TH ST                                                                                                   MILWAUKEE       WI   53212‐4122
TRIGG, JOE F                            PO BOX 2014                                                                                                     PACE            FL   32571‐0214
TRIGG, JOE F                            P.O. BOX 2014                                                                                                   PACE            FL   32571‐0214
TRIGG, JOHN A                           180 TRIGG CIR                                                                                                   JACKSON         MS   39208‐9343
TRIGG, KAREN M                          4079 INDIAN DR                                                                                                  MEMPHIS         TN   38122‐2518
TRIGG, KAREN M                          9123 LINDEN ROAD                                                                                                SWARTZ CREEK    MI   48473‐9152
TRIGG, KATHRYN A                        5120 BROOKLYN AVE                                                                                               KANSAS CITY     MO   64130‐2558
TRIGG, KENNETH E                        106 HOWE ST                                                                                                     LODI            OH   44254‐1053
TRIGG, KEVIN D                          APT 724                               8508 16TH STREET                                                          SILVER SPRING   MD   20910‐5933
TRIGG, KIMBERLY R                       953 MARCIA ST SW                                                                                                WYOMING         MI   49509
TRIGG, KRISTI                           APT 710                               233 HOLLY HILLS DRIVE                                                     HOWELL          MI   48843‐3907
                                      09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                            Part 37 of 40 Pg 473 of 901
Name                                  Address1                           Address2                Address3     Address4         City                State Zip
TRIGG, LARRY D                        3042 E 60TH ST                                                                           KANSAS CITY          MO 64130‐3926
TRIGG, MALCOM M                       3503 RUSH SPRINGS DR                                                                     ARLINGTON            TX 76016‐4819
TRIGG, MALCOM MACK                    3503 RUSH SPRINGS DR                                                                     ARLINGTON            TX 76016‐4819
TRIGG, NICOLE R                       27 CLIFF ST                                                                              DAYTON               OH 45405‐2805
TRIGG, NIKKI E                        3503 RUSH SPRINGS DR                                                                     ARLINGTON            TX 76016‐4819
TRIGG, PAUL R                         10723 N GRAND AVE                                                                        KANSAS CITY          MO 64155‐1638
TRIGG, RUTH C                         422 HILLCREST RD                                                                         NORTH LITTLE ROCK    AR 72120‐2408
TRIGG, RUTH C                         422 HILLCREST ST                                                                         NORTH LITTLE ROCK    AR 72120‐2408
TRIGG, THOMAS L                       2851 HUNTINGTON DR.                                                                      TROY                 OH 45373‐5373
TRIGG, WILLIAM KIETH                  1805 E RILEY RD                                                                          OWOSSO               MI 48867‐9681
TRIGG, WILLIAM R                      154 DURST DR NW                                                                          WARREN               OH 44483‐4483
TRIGGER, EARL J                       4725 N HUBBARD LAKE RD                                                                   SPRUCE               MI 48762‐9558
TRIGGER, FRANCIS L                    3161 W COLDWATER RD                                                                      MOUNT MORRIS         MI 48458‐9402
TRIGGER, LORAN T                      PO BOX 208                                                                               WATERS               MI 49797‐0208
TRIGGER, RYAN L                       3161 W COLDWATER RD                                                                      MOUNT MORRIS         MI 48458‐9402
TRIGGIANO RALPH J (650554)            MOTLEY RICE                        321 S MAIN ST           STE 200                       PROVIDENCE            RI 02903‐7109
TRIGGIANO, RALPH J                    MOTLEY RICE LLC                    312 S MAIN ST STE 200                                 PROVIDENCE            RI 02903‐7109
TRIGGS SR, TERRY M                    5003 CAMPUS HILL DR E302                                                                 OKEMOS               MI 48862
TRIGGS, CHARLES                       50 TRELAWNEY RUN                                                                         COVINGTON            GA 30016‐6877
TRIGGS, DONNIE F                      8943 HILTON DR                                                                           SHREVEPORT           LA 71118‐2401
TRIGGS, GAYSHA N                      8943 HILTON DR                                                                           SHREVEPORT           LA 71118‐2401
TRIGGS, GILBERT H                     24 1ST ST                                                                                INWOOD               WV 25428‐4303
TRIGGS, HAROLD T                      16102 HARVARD AVE                                                                        CLEVELAND            OH 44128‐2054
TRIGGS, JAMES E                       12051 SABAL LAKES LN                                                                     FORT MYERS           FL 33913‐8367
TRIGGS, SHIRLEY A                     4726 POINSETTIA AVE SE                                                                   KENTWOOD             MI 49508‐4516
TRIGGS, SIEBERDINA                    333 E LAKEWOOD BLVD                LOT 334                                               HOLLAND              MI 49424‐2056
TRIGGS, SIEBERDINA                    333 EAST LAKEWOOD BLVD             LOT#334                                               HOLLAND              MI 49424
TRIGGS, STEPHEN C                     498 EVANS RUN DR                                                                         MARTINSBURG          WV 25405‐5209
TRIGGS, WILLIAM L                     PO BOX 36                                                                                INWOOD               WV 25428‐0036
TRIGGS, WILLIAM L                     114 MYSTICAL WAY                   POBOX 36                                              INWOOD               WV 25428
TRIGILIO, DOMINIC L                   9312 SITKA SPRUCE CT                                                                     CLARENCE CTR         NY 14032‐9132
TRIGIN, NICK V                        30 ABBEYWOOD DR                                                                          ROMEOVILLE            IL 60446‐1111
TRIGLIA MICHAEL                       26685 SUSSEX HWY                                                                         SEAFORD              DE 19973‐8525
TRIGO JR, ATANACIO G                  407 N UNION ST                                                                           ST.LOUIS             MI 48880‐1833
TRIGO JR, ATANACIO G                  407 UNION ST                                                                             SAINT LOUIS          MI 48880‐1833
TRIGO, JUAN F                         545 GROVENBURG RD                                                                        MASON                MI 48854‐9576
TRIGO, JUAN FRANCISCO                 545 GROVENBURG RD                                                                        MASON                MI 48854‐9576
TRIGONA, ANTHONY P                    5525 LIMERIC CIR APT 33                                                                  WILMINGTON           DE 19808‐3419
TRIHAS, HARRY J                       5125 THOREAU DR                                                                          PARMA                OH 44129‐6544
TRIHAS, JOHN                          17868 LYON LN                                                                            STRONGSVILLE         OH 44149‐6886
TRIJO JR, SIMAN                       PO BOX 14527                                                                             SAGINAW              MI 48601‐0527
TRIJO, COLEEN M                       500 ATLANTA ST                                                                           SAGINAW              MI 48604‐2243
TRIJO, STEVE L                        3057 BUSCH RD                                                                            BIRCH RUN            MI 48415‐9010
TRIJO, STEVE LEE                      3057 BUSCH RD                                                                            BIRCH RUN            MI 48415‐9010
TRIKENSKY, ALDONA J                   7733 GRAND AVE                     ELMWOOD CARE                                          ELMWOOD PK            IL 60707‐1820
TRIKES, CATHERINE F                   55481 WARD ST                                                                            NEW HUDSON           MI 48165‐9766
TRIKON/SHELBY TWP                     52816 ROYAL FOREST DR                                                                    SHELBY TWP           MI 48315‐2433
TRILBA ESTEP                          605 DICKERSON RD                                                                         WILLOWICK            OH 44095‐4224
TRILBY BOGGS                          185 WILLIS MARTIN RD                                                                     COOKEVILLE           TN 38501‐9137
TRILBY BURGER                         1534 SARASOTA DR                                                                         TOLEDO               OH 43612‐4033
TRILEGAINT LOYALTY SOLUTIONS, INC.    7814 CAROUSEL LANE                                                                       RICHMOND             VA 23294
TRILEGIANT LOYALTY SOLUTIOINS, INC.   7814 CAROUSEL LN.                                                                        RICHMOND             VA 23294
                                      09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                           Part 37 of 40 Pg 474 of 901
Name                                 Address1                            Address2                 Address3   Address4                City                State Zip
TRILEGIANT LOYALTY SOLUTIONS         7814 CAROUSEL LANE                                                                              RICHMOND             VA 23294
TRILEGIANT LOYALTY SOLUTIONS INC
TRILION QUALITY SYSTEMS              200 BARR HARBOR DR STE 400                                                                      WEST CONSHOHOCKEN   PA   19428‐2978
TRILION QUALITY SYSTEMS LLC          200 BARR HARBOR DR STE 400                                                                      WEST CONSHOHOCKEN   PA   19428‐2978
TRILLA SHREWSBURY                    411 HARDIN DR                                                                                   JOPPA               MD   21085‐4226
TRILLER, LEON A                      608 CLAYMONT DR                                                                                 BALLWIN             MO   63011‐2444
TRILLIUM AUTO REAL ESTATE LTD        PRESIDENT                           35 AUTO MALL DR                     SCARBOROUGH CANADA
                                                                                                             ON M1B 5N5 CANADA
TRILLIUM AUTO REAL ESTATE LTD.       ATTN: MR. T.L. HURDMAN, PRESIDENT   35 AUTO MALL DR                     SCARBOROUGH ON M1B
                                                                                                             5N5 CANADA
TRILLIUM CORP                        4130 CRAWFORD RD                                                                                DRYDEN              MI 48428‐9779
TRILLIUM PONTIAC BUICK GMC LTD.      ATTN: MR. T.L. HURDMAN, PRESIDENT   35 AUTO MALL DR                     SCARBOROUGH ON M1B
                                                                                                             5N5 CANADA
TRILLIUM RAILWAY CO LTD              PO BOX 218                                                              PORT COLBORNE ON L3K
                                                                                                             5V8 CANADA
TRILLIUM SPECIALTY PARTS             CHET GRZIBOWSKI                     301 BROOKS ST                                               ROSEVILLE           MI
TRILLIUM SPECIALTY PARTS & AFTER     CHET GRZIBOWSKI                     301 BROOKS ST                                               ROSEVILLE           MI
TRILLIUM SPECIALTY PARTS AND AFTER   301 N BROOKS ST                                                                                 PELAHATCHIE         MS   39145‐2973
TRILLIUM STAFFING SOLUTIONS          PO BOX 641513                                                                                   DETROIT             MI   48264‐1513
TRILLIUM TEAMOLOGIES                 219 S MAIN ST STE 300                                                                           ROYAL OAK           MI   48067‐2643
TRILLMON STEELE                      11946 HWY 33                                                                                    MOULTON             AL   35650
TRILLOMA INDUSTRIES                  4314 HIGHWAY 80                                                                                 PELAHATCHIE         MS   39145
TRILLOMA/PELAHATCH                   4341 HIGHWAY 80                                                                                 PELAHATCHIE         MS   39145‐2918
TRILOGIQ USA CORP                    35522 INDUSTRIAL RD                                                                             LIVONIA             MI   48150‐1234
TRILOGY AUTO CONSULTING INC          2945 TRILOGY RD                                                                                 MILFORD             MI   48381‐3441
TRILOGY TECHNOLOGIES INC
TRILOGY TECHNOLOGIES INC             HANAN GOLAN                         180 ENGELWOOD DR STE J              MILANO ITALY
TRILORE TECHNOLOGIES INC             3000 F DANVILLE BLVD STE 525                                                                    ALAMO               CA   94507
TRIM PARTS                           2175 DEERFIELD RD                                                                               LEBANON             OH   45036‐6422
TRIM PARTS INC                       DARRYL BOWMAN                       2175 DEERFIELD RD                                           BOWLING GREEN       OH   43402
TRIM PARTS, INC.                     DARRYL BOWMAN                       2175 DEERFIELD RD                                           BOWLING GREEN       OH   43402
TRIM PARTS, INC.                     CARL CHADWELL                       2175 DEERFIELD RD                                           LEBANON             OH   45036‐6422
TRIM TEK MANUFACTURING INC           124 CORDELL HULL DRIVE                                                                          CELINA              TN   38551
TRIM TEK/CELINA                      124 CORDELL HULL DRIVE                                                                          CELINA              TN   38551
TRIM TRENDS CANADA INC               DUNDALK PLANT                       280 VICTORIA ST                     DUNDALK CANADA ON N0C
                                                                                                             1B0 CANADA
TRIM TRENDS CANADA LTD               VICTORIA ST W PO BOX 370                                                DUNDALK CANADA ON N0C
                                                                                                             1B0 CANADA
TRIM TRENDS INC                      DECKERVILLE DIE FORM                PO BOX 18620                                                NEWARK              NJ   07191‐8620
TRIM, CLAUDE A                       11390 ANDERSONVILLE RD                                                                          DAVISBURG           MI   48350‐3132
TRIM, DONALD E                       2620 FLINT RIVER RD                                                                             LAPEER              MI   48446‐9064
TRIM, DONNA A                        5350 LELAND STREET                                                                              BRIGHTON            MI   48116‐8116
TRIM, DONNA A                        5350 LELAND ST                                                                                  BRIGHTON            MI   48116‐1913
TRIM, DOUGLAS E                      2142 N OAK RD                                                                                   DAVISON             MI   48423‐8116
TRIM, FRANCES L                      2417 CAPLES RD                                                                                  WEST MONROE         LA   71292‐8224
TRIM, LARRY D                        12348 COLDWATER RD                                                                              COLUMBIAVILLE       MI   48421‐8809
TRIM, ROBERT J                       8009 KNOLL CT                                                                                   BRENTWOOD           TN   37027‐7012
TRIM‐LOK INC                         6855 HERMOSA CIR                                                                                BUENA PARK          CA   90620‐1151
TRIM‐LOK INC                         BILL WASSON                         6855 HERMOSA CIRCLE                                         GRAND BLANC         MI   48439
TRIM‐LOK INC.                        BILL WASSON                         6855 HERMOSA CIRCLE                                         GRAND BLANC         MI   48439
TRIMAC T S W I #71                   1990 STATE HIGHWAY 119                                                                          LONGMONT            CO   80504‐9539
TRIMAC TRANSPORTATION INC #95        3939 ATKINSON DRIVE                                                                             LOUISVILLE          KY   40218
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                       Part 37 of 40 Pg 475 of 901
Name                                Address1                              Address2                      Address3                 Address4                 City              State Zip
TRIMAC TRANSPORTATION SERVICESINC   800 7 AVE SW                                                                                 CALGARY CANADA AB T2P
                                                                                                                                 2P9 CANADA
TRIMACCO, GENE J                    821 IOWA AVE                                                                                                          MC DONALD         OH 44437‐1623
TRIMACCO, MARSHAROSE B              821 IOWA AVE                                                                                                          MC DONALD         OH 44437‐1623
TRIMACCO, MARSHAROSE B              821 IOWA AVE.                                                                                                         MCDONALD          OH 44437‐1623
TRIMAG S E C                        1421 AMPERE                                                                                  BOUCHERVILLE CANADA PQ
                                                                                                                                 J4B 5Z5 CANADA
TRIMAG SEC                          3825 RUE ALFRED LALIBERTE                                                                    SAINTE THERESE PQ J7H
                                                                                                                                 1P8 CANADA
TRIMAG SEC                          MICHAEL BENI                          3825 RUE ALFRED LALIBERTE                              BOISBRIAND QC J7H 1P7
                                                                                                                                 CANADA
TRIMAG/ONTARIO                      32371 DEQUINDRE RD                    C/O BENI & ASSOCIATES, INC.                                                     MADISON HEIGHTS    MI   48071‐1594
TRIMARCHI, JOSEPH                   22 S GILMORE BLVD                                                                                                     WAPPINGERS FL      NY   12590‐3708
TRIMARCO PONTIAC‐BUICK‐GMC, INC.    GARY D TRIMARCO                       14061 NORTHLAND DR                                                              BIG RAPIDS         MI   49307‐8941
TRIMARCO PONTIAC‐BUICK‐GMC, INC.    ALLEN L. TAMAR                        GENERAL MOTORS CORPORATION    387 SHURMAN BOULEVARD,                            NAPERVILLE         IL   60563
                                                                                                        SUITE 240
TRIMARCO PONTIAC‐BUICK‐GMC, INC.    GARY TRIMARCO                         14061 NORTHLAND DR                                                              BIG RAPIDS         MI 49307‐8941
TRIMARCO PONTIAC‐BUICK‐GMC, INC.    14061 NORTHLAND DR                                                                                                    BIG RAPIDS         MI 49307‐8941
TRIMARCO RONALD                     109 MARLEY RD                                                                                                         MIDDLETOWN         DE 19709‐9180
TRIMARK                             BOX 7780                                                                                     AMMAN 11118 JORDAN
TRIMARK/DETROIT                     10106 GRINNELL ST                                                                                                     DETROIT           MI    48213‐1142
TRIMAS CORP                         REBECCA WORDEN                        LAKE ERIE PRODUCTS DIV        12955 INKSTER RD                                  DES MOINES        IA
TRIMAS CORP                         12955 INKSTER RD                                                                                                      LIVONIA           MI    48150‐2212
TRIMATRIX LABORATORIES INC          5560 CORPORATE EXCHANGE CT SE                                                                                         GRAND RAPIDS      MI    49512‐5503
TRIMBACH, CHARLES E                 PO BOX 860                                                                                                            OLD FORGE         NY    13420‐0860
TRIMBACH, CHARLES F                 PO BOX 860                                                                                                            OLD FORGE         NY    13420‐0860
TRIMBACH, JONI M                    4380 MOZART AVENUE                                                                                                    DAYTON            OH    45424‐5983
TRIMBACH, JONI MARIE                4380 MOZART AVENUE                                                                                                    DAYTON            OH    45424‐5983
TRIMBACH, NANCY L                   815 WALDSMITH WAY                                                                                                     VANDALIA          OH    45377‐9627
TRIMBACH, PATRICK R                 50 DANIEL ST 52                                                                                                       DAYTON            OH    45404
TRIMBATH, ROBERT W                  134 HOLLYWOOD DR                                                                                                      CLAIRTON          PA    15025‐4004
TRIMBLE EMBRY R (661273)            MOTLEY RICE                           PO BOX 1792                                                                     MT PLEASANT       SC    29465‐1792
TRIMBLE FAMILY REV LV TRUST         TRIMBLE FAMILY REVOCABLE LIVING TRUST PO BOX 18672                                                                    SPOKANE           WA    99228‐0671

TRIMBLE JR, CORNELIUS               14147 BURT RD                                                                                                         DETROIT           MI    48223‐2709
TRIMBLE JR, LLOYD E                 591 N CLAYTON RD                                                                                                      NEW LEBANON       OH    45345‐9641
TRIMBLE MARILYN                     TRIMBLE, MARILYN                      PO BOX 43                                                                       STAFFORDSVILLE    KY    41256
TRIMBLE MICHAEL                     11445 OLDE WOOD TRL                                                                                                   FENTON            MI    48430‐4025
TRIMBLE STANLEY                     1431 COBBLESTONE ST.                                                                                                  DAYTON            OH    45432‐3406
TRIMBLE STANLEY                     1431 COBBLESTONE ST                                                                                                   DAYTON            OH    45432‐3406
TRIMBLE TECH CHOIR                  1003 W CANNON ST                                                                                                      FORT WORTH        TX    76104‐3030
TRIMBLE WADDY EMMA JEAN             C/O EDWARD O MOODY P A                801 WEST 4TH STREET                                                             LITTLE ROCK       AR    77201
TRIMBLE WADDY, EMMA JEAN            MOODY EDWARD O                        801 W 4TH ST                                                                    LITTLE ROCK       AR    72201‐2107
TRIMBLE, ARCHIE L                   3631 W 79TH PL                                                                                                        CHICAGO           IL    60652‐1801
TRIMBLE, BERNARD A                  5686 BRIARWOOD DR                                                                                                     MILLINGTON        MI    48746‐9435
TRIMBLE, BESSIE A                   6066 LALAGRAY LN                                                                                                      WATAUGA           TX    76148‐3450
TRIMBLE, BRENDA L                   11445 OLDE WOOD TRL                                                                                                   FENTON            MI    48430‐4025
TRIMBLE, CLAUDE                     5256 BUCKNER DR                                                                                                       DAYTON            OH    45424‐6133
TRIMBLE, CONNIE                     5686 BRIARWOOD DRIVE                  LOT 73                                                                          MILLINGTON        MI    48746
TRIMBLE, CORNELI                    1607 PRAIRIE DR                                                                                                       PONTIAC           MI    48340‐1085
TRIMBLE, CORNELIUS                  1607 PRAIRIE DR                                                                                                       PONTIAC           MI    48340‐1085
TRIMBLE, DEBRA L                    209 CRESTWOOD STREET                                                                                                  TILTON            IL    61833‐7524
                             09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                Part 37 of 40 Pg 476 of 901
Name                         Address1                        Address2              Address3       Address4               City                  State Zip
TRIMBLE, DIANE E             2015 DODGE RD                                                                               EAST AMHERST           NY 14051‐1336
TRIMBLE, DONALD D            605 N MAIN ST                                                                               INDEPENDENCE           MO 64050‐2811
TRIMBLE, DOWINDA L           2821 CRAVENS RD                                                                             POPLARBLUFF            MO 63901
TRIMBLE, ELIZABETH S         1071 BLUE KNOB RD                                                                           MAYSEL                 WV 25133‐9759
TRIMBLE, EMBRY R             MOTLEY RICE                     PO BOX 1792                                                 MT PLEASANT            SC 29465‐1792
TRIMBLE, FANNIE I            1720 TROY URBANA RD                                                                         TROY                   OH 45373‐9724
TRIMBLE, FANNIE I            1720 TROYURBANA ROAD                                                                        TROY                   OH 45373
TRIMBLE, HAROLD G            1071 BLUE KNOB RD                                                                           MAYSEL                 WV 25133‐9759
TRIMBLE, HOWARD K            2215 TALL TIMBER CT                                                                         FAIRBORN               OH 45324‐6420
TRIMBLE, JAMES A             1608 BOULEVARD PL                                                                           ELWOOD                 IN 46036‐3214
TRIMBLE, JAMES N             214 SAYLES AVE                                                                              PASCOAG                 RI 02859
TRIMBLE, JOE R               # 10                            200 COUNTY ROAD 616                                         EARLY                  TX 76802‐3294
TRIMBLE, KATHLEEN A          9925 MAINLANDS BLVD N                                                                       PINELLAS PARK          FL 33782‐4035
TRIMBLE, LARRY               279 1ST ST SW                                                                               WARREN                 OH 44485‐3821
TRIMBLE, LARRY F             1536 45TH AVE E                                                                             ELLENTON               FL 34222‐2644
TRIMBLE, LEOLA H             2421 WILLOW DR. S.W.                                                                        WARREN                 OH 44485‐3349
TRIMBLE, LEOLA H             2421 WILLOW DR SW                                                                           WARREN                 OH 44485‐3349
TRIMBLE, LILLIAN M           2304 PARKVIEW LANE SUITE #5                                                                 ELWOOD                 IN 46036
TRIMBLE, LLOYD E             591 N CLAYTON RD                                                                            NEW LEBANON            OH 45345‐9641
TRIMBLE, LONNIE D            10831 MOGUL ST                                                                              DETROIT                MI 48224‐2443
TRIMBLE, LORRAINE N          508 44TH AVE E LOT G40                                                                      BRADENTON              FL 34203‐7505
TRIMBLE, MARILYN             PO BOX 43                                                                                   STAFFORDSVILLE         KY 41256‐0043
TRIMBLE, MARK I              2328 OME AVE                                                                                DAYTON                 OH 45414‐5162
TRIMBLE, MARY A              1180 DRAWBRIDGE DR                                                                          RIVERDALE              GA 30296‐7300
TRIMBLE, MARY A              1607 PRAIRIE DR                                                                             PONTIAC                MI 48340‐1085
TRIMBLE, MAYBELLE I          PO BOX 12527                                                                                CHANDLER               AZ 85248‐0026
TRIMBLE, MEREDITH H          19212 LAUREL DR                                                                             LIVONIA                MI 48152‐1135
TRIMBLE, MICHAEL B           11445 OLDE WOOD TRL                                                                         FENTON                 MI 48430‐4025
TRIMBLE, MICHAEL R           9925 MAINLANDS BLVD N                                                                       PINELLAS PARK          FL 33782‐4035
TRIMBLE, MICHELLE            9838 KAIMUKI COURT                                                                          DIAMONDHEAD            MS 39525‐4463
TRIMBLE, PAUL D              PO BOX 243                                                                                  WAYNESVILLE            OH 45068‐0243
TRIMBLE, PAUL D              P. O. BOX 243                                                                               WAYNESVILLE            OH 45068‐0243
TRIMBLE, PHILIP K            10 ADAJA LN                                                                                 HOT SPRINGS VILLAGE    AR 71909‐6508
TRIMBLE, RALPH               3122 LODWICK DR NW APT 2                                                                    WARREN                 OH 44485‐1551
TRIMBLE, RAMONA L            1825 WOODVINE ST APT 3                                                                      FAIRBORN               OH 45324‐6609
TRIMBLE, RICHARD M           125 W LIVINGSTON DR APT 2                                                                   FLINT                  MI 48503‐4169
TRIMBLE, ROCKY W             5315 BROBECK ST                                                                             FLINT                  MI 48532‐4002
TRIMBLE, RUTH M              454 EAST ATHERTON RD                                                                        FLINT                  MI 48507‐2735
TRIMBLE, SETH T              829 ORCHARD AVE.                                                                            EAST LIVERPOOL         OH 43920
TRIMBLE, SETH T.             829 ORCHARD AVE.                                                                            EAST LIVERPOOL         OH 43920
TRIMBLE, SONJA L             PO BOX 36                                                                                   POTSDAM                OH 45361‐0036
TRIMBLE, TERRY A             5329 KRISTEN PL                                                                             ANDERSON               IN 46017‐9660
TRIMBLE, TERRY ALLAN         5329 KRISTEN PL                                                                             ANDERSON               IN 46017‐9660
TRIMBLE, VERA J              4446 RICHARDS RD                                                                            DAVISON                MI 48423
TRIMBLE, VERNON C            9100 WALKER RD APT 525                                                                      SHREVEPORT             LA 71118‐2935
TRIMBOLI'S AUTO CENTRE INC   20 CANSO RD                                                          ETOBICOKE ON M9W 4L8
                                                                                                  CANADA
TRIMBOLI, ANTHONY J          W173S7800 WESTWOOD DR                                                                       MUSKEGO               WI   53150‐9354
TRIMBOLI, CARMELA            127 RODNEY LN                                                                               ROCHESTER             NY   14625‐1249
TRIMBOLI, DOMINIC            11959 SILICA RD                                                                             NORTH JACKSON         OH   44451‐9674
TRIMBOLI, JOSEPH D           PO BOX 39                                                                                   NORFOLK               NY   13667‐0039
TRIMBOLI, SALVATORE M        1712 EMPIRE BLVD APT 41                                                                     WEBSTER               NY   14580‐2137
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                         Part 37 of 40 Pg 477 of 901
Name                                Address1                          Address2                      Address3         Address4         City                  State Zip
TRIMBOLY, CARMELINA C               1915 HOMEWORTH DRIVE                                                                              RANCHO PALOS VERVES    CA 90275‐2027
TRIMBUR DAVIS ECHOLS & BOYD PC      1301 L ST                                                                                         MODESTO                CA 95354
TRIMBUR, PAUL D                     760 FOX HOLLOW PKWY                                                                               MARIETTA               GA 30068‐2407
TRIMBY HUGH A (429960)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK                VA 23510
                                                                      STREET, SUITE 600
TRIMBY, HUGH A                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK               VA 23510
                                                                      STREET, SUITE 600
TRIMER, LODZIA R                    3842 ROOSEVELT ST                                                                                 DEARBORN              MI   48124‐3683
TRIMET                                                                4400 SE 17TH AVE                                                                      OR   97202
TRIMINSKY PETER                     5700 WOODMIRE DR                                                                                  SHELBY TOWNSHIP       MI   48316‐1749
TRIMM, ARTHUR R                     4845 HUSTON DR                                                                                    ORION                 MI   48359‐2134
TRIMM, FREDERICK T                  7 RAINWATER LN                                                                                    BLUFFTON              SC   29909‐6031
TRIMM, HERBERT E                    13604 DATE ST                                                                                     NORTHPORT             AL   35475‐4756
TRIMM, HERBERT ELWOOD               13604 DATE ST                                                                                     NORTHPORT             AL   35475‐4756
TRIMM, MATTHEW A                    3500 MAYBEE RD                                                                                    ORION                 MI   48359‐1410
TRIMM, MICHAEL A                    14908 KENTUCKY ST                                                                                 DETROIT               MI   48238‐1777
TRIMM, MICHAEL R                    4825 HUSTON DR                                                                                    ORION                 MI   48359‐2134
TRIMM, SAMUEL A                     14908 KENTUCKY ST                                                                                 DETROIT               MI   48238‐1777
TRIMM, VERLA M                      744 BAYBERRY LANE                                                                                 OTSEGO                MI   49078‐1569
TRIMM, VERLA M                      744 BAYBERRY LN                                                                                   OTSEGO                MI   49078‐1569
TRIMMEL, CHARLES                    115 W 3RD ST                                                                                      TILTON                IL   61833‐7410
TRIMMELL SHARON SII OF STEVEN       WRONGFUL DEATH HEIR               C/O HAROWITZ & TIGERMAN LLP   450 SANSOME ST   3RD FL           SAN FRANCISCO         CA   94111‐3311
TRIMMELL FOR LOSS OF CONSORTIUM &

TRIMMER, BETTY J                    18437 PELLETT DR                                                                                  FENTON                MI   48430‐8508
TRIMMER, CHRISTOPHER A              16047 FISH LAKE RD                                                                                HOLLY                 MI   48442‐8346
TRIMMER, JAMEY C                    7040 WAYLAND DR                                                                                   INDIANAPOLIS          IN   46239‐9502
TRIMMER, JON                        1632 HARRAHS PKWY S EXT # 1407                                                                    ROBINSONVILLE         MS   38564‐9100
TRIMMER, MYLAND D                   7619 BASSETT DR                                                                                   DAYTON                OH   45424‐2104
TRIMMER, PATRICK A                  PO BOX 62                         116 N. LAKE STREET                                              HARRISVILLE           MI   48740‐0062
TRIMMER, ROBERT S                   9750 S HINMAN RD                                                                                  EAGLE                 MI   48822‐9670
TRIMMER, ROBERT S                   6872 E GRAND RIVER AVE                                                                            PORTLAND              MI   48875‐8718
TRIMMER, SARAH                      6452 HATTER ROAD                                                                                  NEWFANE               NY   14108‐9766
TRIMMER, SARAH                      6452 HATTER RD                                                                                    NEWFANE               NY   14108‐9766
TRIMMER, SHAWN M                    1035 HACKMAN DR                                                                                   TEMPERANCE            MI   48182‐9207
TRIMMER, THOMAS D                   3530 BADGER LN                                                                                    SPENCER               IN   47460‐5011
TRIMMER, THOMAS D                   3530 BADGER LANE                                                                                  SPENCER               IN   47460‐7460
TRIMMER, WAYNE S                    9260 GREINER RD                                                                                   CLARENCE              NY   14031‐1209
TRIMNAL, SENORA
TRIMNAL, SHANNON                    PAJCIC & PAJCIC                   1 INDEPENDENT DR STE 3100                                       JACKSONVILLE          FL   32202‐5025
TRIMODAL INC                        8009 34TH AVE S STE 300                                                                           MINNEAPOLIS           MN   55485‐7508
TRIMOLD                             200 PITTSBURGH RD                                                                                 CIRCLEVILLE           OH   43113‐9288
TRIMPER, GLORIA A                   14 COACH HOUSE CT                                                                                 DAYTONA BEACH         FL   32119‐1668
TRIMPER, JOHN G                     10900 HILLWAY ST                                                                                  WHITE LAKE            MI   48386‐3749
TRIMPER, JOHN GERARD                10900 HILLWAY ST                                                                                  WHITE LAKE            MI   48386‐3749
TRIMS UNLIMITED                     MARTIN FISHER                     332 INDUSTRIAL PKWAY                                            LIVONIA               MI   48150
TRIMTEK MANUFACTURING INC           124 CORDELL HULL DR               PO BOX 250                                                      CELINA                TN   38551
TRIMTEK MANUFACTURING INC           KEITH BOYLE X204                  124 CORDELL HULL DR                                             CELINA                TN   38551
TRIMUE, VERA J                      956 HILLSBORO VIOLA RD                                                                            HILLSBORO             TN   37342‐3153
TRIN INC                            500 HLTHOMPSON JR DR                                                                              ASHLEY                IN   46705
TRIN MAC CO                         14488 E 10 MILE RD                                                                                WARREN                MI   48089‐2160
TRIN‐MAC COMPANY INC                14488 E 10 MILE RD                                                                                WARREN                MI   48089‐2160
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                   Part 37 of 40 Pg 478 of 901
Name                             Address1                       Address2                            Address3   Address4               City                State Zip
TRINA A BLEDSOE                  8212 WESCOTT AVENUE                                                                                  FAIRBORN             OH 45324‐1839
TRINA BARTA                      28019 MORAN ST                                                                                       HARRISON TOWNSHIP    MI 48045‐2936
TRINA C KENDRICK                 75 BENNING PL                                                                                        DAYTON               OH 45408‐1720
TRINA DAVIS                      4901 185TH CT                                                                                        CNTRY CLB HLS         IL 60478‐4490
TRINA EBERHART                   19155 ROGGE ST                                                                                       DETROIT              MI 48234‐3024
TRINA GOODMAN                    1054 S MILLARD WAY                                                                                   STONE MOUNTAIN       GA 30088‐2518
TRINA HAMILTON                   301 E RIDGEWAY AVE                                                                                   FLINT                MI 48505‐5215
TRINA HIDALGO                    249 CHURCH HILL DOWNS BLVD                                                                           WILLIAMSTON          MI 48895‐9070
TRINA JAMES                      2901 BROWNELL BLVD                                                                                   FLINT                MI 48504‐2598
TRINA KMIEC                      1633 HOLLAND ST                                                                                      BIRMINGHAM           MI 48009‐6855
TRINA L BLEDSOE                  167 W KENNETT RD                                                                                     PONTIAC              MI 48340‐2647
TRINA L DAVIDSON                 1632 NORTH JH MCGEE BLVD #C                                                                          DAYTON               OH 45407
TRINA L GOODMAN                  1054 S MILLARD WAY                                                                                   STONE MOUNTAIN       GA 30088‐2518
TRINA L GOODMAN                  2532 SHEA LOOP                                                                                       FORT MEADE           MD 20755‐2155
TRINA L NORRIS                   1408 PIEDMONT CUTOFF APT.521                                                                         EAST GADSDEN         AL 35903
TRINA L SPINGER                  1615 S NIAGARA ST                                                                                    SAGINAW              MI 48602‐1377
TRINA M DUPREE                   4401 GENESEE AVE.                                                                                    DAYTON               OH 45406
TRINA M KMIEC                    1633 HOLLAND ST                                                                                      BIRMINGHAM           MI 48009‐6855
TRINA M MCWILLIAMS               1881 COMMONWEALTH DR                                                                                 XENIA                OH 45385
TRINA M PERRY                    1824 CAROL ANN AVE                                                                                   YPSILANTI            MI 48198‐6231
TRINA P LEDBETTER                915 CRENSHAW AVE                                                                                     GADSDEN              AL 35904‐4339
TRINA R MENGESHA                 120 SEWARD ST APT 405                                                                                DETROIT              MI 48202‐4447
TRINA TROUTMAN                   BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS       OH 44236
TRINA V PERCY                    4690 NORDELL DR                                                                                      JACKSON              MS 39206
TRINA VILLEGAS                   1549 BALLARD ST                                                                                      LANSING              MI 48906‐4508
TRINCA, NICHOLINA A              164 FERGUSON DR                                                                                      HILTON               NY 14468‐9504
TRINCHITELLA, MAURICE            WILENTZ GOLDMAN & SPITZER      88 PINE STREET, WALL STREET PLAZA                                     NEW YORK             NY 10005

TRINCIA, ANNA M                  34 E REAMER AVE APT A          MIDDLEBORO CREST                                                      WILMINGTON          DE   19804‐1369
TRINCIA, GILBERTO D              1912 HOWLAND ST                                                                                      WILMINGTON          DE   19805‐5318
TRINCIA, JOSEPH A                229 HOPE CT W                                                                                        BEAR                DE   19701‐3373
TRINCKEL, VIRGINIA K             5082 ROSSWAY DR                                                                                      FLINT               MI   48506‐1528
TRINCKEL, VIRGINIA K             6082 ROSSWAY DR                                                                                      FLINT               MI   48506‐1528
TRINCKES, DEBRA M                752 TRIANGLE DR                                                                                      HUBBARD             OH   44425‐9727
TRINDADE, ALVIN C                132 BLOOMFIELD WAY                                                                                   FOLSOM              CA   95630‐7632
TRINDEL, MARY L                  2808 TAMRA LN                                                                                        ANDERSON            IN   46012‐9497
TRINDER, JANET S                 2900 SOUTH MEEKER AVE.                                                                               MUNCIE              IN   47302‐4650
TRINDER, JANET S                 2900 S MEEKER AVE                                                                                    MUNCIE              IN   47302‐4650
TRINDLE, STEVEN M                2004 FIESTA RIDGE CT                                                                                 TAMPA               FL   33604‐7701
TRINE JOSIE                      4623 W 100 S                                                                                         RUSSIAVILLE         IN   46979‐9512
TRINE M. MITCHELL                230 4TH AVE N STE 503          PO BOX 190461                                                         NASHVILLE           TN   37219‐2134
TRINE UNIVERSITY                 CAST METALS ADVISORY BOARD     1060 LAKE DR                                                          FREMONT             IN   46737
TRINE, CAROL A                   4289 S PITTSFORD RD            PO BOX #216                                                           PITTSFORD           MI   49271‐9726
TRINE, ROSEMARIE                 2001 WESLEY AVE                APT 205                                                               JANESVILLE          WI   53545
TRINE, ROSEMARIE                 2001 WESLEY AVE APT 205                                                                              JANESVILLE          WI   53545‐2684
TRINE, WILLIAM J                 2612 E CENTER RD                                                                                     KOKOMO              IN   46902‐9501
TRINEALL DURDEN                  239 HICKORY HOLLOW PL                                                                                ANTIOCH             TN   37013‐3009
TRINELLI GIOVANNI & SCALABRINI   VIA PALAZZINA 181                                                             41048 PRIGNANO SULLA
GIUSEPPINA                                                                                                     SECCHIA (MO) ITALY
TRINETTE MOORE                   2940 ENGLAND PKWY                                                                                    GRAND PRAIRIE       TX 75054‐5522
TRINGALE, KIMBERLY H             4076 CROOKS ST                                                                                       WEST BLOOMFIELD     MI 48323‐1222
TRINGALI, FRANK                  2592 BROWN CITY RD                                                                                   IMLAY CITY          MI 48444‐9417
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                      Part 37 of 40 Pg 479 of 901
Name                             Address1                          Address2                         Address3              Address4              City             State Zip
TRINGALI, ROSE                   165 WILLOW BREEZE RD                                                                                           TONAWANDA         NY 14223‐1355
TRINGALI, SHIRLEY M              2078 AVIGNON DR                                                                                                SAINT CHARLES     MO 63303‐5961
TRINGALI, VINCENZO               47044 ROSEMARY RD                                                                                              MACOMB            MI 48044‐2579
TRINGHESE, RALPH M               19909 N RAWHIDE WAY                                                                                            SURPRISE          AZ 85387‐8276
TRINH ANH HANH NGUYEN
TRINH, ANN S                     4217 ARTILLERY RIDGE RD                                                                                        FREDERICKSBURG   VA    22408‐2524
TRINH, ANN SAU                   4217 ARTILLERY RIDGE RD                                                                                        FREDERICKSBURG   VA    22408‐2524
TRINH, DANIEL K                  4217 ARTILLERY RIDGE RD                                                                                        FREDERICKSBURG   VA    22408‐2524
TRINH, JOSEPH H                  105 TWIN LAKE DR                                                                                               FREDERICKSBRG    VA    22401‐7034
TRINH, MAI T                     66 SUNRISE DR                                                                                                  WHIPPANY         NJ    07981‐1161
TRINH, MARY D                    105 TWIN LAKE DR                                                                                               FREDERICKSBRG    VA    22401‐7034
TRINH, MARY DUC                  105 TWIN LAKE DR                                                                                               FREDERICKSBRG    VA    22401‐7034
TRINH, NAM V                     3501 YACHTCLUB CT                                                                                              ARLINGTON        TX    76016‐2555
TRINI LOPEZ                      6790 BORGES ST                                                                                                 CORONA           CA    92880‐8990
TRINI SANCHEZ                    733 DOUGLAS DR                                                                                                 SAN LEANDRO      CA    94577‐1416
TRINIDAD & TOBAGO INSURANCE LT   BRYDENS INSURANCE INC             2ND FLOOR CLAPHAM COURT          WILDEY MAIN ROAD ST   TRINIDAD & TOBAGO
                                                                                                    MICHAEL               TRINIDAD AND TOBAGO
TRINIDAD AUTOMOBILES LTD.        SS 13 GMDAT                                                                              GMDAT TRINIDAD AND
                                                                                                                          TOBAGO
TRINIDAD BOUCHER                 4429 MATTHEW DR                                                                                                RACINE           WI    53402‐9544
TRINIDAD CARRERA                 7305 W 58TH ST                                                                                                 SUMMIT           IL    60501‐1307
TRINIDAD CASTANON                30138 BUMBLE BEE DR                                                                                            GEORGETOWN       TX    78628‐3715
TRINIDAD CIRILO JR               3390 TULIP DR                                                                                                  BRIDGEPORT       MI    48722‐9650
TRINIDAD F FLORES                2989 BRONCO DR                                                                                                 ONTARIO          CA    91761
TRINIDAD GALINDO                 14977 NURMI ST                                                                                                 SYLMAR           CA    91342‐3838
TRINIDAD GARCIA                  THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                                  HOUSTON          TX    77017
TRINIDAD GARZA JR.               2493 E 2350TH RD                                                                                               MARSEILLES       IL    61341‐9710
TRINIDAD GONZALES                2925 BUDAU AVE                                                                                                 LOS ANGELES      CA    90032‐2801
TRINIDAD GRIMAU ESCOFET          C/ CREIXELL, 73                   08720 ‐ VILAFRANCA DEL PENEDES
                                                                   (BARCELON
TRINIDAD J MARTINEZ              62 PINGREE AVE                                                                                                 PONTIAC          MI    48342‐1155
TRINIDAD LOPEZ                   3644 BERKSHIRE RD                                                                                              PICO RIVERA      CA    90660‐5930
TRINIDAD MARIN                   4467 AMADOR RD                                                                                                 FREMONT          CA    94538‐1201
TRINIDAD MONROY                  7504 CALMAR CT                                                                                                 FORT WORTH       TX    76112‐5405
TRINIDAD PEREZ                   287 COUNTY ROAD 2745                                                                                           LOMETA           TX    76853‐3006
TRINIDAD SAHAGUN                 44658 FOXBORO CT                                                                                               LANCASTER        CA    93535‐3475
TRINIDAD SOTELLO
TRINIDAD STATE JUNIOR COLLEGE    600 PROSPECT ST                                                                                                TRINIDAD         CO    81082‐2356
TRINIDAD STRICKLAND              46 SHELBY ST SW                                                                                                GRAND RAPIDS     MI    49507‐1047
TRINIDAD URIBE                   4070 S WASHINGTON RD                                                                                           SAGINAW          MI    48601‐5169
TRINIDAD ZAPARI                  5715 WINTER ST                                                                                                 FORT WAYNE       IN    46806‐3214
TRINIDAD, ISMAEL                 541 W 211TH ST APT 3                                                                                           NEW YORK         NY    10034
TRINIDAD, LIESELLE E             352 NORTHAMPTON RD APT A                                                                                       AMHERST          MA    01002
TRINIDAD, PEDRO A                8467 PARKSIDE DR                                                                                               GRAND BLANC      MI    48439‐7442
TRINITAS COMP CANCER CTR         100 WALNUT AVE                                                                                                 CLARK            NJ    07066‐1253
TRINITY AUTOMOTIVE               10728 S PIPELINE RD STE C                                                                                      HURST            TX    76053‐7823
TRINITY CHRISTIAN COLLEGE        BUSINESS OFFICE                   6601 W COLLEGE DR                                                            PALOS HEIGHTS    IL    60463‐1768
TRINITY COLLEGE                  125 MICHIGAN AVE NE                                                                                            WASHINGTON       DC    20017‐1004
TRINITY COLLEGE OF NURSING AND   555 6TH STREET                    BUSIENSS OFFICE                                                              MOLINE           IL    61265
SCHOOLS OF ALLIED HEALTH
TRINITY CONSULTANTS              12770 MERIT DR STE 900                                                                                         DALLAS            TX   75251‐1296
TRINITY CONSULTANTS              12801 N CENTRAL EXPY STE 1200                                                                                  DALLAS            TX   75243‐1733
                                    09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                     Part 37 of 40 Pg 480 of 901
Name                                 Address1                            Address2                      Address3   Address4              City              State Zip
TRINITY CONSULTANTS INC              12770 MERIT DR STE 900                                                                             DALLAS             TX 75251‐1296
TRINITY DISCOUNT DRUGS               1380 OLD HIGHWAY 24                                                                                TRINITY            AL 35673‐5600
TRINITY EPISCOPAL CHURCH             815 N GRANT ST                                                                                     BAY CITY           MI 48708‐6084
TRINITY EXECUTIVE OFFICES INC        3RD FLOOR                           2340 E TRINITY MILLS ROAD                                      CARROLLTON         TX 75006
TRINITY FREE WILL CHURCH             410 OREGON ST                                                                                      YPSILANTI          MI 48198‐7823
TRINITY HEARING AID                  2140 ARDMORE BLVD                                                                                  PITTSBURGH         PA 15221
TRINITY INDUSTRIES INC               2525 N STEMMONS FWY                                                                                DALLAS             TX 75207‐2401
TRINITY INDUSTRIES, INC.             BRUCE PHILPOT                       4001 IRVING BLVD                                               DALLAS             TX 75247‐5815
TRINITY JR., CLARENCE A              70 FOREST ST                                                                                       PONTIAC            MI 48342‐1323
TRINITY LUTHERAN SEMINARY            2199 E MAIN ST                                                                                     COLUMBUS           OH 43209‐3913
TRINITY METALS LLC                   2440 N SHADELAND AVE                                                                               INDIANAPOLIS       IN 46219‐1737
TRINITY ORTHOPEDICS                  809 W HARWOOD RD STE 101                                                                           HURST              TX 76054‐3293
TRINITY PAIN MANAGEM                 8115 STATE ROAD 54                                                                                 NEW PORT RICHEY    FL 34655‐3000
TRINITY RIVER AUTHORITY OF TEXAS     5300 S COLLINS ST                   PO BOX 60                                                      ARLINGTON          TX 76018‐1710
TRINITY RIVER AUTHORITY OF TEXAS     5300 S COLLINS ST                                                                                  ARLINGTON          TX 76018‐1710
TRINITY SALES & LEASING, INC.        JAMES THOMPSON                      2810 WASHBURN WAY                                              KLAMATH FALLS      OR 97603‐4520
TRINITY TOOL CO                      34600 COMMERCE                      PO BOX 98                                                      FRASER             MI 48026‐3420
TRINITY TRANSPORT                    PO BOX 1620                                                                                        SEAFORD            DE 19973‐8920
TRINITY TRANSPORT INC TRANSPORTATION 317 GREEN NEEDLES DR                                                                               LEXINGTON          NC 27295‐8642
BROKER
TRINITY, BRENDA G                    22312 GROVE PTE                                                                                    ST CLAIR SHRS     MI 48081
TRINITY, TYNESHIA M                  70 FOREST ST                                                                                       PONTIAC           MI 48342‐1323
TRINITY, TYNESHIA MICHELLE           70 FOREST ST                                                                                       PONTIAC           MI 48342‐1323
TRINITY‐MARCH‐WEST                   10 DEGTYARNIY LANE ‐ SUITE 2                                                 MOSCOW 10305 RUSSIA
TRINKER PAUL (635940)                SZAFERMAN LAKIND BLUMSTEIN WATER    101 GROVERS MILL RD STE 104                                    LAWRENCEVILLE      NJ   08648‐4706
                                     BLADER LEHMANN & GOLDSHORE

TRINKER, PAUL                       SZAFERMAN LAKIND BLUMSTEIN WATER     101 GROVERS MILL RD STE 104                                    LAWRENCEVILLE      NJ   08648‐4706
                                    BLADER LEHMANN & GOLDSHORE

TRINKLE CHARLES PHILLIP             2509 N TERRITORIAL RD W                                                                             ANN ARBOR         MI    48105‐9619
TRINKLE DALLAS R III                112 W HILL ST APT 302                                                                               CHAMPAIGN         IL    61820‐8645
TRINKLE DEEL                        PO BOX 165                                                                                          BIRCHLEAF         VA    24220‐0165
TRINKLE SIGNS & DISPLAYS            24 5TH AVE                                                                                          YOUNGSTOWN        OH    44503‐1120
TRINKLE SIGNS & DISPLAYS            ATTN: CORPORATE OFFICER/AUTHORIZED   24 5TH AVE                                                     YOUNGSTOWN        OH    44503‐1120
                                    AGENT
TRINKLE, CHARLES P                  2509 N TERRITORIAL RD W                                                                             ANN ARBOR         MI    48105‐9619
TRINKLE, CHARLES PHILIP             2509 N TERRITORIAL RD W                                                                             ANN ARBOR         MI    48105‐9619
TRINKLE, DAVID L                    1100 EAST HILL ROAD                                                                                 GRAND BLANC       MI    48439‐4805
TRINKLE, DAVID L                    204 TUSCOLA                                                                                         DURAND            MI    48429
TRINKLE, DEBORAH J                  6787 N CLUB LOOP                                                                                    SHREVEPORT        LA    71107‐9645
TRINKLE, DIANNA L                   6151 CRABTREE LN                                                                                    BURTON            MI    48519‐1303
TRINKLE, DIANNA L                   801 64TH ST S LOT 32                                                                                ST PETERSBURG     FL    33707‐3022
TRINKLE, ELZA                       442 CLEARWATER LAKE DR                                                                              POLK CITY         FL    33868‐9085
TRINKLE, JUANITA S                  2234 POPLAR ST                                                                                      ANDERSON          IN    46012‐1738
TRINKLE, SANDRA                     211 E VINEYARD ST                                                                                   ANDERSON          IN    46012‐2522
TRINKLE, SANDRA                     211 E VINYARD ST                                                                                    ANDERSON          IN    46012‐2522
TRINKLE, SUSAN E                    8499 E M71                           LOT 157                                                        DURAND            MI    48429‐1005
TRINKLE, TIM L                      6787 N CLUB LOOP                                                                                    SHREVEPORT        LA    71107‐9645
TRINKLEIN, BONNIE J                 127 FRANK                                                                                           FRANKENMUTH       MI    48734‐1207
TRINKLEIN, BONNIE J                 127 FRANK RD                                                                                        FRANKENMUTH       MI    48734‐1207
TRINKLEIN, DALE A                   5512 S IVA RD                                                                                       SAINT CHARLES     MI    48655‐8737
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                        Part 37 of 40 Pg 481 of 901
Name                                 Address1                        Address2               Address3      Address4             City            State Zip
TRINKLEIN, DALE W                    12025 DEHMEL RD                                                                           BIRCH RUN        MI 48415‐8312
TRINKLEIN, DALE WALTER               12025 DEHMEL RD                                                                           BIRCH RUN        MI 48415‐8312
TRINKLEIN, DENNIS E                  7100 JANES RD                                                                             SAGINAW          MI 48601‐8600
TRINKLEIN, JAMES E                   6028 MOORES JUNCTION RD                                                                   STERLING         MI 48659‐9569
TRINKLEIN, KEITH M                   703 S BOND ST                                                                             SAGINAW          MI 48602‐2222
TRINKLEIN, KELLY M                   5512 S IVA RD                                                                             SAINT CHARLES    MI 48655‐8737
TRINKLEIN, SHIRLEY                   703 S BOND                                                                                SAGINAW          MI 48602‐2222
TRINKLEIN, SHIRLEY                   703 S BOND ST                                                                             SAGINAW          MI 48602‐2222
TRINKLEIN, THOMAS A                  9359 VAN CLEVE RD                                                                         VASSAR           MI 48768‐9497
TRINKLEY, DOLORES E                  728 BUNN DRIVE                                                                            PRINCETON        NJ 08540‐1963
TRINKLEY, JOHN W                     728 BUNN DRIVE                                                                            PRINCETON        NJ 08540‐1963
TRINNIE DIXON                        PO BOX 1424                                                                               SAINT LOUIS      MO 63188‐1424
TRINO HERNANDEZ                      1917 BOSQUE LN                                                                            ARLINGTON        TX 76006‐6619
TRINOSKEY, CHARLES P                 2130 NORTH ST                                                                             LOGANSPORT       IN 46947‐1612
TRINQUE, LEONARD V                   736 RAYMOND HILL RD                                                                       OAKDALE          CT 06370‐1317
TRINTY EVANGELICAL DIVINITY SCHOOL   2065 HALF DAY RD                FMLY TRINITY COLLEGE                                      DEERFIELD         IL 60015‐1241

TRIO AUTO CENTER INC                 3413 FORT HAMILTON PKWY                                                                   BROOKLYN        NY   11218‐2152
TRIO AUTO, INC.                      2100 1ST ST                                                                               SIMI VALLEY     CA   93065‐2822
TRIO AUTO, INC.                      LEO BUNNIN                      2100 1ST ST                                               SIMI VALLEY     CA   93065‐2822
TRIO JR, FRANK                       4799 PINE TRACE ST                                                                        YOUNGSTOWN      OH   44515‐4815
TRIO MOTOR CO.                       MICHAEL MEIER                   477 E SAINT LOUIS ST                                      NASHVILLE       IL   62263‐1705
TRIO MOTORS INC                      2501 S CENTER RD                                                                          BURTON          MI   48519‐1143
TRIO MOTORS LTD                      2‐700 33 ST NE                                                       CALGARY AB T2A 5N9
                                                                                                          CANADA
TRIO MOTORS, INC.                    COLLINS, RONALD                 PO BOX 190178                                             BURTON          MI   48519‐0178
TRIO PAINT & FLOOR COVERING          ATTN: LARRY WISLER              G4172 S SAGINAW ST                                        BURTON          MI   48529‐1650
TRIO SAAB                            2501 S CENTER RD                                                                          BURTON          MI   48519‐1143
TRIO TOOL COMPANY                    34401 SCHOOLCRAFT RD                                                                      LIVONIA         MI   48150‐1332
TRIO TRANSPORT INC                   8738 CO RD 27 S W                                                                         ALEXANDRIA      MN   56308
TRIO, CRAIG L                        1740 SANDPIPER TRL SE                                                                     WARREN          OH   44484‐5711
TRIO, RICHARD F                      945 AUBURN HILLS DR UNIT 3                                                                BOARDMAN        OH   44512‐7711
TRIOLA JR, GREGORY A                 696 MILLERWAY DR                                                                          FENTON          MI   48430‐4142
TRIONFI, LAWRENCE F                  12630 SHARON HOLLOW RD                                                                    MANCHESTER      MI   48158‐9654
TRIPALDI, GAETANO                    903 MAPLECREST RD                                                                         EDISON          NJ   08820‐1824
TRIPANI, JUDY J                      40625 N APOLLO WAY                                                                        ANTHEM          AZ   85086‐1557
TRIPAR TRANSPORTATION                75 THE E MALL STE 201                                                TORONTO ON M8Z 5W3
                                                                                                          CANADA
TRIPAR, BEBA                         35970 FREED CT                                                                            EASTLAKE        OH 44095‐2324
TRIPATHI, SWATI                      3604 ACORN DR                                                                             TROY            MI 48083‐5783
TRIPATHY, NARAYAN                    2014 SADDLEBACK BLVD                                                                      NORMAN          OK 73072‐2805
TRIPCROWN 467726 2 14 08
TRIPE MOTOR COMPANY, INC.            814 HIGHWAY 183                                                                           ALMA            NE   68920‐2146
TRIPE MOTOR COMPANY, INC.            DONALD TRIPE                    814 HIGHWAY 183                                           ALMA            NE   68920‐2146
TRIPHASE AUTOMATION INC              604 W NORTH SHORE DR                                                                      HARTLAND        WI   53029‐8308
TRIPI, CARLO G                       123 LISA ANN DR                                                                           ROCHESTER       NY   14606‐5619
TRIPI, DOMINICK S                    PO BOX 26563                                                                              ROCHESTER       NY   14626‐0563
TRIPI, GIANFRANCO                    431 SW 29TH PL                                                                            CAPE CORAL      FL   33991‐1147
TRIPI, GIOVANNINA                    123 LISA ANN DR                                                                           ROCHESTER       NY   14606‐5619
TRIPI, MICHAEL P                     1787 WALKER LAKE ONTARIO RD                                                               HILTON          NY   14468
TRIPKOS, MELVIN K                    7315 CONSER ST                                                                            OVERLAND PARK   KS   66204‐1825
TRIPLE 5 AUTO PARTS & REPAIR         1313 N SCHOOL ST                                                                          HONOLULU        HI   96817‐1906
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                   Part 37 of 40 Pg 482 of 901
Name                            Address1                         Address2                      Address3   Address4               City            State Zip
TRIPLE A TUBE/JONSVL            4700 BECK ROAD                                                                                   JONESVILLE       MI 49250
TRIPLE C BROKERAGE              PO BOX 6008                                                                                      NORTH AUGUSTA    SC 29861‐6008
TRIPLE C COMPLETE CARPET
TRIPLE CROWN SERVICES           TERESA KOCH                      2720 DUPONT COMMERCE CT STE                                     FORT WAYNE       IN   46825‐2364
                                                                 200
TRIPLE CROWN SERVICES CO        TERESA KOCH                      2720 DUPONT COMMERCE CT STE                                     FORT WAYNE       IN   46825‐2364
                                                                 200
TRIPLE CROWN SERVICES INC       6920 POINTE INVERNESS WAY‐S300                                                                   FORT WAYNE       IN   46804
TRIPLE D AUTO CLINIC INC.       102‐3573 EDWARDS RD                                                       KELOWNA BC V1X 7R6
                                                                                                          CANADA
TRIPLE G AUTO                   P O BOX 199 ‐ #2 2ND AVENUE N                                             HAY LAKES AB T0B 1W0
                                                                                                          CANADA
TRIPLE G AUTO                   25 KING ST E                                                              CHATHAM ON N7M 3M6
                                                                                                          CANADA
TRIPLE G SCAFFO SERVICES CORP   29 ACCORD PARK DR                                                                                NORWELL         MA 02061‐1614
TRIPLE J TOOL INC               12651 NEWBURGH RD                                                                                LIVONIA         MI 48150‐1001
TRIPLE LADYS AGENCY INC         PO BOX 75586                                                                                     CLEVELAND       OH 44101‐4755
TRIPLE M METAL                  471 INTERMODAL DR                                                         BRAMPTON CANADA ON
                                                                                                          L7T 5G4 CANADA
TRIPLE M MOTORS, INC.           600 HIGHWAY 35 S                                                                                 CARTHAGE        MS    39051‐5724
TRIPLE M MOTORS, INC.           JAMES GREGORY                    600 HIGHWAY 35 S                                                CARTHAGE        MS    39051‐5724
TRIPLE O FARMS                  371 OLIVER LOOP                                                                                  STUTTGART       AR    72160‐5597
TRIPLE P AUTO REPAIR            HWY 21 WEST                                                                                      ALTO            TX    75925
TRIPLE PLAY                     ATTN THOMAS FOGLE                4222 N 31ST ST                                                  SHEBOYGAN       WI    53083‐2669
TRIPLE R AMERICA CO LTD         228 MACPHERSON AVE                                                        TORONTO CANADA ON
                                                                                                          M4V 1A2 CANADA
TRIPLE S GARAGE FLEET                                            741 N MONTEREY ST                                                               AZ    85233
TRIPLE/S DYNAMICS INC           PO BOX 151027                                                                                    DALLAS          TX    75315‐1027
TRIPLETT CLIFTON                90 SOUTH TRANQUIL PATH DRIVE                                                                     SPRING          TX    77380‐2738
TRIPLETT JOANN                  C/O EDWARD O MOODY P A           801 WEST 4TH STREET                                             LITTLE ROCK     AR    77201
TRIPLETT SHERMAN G              593 ROBINSON AVE                                                                                 BARBERTON       OH    44203‐3631
TRIPLETT SR, PAUL E             1460 BARRETT RD                                                                                  BALTIMORE       MD    21207‐4867
TRIPLETT VERNON (664895)        WISE & JULIAN                    156 N MAIN ST STOP 1                                            EDWARDSVILLE    IL    62025‐1972
TRIPLETT, ANDREA                6811 S COUNTY RD 400 W                                                                           MUNCIE          IN    47302‐9752
TRIPLETT, ANITA B               2232 MILANO ST                                                                                   MANTECA         CA    95337‐8351
TRIPLETT, BENSON L              8636 GREENLAWN ST                                                                                DETROIT         MI    48204‐3275
TRIPLETT, BETTY I               425 ROUNDS DR                                                                                    FENTON          MI    48430‐1717
TRIPLETT, BETTY J               2029 ALEXANDRIA PIKE                                                                             ANDERSON        IN    46012‐1801
TRIPLETT, BETTY R               126 PHOENIX DR                                                                                   EATONTON        GA    31024‐5635
TRIPLETT, CARL M                6918 HENDRICKS ST                                                                                ANDERSON        IN    46013‐3608
TRIPLETT, CLEVELAND             27655 SUTHERLAND ST                                                                              SOUTHFIELD      MI    48076‐3565
TRIPLETT, CLIFTON N             90 SOUTH TRANQUIL PATH DRIVE                                                                     SPRING          TX    77380‐2738
TRIPLETT, CLIFTON N B           90 S TRANQUIL PATH DR                                                                            SPRING          TX    77380
TRIPLETT, CORA L                1505 2ND ST                                                                                      BAY CITY        MI    48708‐6125
TRIPLETT, DALE E                6811 S COUNTY ROAD 400 W                                                                         MUNCIE          IN    47302‐9752
TRIPLETT, DARRELL K             663 LAKEVIEW DR                                                                                  LODI            OH    44254‐1224
TRIPLETT, DARWIN B              8437 S MAY ST                                                                                    CHICAGO         IL    60620‐3318
TRIPLETT, DONALD L              8312 E DESOTO ST                                                                                 MUNCIE          IN    47303‐9203
TRIPLETT, DOUGLAS W             PO BOX 1202                                                                                      DECATUR         TN    37322‐1202
TRIPLETT, EARNEST L             5383 N COUNTY ROAD 975 W                                                                         MIDDLETOWN      IN    47356‐9760
TRIPLETT, EDDIE M               PO BOX 39239                                                                                     CHICAGO         IL    60639
TRIPLETT, EFAYE                 811 W ALMA AVE                                                                                   FLINT           MI    48505‐1971
                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                         Part 37 of 40 Pg 483 of 901
Name                   Address1                          Address2                       Address3   Address4         City               State Zip
TRIPLETT, ELOISE       2678 CLEMENTS ST                                                                             DETROIT             MI 48238‐2706
TRIPLETT, ESTELA M     2071 N BELSAY RD                                                                             BURTON              MI 48509‐1321
TRIPLETT, EUGENE J     5215 NASH DR                                                                                 FLINT               MI 48506‐1580
TRIPLETT, EVELYN       864 ROBINWOOD ST                                                                             PONTIAC             MI 48340‐3146
TRIPLETT, FRED L       1189 W HURD RD                                                                               CLIO                MI 48420‐1869
TRIPLETT, INEZ         2004 S 14TH AVE                                                                              BROADVIEW            IL 60155‐3138
TRIPLETT, INEZ         2004 S. 14TH ST.                                                                             BROADVIEW            IL 60155‐3138
TRIPLETT, JACKSON T    127 KENNEDY DR                                                                               ADAIRSVILLE         GA 30103‐3474
TRIPLETT, JAKARA C     7040 ALDREDGE DR                                                                             SWARTZ CREEK        MI 48473‐9741
TRIPLETT, JAKARA C     PO BOX 320356                                                                                FLINT               MI 48532‐0007
TRIPLETT, JAMES R      16468 LOCK DAM RD                                                                            SPIRO               OK 74959
TRIPLETT, JAMES W      601 CHERRYWOOD DR                                                                            FLUSHING            MI 48433‐1338
TRIPLETT, JEAN L       810 PARK AVE                                                                                 LEAVENWORTH         KS 66048‐5548
TRIPLETT, JEANNINE A   TRIPLETT                          102 CLARKSON ROAD                                          HOT SPRINGS         AR 71901‐3342
TRIPLETT, JEANNINE A   102 CLARKSON ST                   TRIPLETT                                                   HOT SPRINGS         AR 71901‐3342
TRIPLETT, JO ANN       C/O MOODY                         801 WEST FOURTH ST                                         LITTLE ROCK         AR 72201
TRIPLETT, JOHN C       6261 W COUNTY ROAD 400 S                                                                     MUNCIE              IN 47302‐9775
TRIPLETT, JOHN O       1908 6TH ST                       C/O CEDAR FALLS NURSING HOME                               WICHITA FALLS       TX 76301‐2124

TRIPLETT, LINDON R     1802 MYSTERY HILL DR                                                                         PLEASANT HILL      MO   64080‐1938
TRIPLETT, LOUVENIA     8636 GREENLAWN ST                                                                            DETROIT            MI   48204‐3275
TRIPLETT, LUCY         PO BOX 155                                                                                   TIRO               OH   44887‐0155
TRIPLETT, LUCY         BX 155                                                                                       TIRO               OH   44887‐0155
TRIPLETT, MARGARET E   21399 AVERHILL ST                                                                            FARMINGTON HILLS   MI   48336‐5802
TRIPLETT, MARY V       1171 MAIN ST APT 4C                                                                          RAHWAY             NJ   07065‐5070
TRIPLETT, NICOLE D     27655 SUTHERLAND ST                                                                          SOUTHFIELD         MI   48076‐3565
TRIPLETT, O C          5410 FIELD ST                                                                                DETROIT            MI   48213‐2442
TRIPLETT, ORA L        5114 W CONGRESS PKWY                                                                         CHICAGO            IL   60644
TRIPLETT, OSCAR G      871 NEWGARDEN AVE                                                                            SALEM              OH   44460‐3603
TRIPLETT, RAYMOND E    2957 ROBIN RD                                                                                RIVERSIDE          CA   92506‐1437
TRIPLETT, ROBERT M     543 GOLDEN WILLOW CT                                                                         YELLOW SPGS        OH   45387‐1135
TRIPLETT, ROBIN C      444 WESTMINSTER AVE APT 23                                                                   ELIZABETH          NJ   07208‐3251
TRIPLETT, SHEILA J     400 S 21ST AVE                                                                               MAYWOOD            IL   60153‐1474
TRIPLETT, SHERMAN G    593 ROBINSON AVE                                                                             BARBERTON          OH   44203‐3631
TRIPLETT, SHIRLEY      W129N6889 NORTHFIELD DR APT 202                                                              MENOMONEE FALLS    WI   53051‐0521
TRIPLETT, SHIRLEY      W129 N6889 NORTHFIELD DR          APT 202                                                    MENOMONEE FALLS    WI   53051
TRIPLETT, SHIRLEY A    5215 NASH DR                                                                                 FLINT              MI   48506‐1580
TRIPLETT, STEWART A    1838 CANAVAN DR                                                                              POLAND             OH   44514‐1407
TRIPLETT, TERRY D      1961 BLUEBIRD DR                                                                             SAGINAW            MI   48601‐5762
TRIPLETT, THERON E     340 CAVE RUN LAKE RD                                                                         SALT LICK          KY   40371‐8744
TRIPLETT, THOMAS L     2429 BURCHAM DR                                                                              EAST LANSING       MI   48823‐7239
TRIPLETT, THOMAS L     65 3RD ST                                                                                    SHELBY             OH   44875‐1323
TRIPLETT, TOMMIE       6194 15TH ST                                                                                 DETROIT            MI   48208‐1314
TRIPLETT, VERNA        768 WILLETT RD                                                                               PLYMOUTH           OH   44865
TRIPLETT, VERNON       C/O GORI JULIAN @ ASSOCIATES PC   156 N MAIN ST                                              EDWARDSVILLE       IL   62025‐1972
TRIPLETT, VIVIAN E     2701 NE 69TH ST                                                                              GLADSTONE          MO   64119‐1130
TRIPLETT, W T          5408 FIELD ST                                                                                DETROIT            MI   48213‐2442
TRIPLETT, WANDA L      PO BOX 1202                                                                                  DECATUR            TN   37322‐1202
TRIPLETT, WANDA L      P O BOX 1202                                                                                 DECATUR            TN   37322
TRIPLETT, WENDELL R    6706 LOSS CREEK RD                                                                           TIRO               OH   44887‐9603
TRIPLETT, WILLIE E     1104 ARROWHEAD DR                                                                            BURTON             MI   48509‐1422
TRIPLETT, WILMA J      1435 LYLE ST                                                                                 BURTON             MI   48509‐1640
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                         Part 37 of 40 Pg 484 of 901
Name                                  Address1                          Address2                      Address3   Address4              City               State Zip
TRIPLETT, ZACK R                      1426 BAUER AVE                                                                                   KETTERING           OH 45420‐3306
TRIPLETT,CLIFTON N B                  90 S TRANQUIL PATH DR                                                                            SPRING              TX 77380‐2738
TRIPLEX MANUFACTURING CO              GARY ROBIN(EXT.29)                2700 W. 50TH ST.                                               CENTERVILLE          IA 52544
TRIPLEX MFG., CO.                     GARY ROBIN(EXT.29)                2700 W. 50TH ST.                                               CENTERVILLE          IA 52544
TRIPLUS TRANSPORTATION SERVICES LTD   2330 WYECROFT RD UNIT 2A                                                   OAKVILLE ON L6L 6M1
                                                                                                                 CANADA
TRIPODI VINCENT P (626816)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                        STREET, SUITE 600
TRIPODI, ANN E                        4 GRISTMILL DR                                                                                   STAFFORD           VA   22554‐8505
TRIPODI, ANTHONY P                    108 HARTZELL AVE                                                                                 NILES              OH   44446‐5254
TRIPODI, JOSEPH A                     1485 BUTTERFIELD CIR                                                                             NILES              OH   44446‐3577
TRIPODI, PATRICIA A                   415 EAST ELM STREET                                                                              LINDEN             NJ   07036
TRIPODI, PAUL J                       41184 GREENSPIRE DR                                                                              CLINTON TWP        MI   48038‐5860
TRIPODI, VINCENT P                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510‐2212
                                                                        STREET, SUITE 600
TRIPOLI, AVERALDO J                   6365 BAHIA DEL MAR BLVD APT 108                                                                  SAINT PETERSBURG   FL   33715
TRIPOLSKY, ROBERT R                   43440 HERRING DR                                                                                 CLINTON TWP        MI   48038‐4445
TRIPP CHARLOTTE                       TRIPP, CHARLOTTE                  5252 BALBOA AVE STE 408                                        SAN DIEGO          CA   92117‐6939
TRIPP JANET                           PO BOX 699                                                                                       OSWEGO             IL   60543‐0699
TRIPP TIMOTHY                         5992 POTTS STILL RD                                                                              PERRY              FL   32348‐8269
TRIPP, BARBARA J                      PO BOX 390                                                                                       DENMARK            ME   04022‐0390
TRIPP, CAROLYN L                      202 NE EASTRIDGE ST                                                                              LEES SUMMIT        MO   64063‐2610
TRIPP, CAROLYN L                      202 N. EASTRIDGE ST.                                                                             LEES SUMMIT        MO   64063
TRIPP, DALE E                         2431 LINDSAY LN                                                                                  GRAND BLANC        MI   48439‐8080
TRIPP, DAN                            290 1/2 MULBERRY AVE                                                                             POMEROY            OH   45769‐1087
TRIPP, DANIEL R                       2314 NORTH NEW JERSEY STREET                                                                     INDIANAPOLIS       IN   46205‐4338
TRIPP, DAVID C                        5427 SAND CREEK HWY                                                                              ADRIAN             MI   49221‐8771
TRIPP, DENISE G                       11320 E 56TH TER                                                                                 RAYTOWN            MO   64133‐2927
TRIPP, DENNIS K                       215 GORDON ST # A                                                                                JEFFERSON CITY     MO   65101‐4817
TRIPP, DONNA L                        5736 VAN ETTAN CREEK DR                                                                          OSCODA             MI   48750‐9465
TRIPP, EBER M                         51 MONTCLAIR AVE                                                                                 PITTSBURGH         PA   15229‐1753
TRIPP, EDWIN L                        PO BOX 250                                                                                       CLARKSTON          MI   48347‐0250
TRIPP, GEORGE H                       1720 MORRIS RD                                                                                   LAPEER             MI   48446‐9420
TRIPP, GEORGE L                       782 MCKINLEY PARKWAY LOWER                                                                       BUFFALO            NY   14220
TRIPP, GEORGE L                       1074 E CHICAGO BLVD APT 15                                                                       TECUMSEH           MI   49286
TRIPP, GUY F                          2130 BROKER RD                                                                                   LAPEER             MI   48446‐9415
TRIPP, HAROLD M                       1624 FISH LAKE RD                                                                                LAPEER             MI   48446‐8369
TRIPP, HELEN I                        7 RONNIE LANE                                                                                    NORTH CHILI        NY   14514‐1108
TRIPP, HELEN I                        C/O JOHN G TRIPP                  7 RONNIE LANE                                                  NORTH CHILI        NY   14514‐4514
TRIPP, HENRIETTA S                    17989 EVANS RD                                                                                   TONGANOXIE         KS   66086‐5151
TRIPP, HERBERT A                      9363 RICHTER ST                                                                                  DETROIT            MI   48214‐1440
TRIPP, HERBERT L                      PO BOX 1295                                                                                      VIPER              KY   41774‐0295
TRIPP, HOMER R                        7341 CROSSRIDGE DR                                                                               HOLLAND            OH   43528‐9063
TRIPP, JAMES E                        2737 BRUNE RD                                                                                    FARMINGTON         MO   63640‐7153
TRIPP, JAMES H                        5760 ELIAS LLOYD RD                                                                              NORTH JACKSON      OH   44451‐8722
TRIPP, JAN E                          3260 BLUETT RD                                                                                   ANN ARBOR          MI   48105‐1528
TRIPP, JANICE F                       388 QUINNIPIAC AVE                                                                               NORTH HAVEN        CT   06473‐3754
TRIPP, JANIS L                        28 ALONZO STREET                                                                                 ROCHESTER          NY   14612‐5354
TRIPP, JEAN M                         133 MISTY OAKS CT                                                                                DAYTON             OH   45415‐1368
TRIPP, JOHN G                         7 RONNIE LN                                                                                      NORTH CHILI        NY   14514‐1108
TRIPP, KAREN H                        2275 WESTVIEW RD                                                                                 CORTLAND           OH   44410‐9467
TRIPP, KIMBEL                         PO BOX 412                                                                                       BONAIRE            GA   31005‐0412
                           09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                              Part 37 of 40 Pg 485 of 901
Name                      Address1                         Address2                        Address3   Address4         City               State Zip
TRIPP, LLOYD H            21 ROLLING GREEN CT                                                                          CROSSVILLE          TN 38558‐8748
TRIPP, LULA M             1257 ENGLAND RD                                                                              JACKSON             MS 39209‐9000
TRIPP, LULA M             204 GAYLYN DR                                                                                JACKSON             MS 39209‐9209
TRIPP, MARIAN F           2246 MARSHALL CT                                                                             SAGINAW             MI 48602‐3344
TRIPP, MARIE              2450 KROUSE RD                   LOT #232                                                    OWOSSO              MI 48867‐9308
TRIPP, MARIE              2450 KROUSE RD LOT 232                                                                       OWOSSO              MI 48867‐9308
TRIPP, MARK J             33733 HIVELEY ST                                                                             WESTLAND            MI 48186‐4526
TRIPP, MARK JEROME        33733 HIVELEY ST                                                                             WESTLAND            MI 48186‐4526
TRIPP, MARY A             5427 SAND CREEK HWY                                                                          ADRIAN              MI 49221‐8771
TRIPP, MICHAEL B          43845 VICKSBURG CT                                                                           CANTON              MI 48188‐1730
TRIPP, MICHAEL BERT       43845 VICKSBURG CT                                                                           CANTON              MI 48188‐1730
TRIPP, MICHAEL R          7830 EMERALD RUN RD                                                                          MEDINA              OH 44256‐7757
TRIPP, MICHEAL D          2302 NW 5TH ST                                                                               BLUE SPRINGS        MO 64014‐1100
TRIPP, RICKEY M           4199 MANOR DR                                                                                GRAND BLANC         MI 48439‐7903
TRIPP, ROBERT             26857 LYNDON                                                                                 REDFORD             MI 48239‐2927
TRIPP, ROBERT E           7067 JORDAN RD                                                                               GRAND BLANC         MI 48439‐9729
TRIPP, ROBERT L           W 224 500 N                                                                                  DECATUR             IN 46733
TRIPP, ROBERT P           924 HOCH AVE                                                                                 ADRIAN              MI 49221
TRIPP, ROGER W            1108 MADISON 203                                                                             FREDERICKTOWN       MO 63645‐7273
TRIPP, RONALD L           304 ROSEWOOD AVE                                                                             YPSILANTI           MI 48198‐5846
TRIPP, RUBY E             16498 VINTAGE DRIVE                                                                          FENTON              MI 48430
TRIPP, SHANEYLE L         14 SOUTH ST APT 38                                                                           DANBURY             CT 06810
TRIPP, WILLIAM L          5736 VAN ETTAN CREEK DR                                                                      OSCODA              MI 48750‐9465
TRIPP, WILLIAM R          840 ANTIOCH SHILOH RD                                                                        PELAHATCHIE         MS 39145‐3370
TRIPPE MANURFAC/IL        1111 W 35TH ST                                                                               CHICAGO              IL 60609‐1404
TRIPPE, KARLA J           223 N MAIN ST #C                                                                             PLYMOUTH            MI 48170‐1238
TRIPPEL, JAMES G          36965 S STONEY CLIFF DR                                                                      TUCSON              AZ 85739‐1409
TRIPPEN, WALTRAUD I       3472 BLOSSOM LN                                                                              BLOOMFIELD HILLS    MI 48302‐1305
TRIPPENSEE, DONNA R       4677 GASPORT RD                                                                              GASPORT             NY 14067‐9280
TRIPPETT, RICHARD J       3845 COVENTRY WAY                                                                            CARMEL              IN 46033‐3029
TRIPPI, JOSEPH C          5147 DOMINION DR                                                                             FREDERICKSBURG      VA 22407‐8025
TRIPPLEHORN, DAVID M      2896 KLAM RD                                                                                 LAPEER              MI 48446‐9107
TRIPPLET, HENRY F         3501 S STINE RD                                                                              CHARLOTTE           MI 48813‐9506
TRIPPLETT, BILLIE Y       2914 MOUNT ELLIOT                                                                            DETROIT             MI 48207‐3405
TRIPPLETT, KEESHA A       2122 CANNIFF ST                                                                              FLINT               MI 48504‐2010
TRIPPLETT, SUSAN          7313 EDENBOROUGH DR                                                                          OKLAHOMA CITY       OK 73132‐5617
TRIPPLETT, TAVANNA        5705 FOREST HILLS RD APT 1                                                                   ROCKFORD             IL 61114‐7200
TRIPPLETT, WILBERT L      759 JONATHAN CODY DR                                                                         WENTZVILLE          MO 63385‐6877
TRIPUN TRPOVSKI           6487 BERKSHIRE DR                                                                            WASHINGTN TWP       MI 48094‐3551
TRISCEL MARTIN            1879 W DIVISION RD                                                                           KINGSVILLE          MO 64061‐9256
TRISCH, ALAN F            2181 E DUTCHER RD                                                                            CARO                MI 48723‐9736
TRISCH, ALFRED L          3810 E BEVENS RD                                                                             CARO                MI 48723‐9020
TRISCH, DAVID D           11447 E MOUNT MORRIS RD                                                                      DAVISON             MI 48423‐9387
TRISCH, DAVID L           PO BOX 47                                                                                    CARO                MI 48723‐0047
TRISCH, DONALD L          10654 96TH AVE                                                                               ZEELAND             MI 49464‐9753
TRISCH, MYRON G           326 TAYLOR AVE                                                                               ROCHESTER           MI 48307‐1846
TRISCH, ROBERT A          1015 WEEDEN RD                                                                               CARO                MI 48723‐9583
TRISCH, SUE C             30030 HATHAWAY ST                                                                            LIVONIA             MI 48150‐3092
TRISCH, THOMAS N          9204 OO.25 RD.                                                                               COOKS               MI 49817
TRISCH‐GRAY, CHERYL L     684 EASTGATE DR                                                                              FRANKENMUTH         MI 48734‐1202
TRISCHAN ERVIN (448314)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                           PROFESSIONAL BLDG
                                09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                 Part 37 of 40 Pg 486 of 901
Name                            Address1                      Address2            Address3                     Address4         City           State Zip
TRISH
TRISH LAZARIN
TRISHA A JOHNSON                1114 N LINCOLN ST                                                                               BAY CITY       MI    48708‐6161
TRISHA B LEWIS                  5520 AUTUMN WOODS DR APT 12                                                                     DAYTON         OH    45426
TRISHA CARDENAS                 706 GRAND LEGACY                                                                                LAPEER         MI    48446‐1595
TRISHA CATERINO                 5696 MARSHALL RD                                                                                OLIVET         MI    49076‐9452
TRISHA CROTEAU                  416 WELCH RD                                                                                    NORTHVILLE     MI    48167‐1177
TRISHA FETTERS‐WORMER           5900 N COUNTY ROAD 750 W                                                                        MUNCIE         IN    47304‐9698
TRISHA HARVEY                   2815 FALL BROOK                                                                                 JACKSON        MS    39212
TRISHA JACHLEWSKI               9843 N HOME AVE                                                                                 KANSAS CITY    MO    64157‐7767
TRISHA KORINTUS                 361 SIENNA TRAIL                                                                                VENETIA        PA    15367
TRISHA L CARNEY                 644 W LINDEN AVE                                                                                MIAMISBURG     OH    45342
TRISHA L CARTER                 6744 BANBURY DR                                                                                 FRANKLIN       OH    45005
TRISHA L CLARK                  3575 TRAIL‐ON RD                                                                                MORAINE        OH    45439
TRISHA L HUBER                  PO BOX 301                                                                                      PHILLIPSBURG   OH    45354‐0301
TRISHA LANE                     134 BROWN ST                                                                                    TECUMSEH       MI    49286‐1103
TRISHA M ONEIL                  300 KETCHUM ST                                                                                  BAY CITY       MI    48708‐5461
TRISHA MOORE                    189 OAK HILL RD                                                                                 CONCORD        NH    03301‐8631
TRISHA PASSINI                  207 ASTOR AVE                                                                                   LANSING        MI    48910‐2901
TRISHA RAMIREZ                  859 STONY POINT CT                                                                              DEFIANCE       OH    43512‐1341
TRISHA THAYER                   530 BRYNFORD AVE                                                                                LANSING        MI    48917‐2926
TRISHIA KLEINFELD               11590 NICHOLS RD                                                                                BURT           MI    48417‐9659
TRISLER JOHN L                  C/O GLASSER AND GLASSER       CROWN CENTER        580 EAST MAIN STREET SUITE                    NORFOLK        VA    23510
                                                                                  600
TRISLER, BRADLEY A              801 JOHNSON RD                                                                                  MOORESVILLE    IN    46158
TRISLER, JOHN E                 4410 E ETTER DR                                                                                 BLOOMINGTON    IN    47408‐2818
TRISLER, JOHN H                 566 NOACK RD                                                                                    GREENWOOD      IN    46143‐9738
TRISLER, ROBERT                 550 N HARRISON RD APT 1102                                                                      TUCSON         AZ    85748‐2768
TRISLER, ROBERT E               6008 STATE ROUTE 546                                                                            BELLVILLE      OH    44813‐9312
TRISLER, RONALD A               28 AL MAR CT                                                                                    BARGERSVILLE   IN    46106‐9703
TRISM INC                       4174 JILES RD LETTER                                                                            KENNESAW       GA    30144
TRISOLIERE, GENE G              1506 HIGHRIDGE PKWY                                                                             WESTCHESTER    IL    60154‐3429
TRISON BUSINESS SOLUTIONS INC   17 BANK ST                                                                                      LE ROY         NY    14482‐1413
TRISSA R EVANS                  2328 WIENBURG DR                                                                                DAYTON         OH    45418
TRISSEL JR, RONALD D            1409 N OLIVEWOOD CT                                                                             MUNCIE         IN    47304‐9408
TRISSEL JR, RONALD DEWAYNE      1409 N OLIVEWOOD CT                                                                             MUNCIE         IN    47304‐9408
TRISSEL, ESTHER M               1010 TAYWOOD RD               COTTAGE 206                                                       ENGLEWOOD      OH    45322‐2415
TRISSEL, EVA H                  604 N 12TH ST                                                                                   ELWOOD         IN    46036‐1206
TRISSEL, MARY J                 1202 E MAPLE ST                                                                                 FRANKTON       IN    46044‐9350
TRISSEL, MICHELLE M             1409 NORTH OLIVEWOOD COURT                                                                      MUNCIE         IN    47304‐9408
TRISSEL, MICHELLE MARIE         1409 NORTH OLIVEWOOD COURT                                                                      MUNCIE         IN    47304‐9408
TRISSEL, RICHARD M              615 N LIBERTY ST                                                                                ALEXANDRIA     IN    46001‐1318
TRISSEL, RICKEY J               931 W WASHINGTON ST                                                                             ALEXANDRIA     IN    46001‐1834
TRISSEL, SHANE E                163 ARLINGTON AVE                                                                               DUNKIRK        IN    47336‐9430
TRISSELL, BETTY J               PO BOX 601                                                                                      SMYRNA         TN    37167‐0601
TRISSELL, HELEN                 6332 SW 2ND ST                                                                                  MARGATE        FL    33068‐1616
TRISSELL, NICOLE R              6952 MORRIS ROAD                                                                                HAMILTON       OH    45011‐5424
TRISSELL, ROBERT L              6332 SW 2ND ST                                                                                  MARGATE        FL    33068‐1616
TRISSELL, ROBERT R              8967 FREMONT ST                                                                                 LIVONIA        MI    48150‐4005
TRISSELL, VALERIE J             3588 MILLIKIN RD                                                                                HAMILTON       OH    45011‐2256
TRISTA DANIEL                   2278 E WILLIAMSON ST                                                                            BURTON         MI    48529‐2449
TRISTA SCHIEFFER                332 EAST ST                                                                                     MILFORD        MI    48381‐1931
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                    Part 37 of 40 Pg 487 of 901
Name                             Address1                             Address2                         Address3   Address4         City            State Zip
TRISTAN ADAIR
TRISTAN GILBERT                  5106 CLAREMONT ST                                                                                 HOUSTON          TX 77023‐3208
TRISTAN KROGIUS                  32411 SEA ISLAND DRIVE                                                                            DANA POINT       CA 92629
TRISTAN MANTHEY                  HELLER, DRAPER, HAYDEN, PATRICK &    650 POYDRAS STREET, SUITE 2500                               NEW ORLEANS      LA 70130
                                 HORN, LLC
TRISTAN MURPHY                   1398 AVONDALE ST                                                                                  SYLVAN LAKE     MI 48320‐1700
TRISTAN S TOOSON                 3037 SPRINGMEADOW LN D                                                                            DAYTON          OH 45426
TRISTAN TANGERMANN               SACHSENWALDSTR.4A                    21521 AUMUEHLE                   GERMANY
TRISTAN TREVINO                  1700 E 2ND ST                                                                                     DEFIANCE        OH 43512‐2446
TRISTANO, CARL F                 518 PHEASANT TRL                                                                                  ST CHARLES      IL 60174‐8847
TRISTAR 282470 GRIT 86990
TRISTAR 329616 GRIT87415
TRISTAR DISTRIBUTOR, INC.
TRISTATE ORTHOPAEDIC             PO BOX 636088                                                                                     CINCINNATI      OH 45263‐6088
TRISTATE SERVICE PARTY RENTALS   DBA TRISERVE PARTY RENTALS           2350 LAFAYETTE AVE                                           BRONX           NY 10473‐1104
TRITAPOE JAMES L (413847)        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA 23510
                                                                      STREET, SUITE 600
TRITAPOE, JAMES L                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                                      STREET, SUITE 600
TRITCH RAYMOND W (429961)        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
                                                                      STREET, SUITE 600
TRITCH, GILBERT                  3129 HIGHWAY 34 E                                                                                 MARMADUKE        AR 72443‐9775
TRITCH, RAYMOND W                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
                                                                      STREET, SUITE 600
TRITES CHEVROLET BUICK           635 CENTER ST                                                                                     WOLFEBORO       NH    03894‐4815
TRITES, MAXINE J                 247 WEBB AVE                                                                                      SMITHS GROVE    KY    42171‐8149
TRITES, MELANIE F                3814 S LISANNE AVE                                                                                SIOUX FALLS     SD    57103‐7228
TRITLE, JOWANA G                 149 SMITHS RD                                                                                     MITCHELL        IN    47446‐6638
TRITON COLLEGE                   ACCOUNTS RECEIVABLE                  2000 5TH AVE                                                 RIVER GROVE     IL    60171‐1907
TRITON MEDIA GROUP               BILL FREUND                          15303 VENTURA BLVD STE 1500                                  SHERMAN OAKS    CA    91403‐3137
TRITON PRODUCTIONS               420 LINCOLN RD STE 434                                                                            MIAMI BEACH     FL    33139‐3015
TRITSCHLER, HARRY R              6237 AZALEA WAY                                                                                   HOSCHTON        GA    30548‐8212
TRITSCHLER, KATHRYN L            5913 HELENWOOD DRIVE                                                                              RIVERSIDE       OH    45431‐2963
TRITT JAMES & BARBARA            23410 ASTRID LN                                                                                   ROCKWOOD        MI    48173‐1203
TRITT, ELIZABETH A               352 E 329TH ST                                                                                    WILLOWICK       OH    44095
TRITT, HERBERT F                 APT A212                             28575 WESTLAKE VILLAGE DRIVE                                 WESTLAKE        OH    44145‐6757
TRITT, JACOB                     3618 PROMONTORY PL                                                                                CARLSBAD        CA    92010‐7069
TRITT, MARGARET M                28575 WESTLAKE VILLAGE DR APT A212                                                                WESTLAKE        OH    44145‐6757
TRITT, MARGARET M                28575 WESTLAKE VILLAGE DR            APT A212                                                     WESTLAKE        OH    44145‐6757
TRITT, PAUL U                    2157 SHARON RD                       PO BOX 2471                                                  CUMMING         GA    30041‐6851
TRITTEN, NINA L                  821 CAMBRIDGE ST APT 275                                                                          MIDLAND         MI    48642‐4669
TRITTO, MARSHA A                 56 PORT SYLVIA DR APT B                                                                           INDIANAPOLIS    IN    46224‐8966
TRITTO, MICHAEL H                10846 TEALPOINT DRIVE                                                                             INDIANAPOLIS    IN    46229‐3435
TRITTO, NICHOLAS A               2900 BUFFALO RD                                                                                   ROCHESTER       NY    14624‐1341
TRITTON, KENNETH W               11 SPRING PARK LN                                                                                 WICHITA FALLS   TX    76308‐4726
TRITTSCHUH, ROBERT P             8573 RYAN ROAD                                                                                    BRADFORD        OH    45308‐8606
TRITTSCHUH, ROBERT P             8573 RYAN RD                                                                                      BRADFORD        OH    45308‐8606
TRITZ, THOMAS J                  126 CARR DR                                                                                       SPRING HILL     TN    37174‐7358
TRITZ, THOMAS J                  PO BOX 16129                                                                                      SHAWNEE         KS    62034‐6129
TRIULZI, ROBERT C                66 HERON DR                                                                                       PALM COAST      FL    32137‐1314
TRIUMPH EXPO EVENTS INC          12614 INTERURBAN AVE S                                                                            TUKWILA         WA    98168‐3314
TRIUMPH METALS GROUP SALES CO    2310 W 58TH ST                                                                                    CHICAGO         IL    60636‐1516
                                  09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                    Part 37 of 40 Pg 488 of 901
Name                              Address1                       Address2                       Address3   Address4                 City                 State Zip
TRIUMPH TOOL LTD                  91 ARROW RD                                                              GUELPH CANADA ON N1K
                                                                                                           1S8 CANADA
TRIUNE HOLDINGS LLC               PO BOX 5923                                                                                       WINTER PARK           FL 32793‐5923
TRIUNFO, BLANCHE                  35 MAGNOLIA BLUFF LANE                                                                            MAGGIE VALLEY         NC 28751‐6765
TRIUS INC                         70 TRIUS DR.                                                             ETON NB E3B 5E3 CANADA
TRIVACO                           100 NORTHEAST DR                                                                                  LOVELAND             OH    45140‐7144
TRIVANTIS CORP                    311 ELM ST STE 200                                                                                CINCINNATI           OH    45202‐2743
TRIVAX, DWAYNE                    1933 TWIN SUN CIR                                                                                 COMMERCE TOWNSHIP    MI    48390‐4404
TRIVEDI, DINESH                   1607 COVENTRY LN                                                                                  GLEN MILLS           PA    19342‐9430
TRIVEDI, KEYUR J                  3335 LAPP LN                                                                                      NAPERVILLE           IL    60564‐8257
TRIVEDI, RAKESH                   29866 HEMLOCK AVE                                                                                 FARMINGTON HILLS     MI    48336‐2055
TRIVELLIN, ANTOINETTE T           1150 E COLDWATER RD                                                                               FLINT                MI    48505‐1504
TRIVENI DIGITAL                   40 WASHINGTON RD                                                                                  PRINCETON JUNCTION   NJ    08550‐1012
TRIVERI, DOMINIC J                935 LARKRIDGE AVE                                                                                 YOUNGSTOWN           OH    44512‐3136
TRIVERS, ANGELA V                 600 E FAIRVIEW BLVD                                                                               INGLEWOOD            CA    90302‐1450
TRIVETT, BOBBY L                  1020 STATE HIGHWAY 173                                                                            BIGFOOT              TX    78005‐7443
TRIVETT, DANIEL                   4774 S COUNTY ROAD 750 E                                                                          FILLMORE             IN    46128‐9487
TRIVETT, DARIUS J                 8384 E MICHIGAN AVE                                                                               GALESBURG            MI    49053‐9752
TRIVETT, MARILYN E                24621 URSULINE ST                                                                                 SAINT CLAIR SHORES   MI    48080‐3194
TRIVETT, MICHAEL W                13818 CLIFFORD AVE                                                                                CLEVELAND            OH    44135‐1558
TRIVETT, RUTH A                   836 S CLINTON ST                                                                                  DEFIANCE             OH    43512‐2758
TRIVETTE JUNE                     558 32ND AVENUE DR NW          NORTHWEST                                                          HICKORY              NC    28601‐1046
TRIVETTE, DURWARD A               1791 UTICA DR                                                                                     DAYTON               OH    45439‐2541
TRIVETTE, SUK C                   9034 OAKRIDGE DR                                                                                  TEMPERANCE           MI    48182‐9337
TRIVETTE, SUK CHA                 9034 OAKRIDGE DR                                                                                  TEMPERANCE           MI    48182‐9337
TRIVIETS, KIMBERLY R              277 AIRPORT RD                                                                                    NEW CASTLE           DE    19720‐1540
TRIVINO, CARLA M                  7809 MONROVIA ST                                                                                  LENEXA               KS    66216‐3327
TRIVISONNO, THERESA M             5732 WILSON MILLS ROAD                                                                            HIGHLAND HTS         OH    44143‐3263
TRIZEC NEW CENTER DEVELOPMENT     3011 W GRAND BLVD STE 450                                                                         DETROIT              MI    48202‐3045
ASSOCIATES
TRIZEC PROPERTIES INC             450 FISHER BLDG                3011 W GRAND BLVD                                                  DETROIT              MI    48230
TRIZEC REAL ESTATE SERVICES LLC   3044 W GRAND BLVD STE L‐100                                                                       DETROIT              MI    48202‐3078
TRIZECHAHN DGM MGMT INC           3011 W GRAND BLVD STE 450                                                                         DETROIT              MI    48202‐3045
TRIZECHAHN RR INC.                CYNTHIA YOTT, ESQ              3011 W GRAND BLVD STE 450                                          DETROIT              MI    48202‐3045
TRKACH, J J                       STRATFORD CT.                  AL 120                                                             PALM HARBOR          FL    34684
TRKULA, FLORENCE M                96 WOODLAND DRIVE                                                                                 NEW MIDDLETOWN       OH    44442‐4442
TRKULA, FLORENCE M                96 WOODLAND DR                                                                                    NEW MIDDLETOWN       OH    44442‐9442
TRKULJA, GEORGE                   2217 CLAWSON AVE APT 110                                                                          ROYAL OAK            MI    48073‐3778
TRL                               CROWTHORNE HOUSE 9 MILE RIDE   WOKINGHAM RG40 3GA BERKSHIRE              UNITED KINGDOM GREAT
                                                                                                           BRITAIN
TRL SYSTEMS, INC.                 JOHN JANOSIK                   4405 AIRPORT DRIVE                                                 ONTARIO               CA   91761
TRMI INC                          100 HILL BRADY RD                                                                                 BATTLE CREEK          MI   49037‐7301
TRMI/BATTLE CREEK                 100 HILL BRADY RD              BATTLE CREEK PLANT                                                 BATTLE CREEK          MI   49037‐7301
TRMI/BATTLE CREEK                 47200 PORT ST                                                                                     PLYMOUTH              MI   48170‐6082
TRNASCORP NATIONALEASE            4450 ENTERPRISE ST                                                                                BOISE                 ID   83705‐5422
TRNKA, BARBARA LU                 2468 W. DODGE                                                                                     CLIO                  MI   48420‐1639
TRNKA, BARBARA LU                 2468 W DODGE RD                                                                                   CLIO                  MI   48420‐1639
TRNKA, DOROTHY E                  39597 GREENBRIER CT                                                                               NORTHVILLE            MI   48168‐3488
TRNKA, ROSS D                     2188 NICHOLS RD                                                                                   FLUSHING              MI   48433‐9726
TRO P NGO
TROBAUGH, CLEO G                  239 S DARTER BLVD                                                                                 FISHER                AR 72429‐9798
TROBAUGH, GARY D                  401B COTTONWOOD TRCE                                                                              GLEN CARBON           IL 62034
                           09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                               Part 37 of 40 Pg 489 of 901
Name                       Address1                         Address2                        Address3               Address4         City            State Zip
TROBAUGH, MARSHA M         8880 IRIS CT                                                                                             WESTMINSTER      CO 80021‐4454
TROBAUGH, MICHAEL A        25491 NORVELL ST                                                                                         CHESTERFIELD     MI 48051‐2831
TROBE, ALAN N              1021 N SADLIER DR                                                                                        INDIANAPOLIS     IN 46219‐3720
TROBEC, RONALD V           7951 W 78TH ST                                                                                           BRIDGEVIEW        IL 60455‐1374
TROBY, RICHARD L           26413 S TIMBERLAKE RD                                                                                    HARRISONVILLE    MO 64701‐3276
TROCAIRE COLLEGE           BROADEN YOUR HORIZONS            110 RED JACKET PKWY             CONTINUING EDUCATION                    BUFFALO          NY 14220‐2051
TROCHELMAN, JUJIE E        620 S MCLELLAN ST                                                                                        BAY CITY         MI 48708‐7574
TROCHELMAN, JUJIE E        620 SOUTH MCLELLAN STREET                                                                                BAY CITY         MI 48708
TROCHELMAN, LESTER L       4057 E RAKESTRAW LN                                                                                      GILBERT          AZ 85298‐8644
TROCHELMAN, NORMAN T       PO BOX 376                                                                                               RICH CREEK       VA 24147‐0376
TROCHELMAN, NORMAN T       RR 1 BOX 102                                                                                             PETERSTOWN       WV 24953‐9707
TROCHLELL JAMES (463463)   SIMMONS FIRM                     PO BOX 559                                                              WOOD RIVER        IL 62095‐0559
TROCHLELL, JAMES           SIMMONS FIRM                     PO BOX 559                                                              WOOD RIVER        IL 62095‐0559
TROCKI JOSEPH J (434306)   SIMMONS FIRM                     PO BOX 559                                                              WOOD RIVER        IL 62095‐0559
TROCKI, JOSEPH             SIMMONS FIRM                     PO BOX 559                                                              WOOD RIVER        IL 62095‐0559
TROCZYNSKI, WESLEY         5906 LARKINS STREET                                                                                      DETROIT          MI 48210‐1979
TROEDEL, JUSTIN M          2183 TWIN LAKE DR                                                                                        BENTON           LA 71006‐9789
TROEDEL, MICHAEL W         1907 NORMAND AVENUE                                                                                      BOSSIER CITY     LA 71112‐4356
TROEDEL, MICHAEL WILLIAM   1907 NORMAND AVENUE                                                                                      BOSSIER CITY     LA 71112‐4356
TROEGER, MARGARET E        2000 N RAMPART BLVD #103                                                                                 LAS VEGAS        NV 89128‐7654
TROEHLER, JAMES M          7096 BUTTERWOOD DR                                                                                       CINCINNATI       OH 45241‐1035
TROELLER, CHRISTOPHER M    7 STEWART AVE                                                                                            NEWBURGH         NY 12550
TROELLER, WILLIAM T        431 ALAMITOS AVE                                                                                         LONG BEACH       CA 90802‐1577
TROEMEL, DORIS A           9999 W NORTH AVE APT 207                                                                                 WAUWATOSA        WI 53226‐2518
TROEMNER, BEVERLY J        1812 S OSBORNE AVE                                                                                       JANESVILLE       WI 53546‐5941
TROEMNER, BEVERLY J        1812 S OSBORN                                                                                            JANESVILLE       WI 53546‐5941
TROEMNER/THOROFARE         201 WOLF DR                      ATTN: CAL. DEPT                                                         WEST DEPTFORD    NJ 08086‐2245
TROESCH ALBERT             TULPENWEG 12                                                                                             HERMESKEIL            54411
TROESKEN, CAROLYN H        2803 TAMRA LN                                                                                            ANDERSON         IN 46012‐9497
TROESKEN, DONALD F         2306 MINDY CT                                                                                            ANDERSON         IN 46017‐9674
TROESKEN, VIOLET M         5803 COUNTY RD                   1‐2                                                                     SWANTON          OH 43558
TROESTLER, BETTY J         616 EIGHT AVE #211                                                                                       MONROE           WI 53566
TROESTLER, JUDITH L        3351 S ILLINOIS AVE                                                                                      MILWAUKEE        WI 53207‐3713
TROETER, JAMES F           15590 WOODCREEK DR                                                                                       CHARDON          OH 44024‐9244
TROFE, AUGUST              51 GLENWOOD LN                                                                                           LEVITTOWN        PA 19055‐1905
TROFE, AUGUST              51 GLENWOOD LANE                                                                                         LEVITTOWN        PA 19055‐1905
TROFHOLZ, KENT A           6767 FLEUR DR                                                                                            WESTERVILLE      OH 43082‐9418
TROFIMOV, GEORGE J         3010 CEDAR HILL ROAD                                                                                     CUYAHOGA FLS     OH 44223‐1231
TROFIMUK JR, JOHN F        37321 SUMMER PL                                                                                          STERLING         AK 99672‐9671
TROFIMUK, GEORGE R         1 DUTCH LANE APT 1                                                                                       HAZLET           NJ 07730
TROGDLEN, SARA L           1422 HIGHVIEW DR APT E101                                                                                COLUMBIA         TN 38401‐4691
TROGDON IVAN JR (437851)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                           NORTHFIELD       OH 44067
                                                            PROFESSIONAL BLDG
TROGDON, IVAN              BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                            NORTHFIELD      OH 44067
                                                            PROFESSIONAL BLDG
TROGDON, VERLE E           37 FAIRVIEW MUNDELL RD                                                                                   BEDFORD         IN   47421‐8964
TROGE, MARGARET            4850 GRATIOT RD # D19                                                                                    SAGINAW         MI   48638‐6202
TROGE, MARGARET            4850 GRATIOT ROAD                                                                                        SAGINAW         MI   48638‐6202
TROGE, WILLIAM R           1594 GREENS EDGE DR                                                                                      FLORENCE        KY   41042‐7099
TROGEN, RONALD I           8365 BLACKMAR RD                                                                                         BIRCH RUN       MI   48415‐8946
TROGLER DEBORAH            8113 WOODVIEW RD                                                                                         ELLICOTT CITY   MD   21043‐6742
                             09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                  Part 37 of 40 Pg 490 of 901
Name                         Address1                          Address2                 Address3    Address4                 City               State Zip
TROGLOUR, JAMES T            11‐630 ALBERT ST                                                       FORT ERIE ON CANADA L2A‐
                                                                                                    6R7
TROIA, ANTHONY               860 PALISADE AVE APT 2E                                                                         YONKERS            NY    10703‐1549
TROIA, ANTHONY E             PO BOX 182                                                                                      ARMADA             MI    48005‐0182
TROIA, ANTHONY W             16510 GREENVIEW AVE                                                                             DETROIT            MI    48219‐4156
TROIA, ANTONIO               61 CLIFF AVE                                                                                    YONKERS            NY    10705
TROIA, JOSEPH P              15551 WOODRING ST                                                                               LIVONIA            MI    48154‐3027
TROIA, JOSEPH PETER          15551 WOODRING ST                                                                               LIVONIA            MI    48154‐3027
TROIA, MICHAEL D             6800 STILES RD                                                                                  BROWN CITY         MI    48416‐8310
TROIA, STEVEN C              23581 SUTTONS BAY DR                                                                            CLINTON TOWNSHIP   MI    48036‐1271
TROIA, WALTER J              37010 LAKOTA COURT                                                                              ZEPHYRHILLS        FL    33542‐7008
TROIANI JR, JOHN J           3 PHEASANT LN                                                                                   NEWARK             DE    19713‐2043
TROIANO, PATRICK J           1577 NAZOR RD                                                                                   GALION             OH    44833‐8919
TROIDL, KARL A               1629 CAIN RD                                                                                    NORTH COLLINS      NY    14111‐9762
TROIJANO RICHARD             420 S EMERSON AVE                                                                               GREENWOOD          IN    46143‐1948
TROILO, GERARD D             541 E BALTIMORE PIKE                                                                            WEST GROVE         PA    19390‐9253
TROILO, JOSEPH D             106 HEATHERLY LN                  PINELEIGH                                                     AVONDALE           PA    19311‐9706
TROIOLA, JACQUELYN F         2713 BURTON CT                                                                                  WESTCHESTER        IL    60154‐5904
TROIS AMIS CORP              3236 W SAINT JOSEPH ST                                                                          LANSING            MI    48917‐3706
TROIS C BAUMER               1379 MCCLURE RD                                                                                 TOLEDO             OH    43612‐4023
TROISI, JOHN L               417 WINDING CT                                                                                  BRICK              NJ    08723‐4954
TROISI, LAURENCE M           420 E 55TH ST #1 G                                                                              NEW YORK           NY    10022
TROJACEK, LOUISE S           4100 SO HENDERSON ST                                                                            FT WORTH           TX    76115‐1228
TROJACEK, LOUISE S           4100 S HENDERSON ST                                                                             FORT WORTH         TX    76115‐1228
TROJAKOWSKI, EDWARD A        89 SUNSET BLVD                                                                                  HAMILTON SQUARE    NJ    08690‐3951
TROJAN ALAN                  20 SEARS PLACE                                                                                  WAYNE              NJ    07470‐2611
TROJAN SPECIAL COMMODITIES   PO BOX 9960                                                            STONEY CREEK CANADA ON
                                                                                                    L8G 3Y4 CANADA
TROJAN TECHNOLOGIES INC      3020 GORE RD                                                           LONDON CANADA ON N5V
                                                                                                    4T7 CANADA
TROJAN, DONNA M              APT 104                           9048 SUMMIT CENTRE WAY                                        ORLANDO            FL    32810‐5969
TROJAN, JANE                 1489 ORA RD                                                                                     OXFORD             MI    48371‐3239
TROJAN, MAUREEN L            10420 CALIBOUGE DR                                                                              FISHERS            IN    46037
TROJANOWSKI, DONNA M         10301 OATMAN RD                                                                                 GREENWOOD          MI    48006‐1612
TROJANOWSKI, DONNA M         10301 OATMAN ROAD                                                                               GREENWOOD          MI    48006‐1612
TROJANOWSKI, FRANK R         23204 MCNAMEE AVE                                                                               PORT CHARLOTTE     FL    33980‐4849
TROJANOWSKI, FRANK T         1237 E HAMILTON AVE                                                                             FLINT              MI    48506‐3210
TROJANOWSKI, JENNIE J        1237 E HAMILTON                                                                                 FLINT              MI    48506‐3210
TROJANOWSKI, PEARL A         2745 136TH AVE                    PMB 144                                                       HOPKINS            MI    49328‐9740
TROJANOWSKI, ROBERT A        3 LANCET CT                                                                                     SHAWNEE            OK    74804‐3215
TROJANOWSKY, TIMOTHY J       34 IMPALA PKWY                                                                                  LANCASTER          NY    14086‐1308
TROJANOWSKY, TIMOTHY JOHN    34 IMPALA PKWY                                                                                  LANCASTER          NY    14086‐1308
TROJONAWSKI, JOHN D          97 PINEVIEW DR                                                                                  LAPEER             MI    48446‐9318
TROJONAWSKI, JOSEPHINE       385 POCAHONTAS                                                                                  OXFORD             MI    48371‐5077
TROKEY, DAVID L              915 ANNABROOK PARK DR                                                                           O FALLON           MO    63366‐8410
TROKEY, GINGER L             5346 S BARLEY WAY                                                                               GILBERT            AZ    85298‐8647
TROKEY, GINGER L             5346 SOUTH BARLEY WAY                                                                           GILBERT            AZ    85298
TROLENE CHRISTOPHER          TROLENE, CHRISTOPHER J            89 N HADDON AVE                                               HADDONFIELD        NJ    08033‐2423
TROLINGER, LAWRENCE J        913 RED BOULDER DR                102                                                           LAS VEGAS          NV    89128
TROLINGER, THOMAS L          3535 192ND ST                                                                                   LANSING            IL    60438‐3815
TROLL MARK                   7800 S AINGER RD                                                                                OLIVET             MI    49076‐9677
TROLL, JAMES E               3645 DIEHL RD                                                                                   METAMORA           MI    48455‐9734
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                   Part 37 of 40 Pg 491 of 901
Name                             Address1                       Address2                     Address3   Address4             City                  State Zip
TROLL, JOSEPH R                  7917 COLUMBIANA CANFIELD RD                                                                 CANFIELD               OH 44406‐9441
TROLL, MARK A                    7800 S AINGER RD                                                                            OLIVET                 MI 49076‐9677
TROLLE, THORWALD N               PO BOX 732                                                                                  GRANTHAM               NH 03753
TROLLEY, DOREEN C                21858 HURON CIR                                                                             GROSSE ILE             MI 48138‐2212
TROLLINGER, HENRY B              9621 SE 6TH ST                                                                              MIDWEST CITY           OK 73130‐4403
TROLLINGER, HENRY B              1620 N CENTER AVE                                                                           SHAWNEE                OK 74804‐4118
TROLLINGER, JOHN W               3441 MCMULLIN SCHOOL RD                                                                     DE SOTO                MO 63020‐5039
TROLLMAN                         PO BOX 129                                                                                  FENTON                 MI 48430‐0129
TROLLMAN, DALE J                 3990 KEHOE DR NE 224                                                                        ADA                    MI 49301
TROLLMAN, KELLY                  3990 KEHOE DR NE                                                                            ADA                    MI 49301‐9641
TROLLMANN, KONRAD & ROSEMARIE    WUERMSTR 18                                                            71157 HILDIZHAUSEN
                                                                                                        GERMANY
TROMBA, IRENE T                  916 CRANBROOK DR                                                                            CLEVELAND             OH 44143
TROMBA, VICTOR                   114 MARSHALL ST                                                                             ESSEXVILLE            MI 48732‐1152
TROMBATORE STEPHEN (ESTATE OF)   C/O PAUL HANLEY & HARLEY       1608 4TH ST STE 300                                          BERKELEY              CA 94710‐1749
(473154)
TROMBATORE, STEPHEN              C/O PAUL HANLEY & HARLEY       1608 4TH ST STE 300                                          BERKELEY              CA   94710‐1749
TROMBETTA, ALFRED                4154 GLENBROOK CT                                                                           STERLING HEIGHTS      MI   48310‐3378
TROMBETTA, BETTY M               6676 JACKSON                                                                                TAYLOR                MI   48180‐1944
TROMBETTA, BETTY M               6676 JACKSON ST                                                                             TAYLOR                MI   48180‐1944
TROMBETTA, DANIEL M              9137 STEVENS ST                                                                             TAYLOR                MI   48180‐2911
TROMBETTA, DANIEL MARTIN         9137 STEVENS ST                                                                             TAYLOR                MI   48180‐2911
TROMBETTA, EDNA                  39500 WARREN LOT 29                                                                         CANTON                MI   48187‐4343
TROMBETTA, JOSEPH R              1370 CHRISTIAN HILLS DR                                                                     ROCHESTER HILLS       MI   48309‐2901
TROMBETTA, LOUIS M               2055 BOTTLEBRUSH DR                                                                         MELBOURNE             FL   32935‐4783
TROMBETTA, NICHOLAS              4330 FOX CT                                                                                 TRENTON               MI   48183‐4003
TROMBETTA, ROSE A                182 SANDALWOOD DR                                                                           ROCHESTER HILLS       MI   48307‐3458
TROMBINO, DONALD                 2429 HASKELL DRIVE                                                                          ANTIOCH               TN   37013‐3970
TROMBLAY, ROSEMARIE              614 S SCHUMAN ST                                                                            WESTLAND              MI   48186‐4530
TROMBLEY JR, ROY F               APT 137                        24500 METROPOLITAN PARKWAY                                   CLINTON TWP           MI   48035‐2025
TROMBLEY LARRY J (482364)        WEITZ & LUXENBERG              180 MAIDEN LANE                                              NEW YORK              NY   10038
TROMBLEY NELL                    18502 POTTER GLEN CIR                                                                       ANCHORAGE             AK   99516‐6137
TROMBLEY SR, DONALD G            43312 EUREKA DR                                                                             CLINTON TWP           MI   48036‐1286
TROMBLEY, ALLAN R                8921 STEVENS ST                                                                             TAYLOR                MI   48180‐2930
TROMBLEY, ANDREW J               279 S LINCOLN RD                                                                            BAY CITY              MI   48708‐3601
TROMBLEY, BARBARA J              2017 HAWTHORNE                                                                              GROSSE POINTE WOODS   MI   48236‐1431
TROMBLEY, BARBARA L              1269 NORWOOD AVENUE                                                                         TOLEDO                OH   43607‐1835
TROMBLEY, CAROL J                5477 BANGOR AVE                                                                             FLUSHING              MI   48433‐9000
TROMBLEY, CAROLYN E              5184 WYNDEMERE COMMON SQ                                                                    SWARTZ CREEK          MI   48473‐8925
TROMBLEY, CHARLES M              PO BOX 656                                                                                  SOUTHBRIDGE           MA   01550‐0656
TROMBLEY, DAVID N                2559 W BURDELL RD                                                                           ROSCOMMON             MI   48653‐8359
TROMBLEY, DENNIS A               38412 SHEFFIELD ST                                                                          CLINTON TOWNSHIP      MI   48036‐2860
TROMBLEY, DONALD M               9073 WABASIS SHORES DR NE                                                                   GREENVILLE            MI   48838‐8391
TROMBLEY, DOREEN P               630 CANTERBURY LANE                                                                         CAMBRIA               CA   93428‐2406
TROMBLEY, DOROTHY M              104 S CHURCH ST                                                                             STANDISH              MI   48658‐9483
TROMBLEY, DOUGLAS E              PO BOX 9022                    C/O GM KOREA                                                 WARREN                MI   48090‐9022
TROMBLEY, ELMER A                R 3 3331 TIMBERLANE TR                                                                      GRAYLING              MI   49738
TROMBLEY, EVELYN                 CLINTON GARDENS                24500 METRO PARKWAY                                          CLINTON TOWNSHIP      MI   48035
TROMBLEY, GERTRUDE E             10017 MONTROSE DR                                                                           MANCELONA             MI   49659‐8947
TROMBLEY, GODELIEZE              31205 GLOEDE DR                                                                             WARREN                MI   48088‐2029
TROMBLEY, GORDON J               147 PLANTATION BLVD                                                                         LAKE WORTH            FL   33467‐6551
TROMBLEY, GREGORY A              4705 CONNER RD                                                                              GLADWIN               MI   48624‐9400
                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                           Part 37 of 40 Pg 492 of 901
Name                     Address1                            Address2          Address3      Address4         City                   State Zip
TROMBLEY, GUY A          17851 N 17TH ST                                                                      PHOENIX                 AZ 85022‐1671
TROMBLEY, HARVEY G       17750 LONG JUDSON RD                                                                 BOWLING GREEN           OH 43402‐9719
TROMBLEY, J P            601 N FARRAGUT ST                                                                    BAY CITY                MI 48708‐4500
TROMBLEY, JACKSON G      3916 MCCANN AVE                                                                      CHEYENNE                WY 82001‐8106
TROMBLEY, JAMES A        10767 HACK RD                                                                        REESE                   MI 48757‐9705
TROMBLEY, JAMES G        1672 VAN WAGONER DR                                                                  SAGINAW                 MI 48638‐4487
TROMBLEY, JAMES G        1672 VANWAGONER                                                                      SAGINAW                 MI 48603‐4487
TROMBLEY, JAMES R        6285 ROBINSON RD APT 13                                                              LOCKPORT                NY 14094‐9572
TROMBLEY, JASON M        12721 VIA CATHERINA DR                                                               GRAND BLANC             MI 48439‐1527
TROMBLEY, JEROME B       4166 ANGELINE DR                                                                     STERLING HTS            MI 48310‐5001
TROMBLEY, JOSEPH F       5477 BANGOR AVE                                                                      FLUSHING                MI 48433‐9000
TROMBLEY, JUNE H         1983 ALLARD AVE                                                                      GROSSE POINTE WOODS     MI 48236‐1903
TROMBLEY, KENNETH        34185 PRESTON DR                                                                     STERLING HTS            MI 48312‐5654
TROMBLEY, KENNETH M      5425 WINCHESTER ROAD                                                                 FORT WAYNE              IN 46819‐1127
TROMBLEY, KENNETH R      24259 EASTWOOD VILLAGE DR APT 101                                                    CLINTON TOWNSHIP        MI 48035‐5804
TROMBLEY, KENNETH R      24678 SPRING LN                                                                      HARRISON TWP            MI 48045‐2313
TROMBLEY, KEVIN P        5205 HANSEN DR                                                                       SWARTZ CREEK            MI 48473‐8221
TROMBLEY, LARRY J        500 SHADOW LAKES BLVD APT 115                                                        ORMOND BEACH            FL 32174‐5048
TROMBLEY, LARRY J        500 SHADOW LAKES BLVD               APT 115                                          ORMAND BEACH            FL 32174
TROMBLEY, LARRY J        WEITZ & LUXENBERG                   180 MAIDEN LANE                                  NEW YORK                NY 10038
TROMBLEY, LEONARD L      4713 LACLAIR RD                                                                      STANDISH                MI 48658‐9754
TROMBLEY, LOWELL L       2205 JARABEC RD                                                                      SAGINAW                 MI 48609‐9203
TROMBLEY, MARCIA A       27650 WISTERIA ST                                                                    HARRISON TWP            MI 48045‐2950
TROMBLEY, MARGIE E       PO BOX 401                                                                           GENESEE                 MI 48437‐0401
TROMBLEY, MARGIE E       P.O. BOX 401,                                                                        GENESEE                 MI 48437
TROMBLEY, MARIAN F       530 BEECH ST #302                                                                    CHARLOTTE               MI 48813
TROMBLEY, MICHAEL D      3769 SCHOLTZ RD                                                                      LAPEER                  MI 48446
TROMBLEY, MICHAEL D      6160 PINE CREEK XING                                                                 GRAND BLANC             MI 48439‐9730
TROMBLEY, MILTON E       PO BOX 401                                                                           GENESEE                 MI 48437‐0401
TROMBLEY, NORMAN E       3045 S BAY MID COUNTY LINE RD                                                        MIDLAND                 MI 48642‐9217
TROMBLEY, ODILE E        3351 SHERWOOD RD.                                                                    BAY CITY                MI 48706‐1527
TROMBLEY, PATRICIA A     3794 E SHORE DR                                                                      GRAWN                   MI 49637‐9527
TROMBLEY, PAUL E         2933 COLDWATER LN                                                                    NORTH PORT              FL 34286‐4340
TROMBLEY, PAUL J         2470 7 MILE RD                                                                       KAWKAWLIN               MI 48631‐9702
TROMBLEY, REBECCA J      705 E MAIN ST                                                                        OTTAWA                  OH 45875‐2028
TROMBLEY, REBECCA JEAN   705 E MAIN ST                                                                        OTTAWA                  OH 45875‐2028
TROMBLEY, RICHARD F      2580 S FLETCHER RD                                                                   CHELSEA                 MI 48118‐9658
TROMBLEY, ROBERT F       5254 MOUNT MARIA RD                                                                  HUBBARD LAKE            MI 49747‐9410
TROMBLEY, RONALD A       2117 SANDERSON RD                                                                    PRESCOTT                MI 48756‐9677
TROMBLEY, RONALD G       412 WILLOW BND                                                                       AUBURN                  MI 48611‐9302
TROMBLEY, RONALD P       4096 WYATT RD                                                                        STANDISH                MI 48658‐9225
TROMBLEY, SONIA          50 TRUELL RD                                                                         WHITE RIVER JUNCTION    VT 05001‐9100
TROMBLEY, TIMOTHY A      1748 E MUNGER RD                                                                     MUNGER                  MI 48747‐9798
TROMBLEY, WILLIAM R      3017 E BIRCH DR                                                                      BAY CITY                MI 48706‐1201
TROMBLY, DAVID J         4401 RAMUDA WAY                                                                      SILVER CITY             NM 88061‐7836
TROMBLY, DAVID M         33118 MULBERRY RD                                                                    RIDGE MANOR             FL 33523‐9210
TROMBLY, DILLON          2208 E 4TH ST                                                                        ROYAL OAK               MI 48067‐3924
TROMBLY, DONNA A         13839 TIMBERVIEW DR                                                                  SHELBY TOWNSHIP         MI 48315‐2063
TROMBLY, HAZEL E         4222 HUNTERS CIR W                                                                   CANTON                  MI 48188‐2363
TROMBLY, JASON W         850 WILKINSON TRCE APT 54                                                            BOWLING GREEN           KY 42103‐2492
TROMBLY, JASON WILLIAM   850 WILKINSON TRCE APT 54                                                            BOWLING GREEN           KY 42103‐2492
TROMBLY, JEREMIAH J      13839 TIMBERVIEW DR                                                                  SHELBY TOWNSHIP         MI 48315‐2063
                                  09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                       Part 37 of 40 Pg 493 of 901
Name                              Address1                          Address2                      Address3   Address4             City               State Zip
TROMBLY, JEROME J                 18535 AUTUMNWOOD DR                                                                             CLINTON TWP         MI 48035‐1373
TROMBLY, JOSEPH W                 PO BOX 265                                                                                      WEST BRANCH         MI 48661‐0265
TROMBLY, MARIE A                  223 STERLING DR                                                                                 LAPEER              MI 48446‐2892
TROMBLY, MARY M                   33118 MULBERRY ROAD                                                                             DADE CITY           FL 33523‐9210
TROMBLY, RICHARD J                1118 VERMILYA AVE                                                                               FLINT               MI 48507‐1539
TROMBLY, RICHARD JAMES            1118 VERMILYA AVE                                                                               FLINT               MI 48507‐1539
TROMBLY, RUSSEL H                 7349 ULMERTON RD LOT 155                                                                        LARGO               FL 33771‐4857
TROMBLY, SUSAN E                  PO BOX 265                                                                                      WEST BRANCH         MI 48661‐0265
TROMBLY, WILLIAM A                4948 LEROY ST                                                                                   PERRYSBURG          OH 43551‐9757
TROMBLY, WILLIAM ANTHONY          4948 LEROY ST                                                                                   PERRYSBURG          OH 43551‐9757
TROMBLY, WILLIAM L                28 BLUE HERON DR                                                                                PERU                NY 12972‐4402
TROMETER II, AUGUST G             5711 LONGLEAF DR                                                                                NORTH FORT MYERS    FL 33917‐3474
TROMETER, SUSAN S                 5711 LONGLEAF DR                                                                                NORTH FORT MYERS    FL 33917‐3474
TROMEUR, JACQUELINE               29239 CAMBRIDGE ST                                                                              GARDEN CITY         MI 48135‐2165
TROMEUR, JENNIFER L               275 E TAMI CIR APT J105                                                                         WESTLAND            MI 48186
TROMEUR, MARK L                   30841 STEINHAUER ST                                                                             WESTLAND            MI 48186‐5020
TROMEUR, MARK LOUIS               30841 STEINHAUER ST                                                                             WESTLAND            MI 48186‐5020
TROMLEY INDUSTRIAL HOLDINGS IN    12505 SW HERMAN RD                PO BOX 3210                                                   TUALATIN            OR 97062‐6950
TROMLEY, KATHLEEN A               2104 KENNETH ST APT 3                                                                           BURTON              MI 48529‐1300
TROMLEY, KATHLEEN ANN             2104 KENNETH ST APT 1                                                                           BURTON              MI 48529‐1300
TROMLEY, LEONARD D                5500 COLONY RD                                                                                  GRAND BLANC         MI 48439‐7708
TROMLEY, LEONARD DURWIN           5500 COLONY RD                                                                                  GRAND BLANC         MI 48439‐7708
TROMLEY, RONALD D                 5500 COLONY RD                                                                                  GRAND BLANC         MI 48439‐7708
TROMMATER, ROBERT C               409 E LINCOLN ST                                                                                GRAND LEDGE         MI 48837‐1725
TROMMATER, ROBERT CARL            409 E LINCOLN ST                                                                                GRAND LEDGE         MI 48837‐1725
TROMPETER, JOSEPH H               38135 SUMPTER DR                                                                                STERLING HTS        MI 48310‐3023
TROMPETER, MICHAEL R              18 W. 069 14TH STREET                                                                           VILLA PARK           IL 60181
TRONCOSO Y CACERES                SOCORO SANCHEZ 253                APARTADO 1182 SANTO DOMINGO              DOMINGO REPUBLICA
                                                                                                             DOMINICAN REPUBLIC
TRONCOSO, BEULAH M                4316 DIXIE COURT                                                                                KANSAS CITY        KS   66106‐1846
TRONCOSO, BEULAH M                4316 DIXIE AVE                                                                                  KANSAS CITY        KS   66106‐1846
TRONCOSO, JOSE F                  643 W 172ND ST APT 42                                                                           NEW YORK           NY   10032‐1822
TRONCOSO, MARIA                   817 WEST WALNUT AVE                                                                             ORANGE             CA   92668‐2238
TRONCOZO, CHON A                  5200 SILVER CROSSING ST                                                                         BAKERSFIELD        CA   93313‐4121
TROND KAVANAGH                    11410 FOLEY RD                                                                                  EMMETT             MI   48022‐2009
TRONDSON, PATRICIA                10553 PARDEE ROAD                                                                               TAYLOR             MI   48180‐3533
TRONDSON, PATRICIA                10553 PARDEE RD                                                                                 TAYLOR             MI   48180‐3533
TRONE JOHN (ESTATE OF) (501741)   LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                       MIAMI              FL   33143‐5163
TRONE, BARBARA J                  508 BRENTWOOD BLVD                                                                              PALMETTO           GA   30268‐1087
TRONE, JOHN                       THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD       SUITE 44                        CORAL GABLES       FL   33146
TRONE, JOHN                       LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                       MIAMI              FL   33143‐5163
TRONEX CHEMICAL CORP              10799 PLAZA DR                                                                                  WHITMORE LAKE      MI   48189‐9737
TRONG NGUYEN                      5921 NW 72ND PL                                                                                 WARR ACRES         OK   73132‐5702
TRONGAARD GARY (318136)           DUKE LAW FIRM                     236 WESTVIEW TER                                              ARLINGTON          TX   76013‐1620
TRONGAARD, GARY                   DUKE LAW FIRM                     236 WESTVIEW TER                                              ARLINGTON          TX   76013‐1620
TRONGONE, ROBERT J                96 BALDWIN TER                                                                                  WAYNE              NJ   07470‐3657
TRONNES, ARVID B                  9305 MILLER RD                                                                                  SWARTZ CREEK       MI   48473‐8572
TRONOLONE, JOSEPH F               2248 JOHNSARBOR DR W                                                                            ROCHESTER          NY   14620‐3623
TRONOLONE, JOSEPH M               850 WHITTIER RD                                                                                 SPENCERPORT        NY   14559‐9740
TRONT, DONALD S                   16311 NE 27TH CT                                                                                RIDGEFIELD         WA   98642‐8974
TRONT, JENNIE                     4244 JOHNSFIELD                                                                                 STANDISH           MI   48658‐9406
TRONT, MARIE A                    23861 LAWRENCE AVE                                                                              DEARBORN           MI   48128‐1267
                                     09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                           Part 37 of 40 Pg 494 of 901
Name                                 Address1                           Address2                     Address3   Address4                 City                 State Zip
TRONT, RALPH J                       14590 COON HOLLOW RD                                                                                THREE RIVERS          MI 49093‐9563
TRONTOSO, ROCIO                      30 MATTHEWS DR                                                                                      HILTON HEAD ISLAND    SC 29926‐3785
TRONTOSO, ROCIO                      30 MATHEWS DR                                                                                       HILTON HEAD ISLAND    SC 29926‐3775
TROOLINES, CLAIRE DOROTHY            PO BOX 205                                                                                          LAKE ISABELLA         CA 93240‐0205
TROON, MARGARET E                    350 W. LOGAN ST. BOX 603                                                                            LAKE CITY             MI 49651
TROONINVEST BV/NV                    HOOGSTRAAT 139                                                             1000 BRUSSEL BELGIUM     N/A                        N/A
TROOP AUTO REPAIR                    1005 ROUTE 940                                                             MIDGIC NB E4L 1X8
                                                                                                                CANADA
TROOP RICHARD                        6481 BRADDOCK CIR                                                                                   HUNTINGTON BEACH     CA    92648‐6602
TROOP, CORY D                        2419 SUMMER OAKS CIR                                                                                SUMMERTOWN           TN    38483‐9204
TROOP, JAMES D                       10035 W PIERSON RD                                                                                  FLUSHING             MI    48433‐9718
TROOP, MICHAEL A                     410 S MAIN ST                                                                                       CAPAC                MI    48014‐3719
TROOST JR, JOHN J                    4166 PONDEROSA DR                                                                                   DORR                 MI    49323‐9596
TROOST, FRANCES J                    5473 GREENBORO DR SE                                                                                KENTWOOD             MI    49508‐6043
TROOST, GEORGE R                     PO BOX 29                                                                                           ALLENHURST           GA    31301
TROP, GLEN E                         820 E DELLA VISTA ST               APT 17                                                           LAKELAND             FL    33805
TROPEA, LEONARD A                    22091 TUSCANY AVE                                                                                   EASTPOINTE           MI    48021‐2548
TROPEA, MARK C                       11457 HANFORD DR                                                                                    WARREN               MI    48093‐2608
TROPECK, DIANNE M                    144 RED DOG RD                                                                                      ACME                 PA    15610‐1120
TROPEPE, HOWARD L                    705 THURSTON ST                                                                                     DEFIANCE             OH    43512‐2752
TROPEPE, HOWARD LEONARD              705 THURSTON ST                                                                                     DEFIANCE             OH    43512‐2752
TROPEPE, SUSAN E                     705 THURSTON ST                                                                                     DEFIANCE             OH    43512‐2752
TROPF, GERALDINE K                   2208 N WEST BAY SHORE DR                                                                            SUTTONS BAY          MI    49682‐9368
TROPF, JOSEPH E                      12840 TOMPKINS RD                                                                                   ONONDAGA             MI    49264‐9601
TROPF, VELDA D                       2023 MARY AVE                                                                                       LANSING              MI    48910‐5275
TROPHY CLUB MEDICAL                  PO BOX 841168                                                                                       DALLAS               TX    75284‐1168
TROPHY CLUB MEDICAL CENTER           PO BOX 841168                                                                                       DALLAS               TX    75284‐1168
TROPHY ROOM INC                      C/O DALE EARNHARDT INC             1675 DALE EARNHARDT HWY #3                                       MOORESVILLE          NC    28115
TROPIC PERFORMANCE                   728 NW DIXIE HWY                                                                                    STUART               FL    34994‐1034
TROPICAL CADILLAC                    4780 14TH ST W                                                                                      BRADENTON            FL    34207‐2001
TROPICAL CADILLAC OLDSMOBILE INC     CAMINO REAL CENTRE , 7300 WEST                                                                      BOCA RATON           FL    33433
                                     CAMINO REAL
TROPICAL CADILLAC‐OLDSMOBILE, INC.   ROBERT GEYER                       4780 14TH ST W                                                   BRADENTON             FL   34207‐2001

TROPICAL CHEVROLET, INC.             IAN WILDSTEIN                      8880 BISCAYNE BLVD                                               MIAMI SHORES          FL   33138‐3343
TROPICAL CHEVROLET, INC.             8880 BISCAYNE BLVD                                                                                  MIAMI SHORES          FL   33138‐3343
TROPICAL ISLES MANUFACTURED HOME     17 MAJESTIC WAY                                                                                     FORT PIERCE           FL   34949‐8309
SALES INC DEFINED BENEFIT PLAN

TROPICAL PONTIAC‐CADILLAC INC        701 MANATEE AVENUE, WEST                                                                            BRADENTON             FL   34205
TROPICAL RENT A CAR                  765 AMANA STREET 3RD FLOOR                                                                          HONOLULU              HI   96814
TROPICAL RENT A CAR                  3156 OIHANA STREET                                                                                  LIHUE                 HI   96766
TROPICAL SHIPPING                    5 E 11TH ST                                                                                         RIVIERA BEACH         FL   33404‐6920
TROPICAL SHIPPING AND CONSTRUCTION   MATHEW APPICE                      5 E 11TH ST                                                      RIVIERA BEACH         FL   33404‐6920
COMPANY, LTD.
TROPICAL TRADER ENTERPRISES, LTD.    STREET ADDRESS UNAVAILABLE                                                 BLOWING POINT ANGUILLA
TROPICAL USA RENT A CAR              4905 W LAUREL ST STE 200                                                                            TAMPA                FL    33607‐3883
TROPLE, THEODORE JOHN                BOONE ALEXANDRA                    205 LINDA DR                                                     DAINGERFIELD         TX    75638‐2107
TROPMAN, IDA R                       108 HICKORY HILL RD APT D          C/O MARILYN T. MENDELSON                                         WILLIAMSVILLE        NY    14221‐2540
TROPMAN, IDA R                       2235 MILLERSPORT HWY               BEECHWOOD CONTINUING CARE                                        GETZVILLE            NY    14068
TROPMANN AARON                       8005 SANDYBROOK LN                                                                                  WAKE FOREST          NC    27587‐5829
TROPP, CAROLYN A                     1335 GROVENBURG RD                                                                                  HOLT                 MI    48842‐8613
                           09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                              Part 37 of 40 Pg 495 of 901
Name                       Address1                        Address2             Address3        Address4         City                State Zip
TROPP, EDWARD              2292 ELDRED RD                                                                        CHINO VALLEY         AZ 86323‐5214
TROPP, EDWARD J            3369 CHEROKEE LN                                                                      LAKE HAVASU CITY     AZ 86404
TROPP, FRED J              500 MALLARDS LNDG                                                                     TUNNEL HILL           IL 62972‐3421
TROPP, JUDE M              1403 CARNEGIE CT                                                                      BELOIT               WI 53511‐3842
TROPP, LAWRENCE S          6604 163RD PL                                                                         TINLEY PARK           IL 60477‐1716
TROPP, PAUL F              540 MALLARDS LNDG                                                                     TUNNEL HILL           IL 62972‐3421
TROPP, RUSSELL C           1335 GROVENBURG RD                                                                    HOLT                 MI 48842‐8613
TROPPER, PETER             38118 SEAWAY CT                                                                       HARRISON TWP         MI 48045‐2764
TROPPER, PETER A           18244 CIDER MILL ST                                                                   MACOMB               MI 48044‐4137
TROPPI, CONSTANCE M        11384 YOUNG DR                                                                        BRIGHTON             MI 48114‐9250
TROPPI, CYNTHIA K          13908 PALMER RD                                                                       WILLIS               MI 48191‐9612
TROPPI, CYNTHIA KAY        13908 PALMER RD                                                                       WILLIS               MI 48191‐9612
TROPPI, DAVID A            265 ROSELAND DR                                                                       CANTON               MI 48187‐3954
TROPPI, DOROTHY M          14722 LOUHI BOX 26                                                                    KALEVA               MI 49645
TROPPITO & MILLER, LLC     CHRIS TROPPITO                  508 WALNUT STREET                                     KANSAS CITY          MO 64106
TROSCINSKI, ADAM S         2687 MOHAWK LN                                                                        ROCHESTER HILLS      MI 48306‐3825
TROSCINSKI, JAMES P        945 LAKEPOINTE ST                                                                     GROSSE POINTE        MI 48230‐1709
TROSCLAIR CHARLES          4041 EVERGREEN ST                                                                     LAKE CHARLES         LA 70605‐2311
TROSCLAIR, LINDA A         212 SOUTHERN STAR                                                                     SLIDELL              LA 70458‐9045
TROSEN, JAMES A            7155 CURTIS RD                                                                        NORTHVILLE           MI 48168‐9406
TROSEN, JANE E             7155 CURTIS RD                                                                        NORTHVILLE           MI 48168‐9406
TROSEN, KENNETH H          8676 VILLA NOVA DR                                                                    CAPE CANAVERAL       FL 32920‐4327
TROSHAK, MONICA L          2893 OHANLON CT                                                                       WILLIAMSTON          MI 48895‐9106
TROSHAK, WILLIAM M         2893 0HANLON CT                                                                       WILLIAMSTON          MI 48895
TROSHAK, WILLIAM MICHAEL   2893 0HANLON CT                                                                       WILLIAMSTON          MI 48895
TROSIEN, RICHARD E         13606 N 109TH AVE                                                                     SUN CITY             AZ 85351‐2556
TROSIN, GARY R             12925 LINDA VISTA ST                                                                  BELLEVILLE           MI 48111‐2275
TROSIN, RONALD             7937 DONEGAL CT                                                                       FENTON               MI 48430‐4802
TROSINO, MICHAEL B         11448 LAKE RD                                                                         OTISVILLE            MI 48463
TROSKEY, SHARON L          16 RAMBO DR                                                                           NEW CASTLE           DE 19720‐4044
TROSPER, BARBARA           PO BOX 125                                                                            CAYUGA               IN 47928‐0125
TROSPER, BARBARA           BOX 125                                                                               CAYUGA               IN 47928‐0125
TROSPER, CARL A            234 CHEVY CHASE DR                                                                    GALION               OH 44833‐9309
TROSPER, CHARLES E         2931 STARGAZE DR                                                                      O FALLON             MO 63368‐8068
TROSPER, GREIG A           43030 UTICA RD                                                                        STERLING HEIGHTS     MI 48314‐3568
TROSPER, IRENE L           159 PINE HOLLOW LN                                                                    COLLINSVILLE          IL 62234‐4784
TROSPER, JANICE            3430 GADD CT                                                                          HIGHLAND             MI 48356‐2338
TROSPER, JULIAN M          128 SOUTHLAND DR                                                                      LONDON               KY 40744‐9191
TROSPER, KENNETH P         285 TEELIN ROAD                                                                       OXFORD               MI 48371
TROSPER, LELAND E          1150 W MARKET ST                                                                      AKRON                OH 44313‐7129
TROSPER, LOU A             3956 N US HIGHWAY 25                                                                  EAST BERNSTADT       KY 40729‐6533
TROSPER, LOU A             3956 N US HWY 25                                                                      EAST BERNSTADT       KY 40729‐6533
TROSPER, MONIS R           622 TROMLEY ST                                                                        INKSTER              MI 48141‐1225
TROSPER, ROBERT D          201 SMITH ST                                                                          BURLESON             TX 76028‐5813
TROSS, COREY B             6560 CLOVERLANE RD.                                                                   LAMBERTVILLE         MI 48144
TROSS, HAZEL M             2200 DULANEY VALLEY                                                                   TIMONION             MD 21093
TROST, BETTY F             C/O CHARLES LILLIE              40700 WOODWARD AVE   SUITE A                          BLOOMFIELD HILLS     MI 48304
TROST, CHRISTY L           19035 MORNINGSIDE AVE                                                                 EASTPOINTE           MI 48021‐2725
TROST, DAVID C             192 SHARON DR                                                                         WEST SENECA          NY 14224‐1529
TROST, ERNEST S            8603 SCENICVIEW DR APT 101                                                            BROADVIEW HEIGHTS    OH 44147‐3469
TROST, FERDINAND H         12170 MCKELVEY RD                                                                     MARYLAND HEIGHTS     MO 63043‐1240
TROST, JAMES T             4149 HAZELHURST CT                                                                    PLEASANTON           CA 94566‐4708
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                          Part 37 of 40 Pg 496 of 901
Name                                   Address1                        Address2                      Address3   Address4         City                 State Zip
TROST, JOHN                            34938 SWAN CREEK BLVD                                                                     RICHMOND              MI 48062‐5519
TROST, LILLIAN A                       2078 DELANEY ST                                                                           BURTON                MI 48509‐1023
TROST, NORMAN A                        5915 VINECROFT DR # B                                                                     CLARENCE CENTER       NY 14032‐9155
TROST, RICHARD H                       717 MIDDLESEX RD                                                                          GROSSE POINTE PARK    MI 48230‐1741
TROST, ROBERT C                        7048 SHOOTERS HILL RD                                                                     TOLEDO                OH 43617‐1319
TROST, ROSS A                          9148 SUE DR                                                                               SAND POINT            MI 48755‐9785
TROSTLE JR, JOHN E                     232 LYNGARDENS WAY                                                                        INDIANAPOLIS          IN 46224‐7124
TROSTLE JR, JOHN EDWARD                232 LYNGARDENS WAY                                                                        INDIANAPOLIS          IN 46224‐7124
TROSTLE, CHARLES A                     APT C                           6735 MILLSIDE DRIVE                                       INDIANAPOLIS          IN 46221‐9661
TROSTLE, RICHARD                       21 N ONEIL ST                                                                             MOHNTON               PA 19540‐1603
TROSZAK, DOUGLAS M                     11177 CLARK RD                                                                            DAVISBURG             MI 48350‐2728
TROTH, DENNIS L                        2806 E US HIGHWAY 40                                                                      GREENCASTLE           IN 46135‐8739
TROTH, JAMES L                         107 S MUSTIN DR                                                                           ANDERSON              IN 46012‐3155
TROTH, JULIUS G                        10406 DEWBERRY ST                                                                         PORTAGE               MI 49024‐6701
TROTH, LARRY E                         1131 NE 53RD ST                                                                           KANSAS CITY           MO 64118‐5322
TROTH, MARILYN V                       107 S MUSTIN DR                                                                           ANDERSON              IN 46012‐3155
TROTH, MARILYN V                       107 S. MUSTIN DR                                                                          ANDERSON              IN 46012‐3155
TROTHIER, RONALD P                     2521 DOROTHY CIR                                                                          TITUSVILLE            FL 32780‐6053
TROTMAN, ALPHONSO                      6109 FLEMISH BLUE CT                                                                      ELDERSBURG            MD 21784‐8448
TROTMAN, ELIZABETH ANN                 63 NORTHUMBERLAND DR                                                                      TOMS RIVER            NJ 08757‐4731
TROTNIC VINCENT (356915)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                                       STREET, SUITE 600
TROTNIC, VINCENT                       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                                       STREET, SUITE 600
TROTT JR, CHARLES J                    4922 MCPHERSON DR NE                                                                      ROSWELL              GA    30075‐4019
TROTT, CLARENCE L                      26575 SCHOENHERR RD                                                                       WARREN               MI    48089‐3695
TROTT, FRIEDA A                        15020 DRAPER ROAD                                                                         FAYETTEVILLE         AR    72704‐0302
TROTT, JEANETTE J                      1730 NEWFIELD RD                                                                          COLUMBUS             OH    43209‐3276
TROTTA LAMBERTO (664896)               BELLUCK & FOX LLP               1013 MERRICK RD                                           BALDWIN              NY    11510
TROTTA, CANIO B                        15 US HIGHWAY 22                                                                          DUNELLEN             NJ    08812‐2107
TROTTA, LAMBERTO                       BELLUCK & FOX LLP               546 5TH AVE #4                                            NEW YORK             NY    10036‐5000
TROTTA, MARGARET M                     48 TAUNTON PL                                                                             BUFFALO              NY    14216‐1818
TROTTA, MICHAEL J                      884 BLACKBIRD GREENSPRING RD                                                              SMYRNA               DE    19977‐9462
TROTTA, MICHAEL JOHN                   884 BLACKBIRD GREENSPRING RD                                                              SMYRNA               DE    19977‐9462
TROTTA, RICHARD R                      39 BLAISWOOD AVE                                                                          MARLBOROUGH          MA    01752‐3910
TROTTER ALBERT J (498346)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA    23510
                                                                       STREET, SUITE 600
TROTTER CHARLES (507614)               COON BRENT W                    PO BOX 4905                                               BEAUMONT             TX 77704‐4905
TROTTER JACOB                          5105 ADDINGTON DR                                                                         COMMERCE TWP         MI 48390‐4008
TROTTER JOHN SR (ESTATE OF) (633059)   ANGELOS PETER G                 100 N CHARLES STREET , ONE                                BALTIMORE            MD 21201
                                                                       CHARLES CENTER
TROTTER MARTIN                         27578 REGENT LN                                                                           MENIFEE              CA 92584‐8194
TROTTER WILLAM A III PC                3527 WALTON WAY EXT STE A                                                                 AUGUSTA              GA 30909‐6597
TROTTER, ALBERT J                      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                                       STREET, SUITE 600
TROTTER, ANGELO R                      4908 LINDSAY CT                                                                           ORLANDO              FL    32821‐8817
TROTTER, ARNEDIA                       229 MAPLE ST                                                                              KENT                 OH    44240‐3743
TROTTER, ARNEDIA                       229 W MAPLE ST                                                                            KENT                 OH    44240‐3743
TROTTER, BERNARDINE                    4323 NEW POST RD                                                                          JACKSON              MS    39212
TROTTER, BOBBY                         FOSTER & SEAR                   360 PLACE OFFICE PARK, 1201                               ARLINGTON            TX    76006
                                                                       NORTH WATSON, SUITE 145
TROTTER, CHARLES                       COON BRENT W                    PO BOX 4905                                               BEAUMONT              TX   77704‐4905
                            09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                                Part 37 of 40 Pg 497 of 901
Name                        Address1                         Address2                    Address3   Address4         City                State Zip
TROTTER, CHARLES L          17741 COUNTRY CLUB LN                                                                    CNTRY CLB HLS         IL 60478‐4920
TROTTER, CHRISTINE          117 SAWYER LOOP                                                                          WINONA               MS 38967‐9768
TROTTER, CLIFTON D          2772 SARAH CT                                                                            BAY CITY             MI 48708‐8464
TROTTER, DAN L              308 N PINE AVE                                                                           CHICAGO               IL 60644‐2308
TROTTER, DAVID A            11158 W CLARK RD                                                                         EAGLE                MI 48822‐9666
TROTTER, DELORES J          1862 G STREET                    LOT 333                                                 AVON PARK            FL 33825
TROTTER, DELORES J          9149 FOREST PINES DR                                                                     MECOSTA              MI 49332
TROTTER, DONALD R           290 SLEEPY HOLLOW DR                                                                     CANFIELD             OH 44406‐1061
TROTTER, DONNA J            1155 S ADAMS ST                                                                          DENVER               CO 80210‐2101
TROTTER, DORTHEY M          2920 S WASHINGTON AVE APT 301                                                            LANSING              MI 48910‐0804
TROTTER, ELIZABETH          3930 EAST SILVER SPRINGS BLVD                                                            OCALA                FL 34470‐5086
TROTTER, EVELYN B           1914 THOMPSON ST                                                                         LANSING              MI 48906‐4161
TROTTER, FLORENCE C         1956 STEVES RD P.O. BOX 3                                                                OMER                 MI 48749‐0003
TROTTER, FLORENCE C         PO BOX 3                                                                                 OMER                 MI 48749‐0003
TROTTER, GAIL E             212 KIAMENSI RD                                                                          WILMINGTON           DE 19804‐2912
TROTTER, GEORGE E           1027 HIGHWAY 42                                                                          PETAL                MS 39465‐9768
TROTTER, GEORGIA M          22569 CHIPPEWA ST                                                                        DETROIT              MI 48219‐1179
TROTTER, HAROLD K           2912 WAKEFIELD DR                                                                        CANTON               MI 48188‐6260
TROTTER, HARRIET E          4354 MOUNT HOPE RD APT 219                                                               WILLIAMSBURG         MI 49690‐9212
TROTTER, HARRIET E          4354 MT HOPE RD APT 219                                                                  WILLIAMSBURG         MI 49690‐9212
TROTTER, HELEN R            APT 512                          3539 MARY TAYLOR ROAD                                   BIRMINGHAM           AL 35235‐3281
TROTTER, JAMES B            11833 E 47TH TER                                                                         KANSAS CITY          MO 64133‐2487
TROTTER, JAMES E            232 WATERBURY CT                                                                         MELBOURNE            FL 32934‐8017
TROTTER, JAMES E            3325 ASHGROVE DRIVE                                                                      INDIANAPOLIS         IN 46268‐3532
TROTTER, JEFFREY L          501 N EAST ST APT 509                                                                    INDIANAPOLIS         IN 46204‐1627
TROTTER, JERRY D            121 WINSLOW LN                                                                           CROSSVILLE           TN 38558‐8650
TROTTER, JERRY L            98 ATLANTIC AVE                                                                          MONETA               VA 24121‐5358
TROTTER, JIMMIE             4035 NORTH WASHINGTON ROAD                                                               FORT WAYNE           IN 46804‐1819
TROTTER, JOAN E             3310 TIMBER DR                                                                           LANSING              MI 48917‐2322
TROTTER, JOE                223 1/2 E LOUDEN AVE                                                                     LEXINGTON            KY 40505
TROTTER, JOE                223 1/2 E LOUDON AVE                                                                     LEXINGTON            KY 40505‐3635
TROTTER, JOHN               ANGELOS PETER G                  100 N CHARLES STREET, ONE                               BALTIMORE            MD 21201‐3812
                                                             CHARLES CENTER
TROTTER, JOHN M             2504 AVALON CREEK WAY                                                                    MCKINNEY            TX   75071‐2709
TROTTER, KIMBERLY J         5211 CANDLEWOOD DRIVE                                                                    GRAND BLANC         MI   48439‐2008
TROTTER, LAURINE R          1955 MARSHALL PL                                                                         JACKSON             MS   39213‐4450
TROTTER, LEONARD            6658 YOUREE DR STE 180                                                                   SHREVEPORT          LA   71105‐4651
TROTTER, LILLIAN D          3701 MAYFIELD RD #113                                                                    CLEVELAND HEIGHTS   OH   44121‐1749
TROTTER, LINDA L            1512 SUNRISE                                                                             MOORE               OK   73160‐3649
TROTTER, LLOYD W            1109 EDGEWOOD ST SW                                                                      DECATUR             AL   35601‐5451
TROTTER, LONNIE W           135 COURTLAND AVE                                                                        BUFFALO             NY   14215‐3515
TROTTER, LONNIE WHITFIELD   135 COURTLAND AVE                                                                        BUFFALO             NY   14215‐3515
TROTTER, MARK R             8662 CYPRUS HILL PASSING                                                                 AVON                IN   46123‐8846
TROTTER, MARQUITTA          4035 N WASHINGTON RD                                                                     FORT WAYNE          IN   46804‐1819
TROTTER, MARVIN O           18609 E 27TH ST S                                                                        INDEPENDENCE        MO   64057‐1511
TROTTER, MICHAEL            3621 OAK TREE CIR APT 1403                                                               FORT WORTH          TX   76133‐4744
TROTTER, MICHAEL L          5056 HYDE PARK DR                                                                        SWARTZ CREEK        MI   48473‐8234
TROTTER, PATRICIA D         6028 VERNON ST                                                                           BELLEVILLE          MI   48111‐5010
TROTTER, PHILLIP D          5153 SULLIVAN RD                                                                         LAPEER              MI   48446‐9651
TROTTER, ROBERT H           102 DON CT                                                                               SMYRNA              TN   37167‐4132
TROTTER, ROBERT J           26 STUDER RD                                                                             CLINTON             NJ   08809‐1043
TROTTER, ROBERT L           282 RAEBURN ST                                                                           PONTIAC             MI   48341‐3048
                                   09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                        Part 37 of 40 Pg 498 of 901
Name                              Address1                           Address2                      Address3   Address4                City              State Zip
TROTTER, RONALD D                 1474 WILLIAMSBURG RD                                                                                FLINT              MI 48507‐5641
TROTTER, ROSELLA A                1717 NEWARK AVE SE                                                                                  GRAND RAPIDS       MI 49507‐2146
TROTTER, TAMARA N                 1042 PINEHURST DR UNIT B                                                                            SPRING HILL        TN 37174‐2940
TROTTER, WILLIAM A                9149 FOREST PINES DR                                                                                MECOSTA            MI 49332‐9771
TROTTER, YAVON L                  9524 SCHULINE RD                                                                                    SPARTA              IL 62286‐3840
TROTTER‐LONG PONTIAC BUICK        6035 INTERNATIONAL DR                                                                               CHATTANOOGA        TN 37421‐1617
TROTTER‐LONG PONTIAC BUICK        NELSON LONG                        6035 INTERNATIONAL DR                                            CHATTANOOGA        TN 37421‐1617
TROTTER‐LONG PONTIAC BUICK, LLC   NELSON LONG                        6035 INTERNATIONAL DR                                            CHATTANOOGA        TN 37421‐1617
TROTTERS ENTERPRISES              5479 YOUNGE ST                                                              GILFORD ON L0L 1R0
                                                                                                              CANADA
TROTTI, RUBY B                    468 LAKE TERRACE DR                                                                                 LAKEHILLS         TX 78063‐6365
TROTTIER BEN & MORLENE            915 FEENEY DRIVE                                                                                    ENDERLIN          ND 58027‐9723
TROTTIER JOSEPH M                 3623 CEDAR LAKE RD                                                                                  HOWELL            MI 48843‐5435
TROTTIER, GEMMA                   424 DES OBLATS AVE                                                          QUEBEC QC CANADA G1K‐
                                                                                                              1S4
TROTTIER, GEORGE H                1177 ROMAN DR                                                                                       FLINT             MI   48507‐4060
TROTTIER, GILLES L                113 SONOMA CT                                                                                       CLAYTON           OH   45315
TROTTIER, JOSEPH M                3623 CEDAR LAKE RD                                                                                  HOWELL            MI   48843‐5435
TROTTIER, ROBERT L                3511 LAKEVIEW DR                                                                                    HIGHLAND          MI   48356‐2378
TROTTIER, STEPHEN P               167 BROOK ST                                                                                        FRANKLIN          MA   02038‐1675
TROTTMAN, DAVID C                 128 COLONIAL CIR                                                                                    TONAWANDA         NY   14150‐5207
TROTTO FRANK                      100 RIVER FOREST LN                                                                                 FORT WASHINGTON   MD   20744
TROTTO, DAWN K                    11040 FERNWOOD PATH                                                                                 WASHINGTON        MI   48094‐1513
TROTTO, JACQUELINE                3696 EATON GATE LN                                                                                  AUBURN HILLS      MI   48326‐3892
TROTTO, MICHAEL A                 1677 THOMAS ST                                                                                      PORT HURON        MI   48060‐3364
TROTWOOD PHOTO ENFORCEMENT        PROGRAM PAYMENT CENTER             PO BOX 76732                                                     CLEVELAND         OH   44101‐6500
TROTZ, DONALD F                   1753 NOTTINGHAM                                                                                     HIGHLAND          MI   48356‐2514
TROTZMULLER, ERICH                25075 ANCHORAGE ST                                                                                  HARRISON TWP      MI   48045‐3701
TROUB, JAMES M                    520 W FULTON ST                                                                                     PERRINTON         MI   48871‐5160
TROUB, MERLE A                    411 W ELBA ST                                                                                       PERRINTON         MI   48871‐5129
TROUBA, MICHAEL T                 506 E 107TH TER                                                                                     KANSAS CITY       MO   64131‐4324
TROUBA, THOMAS J                  1539 TIMBERLAKE MANOR PKWY                                                                          CHESTERFIELD      MO   63017‐5584
TROUBLEFIELD SANDRA               1108 BRISTOLWOOD ST                                                                                 BRANDON           FL   33510‐2607
TROUBLEFIELD, CORNELIA            1371 LAMONT ST                                                                                      SAGINAW           MI   48601
TROUBLEFIELD, ELMER               8TH ST JOHNS DRIVE                                                                                  HAMPTON           VA   23666
TROUBLEFIELD, THOMASCINE          2122 FRUEH ST                                                                                       SAGINAW           MI   48601‐4107
TROUILLIER, ERROLL C              2174 NALON DRIVE                                                                                    INDIANAPOLIS      IN   46224
TROUM                             PO BOX 1177                                                                                         BEDFORD           TX   76095‐1177
TROUMBLEY, VIRGINIA L             506 NW OBRIEN RD                                                                                    LEES SUMMIT       MO   64063‐1836
TROUMBLEY, VIRGINIA L             506 O'BRIEN                                                                                         LEES SUMMIT       MO   64063‐1836
TROUNG VI                         11815 LISMORE LAKE DR                                                                               CYPRESS           TX   77429‐7428
TROUP CALVIN GEORGE (357022)      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                                     STREET, SUITE 600
TROUP COUNTY TAX COMMISSIONER     100 RIDLEY AVE                                                                                      LAGRANGE          GA   30240‐2724
TROUP EXPRESS                     PO BOX 2209                                                                                         LAGRANGE          GA   30241‐0045
TROUP JOAN                        10 STABLE RD                                                                                        HUDSON            NH   03051‐5017
TROUP TERRY (499396)              LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                          MIAMI             FL   33143‐5163
TROUP, ARIELIA A                  P.O. BX167, 402 W. FULTON ST                                                                        PERRINTON         MI   48871‐9698
TROUP, CALVIN GEORGE              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                                     STREET, SUITE 600
TROUP, CAROL E                    6204 SILVER LAKES DRIVE EAST                                                                        LAKELAND          FL 33810
TROUP, DORA H                     800 S 15TH ST APT 4214                                                                              SEBRING           OH 44672‐2057
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                          Part 37 of 40 Pg 499 of 901
Name                                Address1                           Address2                        Address3   Address4               City               State Zip
TROUP, DOROTHY M                    1219 51ST AVE E LOT 1                                                                                BRADENTON           FL 34203‐4869
TROUP, GLADYS M                     12337 HIDDEN BROOK DRIVE                                                                             TAMPA               FL 33624‐5739
TROUP, HARRY W                      2410 BETH DR                                                                                         ANDERSON            IN 46017‐9627
TROUP, JACK E                       5109 GREENACRES DR SE                                                                                KENTWOOD            MI 49548‐7614
TROUP, JACK N                       3606 SW 5TH ST                                                                                       CAPE CORAL          FL 33991‐1603
TROUP, JAMES B                      724 52ND AVENUE LN W                                                                                 BRADENTON           FL 34207‐2934
TROUP, JAMES W                      3858 KENMORE RD                                                                                      BERKLEY             MI 48072‐1652
TROUP, KEITH B                      4045 WELCOME ALL TER                                                                                 COLLEGE PARK        GA 30349‐1923
TROUP, LENORA J                     5146 S INDIANA AVE APT 1                                                                             CHICAGO              IL 60615
TROUP, LEONA                        143 BURT ST S E                                                                                      WYOMING             MI 49548‐3233
TROUP, LEONA                        143 BURT ST SE                                                                                       WYOMING             MI 49548‐3233
TROUP, MARJORIE K                   1904 S CROSS LAKES CIR APT F                                                                         ANDERSON            IN 46012‐4944
TROUP, RANDY G                      311 E LYONS ST                                                                                       SWAYZEE             IN 46986
TROUP, ROBERT D                     315 CRESSWOOD ST                                                                                     JOHNSTOWN           PA 15901
TROUP, ROBERT H                     19125 CANTERBURY RD                                                                                  DETROIT             MI 48221‐1806
TROUP, TERRY                        C/O THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD         SUITE 44                          CORAL GABLES        FL 33146
TROUP, TERRY                        LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                           MIAMI               FL 33143‐5163
TROUP, TWILA P                      485 DAKOTA AVE                                                                                       MC DONALD           OH 44437‐1514
TROUPE JR, CHARLES L                6 N MAIN ST                                                                                          SIMS                IN 46986‐9666
TROUPE, BRADLEY S                   10240 HURON ST                                                                                       GOODRICH            MI 48438‐9456
TROUPE, HAROLD D                    1265 STATE ROUTE 314 S                                                                               MANSFIELD           OH 44903‐9307
TROUPE, ROBERT R                    710 KATHERINE AVE APT D                                                                              ASHLAND             OH 44805‐3616
TROUPE, WESLEY J                    6405 SPRINGDALE BLVD                                                                                 GRAND BLANC         MI 48439‐8551
TROUSDALE RAYMOND D (492196)        BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH 44067
                                                                       PROFESSIONAL BLDG
TROUSDALE, BEATRICE                 14 DUNOON CT                                                                                         COLUMBIA           SC   29229‐9293
TROUSDALE, LESLIE E                 7856 CHARBEAU                                                                                        DITTMER            MO   63023‐1300
TROUSDALE, ROBBIE C                 8129 HIGHWAY 43                                                                                      FLORENCE           AL   35634‐4617
TROUSDALE, TOMMY R                  2316 ARDEN DR                                                                                        SARASOTA           FL   34232‐3861
TROUSDALE, TONY L                   10971 HIGHWAY 72                                                                                     ROGERSVILLE        AL   35652‐5911
TROUSE, EARL                        2523 ROBINWOOD AVE                                                                                   SAGINAW            MI   48601‐3928
TROUSER, HERMON                     3602 WORCHESTER DR                                                                                   FLINT              MI   48503‐4564
TROUSER, HURLEY                     905 E FOSS AVE                                                                                       FLINT              MI   48505‐2296
TROUSER, WAVERLY L                  905 E FOSS AVE                                                                                       FLINT              MI   48505
TROUSKIE SR, ROBERT C               546 SHORECLIFF DR                                                                                    ROCHESTER          NY   14612‐3838
TROUT CONRAD (ESTATE OF) (489273)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH   44067
                                                                       PROFESSIONAL BLDG
TROUT DEBORAH                       TROUT, DEBORAH                     30 E BUTLER AVE                                                   AMBLER             PA   19002‐4514
TROUT III, ALBERT E                 34122 SHEARING DR                                                                                    STERLING HEIGHTS   MI   48312‐4976
TROUT III, ALBERT E.C.              34122 SHEARING DR                                                                                    STERLING HEIGHTS   MI   48312‐4976
TROUT JR, CLARENCE L                3603 AIRPORT RD APT 104A                                                                             COLORADO SPRINGS   CO   80910‐2655
TROUT KEN                           2430 WEST 750 NORTH                                                                                  HURRICANE          UT   84737‐3472
TROUT LAKE AUTO                     1725 SEYMOUR ST RR 3                                                          NORTH BAY ON P1B 8G4
                                                                                                                  CANADA
TROUT PAMELA                        2204 SE 3RD ST                                                                                       MOORE              OK   73160‐8136
TROUT STEPHEN                       TROUT, STEPHEN                     109 FRIENDSHIP ROAD                                               DREXEL HILL        PA   19026‐5008
TROUT SUSAN                         TROUT, SUSAN                       1602 GILMER AVE NW                                                ROANOKE            VA   24017‐5536
TROUT TRACY                         TROUT, TRACY                       206 GEMINI WAY                                                    GREER              SC   29651
TROUT, ALICE L                      5112 PEARL ST                                                                                        ANDERSON           IN   46013‐4864
TROUT, ALISHA A                     35252 SHEFFIELD ST                                                                                   WESTLAND           MI   48186‐4456
TROUT, ALISHA ANN                   35252 SHEFFIELD ST                                                                                   WESTLAND           MI   48186‐4456
TROUT, ARLENE A                     3912 OAK VALLEY                                                                                      WYOMING            MI   49519
                       09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 500 of 901
Name                   Address1                         Address2         Address3         Address4         City            State Zip
TROUT, BARBARA A       4230 US HIGHWAY # 45                                                                HARRISBURG        IL 62946
TROUT, CHARLES L       12820 W ASH ST                                                                      EL MIRAGE        AZ 85335
TROUT, CHARLOTT R      3404 GREGORY RD                                                                     ORION            MI 48359‐2012
TROUT, CONNA S         12208 WESTLAKE CIR                                                                  BELLEVILLE       MI 48111‐6134
TROUT, DANNY E         57 COVE CT                                                                          CICERO           IN 46034‐9294
TROUT, DAVID L         1600 W QUIMBY RD                                                                    HASTINGS         MI 49058‐8337
TROUT, ELMER G         1023 KINZER ST                                                                      POPLAR BLUFF     MO 63901‐4805
TROUT, HILTON L        334998 E 970 RD                                                                     WELLSTON         OK 74881‐6113
TROUT, JACQUELYN A     17 SAINT MARTHA CT                                                                  FLORISSANT       MO 63031‐8129
TROUT, JACQUELYN A     17 ST MARTHA COURT                                                                  FLORISSANT       MO 63031‐8129
TROUT, JAMES R         1155 NORTON STREET                                                                  BURTON           MI 48529‐1156
TROUT, JAMES S         20727 E SUPERSTITION DR                                                             QUEEN CREEK      AZ 85242‐9765
TROUT, JAMES W         1122 S REISNER ST                                                                   INDIANAPOLIS     IN 46221‐1116
TROUT, JERRY F         1325 DAVIS ST                                                                       POPLAR BLUFF     MO 63901‐3305
TROUT, JERRY J         8668 W 1600 N                                                                       ELWOOD           IN 46036‐8793
TROUT, JIMMY R         3404 GREGORY RD                                                                     ORION            MI 48359‐2012
TROUT, JOHN E          1457 HERON RIDGE BLVD                                                               GREENWOOD        IN 46143‐7890
TROUT, KATHY S         11492 RAY RD                                                                        GAINES           MI 48436‐8919
TROUT, KATHY SUE       11492 RAY RD                                                                        GAINES           MI 48436‐8919
TROUT, KENNETH D       5133 MELLWOOD DR                                                                    FLINT            MI 48507‐4529
TROUT, KIMBERLY D      11534 WILLET CT N                                                                   JACKSONVILLE     FL 32225‐3516
TROUT, LARRY W         2093 W U.S. 36                                                                      PENDLETON        IN 46064
TROUT, LESLIE ANNE     5054 NORRIS DR                                                                      SWARTZ CREEK     MI 48473‐8211
TROUT, MAHALLEY E      313 REDBUD RD                                                                       EDGEWOOD         MD 21040‐3529
TROUT, MARGARET        2111 WATKINS LAKE RD                                                                PONTIAC          MI 48328‐1435
TROUT, MARILYN         8905 EVERGREEN AVE APT 222                                                          INDIANAPOLIS     IN 46240‐2074
TROUT, MARY            PO BOX 521                                                                          WARREN           IN 46792‐0521
TROUT, MARY            BX 521                                                                              WARREN           IN 46792‐0521
TROUT, MARY E          1616 SECRETARIAT LN                                                                 INDIANAPOLIS     IN 46217‐4829
TROUT, MARY F          PO BOX 151543                                                                       ARLINGTON        TX 76015‐7543
TROUT, MARY F          P.O. BOX 151543                                                                     ARLINGTON        TX 76015‐7543
TROUT, NORMAN D        2111 WATKINS LAKE RD                                                                WATERFORD        MI 48328‐1435
TROUT, PATRICIA        958 E NORTHFIELD AVE                                                                PONTIAC          MI 48340‐1455
TROUT, PATRICIA A      958 E NORTHFIELD AVE                                                                PONTIAC          MI 48340‐1455
TROUT, RICHARD L       11280 RICHFORD DR                                                                   CINCINNATI       OH 45231‐1229
TROUT, ROBERT J        11651 NW 29TH MNR                                                                   SUNRISE          FL 33323‐1648
TROUT, ROBERT L        CREEKSIDE RETIREMENT COMMUNITY   400 GILKEY RD.   APT 104                           BURLINGTON       WA 98233
TROUT, RONALD E        471 E MADISON AVE                                                                   PENDLETON        IN 46064‐1228
TROUT, RONALD J        1341 WENDELL AVE                                                                    YPSILANTI        MI 48198‐3147
TROUT, SAMMY W         15429 WOODCREST DR                                                                  WHITTIER         CA 90604‐3236
TROUT, SHARON J        RT 2, P.O.BOX 338‐A                                                                 ONA              WV 25545
TROUT, SHARON J        RR 2 BOX 338A                                                                       ONA              WV 25545‐9669
TROUT, SHELBY          11206 STATE HIGHWAY 22                                                              DEXTER           MO 63841‐8561
TROUT, STEPHEN         109 FRIENDSHIP RD                                                                   DREXEL HILL      PA 19026‐5008
TROUT, SUSAN           1602 GILMER AVE NW                                                                  ROANOKE          VA 24017‐5536
TROUT, THOMAS E        11206 STATE HIGHWAY 22                                                              DEXTER           MO 63841
TROUT, TODD H          1589 GRAYFRIARS AVE                                                                 HOLT             MI 48842‐2062
TROUT, TODD HUBERT     1589 GRAYFRIARS AVE                                                                 HOLT             MI 48842‐2062
TROUT, TOMMY C         35252 SHEFFIELD ST                                                                  WESTLAND         MI 48186‐4456
TROUT, TOMMY CLAYTON   35252 SHEFFIELD ST                                                                  WESTLAND         MI 48186‐4456
TROUT, TRACY           206 GEMINI WAY                                                                      GREER            SC 29651‐6114
TROUT, VERNON R        1529 CAVE MILL RD                                                                   BOWLING GREEN    KY 42104‐4446
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                   Exhibit B
                                                                        Part 37 of 40 Pg 501 of 901
Name                                 Address1                            Address2                        Address3                     Address4                 City             State Zip
TROUT, VICTOR K                      15311 ARMSTRONG STREET                                                                                                    OMAHA             NE 68116‐8499
TROUTEN, DOUGLAS J                   410 S DAVISON ST                                                                                                          DAVISON           MI 48423‐1602
TROUTEN, RONALD G                    PO BOX 319                                                                                                                NEW BOSTON        MI 48164‐0319
TROUTEN, ROSS S                      4326 APACHE DR                                                                                                            BURTON            MI 48509‐1414
TROUTEN, ROSS SCOTT                  4326 APACHE DR                                                                                                            BURTON            MI 48509‐1414
TROUTMAN JR, EDDIE                   27 VAN GORDER ST                                                                                                          BUFFALO           NY 14214‐2818
TROUTMAN JR, WILLIAM F               1470 MELANIE WAY                                                                                                          LIVERMORE         CA 94550‐0801
TROUTMAN SANDERS LLP                 1660 INTERNATIONAL DR STE 600                                                                                             MCLEAN            VA 22102‐4877
TROUTMAN SANDERS LLP                 ATTY FOR ALLIED AUTOMOTIVE GROUP,   AND TRANSPORT SUPPORT LLC       ATT: JEFFREY W. KELLEY, ESQ. 600 PEACHTREE STREET, NE ATLANTA           GA 30308
                                     INC, ALLIED SYSTEMS, LTD (L.P.)                                                                  SUITE 5200

TROUTMAN SANDERS PUBLIC AFFAIRS      600 PEACHTREE ST NE STE 5200                                                                                            ATLANTA            GA 30308‐2231
GROUP LLC
TROUTMAN SANDERS PUBLIC AFFAIRS      PETER ROBINSON                      600 PEACHTREE ST NE STE 5200    BANK OF AMERICA PLAZA                               ATLANTA            GA 30308‐2216
GROUP, LLC
TROUTMAN TRINA (448321)              BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                                       NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
TROUTMAN'S CHEVROLET BUICK PONTIAC 640 STATE ST                                                                                                              MILLERSBURG        PA 17061‐1462

TROUTMAN'S CHEVROLET BUICK PONTIAC   640 STATE ST                                                                                                            MILLERSBURG        PA 17061‐1462
GMC
TROUTMAN, AMILEE                     3009 FOREST HILL AVE                                                                                                    FLINT              MI   48504‐2651
TROUTMAN, AMY R                      1002 S LAKE DR                                                                                                          SYRACUSE           IN   46567‐8484
TROUTMAN, BETTY Y                    22908 CIELO VIS                                                                                                         SAN ANTONIO        TX   78255‐9540
TROUTMAN, BRIAN S                    331 TRUMAN ST                                                                                                           KENT CITY          MI   49330‐9602
TROUTMAN, CHRISTOPHER E              9927 GLEN LN                                                                                                            BETHANY            LA   71007‐9594
TROUTMAN, CLYDE                      3443 SWEENEY HOLLOW RD                                                                                                  FRANKLIN           TN   37064‐9507
TROUTMAN, CONNIE                     1902 LAVACA ST                                                                                                          FRIENDSWOOD        TX   77546
TROUTMAN, CONNIE L                   111 MOUND ST                                                                                                            BROOKVILLE         OH   45309‐1309
TROUTMAN, DANIEL                     1507 17TH AVE N                                                                                                         TEXAS CITY         TX   77590‐5337
TROUTMAN, DIANA J                    394 TEAKWOOD DR                                                                                                         ELLENTON           FL   34222
TROUTMAN, DOYLE W                    25521 MCINTYRE RD                                                                                                       MC LOUTH           KS   66054‐3155
TROUTMAN, EDDIE T                    36 DARTMOUTH AVE                                                                                                        BUFFALO            NY   14215‐1002
TROUTMAN, FREDDIE J                  720 E 60TH ST                                                                                                           ANDERSON           IN   46013‐3412
TROUTMAN, GARY D                     3636 N CAMPBELL AVE APT 4111                                                                                            TUCSON             AZ   85719‐1547
TROUTMAN, JAMES L                    PO BOX 715                                                                                                              LAPEL              IN   46051‐0715
TROUTMAN, JANIE                      27 VAN GORDER ST                                                                                                        BUFFALO            NY   14214‐2818
TROUTMAN, JEREMIAH F                 2011 TRIO DR                                                                                                            WENTZVILLE         MO   63385‐2666
TROUTMAN, KENNETH E                  270 DEHOFF DR                                                                                                           AUSTINTOWN         OH   44515‐3909
TROUTMAN, KIRK S                     40237 VINCENZIA DR                                                                                                      CLINTON TWP        MI   48038‐4085
TROUTMAN, LOUIS M                    276 WARREN AVE                                                                                                          KENMORE            NY   14217‐2821
TROUTMAN, MICHELEEN M                6632 CRONIN DR                                                                                                          DEARBORN HEIGHTS   MI   48127‐1953
TROUTMAN, PAUL C SR                  GLASSER AND GLASSER                 CROWN CENTER                    580 EAST MAIN STREET SUITE                          NORFOLK            VA   23510
                                                                                                         600
TROUTMAN, RICHARD B                  3102 AMSTED LANE                                                                                                        DAYTON             OH   45424‐5058
TROUTMAN, RICHARD B                  3102 AMSTED LN                                                                                                          DAYTON             OH   45424‐5058
TROUTMAN, ROBERT C                   1266 E ROSE CENTER RD                                                                                                   HOLLY              MI   48442‐8643
TROUTMAN, ROBERT F                   3437 JERROLD BLVD                                                                                                       BRUNSWICK          OH   44212‐2225
TROUTMAN, ROGER L                    10320 BRUNSWICK CIR                                                                                                     BLOOMINGTON        MN   55438‐1862
TROUTMAN, SAMUEL                     1507 17TH AVE N                                                                                                         TEXAS CITY         TX   77590‐5337
TROUTMAN, STEVE A                    1207 TOWER DR                                                                                                           DANVILLE           PA   17821‐9140
TROUTMAN, SYLVESTER                  6433 KELSEY DR                                                                                                          INDIANAPOLIS       IN   46268‐5073
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                        Part 37 of 40 Pg 502 of 901
Name                                  Address1                       Address2            Address3         Address4         City            State Zip
TROUTMAN, TAMMIE D                    9927 GLEN LN                                                                         BETHANY          LA 71007‐9594
TROUTMAN, THELMA R                    106 BUTTERCUP DR                                                                     HAGERSTOWN       MD 21740‐3010
TROUTMAN, TONY                        200 WYNNWOOD AVE                                                                     TONAWANDA        NY 14150‐8430
TROUTNER JR, ALBERT M                 3417 SCHULTZ ST                                                                      LANSING          MI 48906‐3245
TROUTNER LOREN (ESTATE OF) (639113)   GOLDENBERG, MILLER, HELLER &   PO BOX 959                                            EDWARDSVILLE      IL 62025‐0959
                                      ANTOGNOLI
TROUTNER, KAREN L                     3417 SCHULTZ ST                                                                      LANSING          MI   48906‐3245
TROUTNER, LAFE R                      7410 E NYE HWY                                                                       EATON RAPIDS     MI   48827‐9067
TROUTNER, LEON C                      11420 ONONDAGA RD                                                                    ONONDAGA         MI   49264‐9606
TROUTNER, LOREN                       GOLDENBERG, MILLER, HELLER &   PO BOX 959                                            EDWARDSVILLE     IL   62025‐0959
                                      ANTOGNOLI
TROUTNER, LORRAINE M                  11420 ONONDAGA RD                                                                    ONONDAGA        MI    49264
TROUTNER, RICHARD A                   229 E OAK ST PO BX 5                                                                 ELSIE           MI    48831‐0005
TROUTNER, RICHARD A                   PO BOX 5                                                                             ELSIE           MI    48831‐0005
TROUTNER, SALLY R                     6705 S ROYSTON RD                                                                    EATON RAPIDS    MI    48827‐9555
TROUTNER, THEODORE S                  26701 REDWOOD DR                                                                     OLMSTED FALLS   OH    44138‐2563
TROUTT, DONNA                         3689 JIM WARREN RD                                                                   SPRING HILL     TN    37174‐2823
TROUTT, EUNICE M                      115 TIMBER RIDGE DR                                                                  CARLISLE        OH    45005‐7311
TROUTT, IRENE                         2010 29TH AVENUE DR NE         C/O SPRING ARBOR                                      HICKORY         NC    28601‐7517
TROUTT, JEFFERY S                     8958 N 700 W                                                                         FOUNTAINTOWN    IN    46130‐9746
TROUTT, JERRY L                       11212 MORRISH RD                                                                     MONTROSE        MI    48457‐9140
TROUTT, JERRY LEE                     11212 MORRISH RD                                                                     MONTROSE        MI    48457‐9140
TROUTT, LEONARD H                     5425 WESTCHESTER DR                                                                  FLINT           MI    48532‐4054
TROUTT, RANDALL L                     11225 E POTTER RD                                                                    DAVISON         MI    48423‐8155
TROUTT, SHARON L                      16838 N BOSWELL BLVD                                                                 SUN CITY        AZ    85351‐1270
TROUTT, STEPHEN W                     3185 COPE DR                                                                         OWOSSO          MI    48867‐9362
TROUTT, STEPHEN WAYNE                 3185 COPE DR                                                                         OWOSSO          MI    48867‐9362
TROUTT,DONNA                          3689 JIM WARREN RD                                                                   SPRING HILL     TN    37174‐2823
TROUTVINE I I I, FRANK E              1674 DEVONSHIRE DR                                                                   BRUNSWICK       OH    44212‐3638
TROUTVINE III, FRANK E                1674 DEVONSHIRE DR                                                                   BRUNSWICK       OH    44212‐3638
TROUTWINE AUTO SALES, INC.            JAMES TROUTWINE                9 N MAIN ST                                           ARCANUM         OH    45304‐1300
TROUTWINE AUTO SALES, INC.            9 N MAIN ST                                                                          ARCANUM         OH    45304‐1300
TROUTWINE, DORA B                     65 ELMWOOD DRIVE                                                                     SPRINGBORO      OH    45066‐1405
TROVAO, FRANCISCO M                   376 N 13TH ST                                                                        SAN JOSE        CA    95112‐1832
TROVATO KAY                           1100 BELCHER RD S LOT 261                                                            LARGO           FL    33771‐3423
TROVATO, BRAVO P                      4157 MEYERS RD                                                                       WATERFORD       MI    48329‐1948
TROVATO, FRANK W                      4700 SAINT PAUL BLVD                                                                 ROCHESTER       NY    14617‐1849
TROVATO, JANINE M                     464 HARWICK RD                                                                       ROCHESTER       NY    14609‐4425
TROVATO, JOHN                         2213 AMBERLEY WOODS TER                                                              HELENA          AL    35080‐3820
TROVATO, PAUL S                       111 PARLIAMENT CIR                                                                   ROCHESTER       NY    14616‐1678
TROVATO, WILLIAM C                    1240 WEILAND RD                                                                      ROCHESTER       NY    14626‐3951
TROVER SOLUTIONS INC                  1930 BISHOP LN STE 14B         PO BOX 37440                                          LOUISVILLE      KY    40218
TROVER, PAUL D                        2381 W 100 N                                                                         DANA            IN    47847‐8054
TROVILLION, BRET W                    9195 RAY RD                                                                          GAINES          MI    48436‐9717
TROVILLION, BRET WAYNE                9195 RAY RD                                                                          GAINES          MI    48436‐9717
TROVILLION, DWAYNE V                  10271 TORREY RD                                                                      FENTON          MI    48430‐9711
TROVILLION, HANNAH J                  1849 SPRING AVE                                                                      LAKE            MI    48632‐9280
TROVILLION, MARJORIE E                17550 OLD LOGGING RD                                                                 HERSEY          MI    49639‐9656
TROVILLION, SUSAN M                   10271 TORREY RD                                                                      FENTON          MI    48430‐9711
TROVILLO, DENNIS J                    13159 CLEAR RIDGE ROAD                                                               KNOXVILLE       TN    37922‐5358
TROVINGER, EIKO                       25585 VAN LEUVEN ST APT 206                                                          LOMA LINDA      CA    92354‐2451
TROVINGER, WILLIAM R                  8611 OAK RD                                                                          BALTIMORE       MD    21219‐2317
                             09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                              Part 37 of 40 Pg 503 of 901
Name                         Address1                      Address2            Address3         Address4         City                  State Zip
TROW, JUDITH H               15321 E KENTUCKY RD                                                                 INDEPENDENCE           MO 64050‐1433
TROW, LINDA J
TROWBRIDGE GAILA             472 WESTHILLS DR                                                                    HENDERSON             NC   27537‐8526
TROWBRIDGE KENNARD           162 SAINT CLAIR DR                                                                  SAINT SIMONS ISLAND   GA   31522‐1041
TROWBRIDGE, BRUCE D          294 SAVONA AVE                                                                      GOLETA                CA   93117‐1202
TROWBRIDGE, CAROL A          2398 HARMONY DR                                                                     BURTON                MI   48509‐1164
TROWBRIDGE, CLIFFORD A       4221 E NORTH POINT RD                                                               MARTINSVILLE          IN   46151‐6192
TROWBRIDGE, DALE K           1849 AURELIUS RD                                                                    HOLT                  MI   48842‐1641
TROWBRIDGE, DAVID L          210 STONE AVE APT 66                                                                PARIS                 TX   75460‐9448
TROWBRIDGE, DAVID L          2956 HERITAGE OAK WAY                                                               LODI                  CA   95242‐2057
TROWBRIDGE, DONALD C         2885 TOURNAMENT DR                                                                  GREENWOOD             IN   46143‐9300
TROWBRIDGE, ELTON R          20217 13 MILE RD                                                                    COPEMISH              MI   49625‐9761
TROWBRIDGE, GARY M           3331 COURTLAND BLVD                                                                 DELTONA               FL   32738‐1344
TROWBRIDGE, GLENN B          4459 STOW RD                                                                        STOW                  OH   44224‐1844
TROWBRIDGE, HELEN            1301 ELEMPARK 2                                                                     MITCHELL              IN   47446‐1600
TROWBRIDGE, IRENE M          9724 ROUND LAKE RD                                                                  VERMONTVILLE          MI   49096‐9753
TROWBRIDGE, JAMIE E          207 WASHINGTON ST                                                                   DIMONDALE             MI   48821‐9799
TROWBRIDGE, JANE             3615 WOODALE RD                                                                     INDIANAPOLIS          IN   46234‐1454
TROWBRIDGE, JOSEPH P         14936 FORESTVIEW CIR                                                                BONNER SPRINGS        KS   66012‐7395
TROWBRIDGE, LENDAL D         105 MOUNT VERNON PL                                                                 WALBRIDGE             OH   43465‐1446
TROWBRIDGE, LEWIS A          9724 ROUND LAKE RD                                                                  VERMONTVILLE          MI   49096‐9753
TROWBRIDGE, MICHAEL E        640 DUSHANE DR                                                                      BELLEFONTAINE         OH   43311‐2906
TROWBRIDGE, ROY P            125 HEATHER TERRACE           APT 217                                               APTOS                 CA   95003
TROWBRIDGE, SAMUEL W         184 BUNCH RD                                                                        CAVE CITY             KY   42127‐8922
TROWBRIDGE, STEVEN M         1045 POTEET RD                                                                      LEWISBURG             TN   37091‐5239
TROWBRIDGE, STEVEN M         1110 S HIGHWAY 80 TRLR 3                                                            BENSON                AZ   85602‐7059
TROWBRIDGE, THOMAS M         626 GETTYSBURG                                                                      COATESVILLE           IN   46121‐8960
TROWBRIDGE, TODD G           3011 W KALAMO HWY                                                                   CHARLOTTE             MI   48813‐9538
TROWBRIDGE, VICKI J          2414 BROWNING ST                                                                    MIDDLETOWN            OH   45042‐2702
TROWBRIDGE, WALTER L         2789 N COUNTY ROAD 1300 W                                                           NORMAN                IN   47264‐9451
TROWEL & TURNER AUTOMOTIVE   8603 HARRY HINES BLVD                                                               DALLAS                TX   75235‐3014
TROWER EARNEST               22 GAZELLE PL                                                                       NEW CASTLE            DE   19720‐8718
TROWER, DOROTHY N            14390 E MARINA DR #408                                                              AURORA                CO   80014‐5528
TROWER, JOHN L               291 GUNTER ROAD                                                                     CANTON                MS   39046‐4847
TROWER, JOHN W               510 LIAS WAY                                                                        WENTZVILLE            MO   63385‐3187
TROWER, JOHN W               21303 PARK HOLLY COURT                                                              KATY                  TX   77450‐3187
TROWER, MARGARET J           58 EDGEMONT LN                                                                      WILLINGBORO           NJ   08046‐2229
TROWER, TINISHA              2718 TITAN ST                                                                       PHILADELPHIA          PA   19146‐3721
TROWMAN, BARRY               206 GROSBECK ST                                                                     VANDALIA              OH   45377‐1919
TROWSSE, MICHAEL S           3801 WATERFORD WAY                                                                  ANTIOCH               TN   37013‐2576
TROXEL COMMUNICATIONS INC    4830 S 38TH ST                                                                      PHOENIX               AZ   85040‐2909
TROXEL, DOLORES L.           1000 MAY ST                                                                         DANVILLE              IL   61832‐3239
TROXEL, JEFFREY L            N67W14722 ASH DR                                                                    MENOMONEE FLS         WI   53051‐0926
TROXEL, RICHARD E            35 DAISY LN                                                                         BELTON                MO   64012‐2147
TROXEL, ROBERT E             6301 59TH ST                                                                        PINELLAS PARK         FL   33781
TROXEL, ROSE D               10593 PLAINFIELD RD                                                                 SHARONVILLE           OH   45241‐2905
TROXEL, WALTER D             5 PARKTOWN DR                                                                       GRANITE CITY          IL   62040‐1835
TROXEL, WALTER DOUGLAS       5 PARKTOWN DR                                                                       GRANITE CITY          IL   62040‐1835
TROXEL‐IDE, KAREN M          1074 W LAKE VALLEY CT                                                               HERNANDO              FL   34442‐6213
TROXELL, CHARLES B           PO BOX 94                                                                           MIDDLETOWN            IN   47356‐0094
TROXELL, DEBRA R             1880 HAMILTON NEW LONDON RD                                                         HAMILTON              OH   45013‐9461
TROXELL, DON R               226 N BIRNEY ST                                                                     BAY CITY              MI   48708‐6636
                          09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                             Part 37 of 40 Pg 504 of 901
Name                      Address1                        Address2            Address3         Address4         City                State Zip
TROXELL, EARL R           2316 SE 31ST ST                                                                       OKEECHOBEE           FL 34974‐6759
TROXELL, EMMET F          1319 Q AVENUE                                                                         NEW CASTLE           IN 47362‐1934
TROXELL, EMMET F          1319 Q AVE                                                                            NEW CASTLE           IN 47362‐1934
TROXELL, ESTHER E         4969 PARRISH RD RT #1                                                                 MIDLAND              MI 48642‐9782
TROXELL, FRED L           315 E MARSHALL ST                                                                     MARION               IN 46952‐2802
TROXELL, JAMES L          2368 CEDARVILLE RD                                                                    GOSHEN               OH 45122‐9426
TROXELL, JAMES W          2217 RIDGE WAY                                                                        SHELBYVILLE          KY 40065‐8975
TROXELL, KEITH A          7332 S WOODROW DR                                                                     PENDLETON            IN 46064‐9102
TROXELL, KEITH ALAN       7332 S WOODROW DR                                                                     PENDLETON            IN 46064‐9102
TROXELL, KERMITT N        1187 E GILMORE RD                                                                     MARKLEVILLE          IN 46056‐9778
TROXELL, LAMOINE E        PO BOX 27                                                                             NEW WAVERLY          IN 46961‐0027
TROXELL, LAWRENCE E       219 NARCISSUS DR                                                                      INDIANAPOLIS         IN 46227‐2644
TROXELL, MARY R           7013 GREENLEE ST.                                                                     FORT WORTH           TX 76112‐5603
TROXELL, MILDRED H        2316 SE 31ST ST                                                                       OKEECHOBEE           FL 34974‐6759
TROXELL, MILTON H         3718 SHERWOOD ST                                                                      SAGINAW              MI 48603‐2092
TROXELL, NANCY L          2217 RIDGE WAY                                                                        SHELBYVILLE          KY 40065‐8975
TROXELL, RICHARD
TROXELL, RICHARD K        14195 S DIXIE HWY                                                                     MONROE              MI   48161‐9537
TROXELL, STEVE L          PO BOX 47                                                                             NEW WAVERLY         IN   46961‐0047
TROXELL, TERRY G          3200 W SUNBLEST DR                                                                    MUNCIE              IN   47302‐8822
TROXELL, THOMAS A         G4399 CENTER RD                                                                       FLINT               MI   48506
TROXELL, W E              2760 SW TIMBERLAKE RD                                                                 DUNNELLON           FL   34431‐3286
TROXELLLL, AIDA           17024 SLEEPY HOLLOW                                                                   HOLLY               MI   48442‐8850
TROXLER, REBA H           10727 S C RD 300 E                                                                    MUNCIE              IN   47302
TROXTELL, JACKIE L.       1041 CHURCHMAN                                                                        INDIANAPOLIS        IN   46203‐1405
TROY
TROY (CITY OF )           DRAWER #0103                    PO BOX 33321                                          DETROIT             MI   48232‐5321
TROY (CITY OF )           PO BOX 103                      PO BOX 33321                                          DETROIT             MI   48231‐0103
TROY (CITY OF ) MI        DRAWER #0103                    PO BOX 33321                                          DETROIT             MI   48232‐5321
TROY A BRAUNSCHEIDEL      762 DORWOOD PARK                                                                      RANSOMVILLE         NY   14131‐9672
TROY A BULL               2100 W COMMONWEALTH #2143                                                             FULLERTON           CA   92833‐3019
TROY A DYE                15921 COMMON RD                                                                       ROSEVILLE           MI   48066‐1811
TROY A FLEISZIG           533 CIDER MILL WAY                                                                    TIPP CITY           OH   45371‐2493
TROY A SCHNEIDER          262 PARKEDGE AVE                                                                      TONAWANDA           NY   14150‐7821
TROY A STOKES             4603 OWENS DR                                                                         DAYTON              OH   45406‐1342
TROY A WOMBOLD            4716 ST. RT. 49 S.‐BOX 150                                                            GREENVILLE          OH   45331‐9706
TROY A. BREKER            345 S 9TH AVE                                                                         POCATELLO           ID   83201‐5350
TROY ALEXANDER            3575 GREENFIELD RD                                                                    DEARBORN            MI   48120‐1217
TROY ALEXANDER            PO BOX 100                                                                            SPRING HILL         TN   37174‐0100
TROY ALEXANDER JR         9455 SKY VISTA PKWY APT 2D                                                            RENO                NV   89506‐2027
TROY ALICE                16485 EL HITO PL                                                                      PACIFIC PALISADES   CA   90272‐2339
TROY ALICE ESTATE OF      40 WOODLAND ST                                                                        BRISTOL             CT   06010‐5151
TROY ANDRITSCH            1004 N WALNUT ST                                                                      NORTH MANCHESTER    IN   46962‐1159
TROY ARGERSINGER          5510 GREEN RD                                                                         SAINT JOHNS         MI   48879‐9137
TROY ATHENS HIGH SCHOOL   4333 JOHN R RD                                                                        TROY                MI   48085‐3681
TROY AUTO BODY/TROY       PO BOX 672                                                                            LEONARD             MI   48367‐0672
TROY AUTO GLASS/TROY      1700 W MAPLE RD                                                                       TROY                MI   48084‐7126
TROY BAASE                623 N PORTER ST                                                                       SAGINAW             MI   48602‐4555
TROY BAKER                4060 RIDGETOP DR                                                                      BELLBROOK           OH   45305‐1636
TROY BAKER                PO BOX 100                                                                            HILLSBORO           MO   63050‐0100
TROY BAKER                34 JANET AVE                                                                          CARLISLE            OH   45005‐5805
TROY BARDY                1357 CORVIDAE ST                                                                      CARLSBAD            CA   92011‐4850
                            09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                 Part 37 of 40 Pg 505 of 901
Name                        Address1                          Address2                         Address3   Address4                City             State Zip
TROY BARNARD                731 KAPPES ST                                                                                         INDIANAPOLIS      IN 46221‐1141
TROY BAUGHMAN               5393 REID RD                                                                                          SWARTZ CREEK      MI 48473‐9475
TROY BEASLEY                3607 LYNN STREET                                                                                      FLINT             MI 48503‐4588
TROY BERRY                  14508 KINGSFORD AVE                                                                                   CLEVELAND         OH 44128‐1072
TROY BILLINGS               1120 BALDWIN DR                                                                                       BOWLING GREEN     KY 42104‐3045
TROY BOSLEY                 7040 BURLINGAME ST                                                                                    DETROIT           MI 48204‐1262
TROY BRADLEY                925 W INDIANOLA AVE                                                                                   YOUNGSTOWN        OH 44511‐2310
TROY BRAUNSCHEIDEL          762 DORWOOD PARK                                                                                      RANSOMVILLE       NY 14131‐9672
TROY BROWN                  8347 PARKSIDE DR                                                                                      GRAND BLANC       MI 48439‐7436
TROY BROWN                  6874 GLASGOW RD                                                                                       SMITHS GROVE      KY 42171‐9401
TROY BROWNING               3926 W CO RD 250 S                                                                                    KOKOMO            IN 46902
TROY BURFORD                3033 BARDIN RD APT 714                                                                                GRAND PRAIRIE     TX 75052‐3869
TROY BURKE SR               2708 WOODED ACRES DR                                                                                  ARLINGTON         TX 76016‐1715
TROY BURTON                 2927 CHASE ST                                                                                         TOLEDO            OH 43611‐3316
TROY BUTLER                 1680 IOWA AVE                                                                                         SAGINAW           MI 48601‐5256
TROY BUTLER                 7220 OLD STATE ROUTE 224                                                                              OTTAWA            OH 45875‐9767
TROY C GRAVES               C/O WEITZ & LUXENBERG PC          700 BROADWAY                                                        NEW YORK CITY     NY 10003
TROY C LANGE                9635 BAYVIEW DR APT 307                                                                               YPSILANTI         MI 48197‐7030
TROY CAB CO                 2136 BURDIC DR                    P O BOX 34                                                          TROY              MI 48085‐1026
TROY CALLENDER              1113 AVENUE D ST                                                                                      GREENCASTLE       IN 46135‐1839
TROY CAMPBELL               4225 MILLER RD STE 9                                                                                  FLINT             MI 48507‐1257
TROY CAPLING                11950 W TOWNSEND RD                                                                                   FOWLER            MI 48835‐9768
TROY CARLTON                746 BRENTWOOD AVE                                                                                     YOUNGSTOWN        OH 44511‐1447
TROY CARPENTER              10364 BARON DR                                                                                        SAINT LOUIS       MO 63136‐5922
TROY CHAMBER OF COMM        4555 INVESTMENT DR STE 300                                                                            TROY              MI 48098‐6338
TROY CHAMBERS               3310 DOG BRANCH RD                                                                                    PROSPECT          TN 38477‐6503
TROY CHARBENEAU             3029 CLARKE DR                                                                                        VIRGINIA BEACH    VA 23456‐7919
TROY CHEENEY                2474 STONEFIELD LN                                                                                    JANESVILLE        WI 53546‐4338
TROY CHEMICAL CO INC        GRAY PRODUCTS                     242 APPLEWOOD CRESCENT UNIT 14              CONCORD CANADA ON L4K
                                                                                                          4E5 CANADA
TROY CHEMICAL COMPANY LTD
TROY CLARKE                 3750 LAKECREST DR                                                                                     BLOOMFIELD       MI 48304‐3037
TROY CLAWSON
TROY CLUTTER                1176 W A ST                                                                                           MASURY           OH   44438‐9753
TROY COLE                   877 CONCORD AVE                                                                                       MANSFIELD        OH   44906‐1971
TROY COLEY                  2054 OBRIEN RD                                                                                        MOUNT MORRIS     MI   48458‐2638
TROY COMBS                  1937 MILTON ST                                                                                        INDIAN SPRINGS   OH   45015‐1242
TROY COMISKEY               PO BOX 9022                                                                                           WARREN           MI   48090‐9022
TROY CONLEY                 107 OAKLEAF ST                                                                                        MCLOUD           OK   74851‐7902
TROY CONTAINER LINE LTD     27 WEST ST                                                                                            RED BANK         NJ   07701
TROY CONTINUING EDUCATION   201 W SQUARE LAKE RD                                                                                  TROY             MI   48098‐2931
TROY CRABTREE               8001 BLUE RIDGE BLVD                                                                                  RAYTOWN          MO   64138‐1308
TROY CREED                  1715 WINDSOR ST                                                                                       LANSING          MI   48906‐2878
TROY CROWDER                270 WINDMILL LN                                                                                       GEORGETOWN       TN   37336‐6645
TROY CUMMINS                PO BOX 158                                                                                            NEW MELLE        MO   63365‐0158
TROY CURRY                  1217 HOOP ROAD                                                                                        XENIA            OH   45385‐9678
TROY CYCYK                  12 DOOLIN BAY DR                                                                                      BEAR             DE   19701‐6370
TROY D BRAY                 1120 SO YELLOW SPRINGS                                                                                SPRINGFIELD      OH   45506‐2508
TROY D GRAHAM               1535 CORY DRIVE                                                                                       DAYTON           OH   45406‐5914
TROY D ORNDORFF             133 TUTTLE RD                                                                                         SPRINGFIELD      OH   45503
TROY D STANDOKES            218 E MARENGO AVE                                                                                     FLINT            MI   48505‐3300
TROY D YOUNG                1370 HIDDEN VALLEY LANE                                                                               MITCHELL         IN   47446
                                   09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                     Part 37 of 40 Pg 506 of 901
Name                               Address1                           Address2                        Address3               Address4         City             State Zip
TROY DELOZIER
TROY DENNEY                        1451 W STATE HYW 46                                                                                        SPENCER          IN    47460
TROY DERHODES                      932 BROOKDALE AVE                                                                                          EAST PALESTINE   OH    44413‐1081
TROY DERRYBERRY                    1001 SNELL RD                                                                                              LEWISBURG        TN    37091‐6935
TROY DES/LANSING                   3215 PENNSYLVANIA                                                                                          LANSING          MI    48910
TROY DESIGN & MANUFACTURING CO &   JOSE J BARTOLOMEI                  MILLER CANFIELD ATTY AND AGENTS 101 N MAIN ST 7TH FL                    ANN ARBOR        MI    48104
ITS SUBSIDIARIES AND AFFILIATES                                       FOR TROY DESIGN &
                                                                      MANUFACTURING CO
TROY DESIGN INC                    1900 N SAGINAW ST                                                                                          FLINT             MI 48505‐4768
TROY DESIGN INC
TROY DESIGN SERVICES CO            ATTN KATHY SCOTT                   2653 INDUSTRIAL ROW DR          REINSTATE ON 1 5 99                     TROY              MI 48084‐7038
TROY DESIGN‐INC ‐ ASGMT ‐ EDS      NO ADVERSE PARTY
TROY DESIGN/FLINT                  1900 N SAGINAW ST                                                                                          FLINT            MI    48505‐4768
TROY DESIGN/TROY                   2653 INDUSTRIAL ROW DR                                                                                     TROY             MI    48084‐7038
TROY DEVILLA WILLARD               EDWARD O MOODY PA                  801 WEST 4TH STREET                                                     LITTLE ROCK      AR    72201
TROY DIXON                         1511 SURRY PLACE DR                                                                                        CLEBURNE         TX    76033‐6510
TROY DODD                          1519 NEW YORK AVE                                                                                          LINCOLN PARK     MI    48146‐3817
TROY DUTCHER                       15630 CEDAR ST                                                                                             BASEHOR          KS    66007‐9751
TROY DYE                           15921 COMMON RD                                                                                            ROSEVILLE        MI    48066‐1811
TROY E BALINT                      2250 W RIVER RD                                                                                            NEWTON FALLS     OH    44444‐9402
TROY EASTERLING                    1104 WYNNCREST LN APT 4105                                                                                 ARLINGTON        TX    76006‐7013
TROY ECKLES                        3920 HAMILTON‐MASON ROA                                                                                    HAMILTON         OH    45011
TROY EDWARDS                       1228 COUNTY ROAD 115                                                                                       BLUE MOUNTAIN    MS    38610‐9622
TROY F WRIGHT                      8167 MORRISH RD                                                                                            FLUSHING         MI    48433‐8862
TROY FARMER                        7607 BRISTOL LN UNIT B                                                                                     HANOVER PARK     IL    60133‐2571
TROY FARMER SR                     7607 BRISTOL LN UNIT C                                                                                     HANOVER PARK     IL    60133‐2571
TROY FERRELL JR                    4112 CANNERY RD                                                                                            LANCASTER        SC    29720‐7932
TROY FISHER                        9741 DELMAR ST                                                                                             DETROIT          MI    48211‐1015
TROY FLYNN I I I                   9139 SWAFFER RD                                                                                            VASSAR           MI    48768‐9627
TROY FORD/TROY                     777 JOHN R RD                                                                                              TROY             MI    48083‐4302
TROY G BEASLEY                     RT. 3, BOX 113‐K                                                                                           MONTICELLO       MS    39654
TROY GILBERT                       7114 SMITHS GROVE SCOTTSVILLE RD                                                                           SMITHS GROVE     KY    42171‐9434
TROY GLADDEN                       RR 1 BOX 188                                                                                               AGRA             OK    74824‐9749
TROY GOSS                          2491 WIEMAN RD                                                                                             BEAVERTON        MI    48612‐9454
TROY GOULD                         1109 BALDWIN RD                                                                                            LAPEER           MI    48446‐3011
TROY GRANT                         87 HEMPSTEAD DR                    ESTATES OF FARMINGTON                                                   NEWARK           DE    19702‐7713
TROY GRANT                         15332 TWP RD 149                                                                                           DEFIANCE         OH    43512
TROY GRAY                          425 KONGONI DR                                                                                             PONTIAC          MI    48341‐1085
TROY GRIFFIN                       219 SOUTHSHORE LN                                                                                          DALLAS           GA    30157‐4108
TROY GROGAN                        42403 D HARTE CT                                                                                           CLINTON TWP      MI    48038
TROY GWIN                          THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                             HOUSTON          TX    77017
TROY GWINN                         PO BOX 483                                                                                                 SHADY SPRING     WV    25918‐0483
TROY H LAZORE                      PO BOX 954                                                                                                 HOGANSBURG       NY    13655
TROY HAGER                         520 LAKELLY RD.                                                                                            WILMINGTON       OH    45177
TROY HAGGERTY                      2600 SAN LEANDRO BLVD APT 806                                                                              SAN LEANDRO      CA    94578‐5027
TROY HALL                          27317 COUNTY ROAD 424                                                                                      DEFIANCE         OH    43512‐9014
TROY HAMILTON                      5813 STATE ROUTE 13                                                                                        BELLVILLE        OH    44813‐9057
TROY HAMPTON                       4223 ROSE MARIE RD                                                                                         FRANKLIN         OH    45005‐4850
TROY HANNAH                        PO BOX 3021                                                                                                SOUTHFIELD       MI    48037‐3021
TROY HARRIS                        3075 LANTANA CT SE                                                                                         KENTWOOD         MI    49512‐5373
TROY HARRIS                        NOT AVAILABLE
TROY HART                          326 KENLEE CIR APT 2                                                                                       BOWLING GREEN     KY   42101‐7271
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                        Part 37 of 40 Pg 507 of 901
Name                                Address1                         Address2                      Address3                     Address4         City                  State Zip
TROY HAUGHTON                       16159 W RIDGE RD                                                                                             OAKLEY                 MI 48649‐9742
TROY HELTON                         10806 LOS SANTOS DR                                                                                          PORT RICHEY            FL 34668‐2727
TROY HEMRIC                         145 COUNTY ROAD 16                                                                                           FLORENCE               AL 35633‐2530
TROY HENDLEY                        1652 LASEA RD                                                                                                SPRING HILL            TN 37174‐2560
TROY HENIGE                         7067 OLDE FARM TRL                                                                                           ALMONT                 MI 48003‐8340
TROY HENIGE                         1659 CAMBRIDGE RD                                                                                            BERKLEY                MI 48072‐1956
TROY HENKE                          5465 TAYLOR LN                                                                                               CLARKSTON              MI 48346‐1748
TROY HIGHSMITH                      19457 AUBURNDALE ST                                                                                          LIVONIA                MI 48152‐1529
TROY HILDRETH                       3507 RANGELEY ST APT 5                                                                                       FLINT                  MI 48503‐2956
TROY HILL                           8047 COLBY LAKE RD                                                                                           LAINGSBURG             MI 48848‐8758
TROY HILL                           544 WHITE OAK TRL                                                                                            SPRING HILL            TN 37174‐7540
TROY HILTON INN/TROY                1455 STEPHENSON HWY                                                                                          TROY                   MI 48083
TROY HITCHENS                       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.            OH 44236
TROY HONDA                          1835 MAPLELAWN DR                                                                                            TROY                   MI 48084‐4617
TROY HONDA/TROY                     1835 MAPLELAWN DR                P.O. BOX 718                                                                TROY                   MI 48084‐4617
TROY HOOKER                         2440 CHALYBEATE RD                                                                                           SMITHS GROVE           KY 42171‐7248
TROY HOWARD                         6199 CALKINS RD                                                                                              FLINT                  MI 48532‐3247
TROY HUHN                           2918 JANET CIR                                                                                               ARLINGTON              TX 76013‐2012
TROY HULBERT                        PO BOX 1246                                                                                                  RIDGELAND              MS 39158‐1246
TROY HURLEY                         70 HANNAH CIR                                                                                                CAPE FAIR              MO 65624‐8200
TROY HUTCHESON                      966 SANDUSKY RD                                                                                              PHIL CAMPBELL          AL 35581‐4747
TROY IRRER                          722 BRIARCLIFF DR                                                                                            GROSSE POINTE WOODS    MI 48236‐1122
TROY J MYERS                        MOTLEY RICE LLC                  28 BRDIGESIDE BLVD            PO BOX 1792                                   MT PLEASANT            SC 29465
TROY J SPURLOCK                     24 ORCHARD AVEUNE                                                                                            GERMANTOWN             OH 45327
TROY JACKSON                        1313 OLD PEACHTREE RD NE                                                                                     LAWRENCEVILLE          GA 30043‐2622
TROY JAMES                          5718 WEBSTER DR                                                                                              SYLVANIA               OH 43560‐2054
TROY JASINSKI                       5903 W BENALEX DR                                                                                            TOLEDO                 OH 43612‐4411
TROY JEAN                           PO BOX 263                                                                                                   PAULSBORO              NJ 08066‐0263
TROY JENSEN                         6668 W WOOD RIDGE DR                                                                                         JANESVILLE             WI 53548‐9311
TROY JOHN JR (467096) ‐ TROY JOHN   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                 NORFOLK                VA 23510
                                                                     STREET, SUITE 600
TROY JOHNSON
TROY JOHNSON                        321 SW 14TH ST                                                                                               GRAND PRAIRIE         TX    75051‐1402
TROY JOLLEY                         RR2 BOX 107                                                                                                  MONROE                TN    38573
TROY JORGENSEN                      11093 BRIMLEY RD                                                                                             WEBBERVILLE           MI    48892‐9510
TROY JR, WARREN H                   130 OAK FERN LN                                                                                              WILLOW SPRING         NC    27592‐6002
TROY JUMPER                         401 S 25TH ST                                                                                                SAGINAW               MI    48601‐6410
TROY KEMP                           121 TWIN LAKES DR                                                                                            CARROLLTON            GA    30116‐6940
TROY KENNEDY                        46637 SPINNING WHEEL DR                                                                                      CANTON                MI    48187‐1422
TROY KREIFELDT                      390 RICOMA BEACH RD                                                                                          BAY CITY              MI    48706‐1117
TROY L BILLINGSLEY                  3320 VALERIE ARMS DR APT 403                                                                                 DAYTON                OH    45405‐2121
TROY L BRANAM                       KAREN BRANAM JTWROS              2126 WESTBROOK                                                              ODESSA                TX    79761
TROY L CURRY                        PO BOX 1326                                                                                                  PRINCETON             WV    24740‐1326
TROY L DEUSCHER                     1333 N FARRAGUT ST                                                                                           BAY CITY              MI    48708‐6043
TROY L EVANS                        4129 EDISON ST                                                                                               DAYTON                OH    45417‐1202
TROY L FERRELL                      ATTN: ROBERT W PHILLIPS          SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD, PO BOX                    EAST ALTON            IL    62024
                                                                     ANGELIDES & BARNERD LLC       521
TROY L LEATHERS SR                  C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                                   HOUSTON                TX   77007
                                    BOUNDAS LLP
TROY L MCCLENDON                    1110 YONDOTA ST                                                                                              TOLEDO                OH 43605‐3133
TROY L NESMITH                      287 CEDARWOOD TERRACE                                                                                        ROCHESTER             NY 14609‐6406
TROY L PRICE                        8621 SOUTH KING DRIVE                                                                                        CHICAGO               IL 60619‐6007
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                 Part 37 of 40 Pg 508 of 901
Name                          Address1                         Address2                      Address3          Address4         City               State Zip
TROY L SCOGGINS               218 OAK GROVE CHURCH RD                                                                           PEARL               MS 39208
TROY L TURNER                 1965 HOME AVENUE                                                                                  DAYTON              OH 45417‐2153
TROY LABAR                    109 W WASHINGTON ST BOX 373                                                                       MAPLE RAPIDS        MI 48853
TROY LACOURSE                 315 RIVER RD                                                                                      BAY CITY            MI 48706‐1447
TROY LAVERGNE                 7364 CAMPTON RD                                                                                   NASHVILLE           TN 37211‐8588
TROY LEWIS                    9288 MARION CRES                                                                                  REDFORD             MI 48239‐1738
TROY LEWIS                    2069 LOVE BRIDGE RD SE                                                                            FAIRMOUNT           GA 30139‐2018
TROY LOGAN                    16782 INKSTER RD                                                                                  REDFORD             MI 48240‐2520
TROY LOPER                    3790 BRYANT DR                                                                                    YOUNGSTOWN          OH 44511‐1173
TROY LUCHSINGER               5001 CELTIC DR                                                                                    ARLINGTON           TX 76017‐2319
TROY M DINGUS                 93 SEWARD ST APT 501                                                                              DETROIT             MI 48202‐4418
TROY M SMITH                  2293 NEW SIGHT DR. NE                                                                             BROOKHAVEN          MS 39601
TROY MACHINE ENTERPRISE LLC   1270 RANKIN DR STE B                                                                              TROY                MI 48083‐2843
TROY MAGERS                   1985 STATE ROUTE 603                                                                              ASHLAND             OH 44805‐9448
TROY MARLER                   C/O NIX PATTERSON & ROACH LLP    GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                    DAINGERFIELD        TX 75638
TROY MARRIOTT/MI              200 W BIG BEAVER RD                                                                               TROY                MI 48084‐5219
TROY MARTIN                   1202 EASLEY LN                                                                                    JONESBORO           AR 72401
TROY MARTIN & SUE MARTIN      1202 EASLEY AVE                                                                                   JONESBORO           AR 72401
TROY MARTZ                    3954 MONROE RD                                                                                    TIPTON              MI 49287‐9800
TROY MAYS SR                  C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS          OH 44236
TROY MCCARLEY                 2454 COUNTY RD 3250                                                                               PARADISE            TX 76073‐2508
TROY MCCLAIN                  223 W GRANT ST                                                                                    HARTFORD CITY       IN 47348‐2140
TROY MCCLELLAN                4600 WOLFF DR                                                                                     BRUNSWICK           OH 44212‐2549
TROY MCCLENDON                1110 YONDOTA ST                                                                                   TOLEDO              OH 43605‐3133
TROY MCINTYRE                 625 E MICHIGAN AVE                                                                                LANSING             MI 48912
TROY MCNAIR                   12811 LONGACRE ST                                                                                 DETROIT             MI 48227‐1224
TROY MCNEESE                  PO BOX 308                                                                                        ELKTON              TN 38455‐0308
TROY METCALF                  102 CHESTNUT ST                                                                                   LEESBURG            FL 34748‐8664
TROY MILL/FRMNGTN HL          24116 RESEARCH DR                                                                                 FARMINGTON HILLS    MI 48335‐2633
TROY MILLER                   7212 BURRWOOD DR APT B                                                                            SAINT LOUIS         MO 63121‐1652
TROY MITCHELL                 7770 BOY SCOUT ROAD                                                                               MOORINGSPORT        LA 71060
TROY MITCHELL                 3223 STONEGATE DRIVE                                                                              FLINT               MI 48507‐2116
TROY MOORE                    7438 BLANDING DR                                                                                  FERGUSON            MO 63135‐3446
TROY MORGAN                   1421 WILLARD RD                                                                                   BIRCH RUN           MI 48415‐8611
TROY MORRIS                   C/O NIX PATTERSON & ROACH LLP    GM BANKRUPTCY DEPARTMENT LLP 205 LINDA DRIVE                     DAINGERFIELD        TX 75638

TROY MULLINS                  18401 MARTINSVILLE RD                                                                             BELLEVILLE         MI   48111‐8701
TROY MULLINS JR               1232 HOLMESPUN DR                                                                                 PASADENA           MD   21122‐2575
TROY MURPHY                   90 COUNTY ROAD 3301                                                                               BOONEVILLE         MS   38829‐8820
TROY MURPHY JR                4515 COBBLESTONE TRAIL                                                                            RAVENNA            OH   44266‐8252
TROY MUSGRAVE                 NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT      205 LINDA DR                       DAINGERFIELD       TX   75638
TROY MYERS                    1027 LAPORT AVE                                                                                   MOUNT MORRIS       MI   48458‐2557
TROY N SMITH                  6620 WEDGEWOOD CT                                                                                 WATERFORD          MI   48327‐3868
TROY NAPOLEON                 1001 S. 17TH                                                                                      CHICKASHA          OK   73018
TROY NASSER                   1478 SHIRLEY ST                                                                                   FLINT              MI   48532‐4056
TROY NEAR                     6135 S STEEL RD                                                                                   SAINT CHARLES      MI   48655‐8700
TROY NESMITH                  903 THORNHILL DR                                                                                  NEWARK             DE   19702‐4050
TROY NEWBORN                  28891 W WORCESTER RTD                                                                             SUN CITY           CA   92586
TROY NIX                      5404 PEBBLESTONE DR                                                                               WICHITA FALLS      TX   76306‐1431
TROY NORRIS                   414 FRONT ST                                                                                      GRAIN VALLEY       MO   64029‐9312
TROY O'NEAL                   101 CLINTON AVE APT 2T                                                                            MINEOLA            NY   11501‐2808
TROY PAGE                     1511 1ST ST APT 314                                                                               DETROIT            MI   48226‐1353
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                        Part 37 of 40 Pg 509 of 901
Name                                  Address1                       Address2                       Address3                 Address4         City               State Zip
TROY PARLIER                          1600 ALTHEA ST BOX 386                                                                                  OLCOTT              NY 14126
TROY PARMER                           8275 WILSON RD                                                                                          OTISVILLE           MI 48463‐9478
TROY PARTAIN                          843 DENISE CT                                                                                           STONE MOUNTAIN      GA 30087‐2928
TROY PATTERN/ROCH HL                  1842 ROCHESTER INDUSTRIAL DR                                                                            ROCHESTER HILLS     MI 48309‐3337
TROY PHILIPS                          1645 E RIVERSIDE DR                                                                                     IONIA               MI 48846‐9670
TROY POINTER                          2775 BUENA VISTA DR                                                                                     HIGHLAND            MI 48356‐1901
TROY PRESLEY                          2327 PRESCOTT AVE                                                                                       SAGINAW             MI 48601‐3518
TROY PREWITT                          14685 S HIGHWAY 307                                                                                     BLUFFTON            AR 72827‐8045
TROY PRINCE                           2040 W MAIN ST 210‐1434                                                                                 RAPID CITY          SD 57702
TROY PULLEN                           4958 S 650 W                                                                                            RUSSIAVILLE         IN 46979‐9515
TROY R ANTHONY                        5333 RUDY RD                                                                                            TIPP CITY           OH 45371‐8719
TROY R BILLINGS                       1120 BALDWIN DR                                                                                         BOWLING GREEN       KY 42104‐3045
TROY REALTY HOLDING CO                C\O PRENTISS PROPERTIES LTD    PO BOX 99668                   ROBBINS EXECUTIVE PARK                    CHICAGO              IL 60696‐7468
TROY REEVES JR                        8870 RIVERLAND DR                                                                                       STERLING HEIGHTS    MI 48314‐2431
TROY RHINEHARDT                       6270 SEEGER RD                                                                                          CASS CITY           MI 48726‐9672
TROY RICHARD                          905 N BANGOR ST                                                                                         BAY CITY            MI 48706‐3909
TROY RITSCHARD                        9434 WINTERS RD                                                                                         ROANOKE             IN 46783‐9632
TROY ROBERT SR (ESTATE OF) (661545)   SIMMONS FIRM                   PO BOX 521                                                               EAST ALTON           IL 62024‐0519
TROY ROSE                             633 BETH LN                                                                                             SULPHUR SPRINGS     TX 75482‐4935
TROY ROUTON                           6501 GRANT ST                                                                                           SAINT JOSEPH        MO 64504‐1903
TROY RUFF                             1310 OLD SUMMERVILLE RD NW                                                                              ROME                GA 30165‐7734
TROY S BEARD                          38 E LONGFELLOW AVE                                                                                     PONTIAC             MI 48340‐2742
TROY S MCDANIEL                       776 MAGNOLIA DRIVE                                                                                      GREENVILLE          OH 45331
TROY SAK ASSOCIATES                   745 BARCLAY CIR STE 310                                                                                 ROCHESTER HILLS     MI 48307‐4586
TROY SANDERS II                       166 SWAN LAKE DR                                                                                        STOCKBRIDGE         GA 30281‐6107
TROY SCARBROUGH                       281 E SOUTH AVE                                                                                         BELOIT              WI 53511‐1542
TROY SCHAFER                          5910 GRAND RIVER DR                                                                                     GRAND LEDGE         MI 48837‐8960
TROY SCHOENMEYER                      2115 LAPORTE RD                                                                                         HEMLOCK             MI 48626‐9508
TROY SCHOOL DISTRICT                  4400 LIVERNOIS RD                                                                                       TROY                MI 48098‐4777
TROY SCHULTHIES                       1511 FIELDSTONE DR                                                                                      FORT WAYNE          IN 46815‐7593
TROY SCOTT                            4316 MORRISWOOD DR                                                                                      NASHVILLE           TN 37204‐4422
TROY SCOTT                            2329 RAMSEY RIDGE RD                                                                                    HELTONVILLE         IN 47436
TROY SCOTT                            11030 GREENWOOD RD                                                                                      GLADWIN             MI 48624‐9120
TROY SCULLY                           2485 ELMWOOD DR                                                                                         FLINT               MI 48504‐6542
TROY SETERA                           9497 WESTWOOD CIR                                                                                       CLARKSTON           MI 48348‐1553
TROY SHEETS                           2665 W LAWSON RD                                                                                        MARION              IN 46952‐9240
TROY SHOUSE                           3524 JEWELL AVE                                                                                         MIDDLETOWN          OH 45042‐2642
TROY SHOWERS                          15477 THORNAPPLE DR                                                                                     GRAND HAVEN         MI 49417‐9111
TROY SIMS                             4074 CHESTNUT DR                                                                                        FLOWERY BRANCH      GA 30542‐3064
TROY SJOSTRAND                        4700 NINE MILE CREEK PKWY                                                                               BLOOMINGTON         MN 55437
TROY SKELTON                          600 W WALTON BLVD APT 208                                                                               PONTIAC             MI 48340‐1097
TROY SMAIL                            7851 BRIGHTON RD                                                                                        BRIGHTON            MI 48116‐9701
TROY SMALLWOOD                        222 PONDEROSA TRL S                                                                                     BELLEVILLE          MI 48111‐5407
TROY SMITH                            74 RAMSDELL RD                                                                                          WHITESBURG          GA 30185‐2537
TROY SMITH                            17234 WALL ST                                                                                           MELVINDALE          MI 48122‐1217
TROY SMITH                            6859 N ANN ARBOR RD                                                                                     DUNDEE              MI 48131‐9768
TROY SMITH                            2293 NEW SIGHT DR NE                                                                                    BROOKHAVEN          MS 39601‐2097
TROY SMITH                            1806 UNIVERSITY AVE                                                                                     MONROE              LA 71203‐3430
TROY SOUTH LLC                        F/K/A TROY TECHNOLOGY PARK     74 EAST LONG LAKE RD, 1ST FL                                             BLOOMFIELD HILLS    MI 48304
TROY SPANN                            C/O EDWARD O MOODY PA          801 WEST 4TH STREET                                                      LITTLE ROCK         AR 72201
TROY SPRINKLER LIMITED
TROY SPURLOCK                         24 ORCHARD ST                                                                                           GERMANTOWN         OH 45327‐1233
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                      Part 37 of 40 Pg 510 of 901
Name                             Address1                          Address2                         Address3           Address4                 City               State Zip
TROY STANDOKES                   218 E MARENGO AVE                                                                                              FLINT               MI 48505‐3300
TROY STATE UNIVERSITY            MONTGOMERY                        20 N PINE ST                                                                 MAXWELL AFB         AL 36112‐5918
TROY STATE UNIVERSITY AT DOTHA   PO BOX 8368                                                                                                    DOTHAN              AL 36304‐0368
TROY STEELE                      619 LIBERTY RD                                                                                                 YOUNGSTOWN          OH 44505‐4258
TROY STEWART                     5232 ROCKWAY DR                                                                                                COLUMBIAVILLE       MI 48421‐8907
TROY STINNETT                    2966 QUARTZ DR                                                                                                 TROY                MI 48085‐3958
TROY STOKES                      18028 VAN AKEN BLVD                                                                                            SHAKER HEIGHTS      OH 44122‐4821
TROY STROUD                      RT #1 BOX 207‐B                                                                                                DUNLOW              WV 25511
TROY SUDDERTH                    657 WELLS RD                                                                                                   HOMER               GA 30547‐1827
TROY SULLIVAN                    13332 STATE ROUTE 56 SE                                                                                        MT STERLING         OH 43143‐9109
TROY T ADKINS                    1608 VERONA PITSBURG RD                                                                                        ARCANUM             OH 45304‐9616
TROY TAP & GAGE CO               986 E 10 MILE RD                                                                                               HAZEL PARK          MI 48030‐1220
TROY TECHNOLOGY PARK             C\O K E MANAGEMENT INC            401 S OLD WOODWARD AVE STE 300                                               BIRMINGHAM          MI 48009‐6612

TROY TECHNOLOGY PARK             ATTN: LEGAL DEPARTMENT            745 BARCLAY CIR, SUITE 310                                                   ROCHESTER HILLS    MI   48307‐4586
TROY TECHNOLOGY PARK             74 E. LONG LAKE ROAD              FIRST FLOOR                                                                  BLOOMFIELD HILLS   MI   48304
TROY TECHNOLOGY PARK             745 BARCLAY CIR STE 310                                                                                        ROCHESTER HILLS    MI   48307‐4586
TROY TERRY                       12136 AL HIGHWAY 24                                                                                            MOULTON            AL   35650‐6799
TROY THOMASON                    PO BOX 234                                                                                                     LOGANVILLE         GA   30052‐0234
TROY TOOL LLC                    TECSTAR LP‐TROY TOOLING           1890 ROCHESTER HILLS             INDUSTRIAL DRIVE                            ROCHESTER HILLS    MI   48307
TROY TOOL/ROCHESTER              1842 ROCHESTER INDUSTRIAL DR                                                                                   ROCHESTER HILLS    MI   48309‐3337
TROY TOOLING LLC                 TECSTAR LP                        1890 ROCHESTER INDUSTRIAL DR                                                 ROCHESTER HILLS    MI   48309‐3341
TROY TOOLING LLC                 R. HILL                           1890 ROCHESTER INDUSTRIAL DR                        SUZHOU CHINA (PEOPLE'S
                                                                                                                       REP)
TROY TUBE & MANUFACTURING CO     50100 E RUSSELL SCHMIDT BLVD                                                                                   CHESTERFIELD       MI   48051‐2443
TROY TUBE & MANUFACTURING CO     51000 E RUSSELL SCHMIDT BLVD                                                                                   CHESTERFIELD       MI   48051
TROY TUBE/NEW BALTIM             PO BOX 696                                                                                                     NEW BALTIMORE      MI   48047‐0696
TROY UNIVERSITY                  ADAMS ADMINISTRATION BLDG         3RD FLOOR RM 314                                                             TROY               AL   36082‐0001
TROY W BLAKE                     22 BIGTREE BLG2APT6                                                                                            LIVONIA            NY   14487‐9618
TROY W BULLOCK                   4821 WESTCHESTER DR APT 306                                                                                    YOUNGSTOWN         OH   44515
TROY W CONNATSER                 NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT         205 LINDA DRIVE                             DAINGERFIELD       TX   75638
TROY W DAVIS                     1159 SOUTHERN BLVD NW                                                                                          WARREN             OH   44485
TROY W FLEMING                   3198 OLD WINCHESTER TR                                                                                         XENIA              OH   45385‐8737
TROY W MURPHY JR                 4515 COBBLESTONE TRL                                                                                           RAVENNA            OH   44266‐8252
TROY W POWELL                    8442 DEER CREEK LN NE                                                                                          WARREN             OH   44484‐2030
TROY W SMITH                     74 RAMSDELL RD                                                                                                 WHITESBURG         GA   30185‐2537
TROY WAGERS                      230 N MAIN ST                                                                                                  SOMERVILLE         OH   45064‐9568
TROY WAGERS                      230 N. MAIN                                                                                                    SOMERVILLE         OH   45064
TROY WALKER                      660 MIX AVENUE                    APARTMENT 5‐M                                                                HAMDEN             CT   06514
TROY WALKER                      660 MIX AVENUE                    APARTMENT 5M                                                                 HAMDEN             CT   06514
TROY WALLACE                     1126 PLEASANT VIEW LN                                                                                          PIGGOTT            AR   72454‐1106
TROY WALLING                     4489 STACY CT                                                                                                  CLIO               MI   48420‐9408
TROY WHIPPLE                     3615 LAKE GEORGE RD                                                                                            OXFORD             MI   48370‐2005
TROY WHITE                       1162 PERIWINKLE DR                                                                                             TUSCALOOSA         AL   35405‐8765
TROY WILLIAMS                    30027 JULIUS BLVD                                                                                              WESTLAND           MI   48186‐5130
TROY WILLIAMS                    1305 ROSEWOOD LN                                                                                               ARLINGTON          TX   76010‐5839
TROY WILLIAMS                    5881 N 38TH ST                                                                                                 MILWAUKEE          WI   53209‐4023
TROY WOODY                       5218 JEFFS DOTY RD                                                                                             OTTAWA LAKE        MI   49267‐9559
TROY WRIGHT                      8167 MORRISH RD                                                                                                FLUSHING           MI   48433‐8862
TROY YORK                        PO BOX 443                                                                                                     GRANDVIEW          TX   76050‐0443
TROY YOUNG                       1370 HIDDEN VALLEY RD                                                                                          MITCHELL           IN   47446‐7449
TROY ZEITER                      1045 WATERSEDGE CT                                                                                             OXFORD             MI   48371‐3688
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                         Part 37 of 40 Pg 511 of 901
Name                                 Address1                         Address2                      Address3   Address4         City             State Zip
TROY, ANTHONY J                      1025 JOHN ST                                                                               NILES             OH 44446‐1914
TROY, BETTY H                        8703 W COUNTY ROAD 825 N                                                                   MIDDLETOWN        IN 47356‐9349
TROY, CATHY A                        APT 8                            6485 DYSINGER ROAD                                        LOCKPORT          NY 14094‐9058
TROY, DAVID W                        281 PIONEER DR                                                                             PONTIAC           MI 48341‐1852
TROY, DENNIS P                       2129 MILES RD                                                                              LAPEER            MI 48446‐8058
TROY, DEVILLA W                      MOODY EDWARD O                   801 W 4TH ST                                              LITTLE ROCK       AR 72201‐2107
TROY, DOROTHY                        6433 REAMS RD                                                                              ALANSON           MI 49706‐9625
TROY, EDMUND W                       244 W 600 N                                                                                MARION            IN 46952‐9733
TROY, GREGORY L                      10487 N 625 E                                                                              PENDLETON         IN 46064‐9204
TROY, JAMES P                        31 CHIPPEWA RD                                                                             PONTIAC           MI 48341‐1507
TROY, JOHN                           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                      STREET, SUITE 600
TROY, JUDITH E                       1902 S SHERMAN ST                                                                          BAY CITY         MI   48708‐8193
TROY, MARILYN G                      15417 BOICHOT RD                                                                           LANSING          MI   48906‐1223
TROY, MELISSA A                      28 BRENTWOOD RD                                                                            CHELMSFORD       MA   01824
TROY, MICHAEL                        883 HARDCASTLE DR                                                                          O FALLON         MO   63366‐3174
TROY, MICHAEL A                      PO BOX 64                                                                                  PERRY            MI   48872‐0064
TROY, MICHAEL ANDRE                  PO BOX 64                                                                                  PERRY            MI   48872‐0064
TROY, NORMAN W                       103 GREEN TREE ST                                                                          COWAN            TN   37318‐3362
TROY, RICHARD P                      PO BOX 298                                                                                 NEGLEY           OH   44441‐0298
TROY, ROBERT                         SIMMONS FIRM                     PO BOX 521                                                EAST ALTON       IL   62024‐0519
TROY, SANDRA M                       5998 WALNUT ST                                                                             NEWFANE          NY   14108‐1318
TROY, WILLIAM K                      9138 N 800 W                                                                               MIDDLETOWN       IN   47356
TROY, WILLIAM M                      10430 N 675 E                                                                              PENDLETON        IN   46064‐9203
TROY, WILLIE P                       144 ELLERY AVE                                                                             NEWARK           NJ   07106‐3502
TROY‐ALAN BUICK‐CADILLAC, INC.       358 BUTLER RD                                                                              KITTANNING       PA   16201‐2169
TROY‐ALAN CHEVROLET‐OLDS, INC.       217 GROVE CITY RD                                                                          SLIPPERY ROCK    PA   16057‐1125
TROY‐ALAN CHEVROLET‐OLDS, INC.       FRANCIS STREZESKI                217 GROVE CITY RD                                         SLIPPERY ROCK    PA   16057‐1125
TROY‐ALAN CHEVROLET‐OLDS, INC.       FRANCIS STREZESKI                313 N PERRY HWY                                           MERCER           PA   16137‐5043
TROY‐ALAN CHEVROLET‐OLDS‐GEO, INC.   FRANCIS STREZESKI                358 BUTLER RD                                             KITTANNING       PA   16201‐2169

TROY‐ALAN PONTIAC‐BUICK‐GMC TRUCK    313 N PERRY HWY                                                                            MERCER           PA 16137‐5043

TROY/TROY                            2653 INDUSTRIAL ROW DR                                                                     TROY             MI   48084‐7038
TROYAN, CHARLES H                    PO BOX 356                                                                                 FLINT            MI   48501‐0356
TROYAN, ROSE                         5460 LOVETT DR                                                                             MERRITT ISLAND   FL   32953‐7338
TROYAN, RUTH C                       119 SQUAW CREEK RD                                                                         MARSHALL         MI   49068‐9520
TROYAN, THOMAS L                     933 THREEWOOD CIR                                                                          BOWLING GREEN    KY   42103
TROYANN MYOTT                        4223 BRISTOLWOOD DR                                                                        FLINT            MI   48507‐5536
TROYANO FRANCIS                      343 TIMBERWIND DR                                                                          NORMAN           OK   73072‐4614
TROYCE PUGH                          561 SWEETFERN LN                                                                           SUGAR HILL       GA   30518‐7612
TROYCE WEEMS                         2021 GLENHAVEN ST                                                                          ARLINGTON        TX   76010‐7623
TROYE MERIDETH                       2447 DETOUR RD                                                                             BOWLING GREEN    KY   42101‐0786
TROYER TRANSPORTATION                817 RT 97 SOUTH                                                                            WATERFORD        PA   16441
TROYER, ALICE F                      12273 RD 19 RT 2                                                                           CLOVERDALE       OH   45827‐9609
TROYER, ANGELA M                     5402 SCOTT RD                                                                              MOUNT MORRIS     MI   48458‐9749
TROYER, ANGELA MARY                  5402 SCOTT RD                                                                              MOUNT MORRIS     MI   48458‐9749
TROYER, DEBORAH J                    PO BOX 51                                                                                  BERLIN           OH   44610‐0051
TROYER, DONALD D                     10427E MADISON RD                                                                          ST HELEN         MI   48656‐9785
TROYER, DONALD D                     10212 FORD DRIVE                                                                           SAINT HELEN      MI   48656‐8202
TROYER, EDWARD L                     4485 DUPRIE RD                                                                             STANDISH         MI   48658‐9335
TROYER, GARRY                        PO BOX 369                                                                                 CONTINENTAL      OH   45831‐0369
                            09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                             Part 37 of 40 Pg 512 of 901
Name                        Address1                             Address2                        Address3   Address4         City               State Zip
TROYER, GEORGE R            4275 N 450 E                                                                                     KOKOMO              IN 46901‐8116
TROYER, GERRY A             9543 BAYS RD                                                                                     CYGNET              OH 43413‐9736
TROYER, HOWARD S            300 IVY DR                                                                                       KOKOMO              IN 46902‐5240
TROYER, JAMES A             6240 ORIOLE DR                                                                                   FLINT               MI 48506‐1738
TROYER, JEFF A              21982 STATE ROUTE 613                                                                            CONTINENTAL         OH 45831‐9004
TROYER, JESSE D             21428 RD I‐18                                                                                    CLOVERDALE          OH 45827
TROYER, JESSE DALE          21428 RD I‐18                                                                                    CLOVERDALE          OH 45827
TROYER, LAWRENCE C          4970 STIVERSVILLE RD                                                                             CULLEOKA            TN 38451‐2421
TROYER, LYLE                KRUGLIAK WILKINS GRIFFITHS &         158 N BROADWAY ST                                           NEW PHILADELPHIA    OH 44663‐2628
                            DOUGHERTY CO LPA
TROYER, LYLE                TZANGAS PLAKAS MANNOS & RAIES        220 MARKET AVENUE SOUTH                                     CANTON             OH   44702
TROYER, MARIAN L            2605 BROOKSIDE DR APT 189                                                                        BAKERSFIELD        CA   93311‐3434
TROYER, MARLA K             1303 N FRANKLIN ST                                                                               DANVILLE           IL   61832‐2502
TROYER, MATTHEW G           14481 N CENTER RD                                                                                CLIO               MI   48420‐7934
TROYER, MICHAEL D           21428 ROAD I18                                                                                   CLOVERDALE         OH   45827‐9513
TROYER, PAUL J              9745 E COUNTY ROAD 600 N                                                                         PERU               IN   46970‐9355
TROYER, PAUL J              9745 E. COUNTY RD 600 N                                                                          PERU               IN   46970‐9355
TROYER, ROBERT E            21863 ONTAGA ST                                                                                  FARMINGTON HILLS   MI   48336‐6048
TROYER, RUTH                582 BRIARHEATH DRIVE                                                                             DEFIANCE           OH   43512
TROYER, SAMUEL              C/O THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD         SUITE 44                    CORAL GABLES       FL   33146
TROYER, THELMER ANN         701A QUAIL RUN                                                                                   SAN MARCOS         TX   78666‐5245
TROYS LLP                   WILIAM F. GRAY, JR.                  237 PARK AVE                                                NEW YORK           NY   10017
TROZZO JOSEPH L             TROZZO, JOSEPH L                     1301 GRANT BUILDING 310 GRANT                               PITTSBURGH         PA   15219
                                                                 STREET
TROZZO, ERNEST S            123 WIGGINS LN                                                                                   UNIONTOWN          PA 15401‐8909
TROZZO, JOSEPH L            GORBERG DAVID J                      1301 GRANT BUILDING 310 GRANT                               PITTSBURGH         PA 15219
                                                                 STREET
TROZZO, TODD A              267 CHESS RD                                                                                     SMITHFIELD         PA   15478‐1421
TRPOVSKI, BRANISLAV         2385 WOODVALE TRL                                                                                BRIGHTON           MI   48114‐8149
TRPOVSKI, RUZICA R          2385 WOODVALE TRL                                                                                BRIGHTON           MI   48114‐8149
TRPOVSKI, TRIPUN            6487 BERKSHIRE DR                                                                                WASHINGTN TWP      MI   48094‐3551
TRS INC                     6330 SILVER STAR RD                                                                              ORLANDO            FL   32818‐3119
TRU COAT INC                1117 E STEWART AVE                                                                               FLINT              MI   48505‐3667
TRU CUT/SEBRING             1145 ALLIED DR                                                                                   SEBRING            OH   44672‐1355
TRU FAST CORP               02105 WILLIAMS COUNTY RD 12‐C                                                                    BRYAN              OH   43506
TRU GREEN CHEM LAWN         6050 BIRCH RD                                                                                    FLINT              MI   48507‐4648
TRU GREEN LP                PO BOX 620                                                                                       FISHERS            IN   46038‐0620
TRU HANG                    3304 S VANBUREN                                                                                  RICHVILLE          MI   48758
TRU INDUSTRIES              KURT NANNEY                          15300 TWELVE MILE ROAD                                      PORTAGE            MI   49001
TRU INDUSTRIES, INC.        15300 TWELVE MILE RD.                                                                            ROSEVILLE          MI   48066
TRU INDUSTRIES, INC.        ATTN: CORPORATE OFFICER/AUTHORIZED   15300 E 12 MILE RD                                          ROSEVILLE          MI   48066‐1835
                            AGENT
TRU VAL TUBING CO INC       1314 CRESCENT LAKE RD                                                                            WATERFORD          MI   48327‐2414
TRU VALUE COMPANY           8600 W BRYN MAWR AVE                                                                             CHICAGO            IL   60631
TRU WAY DESIGNING SERVICE   TRU WAY DESIGN & ENG SERV            42000 KOPPERNICK RD SUITE 21                                CANTON             MI   48187
TRU‐COAT INC                ATTN: RONALD LOAFMAN                 1117 E STEWART AVE                                          FLINT              MI   48505‐3667
TRU‐CUT INC                 ATTN: BRIAN ELPERS                   3111 S MADISON AVE                                          ANDERSON           IN   46016‐6011
TRU‐CUT INC                                                      1145 ALLIED DR.                                                                OH   44672
TRU‐CUT TREE SVC            ATTN: TIM LUCAS                      101 W BUTLER ST                                             KOKOMO             IN   46901‐2262
TRU‐FORM STEEL & WIRE INC   PO BOX 266                                                                                       HARTFORD CITY      IN   47348‐0266
TRU‐FORM STEEL & WIRE INC   1204 GILKEY AVE                      PO BOX 266                                                  HARTFORD CITY      IN   47348‐9549
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                          Part 37 of 40 Pg 513 of 901
Name                                 Address1                          Address2                         Address3                  Address4         City                  State Zip
TRU‐LINE AUTOMOTIVE SOLUTIONS, INC   14920 DELANO ST                                                                                               VAN NUYS               CA 91411‐2122

TRU‐VAL                              ANNE COOK                         1314 CRESCENT LAKE RD                                                       WATERFORD             MI   48327‐2414
TRU‐VAL TUBING CO                    1314 CRESCENT LAKE RD                                                                                         WATERFORD             MI   48327‐2414
TRU‐VAL TUBING/WATER                 1314 CRESCENT LAKE RD                                                                                         WATERFORD             MI   48327‐2414
TRU‐WAY DESIGN                       42000 KOPPERNICK RD STE A5                                                                                    CANTON                MI   48187‐4282
TRUAN, LLOYD G                       7677 TERRI DRIVE                                                                                              WESTLAND              MI   48185‐9449
TRUAN, MARIAELENA
TRUAN, RUTH I                        3901 71ST W 165 LN #4                                                                                         BRADENTON             FL   34209‐6502
TRUARC COMPANY LLC                   70 E WILLOW ST                                                                                                MILLBURN              NJ   07041‐1438
TRUAX JR, LAWRENCE                   1614 10TH ST                                                                                                  MARTIN                MI   49070‐8710
TRUAX WAYNE EMMIT (478867)           BARON & BUDD                      3102 OAK LANE AVE , SUITE 1100                                              DALLAS                TX   75219
TRUAX, ANNA F                        5842 CHANEYSVILLE RD                                                                                          CLEARVILLE            PA   15535‐7627
TRUAX, BARBARA M                     43 BACON ST                                                                                                   LOCKPORT              NY   14094‐4215
TRUAX, BETTY S                       364 VINEWOOD DR S                                                                                             BROWNSBURG            IN   46112‐2039
TRUAX, CHERYL A                      33106 TRUMAN RD                                                                                               ROCKWOOD              MI   48173‐8502
TRUAX, DENNIS O                      2521 HENRY RD                                                                                                 LAPEER                MI   48446‐9037
TRUAX, DWAYNE R                      3189 W 450 S                                                                                                  CRAWFORDSVILLE        IN   47933‐8009
TRUAX, EMILIE R                      3122 W GENESEE AVE                                                                                            SAGINAW               MI   48602‐3608
TRUAX, ERIC P                        851 CAMINO DE PLATA                                                                                           SAN JACINTO           CA   92583‐6821
TRUAX, EVELYN G                      216 S 4TH ST                                                                                                  EDWARDSVILLE          KS   66111
TRUAX, GLORIA A                      PO BOX 19                                                                                                     FREDERIC              MI   49733‐0019
TRUAX, JACQUELINE H                  PO BOX 261                                                                                                    SLIPPERY ROCK         PA   16057‐0261
TRUAX, JAMES M                       LYNNE KIZIS ESQ                   WILENTZ GOODMAN & SPITZER        90 WOODBRIDGE CENTER DR                    WOODBRIDGE            NJ   07095

TRUAX, JOSEPH L                      1317 GREENLEAF RD                                                                                             WILMINGTON            DE   19805‐1318
TRUAX, JUNE A                        185 E 500 N                                                                                                   LEBANON               IN   46052‐9330
TRUAX, JUNE A                        185 E 500 NORTH                                                                                               LEBANON               IN   46052‐9330
TRUAX, LANCE M                       8636 FARNSWORTH RD                                                                                            GOODRICH              MI   48438‐9453
TRUAX, LANCE MICHAEL                 8636 FARNSWORTH RD                                                                                            GOODRICH              MI   48438‐9453
TRUAX, LARRY D                       8679 DEANVILLE RD                                                                                             BROWN CITY            MI   48416‐9680
TRUAX, LEROY R                       8450 STILES RD                                                                                                BROWN CITY            MI   48416‐9206
TRUAX, LEROY R                       4382 PEPPERMILL RD                                                                                            ATTICA                MI   48412
TRUAX, LOUISE A                      1317 GREENLEAF RD                                                                                             WILMINGTON            DE   19805‐1318
TRUAX, MARILYN E                     35531 DOYLE DR                                                                                                STERLING HEIGHTS      MI   48310‐5153
TRUAX, MICHAEL J                     4975 MIDDLETON PL                                                                                             PLEASANTON            CA   94566
TRUAX, NORMAN A                      43 BACON ST                                                                                                   LOCKPORT              NY   14094‐4215
TRUAX, ROBERT D                      3639 ARAGON DR                                                                                                LANSING               MI   48906‐3509
TRUAX, ROBERT L                      137 KNOLL DR                                                                                                  LAPEER                MI   48446‐1438
TRUAX, ROBERT O                      17770 LINCOLN RD APT 19                                                                                       NEW LOTHROP           MI   48460‐9603
TRUAX, ROGER A                       1638 DAISY DR                                                                                                 SAINT GERMAIN         WI   54558‐9725
TRUAX, ROSS A                        11870 N BETHEL RD                                                                                             MOORESVILLE           IN   46158‐6934
TRUAX, SARAH M.                      29946 GLENWOOD ST                                                                                             INKSTER               MI   48141‐1538
TRUAX, SHARON S                      851 CAMINO DE PLATA,                                                                                          SAN JACINTO           CA   92583
TRUAX, THOMAS C                      14168 DACOSTA ST                                                                                              DETROIT               MI   48223‐2535
TRUAX, WAYNE EMMIT                   BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                                               DALLAS                TX   75219
TRUAX, WILLIAM P                     3872 BRONSON LAKE RD                                                                                          LAPEER                MI   48446‐9092
TRUBA, DUANE D                       39093 SCHROEDER CT                                                                                            MOUNT CLEMENS         MI   48044
TRUBA, GIANNA C                      327 KERBY RD                                                                                                  GROSSE POINTE FARMS   MI   48236‐3145
TRUBACHIK, JOHN                      BOONE ALEXANDRA                   205 LINDA DR                                                                DAINGERFIELD          TX   75638‐2107
TRUBAN HARRISON                      1109 WHITINGHAM DR                                                                                            FLINT                 MI   48503‐2903
TRUBATCH, SCOTT R                    28 FROST MEADOW TRL                                                                                           ROCHESTER             NY   14612
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                        Part 37 of 40 Pg 514 of 901
Name                                 Address1                           Address2                       Address3     Address4                 City              State Zip
TRUBEE, DORIS E                      182 MARK TWAIN DRIVE                                                                                    NEW PORT NEWS      VA 23602‐6620
TRUBEE, ROBERT L                     40 E MAIN ST                                                                                            WEST CARROLLTON    OH 45449‐1414
TRUBIANO, PAUL A                     6424 HICKORY DR                                                                                         GOODRICH           MI 48438‐8720
TRUBILLA JR, JOHN                    81 WILSON AVE                                                                                           PARLIN             NJ 08859‐1669
TRUBILLA, JOHN                       161 SOUTHWOOD DR                                                                                        OLD BRIDGE         NJ 08857‐1654
TRUBILLA, MARK J                     161 SOUTHWOOD DR                                                                                        OLD BRIDGE         NJ 08857‐1654
TRUBILLA, MARK J.                    161 SOUTHWOOD DR                                                                                        OLD BRIDGE         NJ 08857‐1654
TRUBINSKI, RUSSELL                   3620 TIMBER TRL                                                                                         ORLANDO            FL 32808‐2343
TRUBIQUITY                           1688 STAR BATT DR                                                                                       ROCHESTER HILLS    MI 48309‐3705
TRUBIQUITY INC                       1688 STAR BATT DR                                                                                       ROCHESTER HILLS    MI 48309‐3705
TRUBIRO, FRANK J                     2328 VALLEY VISTA DR                                                                                    DAVISON            MI 48423‐8336
TRUBIRO, IRENE                       4479 EASTWOOD DR                                                                                        SWARTZ CREEK       MI 48473‐8802
TRUBIRO, JOSEPH I                    4479 EASTWOOD DR                                                                                        SWARTZ CREEK       MI 48473‐8802
TRUBIRO, MICHELE T                   7505 ROYAL CRYSTAL STREET                                                                               LAS VEGAS          NV 89149
TRUBIRO, RICHARD L                   6568 GOODALL RD                                                                                         CORUNNA            MI 48817‐9573
TRUBIRO, RICHARD LEE                 6568 GOODALL RD                                                                                         CORUNNA            MI 48817‐9573
TRUBLOWSKI, TIMOTHY M                3308 SPRING MEADOW DR                                                                                   ROCHESTER          MI 48306‐2060
TRUBON WHEELER                       6610 FOREST OAK CT                                                                                      GRANBURY           TX 76049‐6357
TRUBY, WILLIAM C                     8101 PINE KNOLL DR                                                                                      BRUCE TWP          MI 48065‐5342
TRUC NGUYEN                          2076 JENNYDALE CT SE                                                                                    GRAND RAPIDS       MI 49546‐7556
TRUC V NGUYEN                        2076 JENNYDALE CT SE                                                                                    GRAND RAPIDS       MI 49546‐7556
TRUCCO PAOLO                         VIA ROMA 25                                                                    12034 PAESANA CN ITALY
TRUCHAN I I I, FRANK                 34605 DONNELLY ST                                                                                       WESTLAND          MI   48185‐7714
TRUCHAN III, FRANK                   34605 DONNELLY ST                                                                                       WESTLAND          MI   48185‐7714
TRUCHAN, JEREMY                      34605 DONNELLY ST                                                                                       WESTLAND          MI   48185‐7714
TRUCHAN, JOHN M                      5097 REID RD                                                                                            SWARTZ CREEK      MI   48473‐9437
TRUCHAN, JOSEPH P                    812 TANVIEW DR                                                                                          OXFORD            MI   48371‐4765
TRUCHAN, SHARON R                    952 THAMES ST                                                                                           HIGHLANDS RANCH   CO   80126‐3035
TRUCHAN, THEODORE P                  4333 ARCADIA DR                                                                                         AUBURN HILLS      MI   48326‐1895
TRUCHAN, VIRGINIA G                  5069 W.REID ROAD                                                                                        SWARTZ CREEK      MI   48473‐9437
TRUCHAN, VIRGINIA G                  5069 REID RD                                                                                            SWARTZ CREEK      MI   48473‐9437
TRUCHEL, JOSEPH A                    408 RENAISSANCE AVE                                                                                     MELBOURNE         FL   32940‐8133
TRUCK & BUS GROUP                    660 SOUTH BLVD MC 3301‐153                                                                              PONTIAC           MI   48341
TRUCK & BUS GROUP ACCOUNT PAYABLE    31 JUDSON ‐ MAIL CODE 3105‐04                                                                           PONTIAC           MI   48343

TRUCK & COACH FEDERAL CU             FOR DEPOSIT TO THE ACCOUNT OF      44400 WOODWARD AVE             I ESCUDERO                            PONTIAC           MI 48341‐5025
TRUCK & EQUIP NTLS                   PO BOX 746                                                                                              METAIRIE          LA 70004‐0746
TRUCK ‐ LITE COMPANY, INC.           DIANE TELLINGHUISEN                310 E ELMWOOD AVE                                                    FALCONER          NY 14733‐1421
TRUCK ‐ LITE COMPANY, INC.           DIANE TELLINGHUISEN                310 EAST ELMWOOD AVENUE                     WEST GLAMORGAN GREAT
                                                                                                                    BRITAIN
TRUCK AIR OF THE CAROLINAS INC      PO BOX 827                                                                                               GREER             SC   29652‐0827
TRUCK AIR TRANSFER                  1701 W WALNUT PKWY                                                                                       COMPTON           CA   90220‐5028
TRUCK CENTER, INC.                  120 UNIVERSAL DR                                                                                         NORTH HAVEN       CT   06473‐3630
TRUCK CENTER, INC.                  MARIO BERLUTI                       120 UNIVERSAL DR                                                     NORTH HAVEN       CT   06473‐3630
TRUCK CONNECTIONS INTERNATIONAL INC RITZLER COUGHLIN & SWANSINGER LTD   1001 LAKESIDE AVE E STE 1550                                         CLEVELAND         OH   44114‐1161

TRUCK DRIVER'S INSTITUTE             3016 BLUFF RD                                                                                           INDIANAPOLIS      IN 46217‐3201
TRUCK ENTERPRISES CHESAPEAKE, INC.   1031 CAVALIER BLVD                                                                                      CHESAPEAKE        VA 23323‐1509

TRUCK ENTERPRISES CHESAPEAKE, INC.   JAMES HARTMAN                      1031 CAVALIER BLVD                                                   CHESAPEAKE        VA 23323‐1509
                                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                          Part 37 of 40 Pg 515 of 901
Name                                   Address1                        Address2                        Address3                     Address4               City                     State Zip
TRUCK ENTERPRISES HAGERSTOWN, INC.     JAMES HARTMAN                   18216 MAUGANS AVE                                                                   HAGERSTOWN                MD 21740‐1665

TRUCK ENTERPRISES HAGERSTOWN, INC.     18216 MAUGANS AVE                                                                                                   HAGERSTOWN               MD 21740‐1665

TRUCK INS EXCHANGE A/S/O ALL COUNTY JOYCE M GOLDSTEIN                  ALTSCHUL GOLDSTEIN & GELLER LLP 17 BATTERY PLACE SUITE 711                          NEW YORK                 NY 10004
ROOTER 09 FA 7940
TRUCK INS EXCHANGE ASO SDS CONTRACT JOYCE M GOLDSTEIN                  ALTSCHUL GOLDSTEIN & GELLER LLP 17 BATTERY PLACE SUITE 711                          NEW YORK                 NY 10004
SERVICES
TRUCK INSURANCE EXCHANGE A/S/O GULF C/O JOYCE M GOLDSTEIN              ALTSCHUL GOLDSTEIN & GELLER LLP 17 BATTERY PLACE SUITE 711                          NEW YORK                 NY 10004
COAST PIPELINE
TRUCK IT INC                        PO BOX 891                         13952‐54 S KILDARE AVE                                                              CRESTWOOD                IL   60445‐0891
TRUCK LEASE CORP                    1912 CENTRAL AVE                                                                                                       ALBANY                   NY   12205‐4218
TRUCK LITE CO INC                   PO BOX 387                                                                                                             JAMESTOWN                NY   14702‐0387
TRUCK LITE CO INC                   310 E ELMWOOD AVE                                                                                                      FALCONER                 NY   14733‐1499
TRUCK MANUFACTURERS ASSOC           PO BOX 13966                       10 LABORATORY DR                                                                    RESEARCH TRIANGLE PARK   NC   27709‐3966

TRUCK MANUFACTURERS ASSOCIATIO         2 N LA SALLE ST                 STE 2200                                                                            CHICAGO                  IL 60602‐3953
TRUCK MARKETING INSTITUTE              1090 EUGENIA PL                                                                                                     CARPINTERIA              CA 93013
TRUCK MARKETING INSTITUTE              1090 EUGENIA PLACE              P O BOX 5000                                                                        CARPINTERIA              CA 93013
TRUCK MATE
TRUCK MATE INC
TRUCK PAPER                            PO BOX 85010                                                                                                        LINCOLN                  NE 68501‐5010
TRUCK RENTING AND LEASING              675 N WASHINGTON ST STE 410                                                                                         ALEXANDRIA               VA 22314‐1939
ASSOCIATION
TRUCK SKIN                             2807 CASS RD STE B3                                                                                                 TRAVERSE CITY            MI 49684‐6953
TRUCK TEST DIGEST EDITORIAL SERVICES   5 PECAN LN                                                                                                          LONG BEACH               MS 39560‐3620

TRUCK‐LITE EUROPE LTD                  CASPER GIMBRERE 0114            BARROWS ROAD                                                                        WYANDOTTE                MI 48192
TRUCK‐LITE EUROPE LTD                  BARROWS RD                                                                                   HARLOW ESSEX GB CM19
                                                                                                                                    5FA GREAT BRITAIN
TRUCKE, LEO ROBERT                     BOONE ALEXANDRA                 205 LINDA DR                                                                        DAINGERFIELD             TX   75638‐2107
TRUCKEE DONNER PUBLIC UTILITY DIST                                     11570 DONNER PASS RD                                                                                         CA   96161
TRUCKEE MEADOWS COMM COLLEGE           CONTROLLERS OFFICE              7000 DANDINI BLVD                                                                   RENO                     NV   89512‐3901
TRUCKEE MEADOWS WATER AUTH             PO BOX 659565                                                                                                       SAN ANTONIO              TX   78265‐9565
TRUCKENBRODT, CHARLES A                400 W BUTTERFIELD RD APT 476                                                                                        ELMHURST                 IL   60126‐4985
TRUCKERS EXPRESS INC                   PO BOX 7369                                                                                                         MISSOULA                 MT   59807‐7369
TRUCKEY, JAMES D                       23209 RIVER RUN RD                                                                                                  MENDON                   MI   49072‐9599
TRUCKLE REVO TRUST, SUZANNE            C/O JACK S TRUCKLE AND          SUZANNE TRUCKLE TRUSTEES        352 EVENING STAR LANE                               BOZEMAN                  MT   59715
TRUCKLE, ROBERT E                      1177 N 11 MILE RD                                                                                                   LINWOOD                  MI   48634‐9828
TRUCKLEASE CORP                        30 FULLER RD                                                                                                        CHICOPEE                 MA   01020‐3792
TRUCKLEASE CORP                        65 AMFLEX DR                                                                                                        CRANSTON                 RI   02921‐2028
TRUCKLEASE CORP                        33 INDUSTRIAL PARK RD                                                                                               PUTNAM                   CT   06260‐3045
TRUCKLEASE CORP                        6 CLAFLIN STREET                                                                                                    BOSTON                   MA   02210
TRUCKLEASE CORP                        210 FALULAH ROAD                                                                                                    FITCHBURG                MA   01420
TRUCKLEASE CORP                        83 PROGRESS AVE                                                                                                     SPRINGFIELD              MA   01104‐3230
TRUCKLEASE CORP                        650 S UNION ST                                                                                                      LAWRENCE                 MA   01843‐3742
TRUCKLEASE CORP                        1242 SHAWMUT AVE                                                                                                    NEW BEDFORD              MA   02746‐1356
TRUCKLEASE CORP                        11 SHARPE DR                                                                                                        CRANSTON                 RI   02920‐4402
TRUCKLEASE CORP                        778 COLD ST                                                                                                         MANCHESTER               NH   03103
TRUCKLEASE CORP                        87 DOREMUS AVE                                                                                                      NEWARK                   NJ   07105‐4834
TRUCKLEASE CORP/AMI LEASING            1504 MAINLINE DR                                                                                                    CINNAMINSON              NJ   08077‐2572
TRUCKLEASE INC                         87 DOREMUS AVE                                                                                                      NEWARK                   NJ   07105‐4834
                              09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                Part 37 of 40 Pg 516 of 901
Name                          Address1                       Address2               Address3      Address4             City               State Zip
TRUCKLINE GAS COMPANY, LLC    MARK S. WILKE, MANAGER,        5444 WESTHEIMER ROAD                                      HOUSTON             TX 77056
                              ADMINISTRATION
TRUCKLINE GAS COMPANY, LLC    MARK S. WILKE                  5444 WESTHEIMER RD.                                       HOUSTON            TX   77056
TRUCKMAX GMC‐VOLVO            6000 NW 77TH CT                                                                          MIAMI              FL   33166‐3511
TRUCKMAX, INC.                ROBERT DOLLAR                  6000 NW 77TH CT                                           MIAMI              FL   33166‐3511
TRUCKMEN CORP                 5268 TOWNSHIP RD S                                                                       GENEVA             OH   44041‐7683
TRUCKNER, WILLIAM T           1185 E VERNE RD                                                                          BURT               MI   48417‐9714
TRUCKOR, SUSAN M              2‐1910‐N                                                                                 SWANTON            OH   43558
TRUCKPAPER.COM                PO BOX 85010                                                                             LINCOLN            NE   68501‐5010
TRUCKS FOR YOU INC            DEPT 1606                                                                                TULSA              OK   74182‐0001
TRUCKS UNLIMITED INC          PO BOX 518                                                                               WYOMING            PA   18644
TRUCKS WEST OF NEVADA, INC.   5010 JEFFERSON ST NE                                                                     ALBUQUERQUE        NM   87109‐2309
TRUCKS WEST, INC.             5010 JEFFERSON ST NE                                                                     ALBUQUERQUE        NM   87109‐2309
TRUCKS WEST, INC.             WILLIAM RILEY III              5010 JEFFERSON ST NE                                      ALBUQUERQUE        NM   87109‐2309
TRUCKSIS, DANIEL J            PO BOX 1510                                                                              WARREN             MI   48090‐1510
TRUCKSIS, JAMES L             484‐25 PYUNGCHANG‐DONG         CHONGNO‐GU                           SEOUL SOUTH KOREA
                                                                                                  110848
TRUCKSIS, JAMES L             PO BOX 9022                                                                              WARREN             MI   48090‐9022
TRUCKSKIN                     2807 CASS RD STE B1                                                                      TRAVERSE CITY      MI   49684‐6953
TRUCKSKIN LLC                 2807 CASS RD STE B1                                                                      TRAVERSE CITY      MI   49684‐6953
TRUCKSOURCE INC               2570 AMBASSADOR CT                                                                       HIGH POINT         NC   27265‐2474
TRUDA A BOLLING               395 OREGON ST                                                                            YPSILANTI          MI   48198‐7824
TRUDDIE CLARK                 7757 BRYDEN ST                                                                           DETROIT            MI   48210‐3300
TRUDE MARY                    113 EVANS MILL RD                                                                        NEW BERN           NC   28562‐8789
TRUDE SCHMELZLE               2334 RICHARD AVE                                                                         SAGINAW            MI   48603‐4130
TRUDE VOSSEN                  GERTA VOSSEN                   UFER STR 54                          ESCHWEILER 52249
                                                                                                  GERMANY
TRUDE, GEORGE                 198 PINE ST                                                                              LOCKPORT           NY   14094
TRUDE, WALTER B               3353 JUSTIN CIR                                                                          WEST PALM BEACH    FL   33417‐1227
TRUDE, WILLIAM H              PO BOX 394                                                                               NAPLES             NY   14512‐0394
TRUDEAU ROB                   TRUDEAU, ROB                   3375 POLLOCK ROAD                                         GRAND BLANC        MI   48439‐8393
TRUDEAU, ALVIN J              16410 WAYNE RD                                                                           LIVONIA            MI   48154‐2214
TRUDEAU, DIANNE C             2041 WISTERIA DR                                                                         JACKSON            MS   39204‐9204
TRUDEAU, GARY N               11041 LINDEN RD                                                                          LINDEN             MI   48451‐9465
TRUDEAU, GENEVA J             36927 EVANS                    PO BOX 271                                                NEW BOSTON         MI   48164
TRUDEAU, JAMES P              4421 SEEDEN ST                                                                           WATERFORD          MI   48329‐4060
TRUDEAU, JEAN M               PO BOX 444                                                                               HOUGHTON LAKE      MI   48629‐0444
TRUDEAU, JOSEPH O             187 GULL POINTE DR                                                                       BATTLE CREEK       MI   49037‐1028
TRUDEAU, JUANITA P            3421 VAN CAMPEN                                                                          FLINT              MI   48507‐3348
TRUDEAU, KELLY J              704 TRENTON PL                                                                           LANSING            MI   48917‐3962
TRUDEAU, MARY R               13475 BROOKDALE AVE                                                                      BROOK PARK         OH   44142‐2628
TRUDEAU, MICHELLE M           907 PEACH BLOSSOM CT                                                                     ROCHESTER HILLS    MI   48306‐3346
TRUDEAU, RAYMOND P            5718 MARSHALL RD                                                                         OLIVET             MI   49076‐9452
TRUDEAU, RAYMOND P            PO BOX 392                                                                               OLIVET             MI   49076‐0392
TRUDEAU, REGINALD L           24004 SE 42ND ST                                                                         ISSAQUAH           WA   98029‐7518
TRUDEAU, RICHARD J            PO BOX 332                                                                               BALL GROUND        GA   30107‐0332
TRUDEAU, ROB                  3375 POLLOCK RD                                                                          GRAND BLANC        MI   48439‐8393
TRUDEAU, ROB                  3375 POLLOCK ROAD                                                                        GRAND BLANC        MI   48439‐8393
TRUDEAU, ROBERT               TRUDEAU, ROB                   3375 POLLOCK RD                                           GRAND BLANC        MI   48439
TRUDEAU, RONALD E             120 HIGH BANKS TRL                                                                       ORTONVILLE         MI   48462‐9738
TRUDEAU, THOMAS H             157 EDDY DR                                                                              CARO               MI   48723‐1139
TRUDEAU, THOMAS K             38946 CHELDON ST                                                                         CLINTON TOWNSHIP   MI   48038
                          09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                            Part 37 of 40 Pg 517 of 901
Name                      Address1                       Address2            Address3         Address4         City            State Zip
TRUDEAU, TIMOTHY E        18900 STONEWOOD WAY                                                                  LAKE ELSINORE    CA 92530‐8339
TRUDEAU, TODD             1617 16TH AVE                                                                        MENOMINEE        MI 49858‐2651
TRUDEAU, W K              664 SUSSEX DR                                                                        JANESVILLE       WI 53546‐1914
TRUDEE B DAVIS            97 OHLTOWN RD.                                                                       YOUNGSTOWN       OH 44515‐2324
TRUDEE DAVIS              97 OHLTOWN RD                                                                        YOUNGSTOWN       OH 44515‐2324
TRUDEL MICHAEL            8500 FLOWERING CHERRY LN                                                             LAUREL           MD 20723‐1012
TRUDEL, LUCILLE           471 PULASKI BLVD                                                                     BELLINGHAM       MA 02019
TRUDELL I I I, ALFRED J   325 N IMPERIAL DR                                                                    TAWAS CITY       MI 48763‐9651
TRUDELL, CHERYL           4899 INGLEWOOD DR                                                                    MIDLAND          MI 48642‐6360
TRUDELL, CYNTHIA M        13 NORTH LAKE ROAD                                                                   ARMONK           NY 10504‐2232
TRUDELL, DAVID G          3809 MOUNT RAINIER DR                                                                LAKE ORION       MI 48360‐1996
TRUDELL, DENISE E         162 N HURON RD                                                                       LINWOOD          MI 48634‐9409
TRUDELL, DENNIS D         6515 N JEFFERSON AVE                                                                 MIDLAND          MI 48642‐8282
TRUDELL, GENE A           2752 W NORTH UNION RD LOT 38                                                         MIDLAND          MI 48642‐6553
TRUDELL, JACK T           PO BOX 702                                                                           AU GRES          MI 48703‐0702
TRUDELL, JAMES E          37564 WESTVALE ST                                                                    ROMULUS          MI 48174‐1043
TRUDELL, JEFF F           113 W GIER ST                                                                        LANSING          MI 48906
TRUDELL, JOSEPH A         161 E DADE 42                                                                        GREENFIELD       MO 65661‐9425
TRUDELL, MARK A           2163 S 5 MILE RD                                                                     MIDLAND          MI 48640‐9316
TRUDELL, MARK ANTHONY     2163 S 5 MILE RD                                                                     MIDLAND          MI 48640‐9316
TRUDELL, NORMAN T         9302 QUANDT AVE                                                                      ALLEN PARK       MI 48101‐1587
TRUDELL, PATRICK J        5440 LORRAINE CT                                                                     BAY CITY         MI 48706‐9738
TRUDELL, ROBERT E         7527 E GRANDVIEW CIR                                                                 MESA             AZ 85207‐3897
TRUDELL, ROBERT J         582 E TRUDY LN                                                                       MIDLAND          MI 48640‐9564
TRUDELL, RONALD G         1848 PINE TRL                                                                        EAST TAWAS       MI 48730‐9572
TRUDELL, SHIRLEY A        521 JANE ST                                                                          PINCONNING       MI 48650‐7516
TRUDELL, TERRY J          1101 LOCKWOOD RD                                                                     ORTONVILLE       MI 48462
TRUDELL, TERRY L          5601 ORMES RD                                                                        VASSAR           MI 48768‐9662
TRUDENCE PULLIAM          1202 RANDOLPH ST                                                                     SAGINAW          MI 48601
TRUDENCE R PULLIAM        1202 RANDOLPH ST                                                                     SAGINAW          MI 48601‐3864
TRUDEX INC                PO BOX 535                                                                           OXFORD           MI 48371‐0535
TRUDGEN, BRUCE W          4613 HAMPSHIRE DR                                                                    WILLIAMSBURG     MI 49690‐9337
TRUDGEN, KENNETH W        PO BOX 854                                                                           OWOSSO           MI 48867‐0854
TRUDGEN, STEVEN P         8675 ANROL AVE                                                                       SAN DIEGO        CA 92123‐3430
TRUDGEN, TOM              1212 COLUMBUS CIR APT D                                                              WILMINGTON       NC 28403
TRUDGEON JR, WILLIAM T    5888 HEYER ST                                                                        ROMULUS          MI 48174‐4002
TRUDGEON, ALBERT T        2010 HARRIET DR                                                                      TALLAHASSEE      FL 32303
TRUDGEON, DOROTHY J       2204 SUNNYSIDE AVE                                                                   LANSING          MI 48910‐3595
TRUDGEON, GERALD L        1933 JILL JANET ST                                                                   HARRISON         MI 48625‐8561
TRUDGEON, JAMES F         15012 OLD IRISH RD                                                                   MILLINGTON       MI 48746‐9235
TRUDGEON, LEON            35504 GRISWALD ST                                                                    CLINTON TWP      MI 48035‐2623
TRUDGEON, PAULINE W       6487 ROSSMAN HIGHWAY                                                                 POTTERVILLE      MI 48876‐9732
TRUDGEON, ROBERT D        4724 KESSLER DR                                                                      LANSING          MI 48910‐5323
TRUDGEON, ROBERT G        27429 VIRGINIA DR                                                                    WARREN           MI 48092‐3598
TRUDGEON, STEVEN E        6487 ROSSMAN HWY                                                                     POTTERVILLE      MI 48876‐9732
TRUDGEON, THOMAS F        10525 COLUMBIA HWY                                                                   EATON RAPIDS     MI 48827‐8303
TRUDI L HOLLOWAY          39530 ST.RT. 517                                                                     LISBON           OH 44432
TRUDIE BLAIR              45 MARNE ST                                                                          ROCHESTER        NY 14609‐2201
TRUDIE REED               2210 CRESTWOOD                                                                       PINE BLUFF       AR 71603‐3602
TRUDIE SPARKS             213 BLUE CREEK DR                                                                    O FALLON         MO 63366‐3907
TRUDO, CAROLYN D          9780 ALPINE                                                                          WALES            MI 48027‐4102
TRUDO, CAROLYN D          9780 ALPINE RD                                                                       WALES            MI 48027‐4102
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                   Part 37 of 40 Pg 518 of 901
Name                             Address1                         Address2                     Address3   Address4               City            State Zip
TRUDO, RICHARD C                 3366 N HURON RD                                                                                 PINCONNING       MI 48650‐7400
TRUDY A LOWREY                   916 BROOKMERE AVE                                                                               TIPP CITY        OH 45371
TRUDY A NOONAN                   1831 WOODSIDE CT                                                                                BAY CITY         MI 48708‐5497
TRUDY AGOSTINELLI                18 ABBINGTON DR NW                                                                              WARREN           OH 44481‐9002
TRUDY ARNDT                      11179 BARE DR                                                                                   CLIO             MI 48420‐1576
TRUDY BELLINGRODT                TRUSTEE                          2916 N HERITAGE ST                                             BUCKEYE          AZ 85396
TRUDY BOWDEN                     9607 VAN NUYS BLVD UNIT L                                                                       PANORAMA CITY    CA 91402‐1034
TRUDY C WADE                     2520 GREENVILLE RD                                                                              CORTLAND         OH 44410‐9648
TRUDY CARTER                     4221 LINDEN LN                                                                                  ANDERSON         IN 46011‐1733
TRUDY COBLE                      39 HELEN HOLCOMBE WAY                                                                           CANDLER          NC 28715‐7425
TRUDY DODSON                     70202 ELDRED RD                                                                                 BRUCE TWP        MI 48065‐4227
TRUDY ERHART                     3705 CARSON HWY                                                                                 ADRIAN           MI 49221‐1000
TRUDY FERGUSON                   1120 N APPERSON WAY                                                                             KOKOMO           IN 46901‐2934
TRUDY GABRIEL                    1518 NICHOLSON SCHOOLHOUSE RD                                                                   COLUMBIA         TN 38401‐6763
TRUDY H SZELEST                  8636 BRITTANIA DR                                                                               FORT MYERS       FL 33912
TRUDY HAGEDORN                   23 INGRAM RD                                                                                    LEOMA            TN 38468‐5044
TRUDY HALL                       913 FOREST BREEZE PATH                                                                          LEESBURG         FL 34748‐7270
TRUDY HOFF                       2406 W 1830 S                                                                                   SYRACUSE         UT 84075‐7127
TRUDY J HALL                     913 FOREST BREEZE PATH                                                                          LEESBURG         FL 34748‐7270
TRUDY J HATHAWAY                 2774 MAHAN DENMAN RD NW                                                                         BRISTOLVILLE     OH 44402‐9713
TRUDY K MEYERS                   LAMBERTON LAKE APARTMENTS 3116                                                                  GRAND RAPIDS     MI 49525
                                 PLAZA DRIVE NE APT C8
TRUDY KROLL                      1170 CANAL WAY                                                                                  OKEECHOBEE      FL   34974‐0414
TRUDY L MILHON                   2364 HARNESS WAY APT 22I                                                                        GREENWOOD       IN   46143‐6336
TRUDY MC EACHERN                 2221 STANTON AVE APT 3                                                                          DES MONIES      IA   50321‐2355
TRUDY MCKAY                      4237 N LAPEER RD                                                                                LAPEER          MI   48446‐8616
TRUDY MEYERS                     LAMBERTON LAKE APARTMENTS        3116 PLAZA DR NE                                               GRAND RAPIDS    MI   49525
TRUDY MILHON                     2364I HARNESS WAY                                                                               GREENWOOD       IN   46143
TRUDY MISION                     801 S MUMAUGH RD APT 12A                                                                        LIMA            OH   45804‐3579
TRUDY NOBLE                      35741 BIBBINS ST                                                                                ROMULUS         MI   48174‐1426
TRUDY OSWALT                     3201 SPRINGBROOK DR                                                                             LAMBERTVILLE    MI   48144‐9625
TRUDY PERKINS                    669 S COUNTY RD 300 E                                                                           ANDERSON        IN   46017
TRUDY PERRY                      48665 VINTAGE LN                                                                                MACOMB          MI   48044‐2154
TRUDY RIGSBEE                    4470 S 500 E                                                                                    GAS CITY        IN   46933‐1609
TRUDY SHELDEN                    1046 S WAVERLY RD                                                                               EATON RAPIDS    MI   48827‐9736
TRUDY SMILEY                     10083 OAK RD                                                                                    OTISVILLE       MI   48463‐9791
TRUDY STASIAK                    44825 ASPEN RIDGE DR                                                                            NORTHVILLE      MI   48168‐4435
TRUDY TABOR                      2040 WALNUT CREEK DR                                                                            FLINT           MI   48532‐2255
TRUDY TRESSLER                   2502 LAKEWOOD DR                                                                                ADRIAN          MI   49221‐4635
TRUDY VARNADO                    7512 SPRINGLAKE DR                                                                              NEW ORLEANS     LA   70126‐3051
TRUDY WADE                       2520 GREENVILLE RD                                                                              CORTLAND        OH   44410‐9648
TRUDY WEBER                      1978 SE LADD AVE                                                                                PORTLAND        OR   97214
TRUDY WILES                      617 FLINT RD APT 3                                                                              BRIGHTON        MI   48116
TRUDY WILLARD                    9509 E 65TH TER                                                                                 RAYTOWN         MO   64133‐5827
TRUE CENTER MUFFLER AND BRAKES   567 MCGAUGHEY AVE                                                        NORTH BAY ON P1B 1W6
                                                                                                          CANADA
TRUE CENTRE MUFFLER              479 ELMIRA RD. N                                                         GUELPH ON N1K 1C2
                                                                                                          CANADA
TRUE CENTRE MUFFLER AND BRAKE    1275 PEMBROKE ST W                                                       PEMBROKE ON K8A 5R3
                                                                                                          CANADA
TRUE DENNIS (634240)             FRASIER FRASIER & HICKMAN        2038 WEST PARK AVENUE 1700                                     TULSA           OK 74101
                                                                  SOUTHWEST BOULEVARD
                                  09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                        Part 37 of 40 Pg 519 of 901
Name                              Address1                             Address2                         Address3   Address4             City            State Zip
TRUE GILLES                       3010 WEISS ST                                                                                         SAGINAW          MI 48602‐3563
TRUE HUTCHCRAFT                   13361 CARIBBEAN BLVD                                                                                  FORT MYERS       FL 33905‐2032
TRUE HUTCHISON, KARRIS            4842 RHONE DR                                                                                         MAUMEE           OH 43537‐8939
TRUE INDUSTRIAL COPRORATION DBA   15300 TWELVE MILE RD                                                                                  ROSEVILLE        MI 48066
TRUE INDUSTRIES INC
TRUE INDUSTRIAL COPRORATION DBA   ATTN: CORPORATE OFFICER/AUTHORIZED   15300 E 12 MILE RD                                               ROSEVILLE       MI 48066‐1835
TRUE INDUSTRIES INC               AGENT
TRUE INDUSTRIES INC               15300 E 12 MILE RD                                                                                    ROSEVILLE       MI    48066‐1835
TRUE INDUSTRIES INC               KURT NANNEY                          15300 TWELVE MILE ROAD                                           PORTAGE         MI    49001
TRUE INDUSTRIES INC               666 PRATT ST                         PO BOX 769                                                       RAVENNA         OH    44266‐3161
TRUE JAMES J (429962)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA    23510
                                                                       STREET, SUITE 600
TRUE JR, ARTIE E                  PO BOX 181                                                                                            RICHMOND        MO    64085‐0181
TRUE JR, GEORGE O                 106 RIVER BIRCH RD                                                                                    AIKEN           SC    29803‐1014
TRUE JR, JOHN W                   312 N 6TH ST                                                                                          CRYSTAL FALLS   MI    49920‐1219
TRUE SPEED                        TONY STEWART                         5644 WEST 74TH STREET,                                           INDIANAPOLIS    IN    46278
                                                                       INDIANAPOLIS
TRUE SPEED ENTERPRISES            5644 W 74TH ST                                                                                        INDIANAPOLIS     IN   46278‐1752
TRUE SPEED ENTERPRISES III INC    5644 W 74TH ST                                                                                        INDIANAPOLIS     IN   46278‐1752
TRUE SPEED ENTERPRISES INC        5644 W 74TH ST                                                                                        INDIANAPOLIS     IN   46278‐1752
TRUE SPEED ENTERPRISES, INC.      BRETT FROOD                          5644 W 74TH ST                                                   INDIANAPOLIS     IN   46278‐1752
TRUE SPEED MOTORSPORTS            TONY STEWART                         5671 W. 74TH ST., INDIANAPOLIS                                   12 MILE          IN   46279
TRUE SPEED MOTORSPORTS INC        5644 W 74TH ST                                                                                        INDIANAPOLIS     IN   46278‐1752
TRUE SPEED MOTORSPORTS INC        ATTN: CORPORATE OFFICER/AUTHORIZED   5644 W 74TH ST                                                   INDIANAPOLIS     IN   46278‐1752
                                  AGENT
TRUE VALUE AUTOMOTIVE             875 NOTRE DAME AVE                                                               SUDBURY ON P3A 2T2
                                                                                                                   CANADA
TRUE VALUE COMPANY                8600 W BRAWN MAWR AVE                                                                                 CHICAGO          IL   60631
TRUE VALUE COMPANY                8600 W BRYN MAWR AVE                                                                                  CHICAGO          IL   60631
TRUE VALUE COMPANY                JOHN STRAUSS                         320 S DIVISION ST                                                HARVARD          IL   60033‐3247
TRUE WAGONER JR                   1223 W BLUBAUGH AVE                                                                                   THORNTOWN        IN   46071‐9199
TRUE WORLD HOLDINGS AND ITS       JOSH ONISHI                          24 LINK DR                                                       ROCKLEIGH        NJ   07647‐2504
SUBSIDIARIES
TRUE, BARBARA A                   63 LINVALE RD                                                                                         RINGOES         NJ    08551‐1415
TRUE, BERTHEL D                   GUY WILLIAM S                        PO BOX 509                                                       MCCOMB          MS    39649‐0509
TRUE, BILLY D                     3188 S MERIDIAN RD                                                                                    GREENFIELD      IN    46140‐9250
TRUE, CHERYL A                    8816 LAMAR AVE                                                                                        OVERLAND PARK   KS    66207‐2071
TRUE, DAROLD L                    19776 74TH ST                                                                                         MC LOUTH        KS    66054‐4292
TRUE, DEBORAH J                   2891 BLOOMSBURY SOUTH                                                                                 GREENWOOD       IN    46143‐7163
TRUE, DONALD A                    3295 FLOYD SPRINGS RD NE                                                                              ARMUCHEE        GA    30105‐2640
TRUE, DONNA M                     19776 74TH ST                                                                                         MC LOUTH        KS    66054
TRUE, JACKIE L                    4327 RUTGERS DRIVE                                                                                    ANDERSON        IN    46013‐4440
TRUE, JACKIE L                    C/O VICTORIA LEE ALKOVE              4327 RUTGERS DR                                                  ANDERSON        IN    46013‐4440
TRUE, JAMES J                     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA    23510‐2212
                                                                       STREET, SUITE 600
TRUE, JAMES L                     3525 BLOCKER DR                                                                                       KETTERING       OH    45420‐1017
TRUE, JEANETTE F                  4327 RUTGERS DRIVE                                                                                    ANDERSON        IN    46013‐4440
TRUE, JEANETTE F                  C/O VICTORIA LEE ALKOVE              4327 RUTGERS DR                                                  ANDERSON        IN    46013‐4440
TRUE, JEFFREY S                   133 DENI DR                                                                                           WATERFORD       MI    48327‐4301
TRUE, KELLI J                     246 E 600 N                                                                                           ALEXANDRIA      IN    46001‐8612
TRUE, LAURIE L                    10233 HEATHER RIDGE CT                                                                                GOODRICH        MI    48438‐9063
TRUE, LAURIE LYNNE                10233 HEATHER RIDGE CT                                                                                GOODRICH        MI    48438‐9063
                           09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                             Part 37 of 40 Pg 520 of 901
Name                       Address1                       Address2                 Address3    Address4         City               State Zip
TRUE, LEE E                108 N EASTWOOD AVE                                                                   MUNCIE              IN 47303‐4323
TRUE, MARGARET R           1000 PHYLLIS DR                C/O LINDA LOU CATEY                                   NEW CASTLE          IN 47362‐1442
TRUE, PAUL E               749 N MADISON ST                                                                     FORTVILLE           IN 46040‐1155
TRUE, RALPH S              205 MARTIN DR                                                                        ALPHARETTA          GA 30004‐3357
TRUE, REBECCA E            18 S MUSTIN DR                                                                       ANDERSON            IN 46012‐3154
TRUE, RICHARD D            3995 M‐113                                                                           KINGSLEY            MI 49649
TRUE, RONALD P             303 BAKER ST                                                                         FORTVILLE           IN 46040‐1402
TRUE, ROSEMARY             330 PIERCE RD                                                                        JAMESTOWN           TN 38556‐5150
TRUE, STEVE M              23A BIRWOODE DR                                                                      PONTIAC             MI 48340
TRUE, THELMA D             PO BOX 198                                                                           SULPHUR SPGS        IN 47388‐0198
TRUE, THELMA D             BOX 198                                                                              SULPHUR SPRGS       IN 47388‐0198
TRUE, THOMAS B             217 CUSHING AVE.                                                                     KETTERING           OH 45429‐2605
TRUE, WILLIAM J            8816 LAMAR AVE                                                                       OVERLAND PARK       KS 66207‐2071
TRUEAX, JEAN E             709 BROOKWOOD LN E                                                                   ROCHESTER HLS       MI 48309‐1514
TRUEBLOOD JR, CHARLES      13155 PEACH ST                                                                       SOUTHGATE           MI 48195‐1623
TRUEBLOOD JR, CHARLES      13155 PEACH STREET                                                                   SOUTHGATE           MI 48195‐1623
TRUEBLOOD TIMOTHY J        1041 CHIPMUNK LN                                                                     PENDLETON           IN 46064‐9167
TRUEBLOOD, DELORES         3374 S. 250 E.                                                                       KOKOMO              IN 46902‐9248
TRUEBLOOD, DELORES         3374 S 250 E                                                                         KOKOMO              IN 46902‐9248
TRUEBLOOD, ENCIL L         PO BOX 3093                                                                          KOKOMO              IN 46904‐3093
TRUEBLOOD, GERALDINE I     20728 MYSTIC WAY                                                                     NORTH FORT MYERS    FL 33917‐7757
TRUEBLOOD, HARLEY J        APT 112                        1118 WEST CROSS STREET                                ANDERSON            IN 46011‐9532
TRUEBLOOD, HARLEY J        1118 W CROSS ST APT 112                                                              ANDERSON            IN 46011‐9532
TRUEBLOOD, JACK L          724 W JEFFERSON ST                                                                   ALEXANDRIA          IN 46001‐1733
TRUEBLOOD, JOHN R          3953 JORDAN VILLAGE RD                                                               POLAND              IN 47868‐7144
TRUEBLOOD, LARRY S         28255 W CHICAGO ST                                                                   LIVONIA             MI 48150‐3243
TRUEBLOOD, MARY O          9694 S STATE ROAD 9                                                                  PENDLETON           IN 46064‐9510
TRUEBLOOD, MARY O          9694 S STATE RD 9                                                                    PENDLETON           IN 46064‐9510
TRUEBLOOD, MICHAEL         5308 LIZ LN                                                                          CHESTERFIELD        IN 46017‐9669
TRUEBLOOD, MICHAEL G       1296 CHURCH CAMP RD                                                                  BEDFORD             IN 47421‐7480
TRUEBLOOD, MICHAEL L       5308 LIZ LN                                                                          CHESTERFIELD        IN 46017‐9669
TRUEBLOOD, MILDRED B       4492 N 1100 E                                                                        GREENTOWN           IN 46936‐9546
TRUEBLOOD, MYRTLE C        2425 CENTRAL AVE                                                                     ANDERSON            IN 46016
TRUEBLOOD, RICHARD         219 N GROUT RD                                                                       GLADWIN             MI 48624‐9339
TRUEBLOOD, RICHARD D       481 KAWAILOA RD                                                                      KAILUA              HI 96734
TRUEBLOOD, ROBERT L        316 ELVA ST                                                                          ANDERSON            IN 46013‐4663
TRUEBLOOD, RODNEY L        6436 PEPPERWOOD DRIVE                                                                BURLINGTON          KY 41005‐8167
TRUEBLOOD, SANDRA S        PO BOX 3093                                                                          KOKOMO              IN 46904‐3093
TRUECHOICE SOLUTIONS INC   200 E 69TH ST APT 4N                                                                 NEW YORK            NY 10021‐5740
TRUED, KATHLEEN S          2 DONDANVILLE RD UNIT 303                                                            ST AUGUSTINE        FL 32080‐7405
TRUEFORM MANUFACTURING     3002 LEE HWY                                                                         ATHENS              TN 37303‐5062
TRUEFORM MANUFACTURING     CAROL POE                      3002 LEE HIGHWAY                                      LIVONIA             MI 48150
TRUEFORM MANUFACTURING     CAROL POE                      3002 LEE HWY                                          ATHENS              TN 37303‐5062
TRUEFORM/ATHENS            3002 LEE HWY                                                                         ATHENS              TN 37303‐5062
TRUEHART GARY              TRUEHART, GARY M               PO BOX 235                                            SEA GIRT            NJ 08750‐0235
TRUEHART, GARY
TRUEHART, GARY M           CLARK & DISTEFANO              PO BOX 235                                            SEA GIRT           NJ   08750‐0235
TRUELL, KENNETH M          6556 WILLOW LN                                                                       WINSTON            GA   30187‐1653
TRUELOCK, DEBORAH L        12712 BURR OAK RD                                                                    NEWALLA            OK   74857‐9307
TRUELOCK, RICKEY L         12712 BURR OAK RD                                                                    NEWALLA            OK   74857‐9307
TRUELOVE ROBERTS, JANICE   SCARBROUGH JERRY               503B N 4TH ST                                         KILLEEN            TX   76541‐4865
TRUELOVE, ANTHONY J        50121 WANDA CT                                                                       MACOMB             MI   48044‐1347
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                  Part 37 of 40 Pg 521 of 901
Name                           Address1                         Address2                         Address3   Address4         City            State Zip
TRUELOVE, DALE A               30158 LONG BEACH LN                                                                           GRAVOIS MILLS    MO 65037‐4423
TRUELOVE, DAVID I              32995 GARFIELD RD                C/O FAMILY OPTION SERVICES INC                               FRASER           MI 48026‐3849

TRUELOVE, DAVID I              C/O FAMILY OPTION SERVICES INC   32995 GARFIELD                                               FRASER          MI   48026
TRUELOVE, JANET E              RR 4 BOX 54A                                                                                  GRAP MILLS      WV   24941
TRUELOVE, KIM D                17207 HIGHWAY 102                                                                             SHAWNEE         OK   74801‐5632
TRUELOVE, LAWANA               17207 HWY 102                                                                                 SHAWNEE         OK   74801
TRUELOVE, LEROY                20264 RUSSELL ST                                                                              DETROIT         MI   48203‐1296
TRUELSON, SUSAN M              4908 BRYANT AVE N                                                                             MINNEAPOLIS     MN   55430‐3539
TRUEMAN, LEE                   749 BERTINA LN                                                                                TRAVERSE CITY   MI   49686‐8644
TRUEMAN, RAYMOND C             306 CANTERBURY DR                                                                             HURON           OH   44839‐1492
TRUEMAN, SHARLENE              749 BERTINA LN                                                                                TRAVERSE CITY   MI   49686
TRUEMNER, RODNEY J             79 E BAY ST                                                                                   SEBEWAING       MI   48759‐1401
TRUER III, JOHN                30 SOUTH LINCOLN STREET                                                                       ROCKFORD        MI   49341‐1314
TRUESDAIL, RICHARD M           5275 FRAN DR                                                                                  GRAND BLANC     MI   48439‐7647
TRUESDAIL, RICHARD MORTON      5275 FRAN DR                                                                                  GRAND BLANC     MI   48439‐7647
TRUESDALE CHRISTY              303 HIGHWAY 145 N                                                                             CHESTERFIELD    SC   29709‐9184
TRUESDALE, AGNES S             4978 OAKWOOD PK RR #6                                                                         JANESVILLE      WI   53545‐9088
TRUESDALE, AGNES S             4226 HUNTINGHORNE DR                                                                          JANESVILLE      WI   53546‐3538
TRUESDALE, ARLENE              19 STONELEDGE CT                                                                              BUFFALO         NY   14221‐4809
TRUESDALE, CURTIS E            4729 LONE TREE COURT                                                                          CHARLOTTE       NC   28269‐8230
TRUESDALE, LAWRENCE R          125 WILLIAM ST                                                                                W CARROLLTON    OH   45449‐1239
TRUESDALE, TONY E              2911 VALLEYVIEW DR                                                                            FAIRBORN        OH   45324‐2253
TRUESDALE, WALTER M            19 STONELEDGE CT                                                                              BUFFALO         NY   14221‐4809
TRUESDELL, BETTY               G‐4233 PEACOCK DR                                                                             FLINT           MI   48532
TRUESDELL, BETTY J             G‐4233 PEACOCK DR                                                                             FLINT           MI   48532‐4346
TRUESDELL, DELORES             2501 LOCUST GROVE RD                                                                          KEAVEY          KY   40737
TRUESDELL, JANICE L            4 COBBLESTONE LN                                                                              WILLIAMSVILLE   NY   14221‐1663
TRUESDELL, JOEL N              1586 HALL RD 59                                                                               CASSATT         SC   29032
TRUESDELL, MARJORIE            1170 CRESTWOOD LN                                                                             HOWELL          MI   48843‐8541
TRUESDELL, MARY J              172 BITTERSWEET DR                                                                            GALLIPOLIS      OH   45631‐9601
TRUESDELL, ROGER THOMAS        6834 LATHERS ST                                                                               GARDEN CITY     MI   48135‐2265
TRUESDELL, RONALD E            32515 MAPLEWOOD ST                                                                            GARDEN CITY     MI   48135‐1634
TRUESDELL, THERESA E           6834 LATHERS ST                                                                               GARDEN CITY     MI   48135‐2265
TRUESDELL, THERESA ELIZABETH   6834 LATHERS ST                                                                               GARDEN CITY     MI   48135‐2265
TRUESON, MICHAEL               1100 S BROAD ST UNIT 301B                                                                     PHILADELPHIA    PA   19146
TRUESPORTS INC                 545 METRO PL S STE 400                                                                        DUBLIN          OH   43017‐3386
TRUETECH CONTROLS INC          356 SKILLMAN RD                  PO BOX 77                                                    SKILLMAN        NJ   08558‐1521
TRUETT COLEMAN                 21240 RIDGEDALE ST                                                                            OAK PARK        MI   48237‐2782
TRUETT HAMBY                   PO BOX 224921                                                                                 DALLAS          TX   75222‐4921
TRUETT JR, JAMES R             9317 MOSS TRL                                                                                 DALLAS          TX   75231‐1409
TRUETT MCCONNELL COLLEGE       100 ALUMNI DR                                                                                 CLEVELAND       GA   30528‐1264
TRUETT, CONNIE J               5330 E VIENNA RD                                                                              CLIO            MI   48420‐9771
TRUETT, CONNIE JO              5330 E VIENNA RD                                                                              CLIO            MI   48420‐9771
TRUETT, DONNIE W               184 REAVESVILLE RD                                                                            BOWDON          GA   30108‐2868
TRUETT, GARY L                 194 MONROE DR                                                                                 DAVISON         MI   48423‐8549
TRUETT, GENE                   84 SAM HOUSE RD                                                                               BREMEN          GA   30110‐4046
TRUETT, JERRY D                4925 BURRUSS MILL RD                                                                          CUMMING         GA   30041‐8819
TRUETT, JOHN H                 4817 PAGE DR                                                                                  METAIRIE        LA   70003‐1131
TRUETT, JONATHAN
TRUETT, LARRY H                5330 E VIENNA RD                                                                              CLIO            MI 48420‐9771
TRUETT, MARGARET M             429 KNOTTY PINE RD                                                                            DARLINGTON      SC 29532‐6118
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                  Part 37 of 40 Pg 522 of 901
Name                           Address1                         Address2           Address3         Address4         City              State Zip
TRUETT, TAMERA K               5123 MARILYN DR                                                                       FLINT              MI 48506‐1578
TRUEX MARY LOU                 PO BOX 65                                                                             NAPPANEE           IN 46550‐0065
TRUEX, AARON G
TRUEX, ANDREW J                835 EDGEFIELD WAY                                                                     BOWLING GREEN     KY   42104‐4214
TRUEX, ANDREW JAMES            835 EDGEFIELD WAY                                                                     BOWLING GREEN     KY   42104‐4214
TRUEX, CHERYL F                2594 E 100 N                                                                          ANDERSON          IN   46012‐9230
TRUEX, EDDIE D                 7831 FREEDOM ARNEY RD                                                                 FREEDOM           IN   47431‐7135
TRUEX, JAMES L                 405 E HALE LAKE RD                                                                    WARRENSBURG       MO   64093‐3026
TRUEX, JON M                   507 NORTH 10TH STREET                                                                 MIDDLETOWN        IN   47356‐1203
TRUEX, MARK E                  14100 SEACRIST RD                                                                     SALEM             OH   44460‐7628
TRUEX, MARTHA T                3801 N 375 E                                                                          ANDERSON          IN   46012‐9492
TRUEX, MARTHA T                3801N 380E                                                                            ANDERSON          IN   46012‐9492
TRUEX, NELLA R                 1074 ELIZABETH AVE                                                                    MANSFIELD         OH   44903‐8959
TRUEX, OLIVER V                244 JOY LN                                                                            NEW CONCORD       KY   42076‐9221
TRUEX, RALPH E                 1240 E 690 S                                                                          WOLCOTTVILLE      IN   46795‐9558
TRUEX, RUTH L                  16 EAGLE DR                                                                           MOUNT VERNON      OH   43050
TRUEX, SHERRY L                3023 COVENTRY COURT                                                                   COCOA             FL   32926
TRUEX, TOBIN                   1621 BROADMOOR CT                                                                     GRIMESLAND        NC   27837
TRUEX, TOBIN V                 621 BROADMOOR CT                                                                      GRIMESLAND        NC   27837
TRUEX, VICKIE F                2420 VAN BUSKIRK RD                                                                   ANDERSON          IN   46011‐1047
TRUEX, WILLIAM E               106 SANFORD RD                                                                        PENNSVILLE        NJ   08070‐3110
TRUEX, WILLIAM EDWARD          106 SANFORD RD                                                                        PENNSVILLE        NJ   08070‐3110
TRUEX, WILLIAM J               54403 MOUNT VICTORY RD                                                                POWHATAN POINT    OH   43942‐9730
TRUFFA, DAVID E                1274 HIGHWAY 55 W                                                                     FALKVILLE         AL   35622‐5810
TRUFFA, LOUIS A                1274 HIGHWAY 55 W                                                                     FALKVILLE         AL   35622‐5810
TRUFORM RUBBER                 JOHN STROH                       5285 HUDSON DR.                                      MILLINGTON        MI   48746
TRUFORM RUBBER PRODUCTS INC    5285 HUDSON DR 6/8/07 GJ                                                              HUDSON            OH   44236
TRUFORM RUBBER PRODUCTS INC    JOHN STROH                       5285 HUDSON DR.                                      MILLINGTON        MI   48746
TRUFORM RUBBER/HUDSO           5285 HUDSON DR                                                                        HUDSON            OH   44236‐3737
TRUGLIO ANNAMARIE              4 POND LN                                                                             ROCK HILL         NY   12775‐6514
TRUGREEN                       PO BOX 182040                    MACOMB BRANCH                                        SHELBY TWP        MI   48318‐2040
TRUGREEN CHEMLAWN              2711 COMMERCE DR                 PO BOX 81030                                         ROCHESTER HILLS   MI   48309‐3815
TRUGREEN CHEMLAWN              71 SKYVIEW DR                                                                         CHESTERFIELD      IN   46017‐1056
TRUGREEN CHEMLAWN              12401 ECKEL RD                                                                        PERRYSBURG        OH   43551‐6015
TRUGREEN CHEMLAWN YOUNGSTOWN   8529 SOUTH AVE                                                                        YOUNGSTOWN        OH   44514‐3621
6680
TRUGREEN LANDCARE                                               5512 VINE ST                                                           VA   22310
TRUGREEN LIMITED PARTNERSHIP   860 RIDGE LAKE BLVD/MC C1‐1062                                                        MEMPHIS           TN   38120
TRUGREEN LIMITED PARTNERSHIP   860 RIDGE LK BLVD/MC C1‐1062                                                          MEMPHIS           TN   38120
TRUGREEN LTD PTN               50526 CORPORATE DR                                                                    MACOMB            MI   48044‐1007
TRUHAN TRUCKING                4735 W 150TH ST                                                                       CLEVELAND         OH   44135
TRUHAN, ANDREW P               13155 MERGANZER CT                                                                    LINDEN            MI   48451‐8413
TRUHAN, BARBARA J              1120 BURNS ST                                                                         MOUNT MORRIS      MI   48458‐1113
TRUHAN, DANIEL J               7841 BROOKWOOD N.E.                                                                   WARREN            OH   44484‐1544
TRUHAN, EDWARD D               154 ANGLEWOOD DR                                                                      CROSSVILLE        TN   38558‐4015
TRUHAN, MARY P                 7841 BROOKWOOD N.E.                                                                   WARREN            OH   44484‐1544
TRUHLIK II, EDWARD             3875 NEW RD                                                                           RANSOMVILLE       NY   14131
TRUHLIK, DIANE L               3875 NEW RD                                                                           RANSOMVILLE       NY   14131‐9650
TRUHLIK, EDWARD                612 GALLEY CT                                                                         HAMPSTEAD         NC   28443‐3634
TRUHN, GARY E                  2520 LANSDOWNE RD                                                                     WATERFORD         MI   48329‐2936
TRUHN, NICHOLAS F              6431 HOLLYHOCK TRL                                                                    BRIGHTON          MI   48116‐2207
TRUING SYSTEMS INC             1060 CHICAGO RD                                                                       TROY              MI   48083‐4203
                            09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                               Part 37 of 40 Pg 523 of 901
Name                        Address1                        Address2                          Address3                    Address4         City            State Zip
TRUING SYSTEMS/TROY         1060 CHICAGO RD                                                                                                TROY             MI 48083‐4203
TRUIS PARTIN                2011 HUDSON AVE                                                                                                NORWOOD          OH 45212‐3801
TRUIT, LEROY E              291 STARR AVE                                                                                                  PONTIAC          MI 48341‐1862
TRUITT JESSE E (351599)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK          VA 23510
                                                            STREET, SUITE 600
TRUITT JR, PRESTON S        53 MAPLEDALE AVE                                                                                               GLEN BURNIE     MD   21061‐1959
TRUITT JR, PRESTON SHELLY   1001 TECUMSEH TRL                                                                                              HEDGESVILLE     WV   25427‐3884
TRUITT PHARIS               PO BOX 645                                                                                                     MIDDLEBURG      FL   32050‐0645
TRUITT PHARIS               2919 BLACK CREEK DR                                                                                            MIDDLEBURG      FL   32068‐5717
TRUITT ROBERT J (338354)    JACOBS & CRUMPLAR P.A.          PO BOX 1271                       2 EAST 7TH ST                                WILMINGTON      DE   19899‐1271
TRUITT SHIRLEY B            WISE & JULIAN                   156 N MAIN ST                     STOP 1                                       EDWARDSVILLE    IL   62025‐1972
TRUITT, AARON               35709 GARNER ST                                                                                                ROMULUS         MI   48174‐4127
TRUITT, BEVERLEY K          15919 SHILLING RD                                                                                              BERLIN CENTER   OH   44401
TRUITT, CHARLES             243 WELDON ST                                                                                                  ROCHESTER       NY   14611‐4029
TRUITT, CHARLES E           905 MAPLE ST                                                                                                   MIDDLETOWN      IN   47356‐1242
TRUITT, DWAYNE A            2248 PLANTATION DR                                                                                             EAST POINT      GA   30344‐2119
TRUITT, EARL C              1113 SCHOOL ST                                                                                                 COLUMBIA        TN   38401‐3648
TRUITT, EDITH M             13843 AKRON‐CANFIELD RD.                                                                                       BERLIN CENTER   OH   44401‐9752
TRUITT, EDITH M             13843 W AKRON CANFIELD RD                                                                                      BERLIN CENTER   OH   44401‐9752
TRUITT, ETHEL P             145 N SPRING ST APT #6                                                                                         GREENFIELD      IN   46140‐2160
TRUITT, FRANKIE M           2813 FAWKES DR                                                                                                 WILMINGTON      DE   19808‐2153
TRUITT, GREGORY L           2616 N CHURCH ST                                                                                               WILMINGTON      DE   19802‐4432
TRUITT, HORACE              2189 GLORY LN APT 120                                                                                          YPSILANTI       MI   48197‐5046
TRUITT, HORACE              APT 120                         2189 GLORY LANE                                                                YPSILANTI       MI   48197‐5046
TRUITT, JAMES H             651 FRANKLIN ST                                                                                                ELIZABETH       NJ   07206‐1210
TRUITT, JERELINE J          PO BOX 27186                                                                                                   DETROIT         MI   48227‐0186
TRUITT, JESSE E             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
TRUITT, JOAN                243 WELDON ST                                                                                                  ROCHESTER       NY   14611‐4029
TRUITT, JOHN A              15590 LUCERNE RD                                                                                               FREDERICKTOWN   OH   43019‐9564
TRUITT, JOHN P              8416 WHITUS DR                                                                                                 EL PASO         TX   79925‐3933
TRUITT, KRIS D              2248 PLANTATION DR                                                                                             EAST POINT      GA   30344‐2119
TRUITT, LARRY W             14667 HOYLE RD                                                                                                 BERLIN CENTER   OH   44401‐8767
TRUITT, LUMAS               30 SCHAUF AVE                                                                                                  BUFFALO         NY   14211‐1036
TRUITT, MARY E              67701 SISSON ST                                                                                                WASHINGTON      MI   48095‐1366
TRUITT, PAUL L              347 INDIANWOOD BLVD                                                                                            PARK FOREST     IL   60466‐2362
TRUITT, PHILLIP M           6746 LEATHERWOOD RD                                                                                            SOUTH SHORE     KY   41175‐9136
TRUITT, RALPH               1948 HARMON ST                                                                                                 YPSILANTI       MI   48198‐6616
TRUITT, ROBERT              PORTER & MALOUF PA              4670 MCWILLIE DR                                                               JACKSON         MS   39206‐5621
TRUITT, ROBERT J            JACOBS & CRUMPLAR P.A.          PO BOX 1271                       2 EAST 7TH ST,                               WILMINGTON      DE   19899‐1271
TRUITT, RONALD S            10281 STRATTON RD.                                                                                             SALEM           OH   44460‐9641
TRUITT, SHIRLEY B           GORI JULIAN & ASSOCIATES PC     156 N MAIN ST                                                                  EDWARDSVILLE    IL   62025
TRUITT, STEVEN              6245 S. POND POINTE                                                                                            GRAND BLANC     MI   48439
TRUITT, TRACY               700 W MEADOW AVE                                                                                               SPRINGDALE      AR   72764‐4462
TRUITT, VIRGIL              1870 CAMPBELLTON RD             MAILBOX 243 # E12                                                              ATLANTA         GA   30311
TRUITT, WILLIE J            3880 PLEASANT OAKS DR                                                                                          LAWRENCEVILLE   GA   30044‐7617
TRUITT, ZOLA                SHANNON LAW FIRM                100 W GALLATIN ST                                                              HAZLEHURST      MS   39083‐3007
TRUJILLO ANTANCIO           TRUJILLO, CARLA IVETTE          LAW DOUGLAS D                     3131 CAMINO DEL RIO NORTH                    SAN DIEGO       CA   92108
                                                                                              SUITE 290
TRUJILLO ANTANCIO           TRUJILLO, ANTANCIO              3131 CAMINO DEL RIO NORTH SUITE                                                SAN DIEGO       CA 92108
                                                            290
TRUJILLO DENNIS             TRUJILLO, DENNIS                542 S NEWTON ST                                                                DENVER          CO 80219‐2630
                             09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                 Part 37 of 40 Pg 524 of 901
Name                         Address1                         Address2                         Address3   Address4         City            State Zip
TRUJILLO JR, JOSE A          9709 BENTON ST NW                                                                             ALBUQUERQUE      NM 87114‐6012
TRUJILLO MIRANDA JOSE        MIRANDA, JOSE TRUJILLO
TRUJILLO VIVIAN S (498347)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK         VA 23510
                                                              STREET, SUITE 600
TRUJILLO, ALBERT M           11057 TELFAIR AVE                                                                             PACOIMA         CA   91331‐2737
TRUJILLO, ALFONSO L          12951 HAGAR ST                                                                                SYLMAR          CA   91342‐4811
TRUJILLO, ALVARO O           39149 MONTANA DR # 256                                                                        ROMULUS         MI   48174
TRUJILLO, ANTANCIO           LAW DOUGLAS D                    3131 CAMINO DEL RIO N STE 290                                SAN DIEGO       CA   92108‐5703
TRUJILLO, ANTHONY J          6207 ST LEONARD DR                                                                            ARLINGTON       TX   76001‐7848
TRUJILLO, ANTHONY R          12449 ORCHARD WOOD DR                                                                         FENTON          MI   48430‐8433
TRUJILLO, ANTHONY T          22822 N 103RD AVE                                                                             PEORIA          AZ   85383‐2742
TRUJILLO, ANTONIO
TRUJILLO, ARIANNA M          38716 N NATIONAL TRL                                                                          ANTHEM          AZ   85086‐2792
TRUJILLO, ARTHUR             3701 FDR 103                                                                                  ANTONITO        CO   81120‐9001
TRUJILLO, ARTHUR             1500 TILDEN ST                                                                                WICHITA FALLS   TX   76309‐2232
TRUJILLO, CARLA IVETTE       LAW DOUGLAS D                    3131 CAMINO DEL RIO N STE 290                                SAN DIEGO       CA   92108‐5703
TRUJILLO, CARLOS             2105 ROSS                                                                                     FORT WORTH      TX   76106‐8172
TRUJILLO, CARLOS             2105 ROSS AVE                                                                                 FORT WORTH      TX   76164‐8172
TRUJILLO, CARLOS O           1717 OKLAHOMA AVE                                                                             FLINT           MI   48506‐4623
TRUJILLO, CARMEN K           32271 ITHACA ST                                                                               HAYWARD         CA   94544‐8147
TRUJILLO, CELESTINO          PO BOX 404                                                                                    LA JARA         CO   81140‐0404
TRUJILLO, CRUZ               1211 E 13 MILE RD                                                                             ROYAL OAK       MI   48073‐2844
TRUJILLO, CYNTHIA
TRUJILLO, DAVID J            1717 OKLAHOMA AVE                                                                             FLINT           MI   48506‐4623
TRUJILLO, DENNIS             542 S NEWTON ST                                                                               DENVER          CO   80219‐2630
TRUJILLO, DIANA              PO BOX 326                                                                                    LA JARA         CO   81140‐0326
TRUJILLO, DORIS N            2719 NORTH SCHOOL ST                                                                          PIXLEY          CA   93256
TRUJILLO, EDWARD S           PO BOX 326                                                                                    LA JARA         CO   81140‐0326
TRUJILLO, EUGENE R           4413 MANCHESTER CT                                                                            NORMAN          OK   73072‐3915
TRUJILLO, FILEMON J          4900 CRESCENT AVE                                                                             KANSAS CITY     MO   64133‐1811
TRUJILLO, HERMAN             2467 GREEN PINE DR APT 5                                                                      BURTON          MI   48519‐1177
TRUJILLO, IGNACITA           4413 MANCHESTER CT                                                                            NORMAN          OK   73072‐3915
TRUJILLO, IRENE              210 ENCINO DR                                                                                 PUEBLO          CO   81005‐2956
TRUJILLO, JOE C              RT. 3 , 345 ‐33                                                                               ESPANOLA        NM   87532
TRUJILLO, JOSE B             535 LETA AVE                                                                                  FLINT           MI   48507‐2731
TRUJILLO, JOSE L             230 RIVERSIDE DR                                                                              EL PASO         TX   79915‐4526
TRUJILLO, JOSE R             1635 NEWGATE LN                                                                               HOWELL          MI   48843‐7107
TRUJILLO, JOSE T             309 SPRING DR SE                                                                              RIO RANCHO      NM   87124‐2442
TRUJILLO, LILLIAN            9406 ROYALTON DR                                                                              SHREVEPORT      LA   71118‐3613
TRUJILLO, LIONEL L           1374 MOUNTAIN ROSE DRIVE                                                                      FERNLEY         NV   89408‐4516
TRUJILLO, MADELINE E         4143 DYER ST APT 13                                                                           UNION CITY      CA   94587‐3934
TRUJILLO, MARTINA            ENGSTROM LIPSCOMB & LACK         10100 SANTA MONICA BOULEVARD ,                               LOS ANGELES     CA   90067
                                                              16TH FLOOR
TRUJILLO, MIKE V             1304 SYCAMORE DR                                                                              BURKBURNETT     TX   76354‐3137
TRUJILLO, NELLIE             1154 TULANE AVE                                                                               SAN LEANDRO     CA   94579‐1439
TRUJILLO, NELLIE             1154 TULANE                                                                                   SAN LEANDERO    CA   94579‐1439
TRUJILLO, ONESIMO A          3245 W MEXICO AVE                                                                             DENVER          CO   80219‐4657
TRUJILLO, SHIRLEY A          1224 LONG MOUNTAIN ROAD                                                                       MCMINNIVILLE    TN   37110
TRUJILLO, TIM M              1200 COUNTRY CLUB DR                                                                          PLEASANT HILL   MO   64080‐1554
TRUJILLO, TONY               1804 GRACE ST                                                                                 ARLINGTON       TX   76010‐7637
TRUJILLO, TONY M             1955 BERMUDA WAY                                                                              SAN JOSE        CA   95122‐1705
TRUJILLO, URSULA M           8900 DELAMAR AVE NE                                                                           ALBUQUERQUE     NM   87111‐3108
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                      Part 37 of 40 Pg 525 of 901
Name                             Address1                          Address2                      Address3   Address4                City            State Zip
TRUJILLO, VALERIE
TRUJILLO, VIVIAN S               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510‐2212
                                                                   STREET, SUITE 600
TRUJILLO, YOLANDA                1955 BERMUDA WAY                                                                                   SAN JOSE         CA 95122‐1705
TRUJILLO‐ZAVALA, MARIA O         6808 WINNEBAGO DRIVE                                                                               FORT WAYNE       IN 46815‐6374
TRUK MATE
TRUK MATE PORTABLE HOUSE
INCORPORATED
TRUK MATE PORTABLE HOUSES
TRUK MATE TOPPERS INC
TRUK MATE VANS
TRULA CAUDELL                    239 BYRKIT ST                                                                                      INDIANAPOLIS    IN    46217‐3507
TRULA CRABTREE                   4808 W TRAPNELL RD                                                                                 PLANT CITY      FL    33566‐0126
TRULA F WILDER                   618 CRESTMORE AVE                                                                                  DAYTON          OH    45417
TRULA MOTEN                      1763 HELEN ST                                                                                      DETROIT         MI    48207‐3653
TRULA MULLINS                    6262 THE LAKE RD                                                                                   CLINTWOOD       VA    24228‐7072
TRULA PENNINGTON                 141 COUNTY ROAD 3861                                                                               HAWKINS         TX    75765‐5508
TRULA RYAN                       9794 HAWTHORNE GLEN DR                                                                             GROSSE ILE      MI    48138‐1686
TRULA S HARRIS                   19363 HUNT CLUB RD                                                                                 ABINGDON        VA    24211
TRULA SMITH                      8245 BENNETT LAKE RD                                                                               FENTON          MI    48430‐9088
TRULA VIERS‐WHITTINGTON          277 REDFIELD CT                                                                                    CANTON          MI    48188‐1566
TRULA WOOD                       304 AUTUMN CIR                                                                                     BLUFF CITY      TN    37618‐1173
TRULAW CORPORATE SERVICES LTD.   P.O. BOX 866 GT                   3RD FLOOR, ANDERSON SQUARE               GEORGETOWN GRAND
                                                                   BLDG, SHEDDEN ROAD                       CAYMAN CAYMAN ISLANDS
TRULBY, JAMES R                  1723 WENSLEY DR                                                                                    CHARLOTTE        NC   28210‐3753
TRULEY PATTERSON                 2110 E 152ND TER                                                                                   OLATHE           KS   66062‐2923
TRULIN, MARK E                   80 SHIRLEY DR                                                                                      WEST SENECA      NY   14218‐3728
TRULL BOYD P (415041)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA   23510
                                                                   STREET, SUITE 600
TRULL I I, WILLIAM A             3716 INDIAN WELLS DR                                                                               ARLINGTON        TX   76017‐2433
TRULL II, WILLIAM A              3716 INDIAN WELLS DR                                                                               ARLINGTON        TX   76017‐2433
TRULL, AMANDA
TRULL, BOYD P                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510‐2212
                                                                   STREET, SUITE 600
TRULL, CORDIE                    RR 1 BOX 74B                                                                                       ROBBINSVILLE    NC    28771
TRULL, EDWARD C                  5804 PACIFIC HEIGHTS RD                                                                            OROVILLE        CA    95965‐9242
TRULL, PETER J                   9974 WHITTAKER RD                                                                                  YPSILANTI       MI    48197‐8995
TRULL, THOMAS B                  18881 ROBERT ST                                                                                    MELVINDALE      MI    48122‐1449
TRULLARD, EDWARD H               7339 GARDEN ST                                                                                     WESTLAND        MI    48185‐2558
TRULLARD, GERALD E               11757 NATHALINE                                                                                    REDFORD         MI    48239‐2544
TRULLENDER, FRANK E              8991 SW 63RD PL                                                                                    GAINESVILLE     FL    32608‐8558
TRULSON, FREDERICK J             18716 SAINT MARYS ST                                                                               DETROIT         MI    48235‐2966
TRULSON, STEPHEN F               1221 W DELAVAN DR                                                                                  JANESVILLE      WI    53546‐5307
TRULSON, STEPHEN F               107 S MAIN ST                                                                                      JANESVILLE      WI    53545‐3924
TRULSON, TIMOTHY S               6126 BLUE SPRUCE CT                                                                                FORT WAYNE      IN    46809‐2203
TRULY JR, LLOYD S                2213 BRENDA DRIVE                                                                                  MARTINSBURG     WV    25401
TRULY SCHLUP                     2170 N 400TH RD                                                                                    WELLSVILLE      KS    66092‐4010
TRULY, LLOYD S                   58 BOONE ST                                                                                        CUMERLAND       MD    21502‐3919
TRULY, WILLIAM H                 18848 MARX ST                                                                                      DETROIT         MI    48203‐2146
TRUMAN AMBURGEY                  168 SANDY CREEK RD                                                                                 CROSSVILLE      TN    38571‐7229
TRUMAN BAKER                     137 NEWPORT DRIVE                                                                                  BOLINGBROOK     IL    60440‐2826
TRUMAN BENNY W (460247)          DUFFY & ASSOCS JOHN J             23823 LORAIN RD                                                  NORTH OLMSTED   OH    44070
                          09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                             Part 37 of 40 Pg 526 of 901
Name                      Address1                         Address2                        Address3          Address4         City                State Zip
TRUMAN BRAWLEY            PO BOX 456                                                                                          PERCY                 IL 62272‐0456
TRUMAN CAMPBELL           204 PARTRIDGE DR                                                                                    COLUMBIA             SC 29206‐5011
TRUMAN CHOATE             265 PARKER DR                                                                                       SPRINGBORO           OH 45066‐1337
TRUMAN COMBS              314 COUNTY RD #223                                                                                  NIOTA                TN 37826‐‐ 25
TRUMAN CRONKRIGHT         14229 N STATE RD                                                                                    OTISVILLE            MI 48463‐9712
TRUMAN CUMMINGS           3413 FAIRVIEW MUNDELL RD                                                                            HELTONVILLE          IN 47436‐8738
TRUMAN DOYLE              12777 CINDER RD                                                                                     BEULAH               MI 49617‐9404
TRUMAN E COLE             C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                          HOUSTON              TX 77007
                          BOUNDAS LLP
TRUMAN E HAMACHER II      12 CONCORD ST                                                                                       MOUNT MORRIS        MI   48458‐3105
TRUMAN ELLIOTT            270 NELSON ST                                                                                       PONTIAC             MI   48342‐1542
TRUMAN FILLINGER          4493 EDGEWOOD ST                                                                                    DEARBORN HEIGHTS    MI   48125‐3227
TRUMAN FORWARD            PO BOX 7334                                                                                         FLINT               MI   48507‐0334
TRUMAN GAIL (448324)      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD          OH   44067
                                                           PROFESSIONAL BLDG
TRUMAN GAMBLIN            PO BOX 1217                      RT 2                                                               HERMITAGE           MO   65668
TRUMAN HALE               1003 SUNRISE DR                                                                                     FARWELL             MI   48622‐9312
TRUMAN HAMACHER I I       12 CONCORD ST                                                                                       MOUNT MORRIS        MI   48458‐3105
TRUMAN HAMPTON            3043 PINEGATE DR                                                                                    FLUSHING            MI   48433‐2472
TRUMAN HAWTHORNE          23 SUTTON VALLEY PL                                                                                 SAINT PETERS        MO   63376‐3794
TRUMAN HIATT              18304 N MAIN ST                                                                                     SMITHVILLE          MO   64089‐8756
TRUMAN HILDRETH           3346 DUFFIELD RD                                                                                    FLUSHING            MI   48433‐9709
TRUMAN HILL               14236 HIGHLAND CENTER RD                                                                            DEFIANCE            OH   43512‐8847
TRUMAN HOGAN              2036 RED JACKET TRCE                                                                                SPRING HILL         TN   37174‐5164
TRUMAN HORN               4908 STATE HIGHWAY 72                                                                               JACKSON             MO   63755‐7497
TRUMAN JACKSON            264 EMERALD LN                                                                                      BOLIGEE             AL   35443‐3808
TRUMAN JOHNSON II         213 KILKENNY CT                                                                                     KELLER              TX   76248‐2543
TRUMAN JR, EVERETT        428 KINGS MILLS RD                                                                                  MASON               OH   45040‐2129
TRUMAN L ALGREN           5701 DETRICK JORDAN PIKE                                                                            SPRINGFIELD         OH   45502
TRUMAN L WORTH            5947 ORMES RD                                                                                       VASSAR              MI   48768‐9696
TRUMAN LEWIS              7701 S COUNTRY CLUB DR                                                                              OKLAHOMA CITY       OK   73159‐4913
TRUMAN MAYNARD            C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS          OH   44236
TRUMAN MCCLAIN            6100 N 600 W                                                                                        MARION              IN   46952‐9166
TRUMAN MCQUEEN            10095 E 500 S                                                                                       UPLAND              IN   46989‐9434
TRUMAN MORGAN             PO BOX 2416                                                                                         ANDERSON            IN   46018‐2416
TRUMAN MURCHISON          6443 MOONLIGHT LN                                                                                   CRESTVIEW           FL   32539‐9400
TRUMAN PERSALL            10326 NICHOLS RD                                                                                    MONTROSE            MI   48457‐9174
TRUMAN PRENTIS            75 BURMON DR                                                                                        ORCHARD PARK        NY   14127‐1013
TRUMAN RICE               731 N LOCUST ST                                                                                     DEXTER              MO   63841‐1212
TRUMAN RICHARDS           161 FRANKLIN ST                                                                                     MALONE              NY   12953‐1740
TRUMAN SIMMS JR           738 HUMBERT SCHOOLHOUSE RD                                                                          WESTMINSTER         MD   21158‐1239
TRUMAN SMITH              1514 E 54TH ST                                                                                      MARION              IN   46953‐6224
TRUMAN SMITH              13458 N WOODBRIDGE AVE                                                                              BITELY              MI   49309‐9266
TRUMAN SNIDER             4100 BRECKENRIDGE LN                                                                                GRANITE CITY        IL   62040‐4218
TRUMAN STATE UNIVERSITY   FINANCIAL AID OFFICE             MCCLAIN HALL 103                                                   KIRKSVILLE          MO   63501
TRUMAN STATE UNIVERSITY   FINANCIAL AID OFFICE             100 E NORMAL AVE                                                   KIRKSVILLE          MO   63501‐4200
TRUMAN THATCHER           4605 LAUREL VIEW DR                                                                                 CINCINNATI          OH   45244‐1487
TRUMAN THOMAS             THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                          HOUSTON             TX   77017
TRUMAN TURNER             10918 N HWY                                                                                         EXCELSIOR SPRINGS   MO   64024
TRUMAN W DOYLE            NIX, PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT        205 LINDA DRIVE                    DAINGERFIELD        TX   75638
TRUMAN WALLACE            PO BOX 292                                                                                          WENTZVILLE          MO   63385‐0292
TRUMAN WALLACE            781 IRON MAN RD                                                                                     HARTSELLE           AL   35640‐6613
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                                    Part 37 of 40 Pg 527 of 901
Name                             Address1                        Address2                    Address3   Address4         City               State Zip
TRUMAN WHITE                     6225 CRYSTAL BEACH RD NW                                                                RAPID CITY          MI 49676‐9497
TRUMAN WHITTINGTON               1200 N 9TH AVE                                                                          OZARK               MO 65721‐6625
TRUMAN WORTH                     5947 ORMES RD                                                                           VASSAR              MI 48768‐9696
TRUMAN WRIGHT                    1298 BENTEEN WAY SE                                                                     ATLANTA             GA 30315‐3102
TRUMAN, ALLEN J                  861 LAFAYETTE ROAD                                                                      MEDINA              OH 44256‐2412
TRUMAN, BENNY W                  DUFFY & ASSOCS JOHN J           23823 LORAIN RD                                         NORTH OLMSTED       OH 44070
TRUMAN, CARL A                   86 ARLINGTON AVE                                                                        LONDON              OH 43140‐1030
TRUMAN, CURTIS L                 114 KELLY CT                                                                            ELYRIA              OH 44035‐8399
TRUMAN, DARLENE F                3129 BOLTON RD                                                                          LAPEER              MI 48446‐7715
TRUMAN, DAVID B                  6857 WELLESLEY TER                                                                      CLARKSTON           MI 48346‐2770
TRUMAN, DAVID R                  6119 OAKWOOD CIR                                                                        N RIDGEVILLE        OH 44039‐2663
TRUMAN, DEBRA A                  258 HILTON AVE                                                                          YOUNGSTOWN          OH 44507‐1913
TRUMAN, DENNY H                  476 S RACCOON RD # D47                                                                  AUSTINTOWN          OH 44515
TRUMAN, DONALD D                 680 N VAN DYKE RD                                                                       IMLAY CITY          MI 48444‐1171
TRUMAN, ERNIE J                  313 HOMECREST RD                                                                        JACKSON             MI 49201
TRUMAN, JOAN                     313 HOMECREST RD                                                                        JACKSON             MI 49201‐1114
TRUMAN, JOHN I                   3129 BOLTON RD                                                                          LAPEER              MI 48446‐7715
TRUMAN, LEROY C                  9182 GRAYTRAX RD                                                                        GRAND BLANC         MI 48439‐8033
TRUMAN, MERLIN C                 4194 WHITBY LN                                                                          BATH                MI 48808‐9412
TRUMAN, ROBERT L                 35 DOORKNOCH DR.                                                                        PAWLEYS ISLAND      SC 29585
TRUMAN, ROBERT L                 1818 S BUCKEYE ST                                                                       KOKOMO              IN 46902‐2143
TRUMAN, ROBERT S                 47086 BEACON SQUARE DR                                                                  MACOMB              MI 48044‐2852
TRUMAN, SARA L                   18 W 37TH ST                                                                            ANDERSON            IN 46013‐4202
TRUMAN, THOMAS A                 3506 PERKINS AVE                                                                        HURON               OH 44839‐1053
TRUMAN, VIRGINA A                289 MAYS DR                                                                             SABINA              OH 45169‐1423
TRUMAN, WILLARD                  4998 WOLF CREEK PIKE                                                                    DAYTON              OH 45426‐2420
TRUMAN, WILLIAM J                360 JOHNSON ST                                                                          JANESVILLE          WI 53548‐4726
TRUMAN, WILLIAM J                COLLINS LAW FIRM                20 E MILWAUKEE ST STE 300                               JANESVILLE          WI 53545
TRUMANN MACHINE WORKS            ATTN LAMON MOYE PRES            PO BOX 214                                              TRUMANN             AR 72472
TRUMBELL COUNTY, OHIO BOARD OF   160 HIGH ST., NW                                                                        WARREN              OH 44481
COUNTY COMMISSIONERS
TRUMBETTA, RICHARD R             375 AFTON AVE                                                                           BOARDMAN           OH   44512‐2311
TRUMBLE JAMES A                  374 HAUXWELL DR                                                                         LAKE ORION         MI   48362‐3632
TRUMBLE MARY                     215 TRAFALGAR LN                                                                        SAN CLEMENTE       CA   92672‐5482
TRUMBLE, BETTY L                 5717 SHERIDAN RD                                                                        SAGINAW            MI   48601
TRUMBLE, DELORES A               4276 LAWRENCE AV                                                                        PINCONNING         MI   48650‐8450
TRUMBLE, FANNIE L                4820 LORE DR                                                                            WATERFORD          MI   48329‐1641
TRUMBLE, FLORENCE                13335 DEMPSEY RD                                                                        ST CHARLES         MI   48655‐9700
TRUMBLE, GARY L                  18225 W BRANT RD                                                                        BRANT              MI   48614‐9753
TRUMBLE, IVAN A                  221 MOORES RIVER DR                                                                     LANSING            MI   48910‐1431
TRUMBLE, JACK                    28020 OLD COLONY ST                                                                     FARMINGTON HILLS   MI   48334‐3245
TRUMBLE, JAMES A                 374 HAUXWELL DR                                                                         LAKE ORION         MI   48362‐3632
TRUMBLE, JAMES P                 1632 WAKEFIELD CT                                                                       ROCHESTER HILLS    MI   48306‐3670
TRUMBLE, JASON W                 1198 WOODFIELD TRL                                                                      HEMLOCK            MI   48626‐9236
TRUMBLE, JASON WALLACE           1198 WOODFIELD TRL                                                                      HEMLOCK            MI   48626‐9236
TRUMBLE, JOHN T                  6407 WILLOW BROOM TRL                                                                   LITTLETON          CO   80125‐9078
TRUMBLE, KENNETH                 1630 ROSELAND AVE                                                                       ROYAL OAK          MI   48073‐5009
TRUMBLE, LARRY A                 13662 ITHACA RD                                                                         SAINT CHARLES      MI   48655‐9529
TRUMBLE, LARRY L                 688 S MAIN ST                                                                           VERMONTVILLE       MI   49096‐9408
TRUMBLE, LEILA L                 4961 TOWNLINE 16                                                                        RHODES             MI   48652‐9749
TRUMBLE, LEO K                   7776 N SHAYTOWN RD              R#1                                                     VERMONTVILLE       MI   49096‐9746
TRUMBLE, MARILYN M.              415 WAGNER RD                                                                           NORTH BANGOR       NY   12966‐2516
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                          Part 37 of 40 Pg 528 of 901
Name                                 Address1                          Address2                     Address3                    Address4         City               State Zip
TRUMBLE, MARY LEE                    12226 ITHACA RD APT 19                                                                                      SAINT CHARLES       MI 48655‐9561
TRUMBLE, MARY R                      90 SMOKETREE AVE S                                                                                          LAKE HAVASU CITY    AZ 86403‐6703
TRUMBLE, MATT                        618 N 1ST ST                                                                                                CHESANING           MI 48616‐1037
TRUMBLE, MICHAEL L                   157 N IONIA RD                                                                                              VERMONTVILLE        MI 49096‐9522
TRUMBLE, RICHARD H                   1722 CATALPA DR                                                                                             BERKLEY             MI 48072‐2055
TRUMBLE, SHARON K                    221 MOORES RIVER DR                                                                                         LANSING             MI 48910‐1431
TRUMBLE, STUART L                    362 BUTLER CT 32                                                                                            MARSHALL            MI 49068
TRUMBLE, TIM A                       1145 S RIVER RD                                                                                             SAGINAW             MI 48609‐5205
TRUMBO, MAGDALINE T                  4102 WINONA ST                                                                                              FLINT               MI 48504‐3741
TRUMBO, PATRICIA C                   5700 E WOODSIDE RD                                                                                          ALBANY              IN 47320‐9153
TRUMBO, TONY                         518 ILLINOIS ST                                                                                             PARKER CITY         IN 47368‐9508
TRUMBULL BUSINESS COLLEGE            3200 RIDGE AVE SE                                                                                           WARREN              OH 44484‐3250
TRUMBULL BUSINESS SYSTEMS INC        3100 YOUNGSTOWN RD SE                                                                                       WARREN              OH 44484‐5263
TRUMBULL CANINE SHELTER              300 CHURCH HILL ROAD                                                                                        TRUMBULL            CT 06611
TRUMBULL CAREER & TECHNICAL CENTER   528 EDUCATIONAL HWY NW                                                                                      WARREN              OH 44483‐1954

TRUMBULL CAREER AND TECHNICAL        528 EDUCATIONAL HWY NW                                                                                      WARREN             OH 44483‐1954
CENTER
TRUMBULL CNTY COMMON PLEAS CRT       ACCT OF CHARLES BUTCHER
TRUMBULL CNTY EASTERN DIST CRT       ACCT OF S A WELCH                 7672 WARREN‐SHARON ROAD                                                   BROOKFIELD         OH 44403
TRUMBULL CORP/P J DICK CONTRACTING   DAVE ALSING                       1020 LEBANON RD                                                           WEST MIFFLIN       PA 15122‐1036

TRUMBULL COUNTRY CLUB                ACCT OF EDWIN WINSININSKI         C/O 33 BLFLD HLS PKWY #100                                                BLOOMFIELD HILLS   MI   19034
TRUMBULL COUNTY BUREAU OF            SUPPORT FOR ACCOUNT OF JS         PO BOX 1350                  CORSALE CASE#8640                            WARREN             OH   44482‐1350
TRUMBULL COUNTY BUREAU OF SUPP       FAMILY SUPPORT FOR ACCOUNT OF     PO BOX 1350                  DAVID P LUNTE #1683                          WARREN             OH   44482‐1350
TRUMBULL COUNTY BUREAU OF SUPP       DOMESTIC RELATIONS CRT‐ACCT OF    PO BOX 1350                  T S HOWARD CASE#86‐17‐305                    WARREN             OH   44482‐1350

TRUMBULL COUNTY C S E A              ACCOUNT OF JOHN PINNEY            PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C S E A              ACCOUNT OF THOMAS E VANNELLI      PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C S E A              ACCOUNT OF RICHARD A PERHACS      PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF ANTHONY HORNBUCKLE        PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF DENNIS N ROSKO            PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCOUNT OF WILLIAM A ANTIL        PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCOUNT OF HARRY D JONES          PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCOUNT OF MICHAEL J HISSAM       PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCOUNT OF JULIUS R NORMAN        PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF FREDERICK A EFLER         PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF DANIEL MACKIEWICZ         PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF DAVID J PALLAS            PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF GARY R DICKERHOOF         PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCOUNT OF TERRY F TENNEY         PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCOUNT OF JAMES R KNEPP          PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCOUNT OF DENNIS WRIGHT          PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCOUNT OF KIM L CARNIVALE        PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCOUNT OF ZACHARIAS G CAPELLA    PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF GILBERT WILLIAMS          PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF FRANK PETAK               PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCOUNT OF KENNETH RIESER         PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF FLOYD ALEXANDER III       PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF DAVID T HUGHES            PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF PAUL M DELLO‐STRITTO      PO BOX 1350                                                               WARREN             OH   44482‐1350
TRUMBULL COUNTY C.S.E.A.             ACCT OF STEPHEN C D'AMICO         PO BOX 1350                                                               WARREN             OH   44482‐1350
                                09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                 Part 37 of 40 Pg 529 of 901
Name                            Address1                         Address2                     Address3              Address4         City     State Zip
TRUMBULL COUNTY C.S.E.A.        ACCT OF VIOLET G MORGAN          PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF JOHN NEEDLES             PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF KENNETH MAILACH          PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF ROBERT E PATTERSON       PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF CHARLES J YOUNG          PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF MARK A SHASTEEN          PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF RONALD L BURNS           PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF ALAN D YORK              PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF ANDREW FRAELICH          PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF JAMES MORRIS             PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF THOMAS F DONADIO         PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF EVIE JEAN M MANUSAKIS    PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF MARSHA L CRAWFORD        PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF LORIN D DICKINSON III    PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF ROY W DRUM               PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF DONALD M DUNLAP          PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF JAMES A GORSUCH          PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY C.S.E.A.        ACCT OF DAVID M KILLEN JR        PO BOX 1350                                                         WARREN    OH 44482‐1350
TRUMBULL COUNTY CHILD SUPPORT   FAMILY SUPPORT FOR ACCOUNT OF    PO BOX 1350                  RONALD L MENDENHALL                    WARREN    OH 44482‐1350
                                                                                              #45012
TRUMBULL COUNTY CHILD SUPPORT   FOR ACCOUNT OF GARY ISABELLA     PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CHILD SUPPORT   ACCOUNT OF DANIEL V BAFUNNO      PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CHILD SUPPORT   ACCOUNT OF WILLIAM HALLETT       PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY COMMON PLEAS    ACCT OF MARGARET PARKINSON       161 S HIGH ST                                                       WARREN   OH   27132
TRUMBULL COUNTY COMMON PLEAS    ACCT OF MARGARET R PARKINSON     TRUMBULL COUNTY COURTHOUSE                                          WARREN   OH   27132

TRUMBULL COUNTY COMMON PLEAS    160 HIGH STREET                  COURT HOUSE                                                         WARREN   OH 44481
CLERK
TRUMBULL COUNTY COURT OF        161 HIGH STREET N.W.                                                                                 WARREN   OH   44481
TRUMBULL COUNTY CSEA            ACCOUNT OF ARTHUR J KIJOWSKI     PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCOUNT OF DAVID MARTIN          PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCOUNT OF MARK BIANCHI          PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF DUANE L ABBUL            PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF GREGORY COWAN            PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF JAMES BURKE              PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF EDWARD HARRIS            PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF STEPHEN SINCEK           PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF ROGER GILLUM JR          PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF DANIEL T QUINLAN         PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF ERNESTO RUIZ             PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF CHARLES CHAGNOT          PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF WILLIAM N BRYANT         PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF MARSHA LOUISE CRAWFORD   PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF RAYMOND R DOLNEY         PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF ROBERT COZAD             PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF RANDALL SMITH            PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACT OF M ANAND 96DR5             PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF THOMAS E WILLIAMS        PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF JAMES M BLANER           PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF WAYNE E PATTON           PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCOUNT OF ROBERT V ARQUILLA     PO BOX 1350                                                         WARREN   OH   44482‐1350
TRUMBULL COUNTY CSEA            ACCT OF RICHARD D WEBB           PO BOX 1350                                                         WARREN   OH   44482‐1350
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                         Part 37 of 40 Pg 530 of 901
Name                                 Address1                          Address2                      Address3                    Address4         City              State Zip
TRUMBULL COUNTY CSEA                 ACCT OF MIKE TACHOVAKA            PO BOX 1350                                                                WARREN             OH 44482‐1350
TRUMBULL COUNTY CSEA ACT OF          M PEAGLER 98 DR 289               PO BOX 1350                                                                WARREN             OH 44482‐1350
TRUMBULL COUNTY HAZARDOUS            MATERIAL BUREAU                   1453 YOUNGSTOWN‐KINGSVILLE RD                                              VIENNA             OH 44473

TRUMBULL COUNTY JUVENILE DIV         ACCT OF BRIAN D TURNER            PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL COUNTY TREASURER            160 HIGH STREET                                                                                              WARREN            OH   44481
TRUMBULL COUNTY TREASURER            160 HIGH ST NW                                                                                               WARREN            OH   44481
TRUMBULL COUNTY WTR & SWR            ACCOUNTS RECEIVABLES DEPT         842 YOUNGSTOWN KINGSVILLE                                                  VIENNA            OH   44473
                                                                       ROAD
TRUMBULL COUNTY WTR & SWR            842 YOUNGSTOWN KINGSVILLE RD NE   ACCOUNTS RECEIVABLE DEPT                                                   VIENNA            OH   44473‐9737
TRUMBULL CTY BUREAU OF SUPPORT       FOR ACCT OF D I CARDER            PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY BUREAU OF SUPPORT       FOR ACCT OF T E COPE              PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY BUREAU OF SUPPORT       FOR ACCT OF R GOODEN              PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY BUREAU OF SUPPORT       FOR ACCT OF R PETRARCA            PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY BUREAU OF SUPPORT       DOMESTIC RELATIONS FOR ACCT OF    PO BOX 1350                     D L MCCONNELLCASE#38438                    WARREN            OH   44482‐1350

TRUMBULL CTY C.S.E.A.                ACCT OF YVETTE GIBBS              PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY CHILD SUPPORT           ACCT OF RAND FUSSELMAN            PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY CHILD SUPPORT           ACCOUNT OF GUY L HARRIS           PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY CHILD SUPPORT           ACCOUNT OF KENNETH G MIKICIC      PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY CHILD SUPPORT           ACCOUNT OF LARRY D RIDER          PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY COMMON PLEAS            ACT OF S A WELCH 97CF258          160 HIGH STREET                                                            WARREN            OH   26866
TRUMBULL CTY COMMON PLEAS ACT OF S   160 HIGH STREET                                                                                              WARREN            OH   26866
A WELCH 97CV258
TRUMBULL CTY COMMON PLEAS CT         DOMESTIC RELATIONS ACCT OF        PO BOX 1350                     DL NEWCOMB CASE#6633                       WARREN            OH   44482‐1350
TRUMBULL CTY CSEA                    ACT OF D A DOBRAN 96 DR 177       PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY CSEA                    ACCT OF ROBERT WILLIAMS           PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY CSEA                    ACCT OF BRADLEY A SHATTUCK        PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY CSEA                    ACCT OF CLAUDE S SCHROEDER        PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY CSEA                    ACCT OF RUPERT W HARRIS IV        PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY SUPPORT AGENCY          ACCOUNT OF MICHAEL A WAECHTER     PO BOX 1350                                                                WARREN            OH   44482‐1350
TRUMBULL CTY SUPPORT ENFORCE‐ MENT   PO BOX 1350                       MILLER JR CASE# 8663                                                       WARREN            OH   44482‐1350
AGENCY FOR ACCOUNT OF W.N
TRUMBULL INDUSTRIES                  400 DIETZ RD NE                   PO BOX 30                                                                  WARREN            OH   44483‐2749
TRUMBULL INDUSTRIES INC              1040 N MERIDIAN RD                PO BOX 1556                                                                YOUNGSTOWN        OH   44509‐4017
TRUMBULL INDUSTRIES INC              400 DIETZ RD NE                   PO BOX 30                                                                  WARREN            OH   44483‐2749
TRUMBULL INFORMATION SERV            400 DIETZ RD NE                                                                                              WARREN            OH   44483‐2749
TRUMBULL INFORMATION SERVICES        400 DIETZ RD NE                                                                                              WARREN            OH   44483‐2749
TRUMBULL INVESTMENTS                 1155 MEADOWBROOK AVE                                                                                         YOUNGSTOWN        OH   44512‐1822
TRUMBULL INVESTMENTS INC             FRIEDMAN & RUMMELL CO / PALMA     100 FEDERAL PLAZA EAST, SUITE                                              YOUNGSTOWN        OH   44503
                                     ROBERT M                          300, CITY CENTRE ONE
TRUMBULL MAHONING ME                 PO BOX 1030                                                                                                  CORTLAND          OH   44410‐5030
TRUMBULL MEMORIAL HO                 PO BOX 633590                                                                                                CINCINNATI        OH   45263‐3590
TRUMBULL MOBILE MEALS                323 E MARKET ST                                                                                              WARREN            OH   44481‐1207
TRUMBULL RADIOLOGIST                 2588 STATE ROUTE 5                                                                                           CORTLAND          OH   44410‐9353
TRUMBULL RADIOLOGIST INC             2588 STATE ROUTE 5                                                                                           CORTLAND          OH   44410‐9353
TRUMBULL, ELAINE A                   12138 SANDERS DR                                                                                             FREELAND          MI   48623‐9535
TRUMBULL, JOHN M                     3917 HUNT CLUB CT                                                                                            SHELBY TOWNSHIP   MI   48316‐4823
TRUMBULL, JOHN P                     12138 SANDERS DR                                                                                             FREELAND          MI   48623‐9535
TRUMITCH, HELEN M                    1505 OAK BRANCH DR                                                                                           COLUMBIA          TN   38401‐8801
TRUMITCH, TERRY                      1505 OAK BRANCH DR                                                                                           COLUMBIA          TN   38401‐8801
TRUMM, LINDA M                       3260 CAIRNCROSS DR                                                                                           OAKLAND           MI   48363‐2706
                                 09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                  Part 37 of 40 Pg 531 of 901
Name                             Address1                         Address2                Address3   Address4         City             State Zip
TRUMM, LINDA MARY                3260 CAIRNCROSS DR                                                                   OAKLAND           MI 48363‐2706
TRUMP                            GM BUILDING                      767 FIFTH AVENUE                                    NEW YORK          NY 10153
TRUMP 767 FIFTH AVE LLC          GENERAL PO29286                                                                      NEW YORK          NY 10087‐9286
TRUMP 767 FIFTH AVENUE LLC       725 5TH AVE                                                                          NEW YORK          NY 10022‐2519
TRUMP 767 FIFTH AVENUE LLC       C/O THE TRUMP ORGANIZATION       725 5TH AVE                                         NEW YORK          NY 10022‐2519
TRUMP 767 FIFTH AVENUE LLC       DONALD J. TRUMP                  725 5TH AVE                                         NEW YORK          NY 10022‐2519
TRUMP 767 FIFTH AVENUE, LLC      725 5TH AVE                                                                          NEW YORK          NY 10022‐2519
TRUMP FRANK                      TRUMP, FRANK                     3049 49 ST NORTH                                    ST. PETERSBURG    FL 33710
TRUMP MARINA HOTEL CASINO        HURON AVE & BRIGANTINE BLVD                                                          ATLANTIC CITY     NJ 08401
TRUMP, ANGELA                    HEWITT & SALVATORE PLLC          109 E MAIN ST STE 200                               BECKLEY           WV 25801‐4616
TRUMP, BONNIE C                  18 E WARRICK ST                                                                      KNIGHTSTOWN       IN 46148‐1142
TRUMP, BRIAN                     HEWITT & SALVATORE PLLC          109 E MAIN ST STE 200                               BECKLEY           WV 25801‐4616
TRUMP, DALLAS R                  9167 N COUNTY ROAD 425 E                                                             ROACHDALE         IN 46172‐9487
TRUMP, DANIEL L                  9821 JAMAICA RD                                                                      MIAMISBURG        OH 45342
TRUMP, DAVID L                   12488 RHYNARD FINK RD                                                                ROSSBURG          OH 45362
TRUMP, DONALD A                  3533 OXWED CT                                                                        WESTMINSTER       MD 21157‐8412
TRUMP, JEFFREY L                 1078 BRISTOL DR                                                                      VANDALIA          OH 45377‐2944
TRUMP, LARRY L                   8613 DANA CT                                                                         INDIANAPOLIS      IN 46234
TRUMP, RODNEY A                  3 ARLEN RD APT C                                                                     BALTIMORE         MD 21236‐5109
TRUMP, SIDNEY A                  7167 ANNA ST                                                                         GRAND BLANC       MI 48439‐8573
TRUMPE, CHRISTINE A              1231 LOVEDALE RD                                                                     ELIZABETH         PA 15037‐1936
TRUMPET AWARDS FOUNDATION INC    101 MARIETTA ST NW STE 1010                                                          ATLANTA           GA 30303‐2780
TRUMPF GMBH & CO KG              111 HYDE RD FARMINGTON INDSTRL   PO BOX 105                                          FARMINGTON        CT 06032
TRUMPF INC                       111 HYDE RD                                                                          FARMINGTON        CT 06032‐2834
TRUMPF INC                       47711 CLIPPER ST                                                                     PLYMOUTH          MI 48170
TRUMPF INC                       111 HYDE RD FARMINGTON INDSTRL   PO BOX 105                                          FARMINGTON        CT 06032
TRUMPF, NANCY A                  7511 SUNNYVALE CT                                                                    MEQUON            WI 53092‐1800
TRUMPH INC                       47711 CLIPPER ST                                                                     PLYMOUTH          MI 48170
TRUMPH, ANTHONY                  25002 DORIS CT                                                                       REDFORD           MI 48239‐1627
TRUMPH, MARY G                   25181 OXFORD                                                                         WOODHAVEN         MI 48183‐3013
TRUMPH, MARY G                   25002 DORIS CT                                                                       REDFORD           MI 48239‐1627
TRUMPH, SKIP                     PO BOX 363                                                                           HARRISVILLE       MI 48740‐0363
TRUMPHOUR, RAYMOND               1641 STATE ROUTE 303                                                                 STREETSBORO       OH 44241‐1700
TRUMPLER/HAMBURG                 34 E MAIN ST                                                                         HAMBURG           NY 14075‐5009
TRUMPORE LAWRENCE                PO BOX 414                                                                           HOPE              NJ 07844‐0414
TRUMPORE, WALTER E               11712 EDEN RD                                                                        LAWTONS           NY 14091‐9738
TRUMPOWER, DENVER H              13002 BLAIRS VALLEY RD                                                               CLEAR SPRING      MD 21722‐1300
TRUMPOWER, HAZEL S               3718 HUBERTUS ROAD                                                                   HUBERTUS          WI 53033‐9794
TRUMPOWER, ROBERT H              3718 HUBERTUS ROAD                                                                   HUBERTUS          WI 53033‐9794
TRUMPOWER, TED W                 130 HARBOR CT                                                                        FALLING WTRS      WV 25419‐4631
TRUMPOWER, TED WILLIAM           130 HARBOR CT                                                                        FALLING WTRS      WV 25419‐4631
TRUMPOWSKY, YVONNE
TRUMPY, JAMES L                  5417 N RIVER RD                                                                      JANESVILLE       WI   53545‐8923
TRUMPY, JASON R                  1130 N LEXINGTON DR                                                                  JANESVILLE       WI   53545‐2123
TRUMPY, LARRY E                  5317 N GRANDVIEW DR                                                                  MILTON           WI   53563‐9420
TRUNC (TRUNK RELEASES URGENTLY   NEEDED COALITION)                537 JONES ST 2514                                   SAN FRANCISCO    CA   94102
TRUNCALI, PAUL G                 57 MCCONKEY DR                                                                       KENMORE          NY   14223‐1029
TRUNCALI, PAUL GIUSEPPE          57 MCCONKEY DR                                                                       KENMORE          NY   14223‐1029
TRUNCALLI, LEO                   81 RIDGE RD                                                                          BRISTOL          CT   06010‐7361
TRUNCK, CHARLES L                1149 CLEVELAND AVE                                                                   HAMILTON         OH   45013‐1712
TRUNCK, JOHN R                   2343 ALBRIGHT RD                                                                     ARCANUM          OH   45304‐5304
TRUNDLE, GEORGE R                6292 AUGUSTA ST                                                                      SWARTZ CREEK     MI   48473‐7943
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                               Part 37 of 40 Pg 532 of 901
Name                         Address1                       Address2              Address3       Address4         City                State Zip
TRUNE, DEAN C                3264 LEVALLEY RD                                                                     COLUMBIAVILLE        MI 48421‐9630
TRUNEK, JOSEPH A             293 LONGFORD AVE                                                                     ELYRIA               OH 44035‐4035
TRUNELL, DAVID               SHANNON LAW FIRM               100 W GALLATIN ST                                     HAZLEHURST           MS 39083‐3007
TRUNELL, ELIE                SHANNON LAW FIRM               100 W GALLATIN ST                                     HAZLEHURST           MS 39083‐3007
TRUNFIO JR, DOMINIC A        24 HEUSSY AVE                                                                        BUFFALO              NY 14220‐1012
TRUNG D TRAN                 14307 MANORBIER                                                                      SUGARLAND            TX 77478
TRUNG H TRAN                 2304 E CLIFPARK WAY                                                                  ANAHEIM              CA 92806
TRUNG X NGUYEN               911 WESTIN WOODS LN                                                                  SEYMOUR              TN 37865
TRUNICK, JAMES A             310 BROADWAY AVE SE                                                                  WARREN               OH 44484‐4606
TRUNICK, ROBERT E            4509 STATE ROUTE 7                                                                   BURGHILL             OH 44404‐9761
TRUNKHILL, BARBARA A         16904 WEST STATE ROAD 59                                                             EVANSVILLE           WI 53536‐9030
TRUNKHILL, RICHARD J         17016 W LILAC LN                                                                     EVANSVILLE           WI 53536‐9016
TRUNKLINE GAS COMPANY LLC    PO BOX 201203                                                                        HOUSTON              TX 77216‐1203
TRUNKLINE GAS COMPANY, LLC   5444 WESTHEIMER ROAD                                                                 HOUSTON              TX 77056
TRUNNELL, CORA L             PO BOX 9                                                                             TOUGALOO             MS 39174‐0009
TRUNNELL, MARY               119 LEGEND CT                                                                        FAIRVIEW HEIGHTS      IL 62208‐3960
TRUNNELL, MARY               119 LEGEND COURT                                                                     FAIRVIEW HEIGHTS      IL 62208
TRUNNELL, THOMAS E           247 N SEMINARY ST                                                                    COLLINSVILLE          IL 62234‐3443
TRUNOW NATALIE               767 FIFTH AVE 16TH FLOOR                                                             NEW YORK             NY 10153
TRUNOW, NATALIE A            APT 207                        7131 ARLINGTON ROAD                                   BETHESDA             MD 20814‐2918
TRUNSKY JANE                 929 NW 31ST AVE                                                                      POMPANO BEACH        FL 33069‐1121
TRUNZO SR, FREDRIC M         7238 TONAWANDA CREEK RD                                                              LOCKPORT             NY 14094‐9354
TRUONG NGUYEN                2731 NEW PORT ROYAL RD                                                               THOMPSONS STATION    TN 37179‐9293
TRUONG, HAI T                39516 LEGEND CT                                                                      NORTHVILLE           MI 48167
TRUONG, KIEN K               2342 WYMORE PL                                                                       DAYTON               OH 45459‐3663
TRUONG, MANG                 1510 21ST AVE S                                                                      SEATTLE              WA 98144‐3606
TRUONG, MINH Q               12103 ADDINGTON DR                                                                   COMMERCE TOWNSHIP    MI 48390‐4016
TRUONG, MINH QUOC            12103 ADDINGTON DR                                                                   COMMERCE TOWNSHIP    MI 48390‐4016
TRUONG, NGAU                 13691 LIBBY LANE                                                                     GARDEN GROVE         CA 92843‐2843
TRUONG, NGAU                 13691 LIBBY LN                                                                       GARDEN GROVE         CA 92843‐3521
TRUONG, NGON T               3144 KEMP RD                                                                         BEAVERCREEK          OH 45431‐2675
TRUONG, NGON TRUNG           3144 KEMP RD                                                                         BEAVERCREEK          OH 45431‐2675
TRUONG, QUI Q                1305 EASTBURY DR                                                                     LANSING              MI 48917‐8986
TRUONG, SHELLEY              737 DUNNE CT                                                                         BROOKLYN             NY 11235‐6122
TRUONG, TERESA C             3443 DAISY LN                                                                        GRAND PRAIRIE        TX 75052‐8055
TRUONG, TERESA CHANH         3443 DAISY LN                                                                        GRAND PRAIRIE        TX 75052‐8055
TRUONG, THAO T               6777 MONTPELLIER BLVD                                                                DAYTON               OH 45459‐6609
TRUONG, THUAN D              1924 COUNTRY ESTATES CT                                                              FORISTELL            MO 63348‐1065
TRUONG, TUYEN D              4941 STONEYVIEW CT.                                                                  DAYTON               OH 45424‐5424
TRUONG, UY‐TUNG C            5293 HAVERSHAM DR                                                                    HASLETT              MI 48840‐8487
TRUONG,THAO T                6777 MONTPELLIER BLVD                                                                DAYTON               OH 45459‐6609
TRUPAR AMERICA INC           160 WILSON RD                                                                        BENTLEYVILLE         PA 15314‐1028
TRUPAR LLC                   INTEGRITY MATERIAL HANDLING    PO BOX 725377                                         BERKLEY              MI 48072‐5377
TRUPAR LLC                   PO BOX 725377                                                                        BERKLEY              MI 48072‐5377
TRUPAR LLC
TRUPAR LLC                   31751 SHERMAN AVE                                                                    MADISON HEIGHTS     MI 48071‐1428
TRUPIANO, ANTHONY ROBERT
TRUPIANO, CHARLES G          915 IDLEWILD CT                                                                      FRANKLIN            TN   37069‐8104
TRUPIANO, JAMES P            1598 DETROIT AVE                                                                     LINCOLN PARK        MI   48146‐3217
TRUPIANO, JOANN M.           2634 GRAMERCY DRIVE                                                                  DELTONA             FL   32738‐2053
TRUPIANO, JOHN M             4835 CLARK CT                                                                        TRENTON             MI   48183‐4567
TRUPIANO, JOSEPH P           1598 DETROIT AVE                                                                     LINCOLN PARK        MI   48146‐3217
                          09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                            Part 37 of 40 Pg 533 of 901
Name                      Address1                            Address2                      Address3                  Address4              City              State Zip
TRUPIANO, MONIKA G        46551 VINEYARDS LN                                                                                                MACOMB             MI 48042‐5932
TRUPIANO, SALVATORE G     2400 HIGHBURY DR                                                                                                  TROY               MI 48085‐3872
TRUPIANO, STEVEN L        3136 COBBLESTONE RDG                                                                                              TECUMSEH           MI 49286‐7787
TRUPIANO, SUSAN C         20400 EDMUNTON ST                                                                                                 ST CLAIR SHRS      MI 48080‐3749
TRUPIN, VICTORIA J        1355 MITCHELL RD                                                                                                  PULASKI            TN 38478
TRUPP, RETHA J            85 BRANDT ST                                                                                                      DAYTON             OH 45404‐2071
TRUPPA, MARGARET A        6841 NW HOGATE CIR                                                                                                PORT ST LUCIE      FL 34983‐1340
TRUPTI KALE               8833 TRILLIUM LN                                                                                                  PLYMOUTH           MI 48170‐3565
TRURAN, LINDA A           7598 VENICE HEIGHTS DR NE                                                                                         WARREN             OH 44484‐1502
TRURAN, LINDA A           7598 VENICE DR. N.E.                                                                                              WARREN             OH 44484‐1502
TRURAN, MARGARET H        3820 BENJAMIN                                                                                                     ROYAL OAK          MI 48073
TRURAN, PATRICIA N        1430 RIVERBEND DRIVE                                                                                              DEFIANCE           OH 43512‐6877
TRURAN, PATRICIA NICOLE   7452 COFFIN STATION RD                                                                                            SPRINGFIELD        OH 45502‐8908
TRURAN, RAYMOND D         7598 VENICE DR. N.E.                                                                                              WARREN             OH 44484‐1502
TRURAN, RAYMOND D         7598 VENICE HEIGHTS DR NE                                                                                         WARREN             OH 44484‐1502
TRURAN, SHIRLEY           2822 WEST 13 MILE ROAD                                                                                            ROYAL OAK          MI 48073‐4413
TRURAN, TONYA G           710 N BAYBERRY DR                                                                                                 MIAMISBURG         OH 45342‐2706
TRUSCAN REALTY LIMITED    ATTN: PRESIDENT AND GENERAL COUNSEL 380 WELLINGTON STREET, 12TH   P.O. BOX 5703, TERMINAL "A" LONDON ON N6A 4S4
                                                              FLOOR                                                     CANADA
TRUSCHEL SANDRA           1698C ABERS CREEK RD                                                                                              MONROEVILLE       PA   15146‐2004
TRUSCHEL, PAUL K          4749 COTTAGE RD                                                                                                   GASPORT           NY   14067‐9260
TRUSCIO JR, JOSEPH C      7001 142ND AVE N LOT 302                                                                                          LARGO             FL   33771
TRUSCIO JR, JOSEPH C      LOT 302                             7001 142ND AVENUE                                                             LARGO             FL   33771‐4762
TRUSCIO, JAMES L          7501 CONGRESSIONAL DR                                                                                             LOCKPORT          NY   14094‐9073
TRUSCIO, LAWRENCE J       5 BRIARWOOD DR                                                                                                    LOCKPORT          NY   14094‐5103
TRUSCIO, LILLIAN J        7501 CONGRESSIONAL DR                                                                                             LOCKPORT          NY   14094‐9073
TRUSCIO, SHERRIL A        121 MAPLEVIEW DR                                                                                                  AMHERST           NY   14226‐2849
TRUSCIO, THOMAS M         4853 WATERFORD PL                                                                                                 LOCKPORT          NY   14094‐3463
TRUSCOTT, GEORGE W        258 N M‐88                                                                                                        BELLAIRE          MI   49615
TRUSCOTT, JANET L         THE VILLAS OF BROOKHAVEN            APT G109                      1 COUNTRY LANE                                  BROOKVILLE        OH   45309
TRUSCOTT, LESLIE W        3608 PARKWAY DR                                                                                                   ROYAL OAK         MI   48073‐6482
TRUSCOTT, MILDRED J       8701 MIDNIGHT PASS RD APT 505A                                                                                    SARASOTA          FL   34242‐2880
TRUSCOTT, MYRTLE R        PO BOX 598                                                                                                        LEWISTON          MI   49756‐0598
TRUSCOTT, MYRTLE R        BOX 598                                                                                                           LEWISTON          MI   49756‐0598
TRUSEL, JULAYNNE R        15305 ROCHELLE ST                                                                                                 DETROIT           MI   48205‐4154
TRUSEL, SHARLENE R        3309 GLENDALE ST                                                                                                  DETROIT           MI   48238‐3351
TRUSH, CHRISTOPHER J      44609 DUNBARTON DR                                                                                                NOVI              MI   48375‐3919
TRUSH, DAVID M            5037 WESTMORELAND DR                                                                                              TROY              MI   48085‐3443
TRUSH, JEFFREY N          837 W PENINSULA CT                                                                                                OXFORD            MI   48371‐6725
TRUSH, SUZANNE E          877 STONY LAKE CT                                                                                                 OXFORD            MI   48371‐6738
TRUSICK, MARK R           PO BOX 7094                                                                                                       STERLING HTS      MI   48311‐7094
TRUSK LAURA               TRUSK, LAURA                        7707 S PARKSIDE                                                               BRIDGEVIEW        IL   60459
TRUSK, LAURA              7707 PARKSIDE AVE                                                                                                 OAK LAWN          IL   60459‐1325
TRUSKEY, CHRISTOPHER J    193 DELAWARE RD                                                                                                   KENMORE           NY   14217‐2018
TRUSLER, ROBERT A         1992 ST JAMES PL                                                                                                  PRESCOTT          AZ   86301‐5592
TRUSS, ANNIE J            17194 WASHBURN ST                                                                                                 DETROIT           MI   48221‐2439
TRUSS, DOROTHY            124 SHERRFIELD DR APT W6                                                                                          SAGINAW           MI   48638‐6450
TRUSS, GREGORY W          624 S GRAND TRAVERSE                                                                                              FLINT             MI   48502
TRUSS, J T                31 SHADYSIDE CT                                                                                                   SAGINAW           MI   48638‐5802
TRUSS, J T                1428 S OUTER DR                                                                                                   SAGINAW           MI   48601‐6633
TRUSS, JIMMY E            15512 GILCHRIST ST                                                                                                DETROIT           MI   48227‐1575
TRUSS, JODI               11259 FAIRMONT DR                                                                                                 SHELBY TOWNSHIP   MI   48315‐6684
                                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                   Exhibit B
                                                                            Part 37 of 40 Pg 534 of 901
Name                                   Address1                               Address2                        Address3                   Address4                  City             State Zip
TRUSS, LYNN T                          1017 MAPLEGROVE AVE                                                                                                         ROYAL OAK         MI 48067‐1116
TRUSS, MATTIE B                        PO BOX 1393                                                                                                                 FLINT             MI 48501‐1393
TRUSS, MELVIN C                        515 WOODBERRY PLACE                                                                                                         DECATUR           GA 30034‐5555
TRUSS, MICHAEL A                       1907 ROBERTS LN NE                                                                                                          WARREN            OH 44483‐3625
TRUSS, MILTON L                        PO BOX 27024                                                                                                                LANSING           MI 48909‐7024
TRUSSEL, ROBERTA                       900 9TH AVE E LOT 196                                                                                                       PALMETTO          FL 34221‐5317
TRUSSEL, ROBERTA                       900 9TH AVE E #196                                                                                                          PALMETTO          FL 34221‐5317
TRUSSELL DANIEL M (476957)             KELLEY & FERRARO LLP                   1300 EAST NINTH STREET , 1901                                                        CLEVELAND         OH 44114
                                                                              BOND COURT BUILDING
TRUSSELL RICKIE (ESTATE OF) (491705)   BEVAN & ASSOCIATES                     10360 NORTHFIELD ROAD , BEVAN                                                        NORTHFIELD       OH 44067
                                                                              PROFESSIONAL BLDG
TRUSSELL, BEN                          617 RICE AVE                                                                                                                BELLWOOD         IL   60104‐1862
TRUSSELL, CECIL L                      2310 S DYE RD                                                                                                               FLINT            MI   48532‐4126
TRUSSELL, DANIEL G                     3294 WHITESVILLE RD                                                                                                         ALBERTVILLE      AL   35950‐9111
TRUSSELL, DANIEL M                     KELLEY & FERRARO LLP                   1300 EAST NINTH STREET, 1901                                                         CLEVELAND        OH   44114
                                                                              BOND COURT BUILDING
TRUSSELL, HENRY L                      7101 MAUFORD DR                                                                                                             DAYTON           OH 45424‐3154
TRUSSELL, JOHNNY                       PORTER & MALOUF PA                     4670 MCWILLIE DR                                                                     JACKSON          MS 39206‐5621
TRUSSELL, KATHRYN L                    18 WILLSON CROSSING CRT                                                                           FONTHILL ON CANADA L0S‐
                                                                                                                                         1E4
TRUSSELL, MARY                         12445 MARLA DR                                                                                                              WARREN           MI   48093‐7616
TRUSSELL, ROBERT E                     16805 E 31ST ST S                                                                                                           INDEPENDENCE     MO   64055‐2912
TRUSSELL, ROBERT W                     12445 MARLA DR                                                                                                              WARREN           MI   48093‐7616
TRUSSELL, ROY A                        12290 ALBRECHT TER                                                                                                          PORT CHARLOTTE   FL   33981‐1501
TRUSSELL, SHERMAN G                    3985 CROWNED EAGLE                                                                                                          DOUGLASVILLE     GA   30135‐7479
TRUSSELL, WINVELL R                    255 GRANNYS LN                                                                                                              CLEVER           MO   65631‐6276
TRUSSLER, CYNTHIA B                    6209 LOOKOUT LOOP                                                                                                           RALEIGH          NC   27612
TRUSSLER, ROBERT K                     45632 KLINGKAMMER ST                                                                                                        UTICA            MI   48317‐5775
TRUSSVILLE AUTO & TRUCK REPAIR         306 MAIN ST                                                                                                                 TRUSSVILLE       AL   35173‐1425
TRUST A U/W M RICHARD SINGER           C/O DONALD SINGER                      1543 FULTON DR                                                                       MAPLE GLEN       PA   19002
TRUST ACCT FOR STEMBER                 FEINSTEIN DOYLE & PAYNE LLC            429 FORBES AVE                  1705 ALLEGHENY BUILDING                              PITTSBURGH       PA   15219‐1609
TRUST AUTO SERVICE                     675 SAN BRUNO AVE E                                                                                                         SAN BRUNO        CA   94066‐3233
TRUST COMPANY BANK                     FACTORING DIV ASSIGNEE OF              PO BOX 4986                                                                          ATLANTA          GA   30302‐4986
TRUST COMPANY BANK (GEORGIA)           PO BOX 4418                                                                                                                 ATLANTA          GA   30302‐4418
TRUST F/B/O LYNN BIEL                  U W/O MARGARET M AMSTEIN               LYNN BIEL & SANDRA              114 E 90TH ST                                        NEW YORK         NY   10128‐1550
                                                                              SCHWABACHER TTEES DTD 7/19/96

TRUST FBO ELIZABETH G MCKAY            C/O RJ MCKAY TTEE                      16654 HIDDEN COVE DR                                                                 JUPITER          FL   33477
TRUST FBO HELEN G GRADY                C/O RJ MCKAY TTEE                      16654 HIDDEN COVE DRIVE                                                              JUPITER          FL   33477
TRUST FBO MARY G KEITH                 RJ MC KAY TTEE                         16654 HIDDEN COVE DRIVE                                                              JUPITER          FL   33477
TRUST FOR CONSERVATION                 INNOVATION/CHEMICAL STRATEGIES         ATTN LAURA WOLFSON              423 WASHINGTON ST 4TH FL                             SAN FRANCISCO    CA   94111

TRUST FOR PUBLIC LAND                  2610 UNIVERSITY AVE W STE 300           CENTRAL REGL OFFICE                                                                 SAINT PAUL       MN   55114‐1277
TRUST U/W JOHN C HAYS                  JOHN J CAHILL JR TRUSTEE                1500 JF KENNEDY BLVD           SUITE 1400                                           PHILADELPHIA     PA   19102‐1721
TRUST U/W VINCENT P MAZZOLA            FBO FELDA MAZZOLA                       ANTHONY A SARIDAKIS TTEE       1688 E GUDE DR STE 102                               ROCKVILLE        MD   20850‐5322
TRUSTB                                 FBO MILDRED U CONKEY                    EMELIA SANTUCCI TRUSTEE        800 PENN AVE                                         PITTSBURGH       PA   15222
TRUSTEE (FIRST NATIONAL BANK OF        ATTN. CORP. TRUST DEPT., FIRST NATIONAL                                                                                     LOUISVILLE       KY   40201
LOUSIVILLE)                            TOWER
TRUSTEE ‐ BANK OF NEW YORK MELLON      101 BARCLAY ST # 7W                                                                                                         NEW YORK         NY 10286‐0001

TRUSTEE ADAM M GOODMAN                 260 PEACHTREE ST NW STE 200                                                                                                 ATLANTA          GA 30303‐1236
TRUSTEE DAVID RUSKIN                   26555 EVERGREEN RD STE 1100                                                                                                 SOUTHFIELD       MI 48076‐4251
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                          Part 37 of 40 Pg 535 of 901
Name                                 Address1                                Address2                       Address3                    Address4         City           State Zip
TRUSTEE JAMES BONE                   100 PEACHTREE ST STE 1100                                                                                           ATLANTA         GA 30303‐1934
TRUSTEE MCI QUALIFIED TRUST          910 W MAIN ST                           C/O US BANK TRUST DEPARTMENT                                                TROY            OH 45373‐2846
AGREEMENT
TRUSTEE MONROE COUNTY                103 COLLEGE ST                                                                                                      MADISONVILLE   TN 37354
TRUSTEE NANCY J WHALEY               303 PEACHTREE CENTER AVE NE STE 120                                                                                 ATLANTA        GA 30303‐1279

TRUSTEE OF FULTON TERMINALS SITE,    MERCANTILE TOWER                                                                                                    ST. LOUIS      MO 63101
MERCANTILE BANK, NA
TRUSTEE PAUL SISAMIS                 633 EMERALD BAY DRIVE                                                                                               DESTIN          FL   32541
TRUSTEE YVETTE GAFF KLEVEN           927 S HARRISON ST                                                                                                   FORT WAYNE      IN   46802‐3603
TRUSTEE, NATIONAL CITY BANK OF KY    101 SOUTH FIFTH ST, LOUISVILLE, ATTN.                                                                               LOUISVILLE      KY   40202
                                     CORP. TRUST DEPT.
TRUSTEE, SULLIVAN COUNTY             PO BOX 550                                                                                                          BLOUNTVILLE    TN 37617‐0550
TRUSTEES OF AEW #131 TRUST           C/O FIRST UNION BANK                                                                                                ORLANDO        FL 32886‐0542
TRUSTEES OF DARTMOUTH COLLEGE        11 ROPE FERRY RD #6210                                                                                              HANOVER        NH 03755
OFFICE OF SPONSORED PROJECTS
TRUSTEES OF KENNETH & LINDA          OKENQUIST FAMILY REVOCABLE              PO BOX 18578                   C/O CAPITOL BUICK PONTIAC                    SAN JOSE       CA 95158‐8578
                                                                                                            GMC
TRUSTEES OF THE COLORADO SCHOOL OF   15TH & ILLINOIS                                                                                                     GOLDEN         CO 80401

TRUSTEES OF THE SCREEN ACTORS GUILD‐ PRODUCER PENSION & HEALTH PLANS         3601 WEST OLIVE AVENUE                                                      BURBANK        CA 91510

TRUSTEES OF THE UNIVERSITY OF        3733 SPRUCE ST                          THE WHARTON SCHOOL                                                          PHILADELPHIA   PA 19104‐4108
PENNSYLVANIA
TRUSTEES OF TUFTS COLLEGE            TUFF UNIVERSITY                         419 BOSTON AVE                 OFFICE OF THE BURSAR                         MEDFORD        MA 02155‐5801
TRUSTEES OF UNIVERSITY OF PA         NANCY PENNSAP CTR FOR HR                WHARTON SCH 204 STEINBERG HALL DIETRICH HALL 3620 LOCUST                    PHILADELPHIA   PA 19104
                                                                                                            WALK
TRUSTER FREDERICK A (401526)         GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                                 NORFOLK        VA 23510
                                                                             STREET, SUITE 600
TRUSTER, FREDERICK A                 GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                                 NORFOLK        VA 23510‐2212
                                                                             STREET, SUITE 600
TRUSTINUS LLC                        28411 NORTHWESTERN HWY STE 850                                                                                      SOUTHFIELD     MI    48034‐5522
TRUSTMAN, JOANNA M                   278 SALEM DR N                                                                                                      ROMEO          MI    48065‐5027
TRUSTWAVE                            120 N LA SALLE ST STE 1250                                                                                          CHICAGO        IL    60602‐3797
TRUSTY KENNETH                       6895 STATE ROAD 39                                                                                                  MARTINSVILLE   IN    46151‐9186
TRUSTY, ALBERTA                      1462 LEMCKE                                                                                                         BEAVERCREEK    OH    45434‐6729
TRUSTY, ALBERTA                      1462 LEMCKE RD                                                                                                      BEAVERCREEK    OH    45434‐6729
TRUSTY, ALVIS                        2903 MILTON ROAD                                                                                                    MIDDLETOWN     OH    45042‐3532
TRUSTY, CHARLYNE M                   806 PLEASANT ST                                                                                                     CHARLOTTE      MI    48813‐2210
TRUSTY, CINDY L                      11342 VISTA AVE                                                                                                     WINSTON        MO    64689‐9135
TRUSTY, CLYDE D                      6904 VERDE DR                                                                                                       KANSAS CITY    KS    66109‐2525
TRUSTY, CLYDE DAVID                  6904 VERDE DR                                                                                                       KANSAS CITY    KS    66109‐2525
TRUSTY, DENNIS W                     1534 S HICKEY RD                                                                                                    MORGANTOWN     IN    46160‐9359
TRUSTY, DONALD R                     100 VERNON PLACE                                                                                                    CARLISLE       OH    45005‐3780
TRUSTY, DONALD R                     100 VERNON PL                                                                                                       CARLISLE       OH    45005‐3780
TRUSTY, ELLA F                       731 SPRINGMILL DR                                                                                                   MOORESVILLE    IN    46158‐2705
TRUSTY, GENE                         6620 MOONFLOWER CT                                                                                                  BALTIMORE      MD    21214‐1011
TRUSTY, GENE A                       618 WALNUT ST                                                                                                       PAOLI          IN    47454‐1648
TRUSTY, JERRY A                      910 WESTWIND SHORE DR                                                                                               HOWELL         MI    48843‐6429
TRUSTY, JOHN E                       1577 N 400 W                                                                                                        KOKOMO         IN    46901‐9101
TRUSTY, JOHN EDWARD                  1577 N 400 W                                                                                                        KOKOMO         IN    46901‐9101
TRUSTY, KATHRYN A                    910 WESTWIND SHORE DR                                                                                               HOWELL         MI    48843‐6429
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                 Part 37 of 40 Pg 536 of 901
Name                          Address1                          Address2                           Address3   Address4                City               State Zip
TRUSTY, KATHRYN ANN           910 WESTWIND SHORE DR                                                                                   HOWELL              MI 48843‐6429
TRUSTY, KEITH ALLEN           6895 STATE ROAD 39                                                                                      MARTINSVILLE        IN 46151‐9186
TRUSTY, KENNETH L             806 PLEASANT ST                                                                                         CHARLOTTE           MI 48813‐2210
TRUSTY, KENNETH L             6895 STATE ROAD 39                                                                                      MARTINSVILLE        IN 46151‐9186
TRUSTY, MARGARET A            3333 PINTAIL PASS                                                                                       EVANSVILLE          IN 47715‐3059
TRUSTY, MERIDITH L            146 S MAIN ST                                                                                           FILLMORE            IN 46128‐9617
TRUSTY, MICHAEL H             550 BUNCHBERRY DR                                                                                       MAINEVILLE          OH 45039‐8925
TRUSTY, MICHAEL HODGE         550 BUNCHBERRY DR                                                                                       MAINEVILLE          OH 45039‐8925
TRUSTY, PATRICIA M            6904 VERDE DR                                                                                           KANSAS CITY         KS 66109‐2525
TRUSTY, RANDALL E             732 NEW BURLINGTON RD                                                                                   WILMINGTON          OH 45177‐8842
TRUSTY, RONNIE (              119 LOVING LN                                                                                           WILMINGTON          OH 45177
TRUSTY, STANLEY A             8310 GOAT HOLLOW RD                                                                                     MARTINSVILLE        IN 46151‐7879
TRUSTY, TONYA M               6946 SWAMP ST NE                                                                                        HARTVILLE           OH 44632‐9323
TRUSTY‐BANK, CLEDITH          5756 UNION RD                                                                                           FRANKLIN            OH 45005‐4357
TRUSTY‐BANK, CLEDITH          5756 NORTH UNION ROAD                                                                                   FRANKLIN            OH 45005‐4357
TRUSWELL, WILLIAM M           4746 NORQUEST BLVD                                                                                      YOUNGSTOWN          OH 44515‐1632
TRUSZCIENSKI JR, JOSEPH F     1122 GREENTREE RD                                                                                       NEWARK              DE 19713‐3331
TRUSZKOWSKI, BARBARA A        165 S OPDYKE RD LOT 27                                                                                  AUBURN HILLS        MI 48326‐3145
TRUSZKOWSKI, DOLORES          233 EAST AVE                                                                                            NO TONAWANDA        NY 14120
TRUSZKOWSKI, JACOB P          187 EVERGREEN RD APT 8B                                                                                 EDISON              NJ 08837‐2448
TRUSZKOWSKI, RICHARD A        1760 LAKEWOOD DR                                                                                        TROY                MI 48083‐5553
TRUSZKOWSKI, ROBERT C         19254 AUGUSTA DR                                                                                        LIVONIA             MI 48152‐4060
TRUSZKOWSKI, ROBERT CHARLES   19254 AUGUSTA DR                                                                                        LIVONIA             MI 48152‐4060
TRUSZKOWSKI, THOMAS A         914 BEECHWOOD ST NE                                                                                     GRAND RAPIDS        MI 49505‐3710
TRUTRANS INC                  1015 3RD ST STE H                                                                                       COLUMBUS            IN 47201‐6800
TRUTTMANN DIANE L             TRUTTMANN, DIANE L                12 W LINCOLN ST                                                       BELLEVILLE           IL 62220‐2018
TRUTTMANN DIANE L             TRUTTMANN, DIANE L                23 PUBLIC SQUARE SUITE 450                                            BELLEVILLE           IL 62220
TRUTTMANN, DIANE L            13 MARLO DR                                                                                             BELLEVILLE           IL 62226‐6534
TRUTTMANN, DIANE L            COOK YSURA BARTHOLOMEW BRAUER &   12 W LINCOLN ST                                                       BELLEVILLE           IL 62220‐2018
                              SHELVIN LTD
TRUTTMANN, DIANE L            KUEHN LAW FIRM                    23 PUBLIC SQ STE 450                                                  BELLEVILLE         IL 62220‐1600
TRUTY JOHN (470665)           CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                      CLEVELAND          OH 44115
                              GAROFOLI                          FL
TRUVILLE CHRISTIAN            2619 SHRIVER AVE                                                                                        INDIANAPOLIS        IN   46208‐5668
TRUX INTERNATIONAL INC        2101 DIXIE RD                                                                   MISSISSAUGA CANADA ON
                                                                                                              L4Y 1Z1 CANADA
TRUXALL JR, EPHRAIM J         9566 MUELLER ST                                                                                         TAYLOR             MI    48180‐3571
TRUXALL, GLEN                 9566 MUELLER ST                                                                                         TAYLOR             MI    48180‐3571
TRUXALL, KENNETH D            16356 DODGE ST                                                                                          ROMULUS            MI    48174‐3108
TRUXALL, STEPHEN A            1250 ALTON DR SW                                                                                        SHERRODSVILLE      OH    44675‐9513
TRUXELL, JOHN S               7862 OLD CHANNEL TRL                                                                                    MONTAGUE           MI    49437‐1455
TRUXELL, NANCY S              7862 OLD CHANNEL TRL                                                                                    MONTAGUE           MI    49437
TRUXELL, ROBERT W             3653 LAKECREST DR                                                                                       BLOOMFIELD HILLS   MI    48304‐3036
TRUXTON, MARGUERITE           4448 WILTSHIRE DRIVE                                                                                    HOWELL             MI    48843‐6620
TRUXTON, SCOTT A              2384 ROLLINS ST                                                                                         GRAND BLANC        MI    48439‐4340
TRUXTON, SCOTT A.             2384 ROLLINS ST                                                                                         GRAND BLANC        MI    48439‐4340
TRUXTON, SHARON A             935 E MAPLE ST                                                                                          HOLLY              MI    48442‐1723
TRUXTON, WINNIFRED M          17515 BROADLAND LANE                                                                                    OKEECHOBEE         FL    34974‐8550
TRUYENS, JEAN J               7281 CATALINA ISLE DR                                                                                   LAKE WORTH         FL    33467‐7746
TRUYENS, LILY                 7281 CATALINA ISLE DR                                                                                   LAKE WORTH         FL    33467‐7746
TRUYMAN MARK                  633 BROOKWOOD DR                                                                                        SEYMOUR            WI    54165‐1802
TRUZZOLINO, GARY              6857 ANTINORI LANE                                                                                      BOYNTON BEACH      FL    33437‐3754
                                  09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                                      Part 37 of 40 Pg 537 of 901
Name                             Address1                          Address2                        Address3                  Address4                 City               State Zip
TRUZZOLINO, VICTOR               68A CHELSEA DR                                                                                                       WHITING             NJ 08759‐2359
TRW                              500 CITY PKWY W                                                                                                      ORANGE              CA 92868‐2913
TRW AUTO/BRAZIL                  AV ALEXANDRE DE GUSMAO ‐ 11256    SANTO ANDRE ‐ SAN PAULO                                   SANTO ANDRE BR 09111‐
                                                                                                                             310 BRAZIL
TRW AUTO/FARMINGTON              26877 NORTHWESTERN HWY # 111                                                                                         SOUTHFIELD         MI 48033‐2140
TRW AUTO/FARMINGTON              TRW TRANSPORTATION                ELECTRONICS DIVISION            24175 RESEARCH DRIVE                               FARMINGTN HLS      MI 48335
TRW AUTO/GERMANY                 INDUSTRIESTRASSE 2‐8                                                                        RADOLFZELL BW 78315
                                                                                                                             GERMANY
TRW AUTO/SHIP FROM               255 KIRTS BLVD                                                                                                       TROY               MI   48084‐5260
TRW AUTO/SHIP FROM               PO BOX 5649                                                                                                          WINONA             MN   55987‐0549
TRW AUTO/WASHINGTON              49081 WIXOM TECH DR                                                                                                  WIXOM              MI   48393‐3558
TRW AUTO/WASHINGTON              1400 OLD SALEM ROAD                                                                                                  COOKEVILLE         TN   38501
TRW AUTO/WESTMINSTER             180 STATE RD E RTE 2A                                                                                                WESTMINSTER        MA   01473
TRW AUTO/WIXOM                   49081 WIXOM TECH DR                                                                                                  WIXOM              MI   48393‐3558
TRW AUTOM/FARMINGTON             24175 RESEARCH DR                 ELECTRICAL/ELECTRONICS                                                             FARMINGTON HILLS   MI   48335‐2634
TRW AUTOMOTIVE                   PO BOX 67000                                                                                                         DETROIT            MI   48267‐0171
TRW AUTOMOTIVE                   FRMLY LUCAS VARITY                12000 TECH CENTER DR                                                               LIVONIA            MI   48150‐2121
TRW AUTOMOTIVE                   12025 TECH CENTER DR                                                                                                 LIVONIA            MI   48150‐2122
TRW AUTOMOTIVE                   320 N TAYLOR RD                   AUBURN FACILITY                                                                    GARRETT            IN   46738‐1844
TRW AUTOMOTIVE                   24175 RESEARCH DR                                                                                                    FARMINGTON HILLS   MI   48335‐2634
TRW AUTOMOTIVE                   37000 PLYMOUTH RD                                                                                                    LIVONIA            MI   48150‐1132
TRW AUTOMOTIVE                   PO BOX 67‐171                                                                                                        DETROIT            MI   48231
TRW AUTOMOTIVE                   23855 RESEARCH DR                                                                                                    FARMINGTON HILLS   MI   48335‐2628
TRW AUTOMOTIVE                                                     23855 RESEARCH DRIVE                                                                                  MI   48335
TRW AUTOMOTIVE                   12000 TECH CENTER DR                                                                                                 LIVONIA            MI   48150‐2121
TRW AUTOMOTIVE                   12075 TECH CENTER DR STE 2                                                                                           LIVONIA            MI   48150‐6104
TRW AUTOMOTIVE AND GENERAL       12001 TECH CENTER DR                                                                                                                    MI   48150‐2122
MOTORS CORPORATION
TRW AUTOMOTIVE COMPONENTS        VIVI LEE                          (SUZHOU)                        HUAYUAN ROAD NO 18                                 GRAND RAPIDS       MI 49508
                                                                                                   XIANGCHENG
TRW AUTOMOTIVE COMPONENTS        SUZHOU CO LTD                     HUAYUAN RD #8 XIANGCHENG DIST                             SUZHOU CHINA CHINA

TRW AUTOMOTIVE COMPONENTS        LANGFANG CO LTD                   YAOHUA ROAD                     LANGFANG ECONOMIC &       LANGFANG 65001 CHINA
                                                                                                   TECHNICAL DEVELOPMENT
                                                                                                   ZONE
TRW AUTOMOTIVE COMPONENTS        HUAYUAN ROAD NO 18 XIANGCHENG                                                               SUZHOU CN 215131 CHINA
(SUZHOU)                                                                                                                     (PEOPLE'S REP)
TRW AUTOMOTIVE COMPONENTS        HUAYUAN ROAD NO 18 XIANGCHENG     DISTRICT                                                  SUZHOU, CN 21513 CHINA
(SUZHOU)
TRW AUTOMOTIVE ELECTRONICS       5752 INDUSTRIAL PARK RD                                                                                              WINONA             MN 55987‐1448
TRW AUTOMOTIVE ELECTRONICS       PAT HELLER X 788                  INDUSTRIESTRASSE 2‐8 D‐78315    RADOLFZELL                COLWYN BAY CLYWD
                                                                                                                             GREAT BRITAIN
TRW AUTOMOTIVE ELECTRONICS       KARLA MITCHELL                    ETTRICK BRANCH                  204 W JUDD ST                                      RUSHFORD           MN   55971
TRW AUTOMOTIVE ELECTRONICS       KARLA MITCHELL                    WINONA BRANCH                   5752 INDUSTRIAL PARK RD                            HOLLAND            MI   49423
TRW AUTOMOTIVE ELECTRONICS       JOHN BOYLE X8979                  RUSHFORD BRANCH                 HWY 43 N, PO BOX 708                               WINONA             MN   55987
TRW AUTOMOTIVE ELECTRONICS       LUCAS BODY SYSTEMS                5676 INDUSTRIAL PARK RD         LUCAS BODY SYSTEMS                                 WINONA             MN   55987‐1420
TRW AUTOMOTIVE ELECTRONICS       5676 INDUSTRIAL PARK RD                                                                                              WINONA             MN   55987‐1420
TRW AUTOMOTIVE ELECTRONICS       KARLA MITCHELL                    5752 INDUSTRIAL PARK RD         WINONA BRANCH                                      WINONA             MN   55987‐1448
TRW AUTOMOTIVE ELECTRONICS       5676 INDUSTRIAL PARK RD           PO BOX 5649                                                                        WINONA             MN   55987‐1420
TRW AUTOMOTIVE ELECTRONICS & C   INDUSTRIESTR 2‐8                                                                            RADOLFZELL BW 78315
                                                                                                                             GERMANY
                                09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                    Part 37 of 40 Pg 538 of 901
Name                           Address1                          Address2                        Address3                 Address4                 City            State Zip
TRW AUTOMOTIVE ELECTRONICS &   INDUSTRIESTRASSE 2‐8                                                                       RADOLFZELL BW 78315
COMPON                                                                                                                    GERMANY
TRW AUTOMOTIVE ELECTRONICS &   AM PULVERHAEUSCHEN 7                                                                       ENKENBACH ALSENBORN
COMPON                                                                                                                    RP 67677 GERMANY
TRW AUTOMOTIVE ESPANA SI       UDO NENNING (011) 49              C/PLOMO NO 3 CRTA VALENCIA      ARGANDA DEL REY          E BENTLEIGH VICTORIA
                                                                                                                          AUSTRALIA
TRW AUTOMOTIVE GMBH            HANNOVERSCHE STRASSE 73                                                                    BARSINGHAUSEN 30890
                                                                                                                          GERMANY
TRW AUTOMOTIVE GMBH            MARLENE BOSCHET                   TRW ENGINE COMPONENTS        INDUSTRIESTR 20             ALFDORF GERMANY
TRW AUTOMOTIVE GMBH & CO KG    INDUSTRIE STRASSE 2‐8             RADOLFZELL BADEN‐WURTTENBERG                             D‐78315 GERMANY

TRW AUTOMOTIVE HOLDINGS CORP   20175 W MILL RD                                                                                                     GALESVILLE       WI 54630‐7705
TRW AUTOMOTIVE HOLDINGS CORP   MICHAEL HEIDENBLUT                RAINHILL RD STEPHENSON E                                                          CONOVER          NC 28613
TRW AUTOMOTIVE HOLDINGS CORP                                     12001 TECH CENTER DR                                                              LIVONIA          MI 48150‐2122
TRW AUTOMOTIVE HOLDINGS CORP   KAREN GILLIS                      AVENDIA JUAN ESCUTIA # 3201     PARQUE INDUSTRIAL EL     CHIHUAHUA CI 31125
                                                                                                 SAUCITO                  MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   KARLA MITCHELL                    5752 INDUSTRIAL PARK RD         WINONA BRANCH                                     WINONA          MN 55987‐1448
TRW AUTOMOTIVE HOLDINGS CORP   KARLA MITCHELL                    9600 INTERNATIONAL BLVD         BODY CONTROL SYSTEMS                              PHARR           TX 78577‐7294
TRW AUTOMOTIVE HOLDINGS CORP   KARLA MITCHELL                    BODY CONTROL SYSTEMS            9600 INTERNATIONAL BLVD  TAINAN HSIEN TAIWAN
TRW AUTOMOTIVE HOLDINGS CORP   KARLA MITCHELL                    ETTRICK BRANCH                  204 W JUDD ST                                     RUSHFORD        MN 55971
TRW AUTOMOTIVE HOLDINGS CORP   JACKIE CANINE                     AUBERN FACILITY                 817 NORTH TAYLOR RD.                              DETROIT         MI 48202
TRW AUTOMOTIVE HOLDINGS CORP   JACKIE CANINE                     WIXOM PLANT                     28026 OAKLAND OAKS COURT                          TRAVERSE CITY   MI

TRW AUTOMOTIVE HOLDINGS CORP   JESUS RIVERA FRANCO 402                                                                    AGUASCALIENTES MX
                                                                                                                          20290 MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   JESUS RIVERA FRANCO 402           COL CK INDUSTRIAL                                        AGUASCALIENTES 20290
                                                                                                                          MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   JOE VALENTICH                     902 LYONS RD                    PORTLAND PLANT                                    PORTLAND        MI    48875‐1000
TRW AUTOMOTIVE HOLDINGS CORP   JOE VALENTICH                     LAFAYETTE PLANT                 800 HEATH STREET                                  LEBANON         TN    37087
TRW AUTOMOTIVE HOLDINGS CORP   JOE VALENTICH                     PORTLAND PLANT                  902 LYONS ROAD                                    FLINT           MI    48501
TRW AUTOMOTIVE HOLDINGS CORP   JOHN BOYLE X8979                  RUSHFORD BRANCH                 HWY 43 N, PO BOX 708                              WINONA          MN    55987
TRW AUTOMOTIVE HOLDINGS CORP   FOMENTO INDUSTRIAL S/N            PARQUE INDUSTRIAL DEL NORTE                              REYNOSA TM 88736
                                                                                                                          MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   FRANK HOLUPKA                     3900 MOGADORE INDUSTRIAL PKWY                                                     BRIGHTON         MI

TRW AUTOMOTIVE HOLDINGS CORP   FRANK HOLUPKA                     DIVISAO COMPONENTES DE          AV ALEXANDRE DE GUSMAO                            EL PASO          TX   79906
                                                                 MOTORES                         1125
TRW AUTOMOTIVE HOLDINGS CORP   FRANK HOLUPKA                     JESUS RIVERA FRANCO NO. 402     CD INDUSTRIAL                                     MCALLEN          TX 78503
TRW AUTOMOTIVE HOLDINGS CORP   FRANK HOLUPKA                     TRW VALVE DV                    128 RIVER BEND DR                                 FLINT            MI 48551‐0001
TRW AUTOMOTIVE HOLDINGS CORP   HUAYUAN ROAD NO 18 XIANGCHENG                                                              SUZHOU CN 215131 CHINA
                                                                                                                          (PEOPLE'S REP)
TRW AUTOMOTIVE HOLDINGS CORP   HUAYUAN ROAD NO 18 XIANGCHENG     DISTRICT                                                 SUZHOU 215131 CHINA
                                                                                                                          (PEOPLE'S REP)
TRW AUTOMOTIVE HOLDINGS CORP   INDUSTRIESTRASSE 2‐8                                                                       RADOLFZELL BW 78315
                                                                                                                          GERMANY
TRW AUTOMOTIVE HOLDINGS CORP   JACKIE CANINE                     2328 E. GENESSE AVE.                                                              WILLOUGHBY      OH 44094
TRW AUTOMOTIVE HOLDINGS CORP   JACKIE CANINE                     28026 OAKLAND OAKS CT           WIXOM PLANT                                       WIXOM           MI 48393‐3341
TRW AUTOMOTIVE HOLDINGS CORP   JACKIE CANINE                     817 N TAYLOR RD                 AUBERN FACILITY                                   GARRETT         IN 46738‐1885
TRW AUTOMOTIVE HOLDINGS CORP   AVENDIA JUAN ESCUTIA #3201        PARQUE INDUSTRIAL EL SAUCITO                             CHIHUAHUA CI 31125
                                                                                                                          MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   BEVERLY HUARD                     AV MIGUEL DE CERVANTES NO 141                            DIEPHOLZ GERMANY
                                09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                    Part 37 of 40 Pg 539 of 901
Name                           Address1                          Address2                         Address3                   Address4                   City               State Zip
TRW AUTOMOTIVE HOLDINGS CORP   BEVERLY HUARD                     C/O TVL                          1320 HENRY BRENNAN DR STE                             EL PASO             TX 79936
                                                                                                  H
TRW AUTOMOTIVE HOLDINGS CORP   BEVERLY HUARD                     TRW SEATBELTS DIVISION           600 E. MILITARY HWY, SUITE                            SANTA FE SPRINGS   CA
                                                                                                  100
TRW AUTOMOTIVE HOLDINGS CORP   BEVERLY HUARD                     TRW VEHICLE SAFETY SYSTEMS       1400 OLD SALEM ROAD BOX                               SPRING LAKE        MI 49456
                                                                                                  3027
TRW AUTOMOTIVE HOLDINGS CORP   BRECHA E 99 SUR KM 1.5                                                                        REYNOSA TM 88500
                                                                                                                             MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   BRECHA E 99 SUR KM 1.5            COL PARQUE INDSUTRIAL                                       REYNOSA TM 88500
                                                                                                                             MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   BRECHA E‐99                                                                                   REYNOSA TM 88500
                                                                                                                             MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   CARL SPAETERSTR 8                                                                             KOBLENZ RP 56070
                                                                                                                             GERMANY
TRW AUTOMOTIVE HOLDINGS CORP   DOMINIC DELBEL                    WERKSTR 1                                                                              CLEVELAND          GA 30528
TRW AUTOMOTIVE HOLDINGS CORP   FOMENTO INDUSTRIAL S/N                                                                          REYNOSA TM 88736
                                                                                                                               MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   MICHAEL HEIDENBLUT                44‐191‐419‐7550                  RAINHILL RD STEPHENSON E                              CONOVER            NC 28613

TRW AUTOMOTIVE HOLDINGS CORP   MR. YAN DENG                      YAOHUA RD LANGSEN AUTO PARK      LANGFANG DEVELOPMENT         KUNSHAN CITY CHINA
                                                                                                  ZONE                         (PEOPLE'S REP)
TRW AUTOMOTIVE HOLDINGS CORP   OLIVER ARMBRECHT                  RUDOLF‐DIESEL STR 7                                           PORT ELIZABETH SOUTH
                                                                                                                               AFRICA
TRW AUTOMOTIVE HOLDINGS CORP   PAT HELLER X 788                  INDUSTRIESTRASSE 2‐8 D‐78315     RADOLFZELL                   COLWYN BAY CLYWD
                                                                                                                               GREAT BRITAIN
TRW AUTOMOTIVE HOLDINGS CORP   RANDY RUPP                        TRW ROSSGEAR DIVISION            1103 BADDOUR PKWY.                                    GRAND HAVEN        MI 49417
TRW AUTOMOTIVE HOLDINGS CORP   RUSSELL J STEBBINS                TRW SEATBELTS DIVISION           600 E. MILITARY HWY, SUITE                            PHARR              TX 78577
                                                                                                  100
TRW AUTOMOTIVE HOLDINGS CORP   UDO NENNING (011) 49              C/PLOMO NO 3 CRTA VALENCIA       ARGANDA DEL REY              E BENTLEIGH VICTORIA
                                                                                                                               AUSTRALIA
TRW AUTOMOTIVE HOLDINGS CORP   VIA VALTROMPIA 125                                                                              GARDONE VAL TROMPIA IT
                                                                                                                               25063 ITALY
TRW AUTOMOTIVE HOLDINGS CORP   VIVI LEE                          (SUZHOU)                         HUAYUAN ROAD NO 18                                    GRAND RAPIDS       MI 49508
                                                                                                  XIANGCHENG
TRW AUTOMOTIVE HOLDINGS CORP   ZONA INDUSTRIAL POLO 2 LOTE 1     ALTO DAS CEREJAS CAMPOS                                       VN CERVEIRA CAMPOS PT
                                                                                                                               4920 PORTUGAL
TRW AUTOMOTIVE HOLDINGS CORP   AV ALEXANDRE DE GUSMAO 11256                                                                    SANTO ANDRE SP 09111
                                                                                                                               310 BRAZIL
TRW AUTOMOTIVE HOLDINGS CORP   AV DE LA MONTANA 128                                                                            QUERETARO QA 76220
                                                                                                                               MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   AV DE LAS FUENTES NO 29                                                                         EL MARQUEZ QA 76246
                                                                                                                               MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   AV DE LAS FUENTES NO 29           PARQUE INDL BERNANDO                                          EL MARQUEZ QA 76246
                                                                 QUINTANA                                                      MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   AV FAGUNDES DE OLIVEREIRA 1680    VILA SAO JOSE                                                 DIADEMA SP 09950 906
                                                                                                                               BRAZIL
TRW AUTOMOTIVE HOLDINGS CORP   AV JUAN ESCUTIA NO 3201‐A                                                                       CHIHUAHUA CH 31125
                                                                                                                               MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   AV LA GREIEGA #101                                                                              QUERETARO QA 76220
                                                                                                                               MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   AV LA GREIEGA #101                PARQUE INDUSTRIAL DE QUERETARO                                QUERETARO QA 76220
                                                                                                                               MEXICO
                               09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                    Part 37 of 40 Pg 540 of 901
Name                           Address1                            Address2                  Address3                  Address4               City                       State Zip
TRW AUTOMOTIVE HOLDINGS CORP   AV MIGUEL DE CERVANTES SAAVEDRA 141                                                     CHIHUAHUA 31109 MEXICO

TRW AUTOMOTIVE HOLDINGS CORP   AVENDIA JUAN ESCUTIA #3201                                                              CHIHUAHUA CI 31125
                                                                                                                       MEXICO
TRW AUTOMOTIVE HOLDINGS CORP   KARLA MITCHELL                      WINONA BRANCH             5752 INDUSTRIAL PARK RD                              HOLLAND                 MI 49423
TRW AUTOMOTIVE HOLDINGS CORP   LEONARDO DA VINCI 7                                                                     GLIWICE PL 44‐121 POLAND
                                                                                                                       (REP)
TRW AUTOMOTIVE HOLDINGS CORP   MARLENE BOSCHET                     TRW ENGINE COMPONENTS     INDUSTRIESTR 20           BURLINGTON ON CANADA
TRW AUTOMOTIVE HOLDINGS CORP   722 4 KOJAN DONG NAMDONG GU                                                             INCHON 405 821 KOREA
                                                                                                                       (REP)
TRW AUTOMOTIVE HOLDINGS CORP   817 N TAYLOR RD                                                                                                    GARRETT                IN    46738‐1885
TRW AUTOMOTIVE HOLDINGS CORP   8405 BLACKJACK ROAD EXT                                                                                            MOUNT VERNON           OH    43050‐9485
TRW AUTOMOTIVE HOLDINGS CORP   902 S 2ND ST                                                                                                       MARSHALL               IL    62441‐1854
TRW AUTOMOTIVE HOLDINGS CORP   9475 CENTER RD                                                                                                     FENTON                 MI    48430‐9388
TRW AUTOMOTIVE HOLDINGS CORP   AM PULVERHAEUSCHEN 7                                                                    ENKENBACH ALSENBORN
                                                                                                                       RP 67677 GERMANY
TRW AUTOMOTIVE HOLDINGS CORP   ARLENE SOMERVILLE                   180 STATE RD E            FASTENERS GROUP                                      WESTMINSTER            MA    01473‐1208
TRW AUTOMOTIVE HOLDINGS CORP   ARLENE SOMERVILLE                   FASTENERS GROUP           180 STATE ROAD EAST                                  GRANDVILLE             MI    49418
TRW AUTOMOTIVE HOLDINGS CORP   2328 E GENESEE AVE                                                                                                 SAGINAW                MI    48601‐2428
TRW AUTOMOTIVE HOLDINGS CORP   24175 RESEARCH DR                                                                                                  FARMINGTON HILLS       MI    48335‐2634
TRW AUTOMOTIVE HOLDINGS CORP   34201 VAN DYKE AVE                                                                                                 STERLING HEIGHTS       MI    48312‐4648
TRW AUTOMOTIVE HOLDINGS CORP   37000 PLYMOUTH RD                                                                                                  LIVONIA                MI    48150‐1132
TRW AUTOMOTIVE HOLDINGS CORP   3900 MOGADORE INDUSTRIAL PKWY                                                                                      MOGADORE               OH    44260‐1201
TRW AUTOMOTIVE HOLDINGS CORP   4505 26 MILE RD                     EAST BLDG                                                                      WASHINGTON             MI    48094‐2600
TRW AUTOMOTIVE HOLDINGS CORP   49081 WIXOM TECH DR                                                                                                WIXOM                  MI    48393‐3558
TRW AUTOMOTIVE HOLDINGS CORP   500 E VAN RIPER RD                                                                                                 FOWLERVILLE            MI    48836‐7908
TRW AUTOMOTIVE HOLDINGS CORP   5531 RAFE CT                                                                                                       FLOWERY BRANCH         GA    30542‐2770
TRW AUTOMOTIVE HOLDINGS CORP   5676 INDUSTRIAL PARK RD                                                                                            WINONA                 MN    55987‐1420
TRW AUTOMOTIVE HOLDINGS CORP   5676 INDUSTRIAL PARK RD             PO BOX 5649                                                                    WINONA                 MN    55987‐1420
TRW AUTOMOTIVE HOLDINGS CORP   5752 INDUSTRIAL PARK RD                                                                                            WINONA                 MN    55987‐1448
TRW AUTOMOTIVE HOLDINGS CORP   5932 COMMERCE BLVD                                                                                                 MORRISTOWN             TN    37814‐1051
TRW AUTOMOTIVE HOLDINGS CORP   600 E MILTARY HWY STE 100                                                                                          PHARR                  TX    78577
TRW AUTOMOTIVE HOLDINGS CORP
TRW AUTOMOTIVE HOLDINGS CORP   12025 TECH CENTER DR                                                                                               LIVONIA                MI    48150‐2122
TRW AUTOMOTIVE HOLDINGS CORP   15833 W JUDD ST                                                                                                    ETTRICK                WI    54627‐9502
TRW AUTOMOTIVE HOLDINGS CORP   15833 W JUDD ST                     PO BOX 147                                                                     ETTRICK                WI    54627‐9502
TRW AUTOMOTIVE HOLDINGS CORP   180 STATE RD E RTE 2A                                                                                              WESTMINSTER            MA    01473
TRW AUTOMOTIVE HOLDINGS CORP   180 STATE RD E RTE 2A               PO BOX 890                                                                     WESTMINSTER            MA    01473
TRW AUTOMOTIVE HOLDINGS CORP   19501 EMERY RD                                                                                                     WARRENSVILLE HEIGHTS   OH    44128‐4162
TRW AUTOMOTIVE HOLDINGS CORP   2150 CRANE BROOK DR                                                                                                AUBURN                 NY    13021‐9516
TRW AUTOMOTIVE HOLDINGS CORP   230 LOUTH ST N                                                                          ST CATHARINES ON L2R 7B5
                                                                                                                       CANADA
TRW AUTOMOTIVE HOLDINGS CORP   12001 TECH CENTER DR                                                                                               LIVONIA                 MI 48150‐2122
TRW AUTOMOTIVE INC             KARLA MITCHELL                      9600 INTERNATIONAL BLVD   BODY CONTROL SYSTEMS                                 PHARR                   TX 78577‐7294
TRW AUTOMOTIVE INC             KARLA MITCHELL                      BODY CONTROL SYSTEMS      9600 INTERNATIONAL BLVD   TAINAN HSIEN TAIWAN
TRW AUTOMOTIVE INC             PO BOX 67‐171                                                                                                      DETROIT                MI    48231
TRW AUTOMOTIVE INC             12025 TECH CENTER DR                                                                                               LIVONIA                MI    48150‐2122
TRW AUTOMOTIVE INC             5531 RAFE CT                                                                                                       FLOWERY BRANCH         GA    30542‐2770
TRW AUTOMOTIVE INC                                                 12025 TECH CENTER DR                                                                                  MI    48150
TRW AUTOMOTIVE INC             37000 PLYMOUTH RD                                                                                                  LIVONIA                MI    48150‐1132
TRW AUTOMOTIVE INC             500 E VAN RIPER RD                                                                                                 FOWLERVILLE            MI    48836‐7908
TRW AUTOMOTIVE INC             19501 EMERY RD                                                                                                     WARRENSVILLE HEIGHTS   OH    44128‐4162
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                                                       Part 37 of 40 Pg 541 of 901
Name                                 Address1                             Address2                      Address3                  Address4                   City               State Zip
TRW AUTOMOTIVE INC,
TRW AUTOMOTIVE INC,                  BUTZEL LONG, PC                      150 W JEFFERSON AVE STE 100                                                        DETROIT             MI 48226
TRW AUTOMOTIVE LTDA                  AV ALEXANDRE DE GUSMAO 11256                                                                 SANTO ANDRE SP 09111
                                                                                                                                  310 BRAZIL
TRW AUTOMOTIVE LTDA                  VIA ANHANGUERA KM 147                LIMEIRA‐SP 13486‐915                                    SAN PAULO BRAZIL
TRW AUTOMOTIVE LTDA                  AV FAGUNDES DE OLIVEREIRA 1680       VILA SAO JOSE                                           DIADEMA SP 09950 906
                                                                                                                                  BRAZIL
TRW AUTOMOTIVE LUCAS                 AUTOMOTIVE GMBH                      CARL SPAETER STR‐8                                      KOBLENZ 56070 GERMANY
TRW AUTOMOTIVE LUCAS AUTOMOTIVE      CARL SPAETERSTR 8                                                                            KOBLENZ RP 56070
GMB                                                                                                                               GERMANY
TRW AUTOMOTIVE S. AM SA              FRANK HOLUPKA                        DIVISAO COMPONENTES DE        AV ALEXANDRE DE GUSMAO                               EL PASO             TX   79906
                                                                          MOTORES                       1125
TRW AUTOMOTIVE U.S. LLC              12001 TECH CENTER DRIVE                                                                                                 LIVONIA            MI    48150
TRW AUTOMOTIVE US LLC                902 S 2ND ST                                                                                                            MARSHALL           IL    62441‐1854
TRW AUTOMOTIVE US LLC                180 STATE RD E RTE 2A                PO BOX 890                                                                         WESTMINSTER        MA    01473
TRW AUTOMOTIVE US LLC                180 STATE RD E RTE 2A                                                                                                   WESTMINSTER        MA    01473
TRW AUTOMOTIVE US LLC                SCOTT D BLACKHURST                   12001 TECH CENTER DR                                                               LIVONIA            MI    48150
TRW AUTOMOTIVE US LLC (AS ASSIGNEE   SCOTT D BLACKHURST                   12001 TECH CENTER DR                                                               LIVONIA            MI    48150
OF THE FORMER TRW INC)
TRW AUTOMOTIVE US LLC AS ASSIGNEE OF PEPPER HAMILTON LLP                  C/O THOMAS P WILCZAK          100 RENAISASANCE CENTER   SUITE 3600                 DETROIT             MI 48243
THE FORMER TRW INC
TRW AUTOMOTIVE US LLC SPC            RACK AND PINION DIV                  2101 W MAIN ST                                                                     ROGERSVILLE         TN   37857
TRW AUTOMOTIVE USA LLC               12025 TECH CENTER DR                                                                                                    LIVONIA             MI   48150‐2193
TRW AUTOMOTIVE USA LLC               34201 VAN DYKE AVE                                                                                                      STERLING HEIGHTS    MI   48312‐4648
TRW BEARING                          FRENOS Y MECANISMOS SA DE CV         150 W JEFFERSON AVE STE 100                                                        DETROIT             MI   48226‐4452
TRW BEARING                          KOYO CORPORATION OF USA              840 W LONG LAKE RD STE 200                                                         TROY                MI   48098‐6358
TRW BEARING                          TRW AUTOMOTIVE INC                   150 W JEFFERSON AVE STE 100                                                        DETROIT             MI   48226‐4452
TRW BEARING                          TRW INC                              150 W JEFFERSON AVE STE 100                                                        DETROIT             MI   48226‐4452
TRW BRAKING SYSTEMS POLSKA SP ZOO    UL LEONARDA DA VINCI 7                                                                       GLIWICE 44‐121 POLAND

TRW BRAKING SYSTEMS SP ZOO           LEONARDO DA VINCI 7                                                                          GLIWICE PL 44‐121 POLAND
                                                                                                                                  (REP)
TRW CANAD/NIAGARA FA                 PO BOX 765                           MAIN ST. POST OFFICE                                                               NIAGARA FALLS       NY 14302‐0765
TRW CANADA LTD                       230 LOUTH ST N                                                                               ST CATHARINES ON L2R 7B5
                                                                                                                                  CANADA
TRW CANADA LTD
TRW CANADA LTD                       230 LOUTH ST                                                                                 ST CATHARINES CANADA
                                                                                                                                  ON L2R 7B5 CANADA
TRW CANADA/CANADA                    BOX 3004                             230 LOUTH ST.                                           ST. CATHERINES ON L2R
                                                                                                                                  7B5 CANADA
TRW CONTROLS & FASTENERS INC         722 4 KOJAN DONG NAMDONG GU                                                                  INCHON 405 821 KOREA
                                                                                                                                  (REP)
TRW CONTROLS & FASTNERS INC          #722‐4 KOJAN‐DONG                    NAMDONG‐KU INCHON                                       KOREA SOUTH KOREA
TRW DO BRASIL S A                    AV JOAO RAMALHO 2000 PQ S VINCENTE                                                           MAUA SP 9371 BRAZIL

TRW DUETSCHLAND GMBH                 DOMINIC DELBEL                       WERKSTR 1                                                                          CLEVELAND           GA 30528
TRW ELECTRONICA ENSAMBLES SA DE CV   BRECHA E‐99                                                                                  REYNOSA TM 88500
                                                                                                                                  MEXICO
TRW ELECTRONICA ENSAMBLES SA DE CV   BRECHA E‐99                          COLONIA PARQUE INDUSTRIAL                               REYNOSA, TM 88500
                                                                                                                                  MEXICO
TRW ELECTRONICS                      24175 RESEARCH DR                                                                                                       FARMINGTON HILLS    MI 48335‐2634
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                          Part 37 of 40 Pg 542 of 901
Name                                 Address1                          Address2                        Address3                   Address4                 City               State Zip
TRW ENGINE COMPONENTS CO. LTD        MR. YAN DENG                      YAOHUA RD LANGSEN AUTO PARK     LANGFANG DEVELOPMENT       KUNSHAN CITY CHINA
                                                                                                       ZONE                       (PEOPLE'S REP)
TRW ENGINE/CLEVELAND                 1455 E 185TH ST                                                                                                       CLEVELAND          OH 44110‐2823
TRW FAHRZEUGELEKTRIK GMBH & CO       TRW AUTOMOTIVE ELECTRONICS        POSTFACH 1420                                              RADOLFZELL 78304
                                                                                                                                  GERMANY
TRW FAST/ROSEVILLE                   15226 COMMON RD                                                                                                       ROSEVILLE          MI    48066‐1810
TRW FAST/WESTMINSTER                 180 STATE RD E                    RTE 2A                                                                              WESTMINSTER        MA    01473‐1208
TRW FAST/WESTMINSTER                 180 STATE RD E                                                                                                        WESTMINSTER        MA    01473‐1208
TRW FAST/WESTMINSTER                 13125 E 8 MILE RD                 C/O MARIAH INDUSTRIES                                                               WARREN             MI    48089‐3276
TRW FASTENERS DIV                    PO BOX AEZ55068                                                                                                       DETROIT            MI    48277‐0027
TRW FASTENERS DIVISION               ARLENE SOMERVILLE                 FASTENERS GROUP                 180 STATE ROAD EAST                                 GRANDVILLE         MI    49418
TRW FASTENERS DIVISION               ARLENE SOMERVILLE                 180 STATE RD E                  FASTENERS GROUP                                     WESTMINSTER        MA    01473‐1208
TRW FUJI VALVE                       1455 E 185TH ST                                                                                                       CLEVELAND          OH    44110‐2823
TRW FUJI/SEVIERVILLE                 128 RIVER BEND DR                                                                                                     SEVIERVILLE        TN    37876‐1942
TRW INC                              JACKIE CANINE                     28026 OAKLAND OAKS CT           WIXOM PLANT                                         WIXOM              MI    48393‐3341
TRW INC                              JACKIE CANINE                     WIXOM PLANT                     28026 OAKLAND OAKS COURT                            TRAVERSE CITY      MI

TRW INC                              RANDY RUPP                        TRW ROSSGEAR DIVISION           1103 BADDOUR PKWY.                                  GRAND HAVEN        MI    49417
TRW INC                              FRANK HOLUPKA                     TRW VALVE DV                    128 RIVER BEND DR                                   FLINT              MI    48551‐0001
TRW INC                              HWY 43 N                                                                                                              RUSHFORD           MN    55971
TRW INC                              20175 W MILL RD                                                                                                       GALESVILLE         WI    54630‐7705
TRW INC                              24175 RESEARCH DR                                                                                                     FARMINGTON HILLS   MI    48335‐2634
TRW INC                              49081 WIXOM TECH DR                                                                                                   WIXOM              MI    48393‐3558
TRW INC                              817 N TAYLOR RD                                                                                                       GARRETT            IN    46738‐1885
TRW INC                              265 THIRD ST                                                                                                          CAMBRIDGE          MA    02142
TRW INC                              2150 CRANE BROOK DR                                                                                                   AUBURN             NY    13021‐9516
TRW INC                              9475 CENTER RD                                                                                                        FENTON             MI    48430‐9388
TRW INC                              180 STATE RD E                                                                                                        WESTMINSTER        MA    01473‐1208
TRW INC
TRW INC                              BUTZEL LONG, PC                   150 W JEFFERSON AVE STE 100                                                         DETROIT            MI    48226
TRW INC                              8405 BLACKJACK ROAD EXT                                                                                               MOUNT VERNON       OH    43050‐9485
TRW INC.                             JACKIE CANINE                     AUBERN FACILITY                 817 NORTH TAYLOR RD.                                DETROIT            MI    48202
TRW INC.                             JACKIE CANINE                     817 N TAYLOR RD                 AUBERN FACILITY                                     GARRETT            IN    46738‐1885
TRW INCORPORATED                     JOHN HARENDA                      NELSON DIVISION                 7900 W. RIDGE ROAD                                  MAUMEE             OH    43537
TRW INTEGRATED CHASSIS LLC           JACKIE CANINE                     2328 E. GENESSE AVE.                                                                WILLOUGHBY         OH    44094
TRW INTEGRATED CHASSIS LLC           2328 E GENESEE AVE                                                                                                    SAGINAW            MI    48601‐2428
TRW INTEGRATED CHASSIS SYSTEMS       PO BOX 77000                                                                                                          DETROIT            MI    48277‐0400
TRW INTEGRATED CHASSIS SYSTEMS LLC   2328 E GENESEE AVE                                                                                                    SAGINAW            MI    48601‐2428

TRW INTEGRATED CHASSIS SYSTEMS LLC   ATTN: ASSISTANT GENERAL COUNSEL   12001 TECH CENTER DR                                                                LIVONIA             MI 48150‐2122

TRW ITALIA SPA                       VIA VALTROMPIA 125                                                                           GARDONE VAL TROMPIA IT
                                                                                                                                  25063 ITALY
TRW KEYSTONE/CLVLAND                 1455 E 185TH ST                                                                                                       CLEVELAND          OH 44110‐2823
TRW KFZ AUSRUESTUNG GMBH             OLIVER ARMBRECHT                  RUDOLF‐DIESEL STR 7                                        PORT ELIZABETH SOUTH
                                                                                                                                  AFRICA
TRW KFZ AUSRUSTUNG GMBH              RUDOLF‐DIESEL‐STR 7                                                                          NEUWIED 56566 GERMANY
TRW KFZ/GERMANY                      RUDOLF‐DIESEL‐STR. 7                                                                         NEUWIED GE 56566
                                                                                                                                  GERMANY
TRW KOYO SYSTEMS COMPANY             55 EXCELLENCE WAY                                                                                                     VONORE              TN 37885‐2123
TRW LSD                              PO BOX 8008                       34201 VAN DYKE UPDT 1/17/8 AM                                                       STERLING HTS        MI 48311‐8008
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                   Exhibit B
                                                                         Part 37 of 40 Pg 543 of 901
Name                                Address1                              Address2                         Address3                   Address4                 City                   State Zip
TRW OCCUPANT RESTRAINT DE CHI       BEVERLY HUARD                         AV MIGUEL DE CERVANTES NO 141                               DIEPHOLZ GERMANY

TRW OCCUPANT RESTRAINTS DE CHI      AV MIGUEL DE CERVANTES SAAVEDR                                                                    CHIHUAHUA MX 31109
                                                                                                                                      MEXICO
TRW OCCUPANT RESTRAINTS DE          AV JUAN ESCUTIA NO 3201‐A                                                                         CHIHUAHUA CH 31125
CHIHUAHU                                                                                                                              MEXICO
TRW OCCUPANT RESTRAINTS DE          AV MIGUEL DE CERVANTES SAAVEDRA 141                                                               CHIHUAHUA 31109 MEXICO
CHIHUAHU
TRW OD/LIVONIA                      12025 TECH CENTER DR                                                                                                       LIVONIA                 MI 48150‐2122
TRW ODYSSEY INC                     5932 COMMERCE BLVD                                                                                                         MORRISTOWN              TN 37814‐1051
TRW ODYSSEY INC                     JESUS RIVERA FRANCO 402 CD IND        CP 20290 AGUASCALIENTES AGS                                 MEXICO 02300 MEXICO
TRW ODYSSEY INC                     19501 EMERY RD                                                                                                             WARRENSVILLE HEIGHTS   OH    44128‐4162
TRW ROSS GEAR DIV                   PO BOX 77952                                                                                                               DETROIT                MI    48277‐0952
TRW ROSS GEAR DIVISION              JOE VALENTICH                         902 LYONS RD                     PORTLAND PLANT                                      PORTLAND               MI    48875‐1000
TRW ROSS GEAR DIVISION              JOE VALENTICH                         PORTLAND PLANT                   902 LYONS ROAD                                      FLINT                  MI    48501
TRW ROSS GEAR DIVISION              JOE VALENTICH                         LAFAYETTE PLANT                  800 HEATH STREET                                    LEBANON                TN    37087
TRW SAFETY SYSTEMS INC              600 E MILTARY HWY STE 100                                                                                                  PHARR                  TX    78577
TRW SAFETY/QUEEN CRE                11202 EAST GERMANN RD. BLDG 51                                                                                             MESA                   AZ    85212
TRW SISTEMAS DE                     DIRECCIONES SA DE C V                 AV DE LAS FUENTES #29 FRACC      IND B QUINTANA CP 76246 EL MARQUES QRO MEXICO
                                                                                                                                      MEXICO
TRW SISTEMAS DE DIRECCIONES SA DE   AV DE LAS FUENTES NO 29                                                                           EL MARQUEZ QA 76246
                                                                                                                                      MEXICO
TRW SISTEMAS DE DIRECCIONES SA DE   AV DE LA MONTANA 128                                                                              QUERETARO QA 76220
                                                                                                                                      MEXICO
TRW SISTEMAS DE DIRECCIONES SA DE   AV DE LAS FUENTES NO 29               PARQUE INDL BERNANDO                                        EL MARQUEZ QA 76246
                                                                          QUINTANA                                                    MEXICO
TRW STEERING WHEEL SYSTEMS          KAREN GILLIS                          AVENDIA JUAN ESCUTIA # 3201      PARQUE INDUSTRIAL EL                                FARMINGTON              MI
                                                                                                           SAUCITO
TRW STEERING WHEEL SYSTEMS          BEVERLY HUARD                         C/O TVL                          1320 HENRY BRENNAN DR STE                           ANN ARBOR               MI 48103
                                                                                                           H
TRW STEERING WHEEL SYSTEMS          9565 PLAZA CIR                                                                                                             EL PASO                 TX   79927‐2005
TRW STEERING WHEEL SYSTEMS DE
TRW STEERING WHEEL SYSTEMS DE CHIHU AVENDIA JUAN ESCUTIA #3201                                                                        CHIHUAHUA CI 31125
                                                                                                                                      MEXICO
TRW STEERING WHEEL SYSTEMS DE CHIHU AVENDIA JUAN ESCUTIA #3201            PARQUE INDUSTRIAL EL SAUCITO                                CHIHUAHUA CI 31125
                                                                                                                                      MEXICO
TRW STEERING/LIVONIA                29125 BUCKINGHAM                      SUITE 6                                                                              LIVONIA                 MI 48154
TRW STEERING/MEXICO                 AVENDIA JUAN ESCUTIA #3201            PARQUE INDUSTRIAL EL SAUCITO                                CHIHUAHUA CI 31125
                                                                                                                                      MEXICO
TRW STEERING/WASHING                4505 26 MILE RD                                                                                                            WASHINGTON              MI 48094‐2600
TRW SYSTEMS LTD                     MICHAEL HEIDENBLUT                    44‐191‐419‐7550                  RAINHILL RD STEPHENSON E                            CONOVER                 NC 28613

TRW SYSTEMS LTD                     RAINHILL RD STEPHENSON EAST           DIST 12 WASHINGTON TYNE & WEAR                              NE37 3HP ENGLAND GREAT
                                                                                                                                      BRITAIN
TRW TECHNAR/IRWINDLE                24175 RESEARCH DR                     ATTN: JEFF BUSSELL                                                                   FARMINGTON HILLS        MI   48335‐2634
TRW TED                             2240 CRANEBROOK DR                                                                                                         AUBURN                  NY   13021
TRW TED                             PO BOX 78091                                                                                                               DETROIT                 MI   48277‐1256
TRW TRANS ELE/AUBURN                2240 CRANEBROOK DRIVE                                                                                                      AUBURN                  NY   13021
TRW TRANS/FRMNGTN HL                24175 RESEARCH DR                                                                                                          FARMINGTON HILLS        MI   48335‐2634
TRW UNITED CARR GMBH AND CO         POSTFACH 12 63                        AM PULVERHAUSCHEN 7                                         ENKENBACH ALSENBORN
                                                                                                                                      67677 GERMANY
TRW VALVE DIV                       1455 E 185TH ST                                                                                                            CLEVELAND              OH 44110‐2823
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                           Part 37 of 40 Pg 544 of 901
Name                                  Address1                          Address2                        Address3                     Address4                 City               State Zip
TRW VALVE DIV/OHIO                    19501 EMERY RD                                                                                                          CLEVELAND           OH 44128‐4162
TRW VALVE DIVISION                    FRANK HOLUPKA                     3900 MOGADORE INDUSTRIAL PKWY                                                         BRIGHTON            MI

TRW VEH/WASHINGTON                    PARQUE INDUSTRIAL DEL NORTE                                                                    REYNOSA TM 88500
                                                                                                                                     MEXICO
TRW VEHICLE SAFETY                    PLAZA CIRCLE                                                                                                            EL PASO             TX   79927
TRW VEHICLE SAFETY SYS DE MEXICO      BRECHA E 99 SUR KM 1.5                                                                         REYNOSA TM 88500
                                                                                                                                     MEXICO
TRW VEHICLE SAFETY SYS DE MEXICO      BRECHA E 99 SUR KM 1.5            COL PARQUE INDSUTRIAL                                        REYNOSA TM 88500
                                                                                                                                     MEXICO
TRW VEHICLE SAFETY SYSTEM DE M        FOMENTO INDUSTRIAL S/N            PARQUE INDUSTRIAL DEL NORTE                                  REYNOSA TM 88736
                                                                                                                                     MEXICO
TRW VEHICLE SAFETY SYSTEM DE MEXICO   FOMENTO INDUSTRIAL S/N                                                                         REYNOSA TM 88736
                                                                                                                                     MEXICO
TRW VEHICLE SAFETY SYSTEM DE MEXICO   FOMENTO INDUSTRIAL S/N            PARQUE INDUSTRIAL DEL NORTE                                  REYNOSA TM 88736
                                                                                                                                     MEXICO
TRW VEHICLE SAFETY SYSTEMS            PO BOX 77406                                                                                                            DETROIT            MI 48278‐0001
TRW VEHICLE SAFETY SYSTEMS            PO BOX 77000                                                                                                            DETROIT            MI 48277‐1212
TRW VEHICLE SAFETY SYSTEMS            AV MIGUEL DE CERVANTES SAAVEDR    31109 CHIHUAHUA                                              CHIHUAHUA 31109 MEXICO
TRW VEHICLE SAFETY SYSTEMS            600 E MILITARY HWY                STE A                                                                                 PHARR              TX 78577‐9779
TRW VEHICLE SAFETY SYSTEMS DIV        BEVERLY HUARD                     TRW SEATBELTS DIVISION          600 E. MILITARY HWY, SUITE                            SANTA FE SPRINGS   CA
                                                                                                        100
TRW VEHICLE SAFETY SYSTEMS DIV        RUSSELL J STEBBINS                TRW SEATBELTS DIVISION          600 E. MILITARY HWY, SUITE                            PHARR               TX   78577
                                                                                                        100
TRW VEHICLE SAFETY SYSTEMS INC        4505 26 MILE RD                   EAST BLDG                                                                             WASHINGTON         MI 48094‐2600
TRW VEHICLE/MESA                      4051 N HIGLEY RD                                                                                                        MESA               AZ 85215‐1210
TRW, INC.                             BEVERLY HUARD                     TRW VEHICLE SAFETY SYSTEMS      1400 OLD SALEM ROAD BOX                               SPRING LAKE        MI 49456
                                                                                                        3027
TRW/BLUMBERG                          HANNOVERSCHE STR 73               LOWER SAXONY                                                 BARSINGHAUSEN NS 30890
                                                                                                                                     GERMANY
TRW/NELSON DIVISION                   26877 NORTHWESTERN HWY STE 111                                                                                          SOUTHFIELD         MI    48033‐8431
TRW/SAGINAW                           2328 E GENESEE AVE                                                                                                      SAGINAW            MI    48601‐2428
TRX INC                               ATTN: SHANNON CLEVENGER           3359 BRINKERHOFF RD                                                                   KANSAS CITY        KS    66115‐1248
TRY HOURS INC                         3640 BRIARFIELD BLVD                                                                                                    MAUMEE             OH    43537‐9505
TRY HOURS INC                         NICOLE WOJKIEWICZ                 3640 BRIARFIELD BLVD                                                                  MAUMEE             OH    43537‐9505
TRY‐KAL INTERIORS INC
TRYBON, EDWARD S                      32536 OAKLEY ST                                                                                                         LIVONIA            MI    48154‐3538
TRYBULA, PAUL Z                       46674 SNOWBIRD DR                                                                                                       MACOMB             MI    48044‐4717
TRYBULA, THEODORE P                   12201 S 87TH AVE                                                                                                        PALOS PARK          IL   60464‐1208
TRYBULSKI, CATHERINE J                1712 LAWRENCE ST                                                                                                        SAGINAW            MI    48602‐2927
TRYBULSKI, FLORIAN J                  1712 LAWRENCE ST                                                                                                        SAGINAW            MI    48602‐2927
TRYBULSKI, FRANK D                    3614 BUTTERNUT LN                                                                                                       SAGINAW            MI    48604‐9505
TRYBUS, GARY A                        116 LAKEVIEW RD                                                                                                         NILES              OH    44446‐2104
TRYBUS, JOHN J                        24366 WESTMORELAND DR                                                                                                   FARMINGTON HILLS   MI    48336‐1954
TRYBUS, KATHLEEN                      39727 VILLAGE WOOD LN                                                                                                   NOVI               MI    48375‐4554
TRYBUS, RICHARD B                     6208 APACHE PLUME RD NE                                                                                                 RIO RANCHO         NM    87144‐5164
TRYBUSZKIEWICZ, ANGELINE T            21 HOLMES ST                                                                                                            BUFFALO            NY    14207‐2228
TRYBUSZKIEWICZ, ANGELINE T            21 HOLMES AVENUE                                                                                                        BUFFALO            NY    14207‐2228
TRYCE COLEMAN                         1219 N JENISON AVE                                                                                                      LANSING            MI    48915‐1415
TRYCE L COLEMAN                       1219 N JENISON AVE                                                                                                      LANSING            MI    48915‐1415
TRYCHEL, PATRICIA A                   9408 SUMMERFIELD RD                                                                                                     TEMPERANCE         MI    48182‐9760
TRYCIECKY, IRENE                      26680 DANIELA DR                                                                                                        WARREN             MI    48091‐4093
                           09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                              Part 37 of 40 Pg 545 of 901
Name                       Address1                        Address2               Address3                   Address4              City                State Zip
TRYGSTAD, ROBERT O         4333 MATTHEW                                                                                            FLINT                MI 48507
TRYKA, KENNETH J           34931 S WESTRIDGE LN                                                                                    BLACK CANYON CITY    AZ 85324‐8656
TRYKOWSKI, FELIX C         408 BURNSIDE BLVD                                                                                       WILMINGTON           DE 19804‐3003
TRYLA THORPE ET AL         C/O COHEN HIGHLEY LLP           ATTN: VICKI EDGAR      1100‐255 QUEENS AVE, ONE   LONDON, ONTARIO N6A
                                                                                  LONDON PL                  5R8 CANADA
TRYLCH, KATHERINE G        313 LAKEWOOD DR.                                                                                        EAST TAWAS          MI   48730‐9766
TRYLUK, ZENOWIJ            4863 SOUTHWOOD DR                                                                                       BROOKLYN            OH   44144‐3147
TRYND INC                  7450 E 29TH AVE                                                                                         DENVER              CO   80238
TRYNKUS, TADEUSZ           366 FETZNER ROAD                                                                                        ROCHESTER           NY   14626‐2250
TRYON LEWIS                1602 GERALDINE LN                                                                                       ARLINGTON           TX   76010‐4924
TRYON SR, GEORGE R         23 DOGWOOD RD                                                                                           CORTLANDT MANOR     NY   10567‐1207
TRYON TRUCKING INC         PO BOX 68                                                                                               FAIRLESS HILLS      PA   19030‐0068
TRYON, CHARLES A           12492 N CLIO RD                                                                                         CLIO                MI   48420‐1050
TRYON, DEAN G              2516 LAURELFORD LN                                                                                      WAKE FOREST         NC   27587‐4963
TRYON, DOROTHY E           324 W WEBSTER ST                                                                                        FERNDALE            MI   48220‐3239
TRYON, EARL D              1350 MCCOOL RD                                                                                          LEWISBURG           TN   37091‐6688
TRYON, ERIC S              9930 SOUTHWIND CIR                                                                                      INDIANAPOLIS        IN   46256‐9368
TRYON, JERRY D             1617 KILBURN RD N                                                                                       ROCHESTER HILLS     MI   48306‐3029
TRYON, WILBUR F            5991 N LAKE SHORE DR                                                                                    BLACK RIVER         MI   48721‐9754
TRYON, WILLIAM L           PO BOX 848                                                                                              EAST JORDAN         MI   49727‐0848
TRYPHENA L SMYTH           C/O THELMA ALEXANDER            713 WATERVLIET AVE                                                      DAYTON              OH   45420
TRYPHENA SMYTH             713 WATERVLIET AVE              C/O THELMA ALEXANDER                                                    DAYTON              OH   45420‐2546
TRYPUS, SALLY              11096 CROSSETO DR                                                                                       LAS VEGAS           NV   89141‐3991
TRYSKA, FRANK              1040 CROUP RD                                                                                           ORTONVILLE          MI   48462‐8885
TRYSON, KEITH T            6878 TERRELL ST                                                                                         WATERFORD           MI   48329‐1141
TRYSZCZYLA, EDWARD         4457 PHILLIPS RD                                                                                        METAMORA            MI   48455‐9747
TRYVAN LEECH I             1109 HILLCREST AVE                                                                                      DAYTON              OH   45406
TRZASKA, CLARENCE E        16 HAWTHORNE DR                                                                                         DELTA               OH   43515‐1022
TRZASKA, FELIX M           11005 MIRAGE DRIVE                                                                                      BAKERSFIELD         CA   93311
TRZASKA, JAMES J           52 CROCKER ST                                                                                           SLOAN               NY   14212‐2353
TRZASKOS, JOHN S           33716 CINDY ST                                                                                          LIVONIA             MI   48150‐2606
TRZASKOS, RODNEY J         7600 DARLENE DR                                                                                         BRIGHTON            MI   48114‐8916
TRZASKOS, STANLEY A        8419 CENTRALIA ST                                                                                       DEARBORN HTS        MI   48127‐1185
TRZCIENSKI, FELIX T        32751 WINONA ST                                                                                         WESTLAND            MI   48185‐1441
TRZCIENSKI, JAMES K        442 W UPTON AVE                                                                                         REED CITY           MI   49677‐1152
TRZCIENSKI, MICHAEL T      710 LINDA DR                                                                                            HARRISON            MI   48625‐9228
TRZCINSKI JR., RICHARD E   10581 LAUREL ST                                                                                         LIVONIA             MI   48150‐2662
TRZCINSKI RAYMOND          TRZCINSKI, RAYMOND              30928 FORD RD                                                           GARDEN CITY         MI   48135‐1803
TRZCINSKI, DAVID J         3652 KIMBERLY DR                                                                                        HOWELL              MI   48855‐9734
TRZCINSKI, PHYLLIS E       C/O KATHLEEN LACHNIET           PO BOX 55                                                               CHIPPEWA LAKE       MI   49320
TRZCINSKI, PHYLLIS E       1315 WALKER AVE NW APT 5207                                                                             GRAND RAPIDS        MI   49504
TRZCINSKI, RAYMOND J       PO BOX 211                      9511 JACKMAN RD.                                                        TEMPERANCE          MI   48182‐0211
TRZCINSKI, RAYMOND JAMES   PO BOX 211                      9511 JACKMAN RD.                                                        TEMPERANCE          MI   48182‐0211
TRZCINSKI, RICHARD E       PO BOX 371                                                                                              HARRISVILLE         MI   48740‐0371
TRZCINSKI, RONALD J        162 GALLEON DR                                                                                          NEWARK              DE   19702‐8506
TRZCINSKI, VINCENT A       2883 FRANKSON AVE                                                                                       ROCHESTER HLS       MI   48307‐4642
TRZECIAK JR, DENNIS H      614 UNIONVILLE RD                                                                                       BUTLER              PA   16001‐8561
TRZECIAK JR., DENNIS H.    614 UNIONVILLE RD                                                                                       BUTLER              PA   16001‐8561
TRZECIAK, DENNIS J         4387 EAST VERNON COURT                                                                                  MIDLAND             MI   48640‐8599
TRZECIAK, JOHN H           3764 DEENA DR SW                                                                                        GRAND RAPIDS        MI   49534‐5822
TRZEPACZ, THOMAS T         310 IROQUOIS AVE                                                                                        LANCASTER           NY   14086‐1365
TRZIL, EDITH M             14371 HEMLOCK RD                                                                                        CHESANING           MI   48616‐9542
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                     Exhibit B
                                                                        Part 37 of 40 Pg 546 of 901
Name                                 Address1                              Address2                         Address3                Address4                City                 State Zip
TRZIL, EDITH M                       14371 S. HEMLOCK ROAD                                                                                                  CHESANING             MI 48616‐9542
TRZIL, JOHN A                        1141 E PINE AVE                                                                                                        MOUNT MORRIS          MI 48458‐1608
TRZIL, LEONARD B                     2251 N BYRON RD                                                                                                        LENNON                MI 48449‐9606
TRZOK, ANNA                          41475 AMBERCREST DR                                                                                                    STERLING HTS          MI 48314‐3720
TRZOK, SLAVO                         880 MILVERTON DR                                                                                                       TROY                  MI 48083‐4428
TRZONKOWSKI, MARY                    2016 N MICHIGAN ST                                                                                                     TOLEDO                OH 43611‐3721
TRZONKOWSKI, MARY                    2016 MICHIGAN ST.                                                                                                      TOLEDO                OH 43611‐3721
TRZONKOWSKY LAUREN                   TRZONKOWSKY, LAUREN                   119 WEST SENECA DRIVE                                                            NEWARK                DE 19702
TRZONKOWSKY, LAUREN                  119 W SENECA DR                                                                                                        NEWARK                DE 19702‐1913
TRZYBINSKI, PAUL R                   70 COUNTRY LN                                                                                                          WEST SENECA           NY 14224‐1509
TS DELIVERY                          4670 FRANKLIN ST                                                                                                       UBLY                  MI 48475‐8821
TS ENTERPRISES LLC                   DBA HERITAGE GRAPHICS LLC             11870 CAPITAL WAY                                                                LOUISVILLE            KY 40299‐6332
TS EXPEDITING SERVICE INC            TRI STATE EXPEDITING SERVICE          PO BOX 307                       SCAC TSCI                                       PERRYSBURG            OH 43552‐0307
TS LAWN CARE                         825 DALESA AVE                                                                                                         OOLITIC               IN 47451‐9743
TS LIZENZ, MARKEN‐UND VETWALTUNGS    KOCHSTRABE 17, 74405 GAILDORF,                                                                 GERMANY
LTD.                                 GERMANY
TS LIZENZ, MARKEN‐UND VETWALTUNGS    KOCHSTRABE 17                                                                                  74405 GAILDORF,
LTD.                                                                                                                                GERMANY
TS PRINTING CO INC                   8000 SOVEREIGN ROW STE A                                                                                               DALLAS               TX   75247
TSACOUMANGOS, MARY E                 5335 STANDISH DR                                                                                                       TROY                 MI   48085‐6700
TSACOUMANGOS, THOMAS                 5335 STANDISH DR                                                                                                       TROY                 MI   48085‐6700
TSAHALOS, D S                        3940 GUILFORD ST                                                                                                       DETROIT              MI   48224‐2242
TSAI ALLAN                           6243 HARVEY WAY                                                                                                        SAN GABRIEL          CA   91775‐2485
TSAI ROGER                           APT 104                               2100 ARBOR CIRCLE EAST                                                           YPSILANTI            MI   48197‐3459
TSAI, CHRISTINA F                    4200 CALLE SONORA 1C                                                                                                   LAGUNA WOODS         CA   92637
TSAI, IRENE Y                        28 8TH ST                                                                                                              HICKSVILLE           NY   11801‐5402
TSAI, MAOLIN                         1510 GREENWICH DR                                                                                                      TROY                 MI   48098‐4307
TSAI, NICHOLAS L                     918 SYMES AVE                                                                                                          ROYAL OAK            MI   48067‐2191
TSAI, PING‐HO                        3376 WITHERBEE DR                                                                                                      TROY                 MI   48084‐2714
TSAI, SHIH‐CHUNG                     1382 N ACRE DR                                                                                                         ROCHESTER HILLS      MI   48306‐4100
TSAI, WEN‐LANG                       3118 BLOOMFIELD PARK DR                                                                                                WEST BLOOMFIELD      MI   48323‐3511
TSAI, YE‐CHANG                       1861 SHADYWOOD LN                                                                                                      OKEMOS               MI   48864‐3803
TSAKIZIS PETE (ESTATE OF) (496150)   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                     PITTSBURGH           PA   15219

TSAKIZIS, PETE                       GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                     PITTSBURGH           PA 15219

TSAKNIS, KOULA A                     755 MAPLE RIDGE DR                                                                                                     YOUNGSTOWN           OH   44512‐3529
TSAKRIOS, MICHAEL D                  1823 HOLIDAY PINES DR                                                                                                  BROWNSBURG           IN   46112‐7716
TSALLIS, ANGELIKI                    11266 MORGAN AVE                                                                                                       PLYMOUTH             MI   48170‐4437
TSALLIS, GEORGE A                    11266 MORGAN AVE                                                                                                       PLYMOUTH             MI   48170‐4437
TSAMAIDIS JOANNE                     1283 THAMES CT                                                                                                         ROCHESTER HILLS      MI   48307‐5752
TSAMBARLIS, LEONIDAS                 392 PORTER AVE                                                                                                         CAMPBELL             OH   44405‐1444
TSAMBICA CAMPBELL                    115 N ASPEN CT UNIT 1                                                                                                  WARREN               OH   44484‐1000
TSAMBICA T CAMPBELL                  115 N ASPEN CT UNIT #1                                                                                                 WARREN               OH   44484‐1000
TSAMIS, NIKOLAUS                     23129 AVON ST                                                                                                          SAINT CLAIR SHORES   MI   48082‐2020
TSANG YOW INDUSTRIAL CO LTD          #18 CHUNG‐SHAN RD MIN‐HSIUNG          INDUSTRIAL PARK CHIA YI COUNTY                           TAIWAN REPB OF CHINA
                                                                                                                                    CHINA
TSANG YOW INDUSTRIAL COMPANY         EMILY CHU X1108                       NO 18 CHUNG‐SHAN ROAD            MIN‐HSIUNG INDUSTRIAL                           FINDLAY              OH 45840
                                                                                                            PARK
TSANG YOW INDUSTRIAL COMPANY LTD     EMILY CHU X1108                       NO 18 CHUNG‐SHAN ROAD            MIN‐HSIUNG INDUSTRIAL                           FINDLAY              OH 45840
                                                                                                            PARK
                                   09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                       Part 37 of 40 Pg 547 of 901
Name                               Address1                         Address2                        Address3   Address4                City              State Zip
TSANG YOW INDUSTRIAL COMPANY LTD   NO 18 CHUNG‐SHAN RD                                                         CHIA YI COUNTY TAIWAN
                                                                                                               TW 62100 TAIWAN
TSANG, EVAN C                      1718 AVENIDA SELVA                                                                                  FULLERTON         CA    92833‐1535
TSANG, EVAN C.                     1718 AVENIDA SELVA                                                                                  FULLERTON         CA    92833‐1535
TSANG, PAUL                        44 EUSTON RD                                                                                        BRIGHTON          MA    02135‐4805
TSANGARIDES, MARIOS C              1517 ROYAL CRESCENT ST                                                                              ROCHESTER HILLS   MI    48306‐4055
TSAO, SHUNG‐WERN B                 3333 PARK FOREST DR                                                                                 WEST BLOOMFIELD   MI    48324‐3240
TSAO, SHUNG‐WERN BENJAMIN          3333 PARK FOREST DR                                                                                 WEST BLOOMFIELD   MI    48324‐3240
TSAO, TED K                        1820 GARVEY AVE APT 4                                                                               ALHAMBRA          CA    91803‐4230
TSAPATORIS, STEVE                  22542 LAZY K                                                                                        SOUTH LYON        MI    48178‐8243
TSAPOS, CHRIS D                    3865 ALEESA DR SE                                                                                   WARREN            OH    44484‐2911
TSAR & TSAI                        245 TUN HWA S RD                 8TH FL SINGKONG TUNNAN BLDG                SECT 1 TAIPEI TAIWAN
                                                                                                               TAIWAN
TSAREFF JR, THOMAS C               5923 W 29TH PL                                                                                      SPEEDWAY           IN   46224‐3005
TSAREFF, EUGENE S                  5841 INDEPENDENCE AVE                                                                               INDIANAPOLIS       IN   46234‐3684
TSAREFF, STEPHEN E                 3513 PATTON DR                                                                                      INDIANAPOLIS       IN   46224‐1343
TSATOKE, OLITA                     1276 E COOK RD                                                                                      GRAND BLANC        MI   48439‐8369
TSATSANIS, PANTELIS P              8651 OAK PARK BLVD                                                                                  OAK PARK           MI   48237‐2207
TSATSOS, PAUL K                    49297 MAPLEWOOD LN                                                                                  MACOMB             MI   48044‐1667
TSAU WANG                          195 LONGFORD DR                                                                                     ROCHESTER HILLS    MI   48309‐2029
TSAY HSIN G HU                     GILBERT HU                       1042 WARE STREET                                                   VIENNA             VA   22180
TSAY JYH JIUN                      TSAY, JIN JUIN                   60 CROOSCREEK BLVD                                                 ROCHESTER HILLS    MI   48306
TSAY, JYH‐JIUN J                   60 CROSS CREEK BLVD                                                                                 ROCHESTER HILLS    MI   48306‐4303
TSCHABOLD, DELOSE R                1336 S 75TH ST                                                                                      WEST ALLIS         WI   53214‐3023
TSCHACHER, JACQUELINE D            2801 CLAIRE LN                                                                                      JACKSONVILLE       FL   32223‐6604
TSCHACHLER, CARL F                 150 PULASKI BLVD                                                                                    TOMS RIVER         NJ   08757‐6426
TSCHAMPION, R C                    25 GREAT OAK DR                                                                                     SHORT HILLS        NJ   07078‐3426
TSCHAMPION, R CHARLES              25 GREAT OAK DR                                                                                     SHORT HILLS        NJ   07078‐3426
TSCHARNACK, DOROTHY L              W287N8282 DOBBERTIN RD                                                                              HARTLAND           WI   53029‐9577
TSCHARNACK, LEILA L                1009 TAM O SHANTER DR                                                                               HARTFORD           WI   53027‐9748
TSCHECH, FREDERICK A               492 N KELLOGG AVE                                                                                   SANTA BARBARA      CA   93111‐1433
TSCHETTER, ELGIN T                 1707 S OSBORNE AVE                                                                                  JANESVILLE         WI   53546‐5719
TSCHETTER, ROBERT L                702 GENEVA AVE                                                                                      ROMEOVILLE         IL   60446‐1103
TSCHIDA JAMES W (494273)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA   23510
                                                                    STREET, SUITE 600
TSCHIDA, GENE J                    2525 JEFFREY BLVD                                                                                   CUMBERLAND         WI 54829‐9263
TSCHIDA, JAMES W                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
TSCHIGGFREY, HERBERT L             20904 FRAZHO ST                                                                                     ST CLAIR SHRS     MI 48081‐3123
TSCHINIAK MICHAEL (481312)         KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                      CLEVELAND         OH 44114
                                                                    BOND COURT BUILDING
TSCHINIAK, MICHAEL                 KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                       CLEVELAND         OH 44114
                                                                    BOND COURT BUILDING
TSCHIRHART ERVIN M (361216)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA 23510
                                                                    STREET, SUITE 600
TSCHIRHART, ALAN M                 2920 ROUNDTREE                                                                                      YPSILANTI          MI 48198
TSCHIRHART, ALAN MATHEW            2920 ROUNDTREE BLVD                                                                                 YPSILANTI          MI 48197‐4811
TSCHIRHART, ERVIN M                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
TSCHIRHART, IRENE D                9426 RAYNA DR                                                                                       DAVISON           MI 48423‐1745
TSCHIRHART, JAMES R                3934 HERFORD TRL                                                                                    MORAINE           OH 45439‐1210
TSCHIRHART, LEO I                  3979 AVON CT                     NORTHFIELD TNSP                                                    ANN ARBOR         MI 48105‐9503
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                           Part 37 of 40 Pg 548 of 901
Name                                  Address1                           Address2                       Address3                    Address4                 City               State Zip
TSCHIRHART, MICHAEL B                 13492 VIOLA DR                                                                                                         STERLING HTS        MI 48312‐4263
TSCHIRHART, PAUL D                    12111 DEXTER CHELSEA RD                                                                                                CHELSEA             MI 48118‐9540
TSCHIRHART, VERONICA                  27940 MANHATTAN ST                                                                                                     ST CLAIR SHRS       MI 48081‐3513
TSCHIRRET, WEBSTER R                  12184 LOVEJOY RD                                                                                                       BYRON               MI 48418‐9078
TSCHOP CHRISTIANE                     TSCHOP CHRISTIANE                  ESLARNGASSE 11/28                                          1030 VIENNA AUSTRIA
TSCHOPP JR, MARK A                    34 MCCULLOGH STREET                                                                                                    SPRINGBORO         OH   45066‐7804
TSCHUDY, DEAN M                       2305 COUNTY ROAD 2870                                                                                                  MOUNTAIN VIEW      MO   65548‐8133
TSCHUDY, MICHELE M                    APT 143                            2516 RUGER DRIVE                                                                    ARLINGTON          TX   76006‐3268
TSE BRAKES INC                        3183 S PARKWAY DR                                                                                                      FRESNO             CA   93725‐2317
TSE DE MEXICO SA DE CV                DENNIS GILLESPIE                   JONES, RICHARD L CUSTOMHOUSE B 444 N. CESAR CHAVEZ STREET NORTH YORK ON CANADA

TSE DE MEXICO SA DE CV                AV DE LA INDUSTRIA ESQ MIGUEL DE                                                              SAN LUIS RIO COLORADO,
                                                                                                                                    SO 83400 MEXICO
TSE INC                               225 W 34TH ST STE 925                                                                                                  NEW YORK           NY   10122‐0991
TSE, BETTY                            3830 ROSEWOOD DR                                                                                                       FORT WAYNE         IN   46804‐6120
TSE, DON S                            5594 FOLKSTONE DR                                                                                                      TROY               MI   48085‐3113
TSE‐MIN YAO                           1370 PROVINCIAL DR                                                                                                     TROY               MI   48084‐1572
TSEFFOS, NICK                         S78W20418 MONTEREY DR                                                                                                  MUSKEGO            WI   53150‐9523
TSEGAYE, ASHENAFIE                    21623 41ST AVE SE                                                                                                      BOTHELL            WA   98021‐7287
TSEKERIDES, ELIAS                     30 ELM ST                                                                                                              SLEEPY HOLLOW      NY   10591‐2233
TSELIOS KONSTANTINOS                  MYSTAKIDOU STR 23                                                                             GR‐55132 THESSALONIKI
                                                                                                                                    GREECE
TSEN‐LUN HSU                            12739 NOTTINGHAM ST                                                                                                  CERRITOS           CA   90703‐7275
TSENG MELANIE                           4300 EAST HURON RIVER DRIVE                                                                                          ANN ARBOR          MI   48105‐9333
TSENG, MELANIE C                        4300 E HURON RIVER DR                                                                                                ANN ARBOR          MI   48105‐9333
TSENG, TERU                             368 BELLE MEADE RD                                                                                                   TROY               MI   48098‐5617
TSENG, TING‐TSAI                        10142 DORIAN DR                                                                                                      PLYMOUTH           MI   48170‐3630
TSENG, WU‐HSIUNG                        3585 STANTON CT                                                                                                      ANN ARBOR          MI   48105‐3032
TSEREGOUNIS, SPYROS I                   16 COLLGE PARK                                                                                                       DAVIS              CA   95616‐3607
TSERV INTERNATIONAL LLC                 10714 ARBOUR DR                                                                                                      BRIGHTON           MI   48114‐9039
TSI                                     18165 TELEGRAPH RD                                                                                                   ROMULUS            MI   48174‐9620
TSI                                     THOMAS GOTSHALL                  192 N. LIVERNOIS RD.                                                                TROY               MI   48083
TSI FABRICATOR/FLINT                    2000 N SAGINAW ST                BROOKE ALLISON BLDG                                                                 FLINT              MI   48505‐4770
TSI FINANCIAL SERVICES
TSI FINANCIAL SERVICES A DBA OF         LEGAL DEPARTMENT CC: CONTRACT    3955 PINNACLE CT STE 200                                                            AUBURN HILLS       MI 48326‐1787
TECHNICAL SOLUTIONS, LLC                ADMINISTRATION
TSI FINANCIAL SERVICES A DBA OF         1920 LIVERNOIS RD                                                                                                    TROY               MI 48083‐1732
TECHNICAL SOLUTIONS, LLC
TSI FINANCIAL SERVICES D/B/A/ TECHNICAL
SOLUTIONS, LLC
TSI INC                                 500 CARDIGAN RD                                                                                                      SAINT PAUL         MN   55126‐3903
TSI INC INTERSTATE TRUCKING             JOHN LAWRENCE                    18165 TELEGRAPH RD                                                                  ROMULUS            MI   48174‐9620
TSI SPORTS INC                          PO BOX 1320                                                                                                          FLOWERY BRANCH     GA   30542‐0022
TSI TITLE COMPANY OF CALIFORNIA, INC AS CITICORP USA INC                 AGENT FOR THE BANK PRIORITY    HEDGE PRIORITY SECURED      17785 CENTER COURT DR    CERRITOS           CA   90703
TRUSTEE FOR THE BENEFIT OF                                               SECURED PARTIES AND AS AGENT   PARTIES TSI TITLE COMPANY   NORTH STE 29
                                                                         FOR THE
TSIBULSKY, PHILIP A                   1235 BUCKS RUN                                                                                                         WEBSTER            NY   14580‐9147
TSIEN, MATTHEW                        287 ORANGE LAKE DR                                                                                                     BLOOMFIELD HILLS   MI   48302‐1162
TSIEN, MATTHEW                        PO BOX 9022                                                                                                            WARREN             MI   48090‐9022
TSIFANSKY, LINA M                     6700 S BRAINARD AVE APT 400                                                                                            COUNTRYSIDE        IL   60525‐3018
TSIGARAS, LINDA L                     2 ROBERT ST                                                                                                            MILFORD            CT   06461‐4051
TSIKNAKIS THEODORE                    TSIKNAKIS, THEODORE                5210 NE 6TH AVE SUITE 4G                                                            FT LAUDERDALE      FL   33334
                                          09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                               Part 37 of 40 Pg 549 of 901
Name                                     Address1                           Address2                        Address3   Address4                 City                 State Zip
TSIKNAKIS, THEODORE                      SAYEGH TANIA PA                    5210 NE 6TH AVE SUITE 4G                                            FT LAUDERDALE         FL 33334
TSIKOURIS, STEVE D                       694 DEVITT                                                                                             CAMPBELL              OH 44405‐1519
TSIKOURIS, STEVE D                       694 DEVITT AVE                                                                                         CAMPBELL              OH 44405‐1519
TSILIMOS, AMELIA                         8561 BLACK OAK DR NE                                                                                   WARREN                OH 44484‐1618
TSINGHUA UNIVERSITY                      QING HUA YUAN                      HAIDIAN DISTRICT                           BEIJING 100084 CHINA
TSINGHUA UNIVERSITY                      NO 1 QINGHUAYUAN                   HAIDIAN DISTRICT                           BEIJING 100084 CHINA
                                                                                                                       (PEOPLE'S REP)
TSIRIKOS SOCRATES (ESTATE OF) (641099)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD           OH 44067
                                                                            PROFESSIONAL BLDG
TSIRIKOS, SOCRATES                       BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD           OH 44067
                                                                            PROFESSIONAL BLDG
TSIROS, ALEX                             37 DENNISON AVE                                                                                        FRAMINGHAM           MA    01702‐6416
TSITAKIS, HARRY                          2 JULIET LN APT 201                                                                                    BALTIMORE            MD    21236‐1259
TSM CORP                                 1175 OPDYKE RD                                                                                         AUBURN HILLS         MI    48326
TSM CORP                                                                    1175 OPDYKE RD                                                      AUBURN HILLS         MI    48326‐2953
TSM CORP                                 1175 N OPDYKE RD                                                                                       AUBURN HILLS         MI    48326‐2685
TSM CORP                                 DAVE SUTHERLAND‐127                1175 N OPDYKE RD                                                    AUBURN HILLS         MI    48326‐2685
TSM CORP                                 DAVE SUTHERLAND‐127                1175 OPDYKE ROAD                                                    MCALLEN              TX    78503
TSM CORP/AUBURN HILL                     1175 N OPDYKE RD                                                                                       AUBURN HILLS         MI    48326‐2685
TSM CORPORATION                          1175 N OPDYKE RD                                                                                       AUBURN HILLS         MI    48326‐2685
TSM CORPORATION                          DAVE SUTHERLAND‐127                1175 N OPDYKE RD                                                    AUBURN HILLS         MI    48326‐2685
TSM CORPORATION                          DAVE SUTHERLAND‐127                1175 OPDYKE ROAD                                                    MCALLEN              TX    78503
TSOCHEFF, DAVID                          511 WINDY HILL RD                                                                                      NORTH MYRTLE BEACH   SC    29582‐5236
TSOKAS PETE                              11068 E CORTEZ ST                                                                                      SCOTTSDALE           AZ    85259‐3041
TSON‐KUANG WU                            36 MULBERRY DRIVE                                                                                      OBERLIN              OH    44074
TSON‐KUANG WU IRA                        36 MULBERRY DRIVE                                                                                      OBERLIN              OH    44074
TSON‐KUANG, AKA THOMAS WU                36 MULBERRY DRIVE                                                                                      OBERLIN              OH    44074
TSOU, MICHAEL T                          29869 HIGHMEADOW RD                                                                                    FARMINGTON HILLS     MI    48334‐3009
TSOUKALAS, GEORGE                        1634 BERKSHIRE ST                                                                                      WESTLAND             MI    48186‐5364
TSOUKALAS, JUNE A                        8586 AVON CT                                                                                           YPSILANTI            MI    48198‐3639
TSOUKALAS, PETE                          1238 DEER RUN                                                                                          GRASS LAKE           MI    49240‐9379
TSOUKALAS, PETER                         1238 DEER RUN                                                                                          GRASS LAKE           MI    49240‐9379
TSOURIS, NICK
TSOUROS, PETER J                         122 CRESCENT ST                                                                                        SHREWSBURY           MA    01545‐2830
TSR CONSULTING SERVICES INC              A SUBSIDIARY OF TSR INC            400 OSER AVE                                                        HAUPPAUGE            NY    11788
TSR, INC/GUNTERSVILL                     4012 CREEK RIDGE RD                                                                                    GUNTERSVILLE         AL    35976‐7850
TSSI S NAPERVILLE WAREHOUSE              PO BOX 865                                                                                             DENVER               CO    80291‐0865
TST AUTOMOTIVE SERVICES
TST EXPEDITED SERVICES                   710 SPRUCEWOOD AVE                                                            WINDSOR CANADA ON N9C
                                                                                                                       3Z1 CANADA
TST EXPEDITED SERVICES                   PO BOX 7217                        710 SPRUCEWOOD                             WINDSOR CANADA ON N9C
                                                                                                                       3Z1 CANADA
TST OVERLAND                             JEFF LEWIS                         5200 MAINGATE DR                           MISSISSAUGA ON L4W 1G5
                                                                                                                       CANADA
TST OVERLAND EXPRESS                     DIV OF TST SOLUTIONS INC           1250 THORNTON RD S                         OSHAWA CANADA ON L1J
                                                                                                                       7E2 CANADA
TST OVERLAND EXPRESS                     FMLY TNT OVERLAND EXPRESS2\98      5155 CREEKBANK RD                          MISSISSAUGA CANADA ON
                                                                                                                       L4W 1X2 CANADA
TST SOLUTIONS LP                         5200 MAINGATE DR                                                              MISSISSAUGA ON L4W 1G5
                                                                                                                       CANADA
TST SOLUTIONS LP
TSTY DEVELOPMENT LLC                     WHITEHEAD LAW OFFICES              725 THIRD STREET P O BOX 697                                        NATCHITOCHES          LA   71458
                            09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                               Part 37 of 40 Pg 550 of 901
Name                       Address1                         Address2                         Address3                    Address4                 City            State Zip
TSTY DEVELOPMENT LLC       725 THIRD STREET P O BOX 697                                                                                           NATCHITOCHES     LA 71457
TSU RALPH BOSTON GOLF      TOURNAMENT                       3500 JOHN A MERRITT BLVD         PO BOX 9534 TENN STATE                               NASHVILLE        TN 37209‐1500
                                                                                             UNIV
TSUBAKI NAKASHIMA CO LTD   PO BOX 899                                                                                                             CUMMING         GA   30028‐0899
TSUBAKI NAKASHIMA CO LTD   500 JONESBOROUGH RD                                                                                                    ERWIN           TN   37650‐4018
TSUBAKI NAKASHIMA CO LTD   JERRY GILBERT                    BALL & ROLLER DIV                P.O. BOX 899                                         JACKSON         MI   49203
TSUBAKI NAKASHIMA CO LTD   JERRY GILBERT                    PO BOX 899                       BALL & ROLLER DIV                                    CUMMING         GA   30028‐0899
TSUBAKIMOTO CHAIN CO       106 LONCZAK ST                                                                                                         CHICOPEE        MA   01022‐1305
TSUBAKIMOTO CHAIN CO       3‐3‐3 NAKANOSHIMA                                                                             KITA KU OSAKA 530‐0005
                                                                                                                         JAPAN
TSUBAKIMOTO CHAIN CO       106 LONCZAK ST                   WESTOVER INDUSTRIAL PARK                                                              CHICOPEE        MA   01022‐1305
TSUBAKIMOTO CHAIN CO       821 MAIN ST                                                                                                            HOLYOKE         MA   01040‐5449
TSUBAKIMOTO CHAIN CO       MARK BULL                        106 LONCZAK DRIVE                                                                     FLORENCE        KY   41042
TSUBAKIMOTO CHAIN CO       MARK BULL                        106 LONCZAK ST                                                                        CHICOPEE        MA   01022‐1305
TSUCHIYA CHEMICAL KK       0                                11‐1 GOHACHIYAMA                 YAMAMACHI                   MISSISSAUGA ON CANADA
TSUDIS, JERRY              13997 BOURNEMUTH DR                                                                                                    SHELBY TWP      MI 48315‐2865
TSUETOU YANG               846 PALMER DR                                                                                                          PONTIAC         MI 48342‐1858
TSUGAWA, TOSHIHIDE
TSUHA JR, WALLACE K        36048 LUCERNE ST                                                                                                       CLINTON TWP     MI   48035‐2749
TSUJIMOTO, WENDY N         26176 #E SANZ                                                                                                          MISSION VIEJO   CA   92691
TSUJIMURA R BRIAN          190 NIUIKI CIR                                                                                                         HONOLULU        HI   96821‐2349
TSUJIMURA R BRIAN          745 FORT ST 17TH FLOOR                                                                                                 HONOLULU        HI   96813
TSUKASA KAMEKANEYA         75‐217 NANI KAILUA DR, APT 152                                                                                         KAILUA KONA     HI   96740‐2069
TSUNMING YU                28607 JOHN HAUK ST                                                                                                     GARDEN CITY     MI   48135‐2832
TSURUDA, BEN T             729 PALERMO DR                                                                                                         SANTA BARBARA   CA   93105‐4449
TSURUI, LUCIANA G          581 BREEZE CRT                                                                                                         WATERFORD TWP   MI   48327‐3794
TSURUI, LUCIANA G          581 BREEZE CT                                                                                                          WATERFORD       MI   48327‐3794
TSURUKO BURGE              6191 SUMMERFIELD RD                                                                                                    PETERSBURG      MI   49270‐9741
TSURUKO HUSKEY             325 S BOYLE AVE                                                                                                        LOS ANGELES     CA   90033‐3812
TSURUSAKI DAVID            13820 FLAGSTAFF AVE                                                                                                    APPLE VALLEY    MN   55124‐5054
TSUYA BRADBURY             8901 ORTONVILLE RD                                                                                                     CLARKSTON       MI   48348‐2844
TSX INC                    THE EXCHANGE TOWER               PO BOX 421                       130 KING ST WEST            TORONTO CANADA ON
                                                                                                                         M5X 1J2 CANADA
TSZINSKI, THADDEUS B       36055 31 MILE RD                                                                                                       LENOX           MI 48050‐1421
TT ELEC/NEWTON             12 NEWTON INDUSTRIAL PK                                                                       NEWTON BB BARBADOS
TT ELECTRONICS PLC         PO BOX 2240                                                                                                            SMITHFIELD      NC   27577
TT ELECTRONICS PLC         1645 WALLACE DR STE 130                                                                                                CARROLLTON      TX   75006‐6697
TT ELECTRONICS PLC         2500 BUSINESS HWY 70 E                                                                                                 SMITHFIELD      NC   27577
TT ELECTRONICS PLC         CHARLES SIPSOCK                  GREENWAY ROAD                                                                         FREMONT         IN   46737
TT ELECTRONICS PLC         CLIVE HOUSE 12‐18 QUEENS RD                                                                   WEYBRIDGE SURREY KT3
                                                                                                                         9XB GREAT BRITAIN
TT ELECTRONICS PLC         DICK STENTA                      HWY US 70 E P.O. BOX 2240                                                             SMITHFIELD      NC 27577
TT ELECTRONICS PLC         FERRY LANE PEMBROKE DOCK                                                                      PEMBROKE DYFED GB SA71
                                                                                                                         4RG GREAT BRITAIN
TT ELECTRONICS PLC         KAY PALMER                       INTERNATIONAL RESISTIVE CO INC   4222 S STAPLES ST                                    BRIGHTON        MI 48116

TT ELECTRONICS PLC         KEN HASTINGS                     2 CRAMPTONS RD                                                                        ALBION          IL 62804
TT ELECTRONICS PLC         LAWRENCE GRIFFITHS               AB POLYMER                       LONG WOOD DR                                         CHESTERFIELD    MI 48051
TT ELECTRONICS PLC         MARY JOHNSON                     S.A. DE C.V.                     RIO BRAVO INDUSTRIAL PARK                            PHARR           TX 78577

TT ELECTRONICS PLC         CLIVE HOUSE 12‐18 QUEENS RD                                                                   WEYBRIDGE SURREY KT3
                                                                                                                         9XB GREAT BRITAIN
                                 09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                       Part 37 of 40 Pg 551 of 901
Name                            Address1                            Address2                            Address3                Address4               City                  State Zip
TT ELECTRONICS/IRC              KAY PALMER                          INTERNATIONAL RESISTIVE CO INC      4222 S STAPLES ST                              BRIGHTON               MI 48116

TT OF NSB, INC.                 TERRY TAYLOR                        1919 N DIXIE FWY                                                                   NEW SMYRNA BEACH       FL   32168‐5919
TTA INTERNATIONAL BV            PIETER ZEEMANWEG 116                3316 GZ DORDRECHT                                           DORDRECHT 3316
                                                                                                                                NETHERLANDS
TTE, INC.                       2828 FOREST LN STE 1117                                                                                                DALLAS                TX    75234‐7500
TTI INC                         PO BOX 188                                                                                                             EDEN                  WI    53019‐0188
TTL ASSOCIATES INC              1915 N 12TH ST                                                                                                         TOLEDO                OH    43604‐5305
TTM TRAVEL SERVICES INC         1441 E MAPLE RD                                                                                                        TROY                  MI    48083
TTM TRAVEL/DEARBORN             PO BOX 765                                                                                                             DEARBORN              MI    48121‐0765
TTP NORTH LLC                   C/O K E MANAGEMENT INC              401 S OLD WOODWARD AVE STE 300                                                     BIRMINGHAM            MI    48009‐6612

TTP SOUTH LLC                   F/K/A TROY TECHNOLOGY PARK          5700 CROOKS ROAD                    FOURTH FLOOR                                   TROY                  MI 48098
TTP SOUTH LLC,                  F/K/A TROY TECHNOLOGY PARK          C/O ARCAP SERVICING INC             5221 N O'CONNOR BLVD,                          IRVING                TX 75039
                                                                                                        SUITE 600
TTP SOUTH, L.L.C.               ATTN: LEGAL DEPARTMENT              74 E. LONG LAKE ROAD, FIRST FLOOR                                                  BLOOMFIELD HILLS      MI 48304

TTP SOUTH, L.L.C.               74 E. LONG LAKE ROAD                FIRST FLOOR                                                                        BLOOMFIELD HILLS      MI 48304
TTP SOUTH, L.L.C.               C/O ARCAP SERVICING, INC.           5221 N. O'CONNOR BLVD.              SUITE 600                                      IRVING                TX 75039
TTR 152207 CANADA INC           219 WENTWORTH ST E                                                                              OSHAWA CANADA ON L1H
                                                                                                                                3V7 CANADA
TTT INC                         2317 S MINNESOTA AVE                                                                                                   SIOUX FALLS           SD    57105‐3713
TTX CO                          5225 WILLIAMS LAKE RD                                                                                                  WATERFORD             MI    48329‐3557
TTX COMPANY                     5225 WILLIAMS LAKE RD                                                                                                  WATERFORD             MI    48329‐3557
TU YUE MOLLY                    APT 3B                              5638 OSAGE LAKE DRIVE                                                              MISHAWAKA             IN    46545‐8449
TU, JIAN                        PO BOX 9022                         C/O SHANGHAI                                                                       WARREN                MI    48090‐9022
TU, PHUONG N                    4760 CHANDLER ST                                                                                                       SANTA BARBARA         CA    93110‐1912
TU, TAMMY T                     3675 BLUEBIRD AVE SW                                                                                                   WYOMING               MI    49519‐3166
TU, TAMMY T                     4370 ORCHARD CREEK DR SE                                                                                               GRAND RAPIDS          MI    49546‐8263
TU, THOMAS H                    6915 FOREST PARK DR                                                                                                    TROY                  MI    48098‐1926
TUALATIN VALLEY FIRE & RESCUE   PO BOX 429                                                                                                             BEAVERTON             OR    97075
TUAN D HO                       5921 CARNATION RD.                                                                                                     DAYTON                OH    45449‐2901
TUAN LE                         1710 HUMMER LAKE RD                                                                                                    ORTONVILLE            MI    48462‐9400
TUAN LE                         819 LOCHMOOR BLVD                                                                                                      GROSSE POINTE WOODS   MI    48236‐1756
TUAN N TRAN                     4307 MANTELL CT                                                                                                        DAYTON                OH    45440
TUAN NGO                        37891 THAMES DR                                                                                                        FARMINGTN HLS         MI    48331‐1722
TUAN NGUYEN                     6330 QUAIL RIDGE LN                                                                                                    DIMONDALE             MI    48821‐9684
TUAN NGUYEN                     12747 HIGH COTTON LN                                                                                                   HOUSTON               TX    77072
TUAN NGUYEN                     1149 S 4TH ST                                                                                                          ALHAMBRA              CA    91801‐4726
TUAN TRAN                       4307 MANTELL CT                                                                                                        DAYTON                OH    45440‐3869
TUAN TRAN                       43121 LONDONDERRY CT                                                                                                   CANTON                MI    48188‐1921
TUAN TRAN & THANTA TRAN         PO BOX 253                                                                                                             EUSTACE               TX    75124
TUANANH N TRAN                  6416 KINGSLEY CT                                                                                                       LIBERTY TWP           OH    45011
TUAR GRIMBAC INC                5365 HILL 23 DR                                                                                                        FLINT                 MI    48507‐3906
TUBA, JOHN J                    36696 BRITTANY HILL DR                                                                                                 FARMINGTON            MI    48335‐2905
TUBANDT, ALAN D                 13620 HUNTERS XING                                                                                                     BATH                  MI    48808‐8455
TUBB, BOBBY
TUBB, HOWARD L                  27573 BRISTOL DR                                                                                                       WARREN                MI    48092‐3005
TUBB, JACKIE S                  2773 STILL LAKE DR                                                                                                     ACWORTH               GA    30102‐1182
TUBB, KATHRYN                   13306 WHITTIER DRIVE                                                                                                   STERLING HTS          MI    48312‐6909
TUBB, LARRY A                   3118 CONCORD ST                                                                                                        FLINT                 MI    48504‐4101
TUBB, LARRY ARNESS              3118 CONCORD ST                                                                                                        FLINT                 MI    48504‐4101
                         09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                            Part 37 of 40 Pg 552 of 901
Name                     Address1                             Address2                        Address3   Address4         City            State Zip
TUBB, REBA O             2226 CHAMPAIGN                                                                                   LINCOLN PARK     MI 48146‐2508
TUBB, RYAN               638 TOBYLYNN CT                                                                                  NASHVILLE        TN 37211‐5927
TUBB, TITUS B            250 OLD CHESAPEAKE DR                                                                            WENTZVILLE       MO 63385‐2785
TUBB, TITUS BENJAMIN     250 OLD CHESAPEAKE DR                                                                            WENTZVILLE       MO 63385‐2785
TUBB. EDWARD             CARPENTER LAW FIRM, J. DAVID JOYCE   5045 LORIMAR DR STE 280                                     PLANO            TX 75093‐5721
TUBBIN, ELIZABETH A      W6631 THE CLEARING                                                                               MERRILL          WI 54452‐8564
TUBBIN, HARRY A          W6631 THE CLEARING                                                                               MERRILL          WI 54452‐8564
TUBBINS, BETTY L         6112 N 12TH WAY                                                                                  PHOENIX          AZ 85014‐1726
TUBBINS, ROBERT L        335 EVANS ST APT D                                                                               WILLIAMSVILLE    NY 14221‐5640
TUBBINS, ROBERT LEE      APT D                                335 EVANS STREET                                            BUFFALO          NY 14221‐5640
TUBBS JR, CHARLES L      2509 AVONHILL DR                                                                                 ARLINGTON        TX 76015‐1206
TUBBS MICHAEL (631534)   BARON & BUDD                         8501 WILSHIRE BOULEVARD SUITE                               BEVERLY HILLS    CA 90211
                                                              305
TUBBS, ALICE G           3555 E APPLEGATE                                                                                 APPLEGATE       MI   48401‐9761
TUBBS, ALICE G           3555 APPLEGATE RD                                                                                APPLEGATE       MI   48401‐9761
TUBBS, ALICE M           PO BOX 215                                                                                       TIPTON          IN   46072‐0215
TUBBS, ANNIE R           106 S CORBIN ST                                                                                  HOLLY           MI   48442‐1737
TUBBS, CHERYL V          UNIT D                               295 WINDING RIVER DRIVE                                     ATLANTA         GA   30350‐1926
TUBBS, CHRISTINA S       649 NICHOLS RD                                                                                   AUBURN HILLS    MI   48326‐3825
TUBBS, CHRISTINA SUE     649 NICHOLS RD                                                                                   AUBURN HILLS    MI   48326‐3825
TUBBS, CONNIE R          855 W JEFFERSON ST LOT 173A                                                                      GRAND LEDGE     MI   48837‐1361
TUBBS, DARWIN E          6847 FLOCK RD                                                                                    BEAVERTON       MI   48612‐8403
TUBBS, DAVID D           754 E KINGS HWY                                                                                  SHREVEPORT      LA   71105‐2127
TUBBS, DAVID DWAIN       754 E KINGS HWY                                                                                  SHREVEPORT      LA   71105‐2127
TUBBS, DON O             138 MARK AVE                                                                                     PONTIAC         MI   48341‐1350
TUBBS, DUANE E           266 PARKWOOD AVE                                                                                 KENMORE         NY   14217‐2833
TUBBS, EVELYN J          1021 ASHLEY STATION BLVD APT 102                                                                 COLUMBUS        GA   31904‐8666
TUBBS, FELIX E           1230 BARMEL ST                                                                                   PENSACOLA       FL   32534‐1824
TUBBS, GARATH L          230 DESMOND DR                                                                                   TONAWANDA       NY   14150‐7837
TUBBS, GARY A            3590 W 1000 N                                                                                    FRANKTON        IN   46044‐9428
TUBBS, GARY E            151 N FLYNN ST                                                                                   SANDUSKY        MI   48471‐1078
TUBBS, GINGER R          9474 BONNIE BRIAR ST                                                                             WHITE LAKE      MI   48386‐1501
TUBBS, GLENDA E          26721 NEW YORK ST                                                                                INKSTER         MI   48141‐2573
TUBBS, HARRY A           4716 PINE EAGLES DR                                                                              BRIGHTON        MI   48116‐9758
TUBBS, HAZEL M           6 HAMRICK TERRACE                                                                                HOUSTON         MO   65483
TUBBS, HAZEL M           6 HAMRICK TER                                                                                    HOUSTON         MO   65483‐1929
TUBBS, IVRON J           2838 76TH AVE                                                                                    OAKLAND         CA   94605‐2908
TUBBS, JAMES E           3250 N ERIE ST                                                                                   TOLEDO          OH   43611‐3213
TUBBS, LAJOY J           3306 FM 9 S                                                                                      WASKOM          TX   75692‐6000
TUBBS, LINDA R           11854 CURWOOD DR                                                                                 GRAND BLANC     MI   48439‐1158
TUBBS, LOUIS E           324 WILD RICE WAY                    C/O JEFFREY E ALLEN                                         WILMINGTON      NC   28412‐3284
TUBBS, LUBERTA M         2300 CRESTMONT DR                                                                                GIRARD          OH   44420‐1100
TUBBS, MICHAEL           BARON & BUDD                         8501 WILSHIRE BLVD STE 305                                  BEVERLY HILLS   CA   90211‐3117
TUBBS, MICHAEL W         1490 S SANTA FE RM #109                                                                          DENVER          CO   80223
TUBBS, MILLARD H         5810 SILCHESTER LN                                                                               CHARLOTTE       NC   28215‐5329
TUBBS, OTIS G            4719 N ASHFORD WAY                                                                               YPSILANTI       MI   48197‐6124
TUBBS, OTIS GREGORY      4719 N ASHFORD WAY                                                                               YPSILANTI       MI   48197‐6124
TUBBS, RICHARD E
TUBBS, RICHARD E         6761 HELMAN BLVD                                                                                 LANSING         MI   48911‐7033
TUBBS, ROSAMOND          LIPMAN DAVID M                       5901 SW 74TH ST STE 304                                     MIAMI           FL   33143‐5163
TUBBS, ROY L             W. BUENA VISTA                       APT 1                                                       DETROIT         MI   48203
TUBBS, RUSSELL W         6829 NORTON DR                                                                                   TROY            MI   48085
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                       Part 37 of 40 Pg 553 of 901
Name                                Address1                        Address2                    Address3    Address4                  City            State Zip
TUBBS, SHIRLEY M                    649 NICHOLS RD                                                                                    AUBURN HILLS     MI 48326‐3825
TUBBS, STEWART L                    1230 SEVERN CT                                                                                    ANN ARBOR        MI 48105‐2863
TUBBS, TERRENCE S                   170 HILTON AVE                                                                                    YOUNGSTOWN       OH 44507‐1911
TUBBS, THOMAS L                     9474 BONNIE BRIAR ST                                                                              WHITE LAKE       MI 48386‐1501
TUBBS, THOMAS N                     19500 LENNANE                                                                                     REDFORD          MI 48240‐1349
TUBBS, THOMAS S                     PO BOX 5902                     504 CARLOTTA DRIVE                                                YOUNGSTOWN       OH 44504‐0902
TUBBS, TIMOTHY P                    2285 DONOVAN ST                                                                                   BURTON           MI 48529‐1380
TUBBS, TIMOTHY PAUL                 2285 DONOVAN ST                                                                                   BURTON           MI 48529‐1380
TUBBS, TINA L                       126 GILLESPIE ROAD                                                                                FIVE POINTS      TN 38457‐5226
TUBBS, VIVIAN                       20114 SNOWDEN ST                                                                                  DETROIT          MI 48235‐1170
TUBBS, WILLIAM L                    619 OAK TREE CV                                                                                   CEDAR HILL       TX 75104‐8239
TUBBS, WILLIAM LEE                  619 OAK TREE CV                                                                                   CEDAR HILL       TX 75104‐8239
TUBBS, YOLANDA Y                    515 W PRINCETON AVE                                                                               YOUNGSTOWN       OH 44511‐2418
TUBE BENDING EXPERTS INC            42750 ALBRAE ST                                                                                   FREMONT          CA 94538‐3390
TUBE BENDING EXPERTS INC            42760 ALBRAE ST                                                                                   FREMONT          CA 94538‐3390
TUBE FAB OF AFTON                   CANDY ISONX27                   PO BOX 50                   M‐68 EAST                             MOUNT CLEMENS    MI 48046
TUBE FAB OF AFTON CORP              1715 M 68                                                                                         AFTON            MI 49705‐9715
TUBE FAB/ROMAN ENGINEERING CO INC   CANDY ISONX27                   PO BOX 50                   M‐68 EAST                             MOUNT CLEMENS    MI 48046

TUBE MAC INDUSTRIES LTD             853 ARVIN AVENUE                                                        STONEY CREEK ON L8E 5N8
                                                                                                            CANADA
TUBE PROD/ROYAL OAK                 26676 WOODWARD AVE                                                                                ROYAL OAK       MI   48067‐0920
TUBE TECHNOLOGY SERVICES            8928 ODAY ROAD                                                                                    FORT WAYNE      IN   46818
TUBERDYCK, RAYMOND J                1391 W BLOOD RD                                                                                   EAST AURORA     NY   14052‐9433
TUBERGEN, BEVERLY L                 7075 KELLY LEE DR SW                                                                              BYRON CENTER    MI   49315‐8578
TUBERGEN, JILL L                    180 N PATTERSON RD                                                                                WAYLAND         MI   49348‐9338
TUBERVILLE, BILLY R                 9253 TONNEBERGER DR                                                                               TECUMSEH        MI   49286‐9756
TUBERVILLE, DOYLE G                 HENINGER BURGE VARGO & DAVIS    2146 HIGHLAND AVE S                                               BIRMINGHAM      AL   35205‐4002
TUBI BOLAJI AYINDE                  654 KIMBERLY APT 301                                                                              LAKE ORION      MI   48362‐2956
TUBI, BOLAJI AYINDE                 654 KIMBERLY APT 301                                                                              LAKE ORION      MI   48362‐2956
TUBIC, DENNIS S                     764 SADDLEBROOK DR                                                                                BOARDMAN        OH   44512‐4785
TUBINIS, DAVID J                    4204 BURCH RD                                                                                     RANSOMVILLE     NY   14131
TUBINIS, DAVID J                    238 WATERMAN ST                                                                                   LOCKPORT        NY   14094‐4967
TUBIOLO, JAMES A                    7 PARK AVE                                                                                        OAKFIELD        NY   14125‐1025
TUBMAN, SHEILA T                    3125 YORKWAY                                                                                      BALTIMORE       MD   21222‐5345
TUBO, DONALD E                      6904 WALMORE RD                                                                                   NIAGARA FALLS   NY   14304‐2902
TUBO, JR.,DONALD E                  2755 TRANSIT RD                                                                                   NEWFANE         NY   14108‐9703
TUBO, KELLY                         2755 TRANSIT RD                                                                                   NEWFANE         NY   14108
TUBO, KELLY J                       2755 TRANSIT RD                                                                                   NEWFANE         NY   14108‐9703
TUBO, MELVIN R                      14386 DALIA                                                                                       FORT PIERCE     FL   34951‐4251
TUBO, SCOTT A                       6904 WALMORE RD                                                                                   NIAGARA FALLS   NY   14304‐2902
TUBOS REUNIDOS SA                   BARRIO SAGARRIBAI S/N                                                   AMURRIO ALAVA 01470
                                                                                                            SPAIN
TUBRIDY, MARY C                     221 KNOWLTON AVE.               C/O CHEVROLET ‐ TONAWANDA                                         KENMORE         NY   14217‐2813
TUBULAR METAL SYSTEMS               DAN GOICK                       401 E 5TH ST                                                      PINCONNING      MI   48650‐9321
TUBULAR METAL SYSTEMS               DAN GOICK                       401 E. FIFTH ST                                                   SAGINAW         MI
TUBULAR METAL SYSTEMS LLC           PO BOX 673574                                                                                     DETROIT         MI   48267‐0001
TUBULAR METAL SYSTEMS LLC           980 N MICHIGAN AVE STE 1000                                                                       CHICAGO         IL   60611‐4521
TUBULAR METAL SYSTEMS LLC           401 E 5TH ST                                                                                      PINCONNING      MI   48650‐9321
TUBULAR STEEL INC                   285 RALEIGH AVE                                                         SCARBOROUGH CANADA
                                                                                                            ON M1K 1A5 CANADA
TUBVILLE, WILLIAM L                 201 BELLEVIEW DR                                                                                  MT PLEASANT     TN 38474
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                                        Part 37 of 40 Pg 554 of 901
Name                                 Address1                        Address2                      Address3             Address4              City                State Zip
TUCCERI, JOSEPHINE                   991 E 232ND ST                                                                                           EUCLID               OH 44123‐2552
TUCCI ADRIANA                        LA SCALA                        STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA N 42   20123 MILANO ITALY
TUCCI FRANK (513059)                 PAUL REICH & MYERS P.C.         1608 WALNUT ST STE 500                                                   PHILADELPHIA        PA   19103‐5446
TUCCI JR, JOSEPH F                   42 W CONSTITUTION DR                                                                                     BORDENTOWN          NJ   08505‐2530
TUCCI JR, LOUIS A                    44 PUTNAM AVE                                                                                            TARRYTOWN           NY   10591‐3809
TUCCI JR., PATRICK L                 1108 HAMILTON AVE                                                                                        HAMILTON            OH   45011‐3931
TUCCI JR., PATRICK L                 206 N HILL ST                                                                                            MARION              IN   46952‐3710
TUCCI, ANN M                         ATTENTION: GAIL L POUST         NESHAMINY MANOR                                                          WARRINGTON          PA   18976
TUCCI, ANTONIO                       10 SHORT HILL RD                                                                                         CROTON              NY   10520‐3710
TUCCI, EMILIO                        10257 PAINTBRUSH DR                                                                                      KELLER              TX   76248‐6655
TUCCI, FRANK                         PAUL REICH & MYERS P.C.         1608 WALNUT ST STE 500                                                   PHILADELPHIA        PA   19103‐5446
TUCCI, GIOVANNI                      21 PINE ST                                                                                               SLEEPY HOLLOW       NY   10591‐1708
TUCCI, JESSIE M                      735 LIVERY CIR                                                                                           LAWRENCEVILLE       GA   30045‐9352
TUCCI, LISA M                        2461 LINDELL RD                                                                                          STERLING HTS        MI   48310‐4893
TUCCI, LOUIS M                       2630 W MIAMI TRL                                                                                         MARION              IN   46952‐9719
TUCCI, MARTA B                       10257 PAINTBRUSH DR                                                                                      KELLER              TX   76248‐6655
TUCCI, MARTA BEATRIZ                 10257 PAINTBRUSH DR                                                                                      KELLER              TX   76248‐6655
TUCCI, MARY A                        3796 WINDING BROOK CIR 12                                                                                ROCHESTER HILLS     MI   48309
TUCCI, PATRICK L                     1012 WESLEYAN DR                                                                                         FAIRFIELD           OH   45014‐2840
TUCCI, RALPH G                       14634 MOORE AVE                                                                                          ALLEN PARK          MI   48101‐1648
TUCCI, ROBERT K                      3796 WINDING BROOK CIR 12                                                                                ROCHESTER HILLS     MI   48309
TUCCI, SYLVIA M                      2100 MARIBETH PL                                                                                         GROVE CITY          OH   43123‐3789
TUCCI, TONY                          10 SHORT HILL RD                                                                                         CROTON ON HUDSON    NY   10520‐3710
TUCCI, WILLIAM F                     24 S CANARY WAY                                                                                          GALLOWAY            NJ   08205‐6207
TUCCIARELLA, DONALD S                RD 1 52Y STOCKBRIDGE FLLS RD                                                                             MUNNSVILLE          NY   13409
TUCCIARONE, ANTHONY                  280 WOODRUFF AVE                                                                                         AVENEL              NJ   07001‐1138
TUCCIARONE, CARMEN                   280 WOODRUFF AVE.                                                                                        AVENEL              NJ   07001
TUCCILLO, FRANK J                    45 MISTY PINE RD                                                                                         LEVITTOWN           PA   19056‐3627
TUCCILLO, FRANK J                    9 MARYLAND AVE                                                                                           WHITING             NJ   08759‐1129
TUCCILLO, FREDERICK J                968 LANNING AVE                                                                                          TRENTON             NJ   08648‐4522
TUCCILLO, KATHLEEN A                 45 MISTY PINE RD                                                                                         LEVITTOWN           PA   19056‐3627
TUCCILLO, LEONARD J                  1329 BRANCHSIDE CT                                                                                       THOMPSONS STATION   TN   37179‐2305
TUCCILLO, LILLIAN C                  9012 SE RETREAT DR                                                                                       HOBE SOUND          FL   33455‐8959
TUCCILLO, STEVEN M                   721 BUCHANAN ST                                                                                          TOMS RIVER          NJ   08753‐7207
TUCCIO, MARY T                       76 LAKE ST APT 2FF                                                                                       WEBSTER             MA   01570
TUCEK, MARGARET A                    6810 LAUREL TRCE                                                                                         MIDDLEBRG HTS       OH   44130‐8377
TUCEK, MARGARET A                    6810 LAUREL TRACE                                                                                        MIDDLEBURG HT       OH   44130‐8377
TUCHALSKI, CARL R                    2205 MORNING STAR DR                                                                                     ALTON               IL   62002‐5622
TUCHEK, ROBERTA J                    APT 409                         2120 ROBBINS AVENUE                                                      NILES               OH   44446‐3964
TUCHEL, DENNIS E                     8018 MARLOWE RD                                                                                          BELLEVILLE          MI   48111‐1317
TUCHER, VINCENT J                    9025 E COUNTY ROAD 1300 N                                                                                OSGOOD              IN   47037‐9686
TUCHFABRIK WILLY SCHMITZ GMBH        SACHSENSTR 30                   POSTFACH 100346                                    MOENCHENGLADBACH NW
                                                                                                                        41003 GERMANY
TUCHFABRIK WILLY SCHMITZ GMBH & CO   POSTLACH 10 03 46                                                                  MONCHENGLADBACH D‐
KG                                                                                                                      41003 GERMANY
TUCHINDA, NITAYA                     19946 ECCLES ST                                                                                          CANOGA PARK         CA 91306‐1619
TUCHOLSKI STANLEY J JR (429963)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA 23510
                                                                     STREET, SUITE 600
TUCHOLSKI, CAROL A.                  40 FAWN CT                                                                                               CHEEKTOWAGA         NY 14227‐1612
TUCHOLSKI, CAROL A.                  40 FAWN CT.                                                                                              CHEEKTOWAGA         NY 14227‐1612
TUCHOLSKI, LEON A                    597 W IRONWOOD DR                                                                                        CHANDLER            AZ 85225‐6540
                                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                           Part 37 of 40 Pg 555 of 901
Name                                    Address1                         Address2                        Address3   Address4         City             State Zip
TUCHOLSKI, STANLEY J                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510‐2212
                                                                         STREET, SUITE 600
TUCICH, BETTY A                         228 KING LN                                                                                  LITTLE ELM       TX 75068‐4303
TUCILLO FRANK                           45 MISTY PINE RD                                                                             LEVITTOWN        PA 19056‐3627
TUCK JAMES (ESTATE OF) (492705)         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                         PROFESSIONAL BLDG
TUCK JR, WILLIAM T                      1101 FARM SPRINGS RD                                                                         SUMMERVILLE      SC    29493‐0839
TUCK RONALD                             3549 RIVER RD                                                                                EAST CHINA       MI    48054‐2206
TUCK'S TRUCKS, INC.                     244 WASHINGTON ST                                                                            HUDSON           MA    01749‐2749
TUCK'S TRUCKS, INC.                     JAMES BOYLE                      244 WASHINGTON ST                                           HUDSON           MA    01749‐2749
TUCK, ANNIE I                           6049 ELDON RD                                                                                MT MORRIS        MI    48458‐2713
TUCK, DALE H                            423 N MASON ST                                                                               SAGINAW          MI    48602‐4468
TUCK, DELLA M                           882 COUNTY ROAD 188                                                                          NIOTA            TN    37826
TUCK, EDWARD H                          1106 EAGLEHURST ROAD                                                                         TOMS RIVER       NJ    08753‐7925
TUCK, FLOYD R                           300 S WASHINGTON                 LOT 51                                                      FORT MEAD        FL    33841
TUCK, FLOYD R                           300 S WASHINGTON AVE LOT 51                                                                  FORT MEADE       FL    33841‐3183
TUCK, GLEN E                            3419 EDGEWOOD CT                                                                             DAVISON          MI    48423‐8423
TUCK, HAROLD E                          3213 OAKWOOD BLVD S                                                                          SARASOTA         FL    34237‐6412
TUCK, HOWARD L                          480 CONCORD AVENUE                                                                           BRONX            NY    10455
TUCK, JANET                             639 SOUTH GRAHAM ST                                                                          MARTINSVILLE     IN    46151
TUCK, JASON W                           11276 AUTUMN BREEZE TRL                                                                      CLIO             MI    48420‐1500
TUCK, JIMMY J                           882 COUNTY ROAD 188                                                                          NIOTA            TN    37826‐2618
TUCK, JULIE R                           16469 BAYWOOD LN                                                                             EDEN PRAIRIE     MN    55346‐2417
TUCK, KENNETH W                         353 SAVANNAH RD                                                                              BALTIMORE        MD    21221‐4813
TUCK, MAMMIE W                          2805 ROSEBUD RD                                                                              LOGANVILLE       GA    30052‐2209
TUCK, MARY L                            12 S. OSCEOLA                                                                                BEVERLY HILLS    FL    34465‐3650
TUCK, MARY L                            12 S OSCEOLA ST                                                                              BEVERLY HILLS    FL    34465‐3650
TUCK, MAURICE S                         PO BOX 22                                                                                    FREDERIC         MI    49733‐0022
TUCK, NAOMI R                           1076 SPINNING RD                                                                             DAYTON           OH    45432‐1665
TUCK, RALPH H                           316 TAYLOR ST                                                                                BAY CITY         MI    48708‐7743
TUCK, ROBERT P                          1720 VALLEY HEIGHTS RD                                                                       XENIA            OH    45385‐5385
TUCK, SARA N                            39 KRISLY RD                                                                                 SCARBRO          WV    25917‐8197
TUCK, TABITHA M                         APT 5A                           780 RIVERWALK CIRCLE                                        CORUNNA          MI    48817‐1368
TUCK, TOMMY L                           1800 E HILLS DR                                                                              MOORE            OK    73160‐6639
TUCK, TRENT D                           2743 MOLLYS CT                                                                               SPRING HILL      TN    37174‐7126
TUCK, VICTORIA M                        190 BALDWIN CIR                                                                              RUSSELLVILLE     KY    42276‐8003
TUCK, WILLIAM G                         PO BOX 173                                                                                   LAKE GEORGE      MI    48633‐0173
TUCK, WILMA                             3034 LOST PINE WAY                                                                           PORTAGE          MI    49024‐2396
TUCK, WILMA                             C/O AMANDA ZIEMKOWSKI            3034 LOST PINE WAY                                          PORTAGE          MI    49024
TUCKER & BAUM                           228 S BEVERLY DR                                                                             BEVERLY HILLS    CA    90212‐3805
TUCKER AMY L                            TUCKER, AMY L                    10085 CARROLL CANYON ROAD                                   SAN DIEGO        CA    92131
TUCKER ARENSBERG PC                     1 PPG PL STE 1500                                                                            PITTSBURGH       PA    15222‐5416
TUCKER BEAMAN                           528 CROATAN HILLS DR                                                                         VIRGINIA BEACH   VA    23451‐7103
TUCKER BILLY                            PO BOX 208                                                                                   MICHIE           TN    38357‐0208
TUCKER BOB R (494275)                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA    23510
                                                                         STREET, SUITE 600
TUCKER BRYAN                            10902 EVENING CREEK DR E APT 6                                                               SAN DIEGO        CA 92128‐4099
TUCKER CARL                             213 S PARK ST                                                                                HOHENWALD        TN 38462
TUCKER CHARLES D (ESTATE OF) (660960)   SAVILLE EVOLA & FLINT LLC        322 EAST BROADWAY P O BOX 602                               ALTON            IL 62002

TUCKER CHARLES WILLIS (ESTATE OF)       GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                  EDWARDSVILLE      IL   62025‐0959
(650555)                                ANTOGNOLI
                              09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                    Part 37 of 40 Pg 556 of 901
Name                          Address1                           Address2                          Address3   Address4                 City            State Zip
TUCKER COUNTY SHERIFF         318 2ND ST                                                                                               PARSONS          WV 26287‐1242
TUCKER DONALD (641996)        BROOKMAN ROSENBERG BROWN &         17TH FLR, ONE PENN SQUARE WEST,                                       PHILADELPHIA     PA 19102
                              SANDLER                            30 SOUTH 15TH STREET
TUCKER EVERETT (464318)       KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                         CLEVELAND       OH 44114
                                                                 BOND COURT BUILDING
TUCKER EVERETT L (341387)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA 23510
                                                                 STREET, SUITE 600
TUCKER FINNEY                 5089 CABANNE AVE                                                                                         SAINT LOUIS     MO 63113‐1620
TUCKER FRED (448331)          BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD      OH 44067
                                                                 PROFESSIONAL BLDG
TUCKER GEORGE F SR (414683)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA 23510
                                                                 STREET, SUITE 600
TUCKER GERALDINE              63 CHADDS PT                                                                                             ACWORTH         GA 30101‐7785
TUCKER GILLIAM SR (498860)    ANGELOS PETER G                    100 N CHARLES STREET , ONE                                            BALTIMORE       MD 21201
                                                                 CHARLES CENTER
TUCKER GMBH                   MAX‐EYTH‐STR 1                                                                  GIESSEN HE 35394
                                                                                                              GERMANY
TUCKER HASKINS & ASSOC        ATTN: DANIEL TUCKER                109 TWIN OAKS DR                                                      SYRACUSE        NY   13206‐1215
TUCKER I I I, WALTER M        PO BOX 187                                                                                               GREENWOOD       LA   71033‐0187
TUCKER I I, HENRY C           10963 BIG POOL RD                                                                                        BIG POOL        MD   21711‐1203
TUCKER II, HENRY C            10963 BIG POOL RD                                                                                        BIG POOL        MD   21711‐1203
TUCKER II, NORMAN E           4520 CRANBROOK DR                                                                                        INDIANAPOLIS    IN   46250‐2433
TUCKER II, OLIVER W           3214 RUST AVE                                                                                            SAGINAW         MI   48601‐3147
TUCKER III, WALTER MATTHEW    235 COOKE DR                                                                                             WASKOM          TX   75692‐3601
TUCKER INDUSTRIES             3170 TUCKER RD BOX 340                                                                                   BENSALEM        PA   19020
TUCKER INDUSTRIES INC         MIKE TUCKER                        PO BOX 340                                                            FORT MILL       SC   29716‐0340
TUCKER INDUSTRIES, INC.       MIKE TUCKER                        PO BOX 340                                                            FORT MILL       SC   29716‐0340
TUCKER INTERNATIONAL LLC      5777 CENTRAL AVE STE 230                                                                                 BOULDER         CO   80301‐2829
TUCKER IRMEN, EILEEN T        1968 QUAIL COVE DR                                                                                       KALAMAZOO       MI   49009‐1869
TUCKER JAMES                  622 SOUTHWEST HIGHLAND AVENUE                                                                            LAWTON          OK   73501‐8252
TUCKER JAMES                  224 JOLLY RD                                                                                             DRESDEN         TN   38225‐2213
TUCKER JAMES                  2035 FLETCHER CREEK DR                                                                                   MEMPHIS         TN   38133‐7059
TUCKER JAMES (448333)         BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD      OH   44067
                                                                 PROFESSIONAL BLDG
TUCKER JAMES (490930)         BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD      OH 44067
                                                                 PROFESSIONAL BLDG
TUCKER JANET S                103 SUNRISE LN                                                                                           LIZTON          IN 46149‐9241
TUCKER JODY L                 TUCKER, JODY L                     71650 SAHARA RD STE 2                                                 RANCHO MIRAGE   CA 92270‐4336
TUCKER JOHN A (401875)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA 23510
                                                                 STREET, SUITE 600
TUCKER JOHN M (410728)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA 23510
                                                                 STREET, SUITE 600
TUCKER JOHN THOMAS            EDWARD O MOODY PA                  801 WEST 4TH STREET                                                   LITTLE ROCK     AR   72201
TUCKER JR, CHARLIE            1841 WYCLIFFE RD                                                                                         PARKVILLE       MD   21234‐6130
TUCKER JR, COLUMBUS J         516 COUNTY ROAD 469                                                                                      CULLMAN         AL   35057‐0929
TUCKER JR, DEWEY D            10361 ROXBURY ST                                                                                         DETROIT         MI   48224‐2411
TUCKER JR, EARL               2006 CAIN ST                                                                                             SEAGOVILLE      TX   75159‐2212
TUCKER JR, EARL C             6201 FOX GLEN DR APT 284                                                                                 SAGINAW         MI   48638‐4366
TUCKER JR, EMERSON            35740 BEVERLY RD                                                                                         ROMULUS         MI   48174‐1723
TUCKER JR, HENRY C            1620 E BROAD ST APT 808                                                                                  COLUMBUS        OH   43203‐2025
TUCKER JR, JIMMIE D           3144 W CASS AVE                                                                                          FLINT           MI   48504‐1208
TUCKER JR, MOSE               4387 SULGRAVE DR                                                                                         SWARTZ CREEK    MI   48473‐8277
                             09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                Part 37 of 40 Pg 557 of 901
Name                         Address1                        Address2                      Address3   Address4         City                State Zip
TUCKER JR, NORMAN E          PO BOX 448                                                                                SQUIRES              MO 65755‐0448
TUCKER JR, NORMAN E          1654 FM RD APT 10                                                                         CARTHAGE             TX 75633
TUCKER JR, THOMAS            514 WASHINGTON ST                                                                         ELLISVILLE           MS 39437‐2050
TUCKER JR, WAYNE R           27 CONCORD CIR                                                                            HOWELL               NJ 07731‐1556
TUCKER JR, WILLIAM D         12308 AMSTERDAM RD                                                                        FARMERS BRANCH       TX 75234‐6516
TUCKER JR, WILLIAM G         912 N DELLROSE ST                                                                         WICHITA              KS 67208‐3440
TUCKER JR., DAVID C          405 W IROQUOIS RD                                                                         PONTIAC              MI 48341‐1542
TUCKER JR., EARNEST          2508 E 2ND ST                                                                             FLINT                MI 48503‐2234
TUCKER JR., EARNEST          1719 GRIGGS DR                                                                            FLINT                MI 48504‐7010
TUCKER LAURA                 TUCKER, LAURA                   PO BOX 040                                                VALIER                IL 62891
TUCKER LLOYD                 3540 NORTHCLIFFE RD                                                                       CLEVELAND HEIGHTS    OH 44118‐3667
TUCKER LOJEAN                6400 LITTLEWOOD RD                                                                        KERNERSVILLE         NC 27284‐8007
TUCKER MARILYN G (629836)    ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                          BETHLEHEM            PA 18018
TUCKER NORMA                 7308 LEISURE LN                                                                           MASON                OH 45040‐3471
TUCKER PAMELA                TUCKER, PAMELA                  2040 W CHOYA ST                                           PHOENIX              AZ 85029
TUCKER PARRETT               9321 N 400 W                                                                              HUNTINGTON           IN 46750‐7902
TUCKER PAUL & MARINA         8636 WOOD FRST                                                                            SAN ANTONIO          TX 78251‐2544
TUCKER PHILIP G (358148)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                             STREET, SUITE 600
TUCKER PONTIAC‐BUICK, INC.   PO BOX 60                                                                                 WYTHEVILLE          VA 24382‐0050
TUCKER ROBERT (459407)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                             STREET, SUITE 600
TUCKER ROBERT C JR           DBA TUCKER GROUP LLC            61 RIDGEWAY DR                                            BROWNSBURG          IN    46112
TUCKER TOOL INC              50550 RIZZO DR                                                                            SHELBY TOWNSHIP     MI    48315‐3206
TUCKER V, ALVA J             824 W NORTH ST                                                                            ANAHEIM             CA    92805‐1736
TUCKER WILLIE L (352773)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA    23510
                                                             STREET, SUITE 600
TUCKER WILLIE ROY JR         TUCKER, CHRISTINE MCGRAW        PO BOX 490200                                             LEESBURG            FL    34749‐0200
TUCKER WILLIE ROY JR         TUCKER, WILLIE ROY              PO BOX 490200                                             LEESBURG            FL    34749‐0200
TUCKER, ADA M                PO BOX 2757                                                                               MESA                AZ    85214‐2757
TUCKER, ADAM S
TUCKER, ADELAIDE S           1797 OLD MOULTRIE RD STE 107                                                              SAINT AUGUSTINE     FL    32084‐4166
TUCKER, ADOLPH F             410 DEERHURST AVE                                                                         CAMARILLO           CA    93012‐5128
TUCKER, ALBERT M             31501 EVERGREEN RD                                                                        BEVERLY HILLS       MI    48025‐3811
TUCKER, ALEE                 24650 THORNDYKE DR                                                                        SOUTHFIELD          MI    48034‐2926
TUCKER, ALFRED D             7011 MIROS CIR                                                                            KANSAS CITY         KS    66109‐1856
TUCKER, ALFRED D             811 N 89TH CT                                                                             KANSAS CITY         KS    66112‐3606
TUCKER, ALFRED L             936 HAYES RD                                                                              CROSSVILLE          TN    38555‐6933
TUCKER, ALLEN L              1022 LEVEL CREEK RD APT 303                                                               SUGAR HILL          GA    30518
TUCKER, ALLEN L              1022 LEVEL CREEK RD             APT 303                                                   SUGAR HILL          GA    30518
TUCKER, ALLEN R              1545 SALT SPRINGS RD                                                                      NILES               OH    44446
TUCKER, ALLIE MAE            409 PELHAM STREET                                                                         MAYSVILLE           KY    41056‐1419
TUCKER, ALLIE MAE            409 PELHAM ST                                                                             MAYSVILLE           KY    41056‐1419
TUCKER, ALLISON F            896 STANDISH RD                                                                           SARANAC             NY    12981‐2819
TUCKER, ALTON                1701 FISCHER DR                                                                           NORMAN              OK    73026‐9172
TUCKER, ALTON A              584 REX AVE                                                                               KALAMAZOO           MI    49048‐2354
TUCKER, ALTON R              10 CO.RD #52                                                                              LEXINGTON           AL    35648
TUCKER, ALVIE G              3307 SHERMAN ST                                                                           ALTON               IL    62002‐4023
TUCKER, AMY L                ROSNER LAW & MANSFIELD          10085 CARROLL CANYON ROAD                                 SAN DIEGO           CA    92131
TUCKER, ANALE M
TUCKER, ANGELA E             535 W 65TH ST                                                                             INDIANAPOLIS         IN   46260‐4603
TUCKER, ANN MARIE            252 N RACEWAY RD                                                                          INDIANAPOLIS         IN   46234‐9244
                            09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                 Part 37 of 40 Pg 558 of 901
Name                        Address1                          Address2                      Address3   Address4         City            State Zip
TUCKER, ANNA
TUCKER, ANTHONY A           4412 PULASKI HWY                                                                            CULLEOKA        TN    38451‐2024
TUCKER, ANTHONY B           4221 VERMONT AVE                                                                            BALTIMORE       MD    21229‐3517
TUCKER, ANTHONY E           67 WALKER RD                                                                                SHIRLEY         MA    01464‐2901
TUCKER, ANTHONY M           PO BOX 31102                                                                                HIGHLAND PARK   MI    48203‐8102
TUCKER, ANTHONY MARSHELLE   PO BOX 31102                                                                                HIGHLAND PARK   MI    48203‐8102
TUCKER, ANTOINETTE M        1660 STONEMORE DR                                                                           DEFIANCE        OH    43512‐3717
TUCKER, ANTOINETTE MARIE    1660 STONEMORE DR                                                                           DEFIANCE        OH    43512‐3717
TUCKER, ARTHUR E            2414 S BASSETT ST                                                                           DETROIT         MI    48217‐1651
TUCKER, ARTHUR J            211 LINCOLN ST                                                                              MARLBOROUGH     MA    01752‐2214
TUCKER, ARTHUR L            180 MOUNTAIN AVE                                                                            BLOOMFIELD      CT    06002‐1635
TUCKER, ARTHUR P            3211 BOSTON ST                                                                              MIDLAND         MI    48642
TUCKER, ASHLEY
TUCKER, AUDREY D            721 GLENWOOD COURT                                                                          JEFFERSON       WI    53549‐1901
TUCKER, AUDREY D            721 GLENWOOD CT                                                                             JEFFERSON       WI    53549‐1901
TUCKER, BARBARA B           4615 STILL MEADOW DR                                                                        SAGINAW         MI    48603
TUCKER, BEATRICE            802 SEDGEFIELD COURT                                                                        MANCHESTER      TN    37355‐1424
TUCKER, BELINDA K           5895 WEISS ST APT I1                                                                        SAGINAW         MI    48603
TUCKER, BELINDA K           5895 WEISS ST                     APT I1                                                    SAGINAW         MI    48603
TUCKER, BENITA L            4644 LAUREL DR                                                                              DAYTON          OH    45417‐1259
TUCKER, BENNIE E            7469 SHARP RD                                                                               SWARTZ CREEK    MI    48473‐9409
TUCKER, BESSIE              PO BOX 965                                                                                  PERRYSBURG      OH    43552‐0965
TUCKER, BETTY               138 3RD ST                                                                                  GILBERT         LA    71336‐3492
TUCKER, BETTY E             PO BOX 90413                                                                                BURTON          MI    48509‐0413
TUCKER, BETTY L             4204 WESTON DR                                                                              BURTON          MI    48509‐1049
TUCKER, BEVERLY A           4841 BAILEY SETTLEMENT RD                                                                   SUN PRAIRIE     WI    53590‐9716
TUCKER, BILLIE JO           8701 MOORESVILLE RD                                                                         CAMBY           IN    46113‐9216
TUCKER, BILLIE JO           8701 W MOORESVILLE RD                                                                       CAMBY           IN    46113‐9216
TUCKER, BILLIE L            1085 ROSEDALE AVE                                                                           FLINT           MI    48505‐2923
TUCKER, BILLIE L            1085 ROSE DALE                                                                              FLINT           MI    48505‐2923
TUCKER, BILLY D             5122 MCLAIN ST                                                                              SWARTZ CREEK    MI    48473
TUCKER, BILLY L             N3989 14TH CT                                                                               MONTELLO        WI    53949‐8634
TUCKER, BOB R               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510‐2212
                                                              STREET, SUITE 600
TUCKER, BOBBY J             4202 WHISPERING OAK DR                                                                      FLINT            MI 48507‐5542
TUCKER, BRADLEY M           G6250 WESTVIEW DR.                                                                          GRAND BLANC      MI 48439
TUCKER, BRANDON
TUCKER, BRANDON E           10903 LA GRANGE DRIVE                                                                       FRISCO          TX    75035‐6412
TUCKER, BRANDON EDWARD      10903 LA GRANGE DRIVE                                                                       FRISCO          TX    75035‐6412
TUCKER, BRENDA J            2203 GEMINI DR                                                                              BASTROP         LA    71220‐3469
TUCKER, BRENT A             13 SHANNON LN                                                                               BEAUFORT        SC    29906
TUCKER, BRENT E             309 HOLMAN DR                                                                               WEST PLAINS     MO    65775‐2267
TUCKER, BRIAN D             1729 DARLINGTON EAST RD                                                                     BELLVILLE       OH    44813‐9389
TUCKER, BRIAN R             19628 EXCEPTIONAL TRAIL                                                                     FARMINGTON      MN    55024‐8666
TUCKER, BRUCE A             11225 CHERRYLAWN DR                                                                         BRIGHTON        MI    48114‐8104
TUCKER, BRUCE E             2424 DANUBE CT                                                                              KETTERING       OH    45420‐1004
TUCKER, BRUCE H             6716 LAKE BRANDT RD                                                                         SUMMERFIELD     NC    27358‐9711
TUCKER, BYRON T             3544 KIM CT                                                                                 ATLANTA         GA    30340‐4110
TUCKER, CARL J              4725 FALL RIVER RD                                                                          LEOMA           TN    38468‐7009
TUCKER, CARL S              PO BOX 1275                                                                                 MONTICELLO      KY    42633‐4275
TUCKER, CARLA L             1202 W SPENCER AVE                                                                          MARION          IN    46952‐3477
TUCKER, CARRIE M            1507 PARKVIEW DR.                                                                           MONROE          LA    71202
                           09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                             Part 37 of 40 Pg 559 of 901
Name                       Address1                       Address2            Address3         Address4         City               State Zip
TUCKER, CATHY A            5930 LIBRARY RD                                                                      BETHEL PARK         PA 15102
TUCKER, CECIL E            20103 HICKORY RD                                                                     MILAN               MI 48160‐9245
TUCKER, CHALLIS MAURICE    102 LANCE DR                                                                         FRANKLIN            OH 45005‐6508
TUCKER, CHARLENE           414 GRIGGS ST SW                                                                     GRAND RAPIDS        MI 49507‐2370
TUCKER, CHARLENE           414 GRIGGS STREET SOUTHWEST                                                          GRAND RAPIDS        MI 49507‐2370
TUCKER, CHARLES D          SAVILLE EVOLA & FLINT LLC      PO BOX 602                                            ALTON                IL 62002‐0602
TUCKER, CHARLES E          PO BOX 234                                                                           GREENWOOD           LA 71033‐0234
TUCKER, CHARLES E          1117 WINSTANLEY AVE                                                                  EAST SAINT LOUIS     IL 62201‐2027
TUCKER, CHARLES F          9941 W GRASS LAKE RD                                                                 LAKE STATION        MI 48632‐9403
TUCKER, CHARLES G          3510 PATRICIA PL                                                                     ELLENTON            FL 34222‐4515
TUCKER, CHARLES R          210 IONE ST                                                                          TUPELO              MS 38801‐3113
TUCKER, CHARLES W          816 OVERBEY DR                                                                       MOBILE              AL 36608‐3510
TUCKER, CHARLES WILLIS     GOLDENBERG, MILLER, HELLER &   PO BOX 959                                            EDWARDSVILLE         IL 62025‐0959
                           ANTOGNOLI
TUCKER, CHARLIE D          20259 FENMORE ST                                                                     DETROIT            MI   48235‐2262
TUCKER, CHERYL A           712 W 6TH ST                                                                         ANDERSON           IN   46016‐1049
TUCKER, CHERYL L           434 S CORNELL AVE                                                                    VILLA PARK         IL   60181‐2946
TUCKER, CHESTER A          4463 LEXINGTON AVE                                                                   SAINT LOUIS        MO   63115
TUCKER, CHRISTINE MCGRAW   AUSTIN ROBERT E JR             PO BOX 490200                                         LEESBURG           FL   34749‐0200
TUCKER, CHRISTOPHER        2358 QUAIL MEADOW DR                                                                 GROVE CITY         OH   43123‐8727
TUCKER, CHRISTOPHER D      3917 SUNSETRIDGE RD                                                                  MOORPARK           CA   93021‐3756
TUCKER, CLARENCE G         7061 CORBITT AVE                                                                     UNIVERSITY CY      MO   63130‐2448
TUCKER, CLARENCE J         5630 W MARKET ST APT E                                                               GREENSBORO         NC   27409
TUCKER, CLARICE            768 MACDONOUGH ST                                                                    BROOKLYN           NY   11233‐1607
TUCKER, CLIFFORD R         4781 FALL RIVER RD                                                                   LEOMA              TN   38468‐7009
TUCKER, CLIFFORD R         145 BID A WEE DR                                                                     P C BEACH          FL   32413
TUCKER, CONNIE E           335 PINE ST                                                                          CLIO               MI   48420
TUCKER, CORRY A            5417 STOWE TRL                                                                       CLARKSTON          MI   48348‐3747
TUCKER, CRAIG G            34451 HARROUN ST                                                                     WAYNE              MI   48184‐2318
TUCKER, CYNTHIA            24650 MUIRFIELD DR                                                                   TAYLOR             MI   48180‐7964
TUCKER, DAGARIA N          4094 9TH ST                                                                          ECORSE             MI   48229‐1206
TUCKER, DAGARIA NIKOE      4094 9TH ST                                                                          ECORSE             MI   48229‐1206
TUCKER, DALE T             2110 HERON DR                                                                        LAKE WALES         FL   33859‐4822
TUCKER, DANNY J            5425 FLORIA DR                                                                       SWARTZ CREEK       MI   48473‐8826
TUCKER, DANNY W            1048 WEST HIGHWAY 25/70                                                              DANDRIDGE          TN   37725
TUCKER, DARRYL             2027 HIGHWAY 849                                                                     COLUMBIA           LA   71418‐3422
TUCKER, DARRYL B           2027 HIGHWAY 849                                                                     COLUMBIA           LA   71418‐3422
TUCKER, DAVID              CLINE KING & KING PC           1015 3RD ST                                           COLUMBUS           IN   47201‐6800
TUCKER, DAVID              OBRIEN LAW OFFICE              PO BOX 7936                                           MISSOULA           MT   59807‐7936
TUCKER, DAVID C            PO BOX 35                                                                            GLENPOOL           OK   74033‐0035
TUCKER, DAVID C            702 S MERIDIAN RD LOT 224                                                            APACHE JUNCTION    AZ   85220
TUCKER, DAVID G            9028 BIRKHILL DR                                                                     STERLING HTS       MI   48314‐2503
TUCKER, DAVID R            6631 WEALTHY ST                                                                      CLARKSTON          MI   48346‐2178
TUCKER, DAVID W            3329 BRADDOCK ST                                                                     KETTERING          OH   45420‐1202
TUCKER, DEBORAH            2433 WESTPORT DR                                                                     DAYTON             OH   45406‐1246
TUCKER, DEBORAH K          15426 S LOWELL RD                                                                    LANSING            MI   48906‐9393
TUCKER, DEBRA F            9520 R AVE E                                                                         SCOTTS             MI   49088‐9754
TUCKER, DELLA M            3117 BURGESS ST                                                                      FLINT              MI   48504‐2580
TUCKER, DELORES F          18411 DEVONSHIRE ST                                                                  BEVERLY HILLS      MI   48025‐4023
TUCKER, DENNIS E           4387 E COUNTY ROAD 200 S                                                             AVON               IN   46123‐8805
TUCKER, DENNIS E           2337 SILVER CIR                                                                      WATERFORD          MI   48328‐1740
TUCKER, DENSEL L           3267 BRAKEBILL RD                                                                    WARM SPRINGS       AR   72478‐9145
                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                           Part 37 of 40 Pg 560 of 901
Name                     Address1                       Address2                          Address3   Address4         City               State Zip
TUCKER, DEREK
TUCKER, DERRELL          541 FORD AVE                                                                                 YOUNGSTOWN         OH 44502
TUCKER, DERRICK N        APT E                          7879 NORTHWEST ROANRIDGE                                      KANSAS CITY        MO 64151‐5245
                                                        ROAD
TUCKER, DERRICK N        513 LOWER DUBLIN RD                                                                          RAMER               AL   36069‐5129
TUCKER, DEWITT           2535 PENNSYLVANIA ST                                                                         DETROIT             MI   48214‐2052
TUCKER, DIANA R          4422 RICHARDS RD                                                                             DAVISON             MI   48423‐8725
TUCKER, DIANE M          6069 BROBECK ST                                                                              FLINT               MI   48532‐4007
TUCKER, DOLORES M        37520 ARBOR WOODS DR                                                                         LIVONIA             MI   48150‐4408
TUCKER, DON
TUCKER, DONALD           BROOKMAN ROSENBERG BROWN &     17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA        PA 19102
                         SANDLER                        30 SOUTH 15TH STREET
TUCKER, DONALD E         777 EMERSON AVE                                                                              PONTIAC            MI    48340‐3222
TUCKER, DONALD G         623 MARQUETTE ST                                                                             SANDUSKY           OH    44870‐1713
TUCKER, DONALD R         6424 W FARRAND RD                                                                            CLIO               MI    48420‐8242
TUCKER, DONALD RICHARD   6424 W FARRAND RD                                                                            CLIO               MI    48420‐8242
TUCKER, DONALD V         30 N CHARLAME CT                                                                             ROXBURY            MA    02119‐1812
TUCKER, DONNA D          813 W MANOR DR                                                                               MARION             IN    46952‐1941
TUCKER, DONNA D          813 WEST MANOR DRIVE                                                                         MARION             IN    46952‐1941
TUCKER, DORIS A          206 S NUTWOOD ST                                                                             ANAHEIM            CA    92804‐2533
TUCKER, DORIS A.         733 DALLAS 209                                                                               SPARKMAN           AR    71763‐8895
TUCKER, DORIS E          12561 HIPP ST                                                                                TAYLOR             MI    48180‐4383
TUCKER, DOROTHY          439 DRISKILL CIR                                                                             NEWPORT            TN    37821‐4519
TUCKER, DOROTHY A        240 SE 28TH TER                                                                              CAPE CORAL         FL    33904‐3413
TUCKER, DOROTHY E        4081 10TH ST                                                                                 ECORSE             MI    48229‐1209
TUCKER, DOROTHY I        6013 WALLACE AVE                                                                             NEWFANE            NY    14108‐1023
TUCKER, DOROTHY M        5518 HUBBARD DR                                                                              FLINT              MI    48506‐1154
TUCKER, DOROTHY N        401 SENECA MANOR DR APT 604                                                                  ROCHESTER          NY    14621‐1639
TUCKER, DUANE D          2496 MCCOLLUM AVE                                                                            FLINT              MI    48504‐2411
TUCKER, EBONY            1212 S GREYLOCK ST                                                                           PHILADELPHIA       PA    19143‐5112
TUCKER, EDDIE            348 LABADIE ST                                                                               ECORSE             MI    48229‐1164
TUCKER, EDDIE G          546 TOWNVIEW CIR W                                                                           MANSFIELD          OH    44907‐1140
TUCKER, EDDIE L          6431 VALLEY CREST DR                                                                         WEST BLOOMFIELD    MI    48322‐1053
TUCKER, EDNA O           4408 PULASKI HWY                                                                             CULLEOKA           TN    38451‐2024
TUCKER, EDWARD C         3855 TWIN LAKES CT                                                                           BALTIMORE          MD    21244‐3705
TUCKER, EDWARD J         1000 GRIGGS ST SE                                                                            GRAND RAPIDS       MI    49507‐2702
TUCKER, EDWARD J         949 MYRTLE AVE                                                                               WATERFORD          MI    48328
TUCKER, ELEANOR          HCI BOX 117                                                                                  SQUIRES            MO    65755
TUCKER, ELEANOR M        20 MANVILLE LN APT 1                                                                         PLEASANTVILLE      NY    10570‐1133
TUCKER, ELIZABETH        452 BOUCHELLE DR APT 203                                                                     NEW SMYRNA BEACH   FL    32169‐6904
TUCKER, ELLEN J          1537 NOBLE AVE                                                                               BARBERTON          OH    44203‐7301
TUCKER, ELLEN J          1537 NOBLE ST                                                                                BARBERTON          OH    44203
TUCKER, ELMER C          376 JUDD RD                                                                                  AMELIA             OH    45102‐1123
TUCKER, ELMIRA F         811 S 20TH ST                                                                                ELWOOD             IN    46036‐2426
TUCKER, ELMIRA F         811 S. 20TH ST                                                                               ELWOOD             IN    46036‐2426
TUCKER, ELNORA V         19101 EVERGREEN RD APT 601                                                                   DETROIT            MI    48219‐2683
TUCKER, ERIC             25 PALATINE APT 126                                                                          IRVINE             CA    92612‐7612
TUCKER, ERIC R           3992 MEIGS AVE                                                                               WATERFORD          MI    48329‐2169
TUCKER, ERSKINE B        17192 PENNINGTON DR                                                                          DETROIT            MI    48221‐2613
TUCKER, ERSKINE B        17182 PENNINGTON DRIVE                                                                       DETROIT            MI    48221‐2613
TUCKER, EUDINE H         503 WEST WATAUGA AVE‐APT 218                                                                 JOHNSON CITY       TN    37604‐7604
TUCKER, EUNA LEE         ROBERTS, HIAWATHA T            303 HEGENBERGER RD STE 204                                    OAKLAND            CA    94621‐1419
                           09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                Part 37 of 40 Pg 561 of 901
Name                       Address1                          Address2                       Address3   Address4         City                 State Zip
TUCKER, EVAN F             PO BOX 148                                                                                   PERKINS               MI 49872‐0148
TUCKER, EVELYN C           2585 LORETTO RD                                                                              JACKSONVILLE          FL 32223‐1393
TUCKER, EVELYN M           1062 E FOSS                                                                                  FLINT                 MI 48505
TUCKER, EVERETT            KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND             OH 44114
                                                             BOND COURT BUILDING
TUCKER, EVERETT L          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510‐2212
                                                             STREET, SUITE 600
TUCKER, F
TUCKER, FLORA ANN          105 INDIAN PAINT DRIVE                                                                       JUSTIN               TX   76247
TUCKER, FLORA C            4212 WESTFORD RD                                                                             JAMESTOWN            PA   16134‐6740
TUCKER, FORREST H          405 W WALTON BLVD                                                                            PONTIAC              MI   48340
TUCKER, FORREST L          586 YOUNG LN                                                                                 WINCHESTER           TN   37398‐3760
TUCKER, FRANKIE F          4615 STILL MEADOW DRIVE                                                                      SAGINAW              MI   48603‐1938
TUCKER, FREDERICK B        6114 E PIERSON RD                                                                            FLINT                MI   48506‐2252
TUCKER, FREDERICKA         25 E IROQUOIS RD                                                                             PONTIAC              MI   48341‐2016
TUCKER, GARY E             1468 OAKBROOK E                                                                              ROCHESTER HLS        MI   48307‐1126
TUCKER, GARY J             4128 LITTLE DOTHAN RD                                                                        SNEADS               FL   32460‐3567
TUCKER, GARY L             4655 IRWINDALE DR                                                                            WATERFORD            MI   48328‐2005
TUCKER, GARY T             524 HURON HILLS DR                                                                           EAST TAWAS           MI   48730‐9528
TUCKER, GARY W             7491 S STATE ROAD 67                                                                         MUNCIE               IN   47302‐8146
TUCKER, GEORGE F           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA   23510‐2212
                                                             STREET, SUITE 600
TUCKER, GEORGE R           3481 SQUIRREL CT                                                                             AUBURN HILLS         MI   48326‐4007
TUCKER, GERALD D           8216 ROOSEVELT AVE                                                                           MOUNT MORRIS         MI   48458‐1320
TUCKER, GERALD H           2932 BIRCH ISLE RD                                                                           FARWELL              MI   48622‐9760
TUCKER, GERALD R           2190 BUFFALO VALLEY RD                                                                       COOKEVILLE           TN   38501‐6617
TUCKER, GERALD T           394 HAVERLAKE CIRCLE                                                                         APOPKA               FL   32712‐4056
TUCKER, GERALD W           396 OLD FLORENCE PULASKI RD       RD                                                         LEOMA                TN   38468‐5356
TUCKER, GERALDINE          92 OGEMAW RD                                                                                 PONTIAC              MI   48341‐1143
TUCKER, GILLIAM            ANGELOS PETER G                   100 N CHARLES STREET, ONE                                  BALTIMORE            MD   21201
                                                             CHARLES CENTER
TUCKER, GLADYS M           6606 COLONIAL DR                                                                             FLINT                MI   48505‐1918
TUCKER, GLENN              PO BOX 1856                                                                                  COLUMBIA             TN   38402‐1856
TUCKER, GLENN R            79 ROYCEBROOK ROAD                                                                           BELLE MEAD           NJ   08844
TUCKER, GLENNA J           PO BOX 364                                                                                   EATON                OH   45320‐0364
TUCKER, GLORIA J           PO BOX 465                                                                                   FLUSHING             MI   48433‐0465
TUCKER, GRACE S            14665 SW 35TH TERRACE RD                                                                     OCALA                FL   34473
TUCKER, GREGORY D          1974 SCHNORF JONES RD                                                                        ARCANUM              OH   45304‐9622
TUCKER, GWENDOLYN          74‐711 DILLON RD. MH #84                                                                     DESERT HOT SPRINGS   CA   92241
TUCKER, GWENDOLYN DENISE   29335 WESTBROOK PKWY                                                                         SOUTHFIELD           MI   48076‐1774
TUCKER, HAL G              1718 LYNBROOK DR                  P.O. BOX 7805                                              FLINT                MI   48507‐2230
TUCKER, HAL GREGORY        1718 LYNBROOK DR                                                                             FLINT                MI   48507‐2230
TUCKER, HAROLD G           2520 56TH ST SW UNIT 205                                                                     WYOMING              MI   49418‐8376
TUCKER, HAROLD L           3846 LE SAGE ST                                                                              LYNWOOD              CA   90262‐2822
TUCKER, HELEN M            13669 FARM RD                                                                                BELLEVILLE           MI   48111‐2512
TUCKER, HELENE             9298 SUE LN                                                                                  SWARTZ CREEK         MI   48473‐8548
TUCKER, HENRY L            PO BOX 90773                                                                                 HENDERSON            NV   89009
TUCKER, HERMAN L           10867 S COUNTY ROAD 1000 E                                                                   GALVESTON            IN   46932‐9054
TUCKER, HILLARY M          1024 PARKWAY BLVD                                                                            ALLIANCE             OH   44601‐3739
TUCKER, HOMER              2811 N SAINT MARYS ST                                                                        BEEVILLE             TX   78102‐2215
TUCKER, HOMER G            351 PEACH DR                                                                                 SHREVEPORT           LA   71106‐7658
TUCKER, HORTINCE           932 GLENWOOD AVE                                                                             BUFFALO              NY   14211‐1420
                              09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                Part 37 of 40 Pg 562 of 901
Name                          Address1                       Address2                       Address3   Address4         City              State Zip
TUCKER, HUBERT C              6843 FORBES AVE                                                                           VAN NUYS           CA 91406‐4517
TUCKER, HUBERT J              PO BOX 482                                                                                SANDUSKY           OH 44871‐0482
TUCKER, HUBERT J              922 1/2 W WASHINGTON ST                                                                   SANDUSKY           OH 44870
TUCKER, HUGH                  GUY WILLIAM S                  PO BOX 509                                                 MCCOMB             MS 39649‐0509
TUCKER, IDONAS                1735 HWY 421                                                                              SARDIS             TN 38371‐5010
TUCKER, IDONAS                1735 HIGHWAY 421                                                                          SARDIS             TN 38371‐5010
TUCKER, IRENE                 PO BOX 24572                                                                              DETROIT            MI 48224‐0572
TUCKER, IRENE P               PO BOX 24572                                                                              DETROIT            MI 48224‐0572
TUCKER, J C                   1217 GARFIELD AVE                                                                         MOUNT MORRIS       MI 48458‐1785
TUCKER, J D                   4205 MCMICHAEL AVE                                                                        SHREVEPORT         LA 71119‐8205
TUCKER, JADINE R              510 N ST SW APT N133                                                                      WASHINGTON         DC 20024
TUCKER, JAMES                 BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH 44067
                                                             PROFESSIONAL BLDG
TUCKER, JAMES C               4824 E CRYSTAL LANE                                                                       PARADISE VALLEY   AZ   85253‐5253
TUCKER, JAMES C               2357 BROADMOOR DR                                                                         KETTERING         OH   45419‐2816
TUCKER, JAMES E               6097 N 100 W                                                                              ALEXANDRIA        IN   46001
TUCKER, JAMES E               57 BALLANTINE RD                                                                          MIDDLETOWN        NJ   07748‐3000
TUCKER, JAMES F               7 KINGS ROW                                                                               HOT SPRINGS       AR   71901‐7936
TUCKER, JAMES H               6490 BROWNSVILLE RD                                                                       LITHIA SPRINGS    GA   30122‐1003
TUCKER, JAMES H               3585 CLARLESTOWN RD                                                                       KEARNEYSVILLE     WV   25430
TUCKER, JAMES K               3003 LORANCE RD                                                                           CLINTON           MS   39056‐9574
TUCKER, JAMES N               22504 80TH AVE                                                                            EVART             MI   49631‐8908
TUCKER, JAMES S               848 SHADY CREEK LN                                                                        YUKON             OK   73099‐7143
TUCKER, JAMES W               119 ZEER BLVD                                                                             CLARKSTON         MI   48348‐1486
TUCKER, JAMES W               PO BOX 12                                                                                 OTISVILLE         MI   48463‐0012
TUCKER, JANET S               103 SUNRISE LN                                                                            LIZTON            IN   46149‐9241
TUCKER, JANET S               103 SUNRISE LA                                                                            LIZTON            IN   46149
TUCKER, JANICE                KEENAN WILLIAM P               1718 PEACHTREE ST NW STE 596                               ATLANTA           GA   30309‐2454
TUCKER, JASON C               1621 BAUCOM DR                                                                            COLUMBIA          TN   38401‐5471
TUCKER, JASON D               5839 FOOLISH PLEASURE LN                                                                  INDIANAPOLIS      IN   46237‐3129
TUCKER, JEANETTE M            5009 DECKERVILLE RD                                                                       LUPTON            MI   48635‐8731
TUCKER, JEANNETTE L           3381 WHITE WALNUT CT APT 412                                                              MIAMISBURG        OH   45342‐5315
TUCKER, JENNIFER A            1729 DARLINGTON EAST RD                                                                   BELLVILLE         OH   44813‐9389
TUCKER, JERRY L               116 MATTIS DRIVE                                                                          LEWISBURG         OH   45338‐9200
TUCKER, JERRY L               116 MATTIS DR                                                                             LEWISBURG         OH   45338‐9200
TUCKER, JERRY M               11453 WING DR                                                                             CLIO              MI   48420
TUCKER, JESS O                7604 CARRIAGE LN                                                                          FORT WORTH        TX   76112‐5418
TUCKER, JESSIE                GUY WILLIAM S                  PO BOX 509                                                 MCCOMB            MS   39649‐0509
TUCKER, JEWELL A              7040 CHICAGO ST                                                                           ALANSON           MI   49706
TUCKER, JIMMIE TRUCKING INC   HWY 70 E                                                                                  BROKEN BOW        OK   74728
TUCKER, JOAN R                4347 S MADISON RD                                                                         MADISON           OH   44057‐9502
TUCKER, JOAN W                16760 MOCK RD                                                                             BERLIN CENTER     OH   44401‐8713
TUCKER, JOANNE E              2932 BIRCH ISLE RD                                                                        FARWELL           MI   48622‐9760
TUCKER, JOEL D                157 E IROQUOIS RD                                                                         PONTIAC           MI   48341‐1610
TUCKER, JOHN A                4212 WESTFORD RD                                                                          JAMESTOWN         PA   16134‐6740
TUCKER, JOHN A                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
TUCKER, JOHN M                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510‐2212
                                                             STREET, SUITE 600
TUCKER, JOHN N                4124 LENNON RD                                                                            FLINT             MI 48507‐1023
TUCKER, JOHN R                9816 DEEPWOODS DR                                                                         SHREVEPORT        LA 71118‐5037
TUCKER, JOHN THOMAS           MOODY EDWARD O                 801 W 4TH ST                                               LITTLE ROCK       AR 72201‐2107
                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                         Part 37 of 40 Pg 563 of 901
Name                  Address1                        Address2                        Address3   Address4             City              State Zip
TUCKER, JOHN W        5645 SADDLE CLUB RD                                                                             GAINESVILLE        GA 30506‐6910
TUCKER, JOHNNY A      1357 VO TECH DR                                                                                 FITZGERALD         GA 31750‐6536
TUCKER, JON M         106 MATTIS DR                                                                                   LEWISBURG          OH 45338‐9200
TUCKER, JONATHAN L    118 BOYETTE AVE                                                                                 LEWISBURG          TN 37091‐3109
TUCKER, JOSEPH        620 ELLSWORTH DR                                                                                TROTWOOD           OH 45426‐2514
TUCKER, JOSEPHINE M   17646 GREENVIEW AVE                                                                             DETROIT            MI 48219‐3586
TUCKER, JR,JESSE J    PO BOX 14736                                                                                    SAGINAW            MI 48601‐0736
TUCKER, JUDE O        5526 LAKE SIDE DR                                                                               BOSSIER CITY       LA 71111‐5504
TUCKER, JUDY          6031 FLORIDA ST                                                                                 DETROIT            MI 48210‐1906
TUCKER, JULIE A       1215 NORTH WAY DRIVE            APT. 7                                                          DEWITT             MI 48820
TUCKER, JULIE A       1215 NORTHWAY DR APT 7                                                                          DEWITT             MI 48820‐7915
TUCKER, KATHLEEN A    4437 LYNNVIEW DR                                                                                LOUISVILLE         KY 40216‐3411
TUCKER, KATHLEEN A    32 BEATTIE AVE                                                                                  LOCKPORT           NY 14094‐5027
TUCKER, KATHLEEN S    4841 BAILEY SETTLEMENT RD                                                                       SUN PRAIRIE        WI 53590‐9716
TUCKER, KEITH A       49594 MOORE AVE                                                                                 E LIVERPOOL        OH 43920‐9120
TUCKER, KEITH D       22246 SUNRISE BLVD                                                                              NOVI               MI 48375
TUCKER, KELVIN        125 CHIMNEY RIDGE TRAIL                                                                         STOCKBRIDGE        GA 30281‐2710
TUCKER, KENNETH D     2400 S FINLEY RD APT 375                                                                        LOMBARD             IL 60148‐7025
TUCKER, KENNETH E     1704 WYOMING ST                                                                                 DAYTON             OH 45410‐2528
TUCKER, KENNETH R     BOX 1172                                                                   DIDSBURY AB T0M0W0
                                                                                                 CANADA
TUCKER, KENNETH V     12305 THOMASON ST                                                                               BROOKSVILLE       FL   34613‐5616
TUCKER, KERANO J      1816 HICKORY LAWN CT                                                                            ANTIOCH           TN   37013‐1672
TUCKER, KERRY         147 MORTON DR                                                                                   FAYETTEVILLE      TN   37334‐7068
TUCKER, KEVIN R       10961 BIG POOL RD                                                                               BIG POOL          MD   21711‐1203
TUCKER, KEVIN R       1369 LINDSAY LN                                                                                 HAGERSTOWN        MD   21742‐4615
TUCKER, KEVIN RHOE    10961 BIG POOL RD                                                                               BIG POOL          MD   21711‐1203
TUCKER, KEVIN W       636 BUGLE RUN DR                                                                                FLORISSANT        MO   63034‐2068
TUCKER, KEVIN WAYNE   636 BUGLE RUN DR                                                                                FLORISSANT        MO   63034‐2068
TUCKER, KIM D         PETTY CASH CUSTODIAN            485 W MILWAUKEE AVE RM A1004H                                   DETROIT           MI   48202

TUCKER, KIRK L        4841 BAILEY SETTLEMENT RD                                                                       SUN PRAIRIE       WI   53590‐9716
TUCKER, KYLE A        138 LLOYD GUESSFORD RD                                                                          TOWNSEND          DE   19734‐9665
TUCKER, KYLE G        3635 TRAILS END CT                                                                              BRIGHTON          MI   48114‐8174
TUCKER, LANCE W       7210 SANDY BEACH DR                                                                             WATERFORD         MI   48329‐2846
TUCKER, LARRY D       6366 S 50 E                                                                                     ANDERSON          IN   46013‐9543
TUCKER, LARRY G       4662 FALL RIVER RD                                                                              LEOMA             TN   38468‐7008
TUCKER, LAURA         PO BOX 40                                                                                       VALIER            IL   62891‐0040
TUCKER, LAUREN M      27 CONCORD CIR                                                                                  HOWELL            NJ   07731‐1556
TUCKER, LAVERNE E     175 E NAWAKWA RD UNIT 272                                                                       ROCHESTER HILLS   MI   48307‐5270
TUCKER, LAVERNE E     175 E NAWAKWA RD                APT 272                                                         ROCHESTER HILLS   MI   48307‐5269
TUCKER, LAWRENCE D    11408 N MERRILLVILLE RD                                                                         IRONS             MI   49644‐8882
TUCKER, LAWRENCE M    10367 SCHOONER LN                                                                               STANWOOD          MI   49346‐9219
TUCKER, LE ROY        2615 GREENBRIAR DR                                                                              JONESBORO         AR   72401‐5939
TUCKER, LEE A         12035 S NORMAL AVE                                                                              CHICAGO           IL   60628‐6307
TUCKER, LEE G         6606 COLONIAL DR                                                                                FLINT             MI   48505‐1918
TUCKER, LEEROY E      12892 LAUREL OAK RD                                                                             VICTORVILLE       CA   92392‐9109
TUCKER, LENA E        8476 RUTH LN                                                                                    COLLINSVILLE      MS   39325‐9044
TUCKER, LEO B         5990 W GRAY ST                                                                                  MUNCIE            IN   47304‐4663
TUCKER, LEO BURRIS    5990 W GRAY ST                                                                                  MUNCIE            IN   47304‐4663
TUCKER, LEON          29335 WESTBROOK PKWY                                                                            SOUTHFIELD        MI   48076‐1774
TUCKER, LEON C        PO BOX 759                                                                                      PINE KNOT         KY   42635‐0759
                          09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                            Part 37 of 40 Pg 564 of 901
Name                      Address1                       Address2                  Address3   Address4         City               State Zip
TUCKER, LEON P            4 COLGATE AVE                                                                        NEW CASTLE          DE 19720‐4304
TUCKER, LESLIE            227 SOUTHVIEW LEDGE RD                                                               LANDRUM             SC 29356‐3217
TUCKER, LESLIE H          1209 SEMINARY RDG                                                                    GARLAND             TX 75043‐1212
TUCKER, LEVI G            2030 MILBOURNE AVENUE                                                                FLINT               MI 48504‐7213
TUCKER, LEVI GIDDIE       2030 MILBOURNE AVENUE                                                                FLINT               MI 48504‐7213
TUCKER, LILTON            4809 KISATCHIE STREET                                                                PINE BLUFF          AR 71603‐4415
TUCKER, LINDA A           18460 KENTUCKY ST                                                                    DETROIT             MI 48221‐2030
TUCKER, LOIS L            1434 WESTWOOD DR                                                                     FLINT               MI 48532‐2674
TUCKER, LONNIE R          5100 SE 53RD ST                                                                      OKLAHOMA CITY       OK 73135‐4304
TUCKER, LORA L            14413 W WAGON WHEEL DR                                                               SUN CITY WEST       AZ 85375‐2877
TUCKER, LORETTA A         5122 MCLAIN ST                                                                       SWARTZ CREEK        MI 48473‐1217
TUCKER, LORI A            5910 QUAIL RIDGE DR                                                                  SHREVEPORT          LA 71129‐4915
TUCKER, LORIE A           37 TRADE WINDS DR                                                                    SAINT PETERS        MO 63376‐1142
TUCKER, LORRAINE          11631 MILLBANK LN UNIT C                                                             CINCINNATI          OH 45249‐4555
TUCKER, LOTTIE P          953 8 MILE RD                                                                        CINCINNATTI         OH 45255‐4732
TUCKER, LOUISE L          6424 WEST FARRAND ROAD                                                               CLIO                MI 48420‐8242
TUCKER, LUCILLE V         439 TECUMSEH STREET                                                                  CLAWSON             MI 48017‐2058
TUCKER, LUCIOUS           C/O THE LIPMAN LAW FIRM        5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES        FL 33146
TUCKER, LURLEASE T        35250 DEWBERRY ST                                                                    FARMINGTON HILLS    MI 48331‐2030
TUCKER, MADELINE          PO BOX 48                                                                            ORTONVILLE          MI 48462‐0048
TUCKER, MADELINE L        619 APPLEGATE LN                                                                     GRAND BLANC         MI 48439‐1668
TUCKER, MADISON E         6421 S WASHINGTON AVE                                                                LANSING             MI 48911‐5573
TUCKER, MAHLON L          22034 S. RIVER RD. BOX 667                                                           CENTREVILLE         MI 49032
TUCKER, MARGARET          33 BRAMBLE AVE                                                                       HIGHLAND HEIGHTS    KY 41076‐1345
TUCKER, MARILYN D         7321 103RD ST                                                                        FLUSHING            MI 48433‐8718
TUCKER, MARILYN DELORIS   7321 103RD ST                                                                        FLUSHING            MI 48433‐8718
TUCKER, MARILYN G         ANGELOS PETER G LAW OFFICES    60 WEST BROAD ST                                      BETHLEHEM           PA 18018‐5737
TUCKER, MARION A          195 CARLISLE TERRACE                                                                 PLAINFIELD          NJ 07062‐1518
TUCKER, MARION K          5800 FREDERICK PIKE                                                                  DAYTON              OH 45414‐2927
TUCKER, MARTHA B          3124 ARIS ST NW                                                                      WARREN              OH 44485‐1603
TUCKER, MARTHA B          3124 ARIS ST. N.W.                                                                   WARREN              OH 44485‐1603
TUCKER, MARTHA J          212 WINDING OAK WAY                                                                  BLYTHEWOOD          SC 29016‐8029
TUCKER, MARVLIN           6018 NORTHLAND RD                                                                    INDIANAPOLIS        IN 46228‐1058
TUCKER, MARY              RR 3                                                                                 ASHLAND             OH 44805
TUCKER, MARY              718 COUNTY ROAD 620 RR #3                                                            ASHLAND             OH 44805‐9548
TUCKER, MARY F            19941 SPENCER ST                                                                     DETROIT             MI 48234‐3183
TUCKER, MARY F            1521 MIDWAY RD                                                                       CLINTON             MS 39056‐9617
TUCKER, MARY F            222 DASH LEWIS DR                                                                    DECATUR             GA 30034‐1682
TUCKER, MARY F            305 S 20TH ST                                                                        SAGINAW             MI 48601‐1526
TUCKER, MARY F            1521 N MIDWAY RD                                                                     CLINTON             MS 39056‐9617
TUCKER, MARY K            412 S ST                                                                             BEDFORD             IN 47421‐1912
TUCKER, MARY L            4387 SULGRAVE DR                                                                     SWARTZ CREEK        MI 48473‐8277
TUCKER, MARY N            APT 319                        8616 WEST 10TH STREET                                 INDIANAPOLIS        IN 46234‐2170
TUCKER, MARYLENE          2305 DELON AVE                                                                       KOKOMO              IN 46901‐5002
TUCKER, MATTHEW           3728 LENA                                                                            CHALMETTE           LA 70043
TUCKER, MATTHEW           3728 LENA DR                                                                         CHALMETTE           LA 70043‐2731
TUCKER, MATTIE L          611 BOWMAN ST                                                                        MANSFIELD           OH 44903‐1238
TUCKER, MAX L             1301 PARKRIDGE DR                                                                    LADYSMITH           WI 54848‐2808
TUCKER, MELVIN            5009 DECKERVILLE RD                                                                  LUPTON              MI 48635‐8731
TUCKER, MERCY D           7958 SADSBURY DR.              BUILDING 14                                           WEST BLOOMFIELD     MI 48322
TUCKER, MERWIN L          113 EMERALD LN                                                                       HORSESHOE BEND      AR 72512‐3809
TUCKER, MICHAEL A         4305 STARKEY DR                                                                      MARION              IN 46953‐1682
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                          Part 37 of 40 Pg 565 of 901
Name                   Address1                          Address2                         Address3   Address4         City             State Zip
TUCKER, MICHAEL A      4330 HAZEL ST                                                                                  CLARKSTON         MI 48348‐1433
TUCKER, MICHAEL D      4186 CORUNNA RD APT 115                                                                        FLINT             MI 48532
TUCKER, MICHAEL D      29465 SALEM MINOR HILL RD                                                                      LESTER            AL 35647‐3924
TUCKER, MICHAEL I      8135 E CARPENTER RD                                                                            DAVISON           MI 48423‐8961
TUCKER, MICHAEL IVAN   8135 E CARPENTER RD                                                                            DAVISON           MI 48423‐8961
TUCKER, MICHAEL R      1691 BACON AVE                                                                                 EAST PALESTINE    OH 44413‐1439
TUCKER, MICHAEL T      1024 PARKWAY BLVD                                                                              ALLIANCE          OH 44601‐3739
TUCKER, MICHAEL W      32 BEATTIE AVE                                                                                 LOCKPORT          NY 14094‐5027
TUCKER, MILFORD H      7720 MONROE                                                                                    TAYLOR            MI 48180‐2459
TUCKER, MILFORD H      7720 MONROE BLVD                                                                               TAYLOR            MI 48180‐2459
TUCKER, MONTY L        4904 GRANITE SHOALS AVE                                                                        FORT WORTH        TX 76103‐1212
TUCKER, MORRIS D       173 RIDGEVIEW DR                                                                               SHERMAN           TX 75090‐5126
TUCKER, MYRA           382 LONGVIEW RD                                                                                MEDINA            OH 44256‐1418
TUCKER, MYRTLE J       COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                      HOUSTON           TX 77002‐1751
TUCKER, MYRTLE J       205 PROVINCIAL CT LOT 59                                                                       SAGINAW           MI 48603‐6147
TUCKER, NADINE L       1642 W FRIESS DR                                                                               PHOENIX           AZ 85023
TUCKER, NADINE P       10700 FM 2210 E                                                                                BRIDGEPORT        TX 76426‐5545
TUCKER, NANCY          PO BOX 341                                                                                     GERALDINE         AL 35974‐0341
TUCKER, NANCY D        6716 SHARON STEWART RD                                                                         BROOKFIELD        OH 44403‐4403
TUCKER, NANCY D        6716 STEWART SHARON RD                                                                         BROOKFIELD        OH 44403‐9788
TUCKER, NANCY J        MANN COWAN & POTTER PC            2000B SOUTHBRIDGE PKWY STE 601                               BIRMINGHAM        AL 35209‐7744

TUCKER, NATHANIEL L    16873 HUNTINGTON RD                                                                            DETROIT          MI   48219‐4022
TUCKER, NEDRA A        505 ROHR LN                                                                                    ENGLEWOOD        OH   45322‐2003
TUCKER, NORMA J        5545 N 800 E                                                                                   HOWE             IN   46746‐9767
TUCKER, NORMA S        3267 BRAKEBILL RD                                                                              WARM SPRINGS     AR   72478‐9145
TUCKER, O T            1208 GAGE CT                                                                                   JOLIET           IL   60432‐1121
TUCKER, ODIS E         C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                EDWARDSVILLE     IL   62025‐1972
TUCKER, OGLE R         116 DARLA CT                                                                                   MOSCOW MILLS     MO   63362‐1301
TUCKER, OLA J          11256 MIDDLE AVE                                                                               ELYRIA           OH   44035‐7968
TUCKER, OLLIE D        4228 EULALEE DRIVE                                                                             WEST MEMPHIS     AR   72301‐2301
TUCKER, ORA LEE B      210 BENNETT RD                                                                                 ROCKMART         GA   30153‐3120
TUCKER, ORRIN R        45 MOCK ST                                                                                     HUBBARD          OH   44425‐1429
TUCKER, OSCAR D        27769 STAR HALL RD                27769 STARR HALL RD                                          DEXTER           OH   45741‐9547
TUCKER, PAMELA         2040 W CHOYA ST                                                                                PHOENIX          AZ   85029
TUCKER, PAMELA A       1805 E FIRMIN ST                                                                               KOKOMO           IN   46902‐2447
TUCKER, PATRICIA
TUCKER, PATRICIA H     7540 NIANTIC AVE 7                                                                             SEBASTIAN        FL   32976
TUCKER, PATRICIA L     4600 WEST BRITTEN ROAD LOT 35                                                                  PERRY            MI   48872
TUCKER, PATRICIA L     4600 BRITTON RD LOT 35                                                                         PERRY            MI   48872‐8753
TUCKER, PATRICK J      9900 MILLIMAN RD                                                                               MILLINGTON       MI   48746‐9746
TUCKER, PATRICK JOHN   9900 MILLIMAN RD                                                                               MILLINGTON       MI   48746‐9746
TUCKER, PAUL E         11729 EDEN GLEN DR                                                                             CARMEL           IN   46033‐4336
TUCKER, PAUL Q         2906 CRESTON AVE                                                                               LANSING          MI   48906‐4013
TUCKER, PAULINE        46 HUDSON AVE                                                                                  PONTIAC          MI   48342‐1243
TUCKER, PAULINE        46 HUDSON                                                                                      PONTIAC          MI   48342‐1243
TUCKER, PAULINE G      1249 KIRBY CIR                                                                                 BEL AIR          MD   21015
TUCKER, PEARL L        3215 W MOUNT HOPE AVE APT 114                                                                  LANSING          MI   48911‐1274
TUCKER, PEGGY A        274 CEDAR VILLAGE CT                                                                           BALDWIN          MO   63021‐6116
TUCKER, PEGGY J        112 WEST RIDGEWAY ROAD                                                                         HONEA PATH       SC   29654
TUCKER, PENELOPE       243 LINCOLN PL                                                                                 IRVINGTON        NJ   07111‐2222
TUCKER, PETER          PO BOX 364                                                                                     EATON            OH   45320‐0364
                          09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                              Part 37 of 40 Pg 566 of 901
Name                      Address1                         Address2                      Address3   Address4         City                State Zip
TUCKER, PHILIP G          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                           STREET, SUITE 600
TUCKER, PHYLLIS           4926 WEST 14TH ST                                                                          SPEEDWAY            IN   46224‐6502
TUCKER, PHYLLIS           4926 W 14TH ST                                                                             SPEEDWAY            IN   46224‐6502
TUCKER, PHYLLIS           6163 WRIGHT ST                                                                             KALAMAZOO           MI   49048‐3518
TUCKER, PHYLLIS A         6752 STEWART SHARON RD                                                                     BROOKFIELD          OH   44403‐9788
TUCKER, PHYLLIS GERALDI   579 ROCKINGHAM RD                                                                          ORANGE PARK         FL   32073‐5830
TUCKER, RALPH M           1116 TROTWOOD LN                                                                           FLINT               MI   48507‐3711
TUCKER, RANDALL L         134 GREEN ACRES RD                                                                         COTTONTOWN          TN   37048‐4623
TUCKER, RANDALL LEE       134 GREEN ACRES RD                                                                         COTTONTOWN          TN   37048‐4623
TUCKER, RAY H             166 BALD EAGLE DR                                                                          RICHMOND HILL       GA   31324‐3416
TUCKER, RAYMOND           2229 MARYANN PL                                                                            TOLEDO              OH   43614‐2044
TUCKER, RAYMOND L         4326 STANTONSBURG RD                                                                       GREENVILLE          NC   27834‐7927
TUCKER, RAYMOND L         1633 DREXEL ST                                                                             DEARBORN            MI   48128‐1107
TUCKER, RAYMOND LEE       1633 DREXEL ST                                                                             DEARBORN            MI   48128‐1107
TUCKER, REBECCA           GUY WILLIAM S                    PO BOX 509                                                MCCOMB              MS   39649‐0509
TUCKER, RICHARD A         HC 69 P O 100                                                                              KIMBERLY            WV   25118
TUCKER, RICHARD A         7540 NIANTIC AVE 7                                                                         SEBASTIAN           FL   32976
TUCKER, RICHARD C         12 COUNTY ROUTE 40                                                                         MASSENA             NY   13662‐3420
TUCKER, RICHARD E         136 HIGHLAND AVE                                                                           BELLVILLE           OH   44813‐1120
TUCKER, RICHARD W         75036 MCKAY RD                                                                             BRUCE TWP           MI   48065‐2705
TUCKER, RICKI J           5053 N WEST ROTAMER RD                                                                     MILTON              WI   53563‐9416
TUCKER, ROBERT            1762 PORTER AVENUE                                                                         BELOIT              WI   53511‐3670
TUCKER, ROBERT            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                           STREET, SUITE 600
TUCKER, ROBERT            2704 DIAZ DR                                                                               KILLEEN             TX   76549
TUCKER, ROBERT A          9528 JEDDO RD                                                                              GREENWOOD           MI   48006‐1011
TUCKER, ROBERT A.         9528 JEDDO RD                                                                              GREENWOOD           MI   48006‐1011
TUCKER, ROBERT D          131 LAKESHORE DR                                                                           CLARKSTON           MI   48348‐1487
TUCKER, ROBERT D          1619 HAPPY LANDING RD                                                                      GLASGOW             KY   42141‐7076
TUCKER, ROBERT E          18708 N LITTLE JOHN LN                                                                     MUNCIE              IN   47303‐9635
TUCKER, ROBERT E          404 FEDERAL DR                                                                             ANDERSON            IN   46013‐4710
TUCKER, ROBERT G          GUY WILLIAM S                    PO BOX 509                                                MCCOMB              MS   39649‐0509
TUCKER, ROBERT H          5421 PERRY RD                                                                              GRAND BLANC         MI   48439‐1663
TUCKER, ROBERT J          10248 BELL RD                                                                              CLARKSVILLE         MI   48815‐9766
TUCKER, ROBERT K          1230 PINE RIDGE RD                                                                         LEXINGTON           TN   38351‐7574
TUCKER, ROBERT L          PO BOX 370332                                                                              DECATUR             GA   30037‐0332
TUCKER, ROBERT L          2685 SEMLOH ST                                                                             LAKE ORION          MI   48360‐2322
TUCKER, ROBERT LOUIS      GUY WILLIAM S                    PO BOX 509                                                MCCOMB              MS   39649‐0509
TUCKER, ROBERT S          4606 228TH ST SW                                                                           MOUNTLAKE TERRACE   WA   98043‐4427
TUCKER, ROLAND C          5952 SUMMERWOOD DR                                                                         GRAND PRAIRIE       TX   75052‐0436
TUCKER, RONALD C          12051 PAGE RD                                                                              TANNER              AL   35671‐3803
TUCKER, RONALD D          221 HERITAGE COMMONS ST SE                                                                 GRAND RAPIDS        MI   49503‐5248
TUCKER, RONALD E          3426 EAGLE DR                                                                              TROY                MI   48083‐5633
TUCKER, RONALD L          9782 HAIGHT RD                                                                             BARKER              NY   14012‐9633
TUCKER, RONALD R          2965 WEAVER RD                                                                             PORT AUSTIN         MI   48467‐9659
TUCKER, ROSE MARIE        7799 KOOKABURRA CIR # 201                                                                  DEXTER              MI   48130‐2511
TUCKER, ROSEMARIE         210 HARDING ST                                                                             MEDINA              OH   44256‐1637
TUCKER, ROSHANDA L        8431 W CARON DR                                                                            PEORIA              AZ   85345‐7163
TUCKER, ROSIE             1540 CLINTON ST                                                                            SANDUSKY            OH   44871‐1364
TUCKER, ROSWITHA M        16 DUSTY LN                                                                                NEW HOPE            AR   71959
TUCKER, ROY C             959 COLE BOTTOM RD                                                                         GLADEWATER          TX   75647‐6755
                           09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                              Part 37 of 40 Pg 567 of 901
Name                       Address1                        Address2                 Address3    Address4         City                State Zip
TUCKER, ROY L              6716 STEWARD RD.                                                                      BROOKFIELD           OH 44403
TUCKER, RUTH ELAINE        10 VICTOR DR                                                                          MOORESVILLE          IN 46158‐1060
TUCKER, RUTH M             12 ADIRONDACK COURT                                                                   PORTER CORNERS       NY 12859
TUCKER, RYAN F             14030 WALES ST                                                                        OAK PARK             MI 48237‐1416
TUCKER, SAMUEL D           19101 EVERGREEN RD APT 601                                                            DETROIT              MI 48219‐2683
TUCKER, SAMUEL H           307 E YORK AVE                                                                        FLINT                MI 48505‐2186
TUCKER, SAMUEL L           17541 GRANDVILLE AVE                                                                  DETROIT              MI 48219‐3518
TUCKER, SAMUEL R           260 BROWNS SCHOOL RD                                                                  HURON                TN 38345‐7903
TUCKER, SAMUEL W           6471 ELKHORN RD                                                                       KNIFLEY              KY 42753
TUCKER, SANDRA B           2965 WEAVER ROAD                                                                      PORT AUSTIN          MI 48467‐9659
TUCKER, SANDRA B           2965 WEAVER RD                                                                        PORT AUSTIN          MI 48467‐9659
TUCKER, SANDRA D           9232 ROBEY MEADOWS LN                                                                 INDIANAPOLIS         IN 46234‐1673
TUCKER, SANDRA J           2229 MARYANN PL                                                                       TOLEDO               OH 43614‐2044
TUCKER, SANDRA K           4574 GLENBROOK DR                                                                     PALM HARBOR          FL 34683‐1563
TUCKER, SANFORD C          2813 SPRING HOUSE PL                                                                  GREENSBORO           NC 27410‐8235
TUCKER, SARA
TUCKER, SARA               SIMON PASSANANTE                701 MARKET ST STE 1450                                SAINT LOUIS         MO   63101‐1843
TUCKER, SARAH              158 TODD MOUNTAIN DR                                                                  HIGHLAND VILLE      MO   65669
TUCKER, SCOTT A            160 MANITOU LN APT 4A                                                                 LAKE ORION          MI   48362‐1564
TUCKER, SCOTT O            2503 GARDEN GROVE LN                                                                  WICHITA FALLS       TX   76308
TUCKER, SHANEYLE L         14 SOUTH ST UNIT 38                                                                   DANBURY             CT   06810‐8183
TUCKER, SHARON A           4230 LEE AVE                                                                          SAINT LOUIS         MO   63115‐3444
TUCKER, SHARON E           27769 STAR HALL RD                                                                    DEXTER              OH   45741‐9547
TUCKER, SHIRLEY A          2217 9TH ST                                                                           DECATUR             AL   35601‐3691
TUCKER, SHIRLEY D          3307 SHERMAN ST                                                                       ALTON               IL   62002‐4023
TUCKER, SHIRLEY E          10 B CONCORD STREET CIRCLE                                                            MAYNARD             MA   01754
TUCKER, STACY A            132 GROVE CREEK LANE                                                                  MOORESVILLE         NC   28117‐6718
TUCKER, STANLEY V          24100 MOORESVILLE RD                                                                  ATHENS              AL   35613‐3162
TUCKER, STELLA L           PO BOX 1416                                                                           LEWISBURG           WV   24901‐4416
TUCKER, STELLA L           P.O. BOX 1416                                                                         LEWISBURG           WV   24901‐4416
TUCKER, STEPHEN F          11025 NATIONAL PIKE                                                                   CLEAR SPRING        MD   21722‐1624
TUCKER, STEPHEN FRANKLIN   11025 NATIONAL PIKE                                                                   CLEAR SPRING        MD   21722‐1624
TUCKER, STEVEN J           2820 PLUM CT                                                                          KOKOMO              IN   46902‐2957
TUCKER, SUSAN L            9116 DUBLIN WAY                                                                       DAVISON             MI   48423‐8576
TUCKER, SYLVESTER          801 E BUNDY AVE                                                                       FLINT               MI   48505‐2203
TUCKER, TAD M              2280 AMBER RD                                                                         BLACK RIVER FALLS   WI   54615‐7602
TUCKER, TANA M             7730 NEWCOMB DR                                                                       PARMA               OH   44129‐5813
TUCKER, TASHANDA           649 ROLLING HILLS LN APT 2                                                            LAPEER              MI   48446‐4736
TUCKER, TERIA J            702 STOCKDALE ST                                                                      FLINT               MI   48504‐7227
TUCKER, TERRY L            8155 TUCKER RD                                                                        ONAWAY              MI   49765‐8761
TUCKER, THADDEUS L         3700 BARRINGTON RD                                                                    BALTIMORE           MD   21215‐7109
TUCKER, THELMA L           32001 CHERRY HILL RD            APT 1009                                              WESTLAND            MI   48186‐7930
TUCKER, THERESE A          2972 ROUNDTREE DR                                                                     TROY                MI   48083‐2347
TUCKER, THOMAS E           1642 W FRIESS DR                                                                      PHOENIX             AZ   85023‐6110
TUCKER, THOMAS E           913 CHRYSLER ST                                                                       KALAMAZOO           MI   49048‐2233
TUCKER, THOMAS E           400 CHAMBERLAIN PARK LN                                                               FRANKLIN            TN   37069‐6526
TUCKER, THOMAS E           10851 TENACIOUS DR                                                                    INDIANAPOLIS        IN   46236‐8997
TUCKER, THOMAS F           604 3RD AVE N                                                                         GLADSTONE           MI   49837‐1072
TUCKER, THOMAS G           950 TRADEWINDS CV                                                                     PAINESVILLE         OH   44077‐4698
TUCKER, THURMAN G          PO BOX 310422                                                                         FLINT               MI   48531‐0422
TUCKER, TIMOTHY N          4422 RICHARDS RD                                                                      DAVISON             MI   48423‐8725
TUCKER, TOMMIE L           1824 BARTH ST                                                                         FLINT               MI   48504‐3102
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                           Part 37 of 40 Pg 568 of 901
Name                    Address1                        Address2                      Address3   Address4         City              State Zip
TUCKER, TOMMY           3270 KNOX RD                                                                              TOOMSUBA           MS 39364‐9513
TUCKER, TOMMY J         230 DONEGAL DR                                                                            ROCHESTER HILLS    MI 48309‐1223
TUCKER, TOMMY W         150 MEADOW LN                                                                             FITZGERALD         GA 31750‐8654
TUCKER, TONI L          5901 CLINTONVILLE RD                                                                      CLARKSTON          MI 48348‐5105
TUCKER, TONY M          174 THISTLE LN                                                                            FITZGERALD         GA 31750‐7337
TUCKER, TRACY A         160 CONEJO ROAD                                                                           SANTA BARBARA      CA 93103‐1638
TUCKER, TRAVIS L        405 DAISY DR                                                                              SAINT JOHNS        MI 48879‐8249
TUCKER, TURNER L        18460 KENTUCKY ST                                                                         DETROIT            MI 48221‐2030
TUCKER, TYRONE          19249 EUREKA ST                                                                           DETROIT            MI 48234
TUCKER, UNA R           PO BOX 796                                                                                BACLIFF            TX 77518‐0796
TUCKER, VERN S          813 W MANOR DR                                                                            MARION             IN 46952‐1941
TUCKER, VERNE R         126 SEMINOLE DR                                                                           EDGERTON           WI 53534‐9329
TUCKER, VICKI           530 W CARSON DR                                                                           MUSTANG            OK 73064‐3547
TUCKER, VICKI           1346 SW BINKLEY ST                                                                        OKLAHOMA CITY      OK 73119‐2323
TUCKER, VICKIE Y        6106 BLACKBERRY CRK             BULIDING 6                                                BURTON             MI 48519‐1942
TUCKER, VICKIE YVONNE   6106 BLACKBERRY CRK 6                                                                     BURTON             MI 48519
TUCKER, VIOLA A         315 S 8TH ST APT 2                                                                        ESCANABA           MI 49829‐3739
TUCKER, VIRGIL LEON     1428 N LOCKE ST                                                                           KOKOMO             IN 46901‐2463
TUCKER, VIRGINIA C      29127 BENTLEY WAY                                                                         CANYON COUNTRY     CA 91387‐4620
TUCKER, VIRGINIA L      4526 ADDISON ST                                                                           LANSING            MI 48917‐2027
TUCKER, VIRGINIA L      4526 ADDISON RD                                                                           LANSING            MI 48917‐2027
TUCKER, VON D           10798 CONCORD DR                                                                          BERRIEN SPRINGS    MI 49103‐9668
TUCKER, VONCILE         PO BOX 72                                                                                 WESTERVILLE        OH 43086
TUCKER, WALDO R         7178 SWINNEA RDG N                                                                        SOUTHAVEN          MS 38671‐6002
TUCKER, WALLACE H       2113 ABBOTT DR                                                                            BUFORD             GA 30519‐5414
TUCKER, WALTER          92 OGEMAW RD                                                                              PONTIAC            MI 48341‐1143
TUCKER, WALTER L        1016 AMHERST ST                 APT A7                                                    BUFFALO            NY 14215‐1971
TUCKER, WALTER T        1642 HAMPTON DR                                                                           GLADWIN            MI 48624‐8523
TUCKER, WANDA           40 GRAHAM DR                                                                              OHATCHEE           AL 36271‐8144
TUCKER, WANDA L         700 PINEWOOD CT                                                                           PACIFIC            MO 63069‐1871
TUCKER, WAYNE D         5613 BIG SKY TRL                                                                          INDIAN RIVER       MI 49749‐9569
TUCKER, WAYNE E         2016 LAUREL AVE                                                                           JANESVILLE         WI 53548‐3434
TUCKER, WAYNE R         27 CONCORD CIR                                                                            HOWELL             NJ 07731‐1556
TUCKER, WAYNONA H       614 S.                          6TH SREET                                                 MARSHALL            IL 62441
TUCKER, WAYNONA H       614 S.                                                                                    MARSHALL            IL 62441
TUCKER, WELTON          2179 S IDALIA ST                                                                          AURORA             CO 80013‐1051
TUCKER, WENDELL R       18 SIXTY WEST DR                                                                          LEXINGTON          VA 24450‐1781
TUCKER, WESLEY          403 NORTH STREET                                                                          ARCADE             NY 14009‐1103
TUCKER, WESLEY          403 NORTH ST                                                                              ARCADE             NY 14009‐1103
TUCKER, WHITNEY
TUCKER, WILLIAM C       465 COUNTY ROAD 3782                                                                      ARLEY             AL    35541‐4569
TUCKER, WILLIAM C       1734 S SUTTON ST                                                                          WESTLAND          MI    48186‐3856
TUCKER, WILLIAM J       1821 COOKE FARMS                                                                          DORR              MI    49323‐9045
TUCKER, WILLIAM N       4454 E FARRAND RD                                                                         CLIO              MI    48420‐9169
TUCKER, WILLIAM R       309 KILLIAN ST                                                                            WAYNESVILLE       NC    28786
TUCKER, WILLIE A        4195 E 147TH ST                                                                           CLEVELAND         OH    44128‐1864
TUCKER, WILLIE J        4387 SULGRAVE DR                                                                          SWARTZ CREEK      MI    48473‐8277
TUCKER, WILLIE L        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA    23510‐2212
                                                        STREET, SUITE 600
TUCKER, WILLIE ROY      AUSTIN ROBERT E JR              PO BOX 490200                                             LEESBURG           FL   34749‐0200
TUCKER, WILLIE ROY JR   35540 MICRO RACETRACK ROAD                                                                FRUITLAND PK       FL   34731‐5151
TUCKER, WILMA L         2028 S MADISON AVE                                                                        ANDERSON           IN   46016‐4047
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                         Part 37 of 40 Pg 569 of 901
Name                                Address1                              Address2                Address3     Address4         City                State Zip
TUCKER, WILMA L                     2028 MADISON AVE                                                                            ANDERSON             IN 46016‐4047
TUCKER, ZELMA P                     626 W SOUTH STREET                                                                          SHELBYVILLE          IN 46176‐1954
TUCKER, ZELMA P                     626 W SOUTH ST                                                                              SHELBYVILLE          IN 46176‐1954
TUCKER‐BILLINGSLEA, KIM D           6301 EDMUND ST                                                                              ROMULUS              MI 48174‐4411
TUCKER‐BISHOP, DEMETRICE            4855 AIRLINE DR APT 39E                                                                     BOSSIER CITY         LA 71111‐6655
TUCKER‐GREENE, DONEISHA M           960 PINECREST DR                                                                            ROCK HILL            SC 29732‐9029
TUCKER/HALL INC
TUCKERHALL                           ATTN: CORPORATE OFFICER/AUTHORIZED   ONE TAMPA CITY CENTER   SUITE 2760                    TAMPA                FL   33602‐5816
                                     AGENT
TUCKERMAN, DAVID A                   740 COUNTY ROAD 212 LOT 27                                                                 FREMONT             OH    43420‐8403
TUCKERMAN, JOYCE A                   1514 CANTERBURY ST                                                                         ADRIAN              MI    49221‐1856
TUCKERMAN, TERRY L                   4580 CORNERSVILLE RD                                                                       LYNNVILLE           TN    38472‐5114
TUCKETT, JOSEPH W                    3530 MAHLON MOORE RD                                                                       SPRING HILL         TN    37174‐2134
TUCKEY, DAVID D                      6573 ALLEGAN RD                                                                            VERMONTVILLE        MI    49096‐9739
TUCKEY, HARLAND J                    03760 23 1/2 ST                                                                            GOBLES              MI    49055‐9255
TUCKEY, JAMES A                      3775 CEDAR RUN RD                                                                          CASS CITY           MI    48726‐9492
TUCKEY, JEFFREY A                    6381 BEECHWOOD DR                                                                          CASS CITY           MI    48726‐1035
TUCKEY, LANETTIA B                   5570 TUBBS RD                                                                              WATERFORD           MI    48327
TUCKEY, LANETTIA B                   5570 TUBBS ROAD                                                                            WATERFORD           MI    48327‐1368
TUCKEY, LESLIE J                     61744 RAMBLING WAY                                                                         SOUTH LYON          MI    48178‐8967
TUCKEY, LEWIS G                      5570 TUBBS RD                                                                              WATERFORD           MI    48327‐1368
TUCKEY, SUSAN J                      418 W SEMINARY ST                                                                          CHARLOTTE           MI    48813‐1884
TUCKFIELD, JEAN M                    10217 LAMAR AVE                                                                            OVERLAND PARK       KS    66207‐3016
TUCKFIELD, JOHN D                    1195 WHITETAIL TRL                                                                         MT PLEASANT         MI    48858‐9847
TUCKFIELD, SARAH A                   421 GARDENIA AVE                                                                           ROYAL OAK           MI    48067‐3646
TUCKFIELD, WILLIAM J                 PO BOX 4275                                                                                HOMOSASSA SPRINGS   FL    34447‐4275
TUCKIER REX                          202 HOSPITAL ST                                                                            MOULTON             AL    35650‐1218
TUCKOWSKI, STANLEY T                 4342 W 58TH ST                                                                             CLEVELAND           OH    44144‐2976
TUCKS TRUCKS INC                     ROB WEBSTER                          244 WASHINGTON ST                                     HUDSON              MA    01749‐2749
TUCKY, NORMA C                       5407 FOREST AVE                                                                            PARMA               OH    44129‐3002
TUCSON CITY FINANCE DEPT REVENUE DIV PO BOX 27210                                                                               TUCSON              AZ    85726‐7210

TUCSON ELECTRIC POWER CO.           PO BOX 711                                                                                  TUCSON              AZ    85702‐0711
TUCSON GAS & ELECTRIC CO            3950 E IRVINGTON RD                                                                         TUCSON              AZ    85714‐2114
TUDAY, THOMAS                       209 E KILBUCK ST                                                                            TECUMSEH            MI    49286‐2026
TUDETHOUT, SUSAN D                  441 S HURON RD                                                                              LINWOOD             MI    48634‐9408
TUDETHUOT, DAREL R                  295 N GARFIELD RD                                                                           LINWOOD             MI    48634‐9818
TUDISCO JR, JOSEPH                  250 OLYMPIA DR                                                                              ROCHESTER           NY    14615‐1256
TUDISCO, THOMAS J                   92 JAY VEE LN                                                                               ROCHESTER           NY    14612
TUDOR AUTO CARE                                                           411 W TUDOR RD                                                            AK    99503
TUDOR BARRY                         4713 RIDGECREST LN                                                                          COLONIAL HEIGHTS    VA    23834‐2216
TUDOR JR, MARTIN T                  39599 SCHROEDER DR                                                                          CLINTON TWP         MI    48038‐2869
TUDOR JR, WILLIAM A                 205 W DAYTON YELLOW                   SPRINGS RD                                            FAIRBORN            OH    45324
TUDOR PHYSICAL THERA                7620 SOUTHERN BLVD STE 3                                                                    BOARDMAN            OH    44512‐5667
TUDOR SR, LARRY W                   7326 MARINGO DR                                                                             HUBER HEIGHTS       OH    45424‐3151
TUDOR, CHARLES                      GUY WILLIAM S                         PO BOX 509                                            MCCOMB              MS    39649‐0509
TUDOR, CONNIE J                     4103 DEE ANN DR                                                                             KOKOMO              IN    46902‐4426
TUDOR, ELMER L                      819 SW 6TH ST                                                                               LEES SUMMIT         MO    64081‐2613
TUDOR, GEORGIANA                    5376 CONKLIN RD                                                                             LOWELL              MI    49331‐8764
TUDOR, GERALD H                     436 COUNTRY MEADOWS BLVD                                                                    PLANT CITY          FL    33565‐8744
TUDOR, HERMAN D                     3336 WALLINGFORD DR                                                                         GRAND BLANC         MI    48439‐7933
TUDOR, JAMES A                      4246 SLATER AVE                                                                             BALTIMORE           MD    21236‐2723
                         09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                              Part 37 of 40 Pg 570 of 901
Name                     Address1                          Address2                     Address3   Address4         City              State Zip
TUDOR, JAMES H           3675 AUTUMN VIEW DR NW                                                                     ACWORTH            GA 30101‐7635
TUDOR, KENNETH D         2709 JUNIPER DR                                                                            EDGEWATER          FL 32141‐5411
TUDOR, LARRY D           2623 CADILLAC ST                                                                           MORAINE            OH 45439‐1602
TUDOR, MARJORY W         1181 HOUSTON DR                                                                            KEYSVILLE          GA 30816‐4149
TUDOR, MARK E            4428 S 200 E                                                                               KOKOMO             IN 46902‐9264
TUDOR, MARY F            2935 BRECKENRIDGE DR              UNIT 90                                                  BRIGHTON           MI 48114
TUDOR, MICHAEL F         1274 RAHMIER RD                                                                            MOSCOW MILLS       MO 63362‐2808
TUDOR, MILES A           183 HEATHERSETT DR                                                                         FRANKLIN           TN 37064‐4920
TUDOR, RICHARD
TUDOR, ROCHELLE L        6181 COLFAX LN S                                                                           MINNEAPOLIS       MN   55419‐2213
TUDOR, SHIRLEY M         7910 SUMMER BREEZE TRL                                                                     HOWELL            MI   48843‐6787
TUDOR, THELMA R          1945 E 241ST ST                                                                            CICERO            IN   46034‐9770
TUDOR, VIOLET C          402 ROBIN HOOD LN APT L                                                                    GILLETT           WI   54124‐9228
TUDOR, VIRGIL C          13249 E 49TH ST                                                                            YUMA              AZ   85367‐7980
TUDOR, WILLIAM E         5884 CURNALIA TRL                                                                          ROSCOMMON         MI   48653‐9620
TUDOR, WILLIAM R         1723 W OVERLOOK RD                                                                         MARION            IN   46952‐1120
TUDRICK, WILLIAM M       18835 SAN JOSE BLVD                                                                        LATHRUP VILLAGE   MI   48076‐7804
TUE, KERRY               3918 W BEAUREGARD AVE                                                                      SAN ANGELO        TX   76904‐8403
TUEL, ROY L              3231 SARDIS RD                                                                             MOUNT OLIVET      KY   41064‐7611
TUELL, BRYAN M           27254 VIRGINIA DR                                                                          WARREN            MI   48092‐2862
TUELL, WILLIS R          6084 W RIO GRANDE DR                                                                       BEVERLY HILLS     FL   34465‐2000
TUENTE TRUCKING INC      14804 STATE ROUTE 716                                                                      YORKSHIRE         OH   45388‐9782
TUER, MICHELE V          11479 CARR ROAD                                                                            DAVISON           MI   48423‐9336
TUER, MICHELE VIRGINIA   11479 CARR ROAD                                                                            DAVISON           MI   48423‐9336
TUER, ROBERT C           16800 HUBBARD ST                                                                           LIVONIA           MI   48154‐6101
TUER, STEVEN M           3120 S IRISH RD                                                                            DAVISON           MI   48423‐2434
TUER, STEVEN MICHAEL     3120 S IRISH RD                                                                            DAVISON           MI   48423‐2434
TUERFF III, JOHN L       2420 PARKLAWN DR APT 16                                                                    WAUKESHA          WI   53186‐2900
TUERFF, PATRICIA A       1154 VANDERBURGH DR                                                                        VALPARAISO        IN   46385‐5387
TUERPE, ROY S            999 LINCOLN RD                                                                             DAYTON            KY   41074‐1636
TUESCHER, LULU BELLE M   3605 LUCEY ST                                                                              JANESVILLE        WI   53546‐1161
TUESCHER, LULU BELLE M   3605 LUCEY ST.                                                                             JANESVILLE        WI   53546‐1161
TUESDAY, CHARLES S       76 W 29TH AVE APT 2302                                                                     EUGENE            OR   97405‐3296
TUESDAY, JEAN Q          76 W 29TH AVE APT 2302                                                                     EUGENE            OR   97405‐3296
TUESNO, JOSHUELL         1724 E FRISCO DR                                                                           LA PLACE          LA   70068‐2718
TUETTMAN, HENRY G        103 EAGLE CIR                                                                              ELYRIA            OH   44035‐2606
TUEV SUED EV             5 CHERRY HILL DR                                                                           DANVERS           MA   01923
TUEY, FREDERICK L        PO BOX 147                        1449 OUTER ROAD #96                                      BATES CITY        MO   64011‐0147
TUFANO, ANNA M           3637 SOCHA WAY                                                                             PORT ORANGE       FL   32129‐4264
TUFANO, HARRY J          6041 REDMAN RD                                                                             BROCKPORT         NY   14420‐9748
TUFANO, THEDA R          6041 REDMAN RD                                                                             BROCKPORT         NY   14420‐9748
TUFARO, FRANK            4600 DEOPHAM GREEN DR                                                                      YOUNGSTOWN        OH   44515‐5339
TUFARO, ROSALIE          4290 SELKIRK AVE                                                                           YOUNGSTOWN        OH   44511‐1049
TUFEL SHERMAN            450 HERITAGE HLS UNIT A                                                                    SOMERS            NY   10589‐1920
TUFF ALISHA              TUFF, ALISHA                      3210 NW 51ST ST                                          MIAMI             FL   33142‐3352
TUFF AUTOMATION INC      2751 COURIER DR NW                                                                         GRAND RAPIDS      MI   49534‐1247
TUFF SHED                ALEX LOPEX                        1777 S HARRISON ST STE 600                               DENVER            CO   80210‐3931
TUFF, ALISHA             3210 NW 51ST ST                                                                            MIAMI             FL   33142‐3352
TUFF, BERNICE            194 WARWICK DR                                                                             PONTIAC           MI   48340‐2572
TUFF, CHARLES D          1664 FYLER RD LOT 78              MOHAWK MANOR                                             CHITTENANGO       NY   13037‐9466
TUFF, LORENZO            529 N SAGINAW ST                                                                           PONTIAC           MI   48342‐1460
TUFFALOY PRODUCTS INC    1400 S BATESVILLE RD                                                                       GREER             SC   29650‐4809
                                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                            Part 37 of 40 Pg 571 of 901
Name                                  Address1                           Address2                       Address3   Address4         City           State Zip
TUFFANO CIRO                          MADDEN TUFANO LLC                  3000 ATRIUM WAY STE 280                                    MOUNT LAUREL    NJ 08054‐3927
TUFFELMIRE, ROBERTA H                 3890 COLONY CIRCLE                                                                            SUMTER          SC 29153‐9347
TUFFLEY, DEBIE M                      1545 DOWNING ST                                                                               SIMI VALLEY     CA 93065‐2029
TUFFLY, DAN                           MEYER ALAN H LAW OFFICES OF        505 N BIG SPRING ST STE 104                                MIDLAND         TX 79701‐4369
TUFFLY, DAN                           FRANCIS JAMES N LAW OFFICES OF     5956 SHERRY LN STE 800                                     DALLAS          TX 75225‐8035
TUFFLY, DEBRA
TUFFLY, KAREN B                       2111 COBB RD                                                                                  KINGSTON       OK    73439‐9278
TUFFNAIL, RAE A                       3602 CLAIRMONT ST                                                                             FLITN          MI    48532
TUFFORD JR, CARL E                    7272 YOUNESS DR                                                                               GRAND BLANC    MI    48439‐9658
TUFFORD, HAROLD L                     3390 E LAKE RD                                                                                CLIO           MI    48420‐7931
TUFFY AUTO SERVICE                    395 S RANDALL RD                                                                              ELGIN          IL    60123‐5526
TUFFY AUTO SERVICE / HAPPY MOTORING   13061 MCGREGOR BLVD                                                                           FORT MYERS     FL    33919‐5936
INC.
TUFFY AUTO SERVICE CENTER             2322 MAIN ST                                                                                  CEDAR FALLS    IA    50613‐4258
TUFFY AUTO SERVICE CENTER             2205 E 53RD ST                                                                                DAVENPORT      IA    52807‐2703
TUFFY AUTO SERVICE CENTER             3535 1ST AVE SE                                                                               CEDAR RAPIDS   IA    52402‐6101
TUFFY AUTO SERVICE CENTER             2160 EDGEWOOD RD SW                                                                           CEDAR RAPIDS   IA    52404
TUFFY AUTO SERVICE CENTER             1321 ANSBOROUGH AVE                                                                           WATERLOO       IA    50701‐3428
TUFFY AUTO SERVICE CENTER             909 S RIVERSIDE DR                                                                            IOWA CITY      IA    52246‐5614
TUFNELL, BETTY J                      5355 FAR RD                                                                                   DUNDEE         MI    48131‐9653
TUFNELL, MICHAEL L                    6195 DRUMHELLER RD                                                                            BATH           MI    48808‐9746
TUFT, DEAN
TUFTE, LINAVERE E                     711 S LINCOLN AVE APT E1                                                                      CLEARWATER     FL    33756‐5970
TUFTEDAL ERIK                         303 E CENTER ST                                                                               GLENWOOD       IL    60425‐1701
TUFTS JR, ROBERT T                    18855 SCHROEDER RD                                                                            BRANT          MI    48614‐9794
TUFTS UNIVERSITY                      BURSARS OFFICE                     136 HARRISON AVE                                           BOSTON         MA    02111‐1817
TUFTS UNIVERSITY TRUSTEES OF TUFTS    160 PACKARD AVE                    OFFICE OF THE BURSAR                                       MEDFORD        MA    02155‐5815
COLLEGE
TUFTS, CHRISTINE K                    PO BOX 1041                                                                                   MIAMISBURG     OH    45343
TUFTS, CLAUDETTE C                    1377 SHAWVIEW AVE                                                                             E CLEVELAND    OH    44112‐2719
TUFTS, DARRELL W                      PO BOX 47602                                                                                  ATLANTA        GA    30362‐0602
TUFTS, DENISE                         26340 CAMBRIDGE DR                                                                            BEDFORD HTS    OH    44146‐3144
TUFTS, EDDIE B                        1019 DRESDEN DR                                                                               MANSFIELD      OH    44905‐1527
TUFTS, IVAN E                         1229 WATERSEDGE DR                                                                            LAKELAND       FL    33801‐6774
TUFTS, JEFFREY C                      218 MUSKINGUM DR                                                                              GAHANNA        OH    43230‐2834
TUFTS, KATIE L                        3458 E 140TH ST                                                                               CLEVELAND      OH    44120‐4005
TUFTS, TAMIRA S                       658 TURNEY RD APT 1                                                                           BEDFORD        OH    44146‐3386
TUFTS, THOMAS A                       PO BOX 33                                                                                     RHODES         MI    48652‐0033
TUFTS, THOMAS E                       6107 SINGLE TREE LN                                                                           CENTERVILLE    OH    45459‐2425
TUFTS, TOMMIE                         26340 CAMBRIDGE DR                                                                            OAKWOOD VLG    OH    44146‐3144
TUFTS, WILBUR W                       PO BOX 135                                                                                    SPRING CITY    TN    37381‐0135
TUFTS, WILLIAM F                      105 JANET DR                                                                                  MOSCOW MILLS   MO    63362‐1332
TUFTS‐NEW ENGLAND MEDICAL CTR         CTR EVALUATION OF VALUE & RISK     750 WASHINGTON ST TUFTS‐NEMC                               BOSTON         MA    02111
                                                                         #063
TUFTY MICHELE                         6409 S MUSTANG AVE                                                                            SIOUX FALLS    SD 57108‐3120
TUGGLE ELLIOTT JR                     29431 MARIMOOR DR                                                                             SOUTHFIELD     MI 48076‐5236
TUGGLE GREG                           COUNTRY MUTUAL INSURANCE COMPANY 108 EAST WALNUT STREET P O BOX                               HARRISBURG     IL 62946
                                                                       406
TUGGLE GREG                           TUGGLE, GREG                     108 EAST WALNUT STREET P O BOX                               HARRISBURG      IL   62946
                                                                       406
TUGGLE GREG                           TUGGLE, SUSAN                    108 EAST WALNUT STREET P O BOX                               HARRISBURG      IL   62946
                                                                       406
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                    Part 37 of 40 Pg 572 of 901
Name                             Address1                           Address2              Address3    Address4         City            State Zip
TUGGLE JAMES DAVID SR            FERGUSON, TISHA                    1019 S STAPLEY DR                                  MESA             AZ 85204‐5013
TUGGLE JAMES DAVID SR            TUGGLE, JENNIFER                   1019 S STAPLEY DR                                  MESA             AZ 85204‐5013
TUGGLE JAMES DAVID SR            TUGGLE JR, JAMES DAVID             1019 S STAPLEY DR                                  MESA             AZ 85204‐5013
TUGGLE JAMES DAVID SR            TUGGLE, SHIRLEY                    1019 S STAPLEY DR                                  MESA             AZ 85204‐5013
TUGGLE JAMES DAVID SR            TUGGLE SR, JAMES DAVID             1019 S STAPLEY DR                                  MESA             AZ 85204‐5013
TUGGLE JR, CHRIS                 1522 25TH ST                                                                          DETROIT          MI 48216‐1468
TUGGLE JR, JAMES DAVID           JOHNSON BRYN R PLC                 1019 S STAPLEY DR                                  MESA             AZ 85204‐5013
TUGGLE SR, JAMES DAVID           JOHNSON BRYN R PLC                 1019 S STAPLEY DR                                  MESA             AZ 85204‐5013
TUGGLE, DANNY R                  241 HIDEAWAY TRL                                                                      EUREKA           MO 63025‐3244
TUGGLE, EUGENE H                 19709 NORTHWEST 240TH PLACE                                                           HIGH SPRINGS     FL 32643‐7014
TUGGLE, EVERJEAN                 16160 S 50TH ST APT 249                                                               PHOENIX          AZ 85048
TUGGLE, EVERJEAN                 13220 S 48TH ST APT 1024                                                              PHOENIX          AZ 85044‐5002
TUGGLE, GERTRUDE M               922 E BROADWAY ST                                                                     KOKOMO           IN 46901‐3114
TUGGLE, GERTRUDE M               922 EAST BROADWAY                                                                     KOKOMO           IN 46901
TUGGLE, GLORIA                   PO BOX 182                                                                            MANSFIELD        GA 30055‐0182
TUGGLE, GREG                     JELLIFFE FERRELL MORRIS & DOERGE   PO BOX 406                                         HARRISBURG        IL 62946‐0406
TUGGLE, HENRY M                  4126 BALBOA DR                                                                        INDIANAPOLIS     IN 46226‐5521
TUGGLE, JAMES                    24605 W DESERT VISTA TRL                                                              WITTMANN         AZ 85361‐8514
TUGGLE, JANICE E                 2992 CASCADE MANOR DR                                                                 DECATUR          GA 30034‐3254
TUGGLE, JENNIFER                 JOHNSON BRYN R PLC                 1019 S STAPLEY DR                                  MESA             AZ 85204‐5013
TUGGLE, JIMMIE E                 720 HWY 314                                                                           FAYETTEVILLE     GA 30214‐3977
TUGGLE, JOE F                    720 HIGHWAY 314                                                                       FAYETTEVILLE     GA 30214‐3977
TUGGLE, M J                      230 MIDDLETON ST                                                                      JACKSON          TN 38301‐4954
TUGGLE, MARGARET                 3414 WISNER STREET                                                                    FLINT            MI 48504‐2165
TUGGLE, MARGARET                 3414 WISNER ST                                                                        FLINT            MI 48504‐2165
TUGGLE, MARY A                   9020 HAZELTON                                                                         REDFORD          MI 48239‐1136
TUGGLE, PAUL R                   1461 N 155TH EAST AVE                                                                 TULSA            OK 74116‐2452
TUGGLE, ROBERT E                 5646 CURTIS RD                                                                        HALE             MI 48739‐9027
TUGGLE, SHIRLEY                  JOHNSON BRYN R PLC                 1019 S STAPLEY DR                                  MESA             AZ 85204‐5013
TUGGLE, SUSAN                    JELLIFFE FERRELL MORRIS & DOERGE   PO BOX 406                                         HARRISBURG        IL 62946‐0406
TUGGLE‐NGUYEN, JULIE B           744 BLAIRBETH DR                                                                      WELDON SPRING    MO 63304‐7580
TUGGLE‐NGUYEN, JULIE B           2813 CLAREMONT DR                                                                     MANSFIELD        TX 76063‐7943
TUGGLE‐RILEY, JUDY C             27426 EVERETT ST                                                                      SOUTHFIELD       MI 48076‐5129
TUGGLES, ALICIA L                44 CHESHIRE LN                                                                        ROCHESTER        NY 14624‐2959
TUGMAN GEORGE E SR (ESTATE OF)   SIMMONS FIRM                       PO BOX 559                                         WOOD RIVER        IL 62095‐0559
(462320)
TUGMAN, FELICIA R                1526 HOLLAND ST                                                                       BIRMINGHAM      MI   48009‐7801
TUGMAN, FELICIA ROSE             1526 HOLLAND ST                                                                       BIRMINGHAM      MI   48009‐7801
TUGMAN, GEORGE E                 SIMMONS FIRM                       PO BOX 559                                         WOOD RIVER      IL   62095‐0559
TUGWELL, JEAN S                  8010 US HIGHWAY 70                                                                    MEMPHIS         TN   38133‐1306
TUGYA, EDWARD                    BOX 4068 CONASHAUGH LAKES                                                             MILFORD         PA   18337
TUGYA, FRANK                     1172 PAUL ST                                                                          MOUNT MORRIS    MI   48458‐1156
TUHACEK, GEORGE                  3394 31ST ST SW                                                                       GRANDVILLE      MI   49418‐1486
TUI AG                           TIM COLLINS                        1 TOWNE SQ STE 1930                                SOUTHFIELD      MI   48076‐3733
TUI RE                           TOP
TUIMALA, LILLIAN I               PO BOX 341                                                                            MARQUETTE       MI   49855‐0341
TUIN, DENNIS                     12051 WHITETAIL DR                                                                    GRAND HAVEN     MI   49417‐8703
TUINSTRA, ALAN                   2090 KENOWA AVE SW                                                                    GRAND RAPIDS    MI   49534‐6545
TUINSTRA, AUGUSTA M              983 AMBERVIEW DR SW                                                                   BYRON CENTER    MI   49315‐9740
TUINSTRA, AUGUSTA M              983 AMBER VIEW DR SW                                                                  BYRON CENTER    MI   49315‐9740
TUINSTRA, CALVIN N               2220 SISSON RD                                                                        HASTINGS        MI   49058‐9534
TUINSTRA, JAMES M                1134 122ND AVE                                                                        MARTIN          MI   49070‐9734
                                        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                            Part 37 of 40 Pg 573 of 901
Name                                    Address1                         Address2                     Address3                  Address4               City            State Zip
TUINSTRA, LEROY J                       2635 LEISURE WORLD                                                                                             MESA             AZ 85206‐5424
TUINSTRA, THOMAS L                      1488 125TH AVE                                                                                                 HOPKINS          MI 49328‐9619
TUIT, JOHN C                            4284 JACK ALAN ST SW                                                                                           GRANDVILLE       MI 49418‐1734
TUITASI, DORIS J                        2202 BATON ROUGE DR                                                                                            KOKOMO           IN 46902‐2989
TUITE, AVA L                            2316 SPRINGMILL RD APT 214                                                                                     DAYTON           OH 45440
TUITE, WILLIAM C                        421 E 4TH ST                                                                                                   ALEXANDRIA       IN 46001‐2503
TUJUANA DENSON                          4776 W 100 N                                                                                                   KOKOMO           IN 46901‐3744
TUKE, STEWART D                         23 CONGRESS COURT B                                                                                            SAGINAW          MI 48602‐3716
TUKES, LARRY                            2555 TERRACE TRL                                                                                               DECATUR          GA 30035‐3516
TUKEY, GAIL R                           108 RIVERWOOD CIR                                                                                              EFFINGHAM        NH 03882‐8248
TUKIENDORF, ZYGERYD                     3920 SE 2ND PL                                                                                                 CAPE CORAL       FL 33904‐4864
TUKKUMANNI OY TUKKUMANNIN AUTO          VALIKONTIE, 4                                                                           KUOPIO 70700 FINLAND

TUKSAL, CARMINA                         30205 ROSEMOND CT                                                                                              FRANKLIN        MI   48025‐1424
TULA AHLADIS                            8105 NW 27TH ST APT 2                                                                                          CORAL SPRINGS   FL   33065‐5619
TULA PETERS                             5719 CENTRAL AVE LOT 32                                                                                        HOT SPRINGS     AR   71913‐1811
TULA PIERCE                             PO BOX 871627                                                                                                  NEW ORLEANS     LA   70187
TULA SHARRARD                           906 MAIN ST                                                                                                    ESSEXVILLE      MI   48732‐1339
TULANE LAW SCHOOL OFFICE OF             6329 FRERET STREET SUITE 203                                                                                   NEW ORLEANS     LA   70118
FINANCIAL AID
TULANE UNIVERSITY                       THIRD PARTY BILLING T            35 MCALISTER DR              PHELPS HOUSE, SUITE 103                          NEW ORLEANS     LA   70118‐5645
TULARE COUNTY TAX COLLECTOR             221 S MOONEY BLVD RM 104‐E                                                                                     VISALIA         CA   93291‐4545
TULAUSKAS, DAVID J                      PO BOX 9022                      SHANGHAI                                                                      WARREN          MI   48090‐9022
TULBERT, SUSAN J                        105W14490 WILSON CIR                                                                                           GERMANTOWN      WI   53022
TULCUS, JEFFREY                         WATTS LAW FIRM LLP               2402 DUNLAVY ST STE 300                                                       HOUSTON         TX   77006‐2404
TULEE, ELLEN A                          4230 JADE ST NE                                                                                                SALEM           OR   97305‐2229
TULENCIK, CATHERINE L                   3916 ORIOLE AVE                                                                                                PORT ORANGE     FL   32127‐6508
TULENSA, CARMELINA                      75 WOODVIEW DR                                                                                                 ROCHESTER       NY   14624‐2622
TULER, DANICA V                         361 E OAK LN                                                                                                   OAK CREEK       WI   53154‐5719
TULEY, MARY L                           7217 LAKEVIEW DR                                                                                               PARMA           OH   44129‐6240
TULGESTKA TRANSPORT INC                 1160 F 21 HWY                                                                                                  ROGERS CITY     MI   49779
TULGETSKE, LINDA G                      P.O. BOX 117                                                                                                   MILLERSBURG     MI   49759
TULGETSKE, LINDA G                      PO BOX 117                                                                                                     MILLERSBURG     MI   49759‐0117
TULGETSKE, MILTON P                     9609 HAMILL RD                                                                                                 OTISVILLE       MI   48463‐9612
TULGETSKE, RICHARD A                    10071 M 68                                                                                                     ROGERS CITY     MI   49779‐9683
TULGETSKE, WILFRED J                    105569 MEADOW WOOD DR                                                                                          MCLOUD          OK   74851‐9628
TULIER CARMEN                           TULIER, CARMEN                   30 E BUTLER AVE                                                               AMBLER          PA   19002‐4514
TULIER, CARMEN                          KIMMEL & SILVERMAN               30 E BUTLER AVE                                                               AMBLER          PA   19002‐4514
TULIO FONTANELLA                        57 HORTON AVE                                                                                                  MERIDEN         CT   06450‐6046
TULIO VICINI                            PO BOX 112                       349 3RD STREET                                                                COLVER          PA   15927‐0112
TULIO, JAMES L                          109 OVERLOOK PL                                                                                                DOVER           DE   19901
TULIP CITY AIR SERVICE INC              1581 S WASHINGTON AVE                                                                                          HOLLAND         MI   49423‐9309
TULIP KARAVOLOS                         1655 SUNVIEW RD                                                                                                LYNDHURST       OH   44124‐2871
TULIP, BRIAN K                          3963 CO RT 27                                                                                                  RUSSELL         NY   13684
TULIP, DONALD T                         521 MORRIS ST                                                                                                  OGDENSBURG      NY   13669‐2729
TULIP, DONALD THEODORE                  521 MORRIS ST                                                                                                  OGDENSBURG      NY   13669‐2729
TULIP, KEITH R                          3963 COUNTY RT 37                                                                                              RUSSELL         NY   13684
TULIP, ROBERT J                         1002 KNOX ST                                                                                                   OGDENSBURG      NY   13669
TULIP, ROBERT JOHN                      1002 KNOX ST                                                                                                   OGDENSBURG      NY   13669
TULISH FREDERICK (ESTATE OF) (510191)   ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST , THE                                                    PHILADELPHIA    PA   19107
                                                                         WANAMAKER BUILDING
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                       Part 37 of 40 Pg 574 of 901
Name                                 Address1                         Address2                    Address3   Address4         City            State Zip
TULISH, FREDERICK                    ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                               PHILADELPHIA     PA 19107
                                                                      WANAMAKER BUILDING
TULKKI, BRIAN M                      7192 WIGGINS RD                                                                          HOWELL          MI   48855‐9256
TULKKI, DONALD W                     4140 W COMMERCE RD                                                                       MILFORD         MI   48380‐3116
TULKKI, DONALD WILLIAM               4140 W COMMERCE RD                                                                       MILFORD         MI   48380‐3116
TULL JR, DONALD R                    712 HALLELUJAH TRL                                                                       KELLER          TX   76248‐4203
TULL JR, DONALD RICHARD              712 HALLELUJAH TRL                                                                       KELLER          TX   76248‐4203
TULL SAM                             6500 N SHILOH RD                                                                         CORINTH         MS   38834‐9657
TULL, CARMAN M                       1050 TOM OSBORNE RD                                                                      COLUMBIA        TN   38401‐6738
TULL, CLORA E                        6931 GOLDENGATE DR APT 602                                                               CINCINNATI      OH   45244‐4127
TULL, CLORA E                        6931 GOLDENGATE DR.              APT # 602                                               CINCINNATI      OH   45244
TULL, DAISY C                        1375 MASTER ST                   APT 207                                                 CORBIN          KY   40701
TULL, DAISY C                        1375 MASTER ST APT 207                                                                   CORBIN          KY   40701‐2510
TULL, DELOS L                        332 OAK LEAF CIR                                                                         HOOVER          AL   35244‐4321
TULL, FRANCIS O                      3713 ALDON LN                                                                            FLINT           MI   48506‐2692
TULL, GODFREY C                      C/O CROMER                       870 COLUMBUS AVE AP 3H                                  NEW YORK        NY   10025
TULL, JOHN J                         2623 RIVER RD                                                                            ATCHISON        KS   66002‐5132
TULL, JOYCE A                        1230 JOHN ST                                                                             ATCHISON        KS   66002‐2675
TULL, PAKIEA                         71 CLUBFOO CREEK                                                                         HAVELOCK        NC   28532
TULL, PAUL L                         1044 HCR 2203                                                                            AQUILLA         TX   76622‐2624
TULL, ROBERT G                       1018 ALMOND DR                                                                           MANSFIELD       TX   76063‐2910
TULL, ROBERT GARY                    1018 ALMOND DR                                                                           MANSFIELD       TX   76063‐2910
TULL, ROBERT L                       26626 S TRURO DR                                                                         SUN LAKES       AZ   85248‐7141
TULL, THOMAS S                       PO BOX 46070                                                                             MOUNT CLEMENS   MI   48046‐6070
TULL, VIRGINIA B                     9341 DOWNING RD                                                                          BIRCH RUN       MI   48415‐9734
TULL, VIRGINIA B                     9341 DOWNING BD                                                                          BIRCH RUN       MI   48415‐9734
TULL, WILLIAM R                      444 LEISURE PL                                                                           LAKELAND        FL   33801‐3365
TULL, WILLIAM RAY                    444 LEISURE PLACE                                                                        LAKELAND        FL   33801‐3365
TULLAHOMA CITY                       PO BOX 807                                                                               TULLAHOMA       TN   37388‐0807
TULLAR JR, JAMES W                   PO BOX 210112                                                                            AUBURN HILLS    MI   48321‐0112
TULLAR JR, JAMES WILLIAM             PO BOX 210112                                                                            AUBURN HILLS    MI   48321‐0112
TULLAR, CINDY L                      11 BRIXTON LN                                                                            CROSSVILLE      TN   38558‐2711
TULLAR, FRANKLIN A                   6788 HIGHLAND DR                                                                         LAINGSBURG      MI   48848‐9231
TULLAR, FRANKLIN ANTHONY             6788 HIGHLAND DR                                                                         LAINGSBURG      MI   48848‐9231
TULLAR, HARRY J                      923 W DIVISION ST                                                                        BOYNE CITY      MI   49712‐9733
TULLAR, JESSIE E                     8700 MONROE RD APT 14                                                                    DURAND          MI   48429
TULLAR, MARK T                       11 BRIXTON LN                                                                            CROSSVILLE      TN   38558‐2711
TULLAR, RICHARD B                    507 N VASSAR DR                                                                          DURAND          MI   48429‐1380
TULLAR, ROBERT J                     210 ROOSEVELT AVE                                                                        JANESVILLE      WI   53546‐3204
TULLAR, THOMAS S                     7591 JONQUIL CT                                                                          BRIGHTON        MI   48116‐6206
TULLEDGE THOMAS                      630 S FRONTAGE RD                                                                        NIPOMO          CA   93444‐9148
TULLER RIDGE CORPORATE CTR           C\O MATHEWS CLICK BAUMAN INC     50 W BROAD ST 28TH FL                                   COLUMBUS        OH   43215
TULLER ROBERT                        1436 GLEASON DR                                                                          RANTOUL         IL   61866
TULLER, DANIEL G                     962 NANETTE ST                                                                           TAWAS CITY      MI   48763‐9310
TULLER, DOROTHY H                    331 SYCAMORE VLY                                                                         MIAMISBURG      OH   45342‐5732
TULLER, IDA G                        229 JACKSON ST                                                                           CLINTWOOD       VA   24228‐7700
TULLER, IDA G                        229 JACKSON STREET                                                                       CLINTWOOD       VA   24228
TULLER, MARYMARGARET S               PO BOX 66017                                                                             NEWPORT         MI   48166
TULLETT, BRIAN H                     15535 OAK ST                                                                             ALLENTON        MI   48002‐3514
TULLEY BUICK‐PONTIAC COMPANY, INC.   JOHN TULLEY                      147 DANIEL WEBSTER HWY                                  NASHUA          NH   03060‐5224
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                       Part 37 of 40 Pg 575 of 901
Name                               Address1                         Address2                      Address3                  Address4         City                  State Zip
TULLEY BUICK‐PONTIAC‐GMC TRUCK‐BMW 147 DANIEL WEBSTER HWY                                                                                    NASHUA                 NH 03060‐5224

TULLEY, JAMES D                    103A LENGENDARY PL                                                                                        HOT SPRINGS           AR 71913‐6957
TULLEY, JAMES DONALD               120 WINTERGREEN CT                                                                                        HOT SPRINGS           AR 71913‐8294
TULLGREN, MARTHA                   123 E CENTRAL AVE                                                                                         SAN GABRIEL           CA 91776‐3005
TULLIA ROSAPEPE                    SALITA ARENELLA 9                80129 NAPOLI
TULLIO DE PISCOPO                  VIA LAURENTINA, 36               I 00158                       ROME
TULLIO DELLA CORTE                 1 SUCICH PL                                                                                               WAPPINGERS FL         NY 12590‐4418
TULLIO SARTORI                     CORSO MILANO, 57
TULLIO, CYNTHIA D                  4275 TAYLOR CT                                                                                            BRUNSWICK             OH 44212‐2179
TULLIO, EUDOXIE A                  7408 PINEHURST CT                                                                                         CLEVELAND             OH 44130‐5533
TULLIS RALPH (459408)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK               VA 23510
                                                                    STREET, SUITE 600
TULLIS, CAROLYN K                  146 POINT DR                                                                                              MONTICELLO            KY    42633‐8435
TULLIS, CLINTON                    16300 184TH AVE SE                                                                                        RENTON                WA    98058‐0903
TULLIS, DAVID R                    RT 5 BOX 9582 POINT DR                                                                                    MONTICELLO            KY    42633
TULLIS, DAVID R                    146 POINT DRIVE                                                                                           MONTICELLO            KY    42633‐2633
TULLIS, DONNIS J                   1266 OLD FOUNTAIN RD                                                                                      LAWRENCEVILLE         GA    30043‐3917
TULLIS, GARY D                     12871 TABEAU CT                                                                                           PINE GROVE            CA    95665‐9652
TULLIS, GLADSTON A                 5081 BAY CREEK CHURCH RD                                                                                  LOGANVILLE            GA    30052‐3568
TULLIS, J D                        1520 S STATE ROUTE 721                                                                                    LAURA                 OH    45337‐9784
TULLIS, JANE W                     6358 S HUNTERS RUN                                                                                        PENDLETON             IN    46064‐8709
TULLIS, JOHN R                     2924 SHETLAND RD                                                                                          TOLEDO                OH    43617‐1522
TULLIS, KARL K                     235 WALNUT ST                                                                                             WASHINGTONVILLE       OH    44490‐9737
TULLIS, KENNETH L                  6358 S HUNTERS RUN                                                                                        PENDLETON             IN    46064‐8709
TULLIS, MARGARET                   16300 184TH AVE SE                                                                                        RENTON                WA    98058‐0903
TULLIS, RALPH                      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK               VA    23510‐2212
                                                                    STREET, SUITE 600
TULLIS, RICHARD                    1218 BROOKSIDE AVE                                                                                        UNION                 NJ    07083‐6228
TULLIS, WAYMON D                   5120 BAY CREEK CHURCH RD                                                                                  LOGANVILLE            GA    30052‐3570
TULLIS, WILLIAM J                  114 BITTERSWEET LN                                                                                        PORTLAND              IN    47371‐9292
TULLIUS SUPPLEMENTAL NEEDS TRUST   ATTN JP TULLIUS TRUSTEE          PO BOX 1141                                                              WEXFORD               PA    15090‐1141
TULLIUS, MARIE                     6677 ELLEN                                                                                                ROSCOMMON             MI    48653‐9533
TULLIUS, MARIE                     6677 ELLEN DR                                                                                             ROSCOMMON             MI    48653‐9533
TULLIUS, ROBERT                    2501 CEDAR LANE CT                                                                                        HARTLAND              MI    48353‐3201
TULLOCH JR., QUINTIN               121 S MAPLE AVE                                                                                           GREEN BAY             WI    54303
TULLOCH JR., QUINTIN               # 410                            1962 EAST 73RD STREET                                                    CHICAGO               IL    60649‐2902
TULLOCH SR., QUINTIN L             906 JOLIET ROAD                                                                                           LA GRANGE HIGHLANDS   IL    60525
TULLOCH SR., QUINTIN L             2109 W 67TH PL                                                                                            CHICAGO               IL    60636‐2562
TULLOCH, CARLTON Q.                302 HERBERT ST                                                                                            SYRACUSE              NY    13208‐2908
TULLOCH, JAMES P                   321 LADERA                                                                                                LOMPOC                CA    93436
TULLOCH, JOAN M                    6404 MAINSAIL CT                                                                                          ORLANDO               FL    32807‐5931
TULLOCH, JOANN                     3310 ROSEFINCH TRL                                                                                        AUSTIN                TX    78746
TULLOCH, JOANN                     C/O ANTHONY ICENOGLE             ICENOGLE & SULLIVAN LLP       6805 N CAPITOL OF TEXAS                    AUSTIN                TX    78731
                                                                                                  HWY #220
TULLOCH, WILLIAM                   C/O ANTHONY ICENOGLE             ICENOGLE & SULLIVAN LLP       6805 N CAPITOL OF TEXAS                    AUSTIN                 TX   78731
                                                                                                  HWY #220
TULLOCH, WILLIAM                   3310 ROSEFINCH TRAIL                                                                                      AUSTIN                TX    78746
TULLOCK, GRANVILLE E               1635 RUE JEANETTE                                                                                         BONNE TERRE           MO    63628‐9237
TULLOCK, KAREN S                   165 CEDAR ST                                                                                              WETHERSFIELD          CT    06109‐1407
TULLOCK, KAREN S                   165 CEDAR STREET                                                                                          WEATHERSFIELD         CT    06109‐1407
TULLOCK, ROZETTA J                 21945 HWY N                                                                                               WAVERLY               MO    64096‐9719
                            09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                               Part 37 of 40 Pg 576 of 901
Name                        Address1                          Address2                           Address3                    Address4         City              State Zip
TULLOS VINCENT              3905 SHELBY CT                                                                                                    WATERFORD          MI 48328‐1269
TULLOS WILLIAM A            GLASSER & GLASSER                 CROWN CENTER                       580 E MAIN ST STE 600                        NORFOLK            VA 23510
TULLOS, ARCHIE L            2425 BANCROFT ST                                                                                                  SAGINAW            MI 48601‐1514
TULLOS, JEFFREY L           3271 ELMERS DR                                                                                                    SAGINAW            MI 48601‐6916
TULLOS, PATRICIA K          2425 BANCROFT ST                                                                                                  SAGINAW            MI 48601‐1514
TULLOS, RAY B               3271 ELMERS DR                                                                                                    SAGINAW            MI 48601‐6916
TULLOS, SHIRLEY J           3271 ELMERS DR                                                                                                    SAGINAW            MI 48601‐6916
TULLOS, SHIRLEY S           505 AVALON RD                                                                                                     JACKSON            MS 39206‐5436
TULLOS, THEOJUANA           49367 CLINTON TERRACE DR                                                                                          MACOMB             MI 48044‐9704
TULLOS, THEOJUANA M         49367 CLINTON TERRACE DR                                                                                          MACOMB             MI 48044‐9704
TULLOS, TORRI L             49367 CLINTON TERRACE DR                                                                                          MACOMB             MI 48044‐9704
TULLOS, TRAVIS F            577 VZCR 1208                                                                                                     CANTON             TX 75103
TULLOS, VERNON R            437 CHARLESTON LN                                                                                                 LAWRENCEVILLE      GA 30045‐5607
TULLOUS JR, FERMAN L        271 HOLLY RD                                                                                                      FRANKLIN           TX 77856‐5633
TULLSEN, B R                17271 N 87TH AVE APT 1052                                                                                         PEORIA             AZ 85382‐2781
TULLY CLOUD                 6048 TURNER HILL RD                                                                                               WOODSTOCK          GA 30188‐1984
TULLY III, JOHN J           2563 COUNTRY SIDE DR                                                                                              FLEMING ISLAND     FL 32003‐4972
TULLY JAMES (470667)        CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                                CLEVELAND          OH 44115
                            GAROFOLI                          FL
TULLY LAWRENCE R (452781)   WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                                 NEW YORK          NY 10038
TULLY MICHAEL (448337)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                   NORTHFIELD        OH 44067
                                                              PROFESSIONAL BLDG
TULLY MICHAEL (448338)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                   NORTHFIELD        OH 44067
                                                              PROFESSIONAL BLDG
TULLY SULLIVAN              3203 DORITHAN RD                                                                                                  BALTIMORE         MD 21215‐7501
TULLY SUSAN                 7437 A1A S                                                                                                        SAINT AUGUSTINE   FL 32080‐8202
TULLY THOMAS                TULLY, MELISA                     KIMMEL & SILVERMAN PC              1930 E MARLTON PIKE SUITE                    CHERRY HILL       NJ 08003
                                                                                                 Q29
TULLY THOMAS                TULLY, THOMAS                     1930 E MARLTON PIKE SUITE Q29                                                   CHERRY HILL       NJ   08003
TULLY THOMAS (431476)       THALER STEVEN                     115 BROADWAY FRNT 3                                                             NEW YORK          NY   10006‐1638
TULLY, ALBERT M             5464 NORTHWAY RD                                                                                                  PLEASANTON        CA   94566‐5447
TULLY, BLANCHE              APT 214                           5000 WEST 75TH AVENUE                                                           WESTMINSTER       CO   80030‐4655
TULLY, EDWARD J             24619 SCOTT BLVD                                                                                                  OLMSTED FALLS     OH   44138
TULLY, GORDON E             APT 214                           5000 WEST 75TH AVENUE                                                           WESTMINSTER       CO   80030‐4655
TULLY, JAMES                CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                                 CLEVELAND         OH   44115
                            GAROFOLI                          FL
TULLY, JANE K               1302 CHIMNEY ROCK DR                                                                                              ROANOKE           TX   76262‐9313
TULLY, JUDITH A             7374 OAKSTONE DR                                                                                                  CLARKSTON         MI   48348‐4761
TULLY, LAWRENCE R           WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                                 NEW YORK          NY   10038
TULLY, MELISA               KIMMEL & SILVERMAN PC             1930 E MARLTON PIKE SUITE Q29                                                   CHERRY HILL       NJ   08003
TULLY, MICHAEL              7146 PHELPS RD                                                                                                    GOLETA            CA   93117‐2980
TULLY, MICHAEL              BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                                    NORTHFIELD        OH   44067
                                                              PROFESSIONAL BLDG
TULLY, NORMA                8885 HEMPLE RD.                                                                                                   GERMANTOWN        OH   45327‐9520
TULLY, RHONDA L             218 MEGAN DR                                                                                                      MANCHESTER        NH   03109‐5922
TULLY, THOMAS               KIMMEL & SILVERMAN PC             1930 E MARLTON PIKE SUITE Q29                                                   CHERRY HILL       NJ   08003
TULLY, THOMAS               THALER STEVEN                     115 BROADWAY FRNT 3                                                             NEW YORK          NY   10006‐1638
TULLY, THOMAS J             8885 HEMPLE RD                                                                                                    GERMANTOWN        OH   45327‐9520
TULLY, VICTOR B             260 W MAIN ST                                                                                                     PERU              IN   46970‐1954
TULLY, WILLA V              4723 GLEN MOOR WAY                                                                                                KOKOMO            IN   46902‐9589
TULLY, WILLIAM B            PO BOX 346                                                                                                        WINBURNE          PA   16879
TULLY, WILLIAM J            4723 GLEN MOOR WAY                                                                                                KOKOMO            IN   46902‐9589
                             09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                Part 37 of 40 Pg 577 of 901
Name                         Address1                              Address2                Address3   Address4               City               State Zip
TULLY, WILODENE P            537 CONCORD WAY                                                                                 XENIA               OH 45385‐5909
TULMAR SAFETY SYSTEMS INC    1123 CAMERON ST                                                          HAWKESBURY CANADA ON
                                                                                                      K6A 2B8 CANADA
TULOCK III, JOHN             7 W PORT AU PRINCE LN                                                                           MOSCOW MILLS       MO   63362‐1055
TULOWITZKY, CLYDE J          11803 N 75 W                                                                                    ALEXANDRIA         IN   46001‐8469
TULOWITZKY, DAVID L          14191 TUDBALL AVE                                                                               PORT CHARLOTTE     FL   33953‐1412
TULOWITZKY, MARY F           1611 N K ST                                                                                     ELWOOD             IN   46036
TULOWITZKY, MAX W            10218 N 97TH DR APT B                                                                           PEORIA             AZ   85345‐3223
TULPA, JAMES G               802 CHATHAM DR                                                                                  MILFORD            MI   48381‐2783
TULPAN STACY                 165 LEGGETT DR                                                                                  CAMERON            NC   28326‐6085
TULPPO, RAYNO K              16430 PARK LAKE RD LOT 21                                                                       EAST LANSING       MI   48823‐9456
TULSA AREA UNITED WAY        PO BOX 1859                                                                                     TULSA              OK   74101‐1859
TULSA AUTO SERVICE & SALES   3729 E 11TH ST                                                                                  TULSA              OK   74112‐3951
TULSA COUNTY TREASURER       500 SOUTH DENVER AVENUE                                                                         TULSA              OK   74103
TULSA COUNTY TREASURER       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 21017                                             TULSA              OK   74121‐1017

TULSA COUNTY TREASURER       PO BOX 21017                                                                                    TULSA              OK 74121‐1017
TULSA JUNIOR COLLEGE         STUDENT FINANCIAL AID OFFICE          909 S BOSTON AVE                                          TULSA              OK 74119‐2011
TULSA VETTE SET INC          C/O SHARI FOGALEY                     3251 S 127TH EAST AVE                                     TULSA              OK 74146‐2336
TULSA, THE UNIVERISTY OF
TULUMELLO, DOROTHY A         38 BRUSHCREEK ROAD                                                                              WILLIAMSVILLE      NY   14221‐2708
TULUMELLO, DOROTHY A         38 BRUSH CREEK RD                                                                               WILLIAMSVILLE      NY   14221‐2708
TULUMELLO, MICHAEL J         2679 PEBBLE BEACH DR                                                                            OAKLAND            MI   48363‐2450
TULUPAN, PEARLIE M           462 WEST TOUHY AVE                    LOT 556                                                   DES PLAINES        IL   60018‐2474
TULUPAN, PEARLIE M           462 W TOUHY AVE LOT 556                                                                         DES PLAINES        IL   60018‐2474
TUMA, ALEXANDER J            24249 GESSNER RD                                                                                NORTH OLMSTED      OH   44070‐1547
TUMA, ANNE E.                2197 S ELBA RD                                                                                  LAPEER             MI   48446‐9724
TUMA, ELEANORE A             900 WEST LAKE RD B218                                                                           PALM HARBOR        FL   34684‐3188
TUMA, ELEANORE A             900 W LAKE RD APT B218                                                                          PALM HARBOR        FL   34684‐3188
TUMA, ERMA L                 24249 GESSNER RD                                                                                NORTH OLMSTED      OH   44070‐1547
TUMA, FREDDY E               9450 DIAMOND DR                                                                                 SAINT HELEN        MI   48656‐9511
TUMA, JENNIE M               29437 VINEWOOD DR                                                                               WICKLIFFE          OH   44092‐2239
TUMA, PAUL F                 22781 W KEYES ST                                                                                TAYLOR             MI   48180
TUMAS, ADAM J                2719 W 16TH ST                                                                                  CHICAGO            IL   60608‐1705
TUMAS, TODD M                22448 MEADOW WOODS CIR                                                                          TAYLOR             MI   48180‐3599
TUMAVICH, JAMES R            667 WESTERN AVE                                                                                 GLEN ELLYN         IL   60137‐4017
TUMBARELLA, PAMELA G         43073 CHARLEMAGNE AVE                                                                           STERLING HEIGHTS   MI   48314‐2221
TUMBLEWEED TRANSPORTATION                                          10244 HANLEY AVENUE                                                          CA   90049
TUMBLISON, DAVID A           856 STUTELY PL                                                                                  MIAMISBURG         OH   45342‐2025
TUMBRI, JOHN W               11420 CAMPFIRE CIR                                                                              CANFIELD           OH   44406‐8736
TUMBRI, REGINA K             11420 CAMPFIRE CIR                                                                              CANFIELD           OH   44406‐8736
TUMBRY, RAYMOND J            36282 WESTFIELD DR                                                                              N RIDGEVILLE       OH   44039‐3840
TUMELE, RICHARD M            3802 SAUNT RD                                                                                   JACKSON            MI   49201‐9284
TUMELSON, BOBBY D            7556 PINE CV                                                                                    BLANCHARD          OK   73010‐9340
TUMELTSHAMER ERWIN           BUECHLHOLZWEG 32                                                                                LINZ                    A‐404
TUMEMA SUA                   215 N ASH AVE                                                                                   INDEPENDENCE       MO   64053‐1303
TUMER, LINDA N               4120 LEERDA ST                                                                                  FLINT              MI   48504‐3724
TUMER, RICHARD T             201 W FLINT PARK BLVD                                                                           FLINT              MI   48505‐3279
TUMEY, DOYLE C               1813 MCCLURE ST                                                                                 IRVING             TX   75062‐6955
TUMEY, GREG E                1071 LOCKWOOD RD                                                                                ORTONVILLE         MI   48462‐9250
TUMEY, GREG EDWARD           1071 LOCKWOOD RD                                                                                ORTONVILLE         MI   48462‐9250
TUMEY, JOHN D                5979 S RANDOLPH ST                                                                              INDIANAPOLIS       IN   46227‐4709
                             09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                  Part 37 of 40 Pg 578 of 901
Name                         Address1                          Address2                        Address3   Address4         City               State Zip
TUMEY, NORA R                176 LARRY TINCHER LANE                                                                        BEDFORD             IN 47421‐6989
TUMIA JAMES (655216)         BELLUCK & FOX LLP                 546 5TH AVE #4                                              NEW YORK            NY 10036‐5000
TUMIA, GAIL A.               875 OHIO ST                                                                                   NORTH TONAWANDA     NY 14120‐1972
TUMIA, JAMES                 BELLUCK & FOX LLP                 546 5TH AVE #4                                              NEW YORK            NY 10036‐5000
TUMIA, JOHN E                535 MEADOWBRIAR RD                                                                            ROCHESTER           NY 14616‐1117
TUMIA, LEWIS J               68 ATWOOD DRIVE                                                                               ROCHESTER           NY 14606‐4563
TUMIANIEC, FRANK M           468 HARTFORD SQ                                                                               HARTFORD            WI 53027‐1978
TUMIDAJEWICZ, KENNETH J      21320 E 12 MILE RD                                                                            ST CLAIR SHRS       MI 48081‐1166
TUMIDANSKI, EDWARD F         8486 BURTNETT RD                                                                              GAMBIER             OH 43022‐9782
TUMIDANSKI, WILLIAM H        1929 JASON DR                                                                                 COMMERCE TWP        MI 48382‐1261
TUMIEL, GREGORY R            1077 HOOK LN                                                                                  WINTER HAVEN        FL 33881‐8733
TUMIEL, JEFFERY A            66 PARKSIDE CIR                                                                               CHEEKTOWAGA         NY 14227‐2361
TUMIEL, RONALD P             54 LORRAINE PL                                                                                BUFFALO             NY 14224‐4806
TUMILOWICZ, SANDRA A         4007 DOME RD                                                                                  ADDISON             TX 75001‐3112
TUMILOWICZ, THOMAS M         4007 DOME RD                                                                                  ADDISON             TX 75001‐3112
TUMILTY JR, HARRY            1744 GRINDSTONE COURT                                                                         GREENFIELD          IN 46140
TUMINELLO JAMES C (455025)   ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                  BALTIMORE           MD 21202
                                                               CHARLES CENTER 22ND FLOOR
TUMINELLO PERRY              157 JENNIFER PVT DR                                                                           STONEWALL          LA 71078
TUMINELLO, JAMES C           ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                   BALTIMORE          MD 21202
                                                               CHARLES CENTER 22ND FLOOR
TUMINO, MARIA                1000 S OCEAN BLVD#12‐00                                                                       POMPANO BEACH      FL   33062
TUMINO, SALVATORE R          14 SANDHURST CT                                                                               TOMS RIVER         NJ   08757‐6564
TUMINO, STELLA               14 SANDHURST CT                                                                               TOMS RIVER         NJ   08757‐6564
TUMINO, STELLA               14 SANDHURST COURT                                                                            TOMS RIVER         NJ   08757‐6564
TUMKUR DAYANANDA             35004 PENNINGTON DR                                                                           FARMINGTON HILLS   MI   48335‐2045
TUMLIN BRUCE E (481313)      KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                               CLEVELAND          OH   44114
                                                               BOND COURT BUILDING
TUMLIN, BRUCE E              KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                CLEVELAND          OH 44114
                                                               BOND COURT BUILDING
TUMLIN, DIANNE M             707 S 6TH ST                                                                                  GADSDEN            AL   35901‐5119
TUMLINSON, CASEY E           12326 DUMAS ST                                                                                HOUSTON            TX   77034‐3708
TUMLINSON, COREY E           10003 SAGETRAIL DRIVE                                                                         HOUSTON            TX   77089‐1116
TUMMALA, MANOJ               4551 HEDGEWOOD DR                                                                             TROY               MI   48098‐4697
TUMMEL, ERNEST J             2929 ROLLING HILLS CT                                                                         HUDSONVILLE        MI   49426‐9765
TUMMINELLI, JOSEPHINE        455 BROOKWOOD DR                                                                              WEBSTER            NY   14580‐1656
TUMMINELLI, SAMUEL M         149 KAYWOOD DR                                                                                ROCHESTER          NY   14626‐3768
TUMMINELLO, BIOGIO           1933 AUTUMN LN                                                                                LANSING            MI   48912‐4564
TUMMONS JOHN                 2740 S GLENSTONE AVE STE 202                                                                  SPRINGFIELD        MO   65804‐3717
TUMMONS, DELBERT L           309 ELMGROVE AVE                                                                              HAZELWOOD          MO   63042‐2037
TUMMY ACHE CANDY STORE       ATTN: STARR HENNING               1116 N JOHNSON ST                                           BAY CITY           MI   48708‐6254
TUMOLILLO, THOMAS            BARBER & BORG LLC                 PO BOX 30745                                                ALBUQUERQUE        NM   87190
TUMOLO, ANTHONY N            4 KINSLEY LN                                                                                  MENDON             MA   01756‐1236
TUMULTY, CAROL P             729 HAWTHORNE AVE                                                                             ANDERSON           IN   46011‐2121
TUMULTY, JOHNNY E            2816 S A ST                                                                                   ELWOOD             IN   46036‐2221
TUMUSIAK, FRANK J            1536 VAN BUREN WAY                                                                            THE VILLAGES       FL   32162‐6720
TUMWATER AUTOMOTIVE          6020 CAPITOL BLVD SE                                                                          TUMWATER           WA   98501‐5269
TUN, DAVID T                 1732 3RD STREET                                                                               FORT WAYNE         IN   46808‐2576
TUNDO, FRANK                 49035 WHITE MILL DR                                                                           SHELBY TWP         MI   48317‐1622
TUNDO, GIUSEPPE R            13246 YVONNE DR                                                                               WARREN             MI   48088‐4724
TUNDRA COTTINGHAM‐STEVE      4209 GLEN HOLLOW CIR                                                                          ARLINGTON          TX   76016‐4928
TUNDRA ENTERPRISES           ATTN: SANDRA MARTIN               29068 PLYMOUTH RD                                           LIVONIA            MI   48150‐2337
                                  09-50026-mg                 Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                         Part 37 of 40 Pg 579 of 901
Name                              Address1                            Address2                        Address3   Address4               City                  State Zip
TUNDRA L COTTINGHAM‐STEVE         4209 GLEN HOLLOW CIR                                                                                  ARLINGTON              TX 76016‐4928
TUNE ENTREKIN & WHITE PC          315 DEADERICK ST STE 1700                                                                             NASHVILLE              TN 37238‐1700
TUNE TECH                         1202 W STATE ST                                                                                       BOISE                  ID 83702‐5322
TUNE TECH                                                             3011 N MONROE ST                                                                         WA 99205
TUNE UP 2000                      5505 OUTER LOOP                                                                                       LOUISVILLE             KY 40219‐4032
TUNE UP SPECIALTIES AND MARINE    230 W MARVIN AVE STE 108                                                                              LONGWOOD               FL 32750‐5482
TUNE UPS TO TIRES FIRESTONE       2749 DUFFERIN ST                                                               TORONTO ON M6B 3R5
                                                                                                                 CANADA
TUNE, DANA                        8380 BRAY RD                                                                                          VASSAR                MI   48768‐9640
TUNE, DUANE L                     12276 S STATE RD                                                                                      MORRICE               MI   48857‐9725
TUNE, ERNESTINE M                 5176 CORTLAND DR                                                                                      FLINT                 MI   48507‐4507
TUNE, FREDIE E                    10449 S LEWIS RD                                                                                      CLIO                  MI   48420‐7732
TUNE, FREDIE EUGENE               10449 S LEWIS RD                                                                                      CLIO                  MI   48420‐7732
TUNE, INA W                       1118 ROCKETT DR                                                                                       JACKSON               MS   39212‐9680
TUNE, LARRY H                     306 EDWARD ST                                                                                         AUBURN                MI   48611
TUNE, MARTIN L                    1435 MEINERSHAGEN RD                                                                                  FORISTELL             MO   63348‐1704
TUNE, MARY L                      5430 SUNROSE AVE                                                                                      LANSING               MI   48911‐3783
TUNE, RICHARD A                   9325 DIXIE HWY                                                                                        BIRCH RUN             MI   48415‐9002
TUNE, VELMA L                     1992 GLATT DR                                                                                         ARNOLD                MO   63010‐2406
TUNE‐A‐CAR                        3510 HEARNE AVE                                                                                       SHREVEPORT            LA   71103‐3916
TUNE‐A‐CAR                        415 N SPUR 63 STE B                                                                                   LONGVIEW              TX   75601‐5014
TUNE‐UPS PLUS                     5917 SOUTHERN BLVD                                                                                    BOARDMAN              OH   44512‐2924
TUNELL, IRMA                      408 LINDLEY AVE                                                                                       WESTMONT              IL   60559‐2225
TUNESI, E W                       3936 MADISON ST                                                                                       DEARBORN HTS          MI   48125‐2156
TUNG & ASSOCIATES                 838 W LONG LAKE RD STE 120                                                                            BLOOMFIELD HILLS      MI   48302‐2070
TUNG ANNIE A                      TUNG, ANNIE A                       18530 MACK AVE                                                    GROSSE POINTE FARMS   MI   48236‐3254
TUNG ANNIE A                      TUNG, ANNIE A                       445 LONE PINE RD                                                  BLOOMFIELD HILLS      MI   48304‐3438
TUNG THIH ELECTRONIC USA ($DA)    AMY CHEN                            39555 ORCHARD HILL PL STE 600                                     NOVI                  MI   48375‐5381
TUNG THIH ELECTRONIC USA CO IN    AMY CHEN                            24073 RESEARCH DR                          CZECHOWICE DZIEDZICE
                                                                                                                 POLAND (REP)
TUNG THIH ELECTRONIC USA CO IN    24073 RESEARCH DR                                                                                     FARMINGTON HILLS      MI 48335‐2632
TUNG THIH ELECTRONIC USA CO INC   24073 RESEARCH DR                                                                                     FARMINGTON HILLS      MI 48335‐2632
TUNG THIH ENTERPRISE CO           24073 RESEARCH DR                                                                                     FARMINGTON HILLS      MI 48335‐2632
TUNG THIH ENTERPRISE CO           AMY CHEN                            24073 RESEARCH DR                          CZECHOWICE DZIEDZICE
                                                                                                                 POLAND (REP)
TUNG THIH ENTERPRISE CO           NO 42 NEI TSO STREET LUCHU                                                     TAOYUAN 33810 TAIWAN
TUNG, ANDREW G                    5183 LILAC LN                                                                                         GREENDALE             WI 53129
TUNG, ANNIE A                     445 LONE PINE RD                                                                                      BLOOMFIELD HILLS      MI 48304‐3438
TUNG, CECILIA                     232 HAWTHORN AVE                                                                                      ROYAL OAK             MI 48067‐4107
TUNG, CHI CHUN
TUNG, CHUNG H                     22680 DENBY CT                                                                                        NOVI                  MI   48374
TUNG, JASON Z                     1789 GOLF RIDGE DR S                                                                                  BLOOMFIELD HILLS      MI   48302‐1733
TUNG, KEH H                       5157 EASTBROOK CT                                                                                     SHELBY TOWNSHIP       MI   48316‐3144
TUNG, RANDY W                     445 LONE PINE RD                                                                                      BLOOMFIELD HILLS      MI   48304‐3438
TUNG, SIMON C                     1871 HAVERHILL DR                                                                                     ROCHESTER HILLS       MI   48306‐3239
TUNG, SIMON CHIN‐YU               1871 HAVERHILL DR                                                                                     ROCHESTER HILLS       MI   48306‐3239
TUNG, VINCENT                     12321 BRIARBUSH LN                                                                                    POTOMAC               MD   20854‐1032
TUNG, YEE Y                       12635 TRURO AVE APT A                                                                                 HAWTHORNE             CA   90250‐4385
TUNG, YUN JONG                    27360 PARKVIEW BLVD APT 3312                                                                          WARREN                MI   48092‐2894
TUNG‐MING HSIEH                   13055 TARKINGTON CMN                                                                                  CARMEL                IN   46033‐9352
TUNGATE, EDITH N                  2905 GREENBRIAR RD                                                                                    ANDERSON              IN   46011‐2411
TUNGATE, EVERETT F                105 WHITE RD                                                                                          SHIRLEY               IN   47384‐9736
                               09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                   Part 37 of 40 Pg 580 of 901
Name                          Address1                          Address2                     Address3   Address4         City               State Zip
TUNGCO INCORPORATED           3955 ANTON RD                                                                              MADISONVILLE        KY 42431‐8533
TUNGESVICK, JONI L            4755 KENLEY PL                                                                             COLORADO SPRINGS    CO 80920
TUNGESVICK, PAUL A            1021 SITKA CT                                                                              LOVELAND            CO 80538‐4052
TUNGET, DONALD M              8255 E COUNTY ROAD 1000 N                                                                  BROWNSBURG          IN 46112‐9662
TUNGET, O F                   1909 WHITTIER AV                                                                           ANDERSON            IN 46011‐2103
TUNGETT, JUDITH L             7807 REED RD                                                                               HOWARD CITY         MI 49329
TUNGL, ZSUZSSUZ               PO BOX 62                                                                                  FLINT               MI 48501‐0062
TUNGL, ZSUZSSUZ I             PO BOX 62                                                                                  FLINT               MI 48501‐0062
TUNGL‐PAYNE, BARBARA N        2334 MORTON AVE                                                                            FLINT               MI 48507
TUNGOL, JAIME M               4194 LAKE FOREST DR E                                                                      ANN ARBOR           MI 48108‐9679
TUNGOL, REYNALDO M            7462 COLCHESTER LN                                                                         W BLOOMFIELD        MI 48322‐3188
TUNIA WARD                    744 WATKINS ST SE                                                                          GRAND RAPIDS        MI 49507‐1247
TUNICA COUNTY                 PO BOX 655                                                                                 TUNICA              MS 38676‐0655
TUNIN, LARRY L                PO BOX 803                                                                                 FREMONT             IN 46737‐0803
TUNIS GARRETT                 9063 W STATE ROAD 38                                                                       SHIRLEY             IN 47384‐9663
TUNISHA BELL                  PO BOX 3156                                                                                BOARDMAN            OH 44513‐3156
TUNISHA L BELL                PO BOX 3156                                                                                BOARDMAN            OH 44513‐3156
TUNISON, CLARK                SIMON EDDIS & GREENSTONE          3232 MCKINNEY AVE STE 610                                DALLAS              TX 75204‐8583
TUNISON, CLARK M              SIMONS EDDINS & GREENSTONE        3232 MCKINNEY AVE STE 610                                DALLAS              TX 75204‐8583
TUNISON, DEXTER J             2958 BAY RD                                                                                SAGINAW             MI 48603
TUNISON, EDMUND
TUNISON, STEVEN W             605 DRIFTWOOD DR E APT 101                                                                 LAFAYETTE          IN   47905
TUNISON, STEVEN W             605 DRIFTWOOD DR. E               101                                                      LAFAYETTE          IN   47905
TUNK, MICHAEL S               415 S VAN ETTEN ST                                                                         PINCONNING         MI   48650‐9338
TUNK, MICHAEL STEVEN          415 S VAN ETTEN ST                                                                         PINCONNING         MI   48650‐9338
TUNK, STEVEN C                12031 FOLEY RD                                                                             FENTON             MI   48430‐9400
TUNKS, BARBARA A              2570 EDGEWOOD DRIVE                                                                        BELOIT             WI   53511‐7031
TUNKS, JUNE F                 1396 GILLESPIE DR 15                                                                       PALM HARBOR        FL   34684
TUNKS, KEVIN D                10205 E WAITE RD                                                                           CLINTON            WI   53525‐8767
TUNKS, LYLE O                 2570 EDGEWOOD DRIVE                                                                        BELOIT             WI   53511‐7031
TUNKS, RANDY S                9102 E RYE DR                                                                              CLINTON            WI   53525‐8787
TUNKS, TIMOTHY W              2191 COLLEGE RD                                                                            HOLT               MI   48842‐9706
TUNKS‐NEVIN, DEANNA M         4321 CTY KK                                                                                MILTON             WI   53563
TUNMORE OLDSMOBILE INC        2677 DELAWARE AVE                                                                          BUFFALO            NY   14216‐1131
TUNNEL O SUDS CAR WASH INC    2886 E MAPLE RD                                                                            TROY               MI   48083‐4427
TUNNEL OF SUDS                2886 E MAPLE RD                                                                            TROY               MI   48083‐4427
TUNNEL TAXI MANAGEMENT LLC    HERRICK FEINSTEIN LLP             2 PARK AVENUE                                            NEW YORK           NY   10016
TUNNEL TAXI MANAGEMENT LLC    CHARLES E DORKEY III ESQ ET AL    230 PARK AVENUE SUITE 1700                               NEW YORK           NY   10169
TUNNELL & RAYSOR              30 E PINE ST                                                                               GEORGETOWN         DE   19947‐1904
TUNNELL JENNIFER AND KAHN &   55 PUBLIC SQ STE 650                                                                       CLEVELAND          OH   44113‐1909
ASSOCIATES
TUNNEY I I I, ROBERT J        8129 S FORDNEY RD                                                                          SAINT CHARLES      MI   48655‐9762
TUNNEY III, ROBERT JAMES      8129 S FORDNEY RD                                                                          SAINT CHARLES      MI   48655‐9762
TUNNEY JR, ROBERT J           24649 S BLIND CREEK RD                                                                     GOETZVILLE         MI   49736‐9389
TUNNEY, DORIS J               8343 CIRCLEWOOD DR N                                                                       SAGINAW            MI   48609‐8513
TUNNEY, GREGORY W             1414 E SHEARER RD                                                                          HOPE               MI   48628‐9704
TUNNEY, HAROLD L              2557 PRIVADA DR                                                                            THE VILLAGES       FL   32162‐8513
TUNNEY, WILLIAM E             3197 ALAMANDO RD                                                                           SAINT LOUIS        MI   48880‐9362
TUNNICLIFF, KAY               P O BOX 56                                                                                 N BLOOMFIELD       OH   44450‐0056
TUNNY, ALLEN L                284 PARK ISLAND DR                                                                         LAKE ORION         MI   48362‐2762
TUNNY, TONYA E                284 PARK ISLAND DR                                                                         LAKE ORION         MI   48362‐2762
TUNON, LUIS                   425 67 STREET                     SECOND FLOOR                                             WEST NEW YORK      NJ   07093
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                      Part 37 of 40 Pg 581 of 901
Name                               Address1                         Address2                  Address3       Address4               City              State Zip
TUNSTALL JR, HENRY V               4075 BYRAM AVE                                                                                   INDIANAPOLIS       IN 46208‐3861
TUNSTALL, DENICE R                 PO BOX 23825                                                                                     BELLEVILLE          IL 62223‐0825
TUNSTALL, DENICE RENEE             PO BOX 23825                                                                                     BELLEVILLE          IL 62223‐0825
TUNSTALL, DONALD W                 474 BUTTERCUP DR                                                                                 ROCHESTER HILLS    MI 48307‐5211
TUNSTALL, FREDDIE M                2404 S SELBY ST                                                                                  MARION             IN 46953‐2953
TUNSTALL, HOSEA D                  3533 RANGELEY ST                                                                                 FLINT              MI 48503‐2939
TUNSTALL, MICHAEL A                4 KARENS CT                                                                                      SWEDESBORO         NJ 08085‐3087
TUNSTALL, NICHOLAS                 310 CLOVER BROOK DR                                                                              LOCUST GROVE       GA 30248‐3691
TUNSTALL, REBA                     C/O ALLSTATE SUBROGATION CLAIM   ATTN: JESSICA RODRIGUEZ   PO BOX 21169                          ROANOKE            VA 24018
                                   CENTER
TUNSTALL, RODERICK A               PO BOX 23825                                                                                     BELLEVILLE        IL    62223‐0825
TUNSTALL, SAMANTHA D               317 E GRAND AVE APT 5                                                                            RAHWAY            NJ    07065
TUNSTALL, VANESSA E                752 W 12TH ST                                                                                    NEW CASTLE        DE    19720‐4936
TUNSTALL, WILLIS C                 3260 INFIRMARY RD                                                                                MORAINE           OH    45418‐1848
TUNSTILL, DONALD                   23680 STAR LN                                                                                    ELKMONT           AL    35620‐4812
TUNSTILL, LILA R                   23680 STAR LN                                                                                    ELKMONT           AL    35620‐4812
TUNTE, PETE                        23360 SUNSET RD                                                                                  TAYLOR            MI    48180‐8703
TUNTEVSKI, NAUME                   59209 9 MILE RD                                                                                  SOUTH LYON        MI    48178‐9772
TUNTLAND, GARY E                   4812 MALPASO                                                                                     LANSING           MI    48917‐1554
TUNXIS COMMUNITY TECHNICAL COLLEGE 271 SCOTT SWAMP RD                                                                               FARMINGTON        CT    06032‐3324

TUOHEY, JAMES K                    790 WALNUT ST                                                                                    LOCKPORT          NY    14094‐3307
TUOHEY, JAMES M                    10053 GLENMORE AVE                                                                               BRADENTON         FL    34202‐4050
TUOHEY, ROBERT L                   51619 CHURCHILL DR                                                                               SHELBY TOWNSHIP   MI    48316‐4324
TUOHEY, SANDRA S                   6117 GODFREY RD                                                                                  BURT              NY    14028‐9756
TUOHIMA, JAYNE                     26601 COOLIDGE HWY               C/O GUARDIAN CARE, INC                                          OAK PARK          MI    48237‐1135
TUOHY JR, MICHAEL G                39L WARD PARK                                                                                    GRAND ISLAND      NY    14072‐2224
TUOHY JR, MICHAEL GERARD           39L WARD PARK                                                                                    GRAND ISLAND      NY    14072‐2224
TUOHY, EDWARD                      400 DVEY GLEN RD APT 4527                                                                        BELMONT           CA    94002‐2117
TUOHY, EDWARD                      400 DAVEY GLEN RD APT 4527                                                                       BELMONT           CA    94002‐2117
TUOHY, EUGENE C                    5901 WOODFIELD PKWY                                                                              GRAND BLANC       MI    48439‐9465
TUOHY, JAMES J                     12086 RIVERBEND DR                                                                               GRAND BLANC       MI    48439‐1724
TUOHY, JOHN P                      3171 IVY LN                                                                                      GRAND BLANC       MI    48439‐8198
TUOHY, JOHN R                      245 JUNIPER DR                                                                                   AUBURN            CA    95602‐9507
TUOHY, LESLIE A                    8800 SUNDIAL DR                                                                                  LAS VEGAS         NV    89134‐8402
TUOHY, MICHAEL G                   1827 BACK RIVER NECK RD                                                                          BALTIMORE         MD    21221‐6401
TUOHY, SEAN P                      8332 OAKLEIGH RD                                                                                 PARKVILLE         MD    21234‐3835
TUOHY, SUSAN E                     15686 DORCHESTER CT                                                                              NORTHVILLE        MI    48168‐8478
TUOI GUZIK                         894 AMY DR                                                                                       GRAND ISLAND      NY    14072‐1863
TUOMALA, DAVID A                   423 OAK ST                                                                                       ROCHESTER         MI    48307‐1930
TUOMI, DANIEL R                    34805 BLACKFOOT ST                                                                               WESTLAND          MI    48185‐2783
TUOMI, LINDA L                     34805 BLACKFOOT ST                                                                               WESTLAND          MI    48185‐2783
TUOMI, SONYA M                     UNIT 207                         9680 BRENTWOOD WAY                                              BROOMFIELD        CO    80021‐4338
TUOMI, SONYA MARIE                 UNIT 207                         9680 BRENTWOOD WAY                                              BROOMFIELD        CO    80021‐4338
TUONG K LOI                        64 BEECH ST APT 2                                                                                BOSTON            MA    02111‐2112
TUOPU NORTH AMERICA LIMITED        2100 BLOOR STREET WEST           UNIT 6283                                TORONTO CANADA ON
                                                                                                             M6S 5A5 CANADA
TUOPU NORTH AMERICA LTD
TUOPU NORTH AMERICA LTD            821 BROCK RD UNIT 5                                                       PICKERING ON L1W 3L6
                                                                                                             CANADA
TUOPU NORTH AMERICA LTD            JOHN ROBBESCHURTEN               821 BROCK RD, S UNIT 5                   VAUGHN ON CANADA
TUORTO, ALDRED                     GRAHAM WILLIAM S                 PO BOX 177                                                      MANASQUAN          NJ   08736‐0177
                             09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                   Part 37 of 40 Pg 582 of 901
Name                         Address1                             Address2                      Address3   Address4                  City               State Zip
TUORTO, LINDA                GRAHAM WILLIAM S                     PO BOX 177                                                         MANASQUAN           NJ 08736‐0177
TUPA, THOMAS                 6542 LLOYD DR                                                                                           BRECKSVILLE         OH 44141‐1508
TUPAJ, FRANK                 12 LUMAR RD                                                                                             LAWRENCEVILLE       NJ 08648‐3128
TUPEK, GARRY F               1532 KILLDEER DR                                                                                        NAPERVILLE           IL 60565
TUPEK, PAMELA D              940 NORWOOD CT                                                                                          NAPERVILLE           IL 60540‐8242
TUPEK, RICHARD W             940 NORWOOD CT                                                                                          NAPERVILLE           IL 60540‐8242
TUPER, CLAYTON A             43 COUNTY ROUTE 42                                                                                      FT COVINGTON        NY 12937‐2500
TUPES OF SAGINAW             2858 ENTERPRISE CT                                                                                      SAGINAW             MI 48603‐2408
TUPES OF SAGINAW INC         2858 ENTERPRISE CT                   PO BOX 5989                                                        SAGINAW             MI 48603‐2408
TUPIAK, NELLE C              10428 WHISKEY POINT RD                                                                                  PRESQUE ISLE        MI 49777‐8310
TUPIAK, RICHARD R            127 SENECA TRAIL                                                                                        PRUDENVILLE         MI 48651‐9736
TUPIAK, RICHARD R            127 SENECA TRL                                                                                          PRUDENVILLE         MI 48651‐9736
TUPIAK, ROBERT               46795 SCOTCH PINE LN                                                                                    MACOMB              MI 48042‐5374
TUPIE C HENRY                C/O WILLIAMS KHERKHER HART BOUNDAS   8441 GULF FREEWAY STE 600                                          HOUSTON             TX 77007
                             LLP
TUPINIO, WILLIAM G           5300 BENNINGTON AVE                                                                                     KANSAS CITY        MO   64129‐2409
TUPLING, DOUGLAS R           15 LICK CREEK DR                                                                                        MARKLEVILLE        IN   46056‐9433
TUPMAN, LEROY H              1552 TRAVIS DR                                                                                          TOLEDO             OH   43612‐4037
TUPPER ROBERT C (482048)     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA   23510
                                                                  STREET, SUITE 600
TUPPER, BURNICE E            8461 N SEYMOUR RD                                                                                       FLUSHING           MI   48433‐9266
TUPPER, CHARLES E            754 BLANCHARD HILL RD                                                                                   RUSSELL            NY   13684‐3107
TUPPER, CRYSTAL              1713 COLEMAN AVE                                                                                        LANSING            MI   48910‐1424
TUPPER, DENNIS L             10320 WILSON RD                                                                                         MONTROSE           MI   48457‐9176
TUPPER, DUANE V              P.O. BOX 3, KIMPTON ROAD             LUTON ,BED LU20SY                        LUTON GREAT BRITAIN
TUPPER, ELAINE V             2815 STATE ROUTE 7                                                                                      FOWLER             OH   44418‐9773
TUPPER, ELAINE V             2815 ST. RT 7 NE                                                                                        FOWLER             OH   44418‐9773
TUPPER, ERIC G               716 BLANCHARD HILL RD                                                                                   RUSSELL            NY   13684‐3107
TUPPER, ERIC GEORGE          716 BLANCHARD HILL RD                                                                                   RUSSELL            NY   13684‐3107
TUPPER, GREGORY E            2116 BELAIRE DRIVE                                                                                      LANSING            MI   48910‐2402
TUPPER, HAROLD L             22450 50TH AVE                                                                                          BARRYTON           MI   49305‐9793
TUPPER, MILDRED M            10338 WILSON RD                                                                                         MONTROSE           MI   48457‐9176
TUPPER, NELTA L              33318 ALTON WRIGHT DR                                                                                   MAGNOLIA           TX   77355‐3328
TUPPER, PATRICIA J.          PO BOX 2166                                                                                             YOUNGSTOWN         OH   44504‐0166
TUPPER, RANDY S              10255 CHADWICK RD                                                                                       LAINGSBURG         MI   48848‐9452
TUPPER, RICHARD D            5020 PINE DR                                                                                            BARRYTON           MI   49305‐9555
TUPPER, ROBERT C             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
TUPPER, WILLIAM F            48 MARGARET DR                                                                                          OGDENSBURG         NY   13669‐4108
TUPPERWARE                   14901 S ORANGE BLOSSOM TRL                                                                              ORLANDO            FL   32837‐6600
TUPPERWARE CORP              14901 S ORANGE BLOSSOM TRL                                                                              ORLANDO            FL   32837‐6600
TUPPERWARE HOME PARTIES      3175 N ORANGE BLOSSOM TRL                                                                               KISSIMMEE          FL   34744‐1137
TUPPERWARE HOME PARTIES      MARGARET PERSAD                      PO BOX 2353                                                        ORLANDO            FL   32802‐2353
TUPPERWARE HOMES PARTIES     3175 N ORANGE BLOSSOM TRL                                                                               KISSIMMEE          FL   34744‐1137
TUPPS, CHRISTOPHE S          PO BOX 290                                                                                              GRAND BLANC        MI   48480
TUPY AMERICAN FOUNDRY CORP   39205 COUNTRY CLUB DR STE C22                                                                           FARMINGTON HILLS   MI   48331‐5718
TUPY SA                      RUA ALBANO SCHMIDT 3400 BOA VISTA                                             JOINVILE SANTA CATARINA
                                                                                                           SC 89206‐900 BRAZIL
TUR TECH INC                 2801 JOHN R                                                                                             TROY               MI   48083
TUR, PATRICIA                231 LOSSON RD                                                                                           CHEEKTOWAGA        NY   14227
TURA LAWRENCE & JACQUELYN    2608 LYDIA ST SW                                                                                        WARREN             OH   44481‐9622
TURA SR, VINCENT J           9306 W PURDUE AVE                                                                                       PEORIA             AZ   85345‐4303
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                  Part 37 of 40 Pg 583 of 901
Name                          Address1                         Address2                     Address3             Address4             City              State Zip
TURA, BETTY L                 9306 W PURDUE AVE                                                                                       PEORIA             AZ 85345‐4303
TURA, BONNIE J                23380 SPY GLASS HL N                                                                                    SOUTH LYON         MI 48178‐9448
TURA, DAVID G                 23380 SPY GLASS HL N                                                                                    SOUTH LYON         MI 48178‐9448
TURA, JACQUELYN
TURA, LAWRENCE                DULL DAVID A JR                  808 N PARK AVE                                                         WARREN            OH   44483
TURAN CEVDET MD               3256 PALM AIRE DR                                                                                       ROCHESTER HILLS   MI   48309‐1047
TURAN, CEVDET MD              3256 PALM AIRE DR                                                                                       ROCHESTER HILLS   MI   48309‐1047
TURAN, JIMMY                  PORTER & MALOUF PA               4670 MCWILLIE DR                                                       JACKSON           MS   39206‐5621
TURAN, PAUL                   355 OCEAN FOREST DR NW                                                                                  CALABASH          NC   28467‐1838
TURAN‐FOLEY MOTORS, INC.      RICHARD FOLEY                    11123 HIGHWAY 49                                                       GULFPORT          MS   39503‐4142
TURAN‐FOLEY MOTORS, INC.                                                                                                              GULFPORT          MS   39503
TURAN‐FOLEY MOTORS, INC.      11123 HIGHWAY 49                                                                                        GULFPORT          MS   39503‐4142
TURANIN JR, MICHAEL           108 WALTERS AVE                                                                                         FRANKLIN          TN   37067‐2602
TURANIN, MICHAEL              195 WHITE HORSE AVE FL 1                                                                                TRENTON           NJ   08610‐2643
TURANO JULI                   6910 S BANNOCK ST APT 3                                                                                 LITTLETON         CO   80120‐3866
TURANO, MARY G                109 OAK RIDGE LN                                                                                        MANAHAWKIN        NJ   08050‐6025
TURATI MARIA LUISA IRENE      LA SCALA                         STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
TURAY MICHAEL                 6429 SW LOOP DR                                                                                         PORTLAND          OR   97221‐3388
TURAY, MARY A                 74 OAKWOOD TER                                                                                          N TONAWANDA       NY   14120‐3323
TURAY, MARY A                 74 OAKWOOD TERRACE                                                                                      N TONAWANDA       NY   14120‐3323
TURBEN TRUCKING               39254 ROUTE 6                                                                                           BEAR LAKE         PA   16402‐2318
TURBEN, DIANE L               6110 N GREENVALE DR                                                                                     MILTON            WI   53563‐9414
TURBEN, NORMAN R              50994 STUMP RIDGE RD                                                                                    VIROQUA           WI   54665‐7674
TURBEN, SANDRA L              13323 TURBEN RIDGE RD                                                                                   SOLDIERS GROVE    WI   54655‐7570
TURBERG, JUDITH E             1041 N COLLEGE AVE                                                                                      CLAREMONT         CA   91711‐3926
TURBETT, GARY L               142 BROOKSIDE DR                                                                                        FLUSHING          MI   48433‐2602
TURBETT, MARLIN R             27501 S HILL RD                                                                                         NEW HUDSON        MI   48165‐9566
TURBEVILLE JR, JAMES L        12205 NEFF RD                                                                                           CLIO              MI   48420
TURBEVILLE, DONALD L          230 BROOKVIEW CT                                                                                        ANDERSON          IN   46016‐6808
TURBEVILLE, ERMALEE           4082 S MEADOW LN                                                                                        MOUNT MORRIS      MI   48458‐9310
TURBEVILLE, JUSTIN J          12205 NEFF RD                                                                                           CLIO              MI   48420‐1806
TURBFILL LISA                 21427 BASIL CT                                                                                          BROADLANDS        VA   20148‐3611
TURBIAK, EDWARD C             4902 LARKINS ST                                                                                         DETROIT           MI   48210‐2361
TURBIN DILLOWAY, VIRGINIA P   25827 HACIENDA DR                                                                                       LEESBURG          FL   34748
TURBIN, DENNIS C              4212 N SAGINAW                                                                                          FLINT             MI   48505
TURBIN, LILY M                PO BOX 263                                                                                              HARRISVILLE       MI   48740‐0263
TURBIN, MARGARET M            1605 FITZHUGH                                                                                           BAY CITY          MI   48708‐7949
TURBIN, MARGARET M            1605 FITZHUGH ST                                                                                        BAY CITY          MI   48708‐7949
TURBIN, TODD A                PO BOX 391                                                                                              PELLSTON          MI   49769‐0391
TURBIN, TODD A                821 18TH ST                                                                                             BAY CITY          MI   48708‐4700
TURBIN, WALTER L              4900 HAYES RD                                                                                           HARRISON          MI   48625‐8951
TURBIN, WALTER LEE            4900 HAYES RD                                                                                           HARRISON          MI   48625‐8951
TURBO EXPRESS                 RUDOLPH SINN                     45732 MABEN RD                                                         CANTON            MI   48187‐4758
TURBO EXPRESS INC             PO BOX 871573                                                                                           CANTON            MI   48187‐7273
TURBO HOSES                   5948 LAS POSITAS RD                                                                                     LIVERMORE         CA   94551‐7804
TURBO LOGISTICS INC           MATT HANDTE                      PO BOX 907310                                                          GAINESVILLE       GA   30501‐0906
TURBO SYSTEMS INC             203 TURBO DR                                                                                            KINGS MOUNTAIN    NC   28086‐7641
TURBO TRANSPORT               PO BOX 907310                                                                                           GAINESVILLE       GA   30501‐0906
TURBO TRANSPORT INC           305 N COUNTY ROAD 600 E                                                                                 SELMA             IN   47383‐9589
TURBOCAM INC                  5 FARADAY DR                                                                                            DOVER             NH   03820‐4352
TURBOHOSES R&D                5948 LAS POSITAS RD UNIT H                                                                              LIVERMORE         CA   94551
TURBOK, FRANK J               1502 N CHESTNUT ST                                                                                      LUMBERTON         NC   28358‐3836
                                   09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                       Part 37 of 40 Pg 584 of 901
Name                               Address1                         Address2                      Address3   Address4                  City             State Zip
TURBOMACHINERY CONSULTING SVC      1313 EARL DR                                                                                        WILMINGTON        NC 28405‐1202
TURBOTRANS AUSTRALIA               12 WILEY STREET                  ELIZABETH SOUTH                          SOUTH AUSTRALIA 5112
                                                                                                             AUSTRALIA
TURBOTRANS AUSTRALIA PTY LTD       12 WILEY STREET                  ELIZABETH SOUTH 5112 SOUTH               ELIZABETH SOUTH SA 5112
                                                                                                             AUSTRALIA
TURBOTRANS AUSTRALIA PTY LTD       372 FINDON RD                                                             KIDMAN PARK SA 5025
                                                                                                             AUSTRALIA
TURBYFILL, ELEANOR                 1045 HIGHWAY 87                                                                                     RUSSELLVILLE     AL   35654‐9358
TURBYFILL, GEORGIA E               G5437 SHAMROCK LANE                                                                                 FLINT            MI   48506
TURBYFILL, WILLIAM B               1045 HIGHWAY 87                                                                                     RUSSELLVILLE     AL   35654‐9358
TURCHAN                            12825 FORD RD                                                                                       DEARBORN         MI   48126‐3385
TURCHAN TECHNOLOGIES GROUP INC     12825 FORD RD                                                                                       DEARBORN         MI   48126‐3385
TURCHAN TECHNOLOGIES GROUP INC     ERIK BLOOMFIELD                  12825 FORD RD                                                      EAST TAWAS       MI   48730
TURCHAN, FRANK R                   134 BERKLEY ST                                                                                      DEARBORN         MI   48124‐1302
TURCHANIK, STEPHEN E               13330 DE MOTT DR                                                                                    WARREN           MI   48088‐6606
TURCHECK, PATRICIA A               1585 MCKINLEY AVE                                                                                   BRUNSWICK        OH   44212
TURCHECK, STEPHEN J                28001 SOUTHPOINTE RD                                                                                GROSSE ILE       MI   48138‐2026
TURCHI, MALLORY ELIZABETH          6490 RICHFIELD RD                                                                                   FLINT            MI   48506‐2212
TURCHI, MARK J                     3067 GEHRING DR                                                                                     FLINT            MI   48506‐2259
TURCHYK, GEORGE                    20415 ORCHARD GROVE AVE                                                                             ROCKY RIVER      OH   44116‐3530
TURCHYN, VIOLET                    3023 W 13 MILE RD APT 327                                                                           ROYAL OAK        MI   48073‐2963
TURCHYN, WILLIAM S                 7716 SILVER FOX DR                                                                                  BOARDMAN         OH   44512‐5301
TURCK INC                          3000 CAMPUS DR                                                                                      MINNEAPOLIS      MN   55441‐2619
TURCK'S PONTIAC GMC TRUCKS, INC.   5589 SHADY AVE                                                                                      LOWVILLE         NY   13367‐1633
TURCK'S PONTIAC GMC TRUCKS, INC.   THOMAS TURCK                     5589 SHADY AVE                                                     LOWVILLE         NY   13367‐1633
TURCK, JAMES A                     25015 RANCHO LN                                                                                     PAISLEY          FL   32767‐9311
TURCKE A F MD PC                   730 E RIVER RD                   RLSD HOLD 6/14/06 LC                                               FLUSHING         MI   48433‐2143
TURCKE, A F MD P C                 730 E RIVER RD                                                                                      FLUSHING         MI   48433‐2143
TURCKEE MEADOWS WATER AUTH         PO BOX 659565                                                                                       SAN ANTONIO      TX   78265‐9565
TURCO VINCENZO                     VIA ALESSIO BALDOVINETTI 83
TURCO, DAVID R                     3050 NEWTON TOMLINSON RD                                                                            NEWTON FALLS     OH   44444‐8727
TURCO, ELIZABETH                   5600 ALEXIS RD APT 265                                                                              SYLVANIA         OH   43560
TURCO, GARY L                      309 W STERNS RD                                                                                     TEMPERANCE       MI   48182‐9509
TURCO, JOSEPH A                    1241 MILLVILLE‐OXFORD R                                                                             HAMILTON         OH   45013
TURCO, JOYCE                       887 PENDERGRASS AVE                                                                                 MURRELLS INLET   SC   29576‐5313
TURCO, ROSE L                      PO BOX 1204                                                                                         MORGAN HILL      CA   95038‐1204
TURCO, SAMUEL L                    32 HOOVER PKWY                                                                                      LOCKPORT         NY   14094‐5734
TURCO, YVONNE M                    1649 ROBERTS LN NE                                                                                  WARREN           OH   44483‐3619
TURCOLA, KAREN L                   4908 NEW RD                                                                                         AUSTINTOWN       OH   44515‐3822
TURCOTTE EARL (459409)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA   23510
                                                                    STREET, SUITE 600
TURCOTTE JR, ROY V                 162 ROSELAND DR                                                                                     VICKSBURG        MS   39180‐5568
TURCOTTE, ALAIN M                  10376 WELLMAN RD                                                                                    HUDSON           OH   44236‐2514
TURCOTTE, BRUCE F                  4822 SAINT CLAIR RD                                                                                 OSCODA           MI   48750‐9714
TURCOTTE, CHERYL A                 PO BOX 907                                                                                          DOUGLAS          MA   01516‐0907
TURCOTTE, CLETUS V                 32261 FAIRCHILD ST                                                                                  WESTLAND         MI   48186‐8912
TURCOTTE, DOROTHY M                101 SOUTH LINDSAY ROAD                                                                              GILBERT          AZ   85296‐1133
TURCOTTE, DOROTHY M                101 S LINDSAY RD                                                                                    GILBERT          AZ   85296
TURCOTTE, EARL                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA   23510‐2212
                                                                    STREET, SUITE 600
TURCOTTE, FRANCES L                PO BOX 309                       700 W MAIN                                                         HARDIN           IL 62047‐0309
TURCOTTE, GREGORY J                1720 NICOLE LANE                                                                                    VIDALIA          GA 30474‐5640
                          09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                            Part 37 of 40 Pg 585 of 901
Name                      Address1                       Address2                       Address3   Address4             City              State Zip
TURCOTTE, GREGORY J       1720 NICOLE LN                                                                                VIDALIA            GA 30474‐5640
TURCOTTE, MARY M          4822 SAINT CLAIR RD                                                                           OSCODA             MI 48750‐9714
TURCOTTE, RICHARD B       2811 EVANSTON AVE                                                                             MUSKEGON           MI 49442‐6323
TURCOTTE, RICHARD BRUCE   2811 EVANSTON AVE                                                                             MUSKEGON           MI 49442‐6323
TURCSAK JR, ANDREW        644 N WASHINGTON ST                                                                           LAPEER             MI 48446‐1954
TURCSAK, EDWARD E         4231 PORT AUSTIN RD                                                                           CASEVILLE          MI 48725‐9659
TURCSAK, ELEANOR V        4875 CLARKSTON RD                                                                             CLARKSTON          MI 48348‐3866
TURCSAK, JORDAN           735 SANDS RD                   C/O MARY K TURCSAK CUSTODIAN                                   ORTONVILLE         MI 48462‐8866

TURCSAK, NORMAN L         3107 DEVONSHIRE ST                                                                            FLINT             MI   48504‐4307
TURCSAK, RANDALL R        2626 REESE RD                                                                                 ORTONVILLE        MI   48462‐9032
TURCSAK, RONALD J         4334 DOGWOOD BLVD                                                                             CLARKSTON         MI   48348‐1340
TURCSANYI, JOHN G         28028 ALYCEKAY STREET                                                                         FARMINGTN HLS     MI   48334‐3824
TURCUS, MILDRED           3400 WOOSTER RD APT 122                                                                       ROCKY RIVER       OH   44116‐4107
TURCZYN, ANTHONY S        17120 RUDGATE ST                                                                              SOUTHGATE         MI   48195‐3349
TURCZYN, BLANCHE          4499 QUEENS WAY                                                                               GLADWIN           MI   48624‐8236
TURCZYN, JANINA           3515 PARENT AVE                                                                               WARREN            MI   48092‐4111
TURCZYN, KENNETH J        1327 E MELTON RD                                                                              BIRMINGHAM        MI   48009‐7707
TURCZYN, MELODY L         3144 PURDY LN                                                                                 OXFORD            MI   48371‐2235
TURCZYN, PETER A          200 HARBOR WALK DR UNIT 325                                                                   PUNTA GORDA       FL   33950‐3711
TURCZYN, ROBERT R         28607 VICTOR ST                                                                               ROSEVILLE         MI   48066‐4222
TURCZYN, STELLA F         33 HEIL AVE                                                                                   TRENTON           NJ   08638‐3816
TURCZYN, STELLA F         33 HEIL AVENUE                                                                                TRENTON           NJ   08638‐3816
TURCZYNSKI, ROMAINE       28906 URSULINE                                                                                ST CLAIR SHORES   MI   48081‐1024
TURDO, MARY M             12273 W SUNSET LN              C/O LEO R TURDO                                                GREENFIELD        WI   53228‐2496
TURECKI, CHRISTINE        63 CONNECTING BLVD                                                                            NORTH TONAWANDA   NY   14120‐1305
TUREDI, KEMAL
TUREK JR, FRED            8758 BRUCE COLLINS CT                                                                         STERLING HTS      MI 48314‐2400
TUREK KARL                KLOSTERNEUBURGERSTRASSE 118‐                                             1200 WIEN AUSTRIA
                          122/13/1
TUREK, ANNE R             5037 S 26TH ST                                                                                MILWAUKEE         WI   53221‐3451
TUREK, BARBARA            31556 SCONE                                                                                   LIVONIA           MI   48154‐4234
TUREK, BERNICE C          20 ROBIN HILL RD                                                                              MERIDEN           CT   06450‐2477
TUREK, BLANCHE M          952 E WINDFIELD CT                                                                            BELOIT            WI   53511‐6547
TUREK, CHARLES A          10671 WOODBURY RD                                                                             LAINGSBURG        MI   48848‐8784
TUREK, CYRUS D            1299 VICTORY HILL LANE                                                                        YOUNGSTOWN        OH   44515‐4378
TUREK, DONNA M            12630 SAINT ANDREWS DR                                                                        KANSAS CITY       MO   64145‐1145
TUREK, ELAINE A           4032A BAY RD                                                                                  WHITEFORD         MD   21160‐1410
TUREK, ELEONORE M         8233 EVANGELINE                                                                               DEARBORN HGTS     MI   48127‐1119
TUREK, ELEONORE M         8233 N EVANGELINE ST                                                                          DEARBORN HTS      MI   48127‐1119
TUREK, GARY A             407 S HARRISON ST                                                                             SAGINAW           MI   48602‐2154
TUREK, GERARD T           1124 N PATTERSON DR                                                                           MOORE             OK   73160‐6938
TUREK, JACALYN M          3449 S WENDOVER CIR                                                                           YOUNGSTOWN        OH   44511‐2609
TUREK, JAMES H            31556 SCONE ST                                                                                LIVONIA           MI   48154‐4234
TUREK, JOHN G             10612 BLUEJACKET ST                                                                           OVERLAND PARK     KS   66214
TUREK, LOLITA B           599 RACQUET CLUB RD APT 67                                                                    WESTON            FL   33326‐1867
TUREK, MARGOT             100 DEHAVEN DR APT 101         C/O JOAN MC ALLISTER                                           YONKERS           NY   10703‐1206
TUREK, MARK E             828 ELK CT                                                                                    WHEATON           IL   60189‐8174
TUREK, N T                1323 LOCKETT LN                                                                               KIRKWOOD          MO   63122‐2322
TUREK, N TIMOTHY          1323 LOCKETT LN                                                                               KIRKWOOD          MO   63122‐2322
TUREK, NORBERT M          2269 SW OLYMPIC CLUB TER                                                                      PALM CITY         FL   34990‐6044
TUREK, PAUL               539 PATTERSON ST                                                                              EAST MEADOW       NY   11554‐3818
                             09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                 Part 37 of 40 Pg 586 of 901
Name                         Address1                         Address2                        Address3   Address4                City                 State Zip
TUREK, RITA HALLAHAN         40 E AIRY ST                                                                                        NORRISTOWN            PA 19401‐4803
TUREK, SHARON A              15996 PARK LN                                                                                       NORTHVILLE            MI 48168‐2381
TUREK, STANLEY P             6854 KILLARNEY DR                                                                                   TROY                  MI 48098‐2122
TUREK, TIMOTHY J             1304 EASTBRIDGE CT                                                                                  LOUISVILLE            KY 40223‐3926
TUREK, TODD D                3138 S DAVIS DR                                                                                     BELOIT                WI 53511‐1418
TUREK, WALTER J              20 ROBIN HILL RD                                                                                    MERIDEN               CT 06450‐2477
TUREL, JOHN W                31454 JOY RD                                                                                        LIVONIA               MI 48150‐3836
TURELL, WALTER J             77 MILLER ST 1                                                                                      MIDDLEBORO            MA 02346
TURENCHALK, HAROLD           310 ARISTOTLE DR                                                                                    MAYBROOK              NY 12543‐1143
TURENNE SR, JOEL R           6156 STUMPH RD APT 103                                                                              PARMA                 OH 44130‐1896
TURENTINE, MANUELLA R        2827 E 16TH ST                                                                                      INDIANAPOLIS          IN 46201‐1211
TURETSKY, MAURICE            1106 PIEDRA RONDO                                                                                   SANTA FE              NM 87501‐8856
TUREY JOHN                   TUREY, JOHN                      30 OAK ST STE 401                                                  STAMFORD              CT 06905‐5310
TURFE, TALLAL A              26371 TIMBER TRL                                                                                    DEARBORN HTS          MI 48127‐4910
TURGAY BENGISU               1966 CHRISTOPHER CT                                                                                 WEST BLOOMFIELD       MI 48324‐3136
TURGEON, CLARISSA            42 GREENSLITT AVE                                                                                   PAWTUCKET              RI 02861‐2922
TURGEON, JAMES M             6748 ERRICK RD                                                                                      N TONAWANDA           NY 14120‐1106
TURGEON, JOSEPH              20 DONDANVILLE RD UNIT 302                                                                          ST AUGUSTINE          FL 32080‐7412
TURGEON, JOSEPH C            THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                               BOSTON                MA 02110‐2104
TURGEON, KENNETH J           315 ASHBURY LANE                                                                                    CRANBERRY TWP         PA 16066‐2851
TURGEON, ROBERT G            2609 E PICCADILLY LN                                                                                EAGLE                 ID 83616‐5557
TURGI, SUSAN                 6600 PLEASANT AVE APT 155                                                                           MINNEAPOLIS           MN 55423
TURGUT & SABIN MUTLU         NACHTIGALL STR 3                                                            58452 WITTEN, GERMANY
TURI, HELEN                  2208 CRESTLINE DR                                                                                   BURTON               MI   48509‐1344
TURI, MARY                   1016 LORRAINE AVENUE                                                                                UNION                NJ   07083‐7007
TURIAK JEFF                  1012 ASCOT DR                                                                                       MAINEVILLE           OH   45039‐8911
TURIAK, JEFFREY M            1012 ASCOT DR                                                                                       MAINEVILLE           OH   45039‐8911
TURIAK, JERROLD J            2294 SADDLE DR                                                                                      ALLISON PARK         PA   15101‐2922
TURIK, CONSTANCE D           3400 BLANCO RD                                                                                      SAN ANTONIO          TX   78212
TURIN, RAYMOND C             1147 BISHOP RD                                                                                      GROSSE POINTE PARK   MI   48230‐1422
TURINO, JOSE                 DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                                   RIVERDALE            NY   10463
TURINSKY ARLEEN              29 MEIRS RD                                                                                         CREAM RIDGE          NJ   08514‐1905
TURINSKY, PAUL J             1008 KASPAR ST                                                                                      PORT CLINTON         OH   43452‐2222
TURINSKY, STEPHEN J          325 E MAIN ST                                                                                       MARBLEHEAD           OH   43440‐2229
TURIST VENABLE               6025 MACEO LN                                                                                       FORT WORTH           TX   76112‐7951
TURIZZIANI JORDAN (448343)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD           OH   44067
                                                              PROFESSIONAL BLDG
TURIZZIANI, JORDAN           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD           OH 44067
                                                              PROFESSIONAL BLDG
TURK CYNTHIA                 4645 RICHMAN RD                                                                                     LITCHFIELD           OH   44253‐9714
TURK II, JOHN F              116 RIDGEWAY BLVD                                                                                   DELAND               FL   32724‐8806
TURK JR, WILFRED L           2510 HESS RD                                                                                        FALLSTON             MD   21047‐1125
TURK KYLE                    TURK, KYLE                       1130 E STREET NE                                                   MIAMI                OK   74354
TURK RICHARD                 TURK, JANETTE                    PO BOX 6210                                                        AKRON                OH   44312‐0210
TURK RICHARD                 TURK, RICHARD                    PO BOX 6210                                                        AKRON                OH   44312‐0210
TURK, ARTHUR L               821 S LYON ST                                                                                       OWOSSO               MI   48867‐4240
TURK, DONALD A               508 44TH AVE E LOT D11                                                                              BRADENTON            FL   34203‐7507
TURK, DONALD L               4098 W CROOKED LN                                                                                   GREENWOOD            IN   46143‐8745
TURK, DONNA M                8405 W SEEMAN RD                 C/O RONALD L TURK                                                  JANESVILLE           WI   53548‐8623
TURK, DOROTHY J.             220 S RIVER BLVD APT 3                                                                              PLYMOUTH             WI   53073‐2669
TURK, ELIZABETH L            3438 S COUNTY RD 101 E                                                                              CLAYTON              IN   46118‐9659
TURK, EUGENE R               1255 E INDIAN WELLS CT                                                                              CHANDLER             AZ   85249‐8781
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                      Part 37 of 40 Pg 587 of 901
Name                             Address1                          Address2                      Address3   Address4                City              State Zip
TURK, FRANK B                    1575 POPLAR CREEK DRIVE                                                                            HOFFMAN EST         IL 60169‐5005
TURK, GEORGE S                   1822 CHARM CT                                                                                      ROCHESTER HLS      MI 48306‐3014
TURK, J T                        PO BOX 23                                                                                          ALPHARETTA         GA 30009‐0023
TURK, JANETTE                    MCDOWALL LAURA K                  PO BOX 6210                                                      AKRON              OH 44312‐0210
TURK, JOANN A                    23867 PLUMBROOKE DR                                                                                SOUTHFIELD         MI 48075‐7814
TURK, JULIAN H                   PO BOX 243                                                                                         HADDOCK            GA 31033‐0243
TURK, KATHLEEN R                 1647 COPAS RD                                                                                      OWOSSO             MI 48867‐9086
TURK, KENNETH                    PO BOX 251812                                                                                      WEST BLOOMFIELD    MI 48325‐1812
TURK, KENNETH J                  3714 NICHOLS RD                                                                                    MEDINA             OH 44256‐9299
TURK, LOIS A                     5228 WAVERLY DR R 3                                                                                MILTON             WI 53563‐8867
TURK, MARGARET F                 PO BOX 158                                                                                         LAKE CITY          MI 49651‐0158
TURK, MARGARET M                 8402 VERA DR                                                                                       BROADVIEW HTS      OH 44147‐2224
TURK, MARY P                     3446 CAROLYN ST                                                                                    GAINESVILLE        GA 30504
TURK, MARY P                     PO BOX 33                                                                                          OAKWOOD            GA 30566
TURK, RICHARD                    MCDOWALL LAURA K                  PO BOX 6210                                                      AKRON              OH 44312‐0210
TURK, RICHARD
TURK, RICHARD E                  3817 LAUREL RD                                                                                     BRUNSWICK         OH   44212‐3680
TURK, ROBERT H                   6020 HOLLY VALLEY DR                                                                               TOLEDO            OH   43612‐4509
TURK, RONALD B                   15914 WATERBURY DR                                                                                 NOBLESVILLE       IN   46060‐4833
TURK, RUTH C                     3714 NICHOLS RD                                                                                    MEDINA            OH   44256
TURK, SHIRLEY                    122 WELCOME WAY BLVD W APT 102D                                                                    INDIANAPOLIS      IN   46214‐3067
TURK, SHIRLEY S                  10100 CYPRESS COVE DR APT 242                                                                      FORT MYERS        FL   33908‐7655
TURK, STEPHEN A                  2057 FAWN GLEN CIR                                                                                 LAPEER            MI   48446‐8405
TURK, SUSAN M                    PO BOX 13                                                                                          CADILLAC          MI   49601‐0013
TURK, THOMAS E                   441 S WILDWOOD ST                                                                                  WESTLAND          MI   48186‐9217
TURK, TIA Y                      13223 ST ERVIN AVE                                                                                 DETROIT           MI   48215‐3353
TURK, VICTOR J                   34855 AURORA RD                                                                                    SOLON             OH   44139‐3814
TURK, WILLARD D                  PO BOX 1252                                                                                        LAPEER            MI   48446‐5252
TURKAL, BEVERLY L                702 W WOODLAND DR                                                                                  ROBINSON          IL   62454‐1338
TURKALI CHRISTOPHER M & TARI F   1467 EAST COUNTY LINE ROAD                                                                         MINERAL RIDGE     OH   44440‐9553
TURKE, ALEXANDER                 5711 MCKINLEY RD                                                                                   CHINA             MI   48054‐4305
TURKE, R L                       110 CONCORDIA DR                                                                                   BELLA VISTA       AR   72714‐2423
TURKEY GRILL                     ATTN: GEORGE LYLES                8290 WOODWARD AVE                                                DETROIT           MI   48202‐2532
TURKEY HILL MINIT MARKETS        257 CENTERVILLE RD                                                                                 LANCASTER         PA   17603‐4059
TURKHEIMER SUSAN                 532 EDGAR RD                                                                                       WESTFIELD         NJ   07090‐4119
TURKIEWICZ, CORNELIA             21312 YALE ST                                                                                      ST CLAIR SHRS     MI   48081‐1804
TURKILY JR, JOHN C               6011 CARDWELL ST                                                                                   GARDEN CITY       MI   48135‐2504
TURKIN, DANIEL T                 PO BOX 180622                                                                                      UTICA             MI   48318‐0622
TURKIN, MARK A                   5583 PLYMOUTH ST                                                                                   STERLING HTS      MI   48310‐6641
TURKIYE GARANTI BANKASI A.S.     NISPETIYE MAH. AYTAR CAD. NO:2    LEVENT/BESIKTAS                          ISTANBUL 34340 TURKEY
TURKNETT JR, DONALD M            7595 BAYMEADOWS CIR W APT 1113                                                                     JACKSONVILLE      FL 32256‐1856
TURKNETT NORRIS D (494277)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510
                                                                   STREET, SUITE 600
TURKNETT, NORRIS D               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510‐2212
                                                                   STREET, SUITE 600
TURKO, DAVID S                   2248 ROLLING HILLS DR                                                                              NOLENSVILLE       TN 37135‐9483
TURKO, SHIRLEY J                 5166 WEST OLD STATE ROAD                                                                           CENTRAL LAKE      MI 49622‐9574
TURKOVICS LORI                   118 BLACKSHIRE CIRCLE             OTTAWA ON 52J 5M1             CANADA
TURKOVICS, FRED A                5443 TIPPERARY LN                                                                                  FLINT             MI   48506‐2264
TURKOWITCH, LAURA E              10428 W STEWART AVE                                                                                WAUWATOSA         WI   53222‐2343
TURKOWSKI, CASS R                22821 N DUSTY TRAIL BLVD                                                                           SUN CITY WEST     AZ   85375‐2045
TURKOWSKI, LINDA M               378 FAIRWAY DR                                                                                     MILTON            WI   53563‐1367
                          09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                              Part 37 of 40 Pg 588 of 901
Name                      Address1                         Address2                      Address3   Address4         City            State Zip
TURKUC, LOUIS A           380 ORCHARD COVE DR                                                                        OTISVILLE        MI 48463
TURLAND, BARBARA SUE      8818 WHITTEMORE ROAD                                                                       WHITTEMORE       MI 48770
TURLAND, DOROTHY J        PO BOX 3342                                                                                MELVINDALE       MI 48122
TURLAND, FLOYD K          6680 BUNKER HILL DR                                                                        LANSING          MI 48906‐9135
TURLAY LEWIS R (439572)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                           STREET, SUITE 600
TURLAY, LEWIS R           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                           STREET, SUITE 600
TURLE JR, JACK G          9891 E IDLEWOOD DR                                                                         TWINSBURG       OH 44087‐1206
TURLEY FRANK L (429964)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                           STREET, SUITE 600
TURLEY JAMES              2301 W COLORADO AVE                                                                        ENID            OK 73703‐1202
TURLEY JAMES S (352019)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                           STREET, SUITE 600
TURLEY JR, RICHARD E      9425 W 200 N                                                                               NORMAN          IN   47264
TURLEY JR, SIMPSON        39 CAPEN BLVD                                                                              BUFFALO         NY   14214‐1205
TURLEY JR, THOMAS G       3205 S PEORIA DR                                                                           PERU            IN   46970‐7094
TURLEY JR, THOMAS GENE    3205 S PEORIA DR                                                                           PERU            IN   46970‐7094
TURLEY JR, VERNON C       716 N. GETTSBURG AVE                                                                       DAYTON          OH   45417‐1612
TURLEY JR, VERNON C       716 N GETTYSBURG AVE                                                                       DAYTON          OH   45417‐1612
TURLEY PATRICIA L         3013 HARBOUR DR                                                                            PALMYRA         NJ   08065‐2205
TURLEY SR, RICHARD E      719 E BOYDSTON MILL DR                                                                     NORTH WEBSTER   IN   46555‐9599
TURLEY WARREN (640605)    BRAYTON PURCELL                  PO BOX 6169                                               NOVATO          CA   94948‐6169
TURLEY, ALEXANDER M       6272 CRESCENT WAY DR                                                                       TROY            MI   48085‐1404
TURLEY, BETTY C           3422 MICHAEL DR                                                                            NEW CARLISLE    OH   45344‐9153
TURLEY, CHARLEE L         3833 SEIBER AVE                                                                            DAYTON          OH   45405‐1837
TURLEY, CHRISTOPHER J     394 COUNTY ROAD 1244                                                                       GARY            TX   75643‐4008
TURLEY, CLIFFORD N        3537W STONES CROSSING RD.                                                                  GREENWOOD       IN   46143
TURLEY, CORA E            11465 E STATE ROAD 334                                                                     ZIONSVILLE      IN   46077‐9328
TURLEY, DELORES M         1810 ALHAMBRA DR                                                                           ANDERSON        IN   46013‐2585
TURLEY, EARLINE           344 SPRUCE STREET SOUTHEAST                                                                GRAND RAPIDS    MI   49507‐3457
TURLEY, EVA M             13 CHESTER ST                                                                              BUFFALO         NY   14208‐1750
TURLEY, FRANK L           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                           STREET, SUITE 600
TURLEY, FRED A            3839 GRINDLEY PARK ST                                                                      DEARBORN        MI   48124‐3385
TURLEY, GEORGE            23023 PENN ST                                                                              DEARBORN        MI   48124‐3533
TURLEY, GLORIA J          PO BOX 205                                                                                 NEW LEBANON     OH   45345‐0205
TURLEY, JAMES S           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                           STREET, SUITE 600
TURLEY, JANICE M.         21253 YONTZ #27                                                                            BROOKSVILLE     FL   34601‐1646
TURLEY, JANICE M.         21253 YONTZ RD LOT 27                                                                      BROOKSVILLE     FL   34601‐1646
TURLEY, JERRY F           12920 S LOWE AVE                                                                           CHICAGO         IL   60628‐7435
TURLEY, JIM H             2324 S 8TH ST                                                                              KANSAS CITY     KS   66103‐1802
TURLEY, JOHN L            6951 SHADY KNOLL DR SE                                                                     CALEDONIA       MI   49316‐8514
TURLEY, LACHON D          2621 DELLA DR                                                                              DAYTON          OH   45408‐2429
TURLEY, LONNIE            715 SAINT ROSE AVE                                                                         SAINT ROSE      LA   70087‐3722
TURLEY, MARIE B           6640 US HIGHWAY 441 SE                                                                     OKEECHOBEE      FL   34974‐9505
TURLEY, MARIE B           6640 HWY 441 S.E.                                                                          OKEECHOBEE      FL   34974‐9505
TURLEY, MICHAEL A         6060 HICKORY LN                                                                            DEXTER          MI   48130‐9654
TURLEY, MICHAEL A.        6060 HICKORY LN                                                                            DEXTER          MI   48130‐9654
TURLEY, RANDALL B         809 BURTON AVE                                                                             YOUNGWOOD       PA   15697‐1019
TURLEY, RHONDA L          3344 SYCAMORE LN                                                                           KOKOMO          IN   46901‐3827
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                           Part 37 of 40 Pg 589 of 901
Name                    Address1                        Address2              Address3       Address4         City             State Zip
TURLEY, RICHARD N       394 COUNTY ROAD 1244                                                                  GARY              TX 75643‐4008
TURLEY, RONALD G        1938 W MADISON ST                                                                     KOKOMO            IN 46901
TURLEY, ROY L           3603 CLARKS CREEK RD LOT 94                                                           PLAINFIELD        IN 46168‐3221
TURLEY, STEVE           PO BOX 416                                                                            SHARPSVILLE       IN 46068
TURLEY, VICKIE L        5620 WIGWAM COURT                                                                     KOKOMO            IN 46902‐5475
TURLEY, VICKIE L        5620 WIGWAM CT                                                                        KOKOMO            IN 46902‐5475
TURLEY, WARREN          BRAYTON PURCELL                 PO BOX 6169                                           NOVATO            CA 94948‐6169
TURLEY,LACHON D         2621 DELLA DR                                                                         DAYTON            OH 45417‐4429
TURLINGTON, J L         311 N PATTON AVE                                                                      ROCKWOOD          TN 37854‐2735
TURLINGTON, ROBERT P    37 OAK DR                                                                             HAMLIN            NY 14464‐9543
TURMAN III, CHARLIE B   2407 STRATHMORE RD                                                                    LANSING           MI 48910‐2858
TURMAN VICKIE           TURMAN, VICKIE
TURMAN, ALMA            9123 S WABASH AVE                                                                     CHICAGO          IL   60619‐6622
TURMAN, BARBARA LEE     3978 RIDGELAND DRIVE                                                                  DOUGLASVILLE     GA   30135‐3144
TURMAN, CHAD A          3110 SHADY LN                                                                         GRANBURY         TX   76049‐7562
TURMAN, CHAD AARON      3110 SHADY LN                                                                         GRANBURY         TX   76049‐7562
TURMAN, DARRELL C       27593 WINCHESTER TER                                                                  BROWNSTOWN TWP   MI   48183‐5935
TURMAN, ERNEST M        300 O HIGHWAY 16                                                                      SHARPSBURG       GA   30277
TURMAN, HAZEL           4900 FAIRFIELD AVE                                                                    FAIRFIELD        OH   45014
TURMAN, JOHN            PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON          MS   39206‐5621
TURMAN, KENNETH O       416 AINSWORTH CIR                                                                     YPSILANTI        MI   48197‐5343
TURMAN, LARRY G         5013 WEDGEFIELD RD                                                                    GRANBURY         TX   76049‐4022
TURMAN, LAWANDA A       35462 ELMWOOD CT                                                                      CLINTON TWP      MI   48035‐2166
TURMAN, RODNEY C        17 PONTIAC ST                                                                         OXFORD           MI   48371‐4856
TURMATIC SYSTEMS INC    11600 ADIE RD                                                                         MARYLAND HTS     MO   63043‐3510
TURMEL, ERNEST E        15092 MASONIC BLVD                                                                    WARREN           MI   48088‐7920
TURMEL, KATHERINE       31019 DORCHESTER APT 375                                                              NEW HUDSON       MI   48165‐9447
TURMELL JR, ERNEST J    2961 N FRASER RD                                                                      PINCONNING       MI   48650‐9429
TURMELL, FLOYD J        2896 STRATFORD DR                                                                     BAY CITY         MI   48706‐1530
TURMELL, JOSEPH F       4691 ELM DR                                                                           BAY CITY         MI   48706‐9407
TURMELL, NEIL A         O‐12971 KENOWA AVE NW                                                                 GRAND RAPIDS     MI   49534‐1009
TURMELL, ROBERT M       5276 OLD HAVERHILL CT                                                                 GRAND BLANC      MI   48439‐8736
TURMELL, STEVEN C       4418 ALTADENA DR                                                                      BAY CITY         MI   48706‐2514
TURMON, BILLY G         2530 BAKER RD NW                                                                      ATLANTA          GA   30318‐6140
TURMON, BRIAN K         509 PONDEROSA AVE APT 7                                                               O FALLON         IL   62269‐2568
TURN TECH INC           33901 RIVIERA                                                                         FRASER           MI   48026‐1614
TURNAGE CORR I I        4929 GENERAL RUSK DR                                                                  BOSSIER CITY     LA   71112‐4759
TURNAGE TRACY           TURNAGE, TRACY                  100 WEST RD STE 300                                   TOWSON           MD   21204‐2370
TURNAGE, BRUCE G        2541 ATHENA DR                                                                        TROY             MI   48083‐2410
TURNAGE, CHAD           107 JANIS ST                                                                          WEST MONROE      LA   71292‐9428
TURNAGE, CHAD E         107 JANIS ST                                                                          WEST MONROE      LA   71292‐9428
TURNAGE, CHARLES A      416 W BOSTON AVE                                                                      YOUNGSTOWN       OH   44511‐3120
TURNAGE, DEBRA C        515 S LAKE ST                                                                         WASKOM           TX   75692‐9572
TURNAGE, DEBRA CAROL    515 S LAKE ST                                                                         WASKOM           TX   75692‐9572
TURNAGE, DUANE L        941 MANSELL DR                                                                        YOUNGSTOWN       OH   44505‐2240
TURNAGE, FRANCES L      2257 VOLNEY RD                                                                        YOUNGSTOWN       OH   44511‐1472
TURNAGE, GARY E         2257 VOLNEY RD                                                                        YOUNGSTOWN       OH   44511‐1472
TURNAGE, HUBERT M       SHANNON LAW FIRM                100 W GALLATIN ST                                     HAZLEHURST       MS   39083‐3007
TURNAGE, IRENE M        18019 STANSBURY                                                                       DETROIT          MI   48235‐2617
TURNAGE, JACQUELIN      2103 NEW NATCHITOCHES RD                                                              WEST MONROE      LA   71292‐2179
TURNAGE, JACQUELIN C    2103 NEW NATCHITOCHES RD                                                              WEST MONROE      LA   71292‐2179
TURNAGE, MAE N          5210 THREE MILE DR                                                                    DETROIT          MI   48224‐2642
                         09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                              Part 37 of 40 Pg 590 of 901
Name                     Address1                              Address2                   Address3   Address4         City              State Zip
TURNAGE, MAE NORA        5210 THREE MILE DR                                                                           DETROIT            MI 48224‐2642
TURNAGE, MARILYN         25115 COLLINGWOOD ST                                                                         ROSEVILLE          MI 48066‐3958
TURNAGE, OLIVER F        2125 LAMBDEN RD                                                                              FLINT              MI 48532‐4643
TURNAGE, PRENTIS         PO BOX 15681                                                                                 FORT WAYNE         IN 46885‐5681
TURNAGE, SANDRA A        1393 KENNETH ST                                                                              YOUNGSTOWN         OH 44505‐3825
TURNAGE, ST.CLAIR        601 ALTAMONT AVE                                                                             SCHENECTADY        NY 12303
TURNAGE, WILEY           25115 COLLINGWOOD ST                                                                         ROSEVILLE          MI 48066‐3958
TURNAROUND LIMO          ATTN: SCOTT LANGE                     308 N COLUMBIAN ST APT 8                               BAY CITY           MI 48706‐2833
TURNAROUND MANAGEMENT    150 S WACKER DR STE 900                                                                      CHICAGO             IL 60606‐4107
ASSOCIATION
TURNAS, JIM              4466 SINGH DR                                                                                STERLING HTS      MI   48310‐5100
TURNAS, TOM A            196 PHEASANT RUN DR                                                                          TROY              MI   48098‐1796
TURNBACH, IRENE M        4 GARFIELD CT                                                                                NORTH BRUNSWICK   NJ   08902
TURNBAUGH, RON           INDIANA INSURANCE MEMBER OF LIBERTY   PO BOX 8041                                            WAUSAU            WI   54402‐8041
                         MUTUAL INSURANCE GROUP
TURNBEAUGH, WILLIAM A    331 VILLA TUSCANY CT                                                                         O FALLON          MO   63366‐4447
TURNBELL, RONALD A       17782 COTTONWOOD DR                                                                          MACOMB            MI   48042‐3523
TURNBERGER, MICHAEL E    107 KINGSTON DR                                                                              BEAR              DE   19701‐1524
TURNBILL, CHARLES J      229 MARSHMELLOW ST                                                                           WESTLAND          MI   48186‐6845
TURNBILL, JOHNNIE J      1212 FOREST HILL DR                                                                          HARRIMAN          TN   37748‐5038
TURNBLOM, JACK L         5869 LELAND DR                                                                               ANN ARBOR         MI   48105‐9523
TURNBLOOM, WILLIAM M     164 MEADOW CREEK SOUTH DR                                                                    WHITELAND         IN   46184‐9605
TURNBO, BILLY J          1397 N ROCK CHURCH RD                                                                        WARRENTON         MO   63383‐7811
TURNBO, WALTON D         264 CHESTNUT ST                                                                              SELMER            TN   38375‐3296
TURNBOUGH MARK           6333 FRANKLIN CREST DRIVE                                                                    EL PASO           TX   79912‐8152
TURNBOUGH MEEGAN         4312 HUNNING RD                                                                              HIGH RIDGE        MO   63049‐3201
TURNBOUGH, CLARENCE      SIMMONS FIRM                          PO BOX 521                                             EAST ALTON        IL   62024‐0519
TURNBOUGH, CLIFFORD W    5256 SKYLINE CT                                                                              IMPERIAL          MO   63052‐1712
TURNBOUGH, JACK E        152 HIGHWAY V                                                                                DAVISVILLE        MO   65456‐4003
TURNBOUGH, JAMES L       RR# 1                                 708 NO VERMONT                                         COLUMBUS          KS   66725
TURNBOUGH, KENNETH R     214 ALDERGATE DR                                                                             BONNE TERRE       MO   63628‐1402
TURNBOUGH, VIRGINIA M    205 W JFFERSON ST                                                                            POTOSI            MO   63664‐1830
TURNBOUGH, WILLIAM H     107 SHADYSIDE ST                                                                             BROOKHAVEN        MS   39601‐3048
TURNBOW JAMES (501742)   BILBREY & HYLIA                       8724 PIN OAK RD                                        EDWARDSVILLE      IL   62025‐6822
TURNBOW JR, MARVIN W     4438 N GENESEE RD                                                                            FLINT             MI   48506‐1519
TURNBOW, BESSIE          PO BOX 22                                                                                    EDGAR             MT   59026‐0022
TURNBOW, DEBORAH A       15950 MICHIGAN AVE.                                                                          SOUTH HOLLAND     IL   60473
TURNBOW, JAKE H          2139 SAVOY AVENUE                                                                            BURTON            MI   48529‐2173
TURNBOW, JAMES           BILBREY & HYLIA                       8724 PIN OAK RD                                        EDWARDSVILLE      IL   62025‐6822
TURNBOW, JAMES A         PO BOX 672                                                                                   HIGHLAND          MI   48357‐0672
TURNBOW, JERALDINE       8536 S WINCHESTER AVE                                                                        CHICAGO           IL   60620‐6009
TURNBOW, JESSE G         101 TYRONE RD                                                                                COMMERCE          GA   30530‐7058
TURNBOW, JUDY A          4205 LEERDA ST                                                                               FLINT             MI   48504‐2180
TURNBOW, KENNETH         1502 DUDLEY WALT                      APT # F                                                CINCINNATI        OH   45214
TURNBOW, KENNETH L       13277 JENNINGS RD                                                                            LINDEN            MI   48451‐8409
TURNBOW, LLOYD A         5223 N GALE RD                                                                               DAVISON           MI   48423‐8956
TURNBOW, LLOYD ALTON     5223 NORTH GALE ROAD                                                                         DAVISON           MI   48423‐8956
TURNBOW, MARVIN W        3159 S TERM ST                                                                               BURTON            MI   48529‐1019
TURNBOW, MARY M          3159 S TERM                                                                                  BURTON            MI   48529‐1019
TURNBOW, NANCY           3423 MAPLE                                                                                   BURTON            MI   48529
TURNBOW, RICHARD L       598 POPLAR ST                                                                                CLIO              MI   48420‐1262
TURNBOW, STEVEN A        1483 OVERTON CT                                                                              ROCKVALE          TN   37153‐4004
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                     Part 37 of 40 Pg 591 of 901
Name                              Address1                         Address2                         Address3                Address4         City                  State Zip
TURNBOW, THOMAS Q                 4205 LEERDA ST                                                                                             FLINT                  MI 48504‐2180
TURNBOW, THOMAS T                 4280 MOUNT LEBANON CHURCH RD                                                                               ALVATON                KY 42122‐9564
TURNBULL IV, GEORGE W             32260 MARBLEHEAD RD                                                                                        FARMINGTON             MI 48336‐2454
TURNBULL JR, ROBERT A             2802 PLAINFIELD AVE                                                                                        FLINT                  MI 48506‐1855
TURNBULL STEPHANIE                TURNBULL, STEPHANIE              120 WEST MADISON STREET , 10TH                                            CHICAGO                 IL 60602
                                                                   FLOOR
TURNBULL, ALEX S                  1457 WESTBROOKE DR                                                                                         LAPEER                MI   48446‐1259
TURNBULL, BETTY M                 7996 FLORAL DR                                                                                             WEEKI WACHEE          FL   34607‐2227
TURNBULL, BETTY S                 3409 POWERS WAY                                                                                            YOUNGSTOWN            OH   44502‐3011
TURNBULL, BILLY T                 4756 SOUTH PARADISE ROAD                                                                                   FALMOUTH              MI   49632‐9611
TURNBULL, DALE E                  1099 STATE ROUTE 89                                                                                        ASHLAND               OH   44805‐9505
TURNBULL, DIANA C                 1250 N COATS RD                                                                                            OXFORD                MI   48371‐3104
TURNBULL, DIANA C                 1250 NORTH COAT RD.                                                                                        OXFORD                MI   48371
TURNBULL, GARY                    175 ORCHARD CREEK DR                                                                                       ATHENS                GA   30606‐3197
TURNBULL, GARY H                  2203 FAYE DR                                                                                               ANN ARBOR             MI   48103‐3414
TURNBULL, GLADYS                  6423 WESTERN WAY                                                                                           FLINT                 MI   48532‐2052
TURNBULL, JENNIFER R              4245 E ELM GROVE RD                                                                                        BLUFFTON              IN   46714‐9312
TURNBULL, JOHN R                  4982 18TH CT SW                                                                                            NAPLES                FL   34116‐5712
TURNBULL, JOYCE S                 7426 PINE VIEW DR                                                                                          TOLEDO                OH   43617‐2279
TURNBULL, KAREN A                 3268 VAN CAMPEN                                                                                            DRAYTON PLNS          MI   48020
TURNBULL, KENDALL G               1020 FITZROY CIRCLE                                                                                        SPRING HILL           TN   37174‐8528
TURNBULL, LINDALL M               4756 SOUTH PARADISE ROAD                                                                                   FALMOUTH              MI   49632‐9611
TURNBULL, M K                     8682 CLARRIDGE RD                                                                                          CLARKSTON             MI   48348‐2518
TURNBULL, MARJORIE P              3905 22ND AVE                                                                                              ROCK ISLAND           IL   61201‐4926
TURNBULL, MARY C                  4402 BALDWIN ROAD                                                                                          HOLLY                 MI   48442‐9362
TURNBULL, MILDRED W               1 STRECKER RD APT F313                                                                                     ELLISVILLE            MO   63011
TURNBULL, NANCY A                 1401 GLENEAGLES DR                                                                                         KOKOMO                IN   46902‐3189
TURNBULL, PAUL F                  46651 CAMELIA DR                                                                                           CANTON                MI   48187‐1465
TURNBULL, RAYMOND E               20127 RENSELLOR ST                                                                                         LIVONIA               MI   48152‐2437
TURNBULL, REBEKAH L               2329 OBETZ DR APT A                                                                                        BEAVERCREEK           OH   45434‐7189
TURNBULL, RICHARD L               1591 TELEGRAPH DR                                                                                          PONTIAC               MI   48340‐1034
TURNBULL, RONALD L                3380 GRANGE HALL RD                                                                                        ORTONVILLE            MI   48462‐9016
TURNBULL, SHERMA K                11785 MARSHALL RD                                                                                          BIRCH RUN             MI   48415‐8740
TURNBULL, SHERMA KAY              11785 MARSHALL RD                                                                                          BIRCH RUN             MI   48415‐8740
TURNBULL, STACEY S                1020 FITZROY CIR                                                                                           SPRING HILL           TN   37174‐8528
TURNBULL, STEPHANIE               KROHN & MOSS ‐ FL                120 WEST MADISON STREET, 10TH                                             CHICAGO               IL   44114
                                                                   FLOOR
TURNBULL, SYDNEY                  6423 WESTERN WAY                                                                                           FLINT                 MI   48532‐2052
TURNBULL, THELMA L                11785 MARSHALL ROAD                                                                                        BIRCH RUN             MI   48415‐8740
TURNBULL, WILLIAM R               3801 SPRING RD                                                                                             SPRUCE                MI   48762‐9753
TURNER SHANNON L                  GORI JULIAN & ASSOCIATES PC      156 N MAIN ST                                                             EDWARDSVILLE          IL   62025
TURNER & CO PSP                   # B77100P293                     C/O OPPENHEIMER                  63 KERCHEVAL AVE #300                    GROSSE POINTE FARMS   MI   48236
TURNER AARON                      500 DEER RIDGE DRIVE NORTHWEST                                                                             BONDURANT             IA   50035‐1318
TURNER ALBERT ELBERT              2869 MEADE DR                                                                                              GRAND PRAIRIE         TX   75052‐8344
TURNER ASBER (406117)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK               VA   23510
                                                                   STREET, SUITE 600
TURNER AUTOMOTIVE                 4201 CHAMBERS HILL RD                                                                                      HARRISBURG            PA   17111‐2419
TURNER AUTOMOTIVE CAMP HILL INC   3400 HARTZDALE DR                                                                                          CAMP HILL             PA   17011‐7213
TURNER AUTOMOTIVE CORPORATION     4201 CHAMBERS HILL RD                                                                                      HARRISBURG            PA   17111‐2419
TURNER AUTOMOTIVE NEW HOLLAND,    LEE TURNER                       612 E MAIN ST                                                             NEW HOLLAND           PA   17557‐1425
INC.
                                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                                          Part 37 of 40 Pg 592 of 901
Name                                    Address1                         Address2                          Address3                  Address4         City               State Zip
TURNER AUTOMOTIVE PERRY COUNTY,         LEE TURNER                       RTE 274                                                                      LOYSVILLE           PA 17047
INC.
TURNER AUTOMOTIVE, INC.                 ROSS TURNER                      2262 E MAIN ST                                                               MONTROSE           CO    81401‐3832
TURNER AUTOMOTIVE, INC.                 2262 E MAIN ST                                                                                                MONTROSE           CO    81401‐3832
TURNER BEAL                             2429 ZIMMERMAN ST                                                                                             FLINT              MI    48503‐3147
TURNER BOISSEAU                         155 N MARKET ST STE 900                                                                                       WICHITA            KS    67202‐1828
TURNER BROADCASTING SYSTEM INC          C/O TIFFANY STRELOW COBB         VORYS, SATER, SEYMOUR AND PEASE 52 EAST GAY STREET                           COLUMBUS           OH    43215
AND/OR AND RELEVANT SUBSIDIARIES                                         LLP
TURNER BROADCASTING SYSTEM, INC.        JOHN KAVULIA                     PO BOX 105366                                                                ATLANTA            GA    30348‐5366
TURNER BUICK PONTIAC GMC                612 E MAIN ST                                                                                                 NEW HOLLAND        PA    17557‐1425
TURNER CA CONSTRUCTION CO               6201 PROCTER EXT                                                                                              PORT ARTHUR        TX    77642‐0922
TURNER CARL WILLIAM (492197)            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD         OH    44067
                                                                         PROFESSIONAL BLDG
TURNER CHARLES                          TURNER, LINDA                    KROHN & MOSS ‐ IN                 120 WEST MADISON STREET                    CHICAGO             IL   60602
                                                                                                           10TH FLOOR
TURNER CHARLES                          TURNER, CHARLES                  120 WEST MADISON STREET 10TH                                                 CHICAGO             IL   60602
                                                                         FLOOR
TURNER CHARLES H (ESTATE OF) (633060)   ANGELOS PETER G                  100 N CHARLES STREET , ONE                                                   BALTIMORE          MD 21201
                                                                         CHARLES CENTER
TURNER CHEVROLET CO.                    RTE 274                                                                                                       LOYSVILLE          PA    17047
TURNER CHEVROLET‐BUICK                  1800 HWY 14 E                                                                                                 SELMA              AL    36703
TURNER CHEVROLET‐CADILLAC CO INC        1005 E MAIN ST                                                                                                PARK HILLS         MO    63601‐2719
TURNER CHEVROLET‐CADILLAC CO INC        JOSEPH TURNER                    1005 E MAIN ST                                                               PARK HILLS         MO    63601‐2719
TURNER CHRISTY                          TURNER, CHRISTY                  224 EAST VINE ST APT 9                                                       MONPELIER          IN    47359
TURNER COGGINS                          401 N SPRUCE ST                                                                                               PARK HILLS         MO    63601‐2273
TURNER CONLEY (ESTATE OF) (661274)      COONEY & CONWAY                  120 NORTH LASALLE STREET , 30TH                                              CHICAGO            IL    60602
                                                                         FLOOR
TURNER CONSTRUCTION COMPANY             SUE SIEGEL                       4 SKYLINE DRIVE                                                              HAWTHORNE          NY 10532
TURNER D S                              C/O GUY PORTER & MALOUF          4670 MCWILLIE DRIVE                                                          JACKSON            MS 39206
TURNER D S (504994)                     (NO OPPOSING COUNSEL)
TURNER DANIEL LEE                       EDWARD O MOODY PA                801 WEST 4TH STREET                                                          LITTLE ROCK        AR    72201
TURNER DARRYL D                         12584 ATWOOD CT APT 415                                                                                       RANCHO CUCAMONGA   CA    91739‐1852
TURNER DAVID E                          196 W KOCHHEISER RD                                                                                           BELLVILLE          OH    44813‐9294
TURNER DAVIS                            2208 BAY ST                                                                                                   CHARLOTTE          NC    28205‐6010
TURNER DERRICK L                        DL TURNER CARICATURES & COMEDY   319 BRONCO WAY                                                               LANSING            MI    48917‐2729
TURNER DICK                             5758 WOLFF RD                                                                                                 MEDINA             OH    44256‐7101
TURNER DONALD & DARLENE                 343 OAK KNOLL AVE                                                                                             NEWTON FALLS       OH    44444‐1736
TURNER DONALD E (467097)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA    23510
                                                                         STREET, SUITE 600
TURNER DORIAN                           TURNER, GEORGE                   KIMMEL & SILVERMAN                30 EAST BUTLER PIKE                        AMBLER             PA 19002
TURNER DORIAN                           TURNER, DORIAN                   30 E BUTLER AVE                                                              AMBLER             PA 19002‐4514
TURNER DOYLE T                          C/O GUY PORTER & MALOUF          4670 MCWILLIE DRIVE                                                          JACKSON            MS 39206
TURNER DOYLE T (504995)                 (NO OPPOSING COUNSEL)
TURNER ESTATE OF KENNETH L              21110 AVERETT LN                                                                                              CITRONELLE         AL    36522‐5134
TURNER ESTATE OF, TRAVIS C
TURNER EUGENE (ESTATE OF) (638210)      DILLON JOHN F PLC                81174 JIM LOYD RD                                                            FOLSOM             LA 70437‐7008
TURNER EUGENE D                         C/O GUY PORTER & MALOUF          4670 MCWILLIE DRIVE                                                          JACKSON            MS 39206
TURNER EUGENE D (504996)                (NO OPPOSING COUNSEL)
TURNER EXPOSITION                       ATTN JOHN W TURNER               PO BOX 1674                                                                  RIVERVIEW          FL 33568‐1674
TURNER FIFE                             3520 BAGSHAW DR                                                                                               SAGINAW            MI 48601‐5207
TURNER FRANK R (349835)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA 23510
                                                                         STREET, SUITE 600
                                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                           Part 37 of 40 Pg 593 of 901
Name                                  Address1                           Address2                        Address3        Address4         City                State Zip
TURNER GENE M SR (ESTATE OF) (644149) GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK              VA 23510
                                                                         STREET, SUITE 600
TURNER GERALD D (414917)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510
                                                                         STREET, SUITE 600
TURNER GLEN E (355279)                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510
                                                                         STREET, SUITE 600
TURNER GRANVIL MAURICE (308819)         PEARLMAN TREVOR                  SPB BUILDING , 3110 WEBB AVENUE                                  DALLAS              TX   75205

TURNER GRANVIL MAURICE (308819) ‐       PEARLMAN TREVOR                  SPB BUILDING , 3110 WEBB AVENUE                                  DALLAS              TX   75205
BRUCE JAMES LEMUEL
TURNER GRANVIL MAURICE (308819) ‐       PEARLMAN TREVOR                  SPB BUILDING , 3110 WEBB AVENUE                                  DALLAS              TX   75205
CLOHERTY EARL
TURNER GRANVIL MAURICE (308819) ‐       PEARLMAN TREVOR                  SPB BUILDING , 3110 WEBB AVENUE                                  DALLAS              TX   75205
FRANTA ALVIN ALBERT
TURNER GRANVIL MAURICE (308819) ‐       PEARLMAN TREVOR                  SPB BUILDING , 3110 WEBB AVENUE                                  DALLAS              TX   75205
HOLLOWAY JOHN D
TURNER GRANVIL MAURICE (308819) ‐       PEARLMAN TREVOR                  SPB BUILDING , 3110 WEBB AVENUE                                  DALLAS              TX   75205
LOFTON EARNEST
TURNER GRANVIL MAURICE (308819) ‐       PEARLMAN TREVOR                  SPB BUILDING , 3110 WEBB AVENUE                                  DALLAS              TX   75205
MCDANIEL JASPER
TURNER GRANVIL MAURICE (308819) ‐       PEARLMAN TREVOR                  SPB BUILDING , 3110 WEBB AVENUE                                  DALLAS              TX   75205
SMITH VERNELLE
TURNER GROUP                            29 W LAWRENCE ST                                                                                  PONTIAC             MI   48342‐2183
TURNER H KEITH                          TURNER, H KEITH                  LOGAN & PURVIS                    PO BOX 4207                    GULFPORT            MS   39502
TURNER HENTON JR                        16729 ROSEMONT AVE                                                                                DETROIT             MI   48219‐4116
TURNER HINES                            672 E LITTLE CREEK RD                                                                             CEDAR HILL          TX   75104‐7212
TURNER II, GEORGE E                     12913 CEDAR ST                                                                                    LEAWOOD             KS   66209‐1850
TURNER II, RODNEY E                     948 BURLINGTON ST                                                                                 YOUNGSTOWN          OH   44510‐1261
TURNER III, ARTHELLA D                  438 ALLWEN DR                                                                                     DAYTON              OH   45406‐4813
TURNER III, ARTHELLA DERVA              438 ALLWEN DR                                                                                     DAYTON              OH   45406‐4813
TURNER III, JESSE E                     6331 7 PINES DR                                                                                   W CARROLLTON        OH   45449‐3063
TURNER III, LAMARL                      17305 JUDSON DR                                                                                   CLEVELAND           OH   44128‐2244
TURNER INDUSTRIES GROUP                 PO BOX 2750                                                                                       BATON ROUGE         LA   70821‐2750
TURNER INDUSTRIES GROUP                 2865 MASON AVE                                                                                    BATON ROUGE         LA   70805‐1298
TURNER INDUSTRIES GROUP, L.L.C.         DAVE LAUVE                       2865 MASON AVE                                                   BATON ROUGE         LA   70805‐1298
TURNER INDUSTRIES GROUP, LLC                                             2865 E MASON AVE                                                                     LA   70805
TURNER JACK                             2174 FOUR OAKS                                                                                    COMMERCE TOWNSHIP   MI   48382‐1247
TURNER JAMES (491344)                   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD          OH   44067
                                                                         PROFESSIONAL BLDG
TURNER JAMES E (405074)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510
                                                                         STREET, SUITE 600
TURNER JEFFREY                          TURNER, JEFFREY                  640 S SAN VICENTE BLVD STE 230                                   LOS ANGELES         CA   90048‐4654
TURNER JENNIFER                         TURNER, JENNIFER                 1930 E MARLTON PIKE SUITE Q29                                    CHERRY HILL         NJ   08003
TURNER JERON                            TURNER, JERON                    31057 W WARREN                                                   WESTLAND            MI   48185
TURNER JERRY D ESTATE OF                C/O BASS LAW FIRM                PO BOX 157                                                       EL RENO             OK   73036‐0157
TURNER JOHN                             4400 GRASS LAKE RD                                                                                WHITE LAKE          MI   48383‐1733
TURNER JOHN A JR (ESTATE OF) (501037)   EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR ,                                  NEW HAVEN           CT   06510
                                                                         265 CHURCH STREET
TURNER JOHN CORWIN                      EDWARD O MOODY                   801 WEST 4TH STREET                                              LITTLE ROCK         AR   72201
TURNER JOYCE                            1098 DAFFODIL DR                                                                                  WATERFORD           MI   48327‐1402
TURNER JR, ABRAHAM                      3756 HANEY RD                                                                                     DAYTON              OH   45416‐2055
TURNER JR, ATHER                        APT L                            6604 HERON NECK DRIVE                                            INDIANAPOLIS        IN   46217‐8733
                          09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                           Part 37 of 40 Pg 594 of 901
Name                      Address1                      Address2                      Address3                  Address4         City            State Zip
TURNER JR, ATHER          6651 SONESTA DR                                                                                        INDIANAPOLIS     IN 46217
TURNER JR, BUFORD         2314 OAKTREE DR                                                                                        FAIRFIELD        OH 45014‐3938
TURNER JR, CLARENCE       5589 SCHIERING DR                                                                                      FAIRFIELD        OH 45014‐2480
TURNER JR, CLAYTON        2947 STONEGATE DRIVE                                                                                   FLINT            MI 48507‐2174
TURNER JR, CLIFTON        2801 CIRCLE DR                                                                                         FLINT            MI 48507‐4318
TURNER JR, DOUGLASS       1518 RIDGESIDE AVE                                                                                     BOWLING GREEN    KY 42104‐4711
TURNER JR, EARNEST        517 NE OLYMPIC CT                                                                                      LEES SUMMIT      MO 64064‐1306
TURNER JR, EARNEST        8402 E 92ND TER                                                                                        KANSAS CITY      MO 64138‐4341
TURNER JR, EDWIN L        23 VIOLA AVE                                                                                           LEONARDO         NJ 07737‐1461
TURNER JR, ERNEST O       16207 SAINT MARYS ST                                                                                   DETROIT          MI 48235‐3647
TURNER JR, GLENN W        9096 STATE ROUTE 571                                                                                   ARCANUM          OH 45304‐9647
TURNER JR, HILTON A       1513 BUICK LN                                                                                          KOKOMO           IN 46902‐2523
TURNER JR, HOLDEN         6713 W DUNBAR RD                                                                                       MONROE           MI 48161‐9036
TURNER JR, HOWARD W       4533 GREENWICH VIL. AVE.                                                                               DAYTON           OH 45406‐2409
TURNER JR, ISAAC          15009 BERLIN STATION RD                                                                                BERLIN CENTER    OH 44401‐9617
TURNER JR, JACK W         2174 FOUR OAKS                                                                                         COMMERCE TWP     MI 48382‐1247
TURNER JR, JAMES E        139 BUNCHE BOULEVARD                                                                                   WILMINGTON       DE 19801‐5758
TURNER JR, JAMES E        1622 HILL ST                                                                                           ANDERSON         IN 46012‐2426
TURNER JR, JAMES K        11616 E 38TH TER S                                                                                     INDEPENDENCE     MO 64052‐2504
TURNER JR, JAMES W        5949 SUMMIT PL                                                                                         SAINT LOUIS      MO 63147‐1118
TURNER JR, JESSE          120 N EDITH ST APT 421                                                                                 PONTIAC          MI 48342‐2576
TURNER JR, JESSE          2461 ORANGE AVE                                                                                        MORAINE          OH 45439‐2839
TURNER JR, JIMMIE L       5655 BAKER RD                                                                                          BRIDGEPORT       MI 48722‐9594
TURNER JR, JIMMY          208 CAMELOT DR                                                                                         COLLEGE PARK     GA 30349‐6504
TURNER JR, JOHN R         5690 E CENTER VILLAGE DR                                                                               TUCSON           AZ 85750‐1730
TURNER JR, JOSEPH W       5365 W 200 N                                                                                           ANDERSON         IN 46011‐9147
TURNER JR, LAMARL         2415 MALDEN RD                                                                                         CLEVELAND        OH 44121‐1104
TURNER JR, LAWSON L       PO 764794                                                                                              DALLAS           TX 75376
TURNER JR, LC             1409 CRAPO ST                                                                                          SAGINAW          MI 48601‐3029
TURNER JR, LEANDER C      7022 S PARK DR                                                                                         SAVAGE           MN 55378‐3630
TURNER JR, LETCHER        1239 WILEY ST                                                                                          FAIRBORN         OH 45324‐3276
TURNER JR, LLOYD L        20157 APPOLINE ST                                                                                      DETROIT          MI 48235‐1120
TURNER JR, LOUIS          1540 ALWILDY AVE                                                                                       DAYTON           OH 45408‐2610
TURNER JR, LYMAN          6111 5TH ST                                                                                            MAYVILLE         MI 48744‐9599
TURNER JR, MILBURN E      29107 SE OUTER RD                                                                                      HARRISONVILLE    MO 64701‐6328
TURNER JR, OSBORN J       PO BOX 18112                                                                                           SHREVEPORT       LA 71138‐1112
TURNER JR, OSBORN JAMES   PO BOX 18112                                                                                           SHREVEPORT       LA 71138‐1112
TURNER JR, OWEN           1173 CHARLES AVE                                                                                       FLINT            MI 48505‐1641
TURNER JR, OWEN           107 MAPLE DR                                                                                           SMITHVILLE       NC 27577
TURNER JR, PERCY          5625 BOOTH AVE                                                                                         KANSAS CITY      MO 64129‐2660
TURNER JR, PHILLIP        11 NORTH WATERVIEW DRIVE                                                                               PALM COAST       FL 32137‐1622
TURNER JR, PHILLIP        11 N WATERVIEW DR                                                                                      PALM COAST       FL 32137‐1622
TURNER JR, ROBERT         LYNNE KIZIS ESQ               WILENTZ GOLDMAN AND SPITZER   90 WOODBRIDGE CENTER DR                    WOODBRIDGE       NJ 07095

TURNER JR, ROBERT         430 MAXWELL RD                                                                                         PONTIAC         MI   48342‐1749
TURNER JR, ROBERT A       6861 CEDAR VALLEY COURT                                                                                DAYTON          OH   45414‐2169
TURNER JR, ROBERT D       9883 SE 178TH PL                                                                                       SUMMERFIELD     FL   34491‐8415
TURNER JR, ROBERT I       5136 REID RD                                                                                           SWARTZ CREEK    MI   48473‐9418
TURNER JR, ROBERT L       3809 W BELOIT NEWARK RD                                                                                BELOIT          WI   53511‐8499
TURNER JR, ROBERT W       509 CLOVERVIEW LN                                                                                      HOWELL          MI   48843‐7544
TURNER JR, TALBERT        150 ELAINE DR                                                                                          FRANKLIN        OH   45005‐1513
TURNER JR, THOMAS W       31619 FAIRFIELD DR                                                                                     WARREN          MI   48088‐7004
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                         Part 37 of 40 Pg 595 of 901
Name                                Address1                           Address2                          Address3              Address4         City              State Zip
TURNER JR, WALTER                   3444 CARDINAL DR                                                                                            SAGINAW            MI 48601‐5711
TURNER JR, WALTER R                 11558 TIMBER RIDGE DR                                                                                       KEITHVILLE         LA 71047‐9044
TURNER JR, WALTER ROBERT            11558 TIMBER RIDGE DR                                                                                       KEITHVILLE         LA 71047‐9044
TURNER JR, WILL P                   601 TREE VIEW DR                                                                                            CENTERVILLE        OH 45459‐4333
TURNER JR, WILLIAM                  148 N GLENWOOD AVE                                                                                          PONTIAC            MI 48342‐1505
TURNER JR, WILLIAM C                6248 MANTZ AVE                                                                                              DAYTON             OH 45427‐1831
TURNER JR, WILLIAM D                1302 AGGIE LN                                                                                               INDIANAPOLIS       IN 46260‐4096
TURNER JR, WILLIAM E                1514 COUNTRYSIDE DR                                                                                         GREENSBORO         NC 27405‐3730
TURNER JR, WILLIAM F                1377 EAGLES PERCH RD                                                                                        BALL GROUND        GA 30107‐3039
TURNER JR, WILLIE                   1419 N LAWLER AVE                                                                                           CHICAGO             IL 60651‐1518
TURNER JR, WILLIE L                 2696 CASTANADA CIR                                                                                          FORT WORTH         TX 76112‐6123
TURNER JR, WILLIE LEE               2696 CASTANADA CIR                                                                                          FORT WORTH         TX 76112‐6123
TURNER JR., DONALD J                3150 NORTHEAST 36TH AVE            LOT 150                                                                  OCALA              FL 34479
TURNER JR., DONALD J                29151 N FOSTORIA RD                                                                                         MILLBURY           OH 43447‐9411
TURNER JR., DONALD JAY              29151 N FOSTORIA RD                                                                                         MILLBURY           OH 43447‐9411
TURNER JR., RICKEY L                APT 307                            3150 WOODVIEW RIDGE DRIVE                                                KANSAS CITY        KS 66103‐3666
TURNER JR., THOMAS                  5303 42ND AVE W                                                                                             BRADENTON          FL 34209‐6719
TURNER JUDITH & JOSEPH              2209 STUTTS RD                                                                                              ASHEBORO           NC 27205‐2243
TURNER KATHY                        7203 SHOCKLEY CT                                                                                            FORT WASHINGTON    MD 20744‐1711
TURNER LARRY (448347)               BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                            NORTHFIELD         OH 44067
                                                                       PROFESSIONAL BLDG
TURNER LARRY W (481314)             KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                            CLEVELAND         OH 44114
                                                                       BOND COURT BUILDING
TURNER LAWRENCE (492198)            BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                            NORTHFIELD        OH 44067
                                                                       PROFESSIONAL BLDG
TURNER LEATHA MAE                   EDWARD O MOODY PA                                                    801 WEST 4TH STREET                    LITTLE ROCK       AR    72201
TURNER LINDSEY (356330)             ANGELOS PETER G LAW OFFICE         115 BROADWAY FRNT 3                                                      NEW YORK          NY    10006‐1638
TURNER LONDELL (644878)             BRAYTON PURCELL                    PO BOX 6169                                                              NOVATO            CA    94948‐6169
TURNER LOUIS M (439573)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA    23510
                                                                       STREET, SUITE 600
TURNER LOWELL                       ICO THE LANIER LAW FIRM P C        6810 FM 1960 WEST                                                        HOUSTON           TX 77069
TURNER MARISA                       TURNER, MARISA                     30 EAST BUTLER PIKE , SUITE 310                                          AMBLER            PA 19002
TURNER MELVIN K (408710)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA 23510
                                                                       STREET, SUITE 600
TURNER MORRISON                     3000 MARKET ST                                                                                              PENDLETON          IN   46064‐9028
TURNER MOTOR COMPANY,               WILLIAM TURNER                     1800 HWY 14 E                                                            SELMA              AL   36703
INCORPORATED
TURNER NATHANIEL O JR (439574)      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA 23510
                                                                       STREET, SUITE 600
TURNER NEAL F (496679)              MCMANAMY DOUGLAS P LAW OFFICE OF   24 DRAYTON STREET                                                        SAVANNAH          GA 31401

TURNER NEAL F (496679)              MOTLEY RICE                        1750 JACKSON ST                                                          BARNWELL          SC    29812‐1546
TURNER PAUL                         5223 SEAVIEW AVE                                                                                            CASTRO VALLEY     CA    94546‐1646
TURNER RAYMOND                      269 CANDLEWOOD MOUNTAIN RD                                                                                  NEW MILFORD       CT    06776‐5803
TURNER RAYMOND F (429965)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA    23510
                                                                       STREET, SUITE 600
TURNER REID DUNCAN LOOMER & PATTON ATTN: RODNEY E. LOOMER, ESQ.        P.O. BOX 4043                                                            SPRINGFIELD       MO 65808
PC
TURNER REID DUNCAN LOOMER & PATTON 1355 E BRADFORD PKWY STE A                                                                                   SPRINGFIELD       MO 65804‐4200
PC
TURNER REID DUNCAN LOOMER & PATTON ATTN: RODNEY E. LOOMER, ESQ.        PO BOX 4043                                                              SPRINGFIELD       MO 65808‐4043
PC
                                   09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                       Part 37 of 40 Pg 596 of 901
Name                               Address1                             Address2                        Address3                      Address4         City              State Zip
TURNER REID DUNCAN LOOMER & PATTON RODNEY E. LOOMER                     PO BOX 4043                                                                    SPRINGFIELD        MO 65808‐4043
PC
TURNER RICHARD                     8537 VANGUARD LANE                                                                                                  INDIANAPOLIS      IN   46239‐7925
TURNER RICHARD & JANET             107 PALMETTO DRIVE                                                                                                  GEORGETOWN        TX   78633‐5355
TURNER ROBERT                      JK CHEVROLET                         1451 HIGHWAY 69 N                                                              NEDERLAND         TX   77627‐8017
TURNER ROBERT                      TURNER, ROBERT                       700 E MAIN ST STE 1600                                                         RICHMOND          VA   23219‐2604
TURNER ROBERT & JOYCE              7 MALAN AVE                                                                                                         BERLIN            NJ   08009‐1158
TURNER ROBERT L (497730)           ANGELOS PETER G                      100 N CHARLES STREET , ONE                                                     BALTIMORE         MD   21201
                                                                        CHARLES CENTER
TURNER ROGERS                     1041 OLIVE DR                                                                                                        HAMPTON           GA   30228‐3397
TURNER RONALD                     15068 CALLE DEL ORO                                                                                                  CHINO HILLS       CA   91709‐5069
TURNER ROSLYN                     14268 WESTGATE DR                                                                                                    REDFORD           MI   48239‐2857
TURNER SANITATION                 PO BOX 254                                                                                                           LAKE ORION        MI   48361‐0254
TURNER SANITATION                 ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 254                                                                     LAKE ORION        MI   48361‐0254
                                  AGENT
TURNER SANITATION INC             1149 RHODES RD                        PO BOX 254                                                                     LAKE ORION        MI   48360‐1147
TURNER SR, KENNETH L              2998 SE 69 HWY                                                                                                       LATHROP           MO   64465
TURNER SR, LENWOOD                127 GROVE TER                                                                                                        NEWARK            NJ   07106‐2057
TURNER SR, NICHOLAS T             515A BARRETT AVE                                                                                                     ATLANTIC CITY     NJ   08401‐2703
TURNER SR, SHERMAN                2240 ENON RD SW                                                                                                      ATLANTA           GA   30331‐7840
TURNER TAMMY                      TURNER, TAMMY                         8024 SHARP RD                                                                  POWELL            TN   37849‐3963
TURNER TERRY W (473142)           KELLEY & FERRARO LLP                  1300 EAST NINTH STREET , 1901                                                  CLEVELAND         OH   44114
                                                                        BOND COURT BUILDING
TURNER THOMAS & CYNTHIA &         ALEX SIMANOVSKY & ASSOCIATES          2300 HENDERSON MILL RD NE STE                                                  ATLANTA           GA 30345‐2704
                                                                        300
TURNER TIMOTHY M                  TURNER, TIMOTHY M                     TRAVELERS INSURANCE             PO BOX 3022                                    FALL RIVER        MA 02722
TURNER TODD                       TURNER, TODD                          275 HEATHER GLEN DR                                                            BOILING SPRINGS   SC 29316
TURNER TOMMY EDWARD (439575)      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA 23510
                                                                        STREET, SUITE 600
TURNER TRACIE L                   TURNER, TRACIE L                      PO BOX 1317                                                                    FLORENCE          SC 29503‐1317
TURNER TRANSPORTATION GROUP INC   AIRPORT INDUSTRIAL PARK                                                                                              HAGERSTOWN        MD 21740

TURNER W RENTZ JR TTEE            TURNER W RENTZ, JR. MD LLC 401K PSP   DTD 01/01/2005 FBO T RENTZ JR   2500 STARLING STREET, SUITE                    BRUNSWICK         GA 31520‐4270
                                                                                                        502
TURNER WARREN JR (629837)         GUY WILLIAM S                         PO BOX 509                                                                     MCCOMB            MS   39649‐0509
TURNER WILLIAM (497535)           BRAYTON PURCELL                       PO BOX 6169                                                                    NOVATO            CA   94948‐6169
TURNER WILSON                     604 MAGNOLIA RD                                                                                                      JOPPA             MD   21085‐4119
TURNER'S AUTO SERVICE             3155 UNION CHURCH RD SW                                                                                              STOCKBRIDGE       GA   30281‐5427
TURNER, A E                       668 ALAYNE CT                                                                                                        BRIGHTON          MI   48114‐9645
TURNER, AARON                     3982 17TH ST                                                                                                         ECORSE            MI   48229‐1310
TURNER, ADAM K                    5900 HAY RAKE HOLLOW CT                                                                                              GREGORY           MI   48137‐9487
TURNER, ADRIANE L                 13306 THORNRIDGE DRIVE                                                                                               GRAND BLANC       MI   48439‐8844
TURNER, ADRIANE LANEA             13306 THORNRIDGE DRIVE                                                                                               GRAND BLANC       MI   48439‐8844
TURNER, AGNES M                   3 EDEN AVE                                                                                                           TONAWANDA         NY   14150‐6105
TURNER, ALAN L                    210 E OLDFIELD LN APT A                                                                                              MUNCIE            IN   47303‐5929
TURNER, ALBERT D                  99 COOLIDGE AVE                                                                                                      LOCKPORT          NY   14094‐6016
TURNER, ALBERT F                  7308 HILLSBORO CT                                                                                                    CANTON            MI   48187‐2241
TURNER, ALBERT M                  1647 EXPOSITION BLVD                                                                                                 LOS ANGELES       CA   90018‐4453
TURNER, ALBREE C                  6509 HIGHWAY 172                                                                                                     HODGES            AL   35571‐3117
TURNER, ALEX H                    8532 N BLACKMER RD                                                                                                   VESTABURG         MI   48891‐9761
TURNER, ALFRED R                  12264 NE 139TH PL                                                                                                    FORT MC COY       FL   32134‐8085
TURNER, ALICE
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                          Part 37 of 40 Pg 597 of 901
Name                   Address1                        Address2                      Address3   Address4         City           State Zip
TURNER, ALLEN E        HC 77 BOX 39                                                                              HINTON          WV 25951‐9606
TURNER, ALLEN L        PO BOX 318                                                                                LAPEL           IN 46051‐0318
TURNER, ALMA B         11812 AVON AVE                                                                            CLEVELAND       OH 44105‐4345
TURNER, AMETHIA E      8048 CLOVERDALE AVE                                                                       FERNDALE        MI 48220‐2210
TURNER, AMETHIA E.     8048 CLOVERDALE AVE                                                                       FERNDALE        MI 48220‐2210
TURNER, ANDRE          2120 WALLIE ANN CT                                                                        LOUISVILLE      KY 40210‐2234
TURNER, ANDREA M       8002 JONQUIL DRIVE                                                                        TEXAS CITY      TX 77591‐3310
TURNER, ANDREW J       5027 RENAS RD                                                                             GLADWIN         MI 48624‐8939
TURNER, ANDREW V       5519 LATTY RD                                                                             LULA            GA 30554‐3240
TURNER, ANDY           703 WEST 4TH STREET                                                                       MARION          IN 46952‐3901
TURNER, ANGELA K       3928 KNOB CREEK OVERLOOK                                                                  INDIANAPOLIS    IN 46234‐1310
TURNER, ANGELIQUE M    2926 S ELECTRIC ST                                                                        DETROIT         MI 48217‐1131
TURNER, ANGELIQUE T    13955 WHITCOMB ST                                                                         DETROIT         MI 48227‐2124
TURNER, ANITA E        9337PARKVIEW CR.                                                                          GRAND BLANC     MI 48439
TURNER, ANITA E        9337 PARKVIEW CIR                                                                         GRAND BLANC     MI 48439‐8082
TURNER, ANN            4371 WEST 147 STREET                                                                      CLEVELAND       OH 44135
TURNER, ANN M          PO BOX 1375                                                                               TAOS            NM 87571
TURNER, ANNA B         635 N MAIN ST                                                                             DYER            TN 38330‐1013
TURNER, ANNA M         4210 HAMILTON SCIPIO RD                                                                   HAMILTON        OH 45013‐8214
TURNER, ANNA R         1220 RIDGE RD                                                                             HORSEHEADS      NY 14845‐9368
TURNER, ANNA S         7035 PRESTWICK CIR N                                                                      JACKSONVILLE    FL 32244‐6648
TURNER, ANNE M         1444 MCEWEN ST                                                                            BURTON          MI 48509‐2165
TURNER, ANNER L        6626 DARYLL DR                                                                            FLINT           MI 48505‐5418
TURNER, ANNER LOUISE   6626 DARYLL DR                                                                            FLINT           MI 48505‐5418
TURNER, ANNETTE        4012 LEXINGTON AVE                                                                        SAINT LOUIS     MO 63107‐2013
TURNER, ANNETTE W      PO BOX 602                                                                                BOGART          GA 30622
TURNER, ANNIE          PO BOX 7031                                                                               ROSELLE         NJ 07203‐0899
TURNER, ANNIE          LOT 19                          1410 WEST DRIVE                                           BETHALTO         IL 62010‐1087
TURNER, ANNIE M        3444 CARDINAL DR                                                                          SAGINAW         MI 48601‐5711
TURNER, ANNIE P        4955 BECKER DR.                                                                           DAYTON          OH 45427‐5427
TURNER, ANNIE R        643 E 4TH ST                                                                              LIMA            OH 45804‐2511
TURNER, ANTHONY E      217 NEWBURGH AVE                                                                          BUFFALO         NY 14215
TURNER, ANTHONY J      2923 EPPINGTON SOUTH DR                                                                   FORT MILL       SC 29708‐6949
TURNER, APRIL C        7448 ELRU DR                                                                              DAYTON          OH 45415‐1208
TURNER, APRIL L        10 OTTERBEIN AVE                                                                          DAYTON          OH 45406‐4930
TURNER, ARBEY W        17152 FLEMING ST                                                                          DETROIT         MI 48212‐1538
TURNER, ARCHIE         2589A FIELDSTONE VIEW LN SE                                                               CONYERS         GA 30013
TURNER, ARCHIE         2589 FIELDSTONE VIEW LN SE A                                                              CONYERS         GA 30013
TURNER, ARLISHA A      4043 JEFFERSON CT                                                                         YOUNGSTOWN      OH 44505
TURNER, ARTHELLA D     608 NORTH EPPINGTON DRIVE                                                                 DAYTON          OH 45426‐2518
TURNER, ARTHUR A       9409 MCQUADE ST                                                                           DETROIT         MI 48206‐1825
TURNER, ARTHUR J       540 W TYRRELL RD                                                                          MORRICE         MI 48857‐9679
TURNER, ARTHUR L       4030 BAYMAR DR                                                                            YOUNGSTOWN      OH 44511‐3439
TURNER, ARTIS ARLIE    3661 ASHTON COURT                                                                         GULF SHORES     AL 36542‐9095
TURNER, ARVADA J.      19 MYRON AVE                                                                              INDIANAPOLIS    IN 46241‐1323
TURNER, ASBER          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                       STREET, SUITE 600
TURNER, AUDRIE         12339 LONGVIEW                                                                            DETROIT        MI 48213‐1791
TURNER, AURTHUROLA     509 ARDMORE LN                                                                            IRONDALE       AL 35210‐2710
TURNER, B. J.
TURNER, BAILEY H       231 DALLAS NEBO RD                                                                        DALLAS         GA 30157‐8704
TURNER, BARBARA        1310 TROGDON LANE                                                                         BEDFORD        IN 47421‐8153
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 598 of 901
Name                  Address1                       Address2            Address3         Address4         City              State Zip
TURNER, BARBARA       1310 TROGDON LN                                                                      BEDFORD            IN 47421‐8153
TURNER, BARBARA A     608 N EPPINGTON DR                                                                   TROTWOOD           OH 45426‐2518
TURNER, BARBARA A     17336 GATEWAY CIR                                                                    SOUTHFIELD         MI 48075‐4711
TURNER, BARBARA A     5025 GEORGIA LN                                                                      WHITE BEAR LAKE    MN 55110‐6613
TURNER, BARBARA A     3609 DAY ROAD                                                                        LOCKPORT           NY 14094‐9450
TURNER, BARBARA ANN   17336 GATEWAY CIR                                                                    SOUTHFIELD         MI 48075‐4711
TURNER, BARBARA C     529 RUTH AVE                                                                         DAYTON             OH 45408‐1255
TURNER, BARBARA E     APT X10                        37456 WILLOW LANE                                     WESTLAND           MI 48185‐3342
TURNER, BARBARA G     15074 MONTE VISTA ST                                                                 DETROIT            MI 48238‐1625
TURNER, BARBARA J     18031 SAN JUAN DR                                                                    DETROIT            MI 48221‐2642
TURNER, BARBARA J     319 ANNA ST                                                                          DAYTON             OH 45417‐2320
TURNER, BARBARA J     906 DALLAS AVE SE                                                                    GRAND RAPIDS       MI 49507‐1323
TURNER, BARBARA L     401 E LEXINGTON RD                                                                   EATON              OH 45320‐1226
TURNER, BARBARA L     6636 FAIRFIELD ST                                                                    GARDEN CITY        MI 48135‐1676
TURNER, BARBARA W     PO BOX 128                                                                           MORGANTON          GA 30560‐0128
TURNER, BARRY         7654 GAYLE DR                                                                        FRANKLIN           OH 45005‐3811
TURNER, BARRY         8491 OLD PLANK RD                                                                    GRAND BLANC        MI 48439‐2011
TURNER, BEATRICE      668 LINDA VISTA DR                                                                   PONTIAC            MI 48342‐1650
TURNER, BEATRICE A    567 FOREST ST NE                                                                     WARREN             OH 44483‐3826
TURNER, BEATRICE A    567 FOREST ST. N.E.                                                                  WARREN             OH 44483‐3826
TURNER, BENNIE D      2720 HOLMES AVE                                                                      DAYTON             OH 45406‐4656
TURNER, BENNIE J      PO BOX 452                                                                           RISON              AR 71665‐3642
TURNER, BENNIE J      8599 CANTERBURY CT.                                                                  YPSILANTI          MI 48198‐3642
TURNER, BERNARD E     1120 NORTHWOOD DR                                                                    INKSTER            MI 48141‐1769
TURNER, BERNARD L     4362 TARENTUM DR                                                                     FLORISSANT         MO 63033‐6833
TURNER, BERNICE       17825 15 MILE RD APT 74                                                              CLINTON TWP        MI 48035‐5042
TURNER, BERTHA        26121 EUREKA RD APT 301                                                              TAYLOR             MI 48180‐4943
TURNER, BERTHA        26121 EUREKA RD                APT 301                                               TAYLOR             MI 48180
TURNER, BERTHA B      2400 BRIARWEST BLVD APT 1112                                                         HOUSTON            TX 77077‐5645
TURNER, BERTHA W      708 DEER LAKE TRAIL                                                                  STONE MOUNTAIN     GA 30087‐5490
TURNER, BESSIE B      1158 NEAFIE AVE                                                                      PONTIAC            MI 48342‐1965
TURNER, BESSIE L      408 CARTER CEMETERY RD.                                                              WRIGHTSVILLE       GA 31096
TURNER, BETH M        3859 BUTTERNUT CT                                                                    PORT HURON         MI 48060‐8613
TURNER, BETTE H       50B WOODPECKER WALK                                                                  HENDERSONVILLE     NC 28792‐8913
TURNER, BETTY B       9771 LAS CASAS DR                                                                    FORT MYERS         FL 33919
TURNER, BETTY J       5063 HACKETT DR                                                                      DAYTON             OH 45418‐2238
TURNER, BETTY J       4654 E STATE ROAD 28                                                                 TIPTON             IN 46072‐8894
TURNER, BETTY J       4108 LARKSPUR DR                                                                     DAYTON             OH 45406‐3421
TURNER, BETTY J       3301 MACKIN RD                                                                       FLINT              MI 48504‐3288
TURNER, BETTY J       PO BOX 613                                                                           ZEPHYRHILLS        FL 33539‐0613
TURNER, BETTY J       5000 RIDGEMORE CT                                                                    ACWORTH            GA 30102
TURNER, BETTY J       509 MARCELLETTI AVE                                                                  PAW PAW            MI 49079‐1220
TURNER, BETTY J       12370 BELL RD                                                                        BURT               MI 48417‐9702
TURNER, BETTY L       1307 BRAMBLES DR                                                                     WATERFORD          MI 48328‐4737
TURNER, BETTY S       604 RIFLE RANGE RD                                                                   ALEXANDRIA         KY 41001‐8248
TURNER, BEVERLY       200 S HOLMES ST                                                                      DURAND             MI 48429‐1526
TURNER, BEVERLY A     2140 DELANO RD                                                                       OXFORD             MI 48371‐2602
TURNER, BILL          605 LEWIS LN                                                                         MIDDLESBORO        KY 40965‐2700
TURNER, BILLIE JEAN   PO BOX 528                                                                           MOUNT MORRIS       MI 48458‐0528
TURNER, BILLY B       10262 STANLEY DR, RR 7                                                               CLIO               MI 48420
TURNER, BILLY J       6658 W LORETTA DR                                                                    INDIANAPOLIS       IN 46221‐4745
TURNER, BILLY J       340 ETHEL AVE                                                                        CARLISLE           OH 45005‐1310
                           09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                            Part 37 of 40 Pg 599 of 901
Name                       Address1                      Address2            Address3         Address4         City                State Zip
TURNER, BILLY JOE          340 ETHEL AVE                                                                       CARLISLE             OH 45005‐1310
TURNER, BILLY L            4161 CAMPBELL RD                                                                    SNELLVILLE           GA 30039‐6917
TURNER, BILLY R            10407 TURNER RD                                                                     EXCELSIOR SPRINGS    MO 64024‐9360
TURNER, BILLY W            1888 LAKEWIND DR                                                                    BLOOMFIELD HILLS     MI 48302‐0153
TURNER, BISHOP T           635 NORTH MAIN STREET                                                               DYER                 TN 38330‐1013
TURNER, BOBBIE J           3923 BEACHWOOD AVE                                                                  SAINT LOUIS          MO 63121‐3303
TURNER, BOBBIE L           1620 W 15TH ST                                                                      ANDERSON             IN 46016‐3204
TURNER, BOBBIE L           3705 DALE RD                                                                        SAGINAW              MI 48603‐3132
TURNER, BOBBY G            9444 INDIAN TRACE RD                                                                ALEXANDRIA           KY 41001‐7897
TURNER, BOBBY N            3541 N WITTFIELD ST                                                                 INDIANAPOLIS         IN 46235‐2239
TURNER, BONNY K            2602 SAILORS WAY                                                                    NAPLES               FL 34109‐7622
TURNER, BOOKER C           PO BOX 1875                                                                         DEMING               NM 88031‐1875
TURNER, BRANDON            2080 YARMUTH DR APT 24                                                              ROCHESTER HILLS      MI 48307‐4074
TURNER, BRENDA G           3422 BATTLE CREEK DR                                                                MISSOURI CITY        TX 77459‐4083
TURNER, BRENDA J           3514 PLEASANT CREEK DR                                                              INDIANAPOLIS         IN 46227‐6913
TURNER, BRENDA S           4 LILAC LANE                                                                        AUGUSTA              ME 04330‐4330
TURNER, BRETT M            5900 NORTH MICHIGAN PLACE                                                           KANSAS CITY          MO 64118‐5421
TURNER, BRIAN K            608 SPRING AVE                                                                      FRANKLIN             OH 45005‐3571
TURNER, BRUCE L            5745 SANDSTONE DR                                                                   OXFORD               MI 48371‐5646
TURNER, BRYANT K           1821 KIPLING DR                                                                     DAYTON               OH 45406‐3917
TURNER, BUFORD D           6092 BIRCHWOOD DR                                                                   LAKE                 MI 48632‐9190
TURNER, BURK B             7353 MOON RIDGE CT                                                                  FORT WORTH           TX 76133‐8334
TURNER, BURK BURNETT       7353 MOON RIDGE CT                                                                  FORT WORTH           TX 76133‐8334
TURNER, C L                1311 DONAL DR                                                                       FLINT                MI 48532‐2638
TURNER, CALVIN             516 SOUTHFIELD DR                                                                   MAUMEE               OH 43537‐2708
TURNER, CALVIN A           1670 S 450 E                                                                        ANDERSON             IN 46017‐9579
TURNER, CALVIN ALFRED      1670 S 450 E                                                                        ANDERSON             IN 46017‐9579
TURNER, CALVIN L           PO BOX 19023                                                                        DETROIT              MI 48219‐0023
TURNER, CALVIN L           17541 LAHSER RD                                                                     DETROIT              MI 48219
TURNER, CARL A             PO BOX 227                                                                          ARCHIE               MO 64725‐0227
TURNER, CARL F             10120 SCOTT RD                                                                      FREELAND             MI 48623‐8605
TURNER, CARL L             18098 SHERRILL RD                                                                   LICKING              MO 65542‐9494
TURNER, CAROL A            10862 W WIKIEUP LN                                                                  SUN CITY             AZ 85373‐3369
TURNER, CAROL M            3821 GOLDENROD PL                                                                   JANESVILLE           WI 53546‐1179
TURNER, CAROLINE A         2805 WAPAKONETA AVE LOT 27                                                          SIDNEY               OH 45365‐8314
TURNER, CAROLINE A         2805 WAPAKONETA AVE           BOX 27                                                SYDNEY               OH 45365‐5365
TURNER, CAROLYN J          3341 TIMBERVIEW ST                                                                  FLINT                MI 48532‐3756
TURNER, CAROLYN J          2323 RIVERSIDE DR APT 5                                                             DAYTON               OH 45405
TURNER, CAROLYN JEAN       3341 TIMBERVIEW STREET                                                              FLINT                MI 48532‐3756
TURNER, CAROLYN L          602 S JEFFERSON                                                                     W FRANKFORT           IL 62896
TURNER, CARRIE M           17152 FLEMING                                                                       DETROIT              MI 48212‐1538
TURNER, CARRIE M           17152 FLEMING ST                                                                    DETROIT              MI 48212‐1538
TURNER, CARROL             1852 CROOKED BR                                                                     HAYSI                VA 24256‐5128
TURNER, CARROLL G          12709 W .C.R.700N.                                                                  PARKER CITY          IN 47368
TURNER, CARROLL GAY        12709 W .C.R.700N.                                                                  PARKER CITY          IN 47368
TURNER, CASSANDRA YVONNE   4100 W WARREN AVE APT 609                                                           DETROIT              MI 48210‐1476
TURNER, CASSIA L           144 N TELEGRAPH RD                                                                  PONTIAC              MI 48341‐1168
TURNER, CATHERINE D        600 GLENNES LN APT 213                                                              DUNEDIN              FL 34698‐5964
TURNER, CATHERINE T        704 MENDOTA CT                                                                      KOKOMO               IN 46902‐5529
TURNER, CATHLEEN C         7386 AUGUSTA DR                                                                     WASHINGTON           MI 48094‐1482
TURNER, CECIL              6003 TREE MOUNTAIN PKWY                                                             STONE MOUNTAIN       GA 30083‐6735
TURNER, CELIA M            823 BOUTELL DR                                                                      GRAND BLANC          MI 48439‐1942
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                           Part 37 of 40 Pg 600 of 901
Name                    Address1                          Address2                         Address3   Address4         City                State Zip
TURNER, CEOLA J         203 BROOKCREST DR                                                                              LAGRANGE             GA 30241‐1327
TURNER, CHARLES         4772 ABERDEEN LN                                                                               STONE MTN            GA 30083‐4320
TURNER, CHARLES C       1606 LANTANA DR                                                                                THOMPSONS STATION    TN 37179‐9767
TURNER, CHARLES D       1866 LOVING RD                                                                                 MORGANTON            GA 30560‐2706
TURNER, CHARLES D       2151 ROAD 70                                                                                   HARTFORD             KS 66854‐9243
TURNER, CHARLES D       119 ECHO HILLS DR                                                                              ROGERSVILLE          TN 37857‐3156
TURNER, CHARLES E       1826 LAWNDALE AVE                                                                              FLINT                MI 48504‐7207
TURNER, CHARLES E       2528 BROWNELL BLVD                                                                             FLINT                MI 48504‐2758
TURNER, CHARLES E       1464 COURTER ST                                                                                DAYTON               OH 45427‐3211
TURNER, CHARLES E       292 HILLTOP CIR                                                                                SPRING CITY          TN 37381‐6180
TURNER, CHARLES E       PO BOX 293                                                                                     BUFFALO              NY 14215‐0293
TURNER, CHARLES E       5201 AMISH CT                                                                                  VIRGINIA BCH         VA 23462‐6008
TURNER, CHARLES E       292 HILLTOP CR                                                                                 SPRING CITY          TN 37381‐6180
TURNER, CHARLES F       926 PAT HARALSON MEMORIAL DR                                                                   BLAIRSVILLE          GA 30512‐3032
TURNER, CHARLES H       47 SWAMP FOX LN                                                                                GEORGETOWN           SC 29440‐7613
TURNER, CHARLES L       972 W 600 S                                                                                    JONESBORO            IN 46938‐9611
TURNER, CHARLES L       774 S SQUIRREL RD                                                                              AUBURN HILLS         MI 48326‐3865
TURNER, CHARLES L       2193 N CENTERLINE RD                                                                           FRANKLIN             IN 46131‐8089
TURNER, CHARLES L       52 JOHN TURNER DR                                                                              CROSSVILLE           TN 38572‐8234
TURNER, CHARLES R       3650 BUSCH RD                                                                                  BIRCH RUN            MI 48415‐9081
TURNER, CHARLES R       PO BOX 45                                                                                      CANDLER              FL 32111‐0045
TURNER, CHARLES S       486 REDWOOD DR                                                                                 PENDLETON            IN 46064‐9262
TURNER, CHARLES S       1196 E LINDEN AVE                                                                              MIAMISBURG           OH 45342
TURNER, CHARLES S       3911 TURNER RD                                                                                 GAINESVILLE          GA 30506‐4547
TURNER, CHARLIE         PORTER & MALOUF PA                4670 MCWILLIE DR                                             JACKSON              MS 39206‐5621
TURNER, CHARLIE         922 OWEN ST                                                                                    SAGINAW              MI 48601‐2546
TURNER, CHARLIE D       4300 MURPHY LN                                                                                 LOUISVILLE           KY 40241‐1810
TURNER, CHARLIE J       1751 DARWIN WAY                                                                                SAN JOSE             CA 95122‐2034
TURNER, CHARLOTTE A     3830 W SECOND ST                                                                               DAYTON               OH 45417‐1320
TURNER, CHARMAINE C     2784 ASHTON CIRCLE WALDEN PONDS                                                                HAMILTON             OH 45011
TURNER, CHESTER A       7 DAVID CT                                                                                     NEWPORT              KY 41071‐2602
TURNER, CHRISTI R       4430 HALLOCK YOUNG RD                                                                          NEWTON FALLS         OH 44444‐8719
TURNER, CHRISTIE A      APT 201                           374 E PACES FERRY RD NORTHEAST                               ATLANTA              GA 30305‐2337

TURNER, CHRISTIE A      374 E PACES FERRY RD NE APT 201                                                                ATLANTA             GA   30305‐2337
TURNER, CHRISTINE       1935 GALEWOOD AVE SW                                                                           WYOMING             MI   49509‐1409
TURNER, CHRISTINE M     60 MYRTLE ST                                                                                   ASHLAND             MA   01721‐1113
TURNER, CHRISTOPHER     2425 JEFFERSON POINT DR APT 834                                                                ARLINGTON           TX   76006‐4240
TURNER, CHRISTOPHER R   PO BOX 454                                                                                     ORTONVILLE          MI   48462‐0454
TURNER, CHRISTY         224 E VINE ST APT 9                                                                            MONTPELIER          IN   47359‐1482
TURNER, CLARENCE A      832 LEADVALE CHURCH RD                                                                         WHITE PINE          TN   37890‐4615
TURNER, CLARENCE D      6446 TWP. RD. 255                                                                              GALION              OH   44833
TURNER, CLARENCE E      7900 E 91ST TER                                                                                KANSAS CITY         MO   64138‐4311
TURNER, CLARENCE E      5374 JOHNSON RD                                                                                FLUSHING            MI   48433‐1143
TURNER, CLARSIE         16221 SNOWDEN ST                                                                               DETROIT             MI   48235‐5203
TURNER, CLAUDIA         19135 GRIGGS                                                                                   DETROIT             MI   48221‐3209
TURNER, CLAUDIA         19135 GRIGGS ST                                                                                DETROIT             MI   48221‐3209
TURNER, CLAY B          PO BOX 72043                                                                                   NEWPORT             KY   41072‐0043
TURNER, CLAYTA L        817 E 8TH ST                                                                                   FLINT               MI   48503‐2735
TURNER, CLAYTON L       PO BOX 960                                                                                     PENNEY FARMS        FL   32079‐0960
TURNER, CLEAM           1514 LAUGHLIN AVE                                                                              SAINT LOUIS         MO   63130‐1240
TURNER, CLEOTHAR        4656 31ST ST                                                                                   DETROIT             MI   48210‐2535
                        09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                             Part 37 of 40 Pg 601 of 901
Name                    Address1                          Address2                         Address3   Address4         City               State Zip
TURNER, CLETUS W        2786 CARTHAGE RD                                                                               CALIFORNIA          KY 41007‐9230
TURNER, CLIFFORD        23507 MCCANN ST                                                                                CLEVELAND           OH 44128‐5247
TURNER, CLIFFORD E      3919 HAZY LN                                                                                   OKEMOS              MI 48864‐5227
TURNER, CLIFTON C       391 MAIN ST                                                                                    WHITE PLAINS        NY 10601‐3604
TURNER, CLINTON C       4803 LANDRUN LN                                                                                ARLINGTON           TX 76017‐3037
TURNER, CLINTON G       2823 CUNNINGHAM DR                                                                             WINDSOR MILL        MD 21244‐2048
TURNER, CLYDE           6222 SWOPE PKWY                                                                                KANSAS CITY         MO 64130‐4447
TURNER, CLYDE           1745 W BLISS RD                                                                                CARO                MI 48723‐9541
TURNER, COHEN W         364 WINGFOOT ST                                                                                ROCKMART            GA 30153‐2530
TURNER, COLEMAN W       2511 RITTER DR                                                                                 ANDERSON            IN 46012‐3268
TURNER, COMER C         3537 E US 40                                                                                   CLAYTON             IN 46118
TURNER, CONLEY          COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                               CHICAGO              IL 60602
                                                          FLOOR
TURNER, CONNIE
TURNER, CONNIE F        454 LAUREN AVE                                                                                 BOWLING GREEN      KY   42104‐6439
TURNER, CONNIE FAYE     454 LAUREN AVE                                                                                 BOWLING GREEN      KY   42104‐6439
TURNER, CONSTANCE M     10 WHISPERING DRIVE                                                                            TROTWOOD           OH   45426‐3027
TURNER, COREY J         5512 BELLEFONTAINE AVE                                                                         KANSAS CITY        MO   64130‐3840
TURNER, CORINE V        29 LEWIS T BRANTLEY DR                                                                         JACKSON            TN   38301‐8400
TURNER, CORNELL         THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD          SUITE 44                    CORAL GABLES       FL   33146
TURNER, CORNER C        8548 S LAFLIN ST                                                                               CHICAGO            IL   60620‐4713
TURNER, CORRINNE L      17000 NW 67TH AVE #444                                                                         HIALEAH            FL   33015‐4972
TURNER, COULSTON        18561 CENTER AVE                                                                               HOMEWOOD           IL   60430‐3541
TURNER, CRAIG T         12546 IRENE ST                                                                                 SOUTHGATE          MI   48195‐3517
TURNER, CRAIG THOMAS    12546 IRENE ST                                                                                 SOUTHGATE          MI   48195‐3517
TURNER, CROSBY O        552 MONTREAL ST                                                                                YPSILANTI          MI   48198‐6132
TURNER, CURLEY          721 ELLSWORTH DR                                                                               TROTWOOD           OH   45426‐2515
TURNER, CURTIS          3086 SOUTHFIELD DR                                                                             SAGINAW            MI   48601‐5640
TURNER, CURTIS E        1500 W RIVER RD                                                                                NILES              MI   49120‐8952
TURNER, CURTIS E        654 SHERYL DR                                                                                  WATERFORD          MI   48328‐2362
TURNER, CURTIS L        2223 ROYAL PALM AVE                                                                            DEFIANCE           OH   43512‐3535
TURNER, CURTIS L        1540 E CENTRAL AVE                                                                             MIAMISBURG         OH   45342‐3661
TURNER, CYNTHIA D       110 GLUCK ST                      APT E                                                        YOUNGSTOWN         OH   44505‐4959
TURNER, CYNTHIA D       110 APT E GLUCK ST                                                                             YOUNGSTOWN         OH   44505
TURNER, CYNTHIA I       83 FOX HOLLOW DR                                                                               CROSSVILLE         TN   38571‐3244
TURNER, D S             GUY WILLIAM S                     PO BOX 509                                                   MCCOMB             MS   39649‐0509
TURNER, D'ANNE M        N3356 HWY D                                                                                    JEFFERSON          WI   53549
TURNER, DAMIAN          2420 FAIRPORT AVE                                                                              DAYTON             OH   45406‐1701
TURNER, DAMON T         540 SOUTH WINDING DRIVE                                                                        WATERFORD          MI   48328‐4162
TURNER, DANIEL J        4791 W 700 N                                                                                   FRANKTON           IN   46044‐9597
TURNER, DANIEL L        15096 PINEWOOD TRL                                                                             LINDEN             MI   48451‐9124
TURNER, DANIEL LEE      MOODY EDWARD O                    801 W 4TH ST                                                 LITTLE ROCK        AR   72201‐2107
TURNER, DANIEL M        5124 N OLD ORCHARD DR                                                                          JANESVILLE         WI   53545‐9696
TURNER, DANIEL S        60 LINSWOOD ST                                                                                 MONROE             MI   48162‐3170
TURNER, DANNY           261 JUDY AVE                                                                                   CARLISLE           OH   45005‐1323
TURNER, DANNY R         3730 W 500 N                                                                                   FAIRLAND           IN   46126‐9649
TURNER, DANNY R.        3730 W 500 N                                                                                   FAIRLAND           IN   46126‐9649
TURNER, DANNY W         2927 S SPRUCE                                                                                  MESA               AZ   85210‐8264
TURNER, DANTE MARQUEL   3606 AUTUMN LN                                                                                 FORT WAYNE         IN   46806‐4301
TURNER, DARRELL L       30 SPRING BEAUTY DRIVE                                                                         BLUFFTON           SC   29909‐7146
TURNER, DARRYL D        12584 ATWOOD CT APT 415                                                                        RANCHO CUCAMONGA   CA   91739‐1852
TURNER, DAVE            109 E SOUTH D ST                                                                               GAS CITY           IN   46933‐1741
                           09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                             Part 37 of 40 Pg 602 of 901
Name                       Address1                        Address2                Address3    Address4         City            State Zip
TURNER, DAVID              2651 BRAHMS AVE                                                                      PORTAGE          MI 49024‐6625
TURNER, DAVID              8972 MARSH RD                                                                        CLAY             MI 48001‐3912
TURNER, DAVID              7205 CAMPBELLTON RD SW                                                               ATLANTA          GA 30331‐8144
TURNER, DAVID A            G4493 FENTON RD LOT 31                                                               BURTON           MI 48529‐1943
TURNER, DAVID A            2560 S US HIGHWAY 421                                                                ZIONSVILLE       IN 46077‐9763
TURNER, DAVID E            196 W KOCHHEISER RD                                                                  BELLVILLE        OH 44813‐9294
TURNER, DAVID G            1177 PENNIMAN AVE                                                                    PLYMOUTH         MI 48170‐1100
TURNER, DAVID G            18583 EMIT RD                                                                        BROWNSTOWN       MI 48193‐8334
TURNER, DAVID J            5130 CHAMBERS RD                                                                     MAYVILLE         MI 48744‐9768
TURNER, DAVID K            2418 ENGLAND AVE                                                                     DAYTON           OH 45406‐1321
TURNER, DAVID L            1518 LINCOLNSHIRE DR                                                                 LAPEER           MI 48446‐3146
TURNER, DAVID L            4650 W WENGER RD                                                                     CLAYTON          OH 45315‐9727
TURNER, DAVID M            306 E WENGER RD                                                                      ENGLEWOOD        OH 45322‐2828
TURNER, DAVID R            137 LAUREL WAY                                                                       DOUGLASVILLE     GA 30134‐6362
TURNER, DAVID R            660 EASTER DR                                                                        CARLISLE         OH 45005‐3710
TURNER, DAVID W            10201 BERNIE CT                                                                      INDIANAPOLIS     IN 46229‐1876
TURNER, DAVID W            2210 KERRI LYNN LN                                                                   KOKOMO           IN 46902‐7410
TURNER, DAWN M             1000 ARROW AVE                                                                       ANDERSON         IN 46016‐2733
TURNER, DAWN P             11263 SUGAR MILL LN                                                                  FRISCO           TX 75034
TURNER, DEAN               19343 W HARBOUR VILLAGE DR                                                           NORTHVILLE       MI 48167
TURNER, DEAN C             1251 WILLIAMS CT                                                                     BOWLING GREEN    KY 42104‐4680
TURNER, DEANDRE            5119 N JENNINGS RD                                                                   FLINT            MI 48504‐1115
TURNER, DEBORAH            4034 CLOVERCROFT RD                                                                  FRANKLIN         TN 37067‐5852
TURNER, DEBORAH A          38745 15TH ST E                 APT 13                                               PALMDALE         CA 93550‐3980
TURNER, DEBORAH D          2696 CASTANADA CIR                                                                   FORT WORTH       TX 76112‐6123
TURNER, DEBORAH L          22742 STATE HIGHWAY 74                                                               PURCELL          OK 73080‐6953
TURNER, DEBORAH L          1629 W 10TH ST                                                                       ANDERSON         IN 46016‐2811
TURNER, DEBORAH P          17658 E NORTH CARIBOU LAKE RD                                                        DE TOUR VLLE     MI 49725‐9573
TURNER, DEBORAH PATRICIA   17658 E NORTH CARIBOU LAKE RD                                                        DE TOUR VLLE     MI 49725‐9573
TURNER, DEBORAH S          4037 MANN VILLAGE RD APT 2                                                           INDIANAPOLIS     IN 46221‐2546
TURNER, DEBRA A            1125 WOODCREST LN                                                                    NORTH PORT       FL 34286‐6524
TURNER, DEBRA J
TURNER, DEBRA L            3020 FERRY RD.                                                                       BELLBROOK       OH   45305‐5305
TURNER, DEBRA L            3020 FERRY RD                                                                        BELLBROOK       OH   45305‐8927
TURNER, DEBRA S            6102 5 POINT HWY                                                                     EATON RAPIDS    MI   48827‐9029
TURNER, DEIRDRE            1281 MULBERRY RUN                                                                    MINERAL RIDGE   OH   44440‐9437
TURNER, DELBERT            5339 STATE HIGHWAY M95                                                               REPUBLIC        MI   49879‐9219
TURNER, DELBERT E          5533 N 100 E                                                                         MARION          IN   46952‐6769
TURNER, DELMA              6245 TROTTER RD                                                                      INDIANAPOLIS    IN   46241
TURNER, DELMA B            2461 ORANGE AVE                                                                      MORAINE         OH   45439‐2839
TURNER, DELOIS             602 E 12TH ST                                                                        FLINT           MI   48503‐4080
TURNER, DELOIS S           PO BOX 9192                                                                          JACKSON         MS   39286‐9192
TURNER, DELOIS S           P. O. BOX 9192                                                                       JACKSON         MS   39286‐9286
TURNER, DELORES            12624 PAGELS DR APT 132                                                              GRAND BLANC     MI   48439‐2401
TURNER, DELORES            7488 HUNTINGTON DR UNIT 5                                                            BOARDMAN        OH   44512‐4055
TURNER, DELPHINE           4257 SHERIDAN RD                                                                     SAGINAW         MI   48601‐5026
TURNER, DENISE M           1922 SUNNYSIDE DR                                                                    KALAMAZOO       MI   49048‐1367
TURNER, DENNIS E           811 N MARTIN RD                                                                      JANESVILLE      WI   53545‐1946
TURNER, DESEAN L           4736 CENTURY DR                                                                      SAGINAW         MI   48638‐5681
TURNER, DIANA              TRACY FIRM                      5473 BLAIR RD STE 200                                DALLAS          TX   75231‐4168
TURNER, DIANA L            306 EAST WENGER RD                                                                   ENGLEWOOD       OH   45322‐2828
TURNER, DIANN              PO BOX 1927                                                                          LAGRANGE        GA   30241‐0040
                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                          Part 37 of 40 Pg 603 of 901
Name                    Address1                       Address2                      Address3   Address4         City              State Zip
TURNER, DOLORES ANN     6111 FIFTH ST                                                                            MAYVILLE           MI 48744‐9599
TURNER, DON A           6485 LANGE RD                                                                            BIRCH RUN          MI 48415‐8791
TURNER, DON C           3704 RAMONA DR                                                                           FORT WORTH         TX 76116‐7002
TURNER, DON L           2122 MIRIAM LN                                                                           ARLINGTON          TX 76010‐8011
TURNER, DONALD          9480 LAKEPOINTE BLVD                                                                     CLAY               MI 48001‐4339
TURNER, DONALD          3764 CALIFORNIA RD                                                                       OKEANA             OH 45053‐9572
TURNER, DONALD E        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                       STREET, SUITE 600
TURNER, DONALD E        1530 APPLEGATE RD                                                                        MARLETTE          MI   48453‐8940
TURNER, DONALD E        208 NW 54TH TER                                                                          GLADSTONE         MO   64118‐4402
TURNER, DONALD L        12657 S PR 1040 E                                                                        GALVESTON         IN   46932
TURNER, DONALD L        427 WHISPER LN                                                                           XENIA             OH   45385
TURNER, DONALD R        117 CARLTON AVE                                                                          MONROE            LA   71202‐5301
TURNER, DONALD W        3985 N 200 W                                                                             GREENFIELD        IN   46140‐8482
TURNER, DONALD W        4076 HOLLETTS CORNER RD                                                                  CLAYTON           DE   19938‐3144
TURNER, DONNA B         1741 N. HWY 450                                                                          HALLSVILLE        TX   75650
TURNER, DONNA J         8005 HAZELRIDGE LN                                                                       COTTONDALE        AL   35453‐4130
TURNER, DONNIE E        633 TOMOCHICHI RD                                                                        GRIFFIN           GA   30223‐6776
TURNER, DONNIE R        3928 KNOB CREEK OVERLOOK                                                                 INDIANAPOLIS      IN   46234‐1310
TURNER, DORIAN          KIMMEL & SILVERMAN             30 E BUTLER AVE                                           AMBLER            PA   19002‐4514
TURNER, DORIS J         31491 W STONEWOOD CT                                                                     FARMINGTN HLS     MI   48334‐2545
TURNER, DORIS K         3267 CRESTVIEW AVE                                                                       LEBANON           OH   45036‐2436
TURNER, DORIS L         PO BOX 366                                                                               WADLEY            GA   30477‐0366
TURNER, DORIS L         745 KENMORE AVE SE                                                                       WARREN            OH   44484‐4349
TURNER, DORIS L         6457 BAY VISTA CT                                                                        INDIANAPOLIS      IN   46250‐1423
TURNER, DOROTHY         3118 BRANDON ST                                                                          FLINT             MI   48503‐3455
TURNER, DOROTHY         6855 HWY 1693                                                                            WELLINGTON        KY   40387‐8394
TURNER, DOROTHY         6855 HIGHWAY 1693                                                                        WELLINGTON        KY   40387‐8394
TURNER, DOROTHY         722 MCCALLISTER AVE                                                                      SUN CITY CENTER   FL   33573‐7020
TURNER, DOROTHY A       5849 HORRELL RD                                                                          TROTWOOD          OH   45426‐2142
TURNER, DOROTHY A.      5849 HORRELL RD                                                                          TROTWOOD          OH   45426‐2142
TURNER, DOROTHY D       6536 HARVEST RIDGE WAY                                                                   LOCKPORT          NY   14094‐8825
TURNER, DOROTHY E       1217 HOWE RD                                                                             BURTON            MI   48509‐1702
TURNER, DOROTHY M       1399 W WASHINGTON ST                                                                     MARSHFIELD        MO   65706‐2319
TURNER, DOUGLAS         2449 HORD AVE                                                                            SAINT LOUIS       MO   63136‐3856
TURNER, DOUGLAS E       2198 UTLEY RD                                                                            FLINT             MI   48532‐4836
TURNER, DOVIE           2543 COUNTY ROAD 1825                                                                    GRAPELAND         TX   75844‐9020
TURNER, DOYLE           37144 BENDIX ST                                                                          WAYNE             MI   48184‐1502
TURNER, DWAINE O        5425 N BURKHART RD                                                                       HOWELL            MI   48855‐8721
TURNER, DWAYNE K        5864 KING AVE                                                                            INDIANAPOLIS      IN   46228‐1727
TURNER, EARL J          3617 BEECHER RD                                                                          FLINT             MI   48503‐4905
TURNER, EARL JUNIUS     3617 BEECHER ROAD                                                                        FLINT             MI   48503‐4905
TURNER, EARLINE         P.O. BOX 1061                                                                            LINEVILLE         AL   36266
TURNER, EARLIS L        3001 STONEWAY DR SW                                                                      DECATUR           AL   35603‐2103
TURNER, EARNEST         4500 WALTER AVE                                                                          GRANITE CITY      IL   62040‐2421
TURNER, EBONY           4696 CENTRAL DR APT D128                                                                 STONE MOUNTAIN    GA   30083
TURNER, EDDIE C         1426 OXFORD AVE                                                                          SHREVEPORT        LA   71103‐2406
TURNER, EDDIE CHARLES   1426 OXFORD AVE                                                                          SHREVEPORT        LA   71103‐2406
TURNER, EDDIE L         5709 EDWARDS AVE                                                                         FLINT             MI   48505‐5168
TURNER, EDGAR C         903 PHELON ST                                                                            SAGINAW           MI   48601‐2649
TURNER, EDNA T          1963 S POOR FARM RD                                                                      MIKADO            MI   48745‐9784
TURNER, EDWARD A        2331 S COUNTY ROAD 1100 E                                                                FRANKFORT         IN   46041‐8318
                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 604 of 901
Name                  Address1                        Address2                Address3     Address4         City               State Zip
TURNER, EDWARD J      11050 HARTS RD APT 1603                                                               JACKSONVILLE        FL 32218‐3769
TURNER, EDWARD J      11050 HEARTS RD                 APT1603                                               JACKSONVILLE        FL 32218
TURNER, EDWARD R      2623 DAVIS RD                                                                         INDIANAPOLIS        IN 46239‐9432
TURNER, EDWIN B       879 INDIANAPOLIS RD                                                                   MOORESVILLE         IN 46158‐1155
TURNER, EDWIN F       2869 OAKVIEW DR                                                                       MURFREESBORO        TN 37130‐1500
TURNER, EITHEL L      628 S LEATHERWOOD RD                                                                  BEDFORD             IN 47421‐8851
TURNER, EL W          5906 DUPONT ST                                                                        FLINT               MI 48505‐6116
TURNER, ELAINE S      8843 OAK DR                                                                           GERMANTOWN          OH 45327‐9311
TURNER, ELBERT L      2869 MEADE DR                                                                         GRAND PRAIRIE       TX 75052‐8344
TURNER, ELBERT LEE    2869 MEADE DR                                                                         GRAND PRAIRIE       TX 75052‐8344
TURNER, ELDRIE        3490 HIGHFIELD CT APT D                                                               INDIANAPOLIS        IN 46222
TURNER, ELEANOR M     3581 MAHLON MOORE RD                                                                  SPING HILL          TN 37174
TURNER, ELIZA J       PO BOX 60                                                                             RUTHER GLEN         VA 22546‐0060
TURNER, ELIZABETH S   PO BOX 411                                                                            NILES               MI 49120‐0411
TURNER, ELLEN H       5406 MERSEA CT                                                                        BURKE               VA 22015‐1929
TURNER, ELLEN M       309 WOODBRIDGE DRIVE                                                                  GRAND BLANC         MI 48439‐1139
TURNER, ELLIOTT       PO BOX 91                                                                             FRANKLIN            OH 45005‐0091
TURNER, ELMER         2421 S POINTER RD                                                                     PINE BLUFF          AR 71601‐9758
TURNER, ELMER         625 W LINDEN AVE                                                                      MIAMISBURG          OH 45342‐2233
TURNER, ELMER E       29638 PENDLETON CLUB DR                                                               FARMINGTON HILLS    MI 48336‐1359
TURNER, ELSIE         617 SANDS ST                                                                          RIDGELY             TN 38080‐1617
TURNER, ELSIE         617 SAND ST                                                                           RIDGELY             TN 38080‐1617
TURNER, ELSIE F       105 HERITAGE HLS # B                                                                  SOMERS              NY 10589‐1316
TURNER, ELVIN O       7304 OAK HWY                                                                          CHARLOTTE           MI 48813‐9341
TURNER, EMILY J       15685 GRANADA DR                                                                      MORENO VALLEY       CA 92551‐1936
TURNER, EMMITT        4903 BROWNSVILLE RD                                                                   POWDER SPGS         GA 30127‐3047
TURNER, ERIC J        17373 DENBY                                                                           REDFORD             MI 48240‐2305
TURNER, ERIC P        10325 SPRINGPOINTE CIR APT K                                                          MIAMISBURG          OH 45342‐0912
TURNER, ERMA          17508 NAUSET CT                                                                       CARSON              CA 90746‐1640
TURNER, ERNEST L      52 HORSESHOE LN S                                                                     HENRIETTA           NY 14467‐9706
TURNER, ERVIN B       1405 S MICHIGAN AVE                                                                   MARION              IN 46953‐1136
TURNER, ESSIE M       108 RED OAK CT                                                                        MOUNTAIN HOME       AR 72653‐8122
TURNER, ESTHER B      2981 SCHAEFFER STREET                                                                 SAGINAW             MI 48604‐2453
TURNER, ESTHER B      2981 SCHAEFER ST                                                                      SAGINAW             MI 48604‐2453
TURNER, ETHEL L       1763 SHANLEY DR APT 6                                                                 COLUMBUS            OH 43224
TURNER, ETHEL M       9900 JORDAN AVE UNIT 72                                                               CHATSWORTH          CA 91311‐3791
TURNER, EUGENE        1530 HAMILTON ST                                                                      TOLEDO              OH 43607‐4333
TURNER, EUGENE        312 NEW WILSON LN                                                                     MIDDLESBORO         KY 40965‐2740
TURNER, EUGENE        2461 TANDY DR                                                                         FLINT               MI 48532‐4961
TURNER, EUGENE        4858 CHAPELOW RD                                                                      WEST HARRISON       IN 47060
TURNER, EUGENE        ROUTE 1, BOX 213B                                                                     MIDDLESBORO         KY 40965‐9760
TURNER, EUGENE        847 TOWNSHIP ROAD 1054                                                                ASHLAND             OH 44805‐9583
TURNER, EUGENE        GUY WILLIAM S                   PO BOX 509                                            MCCOMB              MS 39649‐0509
TURNER, EUGENE        DILLON JOHN F PLC               81174 JIM LOYD RD                                     FOLSOM              LA 70437
TURNER, EULA M        1622 BARBARA DR                                                                       FLINT               MI 48504‐1640
TURNER, EVA           362 WILLOW RIDGE DRIVE                                                                TONAWANDA           NY 14228‐3056
TURNER, EVA R         30 EARLMOOR BLVD                                                                      PONTIAC             MI 48341
TURNER, EVA R         30 EARLMOOR BOULEVARD                                                                 PONTIAC             MI 48341‐2816
TURNER, EVELYN        1520 MESA VERDE DR                                                                    LEAGUE CITY         TX 77573‐7042
TURNER, EVELYN J      4404 NE PARVIN RD               C/O LINDA GRAY                                        KANSAS CITY         MO 64117
TURNER, EVELYN L      15225 N 100TH ST UNIT 2213                                                            SCOTTSDALE          AZ 85260‐8803
TURNER, FILES S       WILLIAMS & BAILEY               8441 GULF FWY STE 600                                 HOUSTON             TX 77017‐5051
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                          Part 37 of 40 Pg 605 of 901
Name                   Address1                        Address2                      Address3   Address4         City                 State Zip
TURNER, FRANCES M      4938 PARK MNR E                 APT 3221                                                  SHELBY TOWNSHIP       MI 48316‐4941
TURNER, FRANCINE B     1510 OAKLAND                                                                              YOUNGSTOWN            OH 44510
TURNER, FRANCIS D      13344 QUEEN PALM RUN                                                                      NORTH FORT MYERS      FL 33903‐5294
TURNER, FRANK F        19135 GRIGGS ST                                                                           DETROIT               MI 48221‐3209
TURNER, FRANK P        5381 JOY RD                                                                               DETROIT               MI 48204‐2159
TURNER, FRANK R        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                       STREET, SUITE 600
TURNER, FRANK T        246 CIRCUIT RIDER RD                                                                      GREEN COVE SPRINGS   FL   32043‐9516
TURNER, FRANK W        117 BEACONSFIELD DR                                                                       MERIDIANVILLE        AL   35759‐1974
TURNER, FRANKLIN D     LOT 19                          1410 WEST DRIVE                                           BETHALTO             IL   62010‐1087
TURNER, FRANKLIN D     407 W 10TH ST                                                                             OOLITIC              IN   47451‐9783
TURNER, FRANKLIN R     9167 CAROLINE RIDGE LANE N.                                                               JACKSONVILLE         FL   32225‐9314
TURNER, FREDDIE        900 OLD OAK CT APT 904                                                                    PONTIAC              MI   48340‐3606
TURNER, FREDDIE L      225 E HOME AVE                                                                            FLINT                MI   48505‐2715
TURNER, FREDDIE R      PO BOX 305                                                                                SPICELAND            IN   47385‐0305
TURNER, FREDERICK L    606 E MAIN ST                                                                             WENTZVILLE           MO   63385‐1813
TURNER, FREDERICK R    G 1387 HOUSTON DR                                                                         SWARTZ CREEK         MI   48473
TURNER, FREDRICK       10237 S 8TH AVE                                                                           INGLEWOOD            CA   90303
TURNER, FRIEDI L       104 ELLIOTT CIRCLE                                                                        MC‐CORMICK           SC   29835
TURNER, G F J          651 ANTOINETTE ST                                                                         DELTONA              FL   32725‐2620
TURNER, GALE M         4738 SE 47TH ST                                                                           LAWTON               OK   73501‐8363
TURNER, GARY           2572 WALNUT ST                                                                            GIRARD               OH   44420‐3153
TURNER, GARY           10138 HEATHERWAY DR                                                                       PINCKNEY             MI   48169‐8750
TURNER, GARY A         2210 CUMINGS AVE                                                                          FLINT                MI   48503
TURNER, GARY B         10472 S. UNION RD.                                                                        MIAMISBURG           OH   45342‐5342
TURNER, GARY B         10472 S UNION RD                                                                          MIAMISBURG           OH   45342‐4620
TURNER, GARY L         9707 E 65TH ST                                                                            RAYTOWN              MO   64133‐4926
TURNER, GARY L         842 W 600 S                                                                               JONESBORO            IN   46938‐9611
TURNER, GARY M         450 SANDEHURST DR                                                                         GRAND BLANC          MI   48439‐1556
TURNER, GARY M         207 CEDAR CURVE RD                                                                        SAINT STEPHENS       AL   36569‐6808
TURNER, GARY M         450 SANDHURST DR                                                                          GRAND BLANC          MI   48439
TURNER, GARY MICHAEL   450 SANDEHURST DR                                                                         GRAND BLANC          MI   48439‐1556
TURNER, GARY S         1939 WENTZVILLE PKWY                                                                      WENTZVILLE           MO   63385‐3424
TURNER, GAYLEN W       3020 FERRY RD                                                                             BELLBROOK            OH   45305‐8927
TURNER, GAYLEN WAYNE   3020 FERRY RD                                                                             BELLBROOK            OH   45305‐8927
TURNER, GENA M         2928 KNOX SCHOOL RD                                                                       ALLIANCE             OH   44601‐9021
TURNER, GENE A         1634 IRWIN DR                                                                             WATERFORD            MI   48327‐1930
TURNER, GENE E         2206 E LAKEVIEW DR                                                                        SEBASTIAN            FL   32958‐8507
TURNER, GENE M         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510‐2212
                                                       STREET, SUITE 600
TURNER, GEORG A        4313 OSPREY LN                                                                            BURTON               MI   48519‐1482
TURNER, GEORG A        4313 OSPREY ST                                                                            BURTON               MI   48519‐1482
TURNER, GEORGE         KIMMEL & SILVERMAN              30 E BUTLER AVE                                           AMBLER               PA   19002‐4514
TURNER, GEORGE         19330 FLEMING ST                                                                          DETROIT              MI   48234‐1315
TURNER, GEORGE E       3549 ISLE ROYALE DR                                                                       LAS VEGAS            NV   89122‐4012
TURNER, GEORGE L       15 FOX HOUND CT                                                                           GRAND BLANC          MI   48439‐8172
TURNER, GEORGE L       514 E VINE ST                                                                             RICH HILL            MO   64779
TURNER, GEORGE R       6055 VICTORIA ST                                                                          BELLEVILLE           MI   48111‐5015
TURNER, GEORGE T       630 COUNTY ROAD 28                                                                        RANBURNE             AL   36273‐3051
TURNER, GEORGE W       9925 ULMERTON RD LOT 442                                                                  LARGO                FL   33771‐4245
TURNER, GEORGIA L      5870 TROY VILLA BLVD                                                                      DAYTON               OH   45424‐2650
TURNER, GEORGIA M      3205 N GLADSTONE AVE                                                                      INDIANAPOLIS         IN   46218‐2267
                          09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                               Part 37 of 40 Pg 606 of 901
Name                      Address1                          Address2                         Address3   Address4         City              State Zip
TURNER, GEORGIA S         PO BOX 131                                                                                     PELICAN            LA 71063‐0131
TURNER, GEORGIA SUE       PO BOX 131                                                                                     PELICAN            LA 71063‐0131
TURNER, GERALD A          4600 BRITTON RD LOT 70                                                                         PERRY              MI 48872‐9719
TURNER, GERALD B          1399 W WASHINGTON ST                                                                           MARSHFIELD         MO 65706‐2319
TURNER, GERALD D          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
TURNER, GERALD D          350 PARK ST                                                                                    CLIO              MI   48420‐1417
TURNER, GERALD D          930 CARDINAL WAY                                                                               ANDERSON          IN   46011‐1406
TURNER, GERALD G          614 S LYNCH ST                                                                                 FLINT             MI   48503‐2240
TURNER, GERALD H          7945 N GRAY RD                                                                                 LAKE CITY         MI   49651‐9540
TURNER, GERALD R          2437 E WINEGAR RD                                                                              MORRICE           MI   48857‐9750
TURNER, GERALD V          1310 TROGDON LN                                                                                BEDFORD           IN   47421‐8153
TURNER, GERALDINE         1926 WOODSLEA DR APT 6                                                                         FLINT             MI   48507‐5238
TURNER, GERALDINE         3029 CANFIELD RD APT 7                                                                         YOUNGSTOWN        OH   44511‐2850
TURNER, GERALDINE A       5706 LINCOLN RD                                                                                STANDISH          MI   48658‐9439
TURNER, GERALDINE J       833 E WELLINGTON AVE                                                                           FLINT             MI   48503‐2714
TURNER, GERTIS L          60 RIVERSIDE PARKWAY                                                                           SHARPSBURG        GA   30277‐3329
TURNER, GERTIS L          60 RIVERSIDE PKWY                                                                              SHARPSBURG        GA   30277‐3329
TURNER, GERTRUDE A        755 HODGE RD,                                                                                  BEAN STATION      TN   37708
TURNER, GERTRUDE A        755 HODGE RD                                                                                   BEAN STATION      TN   37708‐6405
TURNER, GIA L             2391 ROCKYMONT DR                                                                              SAINT LOUIS       MO   63136‐6130
TURNER, GINA R            21531 JOHN DRIVE                                                                               MACOMB            MI   48044‐6406
TURNER, GLADYS            658 S DEWEY AVE                                                                                LIMA              OH   45804‐3119
TURNER, GLADYS            658 S DEWEY ST                                                                                 LIMA              OH   45804‐3119
TURNER, GLADYS S          PO BOX 31391                                                                                   JACKSON           MS   39286‐1391
TURNER, GLEN A            425 S CONGRESS AVE                                                                             WEST PALM BEACH   FL   33409‐3867
TURNER, GLENIS M          5062 AUDREY CIR APT 110                                                                        INDIANAPOLIS      IN   46254‐4791
TURNER, GLENN E           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                            STREET, SUITE 600
TURNER, GLOVERS           16500 N PARK DR APT 602                                                                        SOUTHFIELD        MI   48075
TURNER, GOLDMAN           3257 GEORGIAN WOODS CIR                                                                        DECATUR           GA   30034
TURNER, GRACE L           2947 STONEGATE DR                                                                              FLINT             MI   48507‐2174
TURNER, GRACE L           2947 STONE GATE DRIVE                                                                          FLINT             MI   48507
TURNER, GRADY L           PO BOX 490964                                                                                  COLLEGE PARK      GA   30349‐0964
TURNER, GRANT A           6810 WILLOW SPRINGS RD                                                                         COUNTRYSIDE       IL   60525‐4724
TURNER, GRANVIL MAURICE   PEARLMAN TREVOR                   SPB BUILDING, 3110 WEBB AVENUE                               DALLAS            TX   75205

TURNER, GRANVILLE J       2500 AUGUSTA BLVD APT 102                                                                      FAIRFIELD         OH   45014‐8628
TURNER, GRANVILLE J       4465 5TH AVE SW                                                                                NAPLES            FL   34119‐2912
TURNER, GREEN W           2915 EDISON ST                                                                                 DAYTON            OH   45417‐1603
TURNER, GREGORY           9558 CARRIAGE RUN CIR                                                                          LOVELAND          OH   45140‐5555
TURNER, GREGORY           1539 N DEARBORN RD                                                                             WEST HARRISON     IN   47060
TURNER, GREGORY           2024 PARK AVE                                                                                  BEDFORD           IN   47421‐4043
TURNER, GREGORY M         8436 ROOSEVELT STREET                                                                          TAYLOR            MI   48180‐2727
TURNER, GREGORY S         444 BENHAM LN                                                                                  SPRINGVILLE       IN   47462‐5008
TURNER, GWENAI L          5130 W BASELINE RD 117                                                                         LAVEEN            AZ   85339
TURNER, GWENDOLYN E       708 BARNEY AVE                                                                                 FLINT             MI   48503‐4921
TURNER, H KEITH           LOGAN & PURVIS                    PO BOX 4207                                                  GULFPORT          MS   39502‐4207
TURNER, HANNELORE         35440 BRUSH ST APT 5                                                                           WAYNE             MI   48184‐1673
TURNER, HARLAN O          APT 1108                          1225 COLONEL DRIVE                                           GARLAND           TX   75043‐1391
TURNER, HARLEE            PO BOX 5313                                                                                    FLINT             MI   48505‐0313
TURNER, HARLEY R          1885 WILTSHIRE BLVD                                                                            FAIRFIELD         OH   45014‐3638
                           09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                             Part 37 of 40 Pg 607 of 901
Name                       Address1                       Address2            Address3         Address4         City            State Zip
TURNER, HAROLD E           3314 CHEOAH DR                                                                       DOUGLASVILLE     GA 30135‐2402
TURNER, HAROLD K           7035 W OUTER DR                                                                      DETROIT          MI 48235‐3167
TURNER, HAROLD O           223 E 11000 S                                                                        SANDY            UT 84070‐5293
TURNER, HAROLD S           1336 CASIMIR ST                                                                      SAGINAW          MI 48601‐1227
TURNER, HAROLD SYLVESTER   1336 CASIMIR ST                                                                      SAGINAW          MI 48601‐1227
TURNER, HARRIETT S         3384 S STATE ROAD 13                                                                 LAPEL            IN 46051‐9737
TURNER, HARRY G            1940 WEST WAYNE LANE                                                                 ANTHEM           AZ 85086‐1818
TURNER, HARRY G            1940 W WAYNE LN                                                                      ANTHEM           AZ 85086‐1818
TURNER, HARRY R            2861 CARPENTER RD                                                                    LAPEER           MI 48446
TURNER, HAYWARD L          533 KELLEY CT                                                                        FORT WORTH       TX 76120‐1701
TURNER, HAZEL              10091 DODGE RD                                                                       OTISVILLE        MI 48463‐9765
TURNER, HAZEL              10091 E. DODGE ROAD                                                                  OTISIVILLE       MI 48463‐9765
TURNER, HELEN              1400 SOUTH RD                  APT 28                                                ELLINGTON        MO 63638‐9548
TURNER, HELEN              1415 SUNNYSIDE AVE                                                                   FLINT            MI 48503‐2718
TURNER, HELEN R            1353 E DOWNEY AVE                                                                    FLINT            MI 48505‐1731
TURNER, HENRY J            21531 JOHN DRIVE                                                                     MACOMB           MI 48044‐6406
TURNER, HENRY L            20527 WOODMONT ST                                                                    HARPER WOODS     MI 48225‐1870
TURNER, HENRY L            836 GOLF DR APT 201                                                                  PONTIAC          MI 48341‐2383
TURNER, HENRY LEE          APT 201                        836 GOLF DRIVE                                        PONTIAC          MI 48341‐2383
TURNER, HENRY M            14608 LAQUINTA AVE                                                                   GRANDVIEW        MO 64030
TURNER, HENRY O            4860 M65 NORTH                                                                       CURRAN           MI 48728
TURNER, HERBERT H          3959 PENINSULAR SHORES DR                                                            GRAWN            MI 49637
TURNER, HERBERT N          9260 TURNER RD                                                                       JONESBORO        GA 30236‐6002
TURNER, HIAWATHA C         4167 BISHOPS BRIDGE RD                                                               MEMPHIS          TN 38118‐6705
TURNER, HILDEGARDE         420 N ACADEMY ST                                                                     MEDINA           NY 14103‐1125
TURNER, HOBERT             308 CORONADO TRL                                                                     ENON             OH 45323‐1327
TURNER, HOPE M             3197 OCEANLINE EAST DRIVE                                                            INDIANAPOLIS     IN 46214‐4155
TURNER, HOWARD             22 CORAL ST                    HASELTON VILLA                                        EUSTIS           FL 32726‐6710
TURNER, HOWARD A           N3356 HWY D                                                                          JEFFERSON        WI 53549
TURNER, HOWARD L           RR 1 BOX 304                                                                         ELLINGTON        MO 63638‐9601
TURNER, HOWARD L           1975 VAN WYE ST SE                                                                   WARREN           OH 44484‐5347
TURNER, HOWARD W           1415 SUNNYSIDE AVE                                                                   FLINT            MI 48503‐2718
TURNER, IDA B              2424 UNION RD                                                                        MIDDLETOWN       OH 45044‐8829
TURNER, IDA B              2424 NORTH UNION ROAD                                                                MIDDLETOWN       OH 45044‐8829
TURNER, IDA M              38 NEOME                                                                             PONTIAC          MI 48341‐1132
TURNER, IDA M              2288 SOLDIERS HOME‐W.C. ROAD                                                         DAYTON           OH 45418‐2341
TURNER, IDA M              38 NEOME DR                                                                          PONTIAC          MI 48341‐1132
TURNER, IGISTER            2327 WALNUT ST                                                                       SAGINAW          MI 48601‐2069
TURNER, IMOGENE            PO BOX 361                     209 NORTH ST                                          RIDGELY          TN 38080‐0361
TURNER, IMOGENE            209 NORTH ST PO BOX 361                                                              RIDGELY          TN 38080‐0361
TURNER, INAL C             3271 W. 1100 S.                                                                      FAIRMOUNT        IN 46928‐9523
TURNER, INAL C             3271 W 1100 S                                                                        FAIRMOUNT        IN 46928‐9523
TURNER, INEZ V             1229 SHADY GROVE RD                                                                  NATCHITOCHES     LA 71457‐6941
TURNER, INEZ V             1229 SHADYGROVE RD                                                                   NATCHITOCHES     LA 71457
TURNER, IRENE              2500 AUGUSTA BLVD. #102.                                                             FAIRFIELD        OH 45014
TURNER, IRENE              23 VIOLA AVE                                                                         LEONARDO         NJ 07737‐1461
TURNER, IRENE M            PO BOX 70142                                                                         LANSING          MI 48908‐7142
TURNER, IRMA L             8496 NE 261ST ST                                                                     LATHROP          MO 64465‐9419
TURNER, IRMA L             8496 N E 261ST STREET                                                                LATHROP          MO 64465‐9419
TURNER, IRVINE E           21632 90TH AVE                                                                       EVART            MI 49631‐9612
TURNER, IRWIN              9359 EAST PICKWICK CIRCLE                                                            TAYLOR           MI 48180‐3856
TURNER, ISAAC              25765 UNITY ST APT 37                                                                WEST HARRISON    IN 47060‐8656
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                           Part 37 of 40 Pg 608 of 901
Name                    Address1                            Address2                      Address3   Address4         City                State Zip
TURNER, ISAAC C         15610 W 65TH ST APT 418                                                                       SHAWNEE              KS 66217‐9349
TURNER, ISAAC C         226 S RIDGEVIEW RD                                                                            OLATHE               KS 66061
TURNER, ISHMAEL S       2436 BETTY LN                                                                                 FLINT                MI 48507‐3535
TURNER, ISHMAEL W       2474 LAURA DR                                                                                 FLINT                MI 48507‐3240
TURNER, ISHMAEL WAYNE   2474 LAURA DR                                                                                 FLINT                MI 48507‐3240
TURNER, IVAN L          20479 GREELEY ST                                                                              DETROIT              MI 48203‐1269
TURNER, J               447 KINGSBOROUGH                    APT 20D, 4TH WALK                                         BROOKLYN             NY 11233
TURNER, J C             78 CASE ST                                                                                    POWDER SPRINGS       GA 30127‐8624
TURNER, J L             881 ROLAND RD                                                                                 WHITESBORO           TX 76273‐6571
TURNER, JACK            1482 APPLEFORD ST                                                                             WALLED LAKE          MI 48390‐3105
TURNER, JACK C          704 BUNDY AVE                                                                                 NEW CASTLE           IN 47362‐5235
TURNER, JACK E          6675 GOODALL RD                                                                               CORUNNA              MI 48817‐9573
TURNER, JACK L          27 WOODLAWN VLG                                                                               MITCHELL             IN 47446‐6326
TURNER, JACK P          1784 SECRETARIAL CIR                                                                          MIAMISBURG           OH 45342‐6356
TURNER, JACKIE A        3253 SEVEN SPRINGS RD                                                                         SMITHVILLE           TN 37166
TURNER, JACKIE D        1336 COMMONWEALTH AVE                                                                         YPSILANTI            MI 48198‐3149
TURNER, JACKIE M        2208 JULIUS ST                                                                                SAGINAW              MI 48601‐3445
TURNER, JACKSON L       8300 W CRUM RD                                                                                BLOOMINGTON          IN 47403‐9510
TURNER, JACQUELINE      13 ELDERBERRY CT                                                                              BALTIMORE            MD 21228‐1008
TURNER, JACQUELINE      5106 WOODHAVEN DRIVE                                                                          FLINT                MI 48504‐1282
TURNER, JACQUELINE D    2244 BURTON ST SE                                                                             WARREN               OH 44484‐5211
TURNER, JACQUELINE D    2244 BURTON STREET, SE                                                                        WARREN               OH 44484‐5211
TURNER, JACQUELINE M    1606 LANTANA DR                                                                               THOMPSONS STATION    TN 37179
TURNER, JAKIE C         1182 EADS RD                                                                                  VERONA               KY 41092‐9331
TURNER, JAMES           668 LINDA VISTA                                                                               PONTIAC              MI 48342‐1650
TURNER, JAMES A         3855 MONTCLAIR ST                                                                             DETROIT              MI 48214‐4712
TURNER, JAMES A         2489 MCGUFFEY RD                                                                              COLUMBUS             OH 43211‐1232
TURNER, JAMES A         1109 HIGHLAND AVE                                                                             SHREVEPORT           LA 71101‐4104
TURNER, JAMES A         3843 MONTCLAIR ST                                                                             DETROIT              MI 48214
TURNER, JAMES A         15714 CORAM ST                                                                                DETROIT              MI 48205‐2502
TURNER, JAMES C         141 WOOD RD                                                                                   ROCKMART             GA 30153‐3622
TURNER, JAMES C         4711 BISHOP MING BLVD APT 207                                                                 STONE MTN            GA 30088‐5704
TURNER, JAMES D         19270 W BRANT RD                                                                              BRANT                MI 48614‐8721
TURNER, JAMES D         10 RACHEL DR APT 15                                                                           JACKSON              TN 38305‐8604
TURNER, JAMES D         PO BOX 2644                                                                                   ANDERSON             IN 46018‐2644
TURNER, JAMES E         6110 EMILIE LANE                                                                              KILLEEN              TX 76542‐5472
TURNER, JAMES E         1700 MILLHAVEN RD                                                                             MONROE               LA 71201‐8914
TURNER, JAMES E         502 N 27TH ST                                                                                 WEST MEMPHIS         AR 72301‐3602
TURNER, JAMES E         7409 MOUNT MORIAH RD                                                                          NINEVEH              IN 46164‐9472
TURNER, JAMES E         141 FRANKLIN BLVD                                                                             PONTIAC              MI 48341‐1707
TURNER, JAMES E         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                            STREET, SUITE 600
TURNER, JAMES E         1314 210TH ST                                                                                 AUDUBON             IA   50025‐7340
TURNER, JAMES EDWARD    1314 210TH ST                                                                                 AUDUBON             IA   50025‐7340
TURNER, JAMES H         G4433 N.VASSAR RD                                                                             FLINT               MI   48506
TURNER, JAMES H         5400 NORTHCUTT PL                                                                             DAYTON              OH   45414‐3743
TURNER, JAMES H         PO BOX J                                                                                      WORTHINGTON         PA   16262‐0410
TURNER, JAMES L         361 N MAIN ST                                                                                 MARINE CITY         MI   48039‐3437
TURNER, JAMES L         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                      EDWARDSVILLE        IL   62025
                        ROWLAND P C
TURNER, JAMES L         955 E CLARK RD                                                                                YPSILANTI           MI 48198‐7501
TURNER, JAMES L         623 PIN OAK LN                                                                                FLINT               MI 48506‐5224
                       09-50026-mg          Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                       Part 37 of 40 Pg 609 of 901
Name                   Address1                     Address2                         Address3   Address4         City              State Zip
TURNER, JAMES L        1008 OLDE COVENTRY DR                                                                     SAINT CHARLES      MO 63301‐1525
TURNER, JAMES M        3924 CRYSTAL STREET                                                                       ANDERSON           IN 46012‐1110
TURNER, JAMES M        2991 S WHITE OAK ST                                                                       YORKTOWN           IN 47396‐9704
TURNER, JAMES M        4114 TRIER RD                                                                             FORT WAYNE         IN 46815‐4844
TURNER, JAMES N        150 W FIRST ST # 97                                                                       VERMONTVILLE       MI 49096
TURNER, JAMES R        12407 STONE VALLEY DR                                                                     MILFORD            MI 48380‐2880
TURNER, JAMES R        2208 INVERNESS LN SW                                                                      DECATUR            AL 35603‐1129
TURNER, JAMES R        1505 EVERGREEN DR                                                                         STREETSBORO        OH 44241‐5426
TURNER, JAMES R        7346 WINBERT DR                                                                           NORTH TONAWANDA    NY 14120‐1491
TURNER, JAMES ROBERT   7346 WINBERT DR                                                                           NORTH TONAWANDA    NY 14120‐1491
TURNER, JAMES V        355 LINE CREEK RD                                                                         LONDON             KY 40741‐9741
TURNER, JAMES W        6110 EAST CONCOURSE COURT                                                                 CAMBY              IN 46113‐8345
TURNER, JAMES W        19709 HOLKE RD                                                                            INDEPENDENCE       MO 64057‐1465
TURNER, JAMES WARREN   19709 HOLKE RD                                                                            INDEPENDENCE       MO 64057‐1465
TURNER, JAMIE L        141 FRANKLIN BLVD                                                                         PONTIAC            MI 48341‐1707
TURNER, JAN I          3400 W HOWE RD                                                                            DEWITT             MI 48820‐9792
TURNER, JANE E         3171 BLAINE RD                                                                            SAGINAW            MI 48603‐2515
TURNER, JANE M         2415 MARKLEVILLE ROAD                                                                     ANDERSON           IN 46017
TURNER, JANE R         1616 TWIN LAKE BLVD                                                                       OXFORD             MI 48371‐5834
TURNER, JANE R         1616 TWIN LAKES BLVD                                                                      OXFORD             MI 48371‐5834
TURNER, JANELL         323 HATCH ST                                                                              SYRACUSE           NY 13205‐1655
TURNER, JANET G        7048 KIRBY CRES                                                                           NORFOLK            VA 23505‐4215
TURNER, JANICE A       2117 S 47TH ST                                                                            KANSAS CITY        KS 66106‐2424
TURNER, JANICE K       621 SPENCER ST                                                                            FLINT              MI 48505‐4285
TURNER, JANICE KAYE    621 SPENCER ST                                                                            FLINT              MI 48505‐4285
TURNER, JANIS L        2206 E LAKEVIEW DR                                                                        SEBASTIAN          FL 32958‐8507
TURNER, JANNET J       2929 FLYNN RD                                                                             ROSE CITY          MI 48554‐9756
TURNER, JARRESS L      1140 PARLIAMENT WAY                                                                       LEXINGTON          KY 40517
TURNER, JAY K          2008 N BURDICK RD                                                                         JANESVILLE         WI 53548‐9058
TURNER, JAY S          16082 BELL AVE                                                                            EASTPOINTE         MI 48021‐1137
TURNER, JEAN A         1872 KEPPEN                                                                               LINCOLN PARK       MI 48146‐1428
TURNER, JEAN A         1872 KEPPEN BLVD                                                                          LINCOLN PARK       MI 48146‐1428
TURNER, JEAN W         12407 STONE VALLEY DR                                                                     MILFORD            MI 48380‐2880
TURNER, JEAN W         14700 SOUTH NOHEL                                                                         PERRY              MI 48872
TURNER, JEAN‐VIERR E   1606 EUCLID AVE                                                                           FLINT              MI 48503‐1119
TURNER, JEANETTE       2204 STATE ROUTE 133                                                                      BETHEL             OH 45106
TURNER, JEANNE         11514 DELVIN                                                                              STERLING HGTS      MI 48314‐2609
TURNER, JEANNE         11514 DELVIN DR                                                                           STERLING HTS       MI 48314‐2609
TURNER, JEFF A         205 BOLLINGER RD                                                                          BELLVILLE          OH 44813‐9069
TURNER, JEFF B         4638 VINEGAR HILL RD                                                                      BEDFORD            IN 47421‐7932
TURNER, JEFFERY G      #A                           905 HIGHLAND AVENUE                                          KILLEEN            TX 76543‐4854
TURNER, JEFFREY        ROMANO STANCROFF MIKHOV PC   640 S SAN VICENTE BLVD STE 230                               LOS ANGELES        CA 90048‐4654
TURNER, JEFFREY A      608 MUIRFIELD CIR                                                                         BOWLING GREEN      KY 42104‐5550
TURNER, JEFFREY C      14830 LATIMER CT                                                                          HEMLOCK            MI 48626‐9710
TURNER, JEFFREY L      10233 LAKE TAHOE CT                                                                       FORT WAYNE         IN 46804‐6916
TURNER, JEFFREY S      PO BOX 328591                                                                             COLUMBUS           OH 43232‐8591
TURNER, JEFFREY S      1662 SUMMER BREEZE WAY                                                                    SARASOTA           FL 34232‐2902
TURNER, JEFFREY W      4184 W FRANKLIN ST                                                                        BELLBROOK          OH 45305‐1543
TURNER, JENNIFER       KIMMEL & SILVERMAN PC        1930 E MARLTON PIKE SUITE Q29                                CHERRY HILL        NJ 08003
TURNER, JENNIFER       PO BOX 631                                                                                BURNSIDE           KY 42519‐0631
TURNER, JENNIFER       BOX 166                                                                                   PARKERS LAKE       KY 42634
TURNER, JENNIFER       11664 MARSH ELDER DR                                                                      JACKSONVILLE       FL 32226‐2053
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                           Part 37 of 40 Pg 610 of 901
Name                    Address1                         Address2                   Address3   Address4         City               State Zip
TURNER, JENNY A         3196 LIGHTHOUSE WAY                                                                     SPRING HILL         FL 34607‐2615
TURNER, JERALD M        11369 HILL‐N‐DALE                                                                       MINOCQUA            WI 54548
TURNER, JEREMY
TURNER, JEREMY A        4419 SOUTHPORT TRACE DR                                                                 INDIANAPOLIS       IN   46237‐2895
TURNER, JEREMY K        23060 HALSTED RD.                                                                       FARMINGTON HILLS   MI   48335
TURNER, JEROME I        5119 N JENNINGS RD                                                                      FLINT              MI   48504‐1115
TURNER, JEROME ISIAH    5119 N JENNINGS RD                                                                      FLINT              MI   48504‐1115
TURNER, JEROME S        3901 SHAWNEE AVE                                                                        FLINT              MI   48507‐2842
TURNER, JERON           31057 W WARREN                                                                          WESTLAND           MI   48185
TURNER, JERRY D         2705 CHEYENNE WAY                                                                       NORMAN             OK   73071‐6826
TURNER, JERRY L         1713 CROOKS CT                                                                          GRAND PRAIRIE      TX   75051‐4329
TURNER, JERRY L         8510 KATHERINE AVE                                                                      PANORAMA CITY      CA   91402‐3106
TURNER, JERRY N         46389 HULING ST                                                                         SHELBY TOWNSHIP    MI   48317‐3915
TURNER, JESSIE          327 FRAZIER                                                                             RIVER ROUGE        MI   48218‐1057
TURNER, JESSIE          327 FRAZIER ST                                                                          RIVER ROUGE        MI   48218‐1057
TURNER, JESSIE L        614 ELMWOOD ST.                                                                         MC COMB            MS   39648‐9648
TURNER, JESSIE L        408 S LOCUST ST 31                                                                      MCCOMB             MS   39648
TURNER, JIM D           12463 TANSBORO ST                                                                       SPRING HILL        FL   34608‐1469
TURNER, JIM W           18632 VILLA COURT                                                                       LANSING            IL   60438‐2898
TURNER, JIMMIE C        3916 AURORA ST                                                                          INDIANAPOLIS       IN   46227‐3606
TURNER, JIMMIE L        3115 SILVERWOOD DR                                                                      SAGINAW            MI   48603‐6804
TURNER, JIMMIE L        3264 TIMBERVIEW ST                                                                      FLINT              MI   48532‐3755
TURNER, JIMMIE LESLIE   3264 TIMBERVIEW ST                                                                      FLINT              MI   48532‐3755
TURNER, JIMMY C         2484 EDISON ST                                                                          DETROIT            MI   48206‐2045
TURNER, JIMMY C         337 AUTUMN LN SW                                                                        DECATUR            AL   35601‐6831
TURNER, JIMMY W         PO BOX 17452                                                                            INDIANAPOLIS       IN   46217‐0452
TURNER, JO              C/O ICO THE LANIER LAW FIRM PC   6810 FM 1960 WEST                                      HOUSTON            TX   77069
TURNER, JOAN            5501 SOUTH EAST STREET                                                                  INDIANAPOLIS       IN   46227‐1901
TURNER, JOAN H          3220 WOODVALLEY DR                                                                      FLUSHING           MI   48433‐2266
TURNER, JOE             #1                               6436 SOUTH TALMAN AVENUE                               CHICAGO            IL   60629‐1712
TURNER, JOE A           3447 W 62ND PL                                                                          INDIANAPOLIS       IN   46228‐1018
TURNER, JOE L           2000 BOULDERCREST RD SE APT B5                                                          ATLANTA            GA   30316‐3924
TURNER, JOHN A          755 HODGE RD                                                                            BEAN STATION       TN   37708‐6405
TURNER, JOHN A          9149 DOLLANGER CT                                                                       ORLANDO            FL   32819
TURNER, JOHN CORWIN     MOODY EDWARD O                   801 W 4TH ST                                           LITTLE ROCK        AR   72201‐2107
TURNER, JOHN E          101 SKYFLOWER CIR                                                                       DAYTONA BEACH      FL   32117‐7125
TURNER, JOHN E          834 LANSDOWNE BLVD                                                                      YOUNGSTOWN         OH   44505‐3413
TURNER, JOHN F          PO BOX 2109                                                                             WESTMINSTER        MD   21158‐7109
TURNER, JOHN F          3076 CONNECTICUT ST                                                                     BURTON             MI   48519‐1544
TURNER, JOHN J          6621 PARKLAND ST                                                                        DEARBORN HTS       MI   48127‐2584
TURNER, JOHN JAY        26 GALLOPING BROOK DR                                                                   ALLENTOWN          NJ   08501‐2027
TURNER, JOHN L          4400 GRASS LAKE RD                                                                      WHITE LAKE         MI   48383‐1733
TURNER, JOHN O          83 MAPLE AVE                                                                            IRVINGTON          NJ   07111‐4323
TURNER, JOHN O          12901 E 50TH TER S                                                                      INDEPENDENCE       MO   64055‐5519
TURNER, JOHN R          1015 SW ELLIS CT                                                                        LEES SUMMIT        MO   64081‐3746
TURNER, JOHN R          PO BOX 73                                                                               CONGRESS           AZ   85332‐0073
TURNER, JOHN T          1705 MARQUETTE DR                                                                       FLINT              MI   48503‐5239
TURNER, JOHN W          978 SCOTCH PINE CV                                                                      SOUTHAVEN          MS   38671‐8305
TURNER, JOHN W          PO BOX 713                                                                              SHELBY             MS   38774‐0713
TURNER, JOHN W          57 LORI LN                                                                              ROCHESTER          NY   14624‐1417
TURNER, JOHN W          539 OTTER LAKE RD                                                                       FOSTORIA           MI   48435‐9406
TURNER, JOHN W          2605 WEBBER ST                                                                          SAGINAW            MI   48601‐3652
                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 611 of 901
Name                  Address1                        Address2            Address3         Address4         City               State Zip
TURNER, JOHN W        6930 JOYSMITH CIR                                                                     NEW ALBANY          OH 43054
TURNER, JOHN W        57 LORI LANE                                                                          ROCHESTER           NY 14624‐1417
TURNER, JOHNNIE B     12815 EVANSTON ST                                                                     DETROIT             MI 48213‐1886
TURNER, JOHNNIE B     114 N MIDLAND DR                                                                      PONTIAC             MI 48342‐2543
TURNER, JOHNNIE D     1303 GRINNELL ST                                                                      DALLAS              TX 75216‐6224
TURNER, JOHNNY R      3269 AINSWORTH DR                                                                     CINCINNATI          OH 45251‐2111
TURNER, JOSEPH B      9200 MILLIKEN AVE APT 10114     APT. 10114                                            RANCHO CUCAMONGA    CA 91730‐8524
TURNER, JOSEPH D      7504 PEACHTREE TRL                                                                    N RICHLND HLS       TX 76180‐2914
TURNER, JOSEPH J      1515 S PATRIOT DR                                                                     YORKTOWN            IN 47396‐9381
TURNER, JOSEPH K      11664 MARSH ELDER DR                                                                  JACKSONVILLE        FL 32226‐2053
TURNER, JOSEPHINE K   1065 ARGYLE AVE                                                                       PONTIAC             MI 48341‐2304
TURNER, JOSH H        N3356 HWY D                                                                           JEFFERSON           WI 53549
TURNER, JOYCE         6132 W ELAND DR                                                                       NEW PALESTINE       IN 46163‐9597
TURNER, JOYCE A       1133 WHITCOMB AVE               APT B                                                 INDIANAPOLIS        IN 46224
TURNER, JOYCE A       8102 SHORE LANE                                                                       FLINT               MI 48504‐1790
TURNER, JOYCE A       9331 CHURCH ST                                                                        PEVELY              MO 63070‐2711
TURNER, JOYCE A       423 W FOSTER ST                                                                       KOKOMO              IN 46902‐6332
TURNER, JOYCE A       9331 CHURCH DR                                                                        PEVELY              MO 63070‐2711
TURNER, JOYCE A       8102 SHORE LN                                                                         FLINT               MI 48504‐1790
TURNER, JOYCE A       1133 N WHITCOMB AVE APT B                                                             INDIANAPOLIS        IN 46224‐6722
TURNER, JOYCE I       1098 DAFFODIL DR                                                                      WATERFORD           MI 48327‐1402
TURNER, JUDITH A      4613 BELL HIGHWAY                                                                     EATON RAPIDS        MI 48827‐8080
TURNER, JUDITH A      85 SUSANNE DRIVE                                                                      WHITINSVILLE        MA 01588‐1225
TURNER, JUDITH A      4613 BELL HWY                                                                         EATON RAPIDS        MI 48827‐8080
TURNER, JUDITH A      85 SUSANNE DR                                                                         WHITINSVILLE        MA 01588‐1225
TURNER, JUDY A        2705 CHEYENNE WAY                                                                     NORMAN              OK 73071‐6826
TURNER, JULIUS L      330 FIVE ACRE RD                                                                      HUEYTOWN            AL 35023‐1236
TURNER, JUNIOR M      918 E 107TH ST                                                                        LOS ANGELES         CA 90002‐3449
TURNER, KAREN A       2745 TOMAHAWK DR                                                                      WATERFORD           MI 48328‐3187
TURNER, KARIE A       215 NW 112TH ST                                                                       KANSAS CITY         MO 64155‐3613
TURNER, KARLEN L      2950 E LAFAYETTE ST                                                                   DETROIT             MI 48207‐3827
TURNER, KASHEILA A    4287 PARKWAY DR                                                                       TROTWOOD            OH 45416‐1665
TURNER, KASON         3205 NICOLE DR                                                                        SPRING HILL         TN 37174‐2847
TURNER, KATHERINE A   1700 ANNANDALE DR                                                                     NASHVILLE           IN 47448‐8385
TURNER, KATHRYN       407 S VINE ST                                                                         PLAINFIELD          IN 46168‐1423
TURNER, KATHRYN J.    210 WEBSTER                     PO BOX 114                                            CATLIN               IL 61817‐9745
TURNER, KATHY         1097 CR 4310                                                                          WHITEWRIGHT         TX 75491
TURNER, KATHY         1097 COUNTY ROAD 4310                                                                 WHITEWRIGHT         TX 75491‐7811
TURNER, KATHY         114 JEANETTA CT                                                                       PROVIDENCE          KY 42450‐2115
TURNER, KATHY J       3455 N 1100 E                                                                         GREENTOWN           IN 46936
TURNER, KATHYRN C     PO BOX 88855                                                                          INDIANAPOLIS        IN 46208‐0855
TURNER, KATIE M       2425 GRANT AVE                                                                        DAYTON              OH 45060‐5060
TURNER, KEITH         PO BOX 185                                                                            WAKEFIELD           LA 70784‐0185
TURNER, KENNETH       2361 MYSTERY TRAIL LN                                                                 LENOIR              NC 28645‐7321
TURNER, KENNETH       11213 N SARAH LN                                                                      MOORESVILLE         IN 46158‐7067
TURNER, KENNETH       1716 BACKBONE RDG                                                                     HAYSI               VA 24256‐5151
TURNER, KENNETH B     208 NW 54TH TER                                                                       GLADSTONE           MO 64118‐4402
TURNER, KENNETH B     12285 CRESTVIEW DR                                                                    WARSAW              MO 65355‐5518
TURNER, KENNETH E     3665 OAKVIEW RD                                                                       WATERFORD           MI 48329‐1844
TURNER, KENNETH G     PO BOX 4                                                                              NEW ROSS            IN 47968‐0004
TURNER, KENNETH G     1528 GEPHART RD                                                                       WHEELERSBURG        OH 45694‐8647
TURNER, KENNETH L     21110 AVERETT LN                                                                      CITRONELLE          AL 36522‐5134
                          09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                             Part 37 of 40 Pg 612 of 901
Name                      Address1                        Address2                       Address3   Address4         City            State Zip
TURNER, KENNETH L         264 OTTER LAKE RD                                                                          FOSTORIA         MI 48435‐9616
TURNER, KENNETH LAVERNE   21110 AVERETT LANE                                                                         CITRONELLE       AL 36522‐5134
TURNER, KENNETH R         6763 MINNICK RD LOT 33                                                                     LOCKPORT         NY 14094‐9532
TURNER, KENNETH W         6776 COUNTY ROAD 434                                                                       TRINITY          AL 35673‐4650
TURNER, KENNETH W         9940 ROSEBORO RD                                                                           SANDY            UT 84092
TURNER, KENT L            3920 WASHINGTON AVE                                                                        BEDFORD          IN 47421‐5624
TURNER, KEVIN C           533 SPRING AVE                                                                             FRANKLIN         OH 45005‐3568
TURNER, KIM A             361 N MAIN ST                                                                              MARINE CITY      MI 48039‐3437
TURNER, KIM M             16177 PREST ST                                                                             DETROIT          MI 48235‐3845
TURNER, KIMBERLY A        17620 ROGUE RIVER COURT                                                                    RENO             NV 89508‐2508
TURNER, KRISTINA F        5147 ROSSLYN AVE                                                                           INDIANAPOLIS     IN 46205‐1353
TURNER, L M               4452 CORRAL RD                                                                             WARRENTON        VA 20187‐5812
TURNER, LADORA B          4258 HERNER COUNTY LINE RD                                                                 SOUTHINGTON      OH 44470‐9562
TURNER, LAMARL            4465 GROVELAND RD                                                                          UNIVERSITY HT    OH 44118‐3920
TURNER, LANA              2509 YORKTOWNE DR                                                                          LA PLACE         LA 70068‐2323
TURNER, LANCE E           2356 SOILDERS HOME‐W C RD                                                                  DAYTON           OH 45418
TURNER, LANCE W           48397 DECLARATION DR                                                                       MACOMB           MI 48044‐1919
TURNER, LARRY             BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD       OH 44067
                                                          PROFESSIONAL BLDG
TURNER, LARRY             229 FLOYD AVE                                                                              MIAMISBURG      OH   45342‐3521
TURNER, LARRY A           4912 CANTERBURY LN                                                                         FLINT           MI   48504‐5401
TURNER, LARRY A           7125 MEADOWVUE DR                                                                          GRAND BLANC     MI   48439‐1604
TURNER, LARRY B           1203 COUNTY HIGHWAY 278                                                                    GIDEON          MO   63848‐9269
TURNER, LARRY B           17501 NORWOOD RD                                                                           SANDY SPRING    MD   20860‐1302
TURNER, LARRY D           PO BOX 22                                                                                  DETROIT         MI   48231‐0022
TURNER, LARRY D           1382 E DOWNEY AVE                                                                          FLINT           MI   48505‐1732
TURNER, LARRY D           1068 TURNER RD                                                                             MCCOMB          MS   39648‐9466
TURNER, LARRY E           12948 CENTRALIA                                                                            REDFORD         MI   48239‐2782
TURNER, LARRY E           4188 E BLUE RIDGE RD                                                                       SHELBYVILLE     IN   46176‐8948
TURNER, LARRY E           PO BOX 240                                                                                 ARAGON          GA   30104‐0240
TURNER, LARRY G           1410 WATERCOURSE WAY                                                                       CEDAR HILL      TX   75104‐4027
TURNER, LARRY J           1577 S VICKERYVILLE RD                                                                     CRYSTAL         MI   48818‐9735
TURNER, LARRY J           1722 W HUNTSVILLE RD                                                                       PENDLETON       IN   46064‐9487
TURNER, LARRY J.          108 S LOVEJOY ST                                                                           DURAND          MI   48429‐1610
TURNER, LARRY R           3141 KAVE DR                                                                               COOKEVILLE      TN   38506‐8506
TURNER, LARRY W           KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND       OH   44114
                                                          BOND COURT BUILDING
TURNER, LATASHA A         1959 WESLEYAN ROAD                                                                         DAYTON          OH   45406‐3834
TURNER, LATERELL L        5142 WHALEY DR                                                                             TROTWOOD        OH   45427‐2129
TURNER, LAURA M           3705 DALE RD                                                                               SAGINAW         MI   48603
TURNER, LAWRENCE          245 LOUISIANA AVE                                                                          ELYRIA          OH   44035‐3428
TURNER, LAWRENCE M        11263 SUGAR MILL LANE                                                                      FRISCO          TX   75034‐0089
TURNER, LAWRENCE R        8400 S STATE ROAD 3                                                                        MUNCIE          IN   47302‐8710
TURNER, LAYTON            4249 RANDALL DR                                                                            LIBERTY TWP     OH   45011‐2356
TURNER, LEARA J           1609 HAYNES AVE                                                                            KOKOMO          IN   46901‐5238
TURNER, LEATHA MAE        MOODY EDWARD O                  801 W 4TH ST                                               LITTLE ROCK     AR   72201‐2107
TURNER, LEATRICE O        3076 CONNECTICUT ST                                                                        BURTON          MI   48519‐1544
TURNER, LEE A             3239 N DETROIT AVE                                                                         TOLEDO          OH   43610‐1042
TURNER, LEE C             19301 FENELON ST                                                                           DETROIT         MI   48234‐2201
TURNER, LEE E             PO BOX 214077                                                                              AUBURN HILLS    MI   48321‐4077
TURNER, LEE L             4701 BARKRIDGE TRL                                                                         FORT WORTH      TX   76109‐3211
TURNER, LELAND            15 MICHIGAN AVE                                                                            VERMILION       OH   44089‐2807
                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                          Part 37 of 40 Pg 613 of 901
Name                  Address1                         Address2                      Address3   Address4         City                  State Zip
TURNER, LELIA M       3200 PUTNAM ST                                                                             TERRE HAUTE            IN 47803‐3777
TURNER, LELIA M       PO BOX 43                                                                                  BRAZIL                 IN 47834‐0043
TURNER, LENETTE       330 W STEWART ST                 ET                                                        DAYTON                 OH 45408‐2047
TURNER, LEO C         4259 S NINE MILE ROAD                                                                      ALLEGANY               NY 14706‐9794
TURNER, LEON F        61 SEQUOYAH VIEW DRIVE                                                                     OAKLAND                CA 94605‐4906
TURNER, LEONA B       3140 CAT LAKE RD                                                                           CARO                   MI 48723‐9555
TURNER, LEONARD B     75 PLANTERS ROW                  PORT ROYAL PLANTATION                                     HILTON HEAD ISLAND     SC 29928‐5504
TURNER, LEONARD E     4621 FERNBANK DR SW                                                                        ATLANTA                GA 30331‐7113
TURNER, LEONARD J     4405 S 450 EAST                                                                            MIDDLETOWN             IN 47356
TURNER, LEONARD K     350 HOWELL RD                                                                              HILLSBORO              TN 37342‐3703
TURNER, LEROY         523 W GRACELAWN AVE                                                                        FLINT                  MI 48505‐2676
TURNER, LEROY         1741 LAUREL OAK CT                                                                         FLINT                  MI 48507‐2264
TURNER, LEROY E       2204 STATE ROUTE 133                                                                       BETHEL                 OH 45106‐8507
TURNER, LESLIE
TURNER, LEVI D        18525 WESTMORELAND RD                                                                      DETROIT               MI   48219‐5001
TURNER, LILLIE M      2259 E RIVERSIDE DR                                                                        INDIANAPOLIS          IN   46208‐5275
TURNER, LILLIE M      2259 E. RIVERSIDE DR.                                                                      INDIANAPOLIS          IN   46208‐5275
TURNER, LINDA         13146 229TH ST                                                                             SPRINGFIELD GARDENS   NY   11413‐1839
TURNER, LINDA         401 ROBERTS CIR                                                                            ARLINGTON             TX   76010‐2216
TURNER, LINDA         131‐46 229TH ST                                                                            LAURELTON, QUEENS     NY   11413‐1839
TURNER, LINDA         907 BLACK AVE                                                                              FLINT                 MI   48505‐3565
TURNER, LINDA E       648 NEUBERT AVE                                                                            FLINT                 MI   48507‐1717
TURNER, LINDA F       823 WALNUT ST APT 1005                                                                     KANSAS CITY           MO   64106‐1829
TURNER, LINDA G       3116 PROCTOR AVE                                                                           FLINT                 MI   48504‐2648
TURNER, LINDA J       6092 BIRCHWOOD DR                                                                          LAKE                  MI   48632‐9190
TURNER, LINDA J       17216 APPOLINE ST                                                                          DETROIT               MI   48235‐1401
TURNER, LINDA K       15947 78TH AVE                                                                             TINLEY PARK           IL   60477‐6717
TURNER, LINDA M       1649 S ELIZABETH ST                                                                        KOKOMO                IN   46902‐2457
TURNER, LINDA M       PO BOX 351                                                                                 DUNLAP                TN   37327‐0351
TURNER, LINDSEY       ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                       NEW YORK              NY   10006‐1638
TURNER, LISA KAYE     2090 W WILSON RD                                                                           CLIO                  MI   48420‐1604
TURNER, LISA M        PO BOX 532097                                                                              GRAND PRAIRIE         TX   75053‐2097
TURNER, LISA MARIE    PO BOX 532097                                                                              GRAND PRAIRIE         TX   75053‐2097
TURNER, LITTEREAN H   1763 WALTER I AARON DR NW                                                                  ATLANTA               GA   30318‐3485
TURNER, LITTEREAN H   1763 WALTER I. AARON DR                                                                    ATLANTA               GA   30318‐3485
TURNER, LLOYD G       1925 SHORT RD                                                                              SAGINAW               MI   48609‐9547
TURNER, LLOYD L       4901 RIOVIEW DR                                                                            CLARKSTON             MI   48346
TURNER, LLOYD L       27330 ARBORWAY RD UNIT 26                                                                  SOUTHFIELD            MI   48033‐3584
TURNER, LOIS B        3701 INTERNATIONAL DR APT 229                                                              SILVER SPRING         MD   20906‐1558
TURNER, LOIS F        7650 N UNIVERSITY DR APT 226                                                               TAMARAC               FL   33321‐2948
TURNER, LOIS J        425 RAINBOW CIR                                                                            KOKOMO                IN   46902‐3632
TURNER, LOIS J        415 RAINBOW CIR                                                                            KOKOMO                IN   46902
TURNER, LOIS J        2998 SE 69 HWY                                                                             LATHROP               MO   64465‐8527
TURNER, LOLA M        2420 RITCHIE ST                                                                            OAKLAND               CA   94605‐3246
TURNER, LONDELL       BRAYTON PURCELL                  PO BOX 6169                                               NOVATO                CA   94948‐6169
TURNER, LONNIE        2906 CLERMONT COUNTY FARMS RD                                                              BETHEL                OH   45106
TURNER, LORA          1434 E 60TH ST APT 10                                                                      ANDERSON              IN   46013
TURNER, LOUIS M       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                       STREET, SUITE 600
TURNER, LOUISE        5022 WAKEFIELD RD                                                                          SAGINAW               MI 48601‐9460
TURNER, LOUISE        1114 CONLIN DRIVE                                                                          LANCASTER             TX 75134
TURNER, LOUISE        1114 CONLIN DR                                                                             LANCASTER             TX 75134‐2361
                      09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                       Part 37 of 40 Pg 614 of 901
Name                  Address1                      Address2                       Address3   Address4         City              State Zip
TURNER, LOUISE V      7026 E EDSEL FORD                                                                        DETROIT            MI 48211‐2403
TURNER, LOUISE W      1159 PEARL STREET                                                                        SHARON             PA 16146‐3621
TURNER, LOUISE W      1159 PEARL ST                                                                            SHARON             PA 16146‐3621
TURNER, LOWELL        LANIER LAW FIRM               6810 FM 1960 WEST SUITE 1550                               HOUSTON            TX 77069
TURNER, LUCILLE B     85 ELMSFORD DR                                                                           CLAWSON            MI 48017‐1235
TURNER, LUDIE G       PO BOX 5342                                                                              LIMA               OH 45802‐5342
TURNER, LULA H        2581 HINGHAM LN                                                                          COLUMBUS           OH 43224‐3725
TURNER, LULA P        404 STUCKHARDT RD                                                                        TROTWOOD           OH 45426‐2706
TURNER, LULA R        263 COUNTY RD 352                                                                        OXFORD             MS 38655
TURNER, LUTHER        PO BOX 1296                                                                              SPRING HILL        TN 37174‐1296
TURNER, LUTHER P      4317 FORESTVIEW CT                                                                       ENGLEWOOD          OH 45322‐2560
TURNER, LUTRELL       5259 MANCHESTER ROAD                                                                     WEST CARROLLTON    OH 45449‐1934
TURNER, LUVERNE C     6D EL RED DR                                                                             TAVARES            FL 32778
TURNER, LV            6223 YELLOW BIRCH CT                                                                     AVON               IN 46123‐8235
TURNER, LYDIA         12526 SAINT ANDREWS WAY                                                                  FENTON             MI 48430‐8870
TURNER, LYNDA M       4629 SPRINGWAY LN                                                                        FORT WORTH         TX 76123‐4629
TURNER, LYNN A        2257 MIDVALE ST                                                                          KETTERING          OH 45420‐3525
TURNER, LYNN ALAN     2257 MIDVALE ST                                                                          KETTERING          OH 45420‐3525
TURNER, LYNN D        7801 108TH AVE NE                                                                        NORMAN             OK 73026‐9760
TURNER, M C           917 S GLENWOOD AVE                                                                       INDEPENDENCE       MO 64053‐1622
TURNER, MACK          PO BOX 421                                                                               BETHANY            LA 71007‐0421
TURNER, MACK          P O BOX 421                                                                              BETHANY            LA 71007‐0421
TURNER, MAE OSIE      5172 HIGHWOOD DR                                                                         FLINT              MI 48504‐1220
TURNER, MARCUS        533 SPRING AVE                                                                           FRANKLIN           OH 45005‐3568
TURNER, MARGARET E.   RR 1 BOX 338                                                                             CASTLEWOOD         VA 24224‐9662
TURNER, MARGIE        PO BOX 16                                                                                CARENCRO           LA 70520‐0016
TURNER, MARIA L       3251 W SUTTON RD                                                                         LAPEER             MI 48446‐9703
TURNER, MARIAN G      PO BOX 2914                                                                              ANDERSON           IN 46018‐2914
TURNER, MARIETTA I    2833 N 400TH ST                                                                          MASON               IL 62443‐2511
TURNER, MARION        1842 DERBY DR                                                                            AUGUSTA            GA 30904‐5226
TURNER, MARION F      8856 FISK RD                                                                             AKRON              NY 14001‐9024
TURNER, MARION I      11530 HAZEL AVE                                                                          GRAND BLANC        MI 48439
TURNER, MARION L      3870 GREENDALE DR                                                                        FORT WAYNE         IN 46815‐4825
TURNER, MARION P      BOONE ALEXANDRA               205 LINDA DR                                               DAINGERFIELD       TX 75638‐2107
TURNER, MARJORIE B    106 HICKORY OAK HOLW                                                                     CUMMING            GA 30040‐2064
TURNER, MARJORIE H    392 CLOVERWOOD DR                                                                        MASON              OH 45040‐2154
TURNER, MARK A        741 PARMALEE AVENUE                                                                      YOUNGSTOWN         OH 44510‐1649
TURNER, MARK A        604 LAKE AVE                                                                             FRANKLIN           OH 45005‐3525
TURNER, MARK A        10114 SHARP RD                                                                           SWARTZ CREEK       MI 48473‐9155
TURNER, MARK ALLEN    10114 SHARP RD                                                                           SWARTZ CREEK       MI 48473‐9155
TURNER, MARK F        16457 GLENROCK DR                                                                        HOLLY              MI 48442‐8847
TURNER, MARK J        406 ARROWBEND ST                                                                         VILLA RICA         GA 30180
TURNER, MARK S        49217 BEMIS RD                                                                           BELLEVILLE         MI 48111‐9761
TURNER, MARLA J       1101 MADRID RD                                                                           GREENWOOD          IN 46143‐2658
TURNER, MARLIN R      18901 N LITTLE JOHN LN                                                                   MUNCIE             IN 47303‐9783
TURNER, MARTHA        6656 MANNING RD                                                                          MIAMISBURG         OH 45342‐1622
TURNER, MARTHA        4757 GARLAND ST                                                                          DETROIT            MI 48214‐1519
TURNER, MARTHA        5295 MARCIA PLACE                                                                        W. PALM BEACH      FL 33407
TURNER, MARTHA        5295 MARCIA PL                                                                           WEST PALM BEACH    FL 33407‐1664
TURNER, MARTHA A      682 SOUTHERN TRACE DR                                                                    ROCKMART           GA 30153‐6470
TURNER, MARTHA J      931 ENGLEWOOD AVE APT 5                                                                  KENMORE            NY 14223‐2042
TURNER, MARTHA L      PO BOX 214113                                                                            AUBURN HILLS       MI 48321‐4113
                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                          Part 37 of 40 Pg 615 of 901
Name                  Address1                         Address2                      Address3   Address4         City             State Zip
TURNER, MARTIN L      11394 WAHL RD                                                                              SAINT CHARLES     MI 48655‐9540
TURNER, MARVIN        3301 MACKIN RD                                                                             FLINT             MI 48504‐3288
TURNER, MARY          4005 DARBY ST                                                                              SAINT LOUIS       MO 63120‐1421
TURNER, MARY          6164 HAMILTON RICHMOND RD                                                                  SOMERVILLE        OH 45064‐9711
TURNER, MARY          6164 HAMILTON‐RICHMOND RD                                                                  SOMERVILLE        OH 45064‐9711
TURNER, MARY          4005 DARBY                                                                                 ST LOUIS          MO 63120‐1421
TURNER, MARY          1182 EADS ROAD                                                                             VERONA            KY 41092
TURNER, MARY A        3885 WOODMERE PARK BLVD APT 1                                                              VENICE            FL 34293‐5270
TURNER, MARY A        414 BUCHANAN RD                                                                            GRIFFIN           GA 30224‐9510
TURNER, MARY A        612 ASH ST                                                                                 AUBURNDALE        FL 33823
TURNER, MARY A        222 TACOMA LANE                                                                            WEST PALM BCH     FL 33404‐6229
TURNER, MARY D        1483 SEED TICK ROAD                                                                        DAWSONVILLE       GA 30534‐5448
TURNER, MARY E        941 BLAINE AVE                                                                             JANESVILLE        WI 53545‐1735
TURNER, MARY E        1521 PAXTON TERR                                                                           PORT CHARLOTTE    FL 33952‐2713
TURNER, MARY E        3897 140TH AVE                                                                             HOLLAND           MI 49424
TURNER, MARY E        2002 ROCKPORT RD                                                                           JANESVILLE        WI 53548‐4438
TURNER, MARY H        PO BOX 982                                                                                 BEDFORD           IN 47421‐0982
TURNER, MARY H        2400 S 23RD ST                                                                             SAGINAW           MI 48601‐4213
TURNER, MARY L        1934 BARKS ST                                                                              FLINT             MI 48503‐4304
TURNER, MARY LOUISE   5348 WORCHESTER STR                                                                        SWARTZ CREEK      MI 48473‐1114
TURNER, MARY M        324 RIDGE WAY                                                                              BRASELTON         GA 30517‐1877
TURNER, MARY R.       500 ILLINOIS ST                                                                            JOLIET             IL 60436‐2153
TURNER, MARY V        1670 S 450 E                                                                               ANDERSON          IN 46017‐9579
TURNER, MATTHEW D     2403 TWIN OAKS DR                                                                          HARRISONVILLE     MO 64701‐2900
TURNER, MATTHEW W     4136 FORBUSH AVE                                                                           W BLOOMFIELD      MI 48323‐1033
TURNER, MATTIE B      2504 REDMONT RD NW                                                                         HUNTSVILLE        AL 35810‐3658
TURNER, MATTIE L      905 COLUMBUS ST                                                                            WILMINGTON        OH 45177‐1907
TURNER, MATTIE L      905 E. COLUMBUS ST.                                                                        WILMINGTON        OH 45177‐1907
TURNER, MATTIE R      1620 W 15TH ST                                                                             ANDERSON          IN 46016‐3204
TURNER, MAURICE L     12511 SOUTH MARSFIELD                                                                      CALUMET PARK       IL 60643
TURNER, MAVERICK      6481 GARDEN DR                                                                             MOUNT MORRIS      MI 48458‐2326
TURNER, MAXINE        8104 MODESTO DR                                                                            ARLINGTON         TX 76001‐8545
TURNER, MAXINE E      957 DARLING ST                                                                             FLINT             MI 48532‐5031
TURNER, MAXINE E      957 DARLING                                                                                FLINT             MI 48532‐5031
TURNER, MAXINE T      215 HELTONVILLE ROAD EAST                                                                  BEDFORD           IN 47421‐9241
TURNER, MAZSEANE      39104 CHEROKEE DR                                                                          ROMULUS           MI 48174‐5025
TURNER, MCARTHER      2718 S OUTER DR                                                                            SAGINAW           MI 48601‐6650
TURNER, MELBA E       601 N MADISON ST                                                                           GREENCASTLE       IN 46135‐1050
TURNER, MELBA E       601 N. MADISON ST.                                                                         GREENCASTLE       IN 46135‐1050
TURNER, MELISSA       7101 FERNWOOD ST APT 2712                                                                  RICHMOND          VA 23228‐4074
TURNER, MELISSA A     504 WALKER RD                                                                              ELIZABETH         PA 15037‐1042
TURNER, MELVIN        532 DORCHESTER DR                                                                          DIMONDALE         MI 48821‐8704
TURNER, MELVIN J      7195 STARVILLE RD                                                                          COTTRELLVILLE     MI 48039‐1821
TURNER, MELVIN J.     7195 STARVILLE RD                                                                          COTTRELLVILLE     MI 48039‐1821
TURNER, MELVIN K      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                       STREET, SUITE 600
TURNER, MELVIN T      597 REDBUD BLVD S                                                                          ANDERSON         IN 46013‐1173
TURNER, MERDIS V      APT 81                           3743 SOUTH ADAMS ROAD                                     ROCHESTER HLS    MI 48309‐3970
TURNER, MERDIS V      3743 S ADAMS RD APT 81                                                                     ROCHESTER        MI 40309‐3970
TURNER, MICHAEL
TURNER, MICHAEL A     620 CHARLES LN                                                                             SPRING HILL      TN 37174‐7351
TURNER, MICHAEL D     7557 SHETLAND DR                                                                           SAGINAW          MI 48609‐4273
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                        Part 37 of 40 Pg 616 of 901
Name                  Address1                            Address2                      Address3   Address4         City              State Zip
TURNER, MICHAEL D     3251 W SUTTON RD                                                                              LAPEER             MI 48446‐9703
TURNER, MICHAEL E     8912 E COUNTY ROAD 100 N                                                                      AVON               IN 46123‐9493
TURNER, MICHAEL E     PO BOX 16                                                                                     CARENCRO           LA 70520‐0016
TURNER, MICHAEL E     1404 ALCONA DR                                                                                BURTON             MI 48509‐2004
TURNER, MICHAEL J     6321 N CURTIS DR                                                                              EVANSVILLE         WI 53536‐8352
TURNER, MICHAEL J     11680 MEADOW PL                                                                               WASHINGTON TWP     MI 48094‐2468
TURNER, MICHAEL K     23726 DEER CHASE LN                                                                           NAPERVILLE          IL 60564‐5327
TURNER, MICHAEL L     PO BOX 43                                                                                     YODER              IN 46798‐0043
TURNER, MICHAEL L     5820 HILLSBORO RD                                                                             DAVISBURG          MI 48350‐3619
TURNER, MICHAEL R     27475 FRANKLIN RD APT 302                                                                     SOUTHFIELD         MI 48034‐8279
TURNER, MICHAEL R     1162 BOWEN DR W                                                                               NORTH TONAWANDA    NY 14120‐2861
TURNER, MICHAEL T     1282 N 650 WEST                                                                               ANDERSON           IN 46011‐9125
TURNER, MICHAEL T     12651 SEMINOLE BLVD LOT 22E                                                                   LARGO              FL 33778
TURNER, MICHAEL W     2135 BLACKMORE ST                                                                             SAGINAW            MI 48602‐3646
TURNER, MICHELLE      1429 LINCOLN DR                                                                               FLINT              MI 48503‐3555
TURNER, MICHELLE G    518 6TH ST                                                                                    CLAIRTON           PA 15025
TURNER, MICKEY B      30548 FORT HAMPTON ST                                                                         ARDMORE            TN 38449‐3231
TURNER, MIKE
TURNER, MILDRED       33 KIRKSTONE PASS                                                                             ROCHESTER         NY   14626‐1744
TURNER, MILLIE R      RR 2 BOX 59C                                                                                  BOONEVILLE        KY   41314
TURNER, MILLS E       3024 GRACELAND AVE                                                                            INDIANAPOLIS      IN   46208‐4616
TURNER, MINDY M       5892 GRACELAWN ST                                                                             NORTH BRANCH      MI   48461‐9635
TURNER, MINNIE        339 ETHEL AVE                                                                                 CARLISLE          OH   45005‐1309
TURNER, MINNIE        339 ETHEL AVE.                                                                                CARLISLE          OH   45005‐1309
TURNER, MINNIE L      898 WEBB                                                                                      DETROIT           MI   48202‐1025
TURNER, MINNIE L      898 WEBB ST                                                                                   DETROIT           MI   48202‐1025
TURNER, MONA L        2400 HARVARD WAY APT 133                                                                      RENO              NV   89502‐7319
TURNER, MONTEL R      1116 LAMSON ST                                                                                SAGINAW           MI   48601‐3450
TURNER, MORRIS E      367 CARMELAIRE CT                                                                             CARMEL            IN   46032‐2167
TURNER, MORSE D       C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                      EDWARDSVILLE      IL   62025
                      ROWLAND P C
TURNER, NANCIE        3310 FLO LOR DR APT 8                                                                         YOUNGSTOWN        OH   44511‐2735
TURNER, NANCY A       4804 NEW RD                                                                                   AUSTINTOWN        OH   44515‐3820
TURNER, NANCY C       11723 COLLINWOOD CT                                                                           FREDERICKSBURG    VA   22407‐7115
TURNER, NANCY D       823 BOUTELL DR                                                                                GRAND BLANC       MI   48439‐1942
TURNER, NANCY F       2124 CULVER AVENUE                                                                            DAYTON            OH   45420‐2108
TURNER, NANCY L       411 OAKWOOD ST                                                                                HOLLY             MI   48442‐1337
TURNER, NANCY L       9345 SANER CT                                                                                 SYLVANIA          OH   43560‐9206
TURNER, NANCY L       411 OAKWOOD                                                                                   HOLLY             MI   48442‐1337
TURNER, NATHANIEL     327 WOODBRIDGE AVE                                                                            BUFFALO           NY   14214‐1516
TURNER, NATHANIEL     2208 TROUT DR                       EVERGREEN REGENCY MANOR                                   FLINT             MI   48507‐2032
TURNER, NATHANIEL O   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                          STREET, SUITE 600
TURNER, NEAL F        MCMANAMY DOUGLAS P LAW OFFICE OF    24 DRAYTON STREET                                         SAVANNAH          GA 31401

TURNER, NEAL F        MOTLEY RICE                         1750 JACKSON ST                                           BARNWELL          SC   29812‐1546
TURNER, NELLIE V      107 ALPHA DR                                                                                  GREENVILLE        SC   29605
TURNER, NETTIE M      2500 KOHLER ST                                                                                ALTON             IL   62002‐4475
TURNER, NINA T        805 CASTLE PINE CT                                                                            PONTIAC           MI   48340‐1338
TURNER, NOEL L        1310 SALT SPRINGS RD                                                                          WARREN            OH   44481‐9690
TURNER, NOEMI         7220 RIVER RIDGE CT                                                                           BRIGHTON          MI   48116‐7771
TURNER, NORA          1938 SHERIDAN                                                                                 SAGINAW           MI   48601‐3609
                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 617 of 901
Name                   Address1                       Address2            Address3         Address4         City             State Zip
TURNER, NORMA E        3770 GRANGER RD                                                                      ORTONVILLE        MI 48462‐9118
TURNER, NORRIS A       3101 LAKECREST DR                                                                    DACULA            GA 30019‐2902
TURNER, OLGA M         6574 NEWS ROAD                                                                       CHARLOTTE         MI 48813‐9396
TURNER, OLLIE          1416 JEFFERSON AVE                                                                   KALAMAZOO         MI 49006‐3132
TURNER, ONITA L        1311 DONAL DR                                                                        FLINT             MI 48532‐2638
TURNER, OPAL L         703 AUSTIN DR SE                                                                     SMYRNA            GA 30082‐3303
TURNER, OPAL L         703 AUSTIN                                                                           SMYRNA            GA 30082‐3303
TURNER, OPAL M         33938 KIBILOSKI RD                                                                   BURR OAK          MI 49030‐9636
TURNER, ORPHA          165 TACKETT RD                                                                       CAMPTON           KY 41301‐1301
TURNER, ORPHA          8605 QUARRY RD                                                                       HILLSBORO         OH 45133‐6915
TURNER, OSCAR J        4207 FREE PIKE                                                                       DAYTON            OH 45416‐1235
TURNER, OSSIE L        PO BOX 18112                                                                         SHREVEPORT        LA 71138‐1112
TURNER, OTIS K         3108 CANNOCK LN                                                                      COLUMBUS          OH 43219‐3000
TURNER, PALESTINE      9806 SNOWSTAR PL                                                                     FORT WAYNE        IN 46835‐9390
TURNER, PAMELA S       12619 VIA CATHERINA CT                                                               GRAND BLANC       MI 48439‐1473
TURNER, PATRICIA A     3661 ASHTON CT                                                                       GULF SHORES       AL 36542‐9095
TURNER, PATRICIA A     3661 ASHTON CRT.                                                                     GULF SHORES       AL 36542
TURNER, PATRICIA A     7019 EL MATADOR ST                                                                   ZAPHYRHILLS       FL 33541‐1382
TURNER, PATRICIA E     6910 SYRACUSE ST                                                                     TAYLOR            MI 48180‐1716
TURNER, PATRICK J      1290 MILLVILLE OXFORD RD                                                             HAMILTON          OH 45013‐9101
TURNER, PATRICK M      302 W PARK AVE                                                                       GREENFIELD        IN 46140‐1426
TURNER, PATRICK M.     302 W PARK AVE                                                                       GREENFIELD        IN 46140‐1426
TURNER, PAUL A         9172 OAKES RD                                                                        ARCANUM           OH 45304‐8918
TURNER, PAUL A         2240 LARCHWOOD ST SW                                                                 ATLANTA           GA 30310‐1054
TURNER, PAUL A         9172 OAKES ROAD                                                                      ARCANUM           OH 45304‐8918
TURNER, PAUL C         297 COUNTRYWOODS DR                                                                  SELMER            TN 38375
TURNER, PAUL C         24 TUSSING LN                                                                        TONAWANDA         NY 14150‐5318
TURNER, PAUL D         1351 HUNTER RD                                                                       BRIGHTON          MI 48114‐8726
TURNER, PAUL E         11811 SMALLEY AVE                                                                    KANSAS CITY       MO 64134‐3964
TURNER, PAUL E         1063 METCALF RD                                                                      TOLEDO            OH 43615‐6829
TURNER, PAUL J         3899 SPRUCE RD                                                                       CROSWELL          MI 48422‐8414
TURNER, PAUL R         181 ARBOR PL                                                                         WEST JEFFERSON    NC 28694
TURNER, PAUL R         4726 HAMPSHIRE DR                                                                    FLOWER MOUND      TX 75028‐3055
TURNER, PAUL R         2114 SEYFORTH DR NE                                                                  HUNTSVILLE        AL 35811‐2046
TURNER, PAUL ROBERT    4726 HAMPSHIRE DR                                                                    FLOWER MOUND      TX 75028‐3055
TURNER, PAULINE E      980 WILMINGTON AVE APT 205                                                           DAYTON            OH 45420‐1619
TURNER, PAULINE E      980 WILMINGTON AVE             APT # 205                                             DAYTON            OH 45420‐5420
TURNER, PAYMOND        10471 RAWSONWILL RD                                                                  BELLEVILLE        MI 48111
TURNER, PEDRO J        1414 E PACIFIC AVE                                                                   INDEPENDENCE      MO 64050‐4750
TURNER, PEDRO JAMES    1414 E PACIFIC AVE                                                                   INDEPENDENCE      MO 64050‐4750
TURNER, PEGGY          220 W SAGINAW ST                                                                     MERRILL           MI 48637
TURNER, PERNELL        3615 OLD YORK RD                                                                     PHILADELPHIA      PA 19140‐4229
TURNER, PHILIP W       1115 YELLOWWOOD CIR                                                                  NOBLESVILLE       IN 46062‐9179
TURNER, PHILIP WAYNE   1115 YELLOWWOOD CIR                                                                  NOBLESVILLE       IN 46062‐9179
TURNER, PHILLIP        23775 CAYUGA AVE                                                                     HAZEL PARK        MI 48030‐2705
TURNER, PHILLIP        356 E ELZA AVE                                                                       HAZEL PARK        MI 48030‐2277
TURNER, PHILLIP A      PO BOX 411                                                                           HONOR             MI 49640‐0411
TURNER, PHILLIP M      9252 NICHOLS RD                                                                      MONTROSE          MI 48457‐9039
TURNER, PHYLLIS        10700 NW 37TH ST                                                                     YUKON             OK 73099‐6008
TURNER, PHYLLIS        1 SCENIC DR UNIT 812                                                                 HIGHLANDS         NJ 07732‐1320
TURNER, PHYLLIS T      7602 RED FOX DR                                                                      YOUNGSTOWN        OH 44512‐5331
TURNER, PRISCILLA      5119 N JENNINGS RD                                                                   FLINT             MI 48504‐1115
                                 09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                     Part 37 of 40 Pg 618 of 901
Name                             Address1                          Address2                      Address3   Address4         City            State Zip
TURNER, QUEENIE H                4127 ARDERY AVE                                                                             DAYTON           OH 45406‐1406
TURNER, QUINTON MARQUELL
TURNER, R KEITH K                328 DURRELL AVE                                                                             WYOMING         OH   45215
TURNER, RALPH K                  909 ELM RD                                                                                  EXCELSIOR SPG   MO   64024‐3501
TURNER, RALPH L                  5915 SILVERADO PL                                                                           PASO ROBLES     CA   93446‐8361
TURNER, RALPH W                  1376 SOUTH M‐88                                                                             BELLAIRE        MI   49615
TURNER, RANDY                    1207 MARTIN DR                                                                              ANDERSON        IN   46012‐4156
TURNER, RAY E                    14 W WHITEHALL WAY                                                                          ANDERSON        IN   46013‐3843
TURNER, RAYFORD H                469 PONDER PL APT 102                                                                       NASHVILLE       TN   37228‐1921
TURNER, RAYMOND                  1734 YALTA RD                                                                               BEAVERCREEK     OH   45432‐2351
TURNER, RAYMOND                  10471 RAWSONWILL RD                                                                         BELLEVILLE      MI   48111‐9319
TURNER, RAYMOND                  1734 YALTA                                                                                  BEAVERCREEK     OH   45432‐2351
TURNER, RAYMOND F                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                   STREET, SUITE 600
TURNER, RAYMOND S                1020 BETHUNE CIR                                                                            DAYTON          OH   45408
TURNER, RAYMOND T                509 PATTERSON DR                                                                            COLUMBIA        TN   38401‐5550
TURNER, REBECCA M                150 ELAINE DR                                                                               FRANKLIN        OH   45005‐1513
TURNER, REGINA A                 1930 CRUMLEY RD                                                                             GREENBACK       TN   37742
TURNER, REGINA C                 2687 CHURCHILL LN #2                                                                        SAGINAW         MI   48603‐2690
TURNER, REID, DUNCAN, LOOMER &   RODNEY E. LOOMER                  PO BOX 4043                                               SPRINGFIELD     MO   65808‐4043
PATTON PC
TURNER, REID, DUNCAN, LOOMER &   RODNEY E. LOOMER, ESQ.            PO BOX 4043                                               SPRINGFIELD     MO 65808‐4043
PATTON, PC
TURNER, REUBEN W                 1010 JUDY LYNN DR                                                                           ARLINGTON       TX   76014‐2920
TURNER, REVA I                   4033 STONEHAVEN RD                                                                          KETTERING       OH   45429‐1745
TURNER, REXFORD M                6102 5 POINT HWY                                                                            EATON RAPIDS    MI   48827‐9029
TURNER, RHONDA                   3450 N EDON RD                                                                              ALLEN           MI   49227‐7200
TURNER, RHONDA J                 1611 W 20TH ST                                                                              ANDERSON        IN   46016‐3818
TURNER, RHONDA LOU               527 3RD AVE                       APT 4                                                     NEW BRIGHTON    PA   15066‐1759
TURNER, RHONDA LOU               527 3RD AVE APT 4                                                                           NEW BRIGHTON    PA   15066‐1759
TURNER, RICHARD
TURNER, RICHARD A                9566 GETTYSBURG SOUTHEASTERN RD                                                             BRADFORD        OH   45308
TURNER, RICHARD A                6965 OLD ZION RD                                                                            COLUMBIA        TN   38401‐6025
TURNER, RICHARD B                107 E MAIN ST                                                                               POTTERVILLE     MI   48876‐5129
TURNER, RICHARD D                3220 WOODVALLEY DR                                                                          FLUSHING        MI   48433‐2266
TURNER, RICHARD J                220 W SAGINAW ST                                                                            MERRILL         MI   48637‐8738
TURNER, RICHARD J                1707 VICTORIA LN                                                                            LIMA            OH   45805‐1325
TURNER, RICHARD L                3828 N 400 W                                                                                MARION          IN   46952‐9786
TURNER, RICHARD L                556 BERG AVE                                                                                CAMDEN          AR   71701‐3255
TURNER, RICHARD LEE              3828 N 400 W                                                                                MARION          IN   46952‐9786
TURNER, RICHARD P                12219 N BONESTEAD RD                                                                        N MANCHESTER    IN   46962‐9617
TURNER, RICHARD R                2258 CHERRY OAK DR                                                                          KETTERING       OH   45440‐1118
TURNER, RICKY D                  10700 NW 37TH ST                                                                            YUKON           OK   73099‐6008
TURNER, RICKY L                  900 VINCENT COURT                                                                           LANSING         MI   48910‐5115
TURNER, RICKY LEE                900 VINCENT COURT                                                                           LANSING         MI   48910‐5115
TURNER, RICKY LEE
TURNER, RITA                     PO BOX 214077                                                                               AUBURN HILLS    MI   48321‐4077
TURNER, RITA D                   2668 GOSS ST                                                                                BIRMINGHAM      AL   35211
TURNER, ROBERT                   20006 N CONQUISTADOR DR                                                                     SUN CITY WEST   AZ   85375‐4268
TURNER, ROBERT ANNE              129 TAMMY LN                                                                                BENTON          LA   71006‐8662
TURNER, ROBERT A                 2680 NORTHFOREST RD.              APT.131                                                   GETZVILLE       NY   14068
TURNER, ROBERT B                 25590 COPELAND RD                                                                           ATHENS          AL   35613‐4716
                         09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                             Part 37 of 40 Pg 619 of 901
Name                     Address1                         Address2                    Address3   Address4         City              State Zip
TURNER, ROBERT B         360 ELYRIA AVE                                                                           AMHERST            OH 44001‐2318
TURNER, ROBERT B.        360 ELYRIA AVE                                                                           AMHERST            OH 44001‐2318
TURNER, ROBERT D         17000 SE 21ST ST                                                                         SILVER SPRINGS     FL 34488‐5853
TURNER, ROBERT E         1714 STEPHENS AVE                                                                        ANNISTON           AL 36201
TURNER, ROBERT E         4094 COLGATE WAY                                                                         DECATUR            GA 30034‐5914
TURNER, ROBERT E         2824 LYDIA ST SW                                                                         WARREN             OH 44481‐9686
TURNER, ROBERT E         20 SHANNON ST                                                                            DAYTON             OH 45402‐8335
TURNER, ROBERT E         3211 GARVIN RD                                                                           DAYTON             OH 45405‐2102
TURNER, ROBERT E         6902 RANSDELL ST                                                                         INDIANAPOLIS       IN 46227‐2348
TURNER, ROBERT E         1980 WILLOW BAY DR                                                                       DEFIANCE           OH 43512‐3732
TURNER, ROBERT E         719 WESTWOOD DR                                                                          DEFIANCE           OH 43512‐1925
TURNER, ROBERT E         20 SHANNON STREET                                                                        DAYTON             OH 45402‐8335
TURNER, ROBERT F         7921 MORRIS RD                                                                           KNOXVILLE          TN 37938‐4550
TURNER, ROBERT F         1915 BALDWIN AVE APT 29                                                                  PONTIAC            MI 48340‐1177
TURNER, ROBERT F         966 BLOOMFIELD VILLAGE BLVD                                                              AUBURN HILLS       MI 48326‐3574
TURNER, ROBERT G         1123 N 33RD AVE APT 10B                                                                  MELROSE PARK        IL 60160‐2845
TURNER, ROBERT G         1708 E 60TH PL                                                                           TULSA              OK 74105‐7019
TURNER, ROBERT G         4403 DUFFER LOOP                                                                         SEBRING            FL 33872‐1603
TURNER, ROBERT H         2901 HARVEY AVE                                                                          KETTERING          OH 45419‐2039
TURNER, ROBERT I         2173 S CENTER RD APT 115                                                                 BURTON             MI 48519‐1808
TURNER, ROBERT J         885 STATE ROUTE 314 N                                                                    MANSFIELD          OH 44903‐8044
TURNER, ROBERT J         675 WALNUT ST                                                                            LOCKPORT           NY 14094‐3231
TURNER, ROBERT J         17658 E NORTH CARIBOU LAKE RD                                                            DE TOUR VILLAGE    MI 49725‐9573
TURNER, ROBERT J         5333 NAVARRO ST                                                                          CORPUS CHRISTI     TX 78415‐2011
TURNER, ROBERT J         1156 ENGLISH SADDLE RD                                                                   FLORISSANT         MO 63034‐3427
TURNER, ROBERT J         1312 3RD ST NE                                                                           MANDAN             ND 58554‐3609
TURNER, ROBERT J         129 SASSAFRAS LN                                                                         CONWAY             SC 29526‐9332
TURNER, ROBERT J         PO BOX 49                                                                                CARLETON           MI 48117‐0049
TURNER, ROBERT L         5833 W 200 N                                                                             ANDERSON           IN 46011‐8759
TURNER, ROBERT L         2140 DELANO RD                                                                           OXFORD             MI 48371‐2602
TURNER, ROBERT L         ANGELOS PETER G                  100 N CHARLES STREET, ONE                               BALTIMORE          MD 21201
                                                          CHARLES CENTER
TURNER, ROBERT L         506 PECAN ST                                                                             TUTTLE            OK   73089‐7800
TURNER, ROBERT L         780 COUNTRY DR # 2934                                                                    TUTTLE            OK   73089
TURNER, ROBERT L         3809 W. NEWARK RD.                                                                       BELOIT            WI   53511
TURNER, ROBERT L         4467 E DAYHUFF RD                                                                        MOORESVILLE       IN   46158‐6714
TURNER, ROBERT L         1823 BRIARCLIFF RD                                                                       BALTIMORE         MD   21234‐3809
TURNER, ROBERT M         PO BOX 576                                                                               ESTERO            FL   33929‐0576
TURNER, ROBERT MICHAEL   1607 NE 196TH ST                                                                         SMITHVILLE        MO   64089‐9115
TURNER, ROBERT O         31491 W STONEWOOD CT                                                                     FARMINGTN HLS     MI   48334‐2545
TURNER, ROBERT R         648 NEWBERT AVE                                                                          FLINT             MI   48507‐1717
TURNER, ROBERT RAY       640 NEUBERT AVE                                                                          FLINT             MI   48507‐1717
TURNER, ROBERT V         PO BOX 758                                                                               MATTESON          IL   60443‐0758
TURNER, ROBERT W         151 UPSHAW DR                                                                            ALPHARETTA        GA   30009‐1547
TURNER, ROBERT Z         3046 E WILSON RD                                                                         CLIO              MI   48420‐9704
TURNER, ROBIN            36 PENDLEWOOD DRIVE                                                                      BUFFALO           NY   14225‐2626
TURNER, ROBIN E          1680 E WESSON DR                                                                         CHANDLER          AZ   85286‐1182
TURNER, ROBIN JOY        216 OSAGE TRL                                                                            COLUMBIA          TN   38401‐2134
TURNER, ROGER C          17186 ATWATER WAY 63                                                                     FORT MYERS        FL   33967
TURNER, ROGER D          3288 J W HOLLINGTON RD                                                                   FREEPORT          FL   32439
TURNER, ROGER D          942 WRIGHT AVE                                                                           XENIA             OH   45385‐5367
TURNER, ROLAND R         PO BOX 5487                                                                              SAGINAW           MI   48603‐0487
                          09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                               Part 37 of 40 Pg 620 of 901
Name                     Address1                           Address2            Address3         Address4               City             State Zip
TURNER, ROMA             12933OPPERFIELD LN.                                                                            MADISON           AL 35758
TURNER, RONALD           6194 BERMUDA LN                                                                                MOUNT MORRIS      MI 48458‐2623
TURNER, RONALD E         756 BLUFF ST                                                                                   BELOIT            WI 53511‐5351
TURNER, RONALD E         2736 PHELPS RD                                                                                 SHREVEPORT        LA 71107‐5006
TURNER, RONALD E         4005 DARBY ST                                                                                  SAINT LOUIS       MO 63120‐1421
TURNER, RONALD E         1875 W KAVANAGH AVE                                                                            TRACY             CA 95376‐0747
TURNER, RONALD E         1220 BRAMBLES DR                                                                               WATERFORD         MI 48328‐4734
TURNER, RONALD H         18511 S RIVER RD                                                                               THREE RIVERS      MI 49093‐9327
TURNER, RONALD J         16 MADDEN AVE                                                                                  MILFORD           MA 01757‐2318
TURNER, RONALD KENNETH   2635 GINGER DR                                                                                 BUFORD            GA 30519‐4487
TURNER, RONALD L         2363 CALCUT RD                                                                                 LACHINE           MI 49753‐9312
TURNER, RONALD L         7925 NORTHLAKE RD                                                                              MILLINGTON        MI 48746‐9612
TURNER, RONALD L         10281 CARDIFF DR                                                                               KEITHVILLE        LA 71047‐8930
TURNER, RONALD T         4430 HALLOCK YOUNG RD                                                                          NEWTON FALLS      OH 44444‐8719
TURNER, RONALD T         PO BOX 98                                                                                      STONY POINT       NC 28678‐0098
TURNER, RONALD W         845 TRUMBULL STREET                                                                            XENIA             OH 45385‐3631
TURNER, RONDO J          14416 BANISTER DR                                                                              NOBLESVILLE       IN 46060‐7249
TURNER, RONNIE           2196 DEVILLE LN                                                                                GAINESVILLE       GA 30507‐7414
TURNER, RONNIE L         8544 W 690 N                                                                                   THORNTOWN         IN 46071‐9320
TURNER, ROOSEVELT        521 WALDEN AVE                                                                                 BUFFALO           NY 14211‐2442
TURNER, ROSE E           1784 SECRETARIAL CIR                                                                           MIAMISBURG        OH 45342‐6356
TURNER, ROSE M           PO BOX 6064                                                                                    FORT WAYNE        IN 46896‐0064
TURNER, ROSE M           5355 CALKINS RD                                                                                FLINT             MI 48532‐3305
TURNER, ROSE M.          PO BOX 6064                                                                                    FORT WAYNE        IN 46896‐0064
TURNER, ROSEMARY         20405 SPENCER ST                                                                               DETROIT           MI 48234‐3175
TURNER, ROSETTA T        7624 YORKSHIRE PL                                                                              CINCINNATI        OH 45237‐2725
TURNER, ROSIE A          221 MICHIGAN AVE                                                                               PONTIAC           MI 48342‐2744
TURNER, ROSIE L          902 LEVERT AVE                                                                                 ATHENS            AL 35611‐3241
TURNER, ROSLYN Y         14268 WESTGATE DR                                                                              REDFORD           MI 48239‐2857
TURNER, ROY              66 DANGE CRK                                                                                   ALTRO             KY 41339‐8500
TURNER, ROY              66 DANGE CREEK                                                                                 ALTRO             KY 41339‐1339
TURNER, ROY E            136 FOUR OAKS DR                                                                               POWDER SPRINGS    GA 30127‐8626
TURNER, ROY E            5435 E COMMONS DR                                                                              MOORESVILLE       IN 46158‐6797
TURNER, ROY L            UNIT 7 #35 ROSEVILLE AVE                                                ROSEVILLE SOUTH WALE
                                                                                                 AUSTRALIA 2069
TURNER, ROY L            129 TAMMY LN                                                                                   BENTON           LA   71006‐8662
TURNER, ROY L            4033 STONEHAVEN ROAD                                                                           KETTERING        OH   45429‐5429
TURNER, RUBON            3306 MADISON ST                                                                                BELLWOOD         IL   60104‐2114
TURNER, RUBY J           603 BRIDGE ST PO BOX 1242                                                                      MURPHYSBORO      IL   62966‐1242
TURNER, RUBY R           1427 ROSEDALE DR                                                                               DAYTON           OH   45406
TURNER, RUBY R           PO BOX 605                                                                                     TOWNSEND         TN   37882‐0605
TURNER, RUBYE            3438 ADAMS ST                                                                                  INDIANAPOLIS     IN   46218‐1307
TURNER, RUTH             417 N. COUNTY RD 900 E                                                                         AVON             IN   46123‐5446
TURNER, RUTH             417 N COUNTY ROAD 900 E                                                                        AVON             IN   46123‐5446
TURNER, RUTH A           3329 E SYCAMORE LN                                                                             MOORESVILLE      IN   46158‐9706
TURNER, RUTH B           533 SPRING AVENUE                                                                              FRANKLIN         OH   45005‐3568
TURNER, RUTH B           533 SPRING AVE                                                                                 FRANKLIN         OH   45005‐3568
TURNER, RUTH E           15009 BERLIN STATION RD                                                                        BERLIN CENTER    OH   44401‐9617
TURNER, RUTH I           1890 E 107TH ST APT 901                                                                        CLEVELAND        OH   44106‐2252
TURNER, RUTH J           688 SOUTH RIDGE DRIVE                                                                          PERRYSBURG       OH   43551‐1278
TURNER, RUTH O           5509 WALNUT ST                                                                                 COLUMBUS         IN   47201‐7670
TURNER, RUTH V           816 MILL ROCK ST                                                                               LAWRENCEVILLE    GA   30044
                          09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                             Part 37 of 40 Pg 621 of 901
Name                      Address1                          Address2               Address3    Address4         City           State Zip
TURNER, RUTHIE D          2650 DOWNING AVE                                                                      DALLAS          TX 75216‐2634
TURNER, SADIE A           RT 1 BOX 157                                                                          CLINCHCO        VA 24226
TURNER, SADIE M           4656 31ST ST                                                                          DETROIT         MI 48210‐2535
TURNER, SAM M             7407 BELMONT AVE                                                                      BALTIMORE       MD 21224‐3227
TURNER, SAMMIE            315 WOODLAWN DR                                                                       FAIRBORN        OH 45324‐4103
TURNER, SAMMIE S          638 FINNEY RD                                                                         GLASGOW         KY 42141‐8706
TURNER, SAMUEL            870 SINGTON RD                                                                        ETHELSVILLE     AL 35461
TURNER, SAMUEL B          WISE & JULIAN                     155 N MAIN ST STOP 1                                EDWARDSVILLE     IL 62025‐1972
TURNER, SAMUEL J          250 S NELSON AVE LOT 82                                                               WILMINGTON      OH 45177
TURNER, SANDRA J          736 W 19TH ST                                                                         ANDERSON        IN 46016‐4006
TURNER, SANDRA J          736 W 19TH                                                                            ANDERSON        IN 46016‐4006
TURNER, SANDRA L          5761 MORNINGSTAR DR                                                                   GALLOWAY        OH 43119‐8899
TURNER, SANDY FAKAYE      C/O MOODY                         801 WEST FOURTH ST                                  LITTLE ROCK     AR 72201
TURNER, SANDY FAKAYE      C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                 LITTLE ROCK     AR 72201
TURNER, SANFORD J         17134 VILLAGE DR                  C/O JOANN TURNER       APT 134                      REDFORD         MI 48240‐1692
TURNER, SARAH J           APT 9                             4571 KIRK ROAD                                      YOUNGSTOWN      OH 44515‐5310
TURNER, SARAH J           1947 S RACCOON RD #2                                                                  YOUNGSTOWN      OH 44515‐4717
TURNER, SHARON E          21110 AVERETT LANE                                                                    CITRONELLE      AL 36522
TURNER, SHARON I          16158 OLD LOCKIS RD.                                                                  TUSCALOOSA      AL 35406
TURNER, SHARON K          1864 S 1000 E                                                                         MARION          IN 46953‐9624
TURNER, SHARON M          2802 GAMMA LN                                                                         FLINT           MI 48506‐1877
TURNER, SHAWN L           2425 JEFFERSON POINT DR APT 836                                                       ARLINGTON       TX 76006‐4240
TURNER, SHEILA J          UPPR                              8434 DEXTER AVENUE                                  DETROIT         MI 48206‐2345
TURNER, SHELDON W         4814 MOUNDS RD                                                                        ANDERSON        IN 46017‐1847
TURNER, SHELLEY A         2511 BULL RUN                                                                         OXFORD          MI 48371‐3051
TURNER, SHELLEY ANN       2511 BULL RUN                                                                         OXFORD          MI 48371‐3051
TURNER, SHERRY L          1550 SANDPEBBLE DR APT 311                                                            WHEELING         IL 60090‐5921
TURNER, SHERRY WAYNE      615 SUMMER WINDS LN                                                                   SAINT PETERS    MO 63376‐1182
TURNER, SHIRLEY           1482 APPLEFORD                                                                        WALLED LAKE     MI 48390‐3105
TURNER, SHIRLEY           9260 TURNER RD                                                                        JONESBORO       GA 30236‐6002
TURNER, SHIRLEY A         15531 LONGMEADOW ST                                                                   DEARBORN        MI 48120‐1023
TURNER, SHIRLEY A         300 PAT MELL RD SW APT 26C                                                            MARIETTA        GA 30060‐4727
TURNER, SHIRLEY J         1444 CHATHAM DR                                                                       SAGINAW         MI 48601‐5113
TURNER, SILAS L           19507 FARMINGTON RD                                                                   LIVONIA         MI 48152‐1424
TURNER, STACEY            11341 COWFORD RD                                                                      ATHENS          AL 35611
TURNER, STANLEY N         PO BOX 261                                                                            LENNON          MI 48449‐0261
TURNER, STANLEY NEWTON    PO BOX 261                                                                            LENNON          MI 48449‐0261
TURNER, STANLEY W         3220 HIGHWAY 207                                                                      ROGERSVILLE     AL 35652‐4314
TURNER, STELLA            9582 COLLETT RD                                                                       WAYNESVILLE     OH 45068‐9300
TURNER, STEPHANIE JONES
TURNER, STEPHEN A         118 OLIVE ST                                                                          GIRARD         OH 44420‐1847
TURNER, STEPHEN A         1602 WAGON WHEEL LN                                                                   GRAND BLANC    MI 48439‐4872
TURNER, STEPHEN M         85‐175 FARRINGTON HWY APT C214                                                        WAIANAE        HI 96792‐2187
TURNER, STEVE
TURNER, STEVE C           326 SMITH ST                                                                          ROCKMART       GA   30153‐1812
TURNER, STEVE H           4031 ARTHINGTON BLVD                                                                  INDIANAPOLIS   IN   46226‐4521
TURNER, STEVE HENRY       4031 ARTHINGTON BLVD                                                                  INDIANAPOLIS   IN   46226‐4521
TURNER, STEVEN A          5701 LAKEVIEW DR                                                                      GREENDALE      WI   53129‐1936
TURNER, STEVEN D          9670 SUSIN LN                                                                         CLARKSTON      MI   48348‐2448
TURNER, STEVEN E          419 WENCELLA DR                                                                       HAMILTON       OH   45013‐4115
TURNER, STEVEN J          1125 WOODCREST LN                                                                     NORTH PORT     FL   34286‐6524
TURNER, STEVEN JOHN       1125 WOODCREST LN                                                                     NORTH PORT     FL   34286‐6524
                         09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                            Part 37 of 40 Pg 622 of 901
Name                     Address1                        Address2                       Address3   Address4         City            State Zip
TURNER, STEVEN S         2416 WESTMORE DR                                                                           FORT WAYNE       IN 46845‐6619
TURNER, STEWARD          PARKS CHRISTOPHER M             1 PLAZA SQUARE                                             PORT ARTHUR      TX 77642
TURNER, SUSAN H          6364 EL CAUDILLO CT                                                                        COLLEGE PARK     GA 30349‐4033
TURNER, SUSAN M          11369 HILL N DALE DR                                                                       MINOCQUA         WI 54548‐9517
TURNER, SUSAN R          3202 THORNFIELD LN                                                                         FLINT            MI 48532‐3753
TURNER, SUSAN ROBINSON   3202 THORNFIELD LN                                                                         FLINT            MI 48532‐3753
TURNER, SUSIE M          2615 LEA CREST DR                                                                          DALLAS           TX 75216‐5825
TURNER, SYBLE O          160 STAR RD                                                                                HEBER SPRINGS    AR 72543‐8620
TURNER, SYLVIA           4131 TIMBER TRAIL DR                                                                       ARLINGTON        TX 76016‐4620
TURNER, SYLVIA Y         6303 SHOPTON CT                                                                            CAMP SPRINGS     MD 20748‐2425
TURNER, TADARRIUS D      9045 KINGSTON RD APT 2105                                                                  SHREVEPORT       LA 71118
TURNER, TAMAURIE         4269 LAGER LN                                                                              CARBONDALE        IL 62902‐0970
TURNER, TAMMY            8024 SHARP RD                                                                              POWELL           TN 37849‐3963
TURNER, TANEKIA LENAE
TURNER, TANGELA          5603 MARY CT                                                                               SAGINAW         MI   48603‐3642
TURNER, TARA R           3720 S RIVERSHIRE DR            APT 6                                                      GREENFIELD      WI   53228‐1160
TURNER, TELSIA           1952 BURROUGHS ST                                                                          DAYTON          OH   45406‐5406
TURNER, TERRI S          6417 SCOTT LN                                                                              FORT MYERS      FL   33966‐4713
TURNER, TERRI S          2527 VILLAGE CREEK LNDG SE                                                                 ATLANTA         GA   30316‐3278
TURNER, TERRY            PO BOX 190122                                                                              BURTON          MI   48519‐0122
TURNER, TERRY L          1930 CRUMLEY RD                                                                            GREENBACK       TN   37742‐3116
TURNER, TERRY L          1783 N STATE ROAD 39                                                                       DANVILLE        IN   46122‐8213
TURNER, TERRY L          1615 EARLHAM DR                                                                            DAYTON          OH   45406‐4612
TURNER, TERRY LYNN       1615 EARLHAM DR                                                                            DAYTON          OH   45406‐4612
TURNER, TERRY W          KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND       OH   44114
                                                         BOND COURT BUILDING
TURNER, TESSA M
TURNER, THE'RESA R       APT 614                         10612 MIDDLEGROUND ROAD                                    SAVANNAH        GA   31419‐1268
TURNER, THELMA           24057 LANIER ST                                                                            TALLAHASSEE     FL   32310‐9450
TURNER, THELMA M         C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                        LITTLE ROCK     AR   72201
TURNER, THELMA M         MOODY EDWARD O                  801 W 4TH ST                                               LITTLE ROCK     AR   72201‐2107
TURNER, THELMA M         2029 PROFESSIONAL CENTER DR     C/O HOME QUALITY MANAGEMENT                                ORANGE PARK     FL   32073‐4461

TURNER, THEODORE M       3617 KELOX RD                                                                              GWYNN OAK       MD   21207‐6232
TURNER, THEODORE R       410 ODETTE ST                                                                              FLINT           MI   48503‐1076
TURNER, THERON A         5550 FOREST BEND CT                                                                        TOLEDO          OH   43615‐6712
TURNER, THERON V         5892 GRACELAWN ST                                                                          NORTH BRANCH    MI   48461‐9635
TURNER, THETIS A         1215 GARFIELD ST                                                                           LEBANON         IN   46052‐1414
TURNER, THOMAS           25016 W 8 MILE RD APT 204                                                                  SOUTHFIELD      MI   48033‐4050
TURNER, THOMAS A         6005 JACOBS CIR                                                                            BOSSIER CITY    LA   71111‐5737
TURNER, THOMAS D         4090 COUNTY ROAD 83                                                                        WATERLOO        AL   35677‐3452
TURNER, THOMAS E         7727 N GRAY RD                                                                             LAKE CITY       MI   49651‐9564
TURNER, THOMAS G         4190 NEAL CT                                                                               LINDEN          MI   48451‐8463
TURNER, THOMAS J         8109 SEYMOUR RD                                                                            GAINES          MI   48436‐9798
TURNER, THOMAS J         2360 BRITT ST                                                                              GRAYSON         GA   30017‐1642
TURNER, THOMAS J         293 CHRISTOPHER ST PO 642       STAYNER ON L0M 1S0             CANADA
TURNER, THOMAS L         115 N PAUL LAURENCE DUNBAR ST                                                              DAYTON          OH   45402‐6712
TURNER, THOMAS L         10087 N MERIDIAN RD                                                                        MERRILL         MI   48637‐9624
TURNER, THOMAS L         12416 BELL RD                                                                              BURT            MI   48417‐9794
TURNER, THOMAS L         4437 ENGLEKA CT                                                                            DAYTON          OH   45417
TURNER, THOMAS M         2264 S BALDWIN RD                                                                          ITHACA          MI   48847‐9558
TURNER, THOMAS P         5950 LEIX RD                                                                               MAYVILLE        MI   48744‐8602
                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                            Part 37 of 40 Pg 623 of 901
Name                   Address1                          Address2                      Address3   Address4         City                State Zip
TURNER, TIM            661 E PHILADELPHIA BLVD                                                                     FLINT                MI 48505‐3386
TURNER, TIM L          1375 DICKERSON                                                                              KAUFMAN              TX 75142‐6709
TURNER, TIMMIE L       3535 N SHIMMONS CIR                                                                         AUBURN HILLS         MI 48326‐3911
TURNER, TIMMY          R 2 BOX 204 A                                                                               LATHROP              MO 64465
TURNER, TIMOTHY
TURNER, TIMOTHY D      5612 STATE ROUTE 13                                                                         BELLVILLE           OH   44813‐9055
TURNER, TIMOTHY D      1092 HOLLY SPRING LN                                                                        GRAND BLANC         MI   48439‐8923
TURNER, TIMOTHY F      2928 CHRIS DR                                                                               VILLA RIDGE         MO   63089‐1400
TURNER, TIMOTHY L      APT 203                           6145 ORCHARD LAKE ROAD                                    W BLOOMFIELD        MI   48322‐2314
TURNER, TIMOTHY L      2010 WARWICK ST                                                                             KEEGO HARBOR        MI   48320‐1560
TURNER, TIMOTHY M      TRAVELERS INSURANCE               PO BOX 3022                                               FALL RIVER          MA   02722‐3022
TURNER, TINA L         1620 W 15TH ST                                                                              ANDERSON            IN   46016‐3204
TURNER, TODD           275 HEATHER GLEN DR                                                                         BOILING SPRINGS     SC   29316‐5939
TURNER, TODD B         PO BOX 96                                                                                   VERSAILLES          OH   45380‐0096
TURNER, TODD E         252 CRYSTAL LAKE DR                                                                         PONTIAC             MI   48341‐2409
TURNER, TOMMY          1235 CLOVERLEAF LANE                                                                        MIAMISBURG          OH   45342‐6204
TURNER, TOMMY EDWARD   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                         STREET, SUITE 600
TURNER, TOMMY R        HC 63 BOX 3020                                                                              ROMNEY              WV   26757‐9720
TURNER, TONI J         2411 N 43RD ST                                                                              KANSAS CITY         KS   66104‐3413
TURNER, TONYA D        14021 MINOCK DR                                                                             REDFORD             MI   48239‐2933
TURNER, TRACEY M       5555 HILLSBORO RD                                                                           DAVISBURG           MI   48350‐3636
TURNER, TRACI L
TURNER, TRAVIS
TURNER, TRENT A        4534 LAURA MARIE DR                                                                         WAYNESVILLE         OH   45068‐9621
TURNER, TROY           3430 E 135TH ST                                                                             CARMEL              IN   46033‐9408
TURNER, TROY           3430 E 136TH ST                                                                             CARMEL              IN   46033‐9408
TURNER, TROY L         1965 HOME AVE                                                                               DAYTON              OH   45417‐2153
TURNER, TRUMAN K       10918 N HWY                                                                                 EXCELSIOR SPRINGS   MO   64024
TURNER, TY R           1650 DEEPWOOD CIR                                                                           ROCHESTER           MI   48307‐6097
TURNER, TYLER CLAY     237 BORDER RD                                                                               GOOSE CREEK         SC   29445
TURNER, VELVIT         2242 WINCHESTER LOOP                                                                        DISCOVERY BAY       CA   94505‐1850
TURNER, VENITA E       2439 HENRY ST                                                                               ALTON               IL   62002‐4447
TURNER, VERNON         13146 229TH ST                                                                              JAMAICA             NY   11413‐1839
TURNER, VICKI G        15555 E 40TH AVE UNIT 94                                                                    DENVER              CO   80239
TURNER, VICKIE A       7717 HESSEN CASSEL RD                                                                       FORT WAYNE          IN   46816‐2627
TURNER, VICTORIA       2107 RASKOB ST                                                                              FLINT               MI   48504‐3428
TURNER, VICTORIA J     14528 PINE ST                                                                               TAYLOR              MI   48180‐4606
TURNER, VIOLA B        1140 AVENUE B                                                                               FLINT               MI   48503‐1412
TURNER, VIOLA B        1140 AVE B                                                                                  FLINT               MI   48503
TURNER, VIOLET M       1104 NORTH STEPHEN AVENUE                                                                   CLAWSON             MI   48017‐1251
TURNER, VIRGIE         3717 LIPPINCOTT BLVD                                                                        FLINT               MI   48507‐2030
TURNER, VIRGIE         1700 ALTA DR APT 1001                                                                       LAS VEGAS           NV   89106‐4149
TURNER, VIRGINA M      2630 ADAMS RD                                                                               OAKLAND             MI   48363
TURNER, VIRGINIA M     1300 HOLLOW RUN APT 4                                                                       CENTERVILLE         OH   45459‐5869
TURNER, VIVIAN F       2906 CLERMONT COUNTY FARMS ROAD                                                             BETHEL              OH   45106

TURNER, VIVIAN M       9167 CAROLINE RIDGE LANE N                                                                  JACKSONVILLE        FL   32225‐9314
TURNER, VIVIAN R.      246 POSTLE BLVD                                                                             COLUMBUS            OH   43228‐1753
TURNER, VIVIAN R.      246 POSTLE BOULEVARD                                                                        COLUMBUS            OH   43228‐1753
TURNER, WALLACE R      2732 DANZ AVE.                                                                              KETTERING           OH   45420‐3847
TURNER, WALLACE R      2732 DANZ AVE                                                                               KETTERING           OH   45420‐3847
                         09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                          Part 37 of 40 Pg 624 of 901
Name                     Address1                      Address2                        Address3   Address4         City             State Zip
TURNER, WALLACE R        APT A7                        3124 US HIGHWAY 441 SOUTHEAST                               OKEECHOBEE        FL 34974‐6811

TURNER, WALTER L         165 E 6TH ST APT 16                                                                       FRANKLIN         OH   45005‐2556
TURNER, WALTER L         PO BOX 8051                                                                               CARLISLE         OH   45005‐5005
TURNER, WALTER R         264 OTTER LAKE RD                                                                         FOSTORIA         MI   48435‐9616
TURNER, WANDA N          1446 N ACADEMY RD                                                                         NEEDHAM          IN   46162‐9605
TURNER, WANG R           15605 HIGHWAY 131 SOUTH                                                                   BLADENBORO       NC   28320
TURNER, WARNER J         1022 NEVADA HWY                                                                           BOULDER CITY     NV   89005‐1825
TURNER, WARREN           GUY WILLIAM S                 PO BOX 509                                                  MCCOMB           MS   39649‐0509
TURNER, WAYNE E          1813 SOUTH OHARE BOULEVARD                                                                YORKTOWN         IN   47396‐6823
TURNER, WAYNE L          2212 HILL AVE                                                                             GADSDEN          AL   35904‐2521
TURNER, WILBERT F        3459 E CENTENARY RD                                                                       MOORESVILLE      IN   46158‐6850
TURNER, WILFORD W        1508 MONTEREY LN                                                                          JANESVILLE       WI   53546‐5754
TURNER, WILLIAM          PORTER & MALOUF PA            4670 MCWILLIE DR                                            JACKSON          MS   39206‐5621
TURNER, WILLIAM          BRAYTON PURCELL               PO BOX 6169                                                 NOVATO           CA   94948‐6169
TURNER, WILLIAM A        3444 BURNETTE RD                                                                          SUWANEE          GA   30024‐2114
TURNER, WILLIAM C        4955 BECKER DR                                                                            DAYTON           OH   45427‐3021
TURNER, WILLIAM D        682 SOUTHERN TRACE DR                                                                     ROCKMART         GA   30153‐6470
TURNER, WILLIAM E        151 N WHITE JEWEL CT                                                                      VERO BEACH       FL   32963‐4274
TURNER, WILLIAM E        3715 N WAYNE AVE                                                                          KANSAS CITY      MO   64116‐2313
TURNER, WILLIAM E        2728 WRIGHT WAY                                                                           ANDERSON         IN   46011‐9036
TURNER, WILLIAM E        106 SHAKER BLVD                                                                           ENFIELD          NH   03748‐3616
TURNER, WILLIAM EUGENE   2409 PLAINVIEW DR                                                                         FLUSHING         MI   48433‐9456
TURNER, WILLIAM F        11777 COLBY LAKE RD                                                                       LAINGSBURG       MI   48848‐8804
TURNER, WILLIAM F        4302 EAGLE LN                                                                             BURTON           MI   48519‐1489
TURNER, WILLIAM G        4050 ELMA RD                                                                              BUFFALO          NY   14221
TURNER, WILLIAM H        2198 TIGER LINKS DR                                                                       HENDERSON        NV   89012‐6105
TURNER, WILLIAM H        2198 SAWTOOTH MOUNTAIN DR                                                                 HENDERSON        NV   89044‐0108
TURNER, WILLIAM H        195 N SHADYLANE DR                                                                        EAST LIVERPOOL   OH   43920‐1010
TURNER, WILLIAM H        319 BROOKS RD                                                                             BROOKS           GA   30205‐2305
TURNER, WILLIAM J        645 PEACE HAVEN ST                                                                        GLADWIN          MI   48624‐9493
TURNER, WILLIAM J        1941 ROYSTON RD RT 6                                                                      EATON RAPIDS     MI   48827
TURNER, WILLIAM J        9639 GREENFIELD RD APT 109                                                                DETROIT          MI   48227‐2049
TURNER, WILLIAM J        3603 CHATHAM CT                                                                           NORMAN           OK   73072‐4228
TURNER, WILLIAM K        3246 GRACE ST                                                                             GREENWOOD        IN   46143‐8520
TURNER, WILLIAM L        8066 W ARROWHEAD RD                                                                       MEARS            MI   49436‐9412
TURNER, WILLIAM L        1009 SOMERSET LN                                                                          FLINT            MI   48503‐2982
TURNER, WILLIAM L        2512 WELLWORTH AVE                                                                        HENDERSON        NV   89074‐5467
TURNER, WILLIAM M        716 S 23RD ST                                                                             SAGINAW          MI   48601‐1501
TURNER, WILLIAM M        118 SAIL DR                                                                               EATON            OH   45320‐2910
TURNER, WILLIAM O        7801 108TH AVE NE                                                                         NORMAN           OK   73026‐9760
TURNER, WILLIAM P        7450 WATERFORD DR APT 203                                                                 MASON            OH   45040‐8655
TURNER, WILLIAM S        2090 W WILSON RD                                                                          CLIO             MI   48420‐1604
TURNER, WILLIAM S        4125 BROWNELL BLVD                                                                        FLINT            MI   48504‐3752
TURNER, WILLIAM S        18031 SAN JUAN DR                                                                         DETROIT          MI   48221‐2642
TURNER, WILLIAM T        2441 WESLYNN DR                                                                           INDIANAPOLIS     IN   46228‐2949
TURNER, WILLIAM V        210 COUNTRY TRL                                                                           WOODSTOCK        GA   30188‐2208
TURNER, WILLIE           5110 HACKET DR                                                                            DAYTON           OH   45418‐2241
TURNER, WILLIE           PO BOX 994                                                                                ANDOVER          OH   44003
TURNER, WILLIE           5110 HACKETT DR                                                                           DAYTON           OH   45418‐2241
TURNER, WILLIE C         1208 INDIAN MOUND DR                                                                      ANDERSON         IN   46013‐1204
TURNER, WILLIE E         1817 LINCOLN ST                                                                           LAUREL           MS   39440‐4937
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                      Part 37 of 40 Pg 625 of 901
Name                             Address1                          Address2                         Address3   Address4            City               State Zip
TURNER, WILLIE EARL              WATSON LOUIS H JR                 628 N STATE ST                                                  JACKSON             MS 39202‐3303
TURNER, WILLIE J                 344 W IROQUOIS RD                                                                                 PONTIAC             MI 48341‐1537
TURNER, WILLIE L                 3624 PINGREE AVE                                                                                  FLINT               MI 48503‐4597
TURNER, WILLIE M                 1271 GRADY RD                                                                                     PRESTON             MS 39354‐9261
TURNER, WILLIE MAE               1269 HOWARD RD                                                                                    ROCHESTER           NY 14624‐2748
TURNER, WILLODEAN                104 MISSISSIPPI ST                                                                                BIRMINGHAM          AL 35214‐6358
TURNER, WILMA A                  4135 FLEETWOOD DR                                                                                 DAYTON              OH 45416‐2134
TURNER, WILMA J                  504 YALE DR                                                                                       DURAND              MI 48429‐1320
TURNER, WILMA J                  504 N YALE ST                                                                                     DURAND              MI 48429‐1320
TURNER, WINFRED L                1831 GRAY RD                                                                                      MOORESVILLE         IN 46158
TURNER, WOLFORD L                10739 WYNSTONE PL                                                                                 HELOTES             TX 78023‐4238
TURNER, WYANETTE                 3923 BEACHWOOD                                                                                    PINE LAWN           MO 63121‐3303
TURNER, WYANETTE G               3923 BEACHWOOD AVE                                                                                SAINT LOUIS         MO 63121‐3303
TURNER, YEVETTE E                1893 PANNELL AVE                                                                                  COLUMBUS            OH 43207
TURNER, YOLANDA                  1901 COTTONWOOD ST                                                                                ARLINGTON           TX 76014‐1628
TURNER, ZANE R                   3219 E VIENNA RD                                                                                  CLIO                MI 48420‐9170
TURNER,APRIL L                   10 OTTERBEIN AVE                                                                                  DAYTON              OH 45406‐4930
TURNER,BILLY JOE                 340 ETHEL AVE                                                                                     CARLISLE            OH 45005‐1310
TURNER,GAYLEN WAYNE              3020 FERRY RD                                                                                     BELLBROOK           OH 45305‐8927
TURNER,JEFFREY S                 PO BOX 328591                                                                                     COLUMBUS            OH 43232‐8591
TURNER‐ WILSON, MARGARET A       4620 TAYLOR RIDGE RD NW                                                                           ALBUQUERQUE         NM 87120‐5715
TURNER‐ANDERSON, ARMA J.         1834 SURREY PL                                                                                    COLUMBUS            OH 43219‐2947
TURNER‐ANDERSON, ARMA J.         1834 SURREY PLACE                                                                                 COLUMBUS            OH 43219‐2947
TURNER‐BLAKLEY, WILLIAM C        150 PARISH LN APT 715                                                                             ROANOKE             TX 76262‐6681
TURNER‐CHILDRESS, JERINE A       2319 RANCH RD NW                                                                                  ROANOKE             VA 24017‐1335
TURNER‐COURTNEY, KATHY J         3455 N 1100 E                                                                                     GREENTOWN           IN 46936‐9019
TURNER‐TAMIYASU, MARIEL K        1408 CRESPI DR                                                                                    OXNARD              CA 93039‐5611
TURNERPIKE MOTORS, INC.          BILL SHATTUCK                     500 N MAIN ST                                                   BRISTOW             OK 74010‐2017
TURNEX LTD                       RAY BREEN                         INDUSTRIAL EST                                                  TULLAHOMA           TN 37388
TURNEX LTD                       INDUSTRIAL PARK                   CORK ROAD                                   WATERFORD IRELAND
TURNEY BOWSER                    1436 STATE ROUTE 314 S                                                                            MANSFIELD          OH 44903‐9209
TURNEY CRYSTAL                   TURNEY, CRYSTAL                   120 WEST MADISON STREET , 10TH                                  CHICAGO            IL 60602
                                                                   FLOOR
TURNEY TOWN SHELL, INC           5095 TURNEY RD                                                                                    GARFIELD HEIGHTS   OH   44125‐2601
TURNEY, DIANA C                  947 COPPER KETTLE RD                                                                              WEBSTER            NY   14580‐8941
TURNEY, DIANA C                  947 COPPERKETTLE RD                                                                               WEBSTER            NY   14580‐8941
TURNEY, DONALD L                 11119 SPRING POND CV                                                                              FORT WAYNE         IN   46845
TURNEY, DORANN                   1010 PATTERSON ST                                                                                 SPRING HILL        TN   37174‐5128
TURNEY, E LEE                    725 SPRUCE ST                                                                                     HEBER SPRINGS      AR   72543‐3445
TURNEY, GEORGIA B                415 SLOAN AVE                                                                                     JEANNETTE          PA   15644‐1680
TURNEY, HELEN N                  1300 PHILADELPHIA DR                                                                              DAYTON             OH   45406‐4641
TURNEY, JAMES M                  5444 W STATE ROAD 234                                                                             MC CORDSVILLE      IN   46055‐9594
TURNEY, JERRY L                  2406A BLAIR BOULEVARD                                                                             NASHVILLE          TN   37212‐4905
TURNEY, LAWRENCE D               1214 S SARASOTA DR                                                                                YORKTOWN           IN   47396‐9580
TURNEY, MARLETA R                8767 FM 512                                                                                       WOLFE CITY         TX   75496
TURNEY, MARY P                   2809 BARRY KNOLL WAY                                                                              FORT WAYNE         IN   46845‐1944
TURNEY, RONALD W                 1134 CHURCHILL RD.                                                                                GIRARD             OH   44420‐2129
TURNEY, SHEILA W                 2029 S 11TH AVE                                                                                   MAYWOOD            IL   60153‐3113
TURNEY, STEPHANIE M              249 WOODLAND ST                                                                                   NEWTON FALLS       OH   44444‐1758
TURNEY, WANDA J                  673 CLIFDEN DR                                                                                    WELDON SPRING      MO   63304‐0510
TURNEY‐SMITH, JACQUELINE M       4638 ESSEX DR                                                                                     GRAND PRAIRIE      TX   75052‐8318
TURNEY‐SMITH, JACQUELINE MARIE   4638 ESSEX DR                                                                                     GRAND PRAIRIE      TX   75052‐8318
                             09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
                                                                  Part 37 of 40 Pg 626 of 901
Name                         Address1                          Address2                   Address3   Address4         City              State Zip
TURNHAM, DOREEN P            7821 WILKINSON AVE                                                                       NORTH HOLLYWOOD    CA 91605‐2208
TURNIER EDGARD               185 AMERICA WAY                                                                          JAMESTOWN           RI 02835
TURNING POINT INVITATIONAL   C/O NEW COMMON SCHOOL FOUNDATI    6861 EAST NEVADA STE 300                               DETROIT            MI 48234

TURNING STONE                5218 PATRICK RD                                                                          VERONA            NY   13478‐3012
TURNINGTON, LORETTA E        204 S. RIVERVIEW AVE                                                                     MIAMISBURG        OH   45342‐2221
TURNINGTON, LORETTA E        204 S RIVERVIEW AVE                                                                      MIAMISBURG        OH   45342‐2221
TURNIPSEED, CHARLES I        6347 NARCISSUS AVE                                                                       NEWARK            CA   94560‐4506
TURNIPSEED, DANIEL M         14051 WESTMORE ST                                                                        LIVONIA           MI   48154‐4145
TURNIPSEED, FRANCES J        140 ARBORWOOD CRES                                                                       ROCHESTER         NY   14615‐3848
TURNLEY JR, HARVEY           29798 SPRING HILL DRIVE                                                                  SOUTHFIELD        MI   48076‐1860
TURNMIRE, DEWAYNE            3522 KNOLLBROOK DRIVE                                                                    FRANKLIN          OH   45005‐4913
TURNMIRE, EMMA RUTH          5384 CORNWALL DRIVE                                                                      DAYTON            OH   45415‐2803
TURNMIRE, JULIE A            S6760 COUNTY HWY S                                                                       READSTOWN         WI   54652‐8077
TURNMIRE, KEVIN              9550 WILLIAM FRANCIS DR                                                                  FRANKLIN          OH   45005‐1057
TURNNIDGE, COLIN S           3010 BURLINGTON PASS                                                                     FRANKLIN          TN   37069‐1898
TURNPAUGH, CORYNNE E         278 BRINDLEY ROAD                                                                        MAYPEARL          TX   76064‐1814
TURNPAUGH, DONNA L           1801 S 9TH ST                                                                            TEMPLE            TX   76504‐7326
TURNPAUGH, ELLEN J           1324 W TATE ST                                                                           KOKOMO            IN   46901‐1912
TURNPAUGH, GERALD L          9802 HILL ST                                                                             REESE             MI   48757‐9442
TURNPAUGH, HARRY             409 MIRAGE DR                                                                            KOKOMO            IN   46901‐7036
TURNPAUGH, JANICE S          6593 CROSSBRIDGE DR                                                                      NOBLESVILLE       IN   46062‐7370
TURNPAUGH, LARRY G           6593 CROSSBRIDGE DR                                                                      NOBLESVILLE       IN   46062‐7370
TURNPAUGH, LAWRENCE M        3318 GERNADA DR                                                                          CLIO              MI   48420‐1913
TURNPAUGH, MARY J            3401 BEECHWOOD LN                                                                        AOKOMO            IN   46902
TURNPAUGH, MILO D            PO BOX 51                                                                                ARIVACA           AZ   85601‐0051
TURNPAUGH, SHERRY L          1941 OAKES BLVD                                                                          NAPLES            FL   34119‐8752
TURNPAUGH, SHIRLEY A         5903 MENDOTA DR                                                                          KOKOMO            IN   46902
TURNPIKE CHEVROLET           4125 1ST AVE                                                                             NITRO             WV   25143‐1304
TURNPIKE TRANSIT INC         PO BOX 581750                                                                            TULSA             OK   74158‐1750
TURNQUIST KENNETH            TURNQUIST, DANA                   5901 CEDAR LAKE RD S                                   MINNEAPOLIS       MN   55416‐1488
TURNQUIST KENNETH            TURNQUIST, KENNETH                5901 CEDAR LAKE RD S                                   MINNEAPOLIS       MN   55416‐1488
TURNQUIST MICHAEL            458 KENTON CT                                                                            PASO ROBLES       CA   93446
TURNQUIST, DAVID W           3959 IVERNESS LN                                                                         W BLOOMFIELD      MI   48323‐1712
TURNQUIST, DONALD C          19201 SE 51ST ST                                                                         NEWALLA           OK   74857‐9233
TURNQUIST, KATHRYN E         1126 ROBIN HOOD                                                                          NORMAN            OK   73072‐7502
TURNQUIST, NANCY R           14013 SILENT WDS DR                                                                      SHELBY TWP        MI   48315
TURNROSE, NORMAN R           2121 CLAIBORNE CT                                                                        BRIGHTON          MI   48114‐7357
TURNS, DAVID T               1848 ALVASON AVE                                                                         COLUMBUS          OH   43219‐1116
TURNWALD ROBERT T            601 PRIEST RD                                                                            OWOSSO            MI   48867‐9365
TURNWALD, JO A               2400 INDIAN RD                                                                           LAPEER            MI   48446‐8081
TURNWALD, KENNETH A          14113 GASPER RD                                                                          CHESANING         MI   48616‐9462
TURNWALD, MICHAEL A          2400 INDIAN RD                                                                           LAPEER            MI   48446‐8081
TURNWALD, MICHAEL ANTHONY    2400 INDIAN RD                                                                           LAPEER            MI   48446‐8081
TURNWALD, NICHOLAS S         103 CRESTVIEW DR                                                                         LAPEER            MI   48446‐1476
TURNWALD, RICHARD H          17945 LINCOLN RD                                                                         NEW LOTHROP       MI   48460‐9641
TURNWALD, ROBERT T           601 PRIEST RD                                                                            OWOSSO            MI   48867‐9365
TURNWALD, THEODORE           5705 N BYRON RD                                                                          CORUNNA           MI   48817‐9746
TURNWALD, THEODORE W         5600 DITCH RD                                                                            NEW LOTHROP       MI   48460‐9649
TURNWALD, WILLIAM A          6387 FERDEN RD                                                                           CHESANING         MI   48616‐9733
TURNWALD, WILLIAM D          5661 N BYRON RD                                                                          CORUNNA           MI   48817‐9746
TUROCY, DOROTHY M            13801 GRANGER RD                                                                         GARFIELD HTS      OH   44125‐1927
                                   09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                      Part 37 of 40 Pg 627 of 901
Name                               Address1                           Address2                         Address3     Address4           City                State Zip
TUROCZY, JOE D                     6878 MADISON ST                                                                                     HUBBARD LAKE         MI 49747‐9616
TURON PAWEL                        514 W ELM ST                                                                                        LINDEN               NJ 07036‐5012
TURON TUROSKY                      CLEVELAND REHAB.& SPEC. SERVICES   8800 CARNEGIE AVE ATT: BUS OFC                                   CLEVELAND            OH 44106

TURON, PAWEL                       514 W ELM ST                                                                                        LINDEN              NJ   07036‐5012
TURONE A WHITEHEAD                 LAW OFFICES OF PETER G. ANGELOS    100 NORTH CHARLES STREET         22ND FLOOR                      BALTIMORE           MD   21201
TURONEK, DEAN R                    26051 GROVER ST                                                                                     HARRISON TWP        MI   48045‐3522
TURONEK, DEAN R.                   26051 GROVER ST                                                                                     HARRISON TWP        MI   48045‐3522
TURONEK, VICTOR H                  28900 HILLVIEW ST                                                                                   ROSEVILLE           MI   48066‐7418
TUROS, CHRISTINE M                 415 TOWNSQUARE LN APT 125                                                                           HUNTINGTON BEACH    CA   92648‐4688
TUROS, JOSEPH H                    1 FESTIVAL DR                                                                                       OLMSTED FALLS       OH   44138‐3001
TUROS, JOZSEF                      30159 MANOR DR                                                                                      MADISON HTS         MI   48071‐2295
TUROSKY, HELEN O                   360 ELM AVE                                                                                         SHARON              PA   16146‐2308
TUROSKY, TURON P                   CLEVELAND REHAB.& SPEC. SERVICES   8800 CARNEGIE AVE ATT: BUS OFC                                   CLEVELAND           OH   44106

TUROVICH, FRANCES V                6056 EAGLE TRACE DRIVE                                                                              YPSILANTI           MI   48197
TUROW, DENNIS L                    313 W WILLOW ST                                                                                     WEST BRANCH         MI   48661‐1056
TUROW, ROBERT F                    203 N ERIE ST                                                                                       BAY CITY            MI   48706‐4403
TUROWICZ, JAMES J                  247 OAK ST                                                                                          MONTROSE            MI   48457‐9101
TUROWICZ, KAREN S                  3374 MICHELLE CT                                                                                    CLIO                MI   48420‐1902
TUROWICZ, ROSANNE M                8595 GALLANT FOX TRL                                                                                FLUSHING            MI   48433‐8804
TUROWSKI, DOROTHY                  21800 MORLEY AVE APT 910                                                                            DEARBORN            MI   48124‐2342
TUROWSKI, DOROTHY                  21800 MORLEY #910                                                                                   DEARBORN            MI   48124‐2342
TUROWSKI, GINA                     22215 CHELSEA LN                                                                                    NOVI                MI   48375‐4029
TUROWSKI, HENRY                    41587 GLOCA MORA ST                                                                                 HARRISON TOWNSHIP   MI   48045‐1450
TUROWSKI, JOHN D                   868 EAGLE HEIGHTS DR                                                                                SOUTH LYON          MI   48178‐2060
TUROWSKI, JOHN DENNIS              868 EAGLE HEIGHTS DR                                                                                SOUTH LYON          MI   48178‐2060
TURPEL, JACK G                     300 S KENWOOD AVE                                                                                   ROYAL OAK           MI   48067‐3993
TURPEN, BILLY L                    456 KIBBEE RD                                                                                       MCDONOUGH           GA   30252‐3917
TURPEN, CURTIS R                   601 MICHAEL AVE                                                                                     WENTZVILLE          MO   63385‐1011
TURPEN, DANNY M                    2104 HAWTHORNE CT                                                                                   AVON                IN   46123‐8205
TURPEN, JACK M                     1611 E BANTA RD                                                                                     INDIANAPOLIS        IN   46227‐4827
TURPEN, MONICA G                   5556 STATE ROAD 37                                                                                  MITCHELL            IN   47446‐5376
TURPEN, PAULA J                    7224 SUNSET RIDGE PKWY                                                                              INDIANAPOLIS        IN   46259‐7641
TURPEN, RAYMOND E                  208 W 2ND ST                                                                                        ANDERSON            IN   46016‐2206
TURPEN, ROY D                      5002 SADDLE LN                                                                                      ANDERSON            IN   46013‐4832
TURPENING, BARBARA ANN             3998 LIPPINCOTT RD                                                                                  LAPEER              MI   48446‐9752
TURPENING, BERNICE A               134 MARCIA DR                                                                                       LANSING             MI   48917‐2832
TURPENING, TOMMIE L                958 DIVISION ST                                                                                     ADRIAN              MI   49221
TURPIN                             200‐2500 PALLADUIM DRIVE                                                         OTTAWA ON CANADA
TURPIN CAROL                       46441 MONTGOMERY PLACE                                                                              STERLING            VA   20165‐7318
TURPIN CHEVROLET‐OLDSMOBILE INC.   1048 S CHICAGO ST                                                                                   GENESEO             IL   61254‐1849
TURPIN CHEVROLET‐OLDSMOBILE INC.   MARION TURPIN                      1048 S CHICAGO ST                                                GENESEO             IL   61254‐1849
TURPIN EUGENE T                    416 PINE COURT DR                                                                                   SILVER CITY         NC   27344‐7810
TURPIN JEAN (642752)               BIFFERATO GENTILOTTI & BIDEN       PO BOX 2165                                                      WILMINGTON          DE   19899‐2165
TURPIN JR, JAMES E                 10198 CASTANEDO CT                                                                                  KEITHVILLE          LA   71047‐8901
TURPIN PONTIAC COMPANY INC         FISER SUSAN FORD                   PO BOX 12424                                                     ALEXANDRIA          LA   71315‐2424
TURPIN RICHARD (448351)            BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD          OH   44067
                                                                      PROFESSIONAL BLDG
TURPIN, A J                        219 SMYTHE DR                                                                                       SUMMERVILLE         SC 29485
TURPIN, ANNA C                     6925 HUBBARD DR.                                                                                    DAYTON              OH 45424‐3533
TURPIN, ARVIL D                    8675 EDITH ST                                                                                       MARTINSVILLE        IN 46151‐7777
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                    Part 37 of 40 Pg 628 of 901
Name                             Address1                        Address2            Address3         Address4         City            State Zip
TURPIN, BOBBY G                  190 TOM CROWFORD RD. BOX 445                                                          CRAB ORCHARD     KY 40419
TURPIN, BRIAN D                  1556 SPRINGHILL AVE                                                                   KETTERING        OH 45409‐1846
TURPIN, CHARLES G                8328 S BUTTER ST                                                                      GERMANTOWN       OH 45327‐8716
TURPIN, DANNY L                  800 WALTON DR                                                                         PLAINFIELD       IN 46168‐2238
TURPIN, DAVID L                  861 ORCHARD DR                                                                        KETTERING        OH 45419‐2323
TURPIN, DONALD E                 1421 MUNSON ST                                                                        BURTON           MI 48509‐1835
TURPIN, EARL                     18826 SUNSET ST                                                                       DETROIT          MI 48234‐2046
TURPIN, EARNEST L                5413 BROMWICK DR                                                                      TROTWOOD         OH 45426‐1913
TURPIN, EUGENE T                 416 PINE COURT DR                                                                     SILER CITY       NC 27344‐7810
TURPIN, FLOYD W                  PO BOX 32583                                                                          PIKESVILLE       MD 21282‐2583
TURPIN, G W                      2627 POTTERTOWN RD                                                                    MURRAY           KY 42071‐4847
TURPIN, JASON E                  9480 GARFIELD CIRCLE                                                                  SHREVEPORT       LA 71118‐3907
TURPIN, JASON M
TURPIN, JEAN                     BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                           WILMINGTON      DE   19899‐2165
TURPIN, JERRY R                  4109 LANDS END CT                                                                     GRANBURY        TX   76048‐6112
TURPIN, JOSEPH E                 11 MEADOW LN APT 7                                                                    BRIDGEWATER     MA   02324‐1886
TURPIN, KEVIN                    6479 WESTANNA DR                                                                      TROTWOOD        OH   45426‐1117
TURPIN, LEON M                   1208 MARSHDALE RD                                                                     ARLINGTON       TX   76013
TURPIN, LINDA                    8328 S BUTTER ST                                                                      GERMANTOWN      OH   45327‐8716
TURPIN, LINDA                    8328 BUTTER ST                                                                        GERMANTOWN      OH   45327‐8716
TURPIN, MARK J                   3354 WALTHAM AVE                                                                      KETTERING       OH   45429‐3530
TURPIN, MAUREL C                 305 EXTENSION ST                                                                      WORTHINGTON     IN   47471‐1715
TURPIN, MICHAEL R                PO BOX 135                                                                            GILLSVILLE      GA   30543‐0135
TURPIN, NORMA J                  3702 HICKORY HILL DR                                                                  SOMERSET        KY   42503
TURPIN, NORMAN                   1249 TULIP CIR                                                                        SEVIERVILLE     TN   37862‐5212
TURPIN, PEARL                    2627 POTTERTOWN RD.                                                                   MURRAY          KY   42071‐4847
TURPIN, PHYLLIS                  P0 BOX #5                                                                             TALMO           GA   30575
TURPIN, RICHARD W                1385 SPRING VILLAGE DR                                                                MANSFIELD       OH   44906‐5010
TURPIN, RODNEY E                 1218 GRIDLEY DR                                                                       DAYTON          OH   45432‐1704
TURPIN, ROGER A                  3318 GRETCHEN ST                                                                      SAGINAW         MI   48601‐5924
TURPIN, SUSIE                    320 CONNIE CT APT A                                                                   FAIRFIELD       OH   45014‐9017
TURPIN, WALTER L                 13694 CREEKRIDGE LN                                                                   MC CORDSVILLE   IN   46055‐9599
TURPIN, WALTER LEON              13694 CREEKRIDGE LN                                                                   MC CORDSVILLE   IN   46055‐9599
TURPIN, WAYNE D                  87 DOVER STREET                                                                       DAYTON          OH   45410‐1851
TURPIN, WAYNE D                  87 DOVER ST                                                                           DAYTON          OH   45410‐1851
TURPIN, WILEY
TURPIN, WILEY L                  5477 BRYANT QTR. RD.                                                                  GILLSVILLE      GA   30543
TURPIN, WILLIAM                  1270 S LEATHERWOOD RD                                                                 BEDFORD         IN   47421‐8856
TURPIN, WILLIAM G                20 VENTURA LN                                                                         OLATHE          KS   66061‐3057
TURPIN,KEVIN                     6479 WESTANNA DR                                                                      TROTWOOD        OH   45426‐1117
TURPINS PAINT & BODY SHOP        PO BOX 955                                                                            BUFORD          GA   30515‐0955
TURRAH ELDRIDGE                  61 HIGH MEADOW DRIVE                                                                  PLAINFIELD      CT   06374‐1841
TURREL, ROBERT W                 6156 ROLLING MEADOW LN                                                                INDIANAPOLIS    IN   46237‐4214
TURRELL, DONALD W                12775 WEST FREELAND RD          BOX 396                                               FREELAND        MI   48623
TURRELL, EDWARD C                9744 RIDGE RD                                                                         MIDDLEPORT      NY   14105‐9709
TURRELL, JAMES E                 9744 RIDGE RD                                                                         MIDDLEPORT      NY   14105‐9709
TURRELL, MELISSA                 2114 GEORGETOWN BLVD. APT                                                             LANSING         MI   48911
TURRELL, RICHARD C               11804 RIDGE RD                                                                        MEDINA          NY   14103
TURRENTINE CHRIS                 TURRENTINE, CHRIS               6267 CURTIS AVE                                       OMAHA           NE   68104‐1141
TURRENTINE SHIRLEY (ESTATE OF)   SIMMONS FIRM                    PO BOX 559                                            WOOD RIVER      IL   62095‐0559
(455899)
TURRENTINE, CHRIS                6267 CURTIS AVE                                                                       OMAHA           NE 68104‐1141
                               09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                 Part 37 of 40 Pg 629 of 901
Name                           Address1                       Address2                         Address3   Address4         City               State Zip
TURRENTINE, DON W              PO BOX 1041                                                                                 NAALEHU             HI 96772‐1041
TURRENTINE, DONNA K            3536 MAHLON MOORE RD                                                                        SPRING HILL         TN 37174‐2134
TURRENTINE, KATIE W            42500 HARRIS RD                                                                             BELLEVILLE          MI 48111‐8728
TURRENTINE, OTTOWAY            42500 HARRIS RD                                                                             BELLEVILLE          MI 48111‐8728
TURRENTINE, ROBERT H           13415 STRATHMOOR ST                                                                         DETROIT             MI 48227‐2888
TURRENTINE, ROBERTA F          25900 KARR RD                                                                               BELLEVILLE          MI 48111‐9698
TURRENTINE, SHIRLEY            SIMMONS FIRM                   PO BOX 559                                                   WOOD RIVER           IL 62095‐0559
TURRENTINE, TERRY A            7042 GRASS RD                                                                               SALINE              MI 48176‐8723
TURRENTINE, TERRY ANTHONY      7042 GRASS RD                                                                               SALINE              MI 48176‐8723
TURRENTINE, TONY C             8987 SPRINGWOOD BOULEVARD                                                                   BELLEVILLE          MI 48111‐7400
TURREY, MANUEL S               2029 SOUTHERN STAR LOOP                                                                     LAS CRUCES          NM 88011‐4076
TURRI TRANSPORTATION CO        152 BARKER RD                                                                               WHITMORE LAKE       MI 48189‐9507
TURRI TRANSPORTATION COMPANY   VINCE TURRI                    138 BARKER ROAD SUITE 203                                    WHITMORE LAKE       MI 48189
TURRI, LELAND F                6946 TAWNY DR                                                                               NIAGARA FALLS       NY 14304‐3024
TURRI, THOMAS J                2206 SNOW RD                                                                                EDGEWOOD            MD 21040‐1024
TURRILL, BERNICE               6194 E HILL RD                                                                              GRAND BLANC         MI 48439‐9122
TURRILL, THOMAS C              2626 CHESTNUT ST                                                                            DEARBORN            MI 48124‐4369
TURRIN, CESARE P               DELPHI DELCO ELECTRONICS       PO BOX 9005 M/S FSAR                                         KOKOMO              IN 46904
TURRISE, LUCY                  5532 S RUTHERFORD                                                                           CHICAGO              IL 60638‐2318
TURRUBIATES, NICOLAS           812 N FOSTER AVE                                                                            LANSING             MI 48912‐4308
TURSCAK, KENNETH J             885 DAVIS ST                                                                                AKRON               OH 44310
TURSCHAK, JOYCE A              714 SCHEURMANN                                                                              ESSEXVILLE          MI 48732‐1282
TURSCHAK, RICHARD D            210 CAMROSE DR                                                                              NILES               OH 44446‐2132
TURSELL, BERNADINE             20908 YALE ST                                                                               ST CLAIR SHRS       MI 48081‐1865
TURSELL, JOHN D                8120 HIGH POINT TRL                                                                         WHITE LAKE          MI 48386‐3544
TURSIC, SUSAN F                312 COTTONWOOD CV                                                                           MC CORMICK          SC 29835‐3337
TURSKEY, DONALD M              36043 LITTLE MACK AVE                                                                       CLINTON TOWNSHIP    MI 48035‐4424
TURSKI, A W                    28239 GRAND DUKE DR                                                                         FARMINGTON HILLS    MI 48334‐5220
TURSKI, A WARREN               28239 GRAND DUKE DR                                                                         FARMINGTON HILLS    MI 48334‐5220
TURSKI, KARIN L                2277 BUNKER HILL RD                                                                         ROCHESTER HILLS     MI 48309‐2934
TURSKI, KARIN LYNN             2277 BUNKER HILL RD                                                                         ROCHESTER HILLS     MI 48309‐2934
TURSKI, MICHAEL P              2277 BUNKER HILL RD                                                                         ROCHESTER HILLS     MI 48309‐2934
TURSKI, RICHARD                5546 CANIFF ST                                                                              DETROIT             MI 48212‐3166
TURSKI, RONALD G               2435 CORA ST                                                                                WYANDOTTE           MI 48192‐4322
TURSKI, WILLIAM C              1125 CHESTNUT ST                                                                            WYANDOTTE           MI 48192‐4916
TURSKI,A WARREN                28239 GRAND DUKE DR                                                                         FARMINGTON HILLS    MI 48334‐5220
TURSKIE JAMES                  BOB MCDORMAN CHEVROLET INC     5885 GENDER RD AND RTE 33                                    CANAL WINCHESTER    OH 43110
TURSKY WILLIAM                 TURSKY, WILLIAM                401 61ST STREET                                              WILLOWBROOK          IL 60527
TURSKY, WILLIAM                409 61ST ST                                                                                 WILLOWBROOK          IL 60527
TURSO, DALE D                  3877 RIVER OAK CIR                                                                          VIRGINIA BEACH      VA 23456‐8143
TURSON, JOHN A                 111 PLYMOUTH EAST RD                                                                        PLYMOUTH            OH 44865
TURTENWALD, PETER N            181 WEBBER AVE                                                                              SLEEPY HOLLOW       NY 10591‐2012
TURTENWALD, ROBERT             COONEY & CONWAY                120 NORTH LASALLE STREET, 30TH                               CHICAGO              IL 60602
                                                              FLOOR
TURTENWALD, VIVIAN M           8 DUSTY LN                                                                                  PUTNAM VALLEY      NY   10579‐2034
TURTENWALD, VIVIAN M           8 DUSTY LANE                                                                                PUTNAM VALLEY      NY   10579‐2034
TURTLE & HUGHES INC            188 FOOTHILL RD                                                                             BRIDGEWATER        NJ   08807‐3076
TURTLE TOP                     67819 STATE ROAD 15                                                                         NEW PARIS          IN   46553‐9115
TURTLE TOP DIVISION            THOMAS CRAIG                   67819 INDUSTRIAL DR                                          NEW PARIS          IN   46553
TURTLE TOP‐TERRA TRANSIT DIV   67819 STATE ROAD 151                                                                        NEW PARIS          IN   46553
TURTLE TOP‐TERRA TRANSIT DIV
TURTLE, ELIZABETH              681 MARIANNA ST                                                                             MEMPHIS            TN 38114‐2633
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                               Part 37 of 40 Pg 630 of 901
Name                         Address1                            Address2                      Address3   Address4              City               State Zip
TURTLE, NANCY A              17220 LIMBERLOST RD                                                                                THREE RIVERS        MI 49093‐9364
TURTON JR, HARRY L           9700 CLARK RD                                                                                      DAVISBURG           MI 48350‐2700
TURTON, DAVID L              2445 E LAKE RD                                                                                     CLIO                MI 48420‐2604
TURTON, DAVID L              7300 NEWPORT DR                                                                                    DAVISON             MI 48423‐9372
TURTON, IDA M                5879 WILLOW PARK RD APT 101                                                                        CLARKSTON           MI 48346‐4731
TURTON, MARY L.              76 WOODCREST DR                                                                                    AMHERST             NY 14226‐1407
TURTON, PATRICIA T           2 EMERALD LN                                                                                       OLMSTED FALLS       OH 44138‐3045
TURTON, QUARRIER W           300 N RIDGE RD UNIT 21                                                                             RICHMOND            VA 23229‐7454
TURTON, ROBERT L             4196 LAKEWOOD DR                                                                                   WATERFORD           MI 48329‐3847
TURTON, WAYNE E              31000 RIDGEWAY DR                                                                                  FARMINGTON HILLS    MI 48334‐4623
TURTURA, JOHN R              2672 POSEY LAKE HIGHWAY                                                                            HUDSON              MI 49247
TURTURICE RICHARD WILLIAM    8620 ARQUETTE RD                                                                                   OREGON              OH 43618‐9790
TURTURICE, DEAN              7778 SCOTTS MILL RD                                                                                ROGERS              OH 44455‐9705
TURTURICE, JAMES F           8347 SW 30TH AVE                                                                                   BUSHNELL            FL 33513‐7951
TURTURICE, JESSE S           45046 PINE HOLLOW RD                                                                               ROGERS              OH 44455‐9737
TURTURICE, JESSE V           7870 LUSK LOCK RD                                                                                  LISBON              OH 44432‐9342
TURTURICE, RICHARD W         8620 ARQUETTE RD                                                                                   OREGON              OH 43618‐9790
TURTURICE, RICHARD WILLIAM   8620 ARQUETTE RD                                                                                   OREGON              OH 43618‐9790
TURTURICE, SUSAN M           2722 BELMONT ST                                                                                    HAMTRAMCK           MI 48212‐4401
TURTURRO, JOSEPH M           7 IRVING AVE                                                                                       CROTON ON HUDSON    NY 10520‐2709
TURUMELLA, SRINIVASA         2518 WOODCHASE CT                                                                                  STERLING HEIGHTS    MI 48310‐7118
TURUN AUTOKAUPPA OY          TIERANKATU 7                                                                 TURKU 20520 FINLAND
TURUNC & SAVASCIN            CUMHURIYET BULVARI 140/1            ALSANCAK 35210                           IZMIR TURKEY
TURUNC & TURUNC              MACKA CADDESSI 32/2                 TESVIKIYE 34367               ISTANBUL   TURKEY
TURUNEN, ELEANOR             2815 OLD FORT RD APT 327            VILLAGES SENIOR RESIDENCE                                      MISSOULA           MT   59804‐7418
TURUNEN, JOHN R              5819 SUTTERS LN                                                                                    BLOOMFIELD HILLS   MI   48301‐1063
TURVAC INC                   125 SETTLEMYRE RD                                                                                  OREGONIA           OH   45054‐9712
TURVENE, EDWARD S            4225 NEWCASTLE DR                                                                                  GRAND BLANC        MI   48439‐7350
TURVENE, LEOLA               3354 NINAV LANE                                                                                    DAYTON             OH   45424
TURVEY HARRY E (626817)      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                                 STREET, SUITE 600
TURVEY, BRANDON E            38 VIKING DR                                                                                       EATON              OH   45320‐2636
TURVEY, DAWN C               130 S 3RD ST                                                                                       RICHMOND           IN   47374‐4219
TURVEY, EVERETT T            13103 SW 25TH PL                                                                                   DAVIE              FL   33325‐5140
TURVEY, HARRY E              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510‐2212
                                                                 STREET, SUITE 600
TURVEY, MONTE M              2368 UTLEY RD                                                                                      FLINT              MI   48532‐4900
TURVEY, PATRICIA D           5409 LELAND ST                                                                                     BRIGHTON           MI   48116‐1936
TURVEY, PATRICIA DARLENE     5409 LELAND ST                                                                                     BRIGHTON           MI   48116‐1936
TURVEY, RANDY R              1068 ARROWHEAD DR                                                                                  BURTON             MI   48509‐1420
TURVO INTERNATIONAL CO LTD   NO 59, JING 2 RD, TAICHUNG HARBOR   PROCESSING ZONE, WUCI                    COUNTY 435, TAIWAN,
                             EXPORT                              TOWNSHIP, TAICHUNG                       ZIPCODE: 435
TURVO INTERNATIONAL CO LTD   59 JING 2 RD TAICHUNG HARBOR        EXPRT PRCSSNG ZNE WUCI                   TAICHUNG 435 TAIWAN
                                                                 TOWNSHP                                  TAIWAN
TURVY, KENNETH D             625 WILSON DR                                                                                      XENIA              OH   45385‐1815
TURYN JR, FRANK              1846 E ARROWHEAD LN                                                                                OWOSSO             MI   48867‐8413
TURZA, JERRY M               22023 INKSTER RD                                                                                   FARMINGTON HILLS   MI   48336‐6033
TURZA, JERRY MATTHEW         22023 INKSTER RD                                                                                   FARMINGTON HILLS   MI   48336‐6033
TURZAK, GWENDOLYN L          4065 WYNNWOOD DR                                                                                   SHARPSVILLE        PA   16150‐9025
TURZAK, RUTH M               P.O. BOX 454                                                                                       MILFORD            MI   48381‐0454
TURZAK, RUTH M               PO BOX 454                                                                                         MILFORD            MI   48381‐0454
TURZEWSKI, CATHERINE W       6006 STONEGATE DR                                                                                  BRIGHTON           MI   48116‐5181
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                     Part 37 of 40 Pg 631 of 901
Name                              Address1                               Address2                      Address3                  Address4         City               State Zip
TURZEWSKI, JOHN A                 6006 STONEGATE DR                                                                                               BRIGHTON            MI 48116‐5181
TUSCALOOSA CHEVROLET INC          6500 INTERSTATE PARKWAY                                                                                         TUSCALOOSA          AL 35433
TUSCALOOSA CHEVROLET, INC.        6500 INTERSTATE PKWY                                                                                            COTTONDALE          AL 35453‐4327
TUSCALOOSA CHEVROLET, INC.        DONALD CROWE                           6500 INTERSTATE PKWY                                                     COTTONDALE          AL 35453‐4327
TUSCALOOSA COUNTY                 SPECIAL TAX BOARD                      PO BOX 20738                                                             TUSCALOOSA          AL 35402‐0738
TUSCALOOSA COUNTY                 PO BOX 20738                                                                                                    TUSCALOOSA          AL 35402‐0738
TUSCALOOSA COUNTY                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 20738                                                             TUSCALOOSA          AL 35402‐0738

TUSCALOOSA COUNTY CIRCUIT COURT   714 GREENSBORO AVE STE 316                                                                                      TUSCALOOSA          AL   35401‐1889
CLERK
TUSCALOOSA COUNTY TAX COLLECTOR   714 GREENSBORO AVE STE 124            TUSCALOOSA COUNTY COURTHOUSE                                              TUSCALOOSA          AL   35401‐1872

TUSCALOOSA CTY‐DOMESTIC REL       ACCOUNT OF WILLIE FRENCH              3RD FLOOR COUNTY CTHOUSE                                                  TUSCALOOSA         AL    00000
TUSCALOOSA UNITED WAY             PO BOX 2291                                                                                                     TUSCALOOSA         AL    35403‐2291
TUSCANO, BARBARA                  102 ROSARY DR                                                                                                   CAMPBELL           OH    44405‐1945
TUSCANO, LAWRENCE                 4851 WESTCHESTER DR APT 208                                                                                     YOUNGSTOWN         OH    44515‐2592
TUSCANY, LAWRENCE D               30727 BLUEHILL ST                                                                                               ROSEVILLE          MI    48066‐1464
TUSCARAWAS COUNTY TREASURER       PO BOX 250                                                                                                      NEW PHILADELPHIA   OH    44663‐0250
TUSCARORA INC                     PO BOX 360893                                                                                                   PITTSBURGH         PA    15251‐6893
TUSCARORA PLASTICS INC            1620 BELLFAST RD                                                                                                LEWISBURG          TN    37091
TUSCARORA, INC.                   JERRIE CARLSON X216                   3466 ENTERPRISE AVE.                                                      TINLEY PARK        IL    60477
TUSCARORA/CONYERS                 1479 PARKER ROAD                                                                                                CONYERS            GA    30094
TUSCARORA/LEWISBURG               PO BOX 1638                                                                                                     LEWISBURG          TN    37091‐0638
TUSCH, GERARD H                   2044 MAPLE AVE                                                                                                  PALMYRA            NY    14522‐9119
TUSCHER, JOSEPH E                 1418 KETTERING ST                                                                                               BURTON             MI    48509‐2406
TUSCHONG, FROSO                   95 PEPPERIDGE DR                                                                                                ROCHESTER          NY    14626‐1307
TUSCIUK, CHARLES G                9043 FORREST PINE DR                                                                                            CLIO               MI    48420‐8513
TUSCO ASHER                       7011 BURWELL ST                                                                                                 DETROIT            MI    48210‐1534
TUSCOLA COUNTY CLERK              440 N STATE ST                                                                                                  CARO               MI    48723
TUSCOLA COUNTY F O C              ACCT OF ROY W RODAMMER                449 GREEN ST                                                              CARO               MI    48723‐1911
TUSCOLA COUNTY FOC                449 GREEN ST                                                                                                    CARO               MI    48723‐1911
TUSCOLA COUNTY FOC ACT OF         R J CASSIDY                           449 GREEN ST                                                              CARO               MI    48723‐1911
TUSCOLA COUNTY FRIEND OF COURT    ACCT OF JOSE M CRUZ                   449 GREEN ST                                                              CARO               MI    48723‐1911
TUSCOLA COUNTY FRIEND OF COURT    ACCOUNT OF GARETH MAPLEY              449 GREEN ST                                                              CARO               MI    48723‐1911
TUSCOLA COUNTY FRIEND OF COURT    FAMILY SUPPORT FOR ACCOUNT OF         449 GREEN ST                   LOREN M WEISS CASE #86‐                    CARO               MI    48723‐1911
                                                                                                       7430DM
TUSCOLA COUNTY FRIEND OF COURT    ACCT OF RICKS ANDERSON                449 GREEN ST                                                              CARO               MI    48723‐1911
TUSCOLA COUNTY TREASURER          440 N. STATE ST.                                                                                                CARO               MI    48723
TUSCOLA CTY FOC                   449 GREEN ST                                                                                                    CARO               MI    48723‐1911
TUSCOLA CTY FRIEND OF COURT       FAMILY SUPP PAYMENT FOR ACCOUN        449 GREEN ST                   OF FR WELSH CASE# 84‐                      CARO               MI    48723‐1911
                                                                                                       5951DM
TUSCOLA CTY FRIEND OF COURT       ACCT OF MICHAEL RUDOLPH GREGUS        449 GREEN ST                                                              CARO               MI    48723‐1911
TUSCOLA TOWNSHIP                  7156 FRANKENMUTH RD                                                                                             VASSAR             MI    48768‐9498
TUSCULUM COLLEGE                  BUSINESS OFFICE                                                                                                 GREENEVILLE        TN    37743
TUSHAR PORWAL                     1426 TRACEKY                                                                                                    ROCHESTER HILLS    MI    48306‐3590
TUSHAR WANI                       27641 KINGSGATE WAY                                                                                             FARMINGTON HILLS   MI    48334‐3614
TUSHAR, LOIS M                    904 BELVEDERE SE                                                                                                WARREN             OH    44484
TUSHEK, KEITH A                   2827 RIVER MEADOW CIR                                                                                           CANTON             MI    48188‐2333
TUSINAC, RONALD R                 572 BLOSSOM AVE                                                                                                 CAMPBELL           OH    44405‐1430
TUSING, CHARLES A                 888 SHERWOOD DR                                                                                                 ELYRIA             OH    44035‐3016
TUSING, LARRY L                   4904 RIDGE AVENUE SOUTHEAST                                                                                     CANTON             OH    44707‐1126
TUSING, LORETTA P                 15436 RADEMAKER DR                                                                                              BROOK PARK         OH    44142‐2833
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                          Part 37 of 40 Pg 632 of 901
Name                                 Address1                          Address2                 Address3                  Address4         City            State Zip
TUSING, RITA H                       2493 HOWE RD                                                                                          BURTON           MI 48519‐1133
TUSING, THELMA JEAN                  222 DEVONSHIRE DR                                                                                     KOKOMO           IN 46901‐5050
TUSINSKI, ANTHONY                    2338 BAY WOODS CT                                                                                     BAY CITY         MI 48706‐9347
TUSIRAY, BULENT                      905 RANDOLPH RD                                                                                       SANTA BARBARA    CA 93111‐1031
TUSKEGEE UNIVERSITY                  ATTN SARAH STRINGER               CAREER DEVELOPMENT &     CARNEGIE HALL 3RD FLOOR                    TUSKEGEE         AL 36088
                                                                       PLACEMENT
TUSKEGEE UNIVERSITY OFFICE OF THE    KRESGE CENTER 1ST FLOOR                                                                               TUSKEGEE         AL   36088
BURSAR
TUSKEGEE UNIVERSITY OFFICE OF THE    KRESGE CTR 1ST FL                                                                                     TUSKEGEE         AL   36088
BURSAR
TUSKENIS, ANGELA                     293 KELSEY PARK CIR                                                                                   PALM BCH GDNS   FL    33410‐3258
TUSKENIS, ANTHONY                    6145 W 79TH PL                                                                                        BURBANK         IL    60459‐1901
TUSKES, JOSEPH V                     959 EGGLESTON RD                                                                                      AURORA          OH    44202‐9741
TUSKES, RICHARD J                    50 WOODWARD AVE                                                                                       KENMORE         NY    14217‐1518
TUSKI, CHRIS E                       3228 GREEN CORNERS RD                                                                                 LAPEER          MI    48446‐9650
TUSO, GIOVANNI                       17 ERIN LN                                                                                            OLD BRIDGE      NJ    08857‐2757
TUSO, GIOVANNI                       8 ERIN LANE                                                                                           OLD BRIDGE      NJ    08857‐2755
TUSOCH, EMMA                         5933 MAYFLOWER AVE                                                                                    MAYFIELD HTS    OH    44124‐3032
TUSOCH, IRENE                        21800 CHARDON RD                  MOUNT ST. JOSEPH         ROOM 125                                   EUCLID          OH    44117‐2125
TUSON, GARRY T                       418 SE 19TH ST                                                                                        CAPE CORAL      FL    33990‐2277
TUSON, ROBERT W                      6935 TUSON BLVD                                                                                       CLARKSTON       MI    48346‐4341
TUSS, ELLA M                         6045 N MAIN ST APT 213                                                                                DAYTON          OH    45415‐3194
TUSSAY, MAGDOLNA                     4 MAPLE ST                                                                                            JACKSON         NJ    08527‐2711
TUSSET, DONALD R                     1000 W ARBOR RIDGE DR                                                                                 GREEN VALLEY    AZ    85614‐3215
TUSSET, MARY L                       1000 W ARBOR RIDGE DR                                                                                 GREEN VALLEY    AZ    85614‐3215
TUSSET, PAULA E                      8214 DARTMOUTH DR                                                                                     WARREN          MI    48093‐2815
TUSSEY, GARNETT R                    1643 KING RICHARD PARKWAY                                                                             MIAMISBURG      OH    45342‐5342
TUSSEY, GENNIS R                     3644 PENNYROYAL RD                                                                                    FRANKLIN        OH    45005‐1053
TUSSEY, LORAINE                      PO BOX 72002                                                                                          COLUMBUS        OH    43207‐8002
TUSSEY, SHIRLEY                      PO BOX 120                                                                                            FAYETTEVILLE    OH    45118‐0120
TUSSEY, STEPHEN I                    641 HARPWOOD DR                                                                                       FRANKLIN        OH    45005‐6502
TUSSEY, STEVEN L                     641 HARPWOOD DR                                                                                       FRANKLIN        OH    45005‐6502
TUSSEY, VERNICE M                    825 WILLOW CREEK WAY                                                                                  TROY            OH    45373‐8757
TUSSEY, WALTER L                     4719 50TH AVE W                                                                                       BRADENTON       FL    34210‐4905
TUSSEY,STEVEN L                      641 HARPWOOD DR                                                                                       FRANKLIN        OH    45005‐6502
TUSSI KUTTNER 1992 TRUST, STUART     C/O JOHN KLUGE                    15004 SUNFLOWER COURT                                               ROCKVILLE       MD    20853
SUBOTNICK TRUSTEE
TUSSI KUTTNER 1992 TRUST, STUART     15004 SUNFLOWER COURT                                                                                 ROCKVILLE       MD 20853‐1748
SUBOTNICK TRUSTEE
TUSSING, BRIAN D                     1701 AYERSVILLE AVE                                                                                   DEFIANCE        OH 43512‐3608
TUSTIN BPG HUMMER
TUSTIN BUICK PONTIAC GMC             TUSTIN BUICK PONTIAC GMC HUMMER   1 AUTO CENTER DR                                                    TUSTIN          CA 92782‐8406
TUSTIN BUICK PONTIAC GMC HUMMER      1 AUTO CENTER DR                                                                                      TUSTIN          CA 92782‐8406
TUSTIN BUICK PONTIAC GMC HUMMER      JAMES PARKINSON                   1 AUTO CENTER DR                                                    TUSTIN          CA 92782‐8406
TUSTIN BUICK PONTIAC GMC TRADEMARK
INFRINGEMENT MATTER
TUSTIN CADILLAC                      50 AUTO CENTER DR                                                                                     TUSTIN          CA    92782‐8401
TUSTIN CARS, INC.                    LEONARD KNOTT                     3233 PACIFIC COAST HWY                                              TORRANCE        CA    90505‐6613
TUSTIN CARS, INC.                    50 AUTO CENTER DR                                                                                     TUSTIN          CA    92782‐8401
TUSTIN CARS, INC.                    GARRY WHITE                       50 AUTO CENTER DR                                                   TUSTIN          CA    92782‐8401
TUSTIN CHEVROLET                     16 AUTO CENTER DR                                                                                     TUSTIN          CA    92782‐8401
TUSTIN NISSAN                        JAMES PARKINSON                   1 AUTO CENTER DR                                                    TUSTIN          CA    92782‐8406
                           09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                               Part 37 of 40 Pg 633 of 901
Name                       Address1                         Address2                       Address3              Address4         City               State Zip
TUSTIN, ALAN E             3154 WILD HORSE DR                                                                                     FORISTELL           MO 63348‐2604
TUSTIN, WILLIAM D          1416 MCMYLER ST NW                                                                                     WARREN              OH 44485‐2862
TUSTISON, MICHAEL D        6920 NW MACE RD                                                                                        KANSAS CITY         MO 64152
TUSZYNSKI JOSEPH J         1039 FOXCROFT LN                                                                                       BALTIMORE           MD 21221‐5912
TUSZYNSKI, JOSEPH J        1039 FOXCROFT LN                                                                                       BALTIMORE           MD 21221‐5912
TUTAK, TIMOTHY             30837 WESTHILL ST                                                                                      FARMINGTON HILLS    MI 48336‐2664
TUTAK, WALTER R            13352 CANTERBURY                                                                                       STERLING HEIGHTS    MI 48312‐3304
TUTAS, BERND O             210 POMEROY ST                                                                                         PEEKSKILL           NY 10566‐3528
TUTAS, EDWARD F            1460 CORYDALE DR APT 114                                                                               FAIRFIELD           OH 45014‐3365
TUTEJA, ARJUN D            24775 PORTSMOUTH AVE                                                                                   NOVI                MI 48374‐3134
TUTEN JACK W SR            C/O GLASSER
TUTEN JACK W SR (340774)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA 23510
                                                            STREET, SUITE 600
TUTEN, DAVID E             2305 DILWORTH RD W                                                                                     CHARLOTTE          NC 28203‐5737
TUTEN, JACK W              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
TUTEN, LINDA D             945 SIDELINE CT                                                                                        STOCKBRIDGE        GA   30281‐3552
TUTEROW, KENT E            3869 SADDLE BROOK WAY                                                                                  SEVIERVILLE        TN   37862‐8298
TUTEROW, LAWRENCE E        524 ANDERSON RD                                                                                        CHESTERFIELD       IN   46017‐1514
TUTEWOHL, DENNIS M         17119 EAGLEVIEW WAY                                                                                    FARMINGTON         MN   55024‐7305
TUTHILL CORP               SUPERIOR LINKAGE DIV             2110 SUMMIT ST                 PO BOX 227                             NEW HAVEN          IN   46774‐9524
TUTHILL CORP               STACY ROBINSON                   PO BOX 227                     TUTHILL CORPORATION                    NEW HAVEN          IN   46774‐0227
TUTHILL CORP               STACY ROBINSON                   TUTHILL CORPORATION            P.O. BOX 227                           KENT               OH   44240
TUTHILL CORP               2789 OLD BELLEVILLE RD                                                                                 SAINT MATTHEWS     SC   29135‐9012
TUTHILL CORP               8500 S MADISON ST                                                                                      BURR RIDGE         IL   60527‐6284
TUTHILL CORPORATION        PO BOX 92794                     OFF HOLD PER A WOODS MW 5/02                                          CHICAGO            IL   01527

TUTHILL CORPORATION        ROUTE #4 BELVILLE ROAD                                                                                 ST MATTHEWS        SC   29135
TUTHILL ENERGY SYSTEMS     PO BOX 92838                                                                                           CHICAGO            IL   60675‐0001
TUTHILL, JOHN G            310 OVERCREEK DR                                                                                       RICHARDSON         TX   75080‐2617
TUTHILL, MARY A            13365 NEPTUNE CT                                                                                       GARDEN GROVE       CA   92843‐2724
TUTHILL, MARY K            19 VOGE ST                                                                                             WEST ALEXANDRIA    OH   45381‐1133
TUTKO PAMELA T             TUTKO, CAROL A                   PO BOX 12027                                                          HARRISBURG         PA   17108‐2027
TUTKO PAMELA T             TUTKO, PAMELA T                  5 EAST FIFTH STREET                                                   BLOOMSBURG         PA   17815
TUTKO PAMELA T             TUTKO, PAMELA T                  PO BOX 12027                                                          HARRISBURG         PA   17108‐2027
TUTKO PAMELA T             WOLFE, MARTIN J                  5 EAST FIFTH STREET                                                   BLOOMSBURG         PA   17815
TUTKO PAMELA T             WOLFE, MARTIN J                  407 NORTH FRONT STREET                                                HARRISBURG         PA   17108
TUTKO, CAROL A             STEFANON ANTHONY                 PO BOX 12027                                                          HARRISBURG         PA   17108‐2027
TUTKO, CONNIE L            523 CO RD 801 RT 3                                                                                     ASHLAND            OH   44805
TUTKO, DOLORES R           8835 CHANDLER DRIVE              APT B SOUTH BAY LAKES                                                 SURFSIDE BEACH     SC   29575‐8884
TUTKO, JOHN J              65 BIRCH LN                                                                                            WILMINGTON         IL   60481‐8762
TUTKO, JOSEPH J            226 E HOLLY ST                                                                                         HAZLETON           PA   18201
TUTKO, PAMELA              40 S CATHERINE ST                                                                                      SHENANDOAH         PA   17976‐2111
TUTKO, PAMELA T            HUMMEL & LEWIS                   5 EAST FIFTH STREET                                                   BLOOMSBURG         PA   17815
TUTKO, PAMELA T            STEFANON ANTHONY                 1847 CENTER ST                                                        CAMP HILL          PA   17011‐1703
TUTKO, PATRICIA ANN        5 NORTHAMPTON BUILDING A                                                                               WEST PALM BEACH    FL   33417
TUTLE, GARY D              4001 COUNTY ROAD 1110                                                                                  RIO VISTA          TX   76093‐3235
TUTMAN, JAMES H            20411 SANTA ROSA DR                                                                                    DETROIT            MI   48221‐1244
TUTMAN, LEON               3732 VALPARISO CIR                                                                                     DECATUR            GA   30034‐6013
TUTOKI, PATRICIA A         1686 SANDHURST RD.                                                                                     COLUMBUS           OH   43229‐2643
TUTON, CHARLOTTE S         8316 E 108TH ST                                                                                        TULSA              OK   74133‐7329
TUTOR WILLIAM B            1042 E LIBERTY ST                                                                                      GIRARD             OH   44420‐2406
                              09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                  Part 37 of 40 Pg 634 of 901
Name                          Address1                          Address2                           Address3   Address4         City               State Zip
TUTOR, ARCHIE C               579 DV CIRCLE                                                                                    SPRING HILL         TN 37174
TUTOR, DANIEL J               282 AIRPORT RD NW                                                                                WARREN              OH 44481‐9410
TUTOR, JAMES B                H C R 67 BOX 124BB                                                                               WARSAW              MO 65355‐7901
TUTOR, JAMES B                HC R BOX 124BB                                                                                   WARSAW              MO 65355
TUTOR, STEPHEN J              8793 LAKE IN THE WOODS TRL                                                                       CHAGRIN FALLS       OH 44023
TUTOR‐HOLT, MINNIE B          134 CARRIAGE HOUSE TRL                                                                           GARNER              NC 27529‐4570
TUTOROW, DIANA K              260 E 2ND ST LOT 4                                                                               PENNVILLE           IN 47369‐9472
TUTROW, GERALD G              420 WATERVIEW BLVD                                                                               GREENFIELD          IN 46140‐1368
TUTSKY, JULIA                 5706 PELHAM DR                                                                                   PARMA               OH 44129‐4740
TUTSOCK, JOHN A               20928 HAYES ST                                                                                   TAYLOR              MI 48180‐2503
TUTSOCK, PERRY A              20601 MERIDIAN RD                                                                                GROSSE ILE          MI 48138‐1254
TUTSTONE, RONALD E            405 UPLAND AVE                                                                                   PONTIAC             MI 48340‐1347
TUTT II, ELBERT               4312 PERTH TRCE NE                                                                               ROSWELL             GA 30075‐2645
TUTT, CA‐SANDRA               19131 LUMPKIN ST                                                                                 DETROIT             MI 48234‐1232
TUTT, DEKISHA K               PO BOX 270647                                                                                    KANSAS CITY         MO 64127‐0647
TUTT, JIMMY                   2120 14TH ST E                                                                                   TUSCALOOSA          AL 35404‐4006
TUTT, JOYCE                   2120 14TH ST E                                                                                   TUSCALOOSA          AL 35404
TUTT, MARY M                  9407 KINLOCH                                                                                     REDFORD             MI 48239‐1871
TUTT, MILDRED E.              20 LOMA LINDA DR                                                                                 COLORADO SPRINGS    CO 80906‐4313
TUTT, WICKIE W                4860 WESTCHESTER DR APT 1                                                                        YOUNGSTOWN          OH 44515‐2578
TUTTEROW CHARLES A (439576)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510
                                                                STREET, SUITE 600
TUTTEROW, CHARLES A           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
TUTTEROW, CHRISTOPHER E       1477 TOWNSHIP ROAD 174                                                                           WEST LIBERTY       OH   43357
TUTTEROW, CLINTON H           726 BIRCHWOOD RD SW                                                                              MARIETTA           GA   30060‐5126
TUTTEROW, PATRICIA A          3833 SAN MIGUEL LN                                                                               ROCKLEDGE          FL   32955
TUTTERROW ROBERT              11621 HIGHWAY 157                                                                                RISING FAWN        GA   30738‐2344
TUTTILA, ALLAN J              3250 DIETZ RD                                                                                    WILLIAMSTON        MI   48895‐9516
TUTTILA, ALLAN JOSEPH         3250 DIETZ RD                                                                                    WILLIAMSTON        MI   48895‐9516
TUTTLE LINDSEY                TUTTLE, LINDSEY                   120 WEST MADISON STREET 10TH                                   CHICAGO            IL   60602
                                                                FLOOR
TUTTLE RALPH E (452086)       CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH 44115
                              GAROFOLI                          FL
TUTTLE RALPH E (454092)       CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH 44115
                              GAROFOLI                          FL
TUTTLE ROBERT                 730 LITTY CT                      APT 101                                                        MEMPHIS            TN   38103‐8774
TUTTLE SR, JOHN E             23740 NE LEONARD VARNUM RD                                                                       ALTHA              FL   32421‐3519
TUTTLE SUSAN                  122 DUNSTABLE RD                                                                                 WESTFORD           MA   01886‐1014
TUTTLE, ADAM M                9706 KING JAMES CT                                                                               FORT WAYNE         IN   46804‐4330
TUTTLE, C E                   2415 WESTMONT CIR                                                                                STERLING HEIGHTS   MI   48310‐6980
TUTTLE, CAROLE L              PO BOX 334                                                                                       BUTLER             WI   53007‐0334
TUTTLE, CHERRYL A             3064 MALLERY ST #8078                                                                            FLINT              MI   48504‐2928
TUTTLE, CLARK J               34922 W CHICAGO ST                                                                               LIVONIA            MI   48150‐2516
TUTTLE, CLYDE E               7204 WILSON RD                                                                                   OTISVILLE          MI   48463‐9426
TUTTLE, CRAIG A               216 SOUTH AVE                                                                                    VAN WERT           OH   45891‐2353
TUTTLE, DAN E                 16611 HARRIS RD                                                                                  DEFIANCE           OH   43512‐8921
TUTTLE, DAVID B               5586 HUNTERS GATE DR                                                                             TROY               MI   48098‐2341
TUTTLE, DAVID E               152 LADD RD 1                                                                                    WALLED LAKE        MI   48390
TUTTLE, DAVID E               152 LADD RD                                                                                      WALLED LAKE        MI   48390‐3333
TUTTLE, DAVID L               10321 CATHLEEN DR                                                                                HARRISON           MI   48625‐8651
TUTTLE, DENNIS E              415 TENNYSON AVE                                                                                 FLINT              MI   48507‐2662
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                          Part 37 of 40 Pg 635 of 901
Name                   Address1                        Address2                       Address3   Address4         City              State Zip
TUTTLE, DONALD E       PO BOX 255                                                                                 ONAWAY             MI 49765‐0255
TUTTLE, DONALD O       5256 N GALE RD                                                                             DAVISON            MI 48423‐8956
TUTTLE, DOROTHY E      10126 HEGEL RD APT 1                                                                       GOODRICH           MI 48438‐8760
TUTTLE, DOROTHY E      10126 HEGEL RD                  APT 1                                                      GOODRICH           MI 48438
TUTTLE, DOROTHY I      1930 MULSANNE DR                                                                           ZIONSVILLE         IN 46077‐9076
TUTTLE, EDWIN W        3077 S BELSAY RD                                                                           BURTON             MI 48519‐1617
TUTTLE, EILEEN M       RR 6                                                                                       DEFIANCE           OH 43512
TUTTLE, EILEEN M       RR 6 12064 FRUIT RIDGE ROAD                                                                DEFIANCE           OH 43512‐9097
TUTTLE, EILEEN MARIE   12064 FRUIT RIDGE RD                                                                       DEFIANCE           OH 43512‐9097
TUTTLE, FANNIE M       418 BEECHWOOD DR                                                                           LONDON             KY 40744
TUTTLE, FOYSTER H      418 BEECHWOOD DR                                                                           LONDON             KY 40744
TUTTLE, FRANK          25 ASHBY LN                                                                                SELLERSBURG        IN 47172‐1893
TUTTLE, GENEVA M       1 KULAS LN APT 403                                                                         PARLIN             NJ 08859‐2237
TUTTLE, GENEVA M       1 KULAS LANE APT 403                                                                       PARLIN             NJ 08859‐2237
TUTTLE, GEORGE R       5510 LEISEL CT                                                                             COMMERCE TWP       MI 48382‐4813
TUTTLE, GERALD M       92 CEDAR ST                                                                                WYANDOTTE          MI 48192‐4619
TUTTLE, HAROLD C       983 E ROWLAND AVE                                                                          MADISON HTS        MI 48071‐4334
TUTTLE, IOLA M         2418 JASPER AVE                                                                            FORT MYERS         FL 33907‐5825
TUTTLE, JAMES A        3998 US HIGHWAY 23 N                                                                       ROGERS CITY        MI 49779‐9529
TUTTLE, JAMES A        4518 STATE ROAD 550                                                                        SHOALS             IN 47581‐7125
TUTTLE, JAMES C        6762 BISON ST                                                                              WESTLAND           MI 48185‐2804
TUTTLE, JAMES E        2912 WOODWARD AVE SW                                                                       WYOMING            MI 49509‐2932
TUTTLE, JAMES E        212 S WASHINGTON ST                                                                        CHESTERFIELD       IN 46017‐1627
TUTTLE, JAMES H        2595 ABINGTON CT                                                                           ROCHESTER HILLS    MI 48306‐3002
TUTTLE, JAMES M        114 BAY CITY TRL                                                                           HOUGHTON LAKE      MI 48629‐8266
TUTTLE, JANE C         2138 HILLSDALE DR                                                                          DAVISON            MI 48423‐2308
TUTTLE, JANE C         2138 HILLDALE DRIVE                                                                        DAVISON            MI 48423‐2308
TUTTLE, JEFFREY P      29646 WALNUT ST                                                                            FLAT ROCK          MI 48134‐1363
TUTTLE, JOHN D         6316 CALKINS RD                                                                            FLINT              MI 48532‐3207
TUTTLE, JOHN L         1251 JAVA PL                                                                               OGDEN               IA 50212‐7401
TUTTLE, JOHN R         4943 HOLLY PARK AVE SE                                                                     GRAND RAPIDS       MI 49548‐4414
TUTTLE, JOSHUA         970 E 3250 S                                                                               PRICE              UT 84501‐4565
TUTTLE, JUNE E         6 WALKER ST                                                                                MARLBOROUGH        MA 01752‐3258
TUTTLE, JUNE E         6 WALKER STREET                                                                            MARLBORO           MA 01752‐3258
TUTTLE, KEITH G        5210 DUFFIELD RD                                                                           FLUSHING           MI 48433‐9780
TUTTLE, KENNETH L      3978 HICKORY LN                                                                            GREENWOOD          IN 46143‐9320
TUTTLE, KEVIN G        1045 S GALE RD                                                                             DAVISON            MI 48423‐2508
TUTTLE, LARRY E        6342 MUNGER RD                                                                             SAGINAW            MI 48601‐9611
TUTTLE, LAURIE B       12947 LIMBERLOST DR                                                                        CARMEL             IN 46033‐8705
TUTTLE, LE ROY A       18035 RUTH ST                                                                              MELVINDALE         MI 48122‐1565
TUTTLE, LEE M          4710 GILLIONVILLE RD                                                                       ALBANY             GA 31721‐9558
TUTTLE, LESLIE         PO BOX 2994                                                                                FRAMINGHAM         MA 01703‐2994
TUTTLE, LINDSEY        KROHN & MOSS ‐ IN               120 WEST MADISON STREET 10TH                               CHICAGO             IL 60602
                                                       FLOOR
TUTTLE, LOYD G         15578 S NAVAHO CT                                                                          OLATHE            KS   66062‐3842
TUTTLE, MARGRETHA L    119 CLARK HOLLOW ROAD                                                                      WESTMORLAND       TN   37186‐5265
TUTTLE, MARIE          1611 GILMAN ST                                                                             GARDEN CITY       MI   48135‐3077
TUTTLE, MARIE          1611 GILMAN                                                                                GARDEN CITY       MI   48135‐3077
TUTTLE, MARJORIE C     377 W US HIGHWAY 36                                                                        PENDLETON         IN   46064‐9331
TUTTLE, MARK E         G4284 N VASSAR RD                                                                          FLINT             MI   48506
TUTTLE, MARY V         254 N BURGESS ST APT 1                                                                     WEST BRANCH       MI   48661‐1108
TUTTLE, MICHAEL        1166 PARMA CORNER HILTON RD                                                                HILTON            NY   14468
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                      Part 37 of 40 Pg 636 of 901
Name                                Address1                          Address2                          Address3   Address4         City             State Zip
TUTTLE, MICHAEL A                   16695 W WESTERN RESERVE RD                                                                      BERLIN CENTER     OH 44401‐9705
TUTTLE, MICHAEL E                   10126 W SKINNER RD                                                                              BELOIT            WI 53511‐8141
TUTTLE, MICHAEL J                   9854 STODDARD RD                                                                                ADRIAN            MI 49221‐9438
TUTTLE, MICHAEL J                   APT 44                            739 LOUISA STREET                                             LANSING           MI 48911‐5148
TUTTLE, NELLIE M                    12701 W COUNTY ROAD 950 NORTH                                                                   GASTON            IN 47342‐9069
TUTTLE, NICK M                      10126 W SKINNER RD                                                                              BELOIT            WI 53511‐8141
TUTTLE, NORMAN E                    2138 HILLSDALE DR                                                                               DAVISON           MI 48423‐2308
TUTTLE, PATSY                       915 N COURTLAND AVE               C/O PAM DAVIS                                                 KOKOMO            IN 46901‐3344
TUTTLE, PATSY                       1901 S GOYER RD 119                                                                             KOKOMO            IN 46902
TUTTLE, PHYLLIS A                   1185 APPLE VALLEY RD                                                                            GREENWOOD         IN 46142‐5022
TUTTLE, R D                         8143 S UNION RD., RT 1                                                                          ASHLEY            MI 48806
TUTTLE, RALPH E                     CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                               CLEVELAND         OH 44115
                                    GAROFOLI                          FL
TUTTLE, RALPH W                     1821 BURTON ST                                                                                  BELOIT           WI   53511‐2843
TUTTLE, RANDALL D                   8261 PINE LAKE DR                                                                               DAVISBURG        MI   48350‐2045
TUTTLE, RANDY L                     140 SW 77TH AVE                                                                                 OCALA            FL   34474‐1656
TUTTLE, RANDY L                     2409 GREENS MILL RD LOT 19                                                                      COLUMBIA         TN   38401‐6192
TUTTLE, RHONDA R                    7171 MORRISH RD                                                                                 SWARTZ CREEK     MI   48473‐7622
TUTTLE, ROBERT A                    PO BOX 377                        6520 RUSH LIMA RD                                             RUSH             NY   14543‐0377
TUTTLE, RONALD K                    303 SMITH ST APT 221                                                                            CLIO             MI   48420‐2001
TUTTLE, RUSSELL D                   5079 YORKTOWN DR                                                                                MOUNT MORRIS     MI   48458‐8817
TUTTLE, RUTH B                      318 E CHURCH ST                                                                                 FORTVILLE        IN   46040‐1303
TUTTLE, RUTH B                      318 E CHURCH                                                                                    FORTVILLE        IN   46040‐1303
TUTTLE, RUTH D                      232 WEST W L DRIVE                                                                              WALLED LAKE      MI   48390
TUTTLE, RUTH F                      PO BOX 85                                                                                       GREENWICH        OH   44837‐0085
TUTTLE, RUTH F                      P.O. BOX 85                                                                                     GREENWICH        OH   44837‐0085
TUTTLE, STEPHEN M                   1014 WHITMORE ST                                                                                ANDERSON         IN   46012‐9216
TUTTLE, STEVEN W                    6438 SILVER ROCK HWY                                                                            MILLERSBURG      MI   49759‐9442
TUTTLE, THOMAS E                    377 W US HIGHWAY 36                                                                             PENDLETON        IN   46064‐9331
TUTTLE, WILLIAM C                   3745 ELDER RD                                                                                   HARRISBURG       PA   17111‐2037
TUTTLE, WILLIAM J                   7337 NICHOLS RD                                                                                 FLUSHING         MI   48433‐9262
TUTTLE, WILLIAM L                   3890 E CHEYENNE DR                                                                              GRANDVILLE       MI   49418
TUTTLE, Z L                         146 GRISWOOD DR                                                                                 MARTINEZ         GA   30907‐1306
TUTTOBENE, ANGELO                   2 STEVE DR                                                                                      ROCHESTER        NY   14606‐3410
TUTTOBENE, JOANNE L                 1708 E 2ND ST                                                                                   DEFIANCE         OH   43512‐2446
TUTTOBENE, JOANNE LISA              1708 E 2ND ST                                                                                   DEFIANCE         OH   43512‐2446
TUTTROW JR, ERNEST E                1545 GLENN BROOKE WOODS CIRCLE                                                                  BALLWIN          MO   63021‐8489
TUTUNY, PANDI C                     9 FAIRWAY CIR                                                                                   POCASSET         MA   02559‐2105
TUTWILER CADILLAC, INC.             10101 N MERIDIAN ST                                                                             INDIANAPOLIS     IN   46290‐1019
TUTWILER CADILLAC, INC.             E. M. TUTWILER                    10101 N MERIDIAN ST                                           INDIANAPOLIS     IN   46290‐1019
TUTWILER, LEONARD G                 1270 PEERLESS RD                                                                                BEDFORD          IN   47421‐8099
TUTWILER, LOIS I                    305 ALLISON ST                    P O BOX 161                                                   CATLIN           IL   61817‐9661
TUTWILER, LORETTA J                 510 SHERWOOD AVE                                                                                YOUNGSTOWN       OH   44511‐4511
TUTWILER, LOUISE                    1520 CLEVELAND                                                                                  DANVILLE         IL   61832‐6520
TUTWILER, PHYLLIS                   2140 1/2 BATESTOWN RD                                                                           DANVILLE         IL   61832‐5369
TUULIK, VOLDEMAR                    581 CLEARVIEW DR                                                                                PORT CHARLOTTE   FL   33953‐2039
TUV AMERICA INC                     10 CENTENNIAL DR FL 2A                                                                          PEABODY          MA   01960
TUV RHEINLAND OF NORTH AMERICAINC   12 COMMERCE RD                                                                                  NEWTOWN          CT   06470‐1607

TUV SUD AMERICA                     PO BOX 350012                                                                                   BOSTON           MA 02241‐0001
TUVELL JR, RONALD J                 1681 N ROAD 450 W                                                                               BARGERSVILLE     IN 46106‐9214
TUVELL, JOSEPH D                    4864 W WENGER RD                                                                                CLAYTON          OH 45315
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                          Part 37 of 40 Pg 637 of 901
Name                                 Address1                          Address2                         Address3   Address4         City               State Zip
TUVELL, RICHARD L                    1101 DIAMOND MILL RD                                                                           BROOKVILLE          OH 45309‐9394
TUWAIG, NAWAF S                      2604 S SAGINAW ST APT 5                                                                        FLINT               MI 48503‐3987
TUWANDA PETERS
TUXEDO AUTO SERVICE CENTER           5732 TUXEDO RD                                                                                 HYATTSVILLE        MD 20781‐1316
TUXEDO PARTNERS, INC. DBA HENNESSY   PO BOX 6009                                                                                    WARNER ROBINS      GA 31095‐6009
IND. LEXUS OF ATLANTA
TUXEDO PARTNERS, INC. DBA HENNESSY   PO BOX 6009                                                                                    WARNER ROBINS      GA 31095‐6009
LEXUS OF ATLANTA
TUYEN D TRUONG                       4941 STONEYVIEW CT.                                                                            DAYTON             OH    45424
TUYEN N NGUYEN                       5921 CARNATION RD                                                                              DAYTON             OH    45449‐2901
TUYN, DOROTHY E                      111 ENSMINGER ROAD                                                                             TONAWANDA          NY    14150‐6719
TUYN, DOROTHY E                      111 ENSMINGER ROAD                TONAWANDA MANOR                                              TONAWANDA          NY    14150
TUYN, NANCY R                        34695 RAMBLE HILLS DR                                                                          FARMINGTON HILLS   MI    48331‐4229
TUYN, VIRGINIA E                     100 JOHN KNOX RD                  STE 230                                                      TALLAHASSEE        FL    32303
TUYO, DAVID L                        274 CYPRESS LAKE DR                                                                            GULF SHORES        AL    36542
TUYO, GERALD L                       30914 MORLOCK ST                                                                               LIVONIA            MI    48152‐1653
TUZA, STEVE T                        330 MADISON AVE                                                                                CUYAHOGA FALLS     OH    44221‐1410
TUZAS, CHRISTINA L                   3615 CORA ST                                                                                   SAGINAW            MI    48601
TUZZO, CALOGERO                      2915 OLDEN OAK LN APT 203                                                                      AUBURN HILLS       MI    48326
TUZZO, RAFFAELE                      2915 OLDEN OAK LN APT 203                                                                      AUBURN HILLS       MI    48326‐2156
TUZZOLINO, JOSEPH                    COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                               CHICAGO            IL    60602
                                                                       FLOOR
TV AZTECA                            BOB TURNER                        327 E89TH ST APT 4W                                          NEW YORK           NY    10128‐7524
TV AZTECA                            BOB TURNER                        327 E 89TH ST APT 4W                                         NEW YORK           NY    10128‐7524
TV MINORITY CO INC                   JASON LEACH                       1700 E MONUMENT AVE                                          DAYTON             OH    45402‐1364
TV MINORITY CO INC                   JASON LEACH                       1700 EAST MONUMENT AVE                                       DAYTON             OH    45402
TV MINORITY CO INC                   5020 FLOUMOY LUCAS RD                                                                          SHREVEPORT         LA    71129
TV ONE                               LISABETH HAYES                    180 N STETSON AVE STE 3250                                   CHICAGO            IL    60601‐6843
TV STATIONS ACQUISITIONS, LLC        P.O.BOX 10254                                                                                  UNIONDALE          NY
TV STATIONS ACQUISITIONS, LLC        PO BOX 10254                                                                                   UNIONDALE          NY    11555‐0254
TVARDOS, CAROL J                     3923 WINN RD                                                                                   GLENNIE            MI    48737‐9408
TVARDOS, JAMES J                     3923 WINN RD                                                                                   GLENNIE            MI    48737‐9408
TVAROCH, FRANCIS E                   118 ROYAL TROON DR. SE                                                                         WARREN             OH    44484‐4664
TVAROCH, JACQUELYN B                 118 ROYAL TROON DR. SE                                                                         WARREN             OH    44484‐4484
TVAROCH, MICHAEL G                   1608 DIFFORD DR.                                                                               NILES              OH    44446‐2845
TVAROHA, STANLEY W                   39 ADDISON RD                                                                                  HOWELL             NJ    07731‐1353
TVEDT, RENAE                         70523 STATE HIGHWAY 23                                                                         BRUNO              MN    55712‐3400
TVERDALE, JAMES E                    221 4TH ST                                                                                     FENTON             MI    48430‐2774
TVERSA D JONES                       3236 RICHFIELD CT                                                                              FLINT              MI    48506‐2565
TVERSA JONES                         3236 RICHFIELD CT                                                                              FLINT              MI    48506‐2565
TVETEN'S AUTO CLINIC                 5425 LAKEWOOD TOWNE CENTER BLVD                                                                LAKEWOOD           WA    98499‐2311
                                     SW
TVI INC                              19407 PARK ROW STE 155                                                                         HOUSTON             TX   77084‐4600
TVM 7384
TVMC 6377 GRIT 86977                 08 01 2008
TVORIK, GERALD T                     7029 DONELSON TRL                                                                              DAVISON            MI    48423‐2327
TVP INC                              24630 HOPKINS ST                                                                               DEARBORN HEIGHTS   MI    48125‐1619
TVRDIK, CHRISTINE C                  6497 TEAL BND                                                                                  OAK HARBOR         OH    43449‐9062
TVRDIK, JOSEPH G                     6497 TEAL BEND                                                                                 OAK HARBOR         OH    43449‐9062
TW RECREATIONAL SERVICE              GARDINER SERVICE CENTER                                                                        GARDINER           MT    59030
TWADDLE, LAWRENCE E                  5936 ZENOBIA RD                                                                                WAKEMAN            OH    44889
TWAILA HARRIS                        1396 BYNAN LN APT 301                                                                          PONTIAC            MI    48340‐2199
                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                           Part 37 of 40 Pg 638 of 901
Name                     Address1                       Address2                  Address3   Address4         City                  State Zip
TWAITS, ANGELICA N       1172 REDBLUFF DR APT A                                                               WEST CARROLLTON        OH 45449‐3192
TWAL, ROMEL S            36842 ADELE DR                                                                       STERLING HEIGHTS       MI 48312‐3006
TWAMLEY, VIOLET I        163 ANNIE LN                                                                         ROCHESTER              NY 14626‐4375
TWAMLEY, VIOLET I        163 ANNIE LANE                                                                       ROCHESTER              NY 14626
TWAN BUGGS               1846 CORDOVA AVE                                                                     YOUNGSTOWN             OH 44504‐1808
TWANA FARMER             1115 S ELIZABETH ST                                                                  KOKOMO                 IN 46902‐1850
TWANA L TRENT            1081 PATTERSON RD                                                                    DAYTON                 OH 45420‐1563
TWANA R MARTIN           2278 GOLETA AVE                                                                      YOUNGSTOWN             OH 44504‐1353
TWANA REED               8610 N KANSAS AVE APT 301                                                            KANSAS CITY            MO 64156‐2951
TWANA S WRIGHT‐PIERCE    315 GRAND AVE                                                                        DAYTON                 OH 45426‐3304
TWANA SADLER             12698 BARLOW ST                                                                      DETROIT                MI 48205‐3302
TWANA SPENCER            9357 BARRY DR                                                                        ROMULUS                MI 48174‐1572
TWANA YOUNG              PO BOX 213                                                                           FLINT                  MI 48501‐0213
TWANDA D OVERTON         17677 LAKE AZALEA DRIVE                                                              BATON ROUGE            LA 70817
TWANDA HASAN             1809 VALLEY LN                                                                       FLINT                  MI 48503‐4513
TWANDA L HAGINS          1133 LIVINGSTON AVE APT 22C                                                          N BRUNSWICK            NJ 08902‐3818
TWANDA OVERTON           17677 LAKE AZALEA DR                                                                 BATON ROUGE            LA 70817‐9516
TWANIA POPLAR            1917 MARLOWE DR                                                                      FLINT                  MI 48504‐7000
TWANNA COLEMAN           2525 THOMAS ST                                                                       FLINT                  MI 48504‐7723
TWANNA D TOLBERT         8306 E WOODVIEW #B                                                                   SHERWOOD               AR 72120
TWANNESHA L BROWNING     919 RANDOLPH ST                                                                      DAYTON                 OH 45408
TWANZELL WILLIAMS        45291 PENTWATER DR                                                                   MACOMB                 MI 48044‐4252
TWARAGOWSKI, JOSEPH S    211 GLENCOVE RD                                                                      BUFFALO                NY 14223‐1320
TWARAGOWSKI, PAUL J      211 GLENCOVE RD                                                                      BUFFALO                NY 14223‐1320
TWARDIZE, KENNETH D      975 WILDER RD                                                                        BAY CITY               MI 48706‐9478
TWARDIZE, RONALD C       913 WILDER RD                                                                        BAY CITY               MI 48706‐9478
TWARDOKUS, BONITA L      141 BLUE RIDGE AVE                                                                   CHESTER GAP            VA 22623‐2022
TWARDOWSKI, DONALD G     1347 BORDEN RD                                                                       DEPEW                  NY 14043‐4222
TWARDOWSKI, FRED A       3762 SHADE TREE TER                                                                  PORTAGE                MI 49024‐1036
TWARDOWSKI, IOLENE S     188 WARREN AVE                                                                       KENMORE                NY 14217‐2819
TWARDOWSKI, RICHARD      THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES           FL 33146
TWARDUS JR, DANIEL E     PO BOX 66                                                                            CHESWOLD               DE 19936‐0066
TWARDY, STEPHANIE        9 SO 231 ROSEHILL LANE                                                               DOWNERS GROVE           IL 60515
TWARDZICKI, GENEVIEVE    39616 DORIAN DR                                                                      STERLING HEIGHTS       MI 48310‐2311
TWARDZICKI, JAMES P      31492 DOVER ST                                                                       GARDEN CITY            MI 48135‐1744
TWARDZIK, ALLEN L        685 HELEN AVE                                                                        BRUNSWICK              OH 44212‐4732
TWARDZIK, ANDREW F       1218 CAMPBELL ST               C/O RICHARD TWARDZIK                                  SANDUSKY               OH 44870‐3470
TWARDZIK, MILDRED M      2401 BABCOCK RD                                                                      HINCKLEY               OH 44233‐9434
TWAREK, BARBARA A        6040 MARSHALL RD                                                                     DAYTON                 OH 45459‐2201
TWAREK, BRIAN J          2101 EASTOVER LN                                                                     MIAMISBURG             OH 45342‐5299
TWAREK, CLARENCE J       725 LAUREL AVE                                                                       LAKESIDE MARBLEHEAD    OH 43440‐1840
TWAREK, LAWRENCE J       914 W MAIN ST                                                                        MARBLEHEAD             OH 43440‐2139
TWAREK, MICHAEL J        10273 E BAYSHORE RD                                                                  MARBLEHEAD             OH 43440‐2312
TWAROG, CHRISTOPHER J    548 ARDMORE DR                                                                       FERNDALE               MI 48220‐3323
TWAROG, JOHN             PO BOX 66                                                                            GIRARD                 KS 66743‐0066
TWAROZYNSKI, ANTHONY F   10295 W TITTABAWASSEE RD                                                             FREELAND               MI 48623‐9257
TWAROZYNSKI, MICHAEL A   2301 W HURON RD                                                                      STANDISH               MI 48658‐9222
TWAROZYNSKI, WAYNE V     1956 N BRENNAN RD                                                                    HEMLOCK                MI 48626‐9636
TWASKAS, JEANNE          450 GULF OF MEXICO DR 205B     BAY HARBOUR                                           LONGBOAT KEY           FL 34228‐4044
TWAUNTE M KNIGHT         5522 AUTUMN WOODS DR 12                                                              DAYTON                 OH 45426
TWAY, JUDY D.            600 S MILL ST                                                                        ALBANY                 WI 53502‐9515
TWB COMPANY              DAVE MILLS                     1600 NADEAU RD                                        MONROE                 MI 48162‐9317
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                                                      Part 37 of 40 Pg 639 of 901
Name                                Address1                           Address2                        Address3                  Address4                 City               State Zip
TWB COMPANY LLC                     1600 NADEAU RD                                                                                                        MONROE              MI 48162‐9317
TWEDDLE GROUP                       KENNETH POIRIER                    24700 MAPLEHURST DRIVE                                                             DAYTON              OH
TWEDDLE JR, ROBERT E                6818 MARSH RD                                                                                                         COTTRELLVILLE       MI 48039‐2111
TWEDDLE LITHO CC                    24700 MAPLEHURST DR                                                                                                   CLINTON TOWNSHIP    MI 48036‐1336
TWEDDLE LITHO CO                    KENNETH POIRIER                    24700 MAPLEHURST DRIVE                                                             DAYTON              OH
TWEDDLE LITHO CO                    24700 MAPLEHURST DR                                                                                                   CLINTON TOWNSHIP    MI 48036‐1336
TWEDDLE LITHO CO                    NO 1500 CENTURY AVE                                                                          PU DONG SHANGHAI CN
                                                                                                                                 200122 CHINA (PEOPLE'S
                                                                                                                                 REP)
TWEDDLE, DAVID                      590 E BRAEBURN DR                                                                                                     SAGINAW            MI 48638‐5793
TWEED'S INNOVATIVE DESIGNS, STEVE
TWEED
TWEED, EDWARD S                     17052 SLEEPY HOLLOW BLVD                                                                                              HOLLY              MI   48442‐8795
TWEED, MAYME R                      710 COUNTY ROAD 453                                                                                                   CULLMAN            AL   35057‐3124
TWEED, NATHAN L                     3088 GRANDVIEW RD                                                                                                     BEAVER             WV   25813
TWEED, NATHAN L                     8541 OXFORD DR                                                                                                        STRONGSVILLE       OH   44149‐1524
TWEED, PATRICIA                     P O BOX 215                                                                                                           BEAVERTON          MI   48612
TWEED, PATRICIA                     PO BOX 215                                                                                                            BEAVERTON          MI   48612‐0215
TWEED, PATTERSON                    3036 CLESCENT DR                                                                                                      N TONAWANDA        NY   14120‐1487
TWEED, RUMBOUGH C                   1625 HARGROVE RD E APT 801                                                                                            TUSCALOOSA         AL   35405‐1633
TWEED, SIDNEY                       PO BOX 215                                                                                                            BEAVERTON          MI   48612‐0215
TWEED, STEPHEN E                    894 W CABRIOLET                                                                                                       PENDLETON          IN   46064‐8831
TWEEDALE, BECKY                     1201 E NORWICH AVE APT 2                                                                                              SAINT FRANCIS      WI   53235‐4570
TWEEDELL, JAMES W                   1001 HEIDI TRL                                                                                                        BUCKHEAD           GA   30625‐1550
TWEEDIE JR, THOMAS H                100 CALVIN CT S                                                                                                       TONAWANDA          NY   14150‐8804
TWEEDIE, ALLEN R                    3436 LAKEVIEW DR                                                                                                      BEAVERTON          MI   48612‐8892
TWEEDIE, SHANNON                    1395 BONAPART DR                                                                                                      HOLT               MI   48842‐9615
TWEEDLIE, WILLIAM                   7360 DALE                                                                                                             CENTER LINE        MI   48015‐1838
TWEEDY, CHARITA                     2045 PRESCOTT WAY                                                                                                     SPRING HILL        TN   37174‐9285
TWEEDY, CLIFFORD L                  6951 N COUNTY RD 700 W                                                                                                GASTON             IN   47342
TWEEDY, DELORES J                   1462 RUTHERFORD DR                                                                                                    PASADENA           CA   91103
TWEEDY, ERIC V                      PO BOX 753                                                                                                            FLINT              MI   48501‐0753
TWEEDY, FARA M                      8908 W HEMINGWAY ST                                                                                                   YORKTOWN           IN   47396‐1606
TWEEDY, HEARLD D                    4349 FLUCOM RD                                                                                                        DE SOTO            MO   63020‐3502
TWEET, DWAINE J                     411 NORTH 6TH ST. #863                                                                                                EMERY              SD   57332
TWEHUES, JASON L                    1004 BAUMAN AVE                                                                                                       ROYAL OAK          MI   48073‐2072
TWEHUES, JASON L                    533 STONEGATE DR.                                                                                                     SYCAMORE           IL   60178‐8907
TWELVE SEVENTY FIVE LTD             30100 TELEGRAPH RD STE 366                                                                                            BINGHAM FARMS      MI   48025‐5800
TWELVE SEVENTY‐FIVE LTD PRTNRS      30100 TELEGRAPH RD STE 366                                                                                            BINGHAM FARMS      MI   48025‐5800
TWELVE TWELVE SP                    C/O MERRILL LYNCH INTERNATIONAL BANK ATTENTION TAU DEPARTMENT      2 RAFFLES LINK            MARINA BAYFRONT
                                    LIMITED                                                                                      SINGAPORE 039392
TWENTE, ROBERT E                    54 SPRING TRAIL CT                                                                                                    SAINT CHARLES      MO 63303‐6488
TWENTIETH CENTURY FOX STUDIOS                                            10201 W PICO BLVD             TRAILER 778,                                                          CA 90064
                                                                                                       TRANSPORTATION
                                                                                                       DEPARTMENT
TWENTY FIRST CENTURY EXPRESS INC    342 E LARCH AVE                                                                                                       MUSKEGON           MI 49442‐5666
TWENTY FIVE MASSACHUSETTS           AVENVE PROPERTY LLC                C/O REPUBLIC PROPERTIES TRUST   25 MASSACHUSETTS AVE NW                            WASHINGTON         DC 20001

TWENTY FOUR SEVEN BAIL BONDS        ATTN: CHRISTOPHER ROBERTS          PO BOX 876                                                                         MT CLEMENS         MI 48046‐0876
TWENTY LTD                          C/O MERRILL LYNCH INT BANK LTD     ATTN TRUST DEPARTMENT           2 RAFFLES LINK ‐ MARINA   SINGAPORE 039392
                                                                                                       BAYFRONT
TWENTY MADISON ST BLDG ASSOC        1675 WOODMAN DR                                                                                                       DAYTON             OH 45432‐3336
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                     Part 37 of 40 Pg 640 of 901
Name                              Address1                        Address2                      Address3   Address4         City               State Zip
TWENTYMON, DANNY R                1349 HILTON PARMA RD                                                                      HILTON              NY 14468‐9342
TWENTYTH                          340 HAMILTON PARK DR                                                                      ROSWELL             GA 30075‐1400
TWERDAK, ANNA                     2296 CHURCH ST                                                                            RAHWAY              NJ 07065‐3630
TWERDAK, ANNA                     2296 CHURCH STREET                                                                        RAHWAY              NJ 07065‐3630
TWERDAK, JOYCE L                  397 DALTON DR                                                                             ROCHESTER HILLS     MI 48307‐2834
TWI FRICTION STIR WELDING         WELDING INSTITUTE THE           2100 PENNSYLVANIA AVENUE NW                               WASHINGTON          DC 20037

TWIBELL, RICHARD A                213 E KICKAPOO ST                                                                         HARTFORD CITY      IN   47348‐2116
TWICHEL, TODD M                   PO BOX 422                                                                                PETOSKEY           MI   49770‐0422
TWICHELL, LARRY A                 14800 W TOWNSEND RD                                                                       PEWAMO             MI   48873‐9638
TWICHELL, MARY E                  14800 W TOWNSEND RD                                                                       PEWAMO             MI   48873‐9638
TWICHELL, NEIL R                  11786 VFW RD                                                                              EATON RAPIDS       MI   48827‐9708
TWICHELL, THOMAS V                2489 N SMITH RD                                                                           EATON RAPIDS       MI   48827‐9323
TWICHELL, WAYNE L                 3132 COUNTY ROAD 469                                                                      MC MILLAN          MI   49853‐9434
TWICHELL, WAYNE LEE               26117 COUNTY ROAD 98                                                                      MC MILLAN          MI   49853‐9280
TWIDWELL, GALE L                  350 PRUITT RD                                                                             BOWLING GREEN      KY   42101‐9381
TWIEST, ALBERT J                  4047 LEONARD ST NW                                                                        GRAND RAPIDS       MI   49534‐2117
TWIEST, ALBERT J                  4047 LEONARD NW                                                                           GRAND RAPIDS       MI   49544‐2117
TWIEST, KIMBERLY                  4820 BARTONVILLE RD                                                                       BELDING            MI   48809
TWIEST, WILMA J                   4047 LEONARD ST NW                                                                        GRAND RAPIDS       MI   49534‐2117
TWIETMEYER, HAROLD E              5675 CRABTREE RD                                                                          BLOOMFIELD HILLS   MI   48301‐1206
TWIGG MOTOR COMPANY, INC.         STEPHEN CHEWNING                330 MAIN ST                                               MATHEWS            VA   23109
TWIGG WILLIAM F (439577)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                  STREET, SUITE 600
TWIGG, BEVERLY L                  84 HOLLY ST                                                                               JESUP              GA   31545‐7623
TWIGG, JAMES A                    282 HORIZON RD                                                                            WHITE LAKE         MI   48386‐2434
TWIGG, JAMES L                    6107 S LINCOLN BLVD                                                                       MARION             IN   46953‐6215
TWIGG, KENNETH P                  944 MEADOWLARK DR                                                                         WATERFORD          MI   48327‐2950
TWIGG, LINDA S                    5917 W 74TH PL                                                                            ARVADA             CO   80003‐2959
TWIGG, LLOYD E                    10261 ROAD 785                                                                            PHILADELPHIA       MS   39350
TWIGG, LLOYD E                    PO BOX 552                                                                                CARTHAGE           MS   39051‐0552
TWIGG, MARGARET                   8758 EMBASSY DR                                                                           STERLING HTS       MI   48313‐3225
TWIGG, RICHARD W                  426 CHARTLEY CT S                                                                         SARASOTA           FL   34232‐1669
TWIGG, WILLIAM F                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
TWIGG‐COLLINS, KAY A              PO BOX 127                                                                                SOMERSET           IN   46984‐0127
TWIGGER, DIANE L                  5505 RIDGEVIEW BLVD                                                                       NORTH RIDGEVILLE   OH   44039‐4618
TWIGGER, ROBERT E                 5505 RIDGEVIEW BLVD                                                                       NORTH RIDGEVILLE   OH   44039‐4618
TWIGGS, DERIC C                   7434 RUTLAND ST                                                                           DETROIT            MI   48228‐3545
TWIGGS, WILLIAM C                 PO BOX 1395                                                                               CLENDENIN          WV   25045‐1395
TWILA BREWSTER                    3418 WEATHERED ROCK CIR                                                                   KOKOMO             IN   46902‐6063
TWILA BRITTON                     1153 PAT ST                                                                               SULLIVAN           MO   63080‐1099
TWILA CANIPE                      410 SNEAD DR                                                                              LADY LAKE          FL   32159‐3259
TWILA CLARK                       3206 WOODRIDGE DR                                                                         THE VILLAGES       FL   32162‐7500
TWILA D MOORE                     2253 W LAKE RD                                                                            CLIO               MI   48420‐8838
TWILA DANIELS                     3924 AZALEA COURT                                                                         CLARKSTON          MI   48348‐1406
TWILA HARTFORD PERSONAL REP FOR   C/O BRAYTON PURCELL             222 RUSH LANDING RD                                       NOVATO             CA   94948‐6169
NOEL V HARTFORD
TWILA HERZOG                      3781 LAKE AVE APT C3                                                                      ROCHESTER          NY 14612‐5177
TWILA JOHNSON                     5107 WINSFORD BY WAY                                                                      FLINT              MI 48506‐1374
TWILA M CUMMINGS                  C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                 HOUSTON            TX 77007
                                  BOUNDAS LLP
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                        Part 37 of 40 Pg 641 of 901
Name                                  Address1                            Address2                        Address3   Address4         City                  State Zip
TWILA MCNUTT                          1729 W FALL DR                                                                                  MARION                 IN 46952
TWILA MOORE                           2253 W LAKE RD                                                                                  CLIO                   MI 48420‐8838
TWILA ROBINSON                        6821 SELKIRK DR                                                                                 FORT WAYNE             IN 46816‐4152
TWILA WINGO                           29413 MEMORIAL RD                                                                               MCLOUD                 OK 74851‐9109
TWILLA DUTY                           26 MALAGA CIR                                                                                   HOT SPRINGS VILLAGE    AR 71909‐2641
TWILLA FARMER                         3525 GREEN ACRE WAY                                                                             SEBRING                FL 33870‐3957
TWILLA FULLER                         502 PINE TRL                                                                                    HONEOYE FALLS          NY 14472‐1154
TWILLA SIMMONS                        13526 CRANWOOD PARK BLVD                                                                        GARFIELD HEIGHTS       OH 44125‐1823
TWILLEY, BETTY S                      12 GROVE LN                                                                                     HAMPTON                GA 30228‐2405
TWILLEY, BETTY S                      12 GROVE LANE                                                                                   HAMPTON                GA 30228
TWILLEY, BETTY SUE                    26 REDBUD DRIVE                                                                                 BATESVILLE             AR 72501
TWILLEY, BETTY SUE                    26 RED BUD DR                                                                                   BATESVILLE             AR 72501‐8049
TWILLEY, BOBELLA                      1015 N LELAND AVE                                                                               MUNCIE                 IN 47303‐3338
TWILLEY, BOBELLA                      1015 LELAND AVE                                                                                 MUNCIE                 IN 47303‐3338
TWILLEY, CHARLES R                    1001 DOGWOOD POINT DR                                                                           CLIMAX SPRINGS         MO 65324‐2425
TWILLEY, JASON A                      12 GROVE LANE                                                                                   HAMPTON                GA 30228‐2405
TWILLEY, JOE D                        24567 MARTHA WASHINGTON DR                                                                      SOUTHFIELD             MI 48075‐2557
TWILLEY, MARGARET A                   631 NORTHEAST 7TH AVENUE                                                                        TRENTON                FL 32693‐3669
TWILLEY, RICKIE E                     11495 SPYGLASS RIDGE DR                                                                         FISHERS                IN 46037‐9477
TWILLEY, RICKIE EDWARD                11495 SPYGLASS RIDGE DR                                                                         FISHERS                IN 46037‐9477
TWILLEY, RITA J                       8422 LA SALLE BLVD                                                                              DETROIT                MI 48206‐2446
TWILLEY, RONALD L                     APT 394                             1450 NORTH STATE HIGHWAY 360                                GRAND PRAIRIE          TX 75050‐4116
TWILLEY, RONALD LEE                   APT 394                             1450 NORTH STATE HIGHWAY 360                                GRAND PRAIRIE          TX 75050‐4116
TWILLIE DAVID (491345)                BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD             OH 44067
                                                                          PROFESSIONAL BLDG
TWILLING, MARJORIE W                  IN C/O MILLERS MERRY MANOR          300 FAIRGROUNDS RD                                          TIPTON                IN    46072
TWILLING, MARJORIE W                  300 FAIRGROUNDS RD                  IN C/O MILLERS MERRY MANOR                                  TIPTON                IN    46072‐8458
TWIN BORO PHYSICAL THERAPY            ATTN: SUSAN HENNINGER               1445 RARITAN RD                                             CLARK                 NJ    07066‐1230
TWIN CITIES MARATHON INC              4050 OLSON MEMORIAL HIGHWAY STE 26                                                              MINNEAPOLIS           MN    55422
                                      2
TWIN CITIES SERVICES INC              7180 COPPERQUEEN DR                                                                             EL PASO               TX    79915‐1225
TWIN CITY CATERING INC                DBA NORTHWINDS AVIATION FOOD       2117 W RIVER RD STE 100                                      MINNEAPOLIS           MN    55411‐2262
TWIN CITY CO‐OP CREDIT UNION          2680 ARTHUR ST                                                                                  ROSEVILLE             MN    55113‐1339
TWIN CITY FAN AND BLOWER CO           5959 TRENTON LN N                  NW 5563                                                      MINNEAPOLIS           MN    55442‐3237
TWIN CITY FAN COMPANIES LTD           5959 TRENTON LN N                                                                               MINNEAPOLIS           MN    55442‐3237
TWIN CITY MOTOR COMPANY,              645 W COLUMBIA AVE                                                                              BATESBURG             SC    29006‐1810
INCORPORAT
TWIN CITY MOTOR COMPANY,              ROBERT TAYLOR                       645 W COLUMBIA AVE                                          BATESBURG              SC   29006‐1810
INCORPORATED
TWIN CITY MOTOR COMPANY,              645 W COLUMBIA AVE                                                                              BATESBURG              SC   29006‐1810
INCORPORATED
TWIN CITY MOTORS, INC.                3046 ALCOA HWY                                                                                  ALCOA                 TN    37701‐3187
TWIN CITY MOTORS, INC.                JERRY HODGE                         3046 ALCOA HWY                                              ALCOA                 TN    37701‐3187
TWIN CITY PONTIAC, BUICK, GMC         KENNETH RUDDY                       10549 MEMORIAL BLVD                                         PORT ARTHUR           TX    77640‐1586
TWIN CITY PONTIAC, BUICK, GMC         10549 MEMORIAL BLVD                                                                             PORT ARTHUR           TX    77640‐1586
TWIN CITY PONTIAC, BUICK, GMC, INC.   KENNETH RUDDY                       10549 MEMORIAL BLVD                                         PORT ARTHUR           TX    77640‐1586
TWIN CITY PONTIAC, BUICK, GMC, INC.   ATT: KENNETH RUDDY                  10549 HWY 69                                                PORT ARTHUR           TX    77640
TWIN CITY TIRE                        12479 PLAZA DR                                                                                  EDEN PRAIRIE          MN    55344‐3647
TWIN CORP                             10456 N HOLLY RD                                                                                HOLLY                 MI    48442‐9319
TWIN CORP                             ED MANTZX104                        PO BOX 130                                                  SANTA FE SPRINGS      CA    90670
TWIN CORPORATION                      ED MANTZX104                        PO BOX 130                                                  SANTA FE SPRINGS      CA    90670
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                          Part 37 of 40 Pg 642 of 901
Name                                  Address1                            Address2                        Address3   Address4         City               State Zip
TWIN CREEK FARM                       COZEN & O'CONNOR, SCHRENK MICHAEL   1201 3RD AVE STE 5200                                       SEATTLE             WA 98101‐3041
                                      L., ESQ
TWIN FALLS COUNTY TREASURER           PO BOX 88                                                                                       TWIN FALLS         ID   83303‐0088
TWIN LINE CARRIERS INC                PO BOX 67                                                                                       BRIGHTON           CO   80601‐0067
TWIN MODAL INC                        1300 GODWARD ST STE 2200                                                                        MINNEAPOLIS        MN   55413
TWIN SIDE, INC.                       GREGG GRIESEL                       N14111 FLAMBEAU AVE                                         FIFIELD            WI   54524‐9775
TWIN SPANS BUSINESS PARK LLC          C/O HARVEY DEVELOPMENT COMPANY      29 E COMMONS BLVD STE 100                                   NEW CASTLE         DE   19720‐1736

TWIN STATE SIGNS INC                  14 GAUTHIER DR                                                                                  ESSEX JUNCTION     VT   05452‐2825
TWIN TOWERS ASSOC LP OF ALBANY        280 TRUMBULL                                                                                    HARTFORD           CT   06103
TWIN TOWERS SERVICE STATION           1290 ANDERSON AVE                                                                               FORT LEE           NJ   07024‐1759
TWINCO                                145 ELLICOTT RD                                                                                 WEST FALLS         NY   14170‐9726
TWINE FORGETTE                        5483 MCNAMARA LN                                                                                FLINT              MI   48506‐2280
TWINE ROXYE (491346)                  BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                          PROFESSIONAL BLDG
TWINE, ERNEST R                       1026 PANGBURN ST                                                                                GRAND PRAIRIE      TX   75051‐2620
TWINE, HARRIS L                       7005 LAKE MEAD BLVD                                                                             ARLINGTON          TX   76016‐4133
TWINE, HELENA                         4901 MARTIN LUTHER KING AVE                                                                     FLINT              MI   48505‐3334
TWINE, HELENA                         4901 M L KING AVE                                                                               FLINT              MI   48505‐3334
TWINE, KATE                           C/O EVELYN JEAN JONES               4404 WILHELM STREET                                         FORT WORTH         TX   76119
TWINE, KATE                           4404 WILHELM ST                     C/O EVELYN JEAN JONES                                       FORT WORTH         TX   76119‐3878
TWINE, WANDA L                        7005 LAKE MEAD BLVD                                                                             ARLINGTON          TX   76016‐4133
TWINE, WANDA LADANE                   7005 LAKE MEAD BLVD                                                                             ARLINGTON          TX   76016‐4133
TWINE, YOLANDA M                      5008 SANDALWOOD LN                                                                              ARLINGTON          TX   76017‐6046
TWINEM, JUNE                          16 MAHONING CT UNIT A                                                                           NEWTON FALLS       OH   44444‐1976
TWINEM, JUNE                          16A MAHONING CT                                                                                 NEWTON FALLS       OH   44444‐1976
TWINEM, KENNETH E                     956 DARK SHADOW CT C                                                                            WESTERVILLE        OH   43081
TWINEM, VIRGINIA R                    1500 MCKINLEY AVE                                                                               NILES              OH   44446
TWINEM, VIRGINIA R                    692 NILES VIENNA ROAD                                                                           VIENNA             OH   44473‐9519
TWINER, ANN                           SHANNON LAW FIRM                    100 W GALLATIN ST                                           HAZLEHURST         MS   39083‐3007
TWINER, JACOB H                       SHANNON LAW FIRM                    100 W GALLATIN ST                                           HAZLEHURST         MS   39083‐3007
TWINER, KATHERINE                     SHANNON LAW FIRM                    100 W GALLATIN ST                                           HAZLEHURST         MS   39083‐3007
TWINER, ROBERT D                      SHANNON LAW FIRM                    100 W GALLATIN ST                                           HAZLEHURST         MS   39083‐3007
TWINING, DALE L                       4334 N ARBOR SHORE TRL                                                                          HERNANDO           FL   34442‐5514
TWINS 56 CO                           2022 ADAMS ST                                                                                   TOLEDO             OH   43604‐4432
TWINSBURG AUTO SERVICE CENTER, INC.   9315 DARROW RD                                                                                  TWINSBURG          OH   44087‐1825

TWISDOM, ROBERT R                     8211 KARAM BLVD UNIT 2                                                                          WARREN             MI 48093‐2122
TWISS ALTIM (491347)                  BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                          PROFESSIONAL BLDG
TWIST INC                             47 S LIMESTONE ST                   PO BOX 177                                                  JAMESTOWN          OH   45335‐9501
TWIST INC                             JAY JERVIS                          47 S LIMESTONE ST                                           JAMESTOWN          OH   45335‐9501
TWIST INC                             JAY JERVIS                          47 S. LIMESTONE STREET                                      RUSHVILLE          IN   46173
TWIST, INC.                           JAY JERVIS                          47 S LIMESTONE ST                                           JAMESTOWN          OH   45335‐9501
TWIST, INC.                           JAY JERVIS                          47 S. LIMESTONE STREET                                      RUSHVILLE          IN   46173
TWIST, JAMES F                        4239 WILLIAMS RD                                                                                RANSOMVILLE        NY   14131‐9751
TWIST, THOMAS H                       359 ROSEDALE BLVD                                                                               AMHERST            NY   14226‐2239
TWITCHELL, GALE E                     8653 W HERBISON RD                                                                              EAGLE              MI   48822‐9524
TWITCHELL, JAMES L                    38616 N 22ND DRT.                                                                               PHOENIX            AZ   85086
TWITCHELL, JOSEPH H                   836 KNIGHTS CT                                                                                  LIVINGSTON         CA   95334‐9347
TWITCHELL, JUSTIN L                   13744 BRUNSWICK DR                                                                              STERLING HEIGHTS   MI   48312‐3302
TWITCHELL, JUSTIN L.                  13744 BRUNSWICK DR                                                                              STERLING HEIGHTS   MI   48312‐3302
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                       Part 37 of 40 Pg 643 of 901
Name                                 Address1                           Address2                       Address3                     Address4         City                State Zip
TWITCHELL, MARY L                    8655 W HERBISON RD                                                                                              EAGLE                MI 48822‐9524
TWITCHELL, ROGER D                   1019 ARLINGTON DR                                                                                               LANSING              MI 48917‐4800
TWITCHELL, THOMAS L                  613 GREENVILLE RD                                                                                               BRISTOLVILLE         OH 44402‐4402
TWITCHELL, W D                       4500 DEVONSHIRE AVE                                                                                             LANSING              MI 48910‐7611
TWITE, DONALD M                      341 E SOUTH ST                                                                                                  DAVISON              MI 48423‐3005
TWITE, OLE J                         1739 CONWAY ST                                                                                                  MILPITAS             CA 95035‐2806
TWITE, SANDRA K                      341 E SOUTH ST                                                                                                  DAVISON              MI 48423‐3005
TWITE, SANDRA KAY‐PANCHULA           341 E SOUTH ST                                                                                                  DAVISON              MI 48423‐3005
TWITTY JR, RICHARD                   4619 HATZ ST                                                                                                    SAINT LOUIS          MO 63121‐3018
TWITTY, ALONZO C                     1437 STEINER AVE                                                                                                DAYTON               OH 45408‐1813
TWITTY, CHARLES F                    1922 LYNBROOK DR                                                                                                FLINT                MI 48507‐6036
TWITTY, CURTIS E                     500 BOWIE DR APT #120                                                                                           DAYTON               OH 45408‐5408
TWITTY, CURTIS E                     APT 120                            500 BOWIE DRIVE                                                              DAYTON               OH 45408‐1165
TWITTY, EBONE D                      2075 ARLENE AVE                                                                                                 DAYTON               OH 45406‐2421
TWITTY, ELLA M                       1850 BARKS ST                                                                                                   FLINT                MI 48503‐4302
TWITTY, ELLA M                       1850 BARKS                                                                                                      FLINT                MI 48503‐4302
TWITTY, FERMAN T                     PO BOX 6532                                                                                                     KOKOMO               IN 46904‐6532
TWITTY, JOHN S                       2710 MOLLYS CT                                                                                                  SPRING HILL          TN 37174‐7126
TWITTY, KATHERINE S                  24 HILLGARD ST                                                                                                  DAYTON               OH 45426‐3051
TWITTY, LORETTA F                    4140 NORTH WALROND AVE. APT.#7                                                                                  KANSAS CITY          MO 64117
TWITTY, LORETTA F                    4140 N WALROND AVE APT 7                                                                                        KANSAS CITY          MO 64117‐1669
TWITTY, RITA A                       1229 E TAYLOR ST                                                                                                KOKOMO               IN 46901‐4910
TWITTY, SHARON                       230 MAY ST                                                                                                      BUFFALO              NY 14211‐2449
TWITTY, THOMAS                       76 MOSS LN                                                                                                      BLUE RIDGE           GA 30513‐4855
TWNA                                 4429 BACK CREEK CHURCH RD                                                                                       CHARLOTTE            NC 28213‐5251
TWO BROTHERS AUTOMOTIVE              8293 SAN FERNANDO RD                                                                                            SUN VALLEY           CA 91352‐3221
TWO GALS TRUCKING INC                RTE 415                                                                                                         AVOCA                NY 14809
TWO GREENSPOINT LTD PARTNERSHIP      PO BOX 72478                       024 LBN 8024                                                                 PHILADELPHIA         PA 19170‐0001
TWO HUMP TAXI INC                    HERRICK FEINSTEIN LLP              2 PARK AVENUE                                                                NEW YORK             NY 10016
TWO HUMP TAXI LLC (SEE ATTACHMENT A) CHARLES E DORKEY III ESQ ET AL     MCKENNA LONG & ALDRIDGE, LLP   230 PARK AVENUE SUITE 1700                    NEW YORK             NY 10169

TWO M COMPANY                       RAYMOND MONTGOMERY                  5325 PRESTON HWY                                                             LOUISVILLE          KY   40213‐2772
TWO SISTERS BEAUTY SALON            ATTN: SANDY MERRICK                 829 E MOLLOY RD # 1                                                          SYRACUSE            NY   13211‐1300
TWO‐THIRDS MOTORS, INC.             JOSEPH WALIER                       195 WINCHESTER ST                                                            KEENE               NH   03431‐4636
TWOHIG MICHAEL                      DBA CORK FIRE PROTECTION            279 EAST CENTRAL ST #118                                                     FRANKLIN            MA   02038
TWOHILL, MICHAEL W                  547 KEEPATAW DR                                                                                                  LEMONT              IL   60439‐4357
TWOHY, M A                          2820 FILBERT ST                                                                                                  SAN FRANCISCO       CA   94123‐3220
TWOMBLEY, DELORES K                 3501 NORTHDALE RD                                                                                                LANSING             MI   48906‐3022
TWOMBLEY, GERALD W                  6317 GOSSARD AVE                                                                                                 EAST LANSING        MI   48823‐1536
TWOMBLEY, LARRY W                   3501 NORTHDALE RD                                                                                                LANSING             MI   48906‐3022
TWOMEY BONNIE                       26 BEACON ST APT 68D                                                                                             BURLINGTON          MA   01803‐3808
TWOMEY JAMES T (480793)             ANGELOS PETER G                     100 N CHARLES STREET , ONE                                                   BALTIMORE           MD   21201
                                                                        CHARLES CENTER
TWOMEY, ALMA J.                     9661 PADDOCK RD                                                                                                  CAMBY               IN   46113
TWOMEY, ELAINE M                    750 NE SPANISH RIVER BLVD APT 103                                                                                BOCA RATON          FL   33431‐6158
TWOMEY, JAMES P                     3012 BREAKWATER DR APT A                                                                                         INDIANAPOLIS        IN   46214‐1744
TWOMEY, JAMES PAUL                  3012 BREAKWATER DR APT A                                                                                         INDIANAPOLIS        IN   46214‐1744
TWOMEY, JAMES T                     ANGELOS PETER G                     100 N CHARLES STREET, ONE                                                    BALTIMORE           MD   21201‐3812
                                                                        CHARLES CENTER
TWOMEY, JOHN J                      1037 GLENWOOD CIR                                                                                                ONEIDA              NY 13421‐7123
TWOMEY, JOHN P                      2103 RED MAPLE LN                                                                                                COMMERCE TOWNSHIP   MI 48390‐3295
TWOMEY, JUANA M                     6275 STOW CANYON RD                                                                                              GOLETA              CA 93117‐1617
                         09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                            Part 37 of 40 Pg 644 of 901
Name                     Address1                        Address2                  Address3            Address4                 City               State Zip
TWOMEY, KEVIN J          40 MANOR AVENUE                                                                                        CRANFORD            NJ 07016‐2330
TWOMEY, MARIA            4015 HARTLAND RD                                                                                       GASPORT             NY 14067‐9390
TWOMEY, MATTHEW          2632 KOPSON CT                                                                                         BLOOMFIELD          MI 48304‐1748
TWOMEY, WARREN           156 68TH STREET                                                                                        NIAGARA FALLS       NY 14304‐3914
TWOMLEY, DANIEL F        4694 LAMBETH WAY                                                                                       HOLT                MI 48842‐1559
TWOMLEY, DEBBIE L        4694 LAMBETH WAY                                                                                       HOLT                MI 48842‐1559
TWOREK, EDWARD A         23 CONNELLY AVENUE                                                                                     BUDD LAKE           NJ 07828‐2526
TWOREK, HILDA M          7623 S 41ST AVE                                                                                        BELLEVUE            NE 68147‐1728
TWOREK, JOE              4888 LAKEVIEW DR                                                                                       INTERLOCHEN         MI 49643‐9595
TWOREK, MARTHA           16894 KINGSBROOKE DR            C/O DIANE TWOREK                                                       CLINTON TOWNSHIP    MI 48038‐3714
TWOREK, MICHAEL J        1835 CHASE LAKE RD                                                                                     HOWELL              MI 48855‐9358
TWOREK, STANLEY J        PO BOX 669151                                                                                          MARIETTA            GA 30066‐0103
TWOREK, SYLVIA           11302 LEVERNE                                                                                          REDFORD             MI 48239‐2272
TWOREK, SYLVIA           11302 LAVERNE                                                                                          REDFORD TWP.        MI 48239‐2272
TWORK, CAROLE L          29825 ROY ST                                                                                           ROSEVILLE           MI 48066‐1906
TWORK, EDWARD A          2424 MELBY ST                                                                                          CASNOVIA            MI 49318
TWORK, MARTIN H          6674 SEVERANCE RD                                                                                      CASS CITY           MI 48726‐9367
TWORK, MICHAEL J         10994 HILLWAY ST                                                                                       WHITE LAKE          MI 48386‐3751
TWORK, NICHOLAS A        621 MACWILLIAMS LN                                                                                     ROYAL OAK           MI 48067‐4533
TWOSON/MATTHEWS          718 MASSACHUSETTS AVE                                                                                  MATTHEWS            IN 46957
TWR GROUP LIMITED        LEAFIELD TECHNICAL CENTER       WITNEY OXFORDSHIRE                            GB U.K. 0X8 5PF GREAT
                                                                                                       BRITAIN
TWR GROUP LTD            ENGINES DIVISION                UNIT 1 STATION FIELD      INDUSTRIAL ESTATE   OXFORD ENGLAND 0X5 IJD
                                                                                   KIDLINGTON          GREAT BRITAIN
TWR GROUP LTD            LEAFIELD TECHNICAL CENTER       WITNEY OXFORDSHIRE                            GB U.K. 0X8 5PF GREAT
                                                                                                       BRITAIN
TWS RUBIN FERGUSON INC   1010 HUNTCLIFF STE 1350                                                                                ATLANTA            GA   30350‐1809
TWU, SUNG‐LING           1717 LEXINGTON DR                                                                                      TROY               MI   48084‐5711
TWYFORD, CHARLES S       8772 STATE ROUTE 46                                                                                    N BLOOMFIELD       OH   44450‐9742
TWYLA BUTZIN             1704 S COURTLAND AVE                                                                                   KOKOMO             IN   46902‐2054
TWYLA D HALL             4325 SHELLER AVE                                                                                       DAYTON             OH   45432‐1538
TWYLA ELENBAAS           3243 PICCADILLY CIR SE                                                                                 GRAND RAPIDS       MI   49512‐2707
TWYLA GERARD             568 LAYMAN CREEK CIR                                                                                   GRAND BLANC        MI   48439‐1394
TWYLA M BUTZIN‐CALHOUN   902 S LOCKE ST                                                                                         KOKOMO             IN   46901‐5564
TWYLA M DAY              4902 M L KING AVE                                                                                      FLINT              MI   48505‐3336
TWYLA RYAN               1414 LISBON LN                                                                                         SEBRING            FL   33870‐1317
TWYLA SPENCER            PO BOX 63                                                                                              BARTON CITY        MI   48705‐0063
TWYLA STOCKMAN‐HOPKINS   326 E MARENGO AVE                                                                                      FLINT              MI   48505‐3366
TWYLAH HAIL              1680 PIPER LN APT 102                                                                                  CENTERVILLE        OH   45440‐5063
TWYLEAH MITCHAM          2180 GRANGER RD                                                                                        OXFORD             MI   48371‐3122
TWYLLA L PAGE            1440 WESTERRACE DR                                                                                     FLINT              MI   48532‐2438
TWYLLA PAGE              1440 WESTERRACE DR                                                                                     FLINT              MI   48532‐2438
TWYMAN HOWARD            TWYMAN, HOWARD                  118 KLONDIKE RD                                                        NIANGUA            MO   65713‐8446
TWYMAN JAMES             3414 W 62ND PL                                                                                         INDIANAPOLIS       IN   46228‐1019
TWYMAN, ALBERT           577 W 4TH ST                                                                                           MANSFIELD          OH   44903‐1431
TWYMAN, BRENDA J         5835 SHADY COVE LN                                                                                     TROTWOOD           OH   45426‐2117
TWYMAN, HOWARD           118 KLONDIKE RD                                                                                        NIANGUA            MO   65713‐8446
TWYMAN, ROLAND K         5425 PATRICIA ST                                                                                       INDIANAPOLIS       IN   46224‐3167
TWYMAN, THOMAS           DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                                NEW YORK           NY   10022‐5456
TWYMON GRADY             115 LAKEVIEW LN                                                                                        STOCKBRIDGE        GA   30281‐1442
TWYMON JR, CHARLIE D     24424 N CAROLINA ST                                                                                    SOUTHFIELD         MI   48075‐2527
TWYMON, CHARLIE D        12101 SAINT AUBIN ST                                                                                   HAMTRAMCK          MI   48212‐4200
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                           Part 37 of 40 Pg 645 of 901
Name                                  Address1                           Address2                          Address3   Address4              City               State Zip
TWYMON, LAMAR CURTIS                  7369 GRANDVILLE AVE                                                                                   DETROIT             MI 48228‐4506
TWYMON, WILLIAM E                     27400 E SKYE DR                                                                                       FARMINGTON HILLS    MI 48334‐5333
TWYNETTE BEAMAN                       WOODLANDS SENIOR VILLAGE 3979                                                                         NORTH TONAWANDA     NY 14120
                                      FOREST PARKWAY
TWYNETTE BEAMAN                       3979 FOREST PARK WAY APT 166                                                                          N TONAWANDA        NY    14120‐3747
TX CHILD SUPPORT SDU                  PO BOX 659791                                                                                         SAN ANTONIO        TX    78265‐9791
TX HEALTH ARLINGTON                   PO BOX 910818                                                                                         DALLAS             TX    75391‐0818
TX TEAM THERAPEUTIC                   4625 E STOP 11 RD STE B                                                                               INDIANAPOLIS       IN    46237‐9101
TXDOT                                                                    2501 SOUTH LOOP 820                                                                   TX    76115
TXN LOGISTICS ‐ HOUSTON / CORPORATE   409 1/2 PEART ST                                                                                      HOUSTON            TX    77020

TXU (ONCOR ELECTRIC DELIVERY)         PO BOX 660161                                                                                         DALLAS              TX   75266‐0161
TXU (ONCOR ELECTRIC DELIVERY)         PO BOX 660161                                                                                         DALLAS              TX   75266‐0161
TXU ELECTRIC DELIVERY CO              2005 S COCKRELL HILL RD                                                                               DALLAS              TX   75211‐8405
TXU ENERGY                            PO BOX 660161                                                                                         DALLAS              TX   75266‐0161
TXU ENERGY (ARLINGTON) CITIBANK       TXU ENERGY                         ENERGY PLAZA, 1601 BRYAN STREET                                    DALLAS              TX   75201

TXU ENERGY RETAIL COMPANY LLC         CO BANKRUPTCY DEPARTMENT           PO BOX 650393                                                      DALLAS             TX    75265
TY BIRKHOLZ                           4705 33RD ST S                                                                                        LA CROSSE          WI    54601‐8396
TY BOLLINGER                          13319 VERNON AVENUE                                                                                   HUNTINGTN WDS      MI    48070‐1453
TY CALDWELL                           8181 E BRISTOL RD                                                                                     DAVISON            MI    48423‐8716
TY E BRADLEY                          3315 JASPER RD.                                                                                       XENIA              OH    45385
TY MEHAFFEY                           1101 HENSON DR                                                                                        HURST              TX    76053‐6315
TY MILLS                              1837 JOHN GLENN RD                                                                                    DAYTON             OH    45420‐2412
TY R MILLS                            1837 JOHN GLENN RD.                                                                                   DAYTON             OH    45420
TY SHAW                               1011 FLEETWOOD COVE DR                                                                                GRAND PRAIRIE      TX    75052‐2726
TY TURNER                             1650 DEEPWOOD CIR                                                                                     ROCHESTER          MI    48307‐6097
TY VOIGT                              40882 FIRESTEEL DR                                                                                    STERLING HTS       MI    48313‐4222
TY WAGGONER                           6221 LAKE FOREST DR                                                                                   GRAND BLANC        MI    48439‐9713
TY‐JUAN COOLEY                        4412 NE 48TH TER                                                                                      KANSAS CITY        MO    64119‐3509
TYACK, CARL S                         3100 MCLAIN RD                                                                                        CLYDE              MI    48049‐4208
TYACK, DANIEL E                       2700 SHIMMONS RD LOT 80                                                                               AUBURN HILLS       MI    48326‐2005
TYACK, EUGENE W                       1220 BEACHLAND BLVD                                                                                   WATERFORD          MI    48328‐4727
TYAGI, ASHOK                          2279 N LOVINGTON DR                                                                                   TROY               MI    48083‐5806
TYAN MURPHY                           517 CAMBREY ST                                                                                        SAGINAW            MI    48601‐3327
TYAQI ASHOK                           2209 S LOVINGTON DR APT 202                                                                           TROY               MI    48083
TYBEE JET CORPORATION                 644 LOGWOOD BRIAR CIR                                                                                 BRENTWOOD          TN    37027‐8286
TYBER, ROBERT F                       1 OLD SOUND RD                                                                                        JOPPA              MD    21085‐4524
TYBINKA, EDWARD H                     6669 POPLAR RD                                                                                        WHITMORE LAKE      MI    48189‐9718
TYBINKA, JOSEPHINE D                  41130 FOX RUN RD. 506                                                                                 NOVI               MI    48377
TYBOR, CHRISTOPHER A                  23305 WICK RD                                                                                         TAYLOR             MI    48180‐3586
TYBOR, CHRISTOPHER ALLEN              23305 WICK RD                                                                                         TAYLOR             MI    48180‐3586
TYBOR, JOSEPH A                       123 BRITTANY DR                                                                                       GRAY               TN    37615‐4848
TYC BROTHER INDUSTRIAL CO LTD         72‐2 HSIN LE RD AN PING IND PARK                                                TAINAN CITY 70248
                                                                                                                      TAIWAN
TYCE, RUDOLPH J                       PO BOX 181                                                                                            PINCONNING         MI 48650‐0181
TYCH, KIMBERLY A                      5102 LEMOYNE AVE                                                                                      YOUNGSTOWN         OH 44514‐1217
TYCHA DONATHAN
TYCHICUS EDWARDS                      12799 SUNNYMEADOWS DR                                                                                 MORENO VALLEY      CA    92553‐5952
TYCHONIEVICH, KATHLEEN                4082 DEVON DR SE                                                                                      WARREN             OH    44484‐2601
TYCKOSKI, JEAN A                      209 GEORGE ST                                                                                         FLUSHING           MI    48433‐1645
TYCKOSKI, LINDA A                     330 BROOK DR                                                                                          ROMEO              MI    48065‐5017
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                         Part 37 of 40 Pg 646 of 901
Name                                Address1                              Address2                      Address3               Address4                City               State Zip
TYCKOSKI, PAUL J                    330 BROOK DR                                                                                                       ROMEO               MI 48065‐5017
TYCO ELCTRONICS                     900 WILSHIRE DR STE 150                                                                                            TROY                MI 48084‐1600
TYCO ELEC/2901 FULLI                2901 FULLING MILL RD                                                                                               MIDDLETOWN          PA 17057‐3170
TYCO ELEC/MIDDLETOWN                900 WILSHIRE DR STE 150               ATTN: PAUL TAKACH                                                            TROY                MI 48084‐1600
TYCO ELECTRONICS                    2901 FULLING MILL RD‐MS 140‐43                                                                                     MIDDLETOWN          PA 17057
TYCO ELECTRONICS                    PO BOX 3608                                                                                                        HARRISBURG          PA 17105‐3608
TYCO ELECTRONICS                    2801 FULLING MILL ROAD                                                                                             HARRISBURG          PA 17105
TYCO ELECTRONICS                    900 WILSHIRE DR STE 150                                                                                            TROY                MI 48084‐1600
TYCO ELECTRONICS AMP KOREA          1191 SHINSANG‐RI JINRYANG‐EUB         KYUNGSAN‐SI KYNUGSANGBUK‐DO                          712‐838 KOREA SOUTH
                                                                                                                               KOREA
TYCO ELECTRONICS AMP KOREA CO LTD   1191 SHINSANG‐RI JINRYANG EUB                                                              KYUNGSAN‐SHI KYONGBUK
                                                                                                                               712 838 KOREA (REP)
TYCO ELECTRONICS CANADA LTD         20 ESNA PARK DR                                                                            MARKHAM ON L3R 1E1
                                                                                                                               CANADA
TYCO ELECTRONICS COMPONENTES ELECTR ZONA INDUSTRIAL ESTRADA DE ALMEIRIM                                                        EVORA PT 7002‐552
                                                                                                                               PORTUGAL
TYCO ELECTRONICS CORP               TIM COATES                            1321 JOE BATTLE BLVD                                                         DYERSBURG          TN
TYCO ELECTRONICS CORP               PAUL TAKACH                           8000 PIEDMONT TRIAD PARKWAY                                                  HARTLAND           MI   48353
TYCO ELECTRONICS CORP               PO BOX 3608                                                                                                        HARRISBURG         PA   17105‐3608
TYCO ELECTRONICS CORP               3800 REIDSVILLE RD                                                                                                 WINSTON SALEM      NC   27101‐2166
TYCO ELECTRONICS CORP               PO BOX 3608                           2900 FULLING MILL RD                                                         HARRISBURG         PA   17105‐3608
TYCO ELECTRONICS CORPORATION        PO BOX 91869                                                                                                       CHICAGO            IL   60693‐1869
TYCO ELECTRONICS CORPORATION        900 WILSHIRE DRIVE                    SUITE 150                                                                    TROY               MI   48084
TYCO ELECTRONICS INC                MIKE MORISET                          1311 S MARKET ST                                                             MECHANICSBURG      PA   17055‐5632
TYCO ELECTRONICS INC                MIKE MORISET                          1311 S. MARKET ST                                                            STERLING HEIGHTS   MI
TYCO ELECTRONICS, M/A COM           900 WILSHIRE DR STE 150                                                                                            TROY               MI   48084‐1600
TYCO ELECTRONICS/RAYCHEM            900 WILSHIRE DR STE 150                                                                                            TROY               MI   48084‐1600
TYCO ENGINEERED PRODUCTS AND S      4135 TECHNOLOGY PKWY                                                                                               SHEBOYGAN          WI   53083‐6049
TYCO FIRE & BUILDING                451 N CANNON AVE                                                                                                   LANSDALE           PA   19446‐2256
TYCO HEALTHCARE                     675 MCDONNELL BLVD EC‐6                                                                                            HAZELWOOD          MO   63042
TYCO INTERNATIONAL INC              900 WILSHIRE DR STE 150                                                                                            TROY               MI   48084‐1600
TYCO INTERNATIONAL LTD              310 N MAIN ST STE 201                                                                                              CHELSEA            MI   48118‐1503
TYCO INTERNATIONAL LTD
TYCO INTERNATIONAL LTD              1011 PAWTUCKET BLVD                                                                                                LOWELL             MA 01854‐1040
TYCO INTERNATIONAL LTD              10405 CROSSPOINT BLVD                                                                                              INDIANAPOLIS       IN 46256‐3323
TYCO INTERNATIONAL LTD              1191 SHINSANG‐RI JINRYANG EUB                                                              KYUNGSAN‐SHI KYONGBUK
                                                                                                                               712 838 KOREA (REP)
TYCO INTERNATIONAL LTD              1400 E AVIS DR                                                                                                     MADISON HEIGHTS    MI 48071‐1506
TYCO INTERNATIONAL LTD              20 ESNA PARK DR                                                                            MARKHAM ON L3R 1E1
                                                                                                                               CANADA
TYCO INTERNATIONAL LTD              2175 ASSOCIATION DR STE 3100                                                                                       OKEMOS             MI   48864
TYCO INTERNATIONAL LTD              24747 HALSTED RD                                                                                                   FARMINGTON HILLS   MI   48335‐1612
TYCO INTERNATIONAL LTD              3120 SOVEREIGN DR STE 4B                                                                                           LANSING            MI   48911‐4227
TYCO INTERNATIONAL LTD              3787 RIDER TRL S                                                                                                   EARTH CITY         MO   63045‐1114
TYCO INTERNATIONAL LTD              3800 REIDSVILLE RD                                                                                                 WINSTON SALEM      NC   27101‐2166
TYCO INTERNATIONAL LTD              400 EXCHANGE ST                   PO BOX 1271                                                                      BUFFALO            NY   14204‐2064
TYCO INTERNATIONAL LTD              900 WILSHIRE DR STE 150                                                                                            TROY               MI   48084‐1600
TYCO INTERNATIONAL LTD              CAROL HALL                        TYCO ELECTRONICS                  1011 PAWTUCKET BLVD.                           LODI               CA
TYCO INTERNATIONAL LTD              CARRETERA INTERNACONAL GUADALAJAR                                                          EMPALME SO 85340
                                                                                                                               MEXICO
TYCO INTERNATIONAL LTD              MIKE MORISET                          1311 S MARKET ST                                                             MECHANICSBURG      PA 17055‐5632
TYCO INTERNATIONAL LTD              MIKE MORISET                          1311 S. MARKET ST                                                            STERLING HEIGHTS   MI
                                   09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                         Part 37 of 40 Pg 647 of 901
Name                               Address1                             Address2                      Address3   Address4                 City             State Zip
TYCO INTERNATIONAL LTD             PAUL TAKACH                          1643 S PARCO AVE                                                  ONTARIO           CA 91761‐8308
TYCO INTERNATIONAL LTD             PAUL TAKACH                          8000 PIEDMONT TRIAD PARKWAY                                       HARTLAND          MI 48353
TYCO INTERNATIONAL LTD             PO BOX 3608                          2900 FULLING MILL RD                                              HARRISBURG        PA 17105‐3608
TYCO INTERNATIONAL LTD             THE ZURICH CENTRE 2ND FL                                                      HAMILTON PEMBROKE HM
                                                                                                                 08 BERMUDA
TYCO INTERNATIONAL LTD             TIM COATES                          1321 JOE BATTLE BLVD                                               DYERSBURG        TN
TYCO INTERNATIONAL LTD             ZONA INDUSTRIAL ESTRADA DE ALMEIRIM                                           EVORA PT 7002‐552
                                                                                                                 PORTUGAL
TYCO INTERNATIONAL MANAGEMENT      KEVIN REYNOLDS                       9 ROSZEL RD                                                       PRINCETON         NJ   08540‐6205
COMPANY
TYCO INTERNATIONAL OF CANADA L     2400 SKYMARK AVE                                                              MISSISSAUGA ON L4W 5K5
                                                                                                                 CANADA
TYCO INTERNATIONAL OF CANADA LTD

TYCO INTERNATIONAL US INC          PAUL TAKACH                          1643 S PARCO AVE                                                  CLINTON          TN    37716
TYCO MALLINCKRODT INC              675 MCDONNELL BLVD EC‐6                                                                                HAZELWOOD        MO    63042
TYCO PLASTICS                      1401 W 94TH ST                                                                                         MINNEAPOLIS      MN    55431‐2327
TYCO THERMAL CONTROLS              7433 HARWIN DR                                                                                         HOUSTON          TX    77036‐2007
TYCO VALVES & CONTROLS             10707 CLAY RD STE 200                                                                                  HOUSTON          TX    77041‐6190
TYCOS/CONCORD                      2000 LANGSTAFF ROAD                                                           CONCORD L4K 3B5 CANADA
TYCZ, EDWARD J                     30 STONEGATE RD                                                                                        SOUTHINGTON      CT    06489‐3826
TYDEN BRAMMALL                     409 HOOSIER DR                                                                                         ANGOLA           IN    46703‐9335
TYDEN BRAMMALL INC                 409 HOOSIER DR                                                                                         ANGOLA           IN    46703‐9335
TYDEN BRAMMALL INC                 409 HOOSIER DR                       409 HOOSIER DR                                                    ANGOLA           IN    46703‐9335
TYDEN GROUP INC                    ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 79001                                                      DETROIT          MI    48279‐1112
                                   AGENT
TYDINGS AUTOMOTIVE INC.            1968 E RIDGE RD                                                                                        ROCHESTER        NY    14622‐2432
TYDINGS, BRYAN L                   3733 SW 1ST AVE                                                                                        CAPE CORAL       FL    33914‐5006
TYDINGS, KATHY L                   63 FOSTER DR                                                                                           NEW MIDDLETOWN   OH    44442‐9711
TYDRICK, LEONARD J                 11107 W GIBBS LAKE RD                                                                                  EVANSVILLE       WI    53536‐8814
TYDRYSZEWSKI JR, MITCHELL A        4397 CHESTNUT RIDGE RD APT 4                                                                           AMHERST          NY    14228‐3233
TYE BREWER                         5234 WILLOW CT                                                                                         CELINA           OH    45822‐8880
TYE L PARKER                       1844 RUTLAND ROAD                                                                                      DAYTON           OH    45406‐4619
TYE WALTON                         5010 HEATHMOOR DR                                                                                      COLUMBUS         OH    43220‐2681
TYE, ALICE F                       917 OAK ST                                                                                             TOLEDO           OH    43605‐2943
TYE, ARNOLD E                      1024 S ST                                                                                              BEDFORD          IN    47421‐2828
TYE, BRENDA B                      1658 BURLINGAME ST                                                                                     DETROIT          MI    48206‐1306
TYE, CHARLES W                     4978 24TH AVE                                                                                          HUDSONVILLE      MI    49426‐8409
TYE, CLAYTON B                     6159 GREENACRE RD                                                                                      TOLEDO           OH    43615‐1015
TYE, DONALD E                      19953 HULL ST                                                                                          DETROIT          MI    48203‐1243
TYE, DONALD I                      4331 PANTEK DRIVE                                                                                      ATTICA           MI    48412
TYE, DONALD R                      117 N 4TH ST                                                                                           ODESSA           MO    64076‐1145
TYE, GENE E                        6636 ROBIN HOOD RD                                                                                     HILLSBORO        OH    45133‐9273
TYE, GREGORY G                     14 LUDLOW CT                                                                                           BRISTOL          CT    06010‐2684
TYE, JAMES S                       809 S 2ND STREET TER                                                                                   ODESSA           MO    64076‐1514
TYE, JOHN L                        303 HIGH DR                                                                                            ODESSA           MO    64076‐1530
TYE, LINDA M                       10841 CANDY CANE LANE                                                                                  HILLSBORO        OH    45133‐9278
TYE, MARRIS L                      867 BROAD BLVD                                                                                         KETTERING        OH    45419‐2024
TYE, MARY F                        6625 ROBINSON AVENUE                                                                                   ALLEN PARK       MI    48101‐2375
TYE, MILDRED                       1658 BURLINGAME                                                                                        DETROIT          MI    48206‐1306
TYE, RALPH A                       31484 LYONS CIR W                                                                                      WARREN           MI    48092‐4416
TYE, RICHARD E                     371 SHERMAN CT                                                                                         ORTONVILLE       MI    48462‐8621
                                  09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                    Part 37 of 40 Pg 648 of 901
Name                              Address1                         Address2                       Address3   Address4         City                  State Zip
TYE, SHIRLEY D                    19009 BRAEMORE RD                                                                           NORTHRIDGE             CA 91326‐1202
TYE, WILLIAM A                    927 HYACINTH CIR                                                                            BAREFOOT BAY           FL 32976‐7668
TYEECHIA MINNIS                   1159 NW 46TH ST                                                                             MIAMI                  FL 33127
TYER, JOHN W                      PO BOX 181                                                                                  HILLMAN                MI 49746
TYERRIL, DENNIS A                 4309 DOLAN DR., LOT 73                                                                      FLINT                  MI 48504
TYERRIL, LAWRENCE B               1580 TWIN BIRCH RD NE                                                                       KALKASKA               MI 49646‐9706
TYERS PROFESSIONAL AUTO SERVICE   117 CYNTHIA ST                                                                              CLINTON                MS 39056‐3711
TYES, JOSEPH E                    4719 S PENNSYLVANIA AVE                                                                     LANSING                MI 48910‐7600
TYESS T JACKSON                   401 HARPER AVE APT 3                                                                        DETROIT                MI 48202‐3557
TYGART VALLEY MOTOR CO. INC.      RTE 250 S ELKINS SHPG PLAZA                                                                 ELKINS                 WV 26241
TYGART VALLEY MOTOR CO. INC.      RICK WYATT                       RTE 250 S ELKINS SHPG PLAZA                                ELKINS                 WV 26241
TYGART VALLEY MOTOR COMPANY INC   DELL MOSER LANE & LOUGHNEY LLC   525 WILLIAM PENN PL STE 3700                               PITTSBURGH             PA 15219‐1744
TYGART, CATHY M                   1240 N LAFOUNTAIN ST                                                                        KOKOMO                 IN 46901‐2922
TYGART, DEANA J                   916 E GERHART ST                                                                            KOKOMO                 IN 46901‐1533
TYGART, DEANNA S                  8804 E 100 S                                                                                GREENTOWN              IN 46936‐9733
TYGART, TERRY L                   8804 E 100 S                                                                                GREENTOWN              IN 46936‐9733
TYGART, TWANA J                   1107 W BRDWAY                                                                               KOKOMO                 IN 46901
TYGESEN, ALICE M                  133 NILES ST                                                                                LAKEVIEW               MI 48850‐9502
TYGESEN, GAYLORD L                749 COVELL AVE NW                                                                           GRAND RAPIDS           MI 49504‐4845
TYHESHA BROWN                     1106 FORESTWOOD DRIVE                                                                       ST. LOUIS              MO 63135‐2812
TYHRONE L MULLINS                 100 LEGAULT DR                                                                              CARY                   NC 27513
TYILLIAN, GEORGE                  2876 MOREFIELD RD                                                                           HERMITAGE              PA 16148‐2475
TYILLIAN, KERNEY D                13316 CAIN LN                                                                               LOUISVILLE             KY 40245‐2141
TYILLIAN, MARY M                  2876 MOREFIELD RD                                                                           HERMITAGE              PA 16148‐2475
TYILLIAN, TODD K                  341 INDIANA AVE                                                                             MC DONALD              OH 44437
TYISKA, JAMES T                   2033 SEYMOUR AVE                                                                            FLINT                  MI 48503‐4342
TYJENSKI, GERARD M                30657 GRUENBURG DR                                                                          WARREN                 MI 48092‐4922
TYJUANA THOMPSON                  1020 E 5TH ST                                                                               MUNCIE                 IN 47302‐3503
TYK, HARRIET M                    3715 ELMWOOD AVE                                                                            BERWYN                  IL 60402‐4039
TYK, HARRIET M                    3715 SOUTH ELMWOOD AVE                                                                      BERWYN                  IL 60402
TYKE BIXLER                       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                 BOSTON HEIGHTS         OH 44236
TYKISHA A EVANS                   1835 CAROL ANN AVE                                                                          YPSILANTI              MI 48198‐6273
TYKOR PROPERTIES LLC              TODD JOHNSON                     PO BOX 10001                                               SPRINGFIELD            MO 65808‐0001
TYKOSKI, DANIEL R                 35870 OAKWOOD LN                                                                            WESTLAND               MI 48186
TYKOSKI, DANIEL R                 1761 LESLIE ST                                                                              WESTLAND               MI 48186‐9719
TYKOSKI, DOROTHY J                3946 VENTURA DR                                                                             SAGINAW                MI 48604‐1836
TYKOSKI, DOROTHY J                3946 VENTURA                                                                                SAGINAW                MI 48604‐1836
TYKOSKI, THOMAS J                 30525 COOLEY BLVD                                                                           WESTLAND               MI 48185‐1716
TYLA DANIELS                      54 DIAMOND LN                                                                               PATHFORK               KY 40863‐6507
TYLAK, BENIGNA                    3128 20TH ST                                                                                WYANDOTTE              MI 48192‐5403
TYLAK, FLORIAN                    13188 DRAKE ST                                                                              SOUTHGATE              MI 48195‐2406
TYLAS DRAGOO                      441 CRESTWOOD TER                                                                           HURST                  TX 76053‐3901
TYLAWSKY, JENNY                   22291 WESTCHESTER BLVD APT 205   ORANGEWOOD CONDOS                                          PORT CHARLOTTE         FL 33952‐9243
TYLAWSKY, JENNY                   22291 W CHESTER BLVD #205        ORANGEWOOD CONDOS                                          PORT CHARLOTTE         FL 33952‐9243
TYLAWSKY, MARIA                   257 MEADOW CIRCLE                                                                           ROCHESTER              NY 14609‐1504
TYLAWSKY, MARIA                   257 MEADOW CIR                                                                              ROCHESTER              NY 14609‐1504
TYLDESLEY JR, HARRY T             2080 N US 23                                                                                EAST TAWAS             MI 48730‐9419
TYLEC, VINCENT T                  6 LOCUST DR                                                                                 MIDDLEPORT             NY 14105‐1310
TYLENDA, DOUGLAS P                22597 E 11 MILE RD                                                                          ST CLR SHORES          MI 48081‐1385
TYLENDA, FRANCIS P                257 MERRIWEATHER RD                                                                         GROSSE POINTE FARMS    MI 48236‐3428
TYLENDA, RAYMOND J                16741 JOAN ST                                                                               SOUTHGATE              MI 48195‐2902
TYLENDA, THOMAS J                 1136 HILL LINE TRL                                                                          BLOOMFIELD HILLS       MI 48301‐2131
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                                                        Part 37 of 40 Pg 649 of 901
Name                                  Address1                             Address2                        Address3                Address4                City           State Zip
TYLER & KELLY TRADEMARK MOTORS, INC   2301 3RD AVE N                                                                                                       LEWISTON        ID 83501‐1625

TYLER & KELLY TRADEMARK MOTORS, INC. PO BOX 616                                                                                                            LEWISTON        ID   83501‐0616

TYLER & KELLY TRADEMARK MOTORS, INC. KARL TYLER                            2301 3RD AVE N                                                                  LEWISTON        ID   83501‐1625

TYLER ALAN                            5926 HIBBARD RD                                                                                                      CORUNNA        MI 48817‐9314
TYLER ALFRED J                        C/O GUY PORTER & MALOUF               4670 MCWILLIE DRIVE                                                            JACKSON        MS 39206
TYLER ALFRED J (504997)               (NO OPPOSING COUNSEL)
TYLER ANTONIO                         TYLER, ANTONIO                        3710 JOHN ADAMS ROAD                                                           JACKSON        MS    39213
TYLER AUTOMOTIVE                      1810 S 11TH ST                                                                                                       NILES          MI    49120‐4206
TYLER AUTOMOTIVE                      2801 E 62ND ST                                                                                                       INDIANAPOLIS   IN    46220‐2914
TYLER BARNES                          170 ROBINSON DR                                                                                                      CARROLLTON     GA    30117‐5962
TYLER BLAKE AND/OR STEVE BLAKE        ATTN D BRUCE PETWAY ESQ, ATTY FOR THE PETWAY TUCKER & BARGANIER LLC 510 PARK PLACE TOWER     2001 PARK PLACE N       BIRMINGHAM     AL    35203
                                      BLAKES
TYLER BLAKE AND/OR STEVE BLAKE        ATTN: D BRUCE PETWAY, ESQ, ATTY FOR   PETWAY, TUCKER & BARGANIER, LLC 510 PARK PLACE TOWER   2001 PARK PLACE NORTH   BIRMINGHAM      AL   35203
                                      THE BLAKES
TYLER BRENDA                          5112 NANTUCKETT DR                                                                                                   JACKSON        MS 39209‐3209
TYLER BUSH                            11033 NORSCOT ST                                                                                                     SCOTTS         MI 49088
TYLER CHEVROLET BUICK                 521 CHATFIELD RD                                                                                                     NEW LENOX      IL 60451‐3042
TYLER CHEVROLET INC KARL
TYLER CLARKE                          3750 LAKECREST DRIVE                                                                                                 BLOOMFIELD     MI    48304‐3037
TYLER COOK                            2801 HOLLYPOINT CT                                                                                                   ARLINGTON      TX    76015‐2283
TYLER COON                            11400 WEST GRAND RIVER AVENUE                                                                                        LOWELL         MI    49331‐8460
TYLER COOPER & ALCORN                 CITY PLACE 35TH FL                                                                                                   HARTFORD       CT    06103
TYLER COUNTY TAX COLLECTOR            SHERIFF'S OFFICE                     PO BOX 7                                                                        MIDDLEBOURNE   WV    26149‐0007
TYLER DAWSON                          3757 VALPARISO CIR                                                                                                   DECATUR        GA    30034‐6014
TYLER DOTTER
TYLER DUCKETT                         4091 CAUSEWAY DR NE                                                                                                  LOWELL         MI 49331‐9409
TYLER EDWARD (464319)                 KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                                   CLEVELAND      OH 44114
                                                                           BOND COURT BUILDING
TYLER ESTATE OF HARTHENA E            6010 CLOVERLAWN DR                                                                                                   FLINT          MI    48504‐7007
TYLER FLEET/SIGNATURE                 1810 S 11TH ST                                                                                                       NILES          MI    49120‐4206
TYLER FUEL INJECTION SERVICE          21933 FM 2493                                                                                                        BULLARD        TX    75757‐8629
TYLER GEORGE (634922)                 BRAYTON PURCELL                      PO BOX 6169                                                                     NOVATO         CA    94948‐6169
TYLER HUMMER                          1810 S 11TH ST                                                                                                       NILES          MI    49120‐4206
TYLER I I, JOHN E                     4829 UPPER HOLLEY RD                                                                                                 HOLLEY         NY    14470‐9765
TYLER J LAPIERRE                      MARC S ALPERT                        MARC S ALPERT PC                15 COURT SQUARE #940                            BOSTON         MA    02108
TYLER JERRY A (472184)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                     NORFOLK        VA    23510
                                                                           STREET, SUITE 600
TYLER JOAN                            2370 DESERT GARDENS DR                                                                                               EL CENTRO      CA 92243‐9404
TYLER JOHNSON                         C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                                       HOUSTON        TX 77007
                                      BOUNDAS LLP
TYLER JR, ANDREW                      7525 AUGUSTA CT                                                                                                      INDIANAPOLIS   IN    46268‐4740
TYLER JR, ANDREW T                    70 MILL DR                                                                                                           JACKSON        TN    38305‐6248
TYLER JR, ARCHIE                      1826 WINDSOR LANE                                                                                                    FLINT          MI    48507‐2236
TYLER JR, JOE R                       2038 SEYMOUR AVENUE                                                                                                  FLINT          MI    48503‐4343
TYLER JR, JOE R                       1713 CRESTBROOK LN                                                                                                   FLINT          MI    48507‐5334
TYLER JR, JOHN W                      715 E LYNDON AVE                                                                                                     FLINT          MI    48505‐2953
TYLER JR, MARK G                      120 MCDUFF CT                                                                                                        HARLINGEN      TX    78552‐6264
TYLER JR, PRESLEY J                   3334 N PARSONS AVE                                                                                                   MERCED         CA    95340‐1672
TYLER JR, ROOSEVELT                   PO BOX 8529                                                                                                          SPRINGDALE     AR    72766‐8529
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                    Part 37 of 40 Pg 650 of 901
Name                             Address1                             Address2                      Address3   Address4         City               State Zip
TYLER JR, STANLEY W              2024 BILOXI PASS                                                                               HENDERSON           NV 89052‐6949
TYLER JR, WALTER                 474 PICKETT BAY RD                                                                             CHINQUAPIN          NC 28521‐8838
TYLER JR, WALTER L               8269 SOBAX DR                                                                                  INDIANAPOLIS        IN 46268‐1729
TYLER JR, WELBERT                4822 LINGONBERRY ST                                                                            HOUSTON             TX 77033‐3514
TYLER JUNIOR COLLEGE             ATTN ACCTS REC OFFICE                PO BOX 9020                                               TYLER               TX 75711‐9020
TYLER JUNSO                      550 N. 31ST STREET                   SUITE 250                                                 BILLINGS            MT 59101
TYLER LEROY K (429966)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                      STREET, SUITE 600
TYLER LINGO                      5908 MONONA DR                                                                                 KOKOMO              IN   46902‐5598
TYLER MOTOR COMPANY, INC.        PAMELA HALL                          3010 S SOUTHWEST LOOP 323                                 TYLER               TX   75701‐0762
TYLER MOTORS INC
TYLER MOUNTAIN WATER CO INC      PO BOX 279                                                                                     NITRO              WV 25143‐0279
TYLER MOUNTAIN WATER CO INC      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 279                                                NITRO              WV 25143‐0279
                                 AGENT
TYLER NAPOLEON B                 TYLER, NAPOLEON B                    PO BOX 811                                                ORANGEBURG         SC    29116‐0811
TYLER NAPOLEON B                 TYLER, WARREN P                      PO BOX 811                                                ORANGEBURG         SC    29116‐0811
TYLER PATRICK                    2486 S COUNTY ROAD 925 E                                                                       FILLMORE           IN    46128‐9474
TYLER PHELAN E JR (429967)       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510
                                                                      STREET, SUITE 600
TYLER PILGERAM                   3592 RAVINEWOOD CT                                                                             COMMERCE TWP       MI 48382‐1647
TYLER RICHARD                    4329 CHAMBERLAIN DR                                                                            BLOOMFIELD HILLS   MI 48301‐3739
TYLER RICHARD B (429968)         GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                      STREET, SUITE 600
TYLER SAMARITAN                  39042 BUCKINGHAM DR                                                                            ROMULUS            MI    48174‐6324
TYLER SIMS                       33991 HENWELL RD                                                                               COLUMBIA STA       OH    44028‐9151
TYLER THURMAN                    8015 S 8TH AVE                                                                                 INGLEWOOD          CA    90305‐1335
TYLER VOYIK                      16 VERNON RD                                                                                   SHELBY             OH    44875‐1422
TYLER WILLIS
TYLER'S AUTO REPAIR              67 TAYLOR CT STE C                                                                             THOUSAND OAKS      CA    91360‐7408
TYLER'S JEFFERSON MOTORS, INC.   MICHAEL TYLER                        I‐57 AND STATE RTE 15                                     MOUNT VERNON       IL    62864
TYLER'S JEFFERSON MOTORS, INC.   I‐57 AND STATE RTE 15                                                                          MOUNT VERNON       IL    62864
TYLER, ALAN E                    82 LINDEN ST                                                                                   BRIDGEWATER        NJ    08807‐2729
TYLER, ALAN J                    5926 HIBBARD RD                                                                                CORUNNA            MI    48817‐9314
TYLER, ALBERTA A                 2564 E SUNRISE VISTA BLVD                                                                      FORT MOHAVE        AZ    86426‐6324
TYLER, ALBERTA A                 2564 SUNRISE VISTA BLVD                                                                        FORT MOHABE        AZ    86426‐6324
TYLER, ALFORD L                  PO BOX 1687                                                                                    SPRINGFIELD        OH    45501‐1687
TYLER, ALFRED                    GUY WILLIAM S                        PO BOX 509                                                MCCOMB             MS    39649‐0509
TYLER, ALICIA Y                  1156 WILSHIRE DR                                                                               MARION             OH    43302‐5744
TYLER, ALLEN R                   21741 BOHN RD                                                                                  BELLEVILLE         MI    48111‐8902
TYLER, ANDREW J                  PO BOX 583                                                                                     OAK CREEK          WI    53154‐0583
TYLER, ANITA W                   1809 CHARLES ST                                                                                ANDERSON           IN    46013‐2723
TYLER, ANNA B                    W172N7828 SHADY LN                                                                             MENOMONEE FALLS    WI    53051‐4172
TYLER, ANNA B                    W172 N7828 SHADY LN                                                                            MENOMONEE FAL      WI    53051
TYLER, ANTONIO                   3710 JOHN ADAMS RD                                                                             JACKSON            MS    39213‐3021
TYLER, APOLONIA A                21999 GENESIS CT                                                                               WOODHAVEN          MI    48183‐5259
TYLER, ARLO R                    163 COUNTY ROAD 45630                                                                          BLOSSOM            TX    75416‐3117
TYLER, BARBARA W                 8333 SEMINOLE BLVD APT 655E                                                                    SEMINOLE           FL    33772‐4364
TYLER, BERTHA A                  2417 PINE TREE DRIVE                                                                           EDGEWATER          FL    32141‐4901
TYLER, BETTY L                   PO BOX 74                                                                                      CONTINENTAL        OH    45831‐0074
TYLER, BETTY L                   P O BOX 74                                                                                     CONTINENTAL        OH    45831‐0074
TYLER, BEVON L                   204 CLOVERLEAF RD                                                                              MATTESON           IL    60443‐1118
TYLER, BRENDA D                  5112 NANTUCKETT DR                                                                             JACKSON            MS    39209‐3209
                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                             Part 37 of 40 Pg 651 of 901
Name                   Address1                           Address2                       Address3   Address4         City                 State Zip
TYLER, BRENDA L        921 WAGER AVE                                                                                 FLINT                 MI 48505‐3585
TYLER, BRENT A         28935 BRIARWOOD                                                                               FLAT ROCK             MI 48134‐9691
TYLER, C C             4208 OTIS ST                                                                                  LANSING               MI 48917‐3530
TYLER, C CRAIG         4208 OTIS ST                                                                                  LANSING               MI 48917‐3530
TYLER, CARL B          1111 N THOMAS RD                                                                              SAGINAW               MI 48609‐9590
TYLER, CARLTON L       1234 N MAGNOLIA AVE                                                                           LANSING               MI 48912‐3329
TYLER, CARMAN A        1238 LITTLEJOHN DR                                                                            COLUMBUS              OH 43227‐1424
TYLER, CATHERINE V     3336 LETA AVE                                                                                 BURTON                MI 48529‐1062
TYLER, CHANCE          5207 LANE ST                                                                                  FLUSHING              MI 48433‐9025
TYLER, CHARLES B       6810 NW PARK PLAZA DR                                                                         KANSAS CITY           MO 64151‐1744
TYLER, CHARLES E       6782 EASTERN VALLEY RD                                                                        MC CALLA              AL 35111‐3003
TYLER, CHARLES E       4932 GRACE RD                                                                                 NORTH OLMSTED         OH 44070‐3747
TYLER, CHARLES E       8220 CHEYENNE ST                                                                              DETROIT               MI 48228‐2739
TYLER, CHARLES H       6401 HEATHER RIDGE ST                                                                         KALAMAZOO             MI 49009‐5486
TYLER, CHARLES W       15301 SHANER AVE NE                                                                           CEDAR SPRINGS         MI 49319‐8305
TYLER, CHUCK           1023 IOWA ST SW                                                                               WYOMING               MI 49509‐3933
TYLER, CLARE G         2666 REYNOLDS CIR                                                                             COLUMBIAVILLE         MI 48421‐8935
TYLER, CLARENCE        615 RAINBOW CIRCLE                                                                            KOKOMO                IN 46902‐3628
TYLER, CLARENCE B      PO BOX 13117                                                                                  FLINT                 MI 48501‐3117
TYLER, CLARENCE B      2020 WELCH BOULEVARD                                                                          FLINT                 MI 48504‐3030
TYLER, CLYDE W         2991 OAK HAMPTON CT                                                                           DULUTH                GA 30096‐5878
TYLER, CORINNE         2307 W JEFFERSON ST 223C                                                                      KOKOMO                IN 46901
TYLER, CYNTHIA E       1427 ROSELAWN AVE                                                                             LANSING               MI 48915‐2243
TYLER, DANIEL D        7085 ALGER DR                                                                                 DAVISON               MI 48423‐2304
TYLER, DANIEL I        6134 STEM LN                                                                                  MOUNT MORRIS          MI 48458‐2654
TYLER, DANIEL J        1704 DENLEY AVE                                                                               CLEVELAND             OH 44109
TYLER, DAVID E         2101 STEDRON ST APT 148                                                                       FLINT                 MI 48504
TYLER, DAVID G         10 LONGERON DR                                                                                BALTIMORE             MD 21220‐4526
TYLER, DAVID L         206 N BROOKFIELD ST                                                                           DURAND                MI 48429‐1121
TYLER, DAVID O         5840 SMITH STATION RD                                                                         FREDERICKSBRG         VA 22407‐9315
TYLER, DAVID O         PO BOX 2856                                                                                   ANDERSON              IN 46018‐2856
TYLER, DAVID R         4305 CHISHOLM TRL                                                                             CROWLEY               TX 76036‐5123
TYLER, DELGRATIA R     15307 MURRAY HILL ST                                                                          DETROIT               MI 48227‐1943
TYLER, DINAH L         117 FLEMING ST                                                                                GRAND LEDGE           MI 48837‐1665
TYLER, DON F           PO BOX 261                                                                                    CORDER                MO 64021‐0261
TYLER, DONALD F        38 DOLPHIN AVE                                                                                ORMOND BEACH          FL 32176‐2108
TYLER, DONALD G        1849 S CHRISTINE                                                                              WESTLAND              MI 48186‐4454
TYLER, DONALD GEORGE   1849 S CHRISTINE                                                                              WESTLAND              MI 48186‐4454
TYLER, DONALD R        1213 TERRACE TRL                                                                              HURST                 TX 76053‐4315
TYLER, DORIS M         200 KNOEDLER RD                    APT 404 BALDWIN TOWERS                                     PITTSBURG             PA 15236
TYLER, DOROTHY         1902 N MORELAND AVE                                                                           INDIANAPOLIS          IN 46222‐4830
TYLER, DOROTHY J       329 SOUTH ST APT 617                                                                          CADILLAC              MI 49601‐2457
TYLER, E FAYE          6601 CRANWOOD DR                                                                              FLINT                 MI 48505‐1950
TYLER, E. FAYE         6601 CRANWOOD DR                                                                              FLINT                 MI 48505‐1950
TYLER, EARNESTINE      3120 LINDA ST                                                                                 SHREVEPORT            LA 71119‐5245
TYLER, EDGAR R         1829 PROGRESS AVE                                                                             LINCOLN PARK          MI 48146‐3230
TYLER, EDITH           80 LAWRENCE DRIVE                                                                             NORTH WHITE PLAINS    NY 10603‐1518
TYLER, EDITH C         5401 MUSKRAT RD                                                                               SHERIDAN              MI 48884‐8344
TYLER, EDITH C         5401 W MUSKRAT RD                                                                             SHERIDAN              MI 48884‐8344
TYLER, EDWARD          KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                               CLEVELAND             OH 44114
                                                          BOND COURT BUILDING
TYLER, EDWARD L        417 LINCOLN ST                                                                                LAPEER               MI 48446‐1847
                            09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                               Part 37 of 40 Pg 652 of 901
Name                        Address1                        Address2                      Address3   Address4         City               State Zip
TYLER, ELLA                 3906 HARVEY ST                                                                            MONROE              LA 71203‐5742
TYLER, ELLA                 3906 HARVEY                                                                               MONROE              LA 71203‐5742
TYLER, ELLA MAE             9218 W BALDWIN ROAD                                                                       GAINES              MI 48436‐9719
TYLER, ELLA MAE             9218 BALDWIN RD                                                                           GAINES              MI 48436‐9719
TYLER, ELMER F              16755 LUCKY BELL LN                                                                       CHAGRIN FALLS       OH 44023‐5187
TYLER, EZELL                8830 KIMBERLY CT                                                                          DETROIT             MI 48204‐2360
TYLER, FLORA L              1206 LARZELERE LANE                                                                       LA VERGNE           TN 37086‐2567
TYLER, FRED                 GUY WILLIAM S                   PO BOX 509                                                MCCOMB              MS 39649‐0509
TYLER, GARY K               212 E 4TH ST                                                                              TILTON               IL 61833‐7417
TYLER, GARY L               4053 MOULTON DR                                                                           FLINT               MI 48507‐5538
TYLER, GARY LEE             4053 MOULTON DR                                                                           FLINT               MI 48507‐5538
TYLER, GEORGE               15852 SORRENTO ST                                                                         DETROIT             MI 48227‐4030
TYLER, GEORGE               BRAYTON PURCELL                 PO BOX 6169                                               NOVATO              CA 94948‐6169
TYLER, GERALD C             5508 WESTCHESTER DR                                                                       FLINT               MI 48532‐4052
TYLER, GERALD C             11631 S 41 MILE RD                                                                        CADILLAC            MI 49601
TYLER, GERALD H             3880 EATON GATE LN                                                                        AUBURN HILLS        MI 48326‐3884
TYLER, GERALD L             807 SW 26TH ST                                                                            EL RENO             OK 73036‐5831
TYLER, GERALDINE            19135 STRATHMOOR                                                                          DETROIT             MI 48235‐1957
TYLER, GLENEL D             1503 S MILFORD RD                                                                         MILFORD             MI 48381‐2772
TYLER, GLORIA J             31007 APPLEWOOD LN                                                                        FARMINGTON HILLS    MI 48331‐1215
TYLER, GRACE M              130 GRACE STREET                                                                          FLINT               MI 48503
TYLER, GRACE M              130 GRACE ST                                                                              FLINT               MI 48503‐1006
TYLER, GUY J                32 ELM ST                                                                                 NORWOOD             NY 13668‐1310
TYLER, GUY JAMES            32 ELM ST                                                                                 NORWOOD             NY 13668‐1310
TYLER, HARTHENA E           1306 LILLIAN DR                                                                           FLINT               MI 48505‐2580
TYLER, HARTHENA ELIZABETH   6010 CLOVERLAWN DR                                                                        FLINT               MI 48504
TYLER, HAZEL W              APT A117                        11315 GRANDVIEW ROAD                                      KANSAS CITY         MO 64137‐1425
TYLER, HAZEL W              11315 GRANDVIEW RD              APT 117                                                   KANSAS CITY         MO 64137
TYLER, HELEN D              5480 PARVIEW DR                                                                           CLARKSTON           MI 48346‐2812
TYLER, HELEN P              2991 OAK HAMPTON CT                                                                       DULUTH              GA 30096‐5878
TYLER, HILARY M             418 TOWN SOUTH DR                                                                         SHREVEPORT          LA 71115‐2929
TYLER, HOSEA A              #1                              2281 PINGREE STREET                                       DETROIT             MI 48206‐2455
TYLER, HOWARD L             1910 BRISTOL COURT DR                                                                     MOUNT MORRIS        MI 48458‐2187
TYLER, IDA L                3915 S WASHINGTON RD                                                                      SAGINAW             MI 48601‐5158
TYLER, IRENE M              17740 LAKE SHORE BLVD APT 302                                                             CLEVELAND           OH 44119‐2677
TYLER, JAMES A              25146 WATSON RD                                                                           DEFIANCE            OH 43512‐6843
TYLER, JAMES D              16155 IRONSTONE LN                                                                        ROMULUS             MI 48174‐2984
TYLER, JAMES E              6601 CRANWOOD DR                                                                          FLINT               MI 48505‐1950
TYLER, JAMES H              3773 W 14 RD                                                                              MESICK              MI 49668‐9722
TYLER, JAMES H              828 HOLGATE AVE                                                                           DEFIANCE            OH 43512‐2042
TYLER, JAMES HENRY          828 HOLGATE AVE                                                                           DEFIANCE            OH 43512‐2042
TYLER, JAMES T              4439 RAINBOW LN                                                                           FLINT               MI 48507‐6232
TYLER, JANICE M             2603 SAUGUS CIR                                                                           COLUMBUS            OH 43224‐3747
TYLER, JEANNETTE M          35 E HILLCREST AVE                                                                        DAYTON              OH 45405‐2825
TYLER, JEFFERY E            2217 LYNNWOOD AVE                                                                         SAGINAW             MI 48601‐3666
TYLER, JEFFREY K            2506 N FOREST HILL RD                                                                     SAINT JOHNS         MI 48879‐9531
TYLER, JEFFREY K.           2506 N FOREST HILL RD                                                                     SAINT JOHNS         MI 48879‐9531
TYLER, JEFFREY L            4822 LINGONBERRY ST                                                                       HOUSTON             TX 77033‐3514
TYLER, JERRY A              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                            STREET, SUITE 600
TYLER, JERRY B              21999 GENESIS CT                                                                          WOODHAVEN           MI 48183‐5259
TYLER, JERRY D              5600 DALE RD                                                                              BEAVERTON           MI 48612‐9741
                      09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                       Part 37 of 40 Pg 653 of 901
Name                  Address1                         Address2                      Address3   Address4         City                  State Zip
TYLER, JERRY R        9241 S YOUNG RD                                                                            FALMOUTH               MI 49632‐9718
TYLER, JESSIE         GUY WILLIAM S                    PO BOX 509                                                MCCOMB                 MS 39649‐0509
TYLER, JIMMIE W       145 VIRGIE CT                                                                              BOWLING GREEN          KY 42104‐7447
TYLER, JOE H          912 MITCHELL ST                                                                            JANESVILLE             WI 53546‐2417
TYLER, JOHN A         201 SANTA SUSANA                                                                           SAN LEANDRO            CA 94579‐1932
TYLER, JOHN R         7236 LEDGEWOOD DR                                                                          FENTON                 MI 48430‐9351
TYLER, JOSEPH         PO BOX 202                                                                                 BUFFALO                NY 14240‐0202
TYLER, JUANITA E      507 GREGORY AVE APT 3C                                                                     GLENDALE HEIGHTS        IL 60139‐7506
TYLER, KAREN A        2666 REYNOLDS CIR                                                                          COLUMBIAVILLE          MI 48421‐8935
TYLER, KAREN J.       11153 ARMSTRONG DR N                                                                       SAGINAW                MI 48609‐9466
TYLER, KEITH W        76 COMMONWEALTH BLVD                                                                       NEW CASTLE             DE 19720
TYLER, KEITH W        1110 SANDBURG PL                                                                           NEWARK                 DE 19702‐4479
TYLER, KENNETH R      1027 LELAND ST                                                                             FLINT                  MI 48507‐5343
TYLER, KENNETH R      2421 EASTBROOK DR                                                                          MESQUITE               TX 75150‐5210
TYLER, KEVIN F        506 N TOWNE COMMONS BLVD                                                                   FENTON                 MI 48430‐2682
TYLER, KIRK E         108 WASHINGTON ST. BOX 357                                                                 VERNON                 MI 48476
TYLER, KRAIG M        144 SILVERTOP DR                                                                           GRAYSON                GA 30017
TYLER, KYLE B         5506 ARCOLA AVE                                                                            DAYTON                 OH 45449
TYLER, LARRY D        9745 FAIRWAY DR                                                                            FOLEY                  AL 36535‐9359
TYLER, LARRY L        277O BARDIN RD                   APT 6109                                                  GRAND PRAIRIE          TX 75052
TYLER, LARRY L        APT 6109                         2770 BARDIN ROAD                                          GRAND PRAIRIE          TX 75052‐7301
TYLER, LARRY L        2521 CLEARLAKE DRIVE                                                                       GRAND PRAIRIE          TX 75054‐6824
TYLER, LARRY R        1711 WESLEYAN ROAD                                                                         DAYTON                 OH 45406‐3944
TYLER, LARRY T        9200 US HIGHWAY 82 E                                                                       BLOSSOM                TX 75416‐6162
TYLER, LAURA          4253 HIGHWAY 141 N                                                                         JONESBORO              AR 72401‐9011
TYLER, LAURA E        11133 BELL ROAD                                                                            BURT                   MI 48417‐9670
TYLER, LEJUANA A
TYLER, LENORA B       1910 WINDSOR LN                                                                            FLINT                 MI   48507‐6029
TYLER, LENORA B       1910 WINDSOR LANE                                                                          FLINT                 MI   48507
TYLER, LEONEL A       201 N SAGINAW ST                                                                           HOLLY                 MI   48442‐1408
TYLER, LERAE E        26 COUNTRY LN                                                                              WARRENTON             MO   63383‐2722
TYLER, LEROY K        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                       STREET, SUITE 600
TYLER, LEVI           4910 JULIUS BLVD                                                                           WESTLAND              MI   48186‐5168
TYLER, LEVONIA        3849 EVERGREEN PKWY                                                                        FLINT                 MI   48503‐4556
TYLER, LILLIE         345 PERKINS CEMETERY RD                                                                    GRASSY CREEK          KY   41352‐8966
TYLER, LOIS E         2844 QUESTEND DR S                                                                         INDIANAPOLIS          IN   46222‐2257
TYLER, LORRAINE S     7203 PINE DR                                                                               CHINCOTEAGUE ISLAND   VA   23336
TYLER, MABEL L        673 ARROW LN                                                                               KISSIMMEE             FL   34746‐4903
TYLER, MAGGIE D       3617 LIPPINCOTT BLVD                                                                       FLINT                 MI   48507‐2029
TYLER, MARCUS B       1021 NEAL CREST CIR                                                                        SPRING HILL           TN   37174‐2690
TYLER, MARCUS BRUCE   1021 NEAL CREST CIR                                                                        SPRING HILL           TN   37174‐2690
TYLER, MARGARET R     37 PROSPECT ST                                                                             MONROEVILLE           OH   44847‐9784
TYLER, MARILYN S      18879 N HAMMER RD                                                                          MARSHALL              IL   62441‐3617
TYLER, MARILYNN J     128 MANOR WAY                                                                              ROCHESTER HLS         MI   48309‐2017
TYLER, MARTHA L       C/O RITA ERMELING                224 BRIARCLIFF                                            ST CHARLES            MO   63301
TYLER, MARTHA L       224 BRIARCLIFF DR                C/O RITA ERMELING                                         SAINT CHARLES         MO   63301‐0408
TYLER, MARY A         10908 DEERFIELD DR                                                                         FREDERICKSBRG         VA   22407‐6329
TYLER, MARY E         525 W WESTCHESTER PKWY APT 526                                                             GRAND PRAIRIE         TX   75052‐2829
TYLER, MARY E         1306 PARKVIEW                                                                              DANVILLE              IL   61832‐7012
TYLER, MARY E         1306 PARKVIEW DR                                                                           DANVILLE              IL   61832‐7012
TYLER, MARY EVELYN    525 W WESTCHESTER PKWY APT 526                                                             GRAND PRAIRIE         TX   75052‐2829
                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                          Part 37 of 40 Pg 654 of 901
Name                 Address1                          Address2                      Address3   Address4         City           State Zip
TYLER, MARY L        816 SIMONEAU ST                                                                             SAGINAW         MI 48601‐2314
TYLER, MARY L        816 SIMONEAU                                                                                SAGINAW         MI 48601‐2314
TYLER, MARY P        112 E STEWART AVE                 C/O BEVERLY JACKSON                                       FLINT           MI 48505‐3418
TYLER, MCKINLEY F    673 ARROW LN                                                                                KISSIMMEE       FL 34746‐4903
TYLER, MELVIN        PORTER & MALOUF PA                4670 MCWILLIE DR                                          JACKSON         MS 39206‐5621
TYLER, MICHAEL A     1704 DENLEY AVE                                                                             CLEVELAND       OH 44109‐3034
TYLER, MICHAEL J     4341 KENTWOOD AVE                                                                           FLINT           MI 48507‐3520
TYLER, MICHAEL J     106 RIDGE ST N                                                                              MONROEVILLE     OH 44847‐9428
TYLER, NANCY L       111 OLD HICKORY BLVD APT 196                                                                NASHVILLE       TN 37221‐6927
TYLER, NAOMI S       1208 BUCHANAN ST                                                                            SANDUSKY        OH 44870
TYLER, NAPOLEAN
TYLER, NAPOLEON      1306 LILLIAN DR                                                                             FLINT          MI   48505‐2580
TYLER, NONOLA M      ENGLEWOOD MANOR                   P.O. BOX 340                                              ENGLEWOOD      OH   45322‐5322
TYLER, NONOLA M      PO BOX 340                        ENGLEWOOD MANOR                                           ENGLEWOOD      OH   45322‐0340
TYLER, PAMELA A      PO BOX 653                                                                                  KOKOMO         IN   46903‐0653
TYLER, PATRICIA      435 RICHARD JORDAN LOOP                                                                     ROBELINE       LA   71469‐4315
TYLER, PATRICIA A    7930 S DURAND RD                                                                            DURAND         MI   48429‐9456
TYLER, PATRICIA B    1410 S 7TH ST                                                                               MONROE         LA   71202‐2843
TYLER, PATRICIA L    21741 BOHN RD                                                                               BELLEVILLE     MI   48111
TYLER, PAUL J        1694 TOWER DR                                                                               STOUGHTON      WI   53589‐3536
TYLER, PHELAN E      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                       STREET, SUITE 600
TYLER, PHILIP H      635 WASHINGTON AVE                                                                          SAVANNAH       GA   31405‐2427
TYLER, PHYLLIS E     13120 205 STEELE CROFT PWY                                                                  CHARLOTTE      NC   28278
TYLER, PHYLLIS E     APT 205                           13120 STEELECROFT PARKWAY                                 CHARLOTTE      NC   28278‐7515
TYLER, R A           5816 OLEANDER DR                                                                            NEWARK         CA   94560‐4835
TYLER, R D           5354 WEST 62ND ST                 APT: 241 F                                                INDIANAPOLIS   IN   46268
TYLER, RALPH G       2913 M L KING AVE                                                                           FLINT          MI   48505‐4263
TYLER, RALPH K       211 E 4TH ST                                                                                TILTON         IL   61833‐7416
TYLER, RANDALL K     9833 ELIZABETH LAKE RD                                                                      WHITE LAKE     MI   48386‐2726
TYLER, RAYMOND D     2572 THORNTON AVE                                                                           FLINT          MI   48504‐2358
TYLER, RICHARD B     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                       STREET, SUITE 600
TYLER, RICHARD D     HC 2 BOX 41‐05                                                                              EMINENCE       MO   65466‐9604
TYLER, RICHARD L     3155 S VASSAR RD                                                                            DAVISON        MI   48423‐2427
TYLER, RICHARD LEE   3155 S VASSAR RD                                                                            DAVISON        MI   48423‐2427
TYLER, ROBERT E      470 HERITAGE DR                                                                             DANVILLE       IN   46122‐1407
TYLER, ROBERT E      80‐50N ST                                                                                   FILLMORE       IN   46128
TYLER, ROBERT J      3155 N 481 W                                                                                HUNTINGTON     IN   46750‐9022
TYLER, ROBERT J      762 E STEWART AVE                                                                           FLINT          MI   48505‐5352
TYLER, ROBERT L      8910 REDFIELD DR                                                                            FORT WAYNE     IN   46819‐2337
TYLER, ROBERT L      PO BOX 39225                                                                                REDFORD        MI   48239‐0225
TYLER, ROBERT R      1808 HILLTOP LN                                                                             PANTEGO        TX   76013‐3247
TYLER, ROBERT W      885 SEBEK ST                                                                                OXFORD         MI   48371‐4458
TYLER, RONALD C      127 FREEDOM FOREST DR                                                                       LIBERTY        SC   29657‐9578
TYLER, RONALD J      1256 NORTH PARKER DRIVE                                                                     JANESVILLE     WI   53545‐0714
TYLER, ROSE I        225 S 2ND ST                                                                                LOMPOC         CA   93436‐7333
TYLER, ROY D         7930 S DURAND RD                                                                            DURAND         MI   48429‐9456
TYLER, ROY H         560 CLARION ST                                                                              CLIO           MI   48420‐1260
TYLER, ROZETTA M     2404 SALEM AVE                                                                              DAYTON         OH   45406‐2927
TYLER, SADIE         5285 FAIRTREE RD                  C/O ALFONZO TYLER                                         BEDFORD HTS    OH   44146‐1519
TYLER, SANDRA J      APT 7E                            3320 SPINNAKER LANE                                       DETROIT        MI   48207‐5004
                             09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                              Part 37 of 40 Pg 655 of 901
Name                         Address1                            Address2               Address3   Address4         City            State Zip
TYLER, SANDRA L              522 MICHIGAN NE                                                                        GRAND RAPIDS     MI 49503
TYLER, SCOTT M               1703 CRESTLINE AVENUE                                                                  CLEVELAND        OH 44109‐3025
TYLER, SEAN P                1319 CLEVELAND AVENUE                                                                  KANSAS CITY      KS 66104‐5517
TYLER, SHAJUANA P            920 PEACH HILL LN APT 303                                                              CHESTERFIELD     MO 63017‐2090
TYLER, SHIRLEY               438 SOUTH DALLAS AVENUE                                                                LANCASTER        TX 75146‐3823
TYLER, SPENCER               PO BOX 311062                                                                          FLINT            MI 48531‐1062
TYLER, SPENCER               P.O. BOX 311062                                                                        FLINT            MI 48531
TYLER, SR.,TERRANCE S        35 E HILLCREST AVE                                                                     DAYTON           OH 45405‐2825
TYLER, STEPHEN M             10420 WILLOUGHBY CIR                                                                   KEITHVILLE       LA 71047‐9564
TYLER, STEPHEN MARK          10420 WILLOUGHBY CIR                                                                   KEITHVILLE       LA 71047‐9564
TYLER, SUSAN J               85 GENESEE VIEW TRAIL                                                                  ROCHESTER        NY 14623‐2042
TYLER, SYLVIA D              2281 PINGREE                        1ST FLOOR                                          DETROIT          MI 48206
TYLER, TAMMY L               148 CEDARCROFT DR                                                                      MOORESVILLE      NC 28115‐3626
TYLER, TERRY L               7018 CRANWOOD DR                                                                       FLINT            MI 48505‐5425
TYLER, THOMAS                GUY WILLIAM S                       PO BOX 509                                         MCCOMB           MS 39649‐0509
TYLER, THOMAS A              7400 BANCROFT RD                                                                       BANCROFT         MI 48414‐9783
TYLER, THOMAS B              1071 CEDAR STREET                                                                      OXFORD           MI 48371‐3729
TYLER, THOMAS B              1071 CEDAR ST                                                                          OXFORD           MI 48371‐3729
TYLER, THOMAS R              4580 SHIMERVILLE RD                                                                    CLARENCE         NY 14031‐1810
TYLER, THOMAS T              4397 S QUAIL WAY                                                                       LITTLETON        CO 80127‐1082
TYLER, TIMOTHY M             20840 BON HEUR ST                                                                      ST CLR SHORES    MI 48081‐1808
TYLER, TIMOTHY M             2399 HAYS SMITHS GROVE RD                                                              SMITHS GROVE     KY 42171‐9131
TYLER, TIMOTHY MARTIN        2399 HAYS SMITHS GROVE RD                                                              SMITHS GROVE     KY 42171‐9131
TYLER, TODD C                612 N CHARLES ST                                                                       SAGINAW          MI 48602‐4803
TYLER, TOM C                 1204 WILLOW DR                                                                         TROTWOOD         OH 45426‐2091
TYLER, TOM C                 1204 WILLOW DR.                                                                        TROTWOOD         OH 45426‐5426
TYLER, TONY M                206 E MAPLE ST                                                                         HOLLY            MI 48442‐1644
TYLER, TYRONE L              2119 CAMINO LARGO DR                                                                   CHINO HILLS      CA 91709‐1040
TYLER, TYZIE R               54 WOOLERY LN APT A                                                                    DAYTON           OH 45415
TYLER, VIOLET B              304 CHIPAWAY DR                                                                        ALEXANDRIA       IN 46001‐2840
TYLER, VIOLET B              304 W CHIPAWAY DR                                                                      ALEXANDRIA       IN 46001‐2840
TYLER, WILLIAM D             1234 GEORGINA DR                                                                       YPSILANTI        MI 48198‐6367
TYLER, WILLIAM DELOSS        1234 GEORGINA DR                                                                       YPSILANTI        MI 48198‐6367
TYLER, WILLIAM E             5659 E NYE HWY                                                                         EATON RAPIDS     MI 48827‐9045
TYLER, WILLIAM E             7477 ORE KNOB DR                                                                       FENTON           MI 48430‐9354
TYLER, WILLIE H              512 ARTHUR AVE                                                                         PONTIAC          MI 48341‐2502
TYLER,LARRY R                1711 WESLEYAN RD                                                                       DAYTON           OH 45406‐3944
TYLER‐ALLEN, MARY A          7064 TIMBERVIEW TRL                                                                    W BLOOMFIELD     MI 48322‐3352
TYLER‐LAUBE, JOHANNA IRENE   3155 N 481 W                                                                           HUNTINGTON       IN 46750‐9022
TYLER‐OLSEN, BRENDA          14430 CYPRESS GREEN DR                                                                 CYPRESS          TX 77429‐6302
TYLESHEVSKI, JOHN P          2107 ENTRADA DR                                                                        DAYTON           OH 45431‐3009
TYLESHEVSKI, JOSEPH J        1724 SE 7TH ST                                                                         MOORE            OK 73160‐8354
TYLESHEVSKI, JOSEPH JAY      1724 SE 7TH ST                                                                         MOORE            OK 73160‐8354
TYLIA P HENRY                1416 SHARE AVE APT 103                                                                 YPSILANTI        MI 48198‐6561
TYLICZKA, DANIEL J           407 W PRICE ST                                                                         LINDEN           NJ 07036
TYLICZKA, JEROME A           647 PRINCETON RD                                                                       LINDEN           NJ 07036‐5905
TYLICZKA, PETER E            32 PHILLIPS DR                                                                         OLD BRIDGE       NJ 08857‐2414
TYLIE L BAKER                865 HIRAM DAVIS RD                                                                     LAWRENCEVILLE    GA 30045‐8614
TYLINSKI, AARON M            2296 HUDSON CIRCLE                                                                     AURORA            IL 60502‐7340
TYLINSKI, ROBERT R           5117 E 70TH ST                                                                         INDIANAPOLIS     IN 46220‐3835
TYLLIA, DEAN B               C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                               EDWARDSVILLE      IL 62025
                             ROWLAND P C
                             09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                              Part 37 of 40 Pg 656 of 901
Name                         Address1                      Address2                Address3     Address4         City               State Zip
TYLOU YOUNG                  230 FRANKLIN AVE                                                                    ALLIANCE            OH 44601‐1907
TYLUS, ANTHONY J             3521 DALE AVE                                                                       FLINT               MI 48506‐4711
TYLUS, HELEN                 3709 BEECHER RD                                                                     FLINT               MI 48503‐4974
TYLUS, LORRIE D              6405 BREWER ROAD                                                                    FLINT               MI 48507‐4605
TYLUS, MARY                  4452 JENA LN                                                                        FLINT               MI 48507‐6220
TYLUS, PHILIP F              3709 BEECHER RD                                                                     FLINT               MI 48503‐4974
TYLUS, TIMOTHY J             710 COLLINGWOOD DR                                                                  DAVISON             MI 48423‐2831
TYLUS, VIRGINIA G            345 LOYALIST LANE                                                                   FLINT               MI 48507‐5926
TYLUS, VIRGINIA G            345 LOYALIST LN                                                                     FLINT               MI 48507‐5926
TYLUTKI RONALD               TYLUTKI, EILEEN               2069 WOODBRIDGE AVE                                   EDISON              NJ 08817‐4451
TYLUTKI RONALD               TYLUTKI, RONALD               2069 WOODBRIDGE AVE                                   EDISON              NJ 08817‐4451
TYLUTKI, RONALD
TYMA, MICHAEL J              1839 ALVERNE DR                                                                     POLAND             OH    44514‐1406
TYMAN BARBEY                 PO BOX 231                                                                          BONNE TERRE        MO    63628‐0231
TYMANN, DEBORAH L            3410 WOOSTER RD APT.208A                                                            ROCKY RIVER        OH    44116
TYMANN, WILLIAM P            816 ORCHID ST                                                                       LADY LAKE          FL    32159‐6104
TYMASH, JOSEPH               1251 MAPLE AVE                                                                      ROEBLING           NJ    08554‐1607
TYMCHAK, THEODORE N          706 SALEM CT                                                                        WALLINGFORD        PA    19086‐7026
TYMCZYSZYN, JERRY M          56 BRANCH ST                                                                        ROCHESTER          NY    14621‐5525
TYME IT TRANSPORTATION       STEVE HOWELL                  3600 CHAMBERLAIN LANE                                 LOUISVILLE         KY    40241
TYME IT TRANSPORTATION INC   PO BOX 43593                                                                        LOUISVILLE         KY    40253‐0593
TYMES, ANNA MARIE            1035 E MAXLOW AVE                                                                   HAZEL PARK         MI    48030‐2376
TYMES, LEONA                 420 SOUTH OPDYKE RD           APT 8C                                                PONTIAC            MI    48341
TYMES, LEONA                 18 S SANFORD ST                                                                     PONTIAC            MI    48342‐2844
TYMES, PHILLIP J             1672 WORTHING ST SW                                                                 BYRON CENTER       MI    49315‐9359
TYMES, RONALD B              126 COVELL AVENUE SOUTHWEST                                                         GRAND RAPIDS       MI    49534‐5956
TYMES, RONALD B              126 COVELL AVE SW                                                                   GRAND RAPIDS       MI    49534‐5956
TYMES, RONALD D              11004 E KNOWLES AVE                                                                 MESA               AZ    85209‐1341
TYMEX PLASTICS INC           5300 HARVARD AVE                                                                    CLEVELAND          OH    44105‐4826
TYMICH, BRUNO K              10570 NORTHLAND DRIVE                                                               BIG RAPIDS         MI    49307‐9444
TYMICO A STONE               709 FOX AVE                                                                         YPSILANTI          MI    48198‐6197
TYMINSKI, HELEN D            17 RICHMOND DR                                                                      PLYMOUTH           CT    06782‐2117
TYMINSKI, HELEN D            17 RICHMOND DR.                                                                     PLYMOUTH           CT    06782‐2117
TYMINSKI, LOUISE F           55 WOODYBROOK RD                                                                    BRISTOL            CT    06010‐2715
TYMITZ, JEFFREY A            72885 SOLANUS DR                                                                    BRUCE TWP          MI    48065‐3165
TYMKIN, NICHOLAS             151 MARWOOD RD                                                                      ROCHESTER          NY    14616‐2745
TYMKO SZOROBURA              106 ARDMORE RD                                                                      SYRACUSE           NY    13219‐2512
TYMKO, WILLIAM S             6126 PALM SUMMIT CIR                                                                CICERO             NY    13039‐8348
TYMOC, RICHARD M             11202 CLOVIS PTE. DR.                                                               SOUTH LYON         MI    48178
TYMOSZEK, MARK T             33436 CHATSWORTH DR                                                                 STERLING HEIGHTS   MI    48312‐6119
TYMOSZEK, MARK THOMAS        33436 CHATSWORTH DR                                                                 STERLING HEIGHTS   MI    48312‐6119
TYMRAK, KENNETH              5358 FLORIA DR                                                                      SWARTZ CREEK       MI    48473‐8826
TYMRAK, PAUL M               9146 RAY RD                                                                         GAINES             MI    48436‐9717
TYMRAK, STANLEY              1825 INNISBROOK LN                                                                  SARASOTA           FL    34234‐3029
TYMRAKIEWICZ, ADAM           26052 COLMAN DR                                                                     WARREN             MI    48091‐1045
TYMRAKIEWICZ, ROSEMARIE      26052 COLMAN DR                                                                     WARREN             MI    48091‐1045
TYNAN EQUIPMENT CO           5926 STOCKBERGER PL                                                                 INDIANAPOLIS       IN    46241‐5421
TYNAN GROUP INC              2927 DE LA VINA ST                                                                  SANTA BARBARA      CA    93105
TYNAN'S SAAB                 TYNAN, SEAN H                 221 E TROUTMAN PKWY                                   FORT COLLINS       CO    80525‐8017
TYNAN, ALFRED J              5552 DOLORES AVE                                                                    BALTIMORE          MD    21227‐2727
TYNAN, LAURA L               39 W 65TH ST APT 6                                                                  WESTMONT            IL   60559‐3158
TYNAN, LAWRENCE F            60 CAYMAN ISLES BLVD                                                                ENGLEWOOD          FL    34223‐1831
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                       Part 37 of 40 Pg 657 of 901
Name                                Address1                          Address2                         Address3   Address4               City            State Zip
TYNAN, MICHAEL G                    6046 BARKER                                                                                          DRAYTON PLNS     MI 48020
TYNAN, THOMAS R                     5110 GALLAGHER BLVD                                                                                  WHITMORE LAKE    MI 48189‐9379
TYNAN, TIMOTHY P                    6323 GRACE K CT                                                                                      WATERFORD        MI 48329‐1323
TYNANS SAAB                         221 E TROUTMAN PKWY                                                                                  FORT COLLINS     CO 80525‐8017
TYNDALE THEOLOGICAL SEMINARY        6800 BRENTWOOD STAIR RD STE 102                                                                      FORT WORTH       TX 76112‐3325
TYNDALE, ELIZABETH J                6259 BARKER ST                                                                                       LANSING          MI 48911‐5502
TYNDALE, FRANCES A                  2506 ROCKDALE AVE                                                                                    LANSING          MI 48917‐1377
TYNDALL III, FRANK J                4055 W SHANGRI LA RD                                                                                 PHOENIX          AZ 85029‐3838
TYNDALL JENNIFER                    350 BOLING CT                                                                                        CUMMING          GA 30028‐6880
TYNDALL MOTORS, INC.                406 W HWY 50                                                                                         TYNDALL          SD 57066
TYNDALL MOTORS, INC.                THOMAS LOGUE                      406 W HWY 50                                                       TYNDALL          SD 57066
TYNDALL, ANTHONY J                  10369 CHAMPIONS CIR                                                                                  GRAND BLANC      MI 48439‐9442
TYNDALL, BERNYECE M                 4227 DARDENNE                                                                                        PINELAWN         MO 63120‐1207
TYNDALL, BERNYECE M                 4227 DARDENNE DR                                                                                     SAINT LOUIS      MO 63120‐1207
TYNDALL, DOYLE W                    110 SECRET GDNS                                                                                      SOCIAL CIRCLE    GA 30025‐5155
TYNDALL, KIM I                      5073 SANDALWOOD DR                                                                                   GRAND BLANC      MI 48439‐4261
TYNDALL, MARLENE K                  10369 CHAMPIONS CIR                                                                                  GRAND BLANC      MI 48439‐9442
TYNDALL, ROBERT M                   7206 WASHBURN RD                                                                                     MILLINGTON       MI 48746‐9635
TYNDALL, TERENCE S                  2252 ALLENWOOD RD                                                                                    WALL TOWNSHIP    NJ 07719‐9603
TYNDELL, BRIAN M                    2078 HANNAH DR                                                                                       WENTZVILLE       MO 63385‐4591
TYNDELL, KYLE A                     2078 HANNAH DR                                                                                       WENTZVILLE       MO 63385‐4591
TYNDELL, LOUIS B                    259A LAUREL PL                                                                                       WHITING          NJ 08759‐3074
TYNDORF, ANNELISE                   KAIMHOFWEG 1, 1‐2                                                             MARKTSCHELLENBERG BA
                                                                                                                  GERMANY D83487
TYNER JOHN E (634241)               DONALDSON & BLACK                 208 W WENDOVER AVE                                                 GREENSBORO      NC 27401‐1307
TYNER JR, ROOSEVELT                 8456 TRINITY ST                                                                                      DETROIT         MI 48228‐2843
TYNER WALTER A (169655)             BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG , 233 EAST                                     JACKSONVILLE    FL 32202
                                    MCCLAMMA & YEGELWEL P.A.          BAY STREET
TYNER ZEMRI STANLEY (439578)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510
                                                                      STREET, SUITE 600
TYNER'S TRUCK & AUTO REPAIR, INC.   130 HANCOCK RD                                                                                       ATHENS          GA   30605‐2155
TYNER, ANGELA S                     PO BOX 131011                                                                                        DAYTON          OH   45413‐1011
TYNER, BARBARA J                    14623 WACOUSTA RD                 P.O. BOX 59                                                        GRAND LEDGE     MI   48837‐9261
TYNER, CHRISTOPHER                  8705 PACKARD AVE                                                                                     WARREN          MI   48089‐5324
TYNER, DEAN A                       4583 MILES DR                                                                                        PORT ORANGE     FL   32127‐9243
TYNER, DONALD R                     7409 BRIAR HILL PKWY                                                                                 CRESTWOOD       KY   40014‐8979
TYNER, DOROTHY H                    6304 S CABRIOLET WAY                                                                                 PENDLETON       IN   46064‐8612
TYNER, FREDDY T                     6304 S CABRIOLET WAY                                                                                 PENDLETON       IN   46064‐8612
TYNER, FREDERICK E                  20438 RENFREW RD                                                                                     DETROIT         MI   48221‐1336
TYNER, GARMAYONNE D                 C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                                LITTLE ROCK     AR   72201
TYNER, GARMAYONNE D                 MOODY EDWARD O                    801 W 4TH ST                                                       LITTLE ROCK     AR   72201‐2107
TYNER, JAMES V                      15855 FERGUSON ST                                                                                    DETROIT         MI   48227‐1570
TYNER, JASON E                      270 HARVARD DR                                                                                       HOWELL          MI   48843‐1740
TYNER, JOHN E                       DONALDSON & BLACK                 208 W WENDOVER AVE                                                 GREENSBORO      NC   27401‐1307
TYNER, JONNETTE C.                  925 CUNNINGHAM                                                                                       DANVILLE        IL   61832‐5305
TYNER, LILLIAN                      1426 KUMLER AVE                                                                                      DAYTON          OH   45406‐5931
TYNER, LISA                         11550 MAXWELL LOOP RD                                                                                TUSCALOOSA      AL   35405‐9061
TYNER, MARGARET B                   1314 N C ST                                                                                          ELWOOD          IN   46036
TYNER, MAX L                        400 E STATE ROAD 124                                                                                 BLUFFTON        IN   46714‐9742
TYNER, RAYMOND E                    23630 FALL RD                                                                                        CICERO          IN   46034‐9546
TYNER, ROBERT C                     22523 GREGORY ST                                                                                     DEARBORN        MI   48124‐2761
TYNER, RONALD H                     PO BOX 59                                                                                            GRAND LEDGE     MI   48837‐0059
                            09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                 Part 37 of 40 Pg 658 of 901
Name                        Address1                          Address2                        Address3   Address4         City           State Zip
TYNER, SAMUEL G             317 S 22ND ST                                                                                 ELWOOD          IN 46036‐2115
TYNER, STEPHEN E            508 N 7 1/2 ST                                                                                PARAGOULD       AR 72450
TYNER, TEDDY J              5951 AYERS RD                                                                                 WALBRIDGE       OH 43465‐9674
TYNER, TERRY B              211 SNOW FARM RD                                                                              HULL            GA 30646‐3209
TYNER, WALTER               BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE    FL 32202
                            MCCLAMMA & YEGELWEL P.A.          BAY STREET
TYNER, WALTER L             18621 ROBSON ST                                                                               DETROIT        MI   48235‐2808
TYNER, WILLIAM F            1184 TR 1706                                                                                  ASHLAND        OH   44805
TYNER, WILLIE B             3181 CANTON ST                                                                                DETROIT        MI   48207‐2541
TYNER, WILLIE B             3181 CANTON                                                                                   DETROIT        MI   48207‐2541
TYNER, ZEMRI STANLEY        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA   23510‐2212
                                                              STREET, SUITE 600
TYNER,ANGELA S              752 KENILWORTH AVE                                                                            DAYTON         OH   45405‐4044
TYNES, CLINT E              325 WILSON SHARPSVILLE RD.                                                                    WARREN         OH   44481‐9381
TYNES, CLINT E              325 STATE ROUTE 305 RD NW                                                                     WARREN         OH   44481‐9381
TYNES, JOHN B               11321 MINOCK ST                                                                               DETROIT        MI   48228‐1309
TYNES, MARIE                6387 DALTON DR                                                                                FLUSHING       MI   48433‐2368
TYNES, VERA W               3919 ADRIAN DR SE                                                                             WARREN         OH   44484‐2747
TYNES, WILLIAM C            5302 BIRCHCREST DR                                                                            SWARTZ CREEK   MI   48473‐1070
TYNESHIA M TRINITY          70 FOREST ST                                                                                  PONTIAC        MI   48342‐1323
TYNESHIA TRINITY            70 FOREST ST                                                                                  PONTIAC        MI   48342‐1323
TYNON, KENNETH J            603 MORRIS ST                                                                                 OGDENSBURG     NY   13669‐3417
TYNON, KENNETH JOSEPH       603 MORRIS ST                                                                                 OGDENSBURG     NY   13669‐3417
TYNON, NELSON C             1853 JAY ST                                                                                   OGDENSBURG     NY   13669‐2929
TYO III, LAWRENCE ANTHONY   141 N MAIN ST                                                                                 MASSENA        NY   13662‐1125
TYO TERRANCE                45 SHALLOW RIVER RD                                                                           MASSENA        NY   13662‐3471
TYO, DANA K                 715 SHENANDOAH DR                                                                             COLUMBIA       TN   38401‐6120
TYO, DANIEL R               76 RIVER DR WILSON HILL                                                                       MASSENA        NY   13662
TYO, LAWRENCE A             24 STANTON RD                                                                                 MASSENA        NY   13662‐3235
TYO, REGINALD W             11 WOODLAWN AVE                                                                               MASSENA        NY   13662‐1535
TYO, TERRANCE J             45 SHALLOW RIVER RD                                                                           MASSENA        NY   13662‐3471
TYO, TERRANCE J.            45 SHALLOW RIVER RD                                                                           MASSENA        NY   13662‐3471
TYPER, PHYLLIS J            2199 SOUTHPARK RD                                                                             FLORISSANT     CO   80816‐8991
TYRA A MARTS                739 HARBOR DR                                                                                 LEBANON        OH   45036
TYRA CARMICHAEL
TYRA L ROBBINS              1523 OAKRIDGE DR                                                                              DAYTON         OH   45417
TYRA L SHEPPARD             4625 COVE CT                                                                                  TROTWOOD       OH   45416‐1329
TYRA PORTER                 146 S MAPLE ST                                                                                AKRON          OH   44302‐1605
TYRA R ADDISON              1549 APPLETON CT                                                                              COLUMBUS       OH   43232
TYRA'S AUTO REPAIR          6363 LONG DR STE B                                                                            HOUSTON        TX   77087‐3469
TYRA, ALBERT W              7618 HONNEN DR N                                                                              INDIANAPOLIS   IN   46256‐3230
TYRA, BRUCE C               98 MCNOMEE ST                                                                                 OAKLAND        NJ   07436‐2636
TYRA, BRUCE CHARLES         98 MCNOMEE ST                                                                                 OAKLAND        NJ   07436‐2636
TYRA, CURTIS D              4404 WINNERS CT                                                                               INDIANAPOLIS   IN   46203‐6242
TYRA, DENZIL R              727 N BARCLAY ST                                                                              FAIRMOUNT      IN   46928‐1212
TYRA, HAROLD W              5236 FLINTSTONE DR                                                                            INDIANAPOLIS   IN   46237‐3016
TYRA, JUANITA P             3825 FIESTA WAY                                                                               MIDDLETOWN     OH   45044‐6113
TYRA, MAUDIE N              130 UPPER CANE CREEK RD                                                                       STANTON        KY   40380‐9713
TYRA, PAUL                  5925 NORWELL DR                                                                               DAYTON         OH   45449‐3109
TYRA, RICHARD T             17985 DICE RD                                                                                 HEMLOCK        MI   48626‐9637
TYRA, RONNIE L              1835 THIRED ST                                                                                WYANDOTTE      MI   48192
TYRA, WILLIAM E             3825 FIESTA WAY                                                                               MIDDLETOWN     OH   45044‐6113
                             09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                Part 37 of 40 Pg 659 of 901
Name                         Address1                           Address2                        Address3   Address4         City              State Zip
TYRANE THOMPSON              430 KIMMEL DR                                                                                  CEDAR HILL         TX 75104‐5019
TYRANSKI, RONALD R           6054 BROCKWAY ST                                                                               COMMERCE TWP       MI 48382‐2518
TYRE TILMAN                  11375 CHEYENNE ST                                                                              DETROIT            MI 48227‐3776
TYRE'S AUTO SERVICE          105 NE 1ST RD                                                                                  HOMESTEAD          FL 33030‐6112
TYRE, ROBERT W               206 TRINITY AVE                                                                                WILMINGTON         DE 19804‐3642
TYRECE SNOWDEN               6216 ANNE DR                                                                                   WEST BLOOMFIELD    MI 48322‐3141
TYREE BROWN                  1992 CASE ST                                                                                   TWINSBURG          OH 44087‐2046
TYREE EMMETT A JR (344033)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                STREET, SUITE 600
TYREE JR, ALFRED F           6471 GILLS WAY                                                                                 PAHRUMP           NV   89061‐7530
TYREE JR, BILLY K            138 BOARDMAN BLVD                                                                              BOARDMAN          OH   44512‐6044
TYREE JR, JAMES T            21 W SANDFORD BLVD APT 2F                                                                      MOUNT VERNON      NY   10550‐4446
TYREE L FIELDS               2009 RANDY SCOTT DR.                                                                           W. CARROLLTON     OH   45449‐2613
TYREE LANGSTON               9507 ELM ST                                                                                    TAYLOR            MI   48180‐3494
TYREE MCCULLOUGH             1700 CROOKS RD                                                                                 ROCHESTER HLS     MI   48309‐2942
TYREE ORGANIZATION LTD.                                         125 COMMERCE DR                                                               CT   06804
TYREE ORGANIZATION,LTD       JED DIEMER                         208 ROUTE 109                                               FARMINGDALE       NY   11735‐1503
TYREE SR, BILLY K            PO BOX 747                                                                                     BARBERTON         OH   44203‐0747
TYREE THOMPSON               212 WAKELAND DR                                                                                RAYMOND           MS   39154‐8819
TYREE WANDA (448360)         BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH   44067
                                                                PROFESSIONAL BLDG
TYREE WILBURN                1761 PLIMPTON AVE                                                                              BENTON HARBOR     MI   49022‐8139
TYREE WILLIAMS               6310 FLEMING RD                                                                                FLINT             MI   48504‐1612
TYREE, BELVIE                3062 VINELAND TRAIL                                                                            DAYTON            OH   45430‐1805
TYREE, BERNARD E             3075 S KESSLER RD                                                                              WEST MILTON       OH   45383‐8717
TYREE, BERNARD E             9653 SWEET POTATO RIDGE RD                                                                     BROOKVILLE        OH   45309‐9610
TYREE, CARLOS R              112 W CHURCH ST                                                                                THORNTOWN         IN   46071‐1005
TYREE, CRAWFORD              508 S RACCOON RD APT 53                                                                        YOUNGSTOWN        OH   44515‐3630
TYREE, DORIAN E              14044 GRANDMONT AVE                                                                            DETROIT           MI   48227‐1374
TYREE, DORRIS W              4711 OLD SMITH VALLEY RD                                                                       GREENWOOD         IN   46143‐8842
TYREE, EDWARD                APT 1302                           9005 WALKER ROAD                                            SHREVEPORT        LA   71118‐2484
TYREE, EDWARD T              9005 WALKER RD APT 1302                                                                        SHREVEPORT        LA   71118‐2484
TYREE, EMMETT A              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510‐2212
                                                                STREET, SUITE 600
TYREE, ESSIE L               918 N BLAINE ST                                                                                MUNCIE            IN   47303‐5005
TYREE, EVONNE C              23 WESTBROOK CT                                                                                ROSELLE           NJ   07203‐2470
TYREE, GREGORY A             12380 ELMS RD                                                                                  BIRCH RUN         MI   48415‐8768
TYREE, HARVEY C              361 TYREE RD                                                                                   CAMP CREEK        WV   25820‐9103
TYREE, JAMES A               4032 GROVE AVE                                                                                 NORWOOD           OH   45212‐4036
TYREE, JAMES C               7764 HYTHE CIR                                                                                 CENTERVILLE       OH   45459‐5459
TYREE, JEFF C                295 VALLEY CREEK DR                                                                            CABOT             AR   72023‐5116
TYREE, JOHN P                515 MOHERMAN AVE                                                                               YOUNGSTOWN        OH   44509‐1847
TYREE, KAREN G               103 BREWSTER DR                                                                                NEWARK            DE   19711‐6635
TYREE, KATHRYN A             1713 LINDBERG RD                                                                               ANDERSON          IN   46012‐2709
TYREE, LARRY                 1176 FRAGALA ST                                                                                RAYVILLE          LA   71269‐5567
TYREE, LEE A                 5520 HIGHWAY 9 S                                                                               SALEM             AR   72576‐9462
TYREE, LENORE L              PO BOX 130                                                                                     MUNCIE            IN   47308‐0130
TYREE, MARCUS T              3602 BURTON PLACE                                                                              ANDERSON          IN   46013‐5246
TYREE, MARJORIE J            562 WOODSFERRY ROAD                                                                            BEDFORD           IN   47421‐8371
TYREE, MARY R                21000 FATHER HURLEY BLVD           APT 218                                                     GERMANTOWN        MD   20874
TYREE, MARY R                21000 FATHER HURLEY BLVD APT 218                                                               GERMANTOWN        MD   20874‐5910
TYREE, NORMAN                447 AINSWORTH CIR                                                                              YPSILANTI         MI   48197‐5342
                                09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                                     Part 37 of 40 Pg 660 of 901
Name                            Address1                          Address2                       Address3   Address4                 City               State Zip
TYREE, RALPH                    149 MILDRED RD                                                                                       MC KEE              KY 40447‐9444
TYREE, REVA P
TYREE, RICHARD P                232 E 60TH ST                                                                                        SAVANNAH           GA   31405‐4223
TYREE, ROGER G                  25131 WOODRUFF RD                                                                                    FLAT ROCK          MI   48134‐1360
TYREE, RONALD D                 266 DARR DR                                                                                          HARVEST            AL   35749‐9474
TYREE, ROY W                    5711 W 64TH PL                                                                                       CHICAGO            IL   60638‐5530
TYREE, RUTH A.                  8862 WASHINGTON COLONY DR.                                                                           CENTERVILLE        OH   45458‐3315
TYREE, RUTH M                   3374 WEATHERED ROCK CIR                                                                              KOKOMO             IN   46902‐6066
TYREE, SANDRA E                 11690 PLAZA DR APT 7                                                                                 CLIO               MI   48420‐1741
TYREE, WANDA                    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD         OH   44067
                                                                  PROFESSIONAL BLDG
TYREE, WILLIAM P                4409 DOWNERS DR                                                                                      DOWNERS GROVE      IL   60515‐2729
TYREECE E TAYLOR                1332 STILLWATER LN                                                                                   DAYTON             OH   45415
TYREESE CONNOR                  629 E GENESEE ST                                                                                     FLINT              MI   48505‐4302
TYREESE L LEWIS                 4233 ARDERY                                                                                          DAYTON             OH   45406‐‐ 00
TYRELL COOK                     4205 BLACKBERRY CREEK DR                                                                             BURTON             MI   48519
TYRELL RUDOLPH SR (419093)      ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                         BALTIMORE          MD   21202
                                                                  CHARLES CENTER 22ND FLOOR
TYRELL TADEMY                   1851 ALLENWAY CT                                                                                     ROCHESTER HILLS    MI   48309‐3314
TYRELL, AGNES L                 10241 NORTHLAND DR NE                                                                                ROCKFORD           MI   49341‐9730
TYRELL, DEBORAH                 1111 ZUNI DR                                                                                         BURTON             MI   48509‐1448
TYRELL, MICHAEL S               1660 KLOCKNER RD APT 1                                                                               TRENTON            NJ   08619‐3107
TYRELL, RUDOLPH                 ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                          BALTIMORE          MD   21202
                                                                  CHARLES CENTER 22ND FLOOR
TYRER, BRENDA J                 1931 DUPONT DR UNIT 105                                                                              JANESVILLE         WI   53545‐2871
TYRER, JUDY A                   2928 ROYAL PALM DR                                                                                   NORTH PORT         FL   34288
TYRER, LARRY D                  APT B1                            17431 EAST US HIGHWAY 40                                           INDEPENDENCE       MO   64055‐6426
TYRER, REVA A                   184 SANDSTONE DR                                                                                     TAYLORS            SC   29687‐6640
TYRER‐ CREECH, MARJORIE K       8853 NEW CASTLE DR                                                                                   FORT MYERS         FL   33908‐5658
TYRETHA BASTON                  1308 N 23RD ST                                                                                       SAGINAW            MI   48601‐1300
TYRETHER SIMMONS                3545 HERMOSA DR                                                                                      DAYTON             OH   45416‐1143
TYREY, DONALD G                 107 N MEADOW LN                                                                                      MONTGOMERY CITY    MO   63361‐2100
TYRIA, BILLY E                  23483 60TH AVE R#2                                                                                   MATTAWAN           MI   49071
TYRIE BREWER                    7375 AMHURST TER                                                                                     COLLEGE PARK       GA   30349‐7938
TYRIS HURLEY                    4018 VIOLET LN                                                                                       MATTESON           IL   60443‐1942
TYRKA, MICHAEL J                101 DALEVIEW CIRCLE                                                                                  DECATUR            AL   35603
TYRNA, CLAUDIA C                320 OXFORD CT                                                                                        BELLEVILLE         MI   48111‐4927
TYRO, ROSE                      29148 BIRCHCREST DR                                                                                  WARREN             MI   48093‐2480
TYROLIT ABRASIVES CANADA CORP   555 SECRETARIAT CT                                                          MISSISSAUGA ON L5S 2A5
                                                                                                            CANADA
TYROLIT WICKMAN INC             10325 CAPITAL ST                                                                                     OAK PARK           MI   48237‐3139
TYRON L SHIPP                   918 S GOLDEN WEST AVE                                                                                SANTA ANA          CA   92704‐2821
TYRON RELEFORD                  1924 KLINGENSMITH RD UNIT 70A                                                                        BLOOMFIELD HILLS   MI   48302‐0262
TYRONE A BELIN                  5923 N 34TH ST                                                                                       MILWAUKEE          WI   53209‐4046
TYRONE A DAVIS                  1041 E KURTZ AVE                                                                                     FLINT              MI   48505‐1511
TYRONE A WASHINGTON             C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                          HOUSTON            TX   77007
                                BOUNDAS LLP
TYRONE ALFORD SR                148‐08 133RD AVE                  SOUTH OZONE PARK                                                   NEW YORK           NY   10030
TYRONE ALSTON                   9630 SW FLOWERMOUND CIR                                                                              PORT ST LUCIE      FL   34987‐2436
TYRONE ASHLEY                   17456 HAMBURG ST                                                                                     DETROIT            MI   48205‐3142
TYRONE ATKINS                   5499 LITCHFIELD DR                                                                                   FLINT              MI   48532‐4040
TYRONE B ANDERSON               3900 DALECREST DR APT 2072                                                                           LAS VEGAS          NV   89129
                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 661 of 901
Name                   Address1                         Address2          Address3         Address4         City                    State Zip
TYRONE BEAN            861 DELAWARE ST                                                                      DETROIT                  MI 48202‐2301
TYRONE BEDFORD         46545 RED RIVER DR                                                                   MACOMB                   MI 48044‐5440
TYRONE BEEBE           7775 SHERIDAN RD                                                                     MILLINGTON               MI 48746‐9619
TYRONE BEEBE JR        3652 STANLEY RD                                                                      COLUMBIAVILLE            MI 48421‐9349
TYRONE BLALOCK         519 17TH AVE                                                                         MIDDLETOWN               OH 45044‐5630
TYRONE BLANCHARD       707 N MONROE ST APT 1                                                                LAPEER                   MI 48446
TYRONE BLAND           3303 WREN LN                                                                         ROCHESTER HILLS          MI 48309‐5300
TYRONE BOYD            4204 N OCEAN DR APT 2                                                                LAUDERDALE BY THE SEA    FL 33308
TYRONE BRADFORD        PO BOX 681                                                                           SNELLVILLE               GA 30078‐0681
TYRONE BROOKS          2172 S BELVOIR BLVD                                                                  UNIVERSITY HT            OH 44118‐3312
TYRONE BRYANT          3258 TOTH RD                                                                         SAGINAW                  MI 48601‐5766
TYRONE C HARBIN        666 W BETHUNE ST APT 801                                                             DETROIT                  MI 48202‐2747
TYRONE C TURLEY        53 CROWN AVENUE                                                                      DAYTON                   OH 45427‐2917
TYRONE C WELLS         15901 BAYLIS STREET                                                                  DETROIT                  MI 48238‐1539
TYRONE CARPENTER       334 W 38TH ST                                                                        INDIANAPOLIS             IN 46208‐4210
TYRONE CHARLEY         124 MORSE AVE                                                                        NILES                    OH 44446‐2510
TYRONE CHERRY          PO BOX 2022                                                                          OLIVE BRANCH             MS 38654‐2209
TYRONE CLIFTON JR      830 SEVILLE ROW                                                                      DETROIT                  MI 48202‐2602
TYRONE COMBS           47 N GLENWOOD AVE                                                                    PONTIAC                  MI 48342‐1504
TYRONE CONNER          1322 BARBARA DR                                                                      FLINT                    MI 48505‐2594
TYRONE CORMIER         4855 EVA ST                                                                          SAGINAW                  MI 48601‐6975
TYRONE COX             6473 W FAYETTEVILLE RD                                                               RIVERDALE                GA 30296‐2520
TYRONE D FAMBRO        532 HORTON ST                                                                        DETROIT                  MI 48202‐3137
TYRONE D MURRY         499 SMITHDALE ST                                                                     WINSTON SALEM            NC 27107‐7654
TYRONE D ROBINSON      431 SHADYWOOD DRIVE                                                                  CLAYTON                  OH 45415
TYRONE DALTON          499 VILLAGE SQUARE DR                                                                CENTERVILLE              OH 45458‐4049
TYRONE DANIELS         4525 SYLVAN DRIVE                                                                    DAYTON                   OH 45417‐1260
TYRONE DANIELS         404 TEXAS AVE N                                                                      HOPKINS                  MN 55343‐1916
TYRONE DANIELS         4525 SYLVAN DR                                                                       DAYTON                   OH 45417‐1260
TYRONE DANIELS I I I   3801 BAUER DR APT 7                                                                  SAGINAW                  MI 48604‐1839
TYRONE DAVIS           4903 FLEET RD                                                                        TOLEDO                   OH 43615‐3859
TYRONE DAVIS           2734 OAKMAN BLVD                                                                     DETROIT                  MI 48238‐2528
TYRONE DERRICK         4537 WAYMIRE AVE                                                                     DAYTON                   OH 45406‐2418
TYRONE DOWDELL         3475 STUDOR RD                                                                       SAGINAW                  MI 48601‐5740
TYRONE E BOYD          4204 NORTH OCEAN DRIVE APT 2                                                         LAUDERDALE BY THE SEA    FL 33308
TYRONE EVANS           8913 BENT GRASS LOOP W                                                               SOUTHAVEN                MS 38671‐5368
TYRONE FEARS           PO BOX 6221                                                                          YOUNGSTOWN               OH 44501‐6221
TYRONE FERRELL         4142 ASPEN CIR                                                                       GRAND BLANC              MI 48439‐3505
TYRONE FOARD           1407 SCHENE                      APT. 303                                            DETROIT                  MI 48207
TYRONE FOSTER          1323 MALZAHN ST                                                                      SAGINAW                  MI 48602‐2940
TYRONE FRAZIER         1602 JAMIE DR                                                                        COLUMBIA                 TN 38401‐5441
TYRONE GADSON          4380 SPRINGBROOK LN                                                                  GARDENDALE               AL 35071‐4115
TYRONE GATLING         2671 W VILLAGE DR                                                                    TOLEDO                   OH 43614‐4790
TYRONE GAUSE           436 N 22ND ST                                                                        EAST SAINT LOUIS          IL 62205‐1745
TYRONE GOOGER          PO BOX 71031                                                                         TUSCALOOSA               AL 35407‐1031
TYRONE GORDON          35 ELEANOR AVE                                                                       YOUNGSTOWN               OH 44509‐2823
TYRONE GORE            951 SMILEY AVE                                                                       CINCINNATI               OH 45240‐1836
TYRONE GRANDY          2010 PAULETTE RD APT 203                                                             BALTIMORE                MD 21222‐5861
TYRONE GRIFFIN         755 SAINT ANDREWS DR APT 5‐207                                                       MURFREESBORO             TN 37128‐6551
TYRONE GRIFFIN         1921 SEYMOUR AVE                                                                     FLINT                    MI 48503‐4340
TYRONE HARRIS          3403 TOWNSEND ST                                                                     DETROIT                  MI 48214‐1732
TYRONE HENNIE          822 PALMER DR                                                                        PONTIAC                  MI 48342‐1858
                   09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                     Part 37 of 40 Pg 662 of 901
Name               Address1                        Address2                    Address3   Address4         City            State Zip
TYRONE HENRY       22105 HILLVIEW LN                                                                       BEVERLY HILLS    MI 48025‐4819
TYRONE HOLLEY      19128 SUNDERLAND RD                                                                     DETROIT          MI 48219‐2714
TYRONE HUDSON      462 E MARIPOSA ST                                                                       UPLAND           CA 91784‐2078
TYRONE HUGHES
TYRONE JACK        APT 203                         2188 NORFOLK                                            ROCHESTER HLS   MI   48309‐3169
TYRONE JACKSON     27205 SHERWOOD RD                                                                       BELLEVILLE      MI   48111‐8802
TYRONE JEFFERSON   PO BOX 5043                                                                             KOKOMO          IN   46904‐5043
TYRONE JOHNSON     3110 NORTHWEST DR                                                                       SAGINAW         MI   48603‐2332
TYRONE JOHNSON     465 N KENILWORTH AVE                                                                    LIMA            OH   45805‐2417
TYRONE JONES       PO BOX 584                                                                              MOUNDVILLE      AL   35474‐0584
TYRONE JORDAN      5504 EAGLEVIEW CT                                                                       CLARKSTON       MI   48348‐5173
TYRONE JORDAN      18745 ADDISON DR                                                                        SOUTHFIELD      MI   48075‐2606
TYRONE KNOX        551 HOLLY ST NW                                                                         ATLANTA         GA   30318‐8143
TYRONE L DERRICK   4505 WAYMIRE AVE                                                                        DAYTON          OH   45406
TYRONE L MALONE    C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                               HOUSTON         TX   77007
                   BOUNDAS LLP
TYRONE L YOUNCE    303 SUNRISE AVE                                                                         BROOKVILLE      OH   45309‐1349
TYRONE LAWRENCE    6610 CONESTOGA DR                                                                       LANSING         MI   48917‐8863
TYRONE LAWRENCE    3613 ALAMEDA CIR                                                                        BALTIMORE       MD   21218‐2148
TYRONE M BLAKE     35 KOHLMAN ST                                                                           ROCHESTER       NY   14621‐3325
TYRONE M BLAKE     35 KHOLMAN ST                                                                           ROCHESTER       NY   14621
TYRONE M HART      9977 WORNOM AVE                                                                         SUNLAND         CA   91040
TYRONE MANGRUM     2011 W 18TH ST                                                                          ANDERSON        IN   46016‐3704
TYRONE MAYNIE      3320 CLEMENT ST                                                                         FLINT           MI   48504‐2922
TYRONE MAZZONE     323 FREDERICKA ST                                                                       N TONAWANDA     NY   14120‐2649
TYRONE MCCOLLINS   13933 CLOVERLAWN ST                                                                     DETROIT         MI   48238‐2415
TYRONE MCGINNIS    PO BOX 9022                     C/O GM KOREA                                            WARREN          MI   48090‐9022
TYRONE MEDLEY      1750 W HOWARD RD                                                                        BEAVERTON       MI   48612‐9418
TYRONE MILLEN      50 GLANWORTH ST                                                                         LAKE ORION      MI   48362‐3400
TYRONE MOORE       17286 PENNSYLVANIA HEIGHTS DR                                                           BROWNSTOWN      MI   48174‐2999
TYRONE MUSE        3058 PINE MEADOW DR SW                                                                  GRANDVILLE      MI   49418‐2584
TYRONE NELSON      201 N SQUIRREL RD APT 314                                                               AUBURN HILLS    MI   48326
TYRONE NOLES       3356 BASELINE RD                                                                        GRAND ISLAND    NY   14072‐1065
TYRONE P FOARD     1407 SCHENE APT 303                                                                     DETROIT         MI   48207
TYRONE P SIMMONS   9194 WINTHROP ST                                                                        DETROIT         MI   48228‐2160
TYRONE PARKER      1134 BALDWIN AVE                                                                        PONTIAC         MI   48340‐2706
TYRONE POWELL      2807 W 18TH ST                                                                          ANDERSON        IN   46011‐4028
TYRONE POWELL      3865 VANGUARD DR                                                                        SAGINAW         MI   48604‐1822
TYRONE POWERS      383 NIAGARA FALLS BLVD                                                                  AMHERST         NY   14226‐3030
TYRONE PROBY       7143 PINE OAK LN                                                                        GREENWOOD       LA   71033‐3377
TYRONE R COLEMAN   777 BURNHAM                                                                             BRANDON         MS   39042‐2052
TYRONE R KERLEY    41 W. NOTTINGHAM RD.                                                                    DAYTON          OH   45405
TYRONE R REID      791 FAIRGROVE WAY                                                                       DAYTON          OH   45426
TYRONE REED        22084 W LA PASADA BLVD                                                                  BUCKEYE         AZ   85326‐8977
TYRONE REID        791 FAIRGROVE WAY                                                                       DAYTON          OH   45426‐2210
TYRONE ROBERSON    5338 OSAGE AVE                                                                          KANSAS CITY     MO   64133‐7713
TYRONE ROBINSON    3747 RIVERCHASE WAY                                                                     DECATUR         GA   30034‐4881
TYRONE RODGERS     1933 S BEATRICE ST                                                                      DETROIT         MI   48217‐2317
TYRONE ROMANO      128 CLIPPER DR                                                                          MIDDLETOWN      DE   19709‐9258
TYRONE SANDERS     5036 HIGHWOOD DR                                                                        FLINT           MI   48504‐1218
TYRONE SCHARRER    2858 ROSEWOOD ST                                                                        HUDSONVILLE     MI   49426‐9702
TYRONE SEARCY      2104 CUNNINGHAM DR. APT #104                                                            HAMPTON         VA   23666‐2547
                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                         Part 37 of 40 Pg 663 of 901
Name                  Address1                        Address2                        Address3   Address4         City               State Zip
TYRONE SHUMYLA        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS          OH 44236
TYRONE SMITH          700 COOLIDGE ST                                                                             PLAINFIELD          NJ 07062‐2120
TYRONE STARLING       PO BOX 6962                                                                                 ARLINGTON           TX 76005‐6962
TYRONE SWEENEY        4744 BLOODHOUND ST                                                                          ORLANDO             FL 32818‐8735
TYRONE T DALTON       499 VILLAGE SQUARE DR                                                                       CENTERVILLE         OH 45458‐4049
TYRONE T MOSLEY       452 CHANDLER ST                                                                             DETROIT             MI 48202‐2829
TYRONE THOMAS         131 MOTON DR                                                                                SAGINAW             MI 48601‐1465
TYRONE THOMPSON       PO BOX 55                                                                                   MCCURTAIN           OK 74944‐0055
TYRONE THOMPSON       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                   HOUSTON             TX 77007
                      BOUNDAS LLP
TYRONE TIREY          4915 VIRGINIA COURT                                                                         TAYLOR MILL        KY   41015‐1947
TYRONE TOWNSEND       PO BOX 16282                                                                                LANSING            MI   48901‐6282
TYRONE TUCKER         19249 EUREKA ST                                                                             DETROIT            MI   48234‐2123
TYRONE TYLER          2119 CAMINO LARGO DR                                                                        CHINO HILLS        CA   91709‐1040
TYRONE UNDERWOOD      3471 DENVER AVE                                                                             YOUNGSTOWN         OH   44505‐1975
TYRONE V CHARLEY      124 MORSE AVE                                                                               NILES              OH   44446‐2510
TYRONE VAUGHN         341 CARRIAGE DR                                                                             WERNERSVILLE       PA   19565‐9453
TYRONE WALKER         147 HUNTINGTON PL                                                                           CINCINNATI         OH   45219‐1807
TYRONE WELLS          15901 BAYLIS STREET                                                                         DETROIT            MI   48238‐1539
TYRONE WEST           47 PINEGROVE RD                                                                             CUMBERLAND         VA   23040‐2110
TYRONE WILLIAMS       PO BOX 5024                                                                                 FLINT              MI   48505‐0024
TYRONE WILLIAMS       7307 AMBASSADOR DR                                                                          RIVERDALE          GA   30296‐1925
TYRONE WILLIAMS       201 ARCH STREET                                                                             AKRON              OH   44304‐1405
TYRONE WILLIAMS       5151 TUXEDO ST                                                                              DETROIT            MI   48204‐1359
TYRONE WILLIAMS       PO BOX 401014                   LADON'S GUARDIANSHIP SERVICES                               REDFORD            MI   48240‐9014

TYRONE WILLIAMS       PO BOX 401014                                                                               REDFORD            MI   48240‐9014
TYRONE WILSON         3918 ROLAND CIRCLE                                                                          DAYTON             OH   45406‐3538
TYRONE YOUNG          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS         OH   44236
TYRONE, EDWARD        GRANTHAM & ARDOIN LLP           2411 N MAIN ST                                              HOUSTON            TX   77009‐7733
TYRONGELA GREEN       7800 YOUREE DR APT 2400A                                                                    SHREVEPORT         LA   71105‐5540
TYRPAK, JOHN S        23 SMITH DR                                                                                 LACKAWANNA         NY   14218‐3636
TYRRELL DEMAN         1769 GINTER RD                                                                              DEFIANCE           OH   43512‐8724
TYRRELL, DAN C        1219 NOTTINGHAM DR                                                                          NORTHVILLE         MI   48167‐8712
TYRRELL, DAVID W      1321 MINUET ST                                                                              HENDERSON          NV   89052‐6433
TYRRELL, DELLA L      9462 SUGAR BEND TRAIL                                                                       DAYTON             OH   45458‐3862
TYRRELL, DOLORES D    7366 POTTER RD                                                                              FLUSHING           MI   48433‐9414
TYRRELL, DONALD J     8858 GOODALE AVE                                                                            UTICA              MI   48317‐5728
TYRRELL, DONALD S     671 MILLER RD                                                                               LAKE ORION         MI   48362‐3658
TYRRELL, GEORGE L     224 KELLY AVE                                                                               HALF MOON BAY      CA   94019‐1532
TYRRELL, HUGH T       10375 GOLFSIDE DR                                                                           GRAND BLANC        MI   48439‐9441
TYRRELL, JAMES L      798 CLARA AVE                                                                               PONTIAC            MI   48340‐2038
TYRRELL, JOSEPH B     209 HURSTDALE DR                                                                            PRUDENVILLE        MI   48651‐9425
TYRRELL, KELLY D      7277 MENGE                                                                                  CENTER LINE        MI   48015‐1208
TYRRELL, KEVIN P      2607 E HURLEY POND RD                                                                       WALL TOWNSHIP      NJ   07719‐9776
TYRRELL, MARLENE L.   28 LONGS AVE                                                                                TONAWANDA          NY   14150‐2342
TYRRELL, MICHAEL J    793 STOWELL DR APT 4                                                                        ROCHESTER          NY   14616‐1837
TYRRELL, ROBERT C     1312 NEWBURY DR                                                                             NORMAN             OK   73071‐3864
TYRRELL, ROBERT Q     746 TRUESDALE ROAD                                                                          YOUNGSTOWN         OH   44511‐3566
TYRRELL, ROBYN        99611 OVERSEAS HWY                                                                          KEY LARGO          FL   33037‐4344
TYRRELL, ROSANDA      33120 KARIN DR APT 206                                                                      STERLING HEIGHTS   MI   48310‐6242
TYRRELL, ROSEMARY     746 TRUESDALE RD                                                                            YOUNGSTOWN         OH   44511‐4511
                                    09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                     Part 37 of 40 Pg 664 of 901
Name                                Address1                      Address2                      Address3   Address4               City              State Zip
TYRRELL, SHARON                     251 W STATE ST                                                                                MONTROSE           MI 48457‐9748
TYRRELL, WILLIAM J                  880 SHELMAR LN                                                                                ORTONVILLE         MI 48462‐9783
TYRRELL‐DOYLE CHEVROLET COMPANY     2142 W LINCOLNWAY                                                                             CHEYENNE           WY 82001‐3317
TYRRELL‐DOYLE CHEVROLET COMPANY     DAVID DOYLE                   2142 W LINCOLNWAY                                               CHEYENNE           WY 82001‐3317
TYRRELL‐MARXEN CHEVROLET, OLDSMOBIL 1118 W ROUTE 66                                                                               FLAGSTAFF          AZ 86001‐6214

TYRRELL‐MARXEN CHEVROLET,          TERRENCE MARXEN                1118 W ROUTE 66                                                 FLAGSTAFF         AZ   86001‐6214
OLDSMOBILE
TYRRELL‐MARXEN CHEVROLET,          TERRENCE MARXEN                1118 W ROUTE 66                                                 FLAGSTAFF         AZ   86001‐6214
OLDSMOBILE, CADILLAC, INC.
TYRRELL‐MARXEN CHEVROLET,          1118 W ROUTE 66                                                                                FLAGSTAFF         AZ   86001‐6214
OLDSMOBILE, CADILLAC, INC.
TYRSA TROQUELADOS SA DE CV         CARRETERA A TEQUISQUIAPAN      KM 7.5 SAN JUAN DEL RIO QRO              SAN JUAN DEL RIO QRO
                                                                                                           MEXICO
TYRSA TROQUELADOS SA DE CV         HUGO OLVERA RIOS               CARR TEQUIS KM 7.5                                              BOWLING GREEN     KY   42101
TYRUS CLARKSON                     5408 AMENO LN                                                                                  SWARTZ CREEK      MI   48473‐8884
TYRUS DWELLINGHAM                  1155 SCHULTE RD                                                                                CREVE COEUR       MO   63141
TYRUS EICKHOFF                     1217 RISECLIFF DR                                                                              GRAND BLANC       MI   48439‐8856
TYRUS FOUCHEY                      16417 SOMERSET DR                                                                              BROOMFIELD        CO   80023‐8080
TYRUS SCARBOROUGH                  PO BOX 65                      410 VAN WERT                                                    LATTY             OH   45855‐0065
TYRUS STINE                        6688 LAMIE HWY                                                                                 VERMONTVILLE      MI   49096‐9543
TYRUS WILCOX                       3735 DELAWARE AVE APT 117                                                                      KENMORE           NY   14217‐1059
TYS, MARIAN                        2599 WHITBY CT                                                                                 SHELBY TWP        MI   48316‐1247
TYS, MARILYNN D                    5657 SKYLITE LN                                                                                SHELBY TOWNSHIP   MI   48316‐1659
TYSAR, LEO B                       6439 HOLLYHOCK TRL                                                                             BRIGHTON          MI   48116‐2207
TYSHA M RAMPS                      150 ELINOR DRIVE                                                                               SPRINGBORO        OH   45066‐1316
TYSHANDA M BUTLER                  84 W BETHUNE ST                                                                                DETROIT           MI   48202‐2707
TYSHAWN GRIGGS                     10 TREEHAVEN RD                                                                                BUFFALO           NY   14215‐1317
TYSHAWNA B WRIGHT                  2032 REPUBLIC DR.                                                                              DAYTON            OH   45414
TYSHE K STYLES                     38 KASSUL PL                                                                                   SOMERSET          NJ   08873‐2612
TYSIAC, EDWARD                     487 DOAT ST                                                                                    BUFFALO           NY   14211‐2156
TYSIAC, FLORENCE                   487 DOAT ST                                                                                    BUFFALO           NY   14211‐2156
TYSIAC, JAMES P                    275 CRISFIELD AVE                                                                              CHEEKTOWAGA       NY   14206‐1957
TYSIAC, MARY                       450 DICK RD APT B3                                                                             DEPEW             NY   14043‐1835
TYSIAC, TAMMY M                    10785 CRUMP RD                                                                                 HOLLAND           NY   14080
TYSICK, JOHN W                     2058 BRAY RD                                                                                   ATTICA            MI   48412‐9756
TYSICK, MARK D                     1392 RED BARN DR                                                                               OXFORD            MI   48371‐6038
TYSICK, MICHAEL A                  5320 SCHOTT RD                                                                                 MAYVILLE          MI   48744‐9704
TYSICK, PETER E                    1707 COLWOOD RD                                                                                CARO              MI   48723‐9101
TYSICK, TODD J                     APT 112                        4950 NORTH MILLER ROAD                                          SCOTTSDALE        AZ   85251‐1570
TYSINGER ROBERT B (629630)         GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                      EDWARDSVILLE      IL   62025‐0959
                                   ANTOGNOLI
TYSINGER WALKER                    PO BOX 2015                                                                                    DECATUR           GA 30031‐2015
TYSINGER, ROBERT B                 GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                      EDWARDSVILLE      IL 62025‐0959
                                   ANTOGNOLI
TYSK WALTER D (439579)             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510
                                                                  STREET, SUITE 600
TYSK, WALTER D                     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510‐2212
                                                                  STREET, SUITE 600
TYSL, NANCY                        14758 TOWNSHIP ROAD #453                                                                       LAKEVILLE         OH 44638
TYSMAN, JOHN                       3141 CEDARBROOK AVE                                                                            LANSING           MI 48910
TYSON
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 665 of 901
Name                  Address1                         Address2                  Address3   Address4         City               State Zip
TYSON A FIELDS        5031 CALKINS RD                                                                        FLINT               MI 48532‐3402
TYSON BECKER          416 N WEST ST                                                                          ROYAL OAK           MI 48067‐4806
TYSON BEVERLY JOE     C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                   LITTLE ROCK         AR 72201
TYSON BITZER          1706 CLEAVER RD                                                                        CARO                MI 48723‐9747
TYSON BROWNING        6820 COLDWATER CANYON RD                                                               FORT WORTH          TX 76132‐3556
TYSON BROWNING        5024 VALLEYSIDE DR                                                                     FORT WORTH          TX 76123‐2949
TYSON CORPORATION     2301 S HOLT RD                                                                         INDIANAPOLIS        IN 46241‐4822
TYSON D MADLIGER      1149 WALNUT VALLEY LN.                                                                 DAYTON              OH 45458‐9580
TYSON FIELDS          5031 CALKINS RD                                                                        FLINT               MI 48532‐3402
TYSON FOODS, INC.     DOUG CHADICK                     515A RANDALL WOBBE LANE                               SPRINGDALE          AR 72764
TYSON HAYS            1003 MITCHELL AVE                                                                      RICHMOND            MO 64085‐1455
TYSON JAMES H         C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                   LITTLE ROCK         AR 72201
TYSON JR, JAKE        4829 S BROWNTOWN RD                                                                    ROCKY MOUNT         NC 27804‐8979
TYSON JR, JOHNNIE R   1317 BUCHANAN ST APT 2W                                                                SANDUSKY            OH 44870‐4609
TYSON JR, WILLIAM B   2460 BASIN DR                                                                          GAINESVILLE         GA 30506‐1862
TYSON KNOX            824 COUNTY ROAD 54                                                                     GARRETT             IN 46738‐9662
TYSON MARCUM          58 N NEEDMORE ACRES RD                                                                 GLASGOW             KY 42141‐7726
TYSON MOLER           10900 NE 8TH ST STE 1200                                                               BELLEVUE            WA 98004‐4460
TYSON MONTGOMERY      1863 SHELMAN TRL                                                                       FORT WORTH          TX 76112‐4223
TYSON N BAKER         776 SAINT CLAIR ST                                                                     PONTIAC             MI 48340‐2662
TYSON OLIVER          PO BOX 6072                                                                            ARLINGTON           TX 76005‐6072
TYSON POE             1951 MIST WOOD DR                                                                      HOWELL              MI 48843‐8140
TYSON RHINE           PO BOX 46                                                                              WASKOM              TX 75692‐0046
TYSON ROBINSON        1215 TEDDY AVE                                                                         BUCYRUS             OH 44820‐1468
TYSON, ALDENE         708 LINCOLN ST                                                                         OCILLA              GA 31774‐1324
TYSON, ALESIA F       1411 W COLDWATER RD                                                                    FLINT               MI 48505‐4832
TYSON, ALESIA FAY     1411 W COLDWATER RD                                                                    FLINT               MI 48505‐4832
TYSON, ALFRED         GUY WILLIAM S                    PO BOX 509                                            MCCOMB              MS 39649‐0509
TYSON, ANTHONY B      15875 STANSBURY ST                                                                     DETROIT             MI 48227‐3326
TYSON, AVA S          824 VINE ST                                                                            LANSING             MI 48912‐1526
TYSON, BARRINGTON C   45094 MAPLE CT                                                                         SHELBY TWP          MI 48317‐4929
TYSON, BARRINGTON C   13766 AMANDA DR                                                                        STERLING HEIGHTS    MI 48313‐3502
TYSON, BETTY          119 UNION AVE APT 3A                                                                   IRVINGTON           NJ 07111‐3232
TYSON, BEVERLY JOE    C/O MOODY                        801 WEST FOURTH ST                                    LITTLE ROCK         AR 72201
TYSON, BILLY          GUY WILLIAM S                    PO BOX 509                                            MCCOMB              MS 39649‐0509
TYSON, BILLY V        6148 OLD ALABAMA RD                                                                    ACWORTH             GA 30102‐1518
TYSON, BLYTHE         1413 CRICKET CLUB CIR APT 203                                                          ORLANDO             FL 32828
TYSON, BOBBY J        425 EAST PARKWAY AVENUE                                                                FLINT               MI 48505‐5213
TYSON, CARMELA        15 HARRISON AVE                                                                        TITUSVILLE          NJ 08560‐1619
TYSON, CAROL J        574 E. SHAFFER ROAD                                                                    HOPE                MI 48628
TYSON, CAROL J        574 E SHAFFER RD                                                                       HOPE                MI 48628‐9753
TYSON, CATHERINE D    2000 LITCHFIELD AVE                                                                    DAYTON              OH 45406‐3812
TYSON, CHARLES E      7907 E 118TH ST                                                                        KANSAS CITY         MO 64134‐4048
TYSON, CHRISTINE M    85 TYSON LN                                                                            LEWISBURG           KY 42256‐7845
TYSON, CHRISTINE M    85 TYSON LANE                                                                          LEWISBURG           KY 42256‐7845
TYSON, CLARENCE C     956 GOLFVIEW CT                                                                        ROCHESTER HILLS     MI 48307‐1007
TYSON, CRAIG B        706 SUMMERFORD RD                                                                      DANVILLE            AL 35619‐6953
TYSON, CURTIS L       4425 CLARKE DR                                                                         TROY                MI 48085‐4906
TYSON, CYNTHIA D      PO BOX 424                                                                             AMHERST             NY 14226‐0424
TYSON, CYNTHIA Y      706 SUMMERFORD RD                                                                      DANVILLE            AL 35619‐6953
TYSON, DARRELL        PO BOX 17102                                                                           CHATTANOOGA         TN 37415‐8102
TYSON, DAVID F        5360 HIGHLAND DR                                                                       TRAVERSE CITY       MI 49684‐9353
                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                        Part 37 of 40 Pg 666 of 901
Name                  Address1                       Address2                Address3     Address4         City                 State Zip
TYSON, DONALD R       1494 MANGO RD                                                                        SALT LAKE CITY        UT 84123‐1353
TYSON, DONALD R       230 WOOLWORTH RD                                                                     STONEWALL             LA 71078‐8356
TYSON, DONALD RAY     230 WOOLWORTH RD                                                                     STONEWALL             LA 71078‐8356
TYSON, DORA L         141 BATES ST                   APT 5                                                 SAGINAW               MI 48602
TYSON, ELBY           GUY WILLIAM S                  PO BOX 509                                            MCCOMB                MS 39649‐0509
TYSON, ELIZABETH      91 EATON ST                                                                          BUFFALO               NY 14208‐2023
TYSON, ERIC           1301 MICHIGAN AVE                                                                    BAY CITY              MI 48708‐8768
TYSON, FRANKLIN R     276 E BLUE BIRD RD                                                                   MONTICELLO            FL 32344‐5770
TYSON, FREDDIE J      SHANNON LAW FIRM               100 W GALLATIN ST                                     HAZLEHURST            MS 39083‐3007
TYSON, GARY W         91 E MORRIS AVE APT 1                                                                BUFFALO               NY 14214
TYSON, GARY WILLIAM   91 E MORRIS AVE APT 1                                                                BUFFALO               NY 14214
TYSON, GRACIELA G     824 VINE ST                                                                          LANSING               MI 48912‐1526
TYSON, H B            1615 POND VIEW CT                                                                    MIDDLETON             WI 53562‐3790
TYSON, HANNAH M       5356 BRENDONWOOD LN                                                                  DAYTON                OH 45415‐2831
TYSON, HENRY          1048 KING ST                                                                         TOLEDO                OH 43607‐4446
TYSON, HENRY M        3771 CARROLLTON RD                                                                   SAGINAW               MI 48604‐2001
TYSON, HERMAN         2322 HOOVER AVENUE                                                                   DAYTON                OH 45407‐5407
TYSON, ISABELLE       4211 TAHNEE CT                                                                       JACKSONVILLE          FL 32223‐2024
TYSON, JAMES          MOODY EDWARD O                 801 W 4TH ST                                          LITTLE ROCK           AR 72201‐2107
TYSON, JAMES E        1802 MARNE RD                                                                        BOLINGBROOK            IL 60490‐4589
TYSON, JANICE C       30 FORD RD S                                                                         MANSFIELD             OH 44905‐2932
TYSON, JESSICA J      413 TROTTERS RDG                                                                     LAWRENCEVILLE         GA 30043‐3654
TYSON, JESSICA J      413 TROTTERS RIDGE                                                                   LAWRENCEVILLE         GA 30043
TYSON, JIMMY K        1094 W DOWNEY AVE                                                                    FLINT                 MI 48505‐1466
TYSON, JOE            16100 TEMPLAR CIR                                                                    SOUTHFIELD            MI 48075‐6933
TYSON, JOHN T         8642 PEMBERTON CIR APT A                                                             INDIANAPOLIS          IN 46260‐1885
TYSON, JULIUS         5356 BRENDONWOOD LN                                                                  DAYTON                OH 45415‐2831
TYSON, JUSTIN D       22436 EDGEWOOD ST                                                                    SAINT CLAIR SHORES    MI 48080‐2153
TYSON, KAITLIN
TYSON, KATHRYN F      1615 POND VIEW CT                                                                    MIDDLETON            WI   53562‐3790
TYSON, KENNETH L      881 DANIEL RD                                                                        MOLENA               GA   30258
TYSON, KIT I          630 KILMARNOCK TRL                                                                   BEL AIR              MD   21014‐2849
TYSON, KIT IRENE      630 KILMARNOCK TRL                                                                   BEL AIR              MD   21014‐2849
TYSON, KYLE
TYSON, LAURA NORMAN   MCCANN LAW                     616 S MAIN ST STE 206                                 TULSA                OK   74119‐1260
TYSON, LILLIAN        49 LONG AVE                                                                          BUFFALO              NY   14225‐2807
TYSON, LINDA K        470 BERWYN ST                                                                        DEARBORN HTS         MI   48127‐3737
TYSON, LLOYD D        208 CADDO DR                                                                         ATLANTA              TX   75551‐3002
TYSON, LORRINE A      2683 SCHAFSTAL DR                                                                    LAMBERTVILLE         MI   48144‐8642
TYSON, MARGARET A     155 COMMONWEALTH AVENUE                                                              FLINT                MI   48503‐2151
TYSON, MARGARET L     5141 NEWTON FALLS RD LOT 65                                                          RAVENNA              OH   44266‐8854
TYSON, MARY J         1336 LIBERTY RD                                                                      YOUNGSTOWN           OH   44505‐3945
TYSON, OBBIE          3142 SKANDER DR                                                                      FLINT                MI   48504‐1274
TYSON, OBBIE E        3142 SKANDER DR                                                                      FLINT                MI   48504
TYSON, OTTO D         10311 VIOLETLAWN ST                                                                  DETROIT              MI   48204‐2530
TYSON, PHYNIS         2409 MALLERY ST                                                                      FLINT                MI   48504‐7321
TYSON, RAYMOND        2951 WELLAND DR                                                                      SAGINAW              MI   48601‐6942
TYSON, RENNY J        941 DINGLEDINE AVE                                                                   LIMA                 OH   45804‐1711
TYSON, RHONDA B       476 COLONIAL DR                                                                      BUTLER               AL   36904
TYSON, ROBERT J       15875 STANSBURY ST                                                                   DETROIT              MI   48227‐3326
TYSON, ROBERT L       2214 YORKHILLS DR APT 5                                                              CHARLOTTE            NC   28217
TYSON, ROBERT L       PO BOX 424                                                                           AMHERST              NY   14226
                        09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                              Part 37 of 40 Pg 667 of 901
Name                    Address1                           Address2                       Address3                 Address4                 City               State Zip
TYSON, ROBERT M         2230 CHESHIRE BR.RD#115                                                                                             ATLANTA             GA 30324
TYSON, ROBERT MICHAEL   2230 CHESHIRE BR.RD#115                                                                                             ATLANTA             GA 30324
TYSON, ROGER S          999 WOODSHIRE CT                                                                                                    SHREVEPORT          LA 71107‐2851
TYSON, ROGER SHIPTON    999 WOODSHIRE CT                                                                                                    SHREVEPORT          LA 71107‐2851
TYSON, RONALD R         1 ANNA AVE                                                                                                          BEAR                DE 19701‐1777
TYSON, SARA M           51 KETCHAM RD                                                                                                       HICKSVILLE          NY 11801‐2027
TYSON, SARAH            PO BOX 201                                                                                                          REESE               MI 48757‐0201
TYSON, SCOTT S          5315 BROBECK ST                                                                                                     FLINT               MI 48532‐4002
TYSON, SHELTON E        PO BOX 12165                                                                                                        LANSING             MI 48901‐2165
TYSON, SHIRLEY A        1446 BEAUMONT CIR                                                                                                   FLUSHING            MI 48433‐1872
TYSON, T J              13914 SCHUSTER RD                                                                                                   POCAHONTAS           IL 62275‐1528
TYSON, TRACY
TYSON, TYREE B          2523 ELMHURST DR                                                                                                    FAYETTEVILLE       NC   28304‐5334
TYSON, VICKIE M         941 DINGLEDINE AVE                                                                                                  LIMA               OH   45804‐1711
TYSON, VICKIE MARIE     941 DINGLEDINE AVE                                                                                                  LIMA               OH   45804‐1711
TYSON, WESLEY J         3916 EMERALD NORTH DR                                                                                               DECATUR            GA   30035‐2623
TYSON, WILBERT W        1685 STATE HIGHWAY 45                                                                                               MULLICA HILL       NJ   08062‐4715
TYSON, YVONNE MARIE     4638 N RITTER AVE                                                                                                   INDIANAPOLIS       IN   46226‐2214
TYSON, YVONNE R         2730 WHITE ARKANSAS ROAD                                                                                            BASTROP            LA   71220‐6543
TYSON‐BEY, JAMAL K      1558 MEADOW RIDGE DR                                                                                                PONTIAC            MI   48340‐1088
TYSVER, JAMES A         7124 DRIFTWOOD DR                                                                                                   FENTON             MI   48430‐4320
TYSZKIEWICZ, DANIEL P   2133 W 52ND PL                                                                                                      CHICAGO            IL   60609‐5521
TYSZKO, CHESTER F       1178 VERMEER DR                                                                                                     NOKOMIS            FL   34275‐4433
TYT                     RA┌L PINEDA                        PASEO DE LAS PALMAS 735, PISO 17 LOMAS DE CHAPULTEPEC   MEXICO CITY D.F. 11000
                                                                                                                   MEXICO
TYTANIC, JOSEPH C       18688 NE 50TH ST                                                                                                    HARRAH             OK   73045‐8337
TYTAR, BILLY            4955 99TH WAY N                                                                                                     SAINT PETERSBURG   FL   33708‐3655
TYTE, DALE W            29 BRITTANY LN                                                                                                      BELLA VISTA        AR   72714‐4013
TYTEC ENTER/PLCRVILL    4003 STAGE CT STE 1                                                                                                 PLACERVILLE        CA   95667‐6928
TYTENICZ, DANIEL R      3364 S INDIAN MERIDIAN                                                                                              CHOCTAW            OK   73020
TYTKA, DAVID A          89 ALLIGER DR                                                                                                       TONAWANDA          NY   14150‐5155
TYTKA, HENRY W          16 UNION CMN                                                                                                        WILLIAMSVILLE      NY   14221‐7744
TYTKA, RAYMOND A        40 VERN LN                                                                                                          CHEEKTOWAGA        NY   14227‐1340
TYTON/MILWAUKEE         7930 N FAULKNER RD                                                                                                  MILWAUKEE          WI   53224‐3423
TYTRAN, RUBY M          27327 PRINCETON                                                                                                     ST CLAIR SHOR      MI   48081‐1718
TYUS JETHRO             TYUS, JETHRO                       10751 S SAGINAW ST STE S                                                         GRAND BLANC        MI   48439‐8169
TYUS JR, WILLIE         PO BOX 666                                                                                                          GRIFFIN            GA   30224‐0018
TYUS TERRY              23119 CHURCHES ST                                                                                                   SOUTHFIELD         MI   48033‐2988
TYUS, BOBBIE JEAN       3300 WOLSTENHOLME DR                                                                                                MEMPHIS            TN   38133‐4156
TYUS, CHARLIE F         5881 WOOD VALLEY RD                                                                                                 KALAMAZOO          MI   49009‐8223
TYUS, GREGORY           PO BOX 9022                        C/O HOLDEN'S                                                                     WARREN             MI   48090‐9022
TYUS, JENNEL M          65 RATHBONE ST                                                                                                      MOUNT CLEMENS      MI   48043‐5958
TYUS, KIMA L            3500 RACHEL CT                                                                                                      FORT WORTH         TX   76137‐6623
TYUS, LAURETTA C        870 COUNTY ROAD 165                                                                                                 PRATTVILLE         AL   36067
TYUS, NORMA J           3334 BAYHAN ST                                                                                                      INKSTER            MI   48141‐2602
TYUS, PATRICK D         8400 CROSSBOW CT                                                                                                    GRAND BLANC        MI   48439‐2551
TYUS, PAULINE M         2062 MOONDANCE CR.                                                                                                  O'FALLON           MO   63368
TYUS, ROBERT            13563 WYOMING ST                                                                                                    DETROIT            MI   48238‐2331
TYUS, ROSCOE            2062 MOONDANCE COURT                                                                                                O FALLON           MO   63368‐6884
TYUS, SHIRLEY E         11570 OLDE GATE DR APT H                                                                                            CINCINNATI         OH   45246‐3616
TYUS, TERRY D           23119 CHURCHES ST                                                                                                   SOUTHFIELD         MI   48033‐2988
TYUS, THELMA A          2822 RUGBY RD.                                                                                                      DAYTON             OH   45406‐5406
                                      09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                           Part 37 of 40 Pg 668 of 901
Name                                  Address1                             Address2                         Address3              Address4            City              State Zip
TYUS, THELMA A                        2822 RUGBY RD                                                                                                   DAYTON             OH 45406‐2003
TYUS, TIMOTHY B                       314 MADISON AVE                                                                                                 TROTWOOD           OH 45426‐2804
TYWANDA D HENDERSON                   3705 COLOMBO CT                                                                                                 DAYTON             OH 45416‐2101
TYWATER, BILLY R                      400 WARBLER DRIVE                                                                                               BEDFORD            TX 76021‐3227
TYWAUNA D HARDY                       316 SUPERIOR AVE APT #H                                                                                         DAYTON             OH 45406‐‐ 54
TYWON N BROWN                         1416 TAMPA AVE                                                                                                  DAYTON             OH 45417
TYX MARY B                            26 SHADYSIDE LANE                                                                                               LANCASTER          NY 14086‐1158
TYYSKA, ROGER R                       10120 PINE MEADOWS CT                                                                                           GOODRICH           MI 48438‐9246
TYZ‐ALL PLASTICS INC                  120 EXPRESS ST                                                                                                  PLAINVIEW          NY 11803
TYZIE R TYLER                         54 WOOLERY LN APT A                                                                                             DAYTON             OH 45415
TYZNAR PAUL (466140)                  WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                                            NEW YORK           NY 10038
TYZNAR, PAUL                          WEITZ & LUXENBERG P.C.               180 MAIDEN LANE                                                            NEW YORK           NY 10038
TYZX INC                              3715 HAVEN AVE STE 110                                                                                          MENLO PARK         CA 94025‐1047
TZAFAROGLOU, JASON C                  51728 JULIES DR                                                                                                 CHESTERFIELD       MI 48047‐3036
TZE ON HUI                            45703 IRVINE DR                                                                                                 NOVI               MI 48374‐3776
TZELEPIS, DEMETRIOS A                 2627 LINDEN ST                                                                                                  DEARBORN           MI 48124‐4373
TZENA T. SANDERS                      1216 GINSBERG DR                                                                                                DAYTONA BEACH      FL 32114
TZONEVA, ALBENA L                     1781 WESTRIDGE DR                                                                                               ROCHESTER HILLS    MI 48306‐3274
TZULZHJ,G HGUILTGLI                   JUGFRZZULG                           UOZOPU
TZUU, LIHLING                         69 CAVERSHAM WOODS                                                                                              PITTSFORD         NY    14534‐2884
TZVI YAGUDAEV                         14727 72ND RD, APT 2A                                                                                           FLUSHING          NY    11367
TZYSTUCK CHARLEY                      1456 BOWERS RD                                                                                                  LAPEER            MI    48446‐3123
TZYSTUCK, CHARLEY                     1456 BOWERS RD                                                                                                  LAPEER            MI    48446‐3123
U AW UNITED AUTO AEROSPACE            ATTN: SHEILA HASKIL                  3852 BUCHANAN AVE SW                                                       GRAND RAPIDS      MI    49548‐3111
U C A AG                              JUERGEN STEVER                       STEFAN‐GEORGE‐RING 29                                  D‐81929 MUENCHEN
                                                                                                                                  GERMANY
U DO IT RENT/COLUMBI                110 PENNY AVENUE                                                                                                  COLUMBIA          TN    38401
U F O EXPRESS                       PO BOX 1031                                                                                                       TAYLOR            MI    48180‐5431
U F S CORP                          330 N 400 E                                                                                                       VALPARAISO        IN    46383‐9704
U FREIGHT AMERICA INC               44 OLD HIGGINS RD                                                                                                 DES PLAINES       IL    60018
U HAUL                              ATTN: CORPORATE OFFICER/AUTHORIZED 11298 S PRIEST DR                                                              TEMPE             AZ    85284‐1018
                                    AGENT
U HAUL INTERNATIONAL                11298 S PRIEST DR                                                                                                 TEMPE             AZ    85284‐1018
U HAUL INTERNATIONAL INC            2727 N CENTRAL                         PO BOX 52021                                                               PHOENIX           AZ    85004
U MASS MEDICAL SCHOOL               135 WESTERN AVE                                                                                                   FRAMINGHAM        MA    01702‐7400
U MCINTOSH                          1310 MONTAIN RD                                                                                                   TOLEDO            OH    43615‐4739
U MORE                              ATTN: THEODORE KUMBURIS                435 ARBOR AVE                                                              INDIANAPOLIS      IN    46221‐1257
U OF TENNESSEE TRANS. SER.          1201 U.T. DRIVE                                                                                                   KNOXVILLE         TN    37916
U S BANK TRUST NATIONAL ASSOCIATION 225 ASYLUM ST                          23RD FL                                                                    HARFORD           CT    06103
OWNER TRUSTEE
U S BANK TRUST NATIONAL ASSOCIATION ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                        HARTFORD           CT   06103‐1534
OWNER TRUSTEE
U S AIR INC                         PO BOX 2116 COLLECTION DEPT                                                                                       WASHINGTON        DC    20013
U S APPAREL                         834 SOARING CIR                                                                                                   MARIETTA          GA    30062‐3255
U S BANK                            FOR DEPOSIT IN THE ACCOUNT OF          2716 BOSTON RD                   F TIJERINA                                HINCKLEY          OH    44233‐9498
U S BANK                            FOR DEPOSIT TO THE ACCOUNT OF          7797 TYLERS PLACE BLVD           C GILLIAM                                 WEST CHESTER      OH    45069‐4684
U S BANK ASSOCIATES (OWNER TRUSTEE) US BANK ASSOCIATES                     225 ASYLUM ST                    23RD FL                                   HARFORD           CT    06103

U S BANK ASSOCIATES (OWNER TRUSTEE)   US BANK ASSOCIATES                   ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                       HARTFORD           CT   06103‐1534
                                                                           DEPT.
U S BANK NATIONAL ASSOCIATION (GM     U S BANK NATIONAL ASSOCIATION        ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                       HARTFORD           CT   06103‐1534
1991 A‐1)                                                                  DEPT.
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                                         Part 37 of 40 Pg 669 of 901
Name                                  Address1                               Address2                         Address3              Address4         City                State Zip
U S BANK NATIONAL ASSOCIATION (GM     U S BANK NATIONAL ASSOCIATION          225 ASYLUM ST                    23RD FL                                HARTFORD             CT 06103
1991 A‐1)
U S BANK NATIONAL ASSOCIATION AS      225 ASYLUM ST                          23RD FL                                                                 HARTFORD            CT   06103
OWNER TRUSTEE (GM 2003 C‐1)
U S BANK NATIONAL ASSOCIATION AS      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                     HARTFORD            CT   06103‐1534
OWNER TRUSTEE (GM 2003 C‐1)
U S BANK NATIONAL ASSOCIATION AS      U S BANK NATIONAL ASSOCIATION AS       ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                    HARTFORD            CT   06103‐1534
OWNER TRUSTEE/ADDITIONAL SECURED      OWNER TRUSTEE                          DEPT.

U S BANK NATIONAL ASSOCIATION AS      U S BANK NATIONAL ASSOCIATION AS       225 ASYLUM ST                    23RD FL                                HARTFORD            CT   06103
OWNER TRUSTEE/ADDITIONAL SECURED      OWNER TRUSTEE

U S BANK TRUST NATIONAL ASOCIATION    225 ASYLUM ST                          23RD FL                                                                 HARTFORD            CT   06103
OWNER TRUSTEE (GM 2003 C‐1)

U S BANK TRUST NATIONAL ASOCIATION    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                     HARTFORD            CT   06103‐1534
OWNER TRUSTEE (GM 2003 C‐1)

U S BANK TRUST NATIONAL ASSOCIATION   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                     HARTFORD            CT   06103‐1534
OWNER TRUSTEE (GM 2003‐B)

U S BANK TRUST NATIONAL ASSOCIATION   225 ASYLUM ST                          23RD FL                                                                 HARFORD             CT   06103
OWNER TRUSTEE (GM 2003‐B)

U S BANK TRUST NATIONAL ASSOCIATION   U S BANK TRUST NATIONAL ASSOCIATION    225 ASYLUM ST                    23RD FL                                HARTFORD            CT   06103
OWNER TRUSTEE (GM 2000 A‐2)

U S BANK TRUST NATIONAL ASSOCIATION   U S BANK TRUST NATIONAL ASSOCIATION    ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                    HARTFORD            CT   06103‐1534
OWNER TRUSTEE (GM 2000 A‐2)                                                  DEPT.

U S BORDER PATROL                                                            8901 MONTANA AVE                                                                            TX   79925
U S BULK TRANSPORT INC                205 PENNBRIAR DR                                                                                               ERIE                PA   16509‐6650
U S BUS CORPORATION                   3 PAT MALONE DR                                                                                                SUFFERN             NY   10901‐5823
U S CUSTOMS & BORDERS                 PROTECTION NATL FINANCE CENTER         6026 LAKESIDE BLVD                                                      INDIANAPOLIS        IN   46278‐1988
U S CUSTOMS SERVICE
U S DEPT OF JUSTICE                   ACCOUNT OF JERALDINE R BURKS           P O BOX 325A 8401 COLESVILLE                                            SCOTTSVILLE         KY   42164
U S DEPT OF JUSTICE CENTRAL           ACCT OF D M WILSON                     PO BOX 198558                                                           ATLANTA             GA   30384‐8558
U S EXPRESS                           PO BOX 1000‐JFK INT'L AIRPORT                                                                                  NEW YORK            NY   11430
USF&G                                 5801 SMITH AVENUE                                                                                              BALTIMORE           MD   21209
U S FABRICATING INC                   1947 HAGGERTY HWY                                                                                              COMMERCE TOWNSHIP   MI   48390‐2835
U S FARATHANE CORP                    38000 MOUND RD                                                                                                 STERLING HTS        MI   48310‐3461
U S FARATHANE CORPORATION             39200 FORD RD                                                                                                  WESTLAND            MI   48185‐9131
U S FIBERGLASS PRODUCTS INC           2660 APPLEGROVE RD N E                                                                                         MIDDLEBRANCH        OH   44652
U S GROUP INC                         20580 HOOVER ST                                                                                                DETROIT             MI   48205‐1064
U S HORIZON                           2609 28TH ST SW                                                                                                GRAND RAPIDS        MI   49519‐2107
U S I INC                             98 FORT PATH RD                                                                                                MADISON             CT   06443‐2264
U S JOURNAL TRAINING INC              3201 SW 15TH ST                                                                                                DEERFIELD BEACH     FL   33442‐8157
U S LUMBER GROUP                      2160 SATELLITE BLVD                                                                                            DULUTH              GA   30097‐4074
U S MANUFACTURING CORP                17717 MASONIC                                                                                                  FRASER              MI   48026‐3158
U S PARK                              9601 MIDDLEBELT RD                                                                                             ROMULUS             MI   48174‐2533
U S POSTAL SERVICE VMF ROANOKE VA                                            419 RUTHERFORD AVE NE                                                                       VA   24022
                                   09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                      Part 37 of 40 Pg 670 of 901
Name                              Address1                         Address2                      Address3   Address4                City                  State Zip
U S POSTAL SERVICE YO OHIO        99 S WALNUT ST                                                                                    YOUNGSTOWN             OH 44501
U S SIGNAL CO                     701 W HENRY ST                                                                                    INDIANAPOLIS           IN 46225‐1182
U S SUGAR CORP.WESTERN AES        W.C.OWNES AVENUE                                                                                  CLEWISTON              FL 33440
U S TECHNOLOGY CORP               220 7TH ST SE                                                                                     CANTON                 OH 44702‐1324
U S WEST COMMUNICATIONS           PO BOX 1301                                                                                       MINNEAPOLIS            MN 55483‐0002
U S WIPING MATERIALS CO INC       2539 E SULLIVAN AVE                                                                               SAINT LOUIS            MO 63107‐3404
U S WIRE ROPE SUPPLY INC          6555 SHERWOOD ST                                                                                  DETROIT                MI 48211‐2475
U SANDIFORD                       20128 WYOMING ST                                                                                  DETROIT                MI 48221‐1028
UU                                U                                                                                                 U                      OH 00000
U W LOUISE P RANDALL TRUST        H RICHARD RANDALL TRUSTEE        914 LA JOLLA AVE                                                 SUN CITY CENTER        FL 33573‐5133
U WRIGHT                          136 MEADOW LN                                                                                     JACKSON                MS 39212‐3524
U YONG CHOI                       4840 INVERAY RD                                                                                   BLOOMFIELD TOWNSHIP    MI 48301‐1012
U'REN, DARWIN K                   1033 ALEXANDRIA DR                                                                                LANSING                MI 48917‐4804
U'REN, PATRICIA L                 1429 OGDEN DR                                                                                     TROY                   MI 48083‐5392
U‐‐SAVE CAR & TRUCK RENTAL        PO BOX 2249                                                                                       MYRTLE BEACH           SC 29578‐2249
U‐CHANG PRECISION CO LTD          B 608‐26 632‐7 SONGGOK‐DONG      DANWON‐GU                                ANSAN 425110 KOREA
                                                                                                            (REP)
U‐FIX‐IT, INC.                    707 E HURON AVE                                                                                   VASSAR                MI 48768‐1821
U‐FREIGHT INC                     6500 SILVER DART DR STE 232      VISTA BLDG CORE C                        MISSISSAUGA CANADA ON
                                                                                                            L5P 1A2 CANADA
U‐HAUL                                                             174 BOSTON POST RD                                                                     CT   06477
U‐HAUL                                                             8641 PULASKI HWY                                                                       MD   21237
U‐HAUL                                                             878 MEMORIAL DR                                                                        MA   01020
U‐HAUL                                                             723 32ND AVE                                                                           IA   51501
U‐HAUL                                                             3020 LAMAR AVE                                                                         TN   38114
U‐HAUL                                                             11711 SE 82ND AVE                                                                      OR   97266
U‐HAUL CO                         ATTN: PAM OBRIEN                 533 36TH ST SW                                                   WYOMING               MI   49509‐4002
U‐HAUL CO                         ATTN: COREY BUTRAM               5809 STUMPH RD                                                   CLEVELAND             OH   44130‐1737
U‐HAUL CO                         4258 SOMERS DR                                                                                    BURTON                MI   48529‐2281
U‐HAUL CO                         2801 KENMORE AVE                                                                                  TONAWANDA             NY   14150‐7706
U‐HAUL CO                         156 W MONTCALM ST                                                                                 PONTIAC               MI   48342‐1144
U‐HAUL CO                         10131 TEXTILE RD                                                                                  YPSILANTI             MI   48197‐9427
U‐HAUL CO                         2225 PARKWOOD                                                                                     YPSILANTI             MI   48198‐7830
U‐HAUL DAILY RENTAL               BOB DOLAN                        11298 SOUTH PRIEST DRIVE                                         PHOENIX               AZ
U‐HAUL OF DELAWARE VALLEY                                          226B TITUS AVE                                                                         PA   18976
U‐HAUL OF ST. LOUIS                                                12060 LUSHER RD                                                                        MO   63138
U‐HAUL REPAIR SHOP                                                 4751 OLD SEWARD HWY                                                                    AK   99503
U‐HAUL REPAIR SHOP 189                                             44511 S GRIMMER BLVD BLDG C                                                            CA   94538
U‐HAUL SERVICE CENTER                                              11202 ANTOINE DR                                                                       TX   77066
U‐HAUL SHOP #176000                                                9136 WILKINSON BLVD                                                                    NC   28214
U‐HAUL/MIDWEST REGION             7209 HARRISON ST                                                                                  FOREST PARK           IL   60130‐2009
U‐HAUL/NORTHEAST REGION           350 WALTON AVENUE                                                                                 BRONX                 NY   10451
U‐HAUL/SOUTHEAST REGION           2505 CANDLER RD                                                                                   DECATUR               GA   30032‐6502
U‐HAUL/SOUTHWEST REGION           11298 S PRIEST DR                                                                                 TEMPE                 AZ   85284‐1018
U‐HAUL/WEST REGION                44511 S GRIMMER BLVD                                                                              FREMONT               CA   94538‐6309
U‐J CHEVROLET CO., INCORPORATED   7581 AIRPORT BLVD                                                                                 MOBILE                AL   36608‐5001
U‐J CHEVROLET CO., INCORPORATED   DONALD URQUHART                  7581 AIRPORT BLVD                                                MOBILE                AL   36608‐5001
U‐J CHEVROLET, INC.               MR. DONALD URQUHART, JR.         7515 AIRPORT BOULEVARD                                           MOBILE                AL   36608
U‐SAVE AUTO RENTAL                504 SAINT JAMES AVE                                                                               SPRINGFIELD           MA   01109‐3843
U‐SAVE AUTO RENTAL                4780 I‐55 NORTH                                                                                   JACKSON               MS   39211
U‐SAVE AUTO RENTAL                STEVEN NEUDROFF                  4780 I 55 N STE 300                                              JACKSON               MS   39211‐5583
U‐SAVE CAR & TRUCK RENTAL         PO BOX 2249                                                                                       MYRTLE BEACH          SC   29578‐2249
                                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                        Exhibit B
                                                                          Part 37 of 40 Pg 671 of 901
Name                                   Address1                              Address2                        Address3                   Address4                 City            State Zip
U‐SHIN LTD                             2806 INDUSTRIAL RD                                                                                                        KIRKSVILLE       MO 63501‐4832
U‐SHIN LTD                             SHIBA NBF TOWER BLDG 4F 1‐1‐30                                                                   MINATO‐KU, TO 105‐0
                                                                                                                                        JAPAN
U. S. GYPSUM CORP                      101 S WACKER                                                                                                              CHICAGO         IL    60606
U. S. LIFE CORPORATION                 125 MAIDENLANE                                                                                                            NEW YORK        NY    10038
U. S. POSTAL SERVICE                   2250 NW 72ND AVE                                                                                                          MIAMI           FL    33152
U. S. TIRE & AUTO                      3350 GRANT ST                                                                                                             GARY            IN    46408‐1008
U.A.W. LOCAL 276                       2505 W E ROBERTS DR                                                                                                       GRAND PRAIRIE   TX    75051‐1025
U.C. BRAKES & CLUTCHES                 1281 ATLANTIC ST                                                                                                          UNION CITY      CA    94587‐2002
U.M.I. UNIVERSAL MOTORS ISRAEL LTD.    5, FALTIN NAFTALI ST                                                                             RISHON LEZION 75070
                                                                                                                                        ISRAEL
U.N. HIGH COMMISSION FOR REFUGEES      P.O. BOX 2500                                                                                    GENEVA CH‐12
                                                                                                                                        SWITZERLAND
U.S BANK NATIONAL ASSOCIATION          555 SW OAK ST                                                                                                             PORTLAND        OR 97204
U.S BANK NATIONAL ASSOCIATION          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 555 SW OAK ST                                                                      PORTLAND        OR 97204

U.S BANK TRUST NATIONAL ASSOCIATION  AS OWNER TRUSTEE OF THE GM/PNC         ATTENTION: DEBORAH IRRAHIM, VP MAIL STATION EX‐MA‐FED       ONE FEDERAL ST           BOSTON          MA 02110
                                     2004A‐1
U.S BANK TRUST NATIONAL ASSOCIATION, ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                                  HARTFORD         CT   06103‐1534
AS OWNER TRUSTEE(TRUSTEE)

U.S BANK TRUST NATIONAL ASSOCIATION, 225 ASYLUM STREET                       23RD FLOOR                                                                          HARTFORD         CT   06103
AS OWNER TRUSTEE(TRUSTEE)

U.S EPA NATIONAL HEALTH AND            (NHEERL) WESTERN ECOLOGY DIVIS        REGION 10                       200 SW 35TH ST                                      CORVALLIS       OR 97333‐4902
ENVIRONMENTAL EFFECTS RESEARCH
LABORATORY
U.S. ALLEGIANCE, INC.
U.S. ARMY AVIATIN AND MISSILE          DEVELOPMENT AND ENGINEERING CENTER AMSRD‐AMR‐AS‐TI (CINDY WALLACE) 5400 FOWLER RD BLDG B315      REF ORTA NO. 284         HUNTSVILLE       AL   35898‐0001
RESEARCH,
U.S. ARMY TACOM LCMC                   AMSTA‐LC‐CHAC                                                                                                             WARREN          MI 48397‐0001
U.S. BANCORP EQUIPMENT FINANCE, INC    P.O. BOX 230789                                                                                                           PORTLAND        OR 97281

U.S. BANCORP EQUIPMENT FINANCE, INC    ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 230789                                                                       PORTLAND        OR 97281‐0789
                                       AGENT
U.S. BANCORP EQUIPMENT FINANCE, INC.   ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 2177                                                                         TUALATIN        OR 97062‐2177
                                       AGENT
U.S. BANCORP EQUIPMENT FINANCE, INC.   P.O. BOX 2177                                                                                                             TUALATIN        OR 97062

U.S. BANCORP EQUIPMENT FINANCE, INC.   ATTN: GENERAL COUNSEL                 13010 SW 68TH PKWY STE 100                                                          PORTLAND        OR 97223‐9621

U.S. BANCORP EQUIPMENT FINANCE, INC.   ATTENTION: RANDY J. ERNST             13010 SW 68TH PKWY STE 100                                                          PORTLAND        OR 97223‐8367

U.S. BANK NATIONAL ASSOCIATION         555 SW OAK ST                          PD‐OR‐P7LD                                                                         PORTLAND        OR 97204
U.S. BANK NATIONAL ASSOCIATION         AS OWNER TRUSTEE (GM 1991A‐1)          225 ASYLUM STREET              23RD FLOOR                                          HARTFORD        CT 06103
U.S. BANK NATIONAL ASSOCIATION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 555 SW OAK ST                  PD‐OR‐P7LD                                          PORTLAND        OR 97204

U.S. BANK NATIONAL ASSOCIATION         AS OWNER TRUSTEE (GM 1991A‐1)         ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                                HARTFORD         CT   06103‐1534
                                                                             DEPT.
U.S. BANK NATIONAL ASSOCIATION         AS INDENTURE TRUSTEE SERIES 2001‐8    ONE FEDERAL STREET               MAIL STATION: EX‐MA‐FED   ATTENTION: DEBORAH       BOSTON          MA 02110
                                                                                                                                        IBRAHIM, VICE PRESIDE
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                     Exhibit B
                                                                          Part 37 of 40 Pg 672 of 901
Name                                  Address1                               Address2                         Address3                  Address4                City          State Zip
U.S. BANK NATIONAL ASSOCIATION        AS OWNER TRUSTEE                       ONE FEDERAL STREET               MAIL STATION: EX‐MA‐FED   ATTENTION: DEBORAH      BOSTON         MA 02110
                                                                                                                                        IBRAHIM, VICE PRESIDE
U.S. BANK NATIONAL ASSOCIATION AS     OF THE GM 2000A‐1 OWNER TRUST          ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                               HARTFORD      CT   06103‐1534
OWNER TRUSTEE                                                                DEPT.
U.S. BANK NATIONAL ASSOCIATION AS     OF THE GM 2000A‐1 OWNER TRUST          225 ASYLUM STREET                23RD FLOOR                                        HARTFORD      CT   06103
OWNER TRUSTEE
U.S. BANK NATIONAL ASSOCIATION, AS    225 ASYLUM ST                          23RD FLOOR                                                                         HARTFORD      CT   06103
OWNER TRUSTEE (GM 1991A‐2)
U.S. BANK NATIONAL ASSOCIATION, AS    ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                                HARTFORD      CT   06103‐1534
OWNER TRUSTEE (GM 1991A‐2)
U.S. BANK TRUST N.A.                  WELLS FARGO BANK NORTHWEST, N.A.       ATTN: GENERAL COUNSEL            3889 WASHINGTON                                   OGDEN         UT 84403
                                                                                                              BOULEVARD
U.S. BANK TRUST NATIONAL ASSOCIATION AS OWNER TRUSTEE FOR THE GM 2003‐A      225 ASYLUM ST                    23RD FLOOR                                        HARTFORD      CT   06103
                                     TRUST
U.S. BANK TRUST NATIONAL ASSOCIATION AS OWNER TRUSTEE OF THE GM 2000A‐2      225 ASYLUM STREET                23RD FLOOR                ATTN: DEBORAH IBRAHIM   HARTFORD      CT   06103
                                     OWNER TRUST
U.S. BANK TRUST NATIONAL ASSOCIATION ATTN: CORPORATE TRUST SERVICES          1 FEDERAL ST LBBY 3                                                                BOSTON        MA 02110‐2012

U.S. BANK TRUST NATIONAL ASSOCIATION 225 ASYLUM ST FL 23                                                                                                        HARTFORD      CT   06103‐1534

U.S. BANK TRUST NATIONAL ASSOCIATION 800 NICOLLET MALL STE 1500                                                                                                 MINNEAPOLIS   MN 55402‐7014

U.S. BANK TRUST NATIONAL ASSOCIATION GENERAL MOTORS CORPORATION              ATTN: GENERAL COUNSEL            200 RENAISSANCE CTR                               DETROIT       MI 48265‐2000

U.S. BANK TRUST NATIONAL ASSOCIATION WELLS FARGO BANK NORTHWEST              ATTN: GENERAL COUNSEL            3889 WASHINGTON                                   OGDEN         UT 84403
                                     NATIONAL ASSOCIATION                                                     BOULEVARD
U.S. BANK TRUST NATIONAL ASSOCIATION AS OWNER TRUSTEE OF THE GM 2000A‐2      ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                               HARTFORD      CT   06103‐1534
                                     OWNER TRUST                             DEPT.
U.S. BANK TRUST NATIONAL ASSOCIATION AS OWNER TRUSTEE OF THE GM/TEXTRON      ONE FEDERAL STREET               MAIL STATION: EX‐MA‐FED   ATTENTION: DEBORAH      BOSTON        MA 02110
                                     2004A                                                                                              IBRAHIM, VICE PRESIDE
U.S. BANK TRUST NATIONAL ASSOCIATION AS TRUSTEE OF THE GM‐GE CAPITAL         ONE FEDERAL STREET               MAIL STATION: EX‐MA‐FED   ATTENTION: DEBORAH      BOSTON        MA 02110
                                     DEPOSIT                                                                                            IBRAHIM, VICE PRESIDE
U.S. BANK TRUST NATIONAL ASSOCIATION HOLD                                    ONE FEDERAL STREET               MAIL STATION: EX‐MA‐FED   ATTENTION: DEBORAH      BOSTON        MA 02110
                                                                                                                                        IBRAHIM, VICE PRESIDE
U.S. BANK TRUST NATIONAL ASSOCIATION U.S. BANK TRUST NATIONAL ASSOCIATION ATTENTION: DEBORAH IBRAHIM,         ONE FEDERAL STREET        MAIL STATION: EX‐MA‐FED BOSTON        MA 02110
                                     AS                                   VICE PRESIDE
U.S. BANK TRUST NATIONAL ASSOCIATION ONE FEDERAL STREET                   MAIL STATION: EX‐MA‐FED             ATTENTION: DEBORAH                                BOSTON        MA 02110
                                                                                                              IBRAHIM, VICE PRESIDE
U.S. BANK TRUST NATIONAL ASSOCIATION ATTN: DEBORAH IBRAHIM                   225 ASYLUM STREET, 23RD FLOOR                                                      HARTFORD      CT   06103‐2819

U.S. BANK TRUST NATIONAL ASSOCIATION, ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                                HARTFORD      CT   06103‐1534
AS OWNER TRUSTEE (GM2004A‐1)

U.S. BANK TRUST NATIONAL ASSOCIATION, 225 ASYLUM STREET                      23RD FLOOR                                                                         HARTFORD      CT   06103
AS OWNER TRUSTEE (GM2004A‐1)

U.S. BANK TRUST NATIONAL ASSOCIATION, BUT SOLELY AS OWNER TRUSTEE UNDER      225 ASYLUM ST                    23RD FL                                           HARTFORD      CT   06103
NOT IN ITS INDIVIDUAL CAPACITY        THE TRUST AGREEMENT (GM2004A‐1)

U.S. BANK TRUST NATIONAL ASSOCIATION, BUT SOLELY AS OWNER TRUSTEE UNDER      ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                               HARTFORD      CT   06103‐1534
NOT IN ITS INDIVIDUAL CAPACITY        THE TRUST AGREEMENT (GM2004A‐1)        DEPT.
                                    09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                     Exhibit B
                                                                          Part 37 of 40 Pg 673 of 901
Name                                Address1                              Address2                         Address3                     Address4                  City            State Zip
U.S. BATTERY MANUFACTURING INC      BILL GLOVER                           PALOS VERDES BULIDING CORP.      1675 SAMPSON AVE.                                      DETROIT          MI
U.S. BORDER PATROL ‐ LAREDO                                               207 W DEL MAR BLVD                                                                                       TX 78041
U.S. BULK TRANSPORT                 JAMES S. UHRMAEHER                    701 NORTH WHEELING STREET                                                               TOLEDO           OH 43605
U.S. DEPARTMENT OF ENERGY           DOUG HOOKER                           1617 COLE BLVD                   GOLDEN FIELD OFFICE                                    LAKEWOOD         CO 80401‐3305
U.S. DEPARTMENT OF ENERGY           TAMMIE M. LAWLER                      1617 COLE BLVD                   GOLDEN FIELD OFFICE                                    LAKEWOOD         CO 80401‐3305
U.S. DEPARTMENT OF ENERGY           1000 INDEPENDENCE AVE                                                                                                         WASHINGTON       DC 20585‐0001
U.S. DEPARTMENT OF ENERGY           ELLSWORTH E. HOWELL, JR.              1000 INDEPENDENCE AVE                                                                   WASHINGTON       DC 20585‐0001
U.S. DEPARTMENT OF ENERGY BIOMASS
PROGRAM, BIOMASS R&D TECHNICAL
ADVIS
U.S. DEPARTMENT OF JUSTICE          U.S. ATTORNEY, NORTHERN DISTRICT OF   801 CHERRY ST UNIT 4             BURNETT PLAZA, STE. 1700                               FORT WORTH       TX   76102‐6882
                                    TEXAS
U.S. DEPARTMENT OF JUSTICE          ATTORNEY GENERAL                      950 PENNSYLVANIA AVE NW                                                                 WASHINGTON      DC 20530‐0001
U.S. DEPARTMENT OF LABOR            OCCUPATIONAL SAFETY AND HEALTH        REGION 2                         201 VARICK STREET            ROOM 670                  NEW YORK        NY 10014
                                    ADMINISTRATION (OSHA)
U.S. DEPARTMENT OF LABOR            OCCUPATIONAL SAFETY AND HEALTH        REGION 6                         525 GRIFFIN STREET           ROOM 602                  DALLAS           TX   75202
                                    ADMINISTRATION (OSHA)
U.S. DEPARTMENT OF LABOR            OCCUPATIONAL SAFETY AND HEALTH        REGION 1                         JFK FEDERAL BUILDING         ROOM E340                 BOSTON          MA 02203
                                    ADMINISTRATION (OSHA)
U.S. DEPARTMENT OF LABOR            OCCUPATIONAL SAFETY AND HEALTH        REGION 4                         61 FORSYTH ST SW                                       ATLANTA         GA 30303‐8930
                                    ADMINISTRATION (OSHA)
U.S. DEPARTMENT OF LABOR            OCCUPATIONAL SAFETY AND HEALTH        REGION 7                         TWO PERSHING SQUARE          2300 MAIN STREET, SUITE   KANSAS CITY     MO 64108
                                    ADMINISTRATION (OSHA)                                                                               1010
U.S. DEPARTMENT OF LABOR            OCCUPATIONAL SAFETY AND HEALTH        200 CONSTITUTION AVE NW                                                                 WASHINGTON      DC 20210‐0001
                                    ADMINISTRATION (OSHA)
U.S. DEPARTMENT OF LABOR            OCCUPATIONAL SAFETY AND HEALTH        REGION 10                        1111 3RD AVE STE 715                                   SEATTLE         WA 98101‐3216
                                    ADMINISTRATION (OSHA)
U.S. DEPARTMENT OF LABOR            OCCUPATIONAL SAFETY AND HEALTH        REGION 8                         1999 BROADWAY STE 1690                                 DENVER          CO 80202‐5709
                                    ADMINISTRATION (OSHA)
U.S. DEPARTMENT OF LABOR            OCCUPATIONAL SAFETY AND HEALTH        REGION 9                         90 7TH ST STE 18100                                    SAN FRANCISCO   CA 94103‐6719
                                    ADMINISTRATION (OSHA)
U.S. DEPARTMENT OF LABOR            OCCUPATIONAL SAFETY AND HEALTH        REGION 5                         230 S DEARBORN ST STE 3244                             CHICAGO          IL   60604‐1694
                                    ADMINISTRATION (OSHA)
U.S. DEPARTMENT OF LABOR/OSHA       REGION 3                              THE CURTIS CENTER‐SUITE 740 WEST 170 S. INDEPENDENCE MALL                               PHILADELPHIA    PA 19106
                                                                                                           WEST
U.S. DEPARTMENT OF STATE
U.S. DEPARTMENT OF THE TREASURY     1500 PENNSYLVANIA AVE NW                                                                                                      WASHINGTON      DC 20220‐0001
U.S. ENVIRONMENTAL PROTECTION       REGION 6                              1445 ROSS AVE STE 1200           FOUNTAIN PLACE 12TH FLOOR                              DALLAS          TX 75202‐2750
AGENCY
U.S. ENVIRONMENTAL PROTECTION       ARIEL RIOS BUILDING                   1200 PENNSYLVANIA AVENUE, N.W.                                                          WASHINGTON      DC 20460‐0001
AGENCY HEADQUARTERS
U.S. ENVIRONMENTAL PROTECTION       ATT: MR. DAVID SEELY                  77 WEST JACKSON BLVD.                                                                   CHICAGO          IL   60604‐3590
AGENCY, OFFICE OF RCRA‐REGION 5
U.S. ENVIRONMENTAL PROTECTION       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 290 BROADWAY                                                                           NEW YORK        NY 10007
AGENCY, REGION 2
U.S. ENVIRONMENTAL PROTECTION       HAZARDOUS SITES CLEANUP DIVISION      1650 ARCH STREET                                                                        PHILADELPHIA    PA 19103‐2029
AGENCY, REGION 3
U.S. ENVIRONMENTAL PROTECTION       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1650 ARCH STREET                                                                       PHILADELPHIA    PA 19103‐2029
AGENCY, REGION 3
U.S. ENVIRONMENTAL PROTECTION       77 WEST JACKSON BOULEVARD                                                                                                     CHICAGO          IL   60604‐3590
AGENCY, REGION 5
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                                          Part 37 of 40 Pg 674 of 901
Name                                  Address1                               Address2                    Address3                 Address4             City                  State Zip
U.S. ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 77 WEST JACKSON BOULEVARD                                                 CHICAGO                 IL 60604
AGENCY, REGION 5
U.S. ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 901 N 5TH ST                                                              KANSAS CITY            KS   66101‐2907
AGENCY, REGION 7
U.S. ENVIRONMENTAL PROTECTION         901 N. 5TH STREET                                                                                                KANSAS CITY            KS   66101
AGENCY, REGION 7
U.S. ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1 CONGRESS ST STE 1100                                                    BOSTON                MA 02114‐2023
AGENCY, REGION I
U.S. ENVIRONMENTAL PROTECTION         290 BROADWAY                                                                                                     NEW YORK              NY 10007
AGENCY, REGION II
U.S. ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 290 BROADWAY                                                              NEW YORK              NY 10007
AGENCY, REGION II
U.S. ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1650 ARCH STREET (3PM52)                                                  PHILADELPHIA          PA 19103‐2029
AGENCY, REGION III
U.S. ENVIRONMENTAL PROTECTION         ATLANTA FEDERAL CENTER                 61 FORSYTH STREET                                                         ATLANTA               GA 30303
AGENCY, REGION IV
U.S. ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 75 HAWTHORNE STREET                                                       SAN FRANCISCO         CA 94105
AGENCY, REGION IX
U.S. ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1445 ROSS AVE STE 1200                                                    DALLAS                 TX   75202‐2750
AGENCY, REGION VI
U.S. ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 726 MINNESOTA AVE                                                         KANSAS CITY            KS   66101‐2704
AGENCY, REGION VII
U.S. ENVIRONMENTAL PROTECTION         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1595 WYNKOOP ST                                                           DENVER                CO 80202‐1129
AGENCY, REGION VIII
U.S. EPA ENVIRONMENTAL SCIENCE        UNITED STATES ENVIRONMENTAL            REGION 3                    701 MAPES ROAD                                FORT GEORGE G MEADE   MD 20755
CENTER                                PROTECTION AGENCY
U.S. EPA NATIONAL AIR AND RADIATION   REGION 4                               540 S MORRIS AVE                                                          MONTGOMERY             AL   36115‐2600
ENVIRONMENTAL LABORATORY (NAREL)

U.S. EPA NATIONAL ENFORCEMENT         REGION 8                               PO BOX 25227                                                              DENVER                CO 80225‐0227
INVESTIGATIONS CENTER LABORATORY
(NEIC)
U.S. EPA NATIONAL EXPOSURE RESEARCH   ECOSYSTEMS RESEARCH DIVISION           REGION 4                    960 COLLEGE STATION RD                        ATHENS                GA 30605‐2720
LABORATORY (NERL)
U.S. EPA NATIONAL EXPOSURE RESEARCH   ENVIRONMENTAL SCIENCES DIVISION        REGION 9                    PO BOX 93478                                  LAS VEGAS             NV 89193‐3478
LABORATORY (NERL)
U.S. EPA NATIONAL HEALTH AND          (NHEERL)                               REGION 4                    MAIL CODE # B305‐01      RESEARCH TRIANGLE PARK DURHAM              NC 27711‐0001
ENVIRONMENTAL EFFECTS RESEARCH
LABORATORY
U.S. EPA NATIONAL HEALTH AND          (NHEERL) ATLANTIC ECOLOGY DIV          REGION 1                    27 TARZWELL DR                                NARRAGANSETT           RI   02882‐1153
ENVIRONMENTAL EFFECTS RESEARCH
LABORATORY
U.S. EPA NATIONAL HEALTH AND          (NHEERL) GULF ECOLOGY DIVISION         REGION 4                    SABINE ISLAND DRIVE                           GULF BREEZE            FL   32561
ENVIRONMENTAL EFFECTS RESEARCH
LABORATORY
U.S. EPA NATIONAL VEHICLE AND FUEL    REGION 5                               2000 TRAVERWOOD DR                                                        ANN ARBOR             MI 48105‐2195
EMISSIONS LABORATORY (NVFEL)
U.S. EPA RADIATION AND INDOOR         REGION 9                               PO BOX 98517                                                              LAS VEGAS             NV 89193‐8517
ENVIRONMENTS NATIONAL LABORATORY

U.S. EPA REGION II                    290 BROADWAY                                                                                                     NEW YORK              NY 10007
                                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                             Part 37 of 40 Pg 675 of 901
Name                                   Address1                               Address2                    Address3                    Address4         City               State Zip
U.S. EPA REGION III ‐ GROUND WATER AND ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1650 ARCH STREET                                                         PHILADELPHIA        PA 19103‐2029
ENFORCEMENT BRANCH (3WP22)
U.S. EPA REGION IX                     75 HAWTHORNE ST.                                                                                                SAN FRANCISCO      CA   94105
U.S. FAB/WALLED LAKE                   407 BROADWAY AVE                                                                                                SWANTON            ON   43558‐1341
U.S. FARATHAN CORPORATION              CARLI FRANK X1130                      550 E MANDOLINE AVE         CHEMCAST GROUP                               MADISON HTS        MI   48071‐1401
U.S. FARATHAN CORPORATION              CARLI FRANK X1130                      CHEMCAST GROUP              550 E. MANDOLINE                             HAMPSHIRE          IL   60140
U.S. FARATHANE CORP.                   CAROLYN NEVIN X1137                    38000 MOUND ROAD                                                         JOHNSON CITY       TN
U.S. FARATHANE CORP.                   CAROLYN NEVIN X1137                    38000 MOUND RD                                                           STERLING HEIGHTS   MI   48310‐3461
U.S. FARATHANE CORPORATIN              CAROLYN NEVIN X1137                    11650 PARK CT               FARATHANE GROUP                              SHELBY TOWNSHIP    MI   48315‐3108
U.S. FARATHANE CORPORATIN              CAROLYN NEVIN X1137                    FARATHANE GROUP             11650 PARK COURT                             GRAND BLANC        MI   48439
U.S. FILTER CORPORATION                DEBORAH M. NEWELL, ESQ.                181 THORN HILL RD                                                        WARRENDALE         PA   15086‐7527
U.S. FILTER DISTRIBUTION GROUP, INC.   200 W STATE HIGHWAY 6                  AMERICAN PLAZA, SUITE 620                                                WACO               TX   76712‐3969
U.S. FILTER DISTRIBUTION GROUP, INC.   40004 COOK ST                                                                                                   PALM DESERT        CA   92211‐3299
U.S. FILTER OPERATING SERVICES, INC.   ATTN: DEBORAH M. NEWELL, ESQ.          181 THORN HILL RD                                                        WARRENDALE         PA   15086‐7527
U.S. FILTER OPERATING SERVICES, INC.   DEBORAH M. NEWELL, ESQ.                181 THORN HILL RD                                                        WARRENDALE         PA   15086‐7527
U.S. FILTER OPERATING SERVICES, INC.   C/O CHARLES M. O'DONNELL, PE           105 E 4TH ST STE 1850       TRIGEN‐CINERGY SOLUTIONS,                    CINCINNATI         OH   45202‐4087
                                                                                                          LLC
U.S. FILTER OPERATING SERVICES, INC.   ATTN: DENNIS FAUST                    600 CLUBHOUSE DR                                                          MOON TWP           PA 15108‐3195
U.S. FILTER/HAZEL PA                   1451 E 9 MILE RD                                                                                                HAZEL PARK         MI 48030‐1960
U.S. GAUGE & FIXTURE, INC.             ATTN: CORPORATE OFFICER/AUTHORIZED    6094 CORPORATE DR                                                         IRA                MI 48023‐1422
                                       AGENT
U.S. GAUGE & FIXTURE, INC.             6094 CORPORATE DRIVE                                                                                            IRA TOWNSHIP       MI 48023
U.S. GENERAL SEVICES ADMINSTRATION     1800 F ST NW                                                                                                    WASHINGTON         DC 20405‐0001

U.S. INDUSTRIAL TECHNOLOGIES           13075 NEWBURGH ROAD                                                                                             LIVONIA            MI 48150
U.S. INDUSTRIAL TECHNOLOGIES &         CONESTOGA‐ROVERS & ASSOC.             13075 NEWBURGH ROAD                                                       LIVONIA            MI 48150
CONESTOGA‐ROVERS & ASSOC.
U.S. LEGAL SUPPORT                     4232‐1 LAS VIRGENES ROAD              SUITE 100                                                                 CALABASAS          CA   91302
U.S. LUMBER GROUP, INC.                KATHEN CARLINO                        2160 SATELLITE BLVD.                                                      ATLANTA            GA
U.S. MUNICIPAL SUPPLY INC.                                                   RR 1 BOX 7B                                                                                  PA   16652
U.S. POSTAL MAINTENANCE                                                      4949 E VAN BUREN ST                                                                          AZ   85026
U.S. POSTAL SERVICE                    3902 MILWAUKEE ST                                                                                               MADISON            WI   53714‐3008
U.S. POSTAL SERVICE                    1144 FILLMORE ST NE                                                                                             MINNEAPOLIS        MN   55413‐1613
U.S. POSTAL SERVICE                    6771 WARNER AVE                                                                                                 HUNTINGTON BEACH   CA   92647‐9000
U.S. POSTAL SERVICE                    201 13TH ST                                                                                                     OAKLAND            CA   94612
U.S. POSTAL SERVICE                    415 1ST AVE N                                                                                                   SEATTLE            WA   98109‐4503
U.S. POSTAL SERVICE                    1000 WESTCHESTER AVE                                                                                            WHITE PLAINS       NY   10610‐1000
U.S. POSTAL SERVICE                    21 KILMER RD/VMF                                                                                                EDISON             NJ   08899
U.S. POSTAL SERVICE                    3870 ROGER B CHAFFEE MEM DR SE                                                                                  WYOMING            MI   49548‐3438
U.S. POSTAL SERVICE                    900 E MARKET ST                                                                                                 GREENSBORO         NC   27401‐3249
U.S. POSTAL SERVICE                    1591 DALTON STREET                                                                                              CINCINNATI         OH   45234
U.S. POSTAL SERVICE                    850 TWIN RIVERS DRIVE                                                                                           COLUMBUS           OH   43216
U.S. POSTAL SERVICE                    915 S LOGAN ST                                                                                                  DENVER             CO   80209‐4129
U.S. POSTAL SERVICE                    500 FULLERTON AVE                                                                                               CAROL STREAM       IL   60199‐5200
U.S. POSTAL SERVICE                    89 SAND ISLAND ACCESS RD                                                                                        HONOLULU           HI   96819‐2222
U.S. POSTAL SERVICE                    1100 KINGS ROAD                                                                                                 JACKSONVILLE       FL   32203
U.S. POSTAL SERVICE                    315 W. PERSHING RD.                                                                                             KANSAS CITY        MO   64108
U.S. POSTAL SERVICE                    4700 E MCCAIN BLVD                                                                                              LITTLE ROCK        AR   72231‐9998
U.S. POSTAL SERVICE                    2300 REDONDO AVE                                                                                                LONG BEACH         CA   90809‐9990
U.S. POSTAL SERVICE                    760 N MAIN ST                                                                                                   LOS ANGELES        CA   90012‐1842
U.S. POSTAL SERVICE                    30 OLD KARNER RD                                                                                                ALBANY             NY   12288‐9329
U.S. POSTAL SERVICE                    8221 PETERSBURG ST                                                                                              ANCHORAGE          AK   99507‐3132
                                         09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                            Part 37 of 40 Pg 676 of 901
Name                                     Address1                             Address2                         Address3    Address4               City           State Zip
U.S. POSTAL SERVICE                      60 W OLIVER/WARR AD                                                                                      BALTIMORE       MD 21201
U.S. POSTAL SERVICE                      421 BENIGNO BLVD.                                                                                        BELLMAWR        NJ 08031
U.S. POSTAL SERVICE                      135 A ST                                                                                                 BOSTON          MA 02210‐1301
U.S. POSTAL SERVICE                      PO BOX 59331                                                                                             CHARLESTON      WV 25350‐9331
U.S. POSTAL SERVICE                      600 W WASHINGTON ST                                                                                      GREENVILLE      SC 29602‐5000
U.S. POSTAL SERVICE                      2000 ROYAL OAKS DR                                                                                       SACRAMENTO      CA 95813‐9998
U.S. POSTAL SERVICE                      11251 RANCH CARMEL RM 310                                                                                SAN DIEGO       CA 92199
U.S. POSTAL SERVICE                      1750 LUNDY AVE                                                                                           SAN JOSE        CA 95101
U.S. POSTAL SERVICE                      1801 BROOK RD                                                                                            RICHMOND        VA 23232‐5000
U.S. POSTAL SERVICE                      999 BROAD ST                                                                                             NEWARK          NJ 07102‐2519
U.S. POSTAL SERVICE                      JAF RM 4564 PAPESCA                                                                                      NEW YORK        NY 10199
U.S. POSTAL SERVICE/VEHICLE MAINT.       4949 E. VAN BUREN ST.                                                                                    PHOENIX         AZ 85026
U.S. POSTAL SERVICE/VMF                  85 WESTON STREET                                                                                         HARTFORD        CT 06120
U.S. REAL PROPERTY, LLC                  ATTN: MICHAEL J. CLELAND             17190 DENVER ST                                                     DETROIT         MI 48224‐2235
U.S. REAL PROPERTY, LLC                  PO BOX 1012                                                                                              WIXOM           MI 48393‐1012
U.S. SECRET SERVICE                      1310 L ST NW STE 730                                                                                     WASHINGTON      DC 20223‐0001
U.S. SMOKELESS TOBACCO COMPANY           MICHAEL HOMONNAY                     6 HIGH RIDGE PARK                                                   STAMFORD        CT 06905‐1339
U.S. STONE                               BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS      OH 44236
U.S. TELEPACIFIC CORP. A CALIFORNIA      LINDA LAMAR                          800 WEST 6TH STREET, 4TH FLOOR                                      LOS ANGELES     CA 90017
CORPORATION DBA TELEPACIFIC
U.S. TESTING/HOBOKEN                     1415 PARK AVE                                                                                            HOBOKEN        NJ 07030‐3416
U.S. TREASURY                            ATTN: JOSEPH SAMARIAS, ESQ.          1500 PENNSYLVANIA AVENUE NW      ROOM 2312                          WASHINGTON     DC 20220

U.S. TSUBAKI, INC.                       MARK BULL                            106 LONCZAK DRIVE                                                   FLORENCE       KY    41042
U.S. TSUBAKI, INC.                       MARK BULL                            106 LONCZAK ST                                                      CHICOPEE       MA    01022‐1305
U.S.A. RENT A CAR                        820 MALCOLM RD                                                                                           BURLINGAME     CA    94010‐1407
U.S.A. RENT A CAR                        4751 W CENTURY BLVD                                                                                      INGLEWOOD      CA    90304‐1403
U.S.P.A. ACCESSORIES, LLC, DBA CONCEPT
ONE ACCESSORIES
U.S.X. CORPORATION                       600 GRANT STREET                                                                                         PITTSBURGH     PA 15219
U/W JESSE CLYDE JACKSON TEST TRUST       16003 HIGHWAY 55                                                                                         STERRETT       AL 35147
DTD 0
U/W JESSE CLYDE JACKSON TEST TRUST       JAMES R JACKSON & LOUISE J COLE CO   16003 HIGHWAY 55                                                    STERRETT        AL   35147
DTD 05/03/01                             TTEES
UAB HIGHLANDS APOTHE                     1201 11TH AVE S                                                                                          BIRMINGHAM      AL   35205‐3410
UAC INC                                  500 QUEEN ST                                                                                             SOUTHINGTON     CT   06489‐1801
UAC OF NIGERIA LIMITED                   CITY OF LAGOS                                                                     APAPA NIGERIA
UACI, BATIMENT BALDE ET FILS             B.P. 899                                                                          CONAKRY GUINEA
UADISKI, BARBARA LOUISE                  2509 NORTHBRANCH RD                                                                                      GROVE CITY     OH 43123‐1655
UAG CERRITOS, LLC                        PHILLIP HARTZ                        10901 183RD ST                                                      CERRITOS       CA 90703‐5333
UAG CERRITOS, LLC C/O PENSKE TOYOTA      MR. ROGER S. PENSKE, JR.             9136 FIRESTONE BLVD                                                 DOWNEY         CA 90241‐5319

UAG MICHIGAN CADILLAC, LLC               DENNIS COSTA                         8333 E 11 MILE RD                                                   WARREN         MI    48093‐2875
UAG MICHIGAN PONTIAC‐GMC LLC             PO BOX 749                                                                                               WARREN         MI    48090‐0749
UAG SOUTHBAY, LLC.                       PHILLIP HARTZ                        18600 HAWTHORNE BLVD                                                TORRANCE       CA    90504‐5504
UAG TORRANCE                             18600 HAWTHORNE BLVD                                                                                     TORRANCE       CA    90504‐5504
UAG TORRANCE, INC.                       18600 HAWTHORNE BLVD                                                                                     TORRANCE       CA    90504‐5504
UAG‐FAYETTEVILLE I, LLC                  GEORGE BROCHICK                      1310 W SHOWROOM DR                                                  FAYETTEVILLE   AR    72704‐6806
UAI GROUP/READING                        6 COMMERCE DR                        ATTN: ACCOUNTS RECEIVABLE                                           READING        PA    19607‐9700
UAMT SA                                                                       UZINELOR NR. 8                                                                     RO    41060
UAMT/ROMANIA                             UZINELOR NR. 8                                                                    ORADEA RO 410605
                                                                                                                           ROMANIA
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                                      Part 37 of 40 Pg 677 of 901
Name                              Address1                          Address2                   Address3                   Address4         City             State Zip
UAQ LOCAL 435                     ATTN: GENERAL COUNSEL             3304 OLD CAPITOL TRL                                                   WILMINGTON        DE 19808‐6210
UASC                              MIDALIA MUSA                      511 SOUTH AVE E                                                        CRANFORD          NJ 07016‐3205
UAW                               ATTN: GENERAL COUNSEL             5725 DELPHI DR                                                         TROY              MI 48098‐2815
UAW
UAW                               JAMES SETTLES                     8000 E JEFFERSON AVE                                                   DETROIT          MI   48214‐3963
UAW                               4700 W 10TH ST                                                                                           INDIANAPOLIS     IN   46222‐3277
UAW                               ATTN: GENERAL COUNSEL             3915 GERMANY LN STE 102                                                BEAVERCREEK      OH   45431‐1688
UAW                               RICHARD SHOEMAKER                 8000 E JEFFERSON AVE                                                   DETROIT          MI   48214‐3963
UAW                               6435 S SCATTERFIELD RD                                                                                   ANDERSON         IN   46013‐9619
UAW                               ATTN: GENERAL COUNSEL             5301 N 57TH ST STE 102                                                 LINCOLN          NE   68507‐3164
UAW                               ATTN: GENERAL COUNSEL             39180 AMRHEIN ROAD                                                     LIVONIA          MI   48150
UAW                               ATTN: GENERAL COUNSEL             21557 TELEGRAPH RD         P.O. BOX 5008                               SOUTHFIELD       MI   48033‐4248
UAW                               JOSEPH E. RUFFOLO                 600 CORPORATION DR                                                     PENDLETON        IN   46064‐8608
UAW                               ATTN: GENERAL COUNSEL             8000 E JEFFERSON AVE                                                   DETROIT          MI   48214‐2699
UAW                               CAL RAPSON                        8000 E JEFFERSON AVE                                                   DETROIT          MI   48214‐2699
UAW                               NOT AVAILABLE
UAW                               11047 PIERSON DR # E                                                                                     FREDERICKSBURG   VA   22408‐2062
UAW                               ATTN: JEFF MANNING                500 KINDLEBERGER RD                                                    KANSAS CITY      KS   66115‐1227
UAW                               2114 N ARMSTRONG ST                                                                                      KOKOMO           IN   46901‐5801
UAW                               514 DROVER ST                                                                                            INDIANAPOLIS     IN   46221‐1224
UAW                               ATTN: ED BARNEY                   1009 TILTON RD                                                         TILTON           IL   61833‐7100
UAW                               JAMES SETTLES                     8000 JEFFERSON AVE.                                                    DETROIT          MI
UAW                               ATTN: GENERAL COUNSEL             8000 JEFFERSON AVE.                                                    DETROIT          MI
UAW                               8000 E JEFFERSON AVE                                                                                     DETROIT          MI   48214‐3963
UAW ‐ LOCAL 1853                  125 STEPHEN P YOKICH PARKWAY      SPRING HILL                                                            TN
UAW ‐ LOCAL 1853                  125 STEPHEN P YOKICH PARKWAY                                                                             SPRING HILL      TN
UAW 645 FEDERAL CREDIT UNION      9608 VAN NUYS BLVD STE 106                                                                               PANORAMA CITY    CA   91402‐1042
UAW BLDG CORP ‐ LOCAL 1714        2121 CARSON SALT‐SPRINGS                                                                                 WARREN           OH   44481
UAW EAP FOOD DRIVE                C/O UAW‐GM JANESVILLE             1000 GENERAL MOTORS DR                                                 JANESVILLE       WI   53546‐2531
UAW FAMILY EDUCATION CENTER       10800 S SAGINAW ST                                                                                       GRAND BLANC      MI   48439‐8120
UAW FEDERAL CREDIT UNION          1811 PORTAL ST STE A                                                                                     BALTIMORE        MD   21224‐6547
UAW FORD LEGAL SVC PLAN           ATTN: BOB ESLER                   7430 2ND AVE # 200                                                     DETROIT          MI   48202‐2739
UAW GM CENTER FOR HUMAN RESOURCES 200 WALKER ST                                                                                            DETROIT          MI   48207‐4229

UAW GM CHR                         200 WALKER ST                                                                                           DETROIT          MI   48207‐4229
UAW GM NEW VEHICLE SHOW            5411 JACKMAN RD                                                                                         TOLEDO           OH   43613‐2348
UAW HALL                           ATTN: TITO BONETA                5615 CHEVROLET BLVD                                                    CLEVELAND        OH   44130‐1406
UAW INTERNATIONAL                  ATTN: GENERAL COUNSEL            8000 E JEFFERSON AVE                                                   DETROIT          MI   48214‐3963
UAW INTERNATIONAL                  ATTN: GENERAL COUNSEL            8000 JEFFERSON AVE.                                                    DETROIT          MI
UAW LOCA 2162                      1150 TERMINAL WAY STE 12                                                                                RENO             NV   89502‐2184
UAW LOCA 2162                      ATTN: GENERAL COUNSEL            1150 TERMINAL WAY STE 12                                               RENO             NV   89502‐2184
UAW LOCA 2162                      RENO PARTS DISTRIBUTION CENTER   ATTN: GENERAL COUNSEL      1150 TERMINAL WAY STE 12                    RENO             NV   89502‐2184
UAW LOCAL #23                      514 DROVER ST                                                                                           INDIANAPOLIS     IN   46221‐1224
UAW LOCAL #2402
UAW LOCAL #2402                    NOT AVAILABLE
UAW LOCAL #362                     4427 WILDER RD                                                                                          BAY CITY         MI   48706‐2207
UAW LOCAL #659                     4549 VAN SLYKE RD                                                                                       FLINT            MI   48507‐2297
UAW LOCAL 10                       5407 BUFORD HWY NE                                                                                      DORAVILLE        GA   30340‐1125
UAW LOCAL 1005                     5615 CHEVROLET BLVD                                                                                     PARMA            OH   44130‐1406
UAW LOCAL 1021                     414 E DENNIS AVE                                                                                        OLATHE           KS   66061‐4603
UAW LOCAL 1097                     221 DEWEY AVE                                                                                           ROCHESTER        NY   14608‐1102
UAW LOCAL 1112                     ATTN: FINANCIAL SECRETARY        11471 REUTHER DR SW                                                    WARREN           OH   44481‐9532
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                     Exhibit B
                                                                   Part 37 of 40 Pg 678 of 901
Name                             Address1                              Address2                          Address3                Address4               City           State Zip
UAW LOCAL 1112                   11471 REUTHER DR SW                                                                                                    WARREN          OH 44481‐9532
UAW LOCAL 1292                   G6153 S DORT HWY                                                                                                       GRAND BLANC     MI 48439
UAW LOCAL 1292                   G‐6153 S DORT HWY                                                                                                      GRAND BLANC     MI 48439
UAW LOCAL 1292                   ATTN: GENERAL COUNSEL                 6153 DORT HWY                                                                    GRAND BLANC     MI 48439‐8156
UAW LOCAL 1292                   ATTN: GENERAL COUNSEL                 229 S MAIN ST                                                                    BELLEFONTE      PA 16823‐3514
UAW LOCAL 1292                   GRAND BLANC METAL CENTER              ATTN: GENERAL COUNSEL             229 S MAIN ST                                  BELLEFONTE      PA 16823‐3514
UAW LOCAL 1292                   6153 DORT HWY                                                                                                          GRAND BLANC     MI 48439‐8156
UAW LOCAL 1374                   DETROIT METRO AIRPORT                 BLDG 530 EAST SERVICE DR                                                         DETROIT         MI 48242
UAW LOCAL 1374
UAW LOCAL 14                     5411 JACKMAN RD                                                                                                        TOLEDO         OH   43613‐2348
UAW LOCAL 14                     ATTN: GENERAL COUNSEL                 5411 JACKMAN RD                                                                  TOLEDO         OH   43613‐2348
UAW LOCAL 14 CIVIL RIGHTS UNIT   5411 JACKMAN RD                                                                                                        TOLEDO         OH   43613‐2348
UAW LOCAL 155                    KLIMIST MCKNIGHT SALE MCCLOW &        400 GALLERIA OFFICENTRE , 27710                                                  SOUTHFIELD     MI   48034
                                 CANZANO                               NORTHWESTERN HWY STE 117

UAW LOCAL 155                    400 GALLERIA OFFICENTRE , 27710                                                                                        SOUTHFIELD     MI 48034
                                 NORTHWESTERN HWY STE 117
UAW LOCAL 157                    ATTN: FINANCIAL SECRETARY             29841 VAN BORN RD                                                                ROMULUS        MI   48174‐2044
UAW LOCAL 1590                   1000 WARM SPRINGS AVE                                                                                                  MARTINSBURG    WV   25401
UAW LOCAL 1590                   608 CAPERTON BLVD STE 1590                                                                                             MARTINSBURG    WV   25403‐8267
UAW LOCAL 1590                   16625 MOSBY DR                                                                                                         WILLIAMSPORT   MD   21795‐1416
UAW LOCAL 160                    28504 LORNA AVE                                                                                                        WARREN         MI   48092‐2714
UAW LOCAL 160                    28504 LORNA                                                                                                            WARREN         ME
UAW LOCAL 1618                   898 OTTAWA CT                                                                                                          CHARLOTTE      MI   48813‐7702
UAW LOCAL 1618                   330 LANSING RD                                                                                                         LANSING        MI   48917
UAW LOCAL 163                    22635 PLYMOUTH RD                                                                                                      DETROIT        MI   48239‐1324
UAW LOCAL 163                    450 S MERRIMAN RD                                                                                                      WESTLAND       MI   48186‐5048
UAW LOCAL 1714                   2121 CARSON SALT SPRINGS RD SW                                                                                         WARREN         OH   44481
UAW LOCAL 1714                   2369 ELLSWORTH BAILEY RD SW                                                                                            WARREN         OH   44481‐9235
UAW LOCAL 1714                   LORDSTOWN COMPLEX WEST PLANT          2369 ELLSWORTH BAILEY RD SW                                                      WARREN         OH   44481‐9235
UAW LOCAL 1714                   2121 SALT SPRINGS RD                                                                                                   WARREN         OH   44481‐9788
UAW LOCAL 174                    ATTN: GENERAL COUNSEL                 2885 TYLER RD                                                                    YPSILANTI      MI   48198‐6126
UAW LOCAL 174                    29841 VAN BORN RD                                                                                                      ROMULUS        MI   48174‐2044
UAW LOCAL 174                    6495 W WARREN AVE                                                                                                      DETROIT        MI   48210‐1133
UAW LOCAL 174                    SERVICE PARTS OPERATIONS YPSILANTI    ATTN: GENERAL COUNSEL             2885 TYLER RD                                  YPSILANTI      MI   48198‐6126
                                 PLANT 87
UAW LOCAL 174                    ATTN: GENERAL COUNSEL                 29841 VAN BORN RD                                                                ROMULUS        MI   48174‐2044
UAW LOCAL 1753                   3204 W SAINT JOSEPH ST                                                                                                 LANSING        MI   48917‐3706
UAW LOCAL 1753                   ATTN: GENERAL COUNSEL                 4400 W MOUNT HOPE HWY                                                            LANSING        MI   48917‐9501
UAW LOCAL 1753                   LANSING NATIONAL PARTS DISTRIBUTION   ATTN: GENERAL COUNSEL             4400 W MOUNT HOPE HWY                          LANSING        MI   48917‐9501
                                 CENTER
UAW LOCAL 1776                   ATTN: CHARLES EVANS                   1070 MCCARTNEY AVE                                                               YPSILANTI      MI 48198‐6206
UAW LOCAL 1810
UAW LOCAL 1811
UAW LOCAL 1811                   PO BOX 7280                                                                                                            FLINT          MI 48507‐0280
UAW LOCAL 1853                   PO BOX 459                                                                                                             SPRING HILL    TN 37174‐0459
UAW LOCAL 1853                   MR. RICHARD SHOEMAKER, VICE           GENERAL MOTORS DEPARTMENT         8000 E JEFFERSON AVE                           DETROIT        MI 48214‐3963
                                 PRESIDENT AND DIRECTOR
UAW LOCAL 1853                   125 STEPHEN P YOKICH PARKWAY                                                                                           SPRING HILL    TN
UAW LOCAL 1853                   INTERNATIONAL UNION, UAW              MR. RICHARD SHOEMAKER, VICE       GENERAL MOTORS          8000 E JEFFERSON AVE   DETROIT        MI 48214‐3963
                                                                       PRESIDENT AND DIRECTOR            DEPARTMENT
                             09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                 Part 37 of 40 Pg 679 of 901
Name                         Address1                         Address2                       Address3                    Address4         City             State Zip
UAW LOCAL 1853               MR. MICHAEL HERRON               125 STEPHEN P YOKICH PARKWAY                                                SPRING HILL       TN

UAW LOCAL 1869                                                                                                                            DETROIT          MI
UAW LOCAL 1999               7125 S AIR DEPOT BLVD                                                                                        OKLAHOMA CITY    OK    73135‐5910
UAW LOCAL 2031               1118 VINE ST                                                                                                 ADRIAN           MI    49221‐3135
UAW LOCAL 2031               ATTN: NERISSA SCHNIEDER          1360 W BEECHER RD                                                           ADRIAN           MI    49221‐9701
UAW LOCAL 211                2120 BALTIMORE ST                                                                                            DEFIANCE         OH    43512‐1932
UAW LOCAL 211                MR. GRANT MUNCY, SHOP CHAIRMAN   2120 BALTIMORE ST                                                           DEFIANCE         OH    43512‐1995
UAW LOCAL 2114               ATTN EDITH SCHALK                PO BOX 2114                                                                 BOLINGBROOK      IL    60440‐0314
UAW LOCAL 2114               2600 SOUTH 25TH AVE                                                                                          BROADVIEW        IL    60155
UAW LOCAL 2123               11047 PIERSON DR STE E                                                                                       FREDERICKSBURG   VA    22408‐2062
UAW LOCAL 2162               1755 E PLUMB LN STE 111                                                                                      RENO             NV    89502‐3600
UAW LOCAL 2162               ATTN: PERSONNEL                  555 VISTA BLVD                                                              SPARKS           NV    89434‐9662
UAW LOCAL 2164               PO BOX 86                                                                                                    BOWLING GREEN    KY    42102‐0086
UAW LOCAL 2164               PO BOX 51082                                                                                                 BOWLING GREEN    KY    42102‐4382
UAW LOCAL 2164               712 PLUM SPRINGS LOOP                                                                                        BOWLING GREEN    KY    42101‐9122
UAW LOCAL 2166               6881 INDUSTRIAL LOOP                                                                                         SHREVEPORT       LA    71129
UAW LOCAL 2177               ATTN: GENERAL COUNSEL            1162 SUNSET LN                                                              BENSALEM         PA    19020‐7616
UAW LOCAL 2188               246 BENJAMIN H HILL DR W                                                                                     FITZGERALD       GA    31750‐8695
UAW LOCAL 2195               RT 1 BOC 82                                                                                                  TANNER           AL    35671
UAW LOCAL 22                 4300 MICHIGAN AVE                                                                                            DETROIT          MI    48210‐3242
UAW LOCAL 22                 ATTN: GEORGE MC GREGOR           4300 MICHIGAN AVE                                                           DETROIT          MI    48210‐3292
UAW LOCAL 22 CHAPLAINCY      4300 MICHIGAN AVE                                                                                            DETROIT          MI    48210‐3242
UAW LOCAL 2209               ATTN: CASSANDRA CALVERT          PO BOX 579                                                                  ROANOKE          IN    46783‐0579
UAW LOCAL 2209               ATTN: TODD ADAMS                 PO BOX 579                                                                  ROANOKE          IN    46783‐0579
UAW LOCAL 2209               PO BOX 579                       5820E/900N (LAFAYETTE CENTER                                                ROANOKE          IN    46783‐0579
                                                              ROAD)
UAW LOCAL 2250               1395 E PEARCE BLVD                                                                                           WENTZVILLE       MO    63385‐1925
UAW LOCAL 23                 514 DROVER ST                                                                                                INDIANAPOLIS     IN    46221‐1224
UAW LOCAL 239                1010 OLDHAM ST                                                                                               BALTIMORE        MD    21224‐4598
UAW LOCAL 2402               ATTN: GUSTINA HAMILTON           PO BOX 1435                                                                 BRANDON          MS    39043‐1435
UAW LOCAL 2402               ATTN: ROBERT RUDZAVICE           PO BOX 4402                                                                 BRANDON          MS    39047‐4402
UAW LOCAL 2402
UAW LOCAL 2402               NOT AVAILABLE
UAW LOCAL 2404               ATTN: GENERAL COUNSEL            PO BOX 38404                                                                CHARLOTTE        NC    28278‐1007
UAW LOCAL 2404               PO BOX 38404                                                                                                 CHARLOTTE        NC    28278‐1007
UAW LOCAL 2406               C/O FINANCIAL DIRECTOR           PO BOX 751655                                                               MEMPHIS          TN    38175‐1655
UAW LOCAL 25                 3900 GOODFELLOW BLVD                                                                                         SAINT LOUIS      MO    63120‐1531
UAW LOCAL 259 PENSION FUND   CLEARY & JOSEM, L.L.P.           ATT: JEREMY E MEYER ESQ        1650 MARKET ST. 51ST, ONE                    PHILADELPHIA     PA    19034
                                                                                             LIBERTY PLACE
UAW LOCAL 262                2140 HOLBROOK ST                                                                                             HAMTRAMCK         MI   48212‐3443
UAW LOCAL 276                2505 W E ROBERTS DR                                                                                          GRAND PRAIRIE     TX   75051‐1025
UAW LOCAL 276                2505 SHERMAN ST                                                                                              GRAND PRAIRIE     TX   75051
UAW LOCAL 292                1201 W ALTO RD                                                                                               KOKOMO            IN   46902‐4970
UAW LOCAL 31                 500 KINDLEBERGER RD                                                                                          KANSAS CITY       KS   66115‐1227
UAW LOCAL 323                PO BOX 550828                                                                                                JACKSONVILLE      FL   32255‐0828
UAW LOCAL 323
UAW LOCAL 323                NOT AVAILABLE
UAW LOCAL 362                ATTN: GENERAL COUNSEL            100 WOODSIDE AVENUE                                                         BAY CITY         MI    48708
UAW LOCAL 362                4427 WILDER RD                                                                                               BAY CITY         MI    48706‐2207
UAW LOCAL 362                GMPT BAY CITY                    ATTN: GENERAL COUNSEL          100 WOODSIDE AVENUE                          BAY CITY         MI    48708
UAW LOCAL 422                188 CONCORD ST STE 400                                                                                       FRAMINGHAM       MA    01702‐8315
                 09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                  Part 37 of 40 Pg 680 of 901
Name             Address1                             Address2                Address3            Address4              City               State Zip
UAW LOCAL 422    188 CONCORD ST.                                                                                        FRAMINGHAM          MA 01702
UAW LOCAL 431    23400 SMITH RD                                                                                         AURORA              CO 80019‐3802
UAW LOCAL 431    PO BOX 5527                                                                                            DENVER              CO 80217‐5527
UAW LOCAL 435    3304 OLD CAPITOL TRL                                                                                   WILMINGTON          DE 19808‐6210
UAW LOCAL 435    ATTN: GENERAL COUNSEL                3304 OLD CAPITOL TRL                                              WILMINGTON          DE 19808‐6210
UAW LOCAL 440    PO BOX 804                                                                                             BEDFORD             IN 47421
UAW LOCAL 455    110 FLORENCE ST                                                                                        SAGINAW             MI 48602‐1202
UAW LOCAL 465    32 ANDREWS ST                                                                                          MASSENA             NY 13662‐1804
UAW LOCAL 488    3731 COVINGTON RD                                                                                      KALAMAZOO           MI 49001‐1880
UAW LOCAL 492    PO BOX 429                                                                                             BEAVERTON           OR 97075
UAW LOCAL 492    PO BOX C                                                                                               BEAVERTON           OR 97075‐0079
UAW LOCAL 499    3501 S WALNUT ST                                                                                       MUNCIE              IN 47302‐5648
UAW LOCAL 509    6508 ROSEMEAD BLVD                                                                                     PICO RIVERA         CA 90660‐3532
UAW LOCAL 544    207 RICHLAND AVE                                                                                       DRAVOSBURG          PA 15034‐1104
UAW LOCAL 544    CORNER MAPLE & RICHLAND AVE                                                                            DRAVOSBURG          PA 15034
UAW LOCAL 549    2510 W 4TH ST                                                                                          MANSFIELD           OH 44906‐1209
UAW LOCAL 572    485 W MILWAUKEE ST                   MAIL CODE 482‐300‐B03                                             DETROIT             MI 48202‐3220
UAW LOCAL 579    1009 TILTON RD                                                                                         TILTON               IL 61833‐7100
UAW LOCAL 595    56 VINEYARD RD                                                                                         EDISON              NJ 08817‐4753
UAW LOCAL 595    520 W EDGAR RD                                                                                         LINDEN              NJ 07036‐6502
UAW LOCAL 5960   180 E SILVERBELL RD                                                                                    LAKE ORION          MI 48360‐2486
UAW LOCAL 598    ATTN: C. PHILLLIPS                   G3293 VAN SLYKE RD                                                FLINT               MI 48507‐3292
UAW LOCAL 598    ATTN: GERALD COLE                    G3293 VAN SLYKE RD                                                FLINT               MI 48507‐3292
UAW LOCAL 599    812 LEITH ST                                                                                           FLINT               MI 48505‐4512
UAW LOCAL 599    902 E LEITH                                                                                            FLINT               MI 48550‐0001
UAW LOCAL 602    2510 W MICHIGAN AVE                                                                                    LANSING             MI 48917‐2997
UAW LOCAL 651    3518 ROBERT T LONGWAY BLVD                                                                             FLINT               MI 48506‐4121
UAW LOCAL 652    426 CLARE ST                                                                                           LANSING             MI 48917‐3897
UAW LOCAL 653    ATTN: GENERAL COUNSEL                670 E WALTON BLVD                                                 PONTIAC             MI 48340‐1359
UAW LOCAL 653    670 E WALTON BLVD                                                                                      PONTIAC             MI 48340‐1359
UAW LOCAL 653    GM SERVICE PARTS OPERATIONS, PONTIAC ATTN: GENERAL COUNSEL   670 E WALTON BLVD                         PONTIAC             MI 48340‐1359
                 PARTS PLANT
UAW LOCAL 653    SPO PONTIAC MANAGEMENT               ATTN: GENERAL COUNSEL   670 E WALTON BLVD                         PONTIAC            MI   48340‐1359
UAW LOCAL 659    ATTN: GENERAL COUNSEL                4549 VAN SLYKE RD                                                 FLINT              MI   48507‐2216
UAW LOCAL 659    ATTN: GENERAL COUNSEL                425 STEVENSON ST        P.O. BOX 1730                             FLINT              MI   48504‐4925
UAW LOCAL 659    G2238 W BRISTOL                                                                                        FLINT              MI   48553‐0001
UAW LOCAL 659    ATTN ACCOUNTS RECEIVABLE             4549 VAN SLYKE RD                                                 FLINT              MI   48507‐2216
UAW LOCAL 659    4549 VAN SLYKE RD                                                                                      FLINT              MI   48507‐2297
UAW LOCAL 659    FLINT METAL CENTER                   G2238 W BRISTOL                                                   FLINT              MI   48553‐0001
UAW LOCAL 659    FLINT TOOL & DIE                     ATTN: GENERAL COUNSEL   425 STEVENSON ST    P.O. BOX 1730         FLINT              MI   48504‐4925
UAW LOCAL 662    2840 S MADISON AVE                                                                                     ANDERSON           IN   46016‐4941
UAW LOCAL 662    KIETH HAMILTON                       2025 HILLCREST DR                                                 ANDERSON           IN   46012‐4224
UAW LOCAL 663    2840 S MADISON AVE                                                                                     ANDERSON           IN   46016‐4941
UAW LOCAL 6645   PO BOX 1873                                                                                            LA MIRADA          CA   90637‐1873
UAW LOCAL 6645   PO BOX 868                                                                                             RANCHO CUCAMONGA   CA   91729‐0868
UAW LOCAL 6645   ATTN: GENERAL COUNSEL                15056 ALONDRA BLVD                                                LA MIRADA          CA   90638‐5701
UAW LOCAL 6645   15056 ALONDRA BLVD                                                                                     LA MIRADA          CA   90638‐5701
UAW LOCAL 668    ATTN: GENERAL COUNSEL                1629 N WASHINGTON AVE                                             SAGINAW            MI   48601‐1211
UAW LOCAL 668    ATTN: GENERAL COUNSEL                515 N WASHINGTON AVE    STE 500                                   SAGINAW            MI   48607‐1387
UAW LOCAL 668    515 N WASHINGTON AVENUE              5TH FLOOR                                                         SAGINAW            MI   48607
UAW LOCAL 668    515 N WASHINGTON 5TH FLOOR                                                                             SAGINAW            MI   48607
UAW LOCAL 668    515 N WASHINGTON AVE                 STE 500                                                           SAGINAW            MI   48607‐1387
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                        Part 37 of 40 Pg 681 of 901
Name                                 Address1                            Address2                        Address3                Address4         City            State Zip
UAW LOCAL 668                        GMPT POWERTRAIN SAGINAW METAL       ATTN: GENERAL COUNSEL           1629 N WASHINGTON AVE                    SAGINAW          MI 48601‐1211
                                     CASTING OPERATIONS
UAW LOCAL 668                        GMPT SAGINAW METAL CASTING          ATTN: GENERAL COUNSEL           1629 N WASHINGTON AVE                    SAGINAW         MI 48601‐1211
                                     OPERATIONS
UAW LOCAL 668                        GMPT‐SAGINAW GREY IRON PLANT        ATTN: GENERAL COUNSEL           515 N WASHINGTON AVE    STE 500          SAGINAW         MI   48607‐1387
UAW LOCAL 668                        GMPTG‐SMCO                          ATTN: GENERAL COUNSEL           1629 N WASHINGTON AVE                    SAGINAW         MI   48601‐1211
UAW LOCAL 668                        SAGINAW GREY IRON PLANT             ATTN: GENERAL COUNSEL           515 N WASHINGTON AVE    STE 500          SAGINAW         MI   48607‐1387
UAW LOCAL 668                        RICHARD D. DIFFIN                   515 N WASHINGTON AVE            STE 500                                  SAGINAW         MI   48607‐1387
UAW LOCAL 674                        1233 SYMMES RD                                                                                               FAIRFIELD       OH   45014‐1902
UAW LOCAL 694                        9500 WEST OGDEN AVENUE                                                                                       BROOKFIELD      IL   60513
UAW LOCAL 694                        9500 W OGDEN ST                                                                                              BROOKFIELD      IL   60513
UAW LOCAL 696                        1543 ALWILDY AVE                                                                                             DAYTON          OH   45408‐2609
UAW LOCAL 722                        ATTN: GENERAL COUNSEL               1404 130TH AVE                                                           NEW RICHMOND    WI   54017‐6609
UAW LOCAL 730                        ATTN: GENERAL COUNSEL               3852 BUCHANAN AVE SW                                                     GRAND RAPIDS    MI   49548‐3111
UAW LOCAL 730                        ATTN: GENERAL COUNSEL               300 36TH ST SW                                                           GRAND RAPIDS    MI   49548‐2107
UAW LOCAL 730                        3852 BUCHANAN AVE SW                                                                                         GRAND RAPIDS    MI   49548‐3111
UAW LOCAL 730                        GENERAL MOTORS GRAND RAPIDS METAL   ATTN: GENERAL COUNSEL           300 36TH ST SW                           GRAND RAPIDS    MI   49548‐2107
                                     CENTER
UAW LOCAL 730                        GENERAL MOTORS‐GRAND RAPIDS         ATTN: GENERAL COUNSEL           300 36TH ST SW                           GRAND RAPIDS    MI 49548‐2107
UAW LOCAL 730 VETERANS COMMITTEE     UNION MADE FLAGS & USA FLAG POLE    3852 BUCHANAN AVE SW                                                     GRAND RAPIDS    MI 49548‐3111
                                     SALE
UAW LOCAL 731                        AUDITING DEPARTMENT                 8000 E JEFFERSON AVE                                                     DETROIT         MI   48214‐3963
UAW LOCAL 735                        48055 MICHIGAN AVE                                                                                           CANTON          MI   48188‐2239
UAW LOCAL 774                        2939 NIAGARA ST                                                                                              BUFFALO         NY   14207‐1056
UAW LOCAL 7777                       ATTN: ALVIN WHITE                   3633 MICHIGAN AVE # 250                                                  DETROIT         MI   48216‐1089
UAW LOCAL 816                        PO BOX 497                                                                                                   ROANOKE         TX   76262‐0497
UAW LOCAL 816                        ATTN: GENERAL COUNSEL               109 C BELLVUE                                                            FORT WORTH      TX   76134
UAW LOCAL 854                        PO BOX 666                                                                                                   EAST SYRACUSE   NY   13057‐0666
UAW LOCAL 909                        5587 STEPHENS RD                                                                                             WARREN          MI   48091‐5600
UAW LOCAL 933                        2320 S TIBBS                                                                                                 INDIANAPOLIS    IN   46241
UAW LOCAL 95                         1795 LAFAYETTE ST                                                                                            JANESVILLE      WI   53546‐2844
UAW LOCAL 969                        ATTN: JOHN O LAFERTY                3761 HARDING DR                                                          COLUMBUS        OH   43228‐1478
UAW LOCAL 977                        520 N BRADNER AVE                                                                                            MARION          IN   46952‐2450
UAW LOCAL BENEFITS PLANS             ATTN: JIM UNDERHILL                 1000 GENERAL MOTORS DR                                                   JANESVILLE      WI   53546‐2531
UAW LOCAL NO 735                     48055 MICHIGAN AVE                                                                                           CANTON          MI   48188‐2239
UAW LOCAL NO. 23                     ATTN: GENERAL COUNSEL               514 DROVER ST                                                            INDIANAPOLIS    IN   46221‐1224
UAW MO‐KAN FEDERAL CREDIT UNION      3254 BRINKERHOFF RD                                                                                          KANSAS CITY     KS   66115‐1203
UAW PENSION
UAW PENSION                          NOT AVAILABLE
UAW PROFIT SHARING
UAW PROFIT SHARING                   NOT AVAILABLE
UAW REGION 1‐C                       1940 W ATHERTON RD                                                                                           FLINT           MI 48507‐2201
UAW REGION 1A SERVICE & CHARITABLE   9650 TELEGRAPH RD                                                                                            TAYLOR          MI 48180‐3333
FUND
UAW REGION 1D                        500 SHATTUCK RD                                                                                              SAGINAW         MI   48604‐2329
UAW REGION 3                         5850 FORTUNE CIR W                                                                                           INDIANAPOLIS    IN   46241‐5503
UAW REGION 5                         721 DUNN RD                                                                                                  HAZELWOOD       MO   63042‐1740
UAW REGION 8                         BANK ONE, DEPT 78232                ARTICLE 23 VOLUNTARY EXCHANGE   PO BOX 78000                             DETROIT         MI   48278‐0232

UAW REGION 9 VETERANS COMMITTEE      35 GEORGE KARL BLVD                                                                                          WILLIAMSVILLE   NY 14221
UAW SHOP COMMITTEE LOCAL 435         ATTN: GENERAL COUNSEL               3304 OLD CAPITOL TRL                                                     WILMINGTON      DE 19808‐6210
UAW UNION                            ATTN: JOE STARR                     105 GM DR                                                                BEDFORD         IN 47421‐1558
                                     09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                      Part 37 of 40 Pg 682 of 901
Name                                Address1                         Address2                     Address3         Address4                  City                   State Zip
UAW V‐CAP                           DEPT 78232 BANK 1                PO BOX 7800‐0232                                                        DETROIT                 MI 48278‐0001
UAW WORK CTR                        1001 WOODSIDE AVE                                                                                        BAY CITY                MI 48708‐5470
UAW, LOCAL #659                     4549 VAN SLYKE RD                                                                                        FLINT                   MI 48507‐2297
UAW, LOCAL 1853                     125 STEPHEN P YOKICH PARKWAY                                                                             SPRING HILL             TN
UAW, LOCAL 653                      670 E WALTON BLVD                                                                                        PONTIAC                 MI 48340‐1359
UAW, LOCAL 95                       1795 LAFAYETTE ST                                                                                        JANESVILLE              WI 53546‐2844
UAW‐CIO FEDERAL CREDIT UNION        ATTN: DONNA JOHNSON              3254 BRINKERHOFF RD                                                     KANSAS CITY             KS 66115‐1203
UAW‐GM CENTER FOR HUMAN             200 WALKER ST                                                                                            DETROIT                 MI 48207‐4229
RESOURCES
UAW‐GM HUMAN RESOURCE CENTER        200 WALKER ST                                                                                            DETROIT                 MI   48207‐4229
UAW‐GM HUMAN RESOURCES CENTER       200 WALKER ST                                                                                            DETROIT                 MI   48207‐4229
UAW‐GM LEGAL SERVICES PLAN          7430 2ND AVE STE 200                                                                                     DETROIT                 MI   48202‐2739
UAW‐GM LEGAL SERVICES PLAN          7430 2ND AVE                     200 ALBERT KAHN BUILDING                                                DETROIT                 MI   48202‐2704
UAW‐GM LEGAL SVC PLAN               ATTN: RICHELLE HALL              91 N SAGINAW ST # 204                                                   PONTIAC                 MI   48342‐2165
UAW‐GM MERCHANDIS/MI                800 TECH ROW                                                                                             MADISON HEIGHTS         MI   48071‐4678
UAW‐GM STAMPING                     3852 BUCHANAN AVE SW                                                                                     GRAND RAPIDS            MI   49548‐3111
UAW‐UNITED AUTOMOBILE ARSPC         ATTN: MAX MILLER                 300 36TH ST SW                                                          WYOMING                 MI   49548‐2107
UAW/CHRYSLER
UAW/CHRYSLER                        NOT AVAILABLE
UAW/GM NEW VEHICLE SHOW             5411 JACKMAN RD                                                                                          TOLEDO                   OH 43613‐2348
UAW/HUMAN RESOURCE                  2630 FEATHERSTONE RD                                                                                     AUBURN HILLS             MI 48326‐2814
UB FAMILY MEDICINE                  PO BOX 8000                                                                                              BUFFALO                  NY 14267‐0002
UB FOUNDATION ACTIVITIES            BAIRD RESEARCH PARK UPD 2/26PH   1576 SWEET HOME RD STE 212                                              BUFFALO                  NY 14228
UB FOUNDATION INC                   DIVISION OF MICROCOMPUTER EDUC   126 JACOBS MANAGEMENT CTR                                               BUFFALO                  NY 14260‐4000
UB ROBOTICS                         UNIVERSITY OF BUFFALO            320 BONNER HALL                                                         BUFFALO                  NY 14260‐1900
UBA SWINFORD                        210 CARRIGAN PT                  C/O LARRY J MECHEM                                                      NOBLESVILLE              IN 46062‐9191
UBAID REHMAN                        45253 BARTLETT DR                                                                                        NOVI                     MI 48377‐2568
UBALDO FAJARDO                      13321 GOLDEN VALLEY LN                                                                                   GRANADA HILLS            CA 91344‐1145
UBALDO FINATERI                     8612 N 32ND AVE                                                                                          PHOENIX                  AZ 85051‐9011
UBALDO GONZALEZ                     7247 ARBOR LN                                                                                            JUSTICE                  IL 60458‐1180
UBALDO J MARTINEZ                   15956 SEQUIOR                                                                                            FONTANA                  CA 92335
UBALDO PADILLA                      3061 S BELSAY RD                                                                                         BURTON                   MI 48519‐1617
UBALLE JR, ESTEBAN                  2742 ROSE CENTER RD                                                                                      HIGHLAND                 MI 48356‐1234
UBALLE, MARIA T                     1129 MEADOWLAWN                                                                                          PONTIAC                  MI 48340‐1735
UBAN, CARY D                        11206 E ATHERTON RD                                                                                      DAVISON                  MI 48423‐9201
UBBES, JOHN M                       4970 ROSS DR                                                                                             WATERFORD                MI 48328‐1046
UBBO HEYKEN                         GOETHESTR. 18                                                                                            DIETENHEIM REGGLISWEILER    89165

UBE AUTOMOTIVE N AMERICA MASON PLT 39555 ORCHARD HILL PL             STE 240                                                                 NOVI                    MI 48375‐5345

UBE AUTOMOTIVE N AMERICA MASON PLT 4600 N MASON MONTGOMERY RD                                                                                MASON                   OH 45040‐9176

UBE AUTOMOTIVE NA SARNIA PLT        CHUCK TURNER X103                21 UBE DRIVE                                  GUELPH ON CANADA
UBE AUTOMOTIVE NA SARNIA PLT I      CHUCK TURNER                     C/O KUNTZ ELECTRO INC        851 WILSON AVE   TILLSONBURG ON CANADA
UBE AUTOMOTIVE NA SARNIAPLT INC     21 UBE DR                                                                      SARNIA ON N7W 1B6
                                                                                                                   CANADA
UBE AUTOMOTIVE NORTH AMERICA LLC    21 UBE DR                                                                      SARNIA CANADA ON N7W
                                                                                                                   1B6 CANADA
UBE INDUSTRIES LTD                                                   SEAVANS NORTH BLDG 1‐2‐1                      MINATO‐KU TOKYO,JP,105‐
                                                                     SHIBAURA                                      8449,JAPAN
UBE INDUSTRIES LTD                  21 UBE DR                                                                      SARNIA ON N7W 1B6
                                                                                                                   CANADA
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                        Part 37 of 40 Pg 683 of 901
Name                                 Address1                            Address2                         Address3             Address4                City                State Zip
UBE INDUSTRIES LTD                   4600 N MASON MONTGOMERY RD                                                                                        MASON                OH 45040‐9176
UBE INDUSTRIES LTD                   CHUCK TURNER                        C/O KUNTZ ELECTRO INC            851 WILSON AVE       TILLSONBURG ON CANADA
UBE INDUSTRIES LTD                   CHUCK TURNER X103                   21 UBE DRIVE                                          GUELPH ON CANADA
UBE INDUSTRIES LTD                   DENNY FERELL                        3066 SIDCO DR                                                                 NASHVILLE           TN 37204‐4506
UBE INDUSTRIES LTD                   SEAVANS NORTH BLDG 1‐2‐1 SHIBAURA                                                         MINATO‐KU TOKYO 105‐
                                                                                                                               8449 JAPAN
UBE MACH/5700 S STAT                 5700 S STATE RD                                                                                                   ANN ARBOR           MI    48108‐9795
UBEL, WILLIAM T                      1806 E CONCORD RD                                                                                                 AMELIA              OH    45102‐2207
UBELHOR, MARILYN F                   2260 210TH ST                                                                                                     GARNER              IA    50438‐8728
UBER, ANN E                          202 BEDFORD TRL APT 102                                                                                           SUN CITY CTR        FL    33573‐6061
UBER, LINDA L                        2306 SUGAR MAPLE DR                                                                                               BRIGHTON            MI    48116‐6767
UBER, RICHARD J                      2805 STACEY STREET                                                                                                THOMPSONS STN       TN    37179‐5218
UBER, RICHARD J                      2805 STACEY ST                                                                                                    THOMPSONS STATION   TN    37179‐5218
UBER, RICHARD W                      7224 W MARKET ST LOT 86                                                                                           MERCER              PA    16137‐6652
UBER, ROGER L                        6660 SODOM HUTCHINGS RD                                                                                           GIRARD              OH    44420‐1211
UBER, SUSAN MAY                      3862 POINTERS WAY SW                                                                                              CONYERS             GA    30094‐4073
UBERTA ANTHONY                       UBERTA, ANTHONY                     120 WEST MADISON STREET , 10TH                                                CHICAGO             IL    60602
                                                                         FLOOR
UBF/MICRO MBA                        108 JACOBS MANAGEMENT CTR                                                                                         BUFFALO             NY 14260‐4000
UBIALI ANTONIA                       LA SCALA                            STUDIO LEGALE E TRIBUTARIO       CORSO MAGENTA N 42   20123 MILANO ITALY
UBIALI ENRICO MARIA                  LA SCALA                            STUDIO LEGALE E TRIBUTANO        CORSO MAGENTA N 42   20123 MILANO ITALY
UBIALI ENRICO MARIA                  C/O LA SCALA                        STUDIO LEGALE E TRIBUTANO        CORO MAGENTA N 42    20123 MILANO ITALY
UBILES, ROSA C                       PO BOX 1406                                                                                                       LOCKPORT            NY    14095‐1406
UBILLUS, JORGE E                     14927 HARVEST ST                                                                                                  MISSION HILLS       CA    91345‐1216
UBIQUITI INC                         122 S MAIN ST STE 355                                                                                             ANN ARBOR           MI    48104‐1925
UBIQUITI INC                         2001 COMMONWEALTH BLVD STE 207                                                                                    ANN ARBOR           MI    48105‐1568
UBIQUITI NETWORKS                    91 E TASMAN DR                                                                                                    SAN JOSE            CA    95134‐1618
UBIQUITY SOFTWARE CORPORATION        203 REDWOOD SHORES PKWY STE 500                                                                                   REDWOOD CITY        CA    94065‐6105
UBISENSE INC                         5445 DTC PKWY                       STE 1110                                                                      ENGLEWOOD           CO    80111‐9104
UBL, RAYMOND L                       W9976 ALLCAN RD                                                                                                   NEW LONDON          WI    56861‐7300
UBS AG                               BAHNHOFSTRASSE 45                                                                         ZURICH, CH‐80
                                                                                                                               SWITZERLAND
UBS AG                               ATTN: MR. STEPHEN THATCHER, DIRECTOR USB AG                          677 WASHINGTON                               STAMFORD             CT   06901
                                     & COUNSEL                                                            BOULEVARD
UBS AG                               STEPHEN A THATCHER                   DIRECTOR & COUNSEL              UBS AG               677 WASHINGTON BLVD     STAMFORD             CT   06901
                                                                                                                               8TH FLOOR
UBS AG ZURICH                        SECURITIES SERVICES OQ9C 05GC       PO BOX                                                CH 8098 ZURICH
                                                                                                                               SWITZERLAND
UBS AG ZURICH SWITZERLAND            SECURITIES SERVICES OQ9C O5GC       PO BOX                                                C 8098 ZURICH
                                                                                                                               SWITZERLAND
UBS FINANCIAL SERVICES FBO ANTON     ANTON BOVA                          N60W39640 MARY LANE                                                           OCONOMOWOC          WI 53066
BOVA
UBS FINANCIAL SERVICES FBO KATHRYN   KATHRYN BOVA                        N60 W 39640 MARY LN                                                           OCONOMOWOC          WI 53066
BOVA
UBS FINANCIAL SERVICES FBO KATHRYN   KATHRYN BOVA                        N60W39640 MARY LANE                                                           OCONOMOWOC          WI 53066
BOVA
UBS FINANCIAL SERVICES FBO LARRY     LARRY ELLIOT                        591 TOEPFER                                                                   MADISON             WI 53711
ELLIOT
UBS GLOBAL ASSET MANAGEMENT          PO BOX NO                           23387 NETWORK PLACE                                                           CHICAGO              IL   60673‐1233
UBS SECURITIES (SWAPS) INC.          677 WASHINGTON BLVD                                                                                               STAMFORD             CT   06901‐3707
UBS SECURITIES LLC                   ATTENTION: LIABILITY MANAGEMENT     677 WASHINGTON BLVD                                                           STAMFORD             CT   06901‐3707
                                     GROUP
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                     Part 37 of 40 Pg 684 of 901
Name                              Address1                        Address2                     Address3          Address4                 City                   State Zip
UC ‐ 2003 LABOR DISPUTES          NO ADVERSE PARTY
UC DAVIS MED CENTER                                               2800 49TH ST                                                                                    CA   95817
UC REGENTS                        201 HAHN STUDENT SERVICES       1156 HIGH ST                                                            SANTA CRUZ              CA   95064‐1077
UC REGENTS/UCLA CEED              ATTN CATHERINE DOUGLAS          6291 BEL TER                 405 HILGARD AVE                            LOS ANGELES             CA   90095‐1600
UCAKAR, JOHN                      1777 S CURTIS RD                                                                                        BOISE                   ID   83705
UCAR, MANAS
UCB PHARMA, INC.                  ANN FINCHAM                     1950 LAKE PARK DR SE                                                    SMYRNA                 GA    30080‐7648
UCCELLO JOHN                      UCCELLO, JOHN                   25 MALL RD STE 300                                                      BURLINGTON             MA    01803‐4145
UCCI FRED (421524) ‐ UCCI FRED    ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                                     NEW YORK               NY    10006‐1638
UCCI, FRED                        ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                                     NEW YORK               NY    10006‐1638
UCHANSKI, FRANCIS A               7611 MILLER RD                                                                                          DEARBORN               MI    48126‐1395
UCHE NWODO                        801 LEGACY DR APT 1925                                                                                  PLANO                  TX    75023
UCHICAGO ARGONNE LLC              5801 S ELLIS AVE                                                                                        CHICAGO                IL    60637
UCHICAGO ARGONNE LLC              9700 CASS AVE                                                                                           LEMONT                 IL    60439
UCHICAGO ARGONNE, LLC             WILLIAM M. WALSH                9700 SOUTH CASS AVE                                                     LEMONT                 IL    60439
UCHIGASHIMA, ROY E                1012 GREENWOOD AVENUE                                                                                   LANSING                MI    48915‐1539
UCHIYAMA AMERICA INC              494 ARRINGTON BRIDGE RD                                                                                 GOLDSBORO              NC    27530‐8538
UCHIYAMA AMERICA INC              MIKE MITCHELL X245              494 ARRINGTON BRIDGE ROAD                                               ROYAL OAK              MI    48073
UCHIYAMA MANUFACTURING CORP       338 ENAMI                                                                      OKAYAMA 702‐8004 JAPAN
UCHIYAMA MANUFACTURING CORP       494 ARRINGTON BRIDGE RD                                                                                 GOLDSBORO              NC    27530‐8538
UCHIYAMA/GOLDSBORO                494 ARRINGTON BRIDGE RD                                                                                 GOLDSBORO              NC    27530‐8538
UCHNIAT, MARTHA J                 541 S HIGHLAND ST                                                                                       DEARBORN               MI    48124‐1639
UCHNO LELAND, PATRICE L           313 EDMUND AVE                                                                                          ROYAL OAK              MI    48073‐2647
UCHTMAN, DAVID C                  16301 CANYON RIDGE RD                                                                                   LEO                    IN    46765‐9566
UCHTMAN, WILLIAM M                285 WOODYARD DR                                                                                         MONROE                 OH    45050‐1642
UCHWAT, DORIS J.                  261 E LA ESPINA                                                                                         GREEN VALLEY           AZ    85614‐2110
UCHWAT, EDWARD J                  161 DEERING ST                                                                                          GARDEN CITY            MI    48135‐3158
UCIAN GARBACIK                    2401 SONORA ST                                                                                          KALAMAZOO              MI    49004‐1050
UCINSKI, STEPHEN L                1575 E LEONARD RD                                                                                       LEONARD                MI    48367‐2043
UCLA EXTENSION                    PO BOX 24901                    REGENTS OF UC DEPARTMENT K                                              LOS ANGELES            CA    90024‐0901
UCLA FLEET & TRANSIT SERVICES     741 CHARLES E YOUNG DR                                                                                  LOS ANGELES            CA    90095‐8342
UCLA FLEET AND TRAISIT SERVICES                                   741 CHARLES YOUNG DR SOUTH                                                                     CA    90095
UCLA MANAGEMENT EDUCATION         110 WESTWOOD PLZ A101                                                                                   LOS ANGELES            CA    90095‐1464
ASSOCIATES
UCM/SREP‐CORPORATE WOODS LLC      FBO UBS F DEPT CH17865                                                                                  PALATINE               IL    60055‐7865
UCOK ASLI BURCU                   1259 LAKESIDE DR APT 3212                                                                               SUNNYVALE              CA    94085‐1086
UD RESEARCH INSTITUTE             300 COLLEGE PARK UNIT KL508                                                                             UNIVERSITY OF DAYTON   OH    45469
UDABE, ROMAN                      1211 W R ST                                                                                             WILMINGTON             CA    90744‐1238
UDALL, GEORGE L                   5776 EAGLE CREEK RD                                                                                     LEAVITTSBURG           OH    44430‐9767
UDANOH, INEZ                      1208 RAVENNA ST                                                                                         MANSFIELD              TX    76063‐6050
UDASH CORP                        PO BOX 923340                                                                                           SYLMAR                 CA    91392‐3340
UDASH INC                         200 ASHDALE AVE                                                                                         LOS ANGELES            CA    90049‐2405
UDAY KORDE                        7499 BUCKTHORN DR                                                                                       WEST BLOOMFIELD        MI    48324‐2519
UDCHIK ANTHONY                    UDCHIK, ANTHONY                 STATE FARM                   P.O. BOX 2371                              BLOOMINGTON            IL    61702‐2371
UDCHIK, ANTHONY                   STATE FARM                      PO BOX 2371                                                             BLOOMINGTON            IL    61702‐2371
UDCHIK, ANTHONY
UDDEHOLM LTD                      2595 MEADOWVALE BLVD                                                           MISSISSAUGA CANADA ON
                                                                                                                 L5N 7Y3 CANADA
UDDEHOLM/CLEVELAND                7900 HUB PKWY                                                                                           CLEVELAND              OH 44125‐5713
UDDEHOLM/STRLNG HTS               6396 PRODUCT DR                                                                                         STERLING HEIGHTS       MI 48312‐4568
UDDEME JOSEPH V (500191)          ANGELOS PETER G                 100 N CHARLES STREET , ONE                                              BALTIMORE              MD 21201
                                                                  CHARLES CENTER
                               09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                    Part 37 of 40 Pg 685 of 901
Name                          Address1                           Address2                            Address3                  Address4                City           State Zip
UDDEME, JOSEPH V              ANGELOS PETER G                    100 N CHARLES STREET, ONE                                                             BALTIMORE       MD 21201‐3812
                                                                 CHARLES CENTER
UDDIN, IMTIAZ S               24060 W 114TH PL                                                                                                         OLATHE         KS    66061‐8454
UDDIN, M N                    5144 PHEASANT TRL # D5                                                                                                   ANN ARBOR      MI    48105
UDE, DEBRA I                  9908 N DONNELLY AVE                                                                                                      KANSAS CITY    MO    64157‐7860
UDELL BOOTH                   339 S BALDWIN RD                                                                                                         OXFORD         MI    48371‐4107
UDELL HAMILTON                12564 E OUTER DR                                                                                                         DETROIT        MI    48224‐2764
UDELL HARTMAN                 3700 W WASHINGTON RD                                                                                                     ITHACA         MI    48847‐9793
UDELL, DENISE A               5334 OWEN RD                                                                                                             LINDEN         MI    48451‐9024
UDELL, DONALD R               923 S LOS ZAFIROS                                                                                                        GREEN VALLEY   AZ    85614‐2319
UDELL, KATHERINE M            6632 ROYAL PARKWAY S                                                                                                     LOCKPORT       NY    14094
UDELL, KRISTOLIN G            72 ERIE ST                                                                                                               LOCKPORT       NY    14094‐4606
UDELL, KRISTOLIN G            72 ERIE STREET                                                                                                           LOCKPORT       NY    14094‐4606
UDELL, MARY E                 1341 BROOKVIEW DR NE APT 39                                                                                              GRAND RAPIDS   MI    49505‐3455
UDELL, MATTHEW G              6067 EAST AVE                                                                                                            NEWFANE        NY    14108‐1303
UDELL, MICHAEL J              2513 CARMEN RD                                                                                                           MIDDLEPORT     NY    14105‐9728
UDELL, MICHELE D              6623 TOWNLAKE CIR                                                                                                        ARLINGTON      TX    76016‐2551
UDELL, PATRICK W              4290 DAY RD                                                                                                              LOCKPORT       NY    14094‐9412
UDELL, RONALD A               35644 SCHLEY ST                                                                                                          WESTLAND       MI    48186‐4241
UDELL, SUSAN D                2513 CARMEN RD                                                                                                           MIDDLEPORT     NY    14105‐9728
UDELL, TERRY L                834 HULL AVE                                                                                                             LEWISBURG      TN    37091‐4020
UDELL, TIMOTHY                541 NIAGARA ST                                                                                                           LOCKPORT       NY    14094‐1905
UDELL, WILFRED W              2500 HOLMES RD UNIT 617                                                                                                  YPSILANTI      MI    48198‐6096
UDELL, WILLIAM E              2211 S HARVEY ST                                                                                                         WESTLAND       MI    48186‐4256
UDEN, JOYCE A                 1916 W STEIN RD                                                                                                          LA SALLE       MI    48145‐9712
UDERITZ, PATRICIA A           6452 COUNTY ROAD 37                                                                                                      SPRINGWATER    NY    14560‐9505
UDERITZ, RONALD G             2867 DANIELS RD                                                                                                          WILSON         NY    14172‐9535
UDERMANN FRANCIS V (467098)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                           NORFOLK        VA    23510
                                                                 STREET, SUITE 600
UDERMANN, FRANCIS V           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                           NORFOLK        VA 23510‐2212
                                                                 STREET, SUITE 600
UDIN, ROBERT J                LYNN KIZIS ESQ                     WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER DR                           WOODBRIDGE      NJ   07095

UDIN, RONALD                  WILENTZ GOLDMAN & SPITZER          88 PINE STREET, WALL STREET PLAZA                                                     NEW YORK       NY 10005

UDIS, PETER T                 127 HARPER TER                                                                                                           CEDAR GROVE     NJ   07009‐2227
UDO BUERMEYER                 SANDSTEINWEG 21                    D‐30455 HANNOVER                    GERMANY
UDO DR. ZIMMERMANN            ST GALLENER STR 10                                                                               D‐87439 KEMPTEN
                                                                                                                               GERMANY
UDO GUNZEL                    16 RUE DE CERDAGNE                                                                               31170 TOURNEFEUILLE
                                                                                                                               FRANCE
UDO KULBARSCH                 SPORTWEG 37                                                                                      29525 UELZEN GERMANY
UDO LINGEMANN                 AM HEILHOLZ 45                     83075 BAD FEILNBACH
UDO LINGEMANN                 AM HEILHOLZ 45                                                                                   83075 BAD FEILNBACH
                                                                                                                               GERMANY
UDO PETER                     ULRICH‐WILLER‐STRASSE 38                                                                         MARKTHEIDENFELD 97828
                                                                                                                               GERMANY
UDO SASSENHAUSEN              BURGSTRASSE 20                     42551 VELBERT
UDO SCHMIDT                   HELLERGARTEN 6                     57290 NEUNKIRCHEN
UDO SCHMIDT                   HELLERGARTEN 6                                                                                   57290 NEUNKIRCHEN
                                                                                                                               GERMANY
UDO SCHULZ                    HECKENWEG 7                        49626 BIPPEN
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                          Part 37 of 40 Pg 686 of 901
Name                                 Address1                          Address2            Address3         Address4               City              State Zip
UDO VALLET                           GUSTAV‐HEINEMANN‐RING 98
UDO WASMANN                          SCHEIDEWEG 196                                                         OLDENBURG 26127
                                                                                                            GERMANY
UDO WERNER                          S▄DEKUMZEILE 7 D                   13591BERLIN         GERMANY
UDO WERNER                          SUEDEKUMZEILE 7 D                                                       13591 BERLIN GERMANY
UDO ZELLER                          2521 ROUTE 6                                                                                   GAINES            PA    16921‐9504
UDOM SRIDEE                         300 N SPRINGHILL DR                                                                            MACEDONIA         OH    44056‐2097
UDOMKESMALEE, NARUMOL               2858 RHINEBERRY RD                                                                             ROCHESTER HILLS   MI    48309‐1912
UDORES MALONE                       287 S HARRISON ST APT 9F                                                                       EAST ORANGE       NJ    07018‐1352
UDOVICH, CHARLOTTE P                9734 W DAKOTA ST                                                                               WEST ALLIS        WI    53227‐3636
UDOVICH, DORIS J                    2139 MOOREVIEW ST.                                                                             HENDERSON         NV    89012
UDOWSKI, SHIRLEY                    79 ROOSEVELT AVE                                                                               SICKLERVILLE      NJ    08081‐9641
UDRY, JOSEPH W                      16230 WHITTAKER RD                                                                             LINDEN            MI    48451‐9096
UDSTUEN, CAROL A                    360 HIDDEN LN                                                                                  CHANHASSEN        MN    55317‐9618
UDULUTCH, PAUL L                    310 EDISON AVE                                                                                 JANESVILLE        WI    53546‐3229
UDVETT, FELICIA D                   10537 KEDVALE AVE                                                                              OAK LAWN          IL    60453‐4925
UDZIELA JR, JOSEPH J                5703 S CASS AVE APT 302                                                                        WESTMONT          IL    60559‐2370
UDZIELA, LINDA                      40 HARBOR CT APT 208                                                                           NAPERVILLE        IL    60565‐4410
UDZIELAK, PATRICIA                  APT 2                              3400 DANA DRIVE                                             DUBUQUE           IA    52002‐2862
UDZIELAK, RICHARD R                 10334 WALTHAN RD                                                                               OCEAN CITY        MD    21842‐9132
UE SYSTEMS INC                      14 HAYES ST                                                                                    ELMSFORD          NY    10523‐2502
UE SYSTEMS INC.                     14 HAYES ST                                                                                    ELMSFORD          NY    10523‐2502
UE SYSTEMS/ELMSFORD                 14 HAYES ST                                                                                    ELMSFORD          NY    10523‐2502
UE TRAINING SYSTEMS INC             14 HAYES ST                                                                                    ELMSFORD          NY    10523‐2502
UEAL BORNMANN                       181 MEAD CEMETERY RD                                                                           MEAD              OK    73449‐6541
UEBELHACK, CAROL E                  4 AMHERST ST                                                                                   WORCESTER         MA    01602‐2008
UEBELHOR & SONS CHEVROLET,          972 WERNSING RD                                                                                JASPER            IN    47546‐8130
OLDSMOBI
UEBELHOR & SONS CHEVROLET,          972 WERNSING RD                                                                                JASPER             IN   47546‐8130
OLDSMOBILE, AND CADILLAC, INC.
UEBELHOR & SONS CHEVROLET,          ANTHONY UEBELHOR                   972 WERNSING RD                                             JASPER             IN   47546‐8130
OLDSMOBILE, AND CADILLAC, INC.
UEBELHOR AND SONS PONTIAC GMC CADIL 626 KIMMEL RD                                                                                  VINCENNES          IN   47591‐6341

UEBELHOR AND SONS PONTIAC GMC        ANTHONY UEBELHOR                  626 KIMMEL RD                                               VINCENNES          IN   47591‐6341
CADILLAC, LLC
UEBELHOR AND SONS PONTIAC GMC        626 KIMMEL RD                                                                                 VINCENNES          IN   47591‐6341
CADILLAC, LLC
UEBERROTH JR, WILBERT H              1323 S VAN BUREN ST                                                                           BAY CITY           MI   48708‐8077
UEBERROTH, CHARLES E                 2705 S MONROE ST                                                                              BAY CITY           MI   48708‐8487
UEBERROTH, HUGH T                    4917 LINDA LANE                                                                               CASS CITY          MI   48726‐9031
UEBERROTH, PAUL S                    8135 BRISTOL ST                                                                               WESTLAND           MI   48185‐1830
UEBERROTH, PAUL STEVEN               8135 BRISTOL ST                                                                               WESTLAND           MI   48185‐1830
UEBERROTH, RAYMOND T                 13352 BLACKWOOD DR                                                                            DEWITT             MI   48820‐8104
UEBERROTH, WALTER G                  188 CENTER ST APT 218                                                                         CARLETON           MI   48117‐9052
UEBERROTH, WINFIELD F                1877 STELLA CT                                                                                LAKELAND           FL   33813
UEBERSCHAR JR, EWALD P               2446 E DESERT PUEBLO PASS                                                                     GREEN VALLEY       AZ   85614‐5522
UEBRUECK, HORST H                    54327 HORIZON DR                                                                              SHELBY TWP         MI   48316‐1718
UECKER, MARJORIE A                   7593 48TH AVE APT 3                                                                           HUDSONVILLE        MI   49426
UECKER, PAULA F                      8 W 500 N                                                                                     SALT LAKE CITY     UT   84103‐1715
UECKER, PAULA F                      8 WEST 500 NORTH                                                                              SALT LAKE CITY     UT   84103‐1715
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                         Part 37 of 40 Pg 687 of 901
Name                                  Address1                            Address2                         Address3   Address4                City              State Zip
UECKERT MARTIN (ESTATE OF) (495386)   BOECHLER PC                         1120 28TH AVENUE ‐ SUITE P O N                                      FARGO              ND 58107
                                                                          BOX A
UECKERT, MARTIN                       BOECHLER PC                         1120 28TH AVENUE NORTH ‐ SUITE A                                    FARGO             ND 58107
                                                                          P O BOX 1932
UEDA, KENSUKE
UEHLEIN DONALD (448363)               BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD        OH 44067
                                                                          PROFESSIONAL BLDG
UEHLEIN, KENNETH J                    112 CORONADO CT                                                                                         ELYRIA            OH 44035‐3627
UEL HUTSON                            475 CHERRY DR                                                                                           STE GENEVIEVE     MO 63670‐1535
UEL VINSON                            529 E STEVENS ST                                                                                        COOKEVILLE        TN 38501‐3545
UELI EGGLER                           RUETISTRASSE 14                     CH‐6032                                                             EMMEN
UEMA, ROBERT I                        3411 E CEDARWOOD LN                                                                                     PHOENIX           AZ    85048‐7831
UENO KENNETH (644381)                 BRAYTON PURCELL                     PO BOX 6169                                                         NOVATO            CA    94948‐6169
UENO, KAZUNARI                        939 E 7TH AVE                                                                                           BROOMFIELD        CO    80020‐1524
UENO, KENNETH                         BRAYTON PURCELL                     PO BOX 6169                                                         NOVATO            CA    94948‐6169
UES TRANSPORT                         PO BOX 79576                                                                                            NORTH DARTMOUTH   MA    02747‐0988
UESATO ALAN T (661943)                GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                                HONOLULU          HI    96814‐3308
                                      TAKITANI
UESATO, ALAN T                        GALIHER DEROBERTIS NAKAMURA ONO &   610 WARD AVE STE 200                                                HONOLULU           HI   96814‐3308
                                      TAKITANI
UESTUEN ANKARA                        GROTHWISCH 48                       22457 HAMBURG                                                       HAMBURG           DE 22457
UESTUEN ANKARA                        DR USTUN ANKARA                     GROTHWISCH 48                               22457 HAMBURG
UETTERLING, JUDITH A                  1734 S CLINTON ST                                                                                       DEFIANCE          OH    43512‐3220
UETZ, ROBERT J                        PO BOX 231                                                                                              SILVER LAKE       NY    14549‐0231
UFCW                                  6493 RIDINGS RD # 115                                                                                   SYRACUSE          NY    13206‐1120
UFER, WILLIAM W                       3920 PAMPLONA ST                                                                                        LAS VEGAS         NV    89103‐2025
UFERT, GINA W                         5663 POWDERMILL RD                                                                                      KENT              OH    44240‐7117
UFFELMAN, GLENN W                     8114 SILVER SPUR DR                                                                                     ARLINGTON         TX    76001‐7255
UFFMAN, LOUIS W                       7203 KENWOOD RD                                                                                         FORT PIERCE       FL    34951‐3005
UFI FILTERS SPA                       ALBERTO ALBERTI                     VIA DELL INDUSTRIA 4                                                WARREN            MI    48093
UFI FILTERS SPA                       VIA DELL INDUSTRIA 4                                                            NOGAROLE ROCCA VERONA
                                                                                                                      37060 ITALY
UFI FILTERS SPA                       50 WEST BIG BEAVER ROAD, STE. 300                                                                       TROY              MI 48084
UFI FILTERS SPA                       VIA EUROPA 26                       PORTO MANTOVANO                  MN,46047   ITALY
UFI FILTERS SPA                       VIA EUROPA 26                                                                   PORTO MANTOVANO IT
                                                                                                                      46047 ITALY
UFKEN BETTE                           N2094 RICHLAND RD                                                                                       MONROE            WI    53566‐9494
UFP TECHNOL/ATLANTA                   5400 WEST PARK DR.                                                                                      ATLANTA           GA    30336
UFP TECHNOL/PAWCATCK                  213 MECHANIC ST                                                                                         PAWCATUCK         CT    06379‐2158
UFS CORPORATION                       330 N 400 E                                                                                             VALPARAISO        IN    46383‐9704
UFTRING                               1860 WASHINGTON RD                                                                                      WASHINGTON        IL    61571‐2114
UFTRING CHEVROLET‐OLDSMOBILE, INC.    1860 WASHINGTON RD                                                                                      WASHINGTON        IL    61571‐2114

UFTRING CHEVROLET‐OLDSMOBILE, INC.    GARY UFTRING                        1860 WASHINGTON RD                                                  WASHINGTON         IL   61571‐2114

UFTRING SAAB                          UFTRING, GARY L                     1860 WASHINGTON RD                                                  WASHINGTON         IL   61571‐2114
UFTRING SAAB                          1860 WASHINGTON RD                                                                                      WASHINGTON         IL   61571‐2114
UG‐BIER A/S                           SONDERGADE 244                                                                  FREDERIKSHAVN 9900
                                                                                                                      DENMARK
UGARTECHEA JR, JOSEPH                 2610 RAWHIDE LN                                                                                         SAN ANTONIO       TX    78227‐2729
UGARTECHEA, JOSE                      2610 RAWHIDE LN                                                                                         SAN ANTONIO       TX    78227‐2729
UGARTECHEA, JOSE                      2610 RAWHIDE                                                                                            SAN ANTONIO       TX    78227‐2729
                                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                            Part 37 of 40 Pg 688 of 901
Name                                   Address1                            Address2                        Address3   Address4                 City                   State Zip
UGARTECHEA, JUDITH A                   721 E BROAD ST                                                                                          CHESANING               MI 48616‐1610
UGARTECHEA, JUDITH A                   721 EAST BROAD STREET                                                                                   CHESANING               MI 48616‐1610
UGARTECHEA, WILLIAM K                  5216 S 9 MILE RD                                                                                        AUBURN                  MI 48611‐9574
UGAS NASRO                             UGAS, NASRO                         3137 SW HOLLY                                                       SEATTLE                 WA 98126
UGELSTAD BURTON (ESTATE OF) (459410)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK                 VA 23510
                                                                           STREET, SUITE 600
UGELSTAD, BURTON                       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK                VA 23510‐2212
                                                                           STREET, SUITE 600
UGF BANCA S.P.A.                       PIAZZA DELLA COSTITUZIONE, 2                                                   40128 BOLOGNA ITALY
UGGEN, ROBERT A                        2730 S STATE ROAD 3                                                                                     HARTFORD CITY          IN   47348‐8717
UGI UTILITIES INC.                                                         2121 CITY LINE RD UNIT 1                                                                   PA   18017
UGI UTILITIES, INC.                    ANTHONY COX                         PO BOX 12677                                                        READING                PA   19612‐2677
UGI UTILITIES, INC.                    ANTHONY COX                         100 KACHEL BLVD                                                     READING                PA   19607
UGLUM, RONALD E                        7 CHERRY ST                                                                                             EDGERTON               WI   53534‐1301
UGN INC                                MIKE ECHEVARRIA                     18410 CROSSING DRIVE, SUITE C                                       TROY                   MI   48083
UGN INC                                MIKE ECHEVARRIA                     2252 INDUSTRIAL DR                                                  SAINT LOUIS            MO   63129
UGN INC                                1001 STATE ST                                                                                           CHICAGO HEIGHTS        IL   60411‐2907
UGN INC                                2638 E 126TH ST                                                                                         CHICAGO                IL   60633‐1290
UGN INC.                               MIKE ECHEVARRIA                     18410 CROSSING DRIVE, SUITE C                                       TROY                   MI   48083
UGO ABELLI                             2 HILLSIDE RD                                                                                           NATICK                 MA   01760‐2110
UGO CESARO                             1808 VIA CORONEL                                                                                        PALOS VERDES ESTATES   CA   90274‐2015
UGO COCUCCI                            2 BRIAR PL                                                                                              NANUET                 NY   10954‐1310
UGO DELSORBO                           456 WASHINGTON HWY                                                                                      AMHERST                NY   14226‐4649
UGO DILALLA                            1284 W MINER RD                                                                                         CLEVELAND              OH   44124‐1712
UGO TOVAGLIERI                         VIA GASPARE SPONTINI, 5
UGO TOVAGLIERI                         VIA SPONTINI 5                                                                                          BUSTO ARSIZIO               21052
UGOLINO, CHARLES F                     1195 HILLPOINTE CIR                                                                                     BLOOMFIELD HILLS       MI   48304‐1519
UGOREK, STEPHEN L                      12 ERIE ST                                                                                              ALBION                 NY   14411‐1008
UGOROWSKI, JOHN L                      28639 LOS OLAS DR                                                                                       WARREN                 MI   48093‐2704
UGOROWSKI, JOSEPH A                    14357 WOODSTOCK CT                                                                                      BROOKLYN               MI   49230‐9017
UGOROWSKI, JOSEPH ANTHONY              17059 SOUTH STREET                                                                                      HUDSON                 MI   49247‐8706
UGOWSKI, PEGGY A                       1408 MINNESOTA AVE                                                                                      SOUTH MILWAUKEE        WI   53172‐1923
UGS
UGS CAPITAL CORP                       3999 LONGDONG AVENUE                                                           PUDONG SHANGHAI
                                                                                                                      201201 CHINA (PEOPLE'S
UGS CAPITAL CORP                       5800 GRANITE PKWY STE 600                                                                               PLANO                  TX   75024‐6612
UGS CAPITAL CORP                       9265 SKY PARK CT STE 202                                                                                SAN DIEGO              CA   92123‐4312
UGS CORP                               PO BOX 502825                                                                                           SAINT LOUIS            MO   63150‐0001
UGS CORP.                              5800 GRANITE PKWY STE 600                                                                               PLANO                  TX   75024‐6612
UGUCCIONI, GUS M                       1060 MARYVALE DR                                                                                        CHEEKTOWAGA            NY   14225‐2324
UGUETO, OSCAR E                        3154 OAKHILL DR                                                                                         TROY                   MI   48084‐1238
UGUR KOYUNOGLU                         PARKMAYA SITESI C1‐C BLOK           D17, 34335 AKATLAR                         ISTANBUL ‐ TURKEY
UH MEDICAL GROUP                       PO BOX 74121                                                                                            CLEVELAND              OH   44194‐4121
UHALL, AGNES G                         411 VINE ST                                                                                             GREENSBURG             PA   15601‐4211
UHALL, JOHN P                          12612 MATHERSON AVE                                                                                     CLEVELAND              OH   44135‐4668
UHAS, BETH A                           20717 N MILES ST                                                                                        CLINTON TWP            MI   48036‐1939
UHAS, FRANK L                          227 FLINT RD                                                                                            FITZGERALD             GA   31750‐7637
UHAUL                                                                      14505 E SPRAGUE AVE                                                                        WA   99216
UHAUL                                                                      50 W ALEXIS RD                                                                             OH   43612
UHAZIE, ADA M                          112 COUNTRY MEADOWS LANE APT. 112                                                                       BAY CITY               MI   48706

UHAZIE, CARL J                         39401 WANDA AVE                                                                                         STERLING HTS           MI 48313‐5572
                         09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                          Part 37 of 40 Pg 689 of 901
Name                     Address1                       Address2           Address3         Address4         City               State Zip
UHAZIE, GEORGE E         3201 S OCEAN BLVD              P4                                                   HIGHLAND BEACH      FL 33487‐2566
UHAZIE, NANCY M          2710 HIGH WINDS LN                                                                  OAKLAND             MI 48363‐2342
UHAZIE, REGINA M         30679 WASHINGTON BLVD                                                               WARREN              MI 48093‐8701
UHDE, GREGORY KENNETH    9980 E BROOKS RD                                                                    LENNON              MI 48449‐9679
UHE, BETTY L             680 KNAUST RD                                                                       SAINT PETERS        MO 63376‐1731
UHE, MARY E              680 KNAUST RD                                                                       SAINT PETERS        MO 63376‐1731
UHELSKI, MARJORIE J      G‐13419 N. SAGINAW RD.                                                              CLIO                MI 48420
UHELSKI, RODNEY M        2381 WILLOWDALE DR                                                                  BURTON              MI 48509‐2601
UHELSKI, RODNEY MARTIN   2381 WILLOWDALE DR                                                                  BURTON              MI 48509‐2601
UHELSKI, STEVE           308 WOODBRIDGE DR                                                                   GRAND BLANC         MI 48439‐1140
UHEN, JAMES C            PO BOX 343                                                                          SHELBYVILLE         MI 49344‐0343
UHER, ANN M              52 W 71ST ST APT 4A                                                                 NEW YORK            NY 10023‐4244
UHER, PHILIP D           124 DONLEY DR                                                                       MONROEVILLE         PA 15146‐1510
UHER, RICHARD J          19 NORTHWEST DR                                                                     CAROLINA SHORES     NC 28467‐2628
UHER, RICHARD O          1007 WYNDHAM LN                                                                     SANDUSKY            OH 44870‐7260
UHIARA, CHIDIEGWU I      1700 OAK CREEK LN APT B                                                             BEBFORD             TX 76022‐8921
UHINCK, CARL R           124 SPRING CREST DR                                                                 LAKESIDE            OH 43440‐9498
UHL JR, EVERETT O        3402 HIGHWAY O                                                                      CUBA                MO 65453‐8240
UHL, BRYAN J             PO BOX 9022                                                                         WARREN              MI 48090‐9022
UHL, DOUGLAS W           313 GUY DR                                                                          SEMINOLE            FL 33772‐4864
UHL, EDWARD J            261 IRIS AVE                                                                        GOLETA              CA 93117‐2040
UHL, EUGENE G            1173 FAIRWAYS BLVD                                                                  TROY                MI 48085‐6115
UHL, EVERETT O           301A PROSPECT ST                                                                    CUBA                MO 65453‐1974
UHL, GLENN S             1064 ROBINWOOD AVE                                                                  WATERFORD           MI 48328‐4266
UHL, KELLY J             1916 TWIN TREE DR                                                                   NORMAN              OK 73071‐1049
UHL, LAWRENCE R          310 PARIS AVE                                                                       LANSING             MI 48910‐3053
UHL, LELAND R            804 MILLER RD                                                                       LAKE ORION          MI 48362‐3662
UHL, MICHAEL J           2224 LYNN RD                                                                        SANFORD             MI 48657‐9273
UHL, NELSON D            PO BOX 145                                                                          UNIONVILLE          MI 48767‐0145
UHL, PATRICIA A          804 MILLER RD                                                                       LAKE ORION          MI 48362‐3662
UHL, PAULETTE            1059 BROWN ST                                                                       AKRON               OH 44301‐1513
UHL, RICHARD W           7904 WOODWAY OAK CIR APT 724                                                        MATTHEWS            NC 28105
UHL, ROBERT E            15 STEVENS RD                                                                       EDISON              NJ 08817‐4519
UHL, RONDA O             PO BOX 9022                    C/O GM KOREA                                         WARREN              MI 48090‐9022
UHL, RONDA OWEN          PO BOX 9022                    C/O GM KOREA                                         WARREN              MI 48090‐9022
UHL, RUSSELL E           7647 WARNER RD                                                                      SALINE              MI 48176‐9082
UHL, RUTH A              7647 WARNER RD                                                                      SALINE              MI 48176‐9082
UHL, RUTHIE J            2109 31ST ST                                                                        MERIDIAN            MS 39305‐4716
UHL, SCOTT A             1046 CORK RD                                                                        VICTOR              NY 14564‐9145
UHL, SUSAN M             13464 KINGSVILLE DR                                                                 STERLING HEIGHTS    MI 48312‐4130
UHL, WILLIAM H           13464 KINGSVILLE DR                                                                 STERLING HTS        MI 48312‐4130
UHL, WILLIAM R           54 VANDERBILT AVE                                                                   DEPEW               NY 14043‐2719
UHLAR, HILDA L           239 WATERFORD DRIVE                                                                 INMAN               SC 29349‐6705
UHLBECK, KENNETH J       15150 COUNTY ROAD 446                                                               NEWBERRY            MI 49868‐8206
UHLE, DAVID M            PO BOX 6905                                                                         KOKOMO              IN 46904‐6905
UHLER GARY               301 MACOY AVE                                                                       CULPEPER            VA 22701‐2914
UHLER, MARY H            150 S STATE ROAD 75                                                                 LEBANON             IN 46052‐9449
UHLER, RAYMOND M         580 BARTS CHURCH RD                                                                 HANOVER             PA 17331‐7705
UHLER, ROSEMOND          3250 WALTON BLVD               APT 113                                              ROCHESTER HILLS     MI 48309‐1277
UHLER, ROSEMOND          3250 WALTON BLVD APT 113                                                            ROCHESTER HILLS     MI 48309‐1277
UHLHORN, AL W            5068 CASA LOMA BLVD                                                                 CINCINNATI          OH 45238‐3722
UHLICH, MICHAEL J        244 MILL POND DR                                                                    SAINT CLOUD         FL 34769‐6314
                                  09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                    Part 37 of 40 Pg 690 of 901
Name                              Address1                       Address2            Address3         Address4                 City               State Zip
UHLIG JANICE                      2676 ASHBURTON CT                                                                            OAKLAND TOWNSHIP    MI 48306‐4927
UHLIG, EUGENE M                   10 KATHRYN ST                                                                                CLARK               NJ 07066‐2438
UHLIG, FREDERICK J                1641 KILBURN RD N                                                                            ROCHESTER HLS       MI 48306‐3029
UHLIG, JANICE K                   2676 ASHBURTON CT                                                                            OAKLAND TOWNSHIP    MI 48306‐4927
UHLIK, WILLIAM J                  36953 ELLIS ST                                                                               NEW BOSTON          MI 48164‐9563
UHLIN, MICHAEL S                  19 E QUARRY ST                                                                               NEWTON FALLS        OH 44444‐1640
UHLIR, EDWARD A                   8173 CRAIG LN                                                                                BROADVIEW HTS       OH 44147‐1402
UHLIR, MARGERY E                  810 WILLARD AVE NE                                                                           WARREN              OH 44483‐4242
UHLIR, MARGERY E                  810 WILLARD N.E.                                                                             WARREN              OH 44483‐4242
UHLIR, NORMAN F                   101 DISNEY LN                                                                                SEDONA              AZ 86336‐9752
UHLMANN, DORIS M                  1580 RAVINE LN                                                                               ROCHESTER HLS       MI 48306‐4245
UHLMANN, LYLE H                   36091 LYNDON ST                                                                              LIVONIA             MI 48154‐5124
UHLMEYER, JAMES R                 785 S BLACK RIVER RD                                                                         ONAWAY              MI 49765‐9510
UHLMEYER, PATRICK M               4394 TOMMY ARMOUR DR                                                                         FLINT               MI 48506‐1408
UHLS, CARL T                      12142 N COUNTY ROAD 475 W                                                                    ROACHDALE           IN 46172‐9592
UHLS, KENNETH E                   123 NORTHEAST LEANN DRIVE                                                                    BLUE SPRINGS        MO 64014‐1311
UHLS, KENNETH E                   123 NE LEANN DR                                                                              BLUE SPRINGS        MO 64015
UHLVING, ANN                      12500 S TIMBERLANE DR                                                                        PALOS PARK           IL 60464‐2063
UHLVING, ANN H                    12500 S TIMBERLANE DR                                                                        PALOS PARK           IL 60464‐2063
UHLYARIK, BERNICE                 1285 SHEPHERD WAY                                                                            CLAREMONT           CA 91711‐2356
UHMG SOUTHWEST GENER              PO BOX 74121                                                                                 CLEVELAND           OH 44194‐4121
UHNAVY, JEAN M                    2994 SHAWNEE LN                                                                              WATERFORD           MI 48329‐4336
UHODA, MARIN G                    14504 ORCHARD PARK AVE                                                                       CLEVELAND           OH 44111‐2117
UHRAIN, JOHANNE M                 850 N MERIDIAN RD APT 619                                                                    YOUNGSTOWN          OH 44509‐1013
UHRAIN, MICHAEL C                 890 BRISTOL CHAMP TOWN LINE                                                                  BRISTOLVILLE        OH 44402
UHRAIN, ROXANNE L                 890 BRISTOL CHAMP TWNP RD                                                                    BRISTOLVILLE        OH 44402
UHRBROCK, MARILYN F               3531 HILLCROFT AVE SW                                                                        WYOMING             MI 49548‐2151
UHRBROCK, PAUL                    9079 JONES RD                                                                                HOWARD CITY         MI 49329‐8803
UHRHAMMER, DARYL J                1160 MENKE CIR                                                                               SHAKOPEE            MN 55379‐3225
UHRICH, DONALD A                  13 OLD MILL CIRCLE                                                                           ELMA                NY 14059‐9400
UHRICH, ELIZABETH A               13 OLD MILL CIR                                                                              ELMA                NY 14059‐9400
UHRICH, LEON J                    31 COUNTRY PL                                                                                LANCASTER           NY 14086
UHRICH, REINHOLD                  2441 BEWICK ST                                                                               SAGINAW             MI 48601‐6722
UHRIG, ARDELLA J                  1434 WEDGEWOOD DR.                                                                           FAIRBORN            OH 45324‐4141
UHRIG, ARLA J                     4471 PINE CREEK DR                                                                           BURTON              MI 48519‐1197
UHRIG, AUDRY J                    23927 HEARTWOOD                                                                              NOVI                MI 48374‐3422
UHRIG, DAVID L                    238 LAWRENCE AVE                                                                             COLUMBUS            OH 43228‐1129
UHRIG, DONALD                     16766 WESTBROOK ST                                                                           DETROIT             MI 48219‐3825
UHRIG, FRANCES E                  209 N MAIN ST                                                                                PLEASANT HILL       OH 45359
UHRIG, GERALD L                   3226 ARIZONA AVE                                                                             FLINT               MI 48506‐2551
UHRIG, GORDON R                   8950 OLD STATE AVE                                                                           FARWELL             MI 48622‐9670
UHRIG, LEROY F                    PO BOX 306                                                                                   OWENSVILLE          OH 45160‐0306
UHRIG, ROBERT O                   2799 KUNZ RD                                                                                 GALLOWAY            OH 43119‐8717
UHRIG, STEVE A                    8565 SMITH CALHOUN RD LOT 56                                                                 PLAIN CITY          OH 43064‐8104
UHRINA, MARK J                    5388 KNOLLWOOD DR APT 7                                                                      CLEVELAND           OH 44129
UHRINA, STEPHEN J                 6402 ARROWHEAD CT                                                                            INDIAN HEAD PARK     IL 60525‐4305
UHRING JR, ANDREW                 38 PLEASANT VALLEY RD                                                                        JEANNETTE           PA 15644‐9611
UHRMAN JR, JOHN R                 7281 HIDDEN VALLEY DR                                                                        LAMBERTVILLE        MI 48144‐9444
UHRMAN JR, JOHN RICHARD           7281 HIDDEN VALLEY DR                                                                        LAMBERTVILLE        MI 48144‐9444
UHRMAN, ROBERT L                  1727 CARRIAGE CT                                                                             BRENTWOOD           TN 37027‐8119
UHRMAN, ROGER R                   6568 MUSKEGO DR                                                                              MUSKEGO             WI 53150
UHTHOFF GOMEZ VEGA & UHTHOFF SC   HAMBURGO 260 COL JUAREZ                                             JUAREZ DF 06600 MEXICO
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                          Part 37 of 40 Pg 691 of 901
Name                                   Address1                        Address2               Address3      Address4              City              State Zip
UIAGALELEI LAFO (ESTATE OF) (662776)   BRAYTON PURCELL                 PO BOX 6169                                                NOVATO             CA 94948‐6169
UIAGALELEI, LAFO                       BRAYTON PURCELL                 PO BOX 6169                                                NOVATO             CA 94948‐6169
UIHLEIN, SONJA M                       25912 HAYWARD BLVD APT 104                                                                 HAYWARD            CA 94542‐1642
UINTA COUNTY TREASURER                 PO BOX 1530                                                                                EVANSTON           WY 82931‐1530
UINTAH COUNTY ASSESSOR                 152 E 100 N                                                                                VERNAL             UT 84078‐2110
UIS INDUSTRIES INC                     200 S 4TH ST                                                                               ALBION              IL 62806‐1313
UIS PROGRAMMABLE SERVICES INC          306 N RIVER ST                                                                             YPSILANTI          MI 48198‐2809
UIS PROGRAMMABLE SERVICES INC          306 N RIVER ST                  PO BOX 981123                                              YPSILANTI          MI 48198‐2809
UITS‐IT TRAINING AND EDUCATION         INDIANA UNIVERSITY              2711 E 10TH ST                                             BLOOMINGTON        IN 47408‐2671
UITTI, DENNIS D                        2737B QUARTZ DR.                                                                           TROY               MI 48085
UITTO, RAY P                           2060 BRITTAINY OAKS TRL NE                                                                 WARREN             OH 44484‐3956
UITTS, DOROTHY L                       3719 SOUTH 13TH STREET                                                                     MILWAUKEE          WI 53221‐1723
UJAKOVICH, KATHLEEN J                  9001 WEATHERLY WAY                                                                         LORTON             VA 22079
UJAYLI BISHR MD PC                     2494 S ROCHESTER RD                                                                        ROCHESTER HILLS    MI 48307‐3817
UJCZO, ANN M                           4205 ORCHARD PARK DR                                                                       PARMA              OH 44134‐4542
UJHELY, J C
UJHELYI, CLARICE E                     17297 SE 115TH TERRACE RD                                                                  SUMMERFIELD       FL   34491‐7828
UJKA SINISHTAJ                         23018 SHOREVIEW ST                                                                         ST CLAIR SHRS     MI   48082‐1335
UJLAKY, ALBERT J                       713 WILLIAMSBURG DRIVE E        APT D                                                      GREENSBURG        PA   15601
UJLAKY, EDNA L                         3741 PENBROK LN APT 10                                                                     FLINT             MI   48507‐1499
UJLAKY, EDNA L                         3741 PENBROOK LN APT 10                                                                    FLINT             MI   48507‐1499
UJVARI, IRMA                           4804 CHERYL CT                                                                             PACE              FL   32571‐2638
UK JUNG KIM                            2282 PONDS CT                                                                              SHELBY TWP        MI   48317‐4502
UK SONG                                4289 WARRINGTON DR                                                                         WIXOM             MI   48393‐4408
UKANI, SHIRAZ                          2696 ENGLISH DR                                                                            TROY              MI   48085‐4001
UKLAYER, GEORGIA J                     111 WEST HIGH STREET                                                                       EBENSBURG         PA   15931‐1538
UKLEY FULLER                           262 BENJAMIN BLVD                                                                          BEAR              DE   19701‐1690
UKPAI, UKPAI                           PO BOX 1401                                                                                WARREN            MI   48090‐1401
UKPONG, ANIETIE U                      2024 COOLIDGE HWY APT 103                                                                  TROY              MI   48084‐3613
UKRAINEC, BOHDAN L                     1895 LYSTER LN                                                                             TROY              MI   48085‐1415
UKRAVTOZAZ SERVICE                     CHERVONOARMIYSKA STR. 15                                             01004 KIEV, UKRAINE
UKROP DAVID                            44902 STEEPLE PATH                                                                         NOVI              MI   48375‐3967
UKROP'S SUPER MARKETS, INC.            JERRY HEADLEY                   2006 WESTMORELAND ST                                       RICHMOND          VA   23230‐3228
UKROP, DAVID J                         44902 STEEPLE PATH                                                                         NOVI              MI   48375‐3967
UL, NADIA C                            466 S. RACCOON RD.                                                                         YOUNGSTOWN        OH   44515
ULA FOX                                1418 UCLID DR                                                                              ANDERSON          IN   46011
ULA HUGHES                             PO BOX 1176                                                                                BEDFORD           IN   47421‐1176
ULA KRIEG                              1704 S CROSS LAKES CIR APT C                                                               ANDERSON          IN   46012‐4924
ULACCO, CHARLES G                      368 SIMPLY ASHLEY CT                                                                       HEDGESVILLE       WV   25427‐3089
ULAKOVICH, MARLENE E                   1794 WARNER AVE.                                                                           MINERAL RIDGE     OH   44440‐9564
ULAKOVICH, STEVEN F                    3388 NILES CARVER RD                                                                       MINERAL RIDGE     OH   44440‐9527
ULAM, AMY A                            4473 WILLOW CREEK DR SE                                                                    WARREN            OH   44484‐2963
ULAM, MARIANN F                        6800 OVERSEAS HWY               APT. 103                                                   MARATHON          FL   33050
ULAM, MARY K                           1590 BONNIE BRAE NE                                                                        WARREN            OH   44483‐3931
ULAM, PAUL R                           361 TRUMBULL AVE SE                                                                        WARREN            OH   44483‐6336
ULAM, ROBERT G                         4484 N LEAVITT RD NW                                                                       WARREN            OH   44485‐1143
ULAM, ROBERT G                         4484 NORTH LEAVITT RD.                                                                     WARREN            OH   44485‐4485
ULAM, SARAH B                          503 CHARLES AVE                                                                            CORTLAND          OH   44410‐1301
ULANOWICZ, GENEVIEVE M                 2161 LEONARD NW                 APT # 101                                                  GRAND RAPIDS      MI   49504
ULANOWICZ, SUSAN L                     213 HUBBELL ST                                                                             HOUGHTON          MI   49931‐1209
ULANOWSKI, D J                         2806 GREENVIEW AVE                                                                         FORT WAYNE        IN   46809‐1636
ULANOWSKI, HEIDI J                     348 WEST CAMBOURNE STREET                                                                  FERNDALE          MI   48220‐1704
                                09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                   Part 37 of 40 Pg 692 of 901
Name                           Address1                         Address2                      Address3         Address4              City          State Zip
ULANOWSKI, IRENE A             11368 MCDOUGALL                                                                                       HAMTRAMCK      MI 48212‐3029
ULANOWSKI, JOSEPH A            52 DEXTER ST                                                                                          TONAWANDA      NY 14150‐3914
ULANOWSKI, JOSEPH ANTHONY      52 DEXTER ST                                                                                          TONAWANDA      NY 14150‐3914
ULANOWSKI, THOMAS A            9614 PLEASANT LAKE BLVD APT X5                                                                        PARMA          OH 44130‐7411
ULANSKI, ARTHUR S              3296 E PIERSON RD                                                                                     FLINT          MI 48506‐1479
ULANSKI, CECELIA M             4469 STACY CT                                                                                         CLIO           MI 48420‐9408
ULANSKI, ELVA M                3296 E PIERSON RD                                                                                     FLINT          MI 48506‐1479
ULANSKI, JAMES A               2445 CLAYWARD DR                                                                                      BURTON         MI 48509‐1057
ULANSKI, MARIAN E              2094 PAINTED POST                                                                                     FLUSHING       MI 48433‐2562
ULANSKI, SHERI L               3495 GARY RD                                                                                          MONTROSE       MI 48457‐9366
ULANSKI, THOMAS H              3048 E M‐42                                                                                           MANTON         MI 49663
ULAR CAMERON                   6 WEYMOUTH CT                                                                                         SAGINAW        MI 48601‐6950
ULAS, ANNELIESE H              113 VERMONT AVE                                                                                       LOCKPORT       NY 14094‐5731
ULAS, MANFRED                  HOLZMAARSIR 3                                                                   54558 GILLENFELD
                                                                                                               GERMANY
ULAS, UTE                      ROSENBERG STR 12                                                                54550 DAUN GERMANY
ULASEWICH, DAVID G             151 EUCLID AVE                                                                                        KENMORE       NY   14217‐2803
ULATOWSKI, ELAINE M            18004 HURON DR                                                                                        MACOMB        MI   48042‐2391
ULATOWSKI, REGINA Z            3 DEEPWOOD CT                                                                                         DEPEW         NY   14043‐4244
ULBERG, PHILIP                 2920 BARRY ST APT 2                                                                                   HUDSONVILLE   MI   49426‐8712
ULBERG, STEVE H                9415 64TH AVE                                                                                         HUDSONVILLE   MI   49426‐9533
ULBICK, MITCHELL P             2432 RAGAN WOODS DR                                                                                   TOLEDO        OH   43614‐1017
ULBIN, ADAM G                  2036 PARKWOOD CT                                                                                      BROOKLYN      MI   49230‐9316
ULBRICH OF CANADA INC          DIVERSIFIED STAINLESS STEEL      DIVERSIFIED STAINLESS STEEL   98 NORFINCH DR   DOWNSVIEW CANADA ON
                                                                                                               M3N 1X1 CANADA
ULBRICH, CHARLES R             5401 STEWART RD                                                                                       LAPEER        MI   48446‐9778
ULBRICH, DONALD W              641 SCENERY DR                                                                                        ELIZABETH     PA   15037‐2042
ULBRICH, GLENN C               213 BENJAMIN AVE                                                                                      ROSCOMMON     MI   48653‐8257
ULBRICH, PETER J               4804 TULLAMORE DR                                                                                     BLOOMFIELD    MI   48304‐3670
ULBRICH, STEVEN J              16 DON BOB RD                                                                                         STAMFORD      CT   06903‐3003
ULBRICHT'S‐BETEILIGUNGS‐GMBH   KAUFING 24                                                                                            ADRIAN        MI   49221
ULBRICHT'S‐BETEILIGUNGS‐GMBH   (43)7676278112                   KAUFING 24                                                           ADRIAN        MI   49221
ULBRICHTS/AUSTRIA              KAUFING 34                                                                      UPPER AUSTRIA 4690
                                                                                                               AUSTRIA
ULCH TRANSPORT LTD             221 JAMES ST                                                                    ST MARYS ON N4X 1A9
                                                                                                               CANADA
ULCH, CHARLES M                3122 IRETA                                                                                            HARRISON      MI   48625‐8017
ULCH, DANNY L                  14527 RACCOON TRL                                                                                     FORT WAYNE    IN   46814‐9419
ULCH, DOROTHY A                892 RICHARD DR                   APT. C                                                               HARRISON      MI   48625
ULCH, DOROTHY A                APT C                            892 RICHARD DRIVE                                                    HARRISON      MI   48625‐8241
ULCH, GEORGIA G                19112 CALYPSO DR                                                                                      MACOMB        MI   48044
ULCH, NORMAN E                 285 E. PINE                      BOX 332                                                              HARRISON      MI   48625
ULCH, NORMAN W                 4262 WILLOUGHBY RD                                                                                    HOLT          MI   48842‐9763
ULCH, SECHIKO K                6800 22 MILE RD                                                                                       UTICA         MI   48317‐2200
ULDARICO LIM                   2792 WHITE SAGE DR                                                                                    HENDERSON     NV   89052‐7094
ULDERICO DI MATTIA             46 OLD TURNPIKE RD                                                                                    BRISTOL       CT   06010‐2811
ULDRICH, BILLY                 161 VILLANOVA CIR                                                                                     ELYRIA        OH   44035‐1540
ULDRICH, JAMES H               5005 NBU                                                                                              PRAGUE        OK   74864‐2042
ULDRICH, MANVEL                7188 ROCHESTER RD                                                                                     LOCKPORT      NY   14094‐1641
ULEDA BENNETT                  61 LIVINGSTON ST                                                                                      YOUNGSTOWN    OH   44506‐1142
ULEDA J BENNETT                61 LIVINGSTON ST                                                                                      YOUNGSTOWN    OH   44506
ULELA BALLARD                  1567 COLLINSDALE AVE                                                                                  CINCINNATI    OH   45230‐2365
                           09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                              Part 37 of 40 Pg 693 of 901
Name                       Address1                         Address2                      Address3   Address4                  City            State Zip
ULEN MARGARET E (626818)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA 23510
                                                            STREET, SUITE 600
ULEN, MARGARET E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510‐2212
                                                            STREET, SUITE 600
ULEN, RANDY L              1605 SOUTH 123RD DRIVE                                                                              AVONDALE        AZ   85323‐3145
ULEN, RANDY L              1605 SOUTH 123 DRIVE                                                                                AVENDALE        AZ   85323‐5323
ULEPICH, THOMAS L          4406 PRAIRIE AVE                                                                                    BROOKFIELD      IL   60513‐2411
ULER MACK                  15201 CARRIAGE LAMP CT APT 802                                                                      SOUTHFIELD      MI   48075‐3524
ULERCE DRAKE JR            3801 IVY LN                                                                                         TEXARKANA       TX   75503‐2236
ULERICK, DONNABELLE M      13551 S US ROUTE 31                                                                                 KOKOMO          IN   46901‐7765
ULERY I I, FREDERICK R     2188 N 150 W                                                                                        ANDERSON        IN   46011‐9204
ULERY, BILLY S             16802 N 150 E                                                                                       SUMMITVILLE     IN   46070‐9117
ULERY, DONALD E            4022 CAMELOT BLVD                                                                                   ANDERSON        IN   46011‐9040
ULERY, FRED W              1496 NORTH RD SE                                                                                    WARREN          OH   44484‐2901
ULERY, HARRIETT A          12260 E LEGAL TENDER RD                                                                             COLUMBUS        IN   47203‐9116
ULERY, LARRY E             1943 PINEDALE DR                                                                                    TOLEDO          OH   43613‐5630
ULERY, LORRAINE A          145 NIGHT HERON LN                                                                                  ALISO VIEJO     CA   92656
ULERY, MICHAEL N           1187 COAST VILLGE RD APT 1‐335                                                                      SANTA BARBARA   CA   93108
ULERY, NORMAN M            3997 LAKE MANUKA RD                                                                                 GAYLORD         MI   49735‐8817
ULERY, RICHARD W           4356 LA FRANCE ST                                                                                   NEWTON FALLS    OH   44444‐1417
ULERY, RONALD P            149 TOPAZ TRL                                                                                       CORTLAND        OH   44410‐1349
ULERY, WAYNE C             125 HOLLYWOOD AVE                                                                                   YOUNGSTOWN      OH   44512‐1224
ULERY, WAYNE F             231 KINGS LN                                                                                        CANFIELD        OH   44406‐1681
ULERY, WILLIAM B           797 W HIGHWAY D                                                                                     WENTZVILLE      MO   63385‐6128
ULERY, WILLIAM J           3793 COSTA MAYA WAY UNIT 202                                                                        ESTERO          FL   33928‐2171
ULES BAKER                 RR 1 BOX 95A                                                                                        PINEVILLE       KY   40977‐9756
ULES HOWARD                313 EDWARD AVE                                                                                      LEHIGH ACRES    FL   33936‐1625
ULES MURPHY                1320 KIDWELL RIDGE RD                                                                               MORRISTOWN      TN   37814‐1718
ULESKI, GREGORY A          46202 PLUM GROVE DR                                                                                 MACOMB          MI   48044‐4614
ULESLIE SURLES             114 S 9TH ST                                                                                        SAGINAW         MI   48601‐1801
ULEWICZ, KENNETH J         17703 SE 89TH KEATING TER                                                                           THE VILLAGES    FL   32162‐0879
ULEWICZ, RONALD M          23077 ALMOND AVE                                                                                    EASTPOINTE      MI   48021‐1904
ULEZELSKI, JAMES C         504 ADELYNN CT N                                                                                    FRANKLIN        TN   37064‐6729
ULEZELSKI, KATHLEEN N      504 ADELYNN CT N                                                                                    FRANKLIN        TN   37064‐6729
ULF ARNDT                  ULF ARNDT                        JAHNSTR G1                               D 71032 BOEBLINGEN
                                                                                                     GERMANY
ULF ARNDT                  JAHNSTR G1                                                                D 71032 BOEBLINGEN
                                                                                                     GERMANY
ULF ARNDT                  JAHNSTR 61                                                                071032 BOEBLINQEN,
                                                                                                     GERMANY
ULF ARNDT                  JAHNSTR 61                       D 71032                                  BOEBLINGEN GERMANY
ULF GOERTZ                 OTTO‐FRICKE‐STR. 95              BAD VILBEL
ULF GOERTZ                 OTTO‐FRICKE‐STR. 95                                                       6118 BAD VILBEL GERMANY
ULF GRABNER                EICHENALLEE 14A                                                           16548 GLIENICKE GERMANY
ULF HILLESHEIM             KOLNER STRASSE 200                                                        51702 BERGNEUSTQADT
                                                                                                     GERMANY
ULF HILLESHEIM             KOLNER STRABE 200                                                         51702 BERGNEUSTQADT
                                                                                                     GERMANY
ULF MALLEK                 NEULUSSHEIMER STR. 40                                                     01465 LANGEBRUECK
                                                                                                     GERMANY
ULF MALLEK                 NEULUSSHEIMER STR. 40            01465 LANGEBRUECK
ULF MALLEK                 NEULUSSHEIMER STR. 40            01465 LANGEBRUECK
                                   09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                        Part 37 of 40 Pg 694 of 901
Name                               Address1                          Address2                        Address3   Address4                 City               State Zip
ULF NICKL                          MENDELSTR 2                                                                  39011 LANA ITALY
ULF PANZER                         NIENSTEDTENER MARKTPLATZ 23                                                                           22609 HAMBURG
ULF REINHARDT                      AM BECKERBRUCH 38                                                            06846 DESSAU‐ROSSLAU
                                                                                                                GERMANY
ULFIG, DIANE M                     42164 LOCHMOOR ST                                                                                     CLINTON TWP        MI    48038‐1772
ULI DETROIT DISTRICT COUNCIL       660 WOODWARD AVE STE 1500                                                                             DETROIT            MI    48226‐3584
ULIANA, ANTHONY R                  3710 NORTH 575 E                                                                                      BROWNSBURG         IN    46112
ULIBARRI LYDIA                     12800 COMANCHE RD NE APT 5                                                                            ALBUQUERQUE        NM    87111
ULIBARRI, BRIDGETTE                ARRAZOLO LAW PC                   715 TIJERAS AVE NW                                                  ALBUQUERQUE        NM    87102‐3076
ULIBARRI, BRIDGETTE                RAGAN JAMES B PC                  723 COLEMAN AVE                                                     CORPUS CHRISTI     TX    78401‐3414
ULICE M LYNCH                      601 CIRCLE RD                                                                                         DAYTON             OH    45417
ULICE MANLEY                       1631 S MAIN ST                                                                                        LIMA               OH    45804‐1944
ULICE NORTON JR                    1650 TENNYSON AVENUE                                                                                  DAYTON             OH    45406‐4146
ULICHNIE, DOLORES M                60 BOONE DR APT A                                                                                     TURTLE CREEK       PA    15145‐2619
ULICHNIE, DOLORES M                60A BOONE DR                                                                                          TURTLE CREEK       PA    15145‐2619
ULICKEY, KENNETH                   723 SPRUCE ST                                                                                         AURORA              IL   60506‐3846
ULICKI, STEPHEN M                  1811 MAINE ST                                                                                         SAGINAW            MI    48602‐1723
ULICNE ANDY (ESTATE OF) (475851)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH    44067
                                                                     PROFESSIONAL BLDG
ULICNE JR, GEORGE                  7484 BUTLER NORTH LIBERTY RD                                                                          BUTLER             OH    44822‐8920
ULICNE, ANDREW J                   8174 BUCKELL LAKE RD                                                                                  HOLLY              MI    48442‐9619
ULICNE, IDA M                      8174 BUCKELL LAKE RD                                                                                  HOLLY              MI    48442‐9619
ULICNE, JOHN A                     411 ORCHARD BLVD                                                                                      DANVILLE           IN    46122‐1058
ULICNE, MARK S                     209 W BEECH LN                                                                                        ALEXANDRIA         IN    46001‐8386
ULICNE, MARK STEVEN                209 W BEECH LN                                                                                        ALEXANDRIA         IN    46001‐8386
ULICNY, DENNIS M                   43945 PINOT NOIR DR                                                                                   STERLING HEIGHTS   MI    48314‐1801
ULICNY, JOHN C                     1771 HURON CT                                                                                         OXFORD             MI    48371‐6094
ULICNY, RICHARD S                  1570 BEECHWOOD ST NE                                                                                  WARREN             OH    44483‐4132
ULICNY, TAMARA S                   43945 PINOT NOIR DR                                                                                   STERLING HEIGHTS   MI    48314‐1801
ULIN KEITH S                       9636 CHEROKEE ST                                                                                      TAYLOR             MI    48180‐3142
ULIN, ERIC H                       541 E LIBERTY ST                                                                                      MILFORD            MI    48381‐2054
ULIN, KEITH S                      9636 CHEROKEE ST                                                                                      TAYLOR             MI    48180‐3142
ULIN, MARGARET                     408 WOODLAWN AVE.                                                                                     NEWARK             DE    19711‐5536
ULIN, WEBSTER B                    408 WOODLAWN AVE                                                                                      NEWARK             DE    19711‐5536
ULIN, WENDY B                      5234 HEATH AVE                                                                                        CLARKSTON          MI    48346‐3529
ULIN, WENDY B                      6081 EVERGREEN LN                                                                                     GRAND BLANC        MI    48439‐9643
ULINE COWEN                        410 FOREST CIRCLE DR                                                                                  CADIZ              KY    42211
ULINE INC                          2200 S LAKESIDE DR                                                                                    WAUKEGAN           IL    60085‐8361
ULINSKAS, ALGERD T                 19 SILVER ST                                                                                          TERRYVILLE         CT    06786‐5210
ULIP, RUDOLF C                     630 BIGHORN CREEK ST                                                                                  HENDERSON          NV    89002‐0937
ULIRCH SEIPP                       AUF DER SCHIEFERKAUT 1                                                       WALDSOLMS GERMANY
                                                                                                                35647
ULIS BEATY                         5333 WAGON TRAIL RD.                                                                                  HOUSTON LAKE       MO    64151
ULIS BUNTON                        2151 DUTCHER ST                                                                                       FLINT              MI    48532‐4410
ULIS F SIMS                        4627 REDFIELD CT APT 1B                                                                               SAINT LOUIS        MO    63121
ULIS SIMS                          4627 REDFIELD CT APT 1B                                                                               SAINT LOUIS        MO    63121
ULISES, PAZ                        4540 SW 33RD DR                                                                                       WEST PARK          FL    33023‐5504
ULISH WATSON                       2220 BURT ST                                                                                          SAGINAW            MI    48601‐2025
ULISHNEY, CAROL A                  500 PEGOTTY CT NE                                                                                     WARREN             OH    44484‐6405
ULISHNEY, CAROL A                  500 PEGOTTY COURT                                                                                     WARREN             OH    44484‐6405
ULISNYAK JOSEPH                    APT 314                           18626 NORTH SPANISH GARDEN DR                                       SUN CITY WEST      AZ    85375‐4734
                          09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                              Part 37 of 40 Pg 695 of 901
Name                      Address1                         Address2                        Address3   Address4         City            State Zip
ULISSE DI BARTOLOMEI
ULISSE MATTANZA           C.SO PALESTRO 31                 25121 BRESCIA
ULIULI, TRACY             3823 SOUTH MARILYN PKWY          K‐1                                                         LAS VEGAS       NV    89119
ULIVETO, SUSAN S          1724 GREENDALE AVE                                                                           FINDLAY         OH    45840‐6916
ULKO, ELEANOR             17823 N 17TH PL                                                                              PHOENIX         AZ    85022‐1672
ULKO, ELEANOR             17823 N. 17TH PLACE                                                                          PHOENIX         AZ    85022‐1672
ULLA FARROW               HC 71 BOX 282                                                                                AVA             MO    65608‐8804
ULLA FRANKESER            KAISERSTRASSE 77                                                                             VIERSEN               41747
ULLA HETTINGER            29157 EASTROSE ST                                                                            ROSEVILLE       MI    48066‐2080
ULLA R JOLLEY             726 LAKEWOOD DR NE                                                                           BROOKHAVEN      MS    39601
ULLAINEE BATTIGAGLIA      2116 MORELAND AVE                                                                            DAYTON          OH    45420‐2814
ULLEMEYER, DAVID M        50 LEYTON RD                                                                                 BEDFORD         OH    44146‐2126
ULLEN, R W
ULLENBERG, LORRAINE M     8340 S VERDEV DR                                                                             OAK CREEK       WI    53154‐3225
ULLER, DANIEL J           125 HEARTWOOD DR                 COMMERCE MEADOWS                                            WIXOM           MI    48393‐3933
ULLER, GREGORY B          34214 TONQUISH TRL                                                                           WESTLAND        MI    48185‐7040
ULLER, JEFFREY F          9 OAKLAND ROAD                                                                               MAPLEWOOD       NJ    07040‐2224
ULLERY DAVID A (476958)   KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND       OH    44114
                                                           BOND COURT BUILDING
ULLERY, BONNIE J          1908 QUAKER RD                                                                               BARKER          NY    14012‐9622
ULLERY, CHARLES E         8020 PLEASANT PLAIN RD                                                                       BROOKVILLE      OH    45309‐9296
ULLERY, CLIFFORD H        235 MOUND ST                                                                                 BROOKVILLE      OH    45309‐1311
ULLERY, DAVID A           KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                CLEVELAND       OH    44114
                                                           BOND COURT BUILDING
ULLERY, DONALD E          223 WILSON PARK DR                                                                           W CARROLLTON    OH    45449‐1643
ULLERY, DONALD EUGENE     223 WILSON PARK DR                                                                           W CARROLLTON    OH    45449‐1643
ULLERY, DORTHA M          7601 RUSTIC WOODS DR                                                                         HUBER HEIGHTS   OH    45424‐2426
ULLERY, EDWARD J          11039 ASPEN LN W                                                                             CLIO            MI    48420‐2406
ULLERY, EDWARD L          52 URBAN LN                                                                                  BROOKVILLE      OH    45309‐9276
ULLERY, ELSIE S           2098 GLENROSE DR                                                                             REDDING         CA    96001‐4941
ULLERY, JAMES R           85 BEECHVIEW DR                                                                              BROOKVILLE      OH    45309‐9262
ULLERY, KENNETH E         8150 SNAKE RD                                                                                DAYTON          OH    45426‐4028
ULLERY, ROBERT D          3130 FORDHAM DR                                                                              PRESCOTT        AZ    86301‐4136
ULLERY, SHARON L          7216 KANAPOLIS DR                                                                            CROSSVILLE      TN    38572‐3538
ULLIE BROWN               7618 CAVELL ST                                                                               WESTLAND        MI    48185‐2673
ULLINGER, EDWARD R        11860 68TH AVE                                                                               SEMINOLE        FL    33772‐6105
ULLIUS DAVID              NEED BETTER ADDRESS 10/25/06CP   122505 WAKE ROBIN WAY                                       DUNLAP          IL    61525
ULLIVARRI, MARICARMEN     13734 KENDALE LAKES DR                                                                       MIAMI           FL    33183‐2109
ULLMAN JOHN               14 KNOLLBROOK LN E                                                                           PAINTED POST    NY    14870‐9345
ULLMAN, BRADY L           322 W OHIO AVE                                                                               RITTMAN         OH    44270‐1208
ULLMAN, DONALD E          9824 MARYSVILLE RD                                                                           OSTRANDER       OH    43061‐9772
ULLMAN, DORIS D           9824 MARYSVILLE RD                                                                           OSTRANDER       OH    43061‐9772
ULLMAN, EDNA              322 W OHIO AVE                                                                               RITTMAN         OH    44270‐1208
ULLMAN, EDNA              322 WEST OHIO AVE                                                                            RITTMAN         OH    44270‐1208
ULLMAN, MATTHEW J         1100 ALBERT RD APT A23                                                                       BROOKHAVEN      PA    19015‐2012
ULLMANN, ARNOLD A         406 WOODBERRY DR                                                                             DANVILLE        IN    46122‐7863
ULLMER, HILDA             15245 CLINTON RIVER RD                                                                       CLINTON TWP     MI    48038‐3135
ULLMER, JAMES L           8595 PLEASANT PLAIN RD                                                                       BROOKVILLE      OH    45309‐9215
ULLMER, JEAN              224 PORTER DR                                                                                ENGLEWOOD       OH    45322‐2452
ULLMER, JEAN              224 PORTER DRIVE                                                                             ENGLEWOOD       OH    45322‐2452
ULLMER, KATELYN L         9088 FERRY CREEK DR                                                                          SHREVEPORT      LA    71106‐8404
ULLMER, KENNETH D         228 MARJORIE AVE                                                                             DAYTON          OH    45404‐2346
                            09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                               Part 37 of 40 Pg 696 of 901
Name                        Address1                           Address2                      Address3   Address4         City              State Zip
ULLMER, TIMOTHY D           9088 FERRY CREEK DR                                                                          SHREVEPORT         LA 71106‐8404
ULLOA ALBERTO               1435 MORRIS AVE                                                                              UNION              NJ 07083
ULLOA JOSE                  ULLOLA, JOSE
ULLOA, JOSE                 6814 CARO ST                                                                                 PARAMOUNT         CA   90723‐4721
ULLOA, RUFINA R             2406 E BAXTER RD                   APT 1                                                     KOKOMO            IN   46902
ULLOA, RUFINA R             2362E S COUNTY ROAD 400 E                                                                    KOKOMO            IN   46902
ULLOM, CATHERINE M          51 MEADOW LN                                                                                 NEW HOPE          PA   18938‐1051
ULLOM, CHESTER J            157 S 3RD ST                                                                                 CARDINGTON        OH   43315‐1046
ULLOM, DAVID L              501 WILLOW BROOK DRIVE                                                                       WARREN            OH   44483‐4483
ULLOM, DONALD R             105 FRIENDSHIP DR                                                                            WEST NEWTON       PA   15089‐2010
ULLOM, FRED L               1480 N. CO. RD. 400E                                                                         ANDERSON          IN   46012
ULLOM, GEORGE W             2535 DENBY DR                                                                                WATERFORD         MI   48329‐3927
ULLOM, JOHN B               1900 S OHARE BLVD                                                                            YORKTOWN          IN   47396‐6824
ULLOTH, JULIAN P            424 SYCAMORE RIDGE CT                                                                        MIAMISBURG        OH   45342‐5742
ULLREY, MARVIN E            15191 LA GRANDE PLZ                                                                          WARREN            MI   48088‐3962
ULLRICH ARTHUR L (472185)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                               STREET, SUITE 600
ULLRICH HAUS                7642 ATHLONE DR                                                                              BRIGHTON          MI 48116‐8847
ULLRICH, ARTHUR L           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                               STREET, SUITE 600
ULLRICH, AUDREY E           5130 TIMBER PLACE                                                                            ELIZABETH         CO   80107
ULLRICH, CAROLYN Y          1697 APPLE RIDGE CT                                                                          ROCHESTER HILLS   MI   48306‐3202
ULLRICH, CHARLES W          APT 203                            330 GREENWOOD AVENUE                                      GREENCASTLE       IN   46135‐1300
ULLRICH, IRENE W            400 W BUTTERFIELD RD APT 505                                                                 ELMHURST          IL   60126‐5905
ULLRICH, JAMES R            993 WILDWOOD DR                                                                              NEW LENOX         IL   60451‐3354
ULLRICH, MARIAN             467 HARVEST MOON DR                                                                          GREENCASTLE       IN   46135‐7202
ULLRICH, MARK               6120 WHISPERING MEADOWS DR                                                                   WHITE LAKE        MI   48383‐2786
ULLRICH, MARK C             212 BURLINGTON DR                                                                            MANLIUS           NY   13104‐1121
ULLRICH, PAM S              1727 GERRARD AVE                                                                             INDIANAPOLIS      IN   46224‐5637
ULLRICH, PATRICIA J         1920 DENBURY DRIVE                                                                           BALTIMORE         MD   21222‐4601
ULLRICH, RICHARD W          19303 N NEW TRADITION RD APT 417                                                             SUN CITY WEST     AZ   85375‐3861
ULLRICH, ROBERT L           2247 PROVIDENCE ST                                                                           FALLS CHURCH      VA   22043‐3121
ULLRICK, LINDA H            137 MINNESOTA STREET                                                                         OTTUMWA           IA   52501‐4562
ULLUM THOMAS J (342408)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                               STREET, SUITE 600
ULLUM, THOMAS J             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                               STREET, SUITE 600
ULLYSSES JR LIGGINS         5333 MILLWOOD DR                                                                             FLINT             MI   48504‐1129
ULLYSSES LIGGINS            224 WHITE ST                                                                                 FLINT             MI   48505‐4158
ULM, GARY C                 436 CARRICK DR                                                                               DAYTON            OH   45458‐4182
ULM, MONTE L                233 N PENDLETON AVE                                                                          PENDLETON         IN   46064‐1025
ULM, PHYLLIS J              2914 GAMMA LN                                                                                FLINT             MI   48506‐1834
ULMAN, ANNA A               3783 DRYDEN RD                                                                               DRYDEN            MI   48428‐9708
ULMAN, BARBARA L            7109 WESTCHESTER                                                                             WEST BLOOMFIELD   MI   48322‐2867
ULMAN, BRADLEY J            669 WAHWAHTAYSEE TRL                                                                         MIO               MI   48647
ULMAN, BURTON R             1209 N ERIE ST                                                                               BAY CITY          MI   48706‐3548
ULMAN, CHARLES M            887 W CENTER RD ESSEXVILLE                                                                   BAY CITY          MI   48732
ULMAN, CHRISTINE            17038 MERIDIAN BLVD                                                                          MERIDIAN          FL   34667
ULMAN, DALE F               131 TROUVE LN                                                                                RUSKIN            FL   33570‐2921
ULMAN, DOLORES A            3444 FAIRFAX DR STE 106                                                                      ARLINGTON         VA   22201‐4405
ULMAN, GERALD D             4802 SHORELINE CT                                                                            WATERFORD         MI   48329‐1689
ULMAN, MARY E               4022 PARK FOREST DR                                                                          FLINT             MI   48507‐2259
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                          Part 37 of 40 Pg 697 of 901
Name                                Address1                           Address2                        Address3   Address4               City                 State Zip
ULMAN, MICHAEL J                    2303 E MORNINGSIDE DR                                                                                HENDERSONVILLE        NC 28791‐1756
ULMAN, PAULINE M                    7631 WILLOW HWY                                                                                      GRAND LEDGE           MI 48837‐8992
ULMAN, RACHEL MAY                   238 VOORHEIS ST                                                                                      PONTIAC               MI 48341‐1945
ULMAN, RALPH E                      613 S DEWITT ST                                                                                      BAY CITY              MI 48706‐4663
ULMAN, ROBERT K                     6117 NICHOLAS DR                                                                                     WEST BLOOMFIELD       MI 48322‐2341
ULMAN, RONALD E                     2674 S CANAL RD                                                                                      EATON RAPIDS          MI 48827‐9391
ULMAN, WAYNE H                      10821 STOCKWELL RD                                                                                   MARION                MI 49665‐9649
ULMAN, WILDA                        22205 YALE ST                                                                                        SAINT CLAIR SHORES    MI 48081‐2037
ULMAN, WILLIAM C                    3535 FLAJOLE RD                                                                                      RHODES                MI 48652‐9508
ULMAN, WILLIAM W                    G5177 E CARPENTER                                                                                    FLINT                 MI 48506
ULMER GREG                          1618 ASH PL                                                                                          WEST FARGO            ND 58078‐3417
ULMER JR, JOHN F                    10841 GRANDVIEW DR                                                                                   PALOS PARK             IL 60464‐2582
ULMER KENNETH L (494279)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK               VA 23510
                                                                       STREET, SUITE 600
ULMER NIX                           4700 NW 15TH ST                                                                                      OKLAHOMA CITY        OK    73127‐4020
ULMER'S AUTO CARE CENTER            6389 SALEM RD                                                                                        CINCINNATI           OH    45230‐2749
ULMER'S AUTO CARE CENTER            700 LILA AVE                                                                                         MILFORD              OH    45150‐1614
ULMER, ADA R                        PO BOX 320084                                                                                        FLINT                MI    48532‐0002
ULMER, CAROLYN                      3682 DEMORY RD                                                                                       LAFOLLETTE           TN    37766‐5966
ULMER, DAVID G                      6035 S TRANSIT RD VLGE54                                                                             LOCKPORT             NY    14094
ULMER, DAVID GEORGE                 6035 S TRANSIT RD VLGE54                                                                             LOCKPORT             NY    14094
ULMER, DOLORES H                    1501 CS WOODS BLVD                 CARE FREE LIVING                APT # 2                           BULL SHOALS          AR    72619‐4128
ULMER, DOLORES H                    CARE FREE LIVING                   1501 CS WOODS BLVD                                                BULLSHOALS           AR    72619
ULMER, DONALD G                     3175 S CRESTVIEW DR                                                                                  NEW CASTLE           IN    47362‐9629
ULMER, GLORIA C                     PO BOX 310110                                                                                        FLINT                MI    48531‐0110
ULMER, GLORIA CHRISTINE             PO BOX 310110                                                                                        FLINT                MI    48531‐0110
ULMER, GUSSIE N                     6628 ORANGE LN                                                                                       FLINT                MI    48505‐1926
ULMER, JACQUELINE L                 33 N HAVENRIDGE DR                                                                                   THE WOODLANDS        TX    77381‐2612
ULMER, KENNETH L                    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK              VA    23510‐2212
                                                                       STREET, SUITE 600
ULMER, KENNETH O                    603 E FRIENDSHIP ST                                                                                  MEDINA               OH    44256‐1966
ULMER, LEO                          3336 RICHTON ST                                                                                      DETROIT              MI    48206‐1043
ULMER, R L                          1705 GRANTHAM LN                                                                                     AURORA               IL    60503‐8532
ULMER, ROBERT                       14624 TROSETER                                                                                       DETROIT              MI    48205
ULMER, ROBERT L                     21971 BEVERLY ST                                                                                     OAK PARK             MI    48237‐2574
ULMER, VERA L                       609 BIMINI DR                                                                                        SANDUSKY             OH    44870‐3992
ULMER, VIOLET M                     3211 CRYSTAL LN                    C/O THOMAS F KREBS                                                ANDERSON             IN    46012‐9284
ULMER, WANDA J                      603 E FRIENDSHIP ST                                                                                  MEDINA               OH    44256‐1966
ULMER, WILLIAM H                    6389 TORREY RD                                                                                       FLINT                MI    48507‐5905
ULMERS AUTO & TRUCK SERVICE         206 7TH ST S                                                                                         GREAT FALLS          MT    59405‐1924
ULNKE AND ULRICH LEINGANG           LANDWEHSTR 14                                                                 67436 SPEYER GERMANY
ULP, CLAYTON A                      26655 HOLLYWOOD ST                                                                                   ROSEVILLE            MI    48066‐3366
ULP, CLAYTON ALFRED                 26655 HOLLYWOOD ST                                                                                   ROSEVILLE            MI    48066‐3366
ULPIANO COS                         411 N LA FAYETTE PARK PL APT 4                                                                       LOS ANGELES          CA    90026‐4740
ULREY CHARLES                       ULREY, CANDY                       120 WEST MADISON STREET 10TH                                      CHICAGO              IL    60602
                                                                       FLOOR
ULREY CHARLES                       ULREY, CHARLES                     120 WEST MADISON STREET 10TH                                      CHICAGO               IL   60602
                                                                       FLOOR
ULREY DONALD (ESTATE OF) (489274)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD           OH 44067
                                                                       PROFESSIONAL BLDG
ULREY, CANDY                        KROHN & MOSS ‐ IN                  120 WEST MADISON STREET 10TH                                      CHICAGO               IL   60602
                                                                       FLOOR
                                09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                   Part 37 of 40 Pg 698 of 901
Name                            Address1                        Address2                       Address3   Address4                City          State Zip
ULREY, CHARLES                  KROHN & MOSS ‐ IN               120 WEST MADISON STREET 10TH                                      CHICAGO         IL 60602
                                                                FLOOR
ULREY, DONALD G                 7601 MCCARTY RD                                                                                   SAGINAW       MI   48603‐9678
ULREY, JAMES R                  1418 N. BOWMAN                                                                                    DANVILLE      IL   61832
ULREY, JERRY L                  2820 ROSEMARY ST                                                                                  SAGINAW       MI   48602‐3115
ULREY, LARRY D                  8908 GOSHAWK LN                                                                                   FORT WAYNE    IN   46825‐3051
ULREY, NANCY L                  7601 MCCARTY RD                                                                                   SAGINAW       MI   48603‐9678
ULREY, RICHARD J                618 S LAKE ST 9                                                                                   CADILLAC      MI   49601
ULREY, ROBERT G                 12004 W WINDSOR RD                                                                                PARKER CITY   IN   47368‐9344
ULREY, SAMANTHA A               12047 SWAN CREEK ROAD                                                                             SAGINAW       MI   48609‐9749
ULREY, SAMANTHA ANN             12047 SWAN CREEK ROAD                                                                             SAGINAW       MI   48609‐9749
ULREY, SHARON L                 618 S LAKE ST 9                                                                                   CADILLAC      MI   49601
ULRICH & BARBARA SCHOENLEITER   BURG KASTENHOLZ                                                           53881 EUSKIRCHEN
                                                                                                          GERMANY
ULRICH ‐ LAUDE', KRISTA L       4280 LOWER MOUNTAIN RD                                                                            LOCKPORT      NY 14094‐9741
ULRICH ARNOLD                   ROEDERBERG 13                                                             HALLE 06114 GERMANY
ULRICH BARDELEBEN               3174 DONA CHRISTINA PLACE                                                                         STUDIO CITY   CA 91604
ULRICH BAUKNECHT                ZUGAECKERSTR. 24                72622 NUERTINGEN
ULRICH BAUKNECHT                ZUGAECKERSTR 24                                                           72622 NUERTINGEN        GERMANY
                                                                                                          GERMANY
ULRICH BEN F (429969)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK       VA 23510
                                                                STREET, SUITE 600
ULRICH BRINKER                  5209 FLETCHER ST                                                                                  SAINT LOUIS   MO 63136‐1013
ULRICH BROICH                   KUFSTEINER STR. 24A                                                       D‐85521 RIEMERLING
                                                                                                          GERMANY
ULRICH DAVE                     1030 E 300 N                                                                                      ALPINE        UT 84004‐1435
ULRICH DEBORAH                  514 GARFIELD AVE                                                                                  FOLCROFT      PA 19032‐1320
ULRICH DEHN                     WILHELMSTRASSE 17                                                         74072 HEILBRONN
                                                                                                          GERMANY
ULRICH DITSCHLER                AM KEBSGRABEN 5                                                           37154 NORTHEIM
                                                                                                          GERMANY
ULRICH DITTMAR                  1541 OLD PLANK RD                                                                                 MILFORD       MI 48381‐2946
ULRICH DR. KAPS                 SONNENSTR. 9                                                              63856 BESSENBACH
                                                                                                          GERMANY
ULRICH EHLERS                   SCHLEISSHEIMER STRASSE 15B      85748 GARCHING/MUENCHEN
ULRICH EHLERS                   DR. STEINHUBEL & V BUTTLER      LOEFFELSTRASSE 44                         70597 STUTTGART
                                RECHTSANWALTE                                                             GERMANY
ULRICH EHRHARDT                 SCHILDERGASSE 6                                                           59590 GESEKE GERMANY
ULRICH EIMER                    GROTTENSTR 9                                                              44789 BOCHUM GERMANY
ULRICH EISTERT                  FINKENSTR 11                                                              70794 DEUTSCHLAND
                                                                                                          GERMANY
ULRICH EISTERT                  FINKENSTR. 11                                                                                     FILDERSTADT        70794
ULRICH FRICKE                   AM BIESINGER BERG 82                                                      66440 BLIESKASTEL
                                                                                                          GERMANY
ULRICH GERALD W (482050)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK       VA 23510
                                                                STREET, SUITE 600
ULRICH HANNI                    RUE DU CENDRIER 10                                                                                GENEVE             1201
ULRICH HARTIG                   SCH╓NBLICKWEG 35                89134 BLAUSTEIN
ULRICH HARTIG                   SCHOENBLICKWEG 35               89134 BLAUSTEIN
ULRICH HARTIG                   SCHOENBLICKWEG 35                                                         89134 BLAUSTEIN
                                                                                                          GERMANY
                                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                            Part 37 of 40 Pg 699 of 901
Name                                  Address1                           Address2                      Address3       Address4                 City              State Zip
ULRICH HENSELMEYER                    HERTLEINSTRASSE 69                                                              ERLANGEN, GERMANY,
                                                                                                                      91052
ULRICH HOFMANN                        ROTHER STRASSE 21                  91183 ABENBERG
ULRICH HOFMANN                        ROTHERSTRASSE 21                                                                91183 ABENBERG
ULRICH HOFMANN                        ROTHERSTRASSE 21                   91183 ABENBERG
ULRICH HUEMMERICH                     7155 MADONNA DR                                                                                          LAS VEGAS          NV 89156‐7192
ULRICH JR, HAROLD J                   5442 S ISABEL TER                                                                                        HOMOSASSA          FL 34446‐2201
ULRICH KEITH                          ULRICH, KEITH                      8739 POINT AVE                                                        NIAGRA FALLS       NY 14304
ULRICH K╓STNER                        RICHARD‐STRAUSS‐STRASSE 34                                                      91315 H╓CHSTADT
                                                                                                                      GERMANY
ULRICH KUNZ
ULRICH KURTH                          ERNSDORFER STRASSE 21
ULRICH LANGER                         RA FRANZ BRAUN                     GLLB RECHTSANWAELTE           LIEBIGSTR 21   80538 MUENCHEN
                                                                                                                      GERMANY
ULRICH LUMBER & BUILDERS SUPPL        6470 E 9 MILE RD                   PO BOX 1063                                                           WARREN             MI 48091‐2671
ULRICH LUMBER & BUILDERS SUPPLY INC   6470 E 9 MILE RD                                                                                         WARREN             MI 48091‐2671

ULRICH MOTOR COMPANY                  328 W PARKSIDE DR                                                                                        WASHBURN           IL   61570‐7530
ULRICH MOTOR COMPANY                  STANLEY ULRICH                     328 W PARKSIDE DR                                                     WASHBURN           IL   61570‐7530
ULRICH OPPELT                         PUCKHOLM 15A                                                                    22457 HAMBURG
ULRICH PEARCE                         13737 CONLEY ST                                                                                          DETROIT            MI 48212‐1831
ULRICH PFINGSTAG                      ERFURTER STR. 48                   66121 SAARBR▄CKEN
ULRICH PRIESMEYER                     THIENS HEIDE 50                    D‐49811 LINGEN
ULRICH PUTZ                           TIETZENWEG 91A                                                                  D‐12203 BERLIN GERMANY
ULRICH REICHERT                       CURD ‐ JUERGENS ‐ STR 30           81739 MUENCHEN
ULRICH REYNOLDS                       5358 N SYCAMORE DR                                                                                       BURTON             MI 48509‐1351
ULRICH ROEDER                         THURNEYSSENSTR 24                                                               80687 MUNICH GERMANY
ULRICH RUMPLER                        LILIENSTRASSE 2                                                                 85244 ROEHRMOOS
                                                                                                                      GERMANY
ULRICH SACKSTEDT
ULRICH SCHEUNEMANN                    22080 W 199TH ST                                                                                         SPRING HILL        KS   66083‐8589
ULRICH SEIPP                          AUF DER SCHIEFRKAUT 1                                                           35647 WALDSOLMS
                                                                                                                      GERMANY
ULRICH SEIPP                          AUF DER SCHIEFERKAUT 1                                                          35647 WALDSOLMS
                                                                                                                      GERMANY
ULRICH SHIRLEY                        166 FAIRMOUNT AVE                                                                                        CHATHAM            NJ   07928
ULRICH STEINMUELLER                   AHORNWEG 13B                       31319 SEHNDE
ULRICH STREIT                         SEEHUNDWEG 28                      24159 KIEL                                                            KIEL               DE 24159
ULRICH STREIT                         SEEHUNDWEG 28                                                                   24159 KIEL GERMANY
ULRICH STUBBE                         VIERL─NDER VB
ULRICH WETZEL                         PANORAMASTRASSE 21                 72654 NECKARTENZLINGEN
ULRICH ZIEBART                        HAFENMARKT 5                       73728                         ESSLINGEN
ULRICH, BARRY R                       3637 GETTYSBURG PITSBURG RD                                                                              ARCANUM           OH 45304‐9725
ULRICH, BEN F                         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                           NORFOLK           VA 23510‐2212
                                                                         STREET, SUITE 600
ULRICH, BRUCE L                       210 W FAIRFIELD AVE                                                                                      LANSING            MI   48906‐3116
ULRICH, CHARLES E                     930 DURANT ST                                                                                            LANSING            MI   48915‐1331
ULRICH, CHARLES G                     18736 MALDEN ST                                                                                          NORTHRIDGE         CA   91324‐4531
ULRICH, CHERYL L                      2941 FAIRVIEW PARK DR                                                                                    FALLS CHURCH       VA   22042
ULRICH, CRAIG S                       PO BOX 9022                        C/O: ADAM OPEL PKZ 42‐73                                              WARREN             MI   48090‐9022
ULRICH, CYNTHIA P                     606 WINTERBROOKE WAY                                                                                     SUN CITY CENTER    FL   33573‐6954
ULRICH, DAVID L                       2909 MILLER RD                                                                                           METAMORA           MI   48455‐9398
                             09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                   Part 37 of 40 Pg 700 of 901
Name                         Address1                           Address2                      Address3   Address4         City                 State Zip
ULRICH, DAVID L              606 WINTERBROOKE WAY                                                                         SUN CITY CENTER       FL 33573‐6954
ULRICH, DAVID R              112 N PARK DR                                                                                COLUMBIA CITY         IN 46725‐1320
ULRICH, DEBORA A             144 DIAMOND WAY                                                                              CORTLAND              OH 44410‐1399
ULRICH, DENISE J             9309 MADINA PKWY                                                                             FORT WAYNE            IN 46825‐1134
ULRICH, DENNIS J             8436 ROOSEVELT DR                                                                            GASPORT               NY 14067‐9527
ULRICH, DIXIE J              4018 BRUNSWICK AVE                                                                           FLINT                 MI 48507
ULRICH, DOUGLAS C            1852 VALLEY VIEW DR S                                                                        KOKOMO                IN 46902‐5074
ULRICH, DUANE D              7307 W BAWKEY RD                                                                             LAKE                  MI 48632‐9682
ULRICH, FRANK L              8573 N IONIA RD                                                                              VERMONTVILLE          MI 49096‐9767
ULRICH, FREDERICK W          2 OXBAN CT                                                                                   BLUFFTON              SC 29909‐4314
ULRICH, GERALD W             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                                STREET, SUITE 600
ULRICH, HOWARD O             7680 KAUFFMAN BLVD                                                                           PRESQUE ISLE         MI   49777‐8600
ULRICH, HOWARD OLIVER        5135 TRELLIS WAY                                                                             SYLVANIA             OH   43560‐2544
ULRICH, JACK C               1621 KANTNER DR                                                                              KETTERING            OH   45429‐4015
ULRICH, JAMES E              2900 ALLEN RD                                                                                ORTONVILLE           MI   48462‐8415
ULRICH, JAMES E              11488 KRUSE RD                                                                               PETERSBURG           MI   49270‐9788
ULRICH, JEFF
ULRICH, JEFFERY J            525 INDIAN VALLEY CT                                                                         ROSSFORD             OH   43460‐1546
ULRICH, JEFFERY JULIAN       525 INDIAN VALLEY CT                                                                         ROSSFORD             OH   43460‐1546
ULRICH, JEFFREY K            22330 COLONY ST                                                                              SAINT CLAIR SHORES   MI   48080‐2151
ULRICH, JEFFREY KRISTOPHER   22330 COLONY ST                                                                              SAINT CLAIR SHORES   MI   48080‐2151
ULRICH, JOHN C               2941 FAIRVIEW PARK DIRVE                                                                     FALLS CHURCH         VA   22042
ULRICH, JOHN D               6712 LUTTENTON RD                                                                            CONCORD              MI   49237‐9772
ULRICH, JOSEPHINE F          6167 BARKWOOD CT                   C O PATRICIA GERBASI                                      FARMINGTON           NY   14425‐1140
ULRICH, KATHERN M            501 HOLLY HUNT RD                                                                            BALTIMORE            MD   21220‐3028
ULRICH, KEITH                8739 POINT AVE                                                                               NIAGARA FALLS        NY   14304‐4455
ULRICH, KENNETH J            23011 ARGYLE CT                                                                              NOVI                 MI   48374‐4301
ULRICH, LEONARD P            3452 DURST CLAGG RD.                                                                         CORTLAND             OH   44410‐9502
ULRICH, LOWELL R             3635 S RIVERSIDE DR                                                                          SAULT SAINTE MARIE   MI   49783‐9117
ULRICH, LUIZ E               200 SW 29TH RD                                                                               MIAMI                FL   33129
ULRICH, MARCEL P             724 MCDONALD AVE                                                                             MC DONALD            OH   44437‐1321
ULRICH, MARTIN T             13103 KINGSTON AVE                                                                           HUNTINGTON WOODS     MI   48070
ULRICH, MARY H               41130 FOXRUN DR MS209                                                                        NOVI                 MI   48377
ULRICH, MICHAEL D            PO BOX 6325                                                                                  PLYMOUTH             MI   48170‐0333
ULRICH, MICHAEL DUANE        PO BOX 6325                                                                                  PLYMOUTH             MI   48170‐0333
ULRICH, MICHAEL M            3243 ALGONQUIN PKWY                                                                          TOLEDO               OH   43606‐2106
ULRICH, MICHEAL J            1396 HENDERSON RD                                                                            HOWELL               MI   48855‐8761
ULRICH, MINA L               740 ARIEBILL ST SW                                                                           WYOMING              MI   49509‐4072
ULRICH, MINDIE L             6096 STRAUSS RD                                                                              LOCKPORT             NY   14094‐5816
ULRICH, NANCY L              10819 MARYWOOD DRIVE                                                                         STANWOOD             MI   49346‐9046
ULRICH, NAOMI D              1621 KANTNER DR                                                                              KETTERING            OH   45429‐4015
ULRICH, PAUL L               4634 BROWN RD                                                                                VERMONTVILLE         MI   49096‐9726
ULRICH, PAUL L               5400 BOYNE HIGHLAND TRL                                                                      CLARKSTON            MI   48348‐3700
ULRICH, PETER J              2811 TECUMSEH RIVER RD                                                                       LANSING              MI   48906‐3849
ULRICH, PHILIP               10 HERTEL AVE APT 1102                                                                       BUFFALO              NY   14207‐2537
ULRICH, PHILLIP S            13816 LOWELL AVE                                                                             OVERLAND PARK        KS   66223‐1132
ULRICH, ROBERT A             36 HYDE AVE                                                                                  NILES                OH   44446‐1604
ULRICH, ROBERT V             12635 GROSINSKY RD                                                                           HILLMAN              MI   49746‐8048
ULRICH, SHIRLEY J            724 MCDONALD AVE                                                                             MC DONALD            OH   44437‐1321
ULRICH, STEPHEN A            12181 LAKE RD                                                                                OTTER LAKE           MI   48464‐9122
                                   09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                       Part 37 of 40 Pg 701 of 901
Name                              Address1                          Address2                 Address3    Address4                 City            State Zip
ULRICH, TEREZ F                   BACSALMAS DAMJANICH U.85 #4                                            HUNGARY H‐6430
                                                                                                         HUNGARY (REP)
ULRICH, THERESA M                 2900 ALLEN RD                                                                                   ORTONVILLE      MI    48462‐8415
ULRICH, THOMAS A                  7548 CHESTNUT RIDGE RD                                                                          LOCKPORT        NY    14094‐3528
ULRICH, VERA C                    PO BOX 9010                                                                                     BRECKENRIDGE    CO    80424‐9004
ULRICH, VERA CORNILIA             PO BOX 9010                                                                                     BRECKENRIDGE    CO    80424‐9004
ULRICH, WILLIAM C                 6054 S AUSTIN AVE                                                                               CHICAGO         IL    60638‐4336
ULRICH, WILLIAM J                 596 DUGUALLA RD                                                                                 OAK HARBOR      WA    98277‐9433
ULRICH, WILLIAM J                 4119 AUTUMN VIEW CT                                                                             FENTON          MI    48430‐9128
ULRICH, WILLIAM L                 3065 JODI LN                                                                                    DOVER           PA    17315‐5400
ULRIK AND ANJA LIEBHARD           WIESENSTR. 46                                                          D 71394 KERNEN GERMANY
ULRIKE DEGEBRODT                  TOLZER STR 4‐6                                                         14199 BERLIN GERMANY
ULRIKE HAEUSERER                  ULRICH ‐ HOFMAIER ‐ STR 27                                             D‐86159 AUGSBURG
                                                                                                         GERMANY
ULRIKE H─USERER                   ULRICH‐HOFMAIER‐STR. 27           D‐86159 AUGSBURG         GERMANY
ULRIKE IMHOF                      CARL ‐ BARTHEL ‐ WEG 4                                                 60598 FRANKFURT
                                                                                                         GERMANY
ULRIKE MAIER‐G╓DDEN               AM DIEBURGER BERG 30
ULRIKE MAIER‐GOEDDEN              AM DIEBURGER BERG 30
ULRIKE STAHLFELD                  HOFSTRASSE 2                                                           75417 MUEHLACKER
                                                                                                         GERMANY
ULRIKE STOCK                      WILHELM‐HOEGNER STR 8                                                  92245 KUEMMERSBRUCK
                                                                                                         GERMANY
ULRIKE U. WALTER REBERNIG         DR STEINHUBEL & V BUTTLAR         LOEFFELSTRASSE 44                    70597 STUTTGART
                                  RECHTSANWALTE                                                          GERMANY
ULRIKE‐ALICE FRENZEN              RATHAUSSTR 43                                                          76689 KARLSDORF‐
                                                                                                         NEUTHARD GERMANY
ULSES, GERALD J                   9518 HAYES ST                                                                                   OVERLAND PARK   KS    66212‐5029
ULSH, BILLY J                     330 BRIARWOOD DR                                                                                NEW BRAUNFELS   TX    78130‐8119
ULSHAFER, DAVID C                 2689 N 8 MILE RD                                                                                PINCONNING      MI    48650‐8983
ULSHAFER, DAVID E                 711 PHEASANT BLVD                                                                               CADILLAC        MI    49601‐3622
ULSHAFER, EDWIN L                 9211 EMILY DR                                                                                   DAVISON         MI    48423‐2886
ULSHAFER, GARY L                  10415 E POTTER RD                                                                               DAVISON         MI    48423‐8164
ULSHAFER, JOANNE                  19 INDIAN TRAIL DR                                                                              WESTMONT        IL    60559‐1082
ULSHAFER, MARY A                  G3401 BEGOLE STREET                                                                             FLINT           MI    48504‐2486
ULSHAFER, RUBY J                  4050 MANDY AVENUE S.E.                                                                          SALEM           OR    97302‐1700
ULSHAFER, RUBY J                  4050 MANDY AVE SE                                                                               SALEM           OR    97302‐1700
ULSHAFER, RYAN                    9211 EMILY DR 90                                                                                DAVISON         MI    48423
ULSHAFER, URBAN V                 7307 E STATE ROAD 218                                                                           LA FONTAINE     IN    46940‐9041
ULSHOEFER, EULA R                 2674 VIENNA ESTATES DR                                                                          DAYTON          OH    45459‐1388
ULSTAD, MELISSA A                 8245 SHAWNEE FOREST DR                                                                          FINDLAY         OH    45840
ULSTER COUNTY COMMUNITY COLLEGE   BURSAR OFFICE                                                                                   STONE RIDGE     NY    12484
ULSTER PROJECT ARLINGTON          6421 SADDLE RIDGE RD                                                                            ARLINGTON       TX    76016‐2529
ULTEA, INC                        901 DEMING WAY STE 101                                                                          MADISON         WI    53717‐1979
ULTEA, INC                        901 DEMING WAY                    STE 101                                                       MADISON         WI    53717‐1979
ULTERINO, ANN R                   995 COLDWATER RD                                                                                ROCHESTER       NY    14624
ULTERINO, JOSEPH J                995 CHILI CENTER COLDWATER RD                                                                   ROCHESTER       NY    14624‐4545
ULTIMA MEDIA LTD                  LAMB HOUSE CHURCH STREET          CHISWICK LONDON W4 2PD               UNITED KINGDOM GREAT
                                                                                                         BRITAIN
ULTIMATE AUTO REPAIR              2297 LAKE AVE SE BLDG B                                                                         LARGO            FL   33771
ULTIMATE AUTO REPAIR                                                3316 PARK AVE                                                                  NJ   07080
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                      Part 37 of 40 Pg 702 of 901
Name                                Address1                       Address2                   Address3                Address4                City                  State Zip
ULTIMATE AUTO SALES & SERVICE       50 MILLENNIUM DR                                                                  QUISPAMSIS NB E2E 4B1
                                                                                                                      CANADA
ULTIMATE AUTOMOTIVE                 551 MAIN ST                                                                                               CROMWELL              CT    06416‐1405
ULTIMATE BUICK PONTIAC GMC, INC.    SARA ZIMMERMAN                 4034 HIGHWAY 62 W                                                          MOUNTAIN HOME         AR    72653‐6570
ULTIMATE BUICK PONTIAC GMC, INC.    4034 HIGHWAY 62 W                                                                                         MOUNTAIN HOME         AR    72653‐6570
ULTIMATE BUILDING MAINTENANCE       PO BOX 4313                                                                                               WARREN                OH    44482‐4313
ULTIMATE BUILDING MAINTENANCE       3229 YOUNGSTOWN WARREN RD                                                                                 WARREN                OH    44484
ULTIMATE CAR CARE                   5641 BLACKBURN LN                                                                                         INVER GROVE HEIGHTS   MN    55076‐1608
ULTIMATE COLLISION                  ATTN: DOUG BACON               PO BOX 90157                                                               BURTON                MI    48509‐0157
ULTIMATE CORROSION CONTROL INC      PO BOX 337                                                                                                CLARKSTON             MI    48347‐0337
ULTIMATE EXPRESS INC                JFK STATION                    PO BOX 300724                                                              JAMAICA               NY    11430‐0724
ULTIMATE FREIGHT MGMT               9215 HALL RD                                                                                              DOWNEY                CA    90241‐5385
ULTIMATE GAUGE & FIXTURE INC        14150 23 MILE RD                                                                                          SHELBY TOWNSHIP       MI    48315‐2910
ULTIMATE HYDROFORMING               42450 YEAREGO DR                                                                                          STERLING HEIGHTS      MI    48314‐3262
ULTIMATE HYDROFORMING INC           42450 YEAREGO DRIVE                                                                                       STERLING HEIGHTS      MI    48314
ULTIMATE LOGISTICS INC              PO BOX 535                                                                                                RUSHVILLE             IN    46173‐0535
ULTIMATE MAINTENANCE SERVICES       4237 REDONDO BEACH BLVD                                                                                   LAWNDALE              CA    90260‐3341
ULTIMATE MAINTENANCE SERVICES INC   4237 REDONDO BEACH BLVD                                                                                   LAWNDALE              CA    90260‐3341

ULTIMATE MANUFACTURED SYSTEMS       4165 WALKER RD                                                                    WINDSOR ON N8W 3T6
                                                                                                                      CANADA
ULTIMATE MANUFACTURED SYSTEMS INC   4165 WALKER ROAD                                                                  WINDSOR CANADA ON
                                                                                                                      N8W 3T6 CANADA
ULTIMATE MEDIUM COMMUNICATIONS      740 W HENRY ST                                                                                            INDIANAPOLIS           IN   46225‐3103

ULTIMATE MFG                        KEVIN WOLANIN                  MICHIGAN ROD PRODUCTS      1326 GRAND OAKS DRIVE                           HOPKINSVILLE          KY    42240
ULTIMATE MFG                        KEVIN WOLANIN                  1326 GRAND OAKS DR         MICHIGAN ROD PRODUCTS                           HOWELL                MI    48843‐8579
ULTIMATE PONTIAC BUICK GMC ISUZU    5150 JEFFERSON DAVIS HWY       ATTN RANDALL HARRIS                                                        FREDERICKSBURG        VA    22408‐4265
ULTIMATE PONTIAC BUICK GMC, INC.    PRESIDENT                      5150 JEFFERSON DAVIS HWY                                                   FREDERICKSBURG        VA    22408‐4265
ULTIMATE PONTIAC‐BUICK‐GMC, INC.    5150 JEFFERSON DAVIS HWY                                                                                  FREDERICKSBURG        VA    22408‐4265
ULTIMATE PONTIAC‐BUICK‐GMC, INC.    RANDALL HARRIS                 5150 JEFFERSON DAVIS HWY                                                   FREDERICKSBURG        VA    22408‐4265
ULTIMATE PR/29370 ST                29370 STEPHENSON HWY                                                                                      MADISON HEIGHTS       MI    48071‐2317
ULTIMATE SALES & SVC                ATTN: WES STONE                11047 PIERSON DR # K                                                       FREDERICKSBURG        VA    22408‐2062
ULTIMATE SOCCER ARENA               867 SOUTH BLVD E                                                                                          PONTIAC               MI    48341‐3135
ULTIMATE SOLUTIONS INC              10 CLEVER DR                                                                                              TEWKSBURY             MA    01876‐1580
ULTIMATE TIRE & SERVICE             2721 MCINGVALE RD                                                                                         HERNANDO              MS    38632‐8648
ULTIMATION INC                      27930 GROESBECK HWY                                                                                       ROSEVILLE             MI    48066‐2757
ULTRA AUTO TRADING CO LTD           # 7‐1 WU KUNG 5TH RD           WU KU INDUSTRIAL AREA      TAIPEI HSIEN            TAIPEI TAIWAN
ULTRA DEX TOOLING SYSTEMS           7162 SHERIDAN RD                                                                                          FLUSHING               MI 48433‐9610
ULTRA EX                                                           2633 BARRINGTON CT                                                                                CA 94545
ULTRA GRIP INC                      8155 RICHARDSON RD                                                                                        COMMERCE TOWNSHIP      MI 48390‐4131
ULTRA MANUFACTURING LTD             100 WASHBURN DR RR2                                                               KITCHENER ON N2R 1S2
                                                                                                                      CANADA
ULTRA MANUFACTURING LTD             640 CONRAD PL                                                                     WATERLOO ON N2V 1C4
                                                                                                                      CANADA
ULTRA MANUFACTURING LTD             JOE D'ANGELO                   555 PARKSIDE DRIVE                                 CHANGWON KOREA (REP)
ULTRA MANUFACTURING LTD             TIM GOLDHAWK X235              11 HOFFMAN STREET                                  WATERLOO ON CANADA
ULTRA MANUFACTURING LTD.            JOE D'ANGELO                   555 PARKSIDE DRIVE                                 CHANGWON KOREA (REP)
ULTRA MARKETING                     CLAY LANGLEY                   4233 DELEMERE BLVD                                                         ROYAL OAK             MI    48073
ULTRA MARKETING INC                 4233 DELEMERE BLVD                                                                                        ROYAL OAK             MI    48073‐1804
ULTRA MATIC PRODUCTS INC            5500 PLEASANT ST                                                                                          METAMORA              MI    48455
ULTRA PRINTING & DESIGN INC         5700 CHEVROLET BLVD                                                                                       CLEVELAND             OH    44130‐1412
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                         Part 37 of 40 Pg 703 of 901
Name                                Address1                          Address2                         Address3           Address4               City            State Zip
ULTRA SEAL INC                      3385 LIVINGSTON RD                                                                                           BRIDGMAN         MI 49106‐9509
ULTRA SONIC/ASTON                   53 CHURCH HILL RD                                                                                            NEWTON           CT 06470‐1614
ULTRA SONIC/WODINVIL                18612 142ND AVE NE                                                                                           WOODINVILLE      WA 98072‐8521
ULTRA SUPPLIES OF CANADA            896 BROCK RD S UNIT 1                                                                 PICKERING ON L1W 1Z9
                                                                                                                          CANADA
ULTRA TECH AUTOMATION INC           PO BOX 164                                                                                                   FRASER          MI 48026‐0164
ULTRA WHEEL COMPANY                 TUCKER LAW FIRM                   9440 SANTA MONICA BLVD STE 504                                             BEVERLY HILLS   CA 90210

ULTRA‐DEX INC                       7162 SHERIDAN RD                                                                                             FLUSHING        MI 48433‐9610
ULTRA‐MATIC PRODUCTS                RANDALL GARCIA                    PO BOX 127                       5500 PLEASANT ST                          CHARLESTON      SC 29402‐0127
ULTRA‐MATIC PRODUCTS INDUSTRY INC   RANDALL GARCIA                    PO BOX 127                       5500 PLEASANT ST                          CHARLESTON      SC 29402‐0127

ULTRAFAB INC                        1050 HOOK RD                                                                                                 FARMINGTON      NY   14425‐9537
ULTRAFORM IND/ROMEO                 143 E POND DR                                                                                                ROMEO           MI   48065‐4903
ULTRAFORM INDUSTRIES INC            143 E POND DR                                                                                                ROMEO           MI   48065‐4903
ULTRAFORM INDUSTRIES INC            150 PEYERK CT                                                                                                BRUCE TWP       MI   48065‐4921
ULTRAFORM INDUSTRIES INC            DONALD FRATTAROLI                 150 PEYERK COURT                                    INGOLSTADT GERMANY
ULTRAFORM INDUSTRIES INC            DONALD FRATTAROLI                 150 PEYERK CT                                                              BRUCE TWP       MI 48065‐4921
ULTRAFORM INDUSTRIES, INC           DONALD FRATTAROLI                 150 PEYERK CT                                                              BRUCE TWP       MI 48065‐4921
ULTRAFORM INDUSTRIES, INC           DONALD FRATTAROLI                 150 PEYERK COURT                                    INGOLSTADT GERMANY
ULTRALEVEL INC                      ATTN: JASON DAVIDSON              45 E MILWAUKEE ST                                                          DETROIT         MI   48202‐3231
ULTRALIFE BATTERIES                 2000 TECHNOLOGY PKWY                                                                                         NEWARK          NY   14513‐2175
ULTRALIFE BATTERIES INC             2000 TECHNOLOGY PKWY                                                                                         NEWARK          NY   14513‐2175
ULTRALIFE BATTERIES INC.            JIM GREEN                         2000 TECHNOLOGY PARKWAY                                                    FRASER          MI   48026
ULTRALIFE CORP                      2000 TECHNOLOGY PKWY                                                                                         NEWARK          NY   14513‐2175
ULTRALIFE CORP                      JIM GREEN                         2000 TECHNOLOGY PARKWAY                                                    FRASER          MI   48026
ULTRALIFE/NEWARK                    2000 TECHNOLOGY PKWY                                                                                         NEWARK          NY   14513‐2175
ULTRAPLATINUM LLC                   15 MALLARD CIR                                                                                               SHREWSBURY      MA   01545‐8107
ULTRASYSTEMS ELECTRONICS INC        13 COLUMBIA DR STE 301                                                                                       AMHERST         NH   03031
ULTRASYSTEMS ELECTRONICS            13 COLUMBIA DR UNIT 10                                                                                       AMHERST         NH   03031‐2331
INCORPORATED
ULTSCH, CLAYTON J                   1938 CAMPAU AVE                                                                                              PORT HURON      MI   48060
ULTZ, DALE E                        32538 STEINBACHER RD                                                                                         BURR OAK        MI   49030‐9632
ULUIS WRIGHT                        3011 MILLER RD APT 21C                                                                                       FLINT           MI   48503
ULUS FRENCH                         4225 MILLER RD 166                                                                                           FLINT           MI   48507
ULUS SCOTT                          1917 E 41ST ST                                                                                               ANDERSON        IN   46013‐2576
ULUS SILK                           1082 ARAPAHO DR                                                                                              BURTON          MI   48509‐1418
ULVAC INC                           401 GRIFFIN BROOK DR                                                                                         METHUEN         MA   01844‐1883
ULVAC TECHNOLOGIES INC              401 GRIFFIN BROOK DR                                                                                         METHUEN         MA   01844‐1883
ULVERT JACKSON                      609 HICKORY ST                                                                                               FENTON          MI   48430‐1878
ULVESTAD, LESTER P                  4535 NORTH 92ND APT.204                                                                                      MILWAUKEE       WI   53225
ULYAN JR, JOHN                      7720 HURON ST                                                                                                TAYLOR          MI   48180‐2607
ULYAN, ANTHONY                      PO BOX 162                                                                                                   LOWBER          PA   15660‐0162
ULYSE MUEX                          3078 W CARPENTER RD                                                                                          FLINT           MI   48504‐1281
ULYSEE GRANT                        882 DEKLEVA DR                                                                                               APOPKA          FL   32712‐1724
ULYSEE MCGRAW                       1608 COSTELLO DR                                                                                             ANDERSON        IN   46011‐3109
ULYSEES PARRIS                      86 FROST AVE                                                                                                 ROCHESTER       NY   14608‐2519
ULYSES N RUCKER                     2272 BOTT ST.                                                                                                YOUNGSTOWN      OH   44505‐3616
ULYSES PRINCE                       1310 N 62ND ST PL                                                                                            KANSAS CITY     KS   66102
ULYSES RUCKER                       2272 BOTT ST                                                                                                 YOUNGSTOWN      OH   44505‐3616
ULYSES TUCKER                       5146 RUCKS ROAD                                                                                              DAYTON          OH   45427‐2119
ULYSES WILLIAMS                     APT D1                            763 POPE STREET                                                            NEWBERRY        SC   29108‐1958
                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 704 of 901
Name                   Address1                       Address2            Address3         Address4         City               State Zip
ULYSIS TOLER           24285 BERG                                                                           SOUTHFIELD          MI 48034‐3049
ULYSS ANDERSON         8025 MCDERMITT DR APT 107                                                            DAVISON             MI 48423‐2965
ULYSS MAYS             2175 GOODSON DR                                                                      LONGS               SC 29568‐5802
ULYSS WHITE            771 COOLIDGE RD                                                                      LA FOLLETTE         TN 37766‐7120
ULYSSE BELLIVEAU       1001 STARKEY RD LOT 278                                                              LARGO               FL 33771‐3192
ULYSSES ALEXANDER      242 PIPER BLVD                                                                       DETROIT             MI 48215‐3036
ULYSSES AUSTIN         6532 BOXWOOD ST                                                                      DETROIT             MI 48210‐1303
ULYSSES BELLAMY JR     19783 SANTA ROSA DR                                                                  DETROIT             MI 48221‐1737
ULYSSES BLACKWELL      9 HEATHERTON CT                                                                      BALTIMORE           MD 21244‐8047
ULYSSES BRADY          8097 JEWETT AVE                                                                      WARREN              MI 48089‐1603
ULYSSES CLAYTON        1253 FLORA GLEN DR                                                                   SPARKS              NV 89434‐0742
ULYSSES CONEY JR       917 E 9TH ST                                                                         FLINT               MI 48503‐2731
ULYSSES COX            328 PARK DR                                                                          BELLEVILLE           IL 62226‐5350
ULYSSES DAVIS          2528 LIMESTONE DR                                                                    ARLINGTON           TX 76014‐1818
ULYSSES DENNIS JR      2130 FARNSWORTH RD                                                                   LAPEER              MI 48446‐8612
ULYSSES EMBRY          3706 STILLWELL AVE                                                                   LANSING             MI 48911‐2156
ULYSSES FISHER         11115 W SOUTH RANGE RD                                                               SALEM               OH 44460‐9622
ULYSSES FREEMAN        5261 CEMETERY RD                                                                     SCOTTSVILLE         KY 42164‐9447
ULYSSES G COLEMAN      2616 COSMOS DR                                                                       LOVELAND            OH 45140
ULYSSES G CRAMPTIN     2248 FORSET HILL DR                                                                  HARRISBURG          PA 17112
ULYSSES G WILLIAMS     1868 TOWN PARK DRIVE           APARTMENT 5C                                          TROY                OH 45373
ULYSSES GAINES         1828 WEST GLEN AVE 1                                                                 ANAHEIM             CA 92801‐2730
ULYSSES GLOSTER        PO BOX 886                                                                           MOUNT MORRIS        MI 48458‐0886
ULYSSES GRANT          2550 KRAMERIA ST                                                                     DENVER              CO 80207‐3437
ULYSSES HALL           13628 MEYERS RD                                                                      DETROIT             MI 48227‐3991
ULYSSES HOLLOWELL JR   3800 HARVARD RD                                                                      DETROIT             MI 48224‐2342
ULYSSES HOLMES         396 PARDEE RD                                                                        ROCHESTER           NY 14609‐2847
ULYSSES JOHNSON        5904 COPLIN ST                                                                       DETROIT             MI 48213
ULYSSES JOHNSON JR     200 N WESTCHESTER AVE                                                                NORMAN              OK 73069‐6632
ULYSSES JONES          7441 N HOYNE AVE APT 3S                                                              CHICAGO              IL 60645
ULYSSES JONES SR       PO BOX 1613                                                                          BUFFALO             NY 14215‐6613
ULYSSES KEITH          5024 4TH AVE                                                                         LOS ANGELES         CA 90043‐1932
ULYSSES LEWIS          29317 MORNINGVIEW                                                                    FARMINGTON HILLS    MI 48334‐4002
ULYSSES LUNDY          605 W RUTH AVE                                                                       FLINT               MI 48505‐2643
ULYSSES M NUNN         25 LIME ST                                                                           ROCHESTER           NY 14606‐1003
ULYSSES MAY            1810 SOUTHPOINTE CIR NE                                                              CANTON              OH 44714‐1184
ULYSSES MITCHELL       7955 SMART AVE                                                                       JACKSONVILLE        FL 32219‐3151
ULYSSES MOORE          9809 HILLSBORO DR                                                                    SHREVEPORT          LA 71118‐4807
ULYSSES NORRIS         2432 GALLAGHER AVE                                                                   SPRING HILL         FL 34606‐3249
ULYSSES PAUL           1521 S HACKLEY ST                                                                    MUNCIE              IN 47302‐3570
ULYSSES PAYNE          501 FRAZIER ST                                                                       RIVER ROUGE         MI 48218‐1024
ULYSSES PERSON         PO BOX 2145                                                                          WACO                TX 76703‐2145
ULYSSES POLK           3514 LEGEND LN                                                                       SHREVEPORT          LA 71118‐4246
ULYSSES POWELL         40 STEINWAY AVE                                                                      EWING               NJ 08618‐1614
ULYSSES ROBINSON       3628 PASEO BLVD                                                                      KANSAS CITY         MO 64109‐2769
ULYSSES ROSEMAN        2428 W 74TH ST                                                                       LOS ANGELES         CA 90043‐5320
ULYSSES SINGLETON JR   7306 STANLEY RD                                                                      FLUSHING            MI 48433‐9062
ULYSSES SMILEY         2188 HEMLOCK DR                                                                      ANN ARBOR           MI 48108‐2520
ULYSSES TOWE           51 LUKE DR                                                                           HOSCHTON            GA 30548‐5521
ULYSSES VAWTERS        717 KING BEACH DR                                                                    HOWARD              OH 43028‐8061
ULYSSES WALKER JR      2718 PULLENS MILL RD                                                                 CULLEOKA            TN 38451‐2360
ULYSSES WALLACE        17 FREEMAN RD                                                                        MORRILTON           AR 72110‐8943
                                    09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                      Part 37 of 40 Pg 705 of 901
Name                              Address1                         Address2                     Address3                   Address4               City               State Zip
ULYSSES WILLIAMS                  1868 TOWNE PARK DR APT 5C                                                                                       TROY                OH 45373‐8353
ULYSSES WILLIAMS                  1756 WHEAT GRASS WAY                                                                                            GRAYSON             GA 30017‐4162
ULYSSES WRIGHT                    3801 NUGGET CREEK CT                                                                                            SAGINAW             MI 48603‐1287
ULYSSES WYNN JR                   PO BOX 1632                                                                                                     MCDONOUGH           GA 30253‐1632
ULYSSIS QUEENER                   278 S BURKHART RD                                                                                               HOWELL              MI 48843‐9620
ULYSSUS CAMPBELL                  297 NORRAN DR                                                                                                   ROCHESTER           NY 14609‐‐ 10
ULYUSE C RICHARDVILLE             PO BOX 143                                                                                                      EAGLE LAKE          FL 33839
UM COMPREHENSIVE CANCER CENTER    ATTN DEBRA GRIFFITH              301 E LIBERTY ST STE 130                                                       ANN ARBOR           MI 48104‐2266
UM CONFERENCE MANAGEMENT SERVICES 600 E MADISON ST                 ROOM G 121 SOUTH QUAD                                                          ANN ARBOR           MI 48109‐1372

UM DEARBORN PUBLIC AFFAIRS         4901 EVERGREEN RD               ATTN ED BAGALE                                                                 DEARBORN           MI 48128‐2406
EDUCATION FUND
UM, EDWARD S                       225 SAGEBRUSH DR                                                                                               BARTLESVILLE       OK   74006‐8077
UMA ARUN                           40653 CAMBORNE LN                                                                                              NOVI               MI   48375‐2878
UMA MUNIPALLE                      3103 LEXHAM LN                                                                                                 ROCHESTER HILLS    MI   48309‐4397
UMAN, AARON                        14 LOUISE RD                                                                                                   EDISON             NJ   08817‐3703
UMAN, EMIL P                       5251 SW RAINTREE PKWY                                                                                          LEES SUMMIT        MO   64082‐4529
UMAN, MARION K                     14 LOUISE ROAD                                                                                                 EDISON             NJ   08817‐3703
UMANA, ENRIQUE
UMANA, OSCAR A                     E 82 APT 801A CALLE 5                                                                   CALI VALLE DEL CAUCA
                                                                                                                           COLOMBIA
UMANA, RICARDO
UMANA, YEISON WILFREDO
UMANOS, ROMEO O                    716 BALMORAL CT                                                                                                INVERNESS          FL   34453‐4431
UMAR A HASAN                       6 SWEET VERNAL CT                                                                                              ROCHESTER          NY   14623‐3624
UMAR S SHAHID                      605 W PATERSON ST                                                                                              FLINT              MI   48503‐5161
UMAR SHAHID                        605 W PATERSON ST                                                                                              FLINT              MI   48503‐5161
UMAR, AHMED                        17 WIESNER RD                                                                                                  LACKAWANNA         NY   14218‐2916
UMARI, MUZNAH S                    P O BOX 20928                                                                           SANA'A YEMEN
UMASANKAR, GURU                    30528 SUNDERLAND DR                                                                                            FARMINGTON HILLS   MI 48331‐5909
UMAYAL RAMASWAMY                   9908 NW 59TH PL                                                                                                GAINESVILLE        FL 32653‐2833
UMB BANK NA                        CORP TRUST DEPT                 ATTN JULIE WIEGERS           2 SOUTH BROADWAY STE 435                          SAINT LOUIS        MO 63102

UMBACH, AARON A                    101 FAIRCREST CT                                                                                               SAINT CHARLES      MO   63303‐7301
UMBARGER, CAROL L                  2069 W 1100 S                                                                                                  BUNKER HILL        IN   46914‐9545
UMBARGER, CECIL J                  27188 DOVE LN                                                                                                  FLAT ROCK          MI   48134‐4712
UMBARGER, DENNIS G                 104 ROCKY DR                                                                                                   COLUMBIA           TN   38401‐6155
UMBARGER, JOHN R                   308 PLEASANT AVE                                                                                               ALMA               MI   48801‐2614
UMBARGER, LENA MAE                 8215 LONGPOINT RD                                                                                              BALTIMORE          MD   21222‐6018
UMBARGER, LENA MAE                 8215 LONG POINT ROAD                                                                                           BALTIMORE          MD   21222‐6018
UMBARGER, MICHAEL C                2535 PEMBROKE RD                                                                                               BIRMINGHAM         MI   48009‐7511
UMBARGER, RICHARD L                4508 E 200 S TRLR 283                                                                                          KOKOMO             IN   46902
UMBARGER, SARAH M                  9971 HIGHLAND DR                                                                                               PERRINTON          MI   48871‐9750
UMBAUGH, LAWRENCE P                1701 SIOUX DR                                                                                                  XENIA              OH   45385‐4240
UMBC FOUNDATION                    ATTN SHELDON CAPLIS             UNIV OF MARYLAND BALTIMORE   808 ADMINISTRATION BLDG                           BALTIMORE          MD   21250‐0001
UMBEL, ANDREW                      6455 STONECREST DR                                                                                             BROOK PARK         OH   44142‐3767
UMBEL, LISA J                      839 GLENEAGLE DR                                                                                               DAYTON             OH   45431‐2804
UMBER, ANTHONY P                   431 SADDLE LN                                                                                                  GRAND BLANC        MI   48439‐7089
UMBER, ANTHONY PAUL                431 SADDLE LN                                                                                                  GRAND BLANC        MI   48439‐7089
UMBER, CATHY M                     431 SADDLE LN                                                                                                  GRAND BLANC        MI   48439‐7089
UMBER, KENNITH L                   14114 ELMS RD                                                                                                  MONTROSE           MI   48457‐9777
UMBER, SHARON A                    4 FOX HOLLOW DR                                                                                                HAMLIN             NY   14464‐9304
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                 Part 37 of 40 Pg 706 of 901
Name                          Address1                          Address2                     Address3                Address4                City            State Zip
UMBER, TEDDY R                12487 RAILROAD RD                                                                                              CLIO             MI 48420‐8231
UMBER, TEDDY RAY              12487 RAILROAD RD                                                                                              CLIO             MI 48420‐8231
UMBER, WILMA L                10080 BIRCH RUN RD                                                                                             BIRCH RUN        MI 48415‐9440
UMBER, WILMA L                10080 EAST BIRCH RUN RD.                                                                                       BIRCH RUN        MI 48415
UMBERG, DAVID G               4870 GLADSTONE PKWY                                                                                            SUWANEE          GA 30024‐6948
UMBERG, NICHOLAS P            6103 RAMBLINGRIDGE DR                                                                                          CINCINNATI       OH 45247‐6058
UMBERGER, EDWARD B            515 DEER RIDGE LN                                                                                              VINTON           VA 24179‐2252
UMBERGER, LEON A              818 DORSEY AVE                                                                                                 BALTIMORE        MD 21221‐3506
UMBERGER, LLOYD J             55 W RAINSONG ST APT 45                                                                                        FARMINGTON       AR 72730‐8637
UMBERTO CAPPAI                2061 CAMINO DR                                                                                                 ESCONDIDO        CA 92026‐1635
UMBERTO CORTINA               393 AUGUSTA DR                                                                                                 HOPEWELL JCT     NY 12533‐3536
UMBERTO DE FUSCO              5 FARM VIEW RD                                                                                                 WAPPINGERS FL    NY 12590‐6212
UMBERTO FERRAJOLO             VIA A. ANNARUMMA N. 22                                                                                         AVELLINO              83100
UMBERTO GIGLIOTTI             2 WOOD DUCK RUN                                                                                                SPENCERPORT      NY 14559‐2077
UMBERTO PECORARO              6 BARBIERI CT                                                                                                  RARITAN          NJ 08869‐1008
UMBERTO PITTOLI               22520 PROVINCIAL ST                                                                                            WOODHAVEN        MI 48183‐3704
UMBERTO RAMPA                 VIA DELLA SPADELLATA 17           00042 ‐ ANZIO (ROMA)         TEL. ++39 06 98988536
UMBERTO REALE                 106 ASTRONAUT DR                                                                                               ROCHESTER       NY   14609‐1840
UMBERTO SIDOLI                4338 VILLAGE SPRING ST                                                                                         LAS VEGAS       NV   89147‐7824
UMBLEBY, SHIRLEY L            2665 HAIG POINTE                                                                                               COLUMBUS        OH   43219‐3184
UMBRAS, LAWRENCE              6232 WILCOX RD                                                                                                 DEFORD          MI   48729
UMBRELLA EV/CRPNTRIA          6385 ROSE LN STE A                                                                                             CARPINTERIA     CA   93013‐2941
UMBREWICZ, JANUSZ J           3428 CANDLEWOOD DR                                                                                             JANESVILLE      WI   53546‐3500
UMBREWICZ, KRZYSZTOF S        2738 PARK PLACE LN APT 19                                                                                      JANESVILLE      WI   53545‐5267
UMBS, DALE E                  425 N 19TH ST                                                                                                  SEBRING         OH   44672
UMD CONTROLS INC              1000 LUCAS RD                                                                                                  MANSFIELD       OH   44905‐2627
UMEK, EDWARD M                PO BOX 1437                                                                                                    DIAMOND CITY    AR   72630‐1437
UMERLEY, JAMES J              8630 BELAIR RD                                                                                                 BALTIMORE       MD   21236‐2704
UMERLIK JOSEPH P              LAW OFFICES OF PETER G. ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                                      BALTIMORE       MD   21201
UMERLIK, DENNIS H             1840 SAVANNAH SPRINGS DR                                                                                       FRANKLIN        TN   37064‐1160
UMERLIK, LAWRENCE M           34552 SPRING VALLEY DR                                                                                         WESTLAND        MI   48185‐9456
UMERLINK JOSEPH P (465970)    ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                                   BALTIMORE       MD   21202
                                                                CHARLES CENTER 22ND FLOOR
UMERLINK, JOSEPH P            ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                                    BALTIMORE       MD 21202
                                                                CHARLES CENTER 22ND FLOOR
UMEX                          51 WEAVER STREET                                                                                               GREENWICH       CT   06831
UMFLEET, GARRY W              9614 MAGNOLIA DR                                                                                               HILLSBORO       MO   63050‐3264
UMFLEET, M V                  PO BOX 696                                                                                                     FREDERICKTOWN   MO   63645‐0696
UMH                           PO BOX 630093                                                                                                  BALTIMORE       MD   21263‐93
UMI PUBLICATIONS, INC.        PAUL KAPERONIS                    PO BOX 30036                                                                 CHARLOTTE       NC   28230‐0036
UMI, AMANI J                  2200 PINEWOOD AVE APT C4                                                                                       BALTIMORE       MD   21214‐1080
UMI, AMANI JAHI               2200 PINEWOOD AVE APT C4                                                                                       BALTIMORE       MD   21214‐1080
UMICORE AG & CO KG            RODENBACHER CHAUSSEE 4            POSTFACH 1351                                        HANAU HE 63457
UMICORE AG & CO. KG           RODENBACHER CHAUSSEE 4            PO BOX 1351                                          HANAU D‐63403 GERMANY
UMICORE AUTOCAT CANADA CORP   PO BOX 5097                       4261 MAINWAY DR                                      BURLINGTON ON L7R 3Y8
                                                                                                                     CANADA
UMICORE AUTOCAT USA INC       2347 COMMERCIAL DR                                                                                             AUBURN HILLS    MI 48326‐2408
UMICORE SA                    2347 COMMERCIAL DR                                                                                             AUBURN HILLS    MI 48326‐2408
UMICORE SA                    RODENBACHER CHAUSSEE 4            PO BOX 1351                                          HANAU D‐63403 GERMANY
UMILE, CARMELO                11636 N HAGGERTY RD                                                                                            PLYMOUTH        MI 48170‐4458
UMIN, RICHARD P               37935 ASH RD                                                                                                   NEW BOSTON      MI 48164‐9341
UMINA, JOHN A                 352 PARKSIDE AVE                                                                                               MILLER PLACE    NY 11764‐3536
                        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                            Part 37 of 40 Pg 707 of 901
Name                    Address1                         Address2                 Address3    Address4               City                 State Zip
UMINSKI JR, PATRICK C   718 BEAUMONT DR NW                                                                           GRAND RAPIDS          MI 49504‐4886
UMINSKI, MICHAEL J      5109 FRAZHO RD                                                                               WARREN                MI 48091‐3841
UMIPEG, META J          733 MAZE BLVD APT 5                                                                          MODESTO               CA 95351
UMIT BILGE              8427 INDIAN TRAIL RD                                                                         MILLERSBURG           MI 49759‐9573
UMIX CO LTD             2‐37‐1 KASUGAKITAMACHI                                                HIRAKATA JP 573‐0137
                                                                                              JAPAN
UMIX CO LTD             81                                                                    OSAKA JAPAN
UMLAUF, BRIAN A         333 S ASHLAND AVE                                                                            LA GRANGE            IL   60525‐6307
UMLAUF, KATHLEEN S      7639 S KENWOOD LN                                                                            TEMPE                AZ   85284‐1735
UMLAUF, MARY            28225 DIESING DR                                                                             MADISON HTS          MI   48071‐4567
UMLAUF, ROBERT H        374 MANSFIELD DR                                                                             LAPEER               MI   48446‐7702
UMLOR, WAYNE            19000 14TH AVE                                                                               CONKLIN              MI   49403‐9709
UMNEY, PATSY J          863 W ANN ARBOR TRL                                                                          PLYMOUTH             MI   48170
UMOF                    PO BOX 3700                                                                                  RANCHO CUCAMONGA     CA   91729‐3700
UMOH, FRANCESCA L       5825 PHILADELPHIA DR                                                                         DAYTON               OH   45415‐3049
UMPCO INC               SHIRLEY BEARDSLEE                PO BOX 5158/7100                                            REDONDO BEACH        CA
UMPCO INC               7100 LAMPSON AVE                                                                             GARDEN GROVE         CA   92841‐3914
UMPCO INC.              SHIRLEY BEARDSLEE                PO BOX 5158/7100                                            REDONDO BEACH        CA
UMPCO/GARDEN GROVE      7100 LAMPSON AVE                                                                             GARDEN GROVE         CA   92841‐3914
UMPFENBACH, EDWARD L    30027 GREATER MACK AVE                                                                       SAINT CLAIR SHORES   MI   48082‐1746
UMPHENOUR, DONALD M     203 HOLSTEIN CT                                                                              BEL AIR              MD   21015‐2041
UMPHERY, JOSEPH M       3668 KOELN AVE                                                                               SAINT LOUIS          MO   63116‐4022
UMPHRESS, DUANE E       4547 MORAINE AVE                                                                             HILLIARD             OH   43026‐1849
UMPHRESS, HERSCHEL      208 S LEATHERWOOD RD                                                                         BEDFORD              IN   47421‐8847
UMPHRESS, J             1248 W POWERLINE RD                                                                          BEDFORD              IN   47421‐7701
UMPHRESS, M             523 H ST                                                                                     BEDFORD              IN   47421‐2213
UMPHRESS, RONALD        2212 OLD HIGHWAY 60 W                                                                        MITCHELL             IN   47446‐7324
UMPHREY, ALBERT M       414 ELM ST                                                                                   MOUNT MORRIS         MI   48458‐1914
UMPHREY, HUGO H         203 N UNION ST                                                                               TECUMSEH             MI   49286‐1342
UMPHREY, JAMES W        2447 OAK LANE RD                                                                             KAWKAWLIN            MI   48631‐9441
UMPHREY, JOSEPH R       3214 VAN ZANDT RD                                                                            WATERFORD            MI   48329‐3259
UMPHREY, NORMA L        150 SOUTH JAMES STREET                                                                       STANDISH             MI   48658
UMPHREY, ROBERT F       980 N GARFIELD RD                                                                            LINWOOD              MI   48634‐9761
UMPHREY, SARAH          15 SUNFLOWER CIRCLE                                                                          NEW BRAUNFELS        TX   78130‐7749
UMPHREY, SARAH          15 SUN FLOWER CIR                                                                            NEW BRAUNFELS        TX   78130‐7749
UMPHREY, WILLIAM J      2215 KOSTA ST                                                                                BURTON               MI   48529‐2146
UMPIROWICZ, M K         336 OLD ROUTE 68                                                                             EVANS CITY           PA   16033‐7618
UMPLEBY, MICHAEL S      1544 GLEANER HALL CT                                                                         ANN ARBOR            MI   48105
UMR,                    UMR,                             115 WEST WAUSAU AVENUE                                      WAUSAU               WI   54402
UMR,                    RE: UMR                          115 WEST WAUSAU AVENUE                                      WAUSAU               WI   54402
UMR,                    115 W WAUSAU AVE                                                                             WAUSAU               WI   54401‐2875
UMRIE JOHNSON           1015 S 25TH ST                                                                               SAGINAW              MI   48601‐6525
UMSCHEID, EDWARD C      657 HOGARTH AVE                                                                              WATERFORD            MI   48328‐4128
UMSTATTD, DELBERT R     PO BOX 446                                                                                   BUTLER               MO   64730‐0446
UMSTATTD, DELBERT R     BOX 446 RT 1                                                                                 BULTER               MO   64730‐9801
UMSTATTD, GOLDA M       RR 1 BOX 420                                                                                 BUTLER               MO   64730‐9719
UMSTATTD, JOHN          GUY WILLIAM S                    PO BOX 509                                                  MCCOMB               MS   39649‐0509
UMSTEAD, MINNIE         6910 WOODROW                                                                                 ST LOUIS             MO   63121‐5118
UMSTEAD, MINNIE         6910 WOODROW AVE                                                                             SAINT LOUIS          MO   63121‐5118
UMSTED, WILLIAM A       206 1ST AVE                                                                                  ALTON                IA   51003‐8539
UMTHUN TRUCKING CO      PO BOX 166                                                                                   EAGLE GROVE          IA   50533
UMUNNA, JAMES C         276 UPPER RIVERDALE RD           15‐K                                                        JONESBORO            GA   30236‐1004
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                         Part 37 of 40 Pg 708 of 901
Name                                 Address1                              Address2                      Address3            Address4                City               State Zip
UN, MERCEDES                         7848 268TH ST                                                                                                   FLORAL PARK         NY 11004‐1331
UN‐HUI BRAXTON                       1109 JOANGAY BLVD                                                                                               WATERFORD           MI 48327‐2445
UNA BOLMAN                           355 N ELIZABETH ST                                                                                              MARINE CITY         MI 48039‐3404
UNA G MALONE                         2939 FACTORY RD                                                                                                 SPRINGBORO          OH 45066
UNA HEIDEBREICHT                     1200 WRIGHT AVE                       MASONIC PATHWAYS                                                          ALMA                MI 48801‐1133
UNA HERRIN                           1158 W BOATFIELD AVE                                                                                            FLINT               MI 48507‐3608
UNA HICKS                            11400 MAPLE LN                                                                                                  GLADWIN             MI 48624‐7502
UNA JOHNSON                          10232 N KELLER LN                                                                                               MOORESVILLE         IN 46158‐6460
UNA KALB                             2393 MARY INGLES HWY                                                                                            DOVER               KY 41034‐9682
UNA PERSONS                          232 ALFRED ST                                                                                                   MONTROSE            MI 48457‐9154
UNA RANDOLPH                         4352 W ROUNDHOUSE RD APT 5                                                                                      SWARTZ CREEK        MI 48473‐1453
UNA TRANSPORTATION                   AMIR LATIC                            28861 ARMANDA DR                                                          WARREN              MI 48088‐4389
UNA TRANSPORTATION                   SAMIR LATIC                           28861 ARMANDA DR                                                          WARREN              MI 48088‐4389
UNA WILLIAMS                         657 BRANDI CT                                                                                                   GREENWOOD           IN 46142‐2008
UNABELLE DYE                         14209 N LEWIS RD                                                                                                CLIO                MI 48420‐8837
UNAIZAH HUSSAIN ET AL                C/O BARTOLINI BERLINGIERI BARRAFATO   ATTN: PAUL BARRAFATO          101‐154 MAIN ST E   HAMILTON ONTARIO L8N
                                     FORTINO LLP                                                                             1G9
UNANGST, ANNETTE C                   12819 GERA RDAD                                                                                                 BIRCH RUN          MI   48415
UNANGST, JOSEPH R                    5395 TIPPERARY LANE                                                                                             FLINT              MI   48506‐2264
UNANGST, SEAN M                      17264 E STREET RD                                                                                               NEW LOTHROP        MI   48460‐9614
UNANGST, THOMAS E                    845 ESTER COURT                                                                                                 HALE               MI   48739‐9155
UNATRAC INTERNATIONAL                30 LEBANON STREET, MOHANDESSIN                                                          CAIRO EGYPT
UNATRAC INTERNATIONAL                30 LEBANON STREET                     MOHANDESSIN                                       CAIRO EGYPT
UNBEHAUN, JAMES F                    7723 W ELLIS RD                                                                                                 JANESVILLE         WI   53548‐9289
UNBEHAUN, ROBERT D                   4900 HARPER RD                                                                                                  HOLT               MI   48842‐8648
UNBRYANT A SNELL                     1288 E CORNELL AVE                                                                                              FLINT              MI   48505‐1751
UNCAPHER, EUNICE R                   1747 W STATE ROAD 18                                                                                            HARTFORD CITY      IN   47348‐9225
UNCAPHER, JOHN K                     5405 MENOMONEE DR                                                                                               KOKOMO             IN   46902‐5445
UNCAPHER, RONALD J                   134 TOMMOTLEY DR                                                                                                LOUDON             TN   37774‐2120
UNCHA WINBORN                        4492 MCKINLEY ST                                                                                                DEARBORN HEIGHTS   MI   48125‐2509
UNCKRICH JR, ROLAND J                5217 SCHENK RD                                                                                                  SANDUSKY           OH   44870‐9308
UNCKRICH, ESTHER L                   4905 W WATERBERRY DR                                                                                            HURON              OH   44839‐2256
UNCLAIMED PROPERTY ‐ ESCHEATMENT     NO ADVERSE PARTY

UNCLE TOM'S 2002 O/B 01499967 ONT.   105 DUFFERIN ST UNIT 8                                                                  PERTH ON K7H 3A5
LTD                                                                                                                          CANADA
UNCONVENTIONAL SOLUTIONS INC         527 UNION ST                                                                                                    MILFORD            MI   48381‐1685
UNDEMANE, RITIKA K                   2892 BRIARWOOD DR                                                                                               TROY               MI   48085‐1153
UNDEMANE, RITIKA KHOSLA              2892 BRIARWOOD DR                                                                                               TROY               MI   48085‐1153
UNDEMANE, VINOD N                    2892 BRIARWOOD DR                                                                                               TROY               MI   48085‐1153
UNDER THE SUN MECHANICAL INC         9524 112 ST                                                                             GRANDE PRAIRIE AB T8V
                                                                                                                             5C1 CANADA
UNDERCAR PRODUCTS GROUP              900 HYNES AVE SW                                                                                                GRAND RAPIDS       MI   49507
UNDERCAR PRODUCTS GROUP              JIM FRYE                              900 HYNES AVE S.W.                                                        ROMEO              MI   48065
UNDERCAR PRODUCTS GROUP INC          900 HYNES AVE SW                                                                                                GRAND RAPIDS       MI   49507
UNDERCAR PRODUCTS GROUP, INC.        900 HYNES AVE SW                                                                                                GRAND RAPIDS       MI   49507
UNDERCAR SERVICES                    6843 WASHINGTON AVE S                                                                                           EDINA              MN   55439‐1500
UNDERCAR/GRAND RAPID                 900 HYNES AVE SW                                                                                                GRAND RAPIDS       MI   49507
UNDERCOVER INNOVATIONS               JESSICA LATTA                         3624 BUCK OWENS BLVD STE 12                                               BAKERSFIELD        CA   93308‐4953
UNDERDAHL BONNIE                     8333 SEMINOLE BLVD APT 511B                                                                                     SEMINOLE           FL   33772‐4394
UNDERDAHL CHEVROLET INC              1111 W HIGHWAY 61                                                                                               WINONA             MN   55987‐1957
UNDERGROUND                          PO BOX 4451                                                                                                     LAGUNA BEACH       CA   92652‐4451
                                    09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                        Part 37 of 40 Pg 709 of 901
Name                               Address1                          Address2                      Address3   Address4              City            State Zip
UNDERGROUND CONSTRUCTION CO        5145 INDUSTRIAL WAY                                                                              BENICIA          CA 94510‐1042
UNDERGROUND CONSTRUCTION CO., INC.                                   5145 INDUSTRAIL WAY                                                             CA 94510

UNDERGROUND RAILROAD               PO BOX 2451                                                                                      SAGINAW         MI 48605‐2451
UNDERGROUND SPECIALTIES INC        5340 WALKER ROAD                                                           OLDCASTLE CANADA ON
                                                                                                              N0R 1L0 CANADA
UNDERGROUND WORLD CORPORATION      39555 ORCHARD HILL PL STE 600                                                                    NOVI            MI 48375‐5381

UNDERGROUND WORLD CORPORATION      PO BOX 4451                                                                                      LAGUNA BEACH    CA 92652‐4451
INC
UNDERGROUND WORLD CORPORATION      39555 ORCHARD HILL PL STE 600                                                                    NOVI            MI 48375‐5381
INC
UNDERHEIM, JAMES A                 PO BOX 188                                                                                       MELROSE         WI 54642‐0188
UNDERHILL EDWARD C                 513 OLD PINHOOK ROAD                                                                             SMITHVILLE      TN 37166‐5200
UNDERHILL LOREN F (429970)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA 23510
                                                                     STREET, SUITE 600
UNDERHILL TED & LORETTA            10060 GLADSTONE RD                                                                               NORTH JACKSON   OH   44451‐9662
UNDERHILL, BEECHER I               1022 JONESWOODS RD                                                                               GOOD HOPE       GA   30641‐1651
UNDERHILL, CARLOS E                APT D107                          4300 18TH STREET WEST                                          BRADENTON       FL   34205‐9115
UNDERHILL, DIXIE L                 1038 BYBEE BRANCH RD                                                                             MC MINNVILLE    TN   37110‐6564
UNDERHILL, DON M                   4645 W M 21 21                                                                                   OWOSSO          MI   48867
UNDERHILL, DONALD E                7050 BYRON RD                                                                                    HOWELL          MI   48855‐9314
UNDERHILL, EDWARD C                513 OLD PINHOOK RD                                                                               SMITHVILLE      TN   37166‐5200
UNDERHILL, GARY C                  3954 DELOS DR                                                                                    LAS VEGAS       NV   89103‐2529
UNDERHILL, GLENN A                 25514 HASKELL ST                                                                                 TAYLOR          MI   48180
UNDERHILL, GRACE A                 PO BOX 93                                                                                        CHARLOTTE       TN   37036‐0093
UNDERHILL, JAMES A                 7536 CORRINE CT                                                                                  ROSCOE          IL   61073‐8401
UNDERHILL, JAMES H                 1919 DILLON AVE                                                                                  CHEYENNE        WY   82001‐3475
UNDERHILL, JEFFREY A               7536 CORRINE CT                                                                                  ROSCOE          IL   61073‐8401
UNDERHILL, KELVIN                  955 E GLASS RD                                                                                   ORTONVILLE      MI   48462‐8570
UNDERHILL, KELVIN L                955 E GLASS RD                                                                                   ORTONVILLE      MI   48462‐8570
UNDERHILL, KYLE ANTHONY            995 LOCHAVEN RD                                                                                  WATERFORD       MI   48327‐3915
UNDERHILL, LAWRENCE D              10218 W STUART RD                                                                                ORFORDVILLE     WI   53576‐9436
UNDERHILL, LEONARD J               2947 N HORSESHOE DR SW                                                                           WYOMING         MI   49418‐9728
UNDERHILL, LOREN F                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA   23510‐2212
                                                                     STREET, SUITE 600
UNDERHILL, MICHAEL R               218 CREEKVIEW CIR                                                                                MOORESVILLE     IN   46158‐2736
UNDERHILL, PETER A                 208 DALTON DR                                                                                    RALEIGH         NC   27615‐1652
UNDERHILL, PHILIP M                4924 W HANNA AVE                                                                                 INDIANAPOLIS    IN   46221‐2802
UNDERHILL, RICHARD A               1598 SOUTH HILLS CIRCLE                                                                          BLOOMFIELD      MI   48304
UNDERHILL, RICHARD A               1137 AMBER COVE DR SW                                                                            BYRON CENTER    MI   49315‐9002
UNDERHILL, RICHARD J               713 PEARL ST                                                                                     EDGERTON        WI   53534‐1537
UNDERHILL, ROBERT L                1860 N SOMERSET AVE                                                                              INDIANAPOLIS    IN   46222‐2546
UNDERHILL, RODERICK M              9351 BUCHANAN ST                                                                                 WEST OLIVE      MI   49460‐9798
UNDERHILL, ROSEMARY                4064 KEMPF ST                                                                                    WATERFORD       MI   48329‐2012
UNDERHILL, ROSEMARY                4064 KEMPF STREET                                                                                WATERFORD       MI   48329‐2012
UNDERHILL, VIRGINIA G              201 MALL DR S # 94                                                                               LANSING         MI   48917‐2566
UNDERHILL, VIRGINIA G              201 S MALL DR #94                                                                                LANSING         MI   48917‐3251
UNDERHILL‐KENYON, RUTH E           PO BOX 808                                                                                       NASHVILLE       MI   49073‐0808
UNDERINER MOTORS                   523 N 29TH ST                                                                                    BILLINGS        MT   59101‐1129
UNDERRINER MOTORS, INC.            523 N 29TH ST                                                                                    BILLINGS        MT   59101‐1129
UNDERRINER MOTORS, INC.            WILLIAM UNDERRINER                523 N 29TH ST                                                  BILLINGS        MT   59101‐1129
                                  09-50026-mg                 Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                         Part 37 of 40 Pg 710 of 901
Name                              Address1                            Address2                        Address3                 Address4         City           State Zip
UNDERTONE NETWORKS                MICHAEL CASSIDY                     270 MADISON AVE FL 19                                                     NEW YORK        NY 10016‐0601
UNDERWATER SCREENING SERVICES     PO BOX 4144                                                                                                   WYOMING         PA 18644‐0144
UNDERWOOD & ASSOCIATES, P.C.      ATT: OTIS M. UNDERWOOD JR.          167 S. WASHINGTON ST.                                                     OXFORD          MI 48371
UNDERWOOD ALEX                    506 RIVERHILL BOULEVARD                                                                                       KERRVILLE       TX 78028‐6539
UNDERWOOD ANISSA                  31 HARPER CV                                                                                                  JACKSON         TN 38305‐6696
UNDERWOOD BARBARA                 786 E COUNTY ROAD 675 S                                                                                       PAOLI           IN 47454‐9755
UNDERWOOD BARBARA MARIE           C/O EDWARD O MOODY PA               801 WEST 4TH STREET                                                       LITTLE ROCK     AR 77201
UNDERWOOD CHEVROLET‐OLDSMOBILE‐   1070 W MICHIGAN AVE                                                                                           CLINTON         MI
PONT
UNDERWOOD CHEVROLET‐OLDSMOBILE‐   1070 W MICHIGAN AVE                                                                                           CLINTON        MI 49236
PONTIAC‐BUICK, INC.
UNDERWOOD CHEVROLET‐OLDSMOBILE‐   JOHN UNDERWOOD, TRUSTEE             1070 W MICHIGAN AVE                                                       CLINTON        MI 49236
PONTIAC‐BUICK, INC.
UNDERWOOD ERNEST GRIFFITH SR      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                               NORFOLK        VA 23510
(429971)                                                              STREET, SUITE 600
UNDERWOOD FIRE EQUIPMENT CO       43000 W 9 MILE RD STE 304                                                                                     NOVI           MI 48375‐4129
UNDERWOOD FIRE EQUIPMENT INC      42929 ASHBURY DR                                                                                              NOVI           MI 48375‐4727
UNDERWOOD FRANCIS H (360280)      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                               NORFOLK        VA 23510
                                                                      STREET, SUITE 600
UNDERWOOD I I I, KEMP D           307 S BRIDGE ST                                                                                               SMITHVILLE     MO    64089‐9359
UNDERWOOD III, KEMP D             307 S BRIDGE ST                                                                                               SMITHVILLE     MO    64089‐9359
UNDERWOOD JAMES                   305 PARADISE ISLAND DR                                                                                        HAINES CITY    FL    33844‐9322
UNDERWOOD JAMES R (405924)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                               NORFOLK        VA    23510
                                                                      STREET, SUITE 600
UNDERWOOD JR, ALBERT              14291 CRUSE ST                                                                                                DETROIT        MI    48227‐3118
UNDERWOOD JR, JAMES C             280 MAGNOLIA PATH                                                                                             HIRAM          GA    30141‐3564
UNDERWOOD JR, RAYMOND F           5332 MEADOWOOD DR                                                                                             INDIANAPOLIS   IN    46224‐3335
UNDERWOOD JR, ROY E               20 BEVERLY AVE                                                                                                UXBRIDGE       MA    01569‐1156
UNDERWOOD JR, SAMUEL H            599 S MAIN ST                                                                                                 PHILLIPSBURG   NJ    08865‐3117
UNDERWOOD LINDA                   111 ROAD S                                                                                                    EXETER         NE    68351‐9200
UNDERWOOD MACHINERY TRANSPORT     PO BOX 977                                                                                                    INDIANAPOLIS   IN    46206‐0977
INC
UNDERWOOD MARK                    AMCO INSURANCE COMPANY              HUTCHISON MYERS ECKERT & VOHS 705 DOUGLAS STREET SUITE                    SIOUX CITY      IA   51101
                                                                                                    402
UNDERWOOD MARK                    HOAK MOTORS INC                     HUTCHISON MYERS ECKERT & VOHS 705 DOUGLAS STREET SUITE                    SIOUX CITY      IA   51101
                                                                                                    402
UNDERWOOD MARK                    HOAK REAL ESTATE LLC                HUTCHISON MYERS ECKERT & VOHS 705 DOUGLAS STREET SUITE                    SIOUX CITY      IA   51101
                                                                                                    402
UNDERWOOD MARK                    UNDERWOOD, DIANA                    632 BROADMOOR STREET                                                      SIOUX CITY      IA   51103‐3196
UNDERWOOD MARK                    UNDERWOOD, MARK                     HUTCHISON MYERS ECKERT & VOHS 705 DOUGLAS STREET SUITE                    SIOUX CITY      IA   51101
                                                                                                    402
UNDERWOOD NORBERT                 34909 CURRIER ST                                                                                              WAYNE          MI 48184‐2394
UNDERWOOD RICHARD D               C/O MCKENNA & CHIODO                436 BOULEVARD OF THE ALLIES ‐                                             PITTSBURGH     PA 15219
                                                                      SUITE 500
UNDERWOOD RICHARD D (507072)      (NO OPPOSING COUNSEL)
UNDERWOOD RONNIE W SR (411016)    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                               NORFOLK        VA 23510
                                                                      STREET, SUITE 600
UNDERWOOD SR, EDGAR P             4329 CRESTWOOD AVE                                                                                            DAYTON         OH    45431‐1804
UNDERWOOD SR, JACK K              21706 STATE ROUTE 301                                                                                         WELLINGTON     OH    44090‐9687
UNDERWOOD WILLIAM C               187 LAKESHORE PTE DRIVE                                                                                       HOWELL         MI    48843
UNDERWOOD WILLIAM D (482051)      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                               NORFOLK        VA    23510
                                                                      STREET, SUITE 600
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                 Part 37 of 40 Pg 711 of 901
Name                          Address1                           Address2              Address3    Address4         City            State Zip
UNDERWOOD WILLIS              632 LAKESHORE DR                                                                      GOLDSBORO        NC 27534‐8970
UNDERWOOD, ALOMA L            2100 MOUNT FOREST RD                                                                  BENTLEY          MI 48613‐9696
UNDERWOOD, ALONZO C           213 TELEVISION HILL RD                                                                HOT SPRINGS      AR 71913‐6520
UNDERWOOD, ANDERSON           1836 TAMPA AVE                                                                        DAYTON           OH 45408‐1745
UNDERWOOD, ANGELA L           4432 DYE RD                                                                           SWARTZ CREEK     MI 48473‐8259
UNDERWOOD, ANNIE              8615 N DELANEY RD                                                                     OAKLEY           MI 48649‐9603
UNDERWOOD, ARTHUR D           145 CHURCH ST                                                                         SAINT IGNACE     MI 49781‐1601
UNDERWOOD, B J                1628 DOGWOOD TRL                                                                      MONROE           GA 30655‐5235
UNDERWOOD, BARBARA            242 UNDERWOOD RD                                                                      WINNSBORO        LA 71295
UNDERWOOD, BARBARA MARIE      MOODY EDWARD O                     801 W 4TH ST                                       LITTLE ROCK      AR 72201‐2107
UNDERWOOD, BERNICE N          202 EDGEWATER DR                                                                      MOUNT JULIET     TN 37122‐2035
UNDERWOOD, BETTY              7667 CONNER RD NE                                                                     COPPER HILL      VA 24079‐2325
UNDERWOOD, BETTY J            13668 HILLSDALE CT                                                                    GRASS VALLEY     CA 95949‐9134
UNDERWOOD, BETTY J            600 CORNELL AVE                                                                       ELYRIA           OH 44035‐6620
UNDERWOOD, BEVERLY P          1856 CHESTER AVENUE SW                                                                WARREN           OH 44481‐4481
UNDERWOOD, BOYD H             1657 N FOREST RD                                                                      WILLIAMSVILLE    NY 14221‐2120
UNDERWOOD, BRENDA Y           831 MIAMI ST                                                                          YOUNGSTOWN       OH 44505‐3741
UNDERWOOD, BRIAN W            17648 BARRY ST                                                                        CLINTON TWP      MI 48038‐2005
UNDERWOOD, BRUCE E            74 HIGHWAY 180                                                                        HIAWASSEE        GA 30546‐5404
UNDERWOOD, BRYAN S            19941 INKSTER RD                                                                      LIVONIA          MI 48152‐2411
UNDERWOOD, CAROL A            893 ESTHER NW                                                                         WARREN           OH 44483‐1242
UNDERWOOD, CAROL A            893 ESTHER AVE NW                                                                     WARREN           OH 44483‐1242
UNDERWOOD, CECILIA R          810 FITZHUGH ST                                                                       BAY CITY         MI 48708‐7169
UNDERWOOD, CHARLES C          35429 SCHLEY ST                                                                       WESTLAND         MI 48186‐8306
UNDERWOOD, CHARLES CLIFFORD   35429 SCHLEY ST                                                                       WESTLAND         MI 48186‐8306
UNDERWOOD, CHARLES E          1786 SHERIDAN AVE NE                                                                  WARREN           OH 44483‐3538
UNDERWOOD, CHARLES H          10 SUNRISE VW                                                                         LAKE PLACID      FL 33852‐7144
UNDERWOOD, CLAUDE N           6705 LITTLE WAY                                                                       FORT PIERCE      FL 34951‐1107
UNDERWOOD, COLLEEN E          305 E ROLSTON RD                                                                      LINDEN           MI 48451‐9408
UNDERWOOD, COSTELLA V         2009 DARON RD                                                                         FLINT            MI 48505‐1050
UNDERWOOD, COSTELLA V         2009 DARON PL                                                                         FLINT            MI 48505‐1050
UNDERWOOD, CYNTHIA K          125 MADISON ST S                                                                      WEST UNITY       OH 43570‐9662
UNDERWOOD, DALE L             2093 OLD HICKORY BLVD                                                                 DAVISON          MI 48423‐2046
UNDERWOOD, DALE R             APT 3101                           22800 BULVERDE ROAD                                SAN ANTONIO      TX 78261‐3064
UNDERWOOD, DANIEL R           1727 W 32ND ST                                                                        MARION           IN 46953‐3435
UNDERWOOD, DARWIN D           2142 ISLE DR                                                                          STANDISH         MI 48658‐9770
UNDERWOOD, DAVID              1507 N CLYBOURN AVE UNIT 1505                                                         CHICAGO           IL 60610‐3012
UNDERWOOD, DAVID C            3126 E DIX DR                                                                         MILTON           WI 53563‐9243
UNDERWOOD, DAVID E            580 ROBERTSON CEMETERY LN                                                             SPEEDWELL        TN 37870‐7333
UNDERWOOD, DAVID W            5934 SAGE LEAF PL                                                                     LEESBURG         FL 34748‐1888
UNDERWOOD, DAYNA L            6900 E 576 RD                                                                         CATOOSA          OK 74015‐6541
UNDERWOOD, DEBRA K            3660 W SMOKEY ROW RD                                                                  BARGERSVILLE     IN 46106‐8889
UNDERWOOD, DENNIS L           12817 GEORGIA AVE                                                                     GRAND LEDGE      MI 48837‐1949
UNDERWOOD, DESHANNON          2825 N STATE HIGHWAY 360 APT 829                                                      GRAND PRAIRIE    TX 75050‐7854
UNDERWOOD, DEVER A            1836 TAMPA AVE                                                                        DAYTON           OH 45408‐1745
UNDERWOOD, DIANA              632 BROADMOOR ST                                                                      SIOUX CITY        IA 51103‐3196
UNDERWOOD, DONALD L           1401 PETTIBONE AVE                                                                    FLINT            MI 48507‐1533
UNDERWOOD, DOROTHY M          609 N INTAKE ROAD                                                                     MANISTIQUE       MI 49854
UNDERWOOD, DOUGLAS S          1580 BUNKERHILL CT                                                                    GLADWIN          MI 48624‐8106
UNDERWOOD, EDDIE E            612 KENTUCKY AVE                                                                      PLAINFIELD       IN 46168‐2259
UNDERWOOD, EDMOND D           47950 VISTA CIRCLE N                                                                  CANTON           MI 48188
UNDERWOOD, EDNA L             6588 BOXWOOD ST                                                                       DETROIT          MI 48210‐1303
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                               Part 37 of 40 Pg 712 of 901
Name                         Address1                       Address2                      Address3   Address4         City           State Zip
UNDERWOOD, EDNA L            6588 BOXWOOD                                                                             DETROIT         MI 48210‐1303
UNDERWOOD, EDWIN R           4109 ROGERO RD                                                                           JACKSONVILLE    FL 32277‐2158
UNDERWOOD, EFFIE M           1449 WOODLAWN AVE                                                                        INDIANAPOLIS    IN 46203‐1232
UNDERWOOD, ERIC M            8890 MARTZ PAULIN RD                                                                     FRANKLIN        OH 45005‐4060
UNDERWOOD, ERNEST GRIFFITH   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                            STREET, SUITE 600
UNDERWOOD, ETHRIDGE P        493 LAKESIDE DR                                                                          CANTON         GA 30115‐9043
UNDERWOOD, EVA C
UNDERWOOD, FRANCIS H         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA 23510‐2212
                                                            STREET, SUITE 600
UNDERWOOD, GARRETT C         36531 HIVELEY ST                                                                         WESTLAND       MI   48186‐4009
UNDERWOOD, GARRETT CLARK     36531 HIVELEY ST                                                                         WESTLAND       MI   48186‐4009
UNDERWOOD, GARY D            4924 MATTHEWS RD                                                                         CHARLOTTE      MI   48813‐9180
UNDERWOOD, GARY L            1392 WASHINGTON AVE                                                                      EAST POINT     GA   30344‐3551
UNDERWOOD, GARY V            138 NORTHCREST AVE                                                                       CHEEKTOWAGA    NY   14225‐3434
UNDERWOOD, GARY W            3735 N HOOVER AVE                                                                        GLADWIN        MI   48624‐7300
UNDERWOOD, GEORGE D          1844 SIESTA AVE                                                                          BALDWIN PARK   CA   91706‐6024
UNDERWOOD, GEORGE W          59 YOKE ST                                                                               INDIANAPOLIS   IN   46225‐2328
UNDERWOOD, GEORGIE A         32 REICH ST                                                                              TROTWOOD       OH   45426‐3342
UNDERWOOD, GORDON V          PO BOX 324                                                                               LEICESTER      MA   01524‐0324
UNDERWOOD, GRACE             1607 SHAFFER RD                                                                          MANCHESTER     TN   37355‐4051
UNDERWOOD, GRACE H           3375 NW 32 AVE                                                                           OKEECHOBEE     FL   34972‐1376
UNDERWOOD, GRACE H           3375 NW 32ND AVE                                                                         OKEECHOBEE     FL   34972‐1376
UNDERWOOD, GWENDOLYN R       6158 FIRESIDE DR APT A                                                                   DAYTON         OH   45459‐2060
UNDERWOOD, HELEN M           12236 ST. ANDREWS WAY                                                                    FENTON         MI   48430
UNDERWOOD, HENRY E           2111 HUNTINGTON DR                                                                       ARLINGTON      TX   76010‐7633
UNDERWOOD, HERBERT L         2474 THORNTON DRIVE                                                                      DAYTON         OH   45406‐1241
UNDERWOOD, HILDA K           4495 ROSEBUD RD                                                                          LOGANVILLE     GA   30052‐4610
UNDERWOOD, J L               875 S HOME AVE                                                                           FRANKLIN       IN   46131‐2231
UNDERWOOD, J MARVIN          4200 CAMARGO DR APT J                                                                    DAYTON         OH   45415‐3310
UNDERWOOD, JACK L            4014 CANTEBURY DR                                                                        CULLEOKA       TN   38451‐2051
UNDERWOOD, JAMES E           12350 WISCONSIN ST                                                                       DETROIT        MI   48204‐1048
UNDERWOOD, JAMES H           11385 US HIGHWAY 129 N                                                                   TALMO          GA   30575‐1459
UNDERWOOD, JAMES R           213 MAPLE RUN ESTATES BLVD                                                               SPRINGVILLE    IN   47462‐5418
UNDERWOOD, JAMES R           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                            STREET, SUITE 600
UNDERWOOD, JAMES W           1309 FALKE DR                                                                            DAYTON         OH   45432‐3115
UNDERWOOD, JAMES W           5290 FAIRFIELD RD                                                                        ORIENT         OH   43146‐9143
UNDERWOOD, JANET S.          4301 W TANGLEWOOD RD                                                                     BLOOMINGTON    IN   47404‐9231
UNDERWOOD, JANET S.          4301 TANGLEWOOD RD.                                                                      BLOOMINGTON    IN   47404‐9633
UNDERWOOD, JANICE E          815 LAY STREET                                                                           GADSDEN        AL   35903‐1631
UNDERWOOD, JEFFRY S          406 MOUNT JOY ST                                                                         SPRINGFIELD    OH   45505‐2851
UNDERWOOD, JEREMY K          1413 HADLEY DR                                                                           ARLINGTON      TX   76011‐4713
UNDERWOOD, JERRY F           8414 ILENE DR                                                                            CLIO           MI   48420‐8552
UNDERWOOD, JERRY R           435 CULP AVE                                                                             HAYWARD        CA   94544‐2417
UNDERWOOD, JIMMY D           3041 VERONA CANEY RD                                                                     LEWISBURG      TN   37091‐6548
UNDERWOOD, JOE D             3925 E 550 S                                                                             LEBANON        IN   46052‐8137
UNDERWOOD, JOHN L            6222 LINDSAY CT                                                                          ORCHARD LAKE   MI   48324‐2154
UNDERWOOD, JOHN P            8500 LAWNDALE AVE SW                                                                     LAKEWOOD       WA   98498‐2415
UNDERWOOD, JOHN W            1255 CAMBRIA DR                                                                          TROY           MI   48085‐1220
UNDERWOOD, JOSEPH K          13225 RHONE TRL                                                                          FISHERS        IN   46037‐7335
UNDERWOOD, JOSEPH W          3216 W 28TH ST                                                                           MUNCIE         IN   47302‐2014
                           09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                 Part 37 of 40 Pg 713 of 901
Name                      Address1                            Address2                  Address3   Address4         City               State Zip
UNDERWOOD, JUSTIN E       146 REBEL LAND CIR                                                                        WEST MONROE         LA 71291
UNDERWOOD, KATHRYN M      2400 BRENTHAVEN DR                                                                        BLOOMFIELD HILLS    MI 48304‐1438
UNDERWOOD, KELLEY J       503 BEACON HILL DR, APT 3                                                                 TROY                MI 48083‐1503
UNDERWOOD, KELLEY JO      503 BEACON HILL DR, APT 3                                                                 TROY                MI 48083‐1503
UNDERWOOD, KENNETH        1521 FORREST AVE                                                                          GADSDEN             AL 35901
UNDERWOOD, KENNETH D      135 ALFORD DR                                                                             FAYETTEVILLE        GA 30215‐3072
UNDERWOOD, KEVIN
UNDERWOOD, L C            14041 PENNSYLVANIA                                                                        RIVERVIEW          MI   48192‐7508
UNDERWOOD, L C            623 W SHAWNEE DR                                                                          MONTGOMERY         AL   36107
UNDERWOOD, LA VON A       221 S 1ST ST                                                                              CAMBRIDGE          IL   61238‐1326
UNDERWOOD, LASHONDA R     1124 RALEY ST                                                                             GADSDEN            AL   35903
UNDERWOOD, LAURA J        5910 KENTUCKY AVENUE                                                                      RAYTOWN            MO   64133‐3744
UNDERWOOD, LAVOGHN S      480 COUNTY ROAD 3547                                                                      PARADISE           TX   76073‐3814
UNDERWOOD, LINDA D        3862 FLORMAN                                                                              WATERFORD          MI   48329‐1018
UNDERWOOD, LOIS           P.O. 6                                                                                    REEDVILLE          VA   22539
UNDERWOOD, LORETTA D      15017 BROADWAY                                                                            THREE RIVERS       MI   49093‐9502
UNDERWOOD, LOUELLA K      5053 FAIRVIEW AVE                                                                         NEWTON FALLS       OH   44444‐9416
UNDERWOOD, LOUIE          8890 MARTZ PAULIN RD                                                                      FRANKLIN           OH   45005‐4060
UNDERWOOD, LYNDON B       5315 S CATHERINE AVE                                                                      COUNTRYSIDE        IL   60525‐2841
UNDERWOOD, MARGARET       224 U S GRANT STREET                                                                      LAGRANGE           OH   44050‐8910
UNDERWOOD, MARGARET       224 US GRANT ST                                                                           LAGRANGE           OH   44050
UNDERWOOD, MARJORIE K     6450 S. 625 WEST                                                                          COATESVILLE        IN   46121
UNDERWOOD, MARJORIE KAY   6450 S. 625 WEST                                                                          COATESVILLE        IN   46121
UNDERWOOD, MARK           HUTCHISON MYERS ECKERT & VOHS       705 DOUGLAS ST STE 402                                SIOUX CITY         IA   51101‐1045
UNDERWOOD, MARZELL        3741 EDGEWATER DR                                                                         NASHVILLE          TN   37217‐4619
UNDERWOOD, MELVIN C       4495 ROSEBUD RD                                                                           LOGANVILLE         GA   30052‐4610
UNDERWOOD, MICHAEL C      PO BOX 589                                                                                GLOBE              AZ   85502‐0589
UNDERWOOD, MICHAEL L      7 SPOTTED OWL DR                                                                          BROWNSBURG         IN   46112‐8865
UNDERWOOD, MICHAEL P      5001 W FLORIDA AVE SPC 696                                                                HEMET              CA   92545‐3898
UNDERWOOD, MICHELE J      21809 MERRIMAN RD                                                                         NEW BOSTON         MI   48164‐9458
UNDERWOOD, MYRNA J        1527 E CARSON ST. 2‐110                                                                   CARSON             CA   90745
UNDERWOOD, NANCY W        409 CLAREMONT DR                                                                          FLAT ROCK          NC   28731‐8510
UNDERWOOD, NORBERT L      34909 CURRIER ST                                                                          WAYNE              MI   48184‐2394
UNDERWOOD, NORMAN G       13668 HILLSDALE CT                                                                        GRASS VALLEY       CA   95949‐9134
UNDERWOOD, NORMAN L       1553 RAYMOND ST                                                                           PLAINFIELD         IN   46168‐2059
UNDERWOOD, O WARREN       2975 PORTAGE TRAIL DR                                                                     ROCHESTER HILLS    MI   48309‐3216
UNDERWOOD, OMA            3124 N 50 E                                                                               KOKOMO             IN   46901‐8592
UNDERWOOD, ORVILLE W      2975 PORTAGE TRAIL DR                                                                     ROCHESTER HILLS    MI   48309‐3216
UNDERWOOD, OSCAR B        893 ESTHER AVE. NORTH WEST                                                                WARREN             OH   44483‐4483
UNDERWOOD, OSCAR B        893 ESTHER AVE NW                                                                         WARREN             OH   44483‐1242
UNDERWOOD, PAM            8183 AMARILLO DR                                                                          INDIANAPOLIS       IN   46237‐8214
UNDERWOOD, PATRICIA J     167 WELLINGTON DR                                                                         LAGRANGE           GA   30241‐7729
UNDERWOOD, PAULINE        1422 W COURT ST                     FAMILY SERVICE AGENCY                                 FLINT              MI   48503‐5008
UNDERWOOD, PAULINE        FAMILY SERVICE AGENCY               1422 WEST COURT STREET                                FLINT              MI   48503
UNDERWOOD, PEARL E        339 ROCKVIEW AVE                                                                          YOUNGSTOWN         OH   44502‐1535
UNDERWOOD, PHILIP R       2300 W MILLER RD                                                                          LANSING            MI   48911‐4520
UNDERWOOD, RANDOLPH C     1341 LEWIS RD                                                                             MANSFIELD          OH   44903‐8950
UNDERWOOD, RAY E          1434 RACHAEL LN                                                                           WATERLOO           IL   62298‐5580
UNDERWOOD, RAYMOND        2890 WILLIAMSBURG ST NORTHWEST                                                            WARREN             OH   44485‐2251
UNDERWOOD, RICHARD        120 W MCCLELLAN ST                                                                        FLINT              MI   48505‐4073
UNDERWOOD, RICHARD        THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES       FL   33146
UNDERWOOD, RICHARD        13459 AUSTIN ROAD                                                                         LOCUST             NC   28097‐8217
                                09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                     Part 37 of 40 Pg 714 of 901
Name                            Address1                          Address2                        Address3   Address4         City              State Zip
UNDERWOOD, RICHARD              COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                     HOUSTON            TX 77002‐1751
UNDERWOOD, RICHARD D            MCKENNA & CHIDO                   436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH         PA 15219
                                                                  SUITE 500
UNDERWOOD, RICHARD G            3660 WEST SMOKEY ROW ROAD                                                                     BARGERSVILLE      IN    46106‐8889
UNDERWOOD, RICHARD G            3660 W SMOKEY ROW RD                                                                          BARGERSVILLE      IN    46106‐8889
UNDERWOOD, RICKY L              472 COUNTY ROAD 3547                                                                          PARADISE          TX    76073‐3814
UNDERWOOD, ROBERT B             20235 WIYGUL RD                                                                               UMATILLA          FL    32784‐9603
UNDERWOOD, ROBERT C             422 DAMON ST                                                                                  FLINT             MI    48505‐3732
UNDERWOOD, ROBERT M             980 DELTA RD                                                                                  NORTH FAIRFIELD   OH    44855‐9682
UNDERWOOD, ROBERT S             2632 PARMAN RD                                                                                DANSVILLE         MI    48819‐9786
UNDERWOOD, RODGER D             8130 E WEST BRANCH RD                                                                         SAINT HELEN       MI    48656‐9577
UNDERWOOD, RONALD L             85 LEAH DR                                                                                    NEWNAN            GA    30265‐1827
UNDERWOOD, RONNIE W             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA    23510‐2212
                                                                  STREET, SUITE 600
UNDERWOOD, ROSIE R              2671 COUNTY ROAD 17                                                                           BOAZ              AL    35957‐8501
UNDERWOOD, RUBY M               904 N. ROMINE                                                                                 URBANA            IL    61801‐1441
UNDERWOOD, RUBY M               904 N ROMINE ST                                                                               URBANA            IL    61801‐1441
UNDERWOOD, RUTH M               7635 N BERWYN AVE                 C/O MARTHA STARAL                                           GLENDALE          WI    53209‐1803
UNDERWOOD, SAMMY JO             435 BLUEWATER DR                                                                              MONETA            VA    24121‐2708
UNDERWOOD, SCOTT R              6018 EAGLE CREEK DR                                                                           FORT WAYNE        IN    46814‐3210
UNDERWOOD, SERECIA C            APT 8                             365 EAST MIDLOTHIAN BOULEVARD                               YOUNGSTOWN        OH    44507‐1901

UNDERWOOD, SHARON K             3735 N HOOVER AVE                                                                             GLADWIN           MI    48624‐7300
UNDERWOOD, SHERRY               502 IKE UNDERWOOD LN                                                                          BEDFORD           IN    47421
UNDERWOOD, SONJA C              7352 WEST BLVD APT 303                                                                        BOARDMAN          OH    44512‐5212
UNDERWOOD, SPENCER              1609 HIGHWAY 135                                                                              WINNSBORO         LA    71295‐5846
UNDERWOOD, SPENCER V            1609 HIGHWAY 135                                                                              WINNSBORO         LA    71295‐5846
UNDERWOOD, STEPHEN K            1105 EAST DR                                                                                  EDMOND            OK    73034‐5414
UNDERWOOD, STEPHEN V            PO BOX 566                                                                                    HAMPSTEAD         NC    28443‐0566
UNDERWOOD, STEVEN T             36531 HIVELEY ST                                                                              WESTLAND          MI    48186‐4009
UNDERWOOD, TERRY L              3705 PERCY KING RD                                                                            WATERFORD         MI    48329‐1362
UNDERWOOD, THELMA B             1595 BUTLER SCHOOL RD                                                                         BRUCETON          TN    38317‐7645
UNDERWOOD, THOMAS L             2064 NORTH RD                                                                                 SNELLVILLE        GA    30078‐2558
UNDERWOOD, THOMAS L             333 S 25TH ST                                                                                 SAGINAW           MI    48601‐6337
UNDERWOOD, TONY E               5905 BALDWIN BLVD                                                                             FLINT             MI    48505‐5166
UNDERWOOD, TRUDY M              3428 W FORT WORTH ST                                                                          BROKEN ARROW      OK    74012‐3241
UNDERWOOD, TYRONE T             3471 DENVER AVE                                                                               YOUNGSTOWN        OH    44505‐1975
UNDERWOOD, VIRGINIA A           1727 W 32ND ST                                                                                MARION            IN    46953‐3435
UNDERWOOD, VUNER                7752 BAY TREE DR                                                                              YPSILANTI         MI    48197‐9573
UNDERWOOD, WALTER J             PO BOX 567                                                                                    OYSTERVILLE       WA    98641‐0567
UNDERWOOD, WARREN C             509 W WOODLAWN AVE                                                                            DANVILLE          IL    61832‐2347
UNDERWOOD, WAYNE R              414 W BURT DR                                                                                 COLUMBIA          TN    38401‐2050
UNDERWOOD, WILLIAM C            187 LAKESHORE POINTE DR                                                                       HOWELL            MI    48843‐7565
UNDERWOOD, WILLIAM D            6990 E COUNTY 100 NORTH           APT. 229                                                    AVON              IN    46123
UNDERWOOD, WILLIAM D            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA    23510‐2212
                                                                  STREET, SUITE 600
UNDERWOOD, WILLIAM RAY
UNDERWOOD, WILLIE J             1684 JOY ST                                                                                   SAGINAW           MI 48601‐6819
UNDERWOOD, WINNIE               3245 RUSSELL                                                                                  SAGINAW           MI 48601‐4740
UNDERWOOD, WINNIE               3245 RUSSELL ST                                                                               SAGINAW           MI 48601‐4740
UNDERWOOD, ZEPHANIAH SCOT
UNDERWRITERS LABORATORIES INC   333 PFINGSTEN RD                                                                              NORTHBROOK         IL   60062‐2002
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                         Part 37 of 40 Pg 715 of 901
Name                                Address1                          Address2            Address3         Address4         City               State Zip
UNDERWRITERS LABORATORIES OF CANA

UNDRA HENRY                         1801 WILDERNESS TRL                                                                     GRAND PRAIRIE      TX    75052‐1939
UNDRA JACKSON                       2814 E GENESEE AVE APT 505                                                              SAGINAW            MI    48601‐7703
UNDREA L GUISE                      2876 MARYDALE                                                                           JACKSON            MS    39212‐2732
UNDVA INC/TROY                      2720 ELIOTT                                                                             TROY               MI    48083
UNEEN FLOOK                         510 N WASHINGTON ST                                                                     GREENTOWN          IN    46936‐1155
UNEMPLOYMENT AGENCY                 ATTN: STEPHEN GESKEY              3024 W GRAND BLVD                                     DETROIT            MI    48202‐6024
UNEMPLOYMENT COMPENSATION DIV       WV BUREAU OF EMPLOYMENT           PROGRAMS
UNEMPLOYMENT INSURANCE DIV NE
UNEMPLOYMENT INSURANCE DIV OF       SOUTH DAKOTA
UNEXT COM                           34320 EAGLE WAY                                                                         CHICAGO             IL   60678‐0001
UNFIRST CORPORATION                 4300 CASTLEWOOD RD                                                                      RICHMOND            VA   23234‐3108
UNG KIM                             4647 KIFTSGATE BND                                                                      BLOOMFIELD HILLS    MI   48302‐2334
UNG, RAMONA AH TAI                  94‐146 MAKAPIPIPI ST                                                                    MILILANI            HI   96789‐2716
UNGAR CAMERON                       571 NOBEL COURT                                                                         ENCINITAS           CA   92024‐4665
UNGAR, GREGORY W                    1435 ELLSWORTH CT                                                                       THOUSAND OAKS       CA   91360‐2028
UNGAR, JOHN
UNGAR, PHILLIP M                    205 SUNSET DR                                                                           HUDSON             OH    44236‐3325
UNGARO, ROBERT J                    PO BOX 105                                                                              BORDENTOWN         NJ    08505‐0105
UNGARO, SEAN P                      57 ORIOLE DR                                                                            YOUNGSTOWN         OH    44505
UNGELBACH, HANS J                   6120 PRESTON CIR                                                                        ROCKLIN            CA    95765‐4775
UNGEMACH, HELEN M                   1011 W RIVERSIDE DR                                                                     OAK CREEK          WI    53154‐3751
UNGER FRANK                         209 W NORTH ST                                                                          KNOXVILLE          IL    61448‐1043
UNGER GEORGEAN                      16484 COLLINSON AVE                                                                     EASTPOINTE         MI    48021‐3024
UNGER JR, WILLIAM F                 3872 BELLVILLE NORTH RD                                                                 BELLVILLE          OH    44813‐9063
UNGER, ANNETTE M                    4813 CUSTAR ST #A                                                                       MONTAGUE           MI    49437
UNGER, ARTHUR R                     4137 JENNIE LN                                                                          SWARTZ CREEK       MI    48473‐1549
UNGER, BARBARA H                    1429 LA LOMA DR                                                                         SAN MARCOS         CA    92078‐4710
UNGER, BERNICE T                    35807 BONNEVILLE DR                                                                     STERLING HEIGHTS   MI    48312‐3904
UNGER, BEVERLY A                    31 BEECHNUT DRIVE                                                                       WEST MILTON        OH    45383‐5383
UNGER, BRANDON
UNGER, CAROL E                      3616 W CO RD 600 N                                                                      SHARPSVILLE        IN    46068
UNGER, CATHERINE L                  1268 HOUSELCRAFT RD., N.W.                                                              BRISTOLVILLE       OH    44402‐9603
UNGER, CATHERINE L                  1268 HOUSEL CRAFT RD                                                                    BRISTOLVILLE       OH    44402‐9603
UNGER, CHARLES E                    2870 SARATOGA DR                                                                        TROY               MI    48083‐2648
UNGER, CLETUS C                     802 HERON ST                                                                            RAYMORE            MO    64083‐9484
UNGER, DAN E                        7810 COOK JONES RD                                                                      WAYNESVILLE        OH    45068‐8826
UNGER, DAVID H                      7936 LINCOLN ST                                                                         TAYLOR             MI    48180‐2400
UNGER, DAVID K                      749 W CHELSEA CIR                                                                       DAVISON            MI    48423‐1272
UNGER, DAVID KENNETH                749 W CHELSEA CIR                                                                       DAVISON            MI    48423‐1272
UNGER, DAVID P                      51221 FORSTER LN                                                                        SHELBY TWP         MI    48316‐3876
UNGER, DAWN R                       PO BOX 92                                                                               YELLOW PINE        ID    83677
UNGER, DOROTHY F                    2602 W CO RD ‐ 500 S                                                                    KOKOMO             IN    46902
UNGER, DOYNE R                      10032 WINDSWEPT LN                                                                      CINCINNATI         OH    45251‐1235
UNGER, EDNA M.                      3335 WALLACE AVE                                                                        TERRE HAUTE        IN    47802‐2847
UNGER, ESTHER D                     2139 WILMAR DR                                                                          CORTLAND           OH    44410‐1749
UNGER, ESTHER D                     2139 WILMAR DR.                                                                         CORTLAND           OH    44410‐1749
UNGER, GARY E                       4807 E M H TOWNLINE RD                                                                  MILTON             WI    53563‐9769
UNGER, GARY L                       8925 MILTON POTSDAM RD                                                                  WEST MILTON        OH    45383‐9603
UNGER, GARY L                       PO BOX 212                                                                              WEST MILTON        OH    45383
UNGER, GEORGE M                     PO BOX 303                                                                              BROOKVILLE         PA    15825‐0303
                              09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                  Part 37 of 40 Pg 716 of 901
Name                          Address1                         Address2                         Address3   Address4         City              State Zip
UNGER, GEORGE S               5572 S 500 W                                                                                  WABASH             IN 46992‐8267
UNGER, GLENN R                400 FORT HILL AVE                                                                             CANANDAIGUA        NY 14424
UNGER, GREGORY A              4192 AMBROSE AVE NE                                                                           GRAND RAPIDS       MI 49525‐1432
UNGER, HELEN D                515 N COKER ST                                                                                GREENWOOD          AR 72936‐4007
UNGER, HELEN D                515 N COKER                                                                                   GREENWOOD          AR 72936‐4007
UNGER, JACQUELINE             1703 SKYLINE HTS                                                                              COSHOCTON          OH 43812‐9136
UNGER, JAMES E                PO BOX 146                                                                                    W MIDDLETON        IN 46995‐0146
UNGER, JANICE E               3300 WICKLOW CT.APT. 4                                                                        SAGINAW            MI 48603‐7416
UNGER, JOHN A                 3078 EASTLAND BLVD               APT A104                                                     CLEARWATER         FL 33761
UNGER, JOHN W                 1713 N WASHINGTON AVE                                                                         ROYAL OAK          MI 48067‐1334
UNGER, JUDITH M               283 ANDREWS BLVD                                                                              PLAINFIELD         IN 46168‐7677
UNGER, KATIE
UNGER, LAWRENCE R             1008 BETHEL CHURCH RD                                                                         WARFORDSBURG      PA 17267‐8713
UNGER, LILLIAN M              302 W HERR ST                                                                                 ENGLEWOOD         OH 45322‐1220
UNGER, LISA DENISE
UNGER, LOWELL W               1744 GOLDENHORN CT                                                                            MARYLAND HTS      MO   63043‐2815
UNGER, MARGARET E             APT 114                          7847 LOIS CIRCLE                                             DAYTON            OH   45459‐3694
UNGER, MARGARET E             7847 LOIS CIR                    APT 114                                                      DAYTON            OH   45459‐3694
UNGER, MARK D                 651 PREBLE COUNTY LINE RD N                                                                   W ALEXANDRIA      OH   45381‐9715
UNGER, MARK W                 723 W 1075 S                                                                                  BUNKER HILL       IN   46914‐9531
UNGER, MICHAEL J              2159 ANTRIM DR                                                                                DAVISON           MI   48423‐8438
UNGER, MICHAEL R              2401 HUNTERS CREEK RD                                                                         METAMORA          MI   48455‐9351
UNGER, PAMELA L               3250 AIRPORT HWY                                                                              TOLEDO            OH   43609‐1456
UNGER, PHYLLIS J              4723 ABADAN ST                                                                                NORTH PORT        FL   34287‐2302
UNGER, RAYMOND J              52 WESTWOOD DR                                                                                BROCKPORT         NY   14420
UNGER, RAYMOND L              1268 HOUSELCRAFT N. W.                                                                        BRISTOLVILLE      OH   44402‐9603
UNGER, RAYMOND L              1268 HOUSEL CRAFT RD                                                                          BRISTOLVILLE      OH   44402‐9603
UNGER, REESE
UNGER, RICHARD S              1881 MEADOW DALE CT                                                                           ROCHESTER HILLS   MI   48309‐3333
UNGER, ROBERT                 3616 W 600 N                                                                                  SHARPSVILLE       IN   46068‐9299
UNGER, ROBERT J               6936 VIENNA WOODS TRL                                                                         DAYTON            OH   45459‐1290
UNGER, SHARON K               9520 N 30 W                                                                                   FRANKFORT         IN   46041
UNGER, THOMAS M               3250 AIRPORT HWY                                                                              TOLEDO            OH   43609‐1456
UNGER, VALERIE                MCGEE WILLIAM R LAW OFFICES OF   16855 W BERNARDO DR STE 380                                  SAN DIEGO         CA   92127‐1626
UNGER, VIOLET E               5114 MCCRAY STREET                                                                            INDIANAPOLIS      IN   46224‐5089
UNGER, VIRGINIA M             188 ELLINGTON RD                                                                              DAYTON            OH   45431‐1965
UNGER, WILLIAM                BROWN SAWICKI & MITCHELL         2626 COLE AVE STE 850                                        DALLAS            TX   75204‐0838
UNGER, WILLIAM                EBERSTEIN & WITHERITE            3100 MONTICELLO AVE STE 500                                  DALLAS            TX   75205‐3432
UNGER, WILLIAM                ROTH LAW FIRM                    P O BOX 876 ‐ 115 NORTH                                      MARSHALL          TX   75671
                                                               WELLINGTON ‐ SUITE 200 STE 200
UNGER, WILLIAM G              1305 NEW JERSEY AVE                                                                           MC DONALD         OH   44437‐1726
UNGER, WILLIAM R              PO BOX 789                                                                                    SHEPHERDSTOWN     WV   25443‐0789
UNGERER, KENNETH G            3620 CASTLE DR                                                                                ZEPHYRHILLS       FL   33540‐6562
UNGERER, MARGARET H           128 W RING FACTORY RD APT 148                                                                 BEL AIR           MD   21014‐5490
UNGERICHT, JUANITA P          1036 GRAY AVE                                                                                 GREENVILLE        OH   45331‐1125
UNGERICHT, JUANITA P          1036 GRAY AVENUE                                                                              GREENVILLE        OH   45331‐1125
UNGERMAN, KIMBERLY L          14530 WILLOUGHBY DR                                                                           SHELBY TOWNSHIP   MI   48315‐5045
UNGERMAN, THEODORE            7349 CRICKET LN                                                                               SEVEN HILLS       OH   44131‐5127
UNGHERINI VIRGIL D (407489)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                               STREET, SUITE 600
UNGHERINI, VIRGIL D           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510‐2212
                                                               STREET, SUITE 600
                                    09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                        Part 37 of 40 Pg 717 of 901
Name                               Address1                          Address2                      Address3   Address4              City               State Zip
UNGHIRE, ELEANOR B                 326 HICKS AVE                                                                                    MERIDEN             CT 06451‐1911
UNGHIRE, ELEANOR B                 326 HICKS AVENUE                                                                                 MERIDEN             CT 06451‐1911
UNGLESBEE RODNEY D (472186)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510
                                                                     STREET, SUITE 600
UNGLESBEE, RODNEY D                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
UNGRADY, JOAN M                    10 MADDOCK DR                                                                                    EWING              NJ   08628‐2307
UNGRADY, LOUISE M                  31 POWELL PL                                                                                     TRENTON            NJ   08610‐4217
UNGREY, SANDRA L                   2873 MARY NELL DRIVE SW                                                                          BYRON CENTER       MI   49315‐9226
UNGREY, THOMAS F                   2873 MARY NELL DR SW                                                                             BYRON CENTER       MI   49315‐9226
UNGURAN, GEORGE A                  6527 CHASE CREEK RUN                                                                             FORT WAYNE         IN   46804‐8706
UNGUREAN, JANICE M                 1419 E. BERNHARD                                                                                 HAZEL PARK         MI   48030‐2313
UNGUREAN, JANICE M                 1035 E MADGE AVE                                                                                 HAZEL PARK         MI   48030‐2164
UNGVARSKY, DONNA L                 730 GANNET RD                                                                                    ANTHONY            NM   88021‐8613
UNGVARSKY, MICHAEL F               3875 MAIDEN ST                                                                                   WATERFORD          MI   48329‐1046
UNGVARSKY, VINCENT R               835 HECLA RD                                                                                     MT PLEASANT        PA   15666‐2452
UNHOCH, WILLIAM                    216 BADGER CREEK RD                                                                              SHERIDAN           WY   82801‐8651
UNHOLTZ DICKIE/CT                  6 BROOKSIDE DR                                                                                   WALLINGFORD        CT   06492‐1823
UNHOLTZ‐DICKIE CORPORATION         6 BROOKSIDE DR                    BARNES INDUSTRIAL PARK                                         WALLINGFORD        CT   06492‐1823
UNI BOND BRAKE LLC                 1350 JARVIS ST                                                                                   FERNDALE           MI   48220‐2011
UNI BORING CO INC                  2280 W GRAND RIVER AVE                                                                           HOWELL             MI   48843‐8515
UNI BORING/LIVONIA                 PO BOX 51338                                                                                     LIVONIA            MI   48151‐5338
UNI STAR DENTAL LAB LLC            ATTN: KWANGWOO LEE                4031 S DIXIE DR                                                MORAINE            OH   45439‐2159
UNI‐BOND BRAKE INC                 MIKE GRATTAN X36                  1350 JARVIS                                                    ROCHESTER HILLS    MI   48309
UNI‐BOND BRAKE INC                 MIKE GRATTAN X36                  1350 JARVIS ST                                                 FERNDALE           MI   48220‐2011
UNI‐BOND BRAKE INC.                MIKE GRATTAN X36                  1350 JARVIS ST                                                 FERNDALE           MI   48220‐2011
UNI‐BOND BRAKE INC.                MIKE GRATTAN X36                  1350 JARVIS                                                    ROCHESTER HILLS    MI   48309
UNI‐BOND EXTRUSIONS                50350 E RUSSELL SCHMIDT BLVD      FORMLY ELDON EXTRUSIONS INC                                    CHESTERFIELD       MI   48051‐2447
UNI‐BOND EXTRUSIONS LLC
UNI‐BOND EXTRUSIONS LLC            50350 E RUSSELL SCHMIDT BLVD                                                                     CHESTERFIELD       MI 48051‐2447
UNI‐BOND LLC                       NO ADVERSE PARTY
UNI‐BOND/CHESTERFIEL               50350 E RUSSELL SCHMIDT BLVD                                                                     CHESTERFIELD       MI 48051‐2447
UNI‐FORTUNE TOYS INDUSTRIAL LTD.
UNI‐SOURCE/ROCHESTER               2737 S ADAMS RD                                                                                  ROCHESTER HILLS    MI   48309‐3102
UNI‐TECH/PELHAM                    PO BOX 510                                                                                       PELHAM             AL   35124‐0510
UNI‐TEK TOOL SALES INC             23730 RESEARCH DR                                                                                FARMINGTON HILLS   MI   48335‐2624
UNI‐TEK TOOL SALES LLC             23730 RESEARCH DR                                                                                FARMINGTON HILLS   MI   48335‐2624
UNIA F POWERS                      8471 HEYDEN ST                                                                                   DETROIT            MI   48228‐2946
UNIA POWERS                        8471 HEYDEN ST                                                                                   DETROIT            MI   48228‐2946
UNIAK, MIKE R                      13418 W 56TH PL                                                                                  SHAWNEE            KS   66216‐4634
UNIAO DE BANCOS BRASILEIROS SA     AV. EUSEBIO MATOSO 891,3          ANDAR, PINHEIROS                         SAO PAULO 05423‐901
(UNIBANCO)                                                                                                    BRAZIL
UNIATOWSKI, AGNES F                1 GREENWOOD RD                                                                                   WILMINGTON         DE   19804‐2650
UNIATOWSKI, ANTHONY M              207 LENA CT                                                                                      NEWARK             DE   19711‐3784
UNIATOWSKI, JOSEPH H               20 GLEN RICH AVE. APT 8                                                                          WILMINGTON         DE   19804
UNIATOWSKI, LENA C                 114 LARCH AVE                                                                                    WILMINGTON         DE   19804‐2304
UNIATOWSKI, LENA C                 114 LARCH AVENUE                                                                                 WILMINGTON         DE   19804‐2304
UNIATOWSKI, VIOLET                 1403 E MARKET ST                                                                                 WILMINGTON         DE   19804‐2329
UNIBAR MAINTENANCE SERVICE         4325 CONCOURSE DR                                                                                ANN ARBOR          MI   48108‐9688
UNIBAR MAINTENANCE SERVICE         CHRIS KARDOS                      4325 CONCOURSE DR                                              ANN ARBOR          MI   48108‐9688
UNIBODY COLL/FRANKLN               4211 S CAROTHERS RD                                                                              FRANKLIN           TN   37067‐5043
UNIBULK INC                        11861 S COTTAGE GROVE                                                                            CHICAGO            IL   60628
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                          Part 37 of 40 Pg 718 of 901
Name                                  Address1                              Address2                        Address3                Address4                 City                 State Zip
UNICCO UNIVERSITY OF MIAMI                                                  1535 LEVANTE AVE                                                                                       FL 33146
UNICELL BODY CO. ‐ BUFFALO            571 HOWARD ST                                                                                                          BUFFALO               NY 14206
UNICELL BODY CO. ‐ BUFFALO
UNICELL BODY CO., INC.
UNICELL BODY CO., INC.                571 HOWARD ST                                                                                                          BUFFALO              NY 14206
UNICELL BODY COMPANY                  ROGER MARTIN                          571 HOWARD ST.                                                                   BUFFALO              NY 14206
UNICELL BODY COMPANY ‐ ALBANY         571 HOWARD STREET                                                                                                      BUFFALO              NY 14206
UNICELL BODY COMPANY ‐ ALBANY
UNICELL BODY COMPANY INC              571 HOWARD ST                                                                                                          BUFFALO              NY 14206
UNICELL BODY COMPANY, INC.            571 HOWARD STREET                                                                                                      BUFFALO              NY 14206
UNICELL BODY COMPANY, INC.
UNICK CORP                            389 1 SEODAESHIN DONG 3GA                                                                     PUSAN 602826 KOREA
UNICO INC                             3725 NICHOLSON RD                     PO BOX 0505                                                                      FRANKSVILLE          WI 53126‐9406
UNICO INC
UNICO INC                             3725 NICHOLSON RD                                                                                                      FRANKSVILLE          WI 53126‐9406
UNICO LOGISTICS CO LTD                H.J. PARK                             FLOOR 9, KUK‐JE BLDG            111 DA‐DONG, CHUNG‐KU   SEOUL 100‐180 KOREA
                                                                                                                                    (REP)
UNICO ONC                             3725 NICHOLSON RD                                                                                                      FRANKSVILLE          WI   53126‐9406
UNICO, INC./MILWAUKE                  PO BOX 88403                                                                                                           MILWAUKEE            WI   53288‐0001
UNICOR FPI CENTRAL OFFICE             320 1ST ST NW                                                                                                          WASHINGTON           DC   20534‐0002
UNICORN EXPRESS                       ATTN: BERNIE STABB                    609 CAMBRIDGE AVE                                                                SYRACUSE             NY   13208‐1435
UNICORN PRODUCTS LIMITED              SOUTH BARN, CROCKHAM PARK,                                                                    GREAT BRITAIN
                                      CROCKHAM HILL, EDENBRIDGE, KENT TN8
                                      6UP, UK
UNICREDIT BANCA DI ROMA S.P.A         ATTN MR CRISTIANO CARLUCCI            VIA U TUPINI 180                                        00144 ROMA ITALY
UNICREDIT BANCA S.P.A                 ATTENTION MR FABIO BALLONA            VIA ZAMBONI 20                                          40126 BOLOGNA ITALY
UNICREDIT CORPORATE BANKING SPA       ATTN: MR MASSIMO BORTOLUSSI           VIA GARIBALDI 1                                                                  37121 VERONA ITALY
UNICREDIT LEASING KFT.
UNICREDIT LUXEMBOURG SA               UNICREDIT LUXEMBOURG SA               4 RUE ALPHONSE WEICKER          DE MICHELE GIOVANNI
UNICREDIT LUXEMBOURG SA               4 RUO ALPHONSE WEICKER                ATTN MR GIOVANNI DE MICHELE                             2099 LUXEMBOURG
UNICREDIT PRIVATE BANKING S P A       ATTN MR ALBERTO FAVOLE                VIA ARSENALE 21                                         10121 TORINO ITALY
UNIDRIVE PTY LTD                      PRIVATE BAG 146                                                                               CLAYTON SOUTH VIC 3168
                                                                                                                                    AUSTRALIA
UNIDRIVE PTY LTD                      45‐49 MCNAUGHTON RD                                                                           CLAYTON VI 3168
                                                                                                                                    AUSTRALIA
UNIDRIVE PTY LTD                      JOHN RYAN                             45‐49 MCNAUGHTON ROAD                                   TORINO 10148 ITALY
UNIDRIVE PTY LTD                      JOHN RYAN                             C/O ADVANCE DISTRIBUTION SVCS   3301 DIXIE HIGHWAY      REHBURG‐LOCCUM
                                                                                                                                    GERMANY
UNIEJEWSKI, DAN J                   128 LUCINDA CT                                                                                                           FRANKLIN             TN   37064‐2943
UNIEJEWSKI, DAN J                   2738 SHARONDALE CT                                                                                                       NASHVILLE            TN   37215‐1210
UNIEJEWSKI, WALTER J                2301 HARVEY AVE                                                                                                          BERWYN               IL   60402‐2404
UNIEWSKI, HARRY                     24414 GREENHILL RD 10                                                                                                    WARREN               MI   48091
UNIFAB INC                          215 TREMONT STREET                                                                                                       ROCHESTER            NY   14608
UNIFAB INC                          215 TREMONT ST                                                                                                           ROCHESTER            NY   14608
UNIFIED GOVERNMENT AND PUBLIC LEVEE ATTN: MR. MICHAEL KUCENIC               701 N 7TH ST                                                                     KANSAS CITY          KS   66101‐3035

UNIFIED GOVERNMENT LICENSE DIVISION   4601 STATE AVE UNIT 87                                                                                                 KANSAS CITY          KS   66102‐3606

UNIFIED GOVERNMENT O                  PO BOX 175014                                                                                                          KANSAS CITY          KS   66117‐5014
UNIFIED GOVERNMENT OF WYANDOTTE       701 N 7TH ST STE 350                                                                                                   KANSAS CITY          KS   66101‐3070
COUNTY KANSAS CITY
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                        Part 37 of 40 Pg 719 of 901
Name                                 Address1                              Address2                   Address3   Address4                 City               State Zip
UNIFIED GOVERNMENT OF WYANDOTTE
COUNTY/KANSAS CITY KS
UNIFIED GOVERNMENT OF WYANDOTTE      ATTN: GENERAL COUNSEL                 270 PARK AVENUE                                                NEW YORK            NY 10017
COUNTY/KANSAS CITY, KANSAS

UNIFIED GOVERNMENT OF WYANDOTTE      CORPORATE TRUST DEPARTMENT            450 WEST 33RD STREET                                           NEW YORK            NY 10001
COUNTY/KANSAS CITY, KANSAS

UNIFIED GOVERNMENT OF WYANDOTTE      ATTN: INSTITUTIONAL TRUST SERVICES    450 W 33RD ST FL 15                                            NEW YORK            NY 10001‐2626
COUNTY/KANSAS CITY, KANSAS

UNIFIED GOVERNMENT OF WYANDOTTE      701 N 7TH ST                                                                                         KANSAS CITY         KS   66101‐3035
COUNTY/KANSAS CITY. KS.

UNIFIED GOVERNMENT TREASURY           PO BOX 175013                                                                                       KANSAS CITY         KS   66117‐5013
UNIFIED GROCERS                       PAULA WEERHEIM                       5200 SHELIA STREET                                             COMMERCE            CA
UNIFIED HEALTH SERVI                  BILLING FOR LINEAR SOLUTIONS I       PO BOX 1000 DEPT 380                                           MEMPHIS             TN   38148‐0001
UNIFIED IND/HOWELL                    PO BOX 257                           1033 SUTTON STREET                                             HOWELL              MI   48844‐0257
UNIFIED INDUSTRIES INC                ATTN: CORPORATE OFFICER/AUTHORIZED   772084 SOLUTIONS CTR                                           CHICAGO             IL   60677‐2084
                                      AGENT
UNIFIED INDUSTRIES INC                1033 SUTTON ST                                                                                      HOWELL              MI 48843‐1714
UNIFIED TREASURER CITY OF KANSAS CITY 4601 STATE AVE UNIT 88               INDIAN SPRINGS MARKET PL                                       KANSAS CITY         KS 66102‐3606

UNIFIED WESTERN GROCERS              5200 SHEILA ST                                                                                       COMMERCE           CA    90040‐3906
UNIFIRST                                                                   295 PARKER ST                                                                     MA    01151
UNIFIRST CORP                        68 JONSPIN RD                                                                                        WILMINGTON         MA    01887‐1090
UNIFIRST CORP                        2900 N BEACH ST                       PO BOX 7580                                                    HALTOM CITY        TX    76111‐6203
UNIFIRST CORP                        4300 CASTLEWOOD RD                                                                                   RICHMOND           VA    23234‐3108
UNIFIRST CORP                        ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 7580                                                    HALTOM CITY        TX    76111‐0580
                                     AGENT
UNIFIRST CORP.                       1150 2ND AVE                                                                                         NEW KENSINGTON     PA    15068‐6114
UNIFIRST CORP.                       940 RIVER RD                                                                                         CROYDON            PA    19021‐7540
UNIFIRST CORPORATION                 PO BOX 584                                                                                           NEWELL             NC    28126‐0584
UNIFIRST HOLDINGS INC                2900 N BEACH ST                                                                                      HALTOM CITY        TX    76111‐6203
UNIFIRST NASHAU                                                            8 INDUSTRIAL PARK DR                                                              NH    03062
UNIFLEX INC                          7830 LOCHLIN DR                                                                                      BRIGHTON           MI    48116‐8329
UNIFORM COMMERCIAL CODE              SEARCH INC                            PO BOX 9315                                                    SANTA FE           NM    87504‐9315
UNIFUND CCR PARTNERS                 PO BOX 42465                                                                                         CINCINNATI         OH    45242‐0465
UNIGLICHT, EILEEN S                  129 S VIRGINIA AVE                    BEST OF LIFE               APT#502                             ATLANTIC CITY      NJ    08401‐7458
UNIGLICHT, EILEEN S                  BEST OF LIFE                          129 S VIRGINIA AVENUE                                          ATLANTIC CITY      NJ    08401
UNIGRAPH SO/MARY HEI                 13736 RIVERPORT DRIVE                                                                                MARYLAND HEIGHTS   MO    63043
UNIGRAPHICS SOLUTIONS INC            13736 RIVERPORT DR                                                                                   MARYLAND HEIGHTS   MO    63043
UNIGRAPHICS SOLUTIONS INC            PO BOX 502825                                                                                        SAINT LOUIS        MO    63150‐0001
UNIGROUP WORLDWIDE‐                  SINGAPORE PTE LTD                     40 KIAN TECK ROAD                     SINGAPORE 628783 CHINA
UNIGROUP WORLDWIDE‐SINGAPORE PTE     ATTN: CORPORATE OFFICER/AUTHORIZED    40 KIAN TECK ROAD                     SINGAPORE 628783 CHINA
LTD                                  AGENT
UNIKO INC                            CARR PANAMERICANA KM 5                                                      CELAYA GJ 38020 MEXICO
UNILAND PARTNERSHIP LP THE           100 CORPORATE PKWY STE 500                                                                           AMHERST             NY   14226‐1260
UNILEVER                             800 SYLVAN AVE                                                                                       ENGLEWOOD CLIFFS    NJ   07632‐3201
UNILEVER                             KATHERINE WESTFALL                    800 SYLVAN AVE                                                 ENGLEWOOD CLIFFS    NJ   07632‐3201
UNILIVER                             800 SYLVAN AVE                                                                                       ENGLEWOOD CLIFFS    NJ   07632‐3201
UNIMARK PRODUCT LLC                  A MICHIGAN CORP CO                    10563 LACKMAN RD                                               LENEXA              KS   66219‐1223
                                      09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                            Part 37 of 40 Pg 720 of 901
Name                                  Address1                             Address2                        Address3                   Address4               City               State Zip
UNIMERCO GROUP A/S                    6620 STATE RD                                                                                                          SALINE              MI 48176‐9274
UNIMERCO INC                          6620 STATE RD                                                                                                          SALINE              MI 48176‐9274
UNIMERCO INC.                         6620 STATE ROAD                                                                                                        SALINE              MI 48176
UNIMERCO INC.                         ATTN: CORPORATE OFFICER/AUTHORIZED   6620 STATE RD                                                                     SALINE              MI 48176‐9274
                                      AGENT
UNIMIN                                DONNA FAGAN                          258 ELM ST                                                                        NEW CANAAN         CT 06840‐5309
UNIMOTION‐GEAR                        23300 HAGGERTY RD                                                                                                      FARMINGTON HILLS   MI 48335‐2603
UNIMOTION/AURORA                      23300 HAGGERTY ROAD                  SUITE 200                                                                         FARMINGTON HILLS   MI 48335
UNIMOTOR                              33 GAYLORD RD                                                                                   ST THOMAS ON N5P 3R9
                                                                                                                                      CANADA
UNIMOTOR DIV OF SMP                   MOTOR PRODUCTS LTD                   33 GAYLORD RD                                              SAINT THOMAS CANADA
                                                                                                                                      ON N5P 3R9 CANADA
UNIMOTOR LIMITED                      PAT DIAMOND                          FOUR SEASONS/STANDARD MOTOR 33 GAYLORD RD                                         ADEL               GA 31620

UNIOIN                                8000 E JEFFERSON AVE                 SOLIDARITY HOUSE                                                                  DETROIT            MI   48214‐3963
UNION                                 8000 E JEFFERSON AVE                 SOLIDARITY HOUSE                                                                  DETROIT            MI   48214‐3963
UNION                                 ATTN: GENERAL COUNSEL                300 36TH ST SW                                                                    GRAND RAPIDS       MI   49548‐2107
UNION AND WEBER AUTO CARE             645 UNION RD                                                                                                           SAINT LOUIS        MO   63123‐6844
UNION AVENUE AUTOMOTIVE SERVICE       415 UNION AVE                                                                                                          LACONIA            NH   03246‐2865
UNION CAMP                            1600 VALLEY RD                                                                                                         WAYNE              NJ   07470‐2043
UNION CAR RENTAL                      19 JIANGUOMENWAI‐DAJIE                                                                          BEIJING CHINA
UNION CARBIDE                         39 OLD RIDGEBURY RD                                                                                                    DANBURY            CT 06817‐0001
UNION CARBIDE CORPORATION             C/O WILLIAM E. COUGHLIN, ESQ.        CALFEE, HALTER & GRISWOLD LLP   800 SUPERIOR AVE., SUITE                          CLEVELAND          OH 44114
                                                                                                           1400
UNION CHARTER TOWNSHIP                ATTN: COLLECTOR'S OFFICE             2010 S LINCOLN RD                                                                 MOUNT PLEASANT     MI   48858‐9036
UNION CITY TAX COLLECTOR              PO BOX 9                                                                                                               UNION CITY         TN   38281‐0009
UNION CIVICA MEXICANA                 2715 WADSWORTH AVE                                                                                                     SAGINAW            MI   48601‐1374
UNION CNTY DEPT OF TAX COLL           ACCT OF J E ALLEN                    PO BOX 38                                                                         MONROE             NC   28111‐0038
UNION COLLEGE                         FINANCE DEPARTMENT                   807 UNION ST                                                                      SCHENECTADY        NY   12308‐3103
UNION COUNTY                          PO BOX 580365                                                                                                          CHARLOTTE          NC   28258‐0365
UNION COUNTY COLLECTOR                101 N WASHINGTON AVE STE 106                                                                                           EL DORADO          AR   71730‐5661
UNION COUNTY COLLEGE                  STUDENT ACCTS OFFICE                 1033 SPRINGFIELD AVE                                                              CRANFORD           NJ   07016‐1528
UNION COUNTY DPW                                                           79 W GRAND ST                                                                                        NJ   07202
UNION COUNTY EDUCATION ASSN           ATTN: HERB LEVITT                    77 CENTRAL AVE # 201                                                              CLARK              NJ   07066‐1441
UNION COUNTY ORTHOPA                  PO BOX 330                                                                                                             LINDEN             NJ   07036‐0330
UNION COUNTY PROBATION DEPT           ACCT OF ALBIN SOWINSKI               1143 E JERSEY ST                                                                  ELIZABETH          NJ   07201‐2310
UNION COUNTY PROBATION DEPT           FOR ACCT OF J W WIBERG               1143 E JERSEY ST                                                                  ELIZABETH          NJ   07201‐2310
UNION COUNTY PROBATION DEPT           ACCT OF JOSEPH LUMINIELLO            1143 E JERSEY ST                                                                  ELIZABETH          NJ   07201‐2310
UNION COUNTY PROBATION DEPT           ACCT OF EAMON A POWER                1143 E JERSEY ST                                                                  ELIZABETH          NJ   07201‐2310
UNION COUNTY SHERIFF                  2 BROAD ST                           5TH FLOOR COURT HOUSE                                                             ELIZABETH          NJ   07201‐2202
UNION COUNTY SHERIFF                  PO BOX 30                                                                                                              MORGANFIELD        KY   42437‐0030
UNION COUNTY SHERIFF'S OFFICE (WAGE   10 ELIZABETHTOWN PLZ                                                                                                   ELIZABETH          NJ   07202‐3451
GARNISHMENTS)
UNION COUNTY TAX COLLECTOR            PO BOX 862                                                                                                             NEW ALBANY         MS   38652‐0862
UNION COUNTY TREASURER                PO BOX 308                                                                                                             CLAYTON            NM   88415‐0308
UNION COUNTY TREASURER                PO BOX 420                                                                                                             MARYSVILLE         OH   43040‐0420
UNION CTY PROBATION DEPT              ACCT OF JOHN W WIBERG                1143 E JERSEY ST                                                                  ELIZABETH          NJ   07201‐2310
UNION CTY SHERIFF OFFICE              ACCT OF BILLY DAVIS                  2 BROAD ST                                                                        ELIZABETH          NJ   07201‐2202
UNION DE SERVICOS LOGISTICS           AVD/SUECIA 7 CENTRO DE               TRANSPORTES DE COSLADA 28821                               MADRID SPAIN SPAIN
INTERGRADOS SA
UNION DRILLING, INC.                  ARCHIE JACKSON                       PO BOX 40                                                                         BUCKHANNON         WV 26201‐0049
UNION ELECTRIC CO LLC                 601 N NORTH POINT RD # A                                                                                               ROSEDALE           MD 21237‐1210
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                        Part 37 of 40 Pg 721 of 901
Name                                 Address1                               Address2                    Address3              Address4             City          State Zip
UNION ELECTRIC COMPANY               ATTN: J. R. CAPIZZI                    PO BOX 149                                                             SAINT LOUIS    MO 63166‐6149
UNION ELECTRIC COMPANY               PO BOX 149                                                                                                    SAINT LOUIS    MO 63166‐6149
UNION ELECTRIC COMPANY               ATTN: WILLIAM P. DOWLING               PO BOX 149                                                             SAINT LOUIS    MO 63166‐6149
UNION ELECTRIC COMPANY               ATTN: WILLIAM P. DOWLING               1901 GRATIOT STREET                                                    SAINT LOUIS    MO
UNION ELECTRIC COMPANY               ATTN: GENERAL COUNSEL                  3700 S LINDBERGH BLVD                                                  SAINT LOUIS    MO 63127‐1338
UNION ELECTRIC COMPANY               CREDIT DEPARTMENT MC 310               PO BOX 66881                                                           SAINT LOUIS    MO 63166‐6881
UNION FEDERAL SAVINGS                ACCT OF JAMES D. WOOD
UNION FIRE DISTRICT                  PO BOX 335                                                                                                    PEACE DALE     RI   02883‐0335
UNION GAS LIMITED                    PO BOX 2025                                                                              CHATHAM CANADA ON
                                                                                                                              N7M 6C7 CANADA
UNION GAS LIMITED                    50 KEIL DR. N                                                                            CHATHAM ON N7M 5M1
                                                                                                                              CANADA
UNION GAS LIMITED                    50 KEIL DR., N.                                                                          CHATHAM ON N7M 5M1
                                                                                                                              CANADA
UNION GAS LIMITED                    50 KEIL DR. N.                                                                           CHATHAM ON N7M 5M1
                                                                                                                              CANADA
UNION GAS LTD                        50 KEIL DR. N.                                                                           CHATHAM ON N7M 5M1
                                                                                                                              CANADA
UNION GRAPHICS INC                     PO BOX 3169                                                                                                 SPARKS        NV    89432‐3169
UNION HOSP CECIL CO                    PO BOX 218                                                                                                  ELKTON        MD    21922‐0218
UNION INSTITUTE                        440 E MCMILLAN ST                                                                                           CINCINNATI    OH    45206‐1925
UNION INVESTMENT                       C/O STURMAN LLC                      ATTN: STEFTEN MOERITZ       275 7TH AVE, 2ND FL                        NEW YORK      NY    10001
UNION LABEL & SERVICE TRADES DEPT AFL‐ 815 16TH ST NW                                                                                              WASHINGTON    DC    20006‐4101
CIO
UNION LABEL AND SERVICE TRADES         815 16TH ST NW                                                                                              WASHINGTON    DC    20006‐4101
UNION LABEL SERVICE TRADES DEP         815 16TH ST NW                                                                                              WASHINGTON    DC    20006‐4101
UNION LEADER CORPORATION               JOYCE LEVESQUE                       100 WILLIAM LOEB DR                                                    MANCHESTER    NH    03109‐5309
UNION LEASING                          425 N MARTINGALE RD STE 1250                                                                                SCHAUMBURG    IL    60173‐2287
UNION LINE GARAGE                      59 PRINCETON AVE                                                                                            HOPEWELL      NJ    08525‐2035
UNION LOCAL 735                        48055 MICHIGAN AVE                                                                                          CANTON        MI    48188‐2239
UNION OIL                              1201 W. 5TH STREET                                                                                          LOS ANGELES   CA    90017
UNION PACIFC RAILROAD COMPANY          ATTN: GENERAL COUNSEL                1416 DODGE ST                                                          OMAHA         NE    68179‐0001
UNION PACIFIC                          IKE EVANS                            1400 DOUGLAS ST                                                        OMAHA         NE    68179‐1001
UNION PACIFIC                          CHRIS STOCKMAN                       1400 DOUGLAS ST                                                        OMAHA         NE    68179‐1001
UNION PACIFIC                          111 S. MAGNOLIA ‐ RM. 301                                                                                   PALESTINE     TX    75801
UNION PACIFIC                          LOVELL COX                           1400 DOUGLAS ST                                                        OMAHA         NE    68179‐1001
UNION PACIFIC                          ATTN: CORPORATE OFFICER/AUTHORIZED   111 S. MAGNOLIA ‐ RM. 301                                              PALESTINE     TX    75801
                                       AGENT
UNION PACIFIC
UNION PACIFIC CARRIER SERVICES         206 S 19TH ST STE 315                                                                                       OMAHA         NE    68102‐1706
UNION PACIFIC CORP                     1400 DOUGLAS ST                                                                                             OMAHA         NE    68179‐1001
UNION PACIFIC CORP                     CHRIS STOCKMAN                       1400 DOUGLAS ST                                                        OMAHA         NE    68179‐1001
UNION PACIFIC CORP                     IKE EVANS                            1400 DOUGLAS ST                                                        OMAHA         NE    68179‐1001
UNION PACIFIC DISTRIBUTION EFTSERVICES ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 502421                                                          SAINT LOUIS   MO    63150‐0001
                                       AGENT
UNION PACIFIC DISTRIBUTION SERVICES    206 S 19TH ST STE 600                                                                                       SAINT LOUIS   MO 63150‐0001

UNION PACIFIC RAILROAD               ATTN J P RICHARDS                      500 W MADISON ST STE 3610                                              CHICAGO       IL    60661‐4589
UNION PACIFIC RAILROAD               PO BOX 843465                                                                                                 DALLAS        TX    75284‐3465
UNION PACIFIC RAILROAD               1416 DODGE ST RM 738                                                                                          OMAHA         NE    68179‐0001
UNION PACIFIC RAILROAD               1400 DOUGLAS ST                                                                                               OMAHA         NE    68179‐1001
UNION PACIFIC RAILROAD
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                   Exhibit B
                                                                         Part 37 of 40 Pg 722 of 901
Name                                 Address1                              Address2                         Address3                  Address4                  City             State Zip
UNION PACIFIC RAILROAD CO            1800 FARNAM ST                                                                                                             OMAHA             NE 68102
UNION PACIFIC RAILROAD CO            5074 COLLECTION CENTER DR                                                                                                  CHICAGO            IL 60693‐0050
UNION PACIFIC RAILROAD CO            210 N 13TH ST                                                                                                              SAINT LOUIS       MO 63103‐2329
UNION PACIFIC RAILROAD CO            PO BOX 502453                                                                                                              SAINT LOUIS       MO 63150‐2453
UNION PACIFIC RAILROAD CO            1400 DOUGLAS ST                                                                                                            OMAHA             NE 68179‐1001
UNION PACIFIC RAILROAD CO S 162507   1416 DODGE ST RM 738                                                                                                       OMAHA             NE 68179‐0001
UNION PACIFIC RAILROAD COMPANY       1416 DODGE ST # MC9060                                                                                                     OMAHA             NE 68179‐0001
UNION PACIFIC RAILROAD COMPANY       ATTN: GENERAL COUNSEL                 1416 DODGE ST                                                                        OMAHA             NE 68179‐0001
UNION PACIFIC RAILROAD COMPANY       GROUP MARKET MANAGER‐AUTOMOTIVE       1416 DODGE ST                                                                        OMAHA             NE 68179‐0001
                                     & MACHINERY
UNION PACIFIC RAILROAD COMPANY       ATTN: VICE PRESIDENT                  1416 DODGE ST                                                                        OMAHA            NE    68179‐0001
UNION PACIFIC RAILROAD COMPANY       1800 FARNAM STREET                                                                                                         OMAHA            NE    68102
UNION PACIFIC RAILROAD COMPANY       1416 DODGE ST RM 1100                                                                                                      OMAHA            NE    68179‐0001
UNION PACIFIC RAILROAD COMPANY       12567 COLLECTION CENTER DR                                                                                                 CHICAGO          IL    60693‐0125
UNION PACIFIC RAILROAD COMPANY       3044 W GRAND BLVD                                                                                                          DETROIT          MI    48202‐3009
UNION PACIFIC RAILROAD COMPANY       1416 DODGE ST                                                                                                              OMAHA            NE    68179‐0001
UNION PACIFIC RAILROAD COMPANY       HANSEN KENT W                         280 SOUTH 400 WEST                                                                   SALT LAKE CITY   UT    84101
UNION PACIFIC RAILROAD COMPANY       COSGRAVE VERGEER KESTER               805 SW BROADWAY FL 8                                                                 PORTLAND         OR    97205‐3342
UNION PACIFIC RAILROAD COMPANY
UNION PACIFIC RAILROAD COMPANY       ROSA LA PUENTE‐FLOWERS                1400 DOUGLAS ST MS 780                                                               OMAHA            NE    68179‐1001
UNION PACIFIC RAILROAD COMPANY       1800 FARNAM ST                                                                                                             OMAHA            NE    68102‐1916
UNION PACIFIC RAILROAD COMPANY       JASON ASSOCIATES                      1800 FARNAM ST                                                                       OMAHA            NE    68102‐1916
UNION PACIFIC RAILROAD COMPANY       TREASURY DEPARTMENT ATTENTION         1400 DOUGLAS ST MS 1920                                                              OMAHA            NE    68179‐0001
                                     ASSISTANT TREASURER
UNION PACIFIC RAILROAD COMPANY       UNION PACIFIC RAILROAD COMPANY        1800 FARNAM STREET                                                                   OMAHA            NE 68102
UNION PACIFIC RAILROAD COMPANY       ATTN: MARY ANN KILGORE, ESQ.          1400 DOUGLAS STREET, STOP 1580                                                       OMAHA            NE 68179

UNION PACIFIC RAILROAD COMPANY       MONTBELLO TRI‐CONTINENTAL PROPERTY    C/O MULTI NATIONAL               ATT: LEGAL DEPARTMENT     208 SOUTH LASALLE STREET CHICAGO            IL   60604
                                     COMPANY NV                            MANAGEMENT GROUP, INC
UNION PACIFIC RAILROAD COMPANY       MONTBELLO TRI‐CONTINENTAL PROPERTY    C/O JASON ASSOCIATES ‐ UNION     PO BOX 5523 T.A.S.                                  DENVER           CO 80217
                                     COMPANY NV                            PACIFIC
UNION PACIFIC RAILROAD COMPANY       MONTBELLO TRI‐CONTINENTAL PROPERTY    C/O UNION PACIFIC ‐ CONTRACT     1416 DODGE STREET, ROOM                             OMAHA            NE 68179
                                     COMPANY NV                            AND REAL ESTATE DEPT             1100
UNION PACIFIC RAILROAD COMPANY       1400 DOUGLAS STREET                                                                                                        OMAHA            NE 68179
UNION PACIFIC/MISSOURI PACIFIC RR    1416 DODGE ST                                                                                                              OMAHA            NE 68179‐0001
COMPANY
UNION PARISH                         ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 545                                                                          FARMERVILLE       LA   71241‐0545

UNION PARISH                         PO BOX 545                                                                                                                 FARMERVILLE       LA   71241‐0545
UNION PARISH SCHOOL BOARD            PO BOX 545                            SALES TAX DEPARTMENT                                                                 FARMERVILLE       LA   71241‐0545
UNION PARISH TAX COLLECTOR           100 E BAYOU ST STE 101                                                                                                     FARMERVILLE       LA   71241‐2843
UNION PARK AUTOMOTIVE GROUP, INC.    FRANK URSOMARSO                       1704 PENNSYLVANIA AVE                                                                WILMINGTON        DE   19806‐4020

UNION PARK BUICK PONTIAC & GMC TRUC 1704 PENNSYLVANIA AVE                                                                                                       WILMINGTON        DE 19806‐4020

UNION PARK BUICK PONTIAC & GMC       1704 PENNSYLVANIA AVE                                                                                                      WILMINGTON        DE 19806‐4020
TRUCK
UNION PETTENBACH                     MARKTSTRASSE 6                                                                                   4643 PETTENBACH AUSTRIA
UNION PLANTERS NATIONAL BANK         58 TRUCK CENTER DR                                                                                                         JACKSON          TN    38305‐9119
UNION PLATE GLASS CO INC             1729 MORRIS AVE                                                                                                            UNION            NJ    07083
UNION PONTIAC BUICK GMC, INC.        2301 US HIGHWAY 22 W                                                                                                       UNION            NJ    07083‐8517
UNION PONTIAC GMC BUICK              2301 US HIGHWAY 22 W                                                                                                       UNION            NJ    07083‐8517
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                        Part 37 of 40 Pg 723 of 901
Name                                Address1                            Address2                          Address3              Address4                 City              State Zip
UNION PONTIAC GMC INC               2301 US HIGHWAY 22 W                                                                                                 UNION              NJ 07083‐8517
UNION PONTIAC‐GMC, INC.             JOHN A. MANGANELLI, PRESIDENT       2301 US HIGHWAY 22 W                                                             UNION              NJ 07083‐8517
UNION PONTIAC‐GMC, INC.             JOHN MANGANELLI                     2301 US HIGHWAY 22 W                                                             UNION              NJ 07083‐8517
UNION PONTIAC‐GMC‐BUICK, INC.       JOHN MANGANELLI                     2301 US HIGHWAY 22 W                                                             UNION              NJ 07083‐8517
UNION PONTIAC‐GMC‐BUICK, INC.       2301 US HIGHWAY 22 W                                                                                                 UNION              NJ 07083‐8517
UNION PRINTING CO                   ATTN: LEWIS DRISKELL                1759 N SAGINAW ST                                                                FLINT              MI 48505‐4796
UNION PUBLIC SCHOOLS                                                    5656 S 129TH EAST AVE                                                                               OK 74134
UNION RAILROAD COMPANY              1200 PENN AVE STE 300                                                                                                PITTSBURGH         PA 15222‐4207
UNION RAILROAD COMPANY              1800 FARNAM ST                                                                                                       OMAHA              NE 68102‐1916
UNION RESCUE MISSION                545 S SAN PEDRO ST                                                                                                   LOS ANGELES        CA 90013‐2101
UNION SCRAP III TRUST FUND          C/O NORWEST BANK                    608 2ND AVE S                                                                    MINNEAPOLIS        MN 55402
UNION SQUARE REHAB &                2448 UNION ROAD                                                                                                      CHEEKTOWAGA        NY 14227
UNION STAMP/S CHARLE                3201 ENTERPRISE PKWY                STE 490                                                                          BEACHWOOD          OH 44122‐7320
UNION STAMPING & ASSEMBLY INC       600 SUPERIOR AVE E STE 810          FRMLY MAYFLOWER VEHICLE                                                          CLEVELAND          OH 44114‐2616
                                                                        SYSTEM
UNION STAMPING & ASSEMBLY INC      3201 ENTERPRISE PKWY STE 490                                                                                          CLEVELAND         OH 44122‐7320
UNION STAMPING & ASSEMBLY INC
UNION TECHNIQUE AUTO MOTO & CYCLES RUE DU MOULIN 8                      PO BOX 11                                               ROODT‐SUR‐SYRE LU 6901
                                                                                                                                LUXEMBOURG
UNION TELEPHONE CO                  JOHN WOODY                          850 NORTH STATE                                                                  MOUNTAIN VIEW     WY
UNION UNIVERSITY                    STUDENT ACCOUNTS                    1050 UNION UNIVERSITY DRIVE BOX                                                  JACKSON           TN 38305
                                                                        3148
UNION VACATIONS DOT COM             4201 H STREET                                                                                                        SACRAMENTO        CA 95819
UNION WHOLESALE ACOUSTICAL SUPPLY   PO BOX 2847                                                                                                          WILMINGTON        DE 19805‐0847
CO
UNION WORDSHOPPE INC                828 E MILLER RD                                                                                                      LANSING           MI 48911‐5709
UNION, MARY F                       125 E. CLARIDGE STREET                                                                                               SATELLITE BEACH   FL 32937‐2227
UNION, MARY F                       125 E CLARIDGE ST                                                                                                    SATELLITE BEACH   FL 32937‐2227
UNIONE COMMUNICATIONS CO LTD        UNIONE BUILDING 1350‐7 SCOCHO‐      DONG SCOCHO‐GU SEOUL 137‐070                            KOREA SOUTH KOREA

UNIONE DI BANCHE ITALIANE S C P A   ATTENTION MR LUCA BONZANINI         AREA AFFARI LEGALI E CONTENZIOSO PIAZZA V VENETO NO 8   24121 BERGAMO ITALY

UNIONPACIFIC RAILROAD COMPANY       ATTN: GENERAL COUNSEL               1416 DODGE ST                                                                    OMAHA             NE 68179‐0001
UNIOR WOOTEN                        2849 W WARREN BLVD                                                                                                   CHICAGO           IL 60612‐1919
UNIPAK LOGISTICS                    3980 STATE ROAD 38 E                                                                                                 LAFAYETTE         IN 47905‐9514
UNIPAK LOGISTICS LLC
UNIPARK                             MID‐ATLANTIC SERVICES GROUP, INC.   10020 COLESVILLE RD STE B                                                        SILVER SPRING     MD 20901‐2341
UNIPARK VALET & PARKING SERVICES    10020 COLESVILLE RD STE B           MID‐ATLANTIC SRVCS GROUP INC                                                     SILVER SPRING     MD 20901‐2341

UNIPOLY HIFLEX NETHERLANDS BV       ROB MELI                            1555 JEFFERSON RD.                                                               WOOD DALE         IL    60101
UNIPRISE                            JIM KAPRAL                          450 COLUMBUS BLVD                 PO BOX 150450                                  HARTFORD          CT    06103‐1801
UNIPRO UNLIMITED INC                ALEXANDER RD & 1‐75                                                                                                  VANDERBILT        MI    49795
UNIPRO UNLIMITED INC                491 W MAIN ST                                                                                                        VANDERBILT        MI    49795‐9754
UNIQUE AUTO REPAIR                  401 N CEDAR ST                                                                                                       SHELBYVILLE       IL    62565‐1245
UNIQUE AUTO SERVICE                 1414 MONTANA ST                                                                                                      MISSOULA          MT    59801‐1602
UNIQUE AUTOMATION LLC               126 HARRISON ST STE D                                                                                                NEWARK            NY    14513‐1200
UNIQUE CONVERSIONS                  1502 HWY. 157 N.                                                                                                     MANSFIELD         TX    76063
UNIQUE CONVERSIONS
UNIQUE CONVERSIONS INC              BRYON MITCHAMORE                    1502 HWY 157 NORTH                                                               MANSFIELD          TX   76063
UNIQUE CONVERSIONS, INC.            1502 HWY 157                                                                                                         MANSFIELD          TX   76063
UNIQUE CONVERSIONS, INC.            BRYON MITCHAMORE                    1502 HWY 157 NORTH                                                               MANSFIELD          TX   76063
UNIQUE CONVERSIONS, INC.
                                 09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                     Part 37 of 40 Pg 724 of 901
Name                             Address1                             Address2                     Address3            Address4                 City               State Zip
UNIQUE ERGO TOOLING              30534 SPYBROOK ST                                                                                              ROSEVILLE           MI 48066‐1423
UNIQUE ERGO TOOLING INC          30534 SPYBROOK ST                                                                                              ROSEVILLE           MI 48066‐1423
UNIQUE EXPRESSIONS               22050 WOODWARD AVE                   #1                                                                        FERNDALE            MI 48220‐2521
UNIQUE EXPRESSIONS LLC           22050 WOODWARD AVE                                                                                             FERNDALE            MI 48220‐2521
UNIQUE FAB/800 STAND             800 STANDARD PKWY                                                                                              AUBURN HILLS        MI 48326‐1415
UNIQUE FAB/ROCH HIL              300 W MCCARTER RD                                                                                              LA FAYETTE          GA 30728‐6489
UNIQUE FAB/ROCH HIL              800 STANDARD PKWY                                                                                              AUBURN HILLS        MI 48326‐1415
UNIQUE FABRICATING INC           1601 W HAMLIN RD                                                                                               ROCHESTER HILLS     MI 48309‐3312
UNIQUE FABRICATING INC           300 W MCCARTER RD                                                                                              LA FAYETTE          GA 30728‐6489
UNIQUE FABRICATING INC           RYAN FINNERTY                        UNIQUE FABRICATING SOUTH     300 W MCCARTER RD                            PARIS               TN 38242
UNIQUE FABRICATING INC ‐ PLT 1
UNIQUE FABRICATING INC ‐ PLT 1   300 W MCCARTER RD                                                                                              LA FAYETTE         GA    30728‐6489
UNIQUE FABRICATING INC ‐ PLT 1   RYAN FINNERTY                        UNIQUE FABRICATING SOUTH     300 W MCCARTER RD                            PARIS              TN    38242
UNIQUE FABRICATING INC ‐ PLT 1   RYAN FINNERTY X290                   1837 ENTERPRISE DRIVE                                                     ROSEVILLE          MI    48066
UNIQUE FABRICATING INC ‐ PLT 1   800 STANDARD PKWY                                                                                              AUBURN HILLS       MI    48326‐1415
UNIQUE FABRICATING, INC.         RYAN FINNERTY X290                   1837 ENTERPRISE DR                                                        ROCHESTER HILLS    MI    48309‐3802
UNIQUE HEATED PRODUCTS           22797 MACOMB INDUSTRIAL DR                                                                                     CLINTON TOWNSHIP   MI    48036‐1138
UNIQUE HEATED PRODUCTS INC       22797 MACOMB INDUSTRIAL DR                                                                                     CLINTON TOWNSHIP   MI    48036‐1138
UNIQUE HOME DELIVERY LLC         11060 O DELL RD                                                                                                FOWLERVILLE        MI    48836
UNIQUE LIMOUSINE                                                      1900 CROOKED HILL RD                                                                         PA    17110
UNIQUE MODEL INC                 2500 WALKER AVE NW                                                                                             GRAND RAPIDS       MI    49544‐1304
UNIQUE MODEL, INC.               2500 WALKER AVENUE NW                                                                                          GRAND RAPIDS       MI    49544
UNIQUE MODEL, INC.               ATTN: CORPORATE OFFICER/AUTHORIZED   2500 WALKER AVE NW                                                        GRAND RAPIDS       MI    49544‐1304
                                 AGENT
UNIQUE RESTAURANT CORPORATION    30100 TELEGRAPH RD STE 251                                                                                     BINGHAM FARMS      MI 48025‐5804
UNIQUE STEAKHOUSE, LLC           MATTHEW PRENTICE                     30100 TELEGRAPH RD STE 251                                                BINGHAM FARMS      MI 48025‐5804
UNIQUE TOOL/WINDSOR              1505 MORO DRIVE                      RR #1                                            WINDSOR ON N9A 6J3
                                                                                                                       CANADA
UNIQUE TRUCK & CAR WASH          ATT MIKE FISCHER                     2649 STONE RD                                                             EAST POINT         GA 30344‐5657
UNIQUE VACATIONS                 4950 SW 72 AVENUE                                                                                              MIAMI              FL 33155
UNIROPE LTD                      3070 UNIVERSAL DR                                                                     MISSISSAUGA ON L4X 2C8
                                                                                                                       CANADA
UNIROYAL/TROY                    3290 W. BIG BEAVER                                                                                             TROY               MI 48084
UNIS AUTO SALES, INC.            3000 GREEN GARDEN ROAD                                                                                         ALIQUIPPA          PA 15001
UNIS AUTO SALES, INC.            MITCHEL UNIS                         3000 GREEN GARDEN RD GREEN                                                ALIQUIPPA          PA 15001
                                                                      GARDEN PLAZA
UNIS AUTOMOTIVE GROUP,           MICHAEL UNIS                         21ST ST & SHEFFIELD RD                                                    ALIQUIPPA          PA 15001
INCORPORATED
UNIS, MARGARET A                 154 GORDHAM CT                                                                                                 SPRING HILL         FL   34609‐9202
UNIS, MARGARET A                 154 GORDHAM COURT                                                                                              SPRING HILL         FL   34609
UNISCAN INSTRUMENTS LTD          SIGMA HOUSE BURLOW ROAD              BUXTON DERBYSHIRE SK17 9JB                       UNITED KINGDOM GREAT
                                                                                                                       BRITAIN
UNISCAN INSTRUMENTS LTD          SIGMA HOUSE BURLOW ROAD                                                               BUXTON DERBYSHIRE GB
                                                                                                                       SK17 9JB GREAT BRITAIN
UNISEAL INC                      1800 W MARYLAND ST                                                                                             EVANSVILLE         IN    47712‐5338
UNISEAL INC                      1014 UHLHORN ST                      PO BOX 6288                                                               EVANSVILLE         IN    47710‐2734
UNISEAL INC                      1014 UHLHORN ST                                                                                                EVANSVILLE         IN    47710‐2734
UNISEAL RUBBER, INC.             MICHELLE DAMM                        1014 UHLHORN ST                                                           FAIRFIELD          OH    45014
UNISEAL, INC.                    KUESS ,TOM                           1800 W MARYLAND ST                                                        EVANSVILLE         IN    47712‐5338
UNISEAL, INC.                    1800 W MARYLAND ST                                                                                             EVANSVILLE         IN    47712‐5338
UNISEAL/ARNOLD                   2955 ARNOLD TENBROOK RD                                                                                        ARNOLD             MO    63010‐4716
UNISEAL/EVANSVIL                 PO BOX 6288                          1014 UNIHORN                                                              EVANSVILLE         IN    47719‐0288
                                 09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                      Part 37 of 40 Pg 725 of 901
Name                            Address1                             Address2                    Address3                    Address4                  City               State Zip
UNISEAL/EVANSVILLE              1800 W MARYLAND ST                                                                                                     EVANSVILLE          IN 47712‐5338
UNISHIPPERS                     UNISHIPPERS OF NEW YORK              PO BOX 232                                                                        WATERFORD           NY 12188‐0232
UNISIA JECS CORP                1370 ONNA                                                                                    JAPAN
UNISIA KYUSHU CORP              704‐1 TARUMI                                                                                 CHIKUJO‐GUN JP 871‐0913
                                                                                                                             JAPAN
UNISIA KYUSHU CORP.             JASON WALERSKI                       704‐1 TARUMI                                                                      LIVINGSTON         TN 38570
UNISIA MEX/LERMA                AV DEL PARQUE # 8                                                                            LERMA 52000 MEXICO
UNISIA MEXICANA S.A. DE C.V     ELIECER MONTESINAS                   AV DEL PARQUE #8                                        AUCKLAND NEW ZEALAND
UNISIA MEXICANA SA DE CV        AV DEL PARQUE 8                      09810 LERMA                                             LERMA 09810 MEXICO
UNISIA MEXICANA SA DE CV        AV DEL PARQUE #8                                                                             LERMA EM 52000 MEXICO
UNISIA NORTH AMERICA INC        34500 GRAND RIVER AVE                                                                                                  FARMINGTON HILLS   MI   48335‐3310
UNISIA OF GEORGIA CORP          JORGE ZILLALOBOS                     HITACHI UNISIA AUTOMOTIVE   1000 UNISIA DRIVE                                     SHREVEPORT         LA   71129
UNISIA OF GEORGIA CORP          1000 UNISIA DR                                                                                                         MONROE             GA   30655‐5379
UNISIA OF GEORGIA CORP          JORGE ZILLALOBOS                     1000 UNISIA DR              HITACHI UNISIA AUTOMOTIVE                             MONROE             GA   30655‐5379

UNISIA STEERING SYSTEMS INC     BRAD MASE                            HITACHI LIMITED             5750 MCEVER RD              TLAJOMULCO DE ZUNIGA JA
                                                                                                                             45640 MEXICO
UNISIA STEERING SYSTEMS INC     5750 MCEVER RD STE U                                                                                                   OAKWOOD            GA   30566‐3506
UNISIA/FARMINGTON HI            34500 GRAND RIVER AVE                HITACHI AUTO                                                                      FARMINGTN HLS      MI   48335‐3310
UNISOFT TECHNOLOGIES INC        3600 E WEST HWY STE 400                                                                                                HYATTSVILLE        MD   20782‐2014
UNISON CORP                     1601 WANDA ST                                                                                                          FERNDALE           MI   48220‐2022
UNISORB INC                     PO BOX 1000                                                                                                            JACKSON            MI   49204‐1000
UNISORB/JACKSON                 PO BOX 1000                                                                                                            JACKSON            MI   49204‐1000
UNISOURCE                       ATTN: CORPORATE OFFICER/AUTHORIZED   7472 COLLECTION CENTER DR                                                         CHICAGO            IL   60693‐0074
                                AGENT
UNISOURCE                       8195 LACKLAND RD STE A                                                                                                 SAINT LOUIS        MO 63114
UNISOURCE                       7472 COLLECTION CENTER DR                                                                                              CHICAGO            IL 60693‐0074
UNISOURCE                       PO BOX 90939                                                                                                           LONG BEACH         CA 90809‐0939
UNISOURCE CANADA INC            1505 SISE RD                                                                                 LONDON ON N6A 4E3
                                                                                                                             CANADA
UNISOURCE CANADA INC            C P 4200 SUCC ST LAURENT                                                                     ST LAURENT CANADA PQ
                                                                                                                             H4L 4Z4 CANADA
UNISOURCE CANADA INC            1475 COURTNEYPARK DR E                                                                       MISSISSAUGA ON L5T 2R1
                                                                                                                             CANADA
UNISOURCE CANADA INC            1505 SISE RD                         PO BOX 2245 STN B SISE RD                               LONDON ON N6A 4E3
                                                                                                                             CANADA
UNISOURCE CANADA INC
UNISOURCE WORLDWIDE INC         750 VISTA BLVD                                                                                                         SPARKS             NV   89434
UNISOURCE WORLDWIDE INC         12601 E 38TH AVE                     PO BOX 39250                                                                      DENVER             CO   80239‐3408
UNISOURCE WORLDWIDE INC         2828 TRADECENTER DR                                                                                                    CARROLLTON         TX   75007
UNISOURCE WORLDWIDE INC         525 N NELSON RD                      PO BOX 597                                                                        COLUMBUS           OH   43219‐2949
UNISOURCE WORLDWIDE INC         2828 TRACE CENTER DR #140                                                                                              CARROLLTON         TX   75007
UNISOURCE WORLDWIDE INC         8195 LACKLAND RD                                                                                                       SAINT LOUIS        MO   63114‐4525
UNISOURCE WORLDWIDE INC         222 W 63RD ST                        PO BOX 61118                                                                      SHREVEPORT         LA   71106‐2641
UNISOURCE WORLDWIDE INC         505 S WUTHERING HILLS DR             ADDR&NAME PER CSIDS 5\98                                                          JANESVILLE         WI   53546‐8309
UNISOURCE WORLDWIDE INC         9 CRYSTAL POND RD                                                                                                      SOUTHBOROUGH       MA   01772‐1758
UNISOURCE WORLDWIDE INC         7016 A C SKINNER PKWY                                                                                                  JACKSONVILLE       FL   32256‐6927
UNISOURCE WORLDWIDE INC         PO BOX 44182                                                                                                           JACKSONVILLE       FL   32231‐4182
UNISOURCE WORLDWIDE INC         330 STEVENS ST                                                                                                         JACKSONVILLE       FL   32254‐6605
UNISOURCE WORLDWIDE INC         2737 S ADAMS RD                                                                                                        ROCHESTER HILLS    MI   48309‐3102
UNISOURCE WORLDWIDE INC ‐ DAL   PO BOX 849089                                                                                                          DALLAS             TX   75284‐9089
UNISOURCE WORLDWIDE INC.        BARBARA MCLENNAN                     MIDWEST MARKETING AREA      5522 AURELIUS ROAD                                    TOMS RIVER         NJ   08755
                                        09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                          Part 37 of 40 Pg 726 of 901
Name                                   Address1                             Address2                         Address3        Address4               City              State Zip
UNISOURCE/COLUMBUS                     555 N. NELSON                                                                                                COLUMBUS           OH 43219
UNISOURCE/ROCHSTR HL                   2737 S ADAMS RD                      P.O. BOX 081880                                                         ROCHESTER HILLS    MI 48309‐3102
UNIST INC                              4134 36TH ST SE                                                                                              GRAND RAPIDS       MI 49512‐2903
UNISTAFF                               EARLE VAN DYKE                       671 E. BIG BEAVER                                                       TROY               MI 48083
UNISTAFF
UNISTAFF INC                           671 E BIG BEAVER RD STE 201                                                                                  TROY              MI 48083‐1422
UNISTAFF INC.                          671 E BIG BEAVER RD STE 201                                                                                  TROY              MI 48083‐1422
UNISTAR AIR CARGO                      11701 METRO AIRPORT CENTER DR STE                                                                            ROMULUS           MI 48174‐1418
                                       103
UNISTAR FEDERAL CREDIT UNION           500 MIDLAND AVE                                                                                              RYE               NY 10580‐3902
UNISTRUCTURAL SUPPORT SYSTEMS          1275 HILL SMITH DR                                                                                           CINCINNATI        OH 45215‐1228
UNISTRUCTURAL SUPPORT SYSTEMS LTD      ATTN: CORPORATE OFFICER/AUTHORIZED   1275 HILL SMITH DR                                                      CINCINNATI        OH 45215‐1228
                                       AGENT
UNISTRUT CENTRAL                       895 SANDY BEACH RD UNIT & 1                                                           PICKERING ON L1W 3N7
                                                                                                                             CANADA
UNISTRUT CENTRAL
UNISTRUT CENTRAL CANADA                895 SANDY BEACH RD                   UNIT 12 13                                       PICKERING CANADA ON
                                                                                                                             L1W 3N7 CANADA
UNISTRUT CINCINNATI                    1275 HILL SMITH DR                                                                                           CINCINNATI        OH    45215‐1228
UNISTRUT CINCINNATI                    2125 S KEYSTONE AVE                                                                                          INDIANAPOLIS      IN    46203‐4155
UNISTRUT CORP                          1265 HAMILTON PKWY                                                                                           ITASCA            IL    60143‐1335
UNISTRUT CORP                          2125 S KEYSTONE AVE                                                                                          INDIANAPOLIS      IN    45203‐4155
UNISTRUT DETROIT SERVICE CO.           4045 2ND ST                          PO BOX 458                                                              WAYNE             MI    48184‐1714
UNISTRUT DIVERSIFIED PRODUCTS          35660 CLINTON ST                                                                                             WAYNE             MI    48184‐2051
UNISTRUT INTERNATIONAL CORP            4205 ELIZABETH ST                                                                                            WAYNE             MI    48184‐2091
UNISTRUT PITTSBURGH SERVICE CO         1644 OLD BUTLER PLANK RD                                                                                     GLENSHAW          PA    15116
UNISTRUT SERVICE CO OF                 SAINT LOUIS                          11811 WESTLINE INDUSTRIAL DR                                            SAINT LOUIS       MO    63146‐3312
UNISTRUT SERVICE CO OF OH              24400 SPERRY DR                                                                                              WESTLAKE          OH    44145‐1565
UNISTRUT WISCONSIN                     2875 S CALHOUN RD                                                                                            NEW BERLIN        WI    53151‐3515
UNISYNC GROUP LTD                      1 RUTHERFORD CRT                                                                      GUELPH ON N1G 4N5
                                                                                                                             CANADA
UNIT #1 FEDERAL CREDIT UNION           ATTN: HEAD TELLER                    PO BOX 830                       55 STEVENS ST                          LOCKPORT          NY 14095‐0830
UNIT 82 JOINT VENTURE DBA              EAST 10 INDUSTRIAL COMM PARK         6935 COMMERCE AVE                                                       EL PASO           TX 79915‐1101
UNIT DRILLING, INC.                    WYMAN MATTHEWS                       7130 S LEWIS                                                            TULSA             OK 74136
UNIT FTT, INC. AS LESSOR               WILMINGTON TRUST AS OWNER TRUSTEE    WENDELL FENTON AS INDIVIDUAL
                                                                            TRUSTEE LESSEE
UNIT FTT, INC. AS LESSOR, WILMINGTON   AND WENDELL FENTON AS INDIVIDUAL
TRUST AS OWNER TRUSTEE                 TRUSTEE LESSEE

UNIT PARTS CO                          600 CORPORATION DRIVE                                                                                        PENDLETON          IN   46064
UNIT PARTS CO                          LYLE LODHOLTZ                        4600 SE 59TH ST                                  SEOUL KOREA (REP)
UNIT PARTS CO                          BOB HARRIS                           5455 CORPORATE DRIVE SUITE 116                                          TROY              MI 48098

UNIT PARTS/EDMOND                      3400 S KELLY AVE                                                                                             EDMOND            OK 73013‐3803
UNITA WILCOX                           3850 N 25TH ST APT 25                                                                                        TERRE HAUTE       IN 47805‐2954
UNITEC UNIVERSAL INC
UNITEC UNIVERSAL INC                   61 VILLARBOIT CRES                                                                    CONCORD ON L4K 4R2
                                                                                                                             CANADA
UNITECH ENG/MAD HGTS                   32661 EDWARD AVE                                                                                             MADISON HEIGHTS   MI    48071‐1448
UNITECH GRAPHICS/ANN                   1580 E ELLSWORTH RD                                                                                          ANN ARBOR         MI    48108‐2417
UNITED AGRI PRODUCTS                   PO BOX 1286                                                                                                  GREELEY           CO    80632‐1286
UNITED AIR SPECIALISTS                 UAS DETROIT                          1271 RANKIN DR                                                          TROY              MI    48083‐6007
                                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                           Part 37 of 40 Pg 727 of 901
Name                                   Address1                            Address2                 Address3                 Address4             City              State Zip
UNITED AIR SPECIALISTS INC             4440 CREEK RD                                                                                              CINCINNATI         OH 45242‐2802
UNITED AIR TEMP                                                            6538 LITTLE RIVER TPKE                                                                    VA 22312
UNITED AIR/CHATTNOGA                   PO BOX 3719                                                                                                CHATTANOOGA        TN 37404‐0719
UNITED AIRLINES                        PO BOX 55270A                                                                                              DETROIT            MI 48255‐0001
UNITED AIRLINES                        PO BOX 66140                                                                                               CHICAGO             IL 60666‐0140
UNITED AIRLINES                        PO BOX                                                                                                     WASHINGTON         DC 20041
UNITED AIRLINES MAINTENANCE CENTER     7700 SMITH/STAPLETON AIRPT                                                                                 DENVER             CO 80207

UNITED ALUMINUM CORP                   100 UNITED DR                                                                                              NORTH HAVEN       CT 06473‐3218
UNITED ALUMINUM CORPORATION            100 UNITED DR                                                                                              NORTH HAVEN       CT 06473‐3218
UNITED APPEAL CINCINNATI AREA          2400 READING RD                                                                                            CINCINNATI        OH 45202
UNITED ARAB SHIPPING CO (SAG)          EDWARD ALDRIDGE                     AL GRAMOUD ROAD                                   DUBAI UNITED ARAB
                                                                                                                             EMIRATES
UNITED ARAB SHIPPING CO SAG            MIDALIA MUSA                        511 SOUTH AVE E                                                        CRANFORD          NJ 07016‐3205
UNITED ARMORED SERVICES                2001 W CERMAK RD                                                                                           BROADVIEW         IL 60155‐4600
UNITED ARTISTS THEATRE CIRCUIT, INC.   9110 E NICHOLS AVE STE 200                                                                                 CENTENNIAL        CO 80112‐3451

UNITED AUTO CENTRE                     1425 CASTLEFIELD AVE.                                                                 TORONTO ON M6M 1Y3
                                                                                                                             CANADA
UNITED AUTO SALES & SERVICE            219 CONGRESS AVE                                                                                           WATERBURY         CT    06708‐3755
UNITED AUTO SALES OF UTICA             4994 COMMERCIAL DR                                                                                         YORKVILLE         NY    13495‐1103
UNITED AUTO SERVICE                    3290 QUEENS CHAPEL RD                                                                                      HYATTSVILLE       MD    20782‐3666
UNITED AUTO SUPPLY                     450 TRACY ST                                                                                               SYRACUSE          NY    13204‐2435
UNITED AUTO WORKER LOCAL 455           110 FLORENCE ST                                                                                            SAGINAW           MI    48602‐1202
UNITED AUTO WORKERS                    8000 E JEFFERSON AVE                                                                                       DETROIT           MI    48214‐3963
UNITED AUTO WORKERS                    ATTN: PAM DRAKE                     2510 W 4TH ST                                                          ONTARIO           OH    44906‐1293
UNITED AUTO WORKERS INTERNATIONAL      6881 INDUSTRIAL LOOP                                                                                       SHREVEPORT        LA    71129
OFFICE
UNITED AUTO WORKERS LOCAL 2166         6881 INDUSTRIAL LOOP                                                                                       SHREVEPORT         LA   71129
UNITED AUTO WORKERS LOCAL 2166         UNITED AUTO WORKERS INTERNATIONAL   6881 INDUSTRIAL LOOP                                                   SHREVEPORT         LA   71129
                                       OFFICE
UNITED AUTO WORKERS LOCAL 653          5260 WILLIAMS LAKE RD                                                                                      WATERFORD         MI    48329‐3556
UNITED AUTO WORKERS LOCAL 653          SPO DRAYTON PLAINS                  5260 WILLIAMS LAKE RD                                                  WATERFORD         MI    48329‐3556
UNITED AUTO WORKERS LOCAL 653          670 E WALTON BLVD                                                                                          PONTIAC           MI    48340‐1359
UNITED AUTO WORKERS UAW                ATTN: STEVE LEWIS                   2840 S MADISON AVE                                                     ANDERSON          IN    46016‐4941
UNITED AUTO WORKS REGION 9             35 GEORGE KARL BLVD STE 100                                                                                AMHERST           NY    14221‐7177
UNITED AUTO/MAD HGTS                   550 W. TWELVE MILE ROAD                                                                                    MADISON HEIGHTS   MI    48071
UNITED AUTOMOBILE                      ATTN: GENERAL COUNSEL               8000 E JEFFERSON AVE                                                   DETROIT           MI    48214‐3963
UNITED AUTOMOBILE                      ATTN: GENERAL COUNSEL               6881 INDUSTRIAL LOOP                                                   SHREVEPORT        LA
UNITED AUTOMOBILE AEROSPACE            ATTN: TITO BENITA                   5300 CHEVROLET BLVD                                                    CLEVELAND         OH    44130‐1472
UNITED AUTOMOBILE WORKERS              2120 BALTIMORE ST                                                                                          DEFIANCE          OH    43512‐1932
UNITED AUTOMOBILE WORKERS LOCAL        5000 E CENTENNIAL AVE                                                                                      MUNCIE            IN    47303‐9231
287
UNITED AUTOMOBILE, AEROSPACE           AND AGRICULTURAL IMPLEMENT WORKS    LOCAL #435               3404 OLD CAPITOL TRAIL                        WILMINGTON         DE 19808
                                       OF AMERICA
UNITED AUTOMOBILE, AEROSPACE           AND AGRICULTURAL IMPLEMENT          LOCAL NO.95              1795 LAFAYETTE ST                             JANESVILLE        WI 53546‐2844
                                       WORKERS OF AMERICA
UNITED AUTOMOBILE, AEROSPACE           AND AGRICULTURAL IMPLEMENT          LOCAL 95                 1795 LAFAYETTE ST                             JANESVILLE        WI 53546‐2844
                                       WORKERS OF AMERICA
UNITED AUTOMOBILE, AEROSPACE           AND AGRICULTURAL IMPLEMENT          1795 LAFAYETTE ST                                                      JANESVILLE        WI 53546‐2844
                                       WORKERS OF AMERICA, LOCAL 95
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                       Part 37 of 40 Pg 728 of 901
Name                                Address1                             Address2                 Address3                 Address4               City               State Zip
UNITED AUTOMOBILE, AEROSPACE,       AND AGRICULTURAL IMPLEMENT WORKS     3404 OLD CAPITOL TRAIL                                                   WILMINGTON          DE 19808
                                    OF AMERICA, LOCAL #435
UNITED AUTOMOBILE, AEROSPACE,       AND AGRICULTURAL IMPLEMENT WORKS     LOCAL #435               3404 OLD CAPITOL TRAIL                          WILMINGTON         DE 19808
                                    OF AMERICA
UNITED AUTOMOTIVE ELECTRONIC SYSTEM 555 RONGQIAO RD PUDONG NEW                                                             SHANGHAI CN 201206
                                    DISTRICT                                                                               CHINA (PEOPLE'S REP)
UNITED AUTOMOTIVE SERVICES          1145 W BARKLEY AVE                                                                                            ORANGE             CA   92868‐1212
UNITED AUTOMOTIVE TECH CENTER       308 1ST AVE N                                                                                                 FARGO              ND   58102‐4801
UNITED AUTOMOTIVE TECH CENTER       3232 28TH ST S                                                                                                FARGO              ND   58104‐5122
UNITED AUTOMOTIVE TECH CENTER #3    728 MEYER DR                                                                                                  WEST FARGO         ND   58078‐3393
UNITED BAY CITY CREDIT UNION        1309 N LINCOLN ST                                                                                             BAY CITY           MI   48708‐6172
UNITED BAY CMNTY CREDIT UNION       1309 N LINCOLN ST                                                                                             BAY CITY           MI   48708‐6172
UNITED BAY COMMUNITY CU             ATTN: GARY KLEIN                     PO BOX 160                                                               BAY CITY           MI   48707‐0160
UNITED BIBLE INSTITUTE OF UNITED    4805 N SAGINAW ST                                                                                             FLINT              MI   48505‐3510
THEOLOGICAL SEMINARY
UNITED BROADCASTING                 PO BOX 4223                                                                                                   BELLEVUE           WA   98009‐4223
UNITED BRONZ/FRM HIL                23688 RESEARCH DR                                                                                             FARMINGTON HILLS   MI   48335‐2621
UNITED BRONZE INC                   12885 WAYNE RD                                                                                                LIVONIA            MI   48150‐1244
UNITED BROTHERHOOD OF CARPENTERS MARIA SABATER                           395 HUDSON STREET                                                        NEW YORK           NY   10014
AND JOINERS OF AMERICA

UNITED BUILDERS SUPPLY                                                   38 KINGSTOWN RD                                                                             RI   02898
UNITED BUSINESS EQUIPMENT           514 PARK AVENUE WEST                 PO BOX 1333                                                              MANSFIELD          OH   44906
UNITED BUSINESS MEDIA PLC           3000 TOWN CTR STE 900                                                                                                            MI   48075‐1179
UNITED CAB                                                               1701 W CASS ST                                                                              FL   33606
UNITED CALIFORNIA DISCOUNT CORP     10787 MULBERRY AVE STE B                                                                                      FONTANA            CA   92337‐7072
UNITED CAPITAL CORP                 970 NEW DURHAM RD                                                                                             EDISON             NJ   08817‐2214
UNITED CAPITAL CORP                 ERIC DIMARTINO                       TECHNICAL PRODUCTS DIV   970 NEW DURHAM RD                               CLEVELAND          OH   44111
UNITED CAPITAL CORP                 9 PARK PL FL 4                                                                                                GREAT NECK         NY   11021‐5030
UNITED CAR CARE # 1                 15001 N DEL WEBB BLVD                                                                                         SUN CITY           AZ   85351‐2103
UNITED CAR CARE # 2                 12020 N 111TH AVE                                                                                             YOUNGTOWN          AZ   85363‐1339
UNITED CARPET/STERLI                35801 MOUND RD                                                                                                STERLING HEIGHTS   MI   48310‐4731
UNITED CARS                         SS 13 GMDAT                                                                            GMDAT PANAMA
UNITED CARS S.A.                    CALLE 50, #82 JUNTO A CANAL 13                                                         PANAMA CITY 5 PANAMA
UNITED CARTAGE CO INC               5785 E 500 S                                                                                                  MARION             IN 46953
UNITED CATALYSTS INC                1227 S 12TH ST                                                                                                LOUISVILLE         KY 40210‐1570
UNITED CATERERS (UCR)               ATTN: CORPORATE OFFICER/AUTHORIZED   1775 K ST NW                                                             WASHINGTON         DC 20006‐1228
                                    AGENT
UNITED CATERES INC.                                                      502 IDLEWILD RD                                                                             TX   75051
UNITED CEREBRAL PALSY ASSOC         1660 L ST NW STE 700                                                                                          WASHINGTON         DC   20036‐5638
UNITED CHECK CASHING COMPANY        104 PENN MART SHOPPING CTR                                                                                    NEW CASTLE         DE   19720‐4209
UNITED CHEM/ROSEMONT                9801 W HIGGINS RD STE 430                                                                                     ROSEMONT           IL   60018‐4725
UNITED CITIES GAS COMPANY
UNITED CLEANERS                     ATTN: SHIRLEY SMITH                  4001 DAVISON RD                                                          BURTON             MI 48509‐1492
UNITED CLINICS OF NT                PO BOX 881                                                                                                    BOWIE              TX 76230‐0881
UNITED COIN                         SCOTT FERGUSON                       600 POLIT RD #E                                                          LAS VEGAS          NV
UNITED COMM SVCS OF LEXINGTON AND   PO BOX 152                                                                                                    COLUMBIA           SC 29202‐0152
RICHMOND
UNITED COMMERCE BANK                ATTN: ANN FLINN                      923 5TH ST                                                               BEDFORD            IN 47421‐2205
UNITED COMMUNICATIONS CORP.         5800 7TH AVE.                                                                                                 KENOSHA            WI 53140‐4131
UNITED COMMUNICATIONS CORP.         5800 7TH AVE                                                                                                  KENOSHA            WI 53140‐4131
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                         Part 37 of 40 Pg 729 of 901
Name                               Address1                             Address2                       Address3   Address4         City                 State Zip
UNITED COMMUNITY CHEST OF PORTLAND PO BOX 524                                                                                      PORTLAND              MI 48875‐0524

UNITED COMMUNITY FEDERAL CREDIT    700 STUMBO RD                        PO BOX 2674                                                MANSFIELD            OH 44906‐1279
UNION
UNITED COMMUNITY FEDERAL CREDIT    700 STUMBO RD                                                                                   MANSFIELD            OH 44906‐1279
UNION
UNITED COMMUNITY SERVICS OF        12351 W 96TH TER STE 200                                                                        LENEXA                KS   66215‐4410
JOHNSON CO, KS, INC
UNITED CONCORDIA (UCCI)            MICHELLE CRENSHAW                    3250 W BIG BEAVER RD STE 127                               TROY                 MI 48084‐2902
UNITED CONCORDIA DENTAL PLANS OF   2000 TOWN CTR STE 2200               OF THE MIDWEST INC FMLY MIDA                               SOUTHFIELD           MI 48075‐1157
THE MIDWEST INC
UNITED CONTAINER CO                233 HAWTHORNE AVE                                                                               SAINT JOSEPH         MI    49085‐2613
UNITED CONTAINER COMPANY           233 HAWTHORNE AVE                                                                               SAINT JOSEPH         MI    49085‐2613
UNITED CONVEYOR                    3500 W 75TH ST                       PO BOX 8207                                                PRAIRIE VILLAGE      KS    66208‐4102
UNITED CONVEYOR                    1022 YORKSHIRE RD                                                                               GROSSE POINTE PARK   MI    48230‐1432
UNITED CONVEYOR CORP               2100 NORMAN DR S                                                                                WAUKEGAN             IL    60085‐6752
UNITED CONVEYOR CORP
UNITED CONVEYOR CORP               1022 YORKSHIRE RD                                                                               GROSSE POINTE PARK   MI    48230‐1432
UNITED CONVEYOR CORP               3500 W 75TH ST                       PO BOX 8207                                                PRAIRIE VILLAGE      KS    66208‐4102
UNITED COUNCIL OF CORVETTE CLUBS   16515 PLYMOUTH RD                                                                               DETROIT              MI    48227‐1034
UNITED CRANE RENTALS INC           PO BOX 8                                                                                        KENILWORTH           NJ    07033‐0008
UNITED DAIRY FARMERS               ATTN: DAVE STANZE                    1901 W STROOP RD                                           DAYTON               OH    45439‐2513
UNITED DELIVERY SERVICES INC       1305 JOHN SMALL AVE                                                                             WASHINGTON           NC    27889‐3842
UNITED DIRECTORIES YELLOW PAGES    PO BOX 53251                                                                                    ATLANTA              GA    30355‐1251
UNITED DISPATCH OF IOWA INC        PO BOX 241355                                                                                   OMAHA                NE    68124‐5355
UNITED DISTRIBUTORS, INC.          JAMES SHELLY                         5500 UNITED DISTRIBUTORS                                   SMYRNA               GA
UNITED DRILL BUSHING CORP          PO BOX 4250                                                                                     DOWNEY               CA    90241‐1250
UNITED DRILL BUSHING CORP          12200 WOODRUFF AVE                   PO BOX 4250                                                DOWNEY               CA    90241‐5608
UNITED ELECTRIC SUPP               PO BOX 85006340                                                                                 PHILADELPHIA         PA    19178‐0001
UNITED ELECTRIC SUPPLY             PO BOX 10287                         SOMERVELL INDUSTRIAL PARK                                  WILMINGTON           DE    19850‐0287
UNITED ELECTRIC SUPPLY CO INC      PO BOX 10287                         10 BELLECOR DR                                             WILMINGTON           DE    19850‐0287
UNITED EQUIP/FRANKLI               76 LAFAYETTE ST                                                                                 NASHVILLE            TN    37210‐3433
UNITED ERECTORS INC                9220 BELDING RD NE                                                                              ROCKFORD             MI    49341‐9435
UNITED EXPEDITED SERVICES CORP     DOUG FREDRICK                        25651 M DR N                                               ALBION               MI    49224‐8506
UNITED FAITH GENERAL BAPTIST       81 E HOWARD ST                                                                                  PONTIAC              MI    48342‐1439
UNITED FILTRATION SYSTEMS INC      6558 DIPLOMAT DR                                                                                STERLING HEIGHTS     MI    48314‐1420
UNITED FINANCIAL CREDIT UNION      PO BOX 618                                                                                      BRIDGEPORT           MI    48722‐0618
UNITED FOAM/DECATUR                1528 CHURCH ST SE                                                                               DECATUR              AL    35601‐2634
UNITED FOOD & COMMERCIAL WORKERS   DAVIS COWELL & BOWE LLP              100 VAN NESS AVE FL 20                                     SAN FRANCISCO        CA    94102‐5229

UNITED FOOD & COMMERCIAL WORKERS   SCARPULLA FRANCUS O LAW OFFICES OF   THE ALCOA BUILDING, ONE                                    SAN FRANCISCO        CA 94111
                                                                        MARITIME PLAZA SUITE 1040
UNITED FOOD & COMMERCIAL WORKERS   100 VAN NESS AVE FL 20                                                                          SAN FRANCISCO        CA 94102‐5229

UNITED FOOD & COMMERCIAL WORKERS   1 MARITIME PLZ STE 1040                                                                         SAN FRANCISCO        CA 94111‐3413

UNITED FOOD‐COMMERCIAL WORKERS     MS. BRENDA COFFEY                    1775 K ST NW                                               WASHINGTON           DC 20006‐1228

UNITED FUND                        7 BENJAMIN FRANKLIN PARKWAY                                                                     PHILADELPHIA         PA 19103
UNITED FUND OF                     EASTERN UNION COUNTY                 33 W GRAND ST                                              ELIZABETH            NJ 07202‐1410
UNITED FUND OF BROWARD COUNTY      1300 S ANDREWS AVE                                                                              FORT LAUDERDALE      FL 33316‐1838
                                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                             Part 37 of 40 Pg 730 of 901
Name                                  Address1                            Address2                           Address3        Address4               City               State Zip
UNITED FUND OF BUFFALO AND ERIE CTY   742 DELAWARE                                                                                                  BUFFALO             NY

UNITED FUND OF GREATER INDIANAPOLIS PO BOX 88409                                                                                                    INDIANAPOLIS        IN   46208‐0409

UNITED FUND OF MORRIS COUNTY          PO BOX 1948                                                                                                   MORRISTOWN         NJ    07962‐1948
UNITED FUND OF SAGINAW                100 S JEFFERSON AVE                                                                                           SAGINAW            MI    48607
UNITED GEAR & ASSEMBLY INC            1700 LIVINGSTONE RD                                                                                           HUDSON             WI    54016‐9365
UNITED GOVERNMENT SERVICES            MSP UNIT                            PO BOX 88981                                                              MILWAUKEE          WI    53288‐0001
UNITED GRINDING TECHNOLOGIES INC      PO BOX 633647                                                                                                 CINCINNATI         OH    45263‐3647
UNITED HEALTH CARE                    22703 NETWORK PL                                                                                              CHICAGO            IL    60673‐1227
UNITED HEALTH CARE                    JIM KAPRAL                          450 COLUMBUS BLVD                  PO BOX 150450                          HARTFORD           CT    06103‐1801
UNITED HEALTH/BIRMIN                  2160 HIGHLAND AVE S                                                                                           BIRMINGHAM         AL    35205‐4002
UNITED HEALTH/NEW YK                  ONE MADISON AVE.                                                                                              NEW YORK           NY    10010
UNITED HEALTHCARE AND BUNGE NORTH     INGENIX                             10701 WEST RESEARCH DRIVE WI030‐                                          WAUWATOSA          WI    53226
AMERICA                                                                   3550
UNITED HEALTHCARE CORP                601 BROOKER CREEK BLVD                                                                                        OLDSMAR            FL 34677‐2962
UNITED HEALTHCARE GROUP               JIM KAPRAL                          450 COLUMBUS BLVD                  PO BOX 150450                          HARTFORD           CT 06103‐1801
UNITED HEALTHCARE INSURANCE CO        4316 RICE LAKE RD                                                                                             DULUTH             MN 55811‐4012
UNITED HEALTHCARE INSURANCE CO        335A,532B D E F G I J K M           33A2 NM CHG 4\28\04 AM
MN015 2838
UNITED HEALTHCARE WORKERS UNION       GEORGE GRESHAM                      310 W 43RD ST                                                             NEW YORK            NY 10036‐6451
EAST 1199
UNITED HISPANIC AMERICANS INC         2424 FAIRFIELD AVE                                                                                            FORT WAYNE         IN    46807‐1211
UNITED HOME SUPPLY                    ATTN: GARY WEST                     3600 N EVERBROOK LN # C                                                   MUNCIE             IN    47304‐6371
UNITED ILLUMINATING CO                                                    801 BRIDGEPORT AVE                                                                           CT    06484
UNITED IMAGING & PRINTING CO          ATTN: CHRIS DONEGAN                 6493 RIDINGS RD # 107                                                     SYRACUSE           NY    13206‐1153
UNITED IMAGING CONSU                  PO BOX 219088                                                                                                 KANSAS CITY        MO    64121‐9088
UNITED INDUSTRIAL ENGINEERING CORP    1934 HEIDE DR                                                                                                 TROY               MI    48084‐5314

UNITED INTERMODE LLC                  1 UNITED DR                         CORR NM PER W9 1/04/07 CP                                                 FENTON             MO    63026‐2535
UNITED ISD                            3501 E SAUNDERS ST                                                                                            LAREDO             TX    78041‐5444
UNITED LABEL & PACKAGING              555 FOX HILLS DR N                                                                                            BLOOMFIELD HILLS   MI    48304‐1311
UNITED LASER INC                      4095 PRAIRIE HILL RD                                                                                          SOUTH BELOIT       IL    61080‐2518
UNITED LIFT TRUCK                     PO BOX 5948                                                                                                   CAROL STREAM       IL    60197‐5948
UNITED MACHINING INC                  6200 NIETEEN MILE RD                                                                                          STERLING HEIGHTS   MI    48314
UNITED MACHINING INC                  6300 18 1/2 MILE RD                                                                                           STERLING HEIGHTS   MI    48314‐3112
UNITED MACHINING INC.                 MIKE HARE                           6300 18 1/2 MILE ROAD                                                     DAYTON             OH    45420
UNITED MAINTENANCE CO INC             1550 S INDIANA AVE                                                                                            CHICAGO            IL    60605
UNITED MANUFACTURING NETWORK INC      19708 GLORIA DR                                                                                               MACOMB             MI    48044‐1299

UNITED MEAT & DELI                    PO BOX 10185                                                                                                  DETROIT             MI   48210‐0185
UNITED MECHANICAL                     11540 PLANO RD                                                                                                DALLAS              TX   75243‐5214
UNITED MEDICAL IMAGI                  PO BOX 491149                                                                                                 LOS ANGELES         CA   90049‐9149
UNITED MEMORIAL MED                   127 NORTH ST                                                                                                  BATAVIA             NY   14020‐1631
UNITED METAL PRODUCTS                 8101 LYNDON ST                                                                                                DETROIT             MI   48238‐2452
UNITED METAL PRODUCTS                 KIMBERLY DUPREY                     8101 LYNDON AVE                                                           ROCHESTER HILLS     MI   48309
UNITED METAL PRODUCTS CORP            8101 LYNDON ST                                                                                                DETROIT             MI   48238‐2452
UNITED METAL PRODUCTS CORP            KIMBERLY DUPREY                     8101 LYNDON AVE                                                           ROCHESTER HILLS     MI   48309
UNITED METAL TECHNOL                  144 W MONROE ST                                                                                               JACKSON             MI   49202‐2359
UNITED METAL TECHNOLOGY               144 W MONROE ST                                                                                               JACKSON             MI   49202‐2359
UNITED METAL TECHNOLOGY               CONNIE RULEWICZ X101                144 W. MONROE STREET                               DONG GUAN, 523946
                                                                                                                             CHINA (PEOPLE'S REP)
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                       Part 37 of 40 Pg 731 of 901
Name                               Address1                             Address2                           Address3     Address4                City           State Zip
UNITED METAL TECHNOLOGY INC        144 W MONROE ST                                                                                              JACKSON         MI 49202‐2359
UNITED METAL TECHNOLOGY, INC       CONNIE RULEWICZ X101                 144 W. MONROE STREET                            DONG GUAN, 523946
                                                                                                                        CHINA (PEOPLE'S REP)
UNITED METHODIST CHURCH            ATTN: FRANK JONES                    1314 W 10TH ST                                                          MUNCIE         IN 47302‐2260
UNITED MISSOURI BANK               FOR DEPOSIT IN THE ACCOUNT OF        928 GRAND BLVD                     B HERRMANN                           KANSAS CITY    MO 64106‐2008
UNITED MISSOURI BANK, N.A.         KATHLEEN MCCRATE                     205 E CHICAGO BLVD                 PO BOX 248                           TECUMSEH       MI 49286‐1548
UNITED MOBILE SDN. BHD.            NO. 29‐2 PLAZA SINAR; JALAN 6/38D;                                                   SEGAMBUT KUALA LUMPAR
                                   TAMAN SRI SINAR                                                                      51200 MALAYSIA
UNITED MOTORS LIMITED              427 SPANISH TOWN ROAD                                                                KINGSTON 11 JAMAICA
UNITED MOTORS, INC.                1405 N MILT PHILLIPS AVE                                                                                     SEMINOLE       OK   74868‐2327
UNITED MOTORS, INC.                EDWARD HUTCHINSON                    1405 N MILT PHILLIPS AVE                                                SEMINOLE       OK   74868‐2327
UNITED NATIONAL BANK & TRUST       JOSEPH F CASKEY JR TRUST             PO BOX 24190                                                            CANTON         OH   44701‐4190
UNITED NATIONAL BANK & TRUST       JOHN &VIRGINIA ROBERTSON TRUST       6101 W 130TH ST                                                         CLEVELAND      OH   44130‐1075
UNITED NEGRO COLLEGE FUND          3031 W GRAND BLVD STE 531                                                                                    DETROIT        MI   48202‐3008
UNITED NEGRO COLLEGE FUND          PO BOX 204                                                                                                   GRAND BLANC    MI   48480‐0204
UNITED NEGRO COLLEGE FUND          ATTN DONOR SERVICES DEPT             8260 WILLOW OAKS CORPORATE DR                                           FAIRFAX        VA   22031

UNITED NEGRO COLLEGE FUND          3737 N MERIDIAN ST STE 203                                                                                   INDIANAPOLIS   IN   46208‐4369
UNITED NEGRO COLLEGE FUND          ATTN RENITA TYSON                    3699 WILSHIRE BLVD STE 675                                              LOS ANGELES    CA   90010‐2739
UNITED NEGRO COLLEGE FUND          100 RENAISSANCE CTR                  MC 482‐A31‐A26 GEORGE JONES                                             DETROIT        MI   48265‐0001
UNITED NEGRO COLLEGE FUND INC      3031 W GRAND BLVD # 531                                                                                      DETROIT        MI   48202‐3008
UNITED NETWORK FOR ORGAN SHARING   700 N 4TH ST                         IN MEMORY OF RONALD F UPDYKE                                            RICHMOND       VA   23219‐1414

UNITED PACIFIC INDUSTRIES INC.     DAVID ODEGARD                        1751 E DEL AMO BLVD                                                     CARSON         CA 90746‐2938
UNITED PAINT & CHEMICAL CORP       24671 TELEGRAPH RD                                                                                           SOUTHFIELD     MI 48033‐3035
UNITED PARCEL SERVICE              29855 SCHOOLCRAFT RD                                                                                         LIVONIA        MI 48150‐2004
UNITED PARCEL SERVICE              ATTN JEAN RUSSELL                    77 FOUNDRY ST                                   MONCTON CANADA NB E1C
                                                                                                                        5H7 CANADA
UNITED PARCEL SERVICE
UNITED PARCEL SERVICE                                                   1050 BELL LN                                                            NOGALES        AZ   85648‐1600
UNITED PARCEL SERVICE                                                   9235 E VALLEY RD                                                                       AZ   86314
UNITED PARCEL SERVICE                                                   MOUNTAINVIEW RD.                                                                       CT   06795
UNITED PARCEL SERVICE                                                   670 DIVISION ST                                                                        PA   15801
UNITED PARCEL SERVICE                                                   ROUTE 2, BOX 222                                                                       AZ   85635
UNITED PARCEL SERVICE                                                   129 ONEIDA VALLEY RD                                                                   PA   16001
UNITED PARCEL SERVICE                                                   7600 AIRLINE RD                                                                        NC   27409
UNITED PARCEL SERVICE                                                   110 HERMOSA DR                                                                         AZ   86025
UNITED PARCEL SERVICE                                                   4745 E FINANCE WAY                                                                     AZ   86401
UNITED PARCEL SERVICE                                                   3150 N 31ST AVE                                                                        AZ   85017
UNITED PARCEL SERVICE                                                   2851 SOUTH 2 1/2 EAST                                                                  AZ   85365
UNITED PARCEL SERVICE                                                   LOT 16 DECKERS DR., FREEMONT CO.                                                       CO   81212
                                                                        AIRPORT
UNITED PARCEL SERVICE                                                   SERVICE ROAD                                                                           MA   01373
UNITED PARCEL SERVICE                                                   46877 US HIGHWAY 24                                                                    CO   80807
UNITED PARCEL SERVICE                                                   1825 STATE AVE                                                                         CO   81101
UNITED PARCEL SERVICE                                                   5 FREIGHT WAY                                                                          PA   16346
UNITED PARCEL SERVICE                                                   150 DONALD LN                                                                          PA   15904
UNITED PARCEL SERVICE                                                   3795 FRONTIER AVE                                                                      CO   80301
UNITED PARCEL SERVICE                                                   200 OAK HILL WAY                                                                       MA   02301
UNITED PARCEL SERVICE                                                   1975 E WILDERMUTH AVE                                                                  AZ   85281
UNITED PARCEL SERVICE                                                   3101 NEW BRUNSWICK RD                                                                  TN   38133
UNITED PARCEL SERVICE                                                   3675 SWINNEA RD                                                                        TN   38118
                        09-50026-mg       Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                     Part 37 of 40 Pg 732 of 901
Name                    Address1                  Address2                        Address3   Address4         City          State Zip
UNITED PARCEL SERVICE                             SOUTH AIRPORT FRONTAGE RD.                                                 NM 87801
UNITED PARCEL SERVICE   15 ARLINGTON ST                                                                       WATERTOWN      MA 02472‐5019
UNITED PARCEL SERVICE                             2971 CARRIER ST                                                            TN 38116
UNITED PARCEL SERVICE   8200 ALBAN RD                                                                         SPRINGFIELD    VA 22150‐2302
UNITED PARCEL SERVICE                             1 HOG ISLAND RD                                                            PA 19153
UNITED PARCEL SERVICE                             1016 N BRADLEY RD                                                          WA 99212
UNITED PARCEL SERVICE                             150 PLAN WAY                                                                RI 02886
UNITED PARCEL SERVICE                             355 E ARBY AVE                                                             NV 89119
UNITED PARCEL SERVICE                             2301 HIGHLAND AVE                                                          PA 18020
UNITED PARCEL SERVICE                             740 N MARTIN LUTHER KING BLVD                                              NV 89106

UNITED PARCEL SERVICE                             7TH STREET WEST & HWY 2                                                   MT   59538
UNITED PARCEL SERVICE                             2541 CAMINO ORTIZ                                                         NM   87501
UNITED PARCEL SERVICE                             INDUSTRIAL PKY                                                            VT   05819
UNITED PARCEL SERVICE                             911 EMORY CIR                                                             CO   80915
UNITED PARCEL SERVICE                             1201 W OLYMPIC BLVD                                                       CA   90015
UNITED PARCEL SERVICE                             2300 E HUNTINGTON DR                                                      AZ   86004
UNITED PARCEL SERVICE                             912 JOHN MARSHALL HWY                                                     VA   22630
UNITED PARCEL SERVICE                             204 6TH AVE                                                               CO   80631
UNITED PARCEL SERVICE                             1920 WESTLAND RD                                                          WY   82001
UNITED PARCEL SERVICE                             RIVERVIEW INDUSTRIAL LOT 2                                                WY   82633
UNITED PARCEL SERVICE                             13102 JAMES E CASEY AVE                                                   CO   80112
UNITED PARCEL SERVICE                             0771 MORRAND DR.                                                          CO   81601
UNITED PARCEL SERVICE                             7072 SALT CREEK HWY                                                       WY   82601
UNITED PARCEL SERVICE                             475 HIGHWAY 50                                                            WY   82718
UNITED PARCEL SERVICE                             5020 IVY ST                                                               CO   80022
UNITED PARCEL SERVICE                             GREGORY LANE                                                              WY   83001
UNITED PARCEL SERVICE                             157 N 2ND ST                                                              WY   82072
UNITED PARCEL SERVICE                             9TH & SAN JUAN                                                            CO   81230
UNITED PARCEL SERVICE                             83 BACO RD                                                                PA   16335
UNITED PARCEL SERVICE                             75 SMITH ST                                                               NY   11735
UNITED PARCEL SERVICE                             777 21 1/2 RD                                                             CO   81505
UNITED PARCEL SERVICE                             705 HUNT ST                                                               CO   81201
UNITED PARCEL SERVICE                             2603 W MAIN ST                                                            NM   87401
UNITED PARCEL SERVICE                             2405 ATLANTIC WAY SE                                                      NM   88030
UNITED PARCEL SERVICE                             2435 W TEXAS ST                                                           NM   88220
UNITED PARCEL SERVICE                             2401 COMANCHE RD NE                                                       NM   87107
UNITED PARCEL SERVICE                             1238 ASPEN AVE NW                                                         NM   87104
UNITED PARCEL SERVICE                             3530 N.W. SANDS                                                           NM   88310
UNITED PARCEL SERVICE                             1061 INDEPENDENCE RD                                                      CO   81082
UNITED PARCEL SERVICE                             228 SIERRA VISTA AVE                                                      CO   80751
UNITED PARCEL SERVICE                             116 GIRARD ST                                                             CO   81303
UNITED PARCEL SERVICE                             337 W. 4TH                                                                CO   80498
UNITED PARCEL SERVICE                             205 SPECULATOR AVE                                                        CO   81052
UNITED PARCEL SERVICE                             2900 GRANADA BLVD                                                         CO   81005
UNITED PARCEL SERVICE                             26400 E 75TH AVE                                                          CO   80249
UNITED PARCEL SERVICE                             1601 W MCKINLEY AVE                                                       CA   93728
UNITED PARCEL SERVICE                             657 FORBES BLVD                                                           CA   94080
UNITED PARCEL SERVICE                             715 S ATKINSON AVE                                                        NM   88203
UNITED PARCEL SERVICE                             1992 REVE4NUE BLVD.                                                       WY   82601
UNITED PARCEL SERVICE                             25957 OTERO AVE.                                                          CO   81050
UNITED PARCEL SERVICE                             2604 BOYD AVE # 17                                                        NM   87301
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                           Part 37 of 40 Pg 733 of 901
Name                                   Address1                         Address2                      Address3                 Address4               City                  State Zip
UNITED PARCEL SERVICE                                                   30010 W. HWY #40                                                                                     CO 80477
UNITED PARCEL SERVICE                                                   3205 WHITES CREEK PIKE                                                                               TN 37207
UNITED PARCEL SERVICE                                                   70 GOULD AVE                                                                                         NJ 07107
UNITED PARCEL SERVICE                                                   412 N 17TH ST                                                                                        NM 88005
UNITED PARCEL SERVICE                                                   2200 SUNSET DR                                                                                       WY 82901
UNITED PARCEL SERVICE                                                   899 E SILVERLAKE RD                                                                                  AZ 85713
UNITED PARCEL SERVICE                                                   EDINBURG ST.                                                                                         WY 82301
UNITED PARCEL SERVICE                                                   350 BREWSTER RD NEWARK                                                                               NJ 07114
                                                                        AIRPORT
UNITED PARCEL SERVICE                                                   753 MELROSE AVE                                                                                     TN   37211
UNITED PARCEL SERVICE                                                   251 LINCOLN ST                                                                                      CO   81625
UNITED PARCEL SERVICE                                                   500 CALLAHAN DR                                                                                     TN   37912
UNITED PARCEL SERVICE                                                   6601 EASTSIDE RD                                                                                    CA   96007
UNITED PARCEL SERVICE                                                   5016 N TOWNSEND AVE                                                                                 CO   81401
UNITED PARCEL SERVICE                                                   400 W 69TH ST                                                                                       CO   80538
UNITED PARCEL SERVICE                                                   230 GOLDEN ROD CT                                                                                   CO   80501
UNITED PARCEL SERVICE                                                   GATEWAY INTRNL PRK RT 300 S                                                                         NY   12553
UNITED PARCEL SERVICE ‐ JACKSONVILLE                                    4420 IMESON RD                NORTH FLORIDA DISTRICT                                                FL   32219

UNITED PARCEL SERVICE CANADA LTD       PO BOX 2127 CRO                                                                         HALIFAX NS B3J 3B7
                                                                                                                               CANADA
UNITED PARCEL SERVICE INC              12380 MORRIS RD                                                                                                ALPHARETTA            GA 30005‐4177
UNITED PARCEL SERVICE INC              2010 WARSAW RD                                                                                                 ROSWELL               GA 30076‐8845
UNITED PARCEL SERVICE INC              417 UNION PACIFIC BLVD           PO BOX 2489                                                                   LAREDO                TX 78045‐9428
UNITED PARCEL SERVICE INC              NO ADVERSE PARTY
UNITED PARCEL SERVICE INC.             BEN BUCKLEY                      55 GLENLAKE PKWY NE                                                           ATLANTA               GA 30328‐3474
UNITED PARCEL SERVICE OASIS SUPPLY     WARREN MOUNTS                    1400 N HURSTBOURNE PKWY                                                       LOUISVILLE            KY 40223‐4015
CORP.
UNITED PARCEL SERVICES INC             2010 WARSAW RD                                                                                                 ROSWELL               GA   30076‐8845
UNITED PERFORMANCE                     108 S LINDEN AVE                                                                                               SOUTH SAN FRANCISCO   CA   94080‐6409
UNITED PHOSPHORUS INC.                 JENNIFER DOUGLAS                 630 FREEDOM BUSINESS CENTER                                                   KING OF PRUSSIA       PA   19406
UNITED PIPE & STEEL CORP               1422 LOWELL ST                                                                                                 ELYRIA                OH   44035‐4867
UNITED PIPE & SUPPLY                   EDWARD KOLASINSKI                7600 SE JOHNSON CREEK RD.                                                     CLACKAMAS             OR
UNITED PIPING CORPORATION              PO BOX 2476                                                                                                    ANDERSON              IN   46018‐2476
UNITED PLANT GUARD WORKERS OF          PO BOX 72                        ATTN DENNIS CHURCH                                                            SWARTZ CREEK          MI   48473‐0072
AMERICA
UNITED PLANT GUARD WORKERS OF          PO BOX 260                                                                                                     CLINTON               MS 39060‐0260
AMERICA
UNITED PLAS/EL PASO                    11550 PELLICANO DR                                                                                             EL PASO               TX   79936‐6019
UNITED PLAS/MINNEAPO                   9300 52ND AVE N                                                                                                MINNEAPOLIS           MN   55428‐4022
UNITED PLAS/MT. AIRY                   511 HAY ST                       P.O. BOX 807                                                                  MOUNT AIRY            NC   27030‐5629
UNITED PLAST/MONTGMY                   4290 ALATEX RD                                                                                                 MONTGOMERY            AL   36108‐4867
UNITED PLASTIC COMPONENTS INC          143 THAMES ROAD EAST                                                                    EXETER CANADA ON N0M
                                                                                                                               1S3 CANADA
UNITED PLASTIC COMPONENTS INC          143 THAMES RD E                                                                         EXETER ON N0M 1S3
                                                                                                                               CANADA
UNITED PLASTICS GROUP                  9300 52ND AVE N                                                                                                JACKSONVILLE          NC   28546
UNITED POSTAL SERVICE                  CMR TMS #144454                  PO BOX 527                                                                    CAROL STREAM          IL   60132‐0527
UNITED POWER & BATTERY CORP            260 S RARITAN ST                                                                                               DENVER                CO   80223‐1745
UNITED POWER & BATTERY CORP            260 S RARITAN ST                                                                                               DENVER                CO   80223‐1745
ACCOUNTING
UNITED PRECISION PRODS.CO.INC.         LISA SALWA                       25040 VAN BORN RD                                                             DEARBORN HEIGHTS      MI 48125‐2008
                                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                            Part 37 of 40 Pg 734 of 901
Name                                   Address1                            Address2                       Address3                  Address4             City              State Zip
UNITED PRECISION PRODUCTS CO           LISA SALWA                          25040 VAN BORN ROAD                                                           PLYMOUTH           MI
UNITED PROMOTIONS                      7599 KENNEDY RD                                                                              MARKHAM ON L3R 0L8
                                                                                                                                    CANADA
UNITED PROPANE GAS COMPANY             PO BOX 2450                                                                                                       PADUCAH           KY    42002‐2450
UNITED PROPANE GAS COMPANY             PO BOX 42002                                                                                                      PADUCAH           KY    42002
UNITED PROPANE GAS COMPANY             DAN WALSH                           PO BOX 2450                                                                   PADUCAH           KY    42002‐2450
UNITED PROPERTIES                      8400 NORMANDALE LAKE BLVD STE 320                                                                                 MINNEAPOLIS       MN    55437‐1069
UNITED PROPERTIES INVESTMENT           CO C\O FRANK J DUTKE                3500 W 80TH ST STE 100                                                        BLOOMINGTON       MN    55431‐1090
UNITED PROPERTIES NORMANDALE LK        PO BOX 1450                                                                                                       MINNEAPOLIS       MN    55485‐1450
UNITED RADIO INC                       AUTOMOTIVE DIVISION                 5705 ENTERPRISE PKWY                                                          EAST SYRACUSE     NY    13057‐2905
UNITED REFINING COMPANY                KENT HUDSON                         15 BRADLEY ST                                                                 WARREN            PA    16365‐3224
UNITED REFRACTORIES CO                 264 VALLEYBROOK RD                                                                                                MCMURRAY          PA    15317‐3256
UNITED REFRIGERATION                   8901 CITATION RD                                                                                                  BALTIMORE         MD    21221‐3104
UNITED REFRIGERATION INC               985 JOYCE AVE                                                                                                     COLUMBUS          OH    43219‐2446
UNITED REG HCS                         1600 8TH ST                                                                                                       WICHITA FALLS     TX    76301‐3108
UNITED REMC                            PO BOX 605                                                                                                        MARKLE            IN    46770‐0605
UNITED RENOVATIONS                     2399 MIDWAY RD                                                                                                    CARROLLTON        TX    75006‐2521
UNITED RENTALS                                                             3665 MARKET ST                                                                                  CA    93003
UNITED RENTALS HIGHWAY TECH            3116 S ROOSEVELT ST                                                                                               TEMPE             AZ    85282‐2008
UNITED RENTALS INC                     3515 TRAILER DR                     LOCATION #395                                                                 CHARLOTTE         NC    28269‐4401
UNITED RENTALS INC                     620 ECKEL RD                        PO BOX 240                                                                    PERRYSBURG        OH    43551‐1202
UNITED RENTALS INC                     12000 28 MILE RD                                                                                                  UTICA             MI    48315‐2612
UNITED RENTALS INC                     12000 23 MILE RD                                                                                                  UTICA             MI    48315‐2612
UNITED RENTALS NORTH AMERICA INC       PO BOX 19633A                                                                                                     NEWARK            NJ    07195‐0633
UNITED RENTALS, INC.                   LOUIS WILLIAMS                      6125 LAKEVIEW ROAD                                                            CHARLOTTE         NC    28269
UNITED RESEARCH & DEVELOPMENT          55/1 LENINSKY PROSPEKT STR 2                                                                 MOSCOW RU 119333
                                                                                                                                    RUSSIAN FEDERATION
UNITED RESEARCH & DEVELOPMENT CTR      55/1 LENINSKY PROSPEKT STR 2                                                                 MOSCOW RU 119333
                                                                                                                                    RUSSIAN FEDERATION
UNITED RICHTER ELECTRIC MOTORS         106 MICHIGAN AVE                                                                                                  BUFFALO            NY   14204‐2111
UNITED RICHTER ELECTRICAL MOTO         106 MICHIGAN AVE                                                                                                  BUFFALO            NY   14204‐2111
UNITED RICHTER ELECTRICAL MOTORS       106 MICHIGAN AVE                                                                                                  BUFFALO            NY   14204‐2111
UNITED ROAD                            DAVID LARSON, VP                    10701 MIDDLEBELT RD                                                           ROMULUS            MI   48174‐2714
UNITED ROAD                            10701 MIDDLEBELT RD                                                                                               ROMULUS            MI   48174‐2714
UNITED RURAL ELECTRIC MEMBERSHIP       DIRECTOR OF RETAIL REAL ESTATE      485 W MILWAUKEE ST             9TH FLOOR, ARGONAUT ôAö                        DETROIT            MI   48202‐3220
CORP                                                                                                      BUILDING
UNITED SALES & SERVICES                33006 7 MILE RD PMB 502             GST ADDED 02/24/06 AH                                                         LIVONIA            MI 48152‐1358
UNITED SALES & SERVICES INC
UNITED SALES & SERVICES INC            32549 SCHOOLCRAFT RD                33006 W 7 MILE RD PMB 502                                                     LIVONIA           MI    48150‐4307
UNITED SALES/LIVONIA                   32549 SCHOOLCRAFT RD                                                                                              LIVONIA           MI    48150‐4307
UNITED SCRAP LEAD PRP GROUP            A DONATELLI ATLAS LEDERER CO        9515 WOODLAND AVE                                                             CLEVELAND         OH    44104‐2413
UNITED SCRAP METAL                     3119 PAYSPHERE CIR                                                                                                CHICAGO           IL    60674‐0031
UNITED SCRAP METAL CO INC              1545 S CICERO AVE                                                                                                 CHICAGO           IL    60804‐1529
UNITED SEATING & MOBILITY              MARY HAWKINS                        13312 LAKEFRONT DR                                                            EARTH CITY        MO    63045‐1513
UNITED SENSOR CORP                     3 NORTHERN BLVD                                                                                                   AMHERST           NH    03031
UNITED SITE SERVICES OF MARYLAND INC   PO BOX 677                                                                                                        WALDORF           MD    20604‐0677

UNITED SOLUTIONS INC                   7455 NEWMAN BLVD                                                                                                  DEXTER            MI    48130‐1558
UNITED SPINAL ASSOCIATION              75‐20 ASTORIA BLVD                                                                                                JACKSON HEIGHTS   NY    11370
UNITED STARS INC                       1546 HENRY AVE                                                                                                    BELOIT            WI    53511‐3668
UNITED STATE DISTRICT COURT            NORTHERN DISTRICT OF OHIO           CARL B STROKES US COURTHOUSE   801 WEST SUPERIOR AVE                          CLEVELAND         OH    44113
                                     09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                           Part 37 of 40 Pg 735 of 901
Name                                 Address1                           Address2                         Address3                   Address4         City            State Zip
UNITED STATED DEPARTMENT OF THE      ATTN: ASSISTANT GENERAL COUNSEL    1500 PENNSYLVANIA AVE NW RM                                                  WASHINGTON       DC 20220‐0001
TREASURY                             (BANKING AND FINANCE)              2312
UNITED STATES
UNITED STATES ADVANCED BATTERY       1000 TOWN CENTER DR.               SUITE 300                                                                    SOUTHFIELD      MI
CONSORTIUM LLC
UNITED STATES ARBITRATION &          25505 W 12 MILE RD STE 2713                                                                                     SOUTHFIELD      MI 48034
MEDIATION OF MICHIGAN INC
UNITED STATES ATTORNEY               ACCT OF GLENN JETT                 231 W. LAFAYETTE, 817 FED BLDG                                               DETROIT         MI 48226
UNITED STATES ATTORNEY               FOR THE SOUTHERN DISTRICT OF NEW   ATTN: NATALIE KUEHLER, ESQ., AND 86 CHAMBERS STREET, 3RD                     NEW YORK        NY 10007
                                     YORK                               DAVID S. JONES, ESQS.            FLOOR
UNITED STATES ATTORNEY'S OFFICE      ATTN: CLAIMS UNIT ‐ ROOM 417       ONE ST. ANDREWS PLAZA                                                        NEW YORK        NY 10007
UNITED STATES AUTO CLUB INC          ATTN MICHELLE BECK                 4910 W 16TH ST                   PO BOX 24001                                SPEEDWAY        IN 46224‐5703
UNITED STATES AUTOMOBILE
ASSOCIATION
UNITED STATES AUTOMOTIVE MATERIALS 1000 TOWN CENTER DR.                 SUITE 300                                                                    SOUTHFIELD      MI
PARTNERSHIPS LLC
UNITED STATES AVIATION UNDERWRITERS
INC
UNITED STATES BAKERY                KEN WALTOS                          PO BOX 14769                                                                 PORTLAND        OR 97293‐0769
UNITED STATES BANKRUPTCY COURT      SOUTHERN DISTRICT OF NEW YORK       THE HONORABLE ROBERT E GERBER ONE BOWLING GREEN                              NEW YORK        NY 10004‐1408

UNITED STATES BRASS & COPPER         1401 BROOK DR STE A                                                                                             DOWNERS GROVE   IL 60515‐1089
UNITED STATES BRASS & COPPER C       1401 BROOK DR STE A                                                                                             DOWNERS GROVE   IL 60515‐1089
UNITED STATES CAPITOL HISTORICAL     200 MARYLAND AVE NE                                                                                             WASHINGTON      DC 20002
SOCIETY
UNITED STATES CAPITOL POLICE                                            67 K ST SW                                                                                   DC 20024
UNITED STATES CARGO & COURIER        1300 ALUM CREEK DR                                                                                              COLUMBUS        OH 43209‐2705
SERVICE INC
UNITED STATES CLIMATE PARTNERSHIP    1155 15TH ST NW STE 500                                                                                         WASHINGTON      DC 20005‐2725
ASSOCIATION
UNITED STATES COACHWORKS             ATTN MR JOHN GORE                  35 CARLOUGH RD                                                               BOHEMIA         NY 11716
UNITED STATES COMMITTEE FOR          UNICEF                             333 EAST 38TH STREET                                                         NEW YORK        NY 10016
UNITED STATES COUNCIL FOR            1050 WILSHIRE DR STE 115                                                                                        TROY            MI 48084‐1526
AUTOMOTIVE RESEARCH
UNITED STATES COUNCIL FOR            1000 TOWN CENTER DR.               SUITE 300                                                                    SOUTHFIELD      MI
AUTOMOTIVE RESEARCH LLC
UNITED STATES DEPARTMENT OF          EDWARD HOGBERG                     1400 INDEPENDENCE AVE SW STE                                                 WASHINGTON      DC 20250‐0002
AGRICULTURE                                                             1448
UNITED STATES DEPARTMENT OF ENERGY   MR. DAVID K. GARMAN                ENERGY EFFICIENCY AND            1000 INDEPENDENCE AVE SW                    WASHINGTON      DC 20585‐0001
                                                                        RENEWABLE ENERGY                 (EE‐1)
UNITED STATES DEPARTMENT OF ENERGY   THE HONORABLE DR. SAMUEL BODMAN,   1000 INDEPENDENCE AVE SW # 5‐1                                               WASHINGTON      DC 20585‐0001
                                     SECRETARY OF ENERGY
UNITED STATES DEPARTMENT OF THE      ATTN: ASSISTANT GENERAL COUNSEL    1500 PENNSYLVANIA AVE NW RM                                                  WASHINGTON      DC 20220‐0001
TREASURY                             (BANKING AND FINANCE)              2312
UNITED STATES DEPARTMENT OF THE      1500 PENNSYLVANIA AVE NW                                                                                        WASHINGTON      DC 20220‐0001
TREASURY
UNITED STATES DEPARTMENT OF THE      ATTN: GENERAL COUNSEL              1500 PENNSYLVANIA AVE NW                                                     WASHINGTON      DC 20229‐0003
TREASURY
UNITED STATES DEPARTMENT OF THE      ATTN: ASSISTANCE GENERAL COUNSEL   1500 PENNSYLVANIA AVE NW RM                                                  WASHINGTON      DC 20220‐0001
TREASURY                             (BANKING AND FINANCE)              2312
UNITED STATES DEPT OF JUSTICE        ACCT OF PETTUS JOHNSON             PO BOX 198558                                                                ATLANTA         GA 30384‐8558
UNITED STATES DEPT OF JUSTICE        ACCT OF DELORIS M GRAY/WILSON      PO BOX 198558                                                                ATLANTA         GA 30384‐8558
                                        09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                      Exhibit B
                                                                             Part 37 of 40 Pg 736 of 901
Name                                  Address1                               Address2                        Address3                    Address4                 City               State Zip
UNITED STATES DEPT OF LABOR OFFICE OF 485 US HIGHWAY 1 S BLDG E              WOODBRIDGE CORPORATE PLAZA                                                           ISELIN              NJ 08830‐3009
APPRENTICESHIP
UNITED STATES DEPT. OF JUSTICE        ATTN: ERIC H. HOLDER, JR., ATTORNEY    950 PENNSYLVANIA AVENUE, NW                                                          WASHINGTON         DC 20530
                                      GENERAL
UNITED STATES DEPT. OF JUSTICE        ATTN: ANTI‐TRUST DIVISION              950 PENNSYLVANIA AVENUE, NW                                                          WASHINGTON         DC 20530

UNITED STATES DISTRICT CLERK           ACCT OF PATRICE WHITE‐JOHNSON         231 W LAFAYETTE                                                                      DETROIT            MI 48226
UNITED STATES DISTRICT COURT           SOUTHERN DISTRICT OF NEW YORK         THE HON. NAOMI REICE BUCHWALD 500 PEARL STREET                                       NEW YORK           NY 10007‐1312

UNITED STATES DISTRICT COURT           SOUTHERN DISTRICT OF NEW YORK         THE HON. LEWIS A. KAPLAN     500 PEARL STREET                                        NEW YORK           NY 10007‐1312
UNITED STATES DISTRICT COURT           SOUTHERN DISTRICT OF NEW YORK         THE HON. PAUL A. CROTTY      500 PEARL STREET                                        NEW YORK           NY 10007‐1312
UNITED STATES DISTRICT COURT           SOUTHERN DISTRICT OF NEW YORK         THE HONORABLE ROBERT W SWEET UNITED STATES DISTRCT          500 PEARL STREET         NEW YORK           NY 10007‐1312
                                                                                                          JUDGE
UNITED STATES DRILL HEAD COMPANY       5298 RIVER RD                         CC LAKEVIEW MACHINERY                                                                CINCINNATI         OH 45233‐1643
UNITED STATES ENVIRONMENTAL            PROTECTION AGENCY                     611 WOODWARD AVE             K W ZANK\TRUST DIV A\C                                  DETROIT            MI 48226‐3408
UNITED STATES ENVIRONMENTAL            BRIDGET SHEA                          1200 PENNSYLVANIA AVE NW                                                             WASHINGTON         DC 20460‐0001
PROTECTION AGENCY
UNITED STATES FILTER CORPORATION       GENERAL COUNSEL                       40004 COOK ST                                                                        PALM DESERT        CA   92211‐3299
UNITED STATES FILTER CORPORATION       184 SHUMAN BLVD STE 450                                                                                                    NAPERVILLE         IL   60563‐8323
UNITED STATES FILTER CORPORATION       DEBORAH M. NEWELL                     THORN HILL ROAD                                                                      WARRENDALE         PA   15086
UNITED STATES GYPSUM CO                1255 RARITAN RD                                                                                                            CLARK              NJ   07066‐1257
UNITED STATES GYPSUM COMPANY           ROBERT B. COOPER                      125 SOUTH FRANKLIN ST.                                                               CHICAGO            IL   60606
UNITED STATES INDUSTRY COALITION       1525 WILSON BLVD STE 150                                                                                                   ARLINGTON          VA   22209‐2438
UNITED STATES INFRASTRUCTURE           PHIL SAMUELSON                        13085 HAMILTON CROSSING BLVD.                                                        CARMEL             IN   46032
CORPORATION
UNITED STATES INTERNATIONAL            10455 POMERADO RD                     OFFICE OF STDNT ACCTS                                                                SAN DIEGO          CA 92131‐1717
UNIVERSITY
UNITED STATES MARINE CORPS/MARINE      814 RADFORD BLVD # 20317                                                                                                   ALBANY             GA 31704‐1130
CORPS LOGISTICS BASE

UNITED STATES MARINE CORPS/MARINE      814 RADFORD STE 20137                                                                                                      ALBANY             GA 31704‐1130
CORPS LOGISTICS BASE

UNITED STATES OF AMERICA               C/O UNITED STATES ATTORNEY'S OFFICE   NATALIE N KUEHLER, AUSA         86 CHAMBERS ST 3RD FLOOR                             NEW YORK           NY 10007

UNITED STATES OF AMERICA               O/B/O DEPARTMENT OF THE TREASURY      C/O AUSAS NATALIE N KUEHLER/    US ATTORNEY'S OFFICE SDNY   86 CHAMBER ST 3RD FLOOR NEW YORK            NY 20007
                                                                             DAVID S JONES
UNITED STATES OF AMERICA               O/B/O DEPARTMENT OF THE TREASURY      C/O AUSAS N N KUEHLER/D S JONES US ATTORNEY'S OFFICE SDNY   86 CHAMBERS ST 3RD       NEW YORK           NY 20007
                                                                                                                                         FLOOR
UNITED STATES OF AMERICA D/B/A DEPT    C/O AUSAS MATTHEW SCHWARTZ/DAVID S 86 CHAMBERS ST 3RD FL                                                                   NEW YORK           NY 10007
OF THE TREASURY                        JONES
UNITED STATES OF AMERICA O/B/A DEPT    C/O AUSAS MATTHEW SCHWARTZ/DAVID S 86 CHAMBERS ST 3RD FL                                                                   NEW YORK           NY 10007
OF THE TREASURY                        JONES
UNITED STATES OF AMERICA O/B/O         C/O AUSA'S MATTHEW SCHWARTZ/DAVID US ATTORNEY'S OFFICE SDNY           86 CHANBERS ST 3RD FL                                NEW YORK           NY 10007
DEPARTMENT OF THE TREASURY             S JONES
UNITED STATES OF AMERICA, ACTING BY    THROUGH THE SECRETARY OF THE ARMY
AND
UNITED STATES OF AMERICA, ACTING BY    THE SECRETARY OF THE ARMY
AND THROUGH
UNITED STATES OLYMPIC COMMITTEE        1 OLYMPIC PLZ                                                                                                              COLORADO SPRINGS   CO 80909‐5780
UNITED STATES OLYMPIC COMMITTEE        DAVE BULLOCK                          1 OLYMPIC PLAZE                                                                      COLORADO SPRINGS   CO
UNITED STATES PLASTICS CORP            1390 NEUBRECHT RD                                                                                                          LIMA               OH 45801‐3120
                                      09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                                           Part 37 of 40 Pg 737 of 901
Name                                 Address1                             Address2                      Address3                  Address4             City               State Zip
UNITED STATES POST OFFICE            ATTN ACCOUNT DEPT                    670 NORTHLAND BLVD                                                           CINCINNATI          OH 45240‐3214
UNITED STATES POSTAL SERVICE         2400 TEXAS AVE                                                                                                    SHREVEPORT          LA 71102
UNITED STATES POSTAL SERVICE         CMR‐TMS NO 169350                    PO BOX 0527                                                                  CAROL STREAM         IL 60132‐0527
UNITED STATES POSTAL SERVICE         475 L'ENFANT PLAZA ROOM 7142                                                                                      WASHINGTON          DC 20260
UNITED STATES POSTAL SERVICE
UNITED STATES POSTAL SERVICE         RUTH L. GOTTLIEB                     8 GRIFFIN RD. NORTH                                                          WINDSOR            CT   06095
UNITED STATES POSTAL SERVICE         1001 EAST SUNSET ROAD                                                                                             LAS VEGAS          NV   89199
UNITED STATES POSTAL SERVICE         1591 DALTON                                                                                                       CINCINNATI         OH   45234
UNITED STATES POSTAL SERVICE         400 T ST NE                                                                                                       WASHINGTON         DC   20002‐1510
UNITED STATES POSTAL SERVICE         435 S SAINT CLAIR ST                                                                                              TOLEDO             OH   43601‐0100
UNITED STATES POSTAL SERVICE         4949 E. VAN BUREN STREET                                                                                          PHOENIX            AZ   85026
UNITED STATES POSTAL SERVICE         918 NW PARK AVE                                                                                                   PORTLAND           OR   97209‐3400
UNITED STATES POSTAL SERVICE                                              1961 N C ST                                                                                     CA   93036
UNITED STATES POSTAL SERVICE                                              314 EVA ST                                                                                      MN   55107
UNITED STATES POSTAL SERVICE                                              2510 MONTEREY ST                                                                                CA   90503
UNITED STATES POSTAL SERVICE                                              6771 WARNER AVE                                                                                 CA   92647
UNITED STATES POSTAL SERVICE                                              1501 S CHERRYBELL STRA                                                                          AZ   85726
UNITED STATES POSTAL SERVICE                                              1001 E SUNSET RD                                                                                NV   89119
UNITED STATES POSTAL SERVICE                                              1112 RIVERFRONT PKWY                                                                            TN   37402
UNITED STATES ROOFING CORP           1000 E MAIN ST                                                                                                    NORRISTOWN         PA   19401‐4108
UNITED STATES SECRET SERVICE                                              245 MURRAY DR SW BLDG 410     ANACOSTIA NAVAL ANNEX,                                            DC   20373
                                                                                                        BLDG. 411
UNITED STATES SHIPPERS                PO BOX 966                                                                                                       EDMONDS            WA   98020‐0966
UNITED STATES STEEL CORP              5850 NEW KING CT                                                                                                 TROY               MI   48098‐2692
UNITED STATES STEEL CORP              600 GRANT ST                                                                                                     PITTSBURGH         PA   15219
UNITED STATES STEEL CORP              600 GRANT ST                        PO BOX 267                                                                   PITTSBURGH         PA   15219
UNITED STATES STEEL CORP              PAT HARTIGAN                        5260 S HAGGERTY RD                                                           CANTON             MI   48188‐2775
UNITED STATES STEEL CORP              PO BOX 7310                                                                                                      CHICAGO            IL   60680‐7310
UNITED STATES STEEL CORPORATION       600 GRANT ST STE 1344                                                                                            PITTSBURGH         PA   15219‐2753
UNITED STATES STEEL CORPORATION       ATTN: GREGG SCHMIDT                 600 GRANT STREET              ROOM 1344                                      PITTSBURGH         PA   15219
UNITED STATES STEEL CORPORATION       CAM OR SITE EXTENDED GROUP (SEE     C/O DENNIS REIS, BRIGGS AND   80 S EIGHTH ST STE 2200                        MINNEAPOLIS        MN   55402
MEMBER                                ATTACH 1)                           MORGAN
UNITED STATES STEEL CORPORATION (USS) ATTN: JOHN J. NEELY                 SENIOR COUNSEL ‐ COMMERCIAL   LAW DEPARTMENT            600 GRANT ST         PITTSBURGH          PA 15219‐2800

UNITED STATES STEEL CORPORATION ‐    ATTN: JOE LAPORTE                    400 STATE ST                                                                 CLAIRTON            PA 15025‐1855
CLAIRTON WORKS
UNITED STATES SUGAR CORP             111 PONCE DE LEON AVE                                                                                             CLEWISTON          FL   33440‐3032
UNITED STATES SUGAR CORP                                                  111 PONCE DE LEON AVE         C/O PAM KELLEY                                                    FL   33440
UNITED STATES TECHNICAL SERVICES     16541 GOTHARD ST STE 214                                                                                          HUNTINGTON BEACH   CA   92647‐4436
UNITED STATES TREASURY               DOT/NHTSA/NPO‐320                    1200 NEW JERSEY AVE SE                                                       WASHINGTON         DC   20590‐0001
UNITED STATES TREASURY
UNITED STATES TREASURY               INTERNAL REVENUE SERVICE                                                                                          PHILADELPHIA       PA   19255‐0039
UNITED STATES TREASURY US EPA        PO BOX 979077                                                                                                     SAINT LOUIS        MO   63197‐9000
UNITED STATES WELDING INC            600 S SANTA FE DR                                                                                                 DENVER             CO   80223‐2403
UNITED STATES/HOBOKN                 1415 PARK AVE                                                                                                     HOBOKEN            NJ   07030‐3416
UNITED STATES/LOS AN                 5555 TELEGRAPH RD                                                                                                 COMMERCE           CA   90040‐1511
UNITED STATIONS RADIO NETWORK        1065 AVENUE OF THE AMERICAS          3RD FLOOR                                                                    NEW YORK           NY   10018
UNITED STEEL WORKERS                 ATTN: CORPORATE OFFICER/AUTHORIZED   FIVE GATEWAY CENTER                                                          PITTSBURGH         PA   15222
                                     AGENT
UNITED STEEL, PAPER AND FORESTRY,    ALLIED INDUSTRIAL UNION AND USW ‐    DELPHI CORPORATION; AND
RUBBER, MANUFACTURING, ENERGY        LOCAL 87L                            GENERAL MOTORS CORPORATION
                                      09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                           Part 37 of 40 Pg 738 of 901
Name                                 Address1                             Address2                         Address3                     Address4             City               State Zip
UNITED STEELWORKERS                  JOHN PERQUIN                         FIVE GATEWAY CENTER                                                                PITTSBURGH          PA
UNITED STEELWORKERS                  ATT: DAVID R. JURY, ESQ.             FIVE GATEWAY CENTER, SUITE 807                                                     PITTSBURGH          PA 15222

UNITED STEELWORKERS OF AMERICA       DENNIS BINGHAM, AFL‐CIO              21 ABBEY AVENUE                                                                    DAYTON             OH 45417
UNITED STREET MACHINE ASSOCIATION    430 N BATCHEWANA ST                                                                                                     CLAWSON            MI 48017‐1366

UNITED STUDENT AID FUNDS             C/O FINANCIAL ASSET MANGMT SYS       PO BOX 451409                                                                      ATLANTA            GA   31145‐9409
UNITED STUDENT AID FUNDS             C/O NCO FINANCIAL SYSTEMS INC        PO BOX 4901                                                                        TRENTON            NJ   08650‐4901
UNITED SWEEP LLC                     30928 FORD RD                                                                                                           GARDEN CITY        MI   48135‐1803
UNITED TEC/PORT                      PO BOX 827                                                                                                              PORT HURON         MI   48060
UNITED TECH/1641 POR                 1641 PORTER ST                                                                                                          DETROIT            MI   48216‐1935
UNITED TECH/BRYN CTR                 70 84TH ST SW                                                                                                           BYRON CENTER       MI   49315‐8660
UNITED TECH/BX 207                   PO BOX 207                                                                                                              EDINBURGH          IN   46124‐0207
UNITED TECH/DEARBORN                 5200 AUTO CLUB DR                                                                                                       DEARBORN           MI   48126‐4212
UNITED TECH/GRNVILLE                 GREENVILLE EXTRUSION PLANT           6010 JAYSVILLE & ST. JOHNS RD.                                                     GREENVILLE         OH   45331
UNITED TECH/HOLLAND                  PO BOX 1709                          50 WEST THIRD STREET                                                               HOLLAND            MI   49422‐1709
UNITED TECH/ST LOUIS                 1218 CENTRAL INDUSTRIAL DR                                                                                              SAINT LOUIS        MO   63110‐2308
UNITED TECHNOLOGIES                  PO BOX 4801                                                                                                             SYRACUSE           NY   13221‐4801
UNITED TECHNOLOGIES AUTOMOTIVE       1641 PORTER ST                                                                                                          DETROIT            MI   48216‐1935
UNITED TECHNOLOGIES CORP             4 FARM SPRINGS RD                                                                                                       FARMINGTON         CT   06032‐2573
UNITED TECHNOLOGIES CORP
UNITED TECHNOLOGIES CORP             1 CARRIER PL                                                                                                            FARMINGTON         CT   06032‐2562
UNITED TECHNOLOGIES CORP             1 FARM SPRINGS RD                                                                                                       FARMINGTON         CT   06032‐2572
UNITED TECHNOLOGIES CORP             25365 INTERCHANGE CT                                                                                                    FARMINGTON HILLS   MI   48335‐1021
UNITED TECHNOLOGIES CORP             2640 WALDEN AVE                                                                                                         BUFFALO            NY   14225‐4736
UNITED TECHNOLOGIES CORP             37695 SCHOOLCRAFT RD                                                                                                    LIVONIA            MI   48150‐5031
UNITED TECHNOLOGIES CORP             3902 HANNA CIR STE C                                                                                                    INDIANAPOLIS       IN   46241‐7207
UNITED TECHNOLOGIES CORP             39205 COUNTRY CLUB DR STE C40                                                                                           FARMINGTON HILLS   MI   48331‐5701
UNITED TECHNOLOGIES CORP             PO BOX 4808                                                                                                             SYRACUSE           NY   13221‐4808
UNITED TECHNOLOGIES CORP             PO BOX 73579                                                                                                            CHICAGO            IL   60673‐0001
UNITED TECHNOLOGIES CORP             PO BOX 93844                                                                                                            CHICAGO            IL   60690
UNITED TECHNOLOGIES CORP ON BEHALF   BASF CORP AS SUCCESSOR TO INMONT     WILLIAM F LEIKIN ESQ, ASST       UNITED TECHNOLOGIES CORP ONE FINANCIAL PLAZA MS   HARTFORD           CT   06103
OF                                   CORP                                 GENERAL COUNSEL                                             524
UNITED TECHNOLOGIES CORP ON BEHALF   WILLIAM F LEIKIN ESQ, ASST GENERAL   UNITED TECHNOLOGIES CORP         ONE FINANCIAL PLAZA MS 524                        HARTFORD           CT   06103
OF CARRIER CORP                      COUNSEL
UNITED TECHNOLOGIES CORP ON BEHALF   WILLIAM I LEIKIN ESQ, ASST GENERAL   UNITED TECHNOLOGIES CORP         ONE FINANCIAL PLAZA MS 524                        HARTFORD           CT   06103
OF CARRIER CORP                      COUNSEL
UNITED TECHNOLOGIES CORPORATION      MICHAEL R ENRIGHT                    ROBINSON & COLE LLP              280 TRUMBULL STREET                               HARTFORD           CT   06103

UNITED TECHNOLOGIES CORPORATION      PATRICK MCGRATH                      4 FARM DR                                                                          FARMINGTON         CT   06032‐2720

UNITED TECHNOLOGIES CORPORATION ET   WILLIAM F LEIKIN ESQ, ASST GENERAL   UNITED TECHNOLOGIES CORP         ONE FINANCIAL PLAZA MS 524                        HARTFORD           CT   06103
AL                                   COUNSEL
UNITED TECHNOLOGIES CORPORATION,     FORMER SUBSIDIARY ESSEX GROUP INC    ATTN: WILLIAM F LEIKIN ESQ       UNITED TECHNOLOGIES CORP ONE FINANCIAL PLAZA MS   HARTOFRD           CT   06103
ON BEHALF OF ITS                                                          ASSISTANT GENERAL COUNSEL                                 524
UNITED TECHONOLOGIES CORPORATION     C/O JOSEPH A GREGG ESQ               PO BOX 10032                                                                       TOLEDO             OH 43699

UNITED TELE/ALTAMONT                 PO BOX 161839                                                                                                           ALTAMONTE SPG      FL 32716‐1839
UNITED TELEPHONE COMPANY OF OHIO     665 LEXINGTON AVE                                                                                                       MANSFIELD          OH 44907‐1504

UNITED TELEPHONE COMPANY OF OHIO     PO BOX 7971                                                                                                             SHAWNEE MISSION    KS   66207‐0971
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                           Part 37 of 40 Pg 739 of 901
Name                                  Address1                            Address2                    Address3   Address4              City            State Zip
UNITED TEST/FLINT                     5171 EXCHANGE DR                                                                                 FLINT            MI 48507‐2941
UNITED TEST/WOODSTCK                  309 BELL PARK DR                                                                                 WOODSTOCK        GA 30188‐1663
UNITED TESTING SYSTEMS CANADA         225 BRADWICK DR STE 21                                                     CONCORD ON L4K 1K7
                                                                                                                 CANADA
UNITED TESTING SYSTEMS INC            2245 N CLEVELAND‐MASSILLON RD                                                                    BATH            OH   44210
UNITED TESTING SYSTEMS INC            5171 EXCHANGE DR                                                                                 FLINT           MI   48507‐2941
UNITED TIRE MANAGEMENT INC            3230 SUTHERLAND AVE                                                                              INDIANAPOLIS    IN   46205‐4637
UNITED TOOL SUPPLY                    851 OHIO PIKE                                                                                    CINCINNATI      OH   45245
UNITED TOOL SUPPLY INC                851 OHIO PIKE                                                                                    CINCINNATI      OH   45245
UNITED TOOL/BX 54395                  PO BOX 54395                        851 OHIO PIKE                                                CINCINNATI      OH   45254‐0395
UNITED TOWNSHIP HIGH SCHOOL                                               1275 AVENUE OF THE CITIES                                                    IL   61244
UNITED TRADING ESTABLISHMENT          DAMASCUS ROAD                                                              HOMS SYRIA
UNITED TRAIL/TRINITY                  914 E TRINITY LN                                                                                 NASHVILLE       TN   37207‐4732
UNITED TRAILER/NASHV                  PO BOX 70007                                                                                     NASHVILLE       TN   37207‐0007
UNITED TRUCK RENTALS                  2804 KILIHAU ST                                                                                  HONOLULU        HI   96819‐2024
UNITED TRUCKING SERVICE               8505 W WARREN AVE                                                                                DEARBORN        MI   48126‐1617
UNITED TV                             BOB CARTWRIGHT                      PO BOX 474                                                   WEST CHESTER    OH   45071‐0474
UNITED VAN LINES                      LOUISVILLE VAN & STORAGE            4617 ALLMOND AVE                                             LOUISVILLE      KY   40209
UNITED VAN LINES INC                  PO BOX 500763                                                                                    SAINT LOUIS     MO   63150‐0763
UNITED VAN LINES LLC                  1 UNITED DR                                                                                      FENTON          MO   63026‐2535
UNITED VAN LINES LLC
UNITED VIRGINIA BANK                  ACCT OF ERIC J LEWIS                PO BOX 27162                                                 RICHMOND        VA 23261‐7162
UNITED WASTE WATER SERVICES INC       11807 READING RD                                                                                 CINCINNATI      OH 45241‐1545
UNITED WATER NEW ROCHELLE PAYMENT     PO BOX 371804                                                                                    PITTSBURGH      PA 15250‐7804
CENTER
UNITED WAY                            ONE UNITED WAY                                                                                   ROCHESTER       NY   14604
UNITED WAY                            1 STRANAHAN SQ                      STE 540                                                      TOLEDO          OH   43504‐1458
UNITED WAY                            184 SALEM AVE                                                                                    DAYTON          OH   45406‐5804
UNITED WAY                            PO BOX 1157                                                                                      COLUMBUS        GA   31902‐1157
UNITED WAY                            GENESEE & LAPEER COUNTIES           202 E BOULEVARD DR                                           FLINT           MI   48503‐1802
UNITED WAY                            YOUNGSTOWN MAHONING VALLEY          255 WATT ST                                                  YOUNGSTOWN      OH   44505‐3049
UNITED WAY                            908 STATE ST                                                                                     BOWLING GREEN   KY   42101‐2233
UNITED WAY                            701 N. FAIRFAX ST                                                                                ALEXANDRIA      VA   22314
UNITED WAY ‐ ALBERTA CAPITAL REGION   15132 STONY PLAIN RD NW                                                    EDMONTON AB T5P 3Y3
                                                                                                                 CANADA
UNITED WAY ‐ FORT HILL ‐ ROCK         HILL ‐ TEGACAY                      PO BOX 925                                                   ROCK HILL       SC   29731‐6925
UNITED WAY ‐ WASHTENAW                2305 PLATT RD                                                                                    ANN ARBOR       MI   48104‐5115
UNITED WAY CAMPAIGN                   523 WEST SIXTH STREET                                                                            LOS ANGELES     CA   90014
UNITED WAY CAPITAL AREA               2000 E MARTIN LUTHER KING JR BLVD   BOULEVARD                                                    AUSTIN          TX   78702‐1340
UNITED WAY CENTRAIDE OTTAWA           363 COVENTRY RD                                                            OTTAWA ON K1K 2C5
                                                                                                                 CANADA
UNITED WAY CENTRAL CAROLINAS          ATTN MALINDA STATON                 301 S BREVARD ST                                             CHARLOTTE       NC 28202‐2317
UNITED WAY COLUMBIA‐WILLIAMETT        619 SW 11TH AVE STE 300                                                                          PORTLAND        OR 97205‐2646
UNITED WAY COMMUNITY SERVICES         1212 GRISWOLD                                                                                    DETROIT         MI 48226
LABOUR DEPT
UNITED WAY CRUSADE OF MERCY           560 WEST LAKE ST.                                                                                CHICAGO         IL 60661
UNITED WAY FOR SOUTHEASTERN MI        50 WAYNE ST # 4TH                                                                                PONTIAC         MI 48342‐2158
UNITED WAY FOR SOUTHEASTERN           1212 GRISWOLD                                                                                    DETROIT         MI 48226
MICHIGAN
UNITED WAY FOR SOUTHEASTERN           1212 GRISWOLD STREET                                                                             DETROIT         MI 48226
MICHIGAN
UNITED WAY GENESEE/LAPEER CO          328 S SAGINAW                       CITIZENS BANK BLDG                                           FLINT           MI 48502
                                      09-50026-mg                 Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                             Part 37 of 40 Pg 740 of 901
Name                                 Address1                             Address2                  Address3   Address4                City           State Zip
UNITED WAY GENESEE/LAPEER CTYS       PO BOX 949                                                                                        FLINT           MI 48501‐0949
UNITED WAY GENESEE/LAPEER CTYS       202 E BOULEVARD DR                                                                                FLINT           MI 48503‐1802
UNITED WAY GREATER CHATTANOOGA       PO BOX 4027                                                                                       CHATTANOOGA     TN 37405‐0027
UNITED WAY GREATER LORAINE CTY       1875 NORTH RIDGE RD EAST                                                                          LORAIN          OH 44055
UNITED WAY GREATER MILWAUKEE         PO BOX 782                                                                                        MILWAUKEE       WI 53201‐0782
UNITED WAY GREATER MILWAUKEE         PO BOX 88110                                                                                      MILWAUKEE       WI 53288‐0001
UNITED WAY GREATER NEW ORLEANS       2515 CANAL ST                                                                                     NEW ORLEANS     LA 70119
UNITED WAY GREATER ST LOUIS          PO BOX 280F                                                                                       SAINT LOUIS     MO 63166
UNITED WAY GREEN COUNTY INC          PO BOX 511                                                                                        MONROE          WI 53566‐0511
UNITED WAY HAMILTON‐FAIRFIELD,OHIO   323 N 3RD ST                                                                                      HAMILTON        OH 45011‐1624
AND VICINITY
UNITED WAY INC                       PO BOX 15200                                                                                      PORTLAND       ME 04112‐5200
UNITED WAY INC                       523 WEST SIXTH STREET                                                                             LOS ANGELES    CA 90014
UNITED WAY INC                       ANTELOPE VALLEY REGION               42442 10TH ST W STE A                                        LANCASTER      CA 93534‐7067
UNITED WAY LOWER MAINLAND            4543 CANADA WAY                                                           BURNABY CANADA BC V5G
                                                                                                               4T4 CANADA
UNITED WAY MASSACHUSETTS BAY         PO BOX 51381                                                                                      BOSTON         MA 02205‐1381
UNITED WAY METRO ATLANTA             PO BOX 2692                                                                                       ATLANTA        GA 30301‐2692
UNITED WAY MONCTON INC               305 JOHN ST                                                               MONCTON CANADA NB E1C
                                                                                                               8M9 CANADA
UNITED WAY MONTCALM COUNTY           PO BOX 128                                                                                        GREENVILLE     MI   48838‐0128
UNITED WAY NORTHEAST FLORIDA         PO BOX 864228                                                                                     ORLANDO        FL   32886‐4228
UNITED WAY OF                        SARASOTA COUNTY, INC                 1445 2ND ST                                                  SARASOTA       FL   34236‐4905
UNITED WAY OF                        SOUTHWEST LOUISIANA, INC             715 RYAN ST STE 102                                          LAKE CHARLES   LA   70601‐4200
UNITED WAY OF                        SOUTHWESTERN INDIANA INC             PO BOX 18                                                    EVANSVILLE     IN   47701‐0018
UNITED WAY OF                        GREENVILLE COUNTY, INC               105 EDINBURGH CT                                             GREENVILLE     SC   29607‐2529
UNITED WAY OF                        WYOMING VALLEY                       8 W MARKET ST                                                WILKES BARRE   PA   18711‐0100
UNITED WAY OF                        SOUTHEASTERN NEW ENGLAND             50 VALLEY ST                                                 PROVIDENCE     RI   02909‐2459
UNITED WAY OF                        CUMBERLAND COUNTY                    PO BOX 303                                                   FAYETTEVILLE   NC   28302‐0303
UNITED WAY OF                        CHITTENDEN COUNTY INC                95 SAINT PAUL ST 2ND FL                                      BURLINGTON     VT   05401
UNITED WAY OF                        KANAWHA VALLEY, INC                  1 UNITED WAY SQ                                              CHARLESTON     WV   25301‐1000
UNITED WAY OF                        POTTAWATOMIE COUNTY INC              PO BOX 697                                                   SHAWNEE        OK   74802‐0697
UNITED WAY OF ABILENE                PO BOX 82                                                                                         ABILENE        TX   79604‐0082
UNITED WAY OF ACADIANA               PO BOX 52033                                                                                      LAFAYETTE      LA   70505‐2033
UNITED WAY OF ADA COUNTY INC         PO BOX 7963                                                                                       BOISE          ID   83707‐1963
UNITED WAY OF AIKEN COUNTY           PO BOX 699                                                                                        AIKEN          SC   29802‐0699
UNITED WAY OF ALLEGHENY COUNTY       ONE SMITHFIELD STREET                PO BOX 735                                                   PITTSBURGH     PA   15222
UNITED WAY OF ALLEGHENY COUNTY       1250 PENN AVENUE                     PO BOX 735                                                   PITTSBURGH     PA   15222
UNITED WAY OF ALLEN COUNTY           PO BOX 11784                         ATTN: CONTROLLER                                             FORT WAYNE     IN   46860‐1784
UNITED WAY OF AMERICA                701 NORTH FAIRFAX STREET                                                                          ALEXANDRIA     VA   22314
UNITED WAY OF ANCHORAGE              701 W 8TH AVE STE 230                                                                             ANCHORAGE      AK   99501‐3469
UNITED WAY OF ASHEVILLE & BUNCOMBE   50 S FRENCH BROAD AVE                                                                             ASHEVILLE      NC   28801
CO
UNITED WAY OF ASHTABULA COUNTY       2801 C. COURT                                                                                     ASHTABULA      OH   44004
UNITED WAY OF ATLANTIC COUNTY        4 E JIMMIE LEEDS RD STE 10                                                                        GALLOWAY       NJ   08205‐4465
UNITED WAY OF BAY COUNTY             PO BOX 602                                                                                        BAY CITY       MI   48707‐0602
UNITED WAY OF BAY COUNTY             909 WASHINGTON                                                                                    BAY CITY       MI   48708
UNITED WAY OF BEAUMONT AND NORTH     PO BOX 1430                                                                                       BEAUMONT       TX   77704‐1430
JEFFERSON COUNTY
UNITED WAY OF BEDFORD                137 E PITT ST                                                                                     BEDFORD        PA 15522‐1318
UNITED WAY OF BERGEN COUNTY          6 FOREST AVE STE 2                                                                                PARAMUS        NJ 07652‐5245
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                        Part 37 of 40 Pg 741 of 901
Name                                  Address1                       Address2            Address3         Address4         City                 State Zip
UNITED WAY OF BERKLEY & MORGAN        218 W KING ST                                                                        MARTINSBURG           WV 25401‐3212
COUNTIES
UNITED WAY OF BREVARD COUNTY          937 DIXON BLVD                                                                       COCOA                FL    32922‐6806
UNITED WAY OF BRISTOL                 10 MAIN ST                                                                           BRISTOL              CT    06010‐6527
UNITED WAY OF BROWN COUNTY            PO BOX 1593                                                                          GREEN BAY            WI    54305‐1593
UNITED WAY OF BUCKS COUNTY            413 HOOD BLVD                                                                        FAIRLESS HILLS       PA    19030‐2901
UNITED WAY OF BUFFALO & ERIE COUNTY   742 DELAWARE AVE                                                                     BUFFALO              NY    14209‐2202

UNITED WAY OF BURLINGTON COUNTY       PO BOX 226                                                                           RANCOCAS             NJ    08073‐0226
UNITED WAY OF CALVERT COUNTY          PO BOX 560                                                                           PRINCE FREDERICK     MD    20678‐0560
UNITED WAY OF CAMDEN COUNTY           196 NEWTON AVE                                                                       CAMDEN               NJ    08103‐1708
UNITED WAY OF CAMERON COUNTY          634 E LEVEE ST                                                                       BROWNSVILLE          TX    78520‐5214
UNITED WAY OF CAPE COD                749 MAIN ST FL 2                                                                     HYANNIS              MA    02601‐4327
UNITED WAY OF CAPECOD INC             310 BARNSTABLE RD                                                                    HYANNIS              MA    02601
UNITED WAY OF CASS‐CLAY               PO BOX 1609                                                                          FARGO                ND    58107‐1609
UNITED WAY OF CENTRAL FLORIDA         PO BOX 1357                                                                          HIGHLAND CITY        FL    33846‐1357
UNITED WAY OF CENTRAL INDIANA         3901 N MERIDIAN ST                                                                   INDIANAPOLIS         IN    46208
UNITED WAY OF CENTRAL IOWA            1111 9TH ST STE 300                                                                  DES MOINES            IA   50314‐2501
UNITED WAY OF CENTRAL JERSEY          PO BOX 210                                                                           MILLTOWN             NJ    08850
UNITED WAY OF CENTRAL MARYLAND        100 SOUTH CHARLES STREET       5TH FLOOR                                             BALTIMORE            MD    21201
UNITED WAY OF CENTRAL MISSOURI        1025 SOUTHWEST BLVD STE B                                                            JEFFERSON CITY       MO    65109‐2588
UNITED WAY OF CENTRAL NEW MEXICO      PO BOX 25848                                                                         ALBUQUERQUE          NM    87125‐0848

UNITED WAY OF CENTRAL NEW YORK     PO BOX 2129                                                                             SYRACUSE             NY    13220‐2129
UNITED WAY OF CHAMPAIGN COUNTY     404 W CHURCH ST                                                                         CHAMPAIGN            IL    61820‐3411
UNITED WAY OF CHEROKEE COUNTY      PO BOX 1167                                                                             GAFFNEY              SC    29342‐1167
UNITED WAY OF CHESTER COUNTY INC   2 WEST MARKET STREET                                                                    WEST CHESTER         PA    19382
UNITED WAY OF CHICAGO              PO BOX 366                                                                              CHICAGO HEIGHTS      IL    60412‐0366
UNITED WAY OF CHIPPEWA COUNTY      PO BOX 451                                                                              SAULT SAINTE MARIE   MI    49783‐0451
UNITED WAY OF CLARK AND CHAMPAIGN PO BOX 59                                                                                SPRINGFIELD          OH    45501‐0059
COUNTIES INC
UNITED WAY OF CLINTON CTY          31 W MAIN ST                                                                            WILMINGTON           OH    45177‐2236
UNITED WAY OF COLLIER COUNTY       848 1ST AVE N STE 240                                                                   NAPLES               FL    34102‐6063
UNITED WAY OF CULLMAN COUNTY       PO BOX 116                                                                              CULLMAN              AL    35056‐0116
UNITED WAY OF DADE COUNTY          3250 SW 3RD AVE                                                                         MIAMI                FL    33129‐2712
UNITED WAY OF DANE COUNTY INC      PO BOX 7548                                                                             MADISON              WI    53707‐7548
UNITED WAY OF DAVIDSON COUNTY      PO BOX 492                                                                              LEXINGTON            NC    27293‐0492
UNITED WAY OF DAVIS COUNTY         175 S WEST TEMPLE                 STE 30                                                SALT LAKE CTY        UT    84101‐1424
UNITED WAY OF DECATUR AND MACON CO 202 E ELDORADO ST STE B                                                                 DECATUR              IL    62523‐1036

UNITED WAY OF DEFIANCE                PO BOX 351                     511 PERRY STREET                                      DEFIANCE             OH    43512‐0351
UNITED WAY OF DELAVAN DARIEN          PO BOX 30                                                                            DELAVAN              WI    53115‐0030
UNITED WAY OF DELAVAN‐DARIEN          PO BOX 30                                                                            DELAVAN              WI    53115‐0030
UNITED WAY OF DELAWARE                625 ORANGE ST                                                                        WILMINGTON           DE    19801
UNITED WAY OF DELAWARE CO INC         PO BOX 968                                                                           MUNCIE               IN    47308‐0968
UNITED WAY OF DELAWARE COUNTY         500 N WALNUT ST                                                                      MUNCIE               IN    47305‐1451
UNITED WAY OF DELAWARE COUNTY         500 N WALNUT ST                PO BOX 968                                            MUNCIE               IN    47305‐1451
UNITED WAY OF DODGE COUNTY            PO BOX 158                                                                           BEAVER DAM           WI    53916‐0158
UNITED WAY OF DOUGHERTY COUNTY        PO BOX 70429                                                                         ALBANY               GA    31708‐0429
UNITED WAY OF DUTCHESS COUNTY         75 MARKET ST                                                                         POUGHKEEPSIE         NY    12601‐4015
UNITED WAY OF EL DORADO KANSAS INC    PO BOX 122                                                                           EL DORADO            KS    67042‐0122
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                          Part 37 of 40 Pg 742 of 901
Name                                 Address1                          Address2                 Address3    Address4         City            State Zip
UNITED WAY OF EL PASO COUNTY         PO BOX 3488                                                                             EL PASO          TX 79923‐3488
UNITED WAY OF ELKHART COUNTY         222 MIDDLEBURY ST                                                                       ELKHART          IN 46516
UNITED WAY OF ERIE COUNTY            420 W 6TH ST STE 200                                                                    ERIE             PA 16507‐3210
UNITED WAY OF ESCAMBIA COUNTY, INC   1301 W GOVERNMENT ST                                                                    PENSACOLA        FL 32502‐5314

UNITED WAY OF ESSEX AND WEST         303‐09 WASHINGTON ST                                                                    NEWARK           NJ   07102
HUDSON
UNITED WAY OF ETOWAH COUNTY          PO BOX 1175                                                                             GADSDEN         AL 35902‐1175
UNITED WAY OF FORSYTH CTY INC        301 N MAIN ST STE 1700                                                                  WINSTON SALEM   NC 27101‐3838
UNITED WAY OF FORT SMITH AREA, INC   320 S 18TH ST                                                                           FORT SMITH      AR 72901‐3940

UNITED WAY OF FRANKLIN COUNTY        24 4TH ST STE 5                                                                         MALONE          NY    12953‐1350
UNITED WAY OF FRANKLIN COUNTY        360 S 3RD ST                                                                            COLUMBUS        OH    43215‐5412
UNITED WAY OF FRANKLIN COUNTY        PO BOX 105                                                                              BROOKVILLE      IN    47012‐0105
UNITED WAY OF FRESNO COUNTY          4949 E KINGS CANYON RD            PO BOX 8036                                           FRESNO          CA    93727‐3812
UNITED WAY OF FULTON COUNTY          604 S SHOOP AVE STE 122                                                                 WAUSEON         OH    43567‐1725
UNITED WAY OF GENESEE COUNTY         PO BOX 949                                                                              FLINT           MI    48501‐0949
UNITED WAY OF GLADWIN CO, INC        PO BOX 620                                                                              GLADWIN         MI    48624‐0620
UNITED WAY OF GLOUCESTER CTY         454 CROWN POINT RD                                                                      WEST DEPTFORD   NJ    08086‐2124
UNITED WAY OF GRANT COUNTY           PO BOX 61                                                                               MARION          IN    46952‐0061
UNITED WAY OF GRATIOT COUNTY         110 W SUPERIOR ST                                                                       ALMA            MI    48801
UNITED WAY OF GREATER                ST JOSEPH                         PO BOX 188                                            SAINT JOSEPH    MO    64502‐0188
UNITED WAY OF GREATER                JONESBORO                         407 UNION ST                                          JONESBORO       AR    72401‐2834
UNITED WAY OF GREATER                TAUNTON INC                       247 MAPLE ST                                          ATTLEBORO       MA    02703‐4226
UNITED WAY OF GREATER BATTLE CREEK   PO BOX 137                        ATTN: FINANCE DIRECTOR                                BATTLE CREEK    MI    49016‐0137

UNITED WAY OF GREATER DULUTH INC     424 W SUPERIOR ST                                                                       DULUTH          MN 55802
UNITED WAY OF GREATER GREENSBORO     PO BOX 14998                                                                            GREENSBORO      NC 27415‐4998

UNITED WAY OF GREATER KNOXVILLE      PO BOX 52914                                                                            KNOXVILLE       TN 37950‐2914
UNITED WAY OF GREATER LAPORTE        800 LINCOLNWAY STE 306                                                                  LA PORTE        IN 46350‐3439
COUNTY INC.
UNITED WAY OF GREATER LEE CO. INC    PO BOX 334                                                                              TUPELO          MS    38802‐0334
UNITED WAY OF GREATER LOS ANGE       523 WEST SIXTH STREET                                                                   LOS ANGELES     CA    90014
UNITED WAY OF GREATER LOS ANGL       ATTN: CAMPAIGN ACCOUNTING         523 WEST 6TH STREET                                   LOS ANGELES     CA    90014
UNITED WAY OF GREATER MANCHESTER     228 MAPLE ST FL 4                                                                       MANCHESTER      NH    03103‐5572

UNITED WAY OF GREATER MERCER        3131 PRINCETON PIKE BUILDING 4                                                           LAWRENCEVILLE    NJ   08648
COUNTY
UNITED WAY OF GREATER NASHUA        20 BROAD ST                                                                              NASHUA          NH 03064
UNITED WAY OF GREATER NEW HAVEN     71 ORANGE ST                                                                             NEW HAVEN       CT 06510‐3108
UNITED WAY OF GREATER OKLAHOMA CITY PO BOX 837                                                                               OKLAHOMA CITY   OK 73101‐0837

UNITED WAY OF GREATER PLYMOUTH      928 W CHESTNUT ST STE 2                                                                  BROCKTON        MA 02301‐5560
COUNTY
UNITED WAY OF GREATER RICHMOND &    PO BOX 11807                                                                             RICHMOND        VA 23230‐8007
PETERSBURG
UNITED WAY OF GREATER STARK CO      4825 HIGBEE AVE NW STE 101                                                               CANTON          OH 44718‐2567
UNITED WAY OF GREATER TAMPA         5201 W KENNEDY BLVD                STE 600                                               TAMPA           FL 33609‐1820
UNITED WAY OF GREATER TEXARKANA INC PO BOX 106                                                                               TEXARKANA       TX 75504‐0106

UNITED WAY OF GREATER TOPEKA         PO BOX 4188                                                                             TOPEKA           KS   66604‐0188
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                          Part 37 of 40 Pg 743 of 901
Name                                  Address1                         Address2                         Address3             Address4                 City            State Zip
UNITED WAY OF GREATER WICHITA FALLS   PO BOX 660                                                                                                      WICHITA FALLS    TX 76307‐0660

UNITED WAY OF GREATER WINNIPEG        5 DONALD STREET 3RD FL                                                                 WINNIPEG CANADA MB R3L
                                                                                                                             2T4 CANADA
UNITED WAY OF HALIFAX REGION          7TH FLOOR, ROYAL BANK BUILDING   46 PORTLAND ST                                        DARTMOUTH NS B2Y 1H4
                                                                                                                             CANADA
UNITED WAY OF HALIFAX REGION          EVELYN BARKHOUSE                 7TH FLOOR, ROYAL BANK BUILDING   48 PORTLAND STREET   DARTMOUTH NS B2Y 1H4
                                                                                                                             CANADA
UNITED WAY OF HALL COUNTY           PO BOX 2656                                                                                                       GAINESVILLE     GA 30503‐2656
UNITED WAY OF HANCOCK COUNTY        245 STANFORD PKWY                                                                                                 FINDLAY         OH 45840‐1733
UNITED WAY OF HARLINGEN‐ SAN BENITO PO BOX 531227                                                                                                     HARLINGEN       TX 78553‐1227

UNITED WAY OF HEMPSTEAD COUNTY        PO BOX 15                                                                                                       HOPE            AR    71802‐0015
UNITED WAY OF HENRY COUNTY            611 N PERRY ST                                                                                                  NAPOLEON        OH    43545
UNITED WAY OF HOLYOKE,                SOUTH HADLEY AND GRANBY INC      316 HIGH ST                                                                    HOLYOKE         MA    01040
UNITED WAY OF HOWARD CO               210 W WALNUT                                                                                                    KOKOMO          IN    46901
UNITED WAY OF HUNTINGTON COUNTY       PO BOX 347                                                                                                      HUNTINGTON      IN    46750‐0347
INC
UNITED WAY OF IDAHO FALLS AND         BONNEVILLE COUNTY INC            PO BOX 51114                                                                   IDAHO FALLS     ID    83405‐1114
UNITED WAY OF IMLAY CITY              220 W NEPESSING ST STE 201                                                                                      LAPEER          MI    48446‐3815
UNITED WAY OF IONIA COUNTY            PO BOX 95                                                                                                       IONIA           MI    48846‐0095
UNITED WAY OF JACKSON COUNTY          PO BOX 1345                                                                                                     JACKSON         MI    49204‐1345
UNITED WAY OF JEFFERSON &             N WALWORTH COUNTIES              611 GROVE ST                                                                   FORT ATKINSON   WI    53538‐2131
UNITED WAY OF JOHNSON COUNTY          PO BOX 153                                                                                                      FRANKLIN        IN    46131‐0153
UNITED WAY OF JOHNSON COUNTY          PO BOX 31                                                                                                       CLEBURNE        TX    76033‐0031
UNITED WAY OF JONES COUNTY            PO BOX 2026                                                                                                     LAUREL          MS    39442‐2026
UNITED WAY OF KANAWHA VALLEY          1 UNITED WAY SQ                                                                                                 CHARLESTON      WV    25301‐1000
UNITED WAY OF KENT COUNTY             301 HIGH ST                      PO BOX 594                                                                     CHESTERTOWN     MD    21620‐1333
UNITED WAY OF KERN CO., INC.          PO BOX 997                                                                                                      BAKERSFIELD     CA    93302‐0997
UNITED WAY OF KING COUNTY             720 2ND AVE                                                                                                     SEATTLE         WA    98104‐1702
UNITED WAY OF KOSCIUSKO COUNTYINC     PO BOX 923                                                                                                      WARSAW          IN    46581‐0923

UNITED WAY OF LAKE COUNTY INC         9285 PROGRESS PKWY                                                                                              MENTOR          OH    44060‐1854
UNITED WAY OF LANE COUNTY             3171 GATEWAY LOOP                                                                                               SPRINGFIELD     OR    97477‐1164
UNITED WAY OF LAPEER COUNTY           220 W NEPESSING ST STE 201                                                                                      LAPEER          MI    48446‐3815
UNITED WAY OF LARAMIE COUNTY          PO BOX 20301                                                                                                    CHEYENNE        WY    82003‐7007
UNITED WAY OF LAREDO                  PO BOX 1711                                                                                                     LAREDO          TX    78044‐1711
UNITED WAY OF LAWRENCE                PO BOX 166                                                                                                      MOULTON         AL    35650‐0166
UNITED WAY OF LAWRENCE CO             223 N MERCER ST SUITE 101                                                                                       NEW CASTLE      PA    16101
UNITED WAY OF LAWRENCE COUNTY         PO BOX 671                                                                                                      BEDFORD         IN    47421‐0671
UNITED WAY OF LAWTON‐FT. SI11         PO BOX 66                                                                                                       LAWTON          OK    73502‐0066
UNITED WAY OF LEAVENWORTH CTY         PO BOX 21                                                                                                       LEAVENWORTH     KS    66048‐0021
UNITED WAY OF LEE COUNTY INC          7275 CONCOURSE DR                                                                                               FORT MYERS      FL    33908‐2644
UNITED WAY OF LIMESTONE COUNTY        419 S MARION ST                                                                                                 ATHENS          AL    35611‐2507
UNITED WAY OF LINCOLN COUNTY          PO BOX 410                                                                                                      FAYETTEVILLE    TN    37334‐0410
UNITED WAY OF LINCOLN COUNTY          230 S WHITWORTH AVE                                                                                             BROOKHAVEN      MS    39601‐3343
UNITED WAY OF LONDON & MIDDLESEX      409 KING STREET                                                                        LONDON CANADA ON N6B
                                                                                                                             1S5 CANADA
UNITED WAY OF LOWER MAINLAND          4543 CANADA WAY                                                                        BURNABY BC V5G 4T4
                                                                                                                             CANADA
UNITED WAY OF MADISON COUNTY          PO BOX 1095                                                                                                     HUNTSVILLE       AL   35807‐0095
UNITED WAY OF MADISON COUNTY          PO BOX 1200                                                                                                     ANDERSON         IN   46015‐1200
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                       Part 37 of 40 Pg 744 of 901
Name                                Address1                        Address2                         Address3   Address4         City            State Zip
UNITED WAY OF MANSFIELD AND         35 PARK ST N                                                                                 MANSFIELD        OH 44902‐1711
RICHLAND COUNTIES
UNITED WAY OF MANSFIELD RICHLAND    35 PARK ST N                                                                                 MANSFIELD       OH 44902‐1711
COUNTY
UNITED WAY OF MARSHALL COUNTY       PO BOX A                                                                                     GUNTERSVILLE    AL    35976
UNITED WAY OF MARSHALL COUNTY       705 BLOUNT AVE                                                                               GUNTERSVILLE    AL    35976‐1505
UNITED WAY OF MASON CTY             PO BOX 327                                                                                   MAYSVILLE       KY    41056‐0327
UNITED WAY OF MAURY COUNTY          PO BOX 222                                                                                   COLUMBIA        TN    38402‐0222
UNITED WAY OF MCHENRY CTY INC       4508 PRIME PKWY                                                                              MCHENRY         IL    60050‐7004
UNITED WAY OF MEDINA COUNTY         704 N COURT ST                                                                               MEDINA          OH    44256‐1748
UNITED WAY OF MERCER COUNTY         300 W STATE ST                  STE 1                                                        SHARON          PA    16146‐1294
UNITED WAY OF MERIDIAN & LAUDERDALE PO BOX 5376                                                                                  MERIDIAN        MS    39302‐5376
CTY
UNITED WAY OF METRO TARRANT COUNTY PO BOX 4448                                                                                   FORT WORTH       TX   76164‐0448

UNITED WAY OF METROPOLITAN CHICAGO 75 REMITTANCE DR STE 5828                                                                     CHICAGO          IL   60675‐5828

UNITED WAY OF METROPOLITAN DALLAS   180O NORTH LAMAR                                                                             DALLAS           TX   75202

UNITED WAY OF METROPOLITAN          PO BOX 280420                                                                                NASHVILLE       TN 37228‐0420
NASHVILLE
UNITED WAY OF MIDDLE                TENNESSEE/BEDFORD COUNTY        PO BOX 1438                                                  SHELBYVILLE     TN    37162‐1438
UNITED WAY OF MIDDLE TENNESSEE      PO BOX 280420                                                                                NASHVILLE       TN    37228‐0420
UNITED WAY OF MIDLAND COUNTY        STROSACKER CENTER #100          220 W MAIN STREET                                            MIDLAND         MI    48640
UNITED WAY OF MINNEAPOLIS           404 S EIGHTH ST                                                                              MINNEAPOLIS     MN    55404
UNITED WAY OF MONMOUTH COUNTY       1415 WYCKOFF RD                 WALL TOWNSHIP                                                WALL TOWNSHIP   NJ    07727
UNITED WAY OF MONROE COUNTY         C/O UNITED WAY COMMUNITY SERV   6 SOUTH MONROE ST                                            MONROE          MI    48161
UNITED WAY OF MONROE COUNTY         441 S COLLEGE AVE                                                                            BLOOMINGTON     IN    47403‐1514
UNITED WAY OF MORGAN COUNTY         PO BOX 1058                                                                                  DECATUR         AL    35602‐1058
UNITED WAY OF NEW JERSEY INC        PO BOX 6193                     C/O UNITED WAY GTR MERCER CNTY                               LAWRENCEVILLE   NJ    08648‐0193

UNITED WAY OF NIAGARA, INC.         3000 MILITARY RD                                                                             NIAGARA FALLS   NY    14304‐1225
UNITED WAY OF NNY INC               200 WASHINGTON ST STE 402A                                                                   WATERTOWN       NY    13601
UNITED WAY OF NNY, INC.             200 WASHINGTON ST. STE. 402A                                                                 WATERTOWN       NY    13601
UNITED WAY OF NOBLE COUNTY INC      2094 N STATE ROAD 9                                                                          ALBION          IN    46701‐9578
UNITED WAY OF NORMAN                550 24TH AVE NW STE D                                                                        NORMAN          OK    73069‐6210
UNITED WAY OF NORTH ESSEX           60 S FULLERTON AVE                                                                           MONTCLAIR       NJ    07042
UNITED WAY OF NORTH ROCK CNTY       205 N MAIN ST STE 101                                                                        JANESVILLE      WI    53545‐3062
UNITED WAY OF NORTHEAST GEORGIA     PO BOX 80536                                                                                 ATHENS          GA    30608‐0536
UNITED WAY OF NORTHEAST MICHIGAN    3022 US HIGHWAY 23 S STE A                                                                   ALPENA          MI    49707‐4845

UNITED WAY OF NORTHEASTERN NEW      PO BOX 13865                                                                                 ALBANY          NY 12212‐3865
YORK INC
UNITED WAY OF NORTHERN FAIRFIELD    85 WEST ST                                                                                   DANBURY          CT   06810‐6528
COUNTY
UNITED WAY OF NORTHERN NEVADA       ATTN: BRIAN BODEN               811 RVLAND ST                                                RENO            NV 89502‐1602
UNITED WAY OF NORTHWEST ALABAMA     PO BOX 1228                                                                                  FLORENCE        AL 35631‐1228

UNITED WAY OF NW ALABAMA            110 S POPLAR ST                 PO BOX 1228                                                  FLORENCE         AL   35630‐5712
UNITED WAY OF NW LOUISIANA          402 EDWARDS ST                                                                               SHREVEPORT       LA   71101‐3107
UNITED WAY OF OCEAN COUNTY          PO BOX 1221                                                                                  TOMS RIVER       NJ   08754‐1221
UNITED WAY OF ODESSA                PO BOX 632                                                                                   ODESSA           TX   79760‐0632
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                        Part 37 of 40 Pg 745 of 901
Name                                  Address1                          Address2                Address3     Address4             City            State Zip
UNITED WAY OF ORANGE COUNTY           51041 PHILO                                                                                 LOS ANGELES      CA 90074‐1041
UNITED WAY OF ORANGE COUNTY           PO BOX 397                                                                                  MONTGOMERY       NY 12549‐0397
UNITED WAY OF OSHAWA                  345 SIMCOE ST S                                                        OSHAWA ON L1H 4J2
                                                                                                             CANADA
UNITED WAY OF OSHAWA‐WHITBY‐          OFFICE GALLERIA STE. 135 OSHAWA   419 KING ST. W                       OSHAWA ON L1J 2K5
CLARINGTON                            CENTRE                                                                 CANADA
UNITED WAY OF OUACHITA PARISH         1201 HUDSON LN                                                                              MONROE           LA   71201‐6005
UNITED WAY OF PALM BEACH CO           COUNTESS DE HOERNIE COMMUNITY     2600 QUANTUM BLVD                                         BOYNTON BEACH    FL   33426‐8627
                                      CAMPUS
UNITED WAY OF PARKER COUNTY           PO BOX 1476                                                                                 WEATHERFORD     TX    76086‐1476
UNITED WAY OF PASSAIC COUNTY          22 MILL ST STE 3                                                                            PATERSON        NJ    07501‐1893
UNITED WAY OF PIERCE COUNTY           PO BOX 2215                                                                                 TACOMA          WA    98401‐2215
UNITED WAY OF PINAL COUNTY            PO BOX 10541                                                                                CASA GRANDE     AZ    85230‐0079
UNITED WAY OF PINAL COUNTY            PO BOX 541                                                                                  CASA GRANDE     AZ
UNITED WAY OF PONTIAC NORTH           50 WAYNE ST                                                                                 PONTIAC         MI    48342
OAKLAND
UNITED WAY OF PORTAGE COUNTY      218 W MAIN ST                         PO BOX 845                                                RAVENNA         OH    44266‐2714
UNITED WAY OF PULASKI COUNTY      PO BOX 3257                                                                                     LITTLE ROCK     AR    72203‐3257
UNITED WAY OF PUTNAM COUNTY       PO BOX 472                                                                                      OTTAWA          OH    45875‐0472
UNITED WAY OF QUEEN ANNE'S CTY    PO BOX 399                                                                                      CHESTER         MD    21619‐0399
UNITED WAY OF ROANOKE             VALLEY, INC                           325 CAMPBELL AVE SW                                       ROANOKE         VA    24016‐3624
UNITED WAY OF ROBERTSON COUNTY    101 5TH AVE W STE 50                                                                            SPRINGFIELD     TN    37172‐2440
UNITED WAY OF ROCK                RIVER VALLEY                          612 N MAIN ST STE 200                                     ROCKFORD        IL    61103‐6998
UNITED WAY OF RUTHERFORD CTY      PO BOX 330056                                                                                   MURFREESBORO    TN    37133‐0056
UNITED WAY OF SAGINAW COUNTY      100 S JEFFERSON AVE FL 3                                                                        SAGINAW         MI    48607‐1274
UNITED WAY OF SALEM COUNTY        PO BOX 127                            203 EAST BROADWAY                                         SALEM           NJ    08079‐0127
UNITED WAY OF SAN ANTONIO         BEXAN COUNTY                          700 S ALAMO ST          PO BOX 898                        SAN ANTONIO     TX    78205‐3404
UNITED WAY OF SAN DIEGO COUNTY    4699 MURPHY CANYON RD                                                                           SAN DIEGO       CA    92123‐4320
UNITED WAY OF SAN JOAQUIN COUNTY, PO BOX 1585                                                                                     STOCKTON        CA    95201‐3085
INC.
UNITED WAY OF SANILAC COUNTY      PO BOX 245                                                                                      LEXINGTON       MI    48450‐0245
UNITED WAY OF SANTA BARBARA       320 E GUTIERREZ ST                                                                              SANTA BARBARA   CA    93101‐1707
UNITED WAY OF SANTA CLARA CO.     1400 PARKMOOR AVE STE 250                                                                       SAN JOSE        CA    95128‐3735
UNITED WAY OF SCIOTO COUNTY       2919 WALNUT ST                                                                                  PORTSMOUTH      OH    45662‐4827
UNITED WAY OF SHREVEPORT          402 EDWARDS ST                                                                                  SHREVEPORT      LA    71101‐3107
UNITED WAY OF SIOUX LAND          PO BOX 204                                                                                      SIOUX CITY      IA    51102‐0204
UNITED WAY OF SOUTH CENTRAL       PO BOX 861                                                                                      SOMERSET        KY    42502‐0861
KENTUCKY
UNITED WAY OF SOUTH HAMPTON ROADS 708 LONDON ST                                                                                   PORTSMOUTH      VA 23704‐2413

UNITED WAY OF SOUTH HAMPTON ROADS PO BOX 41069                                                                                    NORFOLK         VA 23541‐1069

UNITED WAY OF SOUTH MISSISSIPPI INC   PO BOX 2128                                                                                 GULFPORT        MS 39505‐2128

UNITED WAY OF SOUTHERN KY             4032 NORBOURNE BLVD                                                                         LOUISVILLE      KY    40207‐3806
UNITED WAY OF SOUTHERN KY             1110 COLLEGE ST                                                                             BOWLING GREEN   KY    42101‐2619
UNITED WAY OF SOUTHERN NEVADA         PO BOX 70720                                                                                LAS VEGAS       NV    89170‐0720
UNITED WAY OF SOUTHINGTON INC         PO BOX 546                                                                                  SOUTHINGTON     CT    06489‐0546
UNITED WAY OF SOUTHWEST ALABAMA,      PO BOX 89                                                                                   MOBILE          AL    36601‐0089
INC
UNITED WAY OF SOUTHWEST NEW           PO BOX 1347                                                                                 LAS CRUCES      NM 88004‐1347
MEXICO
                                      09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                            Part 37 of 40 Pg 746 of 901
Name                                  Address1                           Address2                         Address3    Address4                City             State Zip
UNITED WAY OF SPOKANE COUNTY          920 N WASHINGTON ST STE 100                                                                             SPOKANE           WA 99201‐2229
UNITED WAY OF ST CHARLES              PO BOX 473                                                                                              ST CHARLES         IL 60174‐0473
UNITED WAY OF ST CLAIR COUNTY         C/O UNITED WAY COMMUNITY SERV      1723 MILITARY ST                                                     PORT HURON        MI 48060‐5934
UNITED WAY OF ST FRANCOIS CTY         614 WALMART DR                                                                                          FARMINGTON        MO 63640‐3315
UNITED WAY OF ST JOHNS COUNTY         PO BOX 625                                                                                              ST AUGUSTINE      FL 32085‐0625
UNITED WAY OF ST JOSEPH CO INC        PO BOX 6396                                                                                             SOUTH BEND        IN 46660‐6396
UNITED WAY OF ST. CATHARINES &        1 ST. PAUL ST.                     SUITE 102                                    ST. CATHARINES ON L2R
DISTRICT                                                                                                              7L2 CANADA
UNITED WAY OF ST. CATHARINES &        FRANCIS HALLWORTH                  ONE ST. PAUL ST.                 SUITE 102   ST. CATHARINES ON L2R
DISTRICT                                                                                                              7L2 CANADA
UNITED WAY OF SUMMIT COUNTY           PO BOX 1260                                                                                             AKRON            OH    44309‐1260
UNITED WAY OF TAMPA BAY INC           3201 W KENNEDY BLVD STE 500                                                                             TAMPA            FL    33609‐1820
UNITED WAY OF THE                     WABASH VALLEY                      PO BOX 3094                                                          TERRE HAUTE      IN    47803‐0094
UNITED WAY OF THE                     LOWER EASTERN SHORE                801 N SALISBURY BLVD STE 202                                         SALISBURY        MD    21801‐3633
UNITED WAY OF THE ALBERTA CAPITAL     10020 108 ST NW                                                                 EDMONTON AB T5J 1K6
REGION                                                                                                                CANADA
UNITED WAY OF THE BAY AREA            221 MAIN ST STE 300                                                                                     SAN FRANCISCO    CA    94105‐1911
UNITED WAY OF THE BIG BEND INC        307 E 7TH AVE                                                                                           TALLAHASSEE      FL    32303‐5520
UNITED WAY OF THE BLUEGRASS           PO BOX 13818                                                                                            LEXINGTON        KY    40583‐3818
UNITED WAY OF THE CAPITAL AREA        PO BOX 23169                                                                                            JACKSON          MS    39225‐3169
UNITED WAY OF THE CAPITAL AREA INC    PO BOX 23169                                                                                            JACKSON          MS    39225‐3169

UNITED WAY OF THE CAPITAL AREA, INC   30 LAUREL STREET                                                                                        HARTFORD          CT   06106

UNITED WAY OF THE CAPITAL REGION      2235 MILLENIUM WAY                                                                                      ENOLA            PA    17025‐1497
UNITED WAY OF THE CENTRAL             SAVANNAH RIVER AREA                PO BOX 1724                                                          AUGUSTA          GA    30903‐1724
UNITED WAY OF THE COASTAL BEND        711 N CARANCAHUA ST STE 302                                                                             CORPUS CHRISTI   TX    78475‐0080
UNITED WAY OF THE COASTAL EMPIRE, INC PO BOX 2946                                                                                             SAVANNAH         GA    31402‐2946

UNITED WAY OF THE DESERT              PO BOX 1990                                                                                             PALM SPRINGS     CA 92263‐1990
UNITED WAY OF THE DUPAGE AREA         231196 MOMENTUM PL                                                                                      CHICAGO          IL 60689‐5311
UNITED WAY OF THE GREAT SALT LAKE     175 S WEST TEMPLE STE 30                                                                                SALT LAKE CITY   UT 84101‐1424
AREA
UNITED WAY OF THE GREATER LEHIGH      2200 AVENUE A, 3RD FLOOR                                                                                BETHLEHEM         PA 18017
VALLEY
UNITED WAY OF THE LAKESHORE           PO BOX 207                                                                                              MUSKEGON          MI 49443‐0207
UNITED WAY OF THE LOWER MAINLAND      4543 CANADA WAY                                                                 BURNABY BC V5G 4T4
                                                                                                                      CANADA
UNITED WAY OF THE MID SOUTH           PO BOX 750730                                                                                           MEMPHIS          TN 38175‐0730
UNITED WAY OF THE MIDLANDS            1805 HARNEY ST                                                                                          OMAHA            NE 68102‐1908
UNITED WAY OF THE NATIONAL CAPITAL    8391 OLD COURTHOUSE RD STE 200                                                                          VIENNA           VA 22182‐3819
AREA
UNITED WAY OF THE NATIONAL CAPITAL    ATTN ACCT REC                      9200 BASIL COURT, SUITE 207                                          LANDOVER         MD 20785
AREA
UNITED WAY OF THE NATIONAL CAPITAL    ATT: ACCTS RECV                    8391 OLD COURTHOUSE RD STE 200                                       VIENNA           VA 22182‐3819
AREA
UNITED WAY OF THE NATIONAL CAPITAL    ATTN ACCT REC                      95 M ST SW                                                           WASHINGTON       DC 20024‐3622
AREA
UNITED WAY OF THE OZARKS              320 N JEFFERSON AVE                                                                                     SPRINGFIELD      MO 65806‐1109
UNITED WAY OF THE PLAINS              245 N WATER ST                                                                                          WICHITA          KS 67202‐1201
UNITED WAY OF THE QUAD CITIES AREA    PO BOX 5170                                                                                             ROCK ISLAND      IL 61204‐5170
INC
                                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                             Part 37 of 40 Pg 747 of 901
Name                                   Address1                            Address2                    Address3          Address4               City              State Zip
UNITED WAY OF THE TEXAS                GULF COAST                          PO BOX 200716                                                        HOUSTON            TX 77216‐0716
UNITED WAY OF THE TONAWANDAS, INC.     34 SEYMOUR ST                                                                                            TONAWANDA          NY 14150‐2126

UNITED WAY OF THE UPPER                OHIO VALLEY                        51 11TH ST                                                            WHEELING          WV   26003
UNITED WAY OF THE VIRGINIAS, INC       PO BOX 1515                                                                                              BLUEFIELD         WV   24701‐1515
UNITED WAY OF TIFTAREA INC             PO BOX 557                                                                                               TIFTON            GA   31793‐0557
UNITED WAY OF TRI COUNTY               46 PARK ST                                                                                               FRAMINGHAM        MA   01702
UNITED WAY OF TRI‐COUNTY               46 PARK STREET                                                                                           FRAMINGHAM        MA   01702
UNITED WAY OF TRI‐STATE                120 WALL ST FL 4                   ATTN: ACCOUNTING DEPT                                                 NEW YORK          NY   10005‐3920
UNITED WAY OF TROY OHIO INC            PO BOX 36                                                                                                TROY              OH   45373‐0036
UNITED WAY OF TRUMBULL COUNTY          3601 YOUNGSTOWN RD SE                                                                                    WARREN            OH   44484‐2832
UNITED WAY OF TUSCOLA COUNTY           PO BOX 51                                                                                                CASS CITY         MI   48726‐0051
UNITED WAY OF TYLER/                   SMITH COUNTY                       4000 SOUTHPARK DR STE 1200                                            TYLER             TX   75703‐1744
UNITED WAY OF VENTURA COUNTY           1317 DEL NORTE RD STE 100                                                                                CAMARILLO         CA   93010‐8363
UNITED WAY OF VOLUSIA‐FLAGLER CO INC   3747 W INTERNATIONAL SPEEDWAY BLVD                                                                       DAYTONA BEACH     FL   32124‐1071

UNITED WAY OF WACO‐                    MCLENNAN COUNTY                     4224 COBBS DR                                                        WACO              TX 76710‐3003
UNITED WAY OF WASHINGTON CO.           5374 N CROSSOVER RD                 ATT: HARRIET                                                         FAYETTEVILLE      AR 72764‐8626
UNITED WAY OF WASHINGTON COUNTY        58 E CHERRY AVE                                                                                          WASHINGTON        PA 15301

UNITED WAY OF WELLS COUNTY        122 LAMAR STREET                                                                                              BLUFFTON          IN   46714
UNITED WAY OF WEST                TENNESSEE, INC                           PO BOX 2086                                                          JACKSON           TN   38302‐2086
UNITED WAY OF WEST ELLIS CTY      PO BOX 1025                                                                                                   MIDLOTHIAN        TX   76065‐1025
UNITED WAY OF WESTBOROUGH INC     46 PARK STREET                                                                                                FRAMINGHAM        MA   01702
UNITED WAY OF WESTCHESTER         336 CENTRAL PARK AVE                                                                                          WHITE PLAINS      NY   10606‐1500
UNITED WAY OF WESTERN             MONTGOMERY COUNTY INC                    11 ROBINSON ST                                                       POTTSTOWN         PA   19464‐6439
UNITED WAY OF WESTMORELAND COUNTY 1011 OLD SALEM RD STE 101                                                                                     GREENSBURG        PA   15601‐1017

UNITED WAY OF WHITLEY COUNTY INC       PO BOX 464                                                                                               COLUMBIA CITY     IN 46725‐0464
UNITED WAY OF WILL COUNTY              54 N OTTAWA ST SUITE 330                                                                                 JOLIET            IL 60432
UNITED WAY OF WILLIAMS COUNTY          PO BOX 525                                                                                               BRYAN             OH 43506‐0525
UNITED WAY OF WINNIPEG                 MRS. JO WRIGHT                      3RD FLOOR                   5 DONALD STREET   WINNIPEG MB R3L 2T4
                                                                                                                         CANADA
UNITED WAY OF WYANDOTTE CO INC         PO BOX 17‐1042                                                                                           KANSAS CITY       KS   66117
UNITED WAY OF WYANDOTTE COUNTY         PO BOX 17‐1042                                                                                           KANSAS CITY       KS   66117
UNITED WAY OF WYTHE COUNTY             PO BOX 345                                                                                               WYTHEVILLE        VA   24382‐0345
UNITED WAY OF YELLOWSTONE COUNTY       PO BOX 669                                                                                               BILLINGS          MT   59103‐0669
INC
UNITED WAY SACRAMENTO AREA             10389 OLD PLACERVILLE RD                                                                                 SACRAMENTO        CA   95827‐2506
UNITED WAY SERVICES                    PO BOX 11807                                                                                             RICHMOND          VA   23230‐8007
UNITED WAY SERVICES                    1331 EUCLID AVE                                                                                          CLEVELAND         OH   44115
UNITED WAY SERVICES OF NORTHERN        713 E STATE ST                                                                                           SALEM             OH   44460
COLUMBIANA COUNTY
UNITED WAY SOUTHEASTERN PA             7 BENJAMIN FRANKLIN PKWY                                                                                 PHILADELPHIA      PA 19103
UNITED WAY SOUTHERN KENTUCKY           PO BOX 3330                                                                                              BOWLING GREEN     KY 42102‐3330
UNITED WAY WILLIAMSON COUNTY           209 GOTHIC CT                       STE 107                                                              FRANKLIN          TN 37067‐2810
UNITED WAY WOODSTOCK                   943 DUNDAS ST                                                                     WOODSTOCK ON N4S 7X6
                                                                                                                         CANADA
UNITED WAY YOUNGSTOWN\                 MAHONING VALLEY                     255 WATT ST                                                          YOUNGSTOWN        OH   44505‐3049
UNITED WAY, BLOSSOMLAND &              RED BUD/HARBOR COUNTY               PO BOX 807                                                           BENTON HARBOR     MI   49023‐0807
UNITED WAY, INC. HARBOR/               SOUTHEAST REGION                    3515 LINDEN AVE                                                      LONG BEACH        CA   90807‐4519
UNITED WAY‐                            THOMAS JEFFERSON AREA               806 E HIGH ST                                                        CHARLOTTESVILLE   VA   22902‐5126
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                       Part 37 of 40 Pg 748 of 901
Name                                Address1                         Address2                  Address3              Address4              City               State Zip
UNITED WAY‐                         THOMAS JEFFERSON AREA            PO BOX 139                                                            CHARLOTTESVILLE     VA 22902‐0139
UNITED WAY‐GREATER LOS ANGELESSAN   5121 VAN NUYS BLVD STE 205                                                                             SHERMAN OAKS        CA 91403‐6125
FERNANDO‐SANTA CLARITA/GAB

UNITED WAY/CENTRAIDE OTTAWA         EILEEN DOOLEY                    100‐106 COLONNADE RD                            NEPEAN ON K2E 7P4
                                                                                                                     CANADA
UNITED WAY/MAJIC CHRISTMAS          WISH                             C/O BARB RICHARDS         347 E BERRY STE 417                         FORT WAYNE         IN   46802
UNITED WAY/TUCSON                   PO BOX 86750                                                                                           TUCSON             AZ   85754‐6750
UNITED WHOLESALE GROCERY            330 ANN ST NW                                                                                          GRAND RAPIDS       MI   49504‐2018
UNITED WIRE CO                      50 MCDERMOTT RD                                                                                        NORTH HAVEN        CT   06473‐3612
UNITED WY OF THE NATL CAPITAL       AREA SERVING LOUDOUN UNITED WY   10B S KING ST                                                         LEESBURG           VA   20175‐3007
UNITED XPRESS INC                   PO BOX 5427                                                                                            STATESVILLE        NC   28687‐5427
UNITEK SEALING SOLUTIONS            315 BRIGHTON ST                                                                                        LA PORTE           IN   46350‐2608
UNITEK SEALING SOLUTIONS CORP       315 BRIGHTON ST                                                                                        LA PORTE           IN   46350‐2608
UNITEK SEALING SOLUTIONS CORP       LESLIE HERROD                    PO BOX 153                                                            NORTH TONAWANDA    NY   14120‐0153
UNITEMP/COLOMA                      5258 N. M‐63                                                                                           COLOMA             MI   49038
UNITH L MARTIN                      905 UNIVERSITY DR                                                                                      PONTIAC            MI   48342‐1863
UNITH MARTIN                        905 UNIVERSITY DR                                                                                      PONTIAC            MI   48342‐1863
UNITIL                              PO BOX 2014                                                                                            CONCORD            NH   03302‐2014
UNITIL NORTHERN UTILITIES           ATTN BANKRUPTCY DEPT             PO BOX 2025                                                           SPRINGFIELD        MA   01102‐2025
UNITIS, FRANK V                     2763 SILVERHILL DR                                                                                     WATERFORD          MI   48329‐4421
UNITIS,KATE E                       6560 COLBY LN                                                                                          BLOOMFIELD HILLS   MI   48301‐2943
UNITIZE COMPANY INC                 FMLY OSTERFELD H J CO INC        1101 NEGLEY                                                           DAYTON             OH   45402
UNITIZE COMPANY INC                 1101 NEGLEY PL                                                                                         DAYTON             OH   45402‐6258
UNITOG MECHANICS UNIFORM CO         2244 W WARREN AVE                                                                                      DETROIT            MI   48208‐2220
UNITOWSKI, VIOLET
UNITRAC RAILROAD MATERIALS INC      PO BOX 7098                                                                                            KNOXVILLE          TN 37921‐0002
UNITRANS MOTORS PTY LTD             14 EDWARD STREET, KENSINGTON B                                                   RANDBURG 2194 SOUTH
                                                                                                                     AFRICA
UNITRIN                             1 EAST WACKER DRIVE                                                                                    CHICAGO            IL   60601
UNITRIN                             FRANK SNYDER                     1 EAST WACKER DRIVE                                                   CHICAGO            IL   60601
UNITRIN INC                         1 EAST WACKER                                                                                          CHICAGO            IL   60601
UNITROL CORP                        3321 N LAPEER                                                                                          AUBURN HILLS       MI   48326
UNITUBE GMBH                        INDUSTRIEPARK 3                                                                  ETZBACH RP 57539
                                                                                                                     GERMANY
UNITUBE/GERMANY                     INDUSTRIEPARK 3                                                                  ETZBACK RP 57539
                                                                                                                     GERMANY
UNITY CONSTRUCTION CO INC           3048 E HEMPHILL RD                                                                                     BURTON             MI   48529‐1439
UNITY CREDIT UNION                  ATTN:KAREN SCOTT                 7240 E 12 MILE RD                                                     WARREN             MI   48092‐2754
UNITY FIRST DIRECT INC              PO BOX 80837                                                                                           SPRINGFIELD        MA   01138‐0837
UNITY INC                           7950 JONES BRANCH DR                                                                                   MC LEAN            VA   22107‐0001
UNITY MANUFACTURING CO              PO BOX 92029                                                                                           CHICAGO            IL   60675‐2029
UNITY MANUFACTURING CO              WILLIAM GROSS                    1260 N CLYBOURN AVE                                                   ALBION             MI
UNITY MARKETING INC                 206 E CHURCH ST                                                                                        STEVENS            PA   17578‐9452
UNITY PHYS THER & RE                209 WEST MAIN ROAD                                                                                     ROSE CITY          MI   48654
UNITY REABILITATION                 PO BOX 26206                                                                                           NEW YORK           NY   10087‐6206
UNITY RUBBER CO LTD                 PO BOX 510                       12369 KINSMAN RD                                                      NEWBURY            OH   44065‐0510
UNIV ANESTHESIA ASSO                PO BOX 631114                                                                                          CINCINNATI         OH   45263‐14
UNIV AT BUFFALO SURG                PO BOX 8000                                                                                            BUFFALO            NY   14267‐0002
UNIV NEVADA MOTORPOOL                                                250 A TWILIGHT ‐ MS 183                                                                  NV   89557
UNIV OF BUFFALO PATH                PO BOX 8000                                                                                            BUFFALO            NY   14267‐0002
UNIV OF CHICAGO PHYSICANS GROUP                                                                                                            CHICAGO            IL   60637
                                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                       Exhibit B
                                                                         Part 37 of 40 Pg 749 of 901
Name                                  Address1                              Address2                         Address3                     Address4             City              State Zip
UNIV OF ILLINOIS AT CHICAGO           FINANCIAL SERVICES MC557              809 SOUTH MARSHFIELD AVENUE      ROOM 116A                                         CHICAGO             IL 60612
UNIV OF KANSAS HOSP                   PO BOX 2941                                                                                                              SHAWNEE MISSION    KS 66201‐1341
UNIV OF MASSACHUSETTS LOWELL OFFICE   1 UNIVERSITY AVE                      PRODUCTION                                                                         LOWELL             MA 01854‐2827
OF RESEARCH ADMIN
UNIV OF MICH/SOFTWAR                  3003 S STATE ST                       WOLVERINE TOWER ROOM 2071                                                          ANN ARBOR         MI   48109‐1271
UNIV OF OMAHA ALUMNI ASSOC            6001 DODGE ST                                                                                                            OMAHA             NE   68182‐2000
UNIV OF PA EMER                       PO BOX 8484                                                                                                              CHERRY HILL       NJ   08002‐0484
UNIV OF PITTSBURGH P                  PO BOX 382053                                                                                                            PITTSBURGH        PA   15251‐8053
UNIV OF ROCH NEUROSU                  601 ELMWOOD AVE # 670                                                                                                    ROCHESTER         NY   14642‐0001
UNIV OF TN MEDICAL C                  PO BOX 440164                                                                                                            NASHVILLE         TN   37244‐0164
UNIV OF TN/TN                         COLLEGE OF BUSINESS ADMIN             708 STOKELY MGT CTR                                                                KNOXVILLE         TN   37996‐0001
UNIV OF WIS HOSPITAL                  DRAWER 853                                                                                                               MILWAUKEE         WI   53278‐0001
UNIV TN /MAINTENANCE                  ATTN DR TOM SHANNON                   MAINTENANCE & RELIABILITY CTR.   103 ESTABROOK HALL                                KNOXVILLE         TN   37996‐0001

UNIV TOLEDO MEDICAL                   DEPT L674                                                                                                                COLUMBUS          OH   43260‐0001
UNIV. AT BUFFALO NEU                  PO BOX 8000                                                                                                              BUFFALO           NY   14267‐0002
UNIV. OF ILLINOIS‐URBANA              1501 S OAK ST                                                                                                            CHAMPAIGN         IL   61820‐6905
UNIVAR USA INC                        C/O LESLIE R SCHENK                   GARVEY SCHUBERT BARER            1191 SECOND AVENUE 18TH                           SEATTLE           WA   98101
                                                                                                             FLOOR
UNIVAR USA INC                        GARVEY SCHUBERT BARER                 1191 SECOND AVENUE               18TH FLOOR                                        SEATTLE           WA 98101
UNIVAR USA INC                        UNIVAR USA INC C/O LESLIE R SCHENCK   GARVEY SCHUBERT BARER            1191 SECOND AVENUE 18TH                           SEATTLE           WA 98101
                                                                                                             FLOOR
UNIVAR USA INC                        C/O LESLIE R SCHENCK                  GARVEY SCHUBERT BARER            1191 SECOND AVENUE 18TH                           SEATTLE           WA 98101
                                                                                                             FLOOR
UNIVAR USA, INC.                     LINDA JENNINGS                         PO BOX 34325                                                                       SEATTLE           WA   98124‐1325
UNIVAY SCOTT                         8889 W COUNTY RD                       825 N                                                                              MIDDLETOWN        IN   47356
UNIVEARSAL METAL PRODUCTS            KATHY ERZEN X213                       PO BOX 130                                                                         WICKLIFFE         OH   44092‐0130
UNIVEARSAL METAL PRODUCTS            KATHY ERZEN X213                       29980 LAKELAND BLVD/POB 130                                                        LAREDO            TX   78042
UNIVER OF TEXAS AT SAN ANTONIOOFFICE 6900 N LOOP 1604 W                                                                                                        SAN ANTONIO       TX   78249‐1130
OF BUSINESS MANAGER

UNIVER OF TOLEDO AT SEAGATE CENTRE    DIV OF CONTINUING EDUCATION           401 JEFFERSON AVE                                                                  TOLEDO            OH 43604
UNIVERSITY COLLEGE
UNIVERISTY OF FLORIDA                 EXECUTIVE EDUCATION                   2207 NW 13TH ST STE C                                                              GAINESVILLE       FL 32609‐3453
UNIVERISTY OF KENTUCKY                INCOME TAX SEMINAR                    640 S BROADWAY STE 210                                                             LEXINGTON         KY 40508‐3147
UNIVERISTY OF NEW MEXICO              BURSARS OFFICE                        MSC 6 3660                       1 UNIVERSITY OF NEW MEXICO                        ALBUQUERQUE       NM 87131‐0001

UNIVERITY LITHOPRINTERS               4150 VARSITY DR                                                                                                          ANN ARBOR         MI   48108‐2274
UNIVERSAL                             1760 MILLER PKWY                                                                                                         STREETSBORO       OH   44241‐4633
UNIVERSAL ALL CONTINENT INC           PO BOX 6069                                                                                                              KOKOMO            IN   46904‐6069
UNIVERSAL AM‐CAN LTD                  11355 STEPHENS ROAD                                                                                                      WARREN            MI   48089
UNIVERSAL AM‐CAN LTD                  PO BOX 22866                          CENTRA INC SCAC OITP                                                               TAMPA             FL   33622‐2866
UNIVERSAL AM‐CAN LTD                  PO BOX 80                                                                                                                WARREN            MI   48090‐0080
UNIVERSAL AM‐CAN LTD CO (INC)         RICK GNACKE                           11355 STEPHENS RD                                                                  WARREN            MI   48089‐1802
UNIVERSAL AMBULANCE                   DEPT 77449                            P O BOX 77000                                                                      DETROIT           MI   48277‐0001
UNIVERSAL AMBULANCE RESPONSE          DEPT 77449                            P O BOX 77000                                                                      DETROIT           MI   48277‐49
UNIVERSAL AMBULANCE RESPONSE          4199 DAVISON RD # B                                                                                                      BURTON            MI   48509‐1468
UNIVERSAL AUTO ELECTRIC LTD.          1137 MCGREGOR SIDE RD                                                                               SARNIA ON N7S 4T1
                                                                                                                                          CANADA
UNIVERSAL AUTO GROUP II, INC.         PHILIP BIVENS                         1600 AUBURN WAY N                                                                  AUBURN            WA 98002‐3376
UNIVERSAL AUTO SERVICE                105 ORMONT DR                                                                                       WESTON ON M9L 2S3
                                                                                                                                          CANADA
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                         Part 37 of 40 Pg 750 of 901
Name                                Address1                             Address2                           Address3   Address4                 City               State Zip
UNIVERSAL AUTO WORKS                1‐3 HERITAGE RD                                                                    MARKHAM ON L3P 1M3
                                                                                                                       CANADA
UNIVERSAL BEARINGS INC              431 N BIRKEY ST                                                                                             BREMEN              IN   46506‐2016
UNIVERSAL BEARINGS LLC              431 N BIRKEY ST                                                                                             BREMEN              IN   46506‐2016
UNIVERSAL BEARINGS, INC             ROBERT D. FOX                        431 N BIRKEY ST                               TOLUCA EM 50061 MEXICO
UNIVERSAL BINDERY CO                15220 HARPER AVE                                                                                            DETROIT            MI 48224‐3052
UNIVERSAL BRASS INC.                MYRON LEWIS                          131 30TH ST NE STE 25                                                  AUBURN             WA 98002‐1700
UNIVERSAL BRASS INC.
UNIVERSAL BUILDING PRODUCTS IN      8481 BASH ST STE 700                                                                                        INDIANAPOLIS       IN 46250‐0025
UNIVERSAL BUILDING PRODUCTS INC     8481 BASH ST STE 700                                                                                        INDIANAPOLIS       IN 46250‐0025
UNIVERSAL CARGO CONTROL PRODUCTS    6892 SNOWVILLE ROAD                                                                                         BRECKSVILLE        OH 44141
INC
UNIVERSAL CHEVROLET                 2907 HIGHWAY 129 S                                                                                          CLEVELAND           GA   30528‐7128
UNIVERSAL CHEVROLET COMPANY         105 S MAIN ST                                                                                               WENDELL             NC   27591‐7937
UNIVERSAL CHEVROLET COMPANY         W. PAUL WHITE                        105 S MAIN ST                                                          WENDELL             NC   27591‐7937
UNIVERSAL CITY STUDIOS                                                   100 UNIVERSAL CITY PLZ BLDG 152B                                                           CA   91608

UNIVERSAL COATINGS INC              1167 W FRANCES RD                                                                                           MOUNT MORRIS        MI 48458‐1042
UNIVERSAL COMMUNICATIONS            10 BAY ST 10TH FLOOR                                                               TORONTO CANADA ON M5J
MANAGEMENT                                                                                                             2S3
UNIVERSAL CONTAINER REPAIR          5109 PEARL AVE                                                                                              LORAIN             OH 44055‐3304
UNIVERSAL CONTAINMENT DEVICES       ATTN: CORPORATE OFFICER/AUTHORIZED   6892 W SNOWVILLE ROAD                                                  BRECKSVILLE        OH 44141
                                    AGENT
UNIVERSAL CONTRACT LOGISTICS        TED BROWN                            5425 DIXIE ROAD                               MISSISSAUGA ON L4W 1E8
                                                                                                                       CANADA
UNIVERSAL CONTRACT LOGISTICS        DARSHAN KAILEY                       5425 DIXIE ROAD                               MISSISSAUGA ONTARIO
                                                                                                                       L4W‐1E8 CANADA
UNIVERSAL CUSTOMS BROKERS LTD       175 COMMERCE VALLEY DR W #300                                                      THORNHILL ON L3T 7P6
                                                                                                                       CANADA
UNIVERSAL DATA INCORPORATED         27 S MAIN ST                                                                                                CLARKSTON          MI 48435‐1525
UNIVERSAL DEVELOPMENT MGMT INC      1607 MOTOR INN DR                                                                                           GIRARD             OH 44420
UNIVERSAL DISTRIBUTION LLC
UNIVERSAL DRUM RECONDITIONING       2460 ROYAL WINDSOR DR                                                              MISSISSAUGA ON L5J 1K7
                                                                                                                       CANADA
UNIVERSAL DY/WOODBRI                13600 DABNEY RD                      PO BOX DRAWER X                                                        WOODBRIDGE         VA    22191‐1446
UNIVERSAL ELECTRIC PROD CO INC      28928 GRAND RIVER AVE                                                                                       FARMINGTON HILLS   MI    48336‐5830
UNIVERSAL ENSCO                     CARL SHELBURNE                       4848 LOOP CENTRAL DR.                                                  HOUSTON            TX    77081
UNIVERSAL ENTERPRISES               ATTN: PHIL MCFADDEN                  545 BEER RD                                                            ONTARIO            OH    44906‐1214
UNIVERSAL FAB/MD HGT                25855 COMMERCE DR                                                                                           MADISON HEIGHTS    MI    48071‐4152
UNIVERSAL FOOD & BEVERAGE           ATTN: JOSH CANTOR                    1457 RARITAN RD # 201                                                  CLARK              NJ    07066‐1240
UNIVERSAL GARAGE LTD                150 BINNINGTON CRT UNIT 3                                                          KINGSTON ON K7M 8N1
                                                                                                                       CANADA
UNIVERSAL GRINDING WHEEL            DIV OF UNICORN ABRASIVES OF CA       3 BEACH RD                                    HAMILTON CANADA ON L8L
                                                                                                                       7Y5 CANADA
UNIVERSAL GROUP OF COMPANIES I      20600 EUREKA RD STE 709                                                                                     TAYLOR              MI 48180‐5376
UNIVERSAL GROUP OF COMPANIES INC    20600 EUREKA RD STE 709                                                                                     TAYLOR              MI 48180‐5376

UNIVERSAL HANDLING EQUIPMENT        1650 INDUSTRIAL DR                                                                                          OWOSSO              MI 48867‐8979
COMPANY INC
UNIVERSAL HEALTH GRO                5761 W MAPLE RD                                                                                             WEST BLOOMFIELD    MI 48322‐2270
UNIVERSAL HOME HEALT                24315 NORTHWESTERN HWY               STE 226                                                                SOUTHFIELD         MI 48075‐6815
UNIVERSAL HOSPITAL SERVICES, INC.   MARK GOEBEL                          3800 WEST 80TH. STREET                                                 BLOOMINGTON        MN
                                       09-50026-mg                 Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                              Part 37 of 40 Pg 751 of 901
Name                                  Address1                             Address2                       Address3   Address4                 City               State Zip
UNIVERSAL HYDRO TEST CO               ENERPIPE CORP                        1800 S WASHINGTON ST STE 100                                       AMARILLO            TX 79102‐2668
UNIVERSAL IMAGING IN                  1159 E MICHIGAN AVE                                                                                     YPSILANTI           MI 48198‐5807
UNIVERSAL IND/MAD HT                  27411 DEQUINDRE                                                                                         MADISON HEIGHTS     MI 48071
UNIVERSAL INDUSTRIES INC              32349 MILTON AVE                                                                                        MADISON HEIGHTS     MI 48071‐5601
UNIVERSAL INSTRUMENTS CORP            CHURCH STREET STATION                PO BOX 6459                                                        NEW YORK            NY 10249‐6459
UNIVERSAL INSURANCE P.O.# GMB08082

UNIVERSAL LAND CONSTRUCTION CO.                                            20306 144TH AVE. N.E.                                                                 WA 98072
UNIVERSAL LIFT PARTS, INC.            3752 ROBERT T LONGWAY BLVD                                                                              FLINT              MI 48506‐4123
UNIVERSAL MACHINE/IN                  3838 S ARLINGTON AVE                                                                                    INDIANAPOLIS       IN 46203‐6107
UNIVERSAL MANUFACTURING CO
UNIVERSAL MCCANN                      4500 BISCAYNE BLVD PH                                                                                   MIAMI              FL   33137‐3227
UNIVERSAL METAL PRODUCTS INC          29980 LAKELAND BLVD                  PO BOX 130                                                         WICKLIFFE          OH   44092‐1744
UNIVERSAL METAL PRODUCTS INC          KATHY ERZEN X213                     29980 LAKELAND BLVD/POB 130                                        LAREDO             TX   78042
UNIVERSAL METAL PRODUCTS INC          KATHY ERZEN X213                     PO BOX 130                                                         WICKLIFFE          OH   44092‐0130
UNIVERSAL METAL PRODUCTS INC          29980 LAKELAND BLVD                                                                                     WICKLIFFE          OH   44092‐1744
UNIVERSAL MOTOR CO. LTD.              NO. 1707, SOI PHAHON YOTHI                                                     BANGKOK 10900 THAILAND
UNIVERSAL MOTORS                      AL KUWAIT STREET                                                               KHAFJI SAUDI ARABIA
UNIVERSAL MOTORS                      AL NAROSA DISTRICT                                                             NAJRAN SAUDI ARABIA
UNIVERSAL MOTORS                      Q8 STREET                                                                      HAFER AL BATIN SAUDI
                                                                                                                     ARABIA
UNIVERSAL MOTORS                      MAIN STREET                                                                    JAZAN SAUDI ARABIA
UNIVERSAL MOTORS AGENCIES CO LTD      PO BOX 6059                                                                    JEDDAH 21422 SAUDI
                                                                                                                     ARABIA
UNIVERSAL MOTORS AGENCIES CO., LTD    P.O. BOX 6059                                                                  JEDDAH 21422 SAUDI
                                                                                                                     ARABIA
UNIVERSAL MOTORS AGENCIES CO., LTD.   P.O. BOX 6059                                                                  JEDDAH 21422 SAUDI
                                                                                                                     ARABIA
UNIVERSAL MOTORS ISRAEL LTD           UMI LOGISTICS PARTS CENTER           HEVEL MODLIN‐SHOAM                        ISRAEL
UNIVERSAL MOTORS ISRAEL LTD           5 PLATIN STREET POB 17011            RISHON LEZION 75070 ISREAL                RISHON LEZION ISREAL
                                                                                                                     ISRAEL
UNIVERSAL MOTORS, INC.                JAMES PIERRE                         11577 LAKE CITY WAY NE                                             SEATTLE            WA   98125
UNIVERSAL PAIN MANAG                  819 AUTO CENTER DR                                                                                      PALMDALE           CA   93551
UNIVERSAL PALLET SUPPLY INC           54722 CHELSEA                        PO BOX 3017                                                        ELKHART            IN   46516‐9709
UNIVERSAL PIPING INC                  12900 CAPITAL ST                                                                                        OAK PARK           MI   48237‐3158
UNIVERSAL PLANT SERVICES              STEWART JONES                        801 GEORGIA AVE                                                    DEER PARK          TX   77536‐2515
UNIVERSAL POL/OH                      15730 MADISON RD                                                                                        MIDDLEFIELD        OH   44062‐8408
UNIVERSAL POLYMER & RUBBER LTD        15730 MADISON RD                     PO BOX 767                                                         MIDDLEFIELD        OH   44062‐8408
UNIVERSAL POWER INC,
UNIVERSAL PRESS & MACHINERY           ATTN JIM PATRONA                     22778 MACOMB INDUSTRIAL DR                                         CLINTON TOWNSHIP   MI   48036‐1137
UNIVERSAL PUMP CO                     29212 LYON OAKS DR                                                                                      WIXOM              MI   48393‐2340
UNIVERSAL PUMP COMPANY                29212 LYON OAKS DR                                                                                      WIXOM              MI   48393‐2340
UNIVERSAL RADIOLOGY                   PO BOX 8000                                                                                             BUFFALO            NY   14267‐0002
UNIVERSAL SERVICE & REPAIR LTD        1079 EAGON ST                                                                                           BARBERTON          OH   44203‐1603
UNIVERSAL SERVICE & REPAIR LTD        5509 TELEGRAPH RD                                                                                       TOLEDO             OH   43612
UNIVERSAL SERVICE ADM. COMPANY        135 S. LASALLE, DEPT. 1259                                                                              CHICAGO            IL   60674‐1259
UNIVERSAL SERVICE CENTER              5989 TURKEY LAKE RD                                                                                     ORLANDO            FL   32819‐4201
UNIVERSAL SERVICES INC                PO BOX 19555                                                                                            OKLAHOMA CITY      OK   73144‐0555
UNIVERSAL SILENCER LLC                PO BOX 411                           1925 HIGHWAY 51/138                                                STOUGHTON          WI   53589‐0411
UNIVERSAL SOL/SOUTHF                  28260 FRANKLIN RD                                                                                       SOUTHFIELD         MI   48034‐1659
UNIVERSAL SOLUTIONS & ASSOC. INC      32 MARINERS COVE                                                                                        EDGE WATER         NJ   07020
UNIVERSAL STUDIOS                     100 UNIVERSAL CITY PLZ                                                                                  UNIVERSAL CITY     CA   91608‐1002
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                         Part 37 of 40 Pg 752 of 901
Name                                Address1                           Address2                         Address3                 Address4                City              State Zip
UNIVERSAL STUDIOS                   RICK FINNEY                        100 UNIVERSAL CITY PLZ                                                            UNIVERSAL CITY     CA 91608‐1002
UNIVERSAL STUDIOS LICENSING LLLP    100 UNIVERSAL CITY PLZ             1440‐15                                                                           UNIVERSAL CITY     CA 91608‐1002
UNIVERSAL SUP/ROMULS                27588 NORTHLINE RD                 PRECISION GRINDING SYSTEMS DIV                                                    ROMULUS            MI 48174‐2826

UNIVERSAL SUPERABRASIVES INC        27588 NORTHLINE RD                 WHEEL DRESSING                                                                    ROMULUS           MI    48174‐2826
UNIVERSAL SUPERABRASIVES INC        27588 NORTHLINE RD                                                                                                   ROMULUS           MI    48174‐2826
UNIVERSAL TECH INST                 RON OBSTFELD                       20410 N 19TH AVE STE 200                                                          PHOENIX           AZ    85027‐3598
UNIVERSAL TECHNICAL SYSTEMS EF      1220 ROCK ST                                                                                                         ROCKFORD          IL    61101‐1437
UNIVERSAL TEST EQUIPMENT INC        1625 QUAIL RUN RD                                                                                                    CHARLOTTESVILLE   VA    22911
UNIVERSAL TIRE SERVICE, INC         4608 FAYETTEVILLE RD                                                                                                 RALEIGH           NC    27603‐3616
UNIVERSAL TIRE/NSHVL                PO BOX 24746                                                                                                         NASHVILLE         TN    37202‐4746
UNIVERSAL TOOL & ENGINEERING C      7601 E 88TH PL                                                                                                       INDIANAPOLIS      IN    46256‐1260
UNIVERSAL TOOL & ENGINEERING CINC   7601 E 88TH PL                                                                                                       INDIANAPOLIS      IN    46256‐1260

UNIVERSAL TOOL & ENGINEERING CO     7601 E 88TH PL                                                                                                       INDIANAPOLIS       IN   46256‐1260
UNIVERSAL TOOL & ENGINEERING        JANE A. GRUMMANN                   7601 E 88TH PL, BLD 3, STE 100                                                    INDIANAPOLIS       IN   46256‐1260
COMPANY, INC.
UNIVERSAL TOOL & ENGINEERING        7601 E 88TH PL                                                                                                       INDIANAPOLIS       IN   46256‐1260
COMPANY, INC.
UNIVERSAL TOOL & ENGINEERING        JANE A. GRUMMANN                   7601 E 88TH PL                                                                    INDIANAPOLIS       IN   46256‐1260
COMPANY, INC.
UNIVERSAL TOOL INC                  1935 RING DR STE A                                                                                                   TROY              MI    48083‐4217
UNIVERSAL TOOL/WATER                2500 WILLIAMS DR                                                                                                     WATERFORD         MI    48328‐1868
UNIVERSAL TOOLING CORP              UNIVERSAL MACHINING CORP           435 ROSKE DR                                                                      ELKHART           IN    46516‐9086
UNIVERSAL TR/MAD HGT                1451 E LINCOLN AVE                                                                                                   MADISON HEIGHTS   MI    48071‐4136
UNIVERSAL TRANSPORT INC             12 SDS # 0842                                                                                                        MINNEAPOLIS       MN    55486
UNIVERSAL TRANSPORTATION SYSTEMS                                       5284 WINTON RD                                                                                      OH    45014
(UTS)
UNIVERSAL TRIM INC                  1451 E LINCOLN AVE                                                                                                   MADISON HTS       MI    48071‐4136
UNIVERSAL TRIM INC                  MARK CORSELLO                      1451 E LINCOLN AVE               CNI/UTI                                          MADISON HEIGHTS   MI    48071‐4136
UNIVERSAL TRIM INC                  MARK CORSELLO                      CNI/UTI                          1451 E LINCOLN                                   MOREHEAD          KY    40361
UNIVERSAL TRUCK SERVICE INC         15 MCCULLOUGH DR                                                                                                     NEW CASTLE        DE    19720‐2080
UNIVERSAL TU/ROCHEST                2607 BOND ST                                                                                                         ROCHESTER HILLS   MI    48309‐3510
UNIVERSAL TUBE                      DARRELL BOOS X26                   2607 BOND ST                                                                      ROCHESTER HILLS   MI    48309‐3510
UNIVERSAL TUBE                      DARRELL BOOS X26                   2607 BOND STREET                                                                  LYNCHBURG         VA
UNIVERSAL TUBE INC                  2607 BOND ST                                                                                                         ROCHESTER HILLS   MI    48309‐3510
UNIVERSAL TUBE INC                  DARRELL BOOS X26                   2607 BOND ST                                                                      ROCHESTER HILLS   MI    48309‐3510
UNIVERSAL TUBE INC                  DARRELL BOOS X26                   2607 BOND STREET                                                                  LYNCHBURG         VA
UNIVERSAL UNDERWRITERS GROUP
UNIVERSAL UNDERWRITERS INS          7045 COLLEGE BLVD                                                                                                    OVERLAND PARK      KS   66211‐1523
UNIVERSAL UNDERWRITERS INS CO       PO BOX 29195                                                                                                         SHAWNEE MISSION    KS   66201
UNIVERSAL UNDERWRITERS INS CO       100 WALNUT AVE                                                                                                       CLARK              NJ   07066‐1297
UNIVERSAL UNDERWRITERS INSURANCE    & ITS AFFILIATES (SEE ATTACHED)    C/O MARGARET M ANDERSON       FOX, HEFTER, SWIBEL, LEVIN & 200 W MADISON STREET   CHICAGO            IL   60606
COMPANY                                                                                              CARROLL, LLP                 SUITE 3000
UNIVERSAL UNDERWRITERS INSURANCE    ITS AFFILIATES (SEE ATTACHED)      C/O MARGARET M ANDERSON ET AL 200 W MADISON STREET SUITE                          CHICAGO            IL   60606
COMPANY &                                                                                            3000
UNIVERSAL WALL SYSTEMS              6119 28TH ST SE STE 1B                                                                                               GRAND RAPIDS      MI 49546‐6956
UNIVERSAL WALL SYSTEMS INC          CONTRACTING CORP, AS SUBCONTRACTOR THORNAPPLE OFFICE PLAZA          6119 28TH ST SE          ST 1B                   GRAND RAPIDS      MI 49546
SUBSUBCONTRACTOR TO COMMERCIAL      TO H M WHITE)
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                                                          Part 37 of 40 Pg 753 of 901
Name                                  Address1                           Address2                          Address3                  Address4                City           State Zip
UNIVERSAL WALL SYSTEMS INC            CONTRACTING CORP, AS SUBCONTRACTOR ATTN: CORPORATE                   6119 28TH ST SE, ST 1B    THORNAPPLE OFFICE PLAZA GRAND RAPIDS    MI 49546
SUBSUBCONTRACTOR TO COMMERCIAL        TO H M WHITE)                      OFFICER/AUTHORIZED AGENT

UNIVERSAL WARRANTY CORP               11819 MIAMI STREET                                                                                                       OMAHA        NE 68164
UNIVERSAL WARRANTY CORP               11819 MIAMI ST                     PO BOX 542050                                                                         OMAHA        NE 68164
UNIVERSAL WARRANTY CORPORATION        ATTN: GENERAL COUNSEL              300 GALLERIA OFFICENTRE STE 200                                                       SOUTHFIELD   MI 48034‐8461

UNIVERSAL WEATHER & AVIATION INC      PO BOX 201033                                                                                                            HOUSTON      TX   77216‐1033
UNIVERSAL‐INVESTMENT GMBH FOR THE     FUHR UNIVERSAL RENTEN GLOBAL       ERLENSTRASSE 2                                              60325 FRANKFURT AM
FUND JOHANNES                                                                                                                        MAIN GERMANY
UNIVERSAL‐INVESTMENT GMBH FOR THE     UNIVERSAL INVESTMENT GMBH          ERLENSTRASSE 2                                              60325 FRANKFURT AM
FUND UNIVERSAL HP III SEGMENT GS HY                                                                                                  MAIN GERMANY

UNIVERSAL‐MACOMB AMBULANCE                                               37583 MOUND RD                                                                                     MI   48310
UNIVERSATA, INC.                      12800 MIDDLEBROOK RD STE 400                                                                                             GERMANTOWN   MD   20874‐5282
UNIVERSATA, INC.                      PO BOX 403747                                                                                                            ATLANTA      GA   30384‐3747
UNIVERSIDAD DEL TURABO                PO BOX 21345                       DEPARTAMENTO DE                                                                       SAN JUAN     PR   00928‐1345
                                                                         RECAUDACIONES
UNIVERSIDAD INTERAMERICANA            RECINTO DE BAYAMON                 URB INDUSTRIAL MINILLAS CARR      174 KM 2 2                                          BAYAMON      PR   00959
UNIVERSIDAD INTERAMERICANA DE         PO BOX 191293                                                                                                            SAN JUAN     PR   00919‐1293
PUERTO RICO
UNIVERSIDAD INTERAMERICANA DE         PO BOX 4050                                                                                                              ARECIBO      PR   00614
PUERTO RICO
UNIVERSIDAD INTERAMERICANA DE         PO BOX 5100                        OFICINA DE RECAUDACIONES                                                              SAN GERMAN   PR   00683‐9801
PUERTO RICO DE SAN GERMAN
UNIVERSIDAD POLITECHNICA DE VA        CAMINO DE VERA S/N                 E‐46022 VALENCIA                                            ESPANA SPAIN
UNIVERSIDAD POLITECHNICA DE VA        CAMINO DE VERSA S/N                                                                            VALENCIA ES 46022 SPAIN
UNIVERSIDAD POLITECNICA DE PUERTO     PO BOX 192017                                                                                                            SAN JUAN     PR   00919‐2017
RICO
UNIVERSIDAT INTERAMERICANA DE         PO BOX 363255                                                                                                            SAN JUAN     PR   00936‐3255
PUERTO RICO
UNIVERSITAET STUTTGART                KEPLERSTR 7                                                                                    STUTTGART BW 70174
                                                                                                                                     GERMANY
UNIVERSITAT STUTTGART                 ITW                                PFAFFENWALDRING 6                                           STUTTGART D‐70550
                                                                                                                                     GERMANY
UNIVERSITAT ZU K╓LN                   WG KAMPUS                          DEZERNAT 6                        ALBERTUS‐MAGNUS‐PLATZ 6   D‐50931 K╓LN GERMANY

UNIVERSITE DE PICARDIE                JULES VERNE                        PRESIDENCE CHEMIN DU THIL                                   AMIENS F‐80025 FRANCE
UNIVERSITE DE SHERBROOKE
UNIVERSITE DU QUEBEC
UNIVERSITE DU QUEBEC                  555 BOUL DE L UNIVERSITE E                                                                     CHICOUTIMI PQ G7H 2B1
                                                                                                                                     CANADA
UNIVERSITE LAVAL
UNIVERSITY & COLLEGE ACCESS NETWORK   890 W 4TH ST STE 100                                                                                                     MANSFIELD    OH 44906‐2561
OF RICHLAND COUNTY
UNIVERSITY ANESTHESI                  PO BOX 128                                                                                                               GLENVIEW     IL 60025‐0128
UNIVERSITY AT BUFFALO                 416 BONNER HALL                    EXTERNAL AFFAIRS OFFICE                                                               BUFFALO      NY 14260‐1900
UNIVERSITY AT BUFFALO                 416 BONNER HALL                    CORP RELATIONS ADMINISTRATION                                                         BUFFALO      NY 14260‐1900

UNIVERSITY AT BUFFALO SCHOOL OF       JACOBS MANAGEMENT CTR RM 108       P O BOX 604000                                                                        BUFFALO      NY 14260‐4000
MANAGEMENT EXEC MBA
UNIVERSITY AUTO CENTER                1817 HWY 97                                                                                                              ELLENSBURG   WA 98926‐8342
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
                                                                          Part 37 of 40 Pg 754 of 901
Name                                  Address1                          Address2                          Address3                     Address4                City               State Zip
UNIVERSITY AUTO CENTER                DAVID THOMAS                      1817 HWY 97                                                                            ELLENSBURG          WA 98926‐8342
UNIVERSITY AUTO SERVICE               5257 UNIVERSITY AVE NE                                                                                                   COLUMBIA HEIGHTS    MN 55421‐1649
UNIVERSITY BUSINESS                   INSTALLATIONS                     23231 INDUSTRIAL PARK DR STE B                                                         FARMINGTON HILLS    MI 48335‐2844
UNIVERSITY CADILLAC BUICK PONTIAC G   PO BOX 3577                                                                                                              DURHAM              NC 27702‐3577

UNIVERSITY CADILLAC BUICK PONTIAC     PO BOX 3577                                                                                                              DURHAM             NC 27702‐3577
GMC OLDSMOBILE
UNIVERSITY CALIFORNIA REGENTS         FULLY EMPLOYED MBA PROGRAM        110 WESTWOOD PLZ RM A307                                                               LOS ANGELES        CA    90095‐1481
UNIVERSITY CENTER TULSA               BURSAR OFFICE                     700 N GREENWOOD AVE                                                                    TULSA              OK    74106‐0702
UNIVERSITY CENTRE WEST III LTD        2900 N UNIVERSITY DR                                                                                                     CORAL SPRINGS      FL    33065‐5083
UNIVERSITY CENTRE WEST III, LTD.      GEORGE RAHAEL                     2900 N UNIVERSITY DR                                                                   CORAL SPRINGS      FL    33065‐5083
UNIVERSITY CHEVROLET                  3127 W TENNESSEE ST                                                                                                      TALLAHASSEE        FL    32304‐2728
UNIVERSITY CHEVROLET INC              DBA UNIVERSITY SALES & SVC        1850 CAPITAL CIR NE                                                                    TALLAHASSEE        FL    32308‐4441
UNIVERSITY CHEVROLET LLC              DBA TOM MOORE CHEVROLET           11300 N FLORIDA AVE                                                                    TAMPA              FL    33612‐5666
UNIVERSITY CHEVROLET LLC              DEAN BUNCH EVERETT BOYD JR        3600 MACLAY BLVD S STE 202                                                             TALLAHASSEE        FL    32312‐1276
                                      SUTHERLAND ASBILL & BRENNAN
UNIVERSITY CHEVROLET LLC              SUTHERLAND ASBILL & BRENNAN       ATTN: DEAN BUNCH AND EVERETT      3600 MACLAY BLVD. SOUTH,                             TALLAHASSEE         FL   32312
                                                                        BOYD JR                           SUITE 202
UNIVERSITY CHEVROLET, INC.            LARRY STROM                       1850 CAPITAL CIR NE                                                                    TALLAHASSEE        FL 32308‐4441
UNIVERSITY CHEVROLET, LLC             THOMAS MOORE                      11300 N FLORIDA AVE                                                                    TAMPA              FL 33612‐5666
UNIVERSITY CINCIN/OH                  STRUCTURAL DYNAMICS RESEARCH LB   P.O. BOX 210072                   ATTN: RHONDA CHRISTMAN                               CINCINNATI         OH 45221‐0072

UNIVERSITY COLLEGE CORK               WESTERN RD                                                                                       CORK IE 00000 IRELAND
UNIVERSITY COLLEGE CORK               WESTERN ROAD                                                                                     CORK IRELAND
UNIVERSITY CONS/ENCI                  16161 VENTURA BLVD                M/S 752                                                                                ENCINO             CA 91436
UNIVERSITY CONSORTIUM FOR             16161 VENTURA BLVD                MS C 752                                                                               ENCINO             CA 91436
CONTINUING EDUCATION
UNIVERSITY CUTTER SERVICE INC         444 W LASKEY RD STE C                                                                                                    TOLEDO             OH    43612‐3467
UNIVERSITY EMERGENCY                  PO BOX 3487                                                                                                              BUFFALO            NY    14240‐3487
UNIVERSITY ENTERPRISES                6000 J ST                                                                                                                SACRAMENTO         CA    95819‐2605
UNIVERSITY FAMILY PHYSICIANS          ATTN: SATISHH KHANZODE            8282 WOODWARD AVE                                                                      DETROIT            MI    48202‐2532
UNIVERSITY HOSPS OF                   PO BOX 94688                                                                                                             CLEVELAND          OH    44194‐0001
UNIVERSITY IA/IOWA C                  249 IOWA MEMORIAL UN              UNIVERSITY OF IOWA                                                                     IOWA CITY          IA    52242‐1317
UNIVERSITY IL/GRANTS                  GRANT & CONTRACT ADMINISTRATION   801 SOUTH WRIGHT‐109 COBLE                                                             CHAMPAIGN          IL    61820
                                                                        HALL
UNIVERSITY INDUSTRY LIAISON OF        UNIVERSITY OF BRITISH COLUMBIA    103‐6190 AGRONOMY RD                                           VANCOUVER CANADA BC
                                                                                                                                       V6T 1Z3 CANADA
UNIVERSITY LITHOPRINTERS INC          4150 VARSITY DR                                                                                                          ANN ARBOR          MI    48108‐2274
UNIVERSITY MA/LOWELL                  450 AIKEN ST                      RESEARCH FOUNDATION                                                                    LOWELL             MA    01854‐3602
UNIVERSITY MAR/COLLE                  INSTITUTE FOR SYSTEM RESEARCH     UNIVERSITY OF MARYLAND            A.V. WILLIAMS BLDG. 115                              COLLEGE PARK       MD    20742‐0001
UNIVERSITY MARATHON                   405 S DIXIE WAY                                                                                                          SOUTH BEND         IN    46637‐3323
UNIVERSITY MD/1103 E                  1103 ENGINEERING LAB              CALCE‐EPRC UNIVERSITY OF MARYLD                                                        COLLEGE PARK       MD    20742‐0001

UNIVERSITY MEDICAL ASSOCIATES         PO BOX 751461                                                                                                            CHARLOTTE          NC    28275‐1461
UNIVERSITY MEDICAL I                  BILLING OFFICE BOX 278997                                                                                                ROCHESTER          NY    14627
UNIVERSITY MI/DRBRN                   EDUCATION AND TRAINING CENTER     19310 FORD ROAD                                                                        DEARBORN           MI    48128
UNIVERSITY MI/ENGR                    DIVISION OF RESEARCH              DEVELOPMENT AND                   244‐B W. ENGINEERING BLDG.                           ANN ARBOR          MI    48109
                                                                        ADMINISTRATION
UNIVERSITY MI/ENGR C                  269 CHRYSLER CENTER               NORTH CAMPUS                                                                           ANN ARBOR          MI    48109
UNIVERSITY MI/ERGONO                  ANN ARBOR                         CENTER FOR ERGONOMICS             1205 BEAL, IOE BUILDING                              ANN ARBOR          MI    48109
UNIVERSITY MI/N CMPS                  100 CHRYSLER CENTER               NORTH CAMPUS                                                                           ANN ARBOR          MI    48109
UNIVERSITY MOTORS                     3600 S RESERVE ST                                                                                                        MISSOULA           MT    59801‐7325
                                        09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                      Exhibit B
                                                                             Part 37 of 40 Pg 755 of 901
Name                                    Address1                             Address2                         Address3                      Address4              City               State Zip
UNIVERSITY MOTORS LTD                   60 DON KNOTTS BLVD                                                                                                        MORGANTOWN          WV 26508‐6838
UNIVERSITY MOTORS, LTD                  GARY DUNCAN                          460 BUSINESS                                                                         CHRISTIANSBURG      VA 24073
UNIVERSITY MOTORS, LTD.                 ANDREW CLAYDON                       60 DON KNOTTS BLVD                                                                   MORGANTOWN          WV 26508‐6838
UNIVERSITY MOTORS, LTD.                 60 DON KNOTTS BLVD                                                                                                        MORGANTOWN          WV 26508‐6838
UNIVERSITY MOV\STG                      23305 COMMERCE DR                                                                                                         FARMINGTON HILLS    MI 48335‐2727
UNIVERSITY MUSICAL SOCIETY              881 N UNIVERSITY AVE                 BURTEN MEMORIAL TOWER                                                                ANN ARBOR           MI 48109‐1270
UNIVERSITY OF ACTION LEARNING           1650 38TH ST STE 205W                                                                                                     BOULDER             CO 80301‐2637
UNIVERSITY OF ADVANCING                 COMPUTER TECHNOLOGY                  2625 W BASELINE RD                                                                   TEMPE               AZ 85283‐1056
UNIVERSITY OF AKRON                     WORK FORCE DEVELOPMENT               & CONTINUING EDUCATION OFFICE                                                        AKRON               OH 44325‐0001
                                                                             OF THE DEAN
UNIVERSITY OF AKRON                     302 E BUCHTEL AVE                                                                                                         AKRON              OH 44325‐0001
UNIVERSITY OF AKRON                     BENJAMIN TF CHUNG                    DEPT OF MECHANICAL ENGINEERING                                                       AKRON              OH 44325‐0001

UNIVERSITY OF AKRON                     DEPT OF ELEC & COMP ENG              244 SUMNER ST                                                                        AKRON              OH 44325‐0040
UNIVERSITY OF AKRON OFFICE OF           110 SIMMONS HALL                                                                                                          AKRON              OH 44325‐0001
STUDENT FINANCIALS
UNIVERSITY OF AKRON WAYNE COLLEGE       1901 SMUCKER RD                      ATTN CONTINUING EDUCATION                                                            ORRVILLE           OH 44667‐9192

UNIVERSITY OF AKRON, THE                302 E BUCHTEL AVE                                                                                                         AKRON              OH    44325‐0001
UNIVERSITY OF ALABAMA                   STUDENT FINANCIAL AID                PO BOX 870162                                                                        TUSCALOOSA         AL    35487‐0154
UNIVERSITY OF ALABAMA                   HUNTSVILLE                           UC214 BURSARS OFC                                                                    HUNTSVILLE         AL    35899‐0001
UNIVERSITY OF ALABAMA                   STUDENT FINANCIAL AID                PO BOX 870182                                                                        TUSCALOOSA         AL    35487‐0154
UNIVERSITY OF ALABAMA                   DIVISION OF CONTINUING EDUC          BUSINESS OFFICE                  WILSON HALL ROOM 124                                HUNTSVILLE         AL    35899‐0650
UNIVERSITY OF ALABAMA AT BIRMI          701 20TH ST S RM 921                                                                                                      BIRMINGHAM         AL    35233
UNIVERSITY OF ALABAMA AT BIRMIINGHA     701 20TH ST S RM 921                                                                                                      BIRMINGHAM         AL    35233

UNIVERSITY OF ALABAMA AT                STUDENT ACCTG SVCS                   1530 3RD AVE S HUC 322                                                               BIRMINGHAM          AL   35294‐0002
BIRMINGHAM
UNIVERSITY OF ALABAMA AT                1530 3RD AVE SOUTH                   HUC 322 1400 UNIVERSITY BLVD                                                         BIRMINGHAM          AL   35204
BIRMINGHAM
UNIVERSITY OF ALABAMA AT                MATERIALS SCIENCE & ENGINEERING DEPT ENGINEERING DEPT UPDTE # 5/7/7   BEC 254 1530 3RD AVE SOUTH                          BIRMINGHAM          AL   35294‐0001
BIRMINGHAM                                                                                                    AM
UNIVERSITY OF ALABAMA AT                ATTN JOHN A GRIFIN                   MATERIALS ENGINEERING ANX        917 BUILDING 1530 3RD AVE S                         BIRMINGHAM          AL   35294‐0001
BIRMINGHAM
UNIVERSITY OF ALABAMA BIRMNGHM          SPECIAL STUDIES                      1919 UNIVERSITY BLVD             ACCTS MGR NON CREDIT                                BIRMINGHAM          AL   35294‐0001
                                                                                                              COURSES
UNIVERSITY OF ALASKA ANCHORAGE          PO BOX 92330                                                                                                              ANCHORAGE          AK    99509‐2330
UNIVERSITY OF ARIZONA                   EXTENDED UNIVERSITY                  PO BOX 210158                    MAIN GATE CENTER                                    TUCSON             AZ    85721‐0158
UNIVERSITY OF ARIZONA                   PO BOX 44390                                                                                                              TUCSON             AZ    85733‐4390
UNIVERSITY OF ARIZONA                   EXTENDED UNIVERSITY                  1955 E SIXTH STREET                                                                  TUCSON             AZ    85721‐0001
UNIVERSITY OF ARKANSAS                  205 ADMINISTRATION BLDG                                                                                                   FAYETTEVILLE       AR    72701
UNIVERSITY OF ARKANSAS
UNIVERSITY OF ARKANSAS AT LITTLE ROCK   2801 S UNIVERSITY AVE                TREASURERS OFFICE                                                                    LITTLE ROCK        AR 72204‐1000

UNIVERSITY OF ARKANSAS AT PINE BLUFF    PO BOX 4935                          OFFICE OF STUDENT ACCOUNTS                                                           PINE BLUFF         AR 71611‐4935

UNIVERSITY OF ARKANSAS COMMUNITY        PO BOX 140                                                                                                                HOPE               AR 71802‐0140
COLLEGE AT HOPE
UNIVERSITY OF BALTIMORE                 STUDENT ACCTS                        1420 N CHARLES ST                                                                    BALTIMORE          MD 21201‐5720
UNIVERSITY OF BASEL                     ATTN THOMAS VETTER                   PETERSGRABEN 35                                                BASEL CH‐4003
                                                                                                                                            SWITZERLAND
UNIVERSITY OF BRIDGEPORT                BURSAR'S OFFICE                      380 UNIVERSITY AVE                                                                   BRIDGEPORT          CT   06604‐7646
                                        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                            Part 37 of 40 Pg 756 of 901
Name                                   Address1                              Address2                         Address3                Address4              City              State Zip
UNIVERSITY OF BRITISH                  1039 1874 EAST MALL                                                                            VANCOUVER CANADA BC
COLUMBIADEPARTMENT OF FINANCIAL                                                                                                       V6T 1Z1 CANADA
SERV
UNIVERSITY OF BUFFALO                  STATE UNIVERSITY OF NEW YORK          SCHOOL OF ENG APPLIED SCIENCE    416 BONER                                     BUFFALO            NY 14260‐1900

UNIVERSITY OF CA BERKELEY              U C REGENTS                           ENGINEERG RESEARCH SUPPORT       515 CORY HALL MC 1770                         BERKELEY           CA 94720‐1770
                                                                             ORG
UNIVERSITY OF CALGARY
UNIVERSITY OF CALIF ‐ BERKELEY         DEPT OF ELECT ENGRG & COMP S          337 CORY HALL                                                                  BERKELEY           CA   94720‐1774
UNIVERSITY OF CALIFORNIA               UNIVERSITY RELATIONS                  5200 NORTH LAKE ROAD                                                           MERCED             CA   95343
UNIVERSITY OF CALIFORNIA               545D CORY HALL # 1770                                                                                                BERKELEY           CA   94720‐0001
UNIVERSITY OF CALIFORNIA               UC REGENTS                            1995 UNIVERSITY AVE STE 200      ACCOUNTS REC                                  BERKELEY           CA   94720‐0001
UNIVERSITY OF CALIFORNIA               UC REGENTS                            ONE SHIELDS AVE STUDENT AID                                                    DAVIS              CA   95616
                                                                             ACCOUNTING
UNIVERSITY OF CALIFORNIA               PO BOX 8461                           ELLWOOD BRANCH                                                                 GOLETA             CA 93118‐8461
UNIVERSITY OF CALIFORNIA               REGENTS OF UNIVERSITY OF CA           461 UNIVERSITY HALL MC1102       GENERAL STUDENT                               BERKELEY           CA 94720‐1102
                                                                                                              ACCOUNTING
UNIVERSITY OF CALIFORNIA               STUDENT ACCOUNTING OFFICE             405 HILGARD AVE                  B303 MURPHY HALL                              LOS ANGELES        CA   90095‐1501
UNIVERSITY OF CALIFORNIA               UC REGENTS                            PO BOX 24610                     CASHIERS OFFICE                               OAKLAND            CA   94623‐1610
UNIVERSITY OF CALIFORNIA               REGENTS OF THE UNIV OF CALIF          9500 GILMAN DR                                                                 LA JOLLA           CA   92093‐0009
UNIVERSITY OF CALIFORNIA               ATTN BARC BILLING OFFICE                                                                                             SANTA BARBARA      CA   93106‐0001
UNIVERSITY OF CALIFORNIA               DIRECTOR UC DISCOVERY GRANT           2087 ADDISON STREET              2ND FLOOR                                     BERKELEY           CA   94704
UNIVERSITY OF CALIFORNIA               ENGINEERING MATERIALS DEPT                                                                                           SANTA BARBARA      CA   93106‐0001
UNIVERSITY OF CALIFORNIA               405 HILGARD AVE                                                                                                      LOS ANGELES        CA   90095‐9000
UNIVERSITY OF CALIFORNIA               DIRECTOR UC DISCOVERY GRANT           300 LAKESIDE DR                  FL 6TH                                        OAKLAND            CA   94612‐3566
UNIVERSITY OF CALIFORNIA ‐ RIVERSIDE   900 UNIVERSITY AVE                                                                                                   RIVERSIDE          CA   92521‐0001

UNIVERSITY OF CALIFORNIA DAVIS         PO BOX 989062                         CASHIER'S OFFICE SPONSOR ACCTS                                                 WEST SACRAMENTO    CA 95798‐9062

UNIVERSITY OF CALIFORNIA DEPARTMENT    6147 ETCHEVERRY HALL                                                                                                 BERKELEY           CA 94720‐1741
OF MECHANICAL ENG
UNIVERSITY OF CALIFORNIA IRVIN         4199 CAMPUS DR STE 300                                                                                               IRVINE             CA 92697‐0001
UNIVERSITY OF CALIFORNIA IRVINE        MPAA STE 110                          GSM                                                                            IRVINE             CA 92697‐0001
UNIVERSITY OF CALIFORNIA IRVINE UC     CENTRAL CASHIER OFFICE                                                                                               IRVINE             CA 92697‐1975
REGENTS
UNIVERSITY OF CALIFORNIA LOS ANGELES   REMITTANCE PROCESSING CENTER                                                                                         LOS ANGELES        CA 90024

UNIVERSITY OF CALIFORNIA LOS ANGELES   405 HILGARD AVE                       6291 BOELTER HALL MAILCODE 1                                                   LOS ANGELES        CA 90095‐9000
CEED
UNIVERSITY OF CALIFORNIA LOS ANGELES   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 405 HILGARD AVE                 6291 BOELTER HALL       MAILCODE 1            LOS ANGELES        CA 90095‐9000
CEED
UNIVERSITY OF CALIFORNIA LOS ANGELES   11000 KINROSS AVE STE 200             MC 723107                                                                      LOS ANGELES        CA 90095‐1406
OFFICE OF INDUST
UNIVERSITY OF CALIFORNIA REGENTS       CASHIERS OFFICE                                                                                                      RIVERSIDE          CA   92521‐0001
UNIVERSITY OF CALIFORNIA RIVER         200 UNIVERSITY OFC BLDG                                                                                              RIVERSIDE          CA   92521‐0001
UNIVERSITY OF CALIFORNIA SANTA         3227 CHEADLE HALL                                                                                                    SANTA BARBARA      CA   93106‐0001
UNIVERSITY OF CALIFORNIA SANTA BARB    3227 CHEADLE HALL                                                                                                    SANTA BARBARA      CA   93106‐0001

UNIVERSITY OF CALIFORNIA               BILLING ACCOUNTS RECEIVABLE           SAASB BLDG #1212                                                               SANTA BARBARA      CA 93106‐0001
SANTABARBARA
UNIVERSITY OF CALIFORNIA, DAVIS        1 SHIELDS AVE                                                                                                        DAVIS              CA 95616‐5270
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                       Part 37 of 40 Pg 757 of 901
Name                                  Address1                           Address2                       Address3          Address4         City               State Zip
UNIVERSITY OF CALIFORNIA, DAVIS       ONE SHIELDS AVENUE/BUS CONTRACTS                                                                     DAVIS               CA 95616
                                      TB206
UNIVERSITY OF CALIFORNIA‐DAVIS        DEPT OF MECH & AEROSPACE ENG       1 SHIELDS AVE                                                     DAVIS              CA    95616‐5270
UNIVERSITY OF CENTRAL ARKANSAS        BUSINESS OFFICE                    201 DONAGHEY AVE                                                  CONWAY             AR    72035‐0001
UNIVERSITY OF CENTRAL ARKANSAS        STUDENTS ACCOUNTS OFFICE           MC CASTLAIN HALL ROOM 144                                         CONWAY             AR    72035‐0001
UNIVERSITY OF CENTRAL FLORIDA         ATTN THIRD PARTY DEPT              PO BOX 160115                                                     ORLANDO            FL    32816‐0115
UNIVERSITY OF CENTRAL FLORIDA COLLEGE PO BOX 161400                                                                                        ORLANDO            FL    32816‐1400
OF BUSINESS
UNIVERSITY OF CENTRAL OKLAHOMA        BILLING OFFICE                     100 N UNIVERSITY DR            CAMPUS BOX 107A                    EDMOND             OK    73034‐5207
UNIVERSITY OF CHARLESTON              2300 MACCORKLE AVE SE                                                                                CHARLESTON         WV    25304‐1045
UNIVERSITY OF CHICAGO                 EXECUTIVE MBA PROG ADMISSIONS      450 NORTH CITYFRONT PLAZA DR                                      CHICAGO            IL    60611
UNIVERSITY OF CHICAGO CENTER FOR      5835 S KIMBARK AVE RM 207          REGISTRAR ARTS AND SCIENCES                                       CHICAGO            IL    60637
CONTINUING STUDIES
UNIVERSITY OF CHICAGO GSB             ATTN GSB STUDENT GROUP             5807 S WOODLAWN STE 122                                           CHICAGO             IL   60637
UNIVERSITY OF CHICAGO OFFICE OF       5801 S. ELLIS AVENUE                                                                                 CHICAGO             IL   60637
BURSAR
UNIVERSITY OF CINCINNATI              ACCOUNTS RECEIVABLE                PO BOX 691031                                                     CINCINNATI         OH    45269‐1031
UNIVERSITY OF CINCINNATI              ACCOUNTS RECEIVABLE                PO BOX 210140                                                     CINCINNATI         OH    45221‐0140
UNIVERSITY OF CINCINNATI              ATTN RHONDA CHRISTMAN              PO BOX 210072                                                     CINCINNATI         OH    45221‐0072
UNIVERSITY OF CINCINNATI              ACCOUNTS RECEIVABLE                231 BETHESDA AVE                                                  CINCINNATI         OH    45267‐2827
UNIVERSITY OF CINCINNATI              ATTN ACCOUNTS RECEIVABLE           PO BOX 691031                                                     CINCINNATI         OH    45269‐1031
UNIVERSITY OF CINCINNATI              DAWN MAYS BUSINESS ADMIN           PO BOX 210012                  497 RHODES HALL                    CINCINNATI         OH    45221‐0012
UNIVERSITY OF CINCINNATI              CLIFTON AVE                        PO BOX 210063                                                     CINCINNATI         OH    45221‐0001
UNIVERSITY OF CINCINNATI              584D RHODES HALL                   PO BOX 210072                                                     CINCINNATI         OH    45221‐0001
UNIVERSITY OF CINCINNATI              51 GOODMAN DRIVE, SUITE 530                                                                          CINCINNATI         OH    45221‐222
UNIVERSITY OF CINCINNATI                                                 3141 READING RD                                                                      OH    45229
UNIVERSITY OF CINCINNATI ‐ CLE        725 COLLEGE DRIVE                                                                                    BATAVIA            OH    45103
UNIVERSITY OF CINCINNATI COLLEGE OF   PO BOX 670552                                                                                        CINCINNATI         OH    45267‐0001
MEDICINE
UNIVERSITY OF COLORADO                EXECUTIVE PROGRAMS                 PO BOX 480006                                                     DENVER             CO    80248‐0006
UNIVERSITY OF COLORADO                TUITION DENVER                     DEPT 461                                                          DENVER             CO    80281‐0461
UNIVERSITY OF COLORADO                914 BROADWAY                       PO BOX 35                                                         BOULDER            CO    80309‐0001
UNIVERSITY OF COLORADO AT             PO BOX 7150                        TUITION ASSIST MAIN HALL 137                                      COLORADO SPRINGS   CO    80933‐7150
UNIVERSITY OF COLORADO AT DENVER      SPONSORED PROGRAMS ACCOUNTING                                                                        DENVER             CO    80291‐0439
                                      DEPT 439
UNIVERSITY OF COLORADO BOULDER        ACCOUNTING CONTROL CB 43                                                                             BOULDER            CO 80309‐0001
UNIVERSITY OF COLORADO                178 UCB                                                                                              BOULDER            CO 80309‐0178
BOULDERCONTINUING EDUCATION
UNIVERSITY OF COLORADO                41 UCB                                                                                               BOULDER            CO 80309‐0043
BOULDEROFFICE OF CASH MANAGEMENT

UNIVERSITY OF COLORADO DENVER        BURSARS OFFICE                      PO BOX 173364                  CAMPUS BOX 131                     DENVER             CO 80217‐3364
UNIVERSITY OF COLORADO HEALTH        1945 WHEELING ST                                                                                      AURORA             CO 80045‐2539
SCIENCES CENTER
UNIVERSITY OF COLORADO‐BOULDER       SPONSORED PROJECT ACCOUNTING        ADMIN & RESEARCH CTR‐EAST CP   CAMPUS BOX 574                     BOULDER            CO    80309‐0574
UNIVERSITY OF CONNECTICUT            MBA PROGRAM                         1 UNIVERSITY PL                                                   STAMFORD           CT    06901‐2315
UNIVERSITY OF CONNECTICUT            BURSARS OFFICE                      U4100 GLENBROOK RD UNIT 233                                       STORRS MANSFIELD   CT    06269‐4100
UNIVERSITY OF CONNECTICUT            100 CONSTITUTION PLAZA                                                                                HARTFORD           CT    06103
UNIVERSITY OF CONNECTICUT            HARTFORD CAMPUS                     1800 ASYLUM AVE                4TH FLOOR                          WEST HARTFORD      CT    06117
UNIVERSITY OF DALLAS                 1845 E NORTHGATE DR                                                                                   IRVING             TX    75062‐4736
UNIVERSITY OF DALLAS CENTER          2301 OHIO DRIVE                                                                                       PLANO              TX    75093
PROFESSIONAL DEVELPMENT
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                         Part 37 of 40 Pg 758 of 901
Name                                  Address1                         Address2                       Address3                    Address4              City                   State Zip
UNIVERSITY OF DAYTON                  ELMI                             300 COLLEGE PARK AVE           ALUMNI HALL ROOM 116                              UNIVERSITY OF DAYTON    OH 45469‐0001
UNIVERSITY OF DAYTON                  300 COLLEGE PARK AVE                                                                                              UNIVERSITY OF DAYTON    OH 45469‐0001
UNIVERSITY OF DAYTON                  300 COLLEGE ST                                                                                                    DAYTON                  OH 45402‐8002
UNIVERSITY OF DAYTON CENTER FOR       300 COLLEGE PARK AVE                                                                                              UNIVERSITY OF DAYTON    OH 45469‐0001
COMPETITIVE CHANCE
UNIVERSITY OF DAYTON CONTINUING       300 COLLEGE PARK AVE                                                                                              UNIVERSITY OF DAYTON   OH 45469‐0001
EDUCATION KU307
UNIVERSITY OF DAYTON INC              300 COLLEGE PARK AVE                                                                                              UNIVERSITY OF DAYTON   OH 45469‐0001
UNIVERSITY OF DAYTON INC              300 COLLEGE ST                                                                                                    DAYTON                 OH 45402‐8002
UNIVERSITY OF DAYTON OFFICE OF        300 COLLEGE PARK AVE                                                                                              UNIVERSITY OF DAYTON   OH 45469‐0001
FINANCIAL AID
UNIVERSITY OF DAYTON OFFICE OF        300 COLLEGE PARK AVE             FINANCIAL AID                                                                    UNIVERSITY OF DAYTON   OH 45469‐0001
SCHOLARSHIPS AND
UNIVERSITY OF DAYTON OFFICE OF THE    300 COLLEGE PARK AVE                                                                                              UNIVERSITY OF DAYTON   OH 45469‐0001
BURSAR
UNIVERSITY OF DAYTON SCHOOL OF        300 COLLEGE PARK AVE                                                                                              UNIVERSITY OF DAYTON   OH 45469‐0001
ENGINEERING
UNIVERSITY OF DAYTON, THE             300 COLLEGE PARK AVE                                                                                              UNIVERSITY OF DAYTON   OH 45469‐0001
UNIVERSITY OF DELAWARE                PENNY ODONNELL                   CENTER FOR COMPOSITE MATERIALS 201 COMPOSITES MFG SC LAB                         NEWARK                 DE 19716

UNIVERSITY OF DELAWARE                ENGINEERING OUTREACH             102 DUPONT HALL                                                                  NEWARK                 DE    19716
UNIVERSITY OF DELAWARE                ENGINEERING OUTREACH             200 ACADEMY STREET RM 205                                                        NEWARK                 DE    19716
UNIVERSITY OF DELAWARE                PO BOX 15611                                                                                                      WILMINGTON             DE    19716
UNIVERSITY OF DELAWARE CONTINUING     CASHIERS OFFICE                                                                                                   NEWARK                 DE    19716
EDUCATION
UNIVERSITY OF DELAWARE‐ AGRI DEPT                                      16684 COUNTY SEAT HWY                                                                                   DE    19947
UNIVERSITY OF DENVER                  FINANCIAL OFFICE                                                                                                  DENVER                 CO    80208‐0001
UNIVERSITY OF DETROIT MERCY           BURSAR'S OFFICE                  PO BOX 19900                                                                     DETROIT                MI    48219‐0900
UNIVERSITY OF DETROIT MERCY           BURSAR OFFICE                    4001 W MCNICHOLS RD            PO BOX 19900                                      DETROIT                MI    48221‐3038
UNIVERSITY OF DETROIT MERCY           BURSARS OFFICE                   4001 W MCNICHOLS RD                                                              DETROIT                MI    48221‐3038
UNIVERSITY OF DETROIT MERCY           SCHOLARSHIP & FINANCIAL AID      4001 W MCNICHOLS RD            200 FISHER ADMINISTRATION                         DETROIT                MI    48221‐3038

UNIVERSITY OF DETROIT MERCY           4001 W MCNICHOLS RD              PO BOX 19900                                                                     DETROIT                MI 48221‐3038
UNIVERSITY OF DETROIT‐MERCY           ACCT OF LEROY GATES              908 S ADAMS, BOX 3025                                                            BIRMINGHAM             MI 48009
UNIVERSITY OF EDINBURGH               CASHIERS OFFICE                  9 16 CHAMBERS STREET           EDINBURGH EH1HT0            GREAT BRITAIN
UNIVERSITY OF EVANSVILLE OFFICE OF    1800 LINCOLN AVE                                                                                                  EVANSVILLE              IN   47722‐0001
FINANCIAL AID
UNIVERSITY OF FINDLAY                 1000 N MAIN ST                                                                                                    FINDLAY                OH    45840‐3653
UNIVERSITY OF FLORIDA                 S113 CRISER HALL                                                                                                  GAINESVILLE            FL    32611‐0001
UNIVERSITY OF FLORIDA                 FLORIDA MBA PROGRAMS             PO BOX 117152                                                                    GAINESVILLE            FL    32611‐7152
UNIVERSITY OF FLORIDA                 ATTN DR JOHN ROGACKI             1350 N POQUITO RD              RES ENG AND EDUCATION                             SHALIMAR               FL    32579‐1163
                                                                                                      FACILI
UNIVERSITY OF FLORIDA                 ATTN PROF MICHELE V MANUEL       152 RHINES HALL                PO BOX 116400                                     GAINESVILLE             FL   32611‐0001
UNIVERSITY OF FLORIDA                 INSTITUTE FOR PUBLIC RELATIONS   PO BOX 118400                                                                    GAINESVILLE             FL   32611‐8400
UNIVERSITY OF FLORIDA                                                  BUILDING 706 RADIO ROAD        MOTOR POOL                                                                FL   32611
UNIVERSITY OF FLORIDA DEPARTMENT OF   2209 NW 13TH ST                                                                                                   GAINESVILLE             FL   32609‐3426
INDEPENDENT STDY
UNIVERSITY OF GEORGIA                 ACCOUNTS RECEIVABLE DEPT         BUSINESS SERVICES BLDG                                                           ATHENS                 GA    30602‐0001
UNIVERSITY OF GEORGIA                 INDEPENDENT STUDY PROGRAM                                                                                         ATHENS                 GA    30602‐0001
UNIVERSITY OF GEORGIA                 CTR FOR CONTINUING EDUCATION     BONNIE REED UPDT 4/9/8 AM      BUSINESS OFFICE RM 275                            ATHENS                 GA    30602‐0001
UNIVERSITY OF GEORGIA CENTER FOR      ATTN BETTE COX                   BUSINESS OFFICE ROOM 125                                                         ATHENS                 GA    30602‐0001
CONT EDUC
                                        09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                             Part 37 of 40 Pg 759 of 901
Name                                    Address1                          Address2                         Address3                     Address4           City            State Zip
UNIVERSITY OF GEORGIA‐ UGA                                                424 E BROAD ST                                                                                    GA 30602
UNIVERSITY OF GREATFALLS                1301 20TH ST S                                                                                                     GREAT FALLS      MT 59405‐4934
UNIVERSITY OF GUELPH                    REVENUE CONTROL                                                                                 GUELPH ON N1G2W1
                                                                                                                                        CANADA
UNIVERSITY OF HARTFORD                  BURSARS OFFICE                    200 BLOOMFIELD AVE                                                               WEST HARTFORD    CT   06117‐1545
UNIVERSITY OF HAWAII                    LEEWARD COMMUNITY COLLEGE         96 045 ALA IKE                                                                   PEARL CITY       HI   96782
UNIVERSITY OF HAWAII                    UNIVERSITY CASHIERS OFFICE        2600 CAMPUS RD RM 105            ACCTS RECEIVABLE                                HONOLULU         HI   96822‐2222
UNIVERSITY OF HAWAII                    HONOLULU COMMUNITY COLLEGE        874 DILLINGHAM BLVD              CASHIERS OFFICE                                 HONOLULU         HI   96817‐4505
UNIVERSITY OF HOUSTON                   PO BOX 1023                                                                                                        HOUSTON          TX   77251‐1023
UNIVERSITY OF HOUSTON                   DIVISION OF CONTINUING EDUC       AND OFF CAMPUS INSTITUTES                                                        HOUSTON          TX   77204‐0001
UNIVERSITY OF HOUSTON CLEAR LAKE        2700 BAY AREA BLVD BOX 106                                                                                         HOUSTON          TX   77058
UNIVERSITY OF HOUSTON                   ONE MAIN STREET                   ROOM S 945                                                                       HOUSTON          TX   77002
DOWNTOWNBUSINESS AFFAIRS
UNIVERSITY OF HOUSTON SYSTEM            4800 CALHOUN ST # 316             EZEKIEL CULLEN BLDG                                                              HOUSTON          TX   77204‐0001
UNIVERSITY OF HOUSTON SYSTEM            4901 CALHOUN BLVD                                                                                                  HOUSTON          TX   77204‐0001
UNIVERSITY OF HOUSTON SYSTEM            316 E CULLEN BUILDING                                                                                              HOUSTON          TX   77204‐2015
TREASURERS OFFICE
UNIVERSITY OF HOUSTON VICTORIA          3007 N BEN WILSON ST                                                                                               VICTORIA         TX   77901‐5731
UNIVERSITY OF IDAHO                     STUDENT ACCOUNTS CASHIERS         PO BOX 444250                                                                    MOSCOW           ID   83844‐4250
UNIVERSITY OF IDAHO                     ENGINEERING OUTREACH              JEB RM 37                                                                        MOSCOW           ID   83844‐1014
UNIVERSITY OF IDAHO BUSINESS AND        PO BOX 443131                                                                                                      MOSCOW           ID   83844‐0001
ACCTG SERVICES
UNIVERSITY OF ILLINOIS                  THE EXECUTIVE MBA PROGRAM         1206 S 6TH ST                    218 COMMERCE WEST BLDG                          CHAMPAIGN        IL   61820‐6915
UNIVERSITY OF ILLINOIS                  ATTN JAY MENACHER                 1304 W GREEN ST                  MATERIALS SCI AND ENG BLDG                      URBANA           IL   61801‐2920

UNIVERSITY OF ILLINOIS                  ATTN PROF PETROS SOFRONIS         1206 W GREEN ST                  158 MECHANICAL ENGR BLDG                        URBANA           IL   61801‐2906

UNIVERSITY OF ILLINOIS                  AIR CONDITIONING & REFRIGERATI    1206 W GREEN ST                  UNVSTY                                          URBANA           IL   61801‐2906
UNIVERSITY OF ILLINOIS                  1351 S MORGAN ST                                                                                                   CHICAGO          IL   60608‐1503
UNIVERSITY OF ILLINOIS ‐ CHICAGO                                          1351 S MORGAN ST                                                                                  IL   60608
UNIVERSITY OF ILLINOIS AT               URBANA CHAMPAIGN                  400 ENGINEERING HALL             1308 W GREEN ST                                 URBANA           IL   61801
UNIVERSITY OF ILLINOIS AT               EXECUTIVE MBA PROGRAM             1206 S 6TH ST                    9 WOHLERS HALL UPDT                             CHAMPAIGN        IL   61820‐6915
                                                                                                           4/11/06
UNIVERSITY OF ILLINOIS AT               URBANA CHAMPAIGN                  1206 S SIXTH ST 218 WOHLERS HL   EXECUTIVE MBA PROGRAM                           CHAMPAIGN        IL   61820
UNIVERSITY OF ILLINOIS AT CH            MECH & INDUSTRIAL ENGINEERING     ATTN JACQUELINE PEREZ            842 W TAYLOR ST RD 2041A                        CHICAGO          IL   60607
                                                                                                           MC251
UNIVERSITY OF ILLINOIS AT CHIC          STUDENT FINANCIAL SERVICES        809 S MARSHFIELD AVE             AND CASHIERING OPER RM                          CHICAGO          IL   60612‐4305
                                                                                                           116A
UNIVERSITY OF ILLINOIS AT CHICAGO       601 SOUTH MORGAN                  820 UNIVERSITY HALL M C 324                                                      CHICAGO          IL   60607
UNIVERSITY OF ILLINOIS AT CHICAGO       135 S LA SALLE DEPT 8024                                                                                           CHICAGO          IL   60674‐8024
UNIVERSITY OF ILLINOIS AT SPRINGFIELD   OFFICE OF STUDENT ACCOUNTS        ONE UNIVERSITY PLAZA MS BSB 98                                                   SPRINGFIELD      IL   62703

UNIVERSITY OF ILLINOIS AT SPRINGFIELD   PO BOX 19243                      BURSAR                                                                           SPRINGFIELD      IL   62794‐9243

UNIVERSITY OF ILLINOIS CHICAGO          STUD FINAN SERV CASHIERING        ROOM 1900 STUD SERV BLDG         1200 WEST HARRISON STREET                       CHICAGO          IL   60607
                                                                          MC073
UNIVERSITY OF ILLINOIS OFFICE OF        400 ENGINEERING HALL              1308 WEST GREEN STREET                                                           URBANA           IL   61801
CONTINUING ENGR EDUC
UNIVERSITY OF ILLINOIS OFFICE OF        506 SOUTH WRIGHT STREET           162 HENRY ADMIN BLDG                                                             URBANA           IL   61801
STUDENT ACCTS
UNIVERSITY OF INDIANAPOLIS              ACCOUNTING OFFICE                 1400 E HANNA AVE                                                                 INDIANAPOLIS     IN   46227‐3630
                                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                            Part 37 of 40 Pg 760 of 901
Name                                  Address1                           Address2                        Address3                    Address4               City              State Zip
UNIVERSITY OF INDIANAPOLIS CENTER FOR 1400 E HANNA AVE                                                                                                      INDIANAPOLIS       IN 46227‐3630
CONTINUING EDUC
UNIVERSITY OF IOWA                    116 INTERNATIONAL CTR                                                                                                 IOWA CITY          IA   52242‐1802
UNIVERSITY OF IOWA                    SCHOLARSHIP OFFICE                 3D JESSUP HALL                                                                     IOWA CITY          IA   52242
UNIVERSITY OF IOWA                    ACCOUNTS PAYABLE/TRAVEL            202 PLAZA CENTER ONE PCO                                                           IOWA CITY          IA   52242
UNIVERSITY OF KANSAS                  12600 QUIVIRA RD                                                                                                      OVERLAND PARK      KS   66213‐2402
UNIVERSITY OF KANSAS                  GNRL ACCTG OFFICE SPSR             PO BOX 587                                                                         LAWRENCE           KS   66044‐0587
UNIVERSITY OF KANSAS                  BURSARS OFFICE                     1246 W CAMPUS RD RM 20                                                             LAWRENCE           KS   66045‐7506
UNIVERSITY OF KANSAS                  BURSAR OFFICE SPSR                 PO BOX 7018                     ADD CHNG LTR MW 10/02                              LAWRENCE           KS   66044‐7018
UNIVERSITY OF KANSAS SCHOOL OF        1845 FAIRMOUNT                                                                                                        WICHITA            KS   67260‐0086
BUSINESS
UNIVERSITY OF KENTUCKY                INCOME TAX SEMINAR                 421 CONN E                                                                         LEXINGTON          KY   40546‐0276
UNIVERSITY OF KENTUCKY                S LIMESTONE                                                                                                           LEXINGTON          KY   40506‐0001
UNIVERSITY OF KENTUCKY                STUDENT FINANCIAL AID              128 FUNKHOUSER                                                                     LEXINGTON          KY   40506‐0001
UNIVERSITY OF KENTUCKY                DEPART OF AGRICULT ECONOMICS       430 AGR ENGINEERING 2                                                              LEXINGTON          KY   40546‐0276
UNIVERSITY OF KENTUCKY                DEPT OF AGR ECONOMICS              316 AGR ENGR                    UK INCOME TAX WORKSHOP                             LEXINGTON          KY   40546‐0276
                                                                                                         OFFICE
UNIVERSITY OF KENTUCKY                 STUDENT BILLING SERVICES          257 STUDENT CTR                                                                    LEXINGTON         KY 40506‐0001
UNIVERSITY OF KENTUCKY                 RESEARCH FOUNDATION               CO                              PO BOX 931113                                      CLEVELAND         OH 44193‐0001
UNIVERSITY OF KENTUCKY                 ATTN SHARRON TOWNSEND             OFFICE OF ADVANCEMENT           251 RALPH G ANDERSON BLDG                          LEXINGTON         KY 40506‐0001

UNIVERSITY OF KENTUCKY                 ATTN MARWAN K KHRAISHEH           210 CRMS                                                                           LEXINGTON          KY   40506‐0001
UNIVERSITY OF KENTUCKY                 201 KINKEAD HALL                                                                                                     LEXINGTON          KY   40506‐0001
UNIVERSITY OF KENTUCKY                 220 ROBOTICS MFG                                                                                                     LEXINGTON          KY   40506‐0001
UNIVERSITY OF KENTUCKY CENTER FOR      235 GATTON                        BUSINESS AND ECONOMICS BLDG                                                        LEXINGTON          KY   40506‐0001
LABOR EDUC RESEARCH
UNIVERSITY OF LA VERNE                 4001 W ALAMEDA AVE STE 300                                                                                           BURBANK           CA    91505‐4338
UNIVERSITY OF LA VERNE                 STUDENT ACCOUNTS                  1950 3RD ST                                                                        LA VERNE          CA    91750‐4401
UNIVERSITY OF LA VERNE                 ORANGE COUNTY CENTER              17400 BROOKHURST ST 3RD FL                                                         FOUNTAIN VALLEY   CA    92708
UNIVERSITY OF LA VERNE SCHOOL OF       2001 SOLAR DR STE 250                                                                                                OXNARD            CA    93036‐2648
CONTIN EDUC
UNIVERSITY OF LEICESTER CENTRE FOR     7 9 SALISBURY ROAD                                                                            LEICESTER LE1 7QR
LABOUR MARKET STUDI                                                                                                                  ENGLAND
UNIVERSITY OF LOUISIANA                STUDENT CASHIERS CENTER           PO BOX 44444                                                                       LAFAYETTE          LA   70504‐0001
UNIVERSITY OF LOUISIANA                MONROE                            700 UNIVERSITY AVE              CONTROLLERS OFFICE ADMN 1                          MONROE             LA   71209‐9000
                                                                                                         71
UNIVERSITY OF LOUISIANA AT LAFAYETTE                                     118 S CAMPUS DR                                                                                       LA   70504

UNIVERSITY OF LOUISVILLE               OFFICE OF THE BURSAR                                                                                                 LOUISVILLE        KY    40292‐0001
UNIVERSITY OF MAINE                    BUSINESS OFFICE                   23 UNIVERSITY DR                                                                   FORT KENT         ME    04743‐1248
UNIVERSITY OF MAINE                    BUSINESS OFFICE                   ALUMNI HALL                                                                        ORONO             ME    04469‐0001
UNIVERSITY OF MAINE AT MACHIAS         BUSINESS OFFICE                   9 OBRIEN AVE                                                                       MACHIAS           ME    04654
UNIVERSITY OF MANCHESTER               INCOME OFFICE                     JOHN OWENS BUILDING             OXFORD ROAD MANCHESTER      UNITED KINGDOM GREAT
                                                                                                         M13 9PL                     BRITAIN
UNIVERSITY OF MARY                     7500 UNIVERSITY DR                                                                                                   BISMARCK          ND    58504‐9634
UNIVERSITY OF MARY WASHINGTON          ATTN COLLOQUIUM                   121 UNIVERSITY BLVD                                                                FREDERICKSBURG    VA    22406‐7239
UNIVERSITY OF MARYLAND                 ATTN PEGGY BRUMFIELD              2181 GLENN L                                                                       COLLEGE PARK      MD    20742‐0001
UNIVERSITY OF MARYLAND                 EASTERN SHORE                     OFFICE OF STUDENT ACCOUNTS                                                         PRINCESS ANNE     MD    21853
UNIVERSITY OF MARYLAND                 UNIVERSITY COLLEGE                OFFICE OF BURSAR SFSC RM 2241   3501 UNIVERSITY BLVD EAST                          ADELPHI           MD    20783

UNIVERSITY OF MARYLAND                 3112 LEE BLDG                                                                                                        COLLEGE PARK      MD 20742‐5103
                                        09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                         Part 37 of 40 Pg 761 of 901
Name                                   Address1                           Address2                       Address3                     Address4         City              State Zip
UNIVERSITY OF MARYLAND                 MOTOR TRANSPORTATION BUILDING 11                                                                                COLLEGE PARK       MD 20742‐0001

UNIVERSITY OF MARYLAND                 UNIVERSITY OF MARYLAND             ROOM 4101                      CHESAPEAKE BUILDING                           COLLEGE PARK      MD 20742
UNIVERSITY OF MARYLAND BALTIMO         1000 HILLTOP CIR                                                                                                BALTIMORE         MD 21250‐0001
UNIVERSITY OF MARYLAND BALTIMORE       737 W LOMBARD ST 3RD FLR STUDENT                                                                                BALTIMORE         MD 21201
                                       ACCOUNTING
UNIVERSITY OF MARYLAND BALTIMORE       1000 HILLTOP CIR                                                                                                BALTIMORE         MD 21250‐0001
COUNTY
UNIVERSITY OF MARYLAND COLLEGEPARK UNIVERSITY BOULEVARD & ADELPHI RD      ADMINISTRATION AND FINANCE                                                   COLLEGE PARK      MD 20742‐0001

UNIVERSITY OF MARYLAND OFFICE OF       3112 LEE BLDG                                                                                                   COLLEGE PARK      MD 20742‐5103
CONTRACT & GRANT ACC
UNIVERSITY OF MARYLAND OFFICE OF       1000 HILLTOP CIR                                                                                                BALTIMORE         MD 21250‐0001
GRANT ACCOUNTING
UNIVERSITY OF MARYLAND OFFICE OF THE   1109 LEE BLDG                                                                                                   COLLEGE PARK      MD 20742‐5151
BURSAR
UNIVERSITY OF MASSACHUESETTS           BURSARS OFFICE                     100 WILLIAM T MORRISSEY BLVD                                                 DORCHESTER        MA   02125‐3300
UNIVERSITY OF MASSACHUSETTS            BURSAR'S OFFICE                    285 OLD WESTPORT RD                                                          NORTH DARTMOUTH   MA   02747‐2356
UNIVERSITY OF MASSACHUSETTS            DIV OF CONTINUING EDUCATION        358 N PLEASANT ST                                                            AMHERST           MA   01003‐9296
UNIVERSITY OF MASSACHUSETTS            AMHERST                            CONTROLLERS OFFICE             405 GOODELL BLDG 140 HICKS                    AMHERST           MA   01003
                                                                                                         WAY
UNIVERSITY OF MASSACHUSETTS            BURSARS OFFICE SCHLRSHP DEPT       215 WHITMORE ADMIN BLDG BOX                                                  AMHERST           MA 01003
                                                                          38270
UNIVERSITY OF MASSACHUSETTS            ACCOUNTS RECEIVABLE OFFICE         883 BROADWAY ST RM 129                                                       LOWELL            MA   01854‐5133
UNIVERSITY OF MASSACHUSETTS            BUSINESS OFFICE                    100 VENTURE WAY SUITE 201                                                    HADLEY            MA   01035
UNIVERSITY OF MASSACHUSETTS            CUMIRP PART II                     120 GOVERNORS DR               JAMES D CAPISTRAN                             AMHERST           MA   01003‐9263
UNIVERSITY OF MASSACHUSETTS            121 PRESIDENTS DR                                                                                               AMHERST           MA   01003‐9310
UNIVERSITY OF MASSACHUSETTS AT         160 GOVERNORS DR                   ENGINEERING LAB ROOM 219                                                     AMHERST           MA   01003‐9265
AMHERST
UNIVERSITY OF MASSACHUSETTS AT         100 WILLIAM T MORRISSEY BLVD                                                                                    DORCHESTER        MA 02125‐3300
BOSTON ATT MARY BUTLER
UNIVERSITY OF MASSACHUSETTS            1 UNIVERSITY AVE                                                                                                LOWELL            MA 01854‐2827
CONTINUING EDUCATION
UNIVERSITY OF MEMPHIS                  107 WILDER TOWER                                                                                                MEMPHIS           TN   38152‐0001
UNIVERSITY OF MEMPHIS                  PO BOX 1000                                                                                                     MEMPHIS           TN   38152‐0001
UNIVERSITY OF MIAMI                    BURSARS OFFICE                     PO BOX 249115                                                                CORAL GABLES      FL   33124‐9115
UNIVERSITY OF MIAMI                    DEPT OF MECHANICAL AND AEROSPA     PO BOX 248294                                                                CORAL GABLES      FL   33124‐8294
UNIVERSITY OF MIAMI DEPARTMENT OF      1251 MEMORIAL DR SUITE 206                                                                                      CORAL GABLES      FL   33146
MECHANICAL AND A
UNIVERSITY OF MICHIGAN                 ATTN PROFESSOR DENNIS ASSANIS      DEPT OF MECHANICAL ENGINEERING 2236 G G BROWN BUILDING                       ANN ARBOR         MI 48109

UNIVERSITY OF MICHIGAN                 EDWARD A VAN CISE                  NANOTUBE PROJECT               1320 BEAL AVENUE                              ANN ARBOR         MI   48109
UNIVERSITY OF MICHIGAN                 ATTN MS GEORGIA S KNOPE            3062 H H DOW BLDG RM 2136      2300 HAYWOOD STREET                           ANN ARBOR         MI   48109
UNIVERSITY OF MICHIGAN                 PO BOX 223131                                                                                                   PITTSBURGH        PA   15251‐2131
UNIVERSITY OF MICHIGAN                 DEPARTMENT OF CHEMICAL ENGR        3074 H H DOW BUILDING                                                        ANN ARBOR         MI   48109
UNIVERSITY OF MICHIGAN                 STUDENT FINANCIAL OPERATIONS       PO BOX 77000                   UMID                                          DETROIT           MI   48277‐0272
UNIVERSITY OF MICHIGAN                 MICHIGAN INFORMATION TRANSFER      SOURCE                         106 HARLAN HATCHER GRAD                       ANN ARBOR         MI   48309
                                                                                                         LIB
UNIVERSITY OF MICHIGAN                 1015 LS&A BLDG                                                                                                  ANN ARBOR         MI 48109
UNIVERSITY OF MICHIGAN                 ACCT OF EDNA JEAN ROBINSON
UNIVERSITY OF MICHIGAN                 QUANTITATIVE SKILLS WORKSHOP       701 TAPPAN ST                  RM 3280C                                      ANN ARBOR         MI 48109
UNIVERSITY OF MICHIGAN                 515 E JEFFERSON ST                 2226 STUDENT ACTIVITIES BLDG                                                 ANN ARBOR         MI 48109‐1316
                                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                             Part 37 of 40 Pg 762 of 901
Name                                  Address1                             Address2                         Address3                Address4         City        State Zip
UNIVERSITY OF MICHIGAN                LABOR CENTER STUDIES                 1111 CATHERINE ST                ROOM 305 VICTOR VAUGHAN                  ANN ARBOR    MI 48109‐2054
                                                                                                            BLDG
UNIVERSITY OF MICHIGAN                2226 STUDENT ACTIVITIES BLDG                                                                                   ANN ARBOR   MI   48109
UNIVERSITY OF MICHIGAN                CASHIERS OFFICE                      500 S STATE ST 1015 LSA BLDG                                              ANN ARBOR   MI   48109
UNIVERSITY OF MICHIGAN                EXECUTIVE MBA PROGRAM OFFICE         710 E UNIVERSITY AVE             ADD CHNG LTR MW                          ANN ARBOR   MI   48109‐1219
UNIVERSITY OF MICHIGAN                3003 S STATE ST                      3089 WOLVERINE TOWER                                                      ANN ARBOR   MI   48109‐1271
UNIVERSITY OF MICHIGAN                FITNESS RESEARCH CTR TRANS SER       401 WASHTENAW AVE RMVD EFT       3003 S STATE ST 01/05/06 CS              ANN ARBOR   MI   48109

UNIVERSITY OF MICHIGAN                DEPT OF EECS                         1301 BEAL AVE                    4213 EECS BLDG                           ANN ARBOR   MI 48109‐2122
UNIVERSITY OF MICHIGAN                COLL OF ENGRG‐CORP & GOV REL         2121 BONISTEEL BLVD              143 CHRYSLER CENTER                      ANN ARBOR   MI 48109‐2092
UNIVERSITY OF MICHIGAN                ATT MICHAEL SIVALE                   2901 BAXTER RD                   TRANSPORTATION RESEARCH                  ANN ARBOR   MI 48109‐2150
                                                                                                            INST
UNIVERSITY OF MICHIGAN                DIV OF RESEARCH DEVELOPMENT          3003 S STATE ST ROOM 1082                                                 ANN ARBOR   MI 48109
UNIVERSITY OF MICHIGAN                EMPLOYEES LOCAL 1583                 1070 MCCARTNEY AVE                                                        YPSILANTI   MI 48198‐6206
UNIVERSITY OF MICHIGAN                EXECUTIVE EMBA PROGRAM               STEPHEN M ROSS SCH OF BUSINESS   1000 OAKBROOK STE 220                    ANN ARBOR   MI 48104

UNIVERSITY OF MICHIGAN                DEPT OF MECHANICAL ENG               2121 BONISTEEL BLVD              143 CHRYSLER CENTER                      ANN ARBOR   MI   48109‐2092
UNIVERSITY OF MICHIGAN                1015 E HURON ST                                                                                                ANN ARBOR   MI   48104‐1628
UNIVERSITY OF MICHIGAN                1000 S STATE ST                                                                                                ANN ARBOR   MI   48109‐2201
UNIVERSITY OF MICHIGAN                                                                                                                               ANN ARBOR   MI   48109
UNIVERSITY OF MICHIGAN                1015 LS&A BUILDING                                                                                             ANN ARBOR   MI
UNIVERSITY OF MICHIGAN                3003 S STATE ST RM #1082                                                                                       ANN ARBOR   MI   48109
UNIVERSITY OF MICHIGAN                303 E KEARSLEY ST                                                                                              FLINT       MI   48502‐1907
UNIVERSITY OF MICHIGAN                503 THOMPSON ST                                                                                                ANN ARBOR   MI   48109‐1340
UNIVERSITY OF MICHIGAN                BOARD OF REGENTS OF THE UNIVERSITY   C/O DEBRA A KOWICH, ESQ          503 THOMPSON STREET #5010                ANN ARBOR   MI   48109
                                      OF MICHIGAN
UNIVERSITY OF MICHIGAN ‐ FLINT        303 E KEARSLEY ST                                                                                              FLINT       MI 48502‐1907
UNIVERSITY OF MICHIGAN ‐              303 E KEARSLEY ST                                                                                              FLINT       MI 48502‐1907
FLINTRECREATION CENTER
UNIVERSITY OF MICHIGAN ATHLETIC       1000 S STATE ST                                                                                                ANN ARBOR   MI 48109‐2201
DEPARTMENT
UNIVERSITY OF MICHIGAN C U            FOR DEPOSIT IN THE A/C OF            333 E WILLIAM ST                 G WU                                     ANN ARBOR   MI 48104‐2316
UNIVERSITY OF MICHIGAN CENTER FOR     2401 PLYMOUTH RD STE A                                                                                         ANN ARBOR   MI 48105‐2193
PROFESSIONAL DEVEL
UNIVERSITY OF MICHIGAN COLLEGE OF     2121 BONISTEEL BLVD                  273B CHRYSLER CENTER                                                      ANN ARBOR   MI 48109‐2092
ENGINEERING
UNIVERSITY OF MICHIGAN CREDIT UNION   PO BOX 7850                                                                                                    ANN ARBOR   MI 48107‐7850

UNIVERSITY OF MICHIGAN DEARBORN       4901 EVERGREEN RD                    COLLEGE OF ENG & COMPUTER SC                                              DEARBORN    MI 48128‐2406

UNIVERSITY OF MICHIGAN DEARBORN       4901 EVERGREEN RD                    STDNT ACCTG OFFICE 103 SSC                                                DEARBORN    MI 48128‐2406
UNIVERSITY OF MICHIGAN DEPARTMENT     425 E UNIVERSITY AVE                 2534 C C LITTLE BLDG                                                      ANN ARBOR   MI 48109
OF GEOLOGICAL SCI
UNIVERSITY OF MICHIGAN FLINT          2226 STUDENT ACTIVITIES BLDG         303 E KEARSLEY                                                            ANN ARBOR   MI 48109
UNIVERSITY OF MICHIGAN OFFICE         G 513                                MICHIGAN UNION                                                            ANN ARBOR   MI 48109
INTERNATIONAL PROGRAMS
UNIVERSITY OF MICHIGAN OFFICE OF      2901 HUBBARD LOWER A                                                                                           ANN ARBOR   MI 48109
TECHNOLOGY TRANSFER
UNIVERSITY OF MICHIGAN PARKING AND                                         1213 KIPKE DR                                                                         MI 48109
TRANS. SERVICES
UNIVERSITY OF MICHIGAN PROGRAM        FOR INJURY RESEARCH & EDUCATIO       ATTN: STEWART WANG               1500 E MEDICAL CNTR DR                   ANN ARBOR   MI 48109
                                                                                                            UH1B404
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                          Part 37 of 40 Pg 763 of 901
Name                                   Address1                         Address2                        Address3                   Address4         City          State Zip
UNIVERSITY OF MICHIGAN SCHOOL OF       1420 WASHINGTON HEIGHTS          ROOM M6218                                                                  ANN ARBOR      MI 48109
PUBLIC HEALTH
UNIVERSITY OF MICHIGAN SCHOOL OF                                                                                                                    ANN ARBOR     MI 48109
SOCIAL WORK
UNIVERSITY OF MICHIGAN THE             DEPT OF MECH ING & APPL MECH     2250 G G BROWN                                                              ANN ARBOR     MI   48109
UNIVERSITY OF MICHIGAN‐ANN ARB         1301 CATHERINE ST                                                                                            ANN ARBOR     MI   48109‐2026
UNIVERSITY OF MICHIGAN‐FLINT           266 UNIVERSITY PAVILION                                                                                      FLINT         MI   48502
UNIVERSITY OF MINNESOTA                271 19TH AVE S                   645 MGMT AND ECON BLDG                                                      MINNEAPOLIS   MN   55455‐0425
UNIVERSITY OF MINNESOTA                STUDENTS ACCOUNTS RECEIVABLE     10 UNIVERSITY DR                                                            DULUTH        MN   55812‐2403
UNIVERSITY OF MINNESOTA                RESEARCH & TECHNOLOGY TRANSFER   200 OAK ST SE STE 450                                                       MINNEAPOLIS   MN   55455‐2003
UNIVERSITY OF MINNESOTA                ATTN RACHEL SURBER FIN DIR       151 AMUNDSON HALL               421 WASHINGTON AVE S E                      MINNEAPOLIS   MN   55455
UNIVERSITY OF MINNESOTA                MECHANICAL ENGINEERING           111 CHURCH ST SE                ROOM 1103 MECHE                             MINNEAPOLIS   MN   55455‐0150
UNIVERSITY OF MINNESOTA                450 UNIVERSITY GATEWAY 200       OAK ST SE                                                                   MINNEAPOLIS   MN   55455
UNIVERSITY OF MINNESOTA                151 AMUNDSON HALL                421 WASHINGTON AVE SE                                                       MINNEAPOLIS   MN   55455
UNIVERSITY OF MINNESOTA                                                 901 29TH AVE SE                                                                           MN   55414
UNIVERSITY OF MINNESOTA                2035 UNIVERSITY AVENUE SE                                                                                    MINNEAPOLIS   MN   55455
UNIVERSITY OF MINNESOTA DULUTH         SAR 140 DARLAND                  1049 UNIVERSITY DR                                                          DULUTH        MN   55812‐3011
UNIVERSITY OF MINNESOTA FOUNDATION     ATTN ANN TRAN                    151 AMUNDSON HALL               421 WASHINGTON AVENUE SE                    MINNEAPOLIS   MN   55455

UNIVERSITY OF MINNESOTA OFFICE OF THE ACCOUNTS RECEIVABLE PROCESSING    B 1 FRASER 106 PLEASANT ST SE                                               MINNEAPOLIS   MN 55455
BURSAR
UNIVERSITY OF MISSISSIPPI             TUPELO CAMPUS                     655 EASON BOULEVARD                                                         TUPELO        MS   38801
UNIVERSITY OF MISSISSIPPI             123 LYCEUM BUILDING                                                                                           UNIVERSITY    MS   38677
UNIVERSITY OF MISSISSIPPI             2500 N STATE ST                                                                                               JACKSON       MS   39216‐4500
UNIVERSITY OF MISSISSIPPI             DEPT OF INDEP STUDY               PO BOX 729                                                                  UNIVERSITY    MS   38677‐0729
UNIVERSITY OF MISSISSIPPI MEDICAL     2500 N STATE ST                   COMPTROLLERS OFFICE                                                         JACKSON       MS   39216‐4500
CENTER
UNIVERSITY OF MISSISSIPPI OFFICE OF   257 MARTINDALE CENTER                                                                                         UNIVERSITY    MS 38677
FINANCIAL AID
UNIVERSITY OF MISSOURI                1 UNIVERSITY BLVD                 285 MILLENNIUM STUDENT CENTER                                               SAINT LOUIS   MO 63121‐4400

UNIVERSITY OF MISSOURI                 MISSOURI S&T AR                  PO BOX 806010                                                               KANSAS CITY   MO 64180‐6010
UNIVERSITY OF MISSOURI CONTINUING      204 WOODS HALL                                                                                               SAINT LOUIS   MO 63121
EDUCATION EXTENSION
UNIVERSITY OF MISSOURI K C OFFICE OF   4825 TROOST AVE                                                                                              KANSAS CITY   MO 64110‐2030
THE CASHIER
UNIVERSITY OF MISSOURI KANSAS CITY     4825 TROOST AVE                  OFFICE OF THE CASHIER                                                       KANSAS CITY   MO 64110‐2030

UNIVERSITY OF MISSOURI KC              5100 ROCKHILL RD                                                                                             KANSAS CITY   MO 64110‐2446
UNIVERSITY OF MISSOURI OFFICE OF       15 JESSE HALL                                                                                                COLUMBIA      MO 65211‐1020
CASHIER
UNIVERSITY OF MISSOURI ROLLA           ACCOUNTING FISCAL SERVICES       G‐3 PARKER HALL                                                             ROLLA         MO 65409‐0001
UNIVERSITY OF MISSOURI ROLLA           CASHIERS OFFICE                  G4 PARKER HALL                                                              ROLLA         MO 65409‐0001
UNIVERSITY OF MISSOURI ROLLA OFFICE    223 CASTLEMAN HALL                                                                                           ROLLA         MO 65409‐0001
OF DEVELOPMENT
UNIVERSITY OF MISSOURI ST LOUIS        8001 NATURAL BRIDGE RD           204 WOODS HALL                                                              SAINT LOUIS   MO   63121‐4401
UNIVERSITY OF MISSOURI‐ROLLA           ATTN JOYCE ERKILETIAM            1870 MINER CIR                  218 MCNUTT HALL                             ROLLA         MO   65409‐0001
UNIVERSITY OF MISSOURI‐ROLLA           AR                               202 UNIVERSITY CTR              1870 MINER CIRCLE                           ROLLA         MO   65409‐0001
UNIVERSITY OF MOBILE                   PO BOX 13220                                                                                                 MOBILE        AL   36663‐0220
UNIVERSITY OF MONTANA                  BUSINESS SERVICES                                                                                            MISSOULA      MT   59812‐0001
UNIVERSITY OF MONTEVALLO               OFFICE OF STUDENT ACCOUNTS       STATION 6065                                                                MONTEVALLO    AL   35115
UNIVERSITY OF NEBRASKA AT OMAHA        CASHIERING STUDENT ACCOUNTS      6001 DODGE ST                                                               OMAHA         NE   68182‐0001
                                      09-50026-mg                 Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                             Part 37 of 40 Pg 764 of 901
Name                                 Address1                             Address2                        Address3                     Address4                 City           State Zip
UNIVERSITY OF NEBRASKA AT OMAHA      60TH & DODGE STUD ENT                                                                                                      OMAHA           NE 68182‐0292
UNIVERSITY OF NEBRASKA LINCOLNOFFICE PO BOX 880413                        124 CANFIELD ADMIN BUILDING                                                           LINCOLN         NE 68588‐0413
OF STUDENT ACCOUNTS

UNIVERSITY OF NEBRASKA MEDICAL      987421 NEBRASKA MEDICAL CTR           OFFICE OF DEVELOPMENT                                                                 OMAHA          NE 68198‐7421
CENTER
UNIVERSITY OF NEVADA                RENO                                  MS 124                                                                                RENO           NV 89557‐0001
UNIVERSITY OF NEVADA LAS VEGASBOARD 4505 S MARYLAND PKWY                  OFFICE OF THE BURSAR                                                                  LAS VEGAS      NV 89154‐9900
OF REGENTS
UNIVERSITY OF NEVADA RENO           DIVISION OF CONTINUING EDUC           MAIL STOP 48                                                                          RENO           NV 89557‐0001
UNIVERSITY OF NEW BRUNSWICK         DWIGHT BALL                           RM 215 DOUGLAS HALL             PO BOX 4400 STN A            FREDERICTON NB E3B 5A3
                                                                                                                                       CANADA
UNIVERSITY OF NEW HAMPSHIRE           BUSINESS OFFICE                     11 GARRISON AVE                 STOKE HALL                                            DURHAM         NH 03824‐2328
UNIVERSITY OF NEW HAMPSHIRE           BUSINESS SERVICES                   11 GARRISON AVENUE STOKE HALL                                                         DURHAM         NH 03824

UNIVERSITY OF NEW HAVEN               300 BOSTON POST RD                                                                                                        WEST HAVEN     CT 06516‐1916
UNIVERSITY OF NEW MEXICO              CONTRACT & GRANT ACCOUNTING         MSC 1 1245                      1 UNIVERSITY OF NEW MEXICO                            ALBUQUERQUE    NM 87131‐0001

UNIVERSITY OF NEW MEXICO              BUSINESS OFFICE                     1634 UNIVERSITY BLVD NE        CONTINUING EDUCATION                                   ALBUQUERQUE    NM 87131‐0001
UNIVERSITY OF NEW MEXICO              BURSARS OFFICE                      STUDENT SERVICES CENTER RM 170                                                        ALBUQUERQUE    NM 87131‐0001

UNIVERSITY OF NEW ORLEANS OFFICE OF   LAKE FRNT                                                                                                                 NEW ORLEANS     LA   70148‐0001
ACCTG SERVICES
UNIVERSITY OF NORTH ALABAMA           PO BOX 5001                                                                                                               FLORENCE       AL 35632‐0001
UNIVERSITY OF NORTH CAROLINA          DIRECTOR OF ACCOUNTING              601 S COLLEGE RD                                                                      WILMINGTON     NC 28403‐3201
UNIVERSITY OF NORTH CAROLINA          1 UNIVERSITY HTS                                                                                                          ASHEVILLE      NC 28804‐3251
ASHEVILLE
UNIVERSITY OF NORTH CAROLINA AT       CAMPUS BOX 7400                     263 ROSENAU                                                                           CHAPEL HILL    NC 27599‐7400
CHAPEL HILL
UNIVERSITY OF NORTH CAROLINA AT       9201 UNIVERSITY CITY BLVD                                                                                                 CHARLOTTE      NC 28223‐0001
CHARLOTTE
UNIVERSITY OF NORTH CAROLINA CHAPEL   3300 NC HIGHWAY 54 W                                                                                                      CHAPEL HILL    NC 27516‐8264
HILL
UNIVERSITY OF NORTH DAKOTA            BUSINESS OFICE                      PO BOX 8373                     UNIVERSITY STATION                                    GRAND FORKS    ND 58202
UNIVERSITY OF NORTH FLORIDA           CONTROLLERS OFFICE                  1 U N F DR                                                                            JACKSONVILLE   FL 32224‐7699
UNIVERSITY OF NORTH FLORIDA           12000 ALUMNI DRIVE STE 2110                                                                                               JACKSONVILLE   FL 32224
CONTINUING EDUCATION
UNIVERSITY OF NORTH TEXAS             BURSARS OFFICE                      PO BOX 310620                                                                         DENTON          TX   76203‐0620
UNIVERSITY OF NORTH TEXAS             PO BOX 13736                                                                                                              DENTON          TX   76203
UNIVERSITY OF NORTH TEXAS OFFICE OF   PO BOX 305250                                                                                                             DENTON          TX   76203
RESEARCH SERVICE
UNIVERSITY OF NORTHERN COLORADO       CARTER HALL 1005                    ATTN SCHOLARSHIPS                                                                     GREELEY        CO    80639‐0001
UNIVERSITY OF NORTHERN IOWA           METAL CASTING CENTER                76 ITC                                                                                CEDAR FALLS    IA    50614‐0178
UNIVERSITY OF NORTHERN IOWA           OFFICE OF THE CONTROLLER                                                                                                  CEDAR FALLS    IA    50614‐0008
UNIVERSITY OF NORTHERN IOWA           76 INDUSTRIAL TECH CTR RM 2                                                                                               CEDAR FALLS    IA    50614‐0001
UNIVERSITY OF NORTHWESTERN COLLEGE    1441 N CABLE RD                                                                                                           LIMA           OH    45805‐1409

UNIVERSITY OF NOTRE DAME              RESEARCH & OTHER SPONSORED          801 GRACE HALL                  PROGRAMS                                              NOTRE DAME      IN   46556‐5612
UNIVERSITY OF NOTRE DAME              EXECUTIVE EDUCATION                 126 MENDOZA COLLEGE OF          BUSINESS                                              NOTRE DAME      IN   46556
UNIVERSITY OF NOTRE DAME              MATHEMATICS DEPARTMENT              C/O PATTI STRAUCH               255 HURLEY HALL                                       NOTRE DAME      IN   46556
UNIVERSITY OF NOTRE DAME DU LA        511 MAIN BUILDING                                                                                                         NOTRE DAME      IN   46556‐4629
UNIVERSITY OF NOTRE DAME DU LAC       511 MAIN BUILDING                                                                                                         NOTRE DAME      IN   46556‐4629
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                          Part 37 of 40 Pg 765 of 901
Name                                  Address1                         Address2                          Address3                   Address4               City                State Zip
UNIVERSITY OF NOTRE DAME OFF OF       115 MAIN BUILDING                FINANCIAL AID ADD CHNG MW                                                           NOTRE DAME           IN 46556‐5602
STUDENT FINAN SERVICES
UNIVERSITY OF NOTRE DAME OFFICE OF    103 ADMINISTRATION BUILDING                                                                                          NOTRE DAME           IN   46556
FINANCIAL AID
UNIVERSITY OF NOTRE DAME OFFICE OF    115 MAIN BUILDING                SERVICES FINANCIAL AID                                                              NOTRE DAME           IN   46556‐5602
STUDENT FINANCIAL
UNIVERSITY OF OKLAHOMA                DEPT OF ADVANCED PROGRAMS        1610 ASP AVENUE                   ROOM 310                                          NORMAN              OK 73072
UNIVERSITY OF OKLAHOMA                DEPT OF ADVANCED PROGRAMS        COLLEGE OF CONTINUING EDUC        1610 ASP AVENUE ROOM 400                          NORMAN              OK 73072

UNIVERSITY OF OKLAHOMA                                                 2805 JENKINS AVE                                                                                        OK 73019
UNIVERSITY OF OKLAHOMA COLLEGE OF 1700 ASP AVE                                                                                                             NORMAN              OK 73072‐6407
CONTINUING EDUC
UNIVERSITY OF OKLAHOMA HEALTH     PO BOX 26901                                                                                                             OKLAHOMA CITY       OK 73190‐0001
SERVICES CTR
UNIVERSITY OF OKLAHOMA MOTOR POOL 2805 S JENKINS                                                                                                           NORMAN              OK 73019‐5015

UNIVERSITY OF OKLAHOMA OFFICE OF THE 1000 ASP RM 105                                                                                                       NORMAN              OK 73019‐4039
BURSAR
UNIVERSITY OF ONTARIO                INSTITUTE OF TECHNOLOGY           2000 SIMCOE ST NORTH              ADDED CTRY CODE 10/9/08 CP OSHAWA CANADA ON L1H
                                                                                                                                    7K4 CANADA
UNIVERSITY OF ONTARIO INSTITIUTE OF   ATTN: ASSISTANT VP FINANCE       2000 SIMCOE ST N RR 1                                        OSHAWA ON L1H 7K4
TECHNOLOGY                                                                                                                          CANADA
UNIVERSITY OF ONTARIO INSTITUTE OF    ATTN: ASSISTANT VP FINANCE       2000 SIMCOE ST N RR 1                                        OSHAWA ON L1H 7K4
TECHNOLOGY                                                                                                                          CANADA
UNIVERSITY OF ONTARIO INSTITUTE OF    2000 SIMCOE ST. N.                                                                            OSHAWA ON L1H 7L7
TECHNOLOGY                                                                                                                          CANADA
UNIVERSITY OF ONTARION INSTITUTE OF   ATTN: ASSISTANT VP FINANCE       2000 SIMCOE ST N RR 1                                        OSHAWA ON L1H 7K4
TECHNOLOGY                                                                                                                          CANADA
UNIVERSITY OF OREGON                  CASHIERS                         PO BOX 3237                                                                         EUGENE              OR 97403‐0237
UNIVERSITY OF OTTAWA                  550 CUMBERLAND                                                                                OTTAWA ON KIN6N5000
                                                                                                                                    CANADA
UNIVERSITY OF OTTAWA                  TABARET HALL                     75 LAURIER AVE. E.                                           OTTAWA ON K1N 6N5
                                                                                                                                    CANADA
UNIVERSITY OF PENNSYLVANIA            STUDENT FINANCIAL SERVICES       140 FRANKLIN BLDG                 3451 WALNUT STREET                                PHILADELPHIA        PA    19104
UNIVERSITY OF PENNSYLVANIA            PO BOX 41791                                                                                                         PHILADELPHIA        PA    19162‐0034
UNIVERSITY OF PHOENIX                 10540 TALBERT AVE                WEST TOWER STE 300                                                                  FOUNTAIN VALLEY     CA    92708
UNIVERSITY OF PHOENIX                 5251 GREEN STREET                                                                                                    SALT LAKE CITY      UT    84123
UNIVERSITY OF PHOENIX                 COLORADO CAMPUS                  7800 E DORADO PLACE                                                                 GREENWOOD VILLAGE   CO    80111
UNIVERSITY OF PHOENIX                 ATT DIRECT BILL                  100 SPEAR ST STE 100                                                                SAN FRANCISCO       CA    94105‐1523
UNIVERSITY OF PHOENIX                 4635 E ELWOOD ST                 MAIL STOP P332                                                                      PHOENIX             AZ    85040‐1958
UNIVERSITY OF PHOENIX                 3590 NORTH FIRST STREET                                                                                              SAN JOSE            CA    95134
UNIVERSITY OF PHOENIX                 LAS VEGAS CAMPUS                 2975 S RAINBOW BLVD STE E 2       ADD CHNG LTR MW 4/23/02                           LAS VEGAS           NV    89146
UNIVERSITY OF PHOENIX                 2890 GATEWAY OAKS DR STE 200                                                                                         SACRAMENTO          CA    95833‐4325
UNIVERSITY OF PHOENIX                 2120 THIBODO RD, SUITE 201                                                                                           VISTA               CA    92081
UNIVERSITY OF PHOENIX                 1601 KAPIOLANI BLVD 1250                                                                                             HONOLULU            HI    96814
UNIVERSITY OF PHOENIX                 LOUISIANA CAMPUS                 1 GALLERIA BLVD STE 725                                                             METAIRIE            LA    70001‐7505
UNIVERSITY OF PHOENIX                 5750 N MAJOR BLVD                                                                                                    ORLANDO             FL    32819
UNIVERSITY OF PHOENIX                 2201 MIGUEL CHAVEZ                                                                                                   SANTA FE            NM    87505
UNIVERSITY OF PHOENIX                 300 S CRAYCROFT RD               STE 1                                                                               TUCSON              AZ    85711‐4574
UNIVERSITY OF PHOENIX                 SOUTHFIELD LEARNING CENTER       26999 CENTRAL PARK BLVD STE 100                                                     SOUTHFIELD          MI    48076‐4130

UNIVERSITY OF PHOENIX                 SANTA TERESA                     1270 COUNTRY CLUB RD                                                                SANTA TERESA        NM 88008‐9725
                        09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                           Part 37 of 40 Pg 766 of 901
Name                    Address1                              Address2                             Address3             Address4         City             State Zip
UNIVERSITY OF PHOENIX   PO BOX 4040                                                                                                      COSTA MESA        CA 92628‐4040
UNIVERSITY OF PHOENIX   3870 MURPHY CANYON RD STE 200                                                                                    SAN DIEGO         CA 92123‐4421
UNIVERSITY OF PHOENIX   ALBUQUERQUE CAMPUS                    3700 PASADENA AVE NE                                                       ALBUQUERQUE       NM 87113‐1570
UNIVERSITY OF PHOENIX   NORTHERN VIRGINIA CAMPUS              11730 PLAZA AMERICA DR STE 200                                             RESTON            VA 20190‐4750

UNIVERSITY OF PHOENIX   3255 E ELWOOD ST STE 105                                                                                         PHOENIX          AZ   85034‐7256
UNIVERSITY OF PHOENIX   CINCINNATI CAMPUS                     110 BOGGS LN STE 149                                                       CINCINNATI       OH   45246‐3143
UNIVERSITY OF PHOENIX   1707 MARKET PLACE BLVD SUITE 100                                                                                 IRVING           TX   75063
UNIVERSITY OF PHOENIX   435 FORD RD STE 1000                                                                                             MINNEAPOLIS      MN   55426‐4915
UNIVERSITY OF PHOENIX   INDIANAPOLIS CAMPUS                   7999 KNUE RD STE 150                                                       INDIANAPOLIS     IN   46250‐1991
UNIVERSITY OF PHOENIX   UTAH CAMPUS                           5373 SOUTH GREEN STREET                                                    SALT LAKE CITY   UT   84123
UNIVERSITY OF PHOENIX   FOUNTAIN VALLEY CAMPUS                3090 BRISTOL ST STE 400                                                    COSTA MESA       CA   92626‐3063
UNIVERSITY OF PHOENIX   FRANKLIN LEARNING CENTER              377 RIVERSIDE DR                                                           FRANKLIN         TN   37064
UNIVERSITY OF PHOENIX   8425 PULSAR PLACE SUITE 120                                                                                      COLUMBUS         OH   43240
UNIVERSITY OF PHOENIX   CINCINNATI CAMPUS                     CENTER POINTE OFFICE PARK II SUITE                                         WEST CHESTER     OH   45069
                                                              250
UNIVERSITY OF PHOENIX   AUSTIN LEARNING CENTER                10801‐2 N MOPAC                                                            AUSTIN           TX   78759
UNIVERSITY OF PHOENIX   FINANCE AND ACCOUNTING                318 RIVER RIDGE DR NW                                                      GRAND RAPIDS     MI   49544‐1683
UNIVERSITY OF PHOENIX   HOUSTON CAMPUS                        11451 KATY FWY STE 100                                                     HOUSTON          TX   77079‐2016
UNIVERSITY OF PHOENIX   NORTHERN CALIFORNIA CAMPUS            45 E RIVER PARK PL W STE 101                                               FRESNO           CA   93720‐1565
UNIVERSITY OF PHOENIX   5480 CORPORATE DR STE 240                                                                                        TROY             MI   48098‐2642
UNIVERSITY OF PHOENIX   PITTSBURGH CAMPUS                     PENN CENTER WEST SIX STE 100                                               PITTSBURGH       PA   15222
UNIVERSITY OF PHOENIX   PHILADELPHIA CAMPUS                   170 S WARNER RD STE 200                                                    WAYNE            PA   19087‐2121
UNIVERSITY OF PHOENIX   4615 E ELWOOD ST                                                                                                 PHOENIX          AZ   85040‐1958
UNIVERSITY OF PHOENIX   20 VALLEY STREAM PKWY STE 100                                                                                    MALVERN          PA   19355‐1457
UNIVERSITY OF PHOENIX   CORPORATE COLLECTION CENTER           PO BOX 29887                                                               PHOENIX          AZ   85038‐9887
UNIVERSITY OF PHOENIX   ACCOUNTS RECEIVABLE                   8131 BYA MEDOWS CR W                                                       JACKSONVILLE     FL   32256
UNIVERSITY OF PHOENIX   PHOENIX CAMPUS P332                   PO BOX 52076                                                               PHOENIX          AZ   85072‐2076
UNIVERSITY OF PHOENIX   WEST MICHIGAN CAMPUS                  318 RIVER RIDGE DR NW                FINANCE DEPARTMENT                    GRAND RAPIDS     MI   49544‐1683
UNIVERSITY OF PHOENIX   13801 RIVERPORT DR STE 100                                                                                       MARYLAND HTS     MO   63043‐4828
UNIVERSITY OF PHOENIX   SACRAMENTO CAMPUS                     1760 CREEKSIDE OAKS DR STE 100                                             SACRAMENTO       CA   95833‐3642
UNIVERSITY OF PHOENIX   NASHVILLE CAMPUS                      616 MARRIOTT DR STE 150                                                    NASHVILLE        TN   37214‐5061
UNIVERSITY OF PHOENIX   ATLANTA CAMPUS                        8200 ROBERTS DR STE 300                                                    SANDY SPRINGS    GA   30350‐4153
UNIVERSITY OF PHOENIX   1500 MCCONNOR PKWY STE 700                                                                                       SCHAUMBURG       IL   60173‐4379
UNIVERSITY OF PHOENIX   DALLAS CAMPUS                         12400 COIT ROAD                                                            DALLAS           TX   75251
UNIVERSITY OF PHOENIX   1133 FOX FARM RD                                                                                                 LARKSPUR         CO   80118‐7604
UNIVERSITY OF PHOENIX   6501 BROADWAY                         EXTN STE 100                                                               OKLAHOMA CITY    OK   73116
UNIVERSITY OF PHOENIX   WENDY AKERS                           PO BOX 52031                         ONLINE CDE S M                        PHOENIX          AZ   85072‐2031
UNIVERSITY OF PHOENIX   FINANCIAL SERVICES DEPT               10345 PROFESSIONAL CIR UNIT 200                                            RENO             NV   89521‐3145

UNIVERSITY OF PHOENIX   10004 PARK MEADOWS DR                                                                                            LONE TREE        CO   80124‐5453
UNIVERSITY OF PHOENIX   UOFPHX ONLINE PHOENIX                 3157 E ELWOOD ST                                                           PHOENIX          AZ   85034‐7209
UNIVERSITY OF PHOENIX   14002 E 21ST ST                       STE 1400                                                                   TULSA            OK   74134‐1417
UNIVERSITY OF PHOENIX   7100 FORT DENT WAY BLDG 3 SUITE 100                                                                              TUKWILA          WA   98188
UNIVERSITY OF PHOENIX   8830 STANFORD BLVD STE 100                                                                                       COLUMBIA         MD   21045‐5423
UNIVERSITY OF PHOENIX   LIVONIA LEARNING CENTER               17380 LAUREL PARK NORTH              150C                                  LIVONIA          MI   48152
UNIVERSITY OF PHOENIX   ATT ACCTS RECEIVABLES                 100 TAMPA OAKS BLVD STE 200                                                TEMPLE TERRACE   FL   33637
UNIVERSITY OF PHOENIX   13190 SW 68TH PKWY STE 500                                                                                       TIGARD           OR   97223
UNIVERSITY OF PHOENIX   13231 SE 36TH ST STE 200                                                                                         BELLEVUE         WA   98006‐7321
UNIVERSITY OF PHOENIX   COLORADO CAMPUS                       10190 BANNOCK STREET                                                       NORTHGLENN       CO   80260
UNIVERSITY OF PHOENIX   8700 TURNPIKE DR STE 100                                                                                         WESTMINSTER      CO   80031‐4301
UNIVERSITY OF PHOENIX   UNIVERSITY CENTER                     827 FORT STREET MALL                                                       HONOLULU         HI   96813‐4317
                                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                             Part 37 of 40 Pg 767 of 901
Name                                  Address1                            Address2                        Address3                Address4         City           State Zip
UNIVERSITY OF PHOENIX                 PO BOX 3870                                                                                                  GUAYNABO        PR 00970‐3870
UNIVERSITY OF PHOENIX                 333 N RANCHO DR STE 307                                                                                      LAS VEGAS       NV 89106‐3768
UNIVERSITY OF PHOENIX                 SOUTHERN CALIFORNIA CAMPUS          949 S COAST DR STE 200                                                   COSTA MESA      CA 92626‐7791
UNIVERSITY OF PHOENIX                 2290 LUCIEN WAY STE 400                                                                                      MAITLAND        FL 32751‐7058
UNIVERSITY OF PHOENIX                 370 CHADBOURNE ROAD                                                                                          FAIRFIELD       CA 94534
UNIVERSITY OF PHOENIX ASSESSMENT      PO BOX 53558                                                                                                 PHOENIX         AZ 85072‐3558
CENTER
UNIVERSITY OF PHOENIX CENTER FOR      3157 E ELWOOD ST                                                                                             PHOENIX        AZ    85034‐7209
DISTANCE EDUCATION
UNIVERSITY OF PHOENIX CHARLOTTE       3800 ARCO CORPORATE DR STE 100                                                                               CHARLOTTE      NC 28273‐3438
CAMPUS
UNIVERSITY OF PHOENIX CLEVELAND       5005 ROCKSIDE RD SUITE 325                                                                                   INDEPENDENCE   OH 44131
CAMPUS
UNIVERSITY OF PHOENIX FINANCIAL       9625 WEST SADDLE AVE                                                                                         LAS VEGAS      NV 89147
SERVICES
UNIVERSITY OF PHOENIX JACKSONVILLE    4500 SALISBURY RD STE 200                                                                                    JACKSONVILLE    FL   32216‐0974
CAMPUS
UNIVERSITY OF PHOENIX KANSAS CITY     901 E 104TH ST STE 200                                                                                       KANSAS CITY    MO 64131‐3459
UNIVERSITY OF PHOENIX ONLINE          3137 E ELWOOD STREET                                                                                         PHOENIX        AZ 85034
UNIVERSITY OF PHOENIX ONLINE CAMPUS   3157 E ELWOOD ST                                                                                             PHOENIX        AZ 85034‐7209

UNIVERSITY OF PITTSBURGH              CASHIERS OFFICE                     G‐7 THACKERAY HALL                                                       PITTSBURGH     PA    15260
UNIVERSITY OF PITTSBURGH              COMPUTER LEARNING CENTER            100 FORBES AVE                  1105 KOSSMAN BUILDING                    PITTSBURGH     PA    15222‐1804
UNIVERSITY OF PITTSBURGH              107 CATHEDRAL OF LEARNING                                                                                    PITTSBURGH     PA    15260‐6133
UNIVERSITY OF PITTSBURGH              BLACK ACTION SOCIETY                615 WILLIAM PITT UNION                                                   PITTSBURGH     PA    15260
UNIVERSITY OF PITTSBURGH AT           130 MILLSTEIN LIBRARY               1150 MT PLEASANT RD                                                      GREENSBURG     PA    15601
GREENSBURG
UNIVERSITY OF PITTSBURGH AT           122 BIDDLE HALL                                                                                              JOHNSTOWN      PA 15904
JOHNSTOWN
UNIVERSITY OF PITTSBURGH BRADFORD     300 CAMPUS DR                                                                                                BRADFORD       PA 16701‐2812

UNIVERSITY OF PUGET SOUND             1500 N WARNER                                                                                                TACOMA         WA    98416‐5000
UNIVERSITY OF REDLANDS                ANWC STUDENT ACCTS                  1200 E COLTON AVE               PO BOX 3080                              REDLANDS       CA    92374‐3755
UNIVERSITY OF RHODE ISLAND            PROVIDENCE CENTER                   80 WASHINGTON ST                ROOM 205                                 PROVIDENCE     RI    02903
UNIVERSITY OF RHODE ISLAND            BILLING AND COLLECTIONS             35 CAMPUS AVE                   GREEN HALL                               KINGSTON       RI    02881‐1303
UNIVERSITY OF RHODE ISLAND            90 LOWER COLLEGE RD SUITE 11        ATTN BILLINGS AND COLLECTIONS                                            KINGSTON       RI    02881
ENROLLMENT SERVICES
UNIVERSITY OF RICHMOND                STUDENT ACCOUNTS                    PO BOX R                                                                 RICHMOND       VA    23173‐0001
UNIVERSITY OF RIO GRANDE              218 N COLLEGE AVE                                                                                            RIO GRANDE     OH    45674‐3100
UNIVERSITY OF ROCHESTER               SIMON SCHOOL REGISTRAR              C\O NANCY J WILSON              SCHIEGEL HALL 304                        ROCHESTER      NY    14627
UNIVERSITY OF ROCHESTER               OFFICE OF THE BURSAR                128 ADMINISTRATION BLDG                                                  ROCHESTER      NY    14627
UNIVERSITY OF ROCHESTER               ATT CHRIS MILLER                    330 MELIORA                                                              ROCHESTER      NY    14627
UNIVERSITY OF ROCHESTER               DEPT OF MECHANICAL ENGINEERING      233 HOPEMAN BLDG                                                         ROCHESTER      NY    14627
UNIVERSITY OF ROCHESTER               ACCOUNTS PAYABLE                    1325 MT HOPE AVENUE             TOWNE HOUSE STE 260                      ROCHESTER      NY    14620
UNIVERSITY OF ROCHESTER               601 ELMWOOD AVE                                                                                              ROCHESTER      NY    14642‐0001
UNIVERSITY OF ROCHESTER               WILMOT BLDG RIVER CAMPUS            275 WILMOT RD                                                            ROCHESTER      NY    14618
UNIVERSITY OF ROCHESTER                                                   612 WILSON BLVD.                                                                        NY    14627
UNIVERSITY OF ROCHESTER SCHOOL OF     INST OF OPTICS C/O N VOTENS         121 WILMOT BLDG/RIVER CAMPUS                                             ROCHESTER      NY    14627
ENGNRG & APPLIED SCI
UNIVERSITY OF ROCHESTER               601 ELMWOOD AVE                     PO BOX 601                                                               ROCHESTER      NY 14642‐0001
SCHOOLMEDICINE AND DENTISTRY
UNIVERSITY OF ROUSSE
                                       09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                             Part 37 of 40 Pg 768 of 901
Name                                   Address1                           Address2                       Address3                 Address4                  City            State Zip
UNIVERSITY OF SAINT FRANCIS            BUSINESS OFFICE                    2701 SPRING ST                                                                    FORT WAYNE       IN 46808‐3939
UNIVERSITY OF SAN FRANCISCO            SPECIAL BILLING                    2130 FULTON ST                                                                    SAN FRANCISCO    CA 94117‐1080
UNIVERSITY OF SARASOTA CALIFORNIA      3745 W CHAPMAN AVE STE 100                                                                                           ORANGE           CA 92868‐1656
CAMPUS
UNIVERSITY OF SCIENCE AND ARTSOF       1727 W ALABAMA AVE                 TH220                                                                             CHICKASHA       OK 73018‐5322
OKLAHOMA
UNIVERSITY OF SCRANTON OFFICE OF THE   800 LINDEN ST                                                                                                        SCRANTON        PA 18510‐2429
TREASURER
UNIVERSITY OF SIOUX FALLS              BUSINESS OFFICE                    1101 W 22ND ST                                                                    SIOUX FALLS     SD   57105‐1600
UNIVERSITY OF SOUTH ALABAMA            BURSARS OFFICE                     155 AD                                                                            MOBILE          AL   36688‐0002
UNIVERSITY OF SOUTH ALABAMA            BURSARS OFFICE                     160 AD                                                                            MOBILE          AL   36688‐0001
UNIVERSITY OF SOUTH CAROLINA           OFFICE OF FINANCIAL SERVICES                                                                                         COLUMBIA        SC   29208‐0001
UNIVERSITY OF SOUTH CAROLINA           RESEARCH FOUNDATION                901 SUMTER STREET STE 501                                                         COLUMBIA        SC   29208‐0001
UNIVERSITY OF SOUTH CAROLINA           ANTHONY REYNOLDS DIRECTOR          300 MAIN ST                    ROOM A22                                           COLUMBIA        SC   29208‐0001
UNIVERSITY OF SOUTH CAROLINA           800 UNIVERSITY WAY                                                                                                   SPARTANBURG     SC   29303‐4932
SPARTANBURG
UNIVERSITY OF SOUTH DAKOTA             STATE WIDE EDUCATIONAL SERV        414 E CLARK ST                 UNIVERSITY TELECOURSES                             VERMILLION      SD   57069‐2307
UNIVERSITY OF SOUTH FLORIDA            DIVISION OF FINANCE AND ACCTG      4202 E FOWLER AVE              ADM 147                                            TAMPA           FL   33620‐5800
UNIVERSITY OF SOUTH FLORIDA            SPONSORED RESEARCH DIV             4202 E FOWLER AVE                                                                 TAMPA           FL   33620‐9951
UNIVERSITY OF SOUTH FLORIDA            4202 E FOWLER AVE ADM 241                                                                                            TAMPA           FL   33620‐9951
UNIVERSITY OF SOUTH FLORIDA            4202 E FOWLER AVE                                                                                                    TAMPA           FL   33620‐9951
CONTINUING EDUCATION
UNIVERSITY OF SOUTHAMPTON              FINANCE DEPARTMENT                 UNIVERSITY RD HIGHFIELD        S017 1BJ SOUTHAMPTON     HAMPSHIRE GREAT BRITAIN
UNIVERSITY OF SOUTHERN CALIF           OFFICE OF EXECUTIVE EDUCATION                                                                                        LOS ANGELES     CA   90089‐0001
UNIVERSITY OF SOUTHERN CALIF           AGENCY BILLING                     CASHIERS OFFICE                KOH 207                                            LOS ANGELES     CA   90889
UNIVERSITY OF SOUTHERN CALIFOR         MONOGRAPH ACQ GIFT                 3305A S HOOVER ST                                                                 LOS ANGELES     CA   90007‐3557
UNIVERSITY OF SOUTHERN CALIFORNIA      CASHIERS OFFICE KOH 207            AGENCY BILLING                                                                    LOS ANGELES     CA   90089‐1052

UNIVERSITY OF SOUTHERN CALIFORNIA      UNIVERSITY PARK                                                                                                      LOS ANGELES     CA 90089‐0001

UNIVERSITY OF SOUTHERN CALIFORNIA      STUDENT ACCOUNT SERVICES           HSH 211 AGENCY BILLING                                                            LOS ANGELES     CA 90089‐1052

UNIVERSITY OF SOUTHERN CALIFORNIA      CASHIERS OFFICE FNS110             ATTN AGENCY BILLING                                                               LOS ANGELES     CA 90089‐1051

UNIVERSITY OF SOUTHERN COLORADO        2200 BONFORTE BLVD                 USC ACCTG OFFICE RM 212                                                           PUEBLO          CO 81001‐4901
ADM BLDG
UNIVERSITY OF SOUTHERN INDIANA         BUSINESS OFFICE                    8600 UNIVERSITY BLVD                                                              EVANSVILLE      IN 47712‐3534
UNIVERSITY OF SOUTHERN MAINE           STUDENT BILLING DEPT               96 FALMOUTH ST                                                                    PORTLAND        ME 04103‐4864
UNIVERSITY OF SOUTHERN MAINE           37 COLLEGE AVE                     CORTHELL HALL                                                                     GORHAM          ME 04038‐1032
DEPARTMENT OF STUDENT BILLING
UNIVERSITY OF SOUTHERN MISSISS         118 COLLEGE DR                                                                                                       HATTIESBURG     MS   39406‐0001
UNIVERSITY OF SOUTHERN MISSISSIPPI     THE ABBEY PROGRAM                  118 COLLEGE DRIVE #1047                                                           HATTIESBURG     MS   39406‐0001
UNIVERSITY OF SOUTHERN MISSISSIPPI     BUSINESS SERVICES # 5133                                                                                             HATTIESBURG     MS   39406‐0001
UNIVERSITY OF SOUTHWESTERN             PO BOX 44444                                                                                                         LAFAYETTE       LA   70504‐4444
LOUISIANA
UNIVERSITY OF ST FRANCIS               500 WILCOX ST                                                                                                        JOLIET          IL   60435‐6169
UNIVERSITY OF ST THOMAS                M AQU 201 2115 SUMMIT AVE                                                                                            SAINT PAUL      MN   55105
UNIVERSITY OF TAMPA                    BURSARS OFFICE                     401 W KENNEDY BLVD BOX L                                                          TAMPA           FL   33606
UNIVERSITY OF TAMPA                    401 W KENNEDY BLVD                                                                                                   TAMPA           FL   33606‐1450
UNIVERSITY OF TENNESEE                                                    1201 UT DRIVE TRANSPORTATION   TRANSPORTATION                                                     TN   37996
                                                                          DEPARTMENT                     DEPARTMENT
                                        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                            Part 37 of 40 Pg 769 of 901
Name                                    Address1                         Address2                        Address3            Address4         City          State Zip
UNIVERSITY OF TENNESSE OFFICE OF THE    615 MCCALLIE AVE                 DEPT 6005                                                            CHATTANOOGA    TN 37403
BURSAR
UNIVERSITY OF TENNESSEE                 1534 WHITE AVENUE WHITE AVE      DIST EDUC AND INDEP STDY                                             KNOXVILLE     TN   37996‐0001
UNIVERSITY OF TENNESSEE                 UNDERGRADUATE ACADEMIC AFFAIRS   440 COMMUNICATIONS                                                   KNOXVILLE     TN   37996‐0001
UNIVERSITY OF TENNESSEE                 1201 UT DR                                                                                            KNOXVILLE     TN   37916
UNIVERSITY OF TENNESSEE                 CONTINUING EDUCATION             NON CREDIT PROGRAMS                                                  CHATTANOOGA   TN   37403
UNIVERSITY OF TENNESSEE                 BURSARS OFFICE                   1534 WHITE AVE STE A004                                              KNOXVILLE     TN   37996‐4509
UNIVERSITY OF TENNESSEE                 1201 U.T. DRIVE                                                                                       KNOXVILLE     TN   37916
UNIVERSITY OF TENNESSEE                 ATTN CAROLYN WEBB                RESEARCH SPONSORED PROGRAMS     1534 WHITE AVENUE                    KNOXVILLE     TN   37996‐0001

UNIVERSITY OF TENNESSEE                 RESEARCH CORPORATION             1534 WHITE AVE STE 403                                               KNOXVILLE     TN   37996‐4509
UNIVERSITY OF TENNESSEE                 MECH AEROSPACE & BIOMED ENG                                                                           KNOXVILLE     TN   37996‐0001
UNIVERSITY OF TENNESSEE                 CENTER FOR INDUSTRIAL SER        ATTENTION: ANN MITCHELL AR                                           NASHVILLE     TN   37210
UNIVERSITY OF TENNESSEE                 1534 WHITE AVE                                                                                        KNOXVILLE     TN   37996‐4509
UNIVERSITY OF TENNESSEE                 404 ANDY HOLT TOWER                                                                                   KNOXVILLE     TN   37996‐0001
UNIVERSITY OF TENNESSEE OFFICE OF       116 ADMINISTRATION                                                                                    MARTIN        TN   38238‐0001
BUSINESS AFFAIRS
UNIVERSITY OF TENNESSEE OFFICE OF THE   THIRD PARTY BILLING              ADD CHANG LTR MW 4/23/02                                             KNOXVILLE     TN 37996‐0001
BURSAR
UNIVERSITY OF TENNESSEE SPACE           411 B H GOETHERT PRKWY           BUSINESS OFFICE MS 12                                                TULLAHOMA     TN 37388
INSTITUTE
UNIVERSITY OF TEXAS                     SOUTHWESTERN MEDICAL CENTER      5323 HARRY HINES BLVD                                                DALLAS        TX   75390‐7201
UNIVERSITY OF TEXAS                     EL PASO                          GENERAL ACCOUNTING SERVICES                                          EL PASO       TX   79968‐0001
UNIVERSITY OF TEXAS                     MD ANDERSON CANCER CENTER        PO BOX 4486                                                          HOUSTON       TX   77210‐4486
UNIVERSITY OF TEXAS                                                      1800 MANOR RD BLDG PP1                                                             TX   78722
UNIVERSITY OF TEXAS ‐ AUSTIN            DEPT OF MECHANICAL ENGINEERING   1 UNIVERSITY STA STOP C2200                                          AUSTIN        TX   78712‐0292
UNIVERSITY OF TEXAS AT ARLINGTON        WOMENS STUDIES PROGR             PO BOX 19599                                                         ARLINGTON     TX   76019‐0001
UNIVERSITY OF TEXAS AT ARLINGTON        ALUMNI ASSOCIATION BOX 19457                                                                          ARLINGTON     TX   76019‐0457
UNIVERSITY OF TEXAS AT ARLINGTON        POWER ELECT & CONTROLLED MOTI    416 S COLLEGE                                                        ARLINGTON     TX   76019‐0001
UNIVERSITY OF TEXAS AT ARLINGTON        PO BOX 19136                                                                                          ARLINGTON     TX   76019‐0136
UNIVERSITY OF TEXAS AT ARLINGTON        PO BOX 19197                                                                                          ARLINGTON     TX   76019‐0197
UNIVERSITY OF TEXAS AT ARLINGTON        COLLEGE OF BUSN                                                                                       ARLINGTON     TX   76019‐0001
                                        ADMINISTRATIONBOX19377
UNIVERSITY OF TEXAS AT ARLINGTON        PO BOX 19649                                                                                          ARLINGTON     TX   76019‐0649
UNIVERSITY OF TEXAS AT ARLINGTON        PO BOX 19019                                                                                          ARLINGTON     TX   76019‐0001
COLLEGE OF ENG
UNIVERSITY OF TEXAS AT AUSTIN           DEPT OF MECHANICAL ENGINEERING   450 E DEAN KEETON ETC 1 210A                                         AUSTIN        TX   78712
UNIVERSITY OF TEXAS AT AUSTIN           IEEE POWER ENGINEERING SOCIETY   1 UNIVERSITY STATION MC C0803                                        AUSTIN        TX   78712
UNIVERSITY OF TEXAS AT AUSTIN           STUDENT ENGINEERING COUNCIL      1 UNIVERSITY STA STOP C2100                                          AUSTIN        TX   78712‐0284
UNIVERSITY OF TEXAS AT AUSTIN           1 UNIVERSITY STA STOP C2200      PROF ERIC M TALEFF MECH ENG                                          AUSTIN        TX   78712‐0292
UNIVERSITY OF TEXAS AT AUSTIN           3925 WEST BRAKER LANE R4500                                                                           AUSTIN        TX   78759
UNIVERSITY OF TEXAS AT AUSTIN           PO BOX T                         OFFICE OF THE REGISTRAR                                              AUSTIN        TX   78713‐8920
UNIVERSITY OF TEXAS AT AUSTIN           M E DEPT ETC 5.160                                                                                    AUSTIN        TX   78712
UNIVERSITY OF TEXAS AT AUSTIN           101 E 27TH STE 4308              PO BOX 7726                                                          AUSTIN        TX   78712
UNIVERSITY OF TEXAS AT AUSTIN OFFICE    PO BOX 7398                                                                                           AUSTIN        TX   78713‐7398
OF ACCOUNTING
UNIVERSITY OF TEXAS AT AUSTIN OFFICE    PO BOX 7159                      ATTN CONTRACTS & GRANTS                                              AUSTIN        TX   78713‐7159
OF ACCOUNTING
UNIVERSITY OF TEXAS AT AUSTIN OFFICE    PO BOX 7337                                                                                           AUSTIN        TX   78713‐7337
OF ACCTG
UNIVERSITY OF TEXAS AT BROWNSVILLE      80 FORT BROWN ST                                                                                      BROWNSVILLE   TX   78520‐4956
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                                           Part 37 of 40 Pg 770 of 901
Name                                   Address1                         Address2                      Address3                     Address4             City            State Zip
UNIVERSITY OF TEXAS AT DALLAS          EXECUTIVE EDUCATION PROGRAMS     PO BOX 830688                 HH15                                              RICHARDSON       TX 75083‐0688
UNIVERSITY OF TEXAS AT DALLAS          BURSAR OFFICE MC 1 5             PO BOX 830688                                                                   RICHARDSON       TX 75083‐0688
UNIVERSITY OF TEXAS AT EL PASO         PROFESSIONAL AND CONTINUING ED   MINERS HALL RM 108                                                              EL PASO          TX 79968‐0001
UNIVERSITY OF TEXAS AT SAN ANTONIO     501 W DURANGO BLVD               FISCAL SERVICES                                                                 SAN ANTONIO      TX 78207‐4415

UNIVERSITY OF TEXAS AT TYLER           ATTN CASHIERS                    3900 UNIVERSITY BLVD                                                            TYLER            TX   75799‐0001
UNIVERSITY OF TEXAS EL PASO            BURSAR OFFICE                    ACADEMIC SERVICES BUILDING    500 W UNIVERSITY                                  EL PASO          TX   79968‐0001
UNIVERSITY OF TEXAS HEALTH SCIENCE                                      7703 FLOYD CURL DR                                                                               TX   78229
CENTER
UNIVERSITY OF TEXAS OF THE PERMIAN     4901 E UNIVERSITY BLVD                                                                                           ODESSA           TX   79762‐8122
BASIN
UNIVERSITY OF TEXAS PAN AMER           PAYMENTS AND COLLECTIONS         1201 W UNIVERSITY DR                                                            EDINBURG        TX    78539‐2909
UNIVERSITY OF TEXAS SAN ANTONIO        6900 N LOOP 1604 W               OFFICE OF THE BUSINESS MGR                                                      SAN ANTONIO     TX    78249‐1130
UNIVERSITY OF TEXAS SYSTEM             101 E 27TH STE 4308              PO BOX 7726                                                                     AUSTIN          TX    78712
UNIVERSITY OF TEXAS SYSTEM             M E DEPT ETC 5.160                                                                                               AUSTIN          TX    78712
UNIVERSITY OF THE PACIFIC DEPARTMENT   2155 WEBSTER ST                  ROOM 202E                                                                       SAN FRANCISCO   CA    94115
OF FINANCIAL AID
UNIVERSITY OF THE SOUTH                735 UNIVERSITY AVE                                                                                               SEWANEE         TN    37383‐1000
UNIVERSITY OF THE SOUTH SEWANEE        335 TENNESSEE AVE                                                                                                SEWANEE         TN    37383‐0001
UNIVERSITY OF TOLEDO                   2801 W BANCROFT ST                                                                                               TOLEDO          OH    43606‐3328
UNIVERSITY OF TOLEDO                   ATTN CHRISTINA CORTEZ            2801 W BANCROFT ST            BURSARS OFFICE                                    TOLEDO          OH    43606‐3328
UNIVERSITY OF TOLEDO                   ALEXANDER R HENRY                2801 W BANCROFT ST            BURSARS OFFICE                                    TOLEDO          OH    43606‐3328
UNIVERSITY OF TOLEDO                   CARLOS RUIZ                      2801 W BANCROFT ST                                                              TOLEDO          OH    43606‐3328
UNIVERSITY OF TOLEDO                   TOLEDO EXCEL                     2801 W BANCROFT ST            N ENGR BLDG MS 406                                TOLEDO          OH    43606‐3328
UNIVERSITY OF TOLEDO                   MATTHEW HAUBERT                  2801 W BANCROFT ST            BURSARS OFFICE                                    TOLEDO          OH    43606‐3328
UNIVERSITY OF TOLEDO                   JEREMY C WRIGHT                  2801 W BANCROFT ST                                                              TOLEDO          OH    43606‐3328
UNIVERSITY OF TOLEDO                   NORTHWEST OHIO CENTER FOR        LABOR ‐ MGMT COOPERATION      2801 W BANCROFT ST STE 403                        TOLEDO          OH    43606

UNIVERSITY OF TOLEDO                   2801 W BANCROFT ST               MS #403                                                                         TOLEDO          OH 43606‐3328
UNIVERSITY OF TOLEDO COLLEGE OF        NITSCHKE HALL 4005                                                                                               TOLEDO          OH 43606
ENGINEER CAMPUS
UNIVERSITY OF TOLEDO COLLEGE OF        NITSCHKE HALL MS 310                                                                                             TOLEDO          OH 43606
ENGINEERING
UNIVERSITY OF TOLEDO COLLEGE OF        2801 W BANCROFT ST                                                                                               TOLEDO          OH 43606‐3328
ENGINEERING
UNIVERSITY OF TOLEDO FOUNDATIO         TOLEDO EXCEL AND PREP TECH       NORTH ENGINEERING BLDG NO 2   MAIL STOP 406                                     TOLEDO          OH 43606
UNIVERSITY OF TOLEDO OFFICE            MAIL STOP 109                                                                                                    TOLEDO          OH 43606
MULTICULTURAL SERVICES
UNIVERSITY OF TOLEDO OFFICE OF         2801 W BANCROFT ST               MAIL STOP 314                                                                   TOLEDO          OH 43606‐3328
FINANCIAL AID
UNIVERSITY OF TOLEDO OFFICE OF THE     ROCKET HALL RM 1800                                                                                              TOLEDO          OH 43606
BURSAR
UNIVERSITY OF TOLEDO SAE               MIME DEPARTMENT                  2801 W BANCROFT ST                                                              TOLEDO          OH 43606‐3328
UNIVERSITY OF TOLEDO THE               ATTN GARY ANDRES MS 455          2801 W BANCROFT ST                                                              TOLEDO          OH 43606‐3328
UNIVERSITY OF TOLEDO, THE              2801 W BANCROFT ST                                                                                               TOLEDO          OH 43606‐3328
UNIVERSITY OF TORONTO                  ACCOUNTS RECEIVABLE              4925 DUFFERIN STREET                                       TORONTO CANADA ON
                                                                                                                                   M3H 5T6 CANADA
UNIVERSITY OF TORONTO                  ADMISSIONS AND AWARDS            315 BLOOR STREET WEST                                      TORONTO ONTARIO ON
                                                                                                                                   M5S1A3 CANADA
UNIVERSITY OF TORONTO                  215 HURON ST                                                                                TORONTO ON M5S1A2
                                                                                                                                   CANADA
                                 09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                       Part 37 of 40 Pg 771 of 901
Name                             Address1                           Address2                        Address3                   Address4                  City              State Zip
UNIVERSITY OF TORONTO            35 ST GEORGE STREET                                                                           TORONTO CANADA ON
                                                                                                                               M5S 1A4 CANADA
UNIVERSITY OF TORONTO
UNIVERSITY OF TULSA              800 TUCKER DR                      MS C PATTON LUKS CHEMICAL ENG                                                        TULSA              OK 74104‐9700

UNIVERSITY OF TULSA              800 TUCKER DR                                                                                                           TULSA              OK   74104‐9700
UNIVERSITY OF UTAH               DISTANCE EDUCATION                 2180 ANNEX BUILDING                                                                  SALT LAKE CITY     UT   84112
UNIVERSITY OF UTAH INC           ACCTG LOAN SERVICES                201 S 1460 E RM 165                                                                  SALT LAKE CITY     UT   84112
UNIVERSITY OF VERMONT            SCHOLARSHIP COORDINATOR            UVM ACCOUNTS RECEIVABLE         221 WATERMAN BUILDING                                BURLINGTON         VT   05405‐0160
UNIVERSITY OF VICTORIA           3800 FINNERTY RD ‐ RING RD         ENG OFC WING 248                                            VICTORIA CANADA BC V8P
                                                                                                                                5C2 CANADA
UNIVERSITY OF VICTORIA           ATTN: VICE PRESIDENT RESEARCH      BUSINESS AND ECONOMICS          3800 FINNERTY RD. (RING RD) VICTORIA BC V8P 5C2
                                                                    BUILDING, ROOM 425                                          CANADA
UNIVERSITY OF VIRGINIA           BURSARS OFFICE CASHIER             PO BOX 9010                                                                          CHARLOTTESVILLE    VA 22906‐9010
UNIVERSITY OF VIRGINIA           STUDENT FINANCIAL SERVICES         PO BOX 400204                   SCHOLARSHIP FELLOWSHIP                               CHARLOTTESVILLE    VA 22904‐4204
                                                                                                    SECTION
UNIVERSITY OF VIRGINIA           DARDEN GRADUATE SCHOOL OF          PO BOX 6550                     BUSINESS                                             CHARLOTTESVILLE    VA 22906‐6550
UNIVERSITY OF VIRGINIA PARKING                                      1101 MILLMONT ST                                                                                        VA 22903
TRANSPORTATION
UNIVERSITY OF WASHINGTON         STUDENT ACCOUNTS                   PO BOX 355871                                                                        SEATTLE           WA 98195‐5871
UNIVERSITY OF WASHINGTON         4311 11TH AVE NE STE 100                                                                                                SEATTLE           WA 98105‐6367
EDUCATIONAL OUTREACH
UNIVERSITY OF WATERLOO           CASHIERS OFFICE                    ROOM 1110 NEEDLES HALL                                     WATERLOO ON N2L3G1
                                                                                                                               CANADA
UNIVERSITY OF WATERLOO           204‐165 DUKE STREET EAST                                                                      KITCHENER CANADA ON
                                                                                                                               N2H 6T8 CANADA
UNIVERSITY OF WATERLOO           ALTERNATIVE FUELS TEAM             MECH ENG DEPT                   200 UNIVERSITY AVENUE      WATERLOO CANADA ON
                                                                                                    WEST                       N2L 3G1 CANADA
UNIVERSITY OF WATERLOO
UNIVERSITY OF WEST ALABAMA       STATION 2                                                                                                               LIVINGSTON         AL 35470
UNIVERSITY OF WEST GEORGIA       DEPT OF STUDENT FIN SERVICES                                                                                            CARROLLTON         GA 30118‐0001
UNIVERSITY OF WESTERN ONTARIO    ACCOUNTS RECEIVABLE OFFICE         FEES OFFICE RM 190                                         LONDON ON N6A5B8
                                                                                                                               CANADA
UNIVERSITY OF WESTERN ONTARIO    ACCOUNTS RECEIVABLE OFFICE         220 STEVENSON‐LAWSON BLDG                                  LONDON CANADA ON N6A
                                                                                                                               5B6 CANADA
UNIVERSITY OF WESTERN ONTARIO
UNIVERSITY OF WESTERN ONTARIO,   1151 RICHMOND ST ROOM G‐1          WESTERN SCIENCE CTR                                        LONDON ON N6A 5B7
                                                                                                                               CANADA
UNIVERSITY OF WESTMINISTER       HARROW CAMPUS                      WATFORD ROAD                    NORTHWICK PARK HARROW      ENGLAND HA13TP PE
                                                                                                                               HA137
UNIVERSITY OF WI‐MILWAUKEE       ATTN BURSARS OFFICE                PO BOX 340                      MITCHELL HALL 273                                    MILWAUKEE          WI 53201‐0340
UNIVERSITY OF WINDSOR            ATTN ACCTS RECEIVABLE              401 SUNSET AVE                                             WINDSOR CANADA ON N9B
                                                                                                                               3P4 CANADA
UNIVERSITY OF WINDSOR
UNIVERSITY OF WINDSOR            G07‐401 SUNSET AVE                                                                            WINDSOR ON N9B 3P4
                                                                                                                               CANADA
UNIVERSITY OF WISCONSIN          PARKSIDE CASHIERS OFFICE           PO BOX 2000                                                                          KENOSHA            WI   53141‐2000
UNIVERSITY OF WISCONSIN          1 UNIVERSITY PLAZA                 STDY ABROAD PRGMS                                                                    PLATTEVILLE        WI   53818
UNIVERSITY OF WISCONSIN          MILWAUKEE UNIV OUTREACH            PO BOX 491                                                                           MILWAUKEE          WI   53293‐0001
UNIVERSITY OF WISCONSIN          STEVENS POINT                      2100 MAIN ST                    ACCTS REC SSC RM 003                                 STEVENS POINT      WI   54481‐3871
UNIVERSITY OF WISCONSIN          EAU CLAIRE                         PO BOX 5000                     BUSINESS OFFICE                                      EAU CLAIRE         WI   54702‐5000
UNIVERSITY OF WISCONSIN          GREEN BAY                          2420 NICOLET DR                                                                      GREEN BAY          WI   54311‐7003
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                          Part 37 of 40 Pg 772 of 901
Name                                  Address1                         Address2                      Address3                Address4         City          State Zip
UNIVERSITY OF WISCONSIN
UNIVERSITY OF WISCONSIN EXTEN         PO BOX 78047                                                                                            MILWAUKEE      WI 53278‐0047
UNIVERSITY OF WISCONSIN FOUNDATION    1415 ENGINEERING DR                                                                                     MADISON        WI 53706‐1607
WEMPEC
UNIVERSITY OF WISCONSIN GREEN BAY     2420 NICOLET DR                  BURSARS OFFICE                                                         GREEN BAY      WI 54311‐7003

UNIVERSITY OF WISCONSIN HOSPITAL      DRAWER #853                                                                                             MILWAUKEE      WI 53278‐0001
UNIVERSITY OF WISCONSIN LA CROSSE     1725 STATE ST                    CASHIERS OFFICE                                                        LA CROSSE      WI 54601‐3742
UNIVERSITY OF WISCONSIN LEARNER       505 S ROSA RD STE 200                                                                                   MADISON        WI 53719‐1277
SERVICES
UNIVERSITY OF WISCONSIN MAD           BURSARS OFFICE                   333 EAST CAMPUS MALL #10501                                            MADISON        WI 53715‐1383
UNIVERSITY OF WISCONSIN MAD OFFICE    333 EAST CAMPUS MALL #10501                                                                             MADISON        WI 53715‐1383
OF THE BURSAR
UNIVERSITY OF WISCONSIN MADISON       702 LANGDON ST                   REGISTRATION OFFICE                                                    MADISON        WI 53706‐1420
UNIVERSITY OF WISCONSIN MADISON       ENGINEERING RESEARCH BLDG        1500 JACKSON DR                                                        MADISON        WI 53706
UNIVERSITY OF WISCONSIN MADISON       1500 ENGINEERING DR              GLENN BOWER‐MECHANICAL ENG                                             MADISON        WI 53706‐1609

UNIVERSITY OF WISCONSIN MADISON       ATTN D KLINGENBERG               1415 ENGINEERING DR           CHEM & BIOLOGICAL ENG                    MADISON        WI 53706‐1607
                                                                                                     DEPT
UNIVERSITY OF WISCONSIN MILWAUKEE     PO BOX 500                                                                                              MILWAUKEE      WI 53201‐0500

UNIVERSITY OF WISCONSIN OSHKOSH       800 ALGOMA BLVD                  CASGUERS IFFUCE                                                        OSHKOSH        WI 54901‐3551
CASHIER OFFICE
UNIVERSITY OF WISCONSIN PLATTEVILLE   EXTENDED DEGREE PROGRAM          ONE UNIVERSITY PLAZA                                                   PLATTEVILLE    WI 53818

UNIVERSITY OF WISCONSIN PLATTEVILLE   236 BRIGHAM HALL                 CASHIERS OFFICE                                                        PLATTEVILLE    WI 53818

UNIVERSITY OF WISCONSIN RIVER FALLS   410 S 3RD ST                     ACCOUNTS RECEIVABLE OFFICE                                             RIVER FALLS    WI 54022‐5010

UNIVERSITY OF WISCONSIN ROCK        COUNTY FOUNDATION                  2909 KELLOGG AVE                                                       JANESVILLE     WI 53546‐5606
UNIVERSITY OF WISCONSIN ROCK COUNTY 2909 KELLOGG AVE                                                                                          JANESVILLE     WI 53546‐5606

UNIVERSITY OF WISCONSIN STOUT         COLLECTIONS OFFICE               ADMINISTRATION BUILDING                                                MENOMONIE      WI   54751
UNIVERSITY OF WISCONSIN SUPERIOR      PO BOX 2000                      OLD MAIN RM 208                                                        SUPERIOR       WI   54880‐4500
UNIVERSITY OF WISCONSIN SYSTEM        ATTN DIANE BARRETT               21 N PARK ST STE 6401                                                  MADISON        WI   53715
UNIVERSITY OF WISCONSIN SYSTEM        750 UNIVERSITY AVE                                                                                      MADISON        WI   53706‐1411
UNIVERSITY OF WISCONSIN WHITEWATER    PO BOX 88                                                                                               WHITEWATER     WI   53190‐0088

UNIVERSITY OF WISCONSIN WHITEWATER 800 W MAIN ST                                                                                              WHITEWATER     WI 53190‐1705

UNIVERSITY OF WISCONSIN WHITEWATER BOARD OF REGENTS OF THE UW SYSTEM   1860 VAN HISE HALL            1220 LINDEN DRIVE                        MADISON        WI 53706

UNIVERSITY OF WISCONSIN‐ OSHKOSH      800 ALGOMA BLVD                                                                                         OSHKOSH       WI    54901‐3551
UNIVERSITY OF WISCONSIN‐EXT           US BANK LOCK BOX                 PO BOX 78138                                                           MILWAUKEE     WI    53278‐0138
UNIVERSITY OF WISCONSIN‐GREEN         2420 NICOLET DR                                                                                         GREEN BAY     WI    54311‐7003
UNIVERSITY OF WISCONSIN‐MADISO        MECHANICAL ENGINEERING           1500 ENGINEERING DR                                                    MADISON       WI    53706‐1609
UNIVERSITY OF WISCONSIN‐MADISON       1852 VAN HISE HALL               1220 LINDEN                                                            MADISON       WI    53706
UNIVERSITY OF WYOMING                 ACCOUNTS RECEIVABLE              1000 E UNIVERSITY AVE                                                  LARAMIE       WY    82071‐2000
UNIVERSITY OF WYOMING OFFICE OF       PO BOX 3335                      KNIGHT HALL RM 174                                                     LARAMIE       WY    82071‐3335
STDNT FINANCIAL AID
UNIVERSITY OF/NEW OR                  2000 LAKESHORE DR # D2000                                                                               NEW ORLEANS    LA 70148‐0001
UNIVERSITY OF/TN                      226 CAPITOL BOULEVARD BUILDING   SUITE 606                                                              NASHVILLE      TN 37219
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                        Part 37 of 40 Pg 773 of 901
Name                                 Address1                         Address2                         Address3              Address4             City              State Zip
UNIVERSITY ORTHOPAED                 PO BOX 2867                                                                                                  BUFFALO            NY 14240‐2867
UNIVERSITY ORTHOPAED                 601 ELMWOOD AVE # 665                                                                                        ROCHESTER          NY 14642‐0001
UNIVERSITY ORTHOPAEDIC ASSOCIATION   601 ELMWOOD AVE                  PO BOX 665                                                                  ROCHESTER          NY 14642‐0001
OF ROCHEST
UNIVERSITY                           MICHAEL S GOLDRICH               181 SOMERSET STREET                                                         NEW BRUNSWICK      NJ   08901
OTOLORYNGOLOGYASSOCIATES
UNIVERSITY OUTREACH                  432 N SAGINAW ST STE 805                                                                                     FLINT             MI    48502‐2022
UNIVERSITY PATHOLOGI                 5620 SOUTHWYCK BLVD                                                                                          TOLEDO            OH    43614‐1501
UNIVERSITY PHYSICAL                  PO BOX 3268                                                                                                  BUFFALO           NY    14240‐3268
UNIVERSITY PHYSICIAN                 16606 COLLECTION CENTER DR                                                                                   CHICAGO           IL    60693‐0004
UNIVERSITY PHYSICIAN GROUP           PO BOX 1704PO79001               PO BOX 79001                                                                DETROIT           MI    48279‐0001
UNIVERSITY PHYSICIANS INC            C\O MAGGIE ALLISON               PO BOX 22029                                                                DENVER            CO    80222‐0029
UNIVERSITY PLACE CONFERENCE CE       850 W MICHIGAN ST                                                                                            INDIANAPOLIS      IN    46202‐2800
UNIVERSITY PREPARATORY ACADEMY       ATTN: DOUG ROSS                  600 ANTOINETTE ST                                                           DETROIT           MI    48202‐3457
UNIVERSITY PRIMARY C                 PO BOX 74751                                                                                                 CLEVELAND         OH    44194‐0834
UNIVERSITY RADIOLOGY                 224 HARRISON ST STE 601                                                                                      SYRACUSE          NY    13202‐3058
UNIVERSITY SALES & SERVICE           1850 CAPITAL CIR NE                                                                                          TALLAHASSEE       FL    32308‐4441
UNIVERSITY SERVICES INC              38760 HAMON ST                                                                                               HARRISON TWP      MI    48045‐2107
UNIVERSITY SERVICES INC              ANDREWS UNIVERSITY               27426 ACACIA ST                                                             HARRISON TWP      MI    48045‐2504
UNIVERSITY SERVICES LTD              ST GEORGE UNIVERSITY             1 E MAIN ST STE 210                                                         BAY SHORE         NY    11706‐8324
UNIVERSITY STREET PROP IV LLC        C\O UNICO PROP INC               1301 5TH AVE STE 3500                                                       SEATTLE           WA    98101‐2639
UNIVERSITY SUBURBAN                  1611 S GREEN RD                                                                                              SOUTH EUCLID      OH    44121
UNIVERSITY SYSTEM OF MARYLAND        3112 LEE BLDG                                                                                                COLLEGE PARK      MD    20742‐5103
UNIVERSITY TN/404                    404 ANDY HOLT TOWER                                                                                          KNOXVILLE         TN    37996‐0001
UNIVERSITY TN/605                    404 ANDY HOLT TOWER                                                                                          KNOXVILLE         TN    37996‐0001
UNIVERSITY TN/ANDY H                 404 ANDY HOLT TOWER              ATTN: CHRIS COX                                                             KNOXVILLE         TN    37996‐0001
UNIVERSITY TN/CLEAN                  404 ANDY HOLT TOWER                                                                                          KNOXVILLE         TN    37996‐0001
UNIVERSITY TN/GRADUA                 404 ANDY HOLT TOWER                                                                                          KNOXVILLE         TN    37996‐0001
UNIVERSITY TN/INDUST                 193 POLK AVE STE C               CENTER FOR INDUSTRIAL SERVICES   ATTN: DONNA BRIDGES                        NASHVILLE         TN    37210‐4629

UNIVERSITY TN/INSTIT                 404 ANDY HOLT TOWER                                                                                          KNOXVILLE         TN    37996‐0001
UNIVERSITY TN/KNXVIL                 404 ANDY HOLT TOWER                                                                                          KNOXVILLE         TN    37996‐0001
UNIVERSITY TN/MEMPHS                 899 MADISON AVE STE 801                                                                                      MEMPHIS           TN    38163‐0001
UNIVERSITY TN/N GAS                  404 ANDY HOLT TOWER                                                                                          KNOXVILLE         TN    37996‐0001
UNIVERSITY TN/SPACE                  CENTER FOR LASER APPLICATIONS    OFFICE OF THE DEAN RM A‐105                                                 TULLAHOMA         TN    37388
UNIVERSITY TN/STOKLY                 708 STOKELY CTR                  MANAGEMENT DEVELOPMENT                                                      KNOXVILLE         TN    37996‐0001
                                                                      CENTER
UNIVERSITY TN/TREASU                 404 ANDY HOLT TOWER                                                                                          KNOXVILLE         TN    37996‐0001
UNIVERSITY VA/DARDEN                 PO BOX 6550                      DARDEN BUSINESS SCHOOL                                                      CHARLOTTESVILLE   VA    22906‐6550
UNIVERSITY WI/MADISN                 432 N LAKE ST                    COLLEGE OF ENGINEERING                                                      MADISON           WI    53706‐1415
UNIVERSITY/CINCINNAT                 311 BRAUNSTEIN M LN # 627                                                                                    CINCINNATI        OH    45221‐0072
UNIVERSITY/TENNESSEE                 404 ANDY HOLT TOWER                                                                                          KNOXVILLE         TN    37996‐0001
UNIVERSITY/TORONTO                   DEPARTMENT OF MECHANICAL ENGR.   5 KINGS COLLEGE ROAD                                   TORONTO ON M5S 1A4
                                                                                                                             CANADA
UNIVERSTIY OF ONTARIO INSTITUTE OF   ATTN: ASSISTANT VP FINANCE       2000 SIMCOE ST N RR 1                                  OSHAWA ON L1H 7K4
TECHNOLOGY                                                                                                                   CANADA
UNIVESITE DU QUEBEC                  INRS‐ADMINISTRATION              490 RUE DE LA COURONNE                                 QUEBEC CANADA PQ
                                                                                                                             G1K9A9 CANADA
UNIVISION                            JOE UVA                          605 3RD AVENUE                   12TH FLOOR                                 NEW YORK          NY    10158‐1299
UNIVISION                            605 3RD AVE FL 12                                                                                            NEW YORK          NY    10158‐1299
UNIVISION                            JOE UVA                          605 3RD AVE FL 12                                                           NEW YORK          NY    10158‐0034
UNIVISION GROUP                      PO BOX 2341                                                                                                  CAROL STREAM      IL    60132‐0001
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                                                       Part 37 of 40 Pg 774 of 901
Name                                 Address1                             Address2                        Address3                 Address4             City                  State Zip
UNIVISION ONLINE                     GLENPOINTE CENTRE WEST               500 FRANK W BURR BLVD 6TH FLR                                                 TEANECK                NJ 07666
UNIVISION RADIO                      800 DOUGLAS RD                                                                                                     CORAL GABLES           FL 33134
UNIVISION RADIO BROADCAST TX LP      1777 NE LOOP 410 STE 400                                                                                           SAN ANTONIO            TX 78217‐5217
UNIVISION RADIO BROADCAST TX LP      7700 JOHN W CARPENTER FWY                                                                                          DALLAS                 TX 75247‐4829
UNIVISION RADIO PHOENIX INC          KHOT KHOV KQMR KOMR KKMR             4745 N 7TH ST STE 140                                                         PHOENIX                AZ 85014‐3674
UNK UNK                              UNK                                                                                                                UNK                    OH 43123
UNK, JAMES R                         509 WILD WILLOW DR                                                                                                 EL PASO                TX 79922‐2212
UNK, UNK
UNKART JR, WILLIAM K                 1010 POWDER RIVER DR                                                                                               KATY                  TX    77450‐3713
UNKART‐, LYNN E                      1010 POWDER RIVER DR                                                                                               KATY                  TX    77450‐3713
UNKE, MARY H                         4227 COOKE ST                                                                                                      DULUTH                MN    55804‐1947
UNKEFER, ROBERT B                    6371 PORTER AVE                                                                                                    EAST LANSING          MI    48823‐6204
UNKEFER, ROBERT BRUCE                6371 PORTER AVE                                                                                                    EAST LANSING          MI    48823‐6204
UNKEL, DAWN M                        13731 BISCAYNE DR                                                                                                  STERLING HEIGHTS      MI    48313‐2803
UNKEL, GERALD R                      137 W MASON RD                                                                                                     TWINING               MI    48766‐9645
UNKEL, KELLI                         304 MERRIWEATHER RD                                                                                                GROSSE POINTE FARMS   MI    48236‐3431
UNKERT JAMES W 2D ACTION             UNKERT, DENNIS J                  ONE MAIN STREET                                                                  CHATHAM               NJ    07928
UNKERT JAMES W 2D ACTION             UNKERT, JAMES W                   ONE MAIN STREET                                                                  CHATHAM               NJ    07928
UNKERT JAMES W 2D ACTION             UNKERT, SHIRLEY A                 ONE MAIN STREET                                                                  CHATHAM               NJ    07928
UNKERT, DENNIS J                     BLUME VAZQUEZ GOLDFADEN BERKOWITZ ONE MAIN STREET                                                                  CHATHAM               NJ    07928
                                     & DONNELLY
UNKERT, JAMES W                      BLUME VAZQUEZ GOLDFADEN BERKOWITZ ONE MAIN STREET                                                                  CHATHAM                NJ   07928
                                     & DONNELLY
UNKERT, SHIRLEY A                    BLUME VAZQUEZ GOLDFADEN BERKOWITZ ONE MAIN STREET                                                                  CHATHAM                NJ   07928
                                     & DONNELLY
UNKNOWN                              TO CLEAR UNCHASED CHECK           BANK 55
UNKNOWN                              TO CLEAR UNCASHED CK BANK 55
UNKNOWN UNKNOWN                      UNKNOWN                                                                                                            DUBLIN                OH 43017
UNKNOWN, HZL
UNKNOWN, UNKNOWN                     2827 W 159TH ST                                                                                                    WESTFIELD              IN   46074‐9307
UNKNOWN, UNKNOWN
UNKS, WALTER F                       179 GERTRUDE ST NW                                                                                                 WARREN                OH 44483‐1401
UNLAND WARREN                        2086 RUE DE LA MONTAGNE                                                                                            OCEANSIDE             CA 92054‐5668
UNLIMITED DISTRIBUTION ENTERPRISES   4041 W WHEATLAND 156307                                                                                            DALLAS                TX 75237

UNLIMITED FLEET SERVICES             1908 S ORANGE BLOSSOM TRL                                                                                          APOPKA                FL 32703‐7758
UNLIMITED GRAPHICS INC               40 OLIVE STREET                                                                                                    LA CENTER             KY 42059
UNLIMITED INVESTIGATION INC          PO BOX 380378                                                                                                      CLINTON TWP           MI 48038‐0064
UNLIMITED PERFORMANCE CENTRE         18‐1259 HIGHFIELD CRES SE                                                                     CALGARY AB T2G 5M2
                                                                                                                                   CANADA
UNLIMITED PROPERTY MANAGEMENT        ATTN: DWIGHT CRANK                   318 JOHN R RD                                                                 TROY                  MI    48083‐4542
UNLIMITED SERVICE                    2325 E BAKERVIEW RD                                                                                                BELLINGHAM            WA    98226‐8004
UNLIMITED SERVICES INC               PO BOX 95                            35960 31 MILE RD                                                              RICHMOND              MI    48062‐0095
UNLIMITED SERVICES INC               35960 31 MILE RD                                                                                                   LENOX                 MI    48050‐1406
UNLIMITED SERVICES INC               ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 95                                                                     RICHMOND              MI    48062‐0095
                                     AGENT
UNNEVER, JOHN R JR                   C/O GOLDBERG PERSKY & WHITE PC       1030 FIFTH AVENUE                                                             PITTSBURGH            PA    15219
UNNIKRISHNAN, K P                    876 OAKLAND AVE                                                                                                    BIRMINGHAM            MI    48009‐5757
UNOKESAN GLORIA                      UNOKESAN, GLORIA                     FRANCIS KADIRI                  776 RAYS RD. SUITE 103                        STONE MOUNTAIN        GA    30083
UNOKESAN, GLORIA                     FRANCIS KADIRI                       7272 WAGON WHEEL CT                                                           JONESBORO             GA    30236
UNOKESAN, GLORIA                     707 GEORGETOWN CT                                                                                                  JONESBORO             GA    30236‐8916
UNOLD, STACEY A                      41499 BURROUGHS AVE                                                                                                NOVI                  MI    48377‐2861
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                  Part 37 of 40 Pg 775 of 901
Name                           Address1                        Address2                       Address3                    Address4              City            State Zip
UNOVA INC CINCINNATI MACHINE   DIV OF CINCINNATI MILACRON      4701 MARBURG AVE                                                                 CINCINNATI       OH 45209
UNOVA INC CINCINNATI MACHINE   4701 MARBURG AVE                                                                                                 CINCINNATI       OH 45209
UNOVA INDUSTRIAL AUTOMATION    DEPT CH 10546                   AD GST 02/24/04 AM                                                               PALATINE          IL 60055‐0546
UNRATH, JAMES A                100 RENFREW AVE                                                                                                  MOUNT MORRIS     MI 48458‐8893
UNRATH, MARK A                 2840 SW 66TH AVE                                                                                                 PORTLAND         OR 97225‐3105
UNRATH, NANCY K                2840 SW 66TH AVE                                                                                                 PORTLAND         OR 97225‐3105
UNRATH, ROBERT J               202 LIVINGSTON RD                                                                                                WEST MIFFLIN     PA 15122‐2521
UNRATH, WILLIAM P              310 TRAVERSE DR                                                                                                  PITTSBURGH       PA 15236‐4463
UNREE JOHNSON                  G6417 N. HARVARD                                                                                                 MOUNT MORRIS     MI 48458
UNROE, DALE P                  13323 LUTHMAN RD                                                                                                 MINSTER          OH 45865
UNRUH ALIGNMENT                6333 E HARRY ST                                                                                                  WICHITA          KS 67218‐3831
UNRUH FIRE INC                 100 E INDUSTRIAL DR                                                                                              SEDGWICK         KS 67135‐9704
UNRUH, GERALD T                5232 GRANDVIEW DR R#3                                                                                            MILTON           WI 53563
UNRUH, HENRY D                 6674 ROUND LAKE RD                                                                                               LAINGSBURG       MI 48848‐9409
UNRUH, JEFFREY D               15050 SARASOTA                                                                                                   REDFORD          MI 48239‐3429
UNRUH, JOSHUA                  6674 ROUND LAKE RD                                                                                               LAINGSBURG       MI 48848‐9409
UNRUH, RICKY L                 1022 WEST OAKLAND STREET                                                                                         SHAWNEE          OK 74801‐7626
UNRUH, RICKY LANE              1022 WEST OAKLAND STREET                                                                                         SHAWNEE          OK 74801‐7626
UNSAL YETKIN                   25 ALICIA CT                                                                                                     NORTH EAST       MD 21901‐2671
UNSEL L BROWN                  5900 BRIDGE RD APT 210                                                                                           YPSILANTI        MI 48197‐7009
UNSEL RANDALL                  UNSEL, RANDALL                  120 WEST MADISON STREET 10TH                                                     CHICAGO           IL 60602
                                                               FLOOR
UNSEL, DONALD                  11009 N ELMS RD                                                                                                  CLIO            MI   48420‐9418
UNSEL, JAMES W                 1005 ARTHUR AVE                                                                                                  LEHIGH ACRES    FL   33936‐6831
UNSEL, STANLEY E               1160 SHINNECOCK CRST                                                                                             AVON            IN   46123‐7075
UNSER, DEBRA A                 7413 GOLF GATE DR                                                                                                LANSING         MI   48917‐9672
UNSER, DEBRA ANN               7413 GOLF GATE DR                                                                                                LANSING         MI   48917‐9672
UNSER, JR,MAGNUS               932 SAINT ANDREWS OLD                                                                                            WATERFORD       WI   53185‐3994
UNSTED WILLIAM                 UNSTED, WILLIAM                 ZURICH INSURANCE               13810 FIRST NATIONAL BANK                         OMAHA           NE   68154
                                                                                              PKWY P.O. BOX 542003

UNSTED, WILLIAM                ZURICH INSURANCE                PO BOX 542003                                                                    OMAHA           NE   68154‐8003
UNTCH, KARL                    8237 ELEANOR ST                                                                                                  PITTSBURGH      PA   15237‐5219
UNTENER, RUTH M                795 IMPALA PL                                                                                                    HAMILTON        OH   45013‐3816
UNTERBORN, HAROLD E            50 PIRATES CV                                                                                                    SPENCERPORT     NY   14559‐2506
UNTERBORN, JEFF D              16816 KENMORE RD                                                                                                 KENDALL         NY   14476‐9768
UNTERBORN, TOM D               3672 CHARLENE DR                                                                                                 BEAVERCREEK     OH   45432‐5432
UNTERBRINK, JANE E             8735 N CARLAND RD                                                                                                ELSIE           MI   48831‐9459
UNTEREINER, EVELYN M           PO BOX 247814                                                                                                    COLUMBUS        OH   43224‐7814
UNTERHOLZNER, JAKOB            11835 JOHNSON DR                                                                                                 PARMA           OH   44130‐7368
UNTERREINER JR, EDMUND H       22 RAINTREE DR                                                                                                   SAINT PETERS    MO   63376‐3002
UNTERREINER, ALAN J            895 S WASHINGTON ST PMB 243                                                                                      COLVILLE        WA   99114‐2537
UNTHANK JR, CALVIN             906 N PLEASANT ST                                                                                                ROYAL OAK       MI   48067‐4804
UNTIED WAY OF FORSYTH COUNTY   PO BOX 1350                                                                                                      CUMMING         GA   30028‐1350
UNTIED WAY OF JEFFERSON & N    WALWORTH COUNTIES               611 GROVE ST                                                                     FORT ATKINSON   WI   53538‐2131
UNTIED WAY OF WINNIPEG         3RD FLOOR                       DONALD ST.                                                 WINNIPEG MB R3L 3T4
                                                                                                                          CANADA
UNTNEKER, NANCY L              5441 LEGEND CT                                                                                                   WELDON SPRING   MO   63304‐5713
UNTNEKER, STEVE R              3 MERRIBROOK CT                                                                                                  O FALLON        MO   63368‐3589
UNTNEKER, STEVEN E             2197 GRAYSTONE DR                                                                                                SAINT CHARLES   MO   63303‐4622
UNTNEKER, STEVEN R             3 MERRIBROOK CT                                                                                                  O FALLON        MO   63368‐3589
UNU SIONE                      1435 81ST AVE                                                                                                    OAKLAND         CA   94621‐2339
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                        Part 37 of 40 Pg 776 of 901
Name                                 Address1                              Address2                  Address3   Address4             City              State Zip
UNUM                                 100 WALNUT AVE # 500                                                                            CLARK              NJ 07066‐1247
UNUSSEE, JIM                         PO BOX 408                                                                                      CHAPEL HILL        TN 37034‐0408
UNUVAR, LISA M                       7203 COLDWATER RD                                                                               FLUSHING           MI 48433
UNVERFERTH, BEATRICE M               1145 MILLCREEK LN                                                                               COLUMBUS           OH 43220‐4949
UNVERSAW, EVA E                      3024 SEERLEY CREEK DRIVE                                                                        INDIANAPOLIS       IN 46241‐6100
UNVERZAGT, ALEC                      7445 ETIWANDA AVE                                                                               RESEDA             CA 91335‐3109
UNVERZAGT, MARK A                    220 E COE DR                                                                                    MIDWEST CITY       OK 73110‐4647
UNWER, GEORGE F                      1050 OZMENT DR                                                                                  FLORISSANT         MO 63033‐6004
UNWIN, ANTOINETTE L                  144 PEARL LAKE RD                                                                               WATERBURY          CT 06706‐2515
UNWIN, HARRY                         3542 HIGHLAND FAIRWAYS BLVD                                                                     LAKELAND           FL 33810‐5758
UNWIN, MICHAEL L                     909 VIRGINIA ST                                                                                 PLYMOUTH           MI 48170‐1921
UNWIN, THOMAS W                      144 PEARL LAKE RD                                                                               WATERBURY          CT 06706‐2515
UNWIN, WAYNE A                       9213 GALE RD                                                                                    OTISVILLE          MI 48463‐9423
UNWIN, WAYNE ANTHONY                 9213 GALE RD                                                                                    OTISVILLE          MI 48463‐9423
UNWIRED TECHNOLOGY LLC               245 NEWTOWN RD STE 200                                                                          PLAINVIEW          NY 11803‐4300
UNWIRED TECHNOLOGY LLC               BLOCK 96B YANTIAN YEEON INDUSTRIAL                                         DONGGUAN GUANGDONG
                                                                                                                CN 523701 CHINA
                                                                                                                (PEOPLE'S REP)
UNWIRED TECHNOLOGY LLC               MARGARET CANGERO 309                  245 NEWTOWN RD UNIT 200                                   WARMINSTER        PA   18974
UNZEN MOTORS, INC.                   TIMOTHY JURGENS                       506 S DAKOTA ST                                           MILBANK           SD   57252‐2318
UNZEN MOTORS, INC.                   506 S DAKOTA ST                                                                                 MILBANK           SD   57252‐2318
UNZENS, MONIKA                       12435 MC MURTY DRIVE N.E.                                                                       SAND LAKE         MI   49343‐9438
UNZENS, MONIKA                       12435 MCMURTY DR                                                                                SAND LAKE         MI   49343‐9438
UNZENS, TALIVOLDIS                   12435 MCMURTY DR                                                                                SAND LAKE         MI   49343‐9438
UNZEUTA, JESUS
UOMINI JR, WILLIAM D                  5529 TELLINA WAY                                                                               SANTA BARBARA     CA   93111‐1444
UOMOLEALE RICHARD (413358)            ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                       NEW YORK          NY   10006‐1638
UOMOLEALE, RICHARD                    ANGELOS PETER G LAW OFFICE           115 BROADWAY FRNT 3                                       NEW YORK          NY   10006‐1638
UOP INC                               ATTN: CORPORATE OFFICER/AUTHORIZED   300 E DEVON AVE                                           BARTLETT          IL   60103‐4608
                                      AGENT
UP SPECIAL DELIVERY INC               PO BOX 207                                                                                     IRON MOUNTAIN     MI 49801‐0207
UP SYSTEMS INC                        27944 N BRADLEY RD                                                                             LIBERTYVILLE      IL 60048‐9714
UP SYSTEMS INC                        ATTN: CORPORATE OFFICER/AUTHORIZED   1583 PAYSPHERE CIR                                        CHICAGO           IL 60674‐0015
                                      AGENT
UPADHYAY, SUBHASH C                   3275 SILVERBROOK DR                                                                            ROCHESTER HILLS   MI   48306‐4703
UPALI MUDALIGE                        882 ECKFORD DR                                                                                 TROY              MI   48085‐4848
UPATNIEKS ANSIS                       2662 VALLEY DR                                                                                 ANN ARBOR         MI   48103‐2748
UPATNIEKS, ANSIS                      2662 VALLEY DRIVE                                                                              ANN ARBOR         MI   48103‐2748
UPATNIEKS, ILZE                       2662 VALLEY DR                                                                                 ANN ARBOR         MI   48103‐2748
UPBEAT INC                            211 N LINDGERGH BLVD FL 2                                                                      SAINT LOUIS       MO   63141‐7838
UPBEAT INC                            PO BOX 952098                                                                                  ST LOUIS          MO   63195
UPCHURCH BRIAN                        UPCHURCH, BRIAN                      30928 FORD RD                                             GARDEN CITY       MI   48135‐1803
UPCHURCH JR, BENNETT W                2638 N 125 W                                                                                   NEW CASTLE        IN   47362
UPCHURCH JR, JOHN L                   PO BOX 110                                                                                     PORTERSVILLE      PA   16051‐0110
UPCHURCH JR, RAYMOND L                1145 MAGNOLIA DR                                                                               INKSTER           MI   48141‐1791
UPCHURCH JR, ROY D                    8787 RADNER DR                                                                                 STERLING HTS      MI   48314‐2521
UPCHURCH LOUIS                        UPCHURCH, LOUIS                      308 LONGBOURN DR                                          WAKE FOREST       NC   27587
UPCHURCH PAT                          1209 ALLISON STREET                                                                            NEWTON            KS   67114‐4827
UPCHURCH THOMAS                       4863 OAKHURST RIDGE ROAD                                                                       CLARKSTON         MI   48348
UPCHURCH WILLIE FAY (487602)          COON & ASSOCS BRENT                  917 FRANKLIN ST STE 210                                   HOUSTON           TX   77002‐1751
UPCHURCH WILLIE FAY (487602) ‐ CONLIN COON & ASSOCS BRENT                  917 FRANKLIN ST STE 210                                   HOUSTON           TX   77002‐1751
THOMAS RICHARD
                                 09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                                   Part 37 of 40 Pg 777 of 901
Name                             Address1                         Address2                  Address3   Address4         City               State Zip
UPCHURCH WILLIE FAY (487602) ‐   COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                               HOUSTON             TX 77002‐1751
PENDLETON EMMETT DELL
UPCHURCH, ANNIE M                1019 CORA DR                                                                           FLINT              MI   48532‐2720
UPCHURCH, ANNIE M                1019 CORA DRIVE                                                                        FLINT              MI   48532‐2720
UPCHURCH, ARRON G                3600 E LILAC LN                                                                        MUNCIE             IN   47302‐5734
UPCHURCH, ARTHUR W               RR 1 BOX 306                                                                           ALBANY             KY   42602‐9758
UPCHURCH, BETTY                  3900 EMBARCADERO ST                                                                    WATERFORD          MI   48329‐2246
UPCHURCH, BILLY J                1605 E CROMER AVE                                                                      MUNCIE             IN   47303‐2334
UPCHURCH, BOBBY G                233 MARK DR                                                                            GRAY               TN   37615‐3856
UPCHURCH, BOYD L                 PO BOX 145                                                                             WINDFALL           IN   46076‐0145
UPCHURCH, BRADLEY N              205 S PLUM ST                                                                          FARMLAND           IN   47340‐7020
UPCHURCH, BRADLEY NEAL           205 S PLUM ST                                                                          FARMLAND           IN   47340‐7020
UPCHURCH, BRENDA L               4040 N STATE ROAD 267                                                                  BROWNSBURG         IN   46112‐9708
UPCHURCH, CAROL A                1644 BELL HOLLOW RD                                                                    HILLSBORO          OH   45133‐8909
UPCHURCH, CATHY                  721 CLYDE DRIVE                                                                        GREENWOOD          IN   46143‐9026
UPCHURCH, DARICK E               405 S MORRISON RD APT 270                                                              MUNCIE             IN   47304‐4031
UPCHURCH, DIANE                  912 GULF SHORE BLVD                                                                    KOKOMO             IN   46902‐4897
UPCHURCH, DONALD                 1501 E CENTENNIAL AVE                                                                  MUNCIE             IN   47303‐3171
UPCHURCH, DONALD R               1506 SUGAR RIVER RD                                                                    GLADWIN            MI   48624‐8507
UPCHURCH, EARTHLY Y              1017 WAGER AVE                                                                         FLINT              MI   48505‐3670
UPCHURCH, GEORGE R               1117 OVERBROOK DR                                                                      ORMOND BEACH       FL   32174
UPCHURCH, HAFFORD                APT A                            330 MOIZE CUT OFF ROAD                                JACKSON            TN   38305‐8616
UPCHURCH, HAFFORD                2319 SANTABARBRA DR                                                                    FLINT              MI   48504
UPCHURCH, HERSCHEL G             9333 S COUNTY ROAD 200 E                                                               MUNCIE             IN   47302‐8316
UPCHURCH, HERSCHEL GAVIN         9333 S COUNTY ROAD 200 E                                                               MUNCIE             IN   47302‐8316
UPCHURCH, JAMES A                217 E AVENUE B                                                                         NEWBERRY           MI   49868‐1524
UPCHURCH, JAMES A                PO BOX 2176                                                                            MUNCIE             IN   47307‐0176
UPCHURCH, JAMES A                4680 E COUNTY ROAD 650 SOUTH                                                           MUNCIE             IN   47302‐8510
UPCHURCH, JAMES ANDREW           PO BOX 2176                                                                            MUNCIE             IN   47307‐0176
UPCHURCH, JAMES ARTHUR           4680 E COUNTY ROAD 650 SOUTH                                                           MUNCIE             IN   47302‐8510
UPCHURCH, JAMES C                PO BOX 53                                                                              YORKTOWN           IN   47396‐0053
UPCHURCH, JAMES ER               1730 E 26TH ST                                                                         MUNCIE             IN   47302‐5869
UPCHURCH, JANET S                600 E MORGAN ST                                                                        KOKOMO             IN   46901‐2460
UPCHURCH, JAROD G                9225 S COUNTY ROAD 200 E                                                               MUNCIE             IN   47302‐8316
UPCHURCH, JAROD GAVIN            9225 S COUNTY ROAD 200 E                                                               MUNCIE             IN   47302‐8316
UPCHURCH, JEFFREY A              1691 BEDFORD SQUARE DR APT 102                                                         ROCHESTER HILL     MI   48306‐4432
UPCHURCH, JEFFREY A              4414 CARRIAGE HILL CT                                                                  ROCHESTER          MI   48306
UPCHURCH, JO E                   625 ALMA AVE                                                                           FLINT              MI   48505
UPCHURCH, KENNETH E              4816 LEAMINGTON AVE                                                                    TOLEDO             OH   43613‐3531
UPCHURCH, LARRY N                824 N MACEDONIA AVE                                                                    MUNCIE             IN   47303‐4025
UPCHURCH, LILLIAN R              187 CEDAR RIDGE RD                                                                     NEWNAN             GA   30263‐3565
UPCHURCH, LOUIS                  308 LONGBOURN DR                                                                       WAKE FOREST        NC   27587‐4114
UPCHURCH, LYLE A                 PO BOX 163                                                                             WINDFALL           IN   46076‐0163
UPCHURCH, MICHAEL D              6420 HERON PARK WAY                                                                    CLARKSTON          MI   48346‐4803
UPCHURCH, NORMA P                MILLERS MERRY MANOR              300 FAIRGROUNDS RD                                    TIPTON             IN   46072
UPCHURCH, NORMA P                300 FAIRGROUNDS RD               MILLERS MERRY MANOR                                   TIPTON             IN   46072‐8458
UPCHURCH, RICARDO                5483 FOX CHASE TRAIL                                                                   GALENA             OH   43021‐7026
UPCHURCH, ROBERT G               1081 N GOLF COURSE DR                                                                  NEW CASTLE         IN   47362‐9141
UPCHURCH, ROGER LEE              6110 N COUNTY ROAD 600 W                                                               GASTON             IN   47342‐9328
UPCHURCH, RORY K                 4040 N STATE ROAD 267                                                                  BROWNSBURG         IN   46112‐9708
UPCHURCH, ROY                    5851 28 MILE RD                                                                        WASHINGTON         MI   48094‐1204
UPCHURCH, ROY J                  8787 RADNER DR                                                                         STERLING HEIGHTS   MI   48314‐2521
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                    Part 37 of 40 Pg 778 of 901
Name                             Address1                           Address2                  Address3   Address4         City              State Zip
UPCHURCH, SAM J                  317 WOODBINE DR                                                                          SHREVEPORT         LA 71105‐4725
UPCHURCH, SAM JOHN               317 WOODBINE DR                                                                          SHREVEPORT         LA 71105‐4725
UPCHURCH, SAMMY                  1317 NIAGRA ST                                                                           FLINT              MI 48503‐1272
UPCHURCH, SAMMY                  1113 MARIE CT                                                                            FLINT TOWNSHIP     MI 48532
UPCHURCH, SHARON D               2085 PAULINE DR                                                                          TROY               MI 48083‐2124
UPCHURCH, SHERMAN G              3600 E LILAC LN                                                                          MUNCIE             IN 47302‐5734
UPCHURCH, SHERMAN GAIL           3600 E LILAC LN                                                                          MUNCIE             IN 47302‐5734
UPCHURCH, SYLVIA I               2005 N TURNER ST                                                                         MUNCIE             IN 47303‐2452
UPCHURCH, SYLVIA I               2005 N TURNER                                                                            MUNCIE             IN 47303‐2452
UPCHURCH, THOMAS G               1204 AMY DR                                                                              ALLEN              TX 75013‐3356
UPCHURCH, THOMAS G               1204 AMY DRIVE                                                                           ALLEN              TX 75013‐3356
UPCHURCH, VICTOR D               2601 N WICKERSHAM DR                                                                     MUNCIE             IN 47304‐9226
UPCHURCH, VICTOR DUKE            2601 N WICKERSHAM DR                                                                     MUNCIE             IN 47304‐9226
UPCHURCH, VIVIAN J               4203 CONSETT DR                                                                          ST LOUIS           MO 63129‐7253
UPCHURCH, WALTER C               1999 LEPPO RD                                                                            MANSFIELD          OH 44903‐9076
UPCHURCH, WILLIAM C              GUY WILLIAM S                      PO BOX 509                                            MCCOMB             MS 39649‐0509
UPCHURCH, WILLIAM G              290 WILLASTON DR                                                                         DAYTON             OH 45431‐2251
UPCHURCH, WILLIAM L              2265 BAGLEY RD                                                                           CUMMING            GA 30041‐7212
UPCHURCH, WILLIAM LOUIS          2265 BAGLEY RD                                                                           CUMMING            GA 30041‐7212
UPCHURCH, WILLIE FAY             COON & ASSOCS BRENT                917 FRANKLIN ST STE 210                               HOUSTON            TX 77002‐1751
UPCOTT, GARRY M                  8135 PINE RIDGE DR                                                                       CLARKSTON          MI 48346‐1144
UPCOTT, SANDRA M                 23261 SENECA ST                                                                          OAK PARK           MI 48237‐3706
UPCOTT, TERRY A                  120 E MAIN ST                                                                            MORENCI            MI 49256‐1550
UPCRAFT, MARK A                  13372 LAKE SHORE DR                                                                      FENTON             MI 48430‐1022
UPDATE LEGAL                     1140 AVENUE OF THE AMERICAS FL 6                                                         NEW YORK           NY 10036‐5803
UPDATE TEC/SHELBY TO             46220 GULLIVER DR                                                                        SHELBY TOWNSHIP    MI 48315‐5822
UPDATE TECHNOLOGY                46200 GULLIVER                                                                           SHELBY TWP         MI 48315
UPDATED AUTOMOTIVE REPAIR INC.   12146 YORK RD                                                                            NORTH ROYALTON     OH 44133
UPDAW, FLORENCE R                796 HIGHTOWER WAY                                                                        WEBSTER            NY 14580‐2543
UPDEGRAFF, BERYL E               1709 BITTERSWEET DR                                                                      ANDERSON           IN 46011‐9202
UPDEGRAFF, CHARLES D             427 N 11TH ST                                                                            ELWOOD             IN 46036‐1558
UPDEGRAFF, DALE E                2346 WESTDALE CT                                                                         KOKOMO             IN 46901‐5090
UPDEGRAFF, JUANITA BERNICE       1709 BITTERSWEET DRIVE                                                                   ANDERSON           IN 46011‐9202
UPDEGRAFF, ROBERT E              3210 S HOYT AVE                                                                          MUNCIE             IN 47302‐3942
UPDEGRAFF, ROSALIND MARIE        PO BOX 342                                                                               TRENTON            MO 64683‐0342
UPDEGRAPH, GEORGE R              5598 RIDGE RD                                                                            LOCKPORT           NY 14094‐9442
UPDEGROVE, CHARLES J             7 AUDUBON CT                                                                             MURRELLS INLET     SC 29576‐9783
UPDEGROVE, JAMES R               6278 BAYVIEW STATION                                                                     NEWFANE            NY 14108‐9780
UPDEGROVE, JOHN C                6022 GODFREY RD                                                                          BURT               NY 14028‐9722
UPDIKE JR, CHARLES E             7525 ROSEGATE APT 162                                                                    INDIANAPOLIS       IN 46237‐8357
UPDIKE JR, EUGENE B              325 SCHOOL STREET                                                                        BRADFORD           OH 45308‐5308
UPDIKE JR, EUGENE B              325 SCHOOL ST                                                                            BRADFORD           OH 45308‐1025
UPDIKE JR, EUGENE BUSH           325 SCHOOL ST                                                                            BRADFORD           OH 45308‐1025
UPDIKE WILLIAM                   3201 ROOSEVELT AVE                                                                       INDIANAPOLIS       IN 46218‐3757
UPDIKE, CHARLES C                198 SNEAD DR                                                                             CROSSVILLE         TN 38558‐7111
UPDIKE, DONALD W                 540 COMMUNITY ST                                                                         LANSING            MI 48906‐3222
UPDIKE, EDWARD A                 2712 CROSS PRAIRIE DR                                                                    JANESVILLE         WI 53546‐4342
UPDIKE, JOSEPH C                 2130 SAMANTHAS WLS                                                                       NEWTON             NC 28658‐9472
UPDIKE, LLOYD J                  2841 TENNYSON ST                                                                         LINCOLN            NE 68516
UPDIKE, MELVIN L                 2707 N LEXINGTON DR APT 204                                                              JANESVILLE         WI 53545‐0340
UPDIKE, WILLIAM A                27 ANNABELLE AVE                                                                         TRENTON            NJ 08610‐6315
UPDYKE, ALLEN L                  40905 156TH ST E                                                                         LANCASTER          CA 93535‐7038
                             09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                                Part 37 of 40 Pg 779 of 901
Name                         Address1                         Address2                        Address3                 Address4                 City               State Zip
UPDYKE, BRIAN E              8813 WINDSOR HWY                                                                                                   DIMONDALE           MI 48821‐8741
UPDYKE, EDITH E              13326 VILLA PARK                                                                                                   AUSTIN              TX 78729‐3734
UPDYKE, GARY R               14302 SUNFIELD HWY                                                                                                 SUNFIELD            MI 48890‐9500
UPDYKE, MALEITTA V           6250 BATH RD                                                                                                       PERRY               MI 48872‐9736
UPDYKE, PHYLLIS J            511 SILVER ST.                                                                                                     SHARON              PA 16146
UPDYKE, SALLY L              7685 BALL MILL RD                                                                                                  SANDY SPRINGS       GA 30350‐4408
UPDYKE, SAMUEL K             127 E 2ND ST                                                                                                       FRANKLIN            OH 45005‐2203
UPEN DOSHI                   1274 BURNS DR                                                                                                      TROY                MI 48083‐6317
UPENDER NANDA                6420 DOUBLE EAGLE DR UNIT 701                                                                                      WOODRIDGE            IL 60517‐1765
UPENIEKS ROBERT H (472748)   WEITZ & LUXENBERG                180 MAIDEN LANE                                                                   NEW YORK            NY 10038
UPENIEKS, ROBERT H           WEITZ & LUXENBERG                180 MAIDEN LANE                                                                   NEW YORK            NY 10038
UPESLEJA, MARY               15901 SOUTHWAY DR                                                                                                  BROOK PARK          OH 44142‐3761
UPF HOLDINGS LTD             MILLFIELDS RD ETTINGSHALL                                                                 WOLVERHAMPTON WEST
                                                                                                                       MIDLANDS WV4 6JF GREAT
                                                                                                                       BRITAIN
UPF HOLDINGS LTD             DAVID BURKETT                    2851 JAMES P COLE BLVD          UPF GROUP POC                                     FLINT              MI 48505‐4500
UPF HOLDINGS LTD             DAVID BURKETT                    UPF GROUP POC                   2851 JAMES P COLE BLVD   ANGERS FRANCE
UPF HOLDINGS LTD             MILLFIELDS RD ETTINGSHALL                                                                 WOLVERHAMPTON WEST
                                                                                                                       MIDLANDS WV4 6JF GREAT
                                                                                                                       BRITAIN
UPF INC                      2851 JAMES P COLE BLVD                                                                                             FLINT              MI 48505‐4500
UPF INC                      DAVID BURKETT                    2851 JAMES P COLE BLVD          UPF GROUP POC                                     FLINT              MI 48505‐4500
UPF INC                      DAVID BURKETT                    UPF GROUP POC                   2851 JAMES P COLE BLVD   ANGERS FRANCE
UPF INC                      ATTN COMERICA BANK               2851 JAMES P COLE BLVD                                                            FLINT              MI   48505‐4500
UPGRADE COMPUTER TRAINING    1625 W MARCH LN STE 101                                                                                            STOCKTON           CA   95207‐6424
UPHAM & WALSH LUMBER         2155 STONINGTON AVE ATE 209                                                                                        HOFFMAN EST        IL   60169‐2058
UPHAM WILLIAM (460250)       KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                                     CLEVELAND          OH   44114
                                                              BOND COURT BUILDING
UPHAM, GLENDA G              2077 VINTAGE PL                                                                                                    ESCONDIDO          CA   92027‐1200
UPHAM, HAROLD I              5201 SUNSET DR                                                                                                     PERRINTON          MI   48871‐9660
UPHAM, HARRY E               38 PARK ST                                                                                                         NORWOOD            NY   13668‐1117
UPHAM, LEO J                 6851 CALIFORNIA SCHOOL RD                                                                                          EATON              OH   45320‐9312
UPHAM, LLOYD B               6697 VICTORIA SHORE DR                                                                                             LAINGSBURG         MI   48848‐9490
UPHAM, LLOYD BRUCE           6697 VICTORIA SHORE DR                                                                                             LAINGSBURG         MI   48848‐9490
UPHAM, MARILYN J             5719 KLONDIKE STREET NORTHEAST                                                                                     ALBUQUERQUE        NM   87111‐5931
UPHAM, RAE N                 2629 PEMBERTON RD                                                                                                  LAURA              OH   45337‐9744
UPHAM, ROBERT C              1042 DEAL LN                                                                                                       HOLIDAY            FL   34691‐5008
UPHAM, TED D                 4799 CHEROKEE RD                                                                                                   SAGINAW            MI   48604‐9415
UPHAM, WILLIAM               KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                                      CLEVELAND          OH   44114
                                                              BOND COURT BUILDING
UPHOLD, GARY A               2469 W AUBURN RD                                                                                                   ROCHESTER HLS      MI   48309‐4003
UPINDERJIT SINGH             41640 TOUCHSTONE DR                                                                                                STERLING HEIGHTS   MI   48314‐3781
UPKINS, JOHNNIE F            1977 NEW SIGHT DR NE                                                                                               BROOKHAVEN         MS   39601‐8682
UPLEGER, ELIZABETH A         6463 WEYER RD                                                                                                      IMLAY CITY         MI   48444‐8806
UPLEGER, GARY H              6665 LIERMAN RD                                                                                                    IMLAY CITY         MI   48444‐8504
UPLEGER, NICOLE L            800 EDENBOUGH CIR APT 202                                                                                          AUBURN HILLS       MI   48326‐4546
UPLEGER, PHILIP R            643 EAST DR                                                                                                        IMLAY CITY         MI   48444‐8903
UPLEGER, RAY C               9000 DANDELION DR                                                                                                  MURFREESBORO       TN   37129‐7870
UPLEGER, ROBERT W            12735 BRYCE RD                                                                                                     EMMETT             MI   48022‐2904
UPLEGER, SANDRA A            14324 KERNER DR                                                                                                    STERLING HTS       MI   48313‐2133
UPLEGGER, JAMES L            113 DANTE DR                                                                                                       ROSCOMMON          MI   48653‐9251
UPLEGGER, JULIE A            1708 CASPIAN DR                                                                                                    CULLEOKA           TN   38451‐2079
                              09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                Part 37 of 40 Pg 780 of 901
Name                          Address1                          Address2                    Address3           Address4         City                State Zip
UPLINGER, MICHAEL             43 AUBURN AVE                                                                                     SHELBY               OH 44875‐1121
UPMANN, DAVID L               2913 YALE DR                                                                                      JANESVILLE           WI 53548‐2796
UPMANN, DENNIS P              245 KNOLLVIEW DR                                                                                  JANESVILLE           WI 53548‐6302
UPMC COMMUNITY MEDIC          PO BOX 382046                                                                                     PITTSBURGH           PA 15250‐8046
UPMC HORIZON                  PO BOX 382007                                                                                     PITTSBURGH           PA 15250‐8007
UPMEYER, JOANNA M             16400 LAIRDHAVEN DRIVE                                                                            NORTHVILLE           MI 48168‐9594
UPMG                          ATTN: ROBIN BATTLE                1303 S LINDEN RD # F                                            FLINT                MI 48532‐3442
UPONOR INC.                   CRAIG PAULSON                     5925 148TH ST W                                                 APPLE VALLEY         MN 55124‐8197
UPP ENTER/N HOLLYWOO          10865 BURBANK BLVD                                                                                NORTH HOLLYWOOD      CA 91601‐2521
UPP, DONALD L                 7335 SHADBLEAU DR                                                                                 JENISON              MI 49428‐7718
UPPER ARLINGTON SURG          2240 N BANK DR                                                                                    COLUMBUS             OH 43220‐5420
UPPER DARBY AUTO              7045 W CHESTER PIKE                                                                               UPPER DARBY          PA 19082‐1705
UPPER DECK TAVERN             ATTN: DEBBIE MILLER               2651 BLANCHARD AVE                                              MORAINE              OH 45439‐2131
UPPER GROVE WAY AUTO REPAIR   2932 GROVE WAY                                                                                    CASTRO VALLEY        CA 94546‐6712
UPPER IOWA UNIVERSITY         MADISON CENTER                    4601 HAMMERSLEY RD                                              MADISON              WI 53711‐2706
UPPER IOWA UNIVERSITY         COCDP OFFICE                                                                                      FAYETTE               IA 52142
UPPER IOWA UNIVERSITY         EXTERNAL DEGREE PROGRAM           PO BOX 1861                                                     FAYETTE               IA 52142‐1861
UPPER IOWA UNIVERSITY         6004 PRAIRIE ROAD                                                                                 JANESVILLE           WI 53547
UPPER IOWA UNIVERSITY         1350 KATOSKI DR                   WATERLOO CENTER                                                 WATERLOO              IA 50701‐6000
UPPER IOWA UNIVERSITY         DES MOINES CENTER                 1119 5TH ST                                                     WEST DES MOINES       IA 50265‐2608
UPPER IOWA UNIVERSITY         MADISON CAMPUS                    4601 HAMMERSLEY RD                                              MADISON              WI 53711‐2706
UPPER IOWA UNIVERSITY         ONLINE PROGRAM                    PO BOX 1857                                                     FAYETTE               IA 52142‐1857
UPPER MERION TOWNSHIP         175 W VALLEY FORGE RD             ATTN: BUSINESS TAX OFFICE                                       KING OF PRUSSIA      PA 19406‐1851
UPPER SANDUSKY PLANT #2       JEFF HOOD                         BRIDGESTONE APM CO.         235 COMMERCE WAY                    COOPERSVILLE         MI 49404
UPPER VALLEY AUTOMOTIVE       1080 COUNTRY CLUB RD                                                                              EL PASO              TX 79932‐3104
UPPER, DARRELL E              1246 CHATWELL DR                                                                                  DAVISON              MI 48423‐2722
UPPER, JUNE S                 14222 BOICHOT RD                                                                                  LANSING              MI 48906‐1086
UPPER, MARYLIN B              11463 N STATE RD                                                                                  OTISVILLE            MI 48463‐9702
UPPER, NORMAN K               315 S CHIPMAN ST                                                                                  OWOSSO               MI 48867‐3329
UPPER, NORMAN KENNETH         315 S CHIPMAN ST                                                                                  OWOSSO               MI 48867‐3329
UPPER, SHIRLEY J              1333 WINDING RIDGE DR # 1B                                                                        GRAND BLANC          MI 48439‐7561
UPPER, WILLIAM I              27972 MORAN ST                                                                                    HARRISON TOWNSHIP    MI 48045‐2933
UPPERMAN ROBERT L (309337)    BRAYTON PURCELL                   PO BOX 6169                                                     NOVATO               CA 94948‐6169
UPPERMAN, GREGG W             2420 WILDWOOD AVENUE                                                                              ANDERSON             IN 46011‐1388
UPPERMAN, ILENE M             PO BOX 2100                                                                                       BOUSE                AZ 85325‐2100
UPPERMAN, MILDRED L           36 DOVE ST 14613                                                                                  ROCHESTER            NY 14613
UPPERMAN, ROBERT L            BRAYTON PURCELL                   PO BOX 6169                                                     NOVATO               CA 94948‐6169
UPPERMAN, WILLIAM H           1309 N NURSERY RD                                                                                 ANDERSON             IN 46012‐2729
UPPINGHOUSE DAVID             3068 E NICHOLS CIR                                                                                CENTENNIAL           CO 80122‐3462
UPPSTAD, KNUT                 13802 LINCOLNSHRE DR                                                                              ORLAND PARK           IL 60462
UPPSTAD, LOIS F               LEXINGTON HEALTH CARE CENTER OF   13802 LINCOLNSHIRE DR                                           ORLAND PARK           IL 60462
UPRIGHT TRUCKING INC          PO BOX 528                                                                                        FLUSHING             MI 48433‐0528
UPRIGHT, ALAN D               2255 E GRESHAN HYW                                                                                CHARLOTTE            MI 48813
UPRIGHT, JEANANNE E.          2008 GORDON AVE                                                                                   LANSING              MI 48910‐2432
UPRIGHT, PAUL C               4615 OTTO RD R 1                                                                                  CHARLOTTE            MI 48813
UPRR LLC                      ATTN PETER BILLOWS                450 7TH AVE STE 1300                                            NEW YORK             NY 10123‐0207
UPS                           PO BOX 577                                                                                        CAROL STREAM          IL 60132‐0001
UPS                           PO BOX 850580                                                                                     DALLAS               TX 75265
UPS                           PO BPX 7247‐0244                                                                                  PHILA                PA 19170
UPS                                                             5501 FOURCHE DAM PIKE                                                                AR 72206
UPS AUTOMOTIVE
                                    09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                        Part 37 of 40 Pg 781 of 901
Name                                Address1                             Address2                          Address3   Address4                City            State Zip
UPS CANADA                          PO BOX 2127 CRO                                                                   HALIFAX CANADA NS B3J
                                                                                                                      3B7 CANADA
UPS CANADA                          P.O. BOX 2127 CRO                                                                 HALIFAX NS B3J 3B7
                                                                                                                      CANADA
UPS CAPITAL CORPORATION             35 GLENLAKE PARKWAY NE               SUITE 300                                                            ATLANTA          GA 30328
UPS CAPITAL CORPORATION             ATTENTION: PRESIDENT                 35 GLENLAKE PARKWAY, SUITE 500                                       ATLANTA          GA 30328

UPS CAPITAL CORPORATION             ATTN: CORPORATE OFFICER/AUTHORIZED   35 GLENLAKE PARKWAY NE, STE 300                                      ATLANTA          GA 30328
                                    AGENT
UPS FREIGHT                         ATTN: LARRY JOHNSON                  2580 KENMORE AVE                                                     TONAWANDA       NY    14150‐7847
UPS FREIGHT                         79755 PO                                                                                                  BALTIMORE       MD    21279‐0755
UPS FREIGHT SERVICES INC            10 LEIGH FISHER BLVD                                                                                      EL PASO         TX    79906‐5239
UPS GROUND FREIGHT, INC.            1000 SEMMES AVE                                                                                           RICHMOND        VA    23224‐2246
UPS SUPPLY CHAIN SOLUTION           700 KEYSTONE INDUSTRIAL PARK         FMLY MENLO WORLDWID *SCAC                                            SCRANTON        PA    18512‐1529
                                                                         EMXP
UPS SUPPLY CHAIN SOLUTIONS          417 UNION PACIFIC BLVD                                                                                    LAREDO          TX    78045‐9428
UPS SUPPLY CHAIN SOLUTIONS          PO BOX 360302                                                                                             PITTSBURGH      PA    15250‐6302
UPS SUPPLY CHAIN SOLUTIONS          1212 E ALEXIS RD                                                                                          TOLEDO          OH    43612‐3974
UPS SUPPLY CHAIN SOLUTIONS          JORGE CAVAZOS                        PO BOX 11057                                                         EL PASO         TX    79995‐1057
UPS SUPPLY CHAIN SOLUTIONS DALLAS   700 KEYSTONE INDUSTRIAL PARK                                                                              DUNMORE         PA    18512‐1529
UPS SUPPLY CHAIN SOLUTIONS INC      ATTN CUSTOMS BROKERAGE SVCS          PO BOX 34486                                                         LOUISVILLE      KY    40232‐4486
UPS SUPPLY CHAIN SOLUTIONS INC      28013 NETWORK PL                                                                                          CHICAGO         IL    60673‐1280
UPS SUPPLY CHAIN SOLUTIONS INC      1212 E ALEXIS RD                     RMVD 02/17/06 CS                                                     TOLEDO          OH    43612‐3974
UPS SUPPLY CHAIN SOLUTIONS INC      4950 GATEWAY BLVD E                                                                                       EL PASO         TX    79905‐1606
UPS SUPPLY CHAIN SOLUTIONS INC      226 FORST STREET                                                                                          SWEET GRASS     MT    59484
UPS SUPPLY CHAIN SOLUTIONS INC      12380 MORRIS RD                                                                                           ALPHARETTA      GA    30005‐4177
UPS SUPPLY CHAIN SOLUTIONS INC      417 UNION PACIFIC BLVD               PO BOX 2489                                                          LAREDO          TX    78045‐9428
UPS TRADE MANAGEMENT SVCS INC       12380 MORRIS RD                                                                                           ALPHARETTA      GA    30005‐4177
UPS WORLDWIDE LOGISTICS INC         12380 MORRIS RD                                                                                           ALPHARETTA      GA    30005‐4177
UPS, GRETEL                         4418 URBAN DR                                                                                             SOUTH EUCLID    OH    44121‐3553
UPS‐SCS EXPEDITE                    700 KEYSTONE INDUSTRIAL PARK         FMLY EMERY EXPEDITE *SCAC EMXP                                       SCRANTON        PA    18512‐1529

UPSCALE COMMUNICATIONS              MARIELLEN BALLIER                    2141 POWERS FERRY RD                                                 MARIETTA        GA    30067
UPSCALE COMMUNICATIONS              2141 POWERS FERRY ROAD                                                                                    MARIETTA        GA    30067
UPSCO INC                           C\O UNITED FREEZER&STORAGE CO        650 N MERIDIAN RD                                                    YOUNGSTOWN      OH    44509
UPSHAW ANGELA                       1520 KAREN AVE                                                                                            LIMA            OH    45801‐2611
UPSHAW JR, CLINTON                  601 E 3RD ST                                                                                              LIMA            OH    45804‐2021
UPSHAW JR, JOE                      671 N UNION ST                                                                                            LIMA            OH    45801‐4160
UPSHAW JR, LORRIS                   3430 BALFOUR ROAD                                                                                         DETROIT         MI    48224‐3434
UPSHAW JR, MAURICE T                6277 LEAWOOD DR                                                                                           HUBER HEIGHTS   OH    45424‐3038
UPSHAW JR,MAURICE T                 6277 LEAWOOD DR                                                                                           HUBER HEIGHTS   OH    45424‐3038
UPSHAW JR., CLARENCE                9140 AGNES PARK LN                                                                                        HUNTERSVILLE    NC    28078‐8390
UPSHAW, ANGELA K                    1520 KAREN AVE                                                                                            LIMA            OH    45801‐2611
UPSHAW, ANGELA KAY                  1520 KAREN AVE                                                                                            LIMA            OH    45801‐2611
UPSHAW, ARGUSTA                     192 VERNON DR                                                                                             PONTIAC         MI    48342‐1673
UPSHAW, BERNICE C                   1548 FAIRWAY DRIVE                                                                                        LIMA            OH    45805‐3849
UPSHAW, BILLY R                     1662 NE NEW YORK RD                                                                                       HAMILTON        MO    64644‐9197
UPSHAW, DAVID                       13438 LONGVIEW ST                                                                                         DETROIT         MI    48213‐1980
UPSHAW, GERALDINE                   10159 ROXBURY                                                                                             DETROIT         MI    48224‐2409
UPSHAW, GERALDINE                   10159 ROXBURY ST                                                                                          DETROIT         MI    48224‐2409
UPSHAW, ISAIAH                      2635 ALWOOD DR                                                                                            FORT WAYNE      IN    46816‐3343
UPSHAW, JAMES E                     6921 RUNNYMEADE TRL                                                                                       FREDERICKSBRG   VA    22407‐6248
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                       Part 37 of 40 Pg 782 of 901
Name                                Address1                        Address2                Address3     Address4         City           State Zip
UPSHAW, JAMES L                     505 W NORTHERN AVE                                                                    LIMA            OH 45801‐2624
UPSHAW, JAMIE                       20201 CONLEY                                                                          DETROIT         MI 48234‐2257
UPSHAW, KRYSTAL A                   17025 MOUNT VERNON ST                                                                 SOUTHFIELD      MI 48075‐8003
UPSHAW, LAMARK NATHAN               APT 182                         2275 NORTH CABLE ROAD                                 LIMA            OH 45807‐1774
UPSHAW, LORRIS                      14976 PROMENADE ST                                                                    DETROIT         MI 48213‐1511
UPSHAW, LUCY H                      111 W HARDING AVE                                                                     GREENWOOD       MS 38930‐3045
UPSHAW, MICHAEL C                   1132 HARLEM BLVD                                                                      ROCKFORD         IL 61103‐7130
UPSHAW, MICHAEL E                   1500 ROSEWOOD DR APT B9                                                               COLUMBIA        TN 38401‐4880
UPSHAW, MITTIE W                    4969 FOSTERSON DR                                                                     LOCKBOURNE      OH 43137‐9308
UPSHAW, ONA R                       3212 GERMANTOWN ST                                                                    DAYTON          OH 45408‐2122
UPSHAW, SARAH B                     5010 SOUTHVIEW DR                                                                     ANDERSON        IN 46013‐4854
UPSHAW, SHIRLEY A                   117 PIERRE PL                                                                         LIMA            OH 45805‐1141
UPSHAW, SHIRLEY A                   117 PIERRE PLACE                                                                      LIMA            OH 45805
UPSHAW, ZAKIYA WYNEE'               1556 FARWELL ST                                                                       BELOIT          WI 53511‐3604
UPSHER‐SMITH                        CHERYL THEISEN                  6701 EVENSTAD DR N                                    MAPLE GROVE     MN 55369‐6026
UPSHUR COUNTY TAX ASSESSOR          215 TITUS ST                                                                          GILMER          TX 75644‐1924
UPSHUR JR, CHARLES                  140 MORTON AVE                                                                        TRENTON         NJ 08610‐3730
UPSHUR, LARRY D                     739 JOHNSTON AVE                                                                      TRENTON         NJ 08629‐1117
UPSHUR, MARCELLA L                  7801 ROOSEVELT BLVD APT 43                                                            PHILADELPHIA    PA 19152
UPSHUR, MICHAEL P                   13475 LOWE DR                                                                         WARREN          MI 48088‐1337
UPSON, C H                          141 SHEARER RD                                                                        WASHINGTON      CT 06793‐1012
UPSON, DAVID P                      432 STREAMSIDE DR                                                                     GALESBURG       MI 49053‐9585
UPSON, GARY D                       PO BOX 401                                                                            PINCONNING      MI 48650‐0401
UPSON, JAMES M                      2005 WOODGATE DR                                                                      ONTARIO         NY 14519
UPSON, LINDA K                      6942 HEIGHTS RAVENNA RD                                                               FRUITPORT       MI 49415‐8666
UPSON, ROBERT L                     2860 MABEE RD                                                                         MANSFIELD       OH 44903‐8203
UPSTAIRS LOUNGE                     4500 MAHONING AVE                                                                     YOUNGSTOWN      OH 44515‐1603
UPSTATE CEREBRAL PALSY COMMUNITY    1020 MARY ST                                                                          UTICA           NY 13501‐1930
DEVELOPMENT
UPSTATE CHEVROLET BUICK PONTIAC GMC 1935 PEARMAN DAIRY RD                                                                 ANDERSON        SC   29625‐1315

UPSTATE CHEVROLET BUICK PONTIAC GMC 1935 PEARMAN DAIRY RD                                                                 ANDERSON        SC   29625‐1315
CADILLAC
UPSTATE CHEVROLET OLDSMOBILE &      36 MAIN ST                                                                            ATTICA         NY 14011‐1044
AURO
UPSTATE CHEVROLET OLDSMOBILE &      36 MAIN ST                                                                            ATTICA         NY 14011‐1044
AURORA
UPSTATE CHEVROLET OLDSMOBILE &      FRANK BORK III                  36 MAIN ST                                            ATTICA         NY 14011‐1044
AURORA
UPSTATE MEDICARE DIVISION           PO BOX                                                                                BUFFALO        NY    14240
UPSTATE NEW YORK TRUCK CLUB         23 ELM HILL WAY                                                                       CAMILLUS       NY    13031‐1646
UPTAGRAFFT, RAYMOND                 RT #8 BOX 498 LOT               #60                                                   JACKSON        MS    39212
UPTAIN, BILLY P                     4330 NEVILLE RD                                                                       GLENNIE        MI    48737‐9556
UPTAIN, CHARLES A                   505 REBECCA AVE                                                                       DOTHAN         AL    36303‐2752
UPTEGRAFF JR., RONALD L             4346 N GALE RD                                                                        DAVISON        MI    48423‐8912
UPTEGRAFF, CHARLES A                5677 STEWART RD                                                                       LAPEER         MI    48446‐9778
UPTEGRAFF, DONALD L                 23 S STRAITS HWY                                                                      INDIAN RIVER   MI    49749‐9151
UPTEGRAFF, ELIZABETH C              3226 HORRELL CT                                                                       FENTON         MI    48430‐1005
UPTEGRAFF, ELIZABETH CLAIRE         3226 HORRELL CT                                                                       FENTON         MI    48430‐1005
UPTEGRAFF, HAROLD A                 14057 NEFF RD                                                                         CLIO           MI    48420‐8806
UPTEGRAFF, MARY D                   6222 ELRO ST                                                                          BURTON         MI    48509‐2444
UPTEGRAFF, MARY D                   6222 ELRO STREET                                                                      BURTON         MI    48509‐2444
                            09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                 Part 37 of 40 Pg 783 of 901
Name                        Address1                          Address2             Address3        Address4         City               State Zip
UPTEGRAFF, RONALD L         2250 N CENTER RD                                                                        BURTON              MI 48509‐1003
UPTEGRAFF, SANDRA F         2250 N CENTER RD                                                                        BURTON              MI 48509‐1003
UPTEGRAFT, CARL C           8386 W NATIONAL ROAD                                                                    NEW CARLISLE        OH 45344‐9285
UPTEGRAFT, JEFFERY P        4445 CONGDON DR                                                                         WILLIAMSTON         MI 48895‐9414
UPTEGRAFT, STEVEN C         6910 VERNSON DR                                                                         LANSING             MI 48911‐6555
UPTEGROVE, DENISE D         16660 HIGHWAY 13                                                                        RICHMOND            MO 64085‐8810
UPTEGROVE, THAD E           16660 HIGHWAY 13                                                                        RICHMOND            MO 64085‐8810
UPTGRAFT, GARY L            4514 CEDARCREST AVE                                                                     PORTAGE             MI 49024‐9523
UPTGRAFT, WILLIAM L         430 5TH AVE                                                                             MANSFIELD           OH 44905‐1912
UPTHEGROVE, DAVID G         11100 GALE RD                                                                           OTISVILLE           MI 48463‐9435
UPTIGROVE, KENNETH R        11675 MONTCALM RD                                                                       GREENVILLE          MI 48838‐9036
UPTIGROVE, KENT M           7158 KALKASKA DR                                                                        DAVISON             MI 48423‐2340
UPTIGROVE, ROBERT K         9090 MEADOWLAND DR                                                                      GRAND BLANC         MI 48439‐8325
UPTIME PARTS ‐ W. CHICAGO   385 FENTON LANE                                                                         WEST CHICAGO         IL 60185
UPTIME SOLUTION ASSOC INC   3381 SUCCESSFUL WAY                                                                     DAYTON              OH 45414‐4317
UPTMOR, DAVID F             PO BOX 272                                                                              CORNERSVILLE        TN 37047‐0272
UPTMOR, LAUREL W            1254 SNIDER                                                                             WEST                TX 76691‐2131
UPTMOR, MATTHEW S           6361 LEUEN RD                                                                           SAGINAW             MI 48604‐9741
UPTMOR, MATTHEW SHANE       6361 LEUEN RD                                                                           SAGINAW             MI 48604‐9741
UPTMOR, NORMAN E            12316 E FM 917                                                                          ALVARADO            TX 76009‐6162
UPTON G TODD                UPTON, BRANDON M                  175 S 3RD ST PH 1                                     COLUMBUS            OH 43215‐5134
UPTON G TODD                UPTON, COLE M                     175 S 3RD ST PH 1                                     COLUMBUS            OH 43215‐5134
UPTON G TODD                UPTON, G TODD                     175 S 3RD ST PH 1                                     COLUMBUS            OH 43215‐5134
UPTON G TODD                UPTON, KYLE T                     175 S 3RD ST PH 1                                     COLUMBUS            OH 43215‐5134
UPTON JR, DUANE L           236 N MARKET ST                                                                         MARINE CITY         MI 48039‐3450
UPTON JR, HARVEY M          31 MARY STAFFORD LN                                                                     FLINT               MI 48507‐4219
UPTON KATHERINE             6522 GRANT DR                                                                           MAGNOLIA            TX 77354‐3165
UPTON SHELTON               2024 HIGHWAY 267 S                                                                      SEARCY              AR 72143‐8470
UPTON, ALBERT L             1292 N US HIGHWAY 231                                                                   SPENCER             IN 47460‐6644
UPTON, AMIE W               2578 E 360 N                                                                            ANDERSON            IN 46012‐9239
UPTON, BETTY J              PO BOX 617                                                                              CELINA              TN 38551‐0617
UPTON, BRADLEY R            N20810 S GABER ROAD H                                                                   PERRONVILLE         MI 49873‐9347
UPTON, BRANDON M            LEESEBERG & VALENTINE             175 S 3RD ST PH 1                                     COLUMBUS            OH 43215‐5134
UPTON, CAROL S              PO BOX 42035                                                                            INDIANAPOLIS        IN 46242‐0035
UPTON, CAROLYN M            PO BOX 575                                                                              PRINCE FREDERICK    MD 20678‐0575
UPTON, COLE M               LEESEBERG & VALENTINE             175 S 3RD ST PH 1                                     COLUMBUS            OH 43215‐5134
UPTON, CRAIG S              3958 NAVAHO ST SW                                                                       GRANDVILLE          MI 49418‐1846
UPTON, CRAIG SCOTT          3958 NAVAHO ST SW                                                                       GRANDVILLE          MI 49418‐1846
UPTON, DAVID                SHANNON LAW FIRM                  100 W GALLATIN ST                                     HAZLEHURST          MS 39083‐3007
UPTON, DAVID L              5137 CAVE CT                                                                            GREENWOOD           IN 46142‐9740
UPTON, DENNIS J             33858 BROOKSHIRE DR                                                                     STERLING HTS        MI 48312‐6510
UPTON, DONALD J             175 ROUND TREE DR                                                                       LAKE ORION          MI 48360‐2273
UPTON, EDMOND D             12120 CARRIAGE TRAIL DR                                                                 DAVISBURG           MI 48350‐1609
UPTON, EDWARD L             775 FIELDS RD                                                                           DANSVILLE           MI 48819‐9793
UPTON, ELIZABETH M          50324 JACKSON LN                  C/O BARBARA E KARL                                    CANTON              MI 48188‐3436
UPTON, ERNEST W             3565 WALBRI DR                                                                          BLOOMFIELD HILLS    MI 48304‐2467
UPTON, ESTELLE H            31 MARY STAFFORD LANE                                                                   FLINT               MI 48507
UPTON, FREDERIC A           3334 WILLET AVE                                                                         ROCHESTER HLS       MI 48309‐3543
UPTON, G TODD               LEESEBERG & VALENTINE             175 S 3RD ST PH 1                                     COLUMBUS            OH 43215‐5134
UPTON, G TODD               8306 TOWNSHIP ROAD 166                                                                  WEST LIBERTY        OH 43357‐9734
UPTON, GARY W               5208 GORDON DR                                                                          SIOUX CITY           IA 51106
UPTON, GLORIA E             6394 HERON PARK WAY                                                                     CLARKSTON           MI 48346‐4802
                           09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                             Part 37 of 40 Pg 784 of 901
Name                       Address1                             Address2                    Address3                 Address4             City             State Zip
UPTON, GREGORY D           81 BOULEVARD                                                                                                   SCARSDALE         NY 10583‐5220
UPTON, IAN E               4198 OAK ST                                                                                                    GRAND BLANC       MI 48439‐3447
UPTON, IVAN F              1365 WILLIAMSBURG RD                                                                                           FLINT             MI 48507‐5627
UPTON, JAMES W             218 W 14TH ST                                                                                                  LAPEL             IN 46051‐9527
UPTON, JD M                397 SWEET BRIAR RDG                                                                                            LINDEN            MI 48451‐8817
UPTON, JEAN                3433 BEEBE RD                                                                                                  NEWFANE           NY 14108‐9634
UPTON, JOHN                WILLIAMSON CHE D                     16903 RED OAK DR STE 220                                                  HOUSTON           TX 77090‐3916
UPTON, JOHN A              1878 WILDER ST                                                                                                 HASLETT           MI 48840‐8221
UPTON, KAY L.              132 E BAYWOOD SQUARE                                                                                           DAYTONA BEACH     FL 32119‐1469
UPTON, KENNETH C           701 WOOD VALLEY ST                                                                                             ORTONVILLE        MI 48462‐8509
UPTON, KYLE T              LEESEBERG & VALENTINE                175 S 3RD ST PH 1                                                         COLUMBUS          OH 43215‐5134
UPTON, LENORE S            506 PRESTWICK CIR                                                                                              GARLAND           TX 75044‐5126
UPTON, MARY H              1025 N TAGGART AVE                                                                                             CLARKSVILLE       IN 47129
UPTON, MARY J              2805 5TH AVE W                                                                                                 GLADSTONE         MI 49837‐2171
UPTON, MARY J              4124 BERGEN HALL RD                                                                                            FRUITLAND PARK    FL 34731‐5696
UPTON, MAX R               1329 S CRANE ST                                                                                                INDEPENDENCE      MO 64055‐1626
UPTON, MELANIE             236 N MARKET ST                                                                                                MARINE CITY       MI 48039‐3450
UPTON, MINTA J             228 TOM SMITH LN                                                                                               LIVINGSTON        TN 38570‐8268
UPTON, NANCY K             2926 EL SALTO LN 3                                                                                             LAS VEGAS         NV 89122
UPTON, NORMA S             BOX 917                                                                                                        LAPEL             IN 46051‐0917
UPTON, NORMA S             PO BOX 917                                                                                                     LAPEL             IN 46051‐0917
UPTON, PATRICIA D          175 ROUND TREE DR                                                                                              LAKE ORION        MI 48360‐2273
UPTON, PETER GENE          CHARLES A BROWNING @ MOORE &         595 MARKET ST STE 1320                                                    SAN FRANCISCO     CA 94105‐2820
                           BROWNING A LAW CORPORATION
UPTON, PHILLIP R           2805 5TH AVE W                                                                                                 GLADSTONE        MI   49837‐2171
UPTON, RICHARD A           9561 DOUGLAS RD                                                                                                TEMPERANCE       MI   48182‐9448
UPTON, RICHARD ARTHUR      9561 DOUGLAS RD                                                                                                TEMPERANCE       MI   48182‐9448
UPTON, RICHARD R           7335 BUSCH RD                                                                                                  BIRCH RUN        MI   48415‐8753
UPTON, RICHARD REED        7335 BUSCH RD                                                                                                  BIRCH RUN        MI   48415‐8753
UPTON, RICKEY A            1004 BETTY ST SW                                                                                               DECATUR          AL   35601‐4740
UPTON, ROOSEVELT           109 W YORK AVE                                                                                                 FLINT            MI   48505‐2027
UPTON, ROSILYN J           218 W. 14TH STREET                                                                                             LAPEL            IN   46051‐9527
UPTON, SHEILA K            PO BOX 270                                                                                                     ELMIRA           OR   97437‐0270
UPTON, THELMA V            15 NEW HAMPSHIRE ST 316                                                                                        PLATTSBURGH      NY   12903
UPTON, VICTOR R            6465 W MAPLE RAPIDS RD # R1                                                                                    SAINT JOHNS      MI   48879
UPTON, WILLIAM L           1054 ALTO AVE SE                                                                                               GRAND RAPIDS     MI   49507‐1402
UPTON, WILLIAM T           3800 NORTH 92ND STREET                                                                                         MILWAUKEE        WI   53222‐2504
UPTOWN AUTO CARE           2217 LYNDALE AVE S                                                                                             MINNEAPOLIS      MN   55405‐3029
UPTOWN AUTOMOTIVE          5300 NORTH ST BLDG 3                                                                                           CANANDAIGUA      NY   14424
UPTOWN DATA SERVICES INC
UPTOWN LAND DEVELOPMENT    28400 NORTHWESTERN HWY STE 400       C/O FARBMAN MANAGEMENT                                                    SOUTHFIELD       MI 48034‐8349
CORPORATION                                                     GROUP
UPTOWN MEDIA GROUP LLC     113 E 125 STREET                     2ND FLOOR                                                                 NEW YORK         NY 10035
UPTOWN MOTORCARS, INC.     GLENN PENTLER                        1101 E COMMERCE BLVD                                                      SLINGER          WI 53086‐9027
UPTOWN MOTORCARS, INC.     1101 E COMMERCE BLVD                                                                                           SLINGER          WI 53086‐9027
UPTOWN SERVICE & SUPPLY    17 MAIN ST. BOX 801                                                                       ASHERN MB R0C 0E0
                                                                                                                     CANADA
UPTOWN VENTURE LTD         C/O MERRILL LYNCH INTERNATIONAL BANK ATTN: TAU DEPARTMENT        2 RAFFLES LINK, MARINA   039392 SINGAPORE
                           LIMITED                                                          BAYFRONT
UPVALL, CARL H             115 RICE LN                                                                                                    ONALASKA         WA 98570‐9704
UQDAH, WALA M              UNIT 102                             2161 HUSSIUM HILLS STREET                                                 LAS VEGAS        NV 89108‐6465
UQDAH, WALI M              5413 GRADIN AVE                                                                                                BALTIMORE        MD 21207‐6109
                                  09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                      Part 37 of 40 Pg 785 of 901
Name                              Address1                            Address2                        Address3   Address4              City            State Zip
UQM TECHNOLOGIES INC              7501 MILLER DR                                                                                       FREDERICK        CO 80530
URA L SIMPSON                     2318 HAMILTON ST SW                                                                                  WARREN           OH 44485
URA M HOLCOMB                     C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                        HOUSTON          TX 77007
                                  BOUNDAS LLP
URACIUS, THERESA L                1728 BARRE RD                                                                                        NEW BRAINTREE   MA   01531‐1806
URADNECEK, ANNA                   16400 DUNSTON ST                                                                                     SOUTHGATE       MI   48195‐2817
URADNICEK, ROBERT K               449 VIA ROMA                                                                                         SANTA BARBARA   CA   93110‐2009
URADNICEK, SCOTT R                8325 VEREDA DEL PADRE                                                                                GOLETA          CA   93117
URAIL WILLIAMS JR                 625 AVONDALE DR                                                                                      SAINT PETERS    MO   63376‐7710
URAL CUPPLES                      155 GARLAND RD                                                                                       HENDERSON       TN   38340‐7605
URAL, ZEKIYE                      16625 COUNTRY KNOLL DR                                                                               NORTHVILLE      MI   48168‐3436
URAL, ZEKIYE                      16625 COUNRTY KNOLL DR                                                                               NORTHVILLE      MI   48167‐3436
URAM, DANIEL S                    51989 MONACO DR                                                                                      MACOMB          MI   48042‐6023
URAMKIN, DONALD R                 138 CONSTITUTION CIR                                                                                 POTTERVILLE     MI   48876‐9514
URANITSCH THERESA                 SIMON DENKG 1‐3150                                                             1090 LSIEN AUSTRIA
URANKAR, DOROTHY                  303 CREEK PARK DRIVE                                                                                 CARY            NC   27513‐5651
URANKAR, STANLEY A                303 CREEK PARK DRIVE                                                                                 CARY            NC   27513‐5651
URANKAR, WILLIAM                  3818 FAIROAKS RD                                                                                     CLEVELAND       OH   44121‐1925
URATCHKO, CHRISTOPHER             25632 BUCKINGHAM CT                                                                                  SOUTH LYON      MI   48178‐1563
URATHON EUROPE LTD.,              THANE HOUSE, HILMARTON, WILTSHIRE                                              GREAT BRITAIN
                                  SN11 8SB, UK
URATHON TYRE INDUSTRIES           THANE HOUSE, HILMARTON                                                         WILTSHIRE SN 11 8SB
                                                                                                                 GREAT BRITAIN
URATHON TYRE INDUSTRIES LIMITED   THANE HOUSE, HILMARTON                                                         WILTSHIRE SN 11 8SB
                                                                                                                 GREAT BRITAIN
URATO, CHARLES R                  453 DAVISON RD APT 5                                                                                 LOCKPORT        NY   14094‐4010
URATO, PHILLIP F                  19 SUDBURY LNDG                                                                                      FRAMINGHAM      MA   01701‐3510
URATO, ZETTIE R                   19 SUDBURY LNDG                                                                                      FRAMINGHAM      MA   01701‐3510
URBACH JR, RALPH D                4217 BURKEY RD                                                                                       YOUNGSTOWN      OH   44515‐3533
URBACH, EDNA H                    1459 MARLANE DR                                                                                      GIRARD          OH   44420‐1467
URBACH, GUS L                     1459 MARLANE DR                                                                                      GIRARD          OH   44420‐1467
URBAEZ, IGOR H                    304 HOLLY PARK DR APT 1063                                                                           ARLINGTON       TX   76014
URBAEZ, MONICA A                  304 HOLLY PARK DR APT 1063                                                                           ARLINGTON       TX   76014‐2048
URBAHN, ERNEST R                  6426 W GLENBROOK RD                                                                                  MILWAUKEE       WI   53223‐1540
URBAIN, CAROL R                   208 E MAY ST APT 10                                                                                  GLADWIN         MI   48624‐2148
URBAIN, CAROLEE R                 208 E MAY ST                        APT 10                                                           GLADWIN         MI   48624
URBAIN, DAVID R                   13895 RING RD                                                                                        SAINT CHARLES   MI   48655‐8502
URBAIN, HENRY                     APT 10                              208 EAST MAY STREET                                              GLADWIN         MI   48624‐2148
URBAIN, LINDA M                   6748 CRANVILLE DR                                                                                    CLARKSTON       MI   48348‐4579
URBAIN, RICHARD A                 6748 CRANVILLE DR                                                                                    CLARKSTON       MI   48348‐4579
URBAIN, THOMAS J                  3675 RAMADA                                                                                          HIGHLAND        MI   48356
URBAITIS, MARIE                   1102 EASY ST                                                                                         MCALESTER       OK   74501‐7128
URBAITIS, VINCAS                  5937 MAYFLOWER AVE                                                                                   MAYFIELD HTS    OH   44124‐3032
URBAN CHESTER J (481315)          KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                    CLEVELAND       OH   44114
                                                                      BOND COURT BUILDING
URBAN CHIROPRACTIC                22 YOUNGSTOWN WARREN RD                                                                              NILES           OH   44446‐4564
URBAN CHRISTOPHER                 11763 PINE MOUNTAIN DR                                                                               BRIGHTON        MI   48114‐9090
URBAN CLASSICS LTD.               14 CADMAN PLZ W                                                                                      BROOKLYN        NY   11201‐1323
URBAN COMMUNITIES CLINIC          ATTN: ROSHUNDA PRICE                3031 W GRAND BLVD                                                DETROIT         MI   48202‐3046
URBAN CONCRETE CONTRACTORS LTD.                                       24114 BLANCO RD                                                                  TX   78258
URBAN CONSULTING GROUP LLC        7700 2ND AVE                                                                                         DETROIT         MI   48202‐2411
URBAN CONTRACTOR INC              7113 N BRYANT AVE                                                                                    OKLAHOMA CITY   OK   73121‐4409
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                          Part 37 of 40 Pg 786 of 901
Name                                  Address1                         Address2                       Address3   Address4              City               State Zip
URBAN CRAFT JR                        9238 N GENESEE RD                                                                                MOUNT MORRIS        MI 48458‐9759
URBAN CRAFT JR                        4895 OSLUND RD                                                                                   MANCELONA           MI 49659‐8303
URBAN FAMILY PRACTIC                  564 NIAGARA ST                                                                                   BUFFALO             NY 14201‐1108
URBAN FIGUEIRA                        3223 KINGSLAND AVE                                                                               BRONX               NY 10469‐2709
URBAN G STARKS                        5030 LAMAR RD APT 29                                                                             HOPE HULL           AL 36043
URBAN GASSER                          718 THAYER ST                                                                                    CHESANING           MI 48616‐1447
URBAN GEORGE                          URBAN, GEORGE                    UNKNOWN
URBAN GEORGE                          URBAN, RUTH                      UNKNOWN
URBAN GORILLA
URBAN HART RESCUE INC                 11 FOX RUN LN                                                                                    EAST STROUDSBURG   PA   18302‐9120
URBAN HEALTH SYSTEMS                  7310 S WESTMORELAND RD STE 1                                                                     DALLAS             TX   75237‐3002
URBAN II, EDWARD L                    7900 ROBIN MDWS                                                                                  FREELAND           MI   48623‐8403
URBAN INDUSTRIES INC                  27416 ECORSE RD STE NO 5                                                                         ROMULUS            MI   48174
URBAN JAMES J (ESTATE OF) (470254)    WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                 NEW YORK           NY   10038
URBAN JULIUS JOSEPH (ESTATE OF)       COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                         HOUSTON            TX   77002‐1751
(502322)
URBAN KLUBA                           2311 ACID MINE RD                                                                                SULLIVAN           MO 63080‐4138
URBAN LEAGUE OF FLINT                 5005 CLOVERLAWN DRIVE                                                                            FLINT              MI 48504
URBAN LEAGUE OF GREATER KANSAS CITY   1710 PASEO BLVD                                                                                  KANSAS CITY        MO 64108‐1624

URBAN LEAGUE OF GREATER OKC           3900 N MARTIN LUTHER KING AVE                                                                    OKLAHOMA CITY      OK 73111‐5220
URBAN LEAGUE OF METRO SAINT LOUIS     3701 GRANDEL SQ                                                                                  SAINT LOUIS        MO 63108‐3627

URBAN LEAGUE OF PITTSBURGH            610 WOOD ST                      FL 1                                                            PITTSBURGH         PA 15222‐2510
URBAN MARSHALL B (346584)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510
                                                                       STREET, SUITE 600
URBAN PAHL                            924 WAYNE AVE                                                                                    DEFIANCE           OH 43512‐2829
URBAN PERFORMANCE AUTOMOTIVE          6320 DAVIES ROAD                                                           EDMONTON AB T6E 4H9
                                                                                                                 CANADA
URBAN RADEMACHER                      1308 BROOKSIDE DR                                                                                LANSING            MI   48917‐9282
URBAN SCIENCE APPLICATIONS INC        PO BOX 641257                                                                                    DETROIT            MI   48264‐0001
URBAN SCIENCE APPLICATIONS, INC.      ATTN: RICK JONES                 200 RENAISSANCE CTR FL 18                                       DETROIT            MI   48243‐1306
URBAN SCIENCE APPLICATIONS, INC.      200 RENAISSANCE CENTER           SUITE 1800                                                      DETROIT            MI   48243
URBAN SCIENCE/DET                     SUITE 1230                       200 RENAISSANCE CENTER                                          DETROIT            MI   48243
URBAN SR, TERRY L                     5900 COUNTY ROAD H                                                                               DELTA              OH   43515‐9215
URBAN ULSHAFER                        7307 E STATE ROAD 218                                                                            LA FONTAINE        IN   46940‐9041
URBAN WEBER                           PO BOX 322                                                                                       FOWLER             MI   48835‐0322
URBAN YOUTH RACING SCHOOL             907 N FRONT ST                                                                                   PHILADELPHIA       PA   19123‐1701
URBAN, ALAN J                         1408 BLAKE AVE                                                                                   S MILWAUKEE        WI   53172‐3524
URBAN, ALEXANDER J                    1022 GIDDINGS ST                                                                                 DANVILLE           IL   61832‐3417
URBAN, ANN                            2000 E MORGAN AVE                                                                                MILWAUKEE          WI   53207‐3665
URBAN, ANTOINETTE M                   16 BENSON DR                                                                                     ATTLEBORO          MA   02703‐1079
URBAN, BELA                           505 VILLAS DR                                                                                    VENICE             FL   34285‐3033
URBAN, BRADLEY A                      6484 INDIAN LAKE DR                                                                              GLADWIN            MI   48624‐9230
URBAN, BRIAN T                        1109 RAYMOND ST NW                                                                               WARREN             OH   44485‐2433
URBAN, CATHERINE                      1405 COUNTY ROAD 529                                                                             BURLESON           TX   76028‐1007
URBAN, CHARLES S                      301 N MAIN ST                    P.O. BOX 298                                                    BROOKLYN           IN   46111‐9702
URBAN, CHESTER J                      KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                    CLEVELAND          OH   44114
                                                                       BOND COURT BUILDING
URBAN, CHESTER W                      69 AUBURN RD                                                                                     MILLBURY           MA 01527‐1408
URBAN, CHRIS                          9310 KIMLAND CT                                                                                  REDFORD            MI 48239‐1870
URBAN, CHRIS                          11763 PINE MOUNTAIN DR                                                                           BRIGHTON           MI 48114‐9090
                         09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                             Part 37 of 40 Pg 787 of 901
Name                     Address1                         Address2                         Address3   Address4         City              State Zip
URBAN, CHRISTOPHER       20305 DANBURY LN                                                                              HARPER WOODS       MI 48225‐1156
URBAN, CONNIE T          2137 ALDEN LN                                                                                 ESPYVILLE          PA 16424‐2903
URBAN, DANIEL J          4083 S SPANIEL TRL                                                                            INVERNESS          FL 34450‐7528
URBAN, DANIEL M          19225 LAUREN WAY                                                                              STRONGSVILLE       OH 44149‐6065
URBAN, DENNIS A          2828 JEANNE DR                                                                                PARMA              OH 44134‐5221
URBAN, DENNIS B          2630 FLINT CREEK DR                                                                           CUMMING            GA 30041‐6330
URBAN, DONALD J          507 INGRAHAM ST                                                                               BAY CITY           MI 48708‐8375
URBAN, DORIS             KIMMEL & SILVERMAN PC            30 EAST BUTLER PIKE, SUITE 310                               AMBLER             PA 19002
URBAN, DOROTHY K         4908 MANSFIELD AVE                                                                            ROYAL OAK          MI 48073‐1368
URBAN, EDGAR A           APT 10                           2865 HOMESTEAD ROAD                                          SANTA CLARA        CA 95051‐5241
URBAN, EDWARD J          135 PERKINS LANDING RD                                                                        COLUMBIANA         AL 35051‐5011
URBAN, EDWARD J          8 TWAIN AVE                                                                                   OLD BRIDGE         NJ 08857‐2110
URBAN, ELDRED M          390 LAKE AVE                                                                                  BIG LAKE           MN 55309‐8710
URBAN, EUGENE R          818 MARSAC ST                                                                                 BAY CITY           MI 48708‐7860
URBAN, FRANCIS T         81 MILSOM AVE                                                                                 CHEEKTOWAGA        NY 14227‐1217
URBAN, GEORGE F          711 S FAIRVIEW AVE                                                                            PARK RIDGE          IL 60068‐4706
URBAN, GILBERT A         12460 OLD STATE LINE RD                                                                       SWANTON            OH 43558‐9449
URBAN, GORDON J          1227 RUBY AVE                                                                                 ROCHESTER HILLS    MI 48309‐4349
URBAN, GREGORY F         229 MAPLE BLVD                                                                                MONROE             MI 48162
URBAN, GREGORY F         1098 W LLOYD RD                                                                               DUNDEE             MI 48131‐9701
URBAN, GREGORY FRANCIS   1098 W LLOYD RD                                                                               DUNDEE             MI 48131‐9701
URBAN, GREGORY L         14158 HENDERSON RD                                                                            OTISVILLE          MI 48463‐9717
URBAN, HARRY R           8720 TAMARACK DR                                                                              BRIGHTON           MI 48116‐5119
URBAN, HELEN A           2627 CEDAR AVE                                                                                GENEVA              IL 60134‐3931
URBAN, JAMES E           210 TRENIER DR                                                                                HENDERSON          NV 89002‐9229
URBAN, JAMES E           40336 COLONY DR                                                                               STERLING HTS       MI 48313‐3804
URBAN, JAMES J           WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                              NEW YORK           NY 10038
URBAN, JEFFREY S         17848 HOLLOWRUN PL                                                                            STRONGSVILLE       OH 44136‐4243
URBAN, JESSIE M          2702 NOVAK STREET                                                                             MIDLAND            MI 48642‐4810
URBAN, JOSEPH A          44506 ASPEN RIDGE DR                                                                          NORTHVILLE         MI 48168‐4428
URBAN, JOSEPH J          1301 LISK DR                                                                                  BAY CITY           MI 48708‐8438
URBAN, JOSEPH T          9563 HARBOUR COVE CT                                                                          YPSILANTI          MI 48197‐7006
URBAN, JOSEPH THOMAS     9563 HARBOUR COVE CT                                                                          YPSILANTI          MI 48197‐7006
URBAN, JOSEPH W          38801 HASTINGS ST APT 114                                                                     FREMONT            CA 94536‐6149
URBAN, JULIETTE          250 PINEY RD                                                                                  MANISTEE           MI 49660
URBAN, JULIUS JOSEPH     COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                      HOUSTON            TX 77002‐1751
URBAN, KAROL R           20466 MAPLEWOOD ST                                                                            LIVONIA            MI 48152‐2049
URBAN, KENNETH J         4908 MANSFIELD AVE                                                                            ROYAL OAK          MI 48073‐1368
URBAN, KENNETH L         626 BARBARA ST                                                                                WESTLAND           MI 48185‐3201
URBAN, KEVIN B           1025 33RD ST                                                                                  BAY CITY           MI 48708‐8650
URBAN, KLAUS E           7933 BRICKER RD                                                                               GREENWOOD          MI 48006‐1604
URBAN, LAWRENCE J        163 DEVON WAY                                                                                 HENDERSON          NV 89074‐0108
URBAN, LEONARD           4647 W 150TH ST                                                                               CLEVELAND          OH 44135‐3461
URBAN, LINDA L           PO BOX 511                                                                                    PARKMAN            OH 44080‐0511
URBAN, LUCILLE E         3483 E OBRIEN RD                                                                              OAK CREEK          WI 53154‐6049
URBAN, LUCILLE E         3483 E. OBRIEN RD.                                                                            OAK CREEK          WI 53154‐6049
URBAN, MARLENE           198 TULSA AVE                                                                                 SPRING HILL        FL 34606‐6451
URBAN, MARSHALL B        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
URBAN, MARY E            4860 VALLEY VISTA CIR                                                                         TROY              MI 48098‐4118
URBAN, MARY JANE         1821 W YOUNGS DITCH RD                                                                        BAY CITY          MI 48708‐6967
URBAN, MICHAEL G         12096 POWDERHORN TRL                                                                          OTISVILLE         MI 48463‐9762
                         09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                              Part 37 of 40 Pg 788 of 901
Name                     Address1                          Address2            Address3         Address4         City                 State Zip
URBAN, MICHAEL GREGORY   12096 POWDERHORN TRL                                                                    OTISVILLE             MI 48463‐9762
URBAN, NEIL F            20561 BARLOW ST                                                                         DETROIT               MI 48205‐1038
URBAN, NORITA A          2600 HUNTER RD APT 1208                                                                 SAN MARCOS            TX 78666‐5188
URBAN, NORMA R           18 W SARAZEN DR                                                                         MIDDLETOWN            DE 19709‐9357
URBAN, PAMELA J          1098 W LLOYD RD                                                                         DUNDEE                MI 48131‐9701
URBAN, PATRICK D         3943 INLAND DR                                                                          BAY CITY              MI 48706‐2008
URBAN, PATRICK DENNIS    3943 INLAND DR                                                                          BAY CITY              MI 48706‐2008
URBAN, PETER P           8 FAIRVIEW AVENUE EXT                                                                   TERRYVILLE            CT 06786‐6334
URBAN, RICHARD A         6727 MANOR BEACH RD                                                                     NEW PORT RICHEY       FL 34652‐1516
URBAN, RICHARD L         7977 S SCEPTER DR                                                                       FRANKLIN              WI 53132
URBAN, RITA L            PO BOX 4                                                                                GLADWIN               MI 48624
URBAN, ROBERT            1302 LISK DR                                                                            BAY CITY              MI 48708‐8483
URBAN, ROBERT C          4060 NEW HIGHWAY 96 W                                                                   FRANKLIN              TN 37064‐4778
URBAN, ROBERT J          PO BOX 30272                                                                            LAUGHLIN              NV 89028‐0272
URBAN, ROBERT S.         235 FARMTREE DRIVE                                                                      FLINT                 MI 48506‐5315
URBAN, ROBERT T          30130 GLORIA ST                                                                         SAINT CLAIR SHORES    MI 48082‐1684
URBAN, ROBERT W          843 SIENNA WAY                                                                          SOLVANG               CA 93463‐9448
URBAN, ROBERTA L         5003 E SHORE DR                                                                         ALGER                 MI 48610‐9647
URBAN, SEAN M            112 MCKEESPORT RD                                                                       ELIZABETH             PA 15037‐1651
URBAN, SHARON A          8575 SPRINGWOOD WAY                                                                     WASHINGTON            MI 48094‐1531
URBAN, STATIA D          65 WILSON AVE                                                                           MERIDEN               CT 06450‐6915
URBAN, STEPHEN J         78 FAIRFAX RD                                                                           WORCESTER             MA 01610‐2051
URBAN, SUSAN C           8 FAIRVIEW AVE EXT                                                                      TERRYVILLE            CT 06786‐6334
URBAN, SUSAN C           8 FAIRVIEW AVENUE EXT                                                                   TERRYVILLE            CT 06786‐6334
URBAN, TERRY D           15247 E 191ST ST                                                                        NOBLESVILLE           IN 46060‐9532
URBAN, THEODORE G        1735 SAND DOLLAR WAY                                                                    VERO BEACH            FL 32963‐2724
URBAN, THOMAS A          31427 SARATOGA AVE                                                                      WARREN                MI 48093‐1660
URBAN, THOMAS B          1826 DELEVAN AVE                                                                        LANSING               MI 48910‐9023
URBAN, THOMAS BRADLEY    1826 DELEVAN AVE                                                                        LANSING               MI 48910‐9023
URBAN, THOMAS E          8575 SPRINGWOOD WAY                                                                     WASHINGTON            MI 48094‐1531
URBAN, THOMAS W          6456 WATERCREST WAY                                                                     INDIANAPOLIS          IN 46278‐1984
URBAN, WALTER A          14533 WATERSIDE DRIVE                                                                   CHARLOTTE             NC 28278‐7354
URBAN, WILLIAM H         4512 SPRING HOLLOW CT                                                                   MARIETTA              GA 30062‐6347
URBAN, WILLIAM M         12335 W BEND DR APT 100                                                                 SAINT LOUIS           MO 63128‐2161
URBANA UNIVERSITY        579 COLLEGE WAY                                                                         URBANA                OH 43078‐2091
URBANAS, CARL J          7112 BOTHWELL PL                                                                        HUBER HEIGHTS         OH 45424‐3138
URBANAS, CAROLE A        772 BROWNING AVENUE                                                                     ENGLEWOOD             OH 45322‐2033
URBANAS, CLIFFORD A      313 BALTIMORE ST                                                                        DAYTON                OH 45404‐1905
URBANAS, CLIFFORD R      1947 FORESTDALE AVE                                                                     BEAVERCREEK           OH 45432‐5432
URBANAS, CLIFFORD R      3213 SHETLAND RD                                                                        BEAVERCREEK           OH 45434‐6037
URBANAVAGE, RICHARD C    213 BLUE HEN RD                                                                         NEW CASTLE            DE 19720‐2709
URBANAWIZ, CAROL A       8370 SHIELDS DR APT 102                                                                 SAGINAW               MI 48609‐8508
URBANAWIZ, JAMES A       20 HUNDLEY DR                                                                           DAVENPORT             FL 33837‐2700
URBANAWIZ, LARRY L       1412 LYON ST                                                                            SAGINAW               MI 48602‐2435
URBANCE, RANDALL J       5708 YORKTOWN ROAD                                                                      PLAINFIELD            IN 46168‐7423
URBANCIC, FRANK C        8856 ELLINGTON DR                                                                       INDIANAPOLIS          IN 46234‐2221
URBANCIC, LOUIS H        1827 HUNTERS TRL                                                                        BROWNSBURG            IN 46112‐8481
URBANCZYK, DONALD P      6263 HOUGH RD                                                                           ALMONT                MI 48003‐9758
URBAND LAND DEVMNT       2 N SAGINAW ST                                                                          PONTIAC               MI 48342‐2110
URBANE, MERRILL S        271 AMBLESIDE RD                                                                        DES PLAINES            IL 60016‐2654
URBANEK JON              225 TWINING TRCE                                                                        FRUIT COVE            FL 32259‐5457
URBANEK, ANGELA L        17092 BONNIE TRL W                                                                      OAK FOREST             IL 60452‐4905
                              09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
                                                                  Part 37 of 40 Pg 789 of 901
Name                          Address1                         Address2            Address3         Address4            City              State Zip
URBANEK, ANNA M               174 WYCHWOOD LN                                                                           YOUNGSTOWN         OH 44512‐1271
URBANEK, ANNA M               174 WYCHWOOD LANE                                                                         YOUNGSTOWN         OH 44512‐1271
URBANEK, BECKEY J             4390 FIELDSTONE COURT                                                                     BRUNSWICK          OH 44212‐2092
URBANEK, CHARLES M            315 MCKINLEY ST                                                                           MORRIS              IL 60450
URBANEK, DANIEL               32 SCOTT DR                                                                               WILLIAMSVILLE      NY 14221‐6830
URBANEK, EDWARD J             4390 FIELDSTONE CT                                                                        BRUNSWICK          OH 44212‐2092
URBANEK, FRANCES J            1939 FAR NIENTE                                                                           SAN ANTONIO        TX 78258‐4517
URBANEK, JERRY                18303 WHITMORE DR                                                                         CLINTON TWP        MI 48035‐5029
URBANEK, KENNETH T            1827 YOSEMITE DR                                                                          OKEMOS             MI 48864‐3852
URBANEK, MARLENE A            5597 EAGLE CREEK RD. N.W.                                                                 LEAVITTSBURG       OH 44430‐9416
URBANEK, MATTHEW T            5822 CHERRYWOOD DR                                                                        LORAIN             OH 44053‐3710
URBANEK, RAYMOND F            422 BAKER AVE                                                                             CLAIRTON           PA 15025‐1304
URBANEK, ROBERT
URBANI, JOHN                  2435 LITTLETELL AVE                                                                       WEST BLOOMFIELD   MI   48324‐1747
URBANIA, DENNIS M             30899 ROOSEVELT RD                                                                        WICKLIFFE         OH   44092‐1028
URBANIA, JOSEPH P             2183 CANTON RD                                                                            AKRON             OH   44312‐4671
URBANIA‐DAVIS, HELEN S        9202 OLIVIA LN                                                                            CHARLOTTE         NC   28277‐4681
URBANIAK CHRISTOPHER          17320 WILTSHIRE BLVD                                                                      SOUTHFIELD        MI   48076‐2833
URBANIAK II, CHRISTOPHER D    17320 WILTSHIRE BLVD                                                                      SOUTHFIELD        MI   48076‐2833
URBANIAK JR, JOSEPH A         60 WAYNE AVE                                                                              AMHERST           NY   14228‐2214
URBANIAK JR, JOSEPH ANDREW    60 WAYNE AVE                                                                              AMHERST           NY   14228‐2214
URBANIAK, ALLAN M             3307 CATALINA DR                                                                          BAY CITY          MI   48706‐2519
URBANIAK, BARBARA             35109 DEARING DR                                                                          STERLING HTS      MI   48312‐3820
URBANIAK, CHRISTOPHER D       17320 WILTSHIRE BLVD                                                                      SOUTHFIELD        MI   48076‐2833
URBANIAK, CHRISTOPHER DAVID   17320 WILTSHIRE BLVD                                                                      SOUTHFIELD        MI   48076‐2833
URBANIAK, CLAIR J             1647 PRUESS RD                                                                            HEMLOCK           MI   48626‐9432
URBANIAK, CLAIR JAMES         1647 PRUESS RD                                                                            HEMLOCK           MI   48626‐9432
URBANIAK, DENNIS              8603 COLUMBIA ST                                                                          DEARBORN HTS      MI   48127‐1007
URBANIAK, DENNIS J            13676 ROCK PT # 102                                                                       BROOMFIELD        CO   80023‐4257
URBANIAK, DOROTHY J           1400 N JONES RD                                                                           ESSEXVILLE        MI   48732‐1553
URBANIAK, FRANK J             4948 HOUGHTON DRIVE                                                                       PINCKNEY          MI   48169‐9399
URBANIAK, FRANK J             5325 NAVAJO TRAIL                                                                         PINCKNEY          MI   48169‐9397
URBANIAK, HENRYKE             8634 ALLEN RD.                                                                            ALLEN PARK        MI   48101‐1432
URBANIAK, HENRYKE             8634 ALLEN RD                                                                             ALLEN PARK        MI   48101‐1432
URBANIAK, JAN                 14423 EDSHIRE DR                                                                          STERLING HTS      MI   48312‐4349
URBANIAK, JOSHUA S            4948 HOUGHTON DRIVE                                                                       PINCKNEY          MI   48169‐9399
URBANIAK, LAWRENCE            6455 GILMORE ST                                                                           BELLEVILLE        MI   48111‐1022
URBANIAK, RITA D              333 E BOUNDARY APT 112                                                                    PERRYSBURG        OH   43551
URBANIAK, RONALD MITCHELL     45932 BARTLETT DR                                                                         CANTON            MI   48187‐1512
URBANIAK, STEPHEN J           116 DELTON ST                                                                             TONAWANDA         NY   14150‐5364
URBANIAK, THOMAS J            142 DANESMOOR RD                                                                          HOLLAND           OH   43528‐8470
URBANIAK, THOMAS JOHN         142 DANESMOOR RD                                                                          HOLLAND           OH   43528‐8470
URBANIC, JOHN D               2023 E HIGHGATE CT                                                                        HUDSON            OH   44236‐2276
URBANIC, JOHN E               3791 HUNTINGTON AVE                                                   WINDSOR ON CANADA
                                                                                                    N9E3N4
URBANIC, ROSE                 16158 FULLINGTON RD                                                                       BROOKSVILLE       FL   34601‐8946
URBANICK, ZORA                21310 MILLER AVE                                                                          EUCLID            OH   44119‐2328
URBANIK JR, LOUIS P           1443 LASALLE AVE                                                                          BURTON            MI   48509‐2407
URBANIK JR, LOUIS PAUL        1443 LASALLE AVE                                                                          BURTON            MI   48509‐2407
URBANIK, DANIEL C             951 GABBY AVE                                                                             WASHINGTON        PA   15301‐5911
URBANIK, MICHAEL J            4128 BILGLADE RD                                                                          FORT WORTH        TX   76109‐5435
URBANIK, MICHAEL R            3142 RIPPLE WAY                                                                           WHITE LAKE        MI   48383‐3273
                              09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                Part 37 of 40 Pg 790 of 901
Name                          Address1                             Address2                    Address3        Address4         City             State Zip
URBANIK, MICHAEL RAY          3142 RIPPLE WAY                                                                                   WHITE LAKE        MI 48383‐3273
URBANO PRENCIPE               VIA PASQUALICCHIO 41/A                                                                            TROIA (FG)             71029
URBANO VALDEON                8101 SW 73RD AVE APT 32                                                                           MIAMI             FL 33143‐7550
URBANO VAZQUEZ                13831 MERCER ST                                                                                   PACOIMA           CA 91331‐3648
URBANO, JEANETTE              618 DRIFTWOOD CT                                                                                  ALLEN             TX 75013‐8529
URBANO, JEANNETTE             C/O BRAMNICK, RODRIQUEZ, MITTERHOFF, ATTN: STEPHANIE MITTEROFF   1827 E 2ND ST                    SCOTCH PLAINS     NJ 07076
                              GRABAS & WOODRUFF
URBANO, SALVATORE             BRAMNICK RODRIGUEZ MITTERHOFF        1827 E 2ND ST                                                SCOTCH PLAINS     NJ   07076‐1735
                              GRABAS & WOODRUFF
URBANO, THERESA A             409 NORTHCREST RD                                                                                 ANGOLA           IN    46703‐9333
URBANOVICH, ANTHONY B         16545 EDGEWOOD ROAD                                                                               PLAINFIELD       IL    60586‐9620
URBANOVITCH, BERNARD          20 D ST                                                                                           NIAGARA FALLS    NY    14303‐2015
URBANOWICZ, KEITH A           27332 POLK AVE                                                                                    BROWNSTOWN TWP   MI    48183‐5905
URBANOWICZ, KEITH ALLEN       27332 POLK AVE                                                                                    BROWNSTOWN TWP   MI    48183‐5905
URBANOWICZ, ROBERT            40706 AUBURNDALE DR                                                                               STERLING HTS     MI    48313‐4102
URBANOWSKI, JOHN J            5347 BUSCH RD                                                                                     BIRCH RUN        MI    48415‐9009
URBANS PARTITIONS & REMODEL   19430 GERALD ST                                                                                   NORTHVILLE       MI    48167‐2517
URBANSKI DAVID                URBANSKI, DEBORAH                    1626 WOODCREST DRIVE                                         HOUSTON          TX    77018
URBANSKI ED                   2086 SEDGEWICKE CT                                                                                ROMEOVILLE       IL    60446‐3720
URBANSKI, DEBORAH             1626 WOODCREST DR                                                                                 HOUSTON          TX    77018‐5807
URBANSKI, DEBORAH             1304 LAMONTE LANE                                                                                 HOUSTON          TX    77018‐4218
URBANSKI, EDWARD L            7128 PLEASANTDALE DR                                                                              COUNTRYSIDE      IL    60525‐5071
URBANSKI, FRANCIS A           92 STEINER AVE                                                                                    WEST SENECA      NY    14224‐1229
URBANSKI, GERALD E            17700 TISDEL AVE                                                                                  SAND LAKE        MI    49343‐9559
URBANSKI, JANE J              30 MADALINE LN                                                                                    DEPEW            NY    14043‐1914
URBANSKI, JOSEPH P            95 BRIDLEPATH DR                                                                                  SOUTHINGTON      CT    06489‐4043
URBANSKI, PHILLIP             1925 VEGAS VALLEY DR                                                                              LAS VEGAS        NV    89169‐1792
URBANSKI, RITA                52 COUNTRY LN                                                                                     BUFFALO          NY    14224‐1509
URBANSKI, RITA                52 COUNTRY LANE                                                                                   BUFFALO          NY    14224
URBANSKI, ROBB R              233 W ROSA DR                                                                                     GREEN VALLEY     AZ    85614‐4341
URBANSKI, ROBERT J            5809 LONGVIEW ST                                                                                  PAPILLION        NE    68133‐2438
URBANSKI, ROMAN W             4502 SLOAT RD                                                                                     FREMONT          CA    94538‐1109
URBANSKI, STEFAN A            32 WHEELER VILLAGE                   APT 32                                                       SOUTHINGTON      CT    06489
URBANSKI, SUE S               4933 WORTH ST                                                                                     MILLINGTON       MI    48746‐8723
URBANSKY, EVA S               1 ERIE AVE                                                                                        GLASSPORT        PA    15045‐1308
URBANSKY, GEORGE S            2375 COLUMBIA RD. RT.1                                                                            VALLEY CITY      OH    44280
URBANSOK, IRENE G             13542 HOLLO OVAL                                                                                  STRONGSVILLE     OH    44149‐4015
URBANYI, RONALD W             22302 HOLLYHOCK LN                                                                                CURTICE          OH    43412‐9332
URBAS ED                      303 SADDLE RIDGE RD                                                                               PORT MATILDA     PA    16870‐8759
URBAS, JOHN J                 1650 DOVER CENTER RD                                                                              WESTLAKE         OH    44145‐2236
URBAUER, RICHARD J            22178 JEFFERSON BEACH RD NE                                                                       KINGSTON         WA    98346‐9123
URBECK, AMELIA C              3150 W MOTT AVE                                                                                   FLINT            MI    48504‐6841
URBEN JR, PAUL F              22479 DOWSETT TRL                                                                                 ATLANTA          MI    49709‐9600
URBEN, RONALD M               49838 SHENANDOAH DR                                                                               MACOMB           MI    48044‐1828
URBEN, SCOTT                  2668 CEDARGLEN DR                                                                                 DUNEDIN          FL    34698
URBEN, STEVEN E               8075 BUSCH                                                                                        CENTER LINE      MI    48015‐1523
URBIN, DENISE F               17469 YORKTOWN LN                                                                                 MACOMB           MI    48044‐4885
URBIN, JOEL J                 17469 YORKTOWN LN                                                                                 MACOMB           MI    48044‐4885
URBIN, PATRICK G              10445 HARTLAND RD                                                                                 FENTON           MI    48430‐8771
URBIN, PATRICK GEORGE         10445 HARTLAND RD                                                                                 FENTON           MI    48430‐8771
URBIN, RORY J                 21504 JOHN DR                                                                                     MACOMB           MI    48044‐6405
URBINA JR, FRANCISCO          11065 COLUMBIA HWY                                                                                EATON RAPIDS     MI    48827
                              09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                Part 37 of 40 Pg 791 of 901
Name                          Address1                          Address2                  Address3     Address4         City               State Zip
URBINA, CINDY M               1024 CHARLES ST                                                                           DEFIANCE            OH 43512‐1833
URBINA, GUADELUPE             13536 FULLMER RD LOT 3                                                                    DEFIANCE            OH 43512‐8860
URBINA, GUADELUPE R           1024 CHARLES ST                                                                           DEFIANCE            OH 43512‐1833
URBINA, GUADELUPE RENDON      1024 CHARLES ST                                                                           DEFIANCE            OH 43512‐1833
URBINA, JOSE G                207 EAST ST                                                                               DEFIANCE            OH 43512‐2208
URBINA, JUAN G                748 HARRISON AVE                                                                          DEFIANCE            OH 43512
URBINA, MOISES S              40714 174TH ST E                                                                          LANCASTER           CA 93535‐7421
URBINA, RICARDO               7200 W HIDDEN LK                                                                          PERRY               MI 48872‐8167
URBINA, SANTOS V              816 NORTH BLVD                                                                            DONNA               TX 78537‐5434
URBINA, VICTOR                708 NEW YORK AVE                                                                          EL PASO             TX 79902
URBINO JR, ALEXANDER E        151 WARDMAN RD                                                                            KENMORE             NY 14217‐2836
URBINO JR, ALEXANDER EUGENE   151 WARDMAN RD                                                                            KENMORE             NY 14217‐2836
URBISCI, ANALDINO             7775 MONTICELLO DR                                                                        WEST CHESTER        OH 45069‐3316
URBISH, FREDERICK             1 HUNTERS GLENN DR                                                                        COLUMBUS            NJ 08022‐1806
URBONAS MARK A                8536 APPLE BLOSSOM LN                                                                     FLUSHING            MI 48433‐2904
URBONAS, ANNA M               3850 IRIS DR                                                                              WATERFORD           MI 48329‐1170
URBONAS, JOHN                 6612 LEUPOLD LN 188                                                                       PLAINFIELD           IL 60586
URBONAS, MARK A               8536 APPLE BLOSSOM LN                                                                     FLUSHING            MI 48433‐2904
URBONOVIC I I, VICTOR J       2474 PERO LAKE RD                                                                         LAPEER              MI 48446‐9076
URBONOVIC II, VICTOR J        2474 PERO LAKE RD                                                                         LAPEER              MI 48446‐9076
URBONOVIC, CHAD J             2474 PERO LAKE RD                                                                         LAPEER              MI 48446‐9076
URBONOVIC, CHAD JOSEPH        2474 PERO LAKE RD                                                                         LAPEER              MI 48446‐9076
URBONOVIC, EDWARD A           453 S BALDWIN RD                                                                          OXFORD              MI 48371‐4109
URBOWICZ, THADDEUS S          2218 WESTBURY RD                                                                          LANSING             MI 48906‐3844
URBYTES, DONNA                7849 N COLTRANE LN                                                                        TUCSON              AZ 85743‐7331
URBYTES, MITCHELL G           1378 SPINNAKER CT                                                                         HOLLAND             MI 49424‐6172
URBYTES, VINCENT A            618 MAPLE CREST DR                                                                        FRANKENMUTH         MI 48734‐9329
URC PHILIPPINES LIMITED       43RD FLOOR, ROBINSONS EQUITABLE   ADB AVE, ORTIGAS CENTER   PASIG CITY
                              TOWER
URCH, DAVID N                 10375 KITCHEN RD                                                                          DAVISON            MI   48423‐9110
URCH, DAVID NEWTON            10375 KITCHEN RD                                                                          DAVISON            MI   48423‐9110
URCH, ROLAND W                5834 NORTH AYLESBURY DRIVE                                                                WATERFORD          MI   48327‐2601
URCHECK, DALE S               26816 FORD RD                                                                             DEARBORN HTS       MI   48127‐2855
URCHECK, DALE STANFORD        26816 FORD RD                                                                             DEARBORN HTS       MI   48127‐2855
URCHEK, JOHN L                100 LECKRONE WAY                                                                          CORTLAND           OH   44410‐1371
URCHICK, NICHOLAS J           210 W GLASS RD                                                                            ORTONVILLE         MI   48462
URCHICK, NICHOLAS J           2740 BARNES ROAD                                                                          NORTH BRANCH       MI   48461‐8743
URCHICK, PAUL                 2740 BARNES RD                                                                            NORTH BRANCH       MI   48461‐8743
URCHICK, PAUL F               25869 WILD FLOWER LN                                                                      BROWNSTOWN         MI   48134‐9075
URCHIKE, AUDREY               701 S DOBSON RD APT 374                                                                   MESA               AZ   85202
URCHIKE, WILLIAM L            7373 DURAND RD                                                                            NEW LOTHROP        MI   48460‐9719
URCHYK, ELIZABETH J           482 CLUNNY DR                                                                             MOUNT MORRIS       MI   48458‐8995
URCHYK, ELIZABETH J           482 CLUNNY                                                                                MT. MORRIS         MI   48458‐8995
URCIUOLI JOSEPH               URCIUOLI, JOSEPH                  14 LYON PL                                              STATEN ISLAND      NY   10314
URCIUOLI JR, JOSEPH           4 STACY LN                                                                                BASKING RIDGE      NJ   07920‐2025
URCIUOLI, JOSEPH              GORBERG GORBERG & ZUBER           8001 LINCOLN DRIVE WEST                                 MARITON            NJ   08053
URDA III, JOSEPH M            15768 AMORE ST                                                                            CLINTON TOWNSHIP   MI   48038‐2506
URDA, ANNA MARIE G            408 CEDAR DR                                                                              CORTLAND           OH   44410‐1322
URDA, MICHAEL A               12666 GRAYFIELD ST                                                                        DETROIT            MI   48223‐3070
URDANETA LAFEE, RAFAEL        524 E 72ND ST APT 22B                                                                     NEW YORK           NY   10021‐9802
URDANETA, RAFAEL              524 E 72ND ST APT 22B                                                                     NEW YORK           NY   10021‐9802
URDIALES JR, LOUIS C          PO BOX 426                                                                                HOLGATE            OH   43527‐0426
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                     Part 37 of 40 Pg 792 of 901
Name                              Address1                             Address2                         Address3          Address4                  City              State Zip
URDIALES, GEORGE                  118 ELMSHAVEN DR                                                                                                  LANSING            MI 48917‐3509
URDIALES, GUADALUPE               803 E 6TH ST                                                                                                      DEL RIO            TX 78840‐4007
URDIALES, JOE M                   209 MICHIGAN DR                                                                                                   BRYAN              OH 43506‐8948
URDIALES, LILY G                  315 RANDOLPH ST                                                                                                   HOLGATE            OH 43527‐9722
URDIALES, LILY G                  315 RANDOLPH                                                                                                      HOLGATE            OH 43527‐9722
URDIALES, MARGARET H              2169 HAWTHORNE/LAKE CHRISTY                                                                                       DEFIANCE           OH 43512
URDIALES, MIGUEL                  2169 HAWTHORNE/LAKE CHRISTY                                                                                       DEFIANCE           OH 43512
URDIE ROHL                        326 NAST CHAPEL RD                                                                                                MARTINSVILLE       IN 46151‐7016
URDOCH ESTATE OF ROBERT T M       5049 PARKMAN RD NW                                                                                                WARREN             OH 44481‐9140
URE CORPORATION SUITE 201         VILLAS DE SAN FRANCISCO PLAZA        89 DE DIEGO AVE SUITE 201                                                    RIO PIEDRAS        PR 00927
URE TIMOTHY D (448377)            KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                                CLEVELAND          OH 44114
                                                                       BOND COURT BUILDING
URE, FRED W                       4369 CAMILLE ST                                                                                                   SALT LAKE CITY    UT 84124‐3625
URE, TIMOTHY D                    KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                                 CLEVELAND         OH 44114
                                                                       BOND COURT BUILDING
URE, WAYNE A                      1581 CRIMSON DR                                                                                                   TROY              MI   48083‐5506
URECHE, ARTHUR E                  7350 CROSS CREEK DR                                                                                               SWARTZ CREEK      MI   48473‐1711
URECHE, DANIEL J                  18550 45TH AVE                                                                                                    BARRYTON          MI   49305‐9732
URECHE, GARY R                    4461 CHERRYTREE LN                                                                                                FLINT             MI   48507‐3752
URECHE, JUDITH K                  4461 CHERRYTREE LN                                                                                                FLINT             MI   48507‐3752
URECHE, MARGARET M                94 RENFREW AVE                                                                                                    MOUNT MORRIS      MI   48458‐8856
URECHE, MARTY S                   54168 S GENTZLER DR                                                                                               THREE RIVERS      MI   49093‐9602
URECHE, MARTY SCOTT               54168 SOUTH GENTZLER DRIVE                                                                                        THREE RIVERS      MI   49093‐9602
URECHE, RHONDA M                  279 WILLOW LN                                                                                                     LINDEN            MI   48451‐9004
URECHE, SHIELA K                  4210 W MAPLE AVE                                                                                                  FLINT             MI   48507‐3124
URECHE, THOMAS C                  9296 ELAINE DR                                                                                                    SWARTZ CREEK      MI   48473‐8529
URECHE, THOMAS CRAIG              9296 ELAINE DR                                                                                                    SWARTZ CREEK      MI   48473‐8529
UREDDI MULLANGI                   12229 WOODLINE DR                                                                                                 FENTON            MI   48430
UREEL, CRAIG M                    2151 OAK HILL DR                                                                                                  LISLE             IL   60532‐2053
UREEL, KENNETH E                  3772 WOODLAND DR                                                                                                  METAMORA          MI   48455‐9627
UREN JONATHAN EDWARD              2679 PARKLAWN DR                                                                                                  BRIGHTON          MI   48114‐8639
UREN JR, NICHOLAS A               1429 OGDEN DR                                                                                                     TROY              MI   48083‐5392
UREN, BETTY R                     33836 LYNDON ST                                                                                                   LIVONIA           MI   48154‐5444
UREN, BRUCE A                     1407 HALL ST                                                                                                      EATON RAPIDS      MI   48827‐1908
UREN, DENNIS M                    2890 WEAVERTON                                                                                                    ROCHESTER HILLS   MI   48307‐4661
UREN, ERNA F                      19524 WOODMONT ST                                                                                                 HARPER WOODS      MI   48225‐1328
UREN, EVA M                       4318 BENDER CT                                                                                                    TROY              MI   48098‐4427
UREN, JOHNNIE W                   204 THAD LN                                                                                                       SODDY DAISY       TN   37379‐4431
UREN, JONATHAN E                  2679 PARKLAWN DR                                                                                                  BRIGHTON          MI   48114‐8639
UREN, JONATHAN E.                 2679 PARKLAWN DR                                                                                                  BRIGHTON          MI   48114‐8639
UREN, LOUIS J                     300 PROMENADE BLVD                   BUILDING 1 APT 2097                                                          LAS VEGAS         NV   89107
URENA FRESA                       15488 SW WARFIELD BLVD                                                                                            INDIANTOWN        FL   34956‐3507
URENDA RENCORET ORREGO Y DORR     AV ANDRES BELLO 2711 16TH FLR        LAS CONDES CP 7550611                              SANTIAGO CHILE CHILE
ABOGADOS
URENDA RENCORET ORREGO Y DRR      AVENIDA ANDRES BELLO 2711            16TH FLR LAS CONDES CP 7550611                     SANTIAGO DE CHILE CHILE
LIMITADA
URENDA, RENCORET, ORREGO & DORR   AVENIDA ANDRES BELLO 2711, PISO 16   LAS CONDES‐ CODIGO POSTAL        SANTIAGO, CHILE
                                                                       7550611
URENIA, PAUL                      16335 E BALLENTINE PL                                                                                             COVINA            CA   91722‐3301
URES B COPENHAVER                 603 KINGLET                                                                                                       ROCHESTER HILLS   MI   48309‐3551
URES COPENHAVER                   603 KINGLET ST                                                                                                    ROCHESTER HILLS   MI   48309‐3551
URESTI, LOUIS                     2340 TREADWELL STREET                                                                                             WESTLAND          MI   48186‐3929
                              09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
                                                                  Part 37 of 40 Pg 793 of 901
Name                          Address1                            Address2                         Address3                     Address4             City              State Zip
URESTI, NICOLETTE M           1810 WINGER DR                                                                                                         PLAINFIELD          IL 60586‐5281
URESTI,NICOLETTE M            1810 WINGER DR                                                                                                         PLAINFIELD          IL 60586‐5281
URETHANE ASSOC/FARVW          7616 DRAG STRIP RD                                                                                                     FAIRVIEW           TN 37062‐8227
URETHANE INNOVATORS INC
URETHANE INNOVATORS INC       403 INDUSTRIAL DR                                                                                                      NEW BERN          NC   28562‐5437
URETHANE INNOVATORS,          403 INDUSTRIAL DR                                                                                                      NEW BERN          NC   28562‐5437
URETTA GRIER                  305 E 153RD ST APT 14H                                                                                                 BRONX             NY   10451‐4927
UREX EXPRESS                  226 CIRCLE FREEWAY DR                                                                                                  CINCINNATI        OH   45246‐1206
UREY, WILHELMINA G            958 CENTER RD.                                                                                                         EASTLAKE          OH   44095
UREY, WILHELMINA G            958 CENTER RD                                                                                                          EASTLAKE          OH   44095‐2332
URGENT CARE & MEDICA          568 E STATE ST                      MEDICAL WALK‐IN & FORME REHABI                                                     SALEM             OH   44460‐2933

URGENT MEDICAL CENTE          11808 NE FOURTH PLAIN RD STE A                                                                                         VANCOUVER         WA   98682‐5637
URGENT PLAS/ROCHESTR          2547 PRODUCT DR                                                                                                        ROCHESTER HILLS   MI   48309‐3806
URGENT PLASTIC SERVICES INC   2777 PRODUCT DR                                                                                                        ROCHESTER HILLS   MI   48309‐3810
URGENT PLASTIC SEVICES        2547 PRODUCT DR                                                                                                        ROCHESTER HILLS   MI   48309‐3806
URGILES, LUIS O               PO BOX 8446                                                                                                            SLEEPY HOLLOW     NY   10591‐8446
URGNANI STEFANO MASSIMO       LA SCALA                            STUDIO LEGALE E TRIBUTARIO       CORSO MAGENTA N 42           20123 MILANO ITALY
URI MILLER                    4807 CHRISTIANSEN RD                                                                                                   LANSING           MI 48910‐5122
URIA HUFFMAN                  2300 SHANNON RD                                                                                                        EDGEWOOD          MD 21040‐1022
URIA MENENDEZ                 PRINCIPE CC VERGARA 187                                                                           MADRID 28007 SPAIN
URIAH HOLLAND I I I           221 HANOVER AVENUE                                                                                                     DAYTON            OH   45427‐2633
URIAH PAYNE                   1009 FITZROY CIR                                                                                                       SPRING HILL       TN   37174‐8531
URIAH RATLIFF                 807 W WILLARD ST                                                                                                       MUNCIE            IN   47302‐2231
URIAH TAYLOR                  15798 MENDOTA ST                                                                                                       DETROIT           MI   48238‐1039
URIAN BARRY (517441)          JACOBS & CRUMPLAR P.A.              PO BOX 1271                      2 EAST 7TH ST                                     WILMINGTON        DE   19899‐1271
URIAN, BARRY                  JACOBS & CRUMPLAR P.A.              PO BOX 1271                      2 EAST 7TH ST,                                    WILMINGTON        DE   19801‐3707
URIAN, JEFFREY H              6730 FULTON CT                                                                                                         TROY              MI   48098
URIANI, MARY                  4109 GOLF VIEW DR                                                                                                      NEWARK            DE   19702‐1757
URIANI, MARY                  1805 N MARKET STREET                APT #304                                                                           WILMINGTON        DE   19802
URIARTE FRED (355278)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA   23510
                                                                  STREET, SUITE 600
URIARTE, FRED                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                        NORFOLK           VA 23510‐2212
                                                                  STREET, SUITE 600
URIARTE, IDA                  300 WASHINGTON AVE APT 3                                                                                               INVERNESS         FL   34450‐4959
URIARTE, IDA                  300 WASHINGTON AVE                  APT 3                                                                              INVERNESS         FL   34450‐4959
URIARTE, JULIAN               2915 W 13TH MILE RD                 APT 103                                                                            ROYAL OAK         MI   48073
URIARTE, JULIAN               100 LINCOLN RD APT 625                                                                                                 MIAMI BEACH       FL   33139
URIAS, GRACIE                 4305 W APPLE ST                                                                                                        ODESSA            TX   79766‐1415
URIAS, PEDRO E                2657 TREMAINSVILLE RD APT 102                                                                                          TOLEDO            OH   43613‐2588
URIBE GENARO                  URIBE, GENARO                       640 S SAN VICENTE BLVD STE 230                                                     LOS ANGELES       CA   90048‐4654
URIBE GENARO                  URIBE, GENARO                       MIKHOV LAW OFFICES OF STEVE      640 S SAN VICENTE BLVD STE                        LOS ANGELES       CA   90048‐4654
                                                                                                   230
URIBE REBECCA                 2275 WIXOM TRL                                                                                                         MILFORD           MI   48381‐2583
URIBE, BILL L                 138 MCMILLAN STREET                                                                                                    GRAND LEDGE       MI   48837‐1122
URIBE, BILL LEONARD           138 MCMILLAN STREET                                                                                                    GRAND LEDGE       MI   48837‐1122
URIBE, CHRISTY L              7182 EDERER RD                                                                                                         SAGINAW           MI   48609‐5367
URIBE, GALO M                 6 EMERSON PLACE #2                                                                                                     MONTROSE          NY   10548
URIBE, GENARO                 MIKHOV LAW OFFICES OF STEVE         425 S FAIRFAX AVE STE 308                                                          LOS ANGELES       CA   90036‐3148
URIBE, JOSE R                 15462 RANCHO FONTANA VILLAGE PKWY                                                                                      FONTANA           CA   92336‐3114
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                       Part 37 of 40 Pg 794 of 901
Name                                Address1                            Address2                        Address3   Address4           City               State Zip
URIBE, JOSE REYES                   15462 RANCHO FONTANA VILLAGE PKWY                                                                 FONTANA             CA 92336‐3114

URIBE, JUAN A                       64B 71D25 INTERIOR 2                APT # 401                                  BOGOTA COLOMBIA
URIBE, LEYLA                        P.O. BOX 575                                                                                      BAY CITY           MI   48707‐0575
URIBE, LEYLA                        PO BOX 575                                                                                        BAY CITY           MI   48707‐0575
URIBE, LISA C                       2857 W CANYON AVE                                                                                 SAN DIEGO          CA   92123‐4689
URIBE, LORENZO G                    10005 WILEY BURKE AVE                                                                             DOWNEY             CA   90240‐3750
URIBE, MARIA D                      PO BOX 884                                                                                        SAN FERNANDO       CA   91341‐0884
URIBE, MICHAEL N                    2275 WIXOM TRL                                                                                    MILFORD            MI   48381‐2583
URIBE, PATRICIA A                   116 POST ST                                                                                       SAGINAW            MI   48602‐2638
URIBE, ROBERT C                     12401 NW TUCSON AVE                                                                               PARKVILLE          MO   64152‐1345
URIBE, SALVADOR
URIBE, TRINIDAD R                   4070 S WASHINGTON RD                                                                              SAGINAW            MI   48601‐6519
URIBE, TRINIDAD R                   7010 QUAIL WILDE                                                                                  SANANTONIO         TX   78250
URIBE‐LOPEZ, CECILIA                12202 AVERHOFF                                                                                    SAN ANTONIO        TX   78253‐5669
URIBES, DANNY L                     74 GEBHART AVE                                                                                    SAN JOSE           CA   95116‐1818
URICEK, CLARENCE                    9751 S MICHELLE DR                                                                                DURAND             MI   48429‐9486
URICEK, DAWN M                      7072 DONELSON TRL                                                                                 DAVISON            MI   48423‐2320
URICEK, GERALD S                    7072 DONELSON TRL                                                                                 DAVISON            MI   48423‐2320
URICEK, LEONARD S                   4496 NEWBURG RD                                                                                   BANCROFT           MI   48414‐9798
URICEK, MICHAEL J                   2103 COVERT RD                                                                                    BURTON             MI   48509‐1010
URICEK, MICHAEL JOSEPH              2103 COVERT RD                                                                                    BURTON             MI   48509‐1010
URICH JOHN M (ESTATE OF) (654428)   ANGELOS PETER G LAW OFFICES         60 WEST BROAD ST                                              BETHLEHEM          PA   18018
URICH, JOHN M                       ANGELOS PETER G LAW OFFICES         60 WEST BROAD ST                                              BETHLEHEM          PA   18018‐5737
URICH, RAYMOND J                    303 LOWRIE BLVD                                                                                   NORTHFIELD         OH   44067‐1212
URICH, RICHARD J                    10141 MOORE DRIVE                                                                                 CLEVELAND          OH   44130‐6038
URICH, RICHARD J                    10141 MOORE DR                                                                                    PARMA              OH   44130‐6038
URICH, ROBERT E                     1429 KINGS POINTE ROAD                                                                            GRAND BLANC        MI   48439‐8614
URICH, ROGER R                      1030 SHAWNEE ST APT 213                                                                           SAVANNAH           GA   31419‐3511
URICK CARL WINSTON (401193)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                                        STREET, SUITE 600
URICK, CARL WINSTON                 GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510‐2212
                                                                        STREET, SUITE 600
URICK, CHRIS P                      100 TURQUOISE DR                                                                                  CORTLAND           OH   44410‐1394
URICK, FAITH R                      340 PINE TREE LN APT 3                                                                            ERWIN              TN   37650‐6901
URICK, GEORGE T                     35815 BAL CLAIR ST                                                                                NEW BALTIMORE      MI   48047‐2457
URICK, GERALD G                     1105 WARD ST                                                                                      OWOSSO             MI   48867‐1437
URICK, GERALD L                     4901 W 22ND ST                                                                                    SPEEDWAY           IN   46224‐5155
URICK, JANICE M                     7176 HARBOR GLEN DR APT 110                                                                       HUNTINGTON BEACH   CA   92648‐7434
URICK, KIRK B                       1113 NW HAWK CREEK DR                                                                             BLUE SPRINGS       MO   64015‐6458
URICK, PATRICIA C                   35815 BAL CLAIR ST                                                                                NEW BALTIMORE      MI   48047‐2457
URIDIL, CHARLES L                   63171 40TH ST                                                                                     PAW PAW            MI   49079‐8705
URIE & BLANTON WELDING SUPPLIES     138 KEYSTONE RD                                                                                   UPPER CHICHESTER   PA   19014‐3425
URIE, AARON J                       410 DIVINE HWY                                                                                    PORTLAND           MI   48875‐1235
URIEGAS, AMELIA                     558 SUMMERVILLE DR                                                                                LAWRENCEVILLE      GA   30045‐4369
URIEL ACOSTA                        1322 SUNNY WOOD DR                                                                                O FALLON           MO   63366‐3439
URIETA, WILLIAM B                   4047 EL DORADO DRIVE                                                                              CORONA             CA   92883‐0631
URIG CLETIS (448378)                BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD         OH   44067
                                                                        PROFESSIONAL BLDG
URIG, BARBARA A                     464 AUBURN ST                                                                                     ELYRIA             OH 44035‐8830
URIG, CATHERINE A                   7857 OBERLIN RD                                                                                   ELYRIA             OH 44035‐1909
URIG, CATHERINE A                   7857 OBERLIN ROAD                                                                                 ELYRIA             OH 44035‐1909
                         09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                           Part 37 of 40 Pg 795 of 901
Name                     Address1                       Address2                      Address3   Address4         City                 State Zip
URIG, ROBERT L           2158 SOUTHAMPTON LN                                                                      AVON                  OH 44011‐1664
URILLA BRITTENHAM        4072 E WILLARD RD                                                                        CLIO                  MI 48420‐7909
URION ELAINE             35 WEST AVE                                                                              WOODSTOWN             NJ 08098‐1124
URIOSTEGUI, FRANCISCO    330 S MELROSE ST APT 102                                                                 ANAHEIM               CA 92805‐4061
URISH, JAMES A           1724 SW 18TH ST                                                                          OKLAHOMA CITY         OK 73108‐6838
URISTA, ROBERTO          29801 GREATER MACK AVE                                                                   SAINT CLAIR SHORES    MI 48082‐1853
URITESCU, OLIVIA M       30736 LUND AVE                                                                           WARREN                MI 48093‐8019
URIU, CLARENCE Y         1537 DOMINION AVE                                                                        SUNNYVALE             CA 94087‐4025
URIVE, RUDY A            4821 FAIRFIELD AVE                                                                       FORT WAYNE            IN 46807‐2757
URIVEZ JR, OSCAR P       2350 SOUTH CLINTON STREET                                                                DEFIANCE              OH 43512‐3226
URIVEZ JR, OSCAR P       2350 S CLINTON ST                                                                        DEFIANCE              OH 43512‐3226
URIVEZ, DONNA            1800 N 52ND ST                                                                           OMAHA                 NE 68104
URIVEZ, FRANCISCO P      6600 BIRCH RUN RD                                                                        BIRCH RUN             MI 48415‐8554
URIVEZ, FRANCISCO P.     6600 BIRCH RUN ROAD                                                                      BIRCH RUN             MI 48415‐8554
URIVEZ, GUADALUPE        7344 7 MILE RD                                                                           FREELAND              MI 48623‐8907
URIVEZ, OSBALDO          301 W LYNN ST                                                                            STRYKER               OH 43557
URIVEZ, OSCAR P          744 DEERWOOD DR                                                                          DEFIANCE              OH 43512‐8126
URIZE JACKSON            330 CROSS PARK DR APT 2                                                                  PEARL                 MS 39208‐8909
URKA AUTO CENTER INC     3736 W US HIGHWAY 10                                                                     LUDINGTON             MI 49431‐9601
URKA AUTO CENTER, INC.   3736 W US HIGHWAY 10                                                                     LUDINGTON             MI 49431‐9601
URKA AUTO CENTER, INC.   MICHAEL URKA                   3736 W US HIGHWAY 10                                      LUDINGTON             MI 49431‐9601
URKA, THOMAS M           5878 W JAGGER RD                                                                         LUDINGTON             MI 49431
URKEWICH, BRYAN          713 SOUTHPORT ST                                                                         ELMIRA                NY 14904‐2154
URKSHUS, JOSEPH C        1253 LANGLEY BLVD                                                                        CLAWSON               MI 48017‐1026
URLA J STERLING          553 CHARLOTTE AVE                                                                        HERMITAGE             PA 16148
URLAUB, BRIAN R          143 MARIE CT                                                                             LAKE ORION            MI 48360‐2299
URLAUB, CATHERINE S      3825 DOLPHAINE LN                                                                        FLINT                 MI 48506‐2653
URLAUB, TIMOTHY L        7778 METZKE RD                                                                           ALPENA                MI 49707‐9744
URLENE BOOKER            17816 FLEMING ST                                                                         DETROIT               MI 48212‐1054
URLENE WELLS             60 HAMLET CT APT 4                                                                       ROCHESTER             NY 14624
URMAN ALEXANDER          1307 HARBOR RD                                                                           HEWLETT               NY 11557‐2640
URMAN JOSEPH (459411)    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                        STREET, SUITE 600
URMAN, JOSEPH            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                        STREET, SUITE 600
URMANIC CLIFFORD W SR    DBA CLIFFS NOSTALGIA           G 7050 N STATE RD                                         DAVISON              MI   48423
URMANIC, CLIFFORD W      PO BOX 449                                                                               DAVISON              MI   48423‐0449
URMANIC, SUZANNE C       410 AMESBURY DR                                                                          DAVISON              MI   48423‐1765
URMEY, HELEN L           2835 KERWOOD DR                                                                          KETTERING            OH   45420‐3407
URMEY, WILLIAM H         2835 KERWOOD DR                                                                          KETTERING            OH   45420‐3407
URMSON, JOHN J           13 NARBERTH PL                                                                           SOUTHAMPTON          NJ   08088‐1304
URMSON, RONALD T         4551 US RT #422 NW                                                                       SOUTHINGTON          OH   44470
URMSTON, OLLABELLE       504 FLORENCE ST                                                                          MIDDLETOWN           OH   45044‐4821
URNAWICH DANNY           7426 E CAMELBACK RD                                                                      SCOTTSDALE           AZ   85251‐3509
URNESS, INA L            24290 FEALS RD                                                                           VERSAILLES           MO   65084
URNESS, INA L            24290 SEALS RD                                                                           VERSAILLES           MO   65084‐5611
URNESS, KAREN F          8347 MITCHELL RD                                                                         EDEN PRAIRIE         MN   55347‐1503
URNICK, FRANK            5556 JASPER CT                                                                           DENVER               CO   80239‐6612
URNISE, CHRIS A          327 OLIVE ST                                                                             KANSAS CITY          MO   64124‐1727
URNISE,CHRIS A           327 OLIVE ST                                                                             KANSAS CITY          MO   64124‐1727
URODA, ANITA M           457 FARNHAM AVE                                                                          LINCOLN PARK         MI   48146‐2830
URODA, SYLVESTER S       277 WOODSIDE LAKE DR                                                                     ORMOND BEACH         FL   32174‐8151
                               09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                  Part 37 of 40 Pg 796 of 901
Name                           Address1                        Address2                      Address3                    Address4         City               State Zip
UROLOGY OF INDIANA             PO BOX 6069 ‐DEPT 14                                                                                       INDIANAPOLIS        IN 46206
UROSEVA, ELIZABETH Z           17261 HEISER RD                                                                                            BERLIN CENTER       OH 44401‐9784
UROSEVA, NICHOLAS R            3230 QUENTIN DR                                                                                            YOUNGSTOWN          OH 44511‐1204
URQHART, ARTHUR K              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
URQUHART ARTHUR K (407490) ‐   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                NORFOLK            VA 23510
URQHART ARTHUR K                                               STREET, SUITE 600
URQUHART DONALD JR             7515 AIRPORT BLVD                                                                                          MOBILE             AL   36608
URQUHART TERESA                1632 92ND AVE NE                                                                                           CLYDE HILL         WA   98004‐2511
URQUHART, ADAM J               10465 LASALLE BLVD                                                                                         HUNTINGTON WOODS   MI   48070‐1119
URQUHART, ARDYCE L             5801 LESLIE DR                                                                                             FLINT              MI   48504‐7057
URQUHART, D A                  12841 EXCALIBUR LN                                                                                         BRUCE TWP          MI   48065‐4473
URQUHART, DUANE X              4754 YOUNGTREE CT                                                                                          FORT WORTH         TX   76123‐2939
URQUHART, GENEVIEVE J.         13015 STAMFORD                                                                                             WARREN             MI   48089‐1350
URQUHART, IRMA M               825 E PIERSON RD                                                                                           FLINT              MI   48505‐3558
URQUHART, JOHNNIE M            2040 MCPHAIL ST                                                                                            FLINT              MI   48503‐4330
URQUHART, LONNIE               5469 COUNTRY ROSE CIR                                                                                      GRAND BLANC        MI   48439‐9182
URQUHART, MARIAN L             4109 HUNTERS CREEK DR                                                                                      FORT WORTH         TX   76123‐2551
URQUHART, MONA L               7262 ANDREA CT                                                                                             GRAND BLANC        MI   48439‐9656
URQUHART, RICHARD J            15479 WINTERPARK DR                                                                                        MACOMB             MI   48044‐3875
URQUHART, ROBERT J             3301 WOLCOTT ST                                                                                            FLINT              MI   48504‐3294
URQUHART, RONALD C             4202 WINONA ST                                                                                             FLINT              MI   48504‐2119
URQUHART, SCOTT L              515 SNOWGLEN DR                                                                                            ENGLEWOOD          OH   45322‐1615
URQUHART, SUZANNE F            610 BENTON RD                                                                                              EAST MEADOW        NY   11554‐5401
URQUHART, VONETTA E            4202 WINONA ST                                                                                             FLINT              MI   48504‐2119
URQUIDES ROBERTA               URQUIDES, ROBERT
URQUIDES, ROBERT               MAKLER & BAKER LLP              820 BAY AVENUE SUITE 230J                                                  CAPITOLA           CA   93101
URQUIDEZ ROBERTA               URQUIDES, ROBERT                MAKLER & BAKER LLP            820 BAY AVENUE SUITE 230J                    CAPITOLA           CA   93101
URQUIDI, AMOS T                1633 CARSWELL TER                                                                                          ARLINGTON          TX   76010‐4512
URQUIDIES, ELODIA              WELEBIR MCCUNE & JURE           2068 ORANGE TREE LN STE 215                                                REDLANDS           CA   92374‐4555
URQUIDIES, MARCO
URQUIETA,MARIANO L.            20 SHERMAN AVE                                                                                             YONKERS            NY   10705
URREA, HUGO V                  8212 CANARY CANYON WAY                                                                                     TAMPA              FL   33647‐3600
URRIEGO, GLORIA                2128 FORDWAY ST.                                                                                           SAGINAW            MI   48601
URRUTIA, JOSE L                2752 CRESTWORTH LN                                                                                         BUFORD             GA   30519‐6483
URS AND RENEE WUNDERLI         69 ‐ TIDY ISLAND BLVD                                                                                      BRADENTON          FL   34210‐3303
URS CONSULTANTS                ATTN: ROBERT WITTKE             1300 RARITAN RD                                                            CLARK              NJ   07066‐1100
URS CORP
URS CORP                       1078 BLDG DOOR 1                                                                                           MIDLAND            MI   48667‐0001
URS CORP                       27777 FRANKLIN RD STE 2000                                                                                 SOUTHFIELD         MI   48034‐8204
URS CORP                       325 W MAIN ST                   WATERFRONT PLZ TOWER ONE                                                   LOUISVILLE         KY   40202
URS CORP                       77 GOODELL ST                                                                                              BUFFALO            NY   14203
URS CORP                       PO BOX 488                                                                                                 SPRING HILL        TN   37174‐0488
URS CORPORATION                325 W MAIN ST STE 1200          WATERFRONT PLAZA TOWER ONE                                                 LOUISVILLE         KY   40202‐4255

URS CORPORATION                8501 NORTH MOPAC BOULEVARD                                                                                 AUSTIN             TX   78759
URS CORPORATION                77 GOODELL STREET                                                                                          BUFFALO            NY   14203
URS CORPORATION                282 DELAWARE AVENUE                                                                                        BUFFALO            NY   14202
URS DIETSCHI                   8556 COOLEY BEACH DR                                                                                       WHITE LAKE         MI   48386‐4316
URS GREINER                    PO BOX 18238                                                                                               NEWARK             NJ   07191‐8238
URS GREINER WOODWARD CLYDE     FMLY URS GREINER INC            282 DELAWARE AVE                                                           BUFFALO            NY   14202
URS GREINER WOODWARD CLYDE     130 ROBIN HILL RD.                                                                                         COLETA             CA   93117
                            09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                  Part 37 of 40 Pg 797 of 901
Name                        Address1                           Address2            Address3         Address4              City              State Zip
URS KEMPF                   EICHHOLZWEG 5C                     STEINHAUSEN
URS KEMPF                   EICHHOLZWEG 5C                     6312 STEINHAUSEN
URS KEMPF                   EICHHOLZWEG 5C                     6312 STEINHAUSEN
URS KEMPF                   EICHHOLZWEG 5C                                                          6312 STERINHAUSEN
                                                                                                    SWITZERLAND
URSA AINSWORTH              2741 136TH AVE 189                                                                            HOPKINS           MI    49328
URSA ALBRIGHT               504 SW 23RD ST                                                                                EL RENO           OK    73036‐5856
URSA SMALLEY                25 N PLAZA AVE                                                                                DAYTON            OH    45417‐1720
URSALA WAGNER               6608 KINGSDALE BLVD                                                                           PARMA HEIGHTS     OH    44130‐3970
URSALYN SCHOONOVER          606 SALEM ST                                                                                  ROCKTON           IL    61072‐2114
URSCH, GRACE                12415 N 103 RD AVE APT E86                                                                    SUN CITY          AZ    85351‐3509
URSCHEL MANUFACTURING       7442 E BUTHERUS DR                                                                            SCOTTSDALE        AZ    85260‐2415
URSCHEL MANUFACTURING INC   7442 E BUTHERUS DR                                                                            SCOTTSDALE        AZ    85260‐2415
URSCHEL, GEORGE W           4688 JOYCE DR DR4                                                                             DAYTON            OH    45439
URSCHEL, GLENN R            717 WALDEN TRL                                                                                DAYTON            OH    45440‐3837
URSCHEL, JEAN E             343 S SNYDER RD                                                                               NEW LEBANON       OH    45345‐9355
URSCHEL, JEAN E             343 S SNYDER ROAD                                                                             NEW LEBANON       OH    45345‐9355
URSCHEL, MICHAEL F          218 MARK CT.                                                                                  GERMANTOWN        OH    45327‐5327
URSCHLER, WAYNE E           1902 LOWER ELKTON RD                                                                          COLUMBIANA        OH    44408‐9468
URSEL BERENDT               LANGGARTENWEG 25                                                        CH‐4123 ALLSCHWIL
                                                                                                    SWITZERLAND
URSEL KNOTTS JR             713 W SPRUCE ST PMB 1112                                                                      DEMING            NM 88030‐3548
URSEL KOCH                  WIEHELM DORNHAUS STRABE 11                                              D‐45481 MULHERUR AN
                                                                                                    DES RUHR GERMANY
URSELA SZUMSKI              5 LEVINE CT                                                                                   MADISON           WI    53714‐1724
URSELA T MAZZILLI           750 ROYAL CREST CIR #422                                                                      LAS VEGAS         NV    89109‐3859
URSERY, CHARLES E           1002 W RIDGEWAY AVE                                                                           FLINT             MI    48505‐5142
URSERY, CHARLES EDWARD      1002 W RIDGEWAY AVE                                                                           FLINT             MI    48505‐5142
URSERY, DUNBAR              506 E FOSS AVE                                                                                FLINT             MI    48505‐2183
URSERY, EASTER              1002 W RIDGEWAY AVE                                                                           FLINT             MI    48505‐5142
URSERY, GUY J               7480 S STEEL RD                                                                               SAINT CHARLES     MI    48655‐9734
URSERY, GUY JEROME          7480 S STEEL RD                                                                               SAINT CHARLES     MI    48655‐9734
URSERY, GUY R               1114 CAMPBELL ST                                                                              FLINT             MI    48507‐5306
URSERY, JOYCE A             46000 GEDDES RD #115                                                                          CANTON            MI    48188‐2350
URSERY, RUTH                3099 N OAK RD                                                                                 DAVISON           MI    48423
URSHA, MARY F               12457 E RICHFIELD RD                                                                          DAVISON           MI    48423‐8518
URSHA, RICHARD M            12457 E RICHFIELD RD                                                                          DAVISON           MI    48423‐8518
URSHEL, JEREMY A            6021 ARAGON DR                                                                                FORT WAYNE        IN    46818‐2001
URSIN, JAMES L              PO BOX 1377                                                                                   MUSTANG           OK    73064
URSIN, WILDA L              5317 GINA DR                                                                                  WARREN            MI    48091‐4198
URSINUS COLLEGE             PO BOX 1000                                                                                   COLLEGEVILLE      PA    19426‐1000
URSITTI III, ANTHONY        2879 ARMSTRONG DR                                                                             LAKE ORION        MI    48360‐1706
URSITTI, CHARLES M          986 CHURCH ST                                                                                 PLYMOUTH          MI    48170‐1644
URSITTI, CHARLES MICHAEL    986 CHURCH ST                                                                                 PLYMOUTH          MI    48170‐1644
URSO, ANGELA                12 BIRCHWOOD CT.                                                                              MIDDLESEX         NJ    08846‐2074
URSO, BENJAMIN P            28 MAGNOLIA AVE                                                                               BRISTOL           CT    06010‐6448
URSO, DARLENE A             1442 KINGS COVE DR                                                                            ROCHESTER HILLS   MI    48306‐4223
URSO, JACK A                6 CHESTNUT CRES                                                                               ROCHESTER         NY    14624‐4358
URSO, JOHN A                2254 BUCKLEW DR                                                                               TOLEDO            OH    43613‐2102
URSO, JOSEPH                29659 VAN LAAN DR                                                                             WARREN            MI    48092‐4253
URSO, JOSEPH R              1334 CLEARVIEW ST NW                                                                          WARREN            OH    44485‐2101
URSO, KENNETH V             301 BLUE RIDGE DR                                                                             YORK              PA    17402‐5006
                                   09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                        Part 37 of 40 Pg 798 of 901
Name                              Address1                           Address2                       Address3   Address4                City            State Zip
URSO, MARGARET T                  200 CHESTER ST APT 408                                                                               BIRMINGHAM       MI 48009
URSO, MARY                        6920 INKSTER RD APT 109F                                                                             DEARBORN HTS     MI 48127‐1820
URSO, PETER J                     45 DANIELLE DR                                                                                       CHEEKTOWAGA      NY 14227‐3405
URSPRUCH, APRIL
URSU, THOMAS P                    4494 S SCRIBNER RD                                                                                   DURAND          MI 48429‐9119
URSULA ANNA                       POMMERNSTR.67                      65205 WIESBADEN
URSULA BETTIN                     52 E CENTER RD                                                                                       ESSEXVILLE      MI 48732‐9775
URSULA BINDER                     WIMSHEIMERSTR. 7                                                             D‐71297 MONSHEIM /
                                                                                                               GERMANY
URSULA BRIGHAM                    716 BURMAN AVE                                                                                       TROTWOOD        OH    45426
URSULA CHAPMAN                    8288 LINDEN RD                                                                                       SWARTZ CREEK    MI    48473‐9151
URSULA DE LISLE                   188 W RUTGERS AVE                                                                                    PONTIAC         MI    48340‐2760
URSULA DESTEFANO WRONGFUL DEATH   C/O HAROWITZ & TIGERMAN LLP        450 SANSOME STREET 3RD FLOOR                                      SAN FRANCISCO   CA    94111‐3311
HEIR
URSULA EMIG                       SCHANZENWEG 23                                                               D 65232 TAUNUSSTEIN
                                                                                                               GERMANY
URSULA ENGEL                      BIERKELLER 3                       88048 FRIEDRICHSHAFEN
URSULA FISHBURN                   38056 WOODRUFF DR                                                                                    NEWARK          CA 94560‐4517
URSULA FRANKS                     7532 MCCLELLAN AVE                                                                                   BOONSBORO       MD 21713‐2416
URSULA GARDNER                    23 SUNSET AVE                                                                                        PENNSVILLE      NJ 08070‐1160
URSULA GRIMM                      GERHARD‐WINKLER‐WEG 8                                                        D 70195 STUTTGART
                                                                                                               GERMANY
URSULA GROSSMANN                  RAMBOUXSTR 219                                                               50737 KOELN GERMANY
URSULA H PULLEN                   208 W. SHERRY DR                                                                                     TROTWOOD        OH 45426
URSULA HAFERKAMP                  DR STEINHUBEL & V BUTTLAR          LOEFFELSTRASSE 44                         70597 STUTTGART
                                  RECHTSANWALTE                                                                GERMANY
URSULA HAGEMEIER                  AM HAIN 26                         63654 B▄DINGEN
URSULA HAGEMEIER                  AM HAIN 26                         63654 BUEDINGEN
URSULA HAGEMEIER                  AM HAIN 26                                                                   63654 BUEDINGEN
                                                                                                               GERMANY
URSULA HANDSCHUH                  BLUMENSTRA▀E 14                                                                                    JUECHEN                 41363
URSULA HANDSCHUH                  BLUMENSTRASE 14                                                              JUECHEN 41363 GERMANY
URSULA HIPPELI                    SCHWANTHALER STR. 66                                                         60596                 FRANKFURT
URSULA HITE                       1082 E 66TH ST                                                                                     CLEVELAND         OH    44103‐1602
URSULA HOWELL                     71 PRUGH AVE                                                                                       XENIA             OH    45385‐5443
URSULA HUNTER                     23 CAROL DR                                                                                        FREDERICKTOWN     OH    43019‐1006
URSULA JAENECKE                   403158TH WAY N                                                                                     KENNETH CITY      FL    33709
URSULA JOHNSON                    4392 ROBIN LN                                                                                      HAMBURG           NY    14075‐1219
URSULA KIEDERICH                  SCHEUREN 53                                                                  53937 SCHLEIDEN
                                                                                                               GERMANY
URSULA LAUBE                      REHAGENER STR. 22‐24                                                                               BERLIN
URSULA LAUBE                      REHAGENER STR 22‐24                                                          12305 BERLIN GERMANY
URSULA LAUBE                      MARCUS LAUBE                       339 B SEA ST                                                    HYANNIS           MA    02601
URSULA LEAVITT                    C/O SUZANNE M HAUSER               HARRIS HILL NURSING FACILITY                                    WILLIAMSVILLE     NY    14221
URSULA LINDSAY                    610 LARCH LN                                                                                       FORT WAYNE        IN    46825‐4675
URSULA LOECHEL                    3535 LINDA VISTA DR SPC 175                                                                        SAN MARCOS        CA    92078‐6330
URSULA LOEWENTHAL                 7486 NOTTINGHAM ST                                                                                 LAMBERTVILLE      MI    48144‐9504
URSULA LOTZE                      BEETHOVENSTR 8                                                                                     HEIDENAU                01809
URSULA LOVEJOY                    217 NE IVANHOE BLVD                C/O JOERG JAEGER                                                ORLANDO            FL   32804‐6443
URSULA LUBOWSKI                   HEEMSKERCKSTRAAT 21                                                          THE HAGUE NETHERLANDS
URSULA M CHAPMAN                  8288 LINDEN RD                                                                                     SWARTZ CREEK      MI 48473‐9151
URSULA M COLVIN                   1610 E COUNTY LINE RD #11G                                                                         RIDGELAND         MS 39157‐1906
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                        Part 37 of 40 Pg 799 of 901
Name                                 Address1                        Address2                  Address3   Address4                City           State Zip
URSULA MAHOLICK                      7416 CAPRI DR                                                                                WHITE LAKE      MI 48383‐2831
URSULA MARINO                        2607 VILLAGE DR                                                                              SHERMAN         TX 75090‐2796
URSULA MARRERO                       98 CHARTER CIR APT D                                                                         OSSINING        NY 10562‐6070
URSULA MARX                          11383‐113 DRIVE                                                                              YOUNGTOWN       AZ 85363
URSULA MAZUR                         HOFBROOK57A                     24119KRONSHAGEN
URSULA MAZUR                         HOFBROOK 57A                                                         24119 KRONSHAGEN
                                                                                                          GERMANY
URSULA MAZUR                         HOFBROOK 57A                    24119 KRONSHAGEN
URSULA MILLIER                       18341 W MAIN ST                                                                              HAUSER         ID    83854‐5665
URSULA MONGRAIN                      ONE FINANCIAL PLAZA                                                                          HARTFORD       CT    06103
URSULA MOSES                         28 MATTHEWS ST                                                                               BRISTOL        CT    06010‐2997
URSULA MUELLER                       5261 BALDWIN RD                                                                              SWARTZ CREEK   MI    48473‐9175
URSULA NOBLE                         851 OAKWOOD RD                                                                               ORTONVILLE     MI    48462‐8644
URSULA PRICE                         26522 PRIMARY DR                                                                             SOUTHFIELD     MI    48034‐5689
URSULA PUNT                          BURGEIS                                                              I‐39024 MALS BZ ITALY
URSULA RUETTIMANN                    P.O. 1735                                                                                    AMHERST        NY    14226
URSULA RUPLENAS                      8006 BUCKINGHAM AVE                                                                          ALLEN PARK     MI    48101‐2234
URSULA SABRINSKAS                    1539 S 50TH AVE                                                                              CICERO         IL    60804‐1545
URSULA SAMARIN                       19706 SOWLES RD                                                                              CLEVELAND      OH    44130
URSULA SCHMIDTKE                     OHMSTR 20                                                            80802 MUNICH GERMANY
URSULA SCHMOTZ                       BRESLAUERSTRASSE 37             54516 WITTLICH, GERMANY
URSULA SEEGM▄LLER                    NACHTIGALLENPFAD 2              D‐35578 WETZLAR           GERMANY
URSULA SNIDER                        250 COUNTY ROAD 991                                                                          CULLMAN        AL    35057‐5781
URSULA SNYDER                        13680 HART ST                                                                                OAK PARK       MI    48237‐1120
URSULA STANBROUGH                    28293 CARLTON WAY DR                                                                         NOVI           MI    48377‐2634
URSULA T FITZMAURICE                 71 PRUGH AVE                                                                                 XENIA          OH    45385‐5443
URSULA T HOWELL                      71 PRUGH AVE                                                                                 XENIA          OH    45385
URSULA TATROE                        7275 CHAIN LAKE DR                                                                           SOUTH BRANCH   MI    48761‐9607
URSULA TAULBEE                       245 HARVEST LN                                                                               CINCINNATI     OH    45237‐1604
URSULA TRUJILLO                      8900 DELAMAR AVE NE                                                                          ALBUQUERQUE    NM    87111‐3108
URSULA USKO                          FUTTERSTRASSE 7                                                      99084 ERFURT GERMANY
URSULA W MARINO                      2607 EAST VILLAGE DR.                                                                        SHERMAN         TX   75090
URSULA WATKINS                       30 S HALLOCK ST                                                                              KANSAS CITY     KS   66101‐3811
URSULA WIDMANN                       ╓SCHELBRONNER WEG 8
URSULA WIDMANN                       OESCHELBRONNER WEG 8                                                 75223 NIEFERN‐
                                                                                                          OESCHELBRONN GERMANY
URSULA WOLLER                        DUESSELDORFER SH 165                                                 51063 KOLN GERMANY
URSULA ZIEGLMAIER                    HOPFENSTR 13                                                         84091 ATTENHOFEN
                                                                                                          GERMANY
URSULINE COLLEGE                     2550 LANDER RD                                                                               PEPPER PIKE    OH    44124‐4318
URSULINE SISTERS HIV/AIDS MINISTRY   4250 SHIELDS RD                                                                              CANFIELD       OH    44406‐9329
URSUY, CARL G                        12494 NICHOLS RD                                                                             BURT           MI    48417‐2391
URSUY, GARY G                        1925 COOLIDGE AVE                                                                            SAGINAW        MI    48638‐4739
URSUY, JERRY A                       9460 EAST RD                                                                                 BURT           MI    48417‐9786
URSUY, JERRY ALLEN                   9460 EAST RD                                                                                 BURT           MI    48417‐9786
URSUY, JOHN S                        1510 MONROE ST                                                                               SAGINAW        MI    48602‐4872
URSUY, LISA A                        13514 N LINDEN RD                                                                            CLIO           MI    48420‐8248
URSUY, LISA ANN                      13514 N LINDEN RD                                                                            CLIO           MI    48420‐8248
URSUY, PAULA J                       6765 BIRCH RUN RD                                                                            BIRCH RUN      MI    48415‐8783
URSUY, TERRY C                       789 VICTOR DR                                                                                SAGINAW        MI    48609‐5128
URSUY, TERRY CARL                    789 VICTOR DR                                                                                SAGINAW        MI    48609‐5128
URSZENI, JOHN J                      1005 BREWSTER CT                                                                             GRAFTON        OH    44044‐1201
                                09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                   Part 37 of 40 Pg 800 of 901
Name                            Address1                         Address2                      Address3                  Address4            City              State Zip
URSZENI, JOYCE                  364 GREEN SPRUCE DR                                                                                          MACEDONIA          OH 44056‐1055
URTEAGA, GUILLERMO              1112 CLAIRE DR                                                                                               SPRING HILL        TN 37174‐7349
URTEAGA, JAVIER J               7118 WESTPORT ST                                                                                             RIVERSIDE          CA 92506‐6162
URTEAGA, JOSE J                 8111 S KEATING AVE                                                                                           CHICAGO             IL 60652‐2005
URTEL PAUL                      35 FAIRWAY DR                                                                                                LOCKPORT           NY 14094‐3931
URTEL, DONALD R                 5699 JENNIFER DRIVE                                                                                          LOCKPORT           NY 14094
URTEL, ELTON L                  23 ZIMMERMAN ST                                                                                              NORTH TONAWANDA    NY 14120‐4707
URTEL, GARY D                   4816 COTTAGE RD                                                                                              LOCKPORT           NY 14094‐1604
URTEL, HAROLD E                 9 WASHINGTON ST                                                                                              MIDDLEPORT         NY 14105‐1109
URTEL, MARY E                   356 BIRCHWOOD DR                                                                                             LOCKPORT           NY 14094‐9156
URTEL, RUSSELL E                4346 N RIDGE RD                                                                                              LOCKPORT           NY 14094‐9774
URTEL, STEVEN H                 2856 HARTLAND RD                                                                                             GASPORT            NY 14067‐9421
URTEL, THOMAS E                 7205 LINGER LODGE RD, R‐10                                                                                   BRADENTON          FL 34202
URTEL, VICTORIA B               27 W HIGH ST                                                                                                 LOCKPORT           NY 14094
URTEL, WILLIAM R                4443 N RIDGE RD                                                                                              LOCKPORT           NY 14094‐9775
URTIAGA GENE E SR (494280)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510
                                                                 STREET, SUITE 600
URTIAGA, FERNANDO               1805 43 STREET                                                                                               NORTH BERGEN      NJ 07047
URTIAGA, FERNANDO               19002 FALCONS PL                                                                                             TAMPA             FL 33647‐3647
URTIAGA, GENE E                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                 NORFOLK           VA 23510
                                                                 STREET, SUITE 600
URTON ESTATE OF JOHNNY B B      4702 LILLIE ST                                                                                               FORT WAYNE        IN   46806‐4818
URTON, BRANDON N                490 BROADWAY ST                                                                                              MAINEVILLE        OH   45039‐8634
URTON, BRANDON NEAL             490 BROADWAY ST                                                                                              MAINEVILLE        OH   45039‐8634
URTON, CHARLES R                2595 COSMOS DR                                                                                               LOVELAND          OH   45140‐1349
URTON, DANNY N                  471 BROADWAY ST                                                                                              MAINEVILLE        OH   45039‐9653
URTON, RITA L                   7506 BROADWAY DR                                                                                             AMARILLO          TX   79108‐2410
URTON, WALTER T                 371 CHARLOTTE AVE                                                                                            LEBANON           OH   45036‐1106
URTON, WALTER T                 371 CHARLOTTE DRIVE                                                                                          LEBANON           OH   45036‐1106
URTON,BRANDON NEAL              490 BROADWAY ST                                                                                              MAINEVILLE        OH   45039‐8634
URTON,CHARLES R                 2595 COSMOS DR                                                                                               LOVELAND          OH   45140‐1349
URTUZUASTEGUI, EDITH I          9569 BROADWAY APT 2                                                                                          TEMPLE CITY       CA   91780‐3161
URTZ ROBERT                     URTZ, PAMELA                     LANE, JANET M                 119 RACINE STREET SUITE                       MEMPHIS           TN   38111
                                                                                               200C
URTZ ROBERT                     URTZ, ROBERT                     119 RACINE ST STE 200C                                                      MEMPHIS           TN   38111‐2726
URTZ, PAMELA                    LANE, JANET M                    119 RACINE ST STE 200C                                                      MEMPHIS           TN   38111‐2726
URTZ, ROBERT                    LANE, JANET M                    119 RACINE ST STE 200C                                                      MEMPHIS           TN   38111‐2726
URUCHURTU CARLOS                35917 BELLE CHAINE LOOP                                                                                      TEMECULA          CA   92592‐9692
URUJENI, LISE                   3349 PLUM CREEK DRIVE                                                                                        COLUMBUS          OH   43219‐7316
URUSKI, ANN                     848 W BRECKENRIDGE ST                                                                                        FERNDALE          MI   48220‐1245
URUSKI, JANINA                  15413 THERESA CT                                                                                             CLINTON TWP       MI   48038‐4175
URVALEK EDWARD JERRY (488207)   WEITZ & LUXENBERG                180 MAIDEN LANE                                                             NEW YORK          NY   10038
URVALEK, EDWARD JERRY           WEITZ & LUXENBERG                180 MAIDEN LANE                                                             NEW YORK          NY   10038
URW                             POPPENBUTTELER BOGEN 36                                                                  HAMBURG D‐22399
                                                                                                                         GERMANY
URWIN, WAYNE E                  9321 S SHARTEL AVE APT 103                                                                                   OKLAHOMA CITY     OK   73139‐5212
URYE TRIBBLE                    C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS        OH   44236
URYGA, EDWARD J                 29333 VAN LAAN DR                                                                                            WARREN            MI   48092‐4250
URYNOWICZ, DIANN                44 MEDITERRANEAN BLVD EAST                                                                                   PORT ST LUCIE     FL   34952‐8561
URYNOWICZ, HARRY J              3814 GALILEO DR APT B                                                                                        FORT COLLINS      CO   80528‐3220
URZELL CASCIO                   1456 DRUMMER CIR                                                                                             SAN JACINTO       CA   92583
URZUA DYLAN                     URZUA, DYLAN                     262 STATE ROUTE 35                                                          RED BANK          NJ   07701‐5920
                                        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                     Exhibit B
                                                                            Part 37 of 40 Pg 801 of 901
Name                                   Address1                               Address2                        Address3                      Address4               City                    State Zip
URZUA DYLAN                            URZUA, VERONICA                        CARTON & RUDNICK                262 STATE ROUTE 35                                   RED BANK                 NJ 07701
URZUA, CARL R                          5480 TIERRA LINDA DR                                                                                                        FORT MOHAVE              AZ 86426
US AIR                                 PO BOX 100                                                                                                                  GLENSHAW                 PA 15116‐0100
US AIR FILTRATION INC                  3450 STELLHORN RD STE B                                                                                                     FORT WAYNE               IN 46815‐8642
US AIT FORCE ( SERVICE PUBLICATIONS)   HEADQUARTERS 542ND COMBAT              580 CBSS/GBZVG                  380 RICHARDS RAY BLVD SUITE                          ROBINS AIR FORCE BASE    GA 31098
                                       SUSTAINMENT WING                                                       104
US APPAREL                             6100 JOE FRANK HARRIS PKWY NW STE D                                                                                         ADAIRSVILLE             GA 30103‐2457

US ARMY CORPS OF ENGINEERS             ROBERT PENN                            PO BOX 1715                     CENAB‐RE                                             BALTIMORE               MD    21203‐1715
US ARMY RESERVE TRAINING CTR           ATTN: ROBIN BISHOP                     2828 S MADISON AVE                                                                   ANDERSON                IN    46016‐4941
US ATTORNEY FIN LIT UNIT               ACCT OF JONATHAN CHILDS                231 W LAFAYETTE 8TH FLOOR                                                            DETROIT                 MI    48226
US AUTO MOV/DES PLNS                   1870 BUSSE HWY                                                                                                              DES PLAINES             IL    60016
US AUTOFORCE                           200 S PETRO AVE                                                                                                             SIOUX FALLS             SD    57107‐0571
US AUTOMOTIVE LEASING SERVICES INC     KAHN & ASSOCIATES LLC                  700 E MAIN ST STE 1600                                                               RICHMOND                VA    23219‐2604

US AUTOMOTIVE LEASING SERVICES INC     700 E MAIN ST STE 1600                                                                                                      RICHMOND                VA 23219‐2604

US AUTOMOTIVE PARTS GROUP              DIV OF GENUINE PARTS CO                2999 CIRCLE 75 PKWY SE                                                               ATLANTA                 GA 30339‐3050
US BANCORP EQUIPMENT FINANCE INC       13010 SW 68TH PARKWAY                                                                                                       PORTLAND                OR 97223

US BANCORP EQUIPMENT FINANCE, INC      P.O. BOX 2177                                                                                                               TUALATIN                OR 97062

US BANCORP EQUIPMENT FINANCE, INC      P.O. BOX 230789                                                                                                             PORTALND                OR 97281

US BANCORP EQUIPMENT FINANCE, INC      ATTN: CORPORATE OFFICER/AUTHORIZED     PO BOX 2177                                                                          TUALATIN                OR 97062‐2177
                                       AGENT
US BANCORP EQUIPMENT FINANCE, INC      ATTN: CORPORATE OFFICER/AUTHORIZED     PO BOX 230789                                                                        PORTLAND                OR 97281‐0789
                                       AGENT
US BANK                                FOR DEPOSIT IN THE ACCOUNT OF          S NAIR                          3240 LOUISVILLE RD CN‐KY‐                            BOWLING GREEN            KY   42101
                                                                                                              9049
US BANK                                FOR DEPOSIT IN THE ACCOUNT OF          500 E MAIN AVE                  J BELL                                               BOWLING GREEN           KY    42101‐2226
US BANK                                CM‐9690                                                                                                                     SAINT PAUL              MN    55170‐9690
US BANK                                TIMOTHY BOWLING                        CN‐OH‐L2PE                                                                           CINCINNATI              OH
US BANK                                N/A                                    800 NICOLLET MALL                                                                    MINNEAPOLIS             MN    55402
US BANK                                KATHRYN LYNN WHITEHEAD                 100 WALL STREET, SUITE 1600                                                          NEW YORK                NY    10005
US BANK ‐ JOHN F CAVITT                JOHN F CAVITT/MARY J CAVITT            56 PROVIDENCE LANE                                                                   SPRINGFIELD             IL    62711
US BANK C/FBO WILMA H JONES            WILMA H JONES                          2612 MANCHESTER DR                                                                   SPRINGFIELD             IL    62724
US BANK CHAMPIONSHIP                   ATTN GEOFF CAMPION                     6300 N PORT WASHINGTON RD       STE 9                                                MILWAUKEE               WI    53217‐4385
US BANK CORPORATE TRUST                1200 ENERGY PARK DR                    SDS 12‐2302                                                                          SAINT PAUL              MN    55108‐5101
US BANK IRA FBO RONALD J HICKMAN       C/O RONALD J HICKMAN                   300 RAMBLEWOOD LANE                                                                  SHERMAN                 IL    62684
US BANK NATIONAL ASSOCIATION           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 555 SW OAK ST                   PD‐OR‐P7LD                                           PORTLAND                OR    97204

US BANK NATIONAL ASSOCIATION           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 225 ASYLUM ST FL 23                                                                  HARTFORD                 CT   06103‐1534

US BANK NATIONAL ASSOCIATION           AS OWNER TRUSTEE                       ATTN: LEGAL OFFICER / BANKRUPTCY
                                                                              DEPT.
US BANK NATIONAL ASSOCIATION           AS OWNER TRUSTEE OF THE GM/PHILIP      ONE FEDERAL STREET               MAIL STATION EX‐MA‐FED       ATTN DEBORAH IBRAHIM   BOSTON                  MA 02110
                                       MORRIS CAPITAL 1991 A‐3                                                                              VICE PRESIDENT
US BANK NATIONAL ASSOCIATION           ONE FEDERAL STREET, 3RD FLOOR          ATTN: DEBORAH A IBRAHAM, VP                                                          BOSTON                  MA    02110
US BANK NATIONAL ASSOCIATION           225 ASYLUM STREET                      23RD FLOOR                                                                           HARTFORD                CT    06103
US BANK NATIONAL ASSOCIATION           555 SW OAK ST                          PD‐OR‐P7LD                                                                           PORTLAND                OR    97204
US BANK NATIONAL ASSOCIATION           AS OWNER TRUSTEE (GM 1991A‐1)          225 ASYLUM ST                   23RD FLOOR                                           HARTFORD                CT    06103
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                      Exhibit B
                                                                        Part 37 of 40 Pg 802 of 901
Name                                 Address1                               Address2                         Address3                   Address4               City               State Zip
US BANK NATIONAL ASSOCIATION         AS OWNER TRUSTEE
US BANK NATIONAL ASSOCIATION         CORPORATE TRUST SERVICES               ATTN DEBORAH IBRAHIM             ONE FEDERAL STREET 3RD                            BOSTON             MA 02110
                                                                                                             FLOOR
US BANK NATIONAL ASSOCIATION AS      BODMAN LLP                             C/O MARC M BAKST ESQ             1901 ST ANTOINE STREET     6TH FLOOR AT FORD FIELD DETROIT            MI 48228
OWNER TRUSTEE F/B/O
US BANK TRUST NATIONAL ASSOCIATION   US BANK TRUST NATIONAL ASSOCIATION     300 EAST DELAWARE AVENUE         8TH FLOOR                                         WILMINGTON          DE 19809

US BANK TRUST NATIONAL ASSOCIATION   AS OWNER TRUSTEE                       225 ASLAM STREET                 23RD FL                                           HARTFORD            CT   08103

US BANK TRUST NATIONAL ASSOCIATION   AS OWNER TRUSTEE OF THE GM 2004A‐2     225 ASYLUM ST                    23RD FLOOR                                        HARTFORD            CT   06103
                                     TRUST
US BANK TRUST NATIONAL ASSOCIATION   AS OWNER TRUSTEE UNDER THE             GM 2004 A‐3 TRUST                225 ASYLUM ST              23RD FLOOR             HARTFORD            CT   06103

US BANK TRUST NATIONAL ASSOCIATION   SOLEY AS OWNER TRUSTEE (GM 2004 A‐1) 225 ASYLUM ST                      23RD FLOOR                                        HARTFORD            CT   06103

US BANK TRUST NATIONAL ASSOCIATION   ATTN: GENERAL COUNSEL                  303 N BROADWAY                                                                     BILLINGS           MT 59101

US BANK TRUST NATIONAL ASSOCIATION   ATTN: GENERAL COUNSEL                  800 NICOLLET MALL STE 1500                                                         MINNEAPOLIS        MN 55402‐7014

US BANK TRUST NATIONAL ASSOCIATION   WELLS FARGO BANK NORTHWEST,            ATTN: GENERAL COUNSEL            3889 WASHINGTON                                   OGDEN               UT 84403
                                     NATIONAL ASSOCIATION                                                    BOULEVARD
US BANK TRUST NATIONAL ASSOCIATION   AS OWNER TRUSTEE OF THE GM/TFXTRON     ATTN DEBORAH IBRAHIM ‐ VICE      ONE FEDEREAL STREET MAIL                          BOSTON             MA 02110
                                     2004A‐2                                PRESIDENT                        STATION EX‐DA‐FED
US BANK TRUST NATIONAL ASSOCIATION   SOLEY AS OWNER TRUSTEE (GM 2004 A‐1)   ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                               HARTFORD            CT   06103‐1534
                                                                            DEPT.
US BANK TRUST NATIONAL ASSOCIATION   AS OWNER TRUSTEE                       ATTN: LEGAL OFFICER / BANKRUPTCY 225 ASYLUM ST FL 23                               HARTFORD            CT   06103‐1534
                                                                            DEPT.
US BANK TTRUST ASSOCIATION           ATTN: GENERAL COUNSEL                  800 NICOLLET MALL STE 1500                                                         MINNEAPOLIS        MN    55402‐7014
US BANK‐BANK BY MAIL                 FOR DEPOSIT TO THE ACCOUNT OF          PO BOX 1950                      C HAMNER                                          SAINT PAUL         MN    55101‐0950
US BANKRUPTCY COURT                  1001 SW 5TH AVENUE                     #700                                                                               PORTLAND           OR    97204‐1147
US BORDER PATROL                     2302 S MAIN STREET                                                                                                        MCALLEN            TX    78503
US BORDER PATROL                     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2302 S MAIN STREET                                                                 MCALLEN            TX    78503

US BROACH/SUMTER                     PO BOX 1649                            HIGHWAY 378 E. FRONTAGE STREET                                                     SUMTER              SC   29151‐1649

US CANADIAN EXPRESS                  85 CLYDE AVE ADR CHG 5‐3‐96                                                                                               BUFFALO             NY   14215
US CARGO CONTROL                     2535 BING MILLER LN                                                                                                       URBANA              IA   52345‐9126
US CELLULAR                          4700 S GARNETT RD                                                                                                         TULSA               OK   74146‐5222
US CHAMBER OF COMMERCE               ACCOUNTING DEPARTMENT                  PO BOX 1200                                                                        WASHINGTON          DC   20013‐1200
US CHANEY                            C/O WILLIAMS KHERKHER HART AND         8441 GULF FREEWAY STE 600                                                          HOUSTON             TX   77007
                                     BOUNDAS LLP
US CHROME CORP OF NEW YORK           31 SWAN ST                                                                                                                BATAVIA             NY   14020‐3233
US COACHWORKS                        PO BOX 518                             35 CARLOUGH ROAD                                                                   BOHEMIA             NY   11716‐0518
US COMMERCIAL LESSORS, LTD           210 WALNUT STREET                                                                                                         LOCKPORT            NY   14094
US CONCRETE INC                      33469 W 14 MILE RD STE 110                                                                                                FARMINGTON HILLS    MI   48331‐1511
US CUSTOMS AND BORDER PROTECTION     ATTN REVENUE DIVISION BANKRUPTCY       6650 TELECOM DR SUITE 100                                                          INDIANAPOLIS        IN   46278
                                     TEAM
US CUSTOMS AND BORDER PROTECTION     W. RALPH BASHAM, COMMISSIONER          1300 PENNSYLVANIA AVE NW                                                           WASHINGTON          DC 20229‐0002

US CUSTOMS AND BORDER PROTECTION     ALFONSO ROBLES, CHIEF COUNSEL          1301 PENNSYLVANIA AVE NW                                                           WASHINGTON          DC 20229‐0001

US DATA                              334 CORNELIA ST #591                                                                                                      PLATTSBURGH         NY 12901
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                        Part 37 of 40 Pg 803 of 901
Name                               Address1                           Address2                        Address3                  Address4         City                State Zip
US DATA 1 LLC                      3155 DALLAVO CT                                                                                               COMMERCE TOWNSHIP    MI 48390‐1607
US DEPARTMENT OF AGRICULTURE       ANIMAL & PLANT HEALTH INSPEC       PO BOX 979043                                                              SAINT LOUIS          MO 63197‐9000
US DEPARTMENT OF AGRICULTURE       ANIMAL & PLT HEALTH INSPEC SVC     PO BOX 81866                    ATTN JONI DAVIS                            LINCOLN              NE 68501‐1866
US DEPARTMENT OF COMMERCE          NATIONAL TECHNICAL INFO SERV       5285 PORT ROYAL RD                                                         SPRINGFIELD          VA 22161‐0001
US DEPARTMENT OF EDUCATION         NTNL PAYMENT CTR                   PO BOX 4142                                                                GREENVILLE           TX 75403‐4142
US DEPARTMENT OF ENERGY            STEPHANIE N. CARABAJAL             1617 COLE BLVD                  GOLDEN FIELD OFFICE                        LAKEWOOD             CO 80401‐3305
US DEPARTMENT OF ENERGY            1617 COLE BLVD                     GOLDEN FIELD OFFICE                                                        LAKEWOOD             CO 80401‐3305
US DEPARTMENT OF ENERGY            TAMMIE M. LAWLER                   1617 COLE BLVD                  GOLDEN FIELD OFFICE                        LAKEWOOD             CO 80401‐3305
US DEPARTMENT OF ENERGY            STE[PHANIE N. CARABAJAL            1617 COLE BLVD                  GOLDEN FIELD OFFICE                        LAKEWOOD             CO 80401‐3305
US DEPARTMENT OF ENERGY
US DEPARTMENT OF HEALTH AND HUMAN C/O JOSEPH CORDARO, AUSA            US ATTORNEY'S OFFICE, SDNY      86 CHAMBERS STREET 3RD                     NEW YORK            NY 10007
SERVICES                                                                                              FLOOR
US DEPARTMENT OF HOMELAND SECURITY 54409 BRYCE CANYON TRL             DAVE MOOTY                                                                 MACOMB              MI 48042‐6109

US DEPARTMENT OF JUSTICE            NCIF                              PO BOX 70932                                                               CHARLOTTE           NC    28272‐0932
US DEPARTMENT OF JUSTICE            ACCOUNT OF MICHAEL D SICKMEIER    CAUSE #IP85‐526‐C               46 E OHIO STREET                           INDIANAPOLIS        IN    46204
US DEPARTMENT OF JUSTICE            OFFICE OF THE ATTORNEY GENERAL    950 PENNSYLVANIA AVE NW                                                    WASHINGTON          DC    20530‐0001
US DEPARTMENT OF LABOR ‐ OSHA       1120 20TH STREET NW               NINTH FLOOR                                                                WASHINGTON          DC    20036
US DEPARTMENT OF LABOR ‐ OSHA       FEDERAL OFFICE BUILDING           1240 E 9TH ST ROOM 899                                                     CLEVELAND           OH    44199
US DEPARTMENT OF LABOR              919 MARKET ST STE 900                                                                                        WILMINGTON          DE    19801
OCCUPATIONAL SAFETY & HEALTH
US DEPARTMENT OF STATE              518 23RD ST NW                                                                                               WASHINGTON          DC    20520‐0001
US DEPARTMENT OF STATE              PM/DDTC SA‐1 12TH FLOOR           2401 E STREET NW                                                           WASHINGTON          DC    20037
US DEPARTMENT OF THE TREASURY       DIVERSIFIED COLLECTION SVC INC    PO BOX 70962                                                               CHARLOTTE           NC    28272‐0962
US DEPARTMENT OF TREASURY           1500 PENNSYLVANIA AVE                                                                                        WASHINGTON          DC    20220‐0001
US DEPT HEALTH & HUMAN SERVICES     UNITED STATES ATTORNEY            SOUTHERN DISTRICT OF NEW YORK   86 CHAMBERS STREET, 3RD                    NEW YORK            NY    10007
                                                                                                      FLOOR
US DEPT OF EDUCATION               ACCT OF MICHAEL GINGLES            PO BOX 105028                                                              ATLANTA             GA    30348‐5028
US DEPT OF EDUCATION ACCT OF       J E HARRISON                       PO BOX 105081                                                              ATLANTA             GA    30348‐5081
US DEPT OF JUSTICE FRB NY          33 LIBERTY BUILDING                                                                                           NEW YORK            NY    10045
US DEPT OF LABOR                   OSHA ‐ FORT WORTH AREA             8713 AIRPORT FREEWAY                                                       FORT WORTH          TX    76180
US DEPT OF LABOR AREA OFFICE       271 W 3RD ST N STE 400                                                                                        WICHITA             KS    67202‐1202
US DIRECT MAIL MONITOR             DBA COMPEREMEDIA                   213 W INSTITUTE PL STE 208                                                 CHICAGO             IL    60610‐3588
US DRILL/CINCINNATI                5298 RIVER RD                                                                                                 CINCINNATI          OH    45233‐1643
US ENERGIA LLC                     50773 PONTIAC TRL                                                                                             WIXOM               MI    48393‐2034
US ENGR/SPRING HILL                P.O. BOX 818                                                                                                  SPRING HILL         TN    37174
US ENVIRONMENTAL PROTECTION AGENCY HAZARDOUS SITES CLEANUP DIVISION   1650 ARCH STREET                                                           PHILADELPHIA        PA    19103‐2029
REGION 3
US ENVIRONMENTAL PROTECTION AGENCY PO BOX 70753                                                                                                  CHICAGO              IL   60673‐0001
REGION 5
US ENVIRONMENTAL PROTECTION AGENCY YORK OIL CO                        SITE 83 CV 1623                 PO BOX 360188M                             PITTSBURGH          PA 15251
REGION II
US EPA                             26 W MARTIN LUTHER KING DR                                                                                    CINCINNATI          OH    45268‐0001
US EPA ‐ REGION 5                  PO BOX 371531                                                                                                 PITTSBURGH          PA    15251‐7531
US EPA ‐ REGION II                 HAZARDOUS SUBSTANCE TRUST FUND     PO BOX 371099M                                                             PITTSBURGH          PA    15251
US EPA HAZARDOUS SUBSTANCE         US EPA SUPERFUND PAYMENTS          CINCINNATI FINANCE CTR          PO BOX 970976                              SAINT LOUIS         MO    63197‐9000
US EPA HAZARDOUS WASTE             SUPERFUND, LENZ OIL SPEC ACCT      US EPA RGN 5 SUPERFUND ACCTG    PO BOX 70753                               CHICAGO             IL    60673‐0001

US EPA REGION 5                     77 WEST JACKSON BOULEVARD                                                                                    CHICAGO             IL    60604‐3590
US EPA REGION I                     1 CONGRESS STREET SUITE 1100                                                                                 BOSTON              MA    02114‐2023
US EPA REGION II                    290 BROADWAY                                                                                                 NEW YORK            NY    10007
US EPA REGION III                   1650 ARCH STREET (3PM52)                                                                                     PHILADELPHIA        PA    19103
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                                        Part 37 of 40 Pg 804 of 901
Name                                 Address1                        Address2               Address3               Address4               City               State Zip
US EPA REGION IV                     ATLANTA FEDERAL CENTER          61 FORSYTH STREET                                                    ATLANTA             GA 30303
US EPA REGION IX                     75 HAWTHORNE STREET                                                                                  SAN FRANCISCO       CA 94105
US EPA REGION V                      77 WEST JACKSON BOULEVARD                                                                            CHICAGO              IL 60604‐3590
US EPA REGION V                      77 W. JACKSON BLVD.                                                                                  CHICAGO              IL 60604
US EPA REGION VI                     1445 ROSS AVENUE, SUITE 1200                                                                         DALLAS              TX 75202
US EPA REGION VII                    726 MINNESOTA AVE.                                                                                   KANSAS CITY         KS 66101
US EPA REGION VIII                   999 18TH ST SUITE 300                                                                                DENVER              CO 80202
US EQUIPMENT COMPANY                 20580 HOOVER ST                                                                                      DETROIT             MI 48205‐1064
US EXPEDITING & LOGISTICS LLC        PO BOX 355                                                                                           VANDALIA            OH 45377‐0355
US FARATHANE CORP                    RICK KNAPPE                     3800 MOUND RD                                                        STERLING HEIGHTS    MI 48310‐3461
US FARATHANE CORP                    3778 VAN DYKE RD                                                                                     ALMONT              MI 48003‐8043
US FARATHANE CORP                    39200 FORD RD                                                                                        WESTLAND            MI 48185‐9131
US FARATHANE CORP                    42155 MERRILL RD                                                                                     STERLING HEIGHTS    MI 48314‐3233
US FARATHANE CORP                    550 E MANDOLINE AVE                                                                                  MADISON HEIGHTS     MI 48071‐1401
US FARATHANE CORP                    CARLI FRANK X1130               550 E MANDOLINE AVE    CHEMCAST GROUP                                MADISON HTS         MI 48071‐1401
US FARATHANE CORP                    CARLI FRANK X1130               CHEMCAST GROUP         550 E. MANDOLINE                              HAMPSHIRE            IL 60140
US FARATHANE CORP                    CAROLYN NEVIN X1137             11650 PARK CT          FARATHANE GROUP                               SHELBY TOWNSHIP     MI 48315‐3108
US FARATHANE CORP                    CAROLYN NEVIN X1137             24 BOBRICK DR          US FARATHANE JACKSON                          JACKSON             TN 38301‐5625
US FARATHANE CORP                    CAROLYN NEVIN X1137             38000 MOUND RD                                                       STERLING HEIGHTS    MI 48310‐3461
US FARATHANE CORP                    CAROLYN NEVIN X1137             38000 MOUND ROAD                                                     JOHNSON CITY        TN
US FARATHANE CORP                    CAROLYN NEVIN X1137             39200 FORD ROAD                                                      GADSDEN             AL 35904
US FARATHANE CORP                    CAROLYN NEVIN X1137             42155 MERRILL ROAD                            OROSZLANY 2840
                                                                                                                   HUNGARY (REP)
US FARATHANE CORP                    CAROLYN NEVIN X1137             FARATHANE GROUP        11650 PARK COURT                              GRAND BLANC        MI   48439
US FARATHANE CORP                    CAROLYN NEVIN X1137             US FARATHANE JACKSON   24 BOBRICK DRIVE                              EMPORIUM           PA
US FARATHANE CORP                    ELWOOD SKINNER X120             3778 VAN DYKE ROAD                                                   WINCHESTER         VA
US FARATHANE CORP                    11650 PARK CT                                                                                        SHELBY TOWNSHIP    MI   48315‐3108
US FARATHANE CORP                    24 BOBRICK DR                                                                                        JACKSON            TN   38301‐5625
US FARATHANE CORP                    38000 MOUND RD                                                                                       STERLING HEIGHTS   MI   48310‐3461
US FARATHANE CORPORATION             CAROLYN NEVIN X1137             42155 MERRILL ROAD                            OROSZLANY 2840
                                                                                                                   HUNGARY (REP)
US FARATHANE CORPORATION             CAROLYN NEVIN X1137             39200 FORD ROAD                                                      GADSDEN            AL   35904
US FARATHANE‐ALMONT                  ELWOOD SKINNER X120             3778 VAN DYKE ROAD                                                   WINCHESTER         VA
US FARATHANE‐ALMONT                  3778 VAN DYKE RD                                                                                     ALMONT             MI   48003‐8043
US FARATHANE/ALMONT                  3778 VAN DYKE RD                                                                                     ALMONT             MI   48003‐8043
US FARATHANE/ST HGTS                 38000 MOUND RD                                                                                       STERLING HEIGHTS   MI   48310‐3461
US FARATHANE/UTICA                   11650 PARK CT                                                                                        SHELBY TOWNSHIP    MI   48315‐3108
US FILTER IONPURE INC                10 TECHNOLOGY DR                                                                                     LOWELL             MA   01851‐2728
US FILTER OPERATING SERVICES, INC.   DEBORAH M. NEWELL               181 THORN HILL RD                                                    WARRENDALE         PA   15086‐7527
US FILTER WATER PARTNERS VI, LLC     55 SHUMAN BLVD STE 900                                                                               NAPERVILLE         IL   60563‐8488
US FILTER/STRANCO                    595 N INDUSTRIAL DR                                                                                  BRADLEY            IL   60915‐1218
US FILTER\WHEELABRATOR               1606 EXECUTIVE DR                                                                                    LAGRANGE           GA   30240‐5746
US FISH & WILDLIFE SERVICES          ONE FEDERAL DR                                                                                       FORT SNELLING      MN   55111
US FLIGHT STANDARDS OFFICE           8800 BECK RD                                                                                         BELLEVILLE         MI   48111‐1261
US FOODSERVICE                       GREENSBURG DIVISION             PO BOX 643190                                                        PITTSBURGH         PA   15264‐3190
US GAUGE & FIXTURE INC               6094 CORPORATE DR                                                                                    IRA                MI   48023‐1422
US GAUGE/CHESTERFLD                  6094 CORPORATE DR                                                                                    IRA                MI   48023‐1422
US GRANT/SAN DIEGO                   326 BROADWAY                                                                                         SAN DIEGO          CA   92101‐4812
US GREEN BUILDING COUNCIL            PO BOX 404296                                                                                        ATLANTA            GA   30384‐4296
US HEALTHWORKS                       PO BOX 50042                                                                                         LOS ANGELES        CA   90074‐0042
US HEALTHWORKS                       3855 N POINT PKWY STE 150       STE 150                                                              ALPHARETTA         GA   30005
US HEALTHWORKS INC                   1212 S FLOWER ST                PO BOX 50042                                                         LOS ANGELES        CA   90074‐0001
                                    09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                         Part 37 of 40 Pg 805 of 901
Name                               Address1                              Address2                         Address3      Address4            City             State Zip
US HEALTHWORKS MED G               PO BOX 50042                                                                                             LOS ANGELES       CA 90074‐0042
US HEALTHWORKS MEDICAL GROUP OF    PO BOX 404480                                                                                            ATLANTA           GA 30384‐4480
INDIANA PC
US HEALTHWORKS MEDICAL GROUP OF    BLDG 4 SUITE 250ADD CHG 10/10         3440 PRESTON RIDGE RD                                              ALPHARETTA       GA 30005
NORTH CAROLINA PC
US HEALTHWORKS MEDICAL GROUP PC    PO BOX 50042                                                                                             LOS ANGELES      CA 90074‐42
US HUNGARIA FAHRZEUGIMPORT         BUDAPEST 5, ARANYKEZ 4‐8                                                             BUDAPEST HUNGARY
HANDELS
US IND TOOL/PLYMOUTH               15101 CLEAT ST                                                                                           PLYMOUTH         MI   48170‐6015
US INDUSTRIAL TECHNOLOGIES INC     43422 WEST OAK DR #295                                                                                   NOVI             MI   48377
US INDUSTRIAL TECHNOLOGIES INC     43422 W OAKS DR STE 295                                                                                  NOVI             MI   48377
US INSPECTION SERVICES             7515 COMPANY DR B                                                                                        INDIANAPOLIS     IN   46237‐9595
US INSPECTION SERVICES             277 SOUTH ST                                                                                             ROCHESTER        MI   48307‐2239
US INSPECTION SERVICES OF INDI     7515 CAMPANY DR B                                                                                        INDIANAPOLIS     IN   46237‐9595
US INSPECTION/DAYTON               705 ALBANY ST                                                                                            DAYTON           OH   45408‐1460
US INSTRU/MONMOUTH                 1100 CORNWALL ROAD                                                                                       MONMOUTH JCT     NJ   08852
US INSTRU/PITTSBURGH               PO BOX 360220                                                                                            PITTSBURGH       PA   15251‐6220
US INVESTIGATIONS SERVICES         CHARLES (BOB) POORE                   7799 LEESBURG PIKE, SUITE 400                                      FALLS CHURCH     VA   22043
                                                                         SOUTH
US MAGNESIUM LLC                   238 N 2200 W                                                                                             SALT LAKE CITY   UT   84116‐2921
US MANUFACTURING CORP              ROBERT CURRIER                        28201 VAN DYKE AVE                                                 WARREN           MI   48093‐2713
US MATERIALS HANDLING CORP         PO BOX 366                                                                                               UTICA            NY   13503‐0366
US MATS INC                        1623 MILL ST                          PO BOX 455                                                         CLAY             MI   48001‐4514
US MEDGROUP PA                     PO BOX 75410                                                                                             OKLAHOMA CITY    OK   73147‐0410
US MESSENGER & DELIVERY SERV INC   180 DENELL DR                                                                                            CRETE            IL   60417‐1013
US MOT/ATLANTA                     7840 ROSWELL ROAD                                                                                        ATLANTA          GA   30350
US MOTIVATION                      222 NE MONROE ST 8TH FL                                                                                  PEORIA           IL   61602
US MOTIVATION                      7840 ROSWELL ROAD                                                                                        ATLANTA          GA   30350
US NUCLEAR REGULATORY COMMISSION   PO BOX 979051                                                                                            SAINT LOUIS      MO   63197‐9000

US OUTDOOR CHANNEL                 GREG HARRIGAN                         43445 BUSINESS PARK DR STE 103                                     TEMECULA         CA 92590‐3670
US PAN ASIAN AMERICAN CHAMBER OF   202 E BORDER ST STE 324                                                                                  ARLINGTON        TX 76010‐3807
COMMERCE SOUTHWEST
US PATENT CERTIFICATE INC          16801 LINK CT                                                                                            FORT MYERS       FL   33912‐5913
US PATTERN CO INC                  69150 SKINNER DR                       PO BOX 220                                                        RICHMOND         MI   48062‐1538
US PATTERN CO INC                  69150 SKINNER DR                                                                                         RICHMOND         MI   48062‐1538
US POLLUTION CONTROL INC           PO BOX 201831                                                                                            HOUSTON          TX   77216‐1831
US POST OFFICE                     ATTN: JACKIE JOHNSON                   60 E MILWAUKEE ST                                                 DETROIT          MI   48202‐9998
US POST OFFICE                     3011 W GRAND BLVD                                                                                        DETROIT          MI   48202‐3016
US POST OFFICE                     ATTN: JACK ARNOLD                      760 ALBERT ST                                                     MT MORRIS        MI   48458‐9991
US POSTAGE METER CENTER            28231 AVENUE CROCKER STE 120                                                                             VALENCIA         CA   91355‐1276
US POSTAL OFFICE                   311 E 11TH AVE                                                                                           BOWLING GREEN    KY   42101‐9998
US POSTAL SER‐VH.MNT.FL.           GPO‐F D ROOSEVELT                                                                                        SAN JUAN         PR   00936
US POSTAL SERVICE                  110 MARKET PLZ                                                                                           SOMERS           NY   10589‐2300
US POSTAL SERVICE                  BUSINESS MAIL ENTRY DEPT                                                                                 DETROIT          MI   48233
US POSTAL SERVICE                  NORCROSS PO                                                                                              NORCROSS         GA   30071
US POSTAL SERVICE                  201 E ALLEN ST                                                                                           WENTZVILLE       MO   63385‐1557
US POSTAL SERVICE                  ATTENTION POSTMASTER                   909 3RD AVE OFC                 FDR STATION                       NEW YORK         NY   10022‐4765
US POSTAL SERVICE POSTMASTER       POSTAGE BY PHONE                       PO BOX 56641345729                                                CAROL STREAM     IL   60132‐0001
US POSTMASTER                      C/O ALAN HARDY‐CONTINENTAL WEB         1430 INDUSTRIAL DR                                                ITASCA           IL   60143‐1848
US POSTMASTER                      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 3301 DARCY ST                                                     FORT WORTH       TX   76107‐2751
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                         Part 37 of 40 Pg 806 of 901
Name                                Address1                             Address2                   Address3         Address4                City               State Zip
US POSTMASTER                       3301 DARCY ST                                                                                            FORT WORTH          TX 76107‐2751
US POSTMASTER GENERAL               CONTINENTAL WEB PRESS                1430 INDUSTRIAL DR         C/O ALAN HARDY                           ITASCA               IL 60143‐1848
US POSTMASTER POSTMASTER DETROIT MI C/O BUSINESS MAIL ENTRY              1401 W FORT ST             ROOM 712                                 DETROIT             MI 48233‐1001

US REAL PROPERTY                    PO BOX 1012                                                                                              WIXOM               MI   48393‐1012
US REAL PROPERTY LLC                PO BOX 1012                                                                                              WIXOM               MI   48393‐1012
US REAL PROPERTY LLC                C/O NEW BRIGHT INDUSTRIES INC        PO BOX 1012                                                         WIXOM               MI   48393‐1012
US REAL PROPERTY LLC C\O            NEW BRIGHT INDSTRS INTL INC          PO BOX 1012                                                         WIXOM               MI   48393‐1012
US REAL PROPERTY, LLC
US ROAD FREIGHT EXPRESS INC         PO BOX 9070                                                                                              WICHITA            KS    67277‐0070
US SHEET METAL ICNC                 3200 ENTERPRISE DR                                                                                       SAGINAW            MI    48603‐2312
US SHEET METAL INC                  3200 ENTERPRISE DR                                                                                       SAGINAW            MI    48603‐2312
US SOCIAL SECURITY ADMIN            700 4TH ST                                                                                               BAY CITY           MI    48708‐5976
US SPEEDO EXOTIC GAUGES             1473 W HILL RD                                                                                           FLINT              MI    48507‐4709
US SPEEDO INC                       6050 BIRCH RD                                                                                            FLINT              MI    48507‐4648
US STEEL CANADA INC                 386 WILCOX ST                                                                    HAMILTON ON L8L 8K5
                                                                                                                     CANADA
US STEEL CANADA INC                 DAVID BICKERTON, CATHY SCOTT         386 WILCOX ST              STELCO TOWER     HAMILTON ON L8L 8K5
                                                                                                                     CANADA
US STEEL CORPORATION                ATTN LINDA NAVE                      5850 NEW KING CT ATTN      ATTN T A ZARA                            TROY                MI 48098
US STEEL CORPORATION                ATTN LINDA NAVE                      600 GRANT ST STE 1344                                               PITTSBURGH          PA 15219‐2753
US STEEL CORPORATION                UNITED STATES STEEL CORPORATION ‐    ATTN: JOE LAPORTE          400 STATE ST                             CLAIRTON            PA 15025‐1855
                                    CLAIRTON WORKS
US STEEL GROUP ‐ USX CORPORATION    TERRY SCHREIBER                      600 GRANT STREET                                                    PITTSBURGH         PA    15219
US SURVEYOR                         4929 RIVERWIND POINTE DR                                                                                 EVANSVILLE         IN    47715‐6753
US TECH/220 7TH ST                  220 7TH ST SE                                                                                            CANTON             OH    44702‐1324
US TECHNICAL SERVICES               16541 GOTHARD ST STE 214                                                                                 HUNTINGTON BEACH   CA    92647‐4436
US TECHNOLOGY CORP                  1446 TUSCARAWAS ST W                                                                                     CANTON             OH    44702‐2038
US TEST/FAIRFIELD                   291 FAIRFIELD AVE                                                                                        FAIRFIELD          NJ    07004‐3833
US TRACKWORKS INC                   PO BOX 10                            1254 CUTTING DR                                                     MOLINE             MI    49335‐0010
US TRAFFIC LTD                      INTERNATIONAL TRANSPORTATION         6645 KITIMAT RD UNIT 18                     MISSISSAUGA CANADA ON
                                                                                                                     L5N 6J4 CANADA
US TREASURY                         ASSISTANT GENERAL COUNSEL (BANKING   1500 PENNSYLVANIA AVE.                                              WASHINGTON DC
                                    AND FINANCE)
US TRUCK CO INC                     PO BOX 80                                                                                                WARREN             MI    48090‐0080
US TRUCK DRIVER TRAINING SCHOOL     4195 CENTRAL AVE                                                                                         DETROIT            MI    48210
US TRUST                            730 15TH ST NW                                                                                           WASHINGTON         DC    20005‐1001
US TSUBAKI INC                      301 E MARQUARDT DR                                                                                       WHEELING           IL    60090‐6431
US TSUBAKI INC                      821 MAIN ST                                                                                              HOLYOKE            MA    01040‐5449
US TSUBAKI INC                      106 LONCZAK ST                                                                                           CHICOPEE           MA    01022‐1305
US TSUBAKI INC                      106 LONCZAK ST                       WESTOVER INDUSTRIAL PARK                                            CHICOPEE           MA    01022‐1305
US TSUBAKI/TROY                     560 KIRTS BLVD STE 109               AUTOMOTIVE DIVISION                                                 TROY               MI    48084‐4141
US TURBINE CORP                     7685 S STATE RTE 48                                                                                      MAINEVILLE         OH    45039
US UTILITY CONTRACTOR CO            3592 GENOA RD                                                                                            PERRYSBURG         OH    43551‐9702
US VENEZUELA BUSINESS COUNCIL       501 NIBLICK DR SE                                                                                        VIENNA             VA    22180‐4935
US VETERANS AFFAIRS DEPT            ATTN: MAURICE WALLINGFORD            7310 WOODWARD AVE # 617                                             DETROIT            MI    48202‐3165
US VETERANS REEMPLOYMENT RIGHT      3032 W GRAND BLVD                                                                                        DETROIT            MI    48202‐6032
US WIPING MATERIALS CO INC          2539 E SULLIVAN AVE                                                                                      SAINT LOUIS        MO    63107‐3404
US WIRE ROPE SUPPLY INC             PETER ASARO                          6555 SHERWOOD ST                                                    DETROIT            MI    48211‐2475
US WIRE ROPE SUPPLY INC             PETER ASARO                          6555 SHERWOOD                               CALGARY AB CANADA
US WIRE ROPE TECHNOLOGY INC         PETER ASARO                          6555 SHERWOOD                               CALGARY AB CANADA
US WIRE ROPE TECHNOLOGY INC         PETER ASARO                          6555 SHERWOOD ST                                                    DETROIT            MI 48211‐2475
                                  09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                       Exhibit B
                                                                    Part 37 of 40 Pg 807 of 901
Name                              Address1                            Address2                           Address3                   Address4              City               State Zip
US WIRE ROPE TECHNOLOGY INC       6555 SHERWOOD ST                                                                                                        DETROIT             MI 48211‐2475
US XPRESS ENTERPRISES INC         5959 SHALLOWFORD RD STE 225         ADDR 6\98                                                                           CHATTANOOGA         TN 37421‐2215
US XPRESS ENTERPRISES INC         FMLY VICTORY EXPRESS                4080 JENKINS RD                                                                     CHATTANOOGA         TN 37421
US‐ASEAN BUSINESS COUNCIL         1101 17TH ST NW STE 411                                                                                                 WASHINGTON          DC 20036‐4720
USA BRAKE & AUTO REPAIR           3809 W CLEARWATER AVE                                                                                                   KENNEWICK           WA 99336‐2635
USA CAR CARE                      202 CYPRESSWOOD DR                                                                                                      SPRING              TX 77388‐6002
USA CAR CENTER                    KOSKELONTIE 19                                                                                    ESPOO FIH‐0 FINLAND
USA CARTAGE INC                   9921 GOVERNOR LANE BLVD                                                                                                 WILLIAMSPORT       MD   21795‐4023
USA COIL & AIR                    11 GENERAL WARREN BLVD                                                                                                  MALVERN            PA   19355‐1245
USA DISCOUNTERS CREDIT CORP       2425 NIMMO PKWY BLDG 10             2ND FL COURTROOM B                                                                  VIRGINIA BEACH     VA   23456
USA ENGINE TRANSMISSION           4525 NOLENSVILLE PIKE                                                                                                   NASHVILLE          TN   37211‐4732
USA EXPOS CONSOLIDATED LLC        ATTN BRIAN ROGGENBURK               1360 E 9TH STREET IMG CENTER STE                                                    CLEVELAND          OH   44114
                                                                      #245 UPDT 12/07/07 TW
USA FUNDS DEFAULT COLLECTIONS     ACCT OF GEORGE E SMITH              PO BOX 6137                                                                         INDIANAPOLIS       IN   46206‐6137
USA LOGISTICS INC                 PO BOX 889                                                                                                              CHESTERTON         IN   46304
USA MOBILITY INC                  6677 RICHMOND HWY                                                                                                       ALEXANDRIA         VA   22306‐6647
USA MOBILITY INC                  PO BOX 740521                                                                                                           ATLANTA            GA   30374‐0521
USA MOBILITY WIRELESS INC         ATTN ACCOUNTS RECEIVABLE            6910 RICHMOND HWY                                                                   ALEXANDRIA         VA   22306
USA MOBILITY WIRELESS INC         350 AUTOMATION WAY                                                                                                      IRONDALE           AL   35210‐1771
USA MOBILITY WIRELESS INC         ATTN ACCOUNTS RECEIVABLE            PO BOX 4062                                                                         WOBURN             MA   01888‐4062
USA MOTORS INC                    45 Q ST SW                                                                                                              WASHINGTON         DC   20024‐3414
USA MOTORS INC                    45 Q ST SW                                                                                                              WASHINGTON         DC   20024‐3414
USA NET INC                       1155 KELLY JOHNSON BLVD                                                                                                 COLORADO SPRINGS   CO   80920
USA NET/COLORADO SPR              1155 KELLY JOHNSON BLVD STE 400                                                                                         COLORADO SPRINGS   CO   80920‐3959
USA PARTS SUPPLY LTD              MIKE CANNAN                         261 INDUSTRIAL BLVD                                                                 KEARNEYSVILLE      WV   25430‐2775
USA PARTS SUPPLY, LTD.            MIKE CANNAN                         261 INDUSTRIAL BLVD                                                                 KEARNEYSVILLE      WV   25430‐2775
USA PHOTOCOPY SERVICE             PO BOX 3888                                                                                                             TUSTIN             CA   92781‐3888
USA PRODUCTION PARTS INC          TIM SATTERFIELD                     2314 CENTENNIAL CIRCLE                                                              DUBLIN             VA   24084
USA PRODUCTION PARTS INC          2314 CENTENNIAL CIR                                                                                                     GAINESVILLE        GA   30504‐5756
USA PRODUCTION PARTS, INC.        TIM SATTERFIELD                     2314 CENTENNIAL CIR                                                                 GAINESVILLE        GA   30504‐5756
USA RENT A CAR                    200 N FT HARRISON                                                                                                       CLEARWATER         FL   33755
USA RENT A CAR                    3322 SE 6TH AVE                                                                                                         FORT LAUDERDALE    FL   33316‐4118
USA RENT A CAR                    4350 W. CYPRESS                                                                                                         TAMPA              FL   33607
USA TODAY                         49140 WIXOM TECH DR                                                                                                     WIXOM              MI   48393‐3559
USA TODAY                         305 SEABOARD LN STE 301                                                                                                 FRANKLIN           TN   37067‐8288
USA TODAY/TROY                    340 E BIG BEAVER RD STE 150                                                                                             TROY               MI   48083‐1244
USA TOWING & TAXI SERVICE         1964 TOD AVE SW                                                                                                         WARREN             OH   44485‐4222
USA TRANSMISSION SPECIALISTS      ATTN: ANTHONY BODNAR                11900 MIDDLEBELT RD # C                                                             LIVONIA            MI   48150‐2300
USA TRANSPORTATION SERVICES INC   PO BOX 17383                                                                                                            NASHVILLE          TN   37217‐0383
USA TRUCK INC                     PO BOX 102050                                                                                                           ATLANTA            GA   30368‐2050
USA.NET/COLORADO SPR              1155 KELLY JOHNSON BLVD STE 400                                                                                         COLORADO SPRINGS   CO   80920‐3959
USAA                              RE: KIMBERLY ATWATER                9800 FREDERICKSBURG ROAD                                                            SAN ANTONIO        TX   78288
USAA                              JIMMIE SIMMONS                      9800 FREDERICKSBURG RD                                                              SAN ANTONIO        TX   78288‐0001
USAA                              GREG W GIBEAUT ESQ                  GIBEAUT MAHAN BRISCOE              6701 CENTER DR W STE 611                         LOS ANGELES        CA   90045
USAA CASUALTY INSURANCE CO.       C/O WILBER & ASSOCIATES, P.C.       PO BOX 2159                                                                         BLOOMINGTON        IL   61702‐2159
USAA CASUALTY INSURANCE COMPANY   GUTTERMAN MARKOWITZ & KLINGER LLP   PO BOX 2850                                                                         WESTFIELD          NJ   07091‐2850

USAA FED SVGS BNK C/F SDIRA R/O   PARK WILLIAM ESPENSCHADE JR         747 WINCHESTER DR                                                                   WESTMINSTER        MD   21157‐5732
USAA FEDERAL SAVINGS BANK         FOR DEPOSIT IN THE ACCOUNT OF       L NELSON                           10750 MCDERMOTT FWY                              SAN ANTONIO        TX   78288‐0544
USAA FEDERAL SAVINGS BANK         FOR DEPOSIT IN THE ACCOUNT OF       10750 MCDERMOTT FWY                S BRAUN                                          SAN ANTONIO        TX   78284‐8850
USAA INSURANCE                    A/S/O CARL WHALEY                   ATTN CYNTHIA SIMPSON               PO BOX 659476                                    SAN ANTONIO        TX   78265
USACH TECHNOLOGIES INC            1524 DAVIS RD                                                                                                           ELGIN              IL   60123‐1359
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                       Part 37 of 40 Pg 808 of 901
Name                               Address1                            Address2                          Address3               Address4                City            State Zip
USACH/ELGIN                        1515 COMMERCE DR                                                                                                     ELGIN             IL 60123‐9304
USAI MARIO USAI MASSIMINA          VIA SANIA MARIA                                                                              8040 ULASSAI OG ITALY
USAID/NICARAGUA                    PLATA SUB URBANA                                                                             MANAGUA NICARAGUA
USAID/PERU                         C/O AMERICAN EMBASSY, LARRABURE Y U                                                          LIMA 1 PERU

USAIR CARGO                        DEPARTMENT L163P                                                                                                     PITTSBURGH      PA    15264
USARY, RICHARD C                   321 SUNBROOK LN                        SUMMERLAND MANOR                                                              HAGERSTOWN      MD    21742‐4109
USAS, CHRIS A                      3431 MARIMONT DR                                                                                                     DAYTON          OH    45410‐3327
USAT CORPORATION                   PO BOX 9334                                                                                                          CHAPEL HILL     NC    27515‐9334
USAUTOMATION INC                   13621 W 81ST TER                                                                                                     LENEXA          KS    66215‐2423
USAVAGE, MARY ANN K                12218 FORESTVIEW DR                                                                                                  ORLAND PARK     IL    60467‐1004
USAVAGE, RICHARD E                 12218 FORESTVIEW DR                                                                                                  ORLAND PARK     IL    60467‐1004
USBALDO C ALVARADO                 C/O THE MADEKSHO LAW FIRM              8866 GULF FREEWAY STE 440                                                     HOUSTON         TX    77017
USC ATHLETICS                      C/O CORRE OPPORTUNITIES FUND, L.P.     ATT: CLAIMS PROCESSING         1370 AVENUE OF THE                             NEW YORK        NY    10019
                                                                          (BANKRUPTCY)                   AMERICAS, 29TH FLOOR
USC ATHLETICS                      ATTN MELANIE MORENO                    HERITAGE HALL 203                                                             LOS ANGELES     CA    90089‐0602
USC ATHLETICS                      MR. JOSE ESKANAZI                      3501 WATTS WAY # 203A                                                         LOS ANGELES     CA    90089‐0055
USC EDUCATIONAL FOUNDATION         ATTN RUSSELL H MEEKINS                 107 OSBORNE BUILDING USC                                                      COLUMBIA        SC    29208‐0001
USCAR                              2000 TOWN CTR STE 350                                                                                                SOUTHFIELD      MI    48075‐1225
USCAR LLC                          C/O BUCCIERO & ASSOCIATES P C          1050 WILSHIRE DR STE 115                                                      TROY            MI    48084‐1526
USCHAN, DANIEL L                   24 S RINGOLD ST                                                                                                      JANESVILLE      WI    53545‐2561
USCHAN, GEORGE E                   1164 TERAPIN TRL                                                                                                     JANESVILLE      WI    53545‐7810
USCHAN, JAMES D                    5139 S HOLDEN RD                                                                                                     ORFORDVILLE     WI    53576‐9684
USCHAN, JOHN H                     819 N WRIGHT RD                                                                                                      JANESVILLE      WI    53546‐1806
USCHAN, LINDA R                    819 N WRIGHT RD                                                                                                      JANESVILLE      WI    53546‐1806
USCHAN, TAMMY J                    24 S RINGOLD ST                                                                                                      JANESVILLE      WI    53545‐2561
USCHOLD, VIRGINIA M                478 SOUTH ST APT A                                                                                                   LOCKPORT        NY    14094‐3947
USCHUK, JAMES M                    5717 WILLOW HWY                                                                                                      GRAND LEDGE     MI    48837‐8970
USCHUK, WILLIAM J                  5717 WILLOW HWY                                                                                                      GRAND LEDGE     MI    48837‐8970
USCHUK, WILLIAM P                  5717 WILLOW HWY                                                                                                      GRAND LEDGE     MI    48837‐8970
USCHWALD, CYNTHIA A                4101 CAMERON CIR                                                                                                     WALLED LAKE     MI    48390‐5827
USCHWALD, DAVID L                  6096 PINEMONT DR                                                                                                     BRIGHTON        MI    48116‐8064
USCIS                              PO BOX 648005                                                                                                        LEES SUMMIT     MO    64064‐8005
USCIS                              TEXAS SERVICE CENTER                   PO BOX 851488                                                                 MESQUITE        TX    75185‐1488
USCIS                              WESTERN SERVICE CENTER                 24000 AVILA RD                                                                LAGUNA NIGUEL   CA    92677‐3401
USCIS‐EASTERN SERVICE CENTER       75 LOWER WELDEN ST                                                                                                   SAINT ALBANS    VT    05479‐9000
USCIS‐NORTHERN SERVICE CENTER      850 S ST                                                                                                             LINCOLN         NE    68508‐1225
USCIT JUDICIAL CONFERENCE UNITED   INTERNATIONAL TRADE                    ONE FEDERAL PLAZA ‐ ROOM 299                                                  NEW YORK        NY    10278
STATES COURT OF
USD DAYTON INC                     PO BOX 292921                                                                                                        TAMPA            FL   33687‐2921
USD INC                            1580 E RIVERVIEW DR                                                                                                                   AZ   85034‐6613
USD, INC.                          STEVE KENYON (THIS IS NOT A SUPPLIER   1580 E RIVERVIEW DR                                                           PHOENIX          AZ   85034‐6613
                                   CONTRACT)
USDA APHIS                         5940 S 58TH ST                                                                                                       LINCOLN         NE    68516‐3639
USDA FOREST SERVICE                PO BOX 894183                                                                                                        LOS ANGELES     CA    90189‐4183
USDC, NORTHERN DISTRICT                                                                                                                                 SOUTH BEND      IN
USEALMAN, RICHARD S                6440 N OAK RD                                                                                                        DAVISON         MI    48423‐9306
USED AUTOMOBILE RENTALS            1855 GRAVOIS AVE                                                                                                     SAINT LOUIS     MO    63104‐2749
USED AUTOMOBILE RENTALS,           1855 GRAVOIS AVE                                                                                                     SAINT LOUIS     MO    63104‐2749
USED AUTOMOBILE RENTALS,           ATTN: CORPORATE OFFICER/AUTHORIZED     1855 GRAVOIS AVE                                                              SAINT LOUIS     MO    63104‐2749
                                   AGENT
USED CAR LOT LLC                   784 CESAR E CHAVEZ AVE                                                                                               PONTIAC          MI 48340‐2465
                                 09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                  Part 37 of 40 Pg 809 of 901
Name                             Address1                             Address2              Address3        Address4         City               State Zip
USED MACHINERY SALES INC         19131 INDUSTRIAL BLVD NW STE 2                                                              ELK RIVER           MN 55330‐2438
USELLA NELSON                    14410 E STATE FAIR ST                                                                       DETROIT             MI 48205‐1842
USELMAN, WILLIAM F               PO BOX 591                                                                                  MONTEZUMA           IN 47862‐0591
USELTON, HARVEY L                2810 CANONGATE DR                                                                           ARLINGTON           TX 76015‐2256
USELTON, MARY                    10301 CHEROKEE ST                                                                           TAYLOR              MI 48180‐3292
USELTON, RICHARD                 120 TWIN MARYS DR                                                                           TULLAHOMA           TN 37388
USEM, INC.                       703 17TH AVE NW                                                                             AUSTIN              MN 55912‐1839
USEM, INC.                       THOMAS SHERMAN                       703 17TH AVE NW                                        AUSTIN              MN 55912‐1839
USENIA, CECILE M                 20 BUCKY DR                                                                                 BELLINGHAM          MA 02019‐2849
USEPA‐REGION II SUPERFUND        PAYMENTS‐CINCINNATI FINANCE          CENTER                PO BOX 979076                    SAINT LOUIS         MO 63197‐9000
USERACTIVE INC                   PO BOX 2305                                                                                 CHAMPAIGN            IL 61825‐2305
USEVICZ, THOMAS                  4912 GETNER ST                                                                              NEW PORT RICHEY     FL 34652‐3441
USF BESTWAY                      2633 E INDIAN SCHOOL RD                                                                     PHOENIX             AZ 85016
USF DUGAN INC                    750 E 40TH ST                                                                               HOLLAND             MI 49423‐5342
USF HOLLAND                      GREG SOBECKI                         750 E 40TH ST                                          HOLLAND             MI 49423‐5342
USF HOLLAND                      CINDY JAMES                          750 E 40TH ST                                          HOLLAND             MI 49423‐5342
USF HOLLAND INC                  750 E 40TH ST                                                                               HOLLAND             MI 49423‐5342
USF HOLLAND, INC.                GARY WRIGHT                          750 E 40TH ST                                          HOLLAND             MI 49423‐5342
USF REDDAWAY                     16277 SE 30TH                                                                               CLACKAMAS           OR 97015
USFILTER                         1007 CHURCH ST STE 312                                                                      EVANSTON             IL 60201‐5912
USFO, JEANNE F                   4635 W. 600N                                                                                ANDERSON            IN 46011‐9241
USFO, JOHN                       4635 W 600 N                                                                                ANDERSON            IN 46011‐9241
USG CORPORATION                  MARIA WILLIAMS                       550 W. ADAMS STREET                                    CHICAGO              IL 60661
USGBC DETROIT REGIONAL CHAPTER   26913 NORTHWESTERN HWY STE 200                                                              SOUTHFIELD          MI 48033‐4716
USHASHREE NANDIGALA              38325 LOWELL DR                                                                             FARMINGTON HILLS    MI 48331‐1175
USHER III, WILLIE                28785 STUART AVE                                                                            SOUTHFIELD          MI 48076‐2953
USHER JOHENKINS                  2029 DOWNS PL                                                                               LITHONIA            GA 30058‐7849
USHER MEYMAN
USHER TOOL & DIE, INC            1015 84TH ST SW                                                                             BYRON CENTER       MI 49315
USHER TOOL & DIE, INC            ATTN: CORPORATE OFFICER/AUTHORIZED   1015 84TH ST SW                                        BYRON CENTER       MI 49315‐9301
                                 AGENT
USHER, CARL M                    18421 ROSELAND BLVD                                                                         LATHRUP VLG        MI   48076‐7009
USHER, CHARLES M                 4300 NW 79TH TER APT 12                                                                     KANSAS CITY        MO   64151‐4218
USHER, FRANK E                   1600 EAST COHOCTAH ROAD                                                                     HOWELL             MI   48855‐8205
USHER, FRANK E                   C/O HOLLY ARMSTRONG                  1600 E COHOCTAH RD                                     HOWELL             MI   48855
USHER, GORDON MILES              BOONE ALEXANDRA                      205 LINDA DR                                           DAINGERFIELD       TX   75638‐2107
USHER, JAMES E                   2993 BARCELONA WAY                                                                          CONYERS            GA   30012‐2778
USHER, JANET M                   7103 SHELDON RD                                                                             BELLEVILLE         MI   48111‐5107
USHER, JERLENE J                 2108 TUDOR CASTLE CIR                                                                       DECATUR            GA   30035‐2158
USHER, JERRY T                   6110 BUCKS XING                                                                             MURRAYVILLE        GA   30564‐1439
USHER, KIMBERLY H                2600 HARRISON MILL DR                                                                       DOUGLASVILLE       GA   30135‐4444
USHER, LEE                       5560 PARKWOOD BLVD                                                                          CLARKSTON          MI   48346‐3103
USHER, LYNN                      3011 S SHORE RD                                                                             HADLEY             NY   12835
USHER, RAYMOND C                 4300 NW 79TH TER APT 12                                                                     KANSAS CITY        MO   64151‐4218
USHER, RAYMOND C                 PO BOX 331                                                                                  TONGANOXIE         KS   66086‐0331
USHER, RICHARD                   3999 W. LEONARD                                                                             MARNE              MI   49435‐9721
USHER, RICHARD                   3999 LEONARD ST                                                                             MARNE              MI   49435‐9721
USHER, ROBERT H                  1149 BINGHAM N.W.                                                                           WARREN             OH   44485‐2415
USHER, ROBERT H                  1149 BINGHAM AVE NW                                                                         WARREN             OH   44485‐2415
USHER, SAMUEL S                  5724 STANSBURY AVE                                                                          VAN NUYS           CA   91401‐4234
USHER, SCOTT A                   1394 E M H TOWNLINE RD                                                                      MILTON             WI   53563‐9286
USHER, WILLIAM                   21 DAVID DR                                                                                 NORTH CHILI        NY   14514‐1103
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                       Part 37 of 40 Pg 810 of 901
Name                                Address1                        Address2                           Address3   Address4                 City              State Zip
USHERY, RUBY N                      3497 INGLEDALE DR SW                                                                                   ATLANTA            GA 30331‐2415
USHIRO, RODNEY Y                    1351 LOWER MAIN ST APT 207                                                                             WAILUKU            HI 96793
USHOCK, ELIZABETH J                 10 N WOOD AVE‐502                                                                                      LINDEN             NJ 07036‐5228
USI                                 527 UNION ST                                                                                           MILFORD            MI 48381‐1685
USI INC                             98 FORT PATH RD                                                                                        MADISON            CT 06443‐2264
USI US INDUSTRIES BETEILIGUNGEN     C/O HANS JOACHIM MULH           NEIPPERGER STR 16                             74193 SCHWAIGERN
GIUBTT                                                                                                            GERMANY
USIAK, CHESTER                      123 PROSPECT AVE 2                                                                                     WALTON            NY   13856
USIAK, JAMES R                      5254 MAPLETON RD                                                                                       LOCKPORT          NY   14094‐9293
USIAK, KEVIN J                      4547 DUANE CT                                                                                          BLASDELL          NY   14219‐2222
USIAK, THERESA M                    4547 DUANE CT                                                                                          BLASDELL          NY   14219‐2222
USIAK, WALTER M                     68 ASHLAND AVE APT 1                                                                                   BUFFALO           NY   14222
USILTON, DONALD H                   11808 AUGUSTINE HERMAN HWY                                                                             KENNEDYVILLE      MD   21645‐3174
USILTON, WILLIAM K                  9146 4TH ST # 1                                                                                        BERRIEN SPRINGS   MI   49103‐1637
USIMAKI, BRUCE M                    2835 S FORDNEY RD                                                                                      HEMLOCK           MI   48626‐9717
USINOR AUTO                         5 RUE LUIGI CHERUBINI                                                         LA PLAINE ST. DENIS F‐
                                                                                                                  93212 FRANCE
USIONDEK, CASIMER W                 28 W ADAMS AVE                  C/O WAYNE W. WILSON                STE 800                             DETROIT           MI 48226‐1650
                                                                    CONSERVATOR
USIONDEK, RETA M                    212 DRIFTWOOD DR                                                                                       PORT CLINTON      OH   43452‐1408
USITALO, HERBERT R                  3759 CEDAR BAY RD                                                                                      CALUMET           MI   49913‐8817
USITALO, JOYCE V                    3759 CEDAR BAY RD                                                                                      CALUMET           MI   49913‐8817
USKO EDWIN J (455394)               COHAN LAWRENCE R                1900 DELANCEY PLACE , 1710                                             PHILADELPHIA      PA   19103
                                                                    SPRUCE ST
USKO, ANNA H                        8030 THOMP. SHARPSVILLE, NE                                                                            MASURY            OH 44438
USKO, EDWIN J                       COHAN LAWRENCE R                1900 DELANCEY PLACE, 1710 SPRUCE                                       PHILADELPHIA      PA 19103
                                                                    ST
USKO, EDWIN J                       116 ROUTE 31 S                                                                                         PENNINGTON        NJ   08534‐3507
USKUP, SEZGIN G                     990 N LAKE SHORE DR APT 28C                                                                            CHICAGO           IL   60611‐1380
USL CONTINUING EDUCATION            PO BOX 43372                                                                                           LAFAYETTE         LA   70504‐3372
USLYS WALKER                        1090 ZUNI DR                                                                                           BURTON            MI   48509‐1449
USMAN KHAN                          35185 DRAKESHIRE PL APT 101                                                                            FARMINGTON        MI   48335
USMAN, ALEEM R                      814 N BROADWAY ST                                                                                      DAYTON            OH   45402‐6247
USMAN, SALMA J                      818 N BROADWAY ST                                                                                      DAYTON            OH   45402‐6247
USMD HOSPITAL AT ARL                PO BOX 849043                                                                                          DALLAS            TX   75284‐43
USNARSKI, EUGENE T                  13 OAK HILL DR                                                                                         WEST MIDDLESEX    PA   16159‐3725
USNARSKI, EUGENE T                  13 OAK HILL DRIVE                                                                                      W. MIDDLESEX      PA   16159‐3725
USNARSKI, ROBERT L                  P.O. BOX 185                                                                                           W. MIDDLESEX      PA   16159‐0185
USNARSKI, ROBERT L                  PO BOX 185                                                                                             WEST MIDDLESEX    PA   16159‐0185
USNICK FREDERICK (464320) ‐ USNIK   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                          CLEVELAND         OH   44114
FREDERICK                                                           BOND COURT BUILDING
USNIK, FREDERICK                    KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                           CLEVELAND         OH 44114
                                                                    BOND COURT BUILDING
USO OF HAMPTON ROADS                ATTN JOSIE RUSIA                PO BOX 7250                                                            HAMPTON           VA   23666‐0250
USO WORLD HEADQUARTERS              ATTN MICHELLE WARNER            2111 WILSON BLVD STE 1200                                              ARLINGTON         VA   22201‐3052
USO, TUNDE                          5958 CULZEAN DR APT 1508                                                                               TROTWOOD          OH   45426‐1241
USON LP                             5215 HOLLISTER ST                                                                                      HOUSTON           TX   77040‐6205
USON LP                             4102 WAY OUT WEST DR STE L                                                                             HOUSTON           TX   77092‐4446
USON LP                             31471 UTICA RD                  STE A                                                                  FRASER            MI   48026‐2588
USON LP                             8640 N ELDRIDGE PKWY                                                                                   HOUSTON           TX   77041‐1233
USON LP                             31471 UTICA RD STE A                                                                                   FRASER            MI   48026‐2588
USON LP                             8226 BRACKEN PL SE STE 100                                                                             SNOQUALMIE        WA   98065‐9235
                              09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                Part 37 of 40 Pg 811 of 901
Name                          Address1                       Address2                     Address3   Address4         City             State Zip
USON TECHNICAL INC            8640 N ELDRIDGE PKWY                                                                    JERSEY VLG        TX 77041‐1233
USON/HOUSTON                  8640 N ELDRIDGE PKWY                                                                    HOUSTON           TX 77041‐1233
USON/NOVI                     22777 HESLIP DR                C/O MRM INC.                                             NOVI              MI 48375‐4144
USONIS, JUDY C                13713 HUNTING RUN DR                                                                    FREDERICKSBURG    VA 22407‐2901
USORO, PATRICK B              6748 PINE WAY DR                                                                        TROY              MI 48098‐2094
USP/VMF                       320 SW FIFTH STREET                                                                     OKLAHOMA CITY     OK 73125
USPCI                         PO BOX 201831                                                                           HOUSTON           TX 77216‐1831
USPCI                         PO BOX 13618                                                                            NEWARK            NJ 07188‐3618
USPCI‐LAIDLAW/COLUMB          PO BOX 210799                                                                           COLUMBIA          SC 29221‐0799
USPCI‐LAIDLAW/SAWYER          PO BOX 168                     ECHO MOUNTAIN FACILITY                                   SAWYER            ND 58781‐0168
USPS                          1087 RARITAN RD                                                                         CLARK             NJ 07066‐1314
USPS                          1000 GENERAL MOTORS DR                                                                  JANESVILLE        WI 53546‐2531
USPS COVINGTON                2211 W MAIN STREET                                                                      COVINGTON         VA 24426
USPS VEH MAINT FAC            109 LUDY ST                                                                             HICKSVILLE        NY 11801‐5114
USPS VMF                      1135 BROADWAY NE                                                                        ALBUQUERQUE       NM 87101
USPS VMF                      5300 E PAISANO DR                                                                       EL PASO           TX 79905‐2931
USPS VMF                      200 N TEXAS AVE                                                                         ODESSA            TX 79761‐5127
USPS WAR AD MGR VEH PROG      1800 PAGE BLVD                                                                          SPRINGFIELD       MA 01152
USPS WAR AD MGR VEH PROG      918 NW PARK AVE                                                                         PORTLAND          OR 97209‐3400
USPS WAR AD VEH MAIN          707 CHESTNUT ST                                                                         NASHVILLE         TN 37203‐4701
USPS, KANSAS CITY, MO         315 W. PERSHING                                                                         KANSAS CITY       MO 64108
USPS,WARRANTY ADMINISTRATOR   1760 W 2100 S                                                                           SALT LAKE CITY    UT 84199‐0002
USPS‐VMF                      44 P. O. SQUARE                                                                         LOWELL            MA 01852
USPS/DEL & RET PROG           22363 RANDOLPH DR                                                                       STERLING          VA 20166‐9103
USPS/VEH MAINT FACILITY       1000 W VALLEY RD                                                                        SOUTHEASTERN      PA 19399‐9000
USPS/VEH MAINT FACILITY       1124 PACIFIC ST                                                                         OMAHA             NE 68108
USPS/VEHICLE MAINT FAC        1801 BROADWAY AVE                                                                       CLEVELAND         OH 44101
USPS/VMF                      2801 WASHINGTON AVE                                                                     HOUSTON           TX 77007‐6025
USPS/VMF                      1300 EAST 86TH STREET                                                                   INDIANAPOLIS      IN 46240
USPS/VMF                      E 703 TRENT AVE                                                                         SPOKANE           WA 99202
USPS/VMF                      451 COLLEGE ST                                                                          MACON             GA 31213‐6701
USPS/VMF                      2901 SOUTH I‐85                                                                         CHARLOTTE         NC 28228
USPS/VMF                      171 KENNEBEC ST                                                                         PORTLAND          ME 04101‐1904
USPS/VMF                      4600 MARK IV PKWY                                                                       FORT WORTH        TX 76161‐8500
USPS/VMF                      740 S. CANAL                                                                            CHICAGO            IL 60699
USPS/VMF                      11902 N FLORIDA AVE                                                                     TAMPA             FL 33612‐5222
USREY, DONALD E               303 E 14TH ST                                                                           MIO               MI 48647‐9051
USREY, HELEN R                104 EAST SOUTH STREET                                                                   NIXA              MO 65714‐8850
USREY, WINIFRED               411 WESTERN ROW RD UNIT 224                                                             MASON             OH 45040‐1438
USRY, AMY W                   2008 S 11TH ST                                                                          GADSDEN           AL 35904
USS‐STELCO                    BERT PHILLIPS                  5850 NEW KING CT                                         TROY              MI 48098‐2692
USSA                          PO BOX 100                                                                              PARK CITY         UT 84060‐0100
USSAT, CHRISTINA A            11887 S WOLF CREEK PIKE                                                                 BROOKVILLE        OH 45309‐9340
USSAT, PHILIP C               3116 POWHATTAN PL                                                                       KETTERING         OH 45420‐1241
USSELMAN, HALINA M            377 CAMELLIA DRIVE                                                                      FRUITLAND PARK    FL 34731‐6757
USSERY JR, LAWRENCE           1734 W ROBINSON LAKE RD                                                                 ROSCOMMON         MI 48653‐8554
USSERY RUTH (644879)          OBRIEN LAW FIRM                1 METROPOLITAN SQ STE 1500                               SAINT LOUIS       MO 63102‐2799
USSERY VICKI                  1298 HEAD RD                                                                            JULIETTE          GA 31046‐3440
USSERY, BENJAMIN F            29639 STELLAMAR DR                                                                      SOUTHFIELD        MI 48076
USSERY, CARRIE C              120 COTIE RD                                                                            LAWNDALE          NC 28090‐9237
USSERY, CARRIE C              120 COTIE RD.                                                                           LAWNDALE          NC 28090
USSERY, CARRIE L              9016 QUINCY ST                                                                          DETROIT           MI 48204‐2313
                                   09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
                                                                         Part 37 of 40 Pg 812 of 901
Name                               Address1                           Address2                     Address3   Address4                City              State Zip
USSERY, CHARLES F                  4532 CHARLES ST                                                                                    DETROIT            MI 48212‐2422
USSERY, CLIFFORD                   25444 DOVER 126                                                                                    REDFORD            MI 48239
USSERY, FRANKLIN E                 9339 MCQUADE                                                                                       DETROIT            MI 48206
USSERY, GERALD E                   15247 ROCHELLE ST                                                                                  DETROIT            MI 48205‐4154
USSERY, GERALD EDWARD              15247 ROCHELLE ST                                                                                  DETROIT            MI 48205‐4154
USSERY, GUINEVERE                  1713 WOODWARD HEIGHTS WAY                                                                          N LAS VEGAS        NV 89032‐7799
USSERY, JIMMIE B                   RIVERS BECK DALRYMPLE AND LEDET    PO BOX 12850                                                    ALEXANDRIA         LA 71315‐2850
USSERY, LEE                        175 TROPICAL WAY                                                                                   FREEPORT           FL 32439‐4787
USSERY, LIONEL                     PO BOX 17                                                                                          SWAYZEE            IN 46986‐0017
USSERY, MABEL A                    7193 W COUNTY ROAD 950 N                                                                           MIDDLETOWN         IN 47356‐9328
USSERY, OLIVER                     3371 JOSEPHINE ST                                                                                  LYNWOOD            CA 90262
USSERY, ROBERT L                   13990 DEER RUN LN                                                                                  BYRON              MI 48418
USSERY, ROBERT R                   74 MYLEE DR                                                                                        BALL               LA 71405‐3258
USSERY, WILLIAM                    GUY WILLIAM S                      PO BOX 509                                                      MCCOMB             MS 39649‐0509
USSOCOM REGIONAL CONTRACTING OFC   PO BOX 70660                                                                                       FORT BRAGG         NC 28307‐0660
RDA
USSPI (US SUBURBAN PRESS)          428 E STATE PKWY STE 226                                                                           SCHAUMBURG        IL   60173‐6408
UST INC                            PO BOX 165                                                                                         DUNDEE            MI   48131‐0165
USTASZEWSKI, EDWIN H               32874 COUNTY ROAD 669                                                                              LAWTON            MI   49065‐9427
USTICK, MARGARET E                 930 SAN SALVADOR DR                                                                                DUNEDIN           FL   34698‐4423
USTICK, NICHOLAS R                 32876 BALMORAL ST                                                                                  BEVERLY HILLS     MI   48025‐3007
USTIN CHASHCHIKHIN
USTINOVICH, MONICA T               140 MAYWOOD ST APT 1                                                                               WORCESTER         MA   01603‐2541
USTISHEN RICK                      17312 BUECHE RD                                                                                    NEW LOTHROP       MI   48460‐9604
USTISHEN, EDWARD P                 1116 VOLKMER RD                                                                                    MONTROSE          MI   48457‐9303
USTISHEN, EDWARD PAUL              1116 VOLKMER RD                                                                                    MONTROSE          MI   48457‐9303
USTISHEN, FRED L                   PO BOX 212                                                                                         NEW LOTHROP       MI   48460‐0212
USTISHEN, KAL M                    17312 BUECHE RD                                                                                    NEW LOTHROP       MI   48460‐9604
USTISHEN, PAULINE B                1155 FERDEN RD                                                                                     NEW LOTHROP       MI   48460‐9616
USTISHEN, RICHARD L                17312 BUECHE RD                                                                                    NEW LOTHROP       MI   48460‐9604
USTRUD, CLAYTON P                  14733 LOWER ENDICOTT WAY                                                                           APPLE VALLEY      MN   55124‐6451
▄ST▄N ANKARA                       GROTHWISCH 48                      22457 HAMBURG                                                   HAMBURG           DE
▄ST▄N ANKARA                       GROTHWISCH 48                      22457 HAMBURG                                                   HAMBURG           DE
USUELLI DANIELE                    VIALE DEI MILLE 14
USUELLI FRANCESCA                  VIALE ARGONNE 30
USUELLI MICHELE                    VIALE DEI MILLE 14
USUI INTERNATIONAL CORP            1045 REED RD                                                                                       MONROE            OH   45050
USUI INTERNATIONAL CORP            HAJIME MIZUNO                      550 WOODLAKE CIRCLE, STE A                                      MADISON HEIGHTS   MI   48071
USUI INTERNATIONAL CORP            550 WOODLAKE CIR STE A                                                                             CHESAPEAKE        VA   23320‐8928
USUI INTERNATIONAL CORP            45650 MAST ST                                                                                      PLYMOUTH          MI   48170‐6007
USUI INTERNATIONAL CORP            8970 DEERFIELD DR                                                                                  OLIVE BRANCH      MS   38654‐3818
USUI INTERNATIONAL CORPORATION     RICHIE COKER                       8970 DEERFIELD                          SHANGHAI 201206 CHINA
                                                                                                              (PEOPLE'S REP)
USUI INTERNATIONAL CORPORATION     STEVE EVANSX224                    1045 REED STREET                        DAEGU KOREA (REP)
USUI KOKUSAI SANGYO KAISHA LTD     45650 MAST ST                                                                                      PLYMOUTH          MI   48170‐6007
USUI KOKUSAI SANGYO KAISHA LTD     550 WOODLAKE CIR STE A                                                                             CHESAPEAKE        VA   23320‐8928
USUI KOKUSAI SANGYO KAISHA LTD     8970 DEERFIELD DR                                                                                  OLIVE BRANCH      MS   38654‐3818
USUI KOKUSAI SANGYO KAISHA LTD     HAJIME MIZUNO                      550 WOODLAKE CIRCLE, STE A                                      MADISON HEIGHTS   MI   48071
USUI KOKUSAI SANGYO KAISHA LTD     RICHIE COKER                       8970 DEERFIELD DR                                               OLIVE BRANCH      MS   38654‐3818
USUI KOKUSAI SANGYO KAISHA LTD     STEVE EVANSX224                    1045 REED STREET                        DAEGU KOREA (REP)
USUI KOKUSAI SANGYO KAISHA LTD     131‐2 NAGASAWA SHIMIZUCHO                                                  SUNTO‐GUN JP 411‐8610
                                                                                                              JAPAN
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                   Exhibit B
                                                                         Part 37 of 40 Pg 813 of 901
Name                                 Address1                             Address2                          Address3                   Address4                 City             State Zip
USVIA SOLES III                      2642 PINETREE DR                                                                                                           FLINT             MI 48507‐1842
USW                                  FIVE GATEWAY CENTER                                                                                                        PITTSBURGH        PA
USW                                  DELPHI                               ATTN: GENERAL COUNSEL             5725 DELPHI DR                                      TROY              MI 48098‐2815
USWA                                 DELPHI AUTOMOTIVE SY                 ATTN: GENERAL COUNSEL             5725 DELPHI DR                                      TROY              MI 48098‐2815
USWA                                 1510 N JOHNSON ST                                                                                                          BAY CITY          MI 48708‐5482
USWA                                 1090 VERMONT AVE NW STE 800                                                                                                WASHINGTON        DC 20005‐4961
USWA LOCAL 87                        2300 ASHLAND AVENUE                                                                                                        TOLEDO            OH 43620
USWA LOCAL 87                        DELPHI AUTOMOTIVE SYSTEMS            ATTN: GENERAL COUNSEL             5725 DELPHI DR                                      TROY              MI 48098‐2815
USX CORPORATION                      USX REALTY DEVELOPMENT               PO BOX 640104                                                                         PITTSBURGH        PA 15264‐0104
USYAK PAUL (ESTATE OF) (640606)      COONEY & CONWAY                      120 NORTH LASALLE STREET , 30TH                                                       CHICAGO            IL 60602
                                                                          FLOOR
USYAK, PAUL                          COONEY & CONWAY                      120 NORTH LASALLE STREET, 30TH                                                        CHICAGO           IL   60602
                                                                          FLOOR
UT DAY SURGERY                       1934 ALCOA HWY STE 170                                                                                                     KNOXVILLE        TN 37920‐1525
UT FOUNDATION                        PO BOX 586                                                                                                                 TOLEDO           OH 43682‐0001
UT FOUNDATION PROGRESS FUND          THE UNIVERSITY OF TOLEDO             COLLEGE OF ENGINEERING            5005 NITSCHKE HALL MS NO                            TOLEDO           OH 43606
                                                                                                            310
UT PHYSICIANS LLC RA                 PO BOX 74386                                                                                                               CLEVELAND        OH    44194‐0002
UT SOUTHWESTERN MSP                  PO BOX 845347                                                                                                              DALLAS           TX    75284‐47
UT SOUTHWESTERN ST P                 PO BOX 849928                                                                                                              DALLAS           TX    75284‐28
UT‐BATELLE LLC                       1 BETHEL VALLEY RD                   PO BOX 2008                                                                           OAK RIDGE        TN    37830‐8050
UT‐BATELLE LLC, OAK RIDGE NATIONAL   1 BETHEL VALLEY RD                   PO BOX 2008                                                                           OAK RIDGE        TN    37830‐8050
LABORATORY
UT‐BATELLE, LLC                      ATTN: BUSINESS MANAGER, TECHNOLOGY PO BOX 2008                                                                             OAK RIDGE        TN 37831‐2008
                                     TRANSFER AND ECONOMIC DEVELOPMENT

UT‐BATELLE, LLC                      DONALD J. ADAMS                      PO BOX 2008                       MS‐6472                                             OAK RIDGE        TN 37831‐2008
UT‐BATELLE, LLC                      CHRISTY W. GRIFFITH, FINANCE MANAGER PO BOX 2008                       MS‐6499                                             OAK RIDGE        TN 37831‐2008

UT‐BATELLE, LLC                      ATTN: GENERAL COUNSEL                PO BOX 2008                                                                           OAK RIDGE        TN    37831‐2008
UT‐BATELLE, LLC                      ATTN: GENERAL COUNSEL                1 BETHEL VALLEY RD                PO BOX 2008                                         OAK RIDGE        TN    37830‐8050
UT‐BATTELLE                          ATTN: GENERAL COUNSEL                1 BETHEL VALLEY RD                PO BOX 2008                                         OAK RIDGE        TN    37830‐8050
UT‐BATTELLE LLC                      OAK RIDGE NATIONAL LABORATORY        PO BOX 2008 MS‐6437                                                                   OAK RIDGE        TN    37831
UT‐BATTELLE LLC                      PO BOX 888071                                                                                                              KNOXVILLE        TN    37995‐8071
UT‐BATTELLE, LLC                     ATTN: GENERAL COUNSEL                1 BETHEL VALLEY RD                PO BOX 2008                                         OAK RIDGE        TN    37830‐8050
UTA + GUENTER WESSEL                 HERMANN‐EHLERS‐STRASSE 58‐60                                                                      63456 HANAU GERMANY
UTA GREENVIL/OH                      6010 JAYSVILLE & ST. JOHNS ROAD                                                                                            GREENVILLE       OH 45331
UTA REGLITZKI                        HAUPTSTR 55                                                                                       24882 SCHAALBY GERMANY
UTA RETTELBUSCH                      BIRKENWEG 9                                                                                       09648 MITTWEIDA
                                                                                                                                       GERMANY
UTAC                                 AUTODROMEDE LINAS‐MONTLHERY          BP 212                                                       MONTLHERY F‐91311
                                                                                                                                       FRANCE
UTAC INTERNATIONAL                   8 RUE DU ROULIN                                                                                   ROODT SUR SYRE L 6914
                                                                                                                                       LUXEMBOURG
UTAC INTERNATIONAL SPRL              RUE DU MOULIN 8                      PO BOX 11                                                    ROODT‐SUR‐SYRE LU 6901
                                                                                                                                       LUXEMBOURG
UTACHT, JEAN E                       5125 PENSACOLA BLVD.                 C/O SARA N. FUSON                                                                     DAYTON           OH    45439‐2942
UTAH AUTO AUCTION                    PO BOX 870384                                                                                                              WOODS CROSS      UT    84087‐0384
UTAH AUTO AUCTION                    1650 W 500 S                                                                                                               WEST BOUNTIFUL   UT    84087‐2226
UTAH AUTO DEALER ASSOCIATION         1588 S MAIN ST STE 100                                                                                                     SALT LAKE CITY   UT    84115‐5360
UTAH COLLEGE OF MASSAGE THERAPY      25 SOUTH                             300 EAST                                                                              SALT LAKE CITY   UT    84103
UTAH COUNTY ASSESSOR                 100 E CENTER ST                                                                                                            PROVO            UT    84606‐3106
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                          Part 37 of 40 Pg 814 of 901
Name                                 Address1                               Address2                         Address3               Address4                  City               State Zip
UTAH COUNTY ASSESSOR                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 100 E CENTER ST                                                                   PROVO               UT 84606‐3106

UTAH DEPARTMENT OF EMPLOYMENT
SECURITY
UTAH DIVISION OF CORPORATION &       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 25125                     COMMERCIAL                                       SALT LAKE CITY     UT 84125‐0125

UTAH DIVISION OF CORPORATION &       PO BOX 25125                           COMMERCIAL                                                                        SALT LAKE CITY     UT   84125‐0125
UTAH DOCKERY JR                      1304 BUNCH BLVD APT 31                                                                                                   MUNCIE             IN   47303‐5068
UTAH INTERNATIONAL AUTO SHOW         C/O MOTOR TREND AUTO SHOWS             6405 FLANK DR                                                                     HARRISBURG         PA   17112
UTAH STATE COMMISSION                ATTN LESLIE LINN                       RENAISSANCE CTR TOWER 300        MC 482‐C31‐D46                                   DETROIT            MI   48265‐0001
UTAH STATE TAX COMMISSION
UTAH STATE TAX COMMISSION            MOTOR VEHICLE ENFORCEMENT DIV          210 N 1950 W                                                                      SALT LAKE CITY     UT 84134‐9000
UTAH STATE TAX COMMISSION            ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 210 N 1950 W                                                                      SALT LAKE CITY     UT 84134‐9000

UTAH STATE TAX COMMISSION           210 N 1950 W                                                                                                              SALT LAKE CITY     UT 84134‐9000
UTAH STATE TAX COMMISSION           210 N 1950 WEST                                                                                                           SALT LAKE CITY     UT 84134‐0001
UTAH STATE TAX COMMISSION SALES TAX 160 E THIRD S                                                                                                             SALT LAKE CITY     UT 84134‐0001

UTAH STATE TAX COMMISSION SALES TAX ‐ 210 N 1950 W                                                                                                            SALT LAKE CITY     UT 84134‐9000
M
UTAH STATE TREASURER                  UNCLAIMED PROPERTY DIVISION           341 SOUTH MAIN ST 5TH FLOOR                                                       SALT LAKE CITY     UT   84111
UTAH STATE TREASURER'S OFFICE         E315 CAPITOL COMPLEX                  PO BOX 161108                                                                     SALT LAKE CITY     UT   84114
UTAH STATE UNIVERSITY                 FINANCIAL AID OFFICE                  1800 OLD MAIN HL                                                                  LOGAN              UT   84322‐1800
UTAH STATE UNIVERSITY                 2400 OLD MAIN HL                      LOAN OFFICE                                                                       LOGAN              UT   84322‐2400
UTAH STATE UNIVERSITY EXTENSION       3080 OLD MAIN HL                      INDEPENDENT AND DIST EDUCATION                                                    LOGAN              UT   84322‐0001

UTAH STATE UNIVERSITY‐MOTOR POOL                                            1400 N 900 E                                                                                         UT 84322

UTAH VALLEY STATE COLLEGE            BUSINESS OFFICE MS109                  800 WEST UNIVERSITY PKWY                                                          OREM               UT 84058
UTAH VALLEY STATE COLLEGE
UTAKO ARAMAKI                        3674 S 645 E                                                                                                             SALT LAKE CITY     UT 84106‐1146
UTAMA DOMINIK                        42790 REBECCA CT                                                                                                         BELLEVILLE         MI 48111
UTARA, VICTOR                        1639 CALLE DE ROJA DR SE               C/O JOE S UTARA                                                                   RIO RANCHO         NM 87124‐8713
UTAS AUTOMOTIVE SYSTEMS OF AMERICA   XIAXI CHANGZHOU 213148 JIANGSU         DO NOT PLACE ON ASSIGNMENT                              CHINA
INC
UTAS TONGDA ELECTRICAL SYSTEMS CO    PHILIP ZHANG                           6170 MIDDLEBELT RD               C/O AIR & SEA PAK CO                             ROMULUS            MI 48174‐4237

UTAS TONGDA ELECTRICAL SYSTEMS CO    PHILIP ZHANG                           C/O AIR & SEA PAK CO             6170 MIDDLEBELT                                  BROWNSTOWN TWP     MI 48183

UTAS‐NOVA AUTOMOTIVE                 LIGHTING SYSTEMS CO LTD                001 INDUSTRIAL PARK                                     XINQIAO, DANYANG,
                                                                                                                                    JIANGSU PR 212322 CHINA
UTAS‐NOVA AUTOMOTIVE LIGHTING        001 WAIZI INDUSTRIAL PARK              XINQIAO TOWN                                            DANYANG JIANGSU CN
                                                                                                                                    212322 CHINA (PEOPLE'S
                                                                                                                                    REP)
UTAS‐NOVA AUTOMOTIVE SYSTEMS         PHILIP ZHANG                           6170 MIDDLEBELT RD               C/O AIR & SEA PAK CO                             ROMULUS            MI   48174‐4237
UTAS‐NOVA AUTOMOTIVE SYSTEMS         PHILIP ZHANG                           C/O AIR & SEA PAK CO             6170 MIDDLEBELT                                  BROWNSTOWN TWP     MI   48183
UTBERG LAWRENCE                      7044 RUSHWOOD DR                                                                                                         EL DORADO HILLS    CA   95762‐5002
UTC FUEL CELLS LLC                   195 GOVERNORS HWY                                                                                                        SOUTH WINDSOR      CT   06074‐2419
UTC OF GHANA LTD.                    186                                                                                            ACCRA GHANA
UTCHELL, KATHARINE                   4493 RAYBURN ST                                                                                                          WESTLAKE VILLAGE   CA 91362‐4723
UTE FAULSTICH                        AM BENTENSKAMP 38                                                                              44143 DORTMUND
                                                                                                                                    GERMANY
                                         09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
                                                                            Part 37 of 40 Pg 815 of 901
Name                                     Address1                                Address2                      Address3       Address4                  City              State Zip
UTE GADDIS                               FINGERHUTWEG 16                         38678 CLAUSTHAL‐ZELLERFELD
UTE GADDIS                               FINGERHUTWEG 16                                                                      38678 CLAUSTHAL‐
                                                                                                                              ZELLERFELD GERMANY
UTE HOFFMANN                             667 LARCHMONT PL                                                                                               GOLETA             CA 93117‐1723
UTE IGEL                                 ZAUCHE 5                                                                             9904 THURN AUSTRIA
UTE KILIAN                               RAIFFEISENSTR. 18                       D‐82346 ANDECHS
UTE KILIAN & DOGAN SAVCI                 RAIFFEISENSTR 18                                                                     D‐82346 ANDECHS
                                                                                                                              GERMANY
UTE KIRCHRATH                            ISOLANISTR 13                                                                        51067 KOLN GERMANY
UTE LINK                                 HAINBUCHENSTRASSE 9                     72336 BALINGEN
UTE PIEPER‐SECKELMANN                    11, RUE DES PRUNELLES                                                                L‐5371 SCHUTTRANGE
                                                                                                                              LUXEMBOURG
UTE REGLITZKI                            HAUPTSTRASSE 55                         SCHAALBY                      24882
UTE SUESS                                HEUBNERSTRASSE 9                                                                     09599 FREIBERG GERMANY
UTE VOGEL                                HAUS BROEL                                                                           D‐59514 WELVER‐BORGELN
                                                                                                                              GERMANY
UTECHNIQUES INC                          210 W UNIVERSITY DR STE 6                                                                                      ROCHESTER         MI    48307‐1975
UTECHNIQUES/MI                           339 EAST ST                                                                                                    ROCHESTER         MI    48307‐2017
UTECHT, CHESTER                          25706 MARITIME CIR S                                                                                           HARRISON TWP      MI    48045‐3074
UTECHT, MICHAEL J                        31 ROSWELL AVE                                                                                                 BUFFALO           NY    14207‐1038
UTENDAHL CAPITAL MANAGEMENT              30 BROAD ST FL 21                                                                                              NEW YORK          NY    10004‐2900
UTEP CAREER SERVICES                     500 W UNIVERSITY                        103 WEST UNION BLDG                                                    EL PASO           TX    79968‐8900
UTERMAHLEN, BYRON B                      843 JOHAHN DR                                                                                                  WESTMINSTER       MD    21158‐4209
UTHE, CYNTHIA A                          15822 N 172ND LN                                                                                               SURPRISE          AZ    85388‐0230
UTHE, FLOYD H                            2135 HUNTERS WAY CT                                                                                            CHESTERFIELD      MO    63017‐5025
UTHE, RALPH J                            1531 W GRAND CANYON DR                                                                                         CHANDLER          AZ    85248‐4816
UTHE, SHARON K                           6521 STADIUM DR APT 2                                                                                          KANSAS CITY       MO    64129‐1865
UTHEMANN, JURGEN K                       3583 S 95TH ST                                                                                                 MILWAUKEE         WI    53228‐1405
UTHMAN, FIGME                            306 BEECHWOOD AVE                                                                                              LIVERPOOL         NY    13088‐6234
UTHURUSAMY, DEVAKI                       80 GROSSE PINES DR                                                                                             ROCHESTER HILLS   MI    48309‐1828
UTHURUSAMY, RAMASAMY                     80 GROSSE PINES DR                                                                                             ROCHESTER HILLS   MI    48309‐1828
UTHURUSAMY,RAMASAMY                      80 GROSSE PINES DR                                                                                             ROCHESTER HILLS   MI    48309‐1828
UTI                                      CHRIS DALE                              100 OCEANGATE                                                          LONG BEACH        CA    90802‐4395
UTI AUST PTY LTD                         MELBOURNE                               12 TRADE PARK DR                             TULLAMARINE VIC 3043
                                                                                                                              AUSTRALIA
UTI BELGIUM                              INDUSTRIELAAN 52                        B 2900 SCHOTEN                               SCHOTEN B 2900 BELGIUM
UTI BELGIUM                              BRUCARGO M34                                                                         BRUCARGO B 1931
UTI DEUTSCHLAND GMBH                     LUETTICHER STR 12                                                                    TROISDORF 53842
                                                                                                                              GERMANY
UTI DO BRASIL LTDA                       AVENIDA SANTA CATARINA 325              CEP 04635 001                                SAO PAULO BRAZIL BRAZIL
UTI LIMITED PARTNERSHIP                  #130 3553‐31 STREET NW                                                               CALGARY CANADA AB T2L
                                                                                                                              2K7 CANADA
UTI LOGISTICS ARGENTINA SA CC PESOS      AV ALICIA MOREAU DE JUSTO 550           1 E CAPITAL FEDERAL 1107                     BUENOS AIRES ARGENTINA

UTI LOGISTICS MEX SA DE CV PASEO DE LA   404 PISO 6 COLONIA JUAREZ MX            DE DELEGACION CUAUHTEMOC CP                  06600 MEXICO MEXICO
REFORMA
UTI UNITED STATES INC                    48 S SERVICE RD STE 220                                                                                        MELVILLE          NY    11747‐2335
UTI UNITED STATES INC                    1660 WALT WHITMAN RD                                                                                           MELVILLE          NY    11747
UTI UNITED STATES INC                    PO BOX 19043                                                                                                   NEWARK            NJ    07195‐0043
UTI UNITED STATES, INC.                  STEPHEN C. SAVARESE, VICE PRESIDENT &   900 CUMMINGS CENTER           SUITE 403T I                             BEVERLY           MA    01915
                                         GLOBAL DEPUTY GENERAL COUNSEL
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                       Part 37 of 40 Pg 816 of 901
Name                                Address1                             Address2              Address3            Address4                 City               State Zip
UTI WORLDWIDE INC                   CHRIS DALE                           100 OCEANGATE                                                      LONG BEACH          CA 90802‐4395
UTICA BODY & ASSEMBLY INC           13231 23 MILE RD                                                                                        SHELBY TOWNSHIP     MI 48315‐2713
UTICA COLLEGE                       CORPORATE & PROFESSIONAL PROGR       1600 BURRSTONE RD     ATTN JONI PULLIAM                            UTICA               NY 13502‐4857
UTICA COLLEGE                       BUSINESS OFFICE                      1600 BURRSTONE RD                                                  UTICA               NY 13502‐4857
UTICA COMMUNITY SCHOOLS             ATTN COMMUNITY EDUCATION             51041 SHELBY RD                                                    SHELBY TOWNSHIP     MI 48316‐4052
UTICA COMMUNITY SCHOOLS             11303 GREENDALE DR                                                                                      STERLING HEIGHTS    MI 48312‐2925
COMMUNITY EDCUCATION
UTICA ENGINEERING CO                13231 23 MILE RD                                                                                        SHELBY TOWNSHIP    MI    48315‐2713
UTICA ENTER/CHESTERF                50325 PATRICIA ST                                                                                       CHESTERFIELD       MI    48051‐3803
UTICA ENTER/NON                     50325 PATRICIA ST                                                                                       CHESTERFIELD       MI    48051‐3803
UTICA ENTER/SHELBY                  13231 23 MILE RD                                                                                        SHELBY TOWNSHIP    MI    48315‐2713
UTICA ENTERPRISES INC
UTICA ENTERPRISES INC               32201 N AVIS DR                                                                                         MADISON HEIGHTS    MI    48071‐1502
UTICA ENTERPRISES INC               13231 23 MILE RD                                                                                        SHELBY TOWNSHIP    MI    48315‐2713
UTICA METAL PRODUCTS INC            RANDY NORDYKE                        1526 LINCOLN AVENUE                                                GEORGETOWN         KY    40324
UTICA METAL PRODUCTS INC            1526 LINCOLN AVE                                                                                        UTICA              NY    13502‐5200
UTICA METAL PRODUCTS INC.           RANDY NORDYKE                        1526 LINCOLN AVENUE                                                GEORGETOWN         KY    40324
UTICA MUTUAL INSURANCE CO           ATTN: PAUL STRYCHARZ                 CL # 1161801          PO BOX 6587                                  UTICA              NY    13504‐6587
UTICA NATIONAL INS CO               A/S/O THOMAS & MARY KELLY            PO BOX 6589                                                        UTICA              NY    13504
UTICA PROD/ROCH HILL                2139 AUSTIN AVE                                                                                         ROCHESTER HILLS    MI    48309‐3668
UTICA PRODUCTS INC                  13231 23 MILE RD                                                                                        SHELBY TOWNSHIP    MI    48315‐2713
UTICA RENT‐ALL INC                  43961 VAN DYKE AVE                                                                                      UTICA              MI    48317‐5475
UTICA STEEL                         48000 STRUCTURAL DR                                                                                     CHESTERFIELD       MI    48051‐2629
UTICA STEEL INC                     48000 STRUCTURAL DR                                                                                     CHESTERFIELD       MI    48051‐2629
UTICA TRANSPORT INC                 511 BROWN RD                                                                                            ORION              MI    48359‐2200
UTICA TRANSPORTATION INC            PO BOX 462                                                                                              UTICA              OH    43080‐0462
UTICA TRUCK SALES                   9411 RIVER RD                                                                                           MARCY              NY    13403‐2072
UTICA, RONALD D                     2473 WAYBURN AVE                                                                                        MOUNT MORRIS       MI    48458‐8203
UTILASE/DETROIT                     20101 HOOVER ST                                                                                         DETROIT            MI    48205‐1031
UTILIMASTER CORP                    JEFFREY BONEBRAKE                    PO BOX 585                                                         WAKARUSA           IN    46573‐0585
UTILIMASTER CORP.                   65266 STATE ROAD 19                                                                                     WAKARUSA           IN    46573‐9310
UTILIMASTER CORP.                   JEFFREY BONEBRAKE                    PO BOX 585                                                         WAKARUSA           IN    46573‐0585
UTILIMASTER CORP.
UTILIMASTER CORPORATION             ATTN: CORPORATE OFFICER/AUTHORIZED   9249 PAYSPHERE CIR                                                 CHICAGO             IL   60674‐0092
                                    AGENT
UTILITIES INSTRUMENTATION SERVICE   ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 981123                                                      YPSILANTI          MI 48198‐1123
                                    AGENT
UTILITIES, INC.                     KENDRA ROSE                          2335 SANDERS RD                                                    NORTHBROOK          IL   60062‐6108
UTILITY INTERNATIONAL INC           610 FINLEY AVE                                                                 AJAX CANADA ON L1S 2E3
                                                                                                                   CANADA
UTILITY PARTNERS OF AMERICA         316 PRADO WAY                                                                                           GREENVILLE         SC 29607‐6512
UTILITY PARTNERS OF AMERICA         ED SCHWALBACH                          316 PRADO WAY                                                    GREENVILLE         SC 29607‐6512
UTILITY SERVICE CO                  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 116554                                                    ATLANTA            GA 30368‐6554

UTILITY SERVICES CO INC             ATTN CFO                              PO BOX 1350                                                       PERRY              GA 31069
UTILITY SUPPLY & CONSTRUCTION CO    420 S ROTH ST                         PO BOX 88                                                         REED CITY          MI 49677‐9126
UTILITY SUPPLY OF AMERICA INC       ATTN: LEGAL OFFICER / BANKRUPTCY DEPT PO BOX 9004                                                       GURNEE             IL 60031‐9004

UTILITY WORKERS UNION‐AMERICA       1705 1/2 3RD ST                                                                                         BAY CITY           MI 48708‐6211
UTILITY WORKERS UNION‐AMERICA       ATTN: GARY SMITH                     18 W HURON ST # 8                                                  PONTIAC            MI 48342‐2100
UTILMASTER CORPORATION              65266 STATE ROAD 19/BX 585                                                                              WAKARUSA           IN 46573
UTILMASTER CORPORATION
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                 Part 37 of 40 Pg 817 of 901
Name                          Address1                        Address2                        Address3   Address4                 City                  State Zip
UTILX CORPORATION             PO BOX 97009                                                                                        KENT                   WA 98064‐9709
UTL TRANSPORTATION SERVICES   DIV UNITED TERMINALS LTD        5425 DIXIE RD BLDG 2                       MISSISSAUGA ON L4T 1E6
                                                                                                         CANADA
UTLAUT, MICHAEL A             41 SWEET MEADOW CT                                                                                  SAINT CHARLES         MO   63303‐6539
UTLAUT, RONALD N              41 SWEET MEADOW CT                                                                                  SAINT CHARLES         MO   63303‐6539
UTLEY HOWARD (633061)         BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                         WILMINGTON            DE   19899‐2165
UTLEY INC                     804 N WALNUT ST                                                                                     STEELE                MO   63877‐1314
UTLEY JR, JAMES A             1255 IMPERIAL AVE STE 110                                                                           SAN DIEGO             CA   92101‐7491
UTLEY JR, JEFFERSON W         105 FERRIS AVE                                                                                      SYRACUSE              NY   13224‐1516
UTLEY JR, LAWRENCE H          5810 E 32ND ST                                                                                      INDIANAPOLIS          IN   46218‐2533
UTLEY, BRADLEY J              1401 W JACKSON ST                                                                                   KOKOMO                IN   46901‐4281
UTLEY, BRANDY                 266 GEME DRIVE                                                                                      LEDBETTER             KY   42058
UTLEY, BRANDY                 266 GENE DR                                                                                         LEDBETTER             KY   42058‐9722
UTLEY, CLARYNDA N             244 BRITTANY CT                                                                                     BURLINGTON            NJ   08016‐2212
UTLEY, CLARYNDA N.            244 BRITTANY CT                                                                                     BURLINGTON            NJ   08016‐2212
UTLEY, CLAUDIA DELL           1302 W TREMONT ST                                                                                   URBANA                IL   61801‐1342
UTLEY, CLAUDIA DELL           1302 W TREMENT                                                                                      URBANA                IL   61801‐1342
UTLEY, DAVID A                383 OLD BUCKHORN RD                                                                                 MORGANTOWN            KY   42261‐8260
UTLEY, DAVID ADRIAN           383 OLD BUCKHORN RD                                                                                 MORGANTOWN            KY   42261‐8260
UTLEY, DONNA S                7249 BYBEE RD                                                                                       WINCHESTER            KY   40391‐8463
UTLEY, DORA PAGE              1234 SUGAR PINE DR                                                                                  ANDERSON              IN   46012‐5502
UTLEY, GAIL P                 8600 HUTTENLOCKER RD                                                                                MUNITH                MI   49259‐9785
UTLEY, JAMIE G                6736 OAK ST                                                                                         TAYLOR                MI   48180‐1741
UTLEY, JAMIE G                6736 OAK                                                                                            TAYLOR                MI   48180‐1741
UTLEY, KARL T                 332 E 49TH ST                                                                                       ANDERSON              IN   46013‐4802
UTLEY, KERWIN L               1302 W TREMONT ST                                                                                   URBANA                IL   61801‐1342
UTLEY, LARRY R                7249 BYBEE RD                                                                                       WINCHESTER            KY   40391‐8463
UTLEY, LAWRENCE W             211 LAKE DR                                                                                         HIGHLAND              MI   48357‐4805
UTLEY, LAWRENCE WILSON        211 LAKE DR                                                                                         HIGHLAND              MI   48357‐4805
UTLEY, LORNA G                531 RENAUD RD                                                                                       GROSSE POINTE WOODS   MI   48236‐1781
UTLEY, MARIAN E               700 E COURT ST APT 123                                                                              FLINT                 MI   48503
UTLEY, MICHAEL G              PO BOX 22                                                                                           ANDERSON              IN   46015‐0022
UTLEY, OSCAR S                PO BOX 607                                                                                          BENAVIDES             TX   78341‐0607
UTLEY, RHONDA M               2100 IMLAY CITY RD                                                                                  LAPEER                MI   48446‐3260
UTLEY, RHONDA MICHELLE        2100 IMLAY CITY RD                                                                                  LAPEER                MI   48446‐3260
UTLEY, ROBERT                 88 SCOTT SWAMP RD APT 122                                                                           FARMINGTON            CT   06032‐2994
UTLEY, THOMAS C               APT 8                           431 AVON COURT                                                      DAVISON               MI   48423‐3000
UTLEY, THOMAS CHARLES         APT 8                           431 AVON COURT                                                      DAVISON               MI   48423‐3000
UTLEY, WILLIAM M              3401 COUNTRY VIEW DR                                                                                OXFORD                MI   48371‐4168
UTORKA, JANETTE L             1200 CABANA ROAD                APT #2                                                              SINGER ISLAND         FL   33404
UTRATA, WENDELL B             13015 W FOXFIRE DR                                                                                  SUN CITY WEST         AZ   85375‐5030
UTRI ALFRED                   UTRI, ALFRED                    30928 FORD RD                                                       GARDEN CITY           MI   48135‐1803
UTRI, ALFRED                  CONSUMER LEGAL SERVICES         7056220                                                             GARDEN CITY           MI   48135‐1803
UTRUP, BERNARD J              725 N WATER ST                                                                                      FORT JENNINGS         OH   45844‐9641
UTSEY JIMMY (448381)          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD            OH   44067
                                                              PROFESSIONAL BLDG
UTSEY JR, EARLY               1602 KNIGHT AVE                                                                                     FLINT                 MI   48503‐3407
UTSEY, EARL R                 1614 WINONA ST                                                                                      FLINT                 MI   48504‐2960
UTSEY, EARL ROOSEVELT         1614 WINONA ST                                                                                      FLINT                 MI   48504‐2960
UTSEY, EDDIE D                19197 LEXINGTON                                                                                     REDFORD               MI   48240‐2618
UTSEY, JAMES D                5833 MCCLELLAN ST                                                                                   DETROIT               MI   48213‐3053
UTSEY, MARY L                 6406 ALLISON DR                                                                                     FLINT                 MI   48504‐1628
                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                         Part 37 of 40 Pg 818 of 901
Name                   Address1                         Address2          Address3         Address4         City               State Zip
UTSEY, THELMA L        1201 OGDEN AVE APT 4J                                                                BRONX               NY 10452‐3517
UTSLER, JAMES L        825 MOORE DR                                                                         CHELSEA             MI 48118‐1351
UTSLER, JEFFREY R      424 MEADOWVIEW CT                                                                    PENDLETON           IN 46064‐8547
UTSLER, JEFFREY RYAN   424 MEADOWVIEW CT                                                                    PENDLETON           IN 46064‐8547
UTSLER, MARJORIE M     PO BOX 276                                                                           SHARPSVILLE         IN 46068‐0276
UTT GARY L             329 6TH AVE                                                                          MANSFIELD           OH 44905‐2438
UTT, APRIL E           44 MAINE ST                                                                          ASHLAND             OH 44805‐9265
UTT, AUTUMN L.         4352 ARABIAN WAY                                                                     SNELLVILLE          GA 30039‐6742
UTT, DANIS H           101 W RIVER RD UNIT 113                                                              TUCSON              AZ 85704‐5124
UTT, DANNY L           3300 N STATE ROAD 7 UNIT C264                                                        HOLLYWOOD           FL 33021‐2157
UTT, DARYL W           1805 S COUNTY ROAD 125 W                                                             NEW CASTLE          IN 47362‐8907
UTT, DONALD L          1459 FREDERICK CT                                                                    MANSFIELD           OH 44906‐2425
UTT, DONALD W          5284 SPRING CREEK DR                                                                 PRESCOTT            MI 48756‐8641
UTT, DORIS C           401 E WOODFORD ST APT 8                                                              LAWRENCEBURG        KY 40342‐1177
UTT, EDSEL J           6787 LAUTNER RD                                                                      WILLIAMSBURG        MI 49690‐9539
UTT, GARY L            329 6TH AVE                                                                          MANSFIELD           OH 44905‐2438
UTT, GERALD L          11154 E NORTH COUNTY LIN                                                             RIVERDALE           MI 48877
UTT, JON C             516 HAVNER RD                                                                        NORFORK             AR 72658‐8481
UTT, KURTIS L          22578 N BENTON WEST RD                                                               ALLIANCE            OH 44601‐9236
UTT, MARGARET B        1745 N 500 E                                                                         ANDERSON            IN 46012‐9435
UTT, MARY E            16170 ASPEN HOLLOW                                                                   FENTON              MI 48430‐9159
UTT, MICHAEL S         111 N CHARLOTTE ST                                                                   SUGAR CREEK         MO 64054‐1333
UTT, TERRANCE D        1029 SOUTH RANGELINE ROAD                                                            ANDERSON            IN 46012‐4621
UTT, TRAYCE V          3333 BOOKER FARM RD                                                                  MT PLEASANT         TN 38474‐3024
UTTARO, ANTHONY        3021 S UNION ST                                                                      ROCHESTER           NY 14624‐1925
UTTARO, ANTHONY        3021 UNION ST                                                                        ROCHESTER           NY 14624‐1925
UTTARO, CHARLES J      38 ABBY LN                                                                           ROCHESTER           NY 14606‐4900
UTTARO, CHRISTOPHE A   3375 ELMWOOD AVE                                                                     ROCHESTER           NY 14610‐3425
UTTARO, COSMO          36 ALGER DR                                                                          ROCHESTER           NY 14624‐4841
UTTARO, FRANK G        61 NORMANDALE DRIVE                                                                  ROCHESTER           NY 14624‐1715
UTTARO, ROSALIE D      61 NORMANDALE DR                                                                     ROCHESTER           NY 14624‐1715
UTTER CYNTHIA L        UTTER, CYNTHIA L                 108 E 5TH ST                                        ROYAL OAK           MI 48067‐2608
UTTER DOLLIE           31573 LINDERO CANYON RD UNIT 1                                                       WESTLAKE VILLAGE    CA 91361‐4793
UTTER EDWIN W          1926 MICHAEL ST                                                                      HOLT                MI 48842‐1720
UTTER JR, RAYMOND L    1244 NW 68TH ST                                                                      KANSAS CITY         MO 64118‐2977
UTTER, CLARENCE E      9511 BEARD RD                                                                        LAINGSBURG          MI 48848‐9318
UTTER, EDWIN W         1926 MICHAEL ST                                                                      HOLT                MI 48842‐1720
UTTER, GEORGIA P       1160 CROSS ST                                                                        MARTINSVILLE        IN 46151‐2925
UTTER, GEORGIA P       1160 CROSS STREET                                                                    MARTINSVILLE        IN 46151‐2925
UTTER, LARRY J         10073 PYRITE CT                                                                      NOBLESVILLE         IN 46060‐8062
UTTER, LLOYD E         1035 TOWNHALL RD                                                                     MELVIN              MI 48454‐9716
UTTER, LOIS            378 CRABAPPLE LN.                                                                    MASON               MI 48854‐1143
UTTER, MARK M          496 SARSFIELD DR                                                                     ROCHESTER HILLS     MI 48307‐4443
UTTER, ROBERT C        13561 SOUTHAMPTON DR                                                                 BONITA SPRINGS      FL 34135‐2443
UTTER, ROBERT C        5113 MOUNTAIN WATCH DR                                                               HARBOR SPRINGS      MI 49740‐9660
UTTER, RONALD S        3394 WILDER RD                                                                       BAY CITY            MI 48706‐2331
UTTER, STEPHEN J       2483 E BERRY RD                                                                      RIVES JUNCTION      MI 49277‐9731
UTTER, STEVEN B        1100 SAINT TROPEZ CIRCLE                                                             ORLANDO             FL 32806‐5557
UTTER, THOMAS E        2505 N WILSON AVE                                                                    ROYAL OAK           MI 48073‐4275
UTTER, WILLIAM H       760 COUNTRY LANE RD                                                                  FRANKENMUTH         MI 48734
UTTER, WILLIAM L       3066 GALBRAITH                                                                       BROWN CITY          MI 48416
                              09-50026-mg                 Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                     Part 37 of 40 Pg 819 of 901
Name                          Address1                            Address2                      Address3   Address4         City                  State Zip
UTTERBACK HAROLD L (412430)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510
                                                                  STREET, SUITE 600
UTTERBACK JR, DONALD E        7365 STATE ROAD 144                                                                           GREENWOOD             IN 46143‐8662
UTTERBACK LAYON E (429972)    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                                  STREET, SUITE 600
UTTERBACK RUSSELL (636620)    BRAYTON PURCELL                     PO BOX 6169                                               NOVATO                CA   94948‐6169
UTTERBACK, ALLEN E            5625 DOLLAR HIDE DR S                                                                         INDIANAPOLIS          IN   46221
UTTERBACK, CHARLES L          PO BOX 374                                                                                    THONOTOSASSA          FL   33592‐0374
UTTERBACK, DALE L             2326 RIVERSTONE DR                                                                            MURFREESBORO          TN   37128‐6725
UTTERBACK, DONALD R           409 WINDOW PLACE                                                                              NILES                 OH   44446
UTTERBACK, EDWARD             2717 N CENTRAL PARK AVE                                                                       CHICAGO               IL   60647‐1123
UTTERBACK, EVA E              1070 W JEFFERSON ST                                                                           FRANKLIN              IN   46131‐2179
UTTERBACK, HAROLD L           3740 E CAROL LN                                                                               MOORESVILLE           IN   46158‐6829
UTTERBACK, HAROLD L           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510
                                                                  STREET, SUITE 600
UTTERBACK, JOHN R             616 S WALNUT ST                                                                               CAMERON               MO 64429‐2226
UTTERBACK, LAYON E            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                                  STREET, SUITE 600
UTTERBACK, MARY K             734 P STREET                                                                                  BEDFORD               IN   47421‐2139
UTTERBACK, MARY K             734 P ST                                                                                      BEDFORD               IN   47421‐2139
UTTERBACK, MICHAEL D          5020 SE TATER PEELER RD                                                                       LEBANON               TN   37090‐0665
UTTERBACK, ROBERT D           12400 MILFORD RD                                                                              HOLLY                 MI   48442‐8916
UTTERBACK, ROBERT N           103 INWOOD RD                                                                                 LAREDO                TX   78045‐2324
UTTERBACK, RUSSELL            BRAYTON PURCELL                     PO BOX 6169                                               NOVATO                CA   94948‐6169
UTTERBACK, SUE E              5020 SE TATER PEELER RD                                                                       LEBANON               TN   37090‐0665
UTTI, MARGARET H              3830 BELLWOOD DR. N.E.                                                                        WARREN                OH   44484‐2939
UTTI, ROBERT J                3830 BELLWOOD DR SE                                                                           WARREN                OH   44484‐2939
UTTINGER, HAROLD E            1877 VALLEY VIEW DR                                                                           KOKOMO                IN   46902
UTTKE, MYLES F                6543 EAST FAIRBROOK ST                                                                        MESA                  AZ   85205‐5714
UTTKE, MYLES F                6543 E FAIRBROOK ST                                                                           MESA                  AZ   85205‐5714
UTTLEY, CARROLL W             1703 S CHICAGO ST TRLR 22                                                                     JOLIET                IL   60436‐3197
UTTLEY, DORTHA J              1928 WESTERN RIDGE DR                                                                         CARO                  MI   48723‐8607
UTWILLA SMITH                 4529 EICHELBERGER AVE                                                                         DAYTON                OH   45406‐2429
UTYNEK, SHANNON R             4615 PALACE RD                                                                                NECEDAH               WI   54646
UTZ ALAN                      15399 COUNTY ROAD 26                                                                          TYLER                 TX   75707‐2723
UTZ JR, ALFRED J              2900 SANTA ROSA DR                                                                            KETTERING             OH   45440‐1322
UTZ, ANDREW G                 1931 ROCK RD                                                                                  MANSFIELD             OH   44903‐9083
UTZ, DONALD L                 37 ANTOINETTE DR                                                                              DEPEW                 NY   14043‐1103
UTZ, DONALD LOUIS             37 ANTOINETTE DR                                                                              DEPEW                 NY   14043‐1103
UTZ, HARLEY D                 2654 GORDON AVE                                                                               MINDEN                NV   89423‐9290
UTZ, IRVIN D                  3220 WOODBERRY LN                                                                             SARASOTA              FL   34231‐7378
UTZ, JOHN A                   700 GALE RD                                                                                   EATON RAPIDS          MI   48827‐9100
UTZ, MICHAEL K                80 GLENCROFT PL                                                                               CENTERVILLE           OH   45459‐5459
UTZ, PAMELA K                 5090 EASTBROOK CT                                                                             SHELBY TWP            MI   48316‐3141
UTZ, PAUL C                   2017 HOMESITE DRIVE                                                                           DAYTON                OH   45414‐4019
UTZ, RICHARD H                5090 EASTBROOK CT                                                                             SHELBY TWP            MI   48316‐3141
UTZ, SHAWN J                  59570 THUNDER HEAD DR                                                                         WASHINGTON TOWNSHIP   MI   48094‐3777
UTZ, SHAWN JAMES              59570 THUNDER HEAD DR                                                                         WASHINGTON TOWNSHIP   MI   48094‐3777
UTZ, THOMAS J                 PO BOX 22                                                                                     PLATTSBURG            MO   64477‐0022
UTZIG, KEVIN C                297 EAST ST                                                                                   BUFFALO               NY   14207‐2516
UTZIG, KRISTINE A             17482 STATE HIGHWAY 71                                                                        NORWALK               WI   54648‐8059
UTZIG, ROBERT A               17482 STATE HIGHWAY 71                                                                        NORWALK               WI   54648‐8059
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                          Part 37 of 40 Pg 820 of 901
Name                                   Address1                        Address2                      Address3    Address4             City             State Zip
UTZINGER, BARRY T                      4735 HICKORYBEND DR                                                                            GROVE CITY        OH 43123‐3682
UV AUTO/WARREN                         14700 BARBER AVE                                                                               WARREN            MI 48088‐6000
UV AUTOMOTIVE GROUP                    14700 BARBER AVE                                                                               WARREN            MI 48088‐6000
UV AUTOMOTIVE GROUP                                                    14700 BARBER STREET                                                              MI 48093
UVA HOSKINS                            3738 FULTON GROVE RD                                                                           CINCINNATI        OH 45245‐2808
UVA M WILBANKS                         1515 RIDGE RD LOT 302                                                                          YPSILANTI         MI 48198‐4265
UVA WILBANKS                           1515 RIDGE RD LOT 302                                                                          YPSILANTI         MI 48198‐4265
UVALDO JIMENEZ                         THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                    HOUSTON           TX 77017
UVALDO ZAMORA                          17452 ROSEVILLE BLVD                                                                           ROSEVILLE         MI 48066‐2866
UVALE COUNTY APPRAISAL DISTRICT        209 N HIGH ST                                                                                  UVALDE            TX 78801‐5207
UVANITTE PAUL J (168543)               THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                           BOSTON            MA 02110‐2104
UVANITTE PAUL J (ESTATE OF) (505094)   THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                           BOSTON            MA 02110‐2104
UVANITTE PAUL J (ESTATE OF) (666584)   THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                           BOSTON            MA 02110‐2104
UVANITTE, PAUL J                       THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                           BOSTON            MA 02110‐2104
UVEGES, ERNEST A                       17599 WHITNEY RD APT 220                                                                       STRONGSVILLE      OH 44136‐2439
UVEGES, FRANK J                        254 ELMORE AVE                                                                                 TRENTON           NJ 08619‐2514
UVEGES, FRANK J                        254 ELMORE AVENUE                                                                              TRENTON           NJ 08619‐2514
UVERAL                                 AVDA. SAYAGO NO. 1385                                                     MONTEVIDEO URUGUAY
UVICK, CLAY A                          11173 SANDY CREEK DR                                                                           SOUTH LYON       MI   48178‐8822
UVICK, JOSEPH E                        240 OAK DR                                                                                     BRONSON          MI   49028‐1519
UVICK, SUSAN L                         11173 SANDY CREEK DR                                                                           SOUTH LYON       MI   48178‐8822
UVONAH GWOZDZ                          301 E SUMMIT ST                                                                                GREENVILLE       MI   48838‐1248
UVONNE G LEHR                          6069 MYRTLE AVE                                                                                FLUSHING         MI   48433‐2325
UVONNE LEHR                            6069 MYRTLE AVE                                                                                FLUSHING         MI   48433‐2325
UVOYD REYNOLDS                         2730 W GLENDALE AVE                                                                            MILWAUKEE        WI   53209‐6126
UW ‐ ROCK COUNTY                       2909 KELLOGG AVE                                                                               JANESVILLE       WI   53546‐5606
UW CENTER ROCK COUNTY                  BUSINESS OFFICE                 2909 KELLOGG AVE                                               JANESVILLE       WI   53546‐5606
UW CENTER WAUKESHA COUNTY              BUSINESS OFFICE                 1500 N UNIVERSITY DR                                           WAUKESHA         WI   53188‐2720
UW FREIGHT LINE INC                    2818 PARKWAY BLVD                                                                              SALT LAKE CITY   UT   84119‐1971
UW LEARNING INNOVATIONS                505 SOUTH ROSA ROAD                                                                            MADISON          WI   53719
INDEPENDENT LEARNING
UW MEDICAL FOUNDATIO                   PO BOX 78864                                                                                   MILWAUKEE        WI   53278‐64
UW SYSTEMS                             PO BOX 78864                                                                                   MILWAUKEE        WI   53278‐0864
UW WHITEWATER                          STUDENT ACCOUNTS OFFICE         HYER HALL RM 110                                               WHITEWATER       WI   53190
UW‐ROCK COUNTY FOUNDATION              2909 KELLOGG AVE                                                                               JANESVILLE       WI   53546‐5606
UWAJIMAYA INC                          ATTN MR TOSHI MORIGUCHI         PO BOX 3642                   TREASURER                        SEATTLE          WA   98124‐3642
UWALAKA, CHIB N                        7341 BALSON AVE                                                                                SAINT LOUIS      MO   63130‐2902
UWC STRATEGIC SERVICES                 ON UNEMPLOYMENT & WORK COMP     910 17TH ST NW STE 315                                         WASHINGTON       DC   20006‐2604
UWE BAIRISCHER                         RH╓NSTRASSE 27                  65510 H▄NSTETTEN              GERMANY
UWE BAIRISCHER                         RHOENSTRASSE 27                 65510 HUENSTETTEN             GERMANY
UWE BERG                               WOLLGRASWEG 11                  NORDERSTEDT
UWE BERG                               WOLLGRASWEG 11                  22844 NORDERSTEDT
UWE BERG                               WOLLGRASWEG 11                                                            22844 NORDERSTEDT
                                                                                                                 GERMANY
UWE BISCHOFF                           BADENER STR. 7                  76593 GERNSBACH
UWE BISCHOFF                           BADENER STRASSE 7                                                         D‐76593 GERNSBACH
                                                                                                                 GERMANY
UWE BISCHOFF                           BADEBER STRASSE 7               76593 GERNSBACH
UWE BLOHM                              137 COUNTRY GREEN DR                                                                           AUSTINTOWN       OH 44515‐2234
UWE BOCKERMANN                         KREKELERWEG. 5                  45276 ESSEN                   GERMANY                          ESSEN
UWE BOTHE                              RETHWISCH 4                     D ‐ 25492 PRISDORF                                             PRISDORF
UWE BROWATZKI                          HERMANN‐HESSE‐STR. 23           48161 M▄NSTER
                            09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
                                                                 Part 37 of 40 Pg 821 of 901
Name                       Address1                             Address2                      Address3        Address4                 City            State Zip
UWE ENGELKE                PIDDER‐LUNG‐WEG 46                   22149 HAMBURG                 GERMANY
UWE GIESE                  7709 LARME AVE                                                                                              ALLEN PARK       MI 48101‐2487
UWE HEINDEL                WESTPREU▀ENSTRA▀E 3                                                                37603 HOLZMINDEN
                                                                                                              GERMANY
UWE HERMANN ZEISSNER       JOHANN‐KLOTZ‐STR.19                  D‐60528 FRANKFURT
UWE HERMANN ZEISSNER       JOHANN‐KLOTZ‐STR 19                                                                D‐60528 FRANKFURT
                                                                                                              GERMANY
UWE JAKOB                  LERCHENGASSE 1                       67229 GEROLSHEIM              GERMANY
UWE KOBS                   IM EXBODEN 33                                                                                               IDSTEIN 65510
UWE NAGEL                  NEUE PROMENADE 23                                                                  15377 BUCKOW GERMANY
UWE PETER                  4252 BANKER ST                                                                                              NORTH BRANCH     MI 48461‐8954
UWE PFISTERER              SCHORLEMERALLEE 6                                                                  D‐14195 BERLIN GERMANY
UWE RIEDEL                 ALLENSTEINER STR 15                                                                28816 STUHR GERMANY
UWE ROXIN                  GFS                                  GLOBAL FINANCIAL SOLUTIONS    NEUER WALL 13   D‐20354 HAMBURG
                                                                GMBH                                          GERMANY
UWE SCHEFFER               IM PAPENDIEK 62                                                                    32051 HERFORD GERMANY
UWE SCHELLSCHEIDT          ANNETTE‐KOLB STR.8
UWE SCHREIBER              10429 FROSTBURG LN                                                                                          LAS VEGAS        NV 89134‐5113
UWE STOHNER                HEINRICH‐ZILLE‐STR: 15 A             50765 KOELN
UWE TAUBERT                R4‐30 HUNG GIA 5                     DISTRICT 7                                    SAIGON VIET NAM
UWE TRAMBO                 QUERSTR 63                                                                         99610
                                                                                                              WENIGENSOEMMERN
                                                                                                              GERMANY
UWE WALLICZEK              4435 N CLARK RD                                                                                             WOODLAND         MI 48897‐9777
UWE WITSCH                 KREUZSTR.21                                                                        40210 DUESSELDORF
                                                                                                              GERMANY
UWE WOLFF‐BECKERT          1472 STANLEY BLVD                                                                                           BIRMINGHAM       MI 48009‐1952
UYEDA, GEORGE              GALIHER DEROBERTIS NAKAMURA ONO &    610 WARD AVE STE 200                                                   HONOLULU         HI 96814‐3308
                           TAKITANI
UYEK, FRANK                460 ALLEN DR                                                                                                KENT            OH    44240‐2014
UYGAR GAZIOGLU             APT 2C                               1321 3RD AVENUE                                                        NEW YORK        NY    10021‐2988
UYGAR GAZIOGLU             1321 3RD AVE APT 2C                                                                                         NEW YORK        NY    10021‐2988
UYHAZY, EDWARD J           17794 COVEY CT                                                                                              WYANDOTTE       MI    48193‐8461
UYOUN GUS                  5721 SPRING CREEK WAY                                                                                       ELK GROVE       CA    95758‐7701
UZ DAEWOO AUTO CO. JSC     YUSUPOV SH.F., GENERAL DIRECTOR      30, KH.ABDULLAEV STR.                         TASHKENT CITY 100007
                                                                                                              UZBEKISTAN
UZ DAEWOO AUTO CO. JSC     SHUKRAT F. YUSUPOV, GENERAL DIRECTOR 30, MIRZO ULUGBEK STREET                      TASHKENT CITY 100007
                                                                                                              UZBEKISTAN
UZ ENGINEERED PRODUCTS     PO BOX 74189                                                                                                CLEVELAND       OH    44194‐0268
UZAR, DAVID R              196 STANDARD PKWY                                                                                           CHEEKTOWAGA     NY    14227‐1234
UZAR, DAVID R.             196 STANDARD PKWY                                                                                           CHEEKTOWAGA     NY    14227‐1234
UZAREK GERALD A (439580)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                            NORFOLK         VA    23510
                                                                STREET, SUITE 600
UZAREK, GERALD A           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                            NORFOLK          VA 23510‐2212
                                                                STREET, SUITE 600
UZAREK, GERALD J           48 MAPLEGROVE DR                                                                                            CLAWSON          MI 48017‐2524
UZARSKI, JEANNETTE A       124 SAN CARLOS ST                                                                                           TOMS RIVER       NJ 08757‐6219
UZARSKI, ROBERT J          32649 HOLDEN DR                                                                                             WARREN           MI 48092‐3181
UZATOSANOAT JSC            YUSUPOV SH.F., GENERAL DIRECTOR      30, KH.ABDULLAEV STR.                         TASHKENT CITY 100007
                                                                                                              UZBEKISTAN
UZAVTOSANOAT               JSC UZAVTOSANOAT                     30 MIRZO ULUGBEK STR.                         10007, TASHKENT CITY
                                                                                                              UZBEKISTAN
                                     09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit B
                                                                       Part 37 of 40 Pg 822 of 901
Name                                Address1                        Address2                           Address3   Address4              City               State Zip
UZDAVINIS, ANNA E                   49555 HANFORD RD                                                                                    CANTON              MI 48187‐4618
UZDAVINIS, ANNA E                   49555 HANFORD                                                                                       CANTON              MI 48187‐4618
UZDZIENSKI, JOHN J                  1745 N HILLS DR                                                                                     NORRISTOWN          PA 19401‐5701
UZEMIS, EMMA                        7513 GREEN MEADOW LN                                                                                OKLAHOMA CITY       OK 73132‐3969
UZIALKO, PAUL                       8 RICHARD DR                                                                                        DALLAS              PA 18612‐1324
UZIEL, DONALD J                     1405 WILLOW HEIGHTS DR                                                                              N HUNTINGDON        PA 15642‐5812
UZIEL, IRENE                        1405 WILLOW HEIGHTS DR                                                                              IRWIN               PA 15642‐5812
UZINA MECANICA CUGIR                STR.21 DECEMBRIE 4989 NR.1                                                    CUGIR ROMANIA
UZINA MECHANICA CUGIR               STR.21 DECEMBRIE 4989 NR.1                                                                          ROMULUS            MI    48174
UZKAN, TEOMAN                       23 HAWTHORNE SQ                                                                                     INDIAN HEAD PARK   IL    60525‐4435
UZL, JAMES L                        10188 KESWICK DR                                                                                    CLEVELAND          OH    44130‐2047
UZL, JEROME J                       405 MCELWEE DR                                                                                      AUBURNDALE         FL    33823‐2233
UZMAA BALBALE                       45261 PATRICK DR                                                                                    CANTON             MI    48187‐2552
UZNANSKI, BARBARA                   5309 IROQUOIS AVE                                                                                   SPRING HILL        FL    34606‐1320
UZOMA
UZSOY REHA                          PURDUE UNIVERSITY               208 GINGERGATE DR                                                   CARY               NC    27519
UZUNYAN, ARMENAK                    15419 KESWICK ST                                                                                    VAN NUYS           CA    91406‐2009
UZZEL, MARILYN                      5254 IDLEWOOD RD                                                                                    DAYTON             OH    45432‐3555
UZZELL LOUISE                       5306 US HIGHWAY 70 E                                                                                GOLDSBORO          NC    27534‐7846
UZZELL, EDWIN R                     16 LINDEN ST                                                                                        WHITMAN            MA    02382‐2413
UZZELL, MICHAEL C                   2162 GLENCOE RD                                                                                     CULLEOKA           TN    38451‐2153
UZZLE CADILLAC OLDSMOBILE GMC TRUCK 4525 WOODHAVEN NE               C/O PATRICIA A UZZLE                                                MARIETTA           GA    30067‐3600
INC
UZZLE CADILLAC‐OLDSMOBILE‐GMC       PO BOX 51068                                                                                        DURHAM             NC 27717‐1068
TRUCK, INC.
UZZLE, NEIL                         PORTER & MALOUF PA              4670 MCWILLIE DR                                                    JACKSON            MS 39206‐5621
UZZO RAYMOND                        UZZO, RAYMOND                   1930 EAST MARLTON PIKE SUITE T11                                    CHERRY HILL        NJ 08003

V & M TECNICENTRO AUTOMOTORIZ INC    3017 W 26TH ST                                                                                     CHICAGO             IL   60623‐4129

V & M TIRE & SVC                     ATTN: VIRGIL ROVILLOS          156 W MONTCALM ST                                                   PONTIAC            MI    48342‐1144
V & P INVESTMENTS LLC                ATTN UBALDO J POLO             7255 FIRESTONE BLVD                                                 DOWNEY             CA    90241‐4106
V & S TRANSPORTATION INC             1100 DE FOREST AVE                                                                                 LONG BEACH         CA    90813‐2824
V & V REAL ESTATE INVESTMENTS        C\0 BELMONT DISTRIBUTING INC   130 CHURCHILL HUB RD                                                YOUNGSTOWN         OH    44505‐8128
V ANDERSON                           9301 W 55TH ST                                                                                     MC COOK            IL    60525‐3214
V ANSELM                             7418 GLEN TERRA DR                                                                                 LANSING            MI    48917‐9639
V BETHEL                             121 JARDIN CT                                                                                      SWANSEA            IL    62226‐1057
V BEULAH COOK                        300 S BRYAN RD UNIT Q7                                                                             MISSION            TX    78572‐6010
V BOCKELMAN                          1215 JAYNE DR                  C/O KAREN HIGGINS                                                   KOKOMO             IN    46902‐6127
V BOEVE                              360 E OLSON RD                                                                                     MIDLAND            MI    48640‐8631
V BRAY                               1650 CONNEMARA RD                                                                                  INDIANAPOLIS       IN    46217
V CALDERONE                          NATIXIS PRIVATE BANKING        51 AVENUE J F KENNEDY                         L 1855 LUXEMBOURG
V CAMACHO                            2720 ACORN DR                                                                                      KETTERING          OH    45419‐2336
V CIACIUCH                           1407 S WARNER ST                                                                                   BAY CITY           MI    48706‐5173
V CIGLIANO                           512 HAMILTON ST                                                                                    RAHWAY             NJ    07065‐3311
V COLBY                              11860 OLD WOODBURY RD                                                                              LAINGSBURG         MI    48848‐7700
V COLSON                             201 N 15TH                                                                                         BLUE SPRINGS       MO    64015
V CORNELL                            6820 E HARBOR DR                                                                                   ELK RAPIDS         MI    49629‐9777
V DANNER                             10390 W. C.R. 600 N                                                                                FARMLAND           IN    47340
V DAVIS, LINDA                       12 SUTTON PLACE                                                                                    BLOOMFIELD         CT    06002
V DODDS                              203 W SEMINARY ST                                                                                  CHARLOTTE          MI    48813‐1827
V E CLEVENGER                        1801 S PORT AVE                                                                                    MUNCIE             IN    47302‐6624
                                   09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                    Part 37 of 40 Pg 823 of 901
Name                               Address1                           Address2                 Address3            Address4         City             State Zip
V E CURTIS                         647 VALKYRIE ST                                                                                  GWINN             MI 49841‐2724
V F CONTROLS INC                   8619 TYLER BLVD                                                                                  MENTOR            OH 44060‐4222
V FORGE INC                        5567 W 6TH AVE                                                                                   LAKEWOOD          CO 80214‐2537
V FOUNDATION FOR CANCER RESEARCH   106 TOWERVIEW CT                                                                                 CARY              NC 27513‐3595

V G EBERT IRA                      4155 S ANASTASIA CT                                                                              GREEN VALLEY     AZ   85622‐5616
V GAGE LLC                         21101 FERN ST                                                                                    OAK PARK         MI   48237‐3219
V GILLMER                          1018 N WASHINGTON ST                                                                             KOKOMO           IN   46901‐2856
V GRAHAM                           PO BOX 1203                                                                                      HUGHES SPRINGS   TX   75656‐1203
V GREENE                           31 CHATEAU CT                                                                                    DEPEW            NY   14043‐2909
V GUTCHAK                          1444 E MONROE RD                                                                                 MIDLAND          MI   48642‐7512
V HANEY                            1500 E 193RD ST APT 304                                                                          EUCLID           OH   44117‐1353
V HAYDEN                           5525 NOBLE ST                                                                                    SHAWNEE          KS   66218‐9247
V HILL                             6525 DARYLL DR                                                                                   FLINT            MI   48505‐1961
V I P TIRE, INC.                   5301 S ARCHER AVE                                                                                CHICAGO          IL   60632‐4911
V I P TRANSPORTATION &             PROTECTIVE SERVICES LP             6008 GRISSOM RD                                               SAN ANTONIO      TX   78238‐2227
VISA                               2535 SUNNYDALE RD                                                                                GREENEVILLE      TN   37743‐6323
V J VENTURA                        109 BROOKE DR                                                                                    FREDERICKSBRG    VA   22408‐2001
V JOHNSON                          1839 W EMERALD TER                                                                               EDGERTON         WI   53534‐8920
V JONES                            1310 E ATLANTA RD                                                                                STOCKBRIDGE      GA   30281‐1324
V KEMPSTON DARKES                  2901 SW 149TH AVE STE 400                                                                        MIRAMAR          FL   33027‐4153
V KIER                             404 E MCCREIGHT AVE                I00F HOME                                                     SPRINGFIELD      OH   45503‐3653
V L JONES                          1037 N 4TH ST                                                                                    SAGINAW          MI   48601
V L LINDSAY JR                     534 S 4TH                                                                                        SAGINAW          MI   48601
V LARMONIE                         690 HUNTER AVE                                                                                   PERTH AMBOY      NJ   08861‐1819
V LEONARD                          811 JOHNSON AVE                                                                                  LANSING          MI   48906‐5504
V LIMON JR                         1419 CRAPO                                                                                       SAGINAW          MI   48601
V M SYSTEMS INC                    3125 HILL AVE                                                                                    TOLEDO           OH   43607‐2934
V MATA                             7395 EASTERLY LN                                                                                 MEMPHIS          TN   38125‐4117
V MCCARTHY                         58 LEEDLE CIR                                                                                    RISING SUN       MD   21911‐1834
V MICHAEL GUERTIN                  17 RUSCAN RD                                                                                     WETHERSFIELD     CT   06109
V MILLS                            98 E NEW YORK AVE                                                                                PONTIAC          MI   48340‐1249
V NYE                              33 ROYAL PALM CIR                                                                                PORT ORANGE      FL   32127‐5358
V O SMITH                          1703 S NIAGARA ST                                                                                SAGINAW          MI   48602‐1240
V O STEVENS                        BARON & BUDD PC                    THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                    DALLAS           TX   75219‐4281
V OLKER HARHAUS                    66555 MT. VERNON ROAD                                                                            WASHINGTON       MI   48095
V OLSEN                            WALKER HIGHWAY                                                                                   MILLERSBURG      MI   49759
V P CAMACHO                        2720 ACORN DR                                                                                    KETTERING        OH   45419
V PERRY                            833 N COOLIDGE AVE                                                                               WICHITA          KS   67203‐3115
V RAWLINGS                         210 SOUTH ST                                                                                     ORTONVILLE       MI   48462‐8530
V RECTOR                           515 W 600 N                                                                                      ALEXANDRIA       IN   46001‐8210
V SEYMORE JR                       1850 BEECH LANE DR                                                                               TROY             MI   48083‐1746
V SHEPARD                          EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                           DETROIT          MI   48265‐2000

V SIMMONS                          3022 JENNY LIND ST                                                                               MCKEESPORT       PA 15132‐5141
V SUBLETT                          G5289 N SAGINAW ST                                                                               FLINT            MI 48505‐1538
VV                                 V
V W FLAUGHER, JR.                  2010 STEWART RD                                                                                  XENIA            OH   45385
V WHITESELL                        435 PROSPECT ST                                                                                  LOCKPORT         NY   14094‐2156
V WILLIAMS                         117 W D ST                                                                                       IRON MOUNTAIN    MI   49801‐3307
V&F INSTRUMENT INC                 1046 BAKER RD                                                                                    DEXTER           MI   48130‐1521
V&F INSTRUMENTS INC                1136 BAKER RD                                                                                    DEXTER           MI   48130‐1523
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                          Part 37 of 40 Pg 824 of 901
Name                                 Address1                          Address2                         Address3                  Address4                 City            State Zip
V&P INVESTMENTS L.L.C.               ATTN: UBALDO J. POLO              6101 W SLAUSON AVE                                                                  CULVER CITY      CA 90230‐6419
V‐B MANUFACTURING CO                 MUSKEGON TOOL INDUSTRIES INC      1000 E BARNEY AVE                                                                   MUSKEGON         MI 49444‐1709
V‐CONVERTER CORP                     10505 PLAZA DR STE C                                                                                                  WHITMORE LAKE    MI 48189‐8109
V‐CONVERTER CORPORATION              10505 PLAZA DR STE C                                                                                                  WHITMORE LAKE    MI 48189‐8109
V‐LINE PRECISION                     961 DECKER RD                                                                                                         WALLED LAKE      MI 48390‐3217
V‐LINE PRECISION PRODUCTS INC        961 DECKER RD                                                                                                         WALLED LAKE      MI 48390‐3217
V‐TRAN LP                                                              52054 SIERRA DR                                                                     NEW BALTIMORE    MI 48047
V‐TRAN LP                            PERCY VREEKEN                     30860 SIERRA DR                  TRANSNAV TECH                                      CHESTERFIELD     MI 48047‐3538
V‐TRAN LP                            PERCY VREEKEN                     TRANSNAV TECH                    30860 SIERRA DRIVE                                 FORT SMITH       AR 72901
V‐TRAN LP                            PERCY VREEKEN                     TRANSNAV TECHNOLOGIES            AUTOPISTA MEXICO‐PUEBLA   CUAUTLANCINGO PU 72730
                                                                                                        117                       MEXICO
V‐TRAN LP                            PERCY VREEKEN X110                35105 CRICKLEWOOD BLVD                                                              NEW BALTIMORE   MI 48047‐1530
V‐TRAN LP                            RIO PAPALOAPAN NO 27                                                                         CUAUTLANCINGO PU 72730
                                                                                                                                  MEXICO
V‐TRAN LP                            RIO PAPALOAPAN NO 27              CORREDOR EMPRESARIAL                                       CUAUTLANCINGO PU 72730
                                                                                                                                  MEXICO
V‐TRAN LP                            52054 SIERRA DR                                                                                                       CHESTERFIELD    MI    48047‐1307
V. BOWMAN                            4209 VILLAGE GREEN CT                                                                                                 SIOUX CITY      IA    51106‐3613
V. JONES                             3920 HONEYSUCKLE DR                                                                                                   BOONVILLE       IN    47601‐9406
V. KATHLEEN MCLAUGHLIN IRA           FCC AS CUSTODIAN                  22591 LANGE                                                                         ST CLAIR SHS    MI    48080
V. MARTIN                            326 W SPENCER AVE                                                                                                     UPLAND          IN    46989‐9234
V. MICHAEL SIMS                      2962 ARLINGTON DR                                                                                                     SAGINAW         MI    48601‐6980
V. PRICE                             41751 EMERSON CT                                                                                                      ELYRIA          OH    44035‐2533
V. REICHARD                          32001 CHERRY HILL RD APT 630                                                                                          WESTLAND        MI    48186‐5299
V. WHITTAKER
V. WINNETTE ROOKS                    2350 ELMWOOD DR SE                                                                                                    SMYRNA          GA 30082‐5308
V.E.P. ENTERPRISES, INC.             1121 N 9TH AVE                                                                                                        PENSACOLA       FL 32501‐3235
V.K.CHOWDHARY
V.T. AUTO REPAIR                     243 BLUE BELL RD BLDG A                                                                                               HOUSTON         TX    77037‐1357
V.T. MOTORS, INC.                    LARRY VAN TUYL                    8585 E FRANK LLOYD WRIGHT BLVD                                                      SCOTTSDALE      AZ    85260‐1901

V20 CONSULTING LLC
V2SOFT INC                           30400 TELEGRAPH RD STE 383                                                                                            BINGHAM FARMS   MI 48025‐5816
V8 ESTATE CORVETTE CLUB OF DETROIT   16515 PLYMOUTH RD                 C/O LOU VINSON                                                                      DETROIT         MI 48227‐1034

VA DEPT OF TAXATION                  PO BOX 27407                                                                                                          RICHMOND        VA 23261‐7407
VA FOCK INSTITUTE OF PHYSICS         1 ULIANOVSKAYA STR                PETRODVORETS ST PETERSBURG                                 RUSSIA 198504 RUSSIA
VA FOCK INSTITUTE OF PHYSICS         1 ULIANOVSKAYA UL                 PETRODVORETS                                               SAINT PETERSBURG RU
                                                                                                                                  198504 RUSSIAN
                                                                                                                                  FEDERATION
VA HINGST CONSULTING                 3455 REGENCY PARK DR                                                                                                  GRAND BLANC     MI 48439‐2559
VA MEDICAL CENTER                    DEPT OF VETERANS AFFAIRS          2215 FULLER RD                                                                      ANN ARBOR       MI 48105‐2303
VA TECH OFFICE OF SPONSORED          1880 PRATT DR STE 2006                                                                                                BLACKSBURG      VA 24060‐3580
PROGRAMS
VA,                                  WATTS LAW FIRM                    300 CONVENT STREET BANK OF                                                          SAN ANTONIO      TX   78205
                                                                       AMERICA PLAZA SUITE 100
VA.DEPT.OF TRANS./EQUIP.DIV.         1401 E BROAD ST                                                                                                       RICHMOND        VA    23219‐2052
VAANDRAGER, GARY J                   16775 WAYNE RD                                                                                                        LIVONIA         MI    48154‐2265
VAANDRAGER, GLENDA P                 4101 PARKLAWN AVE APT 124                                                                                             EDINA           MN    55435‐4660
VAAS JR, FREDERICK T                 2277 OTTAWA BEACH RD                                                                                                  HOLLAND         MI    49424‐2393
VAAS, JUDITH K                       2277 OTTAWA BEACH RD                                                                                                  HOLLAND         MI    49424‐2393
VAC MET INCORPORATED                 7236 MURTHUM AVE                                                                                                      WARREN          MI    48092‐1251
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                   Exhibit B
                                                                    Part 37 of 40 Pg 825 of 901
Name                             Address1                           Address2                       Address3                     Address4                 City            State Zip
VAC SHACK                        ATTN: KEN VANDERWALL               3601 DIVISION AVE S                                                                  GRAND RAPIDS     MI 49548‐3247
VAC U MAX                        37 RUTGERS ST                                                                                                           BELLEVILLE       NJ 07109‐3148
VAC‐U‐MAX CO                     37 RUTGERS ST                                                                                                           BELLEVILLE       NJ 07109‐3196
VACA, DAVID                      5205 S CHRISTIANA AVE                                                                                                   CHICAGO           IL 60632‐3107
VACANTI, PAULINE E               48 BROMPTON RD                                                                                                          TONAWANDA        NY 14150‐4413
VACANTI, ROBERT                  304 MARINA VIEW LN                                                                                                      WEBSTER          NY 14580‐1755
VACAS, CLAUDIO                   279 MILLINGTON CT                                                                                                       BLOOMFIELD       MI 48304‐1706
VACATIONLAND FEDERAL CREDIT      PO BOX 2257                                                                                                             SANDUSKY         OH 44871‐2257
VACAVILLE PONTIAC‐BUICK‐GMC      350 ORANGE DR                                                                                                           VACAVILLE        CA 95687‐3205
VACCA, JAMES N                   9506 SHOREWOOD TRL                                                                                                      FORT WAYNE       IN 46804‐5993
VACCA, KYLE J                    9506 SHOREWOOD TRL                                                                                                      FORT WAYNE       IN 46804‐5993
VACCA, NICOLA                    294 CHESTERFIELD DR                                                                                                     TAYLORSVILLE     NC 28681‐6213
VACCA, THOMAS S                  314 E NORTH ST                                                                                                          SAINT CHARLES    MI 48655‐1148
VACCAR, DOMINIC A                379 HOUSEL CRAFT RD                                                                                                     BRISTOLVILLE     OH 44402‐9722
VACCARI CAMILLA                  V VERDI 35                                                                                     41030 BOMPORTO MO
                                                                                                                                ITALY
VACCARI FULVIO                   VIA COSTANZA 35                                                                                                         MILANO
VACCARI, CAMILLA                 VIA VERDI 35                                                                                   41030 BOMPORTO, MO,
                                                                                                                                ITALY
VACCARI, DONALD L                6401 AMBER PASS                                                                                                         PLAINFIELD      IN   46168‐9380
VACCARIELLO, MICHAEL J           209 E OVERLOOK DR                                                                                                       EASTLAKE        OH   44095‐1110
VACCARINI, MARY S                185 SALEM CHURCH RD                                                                                                     NEWARK          DE   19713‐2942
VACCARINO, ANTHONY               DURST LAW FIRM PC                  319 BROADWAY                                                                         NEW YORK        NY   10007
VACCARINO, BRENDA                DURST LAW FIRM PC                  319 BROADWAY                                                                         NEW YORK        NY   10007
VACCARO GERARD                   814 MONTROSE DR                                                                                                         VENICE          FL   34293‐4390
VACCARO JAMES                    11271 KILEY DR                                                                                                          HUNTLEY         IL   60142‐6940
VACCARO LIVING TRUST             JOHN WILLIAM VACCARO AND LINDA L   TTEE VACCARO LIVING TRUST DTD 6‐ 911 N RHODODENDRON DRIVE                            FLORENCE        OR   97439
                                 VACCARO                            10‐92
VACCARO, ANTHONY P               8656 YOUNGSTOWN SALEM RD                                                                                                CANFIELD        OH   44406‐9481
VACCARO, DIANA                   8656 YOUNGSTOWN‐SALEM RD                                                                                                CANFIELD        OH   44406‐9481
VACCARO, FLORENCE                413 FRANKLIN ST                                                                                                         PORT CHESTER    NY   10573‐3520
VACCARO, FRANK J                 218 MARSHALL AVE                                                                                                        SANDUSKY        OH   44870‐5499
VACCARO, JAMES A                 3611 BARDSHAR RD                                                                                                        SANDUSKY        OH   44870‐9633
VACCARO, JAMES C                 1920 COLE RD                                                                                                            NUNDA           NY   14517‐9665
VACCARO, NICHOLAS A              1544 E FLORIAN CIR                                                                                                      MESA            AZ   85204‐5149
VACCARO, STEPHEN D               5086 OAKWOOD DR                                                                                                         N TONAWANDA     NY   14120‐9609
VACCHIANO, ALBERT C              708 BRUBAKER DRIVE                                                                                                      DAYTON          OH   45429‐3426
VACCHIANO, DOROTHEA A            1250 CIRCLE DR                                                                                                          BAD AXE         MI   48413
VACCO, PHILIP R                  3261 RADIO DR                                                                                                           BRONX           NY   10465
VACEK GRUOP INC
VACEK JR, JOHN J                 11551 WILSON AVE                                                                                                        BELLEVILLE      MI   48111‐2427
VACELLI, ANTHONY J               913 RUBY DR                                                                                                             NAMPA           ID   83686‐7287
VACH, DENNIS A                   1631 PICKETT FENCE CT                                                                                                   JACKSONVILLE    FL   32225‐4593
VACHAL, CHARLES M                1703 FENDER RD                                                                                                          NAPERVILLE      IL   60565‐2756
VACHEL F TAYLOR                  1138 GREENSTONE LN                                                                                                      FLINT           MI   48532‐3542
VACHEL MEDLEY                    4539 GILFORD DR                                                                                                         SILVERWOOD      MI   48760‐9736
VACHEL TAYLOR                    1138 GREENSTONE LN                                                                                                      FLINT           MI   48532‐3542
VACHEL TAYLOR                    1121 NORMANDY TERRACE DR                                                                                                FLINT           MI   48532‐3550
VACHERLON, CELESTINE             23524 W PENNINGTON RD              C/O EDWARD F VACHERLON                                                               PLAINFIELD      IL   60544‐7639
VACHERLON, EDWARD F              23524 W PENNINGTON RD                                                                                                   PLAINFIELD      IL   60544‐7639
VACHI GREGORIO E CAMPINI LAURA   VIALE PASSARDI 113                                                                             44017 SCORTICHINO (FE)
VACHON, CLAUDE A                 4091 11 MILE RD                                                                                                         AUBURN           MI 48611‐9596
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                 Part 37 of 40 Pg 826 of 901
Name                          Address1                             Address2                      Address3   Address4                 City               State Zip
VACHON, IRENE M               410 BURNS ST                                                                                           ESSEXVILLE          MI 48732‐1665
VACHON, JEFF A                1110 26TH ST                                                                                           BAY CITY            MI 48708‐7985
VACHON, MATTHEW G             12568 BENDER DR                                                                                        STERLING HEIGHTS    MI 48313‐3300
VACHTER, WILLIAM L            23675 W BASELINE RD                                                                                    HILLSBORO           OR 97123‐6954
VACHUSKA, JAMES E             5315 INDIAN VALLEY RD                                                                                  FRANKLIN            TN 37064‐9478
VACHUTA, STANLEY              NAMESTI PRACE 2512                                                            ZLIN 76001 CZECH
VACI, ALBERT L                10609 LARAMIE AVE                                                                                      OAK LAWN           IL   60453‐5103
VACI, ANGELO T                8818 W 89TH ST                                                                                         HICKORY HILLS      IL   60457‐1203
VACI, DEBBIE A                13600 S MAPLE AVE                                                                                      LEMONT             IL   60439
VACIK, PAUL W                 4368 MAPLE DR                                                                                          NEWTON FALLS       OH   44444‐9732
VACKARO, JOHN G               24 N BALDWIN RD                                                                                        LAKE ORION         MI   48362‐1064
VACKETTA, CHRISTOPHER         12745 S SAGINAW ST STE 806 PMB 196                                                                     GRAND BLANC        MI   48439‐2438
VACKETTA, JAMES J             4265 ARCADIA DR                                                                                        AUBURN HILLS       MI   48326‐1894
VACKETTA, JOHN P              447 MARINER DR 447                                                                                     TARPON SPRINGS     FL   34689
VACKETTA, MICHAEL J           20348 WOODHILL DR                                                                                      NORTHVILLE         MI   48167‐3041
VACKETTA, SANDRA A            4265 ARCADIA DR                                                                                        AUBURN HILLS       MI   48326‐1894
VACLAV BERANEK                8313 BIG CREEK PKWY                                                                                    STRONGSVILLE       OH   44149‐1609
VACLAV KOZUMPLIK              12293 CALKINS RD                                                                                       LENNON             MI   48449‐9704
VACLAV KREHUL                 PO BOX 42                                                                                              BARRYVILLE         NY   12719‐0042
VACLAV, MONIKA                3752 LAKE FOREST DR                                                                                    STERLING HEIGHTS   MI   48314‐4313
VACLAVIK, KAREN A             9115 BROOKFIELD TER                                                                                    BRADENTON          FL   34212‐6308
VACLAVIK, KAREN A             1100 LAKEVIEW DR                                                                                       WOLVERINE LAKE     MI   48390‐2229
VACLAVIK, THOMAS R            1100 LAKEVIEW DR                                                                                       WOLVERINE LAKE     MI   48390‐2229
VACLOVAS MELINAUSKAS          478 CATLIN DR                                                                                          RICHMOND HTS       OH   44143‐2530
VACLOVAS SLUSNYS              2483 WOODMERE ST                                                                                       DETROIT            MI   48209‐1046
VACUCOAT TECHNOLOGIES INC     33575 GIFTOS DR                                                                                        CLINTON TOWNSHIP   MI   48035‐4212
VACULIK, MICHAEL L            1‐8696‐T                                                                                               LYONS              OH   43533
VACUUM ATMOSPHERE CO          110 HAVERHILL RD                     STE 390                                                           AMESBURY           MA   01913‐2122
VACUUM ATMOSPHERES COMPANY    4652 W ROSECRANS AVE                                                                                   HAWTHORNE          CA   90250‐6841
VACUUM BARRIER CORP           4 BARTEN LN                          PO BOX 529                                                        WOBURN             MA   01801‐5601
VACUUM PRODUCTS CANADA INC    7050 TELFORD WAY UNIT 5                                                       MISSISSAUGA ON L5S 1V7
                                                                                                            CANADA
VACUUMSCHMELZE CORP           4027 WILL ROGERS PKWY                                                                                  OKLAHOMA CITY      OK 73108‐2035
VACUUMSCHMELZE GMBH & CO KG   GRUNER WEG 37                                                                 HANAU 63450 MALAYSIA
VACUUMSCHMELZE GMBH & CO KG   GRUENER WEG 37                                                                HANAU HE 63450
VADA ANDERSEN                 3601 W 116TH PL                                                                                        CHICAGO            IL   60655‐3676
VADA BOUTIN                   5305 SE 87TH ST                                                                                        OKLAHOMA CITY      OK   73135‐6146
VADA CAIN                     PO BOX 294                                                                                             HUSTONVILLE        KY   40437‐0294
VADA CARPENTER                2640 GLADSTONE ST                                                                                      MORAINE            OH   45439‐1624
VADA COWAN                    129 MOUNTAIN VIEW DR                                                                                   AZLE               TX   76020‐4407
VADA DENHAM                   13850 EWING RD                                                                                         WHITTINGTON        IL   62897‐1241
VADA EDWARDS                  THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                       HOUSTON            TX   77017
VADA EVANS                    319 E 12 ST. BUILDING B              APT 303B                                                          ANDERSON           IN   46016
VADA FAIR                     6384 SHEPPARD DR                                                                                       WESTLAND           MI   48185‐7764
VADA FERRELL                  3519 N ROFF AVE                                                                                        OKLAHOMA CITY      OK   73112‐3367
VADA HAGEMEISTER              12340 HALL RD                                                                                          ATLANTA            MI   49709‐9362
VADA HAYDEN                   3410 OLD DUKEDOM RD                                                                                    MAYFIELD           KY   42066‐6107
VADA HYTEN                    2915 OTSEGO RD                                                                                         WATERFORD          MI   48328‐3249
VADA MARTIN                   4888 HARDELL DR                                                                                        FAIRFIELD          OH   45014‐1417
VADA MAX                      1121 NW 1ST ST                                                                                         NEWCASTLE          OK   73065‐4006
VADA RANES                    5400 UPPER MT VERNON RD                                                                                EVANSVILLE         IN   47712‐3221
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                       Part 37 of 40 Pg 827 of 901
Name                                Address1                          Address2               Address3    Address4         City                   State Zip
VADA RAVINE, KAREN A GORTNEY POA    C/O VADA RAVINE                   PO BOX 545                                          ZOAR                    OH 44697

VADA ROSEBERRY                      3033 BROWN ST                                                                         NEW CASTLE             IN   47362‐3631
VADA ROSECRANS                      2923 THUNDERBIRD DR                                                                   BAY CITY               MI   48706‐3121
VADA SHOOK                          9717 KEEL CT                                                                          FORT MYERS             FL   33919‐4462
VADA STIMSON                        RM 208                            60 WEST SANILAC ROAD                                SANDUSKY               MI   48471‐1063
VADA TAYLOR                         563 JOSEPHINE ST                                                                      DETROIT                MI   48202‐1813
VADA WIEGAND                        619 N ROSEVILLE ST                                                                    PARIS                  AR   72855‐2336
VADA WILKERSON                      5706 HUMMINGBIRD LN                                                                   CLARKSTON              MI   48346‐2928
VADA WILKERSON                      3330 GARRETT RD                                                                       MONROE                 LA   71202‐4730
VADAKADATHU C ZACHARIAH             120 SEWARD ST APT 306                                                                 DETROIT                MI   48202‐4447
VADALA, JOEL D                      288 WELLINGTON RD                                                                     WEBSTER                NY   14580‐1442
VADALA, MINERVA L                   288 WELLINGTON RD.                                                                    WEBSTER                NY   14580‐1442
VADALABENE, JOHN J                  36542 SAINT CLAIR DR                                                                  NEW BALTIMORE          MI   48047‐5562
VADAS STEVE                         28 CHARTERHOUSE RD                                                                    NEW MILFORD            CT   06776‐2608
VADAS, JOHN K                       4704 HOAGLAND BLACKSTUB RD                                                            CORTLAND               OH   44410‐9507
VADAS, MICHAEL A                    3400 ALMERINDA DR                                                                     CANFIELD               OH   44406‐9203
VADAS, MICHAEL S                    66 WESTMINSTER AVE                                                                    AUSTINTOWN             OH   44515‐2918
VADDIE BRITT                        6209 CALKINS RD                                                                       FLINT                  MI   48532‐3205
VADEN CHEV BUICK PONT GMC CAD       739 ELM ST W                                                                          HAMPTON                SC   29924‐3105
VADEN CHEVROLET PONTIAC BUICK GMC   PO BOX 1307                                                                           BEAUFORT               SC   29901‐1307

VADEN GALVESTON TUCKER              FOSTER & SEAR, LLP                817 GREENVIEW DR.                                   GRAND PRAIRIE          TX   75050
VADEN OF BEAUFORT, INC.             JANE THACHER                      PO BOX 1307                                         BEAUFORT               SC   29901‐1307
VADEN OF SOUTH CAROLINA, INC.       JANE THACHER                      739 ELM ST W                                        HAMPTON                SC   29924‐3105
VADEN, AILEEN                       1808 COLONIAL VILLAGE WAY APT 3                                                       WATERFORD              MI   48328‐1926
VADEN, FRANCES J                    208 PEANUT RIDGE RD                                                                   MC RAE                 AR   72102‐9609
VADEN, HENRY I                      4810 ROXTON AVE                                                                       SAN ANTONIO            TX   78247‐5630
VADEN, JOHN T                       1224 TANGLEWOOD DR                                                                    GREENEVILLE            TN   37743‐6640
VADEN, KATHLEEN M                   1224 TANGLEWOOD DR                                                                    GREENEVILLE            TN   37743‐6640
VADEN, SHIRLIE                      7863 JAMES RAY RD                                                                     GLENNIE                MI   48737‐9414
VADEN, VIVIAN A                     1394 LAWSON CIRCLE                                                                    TURLINGTON PARK, SUF   VA   23434‐6024
VADEN, WILLIAM E                    16 ALTER CT                                                                           MOUNT CLEMENS          MI   48043‐1406
VADEN‐GRAYS, DEJUAN J               3248 W 29TH ST                                                                        INDIANAPOLIS           IN   46222‐2116
VADEN‐THACHER JANE                  C/O DAN VADEN CHEVROLET           119 MERIWEATHER DR                                  SAVANNAH               GA   31406‐7214
VADER, BARBARA A                    2905 FOREST CREEK DR                                                                  FORT WORTH             TX   76123‐1075
VADER, BETTY M                      HCR 01 BOX 1288                                                                       EAGLE ROCK             MO   65641‐9727
VADER, BETTY M                      34388 STATE HIGHWAY 86                                                                EAGLE ROCK             MO   65641‐7126
VADER, DOROTHY                      2449 CALLE ALMONTE                                                                    SANTA BARBARA          CA   93109‐1121
VADER, FREDERICK W                  5975 TOWERLINE RD                                                                     HALE                   MI   48739‐9059
VADER, JOY F                        2222 MAPLEWOOD AVE                                                                    FLINT                  MI   48506‐4442
VADER, JOY FAY                      2222 MAPLEWOOD AVE                                                                    FLINT                  MI   48506‐4442
VADER, LARRY L                      3090 HERD RD                                                                          METAMORA               MI   48455‐9709
VADER, SANDRA J                     2243 S TERM ST                                                                        BURTON                 MI   48519‐1030
VADHANASINDHU, PETER                42681 RICHMOND DR                                                                     STERLING HEIGHTS       MI   48313‐2930
VADHAVKAR, ABHAY V                  45849 FERMANAGH DR                                                                    NORTHVILLE             MI   48168
VADHER,BHARAT                       PO BOX 702546                                                                         DALLAS                 TX   75370‐2546
VADICE BURGETT                      1982 BIEBEL RD                                                                        CARO                   MI   48723‐9708
VADILLA BLUME                       4666 LEIGHTON LAKES DR                                                                WAYLAND                MI   49348‐8903
VADIM HIBNIK
VADIM KONSTANTINOVSKY               70 WILLOW LANE                                                                        TENAFLY                NJ   07670
VADIM SADYKOV
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                         Part 37 of 40 Pg 828 of 901
Name                                 Address1                         Address2                       Address3             Address4             City              State Zip
VADINI MARCO                         VIA NILO 2                                                                                                PESCARA
VADIS ANDERSON                       469 KINSTLER RD                                                                                           LUCASVILLE        OH    45648‐8898
VADIS DAVIS                          921 N BRENTWOOD LN                                                                                        MUNCIE            IN    47304‐3291
VADIS WINEBARGER                     1301 BEDFORD DR                                                                                           TEMPERANCE        MI    48182‐1260
VADITH HILTON                        295 CLEARVIEW ST                                                                                          GRAY              TN    37615‐3633
VADIVELU, MOHIT
VADIVELU, NATARAJAN
VADNAIS, ARTHUR J                    324 GRAND AVE                                                                                             PAWTUCKET         RI    02861‐1821
VADNAIS, EUGENE R                    629 N 12TH ST                                                                                             MIAMISBURG        OH    45342‐1961
VADNAIS, SHIRLEY M                   346 WASHINGTON STREET                                                                                     DIMONDALE         MI    48821‐8725
VADOVSKI, PAUL J                     53341 LYNNHAM LN                                                                                          SHELBY TWP        MI    48316‐2138
VADWLAS SHATRUGNA                    5 HAWTHORNE AVE                                                                                           JERSEY CITY       NJ    07306
VADWLAS, SHATRUGNA                   5 HAWTHORNE AVE                                                                                           JERSEY CITY       NJ    07306‐6508
VAE KRAWCZYK                         5590 QUEENS HWY                                                                                           PARMA             OH    44130‐1505
VAESSEN BROTHERS CHEVROLET, INC.     505 N PENNSLYVANIA AVE                                                                                    SUBLETTE          IL    61367
VAESSEN BROTHERS CHEVROLET, INC.     CORNELIUS VAESSEN                505 N PENNSLYVANIA AVE                                                   SUBLETTE          IL    61367
VAGASKI, MARGARET J                  5336 SUNROSE AVE                                                                                          LANSING           MI    48911‐3751
VAGEDES JR, EDWARD H                 3658 CRAB ORCHARD DR                                                                                      DAYTON            OH    45430‐1409
VAGEDES, CHARLES J                   9423 STEPHANIE ST                                                                                         CENTERVILLE       OH    45458‐3717
VAGEDES, DONALD E                    248 SW 159 LANE                  HAMPTON LAKES                                                            SUNRISE           FL    33326‐2269
VAGEDES, DONALD E                    248 SW 159TH LN                  HAMPTON LAKES                                                            SUNRISE           FL    33326‐2269
VAGEDES, ELIZABETH L                 1220 MARIA CT                                                                                             MIAMISBURG        OH    45342‐3419
VAGEDES, GARY E                      121 GRANGE HALL RD                                                                                        BEAVERCREEK       OH    45430‐2019
VAGEDES, GERALD P                    2038 NORTHERN DR                                                                                          DAYTON            OH    45431‐5431
VAGEDES, JOHN P                      931 BRIDDLEWOOD ST                                                                                        DAYTON            OH    45430
VAGEDES, NORBERT H                   2317 E HOME RD                   ESSEX OF SPRING FIELD                                                    SPRINGFIELD       OH    45503‐2520
VAGEDES, RITA M                      4375 S COUNTY ROAD 25A           SPRINGMEADE HEALTH CENTER      ROOM 216‐1                                TIPP CITY         OH    45371‐2956
VAGEDES, WILLIAM J                   11720 HAVERMALE RD                                                                                        NEW LEBANON       OH    45345‐9735
VAGENAS JAMES (ESTATE OF) (656856)   LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                             HOUSTON           TX    77069
VAGENAS JAMES / BARBARA HAIGLER      ICO THE LANIER LAW FIRM P C      6810 FM 1960 WEST                                                        HOUSTON           TX    77069
VAGENAS
VAGENAS, JAMES                       LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                             HOUSTON           TX    77069
VAGG, RICHARD O                      3188 BROWN RD                                                                                             ALBION            NY    14411‐9613
VAGHY, NANCY J                       18819 JAMESTOWN CIR                                                                                       NORTHVILLE        MI    48168‐1838
VAGHY, PAUL E                        38611 WESTVALE ST                                                                                         ROMULUS           MI    48174‐4726
VAGI, ALBERT                         112 TEE LN                                                                                                LENOIR CITY       TN    37771‐6785
VAGI, ALBERT H                       3266 PASEO GALLITA                                                                                        SAN CLEMENTE      CA    92672‐3520
VAGILLA, ANN M                       30416 CAREY RD                                                                                            SALEM             OH    44460‐9745
VAGILLA, ANN M                       30416 CAREY ROAD                                                                                          SALEM             OH    44460‐9745
VAGISH HOSKOTE                       462 THORNRIDGE CT                                                                                         ROCHESTER HILLS   MI    48307‐2849
VAGLIENTI, WILLIAM T                 509 KENYON AVE                                                                                            ROMEOVILLE        IL    60446‐1233
VAGNETTI ANGELA                      VAGNETTI, ANGELA                 413 BROWNING DR                                                          HOWELL            MI    48843‐2000
VAGNETTI ROBERT                      PO BOX 594                                                                                                MC HENRY          MD    21541‐0594
VAGNIER ROBERT L (358847)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA    23510
                                                                      STREET, SUITE 600
VAGNIER, ROBERT L                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA 23510‐2212
                                                                      STREET, SUITE 600
VAGNINI, BRUNA T                     8 RUTHELLEN RD                                                                                            FRAMINGHAM        MA 01701‐3841
VAGNONI BONNIE                       5411 82ND ST                                                                                              KENOSHA           WI 53142‐4118
VAGO ANTONIO & CARON GRAZIELLA       C/O LA SCALA                     STUDIO LEGALE E TRIBUTARIO     CORSO MAGENTA N 42   20123 MILANO ITALY
VAGO MARY K                          7065 W THORNAPPLE DR                                                                                      JANESVILLE         WI 53548‐8772
VAGO, JERRY K                        15559 OCEANA AVE                                                                                          ALLEN PARK         MI 48101‐1939
                                        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                            Part 37 of 40 Pg 829 of 901
Name                                   Address1                          Address2                         Address3   Address4                City                State Zip
VAGO, JOSEPH W                         2369 RIEDEN ST                                                                                        DETROIT              MI 48209‐1218
VAGO, MARY K                           7065 W THORNAPPLE DR                                                                                  JANESVILLE           WI 53548‐8772
VAGO, MICHAEL                          7065 W THORNAPPLE DR                                                                                  JANESVILLE           WI 53548‐8772
VAGOTT, CONCETTA                       289 PINEWOOD DR                                                                                       LEVITTOWN            PA 19054‐3706
VAGT, BEATRICE                         62 SEABROOK ST                                                                                        BUFFALO              NY 14207‐1320
VAGTS, CAROLL C                        9206 BIG LAKE RD                                                                                      CLARKSTON            MI 48346‐1050
VAGTS, DANIEL E                        1277 LEATHERWOOD DR                                                                                   ALTAMONTE SPRINGS    FL 32714‐1270
VAGTS, MICHAEL W
VAHABZADEH, HAMID                      2949 SHANNON DR                                                                                       OAKLAND             MI    48363‐2853
VAHAGN AGBABIAN DO                     ATTN: VAHAGN AGBABIAN             28 N SAGINAW ST # 703                                               PONTIAC             MI    48342‐2140
VAHALA, ERNEST O                       1701 TIMBERLANE DR                                                                                    FLINT               MI    48507‐1408
VAHAN BAGDASARIAN                      5253 FALLING LEAF DR                                                                                  ANN ARBOR           MI    48108‐9122
VAHE A NALBANDIAN TRUSTEE              VAHE A NALBANDIAN                 1556 N COLUMBUS AVE                                                 GLENDALE            CA    91202
VAHE BABAYANS                          4615 WILLENS AVE                                                                                      WOODLAND HILLS      CA    91364‐3810
VAHE MADONIAN                          C/O VAHE S MADONIAN               3094 BUCKINGHAM RD                                                  GLENDALE            CA    91206
VAHEY III, MICHAEL J                   3844 CROMWELL LN                                                                                      WILLIAMSBURG        VA    23188‐2660
VAHEY JR, MICHAEL J                    17265 DOLF RD                                                                                         STEWARTSTOWN        PA    17363‐8039
VAHEY ROBERT A (465630)                ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                            WILMINGTON          DE    19801‐1813
VAHEY, MICHAEL J                       19 NORWOOD CT                                                                                         MEDFORD             NJ    08055‐9375
VAHEY, ROBERT A                        ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                            WILMINGTON          DE    19801‐1813
VAHLBUSCH, CHARLES C                   8576 GALLANT FOX TRL                                                                                  FLUSHING            MI    48433‐8804
VAHLBUSCH, RICHARD M                   24680 WILLOWBROOK                                                                                     NOVI                MI    48375‐3574
VAHLE ELECT/HOUSTON                    1167 BRITTMOORE RD                                                                                    HOUSTON             TX    77043‐5003
VAHLE INC                              1167 BRITMORE                                                                                         HOUSTON             TX    77043
VAHLE INC                              1167 BRITTMOORE RD                                                                                    HOUSTON             TX    77043‐5003
VAHLE, KENNETH E                       6865 S COUNTY LINE RD 25A                                                                             TIPP CITY           OH    45371
VAHLE, RONALD W                        4750 E AHWATUKEE DR                                                                                   PHOENIX             AZ    85044‐2023
VAHLSING MILDRED                       4004 SW MELBOURNE ST                                                                                  PORT SAINT LUCIE    FL    34953‐5954
VAHNEEG MARDEROSIAN                    31844 MAINE ST                                                                                        LIVONIA             MI    48150‐3839
VAHOS RUBEN                            VAHOS, RUBEN                      4875 SUNRISE HIGHWAY SUITE 300                                      BOHEMIA             NY    11716

VAHOS, RUBEN D                         147 JAYCOX RD                                                                                         COLD SPRING         NY    10516
VAHOSKI, FRANCIS A                     29915 FORT RD                                                                                         ROCKWOOD            MI    48173‐9782
VAHRATIAN, FLORENCE                    4391 ELDERBERRY DR                                                                                    BRIGHTON            MI    48114‐8621
VAHRENHORST, JERILEE J                 5115 SUNNYBROOK CT APT 17                                                                             CAPE CORAL          FL    33904‐5821
VAHRENHORST, ROBERT H                  5115 SUNNYBROOK CT APT 17                                                                             CAPE CORAL          FL    33904‐5821
VAHUE, BARBARA J                       434 MEIGS ST                                                                                          ROCHESTER           NY    14607‐3714
VAHUE, RONALD C                        3531 GAINES BASIN RD #96B0263     ORLEANS CORRECTIONAL FACILITY                                       ALBION              NY    14411

VAHUE, WILLIAM R                       822 TROLLEY BLVD                                                                                      ROCHESTER           NY 14606‐4219
VAI, DEBORAH C                         103 TROY AVE                                                                                          WILMINGTON          DE 19804‐1925
VAIA TYMPA                             MAKRI 27                                                                      42100 TRIKALA, GREECE
VAIANA NICHOLAS (ESTATE OF) (451660)   SIMMONS FIRM                      PO BOX 559                                                          WOOD RIVER           IL   62095‐0559

VAIANA, NICHOLAS                       SIMMONS FIRM                      PO BOX 559                                                          WOOD RIVER          IL    62095‐0559
VAIASICCA, TERESA M                    2443 ARAM AVE                                                                                         SAN JOSE            CA    95128‐4208
VAIBHAV SADH                           20 HILL PARK AVE APT 1D                                                                               GREAT NECK          NY    11021‐3714
VAICIUNAS, ONA                         1310 87TH ST                                                                                          WILLOW SPRINGS      IL    60480‐1386
VAIDEN MERYL                           1200 BEACON PKWY E                NO 605                                                              BIRMINGHAM          AL    35209‐1025
VAIDEN, AMANDA                         651 WALNUT GROVE RD                                                                                   BOLIVAR             TN    38008‐8032
VAIDEN, AMANDA                         19220 HIGHWAY 57                                                                                      MIDDLETON           TN    38052‐4427
VAIDIC, VIRGINIA M                     25146 JEFFERSON CT                                                                                    SOUTH LYON          MI    48178‐1174
                               09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                Part 37 of 40 Pg 830 of 901
Name                           Address1                          Address2                      Address3   Address4         City               State Zip
VAIDO, ALEX J                  22710 W CEDAR AVE                                                                           CURTICE             OH 43412‐9634
VAIDYA, BHALCHANDRA K          212 WHITCLIFF CT                                                                            GAITHERSBURG        MD 20878‐2744
VAIDYA, SHAILESH Y             3914 BELLINGER WAY                                                                          MISSOURI CITY       TX 77459
VAIDYA, VILAS                  4739 RAMBLING DR                                                                            TROY                MI 48098‐6635
VAIDYANATHAN, PRABHAKAR        30 AVE AT PORT IMPERIAL APT 111                                                             WEST NEW YORK       NJ 07093‐8373
VAIL BUICK‐PONTIAC‐GMC         606 BEDFORD RD                                                                              BEDFORD HILLS       NY 10507‐1503
VAIL BUICK‐PONTIAC‐GMC         ROBERT VAIL                       606 BEDFORD RD                                            BEDFORD HILLS       NY 10507‐1503
VAIL CHEVROLET INC             ABOYOUN & HELLER LLC              695 US HIGHWAY 46 STE 401                                 FAIRFIELD           NJ 07004‐1561
VAIL CHEVROLET INC MEDIATION   VAIL CHEVROLET INC                695 US HIGHWAY 46 STE 401                                 FAIRFIELD           NJ 07004‐1561
VAIL CHEVROLET, INC.           ROBERT VAIL                       PO BOX 370                                                BEDFORD HILLS       NY 10507‐0370
VAIL CHEVROLET, INC.           PO BOX 370                                                                                  BEDFORD HILLS       NY 10507‐0370
VAIL DUNLAP & ASSOCIATES       PO BOX 10161                                                                                NEWPORT BEACH       CA 92658‐0161
VAIL HORAN                     215 N CANAL RD LOT 78                                                                       LANSING             MI 48917‐8668
VAIL I I, JAROLD R             7413 CARROLL                                                                                SWARTZ CREEK        MI 48473‐8944
VAIL II, IRA G                 119 PAMLICO LN                                                                              CHOCOWINITY         NC 27817‐8997
VAIL II, JAROLD R              7413 CARROLL                                                                                SWARTZ CREEK        MI 48473‐8944
VAIL JR, DONALD P              10181 SOUTH MCGRAW DRIVE                                                                    OAK CREEK           WI 53154‐5805
VAIL ROBERT (417661)           HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST , 17TH FLOOR                               PHILADELPHIA        PA 19103

VAIL ROBERT (451422)           HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST , 17TH FLOOR                               PHILADELPHIA       PA 19103

VAIL RUBBER WORKS INC          PO BOX 64                                                                                   SAINT JOSEPH       MI   49085‐0064
VAIL RUBBER WORKS INC          521 LANGLEY AVE                   PO BOX 64                                                 SAINT JOSEPH       MI   49085‐1725
VAIL, ALFRED J                 5727 S OAK LN                                                                               ANDERSON           IN   46013
VAIL, ALFRED J                 5727 OAK LN                                                                                 ANDERSON           IN   46013
VAIL, ALICE J                  1270 CHANUTE AVE                                                                            PERU               IN   46970‐8706
VAIL, DANIEL S                 25571 CLOIE DR                                                                              WARREN             MI   48089‐1301
VAIL, DONALD G                 5126 FAIRGROUNDS RD                                                                         HAMBURG            NY   14075
VAIL, GEORGE R                 110 EDGEWATER DR.                                                                           YOUNGSTOWN         OH   44515‐4515
VAIL, JANE                     8301 MONROE ST NE                                                                           SPRING LAKE PARK   MN   55432‐1152
VAIL, JAROLD R                 715 N MAIN ST                                                                               LAPEER             MI   48446‐1928
VAIL, JONATHAN B               PO BOX 1002                                                                                 SPRING HILL        TN   37174‐1002
VAIL, JUDY D                   715 N MAIN ST                                                                               LAPEER             MI   48446‐1928
VAIL, KIMI L                   7413 CARROLL                                                                                SWARTZ CREEK       MI   48473‐8944
VAIL, MAVIS D                  5727 OAK LN                                                                                 ANDERSON           IN   46013‐3451
VAIL, MICHAEL D                43 OLD ORCHARD LN                                                                           ORCHARD PARK       NY   14127
VAIL, PAUL D                   10912 BRAEWICK DR                                                                           CARMEL             IN   46033‐3834
VAIL, ROBERT                   HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST, 17TH FLOOR                                PHILADELPHIA       PA   19103

VAIL, ROBERT F                 608 W HENRY ST                                                                              LINDEN             NJ   07036‐5020
VAIL, RUTH                     4460 W LOCH ALPINE DR                                                                       ANN ARBOR          MI   48103‐9425
VAIL, RUTH E                   583 JEFFERIES RD                                                                            RAYVILLE           LA   71269‐6168
VAIL, SAMUEL R                 6070 JACKIE DR                                                                              LIBERTY TOWNSHIP   OH   45044‐9426
VAIL, SUSAN L                  11404 NORTH GASBURG ROAD                                                                    MOORESVILLE        IN   46158‐6753
VAIL, TIMOTHY E                5106 DOLIVER DR                                                                             HOUSTON            TX   77056‐2408
VAIL, VICTORIA J               1219 FAIRFAX ST                                                                             ANDERSON           IN   46012‐4344
VAIL, WILLIAM G                4036 PARK AVE                                                                               HAMBURG            NY   14075‐2925
VAIL, WILLIAM GEORGE           4036 PARK AVE                                                                               HAMBURG            NY   14075‐2925
VAILE JR, THEODORE U           17823 N 135TH DR                                                                            SUN CITY WEST      AZ   85375‐4932
VAILL JR, BENJAMIN D           115 N WOOD CT                                                                               CHESHIRE           CT   06410‐2848
VAILLANCOURT JR, LEO           145 N HOLCOMB RD                                                                            CLARKSTON          MI   48346‐1469
VAILLANCOURT ROBERT B          2095 SW GULL HARBOR LN                                                                      PALM CITY          FL   34990‐2835
                          09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
                                                            Part 37 of 40 Pg 831 of 901
Name                      Address1                             Address2                   Address3     Address4         City              State Zip
VAILLANCOURT, DALE E      7375 MAGNOLIA DR                                                                              JENISON            MI 49428‐8714
VAILLANCOURT, DARYA M     5019 TONAWANDA CREEK RD                                                                       N TONAWANDA        NY 14120‐9536
VAILLANCOURT, DELLA       8221 VALLEY ST                                                                                ALDEN              MI 49612‐9560
VAILLANCOURT, DONALD      PO BOX 374                                                                                    LITCHFIELD         ME 04350‐0374
VAILLANCOURT, ERNEST H    200 HURON ST                                                                                  BAY CITY           MI 48706‐4931
VAILLANCOURT, GEORGE      314 S CENTER ST                                                                               EATON RAPIDS       MI 48827‐1343
VAILLANCOURT, HENRY J     7977 N PORTSMOUTH RD                                                                          BAY CITY           MI 48708‐9506
VAILLANCOURT, ROBERT E    9802 CENTER LN                                                                                STANWOOD           MI 49346‐9612
VAILLANCOURT, RUSSELL E   7122 RIVER CLUB BLVD                                                                          BRADENTON          FL 34202‐4015
VAILLANCOURT, THOMAS J    8 DAYLILLY CT                                                                                 WILMINGTON         DE 19808‐1951
VAILLANCOURT, TIMOTHY J   34 LAKE TAHOE CIR                                                                             BEAR               DE 19701‐3814
VAILLENCOURT, HELEN       2706 PINE RIDGE RD                                                                            WEST BLOOMFIELD    MI 48324‐1959
VAILS LUMBER              BOX 205 43 S RAILROAD ST                                                                      SCOTTSBURG         IN 47170
VAINAVICZ, SUSAN A        2450 21 MILE RD                                                                               KENT CITY          MI 49330‐9737
VAIR, JANET A             539 N EAST ST                                                                                 TIPTON             IN 46072‐1430
VAIR, ROBERT C            21898 BEAN RD E                                                                               ATHENS             AL 35613‐5149
VAIRETTA, ISABELL C       316 LODI ST                                                                                   SYRACUSE           NY 13203‐2428
VAIRETTA, ISABELL C       316 LODI STREET                                                                               SYRACUSE           NY 13203‐2428
VAISALA INC               100 COMMERCE WAY                                                                              WOBURN             MA 01801
VAISALA INC               10 GILL ST # D                                                                                WOBURN             MA 01801‐1721
VAISALA OYJ               10 GILL ST # D                                                                                WOBURN             MA 01801‐1721
VAISANEN, ERKKI T         E5346 STATE HIGHWAY M94                                                                       MUNISING           MI 49862‐8850
VAISANEN, MARY C          E5346 STATE HIGHWAY M94                                                                       MUNISING           MI 49862‐8850
VAISANEN, MARY C          E5346 STATE HWY M94,                                                                          FOREST LAKE        MI 49862‐8550
VAISE JR, ALBERT J        301 COLBY CIR                                                                                 GLEN BURNIE        MD 21060‐7622
VAISE, ANTHONY M          826 UMBRA ST                                                                                  BALTIMORE          MD 21224‐4611
VAISE, DANIEL E           9721 MAGLEDT RD                                                                               BALTIMORE          MD 21234‐1818
VAITKUS, VALEN V          N9384 ISLAND DR                                                                               MUKWONAGO          WI 53149
VAITUKAITIS, RUTH J       6 A 6 CONCORDE WAY                                                                            WINDSOR LOCKS      CT 06096
VAIZ, DAVID G             16339 HIAWATHA ST                                                                             GRANADA HILLS      CA 91344‐6831
VAIZ, MANUEL G            14101 SAYRE ST                                                                                SYLMAR             CA 91342‐4157
VAIZ, STEVEN R            14625 KALISHER ST                                                                             SAN FERNANDO       CA 91340
VAJDA, CHARLES W          17310 WARRIOR DR                                                                              HOWARD CITY        MI 49329‐9160
VAJDA, DEBORAH J          501 W CLARA ST                                                                                LINWOOD            MI 48634‐9449
VAJDA, TIMOTHY W          54 WILSON AVE                                                                                 NILES              OH 44446‐1929
VAJI, KATHLEEN J          19105 APELT DR                                                                                CLEVELAND          OH 44135‐1732
VAJI, KATHLEEN J          19105 APELT AVE                                                                               CLEVELAND          OH 44135‐1732
VAKA, HAMIDA              1941 WALNUT                                                                                   DEARBORN           MI 48124‐4027
VAKA, HAMIDA              1941 WALNUT ST                                                                                DEARBORN           MI 48124‐4027
VAKA, SANIJE              10 DOVER LN                                                                                   DEARBORN           MI 48120‐1020
VAKA, SANIJE              10 DOVER LANE                                                                                 DEARBORN           MI 48120
VAKASY, GERALD A          45 EDWARD DR                                                                                  PALM COAST         FL 32164‐6350
VAKIENER, TAMMY L         93 BRAELOCH XING                                                                              PENFIELD           NY 14526‐2812
VAKNIN YEHUDA             7359 FULTON AVE                                                                               NORTH HOLLYWOOD    CA 91605‐4114
VAKOS W J MANAGEMENT CO   4840 SOUTHPOINT DR                                                                            FREDERICKSBURG     VA 22407‐2600
VAKULA JR, EDWARD J       3412 FISH LAKE RD                                                                             LAPEER             MI 48446‐8353
VAL ALLISON JR            3258 E FARRAND RD                                                                             CLIO               MI 48420‐9162
VAL BIZAS                 3501 RICHMOND AVE                                                                             LINCOLN PARK       MI 48146‐3486
VAL BREAULT               8101 WARREN BLVD                                                                              CENTER LINE        MI 48015‐1446
VAL BURRER                1828 N LINCOLN PARK W                                                                         CHICAGO             IL 60614‐5308
VAL DECRISTOFANO          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET   22ND FLOOR                    BALTIMORE          MD 21201
                           09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                              Part 37 of 40 Pg 832 of 901
Name                       Address1                           Address2                 Address3     Address4         City               State Zip
VAL DENNIS                 4202 WATERFORD GLEN DR                                                                    MANSFIELD           TX 76063‐9131
VAL DUNCAN                 232 N WATER ST                                                                            VASSAR              MI 48768‐1753
VAL E HANNAH               3300 COOLEY DR                                                                            LANSING             MI 48911‐1252
VAL GRIMES                 2260 OLD FARMINGTON RD                                                                    LEWISBURG           TN 37091‐2239
VAL HANNAH                 3300 COOLEY DR                                                                            LANSING             MI 48911‐1252
VAL J ALLISON JR           3258 E FARRAND RD                                                                         CLIO                MI 48420‐9162
VAL JOE WRIGHT             ROBERT W PHILLIPS, SIMMONS BROWDER 707 BERKSHIRE BLVD       PO BOX 521                    EAST ALTON           IL 62024
                           GIANARIS ANGELIDES & BARNERD LLC

VAL LARKIN                 585 SOUTH FENMORE RD RR1                                                                  MERRILL            MI    48637
VAL PARKER                 1660 ELK DR                                                                               GEORGETOWN         TX    78626‐4612
VAL PREDA LEASING, INC.    700 AIRPORT PKWY                                                                          SOUTH BURLINGTON   VT    05403‐5831
VAL SHEPARD                7189 HILLSIDE DR                                                                          W BLOOMFIELD       MI    48322‐2851
VAL TECH HOLDINGS INC      1667 EMERSON ST                                                                           ROCHESTER          NY    14606‐3119
VAL TECH HOLDINGS INC      JAMES ANDOLINA                      1667 EMERSON STREET                                   CHARLESTON         SC    29405
VAL TECH, LLC              85 PIXLEY INDUSTRIAL PKWY                                                                 ROCHESTER          NY    14624‐2322
VAL TECH/ROCHESTER         1667 EMERSON ST                                                                           ROCHESTER          NY    14606‐3119
VAL THOMAS                 143 PEBBLE CT                                                                             BOWLING GREEN      KY    42101‐9187
VAL VERDE COUNTY TAX A/C   PO BOX 1368                                                                               DEL RIO            TX    78841‐1368
VAL WAGMAN                 7424 LAPEER RD                                                                            DAVISON            MI    48423‐2531
VAL WALLACE                518 CHESTNUT ST                                                                           JANESVILLE         WI    53548‐4775
VAL WARD CADILLAC INC      12626 S CLEVELAND AVE                                                                     FORT MYERS         FL    33907‐3824
VAL WARD CADILLAC, INC.    12626 S CLEVELAND AVE                                                                     FORT MYERS         FL    33907‐3824
VAL WARD CADILLAC, INC.    VALMORE WARD                        12626 S CLEVELAND AVE                                 FORT MYERS         FL    33907‐3824
VAL‐JO KNOWLTON            PO BOX 2586                                                                               LAKE CITY          FL    32056‐2586
VALABOJU, ASHOK            1364 DRURY LN                                                                             SOUTH LYON         MI    48178‐8721
VALACHOVIC, MARY A         14100 TAMIAMI TRL E LOT             LOT ‐ 572                                             NAPLES             FL    34114‐8434
VALADA HAWKINS             1206 W 35TH ST                                                                            INDIANAPOLIS       IN    46208‐4126
VALADA JONES               911 KETCHAM AVE                                                                           TOLEDO             OH    43608‐2011
VALADE, DOROTHY M          41610 BERLY DR                                                                            CLINTON TWP        MI    48038‐4630
VALADE, HELENE L           1285 CALL ST                                                                              BOYNE CITY         MI    49712‐9043
VALADE, MARIAN E           19526 MANN CT                                                                             NORTHVILLE         MI    48167‐2506
VALADE, RONALD J           2880 FAIR ACRES DR                                                                        ROCHESTER HILLS    MI    48307‐4471
VALADE, WILLIAM H          16070 WEATHERFIELD DR                                                                     NORTHVILLE         MI    48168‐2355
VALADEZ I I I, MIGUEL      2514 FALLCREEK ST                                                                         ARLINGTON          TX    76014‐1012
VALADEZ JR., DAVID         3509 LEXINGTON AVE APT 1                                                                  KANSAS CITY        MO    64124‐2093
VALADEZ, CLAUDIA R         5714 N 48TH LN                                                                            GLENDALE           AZ    85301‐6115
VALADEZ, DAVID M           5404 ATLANTIS TER                                                                         ARLINGTON          TX    76016‐2215
VALADEZ, DONNA J           1020 W ALTO RD                                                                            KOKOMO             IN    46902‐4909
VALADEZ, EDNA M            117 PERTH ST                                                                              VICTORIA           TX    77904‐2805
VALADEZ, EUFROCINA
VALADEZ, HECTOR            GIANELLI & FORES, DICKERSON BRETT   PO BOX 3212                                           MODESTO            CA 95353‐3212
VALADEZ, IRMA
VALADEZ, JAVIER
VALADEZ, JOSE A            2831 CARTERS CREEK STATION RD                                                             COLUMBIA           TN 38401‐7307
VALADEZ, MARK E            13697 S 800 E                                                                             GALVESTON          IN 46932
VALADEZ, MIRIAM PENALOZA
VALADEZ, RYAN A            2528 LAUREN LN                                                                            KOKOMO              IN   46901‐7088
VALADEZ, TAMMY
VALADEZ, VIVIAN            WINGER & RINGHOFF                   PO BOX 576587                                         MODESTO            CA 95357‐6487
VALADEZ, XAVIER
VALANCIUS, JOHN P          83 JUNIPER RD                                                                             DELTA              PA 17314‐8616
                            09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
                                                              Part 37 of 40 Pg 833 of 901
Name                       Address1                        Address2                      Address3              Address4         City               State Zip
VALANDINGHAM, ALBERT R     DALEY ROBERT                    707 GRANT ST STE 2500                                                PITTSBURGH          PA 15219‐1945
VALANDINGHAM, FRANK L      2300 S ACORN AVE                                                                                     MUNCIE              IN 47302‐2956
VALANTAS, PATRICIA A       30430 BROWN ST                                                                                       GARDEN CITY         MI 48135‐1425
VALANTINE, DOUGLAS E       2710 BEARS DEN RD                                                                                    YOUNGSTOWN          OH 44511‐2201
VALANTINE, EDWARD A        2928 WHISPERING PINES DR                                                                             CANFIELD            OH 44406‐9628
VALANTINE, MILDRED L       6430 NEW RD                                                                                          AUSTINTOWN          OH 44515‐5509
VALANTINE, WALLY J         6995 BERRY BLOSSOM DR                                                                                CANFIELD            OH 44406‐8503
VALANZANO, KIMBERLY K      6961 CENTRAL AVE                                                                                     INDIANAPOLIS        IN 46220‐1025
VALAREE JUNKER             2695 WAKEFIELD RD                                                                                    BERKLEY             MI 48072‐1536
VALARI HENNESSY            4044 SAINT ANDREWS CT APT 5                                                                          CANFIELD            OH 44406‐9078
VALARIE A LANXTON          9374 STANLEY RD                                                                                      FLUSHING            MI 48433‐1010
VALARIE BOATMAN            37863 WENDY LEE ST                                                                                   FARMINGTON HILLS    MI 48331‐3736
VALARIE BRITT              PO BOX 310295                                                                                        FLINT               MI 48531‐0295
VALARIE COULTER            828 PRYOR DR                                                                                         ARLINGTON           TX 76001‐5910
VALARIE COULTER            2312 APPIAN WAY                                                                                      PEARLAND            TX 77584‐8843
VALARIE EDWARDS            3651 BAINBRIDGE RD                                                                                   CLEVELAND HTS       OH 44118‐2241
VALARIE ELLIOTT            6246 US ROUTE 40                                                                                     TIPP CITY           OH 45371‐9484
VALARIE GELCIUS            291 BERGEN AVE                                                                                       KEARNY              NJ 07032‐3354
VALARIE GREENWAY           841 INDEPENDENCE CT                                                                                  WINDER              GA 30680‐2820
VALARIE GUNTHER            1840 DEERFIELD AVE SW                                                                                WARREN              OH 44485‐3941
VALARIE HESTER             1003 BAY RIDGE DR                                                                                    BENTON              LA 71006‐3464
VALARIE J GUNTHER          1840 DEERFIELD SW                                                                                    WARREN              OH 44485‐3941
VALARIE JOHNSON‐MAY        6224 SHELDON ST                                                                                      YPSILANTI           MI 48197‐8223
VALARIE KENDRICK           1308 LOCHAVEN CT APT 4                                                                               WATERFORD           MI 48327‐4206
VALARIE L ELLIOTT          6246 US ROUTE 40                                                                                     TIPP CITY           OH 45371‐9484
VALARIE L ELLIOTT          6246 U S ROUTE 40                                                                                    TIPP CITY           OH 45371
VALARIE LANXTON            9374 STANLEY RD                                                                                      FLUSHING            MI 48433‐1010
VALARIE MATUSZ             16741 29 MILE                                                                                        RAY                 MI 48096
VALARIE MURRAY             19140 WESTMORELAND RD                                                                                DETROIT             MI 48219‐2735
VALARIE PANGLE             21340 KARL ST                                                                                        DETROIT             MI 48219
VALARIE PERECES            2832 SUNCREST DR                                                                                     SARASOTA            FL 34239
VALARIE SAVAGE             11033 CARR RD                                                                                        DAVISON             MI 48423‐9317
VALARIE VARNER             1963 GLYNN CT                                                                                        DETROIT             MI 48206‐1742
VALARIE WIMS               16830 ASHTON AVE                                                                                     DETROIT             MI 48219‐4102
VALARIK, ANN B             RR 3 BOX 1393                                                                                        PAHOA               HI 96778‐7524
VALARIK, ANN B             RR3 BOX 1215                                                                                         PAHOA               HI 96778‐7513
VALARY WILLIAMS            10835 PEERLESS ST                                                                                    DETROIT             MI 48224‐1161
VALASCHO, TYRUS            6302 GOLF VIEW DR                                                                                    CLARKSTON           MI 48346‐3082
VALASEK FRANK J (337964)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                          NORFOLK             VA 23510
                                                           STREET, SUITE 600
VALASEK MELISSA            VALASEK, MELISSA                CHENOSKY LAW                  24099 STONEHEDGE DR                    WESTLAKE           OH   44145
VALASEK, ALBERT J          105 CIRCLE RD                                                                                        N SYRACUSE         NY   13212‐4032
VALASEK, ALBERT O          10580 COPAS RD                                                                                       LENNON             MI   48449‐9651
VALASEK, ANNA M            17628 FRANCAVILLA DR                                                                                 LIVONIA            MI   48152‐3110
VALASEK, DANNY L           7021 S SAINT CLAIR RD                                                                                SAINT JOHNS        MI   48879‐9138
VALASEK, FRANK J           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA   23510‐2212
                                                           STREET, SUITE 600
VALASEK, FREDERICK G       262 ACORN                       PO BOX 259                                                           PORT AUSTIN        MI 48467‐6700
VALASEK, JOSEPH A          4625 RITA ST                                                                                         AUSTINTOWN         OH 44515‐3831
VALASEK, MELISSA
VALASEK, MELISSA           CHENOSKY LAW                    21161 STRAFORD AVE                                                   ROCKY RIVER        OH 44116‐1250
VALASEK, SUSAN M           4223 S BAILEY RD                                                                                     NORTH JACKSON      OH 44451‐9731
                                09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
                                                                   Part 37 of 40 Pg 834 of 901
Name                            Address1                            Address2                        Address3               Address4             City             State Zip
VALASSIS                        19975 VICTOR PKWY                                                                                               LIVONIA           MI 48152‐7001
VALASSIS COMMUNICATIONS INC     19975 VICTOR PKWY                                                                                               LIVONIA           MI 48152‐7001
VALASSIS COMMUNICATIONS INC     C/O DAVID S MENDELSON, ATTORNEY AND AGENT FOR VALASSIS              LAW OFFICES OF DAVID   322 N OLD WOODWARD   BIRMINGHAM        MI 48009
                                AUTHORIZED                          COMMUNICATIONS INC              MENDELSON PC           AVE
VALASSIS JUNE                   451 HERITAGE DR APT 604                                                                                         POMPANO BEACH    FL   33060‐7774
VALASSIS MICHAEL                VALASSIS, MICHAEL                   280 SOUTH BEVERLY DRIVE #280                                                BEVERLY HILLS    CA   90212
VALASSIS, MICHAEL               GLOTZER & SWEAT LLP                 280 SOUTH BEVERLY DRIVE #280                                                BEVERLY HILLS    CA   90212
VALASTEK, KALMAN S              458 AUTUMN LN                                                                                                   GREENWOOD        IN   46143‐1108
VALCA COOK                      1108 CLEARVIEW DR                                                                                               MOUNT JULIET     TN   37122‐3429
VALCARCE, JENNY                 102 WIRTH AVE                                                                                                   SLEEPY HOLLOW    NY   10591‐1932
VALCHAR, GEORGE                 311 S BALD HILL RD                                                                                              NEW CANAAN       CT   06840‐2915
VALCI, CHARLES L                C/O CAROL A MILLER                  2150 W RANDOLPH ST APT 3‐804G                                               SAINT CHARLES    MO   63301

VALCICH, ROY W                  1112 BELLEVISTA CT                                                                                              SEVERNA PARK     MD   21146‐4846
VALCO CIN/CINCINNATI            411 CIRCLE FREEWAY DR                                                                                           CINCINNATI       OH   45246‐1213
VALCO INSTRUMENTS CO INC        PO BOX 55603                                                                                                    HOUSTON          TX   77255‐5603
VALCO LOGISTICS INC             1402 LOWELL ST                                                                                                  ELYRIA           OH   44035‐4867
VALCON ACQUISITION HOLDING BV
VALCON ACQUISITION HOLDING BV   1525 WILSON BLVD STE 1000                                                                                       ARLINGTON        VA   22209‐2443
VALCOUR C CARROLL               160 SANSOME STREET, 6TH FLOOR                                                                                   SAN FRANCISCO    CA   94104
VALD SVEKIS                     VALD SVEKIS                         406 WOODLAND DR                                                             SARASOTA         FL   34234‐3772
VALD SVEKIS                     406 WOODLAND DR                                                                                                 SARASOTA         FL   34234
VALDA CAUTHER                   155 RHETT DR                                                                                                    MC CORMICK       SC   29835‐2947
VALDA MIKEK                     635 30TH AVE W #314 F                                                                                           BRADENTON        FL   34205
VALDA PARRIMAN                  5691 PINNACLE RD                                                                                                MIAMISBURG       OH   45342‐1025
VALDECINO ASSUNCAO              1677 PARKS RD                                                                                                   OAKLAND          MI   48363‐2543
VALDEMAR MOLINA                 2301 LEVERN ST                                                                                                  FLINT            MI   48506‐3443
VALDEMARS VAVERE                2670 TAMARACK DR                                                                                                JENISON          MI   49428‐9194
VALDEON, JACINTO                1100 SW 130TH AVE BLG H 109                                                                                     PEMBROKE PINES   FL   33027
VALDEON, TERESA R               1100 SW 130TH AVE APT 109                                                                                       PEMBROKE PINES   FL   33027‐2139
VALDEON, URBANO                 8101 SW 73RD AVE APT 32                                                                                         MIAMI            FL   33143‐7550
VALDEOSO PATTERSON              2311 TOD AVE NW                                                                                                 WARREN           OH   44485
VALDERAS JR, ERNESTO            5815 DEEPWOOD CT                                                                                                CLARKSTON        MI   48346‐3165
VALDERAS, ERNESTO A             105 E BEVERLY AVE                                                                                               PONTIAC          MI   48340‐2615
VALDERAS, EVELIA C              29107 SEDGEFIELD                                                                                                SPRING           TX   77386‐5416
VALDERAS, NANCY L               2050 ARDSLEY DRIVE                                                                                              ORTONVILLE       MI   48462‐8567
VALDERAZ, FELIVERTO             106 ARMSTRONG ST                                                                                                DONNA            TX   78537‐2407
VALDEREE EARHART                188 N 10TH ST                                                                                                   MIDDLETOWN       IN   47356‐1704
VALDERRAMA JESSE (645121)       (NO OPPOSING COUNSEL)
VALDERRAMA, JAMES G             15425 HOLLAND RD                                                                                                BROOK PARK       OH   44142‐3343
VALDERRAMA, JESSE               C/O SIMMONS COOPER                  PO BOX 521                      707 BERKSHIRE BLVD                          EAST ALTON       IL   62024
VALDES ANNE                     VALDES, ANNE                        21201 NE 13 PL                                                              N. MIAMI BEACH   FL   33179
VALDES JESUS (499397)           LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                                     MIAMI            FL   33143‐5163
VALDES OMAR (499398)            LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                                     MIAMI            FL   33143‐5163
VALDES, ABEL                    132 STONEBURG DRIVE                                                                                             DUSON            LA   70529‐3946
VALDES, ALEJANDRO
VALDES, ANA MARIA               2122 31ST AVE APT 2R                                                                                            ASTORIA          NY   11106
VALDES, ANA MARIA               PO BOX 6                                                                                                        ASTORIA          NY   11106
VALDES, ANNE                    C/O JULIO ARANGO LAW FIRM           ATTN: JULIO V. ARANGO, ESQ.     1801 SW 3RD AVENUE                          MIAMI            FL   33129
VALDES, ANNE                    C/O JULIO ARAUGO ESQ                1801 SW 3 AVE #600                                                          MIAMI            FL   33129
                                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                          Part 37 of 40 Pg 835 of 901
Name                                  Address1                            Address2                      Address3                       Address4         City            State Zip
VALDES, ELIO                          COLSON HICKS EIDSON COLSON COOPER   255 ARAGON AVE FL 2                                                           CORAL GABLES     FL 33134‐5059
                                      MATTHEWS MARTINEZ GONZALEZ

VALDES, EUGENE                        3551 ROSE CIR                                                                                                     SEAL BEACH      CA    90740‐3131
VALDES, FLAVIO O                      727 RARITAN AVE                                                                                                   PERTH AMBOY     NJ    08861‐2419
VALDES, JESUS                         LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                                       MIAMI           FL    33143‐5163
VALDES, JOSE G                        475 SIGSBEE RD                                                                                                    ORANGE PARK     FL    32073‐3410
VALDES, JUANA E.                      1030 LINCOLN B CENT VILLAGE                                                                                       BOCA RATON      FL    33434
VALDES, LOUIS                         493 W LOOKOUT AVE                                                                                                 HACKENSACK      NJ    07601‐1517
VALDES, MAGDALENA                     370 FAIRVIEW AVE APT. 10G                                                                                         FAIRVIEW        NJ    07022‐2128
VALDES, MANUEL G                      353 MIDTEN HOF                                                                                                    SOLVANG         CA    93463‐2963
VALDES, OMAR                          LIPMAN DAVID M                      5901 SW 74TH ST STE 304                                                       MIAMI           FL    33143‐5163
VALDES, OMAR                          THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD       SUITE 44                                        CORAL GABLES    FL    33146
VALDES, THERESA A                     353 MIDTEN HOF                                                                                                    SOLVANG         CA    93463‐2963
VALDES, THERESA M                     919 MCKIM AVE                                                                                                     LANSING         MI    48910‐3221
VALDEZ ALBERT T                       10060 SAINT BERNARD DR                                                                                            SHREVEPORT      LA    71106‐8544
VALDEZ ALBERT T                       10060 SAINT BERNARD DR                                                                                            SHREVEPORT      LA    71106‐8544
VALDEZ CARLOS ALBERTO JR              CUADRA, CRISTINA                    5473 BLAIR RD STE 200                                                         DALLAS          TX    75231‐4168
VALDEZ CARLOS ALBERTO JR              RUIZ, LEONCIO                       5473 BLAIR RD STE 200                                                         DALLAS          TX    75231‐4168
VALDEZ CARLOS ALBERTO JR              VALDEZ, CARLOS ALBERTO              5473 BLAIR RD STE 200                                                         DALLAS          TX    75231‐4168
VALDEZ ERIKA                          VALDEZ, ARACELY                     225 S LAKE AVE STE 300                                                        PASADENA        CA    91101‐3009
VALDEZ ERIKA                          VALDEZ, FELIPE SR                   225 S LAKE AVE STE 300                                                        PASADENA        CA    91101‐3009
VALDEZ ERIKA                          VALDEZ, HERMELINDA                  225 S LAKE AVE STE 300                                                        PASADENA        CA    91101‐3009
VALDEZ ERIKA                          VALDEZ, JOSE                        225 S LAKE AVE STE 300                                                        PASADENA        CA    91101‐3009
VALDEZ FRED                           124 MORRIS RD                                                                                                     RANDLE          WA    98377‐9211
VALDEZ JACOB                          VALDEZ, JACOB
VALDEZ JR, ANDRES R                   6364 E HILL RD                                                                                                    GRAND BLANC     MI    48439‐9125
VALDEZ JR, HECTOR M                   455 ARDELEAN DR                                                                                                   OWOSSO          MI    48867‐1017
VALDEZ JR, JOSE                       2204 SWEETBRIAR AVE                                                                                               CREST HILL      IL    60403‐1750
VALDEZ JR., ANTONIO ‐                 1010 HAWKINS HWY                                                                                                  CLAYTON         MI    49235‐9742
VALDEZ JUAN (475500)                  ERNSTER CLETUS P III                2700 POST OAK BLVD STE 1350                                                   HOUSTON         TX    77056‐5785
VALDEZ JUAN (475500) ‐ ESQUIVEL RAMON ERNSTER CLETUS P III                2700 POST OAK BLVD STE 1350                                                   HOUSTON         TX    77056‐5785

VALDEZ JUAN M                         VALDEZ, JUAN M                      JUAN VALDEZ                   11329 WEST 131ST STREET                         OVERLAND PARK    KS   66213
VALDEZ JUAN M                         VALDEZ, JUAN M
VALDEZ MICHELLE                       VALDEZ, MICHELLE                    55 PUBLIC SQ STE 650                                                          CLEVELAND       OH 44113‐1909
VALDEZ MICHELLE                       VALDEZ, LABAN                       KAHN & ASSOCIATES             55 PUBLIC SQUARE ‐ SUITE 650                    CLEVELAND       OH 44113

VALDEZ MOTORSPORT                     2415 WINFORD AVE                                                                                                  NASHVILLE       TN 37211‐2145
VALDEZ PAUL                           VALDEZ, PAUL
VALDEZ PETER JR                       5 TOMS WAY                                                                                                        POUGHKEEPSIE    NY    12603‐6052
VALDEZ RAMIRO                         999 E BASSE RD STE 183                                                                                            SAN ANTONIO     TX    78209‐1807
VALDEZ RUBEN (662551)                 BRAYTON PURCELL                     PO BOX 6169                                                                   NOVATO          CA    94948‐6169
VALDEZ SEVERO M                       C/O EDWARD O MOODY PA               801 WEST 4TH STREET                                                           LITTLE ROCK     AR    77201
VALDEZ VALERIE                        7240 RED MESA CT                                                                                                  LITTLETON       CO    80125‐8838
VALDEZ VANESSA                        625 LAKE CITY DR                                                                                                  LEWISVILLE      TX    75056
VALDEZ, ADALGISA                      6012 RICKWOOD DR.                                                                                                 HUNTSVILLE      AL    35810
VALDEZ, ADAN J                        16114 TURNER RD                                                                                                   LANSING         MI    48906‐1892
VALDEZ, ALBERT T                      10060 SAINT BERNARD DR                                                                                            SHREVEPORT      LA    71106‐8544
VALDEZ, ALFONSO                       1602 JACAMAN RD APT 5                                                                                             LAREDO          TX    78041‐6186
VALDEZ, ANGEL R                       6221 NEWCASTLE AVE                                                                                                GOLETA          CA    93117‐2032
VALDEZ, ANTONIO                       4257 MOHAWK TRL                                                                                                   ADRIAN          MI    49221‐9394
                              09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                Part 37 of 40 Pg 836 of 901
Name                          Address1                       Address2                  Address3   Address4               City            State Zip
VALDEZ, ARACELY
VALDEZ, ARACELY               SICO, WHITE & BRAUGH           225 S LAKE AVE STE 300                                      PASADENA        CA    91101‐3009
VALDEZ, ARTURO                1246 ORCHID ST                                                                             WATERFORD       MI    48328‐1345
VALDEZ, BENJAMIN S            641 ENTERPRISE ST                                                                          LEIPSIC         OH    45856‐9202
VALDEZ, CARLA H               2 FELLOWSHIP CIR                                                                           SANTA BARBARA   CA    93109‐1209
VALDEZ, CARLOS                TRACY FIRM                     5473 BLAIR RD STE 200                                       DALLAS          TX    75231‐4168
VALDEZ, CARLOS ALBERTO        TRACY FIRM                     5473 BLAIR RD STE 200                                       DALLAS          TX    75231‐4168
VALDEZ, CARLOS ALBERTO JR     2308 YORKTOWN DR                                                                           PLANO           TX    75074‐5030
VALDEZ, CARMEN L              5406 PEPPERWOOD AVE                                                                        LAKEWOOD        CA    90712‐1730
VALDEZ, CAROL                 949 E ALAMEDA ST                                                                           MANTECA         CA    95336‐4035
VALDEZ, CAROLINE              7129 LUXOR ST                                                                              DOWNEY          CA    90241
VALDEZ, CHRISTOPHER MICHAEL   3375 CASS CITY RD                                                                          CASS CITY       MI    48726‐9469
VALDEZ, DANIELLE L            5235 HOWE STREET                                                                           SHELBY TWP      MI    48317‐3065
VALDEZ, DANNY A               GENERAL DELIVERY                                                                           HUNTSVILLE      TX    77340‐9999
VALDEZ, DARLENE               5956 LIVE OAK ST                                                                           BELL GARDENS    CA    90201‐4714
VALDEZ, DELIA S               3715 RIDGELAND AVE                                                                         BERWYN           IL   60402‐4021
VALDEZ, DIANE MARIE           7159 DAVISON RD                                                                            DAVISON         MI    48423‐2007
VALDEZ, DIANE MARIE           7159 DAVISON ROAD                                                                          DAVISON         MI    48423‐2007
VALDEZ, DOLORES               1103 AUGUSTA DR.                                                                           MEBANE          NC    27302
VALDEZ, DOLORES B             5481 CUMBERLAND CT                                                                         FREMONT         CA    94538
VALDEZ, EDWARD                3133 STRATFORD DR SW                                                                       WYOMING         MI    49509‐3035
VALDEZ, EDWARD                241 50TH ST SW                                                                             WYOMING         MI    49548‐5624
VALDEZ, EDWARD R              3614 CAMINO ALAMEDA SW                                                                     ALBUQUERQUE     NM    87105‐6117
VALDEZ, ELADIO                108 9TH ST W                                                                               HARDIN          MT    59034‐1301
VALDEZ, ELDA M                4646 GLENALDA DR                                                                           CLARKSTON       MI    48346‐3637
VALDEZ, EMILIO                9307 NORDICA AVE                                                                           OAK LAWN         IL   60453‐2050
VALDEZ, ENEDELIA V            984 ZIMMER RD                                                                              WILLIAMSTON     MI    48895‐9778
VALDEZ, ERENERO               252 N FLORENCE ST              C/O CHRISTINA SILVA                                         BURBANK         CA    91505‐3618
VALDEZ, ERIK
VALDEZ, ERIKA
VALDEZ, ERNESTO A             5481 CUMBERLAND PARK CT                                                                    FREMONT          CA 94538‐3921
VALDEZ, FELIPA
VALDEZ, FELIPE D              2325 FAWNWOOD DR SE                                                                        KENTWOOD         MI 49508‐6521
VALDEZ, FELIPE JR
VALDEZ, FELIPE JR             SICO WHITE & BRAUGH LLP        225 S LAKE AVE STE 300                                      PASADENA         CA   91101‐3009
VALDEZ, FELIPE SR             SICO WHITE & BRAUGH LLP        225 S LAKE AVE STE 300                                      PASADENA         CA   91101‐3009
VALDEZ, FERNANDO              105 E HOME ST                                                                              LONG BEACH       CA   90805‐6626
VALDEZ, FERNANDO              59914 SCHOENHERR RD                                                                        WASHINGTON       MI   48094‐2480
VALDEZ, GILBERT R             7998 E JEFFERSON AVE                                                                       DENVER           CO   80237‐1508
VALDEZ, GLORIA A              10520 DOWNEY NORWALK RD                                                                    NORWALK          CA   90650‐7423
VALDEZ, GLORIA A              10520 DOWNEY‐NORWALK ROAD                                                                  NORWALK          CA   90650‐7423
VALDEZ, GUADALUP              37 WALNUT ST                                                                               PONTIAC          MI   48341‐2161
VALDEZ, HERMELINDA
VALDEZ, HERMELINDA            SICO, WHITE & BRAUGH           225 S LAKE AVE STE 300                                      PASADENA         CA 91101‐3009
VALDEZ, HUMBERTO M            CALLE 84B # 40A ‐ 48           CAMPO ALEGREA                        BARRANQUILA COLOMBIA
VALDEZ, JACOB
VALDEZ, JACQUELINE M          4248 CURWOOD AVE SE                                                                        KENTWOOD        MI    49508‐3506
VALDEZ, JACQUELINE M.         4248 CURWOOD AVE SE                                                                        KENTWOOD        MI    49508‐3506
VALDEZ, JANIE B               6364 E HILL RD                                                                             GRAND BLANC     MI    48439‐9125
VALDEZ, JESSE A               1156 N MIDDLE DR                                                                           GREENVILLE      OH    45331‐3019
VALDEZ, JESSE ANTONIO         1156 N MIDDLE DR                                                                           GREENVILLE      OH    45331‐3019
VALDEZ, JESUS                 THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD   SUITE 44                          CORAL GABLES    FL    33146
                                   09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                      Part 37 of 40 Pg 837 of 901
Name                               Address1                             Address2                         Address3   Address4         City              State Zip
VALDEZ, JOHN G                     15129 LAVERDA LN                                                                                  MORENO VALLEY      CA 92551‐4062
VALDEZ, JOSE                       7450 CHRISTINE AVE                                                                                RIVERSIDE          CA 92509‐3417
VALDEZ, JOSE
VALDEZ, JOSE                       SICO WHITE & BRAUGH LLP              225 S LAKE AVE STE 300                                       PASADENA          CA   91101‐3009
VALDEZ, JOSE E                     19436 FAIRWEATHER ST                                                                              CANYON CNTRY      CA   91351‐2724
VALDEZ, JOSE S                     2420 CEDAR CREST DR                                                                               GRANBURY          TX   76048‐5822
VALDEZ, JOSE SAIZ                  2420 CEDAR CREST DR                                                                               GRANBURY          TX   76048‐5822
VALDEZ, JOSEFINA H                 1406 BEGONIA DR                                                                                   CARPINTERIA       CA   93013‐1607
VALDEZ, JOSEPH                     35060 W 8 MILE RD APT 6                                                                           FARMINGTON        MI   48335‐5150
VALDEZ, JOSEPH                     15606 TONNIE LN                                                                                   MONTGOMERY        TX   77316
VALDEZ, JOSEPH                     15606 CONNIE LANE                                                                                 MONTGOMERY        TX   77316‐9440
VALDEZ, JOSEPH                     1750 CLEVELAND ST                                                                                 BELOIT            WI   53511‐2846
VALDEZ, JUAN                       ERNSTER CLETUS P III                 2700 POST OAK BLVD STE 1350                                  HOUSTON           TX   77056‐5785
VALDEZ, JUAN J                     8503 PONTIAC LAKE RD                                                                              WHITE LAKE        MI   48386‐1639
VALDEZ, JUAN J                     6120 S CENTRAL AVE                                                                                CHICAGO           IL   60638‐4508
VALDEZ, JUAN M                     11329 W 131ST ST                                                                                  OVERLAND PARK     KS   66213‐4480
VALDEZ, LABAN                      KAHN & ASSOCIATES                    55 PUBLIC SQ STE 650                                         CLEVELAND         OH   44113‐1909
VALDEZ, LEONOR O                   3433 WATKINS LAKE RD                                                                              WATERFORD         MI   48328‐1445
VALDEZ, LILLIAN R                  1438 FLAMINGO DR                                                                                  MT MORRIS         MI   48458‐2718
VALDEZ, LUIS L                     2570 E VALLEY RD                                                                                  ADRIAN            MI   49221‐8308
VALDEZ, MADALYN S                  STEVENSON & AMMONS ‐ ROBERT E        3700 MONTROSE BLVD                                           HOUSTON           TX   77006‐4624
                                   AMMONS
VALDEZ, MANUEL                     595 S MERIDIAN RD LOT 64                                                                          HUDSON            MI 49247‐9340
VALDEZ, MANUEL F                   3375 CASS CITY RD                                                                                 CASS CITY         MI 48726‐9469
VALDEZ, MARIA                      WATTS LAW FIRM LLP                   TOWER II BUILDING, 14TH FLOOR,                               CORPUS CHRISTI    TX 78478
                                                                        555 NORTH CARANCAHUA
VALDEZ, MARIE A                    12040 JUNIPER WAY                                                                                 GRAND BLANC       MI   48439
VALDEZ, MARINA                     2570 E VALLEY RD                                                                                  ADRIAN            MI   49221‐8308
VALDEZ, MICHAEL                    6517 KING AVE APT C                                                                               BELL              CA   90201‐2610
VALDEZ, MICHELLE                   KAHN & ASSOCIATES                    55 PUBLIC SQ STE 650                                         CLEVELAND         OH   44113‐1909
VALDEZ, MIKE J                     6502 BLACKBERRY DR                                                                                ARLINGTON         TX   76016‐5101
VALDEZ, MOLINDA G                  HOEFFNER BILEK & EIDMAN LLP          440 LOUISIANA ST STE 720                                     HOUSTON           TX   77002
VALDEZ, NORMA I                    4924 FLORIDA ST                                                                                   DETROIT           MI   48210‐2224
VALDEZ, OSCAR O                    501 N PINECREST RD                                                                                BOLINGBROOK       IL   60440‐2139
VALDEZ, PEDRO                      82 KIP DR APT 9                                                                                   SALINAS           CA   93906
VALDEZ, PETRA S                    4150 66TH ST NORTH                                                                                ST PETERSBURG     FL   33709
VALDEZ, PHYLLIS M                  5983 WESTWOOD ROAD NORTH                                                                          JACKSONVILLE      FL   32234
VALDEZ, RAYMOND J                  641 RYE AVE                                                                                       LA HABRA          CA   90631‐6736
VALDEZ, RAYMUNDO                   2234 SOLANO DR                                                                                    EL PASO           TX   79935‐2629
VALDEZ, RICHARD M                  21903 LEGEND POINT DR                                                                             SAN ANTONIO       TX   78258‐7839
VALDEZ, ROBERT                     7680 EVERGREEN LN                                                                                 FONTANA           CA   92336‐3031
VALDEZ, ROCENDO J                  1750 CLEVELAND ST                                                                                 BELOIT            WI   53511‐2846
VALDEZ, ROSA                       241 50TH ST SW                                                                                    GRAND RAPIDS      MI   49548‐5624
VALDEZ, RUBEN                      BRAYTON PURCELL                      PO BOX 6169                                                  NOVATO            CA   94948‐6169
VALDEZ, SALVADOR                   PO BOX 627                                                                                        GRAND BLANC       MI   48480‐0627
VALDEZ, SANDRA XOCHITL ALVARADO,   VILLARREAL CALIXTRO JR LAW OFFICES   205 W MAIN ST                                                RIO GRANDE CITY   TX   78582‐3652
VALDEZ, SANDRA XOCHITL ALVARADO,   COWEN MICHAEL R                      520 E LEVEE ST                                               BROWNSVILLE       TX   78520‐5343
VALDEZ, SARA N                     1958 HEMPSTEAD DR                                                                                 TROY              MI   48083‐2634
VALDEZ, SARA NICOLE                1958 HEMPSTEAD DR                                                                                 TROY              MI   48083‐2634
VALDEZ, SARAH                      1125 SOUTH DR                                                                                     FLINT             MI   48503‐4754
VALDEZ, SEVERO M                   MOODY EDWARD O                       801 W 4TH ST                                                 LITTLE ROCK       AR   72201‐2107
VALDEZ, SHARI L                    4110 HOUGHTON LAKE ROAD                                                                           LAKE CITY         MI   49651
                               09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                    Part 37 of 40 Pg 838 of 901
Name                           Address1                          Address2                       Address3   Address4         City               State Zip
VALDEZ, STEVE MORENO           FOSTER & SEAR                     360 PLACE OFFICE PARK, 1201                                ARLINGTON           TX 76006
                                                                 NORTH WATSON, SUITE 145
VALDEZ, VICTOR                 701 N FRIEND ST                                                                              CARRIER MILLS      IL   62917‐1158
VALDEZ, VICTOR G               13796 LEER RD                                                                                POSEN              MI   49776‐9461
VALDEZ, VINCENT A              2760 SHERWOOD DR                                                                             FLORISSANT         MO   63031‐1724
VALDEZ, VITO J                 1485 18TH ST                                                                                 DETROIT            MI   48216
VALDINA JOHN                   255 HILLCREST LN                                                                             OYSTER BAY         NY   11771‐2808
VALDINE SILBERMAN              1355 HENDERSON LN                                                                            HAYWARD            CA   94544‐3703
VALDIS SPACS                   3740 CHILTON DR                                                                              SAGINAW            MI   48603‐3126
VALDISERRI, STEVEN B           1186 GLENDALE AVE                                                                            SAGINAW            MI   48638‐4747
VALDIVIA ALBERT                2506 E LOCUST AVE                                                                            ORANGE             CA   92867‐6202
VALDIVIA, ADALBERTO            6508 ROHRMAN RD                                                                              CROWN POINT        IN   46307‐9602
VALDIVIA, AUGUSTINE A          429 W SUNVIEW DR                                                                             ORO VALLEY         AZ   85755‐1751
VALDIVIA, CHANTEL GUITERRE     A MINOR
VALDIVIA, FELIX T              475 CORTE CABANIL                                                                            MORGAN HILL        CA 95037‐3723
VALDIVIA, GERARDO GUITERRE
VALDIVIA, GERARDO GUTIERRE     A MINOR
VALDIVIA, GERARDO GUTIERREZ    SICO WHITE & BRAUGH LLP           225 S LAKE AVE STE 300                                     PASADENA           CA   91101‐3009
VALDIVIA, GORME F              22 W RIDGE RD                                                                                TOMS RIVER         NJ   08755‐4933
VALDIVIA, JOSEPH A             4227 PARKS BRANCH LN                                                                         KATY               TX   77494‐1054
VALDIVIA, JUAN A               1932 W 99TH AVE                                                                              CROWN POINT        IN   46307‐2315
VALDIVIA, JULIAN               SICO WHITE & BRAUGH               900 FROST BANK PLAZA ‐ 802 N                               CORPUS CHRISTI     TX   78470
                                                                 CARANCAHUA
VALDIVIA, LORENA               74 CALLE SANTA CRUZ APT 5B                                                                   BAYAMON            PR 00961‐7064
VALDIVIA, NICHOLAS L           4654 E AVENUE R6                                                                             PALMDALE           CA 93552‐3749
VALDIVIA, RACHEL               SICO WHITE & BRAUGH               900 FROST BANK PLAZA ‐ 802 N                               CORPUS CHRISTI     TX 78470
                                                                 CARANCAHUA
VALDIVIA, RUBEN C              476 S EASTERN AVE                                                                            LOS ANGELES        CA   90022‐1536
VALDIVIESO, J M                2462 HUNTERS POND                                                                            BLOOMFIELD HILLS   MI   48304‐2308
VALDIVIESO, J MARCELO          2462 HUNTERS POND                                                                            BLOOMFIELD HILLS   MI   48304‐2308
VALDOMERO SALAZAR              C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                  HOUSTON            TX   77007
                               BOUNDAS LLP
VALDONNA HYLTON                PO BOX 87                                                                                    EVART              MI   49631‐0087
VALDOSTA STATE UNIVERSITY      STUDENT ACCOUNTS                  BURSARY BUILDING                                           VALDOSTA           GA   31698‐0001
VALDOSTA TECHNICAL INSTITUTE   BUSINESS OFFICE                   RT 12 BOX 1273                                             VALDOSTA           GA   31602
VALDOVINOS, ARNOLDO C          174 W BURLINGTON ST                                                                          RIVERSIDE          IL   60546‐1902
VALDOVINOS, LUZ                181 JOE PHILLIPS RD                                                                          MADISON            AL   35758‐9769
VALDREA WILLIAMS               C/O THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                                HOUSTON            TX   77017
VALDREE B SPARKS               538 E BETHUNE ST                                                                             DETROIT            MI   48202‐2840
VALDREENE HOFFMAN              439 BURNS AVE                                                                                WEST CARROLLTON    OH   45449‐1333
VALDRICE VANBENNEKOM           3961 MALLARD DR                                                                              GREENVILLE         MI   48838‐9269
VALDRY, SARAH L                940 PROVINCE LN                                                                              MANSFIELD          OH   44906‐2913
VALDUSS, VISVALDIS             2655 MADELYN DR SW                                                                           GRAND RAPIDS       MI   49509‐1831
VALE DORSEY                    423 S MURRAY RD                                                                              RANTOUL            IL   61866‐2125
VALE NATIONAL                  PO BOX 6030                                                                                  TYLER              TX   75711‐6030
VALE, ANJALI                   30950 BRUCE LN                                                                               FRANKLIN           MI   48025‐1504
VALE, CATHY K                  3385 E ROUND LAKE RD                                                                         DEWITT             MI   48820‐9719
VALE, EDITH M                  811 N JACKSON ST                                                                             RUSHVILLE          IN   46173‐1228
VALE, EDITH M                  811 N. JACKSON                                                                               RUSHVILLE          IN   46173‐1228
VALE, GUSTAVE                  PO BOX 774                                                                                   CLARKSTON          MI   48347‐0774
VALE, JEFFREY A                2310 W RICHWOOD RD                                                                           OZARK              MO   65721‐6016
VALE, NICHOLAS M               1674 GRANITE SPRINGS DR                                                                      PRESCOTT           AZ   86305‐1104
                             09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                Part 37 of 40 Pg 839 of 901
Name                         Address1                         Address2                         Address3                Address4         City               State Zip
VALE, RODNEY L               9223 NORTH COUNTY H                                                                                        EDGERTON            WI 53534
VALE, THOMAS E               3385 E ROUND LAKE RD                                                                                       DEWITT              MI 48820‐9719
VALEAD, JEAN P               460 PARADISE ISLE BLVD.          APT 202                                                                   HALLANDALE          FL 33009‐5849
VALEAD, JEAN P               460 PARADISE ISLE BLVD APT 202                                                                             HALLANDALE BEACH    FL 33009‐5849
VALECK, MAE E                26513 RUSTLING BIRCH WAY                                                                                   PLAINFIELD           IL 60585‐1335
VALEEN SCOTT                 NATIONWIDE MUTUAL INSURANCE      12345 JONES ROAD SUITE 190                                                HOUSTON             TX 77070
                             COMPANY
VALEEN SCOTT                 VALEEN, RUTH                     12345 JONES ROAD SUITE 190                                                HOUSTON             TX   77070
VALEEN SCOTT                 VALEEN, SCOTT                    12345 JONES RD STE 190                                                    HOUSTON             TX   77070‐4959
VALEEN, SCOTT
VALEK, NORMAN G              12226 SAINT ANDREWS WAY                                                                                    FENTON             MI    48430‐8890
VALELLA, CARLOS R            17313 SE INDIAN HILLS DR         DRIVE                                                                     TEQUESTA           FL    33469‐1738
VALENA CRENSHAW              49 TENNYSON STREET                                                                                         HIGHLAND PARK      MI    48203‐3558
VALENA D CRENSHAW            49 TENNYSON STREET                                                                                         HIGHLAND PARK      MI    48203‐3558
VALENCA, MARIA E             7 BEAR HILL RD                                                                                             MILFORD            MA    01757‐3619
VALENCE TECHNOLOGY INC       301 CONESTOGA WAY                                                                                          HENDERSON          NV    89002‐9410
VALENCE TECHNOLOGY INC       12303 TECHNOLOGY BLVD STE 900                                                                              AUSTIN             TX    78727‐6138
VALENCIA ARACELI             BRAVO, SEVILLE                   ROMANO STANCROFF MIKHOV PC       640 SOUTH SAN VICENTE                    LOS ANGELES        CA    90048
                                                                                               BLVD. SUITE 230
VALENCIA ARACELI             VALENCIA, ARACELI                640 S SAN VICENTE BLVD STE 230                                            LOS ANGELES        CA    90048‐4654
VALENCIA AVANT NORRIS        1425 CHARWOOD RD                                                                                           MOUNT MORRIS       MI    48458‐2776
VALENCIA BETHLY              PO BOX 8211                                                                                                BOSSIER CITY       LA    71113‐8211
VALENCIA BYERLY              2024 CHICORY WAY                                                                                           CHANHASSEN         MN    55317‐8347
VALENCIA COMMUNITY COLLEGE   ATTN SECTION V                   PO BOX 4913                                                               ORLANDO            FL    32802‐4913
VALENCIA COUNTY TREASURER    PO BOX 939                                                                                                 LOS LUNAS          NM    87031‐0939
VALENCIA FARRELL             2300 GRAYSON DR APT 913                                                                                    GRAPEVINE          TX    76051‐7004
VALENCIA JR, PABLO           42048 CRESTVIEW CIR                                                                                        NORTHVILLE         MI    48168‐2233
VALENCIA M MURPHY            6002 E 40TH TER                                                                                            KANSAS CITY        MO    64129‐1718
VALENCIA OSBORNE             700 E COURT ST APT 237                                                                                     FLINT              MI    48503‐6223
VALENCIA R TIGGS‐WATSON      12110 KINGSHEAD DR                                                                                         FLORISSANT         MO    63033‐7826
VALENCIA RAFAEL              11146 VIOLET CT                                                                                            RIVERSIDE          CA    92503‐8804
VALENCIA THOMAS              4855 AIRLINE DRIVE               38A                                                                       BOSSIER CITY       LA    71111
VALENCIA TIGGS‐WATSON        12110 KINGSHEAD DR                                                                                         FLORISSANT         MO    63033‐7826
VALENCIA Y MARROW            617 PARKCLIFFE AVE                                                                                         YOUNGSTOWN         OH    44511‐3149
VALENCIA Y SANDERS           5030 PRESCOTT AVE                                                                                          DAYTON             OH    45406‐2205
VALENCIA, ARTHUR G           4847 CARFAX AVE                                                                                            LAKEWOOD           CA    90713‐2417
VALENCIA, CATHERINE          LYTAL REITER CLARK FOUNTAIN &    NORTHBRIDGE CENTER ‐ 10TH                                                 WEST PALM BEACH    FL    33401
                             WILLIAMS                         FLOOR, 515 N. FLAGLER DRIVE
VALENCIA, DAVID C            2416 KOPKA CT                                                                                              BAY CITY           MI 48708‐8167
VALENCIA, ELIZABETH
VALENCIA, ELIZABETH M        4114 HUTH DR APT 3                                                                                         FORT WAYNE         IN 46804‐6165
VALENCIA, ELIZABETH M        4141 HUTH DR APT 3                                                                                         FORT WAYNE         IN 46804
VALENCIA, ERNESTO            1257 ADRIAN WAY                                                                                            SAN JOSE           CA 95122‐3904
VALENCIA, EVERARDO
VALENCIA, GERALDINE          675 MONTE VISTA WAY                                                                                        SUSANVILLE         CA 96130
VALENCIA, HARRY E            1853 WIMBLEDON ST                                                                                          KISSIMMEE          FL 34743‐3358
VALENCIA, HELADIO
VALENCIA, JUAN               2757 SARAH CT                                                                                              BAY CITY           MI 48708‐8464
VALENCIA, KEVIN              BISNAR & CHASE                   1301 DOVE ST STE 760                                                      NEWPORT BEACH      CA 92660‐2476
VALENCIA, LETICIA
VALENCIA, LILIA U            1257 ADRIAN WAY                                                                                            SAN JOSE           CA 95122‐3904
VALENCIA, MELISSA
                                       09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
                                                                            Part 37 of 40 Pg 840 of 901
Name                                   Address1                          Address2                          Address3                 Address4             City              State Zip
VALENCIA, RICHARD D                    4808 EDGEWATER CT                                                                                                 HOLLY              MI 48442‐9335
VALENCIA, RICHARD D                    419 MICHIGAN AVE                                                                                                  BAY CITY           MI 48708‐7928
VALENCIA, RICHARD R                    3108 COUNTRY CREEK LN                                                                                             FORT WORTH         TX 76123‐1222
VALENCIA, RICHARD R.                   3108 COUNTRY CREEK LANE                                                                                           FORT WORTH         TX 76123‐1222
VALENCIA, ROGELIO M                    255 GEARY CT                                                                                                      LINCOLN            CA 95648‐8352
VALENCIA, UNIVERSIDAD POLIT╔CNICA DE

VALENCIANO, JUAN I                     PO BOX 857                                                                                                        QUEEN CREEK       AZ   85242‐1817
VALENCIC OVERMAN, KAREN                7880 SUNSET LN                                                                                                    INDIANAPOLIS      IN   46260‐3582
VALENCICH, SYLVIA                      95 BLACK DR                                                                                                       DOYLESTOWN        OH   44230
VALENDY, DIANE R                       16 BUNKER DR                                                                                                      O FALLON          MO   63366‐1104
VALENE SCHMARR                         6653 HALL RD                                                                                                      GALLOWAY          OH   43119‐9200
VALENINTE, J A                         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                     NORFOLK           VA   23510
                                                                         STREET, SUITE 600
VALENITE INC                           1575 E WHITCOMB AVE                                                                                               MADISON HEIGHTS   MI   48071‐1411
VALENITE INC                           1675 E WHITCOMB AVE                                                                                               MADISON HEIGHTS   MI   48071‐1411
VALENITE INC                           21100 COOLIDGE HWY                                                                                                OAK PARK          MI   48237‐3231
VALENITE INC                           1675 E WHITCOMB AVE               PO BOX 9636                                                                     MADISON HEIGHTS   MI   48071‐1411
VALENITE INC                           PO BOX 9636                                                                                                       MADISON HTS       MI   48071‐9636
VALENITE MODCO LIMITED                 4510 RHODES DR                                                                               WINDSOR CANADA ON
                                                                                                                                    N8W 5K5 CANADA
VALENITE‐MODCO LTD                     4510 RHODES DR UNIT 920           PO BOX 2247 STN A RHODES DR                                WINDSOR ON N8Y 4R8
                                                                         UNIT 920                                                   CANADA
VALENITE/51 CENTURY                    51 CENTURY BLVD STE 101                                                                                           NASHVILLE         TN   37214‐3694
VALENITE/ROYAL OAK                     PO BOX 9636                                                                                                       MADISON HTS       MI   48071‐9536
VALENITE/TROY                          750 STEPHENSON HWY.               P.O. BOX 3950                                                                   TROY              MI   48083
VALENLY, JEAN E                        1986 HIGHLAND RD                                                                                                  HERMITAGE         PA   16148‐1641
VALENT CORP                            1600 RIVIERA AVE STE 200                                                                                          WALNUT CREEK      CA   94596‐3568
VALENT CORPORATION                     JULIE VENIERAKIS                  1600 RIVIERA AVE                                                                WALNUT CREEK      CA   94596
VALENT, HELEN B                        2025 KILDARE CIRCLE                                                                                               NICEVILLE         FL   32578‐7307
VALENTA LILLIAN                        BECKLEY, DON
VALENTA LILLIAN                        BECKLEY, MARIE
VALENTA LILLIAN                        TEAM CHEVROELT INC
VALENTA LILLIAN                        VALENTA, LILLIAN
VALENTA LILLIAN                        WILSON, MARY
VALENTA, DIANA B                       542 S DEXTER DR                                                                                                   LANSING           MI   48910‐4639
VALENTA, DONNA A                       29 GRIFFITH KNOLL WAY                                                                                             GREER             SC   29651‐2314
VALENTA, MARIO                         1417 SURREY POINT CIR SE                                                                                          WARREN            OH   44484‐2865
VALENTAGE, ROBERT F                    8460 CARPATHIAN DR                                                                                                WHITE LAKE        MI   48386‐4507
VALENTE E RICHARD (628273)             EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR ,                                                 NEW HAVEN         CT   06510
                                                                         265 CHURCH STREET
VALENTE JOSEPHINE                      2 GERTZ AVE                                                                                                       LITTLE FERRY      NJ 07643‐2029
VALENTE PERALEZ                        2653 WYNDALE RD                                                                                                   TOLEDO            OH 43613‐3236
VALENTE RENDON                         ATTN ANDREW MCENANEY              C/O HISSEY KIENTZ HERRON PLLC     9442 CAPITAL OF TX HWY                        AUSTIN            TX 78759
                                                                                                           NORTH SUITE 420
VALENTE VILLARREAL                     4715 BRISTOL ST                                                                                                   LANSING           MI   48910‐6110
VALENTE, ANDREW                        5649 LAKEVIEW MEWS DRIVE                                                                                          BOYNTON BEACH     FL   33437‐1508
VALENTE, ANTONETTA                     640 10TH ST                                                                                                       LYNDHURST         NJ   07071‐3143
VALENTE, ANTONETTA                     640 10TH STREET                                                                                                   LYNDHURST         NJ   07071
VALENTE, BRUNO                         520 PEACH TREE LN                                                                                                 MILFORD           MI   48381‐2578
VALENTE, DAVID P                       68551 MEADOWOOD DR                                                                                                WASHINGTN TWP     MI   48095‐1341
VALENTE, DORIS J                       33725 CINDY                                                                                                       LIVONIA           MI   48150‐2605
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                        Part 37 of 40 Pg 841 of 901
Name                                 Address1                         Address2                       Address3   Address4         City                  State Zip
VALENTE, E RICHARD                   EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                             NEW HAVEN              CT 06508‐1866
                                                                      265 CHURCH STREET
VALENTE, EDWARD P                    8 ADAM PL                                                                                   HAZLET                NJ   07730‐2604
VALENTE, HENRY A                     4356 SUMMER LEAF ST APT C                                                                   LAS VEGAS             NV   89147‐7882
VALENTE, JOHN A                      28147 GILBERT DR                                                                            WARREN                MI   48093‐2606
VALENTE, LEONARD                     37935 DONALD ST                                                                             LIVONIA               MI   48154‐4956
VALENTE, MANUEL M                    821 EMERSON AVE                                                                             ELIZABETH             NJ   07208‐1403
VALENTE, MIMMIE                      111 BLACKFORD AVE.                                                                          STATEN ISLAND         NY   10302‐1618
VALENTE, ORLANDO S                   77 EDGEWATER DR                                                                             FRAMINGHAM            MA   01702‐5612
VALENTE, RAMON R                     1928 NE 24TH TER                                                                            CAPE CORAL            FL   33909‐4525
VALENTE, SANDRA R                    2680 CRESCENT CIR                                                                           LINCOLN               CA   95648‐8230
VALENTE, SANTINA                     55 HUBER RD                                                                                 WAPPINGERS FALLS      NY   12590‐7519
VALENTI AUTO SALES INC               399 N COLONY ST                                                                             WALLINGFORD           CT   06492‐3131
VALENTI AUTO SALES INC               DAVID VALENTI                    399 N COLONY ST                                            WALLINGFORD           CT   06492‐3131
VALENTI FRANK (ESTATE OF) (489275)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                              NORTHFIELD            OH   44067
                                                                      PROFESSIONAL BLDG
VALENTI JOHN S AGENT                 9111 BROADWAY STE G                                                                         MERRILLVILLE          IN   46410‐7092
VALENTI MOTORS, INC.                 520 WATERTOWN AVE                                                                           WATERBURY             CT   06708‐2205
VALENTI MOTORS, INC.                 FRED VALENTI                     520 WATERTOWN AVE                                          WATERBURY             CT   06708‐2205
VALENTI SAAB                         VALENTI, FRED M                  600 STRAITS TPKE                                           WATERTOWN             CT   06795‐3321
VALENTI SAAB                         600 STRAITS TPKE                                                                            WATERTOWN             CT   06795‐3321
VALENTI VINCENT A (656493)           WEITZ & LUXENBERG                180 MAIDEN LANE                                            NEW YORK              NY   10038
VALENTI, ANTHONY J                   4066 W 226TH ST                                                                             FAIRVIEW PARK         OH   44126‐1076
VALENTI, ANTOINETTE                  532 TACOMA AVENUE                                                                           BUFFALO               NY   14216‐2405
VALENTI, ANTONINA                    4139 SCOTCH DRIVE                                                                           BRIDGETON             MO   63044‐3436
VALENTI, ANTONINA                    4139 SCOTCH DR                                                                              BRIDGETON             MO   63044‐3436
VALENTI, CARL J                      793 STEWART AVE                                                                             STREETSBORO           OH   44241‐4787
VALENTI, GEORGE D                    24189 GRAND TRAVERSE AVE                                                                    BROWNSTOWN            MI   48134‐8050
VALENTI, JEANINE                     SHAMY & SHAMY                    178 LIVINGSTON AVE                                         NEW BRUNSWICK         NJ   08901‐2938
VALENTI, JOHN A                      7699 CHESTNUT RIDGE RD                                                                      LOCKPORT              NY   14094‐3509
VALENTI, JOSEPH S                    532 TACOMA AVE                                                                              BUFFALO               NY   14216‐2405
VALENTI, KATHLEEN                    9303 PAGE RD                                                                                STREETSBORO           OH   44241‐5500
VALENTI, LOUIS                       THORNTON & NAUMES LLP            100 SUMMER STREET, 30TH FLOOR                              BOSTON                MA   02110

VALENTI, MARCELLA V                  4534 NORTHEAST 12TH STREET                                                                  OCALA                 FL   34470‐2014
VALENTI, MARIE E                     41 NIGHTINGALE AVE                                                                          QUINCY                MA   02169‐6515
VALENTI, MARK S                      4144 COLONIAL DR                                                                            ROYAL OAK             MI   48073‐6472
VALENTI, MICHAEL                     2440 SE OCEAN BLVD APT A104                                                                 STUART                FL   34996
VALENTI, MICHAEL P                   59 MORNING GLORY LN                                                                         ROCHESTER             NY   14626‐4731
VALENTI, MOLLIE                      77 ORLAND RD                                                                                ROCHESTER             NY   14622‐2262
VALENTI, NOVA G                      7130 MEADOWVUE DR                                                                           GRAND BLANC           MI   48439‐2301
VALENTI, ONORIFIO N                  1215 MARC AVE                                                                               CLAWSON               MI   48017‐1264
VALENTI, PHILIP A                    572 TACOMA AVE                                                                              BUFFALO               NY   14216‐2407
VALENTI, RANDY J                     43129 CHAUCER CT                                                                            STERLING HTS          MI   48313‐1830
VALENTI, RUSSELL J                   2968 CARNEY DR                                                                              SANBORN               NY   14132‐9305
VALENTI, SHIRLEY                     409 W PINES WAY                                                                             MUSTANG               OK   73064‐3934
VALENTI, THOMAS D
VALENTI, VINCENT A                   WEITZ & LUXENBERG                180 MAIDEN LANE                                            NEW YORK              NY   10038
VALENTI‐NAIMO, KARYN L               1580 FORD CT                                                                                GROSSE POINTE WOODS   MI   48236‐2318
VALENTIC, BARA                       29239 CHARDON RD                                                                            WILLOUGHBY HILLS      OH   44092‐1447
VALENTIC, GLORIA A                   9924 E CLEMENTS CIR                                                                         LIVONIA               MI   48150‐3249
VALENTIC, KATA                       2882 ROCKEFELLER RD                                                                         WILLOUGHBY HILLS      OH   44092‐1424
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                           Part 37 of 40 Pg 842 of 901
Name                                  Address1                          Address2                       Address3   Address4               City             State Zip
VALENTIN AMBOY                        5092 LUCILLE AVE                                                                                   ATWATER           CA 95301‐8869
VALENTIN BUCA                         1142 KRISTA LN                                                                                     ROCHESTER         MI 48307‐6088
VALENTIN CRACIUN                      1140 SHERIDAN DR                                                                                   OWINGS            MD 20736‐3158
VALENTIN FLORES                       617 MEADOWVIEW DR                                                                                  MANSFIELD         TX 76063‐2160
VALENTIN GEVERS                       OSTERMOORWEG 58                   25474 BOENNINGSTEDT
VALENTIN HEINE                        C/O SYLKE & THOMAS HEINE          COLLEGE RING 3                            28759 BREMEN GERMANY
VALENTIN III, WENCESLAO               5164 GARDEN PATH                                                                                   HAMBURG          NY   14075‐3402
VALENTIN JR, ADRIAN                   36 SHELLEY CT                                                                                      MIDDLETOWN       NY   10941‐1814
VALENTIN JR, WENCESLAO                6958 BRANDYWINE DR                                                                                 DERBY            NY   14047‐9677
VALENTIN LOPEZ                        RR 1                                                                                               LEIPSIC          OH   45856
VALENTIN LOUIS HEINE (MINOR)          C/O THOMAS HEINE                  COLLEGE RING 3                            28759 BREMEN GERMANY
VALENTIN MONICA                       8273 HELENA AVE                                                                                    RIVERSIDE        CA   92504‐3433
VALENTIN TORRES                       37562 N LAUREL PARK DR                                                                             LIVONIA          MI   48152‐3950
VALENTIN, ANGEL                       499 PICWOOD CT                                                                                     OCOEE            FL   34761‐1528
VALENTIN, CARLOS                      P36 CALLE LAS MERCEDES                                                                             BAYAMON          PR   00961‐7330
VALENTIN, FRANK                       3211 SIMBERLAN DR                                                                                  SAN JOSE         CA   95148‐2727
VALENTIN, ISRAEL                      806 CALLE JAGUA                   URBANIZACION ESTEBES CALL                                        AGUADILLA        PR   00603‐7312
VALENTIN, JOSE                        52 CALLE ORQUIDEA                                                                                  TOA ALTA         PR   00953‐3610
VALENTIN, JOSE                        6230 N SELLAND AVE                                                                                 FRESNO           CA   93711‐0872
VALENTIN, JOSE L                      1011 PARKVIEW AVE                                                                                  YOUNGSTOWN       OH   44511‐2322
VALENTIN, JOSEPH P                    1025 W 11TH ST                                                                                     LORAIN           OH   44052‐1516
VALENTIN, LIBORIO                     50 WAKEMAN AVE                                                                                     NEWARK           NJ   07104‐2804
VALENTIN, RAUL                        1582 CRAIGLEE AVE                                                                                  YOUNGSTOWN       OH   44506‐1622
VALENTIN, ROSITA                      11411 LEANNE LN                                                                                    TAMPA            FL   33637
VALENTIN, SANTO                       1715 S MERIDIAN RD                                                                                 YOUNGSTOWN       OH   44511‐2016
VALENTINA ARNOLD                      2401 WOODCREEK LN                                                                                  DAVISBURG        MI   48350‐2146
VALENTINA BELANGER                    12440 SE INDIAN RIVER DR                                                                           HOBE SOUND       FL   33455
VALENTINA COOPER                      1032 LASK DR                                                                                       FLINT            MI   48532‐3631
VALENTINA CUMMINS                     6550 W. CR 750 N                                                                                   RIDGEVILLE       IN   47380
VALENTINA DJOKAJ                      3927 FORESTER BLVD                                                                                 AUBURN HILLS     MI   48326‐3055
VALENTINA IORIO                       646 VINTAGE LN                                                                                     ROCHESTER        NY   14615‐1032
VALENTINA JONUSAS                     3 STONY BROOK LN                                                                                   FAIRPORT         NY   14430‐9353
VALENTINA KITOLSKI                    7789 COACHMAN LN                                                                                   JENISON          MI   49428‐8339
VALENTINA LOUW                        574 GREENSIDE DR                                                                                   PAINESVILLE      OH   44077‐4876
VALENTINA RADWANSKI                   429 CRESCENT AVE                                                                                   BUFFALO          NY   14214‐1959
VALENTINA RIZZUTO                     511 PLAINFIELD AVE APT 9                                                                           ORANGE PARK      FL   32073‐2949
VALENTINA SHEWCHENKO                  33350 BROADMOOR CT                                                                                 LIVONIA          MI   48154‐2904
VALENTINA SKIBICKI                    1326 BIELBY ST                                                                                     WATERFORD        MI   48328‐1306
VALENTINA SMYKOWSKI                   7274 HELEN                                                                                         CENTER LINE      MI   48015‐1808
VALENTINE AKERS                       3621 FIESTA WAY                                                                                    MIDDLETOWN       OH   45044‐6109
VALENTINE ANTHONY L (407413) ‐ ROTH   WILENTZ GOLDMAN & SPITZER         88 PINE STREET , WALL STREET                                     NEW YORK         NY   10005
KENNETH                                                                 PLAZA
VALENTINE BANAS                       5295 WATERBRIDGE DR                                                                                NORTH ROYALTON   OH   44133‐6458
VALENTINE BERMEL                      36 VERMONT AVE                                                                                     LOCKPORT         NY   14094‐5730
VALENTINE BONCAL JR                   97 CHRISTINE DR                                                                                    AMHERST          NY   14228‐1312
VALENTINE BOTT                        420 5TH ST                                                                                         TRAVERSE CITY    MI   49684‐2406
VALENTINE BUDA                        37184 GILCHRIST ST                                                                                 WESTLAND         MI   48186‐9362
VALENTINE CHARLES HOWARD (634242)     PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                           PHILADELPHIA     PA   19103‐5446

VALENTINE COEUR                       849 EAST HICKORY STREET, LOT 63                                                                    BEAVERTON        MI 48612
VALENTINE DIANE                       VALENTINE, DIANE                  49856 HEADLEY RIDGE                                              BELLSVILLE       OH 43716
VALENTINE DOREEN                      VALENTINE, DOREEN                 2 SUNRISE TERRACE                                                DEPOSIT          NY 13754
                                         09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                            Part 37 of 40 Pg 843 of 901
Name                                     Address1                        Address2                          Address3   Address4         City               State Zip
VALENTINE DUTKOVICH                      316 BRISBOYS RD                                                                               SAGLE               ID 83860‐9398
VALENTINE FERACK                         501 STONEY RUN RD                                                                             POTTSVILLE          PA 17901‐8738
VALENTINE FURMAN                         29712 RED OAKS DRIVE            UNIT #11                                                      WARREN              MI 48092
VALENTINE GALAVIZ                        1420 HARRISON ST                                                                              LAKE ODESSA         MI 48849‐1119
VALENTINE GLEICH                         3434 WINCHESTER PIKE                                                                          COLUMBUS            OH 43232‐5557
VALENTINE GRECA                          6232 TALLADAY RD                                                                              MILAN               MI 48160‐8800
VALENTINE GURSKY                         112 HICKORY DR                                                                                CONWAY              SC 29526‐8928
VALENTINE J A (403724) ‐ VALENINTE J A   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA 23510
                                                                         STREET, SUITE 600
VALENTINE J BERMEL                       36 VERMONT AVE                                                                                LOCKPORT           NY   14094‐5730
VALENTINE JELLICK                        29002 BARJODE RD                                                                              WILLOWICK          OH   44095‐4758
VALENTINE JR, ALVIN L                    1028 LOGAN ST                                                                                 MADISON            IL   62060‐1006
VALENTINE JR, CARL                       22371 BOLENDER PONTIUS RD                                                                     CIRCLEVILLE        OH   43113‐9041
VALENTINE JR, CHESTER                    17091 DONAHUE DR                                                                              WEST OLIVE         MI   49460‐9117
VALENTINE JR, SAMUEL J                   8759 S 400 E                                                                                  MARKLEVILLE        IN   46056‐9791
VALENTINE JR, WAYNE L                    258 PARK AVE                                                                                  UPLAND             IN   46989‐9474
VALENTINE JR, WILLIAM                    110 SEAL STREET                                                                               WEST MONROE        LA   71292‐6242
VALENTINE JR, WILLIAM                    110 SEAL ST                                                                                   WEST MONROE        LA   71292‐6242
VALENTINE KIRISITS                       34 FONTAINE DR                                                                                CHEEKTOWAGA        NY   14215‐2006
VALENTINE LARRY                          C/O NUNN & GREENE LAW OFFICE    104 S FRANKLIN RD                                             BLOOMINGTON        IN   47404‐5295
VALENTINE LARRY (429973)                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                                         STREET, SUITE 600
VALENTINE LELAND L (472187)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                         STREET, SUITE 600
VALENTINE MARY (ESTATE OF) (666149)      ODOM & ELLIOTT                  PO BOX 1868                                                   FAYETTEVILLE       AR 72702‐1868

VALENTINE MATHIAS                        40 BOARDWALK PLACE                                                                            PARK RIDGE         IL   60068‐2825
VALENTINE RECOLLET                       207 WASHINGTON ST                                                                             DIMONDALE          MI   48821‐9799
VALENTINE RICK R                         VALENTINE, RICK R               1950 SAWTELLE BLVD STE 245                                    LOS ANGELES        CA   90025‐7017
VALENTINE RICK R                         VALENTINE, RICK R               16133 VENTURA BOULEVARD                                       ENCINO             CA   91436
                                                                         PENTHOUSE SUITE A
VALENTINE RICO                           1341 WARD ST                                                                                  SAGINAW            MI   48601‐2932
VALENTINE ROB/MI                         36625 METRO CT                                                                                STERLING HEIGHTS   MI   48312‐1009
VALENTINE ROBOTICS INC                   36625 METRO CT                                                                                STERLING HEIGHTS   MI   48312‐1009
VALENTINE ROBOTICS, INC.                 36625 METRO CT                                                                                STERLING HEIGHTS   MI   48312‐1009
VALENTINE SABOL                          5665 LEETE RD                                                                                 LOCKPORT           NY   14094‐1207
VALENTINE SOLAK                          1123 STUDEBAKER AVE                                                                           YPSILANTI          MI   48198‐6265
VALENTINE SR, JAMES                      9209 34TH CT E                                                                                PARRISH            FL   34219‐9388
VALENTINE SR, WAYNE L                    5620 S 1050 E                                                                                 UPLAND             IN   46989‐9803
VALENTINE SR, WAYNE LEE                  5620 S 1050 E                                                                                 UPLAND             IN   46989‐9803
VALENTINE STACHOWSKI                     281 CABLE ST                                                                                  BUFFALO            NY   14206‐3201
VALENTINE STERLING W                     VALENTINE, STERLING W           30 EAST BUTLER PIKE , SUITE 310                               AMBLER             PA   19002
VALENTINE SWITALA                        2910 GARFIELD AVE                                                                             BAY CITY           MI   48708‐8430
VALENTINE WIEKERT JR                     174 BARBARA JEAN LN                                                                           JOLIET             IL   60436‐1060
VALENTINE WILLIAM A (361218)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                                         STREET, SUITE 600
VALENTINE WILLIAM I (507615)             PAUL REICH & MYERS P.C.         1608 WALNUT ST STE 500                                        PHILADELPHIA       PA   19103‐5446
VALENTINE ZEHEL JR                       2005 HANNAN RD                                                                                WESTLAND           MI   48186‐3711
VALENTINE, AMY C                         1919 2ND ST                                                                                   WYANDOTTE          MI   48192‐3942
VALENTINE, AMY C                         1919 2ND STREET                                                                               WYANDOTTE          MI   48192‐3942
VALENTINE, ANNA M                        1222 RUNAWAY BAY DR APT 1A                                                                    LANSING            MI   48917‐8904
VALENTINE, ANTHONY J                     5 CHECOTAH LN                                                                                 SHAWNEE            OK   74801‐2414
                            09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                              Part 37 of 40 Pg 844 of 901
Name                        Address1                       Address2                      Address3   Address4         City             State Zip
VALENTINE, AUDREY M         19476 HENRY RD                                                                           FAIRVIEW PARK     OH 44126‐1638
VALENTINE, BARBARA A        100 OHARA WOODS DR                                                                       PITTSBURGH        PA 15238‐2727
VALENTINE, BERTHA L         3854 TOWNSHEND CIR                                                                       STOCKTON          CA 95212‐3483
VALENTINE, BETTY J          429 S SEYMOUR RD                                                                         FLUSHING          MI 48433‐2619
VALENTINE, BETTY J          2017 OKLAHOMA AVE                                                                        FLINT             MI 48506‐2827
VALENTINE, BETTY M          5245 W MILLINGTON RD                                                                     MILLINGTON        MI 48746‐9537
VALENTINE, BETTY M          5245 MILLINGTON RD                                                                       MILLINGTON        MI 48746‐9537
VALENTINE, BOBRA S          2455 MURPHY RD                                                                           FLINT             MI 48504‐6555
VALENTINE, BONNIE           230 S SHERMAN ST                                                                         VASSAR            MI 48768‐8802
VALENTINE, CALVIN T         104 HOLT AVE                                                                             BARBOURVILLE      KY 40906‐1826
VALENTINE, CAROL            5620 S 1050 E                                                                            UPLAND            IN 46989‐9803
VALENTINE, CAROLYN B        6141 MCCLINTOCKSBURG RD                                                                  NEWTON FALLS      OH 44444‐9247
VALENTINE, CATHERINE E      235 W FRANKLIN ST                                                                        WOMELSDORF        PA 19567‐1221
VALENTINE, CHAD             191 MUSCADINE                                                                            WEST MONROE       LA 71292‐1713
VALENTINE, CHAD D           191 MUSCADINE                                                                            WEST MONROE       LA 71292‐1713
VALENTINE, CHARLES F        5808 FRANKLIN ST                                                                         SPRUCE            MI 48762‐9773
VALENTINE, CHARLES HOWARD   PAUL REICH & MYERS P.C.        1608 WALNUT ST STE 500                                    PHILADELPHIA      PA 19103‐5446
VALENTINE, CHARLES R        9551 CYPRESS CHASE CT                                                                    FORT MYERS        FL 33967‐4847
VALENTINE, CHARLES V        5188 HIGHPOINT DR                                                                        SWARTZ CREEK      MI 48473‐8902
VALENTINE, CHRISTOPHER M    9221 POINT CHARITY DR                                                                    PIGEON            MI 48755‐9772
VALENTINE, CLAUDIA          14720 W 93RD TER                                                                         LENEXA            KS 66215‐3027
VALENTINE, DAN DUNCAN       48705 GRAND RIVER                                                                        NOVI              MI 48374
VALENTINE, DAVID S          2859 WALMSLEY CIR                                                                        LAKE ORION        MI 48360
VALENTINE, DEBRA            2326 DEERFIELD DR                                                                        DEERFIELD         OH 44411‐8710
VALENTINE, DEBRA L          6741 POLK ST. TRAIL                                                                      HUDSONVILLE       MI 49426
VALENTINE, DELLA            8825 3RD ST                                                                              DETROIT           MI 48202‐1705
VALENTINE, DELLA            8825 THIRD                                                                               DETROIT           MI 48202‐1705
VALENTINE, DELORES J        29 MUSTANG DR                                                                            FALLING WATERS    WV 25419‐3830
VALENTINE, DENNIS K         1070 S BLOCK RD                                                                          REESE             MI 48757‐9302
VALENTINE, DENNIS P         1720 SOUTH STATE STREET                                                                  SAINT JOSEPH      MI 49085‐1655
VALENTINE, DIANA M          11498 LAIRD RD                                                                           BROOKLYN          MI 49230‐9043
VALENTINE, DIANE            49856 HEADLEY RIDGE RD                                                                   BEALLSVILLE       OH 43716‐9605
VALENTINE, DONNIE F         349 E STATE ST                                                                           ALBANY            IN 47320‐1234
VALENTINE, DOREEN           2 SUNRISE TER                                                                            DEPOSIT           NY 13754‐3651
VALENTINE, DOUGLAS J        8122 W STATE ROAD 38                                                                     LAPEL             IN 46051‐9727
VALENTINE, EARL M           4669 MIDDLE RD                                                                           ALLISON PARK      PA 15101‐1125
VALENTINE, ELIZABETH C      80 LOEFFLER RD APT G303C                                                                 BLOOMFIELD        CT 06002‐4327
VALENTINE, ELROY W          2073 N SHERIDAN RD                                                                       MUSKEGON          MI 49445‐1655
VALENTINE, EMMA J           PO BOX 1301                                                                              BRISTOL           PA 19007‐1301
VALENTINE, EVELYN           PO BOX 7557                                                                              COLUMBUS          OH 43207‐0557
VALENTINE, FANNIE S         5207 WEIGOLD CT.                                                                         DAYTON            OH 45426‐5426
VALENTINE, FLORENCE         4507 BONNING AVE                                                                         WARREN            MI 48091‐1475
VALENTINE, FRANK M          10290 HOOSE RD                 BUILDING 1 UNIT 2 EASTPOINT                               MENTOR            OH 44060‐6847
VALENTINE, GARY L           1 WHITE HORSE LN                                                                         AVON              NY 14414‐9779
VALENTINE, GENE             9964 S 750 W                                                                             FORTVILLE         IN 46040‐9206
VALENTINE, GERALD M         5706 AUGUSTA WOODS DR                                                                    PLAINFIELD        IN 46168‐9116
VALENTINE, H D              6741 POLK ST                                                                             HUDSONVILLE       MI 49426‐9553
VALENTINE, H DOUGLAS        6741 POLK ST                                                                             HUDSONVILLE       MI 49426‐9553
VALENTINE, HARVEY           3906 HOFFMAN DR                                                                          SANDUSKY          OH 44870‐5752
VALENTINE, IDA              560 W 126TH ST APT 1B                                                                    NEW YORK          NY 10027‐2422
VALENTINE, IDA P            PO BOX 1826                                                                              MC CORMICK        SC 29835‐1826
VALENTINE, IDA P            P O BOX 1826                                                                             MC CORMICK        SC 29835‐1826
                            09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                              Part 37 of 40 Pg 845 of 901
Name                        Address1                       Address2                       Address3   Address4         City               State Zip
VALENTINE, JAMES A          220 PARK MANOR DR APT 1B                                                                  DAYTON              OH 45410‐1112
VALENTINE, JASON M          3313 SE ADAMS DR                                                                          BLUE SPRINGS        MO 64014‐5405
VALENTINE, JASON M          APT I10                        201 EAST PALESTINE BOULEVARD                               MADISON             TN 37115‐4846
VALENTINE, JEFFERY H        3012 NADAR                                                                                GRAND PRAIRIE       TX 75054‐6792
VALENTINE, JERRY            4017 W STANLEY RD                                                                         MOUNT MORRIS        MI 48458‐9480
VALENTINE, JIM R            9265 DIXIE HYWY                                                                           BIRCH RUN           MI 48415
VALENTINE, JOAN E           2080 E HILL RD APT 1                                                                      GRAND BLANC         MI 48439‐5129
VALENTINE, JOHN             21740 FEATHER AVENUE                                                                      YORBA LINDA         CA 92887‐3708
VALENTINE, JOHN W           2214 CRIDER RD                                                                            MANSFIELD           OH 44903‐6920
VALENTINE, JOSEPH A         3504 COUNTY ROAD 60                                                                       BERGHOLZ            OH 43908‐7916
VALENTINE, JOSEPH L         4986 SHADYCREST RD                                                                        COLUMBUS            OH 43229‐5232
VALENTINE, JOSEPH W         1208 MENDOZA DR                                                                           SAINT PETERS        MO 63376‐4645
VALENTINE, JUDITH A         9221 POINT CHARITY DR                                                                     PIGEON              MI 48755‐9772
VALENTINE, JUDITH K         2020 SHAGBARK LN                                                                          OKEMOS              MI 48864‐3632
VALENTINE, KAREN J          1 WHITE HORSE LN                                                                          AVON                NY 14414‐9779
VALENTINE, KATHERINE R      3513 MILL CREEK DR                                                                        ORION               MI 48360‐1566
VALENTINE, KATHY L          1373 HIGHWAY 557                                                                          WEST MONROE         LA 71292‐3337
VALENTINE, KEITH J          5227 MILLINGTON RD                                                                        MILLINGTON          MI 48746‐9537
VALENTINE, KENNETH L        805 BRADY ST                                                                              CHESANING           MI 48616‐1059
VALENTINE, KIM R            2516 POINT PLEASANT WAY                                                                   TOLEDO              OH 43611‐1116
VALENTINE, LARRY            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510‐2212
                                                           STREET, SUITE 600
VALENTINE, LARRY J          330 W NORTH ST                                                                            SAINT CHARLES      MI 48655‐1127
VALENTINE, LAURA J          4131 MOTORWAY DR                                                                          WATERFORD          MI 48328‐3479
VALENTINE, LELAND L         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510‐2212
                                                           STREET, SUITE 600
VALENTINE, LILLIAN R        71 WEST AVE APT 57                                                                        BROCKPORT          NY   14420
VALENTINE, LINDA L          9265 DIXIE HWY                                                                            BIRCH RUN          MI   48415‐9002
VALENTINE, LINDA L          9265 DIXIE HWY.                                                                           BIRCH RUN          MI   48415‐9002
VALENTINE, LOIS M           3031 GARVEY RD APT G                                                                      DAYTON             OH   45420
VALENTINE, LOLA M           15671 SYLVIA DR                                                                           BROOKPARK          OH   44142‐2951
VALENTINE, LORETTA A        7200 BEECHER RD                                                                           FLINT              MI   48532‐2012
VALENTINE, LYDIA L          4986 SHADYCREST RD                                                                        COLUMBUS           OH   43229‐5232
VALENTINE, M LORRAINE       222 ANN AVE                                                                               PENDLETON          IN   46064‐9110
VALENTINE, MARGARET M       PO BOX 254                                                                                EFFORT             PA   18330‐0254
VALENTINE, MARIAN M         24304 GROVE AVE                                                                           EASTPOINTE         MI   48021‐1064
VALENTINE, MARK S           34279 MARINER DR                                                                          STERLING HEIGHTS   MI   48310‐5552
VALENTINE, MARTHA E         96 FRANK LN                                                                               BRACEY             VA   23919‐1815
VALENTINE, MARTHA E         96 FRANCK LANE                                                                            BRACEY             VA   23919‐1815
VALENTINE, MARTIN F         2020 SHAGBARK LN                                                                          OKEMOS             MI   48864‐3632
VALENTINE, MARY             ODOM & ELLIOTT                 P O DRAWER 1868                                            FAYETTEVILLE       AR   72702
VALENTINE, MATHEW F         3359 MILVERTON RD                                                                         SHAKER HTS         OH   44120‐4225
VALENTINE, MELBA            3267 KNOWLAND AVE                                                                         OAKLAND            CA   94619‐2629
VALENTINE, MELVIN C         5335 S 800 W                                                                              LAPEL              IN   46051‐9726
VALENTINE, MICHAEL E        3513 MILL CREEK DR                                                                        LAKE ORION         MI   48360‐1566
VALENTINE, MICHAEL EDWARD   3513 MILL CREEK DR                                                                        LAKE ORION         MI   48360‐1566
VALENTINE, MICHAEL J        2549 E STOTTLER DR                                                                        GILBERT            AZ   85296‐8837
VALENTINE, MICHAEL M        4099 MILNER RD                                                                            STOCKBRIDGE        MI   49285‐9782
VALENTINE, MICHAEL R        2844 W BUCKEYE DR                                                                         GREENFIELD         IN   46140‐9790
VALENTINE, MICHELE          19932 ALCOY ST                                                                            DETROIT            MI   48205‐1738
VALENTINE, MICHELE J        662 CLIFTON DR                                                                            BEAR               DE   19701‐2150
VALENTINE, MICHELLE J       6115 ORCHARD LAKE RD APT 103                                                              WEST BLOOMFIELD    MI   48322‐2310
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                               Part 37 of 40 Pg 846 of 901
Name                         Address1                           Address2                        Address3   Address4         City            State Zip
VALENTINE, MILDRED L         222 ANN AVE                                                                                    PENDLETON        IN 46064‐9110
VALENTINE, NEIL V            3213 COPPER HILL RUN                                                                           FORT WAYNE       IN 46804‐3426
VALENTINE, NICOLINE J        4507 BONNING AVENUE                                                                            WARREN           MI 48091‐1475
VALENTINE, NORMA J           1070 S BLOCK RD                                                                                REESE            MI 48757‐9302
VALENTINE, RALPH E           PO BOX 306                                                                                     HGHTN LK HTS     MI 48630‐0306
VALENTINE, RAYMOND F         6408 CHURCH ST                                                                                 MARLETTE         MI 48453‐1315
VALENTINE, REBECCA L         3504 COUNTRY ROAD 60                                                                           BERGHOLZ         OH 43908
VALENTINE, REGINALD B        3854 TOWNSHEND CIR                                                                             STOCKTON         CA 95212‐3483
VALENTINE, RICHARD A         2157 CATALPA DR                                                                                ORLEANS          MI 48865‐8703
VALENTINE, RICHARD H         202 CONKLIN AVE                                                                                SYRACUSE         NY 13206‐2522
VALENTINE, RICHARD J         12362 BEECH ST NE                                                                              ALLIANCE         OH 44601‐8775
VALENTINE, RICHARD S         861 W 6TH ST                                                                                   SAN PEDRO        CA 90731‐3007
VALENTINE, RICHARD W         652 MILLSTONE DR                                                                               ROCHESTER HLS    MI 48309‐1648
VALENTINE, RICK R            OLDMAN COOLEY SALLUS GOLD BIRNBERG 16133 VENTURA BLVD PH A                                     ENCINO           CA 91436‐2447
                             & COLEMAN
VALENTINE, RICK R            CONSUMER LEGAL SERVICES            1950 SAWTELLE BLVD STE 245                                  LOS ANGELES     CA    90025‐7017
VALENTINE, RITA M            1611 MALDEN AVE                                                                                SPRINGFIELD     OH    45504‐1534
VALENTINE, ROBERT A          5648 GOLF POINTE DR                                                                            CLARKSTON       MI    48348‐5148
VALENTINE, ROBERT J          350 MATTHEWS ST                                                                                BRISTOL         CT    06010‐0111
VALENTINE, ROSE M            456 E GLASS RD                                                                                 ORTONVILLE      MI    48462‐8878
VALENTINE, ROSEMARY          55 FIRST ST                                                                                    OXFORD          MI    48321
VALENTINE, RUBY D            2812 E WALLINGS RD                                                                             CLEVELAND       OH    44147‐1379
VALENTINE, SALLY A           266 GROSCAP RD.                                                                                ST.IGNACE       MI    49781‐9669
VALENTINE, SALLY A           W1794 GROS CAP RD                                                                              SAINT IGNACE    MI    49781‐9836
VALENTINE, SETH D            3207 POTTER RD                                                                                 WIXOM           MI    48393‐1845
VALENTINE, STANLEY F         3956 AURELIUS RD                                                                               ONONDAGA        MI    49264‐9720
VALENTINE, TAYLOR            165 PINHOOK RD                                                                                 WEST HARRISON   IN    47060‐9447
VALENTINE, THOMAS C          3835 W CASTLE RD                                                                               FOSTORIA        MI    48435
VALENTINE, THOMAS H          3957 W CASTLE RD                                                                               FOSTORIA        MI    48435‐9783
VALENTINE, VERAL V           17195 SILVER PARKWAY               #155                                                        FENTON          MI    48430
VALENTINE, VERAL V           5444 WYNDEMERE SQ                                                                              SWARTZ CREEK    MI    48473
VALENTINE, VIOLA F           2540 RED COACH LANE                                                                            LA HABRA        CA    90631‐6255
VALENTINE, VIOLA F           2540 REDCOACH LN                                                                               LA HABRA        CA    90631‐6255
VALENTINE, WAYNE I           1899 W STERNS RD                                                                               TEMPERANCE      MI    48182‐1542
VALENTINE, WILLIAM A         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA    23510‐2212
                                                                STREET, SUITE 600
VALENTINE, WILLIAM H         BARON & BUDD                       3102 OAK LANE AVE, SUITE 1100                               DALLAS           TX   75219
VALENTINE, WILLIAM H         DIMOS BROWN ERSKINE BURKETT &      1216 STUBBS AVE                                             MONROE           LA   71201‐5622
                             GARNER LLP
VALENTINE, WILLIAM H         BARON & BUDD PC                    9015 BLUEBONNET BLVD                                        BATON ROUGE     LA    70810‐2812
VALENTINE, WILLIAM I         PAUL REICH & MYERS P.C.            1608 WALNUT ST STE 500                                      PHILADELPHIA    PA    19103‐5446
VALENTINE, WILLIE            7143 EASTERLY LN                                                                               MEMPHIS         TN    38125‐4311
VALENTINE, WILLIE D          40 SMITH RD                                                                                    NANUET          NY    10954‐1005
VALENTINE,MICHAEL EDWARD     3513 MILL CREEK DR                                                                             LAKE ORION      MI    48360‐1566
VALENTINE‐MOORE JACQUELINE   3214 GLENMONT RIDGE CT                                                                         FRESNO          TX    77545‐8776
VALENTINES GARAGE            5125 LEAVENWORTH RD                                                                            KANSAS CITY     KS    66104‐2121
VALENTINI JR, CHARLES J      15222 CLASSIC DR                                                                               BATH            MI    48808‐8767
VALENTINI, CHARLES J         360 BUTTERFIELD DR                                                                             ABINGDON        MD    21009‐1514
VALENTINI, ELAINE D          3555 SHANNON DR                                                                                BALTIMORE       MD    21213‐1825
VALENTINI, ELIZABETH         47 LOURDES AVE 2                                                                               JAMAICA PLAIN   MA    02130‐3304
VALENTINI, ELIZABETH         #2                                 47 LOURDES AVENUE                                           JAMAICA PLAIN   MA    02130‐3304
VALENTINI, ROBERT D          3141 GLEN LILY RD                                                                              BOWLING GREEN   KY    42101‐7824
                                09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
                                                                   Part 37 of 40 Pg 847 of 901
Name                           Address1                         Address2                         Address3                   Address4                  City               State Zip
VALENTINO COCCAGNA             671 LEDGEVIEW COURT                                                                                                    SOUTHINGTON         CT 06489‐3435
VALENTINO COIN                 VIA ROMA 48                                                                                  35020 CANDIANA PD ITALY
VALENTINO COIN                 VIA ROMA 48                      35020 CANDIANA PD                ITALY
VALENTINO DEL PIOMBO           7010 PINGREE RD                                                                                                        PINCKNEY           MI   48169‐8812
VALENTINO DI FELICE            224 JOHNSON DR                                                                                                         FAIRLESS HILLS     PA   19030‐2011
VALENTINO DIVIESTE SR          9301 HILLVIEW DR NE                                                                                                    WARREN             OH   44484‐1110
VALENTINO DIVIESTE SR          9301 HILLVIEW DR NE                                                                                                    WARREN             OH   44484‐1110
VALENTINO FLORES               306 PARKVIEW DR                                                                                                        ARLINGTON          TX   76010‐1335
VALENTINO FULIMENI             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                            BOSTON HTS.        OH   44236
VALENTINO MAUGERI              20 YORKTOWN RD                                                                                                         BORDENTOWN         NJ   08505‐2410
VALENTINO MONTI                55 KLEBER AVE                                                                                                          AUSTINTOWN         OH   44515‐1734
VALENTINO NUNZIO VALENTINO     50236867                         VALENTINO NUNZIO VALENTINO       VIA FLAMINIA VECCHIA 703/A 191 ROMA (RM) ITALY
                                                                INCORONATA
VALENTINO RALPH                VALENTINO, RALPH                 DEBBIE ISODORIO SAFETY INS CO.   P.O. BOX 704                                         BOSTON             MA 02117

VALENTINO RIVERA               4533 ROCKING R MHP DR            # CR617                                                                               ALVARADO           TX   76009‐5166
VALENTINO RODRIGUEZ            5835 ACRES RD                                                                                                          SYLVANIA           OH   43560‐1502
VALENTINO SALAZAR              22103 DREWFALLS CT                                                                                                     RICHMOND           TX   77407‐2979
VALENTINO WILLIAM              VALENTINO, WILLIAM               1930 E MARLTON PIKE SUITE Q29                                                         CHERRY HILL        NJ   08003
VALENTINO, AMELIA              219 GILLIS ST                                                                                                          SOLVAY             NY   13209‐2336
VALENTINO, ANTHONY J           45 STONEWOOD AVE APT 1                                                                                                 ROCHESTER          NY   14612‐5454
VALENTINO, JEANNE A            12650 SUNNYDALE DR                                                                                                     WELLINGTON         FL   33414‐6294
VALENTINO, JENNIE              38751 HAZEL ST                                                                                                         SELFRIDGE ANGB     MI   48045‐2123
VALENTINO, JENNIE              38751 HAZEL                                                                                                            MT CLEMENS         MI   48045‐2123
VALENTINO, JOSEPH M            PO BOX 3546                      121 PRINCE MANOR                                                                      PINEHURST          NC   28374‐3546
VALENTINO, JOSEPH R            60 HARDSCRABBLE RD               C/O TAGEL                                                                             BRIARCLIFF MANOR   NY   10510‐1910
VALENTINO, LEONARD A           5 MICHELLE DR                                                                                                          DOVER              DE   19901‐1367
VALENTINO, MARIE R             543 S CEDAR AVE                                                                                                        ELMHURST           IL   60126‐4135
VALENTINO, MARY ANN G          PO BOX 3546                                                                                                            PINEHURST          NC   28374‐3546
VALENTINO, MARY M              51 LOCUST ST                                                                                                           BRISTOL            CT   06010‐6249
VALENTINO, MARY M              51 LOCUST STREET                                                                                                       BRISTOL            CT   06010‐6249
VALENTINO, MICHAEL G           1852 BUSHNELL AVE                                                                                                      NORTH PORT         FL   34286‐6713
VALENTINO, NICK                925 MILLRIDGE RD                                                                                                       HIGHLAND HTS       OH   44143‐3113
VALENTINO, RALPH               DEBBIE ISODORIO SAFETY INS CO.   PO BOX 704                                                                            BOSTON             MA   02117‐0704
VALENTINO, VERONICA F          17845 CASCADE DR                                                                                                       EDEN PRAIRIE       MN   55347‐2148
VALENTINO, VIVIAN M            111 QUAIL                                                                                                              CAPAC              MI   48014
VALENTINS BOIKO                AV AMERICA 10 PORTALS NOUS                                                                   07181 MALLORCA
                                                                                                                            BALEARES SPAIN
VALENTO, NICK E                9837 MASSASOIT AVE                                                                                                     OAK LAWN           IL   60453‐3652
VALENTO, ROCCO L               806 N LINCOLN ST                                                                                                       BURBANK            CA   91506‐1724
VALENTOVISH, EUGENE L          810 LIBERTY ST                                                                                                         DUQUESNE           PA   15110‐1530
VALENTY NOWAK                  2564 BRUIN DR                                                                                                          EAST LANSING       MI   48823‐7206
VALENTZ, LEWIS E               4216 GARDNER BARCLAY RD                                                                                                FARMDALE           OH   44417‐9770
VALENZA, MARY A                90 SHILOH CT                                                                                                           ROCHESTER          NY   14612‐2376
VALENZANO MARY JEAN            1188 SULLIVAN TRAIL                                                                                                    SCOTRUN            PA   18355
VALENZUELA JR., FRANCISCO J    305 JEFFERSON AVE                                                                                                      JANESVILLE         WI   53545‐4132
VALENZUELA JR., FRANCISCO J.   305 JEFFERSON AVE                                                                                                      JANESVILLE         WI   53545‐4132
VALENZUELA MARIA L             VALENZUELA, MARIA L              501 E TYLER AVE                                                                       HARLINGEN          TX   78550‐9125
VALENZUELA, ALBERT F           6240 BUFFALO AVE                                                                                                       VAN NUYS           CA   91401‐2418
VALENZUELA, APOLITO            23102 WELLINGTON CRES APT 101                                                                                          CLINTON TOWNSHIP   MI   48036‐3540
VALENZUELA, ARTURO             1666 W PAMPASLN =3                                                                                                     ANAHEIM            CA   92802
VALENZUELA, ASENCION
                             09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                   Part 37 of 40 Pg 848 of 901
Name                         Address1                              Address2                       Address3                 Address4                  City              State Zip
VALENZUELA, ENRIQUE S        PO BOX 621                                                                                                              MEXICO             NY 13114‐0621
VALENZUELA, ERNESTO M        5521 HEATHERCREST DR                                                                                                    ARLINGTON          TX 76018‐2525
VALENZUELA, ERNESTO MOLINA   5508 BRAZORIA DR                                                                                                        GRAND PRAIRIE      TX 75052‐8569
VALENZUELA, FLORENTINA A     13764 MIMI RD                                                                                                           VICTORVILLE        CA 92392‐5539
VALENZUELA, FRANCISCO J      PO BOX 2773                                                                                                             JANESVILLE         WI 53547‐2773
VALENZUELA, FRANCISCO J.     PO BOX 2773                                                                                                             JANESVILLE         WI 53547‐2773
VALENZUELA, FRANK            4037 PHILLIPS RD                                                                                                        METAMORA           MI 48455‐9650
VALENZUELA, FREDDIE D        11911 ARMINTA ST                                                                                                        NORTH HOLLYWOOD    CA 91605‐2504
VALENZUELA, JOE A            2554 OLIVE DRIVE                      112                                                                               PALMDALE           CA 93550
VALENZUELA, MANUEL           1517 N HUNTINGTON AVE                                                                                                   SAN FERNANDO       CA 91340
VALENZUELA, MANUEL S         11911 ARMINTA ST                                                                                                        NORTH HOLLYWOOD    CA 91605‐2504
VALENZUELA, PEDRO            9544 AMBOY AVE                                                                                                          PACOIMA            CA 91331‐4231
VALENZUELA, PHILLIP I        3849 N ALBANY AVE                                                                                                       CHICAGO             IL 60618‐3411
VALENZUELA, RAUL M           14643 HAYNES ST                                                                                                         VAN NUYS           CA 91411‐1615
VALENZUELA, ROSA             12744 BURNING TREE LN W                                                                                                 JACKSONVILLE       FL 32223‐2008
VALENZUELA, RUBEN A          20302 E SUPERSTITION DR                                                                                                 QUEEN CREEK        AZ 85242‐9761
VALENZUELA, STEVE R          11911 ARMINTA ST                                                                                                        NORTH HOLLYWOOD    CA 91605‐2504
VALENZUELA, TERRY J          701 TRUMAN ST                                                                                                           ARLINGTON          TX 76011‐7957
VALENZUELA, VERA E           661 PALISADE AVENUE                                                                                                     YONKERS            NY 10703‐2109
VALENZUELA, VIRGINIA C       417 N HUNTINGTON ST                                                                                                     SAN FERNANDO       CA 91340‐1914
VALEO                        214 RODRIGUES DE MEDEIROS ST          CIBIE DO BRASIL LTDA                                    SAO PAULO BRAZIL
                                                                                                                           04464050 BRAZIL
VALEO                        101 ROUTE DE VENDOME                                                                          BLOIS F‐41033 FRANCE
VALEO                        HELMUT ROLAND                         ENGSTLATTLER WEG 18                                     STUTTGART 70567
                                                                                                                           GERMANY
VALEO                        100 MERIDIAN CTR STE 120                                                                                                ROCHESTER         NY 14618‐3976
VALEO                        ANTHONY MIKOY                         100 MERIDIAN CTR STE 120       ROCHESTER OPERATIONS                               ROCHESTER         NY 14618‐3975
VALEO                        100 MERIDIAN CTR                      STE 120                                                                           ROCHESTER         NY 14618‐3976
VALEO                        TONY MIKOY                            C/O QUALITY CONTAINMENT SVCS   3374 WALDEN AVE, SUITE 100 DUNDALK ON CANADA

VALEO                        NO 11 JIEZHIZHA RD DONGMO RD          JIANGNING ECONOMIC                                      NANJING JIANGSU CN
                                                                   DEVELOPMENT ZONE                                        210039 CHINA (PEOPLE'S
                                                                                                                           REP)
VALEO                        ATTN: VINCENT MARCEL, JEROME BRICE,   43 RUE BAYEN                                            PARIS CEDEX
                             M&A                                                                                           17,FR,75017,FRANCE
VALEO                        34 RUE SAINT ANDRE                                                                            BOBIGNY 81660 FRANCE
VALEO                        4100 N ATLANTIC BLVD                                                                                                    AUBURN HILLS      MI 48326‐1570
VALEO                        5 ZANE GREY ST STE A                                                                                                    EL PASO           TX 79906‐5212
VALEO                        81 AVENUE ROGER DUMOULIN CS70926                                                              AMIENS 80000 FRANCE

VALEO                        2258 ALLEN STREET EXT                                                                                                   JAMESTOWN         NY 14701‐2330
VALEO                        2520 ESTERS BLVD STE 100                                                                                                DALLAS            TX 75261
VALEO                        43 RUE BAYEN                          PARIS CEDEX 17 FR 75017                                 FRANCE
VALEO                        1100 BARACHEL LN                                                                                                        GREENSBURG        IN   47240‐1200
VALEO                        150 STEPHENSON HWY                                                                                                      TROY              MI   48083‐1116
VALEO                        1555 LYELL AVE                                                                                                          ROCHESTER         NY   14606‐2123
VALEO                        1555 LYELL AVE                        PO BOX 230                                                                        ROCHESTER         NY   14606‐2123
VALEO                        1667 EMERSON ST                                                                                                         ROCHESTER         NY   14606‐3119
VALEO                        19 HWANGSUNG DONG                                                                             KYONGJU 780 130 KOREA
                                                                                                                           (REP)
VALEO                        2 RUE ANDRE BOULLE                    BOITE POSTAL 150                                        CRETEIL FR 94000 FRANCE
VALEO                        83 ESTATES DR W                                                                                                         FAIRPORT          NY 14450‐8425
        09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                            Part 37 of 40 Pg 849 of 901
Name    Address1                         Address2                        Address3                      Address4                   City                  State Zip
VALEO   ALEJANDRO CABRERA                BESTWINSKA 21                                                 CZECHOWICE DZIEDZICE
                                                                                                       POLAND (REP)
VALEO   ANTHONY MIKOY                    1555 LYELL AVE               ROCHESTER OPERATIONS                                        ROCHESTER              NY 14606‐2123
VALEO   ANTHONY MIKOY                    C/O JAMESTOWN CONTAINER CORP 2345 WALDEN AVE                                             OXFORD                 MI 48371

VALEO   ANTHONY MIKOY                    CARRETERA PIEDRAS NEGRAS KM     416‐3900 SOL ZONA             SAN LUIS POTOSI SL 78090
                                                                         INDUSTRIAL                    MEXICO
VALEO   ANTHONY MIKOY                    ROCHESTER OPERATIONS            1555 LYELL AVENUE                                        BURTON                 MI 48529
VALEO   AV CIRCUIT MEXICO #160           PARQUE IND TRES NACIONES                                      SAN LUIS POTOSI CP 78395
                                                                                                       MEXICO
VALEO   AV CIRCUITO MEXICO NO 160                                                                      SAN LUIS SL 78395 MEXICO
VALEO   AVENIDA DE LA TORRES 1681                                                                      CUIDAD JUAREZ CI 32470
                                                                                                       MEXICO
VALEO   BESTWINSKA 21                                                                                  CZECHOWICE DZIEDZICE PL
                                                                                                       43‐500 POLAND (REP)
VALEO   CARRETERA MATAMOROS BRECHA 115                                                                 RIO BRAVO TM 88900
                                                                                                       MEXICO
VALEO   CHRISTOPHER RALPH                3101 W MILITARY HWY BLDG 2                                                               BUFFALO GROVE          IL
VALEO   PAT O'BRIEN                      BRIARFIELD STATION              310 E. STREET/P.O. BOX 9368                              ATLANTIC               IA   50022

VALEO   PAT O'BRIEN                      PO BOX 9368                     BRIARFIELD STATION                                       HAMPTON                VA 23670‐0368
VALEO   PATRICK NADEAU                   5 ZANE GREY ST STE A                                                                     EL PASO                TX 79906‐5212
VALEO   PATRICK NADEAU                   5A ZANE GREY                                                  QUERETARO QA 76148
                                                                                                       MEXICO
VALEO   PATRICK NADEAU                   C/O EXEL                        41775 ECORSE ROAD, SUITE      NUERNBERG BAYERN
                                                                         130                           GERMANY
VALEO   PAUL VONJANKOWSKY                C/O HINJOSA FORWARDING          801 HALLMARK, EAST INDSTL                                LAREDO                 TX   78045
                                                                         PARK
VALEO   PO BOX 67000                                                                                                              DETROIT                MI 48267‐0002
VALEO   POSTSTRABLE 10                                                                                 BIETIGHEIM BISSINGEN BW
                                                                                                       74321 GERMANY
VALEO   RUI HOTTA                        DIVISAO ILUMINACAO              RUA RODRIGUES DE                                         HAGEN POSTFACH 2860    DE
                                                                         MEDEIROS 214
VALEO   SCOTT PYLES                      3000 UNIVERSITY DRIVE                                                                    ROSEVILLE              MI 48066
VALEO   SHIWU TOLON TANG                 WUXI HIGH TECH INDUSTRIAL DEV   B11 FACTORY BLDG XIXIE        WUXI, JIANGSU PROV
                                                                         ROAD                          CHINA (PEOPLE'S REP)
VALEO   STAN ROCYS                       VALEO ENGINE COOLING            1100 E BARACHEL LN                                       CULLMAN                AL   35055
VALEO   UL PRZEMYSLOWA 3                                                                               SKAWINA PL 32‐087
                                                                                                       POLAND (REP)
VALEO   VALEO STR 1                                                                                    WEMDING BY 86650
                                                                                                       GERMANY
VALEO   AVENIDA DE LA TORRES 1681        PARQUE INDUSTRIAL INTERMEX                                    CUIDAD JUAREZ CI 32470
                                                                                                       MEXICO
VALEO   DAVE PRITCHARD                   3620 SYMMES ROAD                                                                         GREENWOOD              IN   46143
VALEO   GUY LUNZENFICHTER                16, AVENUE DES PRES                                           GUADALUPE NL 67190
                                                                                                       MEXICO
VALEO   JENS EIMER                       6 RUE FRANCOIS CEVERT BP71014                                                            HILLSIDE               IL   60162
VALEO   CARRETERA PIEDRAS NEGRAS KM      416‐3900 SOL ZONA INDUSTRIAL                                  SAN LUIS POTOSI SL 78090
                                                                                                       MEXICO
VALEO   FERNANDA BARRALES                VALEO WIPER SYSTEMS             AV. CIRCUITO MEXICO #160      TOLUCA EM 52060 MEXICO
                                                                         PARQU
                                     09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                           Part 37 of 40 Pg 850 of 901
Name                                 Address1                           Address2                         Address3                  Address4                   City               State Zip
VALEO                                JAMES MC ALINDON                   172 AVE DU GENERAL LECLERC                                 REYNOSA TM 87600
                                                                                                                                   MEXICO
VALEO                                JIM MCALINDON                      VALEO GROUP                      MANZANA 4 LOTE 1                                     HENDERSON           KY   42420
VALEO                                JOHN ROWAN                         41775 ECORSE RD STE 130          C/O EXEL                                             BELLEVILLE          MI   48111‐5165
VALEO                                JOHN ROWAN                         C/O EXEL                         41775 ECORSE RD STE 130                              SPRING LAKE         MI   49456
VALEO                                LEECROFT CLARKE                    2258 ALLEN STREET EXT            TRUCK DIVISION                                       JAMESTOWN           NY   14701‐2330
VALEO                                LEECROFT CLARKE                    TRUCK DIVISION                   2258 ALLEN STREET                                    STERLING HEIGHTS    MI   48312
VALEO                                MANZANA 4 LOTE 1                                                                              TOLUCA ESTADO DE
                                                                                                                                   MEXICO 11560 MEXICO
VALEO                                43 RUE BAYEN                                                                                  PARIS CEDEX 17 FR 75017
                                                                                                                                   FRANCE
VALEO                                DAVID PREUSS                       43 RUE BAYEN                                               PARIS CEDEX 17 75017
                                                                                                                                   FRANCE
VALEO                                STEVE RAMAEKERS                    CARRETERA MATAMOROS BRECHA                                 RIO BRAVO TM 88900
                                                                        115                                                        MEXICO
VALEO AIR FLOW DIVISION NORTH AMER   100 MERIDIAN CTR STE 120                                                                                                 ROCHESTER           NY 14618‐3976
AIR MGMT DIV
VALEO AUTOKLIMATIZACE K S            KUSTOVA 2596/II                                                                               RAKOVNIK CZ 269 44 CZECH
                                                                                                                                   REPUBLIC
VALEO AUTOKLIMATIZACE SRO            KUSTOVA 2596/II                                                                               RAKOVNIK CZ 26944 CZECH
                                                                                                                                   (REP)
VALEO AUTOMOTIVE SECURITY SYS        SHIWU TOLON TANG                   WUXI HIGH TECH INDUSTRIAL DEV    B11 FACTORY BLDG XIXIE    WUXI, JIANGSU PROV
                                                                                                         ROAD                      CHINA (PEOPLE'S REP)
VALEO AUTOMOTIVE SECURITY SYSTEM    B11 FACTORY BLDG XLXIE RD WUXI      HIGH‐TECH INDSTRL JIANGSU PROV                             CHINA 214112 CHINA
WUXI CO LTD
VALEO AUTOMOTIVE TRANSMISSIONS      SYSTEMS NANJING CO LTD              NO 11 JIE ZHI ZHA RD NANJNG                                JIANGSU P R CHINA CHINA
VALEO AUTOMOTIVE TRANSMISSIONS SYST NO 11 JIEZHIZHA RD DONGMO RD        JIANGNING ECONOMIC                                         NANJING JIANGSU CN
                                                                        DEVELOPMENT ZONE                                           210039 CHINA (PEOPLE'S
                                                                                                                                   REP)
VALEO AUTOSYSTEMY SP ZOO             UL PRZEMYSLOWA 3                                                                              SKAWINA PL 32‐087
                                                                                                                                   POLAND (REP)
VALEO CLIM/GR PRAIRI                 PO BOX 610543                                                                                                            DALLAS             TX    75261‐0543
VALEO CLIMATE CONTROL                3620 SYMMES RD                                                                                                           HAMILTON           OH    45015‐1371
VALEO CLIMATE CONTROL                DAVE PRITCHARD                     3620 SYMMES ROAD                                                                      GREENWOOD          IN    46143
VALEO CLIMATE CONTROL                PO BOX 610543                                                                                                            DALLAS             TX    75261‐0543
VALEO CLIMATE CONTROL DE MEX         JIM MCALINDON                      VALEO GROUP                      MANZANA 4 LOTE 1                                     HENDERSON          KY    42420
VALEO CLIMATE CONTROL DE MEXICO      MANZANA 4 LOTE 1                                                                              TOLUCA, MX 50200 MEXICO
VALEO CLIMATE CONTROL DE MEXICO SA   MANZANA 4 LOTE 1                                                                              TOLUCA ESTADO DE
                                                                                                                                   MEXICO MX 11560 MEXICO
VALEO CLIMATE CONTROL DE MEXICO SA   MANZANA 4 LOTE 1 PARQUE IND        EXPORTEC 11 TOLUCA ESTADO DE                               CP 50200 MEXICO MEXICO
DE CV
VALEO CLIMATE/TOLUCA               MANZANA 4 LOTE 1                     PARQUE IND EXPORTEC 11                                     TOLUCA MX 50200 MEXICO
VALEO CLUTCH/LIVONIA               37564 AMRHEIN                                                                                                              LIVONIA             MI 48150
VALEO CLUTCHES & TRANS INC         PO BOX 9368                          WAS VALEO AUTO LIGHTING                                                               HAMPTON             VA 23670‐0368
VALEO CLUTCHES & TRANS INC EFT     ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 2575                                                                           CAROL STREAM        IL 60132‐0001
                                   AGENT
VALEO CLUTCHES & TRANS. INC.       PAT O'BRIEN                          BRIARFIELD STATION               PO BOX 9368                                          ATLANTIC            IA 50022
VALEO CLUTCHES & TRANS. INC.       PAT O'BRIEN                          PO BOX 9368                      BRIARFIELD STATION                                   HAMPTON             VA 23670‐0368
VALEO COM/DECATUR                  4100 N ATLANTIC BLVD                                                                                                       AUBURN HILLS        MI 48326‐1570
VALEO COMPRESSOR NORTH AMERICA INC 2520 ESTERS BLVD STE 100                                                                                                   DALLAS              TX
                                      09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                            Part 37 of 40 Pg 851 of 901
Name                               Address1                                Address2                        Address3                  Address4                  City           State Zip
VALEO COMPRESSOR NORTH AMERICA INC 4100 N ATLANTIC BLVD                                                                                                        AUBURN HILLS    MI 48326‐1570

VALEO COMPRESSOR USA, INC.            PO BOX 610870                        ATTN: PAT BREEN                                                                     DALLAS          TX   75261‐0870
VALEO COMPRESSOR USA, INC.            ATTN: PAT BREEN                      PO BOX 610870                                                                       DALLAS          TX   75261‐0870
VALEO EEM ALTERNATEURS                VALEO EQUIPMENTS ELECTRIQUES         LA ROUTE DE MONTREUIL                                     ETAPLES F‐62630 FRANCE
VALEO EEM DEMARREURS                  10 RUE DE REVOLAY PARC DACTIVI       DE CHESNES‐OUES 38 ST QUENTIN                             FALLAVIER FRANCE FRANCE

VALEO ELEC/3000 UNIV                  150 STEPHENSON HWY                                                                                                       TROY           MI 48083‐1116
VALEO ELEC/CAROL STR                  PO BOX 2557                                                                                                              CAROL STREAM   IL 60132‐0001
VALEO ELEC/FRANCE                     6 RUE FRANCOIS CEVERT BP 1014        AFTERMARKET DIVISION (CEDEX)                              ANGERS FR 49015 FRANCE
VALEO ELEC/LIVONIA                    4100 N ATLANTIC BLVD                                                                                                     AUBURN HILLS   MI 48326‐1570
VALEO ELEC/MEXICO                     CARRETERA MATAMOROS BRECHA 115       KM 99 RIO BRAVO TAMAULIPAS                                RIO BRAVO TM 88900
                                                                                                                                     MEXICO
VALEO ELECTRIC & ELECTRONICS          ALEJANDRO CABRERA                    BESTWINSKA 21                                             RINGWOOD, IL POLAND
                                                                                                                                     (REP)
VALEO ELECTRIC & ELECTRONICS SYSTEM   BESTWINSKA 21                                                                                  CZECHOWICE DZIEDZICE PL
                                                                                                                                     43‐500 POLAND (REP)
VALEO ELECTRIC MOTOR & WIPER          100 MERIDIAN CTR STE 120                                                                                                 ROCHESTER      NY 14618‐3976
SYSTEMS
VALEO ELECTRICAL SYSTEM INC           VESI‐JUAREZ WIPER SYSTEM             PO BOX 2480                                                                         CAROL STREAM   IL 60132‐0001
VALEO ELECTRICAL SYSTEMS              150 STEPHENSON HWY                                                                                                       TROY           MI 48083‐1116
VALEO ELECTRICAL SYSTEMS              6 RUE FRANCOIS CEVERT BP 1014                                                                  ANGERS, FR 49015 FRANCE
VALEO ELECTRICAL SYSTEMS INC          100 MERIDIAN CTR STE 120                                                                                                 ROCHESTER      NY    14618‐3976
VALEO ELECTRICAL SYSTEMS INC          150 STEPHENSON HWY                                                                                                       TROY           MI    48083‐1116
VALEO ELECTRICAL SYSTEMS INC          100 MERIDIAN CTR                     STE 120                                                                             ROCHESTER      NY    14618‐3976
VALEO ELECTRICAL SYSTEMS INC          100 MERDIDIAN CTR STE 120                                                                                                ROCHESTER      NY    14618‐3976
VALEO ELECTRICAL SYSTEMS INC          5 ZANE GREY ST STE A                                                                                                     EL PASO        TX    79906‐5212
VALEO ELECTRICAL SYSTEMS INC          ANTHONY MIKOY                        C/O JAMESTOWN CONTAINER CORP 2345 WALDEN AVE                                        OXFORD         MI    48371

VALEO ELECTRICAL SYSTEMS INC          PATRICK NADEAU                       5 ZANE GREY ST STE A                                                                EL PASO         TX   79906‐5212
VALEO ELECTRICAL SYSTEMS INC          PATRICK NADEAU                       5A ZANE GREY                                              QUERETARO QA 76148
                                                                                                                                     MEXICO
VALEO ELECTRICAL SYSTEMS INC          PO BOX 67000                                                                                                             DETROIT        MI 48267‐0002
VALEO ELECTRICAL SYSTEMS INC          TONY MIKOY                           C/O QUALITY CONTAINMENT SVCS    3374 WALDEN AVE, SUITE 100 DUNDALK ON CANADA

VALEO ELECTRICAL SYSTEMS INC          1555 LYELL AVE                                                                                                           ROCHESTER      NY 14606‐2123
VALEO ELECTRICAL SYSTEMS INC          ATTN: CORPORATE OFFICER/AUTHORIZED   150 STEPHENSON HWY                                                                  TROY           MI 48083‐1116
                                      AGENT
VALEO ELECTRICAL SYSTEMS KOREA LTD    19 HWANGSUNG DONG KYUNGJU            SI KYUNGSANG BUKDO 780‐130                                KOREA SOUTH KOREA

VALEO ELECTRICAL SYSTEMS KOREA LTD    19 HWANGSUNG DONG                                                                              KYONGJU KR 780 130
                                                                                                                                     KOREA (REP)
VALEO ELECTRONICS NA                  PO BOX 2557                                                                                                              CAROL STREAM    IL   60132‐0001
VALEO EMBRAYAGE                       5 AVENUE ROGER DUMOULIN/             MAIL BOX 0926 80009                                       AMIENS FRANCE FRANCE
VALEO EMBRAYAGES                      JOHN ROWAN                           41775 ECORSE RD STE 130         C/O EXEL                                            BELLEVILLE     MI 48111‐5165
VALEO EMBRAYAGES                      81 AVENUE ROGER DUMOULIN CS70926                                                               AMIENS FR 80000 FRANCE

VALEO EMBRAYAGES                      JOHN ROWAN                           C/O EXEL                        41775 ECORSE RD STE 130                             BELLEVILLE     MI    48111‐5165
VALEO ENGINE COOLING AUTO             1100 EAST BARACHSH LANE                                                                                                  GREENSBURG     IN    47240
VALEO ENGINE COOLING INC              PO BOX 2555                                                                                                              CAROL STREAM   IL    60132‐0001
VALEO ENGINE COOLING INC TRUCK DIV    2258 ALLEN STREET EXT                                                                                                    JAMESTOWN      NY    14701‐2330
                                     09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                     Exhibit B
                                                                      Part 37 of 40 Pg 852 of 901
Name                                Address1                             Address2                         Address3                  Address4                  City                  State Zip
VALEO ENGINE COOLING, INC.          LEECROFT CLARKE                      2258 ALLEN STREET EXT            TRUCK DIVISION                                      JAMESTOWN              NY 14701‐2330
VALEO ENGINE COOLING, INC.          LEECROFT CLARKE                      TRUCK DIVISION                   2258 ALLEN STREET EXT                               JAMESTOWN              NY 14701‐2396
VALEO EQUIPEMENTS ELECTRIQUES       MOTEURS                              6 RUE FRANCOIS CEVERT            BP 71014                  ANGERS F‐49015 FRANCE
VALEO EQUIPMENT 1 US INC            3000 UNIVERSITY DR                                                                                                        AUBURN HILLS          MI 48326‐2356
VALEO EQUIPMENT 1 US INC            MOTORS DIVISION                      3RD FLR BOX 2549 8430 BRYNMAWR                                                       CHICAGO               IL 60631

VALEO EQUIPMENT ELECTRIQUES         2 RUE ANDRE BOULLE                   BOITE POSTAL 150                                           CRETEIL 94000 FRANCE
VALEO EQUIPMENTS ELECTRIQUES M      2 RUE ANDRE BOULLE                   BOITE POSTAL 150                                           CRETEIL FR 94000 FRANCE
VALEO FRIZIONI                      CORSO FRANCIA NO. 4                                                                             MONDOVI, IT 12084 ITALY
VALEO FRIZIONI/ITALY                CORSO FRANCIA NO. 4                  CASELLA POSTALE 49                                         MONDOVI IT 12084 ITALY
VALEO INC                           1100 BARACHEL LN                                                                                                          GREENSBURG            IN   47240‐1200
VALEO INC                           150 STEPHENSON HWY                                                                                                        TROY                  MI   48083‐1116
VALEO INC                           2258 ALLEN STREET EXT                                                                                                     JAMESTOWN             NY   14701‐2396
VALEO INC.                          STAN ROCYS                           VALEO ENGINE COOLING             1100 E BARACHEL LN                                  CULLMAN               AL   35055
VALEO INVESTMENT HOLDING INC        3000 UNIVERSITY DR                   DBA VALEO SECURITY SYSTEMS                                                           AUBURN HILLS          MI   48326‐2356
VALEO MOTORS & ACCTUATORS           EL PASO WAREHOUSE                    7 ZANE GREY ST STE A                                                                 EL PASO               TX   79906‐5214
VALEO MOTORS AND ACTUATORS          150 STEPHENSON HWY                                                                                                        TROY                  MI   48083‐1116
VALEO MOTORS/AUBURN                 150 STEPHENSON HWY                                                                                                        TROY                  MI   48083‐1116
VALEO PYEONG HWA CO LTD             306‐70 JANGDONG DALSEGU              DAEGU 704‐190                                              719‐804 SOUTH KOREA
                                                                                                                                    SOUTH KOREA
VALEO PYEONG HWA CO LTD             1447‐4 SEONGSAN‐RI SEONGJU‐EUP       SEONGJU‐GUN                                                GYEONGSANGBUK‐DO KR
                                                                                                                                    719‐804 KOREA (REP)
VALEO PYEONG HWA CO LTD             JOHN ROWAN                           1447‐4 SEONGSAN‐RI SEONGJU‐EUP SEONGJU‐GUN                                           ATTLEBORO             MA 02703

VALEO PYEONG HWA CO LTD             JOHN ROWAN                           41775 ECORSE RD STE 130          C/O EXEL                                            BELLEVILLE            MI 48111‐5165
VALEO PYEONG HWA CO LTD             306‐70 CHANG‐DONG TALSO‐GU                                                                      DAEGU KYONGSANGNAM
                                                                                                                                    KR 704190 KOREA (REP)
VALEO PYEONG HWA CO LTD             ATTN: CORPORATE OFFICER/AUTHORIZED   1447‐4 SEONGSAN‐RI SEONJU‐EUP                              719‐804 SOUTH KOREA
                                    AGENT                                SEONGJU‐GUN GYUNGSANGBUKDO
                                                                         S
VALEO PYEONG HWA CO LTD SEONGJ      1447‐4 SEONGSAN‐RI SEONGJU‐EUP       SEONGJU‐GUN                                                GYEONGSANGBUK‐DO KR
                                                                                                                                    719‐804 KOREA (REP)
VALEO PYEONG HWA CO LTD SEONGJ      JOHN ROWAN                           1447‐4 SEONGSAN‐RI SEONGJU‐EUP SEONGJU‐GUN                                           ATTLEBORO             MA 02703

VALEO PYEONG HWA CO LTD SEONGJU PLT 1447‐4 SEONGSAN‐RI SEONGJU‐EUP       SEONGJU‐GUN                                                GYEONGSANGBUK‐DO KR
                                                                                                                                    719‐804 KOREA (REP)
VALEO PYEONG HWA CO LTD.            JOHN ROWAN                           41775 ECORSE RD STE 130          C/O EXEL                                            BELLEVILLE            MI 48111‐5165
VALEO PYEONG HWA CO LTD.            JOHN ROWAN                           C/O EXEL                         41775 ECORSE RD STE 130                             BELLEVILLE            MI 48111‐5165
VALEO RAYTHEON SYSTEMS INC          150 STEPHENSON HWY                                                                                                        TROY                  MI 48083‐1116
VALEO RAYTHEON SYSTEMS INC          CARRETERA MATAMOROS BRECHA 115                                                                  RIO BRAVO TM 88900
                                                                                                                                    MEXICO
VALEO RAYTHEON SYSTEMS INC          SCOTT PYLES                          3000 UNIVERSITY DRIVE                                                                ROSEVILLE             MI 48066
VALEO RAYTHEON SYSTEMS INC          VALEO STR 1                                                                                     WEMDING BY 86650
                                                                                                                                    GERMANY
VALEO SCHALTER UND SENSOREN GMBH    GUSTAV RAU STR 4                                                                                WEMDING 86650
                                                                                                                                    GERMANY
VALEO SCHALTER UND SENSOREN GMBH    LAIERNSTR. 12                                                                                   BIETIGHEIM‐BISS, BW
                                                                                                                                    74321 GERMANY
VALEO SCHALTER UND SENSOREN GMBH    VALEO STR 1                                                                                     WEMDING BY 86650
                                                                                                                                    GERMANY
VALEO SISTEMAS AUTO LTDA            RUI HOTTA                            DIVISAO ILUMINACAO               RUA RODRIGUES DE                                    HAGEN POSTFACH 2860   DE
                                                                                                          MEDEIROS 214
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
                                                                         Part 37 of 40 Pg 853 of 901
Name                                 Address1                             Address2                       Address3                    Address4                  City              State Zip
VALEO SISTEMAS AUTOMOTIVOS           PATRICK NADEAU                       C/O EXEL                       41775 ECORSE ROAD, SUITE    NUERNBERG BAYERN
                                                                                                         130                         GERMANY
VALEO SISTEMAS ELECT                 CARRETERA MEXICO PIEDRAS NEGRAS      KM 416 ‐ 3900                                              SANLUIS POSTOSI CP 78090
                                                                                                                                     MEXICO
VALEO SISTEMAS ELECTRICOS            CARRETERA MEXICO PIEDRAS NEGRAS                                                                 SANLUIS POSTOSI, CP 78090
                                                                                                                                     MEXICO
VALEO SISTEMAS ELECTRICOS SA DE CV   AV CIRCUITO MEXICO NO 160            PARQUE INDUSTRIAL 3 NACIONES   SAN LUIS POTOSI S L P 78398 MEXICO

VALEO SISTEMAS ELECTRICOS SA DE CV   ATTN: CORPORATE OFFICER/AUTHORIZED   AV CIRCUITO MEXICO NO 160      PARQUE INDUSTRIAL 3         SAN LUIS POTOSI S L P
                                     AGENT                                                               NACIONES                    78398, MEXICO
VALEO SISTEMAS ELECTRICOS SA DE CV   ATTN: CORPORATE OFFICER/AUTHORIZED   CARRETERA MEXICO PIEDRAS       KM 416 NO 3,900             SAN LUIS POTOSI SLP 789,
                                     AGENT                                NEGRAS                                                     MEXICO
VALEO SISTEMAS ELECTRICOS SA DE CV   CARRETERA MEXICO PIEDRAS NEGRAS      KM 416 NO 3,900                SAN LUIS POTOSI SLP 78090   MEXICO

VALEO SISTEMAS ELECTRICOS SA         FERNANDA BARRALES                    VALEO WIPER SYSTEMS            AV. CIRCUITO MEXICO #160    TOLUCA EM 52060 MEXICO
                                                                                                         PARQU
VALEO SISTEMAS ELECTRICOS SA D       ANTHONY MIKOY                        CARRETERA PIEDRAS NEGRAS KM    416‐3900 SOL ZONA           SAN LUIS POTOSI SL 78090
                                                                                                         INDUSTRIAL                  MEXICO
VALEO SISTEMAS ELECTRICOS SA D       CARRETERA PIEDRAS NEGRAS KM          416‐3900 SOL ZONA INDUSTRIAL                               SAN LUIS POTOSI SL 78090
                                                                                                                                     MEXICO
VALEO SISTEMAS ELECTRICOS SA DE C
VALEO SISTEMAS ELECTRICOS SA DE CV   2422 LEO AVE SW                                                                                                             CANTON          OH 44706‐2344
VALEO SISTEMAS ELECTRICOS SA DE CV   1667 EMERSON ST                                                                                                             ROCHESTER       NY 14606‐3119
VALEO SISTEMAS ELECTRICOS SA DE CV   CARRETERA MEXICO P NEGRAS KM         416 NO 3900                                                SLP SLP MEXICO 78090
                                                                                                                                     MEXICO
VALEO SISTEMAS ELECTRICOS SA DE CV   AV CIRCUIT MEXICO #160               PARQUE IND TRES NACIONES                                   SAN LUIS POTOSI CP 78395
                                                                                                                                     MEXICO
VALEO SISTEMAS ELECTRICOS SA DE CV   AV CIRCUITALY MEXICO #160            PARQUE IND TRES NACIONES                                   SAN LUIS POTOSI, CP 78395
                                                                                                                                     MEXICO
VALEO SISTEMAS ELECTRICOS SA DE CV   AV CIRCUITO MEXICO NO 160                                                                       SAN LUIS SL 78395 MEXICO
VALEO SISTEMAS ELECTRICOS SA DE CV   CARRETERA PIEDRAS NEGRAS KM          416‐3900 SOL ZONA INDUSTRIAL                               SAN LUIS POTOSI SL 78090
                                                                                                                                     MEXICO
VALEO SISTEMAS ELECTRICOS SA DE CV   MANZANA 4 LOTE 1                                                                                TOLUCA, MX 50200 MEXICO
VALEO SISTEMAS ELECTRICOS SA DE CV   MANZANA 4 LOTE 1 PARQUE INDUSTRIAL   TOLUCA ESTADO DE MEXICO 50200 MEXICO
                                     EXPORTEC II
VALEO SISTEMAS ELECTRICOS SA DE CV   ATTN: CORPORATE OFFICER/AUTHORIZED   MANZANA 4 LOTE 1 PARQUE                                    TOLUCA ESTADO DE
                                     AGENT                                INDUSTRIAL EXPORTEC II                                     MEXICO 50200 MEXICO
VALEO SPA‐DIVISIONE TRASMISSIONI     CORSO FRANCIA 4                                                                                 MONDOVI CN 12084 ITALY
VALEO SPA/MONDOVI                    FORSO FRANCIA 4 FRAZ ALTIPIANO                                                                  MONDOVI 12084 ITALY
VALEO SWITCH/AUBURN                  150 STEPHENSON HWY                                                                                                          TROY             MI 48083‐1116
VALEO SWITCHES & DETECTION SYS       CHRISTOPHER RALPH                    3101 W MILITARY HWY BLDG 2                                                             BUFFALO GROVE    IL
VALEO SWITCHES & DETECTION SYS       JAMES MC ALINDON                     172 AVE DU GENERAL LECLERC                                 REYNOSA TM 87600
                                                                                                                                     MEXICO
VALEO SWITCHES & DETECTION SYSTEMS   3000 UNIVERSITY DR                                                                                                          AUBURN HILLS     MI 48326‐2356

VALEO SWITCHES AND DETECTIONS        150 STEPHENSON HWY                                                                                                          TROY             MI 48083‐1116
SYSTEMS
VALEO SYLVANIA ILUMINACION           AV DE LA MONTANA NO 102 PARQUE       INDUSTRIAL QUERETARO           76220 DELEGACION SANTA      SANTA ROSA JALISCO 76220
                                                                                                         ROSA JA                     MEXICO
VALEO SYLVANIA ILUMINACION S DE RL   AVENDA DE LA MONTANA 102                                                                        QUERETARO QA 76220
                                                                                                                                     MEXICO
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                        Part 37 of 40 Pg 854 of 901
Name                                 Address1                        Address2                        Address3                    Address4                   City           State Zip
VALEO SYLVANIA ILUMINACION S DE RL   AVENDA DE LA MONTANA 102        PARQUE INDUSTRIAL                                           QUERETARO QA 76220
                                                                                                                                 MEXICO
VALEO SYLVANIA LLC                   1231 A AVE N                                                                                                           SEYMOUR        IN    47274‐3364
VALEO SYLVANIA LLC                   100 ENDICOTT STREET                                                                                                    DANVERS        MA    01923
VALEO SYLVANIA LLC ( $AD)            THU LE                          1231 A AVE N                                                                           SEYMOUR        IN    47274‐3364
VALEO SYLVANIA LLUMINACIONES         DENNIS JORGENSEN                S.DE R.L. DE C.V.               AV DE LA MONTANA 102                                   ALBEMARLE      NC    28001
VALEO SYLVANIA/LIVON                 1231 A AVE N                                                                                                           SEYMOUR        IN    47274‐3364
VALEO SYLVANIA/MEXIC                 AV DE LA MONTANA 102            PARQUE INDUSTRIAL QUERETARO                                 QUERETARO QU 76220
                                                                                                                                 MEXICO
VALEO SYLVANIA/SEYMO                  1231 A AVE N                                                                                                          SEYMOUR         IN   47274‐3364
VALEO SYSTEMAS ELECTRICOS SA DE CV AV PARQUE IND TRES NACIONES                                                                   SAN LUIS POTOSI CP 78395
CIRCUITO MEXICO #160                                                                                                             MEXICO
VALEO SYSTEMES ELECTRIQUES            JENS EIMER                     6 RUE FRANCOIS CEVERT BP71014                                                          HILLSIDE        IL   60162
VALEO SYSTEMES THERMIQUES             DIV TABLEAUX DE COMMANDE       2 AVENUE FERNAND POUILLON       94100 CRETEIL EFT REJ       FRANCE
                                                                                                     1/22/07
VALEO SYSTEMES THERMIQUES            GUY LUNZENFICHTER               16, AVENUE DES PRES                                         GUADALUPE NL 67190
                                                                                                                                 MEXICO
VALEO TERMICO SA DE CV               MANZANA 4 LOTE 1 APATARDO 130   PARQUE IND EXPORTEE II TOLUCA                               MEXICO CP 50200 MEXICO

VALEO TERMICO SA DE CV               PAUL VONJANKOWSKY               C/O HINJOSA FORWARDING          801 HALLMARK, EAST INDSTL                              CLINTON TWP     MI
                                                                                                     PARK
VALEO VISION                         3 L EPINETTE                                                                                HIRSON FR 02500 FRANCE
VALEO VISION                         34 RUE SAINT ANDRE                                                                          BOBIGNY FRANCE 93000
VALEO VISION LA ROQUE                BP 533 BOUT DUPONT DE LARN                                                                  MAZAMET F‐81205 FRANCE
VALEO WIPER SYSTEMS                  100 MERIDIAN CTR STE 120                                                                                               ROCHESTER       NY   14618‐3976
VALEO WIPER SYSTEMS                  5 ZANE GREY ST STE A                                                                                                   EL PASO         TX   79906‐5212
VALEO WIPER SYSTEMS                  150 STEPHENSON HWY                                                                                                     TROY            MI   48083‐1116
VALEO WIPER SYSTEMS & ELEC MTR       100 MERIDIAN CTR STE 120                                                                                               ROCHESTER       NY   14618‐3976
VALEO WIPER SYSTEMS & ELEC MTR       ANTHONY MIKOY                   ROCHESTER OPERATIONS            1555 LYELL AVENUE                                      BURTON          MI   48529
VALEO WIPER SYSTEMS & ELEC MTR       ANTHONY MIKOY                   100 MERIDIAN CTR                STE 120                                                ROCHESTER       NY   14618‐3976
VALEO WIPER SYSTEMS & ELECTRIC       3000 UNIVERSITY DR 3RD FLOOR                                                                                           AUBURN HILLS    MI   48326
MOTORS
VALEO WIPER SYSTEMS & ELECTRIC       3000 UNIVERSITY DR                                                                                                     AUBURN HILLS    MI 48326‐2356
MOTORS NAD2
VALEO WIPER/ROCHESTE                 150 STEPHENSON HWY                                                                                                     TROY            MI 48083‐1116
VALEO WISCHERSYSTEME GMBH            POSTSTRABLE 10                  74321 BIETIGHEIM BADEN‐                                     WURTTENBERG GERMANY
                                                                                                                                 GERMANY
VALEO WISCHERSYSTEME GMBH            POSTSTRABLE 10                                                                              BIETIGHEIM BISSINGEN BW
                                                                                                                                 74321 GERMANY
VALEO, INC ‐ GREENSBURG              DAVID ROWE                      VALEO CLIMATE CONTROL           1100 E. BARACHEL LANE       KAUNAS LITHUANIA
VALEO‐SYLVANIA LLC                   1231 A AVE N                                                                                                           SEYMOUR         IN   47274‐3364
VALEO‐SYLVANIA LLC                   ALICIA JONES                    1231 A AVE N                                                                           SEYMOUR         IN   47274‐3364
VALEO‐SYLVANIA LLC                   AVENDA DE LA MONTANA 102                                                                    QUERETARO QA 76220
                                                                                                                                 MEXICO
VALEO‐SYLVANIA LLC                   AVENDA DE LA MONTANA 102        PARQUE INDUSTRIAL                                           QUERETARO QA 76220
                                                                                                                                 MEXICO
VALEO‐SYLVANIA LLC                   DENNIS JORGENSEN                S.DE R.L. DE C.V.               AV DE LA MONTANA 102                                   ALBEMARLE       NC 28001
VALEO/ ROCHESTER                     150 STEPHENSON HWY                                                                                                     TROY            MI 48083‐1116
VALEO/ESTAPLES                       ROUTE DE MONTREUIL                                                                          ESTAPLES FR 62630 FRANCE
VALEO/FRANCE                         DIVISION FRANCE                 34 RUE SAINT ANDRE                                          FR FRANCE
VALEO/FT WORTH                       3100 EAGLE PKWY                                                                                                        FORT WORTH      TX   76177‐3100
VALEO/PHAR                           7801 S JACKSON RD               C/O PARKER AND CO.                                                                     PHARR           TX   78577‐6619
                                    09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                       Part 37 of 40 Pg 855 of 901
Name                                Address1                        Address2                Address3              Address4                 City              State Zip
VALEO/TOLUCA                        MANZANA 4 LOTE 1                                                              TOLUCA MX 50200 MEXICO
VALEO/WEMDING                       LAIERNSTR. 12                                                                 BIETIGHEIM‐BISS BW 74321
                                                                                                                  GERMANY
VALERA R RITTER TRUST DTD 9‐25‐92   ROBERT C RITTER CO‐TTEE         593 HI VIEW COURT                                                      MAYVILLE          WI 53050
VALERA, JULIA A                     4539 PRINCESS LABETH CT                                                                                JACKSONVILLE      FL 32258‐4199
VALERA, PAUL P                      4539 PRINCESS LABETH CT                                                                                JACKSONVILLE      FL 32258‐4199
VAL╚RE TORDEUR                      GROENEWEG 5                                                                   1750                     LENNIK               1750
VALERI CLAUDE A &                   MARY J VALERI                   1822 TONOPAH AVENUE                                                    PITTSBURGH        PA 15216
VALERI, ADRIAN A                    1774 KRISTINA DR                                                                                       WHITE LAKE        MI 48386‐1864
VALERI, DONALD L                    31421 ROSENBUSCH DR                                                                                    WARREN            MI 48088‐7340
VALERI, FRANK C                     7080 NOTTINGHAM                                                                                        WEST BLOOMFIELD   MI 48322‐2947
VALERI, MARGARET A                  2400 OREGON ST                                                                                         RACINE            WI 53405‐3405
VALERIA A FINLEY                    2113 KIPLING DR.                                                                                       DAYTON            OH 45406‐2606
VALERIA A HALL                      1663 BLOOMFIELD PLACE DR        APT 408B                                                               BLOOMFIELD        MI 48302‐0874
VALERIA A SKINNER                   89 CROWNPOINT MEADOWS                                                                                  CENTERVILLE       OH 45458‐4957
VALERIA A WILLIAMS                  1063 LORI ST                                                                                           YPSILANTI         MI 48198‐6267
VALERIA ANDREWS                     1439 S SHERIDAN RD                                                                                     LENNON            MI 48449‐9724
VALERIA BERRY                       4128 MCGUFFEY RD                                                                                       LOWELLVILLE       OH 44436‐9746
VALERIA BROWN                       173 BUTLER AVE                                                                                         BUFFALO           NY 14208‐1620
VALERIA BUBNACK                     130 PULASKI ST                                                                                         SYRACUSE          NY 13204‐1308
VALERIA CLOVER                      16925 MONTE VISTA ST                                                                                   DETROIT           MI 48221‐2897
VALERIA DETMER                      6405 NW BLAIR RD                                                                                       PARKVILLE         MO 64152‐2509
VALERIA GILBERT                     1103 OAK ST                                                                                            FLINT             MI 48503‐3635
VALERIA GOODWIN, PERSONAL           FOR ROBERT E GOODWIN            C/O BRAYTON PURCELL     222 RUSH LANDING RD                            NOVATO            CA 94948‐6169
REPRESENTATIVE
VALERIA GRIFFIN                     803 S LINK AVE                  C/O PATRICIA A TAYLOR                                                SPRINGFIELD         MO    65802‐3017
VALERIA HALL                        1663 BLOOMFIELD PLACE DR        APT 408B                                                             BLOOMFIELD          MI    48302‐0874
VALERIA HARRIS                      631 W RIVER RD N                                                                                     ELYRIA              OH    44035‐4913
VALERIA HEIGHT                      2011 GETTYSBURG LN                                                                                   COLUMBIA            TN    38401‐6816
VALERIA IANNUCCILLI                 VIA PIETRO CASTELLINO N.105                                                                          NAPOLI                    80128
VALERIA KUZAWA                      9911 FALCON DR                                                                                       RICHMOND            IL    60071‐9017
VALERIA LEE                         3721 PENBROOK LN APT 2                                                                               FLINT               MI    48507‐1492
VALERIA MCKENNA                     217 VERNON RD                                                                                        GREENVILLE          PA    16125‐8639
VALERIA MILLER                      47074 GLASTONBURY DR                                                                                 CANTON              MI    48188‐6241
VALERIA NASSER                      PO BOX 545                                                                                           CLIO                MI    48420‐0545
VALERIA R BERRY                     4128 MCGUFFEY RD.                                                                                    LOWELLVILLE         OH    44436‐9746
VALERIA SINGLETON                   307 RAINBOW CIR                 C/O DELIA S GILLILAND                                                CLEVELAND           GA    30528‐3266
VALERIA SKINNER                     89 CROWN POINT MDWS                                                                                  CENTERVILLE         OH    45458‐4957
VALERIA SZUBRYT                     303 LEEDS CT                                                                                         NAPERVILLE          IL    60565‐2448
VALERIA VORDERBURG                  4366 S WATERCREST DR                                                                                 TOLEDO              OH    43614‐3152
VALERIA WATSON                      231 W HAMILTON AVE                                                                                   FLINT               MI    48503‐1049
VALERIA WHITE                       PO BOX 5263                                                                                          ATHENS              GA    30604‐5263
VALERIA WOOLVERTON                  35800 E MICHIGAN AVE APT 805                                                                         WAYNE               MI    48184‐1647
VALERIAN KWAPIS                     3705 MANNION RD                                                                                      SAGINAW             MI    48603‐1649
VALERIAN NIKOLAI                    1315 TROUT DR                                                                                        SAGINAW             MI    48638‐5662
VALERIAN WIECLAW JR                 2843 JODY LN                                                                                         SHREVEPORT          LA    71118‐2517
VALERIANI, MARIO A                  2563 COLLIER RD                                                                                      MANASQUAN           NJ    08736‐2209
VALERIANI, THOMAS P                 847 SOUTH ST                                                                                         NILES               OH    44446‐3045
VALERIANO, VIRGINIA T               9228 CLAUDIA DR                                                                                      FORT WORTH          TX    76134‐5636
VALERIE A BELL                      74 WEST HIGH TERRACE                                                                                 ROCHESTER           NY    14619‐1833
VALERIE A BROWN                     271 DUPONT AVE                                                                                       TONAWANDA           NY    14150‐7816
VALERIE A FRAZIER                   123 GRIFFITH ST 2                                                                                    ROCHESTER           NY    14607
                                      09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
                                                                          Part 37 of 40 Pg 856 of 901
Name                                 Address1                           Address2                Address3                  Address4              City              State Zip
VALERIE A GATHERS                    1605 ACADEMY PL                                                                                            DAYTON             OH 45406
VALERIE A GOLUBIC                    P O BOX 108                                                                                                COOKSBURG          PA 16217
VALERIE A LEWIS                      158 BROOKLYN AVE                                                                                           DAYTON             OH 45417‐2237
VALERIE A MCCAFFERY                  6 WILDWOOD RD, APT 11                                                                                      HARTSDALE          NY 10530
VALERIE A MCCOWAN                    18 PALLISTER ST                                                                                            DETROIT            MI 48202‐2417
VALERIE A MOSS                       1615 PONTIAC ST                                                                                            FLINT              MI 48503‐5146
VALERIE A NOLES                      PO BOX 04535                                                                                               DETROIT            MI 48204‐0535
VALERIE A RICKMAN                    393 GOING ST                                                                                               PONTIAC            MI 48342‐3428
VALERIE AARON‐CASTILLO               3756 SEASONS DR                                                                                            ANTIOCH            TN 37013‐4980
VALERIE AGNER                        2204 HOLLYWOOD DR                                                                                          MONROE             MI 48162‐4120
VALERIE AWISZUS                      30244 HAYES RD                                                                                             ROSEVILLE          MI 48066‐4032
VALERIE B MOCKABEE                   911 FANNIE LOU HAMER DR                                                                                    RULEVILLE          MS 38771‐3719
VALERIE B PENCE                      RT=3 BOX 213 10427                 CABLELINE                                                               NEWTON FALLS       OH 44444‐9803
VALERIE BAILEY                       4272 HUNTERS CIR W                                                                                         CANTON             MI 48188‐2365
VALERIE BASSETT                      PO BOX 559                                                                                                 TOPINABEE          MI 49791‐0559
VALERIE BEAUDOEN                     2730 ENDSLEIGH DR                                                                                          BLOOMFIELD         MI 48301‐2675
VALERIE BELLE‐ISLE LAVERY            SUITE 4000                         1 PLACE VILLE MARIE                               MONTREAL QC H3B 4M4
VALERIE BETHUNE                      4239 KEDRON RD                                                                                             SPRING HILL       TN   37174‐2203
VALERIE BLYSKAL                      6675 POCKLINGTON RD                                                                                        BRITTON           MI   49229‐8701
VALERIE BOUGHTON                     5175 ESTELLA LN                                                                                            SHELBY TOWNSHIP   MI   48316‐4113
VALERIE BOWEN                        PO BOX 338                                                                                                 STATESVILLE       NC   28687‐0338
VALERIE BOYER                        8421 FOREST RD                                                                                             GASPORT           NY   14067‐9213
VALERIE BROOKS                       PO BOX 23756                                                                                               DETROIT           MI   48223‐0756
VALERIE C GREEN                      PO BOX 577                                                                                                 CORTLAND          OH   44410
VALERIE C OLIVER, INDIV & TOMEKA L   REP OF EST OF LARRY C OLIVER, SR   ATTN STEPHEN G LOWRY,   HARRIS PENN & LOWRY LLP   405 E PERRY STREET    SAVANNAH          GA   31401
OLIVER, EXECUTRIX/
VALERIE CALHOUN                      130 EATON RIDGE DR APT 104                                                                                 SAGAMORE HILLS    OH   44067‐1585
VALERIE CATCHINGS                    2615 UNIVERSITY BOULEVARD                                                                                  CLEVELAND         OH   44118‐4729
VALERIE CHANDLER                     2912 INDIAN LAKES RD                                                                                       CEDAR SPRINGS     MI   49319‐9192
VALERIE CHAPPELL                     12571 MCKEIGHAN RD                                                                                         SAINT CHARLES     MI   48655‐8616
VALERIE CHENTORYCKI                  8121 ROSEBURY AVE                                                                                          WOODRIDGE         IL   60517‐7737
VALERIE CHRISTIANSEN                 5839 WILLIAMS LAKE RD                                                                                      WATERFORD         MI   48329‐3277
VALERIE CLARK                        1308 JOUST CT                                                                                              ANTIOCH           TN   37013‐5500
VALERIE COLLINS                      906 SABLE CHASE BLVD                                                                                       MCDONOUGH         GA   30253
VALERIE COMAN                        550 S RACCOON RD APT 8                                                                                     YOUNGSTOWN        OH   44515‐3692
VALERIE COMPTON                      4085 SQUIRE LN                                                                                             FLUSHING          MI   48433‐3102
VALERIE COMPTON                      4085 SQUIRE HILL DR                                                                                        FLUSHING          MI   48433
VALERIE CORBA                        10091 N LINDEN RD                                                                                          CLIO              MI   48420‐8502
VALERIE CROSKEY                      449 DULTON DR                                                                                              TOLEDO            OH   43615‐5108
VALERIE D BORDEN                     311 RICHARDSON ST                                                                                          GADSDEN           AL   35903‐2543
VALERIE D BROWN                      809 N SHERMAN ST APT 3                                                                                     BAY CITY          MI   48708‐6069
VALERIE D FALER                      3544 KNOLLWOOD DR                                                                                          BEAVERCREEK       OH   45432
VALERIE D FORDHAM                    5602 WINTHROP BLVD                                                                                         FLINT             MI   48505‐5146
VALERIE D HUMMONS                    2412 ELSMERE AVENUE                                                                                        DAYTON            OH   45406
VALERIE D MILLS                      1213 LIPPINCOTT BLVD                                                                                       FLINT             MI   48503‐5849
VALERIE D SCRIVENS                   9305 EASTBROOK DR                                                                                          MIAMISBURG        OH   45342‐7863
VALERIE D SHELBY                     1345 SAM'S ROAD                                                                                            BROOKHAVEN        MS   39601‐4470
VALERIE D THOMAS                     2334 VAN DYKE ST                                                                                           DETROIT           MI   48214
VALERIE DE FILIPPIS                  13500 BELL RD                                                                                              CALEDONIA         WI   53108‐9754
VALERIE DEMPSEY                      8846 CARRIAGE HILL DR                                                                                      SHELBY TWP        MI   48317‐1412
VALERIE DENTEL                       2677 WOODLAWN DR                                                                                           ANDERSON          IN   46013‐9629
VALERIE DEVOOGD                      3617 COLONIAL AVE NE                                                                                       GRAND RAPIDS      MI   49525‐2209
                       09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                          Part 37 of 40 Pg 857 of 901
Name                  Address1                         Address2                     Address3   Address4         City                State Zip
VALERIE DODSON        140 CANTERBURY PARK DR                                                                    SAINT PETERS         MO 63376‐1289
VALERIE E BILBERRY    P O BOX 26241                                                                             TROTWOOD             OH 45426‐0241
VALERIE E BRIGGS      1711 MCARTHUR AVE. #8                                                                     DAYTON               OH 45418‐2663
VALERIE E PAGE        51 W TROTWOOD BLVD                                                                        TROTWOOD             OH 45426
VALERIE EADS          3403 S 350 W                                                                              KOKOMO               IN 46902‐9108
VALERIE ELLS          6047 PINCH HWY                                                                            POTTERVILLE          MI 48876‐9709
VALERIE ETHERINGTON   12581 ENSLEY DR                                                                           FISHERS              IN 46038‐1127
VALERIE EVANS         1349 COLUMBUS                                                                             ST. LOUIS            MO 63138
VALERIE EVANS         1349 COLUMBUS DR                                                                          SAINT LOUIS          MO 63138‐2611
VALERIE FATCHETT      400 ANCHOR LN                                                                             MICHIGAN CENTER      MI 49254‐3300
VALERIE FORDHAM       5602 WINTHROP BLVD                                                                        FLINT                MI 48505‐5416
VALERIE FRASIER       203 MCGREGOR ST                                                                           SAGINAW              MI 48602‐1221
VALERIE GABY          1741 DEPOT ST                                                                             DALTON               NY 14836‐9659
VALERIE GALLAWAY      292 SMITH ST APT 301                                                                      CLIO                 MI 48420‐2050
VALERIE GAWEL         21176 LOCHMOOR ST                                                                         HARPER WOODS         MI 48225‐1727
VALERIE GELBAUM       37 JEFFERSON AVE                                                                          HASBROUCK HEIGHTS    NJ 07604‐1209
VALERIE GILCHRIST     5390 STOUT RD                                                                             SAGINAW              MI 48604‐1122
VALERIE GILLMAN       1064 S 10TH ST                                                                            AU GRES              MI 48703
VALERIE GOLUBIC       PO BOX 108                                                                                COOKSBURG            PA 16217‐0108
VALERIE GREEN         514 SAPPHIRE LN                                                                           OCALA                FL 34472‐2347
VALERIE GUNTHER       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.          OH 44236
VALERIE GUVO          8854 W 89TH ST                                                                            HICKORY HILLS         IL 60457‐1203
VALERIE HAILEY        425 CHAPPELL RD NW APT H7                                                                 ATLANTA              GA 30318‐6538
VALERIE HARRIS        912 KING ST                                                                               MANSFIELD            OH 44903‐7124
VALERIE HARRIS        20516 GRANDVILLE AVE                                                                      DETROIT              MI 48219‐1450
VALERIE HARRISON      3206 JUDSON RD                                                                            KOKOMO               IN 46901‐1772
VALERIE HENDERSON     109 W HARVEST DR                                                                          NEW CASTLE           DE 19720‐5607
VALERIE HENNESSY      3657 FERDINAND RD                                                                         YOUNGSTOWN           OH 44511‐2645
VALERIE HILL          21000 RAMPART CIR APT 238                                                                 SOUTHFIELD           MI 48033‐3844
VALERIE HIMICK        3704 PENINSULAR SHORES DR                                                                 GRAWN                MI 49637‐9720
VALERIE HOWARD        15602 GLENDALE AVE                                                                        CLEVELAND            OH 44128‐1217
VALERIE HYATT         16730 JERRY RD                                                                            LANSING              MI 48906‐2253
VALERIE J BOYER       8421 FOREST RD                                                                            GASPORT              NY 14067‐9213
VALERIE J FOLEY       5075 SCARSDALE DR                                                                         KETTERING            OH 45440‐‐ 24
VALERIE J TOBON       216 W FIR ST APT C                                                                        BREA                 CA 92821‐6411
VALERIE J WARFIELD    4718 WASHINGTON AVE                                                                       LORAIN               OH 44052‐5718
VALERIE J WEGNER      152 LAVERNE LN                                                                            AKRON                OH 44312‐4072
VALERIE JACKSON       6218 SOMMERSET RD                                                                         LANSING              MI 48911‐5677
VALERIE JACOBS        1415 W 112TH ST                                                                           LOS ANGELES          CA 90047‐4926
VALERIE JAMES         3329 S 12TH ST                                                                            MILWAUKEE            WI 53215‐5005
VALERIE JENDRAL       834 CORNERS CT                                                                            LAKE ORION           MI 48362‐3320
VALERIE JEWEL         325 ROYAL PALM PARK RD                                                                    FORT MYERS           FL 33905‐3015
VALERIE JOHNSON       6099 HARWOOD RD                                                                           MOUNT MORRIS         MI 48458‐2772
VALERIE JONES         1121 RIVER FOREST DR                                                                      FLINT                MI 48532‐2806
VALERIE JOSEPH        1002 WEBB RD                                                                              MINERAL RIDGE        OH 44440‐9326
VALERIE K CROFT       7863 ST RT 726                                                                            ELDORADO             OH 45321‐9704
VALERIE K JOSEPH      1002 WEST WEBB ROAD                                                                       MINERAL RIDGE        OH 44440‐9326
VALERIE K MCMILLER    888 PALLISTER ST APT 411                                                                  DETROIT              MI 48202‐2671
VALERIE KILLION       930 WALNUT                                                                                NEW BAVARIA          OH 43548
VALERIE KNODEL        1404 WARREN ROAD                                                                          NEWTON FALLS         OH 44444
VALERIE KROTKIEWICZ   18065 ASH AVE                                                                             EASTPOINTE           MI 48021‐2721
VALERIE L BENGE       6639 GREENBUSH ROAD                                                                       SOMMERVILLE          OH 45064‐9672
                                   09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                    Part 37 of 40 Pg 858 of 901
Name                               Address1                           Address2              Address3     Address4         City              State Zip
VALERIE L CORBA                    10091 N LINDEN RD                                                                      CLIO               MI 48420‐8502
VALERIE L KNIGHT                   500 LEX‐SPRINGMILL APT 100                                                             MANSFIELD          OH 44906‐1254
VALERIE L KNODEL                   1404 WARREN ROAD                                                                       NEWTON FALLS       OH 44444‐9751
VALERIE L LOVE                     P.O. BOX 802                                                                           SUMMIT             MS 39666
VALERIE L MOORE                    3618 CAMELOT RD                                                                        DAYTON             OH 45426
VALERIE L PALMER                   2156 UTLEY RD                                                                          FLINT              MI 48532‐4836
VALERIE L RIDER                    3955 STRT 55                                                                           URBANA             OH 43078
VALERIE L TISOTO                   7434 LOHMEYER AVE                                                                      SAINT LOUIS        MO 63143‐2108
VALERIE L WATSON                   1212 KALONE WAY                                                                        LEXINGTON          KY 40515‐5433
VALERIE LESLIE                     6813 COLONIAL DR                                                                       FLINT              MI 48505‐1964
VALERIE LIGGINS                    APT 1                              173 WESTERN PARKWAY                                 IRVINGTON          NJ 07111‐2694
VALERIE LIGHTCAP                   C/O ROBERT W PHILLIPS              707 BERKSHIRE BLVD    PO BOX 521                    EAST ALTON          IL 62024
VALERIE LIMON                      2429 GIRARD ST                                                                         WARREN             MI 48092‐1858
VALERIE LOVE                       9038 BRADWAY BLVD                                                                      GRAND BLANC        MI 48439‐8084
VALERIE LUSSIER                    1667 BROWN CITY RD                                                                     IMLAY CITY         MI 48444‐9426
VALERIE M BROWN                    810 DANNER AVE                                                                         DAYTON             OH 45408
VALERIE M CARUSO                   33 TYLER TRL                                                                           HILTON             NY 14468
VALERIE M DURMISEVICH              1509 ROCHINGHAM DR                                                                     ROCHESTER HILLS    MI 48309
VALERIE M HICKMAN                  93 SEWARD ST APT 708                                                                   DETROIT            MI 48202‐2434
VALERIE M RUIZ                     409 SAGINAW ST                                                                         SAGINAW            MI 48602‐1433
VALERIE M. HANNA, ESQ, TRW, INC.   1900 RICHMOND ROAD                                                                     CLEVELAND          OH 44124
VALERIE MABENE                     947 MARGAUX TRL                                                                        THE VILLAGES       FL 32162‐4534
VALERIE MANGHAM                    120 W TAYLOR ST                                                                        FLINT              MI 48505‐4022
VALERIE MANNERS                    1865 N HIGLEY RD APT 1017                                                              MESA               AZ 85205‐3325
VALERIE MARSHALL                   5768 TUCKER RD                                                                         EATON RAPIDS       MI 48827‐9727
VALERIE MARYMAN                    18984 BIRCHCREST DR                                                                    DETROIT            MI 48221‐2227
VALERIE MAUZY                      435 FRANCISCA AVE                                                                      YOUNGSTOWN         OH 44504‐1415
VALERIE MC CAFFERY                 6 WILDWOOD RD APT 11                                                                   HARTSDALE          NY 10530
VALERIE MCGEE                      813 W PATERSON ST                                                                      FLINT              MI 48504‐7243
VALERIE MEEKS                      1820 DREXEL RD                                                                         LANSING            MI 48915‐1212
VALERIE MICKLES                    4116 POMPTON CT                                                                        DAYTON             OH 45405
VALERIE MILLER                     14 STEVE MILLER DR                                                                     WAYNESBORO         MS 39367‐8002
VALERIE MILLS                      1213 LIPPINCOTT BLVD                                                                   FLINT              MI 48503‐5849
VALERIE MOORE                      5332 SEVILLE CIR                                                                       LA PALMA           CA 90623‐1101
VALERIE MOSLEY                     165 AMHERST MOBILE HOMES                                                               AMHERST            OH 44001‐2833
VALERIE MOSS                       1615 PONTIAC ST                                                                        FLINT              MI 48503‐5146
VALERIE NAVA                       659 FAIRLEDGE ST                                                                       LAKE ORION         MI 48362‐2609
VALERIE NEVELS                     6757 OAK RD                                                                            VASSAR             MI 48768‐9115
VALERIE NOLES                      PO BOX 04535                                                                           DETROIT            MI 48204‐0535
VALERIE P BAILEY                   PO BOX 11                                                                              COLLINSVILLE       AL 35961‐0011
VALERIE P BARDWIL                  321 NORTH AVE E APT 128                                                                CRANFORD           NJ 07016‐2462
VALERIE P HAMPTON                  2010 CHADWICK DR APT 211                                                               JACKSON            MS 39204
VALERIE PAGE                       51 W TROTWOOD BLVD                                                                     TROTWOOD           OH 45426‐3351
VALERIE PALMER                     2156 UTLEY RD                                                                          FLINT              MI 48532‐4836
VALERIE PLUMMER                    1703 CROSS CREEK LN                                                                    DEFIANCE           OH 43512‐3678
VALERIE PLYLER                     1918 YOUNGSTOWN KINGSVILLE RD NE                                                       VIENNA             OH 44473‐9728
VALERIE PORTER                     4101 COLTER DR                                                                         KOKOMO             IN 46902‐4493
VALERIE PRITCHARD                  17160 WARRIOR DR                                                                       HOWARD CITY        MI 49329‐9161
VALERIE PUTKO                      1161 WILL O WOOD DR                                                                    HUBBARD            OH 44425‐3337
VALERIE R CARPENTER                311 MARATHON AVE APT 4                                                                 DAYTON             OH 45406‐4840
VALERIE R CROSKEY                  449 DULTON DR                                                                          TOLEDO             OH 43615‐5108
VALERIE R GREEN                    514 SAPPHIRE LN                                                                        OCALA              FL 34472‐2347
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                               Part 37 of 40 Pg 859 of 901
Name                         Address1                       Address2            Address3         Address4              City               State Zip
VALERIE RABIEGO              7425 W ARTHUR AVE                                                                         WEST ALLIS          WI 53219‐2464
VALERIE REED                 312 N LANE ST                                                                             BLISSFIELD          MI 49228‐1124
VALERIE REED                 1764 CLAYBROOK PARK CIR                                                                   BRENTWOOD           TN 37027‐8083
VALERIE REISS (BROADWATER)   5115 PLAINFIELD AVENUE                                                                    BALTIMORE           MD 21206
VALERIE RICHARDSON           6368 BREWER RD                                                                            FLINT               MI 48507‐4604
VALERIE RICKMAN              393 GOING ST                                                                              PONTIAC             MI 48342‐3428
VALERIE RIPPE                2700 W RICHMAR AVE UNIT 154                                                               LAS VEGAS           NV 89123‐6436
VALERIE ROBINSON             245 EAST BELVIDERE AVENUE                                                                 FLINT               MI 48503‐4109
VALERIE RODRIGUEZ            225 LAMB ST                                                                               PERRY               MI 48872‐8520
VALERIE S HAUGHT             10 CENTRE ST                                                                              DAYTON              OH 45403
VALERIE S HELCO              3130 WILDWOOD DR                                                                          MC DONALD           OH 44437
VALERIE S LOMBARDO           198 DUPONT AVE                                                                            TONAWANDA           NY 14150‐7859
VALERIE S WOLTER             1300 CENTER AVE APT 102                                                                   BAY CITY            MI 48708‐6177
VALERIE SAFLOVER             2940 MCCORMICK AVE APT 316                                                                BROOKFIELD           IL 60513‐1067
VALERIE SAID                 39754 DUN ROVIN DR                                                                        NORTHVILLE          MI 48168‐3478
VALERIE SALSGIVER            1004 BRAUFT ST                                                                            ELIZABETH           PA 15037
VALERIE SANDLIN              5044 HERTON DR                                                                            JACKSONVILLE        FL 32258‐3407
VALERIE SAX                  C/O HOEF‐RUEDIGES SAX          BOISSEREESTR 3                       50674 KOLN, GERMANY
VALERIE SCHUSTER             6587 COLONIAL ST                                                                          DEARBORN HEIGHTS   MI   48127‐2110
VALERIE SHARP                15 SNUG HARBOR CT                                                                         ROCHESTER          NY   14612‐4952
VALERIE SMITH                6135 SWAN LAKE DRIVE                                                                      ROMULUS            MI   48174‐6311
VALERIE SMITH                33127 MELTON STREET                                                                       WESTLAND           MI   48186‐4820
VALERIE SMITH                298 WOODY LN                                                                              ASHEVILLE          NC   28804‐1043
VALERIE SOROKA               2312 CASTLELOCH CT                                                                        HIGH POINT         NC   27265‐9450
VALERIE SPENCER              5655 E OUTER DR                                                                           DETROIT            MI   48234‐3778
VALERIE STANBURY             2152 CHALET DR                                                                            ROCHESTER HLS      MI   48309‐2103
VALERIE STEIN                8720 GREENWAY AVE S                                                                       COTTAGE GROVE      MN   55016‐2770
VALERIE SWIGER               909 SYMPHONY CIR SW                                                                       VIENNA             VA   22180‐5960
VALERIE SZWAJDA              128 RAYMOND AVE                                                                           BUFFALO            NY   14227‐1311
VALERIE TIGGS BARTON         18928 BURT RD                                                                             DETROIT            MI   48219‐2443
VALERIE TIMS                 4369 KESTREL LN                                                                           BURTON             MI   48519‐1907
VALERIE TIPTON               1713 WOLCOTT ST                                                                           FLINT              MI   48504‐3455
VALERIE TISOTO               7434 LOHMEYER AVE                                                                         SAINT LOUIS        MO   63143‐2108
VALERIE TRANCIK              1023 E 4TH ST                                                                             ROYAL OAK          MI   48067‐2872
VALERIE TRISSELL             3588 MILLIKIN RD                                                                          HAMILTON           OH   45011‐2256
VALERIE VANCONETT            1533 KINGFISHER CIR                                                                       ALGER              MI   48610‐8601
VALERIE VULLO MD LLC         207 COMMERCE DR                                                                           AMHERST            NY   14228‐2302
VALERIE WARFIELD             4718 WASHINGTON AVE                                                                       LORAIN             OH   44052‐5718
VALERIE WATSON               1212 KALONE WAY                                                                           LEXINGTON          KY   40515‐5433
VALERIE WEATHERFORD          839 SIMCOE AVE                                                                            FLINT              MI   48507‐1680
VALERIE WEAVER               6201 ALEXANDER CIR NORTHEAST                                                              ATLANTA            GA   30326‐1284
VALERIE WEGNER               152 LAVERNE LN                                                                            AKRON              OH   44312‐4072
VALERIE WHITE                580 BROOKVIEW CT APT 104                                                                  AUBURN HILLS       MI   48326‐4508
VALERIE WHITE                76 QUAIL LN                                                                               ROCHESTER          NY   14624‐1064
VALERIE WILLIAMS             4406 N JENNINGS RD                                                                        FLINT              MI   48504‐1312
VALERIE WILSON               2021 VAN BUSKIRK RD                                                                       ANDERSON           IN   46011‐1038
VALERIE WILSON               3285 CREEKSIDE DR SE                                                                      CONYERS            GA   30094‐3362
VALERIE WILSON               2722 CONCORD ST                                                                           FLINT              MI   48504‐7366
VALERIE WOLFROM              10307 ROUND UP PL SW                                                                      ALBUQUERQUE        NM   87121‐8591
VALERIE WRIGHT               12733 BROADSTREET AVE                                                                     DETROIT            MI   48238‐3226
VALERIE WYNTER‐GIBBS         101‐125 WEST 147 STREET        APT. 12K                                                   NEW YORK CITY      NY   10039
VALERIE YOUNG                PO BOX 584                                                                                MILLINGTON         MI   48746‐0584
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                     Part 37 of 40 Pg 860 of 901
Name                              Address1                        Address2                Address3     Address4         City            State Zip
VALERIE ZACHRICH                  2126 WESTFIELD ST                                                                     GRAND PRAIRIE    TX 75050‐1755
VALERIE ZELKO                     926 E SUNNYBROOK DR                                                                   ROYAL OAK        MI 48073‐2789
VALERIE, RICHARD J                18437 COUNTY ROAD Y                                                                   HOLGATE          OH 43527‐9511
VALERIE, RICHARD JOSEPH           18437 COUNTY ROAD Y                                                                   HOLGATE          OH 43527‐9511
VALERINO, VINCENZA                2163 GRANDVIEW AVE                                                                    MONROEVILLE      PA 15146‐4207
VALERIO GUZMAN                    6612 BERYL DR                                                                         ARLINGTON        TX 76002‐5466
VALERIO NIETO JR                  13224 LAKE SHORE DR                                                                   FENTON           MI 48430‐1020
VALERIO PALOMBO                   14572 FOUR LAKES DR                                                                   STERLING HTS     MI 48313‐2351
VALERIO, A THOMAS                 3370 FRANKLIN AVE                                                                     HUBBARD          OH 44425‐2330
VALERIO, ANTHONY T                3370 FRANKLIN AVE                                                                     HUBBARD          OH 44425‐2330
VALERIO, BRANDON K                3370 FRANKLIN AVE                                                                     HUBBARD          OH 44425‐2330
VALERIO, DANIEL D                 91 MELROSE ST                                                                         BRISTOL          CT 06010‐6135
VALERIO, DAVID
VALERIO, DAVID W                  10884 DIXIE HWY                                                                       BIRCH RUN       MI   48415‐8519
VALERIO, DOMINGO C                504 HARVARD ST                                                                        BAY CITY        MI   48708‐4422
VALERIO, DUANE M                  9601 PORTAGE LAKE AVE                                                                 PINCKNEY        MI   48169‐9448
VALERIO, GENE M                   420 RIDGEWAY AVE                                                                      ROCHESTER       NY   14615‐3902
VALERIO, JEFFREY H                4808 FREEMAN ROAD                                                                     EATON RAPIDS    MI   48827‐8024
VALERIO, MARK L                   33 WEST PUTNAM AVENUE                                                                 GREENWICH       CT   06830
VALERIO, MARY H                   4685 BLACKMORE RD                                                                     LESLIE          MI   49251‐9727
VALERIO, MICHAEL V                61 ORCHARD HILL RD                                                                    KATONAH         NY   10536‐3023
VALERIO, MICHELLE L               60 PINEHURST AVE                                                                      DAYTON          OH   45405‐3025
VALERIO, PAUL C                   3036 RIDGEMORE AVE                                                                    KETTERING       OH   45429‐3828
VALERIO, PAULA                    504 HARVARD ST                                                                        BAY CITY        MI   48708‐4422
VALERIO, RALPH J                  672 CHAPEL LN                                                                         CAMPBELL        OH   44405‐2006
VALERIO,MICHELLE L                60 PINEHURST AVE                                                                      DAYTON          OH   45405‐3025
VALERIO,PAUL C                    3036 RIDGEMORE AVE                                                                    KETTERING       OH   45429‐3828
VALERIOS/SAGINAW                  9670 GRATIOT RD                                                                       SAGINAW         MI   48609‐9624
VALERIUS I I, CHARLES D           2041 BEAUFAIT DR                                                                      GROSSE POINTE   MI   48236‐1641
VALERIUS II, CHARLES D            2041 BEAUFAIT DR                                                                      GROSSE POINTE   MI   48236‐1641
VALERIY BODROV                    PO BOX 35                                                                             WARREN          MI   48090‐0035
VALERO ENERGY CORP                600 N LOOP 1604 E                                                                     SAN ANTONIO     TX   78232‐1268
VALERO ENERGY CORPORATION         RANDELL BURWELL                 6000 N LOOP 1604 W                                    SAN ANTONIO     TX   78249‐1100
VALERO, AMADOR                    4506 STARR AVE                                                                        LANSING         MI   48910‐5017
VALERO, HECTOR E                  7408 QUAIL POINT LN                                                                   ARLINGTON       TX   76002‐3487
VALERO, HECTOR EDUARDO            7408 QUAIL POINT LN                                                                   ARLINGTON       TX   76002‐3487
VALERUS                           919 MILAM                                                                             HOUSTON         TX   77002
VALERUS COMPRESSION SERVICES L    919 MILAM ST STE 1000                                                                 HOUSTON         TX   77002‐5386
VALERUS COMPRESSION SERVICES LP   919 MILAM ST STE 1000                                                                 HOUSTON         TX   77002‐5386
VALERUS COMPRESSION SERVICES LP   JIM NICHOLSON                   919 MILAM ST STE 1000                                 HOUSTON         TX   77002‐5386
VALERY B GILMORE                  675 DELAWARE ST                                                                       DETROIT         MI   48202‐2425
VALERY BRODNAN                    827 AUBURN HILLS DR UNIT B                                                            BOARDMAN        OH   44512‐7718
VALERY FARLEY IRA                 FCC AS CUSTODIAN                524 OAK RIDGE DR.                                     HARTLAND        WI   53029
VALERY LOUIS
VALERY, JOHN D                    4332 RIDGE RD                                                                         LOCKPORT        NY   14094‐9718
VALERY, MARGARET J                461 VINE ST                                                                           LOCKPORT        NY   14094‐2468
VALERY, RONALD E                  PO BOX 7414                                                                           DAYTONA BEACH   FL   32116‐7414
VALES PATRICIA ANN                C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                   LITTLE ROCK     AR   77201
VALES, PATRICIA ANN               MOODY EDWARD O                  801 W 4TH ST                                          LITTLE ROCK     AR   72201‐2107
VALESANO, BRENT J                 2480 MAPLE ST                                                                         DES PLAINES     IL   60018‐3994
VALESANO, DOREEN M                313 PIERSON RD                                                                        LITITZ          PA   17543‐8604
VALESCIA M STRICKLAND             50 HALIFAX DR                                                                         VANDALIA        OH   45377‐2953
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                     Part 37 of 40 Pg 861 of 901
Name                              Address1                        Address2                         Address3   Address4                City               State Zip
VALESKA BOWMAN                    4462 LEWISBURG WESTERN RD                                                                           LEWISBURG           OH 45338‐9557
VALESKA C BOWMAN                  4462 LEWISBURG WESTERN RD                                                                           LEWISBURG           OH 45338‐9557
VALESKA VESPERMANN                ROBERTSTR. 8                                                                30161 HANNOVER
                                                                                                              GERMANY
VALESKA VESPERMANN                ROBERTSTR 8                                                                 30161 HANNOVER
                                                                                                              GERMANY
VALESKI VALERIE                   VALESKI, VALERIE                205 LEGION RD                                                       BLOOMSBURG         PA   17815‐9622
VALESKI, VALERIE                  205 LEGION RD                                                                                       BLOOMSBURG         PA   17815‐9622
VALESKO, BOB A                    271 N SALEM WARREN RD                                                                               NORTH JACKSON      OH   44451‐9601
VALESKO, GEORGE E                 44260 UPPER CLEARFORK RD                                                                            CADIZ              OH   43907‐9429
VALESKY, DOLORES S                12050 BRADLEY DRIVE                                                                                 NO HUNTINGDON      PA   15642‐2304
VALESKY, MARGARET L               628 PENN HIGH PARK ROAD                                                                             JEANNETTE          PA   15644‐2964
VALESKY, TERRYL J                 1795 YORK ST                                                                                        NORTH BLOOMFIELD   OH   44450‐9794
VALESTIN, ALAN J                  PO BOX 355                                                                                          SWEETSER           IN   46987‐0355
VALESTIN, LYNDA S                 PO BOX 355                      628 WES WAY                                                         SWEETSER           IN   46987‐0355
VALESTIN, ROBERT J                PO BOX 897                                                                                          MAYER              AZ   86333‐0897
VALET PRINCE                      1001 E HEMPHILL RD                                                                                  FLINT              MI   48507‐2834
VALETHA MITCHELL                  811 LIDO                                                                                            ROCHESTER HLS      MI   48307‐6805
VALETTA ALBERTI                   14120 W 47TH TER                                                                                    SHAWNEE            KS   66216‐1148
VALETTA CALDER                    709 TICKNER ST                  C/O DEBORAH K GRINDSTAFF                                            LINDEN             MI   48451‐8917
VALEVICH, ALLEN P                 1701 FRICK RD                                                                                       LEONARD            MI   48367‐3185
VALEVICH, MARY C                  1701 FRICK RD                                                                                       LEONARD            MI   48367‐3185
VALEY, PATRICIA
VALGAS, PAUL W                    784 MARLOW PL                                                                                       MANSFIELD          OH   44906‐3038
VALGAS, RONALD D                  933 STATE ROUTE 314 N                                                                               MANSFIELD          OH   44903‐8044
VALGENE ARMS                      633 VISTA DEL SOL                                                                                   LAPEER             MI   48446‐9105
VALGENE GULLETT                   2030 TOWNLINE ROAD 12                                                                               WILLARD            OH   44890‐9565
VALGENE JONES                     FOSTER & SEAR, LLP              817 GREENVIEW DRIVE                                                 GRAND PRAIRIE      TX   75050
VALGENE MAKER                     PO BOX 210                                                                                          SILVER SPGS        NY   14550‐0210
VALGENE SMITH                     6913 COLONIAL DR                                                                                    FLINT              MI   48505‐1993
VALHALLA SCIENTIFIC               8318 MIRAMAR MALL                                                                                   SAN DIEGO          CA   92121‐2520
VALI FARAHANI                     6685 FULTON CT                                                                                      TROY               MI   48098‐1767
VALI, BARBARA                     15 ROBBY DRIVE                                                                                      OAKHURST           NJ   07755
VALI, MIKLOS                      59811 WALLOWA LAKE HWY                                                                              JOSEPH             OR   97846‐8233
VALI, MIKLOS Z                    2651 CR 4725                                                                                        COFFEYVILLE        KS   67337‐7943
VALIANT CLEANING TECHNOLOGY       1511 E 14 MILE RD               FRMLY VALIANT ELAN SYSTEMS INC                                      TROY               MI   48083‐4621

VALIANT CLEANING TECHNOLOGY INC   9355 ANCHOR DR                                                              WINDSOR CANADA ON N8N
                                                                                                              5A8 CANADA
VALIANT CORP                      9355 ANCHOR DR                                                              WINDSOR ON N8N 5A8
                                                                                                              CANADA
VALIANT CORP                      1511 EAST 14 MILE RD                                                                                TROY               MI   48083‐4621
VALIANT IND/WARREN                6525 CENTER DR                                                                                      STERLING HTS       MI   48312‐2600
VALIANT INDUSTRIES INC            6525 CENTER DR                                                                                      STERLING HEIGHTS   MI   48312‐2600
VALIANT INTERNATIONAL INC         1511 E 14 MILE RD                                                                                   TROY               MI   48083‐4621
VALIANT INTERNATIONAL INC         VALIANT MACHINE & TOOL INC      1511 E 14 MILE RD                                                   TROY               MI   48083‐4621
VALIANT JR, OLIVER                PO BOX 2582                                                                                         FLORISSANT         MO   63032‐2582
VALIANT JR, OLIVER                10124 ELBA LN                                                                                       SAINT LOUIS        MO   63137‐2915
VALIANT MACH/HAWTHRN              MOLD DIVISION                   6775 HAWTHORNE DRIVE                        WINDSOR ON N8T 3B8
                                                                                                              CANADA
VALIANT MACH/TECUMSE              7470 TECUMSEH ROAD E.                                                       WINDSOR ON N8T 1E9
                                                                                                              CANADA
                                       09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                           Part 37 of 40 Pg 862 of 901
Name                                  Address1                             Address2            Address3           Address4             City               State Zip
VALIANT MACH/TROY                     1511 E 14 MILE RD                                                                                TROY                MI 48083‐4621
VALIANT MACHINE & TOOL INC            9355 ANCHOR DR                                                              WINDSOR ON N8N 5A8
                                                                                                                  CANADA
VALIANT TOOL & MOLD INC               6775 HAWTHORNE                       WINDSOR             ON N8T3B8 CANADA
VALIANT TOOL & MOLD INC               ATTN: CORPORATE OFFICER/AUTHORIZED   6775 HAWTHORNE                         WINDSOR ON N8T3B8
                                      AGENT                                                                       CANADA
VALIANT TOOL & MOLD INC. ‐ DIVISION   ATTN: CORPORATE OFFICER/AUTHORIZED   2895 KEW DRIVE                         WINDSOR ON N8T3B7
GLOBAL I. E. M.                       AGENT                                                                       CANADA
VALIANT TOOL & MOLD INC. ‐ DIVISION   2895 KEW DRIVE                       WINDSOR             ON N8T3B7 CANADA
GLOBAL I. E. M.
VALIC, LYNN E                         2209 CLEVELAND AVE                                                                               NIAGARA FALLS      NY   14305‐3021
VALICENTI, ANTHONY G                  921 E 8TH ST                                                                                     MONROE             MI   48161‐1109
VALICENTI, ANTHONY GEORL              921 E 8TH ST                                                                                     MONROE             MI   48161‐1109
VALICEVIC, JAMES R                    77702 FOXRIDGE LN                                                                                BRUCE TWP          MI   48065‐1805
VALICEVIC, JUDITH L                   77702 FOXRIDGE LN                                                                                BRUCE TWP          MI   48065‐1805
VALICIA D CLARK                       1942 RUGBY RD                                                                                    DAYTON             OH   45406
VALIDYNE ENGINEERING SALES CORP       8626 WILBUR AVE                                                                                  NORTHRIDGE         CA   91324
VALIE SNELL                           6819 CRANWOOD DR                                                                                 FLINT              MI   48505‐1956
VALIK, CLARA G                        3370 TRACY DR                                                                                    STERLING HEIGHTS   MI   48310‐2572
VALIK, CLARA G                        3370 TRACY                                                                                       STERLING HEIGHTS   MI   48310‐2572
VALIK, TONY                           9606 CREEK VIEW CT                                                                               DAVISON            MI   48423‐3501
VALIMONT JR, WILLIAM E                9449 WHITEFORD RD                                                                                OTTAWA LAKE        MI   49267‐9739
VALIMONT, KEVIN D                     1501 EAGLE TRAIL                                                                                 OXFORD             MI   48371‐6063
VALIN HARLOW                          8815 KNAPP RD                                                                                    HOUGHTON LAKE      MI   48629‐8842
VALIN, CAMILLA G                      3781 SAGE CT                                                                                     N TONAWANDA        NY   14120‐3603
VALIN, RALPH M                        25 MELVIN J CT                                                                                   OXFORD             MI   48371‐5193
VALIN, ROBERT E                       9364 OAKMONT DR                                                                                  CLARKSTON          MI   48348‐3573
VALIN, VERNON A                       312 SCHOOL ST                                                                                    KENMORE            NY   14217‐1100
VALIN, WILLIAM J                      3781 SAGE CT                                                                                     N TONAWANDA        NY   14120‐1317
VALINA LITTLE                         1952 BAILEY AVE                                                                                  BUFFALO            NY   14211‐2444
VALINA RANSOM                         15216 FAIRMOUNT DR                                                                               DETROIT            MI   48205‐1321
VALINDA BASCOMB                       7119 JACKSON ST                                                                                  TAYLOR             MI   48180‐2649
VALINDA L PATTON‐WILLIAMS             4087 ROCHDALE DR                                                                                 FLINT              MI   48504‐1131
VALINDA PATTON‐WILLIAMS               4087 ROCHDALE DR                                                                                 FLINT              MI   48504‐1131
VALINDA THOMPSON                      13973 MARK TWAIN ST                                                                              DETROIT            MI   48227‐2834
VALINSKI, ANDREW T                    4212 ELIZABETH AVE                                                                               CANTON             MI   48188‐7225
VALINSKY, MELISSA J                   2925 S SCHENLEY AVE                                                                              YOUNGSTOWN         OH   44511‐2103
VALIR OUTPATIENT CLI                  PO BOX 25887                                                                                     OKLAHOMA CITY      OK   73125‐0887
VALISKA MICHAEL                       VALISKA, MICHAEL                     30 E BUTLER AVE                                             AMBLER             PA   19002‐4514
VALISKI, ROBERT J                     5636 RIDGE RD                                                                                    CORTLAND           OH   44410‐9785
VALISYS/SANTA CLARA                   2050 MARTIN AVE                                                                                  SANTA CLARA        CA   95050‐2702
VALITA MCCOIN                         342 WREXHAM LN APT 101                                                                           MAUMEE             OH   43537‐4503
VALITA WHITTAKER                      23830 EDINBURGH ST                                                                               SOUTHFIELD         MI   48033‐4891
VALITUTTI, RALPH                      6621 MONTICELLO N                                                                                WASHINGTON         MI   48095‐2454
VALIUKAS, VYTAS R                     239 SIBLEY RD                                                                                    HONEOYE FALLS      NY   14472‐9307
VALIUS, ALFONSO                       4 MINK CT                                                                                        WHITING            NJ   08759‐3616
VALIYI, MEHRAN N                      529 FLETCHER AVE                                                                                 INDIANAPOLIS       IN   46203‐1033
VALKA, JUANITA I                      100 KIMBERLY DR                                                                                  COLUMBIA           TN   38401‐6902
VALKANOFF, CHRIS                      3051 NORTH COURSE DRIVE              BLDG 40 CONDO 809                                           POMPANO BEACH      FL   33069
VALKEN, CHRISTOPHER                   45582 THORN TREE LN                                                                              MACOMB             MI   48044‐5777
VALKENBURG, ERMA V                    602 COAL ST EV                                                                                   OSCEOLA MILLS      PA   16666
VALKO, DIXIE R                        620 TRINWAY DR                                                                                   TROY               MI   48085‐3122
                               09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                   Part 37 of 40 Pg 863 of 901
Name                           Address1                         Address2            Address3         Address4         City               State Zip
VALKO, FRED L                  PO BOX 130724                                                                          BIG BEAR LAKE       CA 92315‐8976
VALKO, MICHAEL J               620 TRINWAY DR                                                                         TROY                MI 48085‐3122
VALKO, RICHARD S               1303 WOODNOLL DR                                                                       FLINT               MI 48507‐4717
VALKOUN, ALAN R                171 WALNUT CV                                                                          DAWSONVILLE         GA 30534‐6993
VALKS, BARBARA                 221 W YPSILANTI                                                                        PONTIAC             MI 48340‐1878
VALKYRIE C DOUCET              420 CHANDLER ST                                                                        DETROIT             MI 48202‐2829
VALKYRIE DOUCET                420 CHANDLER ST                                                                        DETROIT             MI 48202‐2829
VALKYRIE K KNUDSON             255 WHITE PINES DR                                                                     ALPHARETTA          GA 30004‐5684
VALKYRIE KNUDSON               255 WHITE PINES DR                                                                     ALPHARETTA          GA 30004‐5684
VALLA, VICTORIA                14040 MERRIMAN RD                                                                      LIVONIA             MI 48154‐4261
VALLAD JR, WILLIAM A           201 E ELM ST                                                                           HARTFORD CITY       IN 47348‐1725
VALLAD, ALLAN Q                317 FAIRLAND AVE                                                                       MIO                 MI 48647‐9623
VALLAD, ANTHONY                1836 WOLF LN                                                                           NATIONAL CITY       MI 48748‐9539
VALLAD, ARLENE E               3270 AUTEN RD                                                                          ORTONVILLE          MI 48462‐8859
VALLAD, DAVID E                6480 WILSON DR                                                                         WATERFORD           MI 48329‐3175
VALLAD, DENNIS J               8684 SUNSET COVE DR                                                                    CLARKSTON           MI 48348‐2444
VALLAD, DENNIS R               5893 DWIGHT AVE                                                                        WATERFORD           MI 48327‐1328
VALLAD, DONALD L               841 E MURPHY LAKE RD                                                                   MAYVILLE            MI 48744‐9336
VALLAD, GERALD M               3970 N LAKE SHORE DR                                                                   BLACK RIVER         MI 48721‐9750
VALLAD, GREG G                 3873 ELLISON RD                                                                        STANDISH            MI 48658‐9115
VALLAD, HAZEL A                3270 AUTEN RD                                                                          ORTONVILLE          MI 48462
VALLAD, HELEN O                4935 HADLEY RD                                                                         GOODRICH            MI 48438‐9653
VALLAD, KATHLEEN L             4866 NORTH RD BOX 346C                                                                 STANDISH            MI 48658‐9796
VALLAD, MARIE C                9151 LUEA LN                                                                           SWARTZ CREEK        MI 48473‐1076
VALLAD, RICHARD J              4645 MORGAN DR                                                                         COLUMBIAVILLE       MI 48421‐9624
VALLAD, SANDRA M               944 ROBINS RD                                                                          LANSING             MI 48917‐2090
VALLADARES, CHESTER H          8549 CRANFORD AVE                                                                      SUN VALLEY          CA 91352‐2909
VALLADON, ROBERT F             1941 DAYTON AVE                                                                        SAN LEANDRO         CA 94579‐1548
VALLAIRE JR, WILLIAM G         2987 LA QUESTA                                                                         PRESCOTT            AZ 86305‐6429
VALLAIRE, CHRISTINE J          3321 WAVERLY POINTE                                                                    HOLLAND             MI 49424‐9352
VALLAIRE, EMMA                 1113 LAURIE LN                                                                         DAVISON             MI 48423‐2881
VALLAIRE, LORENE D             7478 LAWRENCE ST                                                                       GRAND BLANC         MI 48439‐9366
VALLAIRE, WILFRED A            7478 LAWRENCE ST                                                                       GRAND BLANC         MI 48439‐9366
VALLANCE, ALAN
VALLANCE, DALE J               102 CHESTNUT CIR E                                                                     DAVISON            MI   48423‐9183
VALLANCE, DAVID L              1827 WALNUT ST                                                                         ANDERSON           IN   46016‐2034
VALLANCE, GERALD               6399 LESOURDSVILLE W CHE RD                                                            HAMILTON           OH   45011
VALLANCE, JAMES C              23530 CANFIELD AVE                                                                     FARMINGTON HILLS   MI   48336‐2822
VALLANCE, JEFFREY L            8360 CARLISLE HWY                                                                      VERMONTVILLE       MI   49096‐9526
VALLANCE, KAREN B              8360 CARLISLE HWY                                                                      VERMONTVILLE       MI   49096‐9526
VALLANCE, LAWRENCE R           7181 BLANKENSHIP CIR                                                                   DAVISON            MI   48423‐2341
VALLANCE, NORVAL H             618 HEBRON ST                                                                          SAINT LOUIS        MI   48880‐1603
VALLANCE, PATRICIA E           39865 GREENVIEW PLACE            APT# 6                                                PLYMOUTH           MI   48170
VALLANCE, PATRICIA E           39865 GREENVIEW PL APT 6                                                               PLYMOUTH           MI   48170‐4571
VALLANCE, ROBERT L             POST OFFICE BOX NO 195                                                                 HARRISON           MI   48625‐9179
VALLANCE, ROBERT L             PO BOX NO                                                                              HARRISON           MI   48625
VALLANCE, VERNON J             153 ERIE STATION RD                                                                    WEST HENRIETTA     NY   14586‐9648
VALLANDINGHAM, DONALD J        309 BROAD ST                                                                           SWEDESBORO         NJ   08085‐1005
VALLANDINGHAM, DONALD JOSEPH   309 BROAD ST                                                                           SWEDESBORO         NJ   08085‐1005
VALLAR, JAMES I                616 FLORENCE ST                                                                        KALAMAZOO          MI   49007‐2457
VALLARIE D GRISSOM             12800 ROBSON ST                                                                        DETROIT            MI   48227‐2519
VALLARIE DILLON                1400 ZILLOCK RD                  BOX N32                                               SAN BENITO         TX   78586
                                 09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                                     Part 37 of 40 Pg 864 of 901
Name                             Address1                         Address2                     Address3                  Address4         City               State Zip
VALLARIE GRISSOM                 12800 ROBSON ST                                                                                          DETROIT             MI 48227‐2519
VALLARINO JULIA                  DBA DALTON LAW FIRM              111 PARK WEST DR                                                        SCOTT               LA 70583‐8902
VALLAS JR, PAUL                  1785 CHERRY LN                                                                                           HUBBARD             OH 44425‐3014
VALLATORE ANTONIO                924 N SERRANO AVE                                                                                        LOS ANGELES         CA 90029‐3206
VALLAVBHAI AND SAVITABEN PATEL   INVERNESS COUNSEL, INC           C/O HENRY P RENARD           845 THIRD AVE 8TH FLOOR                    NEW YORK            NY 10022
FOUNDATION, INC
VALLE JOSEPH                     VALLE, JOSEPH                    GUTMAN HOWARD A LAW OFFICE   230 ROUTE 206 SUITE 307                    FLANDERS            NJ   07836
                                                                  OF
VALLE JR, VICENTE                3695 GRAFTON ST                                                                                          ORION              MI    48359‐1541
VALLE JR, VINCENT A              26 MCGUIRE RD                                                                                            ROCHESTER          NY    14616‐2327
VALLE, ALESSANDRO                34 OLIVIA DR                                                                                             ROCHESTER          NY    14626
VALLE, ALTA E                    GENERAL DELIVERY                 PO BOX 99                                                               RICHWOODS          MO    63071‐9999
VALLE, ANTONIO S                 103 W WHITE ST                                                                                           BAY CITY           MI    48706‐4560
VALLE, BEATRIZ G                 5962 WILLOWBROOK                                                                                         SAGINAW            MI    48603
VALLE, DERBY V                   APT 12‐A MANS GDEN HILLS                                                                                 GUAYNABO           PR    00966
VALLE, ESPERANZA IGNACIO         OLEARY DANIEL M LAW OFFICE OF    523 W 6TH ST STE 215                                                    LOS ANGELES        CA    90014‐1240
VALLE, ESPERANZA IGNACIO         KICK LAW FIRM                    660 S FIGUEROA ST STE 1800                                              LOS ANGELES        CA    90017‐3439
VALLE, ESTRELLA                  1016 DAVENPORT                                                                                           SAGINAW            MI    48602‐5622
VALLE, JOHN J                    2908 FOX DEN DR                                                                                          MONROE             NC    28110‐6991
VALLE, JOSEPH                    GUTMAN HOWARD A LAW OFFICE OF    230 ROUTE 206,SUITE 307                                                 FLANDERS           NJ    07836
VALLE, JOSEPH                    GUTMAN HOWARD A LAW OFFICE OF    230 US HIGHWAY 206 STE 307                                              FLANDERS           NJ    07836‐9119
VALLE, JOSEPH A                  4972 NW 66TH AVE                                                                                         LAUDERHILL         FL    33319
VALLE, LEONEL                    11008 CLEVELAND AVE                                                                                      KANSAS CITY        KS    66109‐3608
VALLE, LINDA                     6241 FARGO AVE                                                                                           BROWNSVILLE        TX    78521‐6506
VALLE, LUIS M                    1929 SPARROWHAWK ST                                                                                      MANTECA            CA    95337‐7914
VALLE, MANUELA                   11654 RINCON AVE                                                                                         SYLMAR             CA    91342‐5455
VALLE, MELISSA M                 2253 MANITOU RD                                                                                          ROCHESTER          NY    14606‐3213
VALLE, NINA                      1700 BIG SUR DR APT 604                                                                                  ARLINGTON          TX    76006‐5578
VALLE, RAUL S                    825 INDIAN BRIDGE LN                                                                                     DEFIANCE           OH    43512‐1942
VALLE, REYMUNDO                  251 RUTH ANN DR                                                                                          DEFIANCE           OH    43512‐1467
VALLE, ROBERT                    300 N. HARRISON BOX 302                                                                                  SHERWOOD           OH    43556
VALLE, ROLANDO A                 320 SOUTH BOARDWAY               R1                                                                      TARRYTOWN          NY    10591
VALLE, ROLANDO M                 PO BOX 482                                                                                               TARRYTOWN          NY    10591‐0482
VALLE, ROLDOLFO G                852 GONZALES ST                                                                                          ROBSTOWN           TX    78380‐2522
VALLE, THOMAS R                  3320 DENNING LN                                                                                          SPRING HILL        TN    37174‐5102
VALLE, WAYNE R                   19515 DARTMOUTH PL                                                                                       NORTHVILLE         MI    48167‐2512
VALLE, WILFREDO                  170 BRANCH BROOK DRIVE                                                                                   BELLEVILLE         NJ    07109‐3600
VALLECILLO ORLANDO               1117 BURWICK DR                                                                                          HERNDON            VA    20170‐3437
VALLECOCCIA, ANGELO              13677 ASCOT DR                                                                                           STERLING HEIGHTS   MI    48312‐4108
VALLEE, DIANE T                  5289 SONORA STREET                                                                                       SIERRA VISTA       AZ    85635‐8278
VALLEE, MARTIN                   1412 BROOKWOOD AVE                                                                                       FLINT              MI    48503‐2751
VALLEJO, ERNESTO S               4452 RANDOLF                                                                                             SAGINAW            MI    48601
VALLEJO, EZEGUIEL                10514 SAN LUIS AVE                                                                                       SOUTH GATE         CA    90280‐6630
VALLEJO, HEIDI L                 320 RAISIN ST                                                                                            DEERFIELD          MI    49238‐9706
VALLEJO, HILDELISA               257 COACHLIGHT SQ                                                                                        MONTROSE           NY    10548‐1256
VALLEJO, JOSE                    13542 BLODGETT AVE                                                                                       DOWNEY             CA    90242‐5205
VALLEJO, MANUEL                  3408 NEWARK RD                                                                                           ATTICA             MI    48412‐9635
VALLEJO, OVIDIA                  211 BALTIMORE ST                                                                                         PLAINVIEW          TX    79072‐8425
VALLEJO, PEDRO                   PO BOX 1184                                                                                              SAN LORENZO        PR    00754‐1184
VALLEJO, RODOLFO E               1546 RIDGEWOOD ROAD                                                                                      PLEASANTON         CA    94566‐6058
VALLEJO, ROGER                   850 W PERRY ST                                                                                           PAULDING           OH    45879‐1366
                                      09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                         Part 37 of 40 Pg 865 of 901
Name                                  Address1                        Address2                      Address3           Address4         City             State Zip
VALLEJOS ALBERT (494284)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510
                                                                      STREET, SUITE 600
VALLEJOS, ALBERT                      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA 23510‐2212
                                                                      STREET, SUITE 600
VALLEJOS, ALBERTO
VALLEJOS, CINDY A                     403 LOOKOUT DR                                                                                    COLUMBIA         TN   38401‐6146
VALLEJOS, JULIA                       6229 ESKEW DR                                                                                     COLUMBIA         TN   38401‐5455
VALLEJOS, MICHAEL C                   403 LOOKOUT DR                                                                                    COLUMBIA         TN   38401‐6146
VALLELUNGA, DEBORAH L                 708 E MAPLE AVE                                                                                   ADRIAN           MI   49221‐2338
VALLEM, JAMES H                       2837 RENFREW ST                                                                                   ANN ARBOR        MI   48105‐1451
VALLEN CORP
VALLEN SAFETY                         2916 WALDEN AVE STE 250                                                                           DEPEW            NY   14043‐2610
VALLEN SAFETY CENTERS                 PO BOX 581                                                                                        STREAMWOOD       IL   60107‐0581
VALLEN SAFETY SUPPLY CO               VALLEN SHERIDAN SAFETY DIV      PO BOX 3587EEWAY              13333 NW FREEWAY                    HOUSTON          TX   77040
VALLEN/MURFRSBO                       2223 N.W. BROAD ST.                                                                               MURFREESBORO     TN   37129
VALLER, GARY R                        5696 N 400 E                                                                                      GREENFIELD       IN   46140‐8324
VALLERIE TRANSPORTATION SERVICE INC   PO BOX 880                                                                                        NORWALK          CT   06852‐0880

VALLEROY, RONALD L                    5156 HIGHWAY T                                                                                    PERRYVILLE       MO   63775‐9568
VALLERY ALVIN R                       VALLERY, ALVIN R                16195 STATE BANK DR STE 400                                       PRAIRIEVILLE     LA   70769‐3580
VALLERY CHEVROLET INC.                501 W EMMITT AVE                                                                                  WAVERLY          OH   45690‐1011
VALLERY CHEVROLET INC.                ANDREW VALLERY                  501 W EMMITT AVE                                                  WAVERLY          OH   45690‐1011
VALLERY JOHNSON                       21400 DIX TOLEDO HWY APT 132                                                                      BROWNSTOWN TWP   MI   48183‐1364
VALLERY, ALVIN R                      ALLEMAN PHILLIP LUCIUS          16195 STATE BANK DR STE 400                                       PRAIRIEVILLE     LA   70769‐3580
VALLERY, MELBA J                      6465 TRANQUIL DR                                                                                  OLIVE BRANCH     MS   38654‐6964
VALLES JOHN                           6718 HUNT DR                                                                                      CRP CHRISTI      TX   78413‐4521
VALLES SERGIO                         883 MELROSE ST                                                                                    PONTIAC          MI   48340‐3126
VALLES, AMANDA J                      309 ELMSHAVEN DRIVE                                                                               LANSING          MI   48917‐3547
VALLES, APOLONIO S                    2418 FAIRMOUNT ST                                                                                 LOS ANGELES      CA   90033‐2502
VALLES, BENJAMIN                      309 ELMSHAVEN DR                                                                                  LANSING          MI   48917‐3547
VALLES, DELIA G                       2731 ARLINGTON RD                                                                                 LANSING          MI   48906‐3713
VALLES, JOSE M                        1307 CHERRY HILL CT                                                                               MANSFIELD        TX   76063‐2601
VALLES, JULIO A                       5926 WOODFIELD PKWY                                                                               GRAND BLANC      MI   48439‐9465
VALLES, LILLIAN L                     217 HOWELL ST                                                                                     PROVIDENCE       RI   02906‐1646
VALLES, MARIA C                       113 OVERBROOK DR                                                                                  FLUSHING         MI   48433‐1935
VALLES, RAMON S                       333 CLELA AVE                                                                                     LOS ANGELES      CA   90022‐1913
VALLES, YVAN P                        811 SW 72ND AVE                                                                                   PEMBROKE PINES   FL   33023‐1660
VALLESE, COLLEEN G                    4200 LAKE AVE                                                                                     LOCKPORT         NY   14094
VALLET, MICHAEL A                     LOT 62 MERRY LN                                                                                   MOUNT MORRIS     MI   48458
VALLETT ALICIA                        GREG BUICK PONTIAC CADILLAC     PO BOX 8610                                                       SAINT JOSEPH     MO   64508‐8610
VALLETT ALICIA                        VALLETT, ALICIA                 14911 KELLY DRIVE                                                 SMITHVILLE       MO   64089
VALLETT ANITA                         1101 SAFETY HARBOR CV                                                                             OLD HICKORY      TN   37138‐1998
VALLETT, JOSEPH T                     44 ADAMSDALE AVE                                                                                  ATTLEBORO        MA   02703‐7502
VALLETTA ANTHONY (636960)             BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                       WILMINGTON       DE   19899‐2165
VALLETTA, ANGELO D                    3133 LAKE PINE WAY APT B1                                                                         TARPON SPRINGS   FL   34688
VALLETTA, ANGELO D                    APT B1                          3133 LAKE PINE WAY                                                TARPON SPGS      FL   34688‐6522
VALLETTE, TIMOTHY M                   989 N PLEASANT VALLEY RD                                                                          MILFORD          MI   48380‐1239
VALLEY ANESTH CONSUL                  PO BOX 33219                                                                                      PHOENIX          AZ   85067‐3219
VALLEY AUTO                           70 W MAIN ST                                                                                      FORT KENT        ME   04743‐1233
VALLEY AUTO ALIGNMENT AND REPAIR      412 11TH AVE N                                                                                    NAMPA            ID   83687‐3441
VALLEY AUTO CENTER                    502 N STATE ST                                                                                    UKIAH            CA   95482‐4025
VALLEY AUTO CENTER                                                    502 N STATE ST                                                    UKIAH            CA   95482
                                       09-50026-mg                 Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                              Part 37 of 40 Pg 866 of 901
Name                                  Address1                             Address2                 Address3    Address4                  City              State Zip
VALLEY AUTO REPAIR                    UNIT #1 ‐ 5438 ‐ 176TH ST.                                                SURREY BC V3S 4C3
                                                                                                                CANADA
VALLEY AUTO RETAILERS LTD             4220 W EXPRESSWAY 83                                                                                MCALLEN            TX   78501‐3033
VALLEY AUTO RETAILERS, LTD.           ATTN: SHELBY LONGORIA                401 DALLAS AVE                                                 MCALLEN            TX   78501‐2777
VALLEY AUTO SALES & LEASING, LLC      HENRY MAYFOHRT                       1300 COUNTRY CLUB DR                                           MADERA             CA   93638‐1573
VALLEY AUTO SERVICE                   1497 US HIGHWAY 29                                                                                  WEST POINT         GA   31833‐1773
VALLEY AUTO SERVICE LTD.              12 AMARANTH ST. W. BOX 413                                                GRAND VALLEY ON L0N 1G0
                                                                                                                CANADA
VALLEY AUTO/MDSN HTS                  32051 DEQUINDRE ROAD                                                                                MADISON HEIGHTS   MI    48071
VALLEY AUTOMOTIVE                     55 LOS PADRES WAY UNIT B                                                                            BUELLTON          CA    93427
VALLEY AUTOMOTIVE                     438 S MAIN ST                                                                                       SPILLVILLE        IA    52168
VALLEY AUTOMOTIVE                     397 E ALBANY ST                                                                                     HERKIMER          NY    13350‐2031
VALLEY CADILLAC                       2743‐45 FRANKLIN RD SW                                                                              ROANOKE           VA    24014
VALLEY CADILLAC BUICK PONTIAC GMC T   2400 RIVERSIDE DR                                                                                   MOUNT VERNON      WA    98273‐5422

VALLEY CADILLAC BUICK PONTIAC GMC   2400 RIVERSIDE DR                                                                                     MOUNT VERNON      WA 98273‐5422
TRUCK
VALLEY CADILLAC BUICK PONTIAC GMC   RAGNAR PETTERSSON                      2400 RIVERSIDE DR                                              MOUNT VERNON      WA 98273‐5422
TRUCK, INC.
VALLEY CADILLAC OLDSMOBILE INC
VALLEY CADILLAC, INC.               KAREN O'DELL                           2743‐45 FRANKLIN RD SW                                         ROANOKE            VA   24014
VALLEY CADILLAC, INC.               2743‐45 FRANKLIN ROAD, S.W.                                                                           ROANOKE            VA   24014
VALLEY CARDIOLOGY PC                4884 BERL DR                                                                                          SAGINAW            MI   48604‐2802
VALLEY CHEV PONT OLDS/STATE OF IN   180 FLETCHER AVE                                                                                      SPENCER            IN   47460‐1522
VALLEY CHEVROLET PONTIAC OLDSMOBILE 180 FLETCHER AVE                                                                                      SPENCER            IN   47460‐1522

VALLEY CHEVROLET PONTIAC OLDSMOBILE, 180 FLETCHER AVE                                                                                     SPENCER            IN   47460‐1522
INC.
VALLEY CHEVROLET PONTIAC OLDSMOBILE, THOMAS MARTIN                         180 FLETCHER AVE                                               SPENCER            IN   47460‐1522
INC.
VALLEY CHEVROLET, INC.               KENNETH WALLACE                       601 KIDDER ST                                                  WILKES BARRE      PA    18702‐6908
VALLEY CHEVROLET, INC.               601 KIDDER ST                                                                                        WILKES BARRE      PA    18702‐6908
VALLEY CHEVROLET, LLC                HENRY PHILLIPS                        60 E PADONIA RD                                                TIMONIUM          MD    21093‐2300
VALLEY CITY REFUSE DISPOSAL INC      1040 MARKET AVE SW                                                                                   GRAND RAPIDS      MI    49503‐4836
VALLEY CITY SIGN                     5009 W RIVER DR NE                                                                                   COMSTOCK PARK     MI    49321‐8526
VALLEY CITY SIGN CO                  5009 W RIVER DR NE                                                                                   COMSTOCK PARK     MI    49321‐8961
VALLEY CITY STEEL CO                 MIKE MOLINSKY                         5580 WEGMAN DR                                                 VALLEY CITY       OH    44280‐9321
VALLEY COLLECTION SERVICE            PO BOX 520                                                                                           GLENDALE          AZ    85311‐0520
VALLEY CONCRETE                                                            601 S 15TH ST                                                  SPARKS            NV    89431
VALLEY COUNTY TREASURER              501 COURT SQ STE 3                                                                                   GLASGOW           MT    59230‐2405
VALLEY CRAFT INC                     2001 S HIGHWAY 61                                                                                    LAKE CITY         MN    55041‐9555
VALLEY CRANE & RIGGING INC           77 TINKLING SPRING ROAD                                                                              FISHERSVILLE      VA    22939
VALLEY CREST LANDSCAPE               505 TIDWELL DR                                                                                       ALPHARETTA        GA    30004‐5642
VALLEY CREST LANDSCAPE               NORTH HAVEN GARDENS                                                                                  DALLAS            TX    75230
VALLEY CREST LANDSCAPE               4689 OLD WINTER GARDEN RD                                                                            ORLANDO           FL    32811‐1737
VALLEY CREST LANDSCP                 2926 E ILLINI ST                                                                                     PHOENIX           AZ    85040‐8623
VALLEY CREST LANDSCP                 7039 COMMERCE CIR STE A                                                                              PLEASANTON        CA    94588‐8006
VALLEY CREST LANDSCP                 8484 MIRAMAR PL                                                                                      SAN DIEGO         CA    92121‐2528
VALLEY CREST LANDSCP                 8888 MOTSENBOCKER RD                                                                                 PARKER            CO    80134
VALLEY CREST LANDSCP                 12087‐10 NORTH LOPEZ                                                                                 SAN FERNANDO      CA    91342
VALLEY CREST TREE CO                 13745 SAYRE ST                                                                                       SYLMAR            CA    91342‐3108
VALLEY CREST TREE CO                 12087‐40 NORTH LOPEZ                                                                                 SAN FERNANDO      CA    91342
                                     09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                      Part 37 of 40 Pg 867 of 901
Name                                 Address1                             Address2                       Address3          Address4            City            State Zip
VALLEY ELECTRICAL CONSOLIDATED       977 TIBBETTS WICK RD                                                                                      GIRARD           OH 44420‐1133
VALLEY ENG SALES & SERVICE CO. LTD   3                                                                                     ROSEAU DOMINICA
VALLEY ENT/UBLY                      2147 LEPPEK RD                                                                                            UBLY            MI   48475‐9790
VALLEY ENTERPRISES                   DAVID FABRY X203                     PO BOX                                                               CAIRO           GA   31728
VALLEY ENTERPRISES INC               BRIAN LEONARD X205                   2147 LEPPEK RD                                                       UBLY            MI   48475‐9790
VALLEY ENTERPRISES INC               BRIAN LEONARD X205                   2147 LEPPEK ROAD                                                     BOWLING GREEN   OH   43402
VALLEY ENTERPRISES INC               2147 LEPPEK RD                                                                                            UBLY            MI   48475‐9790
VALLEY ENTERPRISES, INC              2147 LEPPEK                                                                                               UBLY            MI   48475
VALLEY ENTERPRISES, INC              ATTN: CORPORATE OFFICER/AUTHORIZED   2147 LEPPEK RD                                                       UBLY            MI   48475‐9790
                                     AGENT
VALLEY EXPOSITION SERVICE INC        ATTN A/C RECEIVABLE                  4950 AMERICAN RD                                                     ROCKFORD        IL   61109‐2646
VALLEY EYE CARE                      ATTN: BARB VANDENBELT                900 CENTER AVE                                                       BAY CITY        MI   48708‐6189
VALLEY EYE CONSULTANTS               ATTN: SANDY TAGESON                  1335 S LINDEN RD # E                                                 FLINT           MI   48532‐3420
VALLEY FORG/SOUTHFLD                 21455 MELROSE AVE STE 13                                                                                  SOUTHFIELD      MI   48075‐7980
VALLEY FORGE BICYCLE CLUB            DAVE KAPETANSKY                      5790 HWY 85 SUITE 3011                                               RIVERDALE       GA   30274‐1458
VALLEY FORGE CHRISTIAN COLLEGE       STUDENT ACCOUNTS                     1401 CHARLESTOWN RD                                                  PHOENIXVILLE    PA   19460‐2373
VALLEY FORGE/MALVERN                 40 LLOYD AVE.                                                                                             MALVERN         PA   19355
VALLEY FREIGHT LINES INC             PO BOX 2267                                                                                               NEW CASTLE      PA   16102
VALLEY GEAR & MACHINE INC            514 CHICKORY ST                                                                                           BAD AXE         MI   48413‐1550
VALLEY GROUP INC.                                                         3610 78TH AVE W                                                      ROCK ISLAND     IL   61201
VALLEY HAROLD GRANT (404126)         GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA   23510
                                                                          STREET, SUITE 600
VALLEY HUMMER                        3100 WINTON RD S                                                                                          ROCHESTER       NY   14623‐2966
VALLEY IND/LODI                      1313 S STOCKTON ST                                                                                        LODI            CA   95240‐5942
VALLEY INDUSTRIAL PRODUCTS INC       ATTN: FRANK BATESON                  2 JOHNSON CT                                                         BAY CITY        MI   48708‐5483
VALLEY INDUSTRIES                    ATTN: CORPORATE OFFICER/AUTHORIZED   2147 LEPPEK RD                                                       UBLY            MI   48475‐9790
                                     AGENT
VALLEY INDUSTRIES                    2147 LEPPEK                                                                                               UBLY            MI 48475
VALLEY INDUSTRIES                    JAY MURDOCK                          AUTOMOTIVE PRODUCTS DIVISION   32501 DEQUINDRE                       CHESTERFIELD    MI 48051

VALLEY INSTITUTE OF PROST            1524 21ST ST                                                                                              BAKERSFIELD     CA 93301‐4002
VALLEY INTERNAL MEDI                 PO BOX 5838                                                                                               DECATUR         AL 35601‐0838
VALLEY JIM H (429974)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA 23510
                                                                          STREET, SUITE 600
VALLEY JR, JOSEPH V                  191 W RIO DR                                                                                              CASA GRANDE     AZ 85222‐4969
VALLEY JR, ROY H                     1224 DAVIS STREET                                                                                         YPSILANTI       MI 48198‐5910
VALLEY LANDSCAPING INC                                                    12900 N LOWER SACRAMENTO RD                                          LODI            CA 95242

VALLEY MILLER                        1180 HAYWOOD RD APT 116                                                                                   GREENVILLE      SC   29615‐2204
VALLEY MOTOR CENTER AUTOBODY         14954 OXNARD ST                                                                                           VAN NUYS        CA   91411‐2610
VALLEY MOTOR SALES, INC.             207 PLEASANT ST                                                                                           BETHEL          VT   05032‐9762
VALLEY MOTOR SALES, INC.             GARY WOOD                            207 PLEASANT ST                                                      BETHEL          VT   05032‐9762
VALLEY NATIONAL GASES INC            PO BOX 6378                          WEBER WELDING SUPPLY CO                                              WHEELING        WV   26003‐0615
VALLEY NATIONALEASE                  2626 S RAILROAD AVE                                                                                       FRESNO          CA   93725‐1925
VALLEY OF THE SUN ME                 9917 E BELL RD STE 130                                                                                    SCOTTSDALE      AZ   85260‐2398
VALLEY OF THE SUN UNITED WAY         PO BOX 10748                                                                                              PHOENIX         AZ   85064‐0748
VALLEY OFFICE SOLUTIONS              8534 SOUTH AVE                                                                                            YOUNGSTOWN      OH   44514‐3620
VALLEY OFFICE SOLUTIONS              ATTN: CORPORATE OFFICER/AUTHORIZED   8534 SOUTH AVE                                                       YOUNGSTOWN      OH   44514‐3620
                                     AGENT
VALLEY ORTHOPEDICS PLLC              1870 AMHERST ST STE 3A                                                                                    WINCHESTER      VA 22601‐2841
VALLEY PAINTING INC                  2421 1/2 BRANCH ROAD                                                                                      FLINT           MI 48506
VALLEY PAUL MILLER                   BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS      OH 44236
                                       09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                         Part 37 of 40 Pg 868 of 901
Name                                   Address1                       Address2                       Address3   Address4         City             State Zip
VALLEY PONTIAC BUICK & GMC TRUCK       12257 POINT DOUGLAS DR S                                                                  HASTINGS          MN 55033‐9481
VALLEY PONTIAC‐BUICK‐GMC INC           3104 AUBURN WAY N                                                                         AUBURN            WA 98002‐1808
VALLEY PONTIAC‐BUICK‐GMC TRUCK         12257 POINT DOUGLAS DR S                                                                  HASTINGS          MN 55033‐9481
VALLEY PONTIAC‐BUICK‐GMC TRUCK, INC    3104 AUBURN WAY N                                                                         AUBURN            WA 98002‐1808

VALLEY PONTIAC‐BUICK‐GMC TRUCK, INC.   3104 AUBURN WAY N                                                                         AUBURN           WA 98002‐1808

VALLEY PONTIAC‐BUICK‐GMC TRUCK, INC.   RONALD CLAUDON                 3104 AUBURN WAY N                                          AUBURN           WA 98002‐1808

VALLEY PROTEINS INC                    PO BOX 643393                                                                             CINCINNATI       OH   45264‐3393
VALLEY REPAIR INC.                     2505 16TH AVE S                                                                           MOORHEAD         MN   56560‐3807
VALLEY RHEUMATOLOGY                    4701 TOWNE CENTRE RD STE 101                                                              SAGINAW          MI   48604‐2800
VALLEY RIVER OFFICE PARK               C\O COMMERCIAL INV PROP INC    1600 VALLEY RIVER DR STE 160                               EUGENE           OR   97401‐2147
VALLEY ROMAY                           959 WASHINGTON ST                                                                         FLORISSANT       MO   63031‐5743
VALLEY ROOFING CO                      ATTN: BRET LEWLESS             408 WOODSIDE AVE                                           BAY CITY         MI   48708‐5493
VALLEY RV CENTER, INC.                 10580 NW BRENTANO LN                                                                      MCMINNVILLE      OR   97128‐8151
VALLEY SAAB                            2743 FRANKLIN RD SW                                                                       ROANOKE          VA   24014‐1011
VALLEY SAAB                            O'DELL, KAREN M.               2743 FRANKLIN RD SW                                        ROANOKE          VA   24014‐1011
VALLEY SALES OF HASTINGS, INC.         BERNARD WAGNILD                12257 POINT DOUGLAS DR S                                   HASTINGS         MN   55033‐9481
VALLEY SALES OF HASTINGS, INC.         12044 120TH ST S                                                                          HASTINGS         MN   55033‐9428
VALLEY SALES OF HUTCHINSON, INC.       525 HIGHWAY 7 E                                                                           HUTCHINSON       MN   55350‐1919
VALLEY SALES OF HUTCHINSON, INC.       BERNARD WAGNILD                525 HIGHWAY 7 E                                            HUTCHINSON       MN   55350‐1919
VALLEY SALES OF WACONIA INC            VALLEY AUTOMOTIVE GROUP        1320 MILL LN                                               WACONIA          MN   55387‐1000
VALLEY SALES OF WACONIA, INC.          1320 MILL LN                                                                              WACONIA          MN   55387‐1000
VALLEY SALES OF WACONIA, INC.          BERNARD WAGNILD                1320 MILL LN                                               WACONIA          MN   55387‐1000
VALLEY SALES, INC.                     BERNARD WAGNILD                7500 145TH ST W                                            APPLE VALLEY     MN   55124‐7514
VALLEY SALES, INC.                     7500 145TH ST W                                                                           APPLE VALLEY     MN   55124‐7514
VALLEY STEEL CO                        ATTN: TOM MACZIK               1322 KING ST                                               SAGINAW          MI   48602‐1403
VALLEY STREAM AUTOMOTIVE ‐             NO ADVERSE PARTY
LIEBERMAN JOEL 2007
VALLEY STREAM AUTOMOTIVE INC           PO BOX 4357                                                                               TROY             MI 48099‐4357
VALLEY STREAM AUTOMOTIVE, INC.         PO BOX 4357                                                                               TROY             MI 48099‐4357
VALLEY STREAM AUTOMOTIVE, INC.         JOEL LIEBERMAN                 PO BOX 4357                                                TROY             MI 48099‐4357
VALLEY STREAM AUTOMOTIVE, INC.         INTERCOMPANY
VALLEY STREAM CHEVROLET                PO BOX 4357                                                                               TROY             MI 48099‐4357
VALLEY STREAM JUSTICE COURT            123 S CENTRAL AVE                                                                         VALLEY STREAM    NY 11580‐5413
VALLEY STREAM MOTORS INC               PO BOX 4357                                                                               TROY             MI 48099‐4357
VALLEY STREAM MOTORS, INC.             INTERCOMPANY
VALLEY TENT RENTAL                     1595 N VAN RD                                                                             HOLLY            MI   48442‐9452
VALLEY TIRE CO.                        1122 WESCHLER AVE                                                                         ERIE             PA   16502‐1064
VALLEY TRANSPORTATION AUTHORITY        3331 N 1ST ST                                                                             SAN JOSE         CA   95134‐1906
VALLEY TRANSPORTATION AUTHORITY        3331 N 1ST                                                                                SAN JOSE         CA   95134‐1906
VALLEY TRUCK LEASING                   3349 PAINE AVE                                                                            SHEBOYGAN        WI   53081‐8456
VALLEY TRUCK LEASING                   2309 INDIANA AVE                                                                          STEVENS POINT    WI   54481‐4203
VALLEY TRUCKING CO INC                 4550 COFFEEPORT RD                                                                        BROWNSVILLE      TX   78521‐4453
VALLEY TRUCKING CO INC                 CHARLIE BROWN                  4550 COFFEEPORT RD                                         BROWNSVILLE      TX   78521‐4453
VALLEY TWO WAY                         2252 PAPERMILL RD                                                                         WINCHESTER       VA   22601‐3617
VALLEY URGENT CARE                     3061 CHRISTY WAY                                                                          SAGINAW          MI   48603
VALLEY VICTORIA L                      3406 SOUTHFIELD DR                                                                        SAGINAW          MI   48601‐5647
VALLEY VIEW CAR CARE CENTER            2931 VALLEY VIEW LN                                                                       FARMERS BRANCH   TX   75234‐4928
VALLEY, ARTHUR G                       3532 BRIAR CREST DR                                                                       JANESVILLE       WI   53546‐9385
VALLEY, BRADFORD J                     120 JONATHON DR                                                                           JANESVILLE       WI   53548‐5800
                            09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                Part 37 of 40 Pg 869 of 901
Name                        Address1                         Address2                      Address3   Address4         City            State Zip
VALLEY, CHARLES H           6326 E ATHERTON RD                                                                         BURTON           MI 48519‐1608
VALLEY, CLARENCE E          949 W GRACEWAY DR                                                                          NAPOLEON         OH 43545‐1920
VALLEY, CLAYTON L           1241 W RD                                                                                  WATERBORO        ME 04087
VALLEY, CYNTHIA J           1921 DEPOT DR UNIT 103                                                                     LIVERMORE        CA 94550‐2121
VALLEY, DAVID A             PO BOX 1534                                                                                BAY CITY         MI 48706‐0534
VALLEY, DAVID A             5271 PARVIEW DR                                                                            CLARKSTON        MI 48346‐2809
VALLEY, DEBRA L             164 HENRY VIII DR                                                                          FLINT            MI 48507‐4215
VALLEY, DEBRA LYN           164 HENRY VIII DRIVE                                                                       FLINT            MI 48507‐4215
VALLEY, DEMETRIUS S         5200 SANDALWOOD DRIVE                                                                      GRAND BLANC      MI 48439‐4268
VALLEY, DENNIS L            8351 BALDWIN RD                                                                            GOODRICH         MI 48438‐9477
VALLEY, DESHONE T           PO BOX 280                                                                                 TWINSBURG        OH 44087‐0280
VALLEY, DICK E              601 E 6TH ST                                                                               MIO              MI 48647‐9335
VALLEY, DONALD J            2406 CUMINGS AVE                                                                           FLINT            MI 48503‐3544
VALLEY, DONNA L             4042 LENTZ RD                                                                              STANDISH         MI 48658‐9630
VALLEY, DOROTHY L           330 E SHEFFIELD ST                                                                         PONTIAC          MI 48340‐1969
VALLEY, DORTHA J            6255 COOPER RD                                                                             LANSING          MI 48911‐5554
VALLEY, DORTHA J            6265 COOPER ROAD                                                                           LANSING          MI 48911‐5554
VALLEY, EDWARD J            2278 SALT SPRINGS RD                                                                       WARREN           OH 44481‐9766
VALLEY, ELEANOR M           8364 DAVISON RD                                                                            DAVISON          MI 48423‐2038
VALLEY, HAROLD GRANT        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                             STREET, SUITE 600
VALLEY, JAMES R             1532 KENSINGTON ST                                                                         JANESVILLE      WI    53546‐5832
VALLEY, JASON N             8028 E LIPPINCOTT BLVD                                                                     DAVISON         MI    48423‐8301
VALLEY, JASON NORMAN        8028 E LIPPINCOTT BLVD                                                                     DAVISON         MI    48423‐8301
VALLEY, JEAN D              4042 E PIERSON RD                                                                          FLINT           MI    48506‐1438
VALLEY, JEFF G              2450 SAND RD                                                                               ARGYLE          WI    53504‐9716
VALLEY, JIM H               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510
                                                             STREET, SUITE 600
VALLEY, JOHN N              8028 E LIPPINCOTT BLVD                                                                     DAVISON         MI    48423‐8301
VALLEY, JOHN NORMAN         8028 E LIPPINCOTT BLVD                                                                     DAVISON         MI    48423‐8301
VALLEY, JOSEPH              1537 W JUNO AVE                                                                            ANAHEIM         CA    92802‐1622
VALLEY, KAREN L             W4106 GREENBUSH RD                                                                         MONROE          WI    53566
VALLEY, LEROY L             2798 N TOWER BEACH RD                                                                      PINCONNING      MI    48650‐7416
VALLEY, LEROY R             4311 YEAGER RD                                                                             DOUGLASVILLE    GA    30135‐4829
VALLEY, LONNIE J            531 MARTIN ST                                                                              OWOSSO          MI    48867‐3317
VALLEY, MARY A              879 SUTHERLAND                                                                             JANESVILLE      WI    53545
VALLEY, MILDRED L           1132 S JEFFERSON AVE                                                                       SAGINAW         MI    48601‐2526
VALLEY, MORRIS              1132 S JEFFERSON AVE                                                                       SAGINAW         MI    48601‐2526
VALLEY, OVERTON             3105 BERTHA DR                                                                             SAGINAW         MI    48601‐6906
VALLEY, PAUL                817 LEISURE LN                   FOREST MEADOWS                                            MEDINA          OH    44256‐1685
VALLEY, PETER F             1921 DEPOT DR UNIT 103                                                                     LIVERMORE       CA    94550‐2121
VALLEY, RAMONA G            2278 SALT SPRINGS RD                                                                       WARREN          OH    44481‐9766
VALLEY, RICHARD E           1185 VIA BUENA VIS                                                                         SAN MARCOS      CA    92078‐5186
VALLEY, RICHARD G           1247 STOVER RD                                                                             STANDISH        MI    48658‐9231
VALLEY, RICHARD J           1060 N SCHEURMANN RD                                                                       ESSEXVILLE      MI    48732‐1720
VALLEY, RICHARD L           318 E JEFFERSON ST                                                                         DIMONDALE       MI    48821‐9767
VALLEY, RICHARD LEE         318 E JEFFERSON ST                                                                         DIMONDALE       MI    48821‐9767
VALLEY, ROBERT A            15 NORWALK AVE                                                                             BRISTOL         CT    06010‐2236
VALLEY, SYLVESTER           1027 BROWN ST                                                                              SAGINAW         MI    48601‐2330
VALLEY, THERESA
VALLEY, WILLIAM J           6811 INVERNESS DR                                                                          FORT WAYNE       IN   46804‐1473
VALLEY‐KENYON, MARGARET A   8009 MEADOWLARK LN                                                                         PORT ST LUCIE    FL   34952‐3141
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
                                                                     Part 37 of 40 Pg 870 of 901
Name                              Address1                        Address2                     Address3                 Address4         City             State Zip
VALLEYCREST LANDFILL SITE         GROUP RI\FS FUND                1041 PARROTTS COVE RD        DE MAXIMIS INC                            GREENSBORO        GA 30642‐4825
VALLEYCREST LANDFILL SITE GROUP   ATTN: JOHN B PERSIANI           DINSMORE & SHOHL LLP         255 E 5TH ST, STE 1900                    CINCINNATI        OH 45202
VALLEYCREST LANDFILL SITE GROUP   ATTN JOHN B PERSIANI            DINSMORE & SHOHL LLP         255 E 5TH ST STE 1900                     CINCINNATI        OH 45202
MEMBERS
VALLEZ, MARY M                    7883 SCHIRRA ST                                                                                        SAGINAW          MI   48609‐9539
VALLEZ, MARY M                    7883 SCHIRRA DR                                                                                        SAGINAW          MI   48609‐4238
VALLI CONSTRUCTION INC            100 ALBRIGHT WAY                STE D                                                                  LOS GATOS        CA   95032‐1837
VALLI MINDY                       VALLI, MINDY                    5055 WILSHIRE BLVD STE 300                                             LOS ANGELES      CA   90036‐6101
VALLI, LOUIS M                    306 LAWRENCE AVE                                                                                       CHAPEL HILL      TN   37034‐3225
VALLI, MINDY                      KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                                             LOS ANGELES      CA   90036‐6101
VALLIANATOS, CHRIS                2414 VALLEYVIEW DR                                                                                     TROY             MI   48098‐5317
VALLIANATOS,CHRIS                 2414 VALLEYVIEW DR                                                                                     TROY             MI   48098‐5317
VALLIANT, BURTON E                246 S LINCOLN AVE                                                                                      SOUTH BELOIT     IL   61080‐1237
VALLIANT, DEREK                   930 W SOUTH ST                                                                                         WHITEWATER       WI   53190‐1754
VALLIE BERRY                      PO BOX 118                                                                                             TURNERVILLE      GA   30580‐0118
VALLIE BRANNON                    2320 UTLEY RD                                                                                          FLINT            MI   48532‐4900
VALLIE FARMER                     2626 WALKER RD                                                                                         CHATTANOOGA      TN   37421‐1116
VALLIE JR, CLARENCE J             16680 APPLE LN N                                                                                       RAY              MI   48096‐4108
VALLIE LESECK                     261 NE 29TH ST                                                                                         POMPANO BEACH    FL   33064‐3635
VALLIE WALKER                     4309 KOLLOCH DR                                                                                        DALLAS           TX   75216‐4917
VALLIE WALLS                      301 S ALLEN ST                                                                                         BERNIE           MO   63822‐9222
VALLIE WALTERS                    7501 E JEFFERSON AVE APT 517                                                                           DETROIT          MI   48214‐2581
VALLIE, RICHARD G                 42370 WILLOW TREE LN E                                                                                 CLINTON TWP      MI   48038‐5213
VALLIER, DENNIS V                 125 CLARENDON CIR                                                                                      FRANKLIN         TN   37069‐1837
VALLIER, DONALD J                 8629 QUARTERHORSE DR                                                                                   INDIANAPOLIS     IN   46256‐4324
VALLIER, EDWARD J                 1229 JILL LN                                                                                           MODESTO          CA   95355‐3516
VALLIER, FRANCES                  427 DUTCH MILL CT                                                                                      FLUSHING         MI   48433‐2180
VALLIER, NANCY M                  PO BOX 997                                                                                             GILBERT          AZ   85299‐0997
VALLIER, RICHARD                  504 RENKER RD                                                                                          LANSING          MI   48917‐2840
VALLIER, ROSEMARY E               735 W OXHILL DR                                                                                        WHITE LAKE       MI   48386‐2347
VALLIERE, HAROLD L                5953 S HENDERSON LAKE RD                                                                               STERLING         MI   48659‐9201
VALLIERE, KEITH A                 11351 WING DR                                                                                          CLIO             MI   48420‐1518
VALLIERE, LESLIE L                4174 E MOUNT MORRIS RD                                                                                 MOUNT MORRIS     MI   48458‐8743
VALLIERE, RONALD B                3035 LAURIA RD                                                                                         BAY CITY         MI   48706‐1111
VALLIERE, RONALD L                81 RICHARDSON ST                                                                                       UXBRIDGE         MA   01569‐1619
VALLIERE, VAUGHAN V               5294 FOX HOLLOW CT                                                                                     LOVELAND         CO   80537‐7977
VALLIES, LOUIS                    3664 STATE ROUTE 208                                                                                   NEW WILMINGTON   PA   16142‐5230
VALLILLO, JOSEPHINE               18 DORAL DR                                                                                            TOMS RIVER       NJ   08757‐6005
VALLILLO, VICTOR E                111 HEMLOCK DR                                                                                         RIO GRANDE       NJ   08242‐1731
VALLIMONT, DEBORAH D              9912A MISSISSIPPI ST                                                                                   OSCODA           MI   48750‐1923
VALLIMONT, DEBORAH F              16405 JESSICA DR                                                                                       SOUTHGATE        MI   48195‐6413
VALLIMONT, LARRY F                149 EAST TAWAS LAKE ROAD                                                                               EAST TAWAS       MI   48730‐9307
VALLIMONT, LARRY F                149 E TAWAS LAKE RD                                                                                    EAST TAWAS       MI   48730‐9307
VALLIN, CARLOS M                  2306 BOLLMAN DR                                                                                        LANSING          MI   48917‐1311
VALLIN, DAVID                     1315 RAVENSWOOD DR                                                                                     LANSING          MI   48917‐1721
VALLIN, EDWARDO                   409 W PLAIN ST                                                                                         EATON RAPIDS     MI   48827‐1441
VALLIN, PATRICIA L                4733 W LOWE RD                                                                                         SAINT JOHNS      MI   48879‐9474
VALLIN, PATRICIA L                4733 W. LOWE RD.                                                                                       ST JOHNS         MI   48879‐9474
VALLIN, VIDAL S                   11954 EDGECLISS AVE                                                                                    SYLMAR           CA   91342
VALLINA, ARKIE I                  801 S BENTON                    APT 1307‐A                   CARE OF HARDING PL                        SEARCY           AR   72143
VALLIYAPPAN SOMASONDARAM          1100 W AARON DR #EZ                                                                                    STATE COLLEGE    PA   16803
VALLO BERNARD C                   410 W OLIVER RD                                                                                        MUNHALL          PA   15120‐2761
                             09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                 Part 37 of 40 Pg 871 of 901
Name                         Address1                         Address2                      Address3   Address4                City               State Zip
VALLO DEWBERRY               608 SW 22ND ST                                                                                    MOORE               OK 73160‐5511
VALLO JR, JOHN R             1274 CHIPMUNK CT                                                                                  CENTERVILLE         OH 45458‐2701
VALLO, BERNARD C             410 W OLIVER RD                                                                                   MUNHALL             PA 15120‐2761
VALLONE JR, JAMES            2500 EAST AVE #6‐S                                                                                ROCHESTER           NY 14610‐3142
VALLONE JR, JAMES            2500 EAST AVE APT 6S                                                                              ROCHESTER           NY 14610‐3142
VALLONE, FANNY C             340 WALDORF AVENUE                                                                                ROCHESTER           NY 14606‐3738
VALLONE, JOSEPH L            PO BOX 264                                                                                        CHERRY CREEK        NY 14723‐0264
VALLONE, JOSEPHINE S         180 MAGNOLIA WOOD 12A                                                                             DELTONA             FL 32725‐2725
VALLONE, MARY                43 HECLA ST                                                                                       BUFFALO             NY 14216‐1629
VALLONE, STEVEN J            23190 HALSTED RD APT 212                                                                          FARMINGTON HILLS    MI 48335‐3757
VALLONE, THOMAS A            255 DERBY LN                                                                                      OXFORD              MI 48371‐6703
VALLOREE D PREVOST           237 BURROWS AVE                                                                                   ROSCOMMON           MI 48653‐9253
VALLOREE PREVOST             237 BURROWS AVE                                                                                   ROSCOMMON           MI 48653‐9253
VALLORY J MC GHEE            PO BOX 214                                                                                        WESTFIELD CENTER    OH 44251‐0214
VALLORY MC GHEE              PO BOX 214                                                                                        WESTFIELD CENTER    OH 44251‐0214
VALLOW, KAROLE               13605 W UTICA DR                                                                                  SUN CITY WEST       AZ 85375‐4443
VALLOYD SHIBLEY              BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS          OH 44236
VALLOZZI EUGENE & MARY ANN   PO BOX 3003                                                                                       WARREN              OH 44485‐0003
VALLS, ARTHUR                2400 WHITEMORE PL                                                                                 SAGINAW             MI 48602‐3531
VALLS, IRMA                  2043 SW 173RD AVE                                                                                 MIRAMAR             FL 33029‐5520
VALLS, MARTIN R              38721 TRISTRAM DR                                                                                 STERLING HTS        MI 48310‐1780
VALLUZZO CHARLES             2160 RUE BIENVENUE                                                                                BATON ROUGE         LA 70809‐1261
VALMA DUMONT                 330 SW SOUTH RIVER DR APT 201                                                                     STUART              FL 34997‐3208
VALMARK CHEVROLET            725 S INTERSTATE 35                                                                               NEW BRAUNFELS       TX 78130‐4836
VALMEC INC                   1274 S HOLLY RD                                                                                   FENTON              MI 48430‐8501
VALMET AUTOMOTIVE INC                                                                                  UUSIKAUPUNKI FI‐23500
                                                                                                       FINLAND
VALMONT, CHRISTINE K         18504 GILLMAN ST                                                                                  LIVONIA            MI   48152‐3724
VALMONT, RONALD E            1047 S WESTLAKE AVE                                                                               LOS ANGELES        CA   90006‐3717
VALMOR LECLAIR               6320 STATE RD                                                                                     VASSAR             MI   48768‐9215
VALMORE SAMUEL JR            13901 ELM AVE                                                                                     E CLEVELAND        OH   44112‐2513
VALMORE, DEBORAH M           1009 S BRACKEN ST                                                                                 WICHITA            KS   67207
VALNA KNISELY                4175 CLINTONVILLE RD                                                                              WATERFORD          MI   48329‐2378
VALO, DEBRA L                271 FOREST PARK DR                                                                                YOUNGSTOWN         OH   44512‐1453
VALO, JOHN C                 4705 BALLENTINE RD                                                                                BATH               MI   48808‐8463
VALO, JOHN F                 3347 EMERALD LN                                                                                   NORTH PORT         FL   34286‐5103
VALOIS GIESIGE JR            933 MILLER DR                                                                                     QUINCY             MI   49082‐9782
VALOIS, ROBERT E             6176 N 500 E                                                                                      ROANOKE            IN   46783‐9152
VALON DILLINGHAM             3893 E 250 S                                                                                      WABASH             IN   46992‐8947
VALONE JENNIFER L            VALONE, JENNIFER L               30700 TELEGRAPH RD STE 1580                                      BINGHAM FARMS      MI   48025‐5801
VALONE, AMPARO M             97 MAPLE CENTER ROAD                                                                              HILTON             NY   14468‐4468
VALONE, DIANE                5955 SHADEWATER DR                                                                                CUMMING            GA   30041‐9240
VALONE, GLORIA M             307 CREIGHTON LN                                                                                  ROCHESTER          NY   14612‐2226
VALONE, JENNIFER L           PARKER BRIAN P                   30700 TELEGRAPH RD STE 1580                                      BINGHAM FARMS      MI   48025‐5801
VALONE, JOSEPH R             307 CREIGHTON LN                                                                                  ROCHESTER          NY   14612‐2226
VALONE, RICHARD              5955 SHADEWATER DR                                                                                CUMMING            GA   30041‐9240
VALONE, SYLVIA D             39 CASCADE DR                    C/O KAREN V MATHIS                                               PENFIELD           NY   14526‐1939
VALONIS, JOSEPH R            4504 OLD WASHINGTON RD                                                                            SYKESVILLE         MD   21784‐9425
VALONIS, LISA M              4318 CHERRY TREE LN                                                                               SYKESVILLE         MD   21784‐9601
VALONIS, LISA MAE            4318 CHERRY TREE LN                                                                               SYKESVILLE         MD   21784‐9601
VALOR MANUFACTURING INC                                       5403 HARVESTER RD                        BURLINGTON,ON,L7L
                                                                                                       5J7,CANADA
                                  09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                     Part 37 of 40 Pg 872 of 901
Name                              Address1                         Address2                        Address3   Address4                City               State Zip
VALOR MANUFACTURING INC           5403 HARVESTER RD                                                           BURLINGTON ON L7L 5J7
                                                                                                              CANADA
VALOR MANUFACTURING INC           WILL HU                          10 BOND STREET N                           ST. THOMAS ON CANADA
VALOR MANUFACTURING INC.          WILL HU                          10 BOND STREET N                           ST. THOMAS ON CANADA
VALOR/DUNDAS                      10 BOND STREET N                                                            DUNDAS ON L9H 3A9
                                                                                                              CANADA
VALORE, MARY R                    4642 PATRICIA DRIVE                                                                                 NIAGARA FALLS       NY 14305‐1148
VALORI LIXEY                      1245 PARLIAMENT AVE                                                                                 MADISON HTS         MI 48071‐2940
VALORI MONTGOMERY
VALORIA DICKEY                    8648 N MECHANICSBURG RD                                                                             MIDDLETOWN          IN   47356‐9344
VALORIA DUCCIO                    37723311                         VIA DI SAN MARTINO AI MONTI 8              184 ROMA RM ITALY
VALORIA TAYLOR                    7051 S PRAIRIE AVE                                                                                  CHICAGO            IL    60637‐4631
VALORIE COTTINGHAM                931 N PERRY ST                                                                                      PONTIAC            MI    48340‐3031
VALORIE DAVIS                     136 E PULASKI AVE                                                                                   FLINT              MI    48505‐3314
VALORIE DUNLAP                    899 TIMBERLINE DR                                                                                   ROCHESTER HILLS    MI    48309‐1318
VALORIE HORTON                    1263 N LINDEN RD                                                                                    FLINT              MI    48532‐2343
VALORIE HOWARD                    3113 HIGH POINTE DRIVE                                                                              ORION TOWNSHIP     MI    48359
VALORIE MERCIER                   7214 GALE RD                                                                                        OTISVILLE          MI    48463‐9414
VALORIE TIDERINGTON               5316 CHIN MAYA DR                                                                                   SWARTZ CREEK       MI    48473‐8611
VALORIE V DAVIS                   136 E PULASKI AVE                                                                                   FLINT              MI    48505‐3314
VALORUS BRUMFIELD                 7918 S STATE ROAD 109                                                                               MARKLEVILLE        IN    46056‐9782
VALORY WALKER                     1900 EULER RD                                                                                       BRIGHTON           MI    48114‐7411
VALOS JR, JAMES E                 1915 E 21ST ST                                                                                      MUNCIE             IN    47302‐5461
VALOS JR, JAMES EDWIN             1915 E 21ST ST                                                                                      MUNCIE             IN    47302‐5461
VALOT, KENNETH E                  3652 NEWTON FALLS BAILEY RD SW                                                                      WARREN             OH    44481‐9718
VALOT, PENNY D                    260 BANDOR RD                                                                                       NEWTON FALLS       OH    44444‐1202
VALOVIC, LADISLAV                 37126 YORKSHIRE DR APT 143                                                                          STERLING HTS       MI    48312‐2401
VALPARAISO TIRE                   451 MORTHLAND DR                                                                                    VALPARAISO         IN    46383‐5457
VALPARAISO UNIVERSITY             OFFICE OF STUDENT ACCOUNTS       KRETZMANN HALL                                                     VALPARAISO         IN    46383
VALPARAISO UNIVERSITY OFFICE OF   1700 CHAPEL DR                                                                                      VALPARAISO         IN    46383‐4520
STUDENT ACCOUNTS
VALQUETTE, RICHARD J              113 WOODSIDE AVE                                                                                    PAWTUCKET           RI   02861‐2706
VALREANA GREENE                   PO BOX 1211                                                                                         SUMMERFIELD         FL   34492‐1211
VALRICH ANDONIAN                  2671 ROXIE RD                                                                                       BLOOMFIELD HILLS    MI   48304‐1646
VALRIE, GWENDOLYN                 16511 VAUGHAN ST                                                                                    DETROIT             MI   48219‐3324
VALSADIA, SURESH N                28710 VAN DYKE AVE                                                                                  WARREN              MI   48093‐2705
VALSPAR CORP                      1915 SECOND ST W                                                            CORNWALL CANADA ON
                                                                                                              K6H 5T1
VALSPAR CORP                      PO BOX 1461                                                                                         MINNEAPOLIS        MN    55440‐1461
VALSPAR CORP                      ATTN: MIKE COLLINS               546 ABBOTT ST                                                      INDIANAPOLIS       IN    46225‐1282
VALSPAR CORPORATION               VIRGINIA KODET                   PO BOX 1461                                                        MINNEAPOLIS        MN    55440‐1461
VALTA BUTCHER                     1283 MYRTLE RD                                                                                      BRADYVILLE         TN    37026‐5033
VALTA SULLIVAN                    4419 N US HIGHWAY 287                                                                               ALVORD             TX    76225‐7918
VALTADOROS, BASILE                41319 HARVARD DR                                                                                    STERLING HTS       MI    48313‐3633
VALTECH HOLDING INC               85 PIXLEY INDUSTRIAL PKWY                                                                           ROCHESTER          NY    14624‐2322
VALTECH HOLDINGS                  85 PIXLEY INDUSTRIAL PKWY                                                                           ROCHESTER          NY    14624‐2322
VALTECH LLC                       565 S CEDAR ST                                                                                      IMLAY CITY         MI    48444‐1333
VALTERA CORPORATION               1701 GOLF RD STE 2‐1100                                                                             ROLLING MEADOWS    IL    60008‐4257
VALTIER, ARTURO                   2824 TWEEDY BLVD APT A                                                                              SOUTH GATE         CA    90280‐5564
VALTIERRA, ADOLFO                 3419 PEALE DR                                                                                       SAGINAW            MI    48602‐3472
VALTIERRA, PRUDENCIO              334 S 6TH AVE                                                                                       SAGINAW            MI    48607‐1607
VALTIERRA, THOMAS                 2688 STARLITE DR                                                                                    SAGINAW            MI    48603‐2544
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                                  Exhibit B
                                                                        Part 37 of 40 Pg 873 of 901
Name                                 Address1                              Address2                          Address3              Address4              City               State Zip
VALTMAN, DEBORAH A                   2142 W FREDERICK DR APT D                                                                                           MARION              IN 46952‐2361
VALTMAN, JAMES J                     3304 MADISON AVE                                                                                                    BROOKFIELD           IL 60513‐1231
VALU, JOSEPH                         5147 BLOSS DR                                                                                                       SWARTZ CREEK        MI 48473‐8908
VALUCK, LOTTIE                       260 MAPLE AVE APT 318                                                                                               ROCKVILLE CENTRE    NY 11570
VALUE ADDED PROCESSING               C/O SKY BANK                          760 BRADDICK AVE                                                              PITTSBURGH          PA 15112
VALUE FLEET LLC                      C/O RANSDELL & ROACH, PLLC            W KEITH RANSDELL                  176 PASADENA DRIVE,                         LEXINGTON           KY 40503
                                                                                                             BUILDING ONE
VALUE MANAGEMENT INC                 EMPOWERMENT SEMINARS                  23023 ORCHARD LAKE RD STE E                                                   FARMINGTN HLS      MI 48336‐3267
VALUE MANAGEMENT, INC.               EMPOWERMENT SEMINARS                  17880 FARMINGTON RD BLDG B STE                                                LIVONIA            MI 48152
                                                                           E
VALUE MANGEMENT                      4179 FIR ST STE A                                                                                                   CLARKSTON           MI 48348
VALUE NOTES DATABASE PRIVATE LIMITED 303 3RD FLOOR VENUS POINT             1226/1 OFF FC ROAD                                      PUNE 411004 INDIA
PUNE
VALUE OPTIONS                        48561 ALPHA DR STE 150                                                                                              WIXOM              MI   48393‐3458
VALUE OPTIONS INC                    240 CORPORATE BLVD                    REINSTATE 7‐19‐99                                                             NORFOLK            VA   23502‐4900
VALUE RENT A CAR                     1150 RENTAL CAR RD                                                                                                  SARASOTA           FL   34243‐2100
VALUE RENT A CAR                     700 CATALINA DR STE 124                                                                                             DAYTONA BEACH      FL   32114‐3846
VALUE RENT A CAR                     3889 HERSCHEL RD                                                                                                    COLLEGE PARK       GA   30337‐3353
VALUE RENT A CAR                     1701 AIRLINE DR                                                                                                     KENNER             LA   70062‐6940
VALUE RENT A CAR                     2851 NW LE JUENE ROAD                                                                                               MIAMI              FL   33142
VALUE RENT A CAR                     1030 TAYLOR RD                                                                                                      DANIA              FL   33004‐2528
VALUE RENT A CAR                     1000 PALM BCH INTL AIRPORT UNIT 138                                                                                 WEST PALM BEACH    FL   33406‐1402

VALUE RENT A CAR                     2510 JETPORT DR                                                                                                     ORLANDO            FL   32809‐8146
VALUE RENT A CAR                     1612 S HARBOR CITY BLVD                                                                                             MELBOURNE          FL   32901‐4657
VALUE RENT A CAR                     1759 AIRPORT ENTRANCE RD                                                                                            JACKSONVILLE       FL   32218
VALUE RENT A CAR                     16040 CHAMBERLIN PKWY                                                                                               FORT MYERS         FL   33913‐8871
VALUE RENT A CAR                     5210 SPRUCE STREET                                                                                                  TAMPA              FL   33607
VALUE RENT A CAR                     2710 E WASHINGTON ST                                                                                                PHOENIX            AZ   85034‐1423
VALUE RENT A CAR                     4480 S PARADISE ROAD                                                                                                LAS VEGAS          NV   89169
VALUE RENT A CAR                     23410 E 78TH AVE                                                                                                    DENVER             CO   80249‐6389
VALUE RENT A CAR                     2500 N MILITARY TRL STE 300                                                                                         BOCA RATON         FL   33431‐6324
VALUE RENTALS INC                    2000 JETPORT ROAD                                                                                                   GREENVILLE         SC   29652
VALUE TIRE REGINA LTD                203 MCDONALD STREET NORTH                                                                     REGINA SK S4N 5W2
                                                                                                                                   CANADA
VALUE TRANSPORTATION SERVICE INC     413 HAMILTON CROSSING RD NW           PO BOX 1881                                                                   CARTERSVILLE       GA   30120‐4892
VALUECLICK INC                       360 OLIVE STREET                                                                                                    SANTA BARBARA      CA   93101
VALUECLICK INC                       STEPHEN TSCHOSIK                      30 SOUTH WACKER DRIVE             SUITE 2200                                  CHICAGO            IL   60606
VALUECLICK INC                       530 E. MONTECITO ST.                                                                                                SANTA BARBARA      CA   93101‐3252
VALUECLICK INC                       STEPHEN TSCHOSIK                      30 S WACKER DR STE 2200                                                       CHICAGO            IL   60606‐7452
VALUEOPTIONS                         ATTN: ROBERT MOSLEY                   3031 W GRAND BLVD # 861                                                       DETROIT            MI   48202‐3046
VALUFLEET LLC                        RANSDELL & ROACH PLLC                 176 PASADENA DRIVE BUILDING ONE                                               LEXINGTON          KY   40503

VALUFLEET LLC                        176 PASADENA DRIVE BUILDING ONE                                                                                     LEXINGTON          KY   40503
VALURA R LEFORCE                     6 HIGH RIDGE CT                                                                                                     FRANKLIN           OH   45005‐1758
VALUS, GERALD J                      15308 FOREST PARK DR                                                                                                STRONGSVILLE       OH   44136‐3605
VALUS, JAMES K                       315 DONELLA DR                                                                                                      SAN ANTONIO        TX   78232‐1233
VALUS, JOHN T                        26443 DOVERSTONE ST                                                                                                 BONITA SPRINGS     FL   34135‐5029
VALUS, MICHAEL J                     5230 LIN HILL DR                                                                                                    SWARTZ CREEK       MI   48473‐8872
VALUTIS, STEVEN A                    54123 OVERBROOK CT                                                                                                  SHELBY TOWNSHIP    MI   48316‐1301
VALV TROL CO                         PO BOX 2259                           1340 COMMERCE DR                                                              STOW               OH   44224‐1000
                                 09-50026-mg          Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
                                                                 Part 37 of 40 Pg 874 of 901
Name                            Address1                      Address2                        Address3                    Address4                City               State Zip
VALVANO ANTHONY                 VALVANO, GEORGIA              KIMMEL & SILVERMAN PC           1930 E MARLTON PIKE SUITE                           CHERRY HILL         NJ 08003
                                                                                              Q29
VALVANO ANTHONY                 VALVANO, ANTHONY              1930 E MARLTON PIKE SUITE Q29                                                       CHERRY HILL        NJ 08003
VALVANO, JOHNNY                 13304 CANTERBURY DR                                                                                               STERLING HTS       MI 48312‐3304
VALVE TRAIN COMPONENTS LTD      RINGWAY INDUSTRIAL ESTATE     EASTERN AVENUE                  LICHFIELD WS13 7SF          ENGLAND GREAT BRITAIN
VALVERDE, ARTHUR C              4907 GERALD ST                                                                                                    WARREN             MI   48092‐3481
VALVERDE, CHRISTINA             PO BOX 439016                                                                                                     SAN DIEGO          CA   92143‐9016
VALVERDE, DAVID R               5152 DARBY APT #D                                                                                                 SAN BERNARDINO     CA   92405
VALVERDE, FRANK                 2616 W 75TH ST                                                                                                    LOS ANGELES        CA   90043‐5330
VALVERDE, JAMES A               25390 ANDERSON AVE                                                                                                BARSTOW            CA   92311‐3428
VALVERDE, JOSEPH A              3894 N PASSION FLOWER WAY                                                                                         BEVERLY HILLS      FL   34465‐3346
VALVERDE, RUDY H                11107 BRADDOCK DR                                                                                                 CULVER CITY        CA   90230
VALVESYSTEMS INC                7502 S WILLOW CIR                                                                                                 CENTENNIAL         CO   80112‐2721
VALVO, FRANK S                  1201 OSTRANDER RD                                                                                                 EAST AURORA        NY   14052‐9651
VALVO, FRANK SALVATORE          1201 OSTRANDER RD                                                                                                 EAST AURORA        NY   14052‐9651
VALVO, JAMES T                  2701 MANITOU RD                                                                                                   ROCHESTER          NY   14624‐1127
VALVO, LEONARD J                9686 WEHRLE DR                                                                                                    CLARENCE           NY   14031‐2008
VALVO, WENDY ANN                21 QUEENS GUARD WALK                                                                                              TONAWANDA          NY   14150‐6811
VALVOLINE INC                   3499 DABNEY DR                                                                                                    LEXINGTON          KY   40512
VALWOOD IMPROVEMENT AUTHORITY   1430 VALWOOD PKWY STE 160     TAX ASSESSOR COLLECTOR                                                              CARROLLTON         TX   75006‐8378
VALWORTH HALL                   867 E CONFEDERATE AVE SE                                                                                          ATLANTA            GA   30316‐2534
VALYASEK, PAUL J                31436 ANN ARBOR TRL                                                                                               WESTLAND           MI   48185‐1663
VALYASEK, PAUL S                257 WESTSHORE DR                                                                                                  JEROME             MI   49249‐9420
VALYASEK, PAUL STEVEN           257 WESTSHORE DR                                                                                                  JEROME             MI   49249‐9420
VALZ, LYNN M                    729 WAPAKONETA AVE                                                                                                SIDNEY             OH   45365
VALZ, THOMAS M                  1635 PETERS RD                                                                                                    TROY               OH   45373‐3850
VAMCO INTERNATIONAL INC         555 EPSILON DR                                                                                                    PITTSBURGH         PA   15238‐2816
VAMOS MARK                      VAMOS, MARK
VAMOS, GENE R                   856 HOOP RD                                                                                                       XENIA              OH   45385‐9607
VAMOS, ROBERT A                 6383 N JENNINGS RD                                                                                                MOUNT MORRIS       MI   48458‐9317
VAMOS, STEVE                    6510 LENOIR DR                                                                                                    PORT RICHEY        FL   34668‐5216
VAMOS, STEVEN L                 4048 HALLOCK RD                                                                                                   GAYLORD            MI   49735‐9255
VAMOS, VICKY L                  3929 HOGARTH AVE                                                                                                  FLINT              MI   48532‐5262
VAMOSSY, JOHN                   307 E SHIAWASSEE AVE                                                                                              FENTON             MI   48430‐2372
VAMP COMPANY                    28055 FORT ST                                                                                                     BROWNSTOWN TWP     MI   48183‐4909
VAMP INC                        740 UNIVERSITY PL                                                                                                 GROSSE POINTE      MI   48230‐1263
VAMP SCREW PRODUCTS CO          DAVE TOP                      28055 FORT STREET                                                                   STERLING HEIGHTS   MI   48314
VAMP SCREW PRODUCTS COMPANY     DAVE TOP                      28055 FORT STREET                                                                   STERLING HEIGHTS   MI   48314
VAMVAKAS, SPIRO G               47123 WILLINGHAM WAY                                                                                              SHELBY TOWNSHIP    MI   48315‐4842
VAMVAS, JASON M                 783 BELLE RIVER RD                                                                                                EAST CHINA         MI   48054‐4757
VAMVAS, MARK J                  5668 KELLY RD                                                                                                     MUSSEY             MI   48014‐1513
VAN
VAN A LAYCOX                    5 STARR PL.                                                                                                       KETTERING          OH 45420‐2931
VAN AANHOLD, JAMES              67 W MIDLAND RD                                                                                                   AUBURN             MI 48611‐9311
VAN AARSEN, ELIZABETH M         P. SANTIAGO I #158                                                                        PLAYA DE LAS AMERICA
                                                                                                                          SPAIN 38660
VAN ACKER ARMAND                21610 N 145TH DR                                                                                                  SUN CITY WEST      AZ   85375‐6125
VAN ACKER JR, CHARLES E         11490 ORCHARDVIEW DR                                                                                              FENTON             MI   48430‐2544
VAN ACKER, ARMAND J             21610 N 145TH DR                                                                                                  SUN CITY WEST      AZ   85375‐6125
VAN ACKER, CHARLES J            65627 E PENINSULA DR                                                                                              CASSOPOLIS         MI   49031‐9524
VAN ACKER, DAVE P               3313 TOTTENHAM CT                                                                                                 ROCHESTER HLS      MI   48309‐4385
VAN ACKER, MICHEAL L            N6449 SHOREWOOD HILLS RD                                                                                          LAKE MILLS         WI   53551‐9724
                             09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                 Part 37 of 40 Pg 875 of 901
Name                         Address1                         Address2                        Address3   Address4         City                 State Zip
VAN ADAMS                    3235 TRUELOVE RD                                                                             GAINESVILLE           GA 30507‐8566
VAN AELST, SUSAN M           202 CRANE AVE                                                                                ROYAL OAK             MI 48067‐1790
VAN AERNUM, MARGARET A       263 GREENWAY BLVD                                                                            CHURCHVILLE           NY 14428‐9218
VAN AKEN, FRED D             1620 CRESTVIEW DR                                                                            LOS ALTOS             CA 94024‐5929
VAN ALEXANDER                14380 STATE HIGHWAY 37                                                                       MASSENA               NY 13662‐3154
VAN ALLEN JR, FRED           28750 MURRIETA RD                                                                            SUN CITY              CA 92586‐2757
VAN ALLEN, ANITA K           PO BOX 23                                                                                    FREELANDVILLE         IN 47535‐0023
VAN ALLEN, DEBRA J           385 COLUMBINE LN                                                                             SHAKOPEE              MN 55379‐3493
VAN ALLEN, DIANNE M          12381 LINDEN RD                                                                              LINDEN                MI 48451‐9484
VAN ALLEN, LYNN M            15 COLONIAL CT                                                                               FAIR HAVEN            NJ 07704‐3238
VAN ALLEN, NEIL              259 NESBIT LN                                                                                ROCHESTER HILLS       MI 48309‐2175
VAN ALLEN, THOMAS R          2503 CEDARWOOD DR                                                                            LAKE WALES            FL 33898
VAN ALLEN‐AZNARAN, LINDA S   72 HAYMAKER LN                                                                               LEVITTOWN             NY 11756‐3437
VAN ALST, MARK D             11379 N WEBSTER RD                                                                           CLIO                  MI 48420‐8235
VAN ALSTINE JR, KENNETH C    11032 COLUMBIA HWY                                                                           EATON RAPIDS          MI 48827‐9214
VAN ALSTINE, DENISE          PO BOX 492                                                                                   DE TOUR VLLE          MI 49725‐0492
VAN ALSTINE, DENISE M        PO BOX 492                                                                                   DE TOUR VLLE          MI 49725‐0492
VAN ALSTINE, ELLEN P         1403 WESTHAVEN DR                C/O LAURENCE R VAN ALSTINE JR                               TECUMSEH              MI 49286‐1645
VAN ALSTINE, ERNEST R        8412 ERMA DR                                                                                 LYONS                 MI 48851‐9615
VAN ALSTINE, GAIL C          3632 SHOALS ST                                                                               WATERFORD             MI 48329‐2262
VAN ALSTINE, GERALD          PO BOX 492                                                                                   DE TOUR VLLE          MI 49725‐0492
VAN ALSTINE, GLEN A          1800 SHIPMAN RD                                                                              OXFORD                MI 48371‐2927
VAN ALSTINE, JEFFREY V       1471 JEWETT STREET                                                                           ANN ARBOR             MI 48104‐6207
VAN ALSTINE, JEFFREY V       1471 JEWETT ST                                                                               ANN ARBOR             MI 48104‐6207
VAN ALSTINE, KEITH M         4540 S STINE RD                                                                              CHARLOTTE             MI 48813‐9525
VAN ALSTINE, LYNN L          5015 COSHOCTON DR                                                                            WATERFORD             MI 48327‐3327
VAN ALSTINE, MARGARET E      653 SPAULDING ST                                                                             WILLIAMSTON           MI 48895‐1072
VAN ALSTINE, RICHARD A       1078 ALLEN ST                                                                                ROANOKE               IN 46783‐8802
VAN ALTENA, DON R            4946 E COUNTY RD N                                                                           MILTON                WI 53563‐9674
VAN AMBURG, DANNY L          5070 KNAPP DR                                                                                FLINT                 MI 48506‐2112
VAN AMBURG, DONALD C         9000 OKEMOS RD                                                                               PORTLAND              MI 48875‐1800
VAN AMBURGH, CHARLES C       7159 MURRAY RIDGE ROAD                                                                       ELYRIA                OH 44035‐2050
VAN AMBURGH, CLAYTON F       12534 VERGENNES ST                                                                           LOWELL                MI 49331‐9422
VAN AMEYDE, CORNELIUS J      820 BARTON ST                                                                                DEXTER                 IA 50070‐5002
VAN ANDEL, STEVEN M          5800 7 MILE RD NE                                                                            BELMONT               MI 49306‐9163
VAN ANTWERP JR, LOWELL B     4655 WESTLAWN PKWY                                                                           WATERFORD             MI 48328‐3476
VAN ANTWERP, AARON R         300 SHEPARD ST                                                                               LANSING               MI 48912‐2717
VAN ANTWERP, CECILE B        1047 FAIRFIELD AVE NW                                                                        GRAND RAPIDS          MI 49504‐3747
VAN ANTWERP, MARSHALL R      2030 HASLETT RD                                                                              WILLIAMSTON           MI 48895‐9624
VAN ANTWERP, MARSHALL RAY    2030 HASLETT RD                                                                              WILLIAMSTON           MI 48895‐9624
VAN ANTWERP, ROBERT A        11842 RANSOM HWY                                                                             DIMONDALE             MI 48821‐8731
VAN ANTWERP, ROBERT F        20500 PALM MEADOW                                                                            MOUNT CLEMENS         MI 48036
VAN ARNAM, JUDITH A          17037 CHARLES                                                                                NUNICA                MI 49448‐9763
VAN ARNAM, RICHARD G         17037 CHARLES                                                                                NUNICA                MI 49448‐9763
VAN ARSDALE JR, EARNEST L    3709 GRATIOT AVE                                                                             FLINT                 MI 48503‐4980
VAN ARSDALEN,SHELLY R        3777 EVERETT DR                                                                              ROCHESTER HILLS       MI 48307‐5066
VAN ARSDALL JR, D.B          248 W PRINCETON AVE                                                                          PONTIAC               MI 48340‐1844
VAN ARSDALL JR, D.B.         248 W PRINCETON AVE                                                                          PONTIAC               MI 48340‐1844
VAN ARSDALL, DOLORES         547 NESPONSIT DR                                                                             VENICE                FL 33595‐3595
VAN ARUM, JANE               11517 SHAKESPEREAN WAY                                                                       AUSTIN                TX 78759‐8759
VAN ASPEREN, THOMAS G        PO BOX 35                                                                                    PERKINSVILLE          NY 14529‐0035
VAN ASSCHE, NOEL R           735 BERKSHIRE RD                                                                             GROSSE POINTE PARK    MI 48230‐1817
                                   09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                         Part 37 of 40 Pg 876 of 901
Name                               Address1                           Address2                      Address3   Address4                City                  State Zip
VAN ASSCHE, RANDY J                53159 FREDA DR                                                                                      MACOMB                 MI 48042‐2830
VAN ATTA, BRIAN R                  1590 ROSSANNE PL                                                                                    ENGLEWOOD              FL 34223‐3528
VAN ATTA, RUTH S                   6404 21ST AVE W APT H105                                                                            BRADENTON              FL 34209‐7814
VAN AUKEN, DANNA M                 324 RICHTER ST                                                                                      RIVER ROUGE            MI 48218‐1661
VAN AUKEN, JACK H                  604 FOREST DR                                                                                       FENTON                 MI 48430‐1837
VAN AUKEN, ROBERT P                31009 CORTE ARROYO VIS                                                                              TEMECULA               CA 92592‐5450
VAN AUKER, JERIT L                 10869 RIDGE RD                                                                                      MEDINA                 NY 14103‐9432
VAN AUKER, LOVINA E                4181 COUNTY ROAD 2600                                                                               WILLOW SPRINGS         MO 65793‐8138
VAN AUKER, ROBERT J                1222 BRAELINN LANE                                                                                  SUGAR LAND             TX 77479‐3140
VAN AUKER, THERESA M               10869 RIDGE RD                                                                                      MEDINA                 NY 14103
VAN AUSDAL, DON R                  87 DODSON RD                                                                                        TROY                    ,P 63379‐5723
VAN AUSDAL, DONALD E               115 S POINT DR                                                                                      FAIRBORN               OH 45324‐2707
VAN AUSDAL, VIVIAN G               2476 KEMP RD                                                                                        DAYTON                 OH 45431‐3361
VAN AUSDALE IMAGE CENTER           220 CLINTON ST                                                                                      DEFIANCE               OH 43512‐2112
VAN BAEL & BELLIS                  165 AVENUE LOUISE                                                           BRUSSELS 1050 BELGIUM
VAN BAILEY                         800 W DANSVILLE RD                                                                                  MASON                 MI    48854‐9660
VAN BAIRD                          1383 GENELLA ST                                                                                     WATERFORD             MI    48328‐1340
VAN BATES                          2944 VESTAL RD                                                                                      YOUNGSTOWN            OH    44509‐1055
VAN BECELAERE LEONARD A (429975)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK               VA    23510
                                                                      STREET, SUITE 600
VAN BECELAERE, JOHN L              547 ANITA AVE                                                                                       GROSSE POINTE WOODS   MI    48236‐1412
VAN BEELEN, WILLIAM E              5655 W PRATT RD                                                                                     DEWITT                MI    48820‐9163
VAN BELLE, JAMES L                 41850 UTICA RD                                                                                      STERLING HTS          MI    48313‐3148
VAN BELLE, JILLIAN                 3207 FERRIS AVE                                                                                     ROYAL OAK             MI    48073‐3571
VAN BELLE, JOHN L                  36600 HIVELEY ST                                                                                    WESTLAND              MI    48186‐4000
VAN BELLE, JOHN M                  3166 STILLRIVER DR                                                                                  HOWELL                MI    48843‐7385
VAN BELLE, LA DONNA S              36600 HIVELEY ST                                                                                    WESTLAND              MI    48186‐4000
VAN BELLE, MARCEL J                38943 HARRISON DR                                                                                   STERLING HTS          MI    48310‐3208
VAN BELLE, NATHANIEL L             36600 HIVELEY ST                                                                                    WESTLAND              MI    48186‐4000
VAN BELLE, NEIL J                  5348 FERN AVE                                                                                       GRAND BLANC           MI    48439‐4327
VAN BELLE, PAUL J                  8991 TWIN LAKES DR                                                                                  WHITE LAKE            MI    48386‐2091
VAN BELOIS, GERALD H               5499 IRISH RD                                                                                       GRAND BLANC           MI    48439‐9754
VAN BENNEKOM, MARY M               358 HICKORY RIDGE DRIVE                                                                             SEBRING               FL    33876
VAN BENTHEM, PAUL J                4384 COUNTY ROAD 16                                                                                 CANANDAIGUA           NY    14424‐8348
VAN BENTHUSEN, DONALD L            2100 MEADOWLARK DR                                                                                  HARRISONVILLE         MO    64701‐2811
VAN BERGEN JOHN                    PO BOX 597878                                                                                       CHICAGO               IL    60659‐7878
VAN BEVEREN, GRACE                 259 GRANDVIEW                                                                                       GLEN ELLYN            IL    60137‐5529
VAN BEVEREN, GRACE                 259 GRANDVIEW AVE                                                                                   GLEN ELLYN            IL    60137‐5529
VAN BEVERN, ROBERT J               251 10TH ST                                                                                         SEBEWAING             MI    48759‐1102
VAN BIBBER JACOB                   VAN BIBBER, JACOB                  229 LAKE ST                                                      COUNCIL BLUFFS        IA    51503
VAN BIBBER JR, MORTON W            5230 ROBINVIEW COURT                                                                                HUBER HEIGHTS         OH    45424‐2568
VAN BIBBER, DAVID L                2013 S 900 E                                                                                        GREENTOWN             IN    46936‐9145
VAN BIBBER, DAVID R                1836 PEPPERMILL RD                                                                                  LAPEER                MI    48446‐3231
VAN BIBBER, JACOB                  3456 AVENUE E ST                                                                                    COUNCIL BLUFFS        IA    51501‐1807
VAN BIBBER, JACOB                  2024 N 102ND ST                                                                                     OMAHA                 NE    68134‐5522
VAN BIBBER, KENNETH R              320 VASSAR LN                                                                                       LAS VEGAS             NV    89107‐2487
VAN BIBBER, VIOLET S               PO BOX 46                                                                                           SHARPSVILLE           IN    46068‐0046
VAN BIBBER, WILLIAM A              126 TARRYTON COURT EAST                                                                             COLUMBUS              OH    43228‐6502
VAN BISE                           601 HOMESTEAD AVE                                                                                   OSSIAN                IN    46777‐9314
VAN BLADEL HILARIUS                ED. VANLANGENHOVESTRAAT 13/7                                                8670 KOKSIJDE BELGIUM
VAN BLAIR, LOUIS V                 13147 N STATE ROAD 13                                                                               ELWOOD                 IN   46036‐9132
VAN BLAIR, MARYLYN J               13976 S. KING RD R‐5                                                                                HOMER GLEN             IL   60491‐8509
                              09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                Part 37 of 40 Pg 877 of 901
Name                          Address1                       Address2                  Address3                Address4         City                  State Zip
VAN BLAIR, RUSSELL W          13976 S. KING RD R‐5                                                                              HOMER GLEN              IL 60491
VAN BLANKENSHIP               3571 PARAMOUNT ST                                                                                 FORT WORTH             TX 76117‐3331
VAN BLARCUM, JOSEPH W         832 LEEWARD AVE                                                                                   BEACHWOOD              NJ 08722‐2412
VAN BLARICUM, JAMES I         PO BOX 281                                                                                        TAYLORSVILLE           IN 47280‐0281
VAN BOCKEL, ESTHER L          60 MAGELLAN DR                                                                                    HOT SPRINGS VILLAGE    AR 71909‐8137
VAN BOCKEL, JACOB J           60 MAGELLAN DR                                                                                    HOT SPRINGS VILLAGE    AR 71909‐8137
VAN BOCXLAER, HENRY T         6885 DUTCH RD                                                                                     SAGINAW                MI 48609‐5278
VAN BORTLE, HAROLD R          446 PARMA CENTER RD                                                                               HILTON                 NY 14468‐9313
VAN BORTLE, JOHN J            PO BOX 132                     51 COLLEGE AVE                                                     NORTH GREECE           NY 14515‐0132
VAN BOVEN, CAROL K            1635 E DANA AVE                                                                                   MESA                   AZ 85204‐1315
VAN BOVEN, JAMES B            16 41ST ST SW                                                                                     GRAND RAPIDS           MI 49548‐3136
VAN BRERO, ALEXANDER T        PO BOX 9022                    GM DUBAI                                                           WARREN                 MI 48090‐9022
VAN BROCKLIN, LOLA MARIE      8786 N 7 MILE RD                                                                                  LAKE CITY              MI 49651‐9287
VAN BROWN                     2718 DAKOTA DR                                                                                    ANDERSON               IN 46012‐1412
VAN BROWN                     3468 LINGER LN                                                                                    SAGINAW                MI 48601‐5621
VAN BRUGGEN, CLAUDE           5881 N RIVERVIEW DR                                                                               KALAMAZOO              MI 49004‐1550
VAN BRUNT, DANIEL R           4718 52ND STREET SOUTH                                                                            FARGO                  ND 58104‐4319
VAN BRUNT, JAMES J            652 SCENIC RANCH CIR                                                                              FAIRVIEW               TX 75069‐1914
VAN BRUNT, KATHLYN A          652 SCENIC RANCH CIR                                                                              FAIRVIEW               TX 75069‐1914
VAN BUHLER, THOMAS C          162 WOODWARD AVE                                                                                  ROCHESTER              MI 48307‐1165
VAN BUREN BUICK PONTIAC GMC   2257 JERICHO TPKE                                                                                 GARDEN CITY PARK       NY 11040‐4707
VAN BUREN BUICK PONTIAC GMC   RICHARD VOLPE                  2257 JERICHO TPKE                                                  GARDEN CITY PARK       NY 11040‐4707
VAN BUREN CHARTER TOWN        46425 TYLER RD                                                                                    BELLEVILLE             MI 48111
VAN BUREN CHARTER TOWNSHIP    46425 TYLER RD                                                                                    BELLEVILLE             MI 48111‐5217
VAN BUREN COUNTY COLLECTOR    PO BOX 359                                                                                        CLINTON                AR 72031‐0359
VAN BUREN COUNTY TREASURER    219 E PAW PAW ST STE 101                                                                          PAW PAW                MI 49079‐1447
VAN BUREN COUNTY UNITED WAY   181 W MICHIGAN AVE STE 4                                                                          PAW PAW                MI 49079‐1432
VAN BUREN DENNY W SR          GLASSER & GLASSER              CROWN CENTER              580 E MAIN ST STE 600                    NORFOLK                VA 23510
VAN BUREN EDWARD (510609)     LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                            MIAMI                  FL 33143‐5163
VAN BUREN FIRE DEPARTMENT     46425 TYLER RD                                                                                    BELLEVILLE             MI 48111‐5217
VAN BUREN JR, O               364 S EUREKA AVE                                                                                  COLUMBUS               OH 43204
VAN BUREN TOWNSHIP            46425 TYLER RD                                                                                    BELLEVILLE             MI 48111‐5217
VAN BUREN TRUCK SALES CORP.   RICHARD VOLPE                  2257 JERICHO TPKE                                                  GARDEN CITY PARK       NY 11040‐4707
VAN BUREN W W                 22934 VALLEY VIEW TRL                                                                             ADEL                    IA 50003‐4439
VAN BUREN, BRIAN D            54287 ALGONQUIN DRIVE                                                                             SHELBY TWP             MI 48315‐1105
VAN BUREN, BRIAN DOUGLAS      54287 ALGONQUIN DRIVE                                                                             SHELBY TWP             MI 48315‐1105
VAN BUREN, CAMMIE L           LEE WILLIAM L JR               PO BOX 14047                                                       JACKSON                MS 39236‐4047
VAN BUREN, CAROL              3313 BUICK ST APT 13                                                                              FLINT                  MI 48505
VAN BUREN, CHRISTOPHER C      3776 PERCY KING RD                                                                                WATERFORD              MI 48329‐1361
VAN BUREN, DARRIN J           12928 MASTERS RD                                                                                  RILEY                  MI 48041‐2310
VAN BUREN, DONIELLE R         APT 201                        10925 BLUFFSIDE DRIVE                                              STUDIO CITY            CA 91604‐3311
VAN BUREN, DONIELLE RENEE     APT 201                        10925 BLUFFSIDE DRIVE                                              STUDIO CITY            CA 91604‐3311
VAN BUREN, EDWARD             THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD   SUITE 44                                 CORAL GABLES           FL 33146
VAN BUREN, EDWARD             LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                            MIAMI                  FL 33143‐5163
VAN BUREN, GLENN W            12838 MASTERS RD                                                                                  RILEY                  MI 48041‐2308
VAN BUREN, JAMES H            97 SHORELINE DR                                                                                   HILTON HEAD ISLAND     SC 29928‐7139
VAN BUREN, KENNETH J          APT F                          3360 EWINGS ROAD                                                   LOCKPORT               NY 14094‐1042
VAN BUREN, KURT E             487 CAMBRIDGE WAY                                                                                 BLOOMFIELD HILLS       MI 48304‐3815
VAN BUREN, LARRY D            APT 201                        10925 BLUFFSIDE DRIVE                                              STUDIO CITY            CA 91604‐3311
VAN BUREN, LARRY DARNELL      APT 201                        10925 BLUFFSIDE DRIVE                                              STUDIO CITY            CA 91604‐3311
VAN BUREN, LINDA              46875 SPRUCE DRIVE                                                                                SHELBY TWP             MI 48315‐5161
VAN BUREN, LOUVENIA R         18530 GLENWOOD BLVD                                                                               LATHRUP VILLAGE        MI 48076‐7003
                               09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                     Part 37 of 40 Pg 878 of 901
Name                           Address1                           Address2                      Address3                      Address4         City            State Zip
VAN BUREN, PAMELA T            3764 CLEMENTS                                                                                                   DETROIT          MI 48238
VAN BUREN, PERCY J             3391 WILLIAMSBURG RD                                                                                            ANN ARBOR        MI 48108‐2029
VAN BUREN, ROBERT W            2209 FRASER ST                                                                                                  BAY CITY         MI 48708‐8631
VAN BUREN, WILLIE D            3375 N LINDEN RD APT 138                                                                                        FLINT            MI 48504‐5722
VAN BUREN, WILSON F            645 S MARIAS AVE                                                                                                CLAWSON          MI 48017‐1892
VAN BUREN, WILSON FRED         645 S MARIAS AVE                                                                                                CLAWSON          MI 48017‐1892
VAN BURNS                      60 W BURDICK ST                                                                                                 OXFORD           MI 48371‐4611
VAN BUSH                       2434 MANOR RD                                                                                                   AU GRES          MI 48703‐9416
VAN BUSKIRK JAMES E (494285)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA 23510
                                                                  STREET, SUITE 600
VAN BUSKIRK, BRUCE L           1901 N E ST                                                                                                     ELWOOD          IN   46036‐1334
VAN BUSKIRK, BURTON E          9430 COLUMBIA RD                                                                                                OLMSTED FALLS   OH   44138‐2433
VAN BUSKIRK, CAROL A           2800 S GLASS ST                                                                                                 SIOUX CITY      IA   51106‐3308
VAN BUSKIRK, DONNA MAE         2958 HARTUN DR                                                                                                  BRIGHTON        MI   48114‐7519
VAN BUSKIRK, DOROTHY           200 LAUREL LAKE DR APT W122                                                                                     HUDSON          OH   44236‐2161
VAN BUSKIRK, GRANT B           200 LAUREL LAKE DR APT W122                                                                                     HUDSON          OH   44236‐2161
VAN BUSKIRK, JAMES E           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                  NORFOLK         VA   23510
                                                                  STREET, SUITE 600
VAN BUSKIRK, JERALD J          5159 SCHEUNERS WAY                                                                                              HOWELL          MI   48843‐7877
VAN BUSKIRK, JOHN L            2455 WEBSTER ST                                                                                                 LANSING         MI   48911‐4558
VAN BUSKIRK, LAWRENCE          1149 MANCHESTER DR                                                                                              BROWNSBURG      IN   46112‐7704
VAN BUSKIRK, LEONA E           1452 FLANDERS DR                                                                                                SAGINAW         MI   48604‐1061
VAN BUSKIRK, WILLIAM C
VAN C HUNT                     3957 ALVIN AVE                                                                                                  DAYTON          OH 45408‐2309
VAN CAMP JOHN (652489)         (NO OPPOSING COUNSEL)
VAN CAMP, ANSON                2975 TERRACE DR                    #113A                                                                        LAS CRUCES      NM   88011
VAN CAMP, BEVERLY J            24650 ANNAPOLIS                                                                                                 DEARBORN HTS    MI   48125‐1806
VAN CAMP, DAVID A              59 COLONIAL AVE                                                                                                 TRENTON         NJ   08610‐3611
VAN CAMP, DEBRA A              5361 E 450 S                                                                                                    WHITESTOWN      IN   46075‐9564
VAN CAMP, DONNA J              2908 WOODMAN DR                                                                                                 KETTERING       OH   45420‐1326
VAN CAMP, HOWARD E             20009 VANOWEN ST                                                                                                CANOGA PARK     CA   91306‐3933
VAN CAMP, JOHN                 C/O ZAMLER                         ADVANCE BUILDING              23077 GREENFIELD RD STE 557                    SOUTHFIELD      MI   48075‐3727

VAN CAMP, LEON M               243 KEARSARGE ST                                                                                                LAURIUM         MI   49913‐2109
VAN CAMP, MARION E             7200 E HOLLY RD                                                                                                 HOLLY           MI   48442‐9787
VAN CAMP, MICHAEL A            5184 VAN VLEET RD                                                                                               SWARTZ CREEK    MI   48473‐8526
VAN CAMP, R WAYNE              34 MAE DR                                                                                                       YARDVILLE       NJ   08620‐2950
VAN CAMP, RICHARD A            35 S HACKER RD                                                                                                  BRIGHTON        MI   48114‐8752
VAN CAMP, TAFT V               5256 E STANLEY RD                                                                                               FLINT           MI   48506‐1117
VAN CAMP, WANDA E              2515 WICKES RD                                                                                                  WEST BRANCH     MI   48661‐9678
VAN CAMP, WAYNE W              5650 BAYONNE AVE                                                                                                HASLETT         MI   48840‐9759
VAN CASSELE, HARRY E           806 STONEYBROOK TRL                                                                                             HOLLEY          NY   14470‐9411
VAN CHEVROLET                  1700 SOUTH I‐35E                                                                                                CARROLLTON      TX   75006
VAN CHEVROLET                                                                                                                                  SCOTTSDALE      AZ   85260‐1901
VAN CHEVROLET                  8585 E FRANK LLOYD WRIGHT BLVD                                                                                  SCOTTSDALE      AZ   85260‐1901
VAN CHEVROLET II, LP           CECIL VAN TUYL                     1700 SOUTH I‐35E                                                             CARROLLTON      TX   75006
VAN CHEVROLET INC MIKE         PO BOX 99                                                                                                       BAY MINETTE     AL   36507‐0099
VAN CHEVROLET‐CADILLAC, INC.   CECIL VAN TUYL                     100 NW VIVION RD                                                             KANSAS CITY     MO   64118‐4539
VAN CHEVROLET‐CADILLAC, INC.                                                                                                                   KANSAS CITY     MO   64118‐4539
VAN CHEVROLET‐CADILLAC, INC.   100 NW VIVION RD                                                                                                KANSAS CITY     MO   64118‐4539
VAN CLEAVE, DONALD             500 CUMMINGS LN N                                                                                               KEIZER          OR   97303‐5852
VAN CLEAVE, DOYLE              35117 WILLIS ST                                                                                                 CLINTON TWP     MI   48035‐2885
                               09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
                                                                 Part 37 of 40 Pg 879 of 901
Name                           Address1                           Address2                     Address3                  Address4         City               State Zip
VAN CLEAVE, GREGORY K          16282 HEMLOCK DR                                                                                           SPRING LAKE         MI 49456‐9737
VAN CLEAVE, HAFFORD T          101 FIELDMONT DR                                                                                           PADUCAH             KY 42003‐9419
VAN CLEAVE, JOEL R             4250 SARATOGA AVE APT L211                                                                                 DOWNERS GROVE        IL 60515‐1943
VAN CLEAVE, RICHARD A          4201 SHARON WAY                                                                                            SARASOTA            FL 34232‐3941
VAN CLEAVE, RICHARD A          308 S CHERYL DR                                                                                            MUNCIE              IN 47304
VAN CLEAVE, ROBERTA J          19303 N NEW TRADITION RD APT 331                                                                           SUN CITY WEST       AZ 85375‐3858
VAN CLEAVE, THOMAS H           11896 SE 179TH ST                                                                                          SUMMERFIELD         FL 34491‐8016
VAN CLEVE, BRIAN P             S14 W31860 HIGH MEADOW L                                                                                   DELAFIELD           WI 53018
VAN CLEVE, DAVID H             6573 GRAND CIRCLE DRIVE                                                                                    BRIGHTON            MI 48116‐9497
VAN CLEVE, JOHN L              205 COX BLVD                                                                                               LANSING             MI 48910‐7434
VAN CLEVE, MICHELLE M          6573 GRAND CIRCLE DR                                                                                       BRIGHTON            MI 48116‐9497
VAN CLEVE, NORMAN L            8647 WINCHESTER DR                                                                                         STERLING HTS        MI 48313‐3166
VAN COLLIE, EVELYN             10329 BELLWOOD AVE                                                                                         NEW PORT RICHEY     FL 34654‐5915
VAN CON INC                    2109 BISHOP CIR E                  PO BOX 309                                                              DEXTER              MI 48130‐1565
VAN CONANT, MAXINE E           1015 E LINCOLN ST APT 19                                                                                   EAST TAWAS          MI 48730‐1679
VAN CONET, LYLIA M             3117 MALONEY ST                                                                                            LANSING             MI 48911‐1802
VAN CONETT, MARY F             3818 APOLLO DR                                                                                             MIDLAND             MI 48642‐6085
VAN CONETT, MARY F             3818 APOLLO                                                                                                MIDLAND             MI 48642‐6085
VAN CONETT, SILVESTRA          2020 VERNON ST                                                                                             SAGINAW             MI 48602‐1901
VAN COPELAND                   PO BOX 245                                                                                                 YOUNGSTOWN          OH 44501‐0245
VAN COPPENOLLE, FRANK J        34142 COACHWOOD DR                                                                                         STERLING HTS        MI 48312‐5618
VAN COPPENOLLE, FRANK JOSEPH   34142 COACHWOOD DR                                                                                         STERLING HTS        MI 48312‐5618
VAN COTT, PETER                12389 AVENIDA CONSENTIDO                                                                                   SAN DIEGO           CA 92128‐3284
VAN COTT, SUSAN L              12389 AVENIDA CONSENTIDO                                                                                   SAN DIEGO           CA 92128‐3284
VAN COTT, VIRGINIA MARIE       29138 LORIKAY ST                                                                                           FARMINGTON HILLS    MI 48334‐2842
VAN CURA SR, EDWARD L          1186 STATE ROUTE 97                                                                                        LEXINGTON           OH 44904‐9320
VAN CURA SR, EDWARD LEE        1186 STATE ROUTE 97                                                                                        LEXINGTON           OH 44904‐9320
VAN CURA, CAROLE A             422 LAGUNA TER                                                                                             SIMI VALLEY         CA 93065‐5313
VAN CURA, CAROLE A             422 LAGUNA TERRACE                                                                                         SIMI VALLEY         CA 93065‐5313
VAN CURA, DAVID                PO BOX 212                                                                                                 BROWN CITY          MI 48416‐0212
VAN CURA, DONALD               133 LAW ST                                                                                                 LAPEER              MI 48446‐2175
VAN CURA, ROBERT L             5448 PINE KNOB ESTATES DR                                                                                  NORTH BRANCH        MI 48461‐8285
VAN CUREN, ORVILLE E           14522 10TH AVE                                                                                             REMUS               MI 49340‐9786
VAN CURLER, DOUGLAS G          1400 COUNTY ROAD 17A N LOT 2                                                                               AVON PARK           FL 33825‐8814
VAN D COPELAND                 PO BOX 245                                                                                                 YOUNGSTOWN          OH 44501‐0245
VAN D NELSON                   2823 BEAL ST. NW                                                                                           WARREN              OH 44485‐1209
VAN DAHM, JAMES A              627 LYNN AVE                                                                                               ROMEOVILLE           IL 60446‐1237
VAN DAHM, JANET M              PO BOX 7122                                                                                                ROMEOVILLE           IL 60446‐7022
VAN DALEN, DAVID L             44520 WEAR RD                                                                                              BELLEVILLE          MI 48111‐9703
VAN DALEN, DAVID LEWIS         44520 WEAR RD                                                                                              BELLEVILLE          MI 48111‐9703
VAN DALEN, VINCENT C           10123 DODGE RD                     C/O JERRY D BURTON                                                      OTISVILLE           MI 48463‐9765
VAN DAM & KRISINGA BUILDING    FOR ACCT OF TOM TINSLEY
VAN DAM IRON WORKS INC         1813 CHICAGO DR SW                                                                                         GRAND RAPIDS       MI   49519‐1208
VAN DAM, ANN G                 1951 N 64TH ST UNIT 33                                                                                     MESA               AZ   85205‐3621
VAN DAM, BENJAMIN V            935 S SITTING ROCK PT                                                                                      HOMOSASSA          FL   34449‐1176
VAN DAM, BENJAMIN V            935 SOUTH SITTING ROCK POINT                                                                               HOMOSASSA          FL   34448‐1176
VAN DAMME, AARON P             14244 DRUMRIGHT DR                                                                                         STERLING HEIGHTS   MI   48313‐4320
VAN DAMME, JANET               14761 CROFTON DR                                                                                           SHELBY TWP         MI   48315
VAN DE BOGERT, DIANA L         37 WEST ST APT 201                                                                                         ELKHORN            WI   53121‐1557
VAN DE CAR JILL                VAN DE CAR, JILL                   USAA PROPERTY AND CASUALTY   9800 FREDERICKSBURG RD.                    SAN ANTONIO        TX   78288
VAN DE CAR, JILL               USAA PROPERTY AND CASUALTY         9800 FREDERICKSBURG RD                                                  SAN ANTONIO        TX   78288‐0001
VAN DE GEEST, MARGARET A       14866 EUCLID AVE                                                                                           ALLEN PARK         MI   48101‐2930
                                 09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                    Part 37 of 40 Pg 880 of 901
Name                             Address1                         Address2                       Address3   Address4               City              State Zip
VAN DE GIENSTE, GERARD           12353 WINDCLIFF                                                                                   DAVISBURG          MI 48350‐1678
VAN DE GRAAF, ELIZABETH P        22558 CENTER ST                                                                                   HAYWARD            CA 94541‐3206
VAN DE MAELE, CHRISTEL           D'UITSEWEG                                                                 9320 EREVIBDEGEM
                                                                                                            BELGIUM
VAN DE NORTH, ELEANOR R          1972 HIGHLAND AVENUE                                                                              NORTHBROOK        IL   60062‐5020
VAN DE SANDE, IRENE              PO BOX 203                                                                                        BANCROFT          MI   48414‐0203
VAN DE SANDE, JEROME C           123 QUAKER DR                    C/O SUSAN J KRUSE                                                ELIZABETH CITY    NC   27909‐9105
VAN DE VELDE, JAMES S            48075 TONAWONDA DR                                                                                MACOMB            MI   48044‐5612
VAN DE VELDE, OSCAR F            28050 LOIS DR                                                                                     TAVARES           FL   32778‐9639
VAN DE VUSSE, ALLEN E            5012 APPLEWOOD DR                                                                                 LANSING           MI   48917‐1503
VAN DE VUSSE, DAVID N            2320 CAWDOR CT                                                                                    LANSING           MI   48917‐5135
VAN DE WALKER JR, CARL W         305 ORCHARD ST                                                                                    MORENCI           MI   49256‐1433
VAN DE WALKER, DAVID L           12305 N SHERMAN LAKE DR                                                                           AUGUSTA           MI   49012‐9281
VAN DE WARKER, DONALD N          11245 BLACKJACK OAK DR                                                                            JACKSONVILLE      FL   32225‐2319
VAN DE WATER, MARISA E           6308 COVERED WAGONS TRL                                                                           FLINT             MI   48532‐2113
VAN DE WATER, MARISA ELIZABETH   6308 COVERED WAGONS TRL                                                                           FLINT             MI   48532‐2113
VAN DE WATER, NORMA S.           2100 WIND WILLOW WAY APT‐1       BLUEBERRY HILL                                                   ROCHESTER         NY   14624‐6102
VAN DE WATER, RICHARD G          6308 COVERED WAGONS TRL                                                                           FLINT             MI   48532‐2113
VAN DE WATER, RICHARD GLENN      6308 COVERED WAGONS TRL                                                                           FLINT             MI   48532‐2113
VAN DE WEGE I I I, JAMES         562 CLAN ALPINE ST                                                                                PLAINWELL         MI   49080‐1016
VAN DELLEN, CHARLES J            2380 AURORA POND DR SW APT 115                                                                    WYOMING           MI   49519‐9670
VAN DELLEN, TODD A               8717 GRAND RIVER AVE                                                                              SARANAC           MI   48881‐9821
VAN DEMARK, BETTY L              515 E CAREFREE HWY #117                                                                           PHOENIX           AZ   85085
VAN DEN ABEELE, JULIAN           305 MOSLEY ST                                                                                     LANSING           MI   48906‐4141
VAN DEN BERGH FOODS              2200 CABOT DRIVE                                                                                  LISLE             IL   60532
VAN DEN BOOM, WAYNE J            46347 FRANKS LN                                                                                   SHELBY TWP        MI   48315‐5309
VAN DEN BOSSCHE LEONCE           ROUTE DE PETIT ROEULX 65                                                   7090 BRAINE LE COMTE
                                                                                                            BELGIQUE
VAN DEN BRINK, RAY               10080 E COUNTY ROAD 500 S                                                                         CROTHERSVILLE     IN   47229‐9772
VAN DEN DRIESSCHE, HENRY J       2892 JORDAN RD                                                                                    FREEPORT          MI   49325‐9720
VAN DEN DRIESSCHE, HENRY J.      2892 JORDAN RD                                                                                    FREEPORT          MI   49325‐9720
VAN DEN HEUVEL, MARVIN A         605 SHADY BEACH RD                                                                                NORTH EAST        MD   21901‐4904
VAN DENBERGH, DAVID A            41 DUNLOP AVE                                                                                     TONAWANDA         NY   14150‐7808
VAN DENBUSSCHE, DONALD H         PO BOX 317                                                                                        ALGONAC           MI   48001‐0317
VAN DENMARK AND LYNCH, INC.      311 WEST 12TH STREET                                                                              WILMINGTON        DE   19801
VAN DENMARK AND LYNCH, INC.      ATTN: FRANK T. LYNCH             4305 MILLER RD                                                   WILMINGTON        DE   19802‐1901
VAN DEPITTE, GERTRUDE G          625 E ELM ST                                                                                      UNION CITY        IN   47390‐1721
VAN DER BOS, RALPH H             630 SOUTHLAND AVE                                                                                 PORTAGE           MI   49024‐2773
VAN DER BOS, ROSS L              11990 GRANT RD                                                                                    CARSON CITY       MI   48811‐9424
VAN DER BOS, THELMA              2317 OHIO AVE                                                                                     FLINT             MI   48506‐3878
VAN DER BYL, GRACE PRICE,        SWAIM MICHAEL T                  14300 CORNERSTONE VILLAGE DR                                     HOUSTON           TX   77014‐1249
                                                                  STE 300
VAN DER CAMMEN, RANDALL          6638 DARTMOOR DR                                                                                  FLOWERY BRANCH    GA   30542‐6619
VAN DER GOORE, RICHARD T         50445 KAYLA #2 BLDG 1                                                                             NEW BALTIMORE     MI   48047
VAN DER HARST, MITZI A           45279 UNIVERSAL CT                                                                                SHELBY TOWNSHIP   MI   48317‐4942
VAN DER HEIJDEN, THERESIA        6907 CHRISTMAS LN SW                                                                              GRAND RAPIDS      MI   49548‐7902
VAN DER KOLK, MARVIN             3108 OTTOGAN ST                                                                                   HUDSONVILLE       MI   49426‐9620
VAN DER LAAG, LUCILE I           623 PERRY CREEK DR                                                                                GRAND BLANC       MI   48439‐1478
VAN DER LAAN, MAYOLA J           260 SOMERSET CT                                                                                   NEW LENOX         IL   60451‐2063
VAN DER MEER, JACK L             4302 W JOY RD                                                                                     SHELBYVILLE       MI   49344‐9425
VAN DER MEIREN, ROBERT G         1410 HARDING AVE                                                                                  LINDEN            NJ   07036‐4716
VAN DER MOERE, WANDA J           184 EAST RD APT 133                                                                               DIMONDALE         MI   48821‐8797
                                      09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
                                                                        Part 37 of 40 Pg 881 of 901
Name                                  Address1                        Address2                         Address3   Address4             City            State Zip
VAN DER REYDEN, JOHN C                6G VICTORIA PARK                                                            SCOTLAND UNITED
                                                                                                                  KINGDOM KA72TR
VAN DER VEN ANTON                     2300 HAYWARD STREET RM 2018     DEPT OF MATERIALS SCIENCE & EN                                   ANN ARBOR        MI 48109

VAN DER WARF, KENNETH L               3107 68TH STW                                                                                    CALEDONIA       MI    49316
VAN DERAA, JEREMY J                   11477 AUGUST LN                                                                                  FREELAND        MI    48623‐8412
VAN DERLOOVEN, JOSEPH E               714 ASH ST                                                                                       ESSEXVILLE      MI    48732‐1501
VAN DERMOON, LOUIS H                  14513 CALUSA PALMS DR                                                                            FORT MYERS      FL    33919‐7772
VAN DERSCHRIER, JOHN P                5324 W PARK DR                                                                                   NORTH OLMSTED   OH    44070‐3013
VAN DERVEER TIRE&SERVICE CENTER       357 W MAIN ST                                                                                    FREEHOLD        NJ    07728‐2517
VAN DERWORP, MARY J                   4256 HUNTERS CIR E                                                                               CANTON          MI    48188‐2355
VAN DETTE JR, RALPH J                 282 INDIAN LAKES RD NW                                                                           SPARTA          MI    49345‐9509
VAN DETTE, MARJORIE A                 10221 TENNESSEE ST                                                                               OSCODA          MI    48750‐1905
VAN DEUSEN, BERTHA C                  75 REIMER RD                                                                                     WADSWORTH       OH    44281‐8425
VAN DEUSEN, DALE M                    1150 LEDGE RD                                                                                    MEDINA          OH    44256‐9266
VAN DEUSEN, DONALD M                  15055 BRET DR                                                                                    FENTON          MI    48430‐1555
VAN DEUSEN, DOUGLAS                   17 LUMAR VLG APT B                                                                               BUTLER          PA    16001‐4457
VAN DEUSEN, JAMES C                   76 SALEM CT                                                                                      HINCKLEY        OH    44233‐9679
VAN DEUSEN, JANET R                   1681 E HARBOUR TOWNE CIR                                                                         MUSKEGON        MI    49441‐6409
VAN DEUSEN, JOHN W                    12475 SEYMOUR RD                                                                                 BURT            MI    48417‐9704
VAN DEUSEN, JOHN WAYNE                12475 SEYMOUR RD                                                                                 BURT            MI    48417‐9704
VAN DEUSEN, P M                       2093 N HOLLISTER RD                                                                              OVID            MI    48866‐8659
VAN DEUSEN, RODNEY R                  PO BOX 361                                                                                       OVID            MI    48866‐0361
VAN DEVENDER, EMMA J                  8625 SW 60TH CIRCLE                                                                              OCALA           FL    34476‐8500
VAN DEVENDER, PAUL H                  8625 SW 60TH CIR                                                                                 OCALA           FL    34476‐8500
VAN DEVENTER BEATRICE                 3177 MERIDIAN PARKE DR                                                                           GREENWOOD       IN    46142‐9629
VAN DEVENTER JR, JOSEPH K             12645 N PALMYRA RD                                                                               NORTH JACKSON   OH    44451‐9727
VAN DEVENTER, DAVID C                 3851 E EATON HWY                                                                                 SUNFIELD        MI    48890‐9786
VAN DEVENTER, FOREST T                8785 CORDWOOD TRL                                                                                CHEBOYGAN       MI    49721‐8620
VAN DEVENTER, ROBERT G                18335 PIERS END DR                                                                               NOBLESVILLE     IN    46062‐6748
VAN DEVERE CHEVROLET                  1490 VERNON ODOM BLVD                                                                            AKRON           OH    44320‐4026
VAN DEVERE PONTIAC BUICK OLDSMOBILE   300 W MARKET ST                                                                                  AKRON           OH    44303‐2142

VAN DEVERE PONTIAC BUICK OLDSMOBILE MICHAEL VAN DEVERE                300 W MARKET ST                                                  AKRON           OH 44303‐2142

VAN DEVERE, INC.                      MICHAEL VAN DEVERE              300 W MARKET ST                                                  AKRON           OH    44303‐2142
VAN DEVERE, INC.                      MICHAEL VAN DEVERE              1490 VERNON ODOM BLVD                                            AKRON           OH    44320‐4026
VAN DEWATER, DANNY L                  10312 E POTTER RD                                                                                DAVISON         MI    48423‐8163
VAN DEWATER, DANNY LEE                10312 E POTTER RD                                                                                DAVISON         MI    48423‐8163
VAN DICK, NORMAN E                    6 LAVENDER LN                                                                                    CHEEKTOWAGA     NY    14225‐5521
VAN DIEPEN, RONALD W                  5118 BIRKDALE DR                                                                                 ANN ARBOR       MI    48103‐9731
VAN DIGBY                             403 N KIESEL ST                                                                                  BAY CITY        MI    48706‐4317
VAN DINE, ETHEL L                     8719 MEADOWCREEK DR                                                                              CENTERVILLE     OH    45458‐3359
VAN DINE, JEFFERY                     1105 12TH STREET TRAIL 23                                                                        MOUNDSVILLE     WV    26041‐2486
VAN DINEN, WAYNE W                    1239 OCEAN SHORE BLVD APT 7A1                                                                    ORMOND BEACH    FL    32176‐3691
VAN DITTEN ET FLOOD, P.C.             J. L. VAN DITTEN                1420 HANLEY INDUSTRIAL CT.                                       ST. LOUIS       MO    63144
VAN DIVER, MARIETTA C                 17401 BELDEN ST                                                                                  DETROIT         MI    48221‐2701
VAN DOLSEN STEPHEN                    525 E 72ND ST APT 6C                                                                             NEW YORK        NY    10021‐9603
VAN DONGEN ENGINEERING BV             BEEMDSTRAAT 5                   5711 CV SOMEREN                             SOMEREN 5711
                                                                                                                  NETHERLANDS
VAN DONGEN, NICOLE E                  4136 CONNE MARA LN                                                                               WATERFORD        MI 48329‐1607
VAN DONGEN, WAYNE L                   2430 HOLLY AVE                                                                                   PORTAGE          MI 49024‐6707
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
                                                                         Part 37 of 40 Pg 882 of 901
Name                                Address1                          Address2                        Address3   Address4                City              State Zip
VAN DOORN, DORIS J                  3441 INNSBROOK DR                                                                                    ROCHESTER HLS      MI 48309‐1222
VAN DOORNE, RUTH A                  930 EDISON AVE NW RM 208                                                                             GRAND RAPIDS       MI 49504‐3985
VAN DOORNE/NETHERLAN                DR HUB VAN DOORNEWEG 120          P.O. BOX 500                               TILBURG NT 5026
                                                                                                                 NETHERLANDS
VAN DORN, ELIZABETH W                1201 S HENRY ST                                                                                     BAY CITY          MI   48706‐5133
VAN DORN, ELIZABETH W                1201 S HENRY                                                                                        BAY CITY          MI   48706‐5133
VAN DORN, JEFFERY S                  5231 BANTRY DR                                                                                      W BLOOMFIELD      MI   48322‐1534
VAN DORN, KENNETH E                  N3297 BUCKHORN RD                                                                                   WETMORE           MI   49895‐9035
VAN DORP, HARRIET                    8563 ELKWOOD SW                                                                                     BYRON CENTER      MI   49315‐9723
VAN DORP, JOHN                       8563 ELKWOOD ST SW                                                                                  BYRON CENTER      MI   49315‐9723
VAN DORPE, PAMELA R                  7206 S COCHRAN RD                                                                                   CHARLOTTE         MI   48813‐9113
VAN DORPE, RONALD                    743 BONNIE ST                                                                                       CHARLOTTE         MI   48813‐1707
VAN DOUSER DONALD                    531 DORCHESTER DR                                                                                   DIMONDALE         MI   48821‐8704
VAN DOVER, JOHN J                    1 NEWPORT ST                                                                                        BARNEGAT          NJ   08005‐3349
VAN DRESE, CLAYTON J                 9062 STAGECOACH AVE              APT . Q‐5                                                          GLADSTONE         MI   49837
VAN DRESE, DARYL L                   3029 GLENSTONE DR                                                                                   COLUMBIA          TN   38401‐5986
VAN DRESS MICHAEL G (661546)         LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                       HOUSTON           TX   77069
VAN DRESS, MICHAEL G                 LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                                       HOUSTON           TX   77069
VAN DRESSER CORP WESTLAND            DEBTOR IN POSSESSION             1515 NEWBUEGH RD                                                   WESTLAND          MI   48185
VAN DRESSER CORPORATION              DEBTOR IN POSSESSION             PO BOX 641182                                                      DETROIT           MI   48264‐0001
VAN DRIES MICHAEL                    VAN DRIES, MICHAEL               206 S 2ND ST                                                       RICHMOND          TX   77469‐3128
VAN DRIES MICHAEL                    VAN DRIES, TERRI                 206 S 2ND ST                                                       RICHMOND          TX   77469‐3128
VAN DRIESSCHE, EDWARD A              7235 HARBOR DR                                                                                      PENTWATER         MI   49449‐9304
VAN DRIESSCHE, LAWRENCE J            1575 SWARTZ RD                                                                                      TURNER            MI   48765‐9773
VAN DRIESSCHE, RONALD                1551 MUNGER RD                                                                                      BAY CITY          MI   48708‐9627
VAN DRIESSCHE, W                     2424 DEWYSE RD                                                                                      BAY CITY          MI   48708‐9125
VAN DUBE, ANTOINETTE C               7500 LONGACRE ST                                                                                    DETROIT           MI   48228‐3539
VAN DUBE, BRYAN F                    7500 LONGACRE ST                                                                                    DETROIT           MI   48228‐3539
VAN DUERM, JOSEPH M                  1809 PADDOCK CT                                                                                     NAPERVILLE        IL   60565‐2846
VAN DUINE, GARY J                    8520 W BOWENS MILLS RD                                                                              MIDDLEVILLE       MI   49333‐8602
VAN DUINE, PAULA G                   10445 BAKER AVE SE                                                                                  ALTO              MI   49302‐9178
VAN DULMAN JOSEPH FREDERICK (496940) BARON & BUDD                     PLAZA SOUTH TWO ‐ SUITE 200 ‐                                      CLEVELAND         OH   44130
                                                                      7261 ENGLE ROAD
VAN DULMAN, JOSEPH FREDERICK        BARON & BUDD                      PLAZA SOUTH TWO ‐ SUITE 200 ‐                                      CLEVELAND         OH 44130
                                                                      7261 ENGLE ROAD
VAN DUNK, MARIAN LEE                2746 HILLCREST AVE                                                                                   SHREVEPORT        LA   71108‐4330
VAN DUSEN III, HENRY J              837 DUMONT PL                                                                                        ROCHESTER HILLS   MI   48307‐3361
VAN DUSEN, DOROTHY                  65 N DEAN ST                      C/O J. L. VAN HORNE III                                            ENGLEWOOD         NJ   07631‐2805
VAN DUSEN, GENE K                   166 WOLCOTT AVE                                                                                      ROCHESTER         NY   14606‐3919
VAN DUSEN, GLORIA B                 198 PALM VIEW DR                                                                                     NAPLES            FL   34110‐5708
VAN DUSEN, JACK                     198 PALM VIEW DR                                                                                     NAPLES            FL   34110‐5708
VAN DUSEN, JANET R                  2947 119TH ST                                                                                        TOLEDO            OH   43611‐2716
VAN DUSEN, JAY T                    3658 SAINT MORITZ ST NW                                                                              GRAND RAPIDS      MI   49544‐9453
VAN DUSEN, KERRY H                  2564 MUELLER RD                                                                                      ORION             MI   48359‐1556
VAN DUSEN, LAWRENCE J               9688 PEER RD                                                                                         SOUTH LYON        MI   48178‐8121
VAN DUSEN, LINDA D                  920 PARK DR                                                                                          BROOKLYN          MI   49230
VAN DUSEN, LORETTA M                50785 JEFFERSON AVE APT 335                                                                          NEW BALTIMORE     MI   48047‐4370
VAN DUSEN, RICHARD E                PO BOX 53                                                                                            ATLAS             MI   48411‐0053
VAN DUSKY, CATHERINE A              13 MARY AVE                                                                                          FORDS             NJ   08863‐1712
VAN DUSKY, CATHERINE A              13 MARY AVENUE                                                                                       FORDS             NJ   08863‐1712
VAN DUYN, PAUL D                    41 TOWER RD                                                                                          ANDERSON          IN   46011‐1749
VAN DUYN, SUSAN K                   3124 PARK WEST CT                                                                                    JENISON           MI   49428‐8636
                               09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                 Part 37 of 40 Pg 883 of 901
Name                           Address1                       Address2                          Address3                Address4         City              State Zip
VAN DUYN, SUSAN KAY            3124 PARK WEST CT                                                                                         JENISON            MI 49428‐8636
VAN DUYN, VIRGINIA E           1070 W JEFFERSON ST                                                                                       FRANKLIN           IN 46131‐2179
VAN DUYNE EUGENE (ESTATE OF)   OBRIEN LAW FIRM                211 NORTH BROADWAY ‐ SUITE 1500                                            ST LOUIS           MO 63102

VAN DUYNE, EUGENE              OBRIEN LAW FIRM                1 METROPOLITAN SQ STE 1500                                                 SAINT LOUIS       MO   63102‐2799
VAN DUYNE, MARY E              13002 LOCKMOOR DR                                                                                         GRAND BLANC       MI   48439‐1551
VAN DUYNE, ROBERT J            13002 LOCKMOOR DR                                                                                         GRAND BLANC       MI   48439‐1551
VAN DUYNE, RUTH E              1950 CALLE BARCELONA           APT 148                           C/O GLENVIEW ASSISTED                    CARLSBAD          CA   92009
                                                                                                LIVING
VAN DYCK, FLORENT J            3116 HIDDEN LAKE DR                                                                                       WOODSTOCK         IL   60098‐9608
VAN DYK, ANGELA T              7403 PINE MANOR DR                                                                                        GRAND LEDGE       MI   48837‐9139
VAN DYK, ANTHONY W             7347 SUNSET AVE                                                                                           JENISON           MI   49428‐8962
VAN DYK, CAROL L               9127 E ENSIGN CT                                                                                          HESPERIA          MI   49421‐8579
VAN DYK, TAMMY S.              105 W 1ST AVE                                                                                             PLAINWELL         MI   49080‐1294
VAN DYKE DEBRA                 PO BOX 1144                                                                                               ABINGDON          VA   24212‐1144
VAN DYKE DODGE/WARRN           28400 VAN DYKE AVE                                                                                        WARREN            MI   48093‐7133
VAN DYKE JR, WILLIAM L         113 MOUNTAIN HILL CT                                                                                      FORTSON           GA   31808‐7413
VAN DYKE JR., EARLE            C/O UNISTAFF INC               671 E BIG BEAVER                  SUITE 201                                TROY              MI   48083
VAN DYKE MEDICAL CTR           624 E 9 MILE RD                                                                                           HAZEL PARK        MI   48030‐1842
VAN DYKE, AARON R              1092 STABLE LN                                                                                            SOUTH LYON        MI   48178‐5318
VAN DYKE, ALLEN L              21 GERTRUDE DR                                                                                            SUMTER            SC   29150‐2647
VAN DYKE, CARMEN R             16051 LAKE POINT DR                                                                                       SPRING LAKE       MI   49456‐1423
VAN DYKE, CHARLES E            3839 LINDLEY CIR                                                                                          POWDER SPRINGS    GA   30127‐2707
VAN DYKE, CHARLOTTE A          4121 LAHMEYER RD APT 62                                                                                   FORT WAYNE        IN   46815‐5674
VAN DYKE, DALLIS L             1150 ROSEBERRY LN                                                                                         CLIO              MI   48420‐1727
VAN DYKE, EARLE                3394 ADAMS SHORE DR                                                                                       WATERFORD         MI   48329‐4283
VAN DYKE, ELSIE M              2167 RIVERBANK AVE NE                                                                                     GRAND RAPIDS      MI   49525‐1167
VAN DYKE, ELSIE M              2167 RIVER BANK AVE                                                                                       GRAND RAPIDS      MI   49525‐1167
VAN DYKE, JACK D               1524 BISHOP DR                                                                                            TROY              MO   63379‐3344
VAN DYKE, JACK T               16051 LAKE POINT DR                                                                                       SPRING LAKE       MI   49456‐1423
VAN DYKE, JAMES F              754 PHILLIPS AVE                                                                                          CLAWSON           MI   48017‐1458
VAN DYKE, JAMES T              13111 PINE MEADOW DR                                                                                      FENTON            MI   48430‐9556
VAN DYKE, KELLY S              5600 EMERSON WAY                                                                                          ANDERSON          IN   46017‐9650
VAN DYKE, LEON J               139 RARITAN BLVD                                                                                          KEYPORT           NJ   07735‐6011
VAN DYKE, MARY H               3483 N. WEST DR.                                                                                          GLADWIN           MI   48624‐7932
VAN DYKE, MARY H               3483 N WEST BRANCH DR                                                                                     GLADWIN           MI   48624‐7932
VAN DYKE, MICHAEL D            51150 SANDSHORES DR                                                                                       SHELBY TOWNSHIP   MI   48316‐3840
VAN DYKE, RHONDA E             3002 IVY HILL CIR UNIT A                                                                                  CORTLAND          OH   44410‐9350
VAN DYKE, ROBERT L             7324 CHILDSDALE AVE NE                                                                                    ROCKFORD          MI   49341‐9235
VAN DYKE, SAM W                6307 RAVINE RD                                                                                            KALAMAZOO         MI   49009‐9002
VAN DYKE, SEBA                 311 SHAKESPEARE ST                                                                                        MORRISVILLE       NC   27560‐7287
VAN DYKE, SHEILA               2441 MEADOWBROOK LN                                                                                       CLIO              MI   48420‐1988
VAN DYKE, WILLIAM E            132 OXFORD ST                                                                                             CAMPBELL          OH   44405‐1913
VAN DYKEN, RUBY M              448 BLAKE ST                                                                                              EDWARDSVILLE      KS   66111‐3813
VAN DYKEN, RUBY M              448 BLAKE                                                                                                 EDWARDSVILLE      KS   66111‐3813
VAN DYN HOVEN, INC.            1100 LAWE ST                                                                                              KAUKAUNA          WI   54130‐1501
VAN DYNE CR/ANN ARBR           1776 E ELLSWORTH RD                                                                                       ANN ARBOR         MI   48108‐2407
VAN DYNE CROTTY                903 BRANDT ST                  PO BOX 442                                                                 DAYTON            OH   45404
VAN DYNE CROTTY COMPANY        SHULER MILLER CO LPA           221 S HIGH ST                                                              COLUMBUS          OH   43215
VAN DYNE CROTTY COMPANY        DANA & PARISER CO LPA          800 EAST BOARD STREET                                                      COLUMBUS          OH   43205
VAN DYNE JR, JOHN D            4559 UPPER HOLLEY ROAD EXT                                                                                HOLLEY            NY   14470‐9766
VAN DYNE, BARBARA J            2248 S WESTWOOD AVE                                                                                       SPRINGFIELD       MO   65807‐2306
                                 09-50026-mg                Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                       Part 37 of 40 Pg 884 of 901
Name                             Address1                           Address2                      Address3   Address4         City               State Zip
VAN E HORTON JR                  100 HARPER AVE APT 2                                                                         DETROIT             MI 48202‐3568
VAN E PARKER                     1509 COLORADO ST                                                                             XENIA               OH 45385‐4003
VAN ECK, ROBERT B                2529 TIVERTON DR                                                                             STERLING HEIGHTS    MI 48310‐6967
VAN ECKOUTE, KIRK S              11127 JUNIPER CT                                                                             WASHINGTON          MI 48094‐3722
VAN EDEN, LEON F                 6830 HIGH OAKS DR                                                                            TROY                MI 48098‐1755
VAN EE, BETSY C                  49151 RIDGE CT                                                                               NORTHVILLE          MI 48168‐9293
VAN EE, RICHARD J                37774 FLEETWOOD DR                                                                           FARMINGTON HILLS    MI 48331‐1706
VAN EE, WILLIAM M                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                    STREET, SUITE 600
VAN EEGHEN, KIRK                 6704 PAR 4 LN                                                                                WASHINGTON         MI   48095
VAN EEGHEN, VANESSA M            6704 PAR 4 LN                                                                                WASHINGTON         MI   48095‐1285
VAN EGEREN, DAVID J              2625 FOX CHASE DR                                                                            TROY               MI   48098‐2329
VAN EIKEMA HOMMES, ONNO R        6953 MERRICK CT                                                                              WEST BLOOMFIELD    MI   48322‐3088
VAN EIKEMA HOMMES, QI D          6953 MERRICK CT                                                                              W BLOOMFIELD       MI   48322‐3088
VAN EIMEREN, BARBARA A           1746 EMERALD COVE CIR                                                                        CAPE CORAL         FL   33991‐3494
VAN EMAN, BRENDA J               2422 DORFIELD DR                                                                             ROCHESTER HLS      MI   48307‐4627
VAN EMMERIK, PATRICIA            322 AOLOA ST APT 1209                                                                        KAILUA             HI   96734‐3015
VAN EPPS, ANNA                   1826 NORTH AVE                                                                               NIAGRA FALLS       NY   14305‐2949
VAN EPPS, CARYL R                25163 MARION AVE LOT 35                                                                      PUNTA GORDA        FL   33950‐4070
VAN EPPS, DAVID E                3900 KELSEY RD                                                                               LAKE ORION         MI   48360‐2514
VAN EPPS, GENEVIEVE A            201 MALL DR S APT 75                                                                         LANSING            MI   48917‐2559
VAN EPPS, JANET                  6256 W DEWEY RD                                                                              LUDINGTON          MI   49431‐8500
VAN EPPS, JOEL D                 901 UNION ST                                                                                 PORTLAND           MI   48875‐1320
VAN EPPS, MARK W                 9988 CLARK RD                                                                                GRAND LEDGE        MI   48837‐9210
VAN EPPS, MYRNA A                9731 RIVERSIDE DR                                                                            GRAND LEDGE        MI   48837‐9295
VAN EPPS, WILLIAM G              633 S CLARK RD                                                                               DANSVILLE          MI   48819‐9711
VAN EPS, RICHARD N               111 WYNDHAM RD                                                                               ROCHESTER          NY   14612‐5741
VAN ERMAN, JASON C               2007 ASHBOURNE ROAD                                                                          ANDERSON           IN   46011‐2701
VAN ERT ELECTRIC COMPANY, INC.   RUSS TIMMERS                       2000 PROGRESS WAY                                         KAUKAUNA           WI   54130‐9562
VAN ERVIN                        3420 MURPHY LN                                                                               COLUMBIA           TN   38401‐5742
VAN ESLER, CAROLYN S             221 JON COURT                                                                                HAWK POINT         MO   63349‐2066
VAN ESLER, CAROLYN S             221 JON CT                                                                                   HAWK POINT         MO   63349‐2066
VAN ESLER, CAROLYN S             6200 HIGHWAY K                                                                               TROY               MO   63379‐4820
VAN ESLER, GERALD K              221 JON CT                                                                                   HAWK POINT         MO   63349‐2066
VAN ESLER, HENRY C               173 SANCTUARY DR                                                                             O FALLON           MO   63368‐8274
VAN ESLEY, ELIZABETH A           12559 HOWLAND PARK DR                                                                        PLYMOUTH           MI   48170‐6915
VAN ESS, BARBARA J               2710 RUM CREEK DR SE                                                                         KENTWOOD           MI   49508‐5278
VAN ESS, JANE A                  PO BOX 663                                                                                   NEWAYGO            MI   49337‐0663
VAN ESS, PATRICIA V              9625 OAKWOOD HILLS CT                                                                        NEW PORT RICHEY    FL   34655‐1181
VAN ETTEN, CAROLE                817 N CLINTON ST LOT 115                                                                     GRAND LEDGE        MI   48837‐1151
VAN ETTEN, JOSEPH L              33 TEN ACRES RD                                                                              LAUREL             MS   39443‐0982
VAN ETTEN, MARY J                PO BOX 84                                                                                    ARKADELPHIA        AR   71923‐0084
VAN EVERY, DALE                  3615 CRAMER RD                                                                               AKRON              MI   48701‐9515
VAN EVERY, FREDERICK H           1022 MAPLEGROVE AVE                                                                          ROYAL OAK          MI   48067‐1117
VAN EVERY, JUDITH C              2318 W 13 MILE RD                                                                            ROYAL OAK          MI   48073‐3002
VAN EVERY, LANNA                 86 HAMILTON STREET                                                                           BUFFALO            NY   14207‐2742
VAN EVERY, LANNA                 86 HAMILTON ST                                                                               BUFFALO            NY   14207‐2742
VAN EVERY, PETER V               107 HUDSON STREET                                                                            BUFFALO            NY   14201
VAN EWING                        17230 N WILLMAN RD                                                                           EATON              IN   47338‐8976
VAN EYNDE, STEVEN                PO BOX                                                                                       SHERMAN OAKS       CA   91413
VAN F BELKNAP/WIXOM              29164 WALL ST                      P.O. BOX 376                                              WIXOM              MI   48393‐3524
VAN FAIRBANKS                    635 PEACH TREE RD                                                                            HARTSELLE          AL   35640‐8166
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                               Part 37 of 40 Pg 885 of 901
Name                         Address1                         Address2                      Address3   Address4         City                State Zip
VAN FLEET DAVID A (472188)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                              STREET, SUITE 600
VAN FLEET, ARTHUR F          9460 PARALLEL PKWY                                                                         KANSAS CITY         KS 66109‐4328
VAN FLEET, DAVID A           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                              STREET, SUITE 600
VAN FLEET, VIRGINIA E        6436 MATCH POINT ST                                                                        LEESBURG            FL   34748‐7737
VAN FLORENCE                 6634 BURNS ST                                                                              DETROIT             MI   48213‐2642
VAN FORTE JR                 2535 WALTER ST                                                                             FLINT               MI   48504‐2736
VAN FOSSAN, EDWARD P         7707 CRIMSON TRL                                                                           BOARDMAN            OH   44512‐4765
VAN FOSSAN, FRANCES E        31250 CARION CT                                                                            WARREN              MI   48092‐1300
VAN FOSSEN, DAVID S          4677 VESPESIAN LN                                                                          GRAND PRAIRIE       TX   75052‐1824
VAN FOSSEN, HOWARD K         504 UNION AVE SE                                                                           MINERVA             OH   44657
VAN FOSSEN, WILLIAM          132 SIMILO DR                                                                              ELIZABETH           PA   15037‐1848
VAN FRANKLIN                 5660 HOWARD ST                                                                             DETROIT             MI   48209‐2440
VAN FRENCH                   1390 WAGON WHEEL CIR                                                                       GRAND BLANC         MI   48439‐4895
VAN G HARRIS                 2521 TYRONE ST                                                                             FLINT               MI   48504
VAN GALDER, MARY A           120 SAINT LAWRENCE AVE APT 108                                                             JANESVILLE          WI   53545‐3945
VAN GARNER                   1622 BRYSON CV                                                                             THOMPSONS STATION   TN   37179‐2302
VAN GENDEREN, BETTY MAE      340 BROADACRE                                                                              CLAWSON             MI   48017‐1562
VAN GENDEREN, BETTY MAE      340 BROADACRE AVE                                                                          CLAWSON             MI   48017‐1562
VAN GIESEN, BERT C           1600 MCMANUS DR                                                                            TROY                MI   48084‐1551
VAN GILDER, CHARLES E        20860 GEORGE HUNT CIR APT 308                                                              WAUKESHA            WI   53186‐4095
VAN GILDER, DEBORAH M.       1375 CHRISTIAN HILLS DR                                                                    ROCHESTER HILLS     MI   48309
VAN GILDER, ERIC S           3280 CHULA VISTA DR                                                                        WILLIAMSTON         MI   48895‐9598
VAN GILDER, FLORENCE         4522 MINT DR                                                                               GARLAND             TX   75043‐3338
VAN GILDER, JAMES O          19220 SW 97TH ST                                                                           DUNNELLON           FL   34432‐4295
VAN GILDER, JOHN F           4214 MORRICE RD                                                                            WEBBERVILLE         MI   48892‐8703
VAN GILDER, LEROY O          1877 SW 800TH RD                                                                           GARDEN CITY         MO   64747‐8942
VAN GILDER, RICHARD L        7507 ROXBOROUGH LN                                                                         GRAND LEDGE         MI   48837‐9527
VAN GOFORTH                  5060 STATE ROUTE 257                                                                       RADNOR              OH   43066‐9706
VAN GORDEN, MICHAEL L        5101 N OLIVE ST                                                                            KANSAS CITY         MO   64118‐6208
VAN GORDER, GLENDON M        16452 RIDGEWOOD CT                                                                         NORTHVILLE          MI   48168‐6831
VAN GORDER, GRACE M          1115 POWDERHORN DR                                                                         NEWARK              DE   19713‐3246
VAN GORDER, JACQUELINE S     104 SCOTT ST                                                                               NEWARK              NY   14513‐1415
VAN GORDER, ROBERT E         879 RIDGESIDE DR                                                                           MILFORD             MI   48381‐4904
VAN GORDER, ROBERT S         1652 FETZNER RD APT 5                                                                      ROCHESTER           NY   14626‐1862
VAN GORDER, RONALD E         881 GOLDEN DR                                                                              WHITE LAKE          MI   48386‐3828
VAN GORDER, SHERYL A         1250 TENNYSON DR                                                                           TROY                MI   48083‐5221
VAN GORDON THOMAS L          VAN GORDON, THOMAS L
VAN GORDON, FRED N           4210 W COMMERCE RD                                                                         MILFORD             MI   48380‐3118
VAN GORDON, ROBERT J         4200 W COMMERCE RD                                                                         MILFORD             MI   48380‐3118
VAN GORDON, RONALD G         4522 MINT DR                                                                               GARLAND             TX   75043‐3338
VAN GORDON, THOMAS L         PO BOX 338                                                                                 HIGHLAND            MI   48357‐0338
VAN GORP, JOHN R             8750 S VERNON RD                                                                           DURAND              MI   48429‐9136
VAN GORP, JOHN ROBERT        8750 S VERNON RD                                                                           DURAND              MI   48429‐9136
VAN GORP, RONALD W           944 LONG POINT DR                                                                          HOUGHTON LAKE       MI   48629‐9445
VAN GORP, WALDERMAR R        502 E SHERMAN ST                                                                           HOLLY               MI   48442‐1728
VAN GRAAFEILAND, MARK A      6753 CHILI RIGA CENTER RD                                                                  CHURCHVILLE         NY   14428‐9580
VAN GRAAFEILAND, ROY E       130 JAY VEE LN                                                                             ROCHESTER           NY   14612‐2214
VAN GRAY                     BRENT COON & ASSOCIATES          215 ORLEANS                                               BEAUMONT            TX   77701
VAN GRAY                     222 RUTLEDGE DR                                                                            YOUNGSTOWN          OH   44505‐4926
VAN GRIETHUYSEN, THOMAS H    1477 LONG POND RD APT 114                                                                  ROCHESTER           NY   14626‐4147
                                 09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
                                                                     Part 37 of 40 Pg 886 of 901
Name                             Address1                          Address2                      Address3                 Address4              City               State Zip
VAN GUILDER, RICHARD A           2580 S HIGHWAY A1A UNIT 38                                                                                     MELBOURNE BEACH     FL 32951‐2805
VAN GUILDER, RICHARD J           2819 N BALDWIN RD                                                                                              OXFORD              MI 48371‐2106
VAN GULIK, DENA                  4311 NORTH BAYWOOD DRIVE                                                                                       HERNANDO            FL 34442‐4505
VAN GUNDY, RALPH L               49 OAKWOOD AVE                                                                                                 FAIRBORN            OH 45324‐2823
VAN H MCCLASKEY JR               221 RAILROAD AVE                                                                                               BUFFALO             WV 25033‐9607
VAN HAAFTEN, DOLORES             12152 ROYAL BIRKDALE ROW UNIT A                                                                                SAN DIEGO           CA 92128‐4491
VAN HAAFTEN, JOHN A              7650 RIVERSIDE DR                                                                                              MANISTEE            MI 49660‐9309
VAN HAITSMA, DOROTHY I           2381 W CADILLAC RD                                                                                             MC BAIN             MI 49657‐9775
VAN HAITSMA, WILLIAM T           2381 W CADILLAC RD                                                                                             MC BAIN             MI 49657‐9775
VAN HALL, EULA F                 5114 MACKLYN DR                                                                                                TOLEDO              OH 43615‐2974
VAN HALL, JOHN E                 5114 MACKLYN DR                                                                                                TOLEDO              OH 43615
VAN HAM, ROBERT A                875 E SUMMIT ST APT 24                                                                                         MILFORD             MI 48381‐1745
VAN HARRIS                       PO BOX 310224                                                                                                  FLINT               MI 48531‐0224
VAN HATTUM, ARNOLD R             1644 MILLBROOK ST SE                                                                                           GRAND RAPIDS        MI 49508‐2633
VAN HATTUM, LAURA L              5587 BENTBROOK ST SE                                                                                           KENTWOOD            MI 49508‐6389
VAN HAUEN AUTO & TRUCK, INC.     121 E KENWOOD ST                                                                                               REINBECK             IA 50669‐1509
VAN HAUERBOKE DIRK               SERGEANT DE BAUYNE STR 51                                                                8370 BLANKENBERGE
                                                                                                                          BELGIUM
VAN HAVERBECK, JANICE M          17890 SOUTHEAST 96TH COURT                                                                                     SUMMERFIELD         FL   34491‐8446
VAN HAVERBEKE DIRK               SERGEANT DE BRUYNESTR 51                                                                 8370 BLANKENBERGE
                                                                                                                          BELGIUM
VAN HECKE, EUGENIA H             PO BOX 141                                                                                                     LIMA               NY    14485‐0141
VAN HEE HERTA                    228 LAKE MERYL DR                                                                                              WEST PALM BEACH    FL    33411‐3344
VAN HEE, ACHIEL B                41329 AMBERCREST DR                                                                                            STERLING HEIGHTS   MI    48314‐3715
VAN HEESCH, JULE G               2211 W WOODWARD DR                                                                                             OAK CREEK          WI    53154‐3640
VAN HEESCH, PRISCILLA A          2211 W WOODWARD DR                                                                                             OAK CREEK          WI    53154‐3640
VAN HESTEREN, JACK L             8435 WINKLER DR APT 23                                                                                         HOUSTON            TX    77017‐5040
VAN HEULE, DAVID A               6570 SAN HOMERO WAY                                                                                            BUENA PARK         CA    90620‐3714
VAN HEUSDEN MARIE ANN            66040 GRATIOT AVE                                                                                              LENOX              MI    48050‐2018
VAN HEUSDEN, MARIE ANN           66040 GRATIOT AVE                                                                                              LENOX              MI    48050‐2018
VAN HEUVELN, AMANDA C            12186 W RIDGE RD                                                                                               OBERLIN            OH    44074‐9024
VAN HEUVEN, ROBERT W             2414 HARRISON AVE                                                                                              ROCHESTER HILLS    MI    48307‐4741
VAN HISE, SALLY                  4 SURREY CT                                                                                                    TOMS RIVER         NJ    08757‐4704
VAN HOEF, JOHN A                 54220 ARROWHEAD DR                                                                                             SHELBY TWP         MI    48315‐1204
VAN HOLDER, RONALD L             11200 OLD BRIDGE RD                                                                                            GRAND BLANC        MI    48439‐1058
VAN HOLDINGS DE MEXICO SA DE C   ALANA HOWATT                      KM 28.5 CARRETERA QUERETARO   COLONIA PARQUE INDUSTRIAL QUERETARO QA 76246
                                                                                                                           MEXICO
VAN HOLLEBEKE, ANNE E            5384 BRISTOL PARKE DR                                                                                          CLARKSTON          MI    48348‐4828
VAN HOLLEBEKE, PHILIP E          3485 CASCADE CIR                                                                                               ROCHESTER HILLS    MI    48307‐5171
VAN HOOF, CHRIS J                1028 N ALTADENA AVE                                                                                            ROYAL OAK          MI    48067‐3635
VAN HOOK, JOHN L                 6170 WHITEWATER‐ELDORADO                                                                                       NEW PARIS          OH    45347‐1333
VAN HOOK, REGINALD V             5716 TERRY AVE                                                                                                 SAINT LOUIS        MO    63120‐1022
VAN HOOK, RONALD C               9647 FOX HUNT CIR N                                                                                            DOUGLASVILLE       GA    30135‐2480
VAN HOOPER                       5740 CHAMBERLAIN AVE                                                                                           SAINT LOUIS        MO    63112‐2807
VAN HOOSE, ALGIE L               4180 DEWEY AVE                                                                                                 ROCHESTER          NY    14616‐1217
VAN HOOSE, KATHRYN L             4301 MILLERWOOD LN                                                                                             KOKOMO             IN    46901‐6901
VAN HOOSE, KENNETH A             4301 MILLERWOOD LN                                                                                             KOKOMO             IN    46901‐6901
VAN HOOSE, MATTHEW J             8433 OREGONIA RD                                                                                               WAYNESVILLE        OH    45068‐8576
VAN HOOSE, MORGAN L              5562 KIDDER RD                                                                                                 ALMONT             MI    48003‐9613
VAN HOOSE, NANCY C               8200 ROSECREST CT                                                                                              SHELBY TOWNSHIP    MI    48316‐2624
VAN HOOSE, NELL B                4051 GRAYTON DR                                                                                                NEW PORT RICHEY    FL    34652‐5708
VAN HOOSE, RICHARD L             8339 BEAR CREEK DR                                                                                             BALTIMORE          MD    21222‐4939
                               09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                 Part 37 of 40 Pg 887 of 901
Name                           Address1                       Address2                Address3     Address4         City              State Zip
VAN HOOSE,MATTHEW J            8433 OREGONIA RD                                                                     WAYNESVILLE        OH 45068‐8576
VAN HOOSER GATES, FLORENCE E   478 COUNTY ROAD 2934                                                                 ALBA               TX 75410‐5579
VAN HOOSER, BETTY J            3101 S 40TH ST                                                                       KANSAS CITY        KS 66106‐4028
VAN HOOSER, D'ANNE C           10105 CLARK RD                                                                       DAVISBURG          MI 48350‐2710
VAN HOOSER, DAVID M            201 RISEMAN CT                                                                       OXFORD             MI 48371‐4187
VAN HOOSER, DIANA L            9451 LINDA DR                                                                        DAVISON            MI 48423‐1798
VAN HOOSER, HAROLD             129 E YOUNG ST                                                                       PRINCETON          KY 42445‐1131
VAN HOOSER, JAMES R            10105 CLARK RD                                                                       DAVISBURG          MI 48350‐2710
VAN HOOSER, KENNETH R          2884 WALSH DR                                                                        ROCHESTER HILLS    MI 48309‐4325
VAN HOOSER, STEVEN             4981 HURON ST                                                                        DEARBORN HTS       MI 48125‐2925
VAN HORN BROS INC              3770 AIRPORT RD                DBA VAN HORN CONCRETE                                 WATERFORD          MI 48329‐1303
VAN HORN BROS INC              3770 AIRPORT RD                                                                      WATERFORD          MI 48329‐1303
VAN HORN JR, JAMES W           2123 N 83RD PL                                                                       KANSAS CITY        KS 66109‐2168
VAN HORN JR, JOHN W            4316 TYDL DR                                                                         JANESVILLE         WI 53546‐2115
VAN HORN JR, WILLIAM W         3102 IVY HILL CIR              UNIT C                                                COURTLAND          OH 44410
VAN HORN JR, WILLIAM W         161 ELLSWORTH BAILLY RD SW                                                           WARREN             OH 44481‐9775
VAN HORN MARTIN C              3021 ATLANTA HWY                                                                     ATHENS             GA 30606
VAN HORN SHARON                40850 BETHESDA BELMONT RD                                                            BETHESDA           OH 43719‐9765
VAN HORN SR, JAMES A           310 PARSHALL ST                                                                      OAKLEY             MI 48649‐2522
VAN HORN, BETTY LOU
VAN HORN, BILL R               7145 STATE ROUTE 973                                                                 DUNMOR            KY   42339‐2002
VAN HORN, BRAD C               6801 WESTBROOK RD                                                                    CLAYTON           OH   45315‐7716
VAN HORN, CARL W               213 PARSHALL ST                                                                      OAKLEY            MI   48649‐2516
VAN HORN, CECIL E              4190 PRATT RD                                                                        METAMORA          MI   48455‐9715
VAN HORN, CHARLES J            23292 SAGEBRUSH                                                                      NOVI              MI   48375‐4171
VAN HORN, DANIEL A             7686 W 95TH ST APT D                                                                 OVERLAND PARK     KS   66212‐2269
VAN HORN, DAVID A
VAN HORN, FLORENCE             1165 CALVERT                                                                         DETROIT           MI   48202‐1209
VAN HORN, FLORENCE             1165 CALVERT ST                                                                      DETROIT           MI   48202‐1209
VAN HORN, FRED E               1044 MEGAN FARMS DR                                                                  LAWRENCEVILLE     GA   30045‐2672
VAN HORN, FREDRICK G           24050 GREENHILL RD                                                                   WARREN            MI   48091‐3303
VAN HORN, GLENN C              3544 MEADOW VIEW DR                                                                  OXFORD            MI   48371‐4140
VAN HORN, GLORIA J             425 N LIBERTY ST                                                                     RUSSIAVILLE       IN   46979‐9792
VAN HORN, JAMES                PO BOX 310743                                                                        BIRMINGHAM        AL   35231‐0743
VAN HORN, JAMES E              2828 S WHITNEY BEACH RD                                                              BEAVERTON         MI   48612‐8200
VAN HORN, JAMES R              13870 CAMBRIDGE ST APT 221                                                           SOUTHGATE         MI   48195‐1680
VAN HORN, JAMES RUSSELL        13870 CAMBRIDGE                                                                      SOUTHGATE         MI   48195
VAN HORN, JEFFREY E            8517 E BOWERS LAKE RD                                                                MILTON            WI   53563‐9384
VAN HORN, JERRY N              PO BOX 276                                                                           SAINT HELEN       MI   48656‐0276
VAN HORN, JUNIOR               2236 W COLDWATER RD                                                                  FLINT             MI   48505‐4806
VAN HORN, KAY D                2209 CLEVELAND WAY                                                                   CANTON            MI   48188‐6249
VAN HORN, KENNETH L            3570 OAKSHIRE AVE                                                                    WATERFORD         MI   48328‐3545
VAN HORN, KENNETH L            7830 COUNTY ROAD 97                                                                  BELLVILLE         OH   44813‐9547
VAN HORN, LARRY C              11160 LANGDON DR                                                                     CLIO              MI   48420‐1567
VAN HORN, LARRY CLEVELAND      11160 LANGDON DR                                                                     CLIO              MI   48420‐1567
VAN HORN, LARRY L              2792 CARPENTER RD                                                                    LAPEER            MI   48446‐8913
VAN HORN, LARRY LEE            2792 CARPENTER RD                                                                    LAPEER            MI   48446‐8913
VAN HORN, LARRY W              PO BOX 173                                                                           HARMONY           IN   47853‐0173
VAN HORN, LAURA M              28 W CREST DR                                                                        ROCHESTER         NY   14606‐4710
VAN HORN, MARJORIE J           8828 BRIGADOON LN S                                                                  WEST OLIVE        MI   49460‐9493
VAN HORN, MARY                 306 SOUTH WALNUT               APT 611                                               BAY CITY          MI   48706
VAN HORN, MELANIE A            25215 SAINT CLEMENT DR                                                               WARREN            MI   48089‐3580
                                      09-50026-mg           Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                                       Part 37 of 40 Pg 888 of 901
Name                                  Address1                      Address2                          Address3             Address4         City              State Zip
VAN HORN, MICHAEL J                   28 BRENTWOOD ROAD                                                                                     MANSFIELD          OH 44907‐1602
VAN HORN, MICHAEL J                   46 N GARFIELD RD                                                                                      LINWOOD            MI 48634‐9814
VAN HORN, MIKEAL T                    703 SIBLEY ST                                                                                         BAY CITY           MI 48706‐3854
VAN HORN, MILDRED                     10527 VIA LUGANO CT                                                                                   CLERMONT           FL 34711‐5435
VAN HORN, MILDRED E                   10527 VIA LUGANO CT                                                                                   CLERMONT           FL 34711‐5435
VAN HORN, NANCY D                     PO BOX 133                                                                                            ALGER              MI 48610‐0133
VAN HORN, NICK P                      5822 N 200 E                                                                                          HUNTINGTON         IN 46750‐9625
VAN HORN, OLIVER H CO INC             302 MONTGOMERY ST                                                                                     SHREVEPORT         LA 71107‐6738
VAN HORN, PAMELA J                    7348 PONDEROSA DR                                                                                     SWARTZ CREEK       MI 48473‐9453
VAN HORN, PHYLLIS A                   4790 JERSEY WALNUT GROVE RD                                                                           COVINGTON          GA 30014‐0574
VAN HORN, ROBERT K                    20 CEDAR CRST                                                                                         LAMBERTVILLE       NJ 08530‐3513
VAN HORN, ROBERT L                    3610 QUAIL MEADOWS PL                                                                                 MIDLOTHIAN         VA 23112‐4459
VAN HORN, ROBYN R                     235 E FRIENDSHIP ST                                                                                   MEDINA             OH 44256‐1909
VAN HORN, RONALD W                    1010 WEST M‐61                                                                                        STANDISH           MI 48658
VAN HORN, ROSS E                      1010 DITCH RD                                                                                         NEW LOTHROP        MI 48460‐9648
VAN HORN, RUTH N                      107 S MAIN ST                 BOX 107                                                                 MIDDLEPORT         NY 14105
VAN HORN, SHANDA L                    8517 E BOWERS LAKE RD                                                                                 MILTON             WI 53563‐9384
VAN HORN, SHIRLEY S                   3100 JASON WAY                                                                                        SIDNEY             OH 45365‐9580
VAN HORN, SYLVESTER                   467 EAST GILBERT STREET                                                                               SN BERNRDNO        CA 92404‐5318
VAN HORN, THOMAS D                    808 17TH ST                                                                                           BAY CITY           MI 48708‐7229
VAN HORN, THORA S                     731 W FERRY ST APT 4KL                                                                                BUFFALO            NY 14222‐1681
VAN HORN, VELVA                       22970 US ROUTE 30 LOT 24                                                                              MINERVA            OH 44657‐9464
VAN HORN, WILLIAM V                   7450 S KNOXVILLE AVE                                                                                  TULSA              OK 74136‐5909
VAN HORN‐SMITHHISLER, AMY E           PO BOX 745                                                                                            NOME               AK 99762‐0745
VAN HORSSEN, HENRY G                  415 CLEAR CREEK VW                                                                                    PRATTVILLE         AL 36067‐6972
VAN HORSSEN, WILLIAM H                33 FRANKLIN WRIGHT BLVD                                                                               LAKE ORION         MI 48362‐1583
VAN HOUSE, PATRICIA A                 200 W 28TH ST                                                                                         VANCOUVER          WA 98660‐2208
VAN HOUSER                            VAN HOUSER, KEITH             AMERICAN FAMILY INS               11789 BORMAN DRIVE                    ST LOUIS           MO 63146
VAN HOUSER, KEITH                     AMERICAN FAMILY INS           11789 BORMAN DR                                                         SAINT LOUIS        MO 63146‐4125
VAN HOUTE, CORNELIUS J                3420 BRIGGS BLVD NE                                                                                   GRAND RAPIDS       MI 49525‐2506
VAN HOUTEN JR, JAMES F                2201 AUSTRIAN PINE LN                                                                                 MINNETONKA         MN 55305‐2431
VAN HOUTEN, AMY M                     109 HOLLOW CV                                                                                         CRESTVIEW          FL 32539‐6332
VAN HOUTEN, CARYL J                   5236 ARROWHEAD PASS                                                                                   FORT WAYNE         IN 46804‐4913
VAN HOUTEN, DAVID M                   11419 N LAKE DR               POINTE LAKE                                                             HOLLAND            MI 49424‐7723
VAN HOUTEN, DEBORAH L                 115 SARAHS WAY                                                                                        ORTONVILLE         MI 48462‐9179
VAN HOUTEN, ELNA M                    PO BOX 366                                                                                            DETOUR VILLAGE     MI 49725‐0366
VAN HOUTEN, ERNEST J                  PO BOX 366                                                                                            DE TOUR VILLAGE    MI 49725‐0366
VAN HOUTEN, JOSEPH R                  7705 BRAMBLEWOOD DR APT 1A                                                                            LANSING            MI 48917‐8767
VAN HOUTEN, JULIE A                   8533 GLEN VIEW DR                                                                                     HOWELL             MI 48843‐8108
VAN HOUTEN, KEITH J                   8533 GLEN VIEW DR                                                                                     HOWELL             MI 48843‐8108
VAN HOUTEN, ROBERT G                  5070 HIGHPOINT DR                                                                                     SWARTZ CREEK       MI 48473‐8966
VAN HOUTEN, WARD F                    PO BOX 1608                                                                                           FRANKFORT          MI 49635‐1608
VAN HOUZEN, DARREN M                  617 HILLDALE DR                                                                                       ROYAL OAK          MI 48067‐1601
VAN HOUZEN, KAREN R                   2608 BROWNING DR                                                                                      LAKE ORION         MI 48360‐1816
VAN HOVE II, ROBERT A                 7508 RIVERSIDE DR                                                                                     SAINT HELEN        MI 48656‐8217
VAN HOVE KENNETH (ESTATE OF) (665820) COONEY & CONWAY               120 NORTH LASALLE STREET , 30TH                                         CHICAGO             IL 60602
                                                                    FLOOR
VAN HOVE, DONALD                     5182 STATE RD                                                                                          HALE              MI 48739‐8180
VAN HOVE, JAMES D                    9630 WEBER RD                                                                                          HOLLY             MI 48442‐8602
VAN HOVE, KENNETH                    COONEY & CONWAY                120 NORTH LASALLE STREET, 30TH                                          CHICAGO           IL 60602
                                                                    FLOOR
VAN HOVE, MARY A                     5411 N. WEBSTER                                                                                        FLINT             MI 48504‐1008
                             09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
                                                                Part 37 of 40 Pg 889 of 901
Name                         Address1                        Address2                         Address3   Address4               City               State Zip
VAN HOVE, MARY A             5411 WEBSTER RD                                                                                    FLINT               MI 48504‐1008
VAN HOVE, ROBERT L           300 SAINT JOSEPH ST                                                                                ROCHESTER           NY 14617‐2423
VAN HOVE, STEVEN L           7160 COLDWATER RD                                                                                  FLUSHING            MI 48433‐9041
VAN HOVEN, DONALD A          5964 CHICAGO DR                                                                                    ZEELAND             MI 49464‐9668
VAN HOVEN, RIEMER N          120 PENNWOOD LN                                                                                    GREENVILLE          SC 29609‐1524
VAN HUDSON                   5001 S NOLAN RIVER RD                                                                              CLEBURNE            TX 76033‐8623
VAN HULLE LUCIEN             VAN HULLE & PREVOST             2240 S CALLE PALO FIERRO         UNIT 9                            PALM SPRINGS        CA 92264‐9427
VAN HULLE, ALBERT L          19363 MACINTOSH DRIVE                                                                              CLINTON TWP         MI 48036‐1858
VAN HULLE, BARBARA S         2657 COBDEN DR                                                                                     STERLING HTS        MI 48310‐1724
VAN HULLE, GARY              446 PINEHURST DR                                                                                   ROCHESTER HILLS     MI 48309‐1243
VAN HULLE, OLGA              19363 MACINTOSH DR                                                                                 CLINTON TOWNSHIP    MI 48036‐1858
VAN HULLE, PAMELA A          8345 E MOUNT MORRIS RD                                                                             OTISVILLE           MI 48463‐9463
VAN HULLE, PAMELA ANN        8345 E MOUNT MORRIS RD                                                                             OTISVILLE           MI 48463‐9463
VAN HUNT                     3957 ALVIN AVE                                                                                     DAYTON              OH 45408‐2309
VAN HUSS, DONALD W           2007 N SALEM DR                                                                                    INDEPENDENCE        MO 64058‐1329
VAN HUSS, PHYLLIS A          2007 N SALEM DR                                                                                    INDEPENDENCE        MO 64058‐1329
VAN HUYSEE, PHILIS PAULINE   35874 WINDRIDGE DR                                                                                 NEW BALTIMORE       MI 48047‐5853
VAN HUYSEN JR, WILLIAM T     49 KEITH CIR                                                                                       KILLINGWORTH        CT 06419‐1453
VAN HUYSSE, GERARD A         2131 S LIVERNOIS RD                                                                                ROCHESTER HLS       MI 48307‐3756
VAN HUYSSE, ROGER G          2126 OAKWOOD RD                                                                                    ORTONVILLE          MI 48462‐9408
VAN HYFTE, BRIAN W           4723 BLUE WATER CT                                                                                 FORT WAYNE          IN 46804‐4060
VAN INWEGEN, LAURA J         7523 WIDMER RD                                                                                     LENEXA              KS 66216‐4237
VAN IRBY JR                  1703 ESSEX ST                                                                                      ESSEXVILLE          MI 48732‐1359
VAN IWAARDEN, LOIS           1255 LINCOLN DR                                                                                    ENGLEWOOD           FL 34224
VAN JAARSVELD, JACOB         15180 ROHAN DR                                                                                     STERLING HTS        MI 48313‐5760
VAN JAARSVELD, WILLIE        37704 PEBBLE POINTE CT                                                                             CLINTON TWP         MI 48038‐5124
VAN JACKSON                  5600 LUBBOCK AVE                                                                                   FORT WORTH          TX 76133‐3309
VAN JARVIS                   BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                         BOSTON HEIGHTS      OH 44236
VAN JONES                    9185 BEECHWOOD DR                                                                                  BASTROP             LA 71220‐4801
VAN JURA ANDREW              VAN JURA, ANDREW                120 WEST MADISON STREET , 10TH                                     CHICAGO              IL 60602
                                                             FLOOR
VAN JURA, ANDREW             KROHN & MOSS ‐ WI               120 WEST MADISON STREET, 10TH                                      CHICAGO             IL   44114
                                                             FLOOR
VAN KAM FREIGHTWAYS LTD      10155 GRACE ROAD                                                            SURREY CANADA BC V3V
                                                                                                         3V7 CANADA
VAN KAMMEN, KATHLEEN L       8337 GLENGARRY RD                                                                                  GROSSE ILE         MI    48138
VAN KAMPEN, LEWIS R          33 MARATHON DR                                                                                     SEAFORD            DE    19973‐9358
VAN KAMPEN, SUZETTE J        725 BALDWIN APT.#160                                                                               JENISON            MI    49428
VAN KEIRSBELK, MICHAEL C     1747 DETROIT ST                                                                                    NORCO              CA    92860‐1221
VAN KERSCHAVER, RAYMOND A    31797 BREEZEWAY                                                                                    CHESTERFIELD       MI    48047‐3043
VAN KEUREN, DWIGHT G         1911 HOLBORN RD                                                                                    DUNDALK            MD    21222‐4606
VAN KEUREN, HOWARD D         12758 ZIEGLER ST                                                                                   TAYLOR             MI    48180‐4382
VAN KIRK JR, WILLIAM R       177 W MAIN ST APT 202                                                                              UNIONTOWN          PA    15401‐5534
VAN KIRK JR, WILLIAM R       177 W MAIN ST                   APT 202                                                            UNION TOWN         PA    15401‐5534
VAN KIRK, BERNADINE A        5416 E OLETA ST                 C/O BARBARA V. RYAN                                                LONG BEACH         CA    90815‐4428
VAN KIRK, DELORES            4141 HILL DR                                                                                       LAMBERTVILLE       MI    48144‐9406
VAN KIRK, DORIS M            74 FALLS BROOK RD                                                                                  BRISTOL            CT    06010‐2659
VAN KIRK, FRANCES R          11 MARY ST APT 4G                                                                                  PHELPS             NY    14532‐9604
VAN KIRK, JAMES M            3217 MILLBURN COURT                                                                                THE COLONY         TX    75056‐6493
VAN KIRK, KEVIN A            6173 SANDY LN                                                                                      BURTON             MI    48519‐1309
VAN KIRK, LUCY E             312 N 3RD ST                                                                                       DENNISON           OH    44621‐1240
VAN KLAVEREN PAUL            7080 PINE KNOB RD                                                                                  CLARKSTON          MI    48348‐4822
                               09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                 Part 37 of 40 Pg 890 of 901
Name                           Address1                        Address2                Address3    Address4            City            State Zip
VAN KLAVEREN, PAUL E           7080 PINE KNOB RD                                                                       CLARKSTON        MI 48348‐4822
VAN KLEECK, DONOVAN W          65 PAPA'S TALK/COUNTRY WALK                                                             SOCIAL CIRCLE    GA 30025
VAN KLEECK, KEVIN              1126 DON WAYNE DR                                                                       LAPEER           MI 48446‐3030
VAN KLEECK, NANCY L            65 PAPA'S TALK/COUNTRY WALK                                                             SOCIAL CIRCLE    GA 30025
VAN KLEEK, BETTY J.            8915 MAPLEWOOD AVE                                                                      CLARKSTON        MI 48348‐3433
VAN KLEEK, CHARLES R           57 W BEVERLY AVE                                                                        PONTIAC          MI 48340‐2617
VAN KLEEK, DALE L              2661 235TH ST                                                                           MILFORD           IA 51351‐7114
VAN KLEEK, KEITH R             58 GRESHAM LN                   C/O BEATRCE VAN KLEEK                                   N FT MYERS       FL 33903‐7326
VAN KLEEK, ROGER A             4555 RATTEK RD                                                                          CLARKSTON        MI 48346‐4066
VAN KLEY, MARGARET             7385 WALNUT AVE                                                                         JENISON          MI 49428‐9712
VAN KLEY, MARGARET             7385 WALNUT                                                                             JENISON          MI 49428‐9712
VAN KLINE, AYANA               16 LANSBERRY DR                                                                         BURLINGTON       NJ 08016‐2924
VAN KLINE, JEFFERY M           429 LOCUST AVE APT 1                                                                    BURLINGTON       NJ 08016‐4509
VAN KLINE, JEFFERY M.          429 LOCUST AVE APT 1                                                                    BURLINGTON       NJ 08016‐4509
VAN KOEVERING, ROBERT          5831 LAWNDALE AVE                                                                       HUDSONVILLE      MI 49426‐1030
VAN KOEVERING‐TETRO, NORMA J   7652 GREENBRIER DR NE                                                                   ROCKFORD         MI 49341‐8521
VAN KOUGHNETT, NEWTON L        PO BOX 685                                                                              STERLING HTS     MI 48311‐0685
VAN KRALINGEN, HELEN F         23 WOODLAND CHASE BLVD                                                                  NILES            OH 44446‐5351
VAN KUIKEN, ETHEL M            1055 NORTHLAWN ST NE                                                                    GRAND RAPIDS     MI 49505‐3762
VAN KUIKEN, ROGER W            4377 HEARTWOOD RD                                                                       OKEMOS           MI 48864‐2076
VAN KUREN, G A                 3106 CAROLINE ST                                                                        AUBURN HILLS     MI 48326‐3615
VAN KUREN, JACK L              4484 BELSAY RD                                                                          GRAND BLANC      MI 48439‐9120
VAN KUREN, MARY J              4484 BELSAY ROAD                                                                        GRAND BLANC      MI 48439‐9120
VAN KUREN, MARY J              4484 BELSAY RD                                                                          GRAND BLANC      MI 48439‐9120
VAN KUREN, ROBERT C            3307 TIMBERVIEW ST                                                                      FLINT            MI 48532‐3756
VAN L BAILEY                   800 W DANSVILLE RD                                                                      MASON            MI 48854‐9660
VAN L BARNES                   721 HURON AVE                                                                           DAYTON           OH 45402
VAN L VIERBICKY                130 WANDA ST APT #1                                                                     WEIRTON          WV 26062‐2848
VAN L WINSTON                  5081 DERBY ROAD                                                                         DAYTON           OH 45418‐2226
VAN LAAN, CARL E               7150 CLYDE PARK AVE SW                                                                  BYRON CENTER     MI 49315‐8337
VAN LAARHOVEN, KAREN L         1807 STONE BRIDGE RD 203                                                                WEST BEND        WI 53095
VAN LAARHOVEN, KAREN L         4525 N 71ST ST                                                                          MILWAUKEE        WI 53218‐5412
VAN LANGENHOVEN, LUC F         974 SUGAR MILL AVE                                                                      LONGMONT         CO 80501‐4032
VAN LEAR, ROBERT W             20335 MONROEVILLE RD                                                                    MONROEVILLE      IN 46773‐9589
VAN LEAR, ROBERT WAYNE         20335 MONROEVILLE RD                                                                    MONROEVILLE      IN 46773‐9589
VAN LEE JR                     1680 BENNETT RD                                                                         ELDERSBURG       MD 21784‐7020
VAN LEER, DELORES              743 PRICEWOOD CT                                                                        ANDERSON         IN 46013‐5144
VAN LENT, HENRI J              13733 WAGGLE CT                                                                         HUDSON           FL 34669‐0800
VAN LENTE, LOIS                3185 APPLE WOOD                                                                         FENTON           MI 48430‐4006
VAN LEUVEN, ANNIE V            1274 S HOLLY RD                                                                         FENTON           MI 48430‐8501
VAN LEUVEN, GEORGE M           4856 M‐33                                                                               ROSE CITY        MI 48654
VAN LEWEN, COREEN              21138 ARDMORE PARK DR                                                                   ST CLAIR SHRS    MI 48081‐1859
VAN LIERDE JEANNINE            DEIFFELT 1X                                                         6672 BEHO‐GOUVY
                                                                                                   BELGIUM
VAN LIERE, EARL J              364 ROUND HILL RD                                                                       KALAMAZOO       MI   49009‐1291
VAN LIESHOUT THOMAS            30 OLDE PALTZER LN                                                                      APPLETON        WI   54913‐7116
VAN LIEU, JOHN A               717 MELINDA DR                                                                          OXFORD          OH   45056‐9017
VAN LIEW, ROBERT S             414 CRESTWOOD DR                                                                        DIMONDALE       MI   48821‐9770
VAN LINN'S SERVIC, INC.        540 N ONEIDA ST                                                                         APPLETON        WI   54911‐4724
VAN LOAN, ELIZABETH L          1533 4TH AVE W APT 146                                                                  BRADENTON       FL   34205‐5921
VAN LOAN, STEPHEN A            15 INDEPENDENCE DR                                                                      ORCHARD PARK    NY   14127‐3401
VAN LOM, ISABEL M              3837 SOUTHEAST NEHALEM STREET                                                           PORTLAND        OR   97202‐8037
                                     09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                         Part 37 of 40 Pg 891 of 901
Name                                Address1                          Address2                Address3     Address4             City              State Zip
VAN LOO HEDWIGE                     DONKERSTRAAT 72                                                        9870 ZULTE BELGIUM
VAN LOON, ALAN R                    5975 HUMMINGBIRD LN                                                                         CLARKSTON         MI    48346‐2934
VAN LOON, DONALD D                  PO BOX 158                                                                                  OWOSSO            MI    48867
VAN LOON, DONALD D                  800 ESCOTT RD                                                                               OWOSSO            MI    48867‐9654
VAN LOON, JOSEPH B                  922 MCKINLEY AVE                                                                            FLINT             MI    48507‐2866
VAN LOON, SANDRA F                  1488 W MONROE RD                                                                            TECUMSEH          MI    49286‐9770
VAN LUNDY                           PO BOX 322                                                                                  SPRING HILL       TN    37174‐0322
VAN LUONG                           321 MAPLETRACE TRL                                                                          DAYTON            OH    45458‐9451
VAN LUVEN, CARL C                   918 HILBERG ST                                                                              OXFORD            MI    48371‐4533
VAN LUVEN, DOROTHY L                711 LA GRANGE AVE                                                                           PORT ORANGE       FL    32129‐3620
VAN LUVEN, GARY A                   1814 COUNTY ROUTE 4                                                                         CENTRAL SQ        NY    13036‐2240
VAN LUVEN, JAMES C                  12033 WILSON RD                                                                             OTISVILLE         MI    48463‐9700
VAN MAANEN, KEITH D                 1808 WASHINGTON BLVD                                                                        BIRMINGHAM        MI    48009‐4161
VAN MAELE, JOHN R                   33201 DUNCAN RD                                                                             GRAIN VALLEY      MO    64029‐9205
VAN MAELE, ROBERT E                 1713 SW 23RD ST                                                                             BLUE SPRINGS      MO    64015‐5240
VAN MAELE, ROBERT EMIL              1713 SW 23RD ST                                                                             BLUE SPRINGS      MO    64015‐5240
VAN MALDEGEN, WILLIAM               3953 MIRAMAR AVE NE                                                                         GRAND RAPIDS      MI    49525‐2456
VAN MALDEGEN, WILLIAM               2003 HOUSEMAN NE                                                                            GRAND RAPIDS      MI    49505
VAN MALDEGHEM, GERALDINE            411 RIVER VALLEY DR                                                                         MARINE CITY       MI    48039‐3804
VAN MALSEN, MARK E                  3143 WHITETAIL LN                                                                           OWOSSO            MI    48867‐9225
VAN MAREN, EDWARD A                 1604 CREEKSTONE DR                                                                          COLUMBIA          TN    38401‐6714
VAN MARTER, CHARLES C               9855 SCHOMAKER RD                                                                           SAGINAW           MI    48609
VAN MARTINET, AUGUST J              52626 BORDEAUX WAY                                                                          SHELBY TOWNSHIP   MI    48315‐2509
VAN MATRE BUICK PONTIAC GMC CADILLA 511 S KINGSHIGHWAY ST                                                                       CAPE GIRARDEAU    MO    63703‐5713

VAN MATRE BUICK PONTIAC GMC         511 S KINGSHIGHWAY ST                                                                       CAPE GIRARDEAU    MO 63703‐5713
CADILLAC
VAN MATRE FRANK                     16363 N HAWTHORNE LN                                                                        MOUNT VERNON      IL    62864
VAN MATRE MOTOR CO. INC             MARK VAN MATRE                    511 S KINGSHIGHWAY ST                                     CAPE GIRARDEAU    MO    63703‐5713
VAN MATRE, BARBARA S                4250 S. 350 E.                                                                              MIDDLETOWN        IN    47356
VAN MATRE, BRIAN                    3905 S WHITNEY RD                                                                           SELMA             IN    47383‐9727
VAN MATRE, DAVID T                  1306 FULTON AVE                                                                             ALEXANDRIA        IN    46001‐2717
VAN MATRE, DAVID TROY               1306 FULTON AVE                                                                             ALEXANDRIA        IN    46001‐2717
VAN MATRE, KENNETH E                2525 N BETSY ANN CT                                                                         NEW CASTLE        IN    47362‐5004
VAN MATRE, MILDRED L                46 CARMELL STREET                                                                           BELLEVILLE        MI    48111‐2948
VAN MATRE, VANCE C                  10446 S 100 E                                                                               PENDLETON         IN    46064‐9355
VAN MEER, THOMAS J                  26115 DENNING RD                                                                            NEW BOSTON        MI    48164‐9524
VAN METER & MATTEONI                50 W LIBERTY ST STE 510                                                                     RENO              NV    89501‐1961
VAN METER AUTO REPAIR               395 WENONAH AVE                                                                             MANTUA            NJ    08051‐1444
VAN METER JR, HARVEY J              5531 PARVIEW DR APT 210                                                                     CLARKSTON         MI    48346‐2829
VAN METER JR, WALTER H              12601 E 59TH TER                                                                            KANSAS CITY       MO    64133‐4512
VAN METER, BETTY V                  710 1ST ST                                                                                  CORONADO          CA    92118‐1204
VAN METER, CYNTHIA M                153 RUMFORD RD                                                                              ROCHESTER         NY    14626‐5241
VAN METER, DONNA L                  4004 S WOODRUFF RD                                                                          SPOKANE VALLEY    WA    99206‐9524
VAN METER, ERVIN A                  2443 FINLEY AVE                                                                             INDIANAPOLIS      IN    46203‐4508
VAN METER, JOHN L                   796 WOODMERE                                                                                DETROIT           MI    48209
VAN METER, JOHNNIE B                821 COUNTY ROAD 316                                                                         NIOTA             TN    37826‐2400
VAN METER, JUDITH A                 281 ROSELL RD                                                                               HOLLY             MI    48442‐8635
VAN METER, LARRY M                  3100 VARJO CT                                                                               KEEGO HARBOR      MI    48320‐1321
VAN METER, LEON F                   5809 W 59TH ST                                                                              CHICAGO           IL    60638‐3601
VAN METER, M L                      5253 BALDWIN ST                                                                             HUDSONVILLE       MI    49426
VAN METER, NANCY G                  5531 PARVIEW DR APT 210                                                                     CLARKSTON         MI    48346‐2829
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
                                                                          Part 37 of 40 Pg 892 of 901
Name                                 Address1                           Address2                      Address3   Address4         City              State Zip
VAN METER, ROBERT D                  1415 W. WHITE OAK #444                                                                       INDEPENDENCE       MO 64050
VAN METER, RONALD                    3328 FAIRGROVE TER                                                                           ROCHESTER HILLS    MI 48309‐3988
VAN METER, TED E                     169 RIETI DR                                                                                 CROWLEY            TX 76036‐2009
VAN METER, TED E                     169 RIETI DRIVE                                                                              CROWLEY            TX 76036‐2009
VAN METER, VICKI L                   4309 GENESEE AVE                                                                             DAYTON             OH 45406‐3214
VAN METRE, CHARLOTTE P               50 ALDRIN LN                                                                                 MARTINSBURG        WV 25403‐1515
VAN METRE, VIRGINIA E                258 RIDGE RD S                                                                               MARTINSBURG        WV 25403‐0834
VAN MILE INC                         3245 NOBB HILL DRIVE                                                                         HUDSONVILLE        MI 49426‐9008
VAN MILLER                           908 TULIP ST                                                                                 LAUREL             MS 39440‐4862
VAN MOODY                            5580 HICKORY CIR                                                                             FLUSHING           MI 48433‐2454
VAN MOTORS, INC.                     502 N MAIN ST                                                                                CONRAD             MT 59425‐2708
VAN MOTORS, INC.                     TAMARA VANDEN BOS                  502 N MAIN ST                                             CONRAD             MT 59425‐2708
VAN MOTT, KAY A                      4061 DUNWOODY CT                                                                             KELLER             TX 76248‐6012
VAN MULLINS                          161 W THOMSON DR                                                                             ELKTON             MD 21921‐6139
VAN N MCWHIRTER JR                   DONNA J MCWHIRTER                  10523 PENFIELD AVE                                        CHATSWORTH         CA 91311
VAN NATTA PLUMBING AND HEATING INC

VAN NATTA PLUMBING AND HEATING INC VAN NATTA, TODD

VAN NATTER, ALICE                    380 FAIRWAY DR                                                                               CADILLAC          MI   49601‐3613
VAN NATTER, DANNY G                  PO BOX 758                                                                                   ONA               WV   25545‐0758
VAN NATTER, GARY L                   11536 SHELL BARK LN                                                                          GRAND BLANC       MI   48439‐1372
VAN NATTER, NORMA D                  12037 S SAGINAW ST APT 9                                                                     GRAND BLANC       MI   48439‐1440
VAN NELSON                           2823 BEAL ST NW                                                                              WARREN            OH   44485‐1209
VAN NESS FELDMAN PC                  1050 THOMAS JEFFERSON ST NW                                                                  WASHINGTON        DC   20007
VAN NESS JANA                        9462 W EL CORTEZ PL                                                                          PEORIA            AZ   85383‐9701
VAN NESS, BARCLAY E                  33 PAXSON AVE                                                                                TRENTON           NJ   08690‐1906
VAN NESS, ROBERT M                   15249 IMLAY CITY RD                                                                          MUSSEY            MI   48014‐2407
VAN NESS, SALLY D                    12560 BEYER RD.                                                                              BIRCH RUN         MI   48415‐9443
VAN NESS, SALLY D                    12560 S BEYER RD                                                                             BIRCH RUN         MI   48415‐9443
VAN NESS, SCOTT D                    2884 W BRITTON RD APT B30                                                                    PERRY             MI   48872‐9620
VAN NESS, SCOTT DOUGLAS              2884 W BRITTON RD APT B30                                                                    PERRY             MI   48872‐9620
VAN NESS, SEWARD H                   145 COLUMBIA AVE APT 552                                                                     HOLLAND           MI   49423‐5705
VAN NESS, TRACY L                    7067 CAMINO REVUELTOS UNIT 313                                                               SAN DIEGO         CA   92111‐7695
VAN NEST, ALBERT                     11 CHANDLER CT                                                                               HILLSBOROUGH      NJ   08844‐1426
VAN NEST, CLIFFORD H                 131 E BLOOMFIELD AVE                                                                         ROYAL OAK         MI   48073‐3441
VAN NEST, DEMA M                     2008 N LINCOLN AVE                                                                           MOORE             OK   73160‐6333
VAN NESTE, BRIAN S                   3537 W CLARKSVILLE RD                                                                        LAKE ODESSA       MI   48849‐9747
VAN NEWCOM                           9520 FRONT NINE LN                                                                           DADE CITY         FL   33525‐0875
VAN NGUYEN                           1450 N STATE HIGHWAY 360 APT 363                                                             GRAND PRAIRIE     TX   75050‐4104
VAN NIMAN, FLOYD E                   29501 48TH AVE                                                                               PAW PAW           MI   49079‐9418
VAN NINGEN, DAVID L                  2907 JOSEPH AVE APT 5                                                                        SCHOFIELD         WI   54476‐3630
VAN NISPEN LLOYD H (494286)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                                        STREET, SUITE 600
VAN NISPEN, LLOYD H                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                        STREET, SUITE 600
VAN NOLLER JR, CHARLES E             1702 N GUNNELL RD                                                                            EATON RAPIDS      MI   48827‐9373
VAN NOLLER SUSAN                     1702 N GUNNELL RD                                                                            EATON RAPIDS      MI   48827‐9373
VAN NOLLER, SUSAN                    1702 N GUNNELL RD                                                                            EATON             MI   48827
VAN NOORD, GERALD L                  19367 SCENIC HARBOUR DR                                                                      NORTHVILLE        MI   48167‐3101
VAN NOORD, RUTH A                    5328 OLD SAYBROOK RD                                                                         GRAND BLANC       MI   48439
VAN NOORD, RUTH A                    5328 OLDE SAYBROOKE RD                                                                       GRAND BLANC       MI   48439‐8764
                              09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                 Part 37 of 40 Pg 893 of 901
Name                          Address1                        Address2            Address3         Address4         City                State Zip
VAN NOORD, SYLVIA             19627 N WHITE ROCK DR                                                                 SUN CITY WEST        AZ 85375‐5724
VAN NOORD, SYLVIA             19627 WHITE ROCK DR                                                                   SUNCITY WEST         AZ 85375
VAN NOORDENNEN, NELLIE        38770 TOWNHALL ST                                                                     HARRISON TOWNSHIP    MI 48045‐5617
VAN NORMAN, ALLAN D           3084 EUGENE ST                                                                        BURTON               MI 48519‐1653
VAN NORMAN, ALLAN D           11102 ALEXANDRIA LN                                                                   DAVISON              MI 48423
VAN NORMAN, CONNIE            10145 OZGA ST                                                                         ROMULUS              MI 48174‐1336
VAN NORMAN, CONNIE
VAN NORMAN, DARLENE M         7429 GRANDWOOD DR                                                                     SWARTZ CREEK        MI   48473‐9454
VAN NORMAN, DOYLE D           9123 LINDEN RD                                                                        SWARTZ CREEK        MI   48473‐9152
VAN NORMAN, EARLENE F         4849 ROUND LAKE RD                                                                    GLADWIN             MI   48624‐9213
VAN NORMAN, ERVIN D           4849 ROUND LAKE RD                                                                    GLADWIN             MI   48624‐9213
VAN NORMAN, MAUREEN A         9314 RICHFIELD RD                                                                     SAINT HELEN         MI   48656
VAN NORMAN, MICHAEL A         12253 MARGARET DR                                                                     FENTON              MI   48430‐8805
VAN NORMAN, MICHAEL ANTHONY   12253 MARGARET DR                                                                     FENTON              MI   48430‐8805
VAN NORMAN, STEPHEN B         10145 OZGA ST                                                                         ROMULUS             MI   48174‐1336
VAN NORMAN, STEPHEN BRADLEY   10145 OZGA ST                                                                         ROMULUS             MI   48174‐1336
VAN NORMAN, VICKI L           2244 LAUREL AVE                                                                       ADRIAN              MI   49221‐3635
VAN NORSTRAND, RICHARD L      6719 ALEMENDRA                                                                        FORT PIERCE         FL   34951‐4320
VAN NORTWICK, ESTA M          5920 MACMILLAN WAY                                                                    LANSING             MI   48911‐8408
VAN NORTWICK, MARVIN L        5920 MACMILLAN WAY                                                                    LANSING             MI   48911‐8408
VAN NORTWICK, SUSIE J         25547 LUCI DRIVE                                                                      BONITA SPGS         FL   34135‐8814
VAN NORTWICK, SUSIE J         184 PRICE ST                                                                          NAPLES              FL   34113‐8435
VAN NORTWICK, TERESA I        1112 SUMMERGREEN LN                                                                   LANSING             MI   48917‐9283
VAN NORWICK, DAVID A          3531 SEYMOUR RD                                                                       SWARTZ CREEK        MI   48473‐9786
VAN NOSTRAND, RICHARD T       268 S UNION ST                                                                        SPENCERPORT         NY   14559‐1404
VAN NUYS AWNING CO INC        5661 SEPULVEDA BLVD                                                                   VAN NUYS            CA   91411‐2916
VAN NUYS, CARL R              4741 O'NEALL RD                                                                       WAYNESVILLE         OH   45068‐5068
VAN NUYS, CARL R              4741 O NEALL RD                                                                       WAYNESVILLE         OH   45068‐9119
VAN NUYS, VIOLET M            9875 NEWMARKET AVE                                                                    CLARENCE            NY   14031‐2537
VAN NUYS, WILLIAM H           4741 O NEALL RD                                                                       WAYNESVILLE         OH   45068‐9119
VAN NUYS, WILLIAM H           4741 O'NEALL RD                                                                       WAYNESVILLE         OH   45068‐5068
VAN O PENMAN                  1496 DYER WAY                                                                         CORONA              CA   92882‐3859
VAN OCHTEN JR, JOSEPH E       5633 W SPRING KNOLL DR                                                                BAY CITY            MI   48706‐5615
VAN OCHTEN, FREDERICK A       2556 BULLOCK RD                                                                       BAY CITY            MI   48708‐8484
VAN OCHTEN, ILENE J           5633 W SPRING KNOLL DR                                                                BAY CITY            MI   48706‐5615
VAN OCHTEN, JOYCE B           3815 TODD ST                                                                          MIDLAND             MI   48642‐5855
VAN OCHTEN, PAUL F            2006 S BRENTWOOD PL                                                                   ESSEXVILLE          MI   48732‐1408
VAN OCHTEN, SHERRY S          247 W LAKE SHORE DR                                                                   TOWER LAKES         IL   60010‐1130
VAN OCHTEN, WAYNE L           4086 WELCOME DR                                                                       FLINT               MI   48506‐2060
VAN OEL, ERMA                 7675 FOSDICK ROAD                                                                     SALINE              MI   48176‐9091
VAN OFLEN, THEODORE R         2467 LIVERNOIS DR                                                                     HOWELL              MI   48843‐8417
VAN OFLEN, THOMAS J           15101 120TH AVE                                                                       NUNICA              MI   49448‐9721
VAN OLDS                      2103 W 2ND ST                                                                         MARION              IN   46952‐3251
VAN OOSTENDORP, DOUGLAS L     5539 KELEKENT AVE SE                                                                  KENTWOOD            MI   49548‐5848
VAN OOSTENDORP, G V           4550 N BRETON CT SE APT 226                                                           KENTWOOD            MI   49508‐5267
VAN OOSTERHOUT, WALTER T      15280 GLEASON RD                                                                      THREE RIVERS        MI   49093‐9252
VAN OOSTERWYK, JEANETTE S     3100 NORTH DR                                                                         ST CLAIR SHORES     MI   48082‐3043
VAN OOYEN, GREG J             5833 FARM HILL DR                                                                     LAPEER              MI   48446‐9736
VAN OPPENS, ELMA              35653 GREGORY DR                                                                      STERLING HTS        MI   48312‐2818
VAN OPPENS, ELMA              22614 CAROLINA                                                                        ST CLAIR SHORES     MI   48080‐2411
VAN ORDEN, JAMES R            5657 HARVEST LN                                                                       TOLEDO              OH   43623‐1728
VAN ORDEN, JOANNE E           47295 MALBURG WAY DR                                                                  MACOMB              MI   48044‐3048
                                         09-50026-mg              Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                                             Part 37 of 40 Pg 894 of 901
Name                                     Address1                         Address2                          Address3   Address4         City                 State Zip
VAN ORDER, JEFFERY A                     10175 JANELL DR                                                                                KEITHVILLE            LA 71047‐8761
VAN ORMAN JR, JEROME B                   1931 SILVERBELL RD                                                                             ROCHESTER HILLS       MI 48306‐1541
VAN ORMAN, MARCIA A                      16501 NORTH EL MIRAGE ROAD       # 687                                                         SURPRISE              AZ 85374
VAN ORMAN, MARCIA A                      16501 N EL MIRAGE RD LOT 687                                                                   SURPRISE              AZ 85374‐2810
VAN ORSDOL, GARY A                       1273 WILDCAT RD                                                                                SAINT JOHNS           MI 48879‐8109
VAN ORSOW, BEVERLY A                     4908 SE MASON LN                                                                               MILWAUKIE             OR 97222‐5060
VAN ORT, JACQUELINE R                    4205 N AVENIDA DE PIMERIA ALTA                                                                 TUCSON                AZ 85749‐9468
VAN OSDOL, JOYCE S                       3516 S DAYTON AVE                                                                              MUNCIE                IN 47302‐5879
VAN OSDOL, JOYCE S                       3516 DAYTON AVE                                                                                MUNCIE                IN 47302‐5879
VAN OSDOL, ROBERT H                      APT 127                          356 KENT DRIVE                                                BELLEFONTAINE         OH 43311‐9687
VAN OSTENBURG, ALAN J                    2651 BIDDLE AVE APT 408                                                                        WYANDOTTE             MI 48192‐5255
VAN OSTER, BILLY W                       707 DEAN ST                                                                                    RICHMOND              MO 64085‐1200
VAN OSTER, LEE R                         37440 W 130TH ST                                                                               RICHMOND              MO 64085‐8746
VAN OSTRAN, CHARLES E                    7415 S 47TH ST                                                                                 CLIMAX                MI 49034‐9754
VAN OSTRAN, SHERRILL L                   984 MEECH ROAD RT 1                                                                            WILLIAMSTON           MI 48895
VAN OSTRAND ROBERT (664779)              COONEY & CONWAY                  120 NORTH LASALLE STREET , 30TH                               CHICAGO                IL 60602
                                                                          FLOOR
VAN OSTRAND, ROBERT                      COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                                CHICAGO               IL   60602
                                                                          FLOOR
VAN OVER, OBERT O                        RR 1 BOX 227‐2                                                                                 GORE                 OK    74435‐9510
VAN OVERBEKE, CHARLES E                  48317 FORBES ST                                                                                CHESTERFIELD         MI    48047‐2276
VAN OVERBEKE, JAMES A                    26547 NEWPORT AVE                                                                              WARREN               MI    48089‐1328
VAN OVERBEKE, JAMES C                    9436 BEECHCREST ST                                                                             WHITE LAKE           MI    48386‐3206
VAN OVERBEKE, MICHELLE D                 42635 KINGSLEY DR                                                                              CLINTON TWP          MI    48038‐1680
VAN OVERSTRAETEN, FRANK J                9228 E ARROWVALE DR                                                                            SUN LAKES            AZ    85248‐5919
VAN OYEN, ANDRE W                        10293 ROSETTI CT                                                                               SPRING HILL          FL    34608‐7465
VAN P'SIMER                              279 P'SIMER RD                                                                                 OLIVE HILL           KY    41164
VAN PAMEL, KAREN M                       48901 ORIOLE ST                                                                                SHELBY TOWNSHIP      MI    48317‐2363
VAN PAMEL, SUSAN L                       56480 LEDIEN DR                                                                                MACOMB               MI    48042‐1538
VAN PARIS, RONALD T                      4072 N FRASER RD                                                                               TINCONNING           MI    48650
VAN PARTLOW                              24111 CIVIC CENTER DR APT 701                                                                  SOUTHFIELD           MI    48033‐7440
VAN PATTEN, CHERYL A                     2301 BEDFORD ST                                                                                LANSING              MI    48911‐1602
VAN PATTEN, CHERYL A                     2301 BEDFORD RD                                                                                LANSING              MI    48911‐1602
VAN PATTEN, GARY L                       2301 BEDFORD RD                                                                                LANSING              MI    48911‐1602
VAN PATTEN, RONALD J                     15942 PLUMWOOD ST                                                                              WESTMINSTER          CA    92683‐7265
VAN PATTEN, RUSSELL E                    12715 RATHBUN RD                                                                               BIRCH RUN            MI    48415‐9799
VAN PATTEN‐GUBRY, JUDY K                 411 WALNUT ST # 3594                                                                           GREEN COVE SPRINGS   FL    32043
VAN PELT EDWARD                          3325 WHITE OAK DR                                                                              HARRISONBURG         VA    22801‐5322
VAN PELT LEWELLYS (ESTATE OF) (510610)   LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                       MIAMI                FL    33143‐5163

VAN PELT WILLIAM A (400312) ‐ DALY       WILENTZ GOLDMAN & SPITZER        88 PINE STREET , WALL STREET                                  NEW YORK             NY 10005
JAMES M                                                                   PLAZA
VAN PELT, BRIAN L                        2840 PARKWOOD AVE                                                                              TOLEDO               OH    43610‐1646
VAN PELT, DALE E                         116 W VAN LAKE DR                                                                              VANDALIA             OH    45377‐3236
VAN PELT, DAVID M                        21412 MCMULLEN HWY SW                                                                          RAWLINGS             MD    21557‐2422
VAN PELT, DAVID MARSHALL                 8123 STRATMAN RD                                                                               BALTIMORE            MD    21222‐4746
VAN PELT, ELIZABETH A                    4100 NORFOLK BAY CT                                                                            GRANBURY             TX    76049‐5881
VAN PELT, EVERETT                        9 COLMAR AVE                                                                                   LAKE GROVE           NY    11755‐2710
VAN PELT, GARY W                         1041 ERICKSON RD‐RT 1                                                                          LINWOOD              MI    48634
VAN PELT, GEORGE W                       4574 N 1100 W                                                                                  PARKER CITY          IN    47368‐9238
VAN PELT, GERALD K                       23 LAKE ARBU DR                                                                                MANNING              SC    29102‐9061
VAN PELT, HAZEL M                        1513 GEIGER RD                                                                                 STARKE               FL    32091‐4312
                            09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
                                                               Part 37 of 40 Pg 895 of 901
Name                        Address1                         Address2                          Address3                 Address4                City               State Zip
VAN PELT, LEWELLYS          LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                                            MIAMI               FL 33143‐5163
VAN PELT, LEWELLYS          THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD           SUITE 44                                         CORAL GABLES        FL 33146
VAN PELT, LOINE H           1597 ALAMO DR SPC 142                                                                                               VACAVILLE           CA 95687‐6052
VAN PELT, MARGARET M        PO BOX 303                                                                                                          VANDALIA            OH 45377‐0303
VAN PELT, MARION M          2796 DUNHILL DR                                                                                                     MARYLAND HEIGHTS    MO 63043‐1217
VAN PELT, RAYMOND J         PO BOX 337                                                                                                          EATON               IN 47338‐0337
VAN PELT, RONALD E          540 NORTH AVE                                                                                                       GIRARD              OH 44420‐1825
VAN PENMAN                  1496 DYER WAY                                                                                                       CORONA              CA 92882‐3859
VAN PETERS                  ANDREW MCENANEY                  HISSEY KIENTZ & HERRON PLLC       9442 CAPITAL OF TX HWY                           AUSTIN              TX 78759
                                                                                               NORTH SUITE 430
VAN PETTEN, DORIS           38744 S HURON RD                                                                                                    NEW BOSTON         MI   48164‐8602
VAN PEURSEM, DAVID J        21 STONEGATE DR                                                                                                     HILTON HEAD        SC   29926‐1980
VAN PEYMA BRENDA            403 MAIN ST                                                                                                         SABETHA            KS   66534‐2330
VAN PHAM                    65 N GLEN OAK DR                                                                                                    SPRINGBORO         OH   45066‐8133
VAN POLEN, JERRY            PO BOX 1308                                                                                                         NORTH RIVERSIDE    IL   60546‐0708
VAN POOL                                                     18 COTTAGE AVE                                                                     WILBRAHAM          MA   01095
VAN POOL, LINDA A           1210 PRAIRIE AVE                                                                                                    JANESVILLE         WI   53545
VAN POOL, WILLIAM F         13 DEADWOOD DR                                                                                                      CAMDENTON          MO   65020‐4921
VAN POPPELEN BROTHERS INC   ATTN: MARK VAN POPPELEN          PO BOX 128                                                                         BAY CITY           MI   48707‐0128
VAN POPPELEN, ELIZABETH J   1589 N KNIGHT ROAD                                                                                                  ESSEXVILLE         MI   48732‐9648
VAN PORTFLEET, LAWRENCE E   3128 GREENLY ST                                                                                                     HUDSONVILLE        MI   49426‐9643
VAN PORTFLEET, ROBERT M     7690 LEONARD ST                                                                                                     COOPERSVILLE       MI   49404‐9729
VAN POTTER                  4761 CARLS LN                                                                                                       METAMORA           MI   48455‐9758
VAN POUCKE JOHAN            OUDENAARDSEHEERWEG 192B                                                                     9810 NAZARETH BELGIUM
VAN POUCKER, LEO J          3134 NILE ST 36                                                                                                     SAN DIEGO          CA   92104
VAN PRODUCTS CO             DORY GRIGGS                      QUIGLEY INDUSTRIES                8250 MILL ST                                     NEW HUDSON         MI   48165
VAN PRODUCTS CO             8250 MILL ST                                                                                                        VANDERBILT         MI   49795‐9701
VAN PRODUCTS CO             DORY GRIGGS                      8250 MILL ST                      QUIGLEY INDUSTRIES                               VANDERBILT         MI   49795‐9701
VAN PRODUCTS CO             491 W MAIN ST                                                                                                       VANDERBILT         MI   49795‐9754
VAN PROEYEN, MICHAEL A      18243 TERESA DR                                                                                                     MACOMB             MI   48044‐1681
VAN PROOYEN, GENEVIEVE I    1144 KENESAW DR SE                                                                                                  GRAND RAPIDS       MI   49506‐3519
VAN R NELSON                C/O LEVY PHILLIPS & KONIGSBERG   800 3RD AVE 13TH FL                                                                NEW YORK           NY   10022
VAN RAEMDONCK JACQUES       AVENUE NEPTUNE 53/12             1190                                                                               BRUSSEL
VAN RAEMDONCK JACQUES       AVENUE NEPTUNE 53/12                                               1190                                             BRUXELLES
VAN RAEMDONCK, LINDA        42433 NORTHVILLE                                                                                                    NORTHVILLE         MI   48167
VAN RAEMDONCK, MATTHEW M    11455 BEECHER RD                                                                                                    FLUSHING           MI   48433‐9773
VAN RAEMDONCK, MAX S        11475 BEECHER RD                                                                                                    FLUSHING           MI   48433‐9773
VAN REES, IVAN J            3160 POPLAR CREEK DR             SE #203                                                                            GRAND RAPIDS       MI   49512
VAN REMMEN, THOMAS E        846 RIDGE LAKE DR                                                                                                   MELBOURNE          FL   32940‐1768
VAN REMMEN, TIMOTHY J       22 WEDGEWOOD DRIVE                                                                                                  WEST SENECA        NY   14224‐3624
VAN RENSSELAER EDWARD       PO BOX 7175                                                                                                         NEWPORT BEACH      CA   92658‐7175
VAN REYENDAM, ESTHER M      4617 E WOODGLEN RD                                                                                                  MEAD               WA   99021‐9005
VAN REYNOLDS PC             PO BOX 888                                                                                                          METTER             GA   30439‐0888
VAN RICK                    8245 21 MILE RD                                                                                                     SHELBY TOWNSHIP    MI   48317‐3401
VAN RINGELSTEYN, PENNY J    953 ROSALIE AVE NW                                                                                                  GRAND RAPIDS       MI   49504‐3718
VAN RIPER, KENNETH L        10932 BROADBENT RD                                                                                                  LANSING            MI   48917‐8819
VAN RIPER, ROLAND J         FERRARO & ASSOCIATES             4000 PONCE DE LEON BLVD STE 700                                                    CORAL GABLES       FL   33146‐1434

VAN ROB INC                 200 VANDORF RD                   SIDE ROAD                                                  AURORA CANADA ON L4G
                                                                                                                        0A2 CANADA
VAN ROB STAMP/AURORA        200 VANDORF SIDE RD                                                                         AURORA ON L4G 3G8
                                                                                                                        CANADA
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
                                                                        Part 37 of 40 Pg 896 of 901
Name                                Address1                         Address2                        Address3   Address4                 City            State Zip
VAN ROB STAMP/RICHMO                25 MURAL ST                                                                 RICHMOND HILL ON L2B 1J4
                                                                                                                CANADA
VAN ROB STAMP/SCARBO                1001 ELLESMERE ROAD                                                         SCARBOROUGH ON M1P
                                                                                                                2W7 CANADA
VAN ROB STAMP/WINDSR                114 CLAYSON AVE.                                                            NORTH YORK ON N9M 2H3
                                                                                                                CANADA
VAN ROB STAMP/WINDSR                1000 UNIVERSITY AVENUE WEST      SUITE 202                                  WINDSOR ON N9A 5S4
                                                                                                                CANADA
VAN ROB STAMPING INC                ALANA HOWATT                     1001 ELLESMERE RD                                                   ODESSA          MO 64076
VAN ROB STAMPINGS (RICHMOND HILL)   ANNE DIRKSEN‐CAIROLI             25 MURAL ST                                RICHMOND HILL ON L4B 1J4
                                                                                                                CANADA
VAN ROB STAMPINGS (SCARB)           ANNE DIRKSEN‐CAIROLI             1001 ELLESMERE RD                          SCARBOROUGH ON M1P
                                                                                                                2W7 CANADA
VAN ROB STAMPINGS INC               CARY MANCINONE                   25 MURAL ST. PLANT #1                      DRESDEN ON CANADA
VAN ROB STAMPINGS INC               200 VANDORF RD                                                              AURORA CANADA ON L4G
                                                                                                                3G8 CANADA
VAN ROB STAMPINGS INC.              ALANA HOWATT X235                114 CLAYSON AVE,                           NORTH YORK ON M9M 2H2
                                                                                                                CANADA
VAN ROB, INC.                       200 VANDORF SIDEROAD                                                        AURORA ON L4G 3G8
                                                                                                                CANADA
VAN ROB/MEXICO                      CARR A SAN LUIS DE LA PAZ 28.5   AV LA NORIA # 111 PARQUE IND               QUERETARO QA 76220
                                                                                                                MEXICO
VAN ROBERTS                         710 SPELLMAN DR                                                                                      FLINT           MI    48503‐5228
VAN ROBINETT                        8800 COUNTY ROAD 303                                                                                 GRANDVIEW       TX    76050‐4729
VAN ROEKEL, CRAIG S                 803 MONOCACY CREEK RD N                                                                              DOUGLASSVILLE   PA    19518‐8793
VAN ROEKEL, DONALD L                16260 W DESERT WINDS DR                                                                              SURPRISE        AZ    85374‐4981
VAN ROOYEN, PAUL M                  3506 E POND LN                                                                                       LAKE ORION      MI    48359‐1474
VAN ROSENBERG, DANIEL J             1755 CRYSTAL FARMS RD                                                                                TATUM           TX    75691‐1712
VAN ROSSEN, EDWARD C                6745 WESTAWAY DR                                                                                     TROY            MI    48085‐1508
VAN ROSSEN, GERARD M                1259 SHADY PINES LN                                                                                  TITUSVILLE      FL    32796‐2784
VAN ROSSEN, KATHLEEN J              10530 HILL RD                                                                                        SWARTZ CREEK    MI    48473‐7640
VAN ROYSTER JR                      PO BOX 749                                                                                           KEYSVILLE       VA    23947‐0749
VAN RU CREDIT CORP                  1350 E TOUHY AVE STE 300E                                                                            DES PLAINES     IL    60018‐3342
VAN RU CREDIT CORPORATION           PO BOX 46426                                                                                         CHICAGO         IL    60646‐0426
VAN RYCKEGHEM, DENNIS M             9824 DRURY AVE                                                                                       KANSAS CITY     MO    64137‐1328
VAN RYCKEGHEM, RICHARD A            4594 BISHOP RD                                                                                       DRYDEN          MI    48428‐9206
VAN SALMOND                         2777 IMLAY CITY RD                                                                                   LAPEER          MI    48446‐3223
VAN SANDT, TERRY A                  RFD #2                                                                                               ADRIAN          MO    64720
VAN SCHAIK GEORGE                   VAN SCHAIK ELIZABETH             125 MOLLY AVE                                                       TROTWOOD        OH    45426‐3008
VAN SCHAIK JR, WILLIAM C            144 ELMWOOD DRIVE                                                                                    SPRINGBORO      OH    45066‐5066
VAN SCHAIK JR, WILLIAM C            5121 TALLVIEW CT                                                                                     DAYTON          OH    45424‐2428
VAN SCHAIK, ALBERT J                171 EAST ELMWOOD DRIVE                                                                               DAYTON          OH    45459‐4576
VAN SCHAIK, NELLIE P                171 EAST ELMWOOD DRIVE                                                                               DAYTON          OH    45459‐4576
VAN SCHEURICH                       6288 WOODLAND DR                                                                                     CANTON          MI    48187‐5626
VAN SCHLIEP                         4451 S LACHANCE RD                                                                                   LAKE CITY       MI    49651‐8968
VAN SCHOICK EDMUND (464321)         KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                       CLEVELAND       OH    44114
                                                                     BOND COURT BUILDING
VAN SCHOICK, EDMUND                 KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                       CLEVELAND        OH 44114
                                                                     BOND COURT BUILDING
VAN SCHOYCK, LESTER C               PO BOX 72                                                                                           CHESTNUT          IL 62518‐0072
VAN SCOOTER, RODNEY S               822 STONY POINT RD                                                                                  SPENCERPORT       NY 14559‐9752
VAN SCOY, DONALD T                  260 COUNTY ROAD 4761                                                                                WINNSBORO         TX 75494‐6394
                             09-50026-mg            Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
                                                               Part 37 of 40 Pg 897 of 901
Name                         Address1                             Address2                    Address3   Address4         City            State Zip
VAN SCOY, LISA A             26 RADLEY RUN                                                                                ELKTON           MD 21921‐8331
VAN SCOY, NORMA J            RR 1 BOX 77                                                                                  SALEM            WV 26426‐9604
VAN SCOYK, BARBARA D         411 WEST 1325 NORTH                                                                          CEDAR CITY       UT 84720‐1848
VAN SCOYK, BARBARA D         411 W 1325 N                                                                                 CEDAR CITY       UT 84721‐7720
VAN SCOYK, JUDY A            PO BOX 984                                                                                   GREENVILLE       OH 45331‐0984
VAN SCOYOC ASSOCIATES        101 CONSTITUTION AVENUE NW SUITE 600                                                         WASHINGTON       DC 20001
                             WEST
VAN SHELLENBECK & LAND       8900 BUSINESS PARK DR                                                                        AUSTIN          TX   78759‐7404
VAN SICE, FREDERICK          302 ARROW WOOD TRL                   APT B                                                   DELAND          FL   32724‐1712
VAN SICKEL, EUGENE R         564 VILLAGE GREEN LOOP                                                                       WESTERVILLE     OH   43082‐9348
VAN SICKEL, HILMA M          307 DEVONSHIRE DR                                                                            KOKOMO          IN   46901‐5049
VAN SICKLE JR, ELVIN G       7858 WILLITS RD                                                                              FOSTORIA        MI   48435‐9646
VAN SICKLE, CARL L           2117 LAKEVIEW ST                                                                             STANDISH        MI   48658‐9616
VAN SICKLE, CAROL            270 HAWTHORNE RANCH DR                                                                       PRUDENVILLE     MI   48651‐9442
VAN SICKLE, DALE             1330 WETTERS RD                                                                              KAWKAWLIN       MI   48631‐9428
VAN SICKLE, DAVID G          667 CANTERBURY RD                                                                            MANCHESTR CTR   VT   05255‐9754
VAN SICKLE, DONALD           38819 COUNTY ROAD 374                                                                        PAW PAW         MI   49079‐9351
VAN SICKLE, DORIS J          4236 HAVILAND DR                                                                             ADRIAN          MI   49221‐8329
VAN SICKLE, EDITH A          3208 E 250 N                                                                                 ANDERSON        IN   46012‐9433
VAN SICKLE, GARY R           5370 SKYLARK PASS                                                                            GRAND BLANC     MI   48439‐9147
VAN SICKLE, GERALD H         298 NW 135TH CT                                                                              OCALA           FL   34482‐7000
VAN SICKLE, GLENDA           426 W STATE ST                                                                               KINGMAN         IN   47952‐8182
VAN SICKLE, JACK E           160 STOLI CT                                                                                 ONSTED          MI   49265‐9642
VAN SICKLE, KENNETH W        4420 SUNFLOWER CT SE                                                                         RIO RANCHO      NM   87124‐1500
VAN SICKLE, MARK R           865 BISHOP ST                                                                                MILFORD         MI   48381‐1710
VAN SICKLE, NYLE R           6453 YOUNG RD                                                                                BELLEVUE        MI   49021‐9404
VAN SICKLE, RAYMOND L        6211 W. WORTHWEST HWY. 1706                                                                  DALLAS          TX   75214
VAN SICKLE, RAYMOND L        6211 W WORTHWEST HWY 1706                                                                    DALLAS          TX   75225
VAN SICKLE, ROBERT W         231 E HUNTERS CREEK RD                                                                       LAPEER          MI   48446‐9467
VAN SICKLE, ROBERT WESLEY    231 E HUNTERS CREEK RD                                                                       LAPEER          MI   48446‐9467
VAN SICKLE, ROSE A           5615 MANGUS RD                                                                               BEAVERTON       MI   48612‐8912
VAN SICKLE, ROSE ANN         5615 MANGUS RD                                                                               BEAVERTON       MI   48612‐8912
VAN SICKLE, WILLIAM L        3044 W GRAND BLVD                    JAPAN ISUZU RM 3‐220                                    DETROIT         MI   48202‐3009
VAN SICKLEN, DENNIS H        392 AVENIDA ABETOS                                                                           SAN JOSE        CA   95123‐1401
VAN SINGEL, ELLEN L          8175 N STATE ROAD 39                 C/O MARY ELLEN STEPHENSON                               LEBANON         IN   46052‐8251
VAN SINGEL, JUDITH L         8162 WINDING DR SW                                                                           BYRON CENTER    MI   49315
VAN SINGLETON                14874 CREED RD                                                                               DIAMOND         OH   44412‐9605
VAN SIPE, DAVID L            723 KRYSTAL CREEK CT                                                                         FLUSHING        MI   48433‐2191
VAN SIPE, DAVID LOUIS        723 KRYSTAL CREEK CT                                                                         FLUSHING        MI   48433‐2191
VAN SIPE, DELORES JANE       8637 M 65 S                                                                                  LACHINE         MI   49753‐9455
VAN SIPE, DELORES JANE       8637 M‐65‐SOUTH                                                                              LACHINE         MI   49753‐9455
VAN SKIVER, DORIS J          15311 HUNTCLIFF DR                                                                           MACOMB          MI   48044‐3848
VAN SKIVER, HAROLD E         8463 SCIPIO RD                                                                               NUNDA           NY   14517‐9743
VAN SKIVER, PATRICK W        1413 ISTED RD                                                                                GLEN BURNIE     MD   21060‐7406
VAN SKOIK, ROBERTA           212 HIER AVE                                                                                 SYRACUSE        NY   13203‐1220
VAN SKYOCK, SUSAN K          1604 S RIDGEVIEW DR                                                                          YORKTOWN        IN   47396‐9434
VAN SLAMBROUCK, EDWARD V     4571 PEPPERMILL CT                                                                           ORION           MI   48359‐2073
VAN SLAMBROUCK, VERONICA L   1314 MAPLE AVE                                                                               MONROE          MI   48162‐3007
VAN SLAMBROUCK, VICTOR J     9724 E LANSING RD                                                                            DURAND          MI   48429‐1045
VAN SLAMBROUK, JOHN G        13019 HARBOR LANDINGS DR                                                                     FENTON          MI   48430‐8899
VAN SLAMBROUK, JOHN GORDON   13019 HARBOR LANDINGS DR                                                                     FENTON          MI   48430‐8899
VAN SLEMBROUCK, THOMAS R     14448 FOUR LAKES DR                                                                          STERLING HTS    MI   48313‐2346
                                09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                   Part 37 of 40 Pg 898 of 901
Name                            Address1                        Address2                 Address3    Address4         City              State Zip
VAN SLOOTEN, JOHN               105 SUNSHINE DR                                                                       FROSTPROOF         FL 33843‐5000
VAN SLOOTEN, LOUIS J            7095 152ND AVE                                                                        WEST OLIVE         MI 49460‐9164
VAN SLOUN                       6630 PAYSPHERE CIR                                                                    CHICAGO             IL 60674‐0066
VAN SLUYTERS, LOIS I            1237 SANDHILL DR                                                                      DEWITT             MI 48820‐9551
VAN SLYKE, DONALD E             3663 BADGER AVE SW                                                                    WYOMING            MI 49509‐4008
VAN SLYKE, MARY A               3663 BADGER S.W.                                                                      WYOMING            MI 49509‐4008
VAN SLYKE, MARY A               3663 BADGER AVE SW                                                                    WYOMING            MI 49509‐4008
VAN SLYKE, MICHAEL W            1657 E RATTALEE LAKE RD                                                               HOLLY              MI 48442‐8578
VAN SLYKE, STEVEN M             15256 INBROOK DR                                                                      PLYMOUTH           MI 48170‐2726
VAN SLYKE, WAYNE B              9521 FAOR OAKS DR                                                                     GOODRICH           MI 48438‐9041
VAN SLYKE, WILLIAM J            5176 ALBRIGHT RD                                                                      ONTARIO            NY 14519‐9519
VAN SMITH                       3601 N KERBY RD                                                                       OWOSSO             MI 48867‐9672
VAN SNAPP                       4906 BILLCO RD                                                                        MEMPHIS            TN 38109‐6150
VAN SNEPSON, BETTY L            2806 PARADISE COURT                                                                   BAY CITY           MI 48708‐8462
VAN SNEPSON, CLETUS E           2806 PARADISE CT                                                                      BAY CITY           MI 48708‐8462
VAN SOLKEMA, GERALD L           5510 IVANREST AVE SW                                                                  WYOMING            MI 49418‐9100
VAN SOLKEMA, SUE A              850 AMBERWOOD WEST DR SW                                                              BYRON CENTER       MI 49315‐8310
VAN ST JOHN                     4923 DAVISON RD                                                                       LAPEER             MI 48446‐3507
VAN STEE, JERRY L               4050 CEMETERY RD                                                                      FOWLERVILLE        MI 48836‐8565
VAN STEELANDT, ARTHUR R         601 WOODLAWN DR APT 29                                                                FAIRFIELD BAY      AR 72088‐3626
VAN STEENBURG, ROBERT D         PO BOX 700                                                                            CENTRAL LAKE       MI 49622‐0700
VAN STEENBURGH, RANDY C         6178 MEREDITH GRADE RD                                                                HARRISON           MI 48625‐9665
VAN STEENLANDT, FRED J          12971 LEECH DR                                                                        STERLING HTS       MI 48312‐3250
VAN STEINBURG, WILLIAM G        PO BOX 731                                                                            YONCALLA           OR 97499‐0731
VAN STEPHENS                    PO BOX 972182                                                                         YPSILANTI          MI 48197‐0837
VAN STEVENS                     1924 MIDVALE ST                                                                       YPSILANTI          MI 48197‐4424
VAN STORY, RALPH E              APT 8                           41 WILLIAMSTOWNE COURT                                BUFFALO            NY 14227‐2057
VAN STORY, RALPH E              41 WILLAMSTOWN CT 8                                                                   BUFFALO            NY 14227
VAN STRATE, DEBRA K.            1538 W WILKINSON RD                                                                   OWOSSO             MI 48867‐9407
VAN STRIEN, RUTH C              930 EDISON AVE NW RM 211                                                              GRAND RAPIDS       MI 49504‐3985
VAN STRIEN, RUTH C              930 EDISON MANOR APT 211                                                              GRAND RAPIDS       MI 49504
VAN SUCH, DENNIS J              10480 RAPP RD                                                                         NEW MIDDLETWN      OH 44442‐8708
VAN SUILICHEM & ASSOCIATES PC   2301 W BIG BEAVER RD STE 212                                                          TROY               MI 48084‐3325
VAN SULLEN, ROBERT H            37330 AMHURST DR                                                                      WESTLAND           MI 48185‐7771
VAN SUMER, JAMES W              29700 ROSEMONT ST                                                                     ROSEVILLE          MI 48066‐1938
VAN SUMEREN, DANIEL P           545 E BORTON RD                                                                       ESSEXVILLE         MI 48732‐9743
VAN SUMEREN, GERALD F           407 BURNS ST                                                                          ESSEXVILLE         MI 48732‐1664
VAN SUMEREN, JOHN W             7317 AVALON DR                                                                        FORT WAYNE         IN 46819‐1772
VAN SUMEREN, PATRICK J          122 ERIN CT                                                                           AUBURN             MI 48611‐9201
VAN SUMEREN, ROBERT G           216 BIRNEY ST                                                                         ESSEXVILLE         MI 48732‐1675
VAN SYCKLE, PEGGY A             PO BOX 733                                                                            NASHVILLE          MI 49073‐0733
VAN T PHAM                      65 NORTH GLEN OAK DRIVE                                                               SPRINGBORO         OH 45066
VAN TASSAL, JAMES E             17733 OLD HOUSE RD                                                                    WELLSTON           MI 49689‐9796
VAN TASSEL, EDWARD              5161 VANDON TRL                                                                       HIGHLAND           MI 48356‐1561
VAN TASSEL, JOHN C              50219 FISH LAKE WAY                                                                   DETROIT LAKES      MN 56501‐9430
VAN TASSEL, MARGARET R          6475 RIVERDALE RD                                                                     WHITMORE LAKE      MI 48189‐9120
VAN TASSELL, ANNE R             2215 PIRATES COVE                                                                     LAWRENCEVILLE      GA 30045‐6599
VAN TASSELL, DONNA              3215 ROSE ST                                                                          SARASOTA           FL 34239‐5705
VAN TASSELL, MURIEL D           239 MARTINIQUE RD                                                                     NORTH PORT         FL 34287‐3310
VAN THOF, DAVID L               3373 HOAG AVE NE                                                                      GRAND RAPIDS       MI 49525‐9741
VAN THOMME, RAYMOND A           5139 RATTLE RUN RD                                                                    SAINT CLAIR        MI 48079‐4731
VAN TIEM, RYAN A                55 NEVADA AVE                                                                         ROCHESTER HILLS    MI 48309‐1565
                                09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
                                                                   Part 37 of 40 Pg 899 of 901
Name                            Address1                        Address2                 Address3    Address4            City                  State Zip
VAN TIEM, WILLIAM J             4820 RIDGE RD                                                                            LAKE                   MI 48632‐8820
VAN TIFFLIN, HAZEL G            54661 KINGSLEY CT                                                                        SHELBY TWP             MI 48316‐5601
VAN TIFLIN, EDWARD D            3113 WINTERGREEN DRIVE EAST                                                              SAGINAW                MI 48603‐1935
VAN TIL, JAMES E                4908 TURNBACK ST                                                                         LAGO VISTA             TX 78645‐6038
VAN TIL, LOIS A                 77202 SUMMERS GATE CIR                                                                   SOUTH HAVEN            MI 49090‐8469
VAN TOL, EARL A                 2805 TUPPER DR                                                                           BAY CITY               MI 48706‐1533
VAN TOL, MORRIS A               2151 N 11 MILE RD                                                                        LINWOOD                MI 48634‐9756
VAN TOL, RONALD L               4541 2 MILE RD                                                                           BAY CITY               MI 48706‐2760
VAN TOL, THOMAS J               5385 ADRIAN ST                                                                           SAGINAW                MI 48603‐7610
VAN TOL, WILLIAM L              3081 LAURIA RD                                                                           BAY CITY               MI 48706‐1111
VAN TOLL, IRMA C                6109 GOLFVIEW DR                                                                         CASS CITY              MI 48726‐9018
VAN TONGERLOO, JACK             15091 FORD RD APT 306                                                                    DEARBORN               MI 48126‐4646
VAN TONGERLOO, LYDIA            15091 FORD RD APT 306‐BP                                                                 DEARBORN               MI 48126‐4646
VAN TONGERLOO, ROBERT JON       64245 TIPPERARY DR                                                                       WASHINGTON             MI 48095‐2558
VAN TORRE, GEORGE M             51912 SALVATORI DR                                                                       CHESTERFIELD           MI 48047‐5911
VAN TREASE, BEULAH P            4278 SUFFIELD WOODS AVE                                                                  PORTAGE                MI 49002‐5888
VAN TREESE, DARLENE             # 11                            2521 NORTH MAIN STREET                                   LAS CRUCES             NM 88001‐1154
VAN TROOSTENBERGHE, GREGORY L   9999 N 7 MILE RD                                                                         LAKE CITY              MI 49651‐9354
VAN TUBBERGEN, LARRY            8924 OLD SPRING ST                                                                       RACINE                 WI 53406‐3028
VAN TUSSENBROOK, LOIS           7497 UPHAM ST                                                                            ARVADA                 CO 80003‐2755
VAN TUYL, CORNELIS              6050 OLD ALBA RD                                                                         GAYLORD                MI 49735‐9677
VAN TWIST OPEL BV               LAAN DER VERENIADE NATIES 50                                         DORDRECHT 3314‐
                                                                                                     NETHERLANDS
VAN UDEN, LILLIE F              1156 KNOLLWOOD DR                                                                        ST HELEN              MI   48656‐9534
VAN UNEN, LORI M                1140 OAKENGATE DR                                                                        SAN DIMAS             CA   91773‐3856
VAN V LUONG                     321 MAPLETRACE TRL                                                                       DAYTON                OH   45458‐9451
VAN V TRAN                      2828 RISLEY DRIVE                                                                        LANSING               MI   48917‐2364
VAN VALIN, DAVID H              8151 N PORT                                                                              GRAND BLANC           MI   48439‐8062
VAN VALKENBURG, ANNA P          43076 HYDE PARK DR                                                                       STERLING HEIGHTS      MI   48313‐1935
VAN VALKENBURG, BRENDA L        63128 E CHARLESTON DR                                                                    WASHINGTON            MI   48095‐2429
VAN VALKENBURG, GARY L          2064 SOUTH FARNSWORTH DR.       NO# 12                                                   MESA                  AZ   85209
VAN VALKENBURG, HOWARD W        40 CASTLEREIGH CT                                                                        BATTLE CREEK          MI   49014‐8372
VAN VALKENBURG, JOHN            8128 ORCHARDVIEW DR                                                                      WASHINGTON TWP        MI   48095‐1344
VAN VALKENBURG, JOHN L          63128 E CHARLESTON DR                                                                    WASHINGTON TOWNSHIP   MI   48095‐2429
VAN VECHTEN, ROGER G            23304 CLAIRWOOD ST                                                                       ST CLAIR SHRS         MI   48080‐3415
VAN VEELEN, EVERT               5254 WENTWORTH CT                                                                        MOBILE                AL   36693‐4219
VAN VEELEN, HENRY J             3701 MULLER DR                                                                           ZEPHYRHILLS           FL   33540‐6565
VAN VEELEN, JERRY L             PO BOX 519                                                                               GAINES                MI   48436‐0519
VAN VEELEN, JERRY LEE           PO BOX 519                                                                               GAINES                MI   48436‐0519
VAN VEGHEL, JOHN                2655 W NATIONAL RD RM 305       BANCROFT MNR                                             SPRINGFIELD           OH   45504
VAN VELSON, ROSE M              34 BIG RIDGE RD                                                                          SPENCERPORT           NY   14559‐1219
VAN VELSON, WILLIAM A           34 BIG RIDGE RD                                                                          SPENCERPORT           NY   14559‐1219
VAN VELZOR, JOHN T              1510 S COMMERCE RD                                                                       WALLED LAKE           MI   48390‐2402
VAN VELZOR, THOMAS J            19500 FARMINGTON RD                                                                      LIVONIA               MI   48152‐1406
VAN VLACK, DOROTHY L            2115 INDIAN HILL RD                                                                      LYNCHBURG             VA   24503‐2925
VAN VLACK, LENORA B             317 NORTH BROADWAY              BOX 3                                                    LACYGNE               KS   66040
VAN VLACK, MICHAEL J            19280 HWY 152 LACYGNE                                                                    LACYGNE               KS   66040
VAN VLECK, CATHERINE A          151 NORTH AVE                                                                            HILTON                NY   14468‐9502
VAN VLECK, JULIETTA             243 BONNIE BROOK DR                                                                      CHARLOTTE             MI   48813‐1334
VAN VLEET I I I, HARVEY W       12250 BURROWS RD                                                                         BATTLE CREEK          MI   49014‐8197
VAN VLEET JR, ROBERT            1027 LAVINE PARK RD                                                                      BRONSON               MI   49028‐9285
VAN VLEET, BRIAN L              3111 WESTWOOD AVE                                                                        LANSING               MI   48906‐2868
                                     09-50026-mg             Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
                                                                        Part 37 of 40 Pg 900 of 901
Name                                Address1                         Address2                      Address3   Address4               City               State Zip
VAN VLEET, HARVEY W                 138 DULLES DR                                                                                    BATTLE CREEK        MI 49014‐7807
VAN VLIET, DICK                     3365 PESHTIGO DR SW                                                                              GRANDVILLE          MI 49418‐3011
VAN VLIET, HAROLD R                 3934 MONTE CARLO CT SE                                                                           KENTWOOD            MI 49512‐1831
VAN VLIET, PAMELA J                 3365 PESHTIGO DR SW                                                                              GRANDVILLE          MI 49418‐3011
VAN VOLKENBURG, DAVID G             29 SUGAR RIVER RD                                                                                GLADWIN             MI 48624‐9240
VAN VOLKENBURG, EDWARD P            64 ALLENDALE RD                                                                                  CHEEKTOWAGA         NY 14215‐1863
VAN VOLKENBURG, LOLA J              7083 SARATOGA DR                                                                                 FLINT               MI 48532‐3013
VAN VOLKINBURG MARY                 5509 N BERKELEY BLVD                                                                             MILWAUKEE           WI 53217‐5140
VAN VOLTINBURG EUGENE H (467099)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                     STREET, SUITE 600
VAN VOLTINBURG, VOLTINBURG EUGENE H GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
VAN VOORHEES, ANN M                 931 W 3RD ST                                                                                     ROCHESTER          MI   48307‐1810
VAN VOORHIES, CRAIG W               304 MAPLE RIDGE ST                                                                               ANN ARBOR          MI   48103‐3726
VAN VOORHIES, KURT L                22617 SHERDAN DR                                                                                 NOVI               MI   48375
VAN VOORHIES, ROBERT R              365 N BERKSHIRE RD                                                                               BLOOMFIELD HILLS   MI   48302‐0401
VAN VOORHIS, ASENATH S              PO BOX 398                                                                                       FISHERS            NY   14453‐0398
VAN VOORHIS, HAROLD E               232 BASKET RD                                                                                    WEBSTER            NY   14580‐9753
VAN VOORHIS, THOMAS C               41120 FOX RUN RD # 304                                                                           NOVI               MI   48377
VAN VORST HYMES, DORIS K            131 FIRESTONE DR                                                                                 ROCHESTER          NY   14624‐2723
VAN VORST HYMES, DORIS K            23 LELAMZ DR                                                                                     ROCHESTER          NY   14606
VAN VORST, JANICE E                 4 KAY AVE                                                                                        ROCHESTER          NY   14624‐2004
VAN VUREN, SALLIE I                 1799 SEAVY HIGHT RD                                                                              COLUMBIA           TN   38401‐8209
VAN WAGNER                          GARY GROSSMAN                    800 3RD AVE FL 28                                               NEW YORK           NY   10022‐7604
VAN WAGNER DORNA USA LLC            ATTN COLLECTIONS                 800 THIRD AVENUE‐28TH FL                                        NEW YORK           NY   10022
VAN WAGNER, DALE C                  6639 ANGELINA CT                                                                                 CHINO              CA   91710‐7362
VAN WAGNER, GEORGIA                 104 GRANDVIEW ST                                                                                 RICHMOND           MO   64085‐1126
VAN WAGNER, THERESA                 2228 108TH ST                                                                                    BYRON CENTER       MI   49315‐9107
VAN WAGNER, THERESA                 2228 108TH ST SW                                                                                 BYRON CENTER       MI   49315‐9107
VAN WAGONER, ARTHUR J               1102 N BALL ST                                                                                   OWOSSA             MI   48867‐1710
VAN WAGONER, ARTHUR J               438 E MCARTHUR ST                                                                                CORUNNA            MI   48817‐1738
VAN WAGONER, CHRISTINE              509 DEER VALLEY RD 31                                                                            HOLLY              MI   48442
VAN WAGONER, GARY J                 3040 PERETTO LN                                                                                  METAMORA           MI   48455‐8927
VAN WAGONER, NEIL E                 4104 71ST RD N                                                                                   RIVIERA BEACH      FL   33404‐4840
VAN WAMBECK, GARY                   2633 W WHITELEY ST                                                                               APACHE JCT         AZ   85220‐9020
VAN WASSENHOVE, RAYMOND A           38668 GOLFVIEW DR W                                                                              CLINTON TWP        MI   48038‐3448
VAN WATERS & ROGERS LTD             2700 JEAN BAPTISTE DESCHAMPS S                                            LACHINE PQ H8T 1E1
                                                                                                              CANADA
VAN WATERS & ROGERS LTD             64 ARROW RD                                                               WESTON CANADA ON M9M
                                                                                                              2L8 CANADA
VAN WEBER
VAN WERT COUNTY TREASURER           121 E MAIN ST STE 200                                                                            VAN WERT           OH   45891
VAN WESTRENEN, MARYANN A            PO BOX 567                                                                                       KITTREDGE          CO   80457‐0567
VAN WEY, BURRIS B                   108 W 12TH ST                                                                                    LYNDON             KS   66451‐9674
VAN WICKLIN, JAMES H                505 LOCKE CT                                                                                     BRENTWOOD          TN   37027‐5767
VAN WIE CHEVROLET INC.              MARK EVANS                       112 SYRACUSE ST                                                 BALDWINSVILLE      NY   13027‐9109
VAN WIEREN, ELAINE J                2092 8TH AVE SW                                                                                  BYRON CENTER       MI   49315‐8926
VAN WIERINGEN, ANDRE                2235 ESMERALDA AVE                                                                               DAYTON             OH   45406‐2512
VAN WINGERDEN, DANIEL J             32618 LANCASTER DR                                                                               WARREN             MI   48088‐1310
VAN WINGERDEN, ROBERT G             6907B OCEAN DR                                                                                   EMERALD ISLE       NC   28594‐3222
VAN WINKLE DISPUTE RESOLUTION       ATTN J A M S\ENDISPUTE INC       PO BOX 8857                                                     LOS ANGELES        CA   90084‐0001
VAN WINKLE, EDNA C                  132 NELLIE BAKER RD.                                                                             MC KEE             KY   40447‐9743
                                     09-50026-mg               Doc 7123-39 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                                          Part 37 of 40 Pg 901 of 901
Name                                 Address1                          Address2                      Address3   Address4         City               State Zip
VAN WINKLE, MARY E                   1667 SHERIDAN RD # 28                                                                       NOBLESVILLE         IN 46062‐8723
VAN WINKLE, PAULINE T.               339 SWEET BRIAR CT.                                                                         BATAVIA             OH 45103‐3283
VAN WINKLE, PHILLIP E                1142 FOXWOOD CT                                                                             BLOOMFIELD HILLS    MI 48304‐1112
VAN WINKLE, RAYMOND K                PO BOX 1000                       WARD 21C                                                  CHATTAHOOCHEE       FL 32324‐1000
VAN WINKLE, ROBBIE M                 37 KRISTA CIR                                                                               RINGGOLD            GA 30736‐5532
VAN WINKLE, ROBBIE M                 37 KRISTA CIRCLE                                                                            RINGGOLD            GA 30736‐5532
VAN WINKLE, RONALD J                 712 KOUNS LN                                                                                EDWARDSVILLE        KS 66111‐1162
VAN WINKLE, THOMAS A                 12703 TOLL HOUSE RD                                                                         SPOTSYLVANIA        VA 22551‐8138
VAN WONTERGHEM, THOMAS R             3209 LAKESIDE DR                                                                            SHELBY TWP          MI 48316‐2960
VAN WOODCOCK                         13385 ROUND LAKE RD                                                                         SUNFIELD            MI 48890‐9765
VAN WORMER, ARDENE J                 2315 VAN WORMER RD                                                                          SAGINAW             MI 48609‐9786
VAN WORMER, BETTY B                  531 OSPREY CIR                                                                              TIFTON              GA 31794‐1673
VAN WORMER, DENNIS P                 3013 OAKWOOD DR                                                                             PORT HURON          MI 48060‐1795
VAN WORMER, DUANE R                  3245 S TOWERLINE RD                                                                         BRIDGEPORT          MI 48722‐9615
VAN WORMER, LORRAINE B               716 SURFWOOD LANE                                                                           DAVISON             MI 48423‐1237
VAN WORMER, MARY E                   4334 GREGOR ST BOX 31                                                                       GENESEE             MI 48437‐0031
VAN WORMER, MICHAEL W                8770 WAUMEGAH RD                                                                            CLARKSTON           MI 48348‐2553
VAN WORMER, RICHARD H                7238 MAPLECREST CIR                                                                         SWARTZ CREEK        MI 48473‐1595
VAN WORMER, RUSSELL E                1172 GRIZZLE RD                                                                             DAWSONVILLE         GA 30534‐6610
VAN WORMER, THOMAS M                 9491 FENNER RD                                                                              LAINGSBURG          MI 48848‐8760
VAN WORMER, TIMOTHY S                33900 ELMIRA CT                                                                             LIVONIA             MI 48150‐5632
VAN WULFEN, ANNA I                   13437 HENDERSON RD                                                                          OTISVILLE           MI 48463‐9719
VAN WULFEN, GERALD C                 5660 BODRIE LN                                                                              GAYLORD             MI 49735‐8969
VAN WUYCKHUYSE, FLORENCE C           20 WEST MAIN STREET                                                                         WEBSTER             NY 14580‐2902
VAN WYCK, CHRIS M                    2103 MILES RD                                                                               LAPEER              MI 48446‐8080
VAN WYCK, CONSTANCE L                828 VIA ALHAMBRA UNIT D                                                                     LAGUNA WOODS        CA 92637‐4836
VAN WYCK, CONSTANCE L                828‐D VIA ALHAMBRA                                                                          LAGUNA WOODS        CA 92637‐4836
VAN Y, SHARON K                      3474 VAN CAMPEN RD                                                                          FLINT               MI 48507‐3349
VAN YORK, WILLIAM                    905 ARBORDALE AVE                                                                           HIGH POINT          NC 27262‐4625
VAN ZANDT APPRAISAL DISTRICT         PO BOX 926                                                                                  CANTON              TX 75103‐0926
VAN ZANDT, DAVID C                   1062 CARTER DR                                                                              FLINT               MI 48532‐2712
VAN ZANDT, NOVELLA                   432 LETA AVE                                                                                FLINT               MI 48507‐2738
VAN ZANDT, R P                       10 BRANDYWINE LN                                                                            ROCHESTER           NY 14618‐5602
VAN ZEE, CHERYL N                    25311 472ND AVE                                                                             BALTIC              SD 57003‐5803
VAN ZILE, DONALD K                   5325 W MONROE RD                                                                            PENTWATER           MI 49449‐9553
VAN ZOLDOCK                          28838 PARDO ST APT 2                                                                        GARDEN CITY         MI 48135‐2863
VAN ZOLDOCK                          640 LATHERS ST                                                                              GARDEN CITY         MI 48135‐3119
VAN'EE WILLIAM M (439581) ‐ VAN EE   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
WILLIAM M                                                              STREET, SUITE 600
VAN'S GARAGE                         112 N MAIN ST                                                                               LELAND             MI   49654‐5049
VAN'S LEISURE LIVING, INC.           417 JOHN FITCH BLVD                                                                         SOUTH WINDSOR      CT   06074‐4014
VAN'S SERVICE                        901 HYLAND AVE                                                                              KAUKAUNA           WI   54130‐1189
VAN'T HOF, LEONARD J                 11911 66TH ST LOT 516                                                                       LARGO              FL   33773‐3624
VAN'T ZELFDE, DAN                    311 SCHOOL ST                                                                               DECATUR            MI   49045‐1036
VAN'THOF, KEVIN D                    7053 SUNSET AVE                                                                             JENISON            MI   49428‐8942
VAN'THOF, KEVIN D.                   7053 SUNSET AVE                                                                             JENISON            MI   49428‐8942
VAN, BECELAERE LEONARD A,            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                       STREET, SUITE 600
VAN, BOBBY                           2550 WINNFIELD RD                                                                           WEST MONROE        LA   71292‐2358
VAN, BOBBY T                         2550 WINNFIELD RD                                                                           WEST MONROE        LA   71292‐2358
VAN, GARY D                          212 HEATHER LN                                                                              EVERMAN            TX   76140‐2947
VAN, LARRY W                         1836 CARNES RD                                                                              NEW RICHMOND       OH   45157‐9694
